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                             No. 22-5807

        United States Court of Appeals for the Sixth Circuit

                  STATE OF TENNESSEE, et al.,

                         Plaintiffs-Appellees,

                                 and
ASSOCIATION OF CHRISTIAN SCHOOLS INTERNATIONAL, et al.,

                        Intervenors-Appellees,

                                  v.

             DEPARTMENT OF EDUCATION, et al.,

                        Defendants-Appellees.

         On Appeal from the United States District Court
              for the Eastern District of Tennessee
               Case No. 3:21-cv-00308 (Atchley, J.)

Brief of Intervenors-Appellees Association of Christian Schools
  International and A.F., a minor, by Sara Ford, her mother

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Enforcement of Title IX of the Education Amendments of 1972
     With Respect to Discrimination Based on Sexual Orientation
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      the Affordable Care Act and Title IX of the Educ. Amendments
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        STATEMENT IN SUPPORT OF ORAL ARGUMENT
     Intervenors-Appellees Association of Christian Schools

International (ACSI) and A.F. respectfully request oral argument.1
Defendants have issued a nationwide mandate that would radically

undermine fairness for women and girls across the educational

spectrum, including for A.F. and the female athletes at ACSI’s schools.
     This case presents important questions, including: (1) whether

states regulated by a federal agency may challenge a mandate over-

riding their laws; (2) whether the agency can issue that mandate with-

out giving the public notice and an opportunity to comment; (3) whether

the mandate exceeds the agency’s authority under Title IX and the

major questions doctrine; and (4) whether the mandate is arbitrary and

capricious for failure to consider important aspects of the problem. The

Eleventh Circuit recently interpreted Title IX to allow separation of

facilities and sports based on biological sex. Adams v. Sch. Bd. of St.
Johns Cnty., --- F.4th ----, 2022 WL 18003879, at *18 (11th Cir. Dec. 30,

2022) (en banc); see also B.P.J. v. W. Va. State Bd. of Educ., --- F. Supp.

3d ---, 2023 WL 111875, at *9 (S.D. W. Va. Jan. 5, 2023) (“Title IX’s

endorsement of sex separation in sports refers to biological sex.”).

     Because the case raises numerous important questions of signifi-

cant nuance, oral argument will assist the Court.



1Intervenors-Appellees’ motion only sought to appear for ACSI and
A.F.; as minors, A.S. and C.F. have experienced changed circumstances.

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                  STATEMENT OF JURISDICTION
     Plaintiffs’ complaint raises federal questions under the Admini-

strative Procedure Act, the Declaratory Judgment Act, 28 U.S.C.
§ 1361, and the U.S. Constitution. Compl. (“Compl.”) ¶¶ 24–28, 136,

144, 151, 154, 178, 182, 186, R.1, PageID# 6 –7, 25–28, 30–32. The

Intervenors-Appellees’ verified complaint raises similar claims.
Intervenors’ Compl. ¶¶ 5–11, R.104, PageID# 2430–31. The district

court exercised original jurisdiction because the case involves questions

of federal law. See, e.g., Mem. Op. & Order (“Op.”), R.86, PageID# 1954;

cf. 28 U.S.C. § 1331 (federal question jurisdiction).

     Appellate jurisdiction exists under 28 U.S.C. § 1291. On July 15,

2022, the District Court granted in part and denied in part Plaintiffs-

Appellees’ motion for preliminary injunction. Op., R.86, PageID# 1987.

The United States filed a timely notice of appeal on September 13,

2022. Notice of Appeal, R.100, PageID# 2407. This Court has
jurisdiction over the interlocutory appeal under 28 U.S.C. § 1292(a)(1).




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                            STATEMENT OF ISSUES
        A.F. is a female athlete in Arkansas who has dedicated her

athletic efforts to excellence in team sports. Like millions of other girls,
she deserves the opportunity to compete on a safe and fair playing field

against other female athletes. And private schools around the country,

like those that belong to ACSI, seek to give their female student
athletes a fair chance to compete—and to win.

        But the federal government issued a binding Title IX mandate

that would have erased women’s sports and eliminated the opportuni-

ties for women that Congress enacted Title IX to protect. The District

Court correctly granted the Plaintiff States’ motion for preliminary

injunction against that mandate, and it later properly granted

intervention status to A.F. and ASCI seeking the same relief against

the Department of Education.2

        Intervenors-Appellees raise several issues in this appeal:
        1. Whether the States had standing to challenge a mandate that

binds them as regulated educational entities under Title IX.

        2. Whether the Title IX mandate violated the Administrative

Procedure Act (APA) by failing to use the notice-and-comment process.

        3. Whether the Title IX mandate exceeds the agency’s statutory

authority and violates the major questions doctrine because it radically

reverses women’s opportunity as protected by the statute.


2   Intervenors did not bring claims against the EEOC and its mandate.

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     4. Whether the Title IX mandate is arbitrary and capricious for
failing to consider reliance interests and alternatives, and for depending

on an interpretation of Bostock v. Clayton County, 140 S. Ct. 1731

(2020), that the Supreme Court expressly disavowed.




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                           INTRODUCTION
     The Biden administration’s Title IX mandate is part of a

government-wide effort to reformulate civil-rights laws to promote a
radically different agenda—one without statutory authority or public

participation. On his first day in office, President Biden released an

Executive Order stating that laws that prohibit sex discrimination,
including Title IX, now prohibit discrimination based on sexual

orientation and gender identity. Exec. Order No. 13,988, 86 Fed. Reg.

7023 (Jan. 20, 2021). Multiple agencies obeyed this directive with

announcements that all regulated entities must comply and officials

must fully enforce these mandates.3 These agencies explicitly claimed

these mandates were required by the Supreme Court’s decision in

Bostock, despite the Supreme Court, and this Court, explicitly

disavowing its application beyond hiring and firing in Title VII.4

3 See, e.g., U.S. Dep’t of Hous. & Urban Dev., Implementation of
Executive Order 13988 on the Enforcement of the Fair Housing Act
(Feb. 11, 2011), https://perma.cc/2R4P-UHNZ; Notification of
Interpretation and Enforcement of Section 1557 of the Affordable Care
Act and Title IX of the Educ. Amendments of 1972, 86 Fed. Reg. 27,984
(May 25, 2021) (codified at 45 C.F.R. pts. 86, 92); Enforcement of Title
IX of the Education Amendments of 1972 With Respect to
Discrimination Based on Sexual Orientation and Gender Identity in
Light of Bostock v. Clayton County, 86 Fed. Reg. 32,637 (June 22, 2021)
(“Interpretation”), R.1-2, PageID# 41–45; U.S. Dep’t of Educ., Off. for
Civ. Rts., Letter to Educators on Title IX’s 49th Anniversary, and
accompanying Fact Sheet (June 23, 2021) (“Fact Sheet”), R.1-4,
PageID# 69–74.
4 140 S. Ct. at 1753; Pelcha v. MW Bancorp, Inc., 988 F.3d 318, 324 (6th

Cir. 2021) (“the rule in Bostock extends no further than Title VII”).

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     The “Interpretation” and “Fact Sheet” here (the “Title IX
mandate”) from the Department of Education (Department) are part of

this government-wide push. The mandate instructs all entities subject

to Title IX to comply—including the Plaintiff States and their educa-
tional institutions, such as Intervenors—and threatens them with

enforcement. It is therefore both binding and final agency action subject

to review under the APA. It is also a legislative or substantive review
subject to the APA’s notice-and-comment requirement—a process the

Department eschewed. The practical effect of this unlawful agency

action is extraordinary: it immediately renders illegal all school policies

that assign membership to men’s and women’s athletic teams based on

biological sex. The result is that males identifying as female can

compete against female athletes, the exact opposite of what Title IX was
enacted to accomplish.

     For these reasons the District Court correctly enjoined the

mandate. Agencies have only the authority given to them by Congress;

they cannot impose mandates of “vast economic and political signifi-

cance” that lack clear statutory authority. West Virginia v. EPA, 142 S.

Ct. 2587, 2605 (2022) (quoting Util. Air Regul. Grp. v. EPA, 573 U.S.

302, 324 (2014)). And they cannot enact binding rules even within their

authority if they do not provide notice and an opportunity to comment.

5 U.S.C. § 553. The District Court’s opinion is supported by recent

decisions of the Eleventh Circuit, sitting en banc, and a District Court


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in West Virginia, both of which take the opposite view of Title IX than
do Defendants-Appellants. Adams, 2022 WL 18003879; B.P.J., 2023 WL

111875. (The Administration filed a brief on the opposite side in BPJ,

highlighting the conflict between the Administration’s position and
these court rulings.)

     The States had standing to sue. The States are directly regulated

by the Department’s mandate, since they and their educational
institutions receive funds subjecting them to Title IX. “[T]here can be

‘little question’” that regulated entities can challenge agency actions

that apply to them. West Virginia, 142 S. Ct. at 2606 (quoting Lujan v.

Defs. of Wildlife, 504 U.S. 555, 561–562 (1992)). The mandate also

overrides their state laws that reinforce Title IX to protect women’s

opportunity in education and athletics. Intervenors A.F. in Arkansas,
and the female athletes at ACSI’s schools in the Plaintiff States, are

protected by those laws, so the injunction likewise prevents their injury.

     The mandate was issued in violation of the notice and comment

requirements of the APA, and alternative bases also exist to affirm the

injunction. For example, the Title IX mandate exceeds the agency’s

statutory authority because, far from authorizing the mandate, Title IX

prohibits it by allowing sports and facilities to be separated by sex as

defined by biology. As the Eleventh Circuit held en banc, the “plain and

ordinary meaning of ‘sex’ in 1972” in Title IX does not mean “gender

identity” or “transgender status.” Adams, 2022 WL 18003879, at *18.


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      Finally, the Title IX mandate is arbitrary and capricious under
the APA. The Administration explicitly and erroneously relied on the

view that Bostock means Title IX prohibits discrimination based on

gender identity. 86 Fed. Reg. at 32,638–39. And the Department failed
to consider women’s reliance interests on the opportunity afforded to

them under Title IX, or any alternative approaches. For all these

reasons, this Court should affirm the District Court’s ruling.

                      STATEMENT OF THE CASE
I.    Facts

      A.    The displacement of women and girls in sports
      Across the country, male athletes who identify as female have

increasingly competed in women’s sports and displaced female

competitors.
      For example, from 2017–2020, two male athletes in Connecticut

won a combined 15 states championships in women’s track and set 17

individual records. Def.-Intervenor’s App. in Supp. of Mot. for Summ. J.

(“App.”) at 37 (¶ 25); 43 (¶ 22), In re B.P.J., No. 2:21-cv-00316 (S.D. W.

Va. Apr. 21, 2022), attached as Exhibit A. Female athlete Chelsea

Mitchell lost to these males on more than 20 different occasions. Id. at

12 (¶ 14). Yet when her mother complained, school and state officials

repeatedly told her that “girls have the right to participate, not to win.”

Id. at 29 (¶ 41).




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     In Hawaii, a “male athlete dominated … varsity girls’ volleyball in
the 2019–2020 season” on the island of Maui. Id. at 52 (¶ 23). Girls

competing against the male athlete “felt demoralized,” and “wondered

why they should even bother playing.” Id. (¶ 24). The same male athlete
competed in track, causing a female athlete to say she was going to quit

after the male athlete raced in her event. Id. at 57 (¶ 19).

     Male athletes have similarly displaced females at the collegiate
level. In 2018, CeCe Telfer competed on the Franklin Pierce Univer-

sity’s women’s track team after previously competing on the men’s

team. Id. at 162 (¶ 135). That year, Telfer won an NCAA championship

after placing first in the women’s 400-meter hurdles. Id. at 81.

     June Eastwood competed for the University of Montana’s men’s

cross country and track teams for three seasons before switching to the
women’s teams in 2019. Id. at 61 (¶ 14), 72 (¶ 15). Female athletes

Madison Kenyon, Mary Marshall, and Haley Tanne lost to Eastwood on

nine different occasions combined. Id. at 61–62 (¶¶ 15–21), 67 (¶ 11), 73

(¶ 16). For these women, the experience was “deflating,” “discouraging,”

“frustrating,” and left them feeling “defeated.” Id. at 61 (¶ 17), 62 (¶ 18),

67 (¶ 13), and 73 (¶ 21).

     Lia Thomas was a male swimmer on the University of Pennsyl-

vania’s women’s swim team. Last season, Thomas famously became an

NCAA champion in the 500-yard freestyle, defeating an Olympic silver




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medalist, who finished second.5
        In response to these situations, numerous schools and states have

enacted specific policies to ensure that membership in athletic teams is

assigned only by biological sex. Indeed, as of June 2022, 18 states—
Alabama, Arizona, Arkansas, Florida, Idaho, Indiana, Iowa, Kentucky,

Louisiana, Mississippi, Montana, Oklahoma, South Carolina, South

Dakota, Tennessee, Texas, Utah, and West Virginia—have enacted a
“Save Women’s Sports Act” to that effect. Family Policy Alliance, Map of

States with laws that Save Girls’ Sports, https://bit.ly/3Jb71v8. Interna-

tional sports bodies such as FINA, swimming’s world governing body,

and the International Rugby League have also studied the science and

concluded that male athletes who have already gone through puberty

may not participate in women’s athletic events because of unfair
physical advantages. Mike Hytner, Rugby league joins swimming in

barring transgender women from female international competition, The

Guardian (June 20, 2022), https://bit.ly/3XuJA49.

        B.    President Biden and the Department redefine Title
              IX.
        Ignoring the inherent unfairness to women athletes, President

Biden released an Executive Order in January 2021, stating that laws

that prohibit sex discrimination, including Title IX, now prohibit

discrimination based on sexual orientation and gender identity. Exec.


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    Lia Thomas, Wikipedia, https://en.wikipedia.org/wiki/Lia_Thomas.

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Order No. 13,988, 86 Fed. Reg. 7023 (Jan. 20, 2021). The Department of
Education (Department) published the “Interpretation” cited above,

supra note 3. In this notice, the Department stated its current view that

“Title IX Prohibits Discrimination Based on Sexual Orientation and
Gender Identity.” Id. The next day, the Civil Rights Division of the

Department of Justice (DOJ) and the Office of Civil Rights (OCR) issued

a “Dear Educator” letter reiterating that the Department “will fully
enforce Title IX to prohibit discrimination based on sexual orientation

and gender identity,” and accompanied by a “fact sheet.” (Together, the

“Fact Sheet”, supra note 3.) The Fact Sheet defined discrimination

under the Department’s new interpretation of Title IX. The Interpre-

tation and Fact Sheet together are referred to here as the “Title IX

Mandate.”

      C.    A.F. is a female athlete whose rights have been
            harmed by the Title IX Mandate.
      A.F. is a female athlete at a public school in Arkansas. A.F. Decl.

¶ 2, Ex. C to Intervenors’ Mot. to Intervene, R.51-4, PageID# 432. A.F.

plays volleyball, basketball, and intends to compete in track and field at

Brookland Junior High School. Id. But even at a young age, her favorite

sport was basketball. Id. ¶ 4. Sports is a large part of A.F.’s life. Id.

¶¶ 4–5. Sports is also a family activity for A.F. Her parents were

involved in sports growing up, and since a young age she has had a ball

in her hands. Id. ¶ 4.


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     A.F. has worked incredibly hard and sacrificed much to play these
sports. Id. ¶ 20, PageID# 434. The benefits that she reaps from sports

stretch far beyond the court or track—she is learning life skills and

accessing opportunities that will shape her future. Id. ¶ 21. She would
love to play sports in college, and earning an athletic scholarship would

play a key role in her decision on where to attend college. Id. ¶¶ 14, 22,

Page ID# 433–34.
     A.F. is committed to the integrity of female athletic competition

and supports Arkansas’s Fairness in Women’s Sports Act. Id. ¶¶ 29–30,

Page ID# 435. She was upset to hear about males competing in girls’

sports. Id. ¶ 23, Page ID# 434–35. She understands that males have

clear physical advantages, like greater strength, height, and endurance.

Id. ¶ 24, Page ID# 435. A.F. has also experienced and observed males’
athletic domination. Id. ¶ 26. A.F. is apprehensive about competing

against males in rough contact sports like basketball and getting

injured by male athletes.

     Beyond safety, A.F. believes it is not fair to force her to compete

against males. Id. ¶ 31, PageID# 435–36. She is involved in this case to

ensure other female athletes have a chance to enjoy the same athletic

opportunities. Id. ¶ 32. The Department gave A.F. and her parents no

opportunity to comment on the Title IX mandate before it was issued.




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     D.    ACSI’s member schools cherish and protect the rights
           of their female athlete students.
     ACSI promotes excellence in Christian education and equips

member schools to do the same. David Bailk Decl. ¶¶ 3–20, Ex. D to

Intervenors’ Mot. to Intervene, R.51-5, PageID# 439–41. ACSI serves
schools at every level of education—from early educational institutions

to high schools to colleges and universities. Id. ¶¶ 5–7, PageID# 440. All

told, ACSI represents thousands of schools with about 500,000
students, including in all 20 Plaintiff States. Id.

     ACSI and its member schools value athletics as part of the

educational experience. Id. ¶¶ 19–20, 33, PageID# 441, 444. Member

schools offer athletics to its male and female students and promote

sports. Id. ¶¶ 33–37, PageID# 444. Among other benefits, athletic

programs contribute to the schools’ brand and reputation, help attract
students, and provide social events for its students, alums, and the

broader community. Id. ¶¶ 38–56, PageID# 444–46. Teams from

member schools frequently compete against public high schools,

colleges, and universities, for titles, records, and individual

championships. Id. ¶¶ 58–66, PageID# 446–47.

     For ACSI member schools and its female athletes, the Title IX

mandate eliminates these athletic benefits. ACSI member schools and

its female athletes compete against public schools bound by Title IX in

all 20 of the plaintiff States, and in another 15 states beyond. Id. But

while ACSI member schools only allow females to compete on its female


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sports teams, the Title IX mandate requires public schools to allow
males to compete in female sports. Id. ¶¶ 68–69, PageID# 448. So the

mandate puts ACSI’s member schools and its female athletes at a

competitive disadvantage. Id. ¶¶ 68–89, PageID# 448–51. ACSI
member schools cannot fairly, or safely, compete against other public

schools in female athletics. Id. This causes the female athletes at ACSI

member schools to lose the chance to compete on an even playing field.
Id. ¶¶ 68–91, Page ID# 448–51.

      ACSI desired to submit public comments on the Title IX mandate

on behalf of the interests of its member schools and their female

athletes. Id. ¶¶ 25–28, PageID# 442–43. But without a notice and

comment period, ACSI was denied that opportunity.

II.   Proceedings
      On August 30, 2021, the Plaintiff States filed suit against the

Department seeking declaratory and injunctive relief against the Title

IX mandate. Compl., R.1, PageID# 33–34.6 The States filed a motion for

preliminary injunction on September 2, 2021, and the Department

responded and filed a motion to dismiss on September 23rd. Pls.’ Mot.

for Prelim. Injunc., R.10, PageID# 120–26; Defs.’ Opp’n, R.48, PageID#

288–339; Defs.’ Mot. to Dismiss, R.49, PageID# 344–45. The motion to


6The States also challenged a related EEOC mandate. Id. Intervenors-
Appellees only intervened with claims against the Title IX mandate,
and so in this brief they address only that mandate.

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 dismiss raised objections to the court’s subject matter jurisdiction under
 Fed. R. Civ. P. 12(b)(1), and it sought to dismiss the States’ APA claims

 under Rule 12(b)(6). Defs.’ Mot. to Dismiss, R.49, PageID# 344. A.F. and

 ACSI filed their motion to intervene on October 4. Intervenors’ Mot. to
 Intervene, R.51, PageID# 380–83. The District Court held oral

 argument on the motions on November 3. Minute Entry, R.70, PageID#

 834.
        On July 15, 2022, the District Court granted the motion for

 preliminary injunction and denied the motion to dismiss. Op., R.86,

 PageID# 1987. The Department filed its notice of appeal on September

 13. Notice of Appeal, R.100, PageID# 2407. The District Court granted

 A.F. and ACSI’s motion to intervene on September 14. Mem. Op. &

 Order, R.102, PageID# 2413–27. This Court granted A.F. and ACSI’s
 motion to intervene on October 6, 2022. CA6 Order, R.10.

III.    Standard of review
        “We review the district court’s ultimate decision whether to grant

 a preliminary injunction for abuse of discretion, and we evaluate its

 legal determinations, ‘including the likelihood of success on the merits,’

 with fresh eyes.” Arizona v. Biden, 40 F.4th 375, 381 (6th Cir. 2022)

 (quoting Union Home Mortg. Corp. v. Cromer, 31 F.4th 356, 366 (6th

 Cir. 2022)). “The district court’s determination” to grant a preliminary

 injunction “will be disturbed only if the district court relied upon clearly

 erroneous findings of fact, improperly applied the governing law, or


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used an erroneous legal standard.” Liberty Coins, LLC v. Goodman, 748
F.3d 682, 689 (6th Cir. 2014) (quoting McNeilly v. Land, 684 F.3d 611,

614 (6th Cir. 2012)).

     This Court reviews the denial of a motion to dismiss de novo. Wild
Eggs Holdings, Inc. v. State Auto Prop. & Cas. Ins. Co., 48 F.4th 645,

647 (6th Cir. 2022). In evaluating a party’s standing, the Court must

“accept as valid the merits of appellees’ legal claims.” FEC v. Cruz, 142
S. Ct. 1638, 1647 (2022); Kentucky v. Yellen, 54 F.4th 325, 349 (6th Cir.

2022). “[C]ourts must not extend the concept of subject matter

jurisdiction . . . to capture other instances in which a court should

dismiss or refuse to take a case.” Moore v. Lafayette Life Ins. Co., 458

F.3d 416, 444 (6th Cir. 2006) (citing Kontrick v. Ryan, 540 U.S. 443,

455–56 (2004)).
     In considering a motion to dismiss under Rule 12(b)(6), the Court

must “construe the complaint in the light most favorable to the Plain-

tiffs and accept all well-pleaded factual allegations as true.” Phillips v.

DeWine, 841 F.3d 405, 413–14 (6th Cir. 2016). “[T]he complaint must

contain ‘enough facts to state a claim to relief that is plausible on its

face.’” Id. (quoting Long v. Insight Commc’ns of Cent. Ohio, LLC, 804

F.3d 791, 794 (6th Cir. 2015), and Bell Atlantic Corp. v. Twombly, 550

U.S. 544, 570 (2007)).




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                  SUMMARY OF THE ARGUMENT
     The Court should affirm the District Court’s injunction and its

denial of Defendants’ motion to dismiss.
     The States had standing to sue because they are directly regulated

by the Department’s Title IX mandate. They and their educational

entities receive federal funds under Title IX and must comply with the
Department’s mandate. There is “little question” that the object of a

regulation has standing to challenge it. West Virginia, 142 S. Ct. at

2606 (quoting Lujan, 504 U.S. at 561–562). Through federal supremacy,

the Title IX mandate would override state laws, including those that

protect A.F. and female athletes at ACSI’s schools, because those laws

require schools to assign membership in athletic teams based on biology

and would not allow placement on sports teams by gender identity.

     On the merits, the Title IX mandate violates the APA because the

Department failed to provide notice and an opportunity for the public to
comment. The APA requires that process for rules. 5 U.S.C. § 553. The

Title IX mandate is a rule subject to that provision because it does not

merely restate a pre-existing obligation—it imposes new rights and

duties not contained in Title IX or under Bostock, and it orders federal

officials to “fully enforce” that requirement. 86 Fed. Reg. at 32,639; see

Mann Constr., Inc. v. United States, 27 F.4th 1138, 1143 (6th Cir. 2022)

(holding an IRS notice required public comment despite the agency

characterizing it as a mere interpretive rule).



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     This Court can also affirm the injunction on alternative grounds
because it violated the APA in at least two additional ways. First, the

Title IX mandate exceeds the Department’s statutory authority under

Title IX. Title IX’s prohibition on sex discrimination does not encompass
discrimination on the basis of gender identity or transgender status,

and it does not compel states to allow males to complete in female

sports. Adams, 2022 WL 18003879, at *18. Rather, Congress was clear
that it prohibited discrimination on the basis of sex as a biologically

binary term, and the statute exists to protect opportunities for women’s

sports—not to force women to compete with men who identify as female.

     Finally, the Court may affirm because the Title IX mandate is

arbitrary and capricious under the APA. The Department made “a clear

error of judgment” and “offered an explanation for its decision that runs
counter to the evidence before the agency” when it asserted Bostock

authorized or required the Title IX mandate. Motor Vehicle Mfrs. Ass’n

of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983).

And the Department violated its duty under Department of Homeland

Security v. Regents of the University of California, 140 S. Ct. 1891,

1910–13 (2020), when it failed to consider the reliance interests of

women after almost 50 years of Title IX protecting their educational

and athletic opportunities, and when it failed to seriously consider

alternatives to this mandate.




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                              ARGUMENT

I.   The States have standing to sue.

     A.    Regulated entities can challenge agency
           requirements.
     The States had standing to sue because they are regulated

entities. The Title IX mandate expresses the Department’s “conclusion

that Title IX prohibits discrimination based on sexual orientation and

gender identity,” and that the Department “will fully enforce Title IX to

prohibit discrimination based on sexual orientation and gender identity

in education programs and activities that receive Federal financial

assistance from the Department.” 86 Fed. Reg. at 32,638–39 (emphasis

added). The States and their educational entities receive such assis-

tance and are therefore subject to the Department’s enforcement of this

mandate. Compl., R.1, PageID# 4–5.

     As the Supreme Court recently reaffirmed, “there can be ‘little

question’” that regulated entities can sue to challenge a federal agency

requirement. West Virginia, 142 S. Ct. at 2606 (quoting Lujan, 504 U.S.

at 561–62). As in that case, “the rule does injure the States, since they

are ‘the object of’ its requirement that they more stringently regulate.”

Id. Here, the Title IX mandate forces the states to “more stringently

regulate” by compelling them to allow males to compete in female sports

or be deemed to have violated Title IX. What’s more, the Department

insists it will fully enforce that mandate against the Plaintiff States.



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     The basic standard is straightforward: “a regulated individual or
entity has standing to challenge an allegedly illegal statute or rule

under which it is regulated.” Corbett v. Transp. Sec. Admin., 19 F.4th

478, 483 (D.C. Cir. 2021) (citations omitted). “A petitioner’s standing to
seek review of administrative action is usually self-evident if the

complainant is an object of the action (or forgone action) at issue.”

Bonacci v. Transp. Sec. Admin., 909 F.3d 1155, 1159 (D.C. Cir. 2018)
(cleaned up) (quoting Sierra Club v. E.P.A., 292 F.3d 895, 899–900 (D.C.

Cir. 2002)). “[R]egulated entities’ standing to challenge the rules that

govern them is normally not an issue, because regulatory constraints

typically qualify as injury in fact.” Nat’l Ass’n of Home Builders v.

E.P.A., 786 F.3d 34, 43 (D.C. Cir. 2015) (cleaned up) (citing Fund for

Animals, Inc. v. Norton, 322 F.3d 728, 733 (D.C. Cir. 2003)).
     Here, the Title IX mandate imposes regulatory constraints on its

face because it imposes a new mandate with which the States must

comply. It also imposes injuries on the States by overriding their laws

that protect women’s opportunities in education in the same way that

Title IX had for decades—until the Administration’s actions.

     For example, in Arkansas, where A.F. lives and plays sports in

public schools, the State has adopted a Fairness in Women’s Sports Act

which requires that sex designations for school-sponsored “athletic

teams or sports” be “based on biological sex.” Ark. Code Ann. § 6-1-

107(c). But the State and public schools in Arkansas must now violate


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this law to comply with the Title IX mandate. If a male identifies as a
female, the State and the school must treat the male as a female for

sports-team assignments or else be in violation of the Title IX mandate,

even though that will place them in violation of Ark. Code Ann. § 6-1-
107(c). Similar circumstances prevail in the other Plaintiff States,

Compl., R.1, PageID# 19–20.

     A.F. is also protected individually by Ark. Code Ann. § 6-1-107(c),
which ensures she will not be forced to play basketball or similar sports

against males identifying as females. The Title IX mandate deprives

her and countless other female athletes throughout the 18 States that

have enacted the Save Women’s Sports Act. The female athletes at

member schools of ACSI who compete in team leagues or regional

individual competitions against public school teams and students are
likewise protected by these state laws, and similarly injured by the Title

IX mandate. The States enacted these laws to protect the common good

generally and female athletes in these situations specifically. The

States had standing to challenge this mandate.

     It is important to note that the APA “imposes a presumption in

favor of judicial review.” Friends of Crystal River v. EPA, 35 F.3d 1073,

1078 (6th Cir. 1994) (citing Block v. Cmty. Nutrition Inst., 467 U.S. 340,

348–49 (1984)). It would be inconsistent with this presumption for the

Court to deny standing to regulated entities such as the States whose

laws are curtailed by the Department’s mandate.


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     The Department cannot credibly claim that it is not enforcing the
mandate. As noted above, the Department of Justice filed a Statement

of Interest in the BPJ case, advocating against West Virginia’s Save

Women’s Sports Act. Statement of Interest, B.P.J., R.42, available at
justice.gov/crt/case-document/file/1405541/download. In that Statement,

the Department took the position that West Virginia cannot enforce its

Act because doing so violates Title IX. Id. at 1, 5–12.
     Moreover, the Department cannot ground its opposition to the

States’ standing by improperly assuming that the merits will be decided

against the State’s claims. This Court must assume that the States are

right on their claims in assessing whether the Title IX mandate causes

an injury cognizable under Article III. Cruz, 142 S. Ct. at 1647; Yellen,

54 F.4th at 349. In other words, this Court cannot deny jurisdiction
based on the Department’s argument that Title IX requires the Plaintiff

States to treat male athletes who identify as female as though they are

female athletes, or that Bostock requires that interpretation. To the

contrary, the Court must assume the States are right on the merits of

their claims for purposes of assessing their standing to sue. It would

improperly “extend the concept of subject matter jurisdiction . . . to

capture other instances in which a court should dismiss or refuse to

take a case” if the Court denied jurisdiction on the theory that the

Department is interpreting Title IX or Bostock correctly. Moore, 458

F.3d at 444.


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      B.        Title IX does not preclude review under the APA.
      The Department is wrong that Title IX precludes review, either by

providing an “adequate alternate remedy” or by expressing Congres-

sional intent to limit jurisdiction.

           1.     Appealing a complaint is no adequate remedy to
                  violations of rulemaking standards under the APA.
      The Department cites no case that has used these theories to
dismiss a challenge to its Title IX rules by an entity regulated by those

rules. Instead, several courts have entertained challenges to the

Department’s Title IX rules even by persons not regulated by those

rules. See, e.g., Equity In Athletics, Inc. v. Dep’t of Educ., 639 F.3d 91,

99 (4th Cir. 2011) (sports association had standing to challenge Title IX

regulations imposing gender equality in federally financed programs);
Victim Rts. L. Ctr. v. Cardona, 552 F. Supp. 3d 104, 125 (D. Mass. 2021)

(university had standing to challenge new Title IX standards for

investigating allegations of sexual harassment); SurvJustice Inc. v.

DeVos, 2019 WL 1434144, at *7 (N.D. Cal. Mar. 29, 2019) (advocacy

groups had standing to challenge Department’s policy regarding

enforcement of Title IX).

      As in these latter cases, the question of alternate remedies under

Title IX usually concerns whether a victim of a Title IX violation can

sue the Department or must instead use Title IX’s explicit provision

that lets her sue the regulated entity that harmed her. That doctrine



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does not apply here, where the States are injured directly by the
Department’s regulation of them through its illegal mandate.

     The Department’s radical view of alternate remedies would

preclude any judicial review of final rules issued under Title IX, or
under any other statute that ensures regulated entities can appeal

adverse complaint decisions. This would force all regulated entities to

first undergo years of intrusive investigation and enforcement by
agency officials before they could ever get their day in court to argue

claims that the agency is not capable of deciding—claims that the

agency has overstepped its authority in the first place. This outcome

would be incompatible with this Court’s presumption of judicial review

under the APA. Friends of Crystal River, 35 F.3d at 1078.

     As the District Court correctly concluded, the Department’s view
is also incompatible with the Supreme Court’s repeated insistence that

regulated entities need not submit themselves to investigation and

enforcement before challenging a governing rule. See U.S. Army Corps

of Eng’rs v. Hawkes Co., 578 U.S. 590, 600 (2016) (“parties need not

await enforcement proceedings before challenging final agency action”).

The “APA provides for judicial review of all final agency actions, not

just those that impose a self-executing sanction.” Sackett v. EPA, 566

U.S. 120, 129 (2012). Prohibiting judicial review of rulemaking, on the

premise that regulated entities can simply appeal after years of

investigations and adverse findings, will let the federal government


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bully states, private entities, and individuals into compliance to avoid
the burdens and risks of the complaint process. The government cannot

“strong-arm[]” “regulated parties into ‘voluntary compliance’ without

the opportunity for judicial review.” Id. at 131.

        2.    The right to appeal an adverse complaint finding
              does not negate judicial review of rulemaking.
     The Department is also wrong to argue that in Title IX, Congress

intended to deprive courts of APA jurisdiction to challenge Title IX

rules. The Supreme Court explained in Free Enterprise Fund v. Public

Company Accounting Oversight Board that “[p]rovisions for agency

review [in a statute] do not restrict judicial review unless the ‘statutory

scheme’ displays a ‘fairly discernible’ intent to limit jurisdiction.” 561

U.S. 477, 489 (2010) (quoting Thunder Basin Coal Co. v. Reich, 510 U.S.

200, 207 (1994)); see also Cochran v. SEC, 20 F.4th 194, 206 (5th Cir.

2021). Title IX’s provision that an entity can appeal an adverse finding

does not express any intent to preclude a regulated entity from

challenging a Departmental rule that governs it.

     The Court should not interpret Title IX as precluding jurisdiction

to bring an APA claim, because the Departmental complaint and appeal

process is not designed to consider challenges to rules themselves. The

Department admits that its investigatory process is focused on whether

a regulated entity complied with Title IX and the agency’s rules, involv-

ing questions of fact and applications of the rule to the circumstances of


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the case. Appellants’ Br. at 5–6, R.27. In contrast, the States’ APA
claims concern no facts of a particular case but the legal questions of

whether notice and comment was required to issue the Title IX

mandate, whether the agency acted arbitrarily and capriciously, and
whether it exceeded its statutory authority.

     These questions are “wholly collateral to a statute’s review

provisions” and are “outside the agency’s expertise.” Free Enter. Fund,
561 U.S. at 489 (quoting Thunder Basin, 510 U.S. at 212–13). The

Department has no designated authority to apply or interpret the APA,

such as to decide whether the Title IX mandate required notice and

comment or was arbitrary and capricious. And whether Title IX

prohibits gender identity discrimination under Bostock is not a matter

of Departmental expertise: both the statute and Bostock do not support
that conclusion, as argued below. Agencies lack authority to impose

actions of vast importance without clear statutory authority. See West

Virginia, 142 S. Ct. at 2614. And agencies are not entitled to deference

when their lack of statutory authority is clear. Johnson v. Guzman

Chavez, 141 S. Ct. 2271, 2291 (2021).

     The ability to contest and appeal adverse agency findings from a

specific complaint gives regulated entities no meaningful review. The

Department’s Title IX mandate requires its officials to conclude that

Title IX prohibits gender identity discrimination. It resolves the

question definitively. The States therefore can receive no “meaningful”


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review of that question within the Department’s process, because the
outcome is foreclosed. Nor is the process designed to answer such

questions, only inquiries into the facts of specific complaint allegations.

Consequently, Congress did not intend to deprive the court of
jurisdiction to review APA challenges merely by ensuring that

regulated entities can appeal if they lose particular complaint findings.

II.   The Title IX mandate violates the APA’s notice and
      comment requirements.
      The Department does not contest that it failed to notify the public

in advance of its Title IX mandate or offer an opportunity to comment

before it was finalized as 5 U.S.C. § 553 requires. Instead, the

Department argues that the mandate is not subject to that require-

ment. The District Court correctly concluded that it was.

      The Title IX mandate is a legislative or substantive rule, not

merely an interpretive rule, and therefore it is subject to the APA’s
notice and comment requirement. “Legislative rules impose new rights

or duties and change the legal status of regulated parties; interpretive

rules articulate what an agency thinks a statute means or remind

parties of pre-existing duties.” Mann Constr., 27 F.4th at 1143.

      Here, the Title IX mandate imposed new rights and duties, not

pre-existing ones. There is no statutory prohibition requiring schools to

treat males like females and vice versa depending on gender identity—

quite the contrary. Adams, 2022 WL 18003879, at *18 (“Title IX allows



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schools to provide separate bathrooms [and sports] on the basis of
biological sex. … Whether Title IX should be amended to equate ‘gender

identity’ and ‘transgender status’ with ‘sex’ should be left to Congress—

not the courts.”). As for Bostock, despite the Department’s claim, it does
not lead to the conclusion that Title IX be interpreted to contain such a

prohibition. Bostock explicitly rejected the assertion that its “decision

will sweep beyond Title VII to other federal or state laws that prohibit
sex discrimination,” and denied that it encompassed situations such as

“bathrooms, locker rooms, or anything else of the kind”—anything other

than employee hiring and firing. 140 S. Ct. at 1753.

     This Court has correctly taken the Supreme Court at its word:

“the rule in Bostock extends no further than Title VII.” Pelcha v. MW

Bancorp, Inc., 988 F.3d 318, 324 (6th Cir. 2021). “Title VII differs from
Title IX in important respects.” Meriwether v. Hartop, 992 F.3d 492, 510

n.4 (6th Cir. 2021). Consequently, the Title IX mandate is (at best) an

extension of Bostock—and as an extension, it imposes new duties, not

pre-existing ones, and therefore is legislative and substantive.

     This Court’s admonition in Ford Motor Company v. EPA applies

with similar force here: “[a]d hoc national policy determinations

developed through internal agency memoranda standing alone without

promulgating regulations or guidelines through public notice and/or an

opportunity for a public hearing, are not proper procedures.” 567 F.2d

661, 671–72 (6th Cir. 1977).


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III.   The mandate exceeds the Department’s statutory
       authority.
       This Court can also affirm the injunction under the alternative

 ground argued in the States’ motion that the Title IX mandate exceeds

 the Department’s statutory authority in violation of the APA, 5 U.S.C.
 § 706(2)(C). The Court “may properly review any reason advanced by

 [plaintiff] in support of the district court’s preliminary injunction that

 was presented to the district court.” United Food & Com. Workers
 Union, Loc. 1099 v. Sw. Ohio Reg’l Transit Auth., 163 F.3d 341, 349 n.3

 (6th Cir. 1998).

       The States presented to the District Court the argument that the

 Department lacks authority under Title IX to issue this mandate.

 States’ Mem. in Supp. of Mot. for Prelim. Inj., R.11, PageID# 147–52.

 Title IX does not require the States to treat males as females, and it
 prohibits a mandate forcing schools to allow males to compete in female

 athletic events. Imposing this mandate violates Title IX and the major

 questions doctrine.

       A.    Title IX prohibits sex discrimination, it does not
             mandate sex blindness.
       Title IX prohibits treating one sex worse than the other sex. Still,

 it does not deem all sex distinctions as discriminatory, and it sometimes

 requires sex distinctions to achieve its mandate.




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        1.    Title IX prohibits treating one sex worse than the
              other sex.
     “To interpret a statute, we start with the text. When ‘the text is

clear, that is the end of the matter.’” T.M. v. DeWine, 49 F.4th 1082,

1089 (6th Cir. 2022) (quoting Keen v. Helson, 930 F.3d 799, 805 (6th Cir.
2019)). The Court should also be mindful that “[s]tatutes must ‘be read

as a whole.’” United States v. Atl. Rsch. Corp., 551 U.S. 128, 135 (2007)

(quoting King v. St. Vincent’s Hosp., 502 U.S. 215, 221 (1991)).
     Title IX says no person “shall, on the basis of sex, be excluded

from participation in, be denied the benefits of, or be subjected to

discrimination under any education program or activity.” 20 U.S.C.

§ 1681(a). “Discrimination” refers to “failure to treat all persons equally

when no reasonable distinction can be found between those favored and

those not favored.” CSX Transp., Inc. v. Ala. Dep’t of Revenue, 562 U.S.
277, 286 (2011) (quoting Black’s Law Dictionary 420 (5th ed. 1979));

Bostock, 140 S. Ct. at 1740 (“To ‘discriminate against’ a person, then,

would seem to mean treating that individual worse than others who are

similarly situated.”).7 “[S]ubject[ing]” someone to discrimination “on the

7 Courts interpret discrimination to require differential treatment of
similarly situated persons in many different contexts. Dawson v.
Steager, 139 S. Ct. 698, 703 (2019) (“A State violates [a statute
prohibiting discriminatory taxation of federal employees] when it treats
retired state employees more favorably than retired federal employees
and no ‘significant differences between the two classes’ justify the
differential treatment.”); cf. United States v. Washington, 142 S. Ct.
1976, 1984 (2022) (a state “discriminates against the Federal
Government or its contractors” under the Constitution “if it ‘singles

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basis of sex,” 20 U.S.C. § 1681(a), must mean subjecting someone to
“differential” or “less favorable” treatment because of their sex (and

without a legally justifiable reason for doing so). Jackson v. Birming-

ham Bd. of Educ., 544 U.S. 167, 174 (2005).
     Add to this that educational programs cannot exclude persons

from participation in or deny them the benefits of an activity because of

their sex. 20 U.S.C. § 1681(a); see also Davis v. Monroe Cnty. Bd. of
Educ., 526 U.S. 629, 650 (1999) (“[Title IX’s] other prohibitions … help

give content to the term ‘discrimination.’”). So Title IX prohibits treat-

ing women worse than men, or treating men worse than women, in the

educational context.

        2.    Not all sex distinctions are “discrimination.”
     Not all sex distinctions are harmful or treat one sex worse than
the other, because men and women are sometimes differently situated.

The “[p]hysical differences between men and women … are enduring:

the two sexes are not fungible.” United States v. Virginia (VMI), 518

U.S. 515, 533 (1996) (cleaned up). This distinction is “immutable,”

“determined solely by the accident of birth.” Frontiero v. Richardson,

411 U.S. 677, 686 (1973).

     For example, “[m]en and women simply are not physiologically the



them out’ for less favorable ‘treatment,’ … or if it regulates them
unfavorably on some basis related to their governmental ‘status’”
(cleaned up)).

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same for the purposes of physical fitness programs,” because “equally fit
men and women demonstrate their fitness differently.” Bauer v. Lynch,

812 F.3d 340, 350–51 (4th Cir. 2016) (finding sex-specific FBI training

requirements did not violate Title VII). Society also approaches
anatomical differences between the sexes differently, such as in nudity

ordinance distinctions between covering breasts, which nevertheless do

“not discriminate against women solely on the basis of gender.” Hang
On, Inc. v. City of Arlington, 65 F.3d 1248, 1257 (5th Cir. 1995); accord

Eline v. Town of Ocean City, 7 F.4th 214, 221 (4th Cir. 2021) (law may

prohibit only women from going topless to “protect[] the moral

sensibilities of … society”). That is why this Court has already

recognized that “under Title IX, universities must consider sex in

allocating athletic scholarships, and may take it into account in
‘maintaining separate living facilities for the different sexes.’”

Meriwether, 922 F.3d at 510 n.4 (citing 34 C.F.R. § 106.37(c) and

quoting 20 U.S.C. § 1686).

     The Eleventh Circuit, sitting en banc, recently concluded that

Title IX does not prohibit separate bathroom facilities based on

biological sex. “Title IX, unlike Title VII, includes express statutory and

regulatory carve-outs for differentiating between the sexes when it

comes to separate living and bathroom facilities.” Adams, 2022 WL

18003879, at *14. Interpreting Title IX to prohibit discrimination based

on “gender identity when gender identity does not match sex,” as the


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Department’s Title IX mandate does, “cannot comport with the plain
meaning of ‘sex’ at the time of Title IX’s enactment and the purpose of

Title IX and its implementing regulations, as derived from their text.”

Id. at *16.
      Therefore, it is consistent with Title IX’s text that Title IX’s

regulations on situations like locker rooms and showers allow for

“separate toilet, locker room, and shower facilities on the basis of sex”
provided the facilities are comparable for each sex. 34 C.F.R. § 106.33.

Likewise in sports, “due to average physiological differences, males

would displace females to a substantial extent if they were allowed to

compete” for the same teams. Clark v. Ariz. Interscholastic Ass’n, 695

F.2d 1126, 1131 (9th Cir. 1982). Indeed, “the great bulk of the females

would quickly be eliminated from participation and denied any
meaningful opportunity for athletic involvement,” without distinct

teams. Cape v. Tenn. Secondary Sch. Athletic Ass’n, 563 F.2d 793, 795

(6th Cir. 1977) (per curiam). That’s why women’s-only teams are part of

“a long-standing tradition in sports of setting up classifications whereby

persons having objectively measured characteristics likely to make

them more proficient are eliminated from certain classes of

competition.” Petrie v. Ill. High Sch. Ass’n, 394 N.E.2d 855, 861 (Ill.

App. Ct. 1979).

      These differences also matter for safety. That’s why World Rugby

recently issued guidelines excluding biological males (who have


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experienced puberty) from women’s rugby because “safety and fairness
cannot presently be assured for women competing against transwomen

in contact rugby.”8 And the women’s category was created “to ensure

protection, safety and equality” for those who do not benefit from males’
biological advantages.9 See also Kleczek v. R.I. Interscholastic League,

Inc., 612 A.2d 734, 739 (R.I. 1992) (per curiam) (“distinguishing

between boys and girls in interscholastic sports will help promote
safety”).

      Title IX’s regulations correctly acknowledge these biological

differences. They allow sex-separated teams “where selection for such

teams is based upon competitive skill or the activity involved is a

contact sport.” 34 C.F.R. § 106.41(b). They also allow sex separation in

“physical education classes or activities during participation in
wrestling, boxing, rugby, ice hockey, football, basketball, and other

sports the purpose or major activity of which involves bodily contact.”

Id. § 106.34(a)(1).

            3.   Title IX sometimes requires sex distinctions to
                 fulfill its mandate.
      Sports show that Title IX doesn’t just allow sex distinctions; Title

IX sometimes requires it. Again, start with the text. Title IX doesn’t

8 Media Release, World Rugby approves updated transgender
participation guidelines, World Rugby (Oct. 9, 2020),
https://perma.cc/GHG6-LGN5.
9 World Rugby, Transgender Women Guidelines, https://perma.cc/HP6H-

6NCV.

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stop at unjustified discrimination but states no person “shall, on the
basis of sex, be excluded from participation in [or] be denied the benefits

of … any education program or activity.” 20 U.S.C. § 1681(a).

     Practically everyone agrees males would displace females in
activities like soccer and track if both sexes were forced to compete

against one another. For example, the Southern District of West

Virginia recently observed that, “There is no serious debate that Title
IX’s endorsement of sex separation in sports refers to biological sex.”

B.P.J., 2023 WL 111875, at *9. “[T]ransgender girls are biologically

male. Short of any medical intervention that will differ for each

individual person, biological males are not similarly situated to

biological females for purposes of athletics.” Id. See also Clark, 695 F.2d

at 1131; Cape, 563 F.2d at 795; Petrie, 394 N.E.2d at 861.
     “[F]ailing to field women’s varsity teams … certainly creates a

barrier for female students” to participate in athletics. Pederson v. La.

State Univ., 213 F.3d 858, 871 (5th Cir. 2000). That means “the mere

opportunity for girls to try out” for a team is not enough if they don’t

stand a realistic chance of making the roster because of competition

from men. Williams v. Sch. Dist. of Bethlehem, 998 F.2d 168, 175 (3d

Cir. 1993). And the mere opportunity to participate also isn’t enough if

they don’t have a realistic chance to win scholarships or “enjoy the thrill

of victory” because the sport is dominated by men. Neal v. Bd. of Trs. of

Cal. State Univs., 198 F.3d 763, 773 (9th Cir. 1999).


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     Hence, Title IX’s regulations correctly require schools to provide
“equal athletic opportunity for members of both sexes,” including in “the

selection of sports and levels of competition” necessary to “effectively

accommodate the interests and abilities of members of both sexes.” 34
C.F.R. § 106.41(c). As Title IX’s principal sponsor put it, sometimes sex

segregation is “absolutely necessary to the success of the program—

such as in classes for pregnant girls or emotionally disturbed students,
in sports facilities or other instances where personal privacy must be

preserved.” 118 Cong. Rec. 5807 (1972) (statement of Sen. Beyh).

     In any sport that requires athleticism, women “are generally at a

substantial physical disadvantage” compared to men. Petrie, 394 N.E.2d

at 861 (discussing volleyball). That was obvious after one school

eliminated its women’s varsity wrestling team and gave the female
wrestlers the opportunity to continue, “conditioned on their ability to

beat male wrestlers in their weight class, using men’s collegiate

wrestling rules.” Mansourian v. Regents of Univ. of Cal., 602 F.3d 957,

962 (9th Cir. 2010). “As a result … the female students were unable to

participate on the wrestling team and lost the benefits associated with

varsity status, including scholarships and academic credit.” Id.

     Female athletes protected by Title IX benefit from “real opportuni-

ties, not illusory ones.” Williams, 998 F.2d at 175. To provide women

with equal opportunities, schools must field women’s-only teams so

women have the chance to compete, win, and become champions in their


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sport. See Pederson, 213 F.3d at 878 (explaining that “of course fewer
women participate in sports” when a school “refus[es] to offer them

comparable athletic opportunities to those it offers its male students”).

That is what Title IX is all about.

     B.    Because Title IX allows sex distinctions, it only deals
           with biological sex, not sexual orientation or gender
           identity.
     Given that Title IX acknowledges and accommodates the differ-

ences between the sexes, it naturally follows that Title IX deals only

with biological sex. The Title IX mandate is incompatible with Title IX’s
(1) text, (2) structure, and (3) purpose. Further, (4) Bostock doesn’t

apply to Title IX.

           1.    Title IX’s original, ordinary meaning is about
                 biological sex.
     Title IX’s text doesn’t say anything about sexual orientation or
gender identity. It prohibits discrimination only “on the basis of sex.” 20

U.S.C. § 1681(a). Sexual orientation and “transgender status are

distinct concepts from sex.” Bostock, 140 S. Ct. at 1746–47. For persons

who identify as transgender, their biological sex and gender identity are

not aligned. “Sex” cannot fully encompass all these terms at once.

     Because “sex” is not defined in the statute, it should be inter-

preted according to its ordinary meaning “at the time Congress enacted

the statute.” New Prime Inc. v. Oliveira, 139 S. Ct. 532, 539 (2019)

(citation omitted). “[T]he overwhelming majority of dictionaries


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defin[ed] ‘sex’ on the basis of biology and reproductive function” in 1972
when Title IX was enacted. Adams, 2022 WL 18003879, at *15. At that

time, “‘sex’ was commonly understood to refer to physiological differ-

ences between men and women — particularly with respect to repro-
ductive functions. Neese v. Becerra, 2022 WL 1265925, at *12 (N.D. Tex.

Apr. 26, 2022). “There is no serious debate that Title IX’s endorsement

of sex separation in sports refers to biological sex.” B.P.J., 2023 WL
111875, at *9. “In summary, . . . we read ‘sex’ in Title IX to mean

‘biological sex.’” Adams, 2022 WL 18003879, at *16.

           2.      Title IX’s structure points to biological sex.
     “It is a fundamental canon of statutory construction that the

words of a statute must be read in their context and with a view to their

place in the overall statutory scheme.” West Virginia, 142 S. Ct. at 2607
(quoting Davis v. Mich. Dep’t of Treasury, 489 U.S. 803, 809 (1989)). “A

sign that says ‘men only’ looks very different on a bathroom door than a

courthouse door.” Adams, 2022 WL 18003879, at *5 (quoting City of

Cleburne v. Cleburne Living Ctr., 473 U.S. 432, 468–69 (1985)

(Marshall, J.)).

     Throughout Title IX, “sex” is used as a binary concept, encapsu-

lating only male and female. For example, Title IX allows schools in

certain circumstances to change “from being an institution which

admits only students of one sex to being an institution which admits

students of both sexes.” 20 U.S.C. § 1681(a)(2) (emphasis added). The


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statute also exempts “father-son or mother-daughter activities … but if
such activities are provided for students of one sex, opportunities for

reasonably comparable activities shall be provided for students of the

other sex.” Id. § 1681(a)(8) (emphases added).
     Not only do these provisions speak of “the” other sex or “both

sexes,” rather than “another” sex or “all sexes,” they also use terms like

“father-son” and “mother-daughter” which are rooted in biology. At the
time, mother was defined as “a female parent,” Webster’s Third New

International Dictionary 1474 (1968); “father” as “a male parent,” id.

at 828; “son” as a “male offspring,” id. at 2172; and “daughter” as “a

human female,” id. at 577. This makes no sense if “sex” includes the

non-binary concept of gender identity.

     If sex included concepts like a person’s gender identity, Title IX’s
regulations would not make sense either. They correctly allow for

separate locker rooms and showers, supra § I.B, so long as facilities “for

students of one sex” are comparable to “facilities provided for students of

the other sex.” 34 C.F.R. § 106.33 (emphases added). In sports, the

regulation allows schools to “sponsor separate teams for members of

each sex.” Id. § 106.41(b) (emphasis added). And schools must “provide

equal athletic opportunity for members of both sexes” to “effectively

accommodate the interests and abilities of members of both sexes.” Id.

§ 106.41(c) (emphases added).

     The list goes on. Title IX or its regulations exempt institutions


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“traditionally” limited to “only students of one sex,” 20 U.S.C.
§ 1681(a)(5); “youth service organizations” traditionally “limited to

persons of one sex,” Id. § 1681(a)(6)(B); “living facilities for the different

sexes,” 20 U.S.C. § 1686; “separation of students by sex within physical
education classes” for sports chiefly involving bodily contact, 34 C.F.R.

§ 106.34(a)(1); and human sexuality classes and choirs separated by

“sex,” Id. § 106.34(a)(3)–(4). Title IX and its regulations only make
sense against a binary, biological backdrop. The regulatory regime is

nonsensical if applied to the many dozens and dozens of gender

identities or to individuals who claim to be gender fluid, the practice “in

which some individuals claim to change gender identities associated

with the male and female sexes and thereby treat sex as a mutable

characteristic.” Adams, 2022 WL 18003879, at *7 n.6.
      In contrast, if the Title IX mandate is correct, schools could not

use a biology-based classification to separate physical education classes

involving sports like boxing and rugby. See 34 C.F.R. § 106.34(a)(1); see

also infra § II.C (explaining that sex-separated sports only exist to

accommodate physiological differences between the sexes). Indeed, the

regulatory exemptions would affirmatively bless heterosexual-only

choirs, see 34 C.F.R. § 106.34(a)(4), or living facilities for gays only, see

20 U.S.C. § 1686, while prohibiting “otherwise permissible sex-based

carve-outs when the carve-outs come into conflict with a transgender

person’s gender identity.” Adams, 2022 WL 18003879, at *16. These


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exemptions only make sense if they are rooted in biology, not identity or
orientation.

            3.    Title IX’s purpose is to promote equality based
                  on biological sex.
      The Title IX mandate is at odds with Title IX’s purpose, too. A text

“cannot be divorced from the circumstances existing at the time [the
statute] was passed, and from the evil which Congress sought to correct

and prevent.” United States v. Champlin Refin. Co., 341 U.S. 290, 297

(1951). And naturally, “a textually permissible interpretation that

furthers rather than obstructs the document’s purpose should be

favored.”10 Understanding a document’s “overarching purpose,” which

is “evident in the text” itself, is an intuitive part of interpreting the

statute. AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 344 (2011).

      “The circumstances and the evil” that motivated Title IX “are well-

known.” Champlin, 341 U.S. at 297. Numerous courts have recognized
that “Title IX was enacted in response to evidence of pervasive discrimi-

nation against women with respect to educational opportunities.”11

McCormick v. Sch. Dist. of Mamaroneck, 370 F.3d 275, 286 (2d Cir.

2004); Cannon v. Univ. of Chi., 441 U.S. 677, 704 & n.36 (1979). This


10 Antonin Scalia & Bryan A. Garner, Reading Law: The Interpretation
of Legal Texts 63 (2012).
11 “[W]hatever approach” cases like McCormick or Cannon “may have

used” to deduce Title IX’s purpose, we may rely on them as “an integral
part of our jurisprudence” on Title IX. Bray v. Alexandria Women’s
Health Clinic, 506 U.S. 263, 286 n.17 (1993).

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has nothing to do with sexual orientation or gender identity,
particularly since “gender identity” was “a concept that was essentially

unknown” 50 years ago. Bostock, 140 S. Ct. at 1755 (Alito, J.,

dissenting); see also id. at 1772 (“The term ‘transgender’ is said to have
been coined ‘in the early 1970s.’” (cleaned up)).

     Sports prove the point. “[G]irls and women were historically

denied opportunities for athletic competition based on stereotypical
views that participating in highly competitive sports was not ‘feminine’

or ‘ladylike.’” McCormick, 370 F.3d at 295. “Male athletes had been

given an enormous head start.” Neal, 198 F.3d at 767. So at the behest

of Congress, Title IX’s sports regulations aimed “to level the proverbial

playing field,” id., and required that covered programs “shall provide

equal athletic opportunity for members of both sexes.” 34 C.F.R.
§ 106.41(c). “[I]t would require blinders to ignore that the motivation for

promulgation of the regulation on athletics was the historic emphasis

on boys’ athletic programs to the exclusion of girls’ athletic programs in

high schools as well as colleges.” Williams, 998 F.2d at 175.

     For this reason the Title IX mandate would reverse decades of

progress under Title IX by ignoring the statute’s biology-based remedial

scheme. Men and women are differently situated in sports because of

the average physiological differences between the sexes. See supra § I.B.

Sex-separated teams exist to accommodate these differences. Id. Take

that biological distinction away and there’s no justification for sex-


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separated teams in the first place. To give women “real opportunities,”
rather than participation trophies, schools must offer women-only

teams. Williams, 998 F.2d at 175. Title IX accomplishes this by focusing

on biology, and neither the statute’s text nor purpose support the
Department’s mandate.

           4.    Bostock is inapposite.
     Without support in Title IX’s plain text, structure, or purpose, the
Title IX mandate relies extensively on misconstruing Bostock. But

Bostock limited its holding. The Supreme Court held that differential

treatment based on sexual orientation or gender identity in the

employment context violates Title VII. Bostock, 140 S. Ct. at 1741. The

Court then specifically disclaimed any application outside the Title VII

employment context. Id. at 1753. Even under the same statute, the
Court declined to extend its holding to “bathrooms, locker rooms, or

anything else of the kind.” Id. For this reason, this Court has held that

“the rule in Bostock extends no further than Title VII.” Pelcha, 988 F.3d

at 324.

     In addition, Bostock’s analysis does not work under Title IX. “Title

VII differs from Title IX in important respects.” Meriwether, 992 F.3d at

510 n.4. Though sex is irrelevant to hiring or firing decisions, “athletics

differs from . . . employment in analytically material ways.” Cohen v.

Brown Univ., 101 F.3d 155, 177 (1st Cir. 1996); see supra § I.B. So “it

does not follow that principles announced in the Title VII context


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automatically apply in the Title IX context.” Meriwether, 992 F.3d at
510 n.4; Neal, 198 F.3d at 772 n.8 (Title VII “precedents are not

relevant in the context of collegiate athletics. Unlike most employment

settings, athletic teams are gender segregated[.]”); Cohen, 101 F.3d at
177 (“It is imperative to recognize that athletics presents a distinctly

different situation from … employment and requires a different

analysis in order to determine the existence vel non of discrimination.”).
     Again, sports prove the point. Applying Bostock’s reasoning under

Title IX would mean Title IX forbids schools’ taking sex into

consideration (even in part) when they field a soccer team.12 But

“athletics programs necessarily allocate opportunities separately for

male and female students.” Cohen, 101 F.3d at 177. And because males

would largely displace females in sports if they were forced to compete
against one another, the Title IX mandate would be the death knell of

women’s sports. See Adams, 2022 WL 18003879, at *19 (Lagoa, J.,

dissenting) (accepting the Department’s interpretation would “threaten

12 Ironically, the Title IX mandate forces the States to differentiate
based on gender identity by excluding student-athletes from
participating on the women’s or men’s teams based solely on gender
identity. Presumably, this would force female athletes who identify as
male to compete against males—even if they have the physiological
characteristics of a typical female and desire to compete on the women’s
team. That makes little sense in light of Title IX’s text, structure, and
purpose. Griffin v. Oceanic Contractors, Inc., 458 U.S. 564, 575 (1982)
(“[I]nterpretations of a statute which would produce absurd results are
to be avoided if alternative interpretations consistent with the
legislative purpose are available.”).

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to undermine one of Title IX’s major achievements, giving young women
an equal opportunity to participate in sports.”) (quotation omitted).

     The Title IX mandate would make it impossible to police males’

participation in women’s sports, because “the transgender community is
not a monolith in which every person wants to take steps necessary to

live in accord with his or her preferred gender (rather than his or her

biological sex).” Doe 2 v. Shanahan, 917 F.3d 694, 722 (D.C. Cir. 2019)
(Williams, J., concurring); see also id. at 701 (Wilkins, J., concurring)

(same). Major governing sports bodies that allow males to participate in

women’s sports only do so for males who have taken puberty blockers or

suppressed their testosterone. As noted above, World Rugby only allows

males to participate if they have never experienced male puberty. And

organizations like the NCAA that promote inclusion acknowledge that
males’ participation in women’s sports based solely on gender identity is

untenable.13 But even these regulations would violate the Department’s

interpretation of Title IX because they would still exclude some males

(who identify as female) from the women’s category.




13The NCAA previously allowed males who identified as transgender
and suppressed their testosterone for one year to compete in women’s
sports. 2010 NCAA Policy on Transgender Student-Athlete
Participation, https://perma.cc/J5WY-7A67. The NCAA recently
abandoned this policy for a “sport-by-sport approach” that will become
effective this fall. NCAA Transgender Student-Athlete Participation
Policy, https://perma.cc/AV9C-EE4X.

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     Of course, even regulations that try to include biological males in
women’s sports do not mitigate males’ biological advantages.14 The Title

IX mandate is even more problematic, since every male who identifies

as female would get to participate in women’s sports regardless of
medical interventions or athletic ability. The results would be

predictable. This was the policy in Connecticut which allowed two

biological males to dominate girls’ track events for several years, as
described in detail above.

     The Title IX mandate would make sex-separated bathrooms,

locker rooms, and showers illegal, too. Adams, 2022 WL 18003879, at

*18 (“affirming the district court’s order, and equating ‘sex’ with ‘gender

identity’ or ‘transgender status’ for purpose of Title IX, would, at the

very least, generally impact living facilities, locker rooms, and showers,
in addition to bathrooms, at schools across the country—affecting

students in kindergarten through the post-graduate level”).

           5.    The mandate violates the major questions
                 doctrine.
     Imposing the Title IX mandate also violated the major questions

doctrine because the mandate implicates questions of vast economic and

political significance and lacks clear statutory authority.

14See supra note 9 (World Rugby regulations); see also Emma N. Hilton
& Tommy R. Lundberg, Transgender Women in the Female Category of
Sport: Perspectives on Testosterone Suppression and Performance
Advantage, 51 Sports Med. 199–214 (2021),
https://doi.org/10.1007/s40279-020-01389-3 (reviewing literature).

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     “[C]ourts ‘expect Congress to speak clearly if it wishes to assign to
an agency decisions of vast economic and political significance.’” West

Virginia, 142 S. Ct. at 2605 (quoting Util. Air Regul. Grp., 573 U.S. at

324). The Court must view with “skepticism” a federal agency claiming
to impose such a mandate, especially where it is inconsistent with the

“history and the breadth of the authority that [the agency] has

asserted.” Id. at 2608. Congress does not confer “sweeping and
consequential authority ‘in so cryptic a fashion.’” Id. (quoting FDA v.

Brown & Williamson Tobacco Corp., 529 U.S. 120, 123 (2000)). “[I]t is

not plausible that Congress gave” an agency the authority to “force a

nationwide transition away from” a longstanding approach “of such

magnitude and consequence” unless Congress provides “a clear

delegation” to do just that. Id. at 2616. And this principle is particularly
strong in the context of a Spending Clause statute like Title IX which—

unlike the Title VII statutory regime at issue in Bostock—is akin to a

contract where “[t]he legitimacy of Congress’ power to legislate under

the spending power thus rests on whether the State voluntarily and

knowingly accepts the terms of the ‘contract.’” Pennhurst State Sch. &

Hosp. v. Halderman, 451 U.S. 1, 17 (1981).

     The Title IX mandate is a radical change of vast economic and

political consequence—with no clear statutory authorization. The




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Department oversees almost $90 billion in federal funds each year.15
Collectively, borrowers owe over $1.6 trillion in federal student loans.16

Attaching the Title IX mandate to every dollar of federal financial

assistance in education is therefore a decision of incalculable economic
significance.

     It is also a decision of monumental political significance. As

discussed above, Title IX’s purpose of leveling the educational playing
field for women—defined biologically—is “well-known.” See Champlin,

341 U.S. at 297; Bostock, 140 S. Ct. at 1755 (Alito, J., dissenting). There

is vast significance to the decision to transform the Title IX regulatory

regime from one in which women have protection from males unfairly

taking away their educational opportunities, athletic fairness, and

intimate privacy, into one where women must compete with males for
those benefits.

     Yet this mandate is one Congress did not authorize in Title IX—

certainly not in the clear way the Supreme Court requires. As noted,

not only did “sex” not mean gender identity or transgender status in

1972, but Title IX, and decades of its regulations, are permeated with

biologically binary language about males and females. There is no basis

to believe that in Title IX Congress gave “a clear delegation” for the

15 See Agency Profile: Department of Education (ED), USASpending.gov,
https://www.usaspending.gov/agency/department-of-education?fy=2023.
16 Melanie Hanson, Student Loan Debt Statistics, EducationData.org

(Oct. 26, 2022), https://educationdata.org/student-loan-debt-statistics.

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Department to decide that, after nearly 50 years, males who identify as
female must now be treated as females under all aspects of Title IX,

including women’s athletics. West Virginia, 142 S. Ct. at 2616. Only

Congress can authorize the Department’s Title IX mandate, and it did
not “speak clearly” to do so. Id. at 2605.

IV.   The mandate is arbitrary and capricious.
      Finally, this Court can affirm the injunction on the alternative
ground that the Department’s Title IX mandate is arbitrary and

capricious under the APA. 5 U.S.C. § 706(2)(A). See States’ Mem. in

Supp. of Mot. for Prelim. Inj., R.11, PageID# 146–47 (arguing the Title

IX mandate is arbitrary and capricious under the APA). Two points

illustrate the arbitrary and capricious nature of the mandate.

      A.    The mandate relies on an erroneous view of Bostock.
      First, the Department’s mandate is overwhelmingly based on its

erroneous extension of Bostock to Title IX. 86 Fed. Reg. at 32,637–39.

Indeed, the mandate references Bostock 21 times in four pages, and the

Department even put Bostock in the title of the document. Id. The

Department declared that Bostock both “guides” and “leads to the con-

clusion” set forth in the mandate. Id. at 32,638. Likewise, the mandate

relied on an interpretation of Title IX issued by this administration’s

Department of Justice—which also explicitly relied on Bostock. Id. at

32,639. In short, without this view of Bostock, there would be no

mandate.


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     But as explained at length above, the Department’s view of
Bostock is wrong. See supra § III.B.4; accord Adams, 2022 WL

18003879, at *14 (courts “cannot, as the Supreme Court did in Bostock,

decide only whether discrimination based on transgender status
necessarily equates to discrimination on the basis of sex …. This is

because Title IX, unlike Title VII, includes express statutory and

regulatory carve-outs for differentiating between the sexes when it
comes to separate living and bathroom facilities, among others,”

including sports) (citation omitted).

     The Department’s decision to issue a nationwide mandate based

on a Supreme Court opinion but contrary to that opinion’s self-

expressed limitations is the definition of arbitrary and capricious. It is a

serious, “clear error of judgment” that renders the agency action not
just wrong but legally infirm. State Farm, 463 U.S. at 43 (citation

omitted). In this case, the Department “offered an explanation for its

decision that runs counter to the evidence before the agency,” because

Bostock explicitly disavows its extension to Title IX. Id. Issuing this

mandate based on Bostock is “a clear and prejudicial violation of

applicable” legal standards—that is, of Bostock itself. McDonald

Welding v. Webb, 829 F.2d 593, 595 (6th Cir. 1987). Therefore the

States are likely to succeed on the merits of their claim that the Title IX

mandate is arbitrary and capricious under the APA.




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     B.    The mandate failed to consider reliance interests and
           alternatives.
     The Title IX mandate is also arbitrary and capricious under the

APA because the Department—driven by its unswerving devotion to

rewriting Title IX—failed to consider reliance interests and possible

alternatives.

     “[A]gency action is lawful only if it rests on a consideration of the

relevant factors.” Michigan v. EPA, 576 U.S. 743, 750 (2015) (citation

omitted). Agency action is arbitrary and capricious under the APA

unless it addresses “legitimate reliance” on past policies and legitimate

alternative policies. Dep’t of Homeland Sec., 140 S. Ct. at 1910–15.

     As discussed, the Title IX mandate would unleash a revolution in

women’s sports and educational opportunity. For over 50 years, Title IX

has protected women’s ability to have their own leagues and to afford

them the opportunities and benefits of competition, scholarships, and

achievements. Allowing—indeed, mandating—that males compete in

those leagues based on gender identity turns Title IX on its head. The

mandate has cascading negative impacts on women’s privacy and

fairness in educational settings beyond sports as well, since Title IX

applies to the entire educational enterprise, not just to athletics.

     Yet the mandate spans a mere four pages of the Federal Register,

and the Department spent the entirety of that text discussing Bostock

instead of the mandate’s many negative and substantial impacts on



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women. There is zero discussion of how two generations of women have
relied on Title IX for the benefits it afforded them, and how this

mandate would adversely affect those benefits. There is likewise no

discussion of alternative approaches to the Department’s goal of
protecting fairness for persons who identify as a different gender than

their sex. This lack of meaningful discussion about such important

subjects is in one sense unsurprising, since the Department allowed for
no public comment and wanted to bury its head in the sand about the

practical consequences of its reimagining of Title IX. But the approach

is illegal nonetheless, and it forms an independent basis for this Court

to affirm the preliminary injunction and, by extension, to deny the

Department’s motion to dismiss.




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            CONCLUSION AND REQUESTED RELIEF
     A.F. and ACSI respectfully request that this Court affirm both the

District Court’s granting of the States’ preliminary injunction motion
and its denial of the Department’s motion to dismiss.


January 24, 2023                        /s/ John J. Bursch

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                          FRAP 32(g)
                 CERTIFICATE OF COMPLIANCE

     This brief complies with the word limit of Fed. R. App. P.
32(a)(7)(B) because this brief contains 12,020 words, excluding parts of

the brief exempted by Fed. R. App. P. 32(f) and 6 Cir. R. 32(b).

     This brief complies with the typeface requirements of Fed. R. App.
P. 32(a)(5) and the type-style requirements of Fed. R. App. P. 32(a)(6)

because this brief has been prepared in Word 365 using a proportionally

spaced typeface, 14-point Century Schoolbook.


Dated: January 24, 2023
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                      CERTIFICATE OF SERVICE
      I hereby certify that on January 24, 2023, I electronically filed the

foregoing brief with the Clerk of the Court for the United States Court
of Appeals for the Sixth Circuit by using the appellate CM/ECF system.

I certify that all participants in the case are registered CM/ECF users

and that service will be accomplished by the CM/ECF system.


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Date: January 24, 2023




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          DESIGNATION OF RELEVANT DISTRICT COURT
                        DOCUMENTS

     Pursuant to Sixth Circuit Rules 28(b)(1)(A)(i) and 30(g),

Intervenors-Appellees Association of Christian Schools and A.F.

designate the following district court documents as relevant:


  Record                       Description                         Page ID #
  Entry                                                             Range

     1         Complaint for Declaratory and Injunctive               1–38
               Relief

    1-2        Exhibit A to Complaint - 86 Fed. Reg.                 41–45
               32,637 (Enforcement of Title IX of the
               Education Amendments of 1972 With
               Respect to Discrimination Based on
               Sexual Orientation and Gender Identity in
               Light of Bostock v. Clayton County)

    1-4        Exhibit C to Complaint – Letter to                    69–74
               Educators on Title IX’s 49th Anniversary
               dated June 23, 2021

     10        Plaintiffs’ Motion for Preliminary                   120–126
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     11        Memorandum in Support of Plaintiffs’                 127–164
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     48        Defendants’ Opposition to Plaintiffs’                288–339
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     49        Defendants’ Motion to Dismiss                        344–345

     51        Intervenors-Plaintiffs’ Motion to Intervene          380–383




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51-4       Declaration of A.F. in Support of Motion to          431–437
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51-5       David Balik’s Declaration in Support of              438–452
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70         Court’s minute entry from oral argument                    834

86         Memorandum Opinion and Order                        1942–1988
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100        Notice of Appeal                                    2407–2408

102        Memorandum Opinion and Order                        2413–2427
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104        Intervenors-Plaintiffs’ Verified Complaint          2428–2488




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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                  CHARLESTON DIVISION

 B.P.J, by her next friend and mother, HEATHER
 JACKSON
                                              Plaintiff,
        v.
 WEST       VIRGINIA      STATE       BOARD       OF
 EDUCATION, HARRISON COUNTY BOARD OF                             Case No. 2:21-cv-00316
 EDUCATION, WEST VIRGINIA SECONDARY
 SCHOOL ACTIVITIES COMMISSION, W.
 CLAYTON BURCH in his official capacity as State                Hon. Joseph R. Goodwin
 Superintendent, DORA STUTLER in her official
 capacity as Harrison County Superintendent, and THE
 STATE OF WEST VIRGINIA
                                           Defendants,
        and
 LAINEY ARMISTEAD
                                 Defendant-Intervenor.


                        DECLARATION OF LAINEY ARMISTEAD


I, Lainey Armistead, under penalty of perjury, declare as follows:

       1.      I am a twenty-two-year-old resident of Charleston, West Virginia, in Kanawha

County, and have personal knowledge of the information below.

       2.      I am a junior and female athlete at West Virginia State University (WVSU) in

Charleston, West Virginia, where I am a member of the women’s soccer team. Soccer is my

passion and life-defining pursuit.

Athletics Background

       3.      I come from a family of talented athletes. My dad was a multi-sport athlete in

high school and an All-American soccer player in college. He later coached club soccer. My

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mom was a high school and collegiate cheerleader. Two of my brothers went on to play soccer in

college.

          4.   Soccer was like the air I breathed growing up. I first kicked a soccer ball at three

years old—almost as soon as I could walk. I grew up playing pick-up soccer games with my

brothers, being coached by my dad on technique, and cheering at soccer matches alongside my

family.

          5.   I started playing on club soccer teams in my home state of Kentucky at age seven

and continued competing on club teams through the end of my high school career.

          6.   I was excited to enjoy success on those club soccer teams. When I was just nine

years old, my club soccer team won the indoor U.S. Youth Futsall National Championships—

which is the largest and most prestigious indoor youth soccer competition in the country. It was

an unforgettable experience.

          7.   I later went on to help my club soccer team win state championships during my

freshman and sophomore years of high school. Those wins pushed me to try even harder.

          8.   Also during my sophomore year of high school, I had the honor of being selected

from my club soccer team (Kentucky Fire) as one of only 20 girls in the nation to be invited to

compete in a showcase soccer event in Las Vegas.

          9.   In addition to club soccer, I also competed on my school’s middle school and high

school soccer teams. One of my favorite memories from that time was helping my high school

soccer team win the state championship during my freshman year of high school.




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Competing in Women’s Collegiate Athletics

       10.      It was my dream to play soccer in college. And I hoped my hard work would pay

off with a college scholarship. I know, however, that athletic scholarships are limited and

competitive.

       11.      After visiting approximately ten different colleges, I decided to visit West

Virginia State University (WVSU), a public state university. I immediately knew this was where

I wanted to attend college and I committed the same day.

       12.      WVSU offered me a soccer scholarship to compete on its women’s soccer team.

That scholarship helps pay for my education and brings me one step closer to my dream of being

a lawyer someday.

       13.      Without a scholarship, I likely would have attended a college in my hometown

and been saddled with school loans. My athletic scholarship opened the door for me to attend the

school of my choice.

       14.      WVSU is an NCAA Division II soccer team and competes in the NCAA

Mountain East Conference.

       15.      There are 11 players per team (22 players total) on the soccer field at any given

time, though teams may have two or three times that many players total. Those 11 starting

positions are highly coveted and competitive.

       16.      Team players are grouped into four general categories:

             a. the front, or attacking positions, which are called strikers;

             b. the midfielder positions;

             c. the defender positions;

             d. and the goalie.


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        17.     I play starting left wingback on the soccer field, which is a defender position. But

I “attack” a lot, which means I run up and down the field much of the game.

        18.     I also have the privilege of serving as team captain. This is a leadership position

that is voted on by both players and coach, and has responsibilities that include organizing the

team, determining what jerseys to wear, serving as liaison between the players and coaches, and

also serving as liaison between the players and referee.

        19.     In 2020, I received the Stinger Award for “Female Teammate of the Year” in

WVSU women’s soccer.

        20.     Due to the COVID-19 pandemic, I currently have three years of NCAA eligibility

left.

        21.     My teammates and I train hard to win. We do running drills, weightlifting, and

watch replay videos of our prior games to evaluate how we can improve.

        22.     But it is not always easy. I have made many sacrifices over the course of my

athletic career to play the sport that I love. I have missed school dances and spring breaks; family

events; and friends’ birthdays. I have given up my weekends and free time. I stay at school late

for practice and get up early to train.

        23.     But I make these sacrifices because I want to be the best that I can be. I want to

win—not just for myself, but also for my teammates. And it is that love of winning that helps me

press through when the going gets tough.

        24.     I love my sport. It’s exhilarating to see all the training and hard work that we put

in at practice pay off on the field.




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       25.     Soccer is called the “beautiful sport”—and for good reason. It is the most played

sport in the world. Like music, soccer transcends culture. You can play a pick-up game of soccer

with anyone regardless of language or background.

       26.     But soccer is also beautiful because it takes incredible teamwork to achieve a win.

Soccer is a 90-minute game. It is much more difficult for women to run nonstop for a full 90-

miuntes than it is for men. As a result, women’s soccer games are different than men’s. We have

to be more cohesive. We pass the ball more, communicate more, and rely on our teammates

more. But rather than a downside, I see teamwork as a thing of beauty. I love accomplishing

things as a group. And when I step on the field with those ten other women, I know they have my

back and I have theirs. We play hard for each other. As a result, my teammates have become

some of my closest friends.

       27.     Soccer also taught me life skills like mental and physical toughness, perseverance,

and good sportsmanship. It taught me that hard work and discipline pay off. It taught me the

value of teamwork. It provided leadership opportunities that will benefit my future career. It

opened new financial opportunities, such as benefitting from my image and likeness. It has given

me lasting friendships with my teammates. And it has given me something to strive for. I would

not be the person I am today without soccer.

Safety Concerns in Soccer

       28.     Soccer is a rough contact sport, and injuries are common among female athletes.

       29.     From my own observations, concussions, knee injuries, and ankle injuries are the

most common injuries incurred by soccer players. In the first couple games of the WVSU fall

2021 soccer season alone, members of my team suffered all three of these injuries.




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       30.     Playing a rough contact sport with other girls is one thing. But having played

pick-up soccer games with my brothers and street soccer with men, I have realized that playing a

rough contact sport with men is entirely different.

       31.     Males are generally stronger, fitter, faster, and have a bigger stature than women,

which gives them advantages of strength, speed, and size in soccer. They compete at a faster

pace. They kick the ball harder. They have physical frames that are generally larger.

       32.     Thankfully, I can enjoy a casual pick-up game of soccer with men because they

take it easier on me. They do not go “all-in” because they know they could hurt me. But it would

be a different story if a male was seriously competing and making full use of his strength, speed,

and size in a soccer match against me. Based on my long experience playing competitive team

soccer, I would be more worried that I could be injured by a male than a female competitor in a

game in which players are trying their hardest to win.

Fairness in Women’s Sports

       33.     A couple years ago, I heard about female track athletes in Connecticut who lost to

biological males competing in their races. I learned that these two males won 15 women’s state

championship titles in girls’ high school track and field. I was appalled and heartbroken for those

girls. It felt so unfair. But I was thankful that those athletes had the courage to stand up.

       34.     I also heard that a male who competed on the University of Montana men’s team

track and cross-country team began competing in women’s cross-country and track events and

displaced collegiate female athletes.

       35.     So when I heard that West Virginia’s legislature passed the Save Women’s Sports

Act to protect the integrity of women’s sports, I enthusiastically supported it.




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       36.     I never dreamed this would be an issue in West Virginia. And I never thought this

issue could personally impact my competition till I learned a lawsuit had been filed against the

new West Virginia law to protect women’s sports.

       37.     Getting involved in this lawsuit was a weighty decision. I sought a lot of counsel

and considered my options carefully before deciding to become involved in a case of this public

importance and controversy. It’s not always easy standing up for what you believe in.

       38.     And I know from experience in friendly competitions against men that facing a

male in a soccer game changes the entire dynamics on the field and poses not just fairness but

safety concerns, as well.

       39.     If forced to compete against a male athlete, I would have to face the hard decision

of competing on an unfair playing field with heightened safety risks, or not competing at all.

       40.     A single male on my team could displace me or one of my teammates from a

starting position—or a position on the team.

       41.     Even if the male athlete was on my team—arguably giving my team an

advantage—I would treat that individual with respect and kindness, but it would still be unfair to

displace a female athlete from her place on the field or from that position. And it also would not

be fair to the female players on the opposing team.

       42.     Allowing males into women’s athletics allows a person with a male body to take

opportunities away from female athletes—whether that is a spot on the team, a starting position

on the field, an athletic scholarship, the opportunity to benefit from her likeness, or recognition

and awards—and is contrary to the entire purpose of women’s sports.

       43.     Women’s sports exist to give girls like me a chance to compete in sports on a

level playing field.



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        44.     Women have worked so hard to be taken seriously on the athletic level.

        45.     I fear that too many women feel pressured to remain silent about their beliefs.

        46.     I want other little girls in the future, or my own daughters, to not have to worry

about competing against males. I also fear that girls in the future might consider not playing at all

if they feel they cannot win against a physically superior male. Winning is the motivation for a

lot of us who played sports for years.

        47.     I believe that protecting fairness in women’s sports is a women’s rights issue.

This isn’t just about fair play for me: it’s about protecting fairness and safety for female athletes

across West Virginia. It’s about ensuring that future generations of female athletes are not

discriminated against but have access to the same equal athletic opportunities that shaped my

life.

        48.     Being an athlete in college has made me even more passionate about the sport that

I play. I want fairness and equality in sports. And I want to ensure those standards are protected

for other girls, too.

        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

                                                      ____________________________________
                                                      Lainey Armistead
                                                      Dated: April 20, 2022




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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                   CHARLESTON DIVISION

    B.P.J, by her next friend and mother, HEATHER
    JACKSON,
                                               Plaintiff,
           v.
    WEST       VIRGINIA      STATE       BOARD       OF           Case No. 2:21-cv-00316
    EDUCATION, HARRISON COUNTY BOARD OF
    EDUCATION, WEST VIRGINIA SECONDARY
    SCHOOL ACTIVITIES COMMISSION, W.                              Hon. Joseph R. Goodwin
    CLAYTON BURCH in his official capacity as State
    Superintendent, DORA STUTLER in her official
    capacity as Harrison County Superintendent, and THE
    STATE OF WEST VIRGINIA,
                                             Defendants
           and
    LAINEY ARMISTEAD,
                                 Defendant-Intervenor.


                         DECLARATION OF CHELSEA MITCHELL
I, Chelsea Mitchell, declare as follows:
          1.     I am a nineteen-year-old graduate of Canton High School in Canton,

Connecticut, and a sophomore student athlete at the College of William and Mary in

Williamsburg, Virginia.

          2.     As an elite female athlete, I had the deflating experience of competing against

and losing to male athletes in the girls’ category throughout all four years of my high school

career. I personally lost four state championship titles, two All-New England awards, medals,

points, placements, and publicity due to an unfair state athletic policy that permits males to

compete in girls’ sports in Connecticut.




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                 I hope that by sharing my experience, no other female athlete will have to face

the heartache and loss that I did.

Athletic Background

       4.          Sports are a big part of my family. My sisters and I each started playing

organized sports in kindergarten and later became multi-sport athletes. My oldest sister was

captain of her high school soccer and track teams and went on to run collegiate track. My

younger sister plays high school soccer and runs track, and also played lacrosse and basketball

for a time. And I played basketball until eighth grade. I was the leading scorer on my varsity

soccer team and a four-year starter. And I am a short distance sprinter and long-jumper.

                 My dad dedicated 15 years to coaching our soccer and basketball teams. My

mom was our number one cheerleader, driving us to and from games, and volunteering her time

so that we could play the sports we loved. 

       6.          I started running track in middle school. My older sister ran it, and I decided to

give it a try. I loved it: the competitiveness, how it makes me feel, and the opportunity to win.

                  I’m quite proud of my high school athletic achievements, which include:

       x       High School All-American for Long Jump, 2020 – NSAF (top 6 nationally)
       x       Girls Outdoor Track Athlete of the Year, 2019 – Connecticut High School Coaches
               Association
       x       Bo Kolinsky Female Athlete of the Year, 2019 – Hartford Courant (soccer and track)
       x       New England Champion in 100m
       x       3 State Open Championships – 55m, 100m, Long Jump
       x       8 State Championships – 55m, 100m, 200m, 300m, Long Jump x3, 4x100 relay
       x       20 Conference Championships
       x       Hold the Conference Meet Records in all my events – 55m, 300m, LJ, 100m, 200m,
               LJ
       x       MVP award for track every season of high school career.
       x       Most goals scored in school history for girls’ soccer.
       x       Most championship titles in school history for any athlete, male or female.



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         x       Being the only female in school history to win a State or New England Championship
                 in track and field. Thirteen different male athletes have won titles.
                    I am proud of what I’ve accomplished. But it hasn’t been easy. 

                    I have made a ton of sacrifices to compete—giving up what many would

consider the “normal” teenage life by watching what I eat, skipping the parties, and going to bed

early. I spend several hours a day at the track and in the weight room. Track meets are all-day

events that start early and end late. I usually train or compete six days a week, with Sunday often

my only day off when we are in-season. I do all of this to strengthen my body and improve my

technique in hopes of running just a few tenths of a second faster or jumping just a few inches

farther.

                  I do not mind the early mornings and long, tiring days when I know the

competition is fair. Because when the competition is fair, I know I have a decent shot at winning.

But my high school experience was anything but fair. 

Males competing in Connecticut girls’ track

                  During my freshman year of high school, my mom informed me that a male

would be competing in the girls’ category. 

         12.         Later, we learned that the Connecticut Interscholastic Athletic Conference

(CIAC) —the athletic association that set the rules for school sports in Connecticut—had passed

a policy allowing biological males who identify as female to compete in the girls’ category.

                  From the Spring 2017 outdoor track season through the Winter 2020 indoor track

season1—six track seasons—I competed against biological males in my track and field athletic

events due to the CIAC policy.



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    The Spring 2020 outdoor season was cancelled due to the global COVID-19 pandemic.
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               Over the course of my high school career, I competed head-to-head with male

athletes 27 times. I never won a race in which both male athletes were running.

2016-2017 Freshman Year

               I first competed against a male in girls’ track and field as a fourteen-year-old

freshman at the Spring 2017 State Open Championship.

            16.   On the way to this meet, I was instructed by my coach to respond “no comment”

if asked about the issue of males competing in the female category.

            17.   In the 100m final at the 2017 outdoor State Open, I placed 7th overall. The top

six receive a medal and qualify to advance to the New England Regional Championship: one of

those top six spots was taken by male athlete Andraya Yearwood:

Table 1: 2017 CIAC State Open Women’s Outdoor Track 100m Results (June 5, 2017)2
    Place     Grade   Sex    Name                             Time      High School
    1*        12      F      Caroline O’Neil                  12.14s    Daniel Hand
    2*        12      F      Kathryn Kelly                    12.36s    Lauralton Hall
    3*        9       M      Andraya Yearwood                 12.41s    Cromwell
    4*        11      F      Tia Marie Brown                  12.44s    Windsor
    5*        12      F      Kiara Smith                      12.59s    Jonathan Law
    6*        11      F      Kate Hall                        12.62s    Stonington
    7         9       F      Chelsea Mitchell                 12.69s    Canton
    8         12      F      Tiandra Robinson                 FS        Weaver
* Qualified for the New England Championship.


            18.   If not for Yearwood’s participation in the girls’ category, I would have medaled

and had the honor of advancing to the prestigious regional championship as a freshman.




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2
 AthleticNet, https://www.athletic.net/TrackAndField/meet/306453/results/f/1/100m, last visited
June 2, 2020.
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2017-2018 Sophomore Year
          19.   During my sophomore year, I learned that Andraya Yearwood’s school was

reclassified to the Class S division for indoor track events—which was the same class as my

school.

          20.   This news was upsetting for me because I would now be racing against a male

competitor at both the Class S championship and the State Open championship.

          21.   At the February 10, 2018, indoor Class S Championship in the 300m, I was

knocked out of advancing to the State Open by just one spot—a spot was taken by Andraya.

             As a competitive person, I often check Athletic.net, a website that lists high

school track rankings. One day, I noticed a new girl, named Terry Miller, at the top of the charts.

Terry was running times better than I ever hoped to run. But my coach told me later that it must

be some mistake—perhaps Terry was entered in the wrong race. Terry had competed as a boy for

the previous three seasons.

          23.   On April 27, 2018, at the first invitational race of the Spring 2018 outdoor

season, I was seeded in the 100m in a lane beside not just one, but two male athletes: Terry

Miller and Andraya Yearwood.

          24.   I distinctly remember seeing Terry look over to Andraya and say: “You and me,

one and two.” At fifteen years old, I felt extremely intimidated to run against bigger, faster, and

stronger male competitors.

          25.   But Terry was right. I should have won that 100m race; but instead, Terry and

Andraya took first and second place, while I placed third.

          26.   Similarly, at the Spring 2018 outdoor State Open Championship, Terry won the

women’s 100m event by a wide margin, while Andraya finished second.

          27.   But for CIAC’s policy, I would have won second place statewide:

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Table 2: 2018 CIAC State Open Championship Women’s Outdoor Track 100m Results
(June 4, 2018)3
    Place     Grade   Sex    Name                             Time      High School
    1*        10      M      Terry Miller                     11.72s    Bulkeley
    2*        10      M      Andraya Yearwood                 12.29s    Cromwell
    3*        11      F      Bridget Lalonde                  12.36s    RHAM
    4*        10      F      Chelsea Mitchell                 12.39s    Canton
    5*        11      F      Maya Mocarski                    12.47s    Fairfield Ludlowe
    6*        10      F      Selina Soule                     12.67s    Glastonbury
    7         12      F      Tia Marie Brown                  12.71s    Windsor
    8         11      F      Ayesha Nelson                    12.80s    Hillhouse
* Qualified for the New England Championship.

            28.   Bridget Lalonde beat me by just three-hundredths of a second, but I was so

relieved that she did. Emotionally, it was less of a loss to be denied runner-up status than to be

denied a first place State Open Championship—a feat almost unheard of for a high school

sophomore.

            29.   At the 2018 outdoor New England Regional Championship, I placed seventh in

the 100m. Only the top six medal and receive the All New England award—one of those top six

spots was taken by Terry.

            30.   Had I earned the title of All New England, I would have made Canton High

School history as the first Canton female athlete to win this prestigious award.

2018-2019 Junior Year

            31.   In the fall of my junior year, I learned that male athlete Terry Miller transferred

to Bloomfield, another Class S school.

            32.   I was devastated, fearing that with two males competing in my division, my

chances of ever winning a state championship in sprints were now over.



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3
 AthleticNet, https://www.athletic.net/TrackAndField/meet/334210/results/f/1/100m, last visited
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            33.   I trained harder than ever, spending countless hours to shave mere fractions of

seconds off of my times. I never missed a practice, squeezed in extra workouts where I could,

and saw my race times consistently drop.

            34.   But it was not enough. And my fears of losing championship after championship

were realized in the Winter and Spring 2019 seasons.

            35.   At the February 7, 2019, indoor Class S State Championship, Terry finished first

in the 55m. I placed second. But for the CIAC’s policy, I would have been named the Class S

State Champion in the 55m.

            36.   The February 16, 2019, indoor State Open Championship saw similar results and

a similar impact. Terry and Andraya finished first and second respectively in both the

preliminary and final Women’s 55m races, each time defeating the fastest girl by a wide margin.

I placed third in the final.

            37.   But for CIAC’s policy, I would have won the 2019 State Open Championship in

the 55m dash:

Table 3: 2019 CIAC State Open Championship Women’s Indoor Track 55m Preliminary
Results (February 16, 2019)4
    Place     Grade   Sex      Name                          Time     High School
    1*        11      M        Terry Miller                  7.00s    Bloomfield
    2*        11      M        Andraya Yearwood              7.07s    Cromwell
    3*        12      F        Cori Richardson               7.24s    Windsor
    4*        11      F        Chelsea Mitchell              7.27s    Canton
    5*        12      F        Kate Shaffer                  7.27s    Conard
    6*        12      F        Ayesha Nelson                 7.29s    Hillhouse
    7*        12      F        Maya Mocarski                 7.34s    Fairfield Ludlowe
    8         11      F        Selina Soule                  7.37s    Glastonbury
    9         10      F        Kisha Francois                7.41s    East Haven
* Qualified for the women’s 55m final.

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4
 AthleticNet, https://www.athletic.net/TrackAndField/meet/352707/results/f/1/55m, last visited
June 2, 2020.
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Table 4: 2019 CIAC State Open Championship Women’s Indoor Track 55m Final Results
(February 16, 2019)5
    Place     Grade   Sex    Name                           Time      High School
    1*        11      M      Terry Miller                   6.95s     Bloomfield
    2*        11      M      Andraya Yearwood               7.01s     Cromwell
    3*        11      F      Chelsea Mitchell               7.23s     Canton
    4*        12      F      Kate Shaffer                   7.24s     Conard
    5*        12      F      Ayesha Nelson                  7.26s     Hillhouse
    6*        12      F      Maya Mocarski                  7.33s     Fairfield Ludlowe
    7         12      F      Cori Richardson                7.39s     Windsor
* Qualified for the New England Championship.
            38.   Instead, I was not named State Open Champion in the 55m, I received a bronze

medal instead of a gold medal, and I did not make Canton High School history as the first ever

Canton female athlete to be named a State Open Champion.

            39.   However, after the 55m race, I returned to the finals of the long jump, which had

no males competing. While listening to them announce Terry as the winner and new meet record

holder in the 55m, I won the long jump event to solidify my place in the Canton record books as

the first Canton indoor track athlete—male or female—to be named a State Open Champion.

            40.   State Champions are recognized as All-State Athletes, an award listed on college

applications, scholarship applications, and college recruiting profiles. State Champions are

invited to the All-State Banquet, and get their name celebrated on a banner in their high school

gym. I did not receive any of these awards for the 55m. But I was able to receive these awards

for my long jump championship.

            41.   After the State Open Championship, I was repeatedly referred to in the press as

the “third-place competitor, who is not transgender.” I was the fastest biological girl in the 55m

race at the State Open Championship, but the press did not mention my name—I felt invisible.



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    Id.
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            42.   At the March 2, 2019, indoor New England Regional Championship, Terry took

first and Andraya took third place in the 55m dash. I missed medaling and being named All New

England Champion by just two spots—two spots that were taken by male competitors.

            43.   Following Terry Miller’s sweep of the CIAC’s Indoor Class S, State Open, and

New England titles in the 55m dash and 300m, Terry was named “All-Courant girls indoor track

and field athlete of the year” by the Hartford Courant newspaper. This felt like an injustice to my

fellow female athletes.

            44.   In the Spring 2019 outdoor season, I competed against both Terry and Andraya

in the Class S Championship. At this event, I ran the fastest biological female times in the 100m

and 200m across all state class meets.

            45.   But because of the CIAC’s policy, being the fastest biological girl just was not

good enough to experience the thrill of victory. Instead, at the 2019 Class S Championship, Terry

placed first in the 100m and 200m, while I placed second in both events. I won the long jump

and received a state title. But because of the CIAC’s policy, I took home only one state title

instead of three.

            46.   The trend continued at the 2019 outdoor State Open Championship as Terry

easily won the women’s 200m race. But for CIAC’s policy, Cori Richardson would have won

the state championship, Alanna Smith would have finished runner-up, and Olivia D’Haiti would

have advanced to the New England Championship:

Table 5: 2019 CIAC State Open Championship Women’s Outdoor Track 200m Final
Results (June 3, 2019)6
    Place     Grade   Sex    Name                            Time      High School

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6
 AthleticNet,
https://www.athletic.net/TrackAndField/MeetResults.aspx?Meet=364088&show=all, last visited
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    1*     11          M    Terry Miller                   24.33s    Bloomfield
    2*     12          F    Cori Richardson                24.75s    Windsor
    3*     9           F    Alanna Smith                   25.01s    Danbury
    4*     11          F    Chelsea Mitchell               25.24s    Canton
    5*     12          F    Nichele Smith                  25.38s    East Hartford
    6*     12          F    Bridget Lalonde                25.55s    RHAM
    7      12          F    Olivia D’Haiti                 25.63s    Kolbe-Cathedral
* Qualified for the New England Championship.
         47.     But I did receive one opportunity to compete on a more level playing field. At

the Spring 2019 State Open Championship in the 100m, Terry, the top-seed in the race, false-

started and was disqualified. This opened the door for me: I was able to relax, focus on my race,

and win. I set a personal record of 11.67 seconds, made Canton High School history as the first

sprinter to be a state open champion in any sprint event, medaled, received significant media

publicity, and advanced to the New England Regional Championships.

         48.     I went on to win the New England Regional Championships in the 100m dash

and was named All New-England. Here, too, I made Canton High School history as the first

female to win a New England Championship.

         49.     Thereafter, I was awarded Track Athlete of the Year by the Connecticut High

School Coaches Association, and the Hartford Courant named me 2019 All-Courant Girls

Outdoor Track and Field Athlete of the Year and the Bo Kolinsky Female Athlete of the Year

(across all sports).

         50.     My new personal record, State Open Champion and All New-England awards

put me in a much better recruiting position for college scholarships—all because a false start that

prevented a male from competing against me in the women’s division leveled the playing field.

2019-2020 Senior Year

         51.     A similar scenario played out in the Winter 2020 season. At the indoor Class S

Championship 55m race, Andraya Yearwood—the top seed in the race and the individual ranked

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number one in the state for the women’s 55m dash—false-started and was disqualified. That

false start opened the door for me to not only win the CIAC Class S Championship in the 55m

dash, but also to advance to the 2020 Connecticut State Open Championship in the 55m event

and win.

       52.      To my disappointment, the 2020 Spring outdoor season—the final track season

of my high school career — was cancelled in light of the global COVID-19 pandemic.

       53.      It feels defeating to know that records at my high school, CIAC, AthleticNet,

MySportsResults, CT.Milesplit.com, and others do not reflect the four state titles and two All

New England awards I should have earned. It is upsetting to know that the meet records of many

great female athletes before me have also been wiped from the books.

       54.      Competing against males makes me feel anxious and stressed. And stress has a

negative impact on my athletic performance.

       55.      I try to stay positive, to take support from family and friends, but it is hard when

I know that I must compete against those who have a biological advantage because they were

born male.

       56.      I hope that future female athletes will not have to endure the anxiety, stress, and

performance losses that I have while competing under a policy that allows males to compete in

the female category.



Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

correct.

                                                   ____________________________________
                                                   Chelsea Mitchell
                                                   Dated: April 13, 2022



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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                  CHARLESTON DIVISION

 B.P.J, by her next friend and mother, HEATHER
 JACKSON,
                                               Plaintiff,
        v.
 WEST       VIRGINIA      STATE       BOARD       OF              Case No. 2:21-cv-00316
 EDUCATION, HARRISON COUNTY BOARD OF
 EDUCATION, WEST VIRGINIA SECONDARY
 SCHOOL ACTIVITIES COMMISSION, W.                                 Hon. Joseph R. Goodwin
 CLAYTON BURCH in his official capacity as State
 Superintendent, DORA STUTLER in her official
 capacity as Harrison County Superintendent, and THE
 STATE OF WEST VIRGINIA,
                                             Defendants
        and
 LAINEY ARMISTEAD,
                                 Defendant-Intervenor.


                       DECLARATION OF CHRISTINA MITCHELL

       I, Christina L. Mitchell, under penalty of perjury, declare as follows:

       1.      I am a forty-eight-year-old resident of Canton, Connecticut, in Hartford County,

and have personal knowledge of the information below.

       2.      I am the mother of three female athletes. My daughters are now ages twenty-

three, nineteen, and fifteen and have competed in soccer, basketball, and track. Our family life

has been centered around sports since the girls were just little, spending most nights and nearly

every weekend at the soccer field, in the gym, or at the track.

Family Athletics Background

       3.      I ran track and played basketball in high school. My husband played many sports

and was the star of his high school basketball team. We have a competitive spirit that we have
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passed on to our girls. Whether it’s board games, March Madness brackets, or a pickup game of

soccer in the yard, our family enjoys a good competition.

       4.      My husband volunteered his time as a youth soccer and basketball coach for the

town of Canton for fifteen years. He would race home from his office job to try and make it to

the field or gym in time for practice. Some seasons he coached two of our daughters’ teams,

which meant practice four nights a week and four games each weekend. It was exhausting but he

loved every minute of it.

       5.      I volunteered on the Board for the Canton Youth Soccer Association for eight

years. As registrar, I had to enforce strict age categories for the teams. Kids were allowed to

“play up” on an older team but were never allowed to “play down” on a team for younger kids.

Soccer teams were also separated by sex beginning in first grade. Boys’ teams were designated

as co-ed so that girls who wanted to sign up for the boys’ team could “play up”. Girls' teams

were restricted to females in the registration system.

       6.      When my oldest daughter reached high school, I turned my volunteer efforts to

the Canton Athletic Booster Club. I worked to get a concession stand built and stadium lighting

installed at the high school track and field. In 2017, I was presented with the Dubuc Service to

Canton Award in recognition for my years of volunteer service to the school and community.

       7.      All three of our daughters have excelled at sports. Our oldest daughter, Emily,

was a varsity soccer and track athlete in high school. She was captain of both teams in her senior

year and went on to compete on the women’s track team in college.

       8.      Our youngest daughter, Kennedy, is a sophomore in high school and competes in

soccer and track as well. She plays outside defensive back in soccer and her team made it to the




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state championship this year. She is a long jumper and sprinter in track. She hopes to continue

with one of these sports in college.

       9.      Our middle daughter, Chelsea, has proven herself as an exceptional athlete. Like

her sisters, she had success in both soccer and track in high school. As a little girl on the soccer

field, you could see her natural ability to run – she could come from 20 yards behind and beat

anyone to the ball. When she got to high school, she added a heavy dose of hard work to that

natural gift and made the most of it on the track.

2017 Outdoor Track Season – Freshman year

       10.     In April of 2017, the outdoor season of track and field in Connecticut was just

getting started and Chelsea was ranked among the top sprinters in the state. She was coming off

the indoor season where she set school records in the 55m and 300m at her very first meet.

       11.     There was one other freshman posting times in the top ten, Andraya Yearwood. I

soon learned from an article in the Hartford Courant that Yearwood was a male identifying as

female and running for Cromwell. I was confused by the piece, which seemed to celebrate this,

and found it hard to believe that the schools, coaches, and state officials would allow it to

continue. I saw it as a clear violation of women’s rights under Title IX.

       12.     Chelsea worked hard that season and placed 2nd at the Class S state championship

in all three of her events - the 100m, 200m, and 4x100 relay. The top five in each event advance

to the State Open Championship to compete against the top twenty-five athletes in the state.

Making it to the State Open is a huge accomplishment and Chelsea had qualified in all three

events as a freshman. We were very proud and excited for her.

       13.     I knew that one of the other twenty-five competitors at the State Open would be

Andraya Yearwood. The CIAC had allowed Yearwood to compete at the Class M state



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championships and take the girls’ title in the 100m and 200m races. One of the girls who placed

second, Kate Hall, was interviewed following the race – “I can’t really say what I want to say”.

The silencing of the girls had begun.

          14.   I had shielded Chelsea from much of the news up to this point, but the night

before the race we felt we needed to prepare her for what she would face the next day. I told her

there would be a boy who identified as a girl in her race and that she had to try to focus on

herself and block out the rest. We knew that this would be a blow to her mental game but didn’t

want her to be surprised by it at the start line.

          15.   Chelsea’s first race against a biological male was on a really big stage. The State

Open is held at New Britain stadium, one of the biggest outdoor tracks in Connecticut. It is

always packed with spectators and many college coaches attend to see potential recruits in

action.

          16.   For me, it was my first time watching this unfair policy play out in person. As

someone who has now watched my daughter race against males more than twenty times, I can

attest to how difficult it has been every single time. The girls are forced into a race that they

know is rigged against them. They are told to be quiet and be a good sport. They watch as

officials casually ignore the foundational principle of sport – fair play. They see the media there,

waiting to celebrate the travesty and daring the girls to speak against it. The message to these

girls was very clear – nobody cares about your rights. As a woman it was infuriating and as a

mom it was heartbreaking. I can only imagine what it felt like to be one of the girls in the race.

          17.   The 2017 Outdoor State Open was Chelsea’s first tangible loss to a biological

male. She took 7th place in the finals of the 100m. She missed advancing to the New England

Championship by one spot. Yearwood had placedUG.



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       18.       In a stroke of luck, one of the six automatic qualifiers to New England, Caroline

O’Neil, had to decline her spot. We got the call later that night that as the 7th place finisher,

Chelsea could go and compete. We were so grateful.

       19.       A few days later at the New England Championships, I watched as Yearwood’s

2nd place finish in the 100m again took something tangible from female athletes. Madison Post

from Maine didn’t make the finals. Katya Levasseur from New Hampshire missed the top six

and lost out on the All-New England designation. Kyla Hill from Massachusetts took home a 3rd

place medal instead of silver. The ripple effect of Connecticut’s policy had spread to our

neighboring states.

2018 Indoor Track Season – Sophomore Year

       20.       I hoped that common sense would prevail, and this would work itself out before

the next season. It didn’t. Yearwood took home the 2018 Indoor Class S State Championship

title in the 55m and placed 2nd in the 300m. Chelsea recorded another lost opportunity due to the

policy as she missed advancing to the State Open in the 300m by one spot. Patricia Jurkowski

should have taken home the 55m title and other girls lost opportunities to advance to finals or

score points for their team. With every race, the list of female sprinters impacted by the policy

grew longer. I knew I couldn’t remain silent about it any longer.

       21.       Following the 2018 Indoor State Championships, I began to advocate for a change

in policy. I first spoke to the Assistant Superintendent of Canton Schools, Dr. Jordan Grossman.

I asked if he thought the Board of Education could help, but he advised against taking the issue

to them. Instead, he gave me the name of the CIAC Executive Director so I could follow up with

them directly.




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       22.     I went to work on a letter to the CIAC asking for a solution to protect the rights of

the female athletes in our state. I included the Canton principal, athletic director, coach, and

assistant superintendent on the email. The CIAC replied that they were unwilling to consider

changing the policy and listed various reasons. I addressed each reason with my own points – I

was thorough and respectful – but I received no reply.

2018 Outdoor Track Season – Sophomore Year

       23.     The night before the first big meet of the outdoor season, we realized that a

second male was competing in girls' sprint events. It was hard to believe at first, I remember

thinking that surely this wasn’t really happening. Terry Miller had competed for three seasons on

the boys’ team. Looking at the race results online, it was clear that Miller was an average runner

that hadn’t even qualified to compete at the boys’ state championships just a few weeks earlier.

After switching to the girls’ team, Miller was suddenly ranked first in the state. I reached out to

Chelsea’s coach immediately. It seemed it was true; this was really happening.

       24.     The two male athletes took first and second in the 100m race the next day –

Chelsea finished 3rd. With two males competing, it was clear that the number of lost

opportunities for Chelsea and female sprinters across the state would now be double.

       25.     I again wrote to the Canton athletic director and principal to let them know that

there were now two male athletes competing in girls’ track. I asked them to urge the CIAC to

change the policy before more harm was done but nothing changed.

       26.     Miller swept the sprint events at the Class M championship, taking three state

titles. Yearwood was close behind. Girls were sidelined, missing finals and advancement to the

Open. Anyone who tried to speak out was quickly silenced. Chelsea was thankfully in Class S




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and took home three state titles of her own. But she would again head to the State Open to

compete against males.

       27.     The State Open was a circus. Miller and Yearwood took 1st and 2nd in the 100m.

The media was out in full force, waiting to ask the first female finisher how she felt about taking

3rd place. We were glad Chelsea took 4th and didn’t have to deal with the emotions of being the

one to lose a state title and her banner in the gym. Bridget LaLonde was the unlucky girl this

time. Other girls lost points for their team, medals, and opportunities to advance to the New

England Championship. The list of females impacted was very long at this point.

       28.     There was more of the same at the New England Championship. The top six

athletes from Maine, Vermont, New Hampshire, Massachusetts, Rhode Island, and Connecticut

were there to compete for the title. It was a sunny day at a beautiful track and field facility at the

University of New Hampshire, an incredible experience. But a cloud hung over the event as the

female athletes were again denied a fair race.

       29.     I watched as Miller swept the 100m and 200m races at the New England

championship. Chloe Alfieri, a senior from Massachusetts, took second place in both events.

Miller was interviewed after each win, as is customary for the champion. Chloe missed out on

those titles and that recognition. It was awful to watch.

       30.     Chelsea took 7th place in the 100m. The top six are given the All-New England

designation, so it was another tangible loss that she directly felt. Athletes set goals for

themselves—they don’t expect to achieve the top spot right out of the gate. It is a progression.

Being named All-New England was the goal she had set for the day and she hadn’t reached it

because they allowed a male to compete in her race.




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       31.     Following the New England Championship, I called my state senator, Kevin

Witkos. He urged me to seek help from the school administration, as he did not agree with the

CIAC that Connecticut law required this policy. He felt that if asked by member schools, CIAC

could change the policy and restore fairness for the female athletes.

       32.     I immediately followed up with an email to Canton school officials including

Chelsea’s coach, the athletic director, the principal, the assistant superintendent, and the

superintendent. I asked them to contact the CIAC and urge a change in policy. Nobody

responded to my email.

       33.     At the end of June, Senator Witkos reached out to me and said that he would work

with the Connecticut Speaker of the House to draft a letter to the superintendents of all schools,

but not until after the November elections, five months away. That letter never happened.

       34.     In July, I scheduled an in-person meeting with the principal, Drew DiPippo. I

asked what the process was to formally request a change in CIAC policy. He said he would look

into it and let me know. He noted that there would be a new CIAC Executive Director starting in

August and that perhaps the policy would be revisited. I never heard back from him on the

process to request a change.

       35.     During the fall, we learned that Terry Miller had transferred to a Class S school.

Chelsea cried as I drove her home from soccer that night. She knew that meant she would now

face males not just at the State Open, but at the Class S championship as well. In her mind, it

meant she would never win another state championship race.

2019 Indoor Track Season – Junior Year

       36.     A few weeks before the state championships arrived, I drafted another letter to

CIAC Executive Director, Glenn Lungarini, to again ask for fairness for female athletes and a



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change in policy. The CIAC responded that they would not consider my request for a rule change

because I was just a parent. I soon learned there was a new “gender committee” commissioned

by the CIAC that would make a recommendation in the summer. It was an endless game of

shifting responsibility and delaying any meaningful discussion.

       37.     As the championships drew near, I dreaded what was to come. I had watched

many other girls lose the state title they deserved. This time it was Chelsea’s turn. As a junior,

she was stronger, more experienced, and her times had improved significantly. She was the

fastest female in the 55m at both the Class S championship and the State Open. But Miller went

home with both of those titles. Jillian Mars was the fastest female in the 300m – she too was

robbed of her titles. And, of course, more girls lost the chance to advance to finals, or the Open,

or the New England Championship. Female athletes lost out on podium spots and medals and

points for their team. Chelsea lost out on another All-New England designation after finishing 8th

at the championship in Boston.

       38.     The list of girls who had been directly harmed was pages long by now, but the

CIAC did not care. They showed so little regard for the rights of the female track athletes in our

state it was staggering. The coaches and administrators remained silent, no doubt fearful for their

jobs. But there was one girl who was not afraid to speak up, Selina Soule. We watched her

bravely tell her story on national television one night and knowing that we weren’t alone in our

fight made all the difference.

       39.     I asked my principal to schedule time for me to meet with CIAC director, Glenn

Lungarini. As we sat in the principal’s office at Canton High School and I shared the list of the

girls who had been directly harmed by the policy, it became clear that they had no intention of

changing anything. I expressed my concerns that the CIAC policy was violating the rights of my



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daughter and the other female athletes under Title IX. Mr. Lungarini’s response was that my

daughter had only the right to participate, not to win.

       40.     The CIAC director was not interested in alternative solutions or fairness for

females. He did not seem at all bothered that the CIAC’s unwillingness to address the issue had

placed all of these kids directly in the center of a highly controversial international political

debate. He tossed about slogans like “transwomen are women” and his arguments lacked any

logical consistency or regard for the rights of females. I left feeling angry but resolved to

advocate for Chelsea and all of the girls being harmed.

       41.     Following that meeting, I asked to meet with our school’s Title IX coordinator,

Lori Devito. I called the State of Connecticut’s Title IX Coordinator, Dr. Adrian Wood, to

discuss my options for filing a Title IX complaint. I spoke with an attorney, Robin Cecere, at the

Connecticut Department of Education. I called the Office of Civil Rights for the U.S.

Department of Education in Boston. Multiple times I was told by these government officials that

girls have the right to participate, not to win. I began to believe it must be part of the talking

points being circulated on this issue or in some presentation somewhere. It certainly didn’t stem

from any regulation or case law on Title IX that I had found.

       42.     I contacted the Canton Board of Education and the topic was added to the agenda

for their next meeting. I was given three minutes to speak about something that had been

impacting us for two years. I followed up with more emails to the Board of Education but would

seldom get a reply. The one-way dialogue was not an effective means of discussion.

       43.     I continued to send research papers and information to Glenn Lungarini at the

CIAC. He abruptly notified me that he would no longer receive my emails because I was just a

parent. Everything would have to come from a member school. I went back to the Board of



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Education and asked them to contact the CIAC to request a public forum be held so that parents

could bring their concerns forward. Canton Superintendent, Kevin Case, assured me he would

ask for one, but it never happened.

       44.     I emailed my state representative, Leslee Hill, and my state senator, Kevin

Witkos. I contacted two female coaches from the Connecticut High School Coaches Association

(CHSCA) to ask for their help requesting a rule change. In all of these cases, I explained the

devastating impact this was having on female athletes in our state. And yet, at the end of the day,

not a single person would help us get the policy changed.

2019 Outdoor Track Season – Junior Year

       45.     The Outdoor season added more names to the list of girls impacted by the policy.

It was Chelsea’s fifth season competing against males. My efforts to convince school and state

officials to fix the policy had failed. I felt sure that nobody was going to take steps to change

things unless their hand was forced.

       46.     The state championships should have been an exciting day, but I dreaded

watching the injustice play out again. I understood how demoralizing and disrespectful it was to

these girls and felt sickened by the whole thing. Chelsea lost the Class S championship in the

100m and 200m to Miller– her tally was now at four state titles lost to biological males. She

headed to the State Open expecting more of the same.

       47.     It was her third year in a row competing against males in the 100m at the State

Open. None of us were looking forward to watching males break the female records, take home

the title, and give their post-race interviews. This year would be different though.

       48.      In what I often describe as a gift from above, there was a false-start in the 100m

by Miller. Chelsea saw the playing field leveled a bit, and she was going to make the most of it.



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Her win in the 100m that day was extraordinary for so many reasons and I will be forever

grateful she had that moment. What unfolded at that stadium was emotional not just for us, but

many in the crowd. We had so many strangers come up and hug her and tell us how happy they

were for her. She ran a time that is still her personal best, even three years later.

        49.     Other awards and opportunities flowed from her success that day, and I often

think of how sad it would have been if that false start hadn’t happened and she had never had

those experiences. It shouldn’t need to be said, but girls shouldn’t have to hope for a false start to

get their chance at fair competition.

        50.     I continued to pursue opportunities to advocate for the girls. I had a meeting with

Connecticut Deputy Attorney General Peggy Chapple and three other members of the AG’s

office. I met with Governor Lamont’s General Counsel, Bob Clark. I spoke with several state

lawmakers and asked them to pass legislation. I wrote letters to my U.S. Representative, Jahana

Hayes, and my U.S. Senator, Richard Blumenthal. And while some were sympathetic to our

position, they were unwilling to do anything to help.

        51.     I also looked for support from well-known feminist organizations such as

Women’s Sports Foundation, National Women’s Law Center, and National Organization of

Women. It was just unbelievable to learn that these organizations did not support our advocacy

for fairness in women’s sports. They issued statements to publicly say so. They completely

ignored the impact it was having on our female athletes and seemed shockingly uneducated

about the harm that will flow from eliminating sex-based rights in law. Thankfully, many other

women’s organizations are taking their place and stand with us in this fight.




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2020 Indoor Track Season – Senior Year

       52.         After years of asking school, state, and federal officials for help, we did what we

felt was our last resort. Two days before what would end up being Chelsea’s final state

championships, we filed a federal lawsuit. Chelsea was taking a public stand for herself and

other female athletes. We hoped that this might finally make a difference and that what she went

through wouldn’t have to happen to anyone else. It took a great deal of courage, and I was very

proud of her.

       53.         Since then, many more people are aware of her story. We have submitted

testimony on both state and federal legislation. Several states have successfully passed laws to

protect female sports and many more are now debating the issue. She has bravely given

interviews and told her story in national publications. There was a time when she was afraid to

speak out, and I was afraid for her future if she did. But we are no longer afraid.

       54.         We will continue to fight for policy and laws to be based on facts about science

and biology, not ideology. We will exercise our right to speak out on issues that affect us without

fear. We hope that in the end, the sex-based rights of females will be acknowledged and

respected and fairness will be restored in our sports.



       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.   


                                                     ____________________________________

                                                     Christina Mitchell

                                                     Dated: $SULO




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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                 CHARLESTON DIVISION

 B.P.J, by her next friend and mother, HEATHER
 JACKSON,
                                              Plaintiff,
        v.
 WEST       VIRGINIA      STATE       BOARD       OF            Case No. 2:21-cv-00316
 EDUCATION, HARRISON COUNTY BOARD OF
 EDUCATION, WEST VIRGINIA SECONDARY
 SCHOOL ACTIVITIES COMMISSION, W.                               Hon. Joseph R. Goodwin
 CLAYTON BURCH in his official capacity as State
 Superintendent, DORA STUTLER in her official
 capacity as Harrison County Superintendent, and THE
 STATE OF WEST VIRGINIA,
                                           Defendants
        and
 LAINEY ARMISTEAD,
                                Defendant-Intervenor.

                           DECLARATION OF ALANNA SMITH

I, Alanna Smith, declare as follows:

       1.      I am an eighteen-year-old senior at Danbury High School in Danbury,

Connecticut.

       2.      Though I am an elite female track athlete, I have personally experienced the

devasting impact of competing against—and losing to—male athletes in my sport.

       3.      Though I only competed against these athletes during my freshman year of high

school, they still impacted my placements, public recognition, medals, records, and how I

physically and mentally prepared for competition.




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Athletic Background

        4.      I was born into a family of athletes. My dad is a Major League Baseball Hall of

Fame relief pitcher. My mom ran track in high school and still runs recreationally. One maternal

uncle played professional football. Another played professional baseball. My twin brother is a

three-sport athlete.

        5.      Sports was a big part of my world from a very young age, as I attended my dad’s

MLB games and events and ran with my mom. Having a twin brother who is naturally athletic

helped instill a competitive drive in me, because as a little girl I loved to beat him in foot races at

every opportunity.

        6.      The sports legacy that surrounds me was not something I consciously thought

about—it just became a part of who I am. And without thinking about it too seriously, I knew I

had the potential to excel athletically.

        7.      It wasn’t until I started running with mom and developing endurance and strength

that I considered competitively running track. So, in middle school, mom enrolled me in the local

middle school track program. Between 2015 and 2018, I tried shot put, the long jump, the 55-

meter dash, the 100-meter, 200-meter, 400-meter, and 800-meter races.

        8.      As I tried different track and field competitions, I realized that I enjoyed and

excelled at running shorter distances. That’s when I knew I wanted to concentrate on the 100-

meter, 200-meter, and 400-meter distances. I wanted to run and get it over with!

        9.      During middle school, I became a three-peat 100-meter Connecticut State

Champion. In eighth grade, I was also the 400-meter state champion.




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        10.    My freshman year of high school I was a varsity cheerleader in the fall and winter

and made it to the 2019 Connecticut High School Coaches Association All-State cheerleading

team.

        11.    After cheerleading finished, I started outdoor track in the spring of 2019. I was

nervous. The first few practices were hard. I felt that my teammates had high expectations based

on my middle school track performance. And it didn’t help that the first few track meets were

outside in cold or rainy weather, courtesy of New England.

        12.    But I won. And it felt amazing. I had proven to myself, the coaches, and my

teammates that I could be a contributor to a winning season.

        13.    As my freshman season played out, I set personal, conference, state and regional

facility records; improved my personal strength and technique; and accomplished personal goals.

I contributed to the Danbury High School sweeping the 2019 outdoor FCIAC, Class LL, State

Open, and New England Regional Championship competitions, and received numerous honors

such as The Ruden Report Player of the Week, The Ruden Report Player of the Year, the 2019

All-FCIAC First Team in the 100-meter, 200-meter, 400-meter, 2019 CHSCA All-State Girls’

Outdoor Track, and was a recognizable component of the 2019 CHSCA Connecticut Team of the

Year award.

        14.    Excelling on the track and setting personal records gives me a sense of personal

achievement and confidence that carries over into all parts of my life. I love training, I love

competing. Competing against girls like myself who work hard is rewarding. I compete to be the

best, to be the fastest, to be a champion.




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Competition Against Males

         15.    In spite of my focused, diligent practice and training, my success on the track has

been limited by biological males competing in the girl’s high school track in Connecticut.

         16.    I first competed against a male at the New York Relays in April 2019. My team

was invited to attend, along with teams from approximately seventeen other states. I knew going

in that there would be a male athlete named Terry Miller from another Connecticut school in my

race, and I was upset. I knew I wouldn’t win, and I knew we girls were competing for second

place and beyond. As expected, Terry won the 100-meter dash. I placed fourth. Had Terry not

competed in that race I would have been recognized as third place.

         17.    I learned later that Terry had competed for three seasons in Connecticut boys’

high school track before switching to girls’ track.

         18.    Later that season, I found out I would be racing against Terry Miller and a second

male athlete, Andraya Yearwood, in the 100-meter dash at the 2019 Connecticut State Open that.

         19.    After learning this news, I thought “I don’t stand a chance to win.” I felt defeated

before I even got set in my blocks. Terry was in the lane next to me in the 100-meter finals, and I

assumed going in that Terry would win. Terry was disqualified from the race due to a false start.

I felt badly for Terry as an athlete, but I could tell the rest of us girls were a bit relieved that the

race would now be a little more fair.

         20.    Also at the 2019 Connecticut State Open, I raced Terry Miller in the women’s

200-meter dash. Terry placed first. Because of a male in my race, I was pushed from second

place to third place.

         21.    Thus, at the 2019 State Open, I had one fair race: the 400-meter dash. I won that

event.



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       22.       From the State Open Championship, I advanced to the New England Regional

Championship meet, which is quite an accomplishment for any athlete, but especially a

freshman.

       23.       I won the 400-meter title at the New England Regional Championships. It was

exhilarating, not only because I won, but because my race was free of male athletes. It was a

level playing field.

       24.       The 200-meter dash was a different story. I would have also been runner-up in the

200-meter and received a silver medal and earned my team more overall points, but Terry Miller

placed first and pushed me down in the rankings to third. Third place is nothing to be ashamed of

if it is won fair-and-square, but my race was anything but fair.

       25.       My story is not unique. Girls across Connecticut have experienced similar

displacement, loss of recognition, and even championship title losses solely because my state

allowed two biological males to compete against biological females. Between 2017-2020, these

two male competitors won 15 women’s state championship titles and set 17 new meet records in

track and field. These statistics are in the back of my mind no matter how hard I train and how

well I perform

       26.       Even though the males have graduated now and are no longer competing against

us girls in Connecticut, we still feel the effects of their participation. For example, in the 2022

Connecticut indoor track and field season—long after Terry Miller and Andraya Yearwood

graduated—I ran a 6:96 time in the 55m dash. This would have set a new Connecticut girls’ state

record. But back in 2019, Terry Miller set a record of 6.95 in the 55m dash, eclipsing my best

time. If not for Terry competing in the girls’ category three years ago, I would have been




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recognized for my accomplishment—setting a new record for female athletes in my state.

Fairness in Women’s Sports

       27.     It has taken me years to develop the personal confidence and sense of belonging I

now feel on my track team. The addition of males to girls’ sports fills me with a sense of defeat

before I even set up in the blocks. I deserve the opportunity to be confident, to be running against

girls who have the same biological makeup that I do.

       28.     The addition of males in girls’ sports is frustrating and disappointing to me. So

often I go to the blocks and know that I am the fastest girl on the line. But I also know that my

best effort will not be enough when I’m faced with a competitor who is bigger, faster, and

stronger than me simply because he was born male.

       29.     I want to make sure that female athletes of today and tomorrow do not have to

face the same sense of defeat, disappointment, and lack of support that I have felt. So many girls

across my state believe the situation is unfair but are afraid to stand up and speak out for fear of

retaliation from coaches, schools, the media, and strangers.

       30.     I am proud of all female athletes who stay strong and do their very best when

rules and laws put unfair challenges in their way. I am proud to be a voice for female athletes

who are surrounded by unfairness in their sport.


Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

correct.

                                                       _____________________________
                                                       ___________________________________
                                                       Alanna Smith
                                                       Dated: 




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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                  CHARLESTON DIVISION

 B.P.J, by her next friend and mother, HEATHER
 JACKSON,
                                               Plaintiff,
        v.
 WEST       VIRGINIA      STATE       BOARD       OF             Case No. 2:21-cv-00316
 EDUCATION, HARRISON COUNTY BOARD OF
 EDUCATION, WEST VIRGINIA SECONDARY
 SCHOOL ACTIVITIES COMMISSION, W.                                Hon. Joseph R. Goodwin
 CLAYTON BURCH in his official capacity as State
 Superintendent, DORA STUTLER in her official
 capacity as Harrison County Superintendent, and THE
 STATE OF WEST VIRGINIA,
                                             Defendants
        and
 LAINEY ARMISTEAD,
                                 Defendant-Intervenor.


                            DECLARATION OF SELINA SOULE

I, Selina Soule, under penalty of perjury, declare as follows:

       1.      I am a nineteen-year-old resident of Boca Raton, Florida, in Palm Beach County

and have personal knowledge of the information below.

       2.      I am a sophomore and female athlete at Florida Atlantic University (FAU) in

Boca Raton, Florida. Competing in track and field is my passion.

Athletics Background

       3.      Sports are a huge part of my family. Both of my parents were multi-sport athletes.

My dad competed in track, cross-country, baseball, and football. My mom was a competitive

runner and figure skater, and now coaches figure skating.
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        4.        My mom first coaxed me onto the ice rink at Rockefeller Center when I was just

three years old. At age five, I started taking figure skating lessons. During elementary school, I

began entering figure skating competitions—something I continued through my sophomore year

of high school.

        5.        Figure skating was something my mom and I did together. We spent a lot of time

on the ice, as she not only helped me learn to skate but even skated with me at times. By age

thirteen, I was a volunteer figure skating coach helper, which turned into a paid coaching

position at age fifteen. I continued coaching figure skating until I moved away for college.

        6.        The axel jump—a figure skating showstopper!—is my favorite figure skating

element. Figure skating is not only a beautiful, graceful sport, but it is athletic too. It requires

strength, speed, balance, and skill to execute those jumps and spins.

        7.        But I remember one thing very distinctively about figure skating: I did not like the

scoring. Scoring was subjective; it was harder to clearly measure my achievements. (This is one

reason I love track. My race times clearly show how fast I run so scoring is objective, not based

on the subjective opinion of an individual judge.)

        8.        My mom introduced me to running when I was just five years old. I began

running in our community’s summer mile-long “fun runs” with my mom. Even at that young

age, I knew two things with certainty: I loved to run, and I hated running long distances!

        9.        When I was around eight years old, my mom signed me up for my first Hershey

Track and Field meet that was held in our town in the spring. It was the first time I set foot on a

track—and I loved it. I realized that I was fast, and that I enjoyed competing to win. Running

became my passion. And I enjoyed some success in the Hershey events as I competed there in



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third through sixth grade. For example, I qualified twice for state level meets. In sixth grade, I

won all three of my events.

       10.     After the Hershey events, I competed in the Nutmeg State games, the largest

amateur multi-sport sporting event in my home state of Connecticut. These meets were ones my

mom and I could do together. My favorite memory of the Nutmeg games was that my mom

taught me how to long jump just a couple weeks before my first competition. And I went on to

win the long jump that year for my age category.

       11.     But my freshman year at Glastonbury High School in Connecticut was my first

school opportunity to compete in track and field. It was my first time on a school team with

organized team practices and workouts—and I loved it.

       12.     Track and field competitions involve a variety of races and events. In track there

are sprints, middle distance races, long-distance races, relay races, and hurdle races. And field

events include long jump, triple jump, high jump, pole vault, shot put, discus throw, javelin

throw, and hammer throw.

       13.     I am a short-distance sprinter and long-jumper. During high school, I competed in

the 55-meter dash, 100-meter dash, 200-meter dash, the 4x200 and 4x100-meter relays, and the

long jump. I also ran the 300-meter dash a handful of times.

       14.     When I joined my high school track team in my freshman year, I quickly became

the school’s best long jumper. And after only a few competitions, I became the permanent starter

for the 4x200-meter relay.

       15.     I am proud of my high school athletic accomplishments. I was a ten-time All-

Conference Honoree recipient, a five-time state title holder, three-time All New England award



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recipient, a four-time National qualifier, and set five new Glastonbury high school records

(including one that was previously set in 1976).

        16.     Track means everything to me. It is my passion and my happy place. When I run,

I set aside everything else in life and just run.

Facing Male Competition in Girls’ Track

        17.     But my high school track and field experience was not without frustration. During

all four years of high school, I had the deflating experience of competing against male athletes in

the girls’ category.

        18.     The first time I competed against a male athlete in the girls’ category was during

my freshman year of high school at the May 2017 Middletown Invitational in the 200-meter

dash. The gun went off at the start of the race, the male athlete left most of us girls in the dust. I

knew immediately that this was not right and that girls would miss opportunities to succeed. Just

days later, that same male went on to win the 2017 Connecticut Interscholastic Athletic

Conference (CIAC) Class M Women’s outdoor track championship in both the 100-meter and

the 200-meter sprints.

        19.     The losses happened again and again. During my sophomore year, another male

athlete joined girls’ track and I had to face two male competitors at the 3rd Greater Bristol

outdoor track and field invite in the 200-meter dash. The males took first and second; I crossed

the finish line third. Had the males not been competing in the girls’ category, I would have won

that race.

        20.     These two males, Terry Miller and Andraya Yearwood, impacted my placement

at statewide championship meets. At the 2018 CIAC State Open Championship in the Women’s

Outdoor 100-meter dash, the males again took first and second. Because of their participation in
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the women’s category, I was bumped down to sixth place when I should have earned fourth

place.

         21.    But one of my more painful memories of loss involved the 2019 Connecticut

State Open Championship. I missed qualifying for the state championship 55-meter final by just

one spot, and the chance to qualify for the New England Regional championship by just two

spots. The top two spots were taken by males. If not for those two male competitors in my race, I

would have had the opportunity to compete in the championship final and for a coveted spot at

the New England Regional championship.

         22.    While I was in high school, these two males collectively won 15 Connecticut

women’s state championship titles in girls’ high school track and field and set 17 new individual

meet records.

         23.    It is demoralizing and frustrating to compete against someone who has unfair

physical advantages over you, because no matter how hard I train or how hard I try, there is

nothing I can do to overcome that disparity. We girls train to win; not to win second place or

receive a participation trophy. Some girls I know were so demoralized by the experience of

losing to males that they abandoned certain track events and changed sporting events entirely.

Other times coaches tried to convince girls to change their events just so the girls would have a

chance to succeed.

         24.    Because of male competition, I have lost opportunities to compete at world class

tracks. I have lost opportunities to compete in front of college coaches and scouts. I have lost

opportunities to win titles and public recognition of my achievements. I have lost opportunities

to win recognition and event points for my school.



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       25.     And the heartbreaking thing is that my story is not unique. Many other girls

across the state of Connecticut lost out on similar opportunities.

       26.     It felt so unfair. I knew I had to stand up. My parents and I reached out to school

administrators and coaches. We reached out to CIAC officials to ask for a policy change. But no

one would listen to us. Instead, they silenced us.

       27.     My parents and I were left with no other option but to file a federal lawsuit to

protect the integrity of women’s sports under Title IX. It was a huge step, a scary step. But

someone needed to speak out for girls in Connecticut. That lawsuit is still ongoing.

Competing in Women’s Collegiate Athletics

       28.     It was my dream to run track in college. Despite the unfairness of my high school

track experience, I hoped to put that experience behind me and have a fresh start and level

playing field in college.

       29.     After visiting several colleges, I decided to attend the College of Charleston in

South Carolina. I attended the College of Charleston in 2020-21 for my freshman year. However,

it was a tough school year with COVID and at the end of the year, I re-visited my options.

       30.     I received an offer to run for Florida Atlantic University, and I immediately knew

that was the right fit for me. My dream has always been to attend college and run in Florida, and

I finally have the opportunity to fulfill that goal. And I had always hoped to end up somewhere

warm with lots of sunshine, so competing in Florida was a dream come true.

       31.     FAU has a NCAA Division I track and field team and competes in the East

Division of Conference USA.

       32.     Being part of the team is quite an honor. And there are many additional side

benefits to being a collegiate athlete: access to top-tier coaching, facilities, and equipment;
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consultation with nutritionists and dieticians; paid travel to games, academic support services;

medical and wellness care; access to psychologists; access to the NCAA Student Assistance

Fund; team gear and apparel; and the opportunity to make money on my own name, image, and

likeness.

       33.     For example, the Florida Panthers, a professional ice hockey team, recently

announced that they were sponsoring FAU female athletes and giving us an opportunity to

partner with them. I do not yet know all that will entail, but we receive tickets to home games,

team apparel, the opportunity to partner with their brand. As athletes, we also have the

opportunity to make money on our name, image, and likeness by appearing in ad campaigns for

brands like Nike and Adidas.

       34.     At the end of the 2021-22 academic year, I will still have four more years of

NCAA eligibility due to COVID.

       35.     My teammates and I train hard to win. We weightlift, complete running drills, and

run sprints time and time again. It takes incredible work and dedication to win a race determined

by hundredths of a second. I have trained much of my life striving to shave mere fractions of

seconds off my race times.

       36.     I had to make many sacrifices over the course of my athletic career to play the

sport I love. I have missed school dances and spring breaks, family events and holiday trips, and

friends’ birthdays and vacations. I have given up weekends and free time. I stayed late after

school for practice. And the commitment to track has only increased during my time spent

training in college.




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         37.   But I make these sacrifices because I want to be the best that I can be. I want to

win—not just for myself, but also for my teammates. And the motivation to win is what compels

me to train as hard as I can.

         38.   I love my sport. I get on the track and I can let everything in my life go and I can

be free to focus on running. It’s exhilarating to see all the training and hard work pay off on the

track.

         39.   But track has taught me more than just how to run fast down the track. I have also

learned life skills. It has taught me physical and mental toughness. I have learned perseverance

and good sportsmanship. I have learned that hard work pays off. And that making sacrifices to

excel at something reaps future benefits. It opened new financial opportunities, personal

development opportunities, and even academic opportunities. And it has given me something to

strive for.

         40.   I am currently majoring in criminal justice with the goal of being a lawyer. But I

always have my eyes on the track, and I would love to go pro after college if the right door

opens.

Fairness in Women’s Sports

         41.   When I heard that Florida’s legislature passed the Fairness in Women’s Sports

Act in late April 2021 to protect the integrity of women’s sports, I enthusiastically supported it.

         42.   In fact, it was my incredible honor to be invited to attend the bill signing

ceremony in early June 2021 because my own personal story had played such a role in

motivating lawmakers to pass a bill protecting Florida’s female athletes. Little did I know at the

time that Florida’s Fairness in Women’s Sports Act would later protect me, too, as I start

competing for a public university women’s team in Florida.
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        43.    When that law was later challenged in federal court, I decided to speak up for

girls who are afraid of retaliation from the media, school officials, and coaches and filed a

motion to intervene in the lawsuit. I fear that too many women feel pressured to remain silent

about their real views. And if someone does not speak up for women, I fear that we could see the

end of women’s sports. There will be boys’ sports and co-ed sports. But women’s sports as we

know it will be gone.

        44.    I know from my own past experience in high school that males competing in

women’s sports takes away opportunities from women—whether that is a spot on the team, a

spot on the podium, an athletic scholarship, the ability to benefit from her likeness, or

recognition and awards—and it defies the entire purpose of having separate women’s sports.

        45.    Woman have fought hard for many years to have equal athletic opportunities. I

want to make sure that girls in the future can continue to compete in the sports they love. If girls

do not have equal opportunities, I fear they may choose not to be involved in sports at all if they

feel they cannot win or possibly even get physically hurt competing against a stronger, faster

male.

        46.    I believe that ensuring an equal playing field for women to be champions in their

own sport is a women’s rights issue. But this isn’t just about fair play and winning for me. I want

to protect the fairness and safety of women’s sports for female athletes everywhere. I want to

ensure that future generations of women have access to the same equal athletic opportunities that

shaped me and my love of sports.




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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                   CHARLESTON DIVISION

 B.P.J, by her next friend and mother, HEATHER
 JACKSON,
                                                Plaintiff,
           v.
 WEST       VIRGINIA      STATE       BOARD       OF               Case No. 2:21-cv-00316
 EDUCATION, HARRISON COUNTY BOARD OF
 EDUCATION, WEST VIRGINIA SECONDARY
 SCHOOL ACTIVITIES COMMISSION, W.                                 Hon. Joseph R. Goodwin
 CLAYTON BURCH in his official capacity as State
 Superintendent, DORA STUTLER in her official
 capacity as Harrison County Superintendent, and THE
 STATE OF WEST VIRGINIA,
                                              Defendants
           and
 LAINEY ARMISTEAD,
                                  Defendant-Intervenor.

                            DECLARATION OF DARCY ASCHOFF

       1.        I am a 2 year resident of Lehi, Utah, and have personal knowledge of the

information below.

       2.        As a former collegiate athlete, high school varsity volleyball coach, and mother of

two competitive high school volleyball players, I have observed the mental and psychological

toll on female athletes of being forced to compete against a male.

Athletic Background

       3.        Volleyball runs in my family. My mom played as a youth, I competed in college,

and now my daughters are star high school volleyball athletes with dreams of competing in

college.




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       4.      I began playing competitive volleyball as a freshman at Delta High School as a

middle blocker. During my senior year, my volleyball team won the 1995 Utah State

Championship, and I was awarded MVP (most valuable player) for our team.

       5.      Throughout my sophomore, junior, and senior years of high school, I also played

club volleyball.

       6.      I was recruited and given a scholarship to play varsity volleyball at Dixie State

College (now Dixie State University), an NCAA Division I school. From 1996 to 1997, I played

for Dixie State College.

       7.      After my sophomore year of college, I transferred to Hawaii Pacific University,

an NCAA Division II school, where I was also offered a volleyball scholarship. From 1998 to

1999 during my junior and senior years of college, I played volleyball for Hawaii Pacific

University.

       8.      In 1998, during my junior year of college, my Hawaii Pacific volleyball team won

the NCAA Division II Nationals Championship. This was the highlight of my volleyball career.

       9.      In 2016, my entire Hawaii Pacific University volleyball team was inducted into

Hawaii Pacific’s Hall of Fame to honor our 1998 Nationals Championship.

       10.     I continued to play volleyball recreationally after college. My two daughters, Ajah

and Jahslyn, have said that one of their earliest memories is watching me play recreational

volleyball at a park across the street from our home. I would bring my daughters with me, and

Ajah would beg whoever was on the sidelines not playing volleyball to pass the ball with her.

       11.     Both of my daughters went to volleyball summer camp at young ages, and

eventually began competing in school and club volleyball.

       12.     As my girls reached high school, I started coaching their school and club teams.



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        13.    In 2015, I coached Lanakila club volleyball for the 14 and under team, and in

2016 I coached Lanakila club volleyball for the 12 and under team, respectively.

        14.    From 2018 to 2020, I also coached girl’s Hawaiian Style Volleyball, a

competitive club volleyball team on Maui. In the 2018-2019 season, I coached the girls’ 14 and

under team, and in the 2019-2020 season I coached the girls’ 16 and under team.

        15.    I served as assistant girls’ varsity volleyball coach at Maui High School during

the 2018 and 2019 seasons. Maui High School competes in the Maui Interscholastic League of

the Hawaii High School Athletic Association.

My Daughters’ Experience Competing Against a Male Athlete

        16.    The 2019-2020 volleyball season was my girls’ final volleyball season at Maui

High on our beloved island of Maui. Ajah was a sophomore and a team captain, and Jahslyn was

a freshman. The Maui High team was a young team in a building season.

        17.    Ajah and Jahslyn worked so hard to develop their volleyball skills to become their

best. They attended summer camps, participated in daily practice during high school season, and

then continued to play volleyball year-round with highly competitive national club teams. These

teams travel nationally and practice 2-3 times per week.

        18.    But despite my daughters’ hard work, the 2019-2020 varsity girls’ volleyball

season was unusually tough: they were forced to face a male athlete on another team.

        19.    Both of my daughters knew this athlete, Jhene Saribay, from summer volleyball

camps because training is co-ed. From what I learned, this male competed on the Kamehameha

boys’ volleyball team for several years, and only recently switched to competing on the girls’

team.




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        20.     My daughters heard rumors from other girls on the Maui High team that this male

athlete was planning to play on the Kamehameha High girls’ varsity volleyball team, but at first

they didn’t believe it.

        21.     I first heard about the situation from the Maui High head coach. Initially I thought

it was a joke: this could not be happening. But it was. And our coach’s hands were tied—the

Maui High athletic director made clear that our head coach could not make waves about this

situation, or he would lose his job. Other parents at Maui High were upset but were not willing to

act.

        22.     My daughters competed against this athlete 3 times and their volleyball team lost

every match.

        23.     Based on my observations as a mother and assistant coach at my daughters’

volleyball games, this male athlete dominated Maui varsity girls’ volleyball in the 2019-2020

season. He dominated playing time. He jumped higher. He spiked the ball harder and faster and

further. From my perspective, he was one of the best hitters on Maui, despite his average stature.

        24.     The girls, on the other hand, were nervous and intimidated by the male on the

other side of the net. They seemed mentally defeated before stepping onto the court. They would

often “duck and cover” or assume a defensive position rather than prepare to respond to his

spikes. My daughters said they were afraid of getting hurt. My daughters’ teammates told us that

they felt demoralized. Some wondered why they should even bother playing in matches against

Kamehameha that season, because they knew the male athlete’s team would beat them.

        25.     Volleyball is a very physical sport. And a male competing in girls’ volleyball is a

safety issue. I’m concerned that one of my daughters could be hurt, or that a male could take

away their scholarship opportunities to compete in college.



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       26.     Both of my daughters love the friendships they built through volleyball, as well as

the comradery and competitive nature of the sport. They grew stronger and more powerful in

hitting and jumping. They gained self-confidence and poise. I am proud of their hard work and

drive to be the best they can be at their sport. Volleyball is all about testing your limits—how

high you can jump, fast you can run, hard you can swing—and knowing that males have an

advantage makes it hard for girls to compete.



Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

correct.

                                                 ____________________________________
                                                  _______________________________
                                                 Darcy Aschoff

                                                 Dated:




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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                  CHARLESTON DIVISION

 B.P.J, by her next friend and mother, HEATHER
 JACKSON,
                                               Plaintiff,
          v.
 WEST       VIRGINIA      STATE       BOARD       OF             Case No. 2:21-cv-00316
 EDUCATION, HARRISON COUNTY BOARD OF
 EDUCATION, WEST VIRGINIA SECONDARY
 SCHOOL ACTIVITIES COMMISSION, W.                                Hon. Joseph R. Goodwin
 CLAYTON BURCH in his official capacity as State
 Superintendent, DORA STUTLER in her official
 capacity as Harrison County Superintendent, and THE
 STATE OF WEST VIRGINIA,
                                            Defendants
          and
 LAINEY ARMISTEAD,
                                 Defendant-Intervenor.

                      DECLARATION OF CYNTHIA MONTELEONE

I, Cynthia Monteleone under penalty of perjury, declare as follows:

         1.     I am a forty-six-year-old resident of Lahaina, Maui County, Hawaii, and have

personal knowledge of the information below.

         2.     I am a mother, a coach, and track and field athlete for Team USA. Both my

daughter and I have had the frustrating experience of competing against a male athlete in our

sport.

My Competition Against a Male Athlete

         3.     In September 2018, I competed at the World Masters Athletics Championships in

Malaga, Spain. I was eager to put my hard work to the test. And it paid off: I took bronze in the

W40 400, along with USA golds in the 4x100 and 4x400.


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        4.     But I was shocked to find out that one of my competitors was a biological male

from Colombia who had just recently started identifying as female. The athlete had a much larger

build than any of the female athletes.

        5.     I began to ask questions as to the fairness of this issue. The European officials

stopped the track meet, conferred, and decided that the race had to continue and urged me to file

a complaint with the Team USA managers.

        6.     Not only did the Team USA managers refuse to file a complaint or inquiry, they

warned that for my own safety, I should not speak up about this issue.

        7.     My freedom of speech is important to me. I will not be silenced. I continue to

defy this directive and speak up because I see firsthand the harm being done to my fellow female

athletes.

        8.     This is not about being a sore loser—I beat the male athlete by just a few tenths of

a second. This is about fairplay for all women. The same male athlete just a year later beat my

USA teammate in the hurdles for a place on the podium at the 2019 World Masters Athletics

Championships in Poland.

        9.     I see the psychological and emotional heartbreak of women. After training so hard

to be the best that they can be at their sport, and spending so much time away from their families,

they are devasted to see that sacrifice wasted because they were beaten by a biological advantage

that no amount of training or sacrifice can overcome.

        10.    Many of the girls I coach suffer from anxiety over having to compete against male

athletes. We all know the powerful scientific neurotransmitter connection between our minds and

our bodies: When you think you can win, you have a better chance of doing it. It’s proven.




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        11.     Science and common sense tell us that male and female bodies are different. No

amount of testosterone suppression can change the amount of myonuclei in a male body, making

it easier at any point in their life to build more muscle than the female sex. Not only that these

cellular level advantages dictate that male bodies will be more powerful with faster twitch fibers

than those of the female sex.

        12.     Women are not just hormones. Our athletic performance is impacted by our cycle,

birth control, and pregnancy—something no male who identifies as female has to address.

        13.     As a masters athlete, I am especially concerned because female hearts shrink as

we age, while the male hearts enlarge, all of this despite any “hormone treatment.”

My Daughter’s Competition Against a Male Athlete

        14.     But it was not just on the world stage that I experienced the demoralizing trend of

males displacing females in their own competitions; it was also on my home island of Maui,

Hawaii.

        15.     A year and a half after my experience in Spain, my daughter, Margaret, lined up

for her very first high school track meet. I had watched proudly as my strong and determined girl

did all the right things – made personal, difficult sacrifices to train her body to be as fast and fit

as possible for her first race.

        16.     Yet all her hard work seemed for naught as she raced against a male-bodied

athlete who had just transferred from the boys’ volleyball team to the girls’ team the season

before. The athlete breezed right by Margaret to win first place, pushing her into second place.

        17.     My daughter lost her very first race to this athlete who ran so fast in the first 100

meters of the 400-meter race that the individual could have set a state record.




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       18.      The Maui athletic community is small and tightknit. I learned that this biological

male had grown up wrestling and had just injured a girl during volleyball, giving her a

concussion with a powerful spike. This individual was casually trying out track and had trained

only two weeks before running next to my daughter who had trained all year.

       19.     This athlete also raced against the girls I coached. One senior girl was crying

because she told me she knew there was nothing she could do to win the conference

championship that she had dreamed of winning since she was a freshman. She told me, right

after that male athlete raced, that she was quitting track, even though I told her she had what it

took to possibly run in college. She turned to me and asked, “What’s the point, if it’s not fair?”

       20.     COVID cancelled the rest of our season, but these horrible memories were never

cancelled from my mind. We must consider the mental and physical health and safely of the

biological female athletes and provide an equal and level playing field for them to achieve all of

the opportunities the male sex has.

       21.      We must not hold the feelings and mental health of one group as more important

than another. The mental health of our daughters, granddaughters, sisters, and teammates matter.

       22.     All of the lessons I teach as a coach about hard work paying off: these lessons fall

apart when a mid-level male athlete doesn’t have to work as hard and can beat our hardest

working, most talented females.

       23.     In 2019 in Hawai’i, about 350 out of 700 male athletes ran faster than the fastest

female in Hawai’i. Quite literally, a mediocre boy could beat the best girl. Tens of thousands of

high school boys could run faster than the most decorated Olympian in history, Allyson Felix. If

we do not protect women’s sports, our girls will see their athletic dreams crushed.




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        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct. 

                                                 ____________________________________
                                                 Cynthia Monteleone

                                                 Dated: $SULO




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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                  CHARLESTON DIVISION

 B.P.J, by her next friend and mother, HEATHER
 JACKSON,
                                             Plaintiff,
        v.
 WEST       VIRGINIA      STATE       BOARD       OF            Case No. 2:21-cv-00316
 EDUCATION, HARRISON COUNTY BOARD OF
 EDUCATION, WEST VIRGINIA SECONDARY
 SCHOOL ACTIVITIES COMMISSION, W.                               Hon. Joseph R. Goodwin
 CLAYTON BURCH in his official capacity as State
 Superintendent, DORA STUTLER in her official
 capacity as Harrison County Superintendent, and THE
 STATE OF WEST VIRGINIA,
                                           Defendants
        and
 LAINEY ARMISTEAD,
                                Defendant-Intervenor.


                        DECLARATION OF MADISON KENYON

I, Madison Kenyon, declare as follows:

        1.    I am a twenty-year-old resident of Pocatello, Idaho, and have personal knowledge

of the information below.

        2.    I am a junior and female athlete at Idaho State University in Pocatello, Idaho,

where I compete in women’s cross-country and track. Running is my passion.

Athletics Background

        3.    Athletics has been my world from a very young age. Both of my parents were

high school athletes, so competition—especially among my siblings—was like the air I breathed

growing up.



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           4.    I first kicked a soccer ball at age three, and I was hooked. That first encounter

with a ball led me to compete for 15 years on various club soccer teams.

           5.    Through playing soccer, I learned both that I am fiercely competitive and that I

love to run.

           6.    Admittedly, I hated running at first, because it is hard work. But the more I ran,

the faster I got and the more I enjoyed it.

           7.    In 6th grade, that love of running and competition led me to try cross-country—a

sport I have competed in every fall since. In my freshman year of high school, I also started

running track.

           8.    Running is my happy place. I love pushing my body to its limits, spending time

outdoors, and doing it all with a sense of camaraderie and fun alongside some of my closest

friends.

           9.    I’m proud of my accomplishments. In high school, I set five different school

records, and as a sophomore was even voted unanimously by our coaches for the honor of

“athlete of the year.”

Competing in Women’s Collegiate Athletics

           10.   I decided to attend college at Idaho State University (ISU) because it is a big

university nestled in a small town with plenty of opportunities for outdoor activity and track

competition. The athletic scholarship I received from ISU has not only helped finance my

athletic career but has also helped finance my dream of becoming a nurse someday. I am

currently pursuing a degree in nursing.




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        11.    As an ISU freshman in the 2019-2020 academic year, I made the cross-country

team and competed in the 4-kilometer (2.49-mile), 3-mile, 5-kilometer (3.12-mile), and 6-

kilometer (3.73-mile) events. I was thrilled.

        12.    But that enthusiasm turned into confusion when, at the start of the fall 2019 cross-

country season, I was informed that I would be competing against a male athlete.

        13.     At first, I was incredulous that any biological male would be allowed to compete

in the women’s category. This couldn’t be happening.

        14.    So I researched the student. I found out that June Eastwood competed on the

University of Montana’s men’s cross-country team for three years, before switching to compete

on its women’s cross-country team. I also learned that while competing as a man, Eastwood ran

times in at least one event that was faster than the NCAA collegiate women’s record. My heart

sank.

        15.     So as I got into position at the starting line of my first ever collegiate cross-

country race, I faced a hurdle I never expected to encounter: a male athlete.

        16.    In the 2019 cross-country season, I lost to Eastwood three times:

           a. 2019 Montana State Cross-Country Classic in the 3-mile event.

           b. 2019 Big Sky Cross-Country Championships in the 5k event.

           c. 2019 NCAA Division I Mountain Region XC Championships in the 6k event.

        17.    In all three races, Eastwood not only beat me by a significant margin, but also

bumped me down to a lower placement than I would have received had I only competed against

other women. That may not seem like a big deal to some, but placements matter to athletes. I

want to know that I earned my placement fair and square. Fair competition pushes me to better

myself and try harder; unfair competition leaves me feeling frustrated and defeated.



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         18.   It was discouraging. My heart sank as I watched Eastwood placing and medaling

in the women’s cross-country races in meet after meet.

         19.   Cross-country athletes, like me, usually also compete in indoor and outdoor track.

So, during the winter 2020 indoor track season, I competed in the 3k (1.86-mile), the mile, and

the distance medley relay events.

         20.   Again, I raced this male athlete during the indoor track season. At the 2020 Stacy

Dragila Open Women’s Indoor Mile, Eastwood took 2nd place and I took 8th. Eighth place is

nothing to be ashamed of if won fairly—especially as a freshman competing in a race dominated

by juniors and seniors—but the competition is not fair when one of the athletes in the women’s

category is a male with the strength and speed advantages that come from male physiology.

         21.   And at the 2020 Indoor Big Sky Championship I, along with three other ISU

teammates, competed in the distance medley relay against Eastwood’s relay team. A distance

medley relay is made up of a 1200-meter leg, a 400-meter leg, an 800-meter leg, and a 1600-

meter leg. Montana State’s relay team was in 6th place before Eastwood began the final 1600-

meter leg of the race. During Eastwood’s leg, Eastwood advanced Montana’s relay team not one

or two, but four positions to finish in 2nd place. My team took 5th, though we would have placed

4th if not for Eastwood’s participation. We lost not only a placement, but team points as well.

         22.   Also at the Big Sky Championship, I watched in disbelief as one of my teammates

lost her bronze medal and place on the championship podium because Eastwood took first place

in my teammate’s women’s mile event and bumped her to fourth place. It was heartbreaking to

watch.




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Fairness in Women’s Sports

        23.    I believe that allowing males to enter women’s sports defeats the entire idea of

fair competition. Sex segregation in sports helps maintain fair competition so that no athlete has

an unfair advantage over another. And it helps ensure that if women like me work hard, we have

a shot at winning.

        24.    I am studying nursing and plan to enter the medical field. In my biology

coursework, it is clear that the biological differences between male and female are not matters of

personal opinion, or features that can be changed or chosen. I am female, not because I chose to

be female, or identify as female, but because every cell in my body is marked with XX

chromosomes and my entire body developed in alignment with those female markers.

        25.    But you do not need to be a medical expert to understand this. I know from

everyday experience that since the boys in my class went through puberty, the males around me

are generally bigger, faster, and stronger than the females, simply because they are male. Even

the rules of sport implicitly acknowledge this. For example, men’s cross-country races are longer

than women’s cross-country races.

        26.    In March 2020, Idaho became the first state in the country to pass a law to protect

women’s sports. H.B. 500, the Fairness in Women’s Sports Act, protects women’s sports by

ensuring that only female athletes compete in sports designated for women or girls. I intervened

in a lawsuit to help defend that law because I want my races to be fair and a test of skill and hard

work. I do not want to wonder whether I am training countless hours for inevitable defeat, or

whether I will even have a chance to win against a physically advantaged male athlete.

        27.    I fear that if we are no longer allowed by law to recognize the objective existence

of women, that it will be a huge loss to women’s rights.



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           28.   Sports was like the air I breathed growing up, and I want my kids to have that

same experience. And as hard as my teammates and I work to be competitive, I do not want to

see women’s sports fade away as a separate category because males compete in women’s

divisions, and women give up trying to compete because they do not think they can win. I fear

that we will soon effectively have men’s sports and co-ed sports, but no dedicated category for

females only.

           29.   And I do not want to see women lose their legal protection and progress under the

law because we can no longer identify what a woman is.

           30.   To my knowledge, June Eastwood has graduated. But I learned through my

involvement in defending Idaho’s Fairness in Women’s Sports Act that another male, Lindsay

Hecox, wants to compete on the women’s team at Boise State University—a university that my

team competes against. And if Title IX and Idaho's law aren’t upheld, other males will almost

certainly follow.

           31.   I believe everyone should be able to compete, but it must be done fairly. It is not

fair for women’s competitions to be open to male athletes. And women’s sports itself will lose its

meaning, and its specialness, if males can be redefined as females.



Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

correct.

                                                       ___________________________________
                                                       Madison Kenyon
                                                       Dated: $SULO




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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                  CHARLESTON DIVISION

 B.P.J, by her next friend and mother, HEATHER
 JACKSON,
                                               Plaintiff,
        v.
 WEST       VIRGINIA      STATE       BOARD       OF              Case No. 2:21-cv-00316
 EDUCATION, HARRISON COUNTY BOARD OF
 EDUCATION, WEST VIRGINIA SECONDARY
 SCHOOL ACTIVITIES COMMISSION, W.                                Hon. Joseph R. Goodwin
 CLAYTON BURCH in his official capacity as State
 Superintendent, DORA STUTLER in her official
 capacity as Harrison County Superintendent, and THE
 STATE OF WEST VIRGINIA,
                                            Defendants
        and
 LAINEY ARMISTEAD,
                                 Defendant-Intervenor.


                         DECLARATION OF MARY MARSHALL

I, Mary Marshall, declare as follows:

       1.      I am a twenty-one-year-old resident of Twin Falls, Idaho, and have personal

knowledge of the information below.

       2.      I am a senior and female athlete at Idaho State University in Pocatello, Idaho,

where I compete in cross-country and track and field.

Athletics Background

       3.      I first started playing basketball at 7 or 8 years old, and I continued through my

sophomore year of high school. I enjoyed the competition, the adrenaline rush, and the sheer fun

of the game.




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       4.      In 8th grade, I started running track. My sophomore year of high school I started

running cross country to get in shape for basketball. But to my surprise, I found out that I loved

running more than playing basketball! So, I kept running races. And my sophomore year of high

school, I dropped basketball altogether and started focusing on cross country and track.

       5.      I discovered that I am good at running. In two back-to-back years, my high school

medley relay team won the State championship in our division. My junior year I won the state

championship in the 300 intermediate hurdles. And in my senior year of high school, I won the

State championship in the 800m for my division.

       6.      I love to run. It gives me confidence, improves my mood, and allows me to

explore the great outdoors on foot. But being a competitive female athlete is about more than just

running long distances. It is about community. My teammates have become my closest friends.

We push each other to be our best, help one another through disappointments and losses, and

cheer one another on as we celebrate victories. We travel together for sporting events and share

overnight lodging: it’s like a sisterhood. We enjoy one another so much that we even spend our

free time together. Through running competitively, I have made some of my closest lifelong

friends.

Competing in Women’s Collegiate Athletics

       7.      I chose to attend college at Idaho State University (ISU) because it is close to

home and I really liked my track coaches. And I am grateful to be one of the lucky ones to

benefit from a women’s track scholarship.

       8.      In college, I am primarily a mid-distance track athlete, focusing on shorter

distances like the 800-meter and the mile. But I also compete in cross-country to stay in shape. In

cross-country, I generally compete in the 5k.



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          9.    Training is hard work. On Tuesdays and Thursdays, I usually have a two-hour

workout with my team. On alternate days, my teammates and I get together for a five-to-six-mile

run. Additionally, we have an hour-long weightlifting session on Mondays and Wednesdays.

          10.   But in the fall of my sophomore year of college, I learned that I would be racing

against a male athlete who was competing on the University of Montana women’s team because

he identifies as female. I was appalled. I do not know how anyone could think this was fair to

female athletes. Males are naturally fitter and faster than females.

          11.   I raced against this athlete, June Eastwood, not once, but twice. First, I competed

against Eastwood in the Montana State Cross-Country Classic 3-mile event in the fall of 2019.

And then I competed against Eastwood again in January 2020 at the Stacy Dragila Indoor mile

event.

          12.   I lost both times. I was displaced and pushed down to a lower spot in the rankings

than I would have earned had the playing field been level.

          13.   When I lose to another woman, I assume that she must train harder than I do and

it drives me to work harder. If I lose to a man, it feels completely different. It’s deflating. I

wonder whether he works as hard as I do, whether he was even trying, or was that an easy race

for him. It makes me think that no matter how hard I try, my hard work and effort will not

matter.

          14.   Members of the men’s track team sometimes do easy runs with me and my

teammates on the women’s track team. But we women are under no illusion that we would be

competitive in a race against these men. Even our easy runs are at different paces. For example,

an easy run for women is usually at an 8:30 pace, while an easy pace for men is around 7:30.




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Fairness in Women’s Sports

         15.   When I first heard about Idaho’s H.B. 500 Fairness in Women’s Sports Act, I was

really excited. I hoped that this would be the solution we needed to keep men out of women’s

sports. And that’s why—when the law was later challenged in court — I chose to stand up and

intervene in the lawsuit to defend the law. I wanted to make sure that the voices of women were

heard.

         16.   I have personally seen the negative impact on women when Eastwood was

allowed to compete against women’s teams, and I fear that as men realize they only need to

“identify” as women in order to compete in the women’s category, others might follow suit. In

fact, I learned through my lawsuit that a male athlete, Lindsay Hecox, wants to compete on the

Boise State women’s track and cross-country team—a team that I compete against. I want to stop

this before it becomes popular.

         17.   I want to preserve the camaraderie and sisterhood that comes from competing

with an all-female team. There is no way that I would feel comfortable sharing a hotel room with

a male athlete, regardless of how that person identified.

         18.   And I want other young women to benefit from sports as I did. I did well in high

school sports. But if a boy had decided to compete against me in basketball, or track, or cross-

country, I am not sure that I would have kept on competing. Success drives endeavor. And if I

knew that I could not win, I might have dropped out of sports altogether.

         19.   That very idea concerns me. Sports has played such an important role in my life.

It taught me how to work in groups and as a team. It taught me how to persist through

disappointment. It taught me that if I put in the work, I will get the results. It has taught me how

to interact with people I do not know, and how to respond to those in authority over me. It has



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given me the confidence to study business, marketing, management, and economics at ISU

because I hope to be an entrepreneur and own a business someday. These are the benefits that I

want to preserve for the next generation of women.




Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

correct.

                                                    ____________________________________
                                                    Mary Kate Marshall

                                                    Dated:




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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                   CHARLESTON DIVISION

 B.P.J, by her next friend and mother, HEATHER
 JACKSON,
                                                  Plaintiff,
         v.
 WEST       VIRGINIA      STATE       BOARD       OF              Case No. 2:21-cv-00316
 EDUCATION, HARRISON COUNTY BOARD OF
 EDUCATION, WEST VIRGINIA SECONDARY
 SCHOOL ACTIVITIES COMMISSION, W.                                Hon. Joseph R. Goodwin
 CLAYTON BURCH in his official capacity as State
 Superintendent, DORA STUTLER in her official
 capacity as Harrison County Superintendent, and THE
 STATE OF WEST VIRGINIA,
                                                Defendants
         and
 LAINEY ARMISTEAD,
                                  Defendant-Intervenor.



                              DECLARATION OF HALEY TANNE

        I am a 22 year-old senior at Southern Utah University and have personal knowledge of

the information below.

Athletic Background

        1.      I have always loved running. As a kid, I was fast and could outrun a lot of people.

But I didn’t get into running seriously until the summer before my freshman year of high school.

My older sister (who later ran in college) “forced” me to get up early with her and run. Once I

got into shape, I loved it.

        2.      As a high school freshman, my coach pulled me aside and said that I had the

potential to run in college. I was surprised!



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        3.     And I started training harder. My family wasn’t financially well off so I worked

hard to earn the participation fees and gear fees to run in high school. I worked in my coach’s

woodshop over the summer, and later transitioned to be a pool instructor to earn money.

        4.     It was a lot of work. I worked throughout my summers, went to bed early and

missed out on the typical teenage experience of my peers.

        5.     In high school, I was our school’s top ranked female athlete. I felt a lot of pressure

being at the top. But the desire to be the best and potentially earn a scholarship for college kept

me pushing to stay at the top.

        6.     Being a female athlete is not easy and requires sacrifice. To get faster and hold

my spot required a lot of self-discipline in my diet, bedtime, and homework.

        7.     My teammates say I’m fiercely loyal. I’m hardworking, smart, reliable, and I

invest deeply in relationships.

        8.     I love racing! I love the feeling when my legs are burning, almost numb, lungs are

burning, arms are burning and so fatigued. But when you cross that finish line, all the pain melts

away.

        9.     There are never “days off” in the life of a distance runner. You have to really

love running to excel in this sport. I have many favorite runs near the Southern Utah University

campus. I love the Canyon Run, Dikes Run, and the Main Street Run. I love running in this part

of Utah and losing myself to the scenery. It gives me temporary relief from stresses or negative

emotions I’m facing.

        10.    When I was deciding on which college to attend, I looked all throughout Utah. I

had many options, and many schools were interested. But I ultimately decided to go to Southern

Utah University because of the team dynamic and the kind, caring, and capable coaches.



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       11.     Going to college was something that was not a likely option for me because of the

low-income status I came from. Gratefully, running allowed me to earn a scholarship and attend

college. Running has completely shaped my college career. It has taught me even greater

discipline than I had in high school. I have learned mental toughness from hard workouts and

practices. I have also developed many leadership traits from being on a team, and even though I

am one of the youngest runners on the team as a sophomore, I still have a position of leadership.

       12.     My teammates have made my college athletic career worth it. We are with each

other through anything and everything. My teammates have seen me at my lowest lows and my

highest highs. It is a special bond, and we are all so close. While we have a lot of personalities on

the team, we all mesh together so well. I love my teammates and every one of those girls means

the world to me.

       13.     One day I want to be nurse and nursing school will be my next step. I’ve always

been interested in the human body and medicine and I have always wanted to be involved in a

health career. After nursing school, I would like to settle down and move forward in my career

and have a family.

Competition Against a Male Athlete

       14.     I remember learning that there was a male signed up to compete on the women’s

cross-country team at the University of Montana. My coach sat us all down before the season

started and informed us that there was a male who transitioned and would be racing against us. I

remember being so shocked. I never imagined this would happen in my lifetime.

       15.     This male, June Eastwood, had competed on the men’s team for three years and

was not an exceptional athlete. But even as a mid-level runner, Eastwood posted times that were

faster than women’s NCAA records.



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       16.     I competed against Eastwood twice and I lost to Eastwood both times. The first

time I competed against Eastwood was in the 2019 Big Sky Cross Country Championships. I

also competed against Eastwood in the NCAA Division 1 Mountain Region Cross Country

Championships.

       17.     One of my teammates, Madison Fruchey, was also knocked off from being an

All-Conference athlete because of June Eastwood’s involvement. Eastwood was in the top-10

and Madison was 11th. You can mentally exclude Eastwood from the top 10, but when the All-

Conference list was published, Madison’s name was not on it.

       18.     Eastwood’s participation is frustrating. My teammate lost opportunities for

accomplishments she worked hard to achieve. I do not want to have anger towards Eastwood, but

when I see Eastwood lining up in a women’s race, it just feels wrong.

       19.     Eastwood has an advantage when competing. Us women are already at a loss once

Eastwood stands at the starting line. Eastwood’s presence is intimidating, and it is hard to

mentally compete at our best when we know we can’t win.

       20.     Males run track with more physicality than women. They throw elbows and

compete with a more aggressive strategy. They are especially more aggressive in college and

when they progress to more elite races.

       21.     Like I mentioned earlier, obtaining an athletic scholarship was vital to pursuing

my dream of being a nurse. Running was the only way I could afford to participate in academic

programs at my school. When I heard Eastwood was participating on the University of

Montana’s girls’ team through a girls’ scholarship, it was frustrating. There is a limited number

of athletic scholarships that each school can distribute, and Eastwood took an opportunity from




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another woman. It makes you wonder if there may have been another female athlete in my shoes

that may not have been able to afford school without an athletic scholarship.

Fairness in Women’s Sports

       22.     Title IX was created to provide a space for women, like me, to compete on a fair

playing field and be a champion in my own sport. But allowing males to compete in women’s

sports destroys that opportunity and sets women back half a century.

       23.     Generally speaking, males are stronger, faster, and bigger than woman. June

Eastwood towered over the female competitors like me. And if men take over, I fear that women

will lose the drive to compete in the sport altogether.

       24.     Eastwood displaced women in races and in scholarships. Because of Eastwood’s

involvement, a woman missed the opportunity to receive an athletic scholarship and may have

impeded her ability to attend school at all. Women should not have their opportunities taken by

biological males.

       25.     I decided to stand up and speak out because I don’t want my daughters to have to

deal with what I’ve had to deal with. I want to protect women’s sports for all the women that will

come behind me.

       26.     I know what I’m doing is right and I know what we’re fighting for is right.



       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

                                                  ____________________________________
                                                   ______________
                                                   aley Tanne
                                                  Haley

                                                  Dated: April 19, 2022




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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                  CHARLESTON DIVISION

 B.P.J, by her next friend and mother, HEATHER
 JACKSON,
                                                Plaintiff,
        v.
 WEST       VIRGINIA      STATE       BOARD       OF               Case No. 2:21-cv-00316
 EDUCATION, HARRISON COUNTY BOARD OF
 EDUCATION, WEST VIRGINIA SECONDARY
 SCHOOL ACTIVITIES COMMISSION, W.                                 Hon. Joseph R. Goodwin
 CLAYTON BURCH in his official capacity as State
 Superintendent, DORA STUTLER in her official
 capacity as Harrison County Superintendent, and THE
 STATE OF WEST VIRGINIA,
                                              Defendants
        and
 LAINEY ARMISTEAD,
                                   Defendant-Intervenor.

                            DECLARATION OF LINNEA SALTZ

       I, Linnea Saltz, declare as follows:

       1.      I am a resident of Washington, D.C., and a former elite track athlete at both

Southern Utah University and Georgetown University.

Athletic Background

       2.      Growing up, I loved cheer, gymnastics, and dance. But with a brother who ran

cross-country and a mother who ran triathlons, I decided to try out for track my sophomore year

of high school. I surprised everyone—including myself—by running the fastest time of my high

school tryouts in the 400-meter.

       3.      That initial success on the track led to a love of running. I joined my varsity girls’

track team and even competed on a club team. By my senior year, I gave up all other


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extracurricular activities and focused on getting faster and stronger in order to be the best version

of myself.

       4.      That hard work paid off with an athletic scholarship to run track for Southern

Utah University. I received offers from bigger schools, but ultimately chose to attend SUU

because I could tell they really cared about their athletes.

       5.      Being a student-athlete opened doors for me to make connections on campus and

provided a ready-made support and friendship network in my teammates.

       6.      But being a collegiate athlete is not easy. It involves early morning workouts and

afternoon practices; weekend travel for meets; and lots of self-discipline in diet, bedtime, and

homework. I missed out on sleeping in, spring break, and social events.

       7.      But it was absolutely worth it. Every time I earned a new Big Sky Championship

medal or put my name on the record book for my school, it made all the sacrifice worth it.

       8.      I am proud of what I achieved in my time at SUU. I am a two-time Big Sky

Champion in the 800-meter, once in outdoor and once in indoor. And by the time I graduated, I

held seven school records:

               x   indoor 4x400-meter relay,
               x   indoor distance medley relay,
               x   indoor 400-meter,
               x   indoor 600-meter,
               x   indoor 800-meter,
               x   outdoor 800-meter,
               x   outdoor 4x4 relay.

Competition against a male athlete

       9.      My senior year of college, I learned about a male athlete at the University of

Montana who would be competing in women’s cross-country and track.




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       10.     This male, June Eastwood, had competed for three years on the men’s team and

was not a stand-out athlete. But even as a mid-level male athlete, Eastwood still posted times as a

man that were faster than multiple women’s NCAA records.

       11.     In the fall of 2019, Eastwood bested some of my teammates in cross country

competitions. I thought it was so unfair. Why would someone who knows they have a

physiological advantage over these women compete against them?

       12.     After my teammates’ experience, I spent weeks reading the NCAA’s transgender

handbook. The NCAA policy at that time—which had been in place since 2011—required males

to undergo one year of testosterone suppression before competing on a women’s team. I thought

this could not be true. I could see for myself that testosterone suppression did not eliminate the

male advantage. (Thankfully, the NCAA scrapped that old policy in late 2021, but did not

replace it with any policy that actually protects female athletes.)

       13.     In the winter of 2020, I learned that Eastwood would be competing in the indoor

Big Sky Conference Track and Field Championships.

       14.     As the defending 800-meter Big Sky Conference Champion, I immediately

jumped online to see what I was going to have to be competing against this season. All hope was

lost when I realized that the male athlete was going to be competing against had a personal best

time of 1:55 in the 800-meter, not only 10 seconds faster than the best time I had posted the

season prior, but faster than the NCAA women’s record in the event.

       15.     I took a step back and realized that my senior year was no longer going to be

about the sacrifices, hard work, pain, and dedication I had put forth the last four years. It was

going to be about fairness in women's sports being stripped away right in front of me. Title IX

was passed in order to create an equal and fair playing field for all—yet allowing male athletes to



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compete in women’s sports discourages young women and deters them from their sports. Sports

that encourage independence, strength, strong will, and give you the confidence of being a

competitive athlete.

       16.     Instead of looking forward to my races, I was anxious. I could not bear the

thought of losing my Big Sky Championship title to a former male athlete. I tried hard to focus

on my training, but it was mentally exhausting to anticipate racing a male athlete with all the

advantages of male puberty.

       17.     To my relief, Eastwood did not enter the 800-meter race. But I competed against

Eastwood in the distance medley relay (DMR). In the middle of that relay, after finishing my leg,

I overhead the University of Montana coach cuing this athlete from the sidelines, telling

Eastwood to do something I had never heard in competition: to slow down. Eastwood took the

University of Montana’s relay team from nearly the bottom of the pack to a 2nd place finish.

       18.     Eastwood also bested some of my SUU teammates in the women’s mile at Big

Sky. Remarkably, this athlete finished four seconds ahead of the next competitor—a massive

amount of time in an elite track competition.

Fairness in Women’s Sports

       19.     Female-only sports exist for a reason: to give women like me the chance to

podium, showcase our talents, and receive the recognition our hard work and talent deserve. But

allowing a male to compete in the women’s category shatters these opportunities.

       20.     Simply by observation, males are generally bigger, faster, and stronger than

women. Eastwood’s over six-foot-tall frame towered over the female competitors. June’s

cadence, stride length, broader shoulders, and lack of fatty tissue around the hips and chest all




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spoke to June’s male advantage. Personally, I would find it demeaning to stand on the podium

beneath an athlete that had been on the podium with boys a couple years ago.

        21.        It is mentally draining to run against a male athlete. While in prior years I could

just focus on my training, in 2020, I spent a lot of time in preseason stressing over competing

against a male.

        22.        It only takes three males to displace females on the podium. And only eight males

to displace females from All-Conference honors, and even worse from first-team All-American

status which some women athletes could only dream of accomplishing.

        23.        I don’t want to look back at the SUU school record books five or ten years down

the line to find my name erased by males.

        24.        Because if men take over, I fear that women will lose the drive to compete in

sports entirely.

        25.        Men are able to celebrate fairness in their sports, so it should only make sense that

we can as well. It is discouraging for girls and women to think that they may have to compete

against an individual that has a biological advantage over them. Taking away our opportunities

will run us out of the sports world, which we already had to fight so hard to be a part of.



        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

                                                     ____________________________________
                                                     Linnea Saltz

                                                     Dated: $SULO




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  NCAA Division II Outdoor Track & Field
              Championships (Excerpt)
                   May 23-25, 2019
                     Available at:
http://leonetiming.com/2019/Outdoor/NCAADII/Re
                       sults.pdf
    [permalink: https://perma.cc/BB84-YJPL]
            (last visited: April 20, 2022)
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   Leone Timing and Results Services - Contractor License              Hy-Tek's MEET MANAGER 9:12 PM 5/25/2019 Page 3
                                                           NCAA Division II
                                                 Outdoor Track & Field Championships
                                         Hosted By Texas A&M Kingsville - 5/23/2019 to 5/25/2019
                                                               Results
Finals ... (Women 5000 Meter Run)                                       18    Chelsea Walker         SO Christian Bros         14.48 4.1
     Name                  Yr School                   Finals           ---   Jordan Hammond         JR NW Missouri             DNF 4.8
  18    Dania Holmberg         SO   Seattle Pacific   17:54.06
                                                                      Women 100 Meter Hurdles
  19    Malena Grover          SR   Adams State       18:00.77
                                                                         Meet Record:     12.70 M 5/23/2013 Vashti Thomas
  20    Chloe Flora            SO   Lee               18:02.64
                                                                           Name                      Yr School                Finals
  21    Cynthia Togom          FR   Cen Missouri      18:03.95
  22    Chloe Cook             SR   CO Mines          18:24.29
                                                                      Finals
                                                                         1    Courtney Nelson        SR   Pittsburg St         13.06   10
  ---   Allie Ludge            JR   Grand Valley St       DNF
                                                                         2    Monisha Lewis          JR   San Francisco St     13.29   8
Women 10000 Meter Run                                                    3    Danielle Kohlwey       SR   MN Duluth            13.31   6
   Meet Record: 33:17.39 M 5/26/2011 Sarah Porter                        4    Erin Hodge             SR   Lindenwood           13.47   5
     Name                      Yr School               Finals            5    CeCe Telfer            SR   Franklin Pierce      13.56   4
Finals                                                                   6    Briana Burt            SR   So. Conn. St         13.83   3
   1    Caroline Kurgat        SR   Alaska Anchorage36:34.31     10      7    Mariyah Vongsaveng     SR   Cen Washington       13.87   2
   2    Leah Hanle             JR   Mount Olive     37:20.46     8       8    Morgan Smith           SR   MO Southern          13.98   1
   3    Gina Patterson         JR   Grand Valley St 37:33.19     6
                                                                      Women 400 Meter Hurdles
   4    Jessica Gockley        SO   Grand Valley St 37:40.52     5
                                                                         Meet Record:     55.42 M 5/27/2017 Tia-Adana Belle
   5    Kaylee Bogina          JR   Adams State     37:43.89     4
                                                                           Name                      Yr School               Prelims
   6    Eileen Stressling      SR   Azusa Pacific   38:02.76     3
   7    Alexa Shindruk         SR   Cen Washington 38:04.69      2
                                                                      Preliminaries
                                                                         1    CeCe Telfer            SR   Franklin Pierce    58.18Q
   8    Allison Dorr           SR   Saginaw Valley 38:05.52      1
                                                                         2    Shannon Kalawan        JR   St. Augustine's    59.18Q
   9    Kathryn Etelamaki      JR   Ferris State    38:16.78
                                                                         3    Sidney Trinidad        SO   Cen Washington     59.78Q
  10    Ida Narbuvoll          JR   U-Mary          38:43.20
                                                                         4    Jordan Hammond         JR   NW Missouri        59.68Q
  11    Hope Jones             JR   So Indiana      38:46.90
                                                                         5    Kissi-Ann Brown        SR   Lincoln-MO         59.92Q
  12    Malena Grover          SR   Adams State     38:51.72
                                                                         6    Jessica Eby            SO   Grand Valley St 1:00.34Q
  13    Billie Hatch           SO   Dixie State     39:01.07
                                                                         7    Minna Sveard           SO   TAMU-Commerce 1:00.16q
  14    Emily Byrd             JR   Michigan Tech 39:27.23
                                                                         8    Hanneke Oosterwegel    SR   Northern State   1:00.23q
  15    Leah Lewis             JR   Dallas Baptist 39:51.54
                                                                         9    Chelsea Walker         SO   Christian Bros   1:00.31
  16    Michaela Reynolds      SR   CO Mines        39:58.06
                                                                        10    Erykah Weems           JR   Cen Washington 1:00.43
  17    Cassidy Ahrens         SR   West Colorado 40:16.52
                                                                        11    Claudia Cox            JR   UC San Diego     1:01.12
  18    Jax Heckers            SO   CSU San Marcos 41:15.31
                                                                        12    Faith Roberson         SO   Angelo State     1:01.24
  ---   Brianna Coy            JR   Walsh               DNF
                                                                        13    Miyah Golden           SR   Shorter          1:01.35
  ---   Alexandria Tucker      SO   Chico State         DNF
                                                                        14    Kelly Strand           SR   UC San Diego     1:01.79
Women 100 Meter Hurdles                                                 15    Monisha Lewis          JR   San Francisco St 1:02.10
   Meet Record:      12.70 M 5/23/2013 Vashti Thomas                    16    Janeth Moya            SR   Cal St. LA       1:02.13
     Name                      Yr School              Prelims           17    Brittney Augustin      FR   Lees-McRae       1:02.69
Preliminaries                                                           18    Danielle Scantlebury   FR   St. Augustine's  1:02.71
   1    Courtney Nelson        SR   Pittsburg St        12.99Q4.1       19    Leah Molter            SR   OK Baptist       1:03.37
   2    Erin Hodge             SR   Lindenwood          13.37Q4.8
                                                                      Women 400 Meter Hurdles
   3    Danielle Kohlwey       SR   MN Duluth           13.52Q3.4
                                                                         Meet Record:     55.42 M 5/27/2017 Tia-Adana Belle
   4    Monisha Lewis          JR   San Francisco St    13.22Q4.1
                                                                           Name                      Yr School                Finals
   5    CeCe Telfer            SR   Franklin Pierce     13.49Q4.8
                                                                      Finals
   6    Mariyah Vongsaveng     SR   Cen Washington      13.97Q3.4
                                                                         1    CeCe Telfer            SR   Franklin Pierce   57.53      10
   7    Briana Burt            SR   So. Conn. St        13.77q 4.1
                                                                         2    Minna Sveard           SO   TAMU-Commerce 59.21          8
   8    Morgan Smith           SR   MO Southern         13.92q 4.1
                                                                         3    Sidney Trinidad        SO   Cen Washington    59.49      6
   9    Julia Hammerschmidt    SR   U-Mary              14.03 3.4
                                                                         4    Hanneke Oosterwegel    SR   Northern State  1:00.29      5
  10    Tamia Prince           JR   Concordia-CA        14.03 4.8
                                                                         5    Jordan Hammond         JR   NW Missouri     1:01.24      4
  11    Danielle Scantlebury   FR   St. Augustine's     14.12 3.4
                                                                         6    Kissi-Ann Brown        SR   Lincoln-MO      1:01.35      3
  12    SheQuilla McClain      SO   Shorter             14.13 4.8
                                                                         7    Jessica Eby            SO   Grand Valley St 1:01.35      2
  13    Leah Molter            SR   OK Baptist          14.14 3.4
  14    Nia Vance              JR   Cal Poly Pomoma     14.22 4.1
  15    Oweneika Watson        JR   Adams State         14.34 3.4
  16    Carolyn Hackel         JR   MN State            14.36 3.4
  17    Jordan Nash            SR   Angelo State        14.40 4.8
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 2020 Big Sky Indoor Track & Field Championship
                   Results (Excerpt)
                 February 27-29, 2020
                      Available at:
 https://bigskyconf.com/documents/2020/3/27//2020
 _bsc_itf_final_results_single_column.pdf?id=6627
     [permalink: https://perma.cc/U4LX-23M6]
             (last visited: April 20, 2022)
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  %    9       *(66                          (. ,(4 .                              % :/88     % &/&0            %      
  #    <  *B. C(                         .4   (6                                % &/&1     % 8/%0            #      
  1    ++ *'                             =6(4 .(.                                  % "/:0     % 8/&1                  
  0     6  *4((                           =6(4 .(.                                  % :/%!     % 8/&0            %      
  "     6* (                                 .( (.(.                                 % &/81     % :/%%                  
  &    ( 4(*( )(.                       =6(4 .(.                                  % "/&8     % %1/&%            %      
$  4&"#
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$  ,&"#
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  "    ( *(                                 3.4 .(4                                 0 !!/#%     0 %/0%                 
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  8    9        *(66                         (. ,(4 .                              0 !/8"     0 &/%1                  
                       Case: 22-5807
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                                                                               Armistead  App. 0084
                                                        !"#$%&$%!%!'( 0
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       2                                                                                                   0    /  
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           ! (    ()   1   ,4*         5&  .8
       2                                                                                                   0    /  
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   1   .4 *(                            , - .(.                                   : 1&/0!     : 18/:8            %     0
   0   @  *)                              =6(4                                        : 08/#:     : 0%/!8            %     1
   "     *5                              .4  7        (                         : 18/#     : 0:/":            %     #
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   8   . *'<                               .4  7        (                         : 1"/0"    ! !!/:"            %     
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  #   ,(*(                              , - .(.                                  ! !0/0&    ! !&/%"                  
  1   ( *(                             .( (.(.                                 : 18/"0    ! /#&            %      
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  "    6( *--                              .4  7        (                        ! !8/!#    ! 0/&%                  
  &   B. *(4                             ( (+ . ./                              ! 0/#!    ! :/"%                  
  8    * (                              .4  7        (                        ! !#/1:    ! %/&%            %     
  :     - . *(+( .4(                       .( (                                     ! 0/:#    ! %/80                  
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  %   9  *(6(                             3.4 .(4                                ! !1/"0    ! %&/%!                  
  %%   ( *(                               3.4 .(4                                 : 0%/"#    ! %&/&8            %      
  %#   ( *4(                               , - .(.                                  ! %/8    ! %&/::                  
  %1    *(3 (                            =6(4 .(.                                 ! !/0#    ! #%/#            %      
  %0     *6                              , - .(.                                  ! %1/##    ! #%/##                  
  %"   ( *(                                 3.4 .(4                                 : 0%/#8    ! #%/&8            %      
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  %8    .. 4 +*                         , - .(.                                  ! %&/#%    ! #&/#!                  
  %:   34( *5                               3.4 .(4                                ! %&/0!    ! 11/"!                  
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    !(   ,3(73)%   0   ,4         /-.2  !6 
           ! (   ,%(**)%   1   ,4,         ! ?@       .A 
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    % @  *)                               =6(4                                                   & !&/8!                 8
    # .4 *(                             , - .(.                                  " 0&/!:    & 8/08                 "
                        Case: 22-5807
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                                                                   !"#$%&$%!%!'( &
                                                                
                                                                                   ! 
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           ! (              4)   1                5B.-   
       2                                                                                       /                            0   /  
 
              *)(.                                      , - .(.                                    8/01       8/0                       %   !
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    0   5 4  * +(                                        .4   (6                                 8/&:       8/&%                       %    1
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    &         * . ( (                                   ( (+ . ./                                8/&#       8/&0                           %
    8    ; *9 .                                      3.4 .(4                                  8/8&       :/!"                       %    
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    !(           *(7,)4   0   ,4            .2  !6 
           ! (           *(*)4   1   ,4,            .! 8 D
                                                     "                                                                         0   /  
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    %  3.4         .(4                                                                         # 1:/%!    # 1&/8&                      #    8
         E ..*                           %E(.7*       (               #E      *' .                  1E 6*7 
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    1  .4           7      (                                                                  # 0/0!    # 18/88                      #    0
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    " , - .(.                                                                                   # 0#/"!    # 1:/%"                      %    #
         E(      *+                     %E @ * 6                       #E ( ) *+              1E        *)(.
    &       .( (.(.                                                                            # 0#/:    # 0/%                      %    %
         E  *(66                        %E+.4*9 (                    #E(+(*)        (           1E(     *'(. (
    8 =6(4                                                                                        # 0:/!:    # 01/01                          
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  ! (.        ,(4 .                                                                        1 !/&#    1 !/:8                          
         E @ * <4                        %E) 4.*(6                   #E' .4*)(.                   1E +- * 34
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      .4           7      (                                                                             18/:&                         !
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                        Case: 22-5807
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                                                                                Armistead  App. 0086
                                                              !"#$%&$%!%!'( 8
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    1 ( (+ . ./                                                                          0"/%&    01/&1                    0
         E93 ( *(                      %E     (     (7( 7*5(+   #E?3      *+                1EB. *(4 
    0 =6(4 .(.                                                                            % #:/&:   % !0/88                    1
         E)  *(6                        %E( . *) 6(                #E 6       *4((            1E * 
    "       .( (.(.                                                                      % !&/#0   % !0/:8                    #
         E(  *'(. (                  %E    6* (                  #E) * A                     1E( *(
    & =6(4                                                                                  % 0/!1   % #/00                    %
         E9+     *(.4                  %E)3 37*( (      (          #E' 4(* (                   1E( * 
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   Women’s Ivy League Swimming & Diving
               Championship Results
                February 16-19, 2022
                     Available at:
  http://www.meetresults.com/2022/ivies/results.ht
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      [permalink: https://perma.cc/RFA7-6YDX]
            (last visited: April 20, 2022)
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                                     HY-TEK's MEET MANAGER 8.0 2/20/2022 02:09 PM
                Women's Ivy League Swimming & Diving Championships
                     February 16-19, 2022 - Harvard University
                                      Results

  Event 1 Women 200 Yard Medley Relay
  ===============================================================================
   Meet Record: M 1:37.30         2018 Yale
                            H.Vanderwel, C.O'Leary, M.Zimmerman, B.Hindley
   Pool Record: P 1:37.30         2018 Yale
                            H.Vanderwel, C.O'Leary, M.Zimmerman, B.Hindley
    NCAA A Std: A 1:36.40
    NCAA B Std: B 1:37.05
      School                                                 Seed      Finals Points
  ===============================================================================
    1 Princeton University                                1:38.96     1:38.66   64
       1) Pappas, Alexa FR                  2) Wang, Vivian SR
       3) Venema, Nikki JR                  4) Bradley, Christina JR
    2 Yale University                                     1:37.48     1:38.91   56
       1) Wagner, Lindsey SO                2) Buckley, Marykate JR
       3) Pilkinton, Ophelia SO             4) Henig, Iszac JR
    3 Harvard University                                  1:40.80     1:39.14   54
       1) Pasadyn, Felicia SR               2) Denisenko, Aleksandra FR
       3) Carr, Abigail FR                  4) Brenner, Mandy FR
    4 Brown University                                    1:41.71     1:40.22   52
       1) Reznicek, Jenna FR                2) Willhite, Kellie SO
       3) Chidley, Nell JR                  4) Scott, Samantha SO
    5 University of Pennsylvania                          1:40.31     1:40.33   50
       1) Kannan, Hannah SR                 2) Maizes, Rachel SR
       3) Chong, Vanessa FR                 4) Kaczorowski, Margot JR
    6 Columbia University                                 1:42.27     1:42.05   48
       1) Pruden, Mary SR                   2) Walker, Allegra SO
       3) Wang, Emily SR                    4) Arevalo, Isabelle JR
    7 Cornell University                                  1:44.19     1:43.17   46
       1) Munoz, Aviva JR                   2) Tsai, Sophia FR
       3) Gruvberger, Anna SO               4) Wongso, Priscilla SO
    8 Dartmouth College                                   1:46.95     1:44.54   44
       1) Zhang, Connie JR                  2) Zhang, Rachel FR
       3) Howley, Mary FR                   4) Wortzman, Zoe JR

  Event 2 Women 800 Yard Freestyle Relay
  ===============================================================================
   Meet Record: M 6:59.92        2020 Harvard
                           M. Dahlke, S. Shelton, K. Quist, F. Pasadyn
   Pool Record: P 7:05.06        2018 Harvard
                           M. Dahlke, K. Quist, G. Enoch, M. Popp
    NCAA A Std: A 7:00.86
    NCAA B Std: B 7:05.88
      School                                               Seed      Finals Points
  ===============================================================================
    1 Harvard University                                7:15.97     7:06.66   64
       1) Pasadyn, Felicia SR             2) Shelton, Samantha JR
       3) Bullock, Addie Rose SO          4) Hamlin, Molly FR
    2 Yale University                                   7:16.64     7:08.33   56
       1) Henig, Iszac JR                 2) Massey, Alexandra FR
       3) Jones, Raime JR                 4) Moesch, Marlise SR
    3 University of Pennsylvania                        7:14.50     7:09.91   54
       1) Thomas, Lia SR                  2) Kaczorowski, Margot JR
       3) Kalandadze, Anna Sofia JR       4) O'Leary, Bridget JR
    4 Princeton University                              7:18.36     7:16.00   52
       1) Venema, Nikki JR                2) Marquardt, Ellie SO
       3) Liu, Amelia JR                  4) Valdman, Nathalie SO
    5 Columbia University                               7:20.76     7:16.55   50

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        1) Ganihanova, Aziza SO                   2) Jubin, Olivia JR
        3) Martin, Allison FR                     4) Breiter, Callie SO
     6 Dartmouth College                                        7:36.02      7:20.86    48
        1) Post, Ashley JR                        2) Leko, Mia JR
        3) Wiener, Sophie FR                      4) Wortzman, Zoe JR
     7 Brown University                                         7:29.88      7:21.75    46
        1) Podurgiel, Anna FR                     2) Barrett, Sara FR
        3) Bilgin, Zehra FR                       4) Orange, Audrey JR
     8 Cornell University                                       7:33.06      7:27.74    44
        1) Parker, Melissa JR                     2) Syrkin, Alex FR
        3) Sih, Angelica SO                       4) DuPont, Schuyler FR

  Event 3 Women 500 Yard Freestyle
  ===============================================================================
   Meet Record: M 4:36.37        2020 Ellie Marquardt (Princeton)
   Pool Record: P 4:37.64        2007 Kate Ziegler (Fish)
    NCAA A Std: A 4:35.76
    NCAA B Std: B 4:47.20
      Name                    Year School               Prelims     Finals Points
  ===============================================================================
  A - Final
    1 Thomas, Lia               SR Penn                 4:41.19    4:37.32P 32
    2 Buroker, Catherine        SO Penn                 4:47.22    4:44.83B 28
    3 Marquardt, Ellie          SO Princeton            4:48.61    4:46.63B 27
    4 Kalandadze, Anna Sofia    JR Penn                 4:46.62    4:47.54   26
    5 Loomis, Ashley            SR Yale                 4:49.24    4:48.72   25
    6 Ganihanova, Aziza         SO Columbia             4:48.60    4:48.88   24
    7 Cavanagh, Erin            FR Harvard              4:47.38    4:49.04   23
    8 Thompson, Mikki           SR Harvard              4:49.99    4:52.59   22
  B - Final
    9 O'Leary, Bridget          JR Penn                 4:50.20    4:47.77   20
   10 Girotto, Amelia           FR Penn                 4:51.87    4:49.88   17
   11 Kim, Junseo               FR Yale                 4:51.64    4:50.20   16
   12 Rose, Carlie              FR Harvard              4:52.20    4:50.26   15
   13 Appleton, Emily           FR Princeton            4:54.10    4:51.66   14
   14 Valdman, Nathalie         SO Princeton            4:52.80    4:51.72   13
   15 Hazlett, Kate             SO Harvard              4:54.05    4:53.53   12
   16 Barrett, Sara             FR Brown                4:52.14    4:54.11   11
  C - Final
   17 Jubin, Olivia             JR Columbia             4:54.85    4:52.20    9
   18 Giddings, Grace           SR Penn                 4:56.83    4:55.91    7
   19 Minnigh, Sarah            JR Dartmouth            4:56.37    4:56.03    6
   20 Antoniuk, Bella           FR Brown                5:00.94    4:56.16    5
   21 Iorini, Maria             SO Brown                4:57.45    4:58.27    4
   22 Mannion, Macey            SO Princeton            5:01.16    4:58.65    3
   23 Orange, Audrey            JR Brown                4:54.30    4:58.68    2
   24 Breiter, Callie           SO Columbia             4:58.56    5:02.20    1

  Event 3 Women 500 Yard Freestyle
  ===============================================================================
   Meet Record: M 4:36.37        2020 Ellie Marquardt (Princeton)
   Pool Record: P 4:37.64        2007 Kate Ziegler (Fish)
    NCAA A Std: A 4:35.76
    NCAA B Std: B 4:47.20
      Name                    Year School                  Seed    Prelims
  ===============================================================================
  Preliminaries
    1 Thomas, Lia               SR Penn                 4:34.06    4:41.19B
    2 Kalandadze, Anna Sofia    JR Penn                 4:47.93    4:46.62B
    3 Buroker, Catherine        SO Penn                 4:58.67    4:47.22
    4 Cavanagh, Erin            FR Harvard              4:47.98    4:47.38
    5 Ganihanova, Aziza         SO Columbia             4:50.71    4:48.60
    6 Marquardt, Ellie          SO Princeton            4:47.28    4:48.61
    7 Loomis, Ashley            SR Yale                 4:52.23    4:49.24
    8 Thompson, Mikki           SR Harvard              5:02.27    4:49.99
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  -------------------------------------------------------------------------
    9 O'Leary, Bridget          JR Penn                 5:03.20    4:50.20
   10 Kim, Junseo               FR Yale                 4:53.98    4:51.64
   11 Girotto, Amelia           FR Penn                 4:55.47    4:51.87
   12 Barrett, Sara             FR Brown                4:52.57    4:52.14
   13 Rose, Carlie              FR Harvard              4:54.43    4:52.20
   14 Valdman, Nathalie         SO Princeton            4:54.31    4:52.80
   15 Hazlett, Kate             SO Harvard              4:56.20    4:54.05
   16 Appleton, Emily           FR Princeton            4:53.07    4:54.10
  -------------------------------------------------------------------------
   17 Orange, Audrey            JR Brown                4:57.48    4:54.30
   18 Jubin, Olivia             JR Columbia             4:57.20    4:54.85
   19 Minnigh, Sarah            JR Dartmouth            5:07.26    4:56.37
   20 Giddings, Grace           SR Penn                 4:54.25    4:56.83
   21 Iorini, Maria             SO Brown                4:58.88    4:57.45
   22 Breiter, Callie           SO Columbia             4:54.27    4:58.56
   23 Antoniuk, Bella           FR Brown                4:53.03    5:00.94
   24 Mannion, Macey            SO Princeton            5:01.01    5:01.16
  -------------------------------------------------------------------------
   25 Caverly, Gillian          SR Cornell              5:22.63    5:01.67
   26 Cianciolo, Christina      SO Dartmouth            5:13.70    5:01.91
  -------------------------------------------------------------------------
   27 Larsen, Clare             SR Columbia             5:02.48    5:03.18
   28 Jiang, Joy                FR Penn                 5:00.53    5:03.66
   29 Danko, Allie              FR Cornell              4:59.45    5:04.34
   30 Peng, Jessica             JR Columbia             5:03.15    5:04.39
   31 Munoz, Aviva              JR Cornell              5:05.35    5:05.77
   32 Durak, Anna               SR Princeton            5:10.71    5:05.81
   33 Pujadas, Riley            FR Columbia             5:08.07    5:06.31
   34 Wiener, Sophie            FR Dartmouth            5:12.46    5:06.97
   35 Barry, Hayden             FR Dartmouth            5:18.17    5:08.40
   36 Maizes, Deedee            SR Cornell              5:11.01    5:10.61

  Event 4 Women 200 Yard IM
  ===============================================================================
   Meet Record: M 1:55.09        2013 Katie Meili (Columbia)
   Pool Record: P 1:57.11        1981 Tracy Caulkins (Nashville)
    NCAA A Std: A 1:53.66
    NCAA B Std: B 1:59.94
      Name                    Year School               Prelims     Finals Points
  ===============================================================================
  A - Final
    1 Shelton, Samantha         JR Harvard              1:59.48    1:58.03B 32
    2 Pasadyn, Felicia          SR Harvard              1:58.86    1:58.25B 28
    3 Whitmire, Liza            SO Princeton            2:00.82    1:59.29B 27
    4 Denisenko, Aleksandra     FR Harvard              2:01.16    2:00.69   26
    5 Jones, Raime              JR Yale                 2:02.28    2:01.24   25
    6 Weng, Vivian              FR Yale                 2:01.64    2:01.90   24
    7 Buckley, Maggie           FR Harvard              2:02.15    2:01.94   23
   -- Yeager, Jess              SO Princeton            1:59.48 DQ 1:58.49
        Head did not break the surface by 15 meters - fly
  B - Final
    9 McDonald, Margaux         SO Princeton            2:02.35    2:01.31   20
   10 Podurgiel, Anna           FR Brown                2:02.41    2:01.65   17
   11 Leko, Mia                 JR Dartmouth            2:02.85    2:02.48   16
   12 Paoletti, Olivia          JR Yale                 2:02.68    2:02.90   15
   13 Chong, Vanessa            FR Penn                 2:02.69    2:03.08   14
   14 Pytel, Isabella           FR Penn                 2:02.41    2:03.31   13
   15 Korbly, Isabella          FR Princeton            2:03.12    2:03.42   12
   16 Boeckman, Anna            FR Penn                 2:02.82    2:03.52   11
  C - Final
   17 Martin, Allison           FR Columbia             2:03.42    2:02.67    9
   18 Lukawski, Audrey          SR Brown                2:03.62    2:02.85    7
   19 Maizes, Rachel            SR Penn                 2:03.66    2:03.06    6
   20 Baldari, Alessandra       SR Yale                 2:03.70    2:03.27    5
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   21   Wang, Vivian                          SR   Princeton     2:03.26     2:03.45     4
   22   Sutter, Olivia                        SO   Cornell       2:04.83     2:03.80     3
   23   Williams, Marie                       SO   Cornell       2:03.92     2:04.56     2
   24   Chen, Jaime                           FR   Princeton     2:05.02     2:06.16     1

  Event 4 Women 200 Yard IM
  ===============================================================================
   Meet Record: M 1:55.09        2013 Katie Meili (Columbia)
   Pool Record: P 1:57.11        1981 Tracy Caulkins (Nashville)
    NCAA A Std: A 1:53.66
    NCAA B Std: B 1:59.94
      Name                    Year School                  Seed    Prelims
  ===============================================================================
  Preliminaries
    1 Pasadyn, Felicia          SR Harvard              2:00.20    1:58.86B
    2 Yeager, Jess              SO Princeton            2:00.86    1:59.48B
    2 Shelton, Samantha         JR Harvard              2:02.16    1:59.48B
    4 Whitmire, Liza            SO Princeton            2:00.54    2:00.82
    5 Denisenko, Aleksandra     FR Harvard              2:01.45    2:01.16
    6 Weng, Vivian              FR Yale                 2:06.74    2:01.64
    7 Buckley, Maggie           FR Harvard              2:02.84    2:02.15
    8 Jones, Raime              JR Yale                 2:02.99    2:02.28
  -------------------------------------------------------------------------
    9 McDonald, Margaux         SO Princeton            2:02.04    2:02.35
   10 Podurgiel, Anna           FR Brown                2:04.52    2:02.41
   10 Pytel, Isabella           FR Penn                 2:02.70    2:02.41
   12 Paoletti, Olivia          JR Yale                 2:04.63    2:02.68
   13 Chong, Vanessa            FR Penn                 2:01.41    2:02.69
   14 Boeckman, Anna            FR Penn                 2:03.23    2:02.82
   15 Leko, Mia                 JR Dartmouth            2:05.81    2:02.85
   16 Korbly, Isabella          FR Princeton            2:05.65    2:03.12
  -------------------------------------------------------------------------
   17 Wang, Vivian              SR Princeton            2:03.18    2:03.26
   18 Martin, Allison           FR Columbia             2:03.22    2:03.42
   19 Lukawski, Audrey          SR Brown                2:04.57    2:03.62
   20 Maizes, Rachel            SR Penn                 2:12.74    2:03.66
   21 Baldari, Alessandra       SR Yale                 2:06.24    2:03.70
   22 Williams, Marie           SO Cornell              2:05.60    2:03.92
   23 Sutter, Olivia            SO Cornell              2:05.53    2:04.83
   24 Chen, Jaime               FR Princeton            2:04.37    2:05.02
  -------------------------------------------------------------------------
   25 Walker, Allegra           SO Columbia             2:03.26    2:05.08
   26 Takabayashi, Miku         SR Brown                2:02.67    2:05.56
  -------------------------------------------------------------------------
   27 Estabrook, Grace          SR Penn                 2:06.02    2:05.65
   28 Unas, Julia               FR Columbia             2:05.91    2:06.03
   29 Laster, Susannah          JR Dartmouth            2:13.66    2:07.73
   30 Chang, Allison            SR Cornell              2:06.88    2:07.96
   31 Petersen, Amanda          FR Cornell              2:09.44    2:09.13
   32 Parker, Bridget           SO Dartmouth            2:17.64    2:09.92
   33 Hu, Ashley                FR Columbia             2:08.24    2:11.17
   34 Moon, Zoe                 FR Dartmouth            2:16.37    2:12.01
   35 Wu, Amy                   SO Cornell              2:13.99    2:13.79
   -- xHeilbrun, Maddie         SR Harvard              2:07.59   X2:06.86

  Event 5 Women 50 Yard Freestyle
  ===============================================================================
   Meet Record: M 21.83        2019 Bella Hindley (Yale)
   Pool Record: P 22.34        2018 Bella Hindley (Yale)
    NCAA A Std: A 21.66
    NCAA B Std: B 22.76
      Name                    Year School                Prelims    Finals Points
  ===============================================================================
  A - Final
    1 Henig, Iszac              JR Yale                    22.17     21.93P 32
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    2   Venema, Nikki                         JR   Princeton       22.65       22.30P   28
    3   Scott, Samantha                       SO   Brown           22.80       22.81    27
    4   Bradley, Christina                    JR   Princeton       23.02       23.02    26
    5   Wortzman, Zoe                         JR   Dartmouth       23.05       23.03    25
    6   Pilkinton, Ophelia                    SO   Yale            23.06       23.05    24
    7   Brenner, Mandy                        FR   Harvard         22.90       23.08    23
    8   Liu, Amelia                           JR   Princeton       23.12       23.30    22
  B -   Final
    9   Wagner, Lindsey                       SO   Yale            23.14       23.12    20
   10   Post, Ashley                          JR   Dartmouth       23.25       23.22    17
   11   Parker, Melissa                       JR   Cornell         23.30       23.30    16
   12   Arevalo, Isabelle                     JR   Columbia        23.44       23.35    15
   13   Macdonald, Emily                      FR   Columbia        23.43       23.39    14
   14   Secrest, Jennifer                     JR   Princeton       23.26       23.42    13
   15   Kaczorowski, Margot                   JR   Penn            23.50       23.44    12
   16   Carter, Camryn                        JR   Penn            23.51       23.46    11
  C -   Final
   17   Willhite, Kellie                      SO   Brown           23.54       23.38     9
   18   Healy, Marissa                        SO   Yale            23.59       23.42     7
   19   Wongso, Priscilla                     SO   Cornell         23.60       23.57     6
   20   Buckley, Marykate                     JR   Yale            23.78       23.69     5
   21   Young, Georgia                        SO   Columbia        23.77       23.79     4
   22   Myers, Andie                          SR   Penn            23.68       23.85     3
   23   Wang, Emily                           SR   Columbia        23.74       23.88     2
   24   Gruvberger, Anna                      SO   Cornell         23.80       23.94     1

  Event 5 Women 50 Yard Freestyle
  ===============================================================================
   Meet Record: M 21.83        2019 Bella Hindley (Yale)
   Pool Record: P 22.34        2018 Bella Hindley (Yale)
    NCAA A Std: A 21.66
    NCAA B Std: B 22.76
      Name                    Year School                  Seed    Prelims
  ===============================================================================
  Preliminaries
    1 Henig, Iszac              JR Yale                   22.05      22.17P
    2 Venema, Nikki             JR Princeton              22.59      22.65B
    3 Scott, Samantha           SO Brown                  23.13      22.80
    4 Brenner, Mandy            FR Harvard                22.91      22.90
    5 Bradley, Christina        JR Princeton              22.81      23.02
    6 Wortzman, Zoe             JR Dartmouth              23.82      23.05
    7 Pilkinton, Ophelia        SO Yale                   23.06      23.06
    8 Liu, Amelia               JR Princeton              23.06      23.12
  -------------------------------------------------------------------------
    9 Wagner, Lindsey           SO Yale                   23.39      23.14
   10 Post, Ashley              JR Dartmouth              23.72      23.25
   11 Secrest, Jennifer         JR Princeton              23.61      23.26
   12 Parker, Melissa           JR Cornell                23.15      23.30
   13 Macdonald, Emily          FR Columbia               23.38      23.43
   14 Arevalo, Isabelle         JR Columbia               23.21      23.44
   15 Kaczorowski, Margot       JR Penn                   23.44      23.50
   16 Carter, Camryn            JR Penn                   23.84      23.51
  -------------------------------------------------------------------------
   17 Willhite, Kellie          SO Brown                  23.51      23.54
   18 Healy, Marissa            SO Yale                   23.33      23.59
   19 Wongso, Priscilla         SO Cornell                23.39      23.60
   20 Myers, Andie              SR Penn                   24.31      23.68
   21 Wang, Emily               SR Columbia               23.57      23.74
   22 Young, Georgia            SO Columbia               23.84      23.77
   23 Buckley, Marykate         JR Yale                   25.14      23.78
   24 Gruvberger, Anna          SO Cornell                23.69      23.80
  -------------------------------------------------------------------------
   25 Bullock, Addie Rose       SO Harvard                23.41      23.86
   26 Matsushima, Sage          JR Brown                  24.27      23.87
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   27   Moesch, Marlise                       SR   Yale            24.56       24.05
   28   Zhang, Tori                           FR   Cornell         24.19       24.09
   29   Tsai, Sophia                          FR   Cornell         23.93       24.18
   30   Zhang, Connie                         JR   Dartmouth       25.03       24.39
   31   Syrkin, Alex                          FR   Cornell         24.65       24.50
   32   Wong, Anthea                          FR   Columbia        24.00       24.53
   33   Zwart, Eleanor                        JR   Dartmouth       24.92       24.63
   34   Zhang, Rachel                         FR   Dartmouth       24.80       24.74
   35   Van Steyn, Kenna                      SR   Dartmouth       27.17       25.18
   36   Kramer, Katherine                     FR   Dartmouth       25.70       25.95
   37   Hamlen, Izzy                          FR   Dartmouth       25.89       26.00
   --   xLe, Tina                             JR   Columbia        23.77      X24.20
   --   xOhr, Joelle                          SO   Cornell         24.25      X24.37

  Event 6 Women 1 mtr Diving
  ===============================================================================
   Meet Record: M 314.20        2016 Mikaela Thompson (Harvard)
   Pool Record: P 324.15        1987 Jenny Greene (Harvard)
    NCAA A Std: A 265.00
      Name                    Year School               Prelims     Finals Points
  ===============================================================================
  A - Final
    1 Laverty, Katie            FR Harvard               246.55     288.15A 32
    2 Herculano, Morgane        SR Harvard               272.95     282.95A 28
    3 Lawrence, Esther          SR Harvard               269.15     274.55A 27
    4 Edvalson, Remi            FR Harvard               257.45     268.45A 26
    5 Francella, Olivia         JR Penn                  247.05     254.45   25
    6 Geier, Evie               JR Harvard               259.40     249.45   23.5
    6 Diakova, Alice            SO Columbia              245.95     249.45   23.5
    8 Seltzer, Maddie           FR Princeton             252.15     242.75   22
  B - Final
    9 Henderson, Hayden         FR Yale                  243.80     266.85A 20
   10 Lichen, Isabella          JR Dartmouth             244.95     261.85   17
   11 Jendritz, Elise           JR Cornell               245.10     261.55   16
   12 Wotovich, Amy             FR Harvard               239.45     252.00   15
   13 Mitchell, Liv             SR Brown                 239.40     249.95   14
   14 Williams, Demetra         SR Cornell               242.60     245.40   13
   15 Milne, Georgi             SR Harvard               240.55     242.95   12
   16 Rosendalh, Brighida       SR Columbia              240.40     239.70   11

  Event 6 Women 1 mtr Diving
  ===============================================================================
   Meet Record: M 314.20        2016 Mikaela Thompson (Harvard)
   Pool Record: P 324.15        1987 Jenny Greene (Harvard)
    NCAA A Std: A 265.00
      Name                    Year School                   Seed   Prelims
  ===============================================================================
  Preliminaries
    1 Herculano, Morgane        SR Harvard               291.80     272.95A
    2 Lawrence, Esther          SR Harvard               284.48     269.15A
    3 Geier, Evie               JR Harvard               281.63     259.40
    4 Edvalson, Remi            FR Harvard               286.43     257.45
    5 Seltzer, Maddie           FR Princeton             279.80     252.15
    6 Francella, Olivia         JR Penn                  264.60     247.05
    7 Laverty, Katie            FR Harvard               285.98     246.55
    8 Diakova, Alice            SO Columbia              294.68     245.95
    9 Jendritz, Elise           JR Cornell               289.35     245.10
   10 Lichen, Isabella          JR Dartmouth             292.10     244.95
   11 Henderson, Hayden         FR Yale                  291.50     243.80
   12 Williams, Demetra         SR Cornell               286.58     242.60
   13 Milne, Georgi             SR Harvard               266.00     240.55
   14 Rosendalh, Brighida       SR Columbia              268.43     240.40
   15 Wotovich, Amy             FR Harvard               298.05     239.45
   16 Mitchell, Liv             SR Brown                 285.08     239.40
   17 Feord, Julia              JR Brown                 277.80     236.20
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   18   Lee, Michelle                         SR   Columbia       274.73      234.80
   19   Miclau, Elizabeth                     SO   Harvard        273.98      229.55
   20   Johnsson-Stjernstrom, Ha              SO   Princeton      251.35      224.80
   21   Palacios, Alyssa                      FR   Dartmouth      288.45      219.40
   22   Thibodeau, Genevieve                  FR   Yale           266.85      218.10
   23   Chin, Audrey                          SO   Harvard        240.00      216.95
   24   Brinker, Alexa                        FR   Brown          267.15      206.25
   25   Singh, Ishani                         SO   Yale           241.70      202.30
   26   Shao, Stephanie                       FR   Yale           306.75      198.95
   27   Parker, Madeleine                     FR   Penn           234.38      197.40
   28   Ennis, Maya                           FR   Yale           269.25      190.15
   29   Stein, Samantha                       SO   Penn           216.52      163.35
   30   Jin, Laurel                           FR   Yale           272.33      149.85

  Event 7 Women 200 Yard Freestyle Relay
  ===============================================================================
   Meet Record: M 1:29.69         2017 Yale
                            B. Hindley, K. Rogers, M. Zimmerman, K. Zhou
   Pool Record: P 1:30.50         2018 Harvard
                            M. Colby, I. Wall, J. Li, M. Dahlke
    NCAA A Std: A 1:28.43
    NCAA B Std: B 1:29.21
      School                                                  Seed   Finals Points
  ===============================================================================
    1 Yale University                                     1:30.14   1:29.66M 64
       1) Henig, Iszac JR                   2) Wagner, Lindsey SO
       3) Pilkinton, Ophelia SO             4) Healy, Marissa SO
    2 Princeton University                                1:31.22   1:30.38P 56
       1) Bradley, Christina JR             2) Liu, Amelia JR
       3) Venema, Nikki JR                  4) Secrest, Jennifer JR
    3 Harvard University                                  1:32.48   1:31.90   54
       1) Brenner, Mandy FR                 2) Shelton, Samantha JR
       3) Bullock, Addie Rose SO            4) Hamlin, Molly FR
    4 University of Pennsylvania                          1:33.67   1:32.45   52
       1) Kaczorowski, Margot JR            2) Thomas, Lia SR
       3) Kannan, Hannah SR                 4) Carter, Camryn JR
    5 Brown University                                    1:33.70   1:32.75   50
       1) Scott, Samantha SO                2) Reznicek, Jenna FR
       3) Willhite, Kellie SO               4) Matsushima, Sage JR
    6 Columbia University                                 1:33.69   1:32.97   48
       1) Wang, Emily SR                    2) Macdonald, Emily FR
       3) Young, Georgia SO                 4) Arevalo, Isabelle JR
    7 Dartmouth College                                   1:36.75   1:33.08   46
       1) Wortzman, Zoe JR                  2) Post, Ashley JR
       3) Wiener, Sophie FR                 4) Leko, Mia JR
    8 Cornell University                                  1:33.64   1:33.86   44
       1) Wongso, Priscilla SO              2) Zhang, Tori FR
       3) Gruvberger, Anna SO               4) Parker, Melissa JR

  Event 8 Women 1000 Yard Freestyle
  ===============================================================================
   Meet Record: M 9:33.43        2008 Alicia Aemisegger (Princeton)
   Pool Record: P 9:28.49        2007 Kate Ziegler (Fish)
      Name                    Year School                  Seed      Finals Points
  ===============================================================================
    1 Buroker, Catherine        SO Penn                 9:56.25     9:43.54   32
    2 Kalandadze, Anna Sofia    JR Penn                 9:48.15     9:50.05   28
    3 Ganihanova, Aziza         SO Columbia            10:04.73     9:53.92   27
    4 Giddings, Grace           SR Penn                 9:58.45     9:57.15   26
    5 Loomis, Ashley            SR Yale                 9:58.46     9:57.92   25
    6 Barrett, Sara             FR Brown               10:01.75     9:58.96   24
    7 Rose, Carlie              FR Harvard             10:14.20     9:59.40   23
    8 Girotto, Amelia           FR Penn                10:06.22   10:02.02    22
    9 Ruppert-Gomez, Marcella   JR Harvard             10:11.87   10:02.70    20
   10 Valdman, Nathalie         SO Princeton           10:04.03   10:07.62    17
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   11   Minnigh, Sarah                        JR   Dartmouth    10:39.27    10:08.65    16
   12   Yoon, Grace                           FR   Harvard      10:23.13    10:10.22    15
   13   Paoletti, Isabella                    FR   Yale         10:12.35    10:12.51    14
   14   Cianciolo, Christina                  SO   Dartmouth    10:43.39    10:14.50    13
   15   Danko, Allie                          FR   Cornell      10:16.26    10:15.13    12
   16   Antoniuk, Bella                       FR   Brown        10:13.97    10:18.05    11
   17   Mannion, Macey                        SO   Princeton    10:22.26    10:19.39     9
   18   Takabayashi, Miku                     SR   Brown        10:36.64    10:19.97     7
   19   Jiang, Joy                            FR   Penn               NT    10:20.06     6
   20   Maizes, Deedee                        SR   Cornell      10:41.76    10:33.72     5
   21   Barry, Hayden                         FR   Dartmouth    10:56.19    10:41.50     4

  Event 9 Women 400 Yard IM
  ===============================================================================
   Meet Record: M 4:06.15        2009 Alicia Aemisegger (Princeton)
   Pool Record: P 4:04.63        1981 Tracy Caulkins (Nashville)
    NCAA A Std: A 4:03.62
    NCAA B Std: B 4:17.30
      Name                    Year School               Prelims      Finals Points
  ===============================================================================
  A - Final
    1 Pasadyn, Felicia          SR Harvard              4:13.45     4:10.45B 32
    2 Thompson, Mikki           SR Harvard              4:13.86     4:14.14B 28
    3 Pruden, Mary              SR Columbia             4:17.22     4:15.00B 27
    4 Marquardt, Ellie          SO Princeton            4:17.60     4:16.15B 26
    5 Cavanagh, Erin            FR Harvard              4:17.17     4:16.24B 25
    6 Yeager, Jess              SO Princeton            4:16.99     4:17.94   24
    7 Paoletti, Olivia          JR Yale                 4:18.70     4:18.48   23
    8 Paoletti, Isabella        FR Yale                 4:18.85     4:25.46   22
  B - Final
    9 Hazlett, Kate             SO Harvard              4:18.88     4:16.05B 20
   10 Whitmire, Liza            SO Princeton            4:21.91     4:18.19   17
   11 Appleton, Emily           FR Princeton            4:20.30     4:18.27   16
   12 Kim, Junseo               FR Yale                 4:20.80     4:18.82   15
   13 Yoon, Grace               FR Harvard              4:19.01     4:18.91   14
   14 Boeckman, Anna            FR Penn                 4:20.63     4:20.00   13
   15 Buckley, Maggie           FR Harvard              4:21.72     4:22.17   12
   16 Boyer, Liz                JR Harvard              4:22.72     4:23.78   11
  C - Final
   17 Clements, Emily           SO Brown                4:23.22     4:19.20    9
   18 Brault, Ellie             FR Brown                4:24.44     4:20.44    7
   19 Whall, Emma               SR Brown                4:27.84     4:22.53    6
   20 Sutter, Olivia            SO Cornell              4:23.28     4:22.75    5
   21 Williams, Marie           SO Cornell              4:31.17     4:26.58    4
   22 Unas, Julia               FR Columbia             4:34.02     4:30.43    3
   23 Ruppert-Gomez, Marcella   JR Harvard              4:28.71     4:34.33    2
   24 Parker, Bridget           SO Dartmouth            4:37.68     4:40.15    1

  Event 9 Women 400 Yard IM
  ===============================================================================
   Meet Record: M 4:06.15        2009 Alicia Aemisegger (Princeton)
   Pool Record: P 4:04.63        1981 Tracy Caulkins (Nashville)
    NCAA A Std: A 4:03.62
    NCAA B Std: B 4:17.30
      Name                    Year School                  Seed     Prelims
  ===============================================================================
  Preliminaries
    1 Pasadyn, Felicia          SR Harvard              4:13.82     4:13.45B
    2 Thompson, Mikki           SR Harvard              4:25.40     4:13.86B
    3 Yeager, Jess              SO Princeton                 NT     4:16.99B
    4 Cavanagh, Erin            FR Harvard              4:13.69     4:17.17B
    5 Pruden, Mary              SR Columbia             4:18.92     4:17.22B
    6 Marquardt, Ellie          SO Princeton            4:13.99     4:17.60
    7 Paoletti, Olivia          JR Yale                 4:18.97     4:18.70
    8 Paoletti, Isabella        FR Yale                 4:25.22     4:18.85
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  -------------------------------------------------------------------------
    9 Hazlett, Kate             SO Harvard              4:17.49    4:18.88
   10 Yoon, Grace               FR Harvard                   NT    4:19.01
   11 Appleton, Emily           FR Princeton            4:18.41    4:20.30
   12 Boeckman, Anna            FR Penn                 4:25.02    4:20.63
   13 Kim, Junseo               FR Yale                 4:25.08    4:20.80
   14 Buckley, Maggie           FR Harvard              4:22.18    4:21.72
   15 Whitmire, Liza            SO Princeton            4:19.77    4:21.91
   16 Boyer, Liz                JR Harvard              4:23.09    4:22.72
  -------------------------------------------------------------------------
   17 Clements, Emily           SO Brown                4:27.06    4:23.22
   18 Sutter, Olivia            SO Cornell              4:26.60    4:23.28
   19 Brault, Ellie             FR Brown                4:25.15    4:24.44
   20 Whall, Emma               SR Brown                4:33.38    4:27.84
   21 Ruppert-Gomez, Marcella   JR Harvard              4:30.90    4:28.71
   22 Williams, Marie           SO Cornell              4:29.96    4:31.17
   23 Unas, Julia               FR Columbia             4:28.67    4:34.02
   24 Parker, Bridget           SO Dartmouth            4:53.56    4:37.68
  -------------------------------------------------------------------------
   25 Petersen, Amanda          FR Cornell              4:34.69    4:37.93

  Event 10 Women 100 Yard Butterfly
  ===============================================================================
   Meet Record: M 51.57        2013 Alex Forrester (Yale)
   Pool Record: P 51.89        2018 Miki Dahlke (Harvard)
    NCAA A Std: A 50.92
    NCAA B Std: B 53.76
      Name                    Year School               Prelims     Finals Points
  ===============================================================================
  A - Final
    1 Venema, Nikki             JR Princeton              53.63      52.42B 32
    2 Carr, Abigail             FR Harvard                53.86      52.69B 28
    3 Henig, Iszac              JR Yale                   53.53      52.82B 27
    4 Massey, Alexandra         FR Yale                   53.73      53.59B 26
    5 Chidley, Nell             JR Brown                  54.56      54.00   25
    6 Reznicek, Jenna           FR Brown                  54.00      54.08   24
    7 Bradley, Christina        JR Princeton              54.39      54.16   23
    8 Matsushima, Sage          JR Brown                  54.63      54.64   22
  B - Final
    9 Pilkinton, Ophelia        SO Yale                   54.83      54.33   20
   10 Myers, Andie              SR Penn                   54.84      54.56   17
   11 Kannan, Hannah            SR Penn                   54.76      54.74   15.5
   11 Chong, Vanessa            FR Penn                   54.79      54.74   15.5
   13 Murphy, Quinn             FR Yale                   55.15      54.87   14
   14 Secrest, Jennifer         JR Princeton              55.06      54.94   13
   15 Bilgin, Zehra             FR Brown                  54.83      54.97   12
   16 Wang, Emily               SR Columbia               55.01      55.26   11
  C - Final
   17 Brenner, Mandy            FR Harvard                55.42      54.48    9
   18 Martin, Allison           FR Columbia               55.25      55.05    7
   19 Baldari, Alessandra       SR Yale                   55.19      55.24    6
   20 Peng, Jessica             JR Columbia               55.36      55.25    5
   21 Howley, Mary              FR Dartmouth              55.57      55.42    4
   22 Chen, Jaime               FR Princeton              55.57      55.43    3
   23 Pappas, Alexa             FR Princeton              55.44      56.02    2
   24 Gruvberger, Anna          SO Cornell                55.65      56.50    1

  Event 10 Women 100 Yard Butterfly
  ===============================================================================
   Meet Record: M 51.57        2013 Alex Forrester (Yale)
   Pool Record: P 51.89        2018 Miki Dahlke (Harvard)
    NCAA A Std: A 50.92
    NCAA B Std: B 53.76
      Name                    Year School                  Seed    Prelims
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  Preliminaries
    1 Henig, Iszac              JR Yale                      NT      53.53B
    2 Venema, Nikki             JR Princeton              52.64      53.63B
    3 Massey, Alexandra         FR Yale                   54.41      53.73B
    4 Carr, Abigail             FR Harvard                53.00      53.86
    5 Reznicek, Jenna           FR Brown                  54.05      54.00
    6 Bradley, Christina        JR Princeton              53.41      54.39
    7 Chidley, Nell             JR Brown                  54.65      54.56
    8 Matsushima, Sage          JR Brown                  55.13      54.63
  -------------------------------------------------------------------------
    9 Kannan, Hannah            SR Penn                   55.22      54.76
   10 Chong, Vanessa            FR Penn                   54.67      54.79
   11 Bilgin, Zehra             FR Brown                  55.38      54.83
   11 Pilkinton, Ophelia        SO Yale                      NT      54.83
   13 Myers, Andie              SR Penn                   55.62      54.84
   14 Wang, Emily               SR Columbia               54.62      55.01
   15 Secrest, Jennifer         JR Princeton              54.99      55.06
   16 Murphy, Quinn             FR Yale                   56.16      55.15
  -------------------------------------------------------------------------
   17 Baldari, Alessandra       SR Yale                   55.06      55.19
   18 Martin, Allison           FR Columbia               55.70      55.25
   19 Peng, Jessica             JR Columbia               55.06      55.36
   20 Brenner, Mandy            FR Harvard                55.83      55.42
   21 Pappas, Alexa             FR Princeton              54.81      55.44
   22 Chen, Jaime               FR Princeton              55.20      55.57
   22 Howley, Mary              FR Dartmouth              57.37      55.57
   24 Gruvberger, Anna          SO Cornell                55.81      55.65
  -------------------------------------------------------------------------
   25 Healy, Marissa            SO Yale                   54.95      55.69
   26 Wong, Anthea              FR Columbia               55.62      55.77
  -------------------------------------------------------------------------
   27 Waterson, Rebecca         FR Brown                  56.46      56.23
   28 Macdonald, Emily          FR Columbia               56.44      56.50
   29 Hailu, Hannah             FR Columbia               56.50      56.64
   30 Wortzman, Zoe             JR Dartmouth                 NT      57.46
   31 Zhang, Tori               FR Cornell                56.82      57.76
   -- xRippon, Caylene          SR Brown                  56.73     X56.40
   -- xNewnam, Anna             SR Penn                   56.69     X56.94

  Event 11 Women 200 Yard Freestyle
  ===============================================================================
   Meet Record: M 1:43.78        2020 Miki Dahlke (Harvard)
   Pool Record: P 1:45.00        2018 Miki Dahlke (Harvard)
    NCAA A Std: A 1:42.98
    NCAA B Std: B 1:47.12
      Name                    Year School               Prelims     Finals Points
  ===============================================================================
  A - Final
    1 Thomas, Lia               SR Penn                 1:44.91    1:43.12M 32
    2 Shelton, Samantha         JR Harvard              1:47.42    1:45.82B 28
    3 Hamlin, Molly             FR Harvard              1:46.66    1:47.33   27
    4 Post, Ashley              JR Dartmouth            1:48.09    1:47.48   26
    5 Moesch, Marlise           SR Yale                 1:48.25    1:48.09   25
    6 O'Leary, Bridget          JR Penn                 1:48.79    1:48.29   24
    7 Kaczorowski, Margot       JR Penn                 1:48.48    1:48.73   23
    8 Leko, Mia                 JR Dartmouth            1:47.96    1:49.29   22
  B - Final
    9 Jones, Raime              JR Yale                 1:48.89    1:48.17   20
   10 Weng, Vivian              FR Yale                 1:49.56    1:48.48   17
   11 Podurgiel, Anna           FR Brown                1:48.94    1:49.17   16
   12 Parker, Melissa           JR Cornell              1:50.45    1:50.01   15
   13 Breiter, Callie           SO Columbia             1:50.56    1:50.18   14
   14 Liu, Amelia               JR Princeton            1:51.63    1:50.19   13
   15 Carter, Camryn            JR Penn                 1:49.93    1:50.27   12
   16 Jubin, Olivia             JR Columbia             1:51.34    1:50.30   11
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  C -   Final
   17   Orange, Audrey                        JR   Brown          1:51.64     1:51.80     9
   18   Valdman, Nathalie                     SO   Princeton      1:52.62     1:52.14     7
   19   Wiener, Sophie                        FR   Dartmouth      1:52.17     1:52.36     6
   20   Syrkin, Alex                          FR   Cornell        1:52.28     1:52.43     5
   21   Iorini, Maria                         SO   Brown          1:54.09     1:52.56     4
   22   DuPont, Schuyler                      FR   Cornell        1:52.94     1:52.60     3
   23   Young, Georgia                        SO   Columbia       1:53.54     1:53.03     2
   24   Larsen, Clare                         SR   Columbia       1:52.88     1:53.32     1

  Event 11 Women 200 Yard Freestyle
  ===============================================================================
   Meet Record: M 1:43.78        2020 Miki Dahlke (Harvard)
   Pool Record: P 1:45.00        2018 Miki Dahlke (Harvard)
    NCAA A Std: A 1:42.98
    NCAA B Std: B 1:47.12
      Name                    Year School                   Seed   Prelims
  ===============================================================================
  Preliminaries
    1 Thomas, Lia               SR Penn                 1:41.93    1:44.91P
    2 Hamlin, Molly             FR Harvard              1:49.44    1:46.66B
    3 Shelton, Samantha         JR Harvard              1:50.63    1:47.42
    4 Leko, Mia                 JR Dartmouth            1:50.64    1:47.96
    5 Post, Ashley              JR Dartmouth            1:52.39    1:48.09
    6 Moesch, Marlise           SR Yale                 1:48.65    1:48.25
    7 Kaczorowski, Margot       JR Penn                 1:55.27    1:48.48
    8 O'Leary, Bridget          JR Penn                 1:49.56    1:48.79
  -------------------------------------------------------------------------
    9 Jones, Raime              JR Yale                 1:49.51    1:48.89
   10 Podurgiel, Anna           FR Brown                1:49.88    1:48.94
   11 Weng, Vivian              FR Yale                 1:50.06    1:49.56
   12 Carter, Camryn            JR Penn                 1:54.78    1:49.93
   13 Parker, Melissa           JR Cornell              1:49.61    1:50.45
   14 Breiter, Callie           SO Columbia             1:50.17    1:50.56
   15 Jubin, Olivia             JR Columbia             1:49.42    1:51.34
   16 Liu, Amelia               JR Princeton            1:50.03    1:51.63
  -------------------------------------------------------------------------
   17 Orange, Audrey            JR Brown                1:51.69    1:51.64
   18 Wiener, Sophie            FR Dartmouth            1:54.59    1:52.17
   19 Syrkin, Alex              FR Cornell              1:51.40    1:52.28
   20 Valdman, Nathalie         SO Princeton            1:49.84    1:52.62
   21 Larsen, Clare             SR Columbia             1:52.12    1:52.88
   22 DuPont, Schuyler          FR Cornell              1:53.03    1:52.94
   23 Young, Georgia            SO Columbia             1:52.34    1:53.54
   24 Iorini, Maria             SO Brown                1:52.75    1:54.09
  -------------------------------------------------------------------------
   25 Durak, Anna               SR Princeton            1:54.60    1:54.31
   26 Arevalo, Isabelle         JR Columbia             1:52.73    1:54.53
  -------------------------------------------------------------------------
   27 Scott, Samantha           SO Brown                1:58.52    1:55.56
   28 Sih, Angelica             SO Cornell              1:53.67    1:55.99
   29 Maizes, Deedee            SR Cornell              1:54.84    1:57.23
   -- xLe, Tina                 JR Columbia             1:53.14   X1:52.41

  Event 12 Women 100 Yard Breaststroke
  ===============================================================================
   Meet Record: M   58.44        2013 Katie Meili (Columbia)
   Pool Record: P   59.64        2012 Katie Meili (Columbia)
    NCAA A Std: A   58.46
    NCAA B Std: B 1:01.84
      Name                    Year School               Prelims     Finals Points
  ===============================================================================
  A - Final
    1 Denisenko, Aleksandra     FR Harvard              1:01.57    1:00.96B 32
    2 Buckley, Marykate         JR Yale                 1:02.48    1:01.69B 28
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    3   Franks, Ava                           FR   Yale           1:02.32     1:01.96   27
    4   McDonald, Margaux                     SO   Princeton      1:02.21     1:02.48   26
    5   Maizes, Rachel                        SR   Penn           1:02.50     1:02.76   25
    6   Pytel, Isabella                       FR   Penn           1:02.77     1:02.88   24
    7   Estabrook, Grace                      SR   Penn           1:02.46     1:03.07   23
    8   Willhite, Kellie                      SO   Brown          1:02.88     1:03.20   22
  B -   Final
    9   Lukawski, Audrey                      SR   Brown          1:03.27     1:02.76   20
   10   Brault, Ellie                         FR   Brown          1:04.23     1:03.05   17
   11   Hu, Ashley                            FR   Columbia       1:03.60     1:03.30   16
   12   Boyer, Liz                            JR   Harvard        1:03.66     1:03.47   15
   13   Liu, Hannah                           FR   Penn           1:03.45     1:03.57   14
   14   Walker, Allegra                       SO   Columbia       1:03.42     1:04.15   13
   15   Wang, Vivian                          SR   Princeton      1:03.53     1:04.23   12
   16   Wu, Amy                               SO   Cornell        1:05.07     1:04.76   11
  C -   Final
   17   Tsai, Sophia                          FR   Cornell        1:05.20     1:04.44     9
   18   Chang, Allison                        SR   Cornell        1:06.04     1:05.11     7
   19   Van Steyn, Kenna                      SR   Dartmouth      1:05.17     1:05.65     6
   20   Zhang, Rachel                         FR   Dartmouth      1:07.44     1:07.66     5

  Event 12 Women 100 Yard Breaststroke
  ===============================================================================
   Meet Record: M    58.44       2013 Katie Meili (Columbia)
   Pool Record: P    59.64       2012 Katie Meili (Columbia)
    NCAA A Std: A    58.46
    NCAA B Std: B 1:01.84
      Name                    Year School                  Seed    Prelims
  ===============================================================================
  Preliminaries
    1 Denisenko, Aleksandra     FR Harvard              1:02.54    1:01.57B
    2 McDonald, Margaux         SO Princeton            1:02.46    1:02.21
    3 Franks, Ava               FR Yale                 1:01.47    1:02.32
    4 Estabrook, Grace          SR Penn                 1:02.96    1:02.46
    5 Buckley, Marykate         JR Yale                 1:01.82    1:02.48
    6 Maizes, Rachel            SR Penn                 1:03.79    1:02.50
    7 Pytel, Isabella           FR Penn                 1:02.66    1:02.77
    8 Willhite, Kellie          SO Brown                1:03.29    1:02.88
  -------------------------------------------------------------------------
    9 Lukawski, Audrey          SR Brown                1:03.58    1:03.27
   10 Walker, Allegra           SO Columbia             1:02.76    1:03.42
   11 Liu, Hannah               FR Penn                 1:02.17    1:03.45
   12 Wang, Vivian              SR Princeton            1:02.17    1:03.53
   13 Hu, Ashley                FR Columbia             1:03.18    1:03.60
   14 Boyer, Liz                JR Harvard              1:03.48    1:03.66
   15 Brault, Ellie             FR Brown                1:03.39    1:04.23
   16 Wu, Amy                   SO Cornell              1:06.38    1:05.07
  -------------------------------------------------------------------------
   17 Van Steyn, Kenna          SR Dartmouth            1:07.61    1:05.17
   18 Tsai, Sophia              FR Cornell              1:05.99    1:05.20
   19 Chang, Allison            SR Cornell              1:05.13    1:06.04
   20 Zhang, Rachel             FR Dartmouth            1:08.08    1:07.44
   -- xRippon, Caylene          SR Brown                     NT   X1:06.14
   -- xOhr, Joelle              SO Cornell              1:09.19   X1:09.36

  Event 13 Women 100 Yard Backstroke
  ===============================================================================
   Meet Record: M 52.34        2019 Bella Hindley (Yale)
   Pool Record: P 52.45        2018 Heidi Vanderwel (Yale)
    NCAA A Std: A 50.93
    NCAA B Std: B 53.94
      Name                    Year School                Prelims    Finals Points
  ===============================================================================
  A - Final
    1 Reznicek, Jenna           FR Brown                   52.43     52.94B 32
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    2   Korbly, Isabella                      FR   Princeton        53.85       53.88B   28
    3   Wagner, Lindsey                       SO   Yale             54.66       54.36    27
    4   Hamlin, Molly                         FR   Harvard          54.25       54.38    26
    5   Kannan, Hannah                        SR   Penn             53.76       54.42    25
    6   Murphy, Quinn                         FR   Yale             54.72       54.54    24
    7   Pappas, Alexa                         FR   Princeton        55.04       55.23    23
    8   Bullock, Addie Rose                   SO   Harvard          55.20       55.30    22
  B -   Final
    9   Carr, Abigail                         FR   Harvard          55.42       54.20    20
   10   Matsushima, Sage                      JR   Brown            55.66       55.60    17
   11   Pruden, Mary                          SR   Columbia         55.47       55.62    16
   12   Howley, Mary                          FR   Dartmouth        56.28       55.76    15
   13   Clements, Emily                       SO   Brown            56.40       56.01    13.5
   13   Waterson, Rebecca                     FR   Brown            56.22       56.01    13.5
   15   Munoz, Aviva                          JR   Cornell          56.02       56.45    12
   16   Caverly, Gillian                      SR   Cornell          56.58       56.92    11
  C -   Final
   17   Laster, Susannah                      JR   Dartmouth        57.42       56.31     9
   18   Pujadas, Riley                        FR   Columbia         56.68       56.47     7
   19   Hamlen, Izzy                          FR   Dartmouth        56.92       56.76     6
   20   Hailu, Hannah                         FR   Columbia         57.07       57.05     5
   21   Zhang, Connie                         JR   Dartmouth        57.60       57.50     4
   22   Sih, Angelica                         SO   Cornell          57.99       58.07     3
   23   Zwart, Eleanor                        JR   Dartmouth        57.77       58.15     2
   24   Kramer, Katherine                     FR   Dartmouth        59.36       58.67     1

  Event 13 Women 100 Yard Backstroke
  ===============================================================================
   Meet Record: M 52.34        2019 Bella Hindley (Yale)
   Pool Record: P 52.45        2018 Heidi Vanderwel (Yale)
    NCAA A Std: A 50.93
    NCAA B Std: B 53.94
      Name                    Year School                   Seed   Prelims
  ===============================================================================
  Preliminaries
    1 Reznicek, Jenna           FR Brown                   52.94     52.43P
    2 Kannan, Hannah            SR Penn                    54.71     53.76B
    3 Korbly, Isabella          FR Princeton               55.45     53.85B
    4 Hamlin, Molly             FR Harvard                 54.43     54.25
    5 Wagner, Lindsey           SO Yale                    53.58     54.66
    6 Murphy, Quinn             FR Yale                    54.64     54.72
    7 Pappas, Alexa             FR Princeton               54.39     55.04
    8 Bullock, Addie Rose       SO Harvard                 55.35     55.20
  -------------------------------------------------------------------------
    9 Carr, Abigail             FR Harvard                 54.65     55.42
   10 Pruden, Mary              SR Columbia                55.68     55.47
   11 Matsushima, Sage          JR Brown                   56.67     55.66
   12 Munoz, Aviva              JR Cornell                 56.73     56.02
   13 Waterson, Rebecca         FR Brown                   56.34     56.22
   14 Howley, Mary              FR Dartmouth               57.52     56.28
   15 Clements, Emily           SO Brown                   56.48     56.40
   16 Caverly, Gillian          SR Cornell                 56.90     56.58
  -------------------------------------------------------------------------
   17 Pujadas, Riley            FR Columbia                56.62     56.68
   18 Hamlen, Izzy              FR Dartmouth               59.52     56.92
   19 Hailu, Hannah             FR Columbia                57.30     57.07
   20 Laster, Susannah          JR Dartmouth               59.81     57.42
   21 Zhang, Connie             JR Dartmouth               59.25     57.60
   22 Zwart, Eleanor            JR Dartmouth               59.22     57.77
   23 Sih, Angelica             SO Cornell                 57.09     57.99
   24 Kramer, Katherine         FR Dartmouth             1:00.41     59.36
  -------------------------------------------------------------------------
   25 Moon, Zoe                 FR Dartmouth             1:00.77     59.83
   -- xMoore, Sophia            FR Yale                    56.13    X56.08
   -- xNewnam, Anna             SR Penn                       NT    X59.62
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  Event 14 Women 400 Yard Medley Relay
  ===============================================================================
   Meet Record: M 3:32.72         2020 Harvard
                            F. Pasadyn, J. Yegher, M. Dahlke, K. Quist
   Pool Record: P 3:34.22         2018 Yale
                            H. Vanderwel, C. O'Leary, M. Zimmerman, B. Hindley
    NCAA A Std: A 3:31.66
    NCAA B Std: B 3:33.78
      School                                                  Seed    Finals Points
  ===============================================================================
    1 Yale University                                     3:37.49    3:36.10   64
       1) Wagner, Lindsey SO                2) Buckley, Marykate JR
       3) Massey, Alexandra FR              4) Henig, Iszac JR
    2 Princeton University                                3:39.60    3:38.63   56
       1) Korbly, Isabella FR               2) McDonald, Margaux SO
       3) Venema, Nikki JR                  4) Bradley, Christina JR
    3 Brown University                                    3:43.62    3:41.72   54
       1) Reznicek, Jenna FR                2) Lukawski, Audrey SR
       3) Chidley, Nell JR                  4) Scott, Samantha SO
    4 University of Pennsylvania                          3:40.97    3:41.87   52
       1) Kannan, Hannah SR                 2) Estabrook, Grace SR
       3) Chong, Vanessa FR                 4) Thomas, Lia SR
    5 Columbia University                                 3:46.55    3:44.25   50
       1) Ganihanova, Aziza SO              2) Walker, Allegra SO
       3) Wang, Emily SR                    4) Macdonald, Emily FR
    6 Dartmouth College                                   3:51.77    3:45.35   48
       1) Howley, Mary FR                   2) Van Steyn, Kenna SR
       3) Leko, Mia JR                      4) Post, Ashley JR
    7 Cornell University                                  3:50.79    3:48.25   46
       1) Munoz, Aviva JR                   2) Wu, Amy SO
       3) Gruvberger, Anna SO               4) Wongso, Priscilla SO
   -- Harvard University                                  3:40.88 DQ 3:35.82
        Early take-off swimmer #3
       1) Pasadyn, Felicia SR               2) Denisenko, Aleksandra FR
       3) Carr, Abigail FR                  4) Brenner, Mandy FR

  Event 15 Women 1650 Yard Freestyle
  ===============================================================================
   Meet Record: M 15:57.34        2009 Alicia Aemisegger (Princeton)
   Pool Record: P 15:50.23        1981 Kim Linehan (Longhorn)
    NCAA A Std: A 15:52.41
    NCAA B Std: B 16:30.59
      Name                    Year School                  Seed      Finals Points
  ===============================================================================
    1 Buroker, Catherine        SO Penn                16:23.72   16:21.17B 32
    2 Marquardt, Ellie          SO Princeton           16:34.66   16:28.22B 28
    3 Kalandadze, Anna Sofia    JR Penn                16:31.12   16:28.85B 27
    4 Loomis, Ashley            SR Yale                       NT  16:36.57    26
    5 Giddings, Grace           SR Penn                16:44.50   16:37.79    25
    6 Girotto, Amelia           FR Penn                17:11.04   16:41.17    24
    7 Barrett, Sara             FR Brown               16:46.54   16:47.86    23
    8 Minnigh, Sarah            JR Dartmouth           17:40.40   16:48.35    22
    9 Jubin, Olivia             JR Columbia                   NT  16:49.80    20
   10 Appleton, Emily           FR Princeton           16:45.59   16:53.62    17
   11 O'Leary, Bridget          JR Penn                       NT  16:53.92    16
   12 Rose, Carlie              FR Harvard             17:02.13   16:56.05    15
   13 Paoletti, Isabella        FR Yale                       NT  17:00.65    14
   14 Whall, Emma               SR Brown                      NT  17:00.83    13
   15 Orange, Audrey            JR Brown               17:13.49   17:05.76    12
   16 Ruppert-Gomez, Marcella   JR Harvard             16:56.38   17:06.04    11
   17 Cianciolo, Christina      SO Dartmouth                  NT  17:11.28     9
   18 Antoniuk, Bella           FR Brown               17:01.85   17:12.66     7
   19 Danko, Allie              FR Cornell             17:04.31   17:14.64     6
   20 Mannion, Macey            SO Princeton                  NT  17:15.62     5
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   21 Takabayashi, Miku                       SR Brown                 NT    17:18.05     4
   22 Durak, Anna                             SR Princeton             NT    17:40.30     3
   23 Barry, Hayden                           FR Dartmouth       18:15.71    17:54.27     2

  Event 16 Women 200 Yard Backstroke
  ===============================================================================
   Meet Record: M 1:52.56        2020 Felicia Pasadyn (Harvard)
   Pool Record: P 1:54.64        2018 Quinn Scannell (Pennsylvania)
    NCAA A Std: A 1:50.50
    NCAA B Std: B 1:57.11
      Name                    Year School               Prelims      Finals Points
  ===============================================================================
  A - Final
    1 Pasadyn, Felicia          SR Harvard              1:55.69     1:53.58P 32
    2 Massey, Alexandra         FR Yale                 1:58.02     1:57.39   28
    3 Murphy, Quinn             FR Yale                 1:58.09     1:57.42   27
    4 Whitmire, Liza            SO Princeton            1:57.08     1:57.44   26
    5 Kannan, Hannah            SR Penn                 1:57.61     1:57.54   25
    6 Korbly, Isabella          FR Princeton            1:57.97     1:57.71   24
    7 Pruden, Mary              SR Columbia             1:58.65     1:59.13   23
    8 Ganihanova, Aziza         SO Columbia             1:58.16     1:59.27   22
  B - Final
    9 Hazlett, Kate             SO Harvard              1:58.96     1:57.26   20
   10 Clements, Emily           SO Brown                1:59.50     1:59.25   17
   11 Jones, Raime              JR Yale                 2:00.59     1:59.61   16
   12 Bullock, Addie Rose       SO Harvard              1:59.47     1:59.87   15
   13 Cavanagh, Erin            FR Harvard              2:01.03     2:00.40   14
   14 Munoz, Aviva              JR Cornell              2:01.03     2:00.43   13
   15 Chidley, Nell             JR Brown                2:00.02     2:00.65   12
   16 Laster, Susannah          JR Dartmouth            2:01.41     2:00.71   11
  C - Final
   17 Waterson, Rebecca         FR Brown                2:02.62     2:01.60    9
   18 Carter, Camryn            JR Penn                 2:01.48     2:01.70    7
   19 Howley, Mary              FR Dartmouth            2:02.17     2:01.77    6
   20 Caverly, Gillian          SR Cornell              2:01.79     2:01.79    5
   21 Pujadas, Riley            FR Columbia             2:01.89     2:01.86    4
   22 Hailu, Hannah             FR Columbia             2:02.88     2:02.49    3
   23 Williams, Marie           SO Cornell              2:01.74     2:02.70    2
   24 Sutter, Olivia            SO Cornell              2:03.55     2:03.19    1

  Event 16 Women 200 Yard Backstroke
  ===============================================================================
   Meet Record: M 1:52.56        2020 Felicia Pasadyn (Harvard)
   Pool Record: P 1:54.64        2018 Quinn Scannell (Pennsylvania)
    NCAA A Std: A 1:50.50
    NCAA B Std: B 1:57.11
      Name                    Year School                  Seed     Prelims
  ===============================================================================
  Preliminaries
    1 Pasadyn, Felicia          SR Harvard              1:54.97     1:55.69B
    2 Whitmire, Liza            SO Princeton            1:58.40     1:57.08B
    3 Kannan, Hannah            SR Penn                 1:59.69     1:57.61
    4 Korbly, Isabella          FR Princeton            1:59.43     1:57.97
    5 Massey, Alexandra         FR Yale                 1:57.32     1:58.02
    6 Murphy, Quinn             FR Yale                 1:58.18     1:58.09
    7 Ganihanova, Aziza         SO Columbia             1:58.23     1:58.16
    8 Pruden, Mary              SR Columbia             1:59.28     1:58.65
  -------------------------------------------------------------------------
    9 Hazlett, Kate             SO Harvard              1:57.75     1:58.96
   10 Bullock, Addie Rose       SO Harvard              2:03.08     1:59.47
   11 Clements, Emily           SO Brown                1:58.89     1:59.50
   12 Chidley, Nell             JR Brown                2:01.77     2:00.02
   13 Jones, Raime              JR Yale                 2:00.71     2:00.59
   14 Cavanagh, Erin            FR Harvard              1:58.23     2:01.03
   14 Munoz, Aviva              JR Cornell              2:02.97     2:01.03
www.meetresults.com/2022/ivies/results.html                                                                       15/21
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   16 Laster, Susannah          JR Dartmouth            2:07.95    2:01.41
  -------------------------------------------------------------------------
   17 Carter, Camryn            JR Penn                 2:02.91    2:01.48
   18 Williams, Marie           SO Cornell              2:01.13    2:01.74
   19 Caverly, Gillian          SR Cornell              2:02.86    2:01.79
   20 Pujadas, Riley            FR Columbia             2:02.66    2:01.89
   21 Howley, Mary              FR Dartmouth            2:05.64    2:02.17
   22 Waterson, Rebecca         FR Brown                2:03.77    2:02.62
   23 Hailu, Hannah             FR Columbia             2:02.60    2:02.88
   24 Sutter, Olivia            SO Cornell              2:04.31    2:03.55
  -------------------------------------------------------------------------
   25 Hamlen, Izzy              FR Dartmouth            2:09.31    2:03.99
   26 DuPont, Schuyler          FR Cornell              2:04.95    2:05.82
  -------------------------------------------------------------------------
   27 Zhang, Connie             JR Dartmouth            2:13.04    2:06.30
   28 Moon, Zoe                 FR Dartmouth            2:09.79    2:06.32
   29 Sih, Angelica             SO Cornell              2:03.48    2:06.54
   30 Kramer, Katherine         FR Dartmouth            2:09.68    2:06.72
   31 Zwart, Eleanor            JR Dartmouth            2:10.17    2:08.09
   -- xMoore, Sophia            FR Yale                 2:02.21   X2:03.48
   -- xHeilbrun, Maddie         SR Harvard              2:05.86   X2:05.15
   -- Reznicek, Jenna           FR Brown                1:58.63 DQ 2:04.77
        False start

  Event 17 Women 100 Yard Freestyle
  ===============================================================================
   Meet Record: M 47.85        2019 Bella Hindley (Yale)
   Pool Record: P 48.64        2018 Miki Dahlke (Harvard)
    NCAA A Std: A 47.18
    NCAA B Std: B 49.51
      Name                    Year School                Prelims    Finals Points
  ===============================================================================
  A - Final
    1 Thomas, Lia               SR Penn                    48.71     47.63M 32
    2 Henig, Iszac              JR Yale                    47.80     47.82M 28
    3 Venema, Nikki             JR Princeton               49.66     48.81B 27
    4 Hamlin, Molly             FR Harvard                 49.52     49.38B 26
    5 Pilkinton, Ophelia        SO Yale                    49.94     49.67   25
    6 Kaczorowski, Margot       JR Penn                    50.06     49.86   24
    7 Wagner, Lindsey           SO Yale                    49.85     49.89   23
    8 Post, Ashley              JR Dartmouth               50.12     50.42   22
  B - Final
    9 Shelton, Samantha         JR Harvard                 50.15     50.25   20
   10 Bradley, Christina        JR Princeton               50.59     50.26   17
   11 Weng, Vivian              FR Yale                    50.66     50.28   16
   12 Parker, Melissa           JR Cornell                 50.37     50.41   15
   13 Macdonald, Emily          FR Columbia                50.65     50.54   14
   14 Liu, Amelia               JR Princeton               50.41     50.61   13
   15 Scott, Samantha           SO Brown                   50.52     50.85   12
   16 Podurgiel, Anna           FR Brown                   50.82     50.97   11
  C - Final
   17 Arevalo, Isabelle         JR Columbia                50.86     50.56    9
   18 Wongso, Priscilla         SO Cornell                 51.02     50.66    7
   19 Brenner, Mandy            FR Harvard                 51.02     50.68    6
   20 Moesch, Marlise           SR Yale                    51.14     50.81    5
   21 Wortzman, Zoe             JR Dartmouth               50.90     50.94    4
   22 Secrest, Jennifer         JR Princeton               51.17     51.23    3
   23 Breiter, Callie           SO Columbia                51.48     51.72    2
   24 Healy, Marissa            SO Yale                    51.83     51.98    1

  Event 17 Women 100 Yard Freestyle
  ===============================================================================
   Meet Record: M 47.85        2019 Bella Hindley (Yale)
   Pool Record: P 48.64        2018 Miki Dahlke (Harvard)
    NCAA A Std: A 47.18
www.meetresults.com/2022/ivies/results.html                                                                       16/21
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                                            286-1 www.meetresults.com/2022/ivies/results.html
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                                                                                                  Armistead App. 0104
    NCAA B Std: B 49.51
      Name                    Year School                  Seed    Prelims
  ===============================================================================
  Preliminaries
    1 Henig, Iszac              JR Yale                   48.03      47.80M
    2 Thomas, Lia               SR Penn                   49.42      48.71B
    3 Hamlin, Molly             FR Harvard                50.97      49.52
    4 Venema, Nikki             JR Princeton              49.67      49.66
    5 Wagner, Lindsey           SO Yale                      NT      49.85
    6 Pilkinton, Ophelia        SO Yale                   49.88      49.94
    7 Kaczorowski, Margot       JR Penn                   50.11      50.06
    8 Post, Ashley              JR Dartmouth              51.40      50.12
  -------------------------------------------------------------------------
    9 Shelton, Samantha         JR Harvard                50.95      50.15
   10 Parker, Melissa           JR Cornell                50.82      50.37
   11 Liu, Amelia               JR Princeton              50.11      50.41
   12 Scott, Samantha           SO Brown                  51.40      50.52
   13 Bradley, Christina        JR Princeton              49.91      50.59
   14 Macdonald, Emily          FR Columbia               50.60      50.65
   15 Weng, Vivian              FR Yale                   51.03      50.66
   16 Podurgiel, Anna           FR Brown                  51.43      50.82
  -------------------------------------------------------------------------
   17 Arevalo, Isabelle         JR Columbia               51.04      50.86
   18 Wortzman, Zoe             JR Dartmouth              52.61      50.90
   19 Brenner, Mandy            FR Harvard                50.91      51.02
   19 Wongso, Priscilla         SO Cornell                50.80      51.02
   21 Moesch, Marlise           SR Yale                   51.01      51.14
   22 Secrest, Jennifer         JR Princeton              51.92      51.17
   23 Breiter, Callie           SO Columbia               52.62      51.48
   24 Healy, Marissa            SO Yale                   52.29      51.83
  -------------------------------------------------------------------------
   25 Gruvberger, Anna          SO Cornell                51.65      51.88
   26 Larsen, Clare             SR Columbia               51.35      51.91
  -------------------------------------------------------------------------
   27 Young, Georgia            SO Columbia               51.62      51.94
   28 Bilgin, Zehra             FR Brown                  52.15      52.19
   28 Wang, Emily               SR Columbia               51.64      52.19
   30 Baldari, Alessandra       SR Yale                   51.16      52.47
   31 Tsai, Sophia              FR Cornell                52.30      52.69
   32 Zhang, Tori               FR Cornell                52.22      52.98
   33 Wiener, Sophie            FR Dartmouth              53.92      53.00
   -- xLe, Tina                 JR Columbia               51.48     X51.67
   -- xOhr, Joelle              SO Cornell                52.59     X52.54

  Event 18 Women 200 Yard Breaststroke
  ===============================================================================
   Meet Record: M 2:08.47        2020 Jaycee Yegher (Harvard)
   Pool Record: P 2:09.37        2010 Susan Kim (Yale)
    NCAA A Std: A 2:06.58
    NCAA B Std: B 2:13.97
      Name                    Year School               Prelims     Finals Points
  ===============================================================================
  A - Final
    1 Denisenko, Aleksandra     FR Harvard              2:13.78    2:11.93B 32
    2 Franks, Ava               FR Yale                 2:15.73    2:12.79B 28
    3 McDonald, Margaux         SO Princeton            2:16.38    2:14.88   27
    4 Pytel, Isabella           FR Penn                 2:16.70    2:15.11   26
    5 Thompson, Mikki           SR Harvard              2:14.56    2:15.46   25
    6 Lukawski, Audrey          SR Brown                2:16.15    2:15.82   24
    7 Paoletti, Olivia          JR Yale                 2:16.47    2:15.87   23
    8 Boeckman, Anna            FR Penn                 2:16.38    2:16.12   22
  B - Final
    9 Estabrook, Grace          SR Penn                 2:17.24    2:16.02   20
   10 Brault, Ellie             FR Brown                2:17.37    2:16.50   17
   11 Buckley, Maggie           FR Harvard              2:17.33    2:17.33   16
www.meetresults.com/2022/ivies/results.html                                                                       17/21
          Case
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                                                                                                  Armistead App. 0105
   12   Buckley, Marykate                     JR   Yale           2:17.10     2:17.82   15
   13   Liu, Hannah                           FR   Penn           2:17.78     2:17.99   14
   14   Maizes, Rachel                        SR   Penn           2:18.33     2:18.20   13
   15   Walker, Allegra                       SO   Columbia       2:18.04     2:18.56   12
   16   Wang, Vivian                          SR   Princeton      2:19.92     2:20.22   11
  C -   Final
   17   Chang, Allison                        SR   Cornell        2:21.65     2:19.28     9
   18   Hu, Ashley                            FR   Columbia       2:20.23     2:20.06     7
   19   Willhite, Kellie                      SO   Brown          2:19.97     2:20.35     6
   20   Unas, Julia                           FR   Columbia       2:24.40     2:22.51     5
   21   Wu, Amy                               SO   Cornell        2:25.05     2:23.22     4
   22   Van Steyn, Kenna                      SR   Dartmouth      2:25.10     2:24.01     3
   23   Petersen, Amanda                      FR   Cornell        2:23.09     2:24.94     2
   24   Parker, Bridget                       SO   Dartmouth      2:26.36     2:25.27     1

  Event 18 Women 200 Yard Breaststroke
  ===============================================================================
   Meet Record: M 2:08.47        2020 Jaycee Yegher (Harvard)
   Pool Record: P 2:09.37        2010 Susan Kim (Yale)
    NCAA A Std: A 2:06.58
    NCAA B Std: B 2:13.97
      Name                    Year School                  Seed    Prelims
  ===============================================================================
  Preliminaries
    1 Denisenko, Aleksandra     FR Harvard              2:14.31    2:13.78B
    2 Thompson, Mikki           SR Harvard              2:22.35    2:14.56
    3 Franks, Ava               FR Yale                 2:12.56    2:15.73
    4 Lukawski, Audrey          SR Brown                2:17.36    2:16.15
    5 Boeckman, Anna            FR Penn                 2:18.42    2:16.38
    5 McDonald, Margaux         SO Princeton            2:16.52    2:16.38
    7 Paoletti, Olivia          JR Yale                 2:17.02    2:16.47
    8 Pytel, Isabella           FR Penn                 2:16.75    2:16.70
  -------------------------------------------------------------------------
    9 Buckley, Marykate         JR Yale                 2:16.23    2:17.10
   10 Estabrook, Grace          SR Penn                 2:18.16    2:17.24
   11 Buckley, Maggie           FR Harvard              2:18.43    2:17.33
   12 Brault, Ellie             FR Brown                2:18.85    2:17.37
   13 Liu, Hannah               FR Penn                 2:17.47    2:17.78
   14 Walker, Allegra           SO Columbia             2:17.96    2:18.04
   15 Maizes, Rachel            SR Penn                 2:25.73    2:18.33
   16 Wang, Vivian              SR Princeton            2:18.75    2:19.92
  -------------------------------------------------------------------------
   17 Willhite, Kellie          SO Brown                2:18.04    2:19.97
   18 Hu, Ashley                FR Columbia             2:17.92    2:20.23
   19 Chang, Allison            SR Cornell              2:17.32    2:21.65
   20 Petersen, Amanda          FR Cornell              2:23.58    2:23.09
   21 Unas, Julia               FR Columbia             2:23.92    2:24.40
   22 Wu, Amy                   SO Cornell              2:23.70    2:25.05
   23 Van Steyn, Kenna          SR Dartmouth            2:29.43    2:25.10
   24 Parker, Bridget           SO Dartmouth            2:35.39    2:26.36
  -------------------------------------------------------------------------
   25 Zhang, Rachel             FR Dartmouth            2:27.46    2:26.97
   -- xMoore, Sophia            FR Yale                 2:26.76   X2:21.87

  Event 19 Women 200 Yard Butterfly
  ===============================================================================
   Meet Record: M 1:54.60        2013 Alex Forrester (Yale)
   Pool Record: P 1:52.99        1981 Mary T. Meagher (Lakeside)
    NCAA A Std: A 1:53.20
    NCAA B Std: B 1:59.23
      Name                    Year School               Prelims     Finals Points
  ===============================================================================
  A - Final
    1 Carr, Abigail             FR Harvard              1:58.08    1:57.26B 32
    2 Chong, Vanessa            FR Penn                 2:00.03    1:58.17B 28
www.meetresults.com/2022/ivies/results.html                                                                       18/21
          Case
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                                            286-1 www.meetresults.com/2022/ivies/results.html
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                                                                                                  Armistead App. 0106
    3   Massey, Alexandra                     FR   Yale           2:00.32     1:58.72B   27
    4   Yeager, Jess                          SO   Princeton      1:59.19     1:58.75B   26
    5   Chidley, Nell                         JR   Brown          1:59.97     1:59.63    25
    6   Leko, Mia                             JR   Dartmouth      1:57.65     1:59.70    24
    7   Kim, Junseo                           FR   Yale           2:00.45     1:59.92    23
    8   Yoon, Grace                           FR   Harvard        2:00.54     2:01.13    22
  B -   Final
    9   Martin, Allison                       FR   Columbia       2:01.75     2:00.17    20
   10   Jiang, Joy                            FR   Penn           2:01.08     2:00.99    17
   11   Bilgin, Zehra                         FR   Brown          2:00.90     2:01.84    16
   12   Myers, Andie                          SR   Penn           2:01.48     2:02.00    15
   13   Peng, Jessica                         JR   Columbia       2:02.58     2:02.35    14
   14   Pappas, Alexa                         FR   Princeton      2:03.96     2:02.53    13
   15   Boyer, Liz                            JR   Harvard        2:02.62     2:03.05    12
   16   Whall, Emma                           SR   Brown          2:03.56     2:06.71    11
  C -   Final
   17   Wong, Anthea                          FR   Columbia       2:04.81     2:03.47     9
   18   Iorini, Maria                         SO   Brown          2:04.31     2:04.14     7
   19   Chen, Jaime                           FR   Princeton      2:06.49     2:06.69     6
   20   DuPont, Schuyler                      FR   Cornell        2:08.95     2:06.99     5
   21   Syrkin, Alex                          FR   Cornell        2:10.29     2:08.24     4

  Event 19 Women 200 Yard Butterfly
  ===============================================================================
   Meet Record: M 1:54.60        2013 Alex Forrester (Yale)
   Pool Record: P 1:52.99        1981 Mary T. Meagher (Lakeside)
    NCAA A Std: A 1:53.20
    NCAA B Std: B 1:59.23
      Name                    Year School                   Seed   Prelims
  ===============================================================================
  Preliminaries
    1 Leko, Mia                 JR Dartmouth            2:00.23    1:57.65B
    2 Carr, Abigail             FR Harvard              1:58.61    1:58.08B
    3 Yeager, Jess              SO Princeton            1:57.83    1:59.19B
    4 Chidley, Nell             JR Brown                1:59.35    1:59.97
    5 Chong, Vanessa            FR Penn                 2:00.14    2:00.03
    6 Massey, Alexandra         FR Yale                 1:57.51    2:00.32
    7 Kim, Junseo               FR Yale                 2:01.27    2:00.45
    8 Yoon, Grace               FR Harvard              2:03.17    2:00.54
  -------------------------------------------------------------------------
    9 Bilgin, Zehra             FR Brown                2:01.71    2:00.90
   10 Jiang, Joy                FR Penn                 2:00.79    2:01.08
   11 Myers, Andie              SR Penn                 2:04.21    2:01.48
   12 Martin, Allison           FR Columbia             2:01.42    2:01.75
   13 Peng, Jessica             JR Columbia             2:02.04    2:02.58
   14 Boyer, Liz                JR Harvard              2:02.01    2:02.62
   15 Whall, Emma               SR Brown                2:03.48    2:03.56
   16 Pappas, Alexa             FR Princeton            2:03.27    2:03.96
  -------------------------------------------------------------------------
   17 Iorini, Maria             SO Brown                2:04.46    2:04.31
   18 Wong, Anthea              FR Columbia             2:03.66    2:04.81
   19 Chen, Jaime               FR Princeton            2:02.10    2:06.49
   20 DuPont, Schuyler          FR Cornell              2:06.37    2:08.95
   21 Syrkin, Alex              FR Cornell              2:07.54    2:10.29
   -- xRippon, Caylene          SR Brown                2:04.89   X2:05.32

  Event 20 Women 3 mtr Diving
  ===============================================================================
   Meet Record: M 360.55        2015 Caitlin Chambers (Princeton)
   Pool Record: P 360.55        2015 Caitlin Chambers (Princeton)
    NCAA A Std: A 280.00
      Name                    Year School               Prelims     Finals Points
  ===============================================================================
  A - Final
    1 Miclau, Elizabeth         SO Harvard               261.45     315.20A 32
www.meetresults.com/2022/ivies/results.html                                                                       19/21
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    2   Milne, Georgi                         SR   Harvard         310.35      311.20A   28
    3   Lawrence, Esther                      SR   Harvard         292.95      302.90A   27
    4   Edvalson, Remi                        FR   Harvard         277.75      292.05A   26
    5   Williams, Demetra                     SR   Cornell         271.35      281.30A   25
    6   Jendritz, Elise                       JR   Cornell         282.90      276.10    24
    7   Laverty, Katie                        FR   Harvard         264.05      274.30    23
    8   Geier, Evie                           JR   Harvard         300.10      274.15    22
  B -   Final
    9   Herculano, Morgane                    SR   Harvard         253.65      304.45A   20
   10   Shao, Stephanie                       FR   Yale            248.10      278.65    17
   11   Henderson, Hayden                     FR   Yale            254.45      276.15    16
   12   Wotovich, Amy                         FR   Harvard         257.40      274.80    15
   13   Seltzer, Maddie                       FR   Princeton       253.75      274.65    14
   14   Francella, Olivia                     JR   Penn            246.50      263.70    13
   15   Rosendalh, Brighida                   SR   Columbia        243.70      247.95    12
   16   Brinker, Alexa                        FR   Brown           228.90      209.40    11

  Event 20 Women 3 mtr Diving
  ===============================================================================
   Meet Record: M 360.55        2015 Caitlin Chambers (Princeton)
   Pool Record: P 360.55        2015 Caitlin Chambers (Princeton)
    NCAA A Std: A 280.00
      Name                    Year School                  Seed    Prelims
  ===============================================================================
  Preliminaries
    1 Milne, Georgi             SR Harvard               303.68     310.35A
    2 Geier, Evie               JR Harvard               291.90     300.10A
    3 Lawrence, Esther          SR Harvard               330.65     292.95A
    4 Jendritz, Elise           JR Cornell               321.08     282.90A
    5 Edvalson, Remi            FR Harvard               290.78     277.75
    6 Williams, Demetra         SR Cornell               312.00     271.35
    7 Laverty, Katie            FR Harvard               300.50     264.05
    8 Miclau, Elizabeth         SO Harvard               317.63     261.45
    9 Wotovich, Amy             FR Harvard               321.53     257.40
   10 Henderson, Hayden         FR Yale                  323.55     254.45
   11 Seltzer, Maddie           FR Princeton             291.15     253.75
   12 Herculano, Morgane        SR Harvard               295.80     253.65
   13 Shao, Stephanie           FR Yale                  268.80     248.10
   14 Francella, Olivia         JR Penn                  275.10     246.50
   15 Rosendalh, Brighida       SR Columbia              293.55     243.70
   16 Brinker, Alexa            FR Brown                 275.40     228.90
   17 Thibodeau, Genevieve      FR Yale                  260.03     228.70
   18 Jin, Laurel               FR Yale                  277.75     227.55
   19 Johnsson-Stjernstrom, Ha SO Princeton              246.23     226.60
   20 Singh, Ishani             SO Yale                  256.43     224.95
   21 Ennis, Maya               FR Yale                  266.78     220.80
   22 Mitchell, Liv             SR Brown                 304.00     220.25
   23 Parker, Madeleine         FR Penn                  244.80     218.95
   24 Feord, Julia              JR Brown                 306.45     217.35
   25 Diakova, Alice            SO Columbia              292.73     215.15
   26 Lichen, Isabella          JR Dartmouth             259.65     213.20
   27 Lee, Michelle             SR Columbia              257.33     210.35
   28 Chin, Audrey              SO Harvard               245.70     195.80
   29 Stein, Samantha           SO Penn                  221.20     189.25
   30 Palacios, Alyssa          FR Dartmouth             298.15     185.90

  Event 21 Women 400 Yard Freestyle Relay
  ===============================================================================
   Meet Record: M 3:14.48        2020 Harvard
                           F. Pasadyn, K. Quist, S. Shelton, M. Dahlke
   Pool Record: P 3:18.25        2015 Princeton
                           C. McIlmail, N. Larson, E. McDonald, M. Veith
    NCAA A Std: A 3:14.50
    NCAA B Std: B 3:16.35
      School                                               Seed     Finals Points
www.meetresults.com/2022/ivies/results.html                                                                       20/21
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  ===============================================================================
    1 University of Pennsylvania                        3:22.50     3:17.80P 64
       1) Thomas, Lia SR                  2) Kaczorowski, Margot JR
       3) Kannan, Hannah SR               4) Carter, Camryn JR
    2 Harvard University                                3:19.40     3:19.17  56
       1) Pasadyn, Felicia SR             2) Shelton, Samantha JR
       3) Denisenko, Aleksandra FR        4) Hamlin, Molly FR
    3 Yale University                                   3:17.61     3:19.71  54
       1) Pilkinton, Ophelia SO           2) Wagner, Lindsey SO
       3) Weng, Vivian FR                 4) Franks, Ava FR
    4 Princeton University                              3:20.87     3:21.66  52
       1) Bradley, Christina JR           2) Liu, Amelia JR
       3) Marquardt, Ellie SO             4) Secrest, Jennifer JR
    5 Columbia University                               3:23.69     3:22.44  50
       1) Macdonald, Emily FR             2) Jubin, Olivia JR
       3) Ganihanova, Aziza SO            4) Arevalo, Isabelle JR
    6 Dartmouth College                                 3:29.56     3:24.03  48
       1) Post, Ashley JR                 2) Leko, Mia JR
       3) Howley, Mary FR                 4) Wortzman, Zoe JR
    7 Cornell University                                3:24.49     3:24.40  46
       1) Wongso, Priscilla SO            2) Gruvberger, Anna SO
       3) Tsai, Sophia FR                 4) Parker, Melissa JR
    8 Brown University                                  3:26.68     3:25.40  44
       1) Podurgiel, Anna FR              2) Scott, Samantha SO
       3) Reznicek, Jenna FR              4) Orange, Audrey JR

                             Women - Team Rankings - Through Event 21

     1.   Harvard University                    1503.5    2.   Yale University                     1258
     3.   University of Pennsylvania              1256    4.   Princeton University                1074
     5.   Brown University                         904    6.   Columbia University                706.5
     7.   Dartmouth College                        563    8.   Cornell University                   508




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   2022 NCAA Division I Women’s Swimming &
     Diving Championship Results (500 Yard
                      Freestyle)
                  March 16-19, 2022
 Available at: https://swimmeetresults.tech/NCAA-
     Division-I-Women-2022/220316F003.htm
    [permalink: https://perma.cc/JUD4-N2W6]
            (last visited: April 20, 2022)
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      Print Result

   NCAA Division I Championship Meet
                         2022 NCAA Division I Women's
                        Swimming & Diving Championships

   Event 3 Women 500 Yard Freestyle
  =========================================================================
           NCAA: N 4:24.06 3/16/2017 Katie Ledecky, Stanford
           Meet: M 4:24.06 3/16/2017 Katie Ledecky, Stanford
       American: A 4:24.06 3/16/2017 Katie Ledecky, Stanford
        US Open: O 4:24.06 3/16/2017 Katie Ledecky, Stanford
           Pool: P 4:30.81 3/17/2016 Leah Smith, Virginia
      Name                 Year School            Prelims     Finals Points
  =========================================================================
                         === Championship Final ===

     1 Thomas, Lia                     5Y Penn             4:33.82   4:33.24   20
       r:+0.76 25.25                  52.80 (27.55)
           1:20.59 (27.79)              1:48.43 (27.84)
           2:16.24 (27.81)              2:44.12 (27.88)
           3:11.80 (27.68)              3:39.29 (27.49)
           4:06.74 (27.45)              4:33.24 (26.50)
     2 Weyant, Emma                    FR Virginia         4:37.25   4:34.99   17
       r:+0.73 25.59                  53.04 (27.45)
           1:20.91 (27.87)              1:48.66 (27.75)
           2:16.33 (27.67)              2:44.17 (27.84)
           3:11.98 (27.81)              3:39.90 (27.92)
           4:07.73 (27.83)              4:34.99 (27.26)
     3 Sullivan, Erica                 FR Texas            4:36.79   4:35.92   16
       r:+0.66 25.34                  52.62 (27.28)
           1:20.30 (27.68)              1:48.25 (27.95)
           2:16.22 (27.97)              2:44.41 (28.19)
           3:12.74 (28.33)              3:40.98 (28.24)
           4:08.96 (27.98)              4:35.92 (26.96)
     4 Forde, Brooke                   5Y Stanford         4:38.19   4:36.18   15
       r:+0.65 25.89                  53.30 (27.41)
           1:21.09 (27.79)              1:48.85 (27.76)
           2:16.71 (27.86)              2:44.59 (27.88)
           3:12.43 (27.84)              3:40.16 (27.73)
           4:08.35 (28.19)              4:36.18 (27.83)
     5 Pfeifer, Evie                   5Y Texas            4:37.39   4:37.29   14
       r:+0.78 25.85                  53.27 (27.42)
           1:21.03 (27.76)              1:49.08 (28.05)
           2:17.27 (28.19)              2:45.23 (27.96)
           3:13.27 (28.04)              3:41.58 (28.31)
           4:09.87 (28.29)              4:37.29 (27.42)
     6 McKenna, Paige                  FR Wisconsin        4:37.36   4:37.35   13
       r:+0.73 25.47                  52.97 (27.50)
           1:21.03 (28.06)              1:49.02 (27.99)
           2:17.09 (28.07)              2:45.09 (28.00)
           3:13.17 (28.08)              3:41.40 (28.23)
           4:09.65 (28.25)              4:37.35 (27.70)
     7 McMahon, Kensey                 SR Alabama          4:38.76   4:40.06   12
       r:+0.73 25.96                  53.81 (27.85)
           1:21.43 (27.62)              1:49.54 (28.11)
           2:17.97 (28.43)              2:46.43 (28.46)
           3:15.11 (28.68)              3:43.92 (28.81)
           4:12.58 (28.66)              4:40.06 (27.48)
     8 Tankersley, Morgan              SR Stanford         4:38.65   4:40.08   11
       r:+0.70 26.03                  53.96 (27.93)
           1:22.08 (28.12)              1:50.49 (28.41)
https://swimmeetresults.tech/NCAA-Division-I-Women-2022/                                                       1/3
          Case
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             2:18.81 (28.32)             2:47.05 (28.24)
             3:15.09 (28.04)             3:43.21 (28.12)
             4:11.84 (28.63)             4:40.08 (28.24)

                                   === Consolation Final ===

    9 Mrozinski, Julia                 FR Tennessee                   4:39.60    4:37.35    9
      r:+0.66 25.29                   53.45 (28.16)
          1:21.82 (28.37)               1:50.33 (28.51)
          2:18.72 (28.39)               2:47.24 (28.52)
          3:15.51 (28.27)               3:43.55 (28.04)
          4:11.10 (27.55)               4:37.35 (26.25)
   10 Mull, Lola                       SO Northwestern                4:40.70    4:38.37    7
      r:+0.69 26.09                   54.01 (27.92)
          1:22.23 (28.22)               1:50.73 (28.50)
          2:19.25 (28.52)               2:47.94 (28.69)
          3:16.04 (28.10)               3:44.23 (28.19)
          4:11.78 (27.55)               4:38.37 (26.59)
   11 Mathieu, Tylor                   JR Florida                     4:39.07    4:38.62    6
      r:+0.75 26.15                   54.25 (28.10)
          1:22.72 (28.47)               1:51.21 (28.49)
          2:19.74 (28.53)               2:47.99 (28.25)
          3:16.05 (28.06)               3:44.24 (28.19)
          4:11.97 (27.73)               4:38.62 (26.65)
   12 Coetzee, Dune                    FR Georgia                     4:40.24    4:38.78    5
      r:+0.73 25.67                   53.62 (27.95)
          1:21.89 (28.27)               1:50.22 (28.33)
          2:18.69 (28.47)               2:46.91 (28.22)
          3:15.44 (28.53)               3:43.85 (28.41)
          4:11.72 (27.87)               4:38.78 (27.06)
   13 Laning, Erica                    5Y ASU                         4:40.70    4:38.90    4
      r:+0.73 25.84                   53.34 (27.50)
          1:21.33 (27.99)               1:49.54 (28.21)
          2:17.98 (28.44)               2:46.43 (28.45)
          3:15.17 (28.74)               3:43.78 (28.61)
          4:11.97 (28.19)               4:38.90 (26.93)
   14 Nordin, Emma                     5Y ASU                         4:40.78    4:39.17    3
      r:+0.70 26.13                   54.06 (27.93)
          1:22.28 (28.22)               1:50.59 (28.31)
          2:19.03 (28.44)               2:47.49 (28.46)
          3:15.48 (27.99)               3:43.36 (27.88)
          4:11.43 (28.07)               4:39.17 (27.74)
   15 Donohoe, Madelyn                 JR Virginia                    4:39.61    4:40.49    2
      r:+0.64 26.23                   54.37 (28.14)
          1:22.71 (28.34)               1:51.21 (28.50)
          2:19.69 (28.48)               2:48.10 (28.41)
          3:16.44 (28.34)               3:45.16 (28.72)
          4:13.24 (28.08)               4:40.49 (27.25)
   16 McCulloh, Abigail                FR Georgia                     4:40.58    4:41.17    1
      r:+0.67 26.20                   54.57 (28.37)
          1:22.97 (28.40)               1:51.44 (28.47)
          2:20.06 (28.62)               2:48.68 (28.62)
          3:17.22 (28.54)               3:45.78 (28.56)
          4:14.02 (28.24)               4:41.17 (27.15)

                          Women - Team Rankings - Through Event 3

    1.   Virginia                                          93    2.   Texas                     88
    3.   Stanford                                          80    4.   California                56
    5.   Alabama                                           50    6.   Louisville                46
    7.   NC State                                          44    8.   Tennessee                 43
    9.   Georgia                                           40   10.   Ohio St                   38
   11.   Florida                                           32   12.   Wisconsin                 27
   13.   Michigan                                          26   14.   Penn                      20
   15.   Arizona St                                        19   16.   Southern California       18
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   16. Kentucky                                            18   18. Northwestern             15
   19. UNC                                                 10   20. Indiana                   8
   21. Virginia Tech                                        2   21. Arizona                   2




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     Diving Championship Results (100 Yard
                      Freestyle)
                  March 16-19, 2022
 Available at: https://swimmeetresults.tech/NCAA-
     Division-I-Women-2022/220316F017.htm
     [permalink: https://perma.cc/88Q9-4C5L]
            (last visited: April 20, 2022)
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      Print Result

   NCAA Division I Championship Meet
                         2022 NCAA Division I Women's
                        Swimming & Diving Championships

   Event 17 Women 100 Yard Freestyle
  =========================================================================
           NCAA: N 45.56 3/18/2017 Simone Manuel, Stanford
           Meet: M 45.56 3/17/2017 Simone Manuel, Stanford
       American: A 45.56 3/18/2017 Simone Manuel, Stanford
        US Open: O 45.56 3/18/2017 Simone Manuel, Stanford
           Pool: P 46.05 3/19/2022 Gretchen Walsh, Virginia
      Name                 Year School            Prelims     Finals Points
  =========================================================================
                         === Championship Final ===

     1 Walsh, Gretchen                 FR Virginia                    46.78      46.05P   20
       r:+0.75 22.10                  46.05 (23.95)
     2 Scott, Morgan                   SR Alabama                     47.27      46.78    17
       r:+0.65 22.08                  46.78 (24.70)
     3 Berkoff, Katharine              JR NCSU                        46.89      46.95    16
       r:+0.67 22.41                  46.95 (24.54)
     4 Dupre, Cora                     JR Alabama                     47.51      47.08    15
       r:+0.60 22.54                  47.08 (24.54)
     5 Henig, Iszac                    JR Yale                        47.55      47.32    13.5
       r:+0.60 22.65                  47.32 (24.67)
     5 Albiero, Gabi                   SO Louisville                  47.45      47.32    13.5
       r:+0.60 22.90                  47.32 (24.42)
     7 Countie, Grace                  SR UNC                         47.50      47.36    12
       r:+0.73 22.67                  47.36 (24.69)
     8 Thomas, Lia                     5Y Penn                        47.37      48.18    11
       r:+0.73 23.19                  48.18 (24.99)

                                   === Consolation Final ===

    9 Huske, Torri                     FR Stanford                    48.12      46.98     9
      r:+0.60 22.32                   46.98 (24.66)
   10 MacNeil, Maggie                  SR Michigan                    47.77      47.42     7
      r:+0.63 22.65                   47.42 (24.77)
   11 Flynn, Lindsay                   FR Michigan                    47.94      47.67     6
      r:+0.66 22.88                   47.67 (24.79)
   12 Alons, Kylee                     SR NCSU                        48.02      47.68     5
      r:+0.64 22.77                   47.68 (24.91)
   13 Ivey, Isabel                     SR California                  47.61      47.71     4
      r:+0.70 22.76                   47.71 (24.95)
   14 Zenick, Katherine                SO Ohio St                     47.91      47.85     3
      r:+0.61 22.88                   47.85 (24.97)
   15 Antoniou, Kalia                  SR Alabama                     47.84      47.93     2
      r:+0.67 23.16                   47.93 (24.77)
   16 Bates, Talia                     JR Florida                     48.14      47.95     1
      r:+0.70 23.13                   47.95 (24.82)

                        Women - Team Rankings - Through Event 17

    1.   Virginia                                     433.5    2.   Stanford                     327
    3.   Texas                                          292    4.   Alabama                      243
    5.   NC State                                       233    6.   California                   155
    7.   Louisville                                   153.5    8.   Ohio St                      143
    9.   Michigan                                       139   10.   Tennessee                    118
   11.   UNC                                            103   12.   Florida                       91
   13.   Southern California                             89   14.   Wisconsin                     86
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   15.   Georgia                                       85.5   16.   Kentucky               82.5
   17.   Indiana                                         82   18.   Northwestern             68
   19.   Penn                                          44.5   20.   Minnesota                43
   21.   Miami (Florida)                               41.5   22.   Arizona                35.5
   23.   Virginia Tech                                   31   24.   Duke                     27
   25.   Missouri                                        25   26.   Arizona St               22
   27.   Yale                                          14.5   28.   Arkansas                 11
   29.   South Carolina                                   9   30.   Rutgers                   6
   30.   Notre Dame                                       6   32.   UCLA                      4
   32.   Lsu                                              4   34.   Wyoming                   2
   34.   San Diego St                                     2   34.   Harvard                   2
   37.   Texas A&M                                        1




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                                Expert Report of

                       Gregory A Brown, Ph.D. FACSM

        In the case of B.P.J. vs. West Virginia State Board of Education.




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                       Personal Qualifications and Disclosure

       I serve as Professor of Exercise Science in the Department of Kinesiology and
 Sport Sciences at the University of Nebraska Kearney, where I teach classes in
 Exercise Physiology among other topics. I am also the Director of the General
 Studies program. I have served as a tenured (and nontenured) professor at
 universities since 2002.

        In August 2002, I received a Doctor of Philosophy degree from Iowa State
 University, where I majored in Health and Human Performance, with an emphasis
 in the Biological Bases of Physical Activity. In May 1999, I received a Master of
 Science degree from Iowa State University, where I majored in Exercise and Sport
 Science, with an emphasis in Exercise Physiology.

       I have received many awards over the years, including the Mortar Board
 Faculty Excellence Honors Award, College of Education Outstanding Scholarship /
 Research Award, and the College of Education Award for Faculty Mentoring of
 Undergraduate Student Research. I have authored more than 40 refereed
 publications and more than 50 refereed presentations in the field of Exercise
 Science. I have authored chapters for multiple books in the field of Exercise Science.
 And I have served as a peer reviewer for over 25 professional journals, including
 The American Journal of Physiology, the International Journal of Exercise Science,
 the Journal of Strength and Conditioning Research, and The Journal of Applied
 Physiology.

        My areas of research have included the endocrine response to testosterone
 prohormone supplements in men and women, the effects of testosterone prohormone
 supplements on health and the adaptations to strength training in men, the effects
 of energy drinks on the physiological response to exercise, and assessment of
 various athletic training modes in males and females. Articles that I have published
 that are closely related to topics that I discuss in this white paper include:

       Studies of the effect of ingestion of a testosterone precursor on circulating
        testosterone levels in young men. Douglas S. King, Rick L. Sharp, Matthew
        D. Vukovich, Gregory A. Brown, et al., Effect of Oral Androstenedione on
        Serum Testosterone and Adaptations to Resistance Training in Young Men: A
        Randomized Controlled Trial, JAMA 281: 2020-2028 (1999); G. A. Brown, M.
        A. Vukovich, et al., Effects of Anabolic Precursors on Serum Testosterone
        Concentrations and Adaptations to Resistance Training in Young Men, INT J
        SPORT NUTR EXERC METAB 10: 340-359 (2000).

       A study of the effect of ingestion of that same testosterone precursor on
        circulating testosterone levels in young women. G. A. Brown, J. C. Dewey, et



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         al., Changes in Serum Testosterone and Estradiol Concentrations Following
         Acute Androstenedione Ingestion in Young Women, HORM METAB RES 36: 62-
         66 (2004.)

        A study finding (among other things) that body height, body mass, vertical
         jump height, maximal oxygen consumption, and leg press maximal strength
         were higher in a group of physically active men than comparably active
         women, while the women had higher percent body fat. G. A. Brown, Michael
         W. Ray, et al., Oxygen Consumption, Heart Rate, and Blood Lactate
         Responses to an Acute Bout of Plyometric Depth Jumps in College-Aged Men
         And Women, J. STRENGTH COND RES 24: 2475-2482 (2010).

        A study finding (among other things) that height, body mass, and maximal
         oxygen consumption were higher in a group of male NCAA Division 2
         distance runners, while women NCAA Division 2 distance runners had
         higher percent body fat. Furthermore, these male athletes had a faster mean
         competitive running speed (~3.44 min/km) than women (~3.88 min/km), even
         though the men ran 10 km while the women ran 6 km. Katherine Semin,
         Alvah C. Stahlnecker, Kate A. Heelan, G. A. Brown, et al, Discrepancy
         Between Training, Competition and Laboratory Measures of Maximum Heart
         Rate in NCAA Division 2 Distance Runners, JOURNAL OF SPORTS SCIENCE AND
         MEDICINE 7: 455-460 (2008).

        A presentation at the 2021 American Physiological Society New Trends in
         Sex and Gender Medicine Conference entitled “Transwomen Competing in
         Women’s Sports: What We Know and What We Don’t”. I have also authored
         an August 2021 entry for the American Physiological Society Physiology
         Educators Community of Practice Blog (PECOP Blog) titled “The Olympics,
         Sex, and Gender in the Physiology Classroom.”

 A list of my published scholarly work for the past 10 years appears as an Appendix.


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                             Purpose of this Declaration


         I have been asked by counsel for Defendant State of West Virginia and
 Intervenor Defendant Lainey Armistead in the matter of B.P.J. by her next friend
 and mother Heather Jackson, v. State of West Virginia State Board of Education, et
 al. to offer my opinions about the following: (a) whether males have inherent
 advantages in athletic performance over females, and if so the scale and
 physiological basis of those advantages, to the extent currently understood by
 science and (b) whether the sex-based performance advantage enjoyed by males is
 eliminated if feminizing hormones are administered to male athletes who identify
 as transgender (and in the case of prepubertal children, whether puberty blockers
 eliminate the advantage). In this declaration, when I use the terms “boy” or “male,”
 I am referring to biological males based on the individual’s reproductive biology and
 genetics as determined at birth. Similarly, when I use the terms “girl” or “female,” I
 am referring to biological females based on the individual’s reproductive biology and
 genetics as determined at birth. When I use the term transgender, I am referring to
 persons who are males or females, but who identify as a member of the opposite sex.

        I have previously provided expert information in cases similar to this one in
 the form of a written declaration and a deposition in the case of Soule vs. CIAC in
 the state of Connecticut, and in the form of a written declaration in the case of
 Hecox vs. Little in the state of Idaho. I have not previously testified as an expert in
 any trials.

        The opinions I express in this declaration are my own, and do not necessarily
 reflect the opinions of my employer, the University of Nebraska.

        I have been compensated for my time serving as an expert in this case at the
 rate of $150 per hour. My compensation does not depend on the outcome in the case.

 




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                                           Overview

       In this declaration, I explore three important questions relevant to current
 discussions and policy decisions concerning inclusion of transgender individuals in
 women’s athletic competitions. Based on my professional familiarity with exercise
 physiology and my review of the currently available science, including that
 contained in the many academic sources I cite in this report, I set out and explain
 three basic conclusions:

             At the level of (a) elite, (b) collegiate, (c) scholastic, and (d) recreational
              competition, men, adolescent boys, or male children, have an advantage
              over equally aged, gifted, and trained women, adolescent girls, or female
              children in almost all athletic events;

             Biological male physiology is the basis for the performance advantage that
              men, adolescent boys, or male children have over women, adolescent girls,
              or female children in almost all athletic events; and

             The administration of androgen inhibitors and cross-sex hormones to men
              or adolescent boys after the onset of male puberty does not eliminate the
              performance advantage that men and adolescent boys have over women
              and adolescent girls in almost all athletic events. Likewise, there is no
              published scientific evidence that the administration of puberty blockers
              to males before puberty eliminates the pre-existing athletic advantage
              that prepubertal males have over prepubertal females in almost all
              athletic events.

       In short summary, men, adolescent boys, and prepubertal male children
 perform better in almost all sports than women, adolescent girls, and prepubertal
 female children because of their inherent physiological advantages. In general, men,
 adolescent boys, and prepubertal male children, can run faster, output more
 muscular power, jump higher, and possess greater muscular endurance than
 women, adolescent girls, and prepubertal female children. These advantages
 become greater during and after male puberty, but they exist before puberty.

        Further, while after the onset of puberty males are on average taller and
 heavier than females, a male performance advantage over females has been
 measured in weightlifting competitions even between males and females matched
 for body mass.

        Male advantages in measurements of body composition, tests of physical
 fitness, and athletic performance have also been shown in children before puberty.
 These advantages are magnified during puberty, triggered in large part by the
 higher testosterone concentrations in men, and adolescent boys, after the onset of

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 male puberty. Under the influence of these higher testosterone levels, adolescent
 boys and young men develop even more muscle mass, greater muscle strength, less
 body fat, higher bone mineral density, greater bone strength, higher hemoglobin
 concentrations, larger hearts and larger coronary blood vessels, and larger overall
 statures than women. In addition, maximal oxygen consumption (VO2max), which
 correlates to ~30-40% of success in endurance sports, is higher in both elite and
 average men and boys than in comparable women and girls when measured in
 regard to absolute volume of oxygen consumed and when measured relative to body
 mass.

       Although androgen deprivation (that is, testosterone suppression) may
 modestly decrease some physiological advantages that men and adolescent boys
 have over women and adolescent girls, it cannot fully or even largely eliminate
 those physiological advantages once an individual has passed through male
 puberty.



                             Evidence and Conclusions

I.   The scientific reality of biological sex

        1.    The scientific starting point for the issues addressed in this report is
 the biological fact of dimorphic sex in the human species. It is now well recognized
 that dimorphic sex is so fundamental to human development that, as stated in a
 recent position paper issued by the Endocrine Society, it “must be considered in the
 design and analysis of human and animal research. . . . Sex is dichotomous, with
 sex determination in the fertilized zygote stemming from unequal expression of sex
 chromosomal genes.” (Bhargava et al. 2021 at 220). As stated by Sax (2002 at 177),
 “More than 99.98% of humans are either male or female.” All humans who do not
 suffer from some genetic or developmental disorder are unambiguously male or
 female.

        2.    Although sex and gender are used interchangeably in common
 conversation, government documents, and in the scientific literature, the American
 Psychological Association defines sex as “physical and biological traits” that
 “distinguish between males and females” whereas gender “implies the
 psychological, behavioral, social, and cultural aspects of being male or female (i.e.,
 masculinity or femininity)” (https://dictionary.apa.org, accessed January 14, 2022).
 The concept that sex is an important biological factor determined at conception is a
 well-established scientific fact that is supported by statements from a number of
 respected organizations including, but not limited to, the Endocrine Society
 (Bhargava et al. 2021 at 220), the American Physiological Society (Shah 2014), the
 Institute of Medicine, and the National Institutes of Health (Miller 2014 at H781-
 82). Collectively, these and other organizations have stated that every cell has a sex


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 and every system in the body is influenced by sex. Indeed, “sex often influences
 gender, but gender cannot influence sex.” (Bhargava 2021 at 228.)

        3.    To further explain: “The classical biological definition of the 2 sexes is
 that females have ovaries and make larger female gametes (eggs), whereas males
 have testes and make smaller male gametes (sperm) … the definition can be
 extended to the ovaries and testes, and in this way the categories—female and
 male—can be applied also to individuals who have gonads but do not make gametes
 … sex is dichotomous because of the different roles of each sex in reproduction.”
 (Bhargava 2021 at 221.) Furthermore, “sex determination begins with the
 inheritance of XX or XY chromosomes” (Bhargava 2021 at 221.) And, “Phenotypic
 sex differences develop in XX and XY embryos as soon as transcription begins. The
 categories of X and Y genes that are unequally represented or expressed in male
 and female mammalian zygotes … cause phenotypic sex differences” (Bhargava
 2021 at 222.)

        4.    Although disorders of sexual development (DSDs) are sometimes
 confused with discussions of transgender individuals, the two are different
 phenomena. DSDs are disorders of physical development. Many DSDs are
 “associated with genetic mutations that are now well known to endocrinologists and
 geneticists.” (Bhargava 2021 at 225) By contrast, a sense of transgender identity is
 usually not associated with any physical disorder, and “a clear biological causative
 underpinning of gender identity remains to be demonstrated.” (Bhargava 2021 at
 226.)

         5.   Further demonstrating the biological importance of sex, Gershoni and
 Pietrokovski (2017) detail the results of an evaluation of “18,670 out of 19,644
 informative protein-coding genes in men versus women” and reported that “there
 are over 6500 protein-coding genes with significant S[ex]D[ifferential] E[xpression]
 in at least one tissue. Most of these genes have SDE in just one tissue, but about
 650 have SDE in two or more tissues, 31 have SDE in more than five tissues, and 22
 have SDE in nine or more tissues” (Gershoni 2017 at 2-3.) Some examples of tissues
 identified by these authors that have SDE genes include breast mammary tissue,
 skeletal muscle, skin, thyroid gland, pituitary gland, subcutaneous adipose, lung,
 and heart left ventricle. Based on these observations the authors state “As expected,
 Y-linked genes that are normally carried only by men show SDE in many tissues”
 (Gershoni 2017 at 3.) A stated by Heydari et al. (2022, at 1), “Y chromosome harbors
 maleဩspecific genes, which either solely or in cooperation with their X-counterpart,
 and independent or in conjunction with sex hormones have a considerable impact on
 basic physiology and disease mechanisms in most or all tissues development.”

       6.   In a review of 56 articles on the topic of sex-based differences in
 skeletal muscle, Haizlip et al., (2015) state that “More than 3,000 genes have been

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  identified as being differentially expressed between male and female skeletal
  muscle.” (Haizlip 2015 at 30.) Furthermore, the authors state that “Overall,
  evidence to date suggests that skeletal muscle fiber-type composition is dependent
  on species, anatomical location/function, and sex” (Haizlip 2015 at 30.) The
  differences in genetic expression between males and females influence the skeletal
  muscle fiber composition (i.e. fast twitch and fast twitch sub-type and slow twitch),
  the skeletal muscle fiber size, the muscle contractile rate, and other aspects of
  muscle function that influence athletic performance. As the authors review the
  differences in skeletal muscle between males and females they conclude,
  “Additionally, all of the fibers measured in men have significantly larger cross-
  sectional areas (CSA) compared with women.” (Haizlip 2015 at 31.) The authors
  also explore the effects of thyroid hormone, estrogen, and testosterone on gene
  expression and skeletal muscle function in males and females. One major conclusion
  by the authors is that “The complexity of skeletal muscle and the role of sex adding
  to that complexity cannot be overlooked.” (Haizlip 2015 at 37.) The evaluation of
  SDE in protein coding genes helps illustrate that the differences between men and
  women are intrinsically part of the chromosomal and genetic makeup of humans
  which can influence many tissues that are inherent to the athletic competitive
  advantages of men compared to women.

II.   Biological men, or adolescent boys, have large, well-documented
       performance advantages over women and adolescent girls in almost all
       athletic contests.

        7.    It should scarcely be necessary to invoke scientific experts to “prove”
  that men are on average larger, stronger, and faster than women. All of us, along
  with our siblings and our peers and perhaps our children, have passed through
  puberty, and we have watched that differentiation between the sexes occur. This is
  common human experience and knowledge.

         8.   Nevertheless, these differences have been extensively studied and
  measured. I cited many of these studies in the first paper on this topic that I
  prepared, which was submitted in litigation in January 2020. Since then, in light of
  current controversies, several authors have compiled valuable collections or reviews
  of data extensively documenting this objective fact about the human species, as
  manifest in almost all sports, each of which I have reviewed and found informative.
  These include Coleman (2020), Hilton & Lundberg (2021), World Rugby (2020),
  Harper (2021), Hamilton (2021), and a “Briefing Book” prepared by the Women’s
  Sports Policy Working Group (2021). The important paper by Handelsman et al.
  (2018) also gathers scientific evidence of the systematic and large male athletic
  advantage.

        9.   These papers and many others document that men, adolescent boys,
  and prepubertal male children, substantially outperform comparably aged women,



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 adolescent girls and prepubertal female children, in competitions involving running
 speed, swimming speed, cycling speed, jumping height, jumping distance, and
 strength (to name a few, but not all, of the performance differences). As I discuss
 later, it is now clear that these performance advantages for men, adolescent boys,
 and prepubertal male children, are inherent to the biological differences between
 the sexes.

        10. In fact, I am not aware of any scientific evidence today that disproves
 that after puberty men possess large advantages in athletic performance over
 women–so large that they are generally insurmountable for comparably gifted and
 trained athletes at every level (i.e. (a) elite, (b) collegiate, (c) scholastic, and (d)
 recreational competition). And I am not aware of any scientific evidence today that
 disproves that these measured performance advantages are at least largely the
 result of physiological differences between men and women which have been
 measured and are reasonably well understood.

        11. My use of the term “advantage” in this paper must not be read to imply
 any normative judgment. The adult female physique is simply different from the
 adult male physique. Obviously, it is optimized in important respects for the
 difficult task of childbearing. On average, women require far fewer calories for
 healthy survival. Evolutionary biologists can and do theorize about the survival
 value or “advantages” provided by these and other distinctive characteristics of the
 female physique, but I will leave that to the evolutionary biologists. I use
 “advantage” to refer merely to performance advantages in athletic competitions.

        12. I find in the literature a widespread consensus that the large
 performance and physiological advantages possessed by males–rather than social
 considerations or considerations of identity–are precisely the reason that most
 athletic competitions are separated by sex, with women treated as a “protected
 class.” To cite only a few statements accepting this as the justification:

            x Handelsman et al. (2018) wrote, “Virtually all elite sports are
               segregated into male and female competitions. The main justification
               is to allow women a chance to win, as women have major
               disadvantages against men who are, on average, taller, stronger, and
               faster and have greater endurance due to their larger, stronger,
               muscles and bones as well as a higher circulating hemoglobin level.”
               (803)

            x Millard-Stafford et al. (2018) wrote “Current evidence suggests that
               women will not swim or run as fast as men in Olympic events, which
               speaks against eliminating sex segregation in these individual sports”
               (530) “Given the historical context (2% narrowing in swimming over 44
               y), a reasonable assumption might be that no more than 2% of the
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               current performance gap could still potentially be attributed to
               sociocultural influences.”, (533) and “Performance gaps between US
               men and women stabilized within less than a decade after federal
               legislation provided equal opportunities for female participation, but
               only modestly closed the overall gap in Olympic swimming by 2% (5%
               in running).” (533) Dr. Millard-Stafford, a full professor at Georgia
               Tech, holds a Ph.D. in Exercise Physiology and is a past President of
               the American College of Sports Medicine.

            x In 2021, Hilton et al. wrote, “most sports have a female category the
               purpose of which is the protection of both fairness and, in some sports,
               safety/welfare of athletes who do not benefit from the physiological
               changes induced by male levels of testosterone from puberty onwards.”
               (204)

            x In 2020 the Swiss High Court (“Tribunal Fédéral”) observed that “in
               most sports . . . women and men compete in two separate categories,
               because the latter possess natural advantages in terms of physiology.”1

            x The members of the Women’s Sports Policy Working Group wrote that
               “If sports were not sex-segregated, female athletes would rarely be
               seen in finals or on victory podiums,” and that “We have separate sex
               sport and eligibility criteria based on biological sex because this is the
               only way we can assure that female athletes have the same
               opportunities as male athletes not only to participate but to win in
               competitive sport. . . . If we did not separate athletes on the basis of
               biological sex–if we used any other physical criteria–we would never
               see females in finals or on podiums.” (WSPWG Briefing Book 2021 at 5,
               20.)

            x In 2020, the World Rugby organization stated that “the women's
               category exists to ensure protection, safety and equality for those who
               do not benefit from the biological advantage created by these biological
               performance attributes.” (World Rugby Transgender Women
               Guidelines 2020.)

            x In 2021 Harper et al. stated “…the small decrease in strength in
               transwomen after 12–36 months of GAHT [Gender Affirming Hormone
               Therapy] suggests that transwomen likely retain a strength advantage


        “dans la plupart des sports . . . les femmes et les hommes concourent dans
        1

 deux catégories séparées, ces derniers étant naturellement avantagés du point de
 vue physique.” Tribunal Fédéral decision of August 25, 2020, Case 4A_248/2019,
 4A_398/2019, at §9.8.3.3.


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               over cisgender women.” (7) and “…observations in trained transgender
               individuals are consistent with the findings of the current review in
               untrained transgender individuals, whereby 30 months of GAHT may
               be sufficient to attenuate some, but not all, influencing factors
               associated with muscular endurance and performance.” (8)

            x Hamilton et al. (2021), in a consensus statement for the International
               Federation of Sports Medicine (FIMS) concluded that “Transwomen
               have the right to compete in sports. However, cisgender women have
               the right to compete in a protected category.” (1409)

       13. While the sources I mention above gather more extensive scientific
 evidence of this uncontroversial truth, I provide here a brief summary of
 representative facts concerning the male advantage in athletic performance.

               Men are stronger.

         14. Males exhibit greater strength throughout the body. Both Handelsman
 et al. (2018) and Hilton & Lundberg (2021) have gathered multiple literature
 references that document this fact in various muscle groups.

        15. Men have in the neighborhood of 60%-100% greater arm strength
 than women. (Handelsman 2018 at 812.)2 One study of elbow flexion strength
 (basically, bringing the fist up towards the shoulder) in a large sample of men and
 women found that men exhibited 109% greater isometric strength, and 89% higher
 strength in a single repetition. (Hilton 2021 at 204, summarizing Hubal (2005) at
 Table 2.)

        16. Grip strength is often used as a useful proxy for strength more
 generally. In one study, men showed on average 57% greater grip strength than
 women. (Bohannon 2019.) A wider meta-analysis of multiple grip-strength studies
 not limited to athletic populations found that 18- and 19-year-old males exhibited in




        2Handelsman expresses this as women having 50% to 60% of the “upper
 limb” strength of men. Handelsman cites Sale, Neuromuscular function, for this
 figure and the “lower limb” strength figure. Knox et al., Transwomen in elite sport
 (2018) are probably confusing the correct way to state percentages when they state
 that “differences lead to decreased trunk and lower body strength by 64% and 72%
 respectively, in women” (397): interpreted literally, this would imply that men have
 almost 4x as much lower body strength as do women.
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 the neighborhood of 2/3 greater grip strength than females. (Handelsman 2017
 Figure 3, summarizing Silverman 2011 Table 1.)3

        17. In an evaluation of maximal isometric handgrip strength in 1,654
 healthy men, 533 healthy women aged 20-25 years and 60 “highly trained elite
 female athletes from sports known to require high hand-grip forces (judo,
 handball),” Leyk et al. (2007) observed that, “The results of female national elite
 athletes even indicate that the strength level attainable by extremely high training
 will rarely surpass the 50th percentile of untrained or not specifically trained men.”
 (Leyk 2007 at 415.)

        18. Men have in the neighborhood of 25%-60% greater leg strength than
 women. (Handelsman 2018 at 812.) In another measure, men exhibit 54% greater
 knee extension torque and this male leg strength advantage is consistent across the
 lifespan. (Neder 1999 at 120-121.)

       19. When male and female Olympic weightlifters of the same body weight
 are compared, the top males lift weights between 30% and 40% greater than the
 females of the same body weight. But when top male and female performances are
 compared in powerlifting, without imposing any artificial limitations on
 bodyweight, the male record is 65% higher than the female record. (Hilton 2021 at
 203.)

        20. In another measure that combines many muscle groups as well as
 weight and speed, moderately trained males generated 162% greater punching
 power than females even though men do not possess this large an advantage in any
 single bio-mechanical variable. (Morris 2020.) This objective reality was subjectively
 summed up by women’s mixed-martial arts fighter Tamikka Brents, who suffered
 significant facial injuries when she fought against a biological male who identified
 as female and fought under the name of Fallon Fox. Describing the experience,
 Brents said:

            “I’ve fought a lot of women and have never felt the strength
            that I felt in a fight as I did that night. I can’t answer whether
            it’s because she was born a man or not because I’m not a
            doctor. I can only say, I’ve never felt so overpowered ever in my
            life, and I am an abnormally strong female in my own right.”4




        3 Citing Silverman, The secular trend for grip strength in Canada and the
 United States, J. Ports Sci. 29:599-606 (2011).
        4 http://whoatv.com/exclusive-fallon-foxs-latest-opponent-opens-up-to-whoatv/

 (last accessed October 5, 2021).


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              Men run faster.

      21. Many scholars have detailed the wide performance advantages enjoyed
 by men in running speed. One can come at this reality from a variety of angles.

        22. Multiple authors report a male speed advantage in the neighborhood of
 10%-13% in a variety of events, with a variety of study populations. Handelsman et
 al. 2018 at 813 and Handelsman 2017 at 70 both report a male advantage of about
 10% by age 17. Thibault et al. 2010 at 217 similarly reported a stable 10%
 performance advantage across multiple events at the Olympic level. Tønnessen et
 al. (2015 at 1-2) surveyed the data and found a consistent male advantage of 10%-
 12% in running events after the completion of puberty. They document this for both
 short sprints and longer distances. One group of authors found that the male
 advantage increased dramatically in ultra-long-distance competition (Lepers &
 Knechtle 2013.)

        23. A great deal of current interest has been focused on track events. It is
 worth noting that a recent analysis of publicly available sports federation and
 tournament records found that men enjoy the least advantage in running events, as
 compared to a range of other events and metrics, including jumping, pole vaulting,
 tennis serve speed, golf drives, baseball pitching speed, and weightlifting. (Hilton
 2021 at 201-202.) Nevertheless, as any serious runner will recognize, the
 approximately 10% male advantage in running is an overwhelming difference. Dr.
 Hilton calculates that “approximately 10,000 males have personal best times that
 are faster than the current Olympic 100m female champion.” (Hilton 2021 at 204.)
 Professors Doriane Coleman, Jeff Wald, Wickliffe Shreve, and Richard Clark
 dramatically illustrated this by compiling the data and creating the figure below
 (last accessed on February 10, 2022, at https://bit.ly/35yOyS4), which shows that
 the lifetime best performances of three female Olympic champions in the 400m
 event—including Team USA’s Sanya Richards-Ross and Allyson Felix—would not
 match the performances of “literally thousands of boys and men, including
 thousands who would be considered second tier in the men’s category” just in 2017
 alone: (data were drawn from the International Association of Athletics Federations
 (IAAF) website which provides complete, worldwide results for individuals and
 events, including on an annual and an all-time basis).




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        24. Professor Coleman and her colleague Wicklyffe Shreve also created the
 table below (last accessed on February 10, 2022, at https://bit.ly/37E1s2X), which
 “compares the number of men—males over 18—competing in events reported to the
 International Association of Athletics Federation whose results in each event in
 2017 would have ranked them above the very best elite woman that year.”




       25. The male advantage becomes insuperable well before the
 developmental changes of puberty are complete. Dr. Hilton documents that even
 “schoolboys”–defined as age 15 and under–have beaten the female world records in
 running, jumping, and throwing events. (Hilton 2021 at 204.)

       26. Similarly, Coleman and Shreve created the table below (last accessed
 on February 10, 2022, at https://bit.ly/37E1s2X), which “compares the number of
 boys—males under the age of 18—whose results in each event in 2017 would rank
 them above the single very best elite [adult] woman that year:” data were drawn
 from the International Association of Athletics Federations (IAAF) website




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        27. In an analysis I have performed of running events (consisting of the
 100 m, 200 m, 400 m, 800 m, 1500 m, 5000 m, and 10000 m) in the Division 1,
 Division 2, and Division 3 NCAA Outdoor track championships for the years of
 2010-2019, the average performance across all events of the 1st place man was
 14.1% faster than the 1st place woman, with the smallest difference being a 10.2%
 advantage for men in the Division 1 100 m race. The average 8th place man across
 all events (the last place to earn the title of All American) was 11.2% faster than 1st
 place woman, with the smallest difference being a 6.5% advantage for men in the
 Division 1 100 m race. (Brown et al. Unpublished observations, to be presented at
 the 2022 Annual Meeting of the American College of Sports Medicine.)

        28. Athletic.net® is an internet-based resource providing “results, team,
 and event management tools to help coaches and athletes thrive.” Among the
 resources available on Athletic.net are event records that can be searched by
 nationally or by state age group, school grade, and state. Higerd (2021) in an
 evaluation of high school track running performance records from five states(CA,
 FL, MN, NY, WA), over three years (2017 – 2019) observed that males were 14.38%
 faster than females in the 100M (at 99), 16.17% faster in the 200M (at 100), 17.62%
 faster in the 400M (at 102), 17.96% faster in the 800M (at 103), 17.81% faster in the
 1600M (at 105), and 16.83% faster in the 3200M (at 106).

              Men jump higher and farther.

        29. Jumping involves both leg strength and speed as positive factors, with
 body weight of course a factor working against jump height. Despite their
 substantially greater body weight, males enjoy an even greater advantage in
 jumping than in running. Handelsman 2018 at 813, looking at youth and young
 adults, and Thibault 2010 at 217, looking at Olympic performances, both found
 male advantages in the range of 15%-20%. See also Tønnessen 2015 (approximately
 19%); Handelsman 2017 (19%); Hilton 2021 at 201 (18%). Looking at the vertical
 jump called for in volleyball, research on elite volleyball players found that males
 jumped on average 50% higher during an “attack” at the net than did females.
 (Sattler 2015; see also Hilton 2021 at 203 (33% higher vertical jump).)

        30. Higerd (2021) in an evaluation of high school high jump performance
 available through the track and field database athletic.net®, which included five
 states (CA, FL, MN, NY, WA), over three years (2017 – 2019) (at 82) observed that
 in 23,390 females and 26,843 males, females jumped an average of 1.35 m and
 males jumped an average of 1.62 m, for an 18.18% performance advantage for males
 (at 96). In an evaluation of long jump performance in 45,705 high school females
 and 54,506 high school males the females jumped an average of 4.08 m and males
 jumped an average of 5.20 m, for a 24.14% performance advantage for males (at 97).




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        31. The combined male advantage of body height and jump height means,
 for example, that a total of seven women in the WNBA have ever dunked a
 basketball in the regulation 10 foot hoop,5 while the ability to dunk appears to be
 almost universal among NBA players: “Since the 1996–97 season (the earliest data
 is available from Basketball-Reference.com), 1,801 different [NBA] players have
 combined for 210,842 regular-season dunks, and 1,259 out of 1,367 players (or 92%)
 who have played at least 1,000 minutes have dunked at least once.”6

              Men throw, hit, and kick faster and farther.

      32. Strength, arm-length, and speed combine to give men a large
 advantage over women in throwing. This has been measured in a number of studies.

        33. One study of elite male and female baseball pitchers showed that men
 throw baseballs 35% faster than women—81 miles/hour for men vs. 60 miles/hour
 for women. (Chu 2009.) By age 12, “boys’ throwing velocity is already between 3.5
 and 4 standard deviation units higher than the girls’.” (Thomas 1985 at 276.) By age
 seventeen, the average male can throw a ball farther than 99% of seventeen-year-
 old females. (Lombardo 2018; Chu 2009; Thomas 1985 at 268.) Looking at publicly
 available data, Hilton & Lundberg found that in both baseball pitching and the field
 hockey “drag flick,” the record ball speeds achieved by males are more than 50%
 higher than those achieved by females. (Hilton 2021 at 202-203.)

        34. Men achieve serve speeds in tennis more that 15% faster than women;
 and likewise in golf achieve ball speeds off the tee more than 15% faster than
 women. (Hilton 2021 at 202.)

      35. Males are able to throw a javelin more than 30% farther than females.
 (Lombardo 2018 Table 2; Hilton 2021 at 203.)

        36. Men serve and spike volleyballs with higher velocity than women, with
 a performance advantage in the range of 29-34%. (Hilton 2021 at 204 Fig. 1.)

        37. Men are also able to kick balls harder and faster. A study comparing
 collegiate soccer players found that males kick the ball with an average 20% greater
 velocity than females. (Sakamoto 2014.)




        5 https://www.espn.com/wnba/story/_/id/32258450/2021-wnba-playoffs-
 brittney-griner-owns-wnba-dunking-record-coming-more.
        6 https://www.si.com/nba/2021/02/22/nba-non-dunkers-patty-mills-tj-

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                Males exhibit faster reaction times.

          38. Interestingly, men enjoy an additional advantage over women in
   reaction time–an attribute not obviously related to strength or metabolism (e.g.
   V02max). “Reaction time in sports is crucial in both simple situations such as the
   gun shot in sprinting and complex situations when a choice is required. In many
   team sports this is the foundation for tactical advantages which may eventually
   determine the outcome of a game.” (Dogan 2009 at 92.) “Reaction times can be an
   important determinant of success in the 100m sprint, where medals are often
   decided by hundredths or even thousandths of a second.” (Tønnessen 2013 at 885.)

           39. The existence of a sex-linked difference in reaction times is consistent
   over a wide range of ages and athletic abilities. (Dykiert 2012.) Even by the age of 4
   or 5, in a ruler-drop test, males have been shown to exhibit 4% to 6% faster reaction
   times than females. (Latorre-Roman 2018.) In high school athletes taking a common
   baseline “ImPACT” test, males showed 3% faster reaction times than females.
   (Mormile 2018.) Researchers have found a 6% male advantage in reaction times of
   both first-year medical students (Jain 2015) and world-class sprinters (Tønnessen
   2013).

          40. Most studies of reaction times use computerized tests which ask
   participants to hit a button on a keyboard or to say something in response to a
   stimulus. One study on NCAA athletes measured “reaction time” by a criterion
   perhaps more closely related to athletic performance–that is, how fast athletes
   covered 3.3 meters after a starting signal. Males covered the 3.3 meters 10% faster
   than females in response to a visual stimulus, and 16% faster than females in
   response to an auditory stimulus. (Spierer 2010.)

         41. Researchers have speculated that sex-linked differences in brain
   structure, as well as estrogen receptors in the brain, may be the source of the
   observed male advantage in reaction times, but at present this remains a matter of
   speculation and hypothesis. (Mormile at 19; Spierer at 962.)

III.   Men have large measured physiological differences compared to
        women which demonstrably or likely explain their performance
        advantages.

          42. No single physiological characteristic alone accounts for all or any one
   of the measured advantages that men enjoy in athletic performance. However,
   scientists have identified and measured a number of physiological factors that
   contribute to superior male performance.




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              Men are taller and heavier than women

        43. In some sports, such as basketball and volleyball, height itself provides
 competitive advantage. While some women are taller than some men, based on data
 from 20 countries in North America, Europe, East Asia, and Australia, the 50th
 percentile for body height for women is 164.7 cm (5 ft 5 inches) and the 50th
 percentile for body height for men is 178.4 cm (5 ft 10 inches). Helping to illustrate
 the inherent height difference between men and women, from the same data
 analysis, the 95th percentile for body height for women is 178.9 cm (5 feet 10.43
 inches), which is only 0.5 cm taller than the 50th percentile for men (178.4 cm; 5 feet
 10.24 inches), while the 95th percentile for body height for men is 193.6 cm (6 feet
 4.22 inches). (Roser 2013.)

        44. To look at a specific athletic population, an evaluation of NCAA
 Division 1 basketball players compared 68 male guards and 59 male forwards to 105
 female guards and 91 female forwards, and found that on average the male guards
 were 187.4 ± 7.0 cm tall and weighed 85.2 ± 7.4 kg while the female guards were
 171.6 ± 5.0 cm tall and weighed 68.0 ± 7.4 kg. The male forwards were 201.7 ± 4.0
 cm tall and weighed 105.3 ± 5.9 kg while the female forwards were 183.5 ± 4.4 cm
 tall and weighed 82.2 ± 12.5 kg. (Fields 2018 at 3.)

              Males have larger and longer bones, stronger bones, and
               different bone configuration.

       45. Obviously, males on average have longer bones. “Sex differences in
 height have been the most thoroughly investigated measure of bone size, as adult
 height is a stable, easily quantified measure in large population samples. Extensive
 twin studies show that adult height is highly heritable with predominantly additive
 genetic effects that diverge in a sex-specific manner from the age of puberty
 onwards.” (Handelsman 2018 at 818.) “Pubertal testosterone exposure leads to an
 ultimate average greater height in men of 12–15 centimeters, larger bones, greater
 muscle mass, increased strength and higher hemoglobin levels.” (Gooren 2011 at
 653.)

        46. “Men have distinctively greater bone size, strength, and density than
 do women of the same age. As with muscle, sex differences in bone are absent prior
 to puberty but then accrue progressively from the onset of male puberty due to the
 sex difference in exposure to adult male circulating testosterone concentrations.”
 (Handelsman 2018 at 818.)

       47. “[O]n average men are 7% to 8% taller with longer, denser, and
 stronger bones, whereas women have shorter humerus and femur cross-sectional



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 areas being 65% to 75% and 85%, respectively, those of men.” (Handelsman 2018 at
 818.)

        48. Greater height, leg, and arm length themselves provide obvious
 advantages in several sports. But male bone geometry also provides less obvious
 advantages. “The major effects of men’s larger and stronger bones would be
 manifest via their taller stature as well as the larger fulcrum with greater leverage
 for muscular limb power exerted in jumping, throwing, or other explosive power
 activities.” (Handelsman 2018 at 818.)

       49. Male advantage in bone size is not limited to length, as larger bones
 provide the mechanical framework for larger muscle mass. “From puberty onwards,
 men have, on average, 10% more bone providing more surface area. The larger
 surface area of bone accommodates more skeletal muscle so, for example, men have
 broader shoulders allowing more muscle to build. This translates into 44% less
 upper body strength for women, providing men an advantage for sports like boxing,
 weightlifting and skiing. In similar fashion, muscle mass differences lead to
 decreased trunk and lower body strength by 64% and 72%, respectively in women.
 These differences in body strength can have a significant impact on athletic
 performance, and largely underwrite the significant differences in world record
 times and distances set by men and women.” (Knox 2019 at 397.)

        50. Meanwhile, distinctive aspects of the female pelvis geometry cut
 against athletic performance. “[T]he widening of the female pelvis during puberty,
 balancing the evolutionary demands of obstetrics and locomotion, retards the
 improvement in female physical performance.” (Handelsman 2018 at 818.) “[T]he
 major female hormones, oestrogens, can have effects that disadvantage female
 athletic performance. For example, women have a wider pelvis changing the hip
 structure significantly between the sexes. Pelvis shape is established during
 puberty and is driven by oestrogen. The different angles resulting from the female
 pelvis leads to decreased joint rotation and muscle recruitment ultimately making
 them slower.” (Knox 2019 at 397.)

        51. There are even sex-based differences in foot size and shape.
 Wunderlich & Cavanaugh (2001) observed that a “foot length of 257 mm represents
 a value that is … approximately the 20th percentile men’s foot lengths and the 80th
 percentile women’s foot lengths.” (607) and “For a man and a woman, both with
 statures of 170 cm (5 feet 7 inches), the man would have a foot that was
 approximately 5 mm longer and 2 mm wider than the woman.” (608). Based on
 these, and other analyses, they conclude that “female feet and legs are not simply
 scaled-down versions of male feet but rather differ in a number of shape
 characteristics, particularly at the arch, the lateral side of the foot, the first toe, and
 the ball of the foot.” (605) Further, Fessler et al. (2005) observed that “female foot
 length is consistently smaller than male foot length” (44) and concludes that



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 “proportionate foot length is smaller in women” (51) with an overall conclusion that
 “Our analyses of genetically disparate populations reveal a clear pattern of sexual
 dimorphism, with women consistently having smaller feet proportionate to stature
 than men.” (53)

         52. Beyond simple performance, the greater density and strength of male
 bones provide higher protection against stresses associated with extreme physical
 effort: “[S]tress fractures in athletes, mostly involving the legs, are more frequent in
 females, with the male protection attributable to their larger and thicker bones.”
 (Handelsman 2018 at 818.)

              Males have much larger muscle mass.

        53. The fact that, on average, men have substantially larger muscles than
 women is as well known to common observation as men’s greater height. But the
 male advantage in muscle size has also been extensively measured. The differential
 is large.

        54. “On average, women have 50% to 60% of men’s upper arm muscle
 cross-sectional area and 65% to 70% of men’s thigh muscle cross-sectional area, and
 women have 50% to 60% of men’s upper limb strength and 60% to 80% of men’s leg
 strength. Young men have on average a skeletal muscle mass of >12 kg greater
 than age-matched women at any given body weight.” (Handelsman 2018 at 812. See
 also Gooren 2011 at 653, Thibault 2010 at 214.)

       55. “There is convincing evidence that the sex differences in muscle mass
 and strength are sufficient to account for the increased strength and aerobic
 performance of men compared with women and is in keeping with the differences in
 world records between the sexes.” (Handelsman 2018 at 816.)

        56. Once again, looking at specific and comparable populations of athletes,
 an evaluation of NCAA Division 1 basketball players consisting of 68 male guards
 and 59 male forwards, compared to 105 female guards and 91 female forwards,
 reported that on average the male guards had 77.7 ± 6.4 kg of fat free mass and 7.4
 ± 3.1 kg fat mass while the female guards had 54.6 ± 4.4 kg fat free mass and 13.4 ±
 5.4 kg fat mass. The male forwards had 89.5 ± 5.9 kg fat free mass and 15.9 ± 5.6
 kg fat mass while the female forwards had 61.8 ± 5.9 kg fat free mass and 20.5 ± 7.7
 kg fat mass. (Fields 2018 at 3.)

              Females have a larger proportion of body fat.

       57. While women have smaller muscles, they have proportionately more
 body fat, in general a negative for athletic performance. “Oestrogens also affect body

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 composition by influencing fat deposition. Women, on average, have higher
 percentage body fat, and this holds true even for highly trained healthy athletes
 (men 5%–10%, women 8%–15%). Fat is needed in women for normal reproduction
 and fertility, but it is not performance-enhancing. This means men with higher
 muscle mass and less body fat will normally be stronger kilogram for kilogram than
 women.” (Knox 2019 at 397.)

       58. “[E]lite females have more (<13 vs. <5 %) body fat than males. Indeed,
 much of the difference in [maximal oxygen uptake] between males and females
 disappears when it is expressed relative to lean body mass. . . . Males possess on
 average 7–9 % less percent body fat than females.” (Lepers 2013 at 853.)

        59. Knox et al. observe that both female pelvis shape and female body fat
 levels “disadvantage female athletes in sports in which speed, strength and recovery
 are important,” (Knox 2019 at 397), while Tønnessen et al. describe the “ratio
 between muscular power and total body mass” as “critical” for athletic performance.
 (Tønnessen 2015 at 7.)

              Males are able to metabolize and release energy to muscles at a
               higher rate due to larger heart and lung size, and higher
               hemoglobin concentrations.

        60. While advantages in bone size, muscle size, and body fat are easily
 perceived and understood by laymen, scientists also measure and explain the male
 athletic advantage at a more abstract level through measurements of metabolism,
 or the ability to deliver energy to muscles throughout the body.

        61. Energy release at the muscles depends centrally on the body’s ability
 to deliver oxygen to the muscles, where it is essential to the complex chain of
 biochemical reactions that make energy available to power muscle fibers. Men have
 multiple distinctive physiological attributes that together give them a large
 advantage in oxygen delivery.

       62. Oxygen is taken into the blood in the lungs. Men have greater
 capability to take in oxygen for multiple reasons. “[L]ung capacity [is] larger in
 men because of a lower diaphragm placement due to Y-chromosome genetic
 determinants.” (Knox 2019 at 397.) Supporting larger lung capacity, men have
 “greater cross-sectional area of the trachea”; that is, they can simply move more air
 in and out of their lungs in a given time. (Hilton 2021 at 201.)

       63. More, male lungs provide superior oxygen exchange even for a given
 volume: “The greater lung volume is complemented by testosterone-driven
 enhanced alveolar multiplication rate during the early years of life. Oxygen
 exchange takes place between the air we breathe and the bloodstream at the alveoli,



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 so more alveoli allows more oxygen to pass into the bloodstream. Therefore, the
 greater lung capacity allows more air to be inhaled with each breath. This is
 coupled with an improved uptake system allowing men to absorb more oxygen.”
 (Knox 2019 at 397.)

        64. “Once in the blood, oxygen is carried by haemoglobin. Haemoglobin
 concentrations are directly modulated by testosterone so men have higher levels
 and can carry more oxygen than women.” (Knox 2019 at 397.) “It is well known that
 levels of circulating hemoglobin are androgen-dependent and consequently higher in
 men than in women by 12% on average…. Increasing the amount of hemoglobin in
 the blood has the biological effect of increasing oxygen transport from lungs to
 tissues, where the increased availability of oxygen enhances aerobic energy
 expenditure.” (Handelsman 2018 at 816.) (See also Lepers 2013 at 853; Handelsman
 2017 at 71.) “It may be estimated that as a result the average maximal oxygen
 transfer will be ~10% greater in men than in women, which has a direct impact on
 their respective athletic capacities.” (Handelsman 2018 at 816.)

       65. But the male metabolic advantage is further multiplied by the fact that
 men are also able to circulate more blood per second than are women.
 “Oxygenated blood is pumped to the active skeletal muscle by the heart. The left
 ventricle chamber of the heart is the reservoir from which blood is pumped to the
 body. The larger the left ventricle, the more blood it can hold, and therefore, the
 more blood can be pumped to the body with each heartbeat, a physiological
 parameter called ‘stroke volume’.The female heart size is, on average, 85% that of a
 male resulting in the stroke volume of women being around 33% less.” (Knox 2018
 at 397.) Hilton cites different studies that make the same finding, reporting that
 men on average can pump 30% more blood through their circulatory system per
 minute (“cardiac output”) than can women. (Hilton 2021 at 202.)

        66. Finally, at the cell where the energy release is needed, men appear to
 have yet another advantage. “Additionally, there is experimental evidence that
 testosterone increases . . . mitochondrial biogenesis, myoglobin expression, and
 IGF-1 content, which may augment energetic and power generation of skeletal
 muscular activity.” (Handelsman 2018 at 811.)

        67. “Putting all of this together, men have a much more efficient
 cardiovascular and respiratory system.” (Knox 2019 at 397.) A widely accepted
 measurement that reflects the combined effects of all these respiratory,
 cardiovascular, and metabolic advantages is referred to as “V02max,” which refers
 to the maximum rate at which an individual can consume oxygen during aerobic




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  exercise.7 Looking at 11 separate studies, including both trained and untrained
  individuals, Pate et al. concluded that men have a 50% higher V02max than women
  on average, and a 25% higher V02max in relation to body weight. (Pate 1984 at 92.
  See also Hilton 2021 at 202.)


IV.   The role of testosterone in the development of male advantages in
       athletic performance.

         68. The following tables of reference ranges for circulating testosterone in
  males and females are presented to help provide context for some of the subsequent
  information regarding athletic performance and physical fitness in children, youth,
  and adults, and regarding testosterone suppression in transwomen and athletic
  regulations. These data were obtained from the Mayo Clinic Laboratories (available
  at https://www.mayocliniclabs.com/test-catalog/overview/83686#Clinical-and-
  Interpretive, accessed January 14, 2022).


  Reference ranges for serum testosterone concentrations in males and females.
   Age                            Males                        Females
   0 – 5 months             2.6 – 13.9 nmol/l               0.7 – 2.8 nmol/l
   6 months – 9 years        0.2 – 0.7 nmol/l               0.2 – 0.7 nmol/l
   10 – 11 years             0.2 – 4.5 nmol/l               0.2 – 1.5 nmol/l
   12 -13 years             0.2 – 27.7 nmol/l               0.2 – 2.6 nmol/l
   14 years                 0.2 – 41.6 nmol/l               0.2 – 2.6 nmol/l
   15 – 16 years            3.5 – 41.6 nmol/l               0.2 – 2.6 nmol/l
   17 – 18 years            10.4 – 41.6 nmol/l              0.7 – 2.6 nmol/l
   19 years and older       8.3 – 32.9 nmol/l               0.3 – 2.1 nmol/l

   Please note that testosterone concentrations are sometimes expressed in units of
   ng/dl, and 1 nmol/l = 28.85 ng/dl.

         69. Tanner Stages can be used to help evaluate the onset and progression
  of puberty and may be more helpful in evaluating normal testosterone
  concentrations than age in adolescents. “Puberty onset (transition from Tanner
  stage I to Tanner stage II) occurs for boys at a median age of 11.5 years and for girls



         7 V02max is “based on hemoglobin concentration, total blood volume, maximal
  stroke volume, cardiac size/mass/compliance, skeletal muscle blood flow, capillary
  density, and mitochondrial content.” International Statement, The Role of
  Testosterone in Athletic Performance (January 2019), available at
  https://law.duke.edu/sites/default/files/centers/sportslaw/Experts_T_Statement_201
  9.pdf.


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 at a median age of 10.5 years. . . . Progression through Tanner stages is variable.
 Tanner stage V (young adult) should be reached by age 18.”
 (https://www.mayocliniclabs.com/test-catalog/overview/83686#Clinical-and-
 Interpretive, accessed January 14, 2022).

 Reference Ranges for serum testosterone concentrations by Tanner stage
       Tanner Stage                    Males                    Females
       I (prepubertal)            0.2 – 0.7 nmol/l           0.7 – 0.7 nmol/l
              II                  0.3 – 2.3 nmo/l            0.2 – 1.6 nmol/l
             III                 0.9 – 27.7 nmol/l           0.6 – 2.6 nmol/l
              IV                 2.9 – 41.6 nmol/l           0.7 – 2.6 nmol/l
       V (young adult)           10.4 – 32.9 nmol/           0.4 – 2.1 nmol/l


        70. Senefeld et al. (2020 at 99) state that “Data on testosterone levels in
 children and adolescents segregated by sex are scarce and based on convenience
 samples or assays with limited sensitivity and accuracy.” They therefore “analyzed
 the timing of the onset and magnitude of the divergence in testosterone in youths
 aged 6 to 20 years by sex using a highly accurate assay” (isotope dilution liquid
 chromatography tandem mass spectrometry) Senefeld observed a significant
 difference beginning at age 11, which is to say about fifth grade.

 Serum testosterone concentrations (nmol/L) in youths aged 6 to 20 years measured
 using isotope dilution liquid chromatography tandem mass spectrometry (Senefeld
 et al. ,2020, at 99)
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              Boys exhibit advantages in athletic performance even before
               puberty.

        71. It is often said or assumed that boys enjoy no significant athletic
 advantage over girls before puberty. However, this is not true. Writing in their
 seminal work on the physiology of elite young female athletes, McManus and
 Armstrong (2011) reviewed the differences between boys and girls regarding bone
 density, body composition, cardiovascular function, metabolic function, and other
 physiologic factors that can influence athletic performance. They stated, “At birth,
 boys tend to have a greater lean mass than girls. This difference remains small but
 detectable throughout childhood with about a 10% greater lean mass in boys than
 girls prior to puberty.” (28) “Sexual dimorphism underlies much of the physiologic
 response to exercise,” and most importantly these authors concluded that, “Young
 girl athletes are not simply smaller, less muscular boys.” (23)

       72. Certainly, boys’ physiological and performance advantages increase
 rapidly from the beginning of puberty until around age 17-19. But much data and
 multiple studies show that significant physiological differences, and significant
 male athletic performance advantages in certain areas, exist before significant
 developmental changes associated with male puberty have occurred.

         73. Starting at birth, girls have more body fat and less fat-free mass than
 boys. Davis et al. (2019) in an evaluation of 602 infants reported that at birth and
 age 5 months, infant boys have larger total body mass, body length, and fat-free
 mass while having lower percent body fat than infant girls. In an evaluation of 20
 boys and 20 girls ages 3-8 years old, matched for age, height, and body weight
 Taylor et al. (Taylor 1997) reported that the “boys had significantly less fat, a lower
 % body fat and a higher bone-free lean tissue mass than the girls” when “expressed
 as a percentage of the average fat mass of the boys”, the girls’ fat mass was 52%
 higher than the boys “…while the bone-free lean tissue mass was 9% lower” (at
 1083.) In an evaluation of 376 prepubertal [Tanner Stage 1] boys and girls, Taylor
 et al. (2010) observed that the boys had 21.6% more lean mass, and 13% less body
 fat (when expressed as percent of total body mass) than did the girls. In a review of
 22 peer reviewed publications on the topic, Staiano and Katzmarzyk (2012) conclude
 that “… girls have more T[otal]B[ody]F[at] than boys throughout childhood and
 adolescence. (at 4.)

        74. In the seminal textbook, Growth, Maturation, and Physical Activity,
 Malina et al. (2004) present a summary of data from Gauthier et al. (1983) which
 present data from “a national sample of Canadian children and youth”
 demonstrating that from ages 7 to17, boys have a higher aerobic power output than
 do girls of the same ages when exercise intensity is measured using heart rate



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 (Malina at 242.) That is to say, that at a heart rate of 130 beats per minute, or 150,
 or 170, a 7 to 17 year old boy should be able to run, bike, or swim faster than a
 similarly aged girl.

       75. Considerable data from school-based fitness testing exists showing
 that prepubertal boys outperform comparably aged girls in tests of muscular
 strength, muscular endurance, and running speed. These sex-based differences in
 physical fitness are relevant to the current issue of sex-based sports categories
 because, as stated by Lesinski et al. (2020), in an evaluation “of 703 male and
 female elite young athletes aged 8–18” (1) “fitness development precedes sports
 specialization” (2) and further observed that “males outperformed females in
 C[ounter]M[ovement]J[ump], D[rop]J[ump], C[hange]o[f]D[irection speed]
 performances and hand grip strength.” (5).

        76. Tambalis et al. (2016) states that “based on a large data set comprising
 424,328 test performances” (736) using standing long jump to measure lower body
 explosive power, sit and reach to measure flexibility, timed 30 second sit ups to
 measure abdominal and hip flexor muscle endurance, 10 x 5 meter shuttle run to
 evaluate speed and agility, and multi-stage 20 meter shuttle run test to estimate
 aerobic performance (738). “For each of the fitness tests, performance was better in
 boys compared with girls (p < 0.001), except for the S[it and] R[each] test (p <
 0.001).” (739) In order to illustrate that the findings of Tambalis (2016) are not
 unique to children in Greece, the authors state “Our findings are in accordance with
 recent studies from Latvia [ ] Portugal [ ] and Australia [Catley & Tomkinson
 (2013)].”(744).

        77. The 20-m multistage fitness test is a commonly used maximal running
 aerobic fitness test used in the Eurofit Physical Fitness Test Battery and the
 FitnessGram Physical Fitness test. It is also known as the 20-meter shuttle run
 test, PACER test, or beep test (among other names; this is not the same test as the
 shuttle run in the Presidential Fitness Test). This test involves continuous running
 between two lines 20 meters apart in time to recorded beeps. The participants stand
 behind one of the lines facing the second line and begin running when instructed by
 the recording. The speed at the start is quite slow. The subject continues running
 between the two lines, turning when signaled by the recorded beeps. After about
 one minute, a sound indicates an increase in speed, and the beeps will be closer
 together. This continues each minute (level). If the line is reached before the beep
 sounds, the subject must wait until the beep sounds before continuing. If the line is
 not reached before the beep sounds, the subject is given a warning and must
 continue to run to the line, then turn and try to catch up with the pace within two
 more 'beeps'. The subject is given a warning the first time they fail to reach the line
 (within 2 meters) and eliminated after the second warning.


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        78. To illustrate the sex-based performance differences observed by
 Tambalis, I have prepared the following table showing the number of laps
 completed in the 20 m shuttle run for children ages 6-18 years for the low, middle,
 and top decile (Tambalis 2016 at 740 & 742), and have calculated the percent
 difference between the boys and girls using the same equation as Millard-Stafford
 (2018).

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        79. The Presidential Fitness Test was widely used in schools in the United
 States from the late 1950s until 2013 (when it was phased out in favor of the
 Presidential Youth Fitness Program and FitnessGram, both of which focus on
 health-related physical fitness and do not present data in percentiles). Students
 participating in the Presidential Fitness Test could receive “The National Physical
 Fitness Award” for performance equal to the 50th percentile in five areas of the
 fitness test, “while performance equal to the 85th percentile could receive the
 Presidential Physical Fitness Award.” Tables presenting the 50th and 85th
 percentiles for the Presidential Fitness Test for males and females ages 6 – 17, and
 differences in performance between males and females, for curl-ups, shuttle run, 1
 mile run, push-ups, and pull-ups appear in the Appendix.

        80. For both the 50th percentile (The National Physical Fitness Award) and
 the 85th percentile (Presidential Physical Fitness Award), with the exception of curl-
 ups in 6-year-old children, boys outperform girls. The difference in pull-ups for the
 85th percentile for ages 7 through 17 are particularly informative with boys




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 outperforming girls by 100% – 1200%, highlighting the advantages in upper body
 strength in males.

        81. A very recent literature review commissioned by the five United
 Kingdom governmental Sport Councils concluded that while “[i]t is often assumed
 that children have similar physical capacity regardless of their sex, . . . large-scale
 data reports on children from the age of six show that young males have significant
 advantage in cardiovascular endurance, muscular strength, muscular endurance,
 speed/agility and power tests,” although they “score lower on flexibility tests.” (UK
 Sports Councils’ Literature Review 2021 at 3.)

        82. Hilton et al., also writing in 2021, reached the same conclusion: “An
 extensive review of fitness data from over 85,000 Australian children aged 9–17
 years old showed that, compared with 9-year-old females, 9-year-old males were
 faster over short sprints (9.8%) and 1 mile (16.6%), could jump 9.5% further from a
 standing start (a test of explosive power), could complete 33% more push-ups in 30
 [seconds] and had 13.8% stronger grip.” (Hilton 2021 at 201, summarizing the
 findings of Catley & Tomkinson 2013.)

        83. The following data are taken from Catley & Tomkinson (2013 at 101)
 showing the low, middle, and top decile for 1.6 km run (1.0 mile) run time for 11,423
 girls and boys ages 9-17.


  NPUXQ PLOH UXQWLPHIRUJLUOVDQGER\VDJHV
                          0DOH                             )HPDOH                0DOH)HPDOH'LIIHUHQFH
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         84. Tomkinson et al. (2018) performed a similarly extensive analysis of
 literally millions of measurements of a variety of strength and agility metrics from
 the “Eurofit” test battery on children from 30 European countries. They provide
 detailed results for each metric, broken out by decile. Sampling the low, middle, and
 top decile, 9-year-old boys performed better than 9-year-old girls by between 6.5%


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 and 9.7% in the standing broad jump; from 11.4% to 16.1% better in handgrip; and
 from 45.5% to 49.7% better in the “bent-arm hang.” (Tomkinson 2018.)

        85. The Bent Arm Hang test is a measure of upper body muscular strength
 and endurance used in the Eurofit Physical Fitness Test Battery. To perform the
 Bent Arm Hang, the child is assisted into position with the body lifted to a height so
 that the chin is level with the horizontal bar (like a pull up bar). The bar is grasped
 with the palms facing away from body and the hands shoulder width apart. The
 timing starts when the child is released. The child then attempts to hold this
 position for as long as possible. Timing stops when the child's chin falls below the
 level of the bar, or the head is tilted backward to enable the chin to stay level with
 the bar.

        86. Using data from Tomkinson (2018; table 7 at 1452), the following table
 sampling the low, middle, and top decile for bent arm hang for 9- to 17-year-old
 children can be constructed:



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                   0DOH                                 )HPDOH              0DOH)HPDOH'LIIHUHQFH
          WK     WK        WK        WK        WK    WK     WK     WK      WK
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        87. Evaluating these data, a 9-year-old boy in the 50th percentile (that is
 to say a 9-year-old boy of average upper body muscular strength and endurance)
 will perform better in the bent arm hang test than 9 through 17-year-old girls in the
 50th percentile. Similarly, a 9-year-old boy in the 90th percentile will perform
 better in the bent arm hang test than 9 through 17-year-old girls in the 90th
 percentile.

        88. Using data from Tomkinson et al. (2017; table 1 at 1549), the following
 table sampling the low, middle, and top decile for running speed in the last stage of
 the 20 m shuttle run for 9- to 17-year-old children can be constructed.




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  PVKXWWOH5XQQLQJVSHHG NPKDWWKHODVWFRPSOHWHGVWDJH 
                    0DOH                              )HPDOH                0DOH)HPDOH'LIIHUHQFH
          WK      WK       WK        WK       WK    WK      WK     WK       WK
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        89. Evaluating these data, a 9-year-old boy in the 50th percentile (that is
 to say a 9-year-old boy of average running speed) will run faster in the final stage of
 the 20 m shuttle run than 9 through 17-year-old girls in the 50th percentile.
 Similarly, a 9-year-old boy in the 90th percentile will run faster in the final stage of
 the 20-m shuttle run than 9 through 15, and 17-year-old girls in the 90th percentile
 and will be 0.01 km/h (0.01%) slower than 16-year-old girls in the 90th percentile.

        90. Just using these two examples for bent arm hang and 20-m shuttle
 running speed (Tomkinson 2107, Tomkinson 2018) based on large sample sizes
 (thus having tremendous statistical power) it becomes apparent that a 9-year-old
 boy will be very likely to outperform similarly trained girls of his own age and older
 in athletic events involving upper body muscle strength and/or running speed.

        91. Another report published in 2014 analyzed physical fitness
 measurements of 10,302 children aged 6 -10.9 years of age, from the European
 countries of Sweden, Germany, Hungary, Italy, Cyprus, Spain, Belgium, and
 Estonia. (De Miguel-Etayo et al. 2014.) The authors observed “… that boys
 performed better than girls in speed, lower- and upper-limb strength and
 cardiorespiratory fitness.” (57) The data showed that for children of comparable
 fitness (i.e. 99th percentile boys vs. 99th percentile girls, 50th percentile boys vs.
 50th percentile girls, etc.) the boys outperform the girls at every age in
 measurements of handgrip strength, standing long jump, 20-m shuttle run, and
 predicted VO2max (pages 63 and 64, respectively). For clarification, VO2max is the
 maximal oxygen consumption, which correlates to 30-40% of success in endurance
 sports.

        92. The standing long jump, also called the Broad Jump, is a common and
 easy to administer test of explosive leg power used in the Eurofit Physical Fitness
 Test Battery and in the NFL Combine. In the standing long jump, the participant
 stands behind a line marked on the ground with feet slightly apart. A two-foot take-

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 off and landing is used, with swinging of the arms and bending of the knees to
 provide forward drive. The participant attempts to jump as far as possible, landing
 on both feet without falling backwards. The measurement is taken from takeoff line
 to the nearest point of contact on the landing (back of the heels) with the best of
 three attempts being scored.

        93. Using data from De Miguel-Etayo et al. (2014, table 3 at 61), which
 analyzed physical fitness measurements of 10,302 children aged 6 -10.9 years of
 age, from the European countries of Sweden, Germany, Hungary, Italy, Cyprus,
 Spain, Belgium, and Estonia, the following table sampling the low, middle, and top
 decile for standing long jump for 6- to 9-year-old children can be constructed:

  6WDQGLQJ%URDG-XPS FP IRUFKLOGUHQDJHV\HDUV
                  0DOH                              )HPDOH             0DOH)HPDOH'LIIHUHQFH
            WK    WK      WK      WK      WK    WK     WK    WK      WK
  $JH      LOH    LOH     LOH      LOH       LOH    LOH     LOH    LOH      LOH
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        94. Another study of Eurofit results for over 400,000 Greek children
 reported similar results. “[C]ompared with 6-year-old females, 6-year-old males
 completed 16.6% more shuttle runs in a given time and could jump 9.7% further
 from a standing position.” (Hilton 2021 at 201, summarizing findings of Tambalis et
 al. 2016.)

        95. Silverman (2011) gathered hand grip data, broken out by age and sex,
 from a number of studies. Looking only at the nine direct comparisons within
 individual studies tabulated by Silverman for children aged 7 or younger, in eight of
 these the boys had strength advantages of between 13 and 28 percent, with the
 remaining outlier recording only a 4% advantage for 7-year-old boys. (Silverman
 2011 Table 1.)

        96. To help illustrate the importance of one specific measure of physical
 fitness in athletic performance, Pocek (2021) stated that to be successful, volleyball
 “players should distinguish themselves, besides in skill level, in terms of above-
 average body height, upper and lower muscular power, speed, and agility. Vertical
 jump is a fundamental part of the spike, block, and serve.” (8377) Pocek further
 stated that “relative vertical jumping ability is of great importance in volleyball
 regardless of the players’ position, while absolute vertical jump values can
 differentiate players not only in terms of player position and performance level but
 in their career trajectories.” (8382)



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        97. Using data from Ramírez-Vélez (2017; table 2 at 994) which analyzed
 vertical jump measurements of 7,614 healthy Colombian schoolchildren aged 9 -17.9
 years of age the following table sampling the low, middle, and top decile for vertical
 jump can be constructed:

  9HUWLFDO-XPS+HLJKW FP IRUFKLOGUHQDJHV\HDUV
                      0DOH                          )HPDOH                   0DOH)HPDOH'LIIHUHQFH
            WK      WK     WK      WK      WK      WK         WK    WK      WK
  $JH      LOH      LOH     LOH      LOH      LOH      LOH         LOH    LOH      LOH
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        98. Similarly, using data from Taylor (2010; table 2, at 869) which
 analyzed vertical jump measurements of 1,845 children aged 10 -15 years in
 primary and secondary schools in the East of England, the following table sampling
 the low, middle, and top decile for vertical jump can be constructed:

  9HUWLFDO-XPS+HLJKW FP IRUFKLOGUHQ\HDUV
                     0DOH                            )HPDOH                  0DOH)HPDOH'LIIHUHQFH
            WK      WK     WK      WK      WK      WK        WK    WK      WK
  $JH      LOH      LOH     LOH      LOH      LOH      LOH        LOH    LOH      LOH
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        99. As can be seen from the data from Ramírez-Vélez (2017) and Taylor
 (2010), males consistently outperform females of the same age and percentile in
 vertical jump height. Both sets of data show that an 11-year-old boy in the 90th
 percentile for vertical jump height will outperform girls in the 90th percentile at
 ages 11 and 12, and will be equal to girls at ages 13, 14, and possibly 15. These data
 indicate that an 11-year-old would be likely to have an advantage over girls of the
 same age and older in sports such as volleyball where “absolute vertical jump


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 values can differentiate players not only in terms of player position and
 performance level but in their career trajectories.” (Pocek 2021 at 8382.)

        100. Boys also enjoy an advantage in throwing well before puberty. “Boys
 exceed girls in throwing velocity by 1.5 standard deviation units as early as 4 to 7
 years of age. . . The boys exceed the girls [in throwing distance] by 1.5 standard
 deviation units as early as 2 to 4 years of age.” (Thomas 1985 at 266.) This means
 that the average 4- to 7-year-old boy can out-throw approximately 87% of all girls of
 his age.

         101. Record data from USA Track & Field indicate that boys outperform
 girls in track events even in the youngest age group for whom records are kept (age
 8 and under).8

            American Youth Outdoor Track & Field Record times in
                  age groups 8 and under (time in seconds)

  Event                Boys                  Girls                  Difference
  100M                 13.65                 13.78                  0.95%
  200M                 27.32                 28.21                  3.26%
  400M                 62.48                 66.10                  5.79%
  800M                 148.59                158.11                 6.41%
  1500M                308.52                314.72                 2.01%
  Mean                                                              3.68%


        102. Looking at the best times within a single year shows a similar pattern
 of consistent advantage for even young boys. I consider the 2018 USATF Region 8
 Junior Olympic Championships for the youngest age group (8 and under).9

  2018 USATF Region 8 Junior Olympic Championships for the 8 and under
  age group
  Event           Boys              Girls            Difference
  100M            15.11             15.64            3.51%
  200M            30.79             33.58            9.06%
  400M            71.12             77.32            8.72%
  800M            174.28            180.48           3.56%
  1500M           351.43            382.47           8.83%
  Mean                                               6.74%


        8http://legacy.usatf.org/statistics/records/view.asp?division=american&locatio

 n=outdoor%20track%20%26%20field&age=youth&sport=TF
      9 https://www.athletic.net/TrackAndField/meet/384619/results/m/1/100m
      9 https://www.athletic.net/CrossCountry/Division/List.aspx?DivID=62211




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        103. Using Athletic.net9, for 2021 Cross Country and Track & Field data for
 boys and girls in the 7-8, 9-10, and 11-12 year old age group club reports, and for
 5th, 6th, and 7th grade for the whole United States I have compiled the tables for
 3000 m events, and for the 100-m, 200-m, 400-m, 800-m, 1600-m, 3000-m, long
 jump, and high jump Track and Field data to illustrate the differences in individual
 athletic performance between boys and girls, all of which appear in the Appendix.
 The pattern of males outperforming females was consistent across events, with rare
 anomalies, only varying in the magnitude of difference between males and females.

         104. Similarly, using Athletic.net, for 2021 Track & Field data for boys and
 girls in the 6th grade for the state of West Virginia, I have compiled tables, which
 appear in the appendix, comparing the performance of boys and girls for the 100-m,
 200-m, 400-m, 800-m, 1600-m, and 3200-m running events in which the 1st place
 boy was consistently faster than the 1st place girl, and the average performance of
 the top 10 boys was consistently faster than the average performance for the top 10
 girls. Based on the finishing times for the 1st place boy and girl in the 6th grade in
 West Virginia 1600-m race, and extrapolating the running time to a running pace,
 the 1st place boy would be expected to finish 273 m in front of the 1st place girl,
 which is 2/3 of a lap on a standard 400-m track, or almost the length of 3 football
 fields. In comparison, the 1st place boy would finish 66 m in front of the 2nd place
 boy, and the 1st place girl would finish 20 m in front of the 2nd place girl.




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        105. As serious runners will recognize, differences of 3%, 5%, or 8% are not
 easily overcome. During track competition the difference between first and second
 place, or second and third place, or third and fourth place (and so on) is often 0.5 -
 0.7%, with some contests being determined by as little as 0.01%.

        106. I performed an analysis of running events (consisting of the 100-m,
 200-m, 400-m, 800-m, 1500-m, 5000-m, and 10,000-m) in the Division 1, Division 2,
 and Division 3 NCAA Outdoor championships for the years of 2010-2019: the mean
 difference between 1st and 2nd place was 0.48% for men and 0.86% for women. The
 mean difference between 2nd and 3rd place was 0.46% for men and 0.57% for women.
 The mean difference between 3rd place and 4th place was 0.31% for men and 0.44%
 for women. The mean difference between 1st place and 8th place (the last place to
 earn the title of All American) was 2.65% for men and 3.77% for women. (Brown et
 al. Unpublished observations, to be presented at the 2022 Annual Meeting of the
 American College of Sports Medicine.)

       107. A common response to empirical data showing pre-pubertal
 performance advantages in boys is the argument that the performance of boys may



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 represent a social–cultural bias for boys to be more physically active, rather than
 representing inherent sex-based differences in pre-pubertal physical fitness.
 However, the younger the age at which such differences are observed, and the more
 egalitarian the culture within which they are observed, the less plausible this
 hypothesis becomes. Eiberg et al. (2005) measured body composition, VO2max, and
 physical activity in 366 Danish boys and 332 Danish girls between the ages of 6 and
 7 years old. Their observations indicated that VO2max was 11% higher in boys than
 girls. When expressed relative to body mass the boys’ VO2max was still 8% higher
 than the girls. The authors stated that “…no differences in haemoglobin or sex
 hormones10 have been reported in this age group,” yet “… when children with the
 same VO2max were compared, boys were still more active, and in boys and girls
 with the same P[hysical] A[ctivity] level, boys were fitter.” (728). These data
 indicate that in pre-pubertal children, in a very egalitarian culture regarding
 gender roles and gender norms, boys still have a measurable advantage in regards
 to aerobic fitness when known physiological and physical activity differences are
 accounted for.

        108. And, as I have mentioned above, even by the age of 4 or 5, in a ruler-
 drop test, boys exhibit 4% to 6% faster reaction times than girls. (Latorre-Roman
 2018.)

       109. When looking at the data on testosterone concentrations previously
 presented, along with the data on physical fitness and athletic performance
 presented, boys have advantages in athletic performance and physical fitness before
 there are marked differences in testosterone concentrations between boys and girls.

        110. For the most part, the data I review above relate to pre-pubertal
 children. Today, we also face the question of inclusion in female athletics of males
 who have undergone “puberty suppression.” The UK Sport Councils Literature
 Review notes that, “In the UK, so-called ‘puberty blockers’ are generally not used
 until Tanner maturation stage 2-3 (i.e. after puberty has progressed into early
 sexual maturation).” (9.) While it is outside my expertise, my understanding is that
 current practice with regard to administration of puberty blockers is similar in the
 Unites States. Tanner stages 2 and 3 generally encompass an age range from 10 to
 14 years old, with significant differences between individuals. Like the authors of
 the UK Sports Council Literature Review, I am “not aware of research” directly
 addressing the implications for athletic capability of the use of puberty blockers.
 (UK Sport Councils Literature Review at 9.) As Handelsman documents, the male
 advantage begins to increase rapidly–along with testosterone levels–at about age
 11, or “very closely aligned to the timing of the onset of male puberty.” (Handelsman
 2017.) It seems likely that males who have undergone puberty suppression will


        10   This term would include testosterone and estrogens.
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 have physiological and performance advantages over females somewhere between
 those possessed by pre-pubertal boys, and those who have gone through full male
 puberty, with the degree of advantage in individual cases depending on that
 individual’s development and the timing of the start of puberty blockade.

        111. Tack et al. (2018) observed that in 21 transgender-identifying
 biological males, administration of antiandrogens for 5-31 months (commencing at
 16.3 ± 1.21 years of age), resulted in nearly, but not completely, halting of normal
 age-related increases in muscle strength. Importantly, muscle strength did not
 decrease after administration of antiandrogens. Rather, despite antiandrogens,
 these individuals retained higher muscle mass, lower percent body fat, higher body
 mass, higher body height, and higher grip strength than comparable girls of the
 same age. (Supplemental tables).

        112. Klaver et al. (2018 at 256) demonstrated that the use of puberty
 blockers did not eliminate the differences in lean body mass between biological male
 and female teenagers. Subsequent use of puberty blockers combined with cross-sex
 hormone use (in the same subjects) still did not eliminate the differences in lean
 body mass between biological male and female teenagers. Furthermore, by 22 years
 of age, the use of puberty blockers, and then puberty blockers combined with cross
 sex hormones, and then cross hormone therapy alone for over 8 total years of
 treatment still had not eliminated the difference in lean body mass between
 biological males and females.

        113. The effects of puberty blockers on growth and development, including
 muscle mass, fat mass, or other factors that influence athletic performance, have
 been minimally researched. Indeed, Klaver et al. (2018) is the only published
 research that I am aware of that has evaluated the use of puberty blockers on body
 composition. As stated by Roberts and Carswell (2021), “No published studies have
 fully characterized the impact of [puberty blockers on] final adult height or current
 height in an actively growing TGD youth.” (1680). Likewise, “[n]o published
 literature provides guidance on how to best predict the final adult height for
 TGD youth receiving GnRHa and gender- affirming hormonal treatment.” (1681).
 Thus, the effect of prescribing puberty blockers to a male child before the onset of
 puberty on the physical components of athletic performance is largely unknown.
 There is not any scientific evidence that such treatment eliminates the pre-existing
 performance advantages that prepubertal males have over prepubertal females.

              The rapid increase in testosterone across male puberty drives
               characteristic male physiological changes and the increasing
               performance advantages.

         114. While boys exhibit some performance advantage even before puberty,
 it is both true and well known to common experience that the male advantage



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 increases rapidly, and becomes much larger, as boys undergo puberty and become
 men. Empirically, this can be seen by contrasting the modest advantages reviewed
 immediately above against the large performance advantages enjoyed by men that I
 have detailed in Section II.

        115. Multiple studies (along with common observation) document that the
 male performance advantage begins to increase during the early years of puberty,
 and then increases rapidly across the middle years of puberty (about ages 12-16).
 (Tønnessen 2015; Handelsman 2018 at 812-813.) Since it is well known that
 testosterone levels increase by more than an order of magnitude in boys across
 puberty, it is unsurprising that Handelsman finds that these increases in male
 performance advantage correlate to increasing testosterone levels, as presented in
 his chart reproduced below. (Handelsman 2018 at 812-13.)




        116. Handelsman further finds that certain characteristic male changes
 including boys’ increase in muscle mass do not begin at all until “circulating
 testosterone concentrations rise into the range of males at mid-puberty, which are
 higher than in women at any age.” (Handelsman 2018 at 810.)

        117. Knox et al. (2019) agree that “[i]t is well recognised that testosterone
 contributes to physiological factors including body composition, skeletal structure,
 and the cardiovascular and respiratory systems across the life span, with significant
 influence during the pubertal period. These physiological factors underpin strength,
 speed, and recovery with all three elements required to be competitive in almost all
 sports.” (Knox 2019 at 397.) “High testosterone levels and prior male physiology
 provide an all-purpose benefit, and a substantial advantage. As the IAAF says, ‘To
 the best of our knowledge, there is no other genetic or biological trait encountered in
 female athletics that confers such a huge performance advantage.’” (Knox 2019 at
 399.)

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        118. However, the undisputed fact that high (that is, normal male) levels of
 testosterone drive the characteristically male physiological changes that occur
 across male puberty does not at all imply that artificially depressing testosterone
 levels after those changes occur will reverse all or most of those changes so as to
 eliminate the male athletic advantage. This is an empirical question. As it turns
 out, the answer is that while some normal male characteristics can be changed by
 means of testosterone suppression, others cannot be, and all the reliable evidence
 indicates that males retain large athletic advantages even after long-term
 testosterone suppression.

V.   The available evidence shows that suppression of testosterone in a
      male after puberty has occurred does not substantially eliminate the
      male athletic advantage.

        119. The 2011 “NCAA Policy on Transgender Student-Athlete
 Participation” requires only that males who identify as transgender be on
 unspecified and unquantified “testosterone suppression treatment” for “one
 calendar year” prior to competing in women’s events. In supposed justification of
 this policy, the NCAA’s Office of Inclusion asserts that, “It is also important to know
 that any strength and endurance advantages a transgender woman arguably may
 have as a result of her prior testosterone levels dissipate after about one year of
 estrogen or testosterone-suppression therapy.” (NCAA 2011 at 8.)

        120. Similarly, writing in 2018, Handelsman et al. could speculate that
 even though some male advantages established during puberty are “fixed and
 irreversible (bone size),” “[t]he limited available prospective evidence . . . suggests
 that the advantageous increases in muscle and hemoglobin due to male circulating
 testosterone concentrations are induced or reversed during the first 12 months.”
 (Handelsman 2018 at 824.)

       121. But these assertions or hypotheses of the NCAA and Handelsman are
 now strongly contradicted by the available science. In this section, I examine what
 is known about whether suppression of testosterone in males can eliminate the
 male physiological and performance advantages over females.

              Empirical studies find that males retain a strong performance
               advantage even after lengthy testosterone suppression.

        122. As my review in Section II indicates, a very large body of literature
 documents the large performance advantage enjoyed by males across a wide range
 of athletics. To date, only a limited number of studies have directly measured the
 effect of testosterone suppression and the administration of female hormones on the
 athletic performance of males. These studies report that testosterone suppression
 for a full year (and in some cases much longer) does not come close to eliminating



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 male advantage in strength (hand grip, leg strength, and arm strength) or running
 speed.

        Hand Grip Strength

       123. As I have noted, hand grip strength is a well-accepted proxy for
 general strength. Multiple separate studies, from separate groups, report that
 males retain a large advantage in hand strength even after testosterone
 suppression to female levels.

        124. In a longitudinal study, Van Caenegem et al. reported that males who
 underwent standard testosterone suppression protocols lost only 7% hand strength
 after 12 months of treatment, and only a cumulative 9% after two years. (Van
 Caenegem 2015 at 42.) As I note above, on average men exhibit in the neighborhood
 of 60% greater hand grip strength than women, so these small decreases do not
 remotely eliminate that advantage. Van Caenegem et al. document that their
 sample of males who elected testosterone suppression began with less strength than
 a control male population. Nevertheless, after one year of suppression, their study
 population still had hand grip only 21% less than the control male population, and
 thus still far higher than a female population. (Van Caenegem 2015 at 42.)

        125. Scharff et al. (2019) measured grip strength in a large cohort of male-
 to-female subjects from before the start of hormone therapy through one year of
 hormone therapy. The hormone therapy included suppression of testosterone to less
 than 2 nml/L “in the majority of the transwomen,” (1024), as well as administration
 of estradiol (1021). These researchers observed a small decrease in grip strength in
 these subjects over that time (Fig. 2), but mean grip strength of this group remained
 far higher than mean grip strength of females—specifically, “After 12 months, the
 median grip strength of transwomen [male-to-female subjects] still falls in the 95th
 percentile for age-matched females.” (1026).

        126. Still a third longitudinal study, looking at teen males undergoing
 testosterone suppression, “noted no change in grip strength after hormonal
 treatment (average duration 11 months) of 21 transgender girls.” (Hilton 2021 at
 207, summarizing Tack 2018.)

        127. In a fourth study, Lapauw et al. (2008) looked at the extreme case of
 testosterone suppression by studying a population of 23 biologically male
 individuals who had undergone at least two years of testosterone suppression,
 followed by sex reassignment surgery that included “orchidectomy” (that is, surgical
 castration), and then at least an additional three years before the study date.
 Comparing this group against a control of age- and height-matched healthy males,
 the researchers found that the individuals who had gone through testosterone
 suppression and then surgical castration had an average hand grip (41 kg) that was

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 24% weaker than the control group of healthy males. But this remains at least 25%
 higher than the average hand-grip strength of biological females as measured by
 Bohannon et al. (2019).

       128. Summarizing these and a few other studies measuring strength loss
 (in most cases based on hand grip) following testosterone suppression, Harper et al.
 (2021) conclude that “strength loss with 12 months of [testosterone suppression] . . .
 ranged from non-significant to 7%. . . . [T]he small decrease in strength in
 transwomen after 12-36 months of [testosterone suppression] suggests that
 transwomen likely retain a strength advantage over cisgender women.” (Hilton
 2021 at 870.)

        Arm Strength

        129. Lapauw et al. (2008) found that 3 years after surgical castration,
 preceded by at least two years of testosterone suppression, biologically male
 subjects had 33% less bicep strength than healthy male controls. (Lapauw (2008) at
 1018.) Given that healthy men exhibit between 89% and 109% greater arm strength
 than healthy women, this leaves a very large residual arm strength advantage over
 biological women.

        130. Roberts et al. have recently published an interesting longitudinal
 study, one arm of which considered biological males who began testosterone
 suppression and cross-sex hormones while serving in the United States Air Force.
 (Roberts 2020.) One measured performance criterion was pushups per minute,
 which, while not exclusively, primarily tests arm strength under repetition. Before
 treatment, the biological male study subjects who underwent testosterone
 suppression could do 45% more pushups per minute than the average for all Air
 Force women under the age of 30 (47.3 vs. 32.5). After between one and two years of
 testosterone suppression, this group could still do 33% more pushups per minute.
 (Table 4.) Further, the body weight of the study group did not decline at all after
 one to two years of testosterone suppression (in fact rose slightly) (Table 3), and was
 approximately 24 pounds (11.0 kg) higher than the average for Air Force women
 under the age of 30. (Roberts 2020 at 3.) This means that the individuals who had
 undergone at least one year of testosterone suppression were not only doing 1/3
 more pushups per minute, but were lifting significantly more weight with each
 pushup.

        131. After two years of testosterone suppression, the study sample in
 Roberts et al. was only able to do 6% more pushups per minute than the Air Force
 female average. But their weight remained unchanged from their pre-treatment
 starting point, and thus about 24 pounds higher than the Air Force female average.
 As Roberts et al. explain, “as a group, transwomen weigh more than CW [cis-
 women]. Thus, transwomen will have a higher power output than CW when



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 performing an equivalent number of push-ups. Therefore, our study may
 underestimate the advantage in strength that transwomen have over CW.” (Roberts
 2020 at 4.)

        Leg Strength

        132. Wiik et al. (2020), in a longitudinal study that tracked 11 males from
 the start of testosterone suppression through 12 months after treatment initiation,
 found that isometric strength levels measured at the knee “were maintained over
 the [study period].”11 (808) “At T12 [the conclusion of the one-year study], the
 absolute levels of strength and muscle volume were greater in [male-to-female
 subjects] than in . . . CW [women who had not undergone any hormonal therapy].”
 (Wiik 2020 at 808.) In fact, Wiik et al. reported that “muscle strength after 12
 months of testosterone suppression was comparable to baseline strength. As a
 result, transgender women remained about 50% stronger than . . . a reference
 group of females.” (Hilton 2021 at 207, summarizing Wiik 2020.)

        133. Lapauw et al. (2008) found that 3 years after surgical castration,
 preceded by at least two years of testosterone suppression, subjects had peak knee
 torque only 25% lower than healthy male controls. (Lapauw 2008 at 1018.) Again,
 given that healthy males exhibit 54% greater maximum knee torque than healthy
 females, this leaves these individuals with a large average strength advantage over
 females even years after sex reassignment surgery.

        Running speed

       134. The most striking finding of the recent Roberts et al. study concerned
 running speed over a 1.5 mile distance–a distance that tests midrange endurance.
 Before suppression, the MtF study group ran 21% faster than the Air Force female
 average. After at least 2 year of testosterone suppression, these subjects still ran
 12% faster than the Air Force female average. (Roberts 2020 Table 4.)

        135. The specific experience of the well-known case of NCAA athlete Cece
 Telfer is consistent with the more statistically meaningful results of Roberts et al.,
 further illustrating that male-to-female transgender treatment does not negate the
 inherent athletic performance advantages of a post-pubertal male. In 2016 and 2017
 Cece Telfer competed as Craig Telfer on the Franklin Pierce University men’s track
 team, being ranked 200th and 390th (respectively) against other NCAA Division 2
 men. “Craig” Telfer did not qualify for the National Championships in any events.
 Telfer did not compete in the 2018 season while undergoing testosterone


        11Isometric strength measures muscular force production for a given amount
 of time at a specific joint angle but with no joint movement.
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 suppression (per NCAA policy). In 2019 Cece Telfer competed on the Franklin
 Pierce University women’s team, qualified for the NCAA Division 2 Track and Field
 National Championships, and placed 1st in the women’s 400 meter hurdles and
 placed third in the women’s 100 meter hurdles. (For examples of the media coverage
 of this please see KWWSVZZZZDVKLQJWRQWLPHVFRPQHZVMXQFHFHWHOIHUIUDQNOLQ
 SLHUFHWUDQVJHQGHUKXUGOHUZL last accessed May 29, 2020.
 KWWSVZZZQHZVKXEFRQ]KRPHVSRUWDWKOHWLFVWUDQVJHQGHUZRPDQFHFHWHOIHU
 ZKRSUHYLRXVO\FRPSHWHGDVDPDQZLQVQFDDWUDFNFKDPSLRQVKLSKWPO (last accessed May
 29, 2020.)

        136. The table below shows the best collegiate performance times from the
 combined 2015 and 2016 seasons for Cece Telfer when competing as a man in men’s
 events, and the best collegiate performance times from the 2019 season when
 competing as a woman in women’s events. Comparing the times for the running
 events (in which male and female athletes run the same distance) there is no
 statistical difference between Telfer’s “before and after” times. Calculating the
 difference in time between the male and female times, Telfer performed an average
 of 0.22% faster as a female. (Comparing the performance for the hurdle events
 (marked with H) is of questionable validity due to differences between men’s and
 women’s events in hurdle heights and spacing, and distance for the 110m vs. 100
 m.) While this is simply one example, and does not represent a controlled
 experimental analysis, this information provides some evidence that male-to-female
 transgender treatment does not negate the inherent athletic performance
 advantages of a postpubertal male. (These times were obtained from
 https://www.tfrrs.org/athletes/6994616/Franklin_Pierce/CeCe_Telfer.html and
 https://www.tfrrs.org/athletes/5108308.html, last accessed May 29, 2020).

        As Craig Telfer (male athlete)            As Cece Telfer (female athlete)
  Event              Time (seconds)           Event             Time (seconds)
        55                 7.01                     55                7.02
        60                 7.67                     60                7.63
        100                12.17                    100               12.24
        200                24.03                    200               24.30
        400                55.77                    400               54.41
        55 H †             7.98                     55 H†             7.91
        60 H †             8.52                     60 H†             8.33
        110 H†             15.17                    100 H†            13.41*
        400 H‡             57.34                    400 H‡            57.53**
 * women’s 3rd place, NCAA Division 2 National Championships
 ** women’s 1st place, NCAA Division 2 National Championships
 † men’s hurdle height is 42 inches with differences in hurdle spacing between men
 and women
 ‡ men’s hurdle height is 36 inches, women’s height is 30 inches with the same
 spacing between hurdles


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       137. Similarly, University of Pennsylvania swimmer Lia Thomas began
 competing in the women’s division in the fall of 2021, after previously competing for
 U. Penn. in the men’s division. Thomas has promptly set school, pool, and/or league
 women’s records in 200 yard freestyle, 500 yard freestyle, and 1650 yard freestyle
 competitions, beating the nearest female in the 1650 yard by an unheard-of 38
 seconds.

         138. In a pre-peer review article, Senefeld, Coleman, Hunter, and Joyner
 (doi: https://doi.org/10.1101/2021.12.28.21268483, accessed January 12, 2022)
 “compared the gender-related differences in performance of a transgender swimmer
 who competed in both the male and female NCAA (collegiate) categories to the sex-
 related differences in performance of world and national class swimmers” and
 observed that this athlete [presumably Lia Thomas based on performance times and
 the timing of this article] was unranked in 2018-2019 in the 100-yard, ranked 551st
 in the 200-yard, 65th in the 500-yard 32nd in the 1650-yards men’s freestyle. After
 following the NCAA protocol for testosterone suppression and competing as a
 woman in 2021-2022, this swimmer was ranked 94th in the 100-yard, 1st in the 200-
 yard, 1st in the 500-yard, and 6th in the 1650-yard women’s freestyle. The
 performance times swimming as a female, when compared to swimming as a male,
 were 4.6% slower in the 100-yard, 2.6% slower in the 200-yard, 5.6% slower in the
 500-yard, and 6.8% slower in the 1650-yard events than when swimming as a male.
 It is important to note that these are mid-season race times and do not represent
 season best performance times or in a championship event where athletes often set
 their personal record times. The authors concluded “…that for middle distance
 events (100, 200 and 400m or their imperial equivalents) lasting between about one
 and five minutes, the decrements in performance of the transgender woman
 swimmer are less than expected on the basis of a comparison of a large cohort of
 world and national class performances by female and male swimmers” and “it is
 possible that the relative improvements in this swimmer’s rankings in the women’s
 category relative to the men’s category are due to legacy effects of testosterone on a
 number of physiological factors that can influence athletic performance.”

        139. Harper (2015) has often been cited as “proving” that testosterone
 suppression eliminates male advantage. And indeed, hedged with many
 disclaimers, the author in that article does more or less make that claim with
 respect to “distance races,” while emphasizing that “the author makes no claims as
 to the equality of performances, pre and post gender transition, in any other sport.”
 (Harper 2015 at 8.) However, Harper (2015) is in effect a collection of unverified
 anecdotes, not science. It is built around self-reported race times from just eight
 self-selected transgender runners, recruited “mostly” online. How and on what
 websites the subjects were recruited is not disclosed, nor is anything said about how
 those not recruited online were recruited. Thus, there is no information to tell us
 whether these eight runners could in any way be representative, and the

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 recruitment pools and methodology, which could bear on ideological bias in their
 self-reports, is not disclosed.

        140. Further, the self-reported race times relied on by Harper (2015) span
 29 years. It is well known that self-reported data, particularly concerning
 emotionally or ideologically fraught topics, is unreliable, and likewise that memory
 of distant events is unreliable. Whether the subjects were responding from memory
 or from written records, and if so what records, is not disclosed, and does not appear
 to be known to the author. For six of the subjects, the author claims to have been
 able to verify “approximately half” of the self-reported times. Which scores these are
 is not disclosed. The other two subjects responded only anonymously, so nothing
 about their claims could be or was verified. In short, neither the author nor the
 reader knows whether the supposed “facts” on which the paper’s analysis is based
 are true.

        141. Even if we could accept them at face value, the data are largely
 meaningless. Only two of the eight study subjects reported (undefined) “stable
 training patterns,” and even with consistent training, athletic performance
 generally declines with age. As a result, when the few data points span 29 years, it
 is not possible to attribute declines in performance to asserted testosterone
 suppression. Further, distance running is usually not on a track, and race times
 vary significantly depending on the course and the weather. Only one reporting
 subject who claimed a “stable training pattern” reported “before and after” times on
 the same course within three years’ time,” which the author acknowledges would
 “represent the best comparison points.”

        142. Harper (2015) to some extent acknowledges its profound
 methodological flaws, but seeks to excuse them by the difficulty of breaking new
 ground. The author states that, “The first problem is how to formulate a study to
 create a meaningful measurement of athletic performance, both before and after
 testosterone suppression. No methodology has been previously devised to make
 meaningful measurements.” (2) This statement was not accurate at the time of
 publication, as there are innumerable publications with validated methodology for
 comparing physical fitness and/or athletic performance between people of different
 ages, sexes, and before and after medical treatment, any of which could easily have
 been used with minimal or no adaptation for the purposes of this study. Indeed, well
 before the publication of Harper (2015), several authors that I have cited in this
 review had performed and published disciplined and methodologically reliable
 studies of physical performance and physiological attributes “before and after”
 testosterone suppression.

       143. More recently, and to her credit, Harper has acknowledged the finding
 of Roberts (2020) regarding the durable male advantage in running speed in the 1.5
 mile distance, even after two years of testosterone suppression. She joins with co-



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 authors in acknowledging that this study of individuals who (due to Air Force
 physical fitness requirements) “could at least be considered exercise trained,” agrees
 that Roberts’ data shows that “transwomen ran significantly faster during the 1.5
 mile fitness test than ciswomen,” and declares that this result is “consistent with
 the findings of the current review in untrained transgender individuals” that even
 30 months of testosterone suppression does not eliminate all male advantages
 “associated with muscle endurance and performance.” (Harper 2021 at 8.) The
 Harper (2021) authors conclude overall “that strength may be well preserved in
 transwomen during the first 3 years of hormone therapy,” and that [w]hether
 transgender and cisgender women can engage in meaningful sport [in competition
 with each other], even after [testosterone suppression], is a highly debated
 question.” (Harper 2021 at 1, 8.)

        144. Higerd (2021) “[a]ssess[ed] the probability of a girls’ champion being
 biologically male” by evaluating 920,11 American high school track and field
 performances available through the track and field database Athletic.net in five
 states (CA, FL, MN, NY, WA), over three years (2017 – 2019),in eight events; high
 jump, long jump, 100M, 200M, 400M, 800M, 1600M, and 3200M and estimated that
 “there is a simulated 81%-98% probability of transgender dominance occurring in
 the female track and field event” and further concluded that “in the majority of
 cases, the entire podium (top of the state) would be MTF [transgender athletes]” (at
 xii).

              Testosterone suppression does not reverse important male
               physiological advantages.

        145. We see that, once a male has gone through male puberty, later
 testosterone suppression (or even castration) leaves large strength and performance
 advantages over females in place. It is not surprising that this is so. What is now a
 fairly extensive body of literature has documented that many of the specific male
 physiological advantages that I reviewed in Section II are not reversed by
 testosterone suppression after puberty, or are reduced only modestly, leaving a
 large advantage over female norms still in place.

        146. Handelsman has well documented that the large increases in
 physiological and performance advantages characteristic of men develop in tandem
 with, and are likely driven by, the rapid and large increases in circulating
 testosterone levels that males experience across puberty, or generally between the
 ages of about 12 through 18. (Handelsman 2018.) Some have misinterpreted
 Handelsman as suggesting that all of those advantages are and remain entirely
 dependent–on an ongoing basis–on current circulating testosterone levels. This is a
 misreading of Handelsman, who makes no such claim. As the studies reviewed
 above demonstrate, it is also empirically false with respect to multiple measures of

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 performance. Indeed, Handelsman himself, referring to the Roberts et al. (2020)
 study which I describe below, has recently written that “transwomen treated with
 estrogens after completing male puberty experienced only minimal declines in
 physical performance over 12 months, substantially surpassing average female
 performance for up to 8 years.” (Handelsman 2020.)

        147. As to individual physiological advantages, the more accurate and more
 complicated reality is reflected in a statement titled “The Role of Testosterone in
 Athletic Performance,” published in 2019 by several dozen sports medicine experts
 and physicians from many top medical schools and hospitals in the U.S. and around
 the world. (Levine et al. 2019.) This expert group concurs with Handelsman
 regarding the importance of testosterone to the male advantage, but recognizes that
 those advantages depend not only on current circulating testosterone levels in the
 individual, but on the “exposure in biological males to much higher levels of
 testosterone during growth, development, and throughout the athletic career.”
 (Emphasis added.) In other words, both past and current circulating testosterone
 levels affect physiology and athletic capability.

        148. Available research enables us to sort out, in some detail, which specific
 physiological advantages are immutable once they occur, which can be reversed
 only in part, and which appear to be highly responsive to later hormonal
 manipulation. The bottom line is that very few of the male physiological advantages
 I have reviewed in Section II above are largely reversible by testosterone
 suppression once an individual has passed through male puberty.

        Skeletal Configuration

        149. It is obvious that some of the physiological changes that occur during
 “growth and development” across puberty cannot be reversed. Some of these
 irreversible physiological changes are quite evident in photographs that have
 recently appeared in the news of transgender competitors in female events. These
 include skeletal configuration advantages including:

            x Longer and larger bones that give height, weight, and leverage
               advantages to men;

            x More advantageous hip shape and configuration as compared to
               women.

        Cardiovascular Advantages

       150. Developmental changes for which there is no apparent means of
 reversal, and no literature suggesting reversibility, also include multiple




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 contributors to the male cardiovascular advantage, including diaphragm placement,
 lung and trachea size, and heart size and therefore pumping capacity.12

        151. On the other hand, the evidence is mixed as to hemoglobin
 concentration, which as discussed above is a contributing factor to V02 max. Harper
 (2021) surveyed the literature and found that “Nine studies reported the levels of
 Hgb [hemoglobin] or HCT [red blood cell count] in transwomen before and after
 [testosterone suppression], from a minimum of three to a maximum of 36 months
 post hormone therapy. Eight of these studies. . . found that hormone therapy led to
 a significant (4.6%–14.0%) decrease in Hgb/HCT (p<0.01), while one study found no
 significant difference after 6 months,” but only one of those eight studies returned
 results at the generally accepted 95% confidence level. (Harper 2021 at 5-6 and
 Table 5.)

       152. I have not found any study of the effect of testosterone suppression on
 the male advantage in mitochondrial biogenesis.

        Muscle mass

        153. Multiple studies have found that muscle mass decreases modestly or
 not at all in response to testosterone suppression. Knox et al. report that “healthy
 young men did not lose significant muscle mass (or power) when their circulating
 testosterone levels were reduced to 8.8 nmol/L (lower than the 2015 IOC guideline
 of 10 nmol/L) for 20 weeks.” (Knox 2019 at 398.) Gooren found that “[i]n spite of
 muscle surface area reduction induced by androgen deprivation, after 1 year the
 mean muscle surface area in male-to- female transsexuals remained significantly
 greater than in untreated female-to-male transsexuals.” (Gooren 2011 at 653.) An
 earlier study by Gooren found that after one year of testosterone suppression,
 muscle mass at the thigh was reduced by only about 10%, exhibited “no further
 reduction after 3 years of hormones,” and “remained significantly greater” than in
 his sample of untreated women. (Gooren 2004 at 426-427.) Van Caenegem et al.
 found that muscle cross section in the calf and forearm decreased only trivially (4%
 and 1% respectively) after two years of testosterone suppression. (Van Caenegem
 2015 Table 4.)

        154. Taking measurements one month after start of testosterone
 suppression in male-to-female (non-athlete) subjects, and again 3 and 11 months
 after start of feminizing hormone replacement therapy in these subjects, Wiik et al.


        12“[H]ormone therapy will not alter … lung volume or heart size of the
 transwoman athlete, especially if [that athlete] transitions postpuberty, so natural
 advantages including joint articulation, stroke volume and maximal oxygen uptake
 will be maintained.” (Knox 2019 at 398.)
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 found that total lean tissue (i.e. primarily muscle) did not decrease significantly
 across the entire period. Indeed, “some of the [subjects] did not lose any muscle
 mass at all.” (Wiik 2020 at 812.) And even though they observed a small decrease in
 thigh muscle mass, they found that isometric strength levels measured at the knee
 “were maintained over the [study period].” (808) “At T12 [the conclusion of the one-
 year study], the absolute levels of strength and muscle volume were greater in
 [male-to-female subjects] than in [female-to-male subjects] and CW [women who
 had not undergone any hormonal therapy].” (808)

        155. Hilton & Lundberg summarize an extensive survey of the literature as
 follows:

            “12 longitudinal studies have examined the effects of
            testosterone suppression on lean body mass or muscle size in
            transgender women. The collective evidence from these studies
            suggests that 12 months, which is the most commonly
            examined intervention period, of testosterone suppression to
            female typical reference levels results in a modest
            (approximatelyï 5%) loss of lean body mass or muscle size. . . .

            “Thus, given the large baseline differences in muscle mass
            between males and females (Table 1; approximately 40%), the
            reduction achieved by 12 months of testosterone suppression
            can reasonably be assessed as small relative to the initial
            superior mass. We, therefore, conclude that the muscle mass
            advantage males possess over females, and the performance
            implications thereof, are not removed by the currently studied
            durations (4 months, 1, 2 and 3 years) of testosterone
            suppression in transgender women. (Hilton 2021 at 205-207.)

        156. When we recall that “women have 50% to 60% of men’s upper arm
 muscle cross-sectional area and 65% to 70% of men’s thigh muscle cross-sectional
 area” (Handelsman 2018 at 812), it is clear that Hilton’s conclusion is correct. In
 other words, biologically male subjects possess substantially larger muscles than
 biologically female subjects after undergoing a year or even three years of
 testosterone suppression.

        157. I note that outside the context of transgender athletes, the
 testosterone-driven increase in muscle mass and strength enjoyed by these male-to-
 female subjects would constitute a disqualifying doping violation under all league
 anti-doping rules with which I am familiar.




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              Responsible voices internationally are increasingly
               recognizing that suppression of testosterone in a male after
               puberty has occurred does not substantially reverse the male
               athletic advantage.

        158. The previous very permissive NCAA policy governing transgender
 participation in women’s collegiate athletics was adopted in 2011, and the previous
 IOC guidelines were adopted in 2015. At those dates, much of the scientific analysis
 of the actual impact of testosterone suppression had not yet been performed, much
 less any wider synthesis of that science. In fact, a series of important peer-reviewed
 studies and literature reviews have been published only very recently, since I
 prepared my first paper on this topic, in early 2020.

       159. These new scientific publications reflect a remarkably consistent
 consensus: once an individual has gone through male puberty, testosterone
 suppression does not substantially eliminate the physiological and performance
 advantages that that individual enjoys over female competitors.

        160. Importantly, I have found no peer-reviewed scientific paper, nor any
 respected scientific voice, that is now asserting the contrary–that is, that
 testosterone suppression can eliminate or even largely eliminate the male biological
 advantage once puberty has occurred.

       161. I excerpt the key conclusions from important recent peer-reviewed
 papers below.

        162. Roberts 2020: “In this study, we confirmed that . . . the pretreatment
 differences between transgender and cis gender women persist beyond the
 12-month time requirement currently being proposed for athletic competition by the
 World Athletics and the IOC.” (6)

        163. Wiik 2020: The muscular and strength changes in males undergoing
 testosterone suppression “were modest. The question of when it is fair to permit a
 transgender woman to compete in sport in line with her experienced gender identity
 is challenging.” (812)

       164. Harper 2021: “[V]alues for strength, LBM [lean body mass], and
 muscle area in transwomen remain above those of cisgender women, even after 36
 months of hormone therapy.” (1)

        165. Hilton & Lundberg 2021: “evidence for loss of the male performance
 advantage, established by testosterone at puberty and translating in elite athletes
 to a 10–50% performance advantage, is lacking. . . . These data significantly


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 undermine the delivery of fairness and safety presumed by the criteria set out in
 transgender inclusion policies . . .” (211)

         166. Hamilton et al. 2020, “Response to the United Nations Human Rights
 Council’s Report on Race and Gender Discrimination in Sport: An Expression of
 Concern and a Call to Prioritize Research”: “There is growing support for the idea
 that development influenced by high testosterone levels may result in retained
 anatomical and physiological advantages . . . . If a biologically male athlete self-
 identifies as a female, legitimately with a diagnosis of gender dysphoria or
 illegitimately to win medals, the athlete already possesses a physiological
 advantage that undermines fairness and safety. This is not equitable, nor consistent
 with the fundamental principles of the Olympic Charter.”

        167. Hamilton et al. 2021, “Consensus Statement of the Fédération
 Internationale de Médecine du Sport” (International Federation of Sports Medicine,
 or FIMS), signed by more than 60 sports medicine experts from prestigious
 institutions around the world: The available studies “make it difficult to suggest
 that the athletic capabilities of transwomen individuals undergoing HRT or GAS
 are comparable to those of cisgender women.” The findings of Roberts et al.
 “question the required testosterone suppression time of 12 months for transwomen
 to be eligible to compete in women’s sport, as most advantages over ciswomen were
 not negated after 12 months of HRT.”

       168. Outside the forum of peer-reviewed journals, respected voices in sport
 are reaching the same conclusion.

        169. The Women’s Sports Policy Working Group identifies among its
 members and “supporters” many women Olympic medalists, former women’s tennis
 champion and LGBTQ activist Martina Navratilova, Professor Doriane Coleman, a
 former All-American women’s track competitor, transgender athletes Joanna
 Harper and Dr. Renee Richards, and many other leaders in women’s sports and civil
 rights. I have referenced other published work of Joanna Harper and Professor
 Coleman. In early 2021 the Women’s Sports Policy Working Group published a
 “Briefing Book” on the issue of transgender participation in women’s sports,13 in
 which they reviewed largely the same body of literature I have reviewed above, and
 analyzed the implications of that science for fairness and safety in women’s sports.

       170. Among other things, the Women’s Sports Policy Working Group
 concluded:




        13https://womenssportspolicy.org/wp-content/uploads/2021/02/Congressional-
 Briefing-WSPWG-Transgender-Women-Sports-2.27.21.pdf


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            x “[T]he evidence is increasingly clear that hormones do not eliminate
               the legacy advantages associated with male physical development” (8)
               due to “the considerable size and strength advantages that remain
               even after hormone treatments or surgical procedures.” (17)

            x    “[T]here is convincing evidence that, depending on the task, skill,
                 sport, or event, trans women maintain male sex-linked (legacy)
                 advantages even after a year on standard gender-affirming hormone
                 treatment.” (26, citing Roberts 2020.)

            x “[S]everal peer-reviewed studies, including one based on data from the
               U.S. military, have confirmed that trans women retain their male sex-
               linked advantages even after a year on gender affirming hormones. . . .
               Because of these retained advantages, USA Powerlifting and World
               Rugby have recently concluded that it isn't possible fairly and safely to
               include trans women in women's competition.” (32)

        171. As has been widely reported, in 2020, after an extensive scientific
 consultation process, the World Rugby organization issued its Transgender
 Guidelines, finding that it would not be consistent with fairness or safety to permit
 biological males to compete in World Rugby women’s matches, no matter what
 hormonal or surgical procedures they might have undergone. Based on their review
 of the science, World Rugby concluded:

            x “Current policies regulating the inclusion of transgender women in
               sport are based on the premise that reducing testosterone to levels
               found in biological females is sufficient to remove many of the
               biologically-based performance advantages described above. However,
               peer-reviewed evidence suggests that this is not the case.”

            x “Longitudinal research studies on the effect of reducing testosterone to
               female levels for periods of 12 months or more do not support the
               contention that variables such as mass, lean mass and strength are
               altered meaningfully in comparison to the original male-female
               differences in these variables. The lowering of testosterone removes
               only a small proportion of the documented biological differences, with
               large, retained advantages in these physiological attributes, with the
               safety and performance implications described previously.”

            x “. . . given the size of the biological differences prior to testosterone
               suppression, this comparatively small effect of testosterone reduction
               allows substantial and meaningful differences to remain. This has
               significant implications for the risk of injury . . . .”


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 
            x “ . . . bone mass is typically maintained in transgender women over the
               course of at least 24 months of testosterone suppression, . . . . Height
               and other skeletal measurements such as bone length and hip width
               have also not been shown to change with testosterone suppression, and
               nor is there any plausible biological mechanism by which this might
               occur, and so sporting advantages due to skeletal differences between
               males and females appear unlikely to change with testosterone
               reduction.

        172. In September 2021 the government-commissioned Sports Councils of
 the United Kingdom and its subsidiary parts (the five Sports Councils responsible
 for supporting and investing in sport across England, Wales, Scotland and Northern
 Ireland) issued a formal “Guidance for Transgender Inclusion in Domestic Sport”
 (UK Sport Councils 2021), following an extensive consultation process, and a
 commissioned “International Research Literature Review” prepared by the Carbmill
 Consulting group (UK Sport Literature Review 2021). The UK Sport Literature
 Review identified largely the same relevant literature that I review in this paper,
 characterizes that literature consistently with my own reading and description, and
 based on that science reaches conclusions similar to mine.

        173. The UK Sport Literature Review 2021 concluded:

            x “Sexual dimorphism in relation to sport is significant and the most
               important determinant of sporting capacity. The challenge to sporting
               bodies is most evident in the inclusion of transgender people in female
               sport.” “[The] evidence suggests that parity in physical performance in
               relation to gender-affected sport cannot be achieved for transgender
               people in female sport through testosterone suppression. Theoretical
               estimation in contact and collision sport indicate injury risk is likely to
               be increased for female competitors.” (10)

            x “From the synthesis of current research, the understanding is that
               testosterone suppression for the mandated one year before competition
               will result in little or no change to the anatomical differences between
               the sexes, and a more complete reversal of some acute phase metabolic
               pathways such as haemoglobin levels although the impact on running
               performance appears limited, and a modest change in muscle mass and
               strength: The average of around 5% loss of muscle mass and strength
               will not reverse the average 40-50% difference in strength that
               typically exists between the two sexes.” (7)

            x “These findings are at odds with the accepted intention of current
               policy in sport, in which twelve months of testosterone suppression is




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               expected to create equivalence between transgender women and
               females.” (7)

       174. Taking into account the science detailed in the UK Sport Literature
 Review 2021, the UK Sports Councils have concluded:

            x “[T]he latest research, evidence and studies made clear that there are
               retained differences in strength, stamina and physique between the
               average woman compared with the average transgender woman or
               non-binary person registered male at birth, with or without
               testosterone suppression.” (3)

            x “Competitive fairness cannot be reconciled with self-identification into
               the female category in gender-affected sport.” (7)

            x “As a result of what the review found, the Guidance concludes that the
               inclusion of transgender people into female sport cannot be balanced
               regarding transgender inclusion, fairness and safety in gender-affected
               sport where there is meaningful competition. This is due to retained
               differences in strength, stamina and physique between the average
               woman compared with the average transgender woman or non-binary
               person assigned male at birth, with or without testosterone
               suppression.” (6)

            x “Based upon current evidence, testosterone suppression is unlikely to
               guarantee fairness between transgender women and natal females in
               gender-affected sports. . . . Transgender women are on average likely
               to retain physical advantage in terms of physique, stamina, and
               strength. Such physical differences will also impact safety parameters
               in sports which are combat, collision or contact in nature.” (7)

        175. On January 15, 2022 the American Swimming Coaches Association
 (ASCA) issued a statement stating, “The American Swimming Coaches Association
 urges the NCAA and all governing bodies to work quickly to update their policies
 and rules to maintain fair competition in the women’s category of swimming. ASCA
 supports following all available science and evidenced-based research in setting the
 new policies, and we strongly advocate for more research to be conducted” and
 further stated “The current NCAA policy regarding when transgender females can
 compete in the women’s category can be unfair to cisgender females and needs to be
 reviewed and changed in a transparent manner.” (https://swimswam.com/asca-
 issues-statement-calling-for-ncaa-to-review-transgender-rules/; Accessed January
 16, 2022.)



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        176. On January 19, 2022, the NCAA Board of Governors approved a
 change to the policy on transgender inclusion in sport and stated that “…the
 updated NCAA policy calls for transgender participation for each sport to be
 determined by the policy for the national governing body of that sport, subject to
 ongoing review and recommendation by the NCAA Committee on Competitive
 Safeguards and Medical Aspects of Sports to the Board of Governors. If there is no
 N[ational]G[overning]B[ody] policy for a sport, that sport's international federation
 policy would be followed. If there is no international federation policy, previously
 established IOC policy criteria would be followed”
 (https://www.ncaa.org/news/2022/1/19/media-center-board-of-governors-updates-
 transgender-participation-policy.aspx; Accessed January 20, 2022.)

        177. On February 1, 2022, because “…a competitive difference in the male
 and female categories and the disadvantages this presents in elite head-to-head
 competition … supported by statistical data that shows that the top-ranked female
 in 2021, on average, would be ranked 536th across all short course yards (25 yards)
 male events in the country and 326th across all long course meters (50 meters) male
 events in the country, among USA Swimming members,” USA Swimming released
 its Athlete Inclusion, Competitive Equity and Eligibility Policy. The policy is
 intended to “provide a level-playing field for elite cisgender women, and to mitigate
 the advantages associated with male puberty and physiology.” (USA Swimming
 Releases Athlete Inclusion, Competitive Equity and Eligibility Policy, available at
 https://www.usaswimming.org/news/2022/02/01/usa-swimming-releases-athlete-
 inclusion-competitive-equity-and-eligibility-policy.) The policy states:

            x For biologically male athletes seeking to compete in the female
               category in certain “elite” level events, the athlete has the burden of
               demonstrating to a panel of independent medical experts that:

                  o “From a medical perspective, the prior physical development of
                     the athlete as Male, as mitigated by any medical intervention,
                     does not give the athlete a competitive advantage over the
                     athlete’s cisgender Female competitors” and

                  o There is a presumption that the athlete is not eligible unless the
                     athlete “demonstrates that the concentration of testosterone in
                     the athlete’s serum has been less than 5 nmol/L . . . continuously
                     for a period of at least thirty-six (36) months before the date of
                     the Application.” This presumption may be rebutted “if the
                     Panel finds, in the unique circumstances of the case, that [the
                     athlete’s prior physical development does not give the athlete a
                     competitive advantage] notwithstanding the athlete’s serum
                     testosterone results (e.g., the athlete has a medical condition




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                         which limits bioavailability of the athlete’s free testosterone).”
                         (USA Swimming Athlete Inclusion Procedures at 43.)

                                          Conclusions

        The research and actual observed data show the following:

             At the level of (a) elite, (b) collegiate, (c) scholastic, and (d) recreational
              competition, men, adolescent boys, or male children, have an advantage
              over equally gifted, aged and trained women, adolescent girls, or female
              children in almost all athletic events;

             Biological male physiology is the basis for the performance advantage that
              men, adolescent boys, or male children have over women, adolescent girls,
              or female children in almost all athletic events; and

             The administration of androgen inhibitors and cross-sex hormones to men
              or adolescent boys after the onset of male puberty does not eliminate the
              performance advantage that men and adolescent boys have over women
              and adolescent girls in almost all athletic events. Likewise, there is no
              published scientific evidence that the administration of puberty blockers
              to males before puberty eliminates the pre-existing athletic advantage
              that prepubertal males have over prepubertal females in almost all
              athletic events.

        For over a decade sports governing bodies (such as the IOC and NCAA) have
 wrestled with the question of transgender inclusion in female sports. The previous
 polices implemented by these sporting bodies had an underlying “premise that
 reducing testosterone to levels found in biological females is sufficient to remove
 many of the biologically-based performance advantages.” (World Rugby 2020 at 13.)
 Disagreements centered around what the appropriate threshold for testosterone
 levels must be–whether the 10nmol/liter value adopted by the IOC in 2015, or the
 5nmol/liter value adopted by the IAAF.

        But the science that has become available within just the last few years
 contradicts that premise. Instead, as the UK Sports Councils, World Rugby, the
 FIMS Consensus Statement, and the Women’s Sports Policy Working Group have
 all recognized the science is now sharply “at odds with the accepted intention of
 current policy in sport, in which twelve months of testosterone suppression is
 expected to create equivalence between transgender women and females” (UK
 Sports Literature Review 2021 at 7), and it is now “difficult to suggest that the
 athletic capabilities of transwomen individuals undergoing HRT or GAS are
 comparable to those of cisgender women.” (Hamilton, FIMS Consensus Statement
 2021.) It is important to note that while the 2021 “IOC Framework on Fairness,

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 Variations” calls for an “evidence-based approach,” that Framework does not
 actually reference any of the now extensive scientific evidence relating to the
 physiological differences between the sexes, and the inefficacy of hormonal
 intervention to eliminate male advantages relevant to most sports. Instead, the IOC
 calls on other sporting bodies to define criteria for transgender inclusion, while
 demanding that such criteria simultaneously ensure fairness, safety, and inclusion
 for all. The recently updated NCAA policy on transgender participation also relies
 on other sporting bodies to establish criteria for transgender inclusion while calling
 for fair competition and safety.

        But what we currently know tells us that these policy goals—fairness, safety,
 and full transgender inclusion—are irreconcilable for many or most sports. Long
 human experience is now joined by large numbers of research papers that document
 that males outperform females in muscle strength, muscular endurance, aerobic
 and anaerobic power output, VO2max, running speed, swimming speed, vertical
 jump height, reaction time, and most other measures of physical fitness and
 physical performance that are essential for athletic success. The male advantages
 have been observed in fitness testing in children as young as 3 years old, with the
 male advantages increasing immensely during puberty. To ignore what we know to
 be true about males’ athletic advantages over females, based on mere hope or
 speculation that cross sex hormone therapy (puberty blockers, androgen inhibitors,
 or cross-sex hormones) might neutralize that advantage, when the currently
 available evidence says it does not, is not science and is not “evidence-based” policy-
 making.

        Because of the recent research and analysis in the general field of
 transgender athletics, many sports organizations have revised their policies or are
 in the process of doing so. As a result, there is not any universally recognized policy
 among sports organizations, and transgender inclusion policies are in a state of flux,
 likely because of the increasing awareness that the goals of fairness, safety, and full
 transgender inclusion are irreconcilable.

       Sports have been separated by sex for the purposes of safety and fairness for
 a considerable number of years. The values of safety and fairness are endorsed by
 numerous sports bodies, including the NCAA and IOC. The existing evidence of
 durable physiological and performance differences based on biological sex provides a
 strong evidence-based rationale for keeping rules and policies for such sex-based
 separation in place (or implementing them as the case may be).

        As set forth in detail in this report, there are physiological differences
 between males and females that result in males having a significant performance
 advantage over similarly gifted, aged, and trained females in nearly all athletic
 events before, during, and after puberty. There is not scientific evidence that any



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 amount or duration of cross sex hormone therapy (puberty blockers, androgen
 inhibitors, or cross-sex hormones) eliminates all physiological advantages that
 result in males performing better than females in nearly all athletic events. Males
 who have received such therapy retain sufficient male physiological traits that
 enhance athletic performance vis-à-vis similarly aged females and are thus, from a
 physiological perspective, more accurately categorized as male and not female.




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 G. Brown                                                  Expert Report, B.P.J. v. WV BOE et al.



                                Appendix 1 – Data Tables

 Presidential Physical Fitness Results14

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               Appendix 2 – Scholarly Publications in Past 10 Years

 Refereed Publications
 1. Brown GA, Shaw BS, Shaw I. How much water is in a mouthful, and how many
     mouthfuls should I drink? A laboratory exercise to help students understand
     developing a hydration plan. Adv Physiol Educ 45: 589–593, 2021.
 2. Schneider KM and Brown GA (as Faculty Mentor). What's at Stake: Is it a
     Vampire or a Virus? International Journal of Undergraduate Research and
     Creative Activities. 11, Article 4. 2019.
 3. Christner C and Brown GA (as Faculty Mentor). Explaining the Vampire
     Legend through Disease. UNK Undergraduate Research Journal. 23(1), 2019.
     (*This is an on-campus publication.)
 4. Schneekloth B and Brown GA. Comparison of Physical Activity during Zumba
     with a Human or Video Game Instructor. 11(4):1019-1030. International
     Journal of Exercise Science, 2018.
 5. Bice MR, Hollman A, Bickford S, Bickford N, Ball JW, Wiedenman EM, Brown
     GA, Dinkel D, and Adkins M. Kinesiology in 360 Degrees. International
     Journal of Kinesiology in Higher Education, 1: 9-17, 2017
 6. Shaw I, Shaw BS, Brown GA, and Shariat A. Review of the Role of Resistance
     Training and Musculoskeletal Injury Prevention and Rehabilitation. Gavin
     Journal of Orthopedic Research and Therapy. 1: 5-9, 2016
 7. Kahle A, Brown GA, Shaw I, & Shaw BS. Mechanical and Physiological Analysis
     of Minimalist versus Traditionally Shod Running. J Sports Med Phys Fitness.
     56(9):974-9, 2016
 8. Bice MR, Carey J, Brown GA, Adkins M, and Ball JW. The Use of Mobile
     Applications to Enhance Learning of the Skeletal System in Introductory
     Anatomy & Physiology Students. Int J Kines Higher Educ 27(1) 16-22, 2016
 9. Shaw BS, Shaw I, & Brown GA. Resistance Exercise is Medicine. Int J Ther
     Rehab. 22: 233-237, 2015.
 10.Brown GA, Bice MR, Shaw BS, & Shaw I. Online Quizzes Promote Inconsistent
     Improvements on In-Class Test Performance in Introductory Anatomy &
     Physiology. Adv. Physiol. Educ. 39: 63-6, 2015
 11.Brown GA, Heiserman K, Shaw BS, & Shaw I. Rectus abdominis and rectus
     femoris muscle activity while performing conventional unweighted and weighted
     seated abdominal trunk curls. Medicina dello Sport. 68: 9-18. 2015
 12.Botha DM, Shaw BS, Shaw I & Brown GA. Role of hyperbaric oxygen therapy in
     the promotion of cardiopulmonary health and rehabilitation. African Journal for

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       Physical, Health Education, Recreation and Dance (AJPHERD). Supplement 2
       (September), 20: 62-73, 2014
 13.Abbey BA, Heelan KA, Brown, GA, & Bartee RT. Validity of HydraTrend™
     Reagent Strips for the Assessment of Hydration Status. J Strength Cond Res.
     28: 2634-9. 2014
 14.Scheer KC, Siebrandt SM, Brown GA, Shaw BS, & Shaw I. Wii, Kinect, & Move.
     Heart Rate, Oxygen Consumption, Energy Expenditure, and Ventilation due to
     Different Physically Active Video Game Systems in College Students.
     International Journal of Exercise Science: 7: 22-32, 2014
 15.Shaw BS, Shaw I, & Brown GA. Effect of concurrent aerobic and resistive
     breathing training on respiratory muscle length and spirometry in asthmatics.
     African Journal for Physical, Health Education, Recreation and Dance
     (AJPHERD). Supplement 1 (November), 170-183, 2013
 16.Adkins M, Brown GA, Heelan K, Ansorge C, Shaw BS & Shaw I. Can dance
     exergaming contribute to improving physical activity levels in elementary school
     children? African Journal for Physical, Health Education, Recreation and Dance
     (AJPHERD). 19: 576-585, 2013
 17.Jarvi MB, Brown GA, Shaw BS & Shaw I. Measurements of Heart Rate and
     Accelerometry to Determine the Physical Activity Level in Boys Playing
     Paintball. International Journal of Exercise Science: 6: 199-207, 2013
 18.Brown GA, Krueger RD, Cook CM, Heelan KA, Shaw BS & Shaw I. A prediction
     equation for the estimation of cardiorespiratory fitness using an elliptical motion
     trainer. West Indian Medical Journal. 61: 114-117, 2013.
 19.Shaw BS, Shaw I, & Brown GA. Body composition variation following
     diaphragmatic breathing. African Journal for Physical, Health Education,
     Recreation and Dance (AJPHERD). 18: 787-794, 2012.

 Refereed Presentations
 1.    Brown GA. Transwomen competing in women’s sports: What we know, and
        what we don’t. American Physiological Society New Trends in Sex and Gender
        Medicine conference. Held virtually due to Covid-19 pandemic. October 19 -
        22, 2021, 2021.
 2.    Shaw BS, Boshoff VE, Coetzee S, Brown GA, Shaw I. A Home-based
        Resistance Training Intervention Strategy To Decrease Cardiovascular Disease
        Risk In Overweight Children Med Sci Sport Exerc. 53(5), 742. 68th Annual
        Meeting of the American College of Sports Medicine. Held virtually due to
        Covid-19 pandemic. June 1-5, 2021.
 3.    Shaw I, Cronje M, Brown GA, Shaw BS. Exercise Effects On Cognitive
        Function And Quality Of Life In Alzheimer’s Patients In Long-term Care. Med



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       Sci Sport Exerc. 53(5), 743. 68th Annual Meeting of the American College of
       Sports Medicine. Held virtually due to Covid-19 pandemic. June 1-5, 2021.
 4.   Brown GA, Escalera M, Oleena A, Turek T, Shaw I, Shaw BS. Relationships
       between Body Composition, Abdominal Muscle Strength, and Well Defined
       Abdominal Muscles. Med Sci Sport Exerc. 53(5), 197. 68th Annual Meeting of
       the American College of Sports Medicine. Held virtually due to Covid-19
       pandemic. June 1-5, 2021.
 5.   Brown GA, Jackson B, Szekely B, Schramm T, Shaw BS, Shaw I. A Pre-
       Workout Supplement Does Not Improve 400 M Sprint Running or Bicycle
       Wingate Test Performance in Recreationally Trained Individuals. Med Sci
       Sport Exerc. 50(5), 2932. 65th Annual Meeting of the American College of
       Sports Medicine. Minneapolis, MN. June 2018.
 6.   Paulsen SM, Brown GA. Neither Coffee Nor A Stimulant Containing “Pre-
       workout” Drink Alter Cardiovascular Drift During Walking In Young Men.
       Med Sci Sport Exerc. 50(5), 2409. 65th Annual Meeting of the American
       College of Sports Medicine. Minneapolis, MN. June 2018.
 7.   Adkins M, Bice M, Bickford N, Brown GA. Farm to Fresh! A Multidisciplinary
       Approach to Teaching Health and Physical Activity. 2018 spring SHAPE
       America central district conference. Sioux Falls, SD. January 2018.
 8.   Shaw I, Kinsey JE, Richards R, Shaw BS, and Brown GA. Effect Of Resistance
       Training During Nebulization In Adults With Cystic Fibrosis. International
       Journal of Arts & Sciences’ (IJAS). International Conference for Physical, Life
       and Health Sciences which will be held at FHWien University of Applied
       Sciences of WKW, at Währinger Gürtel 97, Vienna, Austria, from 25-29 June
       2017.
 9.   Bongers M, Abbey BM, Heelan K, Steele JE, Brown GA. Nutrition Education
       Improves Nutrition Knowledge, Not Dietary Habits In Female Collegiate
       Distance Runners. Med Sci Sport Exerc. 49(5), 389. 64th Annual Meeting of
       the American College of Sports Medicine. Denver, CO. May 2017.
 10. Brown GA, Steele JE, Shaw I, Shaw BS. Using Elisa to Enhance the
      Biochemistry Laboratory Experience for Exercise Science Students. Med Sci
      Sport Exerc. 49(5), 1108. 64th Annual Meeting of the American College of
      Sports Medicine. Denver, CO. May 2017.
 11. Brown GA, Shaw BS, and Shaw I. Effects of a 6 Week Conditioning Program
      on Jumping, Sprinting, and Agility Performance In Youth. Med Sci Sport
      Exerc. 48(5), 3730. 63rd Annual Meeting of the American College of Sports
      Medicine. Boston, MA. June 2016.
 12. Shaw I, Shaw BS, Boshoff VE, Coetzee S, and Brown GA. Kinanthropometric
      Responses To Callisthenic Strength Training In Children. Med Sci Sport Exerc.

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     48(5), 3221. 63rd Annual Meeting of the American College of Sports Medicine.
     Boston, MA. June 2016.
 13. Shaw BS, Shaw I, Gouveia M, McIntyre S, and Brown GA. Kinanthropometric
      Responses To Moderate-intensity Resistance Training In Postmenopausal
      Women. Med Sci Sport Exerc. 48(5), 2127. 63rd Annual Meeting of the
      American College of Sports Medicine. Boston, MA. June 2016.
 14. Bice MR, Cary JD, Brown GA, Adkins M, and Ball JW. The use of mobile
      applications to enhance introductory anatomy & physiology student
      performance on topic specific in-class tests. National Association for
      Kinesiology in Higher Education National Conference. January 8, 2016.
 15. Shaw I, Shaw BS, Lawrence KE, Brown GA, and Shariat A. Concurrent
      Resistance and Aerobic Exercise Training Improves Hemodynamics in
      Normotensive Overweight and Obese Individuals. Med Sci Sport Exerc. 47(5),
      559. 62nd Annual Meeting of the American College of Sports Medicine. San
      Diego, CA. May 2015.
 16. Shaw BS, Shaw I, McCrorie C, Turner S., Schnetler A, and Brown GA.
      Concurrent Resistance and Aerobic Training in the Prevention of Overweight
      and Obesity in Young Adults. Med Sci Sport Exerc. 47(5), 223. 62nd Annual
      Meeting of the American College of Sports Medicine. San Diego, CA. May 2015.
 17. Schneekloth B, Shaw I, Shaw BS, and Brown GA. Physical Activity Levels
      Using Kinect™ Zumba Fitness versus Zumba Fitness with a Human Instructor.
      Med Sci Sport Exerc. 46(5), 326. 61st Annual Meeting of the American College
      of Sports Medicine. Orlando, FL. June 2014.
 18. Shaw I, Lawrence KE, Shaw BS, and Brown GA. Callisthenic Exercise-related
      Changes in Body Composition in Overweight and Obese Adults. Med Sci Sport
      Exerc. 46(5), 394. 61st Annual Meeting of the American College of Sports
      Medicine. Orlando, FL June 2014.
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 A complete CV is available at
 https://www.unk.edu/academics/hperls/bio_pages/current-vita-gab.pdf




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                                        INTRODUCTION

           Up to the present, the great majority of news, debate, and even

   scholarship about transgender participation in female athletics has focused on

   track and field events and athletes, and the debate has largely concerned

   questions of fairness and inclusion. However, the transgender eligibility policies

   of many high school athletic associations in the United States apply with equal

   force to all sports, including sports in which players frequently collide with each

   other, or can be forcefully struck by balls or equipment such as hockey or

   lacrosse sticks. And in fact, biologically male transgender athletes have

   competed in a wide range of high school, collegiate, and professional girls’ or

   women’s sports, including, at least, basketball, 1 soccer, 2 volleyball, 3 softball, 4

   lacrosse,5 and even women’s tackle football.6


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   1https://www.espn.com/espnw/athletes-life/story/_/id/10170842/espnw-gabrielle-ludwig-52-

   year-old-transgender-women-college-basketball-player-enjoying-best-year-life (accessed
   2/17/22)
   2https://www.unionleader.com/news/education/nh-bill-limits-women-s-sports-to-girls-born-

   female/article_d1998ea1-a1b9-5ba4-a48d-51a2aa01b910.html;
   https://www.outsports.com/2020/1/17/21069390/womens-soccer-mara-gomez-transgender-
   player-argentina-primera-division-villa-san-marcos (accessed 6/20/21)
   3https://news.ucsc.edu/2016/09/challenging-assumptions.html(accessed 6/20/21);
   https://www.outsports.com/2017/3/20/14987924/trans-athlete-volleyball-tia-thompson (accessed
   6/20/21)
   4https://www.foxnews.com/us/californias-transgender-law-allows-male-high-schooler-to-make-

   girls-softball-team (accessed 6/20/21)
   5https://savewomenssports.com/f/emilys-story?blogcategory=Our+Stories   (accessed 6/20/21)
   6https://www.outsports.com/2017/12/13/16748322/britney-stinson-trans-football-baseball

   (accessed 6/20/21); https://www.mprnews.org/story/2018/12/22/transgender-football-player-
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         The science of sex-specific differences in physiology, intersecting with the

   physics of sports injury, leaves little doubt that participation by biological males

   in these types of girls’ or women’s sports, based on gender identity, creates

   significant additional risk of injury for the biologically female participants

   competing alongside these transgender athletes.

         In 2020, after an extensive review of the scientific literature, consultation

   with experts, and modeling of expected injuries, World Rugby published revised

   rules governing transgender participation, along with a detailed explanation of

   how the new policy was supported by current evidence. World Rugby concluded

   that “there is currently no basis with which safety and fairness can be assured

   to biologically female rugby players should they encounter contact situations

   with players whose biological male advantages persist to a large degree,” and

   that after puberty, “the lowering of testosterone removes only a small proportion

   of the documented biological differences.” Hence, World Rugby concluded that

   biological men should not compete in women’s rugby. (World Rugby

   Transgender Women Guidelines 2020.) World Rugby has been criticized by some

   for its new guidelines, but those criticisms have often avoided discussions of

   medical science entirely, or have asserted that modeling scenarios can overstate

   true risk. What cannot be denied, however, is that World Rugby’s approach is

   evidence-based, and rooted in concern for athlete safety. As a medical doctor

   who has spent my career in sports medicine, it is my opinion that World Rugby’s

   assessment of the evidence is scientifically sound, and that injury modeling


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   meaningfully predicts that biologically male transgender athletes do constitute

   a safety risk for the biologically female athlete in women’s sports.

         In a similar vein, in 2021, the UK Sports Councils’ Equality Group

   released new guidance for transgender inclusion in organized sports. This

   guidance was formulated after extensive conversations with stakeholders, a

   review of scientific findings related to transgender athletes in sport through

   early 2021, and an assessment of the use by some sport national governing

   bodies of case-by-case assessment to determine eligibility. Noteworthy within

   these stakeholder consultations was a lack of consensus on any workable

   solution, as well as concerns related to athlete safety and “adherence to rules

   which give sport validity.” The Literature Review accompanying the guidance

   document further noted that “[t]here are significant differences between the

   sexes which render direct competition between males and females . . . unsafe in

   sports which allow physical contact and collisions.” (UK Sports Councils’

   Equality Group Literature Review 2021 at 1.) Their review of the science “made

   clear that there are retained differences in strength, stamina and physique

   between the average woman compared with the average transgender

   woman….with or without testosterone suppression.” (UK Sports Councils’

   Equality Group Guidance at 3.) This was also reflected in their ten guiding

   principles, stating that physical differences between the sexes will “impact

   safety parameters in sports which are combat, collision or contact in nature.”

   (UK Sports Councils’ Equality Group Guidance 2021 at 7.) Ultimately, UK Sport


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   concluded that the full inclusion of transgender athletes in women’s sports

   “cannot be reconciled within the current structure of sport,” stating that “the

   inclusion of transgender people into female sport cannot be balanced regarding

   transgender inclusion, fairness and safety in gender-affected sport where there

   is meaningful competition . . . . due to retained differences in strength, stamina

   and physique between the average woman compared with the average

   transgender woman…, with or without testosterone suppression.” (UK Sports

   Councils’ Equality Group Guidance 2021 at 6.) Finally, UK Sport affirmed the

   use of sex categorization in sport, along with age and disability, as important

   for the maintenance of safety and fairness. (UK Sports Councils’ Equality Group

   Guidance 2021 at 7-8.)

         Unfortunately, apart from World Rugby’s careful review and the recent

   release of UK Sports Councils’ guidance, the public discourse is lacking any

   careful consideration of the question of safety. As a physician who has spent my

   career caring for athletes, I find this silence about safety both surprising and

   concerning. It is my hope through this white paper to equip and motivate sports

   leagues and policy makers to give adequate attention to the issue of safety for

   female athletes when transgender policies are being considered. I first explain

   the nature and causes of common sports injuries. I then review physiological

   differences between male and female bodies that affect the risk and severity of

   injuries to females when biological males compete in the female category, and




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   explain why testosterone suppression does not eliminate these heightened risks

   to females. Finally, I explain certain conclusions about those risks.


                                   CREDENTIALS

           1.   I am a medical doctor practicing Sports Medicine, maintaining an

   active clinical practice at Stadia Sports Medicine in West Des Moines, Iowa. I

   received my M.D. from the University of Nebraska College of Medicine in 1994

   and completed a residency in family medicine at the University of Michigan in

   1997.

           2.   Following my time in Ann Arbor, I matched to a fellowship in

   Sports Medicine at Ball Memorial Hospital in Muncie, Indiana, training from

   1997 to 1999, with clinical time split between Central Indiana Orthopedics, the

   Ball State Human Performance Laboratory, and the Ball State University

   training room. I received my board certification in Sports Medicine in 1999,

   which I continue to hold. Since residency training, my practice has focused on

   Sports Medicine–the treatment and prevention of injuries related to sport and

   physical activity.

           3.   Since 1997, I have served in several clinical practices and settings

   as a treating physician, including time as team physician for both the University

   of Illinois and Ball State University, where I provided care to athletes in several

   sports, including football, ice hockey, basketball, field hockey, softball,

   gymnastics, soccer, and volleyball. In the course of my career, I have provided

   coverage for NCAA Power Five Conference championships and NCAA National

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   Championship events in basketball, field hockey and gymnastics, among other

   sports, as well as provided coverage for national championship events for U.S.A.

   gymnastics, and U.S. Swimming and Diving. I have also covered professional

   soccer in Des Moines.

         4.    Since 2006, I have been the physician owner of Stadia Sports

   Medicine in West Des Moines, Iowa. My practice focuses on treatment of sports

   and activity-related injury, including concussive injury, as well as problems

   related to the physiology of sport.

         5.    I have served in and provided leadership for several professional

   organizations over the course of my career. In 2004, I was designated a Fellow

   of the American College of Sports Medicine (ACSM). I have served on ACSM’s

   Health and Science Policy Committee since 2010, and for a time chaired their

   Clinical Medicine Subcommittee. From 2009 to 2013, I served two elected terms

   on the Board of Directors of the American Medical Society for Sports Medicine

   (AMSSM), and during that time served as Chair of that body’s Practice and

   Policy Committee. I was subsequently elected to a four-year term on AMSSM’s

   executive committee in 2017, and from 2019-20, I served as AMSSM’s President.

   AMSSM is the largest organization of sports medicine physicians in the world.

   I gained fellowship status through AMSSM in 2020–my first year of eligibility.

   My work for ACSM and AMSSM has brought with it extensive experience in

   public policy as relates to Sports Medicine.




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         6.    In 2020, I was named as AMSSM’s first board delegate to the

   newly-constituted Physical Activity Alliance. I am a named member of an NCAA

   advisory group on COVID-19, through which I provided input regarding the

   cancellation of the basketball tournament in 2020. I also serve as a member of

   the Iowa Medical Society’s Sports Medicine Subcommittee and have been asked

   to serve on the Iowa High School Athletic Association’s newly-forming Sports

   Medicine Advisory Committee.

         7.    I have served as a manuscript reviewer for organizational policy

   pronouncements, and for several professional publications, most recently a

   sports medicine board review book just published in 2021. I have published

   several articles on topics related to musculoskeletal injuries in sports and

   rehabilitation, which have been published in peer-reviewed journals such as

   Clinical Journal of Sports Medicine, British Journal of Sports Medicine, Current

   Reviews in Musculoskeletal Medicine, Athletic Therapy Today, and the Journal

   of Athletic Training. In conjunction with my work in policy advocacy, I have

   helped write several pieces of legislation, including the initial draft of what

   became the Sports Medicine Licensure Clarity Act, signed into law by President

   Trump in 2018, which eases the restrictions on certain practitioners to provide

   health services to athletes and athletic teams outside of the practitioner’s home

   state. A list of my publications over the past ten (10) years is included as an

   appendix to this report.




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          8.     In the past four years, I have not testified as an expert witness in

   a deposition or at trial.

          9.     I am being compensated for my services as an expert witness in

   this case at the rates of $650 per hour for consultation, $800 per hour for

   deposition testimony, and $3,500 per half-day of trial testimony.


   I.    OVERVIEW

          10.    In this statement, I offer information and my own professional

   opinion on the potential for increased injury risk to females in sports when they

   compete against biologically male transgender athletes.7 At many points in this

   statement, I provide citations to published, peer-reviewed articles that provide

   relevant and supporting information to the points I make.

          11.    The principal conclusions that I set out in this white paper are as

   follows:

                  a.Government and sporting organizations have historically
                  considered the preservation of athlete safety as one component of
                  competitive equity.

                  b.Injury in sport is somewhat predictable based on modeling
                  assumptions that take into account relevant internal and external
                  risk factors.


                                  
   7In the body of this paper, I use the terms “male” and “female” according to their ordinary
   medical meaning–that is to say, to refer to the two biological sexes. I also use the word “man”
   to refer to a biologically male human, and “woman” to refer to a biologically female human. In
   the context of this opinion, I include in these categories non-syndromic, biologically-normal
   males and females who identify as a member of the opposite sex, including those who use
   endogenous hormone suppression to alter their body habitus. In contexts that are not focused
   on questions of biology and physiology, terms of gender are sometimes used to refer to
   subjective identities rather than to biological categories – something I avoid for purposes of a
   paper focused on sports science


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                  c. Males exhibit large average advantages in size, weight, and
                  physical capacity over females—often falling far outside female
                  ranges. Even before puberty, males have a performance advantage
                  over females in most athletic events. Failure to preserve protected
                  female-only categories in contact sports (broadly defined) will
                  ultimately increase both the frequency and severity of injury
                  suffered by female athletes who share playing space with these
                  males.

                  d.Current research supports the conclusion that suppression of
                  testosterone levels by males who have already begun puberty will
                  not fully reverse the effects of testosterone on skeletal size,
                  strength, or muscle hypertrophy, leading to persistence of sex-
                  based differences in power, speed, and force-generating capacity.

          12.    In this white paper, I use the term “contact sports” to refer broadly

   to all sports in which collisions between players, or collisions between equipment

   such as a stick or ball and the body of a player, occur with some frequency

   (whether or not permitted by the rules of the game), and are well recognized in

   the field of sports medicine as causes of sport-related injuries.8 The 1975 Title

   IX implementing regulations (34 CFR § 106.41) say that “for purposes of this

   [regulation] contact sports include boxing, wrestling, rugby, ice hockey, football,

   basketball, and other sports the purpose or major activity of which involves

   bodily contact.” Certainly, all of the sports specifically named in the regulation

   fall within my definition of “contact sport.” Mixed martial arts, field hockey

   (Barboza 2018), soccer (Kuczinski 2018), rugby (Viviers 2018), lacrosse




                                  
   8It is common to see, within the medical literature, reference to distinctions between “contact”
   and “collision” sports. For purposes of clarity, I have combined these terms, since in the
   context of injury risk modeling, there is no practical distinction between them.


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   (Pierpoint 2019), volleyball,9 baseball, and softball also involve collisions that

   can and do result in injuries, and so also fall within my definition.


   II.   A BRIEF HISTORY OF THE RATIONALE FOR SEPARATION OF
          SPORT BY SEX

          13.    World Rugby is correct when it notes that “the women’s category

   exists to ensure protection, safety, and equality” for women. (World Rugby

   Transgender Women Guidelines 2020.) To some extent, those in charge of sport

   governing bodies in the modern era have always recognized the importance of

   grouping athletes together based on physical attributes, in order to ensure both

   safety and competitive balance. Weight classifications have existed in wrestling

   since it reappeared as an Olympic event in 1904. Women and men have

   participated in separate categories since the advent of intercollegiate sporting

   clubs early in the 20th century. When Title IX went into effect in 1975, there

   were just under 300,000 female high school athletes, and fewer than 10,000

   female collegiate athletes. With the changes that resulted from Title IX, it was

   assumed that newly-available funds for women in sport would ensure the

   maintenance of existing, or creation of new, sex-segregated athletic teams that

   would foster greater participation by women. This has been borne out

   subsequently; by the first half of the 1980’s these numbers had risen to 1.9

   million and nearly 100,000 respectively. (Hult 1989.)


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   9See https://www.latimes.com/sports/story/2020-12-08/stanford-volleyball-hayley-hodson-
   concussions-cte-lawsuit, and https://volleyballmag.com/corinneatchison/ (both accessed
   6/20/21).


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          14.   The rationale for ongoing “separate but equal” status when it came

   to sex-segregated sports was made clear within the language of the original

   implementing regulations of Title IX , which, acknowledging real, biologically-

   driven differences between the sexes, created carve-out exceptions authorizing

   sex-separation of sport for reasons rooted in the maintenance of competitive

   equity. Importantly, the effect of these innate sex-based differences on the

   health and safety of the athlete were acknowledged by the express authorization

   of sex-separated teams for sports with higher perceived injury risk—i.e.,

   “contact sports.” (Coleman 2020.)

          15.   In the almost half century since those regulations were adopted,

   the persistent reality of sex-determined differences in athletic performance and

   safety has been recognized by the ongoing and nearly universal segregation of

   men’s and women’s teams–even those that are not classically defined as being

   part of a contact or collision sport.

          16.   Now, however, many schools and sports leagues in this country are

   permitting males to compete in female athletics—including in contact sports—

   based on gender identity. In my view, these policies have been adopted without

   careful analysis of safety implications. Other researchers and clinicians have

   addressed questions of the negative impact of such policies on fairness, or

   equality of athletic experiences for girls and women, in published articles, and

   in court submissions. One recent review of track and field performances,

   including sprints, distance races and field events, noted that men surpass the


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   top female performance in each category between 1000 and 10,000 times each

   year, with hundreds or thousands of men beating the top women in each event.

   (Coleman & Shreve.) Although this was not their primary focus, World Rugby

   well-summarized the point when it observed that in a ranking list of the top

   thousand performances in most sports, every year, every one will have been

   achieved by a biological male. (World Rugby Transgender Women Guidelines

   2020.) Although most easily documented in athletes who have gone through

   puberty, these differences are not exclusively limited to post-pubescent athletes

   either.

         17.   I have reviewed the expert declaration of Gregory A. Brown, Ph.D.,

   FACM of February 23, 2022, provided in this case, which includes evidence from

   a wide variety of sources, including population-based mass testing data, as well

   as age-stratified competition results, all of which support the idea that

   prepubertal males run faster, jump higher and farther, exhibit higher aerobic

   power output, and have greater upper body strength (evidenced by stronger hand

   grip and better performance with chin-ups or bent arm hang) than comparably

   aged females. This performance gap is well-documented in population-based

   physiologic testing data that exists in databases such as the Presidential Fitness

   Test, the Eurofit Fitness test, and additional mass testing data from the UK and

   Australia. Collectively, this data reveals that pre-pubertal males outperform

   comparably aged females in a wide array of athletic tests including but not

   limited to the countermovement jump test, drop jump test, change of direction


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   test, long jump, timed sit-up test, the 10 X 5 meter shuttle run test, the 20 meter

   shuttle run test, curl-ups, pull-ups, push-ups, one mile run, standing broad jump,

   and bent arm hang test. Dr. Brown further references studies showing a

   significant difference in the body composition of males and females before

   puberty. In sum, a large and unbridgeable performance gap between the sexes is

   well-studied and equally well-documented, beginning in many cases before

   puberty. In this white paper, I focus on some of these differences as they touch

   on the question of athlete safety.


   III.   UNDERSTANDING THE CAUSES OF SPORTS INJURIES

           18.   The causes for injury in sport are multifactorial. In recent decades,

   medical researchers have provided us an evolving understanding of how sports

   injuries occur, as well as the factors that make them more or less probable, and

   more or less severe. Broadly speaking, there are two ways of modeling injury:

   the epidemiological model, and the biomechanical model. These models are not

   mutually exclusive, but provide complementary conceptual frameworks to help

   us stratify risk in sport.

           A.     The epidemiological model of injury

           19.   From a practical standpoint, sports medicine researchers and

   clinicians often use the “epidemiological model” to explain, prevent and manage

   sports injuries. Broadly speaking, this model views an injury in sport as the

   product of internal and external risk factors, triggered by an inciting event. In

   other words, a given injury is “caused” by a number of different factors that are


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   unique to a given situation. (Meeuwise 1994.) When the interplay of these

   factors exceeds the injury threshold, injury occurs. One example of how this

   interplay might work would be a female distance runner in track who develops

   a tibial stress fracture, with identified risks of low estrogen state from

   amenorrhea (suppression of menses), an aggressive winter training program on

   an indoor tile surface, and shoes that have been used for too many miles, and

   are no longer providing proper shock absorption. Most risk factors ebb and flow,

   with the overall injury risk at any given time fluctuating as well. Proper

   attention to risk factor reduction before the start of the sports season (including

   appropriate rule-making) is the best way to reduce actual injury rates during

   the season.

         20.    As alluded to, the risk factors associated with injury can be broadly

   categorized as internal or external. Internal risk factors are internal to the

   athlete. These include relatively fixed variables, such as the athlete’s age,

   biological sex, bone mineral density (which affects bone strength) and joint

   laxity, as well as more mutable variables such as body weight, fitness level,

   hydration state, current illness, prior injury, or psychosocial factors such as

   aggression.

         21.    External risk factors are, as the name suggests, external to the

   athlete. These include non-human risks such as the condition of the playing

   surface or equipment, athletic shoe wear, or environmental conditions. Other

   external risk factors come from opposing competitors, and include such


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   variables as player size, speed, aggressiveness, and overall adherence to the

   rules of the game. As already mentioned, these risks can be minimized through

   the proper creation and enforcement of rules, as well as the appropriate

   grouping of athletes together for purposes of competition. To the latter point,

   children don’t play contact sports with adults and, in the great majority of cases,

   men and women compete in categories specific to their own biological sex.

   Certainly these categorical separations are motivated in part by average

   performance differences and considerations of fairness and opportunity. But

   they are also motivated by safety concerns. When properly applied, these

   divisions enhance safety because, when it comes to physical traits such as body

   size, weight, speed, muscle girth, and bone strength, although a certain amount

   of variability exists within each group, the averages and medians differ widely

   between the separated groups.10

           22.    Thus, each of these commonly utilized groupings of athletes

   represents      a    pool     of    individuals      with     predictable      commonalities.

   Epidemiological risk assessment is somewhat predictable and translatable as

   long as these pools remain intact. But the introduction of outside individuals


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   10In some cases, safety requires even further division or exclusion. A welterweight boxer
   would not compete against a heavyweight, nor a heavyweight wrestle against a smaller
   athlete. In the case of youth sports, when children are at an age where growth rates can vary
   widely, leagues will accommodate for naturally-occurring large discrepancies in body size by
   limiting larger athletes from playing positions where their size and strength is likely to result
   in injury to smaller players. Thus, in youth football, players exceeding a certain weight
   threshold may be temporarily restricted to playing on the line and disallowed from carrying
   the ball, or playing in the defensive secondary, where they could impose high-velocity hits on
   smaller players.


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   into a given pool (e.g. an adult onto a youth football team, or males into most

   women’s sports) would change the balance of risk inside that pool. Simply put,

   when you introduce larger, faster, and stronger athletes from one pool into a

   second pool of athletes who are categorically smaller (whether as a result of age

   or sex), you have altered the characteristics of the second pool, and, based on

   known injury modeling, have statistically increased the injury risk for the

   original athletes in that pool. This, in a nutshell, is the basis for World Rugby’s

   recommendations.

         23.   Most clinical studies of the epidemiology of sports injuries use a

   multivariate approach, identifying multiple independent risk factors and

   examining how these factors might interact, in order to determine their relative

   contribution to injury risk, and make educated inferences about causation.

   (Meeuwise 1994.)

         24.   In applying the multivariate approach, the goal is to keep as many

   variables as possible the same so as to isolate the potential effect of a single

   variable (such as age or biological sex) on injury risk, as well as to determine

   how the isolated variable interacts with the other analyzed variables to affect

   injury risk. Failure to consider relevant independent variables can lead to error.

   Researchers focusing on differences between male and female athletes, for

   example, would not compare concussion rates of a high school girls’ soccer team

   to concussion rates of a professional men’s soccer team, because differences in

   the concussion rate might be due to a number of factors besides sex, such as age,


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   body mass, relative differences in skill, speed, or power, as well as differences in

   training volume and intensity.

         25.   As indicated earlier, an injury event is usually the end product of

   a number of different risk factors coming together. (Bahr 2005.) A collision

   between two soccer players who both attempt to head the ball, for example,

   might be the inciting event that causes a concussion. Although the linear and

   angular forces that occur through sudden deceleration would be the proximate

   cause of this injury, the epidemiological model of injury would also factor in

   “upstream” risks, predicting the possibility of an injury outcome for each athlete

   differently depending on the sum of these risks. If the collision injury described

   above occurs between two disparately-sized players, the smaller athlete will

   tend to decelerate more abruptly than the larger athlete, increasing the smaller

   athlete’s risk for injury. Additional discrepancies in factors such as neck

   strength, running speeds, and muscle force generation capacity all result in

   differing risks and thus, the potential for differing injury outcomes from the

   same collision. As I discuss later in this white paper, there are significant

   statistical differences between the sexes when it comes to each of these

   variables, meaning that in a collision sport where skeletally mature males and

   females are playing against one another, there is a higher statistical likelihood

   that injury will result when collisions occur, and in particular there is a higher

   likelihood that a female will suffer injury. This again is the basis for the recent

   decision by World Rugby to disallow the crossover of men into women’s rugby,


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   regardless of gender identity. (World Rugby Transgender Women Guidelines

   2020.) The decision-making represented by this policy change is rational and

   rooted in objective facts and objective risks of harm, because it takes real,

   acknowledged, and documented physical differences between the sexes (in many

   cases before adolescence), and models expected injury risk on the basis of the

   known differences that persist even after hormone manipulation.

         B.     The biomechanical model of injury

         26.   Sports medicine researchers and clinicians also consider a

   biomechanical approach when it comes to understanding sports injuries. In the

   biomechanical model of injury, injury is considered to be analogous to the failure

   of a machine or other structure. Every bone, muscle, or connective tissue

   structure in an athlete’s body has a certain load tolerance. Conceptually, when

   an external “load” exceeds the load tolerance of a given structure in the human

   body, an injury occurs. (Fung 1993 at 1.) Thus, researchers focus on the

   mechanical load—the force exerted on a bone, ligament, joint or other body

   part—and the load tolerance of that impacted or stressed body part, to

   understand what the typical threshold for injury is, and how predictable this

   might be. (McIntosh 2005 at 2-3.) Biomechanical models of injury usually

   consider forces in isolation. The more consistent the movement pattern of an

   individual, and the fewer the contributions of unexpected outside forces to the

   athlete, the more accurate biomechanical predictions of injury will be.




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         27.   Biomechanical modeling can be highly predictive in relatively

   simple settings. For example, in blunt trauma injury from falls, mortality

   predictably rises the greater the fall. About 50% of people who fall four stories

   will survive, while only 10% will survive a fall of seven stories. (Buckman 1991.)

   As complexity increases, predictability in turn decreases. In sport, the pitching

   motion is highly reproducible, and strain injury to the ulnar collateral ligament

   (UCL) of the elbow can be modeled. The load tolerance of the UCL of a pitcher’s

   elbow is about 32 Newton-meters, but the failure threshold of a ligament like

   this in isolation is not the only determinant of whether injury will occur. During

   the pitching motion, the valgus force imparted to the elbow (gapping stress

   across the inner elbow that stretches the UCL) routinely reaches 64 Newtons,

   which is obviously greater than the failure threshold of the ligament. Since not

   all pitchers tear their UCLs, other variables innate to an athlete must mitigate

   force transmission to the ligament and reduce risk. The load tolerance of any

   particular part of an athlete’s body is thus determined by other internal factors

   such as joint stiffness, total ligament support, muscle strength across the joint,

   or bone mineral density. Injury load can be self-generated, as in the case of a

   pitcher’s elbow, or externally-generated, as in the case of a linebacker hitting a

   wide receiver. While load tolerance will vary by individual, as described above,

   and is often reliant on characteristics innate to a given athlete, external load is

   determined by outside factors such as the nature of the playing surface or




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   equipment used, in combination with the weight and speed of other players or

   objects (such as a batted ball) with which the player collides. (Bahr 2005.)

          28.   As this suggests, the two “models” of sports injuries described

   above are not in any sense inconsistent or in tension with each other. Instead,

   they are complementary ways of thinking about injuries that can provide

   different insights. But the important point to make regarding these models is

   that in either model, injury risk (or the threshold for injury) rises and falls

   depending on the size of an externally-applied force, and the ability of a given

   athlete to absorb or mitigate that force.


   IV.   THE PHYSICS OF SPORTS INJURY

          29.   Sports injuries often result from collisions between players, or

   between a player and a rapidly moving object (e.g. a ball or hockey puck, a

   lacrosse or hockey stick). In soccer, for example, most head injuries result from

   collisions with another player’s head or body, collision with the goal or ground,

   or from an unanticipated blow from a kicked ball. (Boden 1998; Mooney 2020.)

   In basketball, players often collide with each other during screens, while diving

   for a loose ball, or while driving to the basket. In lacrosse or field hockey, player-

   to-player, or player-to-stick contact is common.

          30.   But what are the results of those collisions on the human body?

   Basic principles of physics can cast light on this question from more than one

   angle. A general understanding of these principles can help us identify factors




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   that will predictably increase the relative risk, frequency, and severity of sports

   injuries, given certain assumptions.

                 31.   First, we can consider energy. Every collision involves an object or

   objects that possess energy. The energy embodied in a moving object (whether a

   human body, a ball, or anything else) is called kinetic energy.

                 32.   Importantly, the kinetic energy of a moving object is expressed as:

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   ࡱ࢑ ൌ ࢓࢜૛ . That is, kinetic energy is a function of the mass of the object
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   multiplied by the square of its velocity. (Dashnaw 2012.) To illustrate with a

   simple but extreme example: if athletes A and B are moving at the same speed,

   but athlete A is twice as heavy, athlete A carries twice as much kinetic energy

   as athlete B. If the two athletes weigh the same amount, but athlete A is going

   twice as fast, athlete A carries four times as much kinetic energy as athlete B.

   But as I have noted, the kinetic energy of a moving object is a function of the

   mass of the object multiplied by the square of its velocity. Thus, if athlete A is

   twice as heavy, and moving twice as fast, athlete A will carry eight times the

   kinetic energy of athlete B into a collision.11

                 33.   The implication of this equation means that what appear to be

   relatively minor discrepancies in size and speed can result in major differences

   in energy imparted in a collision, to the point that more frequent and more

   severe injuries can occur. To use figures that correspond more closely to average



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   differences between men and women, if Player M weighs only 20% more than

   Player F, and runs only 15% faster, Player M will bring 58% more kinetic energy

   into a collision than Player F.12

             3 4 .  The law of conservation of energy tells us that energy is never

   destroyed or “used up.” If kinetic energy is “lost” by one body in a collision, it is

   inevitably transferred to another body, or into a different form. In the case of

   collision between players, or between (e.g.) a ball and a player’s head, some of

   the energy “lost” by one player, or by the ball, may be transformed into

   (harmless) sound; some may result in an increase in the kinetic energy of the

   player who is struck (through acceleration, which I discuss below); but some of

   it may result in deformation of the player’s body—which, depending on its

   severity, may result in injury. Thus, the greater the kinetic energy brought into

   a collision, the greater the potential for injury, all other things being equal.

             35.     Alternately, we can consider force and acceleration, which is

   particularly relevant to concussion injuries.

             36.     Newton’s third law of motion tells us that when two players collide,

   their bodies experience equal and opposite forces at the point of impact.

                  Acceleration refers to the rate of change in speed (or velocity).

   When two athletes collide, their bodies necessarily accelerate (or decelerate)

   rapidly: stopping abruptly, bouncing back, or being deflected in a different



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   direction. Newton’s second law of motion tells us that: ࡲ ൌ ࢓ࢇ (that is, force

   equals mass multiplied by acceleration). From this equation we see that when a

   larger and a smaller body collide, and (necessarily) experience equal and

   opposite forces, the smaller body (or smaller player, in sport) will experience

   more rapid acceleration. We observe this physical principle in action when we

   watch a bowling ball strike bowling pins: the heavy bowling ball only slightly

   changes its course and speed; the lighter pins go flying.

          38.    This same equation also tells us that if a given player’s body or

   head is hit with a larger force (e.g., from a ball that has been thrown or hit

   faster), it will experience greater acceleration, everything else being equal.

          39.    Of course, sport is by definition somewhat chaotic, and forces are

   often not purely linear. Many collisions also involve angular velocities, with the

   production of rotational force, or torque. Torque can be thought of as force that

   causes rotation around a central point. A different but similar equation of

   Newtonian physics governs the principles involved. 13 Torque is relevant to

   injury in several ways. When torque is applied through joints in directions those

   joints are not able to accommodate, injury can occur. In addition, rotational force

   can cause different parts of the body to accelerate at different rates—in some

   cases, very rapid rates, also leading to injury. For example, a collision where the



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   13In this equation, ࣎ ൌ ࡵࢻ, torque equals moment of inertia multiplied by angular acceleration,
   where “moment of inertia” is defined as ࡵ ൌ ࢓࢘૛ , that is, mass multiplied by the square of the
   distance to the rotational axis.


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   body is impacted at the waist can result in high torque and acceleration on the

   neck and head.

         40.   Sport-related concussion—a common sports injury and one with

   potentially significant effects—is attributable to linear, angular, or rotational

   acceleration and deceleration forces that result from impact to the head, or from

   an impact to the body that results in a whiplash “snap” of the head. (Rowson

   2016.) In the case of a concussive head injury, it is the brain that accelerates or

   decelerates on impact, colliding with the inner surface of the skull. (Barth 2001

   at 255.)

         41.   None of this is mysterious: each of us, if we had to choose between

   being hit either by a large, heavy athlete running at full speed, or by a small,

   lighter athlete, would intuitively choose collision with the small, light athlete as

   the lesser of the two evils. And we would be right. One author referred to the

   “increase in kinetic energy, and therefore imparted forces” resulting from

   collision with larger, faster players as “profound.” (Dashnaw 2012.)


   V.   GENDER DIFFERENCES RELEVANT TO INJURY

         42.   It is important to state up front that it is self-evident to most people

   familiar with sport and sport injuries that if men and women were to

   consistently participate together in competitive contact sports, there would be

   higher rates of injury in women. This is one reason that rule modifications often




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   exist in leagues where co-ed participation occurs.14 Understanding the physics

   of sports injuries helps provide a theoretical framework for why this is true, but

   so does common sense and experience. All of us are familiar with basic objective

   physiological differences between the sexes, some of which exist in childhood,

   and some of which become apparent after the onset of puberty, and persist

   throughout adulthood. And as a result of personal experience, all of us also have

   some intuitive sense of what types of collisions are likely to cause pain or injury.

   Not surprisingly, our “common sense” on these basic facts about the human

   condition is also consistent with the observations of medical science. Below, I

   provide quantifications of some of these well-known differences between the

   sexes that are relevant to injury risk, as well as some categorical differences

   that may be less well known.

           A.      Height and weight

           43.    It is an inescapable fact of the human species that males as a group

   are statistically larger and heavier than females. On average, men are 7% to 8%

   taller than women. (Handelsman 2018 at 818.) According to the most recently

   available Centers for Disease Control and Prevention (CDC) statistics, the

   weight of the average U.S. adult male is 16% greater than that of the average

   U.S. adult female. (CDC 2018.) This disparity persists into the athletic cohort.


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   14For example, see https://www.athleticbusiness.com/college/intramural-coed-basketball-
   playing-rules-vary-greatly.html (detailing variety of rule modifications applied in co-ed
   basketball). Similarly, coed soccer leagues often prohibit so-called “slide tackles,” which are not
   prohibited in either men’s or women’s soccer. See, e.g..,
   http://www.premiercoedsports.com/pages/rulesandpolicies/soccer.


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   Researchers find that while athletes tend on average to be lighter than non-

   athletes, the weight difference between the average adult male and female

   athlete remains within the same range—between 14% and 23%, depending on

   the sport analyzed. (Santos 2014; Fields 2018.) Indeed, World Rugby estimates

   that the typical male rugby player weighs 20% to 40% more than the typical

   female rugby player. (World Rugby Transgender Women Guidelines 2020.) This

   size advantage by itself allows men to bring more force to bear in a collision.

         B.     Bone and connective tissue strength

         44.   Men have bones in their arms, legs, feet, and hands that are both

   larger and stronger per unit volume than those of women, due to greater cross-

   sectional area, greater bone mineral content, and greater bone density. The

   advantage in bone size (cross-sectional area) holds true in both upper and lower

   extremities, even when adjusted for lean body mass. (Handelsman 2018 at 818;

   Nieves 2005 at 530.) Greater bone size in men is also correlated with stronger

   tendons that are more adaptable to training (Magnusson 2007), and an

   increased ability to withstand the forces produced by larger muscles (Morris

   2020 at 5). Male bones are not merely larger, they are stronger per unit of

   volume. Studies of differences in arm and leg bone mineral density – one

   component of bone strength – find that male bones are denser, with measured

   advantages of between 5% and 14%. (Gilsanz 2011; Nieves 2005.)




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          45.   Men also have larger ligaments than women (Lin 2019 at 5), and

   stiffer connective tissue (Hilton 2021 at Table 1), providing greater protection

   against joint injury.

          C.     Speed

          46.   When it comes to acceleration from a static position to a sprint,

   men are consistently faster than women. World record sprint performance gaps

   between the sexes remain significant at between 7% and 10.5%, with world

   record times in women now exhibiting a plateau (no longer rapidly improving

   with time) similar to the historical trends seen in men. (Cheuvront 2005.) This

   performance gap has to do with, among other factors, increased skeletal

   stiffness, greater cross-sectional muscle area, denser muscle fiber composition

   and greater limb length. (Handelsman 2018.) Collectively, males, on average,

   run about 10% faster than females. (Lombardo 2018 at 93.) This becomes

   important as it pertains to injury risk, because males involved in sport will often

   be travelling at faster speeds than their female counterparts in comparable

   settings, with resultant faster speed at impact, and thus greater impact force,

   in a given collision.

          D.     Strength/Power

          47.   In 2014, a male mixed-martial art fighter identifying as female and

   fighting under the name Fallon Fox fought a woman named Tamikka Brents,

   and caused significant facial injuries in the course of their bout. Speaking about

   their fight later, Brents said:



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                  “I’ve fought a lot of women and have never felt the
                  strength that I felt in a fight as I did that night. I can’t
                  answer whether it’s because she was born a man or
                  not because I’m not a doctor. I can only say, I’ve never
                  felt so overpowered ever in my life, and I am an
                  abnormally strong female in my own right.”15

          48.    So far as I am aware, mixed martial arts is not a collegiate or high

   school interscholastic sport. Nevertheless, what Brent experienced in an

   extreme setting is true and relevant to safety in all sports that involve contact.

   In absolute terms, males as a group are substantially stronger than women.

          49.    Compared to women, men have “larger and denser muscle mass,

   and stiffer connective tissue, with associated capacity to exert greater muscular

   force more rapidly and efficiently.” (Hilton 2021 at 201.) Research shows that on

   average, during the prime athletic years (ages 18-29) men have, on average, 54%

   greater total muscle mass than women (33.7 kg vs. 21.8 kg) including 64%

   greater muscle mass in the upper body, and 47% greater in the lower body.

   (Janssen 2000 at Table 1.) The cross-sectional area of muscle in women is only

   50% to 60% that of men in the upper arm, and 65% to 70% of that of men in the

   thigh. This translates to women having only 50% to 60% of men's upper limb

   strength and 60% to 80% of men's lower limb strength. (Handelsman 2018 at

   812.) Male weightlifters have been shown to be approximately 30% stronger

   than female weightlifters of equivalentstature and mass. (Hilton 2021 at 203.)

   But in competitive athletics, since the stature and mass of the average male

                                 
   15https://bjj-world.com/transgender-mma-fighter-fallon-fox-breaks-skull-of-her-female-
   opponent/


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   exceeds that of the average female, actual differences in strength between

   average body types will, on average, exceed this. The longer limb lengths of

   males augment strength as well. Statistically, in comparison with women, men

   also have lower total body fat, differently distributed, and greater lean muscle

   mass, which increases their power-to-weight ratios and upper-to-lower limb

   strength ratios as a group. Looking at another common metric of strength, males

   average 57% greater grip strength (Bohannon 2019) and 54% greater knee

   extension torque (Neder 1999). Research shows that sex-based discrepancies in

   lean muscle mass begin to be established from infancy, and persist through

   childhood to adolescence. (Davis 2019; Kirchengast 2001; Taylor 1997; Taylor

   2010; McManus 2011.)

         50.   Using their legs and torso for power generation, men can apply

   substantially larger forces with their arms and upper body, enabling them to

   generate more ball velocity through overhead motions, as well as to generate

   more pushing or punching power. In other words, isolated sex-specific

   differences in muscle strength in one region (even differences that in isolation

   seem small) can, and do combine to generate even greater sex-specific

   differences in more complex sport-specific functions. One study looking at

   moderately-trained individuals found that males can generate 162% more

   punching power than females. (Morris 2020.) Thus, multiple small advantages

   aggregate into larger ones.




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         E.     Throwing and kicking speed

         51.   One result of the combined effects of these sex-determined

   differences in skeletal structure is that men are, on average, able to throw

   objects faster than women. (Lombardo 2018; Chu 2009; Thomas 1985.) By age

   seventeen, the average male can throw a ball farther than 99% of seventeen-

   year-old females—which necessarily means at a faster initial speed assuming a

   similar angle of release— despite the fact that factors such as arm length,

   muscle mass, and joint stiffness individually don’t come close to exhibiting this

   degree of sex-defined advantage. One study of elite male and female baseball

   pitchers showed that men throw baseballs 35% faster than women—81

   miles/hour for men vs. 60 miles/hour for women. The authors of this study

   attribute this to a sex-specific difference in the ability to generate muscle torque

   and power. (Chu 2009.) A study showing greater throwing velocity in male

   versus female handball players attributed it to differences in body size,

   including height, muscle mass, and arm length. (Van Den Tillaar 2012.)

   Interestingly, significant sex-related difference in throwing ability has been

   shown to manifest even before puberty, but the difference increases rapidly

   during and after puberty. (Thomas 1985 at 266.) These sex-determined

   differences in throwing speed are not limited to sports where a ball is thrown.

   Males have repeatedly been shown to throw a javelin more than 30% farther

   than females. (Lombardo 2018 Table 2; Hilton 2021 at 203.) Even in

   preadolescent children, differences exist. International youth records for 5- to


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   12-year-olds in the javelin show 34-55% greater distance in males vs. females

   using a 400g javelin.16

             52.    Men also serve and spike volleyballs with higher velocity than

   women, with a performance advantage in the range of 29-34%. (Hilton 2021.)

   Analysis of first and second tier Belgian national elite male volleyball players

   shows ball spike speeds of 63 mph and 56 mph respectively. (Forthomme 2005.)

   NCAA Division I female volleyball players—roughly comparable to the second-

   tier male elite group referenced above—average a ball spike velocity of

   approximately 40 mph (18.1 m/s). (Ferris 1995 at Table 2.) Notably, based on

   the measurements of these studies, male spiking speed in lower elite divisions

   is almost 40% greater than that of NCAA Division I female collegiate players.

   Separate analyses of serving speed between elite men and women Spanish

   volleyball players showed that the average power serving speed in men was 54.6

   mph (range 45.3–64.6 mph), with maximal speed of 76.4 mph. In women,

   average power serving speed was 49 mph (range 41–55.3 mph) with maximal

   speed of 59 mph. This translates to an almost 30% advantage in maximal serve

   velocity in men. (Palao 2014.)

             53.    Recall that kinetic energy is dependent on mass and the square of

   velocity. A volleyball (with fixed mass) struck by a male, and traveling an




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   16   http://age-records.125mb.com/.


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   average 35% faster than one struck by a female, will deliver 82% more energy

   to a head upon impact.

         54.   The greater leg strength and jumping ability of men confer a

   further large advantage in volleyball that is relevant to injury risk. In volleyball,

   an “attack jump” is a jump to position a player to spike the ball downward over

   the net against the opposing team. Research on elite national volleyball players

   found that on average, males exhibited a 50% greater vertical jump height

   during an “attack” than did females. (Sattler 2015.) Similar data looking at

   countermovement jumps (to block a shot) in national basketball players reveals

   a 35% male advantage in jump height. (Kellis 1999.) In volleyball, this dramatic

   difference in jump height means that male players who are competing in female

   divisions will more often be able to successfully perform a spike, and this will be

   all the more true considering that the women’s net height is seven inches lower

   than that used in men’s volleyball. Confirming this inference, research also

   shows that the successful attack percentage (that is, the frequency with which

   the ball is successfully hit over the net into the opponent’s court in an attempt

   to score) is so much higher with men than women that someone analyzing game

   statistics can consistently identify games played by men as opposed to women

   on the basis of this statistic alone. These enhanced and more consistently

   successful attacks by men directly correlate to their greater jumping ability and

   attack velocity at the net. (Kountouris 2015.)




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          55.   The combination of the innate male-female differences cited above,

   along with the lower net height in women’s volleyball, means that if a

   reasonably athletic male is permitted to compete against women, the

   participating female players will likely be exposed to higher ball velocities that

   are outside the range of what is typically seen in women’s volleyball. When we

   recall that ball-to-head impact is a common cause of concussion among women

   volleyball players, this fact makes it clear that participation in girls’ or women’s

   volleyball by biologically male individuals will increase concussion injury risk

   for participating girls or women.

          56.   Male sex-based advantages in leg strength also lead to greater kick

   velocity. In comparison with women, men kick balls harder and faster. A study

   comparing kicking velocity between university-level male and female soccer

   players found that males kick the ball with an average 20% greater velocity than

   females. (Sakamoto 2014.) Applying the same principles of physics we have just

   used above, we see that a soccer ball kicked by a male, travelling an average

   20% faster than a ball kicked by a female, will deliver 44% more energy on head

   impact. Greater force-generating capacity will thus increase the risk of an

   impact injury such as concussion.


   VI.   ENHANCED FEMALE VULNERABILITY TO CERTAIN
          INJURIES

          57.   Above, I have reviewed physiological differences that result in the

   male body bringing greater weight, speed, and force to the athletic field or court,



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   and how these differences can result in a greater risk of injury to females when

   males compete against them. It is also true that the female body is more

   vulnerable than the male body to certain types of injury even when subject to

   comparable forces. This risk appears to extend to the younger age cohorts as

   well. An analysis of Finnish student athletes from 1987-1991, analyzing over

   600,000 person-years of activity exposures, found, in students under fifteen

   years of age, higher rates of injury in girls than boys in soccer, volleyball, judo

   and karate. (Kujala 1995.) Another epidemiological study looking specifically at

   injury rates in over 14,000 middle schoolers over a 20 year period showed that

   “in sex-matched sports, middle school girls were more likely to sustain any

   injury (RR = 1.15, 95% CI = 1.1, 1.2) or a time-loss injury (RR = 1.09, 95% CI =

   1.0, 1.2) than middle school boys.” In analyzed both-sex sports (i.e., sex-

   separated sports that both girls and boys play, like soccer), girls sustained

   higher injury rates, and greater rates of time-loss injury. (Beachy 2014.)

   Another study of over 2000 middle school students at nine schools showed that

   the injury rate was higher for girls’ basketball than for football (39.4 v 30.7/1000

   AEs), and injury rates for girls’ soccer were nearly double that of boys’ soccer

   (26.3 v. 14.7/1000 AEs). (Caswell 2017.) In this regard, I will focus on two areas

   of heightened female vulnerability to collision-related injury which have been

   extensively studied: concussions, and anterior cruciate ligament injuries.




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           A.      Concussions

           58.    Females are more likely than males to suffer concussions in

   comparable sports, and on average suffer more severe and longer lasting

   disability once a concussion does occur. (Harmon 2013 at 4; Berz 2015;

   Blumenfeld 2016; Covassin 2003; Rowson 2016.) Females also seem to be at

   higher risk for post-concussion syndrome than males. (Berz 2015; Blumenfeld

   2016; Broshek 2005; Colvin 2009; Covassin 2012; Dick 2009; Marar 2012; Preiss-

   Farzanegan 2009.)

           59.    The most widely-accepted definition of sport-related concussion

   comes from the Consensus Statement on Concussion in Sport (see below). 17

   (McCrory 2018.) To summarize, concussion is “a traumatically induced transient




                                   
   17“Sport related concussion is a traumatic brain injury induced by biomechanical forces.
   Several common features that may be utilised in clinically defining the nature of a concussive
   head injury include:

   SRC may be caused either by a direct blow to the head, face, neck or elsewhere on the body
   with an impulsive force transmitted to the head.

   SRC typically results in the rapid onset of short-lived impairment of neurological function that
   resolves spontaneously. However, in some cases, signs and symptoms evolve over a number of
   minutes to hours.

   SRC may result in neuropathological changes, but the acute clinical signs and symptoms
   largely reflect a functional disturbance rather than a structural injury and, as such, no
   abnormality is seen on standard structural neuroimaging studies.

   SRC results in a range of clinical signs and symptoms that may or may not involve loss of
   consciousness. Resolution of the clinical and cognitive features typically follows a sequential
   course. However, in some cases symptoms may be prolonged.

   The clinical signs and symptoms cannot be explained by drug, alcohol, or medication use, other
   injuries (such as cervical injuries, peripheral vestibular dysfunction, etc) or other comorbidities
   (e.g., psychological factors or coexisting medical conditions).”


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   disturbance of brain function and involves a complex pathophysiological

   process” that can manifest in a variety of ways. (Harmon 2013 at 1.)

         60.   Sport-related concussions have undergone a significant increase in

   societal awareness and concurrent injury reporting since the initial passage of

   the Zachery Lystedt Concussion Law in Washington State in 2009 (Bompadre

   2014), and the subsequent passage of similar legislation governing return-to-

   play criteria for concussed athletes in most other states in the United States.

   (Nat’l Cnf. of State Leg’s 2018). Concussion is now widely recognized as a

   common sport-related injury, occurring in both male and female athletes. (CDC

   2007.) Sport-related concussions can result from player-surface contact or

   player-equipment contact in virtually any sport. However, sudden impact via a

   player-to-player collision, with rapid deceleration and the transmission of linear

   or rotational forces through the brain, is also a common cause of concussion

   injury. (Covassin 2012; Marar 2012; Barth 2001; Blumenfeld 2016; Boden 1998;

   Harmon 2013 at 4.)

         61.   A large retrospective study of U.S. high school athletes showed a

   higher rate of female concussions in soccer (79% higher), volleyball (0.6

   concussions/10,000 exposures, with 485,000 reported exposures, vs. no

   concussions in the male cohort), basketball (31% higher), and softball/baseball

   (320% higher). (Marar 2012.) A similarly-sized, similarly-designed study

   comparing concussion rates between NCAA male and female collegiate athletes

   showed, overall, a concussion rate among females 40% higher than that of


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   males. Higher rates of injury were seen across individual sports as well,

   including ice hockey (10% higher); soccer (54% higher); basketball (40% higher);

   and softball/baseball (95% higher). (Covassin 2016.) The observations of these

   authors, my own observations from clinical practice, and the acknowledgment

   of our own Society’s Position Statement (Harmon 2013), all validate the higher

   frequency and severity of sport-related concussions in women and girls.

         62.   Most epidemiological studies to date looking at sport-related

   concussion in middle schoolers show that more boys than girls are concussed.

   There are fewer studies estimating concussion rate. This is, in part, because

   measuring injury rate is more time and labor-intensive. Researchers at a

   childrens’ hospital, for example, could analyze the number of children

   presenting to the emergency department with sport-related concussion and

   publish findings of absolute number. However, to study concussion incidence,

   athlete exposures also have to be recorded. Generally speaking, an athlete

   exposure is a single practice or game where an athlete is exposed to playing

   conditions that could reasonably supply the necessary conditions for an injury

   to occur. Rates of athletic injury, concussion among them, are then, by

   convention, expressed in terms of injury rate per 1000 athletic exposures. More

   recently, some studies have been published that analyze the rates of concussion

   in the middle school population. Looking at the evidence, the conclusion can be

   made that females experience increased susceptibility to concussive injuries

   before puberty. For example, Ewing-Cobbs, et al. (2018) found elevated post-


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   concussion symptoms in girls across all age ranges studied, including children

   between the ages of 4 and 8. Kerr’s 2017 study of middle school students showed

   over three times the rate of female vs male concussion in students participating

   in sex-comparable sports [0.18 v. 0.66/1000 A.E.’s]. (Kerr 2017.) This is the first

   study I am aware of that mimics the trends seen in adolescent injury

   epidemiology showing a higher rate of concussion in girls than boys in

   comparable sports.

          63.    More recent research looking at the incidence of sport-related

   concussions in U.S. middle schoolers between 2015 and 2020, found that the rate

   of concussion was higher in middle school athletes than those in high school. In

   this study, girls had more than twice the rate of concussion injury (0.49/1000

   athletic exposures vs 0.23/1000 AE) in analyzed sports (baseball/softball,

   basketball, soccer and track), as well as statistically greater time loss. (Hacherl

   2021 (Journal of Athletic Training); Hacherl 2021 (Archives of Clinical

   Neuropsychology).) The authors hypothesized that the increasing incidence of

   concussion in middle school may relate to “other distinct differences associated

   with the middle school sport setting itself, such as, the large variations in player

   size and skill.”18

          64.    In addition, females on average suffer materially greater cognitive

   impairment than males when they do suffer a concussion. Group differences in


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   18https://www.nata.org/press-release/062421/middle-school-sports-have-overall-higher-rate-
   concussion-reported-high-school.


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   cognitive impairment between females and males who have suffered concussion

   have been extensively studied. A study of 2340 high school and collegiate

   athletes who suffered concussions determined that females had a 170% higher

   frequency of cognitive impairment following concussions, and that in

   comparison with males, female athletes had significantly greater declines in

   simple and complex reaction times relative to their preseason baseline levels.

   Moreover, the females experienced greater objective and subjective adverse

   effects from concussion even after adjusting for potentially protective effect of

   helmets used by some groups of male athletes. (Broshek 2005 at 856, 861; Colvin

   2009; Covassin 2012.)

         65.   This large discrepancy in frequency and severity of concussion

   injury is consistent with my own observations across many years of clinical

   practice. The large majority of student athletes who have presented at my

   practice with severe and long-lasting cognitive disturbance have been

   adolescent girls. I have seen girls remain symptomatic for over a year, and lose

   ground academically and become isolated from their peer groups due to these

   ongoing symptoms. For patients who experience these severe effects, post-

   concussion syndrome can be life-altering.

         66.   Some of the anatomical and physiological differences that we have

   considered between males and females help to explain the documented

   differences in concussion rates and in symptoms between males and females.

   (Covassin 2016; La Fountaine 2019; Lin 2019; Tierney 2005; Wunderle 2014.)


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   Anatomically, there are significant sex-based differences in head and neck

   anatomy, with females exhibiting in the range of 30% to 40% less head-neck

   segment mass and neck girth, and 49% lower neck isometric strength. This

   means that when a female athlete’s head is subjected to the same load as an

   analogous male, there will be a greater tendency for head acceleration, and

   resultant injury. (Tierney 2005 at 276-277.)

         67.   When modeling the effect of the introduction of male mass, speed,

   and strength into women’s rugby, World Rugby gave particular attention to the

   resulting increases in forces and acceleration (and injury risk) experienced in

   the head and neck of female players. Their analysis found that “the magnitude

   of the known risk factors for head injury are . . . predicted by the size of the

   disparity in mass between players. The addition of [male] speed as a

   biomechanical variable further increases these disparities,” and their model

   showed an increase of up to 50% in neck and head acceleration that would be

   experienced in a typical tackle scenario in women’s rugby. As a result, “a number

   of tackles that currently lie beneath the threshold for injury would now exceed

   it, causing head injury.” (World Rugby Transgender Women Guidelines 2020.)

   While rugby is notoriously contact-intensive, similar increases to risk of head

   and neck injury to women are predictable in any sport context in which males

   and females collide at significant speed, as happens from time to time in sports

   including soccer, softball, and basketball.




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         68.   In addition, even when the heads of female and male athletes are

   subjected to identical accelerative forces, there are sex-based differences in

   neural anatomy and physiology, cerebrovascular organization, and cellular

   response to concussive stimuli that make the female more likely to suffer

   concussive injury, or more severe concussive injury. For instance, hypothalamic-

   pituitary disruption is thought to play a role in post-concussion symptomatology

   that differentially impacts women. (McGroarty 2020; Broshek 2005 at 861.)

   Another study found that elevated progesterone levels during one portion of the

   menstrual    cycle   were   associated    with   more   severe   post-concussion

   symptomatology that differentially impacted women. (Wunderle 2014.)

         69.   As it stands, when females compete against each other, they

   already have higher rates of concussive injury than males, across most sports.

   The addition of biologically male athletes into women’s contact sports will

   inevitably increase the risk of concussive injury to girls and women, for the

   multiple reasons I have explained above, including, but not limited to, the innate

   male advantage in speed and lean muscle mass. Because the effects of

   concussion can be severe and long-lasting, particularly for biological females, we

   can predict with some confidence that if participation by biological males in

   women’s contact sports based on gender identity becomes more common, more

   biological females will suffer substantial concussive injury and the potential for

   long-term harm as a result.




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             B.      Anterior Cruciate Ligament injuries

             70.    The Anterior Cruciate Ligament (“ACL”) is a key knee stabilizer

   that prevents anterior translation of the tibia relative to the femur and also

   provides rotatory and valgus knee stability.19 (Lin 2019 at 4.) Girls and women

   are far more vulnerable to ACL injuries than are boys and men. The physics of

   injury that we have reviewed above makes it inevitable that the introduction of

   biologically male athletes into the female category will increase still further the

   occurrence of ACL injuries among girls or women who encounter these players

   on the field.

             71.    Sports-related injury to the ACL is so common that it is easy to

   overlook the significance of it. But it is by no means a trivial injury, as it can

   end sports careers, require surgery, and usually results in early-onset, post-

   traumatic osteoarthritis, triggering long-term pain and mobility problems later

   in life. (Wang 2020.)

             72.    Even in the historic context in which girls and women limit

   competition to (and so only collide with) other girls and women, the rate of ACL

   injury is substantially higher among female than male athletes. (Flaxman 2014;

   Lin 2019; Agel 2005.) One meta-analysis of 58 studies reports that female

   athletes have a 150% relative risk for ACL injury compared with male athletes,

   with other estimates suggesting as much as a 300% increased risk. (Montalvo

   2019; Sutton 2013.) Particularly in those sports designated as contact sports, or

                                     
   19   Valgus force at the knee is a side-applied force that gaps the medial knee open.


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   sports with frequent cutting and sharp directional changes (basketball, field

   hockey, lacrosse, soccer), females are at greater risk of ACL injury. In basketball

   and soccer, this risk extends across all skill levels, with female athletes between

   two and eight times more likely to sustain an ACL injury than their male

   counterparts. (Lin 2019 at 5.) These observations are widely validated, and

   consistent with the relative frequencies of ACL injuries that I see in my own

   practice.

         73.   When the reasons underlying the difference in the incidence of

   ACL injury between males and females were first studied in the early 1990s,

   researchers speculated that the difference might be attributable to females’

   relative inexperience in contact sports, or to their lack of appropriate training.

   However, a follow-up 2005 study looking at ACL tear disparities reported that,

   “Despite vast attention to the discrepancy between anterior cruciate ligament

   injury rates between men and women, these differences continue to exist.” (Agel

   2005 at 524.) Inexperience and lack of training do not explain the differences.

   Sex seems to be an independent predictor of ACL tear risk.

         74.   In fact, as researchers have continued to study this discrepancy,

   they have determined that multiple identifiable anatomical and physiological

   differences between males and females play significant roles in making females

   more vulnerable to ACL injuries than males. (Flaxman 2014; Lin 2019; Wolf

   2015.) Summarizing the findings of a number of separate studies, one researcher

   recently cited as anatomical risk factors for ACL injury smaller ligament size,


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   decreased femoral notch width, increased posterior-inferior slope of the lateral

   tibia plateau, increased knee and generalized laxity, and increased body mass

   index (BMI). With the exception of increased BMI, each of these factors is more

   likely to occur in female than male athletes. (Lin 2019 at 5.) In addition, female

   athletes often stand in more knee valgus (that is, in a “knock-kneed” posture)

   due to wider hips and a medially-oriented femur. Often, this is also associated

   with a worsening of knee valgus during jump landings. The body types and

   movement patterns associated with these valgus knee postures are more

   common in females and increase the risk for ACL tear. (Hewett 2005.)

         75.   As with concussion, the cyclic fluctuation of sex-specific hormones

   in women is also thought to be a possible risk factor for ACL injury. Estrogen

   acts on ligaments to make them more lax, and it is thought that during the

   ovulatory phase of menses (when estrogen levels peak), the risk of ACL tear is

   higher. (Chidi-Ogbolu 2019 at 1; Herzberg 2017.)

         76.   Whatever the factors that increase the injury risk for ACL tears in

   women, the fact that a sex-specific difference in the rate of ACL injury exists is

   well established and widely accepted.

         77.   Although non-contact mechanisms are the most common reason for

   ACL tears in females, tears related to contact are also common, with ranges

   reported across multiple studies of from 20%-36% of all ACL injuries in women.

   (Kobayashi 2010 at 672.) For example, when a soccer player who is kicking a

   ball is struck by another player in the lateral knee of the stance leg, medial and


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   rotational forces can tear the medial collateral ligament (MCL), the ACL, and

   the meniscus. Thus, as participation in the female category based on identity

   rather than biology becomes more common (entailing the introduction of

   athletes with characteristics such as greater speed and lean muscle mass), and

   as collision forces suffered by girls and women across the knee increase

   accordingly, the risk for orthopedic injury and in particular ACL tears among

   impacted girls and women will inevitably rise.

         78.   Of course there exists variation in all these factors within a given

   group of males or females. However, it is also true that within sex-specific pools,

   size differential is somewhat predictable and bounded, even considering

   outliers. When males are permitted to enter into the pool of female athletes

   based on gender identity rather than biological sex, there is an increased

   possibility that a statistical outlier in terms of size, weight, speed, and

   strength—and potentially an extreme outlier—is now entering the female pool.

   Although injury is not guaranteed, risks to female participants will increase.

   And as I discuss later, the available evidence together suggests that this will be

   true even with respect to males who have been on testosterone suppression for

   a year or more. World Rugby relied heavily upon this when they were

   determining their own policy, and I think it is important to reiterate that this

   policy, rooted in concern for athlete safety, is justifiable based upon current

   evidence from medical research and what we know about biology.




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   VII. TESTOSTERONE SUPPRESSION WILL NOT PREVENT THE
         HARM TO FEMALE SAFETY IN ATHLETICS

          79.    A recent editorial in the New England Journal of Medicine opined

   that policies governing transgender participation in female athletics “must

   safeguard the rights of all women—whether cisgender or transgender.” (Dolgin

   2020.) Unfortunately, the physics and medical science reviewed above tell us

   that this is not practically possible. If biological males are given a “right” to

   participate in the female category based on gender identity, then biological

   women will be denied the right to reasonable expectations of safety and injury

   risk that have historically been guaranteed by ensuring that females compete

   (and collide) only with other females.

          80.    Advocates of unquestioning inclusion based on gender identity

   often contend that hormonal manipulation of a male athlete can feminize the

   athlete enough that he is comparable with females for purposes of competition.

   The NCAA’s Office of Inclusion asserts (still accessible on the NCAA website as

   of this writing) that “It is also important to know that any strength and

   endurance advantages a transgender woman arguably may have as a result of

   her prior testosterone levels dissipate after about one year of estrogen or

   testosterone suppression therapy.”20 (NCAA 2011 at 8.) Whether or not this is

   true is a critically important question.




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   20https://www.ncaa.org/sports/2016/3/2/lesbian-gay-bisexual-transgender-and-questioning-
   lgbtq.aspx


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         81.   At the outset, we should note that while advocates sometimes claim

   that testosterone suppression can eliminate physiological advantages in a

   biological male, none of the relevant transgender eligibility policies that I am

   aware of prior to 2021 requires any demonstration that it has actually achieved

   that effect in a particular male who seeks admission into the female category.

   The Connecticut policy that is currently at issue in ongoing litigation permits

   admission to the female category at the high school level without requiring any

   testosterone suppression at all. Prior to their new policy, just announced in

   January 2022, the NCAA’s policy required no demonstration of any reduction of

   performance capability, change in weight, or regression of any other physical

   attribute of the biological male toward female levels. It did not require

   achievement of any particular testosterone level, and did not provide for any

   monitoring of athletes for compliance. Moving forward, through a phasing

   process, the NCAA will ultimately require athletes in each sport to meet

   requirements of their sport’s national governing body (NGB). If no policy exists,

   the policy of that sport’s international governing body applies, or, finally, if no

   policy exists there, the 2015 policy of the International Olympic Committee

   (IOC) will apply. The 2015 IOC policy requires no showing of any diminution of

   any performance capability or physical attribute of the biological male, and

   requires achievement and compliance monitoring only of a testosterone level

   below 10nmol/liter—a level far above levels occurring in normal biological




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   females (0.06 to 1.68 nmol/L).21 Indeed, female athletes with polycystic ovarian

   disorder—a condition that results in elevated testosterone levels—rarely exceed

   4.8 nmol/L, which is the basis for setting the testing threshold to detect

   testosterone doping in females at 5.0 nmol/L. Thus, males who qualify under

   the 2015 IOC policy to compete as transgender women may have testosterone

   levels—even after hormone suppression—double the level that would disqualify

   a biological female for doping with testosterone.22

             82.   As Dr. Emma Hilton has observed, the fact that there are over 3000

   sex-specific differences in skeletal muscle alone makes the hypothesis that sex-

   linked performance advantages are attributable solely to current circulating

   testosterone levels improbable at best. (Hilton 2021 at 200-01.)

             83.   In fact, the available evidence strongly indicates that no amount of

   testosterone suppression can eliminate male physiological advantages relevant

   to performance and safety. Several authors have recently reviewed the science

   and statistics from numerous studies that demonstrate that one year (or more)

   of testosterone suppression does not substantially eliminate male performance

   advantages. (Hilton 2021; De Varona 2021; Harper 2021.) As a medical doctor,

   I will focus on those specific sex-based characteristics of males who have

                                    
   21   Normal testosterone range in a healthy male averages between 7.7 and 29.4 nmol/L.
   22In November 2021, the IOC released new guidelines, deferring decision-making about a
   given sport’s gender-affectedness to its governing body. The current NCAA policy, however,
   still utilizes the 2015 IOC policy to determine an athlete’s eligibility in event that the sport’s
   national and international governing bodies lack policies to determine eligibility.




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   undergone normal sex-determined pubertal skeletal growth and maturation

   that are relevant to the safety of female athletes. Here, too, the available science

   tells us that testosterone suppression does not eliminate the increased risk to

   females or solve the safety problem.

         84.    The World Rugby organization reached this same determination

   based on the currently available science, concluding that male physiological

   advantages that “create risks [to female players] appear to be only minimally

   affected” by testosterone suppression. (World Rugby Transgender Women

   Guidelines 2020.)

         85.    Surprisingly, so far as public information reveals, the NCAA’s

   Committee on Competitive Safeguards is not monitoring and documenting

   instances of transgender participation on women’s teams for purposes of injury

   reporting. In practice, the NCAA is conducting an experiment which in theory

   predicts an increased frequency and severity of injuries to women in contact

   sports, while at the same time failing to collect the relevant data from its

   experiment.

         86.    In their recent guidelines, UK Sport determined that, “based upon

   current evidence, testosterone suppression is unlikely to guarantee fairness

   between transgender women and natal females in gender-affected sports.” (UK

   Sports Councils’ Equality Group Guidance 2021 at 7.) They also warned that

   migration to a scenario by NGBs where eligibility is determined through case-

   by-case assessment “is unlikely to be practical nor verifiable for entry into


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   gender-affected sports,” in part because “many tests related to sports

   performance are volitional,” and incentives on the part of those tested would

   align with intentional poor performance. (UK Sports Councils’ Equality Group

   Guidance 2021 at 8.)

          87.   Despite these concerns, this appears to be exactly the route that

   the IOC is taking, as reflected in their Framework on Fairness, Inclusion and

   Non-Discrimination on the Basis of Gender Identity, released in November of

   2021. 23 In it, the IOC lists two disparate goals. First, that “where sports

   organizations elect to issue eligibility criteria for men’s and women’s categories

   for a given competition, they should do so with a view to . . . [p]roviding

   confidence that no athlete within a category has an unfair and disproportionate

   competitive advantage . . . [and] preventing a risk to the physical safety of other

   athletes.” (IOC Framework 2021 § 4.1.) At the same time, governing bodies are

   not to preclude any athlete from competing until evidence exists based upon

   “robust and peer-reviewed research that . . . demonstrates a consistent, unfair,

   disproportionate     competitive      advantage      in   performance      and/or     an

   unpreventable risk to the physical safety of other athletes” – research moreover

   that “is largely based on data collected from a demographic group that is

   consistent in gender and athletic engagement with the group that the eligibility


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   23The IOC Framework on Fairness, Inclusion and Non-Discrimination on the Basis of Gender
   Identity and Sex Variations is available at
   https://stillmed.olympics.com/media/Documents/News/2021/11/IOC-Framework-Fairness-
   Inclusion-Non-discrimination-2021.pdf?_ga=2.72651665.34591192.1645554375-
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   criteria aim to regulate.” (IOC Framework 2021 § 6.1) Finally, affected athletes

   may appeal any evidence-based decision-making process through a further

   “appropriate internal mediation mechanism, such as a Court of Arbitration for

   Sport.” (IOC Framework 2021 § 6.1.) Rather than cite any of the growing

   evidence that testosterone suppression cannot mitigate sex-based performance

   differences, the IOC’s new policy remains aspirational and opaque. And yet the

   research relating to hormonal suppression in transgender athletes, as confirmed

   by World Rugby and UK Sport, already speaks very clearly to the fact that males

   retain a competitive advantage over women that cannot be eliminated through

   testosterone suppression alone. What follows is a brief summary of some of these

   retained differences as they relate to sport safety.

         A.     Size and weight

         88.   Males are, on average, larger and heavier. As we have seen, these

   facts alone mean that males bring more kinetic energy into collisions, and that

   lighter females will suffer more abrupt deceleration in collisions with larger

   bodies, creating heightened injury risk for impacted females.

         89.   I start with what is obvious and so far as I am aware undisputed—

   that after the male pubertal growth spurt, suppression of testosterone does not

   materially shrink bones so as to eliminate height, leverage, performance, and

   weight differences that follow from simply having longer, larger bones, and

   being subsequently taller.




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         90.   In addition, multiple studies have found that testosterone

   suppression may modestly reduce, but does not come close to eliminating the

   male advantage in muscle mass and lean body mass, which together contribute

   to the greater average male weight. Researchers looking at transitioning

   adolescents found that the weight of biological male subjects increased rather

   than decreased after treatment with an antiandrogen testosterone suppressor.

   (Tack 2018.) In one recent meta-analysis, researchers looking at the

   musculoskeletal effects of hormonal transition found that even after males had

   undergone 36 months of therapy, their lean body mass and muscle area

   remained above those of females. (Harper 2021.) Another group in 2004 studied

   the effects of testosterone suppression to less than 1 nmol/L in men after one or

   more years, but still found only a 12% total loss of muscle area by the end of

   thirty-six months. (Gooren 2004.)

         B.     Bone density

         91.   Bone mass (which includes both size and density) is maintained

   over at least two years of testosterone suppression (Singh-Ospina 2017; Fighera

   2019), and one study found it to be preserved even over a median of 12.5 years

   of suppression (Hilton 2021; Ruetsche 2005).

         C.     Strength

         92.   A large number of studies have now observed minimal or no

   reduction in strength in male subjects following testosterone suppression. In one

   recent meta-analysis, strength loss after twelve months of hormone therapy


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   ranged from negligible to 7%. (Harper 2021.) Given the baseline male strength

   advantage in various muscle groups of from approximately 25% to 100% above

   female levels that I have noted in Section V.D above, even a 7% reduction leaves

   a large retained advantage in strength. Another study looking at handgrip

   strength—which is a proxy for general strength—showed a 9% loss of strength

   after two years of hormonal treatment in males who were transitioning, leaving

   a 23% retained advantage over the female baseline. (Hilton 2021.) Yet another

   study which found a 17% retained grip strength advantage noted that this

   placed the median of the group treated with hormone therapy in the 95th

   percentile for grip strength among age-matched females. (Scharff 2019.)

   Researchers looking at transitioning adolescents showed no loss of grip strength

   after hormone treatment. (Tack 2018.)

         93.   One recent study on male Air Force service members undergoing

   transition showed that they retained more than two thirds of pretreatment

   performance advantage over females in sit-ups and push-ups after between one

   and two years of testosterone-reducing hormonal treatment. (Roberts 2020.)

   Another recently-published observational cohort study looked at thigh strength

   and thigh muscle cross-sectional area in men undergoing hormonal transition

   to transgender females. After one year of hormonal suppression, this group saw

   only a 4% decrease in thigh muscle cross-sectional area, and a negligible

   decrease in thigh muscle strength. (Wiik 2020.) Wiik and colleagues looked at

   isokinetic strength measurements in individuals who had undergone at least 12


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   months of hormonal transition and found that muscle strength was comparable

   to baseline, leaving transitioned males with a 50% strength advantage over

   reference females. (Wiik 2020.) Finally, one cross-sectional study that compared

   men who had undergone transition at least three years prior to analysis, to age-

   matched, healthy males found that the transgender individuals had retained

   enough strength that they were still outside normative values for women. This

   imbalance continued to hold even after eight years of hormone suppression. The

   authors also noted that since males who identify as women often have lower

   baseline (i.e., before hormone treatment) muscle mass than the general

   population of males, and since baseline measures for this study were

   unavailable, the post-transition comparison may actually represent an

   overestimate of muscle mass regression in transgender females. (Lapauw 2008;

   Hilton 2021.)

         94.   World Rugby came to the same conclusion based on its own review

   of the literature, reporting that testosterone suppression “does not reverse

   muscle size to female levels,” and in fact that “studies assessing [reductions in]

   mass, muscle mass, and/or strength suggest that reduction in these variables

   range between 5% and 10%. Given that the typical male vs female advantages

   range from 30% to 100%, these reductions are small.” (World Rugby

   Transgender Women Guidelines 2020.)

         95.   It is true that most studies of change in physical characteristics or

   capabilities over time after testosterone suppression involve untrained subjects


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   rather than athletes, or subjects with low to moderate training. It may be

   assumed that all of the Air Force members who were subjects in the study I

   mention above were physically fit and engaged in regular physical training. But

   neither that study nor those studies looking at athletes quantify the volume or

   type of strength training athletes are undergoing. The important point to make

   is that the only effect strength training could have on these athletes is to

   counteract and reduce the limited loss of muscle mass and strength that does

   otherwise occur to some extent over time with testosterone blockade. There has

   been at least one study that illustrates this, although only over a short period,

   measuring strength during a twelve-week period where testosterone was

   suppressed to levels of 2 nmol/L. During that time, subjects actually increased

   leg lean mass by 4%, and total lean mass by 2%, and subject performance on the

   10 rep-max leg press improved by 32%, while their bench press performance

   improved by 17%. (Kvorning 2006.)

         96.   The point for safety is that superior strength enables a biological

   male to apply greater force against an opponent’s body during body contact, or

   to throw, hit, or kick a ball at speeds outside the ranges normally encountered

   in female-only play, with the attendant increased risks of injury that I have

   already explained.

         D.     Speed

         97.   As to speed, the study of transitioning Air Force members found

   that these males retained a 9% running speed advantage over the female control


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   group after one year of testosterone suppression, and their average speed had

   not declined significantly farther by the end of the 2.5 year study period.

   (Roberts 2020.) Again, I have already explained the implications of greater male

   speed on safety for females on the field and court, particularly in combination

   with the greater male body weight.


                                   CONCLUSION

         Since the average male athlete is larger and exerts greater power than

   the average female athlete in similar sports, male–female collisions will produce

   greater energy at impact, and impart greater risk of injury to a female, than

   would occur in most female-female collisions. Because of the well-documented

   physiological testing and elite performance differences in speed and strength, as

   well as differences in lean muscle mass that exist across all age ranges, the

   conclusions of this paper can apply to a certain extent before, as well as during,

   and after puberty. We have seen that males who have undergone hormone

   therapy in transition toward a female body type nevertheless retain

   musculoskeletal “legacy” advantages in muscle girth, strength, and size. We

   have also seen that the additive effects of these individual advantages create

   multiplied advantages in terms of power, force generation and momentum on

   the field of play. In contact or collision sports, sports involving projectiles, or

   sports where a stick is used to strike something, the physics and physiology

   reviewed above tell us that permitting male-bodied athletes to compete against,

   or on the same team as females—even when undergoing testosterone

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   suppression—must be expected to create predictable, identifiable, substantially

   increased, and unequal risks of injuries to the participating women.

         Based on its independent and extensive analysis of the literature coupled

   with injury modeling, World Rugby recognized the inadequacy of the

   International Olympic Committee’s policy to preserve safety for female athletes

   in their contact sport (the NCAA policy is even more lax in its admission of

   biological males into the female category). Among the explicit findings of the

   World Rugby working group were the following:

         x     Forces and inertia faced by a smaller and slower player during
                collisions are significantly greater when in contact with a larger,
                faster player.

         x     Discrepancies in mass and speed (such as between two opponents
                in a tackle) are significant determinants of various head and
                other musculoskeletal injury risks.

         x     The risk of injury to females is increased by biological males’
                greater ability to exert force (strength and power), and also by
                females’ reduced ability to receive or tolerate that force.

         x     Testosterone suppression results in only “small” reductions in the
                male physiological advantages. As a result, heightened injury risks
                remain for females who share the same field or court with
                biological males.

         x     These findings together predict a significant increase in injury
                rates for females in rugby if males are permitted to participate
                based on gender identity, with or without testosterone
                suppression, since the magnitude of forces and energy transfer
                during collisions will increase substantially, directly correlated to
                the differences in physical attributes that exist between the
                biological sexes.

         Summarizing their work, the authors of the World Rugby Guidelines said

   that, “World Rugby’s number one stated priority is to make the game as safe as


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   possible, and so World Rugby cannot allow the risk to players to be increased to

   such an extent by allowing people who have the force and power advantages

   conferred by testosterone to play with and against those who do not.” (World

   Rugby Transgender Guidelines 2020.) As my own analysis above makes clear, I

   agree with the concerns of UK Sport and the conclusions of World Rugby

   regarding risk to female athletes. Importantly, I also agree that it must be a

   high priority for sports governing bodies (and other regulatory or governmental

   bodies governing sports) to make each sport as safe as reasonably possible. And

   in my view, medical practitioners with expertise in this area have an obligation

   to advocate for science-based policies that promote safety.

             The performance advantages retained by males who participate in

   women’s sports based on gender identity are readily recognized by the public.

   When an NCAA hurdler who ranked 200th while running in the collegiate male

   division transitions and immediately leaps to a number one ranking in the

   women’s division;24 when a high school male sprinter who ranked 181st in the

   state running in the boys’ division transitions and likewise takes first place in

   the girls’ division (De Varona 2021), the problem of fairness and equal

   opportunities for girls and women is immediately apparent, and indeed this

   problem is being widely discussed today in the media.




                                     
   24   https://en.wikipedia.org/wiki/Cece_Telfer (accessed 6/20/21)


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         The causes of sports injuries, however, are multivariate and not always

   as immediately apparent. While, as I have noted, some biological males have

   indeed competed in a variety of girls’ and women’s contact sports, the numbers

   up till now have been small. But recent studies have reported very large

   increases in the number of children and young people identifying as transgender

   compared to historical experience. For example, an extensive survey of 9th and

   11th graders in Minnesota found that 2.7% identified as transgender or gender-

   nonconforming— well over 100 times historical rates (Rider 2018), and many

   other sources likewise report this trend.25

         Faced with this rapid social change, it is my view as a medical doctor that

   policymakers have an important and pressing duty not to wait while avoidable

   injuries are inflicted on girls and women, but instead to proactively establish

   policies governing participation of biological males in female athletics that give

   proper and scientifically-based priority to safety in sport for these girls and

   women. Separating participants in contact sports based on biological sex

   preserves competitive equity, but also promotes the safety of female athletes by

   protecting them from predictable and preventable injury. Otherwise, the hard

   science that I have reviewed in this white paper leaves little doubt that

   eligibility policies based on ideology or gender identity rather than science, will,



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   25https://www.nytimes.com/2016/07/01/health/transgender-
   population.html?.?mc=aud_dev&ad-
   keywords=auddevgate&gclid=Cj0KCQjwkZiFBhD9ARIsAGxFX8BV5pozB9LI5Ut57OQzuMhu
   rWThv BMisV9NyN9YTXIzWl7OAnGT6VkaAu0jEALw_wcB&gclsrc=aw.ds (accessed 6/20/21)


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   over time, result in increased, and more serious, injuries to girls and women

   who are forced to compete against biologically male transgender athletes. When

   basic science and physiology both predict increased injury, then leagues, policy-

   makers, and legislators have a responsibility to act to protect girls and women

   before they get hurt.


                                           Chad Carlson, M.D.,
                                           FACSM Stadia Sports
                                           Medicine West Des
                                           Moines, Iowa Past-
                                           President, AMSSM




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                    APPENDIX – LIST OF PUBLICATIONS


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                                      Expert Report of

                                  Stephen B. Levine, MD

              In the case of B.P.J. vs. West Virginia State Board of Education.



                                     February 23, 2022




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 I.     CREDENTIALS & SUMMARY

        1.      I am Clinical Professor of Psychiatry at Case Western Reserve University School

 of Medicine, and maintain an active private clinical practice. I received my MD from Case

 Western Reserve University in 1967, and completed a psychiatric residency at the University

 Hospitals of Cleveland in 1973. I became an Assistant Professor of Psychiatry at Case Western

 in 1973, became a Full Professor in 1985, and in 2021 was honored to be inducted into the

 Department of Psychiatry’s “Hall of Fame.”

        2.      Since July 1973, my specialties have included psychological problems and

 conditions relating to individuals’ sexuality and sexual relations, therapies for sexual problems,

 and the relationship between love, intimate relationships, and wider mental health. In 2005, I

 received the Masters and Johnson Lifetime Achievement Award from the Society of Sex

 Therapy and Research. I am a Distinguished Life Fellow of the American Psychiatric

 Association.

        3.      I have served as a book and manuscript reviewer for numerous professional

 publications. I have been the Senior Editor of the first (2003), second (2010), and third (2016)

 editions of the Handbook of Clinical Sexuality for Mental Health Professionals. In addition to

 five previously solo-authored books for professionals, I have recently published

 Psychotherapeutic Approaches to Sexual Problems (2020). The book has a chapter titled “The

 Gender Revolution.”

        4.      In total I have authored or co-authored over 180 journal articles and book

 chapters, 20 of which deal with the issue of gender dysphoria. I am an invited member of a

 Cochrane Collaboration subcommittee that is currently preparing a review of the scientific

 literature on the effectiveness of puberty blocking hormones and of cross-sex hormones for
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 gender dysphoria for adolescents. Cochrane Reviews are a well-respected cornerstone of

 evidence-based practice, comprising a systematic review that aims to identify, appraise, and

 synthesize all the empirical evidence that meets pre-specified eligibility criteria in response to a

 particular research question.

        5.      I first encountered a patient suffering what we would now call gender dysphoria

 in July 1973. In 1974, I founded the Case Western Reserve University Gender Identity Clinic,

 and have served as Co-Director of that clinic since that time. Across the years, our Clinic treated

 hundreds of patients who were experiencing a transgender identity. An occasional child was seen

 during this era. I was the primary psychiatric caregiver for several dozen of our patients and

 supervisor of the work of other therapists. I was an early member of the Harry Benjamin

 International Gender Dysphoria Association (later known as WPATH) and served as the

 Chairman of the committee that developed the 5th version of its Standards of Care. In 1993 the

 Gender Identity Clinic was renamed, moved to a new location, and became independent of Case

 Western Reserve University. I continue to serve as Co-Director.

        6.      In the course of my five decades of practice treating patients who suffered from

 gender dysphoria, I have at one time or another recommended or prescribed or supported social

 transition, cross-sex hormones, and surgery for particular patients, but only after extensive

 diagnostic and psychotherapeutic work.

        7.      In 2006, Judge Mark Wolf of the Eastern District of Massachusetts asked me to

 serve as an independent, court-appointed expert in a litigation involving the treatment of a

 transgender inmate within the Massachusetts prison system. In that litigation, the U.S. Court of

 Appeals for the First Circuit in a 2014 (En Banc) opinion cited and relied on my expert




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 testimony. I have been retained by the Massachusetts Department of Corrections as a consultant

 on the treatment of transgender inmates since 2007.

        8.      In 2019, I was qualified as an expert and testified concerning the diagnosis,

 understanding, developmental paths and outcomes, and therapeutic treatment of transgenderism

 and gender dysphoria, particularly as it relates to children, in the matter of In the Interest of

 J.A.D.Y. and J.U.D.Y., Case No. DF-15-09887-S, 255th Judicial District, Dallas County, TX (the

 “Younger litigation”). I have provided expert testimony in other litigation as listed in my

 curriculum vitae. In 2019, I provided written expert testimony in the landmark case in the United

 Kingdom; Bell v. The Tavistock and Portman NHS Foundation Trust.

        9.      I am regularly requested to speak on the topic of gender dysphoria and have given

 countless presentations to academic conferences and Departments of Psychiatry around the

 country. In May of this year, I will be co-presenting a symposium on the management of

 adolescent-onset transgender identity at American Psychiatric Association’s Annual Meeting.

        10.     A fuller review of my professional experience, publications, and awards is

 provided in my curriculum vitae, a copy of which is attached hereto as Exhibit A.

        11.     I am being compensated for my time spent in connection with this case at a rate of

 $400.00 per hour for consultation and $500.00 per hour for time spent testifying.

        12.     I have reviewed the “Declaration and Expert Report of Deanna Adkins, MD,”

 dated January 21, 2022 (“Adkins”). In that declaration Dr. Adkins makes a variety of statements

 about gender dysphoria, therapies for gender dysphoria, and outcomes of therapies, which I

 believe to be inaccurate, or unsupported by scientific evidence. Dr. Adkins is a pediatric

 endocrinologist. I note with some concern that Dr. Adkins makes a number of sweeping and




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 purportedly scientific assertions but cites almost no peer-reviewed articles or studies that support

 her opinions.

        13.      Based on her declaration, Dr. Adkins’ practice is focused on children and

 adolescents; her CV and declaration do not suggest substantial experience in working with adults

 or older young adults who are living in a transgender identity, or who suffer from gender

 dysphoria. (This diagnosis requires “clinically significant” distress.) The wider lifecycle view

 that derives from experience with these adults (and familiarity with the literature concerning

 them) provides an important cautionary perspective. The psychiatrist or psychologist treating a

 trans child or adolescent, of course seeks to make the young patient happy, but the overriding

 consideration is the creation of a happy, highly functional, mentally healthy person for the next

 50 to 70 years of life. I refer to treatment that keeps this goal in view as the “life course”

 perspective.

        14.      Dr. Adkins’ stated belief that the only way to avoid harm is affirmative care is just

 one of many questionable assumptions that lack firm scientific foundation. Others that frequently

 ride along with advocates’ convictions about affirmative care include:

                 a. A trans identity is immutable;

                 b. Trans identities are primarily caused by biological forces;

                 c. Gender identity and orientation are distinct stable dimensions of identity;

                 d. There are no alternative treatments to affirmative care;

                 e. Affirmative care lastingly improves mental health and social function;

                 f. Affirmative care reduces the rates of suicidal ideation and suicide;

                 g. Young teens can give informed consent for hormones because they know best

        what will make them happy now and in the future;




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                 h. De-transition of affirmed youth is rare;

                 i. Associated psychopathology during and after affirmative care is primarily due

        to minority stress.

        15.      These assertions are inaccurate or unsupported, for reasons that I explain in this

 Declaration. I will provide citations to published, peer-reviewed articles that inform my

 judgments.

        16.      I have also reviewed the “Expert Report and Declaration of Joshua D. Safer,

 MD,” dated January 21, 2022 (“Safer”). In that declaration Dr. Safer similarly makes a variety of

 statements about gender dysphoria, therapies for gender dysphoria, and outcomes of therapies,

 which I believe to be inaccurate, or unsupported by scientific evidence. Dr. Safer also makes a

 number of sweeping and purportedly scientific assertions that are not substantiated by peer-

 reviewed articles or studies.

        17.      It is also my opinion that a number of Dr. Safer’s assertions are inaccurate or

 unsupported, for reasons that I explain in this Declaration. Similarly, I will provide citations to

 published, peer-reviewed articles that inform my judgments.

        18.      A summary of the key points that I explain in this report is as follows:

                 a. Sex as defined by biology and reproductive function is clear, binary, and

        cannot be changed. While hormonal and surgical procedures may enable some

        individuals to “pass” as the opposite gender during some or all of their lives, such

        procedures carry with them physical, psychological, and social risks, and no procedures

        can enable an individual to perform the reproductive role of the opposite sex. (Section

        II.A.)




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              b. The diagnosis of “gender dysphoria” encompasses a diverse array of

       conditions, with widely differing pathways and characteristics depending on age of onset,

       biological sex, mental health, intelligence, motivations for gender transition,

       socioeconomic status, country of origin, etc. Data from one population (e.g., adults)

       cannot be assumed to be applicable to others (e.g., children). (Section II.B.)

              c. Among practitioners in the field, there are currently widely varying views

       concerning both the causes of and appropriate therapeutic response to gender dysphoria

       in children or adolescents. There are no generally accepted “standards of care” and

       existing studies do not provide a basis for a scientific conclusion as to which therapeutic

       response results in the best long-term outcomes for affected individuals. (Section III.)

              d. Transgender identity is not biologically based. Rather, gender dysphoria is a

       psychiatric condition that cannot be identified by any biological test or measurement.

       (Sections IV.A, IV.B.)

              e. Disorders of sexual development (“DSDs”) are biological phenomena. It is an

       error to conflate and/or scientifically link DSDs with incidents of gender dysphoria.

       (Sections IV.C, IV.D.)

              f. The large majority of children who are diagnosed with gender dysphoria

       “desist”—that is, their gender dysphoria does not persist—by puberty or adulthood.

       Desistance is also increasingly observed among teens and young adults who have

       experienced “rapid onset gender dysphoria” — first manifesting gender dysphoria during

       or shortly after adolescence. (Section V.A., V.B.)

              g. “Social transition” —the active affirmation of transgender identity—in young

       children is a powerful psychotherapeutic intervention that will substantially reduce the




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       number of children “desisting” from transgender identity. Therefore, the profound

       implications of “affirmative” treatment—which include taking puberty blockers and

       cross-sex hormones—must be taken into account where social transition is being

       considered. (Section VI.A,, VI.B.)

               h. Administration of puberty blockers is not a benign “pause” of puberty, but

       rather a powerful medical and psychotherapeutic intervention that almost invariably leads

       to persistence in a transgender identity and, ultimately, to the administration of cross-sex

       hormones. (Section VI.C.)

               i. The knowledge base concerning the “affirmative” treatment of gender

       dysphoria available today has very low scientific quality with many long-term

       implications remaining unknown. (Section VII.A)

               j. There are no studies that show that affirmation of transgender identity in

       young children reduces suicide or suicidal ideation, or improves long-term outcomes, as

       compared to other therapeutic approaches. Meanwhile, multiple studies show that adult

       individuals living transgender lives suffer much higher rates of suicidal ideation,

       completed suicide, and negative physical and mental health conditions than does the

       general population. This is true before and after transition, hormones, and surgery.

       (Section VII.B., VII.C.)

               k. In light of what is known and not known about the impact of affirmation on

       the incidence of suicide, suicidal ideation, and other indicators of mental and physical

       health, it is scientifically baseless, and therefore unethical, to assert that a child or

       adolescent who express an interest in a transgender identity will kill him- or herself

       unless adults and peers affirm that child in a transgender identity. (Section VIII.)




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                l. Hormonal interventions to treat gender dysphoria are experimental in nature

        and have not been shown to be safe, but rather put an individual at risk of a wide range of

        long-term and even life-long harms including: physical health risks; sterilization and the

        associated emotional response; impaired sexual response; surgical complications and life-

        long after-care; alienation of family and romantic relationships; elevated mental health

        risks of depression, anxiety, and substance abuse. (Section IX.)

 II.    BACKGROUND ON THE FIELD

        A.      The biological baseline of the binary sexes

        19.     Dr. Adkins asserts that “the terms biological sex and biological male or female are

 imprecise and should be avoided.” (Adkins at 10.) Dr. Safer further asserts that the term

 biological sex “can cause confusion,” and moreover that a person’s sex encompasses gender

 identity. (Safer at 6.) These statements are untrue. Biological sex is very well defined in all

 biological sciences including medicine. It is pervasively important in human development

 throughout the lifecycle.

        20.     Sex is not “assigned at birth” by humans visualizing the genitals of a newborn; it

 is not imprecise. Rather, it is clear, binary, and determined at conception. The sex of a human

 individual at its core structures the individual’s biological reproductive capabilities—to produce

 ova and bear children as a mother, or to produce semen and beget children as a father. As

 physicians know, sex determination occurs at the instant of conception, depending on whether a

 sperm’s X or Y chromosome fertilizes the egg. A publication of the federal government’s

 National Institute of Health accurately summarizes the scientific facts:

                “Sex is a biological classification, encoded in our DNA. Males
                have XY chromosomes, and females have XX chromosomes. Sex
                makes us male or female. Every cell in your body has a sex—
                making up tissues and organs, like your skin, brain, heart, and


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                 stomach. Each cell is either male or female depending on whether
                 you are a man or a woman.” (NIH 2022.)

         21.     The binary of biological sex is so fundamental and wide-ranging in its effects on

 human (and mammal) development and physiology that since 2014 the NIH has required all

 funded research on humans or vertebrate animals to include “sex as a biological variable” and

 give “adequate consideration of both sexes in experiments.” (NIH 2015). In 2021, the Endocrine

 Society issued a position paper elaborating on the application of the NIH requirement. The

 Endocrine Society correctly stated that “Sex is a biological concept . . . all mammals have 2

 distinct sexes;” that “biological sex is . . . a fundamental source of intraspecific variation in

 anatomy and physiology;” and that “In mammals, numerous sexual traits (gonads, genitalia, etc.)

 that typically differ in males and females are tightly linked to each other because one

 characteristic leads to sex differences in other traits.” (Bhargava et al. 2021 at 221, 229.)

         22.     The Endocrine Society emphasized that “The terms sex and gender should not be

 used interchangeably,” and noted that even in the case of those “rare” individuals who suffer

 from some defect such that they “possess a combination of male- and female-typical

 characteristics, those clusters of traits are sufficient to classify most individuals as either

 biologically male or female.” They concluded, “Sex is an essential part of vertebrate biology, but

 gender is a human phenomenon. Sex often influences gender, but gender cannot influence sex.”

 (Bhargava et al. 2021 at 220-221, 228.) For purposes of this litigation, Dr. Bhargava’s statement

 that gender cannot influence sex is of central importance.

         23.     As these statements and the NIH requirement suggest, biological sex pervasively

 influences human anatomy, its development and physiology. This includes, of course, the

 development of the human brain, in which many sexually dimorphic characteristics have now

 been identified. In particular, the Endocrine Society and countless other researchers have



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 determined that human brains undergo particular sex-specific developmental stages during

 puberty. This predictable developmental process is a genetically controlled coordinated

 endocrine response that begins with pituitary influences leading to increases in circulating sex

 hormones. (Bhargava et al. 2021 at 225, 229; Blakemore et al. 2010 at 926-927, 929; NIH

 2001.).

           24.   Humans have viewed themselves in terms of binary sexes since the earliest

 historical records. Recognizing a concept of “gender identity” as something distinct from sex is a

 rather recent innovation whose earliest manifestations likely began in the late 1940s. Its usage

 became common in medicine in the 1980s and subsequently in the larger culture. Definitions of

 gender have been evolving and remain individual-centric and subjective. In a statement on

 “Gender and Health,” the World Health Organization defines “gender” as “the characteristics of

 women, men, girls and boys that are socially constructed” and that “var[y] from society to

 society and can change over time,” and “gender identity” as referring to “a person’s deeply felt,

 internal and individual experience of gender.” (WHO Gender and Health.) As these definitions

 indicate, a person’s “felt” “experience of gender” is inextricably bound up with and affected by

 societal gender roles and stereotypes—or, more precisely, by the affected individual’s perception

 of societal gender roles and stereotypes and their personal idiosyncratic meanings. Typically,

 gendered persons also have subtly different, often idiosyncratic, reactions to societal gender roles

 and stereotypes without preoccupation with changing their anatomy.

           25.   Thus, the self-perceived gender of a child begins to develop along with the early

 stages of identity formation generally, influenced in part from how others label the infant: “I love

 you, son (daughter).” This designation occurs thousands of times in the first two years of life

 when a child begins to show awareness of the two possibilities. As acceptance of the designated




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 gender corresponding to the child’s sex is the outcome in >99% of children everywhere,

 anomalous gender identity formation begs for understanding. Is it biologically shaped? Is it

 biologically determined? Is it the product of how the child was privately regarded and treated? Is

 it a product of the quality of early life caregiver attachments? Does it stem from trauma-based

 rejection of maleness or femaleness, and if so, flowing from what trauma? Does it derive from a

 tense, chaotic interpersonal parental relationship without physical or sexual abuse? Is it a

 symptom of another, as of yet unrevealed, emotional disturbance or neuropsychiatric condition

 (autism)? The answers to these relevant questions are not scientifically known but are not likely

 to be the same for every trans-identified child, adolescent, or adult.

        26.      Under the influence of hormones secreted by the testes or ovaries, numerous

 additional sex-specific differences between male and female bodies continuously develop

 postnatally, culminating in the dramatic maturation of the primary and secondary sex

 characteristics with puberty. These include differences in hormone levels, height, weight, bone

 mass, shape, musculature, body fat levels and distribution, and hair patterns, as well as

 physiological differences such as menstruation and ejaculation. These are genetically

 programmed biological consequences of sex—the actual meaning of sex over time. Among the

 consequences of sex is the consolidation of gender identity during and after puberty.

        27.     Despite the increasing ability of hormones and various surgical procedures to

 reconfigure some male bodies to visually pass as female, or vice versa, the biology of the person

 remains as defined by his (XY) or her (XX) chromosomes, including cellular, anatomic, and

 physiologic characteristics and the particular disease vulnerabilities associated with that

 chromosomally defined sex. For instance, the XX (genetically female) individual who takes

 testosterone to stimulate certain male secondary sex characteristics will nevertheless remain




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 unable to produce sperm and father children. It is certainly true, as Dr. Adkins writes, that

 “[h]ormone therapy and social transition significantly change a person’s physical appearance.”

 (Adkins at 8.) But in critical respects this change can only be “skin deep.” Contrary to assertions

 and hopes that medicine and society can fulfill the aspiration of the trans individual to become “a

 complete man” or “a complete woman,” this is not biologically attainable. (Levine 2018 at 6;

 Levine 2016 at 238.) It is possible for some adolescents and adults to pass unnoticed—that is, to

 be perceived by most individuals as a member of the gender that they aspire to be—but with

 limitations, costs, and risks, as I detail later.

         B.      Definition and diagnosis of gender dysphoria

         28.     Specialists have used a variety of terms over time, with somewhat shifting

 definitions, to identify and speak about a distressing incongruence between an individual’s

 genetically determined sex and the gender with which they identify or to which they aspire.

 Today’s American Psychiatric Association Diagnostic and Statistical Manual of Mental

 Disorders (“DSM-5”) employs the term Gender Dysphoria and defines it with separate sets of

 criteria for adolescents and adults on the one hand, and children on the other.

         29.     There are at least five distinct pathways to gender dysphoria: early childhood

 onset; onset near or after puberty with no prior cross gender patterns; onset after defining oneself

 as gay for several or more years and participating in a homosexual lifestyle; adult onset after

 years of heterosexual transvestism; and onset in later adulthood with few or no prior indications

 of cross-gender tendencies or identity. (Levine 2021.) The early childhood onset pathway and the

 more recently observed onset around puberty pathway are most relevant to this matter.

         30.     Gender dysphoria has very different characteristics depending on age and sex at

 onset. Young children who are living a transgender identity commonly suffer materially fewer

 symptoms of concurrent mental distress than do older patients. (Zucker 2018 at 10.) The


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 developmental and mental health patterns for each of these groups are sufficiently different that

 data developed in connection with one of these populations cannot be assumed to be applicable

 to another.

        31.     The criteria used in DSM-5 to identify Gender Dysphoria include a number of

 signs of discomfort with one’s natal sex and vary somewhat depending on the age of the patient,

 but in all cases require “clinically significant distress or impairment in . . . important areas of

 functioning” such as social, school, or occupational settings. The symptoms must persist for at

 least six months.

        32.     Children who conclude that they are transgender are often unaware of a vast array

 of adaptive possibilities for how to live life as a man or a woman—possibilities that become

 increasingly apparent over time to both males and females. A boy or a girl who claims or

 expresses interest in pursuing a transgender identity often does so based on stereotypical notions

 of femaleness and maleness that reflect constrictive notions of what men and women can be.

 (Levine 2017 at 7.) A young child’s—or even an adolescent’s—understanding of this topic is

 quite limited. Nor can they grasp what it may mean for their future to be sterile. These children

 and adolescents consider themselves to be relatively unique; they do not realize that discomfort

 with the body and perceived social role is neither rare nor new to civilization. What is new is that

 such discomfort is thought to indicate that they must be a trans person.

        C.       Impact of gender dysphoria on minority and vulnerable groups

        33.     Given that, as I discuss later, a diagnosis of gender dysphoria is now frequently

 putting even young children on a pathway that leads to irreversible physical changes and

 sterilization by young adulthood, it should be of serious concern to all practitioners that minority

 and vulnerable groups are receiving this diagnosis at disproportionately high rates. These

 include: children of color (Rider et al. 2018), children with mental developmental disabilities


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 (Reisner et al. 2015), children on the autistic spectrum (at a rate more than 7x the general

 population) (Shumer et al. 2016; van der Miesen et al. 2018), children with ADHD (Becerra-

 Culqui et al. 2018), children residing in foster care homes, adopted children (at a rate more than

 3x the general population) (Shumer et al. 2017), victims of childhood sexual or physical abuse or

 other “adverse childhood events” (Thoma 2021 et al.; Newcomb et al. 2020; Kozlowska et al.

 2021), children with a prior history of psychiatric illness (Edwards-Leeper et al. 2017; Kaltiala-

 Heino et al. 2015; Littman 2018), and more recently adolescent girls (in a large recent study, at a

 rate more than 2x that of boys) (Rider et al. 2018 at 4).

         D.      Three competing conceptual models of gender dysphoria and transgender
                 identity

         34.     Discussions about appropriate responses by mental health professionals (“MHPs”)

 to actual or sub-threshold gender dysphoria are complicated by the fact that various speakers and

 advocates (or a single speaker at different times) view transgenderism through at least three very

 different paradigms, often without being aware of, or at least without acknowledging, the

 distinctions.

         35.     Gender dysphoria is conceptualized and described by some professionals and

 laypersons as though it were a serious, physical medical illness that causes suffering,

 comparable to diseases that are curable before it spreads, such as melanoma or sepsis. Within

 this paradigm, whatever is causing distress associated with gender dysphoria—whether

 secondary sex characteristics such as facial hair, nose and jaw shape, presence or absence of

 breasts, or the primary anatomical sex organs of testes, ovaries, penis, or vagina—should be

 removed to alleviate the illness. The promise of these interventions is the cure of the gender

 dysphoria.




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        36.     Dr. Adkins appears to endorse this perspective, asserting that gender dysphoria is

 a “medical condition.” (Adkins at 4.) It should be noted, however, that gender dysphoria is a

 psychiatric, not a medical, diagnosis. Since its inception in DSM-III in 1983, it has always been

 specified in the psychiatric DSM manuals and has not been specified in medical diagnostic

 manuals. Notably, gender dysphoria is the only psychiatric condition to be treated by surgery,

 even though no endocrine or surgical intervention package corrects any identified biological

 abnormality. (Levine 2016 at 240.)

        37.     Gender dysphoria is alternatively conceptualized in developmental terms, as an

 adaptation to a psychological problem that may have been first manifested as a failure to

 establish a comfortable conventional sense of self in early childhood. This paradigm starts from

 the premise that all human lives are influenced by past processes and events. Trans lives are not

 exceptions to this axiom. (Levine 2016 at 238.) MHPs who think of gender dysphoria through

 this paradigm may work both to identify and address causes of the basic problem of the deeply

 uncomfortable self or a sense of self impaired by later adversity or abuse. The purpose is to

 ameliorate suffering when the underlying problem cannot be solved. MHPs first work with the

 patient and (ideally) family to learn about the events and processes that may have led to the trans

 person repudiating the gender associated with his sex. The developmental paradigm is mindful of

 temperamental, parental bonding, psychological, sexual, and physical trauma influences, and the

 fact that young children work out their psychological issues through fantasy and play and

 adolescents work out their issues by adopting various interests and identity labels.

        38.     There is evidence among adolescents that peer social influences through “friend

 groups” (Littman 2018) or through the internet can increase the incidence of gender dysphoria or

 claims of transgender identity. Responsible MHPs will want to probe these potential influences




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 to better understand what is truly deeply tied to the psychology of the patient, and what may

 instead be being “tried on” by the youth as part of the adolescent process of self-exploration and

 self-definition.

         39.        In addition, the developmental paradigm recognizes that, with the important

 exception of genetic sex, essentially all aspects of an individual’s identity evolve—often

 markedly—across the individual’s lifetime. This includes gender. Some advocates assert that a

 transgender identity is biologically caused, fixed from early life, and eternally present in an

 unchanging manner. As I review later, however, this assertion is not supported by science. 1

         40.        The third paradigm through which gender dysphoria is alternatively

 conceptualized is from a sexual minority rights perspective. Under this paradigm, any response

 other than medical and societal affirmation and implementation of a patient’s claim to “be” the

 opposite gender is a violation of the individual’s civil right to self-expression. Any effort to ask

 “why” questions about the patient’s condition, or to address underlying causes, is viewed as a

 violation of autonomy and civil rights. In the last few years, this paradigm has been successful in

 influencing public policy and the education of pediatricians, endocrinologists, and many mental

 health professionals. Obviously, however, this is not a medical or psychiatric perspective.

 Unfortunately, it appears to be the most powerful perspective that exists in the public, non-

 scientific debate.

         E.         Four competing models of therapy

         41.        Few would disagree that the human psyche is complex. Few would disagree that

 children’s and adolescents’ developmental pathways typically have surprising twists and turns.

 The complexity and unpredictability of childhood and adolescent development equally applies to


         1
          Even the advocacy organization The Human Rights Campaign asserts that a person can
 have “a fluid or unfixed gender identity.” https://www.hrc.org/resources/glossary-of-terms.


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 trans-identifying youth. Because of past difficulties of running placebo-controlled clinical trials

 in the transgender treatment arena, substantial disagreements among professionals about the

 causes of trans identities and their ideal treatments exist. These current disagreements might have

 been minimized if trans treated persons were carefully followed up to determine long term

 outcomes. They have not been. When we add to this to the very different current paradigms for

 understanding transgender phenomena, it is not scientifically surprising that disagreements are

 sharply drawn. It is with this in mind that I summarize below the leading approaches, and offer

 certain observations and opinions concerning them.

                (1)     The “watchful waiting” therapy model

        42.     In Section V.A below I review the uniform finding of eleven follow-up studies

 that the large majority of children who present with gender dysphoria will desist from desiring a

 transgender identity by adulthood if left untreated by social transition approaches.

        43.     When a pre-adolescent child presents with gender dysphoria, a “watchful waiting”

 approach seeks to allow for the fluid nature of gender identity in children to naturally evolve—

 that is, take its course from forces within and surrounding the child. Watchful waiting has two

 versions:

                a. Treating any other psychological co-morbidities—that is, other mental

        illnesses as defined by DSM-5 (separation anxiety disorder, attention deficit hyperactivity

        disorder, autism spectrum disorder, obsessive compulsive disorder, etc), or subthreshold

        for diagnosis but behavioral problems that the child may exhibit (school avoidance,

        bedwetting, inability to make friends, aggression/defiance) without a focus on gender

        (model #1); and

                b. No treatment at all for anything but a regular follow-up appointment. This

        might be labeled a “hands off” approach (model #2).


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                (2)     The psychotherapy model: Alleviate distress by identifying and
                        addressing causes (model #3)

        44.     One of the foundational principles of psychotherapy has long been to work with a

 patient to identify the causes of observed psychological distress and then to address those causes

 as a means of alleviating the distress. The National Institute of Mental Health has promulgated

 the idea that 75% of adult psychopathology has its origins in childhood experience.

        45.     Many experienced practitioners in the field of gender dysphoria, including myself,

 have believed that it makes sense to employ these long-standing tools of psychotherapy for

 patients suffering gender dysphoria, asking the question as to what factors in the patient’s life are

 the determinants of the patient’s repudiation of his or her natal sex. (Levine 2017 at 8; Levine

 2021.) I and others have reported success in alleviating distress in this way for at least some

 patients, whether the patient’s sense of discomfort or incongruence with his or her natal sex

 entirely disappeared or not. Relieving accompanying psychological co-morbidities leaves the

 patient freer to consider the pros and cons of transition as he or she matures.

        46.     Among other things, the psychotherapist who is applying traditional methods of

 psychotherapy may help—for example—the male patient appreciate the wide range of masculine

 emotional and behavioral patterns as he grows older. He may discuss with his patient, for

 example, that one does not have to become a “woman” in order to be kind, compassionate,

 caring, noncompetitive, to love the arts, and to be devoted to others’ feelings and needs. (Levine

 2017 at 7.) Many biologically male trans individuals, from childhood to older ages, speak of their

 perceptions of femaleness as enabling them to discuss their feelings openly, whereas they

 perceive boys and men to be constrained from emotional expression within the family and larger

 culture, and to be aggressive. Men, of course, can be emotionally expressive, just as they can




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 wear pink. Converse examples can be given for girls and women. These types of ideas regularly

 arise during psychotherapies.

        47.     As I note above, many gender-nonconforming children and adolescents in recent

 years derive from minority and vulnerable groups who have reasons to feel isolated and have an

 uncomfortable sense of self. A trans identity may be a hopeful attempt to redefine the self in a

 manner that increases their comfort and decreases their anxiety. The clinician who uses

 traditional methods of psychotherapy may not focus on their gender identity, but instead work to

 help them to address the actual sources of their discomfort. Success in this effort may remove or

 reduce the desire for a redefined identity. This often involves a focus on disruptions in their

 attachment to parents in vulnerable children, for instance, those in the foster care system.

        48.     Because “watchful waiting” can include treatment of accompanying

 psychological co-morbidities, and the psychotherapist who hopes to relieve gender dysphoria

 may focus on potentially causal sources of psychological distress rather than on the gender

 dysphoria itself, there is no sharp line between “watchful waiting” and the psychotherapy model

 in the case of prepubescent children.

        49.     To my knowledge, there is no evidence beyond anecdotal reports that

 psychotherapy can enable a return to male identification for genetically male boys, adolescents,

 and men, or return to female identification for genetically female girls, adolescents, and women.

 On the other hand, anecdotal evidence of such outcomes does exist; I and other clinicians have

 witnessed reinvestment in the patient’s biological sex in some individual patients who are

 undergoing psychotherapy. The Internet contains many such reports, and I have published a

 paper on a patient who sought my therapeutic assistance to reclaim his male gender identity after

 30 years living as a woman and is in fact living as a man today. (Levine 2019.) I have seen




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 children desist even before puberty in response to thoughtful parental interactions and a few

 meetings of the child with a therapist. There are now a series of articles and at least one major

 book on the psychological treatment of adolescents. (D’Angelo et al. 2021 at 7-16; Evans &

 Evans 2021.)

                (3)     The affirmation therapy model (model #4)

        50.     While it is widely agreed that the therapist should not directly challenge a claimed

 transgender identity in a child, some advocates and practitioners go much further, and promote

 and recommend that any expression of transgender identity should be immediately accepted as

 decisive, and thoroughly affirmed by means of consistent use of clothing, toys, pronouns, etc.,

 associated with transgender identity. They argue that the child should be comprehensively re-

 socialized in grade school in their aspired-to gender. As I understand it, this is asserted as a

 reason why male students who assert a female gender identity must be permitted to compete in

 girls’ or women’s athletic events. These advocates treat any question about the causes of the

 child’s transgender identification as inappropriate. They may not recognize the child’s

 ambivalence. They assume that observed psychological co-morbidities in the children or their

 families are unrelated or will get better with transition, and need not be addressed by the MHP

 who is providing supportive guidance concerning the child’s gender identity.

        51.     Some advocates, indeed, assert that unquestioning affirmation of any claim of

 transgender identity in children is essential, and that the child will otherwise face a high risk of

 suicide or severe psychological damage. Dr. Adkins appears to follow this line, asserting that

 “My clinical experience . . . has been that [patients] suffer and experience worse health

 outcomes” when they are not permitted to enter all spaces and participate in all activities in a

 manner “consistent with gender identity.” (Adkins at 9.) This claim is simply not supported by

 the clinical data we have available to us. Indeed, available long-term data contradicts Dr.


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 Adkins’ claim. I address physical and mental health outcomes in Section VII below, and suicide

 in Section VIII below.

        52.      Dr. Adkins also asserts that fully supported social transition is the “only

 treatment for prepubertal children.” (Adkins at 6.) As I review in the next section, this is not

 correct. This may be the only treatment that Dr. Adkins considers, but my own conversations and

 contacts lead me to believe that Dr. James Cantor was correct when he wrote that “almost all

 clinics and professional associations in the world” do not use “gender affirmation” for

 prepubescent children and instead “delay any transitions after the onset of puberty.” (Cantor

 2019 at 1.)

        53.     I do not know what proportion of practitioners are using which model. However,

 in my opinion, in the case of young children, prompt and thorough affirmation of a transgender

 identity disregards the principles of child development and family dynamics and is not supported

 by science. Instead of science, this approach is currently being reinforced by an echo-chamber of

 approval from other like-minded child-oriented professionals who do not sufficiently consider

 the known negative medical and psychiatric outcomes of trans adults. Rather than recommend

 social transition in grade school, the MHP must focus attention on the child’s underlying internal

 and familial issues. Ongoing relationships between the MHP and the parents, and the MHP and

 the child, are vital to help the parents, child, other family members, and the MHP to understand

 over time the issues that need to be dealt with by each of them.

        54.     Likewise, since the child’s sense of gender develops in interaction with his

 parents and their own gender roles and relationships, the responsible MHP will almost certainly

 need to delve into family and marital dynamics.




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 III.    THERE IS NO CONSENSUS OR AGREED “STANDARD OF CARE”
         CONCERNING THERAPEUTIC APPROACHES TO CHILD OR ADOLESCENT
         GENDER DYSPHORIA.

         55.     Dr. Adkins states that “[t]he only treatment to avoid [ ] serious harm is to

 recognize the gender identity of patients with gender dysphoria and follow appropriate treatment

 protocols to affirm gender identity and alleviate distress,” and appears to believe that transition

 and affirmation of children who suffer from gender dysphoria is a generally accepted “standard

 of care.” (Adkins at 5.) It is not.

         56.     As I review in separate sections later, there is far too little firm clinical evidence

 in this field to permit any evidence-based standard of care. Given the lack of scientific evidence,

 it is neither surprising nor improper that—as I detailed in Section II—there is a diversity of

 views among practitioners as to as to the best therapeutic response for the child, adolescent, or

 young adult who suffers from gender dysphoria. Dr. Adkins is unwittingly confusing therapeutic

 precedent among those who agree with her views, armed with ideas promulgated by WPATH,

 with careful scientific documentation of her concepts. She presumes that her views have been

 scientifically established even though much has been published highlighting the lack of

 supportive definitive evidence.

         57.     Reviewing the state of opinion and practice in 2021, the Royal Australian and

 New Zealand College of Psychiatrists observed that “There are polarised views and mixed

 evidence regarding treatment options for people presenting with gender identity concerns,

 especially children and young people.” (RANZCP, 2021.) Similarly, a few years earlier

 prominent Dutch researchers noted: “[T]here is currently no general consensus about the best

 approach to dealing with the (uncertain) future development of children with GD, and making

 decisions that may influence the function and/or development of the child — such as social




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 transition.” (Ristori & Steensma 2016 at 18.) 2 In this Section, I comment on some of the more

 important areas of disagreement within the field.

        A.      Experts and organizations disagree as to whether “distress” is a necessary
                element for diagnoses that justifies treatment for gender identity issues.

        58.     As outlined in Section II.B above, “clinically significant distress” is one of the

 criteria used in DSM-5 to identify gender dysphoria. This indicates a heightened level of distress

 that rises beyond a threshold level of social awkwardness or discomfort with the changing body.

 It is known that many trans-identified youth with incongruence between their sexed bodies and

 their gender identity choose not to take hormones; their incongruence is quite tolerable as they

 further clarify their sexual identity elements. This population raises the questions of what distress

 is being measured when DSM-5 criteria are met and what else might be done about it.

        59.     I note that there is no “clinically significant distress” requirement in World Health

 Organization’s International Classification of Diseases (ICD-11) criteria for gender

 incongruence, which rather indicates “a marked and persistent incongruence between an

 individual´s experienced gender and the assigned sex.” (World Health Organization 2019.)

        60.     Therefore, even between these two committee-based authorities, there is a

 significant disagreement as to what constitutes a gender condition justifying life-changing

 interventions. To my knowledge, some American gender clinics and practitioners are essentially

 operating under the ICD-11 criteria rather than the APA’s DSM-5 criteria, prescribing transition

 for children, hormonal interventions for slightly older children, and different hormones for

 adolescents who assert a desire for a transgender identity whether or not they are exhibiting

 “clinically significant distress.” Others adhere to the DSM-5 diagnostic standard.



        2
         See also Zucker 2020 which questions the merit of social transition as a first-line
 treatment.


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        61.     I will add that even from within one “school of thought,” such as embodied by Dr.

 Adkins, it is not responsible to make a single, categorical statement about the proper treatment of

 children or adolescents presenting with gender dysphoria or other gender-related issues. There is

 no single pathway to the development of a trans identity and no reasonably uniform short- or

 long-term outcome of medically treating it. As individuals grow physically, mature

 psychologically, and experience or fail to experience satisfying romantic relationships, their life

 course depends on their differing psychological, social, familial, and life experiences. There

 should be no trust in assertions that trans identified youth must be treated in a particular manner

 to avoid harm for two reasons: first, there is no systematic data on the nature of, and the rate of

 harms of either affirmative treatment, no treatment, or psychological only treatment. Second, as

 in other youthful psychiatric and other challenges, outcomes vary.

        B.      Opinions and practices vary widely about the utilization of social transition
                for children and adolescents.

        62.     Dr. Adkins notes that she is a member of the World Professional Association for

 Transgender Health (WPATH), invokes a guidance document that that organization has chosen

 to publish under the title of “standards of care,” and asserts that the WPATH Standards of Care

 are “widely accepted.” (Adkins at 3, 5.) Below, I will provide some explanation of WPATH and

 its “Standards of Care,” which are not the product of a strictly scientific organization, and are by

 no means accepted by all or even most practitioners as setting out best practices.

        63.     Here, however, I will note that WPATH does not take a position concerning

 whether or when social transition may be appropriate for pre-pubertal children. Instead, the

 WPATH “Standards of Care” states that the question of social transition for children is a

 “controversial issue” and calls for mental health professionals to support families in what it

 describes as “difficult decisions” concerning social transition.



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        64.     Dr. Erica Anderson is a prominent practitioner in this area who identifies as a

 transgender woman, who was the first transgender president of USPATH, and who is a former

 board member of WPATH. Dr. Anderson recently resigned from those organizations and has

 condemned automatic approval of transition upon the request of a child or adolescent, noting that

 “adolescents . . . are notoriously susceptible to peer influence,” that transition “doesn’t cure

 depression, doesn’t cure anxiety disorders, doesn’t cure autism-spectrum disorder, doesn’t cure

 ADHD,” and instead that “a comprehensive biopsychosocial evaluation” should proceed

 allowing a child to transition. (Davis 2022.) And as I have explained previously, my own view

 based on 50 years of experience in this area favors strong caution before approving life-altering

 interventions such as social transition, puberty blockers, or cross-sex hormones.

        C.      The WPATH “Standards of Care” is not an impartial or evidence-based
                document.

        65.     Because WPATH is frequently cited by advocates of social, hormonal, and

 surgical transition, I provide some context concerning that private organization and its

 “Standards of Care.”

        66.     I was a member of the Harry Benjamin International Gender Dysphoria

 Association from 1974 until 2001. From 1997 through 1998, I served as the Chairman of the

 eight-person International Standards of Care Committee that issued the fifth version of the

 Standards of Care. I resigned my membership in 2002 due to my regretful conclusion that the

 organization and its recommendations had become dominated by politics and ideology, rather

 than by scientific process, as it was years earlier. In approximately 2007, the Harry Benjamin

 International Gender Dysphoria Association changed its name to the World Professional

 Association for Transgender Health.




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        67.      WPATH is a voluntary membership organization. Since at least 2002, attendance

 at its biennial meetings has been open to trans individuals who are not licensed professionals.

 While this ensures taking patients’ needs into consideration, it limits the ability for honest and

 scientific debate, and means that WPATH can no longer be considered a purely professional

 organization.

        68.      WPATH takes a decided view on issues as to which there is a wide range of

 opinion among professionals. WPATH explicitly views itself as not merely a scientific

 organization, but also as an advocacy organization. (Levine 2016 at 240.) WPATH is supportive

 to those who want sex reassignment surgery (“SRS”). Skepticism as to the benefits of SRS to

 patients, and strong alternate views, are not well tolerated in discussions within the organization

 or their educational outreach programs. Such views have been known to be shouted down and

 effectively silenced by the large numbers of nonprofessional adults who attend the organization’s

 biennial meetings. Two groups of individuals that I regularly work with have attended recent and

 separate WPATH continuing education sessions. There, questions about alternative approaches

 were quickly dismissed with “There are none. This is how it is done.” Such a response does not

 accurately reflect what is known, what is unknown, and the diversity of clinical approaches in

 this complex field.

        69.      The Standards of Care (“SOC”) document is the product of an effort to be

 balanced, but it is not politically neutral. WPATH aspires to be both a scientific organization and

 an advocacy group for the transgendered. These aspirations sometimes conflict. The limitations

 of the Standards of Care, however, are not primarily political. They are caused by the lack of

 rigorous research in the field, which allows room for passionate convictions on how to care for

 the transgendered. And, of course, once individuals have socially, medically, and surgically




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 transitioned, WPATH members and the trans people themselves at the meetings are committed to

 supporting others in their transitions. Not only have some trans participants been distrustful or

 hostile to those who question the wisdom of these interventions, their presence makes it difficult

 for professionals to raise their concerns. Vocal trans rights advocates have a worrisome track

 record of attacking those who have alternative views. (Dreger 2015.)

        70.     In recent years, WPATH has fully adopted some mix of the medical and civil

 rights paradigms. It has downgraded the role of counseling or psychotherapy as a requirement for

 these life-changing processes. WPATH no longer considers preoperative psychotherapy to be a

 requirement. It is important to WPATH that the person has gender dysphoria; the pathway to the

 development of this state is not. (Levine 2016 at 240.) The trans person is assumed to have

 thoughtfully considered his or her options before seeking hormones, for instance.

        71.     Most psychiatrists and psychologists who treat patients suffering sufficiently

 severe distress from gender dysphoria to seek inpatient psychiatric care are not members of

 WPATH. Many psychiatrists, psychologists, and pediatricians who treat some patients suffering

 gender dysphoria on an outpatient basis are not members of WPATH. WPATH represents a self-

 selected subset of the profession along with its many non-professional members; it does not

 capture the clinical experiences of others. WPATH claims to speak for the medical profession;

 however, it does not welcome skepticism and therefore, deviates from the philosophical core of

 medical science. There are pediatricians, psychiatrists, endocrinologists, and surgeons who

 object strongly, on professional grounds, to transitioning children and providing affirmation in a

 transgender identity as the first treatment option. WPATH does not speak for all of the medical

 profession.




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        72.     In 2010 the WPATH Board of Directors issued a statement advocating that

 incongruence between sex and felt gender identity should cease to be identified in the DSM as a

 pathology. 3 This position was debated but not adopted by the (much larger) American

 Psychiatric Association, which maintained the definitions and diagnoses of gender dysphoria as a

 pathology in the DSM-5 manual issued in 2013.

        73.     In my experience some current members of WPATH have little ongoing

 experience with the mentally ill, and many trans care facilities are staffed by MHPs who are not

 deeply experienced with recognizing and treating frequently associated psychiatric co-

 morbidities. Further, being a mental health professional, per se, does not guarantee experience

 and skill in recognizing and effectively intervening in serious or subtle patterns. Because the 7th

 version of the WPATH SOC deleted the requirement for therapy, trans care facilities that

 consider these Standards sufficient are permitting patients to be counseled to transition by means

 of social presentation, hormones, and surgery by individuals with masters rather than medical

 degrees.

        D.      Opinions and practices differ widely with respect to the proper role of
                psychological counseling before, as part of, or after a diagnosis of gender
                dysphoria.

        74.     In Version 7 of its Standards of Care, released in 2012, WPATH downgraded the

 role of counseling or psychotherapy, and the organization no longer sees psychotherapy without

 transition and hormonal interventions as a potential path to eliminate gender dysphoria by

 enabling a patient to return to or achieve comfort with the gender identity aligned with his or her

 biology.




 3
   WPATH De-Psychopathologisation Statement (May 26, 2010), available at wpath.org/policies
 (last accessed January 21, 2020).


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        75.     Around the world, many prominent voices and practitioners disagree. For

 example, renowned gender therapists Dr. Laura Edwards-Leeper and Dr. Erica Anderson (who,

 as mentioned above, identifies as a transgender woman) have recently spoken out arguing that

 children and adolescents are being subjected to puberty blockers and hormonal intervention far

 too quickly, when careful and extended psychotherapy and investigation for potential causes of

 feelings of dysphoria (such as prior sexual abuse) should be the first port of call and might

 resolve the dysphoria. (Edwards-Leeper & Anderson 2021; Davis 2022.)

        76.     In a recently published position statement on gender dysphoria, the Royal

 Australian and New Zealand College of Psychiatrists emphasized the critical nature of mental

 health treatment for gender dysphoric minors, stressing “the importance of the psychiatrist’s role

 to undertake thorough assessment and evidence-based treatment ideally as part of a

 multidisciplinary team, especially highlighting co-existing issues which may need addressing

 and treating.” The Royal College also emphasized the importance of assessing the

 “psychological state and context in which Gender Dysphoria has arisen,” before any treatment

 decisions are made. (RANZCP, 2021.)

        77.     Dr. Paul Hruz of the University of Washington St. Louis Medical School has

 noted, “The WPATH has rejected psychological counseling as a viable means to address sex–

 gender discordance with the claim that this approach has been proven to be unsuccessful and is

 harmful (Coleman et al. 2012). Yet the evidence cited to support this assertion, mostly from case

 reports published over forty years ago, includes data showing patients who benefited from this

 approach (Cohen-Kettenis and Kuiper 1984).” (Hruz 2020.)




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        E.      Opinions and practices vary widely with respect to the administration of
                puberty blockers and cross-sex hormones.

        78.     There is likewise no broadly accepted standard of care with respect to use of

 puberty blockers. The WPATH Standards of Care explicitly recognize the lack of any consensus

 on this important point, stating: “Among adolescents who are referred to gender identity clinics,

 the number considered eligible for early medical treatment—starting with GnRH analogues to

 suppress puberty in the first Tanner stages—differs among countries and centers. Not all clinics

 offer puberty suppression. . . The percentages of treated adolescents are likely influenced by the

 organization of health care, insurance aspects, cultural differences, opinions of health

 professionals, and diagnostic procedures offered in different settings.”

        79.     The use of puberty blockers as a therapeutic intervention for gender dysphoria is

 often justified by reference to the seminal work of a respected Dutch research team that

 developed a protocol that administered puberty blockers to children no younger than age 14.

 However, it is well known that many clinics in North America now administer puberty blockers

 to children at much younger ages than the “Dutch Protocol” allows. (Zucker 2019.) The Dutch

 protocol only treated children with these characteristics: a stable cross gender identity from early

 childhood; dysphoria that worsened with the onset of puberty; were otherwise psychologically

 healthy; had healthy families; the patient and family agreed to individual and family counselling

 throughout the protocol. But the experience and results of the Dutch model is being used as a

 justification for giving puberty blockers to children who differ considerably from these criteria.

 Its authors have also recently noted this fact. (de Vries 2020.)

        80.     However, Zucker notes that “it is well known” that clinicians are administering

 cross-sex hormones, and approving surgery, at ages lower than the minimum age thresholds set

 by that “Dutch Protocol.” (Zucker 2019 at 5.)



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          81.   Similarly, at least one prominent clinic—that of Dr. Safer at Columbia’s Mt. Sinai

 Medical Center—is quite openly admitting patients for even surgical transition who are not

 eligible under the criteria set out in WPATH’s Standards of Care. A recent study published by

 Dr. Safer and colleagues revealed that of a sample of 139 individuals, 45% were eligible for

 surgery “immediately” under the center’s own criteria, while only 15% were eligible under

 WPATH’s criteria. That is, three times as many patients immediately qualified for surgery under

 the center’s loose standards than would have qualified under WPATH criteria. (Lichenstein et al.

 2020.)

          82.   Internationally, there has been a recent marked trend against use of puberty

 blockers, as a result of extensive evidence reviews by national medical bodies, which I discuss

 later. The main gender clinic in Sweden has declared that it will no longer authorize use of

 puberty blockers for minors below the age of 16. Finland has similarly reversed its course,

 issuing new guidelines that allow puberty blockers only on a case-by-case basis after an

 extensive psychiatric assessment. A landmark legal challenge against the UK’s National Health

 Service in 2020 by “detransitioner” Keira Bell led to the suspension of the use of puberty

 blockers and new procedures to ensure better psychological care, as well as prompting a

 thorough evidence review by the National Institute for Health and Care Excellence (NICE

 2021a; NICE 2021b). 4

          83.   In this country, some voices in the field are now publicly arguing that no

 comprehensive mental health assessment at all should be required before putting teens on

 puberty blockers or cross-sex hormones (Ghorayshi 2022), while Dr. Anderson and Dr.



          4
          The decision requiring court approval for administration of hormones to any person
 younger than age 16 was later reversed on procedural grounds by the Court of Appeal and is
 currently under consideration by the UK Supreme Court.


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 Edwards-Leeper argue that U.S. practitioners are already moving too quickly to hormonal

 interventions. (Edwards-Leeper & Anderson 2021; Davis 2022.) It is evident that opinions and

 practices are all over the map.

        84.     It is true that a committee of the American Academy of Pediatricians has issued a

 statement supporting administration of puberty blockers to children diagnosed with gender

 dysphoria. It is also true that no other American medical association has endorsed the use of

 puberty blockers, and that pediatricians are neither endocrinologists nor psychiatrists. Dr. James

 Cantor published a peer-reviewed paper detailing that the Academy’s statement is not evidence-

 based and misdescribed the few scientific sources it did reference. (Cantor 2019.) It has been

 well noted in the field that the AAP has declined invitations to publish any rebuttal to Dr.

 Cantor’s analysis. But this is all part of ongoing debate, simply highlighting the absence of any

 generally agreed standard of care.

        85.     Dr. Adkins asserts that the Society’s 2017 Practice Guidelines on Endocrine

 Treatment of Gender-Dysphoric/Gender-Incongruent Persons (Hembree et al. 2017) amount to

 “widely accepted standards of care” that were “developed through rigorous scientific processes.”

 (Adkins at 2, 5 and 6.)

        86.     Contrary to Dr. Adkins’ assertion, the 2017 Endocrine Society Guidelines

 themselves expressly state that they are not “standards of care.” The document states: “The

 guidelines cannot guarantee any specific outcome, nor do they establish a standard of care. The

 guidelines are not intended to dictate the treatment of a particular patient.” (Hembree et al. 2017

 at 3895 (emphasis added).) Nor do the Guidelines claim to be the result of a “rigorous scientific

 process.” Rather, they expressly advise that their recommendations concerning use of puberty

 blockers are based only on “low quality” evidence.




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        87.     Dr. Adkins notes that the 2017 Guidelines assert that: “patients with gender

 dysphoria often must be treated with ‘a safe and effective hormone regimen. . .’” (Adkins at 6.)

 Notably, however, the Guidelines do not make any firm statement that use of puberty blockers

 for this purpose is safe, and the Guidelines go no further than “suggest[ing]” use of puberty

 blockers—language the Guidelines warn represents only a “weak recommendation.” (Hembree

 2017 at 3872.) Several authors have pointed out that not only were the Endocrine Society

 suggestions regarding use of puberty blockers reached on the basis of “low quality” evidence,

 but its not-quite claims of ‘safety’ and ‘efficacy’ are starkly contradicted by several in-depth

 evidence reviews. (Laidlaw et al., 2019; Malone et al. 2021.) I detail these contradictory findings

 in more detail in Section VII below.

        88.     While there is too little meaningful clinical data and no consensus concerning best

 practices or a “standard of care” this area, there are long-standing ethical principles that do or

 should bind all medical and mental health professionals as they work with, counsel, and

 prescribe for these individuals.

        89.     One of the oldest and most fundamental principles guiding medical and

 psychological care—part of the Hippocratic Oath—is that the physician must “do no harm.” This

 states an ethical responsibility that cannot be delegated to the patient. Physicians themselves

 must weigh the risks of treatment against the harm of not treating. If the risks of treatment

 outweigh the benefits, principles of medical ethics prohibit the treatment.

 IV.    TRANSGENDER IDENTITY IS NOT BIOLOGICALLY BASED.

        90.     Dr. Safer asserts that “Although the detailed mechanisms are unknown, there is a

 medical consensus that there is a significant biologic component underlying gender identity” and




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 that gender identity is a “largely biological phenomenon.” (Safer at 5, 6.) Many advocates of

 affirmative care assert this belief.

         91.     However, it is not true. There is no medical consensus that transgender identity

 has any biological basis. Furthermore, there is considerable well-documented evidence that is

 inconsistent with the hypothesis of a biological basis for gender identity—at least in the large

 majority of currently-presenting patients.

         A.      No theory of biological basis has been scientifically validated.

         92.     At the outset, the attempt to identify a single “typically . . . biological” cause for

 psychiatric conditions (including gender dysphoria) has been strongly criticized as “out of step

 with the rest of medicine” and as a lingering “ghost” of an understanding of the nature of

 psychiatric conditions that is now broadly disproven. (Kendler 2019 at 1088-1089.) Gender

 dysphoria is defined and diagnosed only as a psychiatric, not a medical, condition.

         93.     Nonetheless, in a published article, Dr. Safer has referred to data that he asserts

 supports the existence of “a fixed, biologic basis for gender identity.” (Saraswat et al. 2015 at

 199.) But on the contrary, this article itself states that studies attempting to find an association

 between genetics and transgender identification “have been contradictory,” and that “no

 statistically significant association between particular genes [and transgender identity] has been

 described.” (Saraswat 2015 at 202.)

         94.     Similarly, while some have pointed to very small brain scan studies as evidence of

 a biological basis, no studies of brain structure of individuals identifying as transgender have

 found any statistically significant correlation between any distinct structure or pattern and

 transgender identification, after controlling for sexual orientation and exposure to exogenous

 hormones. (Sarawat et al. 2015 at 202; Frigerio et al. 2021.)




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        95.     Indeed, the Endocrine Society 2017 Guidelines recognizes: “With current

 knowledge, we cannot predict the psychosexual outcome for any specific child” and “there are

 currently no criteria to identify the GD/gender-incongruent children to whom this applies. At the

 present time, clinical experience suggests that persistence of GD/gender incongruence can only

 be reliably assessed after the first signs of puberty.” (Hembree et al. 2017 at 3876.)

        96.     In short, no biological test or measurement has been identified that provides any

 ability to predict which children will exhibit, and which children will persist in, gender dysphoria

 or a transgender identification. Unless and until such a test is identified, the theory of a biological

 basis is a hypothesis still searching for support. A hypothesis is not a fact, and responsible

 scientists will not confuse hypothesis with fact.

        B.      Large changes across time and geography in the epidemiology of transgender
                identification are inconsistent with the hypothesis of a biological basis for
                transgender identity.

        97.     In fact, there is substantial evidence that the “biological basis” theory is incorrect,

 at least with respect to the large majority of patients presenting with gender dysphoria today.

        98.     Vast changes in incidence: Historically, there were very low reported rates of

 gender dysphoria or transgender identification. In 2013, the DSM-5 estimated the incidence of

 gender dysphoria in adults to be at 2-14 per 100,000, or between 0.002% and 0.014%. (APA

 2013 at 454.) Recently however, these numbers have increased dramatically, particularly in

 adolescent populations. Recent surveys estimate that between 2-9% of high school students self-

 identify as transgender or “gender non-conforming.” with a significantly large increase in

 adolescents claiming “nonbinary” gender identity as well. (Johns et al. 2019; Kidd et al. 2021.)

 Consistent with these surveys, gender clinics around the world have seen numbers of referrals

 increase rapidly in the last decade, with the Tavistock clinic in London seeing a 30-fold increase

 in the last decade (GIDS 2019), and similar increases being observed in Finland (Kaltiala-Heino


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 et al. 2018), the Netherlands (de Vries 2020), and Canada (Zucker 2019). The rapid change in the

 number of individuals experiencing gender dysphoria points to social and cultural, not biological,

 causes.

           99.    Large change in sex ratio: In recent years there has been a marked shift in the

 sex ratio of patients presenting with gender dysphoria or transgender identification. The

 Tavistock clinic in London saw a ratio of 4 biological females(F):5 biological males(M) shift to

 essentially 11F:4M in a decade. (GIDS 2019.) One researcher summarizing multiple sources

 documented a swing of 1F:2M or 1F:1.4M through 2005 to 2F:1M generally (but as high as

 7F:1M) in more recent samples. (Zucker 2019 at 2.) This phenomenon has been noted by Dr.

 Erica Anderson, who said: “The data are very clear that adolescent girls are coming to gender

 clinics in greater proportion than adolescent boys. And this is a change in the last couple of

 years. And it’s an open question: What do we make of that? We don’t really know what’s going

 on. And we should be concerned about it.” (Davis 2022.) Again, this large and rapid change in

 who is experiencing gender dysphoria points to social, not biological, causes.

           100.   Clustering: Dr. Littman’s recent study documented “clustering” of new

 presentations of gender dysphoria among natal females in specific schools and among specific

 friend groups. This again points strongly to social causes for gender dysphoria at least among the

 adolescent female population. (Littman 2018.)

           101.   Desistance: As I discuss later, there are very high levels of desistance among

 children diagnosed with gender dysphoria, as well as increasing (or at least increasingly vocal)

 numbers of individuals who first asserted a transgender identity during or after adolescence,

 underwent substantial medical interventions to “affirm” that trans-identity, and then “desisted”




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 and reverted to a gender identity congruent with their sex. (See Section V.B below.) These

 narratives, too, point to a social and/or psychological cause, rather than a biological one.

        102.    “Fluid” gender identification: Advocates and some practitioners assert that

 gender identity is not binary, but can span an almost endless range of gender identity self-labels,

 which a given individual may try on, inhabit, and often discard. (A recent article identifies 72. 5) I

 have not heard any theory offered for how there is or could be a biological basis for gender

 identity as now expansively defined.

        103.    I frequently read attempts to explain away the points in this Section IV. They

 include: these problems always existed, but children are now learning that there are effective

 treatments for their dilemma and are simply seeking them. And; children have hidden their trans

 identity throughout childhood and now that trans people are recognized and accepted, they are

 presenting themselves. And; now pediatricians realize that girls can have gender dysphoria and

 are referring them to gender clinics. But these are all mere hypotheses unsupported by concrete

 evidence. One set of unproven hypotheses cannot provide support for the unproven hypothesis of

 biological basis. And none of these hypotheses could even potentially explain the failure of

 science thus far to identify any predictive biological marker of transgender identification.

        104.    Therapies affect gender identity outcomes: Finally, the evidence shows that

 therapeutic choices can have a powerful effect on whether and how gender identity does change,

 or gender dysphoria desists. Social transition of juveniles, for instance, strongly influences

 gender identity outcomes to such an extent that it has been described a “unique predictor of




 5
  Allarakha, What Are the 72 Other Genders?, MedicineNet, available at:
 https://www.medicinenet.com/what_are_the_72_other_genders/article.htm


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 persistence.” (See Section V.B below.) Again, this observation cuts against the hypothesis of

 biological origin.

        C.      Disorders of sexual development (or DSDs) and gender identity are very
                different phenomena, and it is an error to conflate the two.

        105.    Dr. Adkins spends much of her report discussing individuals who suffer from

 disorders of sexual development (DSDs), apparently as evidence that sex is not binary or clearly

 defined, or as somehow supporting the idea that transgender identification has a biological basis.

 (Adkins at 9.) I have extensively detailed that sex is clear, binary, and determined at conception.

 (Section II.) Here I explain that gender dysphoria is an entirely different phenomenon than

 DSDs—which unlike transgender identity are indeed biological phenomena. It is an error to

 conflate the two distinct concepts.

        106.    Every DSD reflects a genetic enzymatic defect with negative anatomic and

 physiological consequences. As the Endocrine Society recognized in a 2021 statement: “Given

 the complexities of the biology of sexual determination and differentiation, it is not surprising

 that there are dozens of examples of variations or errors in these pathways associated with

 genetic mutations that are now well known to endocrinologists and geneticists; in medicine,

 these situations are generally termed disorders of sexual development (DSD) or differences in

 sexual development.” Gender Identity on the other hand is uniformly defined as a subjective

 “sense” of being, a feeling or state of mind. (Section II.C.)

        107.    The vast majority of those who experience gender dysphoria or a transgender

 identity do not suffer from any DSD, nor from any genetic enzymatic disorder at all. Conversely,

 many who suffer from a DSD do not experience a gender identity different from their

 chromosomal sex (although some may). In short, those who suffer from gender dysphoria are not

 a subset of those who suffer from a DSD, nor are those who suffer from a DSD a subset of those



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 who suffer from gender dysphoria. The two are simply different phenomena, one physical, the

 other mental, defined only as a psychiatric condition. The issue here is not whether biological

 forces play a role in personality development; it is whether there is strong evidence that it is

 determinative. Science has come too far to revert to single explanations for gender dysphoria or

 any psychiatric diagnosis.

        108.    The importance of this distinction is evident from the scientific literature. For

 example, in a recent study of clinical outcomes for gender dysphoric patients, Tavistock Clinic

 researchers excluded from their analysis any patients who did not have “normal endocrine

 function and karyotype consistent with birth registered sex.” (Carmichael et al. 2021 at 4.) In

 other words, the researchers specifically excluded from their study anyone who suffered from

 genetic-based DSD, or a DSD comprising any serious defect in hormonal use pathways, in order

 to ensure the study was focused only on individuals experiencing the psychological effects of

 what we might call “ordinary” gender dysphoria.

        D.      Studies of individuals born with DSDs suggest that there may be a biological
                predisposition towards typical gender identifications, but provide no support
                for a biological basis for transgender identification.

        109.    Studies of individuals born with serious DSDs have been pointed to as evidence

 of a biological basis for transgender identification. They provide no such support.

        110.    One well-known study by Meyer-Bahlburg reviewed the case histories of a

 number of XY (i.e. biologically male) individuals born with severe DSDs who were surgically

 “feminized” in infancy and raised as girls. (Meyer-Bahlburg 2005.) The majority of these

 individuals nevertheless later adopted male gender identity—suggesting a strong biological

 predisposition towards identification aligned with genetic sex, even in the face of feminized

 genitalia from earliest childhood, and parental “affirmation” in a transgender identity. But at the

 same time, the fact that some of these genetically male individuals did not later adopt male


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 gender identity serves as evidence that medical and social influences can indeed encourage and

 sustain transgender identification.

          111.   Importantly, the Meyer-Bahlburg study did not include any individuals who were

 assigned a gender identity congruent with their genetic sex who subsequently adopted a

 transgender identity. Therefore, the study can provide no evidence of any kind that supports the

 hypothesis of a biological basis for transgender identity. A second study in this area (Reiner &

 Gearhart 2004) likewise considered exclusively XY subjects, and similarly provides evidence

 only for a biological bias towards a gender identity congruent with one’s genetic sex, even in the

 face of medical and social “transition” interventions. None of this provides any evidence at all of

 a biological basis for transgender identity.

 V.       GENDER IDENTITY IS EMPIRICALLY NOT FIXED FOR MANY
          INDIVIDUALS.

          112.   Dr. Safer states that gender identity is “durable and cannot be changed by medical

 intervention.” (Safer at 5.) Dr. Adkins likewise states that gender identity “cannot be voluntarily

 changed.” (Adkins at 4.) There is extensive evidence that this is not correct. Instead, gender

 identity changes over time for many individuals. 6 I summarize their two opinions as: they assert

 that a trans identity in a child or adolescent is immutable—unchangeable by medical,

 psychotherapeutic, or developmental processes.

          A.     Most children who experience gender dysphoria ultimately “desist” and
                 resolve to cisgender identification.

          113.   A distinctive and critical characteristic of juvenile gender dysphoria is that

 multiple studies from separate groups and at different times have reported that in the large




 6
     See n1 supra.


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 majority of patients, absent a substantial intervention such as social transition or puberty

 blocking hormone therapy, it does not persist through puberty.

            114.   A recent article reviewed all existing follow-up studies that the author could

 identify of children diagnosed with gender dysphoria (11 studies), and reported that “every

 follow-up study of GD children, without exception, found the same thing: By puberty, the

 majority of GD children ceased to want to transition.” (Cantor 2019 at 1.) Another author

 reviewed the existing studies and reported that in “prepubertal boys with gender discordance . . .

 the cross gender wishes usually fade over time and do not persist into adulthood, with only 2.2%

 to 11.9% continuing to experience gender discordance.” (Adelson et al. 2012 at 963; see also

 Cohen-Kettinis 2008 at 1895.) The Endocrine Society recognized this important baseline fact in

 its 2017 Guidelines. (Hembree 2017 at 3879.) It should be noted that the reason that the Dutch

 Protocol waited until age 14 to initiate puberty blockers was that it was well known that many

 children would desist if left free of hormonal intervention until that age.

            115.   Findings of high levels of desistance among children who experience gender

 dysphoria or incongruence have been reaffirmed in the face of critiques through thorough

 reanalysis of the underlying data. (Zucker 2018.)

            116.   As I explained in detail in Section IV above, it is not yet known how to

 distinguish those children who will desist from that small minority whose trans identity will

 persist.

            117.   It does appear that prevailing circumstances during particularly formative years

 can have a significant impact on the outcome of a juvenile’s gender dysphoria. A 2016 study

 reviewing the follow-up literature noted that “the period between 10 and 13 years” was “crucial”

 in that “both persisters and desisters stated that the changes in their social environment, the




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 anticipated and actual feminization or masculinization of their bodies, and the first experiences

 of falling in love and sexual attraction in this period, contributed to an increase (in the persisters)

 or decrease (in the desisters) of their gender related interests, behaviors, and feelings of gender

 discomfort.” (Ristori & Steensma 2016 at 16.) As I discuss in Section VI below, there is

 considerable evidence that early transition and affirmation causes far more children to persist in a

 transgender identity.

        B.      Desistance is increasingly observed among teens and young adults who first
                manifest GD during or after adolescence.

        118.    Desistance within a relatively short period may also be a common outcome for

 post-pubertal youths who exhibit recently described “rapid onset gender disorder.” I have

 observed an increasingly vocal online community of young women who have reclaimed a female

 identity after claiming a male gender identity at some point during their teen years, and young

 “detransitioners” (individuals in the process of reidentifying with their birth sex after having

 undergone a gender transition) are now receiving increasing attention in both clinical literature

 and social media channels. (It is my understanding that March 12, 2022, is scheduled to be

 Detransition Awareness Day.)

        119.    Almost all scientific articles on this topic have appeared within the last few years.

 Perhaps this historic lack of coverage is not entirely surprising – one academic who undertook an

 extensive review of the available scientific literature in 2021 noted that the phenomenon was

 “socially controversial” in that it “poses significant professional and bioethical challenges for

 those clinicians working in the field of gender dysphoria.” (Expósito Campos 2021 at 270.) This

 review reported on multifarious reasons for why individuals were motivated to detransition,

 which included coming to “understand[ ] how past trauma, internalized sexism, and other

 psychological difficulties influenced the experience of GD.”



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        120.    In 2021, Lisa Littman of Brown University conducted a ground-breaking study of

 100 teenage and young adults who had transitioned and lived in a transgender identity for a

 number of years, and then “detransitioned” or changed back to a gender identity matching their

 sex. Littman noted that the “visibility of individuals who have detransitioned is new and may be

 rapidly growing.” (Littman 2021 at 1.) Of the 100 detransitioners included in Littman’s study,

 60% reported that their decision to detransition was motivated (at least in part) by the fact that

 they had become more comfortable identifying as their natal sex, and 38% had concluded that

 their gender dysphoria was caused by something specific such as trauma, abuse, or a mental

 health condition. (Littman 2021 at 9.)

        121.    A significant majority (76%) did not inform their clinicians of their detransition.

 (Littman 2021 at 11.)

        122.    A similar study that recruited a sample of 237 detransitioners (the large majority

 of whom had initially transitioned in their teens or early twenties) similarly reported that a

 common reason for detransitioning was the subject’s conclusion that his or her gender dysphoria

 was related to other issues (70% of the sample). (Vandenbussche 2021.)

        123.    The existence of increasing numbers of youth or young adult detransitioners has

 also been recently noted by Dr. Edwards-Leeper and Dr. Anderson. (Edwards-Leeper &

 Anderson 2021.) Edwards-Leeper and Anderson noted “the rising number of detransitioners that

 clinicians report seeing (they are forming support groups online)” which are “typically youth

 who experienced gender dysphoria and other complex mental health issues, rushed to medicalize

 their bodies and regretted it.” Other clinicians working with detransitioners have also noted the

 recent phenomenon. (Marchiano 2020.)




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        124.    A growing body of evidence suggests that for many teens and young adults, a

 post-pubertal onset of transgender identification can be a transient phase of identity exploration,

 rather than a permanent identity, as evidenced by a growing number of young detransitioners

 (Entwistle 2020; Littman 2021; Vandenbussche 2021). Previously, the rate of detransition and

 regret was reported to be very low, although these estimates suffered from significant limitations

 and were likely undercounting true regret (D’Angelo 2018). As gender-affirmative care has

 become popularized, the rate of detransition appears to be accelerating.

        125.    A recent study from a UK adult gender clinic observed that 6.9% of those treated

 with gender-affirmative interventions detransitioned within 16 months, and another 3.4% had a

 pattern of care suggestive of detransition, yielding a rate of probable detransition in excess of

 10%. Another 21.7%, however, disengaged from the clinic without completing their treatment

 plan. While some of these individuals later re-engaged with the gender service, the authors

 concluded, “detransitioning might be more frequent than previously reported.” (Hall et al. 2021).

        126.    Another study from a UK primary care practice found that 12.2% of those who

 had started hormonal treatments either detransitioned or documented regret, while the total of

 20% stopped the treatments for a wider range of reasons. The mean age of their presentation with

 gender dysphoria was 20, and the patients had been taking gender-affirming hormones for an

 average 5 years (17 months-10 years) prior to discontinuing. Comparing these much higher rates

 of treatment discontinuation and detransition to the significantly lower rates reported by the older

 studies, the researchers noted: “Thus, the detransition rate found in this population is novel and

 questions may be raised about the phenomenon of overdiagnosis, overtreatment, or iatrogenic

 harm as found in other medical fields” (Boyd et al. 2022 at 15.) Indeed, given that regret may

 take up to 8-11 years to materialize (Dhejne et al., 2014; Wiepjes et al., 2018), many more




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 detransitioners are likely to emerge in the coming years. Detransitioner research is still in its

 infancy, but the Littman and Vandenbussche studies in 2021 both report that detransitioners from

 the recently transitioning cohorts feel they were rushed into medical gender-affirmative

 interventions with irreversible effects, often without the benefit of appropriate, or in some

 instances any, psychologic exploration.

 VI.  TRANSITION AND AFFIRMATION IS AN IMPORTANT PSYCHOLOGICAL
 AND MEDICAL INTERVENTION THAT CHANGES GENDER IDENTITY
 OUTCOMES.

        A.      If both a typical gender or a transgender long-term gender identity outcome
                are possible for a particular patient, the alternatives are not medically
                neutral.

        127.    Where a juvenile experiences gender dysphoria, the gender identity that is

 stabilized will have a significant impact on the course of their life. Living in a transgender

 identity for a time will make desistance, if it is ever considered, more difficult to accomplish.

        128.    If the juvenile desists from the gender dysphoria and becomes reasonably

 comfortable with a gender identity congruent with their sex—the most likely outcome from a

 statistical perspective absent affirming intervention—the child will not require ongoing

 pharmaceutical maintenance and will not have their fertility destroyed post-puberty.

        129.    However, if the juvenile persists in a transgender identity, under current practices,

 the child is most likely to require regular administration of hormones for the rest of their lives,

 exposing them to significant physical, mental health, and relational risks (which I detail in

 Section IX below), as well as being irreversibly sterilized chemically and/or surgically. The child

 is therefore rendered a “patient for life” with complex medical implications further to a

 scientifically unproven course of treatment.




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        B.      Social transition of young children is a powerful psychotherapeutic
                intervention that radically changes outcomes, almost eliminating desistance.

        130.    Dr. Adkins asserts that social transition is a “a critical part” of the treatment of

 gender dysphoria. (Adkins at 6, 7). Rather, social transition has a critical effect on the persistence

 of gender dysphoria. It is evident from the scientific literature that engaging in therapy that

 encourages social transition before or during puberty—which would include participation on

 athletic teams designated for the opposite sex—is a psychotherapeutic intervention that

 dramatically changes outcomes. A prominent group of authors has written that “The gender

 identity affirmed during puberty appears to predict the gender identity that will persist into

 adulthood.” (Guss et al. 2015 at 421.) Similarly, a comparison of recent and older studies

 suggests that when an “affirming” methodology is used with children, a substantial proportion of

 children who would otherwise have desisted by adolescence—that is, achieved comfort

 identifying with their natal sex—instead persist in a transgender identity. (Zucker 2018 at 7.)

        131.    Indeed, a review of multiple studies of children treated for gender dysphoria

 across the last three decades found that early social transition to living as the opposite sex

 severely reduces the likelihood that the child will revert to identifying with the child’s natal sex,

 at least in the case of boys. That is, while, as I review above, studies conducted before the

 widespread use of social transition for young children reported desistance rates in the range of

 80-98%, a more recent study reported that fewer than 20% of boys who engaged in a partial or

 complete social transition before puberty had desisted when surveyed at age 15 or older. (Zucker

 2018 at 7 7; Steensma et al. 2013.) 8 Another researcher observed that a partial or complete gender



        7
           Zucker found social transition by the child to be strongly correlated with persistence for
 natal boys, but not for girls. (Zucker 2018 at 5.)
         8
           Only 2 (3.6%) of 56 of the male desisters observed by Steensma et al. had made a
 complete or partial transition prior to puberty, and of the twelve males who made a complete or


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 social transition prior to puberty “proved to be a unique predictor of persistence.” (Singh et al.

 2021 at 14.)

        132.    Some vocal practitioners of prompt affirmation and social transition even proudly

 claim that essentially no children who come to their clinics exhibiting gender dysphoria or cross-

 gender identification desist in that identification and return to a gender identity consistent with

 their biological sex. 9 This is a very large change as compared to the desistance rates documented

 apart from social transition.

        133.    Even voices generally supportive of prompt affirmation and social transition are

 acknowledging a causal connection between social transition and this change in outcomes. As

 the Endocrine Society recognized in its 2017 Guidelines: “If children have completely socially

 transitioned, they may have great difficulty in returning to the original gender role upon entering

 puberty. . . [S]ocial transition (in addition to GD/gender incongruence) has been found to

 contribute to the likelihood of persistence.” (Hembree et al. 2017 at 3879.) The fact is that these

 unproven interventions with the lives of kids and their families have systematically documented

 outcomes. Given this observed phenomenon, I agree with Dr. Ken Zucker who has written that

 social transition in children must be considered “a form of psychosocial treatment.” (Zucker

 2020 at 1.)

        134.    Moreover, as I review below, social transition cannot be considered or decided

 alone. Studies show that engaging in social transition starts a juvenile on a “conveyor belt” path




 partial transition prior to puberty, only two had desisted when surveyed at age 15 or older.
 Steensma 2013 at 584.
          9
            See, e.g., Ehrensaft 2015 at 34: “In my own clinical practice . . . of those children who
 are carefully assessed as transgender and who are allowed to transition to their affirmed gender,
 we have no documentation of a child who has ‘desisted’ and asked to return to his or her
 assigned gender.”


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 that almost inevitably leads to the administration of puberty blockers, which in turn almost

 inevitably leads to the administration of cross-sex hormones. The emergence of this well-

 documented path means that the implications of taking puberty blockers and cross-sex hormones

 must be taken into account even where “only” social transition is being considered or requested

 by the child or family. As a result, there are a number of important “known risks” associated

 with social transition.

        C.      Administration of puberty blockers is a powerful medical and
                psychotherapeutic intervention that radically changes outcomes, almost
                eliminating desistance on the historically observed timeline.

        135.    Dr. Adkins speaks of the use of puberty blockers as though this major hormonal

 disruption of some of the most basic aspects of ordinary human development were entirely

 benign, acting as a “pause.” (Adkins at 7.) This optimistic view is not based on science. In fact, it

 should be understood that puberty blockers are usually administered to early-stage adolescents as

 part of a path that includes social transition. Moreover, medicine does not know what the long-

 term health effects on bone, brain, and other organs are of a “pause” between ages 11-16.

 Medicine also does not know if the long-term effects of these compounds are different in boys

 than in girls. The mental health professional establishment likewise does not know the long-term

 effects on coping skills, interpersonal comfort, and intimate relationships of this “pause” while

 one’s peers are undergoing their maturational gains in these vital arenas of future mental health. I

 address medical, social, and mental health risks associated with the use of puberty blockers in

 Section IX. Here, I note that the data strongly suggests that the administration of puberty

 blockers, too, must be considered to be a component of a “psychosocial treatment” with complex

 implications, rather than a “pause.”

        136.    Multiple studies show that the large majority of children who begin puberty

 blockers go on to receive cross-sex hormones. (de Vries 2020 at 2.) A recent study by the


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 Tavistock and Portman NHS Gender Identity Development Service (UK)—the world’s largest

 gender clinic—found that 98% of adolescents who underwent puberty suppression continued on

 to cross-sex hormones. (Carmichael et al 2021 at 12.) 10

        137.    These studies demonstrate that going on puberty blockers virtually eliminates the

 possibility of desistance in juveniles. Rather than a “pause,” puberty blockers appear to act as a

 psychosocial “switch,” decisively shifting many children to a persistent transgender identity.

 Therefore, as a practical and ethical matter the decision to put a child on puberty blockers must

 be considered as the equivalent of a decision to put that child on cross-sex hormones, with all the

 considerations and informed consent obligations implicit in that decision.

 VII. TRANSITION AND AFFIRMATION ARE EXPERIMENTAL THERAPIES
 THAT HAVE NOT BEEN SHOWN TO IMPROVE MENTAL OR PHYSICAL HEALTH
 OUTCOMES BY YOUNG ADULTHOOD.

        138.    It is undisputed that children and adolescents who present with gender dysphoria

 exhibit a very high level of mental health comorbidities. (Section II.C.) Whether the gender

 dysphoria is cause or effect of other diagnosed or undiagnosed mental health conditions, or

 whether these are merely coincident comorbidities, is hotly disputed, but the basic fact is not.

        139.    Dr. Adkins asserts that when the “transition, affirmation, and hormones” therapy

 that she advocates is followed, “gender dysphoria is easily managed” (Adkins at 5), implying

 that transition and hormone therapy have been proven to be effective in relieving gender

 dysphoria and the general mental health distress that broadly afflicts these children and

 adolescents. This is scientifically incorrect. It ignores both what is known and what is unknown.




        10
           See also Brik 2020 where Dutch researchers found nearly 97% of adolescents who
 received puberty blockers proceeded to cross-sex hormones.


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        A.      The knowledge base concerning therapies for gender dysphoria is “very low
                quality.”

        140.    At the outset, it is important for all sides to admit that the knowledge base

 concerning the causes and treatment of gender dysphoria has low scientific quality.

        141.    In evaluating claims of scientific or medical knowledge, it is axiomatic in science

 that no knowledge is absolute, and to recognize the widely accepted hierarchy of reliability when

 it comes to “knowledge” about medical or psychiatric phenomena and treatments. Unfortunately,

 in this field opinion is too often confused with knowledge, rather than clearly locating what

 exactly is scientifically known. In order of increasing confidence, such “knowledge” may be

 based upon data comprising:

                a. Expert opinion—it is perhaps surprising to educated laypersons that expert

        opinion standing alone is the lowest form of knowledge, the least likely to be proven

        correct in the future, and therefore does not garner as much respect from professionals as

        what follows;

                b. A single case or series of cases (what could be called anecdotal evidence)

        (Levine 2016 at 239.);

                c. A series of cases with a control group;

                d. A cohort study;

                e. A randomized double-blind clinical trial;

                f. A review of multiple trials;

                g. A meta-analysis of multiple trials that maximizes the number of patients

        treated despite their methodological differences to detect trends from larger data sets.

        142.    Prominent voices in the field have emphasized the severe lack of scientific

 knowledge in this field. The American Academy of Child and Adolescent Psychiatry has



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 recognized that “Different clinical approaches have been advocated for childhood gender

 discordance. . . . There have been no randomized controlled trials of any treatment. . . . [T]he

 proposed benefits of treatment to eliminate gender discordance … must be carefully weighed

 against … possible deleterious effects.” (Adelson et al. at 968–69.) Similarly, the American

 Psychological Association has stated, “because no approach to working with [transgender and

 gender nonconforming] children has been adequately, empirically validated, consensus does not

 exist regarding best practice with pre-pubertal children.” (APA 2015 at 842.)

        143.    Critically, “there are no randomized control trials with regard to treatment of

 children with gender dysphoria.” (Zucker 2018 at 8.) On numerous critical questions relating to

 cause, developmental path if untreated, and the effect of alternative treatments, the knowledge

 base remains primarily at the level of the practitioner’s exposure to individual cases, or multiple

 individual cases. As a result, claims to certainty are not justifiable. (Levine 2016 at 239.)

        144.    Within the last two years, at least three formal evidence reviews concerning

 hormonal interventions for gender dysphoria have been conducted. All three found all of the

 available clinical evidence to be very low quality.

        145.    The British National Health Service (NHS) commissioned formal “evidence

 reviews” of all clinical papers concerning the efficacy and safety of puberty blockers and cross-

 sex hormones as treatments for gender dysphoria. These evidence reviews were performed by the

 U.K. National Institute for Health and Care Excellence (NICE), applying the respected

 “GRADE” criteria for evaluating the strength of clinical evidence.

        146.    Both the review of evidence concerning puberty blockers and the review of

 evidence concerning cross-sex hormones were published in 2020, and both found that all

 available evidence as to both efficacy and safety was “very low quality” according to the




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 GRADE criteria. (NICE 2021a; NICE 2021b.) “Very low quality” according to GRADE means

 there is a high likelihood that the patient will not experience the hypothesized benefits of the

 treatment. (Balshem et al. 2011.)

        147.    Similarly, the highly respected Cochrane Library—the leading source of

 independent systematic evidence reviews in health care—commissioned an evidence review

 concerning the efficacy and safety of hormonal treatments now commonly administered to

 “transitioning transgender women” (i.e., testosterone suppression and estrogen administration to

 biological males). That review, also published in 2020, concluded that “We found insufficient

 evidence to determine the efficacy or safety of hormonal treatment approaches for transgender

 women in transition.” (Haupt et al. 2020 at 2.) It must be understood that both the NICE and the

 Cochrane reviews considered all published scientific studies concerning these treatments.

        148.    As to social transition, as I have noted above, considerable evidence suggests that

 socially transitioning a pre-pubertal child puts him or her on a path from which very few children

 escape—a path which includes puberty blockers and cross-sex hormones before age 18. As a

 practical matter, then, a decision about social transition for a child must be made in light of what

 is known and what is unknown about the effects of those expected hormonal interventions.

        149.    I discuss safety considerations in Section IX below. Here, I detail what is known

 about the effectiveness of social and hormonal transition and affirmation to improve the mental

 health of individuals diagnosed with gender dysphoria.

        B.      Youth who adopt a transgender identity show no durable improvement in
                mental health after social, hormonal, or surgical transition and affirmation.

        150.    As I noted above, the evidence reviews for the efficacy and safety of hormonal

 interventions published in 2020 concluded that the supporting evidence is so poor that there is “a




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 high likelihood that the patient will not experience the hypothesized benefits of the treatment.”

 There is now some concrete evidence that on average they do not experience those benefits.

        151.    An important paper published in 2021 by Tavistock clinic clinicians provided the

 results of the first longitudinal study that measured widely used metrics of general psychological

 function and suicidality before commencement of puberty blockers, and then at least annually

 after commencing puberty blockers. After up to three years, they “found no evidence of change

 in psychological function with GnRHa treatment as indicated by parent report (CBCL) or self-

 report (YSR) of overall problems, internalizing or externalizing problems or self-harm” as

 compared to the pre-puberty-blocker baseline evaluations. “Outcomes that were not formally

 tested also showed little change.” (Carmichael at al. 2021 at 18-19.) Similarly, a study by

 Branström and Pachankis of the case histories of a set of individuals diagnosed with GD in

 Sweden found no positive effect on mental health from hormonal treatment. (Landen 2020.)

        152.    A cohort study by authors from Harvard and Boston Children’s Hospital found

 that youth and young adults (ages 12-29) who self-identified as transgender had an elevated risk

 of depression (50.6% vs. 20.6%) and anxiety (26.7% vs. 10.0%); a higher risk of suicidal

 ideation (31.1% vs. 11.1%), suicide attempts (17.2% vs. 6.1%), and self-harm without lethal

 intent (16.7% vs. 4.4%) relative to the matched controls; and a significantly greater proportion of

 transgender youth accessed inpatient mental health care (22.8% vs. 11.1%) and outpatient mental

 health care (45.6% vs. 16.1%) services. (Reisner et al. 2015 at 6.) Similarly, a recent longitudinal

 study of transgender and gender diverse youth and young adults in Chicago found rates of

 alcohol and substance abuse “substantially higher than those reported by large population-based

 studies of youth and adults.” (Newcomb et al. 2020 at 14.) Members of the clinical and research

 team at the prominent Dutch VU University gender dysphoria center recently compared mental




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 health metrics of two groups of subjects before (mean age 14.5) and after (mean age 16.8)

 puberty blockers. But they acknowledged that the structure of their study meant that it “can . . .

 not provide evidence about . . . long-term mental health outcomes,” and that based on what

 continues to be extremely limited scientific data, “Conclusions about the long-term benefits of

 puberty suppression should . . . be made with extreme caution.” In other words, we just don’t

 know. (van der Miesen et al. 2020 at 703.)

        153.    Kiera Bell, who was diagnosed with gender dysphoria at the Tavistock Clinic,

 given cross-sex hormones, and subjected to a mastectomy, before desisting and reclaiming her

 female gender identity, and a Swedish teen girl who appeared in a recent documentary after

 walking that same path, have both stated that they feel that they were treated “like guinea pigs,”

 experimental subjects. They are not wrong.

        C.      Long-term mental health outcomes for individuals who persist in a
                transgender identity are poor.

        154.    The responsible MHP cannot focus narrowly on the short-term happiness of the

 young patient, but must instead consider the happiness and health of the patient from a “life

 course” perspective. When we look at the available studies of individuals who continue to

 inhabit a transgender identity across adult years, the results are strongly negative.

        155.    In the United States, the death rates of trans veterans are comparable to those with

 schizophrenia and bipolar diagnoses—20 years earlier than expected. These crude death rates

 include significantly elevated rates of substance abuse as well as suicide. (Levine 2017 at 10.)

 Similarly, researchers in Sweden and Denmark have reported on almost all individuals who

 underwent sex-reassignment surgery over a 30-year period. (Dhejne et al. 2011; Simonsen et al.

 2016.) The Swedish follow-up study similarly found a suicide rate in the post-SRS population




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 19.1 times greater than that of the controls; both studies demonstrated elevated mortality rates

 from medical and psychiatric conditions. (Levine 2017 at 10.)

        156.    A recent study in the American Journal of Psychiatry reported high mental health

 utilization patterns of adults for ten years after surgery for approximately 35% of patients.

 (Bränström & Panchankis, 2020.) Indeed, earlier Swedish researchers in a long-term study of all

 patients provided with SRS over a 30-year period (median time since SRS of > 10 years)

 concluded that individuals who have SRS exhibit such poor mental health that they should be

 provided very long-term psychiatric care as the “final” transition step of SRS. (Dhejne et al.

 2011, at 6-7.) Unfortunately, across the succeeding decade, in Sweden and elsewhere their

 suggestion has been ignored.

        157.    I will note that these studies do not tell us whether the subjects first experienced

 gender dysphoria as children, adolescents, or adults, so we cannot be certain how their findings

 apply to each of these subpopulations which represent quite different pathways. But in the

 absence of knowledge, we should be cautious.

        158.    Meanwhile, no studies show that affirmation of pre-pubescent children or

 adolescents leads to more positive outcomes (mental, physical, social, or romantic) by, e.g., age

 25 or older than does “watchful waiting” or ordinary therapy.

        159.    The many studies that I have cited here warn us that as we look ahead to the

 patient’s life as a young adult and adult, the prognosis for the physical health, mental health, and

 social well-being of the child or adolescent who transitions to live in a transgender identity is not

 good. Gender dysphoria is not “easily managed” when one understands the marginalized,

 vulnerable physical, social, and psychological status of adult trans populations.




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 VIII. TRANSITION AND AFFIRMATION DO NOT DECREASE, AND MAY
 INCREASE, THE RISK OF SUICIDE.

         A.     The risk of suicide among transgender youth is confused and exaggerated in
                the public mind.

         160.   While suicide is closely linked to mental health, I comment on it separately

 because rhetoric relating to suicide figures so prominently in debates about responses to gender

 dysphoria.

         161.   At the outset, I will note that any discussion of suicide when considering younger

 children involves very long-range and very uncertain prediction. Suicide in pre-pubescent

 children is extremely rare, and the existing studies of gender identity issues in pre-pubescent

 children do not report significant incidents of suicide. Any suggestion otherwise is misinformed.

 Our focus for this topic, then, is on adolescents and adults.

         162.   Some authors have reported rates of suicidal thoughts and behaviors among trans-

 identifying teens or adults ranging from 25% to as high as 52%, generally through non-

 longitudinal self-reports obtained from non-representative survey samples. (Toomey et al. 2018.)

 Dr. Adkins asserted in her declaration submitted in support of Plaintiff’s preliminary injunction

 motion that “Attempted suicide rates in the transgender community are over 40%,” and that

 “[t]he only treatment to avoid this serious harm is to . . . affirm gender identity.” (Adkins at 6.)

 Contrary to these assertions, no studies show that affirmation of children (or anyone else)

 reduces suicide, prevents suicidal ideation, or improves long-term outcomes, as compared to

 either a “watchful waiting” or a psychotherapeutic model of response, as I have described above.

 Rhetorical references to figures such as 40%—and some published studies—confuse suicidal

 thoughts and actions that represent a cry for help, manipulation, or expression of rage with

 serious attempts to end life. Such statements or studies ignore a crucial and long-recognized

 distinction.


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        163.    I have included suicidality in my discussion of mental health above. Here, I focus

 on actual suicide. Too often, in public comment suicidal thoughts are blurred with suicide. Yet

 the available data tells us that suicide among children and youth suffering from gender dysphoria

 is extremely rare.

        164.    An important new analysis of data covering patients as well as those on the

 waiting list (and thus untreated) at the UK Tavistock gender clinic—the world’s largest gender

 clinic—found a total of only four completed suicides across 11 years’ worth of patient data,

 reflecting an estimated cumulative 30,000 patient-years spent by patients under the clinic’s care

 or on its waiting list. This corresponded to an annual suicide rate of 0.013%. The proportion of

 individual patients who died by suicide was 0.03%, which is orders of magnitude smaller than

 trans adolescents who self-report suicidal behavior or thoughts on surveys. (Biggs 2022b.)

        165.    Thus, only a minute fraction of trans-identifying adolescents who report thoughts

 or conduct considered to represent “suicidality” actually commit suicide. I agree with the

 statement by Dr. Zucker that the assertion by, for example, Karasic and Ehrensaft (2015) that

 completed suicides among transgender youth are “alarmingly high” “has no formal and

 systematic empirical basis.” (Zucker 2019 at 3.)

        166.    Professor Biggs of Oxford, author of the study of incidence of suicide among

 Tavistock clinic patients, rightly cautions that it is “irresponsible to exaggerate the prevalence of

 suicide.” (Biggs 2022b at 4.) It is my opinion that telling parents—or even allowing them to

 believe from their internet reading—that they face a choice between “a live son or a dead

 daughter” is both factually wrong and unethical. Informed consent requires clinicians to tell the

 truth and ensure that their patients understand the truth. To be kind, the clinicians who believe




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 such figures represent high risk of ultimate suicide in adolescence simply do not know the truth;

 they are ill-informed.

        B.      Transition of any sort has not been shown to reduce levels of suicide.

        167.    Every suicide is a tragedy, and steps that reduce suicide should be adopted. I have

 noted above that suicidality (that is, suicidal thoughts or behaviors, rather than suicide) is

 common among transgender adolescents and young adults before, during, and after social and

 medical transition. If a medical or mental health professional believes that an individual he or she

 is diagnosing or treating for gender dysphoria presents a suicide risk, in my view it is unethical

 for that professional merely to proceed with treatment for gender dysphoria and hope that “solves

 the problem.” Rather, that professional has an obligation to provide or refer the patient for

 evidence-based therapies for addressing depression and suicidal thoughts that are well-known to

 the profession. (Levine 2016 at 242.)

        168.    This is all the more true because there is in fact no evidence that social and/or

 medical transition reduces the risk or incidence of actual suicide. On the contrary, in his analysis

 of those who were patients of or on the waiting list of the Tavistock clinic, Professor Biggs found

 that the suicide rate was not higher among those on the clinic’s waiting list (and thus as-yet

 untreated), than for those who were patients under care. (Biggs 2022b.) And as corrected,

 Bränström and Pachankis similarly acknowledge that their review of records of GD patients

 “demonstrated no advantage of surgery in relation to . . . hospitalizations following suicide

 attempts.” (I assume for this purpose that attempts that result in hospitalization are judged to be

 so serious as to predict a high rate of future suicide if not successfully addressed.”) 11



 11
   Turban et al. (2020) has been described in press reports as demonstrating that administration of
 puberty suppressing hormones to transgender adolescents reduces suicide or suicidal ideation.
 The paper itself does not make that claim, nor permit that conclusion.


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        C.      Long-term life in a transgender identity correlates with very high rates of
                completed suicide.

        169.    As with mental health generally, the patient, parent, or clinician fearing the risk of

 suicide must consider not just the next month or year, but a life course perspective.

        170.    There are now four long-term studies that analyze completed suicide among those

 living in transgender identities into adulthood. The results vary significantly, but are uniformly

 highly negative.

        171.    Dhejne reported a long-term follow-up study of subjects after sex reassignment

 surgery. Across the multi-year study, subjects who had undergone SRS committed suicide at

 19.1 times the expected rate compared to general population controls matched by age and both

 sexes. MtF subjects committed suicide at 13.9 times the expected rate, and FtM subjects

 committed suicide at 40.0 times the expected rate. (Dhejne et al. 2011 Supplemental Table S1.)

        172.    Asscheman, also writing in 2011, reported results of a long-term follow-up of all

 transsexual subjects of the Netherlands’ leading gender medicine clinic who started cross-sex

 hormones before July 1, 1997, a total of 1331 patients. Due to the Dutch system of medical and

 death records, extensive follow-up was achieved. Median follow-up period was 18.5 years. The

 mortality rate among MtF patients was 51% higher than among the age-matched general

 population; the rate of completed suicide among MtF patients was six times that of the age-

 matched general population. (Asscheman et al. 2011.)

        173.    Importantly, Asscheman et al. found that “No suicides occurred within the first 2

 years of hormone treatment, while there were six suicides after 2-5 years, seven after 5-10 years,

 and four after more than 10 years of CSH treatment at a mean age of 41.5 years." (Asscheman et

 al. 2011 at 637-638.) This suggests that studies that follow patients for only a year or two after

 treatment are insufficient. Asscheman et al.’s data suggest that such short-term follow-up is



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 engaging only with an initial period of optimism, and will simply miss the feelings of disillusion

 and the increase in completed suicide that follows in later years.

        174.    A retrospective, long-term study published in 2020 of a very large cohort (8263)

 of patients referred to the Amsterdam University gender clinic between 1972 and 2017 found

 that the annual rate of completed suicides among the transgender subjects was “three to four

 times higher than the general Dutch population.” “[T]he incidence of observed suicide deaths

 was almost equally distributed over the different stages of treatment.” The authors concluded that

 “vulnerability for suicide occurs similarly in the different stages of transition.” (Wiepjes et al.

 2020.) In other words, neither social nor medical transition reduced the rate of suicide.

        175.    As with Asscheman et al., Wiepjes et al. found that the median time between start

 of hormones and suicide (when suicide occurred) was 6.1 years for natal males, and 6.9 years for

 natal females. Again, short- or even medium-term studies will miss this suicide phenomenon.

        176.    A 2021 study analyzed the case histories of a cohort of 175 gender dysphoria

 patients treated at one of the seven UK adult gender clinics who were “discharged” (discontinued

 as patients) within a selected one-year period. The authors reported the rather shocking result

 that 7.7% (3/39) of natal males who were diagnosed and admitted for treatment, and who were

 between 17 and 24 years old, were “discharged” because they committed suicide during

 treatment. (Hall et al. 2021, Table 2.)

        177.    None of these studies demonstrates that the hormonal or surgical intervention

 caused suicide. That is possible, but as we have seen, the population that identifies as

 transgender suffers from a high incidence of comorbidities that correlate with suicide. What

 these studies demonstrate—at the least—is that this remains a troubled population in need of

 extensive and careful psychological care that they generally do not receive, and that neither




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 hormonal nor surgical transition and “affirmation” resolve their underlying problems and put

 them on the path to a stable and healthy life.

        178.    In sum, claims that affirmation will reduce the risk of suicide for children and

 adolescents are not based on science. Instead, transition of any sort must be justified, if at all, as

 a life-enhancing measure, not a lifesaving measure. (Levine 2016 at 242.) In my opinion, this is

 an important fact that patients, parents, and even many MHPs fail to understand.

 IX. HORMONAL INTERVENTIONS ARE EXPERIMENTAL PROCEDURES THAT
 HAVE NOT BEEN PROVEN SAFE.

        179.    Dr. Adkins also appears to assert as a fact—but without citation to peer-reviewed

 literature—that social transition, puberty blockers, and cross-sex hormones are known to be

 “safe.” (Adkins at 5-6, 8.) This is not true. And Dr. Adkins, along with a number of voices in the

 field, also asserts that puberty blockers act merely as a “pause” in the process of puberty-driven

 maturation, suggesting that this hormonal intervention has been proven to be fully reversible.

 This is also an unproven belief.

        180.    On the contrary, no studies have been done that meaningfully demonstrate that

 either puberty blockers or cross-sex hormones, as prescribed for gender dysphoria, are safe in

 other than the short run. No studies have attempted to determine whether the effects of puberty

 blockers, as currently being prescribed for gender dysphoria, are fully reversible. Neither Dr.

 Adkins nor Dr. Safer cites any such studies, and there are none. There are only pronouncements.

 In fact, there are substantial reasons for concern that these hormonal interventions are not safe.

 Multiple researchers have expressed concern that the full range of possible harms have not even

 been correctly conceptualized.

        181.    Because, as I have explained in Section VI, recent evidence demonstrates that pre-

 pubertal social transition almost always leads to progression on to puberty blockers which in turn


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 almost always leads to the use of cross-sex hormones, physicians bear the ethical responsibility

 for a thorough informed consent process for parents and patients that includes this fact and its

 full implications. Informed consent does not mean sharing with the parents and patients what the

 doctor believes: it means sharing what is known and what is not known about the intervention.

 So much of what doctors believe is based on mere trust in what they have been taught. Neither

 they themselves nor their teachers may be aware of the scientific foundation and scientific

 limitations of what they are recommending.

          A.     Use of puberty blockers has not been shown to be safe or reversible for
                 gender dysphoria.

          182.   As I noted above, the recent very thorough literature review performed for the

 British NHS concluded that all available clinical evidence relating to “safety outcomes” from

 administration of puberty blockers for gender dysphoria is of “very low certainty.” (NHS 2020a

 at 6.)

          183.   In its 2017 Guidelines, the Endocrine Society cautioned that “in the future we

 need more rigorous evaluations of the effectiveness and safety of endocrine and surgical

 protocols” including “careful assessment of . . . the effects of prolonged delay of puberty in

 adolescents on bone health, gonadal function, and the brain (including effects on cognitive,

 emotional, social, and sexual development).” (Hembree et al. 2017 at 3874.) No such “careful”

 or “rigorous” evaluation of these very serious safety questions has yet been done.

          184.   Some advocates appear to assume that puberty blockers are “safe” because they

 have been approved by the Food and Drug Administration (FDA) for use to treat precocious

 puberty—a rare condition in which the puberty process may start at eight or younger. No such

 conclusion can be drawn. As the “label” for Lupron (one of the most widely prescribed puberty

 blockers) explains, the FDA approved the drug only until the “age was appropriate for entry into



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 puberty.” The study provides no information at all as to the safety or reversibility of instead

 blocking healthy, normally-timed puberty’s beginning, and throughout the years that body-wide

 continuing changes normally occur. Given the physical, social, and psychological dangers to the

 child with precocious puberty, drugs like Lupron are effective in returning the child to a puerile

 state without a high incidence of significant side effects—that is, they are “safe” to reverse the

 condition. But use of drugs to suppress normal puberty has multiple organ system effects whose

 long-term consequences have not been investigated.

        185.    Fertility: The Endocrine Society Guidelines rightly say that research is needed

 into the effect of puberty blockade on “gonadal function” and “sexual development.” The core

 purpose and function of puberty blockers is to prevent the maturation of the ovaries or testes, the

 sources of female hormones and male hormones when stimulated by the pituitary gland. From

 this predictable process fertility is accomplished within a few years. Despite widespread

 assertions that puberty blockers are “fully reversible,” there has been no study published on the

 critical question of whether patients ever develop normal levels of fertility if puberty blockers are

 terminated after a “prolonged delay of puberty.” The 2017 Endocrine Society Guidelines are

 correct that are no data on achievement of fertility “following prolonged gonadotropin

 suppression” (that is, puberty blockade). (Hembree et al. 2017 at 3880.)

        186.    Bone strength: Multiple studies have documented adverse effects from puberty

 blockers on bone density. (Klink et al. 2015; Vlot et al. 2016; Joseph et al. 2019.) The most

 recent found that after two years on puberty blockers, the bone density measurements for a

 significant minority of the children had declined to clinically concerning levels. Density in the

 spines of some subjects fell to a level found in only 0.13% of the population. (Biggs 2021.) Some




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 other studies have found less concerning effects on bone density. While the available evidence

 remains limited and conflicting, it is not possible to conclude that the treatment is “safe.”

        187.    Brain development: Important neurological growth and development in the brain

 occurs across puberty. The anatomic and functional effect on brain development of blocking the

 natural puberty process has not been well studied. A prominent Australian clinical team recently

 expressed concern that “no data were (or are) available on whether delaying the exposure of the

 brain to a sex steroid affects psychosexual, cognitive, emotional, or other neuropsychological

 maturation.” (Kozlowska et al. 2021 at 89.) In my opinion, given the observed correlation

 between puberty and brain development, the default hypothesis must be that there would be a

 negative impact. For the purpose of protecting patients all over the world, the burden of proof

 should be on advocates to first demonstrate to a reasonable degree of certainty that brain

 structure and its measurable cognitive and affect processing are not negatively affected. This

 recalls the ethical principle: Above All Do No Harm.

        188.    The Endocrine Society Guidelines acknowledge as much, stating that side effects

 of pubertal suppression “may include . . . unknown effects on brain development,” that “we need

 more rigorous evaluations of . . . the effects of prolonged delay of puberty in adolescents on . . .

 the brain (including effects on cognitive, emotional, social, and sexual development),” and

 stating that “animal data suggests there may be an effect of GnRH analogs [puberty blockers] on

 cognitive function.” (Hembree et al. 2017 at 3874, 3882, 3883.) Given this concern, one can only

 wonder why this relevant question has not been scientifically investigated in a large group of

 natal males and females.

        189.    There has been a longitudinal study of one natal male child, assessed before, and

 again 20 months after, puberty suppression was commenced. It reported a reduction in the




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 patient’s “global IQ,” measured an anomalous absence of certain structural brain development

 expected during normal male puberty, and hypothesized that “a plausible explanation for the

 G[lobal] IQ decrease should consider a disruption of the synchronic [i.e., appropriately timed]

 development of brain areas by pubertal suppression.” (Schneider et al. 2017 at 7.) This should

 cause parents and practitioners serious concern.

        190.    Whether any impairment of brain development is “reversed” upon later

 termination of puberty blockade has, to my knowledge, not been studied at all. As a result,

 assertions by medical or mental health professionals that puberty blockade is “fully reversible”

 are unjustified and based on hope rather than science.

        191.    Without a number of additional case studies—or preferably statistically

 significant clinical studies—two questions remain unanswered: Are there brain anatomic or

 functional impairment from puberty blockers? And are the documented changes reversed over

 time when puberty blockers are stopped? With these questions unanswered, it is impossible to

 assert with certainty that the effects of this class of medications are “fully reversible.” Such an

 assertion is another example of ideas based on beliefs rather than on documentation, on hope not

 science.

        192.    Psycho-social harm: Puberty is a time of stress, anxiety, bodily discomfort

 during physical development, and identity formation for all humans. No careful study has been

 done of the long-term impact on the young person’s coping skills, interpersonal comfort, and

 intimate relationships from remaining puerile for, e.g., two to five years while one’s peers are

 undergoing pubertal transformations, and of then undergoing an artificial puberty at an older age.

 However, pediatricians and mental health professionals hear of distress, concern, and social

 awkwardness in those who naturally have a delayed onset of puberty. In my opinion, individuals




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 in whom puberty is delayed multiple years are likely to suffer at least subtle negative

 psychosocial and self-confidence effects as they stand on the sidelines witnessing their peers

 developing the social relationships (and attendant painful social learning experiences) that come

 with adolescence. (Levine 2018 at 9.) Social anxiety and social avoidance are common findings

 in the evaluation of trans-identified children and teens. Are we expected to believe that creating

 years of being further different than their peers has no lasting internal consequences? Do we

 ignore Adolescent Psychiatry’s knowledge of the importance of peer groups among adolescents?

        193.    We simply do not know what all the psychological impacts of NOT grappling

 with puberty at the ordinary time may be, because it has not been studied. And we have no

 information as to whether that impact is “fully reversible.”

        194.    In addition, since the overwhelming proportion of children who begin puberty

 blockers continue on to cross-sex hormones, it appears that there is an important element of

 “psychological irreversibility” in play. The question of to what extent the physical and

 developmental impacts of puberty blockers might be reversible is an academic one, if psycho-

 social realities mean that very few patients well ever be able to make that choice once they have

 started down the road of social transition and puberty blockers.

        B.      Use of cross-sex hormones in adolescents for gender dysphoria has not been
                shown to be medically safe except in the short term.

        195.    As with puberty blockers, all evidence concerning the safety of extended use of

 cross-sex hormones is of “very low quality.” The U.K. NICE evidence review cautioned that

 “the safety profiles” of cross-sex hormone treatments are “largely unknown,” and that several of

 the limited studies that do exist reported high numbers of subjects “lost to follow-up,” without

 explanation—a worrying indicator. (NICE 2020b.)




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        196.    The 2020 Cochrane Review reported that: “We found insufficient evidence to

 determine the . . . safety of hormonal treatment approaches for transgender women in transition.”

 (Haupt et al. 2020 at 4.) Even the Endocrine Society tagged all its recommendations for the

 administration of cross-sex hormones as based on “low quality evidence.” (Hembree et al. 2017

 at 3889.)

        197.    Sterilization: It is undisputed, however, that harm to the gonads is an expected

 effect, to the extent that it must be assumed that cross-sex hormones will sterilize the patient.

 Thus, the Endocrine Society 2017 Guidelines caution that “[p]rolonged exposure of the testes to

 estrogen has been associated with testicular damage,” that “[r]estoration of spermatogenesis after

 prolonged estrogen treatment has not been studied,” and that “[i]n biological females, the effect

 of prolonged treatment with exogenous testosterone upon ovarian function is uncertain.”

 (Hembree et al. 2017 at 3880.) 12

        198.    The Guidelines go on to recommend that the practitioner counsel the patient about

 the (problematic and uncertain) options available to collect and preserve fertile sperm or ova

 before beginning cross-sex hormones. The life-long negative emotional impact of infertility on

 both men and women has been well studied. While this impact has not been studied specifically

 within the transgender population, the opportunity to be a parent is likely a human, emotional

 need, and so should be considered an important risk factor when considering gender transition

 for any patient.




        12
             See also Guss et al. 2015 at 4 (“a side effect [of cross-sex hormones] may be
 infertility”) and at 5 (“cross-sex hormones . . . may have irreversible effects”); Tishelman et al.
 2015 at 8 (Cross-sex hormones are “irreversible interventions” with “significant ramifications for
 fertility”).


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        199.    Sexual response: Puberty blockers prevent maturation of the sexual organs and

 response. Some, and perhaps many, transgender individuals who did not go through puberty

 consistent with their sex and are then put on cross-sex hormones face significantly diminished

 sexual response as they enter adulthood and are unable ever to experience orgasm. In the case of

 males, the cross-sex administration of estrogen limits penile genital growth and function. In the

 case of females, prolonged exposure to exogenous testosterone impairs vaginal function. Much

 has been written about the negative psychological and relational consequences of anorgasmia

 among non-transgender individuals that is ultimately applicable to the transgendered. (Levine

 2018 at 6.) At the same time, prolonged exposure of females to exogenous testosterone often

 increases sexual drive to a distracting degree. It is likely that parents and physicians are

 uncomfortable discussing any aspects of genital sexual activity with patients.

        200.    Cardiovascular harm: Several researchers have reported that cross-sex

 hormones increase the occurrence of various types of cardiovascular disease, including strokes,

 blood clots, and other acute cardiovascular events. (Getahun et al. 2018; Guss et al. 2015;

 Asscheman et al. 2011.) With that said, I agree with the conclusion of the Endocrine Society

 committee (like that of the NICE Evidence Review) that: “A systematic review of the literature

 found that data were insufficient (due to very low–quality evidence) to allow a meaningful

 assessment of patient-important outcomes, such as death, stroke, myocardial infarction, or

 venous thromboembolism in transgender males. Future research is needed to ascertain the

 potential harm of hormonal therapies.” (Hembree et al. 2017 at 3891.) Future research questions

 concerning long-term harms need to be far more precisely defined. The question of whether

 cross-sex hormones are safe for adolescents and young adults cannot be answered by analogies

 to hormone replacement therapy in menopausal women (which is not a cross-sex usage).




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 Medicine has answered safety questions for menopausal women in terms of cancer and

 cardiovascular safety: at what dose, for what duration, and at what age range. The science of

 endocrine treatment of gender dysphoric youth is being bypassed by short-term clinical

 impressions of safety even though physicians know that cardiovascular and cancer processes

 often develop over many years.

        201.    Further, in contrast to administration for menopausal women, hormones begun in

 adolescence are likely to be administered for four to six decades. The published evidence of

 adverse impact, coupled with the lack of data sufficient to reach a firm conclusion, make it

 irresponsible to assert that cross-sex hormones “are safe.”

        202.    Harm to family and friendship relationships: As a psychiatrist, I recognize that

 mental health is a critical part of health generally, and that relationships cannot be separated from

 and profoundly impact mental health. Gender transition routinely leads to isolation from at least

 a significant portion of one’s family in adulthood. In the case of a juvenile transition, this will be

 less dramatic while the child is young, but commonly increases over time as siblings who marry

 and have children of their own do not wish the transgender individual to be in contact with those

 children. By adulthood, the friendships of transgender individuals tend to be confined to other

 transgender individuals (often “virtual” friends known only online) and the generally limited set

 of others who are comfortable interacting with transgender individuals. (Levine 2017 at 5.) My

 concerns about this are based on decades of observations in my professional work with patients.

        203.    Sexual-romantic harms associated with transition: After adolescence,

 transgender individuals find the pool of individuals willing to develop a romantic and intimate

 relationship with them to be greatly diminished. When a trans person who passes well reveals his

 or her natal sex, many potential mates lose interest. When a trans person does not pass well,




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 options are likely further diminished. But regardless of a person’s appearance, these adults soon

 learn that many of their dates are looking for exotic sexual experiences rather than genuinely

 loving relationships. (Levine 2017 at 5, 13; Levine 2013 at 40.)

        C.      The timing of harms.

        204.    The multi-year delay between start of hormones and the spike in completed

 suicide observed by Professor Biggs in the Tavistock data (as discussed in Section VIII above)

 warns us that the safety and beneficence of these treatments cannot be judged based on short-

 term studies, or studies that do not continue into adulthood. Similarly, several of the harms that I

 discuss above would not be expected to manifest until the patients reaches at least middle-age.

 For example, stroke or other serious cardiovascular event is a complication that is unlikely to

 manifest during teen years even if its likelihood over the patient’s lifetime has been materially

 increased via obesity, lipid abnormalities, and smoking. Regret over sterilization or over an

 inability to form a stable romantic relationship may occur sooner. Psychological challenges of

 being a trans adult may become manifest after the medical profession is only doing routine

 follow up care—or, in many cases, has lost contact with the patient altogether. Because few, if

 any, clinics in this country are conducting systematic long-term follow-up with their child and

 adolescent patients, the doctors who counsel, prescribe, or perform hormonal and surgical

 therapies are unlikely ever to become aware of the later negative life impacts, however severe.

 These concerns are compounded by the findings in the recent “detransitioner” research that 76%

 did not inform their clinicians of their detransition. (Littman 2021.)

        205.    The possibility that steps along the transition and affirmation pathway, while

 lessening the pain of gender dysphoria in the short term, could lead to additional sources of

 crippling emotional and psychological pain, are too often not considered by advocates of social

 transition and not considered at all by the trans child. (Levine 2016 at 243.) Clinicians must


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 distinguish the apparent short-term safety of hormones from likely or possible long-term

 consequences, and help the patient or parents understand these implications as well. The young

 patient may feel, “I don’t care if I die young, just as long I get to live as a woman.” The mature

 adult may take a different view. Hopefully, so will the child’s physician.

        206.    Individual patients often pin excessive hope in transition, believing that transition

 will solve what are in fact ordinary social stresses associated with maturation, or mental health

 co-morbidities. In this way, transition can prevent them from mastering personal challenges at

 the appropriate time or directly addressing conditions that require treatment. When the hoped-for

 “vanishing” of other mental health or social difficulties does not occur, disappointment, distress,

 and depression may ensue. It is noteworthy that half of the respondents to the larger

 “detransitioner” survey reported that their transition had not helped the gender dysphoria, and

 70% had concluded that their gender dysphoria was related to other issues. (Vandenbussche

 2021.) Without the clinical experience of monitoring the psychosocial outcomes of these young

 patients as they age into adulthood, many such professionals experience no challenge to their

 affirmative beliefs. But medical and mental health professionals who deliver trans affirmative

 care for those with previous and co-existing mental health problems have an ethical obligation to

 inform themselves, and to inform patients and parents, that these dramatic treatments are not a

 panacea.

        207.    In sum, whether we consider physical or mental health, science does not permit us

 to say that either puberty blockers or cross-sex hormones are “safe,” and the data concerning the

 mental health of patients before, during, and after such treatments strongly contradict the

 assertion that gender dysphoria is “easily managed.”




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                    LEVINE EXPERT REPORT

                                EXHIBIT A




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 Stephen B. Levine, M.D.                                                  Curriculum Vita
                                                                          February, 2022

 Brief Introduction
         Dr. Levine is Clinical Professor of Psychiatry at Case Western Reserve University
 School of Medicine. He is the author or coauthor of numerous books on topics relating to human
 sexuality and related relationship and mental health issues. Dr. Levine has been teaching,
 providing clinical care, and writing since 1973, and has generated original research, invited
 papers, commentaries, chapters, and book reviews. He has served as a journal manuscript and
 book prospectus reviewer for many years. Dr. Levine has been co-director of the Center for
 Marital and Sexual Health/ Levine, Risen & Associates, Inc. in Beachwood, Ohio from 1992 to
 the present. He received a lifetime achievement Masters and Johnson’s Award from the Society
 for Sex Therapy and Research in March 2005.
 Personal Information
    Date of birth 1/14/42
    Medical license no. Ohio 35-03-0234-L
    Board Certification 6/76 American Board of Neurology and Psychiatry
 Education
    1963 BA Washington and Jefferson College
    1967 MD Case Western Reserve University School of Medicine
    1967-68 internship in Internal Medicine University Hospitals of Cleveland
    1968-70 Research associate, National Institute of Arthritis and Metabolic Diseases,
    Epidemiology Field Studies Unit, Phoenix, Arizona, United States Public Health Service
    1970-73 Psychiatric Residency, University Hospitals of Cleveland
    1974-77 Robert Wood Johnson Foundation Clinical Scholar
 Appointments at Case Western Reserve University School of Medicine
    1973- Assistant Professor of Psychiatry
    1979- Associate Professor
    1982- Awarded tenure
    1985- Full Professor
    1993- Clinical Professor




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 Honors
    Summa Cum Laude, Washington & Jefferson
    Teaching Excellence Award-1990 and 2010 (Residency program)
    Visiting Professorships
        x       Stanford University-Pfizer Professorship program (3 days)–1995
        x       St. Elizabeth’s Hospital, Washington, DC –1998
        x       St. Elizabeth’s Hospital, Washington, DC--2002
    Named to America’s Top Doctors consecutively since 2001
    Invitations to present various Grand Rounds at Departments of Psychiatry and Continuing
    Education Lectures and Workshops
    Masters and Johnson Lifetime Achievement Award from the Society of Sex Therapy and
    Research, April 2005 along with Candace Risen and Stanley Althof
    2006 SSTAR Book Award for The Handbook of Clinical Sexuality for Mental Health
    Professionals: Exceptional Merit
    2018—Albert Marquis Lifetime Achievement Award from Marquis Who’s Who. (Exceling
    in one’s field for at least twenty years)
 Professional Societies
    1971- American Psychiatric Association; fellow; #19909
    2005- American Psychiatric Association, Distinguished Life Fellow
    1973- Cleveland Psychiatric Society
    1973- Cleveland Medical Library Association
        x       1985 - Life Fellow
        x       2003 - Distinguished Life Fellow
    1974-Society for Sex Therapy and Research
        x       1987-89-President
    1983- International Academy of Sex Research
    1983- Harry Benjamin International Gender Dysphoria Association
        x       1997-8 Chairman, Standards of Care Committee
    1994- 1999 Society for Scientific Study of Sex




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 Community Boards
    1999-2002 Case Western Reserve University Medical Alumni Association
    1996-2001 Bellefaire Jewish Children’s Bureau
    1999-2001 Physicians’ Advisory Committee, The Gathering Place (cancer rehabilitation)
 Editorial Boards
    1978-80 Book Review Editor Journal Sex and Marital Therapy
    Manuscript Reviewer for:
           a. Archives of Sexual Behavior
           b. Annals of Internal Medicine
           c. British Journal of Obstetrics and Gynecology
           d. JAMA
           e. Diabetes Care
           f. American Journal of Psychiatry
           g. Maturitas
           h. Psychosomatic Medicine
           i. Sexuality and Disability
           j. Journal of Nervous and Mental Diseases
           k. Journal of Neuropsychiatry and Clinical Neurosciences
           l. Neurology
           m. Journal Sex and Marital Therapy
           n. Journal Sex Education and Therapy
           o. Social Behavior and Personality: an international journal (New Zealand)
           p. International Journal of Psychoanalysis
           q. International Journal of Transgenderism
           r. Journal of Urology
           s. Journal of Sexual Medicine
           t. Current Psychiatry
           u. International Journal of Impotence Research
           v. Postgraduate medical journal
           w. Academic Psychiatry


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    Prospectus Reviewer
           a. Guilford
           b. Oxford University Press
           c. Brunner/Routledge
           d. Routledge
 Administrative Responsibilities
    Principal Investigator of approximately 70 separate studies involving pharmacological
    interventions for sexual dysfunction since 1989.
    Co-leader of case conferences at DELRLLC.com
 Expert testimony at trial or by deposition within the last 4 years
    Provided expert testimony for Massachusetts Dept. of Corrections in its defense of a lawsuit
    brought by prisoner Katheena Soneeya, including by deposition in October 2018, and in-
    court testimony in 2019.
    Provided expert testimony by deposition and at trial in In the Interests of the Younger
    Children (Dallas, TX), 2019.
    Testified in an administrative hearing in In the matter of Rhys & Lynn Crawford (Washington
    State), March 2021.
    Testified multiple times in juvenile court in In the matter of Asha Kerwin (Tucson, Arizona),
    2021.
    Provided expert testimony by deposition in Kadel et al v. Folwell et al. (North Carolina),
    2021.
 Consultancies
    Massachusetts Department of Corrections—evaluation of 12 transsexual prisoners and the
    development of a Gender Identity Disorders Program for the state prison system. Monthly
    consultation with the GID treatment team since February 2009 and the GID policy committee
    since February 2010.
    California Department of Corrections and Rehabilitation; 2012-2015; education, inmate
    evaluation, commentary on inmate circumstances, suggestions on future policies.
    Virginia Department of Corrections –evaluation of an inmate.
    New Jersey Department of Corrections—evaluation of an inmate.
    Idaho Department of Corrections—workshop 2016.
 Grant Support/Research Studies
    TAP–studies of Apomorphine sublingual in treatment of erectile dysfunction.


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    Pfizer–Sertraline for premature ejaculation.
    Pfizer–Viagra and depression; Viagra and female sexual dysfunction; Viagra as a treatment
    for SSRI-induced erectile dysfunction.
    NIH- Systemic lupus erythematosis and sexuality in women.
    Sihler Mental Health Foundation
           a. Program for Professionals
           b. Setting up of Center for Marital and Sexual Health
           c. Clomipramine and Premature ejaculation
           d. Follow-up study of clergy accused of sexual impropriety
           e. Establishment of services for women with breast cancer
    Alza–controlled study of a novel SSRI for rapid ejaculation.
    Pfizer–Viagra and self-esteem.
    Pfizer- double-blind placebo control studies of a compound for premature ejaculation.
    Johnson & Johnson – controlled studies of Dapoxetine for rapid ejaculation.
    Proctor and Gamble: multiple studies to test testosterone patch for post menopausal sexual
    dysfunction for women on and off estrogen replacement.
    Lilly-Icos—study of Cialis for erectile dysfunction.
    VIVUS – study for premenopausal women with FSAD.
    Palatin Technologies- studies of bremelanotide in female sexual dysfunction—first intranasal
    then subcutaneous administration.
    Medtap – interview validation questionnaire studies.
    HRA- quantitative debriefing study for Female partners os men with premature ejaculation,
    Validation of a New Distress Measure for FSD.
    Boehringer-Ingelheim- double blind and open label studies of a prosexual agent for
    hypoactive female sexual desire disorder.
    Biosante- studies of testosterone gel administration for post menopausal women with HSDD.
    J&J a single-blind, multi-center, in home use study to evaluate sexual enhancement effects of
    a product in females.
    UBC-Content validity study of an electronic FSEP-R and FSDS-DAO and usability of study
    PRO measures in premenopausal women with FSAD, HSDD or Mixed FSAD/HSDD.
    National registry trial for women with HSDD.
    Endoceutics—two studies of DHEA for vaginal atrophy and dryness in post menopausal
    women.

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    Palatin—study of SQ Bremelanotide for HSDD and FSAD.
    Trimel- a double-blind, placebo controlled study for women with acquired female orgasmic
    disorder.
    S1 Biopharma- a phase 1-B non-blinded study of safety, tolerability and efficacy of Lorexys
    in premenopausal women with HSDD.
    HRA – qualitative and cognitive interview study for men experiencing PE.
 Publications
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                2)     Sex Is Not Simple, Ohio Psychological Publishing Company, 1988;
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                Free Sexual Life, Jason Aronson, Livingston, NJ. 1997
                3)     Sexual Life: A Clinician’s Guide. Plenum Publishing Corporation. New
                York, 1992
                4)        Sexuality in Midlife. Plenum Publishing Corporation. New York, 1998
                5)    Editor, Clinical Sexuality. Psychiatric Clinics of North America, March,
                1995.
                6)     Editor, (Candace Risen and Stanley Althof, associate editors) Handbook of
                Clinical Sexuality for Mental Health Professionals. Routledge, New York, 2003
                     1.    2006 SSTAR Book Award: Exceptional Merit
                7)     Demystifying Love: Plain Talk For The Mental Health Professional.
                Routledge, New York, 2006
                8)     Senior editor, (Candace B. Risen and Stanley E. Althof, Associate editors),
                Handbook of Clinical Sexuality for Mental Health Professionals, 2nd edition.
                Routledge, New York, 2010.
                9)        Barriers to Loving: A Clinician’s Perspective. Routledge, New York, 2014.
                10)    Senior editor Candace B. Risen and Stanley E. Althof, Associate editors),
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           B) Research and Invited Papers
                 When his name is not listed in a citation, Dr. Levine is either the solo or the senior
 author.
                1)    Sampliner R. Parotid enlargement in Pima Indians. Annals of Internal
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                9)     Engel IM, Resnick PJ, Levine SB: Use of programmed patients and
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                10)   Marital Sexual Dysfunction: Erectile dysfunction. Annals of Internal
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                12)    Female Sexual Problems. Resident and Staff Physician 1981:3:79-92
                13)    How can I determine whether a recent depression in a 40 year old married
                man is due to organic loss of erectile function or whether the depression is the
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                16)    Current problems in the diagnosis and treatment of psychogenic impotence.
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                             CHARLESTON DIVISION


  B.P.J., by her next friend and mother,
  HEATHER JACKSON,
                                Plaintiff,
                    v.
  WEST VIRGINIA STATE BOARD OF                   Civil Action No: 2:21-cv-00316
  EDUCATION, HARRISON COUNTY BOARD
  OF EDUCATION, et al.,                                THE HONORABLE
                              Defendants,             JOSEPH R. GOODWIN
                   and
  LAINEY ARMISTEAD,
                     Defendant-Intervenor.


                     DECLARATION OF JAMES M. CANTOR, PHD.
       I, Dr. James Cantor, pursuant to 28 U.S. Code § 1746, declare under penalty

 of perjury under the laws of the United States of America that the facts contained in

 my Expert Report of James M. Cantor, Ph.D., in the Case of B.P.J. v. West Virginia

 State Board of Education, dated February 23, 2022, attached hereto, are true and

 correct to the best of my knowledge and belief, and that the opinions expressed

 therein represent my own expert opinions.




 _________________________                    Executed February 23, 2022

 Dr. James M. Cantor, PhD.
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                                  Expert Report of
                             James M. Cantor, PhD.
          In the case of B.P.J. vs. West Virginia State Board of Education.


                                 February 23, 2022




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 I.        Background & Credentials
      1.     I am a clinical psychologist and Director of the Toronto Sexuality Centre in

 Canada. For my education and training, I received my Bachelor of Science degree

 from Rensselaer Polytechnic Institute, where I studied mathematics, physics, and

 computer science. I received my Master of Arts degree in psychology from Boston

 University, where I studied neuropsychology. I earned my Doctoral degree in

 psychology from McGill University, which included successfully defending my

 doctoral     dissertation   studying   the   effects   of   psychiatric   medication   and

 neurochemical changes on sexual behavior, and included a clinical internship

 assessing and treating people with a wide range of sexual and gender identity issues.

      2.     Over my academic career, my posts have included Psychologist and Senior

 Scientist at the Centre for Addiction and Mental Health (CAMH) and Head of

 Research for CAMH’s Sexual Behaviour Clinic, Associate Professor of Psychiatry on

 the University of Toronto Faculty of Medicine, and Editor-in-Chief of the peer

 reviewed journal, Sexual Abuse. That journal is one of the top-impact, peer-reviewed

 journals in sexual behavior science and is the official journal of the Association for

 the Treatment of Sexual Abusers. In that appointment, I was charged to be the final

 arbiter for impartially deciding which contributions from other scientists in my field
 merited publication. I believe that appointment indicates not only my extensive

 experience evaluating scientific claims and methods, but also the faith put in me by

 the other scientists in my field. I have also served on the Editorial Boards of the

 Journal of Sex Research, the Archives of Sexual Behavior, and Journal of Sexual

 Aggression. Thus, although I cannot speak for other scientists, I regularly interact

 with and am routinely exposed to the views and opinions of most of the scientists

 active in our field today, within the United States and throughout the world.

      3.     My scientific expertise spans the biological and non-biological development

 of human sexuality, the classification of sexual interest patterns, the assessment and


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 treatment of atypical sexualities, and the application of statistics and research

 methodology in sex research. I am the author of over 50 peer-reviewed articles in my

 field,   spanning   the   development     of       sexual   orientation,   gender   identity,

 hypersexuality, and atypical sexualities collectively referred to as paraphilias. I am

 the author of the past three editions of the gender identity and atypical sexualities

 chapter of the Oxford Textbook of Psychopathology. These works are now routinely

 cited in the field and are included in numerous other textbooks of sex research.

    4.      I began providing clinical services to people with gender dysphoria in 1998.

 I trained under Dr. Ray Blanchard of CAMH and have participated in the assessment

 of treatment of over one hundred individuals at various stages of considering and

 enacting both transition and detransition, including its legal, social, and medical

 (both cross-hormonal and surgical) aspects. My clinical experience includes the

 assessment and treatment of several thousand individuals experiencing other

 atypical sexuality issues. I am regularly called upon to provide objective assessment

 of the science of human sexuality by the courts (prosecution and defense), professional

 media, and mental health care providers.

    5.      I have served as an expert witness in a total of 14 cases, which are listed in

 my curriculum vitae, attached here as Appendix 1, which includes a list of cases in
 which I have recently testified.

    6.      A substantial proportion of the existing research on gender dysphoria comes

 from two clinics, one in Canada and one in the Netherlands. The CAMH gender clinic

 (previously, Clarke Institute of Psychiatry) was in operation for several decades, and

 its research was directed by Dr. Kenneth Zucker. I was employed by CAMH between

 1998 and 2018. I was a member of the hospital’s adult forensic program. However, I

 was in regular contact with members of the CAMH child psychiatry program (of

 which Dr. Zucker was a member), and we collaborated on multiple projects.




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       7.     For my work in this case, I am being compensated at the hourly rate of $400

 per hour. My compensation does not change based on the conclusions and opinions

 that I provide here or later in this case or on the outcome of this lawsuit.

 II.        Introduction
       8.     The principal opinions that I offer and explain in detail in this report are:

              a. Biological sex is a clear, scientifically valid, and well-defined category.

                 The existence of disorders of sexual development in an extremely small

                 proportion of individuals does not change this.

              b. Neither early-onset (childhood) gender dysphoria nor adolescent-onset

                 gender dysphoria can be assumed to reflect a fixed aspect of a person’s

                 psychological make-up or self-perception.

              c. No study has demonstrated that “affirming” the transgender identity of

                 a child or adolescent produces better mental health outcomes or reduced

                 suicidality relative to psychotherapy and mental health support.

              d. On the contrary, the contemporary studies have failed to find improved

                 mental health in teens and young adults after administration of puberty

                 blockers and/or cross-sex hormones.

              e. e) Affirmation of a transgender identity in minors who suffer from
                 early-onset or adolescent-onset gender dysphoria is not an accepted

                 “standard of care.”

 In addition, I have been asked to provide an expert opinion on how relevant

 professional organizations have addressed these questions and whether any of them

 have taken any meritorious position that would undermine West Virginia’s Protect

 Women’s Sports Act (H.B. 3292) (“Act”). As I explain in detail in this report, it is my

 opinion that Plaintiffs’ expert reports display a wide variety of flaws that call their

 conclusions into question and that no professional organization has articulated a

 meritorious position that calls into question the basis for the Act.


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    9.       To prepare the present report, I reviewed the following resources related to

 this litigation:

             a. West Virginia’s Protect Women’s Sports Act, H.B. 3293.

             b. The Amended Complaint in this litigation.

             c. Ms. Armistead’s Declaration, Doc. 95-1.

             d. Declaration and Expert Report of Deanna Adkins, MD.

             e. Expert Report and Declaration of Joshua D. Safer, MD, FACP, FACE.

 III.     Clarifying Terms
    10.      Most scientific discussions begin with the relevant vocabulary and

 definitions of terms. In the highly polarized and politicized debates surrounding

 transgender issues, that is less feasible: Different authors have used terms in

 differing, overlapping ways. Activists and the public (especially on social media) will

 use the same terms, but to mean different things, and some have actively misapplied

 terms so that original documents appear to assert something they do not.

    11.      “Gender expression” is one such term. For another example, the word

 “child” is used in some contexts to refer specifically to children before puberty; in some

 contexts, to refer to children before adolescence (thus including ages of puberty); in

 still other contexts, to refer to people under the legal age of consent, which is age
 sixteen in the Netherlands (where much of the research was conducted) or age

 eighteen in much of North America. Thus, care should be taken in both using and

 interpreting the word “child” in this field.

    12.      Because the present document is meant to compare the claims made by

 others, it is the definitions used by those specific authors in those specific contexts

 which are relevant. Thus, definitions to my own uses of terms are provided where

 appropriate, but primarily explicate how terms were defined and used in their original

 contexts.




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 IV.         Evidence Cited by Plaintiffs’ Expert Reports
       13.      Dr. Adkins claimed a person’s gender identity cannot be voluntarily

 changed. In actual clinical practice, that is rarely the relevant issue. The far more

 typical situation is youth who are mistaken about their gender identity. These youth

 are misinterpreting their experiences to indicate they are transgender, or they are

 exaggerating their descriptions of their experiences in service of attention-seeking or

 other psychological needs. Dr. Adkins’ claim is not merely lacking any science to

 support it; the claim itself defies scientific thinking. In science, it is not possible to

 know that gender identity cannot be changed: We can know only that we lack

 evidence of such a procedure. In the scientific method, it remains eternally possible

 for evidence of such a treatment to emerge, and unlike sexual orientation’s long

 history with conversion therapy, there have not been systematic attempts to change

 gender identity.

       14.     Dr. Adkins claimed that untreated gender dysphoria can result in several

 mental health issues, including suicidality. The relevant research on suicidality is

 summarized in its own section to follow. Nonetheless, Dr. Adkins’ claim is a

 misleading half-truth: Missing is that people with gender dysphoria continue to

 experience those mental health symptoms even after they do transition, including a

 19 times greater risk of death from suicide. 1 This is why clinical guidelines repeatedly
 indicate that mental health issues should be resolved before any transition, as

 indicated in multiple sets of clinical guidelines, summarized in their own section to

 follow. As emphasized even by authorities Dr. Adkins cites herself: Transition should

 not be relied upon itself to improve mental health status.

       15.     Adkins’ support for the claim that untreated gender dysphoria lessens

 mental health consisted of two articles: Olson, et al. (2016) and Spack (2012). Such is

 a terrible misrepresentation of the state of the scientific literature. Although Olson,


 1     Dhejne, et al., 2011.


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 et al., did indeed report that gender dysphoric children showed no mental health

 differences from the non-transgender control groups, Olson’s report turned out to be

 incorrect. The Olson data were reanalyzed, and after correcting for statistical errors

 in the original analysis, the data instead showed that the gender dysphoric children

 under Olson’s care did, in fact, exhibit significantly lower mental health. 2
     16.    I conducted an electronic search of the research literature to identify any

 responses from the Olson team regarding the Schumm and Crawford re-analysis of

 the Olson data and was not able to locate any. I contacted Professor Schumm by email

 on August 22, 2021 to verify that conclusion, to which he wrote there has been: “No

 response [from Olson].” 3

     17.    Adkins also misrepresented the views of Dr. Norman Spack. The article

 Adkins cited—Spack, 2012—repeatedly emphasized that children with gender

 dysphoria exhibit very many symptoms of mental illnesses. Spack asserted

 unambiguously that “Gender dysphoric children who do not receive counseling have

 a high risk of behavioural and emotional problems and psychiatric diagnoses.”4 The

 wording of Dr. Adkins’ report (“gender dysphoria . . . if left untreated”) misrepresents

 Spack so as to suggest Spack was advocating for medical transition to treat the gender

 dysphoria rather than counseling to treat suicidality and any other mental health

 issues. Moreover still, missing from Adkins’ report was Spack’s conclusion that

 “[m]ental health intervention should persist for the long term, even after surgery, as

 patients continue to be at mental health risk, including for suicide. While the causes

 of suicide are multifactorial, the possibility cannot be ruled out that some patients

 unrealistically believe that surgery(ies) solves their psychological distress.” 5 Whereas




 2   Schumm & Crawford, 2020; Schumm, et al., 2019.
 3   Schumm, email communication, Aug. 22, 2021 (on file with author).
 4   Spack, et al., 2012, at 422, italics added.
 5   Spack, et al., 2013, at 484, italics added


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 Adkins (selectively) cited Spack to support her insinuation that transition relieves

 distress, Spack instead explicitly warned against drawing exactly that conclusion.

     18.     Next, Adkins claimed to have achieved levels of success in her professional

 clinical practice unlike those reported by anyone anywhere else in the world: “All of

 my patients have suffered from persistent gender dysphoria, which has been

 alleviated through clinical appropriate treatment.” 6 It is difficult to evaluate such a
 bold self-assessment of success. No clinic has published success rates even

 approximating this. By contrast, the peer-reviewed research literature repeatedly

 indicates that clients misrepresent themselves to their care-providers, engaging in

 “image management” so as to appear as having better mental health than they

 actually do. 7 In the absence of objective evidence, it is not possible to differentiate

 Adkins’ claims of success from the simpler explanation that she and her patients are

 telling each other what they want and expect to hear.

     19.     Adkins referred to the clinical practice guidelines (CPG’s) of three

 professional societies: the American Association of Pediatrics (AAP), the World

 Professional Association for Transgender Health (WPATH), and the Endocrine

 Society. This provides only an incomplete and inaccurate portrayal of the field. I am

 aware of six rather than three professional societies providing clinical guidelines for

 the care of gender dysphoric children. They are detailed more fully in their own

 section of this report. Nonetheless, with the broad exception of the AAP, their

 statements repeatedly noted:

             x   Desistance of gender dysphoria occurs in the majority of prepubescent
                 children.
             x   Mental health issues need to be assessed as potentially contributing
                 factors and need to be addressed before transition.
             x   Puberty-blocking medication is an experimental, not a routine, treat-
                 ment.

 6   Adkins Report at 5.
 7   Anzani, et al., 2020; Lehmann, et al., 2021.


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              x   Social transition is not generally recommended until after puberty.
 Although some other associations have published broad statements of moral support

 for sexual minorities and against discrimination, they did not include any specific

 standards or guidelines regarding medical- or transition-related care.

      20.     Although Adkins referred to them as “widely accepted,” the WPATH and

 the Endocrine Society guidelines have both been subjected to standardized

 evaluation, the Appraisal of Guidelines for Research and Evaluation (“AGREE II”)

 method, as part of an appraisal of all published CPGs regarding sex and gender

 minority healthcare. 8 Utilizing community stakeholders to set domain priorities for
 the evaluation, the assessment concluded that the guidelines regarding HIV and its

 prevention were of high quality, but that “[t]ransition-related CPGs tended to lack

 methodological rigour and rely on patchier, lower-quality primary research.” 9 Neither

 the Endocrine Society’s or WPATH’s guidelines were recommended for use. Indeed,

 the WPATH guidelines received unanimous ratings of “Do not recommend.” 10

      21.     Immediately following the publication of the AAP policy, I conducted a

 point-by-point fact-check of the claims it asserted and the references it cited in

 support. I submitted that to the Journal of Sex & Marital Therapy, a well-known

 research journal of my field, where it underwent blind peer review and was published.

 I append that article as part of this report. See Appendix 2. A great deal of published

 attention ensued; however, the AAP has yet to respond to the errors I demonstrated

 its policy contained. Writing for The Economist about the use of puberty blockers,

 Helen Joyce asked AAP directly, “Has the AAP responded to Dr Cantor? If not, have

 you any response now?” The AAP Media Relations Manager, Lisa Black, responded:

 “We do not have anyone available for comment.”




 8
      Dahlen, et al., 2021.
 9    Dahlen, et al., 2021, at 6.
 10   Dahlen, et al., 2021, at 7.


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      22.    Finally, the clinical guidelines from all these associations have become

 largely outdated. As detailed in the Studies of Transition Outcomes section of this

 report, there was some reason, circa 2010, to expect positive outcomes among children

 who transition, owing to optimistic findings reported from the Netherlands.11 Early
 positive findings, however, have been retracted after statistical errors were

 identified, 12 or shown to be more attributable to mental health counseling rather than

 to medical transition. 13 The professional societies’ statements were produced during

 that earlier phase.

      23.    In contrast with these U.S.-based associations, public healthcare systems

 throughout the world have instead been withdrawing their earlier support for

 childhood transition, responding to the increasingly recognized risks associated with

 hormonal interventions and the now clear lack of evidence that medical transition

 was benefitting most children, as opposed to the mental health counseling

 accompanying transition. These have included Sweden 14,                 15,   Finland 16,   17,   and the

 United Kingdom 18, and the Royal Australian and New Zealand College of

 Psychiatrists. 19

      24.    Adkins repeatedly claimed success on the basis of what her patients tell

 her. In the absence of any systematic method, however, it is not possible to evaluate

 to what extent such a conclusion reflects human recall bias, cases of negative

 outcomes dropping out of treatment thus becoming invisible to Adkins, the

 aforementioned impression management efforts of clients, psychotherapy that they

 were receiving at the same time, or simple maturation during which the patients


 11   de Vries, et al., 2011.
 12   Kalin, 2020.
 13   c.f., Carmichael, et al., 2021; Biggs, 2019; Biggs, 2020.
 14   Swedish Agency of Health Technology Assessment and Assessment of Social Services, 2019.
 15   Nainggolan, 2021.
 16   Finland Ministry of Social Affairs and Health, Council for Choices in Health Care, 2020, June 11.
 17   Finland Ministry of Social Affairs and Health, Council for Choices in Health Care, 2020, June 16.
 18   United Kingdom National Health Service (NHS), 2021, March 11.
 19   McCall, 2021.


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 would have experienced improved mental health regardless of transition. Indeed, the

 very purpose of engaging in systematic, peer-reviewed research instead of relating

 anecdotal recollections is to rule out exactly these biases.

      25.    Adkins referred to disorders of sexual development (DSDs) and intersex

 variations to claim that the very notion of there being two sexes is inherently flawed

 (i.e., challenging “singular biological sex”). Although they both potentially involve

 medical alteration of genitalia, these are not comparable issues. DSDs and intersex

 conditions develop before birth, and objective medical testing is capable of confirming

 diagnoses. Her claims not only misrepresent the research literature on DSDs, but

 also failed to engage the relevant scientific concept, “construct validity.” Adkins

 claimed DSD prevalences of 1 in 1000 live births and 1 in 300 people in the world

 (Adkins Report at 11), leaving unclear how there could be a larger proportion of such

 people living in the world than are born in the first place. The scientific literature,

 however, shows that DSDs are much rarer than this 20 and that the very large
 majority of DSDs are the hypospadias—mislocations of the urethra on the penis. 21

 Because of the biological processes involved in causing them, hypospadias are

 classified as disorders of sexual development. That some boys are born with

 mislocated urethra is falsely taken by Adkins to demonstrate that ‘there are more

 than just boys and girls’.

      26.    Overall, Adkins’ argument was that, because there exist exceptions among

 features which distinguish male from female, the distinction itself is entirely moot.

 Although she did not use the term, Adkins is claiming that the existence of these

 exceptions demonstrates that sex lacks “construct validity.” Her argument does not,

 however, follow from how construct validity is determined in science—very many

 scientific classification systems include exceptions. Scientific constructs are not


 20   Sax, 2002.
 21   Bancroft, 2009.


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 determined by any one of the components it reflects, in this case being each of the sex

 chromosomes, sex hormones, sexually dimorphic genitalia, etc. Rather, such

 constructs are represented by the generalizable interrelationships among its multiple

 components. Notwithstanding exceptions in an individual component in an individual

 case, the interrelationships among the network of components remains intact. The

 existence of people born with a clubfoot or undeveloped leg does not challenge the

 classification of humans as a bipedal species.

      27.     Similarly to Dr. Adkins, Dr. Safer claimed that “gender identity is durable

 and cannot be changed by medical intervention,” providing no evidence or reference

 to the research literature. It is not at all apparent upon what basis such a statement

 about durability can be made, however. It has been the unanimous conclusion of every

 follow-up study of gender dysphoric children ever conducted, not only that gender

 identity does change, but also that it changes in the large majority of cases, as

 documented below. This is, of course, very different from what is reported by

 transgender adults—they are the very people for whom gender dysphoria did endure.

 Regarding responses to clinical intervention, I am not aware of, and Safer did not cite

 any research reports of medical interventions attempting to change gender identity,

 regardless of outcome. It is not clear whether Safer intended this comment to apply
 also to psychological/non-medical interventions.

 V.         Evidence Missing from Plaintiffs’ Expert Reports
      28.     One   of   the   most   widespread    public   misunderstandings     about

 transsexualism and people with gender dysphoria is that all cases of gender

 dysphoria represent the same phenomenon; however, the clinical science has long

 and consistently demonstrated that gender dysphoric children (cases of early-onset

 gender dysphoria) do not represent the same phenomenon as adult gender dysphoria




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 (cases of late-onset gender dysphoria), 22 merely attending clinics at younger ages.
 That is, gender dysphoric children are not simply younger versions of gender

 dysphoric adults. They differ in every known regard, from sexual interest patterns,

 to responses to treatments. A third presentation has recently become increasingly

 observed among people presenting to gender clinics: These cases appear to have an

 onset in adolescence in the absence of any childhood history of gender dysphoria. Such

 cases have been called adolescent-onset or “rapid-onset” gender dysphoria (ROGD).

      29.     In the context of school athletics, the adult-onset phenomenon would not

 seem relevant; however, very many public misunderstandings and expert

 misstatements come from misattributing evidence or personal experience from one of

 these types to the other. For example, there exist only very few cases of transition

 regret among adult transitioners, whereas the research has unanimously shown that

 the majority of children with gender dysphoria desist—that is, cease to experience

 such dysphoria by or during puberty. A brief summary of the adult-onset phenomenon

 is included, to facilitate distinguishing features which are unique to childhood gender

 dysphoria.

            A. Adult-Onset Gender Dysphoria
      30.     People with adult-onset gender dysphoria typically attend clinics

 requesting transition services in mid-adulthood, usually in their 30s or 40s. Such

 individuals are nearly exclusively male. 23 They typically report being sexually

 attracted to women and sometimes to both men and women. Some cases profess

 asexuality, but very few indicate any sexual interest in or behavior involving men. 24

 Cases of adult-onset gender dysphoria are typically associated with a sexual interest

 pattern (medically, a paraphilia) involving themselves in female form. 25


 22   Blanchard, 1985.
 23   Blanchard, 1990, 1991.
 24   Blanchard, 1988.
 25   Blanchard 1989a, 1989b, 1991.


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              1. Outcome Studies       of   Transition   in   Adult-Onset     Gender
                 Dysphoria
      31.     Clinical research facilities studying gender dysphoria have repeatedly

 reported low rates of regret (less than 3%) among adult-onset patients who

 underwent complete transition (i.e., social, plus hormonal, plus surgical transition).

 This has been widely reported by clinics in Canada, 26 Sweden, 27 and the
 Netherlands. 28

      32.     Importantly, each of the Canadian, Swedish, and Dutch clinics for adults

 with gender dysphoria all performed “gate-keeping” procedures, disqualifying from

 medical services people with mental health or other contraindications. One would not

 expect the same results to emerge in the absence of such gate-keeping or when gate-

 keepers apply only minimal standards or cursory assessment.

              2. Mental Health Issues in Adult-Onset Gender Dysphoria
      33.     The research evidence on mental health issues in gender dysphoria

 indicates it to be different between adult-onset versus adolescent-onset versus

 prepubescent-onset types. The co-occurrence of mental illness with gender dysphoria

 in adults is widely recognized and widely documented. 29 A research team in 2016

 published a comprehensive and systematic review of all studies examining rates of

 mental health issues in transgender adults. 30 There were 38 studies in total. The

 review indicated that many studies were methodologically weak, but nonetheless

 concluded (1) that rates of mental health issues among people are highly elevated

 both before and after transition, (2) but that rates were less elevated among those

 who completed transition. Analyses were not conducted in a way so as to compare the

 elevation in mental health issues observed among people newly attending clinics to

 improvement after transition. Also, several studies showed more than 40% of patients

 26   Blanchard, et al., 1989.
 27   Dhejneberg, et al., 2014.
 28   Wiepjes, et al., 2018.
 29   See, e.g., Hepp, et al., 2005.
 30   Dhejne, et al., 2016.


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 becoming “lost to follow-up.” With attrition rates that high, it is unclear to what

 extent the information from the available participants genuinely reflects the whole

 sample. The very high “lost to follow-up” rate leaves open the possibility of

 considerably more negative results overall.

    34.    An important caution applies to interpreting these results: These very high

 proportions of mental health issues come from people who are attending a clinic for

 the first time and are undergoing assessment. Clinics serving a “gate-keeper” role

 divert candidates with mental health issues away from medical intervention. The

 side-effect of removing these people from the samples of transitioners is that if a

 researcher compared the average mental health of individuals coming into the clinic

 with the average mental health of individuals going through medical transition, then

 the post-transition group would appear to show a substantial improvement, even

 though transition had no effect at all: The removal of people with poorer mental

 health created the statistical illusion of improvement among the remaining people.

    35.    The long-standing and consistent finding that gender dysphoric adults have

 high rates of mental health issues both before and after transition and the finding

 that those mental health issues cause the gender dysphoria (the epiphenomenon)

 rather than the other way around indicate a critical point: To the extent that gender
 dysphoric children resemble adults, we should not expect mental health to improve

 as a result of transition. Mental health issues should be resolved before any

 transition.




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            B. Childhood Onset (Pre-Puberty) Gender Dysphoria

              1. Prospective Studies of Childhood-Onset Gender Dysphoria
                 Show that Most Children Desist in the “Natural Course” by
                 Puberty
      36.     The large majority of childhood onset cases of gender dysphoria occur in

 biological males, with clinics reporting 2–6 biological male children to each female.31
      37.     Prepubescent children (and their parents) have been approaching mental

 health professionals for help with their unhappiness with their sex and belief they

 would be happier living as the other for many decades. Projects following-up and

 reporting on such cases began being published in the 1970s, with subsequent

 generations of research employing increasingly sophisticated methods studying the

 outcomes of increasingly large samples. In total, there have now been a total of 11

 such outcomes studies. See the appendix to Appendix 2 (listing these studies).

      38.     In sum, despite coming from a variety of countries, conducted by a variety

 of labs, using a variety of methods, all spanning four decades, every study without

 exception has come to the identical conclusion: Among prepubescent children who feel

 gender dysphoric, the majority cease to want to be the other gender over the course

 of puberty—ranging from 61–88% desistance across the large, prospective studies.

 Such cases are often referred to as “desisters,” whereas children who continue to feel

 gender dysphoria are often called “persisters.”

      39.     Notably, in most cases, these children were receiving professional

 psychosocial support across the study period aimed not at affirming cross-gender

 identification, but at resolving stressors and issues potentially interfering with

 desistance. While beneficial to these children and their families, the inclusion of

 therapy in the study protocol represents a complication for the interpretation of the

 results: That is, it is not possible to know to what extent the observed outcomes

 (predominant desistance, with a small but consistent occurrence of persistence) were


 31   Cohen-Kettenis, et al., 2003; Steensma, et al., 2018; Wood, et al., 2013.


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 influenced by the psychosocial support, or would have emerged regardless. It can be

 concluded only that prepubescent children who suffer gender dysphoria and receive

 psychosocial support focused on issues other than “affirmation” of cross-gender

 identification do in fact desist in suffering from gender dysphoria, at high rates, over

 the course of puberty.

    40.    While the absolute number of those who present as prepubescent children

 with gender dysphoria and “persist” through adolescence is very small in relation to

 the total population, persistence in some subjects was observed in each of these

 studies. Thus, the clinician cannot take either outcome for granted.

    41.    It is because of this long-established and invariably consistent research

 finding that desistance is probable, but not inevitable, that the “watchful waiting”

 method became the standard approach for assisting gender dysphoric children. The

 balance of potential risks to potential benefits is very different for groups likely to

 desist versus groups unlikely to desist: If a child is very likely to persist, then taking

 on the risks of medical transition might be more worthwhile than if that child is very

 likely to desist in transgender feelings.

    42.    The consistent observation of high rates of desistance among pre-pubertal

 children who present with gender dysphoria demonstrates a pivotally important—
 yet often overlooked—feature: because gender dysphoria so often desists on its own,

 clinical researchers cannot assume that therapeutic intervention cannot facilitate or

 speed desistance for at least some patients. Such is an empirical question, and there

 has not yet been any such study.

    43.    It is also important to note that research has not yet identified any reliable

 procedure for discerning which children who present with gender dysphoria will

 persist, as against the majority who will desist, absent transition and “affirmation.”

 Such a method would be valuable, as the more accurately that potential persisters

 can be distinguished from desisters, the better the risks and benefits of options can


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 be weighted. Such “risk prediction” and behavioral “test construction” are standard

 components of applied statistics in the behavioral sciences. Multiple research teams

 have reported that, on average, groups of persisters are somewhat more gender non-

 conforming than desisters, but not so different as to usefully predict the course of a

 particular child. 32
      44.    In contrast, a single research team, led by Dr. Kristina Olson, claimed the

 opposite, asserting to have developed a method of distinguishing persisters from

 desisters, using a single composite score representing a combination of children’s

 “peer preference, toy preference, clothing preference, gender similarity, and gender

 identity.” 33 That team reported a statistical association (mathematically equivalent

 to a correlation) between that composite score and the probability of persistence. As

 they described their result, “Our model predicted that a child with a gender-

 nonconformity score of .50 would have roughly a .30 probability . . . of socially

 transitioning. By contrast, a child with gender-nonconformity score of .75 would have

 roughly a .48 probability.” 34 Although the authors declared that “social transitions

 may be predictable from gender identification and preferences,” 35 their actual results

 suggest the opposite: The gender-nonconforming group who went on to transition

 (socially) had a mean composite score of .73 (which is less than .75), and the gender-

 nonconforming group who did not transition had a mean composite score of .61, also

 less than .75. 36 Both of those are lower than the value of .75, so both of those would

 be more likely than not to desist, rather than to proceed to transition. Thus, Olson’s

 model does not distinguish likely from unlikely to transition; rather, it distinguishes

 unlikely from even less likely to transition.



 32   Singh, et al. (2021); Steensma et al., 2013.
 33   Rae, et al., 2019, at 671.
 34   Rae, et al., 2019, at 673.
 35   Rae, et al., 2019, at 669.
 36   Rae, et al., 2019, Supplemental Material at 6, Table S1, bottom line.


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    45.    Although it remains possible for some future finding to yield a method to

 identify with sufficient accuracy which gender dysphoric children will persist, there

 does not exist such a method at the present time. Moreover, in the absence of long-

 term follow-up, it cannot be known what proportions come to regret having

 transitioned and then detransition. Because only a minority of gender dysphoric chil-

 dren persist in feeling gender dysphoric in the first place, “transition-on-demand” in-

 creases the probably of unnecessary transition and unnecessary medical risks.

           2. “Watchful Waiting” and “The Dutch Approach”
    46.    It was this state of the science—that the majority of prepubescent children

 will desist in their feelings of gender dysphoria and that we lack an accurate method

 of identifying which children will persist—that led to the development of a clinical

 approach, often called “The Dutch Approach” (referring to The Netherlands clinic

 where it was developed) including “Watchful Waiting” periods. Internationally, the

 Dutch Approach is currently the most widely respected and utilized method for

 treatment of children who present with gender dysphoria.

    47.    The purpose of these methods was to compromise the conflicting needs

 among: clients’ desires upon assessment, the long-established and repeated

 observation that those preferences will change in the majority of (but not all)
 childhood cases, and that cosmetic aspects of medical transition are perceived to be

 better when they occur earlier rather than later.

    48.    The Dutch Approach (also called the “Dutch Protocol”) was developed over

 many years by the Netherlands’ child gender identity clinic, incorporating the

 accumulating findings from their own research as well as those reported by other

 clinics working with gender dysphoric children. They summarized and explicated the

 approach in their peer-reviewed report, Clinical management of gender dysphoria in

 children and adolescents: The Dutch Approach (de Vries & Cohen-Kettenis, 2012).




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 The components of the Dutch Approach are:
             x   no social transition at all considered before age 12 (watchful waiting
                 period),
             x   no puberty blockers considered before age 12,
             x   cross-sex hormones considered only after age 16, and
             x   resolution of mental health issues before any transition.
      49.    For youth under age 12, “the general recommendation is watchful waiting

 and carefully observing how gender dysphoria develops in the first stages of puberty.” 37
      50.    The age cut-offs of the Dutch Approach authors were not based on any

 research demonstrating their superiority over other potential age cut-off’s. Rather,

 they were chosen to correspond to ages of consent to medical procedures under Dutch

 law. But whatever their original rationale, the data from this clinic simply contains

 no information about safety or efficacy of these measures at younger ages.

      51.    The authors of the Dutch Approach repeatedly and consistently emphasize

 the need for extensive mental health assessment, including clinical interviews,

 formal psychological testing with validated psychometric instruments, and multiple

 sessions with the child and the child’s parents.

      52.    Within the Dutch approach, there is no social transition before age twelve.

 That is, social affirmation of the new gender may not begin until age 12—as

 desistance is less likely to occur past that age. “Watchful Waiting” refers to a child’s

 developmental period up to that age. Watchful waiting does not mean do nothing but

 passively observe the child. Such children and families typically present with

 substantial distress involving both gender and non-gender issues. It is during the

 watchful waiting period that a child (and other family members as appropriate) would

 undergo therapy, resolving other issues which may be exacerbating psychological

 stress or dysphoria. As noted by the Dutch clinic, “[T]he adolescents in this study

 received extensive family or other social support . . . [and they] were all regularly


 37   de Vries & Cohen-Kettenis, 2012, at 301.


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 seen by one of the clinic’s psychologists or psychiatrists.” 38 One is actively treating
 the person, while carefully “watching” the dysphoria.

      53.     The inclusion of psychotherapy and support during the watchful waiting

 period is, clinically, a great benefit to the gender dysphoric children and their parents.

 The inclusion of psychotherapy and support poses a scientific complication, however:

 It becomes difficult to know to what extent the outcomes of these cases might be

 related to receiving psychotherapy received versus being “spontaneous” desistance,

 which would have occurred on its own anyway. This situation is referred to in science

 as a “confound.”

              3. Studies of Transition Outcomes: Overview
      54.     Very many strong claims have appeared in the media and on social media

 asserting that transition results in improved mental health or, contradictorily, in

 decreased mental health. In the highly politicized context of gender and transgender

 research, many authors have cited only the findings which appear to support one side,

 cherry-picking from the complete set of research reports. Seemingly contradictory

 findings are common in science with on-going research projects. When considered

 together, however, the full set of relevant reports show that a coherent pattern and

 conclusion has emerged over time, as detailed in the following sections. Initial

 optimism was suggested by reports of improvements in mental health. 39 Upon

 continued analysis, these seeming successes turned out to be illusory, however: The

 Bränström and Pachankis (2019) finding has been retracted. 40 The greater mental

 health among transitioners reported by Costa, et al. (2015) was noted to be because

 the control group consisted of cases excluded from hormone eligibility exactly because

 they showed poor mental health to begin with. 41 The improvements reported by the


 38   de Vries, et al., 2011, at 2280-81.
 39   Bränström & Pachankis 2019; Costa, et al., 2015; de Vries, et al., 2011; de Vries, et al., 2014.
 40   Kalin, 2020.
 41   Biggs, 2019.


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 de Vries studies from the Dutch Clinic themselves appear genuine; however, because

 that clinic also provides psychotherapy to all cases receiving puberty-blockers, it

 remains entirely plausible that the psychotherapy and not the puberty blockers

 caused the improvements. 42 New studies continued to appear an accelerating rate,
 repeatedly reporting deteriorations or lacks of improvement in mental health 43 or

 lack of improvement beyond psychotherapy alone, 44 and other studies continue to re-

 port on only the combined effect of both psychotherapy and hormone treatment

 together. 45
                  a. Outcomes of The Dutch Approach (studies from before 2017):
                     Mix of positive, negative, and neutral outcomes
      55.     The research confirms that some, but not all, adolescents improve on some,

 but not all, indicators of mental health and that those indicators are inconsistent

 across studies. Thus, the balance of potential benefits to potential risks differs across

 cases, and thus suggests different courses of treatment across cases.

      56.     The Dutch clinical research team followed up 70 youth undergoing puberty

 suppression at their clinic. 46 The youth improved on several variables upon follow-up

 as compared to pre-suppression measurement, including depressive symptoms and

 general functioning. No changes were detected in feelings of anxiety or anger or in

 gender dysphoria as a result of puberty suppression; however, natal females using

 puberty suppression suffered increased body dissatisfaction both with their

 secondary sex characteristics and with nonsexual characteristics. 47

      57.     As the report authors noted, while it is possible that the improvement on

 some variables was due to the puberty-blockers, it is also possible that the

 improvement was due to the mental health support, and it is possible that the


 42   Biggs, 2020.
 43   Carmichael, et al., 2021; Hisle-Gorman, et al., 2021; Kaltiala, et al., 2020.
 44   Achille, et al., 2020.
 45   Kuper, et al., 2020; van der Miesen, et al., 2020, at 703.
 46   de Vries, et al. 2011.
 47   Biggs, 2020.


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 improvement occurred only on its own with natural maturation. So any conclusion

 that puberty blockers improved the mental health of the treated children is not

 justified by the data. Because this study did not include a control group (another

 group of adolescents matching the first group, but not receiving medical or social

 support), these possibilities cannot be distinguished from each other, representing a

 confound. The authors of the study were explicit in noting this themselves: “All these

 factors may have contributed to the psychological well-being of these gender

 dysphoric adolescents.” 48
      58.     The authors were careful not to overstate the implications of their results,

 “We cautiously conclude that puberty suppression may be a valuable element in

 clinical management of adolescent gender dysphoria.” 49

      59.     Costa, et al. (2015) reported on preliminary outcomes from the Tavistock

 and Portman NHS Foundation Trust clinic in the UK. They compared the

 psychological functioning of one group of youth receiving psychological support with

 a second group receiving both psychological support as well as puberty blocking

 medication. Both groups improved in psychological functioning over the course of the

 study, but no statistically significant differences between the groups was detected at

 any point. 50 As those authors concluded, “Psychological support and puberty

 suppression were both associated with an improved global psychosocial functioning

 in GD adolescence. Both these interventions may be considered effective in the

 clinical management of psychosocial functioning difficulties in GD adolescence.” 51

 Because psychological support does not pose the physical health risks that hormonal

 interventions or surgery does (such as loss of reproductive function), one cannot

 justify taking on the greater risks of social transition, puberty blockers or surgery


 48   de Vries, et al. 2011, at 2281.
 49   de Vries, et al. 2011, at 2282, italics added.
 50   Costa, et al., at 2212 Table 2.
 51   Costa, et al., at 2206.


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 without evidence of such treatment producing superior results. Such evidence does

 not exist.
                  b. Clinicians and advocates have invoked the Dutch Approach
                     while departing from its protocols in important ways.
      60.     The reports of partial success contained in de Vries, et al. 2011 called for

 additional research, both to confirm those results and to search for ways to maximize

 beneficial results and minimize negative outcomes. Instead, many other clinics and

 clinicians proceeded on the basis of the positives only, broadened the range of people

 beyond those represented in the research findings, and removed the protections

 applied in the procedures that led to those outcomes. Many clinics and individual

 clinicians have reduced the minimum age for transition to 10 instead of 12. While the

 Dutch Protocol involves interdisciplinary teams of clinicians, many clinics now rely

 on a single assessor, in some cases one without adequate professional training in

 childhood and adolescent mental health. Comprehensive, longitudinal assessments

 (e.g., one and a half years 52) became approvals after one or two assessment sessions.
 Validated, objective measures of youths’ psychological functioning were replaced with

 clinicians’ subjective (and first) opinions, often reflecting only the clients’ own self-

 report. Systematic recordings of outcomes, so as to allow for detection and correction

 of clinical deficiencies, were eliminated.

      61.     Notably, Dr. Thomas Steensma, central researcher of the Dutch clinic, has

 decried other clinics for “blindly adopting our research” despite the indications that

 those results may not actually apply: “We don’t know whether studies we have done

 in the past are still applicable to today. Many more children are registering, and also

 a different type.” 53 Steensma opined that “every doctor or psychologist who is involved

 in transgender care should feel the obligation to do a good pre- and post-test.” But

 few if any are doing so.

 52   de Vries, et al., 2011.
 53   Tetelepta, 2021.


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                  c. Studies by other clinicians in other countries have failed to
                     reliably replicate the positive components of the results
                     reported by the Dutch clinicians in de Vries et al. 2011.
      62.     The indications of potential benefit from puberty suppression in at least

 some cases has led some clinicians to attempt to replicate the positive aspects of those

 findings. These efforts have not succeeded.

      63.     The Tavistock and Portman clinic in the U.K. recently released its findings,

 attempting to replicate the outcomes reported by the Dutch clinic. 54 Study
 participants were ages 12–15 (Tanner stages 3 for natal males, Tanner 2 for natal

 females) and were repeatedly tested before beginning puberty-blocking medications

 and then every six months thereafter. Cases exhibiting serious mental illnesses (e.g.,

 psychosis, bipolar disorder, anorexia nervosa, severe body-dysmorphic disorder

 unrelated to gender dysphoria) were excluded. Relative to the time point before

 beginning puberty suppression, there were no significant changes in any

 psychological measure, from either the patients’ or their parents’ perspective.

      64.     A multidisciplinary team from Dallas published a prospective follow-up

 study which included 25 youths as they began puberty suppression. 55 (The other 123

 study participants were undergoing cross-sex hormone treatment.) Interventions were

 administered according to “Endocrine Society Clinical Practice Guidelines.” 56 Their

 analyses found no statistically significant changes in the group undergoing puberty

 suppression on any of the nine measures of wellbeing measured, spanning tests of

 body satisfaction, depressive symptoms, or anxiety symptoms. 57 (Although the

 authors reported detecting some improvements, these were only found when the large

 group undergoing cross-sex hormone treatment were added in.) Although the Dutch




 54   Carmichael, et al., 2021.
 55   Kuper, et al., 2020, at 5.
 56   Kuper, et al., 2020, at 3, referring to Hembree, et al., 2017.
 57   Kuper, et al., 2020, at Table 2.


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 Approach includes age 12 as a minimum for puberty suppression treatment, this team

 provided such treatment beginning at age 9.8 years (full range: 9.8–14.9 years). 58
      65.     Achille, et al. (2020) at Stony Brook Children’s Hospital in New York

 treated a sample of 95 youth with gender dysphoria, providing follow-up data on 50

 of them. (The report did not indicate how these 50 were selected from the 95.) As well

 as receiving puberty blocking medications, “Most subjects were followed by mental

 health professionals. Those that were not were encouraged to see a mental health

 professional.” 59 The puberty blockers themselves “were introduced in accordance with

 the Endocrine Society and the WPATH guidelines.” 60 Upon follow-up, some

 incremental improvements were noted; however, after statistically adjusting for

 psychiatric medication and engagement in counselling, “most predictors did not reach

 statistical significance.” 61 That is, puberty blockers did not improve mental health

 any more than did mental health care on its own.

      66.     In a recent update, the Dutch clinic reported continuing to find improve-

 ment in transgender adolescents’ psychological functioning, reaching age-typical lev-

 els, “after the start of specialized transgender care involving puberty suppression.” 62

 Unfortunately, because the transgender care method of that clinic involves both

 psychosocial support and puberty suppression, it cannot be known which of those (or

 their combination) is driving the improvement. Also, the authors indicate that the

 changing demographic and other features among gender dysphoric youth might have

 caused the treated group to differ from the control group in unknown ways. As the

 study authors themselves noted, “The present study can, therefore, not provide




 58   Kuper, et al., 2020, at 4.
 59   Achille, et al., 2020, at 2.
 60   Achille, et al., 2020, at 2.
 61   Achille, et al., 2020, at 3 (italics added).
 62   van der Miesen, et al., 2020, at 699.


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 evidence about the direct benefits of puberty suppression over time and long-term

 mental health outcomes.” 63
      67.     It has not yet been determined why the successful outcomes reported by the

 Dutch child gender clinic a decade ago failed to emerge when applied by others more

 recently. It is possible that:
              (1) The Dutch Approach itself does not work and that their originally
                  successful results were a fluke;
              (2) The Dutch Approach does work, but only in the Netherlands, with local
                  cultural, genetic, or other unrecognized factors that do not generalize to
                  other countries;
              (3) The Dutch Approach itself does work, but other clinics and individual
                  clinicians are removing safeguards and adding short-cuts to the
                  approach, and those changes are hampering success.
              (4) The Dutch Approach does work, but the cause of the improvement is the
                  psychosocial support, rather than any medical intervention, which other
                  clinics are not providing.
      68.     The failure of other clinics to repeat the already very qualified success of

 the Dutch clinic demonstrates the need for still greater caution before endorsing

 transition and the greater need to resolve potential mental health obstacles before

 doing so.

              4. Mental Health Issues in Childhood-Onset Gender Dysphoria
      69.     As shown by the outcomes studies, there is no statistically significant

 evidence that transition reduces the presence of mental illness among transitioners.

 As shown repeatedly by clinical guidelines from multiple professional associations,

 mental health issues are expected or required to be resolved before undergoing

 transition.      The reasoning behind these conclusions is that children may be

 expressing gender dysphoria, not because they are experiencing what gender

 dysphoric adults report, but because they mistake what their experiences indicate or

 to what they might lead. For example, a child experiencing depression from social




 63   van der Miesen, et al., 2020, at 703.


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 isolation might develop hope—and the unrealistic expectation—that transition will

 help them fit in, this time as and with the other sex.

      70.     If a child undergoes transition, discovering only then that their mental

 health or social situations will not in fact change, the medical risks and side-effects

 (such as sterilization) will have been borne for no reason. If, however, a child resolves

 the mental health issues first with the gender dysphoria resolving with it (which the

 research literature shows to be the case in the large majority), then the child need

 not undergo transition at all, but yet still retains the opportunity to do so later.

      71.     Elevated rates of multiple mental health issues among gender dysphoric

 children are reported throughout the research literature. A formal analysis of

 children (ages 4–11) undergoing assessment at the Dutch child gender clinic showed

 52% fulfilled criteria for a DSM axis-I disorder. 64 A comparison of the children
 attending the Canadian versus Dutch child gender dysphoria clinic showed only few

 differences between them, but a large proportion in both groups were diagnosable

 with clinically significant mental health issues. Results of standard assessment

 instruments (Child Behavior Check List, or CBCL) demonstrated that the average

 score was in the clinical rather than healthy range, among children in both clinics. 65

 When expressed as percentages, among 6–11-year-olds, 61.7% of the Canadian and

 62.1% of the Dutch sample were in the clinical range.

      72.     A systematic, comprehensive review of all studies of Autism Spectrum

 Disorders (ASDs) and Attention-Deficit Hyperactivity Disorder (ADHD) among

 children diagnosed with gender dysphoria was recently conducted. It was able to

 identify a total of 22 studies examining the prevalence of ASD or ADHD I youth with

 gender dysphoria. Studies reviewing medical records of children and adolescents

 referred to gender clinics showed 5–26% to have been diagnosed with ASD. 66

 64   Wallien, et al., 2007.
 65   Cohen-Kettenis, et al., 2003, at 46.
 66   Thrower, et al., 2020.


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 Moreover, those authors gave specific caution on the “considerable overlap between

 symptoms of ASD and symptoms of gender variance, exemplified by the subthreshold

 group which may display symptoms which could be interpreted as either ASD or

 gender variance. Overlap between symptoms of ASD and symptoms of GD may well

 confound results.” 67 When two or more issues are present at the same time (in this
 case, gender dysphoria present at the same time as ADHD or ASD), researchers

 cannot distinguish when a result is associated with or caused by the issue of interest

 (gender dysphoria itself) or one of the side issues, called confounds (ADHD or ASD,

 in the present case). 68 The rate of ADHD among children with GD was 8.3–11%.

 Conversely, in data from children (ages 6–18) with Autism Spectrum Disorders

 (ASDs) show they are more than seven times more likely to have parent-reported

 “gender variance.” 69

            C. Adolescent-Onset Gender Dysphoria

              1. Features of Adolescent-Onset Gender Dysphoria
      73.     A third profile has begun to present to clinicians or socially,

 characteristically distinct from the previously identified ones. 70 Unlike adult-onset

 gender dysphoria (and also unlike childhood-onset, see supra Part IV.B.2), this group

 is predominately biologically female. This group first presents in adolescence, but

 lacks the history of cross-gender behavior in childhood like the childhood-onset cases

 have. It is this feature which led to the term Rapid Onset Gender Dysphoria

 (ROGD). 71 The majority of cases appear to occur within clusters of peers and in

 association with increased social media use 72 and especially among people with

 autism or other neurodevelopmental or mental health issues. 73

 67   Thrower, et al., 2020, at 703.
 68   Cohen-Kettenis et al., 2003, at 51; Skelly et al., 2012.
 69   Janssen, et al., 2016.
 70   Kaltiala-Heino, et al., 2015; Littman, 2018.
 71   Littman, 2018.
 72   Littman, 2018.
 73   Kaltiala-Heino, et al., 2015; Littman, 2018; Warrier, et al., 2020.


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      74.    It cannot be easily determined whether the self-reported gender dysphoria

 is a result of other underlying issues or if those mental health issues are the result of

 the stresses of being a stigmatized minority, as some writers are quick to assume. 74
 See infra Part VI.E (discussing the minority stress hypothesis). Importantly, and

 unlike other presentations of gender dysphoria, people with rapid-onset gender

 dysphoria often (47.2%) experienced declines rather than improvements in mental

 health when they publicly acknowledged their gender status.75 Although long-term

 outcomes have not yet been reported, these distinctions argue against generalizing

 findings from the other types of gender dysphoria to this one. That is, in the absence

 of evidence, researchers cannot assume that the pattern found in childhood-onset or

 adult-onset gender dysphoria also applies to rapid-onset (aka adolescent-onset)

 gender dysphoria. That is, the group differences already observed argue against the

 conclusion that any given feature would be present, in general, throughout all types

 of gender dysphoria.

             2. Prospective Studies of Social Transition and Puberty Blockers
                in Adolescence
      75.    There do not yet exist prospective outcomes studies either for social

 transition or for medical interventions for people whose gender dysphoria began in

 adolescence. That is, instead of taking a sample of individuals and following them

 forward over time (thus permitting researchers to account for people dropping out of

 the study, people misremembering the order of events, etc.), all studies have thus far

 been retrospective. It is not possible for such studies to identify what factors caused

 what outcomes. No study has yet been organized in such a way as to allow for an

 analysis of the adolescent-onset group, as distinct from childhood-onset or adult-onset

 cases. Many of the newer clinics (not the original clinics systematically tracking and

 reporting on their case results) fail to distinguish between people who had childhood-

 74   Boivin, et al., 2020.
 75   Biggs, 2020; Littman, 2018.


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 onset gender dysphoria and have aged into adolescence and people whose onset was

 not until adolescence. Similarly, there are clinics failing to distinguish people who

 had adolescent-onset gender dysphoria and aged into adulthood from adult-onset

 gender dysphoria. Studies selecting groups according to their current age instead of

 their ages of onset can produce only confounded results, representing unclear mixes

 according to how many of each type of case wound up in the final sample.

             3. Mental Illness in Adolescent-Onset Gender Dysphoria
      76.    In 2019, a Special Section of the Archives of Sexual Behavior was published:

 “Clinical Approaches to Adolescents with Gender Dysphoria.” It included this brief

 yet thorough summary of rates of mental health issues among adolescents expressing

 gender dysphoria by Dr. Aron Janssen of the Department of Child and Adolescent

 Psychiatry of New York University: 76 The literature varies in the range of
 percentages of adolescents with co-occurring disorders. The range for depressive

 symptoms ranges was 6–42%, 77 with suicide attempts ranging 10 to 45%. 78 Self-

 injurious thoughts and behaviors range 14–39%. 79 Anxiety disorders and disruptive

 behavior difficulties including Attention Deficit/Hyperactivity Disorder are also

 prevalent. 80 Gender dysphoria also overlaps with Autism Spectrum Disorder. 81

      77.    Of particular concern in the context of adolescent onset gender dysphoria is

 Borderline Personality Disorder (BPD). The DSM criteria for BPD are:
             A pervasive pattern of instability of interpersonal relationships, self-
             image, and affects, and marked impulsivity beginning by early
             adulthood and present in a variety of contexts, as indicated by five (or
             more) of the following:
             1. Frantic efforts to avoid real or imagined abandonment. (Note: Do not
                include suicidal or self-mutilating behaviour covered in Criterion 5.)


 76 Janssen, et al., 2019.
 77 Holt, et al., 2016; Skagerberg, et al., 2013; Wallien, et al., 2007.
 78 Reisner, et al., 2015.
 79 Holt, et al., 2016; Skagerberg, et al., 2013.
 80 de Vries, et al., 2011; Mustanski, et al., 2010; Wallien, et al., 2007.
 81 de Vries, et al., 2010; Jacobs, et al., 2014; Janssen, et al., 2016; May, et al., 2016; Strang, et al.,
 2014, 2016.


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             2. A pattern of unstable and intense interpersonal relationship
                characterized by alternating between extremes of idealization and
                devaluation.
             3. Identity disturbance: markedly and persistently unstable self-image
                or sense of self.
             4. Impulsivity in at least two areas that are potentially self-damaging
                (e.g., spending, sex, substance abuse, reckless driving, binge eating).
                (Note: Do not include suicidal or self-mutilating behavior covered in
                Criterion 5.)
             5. Recurrent suicidal behaviour, gestures, or threats, or self-mutilating
                behavior.
             6. Affective instability due to a marked reactivity of mood (e.g., intense
                episodic dysphoria, irritability, or anxiety usually lasting a few hours
                and only rarely more than a few days).
             7. Chronic feelings of emptiness.
             8. Inappropriate, intense anger or difficulty controlling anger (e.g., fre-
                quent displays of temper, constant anger, recurrent physical fights).
             9. Transient, stress-related paranoid ideation or severe dissociative
                symptoms.
 (Italics added.)

      78.    It is increasingly hypothesized that very many cases appearing to be ado-

 lescent-onset gender dysphoria are actually cases of BPD. 82 That is, some people may
 be misinterpreting their experiences to represent a gender identity issue, when it

 instead represents the “identity disturbance” noted in symptom Criterion 3. Like

 adolescent-onset gender dysphoria, BPD begins to manifest in adolescence, is

 substantially more common among biological females than males, and occurs in 2–

 3% of the population, rather than 1-in-5,000 people (i.e., 0.02%). Thus, if even only a

 portion of people with BPD had an ‘identity disturbance’ that focused on gender

 identity and were mistaken for transgender, they could easily overwhelm the number

 of genuine cases of gender dysphoria.

      79.    A primary cause for concern is symptom Criterion 5: recurrent suicidality.

 Regarding the provision of mental health care, this is a crucial distinction: A person

 with BPD going undiagnosed will not receive the appropriate treatments (the


 82   E.g., Zucker, 2019.


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 currently most effective of which is Dialectical Behavior Therapy). A person with a

 cross-gender identity would be expected to feel relief from medical transition, but

 someone with BPD would not: The problem was not about gender identity, but about

 having an unstable identity. Moreover, after a failure of medical transition to provide

 relief, one would predict for these people increased levels of hopelessness and

 increased risk of suicidality. One would predict also that misdiagnoses would occur

 more often if one reflexively dismissed or discounted symptoms of BPD as responses

 to “minority stress.” See infra Part VI.D (discussing minority stress).

       80.     Regarding research, there have now been several attempts to document

 rates of suicidality among gender dysphoric adolescents. See infra Part VI.C. The

 scientific concern presented by BPD is that it poses a potential confound: samples of

 gender dysphoric adolescents could appear to have elevated rates of suicidality, not

 because of the gender dysphoria (or transphobia in society), but because of the

 number of people with BPD in the sample.

 VI.         Alleged Scientific Claims Assessed

             A. Conversion Therapy
       81.     Activists and social media increasingly, but erroneously, apply the term

 “conversion therapy” moving farther and farther from what the research has
 reported. “Conversion therapy” (or “reparative therapy” and other names) was the

 attempt to change a person’s sexual orientation; however, with the public more

 frequently accustomed to “LGB” being expanded to “LGBTQ+”, the claims relevant

 only to sexual orientation are being misapplied to gender identity. The research has

 repeatedly demonstrated that once one explicitly acknowledges being gay or lesbian,

 this is only rarely mistaken. That is entirely unlike gender identity, wherein the

 great majority of children who declare cross-gender identity cease to do so by puberty,

 as shown unanimously by every follow-up study ever published. As the field grows

 increasingly polarized, any therapy failing to provide affirmation-on-demand is


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 mislabeled “conversion therapy.” 83 Indeed, even actions of non-therapists, unrelated
 to any therapy have been labelled conversion therapy, including the very prohibition

 of biological males competing on female teams.84

            B. Claims that All Childhood Outcome Studies Are Wrong
      82.     As already indicated, the follow-up studies of gender dysphoric children are

 unanimous in their conclusion that gender dysphoria desists in the large majority of

 cases. Nonetheless, some authors assert that the entire set of prospective outcomes

 studies on prepubescent children is wrong; that desistance is not, in fact, the usual

 outcome for gender dysphoric children; and that results from various retrospective

 studies are the more accurate picture. 85 As indicated in the responses published from

 authors of several prospective outcomes studies (and as summarized below), the

 detractors’ arguments are invalid. 86

      83.     There have been accusations that some of the prospective outcome studies

 are old. This criticism would be valid only if newer studies showed different results

 from the older studies; however, the findings of desistance are the same, indicating

 that age of the studies is not, in fact, a factor.

      84.     There have been accusations that some studies failed to use a DSM

 diagnosis, and should therefore be rejected. That would be a valid criticism only if

 studies using the DSM showed different results from studies not using the DSM.

 Because both kinds of studies showed the same results, one may conclude that DSM

 status was not a factor, even if using a DSM diagnosis would have been a preferred

 method.



 83  D’Angelo, R., Syrulnik, E., Ayad, S., Marchiano, L., Kenny, D. T., & Clarke, P. (2021). One size
 does not fit all: In support of psychotherapy for gender dysphoria. Archives of Sexual Behavior, 50, 7–
 16.
 84  Turban, J. (2021, March 16). Trans girls belong on girls’ sports teams. Scientific American.
 www.scientificamerican.com/article/trans-girls-belong-on-girls-sports-teams/
 85  Temple Newhook, et al., 2018; Winters, et al., 2018.
 86  Steensma, et al., 2018a; Zucker, et al. 2018.


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    85.     There have been criticisms that some studies are too small to provide a

 reliable result. It is indeed true that if larger studies showed different results from

 the smaller studies, we would tend to favor the results of the larger studies. Because

 the smaller studies came to the same conclusion as the larger studies, however, the

 criticism is, once again, entirely moot.

    86.     There have been accusations that studies did not use the current DSM-5 as

 their method of diagnosing gender dysphoric children. This criticism would be valid

 only if there existed any studies using the DSM-5 against which to compare the

 existing studies. The DSM-5 is still too recent for there yet to have been long-term

 follow-up studies. It can be seen, however, that the outcome studies are the same

 across the DSM-III, DSM-III-R, DSM-IV, and DSM-IV-TR.

    87.     In science, there cannot be any such thing as a perfect study. Especially in

 medical research, where we cannot manipulate people in ways that would clear up

 difficult questions, all studies will have a fault. In science, we do not, however, reject

 every study with any identifiable short-coming—rather, we gather a diversity of

 observations, made with their diversity of compromises to safety and ethics (and time

 and cost, etc.), and tentatively accept the most parsimonious (simplest) explanation

 of the full set, weighting each study according to their individual strengths and
 weaknesses.

          C. Assessing Claims of Suicidality
    88.     In the absence of scientific evidence associating improvement with

 transition among youth, demands for transition are increasingly accompanied by

 hyperbolic warnings of suicide should there be delay or obstacle to affirmation-on-

 demand. Social media circulate claims of extreme suicidality accompanied by

 declarations that “I’d rather have a trans daughter than a dead son.” Such claims

 convey only grossly misleading misrepresentations of the research literature,

 however.


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      89.    Despite that the media treat them as near synonyms, suicide and

 suicidality are distinct phenomena. They represent different behaviors with different

 motivations, with different mental health issues, and with differing clinical needs.

 Suicide refers to completed suicides and the sincere intent to die. It is substantially

 associated with impulsivity, using more lethal means, and being a biological male. 87
 Suicidality refers to parasuicidal behaviors, including suicidal ideation, threats, and

 gestures. These typically represent cries for help rather than an intent to die and are

 more common among biological females. Suicidal threats can indicate any of many

 problems or represent emotional blackmail, as typified in “If you leave me, I will kill

 myself.” Professing suicidality is also used for attention- seeking or for the support or

 sympathy it evokes from others, indicating distress much more frequently than an

 intent to die.

      90.    The scientific study of suicide is inextricably linked to that of mental illness.

 For example, as noted in the preceding, suicidality is a well-documented symptom of

 Borderline Personality Disorder (as are chronic identity issues), and personality

 disorders are highly elevated among transgender populations, especially adolescent-

 onset. Thus, the elevations of suicidality among gender dysphoric adolescents may

 not be a result of anything related to transition (or lack of transition), but to the

 overlap with mental illness of which suicidality is a substantial part. Conversely,

 improvements in suicidality reported in some studies may not be the result of

 anything related to transition, but rather to the concurrent general mental health

 support which is reported by the clinical reported prospective outcomes. Studies that

 include more than one factor at the same time without accounting for each other

 represent a “confound,” and it cannot be known which factor (or both) is the one

 causing the effects observed. That is, when a study provides both mental health



 87   Freeman, et al., 2017.


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 services and medical transition services at the same time, it cannot be known which

 (or both) is what caused any changes.

      91.     A primary criterion for readiness for transition used by the clinics

 demonstrating successful transition is the absence or resolution of other mental

 health concerns, such as suicidality. In the popular media, however, indications of

 mental health concerns are instead often dismissed as an expectable result caused by

 Sexual Minority Stress (SMS). It is generally implied that such symptoms will

 resolve upon transition and integration into an affirming environment. Dr. Adkins

 makes it explicit in her report that the purpose of “the medical treatment for gender

 dysphoria is to eliminate the clinically significant distress.” (Adkins, p. 5.)

      92.     Despite that relevant professional association statements repeatedly call

 for mental health issues, including suicidality, to be resolved before transition (see

 infra Section VI), threats of suicide are instead oftentimes used as the very

 justification for labelling transition a ‘medical necessity’. However plausible it might

 seem that failing to affirm transition causes suicidality, the epidemiological evidence

 indicates that hypothesis to be incorrect: Suicide rates remains elevated even after

 complete transition, as shown by a comprehensive review of 19 studies of suicidality

 in gender dysphoria. 88
      93.     Of particular relevance in the present context is suicidality as a well-

 documented symptom of Borderline Personality Disorder (BPD) and that very many

 cases appearing to be adolescent-onset gender dysphoria actually represent cases of

 BPD. [See full DSM-5 criteria already listed herein.] That is, some people may be

 misinterpreting their experiencing of the broader “identity disturbance” of symptom

 Criterion 3 to represent a gender identity issue specifically. Like adolescent-onset

 gender dysphoria, BPD begins to manifest in adolescence and occurs in 2–3% of the



 88   McNeil, et al., 2017.


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 population, rather than 1-in-5,000 people. (Thus, if even only a portion of people with

 BPD experienced an identity disturbance that focused on gender identity and were

 mistaken for transgender, they could easily overwhelm the number of genuine cases

 of gender dysphoria.)

      94.     Rates     of    completed       suicide      are   elevated      among   post-transition

 transsexuals, but are nonetheless rare, 89 and BPD is repeatedly documented to be
 greatly elevated among sexual minorities 90. Overall, rates of suicidal ideation and

 suicidal attempts appear to be related—not to transition status—but to the social

 support received: The research evidence shows that support decreases suicidality, but

 that transition itself does not. Indeed, in some situations, social support was

 associated with increased suicide attempts, suggesting the reported suicidality may

 represent attempts to evoke more support. 91

            D. Assessing Demands for Social Transition and Affirmation-Only or
               Affirmation-on-Demand Treatment in Pre-Pubertal Children.
      95.     Colloquially, affirmation refers broadly to any actions that treat the person

 as belonging to a new gender. In different contexts, that could apply to social actions

 (use of a new name and pronouns), legal actions (changes to birth certificates), or

 medical actions (hormonal and surgical interventions). That is, social transition, legal

 transition, and medical transition (and subparts thereof) need not, and rarely do,

 occur at the same time. In practice, there are cases in which a child has socially only

 partially transitioned, such as presenting as one gender at home and another at

 school or presenting as one gender with one custodial parent and another gender with

 the other parent.

      96.     Referring to “affirmation” as a treatment approach is ambiguous: Although

 often used in public discourse to take advantage of the positive connotations of the


 89   Wiepjes, et al., 2020.
 90   Reuter, et al., 2016; Rodriguez-Seiljas, et al., 2021; Zanarni, et al., 2021.
 91   Bauer, et al., 2015; Canetto, et al., 2021.


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 term, it obfuscates what exactly is being affirmed. This often leads to confusion, such

 as quoting a study of the benefits and risks of social affirmation in a discussion of

 medical affirmation, where the appearance of the isolated word “affirmation” refers

 to entirely different actions.

    97.    It is also an error to divide treatment approaches into affirmative versus

 non-affirmative. As noted already, the widely adopted Dutch Approach (and the

 guidelines of the multiple professional associations based on it) cannot be said to be

 either: It is a staged set of interventions, wherein social transition (and puberty

 blocking) may not begin until age 12 and cross-sex hormonal and other medical

 interventions, later.

    98.    Formal clinical approaches to helping children expressing gender dysphoria

 employ a gate-keeper model, with decision trees to help clinicians decide when and if

 the potential benefits of affirmation of the new gender would outweigh the potential

 risks of doing so. Because the gate-keepers and decision-trees generally include the

 possibility of affirmation in at least some cases, it is misleading to refer to any one

 approach as “the affirmation approach.” The most extreme decision-tree would be

 accurately called affirmation-on-demand, involving little or no opportunity for

 children to explore at all whether the distress they feel is due to some other, less
 obvious, factor, whereas more moderate gate-keeping would endorse transition only

 in select situations, when the likelihood of regretting transition is minimized.

    99.    Many outcomes studies have been published examining the results of gate-

 keeper models, but no such studies have been published regarding affirmation-on-

 demand with children. Although there have been claims that affirmation-on-demand

 causes mental health or other improvement, these have been the result only of

 “retrospective” rather than “prospective” studies. That is, such studies did not take

 a sample of children and follow them up over time, to see how many dropped out

 altogether, how many transitioned successfully, and how many transitioned and


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 regretted it or detransitioned. Rather, such studies took a sample of successfully

 transitioned adults and asked them retrospective questions about their past. In such

 studies, it is not possible to know how many other people dropped out or regretted

 transition, and it is not possible to infer causality from any of the correlations

 detected, despite authors implying and inferring causality.

      100.    Olson and colleagues employed exactly such a retrospective study. They

 offered their survey to children in the TransYouth Project—people who have socially

 transitioned, their families, and any contacts they had, by word of mouth. This

 method is referred to as “convenience sampling,” and differs from genuinely

 representative samples in applying to means of ensuring study participants

 accurately represent the population being studied. There were three groups of

 children for comparison: (i) children who had already socially transitioned, (ii) their

 siblings, and (iii) children in a university database of families interested in

 participating in child development research. As noted by the study authors, “For the

 first time, this article reports on socially transitioned gender children’s mental health

 as reported by the children.” 92 Reports from parents were also recorded. 93 In contrast,
 no reports or ratings were provided by any mental health care professional or

 researcher at all. That is, although adding self-assessments to the professional

 assessments might indeed provide novel insights, this project did not add self-

 assessment to professional assessment. Rather, it replaced professional assessment

 with self-assessment. Moreover, as already noted, Olson’s data did not show what the

 Olson team claimed. 94 The dataset was subsequently re-analyzed, and “[T]o the

 contrary, the transgender children, even when supported by their parents, had

 significantly lower average scores on anxiety and self-worth. ” 95


 92   Durwood, et al., 2017, at 121 (italics added).
 93   See Olson, et al., 2016.
 94   Schumm, et al., 2019.
 95   Schumm & Crawford, 2020, p. 9


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      101.    It is well established in the field of psychology that participant self-

 assessment can be severely unreliable for multiple reasons. For example, one well-

 known phenomenon in psychological research is known as “socially desirable

 responding”—the tendency of subjects to give answers that they believe will make

 themselves look good, rather than accurate answers. Specifically, subjects’ reports

 that they are enjoying good mental health and functioning well could reflect the

 subjects’ desire to be perceived as healthy and as having made good choices, rather

 than reflecting their actual mental health.

      102.    In their analyses, the study reported finding no significant differences

 between the transgender children, their non-transgender siblings, or the community

 controls. As the authors noted, “[t]hese findings are in striking contrast to previous

 work with gender-nonconforming children who had not socially transitioned, which

 found very high rates of depression and anxiety.” 96 The authors are correct to note
 that their result contrasts with the previous research, but they do not discuss that

 this could reflect a problem with the novel research design they used: The subjective

 self-reports of the children and their parents’ reports may not be reflecting reality

 objectively, as careful professional researchers would. Because the study did not

 employ any method to detect and control for participants indulging in “socially

 desirable responding” or acting under other biasing motivations, this possibility

 cannot be assessed or ruled out.

      103.    Because this was a single-time study relying on self-reporting, rather than

 a before-and-after transition study relying on professional evaluation, it is not

 possible to know if the children reported as well-functioning are in fact well-

 functioning, nor if so whether they are well-functioning because they were permitted

 to transition, or whether instead the fact is that they were already well-functioning



 96   Durwood, et al., 2017, at 116.


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 and therefore permitted to transition. Finally, because the TransYouth project lacks

 a prospective design, it cannot be known how many cases attempted transition,

 reacted poorly, and then detransitioned, thus never having entered into the study in

 the first place.

         E. Assessing the “Minority Stress Hypothesis”
      104.   The elevated levels of mental health problems among lesbian, gay, and

 bisexual populations is a well-documented phenomenon, and the idea that it is caused

 by living within a socially hostile environment is called the Minority Stress

 Hypothesis. 97 The association is not entirely straight-forward, however. For example,
 although lesbian, gay, and bisexual populations are more vulnerable to suicide

 ideation overall, the evidence specifically on adult lesbian and bisexual women is

 unclear. Meyer did not include transgender populations in originating the hypothesis,

 and it remains a legitimate question to what extent and in what ways it might apply

 to gender identity.

      105.   Minority stress is associated, in large part, with being a visible minority.

 There is little evidence that transgender populations show the patterns suggested by

 the hypothesis. For example, the minority stress hypothesis would predict differences

 according to how visibly a person is discernable as a member of the minority, which

 often changes greatly upon transition. Biological males who are very effeminate stand

 out throughout childhood, but in some cases can successfully blend in as adult

 females; whereas the adult-onset transitioners blend in very much as heterosexual

 cis-gendered males during their youth and begin visibly to stand out in adulthood,

 only for the first time.

      106.   Also suggesting minority stress cannot be the full story is that the mental

 health symptoms associated with minority stress do not entirely correspond with



 97   Meyer, 2003.


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 those associated with gender dysphoria. The primary symptoms associated with

 minority stress are depressive symptoms, substance use, and suicidal ideation. 98 The
 symptoms associated with gender dysphoria indeed include depressive symptoms and

 suicidal ideation, but also include anxiety symptoms, Autism Spectrum Disorders,

 and personality disorders.

 VII.    Assessing Statements from Professional Associations

         A. Understanding      the   Value      of   Statements   from    Professional
            Associations
      107.   The value of position statements from professional associations should be

 neither over- nor under-estimated. In the ideal, an organization of licensed health

 care professionals would convene a panel of experts who would systematically collect

 all the available evidence about an issue, synthesizing it into recommendations or

 enforceable standards for clinical care, according to the quality of the evidence for

 each alternative. For politically neutral issues, with relevant expertise contained

 among association members, this ideal can be readily achievable. For controversial

 issues with no clear consensus, the optimal statement would summarize each

 perspective and explicate the strengths and weaknesses of each, providing relatively

 reserved recommendations and suggestions for future research that might resolve the

 continuing questions. Several obstacles can hinder that goal, however. Committees

 within professional organizations are typically volunteer activities, subject to the

 same internal politics of all human social structures. That is, committee members are

 not necessarily committees of experts on a topic—they are often committees of

 generalists handling a wide variety of issues or members of an interest group who

 feel strongly about political implications of an issue, instead of scientists engaged in

 the objective study of the topic.




 98   Meyer, 2003.


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    108.   Thus, documents from professional associations may represent required

 standards, the violation of which may merit sanctions, or may represent only

 recommendations or guidelines. A document may represent the views of an

 association’s full membership or only of the committee’s members (or majorities

 thereof). Documents may be based on systematic, comprehensive reviews of the

 available research or selected portions of the research. In sum, the weight best placed

 on any association’s statement is the amount by which that association employed

 evidence versus other considerations in its process.

       B. Misrepresentations of statements of professional associations.
    109.   In the presently highly politicized context, official statements of

 professional associations have been widely misrepresented. In preparing the present

 report, I searched the professional research literature for documentation of

 statements from these bodies and from my own files, for which I have been collecting

 such information for many years. I was able to identify statements from six such

 organizations. Although not strictly a medical association, the World Professional

 Association for Transgender Health (WPATH) also distributed a set of guidelines in

 wide use and on which other organizations’ guidelines are based.

    110.   Notably, despite that all these medical associations reiterate the need for
 mental health issues to be resolved before engaging in medical transition, only the

 AACAP members have medical training in mental health. The other medical

 specialties include clinical participation with this population, but their assistance in

 transition generally assumes the mental health aspects have already been assessed

 and treated beforehand.




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              1. World Professional             Association        for   Transgender         Health
                 (WPATH)
       111.   The WPATH standards as they relate to prepubescent children begin with

 the acknowledgement of the known rates of desistance among gender dysphoric

 children:
              [I]n follow-up studies of prepubertal children (mainly boys) who were
              referred to clinics for assessment of gender dysphoria, the dysphoria
              persisted into adulthood for only 6–23% of children (Cohen-Kettenis,
              2001; Zucker & Bradley, 1995). Boys in these studies were more likely
              to identify as gay in adulthood than as transgender (Green, 1987; Money
              & Russo, 1979; Zucker & Bradley, 1995; Zuger, 1984). Newer studies,
              also including girls, showed a 12–27% persistence rate of gender
              dysphoria into adulthood (Drummond, Bradley, Peterson-Badali, &
              Zucker, 2008; Wallien & Cohen-Kettenis, 2008). 99
       112.   That is, “In most children, gender dysphoria will disappear before, or early

 in, puberty.” 100

       113.   Although WPATH does not refer to puberty blocking medications as

 “experimental,” the document indicates the non-routine, or at least inconsistent

 availability of the treatment:
              Among adolescents who are referred to gender identity clinics, the
              number considered eligible for early medical treatment—starting with
              GnRH analogues to suppress puberty in the first Tanner stages—differs
              among countries and centers. Not all clinics offer puberty suppression.
              If such treatment is offered, the pubertal stage at which adolescents are
              allowed to start varies from Tanner stage 2 to stage 4 (Delemarre, van
              de Waal & Cohen-Kettenis, 2006; Zucker et al., [2012]).101
       114.   WPATH neither endorses nor proscribes social transitions before puberty,

 instead recognizing the diversity among families’ decisions:
              Social transitions in early childhood do occur within some families with
              early success. This is a controversial issue, and divergent views are held
              by health professionals. The current evidence base is insufficient to
              predict the long-term outcomes of completing a gender role transition
              during early childhood. 102
       115.   It does caution, however, “Relevant in this respect are the previously

 described relatively low persistence rates of childhood gender dysphoria.”103

 99    Coleman, et al., 2012, at 172.
 100   Coleman, et al., 2012, at 173.
 101   Coleman, et al., 2012, at 173.
 102   Coleman, et al., 2012, at 176.
 103   Coleman, et al., 2012, at 176 (quoting Drummond, et al., 2008; Wallien & Cohen-Kettenis, 2008).


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              2. Endocrine Society (ES)
       116.   The 150,000-member Endocrine Society appointed a nine-member task

 force, plus a methodologist and a medical writer, who commissioned two systematic

 reviews of the research literature and, in 2017, published an update of their 2009

 recommendations, based on the best available evidence identified. The guideline was

 co-sponsored by the American Association of Clinical Endocrinologists, American

 Society of Andrology, European Society for Paediatric Endocrinology, European

 Society of Endocrinology, Pediatric Endocrine Society (PES), and the World

 Professional Association for Transgender Health (WPATH).

       117.   The document acknowledged the frequency of desistance among gender

 dysphoric children:
              Prospective follow-up studies show that childhood GD/gender incongru-
              ence does not invariably persist into adolescence and adulthood (so-
              called “desisters”). Combining all outcome studies to date, the
              GD/gender incongruence of a minority of prepubertal children appears
              to persist in adolescence. . . . In adolescence, a significant number of
              these desisters identify as homosexual or bisexual.104
       118.   The statement similarly acknowledges inability to predict desistance or
 persistence, “With current knowledge, we cannot predict the psychosexual outcome

 for any specific child.” 105

       119.   Although outside their area of professional expertise, mental health issues

 were also addressed by the Endocrine Society, repeating the need to handle such

 issues before engaging in transition, “In cases in which severe psychopathology,

 circumstances, or both seriously interfere with the diagnostic work or make

 satisfactory treatment unlikely, clinicians should assist the adolescent in managing

 these other issues.” 106 This ordering—to address mental health issues before

 embarking on transition—avoids relying on the unproven belief that transition will

 solve such issues.

 104   Hembree, et al., 2017, at 3876.
 105   Hembree, et al., 2017, at 3876.
 106   Hembree, et al., 2017, at 3877.


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       120.   The Endocrine Society did not endorse any affirmation-only approach. The

 guidelines were neutral with regard to social transitions before puberty, instead

 advising that such decisions be made only under clinical supervision: “We advise that

 decisions regarding the social transition of prepubertal youth are made with the

 assistance of a mental health professional or similarly experienced professional.” 107
       121.   The Endocrine Society guidelines make explicit that, after gathering

 information from adolescent clients seeking medical interventions and their parents,

 the clinician “provides correct information to prevent unrealistically high

 expectations [and] assesses whether medical interventions may result in unfavorable

 psychological and social outcomes.”108

              3. Pediatric Endocrine Society and Endocrine Society (ES/PES)
       122.   In 2020, the 1500-member Pediatric Endocrine Society partnered with the

 Endocrine Society to create and endorse a brief, two-page position statement. 109

 Although strongly worded, the document provided no specific guidelines, instead

 deferring to the Endocrine Society guidelines. 110

       123.   It is not clear to what extent this endorsement is meaningful, however.

 According to the PES, the Endocrine Society “recommendations include evidence that

 treatment of gender dysphoria/gender incongruence is medically necessary and

 should be covered by insurance.” 111 However, the Endocrine Society makes neither

 statement. Although the two-page PES document mentioned insurance coverage four

 times, the only mention of health insurance by the Endocrine Society was: “If GnRH

 analog treatment is not available (insurance denial, prohibitive cost, or other

 reasons), postpubertal, transgender female adolescents may be treated with an



 107   Hembree, et al., 2017, at 3872.
 108   Hembree, et al., 2017, at 3877.
 109   PES, online; Pediatric Endocrine Society & Endocrine Society, Dec. 2020.
 110   Pediatric Endocrine Society & Endocrine Society, Dec. 2020, at 1; Hembree, et al., 2017.
 111   Pediatric Endocrine Society & Endocrine Society, Dec. 2020, at 1.


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 antiandrogen that directly suppresses androgen synthesis or action.” 112 Despite the
 PES asserting it as ”medically necessary,” the Endocrine Society stopped short of

 that. Its only use of that phrase was instead limiting: “We recommend that a patient

 pursue genital gender-affirming surgery only after the MHP and the clinician

 responsible for endocrine transition therapy both agree that surgery is medically

 necessary and would benefit the patient’s overall health and/or well-being.” 113

              4. American Academy of Child & Adolescent Psychiatry (AACAP)
       124.   The 2012 statement of the American Academy of Child & Adolescent

 Psychiatry (AACAP) is not an affirmation-only policy. It notes:
              Just as family rejection is associated with problems such as depression,
              suicidality, and substance abuse in gay youth, the proposed benefits of
              treatment to eliminate gender discordance in youth must be carefully
              weighed against such possible deleterious effects. . . . In general, it is
              desirable to help adolescents who may be experiencing gender distress
              and dysphoria to defer sex reassignment until adulthood, or at least un-
              til the wish to change sex is unequivocal, consistent, and made with ap-
              propriate consent. 114
       125.   The AACAP’s language repeats the description of the use of puberty
 blockers only as an exception: “For situations in which deferral of sex reassignment

 decisions until adulthood is not clinically feasible, one approach that has been

 described in case series is sex hormone suppression under endocrinological

 management with psychiatric consultation using gonadotropin-releasing hormone

 analogues.” 115

       126.   The AACAP statement acknowledges the long-term outcomes literature for

 gender dysphoric children: “In follow-up studies of prepubertal boys with gender

 discordance—including many without any mental health treatment—the cross

 gender wishes usually fade over time and do not persist into adulthood,” 116 adding

 that “[c]linicians should be aware of current evidence on the natural course of gender

 112   Hembree, et al. 2017, at 3883.
 113   Hembree, et al., 2017 at 3872, 3894.
 114   Adelson & AACAP, 2012, at 969.
 115   Adelson & AACAP, 2012, at 969 (italics added).
 116   Adelson & AACAP, 2012, at 963.


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 discordance and associated psychopathology in children and adolescents in choosing

 the treatment goals and modality.” 117
       127.   The policy similarly includes a provision for resolving mental health issues:

 “Gender reassignment services are available in conjunction with mental health

 services focusing on exploration of gender identity, cross-sex treatment wishes,

 counseling during such treatment if any, and treatment of associated mental health

 problems.” 118 The document also includes minority stress issues and the need to deal

 with mental health aspects of minority status (e.g., bullying). 119

       128.   Rather than endorse social transition for prepubertal children, the AACAP

 indicates: “There is similarly no data at present from controlled studies to guide

 clinical decisions regarding the risks and benefits of sending gender discordant

 children to school in their desired gender. Such decisions must be made based on

 clinical judgment, bearing in mind the potential risks and benefits of doing so.”120

              5. American College of Obstetricians & Gynecologists (ACOG)
       129.   The American College of Obstetricians & Gynecologists (ACOG) published

 a “Committee Opinion” expressing recommendations in 2017. The statement

 indicates it was developed by the ACOG’s Committee on Adolescent Health Care, but

 does not indicate participation based on professional expertise or a systematic method

 of objectively assessing the existing research. It includes the disclaimer: “This

 document reflects emerging clinical and scientific advances as of the date issued and

 is subject to change. The information should not be construed as dictating an

 exclusive course of treatment or procedure to be followed.” 121




 117   Adelson & AACAP, 2012, at 968.
 118   Adelson & AACAP, 2012, at 970 (italics added).
 119   Adelson & AACAP, 2012, at 969.
 120   Adelson & AACAP, 2012, at 969.
 121   ACOG, 2017, at 1.


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       130.   Prepubertal children do not typically have clinical contact with

 gynecologists, and the ACOG recommendations include that the client additionally

 have a primary health care provider. 122
       131.   The ACOG statement cites the statements made by other medical

 associations—European Society for Pediatric Endocrinology (ESPE),, PES, and the

 Endocrine Society—and by WPATH. 123 It does not cite any professional association

 of mental health care providers, however. The ACOG recommendations repeat the

 previously mentioned eligibility/readiness criteria of having no mental illness that

 would hamper diagnosis and no medical contraindications to treatment. It notes:

 “Before any treatment is undertaken, the patient must display eligibility and

 readiness (Table 1), meaning that the adolescent has been evaluated by a mental

 health professional, has no contraindications to therapy, and displays an

 understanding of the risks involved.” 124

       132.   The “Eligibility and Readiness Criteria” also include, “Diagnosis

 established for gender dysphoria, transgender, transsexualism.” 125 This standard,

 requiring a formal diagnosis, forestalls affirmation-on-demand because self-declared

 self-identification is not sufficient for DSM diagnosis.

       133.   ACOG’s remaining recommendations pertain only to post-transition,

 medically oriented concerns. Pre-pubertal social transition is not mentioned in the

 document, and the outcomes studies of gender dysphoric (prepubescent) children are

 not cited.

              6. American College of Physicians (ACP)
       134.   The American College of Physicians published a position paper broadly

 expressing support for the treatment of LGBT patients and their families, including


 122   ACOG, 2017, at 1.
 123   ACOG, 2017, at 1, 3.
 124   ACOG, 2017, at 1, 3 (citing the Endocrine Society guidelines) (italics added).
 125   ACOG, 2017, at 3 Table 1.


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 nondiscrimination, antiharassment, and defining “family” by emotional rather than

 biological or legal relationships in visitation policies, and the inclusion of transgender

 health care services in public and private health benefit plans.126
       135.   ACP did not provide guidelines or standards for child or adult gender

 transitions. The policy paper opposed attempting “reparative therapy;” however, the

 paper confabulated sexual orientation with gender identity in doing so. That is, on

 the one hand, ACP explicitly recognized that “[s]exual orientation and gender identity

 are inherently different.” 127 It based this statement on the fact that “the American

 Psychological Association conducted a literature review of 83 studies on the efficacy

 of efforts to change sexual orientation.” 128 The APA’s document, entitled “Report of

 the American Psychological Task Force on appropriate therapeutic responses to

 sexual orientation” does not include or reference research on gender identity. 129

 Despite citing no research about transgenderism, the ACP nonetheless included in

 its statement: “Available research does not support the use of reparative therapy as

 an effective method in the treatment of LGBT persons.” 130 That is, the inclusion of

 “T” with “LGB” is based on something other than the existing evidence.

       136.   There is another statement, 131 which was funded by ACP and published in

 the Annals of Internal Medicine under its “In the Clinic” feature, noting that “‘In the

 Clinic’ does not necessarily represent official ACP clinical policy.” 132 The document

 discusses medical transition procedures for adults rather than for children, except to

 note that “[n]o medical intervention is indicated for prepubescent youth,” 133 that a

 “mental health provider can assist the child and family with identifying an



 126   Daniel & Butkus, 2015a, 2015b.
 127   Daniel & Butkus, 2015b, at 2.
 128   Daniel & Butkus, 2015b, at 8 (italics added).
 129   APA, 2009 (italics added).
 130   Daniel & Butkus, 2015b, at 8 (italics added).
 131   Safer & Tangpricha, 2019.
 132   Safer & Tangpricha, 2019, at ITC1.
 133   Safer & Tangpricha, 2019, at ITC9.


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 appropriate time for a social transition,” 134 and that the “child should be assessed and
 managed for coexisting mood disorders during this period because risk for suicide is

 higher than in their cisgender peers.”135

              7. American Academy of Pediatrics (AAP)
       137.   The policy of the American Academy of Pediatrics (AAP) is unique among

 the major medical associations in being the only one to endorse an affirmation-on-

 demand policy, including social transition before puberty without any watchful

 waiting period. Although changes in recommendations can obviously be appropriate

 in response to new research evidence, the AAP provided none. Rather, the research

 studies AAP cited in support of its policy simply did not say what AAP claimed they

 did. In fact, the references that AAP cited as the basis of their policy instead outright

 contradicted that policy, repeatedly endorsing watchful waiting. 136 Moreover, of all

 the outcomes research published, the AAP policy cited one, and that without men-

 tioning the outcome data it contained. 137.

              8. The ESPE-LWPES GnRH Analogs Consensus Conference Group
       138.   Included in the interest of completeness, there was also a collaborative

 report in 2009, between the European Society for Pediatric Endocrinology (ESPE)

 and the Lawson Wilkins Pediatric Endocrine Society (LWPES). 138 Thirty experts

 were convened, evenly divided between North American and European labs and

 evenly divided male/female, who comprehensively rated the research literature on

 gonadotropin-release hormone analogs in children.

       139.   The effort concluded that “[u]se of gonadotropin-releasing hormone analogs

 for conditions other than central precocious puberty requires additional investigation



 134   Safer & Tangpricha, 2019, at ITC9.
 135   Safer & Tangpricha, 2019, at ITC9.
 136   Cantor, 2020.
 137   Cantor, 2020, at 1.
 138   Carel et al., 2009.


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 and cannot be suggested routinely.” 139 However, gender dysphoria was not explicitly
 mentioned as one of those other conditions.




 139   Carel et al. 2009, at 752.


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                   EXPERT REPORT OF JAMES M. CANTOR, PHD



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 .,0,&$.4:&+1.1*:05(30                                    *9D  \I;  
 9BHF9:CF88=7H=CB5B8$9BH5@95@H<&+CFCBHC5B585

 !($&+,0*44,45$05                                            *9D  \$5M 
 9D5FHA9BHC:'GM7<C@C;M
 $7=@@,B=J9FG=HMX$CBHFQ5@5B585

 3(1&513$.3$&5,&6/                                        *9D  \!IB  
 *9L5B8CID@9G+<9F5DM,B=H
 )CM5@-=7HCF=5CGD=H5@X$CBHFQ5@5B585

 3(1&513$.3$&5,&6/                                        $5M \97  
 9D5FHA9BHC:'GM7<=5HFM
 (I99B@=N569H<CGD=H5@X$CBHFQ5@5B585


                                       

 441&,$5(31)(4413                                            !I@     \$5M    
 9D5FHA9BHC:'GM7<=5HFM
 ,B=J9FG=HMC:+CFCBHC57I@HMC:$98=7=B9&+CFCBHC5B585

 '-60&5$&6.5:                                               I;      \!IB    
 F58I5H9'FC;F5A=B'GM7<C@C;M
 0CF?,B=J9FG=HM&+CFCBHC5B585

 441&,$5($&6.5:10                                       &7H     \97    
 *7<CC@C:9<5J=CIF5@C;B=H=J9*C7=5@*7=9B79
 ,B=J9FG=HMC:%9KB;@5B8&FA=85@9IGHF5@=5

 44,45$0531)(4413                                            !IB    \!IB     
 9D5FHA9BHC:'GM7<=5HFM
 ,B=J9FG=HMC:+CFCBHC57I@HMC:$98=7=B9&+CFCBHC5B585

 '-60&5$&6.5:                                               *9D     \!IB     
 @=B=75@'GM7<C@C;M)9G=89B7M'FC;F5A
 *H !CG9D<aG95@H<75F9&5A=@HCB5B585




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                                       

    5BHCF! $    +F5BG;9B89F5B8;9B89F8=J9FG97<=@8F9B5B858C@9G79BHG57H
        7<97?=B;C:'DC@=7M =C@</:=4&3F /@7B/:'63@/>G  \ 8C=
                    /    
  *<=F5N=+ *9@: 5BHCF! 5KCC8" 5F89B5G) )CG9B:=9@8" &FH=N+ 5FFQ
        ! $75B=9@$ @5B7<5F8) 5@5GI6F5A5B=5B) 9@5B9M FCK@9M. *
        $5F7F998@CJ9* $ 'IHG    +=A=B;C:D9F=DI69FH5@GH9FC=89LDCGIF9
        DF98=7HGJ=GICGD5H=5@7C;B=H=CB=BA9BJ=89B79:FCAH<F99G5AD@9G =@;=<3A/<2
        36/D7=@         
  *H9D<9BG* *9HC$  5BHCF! $ #5@IA=RF9$ #   +<9*7F99B=B;*75@9
        :CF'98CD<=@=7 BH9F9GH )9J=G98**' A5M695A95GIF9C:D98C<969D<=@=5 =C@</:
        =4&3FC/: 32717<3  e  8C=            > >GLA    
  $7'<5=@ - 9FA5BB  9FB5B9* 9FB5B89N0 $ %IB9G" # 5BHCF!
        $   -5@=8=HM=BD<5@@CA9HF=7H9GH=B;:CFG9LI5@=BH9F9GHG=B7<=@8F9BA9H5
        5B5@MH=7F9J=9K AA3AA;3<B \ 8C=                     
  5BHCF! $   5BD98CD<=@9G7<5B;9C@@3<B&3FC/:3/:B6%3>=@BA  \ 
        8C=         G          
  5BHCF! $ 98CFC::! '   5BD98CD<=@9G7<5B;9)9GDCBG9HCCD9B=B;
        5F;IA9BHG5B87CB7@IG=CBG C@@3<B&3FC/:3/:B6%3>=@BA  \ 8C=
                  G         N
  *H9D<9BG* *9HC$  CC8K=@@ $ 5BHCF! $   ;98=J9FG=HM5ACB;
        J=7H=AGC:<969D<=@=7G9LI5@C::9B89FG &3FC/:0CA3 \ 8C=
                  
  *H9D<9BG* *9HC$  CC8K=@@ $ 5BHCF! $   +<9F9@5H=CBG<=DG
        69HK99BJ=7H=A5;9;9B89F5B8F9@5H=CBG<=DDC@MACFD<=GA5B8G9LI5@F97=8=J=GA 
        &3FC/:0CA3  e  8C=             
  *H9D<9BG* %9KA5B!  5BHCF! $ *9HC$    +<9*H5H=7 )DF98=7HG
        G9LI5@5B8J=C@9BHF97=8=J=GA:CF=B8=J=8I5@GK=H<@CK=BH9@@97HI5@:IB7H=CB=B; =C@</:
        =4&3FC/:55@3AA7=<  \ 8C=              
    5BHCF! $   *9LI5@89J=5B79CFGC7=5@89J=5B79.<5H$) F9G95F7<F9J95@G56CIH
        D98CD<=@=5 '&=@C;  GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@6IG9FG 
        95J9FHCB&) <HHD B9KGA5B5;9F 7CAAD5FHB9FG 7CA 5HG5 =GGI9G      <HA@
    .5@HCB$ + 5BHCF! $ <I@@5F% #M?=BG    MD9FG9LI5@=HM
        7F=H=75@F9J=9K5B8=BHFC8I7H=CBHCH<9^*9L<5J=CFM7@9 _@167D3A=4&3FC/:36/D7=@
           \ 8C=           G     
   *H9D<9BG* #9FCIL *?=@@=B;+ 5BHCF! $ *9HC$    H5LCA9HF=7
        5B5@MG=GC:D98CD<=@=5IH=@=N=B;G9@: F9DCFH69<5J=CF5@5B8G9LI5@5FCIG5@=B8=75HCFG 
        =C@</:=40<=@;/:#AG16=:=5G           \     8C=      56B       
   5N=C) # MG<B=?I #M?=BG  5BHCF! $   #9;@9B;H<J9FGIGHCFGC
        @9B;H<=BD98CD<=@=5IFH<9F9J=89B79C:5HMD=75@D<MG=75@89J9@CDA9BH95F@M=B@=:9 
        &3FC/:0CA3=C@</:=4%3A3/@16/<2'@3/B;3<B  \  8C=
                   
   *9HC$  *H9D<9BG* #5@IA=RF9$ # 5BHCF! $   +<9)9J=G98*7F99B=B;
        *75@9:CF'98CD<=@=7 BH9F9GHG**' 9J9@CDA9BH5B87F=H9F=CB F9@5H98J5@=85H=CB 
        &3FC/:0CA3=C@</:=4%3A3/@16/<2'@3/B;3<B  \8C=


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                        
        *H9D<9BG* 5BHCF! $ CC8K=@@ $ *9HC$    $I@H=D@9=B8=75HCFGC:
              G9LI5@=BH9F9GH=BDF9DI69G79BHCFDI69G79BH7<=@8F9B5GDF98=7HCFGC:G9LI5@F97=8=J=GA 
              =C@</:=4=<AC:B7<5/<2:7<71/:#AG16=:=5G \8C=           77D       
        *H9D<9BG* *9HC$  CC8K=@@ $ 5BHCF! $   J=89B79C:7CBGHFI7H
              J5@=8=HM=BH<95GG9GGA9BHC:<969D<=@=5 @167D3A=4&3FC/:36/D7=@  \ 8C=
                       G      N
        .5@HCB$ + 5BHCF! $ #M?=BG    BCB@=B95GG9GGA9BHC:D9FGCB5@=HM
              DGM7<C@C;=75@5B8G9LI5@=HMHF5=HJ5F=56@9G5GGC7=5H98K=H<G9@: F9DCFH98<MD9FG9LI5@
              69<5J=CF @167D3A=4&3FC/:36/D7=@  \8C=           G      
        5BHCF! $ #5:5=@@9* ! 5BB5<! "I7M= *C< . =F5F8+  $=?I@=G
              !    B89D9B89BH7CADCB9BH5B5@MG=GC:F9GH=B; GH5H9:IB7H=CB5@A5;B9H=7
              F9GCB5B79=A5;=B;=BD98CD<=@9G =C@</:=4&3FC/: 32717<3  \ 8C=
                       > >GLA    
        5BHCF! $ $7'<5=@ -   %CB C::9B8=B;D98CD<=@9G C@@3<B&3FC/:3/:B6
              %3>=@BA  \  8C=          G           N
        5BHCF! $   $=@9GHCB9G=BG9LF9G95F7<.<5H75IG9GD98CD<=@=5 B! * M89!
               9#5A5H9F * M9FG8G (<23@AB/<27<56C;/<A3FC/:7BG5B58=5B98 
              DD \ +CFCBHC$7F5K =@@)M9FGCB
        5BHCF! $   '98CD<=@=5  B) 5IH=B* #=@=9B:9@88G <1G1:=>327/=4
              1:7<71/:>AG16=:=5G$5@89B$.=@9M @57?K9@@ 8C=
                             K697D 
       %IB9G" # 5BHCF! $   *9LC::9B89FG  B' .<9@9<5B C@=B8G 
              <B3@</B7=</:3<1G1:=>327/=46C;/<A3FC/:7BG$5@89B$.=@9M @57?K9@@ 
       5BHCF! $ #5:5=@@9* *C< . $C5M98=$ $=?I@=G ! =F5F8+   
              =::IG=CB+9BGCF A5;=B;C:D98CD<=@=5 @167D3A=4&3FC/:36/D7=@   \  
              8C=          G     
       5BHCF! $ $7'<5=@ -   *9BG=H=J=HM5B8GD97=:=7=HM:CFH<9D<5@@CA9HF=7H9GH
              C:<969D<=@=5 =C@</:=4&3FC/: 32717<3   \  8C=              >GA  
                        
       MG<B=?I  $IFF5M$  5N=C) # #M?=BG  5BHCF! $   $=BCF
              D<MG=75@5BCA5@=9G5G5K=B8CK=BHCH<9DF9B5H5@CF=;=BGC:D98CD<=@=5 @167D3A=4
              &3FC/:36/D7=@   \  8C=              G     
       5N=C) # 5BHCF! $   57HCFGHFI7HIF9C:H<98=B6IF;<5B898B9GG
               BJ9BHCFMJ9FGIGH<95N=C#5H9F5@=HM BJ9BHCFM=B5DCDI@5H=CBK=H<9GH56@=G<98
              5HMD=75@<5B898B9GG >>:732!3C@=>AG16=:=5G  \  8C=
                          
       #M?=BG  )C6=BGCB! ! #9@5B7* 5BHCF! $   +<99::97HGC:7CAACB
              A98=75H=CBGCBJC@IA9HF=7D<5@@CA9HFM =C@</:=4&3FC/:55@3AA7=< \
              8C=                        
       *IHHCB" * *HF5HHCB% 'MHM7?! "C@@5% ! 5BHCF! $   '5H=9BH
              7<5F57H9F=GH=7G6MHMD9C:<MD9FG9LI5@=HMF9:9FF5@EI5BH=H5H=J97<5FHF9J=9KC: 
              7CBG97IH=J9A5@975G9G =C@</:=4&3F/<2 /@7B/:'63@/>G e 8C=
                          /   
       5BHCF! $   C@8GH5FD98CD<=@9G=B;9B9F5@G9LH<9F5DMDF57H=79  B0 $ =B=?
              5B8" 5@@8G #@7<17>:3A/<2>@/1B713=4A3FB63@/>G98 DD  \ %9K
              0CF?I=@:CF8 


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   5BHCF! $ *IHHCB" *   '5F5D<=@=5;9B89F8MGD<CF=55B8<MD9FG9LI5@=HM  B
          '  @5B9M+ $=@@CB8G "F4=@2B3FB0==9=4>AG16=>/B6=:=5G98 DD 
          \  %9K0CF?&L:CF8,B=J9FG=HM'F9GG 
   <=J9FG$ # )CM F=A6CG+ 5BHCF! $ *9HC$    *D97=:=7=HMC:
          G9LI5@5FCIG5@:CFG9LI5@57H=J=H=9G=BA9B5B8KCA9BK=H<7CBJ9BH=CB5@5B8
          A5GC7<=GH=7G9LI5@=BH9F9GHG @167D3A=4&3FC/:36/D7=@  e 8C=
                   G     
   5N=C) # #M?=BG  5BHCF! $   @9J5H98F5H9GC:5HMD=75@ <5B898B9GG=B
          D598CD<=@=5+<9CFM5B8=AD@=75H=CBG /B3@/:7BG  e 8C=
                   /   
   #M?=BG  5BHCF! $   -CF5F9D<=@=575G9GHI8M=BA5GC7<=GA5B89FCH=7
          7CBGIADH=CB @167D3A=4&3FC/:36/D7=@   \ 8C=
                   G     M
   5BHCF! $ "@9=B #M?=BG )I@@C!  +<5@9F# .5@@=B; )   
          HF95HA9BH CF=9BH98HMDC@C;MC:G9@: =89BH=:=98<MD9FG9LI5@=HMF9:9FF5@G @167D3A=4
          &3FC/:36/D7=@ \ 8C=             G     
   @5B7<5F8) "I65B$  @5?+ "@5GG9B'  =7?9M) 5BHCF! $   
          *9LI5@5HHF57H=CBHCCH<9FG7CAD5F=GCBC:HKCAC89@GC:5@@C9FCH=7F9GDCB8=B;=B
          A9B @167D3A=4&3FC/:36/D7=@  \8C=             G           
   5BHCF! $   F5=BF9G95F7<5B8D98CD<=@=5.<5H=HG5MG5B8K<5H=HA95BG2 BJ=H98
          5FH=7@93 &3F"443<23@/E%3>=@B  \ 
   5BHCF! $    G<CACG9LI5@=HM5D5F5D<=@=5+<99J=89B79:CF5B85;5=BGH @167D3A
          =4&3FC/:36/D7=@ \ 8C=             G     
   #M?=BG  5BHCF! $ "I65B$  @5?+ =7?9M) "@5GG9B'  
          @5B7<5F8)        *9LI5@5FCIG5@HC:9A5@97<=@8F9B=B;MB9D<=@=7A9B &3FC/:
          0CA3=C@</:=4%3A3/@16/<2'@3/B;3<B \ 8C=
                      
   #M?=BG  5BHCF! $ "I65B$  @5?+ =7?9M) "@5GG9B'  
          @5B7<5F8)        +<9F9@5H=CB69HK99BD95?F9GDCBG9A5;B=HI89G5B85;F99A9BH
          =B8=5;BCG9GC6H5=B98:FCAHKC8=::9F9BHD<5@@CA9HF=7H9GHG:CFD98CD<=@=5 &3FC/:
          0CA3=C@</:=4%3A3/@16/<2'@3/B;3<B \ 8C=
                     
   5BHCF! $ @5B7<5F8) 5F65F99    *9LI5@8=GCF89FG  B'  @5B9M
          + $=@@CB8G "F4=@2B3FB0==9=4>AG16=>/B6=:=5G98 DD \ %9K
          0CF?&L:CF8,B=J9FG=HM'F9GG 
   5F65F99  #5B;HCB $ @5B7<5F8) 5BHCF! $   ;=B;J9FGIGGH56@9
          9B8IF=B;HF5=HG5G9LD@5B5HCFM7CBGHFI7HG=BG9LC::9B89FF97=8=J=GA'5FH=H=CB=B;
          57HI5F=5@DF98=7H=CB=BHC7CB79DHI5@@MA95B=B;:I@7CADCB9BHG @7;7</:CAB713/<2
          36/D7=@<<B3@</B7=</:=C@</: \ 8C=            
   @5B7<5F8) "I65B$  @5?+ 5BHCF! $ "@5GG9B'  =7?9M)   
          6GC@IH9J9FGIGF9@5H=J95G79FH5=BA9BHC:D98CD<=@=5=BA9B &3FC/:0CA3=C@</:
          =4%3A3/@16/<2'@3/B;3<B  \ 8C=                 
   @5B7<5F8) #M?=BG  .<9FF9HH "I65B$  5BHCF! $ @5?+ =7?9M
          ) "@5GG9B'    '98CD<=@=5<969D<=@=55B8H<9*$\- @167D3A=4
          &3FC/:36/D7=@ \ 8C=             G      
   5BHCF! $   $) F9G95F7<CBD98CD<=@=5.<5H+*A9A69FGG<CI@8?BCK


                                                                                               
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            2 BJ=H985FH=7@93 '&=@C; \ 
     5BHCF! $ "565B=% <F=GH9BG9B " 1=DIFG?M)  5F65F99  =7?9M) 
            "@5GG9B'  $=?I@=G ! "I65B$  @5?+ )=7<5F8G  5BF5HHM$ " 
            @5B7<5F8)   9F96F5@K<=H9A5HH9F89:=7=9B7=9G=BD98CD<=@=7A9B =C@</:
            =4#AG167/B@71%3A3/@16  \  8C=            > >DGM7<=F9G           
     @5B7<5F8) "C@@5% ! 5BHCF! $ "@5GG9B'  =7?9M) "I65B$  @5?
            +    (<5B898B9GG5B8D98CD<=@=5=B58I@HA5@9D5H=9BHGGHF5H=:=986MF9:9FF5@
            GCIF79 &3FC/:0CA3=C@</:=4%3A3/@16/<2'@3/B;3<B \  8C=
                    G         
     5BHCF! $ "I65B$  @5?+ "@5GG9B'  =7?9M) @5B7<5F8)   
            '<MG=75@<9=;<H=BD98CD<=@=55B8<969D<=@=5 &3FC/:0CA3=C@</:=4%3A3/@16/<2
            '@3/B;3<B \  8C=           G         
     @5B7<5F8) 5BHCF! $ C;59FH  F998@CJ9* $ @@=G#   
              BH9F57H=CBC::F5H9FB5@6=FH<CF89F5B8<5B898B9GG=BH<989J9@CDA9BHC:A5@9
            <CACG9LI5@=HM =@;=<3A/<236/D7=@  \  8C=
                     > M<69<    
     @5B7<5F8) "I65B$  @5?+ 5BHCF! $ "@5GG9B' =7?9M)   
            '<5@@CA9HF=77CAD5F=GCBC:D98CD<=@=7=BH9F9GH=BBCB58A=HH=B;G9LI5@C::9B89FG
            5;5=BGHGH9D85I;<H9FG6=C@C;=75@85I;<H9FGCH<9F6=C@C;=75@@MF9@5H98;=F@G5B8
            IBF9@5H98;=F@G &3FC/:0CA3=C@</:=4%3A3/@16/<2'@3/B;3<B  \  8C=
                    G                
      @5B7<5F8) 5BHCF! $ )C6=7<5I8# "   =C@C;=75@:57HCFG=BH<9
            89J9@CDA9BHC:G9LI5@89J=5B795B85;;F9GG=CB=BA5@9G  B  5F65F99. # 
            $5FG<5@@8G '638CD3<7:3A3F=443<23@98 DD \  %9K0CF?I=@:CF8 
      5BHCF! $ "I65B$  @5?+ "@5GG9B'  =7?9M) @5B7<5F8)   
            F589:5=@IF95B8GD97=5@98I75H=CBD@579A9BH=BG9LI5@C::9B89FGa98I75H=CB5@
            <=GHCF=9G @167D3A=4&3FC/:36/D7=@ \ 8C=              G      
     *9HC$  5BHCF! $ @5B7<5F8)   <=@8DCFBC;F5D<MC::9BG9G5F95J5@=8
            8=5;BCGH=7=B8=75HCFC:D98CD<=@=5 =C@</:=40<=@;/:#AG16=:=5G          \  
            8C=         /    
     1I7?9F" ! $=H7<9@@! % F58@9M* ! +?57<I?! 5BHCF! $ @@=B* $ 
              +<9)975@@98<=@8<CC89B89F 89BH=HM 9B89F)C@9(I9GH=CBB5=F9
            'GM7<CA9HF=7DFCD9FH=9G &3F%=:3A \ 8C=             G         L
     5BHCF! $ @5B7<5F8) )C6=7<5I8# " <F=GH9BG9B "   (I5BH=H5H=J9
            F95B5@MG=GC:5;;F9;5H985H5CB (=BG9LI5@C::9B89FG #AG16=:=571/:C::3B7<        
            \ 8C=              
     5BHCF! $ "@5GG9B'  =7?9M) <F=GH9BG9B " "I65B$  @5?+ 
            .=@@=5AG% * @5B7<5F8)   5B898B9GG=BD98CD<=@=55B8<969D<=@=5 
            @167D3A=4&3FC/:36/D7=@ \ 8C=             G     
     5BHCF! $ @5B7<5F8) <F=GH9BG9B " =7?9M) "@5GG9B'  97?GH958 
            # @5?+ "I65B$     BH9@@=;9B79A9ACFM5B8<5B898B9GG=B
            D98CD<=@=5 !3C@=>AG16=:=5G \  8C=               
     @5B7<5F8) "I65B$  "@5GG9B' =7?9M) <F=GH9BG9B " 5BHCF! $ 
            @5?+   *9@: F9DCFH98=B>IF=9G69:CF95B85:H9F5;9 =BD98CD<=@=75B8BCB
            D98CD<=@=7A9BF9:9FF98:CF7@=B=75@5GG9GGA9BH @167D3A=4&3FC/:36/D7=@ \
             


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  @5B7<5F8) <F=GH9BG9B " *HFCB;* $ 5BHCF! $ "I65B$  "@5GG9B' 
         =7?9M) @5?+   )9HFCGD97H=J9G9@: F9DCFHGC:7<=@8<CC8577=89BHG
         75IG=B;IB7CBG7=CIGB9GG=BD<5@@CA9HF=75@@M8=5;BCG98D98CD<=@9G @167D3A=4&3FC/:
         36/D7=@  \ 
  5BHCF! $ @5B7<5F8) '5H9FGCB  C;59FH    CKA5BM;5MA9B
         CK9H<9=FG9LI5@CF=9BH5H=CBHC:F5H9FB5@6=FH<CF89F@167D3A=4&3FC/:36/D7=@ 
         \ 
  5BHCF! $ =B=?0 $ ':5IG!    <FCB=7:@ICL9H=B9=B<=6=HGG9LI5@
         69<5J=CF=BH<9A5@9F5H)9J9FG5@K=H<CLMHC7=B #AG16=>6/@;/1=:=5G       \ 
  =B=?0 $ 5BHCF! &7<G $95B5$   FCAH<97CI7<HCH<9?9M6C5F8
         'GM7<CH<9F5DM=B7M69FGD579  B* "=9G@9F8 C:BC@3=4B637<B3@<3BDD  \   
         $5<K5<%!#5KF9B79F@65IA 
  !C<BGCB$ " &aCBBCF$ 5BHCF!   CB:56I@5H=CBA9ACFM89:=7=HG5B8
         :FCBH5@8MG:IB7H=CB @/7</<2=5<7B7=<  \  
  "95B9$ $ 56F=9@=!   $CBH=#  @9=G7<A5B  5BHCF! $ %C@5B!
         *    BH57H5B8=AD5=F987CB79DHI5@A9ACFMDFC79GG9G=B5AB9G=5
         !3C@=>AG16=:=5G \
  '=@?=B;HCB% . 5BHCF! $   '9F79DH=CBGC:<9H9FCG9LI5@6=5G=BDFC:9GG=CB5@
         DGM7<C@C;MDFC;F5AGGIFJ9MC:;F58I5H9GHI89BHG #@=43AA7=</:#AG16=:=5G
         %3A3/@16/<2#@/1B713  \  




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                                             
 !! ! 
    5BHCF! $   )9G95F7<A9H<C8GGH5H=GH=75@5B5@MG=G5B8H<9D<5@@CA9HF=7H9GH:CF
           <969D<=@=5)9GDCBG9HC98CFC::28=HCF=5@CAA9BH5FM3 =C@</:=4&3FC/: 32717<3
              \ 8C=           >GA   
   5BHCF! $    B<=GCKBKCF8G)9GDCBG9HC$CG9F28=HCF=5@CAA9BH5FM3 
           =C@</:=4&3FC/: 32717<3  \  8C=             >GA  
   5BHCF! $   'IFDCFH987<5B;9G=BD98CD<=@=55GGH5H=GH=75@5FH9:57HGCAA9BHCB
           $W@@9F9H5@   @167D3A=4&3FC/:36/D7=@ \8C=          G  
                L
   $7'<5=@ - 5BHCF! $   '98CD<=@=5<9=;<H5B8H<9A5;B=HI89C:H<9
           5GGC7=5H=CBF9G95F7<BCH9 3D7/<B36/D7=@ \8C=
                          
   *C< . 5BHCF! $   D99?=BG=895:IFFM7CBJ9BH=CB2#9HH9FHCH<98=HCF3 
           @167D3A=4&3FC/:36/D7=@  \8C=           G     M
   5BHCF! $   )9D@MHC H5@=5BCaG 7CAA9BHCB5BHCF         2#9HH9FHCH<9
           8=HCF3 @167D3A=4&3FC/:36/D7=@   \  8C=           G   
           M
   5BHCF! $   +<99FFCFGC:"5F9BF5B?@=BaG#@3B3FBC/:7BG2CAA9BH5FM3 
           <B3@</B7=</:=C@</:=4=@3<A71 3<B/:3/:B6 \ 8C=
                       
   5BHCF! $ @5B7<5F8)   .<=H9A5HH9FJC@IA9G=BD98CD<=@9G<969D<=@9G5B8
           H9@9=CD<=@9G2#9HH9FHCH<98=HCF3 @167D3A=4&3FC/:36/D7=@  \ 8C=
                    G     
   5BHCF! $        %9K$) GHI8=9GGIDDCFHH<9@5B7<5F8HMDC@C;MC:A5@9 HC :9A5@9
           HF5BGG9LI5@=GA2#9HH9FHCH<98=HCF3 @167D3A=4&3FC/:36/D7=@ \ 8C=
                   G             
      1I7?9F" ! F58@9M* ! &KB B89FGCB "=66@9K<=H9* ! 5BHCF! $   
            G;9B89F=89BH=HM8=GCF89F=B58C@9G79BHG7CA=B;CIHC:H<97@CG9H=C@</:=4&3F/<2
              /@7B/:'63@/>G \ 
      5BHCF! $  *IAA9F )9J=9KC:H<96CC?'63 /<*6=*=C:23$C33<6M! 
           $=7<59@5=@9M !3EA:3BB3@=47D7A7=< =4B63;3@71/<#AG16=:=571/:AA=17/B7=<
              
     5BHCF! $  *DF=B; .<5H5F9H<9<CHHCD=7G=B#+F9G95F7<=BDGM7<C@C;M
           !3EA:3BB3@=47D7A7=< =4B63;3@71/<#AG16=:=571/:AA=17/B7=<   \ 
     5BHCF! $  5@@ $5@9<CACG9LI5@=HMG7=9B795B8D98CD<=@=5 !3EA:3BB3@=4
           7D7A7=< =4B63;3@71/<#AG16=:=571/:AA=17/B7=< \ 
     5BHCF! $      )9J=9KC:H<96CC?&3FC/:2271B7=<<<B35@/B32>>@=/16
           =C@</:=4&3F/<2 /@7B/:'63@/>G  \  
 
 
 ! 
    5BHCF! $     8=HCF=5@ &3FC/:0CA3=C@</:=4%3A3/@16/<2'@3/B;3<B    



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    5BHCF! $      8=HCF=5@BCH9 &3FC/:0CA3=C@</:=4%3A3/@16/<2'@3/B;3<B
              
    5F65F99  5BHCF! $        '9F:CFA5B79=B8=75H9G:CF&3FC/:0CA3=C@</:
         =4%3A3/@16/<2'@3/B;3<B*!)+28=HCF=5@3 &3FC/:0CA3=C@</:=4%3A3/@16
         /<2'@3/B;3<B  \ 
    5F65F99  5BHCF! $   &3FC/:0CA3=C@</:=4%3A3/@16/<2
         '@3/B;3<BD9F:CFA5B79=B8=75HCFG:CF 28=HCF=5@3 &3FC/:0CA3=C@</:=4
         %3A3/@16/<2'@3/B;3<B \ 
    1I7?9F" ! 5BHCF! $   FI=G=B; AD57H:57HCF85H528=HCF=5@3 @167D3A=4
         &3FC/:%3A3/@16 \ 
    5F65F99  5BHCF! $   '9F:CFA5B79=B8=75HCFG:CF&3FC/:0CA3
         =C@</:=4%3A3/@16/<2'@3/B;3<B28=HCF=5@3 &3FC/:0CA3=C@</:=4%3A3/@16
         /<2'@3/B;3<B \ 
    1I7?9F" ! 5BHCF! $   +<9@167D3A=BH<99F5C:CB@=B9:=FGH5<958C:
         DF=BH28=HCF=5@3 @167D3A=4&3FC/:36/D7=@  \  
    1I7?9F" ! 5BHCF! $   +<9=AD57H:57HCF+<9Archives bF95?G:FCAH<9D57?
         28=HCF=5@3 @167D3A=4&3FC/:36/D7=@ \ 
    1I7?9F" ! 5BHCF! $   +<9=AD57H:57HCF^C=BaID_28=HCF=5@3 @167D3A=4
         &3FC/:36/D7=@ \ 
     1I7?9F" 5BHCF! $   +<9BIA69FG;5A9+<9=AD57H:57HCF5B85@@H<5H>5NN
         28=HCF=5@3 @167D3A=4&3FC/:36/D7=@ \ 




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 'F=B7=D5@ BJ9GH=;5HCFG CI;-5B89F#55B$9B; <I5B#5=
 C BJ9GH=;5HCFG         !5A9G$ 5BHCF$9;<5$5@@5F<5?F5J5FHM%5B7M#C65I;<$ 
                           '5@A9FH$ *?CFG?5
 +=H@9                   @/7<4C<1B7=</<21=<<31B=;71A4=::=E7<5A3F6=@;=<3B@3/B;3<B7<
                           /2=:3A13<BA3F>3@73<1353<23@2GA>6=@7/
 ;9B7M                  5B58=5B BGH=HIH9GC:95@H<)9G95F7< )
                           9<5J=CIF5@*7=9B79G  
 IB8G                      M95FG!I@M 

 'F=B7=D5@ BJ9GH=;5HCF   $=7<59@ *9HC
 C BJ9GH=;5HCFG          $5FH=B#5@IA=RF9!5A9G$ 5BHCF
 +=H@9                   @31=<<31B7D7BG27443@3<13AC<7?C3B=>32=>67:7/
 ;9B7M                   ,B=J9FG=HM$98=75@)9G95F7<IB8)CM5@&HH5K5CGD=H5@
 IB8G                          M95F!5BI5FM 

 'F=B7=D5@ BJ9GH=;5HCF   #CF=FCHHC
 C BJ9GH=;5HCFG          BH<CBMC;59FH!5A9G$ 5BHCF9FI@:)=9;9F
 +=H@9                   <D3AB75/B7=<A7<B=B63<3C@/:C<23@>7<<7<5A/<207=:=571/:1=@@3:/B3A
                            =4/A3FC/:7BG
 ;9B7M                   %5HIF5@*7=9B79G5B8B;=B99F=B;)9G95F7<CIB7=@%*)
                            =G7CJ9FMF5BHG'FC;F5A
 IB8G                          M95FGDF=@ 

 'F=B7=D5@ BJ9GH=;5HCF   CI;-5B89F#55B
 C BJ9GH=;5HCFG          !9F5@85=B!5A9G$ 5BHCF$9;<5$5@@5F<5?F5J5FHM*C:=5
                            <5J9N%5B7M#C65I;<5B8"9BB9H<! 1I7?9F
 +=H@9                    4431BA=4A3F6=@;=<3B@3/B;3<B=<0@/7<23D3:=>;3<B;/5<3B71
                            @3A=</<137;/57<5ABC2G=4/2=:3A13<BAE7B653<23@2GA>6=@7/
 ;9B7M                   5B58=5B BGH=HIH9GC:95@H<)9G95F7< )
                            +F5BG=H=CB5@&D9BF5BH'FC;F5A
 IB8G                     M95FG*9DH9A69F 

 'F=B7=D5@ BJ9GH=;5HCF   !5A9G$ 5BHCF
 C BJ9GH=;5HCFG          CK5F8 5F65F99)5M@5B7<5F8)C69FH=7?9M+C88 =F5F8
                            '<=@@=D "@5GG9B5B85J=8! $=?I@=G
 +=H@9                    !3C@=/</B=;7143/BC@3AA>317471B=>32=>67:7/
 ;9B7M                   5B58=5B BGH=HIH9GC:95@H<)9G95F7< )
 IB8G                         M95FG&7HC69F 

 'F=B7=D5@ BJ9GH=;5HCF   !5A9G$ 5BHCF
 +=H@9                   >@3:7;7</@GABC2G=44 %/A/27/5<=AB71B3AB=4>32=>67:7/
 ;9B7M                   95BC:$98=7=B9%9K57I@HMF5BHCAD9H=H=CB,B=J C:+CFCBHC
 IB8G                          !I@M 




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 'F=B7=D5@ BJ9GH=;5HCF   !5A9G$ 5BHCF
 C BJ9GH=;5HCF           )5M@5B7<5F8
 +=H@9                     =@>6=:=571/:/<2<3C@=>AG16=:=571/:1=@@3:/B3A=4>32=>67:7/
 ;9B7M                   5B58=5B BGH=HIH9GC:95@H<)9G95F7< )
 IB8G                       M95FGDF=@ 




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 
    5BHCF! $   *9DH9A69F !=B=>71B==B=C564=@B67A3F>3@B>/<3:G3/@7<
         @3D73E'@9B5FM*9GG=CB:CFH<9 BBI5@)9G95F7<5B8+F95HA9BHCB:9F9B79
         GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@6IG9FG 
   5BHCF! $  $5M  <B@=2C1B7=</<2$4=@O#32=>67:3P*HCD*&BBI5@
         CB:9F9B79#CB8CB," 
   5BHCF! $  I;IGH !3C@=07=:=5G=4>32=>67:7/=@>/@/>67:7/'=E/@2A/
         O@/<2(<74732'63=@GP=4A3FC/:7<B3@3ABA"9MBCH9588F9GGHCH<9 BH9FB5H=CB5@
         GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@&::9B89FG-=@B=IG#=H<I5B=5 
   5BHCF! $  I;IGH #32=>67:7//<2B630@/7<'6@33?C3AB7=<A/A932/<2
         /<AE3@32'F97CB:9F9B79HF5=B=B;DF9G9BH98HCH<9 BH9FB5H=CB5@GGC7=5H=CB:CFH<9
         +F95HA9BHC:*9LI5@&::9B89FG-=@B=IG#=H<I5B=5 
   5BHCF! $  DF=@  '63@3A>=<A3AB= '98CD<=@94@=;*3B63>3=>:3"9MBCH9
         588F9GGHCH<9$=BB9GCH5GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@6IG9FG$=BB95DC@=G
         $=BB9GCH5 
   5BHCF! $  DF=@  &BC2G7<5/BG>71/:A3FC/:7B73A@=;D/<7::/B= '98CD<=@9 
         I@@85MKCF?G<CD5HH<9$=BB9GCH5GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@6IG9FG
         $=BB95DC@=G$=BB9GCH5 
   5BHCF! $  !5BI5FM  =E;C16A3F7A3<=C564=@/6/>>G:743 BJ=H98@97HIF9
         HCH<9,B=J9FG=HMC:+CFCBHC=J=G=CBC:,FC@C;M$9BaG95@H<*IAA=H+CFCBHC
         5B585 
   5BHCF! $  %CJ9A69F '98CD<=@=55G5D<9BCA9BCBC:H<96F5=B,D85H9C:
         9J=89B795B8H<9DI6@=7F9GDCBG9  BJ=H98DF9G9BH5H=CBHCH<95BBI5@*98I75H=CB
         9J9BH9BHF9:CF88=7H=CB5B8$9BH5@95@H<+CFCBHC5B585 
   5BHCF! $  !IB9 '98CD<=@=569=B;=BH<96F5=B+<99J=89B795B8H<9DI6@=7aG
         F957H=CB  BJ=H98DF9G9BH5H=CBHC&+>=A7C;/BB63%" '63A173<13=4:=D3/<2A3F
         +CFCBHC5B585 
     5BHCF! $ 5AD95$  DF=@  M#32=>67:3NA6=E7<5/<227A1CAA7=<
          BJ=H98DF9G9BH5H=CBHCH<95BBI5@A99H=B;C:H<9*C7=9HM:CF*9L+<9F5DM5B8
         )9G95F7<$CBHFQ5@5B585 
     5BHCF! $  $5F7<  C<1B7=</:/<2AB@C1BC@/:<3C@=7;/57<5=4>32=>67:7/
         =<A7AB3<173A/1@=AA;3B6=2A/<2;=2/:7B73A BJ=H98@97HIF9HCH<9F5=B A5;=B;
         9BHF9)CM5@&HH5K5CGD=H5@&HH5K55B585 
    5BHCF! $  !5BI5FM #32=>67:7/037<57<B630@/7<'633D723<13/<2B63>C0:71
         @3/1B7=< B5I;IF5@?9MBCH9588F9GGHCH<9,B=J9FG=HMC:+CFCBHC*9LI5@=HM BH9F9GH
         %9HKCF?+CFCBHC&BH5F=C5B585 
    5BHCF! $  &7HC69F  7A1CAA7=<=4PAM#32=>67:3N&::=79C:H<9
         <=@8F9BaG#5KM9F8I75H=CB5@*9GG=CB+CFCBHC&BH5F=C5B585 
    5BHCF! $  *9DH9A69F  D/:C/B7<5B63@7A9B=@3=443<2*6/BE39<=E/<2
         E6/BE32=<PB BJ=H98@97HIF9HCH<9GGC7=5H=CBC:&BH5F=C!I8;9G&BH5F=CCIFHC:
         !IGH=79BBI5@5A=@M#5K'FC;F5A@I9$CIBH5=BG&BH5F=C5B585 2'F=J5H9@=B?
         CB@M<HHDG J=A9C 7CA           7 3
    5BHCF! $  DF=@ #32=>67:7//<2B630@/7<=<1:CA7=<A4@=;B63A31=<2
         53<3@/B7=<=4@3A3/@16 BJ=H98@97HIF95HH<9 5BBI5@)=G?5B8)97CJ9FMCF9BG=7
         CB:9F9B795A=@HCB&BH5F=C 


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   5BHCF! $  DF=@ G>3@A3FC/:7BGE7B6=CBB636G>3@0=:3"9MBCH9588F9GGHCH<9
          
             5BBI5@)=G?5B8)97CJ9FMCF9BG=7CB:9F9B795A=@HCB&BH5F=C 
   5BHCF! $  %CJ9A69F !==<3/A9AB=03A3FC/::G/BB@/1B32B=167:2@3<7D7<57<
       /<73:PA*=@:2F5B8)CIB8G9BHF9:CF88=7H=CB5B8$9BH5@95@H< +CFCBHC
       5B585 
   5BHCF! $  I;IGH G>3@A3FC/:7BG3BB7<5>/ABE63B63@M7BN7A=@M7BN7A<PB
        BJ=H98588F9GG5HH<9 5BBI5@A99H=B;C:H<9 BH9FB5H=CB5@7589AMC:*9L)9G95F7< 
       +CFCBHC5B585
   5BHCF! $  !I@M C<74732B63=@G=4BG>71/:/<2/BG>71/:A3FC/:7<B3@3AB7<;3<
       #/@/>67:7/6G>3@A3FC/:7BG/A3FC/:7BG/<2D/<7:://A=CB1=;3A=4/A7<5:32C/:
       =>>=<3<B>@=13AA BJ=H98DF9G9BH5H=CBHCH<9 'INN@9GC:*9LI5@&F=9BH5H=CB
       7CB:9F9B79#9H<6F=8;9#5B585 
  5BHCF! $  !IB9 G>3@A3FC/:7BG"9MBCH988F9GGHCH<9&BH5F=C'FC6@9A
       5A6@=B;'FCJ=B7=5@CFIA +CFCBHC5B585 
  5BHCF! $  $5M AA3AA;3<B=4>32=>67:7/#/AB>@3A3<B4CBC@3"9MBCH9
       88F9GGHCH<9 BH9FB5H=CB5@*MADCG=IACB%9IF5@$97<5B=GAG,B89F@M=B;'98CD<=@=5
       5B8<=@8*9LI5@6IG9%9$,' 9F@=B9FA5BM 
  5BHCF! $  $5F7< #@3D3<B7=<=4A3FC/:/0CA30GB/19:7<5B6307553ABAB75;/=4
       B63;/:: /97<5A3FB63@/>G/D/7:/0:3B=>32=>67:3A"9MBCH9588F9GGHCH<9 5BBI5@
       A99H=B;C:H<9*C7=9HM:CF*9L+<9F5DM5B8)9G95F7<CGHCB$ 
  5BHCF! $  $5F7< #32=>67:7/#@327A>=A7B7=<=@>3@D3@A7=<'5B9@8=G7IGG=CB5H
       C@IA6=5,B=J9FG=HM*7<CC@C:!CIFB5@=GA %9K0CF?%0 
  5BHCF! $  96FI5FM G>3@A3FC/:7BG)9G95F7<5MF5B8)CIB8GDF9G9BH5H=CB
       HC&BH5F=C*<CF9G9BHF9:CF$9BH5@95@H<*7=9B79G.<=H6M&BH5F=C5B585 
  5BHCF! $  !5BI5FM @/7<@3A3/@16/<2>32=>67:7/*6/B7B;3/<A4=@
       /AA3AA;3<B@3A3/@16/<2>=:71G"9MBCH9588F9GGHCH<9=B5I;IF5@A99H=B;C:H<9
       %9H<9F@5B8GGGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@6IG9FG,HF97<H%9H<9F@5B8G 
  5BHCF! $  979A69F (<23@AB/<27<5>32=>67:7//<2B630@/7<;>:71/B7=<A4=@
       A/43BG/<2A=173BG"9MBCH9588F9GG:CF+<9!9K=G<CAAIB=HMCB:FCBHG-=C@9B795B8
       6IG9F=G=G9BHF9:CF)9@=;=CIG.CA9B!9FIG5@9A GF59@ 
  5BHCF! $  &7HC69F (<23@AB/<27<5>32=>67:7/B630@/7< BJ=H98:I@@ 85M
       KCF?G<CD:CFH<9*9L&::9B89FGG9GGA9BHC5F8C:'9BBGM@J5B=55FF=G6IF;' 
  5BHCF! $  *9DH9A69F (<23@AB/<27<5<3C@=7;/57<5=4>32=>67:7/C@@3<B
       AB/BCA/<27;>:71/B7=<A BJ=H98@97HIF9DF9G9BH98HCH<9$9BH5@95@H<5B888=H=CB
       )CIB8G*H !CG9D<aG95@H<75F95A=@HCB&BH5F=C5B585 
  5BHCF! $  !IB9 <3D3<7<5E7B6@/;3A/<B=@ BJ=H98@97HIF9DF9G9BH98HC
       H<9&BH5F=C$98=75@GGC7=5H=CB=GHF=7H C7HCFGa#CIB;9'FC;F5A+CFCBHC
       &BH5F=C5B585 
  5BHCF! $  DF=@ #32=>67:7//<2B630@/7< BJ=H98@97HIF9DF9G9BH98HCH<9
       ,B=J9FG=HMC:+CFCBHC$98=75@*HI89BHG@IB7<H=A9@97HIF9 +CFCBHC&BH5F=C5B585 
  5BHCF! $  96FI5FM #32=>67:7//<2B630@/7<%31/>/<2C>2/B3.CF?G<CD
       DF9G9BH985HH<9 5BBI5@A99H=B;C:H<9.5G<=B;HCB*H5H9GGC7=5H=CB:CFH<9
       +F95HA9BHC:*9LI5@6IG9FG@9@IA. 
  5BHCF! $ #5:5=@@9* 5BB5<! "I7M= *C< =F5F8+  $=?I@=G $
        96FI5FM C<1B7=</:1=<<31B7D7BG7<>32=>67:7/%9IFCDGM7<=5HFM)CIB8G
       +CFCBHC.9GH9FBCGD=H5@+CFCBHC&BH5F=C5B585 


                                                                                            
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  5BHCF! $  %CJ9A69F (<23@AB/<27<5>32=>67:7//<2B630@/7<'630/A71AB63
       1C@@3<BAB/BCA/<2B637@7;>:71/B7=<A BJ=H98@97HIF9HCH<9CF9BG=7'GM7<C@C;M
       )9G95F7<9BHF95F@9HCB,B=J9FG=HM&HH5K55B585 
  5BHCF! $  %CJ9A69F  7AB/97<5>C03@BG;7AB/97<56303>67:7/"9MBCH9588F9GG
       DF9G9BH98HCH<95BBI5@A99H=B;C:H<9GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@
       6IG9FG<=75;C # 
  5BHCF! $  &7HC69F (<23@AB/<27<5>32=>67:7//<2B630@/7<@31/>/<2
       C>2/B3 BJ=H98KCF?G<CDDF9G9BH985HH<9B85BBI5@A99H=B;C:H<9GGC7=5H=CB:CF
       H<9+F95HA9BHC:*9LI5@6IG9FG<=75;C # 
  5BHCF! $  &7HC69F =;>C:A7D36G>3@A3F/2271B7=<2=<PB1/@3E6/BE3/::7B
       E6/B1/<E38C BJ=H98588F9GGDF9G9BH98HCH<9C5F8C:L5A=B9FGC:*9L+<9F5D=GHG
       5B8CIBG9@CFGC:&BH5F=C+CFCBHC&BH5F=C5B585 
  5BHCF! $  *9DH9A69F !3C@=7;/57<5=4>32=>67:7/C@@3<BAB/BCA/<2
       7;>:71/B7=<A$7=@@,B=J9FG=HM95@H<9BHF99D5FHA9BHC:'GM7<=5HFMF5B8)CIB8G
       DF9G9BH5H=CB$CBHFQ5@(IQ6975B585 
  5BHCF! $  DF=@ (<23@AB/<27<5>32=>67:7//<2B630@/7< BJ=H98KCF?G<CD
       DF9G9BH985HH<9 A99H=B;C:H<9$=BB9GCH5GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@
       6IG9FG$=BB95DC@=G$% 
  5BHCF! $  DF=@ '63<3C@=07=:=5G=4>32=>67:7//<27BA7;>:71/B7=<A4=@
       /AA3AA;3<BB@3/B;3<B/<2>C0:71>=:71G BJ=H98@97HIF95HH<95BBI5@A99H=B;C:
       H<9*C7=9HM:CF*9L+<9F5DM5B8)9G95F7<5@H=ACF9$ 
  5BHCF! $  DF=@ &3F=443<23@A%3:/B7<5@3A3/@16B=>=:71G BJ=H98FCIB8H56@9
       DF9G9BH5H=CB5HH<95BBI5@A99H=B;C:H<97589AMC:F=A=B5@!IGH=79*7=9B79G5@@5G
       +/ 
  5BHCF! $  $5F7< #32=>67:7//<20@/7<@3A3/@16@=;B630/A71AB=B63AB/B3
       =4B63/@B BJ=H98KCF?G<CDDF9G9BH98HCH<95BBI5@A99H=B;C:H<9CF9BG=7$9BH5@
       95@H<GGC7=5H=CBC:5@=:CFB=5$CBH9F9M 
  5BHCF! $  !5BI5FM #32=>67:7//<2167:2;=:3AB/B7=< BJ=H98@97HIF9DF9G9BH98
       HCH<95B58=5BCF89F*9FJ=79G;9B7M+CFCBHC&BH5F=C5B585 
  5BHCF! $  %CJ9A69F (<23@AB/<27<5>32=>67:7//<2A3FC/:=443<23@A/5/7<AB
       167:2@3<!3C@=7;/57<5/<27BA7;>:71/B7=<A4=@>C0:71A/43BG BJ=H98;I9GH@97HIF9HC
       ,B=J9FG=HMC:%9K$9L=7C*7<CC@C:$98=7=B995@H<*7=9B79G9BH9F@6IEI9FEI9
       %$ 
  5BHCF! $  %CJ9A69F #32=>67:7//<20@/7<@3A3/@16 BJ=H98;I9GH@97HIF9HCH<9
       5BBI5@A99H=B;C:H<9=F7@9GC:*IDDCFH5B877CIBH56=@=HM+CFCBHC&BH5F=C5B585 
  5BHCF! $  !5BI5FM C@@3<B47<27<5A=<>32=>67:7/0@/7<@3A3/@16 BJ=H98
       KCF?G<CD5HH<9*5B=9;C BH9FB5H=CB5@CB:9F9B79CB<=@85B85A=@M$5@HF95HA9BH
       *5B=9;C 
  5BHCF! $  !5BI5FM #32=>67:7//<2B63@7A9B=@3=443<2 BJ=H98@97HIF9HCH<9
       &BH5F=CCIFHC:!IGH=79!I8=7=5@9J9@CDA9BH BGH=HIH9+CFCBHC&BH5F=C5B585 
  5BHCF! $     %CJ9A69F #32=>67:7//<2B630@/7<*6/B7B;3/<A4=@/AA3AA;3<B
       B@3/B;3<B/<2>=:71G'@9B5FM#97HIF9DF9G9BH985HH<9GGC7=5H=CB:CFH<9+F95HA9BHC:
       *9LI5@6IG9FG+CFCBHC&BH5F=C5B585 
  5BHCF! $     !I@M '=E/@2AC<23@AB/<27<51=<B@/271B=@G47<27<5A7<B63
       <3C@=7;/57<5=4>32=>67:71;3<"9MBCH9588F9GGHC5BBI5@7CB:9F9B79CB)9G95F7<
       =BCF9BG=7'GM7<=5HFM)9;9BG69F;9FA5BM 


                                                                                            
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  5BHCF! $     $5F7< (<23@AB/<27<5A3FC/:=443<27<5/<2B630@/7<@/7<0/A71AB=
       B63AB/B3=4B63/@B.CF?G<CDDF9G9BH985HH<9K=BH9F7CB:9F9B79C:H<9&F9;CB
       GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@6IG9FG&F9;CB=HM&) 
  5BHCF! $      &7HC69F  /<CA1@7>B>C0:7A67<54=@ABC23<BA.CF?G<CDDF9G9BH985H
       H<9H<5BBI5@A99H=B;C:H<9GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@6IG9FG
       '<C9B=L1 
  5BHCF! $      I;IGH AA3FC/:=@73<B/B7=</>/@/>67:7/ BJ=H98@97HIF95HH<9
        BH9FB5H=CB5@9<5J=CF5@9J9@CDA9BH*MADCG=IA#9H<6F=8;9@69FH55B585 
  5BHCF! $     $5F7< (<23@AB/<27<5A3FC/:=443<27<5/<2B630@/7<@=;B63
       0/A71AB=B63AB/B3=4B63/@B.CF?G<CDDF9G9BH985HH<95BBI5@A99H=B;C:H<9
       .5G<=B;HCB*H5H9GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@6IG9FG@5=B9. 
  5BHCF! $  !5BI5FM @/7<AB@C1BC@3/<24C<1B7=<=4>32=>67:7/;3<
       %9IFCDGM7<=5HFM)CIB8G+CFCBHC.9GH9FBCGD=H5@+CFCBHC&BH5F=C 
  5BHCF! $  DF=@ A>32=>67:7/1/CA320G0@/7<2GA4C<1B7=< BJ=H98588F9GGHC
       H<9,B=J9FG=HM K=89*7=9B795M#97HIF9*9F=9G*,%0&GK9;C&GK9;C%0 
  5BHCF! $ "565B=% <F=GH9BG9B " 1=DIFG?M)  5F65F99  =7?9M) 
       "@5GG9B'  $=?I@=G ! "I65B$  @5?+ )=7<5F8G  5BF5HHM$ " 
       @5B7<5F8)  *9DH9A69F  %A=4>32=>67:71;3< BJ=H98DF9G9BH5H=CB5HH<9
       5BBI5@A99H=B;C:H<9GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@6IG9FG<=75;C 
  5BHCF! $ @5B7<5F8) <F=GH9BG9B "  $5F7< 7<27<5A7</<2
       7;>:71/B7=<A=4<3C@=>AG16=:=5G/<23>723;7=:=5G=4>32=>67:7/ BJ=H98@97HIF95HH<9
       5BBI5@A99H=B;C:H<9*C7=9HM:CF*9L+<9F5DM5B8)9G95F7<$=5A= 
  5BHCF! $ <F=GH9BG9B " "@5GG9B'  =7?9M) @5B7<5F8)       !I@M
       !3C@=>AG16=:=571/:4C<1B7=<7<57<>32=>67:3A BJ=H98@97HIF9DF9G9BH985HH<9
       5BBI5@A99H=B;C:H<9 BH9FB5H=CB5@7589AMC:*9L)9G95F7<FCACBH5B585 
  5BHCF! $ @5B7<5F8) <F=GH9BG9B "@5GG9B' =7?9M)      96FI5FM
       7@AB5:/<13/B$;3;=@G4C<1B7=<7<5/<26/<232<3AA7<A3F=443<23@A#97HIF9
       DF9G9BH985HH<9CF9BG=7#97HIF9*9F=9G9BHF9:CF88=7H=CB5B8$9BH5@95@H<
       +CFCBHC&BH5F=C5B585 
  5BHCF! $  %CJ9A69F %3D3@A/:=4&&%7<2C132;/:3A3FC/:2GA4C<1B7=<
       &C553AB7=<A4@=;/</<7;/:;=23:F5B8)CIB8GDF9G9BH5H=CB5HH<9@@5B$9ACF=5@
        BGH=HIH9)CM5@-=7HCF=5CGD=H5@$CBHFQ5@5B585 




                                                                                              
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                          
 
    5BHCF! $   DF=@ ^ a8F5H<9F<5J95HF5BG?=8H<5B58958?=8_F=H=75@5GG9GGA9BH
          C:F9DCFH98F5H9GC:GI=7=85@=HM=BHF5BG?=8G #/>3@>@3A3<B32/BB63/<<C/:;33B7<5=4
          B63&=173BG4=@B63&3F'63@/>G/<2%3A3/@16&B@=B9=B@=9IC:=BD9FGCBA99H=B; 
   *H9D<9BG* #5@IA=RF9$ *9HC$  5BHCF! $  &7HC69F '63@3:/B7=<A67>
          03BE33<A3FC/:@3A>=<A7D3<3AA/<2A3FC/:3F1:CA7D7BG7<>6/::=;3B@71>@=47:3A'5D9F
          DF9G9BH985HH<95BBI5@A99H=B;C:H<95B58=5B*9L)9G95F7<CFIAF989F=7HCB
          %9KFIBGK=7?5B585 
   *H9D<9BG* 5BHCF! $ *9HC$   $5F7< /<B63&&# 23B31B6303>67:71
          A3FC/:7<B3@3AB'5D9FDF9G9BH985HH<95BBI5@A99H=B;C:H<9A9F=75B 'GM7<C@C;M
          #5K*C7=9HMBBI5@$99H=B;*95HH@9. 
   *H9D<9BG* *9HC$  CC8K=@@ $ 5BHCF! $  &7HC69F )71B7;16=713
          >=:G;=@>67A;/<2@31727D7A;*MADCG=IA'F9G9BH5H=CB '5D9FDF9G9BH985HH<9
          5BBI5@A99H=B;C:H<9GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@6IG9FG$CBHFQ5@
          5B585 
   $7'<5=@ - 9FA5BB  9FB5B9* 9FB5B89N0 5BHCF! $ %IB9G" # 
           &7HC69F &3FC/:23D7/<137<A3FC/:=443<23@A/5/7<AB167:2@3<;3B//</:GB71
          @3D73E=4>6/::=;3B@71@3A3/@16'5D9FDF9G9BH985HH<95BBI5@A99H=B;C:H<9
          GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@6IG9FG*5B=9;C 
   *H9D<9BG* *9HC$  5BHCF! $ CC8K=@@ $  &7HC69F A6303>67:71
          A3FC/:7<B3@3AB/1@7;7<=53<71<332:/@53A1/:3@31727D7A;ABC2G'5D9FDF9G9BH98
          5HH<95BBI5@A99H=B;C:H<9GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@6IG9FG*5B
          =9;C 
   *H9D<9BG* *9HC$  5BHCF! $ #5@IA=RF9$  &7HC69F 3D3:=>;3<B
          /<2D/:72/B7=<=4B63%3D7A32&1@33<7<5&1/:34=@#32=>67:71<B3@3ABA&&#L '5D9F
          DF9G9BH985HH<95BBI5@A99H=B;C:H<9GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@
          6IG9FG*5B=9;C 
   5BHCF! $ #5:5=@@9* 5BB5<! "I7M= *C< =F5F8+  $=?I@=G $ 
           *9DH9A69F #32=>67:7//<2B630@/7<*67B3;/BB3@27443@3<13A23B31B32E7B6
          ''5D9FDF9G9BH985HH<9 5BBI5@A99H=B;C:H<9 BH9FB5H=CB5@GGC7=5H=CB:CFH<9
          +F95HA9BHC:*9LI5@6IG9FG'CFHC'CFHI;5@ 
   *H9D<9BG* *9HC$ 5BHCF! $ CC8K=@@ $ "I65B$  $5F7< '63
          @=:3=46303>67:71A3FC/:7<B3@3ABA7<A3FC/:D71B7;16=713'5D9FDF9G9BH985HH<95BBI5@
          A99H=B;C:H<9A9F=75B'GM7<C@C;M5B8#5K*C7=9HM%9K&F@95BG# 
     $7'<5=@ - 9FB5B9*  9FA5BB  9FB5B89N0 $ %IB9G" # 5BHCF
          ! $  %CJ9A69F &3FC/:23D7/<13/<2A3FC/:@31727D7A;7<A3FC/:=443<23@A
          /5/7<AB167:2@3<;3B//</:GA7A'5D9FDF9G9BH985HH<95BBI5@A99H=B;C:H<9
          GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@6IG9FG<=75;C # 
     5BHCF! $  *9DH9A69F #32=>67:7//<2B630@/7<C@@3<B %@3A3/@16/<27BA
          7;>:71/B7=<A'5D9FDF9G9BH985HH<9 5BBI5@.CF@8CB;F9GG:CF*9LI5@95@H<
          'CFHC@9;F9F5N=@ 295HIF985ACB;9GH6GHF57HGHCD C: 3
    5BHCF! $ <5=F  $5F7< <<=D/B7=<A7<A3F@3A3/@16*MADCG=IA7CB8I7H985H
          H<95BBI5@A99H=B;C:H<9*C7=9HM:CF*9L+<9F5DM5B8)9G95F7<<=75;C 
    5BHCF! $ @5B7<5F8)       I;IGH :$) J9FGIGD<5@@CA9HFM=BH<98=5;BCG=GC:
          D98CD<=@=55B8<969D<=@=5  B! $ 5BHCF<5=F!3C@=7;/57<5=4;3<PA=0831B


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             >@343@3<13A*MADCG=IADF9G9BH985HH<9H<5BBI5@A99H=B;C:H<9 BH9FB5H=CB5@
             7589AMC:*9L)9G95F7<#CGB;9@9G,* 
        5BHCF! $ <5=F     I;IGH !3C@=7;/57<5=4;3<PA=0831B>@343@3<13A
             *MADCG=IA7CB8I7H985HH<9H<5BBI5@A99H=B;C:H<9 BH9FB5H=CB5@7589AMC:*9L
             )9G95F7<#CGB;9@9G 
        5BHCF! $     &7HC69F A9H5 5B5@MG=GC:B9IFC=A5;=B;GHI8=9GC:A5@9G9LI5@
             5FCIG5@  B* *HC@9FV<5=F@/7<>@=13AA7<5=4A3FC/:AB7;C:77<>32=>67:7/<
             />>:71/B7=<=44C<1B7=</:<3C@=7;/57<5*MADCG=IADF9G9BH985HH<95BBI5@
             A99H=B;C:H<9GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@6IG9FG'<C9B=L1 
        <=J9FG$ # *9HC$  5BHCF!  F=A6CG+ )CM DF=@     
             #AG16=>6GA7=:=571/:/AA3AA;3<B=4A3FC/:/1B7D7BG>@343@3<13A7<E=;3<'5D9F
             DF9G9BH985HH<95BBI5@A99H=B;C:H<9*C7=9HM:CF*9L+<9F5DM5B8)9G95F7<
             CGHCB,* 
        5BHCF! $ =F5F8+  #CJ9HH 5FFCB$  %CJ9A69F '630@/7<@357=<AB6/B
             @3A>=<2B=3@=B71/&3FC/:<3C@=A173<134=@2C;;73A'5D9FDF9G9BH985HH<9 GH
             5BBI5@A99H=B;C:H<9*C7=9HM:CFH<9*7=9BH=:=7*HI8MC:*9LI5@=HM*5B!I5B'I9FHC
             )=7C 
        5F65F99 #5B;HCB @5B7<5F8) 5BHCF! $  &7HC69F '63@=:3=4/53
             /B@3:3/A37<B633D/:C/B7=<=4@31727D7A;@7A9=4A3FC/:=443<23@A'5D9FDF9G9BH985H
             H<95BBI5@A99H=B;C:H<9GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@6IG9FG*5B
             =9;C 
        5BHCF! $ "565B=% <F=GH9BG9B " 1=DIFG?M)  5F65F99  =7?9M) 
             "@5GG9B'  $=?I@=G ! "I65B$  @5?+ )=7<5F8G  5BF5HHM$ " 
             @5B7<5F8)  !I@M #32=>67:7//<20@/7<;=@>6=:=5G6GHF57H5B8D5D9F
             DF9G9BH985HH<95BBI5@A99H=B;C:H<9 BH9FB5H=CB5@7589AMC:*9L)9G95F7<
             AGH9F85A%9H<9F@5B8G 
        *9HC$  5BHCF! $ @5B7<5F8)  $5F7< 67:2>=@<=5@/>6G=443<27<57A
             /27/5<=AB717<271/B=@=4>32=>67:7/ '5D9FDF9G9BH985HH<9 5BBI5@A99H=B;C:H<9
             A9F=75B'GM7<C@C;M #5K*C7=9HMCB:9F9B79*H '9H9FG6IF;@CF=85 
        @5B7<5F8) 5BHCF! $ C;59FH  F998@CJ9* $ @@=G#  I;IGH
             <B3@/1B7=<=44@/B3@</:07@B6=@23@/<26/<232<3AA7<B6323D3:=>;3<B=4;/:3
             6=;=A3FC/:7BG6GHF57H5B8D5D9FDF9G9BH985HH<9 BH9FB5H=CB5@9<5J=CF5@
             9J9@CDA9BH*MADCG=IA$=BCH%CFH<5?CH5 
       5BHCF! $ @5B7<5F8)  !I@M $C/<B7B/B7D3@3/</:GA7A=4/55@35/B32/B/=<
             $7<A3FC/:=443<23@A6GHF57H5B8DCGH9FDF9G9BH985HH<9 5BBI5@A99H=B;C:H<9
               BH9FB5H=CB5@7589AMC:*9L)9G95F7<&HH5K55B585 
       5BHCF! $  I;IGH &3F@3/AA75<;3<B=<23;/<2'631:7<717/<PA27:3;;/'5D9F
             DF9G9BH985HH<9 5BBI5@A99H=B;C:H<9A9F=75B'GM7<C@C;=75@GGC7=5H=CB
             +CFCBHC5B585 
       5BHCF! $  !IB9  3B//</:GA7A=4)$L#$27443@3<13A7<;/:3A3F=443<23@A
             '5D9FDF9G9BH985HH<95FJ9M*H5B79F)9G95F7<5M+CFCBHC&BH5F=C5B585 
       5BHCF! $  I;IGH 3<23@@=:37</CB=5G<3>67:71B@/<AA3FC/:A'63;=@3B67<5A
             16/<53K'5D9FDF9G9BH985HH<9 5BBI5@A99H=B;C:H<9A9F=75B'GM7<C@C;=75@
             GGC7=5H=CB<=75;C 




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   5BHCF! $ <F=GH9BG9B " "@5GG9B'  =7?9M) @5B7<5F8)    !IB9 
          $;3;=@G4C<1B7=<7<5/<26/<232<3AA7<;/:3A3F=443<23@A'5D9FDF9G9BH985HH<9
          5FJ9M*H5B79F)9G95F7<5M+CFCBHC&BH5F=C5B585 
   5BHCF! $  I;IGH =<D3<B7=<=@73<B/B7=<4=@:3A07/<5/G/<207A3FC/:
          ABC23<BA '5D9FGDF9G9BH985HH<9 5BBI5@A99H=B;C:H<9A9F=75B'GM7<C@C;=75@
          GGC7=5H=CB 
   5BHCF! $  I;IGH 7A1CAA7=<6=C@4=@:3A07/<5/G/<207A3FC/:ABC23<BA 
          'F9G9BH985HH<9 5BBI5@A99H=B;C:H<9A9F=75B'GM7<C@C;=75@GGC7=5H=CB 
   5BHCF! $  I;IGH =<D3<B7=<=@73<B/B7=<4=@:3A07/<5/G/<207A3FC/:
          ABC23<BA '5D9FDF9G9BH985HH<9 5BBI5@A99H=B;C:H<9A9F=75B'GM7<C@C;=75@
          GGC7=5H=CB 
   5BHCF! $  I;IGH 7A1CAA7=<6=C@4=@:3A07/<5/G/<207A3FC/:ABC23<BA 
          'F9G9BH985HH<9 5BBI5@A99H=B;C:H<9A9F=75B'GM7<C@C;=75@GGC7=5H=CB 
   5BHCF! $  I;IGH &G;>=A7C;$C3AB7=<=47<1:CA7=<3A07/</<25/G
          >AG16=:=57ABA/<2/11@327B/B7=< '5D9FDF9G9BH985HH<9 5BBI5@A99H=B;C:H<9
          A9F=75B'GM7<C@C;=75@GGC7=5H=CB+CFCBHC 
   5BHCF! $  I;IGH =<D3<B7=<=@73<B/B7=<4=@:3A07/<5/G/<207A3FC/:
          ABC23<BA '5D9FGDF9G9BH985HH<9 5BBI5@A99H=B;C:H<9A9F=75B'GM7<C@C;=75@
          GGC7=5H=CB 
   5BHCF! $  I;IGH 7A1CAA7=<6=C@4=@:3A07/<5/G/<207A3FC/:ABC23<BA 
          'F9G9BH985HH<9 5BBI5@A99H=B;C:H<9A9F=75B'GM7<C@C;=75@GGC7=5H=CB 
   5BHCF! $  I;IGH =<D3<B7=<=@73<B/B7=<4=@:3A07/<5/G/<207A3FC/:
          ABC23<BA '5D9FGDF9G9BH985HH<9 5BBI5@A99H=B;C:H<9A9F=75B'GM7<C@C;=75@
          GGC7=5H=CB 
   5BHCF! $  I;IGH 7A1CAA7=<6=C@4=@:3A07/<5/G/<207A3FC/:ABC23<BA 
          'F9G9BH985HH<9 5BBI5@A99H=B;C:H<9A9F=75B'GM7<C@C;=75@GGC7=5H=CB 
   5BHCF! $  I;IGH =<D3<B7=<=@73<B/B7=<4=@:3A07/<5/G/<207A3FC/:
          ABC23<BA '5D9FGDF9G9BH985HH<9 5BBI5@A99H=B;C:H<9A9F=75B'GM7<C@C;=75@
          GGC7=5H=CB 
   5BHCF! $ '=@?=B;HCB% .  I;IGH =;=>6=07/7<>AG16=:=5G>@=5@/;A
          AC@D3G=45@/2C/B3ABC23<BA'5D9FDF9G9BH985HH<99BH9BB=5@CBJ9BH=CBC:H<9
          A9F=75B'GM7<C@C;=75@GGC7=5H=CB.5G<=B;HCB ) C7IA9BH)9DFC8I7H=CB
          *9FJ=79%C   
   5BHCF! $   I;IGH 37<55/G/<2037<5/5@/2C/B3ABC23<B=C0:3B63
          ;3;03@A67>A4=C@B7;3AB63>@=0:3;A '5D9FDF9G9BH985HH<95BBI5@A99H=B;C:
          H<9A9F=75B'GM7<C@C;=75@GGC7=5H=CB*5BF5B7=G7C 




                                                                                               
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                                   
 
    "@9=B# *H9D<9BG* CC8K=@@ $ 5BHCF! $ *9HC$   &7HC69F '63
          >AG16=:=571/:>@=>3<A7B73A=4@7A97<C<23B31B32A3FC/:=443<23@A'CGH9FDF9G9BH985H
          H<95BBI5@A99H=B;C:H<9GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@6IG9FG
          $CBHFQ5@5B585 
   'I@@A5B#  *H9D<9BG* *9HC$  CC8K=@@ $ 5BHCF! $  &7HC69F 
          *6G/@37<13AB=443<23@A:3AA:793:GB=@31727D/B3'CGH9FDF9G9BH985HH<95BBI5@
          A99H=B;C:H<9GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@6IG9FG$CBHFQ5@5B585 
   *9HC$  *H9D<9BG* $ 5BHCF! $ #5@IA=9F9$ # *5B8@9F!  F99A5B% 
            I;IGH '6323D3:=>;3<B/<2D/:72/B7=<=4B63%3D7A32&1@33<7<5&1/:34=@
          #32=>67:71<B3@3ABA&&# 'CGH9FDF9G9BH5H=CB5HH<9 5BBI5@A99H=B;C:H<9
           BH9FB5H=CB5@7589AMC:*9L)9G95F7< +CFCBHC5B585 
   *C< . 5BHCF! $  I;IGH >3397<A723/4C@@G1=<D3<B7=<'CGH9F
          DF9G9BH5H=CB5HH<9 5BBI5@A99H=B;C:H<9 BH9FB5H=CB5@7589AMC:*9L)9G95F7< 
          +CFCBHC5B585 
   -5B89F#55B ' #C65I;<% ! <5?F5J5FHM$ $ '5H9@) <5J9N* *HC>5BCJG?=
          * & +5?5;= I;<9G* " .5GG9FA5B# 5=B! 5BHCF! $ 1I7?9F" 
          !  I;IGH '63<3C@=6=@;=</:6G>=B63A7A=453<23@2GA>6=@7/#@3:7;7</@G
          3D723<13=41=@B71/:AC@4/13/@3/27443@3<13A7</2=:3A13<B</B/:43;/:3A'CGH9F
          DF9G9BH5H=CB5HH<9 5BBI5@A99H=B;C:H<9 BH9FB5H=CB5@7589AMC:*9L)9G95F7< 
          +CFCBHC5B585 
   5BHCF! $ #5:5=@@9* ! $C5M98=$ $=?I@=G $ =F5F8+   !IB9 
          744CA7=<B3<A=@7;/57<5'=4B630@/7<7<>32=6303>67:71;3<#@3:7;7</@G
          /</:GA3A5FJ9M*H5B79F)9G95F7<5M+CFCBHC&BH5F=C5B585 
   %9KA5B!  *H9D<9BG* *9HC$  5BHCF! $  &7HC69F '63D/:727BG=4
          B63&B/B717<A3FC/:=443<23@AE7B6:=E7<B3::31BC/:/07:7B73A'CGH9FDF9G9BH5H=CB5H
          H<95BBI5@A99H=B;C:H<9GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@6IG9FG*5B
          =9;C 
   #M?=BG  .5@HCB$ + 5BHCF! $  !IB9 <=<:7<3/AA3AA;3<B=4
          >3@A=</:7BG>AG16=:=571/:/<2A3FC/:7BGB@/7BD/@7/0:3A/AA=17/B32E7B6A3:4@3>=@B32
          6G>3@A3FC/:036/D7=@'CGH9FDF9G9BH5H=CB5HH<9 5BBI5@A99H=B;C:H<9
           BH9FB5H=CB5@7589AMC:*9L)9G95F7<I6FCJB=?FC5H=5 
   *H9D<9BG* *9HC$  5BHCF! $ CC8K=@@ $ "I65B$  %CJ9A69F 
          '63CB7:7BG=4>6/::=;3B@G7<B63/AA3AA;3<B=46303>67:7/'CGH9FDF9G9BH985HH<9
          5BBI5@A99H=B;C:H<9GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@6IG9FG<=75;C 
     *H9D<9BG* *9HC$  5BHCF! $ CC8K=@@ $ "I65B$  &7HC69F 
          '63@=:3=46303>67:71A3FC/:7<B3@3ABA7<A3FC/:D71B7;16=713'CGH9FDF9G9BH985HH<9
          5BBI5@A99H=B;C:H<9GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@6IG9FG<=75;C 
     5N=C) # 5BHCF! $  &7HC69F </:GA7A=4B63/H7=/B3@/:7BG<D3<B=@G
          7</>=>C:/B7=<E7B63AB/0:7A632/BG>71/:6/<232<3AA'CGH9FDF9G9BH985HH<9
          5BBI5@A99H=B;C:H<9%5H=CB5@7589AMC:%9IFCDGM7<C@C;M*5B=9;C 
    #5:5=@@9* 5BB5<! *C< "I7M= =F5F8+  $=?I@=G $ 5BHCF! $ 
           I;IGH <D3AB75/B7<5@3AB7<5AB/B3<3BE=@9A7<>32=6303>67:3A'CGH9F
          DF9G9BH985HH<95BBI5@A99H=B;C:H<9 BH9FB5H=CB5@7589AMC:*9L)9G95F7<
          <=75;C 


                                                                                                
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   $7'<5=@ - #M?=BG  )C6=BGCB! ! #9@5B7* 5BHCF! $  I;IGH
         4431BA=4>@3A1@7>B7=<;3271/B7=<=<D=:C;3B@71>6/::=;3B@G=CB>CB'CGH9FDF9G9BH98
         5HH<95BBI5@A99H=B;C:H<9 BH9FB5H=CB5@7589AMC:*9L)9G95F7<<=75;C 
   $IFF5M$  MG<B=?I 5N=C) # 5BHCF! $  I;IGH  7<=@>6GA71/:
         /<=;/:73A/A/E7<2=E7<B=B63>@3</B/:=@757<A=4>32=>67:7/'CGH9FDF9G9BH985HH<9
         5BBI5@A99H=B;C:H<9 BH9FB5H=CB5@7589AMC:*9L)9G95F7<<=75;C 
   *IHHCB" * *H9D<9BG* MG<B=?I +I@@C7<+ 5BHCF! $  I;IGH #7:=B
         5@=C>B@3/B;3<B4=@M>@=1@/ABC@0/B7=<N'CGH9FDF9G9BH985H5BBI5@A99H=B;C:H<9
          BH9FB5H=CB5@7589AMC:*9L)9G95F7<<=75;C 
   *IHHCB" * 'MHM7?! *HF5HHCB% *M@J5 "C@@5% 5BHCF! $  I;IGH
         :73<B16/@/1B3@7AB71A0GBG>3=46G>3@A3FC/:7BG@343@@/:?C/<B7B/B7D316/@B@3D73E
         'CGH9FDF9G9BH985HH<95BBI5@A99H=B;C:H<9 BH9FB5H=CB5@7589AMC:*9L
         )9G95F7<<=75;C 
   5N=C) # 5BHCF! $  !IB9 @3>:71/B7=</<23FB3<A7=<=4B63>AG16=;3B@71
         >@=>3@B73A=4B63757B)757:/<13'3AB'CGH9FDF9G9BH985HH<9 5BBI5@A99H=B;C:H<9
         A9F=75B7589AMC:@=B=75@%9IFCDGM7<C@C;M<=75;C 
   #5:5=@@9* $C5M98=$ $=?I@=G $ =F5F8+  "I65B$ @5?+ 5BHCF!
         $  !I@M 744CA7=<'3<A=@;/57<5'=4B630@/7<7<>32=6303>67:71;3<
         #@3:7;7</@G/</:GA3A'CGH9FDF9G9BH985HH<95BBI5@A99H=B;C:H<9 BH9FB5H=CB5@
         7589AMC:*9L)9G95F7<#=G6CB'CFHI;5@
   #M?=BG  5BHCF! $ "I65B$  @5?+ =7?9M) "@5GG9B'  
         @5B7<5F8)       !I@M &3FC/:/@=CA/:B=43;/:3167:2@3<7<5G<3>67:71;3<'CGH9F
         DF9G9BH985HH<9H<5BBI5@A99H=B;C:H<9 BH9FB5H=CB5@7589AMC:*9L)9G95F7<
         'F5;I9N97<)9DI6@=7 
  5BHCF! $ =F5F8+  #CJ9HH 5FFCB$ @5?+  !I@M @/7<@357=<A
         @3A>=<27<5B=D7AC/:A3FC/:AB7;C:7 3B//</:GA7A=4#'/<24 %ABC273A6GHF57H
         5B8DCGH9FDF9G9BH985HH<95BBI5@A99H=B;C:H<9 BH9FB5H=CB5@7589AMC:*9L
         )9G95F7<#9IJ9B9@;=IA 
  #M?=BG  @5B7<5F8) 5BHCF! $ @5?+ "I65B$   !I@M
         7/5<=A7<5A3FC/:/BB@/1B7=<B=167:2@3<=<A723@/B7=<A4=@& )'CGH9FDF9G9BH98
         5HH<95BBI5@A99H=B;C:H<9 BH9FB5H=CB5@7589AMC:*9L)9G95F7<#9IJ9B
         9@;=IA 
  5BHCF! $ @5?+ "I65B$  "@5GG9B'  =7?9M) 5B8@5B7<5F8)  
         &7HC69F #6GA71/:63756B7<>32=>67:7//<26303>67:7/'CGH9FDF9G9BH985HH<9
         5BBI5@A99H=B;C:H<9GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@6IG9FG*5B=9;C 
  5BHCF! $ @5?+ "I65B$  "@5GG9B'  =7?9M) 5B8@5B7<5F8)  
         I;IGH #6GA71/:63756B7<>32=>67:7//<26303>67:7/6GHF57H5B8DCGH9FDF9G9BH985H
         H<95BBI5@A99H=B;C:H<9 BH9FB5H=CB5@7589AMC:*9L)9G95F7<-5B7CIJ9F
         5B585 
  'IHG  @5B7<5F8) 5F89B5G) 5BHCF! !CF85B # F998@CJ9* $
          I;IGH /@:73@>C03@BG>@3271BAAC>3@7=@>3@4=@;/<13=<;/:307/A32
         D7AC=A>/B7/:B/A9A7<;3<0CB<=BE=;3<6GHF57H5B8DCGH9FDF9G9BH985HH<9
         5BBI5@A99H=B;C:H<9 BH9FB5H=CB5@7589AMC:*9L)9G95F7<-5B7CIJ9F5B585 
  *9HC$  5BHCF! $ @5B7<5F8)  %CJ9A69F #=AA3AA7=<=4167:2
         >=@<=5@/>6G7A/27/5<=AB717<271/B=@=4>32=>67:7/'CGH9FDF9G9BH985HH<95BBI5@
         A99H=B;C:H<9GGC7=5H=CB:CFH<9+F95HA9BHC:*9LI5@6IG9FG%9K&F@95BG 



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   @5B7<5F8) 5BHCF! $ C;59FH  F998@CJ9 * $ @@=G#  !I@M 
          <B3@/1B7=<=44@/B3@</:07@B6=@23@/<26/<232<3AA7<B6323D3:=>;3<B=4;/:3
          6=;=A3FC/:7BG6GHF57H5B8DCGH9FDF9G9BH985HH<9 5BBI5@A99H=B;C:H<9
           BH9FB5H=CB5@7589AMC:*9L)9G95F7<&HH5K55B585 
   5BHCF! $ @5B7<5F8)  !I@M '63@3>=@B32)$L#$27443@3<13A7<;/:3A3F
          =443<23@A/@3/@B74/1BC/:6GHF57H5B8DCGH9FDF9G9BH985HH<95BBI5@A99H=B;C:
          H<9 BH9FB5H=CB5@7589AMC:*9L)9G95F7<@CCA=B;HCB B8=5B5 
   <F=GH9BG9B " 5BHCF! $ $=@@=?=B @5B7<5F8)  96FI5FM /1B=@
          /</:GA7A=4BE=0@734;3;=@GB3ABA#@3:7;7</@G3D723<134=@;=2/:7BGA>317471
          ;3/AC@3;3<B'CGH9FDF9G9BH985HH<9 H<5BBI5@A99H=B;C:H<9 BH9FB5H=CB5@
          %9IFCDGM7<C@C;=75@*C7=9HM+CFCBHC&BH5F=C5B585 
   5BHCF! $ @5B7<5F8) '5H9FGCB C;59FH     !IB9 =E;/<G5/G;3<
          =E3B637@A3FC/:=@73<B/B7=<B=4@/B3@</:07@B6=@23@6GHF57H5B8DCGH9FDF9G9BH985H
          H<9 BH9FB5H=CB5@9<5J=CF5@9J9@CDA9BH*MADCG=IA$=BCH%CFH<5?CH5 
   5BHCF! $ =B=?0 ':5IG!   %CJ9A69F :C=F3B7<37<6707B7=<=4;/:3@/B
          A3FC/:036/D7=@%3D3@A/:0G=FGB=17< 'CGH9FDF9G9BH985HH<95BBI5@A99H=B;C:
          H<9*C7=9HM:CF%9IFCG7=9B79G.5G<=B;HCB 
   5BHCF! $ =B=?0 ':5IG!   !IB9 </<7;/:;=23:=44:C=F3B7<37<2C132
          A3FC/:2GA4C<1B7=<=A323>3<23<13/<2B7;31=C@A3 'CGH9FDF9G9BH985HH<9
          5BBI5@CB:9F9B79CB)9DFC8I7H=J99<5J=CF$CBHFQ5@5B585 
   5BHCF! $ &aCBBCF$  "5D@5B 9FA5?# *  !IB9 '@/<A73<B3D3<BA
          B3AB=4@3B@=5@/23;3;=@G#3@4=@;/<13=4/;<3AB71/<2C<7;>/7@32>=>C:/B7=<A 
          'CGH9FDF9G9BH985HH<9B85BBI5@G7=9B79GMADCG=IAC:H<9$5GG57<IG9HHG
          %9IFCDGM7<C@C;=75@*C7=9HM5A6F=8;9$ 




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 ',513,0+,()
 &3FC/:0CA3=C@</:=4%3A3/@16/<2'@3/B;3<B                  !5B     \97    


 ',513,$.1$3'(/%(34+,24
 =C@</:=4&3FC/:55@3AA7=<                                       !5B     \97   
 =C@</:=4&3F%3A3/@16'63                                       !5B    \I;   
 &3FC/:0CA3=C@</:=4%3A3/@16/<2'@3/B;3<B                  !5B    \97  
 @167D3A=4&3FC/:36/D7=@                                        !5B    \'F9G9BH
 '63:7<71/:#AG16=:=57AB                                          !5B    \97  


 '+1&1630$.(7,(8(3&5,7,5:
 ;3@71/<=C@</:=4#AG167/B@G                =C@</:=4=<AC:B7<5/<2:7<71/:#AG16=:=5G
 <<C/:%3D73E=4&3F%3A3/@16                 =C@</:=4=@3<A71#AG16=:=5G#@/1B713
 @167D3A=43<3@/:#AG167/B@G                =C@</:4=@B63&173<B7471&BC2G=4%3:757=<
 AA3AA;3<B                                    =C@</:=4&3FC/:55@3AA7=<
 7=:=571/:#AG167/B@G                         =C@</:=4&3FC/: 32717<3
  #AG167/B@G                                =C@</:=4#AG167/B@71%3A3/@16
 @/7<&B@C1BC@3/<2C<1B7=<                  !/BC@3!3C@=A173<13
 @7B7A6=C@</:=4#AG167/B@G                 !3C@=07=:=5G%3D73EA
 @7B7A6 3271/:=C@</:                       !3C@=A173<137=036/D7=@/:%3D73EA
 /</27/<=C@</:=436/D7=C@/:&173<13       !3C@=A173<133BB3@A
 /</27/<=C@</:=4#AG167/B@G                #@=13327<5A=4B63%=G/:&=173BG
 3@30@/:=@B3F                                  7=:=571/:&173<13A
 :7<71/:/A3&BC273A                         #AG16=:=571/:AA3AA;3<B
 =;>@363<A7D3#AG167/B@G                      #AG16=:=571/: 32717<3
 3D3:=>;3<B/:#AG16=:=5G                      #AG16=:=571/:&173<13
 C@=>3/<#AG16=:=57AB                         #AG16=:=5G=4 3< /A1C:7<7BG
 @=<B73@A7<C;/<!3C@=A173<13               &3F%=:3A
 C;/<@/7< />>7<5                           &3FC/:/<2 /@7B/:'63@/>G
 <B3@</B7=</:=C@</:=4>723;7=:=5G         &3FC/:/<2%3:/B7=<A67>'63@/>G
 <B3@</B7=</:=C@</:=4;>=B3<13%3A3/@16   &3FC/:7BGC:BC@3
 <B3@</B7=</:=C@</:=4&3FC/:3/:B6        &3FC/:7BG%3A3/@16/<2&=17/:#=:71G
 <B3@</B7=</:=C@</:=4'@/<A53<23@7A;       '63:7<71/:#AG16=:=57AB
 =C@</:=40<=@;/:#AG16=:=5G                '@/C;/B=:=5G
 =C@</:=4:7<71/:#AG16=:=5G                *=@:2=C@</:=47=:=571/:#AG167/B@G




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    \     $9A69FC@@9;9C:)9J=9K9FG/</27/<<AB7BCB3A=43/:B6%3A3/@165B585 

            CAA=HH99$9A69F'99F)9J=9KCAA=HH99]C7HCF5@)9G95F7<K5F8G 
               /</27/<<AB7BCB3A=43/:B6%3A3/@165B585 

            $9A69F BH9FB5H=CB5@)9J=9KC5F8)9G95F7<7C@@56CF5H=CBGCB69<5J=CIF5@
               8=GCF89FGF9@5H98HCJ=C@9B79B9;@97HA5@HF95HA9BH5B856IG9=B7<=@8<CC85B8
               58C@9G79B79 C<23A;7<7AB3@7C;4I@7:2C<5C<2=@A16C<5- 7<7AB@G=4
               2C1/B7=</<2%3A3/@16.9FA5BM 

            )9J=9K9F %5H=CB5@*7=9B799BH9F2!/@=2=E33<B@C;!/C973'C@5B8 

            CAA=HH99$9A69F'99F)9J=9KCAA=HH99]C7HCF5@)9G95F7<K5F8G 
               /</27/<<AB7BCB3A=43/:B6%3A3/@165B585 

            GG9GGCF'99F)9J=9K9F =G7CJ9FMF5BHG'FC;F5A CAB@/:7/<%3A3/@16
               =C<17:IGHF5@=5 

            )9J=9K9F H316&173<13=C<2/B7=<N97<)9DI6@=7 

            )9J=9K9F^&::H<9695H9BHF57?_;F5BHG7<9A9 )=:9AE/53<=C<2/B7=<
               9FA5BM 

            LH9FB5@)9J=9K9F=G7CJ9FMF5BHGDFC;F5A⎯=C@C;=75@*MGH9AG5B8
               IB7H=CBG !/B7=</:&173<13A/<2<57<33@7<5%3A3/@16=C<17:=4/</2/
               5B585

            CAA=HH99$9A69F'99F)9J=9KCAA=HH99]C7HCF5@)9G95F7<K5F8G 
               /</27/<<AB7BCB3A=43/:B6%3A3/@165B585 

            GG9GGCF'99F)9J=9K9F =G7CJ9FMF5BHG'FC;F5A CAB@/:7/<%3A3/@16
               =C<17:IGHF5@=5 

            LH9FB5@)9J=9K9F=G7CJ9FMF5BHGDFC;F5A⎯=C@C;=75@*MGH9AG5B8
               IB7H=CBG !/B7=</:&173<13A/<2<57<33@7<5%3A3/@16=C<17:=4/</2/
               5B585 

            '5B9@$9A69F95BaGIB8]@=B=75@*7=9B79'5B9@ (<7D3@A7BG=4'=@=<B=
               /1C:BG=4 32717<35B585 

            CAA=HH99$9A69F'99F)9J=9KCAA=HH99]C7HCF5@)9G95F7<K5F8G 
               /</27/<<AB7BCB3A=43/:B6%3A3/@165B585 

            '5B9@$9A69FF5BH$=@@9F5B79F)9G95F7<F5BH'5B9@ (<7D3@A7BG=4'=@=<B=
               /1C:BG=4 32717<35B585 




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          '5B9@$9A69F95BC:$98=7=B9IB8%9K57I@HMF5BH@=B=75@*7=9B79
             '5B9@ (<7D3@A7BG=4'=@=<B=/1C:BG=4 32717<35B585 

          C5F8$9A69F BH9FB5H=CB5@)9J=9KC5F8)9G95F7<7C@@56CF5H=CBGCB
             69<5J=CIF5@8=GCF89FGF9@5H98HCJ=C@9B79B9;@97HA5@HF95HA9BH5B856IG9=B
             7<=@8<CC85B858C@9G79B79FCIB8 C<23A;7<7AB3@7C;4I@7:2C<5C<2
             =@A16C<5- 7<7AB@G=42C1/B7=</<2%3A3/@16.9FA5BM 

          LH9FB5@)9J=9K9F,B=J9FG=HMC:&HH5K5$98=75@)9G95F7<IB8 (<7D3@A7BG=4
             "BB/E/3>/@B;3<B=4#AG167/B@G5B585 

          LH9FB5@)9J=9K9F9<5J=CIF5@*7=9B79G] /</27/<<AB7BCB3A=43/:B6
             %3A3/@165B585 

           C5F8$9A69F BH9FB5H=CB5@)9J=9KC5F8)9G95F7<7C@@56CF5H=CBGCB
             69<5J=CIF5@8=GCF89FGF9@5H98HCJ=C@9B79B9;@97HA5@HF95HA9BH5B856IG9=B
             7<=@8<CC85B858C@9G79B79 C<23A;7<7AB3@7C;4I@7:2C<5C<2=@A16C<5
             - 7<7AB@G=42C1/B7=</<2%3A3/@16.9FA5BM 




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 F "5H<9F=B9* *IHHCB                                                 *9DH  \97     
 F )57<9@5N=C                                                        *9DH  \I;     
 F AM#M?=BG                                                          *9DH  \%CJ     


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 $=7<59@.5@HCBX,B=J9FG=HMC:%9KB;@5B8IGHF5@=5                   *9DH  \I;  
 96F5*C<X0CF?,B=J9FG=HM                                             $5M \I; 
 *?M9*H9D<9BGX)M9FGCB,B=J9FG=HM                                      DF=@ \!IB9 


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 %=7C@9CFA=9FX)M9FGCB,B=J9FG=HM                                        !IB9 \DF9G9BH
 96F5*C<X)M9FGCB,B=J9FG=HM                                         $5M \DF=@   


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 "M@=9)95@9X)M9FGCB,B=J9FG=HM                                                  *DF=B; 
 !5FF9HH5BB5<X,B=J9FG=HMC:)C7<9GH9F                                         *IAA9F 
 $=7<59@IA9B=I?X,B=J9FG=HMC:+CFCBHC                                         *IAA9F 


 # $! "  " !
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 "5H<9F=B9* *IHHCBX(I99BaG,B=J9FG=HM                                                 \ 
 5J=8*M@J5X%CFH<K9GH9FB,B=J9FG=HM                                                    \ 
 !CF85B)I@@CX,B=J9FG=HMC:,H5<                                                        \  
 #95+<5@9FX,B=J9FG=HMC:%9J585#5G-9;5G                                             \  
 5FC@=B"@9=BX,B=J9FG=HMC:F=H=G<C@IA6=5                                          \  
 C66M) .5@@=B;X,B=J9FG=HMC:$5B=HC65                                               \  




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 +M@9F+I@@C7<X)M9FGCB,B=J9FG=HM                                                    \      
 %5H5@=9*HF5HHCBX)M9FGCB,B=J9FG=HM                                              *IAA9F    
 =CB5MG<B=?IX,B=J9FG=HMC:.=B8GCF                                             *IAA9F    
 $57?9BN=997?9FX$7$5GH9F,B=J9FG=HM                                             *IAA9F    
 *?M9*H9D<9BGX)M9FGCB,B=J9FG=HM                                                    \      
 -=J=5B%M5BH5?M=X5D9@@5,B=J9FG=HM                                                    \     
 5=@9M5FHK=7?X,B=J9FG=HMC:I9@D<                                                5@@    
 +F=7=5+99:HXIA69FC@@9;9                                                      *IAA9F     
 @@=GCB)99J9GX&BH5F=C BGH=HIH9:CF*HI8=9G=B8I75H=CB ,B=J C:+CFCBHC          \       
 9@9B5=@9MX)M9FGCB,B=J9FG=HM                                                  *IAA9F    
 8B5FM99X&BH5F=C BGH=HIH9:CF*HI8=9G=B8I75H=CB ,B=J C:+CFCBHC              \      
  FMB5 J5BCJ5X&BH5F=C BGH=HIH9:CF*HI8=9G=B8I75H=CB ,B=J C:+CFCBHC           \      
 !9BB=:9F)C6=BGCBX&BH5F=C BGH=HIH9:CF*HI8=9G=B8I75H=CB ,B=J C:+CFCBHC       \      
 1CT#5?GA5BX8@9F*7<CC@C:'FC:9GG=CB5@'GM7<C@C;M                                 \      
 =5B5$5B89@9KX8@9F*7<CC@C:'FC:9GG=CB5@'GM7<C@C;M                              \      
 *IG5B.BI?X0CF?,B=J9FG=HM                                                          \      
 =H9B#58X8@9F*7<CC@C:'FC:9GG=CB5@'GM7<C@C;M                                   \      
 %5H5G<5.=@@=5AGX8@9F*7<CC@C:'FC:9GG=CB5@'GM7<C@C;M                            \      
 #=G5CID9FH<K5=H9X&BH5F=C BGH=HIH9:CF*HI8=9G=B8I75H=CB ,B=J C:+CFCBHC      \      
 #CF=F5MBQ9)C6=7<5I8X,B=J9FG=HMC:.=B8GCF                                   *IAA9F    
 *5B8F59@:FMX&BH5F=C BGH=HIH9:CF*HI8=9G=B8I75H=CB ,B=J C:+CFCBHC           \      
 @H<95$CBH9=FCX0CF?,B=J9FG=HM                                                  *IAA9F    
 *5A5BH<5KCFG?MX0CF?,B=J9FG=HM                                                       \    
 "9FFMC@@=BGX,B=J9FG=HMC:.=B8GCF                                              *IAA9F     
 !9BB=:9FC;5FHMX.5H9F@CC,B=J9FG=HM                                                   \     
 A=@MF=DDGX.5H9F@CC,B=J9FG=HM                                                 *IAA9F     
 #9997?GH958X,B=J9FG=HMC:,H5<                                                              




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 
  
      \          #C75@CGH *C7=9HM:CF*9L+<9F5DM5B8)9G95F7< 
              $9A69F BH9FB5H=CB5@*7=9BH=:=7CAA=HH99.CF@8GGC7=5H=CB:CF*9LI5@
                       95@H< 
              $9A69F'FC;F5A'@5BB=B;5B8CB:9F9B79CAA=HH99GGC7=5H=CB:CFH<9
                       +F95HA9BHC:*9LI5@6IG9FG
      \          <5=F*HI89BH)9G95F7<K5F8GCAA=HH99*C7=9HM:CF*9L+<9F5DM)9G95F7<
      \          $9A69F'FC;F5A'@5BB=B;5B8CB:9F9B79CAA=HH99GGC7=5H=CB:CFH<9
                       +F95HA9BHC:*9LI5@6IG9FG
         \        <5=F*HI89BH)9G95F7<K5F8GCAA=HH99*C7=9HM:CF*9L+<9F5DM)9G95F7<
         \         *7=9BH=:=7'FC;F5ACAA=HH99 BH9FB5H=CB5@7589AMC:*9L)9G95F7<
      \          $9A69FG<=DCAA=HH99X'=J=G=CB @=B=75@'GM7<C@C;M
      \          <5=FCAA=HH99CB*7=9B79 GGI9G'=J=G=CB
              &6G9FJ9FF5BH)9J=9KCAA=HH99X5B58=5B BGH=HIH9GC:95@H<)9G95F7<
                       9<5J=CIF5@*7=9B79G
         \        )9J=9K9FX'=J=G=CBCBJ9BH=CB'FC;F5ACAA=HH99
                )9J=9K9FX'$5@MCB *A=H<*7<C@5FG<=DCAA=HH99
         \        +5G?CF79CB+F5BG;9B89F GGI9G'=J=G=CB
     \         CBGI@H5BH'C5F8C:=F97HCFG.CF?=B;FCIDCB'GM7<C@C;M$5F?9HD@579
             *HI89BH)9DF9G9BH5H=J9X'C5F8C:'FC:9GG=CB5@::5=FGa BGH=HIH9CB
                       +9@995@H<
     \         CIB89F5B8<5=FX' '*+5G?CF79CB%9K'GM7<C@C;=GHGaCB79FBG
     \         *HI89BH)9DF9G9BH5H=J9X' ''*I6 CAA=HH99:CF5%5H=CB5@*HF5H9;M:CF
                       'F9G7F=DH=CB'F=J=@9;9G
     \         #=5=GCBX'CAA=HH99:CFH<98J5B79A9BHC:'FC:9GG=CB5@'F57H=79
     \         #=5=GCBX'C5F8C:'FC:9GG=CB5@::5=FG
     \         CIB89F5B8<5=FX' '*CAA=HH99CB#CB79FBG
 




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   
      \      $9A69FX/</27/<&3F%3A3/@16=@C;
      \'F9G9BH $9A69FX&=173BG4=@&3F'63@/>G/<2%3A3/@16
      \'F9G9BH $9A69F9@97H98X<B3@</B7=</:1/23;G=4&3F%3A3/@16
      \'F9G9BH )9G95F7<5B8@=B=75@$9A69FXAA=17/B7=<4=@B63'@3/B;3<B=4&3F0CA3@A
      \      GGC7=5H9$9A69F9@97H98X<B3@</B7=</:1/23;G=4&3F%3A3/@16
               CIB8=B;$9A69FX'*97H=CBCB*9LI5@&F=9BH5H=CB5B89B89F 89BH=HM
       \      $9A69FX/</27/<#AG16=:=571/:AA=17/B7=<'
       \      $9A69FX;3@71/<AA=17/B7=<4=@B632D/<13;3<B=4&173<13
       \      $9A69FX;3@71/<#AG16=:=571/:AA=17/B7=<'
                         '=J=G=CB @=B=75@'GM7<C@C;M
                         '=J=G=CB*C7=9HM:CFH<9'GM7<C@C;=75@*HI8MC:# GGI9G
       \      $9A69FX&=173BG4=@B63&173<B7471&BC2G=4&3FC/:7BG
     \       *HI89BH$9A69FX&=173BG4=@B63&173<B7471&BC2G=4&3FC/:7BG
     \       *HI89BH::=@=5H9X;3@71/<#AG16=:=571/:AA=17/B7=<
      \     $9A69FA9F=75B'GM7<C@C;=75@GGC7=5H=CBC:F58I5H9*HI89BHG'*




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 
 9FH=:=75H9C:)9;=GHF5H=CB%IA69F
 C@@9;9C:'GM7<C@C;=GHGC:&BH5F=C&BH5F=C5B585
 
 
 
                                    
 
      .(&5('(..18441&,$5,10)135+(!3($5/(051) (96$.%64(34
 
   18$3'$3%$3((8$3')139&(..(0&(,0(4($3&+
 9BHF9:CF88=7H=CB5B8$9BH5@95@H<#5K5B8$9BH5@95@H<'FC;F5A
 
    )#,4,5,0*(..184+,231*3$/$5$44$&+64(554(0(3$.142,5$.
 A9F=75B'GM7<C@C;=75@GGC7=5H=CB8J5B798+F5=B=B; BGH=HIH95B8% 
 
 ; 1451&513$.(4($3&+(..184+,2
 9BHF9:CF88=7H=CB5B8$9BH5@95@H<CIB85H=CB5B8&BH5F=C$=B=GHFMC:95@H<
 
 8$3')13,45,0*6,4+('1053,%65,10%:$ 56'(05
 A9F=75B'GM7<C@C;=75@GGC7=5H=CB=J=G=CB
 
  ,44(35$5,10(4($3&+3$05
 *C7=9HM:CFH<9*7=9BH=:=7*HI8MC:*9LI5@=HM
 
  ; &,.."0,7(34,5:1&513$. &+1.$34+,2
 
  8$3')136545$0',0*1053,%65,1051"0'(3*3$'6$5(!($&+,0*
 ^+C:H<9095FK5F8_:FCAH<9$7=@@'GM7<C@C;M,B89F;F58I5H9*HI89BHGGC7=5H=CB




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                                                  
                              CAD@9H9@=GH5J5=@56@9IDCBF9EI9GH 

 ($563(.(0*5+1&6/(05$3,(4
 -=795B585)9DCFHG 53=4=<A3<B !5B  
 5B58=5BFC5875GH=B;CAD5BM #32=>67:3=FGH<5B88C7IA9BH5F=9G        $5F     

 22($3$0&(4$0'05(37,(84
   $5F   66=HGCB!C<B  H=G7FI7=5@H<5H'5F@=5A9BH;9HGH<97CBJ9FG=CB H<9F5DM65BF=;<H 
        '63:=03 /7:
 !5B  &C?89<I@DJ55F8=;96IIFA5B?5BJ9FN5A9@55FJ5B?=B89FDCFBCN=B 3 =@53<
 %CJ  -=@@5;9C:H<985AB98  7<CB3ACAB@/:7/
  %CJ  O"&% [0# %CFG?B9HHCJ9F;F=D9F\!9;<5H9FA9;G9@J%CF8A5BB9B
        @5GH9FB98CJ9F;F9DGA5H9F=5@9:F5B9HH9H\C;CDD:CF8F9FDC@=H=9HH=@P;=5AB9GH=:CFG@=?9
        GCA<5A 
   &7H  *A=H<+ FCK=B;9::CFHG5F9@CC?=B;5H<CK]CF=:]$9+CCC::9B89FG75B69
        F9:CFA98 !/B7=</:#C0:71%/27=
 *9D  5F9M 'F9M=B;CB<=@8F9B+<9A9F;=B;'GM7<C@C;MC:'98CD<=@9G !3E
        ,=@9'7;3A
 DF  $5H<=9I G569@@9 #5DCIDQ9EI=5HFCI6@Q@9G+9FF9 %9IJ=9BG /'@70C<3
  $5F  'CD9F5B7=GK5BHGDGM7<C@C;=75@H9GH=B;HCDF9J9BHDFC6@9ADF=9GHG IH75B=H
        F95@@M8CH<5H'63*/A67<5B=<#=AB
  97  <=@8G9L8C@@G @@9;5@=B5B5855B88CN9BGG9=N985HH<96CF89F &BH5F=C+C85M
        K=H<)=H59@@= 
  97  9@@=) 5FF=G" CN9BGC:7<=@8G9L8C@@GG9=N986M5B58=5B6CF89F5;9BHG 
        !3EA
 DF  )C;9FGFCC? +<9CB@=B9`=B79@a7I@HIF9=GF95@\5B885B;9FCIG !3E,=@9#=AB
 DF  05B;! %IA69F7=H98=B7FMDH=75796CC?DCGHA5H7<9G@9?$=B5GG=5BaGA=@=H5FM
         *CIF79 '=@=<B=&B/@
 D ,B89FGH5B8=B;`=B79@a ')!3EA
 %CJ  5F9M +<9F5DM:CF*9LI5@$=G7CB8I7H HaG$CGH@M,BDFCJ9B !3E,=@9
        '7;3A
  %CJ  +F9ACBH= $ +<9IFF9BH 
 %CJ  <F=GH9BG9B! .<MA9BIG9A5GHIF65H=CBHC<5F5GGKCA9B !!
        <HHD KKK 7BB 7CA               <95@H< A5GHIF65H=CB G9LI5@ <5F5GGA9BH =B89L <HA@
 %CJ  %5N5FM5B .<M=GH<95@H F=;<HC6G9GG98K=H<D98CD<=@=5!3EAE339
  &7H  &I5H=? QG7CIJF9 'Q8CD<=@=99HG7=9B79 %/27=/</2/
  &7H  &I5H=? '9IH CB;IQF=F@5DQ8CD<=@=9%/27=/</2/
   *9D  IFBG +<9MCIB;D598CD<=@9GK<CG5MH<9M8CBaH56IG97<=@8F9B !3EA
  I;   BH9FJ=9K !/B7=</:#=AB%/27=*=F=IG/$5B585 
  I;  @57?K9@@+CA $5BG5MG<9K5G7IF98C:D98CD<=@=55H&HH5K57@=B=7` HaG@=?95
        K9=;<HH<5HaG699B@=:H98aIHG?9DH=7GKCFFM56CIHH<9=AD57HC:G9B8=B;D98CD<=@9G=BHC
        H<9KCF@87CBJ=B798H<9=F7IFG9<5G699BJ5BEI=G<98 !/B7=</:#=AB
 DF  15@?=B8* 'F9DG7<CC@G<=8G9L56IG9>IGH@=?9H<975H<C@=77<IF7< )
 DF  *5GHF9' 'Q8CD<=@=9IB9D5B=EI9ACF5@9>5A5=GB56C@=F5IB7F=A9 &:/B3@/<13
  96  '5M9HH9 <=@8G9L8C@@HF=5@CD9BG'5B8CF5aG6CLC:EI9GH=CBG !3EA
 %CJ  9HACF?9IJ9HH9H2^+<9IB?BCKB85F?B9GG3_ 32@3:/<2AD3<<3<
  !I@M  '598CD<=@=5*<988=B;@=;<HCBH<985F?:=9@8 '631=<=;7AB


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  !I@    96IGG7<9F9 %=9H=989F99B8=9?=B89FDCFBC?=>?H=G99BD98C:=9@9AMH<9GFCB8
         D98C:=@=9CBH?F57<H 3 =@53<
  DF  &aCBBCF) +9F9B79$5FH=B+<9+5GA5B=5B$'K<CG9A98=75H=CBHIFB98<=A
         =BHC5D598CD<=@9 '63<23>3<23<B
 $5F  =9@G?=1 `+<9ACGHJ=G79F5@@M<5H98;FCIDCB95FH<aC7IA9BH5FM9LD@CF9G<CK
         =BH9FJ9BH=CB75BGHCDD98CD<=@9G '63:=03/<2 /7:
  $5F  @A<=FGH* .<5HG<CI@8K98C56CIHD598CD<=@9G'63C/@27/<
 96  +<9A5BK<CG96F5=BHIACIF`HIFB98<=A=BHC5D598CD<=@9a '63<23>3<23<B
 %CJ  MFCB+ +<9HFIH<56CIH7<=@8G9L56IG9 'E=
  I;  +<9!5F98C;@975G9.<MK9IB89FGH5B8GC@=HH@956CIH56IG9 */A67<5B=<#=AB
  I;  @57?K9@@+ +F95HG9LC::9B89FG:CF=ADCH9B79]HC?99DH<9ACIHC:HFCI6@9
         5B58=5BDGM7<=5HF=GHG5MG !/B7=</:#=AB
 I;  $9B9B89N! %9KGCIF*=@:2&3@D713
  !I@  +<9B5HIF9C:D98CD<=@=5 %/27= 
 !I@  +<9G9L C::9B89FH9GHCK57CADIH9F=N985GG9GGA9BH75B<9@D89H9FA=B9H<9:5H9C:
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                   EXPERT REPORT OF JAMES M. CANTOR, PHD



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      https://doi.org/10.1080/0092623X.2019.1698481




      Transgender and Gender Diverse Children and Adolescents:
      Fact-Checking of AAP Policy
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      Toronto Sexuality Centre, Toronto, Canada


          ABSTRACT
          The American Academy of Pediatrics (AAP) recently published a policy
          statement: Ensuring comprehensive care and support for transgender and
          gender-diverse children and adolescents. Although almost all clinics and pro-
          fessional associations in the world use what’s called the watchful waiting
          approach to helping gender diverse (GD) children, the AAP statement
          instead rejected that consensus, endorsing gender affirmation as the only
          acceptable approach. Remarkably, not only did the AAP statement fail to
          include any of the actual outcomes literature on such cases, but it also
          misrepresented the contents of its citations, which repeatedly said the very
          opposite of what AAP attributed to them.



      The American Academy of Pediatrics (AAP) recently published a policy statement entitled,
      Ensuring comprehensive care and support for transgender and gender-diverse children and adoles-
      cents (Rafferty, AAP Committee on Psychosocial Aspects of Child and Family Health, AAP
      Committee on Adolescence, AAP Section on Lesbian, Gay, Bisexual, and Transgender Health and
      Wellness, 2018). These are children who manifest discontent with the sex they were born as and
      desire to live as the other sex (or as some alternative gender role). The policy was quite a remark-
      able document: Although almost all clinics and professional associations in the world use what’s
      called the watchful waiting approach to helping transgender and gender diverse (GD) children,
      the AAP statement rejected that consensus, endorsing only gender affirmation. That is, where the
      consensus is to delay any transitions after the onset of puberty, AAP instead rejected waiting
      before transition. With AAP taking such a dramatic departure from other professional associa-
      tions, I was immediately curious about what evidence led them to that conclusion. As I read the
      works on which they based their policy, however, I was pretty surprised—rather alarmed, actually:
      These documents simply did not say what AAP claimed they did. In fact, the references that
      AAP cited as the basis of their policy instead outright contradicted that policy, repeatedly endors-
      ing watchful waiting.
          The AAP statement was also remarkable in what it left out—namely, the actual outcomes
      research on GD children. In total, there have been 11 follow-up studies of GD children, of which
      AAP cited one (Wallien & Cohen-Kettenis, 2008), doing so without actually mentioning the out-
      come data it contained. The literature on outcomes was neither reviewed, summarized, nor sub-
      jected to meta-analysis to be considered in the aggregate—It was merely disappeared. (The list of
      all existing studies appears in the appendix.) As they make clear, every follow-up study of GD
      children, without exception, found the same thing: Over puberty, the majority of GD children
      cease to want to transition. AAP is, of course, free to establish whatever policy it likes on


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      whatever basis it likes. But any assertion that their policy is based on evidence is demonstrably
      false, as detailed below.
          AAP divided clinical approaches into three types—conversion therapy, watchful waiting,
      and gender affirmation. It rejected the first two and endorsed gender affirmation as the only
      acceptable alternative. Most readers will likely be familiar already with attempts to use conver-
      sion therapy to change sexual orientation. With regard to gender identity, AAP wrote:
          “[C]onversion” or “reparative” treatment models are used to prevent children and adolescents from
          identifying as transgender or to dissuade them from exhibiting gender-diverse expressions. … Reparative
          approaches have been proven to be not only unsuccessful38 but also deleterious and are considered outside
          the mainstream of traditional medical practice.29,39–42

      The citations were:
          38. Haldeman DC. The practice and ethics of sexual orientation conversion therapy. J Consult Clin Psychol.
              1994;62(2):221–227.
          29. Adelson SL; American Academy of Child and Adolescent Psychiatry (AACAP) Committee on Quality
              Issues (CQI). Practice parameter on gay, lesbian, or bisexual sexual orientation, gender nonconformity,
              and gender discordance in children and adolescents. J Am Acad Child Adolesc Psychiatry.
              2012;51(9):957–974.
          39. Byne W. Regulations restrict practice of conversion therapy. LGBT Health. 2016;3(2):97–99.
          40. Cohen-Kettenis PT, Delemarrevan de Waal HA, Gooren LJ. The treatment of adolescent transsexuals:
              changing insights. J Sex Med. 2008;5(8):1892–1897.
          41. Bryant K. Making gender identity disorder of childhood: historical lessons for contemporary debates.
              Sex Res Soc Policy. 2006;3(3):23–39.
          42. World Professional Association for Transgender Health. WPATH De-Psychopathologisation Statement.
              Minneapolis, MN: World Professional Association for Transgender Health; 2010.

          AAP’s claims struck me as odd because there are no studies of conversion therapy for gender
      identity. Studies of conversion therapy have been limited to sexual orientation, and, moreover, to
      the sexual orientation of adults, not to gender identity and not of children in any case. The article
      AAP cited to support their claim (reference number 38) is indeed a classic and well-known
      review, but it is a review of sexual orientation research only. Neither gender identity, nor even
      children, received a single mention in it. Indeed, the narrower scope of that article should be
      clear to anyone reading even just its title: “The practice and ethics of sexual orientation conver-
      sion therapy” [italics added].
          AAP continued, saying that conversion approaches for GD children have already been rejected
      by medical consensus, citing five sources. This claim struck me as just as odd, however—I
      recalled associations banning conversion therapy for sexual orientation, but not for gender iden-
      tity, exactly because there is no evidence for generalizing from adult sexual orientation to child-
      hood gender identity. So, I started checking AAP’s citations for that, and these sources too
      pertained only to sexual orientation, not gender identity (specifics below). What AAP’s sources
      did repeatedly emphasize was that:

          A.    Sexual orientation of adults is unaffected by conversion therapy and any other [known]
                intervention;
          B.    Gender dysphoria in childhood before puberty desists in the majority of cases, becoming
                (cis-gendered) homosexuality in adulthood, again regardless of any [known] intervention; and
          C.    Gender dysphoria in childhood persisting after puberty tends to persist entirely.

         That is, in the context of GD children, it simply makes no sense to refer to externally induced
      “conversion”: The majority of children “convert” to cisgender or “desist” from transgender
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      regardless of any attempt to change them. “Conversion” only makes sense with regard to adult
      sexual orientation because (unlike childhood gender identity), adult homosexuality never or
      nearly never spontaneously changes to heterosexuality. Although gender identity and sexual
      orientation may often be analogous and discussed together with regard to social or political val-
      ues and to civil rights, they are nonetheless distinct—with distinct origins, needs, and responses
      to medical and mental health care choices. Although AAP emphasized to the reader that “gender
      identity is not synonymous with ‘sexual orientation’” (Rafferty et al., 2018, p. 3), they went ahead
      to treat them as such nonetheless.
          To return to checking AAP’s fidelity to its sources: Reference 29 was a practice guideline
      from the Committee on Quality Issues of the American Academy of Child and Adolescent
      Psychiatry (AACAP). Despite AAP applying this source to gender identity, AACAP was quite
      unambiguous regarding their intent to speak to sexual orientation and only to sexual orienta-
      tion: “Principle 6. Clinicians should be aware that there is no evidence that sexual orientation
      can be altered through therapy, and that attempts to do so may be harmful. There is no estab-
      lished evidence that change in a predominant, enduring homosexual pattern of development is
      possible. Although sexual fantasies can, to some degree, be suppressed or repressed by those
      who are ashamed of or in conflict about them, sexual desire is not a choice. However, behav-
      ior, social role, and—to a degree—identity and self-acceptance are. Although operant condi-
      tioning modifies sexual fetishes, it does not alter homosexuality. Psychiatric efforts to alter
      sexual orientation through ‘reparative therapy’ in adults have found little or no change in sex-
      ual orientation, while causing significant risk of harm to self-esteem” (AACAP, 2012, p. 967,
      italics added).
          Whereas AAP cites AACAP to support gender affirmation as the only alternative for treat-
      ing GD children, AACAP’s actual view was decidedly neutral, noting the lack of evidence:
      “Given the lack of empirical evidence from randomized, controlled trials of the efficacy of
      treatment aimed at eliminating gender discordance, the potential risks of treatment, and longi-
      tudinal evidence that gender discordance persists in only a small minority of untreated cases
      arising in childhood, further research is needed on predictors of persistence and desistence of
      childhood gender discordance as well as the long-term risks and benefits of intervention before
      any treatment to eliminate gender discordance can be endorsed” (AACAP, 2012, p. 969).
      Moreover, whereas AAP rejected watchful waiting, what AACAP recommended was: “In gen-
      eral, it is desirable to help adolescents who may be experiencing gender distress and dysphoria
      to defer sex reassignment until adulthood” (AACAP, 2012, p. 969). So, not only did AAP attri-
      bute to AACAP something AACAP never said, but also AAP withheld from readers AACAP’s
      actual view.
          Next, in reference 39, Byne (2016) also addressed only sexual orientation, doing so very clearly:
      “Reparative therapy is a subset of conversion therapies based on the premise that same-sex attrac-
      tion are reparations for childhood trauma. Thus, practitioners of reparative therapy believe that
      exploring, isolating, and repairing these childhood emotional wounds will often result in reducing
      same-sex attractions” (Byne, 2016, p. 97). Byne does not say this of gender identity, as the AAP
      statement misrepresents.
          In AAP reference 40, Cohen-Kettenis et al. (2008) did finally pertain to gender identity; how-
      ever, this article never mentions conversion therapy. (!) Rather, in this study, the authors pre-
      sented that clinic’s lowering of their minimum age for cross-sex hormone treatment from age 18
      to 16, which they did on the basis of a series of studies showing the high rates of success with
      this age group. Although it did strike me as odd that AAP picked as support against conversion
      therapy an article that did not mention conversion therapy, I could imagine AAP cited the article
      as an example of what the “mainstream of traditional medical practice” consists of (the logic
      being that conversion therapy falls outside what an ‘ideal’ clinic like this one provides). However,
      what this clinic provides is the very watchful waiting approach that AAP rejected. The approach
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      espoused by Cohen-Kettenis (and the other clinics mentioned in the source—Gent, Boston, Oslo,
      and now formerly, Toronto) is to make puberty-halting interventions available at age 12 because:
      “[P]ubertal suppression may give adolescents, together with the attending health professional,
      more time to explore their gender identity, without the distress of the developing secondary sex
      characteristics. The precision of the diagnosis may thus be improved” (Cohen-Kettenis et al.,
      2008, p. 1894).
         Reference 41 presented a very interesting history spanning the 1960s–1990s about how
      feminine boys and tomboyish girls came to be recognized as mostly pre-homosexual, and
      how that status came to be entered into the DSM at the same time as homosexuality was
      being removed from the DSM. Conversion therapy is never mentioned. Indeed, to the extent
      that Bryant mentions treatment at all, it is to say that treatment is entirely irrelevant to his
      analysis: “An important omission from the DSM is a discussion of the kinds of treatment
      that GIDC children should receive. (This omission is a general orientation of the DSM and
      not unique to GIDC)” (Bryant, 2006, p. 35). How this article supports AAP’s claim is a mys-
      tery. Moreover, how AAP could cite a 2006 history discussing events of the 1990s and earlier
      to support a claim about the current consensus in this quickly evolving discussion remains all
      the more unfathomable.
         Cited last in this section was a one-paragraph press release from the World Professional
      Association for Transgender Health. Written during the early stages of the American Psychiatric
      Association’s (APA’s) update of the DSM, the statement asserted simply that “The WPATH
      Board of Directors strongly urges the de-psychopathologisation of gender variance worldwide.”
      Very reasonable debate can (and should) be had regarding whether gender dysphoria should be
      removed from the DSM as homosexuality was, and WPATH was well within its purview to assert
      that it should. Now that the DSM revision process is years completed however, history has seen
      that APA ultimately retained the diagnostic categories, rejecting WPATH’s urging. This makes
      AAP’s logic entirely backwards: That WPATH’s request to depathologize gender dysphoria was
      rejected suggests that it is WPATH’s view—and therefore the AAP policy—which fall “outside the
      mainstream of traditional medical practice.” (!)
         AAP based this entire line of reasoning on their belief that conversion therapy is being used
      “to prevent children and adolescents from identifying as transgender” (Rafferty et al., 2018, p. 4).
      That claim is left without citation or support. In contrast, what is said by AAP’s sources is
      “delaying affirmation should not be construed as conversion therapy or an attempt to change
      gender identity” in the first place (Byne, 2016, p. 2). Nonetheless, AAP seems to be doing exactly
      that: simply relabeling any alternative approach as equivalent to conversion therapy.
         Although AAP (and anyone else) may reject (what they label to be) conversion therapy purely
      on the basis of political or personal values, there is no evidence to back the AAP’s stated claim
      about the existing science on gender identity at all, never mind gender identity of children.
         AAP also dismissed the watchful waiting approach out of hand, not citing any evidence, but
      repeatedly calling it “outdated.” The criticisms AAP provided, however, again defied the existing
      evidence, with even its own sources repeatedly calling watchful waiting the current standard.
      According to AAP:
          [G]ender affirmation is in contrast to the outdated approach in which a child’s gender-diverse assertions are
          held as “possibly true” until an arbitrary age (often after pubertal onset) when they can be considered valid,
          an approach that authors of the literature have termed “watchful waiting.” This outdated approach does not
          serve the child because critical support is withheld. Watchful waiting is based on binary notions of gender
          in which gender diversity and fluidity is pathologized; in watchful waiting, it is also assumed that notions of
          gender identity become fixed at a certain age. The approach is also influenced by a group of early studies
          with validity concerns, methodologic flaws, and limited follow-up on children who identified as TGD and,
          by adolescence, did not seek further treatment (“desisters”).45,47

      The citations from AAP’s reference list are:
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         45. Ehrensaft D, Giammattei SV, Storck K, Tishelman AC, Keo-Meier C. Prepubertal social gender
             transitions: what we know; what we can learn—a view from a gender affirmative lens. Int J Transgend.
             2018;19(2):251–268
         47. Olson KR. Prepubescent transgender children: what we do and do not know. J Am Acad Child Adolesc
             Psychiatry. 2016;55(3):155–156.e3

          I was surprised first by the AAP’s claim that watchful waiting’s delay to puberty was somehow
      “arbitrary.” The literature, including AAP’s sources, repeatedly indicated the pivotal importance
      of puberty, noting that outcomes strongly diverge at that point. According to AAP reference 29,
      in “prepubertal boys with gender discordance—including many without any mental health treat-
      ment—the cross gender wishes usually fade over time and do not persist into adulthood, with
      only 2.2% to 11.9% continuing to experience gender discordance” (Adelson & AACAP, 2012, p.
      963, italics added), whereas “when gender variance with the desire to be the other sex is present
      in adolescence, this desire usually does persist through adulthood” (Adelson & AACAP, 2012, p.
      964, italics added). Similarly, according to AAP reference 40, “Symptoms of GID at prepubertal
      ages decrease or even disappear in a considerable percentage of children (estimates range from
      80–95%). Therefore, any intervention in childhood would seem premature and inappropriate.
      However, GID persisting into early puberty appears to be highly persistent” (Cohen-Kettenis
      et al., 2008, p. 1895, italics added). That follow-up studies of prepubertal transition differ from
      postpubertal transition is the very meaning of non-arbitrary. AAP gave readers exactly the reverse
      of what was contained in its own sources. If AAP were correct in saying that puberty is an arbi-
      trarily selected age, then AAP will be able to offer another point to wait for with as much empir-
      ical backing as puberty has.
          Next, it was not clear on what basis AAP could say that watchful waiting withholds support—
      AAP cited no support for its claim. The people in such programs often receive substantial sup-
      port during this period. Also unclear is on what basis AAP could already know exactly which
      treatments are “critical” and which are not—Answering that question is the very purpose of this
      entire endeavor. Indeed, the logic of AAP’s claim appears entirely circular: It is only if one were
      already pre-convinced that gender affirmation is the only acceptable alternative that would make
      watchful waiting seem to withhold critical support—What it delays is gender affirmation, the
      method one has already decided to be critical.
          Although AAP’s next claim did not have a citation appearing at the end of its sentence, binary
      notions of gender were mentioned both in references 45 and 47. Specifically, both pointed out
      that existing outcome studies have been about people transitioning from one sex to the other,
      rather than from one sex to an in-between status or a combination of masculine/feminine fea-
      tures. Neither reference presented this as a reason to reject the results from the existing studies of
      complete transition however (which is how AAP cast it). Although it is indeed true that the out-
      come data have been about complete transition, some future study showing that partial transition
      shows a different outcome would not invalidate what is known about complete transition.
      Indeed, data showing that partial transition gives better outcomes than complete transition would,
      once again, support the watchful waiting approach which AAP rejected.
          Next was a vague reference alleging concerns and criticisms about early studies. Had AAP
      indicated what those alleged concerns and flaws were (or which studies they were), then it would
      be possible to evaluate or address them. Nonetheless, the argument is a red herring: Because all
      of the later studies showed the same result as did the early studies, any such allegation is neces-
      sarily moot.
          Reference 47 was a one-and-a-half page commentary in which the author off-handedly men-
      tions criticisms previously made of three of the eleven outcome studies of GD children, but does
      not provide any analysis or discussion. The only specific claim was that studies (whether early or
      late) had limited follow-up periods—the logic being that had outcome researchers lengthened the
      follow-up period, then people who seemed to have desisted might have returned to the clinic as
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      cases of “persistence-after-interruption.” Although one could debate the merits of that prediction,
      AAP instead simply withheld from the reader the result from the original researchers having
      tested that very prediction directly: Steensma and Cohen-Kettenis (2015) conducted another ana-
      lysis of their cohort, by then ages 19–28 (mean age 25.9 years), and found that 3.3% (5 people of
      the sample of 150) later returned. That is, in long-term follow-up, the childhood sample showed
      66.7% desistence instead of 70.0% desistance.
          Reference 45 did not support the claim that watchful-waiting is “outdated” either. Indeed,
      that source said the very opposite, explicitly referring to watchful waiting as the current
      approach: “Put another way, if clinicians are straying from SOC 7 guidelines for social transi-
      tions, not abiding by the watchful waiting model favored by the standards, we will have adoles-
      cents who have been consistently living in their affirmed gender since age 3, 4, or 5” (Ehrensaft
      et al., 2018, p. 255). Moreover, Ehrensaft et al. said there are cases in which they too would still
      use watchful waiting: “When a child’s gender identity is unclear, the watchful waiting approach
      can give the child and their family time to develop a clearer understanding and is not necessar-
      ily in contrast to the needs of the child” (p. 259). Ehrensaft et al. are indeed critical of the
      watchful waiting model (which they feel is applied too conservatively), but they do not come
      close to the position the AAP policy espouses. Where Ehrensaft summaries the potential bene-
      fits and potential risks both to transitioning and not transitioning, the AAP presents an ironic-
      ally binary narrative.
          In its policy statement, AAP told neither the truth nor the whole truth, committing sins both
      of commission and of omission, asserting claims easily falsified by anyone caring to do any fact-
      checking at all. AAP claimed, “This policy statement is focused specifically on children and youth
      that identify as TGD rather than the larger LGBTQ population”; however, much of that evidence
      was about sexual orientation, not gender identity. AAP claimed, “Current available research and
      expert opinion from clinical and research leaders … will serve as the basis for recommendations”
      (pp. 1–2); however, they provided recommendations entirely unsupported and even in direct
      opposition to that research and opinion.
          AAP is advocating for something far in excess of mainstream practice and medical consensus.
      In the presence of compelling evidence, that is just what is called for. The problems with
      Rafferty, however, do not constitute merely a misquote, a misinterpretation of an ambiguous
      statement, or a missing reference or two. Rather, AAP’s statement is a systematic exclusion and
      misrepresentation of entire literatures. Not only did AAP fail to provide compelling evidence, it
      failed to provide the evidence at all. Indeed, AAP’s recommendations are despite the exist-
      ing evidence.


      Disclosure statement
      No potential conflict of interest was reported by the author.


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      Steensma, T. D., & Cohen-Kettenis, P. T. (2015). More than two developmental pathways in children with gender
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      Appendix



      Count             Group                                                            Study
         2/16    gay                   Lebovitz, P. S. (1972). Feminine behavior in boys: Aspects of its outcome.
         4/16    trans-/crossdress        American Journal of Psychiatry, 128, 1283–1289.
        10/16    straight/uncertain
         2/16    trans-                 Zuger, B. (1978). Effeminate behavior present in boys from childhood:
         2/16    uncertain                Ten additional years of follow-up. Comprehensive Psychiatry, 19, 363–369.
        12/16    gay
           0/9   trans-                 Money, J., & Russo, A. J. (1979). Homosexual outcome of discordant
           9/9   gay                      gender identity/role: Longitudinal follow-up. Journal of Pediatric Psychology, 4, 29–41.
         2/45    trans-/crossdress      Zuger, B. (1984). Early effeminate behavior in boys: Outcome and
        10/45    uncertain                significance for homosexuality. Journal of Nervous and Mental Disease, 172, 90–97.
        33/45    gay
         1/10    trans-                 Davenport, C. W. (1986). A follow-up study of 10 feminine boys. Archives of
         2/10    gay                      Sexual Behavior, 15, 511–517.
         3/10    uncertain
         4/10    straight
         1/44    trans-                 Green, R. (1987). The "sissy boy syndrome" and the development of homosexuality.
        43/44    cis-                      New Haven, CT: Yale University Press.
           0/8   trans-                 Kosky, R. J. (1987). Gender-disordered children: Does inpatient treatment help?
           8/8   cis-                     Medical Journal of Australia, 146, 565–569.
        21/54    trans-                 Wallien, M. S. C., & Cohen-Kettenis, P. T. (2008). Psychosexual outcome of gender-dysphoric
        33/54    cis-                     children. Journal of the American Academy of Child and Adolescent Psychiatry, 47,
                                          1413–1423.
         3/25    trans-                 Drummond, K. D., Bradley, S. J., Badali-Peterson, M., & Zucker, K. J. (2008). A follow-up study
         6/25    lesbian/bi-              of girls with gender identity disorder. Developmental Psychology, 44, 34–45.
        16/25    straight
       17/139    trans-                 Singh, D. (2012). A follow-up study of boys with gender identity disorder. Unpublished doctoral
      122/139    cis-                      dissertation, University of Toronto.
       47/127    trans-                 Steensma, T. D., McGuire, J. K., Kreukels, B. P. C., Beekman, A. J., & Cohen-Kettenis, P. T. (2013).
       80/127    cis-                      Factors associated with desistence and persistence of childhood gender dysphoria:
                                           A quantitative follow-up study. Journal of the American Academy of Child and Adolescent
                                           Psychiatry, 52, 582–590.
      For brevity, the list uses “gay” for “gay and cis-”, “straight” for “straight and cis-”, etc.
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                                               IURP6WHSWRH -RKQVRQUHSUHVHQWLQJWKH'HIHQGDQWV
    06%85.'2//0\QDPHLV'DQD%XUNGROO                 +DUULVRQ&RXQW\%RDUGRI(GXFDWLRQDQG6XSHULQWHQGHQW
    &651RWDU\IRUWKH6WDWHRI.DQVDV                                    'RUD6WXWOHU
    $77251(<75<21:HPLJKWZDQWWRJRRII                 $77251(<*5((17KLVLV5REHUWD*UHHQ
    WKHUHFRUG                                                             KHUHRQEHKDOIRI:HVW9LUJLQLD6HFRQGDU\6FKRRO
    9,'(2*5$3+(5*RLQJRIIWKHUHFRUG                     $FWLYLWLHV&RPPLVVLRQ
    &XUUHQWWLPHUHDGVDP                                           9,'(2*5$3+(5$QGLIWKDWLVHYHU\RQHZH
    2))9,'(27$3(                                                           FDQEHJLQ
                                              $77251(<75<21,V.HOO\RQWKHOLQH"
     :+(5(8321$12))5(&25'',6&866,21:$6+(/'                          'LG,PLVVWKDW"


                                                                 3DJH                                                     3DJH
                                                $77251(<*5((1$FWXDOO\,MXVWJRWD
       219,'(27$3(                                                           WH[WIURP.HOO\WKDWVKHFDQ WORFDWHWKHOLQN
       9,'(2*5$3+(5:HDUHQRZEDFNRQWKH                   $77251(<9(52))/HW VJRRIIWKHUHFRUG
       UHFRUGP\QDPHLV-DFRE6WRFN, PD&HUWLILHG/HJDO                  ZKLOHZHUHDFKRXWWRKHU
       9LGHR6SHFLDOLVWHPSOR\HGE\6DUJHQW V&RXUW5HSRUWLQJ                 9,'(2*5$3+(5*RLQJRIIWKHUHFRUG7KH
       6HUYLFHV7KHGDWHWRGD\LV0DUFKWK7KH                    WLPHUHDGVDP
       FXUUHQWWLPHUHDGVDP(DVWHUQ6WDQGDUG7LPH                  2))9,'(27$3(
       7KLVGHSRVLWLRQLVEHLQJWDNHQUHPRWHO\E\D=RRP                      
       FRQIHUHQFH7KHFDSWLRQRIWKLVFDVHLVLQWKH8QLWHG                  :+(5(8321$6+257%5($.:$67$.(1
      6WDWHV'LVWULFW&RXUWIRUWKH6RXWKHUQ'LVWULFWRI:HVW               
      9LUJLQLD&KDUOHVWRQ'LYLVLRQ%3-HWDOYHUVXVWKH                219,'(27$3(
      :HVW9LUJLQLD%RDUGRI(GXFDWLRQHWDO&LYLO$FWLRQ                9,'(2*5$3+(5:HDUHEDFNRQWKHUHFRUG
      1XPEHU&97KHQDPHRIWKHZLWQHVVLV0DU\                7KHFXUUHQWWLPHUHDGV(DVWHUQ6WDQGDUG7LPH
      )U\ZKRKDVDOUHDG\EHHQVZRUQLQ:LOOWKHDWWRUQH\V               $77251(<025*$17KLVLV.HOO\0RUJDQRQ
      SUHVHQWVWDWHWKHLUQDPHVDQGWKHSDUWLHVWKH\                        EHKDOIRIWKH:HVW9LUJLQLD%RDUGRI(GXFDWLRQDQG
      UHSUHVHQW"                                                            6XSHULQWHQGDQW%XUFK
      $77251(<75<217KLVLV'DYLG7U\RQ                   $77251(<75<212ND\
      UHSUHVHQWLQJWKH6WDWHRI:HVW9LUJLQLDDQG, PZLWKWKH              7KHQ,WKLQNZHZLOOPRYHIRUZDUGQRZ
      $WWRUQH\*HQHUDO V2IILFH                                            6RSULRUWRJRLQJRQWKHUHFRUGZHZRXOGOLPLW
      $77251(<9(52))-XOLH9HURIIZLWK                    REMHFWLRQVWRREMHFWLRQWRSULYLOHJHREMHFWLRQVWR
      &RROH\//3,UHSUHVHQWWKH3ODLQWLII$QG, OOOHW                VFRSHDQGREMHFWLRQVWRIRUPZKLFKZRXOGLQFOXGHDOO
      P\FRFRXQVHOLQWURGXFHWKHPVHOYHV                                   RWKHUREMHFWLRQVDQGWKDWLVZKHQZHVD\REMHFWLRQ
      $77251(<+$571(77+L7KLVLV.DWKOHHQ              ZH OOSUHVHUYHWKRVHREMHFWLRQV,VWKDWDFFHSWDEOHWR
      +DUWQHWWIURP&RROH\, PLQWKHURRPZLWK-XOLH                    \RX-XOLH"


                                                                                                      3DJHVWR
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                                                    3DJH                                                          3DJH
      $77251(<9(52))<HVWKDQN\RXVRPXFK       $6RXQGVJRRG
      $77251(<75<21'RHVDQ\ERG\HOVHKDYH         4$QGLI\RXDQVZHU, OOKDYHWRDVVXPHWKDW\RX
      DQ\REMHFWLRQWRGRLQJLWWKDWZD\"2ND\7KHQOHW V         XQGHUVWRRGWKHTXHVWLRQ'R\RXXQGHUVWDQGWKDW"
      PRYHIRUZDUG                                                  $<HV
                                       4$QGDVZHVWDWHGRIIWKHUHFRUGLI\RXQHHGD
      (;$0,1$7,21                             EUHDNDWDQ\WLPHOHWXVNQRZ:HZLOOEUHDNIRU\RX
                                       DQGWKHRQO\FDYHDWRQWKDWLVRQFH,DVNDTXHVWLRQ\RX
      %<$77251(<75<21                                             KDYHWRZDLWXQWLO\RXILQLVK\RXUDQVZHUEHIRUHZHFDQ
      4+HOOR3URIHVVRU)U\+RZDUH\RX"                   WDNHDEUHDN
     $'RLQJZHOO7KDQN\RX                              $OOULJKW"
     4'R\RXSUHIHUFDOOLQJ\RX3URIHVVRU*UHHQ        $2ND\7KDQN\RX
     H[FXVHPH3URIHVVRU)U\"'RHVWKDWZRUN"                     4'R\RXKDYHDQ\TXHVWLRQVDERXWWKLVSURFHHGLQJ
     $6XUH                                                EHIRUHZHJHWVWDUWHG"
     42ND\                                                $1R
     &DQ\RXVWDWH\RXUIXOOQDPHIRUWKHUHFRUG          42ND\
     SOHDVH"                                                       :HOOMXVWIRUWKHUHFRUGWKLVGHSRVLWLRQLV
     $0DU\'LDQH)U\                                      EHLQJFRQGXFWHGDVRQ&URVV([DPLQDWLRQ$QG3URIHVVRU
     4$UH\RXUHSUHVHQWHGE\FRXQVHOWKLVPRUQLQJ"         )U\GLG\RXEULQJDQ\GRFXPHQWVWRWKHGHSRVLWLRQ
     $<HV                                                 WRGD\"
     4$QGZKRLV\RXUSULPDULO\UHSUHVHQWLQJ\RX       $<HV
     WRGD\"                                                        4:KDWGLG\RXEULQJ"
     $-XOLH-XOLH9HURII                                 $,KDYHEHIRUHPHP\'HFODUDWLRQWKH+RXVH%LOO
     4*UHDW$QGKDYH\RXEHHQGHSRVHGEHIRUH"            P\H[SHUWUHSRUWDQGP\9LWDH
     $,KDYHQRW                                          4$QGZKHQ\RXWDONPHQWLRQ\RXU'HFODUDWLRQ


                                                    3DJH                                                          3DJH
      4+DYH\RXWHVWLILHGLQFRXUWEHIRUH"                   LVWKLVWKHILUVWRQHWKDWZDVILOHGLQWKHFDVH",V
      $2QHWLPH                                             WKDWZKDW\RXPHDQ"
      47HOOPHDERXWWKDW                                   $<HV
      $<HDUVDJRP\KXVEDQGDQG,UHWXUQHGIURPRXU          4,VWKHUHDQ\RQHHOVHLQWKHURRPZLWK\RXDW
      KRQH\PRRQDQGZHIRXQGRXWZHKDGEHHQUREEHG$QGD          WKLVSRLQW"
      QHLJKERUKDGVHHQWKUHHJX\VFUDZOLQJRXWRIRXUEHGURRP       $1R
      ZLQGRZDQGVR,DSSHDUHGLQFRXUWWRVKDUHZKDWZDV           4:KDWGRFXPHQWVGLG\RXUHYLHZLQSUHSDUDWLRQIRU
      PLVVLQJZKHQZHUHWXUQHG                                      \RXUGHSRVLWLRQWRGD\"
      4:HOO, PVRUU\7KDWGRHVQ WVRXQGOLNHD           $,UHYLHZHGP\VWDWHPHQWDQGP\9LWDHDQGVRPHRI
     JUHDWZD\WRHQGDKRQH\PRRQ6RDQ\RWKHUWLPHV\RX         WKH&RXUWGRFXPHQWVWKH&RPSODLQWDQGDFXUVRU\UHYLHZ
     WHVWLILHGDWWULDO"                                           RIVRPHRIWKHRWKHUVWDWHPHQWV,UHYLHZHGWKH
     $1R                                                  3ODLQWLII VVWDWHPHQWDQGKHUPRWKHU VVWDWHPHQW
     4$QGZKHQZH UHVSHDNLQJ\RXNQRZVLQFHZH UH       4$Q\RWKHU&RXUWGRFXPHQWVEHVLGHVWKH&RPSODLQW
     LQDGHSRVLWLRQWKLVLVDFRPPXQLFDWLRQSULYLOHJH            DQGWKHVWDWHPHQWZLWKWKH3ODLQWLIIDQGWKHPRWKHU"
     XQOLNHDQ\RWKHUEXWRQHRIWKHWKLQJVWKDWZHQHHGWR       $$FXUVRU\UHYLHZRIRWKHUH[SHUWZLWQHVVHVDQG
     PDNHWRPDNHLWHDVLHUIRUWKHFRXUWUHSRUWHUWR              \HDKDQ\RIWKHFDVHGRFXPHQWVDFXUVRU\UHYLHZ
     XQGHUVWDQGZKDWZH UHGRLQJ6RZKHQ,DVN\RXD             4:KLFKH[SHUWUHSRUWVGLG\RXORRNDW"
     TXHVWLRQSOHDVHPDNHVXUH\RXDQVZHUYHUEDOO\DVRSSRVHG      $,FRXOGQ WFDOOWKHPDOOE\QDPHEXWWKHH[SHUW
     WRMXVWQRGGLQJ\RXUKHDG                                    ZLWQHVVHVWKDWDUHPHGLFDOH[SHUWV
     2ND\"                                                47KH3ODLQWLII VH[SHUWVRU'HIHQGDQWV RUERWK"
     $2ND\                                                $%RWK
     4,I\RXGRQ WXQGHUVWDQGDTXHVWLRQWKDW,DVN        46RWKHUHLVDWRWDORIQRZLQFOXGLQJ\RXUV
     \RXWHOOPHDQG, OOWU\DQGUHSKUDVH                       HLJKWH[SHUWUHSRUWV+DYH\RXVHHQDOORIWKRVH"
     $OOULJKW"                                           $<RXNQRZ, PQRWSRVLWLYH7KHUHZDVDUHSRUW


                                                                                              3DJHVWR
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                                                     3DJH                                                         3DJH
      IURPWZRRQHDFKVLGHDQGWKHQDUHVSRQVHDQGVR,         ILOHGWKHODZVXLW"
      DQGDJDLQ,GLGQ WUHDGWKHVHLQGHWDLOEXW,GLGKDYH         $<RXNQRZLW VKDUGWRUHFDOO7KHUH VTXLWHD
      DORRNDWWKHP                                                 ELWRIZDWHUXQGHUWKHEULGJH,NQRZQRZWKDWVKH
      42ND\                                                  ZDQWHGWRGRFKHHUOHDGLQJDQGUXQWUDFNDQG, PQRW
      :DVWKHUHDQ\WKLQJLQSDUWLFXODUWKDW\RXZHUH         VXUH,FRXOGWHOO\RXWKHH[DFWGDWH,NQHZHLWKHURQH
      ORRNLQJIRUZKHQ\RXORRNHGWKURXJKWKRVHH[SHUW                RIWKRVH
      UHSRUWV"                                                        42ND\
      $1RMXVWWU\LQJWRJHWDVHQVHRIWKHFDVH,         /HWPHUHSKUDVHP\TXHVWLRQEHFDXVH, PQRW
      NHSWDIRFXVRQP\SXUSRVHKHUHWRGD\                          DVNLQJZKDWWKHGDWHZDV, PDVNLQJLI\RXQRZNQRZ
     4$QGVRDUH\RXDZDUHRIWKLVFDVH"'R\RXNQRZ       ZKDWDWWKLVWLPHZKDWVSRUW%3-SDUWLFLSDWHGLQ"
     ZKR%3-LV"                                                    $<HV
     $<HV                                                  4$QGZKLFKRQH"
     4$QGZKRLV%3-"                                       $6KHSDUWLFLSDWHGLQFKHHUOHDGLQJDQGQRZWUDFN
     $6KHLVD\RXQJDWKOHWHLQ:HVW9LUJLQLDZKRLVD      4$QGVRLWZDVFURVVFRXQWU\LVWKDWWKHVDPH
     WUDQVDWKOHWHDQGZDQWHGWRSOD\VSRUWVLQKHUVFKRRO          WKLQJDVWUDFN"
     4$QG\RXXQGHUVWDQG%3-LVWKH3ODLQWLII              $6RUU\FURVVFRXQWU\,W VDGLIIHUHQWVHDVRQ
     ,VWKDWULJKW"                                        FURVVFRXQWU\
     $<HV                                                  4,VWKDWSDUWRIWUDFNDQGILHOGRULVLW
     4'R\RXNQRZZKR+HDWKHU-DFNVRQLV"                   GLIIHUHQW"
     $+HUPRWKHU                                           $,W VDGLIIHUHQWVHDVRQ\HDK,PHDQ
     4+DYH\RXHYHUVSRNHQWRHLWKHURQHRIWKHP"           XVXDOO\LW VJURXSHGWRJHWKHUWUDFNDQGFURVVFRXQWU\
     $,KDYHQRW                                           EXW,VKRXOGKDYHVDLGFURVVFRXQWU\7KDWLVZKDW,
     46R,SUHVXPHE\WKHVDPHUDWLRQDOH\RXKDYHQRW       PHDQW
     PHWHLWKHURQHRIWKHPHLWKHU                                 42ND\


                                                     3DJH                                                         3DJH
      &RUUHFW"                                               $WWKHWLPHWKDW\RXZHUHUHWDLQHGKDG\RX
      $,KDYHQRW                                            DOUHDG\SUHSDUHGDQ\UHSRUWVLPLODUWRZKDWZDV
      4:KHQGLG\RXILUVWKHDUDERXW%3-"                     XOWLPDWHO\ILOHGLQWKLVFDVHRQ\RXUEHKDOI"
      $$ERXWD\HDUDJR,ZDVFRQWDFWHGE\3ODLQWLII V        $<HV
      &RXQVHOLQODWH$SULO                                          46RWHOOPHDERXWWKDW
      4$QGRIFRXUVHGRQ WWHOOPHDQ\WKLQJWKDW\RXU        $2ND\
      FRXQVHODQ\GLVFXVVLRQV\RXKDGDIWHU\RXZHUH              46ROHWPHPDNHVXUHZHDUHFRPPXQLFDWLQJ6R
      UHWDLQHGE\FRXQVHOEXWSULRUWREHLQJUHWDLQHGE\             EHIRUH\RXZHUHFRQWDFWHGE\FRXQVHOIRU%3-KDG\RX
      FRXQVHOZHOOOHWPHEDFNXS                               DOUHDG\SUHSDUHGVRPHWKLQJWKDWZKDWZDVILOHGDV\RXU
     $WRQHSRLQW\RXZHUHUHWDLQHGE\FRXQVHOWREH       'HFODUDWLRQ"
     DQH[SHUWLQWKLVFDVH                                        $<HV
     5LJKW"                                                42ND\
     $5LJKW                                                7HOOPHDERXWWKDW
     4:KHQZDVWKDW"                                        $2ND\
     $/DWH$SULOHDUO\0D\,EHOLHYH                     ,QWKHVSULQJRI,ZDVFRQWDFWHGWRVHHLI
     4$QGZKDWZHUH\RXILUVWWROGDERXWWKHFDVH           ,ZRXOGEHZLOOLQJWREHDQH[SHUWZLWQHVVILUVWLQWKH
     EHIRUH\RXZHUHUHWDLQHG"                                      &RQQHFWLFXWFDVHWUDQVDWKOHWHFDVHDQGWKHQLQ,GDKR
     $7KDWWKLVFDVHLQYROYHGD\RXQJDWKOHWHZKRZDV       $QGWKRVHVRUWRIRYHUODSSHGLQWKHVSULQJRID
     KHDGHGWR0LGGOH6FKRRODQGUHDOO\ZDQWHGWREHDEOHWR        OLWWOHELWEXW, YHEHHQLQYROYHGLQSURYLGLQJH[SHUW
     SOD\VSRUWV                                                   UHSRUWVIRUERWKRIWKRVH
     4:HUH\RXWROGZKLFKVSRUW"                            42ND\
     $,WKLQNVRDWWKHWLPH                               6R\RXGLGVHUYHDVDQH[SHUWZLWQHVVLQWKH
     46RDWWKLVSRLQWLQWLPHGR\RXNQRZZKLFK            &RQQHFWLFXWFDVH
     VSRUWV%3-ZDQWHGWRSDUWLFLSDWHLQDWWKHWLPHWKDW%3-       ,VWKDWULJKW"


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                                                    3DJH                                                                 3DJH
      $<HV                                                  $<HV
      4:DVVRPHWKLQJWKDW\RXSUHSDUHGILOHGLQWKH          $77251(<75<21$QG-DNHGR\RXKDYH
      &RQQHFWLFXWFDVH"                                              WKDWPDUNHGDV([KLELW"$UH\RXDEOHWRGRWKDW"
      $<HV                                                  9,'(2*5$3+(5,GRQ WKDYHLWPDUNHG
      46DPHWKLQJLQWKH,GDKRFDVH"                         ZLWKDVWLFNHUDWWKHPRPHQWEXW,FDQPDUNWKHPLI\RX
      $<HV                                                  ZDQWPHWR
      4+DYH\RXVHUYHGDVDQH[SHUWZLWQHVVLQDQ\           $77251(<75<21<HV7KDWZRXOGEH
      RWKHUFDVHVEHVLGHVWKRVHWZR"                                 JUHDW
      $, PVHUYLQJDVDQH[SHUWZLWQHVVLQWKH)ORULGD       9,'(2*5$3+(52ND\
     FDVHDVZHOO                                                 $77251(<75<21$QGZKDW,ZRXOGOLNHWR
     4%XW\RXWRGDWHKDYHQRWWHVWLILHGLQDQ\RI       GRWKHH[SHUWUHSRUWZKLFKLVWKHRQHWKDW\RX
     WKRVHFDVHV                                                  SUHYLRXVO\EURXJKWXS-DNHWKDWZRXOGEH([KLELW
     5LJKW"                                               6RLI\RXFRXOGEULQJWKDWXSDQGPDNHVXUHZHDOO
     $7KDW VFRUUHFW                                      XQGHUVWDQGZKDW([KLELWLV
     4$QG\RXKDYHQ WEHHQGHSRVHGLQWKRVHFDVHV          
     HLWKHU,WDNHLW                                              :KHUHXSRQ([KLELW([SHUW5HSRUWRI
     5LJKW"                                               'U)U\ZDVPDUNHGIRULGHQWLILFDWLRQ
     $7KDW VULJKW,KDYHQRW                           
     4+DYH\RXDFWXDOO\SUHSDUHGDQH[SHUWUHSRUWIRU      $77251(<75<21:LOO\RXEHDEOHWRPDUN
     )ORULGDDWWKLVSRLQW"                                        WKHVHZKLOHZHDUHLQWKLVSURFHHGLQJ-DNH
     $<HV                                                 9,'(2*5$3+(5,KDYHLWRQP\FRPSXWHU
     4+DVWKDWEHHQVXEPLWWHGWRFRXUW\HW"                EXW, PQRWRQP\FRPSXWHUDWWKHPRPHQW,GRQ WWKLQN
     $,EHOLHYHVR                                        ,FDQXQOHVVZHFRXOGJRRIIUHFRUGIRUPHWRGRVR
     $77251(<75<21$WWKLVSRLQW\RXU            $77251(<75<21:HZLOONHHSRQJRLQJ


                                                    3DJH                                                                 3DJH
      LQLWLDOUHSRUWWKDWZDVILOHGZLWKWKHFRXUWWKH              DQGDVNLI\RXUHFRJQL]HZKDWWKH\DUHDQGWKHQPD\EH
      LQLWLDO'HFODUDWLRQ/HW VPDUNWKDWDV([KLELWDQG,       GXULQJDEUHDN\RXFDQGRWKDW
      ZLOODVNWKHFRXUWUHSRUWHUWREULQJWKDWXS                  9,'(2*5$3+(57KDWZRUNVIRUPH
                                       $77251(<75<21$QGIRUWKHUHFRUGZH
       :KHUHXSRQ([KLELW'HFODUDWLRQ             ZLOOEHORRNLQJDWWKHVWDWXWHZKLFKZHZLOOEHPDUNLQJ
      PDUNHGIRULGHQWLILFDWLRQ                     DV([KLELWWRWKLVGHSRVLWLRQ
                                       
      %<$77251(<75<21                                              :KHUHXSRQ([KLELW+%ZDV
      4$QGIHHOIUHHWRORRNDW\RXUKDUGFRS\DVZH         PDUNHGIRULGHQWLILFDWLRQ
     DUHGLVFXVVLQJWKHVHH[KLELWVRND\3URIHVVRU"               
     $2ND\                                                %<$77251(<75<21
     $77251(<9(52))6RUU\,WKLQNWKLVLV      46RQRZOHW VJRWR([KLELWZKLFKLV\RXU
     WKHH[SHUWUHSRUWDQG,WKLQN\RXZHUHDVNLQJIRUWKH         FXUUHQWH[SHUWUHSRUW, PJRLQJWRWU\WRPDQLSXODWH
     'HFODUDWLRQ                                                  P\SDJHVR,FDQVHH\RX3URIHVVRUDWWKHVDPHWLPH
     $77251(<75<21<HVULJKW                   ,FDQVZLWFKWKLVRYHUWRDQRWKHUVFUHHQEXWLW VQRW
     9,'(2*5$3+(50\DSRORJLHV                   ZRUNLQJ/HW VWU\WKLV$OOULJKW6RORRNLQJDW
     $77251(<75<21,WVKRXOGKDYHWKH&RXUW      1XPEHUOHWPHEDFNXSSDUDJUDSKQXPEHUWKUHH\RX
     VWDPSRQWKHOHIWDWWKHWRSDV,UHFDOO                     VD\\RXKDYHNQRZOHGJHRIWKHPDWWHUVVWDWHGLQWKLV
     9,'(2*5$3+(5,VHHWKDW0\DSRORJLHV      H[SHUWUHSRUWDQG'HFODUDWLRQ,KDYHFROOHFWHGDQG
     %<$77251(<75<21                                            FLWHWRUHOHYDQWOLWHUDWXUHFRQFHUQLQJWKHLVVXHVWKDW
     46RILUVWRIDOO,ZDQWWRHVWDEOLVKWKDWWKLV       DULVHLQWKLVOLWLJDWLRQ'R\RXVHHWKDW"
     LVWKH'HFODUDWLRQWKDW\RXILUVWSUHSDUHGIRUWKLV           $<HV
     FDVH                                                         46RZKDWDUHWKHLVVXHVWKDWDULVHLQWKLV
     ,VWKDWULJKW"                                       OLWLJDWLRQDV\RXXQGHUVWDQGLW"



                                                                                                 3DJHVWR
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                                                    3DJH                                                          3DJH
      $77251(<9(52)), PVRUU\, OOMXVW          $77251(<75<216RWKDWZRXOGEH
      REMHFWWRWKHH[WHQWWKDWFRPSOHWHSDUDJUDSKWKUHH              ([KLELW$UH\RXILQGLQJWKDW-DNH"<RX UHPXWHG
      ZDVQ WUHDG                                                    9,'(2*5$3+(5, PORRNLQJLQP\IROGHU
      $77251(<75<212ND\                           ,MXVWKDGLWWKLVPRUQLQJ,WPLJKWEHRQP\RWKHU
      %<$77251(<75<21                                              FRPSXWHU&RXQVHOLI\RXZDQWWRJRRIIWKHUHFRUG,
      42ND\                                                  FDQJUDEWKDWDQGWKHQJHWWKHVRIWZDUHWRPDUNWKHVH
      )HHOIUHHWRUHDGWKHHQWLUHSDUDJUDSKLI\RX          IRU\RX
      ZDQWEXW, PMXVWDVNLQJDERXWWKDWVSHFLILFFODXVH            $77251(<75<212ND\
      $7KHLVVXHVWKDWDUHUHOHYDQWDUHWKDWWKHUH VD        +RZORQJZRXOGWKDWWDNH"
     FDWHJRULFDOH[FOXVLRQRIWUDQVDWKOHWHV$QGWKDWLVRI        9,'(2*5$3+(57KUHHPLQXWHV
     FRQFHUQEHFDXVHRIWKHPDQ\EHQHILWVWKDWDWKOHWHVUHDS        $77251(<75<212ND\
     IURPKDYLQJWKHRSSRUWXQLW\WRSDUWLFLSDWHLQVSRUWV          /HW VGRWKDW
     4$Q\RWKHULVVXHVWKDWDULVHLQWKLVOLWLJDWLRQ"       9,'(2*5$3+(52ND\
     $1RWKLQJFRPHVWRPLQGDWWKHPRPHQW                  ,DSRORJL]HWUXO\*RLQJRIIWKHUHFRUG
     46RWKDW VZKDW\RXUHIHUWRZKHQ\RXVD\LVVXHV       7KHFXUUHQWWLPHUHDGVDP
     DULVHLQWKLVOLWLJDWLRQDQG\RXVDLGWKHFDWHJRULFDO         2))9,'(27$3(
     H[FOXVLRQRIWUDQVJHQGHUDWKOHWHVEHFDXVHRIEHQHILWV          
     DWKOHWHVUHFHLYHIURPVSRUW,VWKDWDERXWULJKW",W V        :+(5(8321$6+257%5($.:$67$.(1
     QRWH[DFWO\ZKDW\RXVDLGEXWWKDWLVDERXWULJKW"            
     $<HDKEHFDXVHRIWKHFDWHJRULFDOH[FOXVLRQRI         219,'(27$3(
     WUDQVJHQGHUDWKOHWHVLQVSRUWVWKDWSUHYHQWWKHPIURP          9,'(2*5$3+(5:HDUHEDFNRQWKHUHFRUG
     KDYLQJRSSRUWXQLWLHVWRUHDSDOOWKHEHQHILWVLQVSRUW        7KHFXUUHQWWLPHUHDGVDP(DVWHUQ6WDQGDUG7LPH
     4<RXKDYHVDLGDOUHDG\RQWKHUHFRUGDQG\RXDOVR      $77251(<75<21$QG-DNHLI\RXFRXOG
     VD\LQSDUDJUDSKIRXUWKDWLQSUHSDULQJWKLVH[SHUW            EULQJXS([KLELWQRZSOHDVHZKLFKLVWKH+%


                                                    3DJH                                                          3DJH
      UHSRUWDQG'HFODUDWLRQ,UHYLHZHG:HVW9LUJLQLD+%        6RWKLVKDVSUHYLRXVO\EHHQPDUNHGEXWIRUWKLV
      WKHELOODWLVVXHLQWKLVOLWLJDWLRQ                           GHSRVLWLRQZHZLOOPDUNLWDV([KLELW
      5LJKW"                                                 %<$77251(<75<21
      $<HV                                                   46RWKLVLVWKH+RXVH%LOOWKDW\RXWKHODZ
      46RKRZGLG\RXUHDGWKHHQWLUHWKLQJ"              WKDW\RXUHYLHZHG3URIHVVRU)U\"
      $7KHHQWLUHELOO"                                       $<HV
      47KDW VP\TXHVWLRQ                                    4([FXVHPH$QGQRZKHUHLQKHUHGRHVLWXVHWKH
      $<HV\HV                                              ZRUGWUDQVJHQGHUGRHVLW"
      4:KDWGLGWKHOHJLVODWXUHVD\WKHSXUSRVHLV"           $1R
     $:HOOWRSUHYHQWWUDQVJHQGHUIHPDOHVIURP             $77251(<9(52))2EMHFWLRQ
     SDUWLFLSDWLQJLQDVSRUWLQ:HVW9LUJLQLD                     %<$77251(<75<21
     47KHELOOGRHVQRWXVHWKHZRUGWUDQVJHQGHUDW         47DNHDORRNDWSDUDJUDSKRQHH[FXVHPH
     DOOGRHVLW"                                                  SDJHRQHXQGHU H OLQH$LWVWDUWV$
     $77251(<9(52))6RUU\0U7U\RQ, P        OHJLVODWXUHKHUHE\ILQGVWKHUHDUHLQKHUHQWGLIIHUHQFHV
     JRLQJWRREMHFW,I\RX UHJRLQJWRDVNWKHZLWQHVV           EHWZHHQELRORJLFDOPDOHVDQGELRORJLFDOIHPDOHVDQGWKDW
     DERXWWKHELOOLI\RXFRXOGSOHDVHSXWLWXSRQWKH           WKHVHGLIIHUHQFHVDUHFDXVHIRUFHOHEUDWLRQDV
     VFUHHQVRVKHFRXOGKDYHLWLQIURQWRIKHU                   GHWHUPLQHGE\WKH6XSUHPH&RXUWRIWKH8QLWHG6WDWHVLQ
     $77251(<75<21:HZLOOGRLWLQD             8QLWHG6WDWHVYHUVXV9LUJLQLDLQSDUHQWKHVHV'R
     PRPHQW,WKLQNVKH VORRNLQJDWLWDQ\ZD\VRLW V           \RXVHHWKDW"
     EHHQSXWXSRQWKHVFUHHQ                                     $<HV
     $77251(<9(52)),VWKDWULJKW                4'R\RXDJUHHZLWKWKDWVWDWHPHQW"
     3URIHVVRU)U\"'R\RXKDYHDKDUGFRS\RIWKHELOOLQ         $77251(<9(52))2EMHFWLRQ
     IURQWRI\RX"                                                  %<$77251(<75<21
     7+(:,71(66<HV                              4*RDKHDG


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                                                     3DJH                                                         3DJH
      $<HV                                                   $77251(<9(52))2EMHFWLRQ
      41XPEHUWZRLQSDUHQWKHVHVVD\VWKHVHLQKHUHQW         7+(:,71(667KHILUVWVHQWHQFHRIQXPEHU
      GLIIHUHQFHVDUHQRWDYDOLGMXVWLILFDWLRQIRUVH[EDVHG         WZR"
      FODVVLILFDWLRQVWKDWPDNHRYHUEURDGJHQHUDOL]DWLRQVRU          %<$77251(<75<21
      SHUSHWXDWHWKHOHJDOVRFLDODQGHFRQRPLFLQIHULRULW\RI        4, PVRUU\/HWPHPDNHVXUHZH UHFOHDURQWKH
      HLWKHUVH[5DWKHUWKHVHLQKHUHQWGLIIHUHQFHVDUHD            UHFRUG7KHSKUDVHWKDWVD\VWKHVHLQKHUHQWGLIIHUHQFHV
      YDOLGMXVWLILFDWLRQIRUVH[EDVHGFODVVLILFDWLRQVZKHQ          DUHDYDOLGMXVWLILFDWLRQIRUVH[EDVHGFODVVLILFDWLRQV
      WKH\UHDOLVWLFDOO\UHIOHFWWKHIDFWWKDWWKHVH[HVDUH          ZKHQWKH\UHDOLVWLFDOO\UHIOHFWWKHIDFWWKDWVH[HVDUH
      QRWVLPLODUO\VLWXDWHGLQFHUWDLQFLUFXPVWDQFHVDV             QRWVLPLODUO\VLWXDWHGLQFHUWDLQFLUFXPVWDQFHVWKDW
     UHFRJQL]HGE\WKH6XSUHPH&RXUWRIWKH8QLWHG6WDWHVLQ        FODXVHDV,XQGHUVWDQG\RXUWHVWLPRQ\\RXGRQRWDJUHH
     0LFKDHO96RQRPD&RXQW\$VVRFLDWLRQRI,QWHUFROOHJLDWH        ZLWKLQLWVHQWLUHW\,VWKDWWUXH"
     $WKOHWLFVDQG1,$LQSDUHQWKHVHVRU1DWLRQDO-XQLRU           $77251(<9(52))6RUU\0U7U\RQ
     &ROOHJH$WKOHWLF$VVRFLDWLRQ,JRRIHGWKDW6RUU\,       2EMHFWLRQ
     VNLSSHGDSDJH6RFRQWLQXLQJLWVDLGLQ0LFKDHO0Y        7+(:,71(665LJKWWKDW VWUXH
     6RQRPD&RXQW\6XSHULRU&RXUWLQSDUHQWKHVHVDQG         %<$77251(<75<21
     6XSUHPH&RXUWRI$SSHDOVLQ:HVW9LUJLQLDLQ,VUDHOY         42ND\
     6HFRQGDU\6FKRROV&RPPLVVLRQLQLQSDUHQWKHVHV           1XPEHUWKUHHLWVD\VLQWKHFRQWH[WRIVSRUWV
     2WKHUWKDQWKHFLWDWLRQVRIWKRVHFDVHVGR\RXDJUHH           LQYROYLQJFRPSHWLWLYHVWHOODUFRQWDFWDFWXDOO\
     ZLWKWKDWVWDWHPHQW"                                           VWULNHWKDW
     $77251(<9(52))2EMHFWLRQ                    /HW VPRYHGRZQ,ZDQWWRPDNHVXUH,
     7+(:,71(66,EHOLHYHWKDWLW VPRUH           XQGHUVWDQG7KHVHDUHXVLQJWHUPVWKDWDUHGHILQHG
     FRPSOH[WKDQMXVWWRKDYHDELQDU\XQGHUVWDQGLQJRI            EHORZVR,ZDQWWRVHHLIZHKDYHDPXWXDODJUHHPHQWRQ
     PDOHVDQGIHPDOHV                                             WKHPHDQLQJRIWKHVHWHUPV$QGRQOLQHDVVKRZQRQ
     %<$77251(<75<21                                             WKHOHIWKDQGVLGHLWGHILQHVTXRWHELRORJLFDOVH[


                                                     3DJH                                                         3DJH
      46ROHWPHUHVWULFWP\TXHVWLRQWRWKLVSDUW,W       FORVHGTXRWHPHDQVDQLQGLYLGXDO VSK\VLFDOIRUPDVD
      VD\VWKHVHLQKHUHQWGLIIHUHQFHVDUHDYDOLG                     PDOHRUIHPDOHEDVHGVROHO\RQWKHLQGLYLGXDO V
      MXVWLILFDWLRQIRUVH[EDVHGFODVVLILFDWLRQVZKHQWKH\           UHSURGXFWLYHELRORJ\DQGJHQHWLFVDWELUWK'R\RXVHH
      UHDOLVWLFDOO\UHIOHFWWKHIDFWWKDWVH[HVDUHQRW               WKDW"
      VLPLODUO\VLWXDWHGLQFHUWDLQFLUFXPVWDQFHV7KDW              $<HV,VHHWKDW
      FODXVHGR\RXDJUHHZLWKRUGLVDJUHHZLWK"                     4,VWKDWDIDLUGHILQLWLRQRIELRORJLFDOVH["
      $77251(<9(52))2EMHFWLRQ                     $77251(<9(52))2EMHFWLRQ
      7+(:,71(66<HDK,ZRXOGMXVWVD\WKDW         7+(:,71(66,GLVDJUHH,WKLQNLWLV
      LW VDOOPRUHFRPSOH[WKDQMXVWVD\LQJWKDWZHKDYH         PRUHFRPSOH[WKDQWKDW
     PDOHVDQGIHPDOHV                                             %<$77251(<75<21
     %<$77251(<75<21                                             42ND\
     42ND\                                                 +RZZRXOG\RXGHILQHELRORJLFDOVH["
     , PVRUU\ZKDWGLG\RXVD\ODVW"                     $77251(<9(52))2EMHFWLRQ
     $<HDKWKDWLW VPRUHFRPSOH[WKDQMXVW                7+(:,71(66%DVHGRQPXOWLSOHIDFWRUV
     FRQVLGHULQJWKHPHYHU\RQHILWVWLJKWO\LQWRDPDOH         EHVLGHVMXVWWKHUHSURGXFWLYHELRORJ\LQJHQHWLFVDW
     RUIHPDOHFDWHJRU\                                            ELUWK
     4$QGVR\RXZRXOGGLVDJUHHZLWKWKDWVWDWHPHQW"        %<$77251(<75<21
     $77251(<9(52))2EMHFWLRQ                    42ND\
     7+(:,71(66<HDK,ZRXOGDJUHHZLWK          $QGZKDWZRXOG\RXUGHILQLWLRQEH"
     WKHILUVWVHQWHQFHWKDWZHVKRXOGQ WXVHWKHVHWR             $77251(<9(52))2EMHFWLRQ
     GLVFULPLQDWH                                                  7+(:,71(66, PQRWVXUH
     %<$77251(<75<21                                             %<$77251(<75<21
     4'RHVWKDWVSHFLILFFODXVH\RXGRQ WDJUHHZLWK       42ND\
     WKDWLVWKDWDIDLUVWDWHPHQW"                                :HOOWKHUHDVRQ,DVNLVEHFDXVHZHDUH


                                                                                              3DJHVWR
                Case: 22-5807
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                                                     3DJH                                                         3DJH
      SUREDEO\XVLQJWKHVHWHUPVWKURXJKRXWWKLVGHSRVLWLRQ           $77251(<9(52))2EMHFWLRQ
      WRGD\VR, PWU\LQJWRPDNHVXUHZHKDYHDPXWXDO              %<$77251(<75<21
      XQGHUVWDQGLQJRIZKDWELRORJLFDOVH[PHDQV6R,GRQ W         4&DQZHXVHWKDWDVDGHILQLWLRQWRGD\"
      ZDQWWRWU\DQGLPSRVHXSRQ\RXDGHILQLWLRQWKDW\RX           $77251(<9(52))2EMHFWLRQ
      DUHXQFRPIRUWDEOHZLWK                                         7+(:,71(66,WKLQNLW VPRUH
      $2ND\                                                  DSSURSULDWHWRXVHWKHWHUPWRUHIHUWRSHRSOHZKR
      46RLI\RXFRXOGJLYHPHVRPHWKLQJWKDW\RXZRXOG       LGHQWLI\DVPDOH
      EHFRPIRUWDEOHZLWK,ZRXOGDSSUHFLDWHLW                     %<$77251(<75<21
      $77251(<9(52))2EMHFWLRQ                     46R\RXGRQ WWKLQNWKHUHLVVXFKDWKLQJDVD
     7+(:,71(66<HDK,ZRXOGIHHOPRUH           ELRORJLFDOPDOH",VWKDWZKDW\RXDUHWHOOLQJPH"
     FRPIRUWDEOH\HDK, PQRWVXUHWREHKRQHVW              $77251(<9(52))2EMHFWLRQ
     %<$77251(<75<21                                             7+(:,71(66,WKLQNWHUPELRORJLFDO
     4$OOULJKW                                            PDOHLVDFRPSOH[WHUPWKDWDORWJRHVLQWRWKDW
     6R,DVVXPHWKDWWKHGHILQLWLRQRIIHPDOHLQ          %<$77251(<75<21
     KHUH\RX UHDOVRXQFRPIRUWDEOHZLWK,VWKDWDIDLU           4<RX UHIDPLOLDUZLWKWKHWHUPFLVPDOHULJKW"
     VWDWHPHQW"                                                     $<HV
     $<HV                                                  4:KDWGRHVWKDWPHDQ"
     $77251(<9(52))2EMHFWLRQ                    $:HOOILUVWLVVRPHERG\ZKRVHLGHQWLW\DOLJQV
     %<$77251(<75<21                                             ZLWKWKHLUELUWKFKDUDFWHULVWLFV
     4+RZDERXWWKHGHILQLWLRQRIPDOHFDQZHUHDFK        42ND\
     DQDJUHHPHQWWKDWPDOHPHDQVDQLQGLYLGXDOZKRVH               :KDWELUWKFKDUDFWHULVWLFVDUHWKRVH"
     ELRORJLFDOVH[GHWHUPLQHGDWELUWKLVPDOH"                    $77251(<9(52))2EMHFWLRQ
     $77251(<9(52))2EMHFWLRQ                    7+(:,71(66,WKLQNWKHPDOHIHPDOH
     7+(:,71(66<HV,ZRXOGQRWDJUHHZLWK        FDWHJRU\ZRUNVLQJHQHUDOEXWWKHUHLVSHRSOHZKRIDOO


                                                     3DJH                                                         3DJH
      WKDW                                                           LQEHWZHHQDQGPD\QRWEHIURPDELRORJLFDOSHUVSHFWLYH
      %<$77251(<75<21                                              QLFHDQGWLJKWO\FDWHJRUL]HGLQWRHLWKHURIWKRVH
      4<RXZRXOGQRWDJUHHZLWKWKDW'RHVWKHZRUG          FDWHJRULHV6RZKHQ,VD\LWLVFRPSOH[LWLVLVQRW
      PDOHKDYHDPHDQLQJWR\RX"                                     MXVWWKHZD\VRPHERG\ZDVERUQRURQHSDUWLFXODU\RX
      $77251(<9(52))2EMHFWLRQ                     NQRZSK\VLFDOFKDUDFWHULVWLFRUVR
      7+(:,71(66<HV,IHHOOLNHLW V              %<$77251(<75<21
      UHODWHGWRKRZSHRSOHVHHWKHPVHOYHVLQWHUPVRIPDOHRU        4:HOO, PMXVWWU\WRXQGHUVWDQGWKHWHUP\RX
      IHPDOH                                                         MXVWJDYHPH<RXVDLGWKDWFLVJHQGHULVVRPHRQHWKDW
      %<$77251(<75<21                                              LGHQWLILHVLQWKHVDPHLGHQWLILHVZLWKWKHVH[WKDW
     46RLW VRQO\WKHWHUPPDOHRQO\PHDQVKRZ         FRUUHVSRQGVZLWKWKHLUELUWKFKDUDFWHULVWLFV$QG, P
     VRPHERG\VHHVKLPRUKHUVHOI"                                  DVNLQJZKDW\RXPHDQWZKHQ\RXVDLGELUWK
     $77251(<9(52))2EMHFWLRQ                    FKDUDFWHULVWLFV
     7+(:,71(667KH\YLHZWKHLULGHQWLW\DV       $77251(<9(52))2EMHFWLRQ
     PDOHDQGIHPDOH,WKLQNWKDW VWKHFULWLFDOWKLQJ            7+(:,71(66<HDK,IHHOOLNHWKHUH V
     %<$77251(<75<21                                             PHGLFDOWHUPVWKDWJREH\RQGP\H[SHUWLVH%XWLQP\
     4$QGGRHVELRORJ\KDYHDQ\LPSRUWDQFHDWDOO"          XQGHUVWDQGLQJVRPHRQHFDQEHERUQDQGKDYH
     $77251(<9(52))2EMHFWLRQ                    FKDUDFWHULVWLFVRIFURVVJHQGHU6RXVLQJMXVWDELQDU\
     7+(:,71(66<HVLWGRHV,W VMXVWQRW       V\VWHPZKHUHZHFDWHJRUL]HDQGSXWHYHU\RQHLQHLWKHUD
     WKHRQO\IDFWRU                                               PDOHRUIHPDOHFDWHJRU\LVOLPLWLQJDQGQRWKHOSIXO
     %<$77251(<75<21                                             %<$77251(<75<21
     46RKRZDERXWWKLVKRZDERXWLIZHZLOOUHIHUWR      46RWKHQZKDWLVDFLVJHQGHUSHUVRQ"
     PDOHWRGD\PDOHRUER\ZHPHDQVRPHRQHZKRVHELUWK       $77251(<9(52))2EMHFWLRQ
     RQZKRVH%LUWK&HUWLILFDWHLWGHVLJQDWHVWKHPDVPDOHRU       7+(:,71(666RPHRQHZKRPD\DOLJQ
     DVPDOH"                                                       SK\VLFDOO\DWELUWKZLWKRQHRIWKHJHQGHUV$QGDOVR


                                                                                            3DJHVWR
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                                                     3DJH                                                          3DJH
      ZKHQ,VD\DOLJQWKRVHPDWFKXSZLWKKRZWKH\SHUFHLYH         $77251(<9(52))2EMHFWLRQ
      WKHPVHOYHVDORQJZLWKWKHLUELUWKFKDUDFWHULVWLFV              7+(:,71(66<HDK,WKLQNDPHGLFDO
      %<$77251(<75<21                                              SURIHVVLRQDOVD\VWKDWDEDE\KDVDOOWKH
      4$JDLQ\RXXVHWKDWWHUPELUWKFKDUDFWHULVWLFV         FKDUDFWHULVWLFVRIDPDOHULJKW, PMXVWVLPSO\
      ,QHHGWRNQRZZKDW\RXPHDQE\WKDW                           VD\LQJWKDWHYHU\RQHGRHVQ WILWQLFHDQGWLJKWO\LQWR
      $77251(<9(52))2EMHFWLRQ                     WKDWPDOHRUIHPDOHWKDWWKHUH VWZRFURVVRYHUVWKDW
      7+(:,71(66$JDLQXVLQJWKLVLQLQ        WKHGRFWRUVVHHPWRDJUHHRQ
      IURPP\SHUVSHFWLYH,ZRXOGOLVWHQWRWKHGRFWRUV          %<$77251(<75<21
      ZKRVWXG\WKLVDQGVD\WKDWZHFDQ WMXVWFODVVLI\              4$QGZKDWWKHGRFWRUVVHHPWRDJUHHRQLVZKDW
     SHRSOHWLJKWO\LQWRWKHVHFDWHJRULHV$QGVRPHSHRSOH         WKH\SXWRQWKH%LUWK&HUWLILFDWHULJKWDWOHDVW
     PD\VKDUHFKDUDFWHULVWLFVRIHLWKHUJHQGHUDWELUWKDQG        LQLWLDOO\")DLUVWDWHPHQW"
     VRLWPD\EHPRUHFRPSOLFDWHG                                 $77251(<9(52))2EMHFWLRQ
     %<$77251(<75<21                                             7+(:,71(66<HDK, GVD\LQJHQHUDO
     46RZHVWLOOGRQ WHYHQKDYHDGHILQLWLRQRI           GRFWRUVFKRRVHRQHRUWKHRWKHUWKDW VFORVHVW
     FLVJHQGHUIURP\RX                                            %<$77251(<75<21
     $77251(<9(52))2EMHFWLRQ                    46RDWOHDVWIRUSXUSRVHVRIWRGD\ZKHQ,VD\
     %<$77251(<75<21                                             PDOHRUER\FDQZHDJUHHWKDW, PUHIHUULQJWRVRPHRQH
     46R\RXGRQ WNQRZZKDWELUWKFKDUDFWHULVWLFV          ZKRRQWKH%LUWK&HUWLILFDWHWKHRULJLQDO%LUWK
     DUH",VWKDWZKDW\RXDUHWHOOLQJPH"                         &HUWLILFDWHLWLVVWDWHGWKDWWKDWSHUVRQLVPDOH"
     $77251(<9(52))2EMHFWLRQDVNHGDQG          $,FDQDJUHHWRSURFHHGWKDWZD\
     DQVZHUHG"                                                      42ND\
     7+(:,71(66<HDK,WKLQNVRPHSHRSOH         $QGWKHVDPHWKLQJZLWKUHVSHFWWRIHPDOHRU
     DUHERUQDQGWKH\ILWQLFHO\LQWRWKHVHFDWHJRULHVRI          JLUO
     PDOHDQGIHPDOH, PMXVWDFNQRZOHGJLQJWKDWQRW              5LJKW"


                                                     3DJH                                                          3DJH
      HYHU\RQHGRHV$QGLIWKH\GRILWQLFHO\LQWRWKRVH           $77251(<9(52))2EMHFWLRQ
      QLFHO\MXVWPHDQLQJWKDWWKH\DUHWKH\\RXNQRZ           7+(:,71(66<HV&DQZHDOVRDJUHH
      DUHFRQVLGHUHGPDOHDWELUWKDQGWKH\DOVRSHUFHLYHWKDW        WKDWLI,WKDW,FDQXVHWKHWHUPWUDQVIHPDOHWR
      WKH\DUHWKDQRUWKHRWKHUZD\LVIHPDOHWKHQWKDW         UHIHUWRVRPHRQHZKRPD\VKDUHFKDUDFWHULVWLFVDFURVV
      ZRXOGEHDFLVJHQGHUSHUVRQ                                    JHQGHUDQGPD\LGHQWLI\DVDIHPDOH"
      $77251(<75<21-DNHKRZGR,JHWWR           %<$77251(<75<21
      WKHOLYHIHHG"                                                  4/HW VEHFOHDURQWKDW3OHDVHWHOOPHZKDW
      9,'(2*5$3+(5<RXPHDQOLNHWKHYLGHR           \RXUGHILQLWLRQRIWUDQVOHW VILUVWFLWHZKDWGRHV
      IHHGRUOLNHWKHUHDOWLPH"                                     WUDQVJHQGHUPHDQ"
     $77251(<75<21<HV                           $77251(<9(52))2EMHFWLRQ
     9,'(2*5$3+(5*LYHPHRQHVHF, OO            7+(:,71(667UDQVJHQGHUUHIHUVWR
     UHSRVWWKHOLQN                                               VRPHRQHZKRPD\KDYHEHHQFODVVLILHGDVELUWKDVRQH
     $77251(<75<21$UH\RXJRLQJWRSXW           JHQGHUEXWLGHQWLILHVDVWKHRWKHUJHQGHU
     WKDWLQWKHFKDWURRP"                                         %<$77251(<75<21
     9,'(2*5$3+(5,WVKRXOGEHYLVLEOHQRZ        4$QGWKHQWUDQVJHQGHUJLUOFDQ\RXJLYHPH\RXU
     %<$77251(<75<21                                             GHILQLWLRQRIWKDW"
     4:KHQ\RX\RXXVHGWKHWHUPQRZFRQVLGHUHG         $<HVVRPHRQHZKRPD\KDYHEHHQDVVLJQHGWKHPDOH
     PDOHDWELUWK&DQ\RXWHOOPHZKDW\RXPHDQE\WKDW"         VH[DWELUWKDQGLGHQWLILHVDVIHPDOH
     $77251(<9(52))2EMHFWLRQ                    4$QGWKHQWUDQVJHQGHUER\"
     %<$77251(<75<21                                             $6RPHRQHZKRPD\KDYHEHHQDVVLJQHGIHPDOH
     4, PQRWWU\LQJWRWULFN\RX, PMXVWWU\LQJWR      DVVLJQHGDIHPDOHJHQGHUDWELUWKEXWSHUFHLYHV
     HVWDEOLVKVRPHGHILQLWLRQVRZHFDQFRPPXQLFDWHSURSHUO\       LGHQWLILHVZLWKDPDOHVH[PDOHJHQGHU
     WRGD\                                                         41RZZKHQ,DVNHG\RXDERXWWUDQVJHQGHU\RXVDLG
     $<HDK                                                 VRPHRQHFODVVLILHGDWELUWK$QGWKHQZKHQ,DVNHG\RX


                                                                                            3DJHVWR
                Case: 22-5807
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                                                     3DJH                                                        3DJH
      DERXWWUDQVJHQGHUJLUO\RXVDLGDVVLJQHG,VWKHUHD          42ND\
      GLIIHUHQFHEHWZHHQFODVVLILHGDQGDVVLJQHGLQ\RXUPLQG"       ,QHHGWRDSRORJL]HDWWKLVSRLQW2QWKH
      $77251(<9(52))2EMHFWLRQ                    IORRUZKHUH, PDWWKH\DUHGRLQJFRQVWUXFWLRQVR
      7+(:,71(661RWKHUHZDVQ WD                 SHULRGLFDOO\\RXPD\KHDUSRXQGLQJRURWKHUQRLVHDQG
      GLVWLQFWLRQWKHUH                                             , PVRUU\DERXWWKDW
      %<$77251(<75<21                                             /HWPHDVN\RXDERXWWKHGHILQLWLRQRIDQRWKHU
      42ND\                                                 ZRUGWKDWDSSHDUVSHULRGLFDOO\WKHZRUGDUELWUDU\$QG
      $QGFRXOGWKDWVH[RIDFKLOGEHDVVLJQHG             ,ORRNHGWKDWXSLQDGLFWLRQDU\DQRQOLQHGLFWLRQDU\
      EHIRUHELUWK"                                                  &DPEULGJHRUJDQGWKHGHILQLWLRQLWJDYHPHZDVEDVHG
     $77251(<9(52))2EMHFWLRQ                   RQFKDQFHUDWKHUWKDQEHLQJSODQQHGRUEDVHGRQUHDVRQ
     7+(:,71(66<HDKSRVVLEO\                  ,VWKDWDIDLUGHILQLWLRQRIDUELWUDU\"
     %<$77251(<75<21                                            $77251(<9(52))2EMHFWLRQ
     4*RLQJEDFNWRWKHELOOLWVHOIRQOLQHRQ        7+(:,71(66, PQRWVXUH
     SDJHWZRLQWKHFRQWH[WRIVSRUWVLQYROYLQJFRPSHWLWLYH      %<$77251(<75<21
     VNLOORUFRQWDFWELRORJLFDOPDOHVDQGELRORJLFDOIHPDOHV      42ND\
     DUHQRWLQIDFWVLPLODUO\VLWXDWHG'R\RXDJUHHZLWK      :KDWLV\RXUGHILQLWLRQRIDUELWUDU\"
     WKDWVWDWHPHQW"                                               $77251(<9(52))2EMHFWLRQ
     $77251(<9(52))2EMHFWLRQ                   7+(:,71(66, PQRWVXUH
     7+(:,71(66, PQRWVXUHZKDWWKDW            %<$77251(<75<21
     VWDWHPHQWPHDQVE\WKHIDFWVLPLODUO\VLWXDWHG               4<RXKDYHD%DFKHORU V'HJUHH
     %<$77251(<75<21                                            5LJKW"
     42ND\                                                $,GR
     /HW VJRWRWKHQH[WVHQWHQFH%LRORJLFDO           4$QGD0DVWHU V'HJUHH
     PDOHVZRXOGGLVSODFHIHPDOHVWRDVXEVWDQWLDOH[WHQWLI       5LJKW"


                                                     3DJH                                                        3DJH
      SHUPLWWHGWRFRPSHWHRQWHDPVGHVLJQDWHGIRUELRORJLFDO        $<HV
      IHPDOHVDQGWKHQLWFLWHVDFDVH'R\RXDJUHHZLWK           46R,UHFDOO\RXDOVRKDYHD3K'
      WKDWVWDWHPHQW"                                                ,VWKDWULJKW"
      $77251(<9(52))2EMHFWLRQ                    $7KDWLVULJKW
      7+(:,71(66,EHOLHYHWKHUHFDQEHD          4$QG\RXFDQ WGHILQHIRUPHZKDWDUELWUDU\
      IDLUSOD\LQJJURXQGIRUSHRSOHZKRDUHERUQPDOHDQGZKR       PHDQV"
      UHFHLYHWUHDWPHQWIROORZWKHUXOHVDQGSOD\WKHVSRUW         $77251(<9(52))2EMHFWLRQ
      IRUWKHPWREHDEOHWRSDUWLFLSDWHDVIHPDOHV                 7+(:,71(661RQRWDWWKHPRPHQW
      %<$77251(<75<21                                             %<$77251(<75<21
     46R,WDNHLW\RXGRQRWIXOO\DJUHHZLWKWKDW        4<RXXVHGWKHZRUGDUELWUDU\LQWKLVUHSRUW\HW
     VWDWHPHQW                                                    \RXGRQ WNQRZZKDWLWPHDQV"
     ,VWKDWDIDLUVWDWHPHQW"                            $77251(<9(52))2EMHFWLRQ
     $<HDK                                                7+(:,71(66<HDK'R\RXZDQWWRJRWR
     $77251(<9(52))2EMHFWLRQ                   ZKHUH,XVHGLW"
     7+(:,71(66,GRQRW                         %<$77251(<75<21
     %<$77251(<75<21                                            41R,ZDQWWRNQRZLI\RXLQIDFWGRQ WNQRZ
     4,WHP1XPEHUOLQHVD\VFODVVLILFDWLRQRI       ZKDWDUELWUDU\PHDQV"
     WHDPVDFFRUGLQJWRELRORJLFDOVH[LVQHFHVVDU\WR             $77251(<9(52))2EMHFWLRQ,WKLQNWKH
     SURPRWHHTXDODWKOHWLFRSSRUWXQLWLHVIRUWKHIHPDOHVH[      ZLWQHVVKDVDVNHGWRVHHZKHUHWHUPLVXVHGLQKHU
     'R\RXDJUHHZLWKWKDWVWDWHPHQW"                             UHSRUW$QGLWZRXOGEHKHOSIXOWRVKRZLWWRKHUIRU
     $77251(<9(52))2EMHFWLRQ                   FRQWH[W
     7+(:,71(661RWLILWPHDQVH[FOXGLQJ        $77251(<75<217KDQN\RX&RXQVHO,
     WUDQVJHQGHUDWKOHWHV                                         ZRXOGOLNHWKHZLWQHVVWRWHOOPHKRZVKHGRHVQ WNQRZ
     %<$77251(<75<21                                            VLQFHVKHKDVD3K'VKHFDQ WWHOOPHZKDW


                                                                                           3DJHVWR
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                                                    3DJH                                                          3DJH
      DUELWUDU\PHDQV$QGWKHQ\RXZRQ WHYHQDJUHHZLWKWKH       $$JDLQ,FDQ WVSHDNIRUHYHU\DWKOHWH
      GHILQLWLRQWKDW,IRXQGLQWKH&DPEULGJHRUJ'LFWLRQDU\       4$QGWKHQZKHQ\RXVDLGWKHUHZDVDJLUOVWHDP
      $77251(<9(52))2EMHFWLRQ                    ZKDWGLGWKDWPHDQ":KDWGLG\RXKDYHWREHWREHRQ
      7+(:,71(66&DQ\RXUHSHDWWKDW                WKHJLUOVWHDP"
      GHILQLWLRQDJDLQ"                                              $<HDK$QGLQJHQHUDOWKH\DUHIHPDOHVDQGVHH
      %<$77251(<75<21                                             WKDWFODVVLILFDWLRQDVDSSURSULDWHDQGSDUWLFLSDWHDV
      4%DVHGRQFKDQFHUDWKHUWKDQEHLQJSODQQHGRU          IHPDOHV
      EDVHGRQUHDVRQ                                               4$QGZK\LVWKDWFODVVLILFDWLRQDSSURSULDWHIRU
      $2ND\                                                 WHQQLV"
     , PJRLQJWRJREDFNDQGDFFHSWWKDW                $77251(<9(52))2EMHFWLRQ
     42ND\                                                7+(:,71(66,WKLQNLW VLQJHQHUDO
     ,QSDUDJUDSKVHYHQRI\RXUUHSRUWZHFDQJR      DSSURSULDWHWRKDYHWROHWPDOHVDQGIHPDOHVFRPSHWH
     EDFNWRWKHUHSRUWQRZ7KLVLV([KLELW,Q               VHSDUDWHO\
     SDUDJUDSKVHYHQWKDWLVRQWKHVFUHHQRU\RXFDQORRNDW      %<$77251(<75<21
     \RXUKDUGFRS\\RXPHQWLRQWKDW\RXVSHQWILYH\HDUV         4,VWKDWEHFDXVHLQJHQHUDOPDOHVDUHEHWWHUDW
     WHDFKLQJSK\VLFDOHGXFDWLRQDQGFRDFKLQJWHQQLVDW            WHQQLV"
     VFKRROVDQGVXPPHUFDPSV7HOOPHDOLWWOHELWDERXW         $77251(<9(52))2EMHFWLRQ
     \RXUFRDFKLQJWHQQLV                                         7+(:,71(66,ZRXOGQ WDJUHHZLWKWKDW
     $<HV,ZDVWKHKHDGFRDFKRIERWKWKHER\VDQG       %<$77251(<75<21
     WKHJLUOVWHDPKLJKVFKRRO$QGWKHZHKDGD            47KHQZK\LVLWDSSURSULDWHWROHWWKHPFRPSHWH
     YDUVLW\DQGDMXQLRUYDUVLW\WHDP7KH\FRPSHWHGLQWKH      VHSDUDWHO\"
     IDOOVHDVRQ7KDWZDVDWHDPFRPSHWLWLRQ$QGWKHQWKH      $77251(<9(52))2EMHFWLRQ
     LQGLYLGXDOLQVSULQJVRLWLVD\HDUURXQGVSRUWLQ          7+(:,71(66<HDK,WKLQNPDOHVZRXOG
     7H[DV                                                        LQJHQHUDOGXHWR\RXNQRZWKHLUSK\VLFDO


                                                    3DJH                                                          3DJH
      46RZK\GLGWKH\GLYLGHLWEHWZHHQYDUVLW\DQG         FKDUDFWHULVWLFVZRXOGKDYHDFRXOGKDYHDQ
      MXQLRUYDUVLW\"                                                DGYDQWDJH
      $%HFDXVHVRPHRIWKHNLGVDUHEHFDXVHLW           %<$77251(<75<21
      JLYHVWKHPRUHDGYDQFHGDWKOHWHVDFKDQFHWRFRPSHWHDW        4:KDWNLQGRIDGYDQWDJH"
      WKHYDUVLW\OHYHODQGFDQEHYHU\LQFOXVLYHDQGJLYHD         $77251(<9(52))2EMHFWLRQ
      ORWRINLGVDQRSSRUWXQLW\WRSOD\DOVRDVZHOOZLWKD         7+(:,71(66<HDKJUHDWHUJUHDWHU
      MXQLRUYDUVLW\                                                WHVWRVWHURQHOHYHOVZKLFKFDQOHDGWRZKLFKFDQ
      4$QG\RXKDGQRSUREOHPZLWKWKDWULJKW"              LPSDFWPXVFOHPDVVDQGVL]H
      $77251(<9(52))2EMHFWLRQ                    %<$77251(<75<21
     7+(:,71(667KDW VULJKW                    4$VWKHFRDFKGLG\RXDFWXDOO\REVHUYHWKDW
     %<$77251(<75<21                                            WKHUHZDVDGLIIHUHQFHSHUIRUPDQFHGLIIHUHQFHEHWZHHQ
     4$QGWKHQ\RXVDLGWKH\GLYLGHGLWLQWRER\VDQG      ER\VDQGJLUOVWHDPV"
     JLUOVWHDPV:K\GLGWKH\GRWKDW"                           $,ZRXOG
     $77251(<9(52))2EMHFWLRQ                   4, PVRUU\/HWPHUHSKUDVHWKDW$VWKHFRDFK
     7+(:,71(66%HFDXVHLQJHQHUDOWKDW        GLG\RXDFWXDOO\REVHUYHWKDWWKHUHZDVDSHUIRUPDQFH
     FODVVLILFDWLRQZRUNVEXWWKHUHDUHH[FHSWLRQVWRLW         GLIIHUHQFHEHWZHHQER\VDQGJLUOV"
     %<$77251(<75<21                                            $<HV
     4$QGZKHQ\RXVDLGER\VZKDWGLG\RXPHDQE\         $77251(<9(52))2EMHFWLRQ
     ER\V"                                                         7+(:,71(66,WKLQNLI\RXFRPSDUHWKH
     $,PHDQWKRVHZKRPD\KDYHEHHQFODVVLILHGDVD       PHDQOHYHORIDELOLW\DFURVVWKHWZRWKHQWKHUHLVD
     PDOHLQWKHLUOLYHVDQGDOVRLGHQWLI\WKDWZD\               PRGHUDWHGLIIHUHQFHEXWWKHUHZDVWKHUHZDVELJ
     46RWKHWHDPWKHWHQQLVWHDPZDVEDVHGRQWKRVH      GLIIHUHQFHVZLWKLQHDFKJHQGHU,KDGVRPHYHU\
     ZKRZHUHERUQFODVVLILHGDVPDOHVDQGDOVRLGHQWLILHG        WDOHQWHGPDOHVDQGVRPHPDOHVWKDWZHUHQRWYHU\
     WKDWZD\"                                                     WDOHQWHG$QGWKHVDPHZLWKIHPDOHV$ELOLW\OHYHOV


                                                                                            3DJHVWR
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                                                    3DJH                                                          3DJH
      UHDOO\YDULHG$QG,KDGIHPDOHVDFURVVP\\HDUV              GHYLDWLRQGR\RXNQRZLIWKHILUVWVWDQGDUGGHYLDWLRQ
      FRDFKLQJKLJKVFKRROWKDWZHUHVWURQJHUWKDQPDOHV6R        ZRXOGRYHUODSEHWZHHQWZRJURXSV"
      LWLVQRWD\RXKDYHWREHFDUHIXOWRVD\WKDWHYHU\       $77251(<9(52))2EMHFWLRQ
      PDOHRXWSHUIRUPVHYHU\IHPDOHEHFDXVHWKDWKDVQRWEHHQ       7+(:,71(66,WKLQNVRLQKLJKVFKRRO
      P\H[SHULHQFH                                                 WHQQLVULJKW
      %<$77251(<75<21                                             %<$77251(<75<21
      48QGHUVWRRG2QWKHDYHUDJHWKRXJKLVLWVDIH       42ND\
      WRVD\WKDWWKHER\VRXWSHUIRUPWKHIHPDOHV"                  +DYH\RXDFWXDOO\WKDW VIURPMXVW\RXU
      $77251(<9(52))2EMHFWLRQ                    JHQHUDOL]HGH[SHULHQFHEXWKDYH\RXDFWXDOO\GRQHD
     7+(:,71(665LJKWLIZHMXVWORRNDWD       GDWDFRPSLODWLRQWRGHWHUPLQHWKDW"
     PHDQDFURVVWKHJHQGHU\HV                                  $77251(<9(52))2EMHFWLRQ
     %<$77251(<75<21                                            7+(:,71(661R
     42ND\                                                %<$77251(<75<21
     <RXXVHGWKHZRUGPHDQLQVWHDGRIDYHUDJH&DQ      4'R\RXNQRZRIVXFKDWKLQJDQ\VWXGLHVWKDWGR
     \RXH[SODLQ"                                                  WKDW"
     $<HVRQDYHUDJH                                     $,FRXOGQ WLGHQWLI\VSHFLILFDOO\VWXGLHVEXW
     42ND\                                                ZKHQ,VHHWKHVHWKLQJVOLNHLI,LI,SLFNXSWKH
     ,MXVWZDQWWRPDNHVXUHZHDUHFRPPXQLFDWLQJ        .DQVDV&LW\SDSHURUDIWHUWKHPDUDWKRQ,VHHPDOHVDQG
     FRUUHFWO\                                                    IHPDOHVLQWHUVSHUVHGDOOWKHZD\WKURXJKZLWKWKHLU
     $6XUH                                                WLPHVULJKW6RLW VQRWDWKLQJZKHUHHYHU\PDOHWKDW
     4+DYH\RXHYHUGRQHORRNHGDWWKHVWDQGDUG        UDQWKHPDUDWKRQRXWSHUIRUPHGHYHU\IHPDOHWKDWUDQWKH
     GHYLDWLRQWKHEHOOFXUYHIRUHDFKRIWKRVHJURXSV"           PDUDWKRQ6R,WKLQNLW VSUHWW\FRQVLVWHQWWKDWWKRVH
     $77251(<9(52))2EMHFWLRQ                   GLIIHUHQFHVDUHVPDOOHUWRRLIZHDUHQRWWDONLQJ
     7+(:,71(66, PIDPLOLDUZLWKWKHEHOO       DERXWWKHHOLWHRIHOLWHDWKOHWHV


                                                    3DJH                                                          3DJH
      FXUYH'R\RXPHDQ"                                       4:KHQ\RXZHUHFRDFKLQJKRZORQJGLG\RXFRDFK"
      %<$77251(<75<21                                             $,FRDFKHGIRXU\HDUVIXOOWLPHDQGWKHQP\
      42ND\                                                 JUDGXDWHSURJUDPDW*UHHQVERUR,ZDV,KDGDQ
      +DYH\RXORRNHGDWWKHEHOOFXUYHIRU                 DVVLVWDQWVKLSDWD0LGGOH6FKRROWRWHDFKWRDVVLVW
      SHUIRUPDQFHEHWZHHQWKRVHWZRJURXSVRIWHQQLVSOD\HUV        WHDFKHUVZLWKWHDFKLQJSK\VLFDOHGXFDWLRQ
      ER\VYHUVXVJLUOV"                                             4,QSDUDJUDSKHLJKWRI\RXUUHSRUWLWVD\VWKDW
      $77251(<9(52))2EMHFWLRQ                    \RXJUDGXDWHGZLWKD0DVWHURI6FLHQFHLQVSRUWV
      7+(:,71(662ND\                              SV\FKRORJ\SHGDJRJ\IURPWKH8QLYHUVLW\RI1RUWK
      ,KDYHEHHQ,KDYHQ WFROOHFWHGGDWD        &DUROLQDLQ*UHHQVERUR1RUWK&DUROLQDLQ'XULQJ
     WKDW,FRXOGVKDUHIURPZKHQ,FRDFKHGKLJKVFKRRO           WKDWGLG\RXWDNHDQ\FODVVHVLQVSRUWVELRPHFKDQLFV"
     :KDW,FRXOGVD\LVWKDWLIZHWRRNDQ\VNLOOOHW V         $,EHOLHYH,WRRNRQH
     VD\WKHLUDELOLW\WRVHUYHDFFXUDWHO\RUKLWDFULVS          4:KDWLVVSRUWVELRPHFKDQLFV"
     YROOH\RUKLWDVROLGEDFNKDQGDFURVVWKHFRXUWWKDW         $6SRUWVELRPHFKDQLFVORRNVDWWKHVWXG\RI
     WKHLUWKRVHEHOOFXUYHVDUHYHU\FORVHWRHDFK            PRYHPHQWDQGKRZWRRSWLPL]HVNLOOVDQGPRYHPHQW
     RWKHUEXWRYHUDOOIRUMXVWORRNLQJDWWKHWZRJURXSV         SDWWHUQV
     WKHER\VFRXOGKDYHDVOLJKWDGYDQWDJH%XWWKRVHWZR        4$QGLVLWIDLUWRVD\WKDWWKHELRPHFKDQLFVRI
     EHOOFXUYHVLIZHDUHORRNLQJDWWKHERWWRPRIWKRVH        PDOHVDQGIHPDOHVDUHGLIIHUHQW"
     \RX UHJRLQJWRVD\WKHUHLVWUHPHQGRXVYDULDELOLW\ZLWK      $77251(<9(52))2EMHFWLRQ
     WKHPDOHVDQGIHPDOHV$QGVRLWLVHDV\WRJHWNLQGRI      7+(:,71(66:LWKUHJDUGWRHYHU\WKLQJ
     IRFXVHGRQWKLVVPDOOPHDQGLIIHUHQFHDFURVVJHQGHUZKHQ      DFURVVWKHERDUGOLNHZDONLQJ"
     WKHUHLVKXJHGLIIHUHQFHVDFURVV\RXNQRZHDFKJHQGHU       %<$77251(<75<21
     DVZHOO                                                      4,QDWKOHWLFVZHOOZH OOWDONDERXWLQ
     %<$77251(<75<21                                            ZDONLQJ,VLWGLIIHUHQWLQZDONLQJ"
     48QGHUVWRRG$VIDUDVWKHILUVWVWDQGDUG            $77251(<9(52))2EMHFWLRQ


                                                                                            3DJHVWR
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                                                     3DJH                                                         3DJH
      7+(:,71(66,ZRXOGVD\WKHUHLVPRUH           4)DLUHQRXJK
      VLPLODULW\DFURVVWKHJHQGHUVPRUHYDULDELOLW\ZLWKDJH        $77251(<75<21:HOOZH YHEHHQJRLQJD
      WKDQDFURVVJHQGHUVRQPRVWPRYHPHQWV                          OLWWOHRYHUDQKRXU, PKDSS\WRNHHSRQJRLQJ%XW
      %<$77251(<75<21                                              LI\RXQHHGDEUHDNOHWPHNQRZ
      42ND\                                                  $77251(<9(52)),WKLQNLWZRXOGEH
      6R\RXGRQ WWKLQNWKHUHLVDGLIIHUHQFH               JRRGWRWDNHDVKRUWEUHDN
      EHWZHHQPDOHVDQGIHPDOHVLQWKHFRQWH[WRI                     9,'(2*5$3+(5*RLQJRIIWKHUHFRUG7KH
      ELRPHFKDQLFV"                                                   FXUUHQWWLPHUHDGV(DVWHUQ6WDQGDUG7LPH
      $77251(<9(52))2EMHFWLRQ                     2))9,'(27$3(
     7+(:,71(66<HDK,WKLQN,MXVWQHHG         
     VRPHWKLQJPRUHVSHFLILFULJKWLIPDOHVLQJHQHUDOFDQ         :+(5(8321$6+257%5($.:$67$.(1
     JHQHUDWHPRUHSRZHURUVRPHWKLQJLQDSDUWLFXODU               
     PRYHPHQWWKDWPD\EHWKHFDVH,WLVQRWP\DUHDRI          219,'(27$3(
     H[SHUWLVH                                                     9,'(2*5$3+(5:HDUHEDFNRQWKHUHFRUG
     %<$77251(<75<21                                             7KHFXUUHQWWLPHUHDGV(DVWHUQ6WDQGDUG7LPH
     42ND\)DLUHQRXJK$UH\RXDSV\FKRORJLVW"          %<$77251(<75<21
     $,DPQRW                                             4,QSDUDJUDSKQLQHRI\RXUUHSRUW\RXUHIHUWRD
     4$UH\RXDSV\FKLDWULVW"                               &RDFKHU V*XLGHRI0D[LPL]LQJ<RXWK6SRUW([SHULHQFH
     $1R                                                   $QGGLG\RXZULWHWKDWZKROHERRN"
     4+DYH\RXKDGDQ\FOLQLFDOH[SHULHQFHVHHLQJDQ\       $:LWKFROOHDJXHVZHGLG
     SDWLHQWV"                                                      4'RHVWKDWERRNDGGUHVVWUDQVJHQGHUDWKOHWHVDW
     $1RWFOLQLFDOH[SHULHQFHQR                          DOO"
     42WKHUW\SHVRIH[SHULHQFHVHHLQJSDWLHQWV"            $,WDGGUHVVHVKRZWRFUHDWHDQHQYLURQPHQWWKDW
     $1R                                                   FDQEHLQFOXVLYHDQGKHOSDOODWKOHWHVKDYHDJUHDW


                                                     3DJH                                                         3DJH
      4$QGVR,DSUHVXPH\RXQHYHUWUHDWHGDQ\               H[SHULHQFH,W VQRWVSHFLILFDOO\ZULWWHQ\RXNQRZ
      SDWLHQWV"                                                       LW VQRWDERXWDERXWWUDQVJHQGHUDWKOHWHVRYHUDOO:KDW
      $7KDW VFRUUHFW                                        ,ZRXOGVD\WKH\ UHLQFOXGHGLQWKHVHQVHWKDWLWLV
      4+DYH\RXHYHUZRUNHGDVDFRXQVHORURUVRFLDO          EHQHILFLDOWREHLQFOXVLYHLQVSRUW
      ZRUNHU"                                                         4,VWKHWHUPWUDQVJHQGHUGRHVLWDSSHDULQWKH
      $1R                                                    ERRNDWDOO"
      4+DYH\RXHYHUFRXQVHOHGZLWKNLGVRQHLWKHUD          $%H\RQG, PQRWVXUH
      IRUPDOEDVLVRULQIRUPDOEDVLVRQPHQWDOKHDOWKLVVXHV"         4:KHQZDVWKDWERRNZULWWHQ"
      $, PRQWKHHGXFDWLRQDOVLGHRIVSRUWVSV\FKRORJ\       $,WZDVUHOHDVHGLQ
     DQGVR,PLJKWSURYLGHHGXFDWLRQDOLQIRUPDWLRQULJKW         4:KHQZDVWKHILUVWWLPHWKDW\RXEHFDPHDZDUHRI
     DERXWKRZWRGHYHORSVWURQJPHQWDOVNLOOVULJKWWKDW         WKHLVVXHRIWUDQVJHQGHUJLUOVSDUWLFLSDWLQJLQJLUOV
     DUHJRLQJWRKHOS\RXHQMR\\RXUVSRUWEHWWHUDQG              VSRUWV"
     SHUIRUPEHWWHUULJKW,W VDOORQWKHHGXFDWLRQDO            $77251(<9(52))2EMHFWLRQ
     VLGHVRQRWRQDGLDJQRVLVVLGHRUWUHDWPHQWRIPHQWDO        7+(:,71(66, PQRWVXUH<HDUVDJR,
     KHDOWK7KDWZRXOGEHEH\RQGP\FUHGHQWLDOVDQG,ZRXOG       WDNHFRQIHUHQFHVUHJXODUO\RUVSRUWVSV\FKRORJ\
     UHIHUDWKOHWHVWRVRPHRQHHOVH                                FRQIHUHQFHDQGWKHUHKDVEHHQVHVVLRQVIRUDORQJWLPH
     42ND\                                                 $77251(<75<21/HWPHDVN\RXWRWDNHD
     +DYH\RXHYHUFRXQVHOHGZLWKNLGVRQJHQGHU           ORRNDWVRPHGRFXPHQWV-DNHLI\RXFDQSXOOXSWKH
     G\VSKRULDLVVXHV"                                              GRFXPHQW&RUWLVROHDQG6WUHVV5HVSRQVHGXULQJWKH*DPH
     $,KDYHQRW                                           DQG3UDFWLFHLQ)HPDOH&ROOHJLDWH6RFFHU3OD\HUV
     4+DYH\RXFRXQVHOHGZLWKNLGVRU\RXQJDGXOWVRQ       9,'(2*5$3+(5'R\RXZDQWWKDWPDUNHG"
     WUDQVJHQGHULVVXHV"                                            $77251(<75<21<HVWKLVZRXOGEH
     $,KDYHQRW7RVD\WKDWZRXOGEHEH\RQGP\           1XPEHU
     H[SHUWLVHDQGWUDLQLQJ                                        


                                                                                            3DJHVWR
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                                                    3DJH                                                           3DJH
       :KHUHXSRQ([KLELW$UWLFOHE\'U            4'R\RXNQRZKRZWKHVWXGHQWLGHQWLILHGLI
      )U\ZDVPDUNHGIRULGHQWLILFDWLRQ             VRPHRQHZDVDIHPDOH"
                                         $,WKLQNVKHXVHGDIHPDOHFROOHJLDWHVRFFHUWHDP
      $77251(<75<21$QGMXVWIRUWKHFRXUW          DQGVRWKRVHZHUHIHPDOHDWKOHWHVRQWKHWHDP
      UHSRUWHUP\QDPHLVVSHOOHG75<21                         4'R\RXNQRZLIDQ\RIWKRVHIHPDOHDWKOHWHVZHUH
      %<$77251(<75<21                                              WUDQVIHPDOHV"
      42ND\                                                  $1R,GRQ W
      7KLVLVDGRFXPHQWDQDUWLFOHWKDW\RXZURWH         4:RXOGWKDWKDYHPDGHDGLIIHUHQFHIRUWKHVWXG\
      FRUUHFW3URIHVVRU)U\"                                         LIVRPHZHUHWUDQVIHPDOHVDQGRWKHUVZHUHZKDW,ZRXOG
     $7KLVZDVD0DVWHU VWKHVLVIURPRQHRIRXU            FDOOELRORJLFDOIHPDOHV"
     VWXGHQWVDQG,VHUYHGRQKHUFRPPLWWHH                        $77251(<9(52))2EMHFWLRQ
     4,VHH:KRLV$QGUHZ)U\"                            7+(:,71(66,GRQ WNQRZ$QG,WKLQN
     $+H VP\KXVEDQG                                      LWZRXOGGHSHQGRQZKHUHWKHWUDQVDWKOHWHVZHUH
     42ND\                                                 %<$77251(<75<21
     :K\GLGWKLVGRFXPHQWRQO\IRFXVRQIHPDOH            4:KHUHWKH\ZHUH":KDWGR\RXPHDQ"
     VRFFHUSOD\HUV"                                                $, PVRUU\ZKHUHWKH\, PVRUU\'DQDMXVW
     $7\SLFDOO\LQD0DVWHU VWKHVLV\RXNLQGRIFDQ       FDPHLQZLWKFRUGVDQG,JRWGLVWUDFWHGIRUDVHFRQG
     NHHSWKLQJVVPDOOHUDQGWLJKWHUDQGLW VQRWOLNHD           :LWKZKHUHWKH\ZHUHLQWKHWUDQVLWLRQLQJSURFHVV
     GRFWRUDOGLVVHUWDWLRQ,WKLQNZRXOGEHRQHRIWKHNH\          $77251(<75<212ND\
     UHDVRQV7KHUH VSUREDEO\EHHQOHVVUHVHDUFKZLWK             ,I\RXFRXOGEULQJXSWKHQH[WGRFXPHQW
     IHPDOHVDQGFRUWLVROEHFDXVHLW VDOLWWOHPRUH                ([DPLQDWLRQRIWKH3V\FKRPHWULF3URSHUWLHVRI3HUFHLYHG
     FRPSOLFDWHGZLWKPHQVWUXDOF\FOHVDQGDOOWKDWWRR           0RWLYDWLRQDO&OLPDWHLQ6SRUWV4XHVWLRQQDLUH
     $QG,WKLQNWKLVDWKOHWH, PVRUU\WKLVVWXGHQWZDV       9,'(2*5$3+(5, PVRUU\&DQ\RXUHSHDW
     YHU\LQWHUHVWHGLQDQ\IHPDOHVWXGHQWWRWKHOLWHUDWXUH       WKDWWLWOH"


                                                    3DJH                                                           3DJH
      4,VWKHUHDGLIIHUHQFHLQFRUWLVRODQGVWUHVV           $77251(<75<21<HV([DPLQDWLRQRIWKH
      UHVSRQVHVEHWZHHQPDOHDQGIHPDOHVRFFHUSOD\HUV"               3V\FKRPHWULF3URSHUWLHVRIWKH3HUFHLYHG0RWLYDWLRQDO
      $77251(<9(52))2EMHFWLRQ                     &OLPDWHLQ6SRUWV4XHVWLRQQDLUH
      7+(:,71(66<HDK\RXNQRZWKLVLV        9,'(2*5$3+(52ND\
      ,ZRXOGQHHGWRUHYLHZWKLV$QGDJDLQLW VEH\RQGP\         -XVWJLYHPHRQHPRPHQW"
      H[SHUWLVHLQORRNLQJDWJHQGHUGLIIHUHQFHVLQFRUWLVRO         7+(:,71(66<RXPD\ZDQWWRWDNHWKLV
      %<$77251(<75<21                                              KRPHIRUEHGWLPHUHDGLQJWRQLJKWULJKW
      46R, PDOLWWOHSX]]OHG<RXVDLGWKDW\RX UH         $77251(<75<217KLVLVQRZPDUNHGDV
      RQWKHFRPPLWWHHWRUHYLHZWKHVWXGHQWV ZRUN'LG,           ([KLELW,EHOLHYH
     JHWWKDWDERXWULJKW"                                          
     $,KHOSHGZLWKWKLVSURMHFWEXWWKLVZDVKHU           :KHUHXSRQ([KLELW$UWLFOHZDV
     WKHVLVUHVHDUFKDQGVKHDOVRKDGVRPH,WKLQN                 PDUNHGIRULGHQWLILFDWLRQ
     SV\FKRORJLFDOPHDVXUHV7KLVKDVEHHQDZKLOH,WZDV        
     SXEOLVKHGLQEXWVKHZDV, PQRWHYHQVXUH,         %<$77251(<75<21
     FRXOGWHOO\RXZKDW\HDUVKHJUDGXDWHGRULIWKLVZDV          4+DYH\RXVHHQWKLVGRFXPHQWEHIRUH"
     ULJKWRYHUEXW\RXNQRZTXLWHDELWRIWLPHKDV              $,KDYH,W VEHHQDZKLOHVLQFH,ORRNHGDWLW
     SDVVHG,ZRXOGKDYHWRJREDFNDQGUHYLHZWKLVDQGLW        EXW\HDK,KDYH
     LVQRWP\SULPDU\DUHDRIH[SHUWLVHEXW,ZDVDQDXWKRU       4$QGZKDWLVWKHSXUSRVHRIWKLVGRFXPHQW"
     RQWKLVSDSHU                                                 $6RWKHUHZDVDPHDVXUHDSHUFHLYHGPRWLYDWLRQDO
     46RZKHQ\RXVD\\RX UHDQDXWKRUGRHVWKDWPHDQ      FOLPDWHRIVSRUWVTXHVWLRQQDLUH$QG0DULD1HZWRQLQ
     \RXZURWHSRUWLRQVRILWRUMXVWVXSHUYLVHGLW"                KHUGLVVHUWDWLRQVKHZDQWHGWRH[SDQGRQWKHPHDVXUH
     $<RXNQRZLWYDULHVDQG,ZRXOGKDYHWRJREDFN       DQGFUHDWHOLWWOHVXEVFDOHVZLWKLQZKDWZHFDOOWDVNLQ
     WRWKLVRQH+RQHVWO\LQUHYLHZLQJLW,KDYHQ W             HJRLQYROYLQJFOLPDWHV$QG,WKLQNVKHUDQLWZLWKD
     ORRNHGDWWKLVLQDORQJWLPH                                 FRXSOHRIVDPSOHVKHUHMXVWWREHDEOHWRWHVWWKH


                                                                                            3DJHVWR
                Case: 22-5807
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                                                     3DJH                                                          3DJH
      SV\FKRPHWULFVRIWKHPHDVXUH                                   46RMXVWWREHFOHDU\RXDUHQRWDQH[HUFLVH
      4:K\ZDVWKLVRQHOLPLWHGWRIHPDOHDWKOHWHV"           SK\VLRORJLVWULJKW"
      $,W VDJRRGTXHVWLRQ:K\GRHVDQ\UHVHDUFKHU         $,DPQRW
      LQFOXGHVIHPDOHVPDOHVDQGRUERWK"0DULDKDGDFFHVV          4$QG\RXDUHQRWDPHGLFDOGRFWRU
      WRDV,UHPHPEHUDPDVVLYHWRXUQDPHQWYROOH\EDOO             &RUUHFW"
      WRXUQDPHQWDQGFRXOGJHWWKHJURXSRQERDUGDQGEHDEOH         $7KDW VFRUUHFW
      WRDFFHVVDORWRIWHDPVEHFDXVHUHVHDUFKLVKDUGWRGR        4$QG\RXGRQ WKDYHH[SHUWLVHLQWKHVFLHQFHRI
      <RXUHDOO\QHHGWREHDEOHWRDFFHVVDQXPEHURIWHDPV          SHUIRUPDQFHDGYDQWDJHGR\RX"
      DQGVKHZDVDEOHWRGRWKDWZLWKWKLVVWXG\                    $1R
     46R\RXGRQ WNQRZZK\LWZRXOGEHVHSDUDWHGWR        4$QG\RXKDYHQRH[SHUWLVHLQVSRUWVVDIHW\,V
     EHRQO\IRUIHPDOHDWKOHWHV"                                   WKDWWUXH"
     $,WKLQNVKHZDVRQO\LQWHUHVWHGLQYROOH\EDOO         $<HVWUXH
     DQGLQSDUWLFXODUIHPDOHV                                     4$QGGR\RXKDYHDQ\H[SHUWLVHLQFRQFXVVLRQ
     4,VWKHUHDGLIIHUHQFHLQYROOH\EDOOEHWZHHQ           PDQDJHPHQW"
     IHPDOHDQGPDOHDWKOHWHV"                                      $1R
     $77251(<9(52))2EMHFWLRQ                    4'R\RXKDYHDQ\H[SHUWLVHLQ$&/LQMXULHV"
     7+(:,71(66$GLIIHUHQFHLQZKDWVHQVH"        $1R
     %<$77251(<75<21                                             4+DYH\RXGRQHDQ\UHVHDUFKVWXGLHVRUSDSHUV
     4,QSV\FKRPHWULFSURSHUWLHVWKHSHUFHLYHG             UHJDUGLQJWUDQVJHQGHUIHPDOHVLQVSRUWV"
     PRWLYDWLRQDOFOLPDWH"                                          $1R
     $2ND\                                                 4+DYH\RXWDXJKWDQ\FODVVHVRQWKDW"
     6RZKLOHVKHGLGQ WORRNDWWKDWLQWKHVWXG\         $1RWOLNHDFRPSOHWHFRXUVHEXWLW VDWRSLF
     EHFDXVHVKHRQO\KDGIHPDOHVVRZHMXVWKDYHWRORRNDW       WKDWZHFDQFRYHULQRXUXQGHUJUDGXDWHVFRUHSV\FKRORJ\
     WKHEURDGHUOLWHUDWXUHULJKW$QGWKHWKHRU\                 FODVV


                                                     3DJH                                                          3DJH
      SUHGLFWLRQVKROGXSLQWKDWDWKOHWHVFDQSHUFHLYHWKH           4$QGVRLVWKDWDFODVVWKDW\RXWHDFK"
      FOLPDWHDVYHU\WDVNLQYROYLQJRUHJRLQYROYLQJULJKW         $<HV
      $QGLQVRPHVDPSOHVDWKOHWHV\RXNQRZPDOHVRUIHPDOHV        4$QGZKDWH[DFWO\KDYH\RXFRYHUHGZLWKUHJDUGWR
      PD\VHHLWRQHZD\RUDQRWKHUPRUHEXWWKHSUHGLFWLRQV         WUDQVJHQGHUIHPDOHVLQWKDWFODVV"
      MXVWDOLJQFRQVLVWHQWO\WKDWLI\RXSHUFHLYHWKHWDVN           $6RODWHWKLVVHPHVWHU, PWHDFKLQJWKHFODVVDQG
      LQYROYLQJFOLPDWHDWOHDVWWRJRRGWKLQJV/LNHSHRSOH         ODWHULQ$SULOZHKDYHDWUDQVDWUDQVIHPDOHZKRLV
      KDYHPRUHIXQDQGWU\KDUGHUWKH\ UHPRUHFRPPLWWHGWR         DUHWLUHGDWKOHWHDQGFRDFKFRPLQJLQIRUWKDWGD\DQG
      WKHLUVSRUWVWKH\KDYHEHWWHUUHODWLRQVKLSVZLWK               ZHZLOOSUREDEO\WDNHDSDUWLDOFODVVEHIRUHWKDWMXVW
      RWKHUVWKRVHNLQGRIWKLQJV                                   WRKDYHVRPHGLVFXVVLRQVDQGOD\VRPHJURXQGZRUN,WLV
     4$OOULJKW                                            DQHGXFDWLRQDOVHVVLRQZKHUHZHMXVWZHKDYH
     $77251(<75<21, PILQLVKHGZLWKWKDW         VWXGHQWVZKRPD\EHZHOOLQIRUPHGDQGSDVVLRQDWHDERXW
     H[KLELWWKHQ/HWPHWKHQDVN\RXVRPHRWKHUTXHVWLRQV       WUDQVDWKOHWHVLQVSRUWDQGZHKDYHKDGRWKHUVWXGHQWV
     %<$77251(<75<21                                             ZKRKDYHKDGYHU\OLWWOHH[SRVXUH6RLW VQRWDELJ
     4,V\RXUH[SHUWLVHOLPLWHGWRVSRUWVSV\FKRORJ\"       LW VQRWDELJFKXQNRIWKHFODVVULJKWLW VD
     $6SRUWVSV\FKRORJ\LVDEURDGWHUP\RXNQRZEXW      FODVVRUWZRWKDWZHWRXFKRQLW
     \HV,ZRXOGVD\WKDWLVP\H[SHUWLVH,GRQ WNQRZLI        4$VLGHIURPDQ\UHVHDUFKKDYH\RXDWWHQGHGDQ\
     \RXZRXOGFRQVLGHU\RXWKVSRUWDVDSDUWRIWKDW              VHPLQDUVRUFODVVHVRQWUDQVJHQGHUIHPDOHVLQVSRUWV"
     4, PVRUU\,PLVVHGZKDW\RXVDLG                   $<HV7\SLFDOO\DWRXUQDWLRQDOFRQIHUHQFHWKH
     $7KH\RXWKVSRUW                                      $VVRFLDWLRQRI$SSOLHG6SRUWV3V\FKRORJ\\RXNQRZ
     42K\RXWKVXSSRUW"                                    WKDW VDMDPSDFNHGVFKHGXOHDQGSUREDEO\PRVW
     $<HVLQSDUWLFXODUZLWKLQVSRUWVSV\FKRORJ\P\        FRQIHUHQFHV, OOVLWLQRQDVHVVLRQ6RPHWLPHVWKH\
     IRFXVKDVEHHQRQ\RXWK                                       WKH\ZLOOGRDZHELQDUWKLQJVOLNHWKDW6RRYHU
     42ND\                                                 WKH\HDUV\HV,KDYHSDUWLFLSDWHGLQWKRVH
     $1RWH[FOXVLYHO\                                      4+DYH\RXUHYLHZHGDQ\OLWHUDWXUHRQWUDQVJHQGHU


                                                                                             3DJHVWR
                Case: 22-5807
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                                                     3DJH                                                          3DJH
      SDUWLFLSDWLRQLQVSRUWVWRSUHSDUH\RXURSLQLRQLQWKLV         WKHUH
      FDVH"                                                           9,'(2*5$3+(5,ZRXOGQRWHWKDWZH
      $/LNHRYHUWKHODVWWZR\HDUV, YHUHDGVRPH,        JDLQHGDQRWKHUSDUWLFLSDQW,IWKH\ZRXOGLGHQWLI\
      FRXOGQ WSRLQWRULGHQWLI\KH\WKLVLVH[DFWO\WKH            WKHPVHOYHVIRUWKHUHFRUG
      OLWHUDWXUH, YHUHDG-XVWVRPHRQHZKR VUHDGLQJRIWHQ         $77251(<3(/(7*RRGPRUQLQJ0\QDPH
      LQP\\RXNQRZZLWKLQVSRUWVSV\FKRORJ\                   LV9DOHULD3HOHWGHO7RURIRU&RROH\/3IRU3ODLQWLII
      4<RXUELEOLRJUDSK\GRHVQ WLQFOXGHDQ\SDSHUV           %3-
      VWXG\LQJWUDQVJHQGHUDWKOHWHVGRHVLW"                         7+(:,71(667KDQN\RXIRUWKDWWLPH
      $1R                                                    7KH+RJXH)U\DQG)U\,KDYHWRUHYLHZWKDW
     4$QGKDYH\RXGRQHDQ\VWXGLHVRUSDSHUV               SDSHU,FDQ WUHPHPEHULIWKHUHZHUHDQ\JHQGHU
     UHJDUGLQJWKHKDUPWRPRWLYDWLRQRQIHPDOHVZKHQ               GLIIHUHQFHV7KHVHZHUH0LGGOH6FKRRONLGVZKR
     ELRORJLFDOER\VRUWUDQVWUDQVJHQGHUJLUOVDUHDOORZHG         ZHUH
     WRFRPSHWHRQJLUOVWHDPV"                                     %<$77251(<75<21
     $77251(<9(52))2EMHFWLRQ                    4/HWPHVWRS\RXIRUMXVWDVHFRQG&DQ\RXWHOO
     7+(:,71(66,KDYH                           PHZKDWSDJHWKDW VRQ"
     %<$77251(<75<21                                             $<HVSDJHWKHVHFRQGIURPWKHODVW
     4'R\RXPHDQKDYHQRW"                                 UHIHUHQFH
     $, PVRUU\KDYHQRW                                  4$QGZKLFKRQHLVLWDJDLQ"
     4+DYH\RXWDXJKWDQ\FODVVHVRQWKDWWRSLF"            $7KH+RJXH)U\DQG)U\
     $77251(<9(52))2EMHFWLRQ                    43DJH\RXVDLG"
     7+(:,71(66,KDYHQRW                       $<HVSDJHWKHVHFRQGUHIHUHQFHIURPWKH
     %<$77251(<75<21                                             ERWWRPRIWKHSDJH
     4+DYH\RXDWWHQGHGDQ\VHPLQDUVRUFODVVHVRQ          4, PVHHLQJ:DOOLQJ0'
     WKDWWRSLF"                                                    $2ND\6RUU\


                                                     3DJH                                                          3DJH
      $77251(<9(52))2EMHFWLRQ                     40D\EHWKHSDJLQDWLRQLVGLIIHUHQWRQ\RXUFRS\
      7+(:,71(66,KDYHQRW                         $, PVRUU\$UH\RXORRNLQJDWWKHH[SHUWUHSRUW
      %<$77251(<75<21                                              DQG'HFODUDWLRQ"
      4+DYH\RXSUHSDUHGDQ\SDSHUVUHJDUGLQJ                 4<HV,DP
      GLIIHUHQFHVIRUPRWLYDWLRQEHWZHHQPDOHVDQGIHPDOHV"           $2ND\
      $77251(<9(52))2EMHFWLRQ                     ,WVKRXOGEHWKHVDPH,I\RXJRLQ
      7+(:,71(66<HV                               DOSKDEHWLFDORUGHU+RJXHZLWKDQ++2*8(
      %<$77251(<75<21                                              42ND\
      42ND\                                                  +HUHLVWKHLVVXH,VHH+RJXHHWFHWHUD
     :HOOZKDWDUHWKRVH"                                 $<HV
     $2ND\                                                 47KHUH VWZRE\+RJXH:KLFK\HDU"7KH\ UHERWK
     ,WKLQNLQRKJRVKLQVRPHWLPHVLQ          
     SDSHUVZH\RXNQRZZHVHHLIWKHUHZHUHJHQGHU               $7KH
     GLIIHUHQFHVLQWHUPVRIPRWLYDWLRQ:KHQWKHUHDUH            4:KDWLVWKHWLWOH"
     GLIIHUHQFHVWKH\ UHVOLJKWDQGZHDUHEDFNWRWKDWEHOO        $7KHWLWOHLVWKH'LIIHUHQWLDO,PSDFWRI
     FXUYHPHDQWKLQJWKDWWKHUHPLJKWEHDVOLJKWGLIIHUHQFH       0RWLYDWLRQDO&OLPDWHRQ$GROHVFHQWV3V\FKRORJLFDODQG
     EXWWKH\GRQ WLPSDFWWKHK\SRWKHVHVLQWKHVHQVHWKDW         3K\VLRORJLFDO6WUHVV5HVSRQVHV
     LQWKHVHQVHWKDWVRPHRQHKDVDKLJKWDVN                  $77251(<75<21,WLVRQSDJHWKUHH
     RULHQWDWLRQDQGRUSHUFHLYHVDWDVNLQYROYLQJFOLPDWHRU       &DQ\RXEULQJWKDWXS-DNH",WLVXQGHU
     FDULQJFOLPDWHZKHWKHU\RXDUHPDOHRUIHPDOHWKRVH           9,'(2*5$3+(5,ZDVWU\LQJWRORRNIRU
     SUHGLFWLRQVKROGXSLQWHUPVRIWKHRXWFRPHV                  LWWRR
     4$UHWKHUHSDSHUVLQ\RXUELEOLRJUDSK\WKDWZRXOG      $77251(<9(52)),WKLQNWKHUHLVWZR
     VKRZWKDWWREHWKHFDVHWKDWLW VWKHVDPHIRUER\VDQG       SDJHV6RWKHUHLVDELEOLRJUDSK\WKDWGLUHFWO\
     JLUOV)HHOIUHHWRWDNHDORRNDWLW<RXKDYHJRWLW       IROORZVWKHH[SHUWUHSRUWDQGWKHQWKHUHLVWKH


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                                                    3DJH                                                          3DJH
      FLWDWLRQVWKDWDUHHQFRPSDVVHGLQ([KLELW$WKHILUVW          GLIIHUHQFHEHWZHHQWKHPWKDWLV"
      SDJH                                                        $<HDK,WKLQNZLWKDQ\RIWKHVHVWXGLHV
      $77251(<75<217KDQN\RX-XOLHIRU           KRQHVWO\,MXVWKDYHWRJREDFNDQGVHHLIWKHUHZHUH
      KHOSLQJXVRXWZLWKWKDW,VHHLWQRZ, PVRUU\IRU         DQ\PLQRUOLWWOHGLIIHUHQFHVEHWZHHQJHQGHUEXWDFURVV
      WKDWFRQIXVLRQ                                                 JHQGHUWKHUHVXOWVDUHFRQVLVWHQW
      %<$77251(<75<21                                              42ND\$OOULJKW
      4<RXZHUHJRLQJWRH[SODLQWKDWSDSHU                  /HWPHDVN\RXKDYH\RXSUHSDUHGDQ\SDSHUV
      $, PVRUU\'LG\RXDVNPHWRH[SODLQWKHSDSHU"       UHJDUGLQJPRWLYDWLRQVIRUELRORJLFDOER\VLGHQWLI\LQJDV
      4<HV<RXZHUHVWDUWLQJWRWDONDERXWWKDWVR,       JLUOV"
     ZRXOGDSSUHFLDWHLI\RXFRXOGWDONDERXWWKDW"                 $,KDYHQRW
     $6RLQWKLVVWXG\0LGGOH6FKRRONLGVDUH               4+DYH\RXSUHSDUHGDQ\SDSHUVUHJDUGLQJ
     UHFUXLWHGWRSDUWLFLSDWHLQDQLQWHUYHQWLRQ7KH\FRPH        WUDQVJHQGHUJLUOV"
     LQDQGWKH\OHDUQDQDFWLYLW\$QGWKH\ UHDVVLJQHG       $,KDYHQRW
     UDQGRPO\DVVLJQHGWRHLWKHUFDULQJWDVNLQYROYLQJ              4+DYH\RXVWXGLHGWKDWLVVXH"
     FOLPDWHRUDQHJRLQYROYLQJFOLPDWH$QGDVWKH\              $1R
     SDUWLFLSDWHDFURVVWKHLQWHUYHQWLRQVWKHLUFRUWLVROLV        4:RXOGWKDWEHVRPHWKLQJZRUWKVWXG\LQJ"
     PHDVXUHG&RUWLVROLVDVWUHVVKRUPRQHDQGLWFDQ             $,WFRXOG, PVRUU\&RXOG\RXUHSHDWWKDW"
     LQGLFDWHWKDWSHRSOHDUHH[SHULHQFLQJKLJKHUVWUHVV           40RWLYDWLRQUHJDUGLQJWUDQVJHQGHUJLUOV"
     $QGVRLQWKLVVWXG\ZHIRXQGWKDWDWKOHWHVLQWKH             $<HVLWFRXOGEHYDOXDEOH
     FDULQJWDVNHQYLURQPHQWFOLPDWHWKHLUFRUWLVROOHYHOV         4$VIDUDV\RXNQRZKDVDQ\RQHVWXGLHGWKDW"
     DFWXDOO\GHFUHDVHGULJKWVXJJHVWLQJWKDWWKH\ZHUHQRW       $<HDK,\RXNQRZ,KHDUSHRSOHVD\LQJ\RX
     VWUHVVHG,QDGGLWLRQWKH\KDGPRUHIXQWKH\LQGLFDWHG       NQRZWKDWWKHUHLVMXVWJRLQJWREHPRUHDQGPRUH
     WKH\WULHGKDUGHUWKH\PDGHPRUHSURJUHVVOHDUQLQJWKH        UHVHDUFKFRPLQJRXW,WKLQNWKHUHLVLVRODWHGSDSHUV
     DFWLYLW\WKH\H[SHULHQFHG\RXNQRZOHVVVKDPHOHVV         RXWWKHUHSUREDEO\WKDWSHRSOHKDYHKDGDORRNDWRU


                                                    3DJH                                                          3DJH
      HPEDUUDVVPHQWOHVVDQ[LHW\7KDWLVZKDW, PUHFDOOLQJ        EXW,FRXOGQ WQDPHWKHPULJKWQRZIRU\RX
      IURPPHPRU\RND\7KHUHDUHSUREDEO\DFRXSOHRIRWKHU        4+DYH\RXSUHSDUHGDQ\SDSHUVUHJDUGLQJFRDFKLQJ
      WKLQJV                                                         WUDQVJHQGHUJLUOVYHUVXVELRORJLFDOJLUOV"
      $QGLIWKH\SDUWLFLSDWHGLQDQHJRLQYROYLQJ         $,KDYHQRW
      FOLPDWH\RXJRWWRIOLSDOORIWKRVH7KH\GLGQ WKDYH         $77251(<9(52))2EMHFWLRQ
      DVPXFKIXQGLGQ WLQGLFDWHWKDWWKH\ZDQWHGWR                %<$77251(<75<21
      FRQWLQXHZLWKWKHDFWLYLW\DQGWKHLUFRUWLVROOHYHOV            4$UH\RXDZDUHRIDQ\VWXGLHVWKDWGRDGGUHVV
      ZHUHVLJQLILFDQWO\KLJKHUWKDQWKRVHLQWKHRWKHUJURXS        WKDW"
      $QGWKHUHVXOWVZHUHFRQVLVWHQWIRUPDOHVDQGIHPDOHV          $77251(<9(52))2EMHFWLRQ
     :KDW,ZRXOGKDYHWRJREDFNDQGFKHFNLVZHUHWKHUHDQ\       7+(:,71(661R
     JRLQJEDFNWRWKHVHVOLJKWPHDQGLIIHUHQFHVZHUH          %<$77251(<75<21
     WKHUHDQ\GLIIHUHQFHVEHWZHHQWKHPDOHVDQGIHPDOHVLQ         4+DYH\RXSUHSDUHGDQ\SDSHUVUHJDUGLQJWKH
     WKHRWKHUYDULDEOHV$QGWKDW,FRXOGQ WWHOO\RX             RSSRUWXQLW\IRUFROOHJLDWHDWKOHWLFVFKRODUVKLSV
     ZLWKRXWUHYLHZLQJLW%XWLQJHQHUDOWKHSXUSRVHRI          PRWLYDWHVVWXGHQWDWKOHWHV"
     WKHVWXG\ZDVWRVHHKRZWKLVHQYLURQPHQWDIIHFWVNLGV         $+DYH,SUHSDUHGDQ\SDSHUV"
     DQGWKHUHVXOWVZHUHVLPLODUIRUPDOHVDQGIHPDOHV            47KDWLVP\TXHVWLRQ
     4$QGZKDWDJHJURXSZDVWKDW"                          $1R
     $7KLVZDV0LGGOH6FKRROVRVL[VHYHQDQGHLJKW       4:RXOG\RXDJUHHWKDWWKHRSSRUWXQLW\IRU
     JUDGHUV,WKLQNLWOHDQHGKHDYLHURQWKHVL[JUDGH          FROOHJLDWHDWKOHWLFVFKRODUVKLSVGRHVLQIDFWPRWLYDWH
     VHYHQJUDGHSDUWLFLSDQWVEXWWKHPHDQDJHZDVSUREDEO\        WKHVWXGHQWDWKOHWHV"
                                                                 $6RPHVWXGHQWDWKOHWHV
     4$Q\RWKHUSDSHUVLQ\RXUELEOLRJUDSK\WDONLQJ         41RZ\RXTXDOLI\WKDWDVVRPH$Q\LGHDZKDW
     DERXWZKHWKHURUQRWWKHUHLVDGLIIHUHQFHEHWZHHQPDOHV       WKDWSHUFHQWDJHPLJKWEH"
     DQGIHPDOHVDQGKRZWKH\DUHPRWLYDWHGLIWKHUHLVDQ\        $1R


                                                                                            3DJHVWR
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                                                     3DJH                                                         3DJH
      4$UH\RXIDPLOLDUZLWK7LWOH"                         WKHLUSRWHQWLDORUKHOSWKHPSHUIRUPEHWWHU,WLVD
      $77251(<9(52))2EMHFWLRQ                     PL[RIWKHRUJDQL]DWLRQ7KHUHDUHSHRSOHZKRDUH
      7+(:,71(66<HVWRVRPHGHJUHH                IDFXOW\PHPEHUVDQGSHRSOHWKDWDUHLQYROYHGLQWKH
      %<$77251(<75<21                                              WHDPDUHLQYROYHGLQSURJUDPVEXWWKHUH VDOVRSHRSOH
      47HOOPHZKDW\RXUXQGHUVWDQGLQJRI7LWOHLVLQ       WKDWDUHWUDLQHGRQWKHFOLQLFDOVLGHRUWKDWDUHPRUH
      WKHFRQWH[WRIJLUOVVSRUWV                                    IRFXVHGRQVRUWRIFRXQVHOLQJDVSHFWVRIVSRUWV
      $77251(<9(52))2EMHFWLRQ                     SV\FKRORJ\
      7+(:,71(660RUHRSSRUWXQLWLHVDUH             4$UH\RXDFWXDOO\DPHPEHURIWKHRUJDQL]DWLRQ"
      SURYLGHGWRJLUOVWRWKHVDPHGHJUHHDVER\VDQGWKDW           $<HV,DP
     IDLUQHVVLVJLYHQDFURVVRWKHUDVSHFWVRIUHVRXUFHVDQG        41RZRQWKHZHEVLWHLWVDLGWKDWWKHUHLV
     VRRQIDFLOLWLHVDQGWKLQJVOLNHWKDW                        PHPEHUVLQFRXQWULHV,VWKDWDERXWULJKWWR\RXU
     %<$77251(<75<21                                             NQRZOHGJH"
     4+DYH\RXHYHUZULWWHQDQ\SDSHUVRQ7LWOH"          $7KDWVRXQGVULJKW
     $1R                                                   46R,GLYLGHGWKDWRXW7KDWZRXOGEHSHU
     4+DYH\RXZULWWHQDQ\SDSHUVRQFROOHJH                FRXQWU\7KDWGRHVQ WVRXQGYHU\ELJSHUFRXQWU\6R
     VFKRODUVKLSVIRUJLUOV"                                        OHWPHDVN\RXGR\RXNQRZKRZPDQ\RIWKRVHDUH
     $2QFROOHJHVFKRODUVKLSVIRUJLUOV"                    PHPEHUVDUHLQWKH8QLWHG6WDWHV"
     4<HV                                                  $,GRQ WNQRZ,ZRXOGJXHVVLW VKHDYLO\
     $1R                                                   ZHLJKWHGLQWKH86,ZRXOGVD\RYHUKDOI,WKLQN
     46R\RXZRXOGQ WEHDQH[SHUWRQWKDWZRXOG\RX"      WKHUH VDORWRIFRXQWULHVWKDWPLJKWKDYHRQHSHUVRQRU
     $1R                                                   VR6RHYHQWKRXJKFRXQWULHVDUHUHSUHVHQWHG\RX
     4+DYH\RXVXEPLWWHGDQ\FRPPHQWVWRWKH                NQRZVRPHRIWKHPDUHVPDOODQGPD\KDYHDUHDOO\VPDOO
     'HSDUWPHQWRI(GXFDWLRQRQSURSRVHGUXOHVRUUHJXODWLRQV       SDUWLFLSDWLRQULJKW
     XQGHU7LWOH"                                                 42ND\)DLUHQRXJK


                                                     3DJH                                                         3DJH
      $1R                                                    6R\RXPHQWLRQLQWKLVSDUDJUDSKWKH
      4/HWPHDVN\RXDTXHVWLRQDOLWWOHELWGLIIHUHQW       FHUWLILFDWLRQH[DP6RWKHUHLVDFHUWLILFDWLRQH[DP
      WKDQWKHRQHHDUOLHU&DQWKHRSSRUWXQLW\IRU                  ,VWKDWULJKW"
      VFKRODUVKLSVIRUJLUOVFROOHJLDWHVSRUWVEHDPRWLYDWRU         $<HV,W VSUHWW\QHZ7KHUHKDVEHHQD
      IRUJLUOVWRFRPSHWHLQJLUOVVSRUWV"                           FHUWLILFDWLRQ7KHIDFWWKDWLWLVH[DPEDVHGLVDQHZ
      $,WFDQEHIRUVRPHDWKOHWHV                           GLUHFWLRQRYHUWKHODVWIHZ\HDUV
      46RLQSDUDJUDSKRI\RXUH[SHUWUHSRUWZKLFK        4:KDWLVWKHSXUSRVHRUPHDQLQJRIWKDW
      LV([KLELWLWVD\VRQWKHQDWLRQDOOHYHO, YHVHUYHG         FHUWLILFDWLRQ"
      ZLWKWKH$VVRFLDWLRQRI$SSOLHG6SRUWV6SRUW                $,W VFDOOHG&03&&HUWLILHG0HGLFDO3HUIRUPDQFH
     3V\FKRORJ\$$63DVDPHPEHURIWKH3URJUDP5HYLHZ            &RQVXOWDQWDQGLWLVJRRGIRUWKHILHOGEHFDXVHWKH
     &RPPLWWHH7KDWLVFRUUHFWLVQ WLW"                         SHRSOHZKRKDYHWKDWFUHGHQWLDOLWGHVLJQDWHVVRUWRI
     $<HV                                                  \RXNQRZDFFHSWDEOHOHYHORIFRPSHWHQFHWRJRRXWDQG
     4,W VP\XQGHUVWDQGLQJWKDWWKHSXUSRVHRIWKDW        WRZRUNZLWKDWKOHWHVDQGFRDFKHV6RWKHUHLVDQXPEHU
     RUJDQL]DWLRQLVSULPDULO\WRKHOSWUDLQFRDFKHV               RIFRXUVHVSHRSOHKDYHWRKDYH7KH\KDYHWRKDYHKRXUV
     ,VWKDWIDLU"                                         RIWUDLQLQJZRUNLQJGLUHFWO\ZLWKDWKOHWHV$QGWKHQ
     $1RWKDWZRXOGEHQRWDFFXUDWH                       ZKHQWKH\FRPSOHWHDOOWKRVHUHTXLUHPHQWVWKH\WDNH
     47HOOPHWKHSXUSRVHRILW                            WKH\WDNHDQH[DP
     $2ND\                                                 4+DYH\RXWDNHQWKHH[DP"
     ,WLVDQRUJDQL]DWLRQRISURIHVVLRQDOVWKDWZRUN      $, P, PDERXWWRLQWKHFRPLQJPRQWKV$
     LQWKHDUHDRIVSRUWDQGH[HUFLVHSV\FKRORJ\DQGWRVD\        OLWWOHEDFNVWRU\RQWKLVLVWKDWWKHFHUWLILFDWLRQ
     WKHUH VSUREDEO\WZRDLPVWKDWWKHVHSURIHVVLRQDOVDUH        RULJLQDOO\FDPHRXWDV,ZDVZUDSSLQJXSP\GRFWRUDO
     WU\LQJWRKHOSSHRSOHDZLGHYDULHW\RISHRSOHDFURVV         WUDLQLQJDQG,ZRXOGKDYHQHHGHGWRVWD\DQRWKHU\HDU
     WKHOLIHVSDQUHDSRIIWKHEHQHILWVIURPSDUWLFLSDWLRQLQ       WRJHWWKHRWKHUUHTXLUHPHQWVWKDW,ZDVPLVVLQJDQGP\
     SK\VLFDODFWLYLW\DQGDOVRKHOSSHRSOHSHUIRUPXSWR           GRFWRUDODGYLVRUDWWKHWLPHVDLG\RXNQRZ\HDK, G


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                                                     3DJH                                                         3DJH
      MXVWJRDQGJUDGXDWHDQGJHWUROOLQJLQ\RXUFDUHHU            4'LG\RXZDQWWRZLQ"
      $QGVKHZDVQ WVXUHLIWKLVZRXOGWDNHRIIRUKRZELJD         $,GLG
      GHDOLWZRXOGEHDQGVRRYHUWKH\HDUVLWKDVEHHQVRUW        4$QGVRZHUH\RXOHW VJREDFNWRWKHWHUPV
      RIVORZWRWDNHRII,KDYHIRUH[DPSOHSHRSOHFRPH          \RXDOUHDG\PHQWLRQHGOLNHHJRRULHQWHGDQGWDVN
      DQGVD\GR\RXKDYHWKLV$$63&HUWLILFDWLRQXQWLOWKH           RULHQWHGULJKW"
      ODVW\HDURUWZR6R,WKLQNWKHSXEOLFLVEHFRPLQJ           $8KKXK \HV \HV
      \RXNQRZPRUHDZDUHRILW                                     4$QGVRWHOOPHMXVWLQOD\PDQ VWHUPVZKDWWKRVH
      ,ZDVDVNHGWRZULWHWKHFKDSWHULQWKH              PHDQ
      (VVHQWLDOV7H[WZKLFKLVUHDOO\WKHWH[WIRUSHRSOHWR         $2ND\
     SUHSDUHIRUWKHH[DP$QGVR,ZDVDVNHGWRZULWHWKH         7KH\ZHUHGHYHORSHGLQDWKHRU\E\DJX\QDPHG
     PRWLYDWLRQFKDSWHUDNH\FKDSWHURQPRWLYDWLRQ                -RKQ1LFKROOVDQGKHVDLGZKDWKHZDVUHDOO\WKH
     WKHRULHV$QGVRWKHUH VWKLVGRXEOHEOLQGV\VWHPRQ          TXHVWLRQKHZDVWU\LQJWRDGGUHVVLVZKDWVKRXOGZHEH
     ZULWLQJRQHRIWKHFKDSWHUVWKDW,QHHGHGWRZDLWORQJHU       GRLQJLIZHDUHWU\LQJWRKHOSHYHU\DWKOHWHUHDFKWKHLU
     WRDFWXDOO\WDNHWKHH[DP%XWFXUUHQWO\, PDQ               RZQSRWHQWLDO$QGVRKLVWKHRU\LWKDVWKUHHIDFHWVWR
     DSSURYHGPHQWRUWRWUDLQVWXGHQWVZKRDUHVHHNLQJWKH          LW2QHLVWKHJRDORULHQWDWLRQDQGWKRVHUHIHUWR\RXU
     FHUWLILFDWLRQ                                                 SHUVRQDOGHILQLWLRQRIVXFFHVV$QGVRVRPHSHRSOH
     4%XW\RXGRQ WKDYHWKHFHUWLILFDWLRQDWWKLV          KHLGHQWLILHGWZRWDVNRULHQWDWLRQDQGHJR$QGSHRSOH
     SRLQW                                                         ZKRKDYHDKLJKWDVNRULHQWDWLRQWKH\UHDOO\IHHOPRVW
     &RUUHFW"                                              VXFFHVVIXOZKHQWKH\FDQZDONDZD\NQRZLQJWKH\JDYH
     $5LJKW-XVWDVDPHQWRU,KDYH,UHFHLYHG      WKHLUEHVWHIIRUWDQGWKH\ UHIRFXVHGRQWKHLU
     DOOWKHWKXPEVXSRQHYHU\RQ\RXNQRZ\RX            LPSURYHPHQWRYHUWLPH%XWWKDWLVZKHUHJHQXLQH
     VXEPLWDSDFNHWRIPDWHULDOVVKRZLQJ\RXKDYHDOOWKH          IHHOLQJVRIVXFFHVVFRPH
     FUHGHQWLDOVDQGDOO6R, YHGRQHWKDW,MXVWQHHG          ,QFRQWUDVWVRPHSHRSOHKDYHDVWURQJHJR
     QRZWRVLWIRUWKHH[DP$QG,KDYHQ WGRQHWKDW\HW         RULHQWDWLRQDQGWKH\ UHPRUHIRFXVHGRQKRZWKH\FRPSDUH


                                                     3DJH                                                         3DJH
      ,ZLOOSUREDEO\GRLWRQFHWKHVHPHVWHULVRYHU                WRHYHU\RQHRUDUHWKH\ZLQQLQJ$QGWKH\PD\VD\
      4'R\RXFRQVLGHU\RXUVHOIDQDWKOHWH"                   \HDKJRRGIRUPH,WULHGKDUGZKRFDUHV:KDW,FDUH
      $, PVPLOLQJ,GR                                    DERXWLVKRZGLG,FRPSDUHWRHYHU\RQH'LG,
      42ND\                                                  GHPRQVWUDWHFRQILGHQFH"'LG,ORRNEHWWHUWKDQRWKHUV
      $,ZRUNFORVHO\ZLWKWKH:RPHQ V,QQHU6SRUW            GLG,ZLQ"
      1HWZRUNLQ.DQVDV&LW\DQGWKH\VD\WKDWVKRXOGEHWKH          4$QGFDQVRPHERG\KDYHERWKDQHJRRULHQWDWLRQ
      PDQWUD(YHU\IHPDOHVKRXOGVD\, PDQDWKOHWH, P           DQGDWDVNRULHQWDWLRQ"
      QRWFXUUHQWO\FRPSHWLQJ                                        $<HV7KH\FDQEHKLJKLQERWKKLJKLQRQHDQG
      42ND\                                                  ORZLQDQRWKHU
     :KDWVSRUWVKDYH\RXSDUWLFLSDWHGLQ"                 4$QGZKHQ\RXZHUHSOD\LQJWHQQLVZHUH\RX
     $7HQQLVDQGVRIWEDOOZHUHP\SULPDU\VSRUWV           ZKLFKRQHZHUH\RX"(JRRULHQWHGRUWDVNRULHQWHG"
     4$QGZKHQGLG\RXFRPSHWHLQRUSDUWLFLSDWHLQ         $,WKLQN, YHDOZD\VKDGDKLJKWDVNRULHQWDWLRQ
     WKRVH"                                                         ,MXVWORYHGVSRUWDQGWKHFKDQFHWRFRPSOHWHDQG,
     $6RIWEDOOZDVNLQGRID0LGGOH6FKRROWKLQJDQG,      ZRXOGVD\,KDGDPRGHUDWHHJRRULHQWDWLRQ
     WUDQVLWLRQHGWRWHQQLVDV,KLWKLJKVFKRRODQGFRPSHWHG       4,VRQHEHWWHUWKDQWKHRWKHU"
     WKURXJKKLJKVFKRRODQGFROOHJHDQGWKHQSUREDEO\              $,WGHSHQGVZKDW\RXUDLPLV,IZHZDQW
     WKURXJKP\VVWLOOFRPSHWLQJLQWRXUQDPHQWVDURXQGWKH       DWKOHWHVWRKDYHIXQDQGWRNHHSSOD\LQJDQGWRWU\KDUG
     VWDWH                                                         WRKDYHJRRGUHODWLRQVKLSVZLWKRWKHUVDQGWREHJRRG
     46RDIWHUFROOHJHZHUH\RXVWLOOFRPSHWLQJLQ          VSRUWVWKHQZHVKRXOGWU\WRSURPRWHWDVNRULHQWDWLRQ
     VRPHIDVKLRQ"                                                  EHFDXVHHJRRULHQWDWLRQLVQRWUHODWHGWRWKRVHWKLQJV
     $,ZDV\HDK-XVWRQHRIWKHQLFHWKLQJVDERXW       SUHWW\FRQVLVWHQWO\
     WHDFKLQJDQG\RXKDYHWKDWVXPPHUEUHDN$QGP\IULHQGV       4$QGXQGHU\RXUWKHRU\WKHQVKRXOGZHWU\WR
     HQMR\HGSOD\LQJVRZHZRXOGSOD\LQWRXUQDPHQWVDURXQG         VXSSUHVVHJRRULHQWDWLRQ"
     WKHVWDWH                                                     $1R,WKLQNWKHVHFRQGSDUWRIWKHWKHRU\LV


                                                                                            3DJHVWR
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                                                     3DJH                                                          3DJH
      ZKDWNLQGRIHQYLURQPHQWZHFUHDWHIRURXUDWKOHWHVDQG        SOHDVHVWD\RXWRIWKHZD\JRVLWDWWKHHQGRIWKH
      VRWKHUHVHDUFKLVYHU\VWURQJLQWKLVDUHDVXJJHVWLQJ          EHQFKJRGRZQWRWKHHQGRIWKHFRXUWEHFDXVH, P
      PDQ\EHQHILWVZKHQZHFDQFUHDWHDWDVNDQGDFDULQJ            ZRUNLQJZLWKWKHVHIHZVWDUDWKOHWHV, YHJRWKHUHWKHQ
      FOLPDWHIRUDWKOHWHV6RWKHSUREOHPZLWKWKHFOLPDWH          \HDKLWZRXOGEHGLVFRXUDJLQJ
      IRUDFRDFKLVWKDW\RXUHDOO\QHHGWRSLFNZKDWDP,           4:RXOG\RXDJUHHWKDWUXOHVDUHLPSRUWDQWLQ
      JRLQJWRGREHFDXVH\RXFDQ WGRERWKRULWEHFRPHVD           VSRUWV"
      ZDVKRUDQHXWUDOHQYLURQPHQW6RWKRVHIHDWXUHVRI            $<HV
      HDFKRIWKHFOLPDWHVWKH\ UHUHDOO\LQGLUHFWFRQWUDVW         46R\RXPHQWLRQHG\RXKDYHSOD\HGWHQQLVDQG
      ZLWKRQHDQRWKHU                                               VRIWEDOO$QGZKDWRWKHUVSRUWVDUH\RXIDPLOLDUZLWK"
     4:KHQ\RXVD\\RXDUHDQDWKOHWHZKDWGRHVWKDW       $3OD\HGDOLWWOHELWRIYROOH\EDOOJRLQJWKURXJK
     PHDQWREHDQDWKOHWH"                                         \HDK\RXNQRZ,JUHZXSLQ7H[DVDQGWHQQLVLV
     $<RXNQRZIRUPHLWPHDQVVRPHRQHZKRMXVWORYHV      MXVWD\HDUURXQGVSRUWULJKW
     KDYLQJWKHRSSRUWXQLW\WRGRWKHLUEHVWDQGWRWU\DQG         45LJKW
     LPSURYHDQGWRZDONDZD\RQRQH\RXNQRZWRGD\, P        $6RWKDWLVDORWRIP\H[SHULHQFH0\VRQLVD
     JRLQJWRJRRXWWKHUH, PJRLQJWRJLYHP\EHVWDQG           EDVHEDOOSOD\HUVR, YHZDWFKHGDQDZIXOORWRI
     WRPRUURZ, PJRLQJWRJHWXSDQGJRGRLWDJDLQZKDWHYHU       EDVHEDOODVZHOO
     KDSSHQHGULJKWEHFDXVHWKHUHLVMXVWVRPXFKIXQDQG         4$UH\RXIDPLOLDUZLWKWUDFNDQGFURVVFRXQWU\
     MR\WKDWFRPHVIURPKDYLQJWKDWRSSRUWXQLW\                   HYHQWKRXJK\RXKDYHQ WGRQHLW"
     46RMXVWDV,UHFDOO\RXVDLG\RXGROLNHWRZLQ      $<HDK\HV
     ULJKW"                                                         4$UH\RXIDPLOLDUZLWKIRRWEDOO"
     $,GR                                                 $<HV
     4$QG\RXFDQOLNHWRZLQDQGZDQWWRZLQZKHWKHU       46RKRZDERXWEDVNHWEDOO"
     \RXDUHSHUVRQDOO\HJRRULHQWHGRUWDVNRULHQWHGULJKW"       $<HV
     $$EVROXWHO\,PHDQZKRSOD\VVSRUWVDQG             4:KRLVJRLQJWRJRRQLQWKHILQDOIRXU"


                                                     3DJH                                                          3DJH
      GRHVQ WZDQWWRZLQ,PHDQWKDW VMXVWVRUWRID             $$EVROXWHO\$OLWWOHH[FLWHPHQWKHUHLQWRZQ
      JLYHQ:KDWGRHVZLQQLQJPHDQIRUXVULJKW",VLWD          4<HV6RGRVSRUWVKDYHWREHDWKOHWLFWREH
      FKDQFHIRUPHWRNLQGRISXWP\FKHVWRXWDQGVD\, P           VSRUWV"
      EHWWHUWKDQ\RX,EHDW\RXRULVLWNLQGRID                 $77251(<9(52))2EMHFWLRQ
      FHOHEUDWLRQRIPHEHLQJDEOHWRVD\ER\, YHZRUNHG           7+(:,71(66'RWKH\KDYHWREH
      KDUGDQG,FDQVHH, PLPSURYLQJULJKW                        DWKOHWLF"
      45LJKW%XWLI\RXDUHLQDQHQYLURQPHQWZKHUH         %<$77251(<75<21
      \RXEDVLFDOO\DUHSUHYHQWHGIURPZLQQLQJWKDWZRXOGEH         47KDWLVP\TXHVWLRQ
      YHU\GLVFRXUDJLQJ                                              $2ND\
     5LJKW"                                                ,WKLQNLWMXVWGHSHQGVRQKRZ\RXGHILQH
     $, PQRWDZDUHRIDQ\RIWKRVHHQYLURQPHQWVZKHUH      DWKOHWLF
     \RXDUHSUHYHQWHGIURPZLQQLQJ                                4:HOOWKDW VZKDW, PZRQGHULQJ6RIRUH[DPSOH
     4:HOOZKDWLIWKHFRDFKGRHVQ WOHW\RXSOD\"         DUHYLGHRJDPHVVSRUWV"
     $'RHVWKDWPHDQOLNH\RX UHQRWDVWDUWHURU       $<RXNQRZVRPHXQLYHUVLWLHVDUHFRQVLGHULQJ
     LVWKDWZKDW\RX UHUHIHUULQJWR"                              WKRVH7KH\KDYHVSRUWVWHDPVDQGWKH\DUHFRQVLGHULQJ
     4:HOOLI\RXDUHMXVWDEHQFKZDUPHUZRXOGWKDW      WKDWSDUWRIWKHDWKOHWLFV,W VQRWP\SDUWLFXODUDUHD
     EHGLVFRXUDJLQJWRVRPHSHRSOH"                                RILQWHUHVW
     $<RXNQRZWKLVFRPHVEDFNWRWKHFOLPDWH,ID       42ND\
     FRDFKLVVD\LQJ\RX UHDQLPSRUWDQWSDUWRIWKLVWHDP          6RVRPHVSRUWVDUHVRORDQGVRPHDUHZLWK
     ZKLFKLVRQHRIWKHIHDWXUHVRIDWDVNDQGFDULQJ              WHDPV
     FOLPDWHULJKW\RX UHYDOXDEOH\RXSXVKHYHU\ERG\           ,VWKDWDIDLUVWDWHPHQW"
     \RXURSSRUWXQLWLHVDUHJRLQJWREHFRPLQJ$QGZKDW           $<HVDQGQR$JDLQ,ZRXOGVD\LWLVKRZ\RX
     LW VUHDOO\DERXWLVOHW VGRDOOZHFDQWRKHOS\RX           GHILQHLWULJKW,I\RXDUHJRLQJWRVD\DWUDFNWHDP
     NHHSGHYHORSLQJULJKW,IZHDUHMXVWOLNHKH\             ZLWKWKHEHVWLQGLYLGXDO,ZRXOGVD\WKHUHLVUHOD\V


                                                                                             3DJHVWR
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                                                     3DJH                                                         3DJH
      DQGLWGHSHQGVKRZWKHFRDFKDSSURDFKHVLW$UHZHMXVW        DUHDWHDPDQGZHDUHZRUNLQJWRJHWKHUWREULQJRXWWKH
      DORWRILQGLYLGXDOVGRLQJRXUWKLQJRXWKHUHDUHZHD         EHVWLQHDFKRQHRIXVEXWWKHJRDOLVHYHU\DWKOHWH
      WHDPZRUNLQJWRJHWKHU"                                          UHDFKWKHLUSRWHQWLDO
      4:HOOZKHQ\RXVRWKDWPD\EHLQKLJKVFKRRO       4%XWHYHU\RQHRIWKRVHNLGVRQDWUDFNWHDP
      WKHUHLVWHDPV%XWRXWVLGHRIKLJKVFKRRORUFROOHJH          VWLOOZDQWVWREHWKHEHVWRQWKHWUDFNWHDPDVD
      WKHUHDUHVSRUWV\RXSDUWLFLSDWHLQWKDWIRUH[DPSOHD        JHQHUDOUXOHULJKW"
      PDUDWKRQ\RXFRXOGEHRQDPDUDWKRQDQGVLPSO\\RX UH          $,GRQ WNQRZWKDWWKDWLVQHFHVVDULO\WUXHEXW
      SDUWLFLSDWLQJDVDQLQGLYLGXDOULJKW"                          ,WKLQNWKH\ZDQWWRFRPSHWHDQGWKH\ZDQWWRGRZHOO
      $8KKXK \HV ,DJUHH                                 ,ZRXOGDJUHHZLWKWKDW
     4$QGEXWVRVRPHDWKOHWLFHYHQWVFDQEHGRQH       4,SUREDEO\RYHUVWDWHGWKDWEXWPDQ\RIWKHP
     ZLWKRXWEHLQJRQDWHDP$UHWKHUHRWKHUVWKDW\RXFDQ        DWOHDVWVRPHRIWKHPZDQWWREHWKHEHVWRQWKHWHDP
     WKLQNRIEHVLGHVPDUDWKRQV"                                    WKHIDVWHVWRQWKHWHDPULJKW"
     $6XUH$VSHRSOHJUDGXDWHDQGWKH\FDQUXQ            $<HV
     UDFHV\HDKWKH\FDQSDUWLFLSDWHLQZHLJKWOLIWLQJ            46RWKRVHDUHWKHSHRSOHWKDWDUHFRPSDULQJ
     4$QGDORWRIWKHVHWKLQJV"                        WKHPVHOYHVWRRWKHUVDQGMXVWZDQWWREHVRWKH\
     $7KH\FRXOGKDYH                                  ZRXOGEHHJRFHQWHUHGHJRRULHQWHG
     46RUU\WRLQWHUUXSW\RX*RDKHDG                    ,VWKDWULJKW"%XWQRWQHFHVVDULO\"
     $, PVRUU\7KH\FRXOGVZLP, PMXVWWKURZLQJ       $<HDKQRWQHFHVVDULO\
     RXWDQRWKHURQH                                               42ND\
     4<HDK6RVZLPPLQJLVERWK\RXGRLWDVD         $'R\RXZDQWPHWRFRPPHQWRQLW"
     VROHDVDQLQGLYLGXDOEXWDOVRDVSDUWRIDWHDPLQ        46XUH
     KLJKVFKRRODQGFROOHJHULJKW"                                $2ND\
     $5LJKW                                                ,I,FRXOGMXVWXVHDQH[DPSOH/LNHDWUDFN
     4$QGERWKFDVHV\RXDVDQLQGLYLGXDOZDQWWR         DWKOHWH$O2HUWHUZDVDQDWKOHWHLQWKH VDQG V


                                                     3DJH                                                         3DJH
      ZLQLQWKHVHVSRUWVEXWDOVR\RX UHWU\LQJWRKHOS\RXU         KHZRQIRXUJROGPHGDOVFRQVHFXWLYHO\DFURVVIRXU
      WHDPZLQ,VWKDWDIDLUVWDWHPHQW"                            2O\PSLFVLW VFUD]\WKURZLQJWKHGLVFXV$QGKHVDLG
      $<HVDWLWVEHVW                                      DUHSRUWHUDVNHGKLPKRZGLG\RXEHDWWKHZRUOGKRZ
      4$QGWKHUHLVVRPHWLPHVZKHQ\RXIHHOOLNH              ZHUH\RXVRJUHDWKRZZHUH\RXEHWWHUWKDQHYHU\ERG\
      UXQQLQJLWFDQEHVRPHWKLQJ\RXMXVWOLNHWRUXQ<RX         HOVHWKHVHIRXU2O\PSLFVDQGKHVDLGKLVUHVSRQVH
      GRQ WKDYHWREHRQDWHDPRU\RXFDQFRPSHWH\RXMXVW         ZDVOLNHWKDW VQRQVHQVH,WLVQHYHUDERXWEHLQJ
      UXQRQ\RXURZQULJKW"                                         EHWWHUWKDQVRPHERG\HOVH,W VDERXWEHLQJWKHEHVW
      $7KDW VWUXH                                           WKDW\RXFDQEHULJKW$QGVRZKDWLILVMXVWJRRG
      4,VHHOLWWOHNLGVZK\ZDONZKHQ\RXFDQUXQ          HQRXJK:KDWLI,EHDW\RXJRRGEXWPD\EH,FDQEHVR
     6RWKDW VVRPHWKLQJWKDW\RXFDQGRDORQHRU\RXFDQGR        PXFKEHWWHUWKDQWKDW6RIRUP\VLJKWVWREHVHWRQ
     ZLWK\RXUIDPLO\ULJKW"                                       MXVWEHLQJEHWWHUWKDQ\RXLWLVOLPLWLQJULJKW$QG
     $8KKXK \HV                                          LI\RXDUHVRPXFKEHWWHUWKDQPHDQGVRPXFKOHVV
     4,VWKDWD\HV"                                        WDOHQWHGZK\GRQ W,MXVWIRFXVHYHU\GD\RQEHLQJWKH
     $<HVVRUU\                                           EHVWWKDW,FDQEHULJKW6R$O2UHWHU\RXWKLQNIRXU
     47KDQNV$QGLW VVRPHWKLQJ\RXFDQGRHLWKHU         WLPH2O\PSLFJROGPHGDOLVWKH VJRWWREHKLJKRQHJR
     FRPSHWLWLYHO\RUQRWFRPSHWLWLYHO\ULJKW"                     RULHQWDWLRQ+H VVRPHERG\ZKR VUHDOO\KLJKLQWDVN
     $<HV                                                  DQGZRXOGKDYHEHHQORZHU%XWZHFRXOGORRNDWRWKHU
     41RZZKHQ\RX UHRQDWHDPIRUH[DPSOHDWUDFN       DWKOHWHVWKDWZRXOGEHWKHIOLSDQGGHILQLWHO\6RZKHQ
     WHDP\RX UHFRPSHWLQJDJDLQVWRWKHUSHRSOHRQ\RXU            \RXVD\DWKOHWHVZKRZDQWWRZLQWKDWGRHVQ W
     WHDP                                                          GLVWLQJXLVKWKHWDVNDQGHJRDVSHFWRILW
     ,VWKDWULJKW"                                        46RWDVNDQGHJRRULHQWDWLRQGRHVQ WDIIHFW
     $$JDLQ,ZRXOGMXVWVD\,ZRXOGMXVWFKHFN        VRPHERG\ VGHVLUHWRZLQ'HVLUHWRZLQLVVHSDUDWH
     WKDWLVQRWKRZ,ZRXOGSKUDVHLWLI,ZHUHDFRDFK       IURPWKHHJRYHUVXVWDVNRULHQWDWLRQWKDW VZKDW\RX UH
     WKDWZH UHFRPSHWLQJDJDLQVWHDFKRWKHU,ZRXOGVD\ZH       VD\LQJULJKW"


                                                                                            3DJHVWR
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                                                     3DJH                                                          3DJH
      $,WKLQNLWFRPHVGRZQPRUHWRZKDWGRHVZLQQLQJ        WKH\UHDFWWRSUREOHPVWKDWKDYHDOUHDG\RFFXUUHG"
      PHDQ                                                           $77251(<9(52))2EMHFWLRQ
      4$OOVSRUWVKDYHUXOHVZH YHHVWDEOLVKHGWKDW         7+(:,71(66<HV
      ULJKW"                                                          %<$77251(<75<21
      $8KKXK \HV                                           4,VWKDWD\HV"
      4,VWKDWD\HV"                                         $<HV
      $<HV                                                   4$QGWKHQKRZDERXWIDLUQHVVZHKDYHUXOHV
      47KHSXUSRVHVRIWKHUXOHVLVRQHWHOOV\RXKRZ       GHVLJQHGIRUIDLUQHVVDQGWKRVHDUHVRPHWLPHVVHWLQ
      WRSOD\WKHJDPHULJKW"                                        PRWLRQEHFDXVHRIVRPHWKLQJWKDWKDVKDSSHQHGULJKW"
     $<HV                                                  $8KKXK \HV 
     4$QRWKHULVIRUVDIHW\<RXKDYHUXOHVIRU            4<HV"
     VDIHW\LVWKDWULJKW"                                         $<HV
     $<HV                                                  4$QGRWKHUWLPHVLW VLQDQWLFLSDWLRQRISUREOHPV
     4$QG\RXKDYHUXOHVWRPDNHWKLQJVIDLUULJKW"        WKDWZHVHHPLJKWFRPHGRZQWKHURDGEXWZHZDQWWRVHW
     $<HV                                                  UXOHVIRUIDLUQHVVULJKW"
     4:KDWRWKHUUHDVRQVGRZHKDYHUXOHVLQVSRUWV"        $77251(<9(52))2EMHFWLRQ
     'RHVWKDWFRYHULW"                                            7+(:,71(66<HV
     $1RWKLQJHOVHFRPHVWRPLQGULJKWQRZ                 %<$77251(<75<21
     4:KRJHQHUDOO\PDNHVUXOHVIRUVSRUWV"                 4$QGLQDOOVSRUWVWKHUHLVVFRULQJULJKW"
     $7KHOHDJXHVDQGVSRUWVRUJDQL]DWLRQVSHUVH          $<HV
     4:RXOGLWEHIDLUWRVD\WKDWWKHSDUWLFLSDQWV         47KDWLVSDUWRIWKHUXOHVULJKW"
     UHO\RQWKHUXOHV"                                             $8KKXK \HV \HV
     $5HO\RQWKHUXOHV"                                    4$QGWKRVHVFRUHVGHFLGHZKRZLQVULJKW"
     4<HV                                                  $<HV


                                                     3DJH                                                          3DJH
      $)DLUWRVD\WKDWSDUWLFLSDQWVZKHQWKH\MRLQD         4:RXOG\RXVD\VFRULQJLVDPRWLYDWRU"
      OHDJXHRU\RXNQRZWKHLUXQGHUVWDQGLQJWKDWWKHUHDUH         $)RUVRPHDWKOHWHV
      UXOHVWKDWWKH\QHHGWRDELGHE\                               4:KHQDQDWKOHWHSHUFHLYHVVRPHWKLQJDVEHLQJ
      4$QGWKH\H[SHFWWKDWRWKHUVKDYHWRDELGHE\           XQIDLUWKDW VDGHPRWLYDWRUZRXOG\RXDJUHH"
      WKRVHVDPHUXOHVULJKW"                                        $77251(<9(52))2EMHFWLRQ
      $<HV                                                   7+(:,71(66,QVRPHFDVHV
      4$QGLWLVLPSRUWDQWWRKDYHFRQVLVWHQWUXOHV          %<$77251(<75<21
      UXOHVWKDWGRQ WFKDQJHSHULRGLFDOO\ULJKW"                    46RVSRUWVDOVRKDYHUDQNLQJVLQGLYLGXDO
      $,WKLQNUXOHVFKDQJHDOOWKHWLPHLQVSRUWV           UDQNLQJVDQGWHDPUDQNLQJVULJKW"
     4:K\GRWKH\FKDQJH"                                   $7KDW VULJKW
     $,WKLQNWKH\FKDQJHEHFDXVHWKH\DUHUHFRJQL]LQJ      4$QGIRUVRPHDWKOHWHVWKRVHUDQNLQJVDUH
     WKRVHWKLQJVWKDW\RXPHQWLRQHGWKDWPD\EHVRPHWKLQJ           PRWLYDWRUVULJKW"
     ZRXOGEHVDIHURUVRPHWKLQJZRXOGEHPRUHIDLURUPRUH         $<HVIRUVRPH
     LQFOXVLYH                                                     4$QGVSRUWV\RXJLYHRXWWURSKLHVIRUZLQQHUV
     4$QGVRPHWLPHVWKRVHFKDQJHVDUHPDGHLQ               ULJKW"
     DQWLFLSDWLRQRISUREOHPVQRWZDLWLQJIRUSUREOHPVWR          $, PVRUU\<RXEURNHXS
     KDSSHQ                                                        4,QVSRUWVZHJLYHRXWDWOHDVWLQVRPHFDVHV
     ,VWKDWIDLU"                                         ZHJLYHRXWWURSKLHVWRZLQQHUVULJKW"
     $77251(<9(52))2EMHFWLRQ                    $,QVRPHFDVHV
     7+(:,71(66<HDK, PQRWVXUH                46ROHWPHVHHLI,XQGHUVWDQG$UH\RX
     %<$77251(<75<21                                             DGYRFDWLQJWKDWVSRUWVVKRXOGHOLPLQDWHVFRULQJ"
     42ND\                                                 $77251(<9(52))2EMHFWLRQ
     :KDWDERXWVDIHW\UXOHVIRUVDIHW\GR               7+(:,71(661R
     VRPHWLPHVVDIHW\UXOHVDQWLFLSDWHSUREOHPVDQGVRPHWLPHV       %<$77251(<75<21


                                                                                             3DJHVWR
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                                                     3DJH                                                          3DJH
      4$UH\RXDGYRFDWLQJWKDWWKH\VKRXOGHOLPLQDWH          WKDWZLQQLQJFRPSHWLWLRQVLVRQHRIWKHEHQHILWV
      UDQNLQJV"                                                       &RUUHFW"
      $,GRQ WWKLQNLWZRXOGKXUWDWORZHUOHYHOV,        $77251(<9(52))2EMHFWLRQ
      GRQ WWKLQNZHQHHGWRKDYHKDYHDIRFXVRQWKDWZKHQ           7+(:,71(66<HDK,WKLQNZKDW,PHDQ
      \RX UHILYHRUVL[\HDUVROGRQUDQNLQJVDQGZHRXJKW         E\WKDWLVLIRQO\LI\RXKDYHWRZLQWRKDYHD
      WREHIRFXVHGMXVWRQOHDUQLQJWKHJDPHDQGKDYLQJIXQ         JUHDWH[SHULHQFHLQVSRUWVWKHQKDOIRIRXUWHDPVDUH
      EXWLQJHQHUDO, PQRWRSSRVHGWRXVKDYLQJ                 QRWJRLQJWRKDYHDJRRGH[SHULHQFHULJKW6RZKDW, P
      LGHQWLI\LQJZLQQHUVDQGUDQNLQJWHDPVDQGVRRQ                VXJJHVWLQJKHUHLVWKDWDQGDVWKHGDWDEDFNVWKLVXS
      4$QGVSRUWVWHDPVWKHFRDFKHVGHFLGHZKRSOD\V         WKDWLI\RXDUHLQDJRRGFOLPDWHWKHQ\RXFDQJRRXW
     LQGLIIHUHQWSRVLWLRQVLQGLIIHUHQWJDPHV                     WKHUHDQGKDYHIXQDQGWU\KDUGDQGPD\EH\RXUWHDP
     ,VWKDWULJKW"                                        GLGQ WHQGXSZLWKDZLQQLQJUHFRUGEXW\RXFDQVWLOO
     $7KDW VULJKW                                         UHDSWKHEHQHILWV$QGVRLWLVQRWWKHFDVHWKDWRQO\
     4$QGVKRXOGKRZJRRGWKHVWXGHQWDWKOHWHLVKDYH       ZLQQLQJWHDPVUHDSWKHVHEHQHILWVWKDWFRPHDORQJZLWK
     DQ\WKLQJWRGRZLWKZKHQZKHUHDQGKRZWRSOD\                VSRUWV
     DFFRUGLQJWRWKHFRDFK"                                        %<$77251(<75<21
     $77251(<9(52))2EMHFWLRQ                    46R\RXDUHVD\LQJZLQQLQJLVQRWDEHQHILW"
     7+(:,71(666KRXOGWKHDWKOHWH VWDOHQW        $77251(<9(52))2EMHFWLRQ
     KDYHVRPHWKLQJWRGRZLWKKRZPXFKSOD\LQJWLPHWKH\           7+(:,71(66, PJRLQJWRVD\ZLQQLQJ
     JHW"                                                           FDQEHDEHQHILW,W VQRWDSULPDU\RQHLQP\PLQGLQ
     %<$77251(<75<21                                             VSRUWEXW\HVZLQQLQJFDQKHOSXVVHHRXULPSURYHPHQW
     47KDWZRXOGEHDIDLUZD\WRFKDUDFWHUL]HP\           DQG\RXNQRZZLQQLQJKDVLWVSODFHIRUVXUH
     TXHVWLRQ\HV:KDWLV\RXUDQVZHU"                           %<$77251(<75<21
     $,ZRXOGDJUHHZLWKWKDWSDUWLFXODUO\DVZHPRYH       4$QG\RXVHHDWKOHWHVZKHQWKH\ZLQWKH\DUH
     XSLQOHYHOV,UHDOO\OLNHWKHUXOHVWKDWVRPH\RXWK         SUHWW\H[FLWHGDUHQ WWKH\"


                                                     3DJH                                                          3DJH
      VSRUWOHDJXHVKDYHWKDWZHKDYHHLJKW\HDUROGVDQG             $0DQ\RIWKHPDUH
      ZH UHQRWMXVWJRLQJWRVD\KH\-XOLH\RX UHRQWKH          4:HOOKDYH\RXHYHUVHHQDQ\ERG\GLVDSSRLQWHG
      EHQFKEHFDXVH\RX UHQRWDVJRRGVR\RXGRQ WJHWDQ\           DERXWZLQQLQJ"
      SOD\LQJWLPH,OLNHWKHUXOHVWKDWVD\HYHU\ERG\JHWV         $0D\EHQRWGLVDSSRLQWHGEXWLIOHW VMXVW
      LQWKHUHDIHZLQQLQJVDQGJHWVVRPHSOD\LQJWLPHRU            VD\\RXDUHUHDOO\VNLOOHGLQWHQQLVDQG\RXFRPHDQG
      JHWVWREDWRUZKDWHYHUWKHVSRUWPLJKWEH6R,WKLQN        \RXNQRZ\RXOHDYHPHEHKLQG\RXEHDWPHWKHUH
      LWUHDOO\YDULHVRQZKDWVSRUWZHDUHWDONLQJDERXW            PLJKWQRWEHDORWRIMR\IRU\RXLQEHDWLQJPHULJKW
      4/HW VORRNEDFNDW\RXUUHSRUW([KLELW/RRN       EXWIRUVRPHDWKOHWHVLWPLJKWEHKH\LW VDQRWKHUZLQ
      DWSDUDJUDSK'R\RXVHHWKDW"                              IRUPHDQG, PVXSHUH[FLWHGDERXWWKDW6RWKDWLV
     $<HV,GR                                            ZKDW,PHDQ
     47KHILUVWVHQWHQFHVD\VWKXVWKHEHQHILWV            4$QGZKHUHWKH\ UHUDQNHGLQWKHLUVSRUWWKDWLV
     DVVRFLDWHGZLWK\RXWKDQG\RXQJDGXOWVSRUWDUHQRW            RQHRIWKHEHQHILWV
     OLPLWHGWRZKHWKHUDWKOHWHVDUHZLQQLQJFRPSHWLWLRQV          5LJKW"
     ZKHUHWKH\DUHUDQNHGLQWKHLUVSRUWRUZKDWOHYHORI          $77251(<9(52))2EMHFWLRQ
     SXEOLFLW\WKH\DUHJHWWLQJ                                    7+(:,71(66<HDK,WKLQNZHPD\KDYHD
     'R\RXVHHWKDW"                                      GLIIHUHQWYLHZRQEHQHILWV:LWKEHQHILWV, PMXVW
     $<HV                                                  WKLQNLQJZKDW VJRLQJWRKHOSXVORQJWHUP$QGLW
     46R\RXZRXOGDJUHHZLWKPHWKDWRQHRIWKH            UHPLQGVPHRIWKLV2O\PSLFJROGPHGDOLVWZKRVDLGKHU
     EHQHILWVLVWKHRSSRUWXQLW\WRZLQFRPSHWLWLRQV               NLGZDVJRLQJWKURXJKNLQGRIDMXQNGUDZHUDQGIRXQG
     5LJKW"                                                KHUJROGPHGDOULJKW6RZLQQLQJVKH VDJROG
     $,ZRXOGSUREDEO\ZRUGLWRQHRIWKHEHQHILWVLV       PHGDOLVWGLGQ WPHDQDVPXFKDVDOOWKHH[SHULHQFHDQG
     WKHRSSRUWXQLW\WRFRPSHWH                                    MXVWUHIOHFWLQJRQWKHDELOLW\WRJLYH\RXUEHVWHIIRUW
     4:HOOKHUH\RXVD\ZLQQLQJ<RXVD\LWLVQRW        DQGWREXLOGWKHVHUHODWLRQVKLSVDQGWRSXVK\RXUVHOIVR
     OLPLWHGWRZKHWKHUDWKOHWHVDUHZLQQLQJZKLFKVXJJHVWV        KDUG7KRVHVHHPOLNHEHQHILWVPRUHWKDQ\RXNQRZWKH


                                                                                             3DJHVWR
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                                                     3DJH                                                         3DJH
      WURSK\RUVRPHWKLQJZLQQLQJ, PQRWGLVSXWLQJWKDW            VSRUWVULJKW"
      ZLQQLQJ\HDKFDQEHIXQDQGLWLVGHILQLWHO\SDUWRI          $77251(<9(52))2EMHFWLRQ
      VSRUW                                                          7+(:,71(66,WKLQNWKHUHFRXOGEH
      %<$77251(<75<21                                              SHRSOHOLNHWKDWIRUVXUH
      4<HDK$QGVRDOOWKRVHWKLQJV\RXMXVW                %<$77251(<75<21
      PHQWLRQHGFHUWDLQO\DUHEHQHILWVWRVSRUWV, PQRW            4$QGVDPHWKLQJZLWKVFKRODUVKLSVWKHUHDUHD
      WU\LQJWRVXJJHVWWKDW VQRWWKHFDVH,MXVWZDQWWR          ORWRINLGVWKDWZDQWWRJHWVFKRODUVKLSVWKH\PD\QRW
      XQGHUVWDQGZKHQ\RXVD\LQWKLVSDUDJUDSKWKXVEHQHILWV        JHWWKHPEXWWKH\ UHLQVSRUWVEHFDXVHWKH\ZDQWWRJHW
      DVVRFLDWHGZLWK\RXWKDQG\RXQJDGXOWVSRUWVDUHQRW            WKDWVFKRODUVKLSDQGWKH\WKLQNWKH\ OOEHDEOHWR
     OLPLWHGWRZKHWKHUDWKOHWHVDUHZLQQLQJFRPSHWLWLRQV          )DLUVWDWHPHQW"
     ZKHUHWKH\DUHUDQNHGLQWKHLUVSRUWRUZKDWOHYHORI          $77251(<9(52))2EMHFWLRQ
     SXEOLFLW\WKH\DUHJHWWLQJLW VQRWOLPLWHGWRWKDW          7+(:,71(66<HDK, PQRWVXUHZKDWWKH
     EXWLWGRHVLQFOXGHWKRVHWKUHHWKLQJVULJKW"                 SHUFHQWDJHVDUH7KHUHDUHSUREDEO\DORWPRUHZKR
     $77251(<9(52))2EMHFWLRQ                    ZRXOGOLNHWRKDYHDFROOHJHVFKRODUVKLSZKRGRQ W
     7+(:,71(66, PJRLQJWRJLYH\RXWKDW        UHFHLYHWKHPEHFDXVHRIWKHVPDOOSURSRUWLRQZKRGR
     WKRVHDUHEHQHILWV, PMXVWJRLQJWRSXWWKHPGRZQ           ULJKW%XWGHILQLWHO\7KDW VFDOOHGH[WULQVLF
     ORZHURQZKDWZHYDOXH                                        PRWLYDWLRQ,I, PMXVWSOD\LQJDVSRUWEHFDXVHWKDW V
     %<$77251(<75<21                                             WKHWKDW VZKDW, PJRLQJIRULVDVFKRODUVKLS
     42ND\                                                 \HDKWKHUHFRXOGGHILQLWHO\EHDWKOHWHVIRFXVHGDORQJ
     $2UPRUHLPSRUWDQWEHQHILWV                           WKRVHOLQHV
     4,VWKHRSSRUWXQLW\WRJHWDFROOHJHVFKRODUVKLS       %<$77251(<75<21
     DOVRDEHQHILWLQ\RXWKVSRUWV"                                4$QGZRXOG\RXDJUHHWKDWFROOHJHVJHQHUDOO\
     $)RUDYHU\VPDOOSURSRUWLRQRIFKLOGUHQLQ\RXWK      VHOHFWVFKRODUVKLSDWKOHWHVIURPWKHSRRORISHRSOHWKDW
     LQRXU\RXWKVSRUWZRUOGDUHDEOHWRVHFXUHFROOHJH        DUHDFWXDOO\SOD\LQJKLJKVFKRRODWKOHWLFV"7KDWLVD


                                                     3DJH                                                         3DJH
      VFKRODUVKLSVDQGJRRQDQGVRRXU\RXWKVSRUWZRUOG            FRUUHFWVWDWHPHQWULJKW"
      VKRXOGQ WEHFHQWHUHGDURXQGWKDW,EHOLHYH                    $,ZRXOGVD\WKHPDMRULW\KDYHSOD\HGKLJKVFKRRO
      4%XWIRUWKRVHWKDWZDQWWRDQGFDQJHWFROOHJH         DWKOHWLFV\HV
      VFKRODUVKLSVWKDWLVDELJEHQHILWIRUWKHPULJKW"            4$QGWKRVHWKDWDUHVHHNLQJWKDWVFKRODUVKLSDUH
      $<HVWKDW VYHU\FRRO                                 DWKOHWHVZKRXVHWKHLUKLJKVFKRROSHUIRUPDQFHWR
      4$QGLWFDQEHZRUWKWHQVRIWKRXVDQGVRI               FRPSHWHIRUFROOHJHVFKRODUVKLSVULJKW"
      GROODUVULJKW"                                                 $77251(<9(52))2EMHFWLRQ
      $<HVLWFDQ                                           7+(:,71(66<HVSUREDEO\PDQ\GR
      4$QGHYHQMXVWEHLQJUHFUXLWHGWRSOD\RQD             %<$77251(<75<21
     FROOHJHWHDPWKDW VDELJEHQHILWIRUKLJKVFKRROHUV         4$QGWKHPDUNHWIRUDWKOHWLFVFKRODUVKLSVLVLQ
     ULJKW"                                                         IDFWFRPSHWLWLYHULJKW"
     $<HVIRUVRPH                                        $0DQ\VFKRROVLWLV'HILQLWHO\QRWDOOVFKRROV
     4:HOOULJKWIRUVRPH$QGLQRUGHUWRJHW           WKRXJK
     WKHUH\RXQHHGWREHDEOHWRKDYHWKHRSSRUWXQLW\WR       42ND\
     ZHOOVWULNHWKDW                                         :KDWZRXOGLWEHRWKHUZLVH"
     $QGIRUREYLRXVO\DVPDOOHUPLQRULW\VWLOOWKH        $,WKLQNVRPHRIWKHVRPHVPDOOHUVFKRROV
     RSSRUWXQLW\WRXOWLPDWHO\JRRQDQGSOD\SURIHVVLRQDO          MXVWZLOOZHKDYHDORFDOFROOHJHWKDWZLOOJLYH
     VSRUWVWKDWLVDQRWKHUEHQHILWULJKW"                        VWXGHQWVOLNHRUD\HDUWRZDUGVWKHLU
     $<HDKLW VDEHQHILWIRUVXFKDVPDOOSURSRUWLRQ      WXLWLRQIHHVLIWKH\SDUWLFLSDWHRQDVSRUWWHDP$QG
     WKDWDJDLQ,ZRXOGMXVWVD\WKDW VQRWKRZZHVKRXOG         RIFRXUVH\RXNQRZWKHUHKDVWREHVRPHOHYHORIVNLOO
     VHWXSRXUVSRUWVZRUOGIRUWKRVHIHZ                        WKHUHEXW,ZRXOGQ WLWLVDJRRGSODFHIRUSHRSOH
     4,XQGHUVWDQGWKDWEXWQRQHWKHOHVVWKHUHDUH          ZKRZDQWWRFRQWLQXHWRSOD\DVSRUWEXWPD\QRWKDYH
     PDQ\ZKRQHYHUJHWWRWKDWSODFHEXWWKDW VZKDWWKH\         WKHKLJKHVWVNLOOOHYHOVDQGGHILQLWHO\DUHQ WEHLQJ
     VWULYHIRUDQGWKDW VRQHRIWKHUHDVRQVZK\WKH\DUHLQ       UHFUXLWHGDWWKHGLYLVLRQIRUWKHPRVWSDUWD


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                                                      3DJH                                                    3DJH
      'LYLVLRQ,OHYHORUVRPHWKLQJOLNHWKDW                       6SRUWVZDVPDUNHGIRULGHQWLILFDWLRQ
      4%XWWKH\VWLOOFRPSHWHIRUWKDWVFKRODUVKLS          
      IDLUHQRXJK"                                                   $77251(<75<21-DFRELI\RXFRXOGMXVW
      $<HV                                                  SXW,WKLQNZH YHGRQHWKLVEHIRUH3XWWKLVLQD
      $77251(<9(52)):H YHEHHQJRLQJIRUD       3')LQWKHFKDWER[FDQ\RXGRWKDW"
      OLWWOHRYHUDQKRXU,MXVWZDQWHGWRFKHFNLQVHH           9,'(2*5$3+(5<HV,MXVWKDYHWRGR
      'DYLGLI\RXKDYHDVHQVHRIZKHQ\RXDUHZUDSSLQJXS         WKDWZKLOHLWLVQRWEHLQJVKDUHGDQGWKHQ,FDQVKDUH
      WKLVPRGXOH0D\EHLWZRXOGEHDJRRGWLPHWRWDNHD          LWDJDLQ
      EUHDN                                                         $77251(<75<212ND\
     $77251(<75<21<HVJLYHPHDQRWKHU          :HOO,WKLQNZHFDQMXVWVKDUHLWIRUQRZ
     ILYHPLQXWHVDQGZHFDQEUHDNLIDQ\ERG\ZDQWVWR            DQGWKHQZHFDQSXWLWLQWKHUH,IQRWWKHQLIZH
     $77251(<9(52))*UHDW                       QHHGWRZHFDQGRLW
     $77251(<75<21:HOOZHFDQEUHDNULJKW      9,'(2*5$3+(52ND\
     QRZ, OOOHDYHLWXSWRWKHZLWQHVV, PQRWJRLQJWR      ,PHDQ,DOUHDG\KDYHLWGUDJJHGLQ
     IRUFHLWXSRQWKHZLWQHVVRU3ODLQWLII V&RXQVHO:RXOG      $77251(<75<21*UHDW,WGRHVQ WWDNH
     \RXOLNHDVKRUWEUHDN"                                       ORQJDWDOO*UHDW
     7+(:,71(667KDWZRXOGEHJUHDW7KDQN      %<$77251(<75<21
     \RX                                                          46RKDYH\RXHYHUVHHQWKLVDUWLFOHEHIRUH"
     $77251(<75<21/HW VJREDFNKRZDERXW       $,KDYHQ W&DQ\RXHQODUJHLWDOLWWOHELW"
     WLOO'RHVWKDWZRUN"                                     $QGZKDW\HDUZDVWKLVDWWKHWRS"
     9,'(2*5$3+(5*RLQJRIIWKHUHFRUG7KH      4,WORRNVOLNH
     FXUUHQWWLPHUHDGVSP(DVWHUQ6WDQGDUG7LPH       $7KDQN\RX
     2))9,'(27$3(                                                 $77251(<9(52)),I\RXJLYHWKHZLWQHVV
                                     DPLQXWHLIVKHZDQWVWRVFUROODQGJHWDVHQVHRIZKDW


                                                      3DJH                                                    3DJH
      :+(5(8321$6+257%5($.:$67$.(1                            WKLVLV
                                       %<$77251(<75<21
     219,'(27$3(                                                    4:HOOEHIRUH,DVN\RXDQ\TXHVWLRQVDERXWWKLV
     9,'(2*5$3+(5:HDUHEDFNRQWKHUHFRUG        OHWPHMXVWDVN\RXVRPHTXHVWLRQVRYHUDOO:RXOG\RX
     7KHFXUUHQWWLPHUHDGV(DVWHUQ6WDQGDUG7LPH             DJUHHWKDWIDLUQHVVLQVSRUWVLVDQLPSRUWDQWYDOXH"
     %<$77251(<75<21                                              $<HV
     46ROHWPHWKHQDVN\RX3URIHVVRU)U\KDYH\RX        $77251(<9(52))2EMHFWLRQ
     KHDUGRIWKH,QWHUQDWLRQDO9LHZIRU6RFLRORJ\RI6SRUW"         %<$77251(<75<21
     $7KDWMRXUQDO"                                          4$QGKDYH\RXGRQHDQ\UHVHDUFKRQWKHLVVXHRI
    4<HV                                                  IDLUQHVVDQGVSRUWV"
    $<HV, YHKHDUGRILW                                $1R, PMXVWKHVLWDWLQJEHFDXVHZHKDYH
    42ND\                                                 LQFOXGHGPHDVXUHVRIVSRUWVSHUVRQVKLSEHLQJDJRRG
    $UH\RXIDPLOLDUZLWK:DUUHQ:KLVHQDQW"               VSRUW6RLI\RXLQFOXGHWKDWWKHQ\HV%XWLQ
    $1R                                                   JHQHUDOMXVWIDLUQHVV,ZRXOGVD\QR
    42ND\                                                 42ND\
    +RZDERXW-HUHP\6-RUGDQ"                           +DYH\RXUHDGDQ\SDSHUVWKDWVSHFLILFDOO\
    $1R                                                   IRFXVRQIDLUQHVVLQVSRUWV"
    42ND\)DLUHQRXJK/HWPHVKRZ\RX([KLELW      $<RXNQRZSUREDEO\EXW,FRXOGQ WQDPHWKHP
    LIZHFRXOGPDUNWKLV,JXHVVZH UHDW([KLELW             42ND\
    )DLUQHVVDQG(QMR\PHQWLQ6FKRRO6SRQVRUHG<RXWK6SRUWV       /HW VJRGRZQWR,UHDOO\RQO\KDYHRQH
    ,I\RXFRXOGEULQJWKDWXS-DFRE                             TXHVWLRQKHUHZKLFKZH OOORRNDWDQGWKHQLI\RXZDQW
                                     WRUHYLHZPRUHRIWKHDUWLFOH\RXDUHFHUWDLQO\ZHOFRPH
     :KHUHXSRQ([KLELW)DLUQHVVDQG             WRGRWKDW%XWLI\RXJRWRZKDWLVODEHOHGDVSDJH
    (QMR\PHQWLQ6FKRRO6SRQVRUHG<RXWK            DWWKHWRS


                                                                                       3DJHVWR
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                                                   3DJH                                                         3DJH
      $&RXOG,MXVWUHDGWKHDEVWUDFWILUVW"'R\RX          $77251(<9(52))2EMHFWLRQ
      PLQG"                                                           7+(:,71(66<HV
      4<HV                                                   %<$77251(<75<21
      9,'(2*5$3+(5,I\RXQHHGWKDWPDGH             4<RXKDYHQRWDWWHPSWHGWRGRWKDWEDODQFLQJLQ
      ELJJHUOHWPHNQRZ                                            FRQQHFWLRQZLWK+%KDYH\RX"
      7+(:,71(660D\EHRQHPRUHQRWFKXS           $77251(<9(52))2EMHFWLRQ
      7KDQN\RX                                                      7+(:,71(66<HDK,WKLQNP\H[SHUWLVH
      9,'(2*5$3+(5<RX UHZHOFRPH                   LVWRZHLJKLQRQDOOWKHEHQHILWVWKDWDWKOHWHVZRXOG
      7+(:,71(662ND\                              QRWKDYHDQRSSRUWXQLW\WRUHDSLIWKH\ZHUHQ WDEOHWR
     %<$77251(<75<21                                             SDUWLFLSDWH%XW,WKLQNWKHUHDUHSHRSOHZKRNQRZD
     4,I\RXWXUQWRDQGWKHWKLUGIXOOSDUDJUDSK       ZKROHORWPRUHPRUHZLWKDQ\VSRUWDERXWKRZWRNHHS
     RQWKDWSDJHLWVD\VDQRUJDQL]DWLRQDOFOLPDWHHPEUDFLQJ       PDNLQJWKHUXOHVIDLUIRUHYHU\RQH
     IDLUQHVVLVDFULWLFDOIDFWRULQIOXHQFLQJVWXGHQW              %<$77251(<75<21
     DWKOHWHV DWWLWXGHWRZDUGVWKHVSRUWWKH\SDUWLFLSDWHLQ       42ND\
     DQGWKHLUGHVLUHWRFRQWLQXHSDUWLFLSDWLRQ'R\RX            %XWMXVWWREHFOHDU\RXKDYHQRWDWWHPSWHGWR
     DJUHHZLWKWKDWVWDWHPHQW"                                     GRWKDWEDODQFLQJZLWK+%"
     $77251(<9(52)),ZLOOMXVWUHPLQGWKH        $77251(<9(52))2EMHFWLRQ
     ZLWQHVVLIVKHZRXOGILQGLWKHOSIXOWRUHDGPRUH              7+(:,71(66, PQRWVXUH,XQGHUVWDQG
     FRQWH[WDURXQGWKDWVWDWHPHQWEHIRUH\RXDQVZHU\RX UH        WKHTXHVWLRQ
     ZHOFRPHWRGRVR                                              %<$77251(<75<21
     7+(:,71(66<HV,WKLQNLWZRXOGEH          42ND\
     KHOSIXOWRORRNDWKRZWKH\PHDVXUHIDLUQHVVDQG\RX          /HWPHWU\DJDLQ:HHVWDEOLVKHGWKDWIDLUQHVV
     NQRZWKHPHWKRGVXVHGLQWKHVWXG\EXWLQJHQHUDO,          GHSHQGVRQEDODQFLQJDORWRILQWHUHVWVDQGYLHZVRI
     FDQLPDJLQHWKDW\HDKWKDWWKLVLVWUXH                     GLIIHUHQWJURXSVGLIIHUHQWSHRSOHULJKW"


                                                   3DJH                                                         3DJH
      %<$77251(<75<21                                              $<HV
      42ND\                                                  $77251(<9(52))2EMHFWLRQ
      <RXGRQ WMXVWDVDJHQHUDOVWDWHPHQW\RX          %<$77251(<75<21
      GRQ WGLVDJUHHZLWKLW"                                         4$QGWKDWEDODQFLQJ\RXKDYHQRWDWWHPSWHGWRGR
      $5LJKW                                                 ZLWKUHVSHFWWR+%
      46R, PQRWJRLQJWRDVN\RXDERXWDQ\RIWKHLU         &RUUHFW"
      UHVXOWVRUDQ\WKLQJHOVH,MXVWZDQWHGWRJHW\RXU             $77251(<9(52))2EMHFWLRQ
      UHDFWLRQRQWKDWVWDWHPHQW$QG\RXDUHQRWRIIHULQJ           7+(:,71(66,WKLQNLWZRXOGEHXQIDLU
      DQ\H[SHUWRSLQLRQRQIDLUQHVVLQVSRUWV                       WRFDWHJRULFDOO\H[FOXGHDJURXSRIDWKOHWHVIURPKDYLQJ
     5LJKW"                                                WKHRSSRUWXQLW\WRSDUWLFLSDWH6R, PQRWVXUHLIWKDW
     $7KDW VULJKW                                         LI\RXLQWHUSUHWWKDWDVEDODQFLQJRUQRWEDODQFLQJ
     4$UH\RXRIIHULQJDQH[SHUWRSLQLRQRQZKHWKHURU      %<$77251(<75<21
     QRW+%LVIDLU"                                           4+DYH\RXEDODQFHGWKHLQWHUHVWVKDYH\RX
     $, P,EHOLHYHWKDWWKHVSRUWRUJDQL]DWLRQV        ORRNHGDWWKHLQWHUHVWVRIRWKHUSHRSOHLQWKDWGHFLVLRQ
     DWHYHU\OHYHOUHDOO\YDOXHEHLQJLQFOXVLYHDQGLWZRXOG       WKDWZHQWLQWR+%"
     EHKDUPIXOWRH[FOXGHDWKOHWHVZKHUHWKH\ZRXOGQ WKDYH        $77251(<9(52))2EMHFWLRQ
     DQRSSRUWXQLW\WRUHDSWKHEHQHILWVRIVSRUW                  7+(:,71(66<HV,WKLQNWKLV+RXVH
     4$QGWKHUHDUHDORWRIWKLQJVWKDWJRLQWR            %LOOLVQRWIDLUWRWUDQVIHPDOHDWKOHWHV
     IDLUQHVVULJKW"                                               %<$77251(<75<21
     $77251(<9(52))2EMHFWLRQ                    42ND\
     7+(:,71(66<HV                               :HZLOOPRYHRQWRWKDWLQOLWWOHELWWKHQ
     %<$77251(<75<21                                             :KDWLV\RXUTXDOLILFDWLRQVWRGHWHUPLQHIDLUQHVV"
     4$QGLWUHTXLUHVEDODQFLQJRILQWHUHVWVRI             $77251(<9(52))2EMHFWLRQ
     YDULRXVSHRSOHDQGJURXSVDQGYDOXHVULJKW"                   7+(:,71(66,WKLQN,ZDVFDOOHGWREH


                                                                                        3DJHVWR
                Case: 22-5807
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                                                   3DJH                                                        3DJH
      DQH[SHUWZLWQHVVLQWKLVFDVHWRVSHDNWRWKHPDQ\             ZDVIDLUULJKW"
      EHQHILWVWKDWFRPHIURPSDUWLFLSDWLQJLQVSRUWV$QGVR        $77251(<9(52))2EMHFWLRQ
      IURPP\H[SHULHQFHDVDQDWKOHWHDQGDFRDFKDQGD              7+(:,71(66:HOO, PDVVXPLQJ\RXPHDQ
      VFKRODULQWKLVDUHD,WKLQN,KDYH\RXNQRZLQVLJKW          WUDQVIHPDOHVSOD\LQJDQG"
      DQGFDQVSHDNWRWKHPDQ\EHQHILWVDQGKRZZHVKRXOGGR         %<$77251(<75<21
      DOOZHFDQWRSUHYHQWRUDOOZHFDQWRQRWH[FOXGH          4,GRQRWPHDQWKDW,PHDQWH[DFWO\ZKDW,
      DWKOHWHVIURPKDYLQJWKHRSSRUWXQLW\WRSDUWLFLSDWH            VDLG,I\RXJRWRFRPSHWHDJDLQVWDQRWKHUWHDPDQG
      %<$77251(<75<21                                              WKDWWHDPVD\VZHKDYHWZRPHQELRORJLFDOPHQDQGWKH\
      4<RXVDLG\RXDUHDWHQQLVSOD\HUULJKW"               DUHJRLQJWRFRPSHWHDJDLQVW\RX\RXZRXOGKDYHVDLG
     $<HV                                                  WKDWLVQRWIDLUULJKW"
     4:KHQLVWKHODVWWLPH\RXSOD\HGWHQQLV"              $77251(<9(52))2EMHFWLRQ
     $,WKHUH VDZDOOULJKWRXWVLGHP\RIILFH         7+(:,71(66,ZRXOGKDYHVDLGVRUU\
     DQGVR,KLWRQDEDFNERDUG,KDYHQ WSOD\HGDPDWFK         $77251(<9(52))7KDWLVDOOULJKW
     LQDOLWWOHZKLOH, PQRWVXUHWKHODVWWLPHZDV            7+(:,71(66,WKLQN,ZRXOGKDYHVDLG
     4$QGZKHQ\RXSOD\HGWKHPRVWUHFHQWWLPH\RX      ZKDWDUHWKHUXOHVULJKW$QGLIWKHUXOHVDUHWKDW
     SOD\HGFRPSHWLWLYHO\ZDVWKDWLQDOHDJXHRUKRZGRHV         VRPHERG\FRXOGSOD\WKHQ,ZRXOGVD\EULQJWKHPRQ
     WKDWZRUN"                                                     ULJKW$QGLIWKHUXOHVDUHWKDWWKH\FDQ WSOD\WKHQ
     $,KDYHQ WSOD\HGOHDJXHVLQDZKLOH,WZDV          , GVD\\HDKZHSUREDEO\VKRXOGQ WGRLWWKDWZD\
     MXVWIRUIXQ, GSOD\ZLWKDFRXSOHRIP\IULHQGV           XQWLOWKHUXOHVFKDQJHULJKW
     ZKHQZHJRWRFRQIHUHQFHVZHEULQJRXUUDFTXHWVDQGZH        %<$77251(<75<21
     JHWWRJHWKHUDQGSOD\, YHPRYHGLQWR\RXNQRZRWKHU       46RZKDWHYHUWKHUXOHVDUHE\GHILQLWLRQDUH
     H[HUFLVHIRUPVQRZDQG,VZLPDQGKLNHDQGVRRQ              IDLUULJKW"
     4$QGVRZKHQ\RXZHUHSOD\LQJWHQQLVWHDPLV         $77251(<9(52))2EMHFWLRQ
     WKDWZKDWLWZDVRQDWHDP"                                   7+(:,71(661R,GLGQ WVD\WKDW, P


                                                   3DJH                                                        3DJH
      $8KKXK \HV \HV                                     VRUU\-XOLH
      4:KDWWHDPZDVWKDW"                                    $77251(<9(52))1RWKDW VTXLWHDOO
      $,SOD\HG867$OHDJXHV7KRVHDUHIRUDGXOWV          ULJKW
      $QGDIWHUFROOHJH\RXNQRZWKHUHLVMXVWOLNHD               7+(:,71(66,GLGQ WVD\WKHUXOHVDUH
      FLUFXLWLQ7H[DVWKDW\RXFDQVLJQXSIRUWRXUQDPHQWV           DOZD\VIDLUEXW,WKLQNZHKDYHWRVWDUWVRPHZKHUHDQG
      DOODURXQGWKH6WDWHDQGSOD\DQGJRIRUUDQNLQJ               ZHKDYHWRDFNQRZOHGJHWKHPDQGUHVSHFWWKHP
      4%XWLQFROOHJH\RXSOD\HGULJKW"                      %<$77251(<75<21
      $<HV                                                   4:HOOLIWKH\VDLGZHDUHJRLQJWRKDYHWKHVH
      4$QGZDVWKDWRQDJLUOVWHDPRUDPL[HGWHDPRU        PHQFRPSHWHDJDLQVW\RXDQGWKH\MXVWFKDQJHGWKHUXOHV
     ZKDW",GRQ WNQRZPXFKDERXWWHQQLVVR, PMXVWWU\LQJ       RQ\RXZRXOGQ W\RXREMHFWWRWKHUXOHVEHLQJFKDQJHG"
     WRXQGHUVWDQGWKDW                                            $77251(<9(52))2EMHFWLRQ
     $2ND\                                                 7+(:,71(66<HDK<RXNQRZLQWKH
     7KHUHZDVDPHQ VDQGZRPHQ VWHDP:HKDGD         FRQWH[WRIZKDWLVWDNLQJSODFHWKDWVHHPVQRWOLNHD
     KHDGFRDFKIRUERWKDQGDVVLVWDQW0D\EHLQWKHODVW          YHU\UHDOLVWLFH[DPSOHLQP\PLQG6R, PQRWVXUH, P
     \HDUWKHUHZHUHVHSDUDWHKHDGFRDFKHVEXWZHZRUNHGRXW       WKLQNLQJDERXWLW
     WRJHWKHU:HWUDYHOHGWRWRXUQDPHQWVWRJHWKHU:KHQ          %<$77251(<75<21
     \RXDGGXSWKHVFRUH\RXJRWWR\RXJRWWRWKH         46R\RXGRQ WZDQWWRDQVZHUP\TXHVWLRQ"
     ZRPHQKDGDVFRUHDQGWKHPHQKDGDVFRUHVRLWZDVQ W        $77251(<9(52))2EMHFWLRQ
     DWRWDOWHDPZLQOLNHWKDW                                    7+(:,71(66<HDK,WKLQNLW V,
     42ND\                                                 WKLQNZKDWZHDUHWDONLQJDERXWLVMXVWPRUH
     6RLI\RX UHRQWKHZRPHQ VWHDPDQG\RXJRXS        FRPSOLFDWHGULJKWDQGLWLVQRWMXVWLIZHDUH
     DJDLQVWVRPHRWKHUWHDPDQGWKH\MXVWVDLGZH UHJRLQJ         WDONLQJDERXWWUDQVIHPDOHDWKOHWHV,WKLQNZHDUH
     WRKDYHER\VZH UHJRLQJWRKDYHPHQSDUWLFLSDWHLQWKH       WDONLQJDERXWDGLIIHUHQWEDOOJDPHWKDQ\RXDUH
     ZRPHQ VWHDPDJDLQVW\RX\RXZRXOGQ WKDYHWKRXJKWWKDW       %<$77251(<75<21


                                                                                        3DJHVWR
                Case: 22-5807
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                                                   3DJH                                                        3DJH
      4<HDK:HOO,ZDVQRWWDONLQJDERXWWKHPDW         EHLQJLQFOXVLYHDQGOHW VGRDOOZHFDQWR\RXNQRZ
      OHDVWQRW\HW, PMXVWDVNLQJLIVXGGHQO\PHQDUH            EDODQFHWKHVHWKLQJVDQGPDNHWKLQJVIDLUEXWDOVREHLQJ
      DOORZHGWRFRPSHWHDJDLQVWZRPHQLQWHQQLVZKHWKHURU         LQFOXVLYHDQGQRWWRWDOO\H[FOXGLQJDJURXSRIDWKOHWHV
      QRWWKH\LGHQWLI\DVIHPDOHGR\RXWKLQNWKDWZRXOGEH        %<$77251(<75<21
      IDLUWRWKHZRPHQ"                                             46RZKDWZRXOGEHWKHUXOHWKDW\RXZRXOGVHWXS
      $77251(<9(52))2EMHFWLRQ                    IRUKLJKVFKRROIRUWUDQVJHQGHUSHRSOHOHWPH
      7+(:,71(66$JDLQ,ZRXOGMXVWJREDFN       UHSKUDVHWKDW:KDWZRXOGEHWKHUXOHWKDW\RXZRXOG
      WRWKHUXOHV%XWMXVWLQJHQHUDOWKDWLI,GHFLGH           VHWXSLQKLJKVFKRROVSRUWVIRUDPDOHZKRH[SUHVVHV
      WRGD\KH\,ZLOOJRZHKDYHDUHDOO\ZHDNPHQ V          WKDWKHLVQRZLGHQWLI\LQJDVIHPDOHVKRXOGEHDOORZHG
     WHQQLVWHDPVRWRGD\,WKLQN, OOJRSOD\RQWKHPDOHV       WRSDUWLFLSDWHLQJLUOVVSRUWV"
     WHQQLVWHDP\HDK,GRQ WWKLQNWKDWZRXOGEHULJKW         $77251(<9(52))2EMHFWLRQ*RDKHDG
     ULJKWWKDW,FRXOGVZLWFKRYHUWRZLQ5LJKW7KH           7+(:,71(66<HDK,WKLQNZHVKRXOG
     SRLQWLVFDQSHRSOHEHWKHLUJHQXLQHDXWKHQWLFDWHVHOI       UHO\RQWKHH[SHUWVDQGWKHPHGLFDOGRFWRUVDQGWKH
     DQGSOD\ZLWKDJHQGHULGHQWLW\WKDWWKH\KDYH               H[HUFLVHSK\VLRORJLVWVZKRUHDOO\VWXG\WKLVDQGFDQ
     %<$77251(<75<21                                            VD\KH\DFURVVWKHVHVSRUWVWKLVLVVHHPVWR
     46R,PHDQ\RX UHDQVZHULQJ\RXURZQTXHVWLRQ         FUHDWHDIDLUSOD\LQJJURXQG,WKLQN\RXNQRZLW
     \RXURZQZD\EXWVRWKDW VILQHEXW\RXKDYHDOVRVDLG      VRXQGVOLNHRXUORFDOZHDWKHUPDQZHKDYHLQFRPLQJGDWD
     WKDW\RXWKLQN+%ZKLFKVHWVDUXOH\RXWKLQN          ULJKWEXWWKLVLVUHODWLYHO\QHZLQWKHVSRUWZRUOGDQG
     WKDWUXOHLVXQIDLUULJKW"                                   ,WKLQNDOORIWKHVHUHVHDUFKHUVDUHJDWKHULQJPRUHGDWD
     $<HV,GR                                           DOOWKHWLPHWKDWLVJRLQJWRKHOSLQIRUPWKHVH
     $77251(<9(52))2EMHFWLRQ                   GHFLVLRQVPRYLQJIRUZDUGRQKRZZHFUHDWHLW6R\RX
     %<$77251(<75<21                                            NQRZ, PQRWDQH[SHUWWRVD\KH\ZKDWZRXOGWKRVH
     4%XWWKHOHJLVODWXUHEDODQFHGDORWRIGLIIHUHQW      H[DFWJXLGHOLQHVEHEXWMXVWWRKDYHDEODQNHW
     LQWHUHVWVLQPDNLQJWKDWUXOHULJKW"                         H[FOXVLRQRIDOOZHVHWWKHVWDNHVWRGRDORWRIKDUP


                                                   3DJH                                                        3DJH
      $77251(<9(52))2EMHFWLRQ                    DQG%3-ZRXOGEHDUHFLSLHQWRIWKDWKDUPLQP\RSLQLRQ
      7+(:,71(66,GRQ WNQRZ,GRQ WNQRZ        %<$77251(<75<21
      WKDWWKDWLVWUXH                                             46RZHVKRXOGUHO\RQH[SHUWVDERXWVDIHW\IRU
      %<$77251(<75<21                                             RQHWKLQJULJKW"
      4<RXGRQ WNQRZRQHZD\RUWKHRWKHUZKDW              $77251(<9(52))2EMHFWLRQ
      LQWHUHVWVWKH\EDODQFHGULJKW"                                7+(:,71(66<HV
      $,GRQ WNQRZZKDWWKHLU                          %<$77251(<75<21
      $77251(<9(52))2EMHFWLRQ                    4$QGZHVKRXOGDOVRUHO\XSRQH[SHUWVLQ
      7+(:,71(66,GRQ WNQRZZKDWWKHLU       SHUIRUPDQFHULJKW"
     NQRZOHGJHEDVHLVRUWKHLUUHDOLQYROYHPHQW,GRQ W         $77251(<9(52))2EMHFWLRQ
     NQRZLIWKH\ YHWDNHQDFORVHORRN,WORRNVOLNHLQ         7+(:,71(66<HV
     WKLVVLWXDWLRQWKDW3%- VLF WKDWSHRSOHFORVHWRLW       %<$77251(<75<21
     DUHVD\LQJKH\OHW VOHWWKLVFKLOGSOD\ULJKWDQG       46R\RXNHHSIRFXVLQJRQ%3-VRLIZHDUHJRLQJ
     \RXNQRZWKHZRUOGLVQRWJRLQJWRHQGDQGNLGVFDQ          WRIRFXVRQHDFKLQGLYLGXDOZHKDYHWRKDYHLQHDFK
     KDYHJRRGH[SHULHQFHVDQGZHFDQZHFDQJR6R           VSRUWDQH[DPSOHRIVRPHRQHZKRLVDPDOHLGHQWLI\LQJDV
     \HDK,FDQ WVSHDNWRZKDWWKHOHJLVODWRUVKDYHWKH      DIHPDOHKDVWREHLQGLYLGXDOO\HYDOXDWHGWRGHWHUPLQH
     EDFNJURXQGWKH\ YHGRQHRUWKHLUPLQGVHW                     ZKHWKHUWKDWSHUVRQVKRXOGEHDOORZHGWRSDUWLFLSDWHLQ
     %<$77251(<75<21                                            ZKDWHYHUVSRUWWKDWSHUVRQZDQWVWREHLQ"
     4'R\RXWKLQNWKDWWKHOHJLVODWLRQWKLV              $77251(<9(52))2EMHFWLRQ
     OHJLVODWLRQVKRXOGEHWDLORUHGWRHDFKLQGLYLGXDO"            7+(:,71(661R,GLGQ WVD\WKDW$QG
     $77251(<9(52))2EMHFWLRQ                   LWPD\EHMXVWZHFRXOGKDYHJHQHUDOJXLGHOLQHVDWWKH
     7+(:,71(661RQR,WKLQNWKHVSRUW       KLJKVFKRROOHYHO, PMXVWVD\LQJ, PQRWWKDWLV
     RUJDQL]DWLRQVDWHYHU\OHYHOIURPWKH2O\PSLF&RPPLWWHH      QRWP\H[SHUWLVHDVRQWKHSHUIRUPDQFHDQGH[HUFLVH
     WRWKH1&$$DOORIWKHPDUHVD\LQJZHUHDOO\YDOXH           SK\VLRORJ\RILWDOOWRWKLQNZKDWZRXOGEHIDLU,


                                                                                       3DJHVWR
                Case: 22-5807
     Case 2:21-cv-00316        Document:
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                                                           3DJH                                                   3DJH
     WKLQNDVZHEUDQFKXSDQGJHWWRPRUHHOLWHOHYHOVWKHQ            ZLQQLQJRQO\, PQRWVXUH,WKLQNWKHUHDUHSUREDEO\
     WKDWVHHPVWREHWKHGLUHFWLRQWKDW1&$$LVJRLQJWKDW            FRDFKHVRXWWKHUHWKDWDUH
     KH\OHW VSXOOLQWKHVHQDWLRQDOJRYHUQLQJERGLHV                  46RUU\*RDKHDG
     DFURVVWKHVSRUWEHFDXVHWKH\NQRZWKHVSRUWWKHEHVW               $<HDKSUREDEO\PRVW\RXNQRZLW VQRWD
     DQGDUHLQWKHEHVWSRVLWLRQWRPD\EHRIIHUWKRVH                   SHUFHQWEXWZKHQZHVD\SULPDU\WKDWWKDW VZKDW V
     JXLGHOLQHV                                                         UHDOO\GULYLQJWKHERDWIRUWKHP,WKLQNWKHUHDUH
     %<$77251(<75<21                                                  FRDFKHVRXWWKHUH
     4'R\RXKDYHDQRSLQLRQDERXWRWKHUZHOOZH            4:HOO\RXGLGQ WVD\SULPDU\<RXVDLGVROHO\
     ZLOOJHWWRWKDWODWHU/HW VJREDFNWR\RXUUHSRUW               7KRVHDUH\RXUZRUGVULJKW"
    DQGLIZHFRXOGJRWRDIWHUSDUDJUDSK:HOOWKDW              $5LJKW
    GRHVQ WVHHPULJKW7KHUHZHJR2ND\7KHWLWOHRI             $77251(<9(52))2EMHFWLRQ
    WKLVVHFWLRQRQWRSRISDJHILYHLWVD\V)RFXVLQJ6ROHO\           %<$77251(<75<21
    RQ3HUIRUPDQFH2XWFRPHV8QGHUPLQHVWKH%HQHILWVRI6SRUW           4'R\RXQRZZDQWWRPRGLI\WKDWLQ\RXURSLQLRQ"
    IRU<RXWKDQG<RXQJ$GXOW$WKOHWHV'R\RXVHHWKDW"              $77251(<9(52)), PVRUU\REMHFWLRQ
    $<HV                                                      7+(:,71(666RUU\, PMXVWJRLQJEDFN
    4$UH\RXDZDUHRIDQ\PLGGOHVFKRROVHOHPHQWDU\           WRWKLVZRUGLQJWKDW\RX UHWDONLQJDERXW$UH\RX
    VFKRROVRUKLJKVFKRROVWKDWIRFXVSULPDULO\RQ                    VD\LQJ"
    RXWFRPHV"                                                          %<$77251(<75<21
    $77251(<9(52))2EMHFWLRQ                        4$WWKHKHDGLQJ5LJKWDERXWSDUDJUDSK
    7+(:,71(661R                                   $6RUU\,ZDVORRNLQJXQGHUQHDWK<HDK,PHDQ
    %<$77251(<75<21                                                 LWLQWKHVHQVHWKDWWKDWVHHPVWREHZKDWDOOWKH
    4$UH\RXDZDUHRIDQ\VXUYH\VRUVWXGLHVRI                GLVFXVVLRQLVDERXWWKDWDOOZHUHIRFXVHGRQMXVWWKLV
    PLGGOHVFKRROVRUKLJKVFKRROVWKDWILQGRXWLIWKHUH              LVQ WIDLULQWHUPVRISHUIRUPDQFHDQG, PVD\LQJWKDW
    DUHDQ\VFKRROVWKDWIRFXVVROHO\RQSHUIRUPDQFH                   LVPLVVLQJDELJJHUSLFWXUHRIZKDW\RXWKVSRUWFDQEH


                                                           3DJH                                                   3DJH
      RXWFRPHV"                                                          4:KDWGLVFXVVLRQLVWKDW"<RXVDLGWKDW
      $77251(<9(52))2EMHFWLRQ                        GLVFXVVLRQVDOODERXWLW:KDWGLVFXVVLRQVDUH\RX
      7+(:,71(66,ZRXOGMXVWVD\WKDWLW              WDONLQJDERXW"
      GHSHQGVZKDWZHPHDQE\VROHO\IRFXVRQSHUIRUPDQFH                $77251(<9(52))2EMHFWLRQ
      RXWFRPHV,WKLQNWKHUHDUHFRDFKHVRXWWKHUHWKDW                7+(:,71(667KHLGHDWKDWLW VQRWIDLU
      DEVROXWHO\WKDWLVWKHLUSULPDU\WKLQJDQGWKH\FDUH               IRUWUDQVDWKOHWHVWRSDUWLFLSDWHULJKW$QGWKHRQO\
      OHVVDERXWWKHKROOLVWLF\RXNQRZZHOOQHVVDQGMXVW              UHDVRQWKDWZHKDYHDQ\FRQFHUQDERXWWKLVLVIURPWKH
      WKHRYHUDOOH[SHULHQFHRIWKHLUNLGVDQGWKH\DUHMXVW             SHUIRUPDQFHLVVXH6RLQWKLVFDVH, PMXVWVD\LQJLI
      WU\LQJWRSXWWKHWHDPWRJHWKHUWKDWLVJRLQJWRJLYH              ZHWKLQNDERXW%3-DQGKHUEHLQJH[FOXGHGIURPKDYLQJ
     WKHPWKHEHVWFKDQFHWRZLQ                                      WKHRSSRUWXQLW\WRSOD\DVSRUWWKHUH VDORWDWVWDNH
     %<$77251(<75<21                                                WKHUHDVZHOODVWKHRWKHUVLGHLVVD\LQJKH\LVWKLV
     4:KDWFRDFKHVDUH\RXDZDUHRILQKLJKVFKRRO             IDLULQWHUPVRISHUIRUPDQFHIRUDWKOHWHVULJKW7KDW
     WKDWGRWKDW"                                                     LVZKDW,PHDQWE\WKLV
     $-XVWLQP\H[SHULHQFHDFURVV\HDUV,VHH,         %<$77251(<75<21
     VHHFRDFKHVWKDWDUHYHU\IRFXVHGRQZLQQLQJWKDWXVHD           46RZKRLVEXW\RX UHQRWDZDUHRIDQ\
     ORWRISXQLVKPHQWIRUPLVWDNHVDQGWKDWVHHPVWREHZKDW          VFKRROVRUFROOHJHVWKDWKDYHDSROLF\RIIRFXVLQJ
     GULYHVWKHP                                                      VROHO\RQSHUIRUPDQFHRXWFRPHVULJKW"
     4$QGVR\RXEHOLHYHWKHUHDUHFRDFKHVRXWWKHUH           $5LJKW
     WKDWIRFXVVROHO\RQSHUIRUPDQFHRXWFRPHVIRU\RXWKDQG           4%XW\RXWKLQNWKHVWDWXWH+%VROHO\
     \RXQJDGXOWDWKOHWHV"                                             IRFXVHVRQSHUIRUPDQFHRXWFRPHV"
     $<HVLWMXVWVHHPVOLNHDZHLUGZD\WRWDON              $77251(<9(52))2EMHFWLRQ
     DERXWLWWKDW, PQRWVXUHZKHQ,PHDQWRSXWD              7+(:,71(66, PQRWVXUHZKDWOHDGVPH
     SHUFHQWDJHLI\RX UHDVNLQJWKDWVRDUHWKHUHFRDFKHV           WRVD\WKDWEXW,WKLQNWKHVWDWXWHH[FOXGHVDJURXSRI
     WKDWSHUFHQWWKH\ UHMXVWIRFXVHGRQZLQQLQJDQG              DWKOHWHVDQGWKDWWKDWZRXOGEHXQIRUWXQDWHWKDWWKH\


                                                                                           3DJHVWR
                Case: 22-5807
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                                                   3DJH                                                         3DJH
      ZRXOGQ WKDYHDFKDQFHWRMXVWUHDSWKHVHEHQHILWVWKDW         RUJDQL]HGVSRUWVZLWKLQWKHLUVFKRROVEXWMXVWFRPSDUH
      FDQFRPHIURPEHLQJDVSRUWVWHDP                              WKDWWR/LWWOH/HDJXHWKDWDV\RXPRYHXSWRFROOHJH
      %<$77251(<75<21                                              WKHHPSKDVLVRQZLQQLQJPD\LQFUHDVHDQGVRRQ
      46R\RXDUHQRWVD\LQJWKDW\RXEHOLHYHWKDW            47KDQN\RX:RXOG\RXDJUHHZLWKPHWKDWWKHUH
      +%IRFXVHVVROHO\RQSHUIRUPDQFHRXWFRPHVULJKW"          LVQRWKLQJLQ+%WKDWVD\VWKHUHVKRXOGEHDVROH
      $2ND\, PQRWVD\LQJWKDW,WKLQNSHUIRUPDQFH       RUP\RSLFIRFXVRQZLQQLQJLQDQ\RIWKHVSRUWVLW
      RXWFRPHVLVVHHPVWREHDSLHFHLQLW                      FRYHUV"
      4,VWKDWDQDSSURSULDWHSLHFHWRFRQVLGHU"              $77251(<9(52))2EMHFWLRQ
      $77251(<9(52))2EMHFWLRQ                     7+(:,71(66<HV,ZRXOGDJUHH
     %<$77251(<75<21                                             %<$77251(<75<21
     4/HWPHUHSKUDVHWKDW,VSHUIRUPDQFHRXWFRPHV        4$QGWKHODZGRHVQ WVD\DQ\WKLQJDQ\ZKHUHWKDW
     VRPHWKLQJWKDW VDQDSSURSULDWHWKLQJIRUDOHJLVODWXUH        WKHUHDUHQRWRWKHUEHQHILWVWRVSRUWVRWKHUWKDQ
     RUDVFKRROWRIRFXVRQ"                                       ZLQQLQJ5LJKW"
     $77251(<9(52))2EMHFWLRQ                    $77251(<9(52))2EMHFWLRQ
     7+(:,71(66<HV                               7+(:,71(665LJKW
     %<$77251(<75<21                                             $77251(<9(52)),WKLQNLIZHDUHJRLQJ
     41RZLQSDUDJUDSKLWVHOI\RXVD\WKHVHFRQG      WRKDYHDQ\TXHVWLRQVDERXWZKDWWKHODZVD\VZHVKRXOG
     VHQWHQFHDP\RSLFIRFXVRQZLQQLQJLQ\RXWKDQG\RXQJ         SXWLWEDFNXSRQWKHVFUHHQ
     DGXOWDWKOHWHVLJQRUHWKHRWKHULPSRUWDQWEHQHILWVWKDW        $77251(<75<21,GRQ WKDYHDQ\PRUH
     VFKRRODWKOHWLFVRIIHUV\RXQJDWKOHWHVVXFKDVWHDPZRUN        TXHVWLRQVRQWKDW
     DQGFDPDUDGHULHZKLFKDOODGYDQFHZKHQDOODWKOHWHVKDYH       $77251(<9(52))7KDQN\RX
     WKHRSSRUWXQLW\WRSOD\WKHVSRUWVWKH\ORYHDQGUHDS          %<$77251(<75<21
     WKHEHQHILWVRIVXFKSDUWLFLSDWLRQ'R\RXVHHWKDW"          4/HW VORRNDWSDUDJUDSKLQ\RXUUHSRUW<RX
     $<HV                                                  VD\WKHUHDUHPDQ\EHQHILWVWR\RXQJSHRSOHIURP


                                                   3DJH                                                         3DJH
      4:KHQ\RXVD\DP\RSLFIRFXV\RX UHQRW                SDUWLFLSDWLQJLQDWKOHWLFDFWLYLWLHVGLVFXVVHGIXUWKHU
      H[FOXGLQJDQDSSURSULDWHOHYHORIIRFXVRQZLQQLQJ             KHUHLQ'R\RXVHHWKDW"
      5LJKW"                                                          $<HV
      $77251(<9(52))2EMHFWLRQ                     4,VLWSRVVLEOHWKDWVRPH\RXQJSHRSOHDUH
      7+(:,71(667KDW VULJKW                      DFWXDOO\KDUPHGE\SDUWLFLSDWLRQLQDWKOHWLFDFWLYLWLHV"
      %<$77251(<75<21                                              $77251(<9(52))2EMHFWLRQ
      4,VWKHUHDUHDVRQDEOHYDULDQFHRIRSLQLRQVLQ          7+(:,71(66<HV,WKLQNVR
      WKHVSRUWLQJZRUOGVSRUWVZRUOGRQZKDWH[DFWO\WKH         %<$77251(<75<21
      SURSHUIRFXVRQZLQQLQJRXJKWWREHYHUVXVWKHRWKHU            4:KDWDUHVRPHRIWKRVHSRVVLEOHKDUPV"
     EHQHILWV"                                                      $6RPHRIWKRVHKDUPVPLJKWEHWKH\KDYHDEXVLYH
     $77251(<9(52))2EMHFWLRQ                    FRDFKHVWKDWSXVKWKHPWRRKDUGSK\VLFDOO\WKDW\RX
     7+(:,71(66<HV,WKLQNWKHUHLVDQ          NQRZGRQ WWUHDWWKHPLQDGHYHORSPHQWDOO\DSSURSULDWH
     DJUHHPHQWZLWKLQRXUILHOGRIVSRUWH[HUFLVHSV\FKRORJ\        ZD\WKDWWKHUHFRDFKHVDOORZOLNHEXOO\LQJWRJR
     WKDWDWWKH\RXWKVSRUWOHYHOWKHIRFXVVKRXOGEHRQ           RQWKDWNLGVDUHPDGHWRIHHOVKDPHLIWKH\GRQ W
     JLYLQJDVPDQ\NLGVDVSRVVLEOHDFKDQFHWRSDUWLFLSDWH        SHUIRUPZHOO7KRVHNLQGRIWKLQJV
     LQ\RXWKVXSSRUWULJKW$QGWKHQDVDWKOHWHVPRYHXS         42XWVLGHWKHFRDFKLQJ\RXPHQWLRQHGEXOO\LQJ
     WKHOHYHOVWKDWWKHUHLVPRUHHPSKDVLVDQGLPSRUWDQFH         6RLQVSRUWVWKDWKDSSHQVULJKWVRPHDWKOHWHVEXOO\
     SODFHGRQZLQQLQJ                                             RWKHUDWKOHWHVULJKW"
     %<$77251(<75<21                                             $,WKDSSHQVVRPHWLPHV
     4:KDWGR\RXPHDQE\WKDWDVDWKOHWHVPRYHXS         4$QGWKDWFDQKDYHORQJWHUPODVWLQJQHJDWLYH
     WKHOHYHOV"                                                    LPSDFWVULJKW"
     $7KDWW\SLFDOO\WKHUH VDJUHDWHUIRFXVLQKLJK        $<HV
     VFKRROWKDQPLGGOHVFKRROJUHDWHUIRFXVLQPLGGOH             4$UH\RXDZDUHWKDWVRPHWLPHVWKRVHZKRDUH
     VFKRROWKDQHOHPHQWDU\VFKRROQRWWKDWWKH\KDYH              DWKOHWHVDOVREHOLWWOHWKRVHZKRDUHQRW"


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                                                   3DJH                                                         3DJH
      $<HV, PDZDUHRIWKDW                                DSRORJL]HIRUPLVVLQJWKDW
      4/HW VPRYHRQWRSDUDJUDSKQXPEHU,Q               4<RXUGLVVHUWDWLRQ"
      SDUDJUDSK\RXWDONHGDERXWDFKLHYHPHQWJRDO                  $<HV,GLGDWKLVZDVP\OLQHRIZRUN
      SHUVSHFWLYHWKHRU\ULJKW"                                      (DUO\LQP\FDUHHU,GLGDVHULHVRIWKUHHVWXGLHVNLQG
      $<HV                                                   RIWDSSLQJLQWRWKRVHKRZFKLOGUHQJDLQDQ
      4'RHVWKLVWKHRU\DSSO\WRRXWVLGHVSRUWVVD\          XQGHUVWDQGLQJRIWKHFRQFHSWVRIHIIRUWOXFNDQG
      IRUH[DPSOHWRDFDGHPLFV"                                      DELOLW\
      $<HV-RKQ1LFKROOVDFWXDOO\VWDUWHGWKHUHLQ           47KH\JDLQDQXQGHUVWDQGLQJRIFRQFHSWVRI
      FODVVURRPUHVHDUFK                                             HIIRUWRIOXFNDQGDELOLW\,VWKDWZKDW\RXVDLG"
     46RJRDOSHUVSHFWLYHWKHRU\LVDERXWJRDOV            $<HV
     ULJKW"                                                         4:KDWGRHVWKDWPHDQOXFNDQGDELOLW\"
     $<HV                                                  $6RZKHQNLGVDUHUHDOO\OLWWOHWKRVHWKH\
     4$QGKRZWRVHWJRDOVDQGKRZWRUHDFKJRDOV"          GRQ WFOHDUO\GLVWLQJXLVKWKHVH6RWKH\MXVWWKLQN
     $1RWH[DFWO\,ZRXOGXVHVRUWRIDQRWKHUDUHD        KH\ZKRHYHUWULHVKDUGHVWWKH\DUHJRLQJWRGRWKH
     RIJRDOVHWWLQJEXWJRDOSHUVSHFWLYHWKHRU\LVPRUH           EHVWULJKWDQGWKH\GRQ WUHFRJQL]HDELOLW\LQWKH
     DERXWZKDWLVRXUKRZGRZHGHILQHVXFFHVVDQGKRZ         VDPHZD\WKDWZHGRDVZHPDWXUHRYHUWLPHDQGWKDWZH
     DUHZHNLQGRIYDOXLQJZKDWLVLPSRUWDQWLQOLIH6RPH        XQGHUVWDQGKH\JRVK\RXFRXOGUXQFLUFOHVDURXQGPH
     SHRSOHWKLQNRIJRDOSHUVSHFWLYHLVKRZZHVHWJRDOV          WRGD\\RXZHUHDPXFKEHWWHUIDVWHURUVWURQJHUUXQQHU
     ULJKWWKDWWKH\QHHGWREHVSHFLILFPHDVXUDEOH7KDW         WKDQ,DPIRUH[DPSOHULJKW$QGWKDWGRHVQ WPHDQ
     LVVRUWRIDQRWKHUSDUWRIWKHOLWHUDWXUH$QGLQVWHDG       WKDW,FDQ WWU\KDUGHUWRLPSURYHEXWRXUDELOLW\
     1LFKROOVLVMXVWWKLQNLQJKRZWRXQGHUVWDQGSHRSOH V           OHYHOVDUHUHDOO\GLIIHUHQWWRGD\
     SHUVSHFWLYHRQZKDWWKH\DUHWU\LQJWRJHWRXWRI              6RLQWKHVHVWXGLHVZHVHWXSVFHQDULRVDQGZH
     WKLQJVULJKW$QGLI\RXKDYHWKLVWDVNJRDO                 VKRZNLGVDQGVRWKHUH VNLQGRIDFRQWUDVW6RPHERG\
     SHUVSHFWLYHVWKDW\RXDUHPRYLQJWKURXJKOLIHWKLQNLQJ         GLGQ WWU\KDUGDWDOODFWXDOO\RXWSHUIRUPHGVRPHERG\


                                                   3DJH                                                         3DJH
      KRZFDQ,MXVWJLYHLWP\EHVWDQGEHWKHEHVWWKDW,           ZKRVHHPVWREHIRFXVHGDQGFRQFHQWUDWLQJDQGZHVD\
      FDQEH$QGLI\RXDUHPRYLQJWKURXJKOLIHZLWKDQHJR         \RXNQRZZKDWGRZHWKLQNLVKDSSHQLQJKHUH$QGVR
      SHUVSHFWLYH\RXDUHWKLQNLQJKH\KRZFDQ,                   WKHVHFRQFHSWVDUHMXVWUHDOO\EOXUUHGDQGNLGVDUH
      GHPRQVWUDWHP\FRPSHWHQWP\FRPSHWHQFHDQGVKRZ             VD\LQJ\HDK\RXNQRZWKLVSHUVRQLVGHILQLWHO\WU\LQJ
      RWKHUSHRSOH, PEHWWHU                                        KDUGHU,GRQ WNQRZZK\WKH\GLGQ WSHUIRUPYHU\ZHOO
      4$QGWKDWKDSSHQVLQDOODVSHFWVRIOLIHULJKW        7KLVSHUVRQORRNVOLNHWKH\DUHQRWWU\LQJKDUG%XWLI
      QRWMXVWLQDFDGHPLFV"                                          WKH\ERWKGRLWDJDLQDQGWKH\WU\KDUGWKHQ,WKLQN
      $<HVLW VDSUHWW\UHOHYDQWWKHRU\                    WKH\ZLOOJHWWKHVDPHVFRUH6RMXVWWKLVZLGHYDULHW\
      4<RXSUREDEO\VHHLWLQIDFXOW\ORXQJHVDQG             RIVFHQDULRV.LGVGRQ WGLVWLQJXLVKOLNHOXFNDQG
     FROOHJHERDUGVDQG\RXZLOOFHUWDLQO\VHHLWORWVRI           DELOLW\6R\RXNQRZLI\RX UHDURXQGOLWWOHNLGV\RX
     SODFHVLQDFDGHPLDULJKW"                                     NQRZWKH\OLNHJDPHVOLNH&KXWHVDQG/DGGHUVRU
     $5LJKWDFDGHPLDIURP, PJXHVVLQJODZILUPVDQG       &DQG\ODQG7KRVHDUHDKXQGUHGSHUFHQWOXFNJDPHV
     SUREDEO\HYHU\ZKHUHZHJRLQWKHZRUOG                        ULJKW7KHUH VQR
     4<RXEHW$EVROXWHO\\RXVHHLWLQODZILUPVDQG      41RZ,XQGHUVWDQG,WKRXJKW\RXVDLGORFN
     SUHWW\PXFKHYHU\SODFH,DJUHHZLWK\RX                     /2&.<RXDUHVD\LQJOXFN/8&."
     /HWPHORRNDWSDUDJUDSKZLWK\RX<RXVD\        $5LJKWULJKW
     ILUVWLVWKHGHYHORSPHQWDOFRPSRQHQWRIDFKLHYHPHQWJRDO       47KDQN\RX,GLGQ WPHDQWRKDYH\RXJRRQZLWK
     SHUVSHFWLYHWKHRU\<RXQJFKLOGUHQDUHLQFDSDEOHRI           WKDWORQJH[SODQDWLRQZKHQ,MXVWPLVXQGHUVWRRG\RXURQH
     DFFXUDWHO\FRPSDULQJWKHLUDELOLW\WRRWKHUV                  ZRUG%XWWKDQN\RXIRUWKDWH[SODQDWLRQ7KDWKHOSV
     RYHUHVWLPDWHWKHLUDELOLW\DQGDUHQDWXUDOO\IRFXVHGRQ        PHXQGHUVWDQGZKDW\RX UHVD\LQJKHUH
     WKHLUHIIRUWDVDPDUNHURIVXFFHVV6R, PQRWVD\LQJ        6RP\WKHQ, PMXVWLQWHUHVWHGLQZKDWLVLW
     WKDW VZURQJEXW,GRQ WVHHDVRXUFHIRUWKDW'R\RX       WKDWDWVRPHSRLQWOLWWOHNLGVVRPHKRZUHDOL]HWKDWWKH\
     KDYHDVRXUFHIRUWKDWVWDWHPHQW"                              KDYHRYHUHVWLPDWHGWKHLUDELOLW\LVWKDWVRPHWKLQJWKDW
     $,GR1LFKROOVDQGP\GLVVHUWDWLRQ,          MXVWQDWXUDOO\KDSSHQVRULVLWVRPHWKLQJWKDWRWKHU


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                                                   3DJH                                                        3DJH
      SHRSOHKDYHWRSRLQWRXWIRUWKHPIRUWKHPWRUHDOL]H          LVVXHZLWKLQHGXFDWLRQLVQRWWKDWNLGVDUH
      LWZKHWKHULWEHWHDFKHUVRUFRDFKHVRUMXVWWKHNLGV         RYHUHVWLPDWLQJEXWWKH\ UH\RXNQRZGRQ WKDYHDV
      DURXQGWKHP"                                                   KLJKVHOIHVWHHPRUFRQILGHQFHDQGWKRVHW\SHRIWKLQJV
      $2ND\                                                 %XWDUHWKHUHSHRSOHRXWWKHUHWKDWFRXOGEH
      6RMXVWDTXLFNH[DPSOH1LFKROOVZRXOGSXWD        RYHUHVWLPDWLQJ"$EVROXWHO\
      OLVWRIIDFHV\RXNQRZOLNHJHQHULFVPLOH\IDFHVWR        %<$77251(<75<21
      DQG\RXJRLQZLWKDFODVVRIILYH\HDUROGVDQG\RX        46R1LFKROOVGLGWKHVWXG\RIDFDGHPLF'LGKH
      LQWHUYLHZWKHPRQHDWDWLPH$QG\RXVD\RND\WKLV         GRDQ\VWXG\DWKOHWLFDOO\"
      LVHYHU\ERG\LQ\RXUFODVVDQGWKH\DUHOLVWHGE\KRZ          $7KDW VZKHUH,SLFNHGLWXSDQGORRNHGLQWKH
     JRRGDUHDGHUWKH\DUHULJKW$QGVRWKLVSHUVRQLV         SK\VLFDOGRPDLQDQGPDGHVFHQDULRVSHFLILFWRSK\VLFDO
     WKHYHU\EHVWLQ\RXUFODVVULJKWWKLVSHUVRQLVMXVW       DFWLYLW\DQGFRQGXFWHGWKHVHWKUHHVWXGLHVWKDWORRNHG
     WKHZRUVWUHDGHUWKLVSHUVRQLVWKHPLGGOH:KLFKRQH       DWHIIRUWDQGOXFNDQGDELOLW\ZLWKNLGVDJHGWR
     LV\RX"$QGWKHPHDQIRUNLGVLQNLQGHUJDUWHQLVOLNH        DQGVRUWRIUHSOLFDWHGKLVZRUNDQGZHIRXQGWKDWNLGV
     WKUHHZKLFKWHOOVXVWKH\ UHDOOVD\LQJZHOOWKDW VPH      PRYHWKURXJKWKHVHVDPHOHYHOVRIXQGHUVWDQGLQJLQWKH
     XSWKHUHKLJKULJKW, PWKHEHVWUHDGHULQWKHFODVV      SK\VLFDOGRPDLQZKHUHWKLQJVDUHDOLWWOHELWPRUH
     %XWDV\RXPRYHWKURXJKWKRVHHOHPHQWDU\VFKRRO\HDUV        REYLRXVIRUXVWRVHHULJKW,IZH UHVLWWLQJKHUH
     WKHPHDQVKLIWVWROLNHE\WKHWLPHWKH\ UHVD\LQ         ZRUNLQJRQPDWKSUREOHPVZHQRWEHDEOHLWPLJKWQRW
     VL[WKJUDGHEHFDXVHZKHQ\RXDVNVL[JUDGHUVDOO            EHDVHYLGHQWWKDWKH\VRPHERG\LVPRYLQJWKURXJK
     ULJKWKHUH VHYHU\ERG\LQ\RXUFODVVZKHUHGR\RXILW       WKHVHDQGWKH\DUHVWURQJHUULJKW%XWLQWKHSK\VLFDO
     LQWKH\DUHPXFKPRUHDFFXUDWH$QGZKHQWKH\DVNWKH       GRPDLQZKHQZHVHHHDFKRWKHUDQGPRYHDQGZHFDQVHH
     WHDFKHUVWKHUH VQRFRUUHODWLRQULJKWZLWK\RXQJHU         HDFKRWKHU VVNLOOOHYHOVLQVRPHRIWKHVHWKLQJVPRYH
     NLGVEHFDXVHWKH\DUHDOORYHUWKHSODFH%XWE\WKH        DWLQ\ELWIDVWHUEXWLWZDVWKHVDPHVRUWRIVWDJHVRI
     WLPH\RXJHWWRWKHXSSHUHOHPHQWDU\JUDGHVLW                GHYHORSPHQWLI\RXZLOO
     FRUUHODWHVKLJKO\ZLWKZKDWWKHWHDFKHUVDUHVD\LQJLQ        4,V\RXUGLVVHUWDWLRQFLWHGLQ\RXUELEOLRJUDSK\"


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      WHUPVRIWKHNLGV UHDGLQJDELOLW\$QG1LFKROOVVDLG         $1RLWLVQRW
      WKLVLVVRNH\EHFDXVHLWPDNHV0LGGOH6FKRRODYHU\NH\       4,VLWLQ\RXUOLVWRISXEOLFDWLRQV"
      GHYHORSPHQWDOSHULRGDVNLGVDUHJDLQLQJWKLV                  $,W VLQP\9LWDH
      XQGHUVWDQGLQJDOORIDVXGGHQQRZWKHUHLVDUHDVRQWR         4<RXKDYHDORWRISXEOLFDWLRQV&DQ\RXGLUHFW
      WU\\RXUKDUGHVWRUZLWKGUDZHIIRUWEHFDXVH\RXGRQ W          PHWRLW"
      ZDQWWRORRNVLOO\<RXNQRZWKDWRWKHUSHRSOHPLJKWEH       $<RX UHJRLQJWRJREDFNDZD\V2ND\6RWKH
      PRUHVNLOOHGWKDQ\RX$QGWKDW VZK\KHZDVVR               GLVVHUWDWLRQVWXG\LVRQLW VRQSDJHVL[)U\
      SDVVLRQDWHDERXWWKLVWKHRU\(YHQWKRXJKZHDUH              DQG'XGD
      FDSDEOHRIORRNLQJDWWKHZRUOGWKDWZD\ZHDOOFDQ           4,VHH)U\DQG'XGD
     FKRRVHWRMXVWVWD\IRFXVHGRQRXUHIIRUWDQGDELOLW\         $<HVWKRVHDUHP\GLVVHUWDWLRQVWXGLHV$QG,
     DQGEHLQJWKHEHVWWKDWZHFDQEH                            IROORZHGLWXSZLWKWZRVWXGLHVDWWKHWRSRIWKDWSDJH
     46RWKHUHDUHSHRSOHWKDWVRUU\                  )U\7KHUHDUHWZRGLIIHUHQWVWXGLHV
     $7KDWLVWKHRWKHUSLHFHRIWKHFOLPDWHKRZGR       42ND\
     ZHWUDLQWHDFKHUVDQGFRDFKHVWRFUHDWHWKDW                  /HWPHPRYHRQWRSDUDJUDSKRI\RXUUHSRUW
     HQYLURQPHQW7KDWWHOOVSHRSOHNHHSWKDWWDVN                ,MXVWJRRIHGRQP\WKHUHZHJR,ORVWDOOWKH
     LQYROYHPHQWJRLQJ                                            SLFWXUHVVR,FRXOGQ WVHH\RXDQ\PRUH-XVWRQHRI
     4$QGWKHUHDUHSHRSOHWKDWFRQWLQXHWR                WKHKD]DUGVRIWHFKQRORJ\2ND\6R, PORRNLQJDW
     RYHUHVWLPDWHWKHLUDELOLWLHVWKURXJKRXWOLIHULJKW"          SDUDJUDSKDQG\RXWDONDERXWWDVN+HUH\RXWDON
     $<HV                                                 DERXWJRDOSULPDU\JRDORULHQWDWLRQVDUHWDVNDQG
     4$QGWKDWLVH[DFHUEDWHGLIWKRVHSHRSOHDUH          HJRRULHQWDWLRQULJKW"
     QHYHUFRUUHFWHGWROHWWKHPNQRZLQVRPHZD\WKDWWKHLU       $<HV
     DELOLWLHVDUHQRWZKDWWKH\WKLQNWKH\DUHULJKW"            46R\RX UHQRWVD\LQJ,WKLQN\RX YHVDLG
     $77251(<9(52))2EMHFWLRQ                   WKLVEHIRUHEXW,MXVWZDQWWRPDNHVXUH,XQGHUVWDQG
     7+(:,71(66<HDK, GVD\RXUELJJHU         <RX UHQRWVD\LQJWKDWHJRRULHQWDWLRQLVEDGIURPDQ


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                                                                         Armistead App. 0526
                                                  3DJH                                                        3DJH
      LQGLYLGXDOEDVLVDUH\RX",WMXVWNLQGRIVRXQGVOLNH        ZDQWWREHLQWHQWLRQDODQG,ZDQWWRGRHYHU\WKLQJ,FDQ
      LW VDSHMRUDWLYH<RXGRQ WPHDQLWWKDWZD\GR\RX"        WRFUHDWHWKLVHQYLURQPHQWWKDWLVJRLQJWRKHOSEULQJ
      $,WKLQNLWGHSHQGVRQZKDW\RXUDLPLVDQGLI         RXWWKHEHVWLQP\DWKOHWHVULJKWDQG,GRQ WKDYH
      \RXKDYHLI\RXZDQWDWKOHWHVWRKDYHIXQDQGWU\          WRWDOFRQWURORYHUZKDWP\DWKOHWHVSHUFHLYH, PMXVW
      KDUGDQGKDYHJRRGUHODWLRQVKLSVDQG\RXNQRZIHHO           JRLQJWRGRZKDW,FDQWRSURPRWHWKHVHIHDWXUHVWKDW
      JRRGDERXWWKHPVHOYHVKDYHFRQILGHQFHKDYHHPSDWK\IRU       DUHLQWKHODVWVHQWHQFH, PDOVRJRLQJWRJHW
      RWKHUVWKLQJVOLNHWKDWWKHQLW VQRWVRPHWKLQJZH           DWKOHWHVWU\LQJWRJHWWKHPWREX\LQVRWKDWWKH\VHH
      ZRXOGZDQWWRSURPRWHLVWKHRULHQWDWLRQEHFDXVHDFURVV        KRZYDOXDEOHWKLVLVLIZHFUHDWHWKLVFDULQJ
      DZLGHERG\RIOLWHUDWXUHWKRVHMXVWGRQ WOHDGWRZKDW        WDVNLQYROYLQJFOLPDWH,WGRHVQ WLQDQ\ZD\PHDQ\RX
     ZHFDOODGDSWLYHRXWFRPHVULJKW                             NQRZZH UHQRWJRLQJWRJHWDEDGFDOORUWKLQJVDUHQ W
     2QWKHRWKHUKDQGPDQ\HOLWHDWKOHWHVDUHKLJK      JRLQJWRKDSSHQWKLQJVGRQ WJRRXUZD\VRPHERG\
     LQWDVNDQGHJRRULHQWDWLRQULJKW$QGWKHELJGHDO         VWDUWVEHIRUH,GR5LJKW$OONLQGVRIWKLQJV7KRVH
     KHUHLVWKDWSHRSOHUHDOO\QHHGWKDWKLJKWDVN                DUHMXVWSDUWRIVSRUWVULJKWEXWWKLVUHIHUVWRWKH
     RULHQWDWLRQWRVXVWDLQPRWLYDWLRQRYHUWLPHZLWKWKHXSV      FRDFKHVEX\LQJLQWRWKLVWUXFNORDGRIUHVHDUFKWKDWZH
     DQGGRZQVDQGRYHUFRPLQJLQMXULHVZLWKDOORIWKDWEXW      KDYHWKDWVKRZVKRZZHFDQKHOSDOODWKOHWHVKDYHDJRRG
     HJRRULHQWDWLRQLVQ WQHFHVVDULO\DEDGWKLQJLQWKLV         H[SHULHQFH
     FDVH%XWLWSUREDEO\LVQ WJUHDWLI\RXGRQ WKDYH          4<RX UHQRWDGYRFDWLQJIRUODZVUHTXLULQJDWDVN
     WKDWKLJKWDVNRULHQWDWLRQWRJRZLWKLW                     RULHQWHGHQYLURQPHQWDUH\RX"
     46ROHW VPRYHRQWRSDUDJUDSK2ND\6RLQ      $1R7KDWZRXOGEHWHPSWLQJ1R:H UHMXVW
     WKHODVWVHQWHQFH,WKLQNLWLVWKHQH[WWRODVW             VD\LQJLIRXUJRDOLVWRKHOSDWKOHWHVUHDFKWKHLU
     VHQWHQFH2ND\7KHVHQWHQFHWKDWVWDUWVZKHQWKH           SRWHQWLDOWKHQZHKDYHDORWRIVFKRODUVKLSWRJXLGH
     HQYLURQPHQWFUHDWHGE\FRDFKHVDQGRWKHUVLVDFDULQJ         WRJXLGHZKDWZHGR:HNQRZDORWDERXWKRZWR
     HQYLURQPHQWGR\RXVHHWKDWSDUW"                            PDNHWKDWKDSSHQ
     $<HV                                                 4'R\RXWKLQNFRDFKHVDUHXQIDLULIWKH\GRQ W


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      4,WFRQWLQXHVDWKOHWHVDUHPRUHOLNHO\WR             DGRSWDWDVNRULHQWHGDSSURDFK"
      SHUFHLYHWKHRYHUDOOFOLPDWHDVWDVNLQYROYLQJ$             $77251(<9(52))2EMHFWLRQ
      FDULQJHQYLURQPHQWLVRQHZKHUHDWKOHWHVIHHOVDIH            7+(:,71(66,WKLQNWKH\GRDORWRI
      ZHOFRPHFRPIRUWDEOHDQGYDOXHGDQGDUHWUHDWHGZLWK           KDUPULJKWDQGWKH\VHWDWKOHWHVXSWRH[SHULHQFHDOO
      NLQGQHVVDQGUHVSHFWE\DOOLQWKHVSRUWVVHWWLQJ<RX        WKHVHQHJDWLYHDVSHFWVULJKWDQGWKH\GRQ WKDYHIXQ
      ZURWHWKDWULJKW"                                             DQGWKH\GRQ WWU\DVKDUG7KH\GRQ WKDYHDVJRRGD
      $<HV                                                  UHODWLRQVKLSWKH\H[SHULHQFHVKDPH$QGDOORIWKDW
      4$QGWKDWPHDQVDFDULQJHQYLURQPHQWIRUDOO           VWXIIMXVWPHDQVWKDWDORWRINLGVDUHQ WJRLQJWR
      DWKOHWHVULJKW"                                               VWLFNZLWKLWDQGZHDUHJRLQJWRORVHDORW$QGWKDW
     $<HV                                                 MXVWKDVORQJWHUPLPSOLFDWLRQVIRUSHRSOHOLYLQJ
     4$QGDFDULQJHQYLURQPHQWDOVRUHTXLUHVUXOHV"        SK\VLFDOO\DFWLYHOLYHVULJKW:KHQ\RXKDYHEDG
     $<HV                                                 H[SHULHQFHV\RXNQRZDORWRISHRSOHDUHUXQQLQJEDFN
     4$FDULQJHQYLURQPHQWVWLOOLQFOXGHVWKHFRDFK        RXWWKHUHWRNHHSSDUWLFLSDWLQJ
     OHWPHUHSKUDVHWKDW$FDULQJHQYLURQPHQWVWLOO         %<$77251(<75<21
     LQFOXGHVWKHFRDFKDQGRIILFLDOVDQGUHTXLUHVWKHPWR         4:HOORIILFLDOVPDNHFDOOVDOOWKHWLPHWKDW
     PDNHFDOOVWKDWPDNHWKDWVRPHDWKOHWHVGRQ WOLNH        XSVHWDWKOHWHV$WKOHWHVWKLQNWKH\ UHXQIDLURU
     DQGPD\HYHQJHWXSVHWULJKW"                                WKH\ UHZURQJ<RX UHDWHQQLVSOD\HU<RXUHPHPEHU
     $77251(<9(52))2EMHFWLRQ                   -RKQ0F(QURH"
     7+(:,71(665LJKW                            $,GR
     %<$77251(<75<21                                            4+H\HOOHGDOOWKHWLPH$OOWKHWLPHLVDQ
     46RKRZGR\RXVTXDUHWKDWZLWKDFDULQJ              H[DJJHUDWLRQ+HIUHTXHQWO\FODLPHGWKHFDOOVWKH
     HQYLURQPHQWZKHQWKHUXOHVDUHJRLQJWRPDNHVRPH             RIILFLDOVPDGHZHUHXQIDLUULJKW"
     DWKOHWHVXQKDSS\"                                             $<HV
     $6RWKLVLVDERXWFRDFKHVNLQGRIVD\LQJ\HV,      4'R\RXWKLQNWKDWWKHXPSLUHVVKRXOGKDYH


                                                                                       3DJHVWR
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                                                   3DJH                                                         3DJH
      FKDQJHGWKHLUFDOOVWRVDWLVI\KLPLQRUGHUWRSURYLGHD        VRZHMXVWNLQGRIKDYHWRNHHSWKHIRFXVRQWKHUXOHV
      PRUHFDULQJHQYLURQPHQWIRUKLP"                                ,KDGDQDWKOHWHWHOOPHWKDWKLVWHDPPDWHKDVEHHQ
      $77251(<9(52))2EMHFWLRQ                     GLDJQRVHGZLWK06DQGWKDWGRHVQ WVHHPYHU\IDLU
      7+(:,71(66,WKLQNWKH\VKRXOGKDYH           ULJKWWKDWD\RXQJSHUVRQKDVWRJRWKURXJKWKDWEXW
      WDNHQKLPRXWRIDIHZWRXUQDPHQWVDQG,IHHOOLNHWKDW         , PJODGWKDWWKH\DUHSDUWRIDFDULQJDQG
      ZRXOGKDYHQLSSHGLWLQWKHEXG%XWZLWKUHVSHFWWRD         WDVNLQYROYLQJWHDPZKHUHWKH\ZDQWWKLVDWKOHWHWR
      FDULQJDQGWDVNLQYROYLQJFOLPDWHZKDW\RX UHWU\LQJWR        FRQWLQXHWREHSDUWRIWKHWHDPULJKW$QGLQPRUHRI
      VD\LVZHDUHWU\LQJWRWUHDWHYHU\RQHZLWKNLQGQHVVDQG        DQHJRLQYROYLQJWHDPZHPLJKWMXVWVD\KH\VRUU\
      UHVSHFWDQGZH UHJRLQJWRXQGHUVWDQGWKDWRIILFLDOVDUH        \RXDUHUHDOO\JRLQJWRLPSDLURXUDELOLW\WRZLQ
     RXWWKHUHWU\LQJWRGRWKHEHVWWKH\FDQDQGWKH\ UH          7KDW VRXUIRFXVWKDW VZK\ZHDUHKHUHVR\RXNQRZ
     JRLQJWRPDNHPLVWDNHVMXVWOLNHDOORIXVPDNH                KDYHDJRRGOLIHULJKW$QG,PHDQZKDW VKDSSHQLQJ
     PLVWDNHV$QGVRWKHJRDOZRXOGEHIRUXVWREH               LVWKH\DUHMXVWZRUNLQJZLWKWKLVDWKOHWHWRVWLOOEHD
     UHVSHFWIXO$QGLIZHIHHOOLNHEDGFDOOVDUHPDGHZH         YLWDOSDUWRIWKHWHDP
     ZRXOGGHDOZLWKLWLQDUHVSHFWIXOZD\ULJKWEXWZH          %<$77251(<75<21
     GRQ WGHDOZLWKLWOLNH:LOO6PLWKGLGULJKWOLNHZKHQ       4'R\RXWKLQN\RXQHHGWREHDQDWKOHWHWRKDYHD
     KHZH UHWU\LQJWROHDUQWRFRQWURORXUHPRWLRQV          IXOILOOLQJOLIH"
     ULJKWDQGZRZLWMXVWPDNHVVSRUWDSRZHUIXODUHQD           $1R
     ZKHQDWKOHWHVFDQOHDUQWKRVHWHUPV                           4, PJODGWRKHDU\RXVD\WKDWEHFDXVH, PQRW
     %<$77251(<75<21                                             PXFKRIDQDWKOHWH
     45LJKW,XQGHUVWDQGWKDW$QG, PMXVWDVNLQJ      $77251(<75<21:HOOLISHRSOHZDQWWR
     VR\RXJRWUXOHV\RXJRWFDOOVE\KLJKHUSRZHUVDQG\RX       EUHDNIRUOXQFKQRZ, PRND\ZLWKWKDW,FDQWDNHD
     JRWWROLYHE\WKRVHUXOHV$QGLI\RXWKLQNWKH\ UH          EUHDNQRZRUZHFDQNHHSRQJRLQJ:KDWHYHU'U)U\
     XQIDLUWKHQ\RXVKRXOGDVNWKHPWRKDYHWKHPFKDQJHG          3URIHVVRU)U\ZKDWHYHU\RXUSUHIHUHQFHLVDQGRWKHU
     ULJKW"                                                         FRXQVHO"


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      $<HV                                                   7+(:,71(66,WPLJKWEHQLFHWRKDYHD
      4%XWLWLVVWLOODFDULQJHQYLURQPHQWDQGMXVW          EUHDNDWWKLVSRLQW
      EHFDXVH\RXWKLQNLWLVXQIDLUWR\RXLQSDUWLFXODU             $77251(<75<212ND\'R\RXZDQWWRJR
      GRHVQ WPDNHLWXQFDULQJ                                       DQGJHWVRPHOXQFK"
      ,VWKDWDIDLUVWDWHPHQW"                              7+(:,71(66<HVVRXQGVJRRG
      $77251(<9(52))2EMHFWLRQ                     $77251(<75<21+RZORQJGR\RXQHHG",
      7+(:,71(66<RXNQRZWKHZD\UHVHDUFK         GRQ WNQRZZKDW\RXUHQYLURQPHQWLVDURXQG\RXLI\RX
      LVGRQHLV\RX UHDVNLQJHYHU\DWKOHWHRQWKHWHDPWR           EURXJKWDOXQFKRUWKHUH VDUHVWDXUDQWQHDUE\,VKDOI
      ILOORXWDVXUYH\ULJKW6RLWGRHVQ WPHDQWKDWWKHUH        DQKRXUORQJHQRXJK"'R\RXQHHGORQJHU"
     LVDSHUFHQWDJUHHPHQWULJKW,PD\IHHOOLNHWKH        7+(:,71(661RDKDOIKRXUZRXOGEH
     FRDFKLVQ WIDLUKDVQ WJLYHQPHDIDLUVKRWULJKW          JUHDW
     DQGVRPHERG\HOVHPD\QRWIHHOWKDWZD\%XWLQ               $77251(<75<217KHQZK\GRQ WZHWDNHD
     JHQHUDOWKHUH VVRUWRIDFRQVHQVXVRQPRVWWHDPV\RX        EUHDNDQGFRPHEDFNDWWHQPLQXWHVDIWHUWKHKRXU"
     NQRZWKDWSHRSOHDUHVHHLQJLWPRUHVLPLODUO\                7+(:,71(662ND\
     %<$77251(<75<21                                             9,'(2*5$3+(5*RLQJRIIWKHUHFRUG7KH
     4<HV,JXHVV, PMXVWDVNLQJVSHFLILFDOO\DERXW       FXUUHQWWLPHUHDGVSP(DVWHUQ6WDQGDUG7LPH
     UXOHV5XOHVE\WKHLUYHU\QDWXUHWKH\DUHQRWFDULQJ       2))9,'(27$3(
     WKH\GRQ WFDUHDERXWLQGLYLGXDOV7KH\DUHMXVWVHW          
     WKHUHDQG\RXQHHGWRIROORZWKHPULJKW"                       :+(5(8321$6+257%5($.:$67$.(1
     $77251(<9(52))2EMHFWLRQ                    
     7+(:,71(66<HDK+RSHIXOO\WKH\KDYH         219,'(27$3(
     EHHQHVWDEOLVKHGLQDFDULQJZD\WKLQNLQJDERXWZKDWLV       9,'(2*5$3+(5:HDUHEDFNRQWKHUHFRUG
     EHVWIRUDWKOHWHVEXWWKHUHLVMXVWVRPDQ\WKLQJV            7KHFXUUHQWWLPHUHDGVSP(DVWHUQ6WDQGDUG
     DFURVVVSRUWVWKDWDUHQRWQHFHVVDULO\IDLUULJKWDQG        7LPH


                                                                                        3DJHVWR
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                                                   3DJH                                                        3DJH
      %<$77251(<75<21                                             ZLQLI,GHPRQVWUDWHFRPSHWHQFHULJKWWRDJUHDWHU
      42ND\                                                 GHJUHHWKDQRWKHUSHRSOHULJKWVRLIWKDWGRHVQ W
      /HW VJREDFNWRSDUDJUDSKRI\RXUUHSRUW         KDSSHQEXWWKDWLVKRZ,MXGJHVXFFHVVWKHQFKDQFHVDUH
      ,WVD\VDWKOHWHVKLJKLQWDVNRULHQWDWLRQDOVRUHSRUW          P\SHUFHSWLRQVRIDELOLW\DUHJRLQJWREHORZHU
      JUHDWHUFRQILGHQFHDQGSHUFHLYHGDELOLW\DQGWDVN              ,I, PWKHVWDURQWKHWHDPDQG,MXGJHVXFFHVV
      RULHQWDWLRQKDVEHHQFRUUHODWHGZLWKERWKVHOIDQGWHDP        EDVHGRQKRZ,FRPSDUHWRRWKHUVWKHQ,SUREDEO\JHWD
      HIILFDF\DQGJUHDWHUSHUFHLYHGFRQILGHQFH                  ORWRINXGRVDQGJHWUHHQIRUFHGIRUWKDW6RWKDW VZK\
      FRPSHWHQFHH[FXVHPH<RXDUHVD\LQJJUHDWHU                 ZHZLOOJXHVVWKHUHLVQRFRUUHODWLRQWKHUHLQWKHZD\
      FRQILGHQFHDQGSHUFHLYHGDELOLW\3HUFHLYHGDELOLW\LV        WKHUHLVWDVNULJKW$QGWKDWLVZK\1LFKROOVZDVPRVW
     GLIIHUHQWWKDQUHDOLW\LVQ WLW"                             FRQFHUQHGDERXWSHRSOHKLJKLQHJRRULHQWDWLRQZKRKDG
     $<HV                                                 ORZHUSHUFHSWLRQVRIDELOLW\EHFDXVHLWPDNHVXV
     4$UH\RXVD\LQJWKDWLVDJRRGWKLQJ"                 YXOQHUDEOH7KDW VZK\, PVRIRFXVHGDQGFDUHDERXW
     $,QWKHSV\FKRORJ\ZRUOGLWLVSUHWW\ZHOO            , PQRW\RXNQRZ, PQRWDVJRRG'RHVWKDWPDNH
     DFFHSWHGWKDWSHUFHSWLRQVDUHYHU\LPSRUWDQW6R\HDK       VHQVH"
     \RXDUHULJKWLQLGHQWLI\LQJWKDWWKLVLVDWKOHWHV            4, PSURFHVVLQJLW,VWLOOZDQWWRXQGHUVWDQG
     SHUFHSWLRQVRIWKHLUDELOLW\$QGVRDWKOHWHVZKRKDYH       LWDOLWWOHEHWWHU,QSDUDJUDSKDWKOHWHVKLJKLQ
     DKLJKWDVNRULHQWDWLRQLQWXUQ\RXNQRZVHHPWRKDYH       WDVNRULHQWDWLRQDOVRUHSRUWJUHDWHUFRQILGHQFHLQ
     PRUHFRQILGHQFHDQGEHOLHYHWKDWWKH\KDYHKLJKHU             SHUFHLYHGDELOLW\$P,ULJKWWKDWSHUFHLYHGDELOLW\LV
     DELOLW\                                                      QRWDFWXDODELOLW\"
     4$QGWKHQLQSDUDJUDSK\RXVD\E\FRQWUDVW       $5LJKWLW VQRW,WHPVZRXOGMXVWWDSLQWR,
     HJRRULHQWDWLRQLHWKHQRQSHMRUDWLYHGHVFULSWLYH          ZRXOGEHUHVSRQGLQJWRDTXHVWLRQOLNH, PUHDOO\JRRG
     WHUPIRUGHILQLQJVXFFHVVEDVHGRQDELOLW\DQG                DWEDVNHWEDOORUVRPHWKLQJ, PYHU\VNLOOHGLQ
     SHUIRUPDQFHRXWFRPHVLVQRWFRUUHODWHGZLWKSHUFHLYHG         EDVNHWEDOORU, PQRWYHU\VNLOOHGDQG,ZRXOGEH
     DELOLW\LQJHQHUDOFRQILGHQFHRIDWKOHWHVKLJKLQHJR         DQVZHULQJLWRQDTXDQWLWDWLYHVFDOHVRLWZRXOGEHP\


                                                   3DJH                                                        3DJH
      RULHQWDWLRQZDVPRUHRIEDVHGRQWKHLUSHUFHSWLRQRI           SHUFHSWLRQRILW
      DELOLW\DQGKDYLQJDVWURQJSK\VLFDOSUHVHQFH%XWLQ         4,VQ WLWLPSRUWDQWWKDWDWKOHWHVXQGHUVWDQG
      WKDWILUVWVHQWHQFHLWLQGLFDWHVLWVXJJHVWVWKDW          WKHLUDFWXDODELOLW\UDWKHUWKDQMXVWWKHLUSHUFHLYHG
      HJRRULHQWDWLRQLVEDVHGRQDFWXDOUHDOLW\H[FXVH         DELOLW\"
      DFWXDODELOLW\UDWKHUWKDQSHUFHLYHGDELOLW\'R,            $77251(<9(52))2EMHFWLRQ
      XQGHUVWDQGWKDWLQGLFDWLRQFRUUHFWO\"                          7+(:,71(66,WKLQNLW VLPSRUWDQWIRU
      $:KHUHGR\RXVHHWKDWLWLVRQDFWXDODELOLW\"        FRDFKHVWRVKDUHZLWKDWKOHWHVZKHUHWKH\DUHDQGZKDW
      42ND\                                                 WKH\FDQGRWRNHHSLPSURYLQJ, PQRWVXUHLW VVXSHU
      /HWPHVWDUWWKDWRYHU6RLQWKHVHQWHQFHLW        EHQHILFLDOWKDWZHQHHGWRJRDURXQGDQGWHOODWKOHWHV
     VD\VE\FRQWUDVWHJRRULHQWDWLRQLHWKH                   KH\\RX UHQRWYHU\JRRGWKLVSHUVRQLVEHWWHUWKDQ
     QRQSHMRUDWLYHGHVFULSWLYHWHUPIRUGHILQLQJVXFFHVV          \RXULJKWWKRVHDUHMXVWNLQGRIGLVWUDFWLRQVEXW
     EDVHGRQDELOLW\DQGSHUIRUPDQFHRXWFRPHVLVQRW              KHOSLQJSHRSOHVHHZKHUHWKH\DUHDQGZKDWWKH\FDQGR
     FRUUHODWHGZLWKSHUFHLYHGDELOLW\LQJHQHUDO'RHVWKDW      WRLPSURYH\HDKZRXOGVHHPYDOXDEOH
     PHDQLW VFRUUHODWHGZLWKDFWXDODELOLW\UDWKHUWKDQ          %<$77251(<75<21
     SHUFHLYHGDELOLW\"                                            4,QRUGHUIRUDQDWKOHWHWRLPSURYHGRHVQ WWKH
     $2ND\,XQGHUVWDQG1R1RZKDWLWPHDQVLV      DWKOHWHQHHGWRXQGHUVWDQGZKHUHKHRUVKHLVUDWKHU
     WKDWLI\RX UHLI\RX UHVRPHERG\ZKR VKLJKLQWDVN      WKDQMXVWZKHUHKHRUVKHSHUFHLYHVKLPRUKHUVHOIWR
     RULHQWDWLRQWKHQ\RX UHIHHOLQJVXFFHVVIXOZKHQ\RX          EH"
     JLYH\RXUEHVWHIIRUWZKHQ\RXVHHLPSURYHPHQWULJKW       $<HVZHJHWLQWRNLQGRIDUHZHWDONLQJOLNH
     7KRVHDUHWKLQJVZHKDYHPRUHFRQWURORYHU$QGVRZKHQ      PRUELGDELOLW\ULJKWRUDQGVRLQWKDWVHQVHGR,
     \RX UHIRFXVHGWKDWZD\\RXWHQGWRKDYHKLJKHU               QHHGWRWHOO, YHJRWILYHDWKOHWHVKHUH'R,QHHG
     SHUFHSWLRQVRIDELOLW\ULJKWEHFDXVHWKDWLV\RXU           WRPDNHVXUHWKH\DOONQRZZKHUHWKH\UDQNEHWZHHQRQH
     IRFXV,I\RXDUHKLJKLQHJRRULHQWDWLRQULJKWDQG        DQGILYHULJKWLQP\PLQHZKR VWKHEHVW"2UGR,
     VR, PIHHOLQJVXFFHVVIXOLI,RXWSHUIRUPRWKHUVLI,       MXVWQHHGWRWDNHHDFKDWKOHWHDVLGHULJKWDQGPDNH


                                                                                       3DJHVWR
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                                                   3DJH                                                         3DJH
      VXUHWKDWWKH\XQGHUVWDQGKHUH VVRPHDUHDV\RXFRXOG           FODXVHWKHUH\RXFLWHRQO\WR%DODJXHU, PDVNLQJLI
      UHDOO\LPSURYHRQDQG,FDUHOHVVDERXWHYHQKDYLQJD          WKHUHDUHRWKHUVRXUFHVIRUWKDWFRQWHQWLRQWKDW
      FRQYHUVDWLRQDERXWZKR VWKHEHVWULJKWQRZULJKWWKDW        DWKOHWHVKLJKLQHJRRULHQWDWLRQUHSRUWORZHU
      WKLVSHUVRQLVEHWWHUWKDQWKLVSHUVRQULJKWLW V             FRPSDQLRQVKLSDQGJUHDWHUFRQIOLFWZLWKWHDPPDWHV$QG
      PRRW$QGWKDW VZKHUH1LFKROOVZDVFRPLQJIURP:KDW         LIWKHUHDUHRWKHUWKLQJVZKDWDUHWKRVHRWKHUVWXGLHV"
      LIZHDVFRDFKHVGLGPRUHMXVWWRIRFXVSHRSOHRQ              $/LNH6PLWKDQG6PDOOIRXQGWKDWLQ\RXWKVSRUW
      ULJKWRQZKDWWKH\FRXOGGRWRNHHSLPSURYLQJ"                 DWKOHWHV\RXNQRZGLGQ WOLNHWKHLUFRDFKDVPXFK
      4$QGDWKOHWLFVLWLVFHUWDLQO\REYLRXVWKRXJK         GLGQ WWKLQNWKHLUFRDFKNQHZDVPXFKDERXWWKHVSRUW
      ZKDW\RXUDWKOHWLFDELOLW\LVDWOHDVWDVIDUWKLQJV            GLGQ WOLNHWKHLUWHDPPDWHVDVPXFKZKHQWKH\KDGOLNH
     LQYROYLQJUDFLQJWLPHVIRUH[DPSOH\RXJHW\RXUWLPHV        KLJKHJRRULHQWDWLRQ
     VR\RXNQRZZKDW\RXUDELOLW\LVDVFRPSDUHGWR\RXUVHOI       4,VWKHUHDUHDVRQZK\\RXGLGQ WFLWH6PLWKDQG
     RUDVFRPSDUHGWRRWKHUSHRSOHULJKW"                         6PDOOIRUWKDWSURSRVLWLRQ"
     $5LJKW,WKLQNWKHUHLVMXVWDORWLQVSRUW          $<HV<HDK,WKLQNLWFURVVHVGRFXPHQWV:H
     WKDW VJLYLQJXVIHHGEDFNRIKRZZHFRPSDUHWRRWKHUV         FRXOGKDYHDGGHGDQRWKHU\RXNQRZUHIHUHQFHV
     $QGDOVRZKHQZHVHHWKHVHWLPHVLW VWKDW V               SUREDEO\7ULHGWRNHHSLWPRUHPDQDJHDEOHZKLFKLW V
     LQIRUPDWLRQWKDWZHFDQWUDFNKRZZH UHLPSURYLQJ             MXVWFRQVLVWHQWWKDWLIWKDWLVVRPHWKLQJWKDW\RXFDUH
     ULJKWDQGKRZZHDUHGRLQJ                                   DERXWWKHTXDOLW\RIUHODWLRQVKLSVWKHQLWGRHVQ W
     46RZK\GRZHVKDUHZLWKSHRSOHZHOOVWULNH       FRPHRXWRIWHQDV\RXNQRZLWFRPHVRXWZLWKWKH
     WKDW,ZLOOPRYHRQ                                         WDVNRULHQWDWLRQQRWDQHJR
     2ND\3DUDJUDSKSOHDVH/HWPHNQRZZKHQ        4:HOOWKHUHDVRQ, PDVNLQJWKLVLV,UHDGWKDW
     \RXVHHWKDW                                                  %DODJXHUUHSRUWDQG,GLGQRWVHHDQ\WKLQJLQWKHUH
     $,VHHLW7KDQNV                                    WKDWVXSSRUWHGWKLVSURSRVLWLRQRIWKLVILUVWFODXVHRI
     4$WKOHWHVKLJKLQHJRRULHQWDWLRQUHSRUWORZHU         WKLVVHQWHQFH$UH\RXFRQILGHQWWKDWLW VLQWKHUH"
     FRPSDQLRQVKLSDQGJUHDWHUFRQIOLFWZLWKWHDPPDWHV)RU        $,WZRXOGEHJRRGIRUPHWRUHYLHZ


                                                   3DJH                                                         3DJH
      WKDWSKUDVH\RXFDQJRDKHDGDQGUHDGWKHZKROH             4,I,VKRZHG\RXWKHDUWLFOHZRXOG\RXEHDEOHWR
      VHQWHQFHLI\RXZDQWEXW,ZDQWWRDVN\RXDTXHVWLRQ          ORFDWHLWZLWKRXWWRRPXFKGLIILFXOW\"
      DERXWWKDWSKUDVHRUWKDWFODXVH                               $, PQRWVXUH, GSUREDEO\MXVWKDYHWRUHYLHZ
      $2ND\                                                  LW%XWKDYLQJ
      46RIRUWKDWFODXVH\RXFLWH%DODJXHULQWKDW           $77251(<75<21:HOOOHW VEULQJLWXS
      VWXG\ULJKW"                                                   DQGPD\EH, YHMXVWPLVVHGLW$QGVRWKDWZRXOGEH
      $<HV%DODJXHU FRUUHFWVSURQXQFLDWLRQ                 WKHQDPHRILWLV0RWLYDWLRQDO&OLPDWHDQG*RDO
      47KDQN\RXIRUKHOSLQJPHSURQRXQFHWKDW               2ULHQWDWLRQVDV3UHGLFWRUVRI3HUFHSWLRQVRI,PSURYHPHQW
      %DODJXHU$QGLVWKHUHDQ\WKLQJHOVHRQZKLFK\RXEDVH         6DWLVIDFWLRQLQ&RDFK5DWLQJV$PRQJ7HQQLV3OD\HUV
     WKDWILUVWFODXVH"                                             (GXFDWRUV6R-DNHLI\RXFRXOGILQGWKDWDQGSXOO
     $<HVWKHUHDUHRWKHUUHIHUHQFHV7KLVSDUDJUDSK      WKDWXS
     LQJHQHUDOLVMXVWUHIHUULQJWRZHKDYHEHWWHU                 9,'(2*5$3+(5'R\RXZDQWLWPDUNHG"
     UHODWLRQVKLSVULJKWZKHQSHRSOHDUHKLJKLQWDVN             $77251(<75<21<HV,WKLQNZHDUHRQ
     RULHQWDWLRQ7KH\ UHUHDOO\YDOXLQJWKDWDVSHFWRI            QRZULJKW"
     KHOSLQJHDFKRWKHULPSURYH$QGLQDQHJRRULHQWDWLRQ        9,'(2*5$3+(5,WKLQNLW VXQOHVV,
     ZKHQ, PMXVWNLQGRI]RQHGLQRQPHDQGPHZDQWLQJWR        PLVVHGVRPHWKLQJ
     VKRZWKDW, PEHWWHUWKDQP\WHDPPDWHVULJKWLWMXVW         $77251(<75<21:HOO,ZLOOWDNH\RXU
     VHWVWKLQJVXSWRQRWKDYLQJDVJRRGDUHODWLRQVKLS           ZRUGIRUWKDW
     7KLVGRHVQ WPHDQWKDWHYHU\DWKOHWHRXWWKHUHWKDWLV         
     KLJKLQRULHQWDWLRQLWMXVWPHDQVWKHUH VDWHQGHQF\           :KHUHXSRQ([KLELW$UWLFOHZDV
     WKDWWKLVFRUUHODWHVWKDW\RX UHPXFKPRUHOLNHO\WR       PDUNHGIRULGHQWLILFDWLRQ
     VHHWKLVZKHQSHRSOHKDYHDKLJKHJRRULHQWDWLRQ              
     46R, PMXVWP\TXHVWLRQLVDOLWWOHPRUH          $77251(<75<21<RXNQRZZKDW,VKRXOG
     SUHFLVH7KDQN\RXIRUWKDWH[SODQDWLRQ%XWWKHILUVW       DVN\RX-DNHJRDKHDGDQGSXWWKDWLQWKHFKDWURRPVR


                                                                                        3DJHVWR
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                                                   3DJH                                                                   3DJH
      WKDW3URIHVVRU)U\FDQGRZQORDGLWDQGORRNDWLWUHDO           DJDLQ"
      TXLFN                                                           9,'(2*5$3+(5<RXFDQFRQWUROWKHPRXVH
      9,'(2*5$3+(5$OUHDG\GLG                       FXUVRUULJKWQRZVR\RXZRXOGKDYHWRPRYHLWRYHUKHUH
      $77251(<75<21*UHDW                           DQGMXVWGUDJLWGRZQRUFOLFNRQWKLVGRZQDUURZGRZQ
      %<$77251(<75<21                                               KHUH"
      46R3URIHVVRU)U\\RXFDQHLWKHUORRNDWWKLV           7+(:,71(666R,GRQ WUHDOO\KDYHD
      ZLWKPHRULWPLJKWEHEHVWLI\RXMXVWGRXEOHFKHFNLQ          PRXVHULJKWZLWKWKLV,W VMXVWXVLQJP\ILQJHURQ
      WKHFKDWURRPDQGWKHQLWVKRXOGGRZQORDGLWDQG\RX             WKHVFUHHQ
      VKRXOGEHDEOHWREULQJLWXSDQGORRNWKURXJKWKHUHDW          9,'(2*5$3+(55LJKW,ILWZRUNVOLNH
     \RXU,GRQ WZDQWWRVD\OHLVXUHEXWKRZ\RXZRXOG          QRUPDOL3DGWKLQJVWKHQ\RXZRXOGWRFOLFN
     SUHIHUWRGRLW                                                VRPHWKLQJ\RXZRXOGGRXEOHWDSLWDQGWKHQKROGZKLFK
     $2ND\,PD\KDYHWRJHWKHOSKHUHEHFDXVHLW V        VRXQGVFRQYROXWHG
     QRWDSSHDULQJRQP\HQG                                        $77251(<75<21:HOOLI\RXKDYHDQ\
     4'R\RXVHHLWLQWKHFKDWURRP"                        GLIILFXOWLHVZLWKLWZK\GRQ WZHOHW-DNHWDNHFRQWURO
     $<HDK,FDQFOLFNRQLWEXWWKHQLWWDNHVPHWR       DQGVFUROOGRZQZLWKLW"
     VRPHFDVHYLHZQHWWKLQJDQGLWVD\V,QHHGDFRGHDQG          7+(:,71(662ND\
     SDVVZRUG, PXVLQJWKHLUV\VWHPVR, PJXHVVLQJLW V         ,WKLQN'DQDLVRXWVLGHLI\RXZDQWPH
     UHODWHGWRWKDW                                                WRJHWKHUWRKHOSUHDOTXLFNWRVDYHWLPH
     9,'(2*5$3+(51RWWKHOLQN7KHUH              $77251(<75<21, OOWHOO\RXZKDW
     VKRXOGEHD3')GRFXPHQW\RXFDQMXVWFOLFNRSHQ               OHW VGRWKLV7KLVLVQRWDFULWLFDOSRLQWIRUPH,
     7+(:,71(662ND\                              MXVWZDQWHGWRWU\DQGXQGHUVWDQGWKLV6ROHW VFRPH
     9,'(2*5$3+(5,GRQ WNQRZKRZLWLVRQ         EDFNWRWKLVODWHU$OOULJKW"
     DQL3DGVR,ZLOODGPLW, PDWDORVV                         7+(:,71(662ND\
     7+(:,71(662ND\                              $77251(<75<21:HKDYHWLPH


                                                   3DJH                                                                   3DJH
      %<$77251(<75<21                                              %<$77251(<75<21
      4$UH\RXDEOHWRORRNDWLWQRZ"                        4,QSDUDJUDSK\RXWDONHGVHYHUDOWLPHVDERXW
      9,'(2*5$3+(57KHGRFXPHQWFDOOHGDW        WKHFOLPDWHULJKW"
      WKHEHJLQQLQJ"                                                  $<HV
      7+(:,71(66:KHQ,FOLFNRQWKHFKDW           4$QGLQWKHVHQWHQFHLWVD\VGHVSLWHWKHHJR
      , PMXVWVHHLQJRQHOLQNOLVWHG                                LQYROYLQJFOLPDWHVHPSKDVLVRQWKHSHUIRUPDQFHRXWFRPHV
      %<$77251(<75<21                                              UHVXOWVDFURVVVWXGLHVVXJJHVWWKHEHQHILWVRIWDVN
      48QGHUQHDWKWKHOLQNWKHUHVKRXOGEHD3')             LQYROYLQJFOLPDWHPD\KDYHDGLUHFWLPSDFWRQDWKOHWLF
      $2ND\,W VQRWVKRZLQJXSIRUPH                     SHUIRUPDQFHDQGXOWLPDWHO\LPSURYHSHUIRUPDQFHRXWFRPHV
     42ND\                                                 6RWKDWVHQWHQFHLVWDONLQJDERXWWKHFOLPDWHQRWWKH
     9,'(2*5$3+(5$OWHUQDWLYHO\&RXQVHO,        LQGLYLGXDO VRULHQWDWLRQULJKW"
     FDQJLYHUHPRWHFRQWURORIWKHGRFXPHQWWRKHUVRWKDW         $7KDW VFRUUHFW
     VKHFDQVFUROORQLWKHUVHOI                                  4$QG\RXVD\LWPD\KDYHDGLUHFWLPSDFW6RE\
     $77251(<75<21/HW VGRWKDW                 PD\WKDWLVQRWVXJJHVWLQJWKDWLW VSUREDEOHLWLV
     9,'(2*5$3+(52ND\                            MXVWVD\LQJWKDWLWPLJKW,VWKDWDIDLUVWDWHPHQW"
     7+(:,71(667KDQN\RX                        $<HV
     9,'(2*5$3+(5<RXVKRXOGKDYHFRQWUROLI       47KHQOHWPHPRYHGRZQWRSDUDJUDSK
     \RXMXVWWU\WRFOLFNRQWKHVFUHHQDQG\RXMXVWVFUROO        $&DQ,MXVWVD\RQWKDWSRLQW"
     LWDQGPRYHLW3HUIHFW                                      4<HV
     7+(:,71(662ND\                             $,WKLQNWKLVLVDQDUHDZLWKLQRXUERG\RI
     6RKRZGR,PRYHWKHGRFXPHQW"                  UHVHDUFKWKDWWKHUHLVOHVVVXSSRUWIRUEXWWKHVWXGLHV
     9,'(2*5$3+(56RLI\RXZRXOGPRYHWKH         WKDWDUHLQSODFHZRXOGVXJJHVWWKDWSHUFHSWLRQVRID
     FXUVRUOLNHRYHUKHUHDQGGUDJLW                             WDVNLQYROYLQJFOLPDWHZRXOGOHDGWRJUHDWHU
     7+(:,71(666RUU\&DQ\RXVD\WKDW          SHUIRUPDQFH6RWKHUHLVVRPHHYLGHQFHIRUWKDWEXW,



                                                                                            3DJHVWR
                Case: 22-5807
     Case 2:21-cv-00316        Document:
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                                                   3DJH                                                        3DJH
      ZRXOGDJUHHLW VQRWVWURQJDQGWKDWLVZK\WKHZRUGLQJ        WKDWDQHDV\WKLQJWRGR"
      LVVRIWHUWKHUHULJKWEXWWKHUHLVQRHYLGHQFH               $1RLWLVQRW
      VXJJHVWLQJWKDWSHUFHSWLRQVLQDQHJRLQYROYLQJFOLPDWH        4$QGLWLVEDVHGRQZKDWRWKHUSHRSOHWKLQNRI
      ZRXOGOHDGWREHWWHUSHUIRUPDQFH$QGVRRQWKHRQH           \RXDQG\RXUZRUNULJKW"
      KDQGSHRSOHMXVWPLJKWEHWKLQNLQJZRZWKDW VD              $<HDK,PHDQWKHUH VUHTXLUHPHQWVWRFRPSOHWH
      QREUDLQHUULJKWLIDOO\RXFDUHDERXWSHUIRUPDQFHJR        D3K'IRUVXUHWKDWLQYROYHRWKHUSHRSOH
      ZLWKWKDWHJRLQYROYLQJFOLPDWHEXWIRUDOOWKHVHRWKHU       4$QGWKH\ UHMXGJLQJ\RXUZRUNULJKW"
      UHDVRQVZHZRXOGDUJXHLWPDNHVVHQVHULJKW,ISHRSOH       $5LJKW
      DUHKDYLQJPRUHIXQDQGKDYLQJEHWWHUUHODWLRQVKLSVDQG        4$QGWKDWFUHDWHV,SUHVXPHIRUPRVWSHRSOHLW
     WU\LQJKDUGDQGVRRQWKDWLWPLJKWOHDGWREHWWHU           FUHDWHVDORWRIDQ[LHW\'LGLWIRU\RX"
     SHUIRUPDQFH                                                  $77251(<9(52))2EMHFWLRQ
     4,QSDUDJUDSK\RXWDONDERXW\RXQJDWKOHWHV        7+(:,71(66<RXNQRZDWWLPHVLWZDV
     ZLWKDKLJKHJRRULHQWDWLRQSDUWLFLSDWLQJLQDYDULHW\        VWUHVVIXOEXW,HQMR\HGHYHU\PLQXWHRILW$QGVR
     RIVSRUWVKDYHUHSRUWHGKLJKHUWUDLWVDQGVWDWH               VRPHRIWKLVFRPHVEDFNWRDQ[LHW\LVSUHWW\W\SLFDODQG
     FRJQLWLYHDQGVRPDWLFDQ[LHW\DVZHOODVJUHDWHU              ZH UHJRLQJWRH[SHULHQFHWKDWEXWZKDW, PIHHOLQJ
     FRQFHQWUDWLRQG\VIXQFWLRQPDODGDSWLYHSHUIHFWLRQLVPDQG      DERXWLWLVKHOSLQJSHRSOHGHYHORSVWURQJFRSLQJVNLOOV
     FRQFHUQRYHUPDNLQJPLVWDNHV1RZP\TXHVWLRQLV           VRWKDWWKH\FDQGHDOZLWKWKDWVWUHVVDQGDQ[LHW\$QG
     LVQ WWKDWWUXHIRUEDVLFDOO\DQ\HQGHDYRUWKDWWKHUH V      WKDWLV\RXNQRZDQRWKHUVWXG\WKDWZHUHFHQWO\
     JRLQJWREH\RX UHJRLQJWRKDYHDQ[LHW\LQWU\LQJ        SXEOLVKHGWKDWSHRSOHZKRSHUFHLYHGDFDULQJWDVN
     WRVXFFHHG"                                                   LQYROYLQJFOLPDWHUHSRUWHGJUHDWHUFRSLQJVNLOOVULJKW
     $77251(<9(52))2EMHFWLRQ                   %<$77251(<75<21
     7+(:,71(66<RXNQRZGHILQLWHO\DQ[LHW\      4$QGWRGHYHORSWKRVHFRSLQJVNLOOV\RXQHHGWR
     DQGVWUHVVLVSDUWRIVSRUW:LWKWKHVHFOLPDWHVWKRXJK      VRPHWLPHVIROORZWKHUXOHVRIRWKHUVOLNHWKRVHRQWKH
     ZKDWZH UHVHHLQJFRQVLVWHQWO\LVWKDWDWKOHWHVUHSRUW        3K'FRPPLWWHHLIWKDW VWKHULJKWWHUPLQRORJ\UDWKHU


                                                   3DJH                                                        3DJH
      WKDWZKHQWKH\SHUIRUPWKHLUEHVWWKH\ZHUHOHVV               WKDQVD\LQJKH\FRPPLWWHH\RX UHZURQJ, PULJKW\RX
      ERWKHUHGE\VWUHVVDQGDQ[LHW\,QIDFWWKHNLQGRI          KDYHWRGRZKDW,VD\ULJKW"
      HSLWRPHRIEHLQJZKDWZHFDOOEHLQJLQIORZULJKW        $77251(<9(52))2EMHFWLRQ
      \RXMXVW\RXIHHOKLJKFRQILGHQFH\RX UH                  7+(:,71(66, PQRWVXUHWKDW VUHODWHG
      FRQFHQWUDWLQJZHOO\RX UHQRWZRUULHGDERXW                   WRFRSLQJVNLOOVEXWZKDW\RXVDLGLVWUXHLWGRHV
      GLVWUDFWLRQV\RX UHQRWVWUHVVHGULJKW$QGVR             WDNHSODFHZKHQ\RX UHZRUNLQJRQD3K'
      FRQVLVWHQWO\SHRSOHZRXOGUHSRUWDKLJKHUHJR                  %<$77251(<75<21
      RULHQWDWLRQWKH\MXVWQRPDWWHUKRZLW VPHDVXUHG         4$QGSUHWW\PXFKHYHU\SDUWRIOLIH\RXFDQ W
      DOOWKLVNLQGRIEDGVWXIIWKDWZH GUDWKHUWDNHRXW          MXVWVD\,GRQ WOLNH\RXUUXOHVGRLWP\ZD\DQGJHW
     ULJKWDQGQRWKDYHSHRSOHZRUULHGDERXW\RXQJDWKOHWHV      \RXUZD\\RXKDYHWRFRSHZLWKWKHZRUOGDVLWLVQRW
     ZRUULHGDERXWWKH\MXVWH[SHULHQFHLWPRUH6RWKH          DV\RXZDQWLWWREHDOOWKHWLPHULJKW"
     FRJQLWLYHDQ[LHW\LVZKDW VJRLQJRQXSKHUHULJKW          $5LJKW
     ZRUU\DQGGRXEWDQGWKHVRPDWLFDQ[LHW\LV,FDQ WJHW       $77251(<9(52))2EMHFWLRQ
     DJULSRQP\KHDUWUDWHP\PXVFOHVIHHOWHQVH,KDYH        %<$77251(<75<21
     EXWWHUIOLHVDQGWKRVHNLQGVRIWKLQJV6RZHVHHWKDW        4$QGWKDW VDKDUGWKLQJULJKW"
     PRUHZLWKDWKOHWHVKLJKLQHJRRULHQWDWLRQ                   $,WLV
     4:HOOZKHQ\RXZHUHJRLQJWKURXJKFROOHJHDQG        4%XWLWEXLOGVFKDUDFWHUGRHVQ WLW"
     JHWWLQJ\RXU3K'\RXZHUHVWULYLQJWRGR\RXUYHU\         $,WVXUHFDQ
     EHVWDQG\RXZHUHVWULYLQJWRVXFFHHGDQGJHW$VWRJHW       46ROHWPHPRYHRQWKHQ,WKLQN,XQGHUVWDQG
     \RXU3K'$OORIWKRVHWKLQJVDUHVRPHWKLQJWKDW            ZKDW\RX UHVD\LQJLQWKLVSDUDJUDSK/RRNLQJDW
     UHTXLUHV\RXWRVXFFHHGDQGWRFRQYLQFHRWKHUSHRSOHKRZ      SDUDJUDSKRND\OHWPHVHHLIZHDGGUHVVHGVRPHRI
     JRRG\RXDUHULJKW"                                          WKHVHWKLQJV+DYH\RXVWXGLHGGHSUHVVLRQDQGPHQWDO
     $7RVXFFHHGDQGPDNHWKHZRUOGEHWWHU                KHDOWKZLWKDWKOHWHV"
     45LJKWEXWWRJHWD3K'WKDW VDWRXJKLV      $1RLW VQRWP\DUHD<HV, YHUHDGVRPHEXW


                                                                                       3DJHVWR
                Case: 22-5807
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                                                   3DJH                                                        3DJH
      QRLW VQRWDQDUHDWKDW,VWXGLHGLQGHSWK                   46R,DPJRLQJWRDVN\RXDERXWVHYHUDOSDUWVLQ
      46R\RXKDYHQ WZULWWHQRQLW"                          KHUHVRLWPLJKWEHKHOSIXOWRKDYHWU\RQHPRUH
      $:HPLJKWKDYHDVWXG\ZKHUHZHLQFOXGHVRPH            WLPHWRVHHLI\RXFDQJLYH\RXDFFHVVWRLWWR
      SDUDPHWHUVRISV\FKRORJLFDOZHOOEHLQJOLNHVWXGLHV            JLYH\RXFRQWURORYHUWKHVFUHHQVR\RXFDQVFUROOGRZQ
      ZLWKNLGVORRNLQJDWKRZWKHFOLPDWHUHODWHVWRD              $QG\RXVKRXOGEHDEOHWRWUHDWLWMXVWOLNHDQ\WKLQJ
      FDULQJFOLPDWHUHODWLQJWRUHSRUWLQJJUHDWHUKRSHDQG           HOVHRQ\RXUL3DGZLWK\RXUILQJHUVRUKRZHYHU\RXGR
      KDSSLQHVVDQGOHVVGHSUHVVLRQDQGVDGQHVVEXWVWXG\LQJ         LW
      OLNHGHSUHVVLRQLVQRWDSULPDU\DUHDIRUPH                   $6RZKHQ,FOLFNRQFRQWUROLWKDVOLNHD
      4+DYH\RXORRNHGDWWKHLVVXHIRUDWKOHWHV              NH\ERDUGDQGWKHQLWKDVDTXHVWLRQPDUN
     EHWZHHQLQMXULHVDQGPHQWDOKHDOWKRUGHSUHVVLRQ"              $77251(<75<21-DNHDQ\LQSXW"
     $1RQR                                               9,'(2*5$3+(5,WVRXQGVOLNHLW VMXVW
     4$UH\RXDZDUHWKDWWKHUHDUHVWXGLHVDQGSDSHUV       EULQJLQJXSWKHL3DGNH\ERDUGDQGWKHUHVKRXOGEH
     RQWKDWLVVXH"                                                 VRPHWKLQJWKDWORRNVOLNHDNH\ERDUGDQGWKDWPLQLPL]HV
     $<HV                                                  WKHNH\ERDUGLWVHOIVR\RXFDQMXVWJHWEDFNWRWKH
     42ND\                                                 VFUHHQ
     /HWPHDVN\RXWRWDNHDORRNDWZHOO            $77251(<9(52)), PVRUU\'U)U\
     EHIRUHZHJRKDYH\RXKHDUGRIWKH$PHULFDQ&ROOHJHRI        7+(:,71(661RJRDKHDG
     6SRUWV0HGLFLQH"                                               $77251(<9(52)),ZDVMXVWJRLQJWR
     $,KDYH                                               DVN'DYHLVWKHUHDQ\ZD\WRJHWLQWRXFKZLWK'DQD
     4$QGDUHWKH\ZHOOUHJDUGHG"                           0D\EHZHFRXOGVHQGKHUWKH3')DQGKDYHKHUSULQWWKHP
     $<HV                                                  VRWKDWWKHZLWQHVVFRXOGKDYHKDUGFRSLHV7KDWPLJKW
     4+DYH\RXKHDUGRI$QGUHZ:RODQLQ"                     PDNHWKLVDOOZRUNDOLWWOHELWHDVLHUIRUDQ\IRU
     $,KDYHQRW                                           WKLVRUDQ\RWKHUVWXGLHVWKDW\RXZRXOGZDQWKHUWR
     $77251(<75<212ND\                          ORRNDW


                                                   3DJH                                                        3DJH
      :HOOOHW VEULQJXSWKLVH[KLELWZKLFK         $77251(<75<21<HDKH[FHSWWKH\ UHLQ
      ZLOOEHWKHQ([KLELW,WKLQNWKLVZLOOEHZHOO         DKRWHOURRPQRZ7KDW VRQHRIWKHLV'DQDRXWVLGH
      ,ZLOOMXVWDVN-DNHKHOSPHRXWZLWKQXPEHUV7KH           WKHGRRUGLG\RXVD\"
      WLWOHLV'HSUHVVLRQDQG$WKOHWHV3UHYDOHQFHDQG5LVN           7+(:,71(66<HVLVLWRND\LI,MXVW
      )DFWRUV                                                        FKHFNZLWKKHUEHFDXVH,WKLQNVKHKDVDOLWWOHEXVLQHVV
      9,'(2*5$3+(5,EHOLHYHZH UHRQ1XPEHU         FHQWHUVHWXSPD\EH
      QRZ                                                          $77251(<9(52)),IZHFDQJRRIIWKH
      $77251(<75<212ND\3HUIHFW                 UHFRUGIRUDPRPHQW
      9,'(2*5$3+(5-XVWJLYHPHRQHPRPHQW          $77251(<75<21*UHDW
                                      9,'(2*5$3+(5*RLQJRIIWKHUHFRUG7KH
      :KHUHXSRQ([KLELW$UWLFOHZDV             FXUUHQWWLPHUHDGVSP(DVWHUQ6WDQGDUG7LPH
     PDUNHGIRULGHQWLILFDWLRQ                     2))9,'(27$3(
                                      
     %<$77251(<75<21                                              :+(5(8321$6+257%5($.:$67$.(1
     4+DYH\RXVHHQWKLVGRFXPHQWWKDW,QRZPDUNHGDV      
     ([KLELWEHIRUH"                                              219,'(27$3(
     $1R,KDYHQ W-DNHFDQ\RXVKRZWKHWRSDJDLQ      9,'(2*5$3+(5:HDUHEDFNRQWKHUHFRUG
     SOHDVH"                                                        7KHFXUUHQWWLPHUHDGVSP(DVWHUQ6WDQGDUG7LPH
     9,'(2*5$3+(57KDWLVDVIDUXSDVLW          $77251(<75<212ND\,I\RXFDQQRZ
     JRHV                                                          ORRNDWJLYHPHDPRPHQW/HW VORRNDW\RXU
     7+(:,71(662ND\                             RULJLQDOUHSRUWRQSDJHWKDWZRXOGEH([KLELW
     %<$77251(<75<21                                             9,'(2*5$3+(5'LG\RXVD\SDJHRU
     4$UH\RXIDPLOLDUZLWKDQ\RIWKHWKUHHDXWKRUV"       SDUDJUDSK"
     $1R                                                   $77251(<75<213DJH


                                                                                        3DJHVWR
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                                                   3DJH                                                         3DJH
      9,'(2*5$3+(52ND\                             4/HWPHDVN\RXDERXW6SHFLDO2O\PSLFV,VWKH
      $77251(<75<212ND\ULJKWWKHUHLV            HQWUDQFHLQWR6SHFLDO2O\PSLFVGR\RXNQRZDQ\WKLQJ
      JUHDW                                                          DERXWOHWPHEDFNXS<RX UHDZDUHRIZKDW6SHFLDO
      %<$77251(<75<21                                              2O\PSLFVLVULJKW"
      42ND\                                                  $<HV, PDZDUHRILW
      'R\RXVHHWKDW'RFWRU)U\"                           4$QGGR\RXNQRZLIWKHUHDUHVSHFLILF
      $<HV                                                   UHTXLUHPHQWVLQRUGHUWREHDEOHWRSDUWLFLSDWHLQ
      46RWKHWLWOH\RXKDYHKHUHLV([FOXGLQJ*URXSV         6SHFLDO2O\PSLFV"
      IURP3DUWLFLSDWLQJLQ+LJKVFKRRO$WKOHWLFVZRXOG               $,NQRZWKHUHDUH,FRXOGQ WWHOO\RXZKDWWKH\
     'HSULYH7KHPDQG7KHLU7HDPPDWHVRID:LGH5DQJHRI            DUHDFURVVWKHGLIIHUHQWFDWHJRULHVDQGDOO
     (GXFDWLRQDO%HQHILWV'LG\RXZULWHWKDW"                     4&DQDEOHERGLHGDWKOHWHVDQGDEOHPLQGHG
     $<HV                                                  DWKOHWHVSDUWLFLSDWHLQ6SHFLDO2O\PSLFV"
     42ND\                                                 $6SHFLDO2O\PSLFVZDVFUHDWHGWRJLYHDWKOHWHV
     7KHQ,ZRXOGOLNHWRFRPSDUHWKDWWRWKHWLWOH        RND\'DQDVDLGVKHKDGQ WUHFHLYHGWKRVH-XVWWR
     WKDW\RXKDYHLQ\RXUODWHVWUHSRUWLI\RXFRXOGEULQJ        GRXEOHFKHFNWKDWLWLV'DQD#PLGZHVWUHSRUWHUVQHW
     WKDWXSDQGWKDWLVRQSDJHWHQ6RKHUH\RXFKDQJH          ,W VQRWFRP
     JURXSVIURPWRH[FOXGLQJWUDQVJHQGHUVWXGHQWV:K\GLG        9,'(2*5$3+(5,ZLOOGRXEOHFKHFNLW
     \RXPDNHWKDWFKDQJH"                                          7+(:,71(667KDQN\RX
     $,WKLQNMXVWEHFDXVHLW VVSHFLILFWRWKLVFDVH      $77251(<75<216RUU\WRLQWHUUXSW\RXU
     4:HOOWKHVSHFLILFVRIWKLVFDVHZHUHWKHVDPH        IORZ
     EHIRUHDVWKH\DUHQRZVRGR\RXKDYHDQ\EHWWHU              %<$77251(<75<21
     H[SODQDWLRQ"                                                   46RP\TXHVWLRQZDVFDQDEOHERGLHGDWKOHWHVDQG
     $77251(<9(52))2EMHFWLRQ                    DEOHPLQGHGDWKOHWHVSDUWLFLSDWHLQ6SHFLDO2O\PSLFV
     7+(:,71(66<RXNQRZ,HGLWHYHU\WKLQJ       DQG\RXVWDUWHGWRVD\6SHFLDO2O\PSLFVZDVFUHDWHG


                                                   3DJH                                                         3DJH
      ,ZULWHDQGVRLI,VHHVRPHWKLQJWKDWPD\FODULI\PRUH        $5LJKW7KHDQVZHULVQRWKH\FDQ W
      RUFKDQJHDZRUG\RXNQRZWKDWPDNHVLWEHWWHUWKHQ,        SDUWLFLSDWH
      ZRXOGGRWKDW,WKLQNWKDW VZKDWKDSSHQHGKHUH              46RWKDWLVDQH[FOXVLRQULJKW"
      %<$77251(<75<21                                              $<HV
      4$UH\RXDZDUHRIDQ\JURXSVEHLQJH[FOXGHGIURP        4$QGLW VDFDWHJRULFDOH[FOXVLRQULJKW"
      SDUWLFLSDWLQJLQ\RXWKRUDGXOWDWKOHWLFV"                      $<HV
      $77251(<9(52))2EMHFWLRQ                     4'R\RXWKLQNLW VDIDLUH[FOXVLRQ"
      7+(:,71(66<RXNQRZ,WKLQNDORWRI          $77251(<9(52))2EMHFWLRQ
      WLPHVNLGVZLWKGLVDELOLWLHVDUHNHSWRXW,WKLQNNLGV        7+(:,71(666RUU\<HVLQWKLVFDVH
     ZKRKDYHOLPLWHGILQDQFLDOUHVRXUFHVVRPHWLPHVDUH             %<$77251(<75<21
     OLPLWHG,WKLQNJURXSVDUHVRLWPD\QRWEHDUXOH       4$QGZK\"
     WKDW\RXFDQQRWSOD\EXW\RXNQRZWKHUHDUHRWKHU            $%HFDXVHWKRVHDEOHERGLHGDWKOHWHVKDYHDQRWKHU
     JURXSVZKRPLVVRXWRQWKHRSSRUWXQLWLHVWRSOD\              DUHDZKHUHWKH\FDQFRPSHWH
     %<$77251(<75<21                                             4$QGVR6SHFLDO2O\PSLFVLVHVSHFLDOO\GHVLJQDWHG
     42WKHUWKDQWKDWFDQ\RXWKLQNRIDQ\JURXSV          IRUFHUWDLQDWKOHWHVZKRDUHQRWDEOHWRFRPSHWHDJDLQVW
     WKDWDUHH[FOXGHGE\DQ\UXOHRUUHTXLUHPHQWVIURPDQ\         DEOHERGLHGDQGDEOHPLQGHGDWKOHWHVULJKW"
     DWKOHWLFDFWLYLWLHV"                                           $8KKXK \HV \HV
     $77251(<9(52))2EMHFWLRQ                    46RLW VHVVHQWLDOO\DSURWHFWHGFDWHJRU\ULJKW"
     7+(:,71(661RWWKDW VFRPLQJWRPLQG         $77251(<9(52))2EMHFWLRQ
     WKDWDUH\RXNQRZOLNHREYLRXVRUVWDWHGLQWKHUXOHV       7+(:,71(66<HV,GRQ WNQRZLILWLV
     EXW,WKLQNWKHUH VSHUVRQDOGLIIHUHQWHWKQLFPLQRULW\        SURWHFWLRQVRPXFKDVMXVWSURYLGHDQRSSRUWXQLW\
     JURXSVIRUH[DPSOHWKDWPLJKWKDYHOHVVH[SRVXUHWR          %<$77251(<75<21
     VSRUWWKLQJVOLNHWKDW                                       4$QGWKDWH[FOXVLRQLVRIZLWKUHVSHFWWR
     %<$77251(<75<21                                             6SHFLDO2O\PSLFV\RXZRXOGQ WFDOOWKDWDUELWUDU\


                                                                                        3DJHVWR
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                                                    3DJH                                                        3DJH
      ZRXOG\RX"                                                      %<$77251(<75<21
      $77251(<9(52))2EMHFWLRQ                     4'R\RXWKLQNLQKLJKVFKRROWKDWHYHU\VSRUW
      7+(:,71(661R                                 VKRXOGKDYHDGLIIHUHQWUXOHRIZKHQWUDQVJHQGHUJLUOV
      %<$77251(<75<21                                              FDQSDUWLFLSDWHLQWKRVHVSHFLILFJLUOVVSRUWV"
      41RZLIZHJRGRZQLQSDUDJUDSKWKHVHFRQG         $77251(<9(52))2EMHFWLRQ
      VHQWHQFHVD\VLIWUDQVJHQGHUVWXGHQWVDUHDUELWUDULO\          7+(:,71(66<RXNQRZ,MXVWFRPHEDFN
      H[FOXGHGIURP\RXWKVSRUWVWKH\DUHLQWXUQGHSULYHG          WRP\H[SHUWLVHDQGZK\, YHEHHQDVNHGWREHRQWKLV
      RIWKRVHSRVLWLYHH[SHULHQFHVDQGRXWFRPHVDQGWKHLU            FDVHLVMXVWWRDGGUHVVWKHEHQHILWVWKDWDWKOHWHV
      WHDPPDWHVDUHGHSULYHGRIDJHQXLQHO\RSWLPDOVSRUWV            UHFHLYHIURPSDUWLFLSDWLQJLQVSRUW6R,ZRXOGQ W
     H[SHULHQFH                                                    SHUFHLYHWKDWWKH\DUHDWWKHKLJKVFKRROOHYHO7KHUH
     'R\RXVHHWKDW"                                      LVGLIIHUHQWUXOHVIRUHYHU\VSRUWEXW,GRQ WNQRZ
     $,GR                                                 ZKHUHZHZLOOEHGRZQWKHURDGULJKWDVZHMXVWILJXUH
     4,IWKDWH[FOXVLRQLVEDVHGRQVDIHW\FRQFHUQVRU      DOOWKLVRXWDQGVWULYHWRLQFOXGHDOODWKOHWHV
     SHUIRUPDQFHFRQFHUQVWKHQLWZRXOGQRWEHDUELWUDU\           %<$77251(<75<21
     &RUUHFW"                                              46R\RXGRQ WNQRZZKDWWKHUXOHVVKRXOGEH"
     $77251(<9(52))2EMHFWLRQ                    $77251(<9(52))2EMHFWLRQ
     7+(:,71(66,IWKHUHZHUHVWURQJ              7+(:,71(665LJKW, PQRWWKHEHVW
     HYLGHQFHIRUWKRVH                                            SHUVRQWRPDNHWKRVHGHFLVLRQV,WKLQNZHQHHGSHRSOH
     %<$77251(<75<21                                             ZKRDUHVWXG\LQJWKHVHLVVXHVDQGWKDWLVEH\RQGP\
     4$QGMXVW,WKLQNZHFRYHUHGWKLVEXW,MXVW      H[SHUWLVH
     ZDQWWRPDNHVXUH, PFRUUHFW\RXDUHQRWDQH[SHUWRQ        %<$77251(<75<21
     VDIHW\LVVXHVULJKW"                                          4)DLUHQRXJK,GRQ WZDQW\RXWRJREH\RQG\RXU
     $7KDW VULJKW                                         H[SHUWLVH:HOOOHWPHDVN\RXMXVWVRPHUHODWHG
     4$QG\RXDUHDOVRQRWDQH[SHUWRQSHUIRUPDQFH         TXHVWLRQV$QG\RXPD\VD\WKHVDPHWKLQJRQWKLVEXW


                                                    3DJH                                                        3DJH
      LVVXHVULJKW"                                                  , PJRLQJWRDVN\RXDQGZHZLOOVHHLI\RXKDYHDQ\
      $7KDW VULJKW                                          WKRXJKWV<RXPD\KDYHDOUHDG\DQVZHUHGWKLVEXWOHW
      4:KDWZRXOG\RXFDOOVWURQJHYLGHQFH"                   PHDVN\RXWKHVH2QZKDWWHDPVVKRXOGVWXGHQWDWKOHWHV
      $77251(<9(52))2EMHFWLRQ                     SDUWLFLSDWHRQLIWKH\DUHWUDQVJHQGHU",IWKH\DUHD
      7+(:,71(66,FDOOLWGDWDWKDWWKH            WUDQVJHQGHUJLUOVKRXOGWKH\SDUWLFLSDWHRQER\VRU
      H[SHUWVFRPHWRDJUHHWKDW\RXNQRZKRZWKH\FDQ           JLUOVWHDPV"
      JXLGHWKHUXOHVIRUVSRUWULJKWDQGEDODQFHLQFOXVLRQ         $77251(<9(52))2EMHFWLRQ
      DQGIDLUQHVV                                                   7+(:,71(66,WKLQNLWGHSHQGVZKDWWKH
      %<$77251(<75<21                                              UXOHVDUHEXW\RXNQRZRYHUWKHODVWGHFDGHDFURVV
     4:RXOG\RXDJUHHZLWKPHWKDWQRWDOOH[SHUWV          RUJDQL]DWLRQVRUJDQL]DWLRQVKDYHIRXQGDZD\WRDOORZ
     DJUHHRQHYHU\WKLQJHYHQZLWKWKHLURZQILHOGULJKW"         WUDQVJHQGHUIHPDOHVWRSDUWLFLSDWH
     $7KDW VULJKW                                         %<$77251(<75<21
     4,VWKHUHDPLQLPXPQXPEHURIH[SHUWVWKDWZRXOG       4$QGWKRVHUXOHVKDYHFKDQJHGRYHUWLPHULJKW"
     KDYHWRDJUHHEHIRUHLW VVWURQJHYLGHQFHRULVWKDW           $7KH\GR
     VRUWRID,GRQ WNQRZKRZWRVD\LW:KDWGR\RX         41&$$MXVWFKDQJHGLWVUXOHVULJKW"
     WKLQN"                                                         $77251(<9(52))2EMHFWLRQ
     $77251(<9(52))2EMHFWLRQ                    %<$77251(<75<21
     7+(:,71(66,WKLQNZLWKUHVSHFWWR           4'LG\RXDQVZHU"
     WKLVFDVHWKDWRUJDQL]DWLRQVFDQ\RXNQRZZHLJKLQRQ       $<RXNQRZ, PQRWVXUHRIWKHODWHVW,WKRXJKW
     WKHHYLGHQFHWKHUHWRVHH,PHDQWKHUHLVMXVWD          WKH\ZHUHJRLQJWROHDYH\HDKWKH\ UHJRLQJWREH
     ORWRILQMXU\ZLWKLQVSRUWWKDWKDSSHQVULJKWLW V           ORRNLQJDWRWKHURSWLRQVDQGJHWWLQJIHHGEDFNIURPWKH
     MXVWSDUWRIVSRUW6R,WKLQNWKH\ZRXOGKDYHWR             JRYHUQLQJERGLHVLVP\XQGHUVWDQGLQJ
     UHDOO\FRQVLGHUWKHHYLGHQFHWRVHHLIWKHUHDUHVDIHW\        4$UH\RXDZDUHRIZKDWWKH5XJE\$VVRFLDWLRQ
     FRQFHUQVIRUKDYLQJWUDQVDWKOHWHVSDUWLFLSDWH                 VD\V"


                                                                                        3DJHVWR
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                                                   3DJH                                                         3DJH
      $77251(<9(52))2EMHFWLRQ                     DFURVVVWDWHV
      7+(:,71(661R                                 %<$77251(<75<21
      %<$77251(<75<21                                              4'R\RXNQRZRIDQ\UXOHGR\RXNQRZRIDQ\
      4$UH\RXDZDUHRI86$6ZLPPLQJZKDWWKHLUUXOHV        UXOHWKDWVSHFLILFDOO\DGGUHVVHVQRQELQDU\DWKOHWHV"
      DUH"                                                            $77251(<9(52))2EMHFWLRQ
      $77251(<9(52))2EMHFWLRQ                     7+(:,71(661R
      7+(:,71(66,FRXOGQ WWHOO\RXDOOWKH         %<$77251(<75<21
      GHWDLOVEXW,NQRZ86$6ZLPPLQJUHDOO\LVWU\LQJWR            4+DYH\RXKHDUGWKHWHUPELJHQGHU"
      ILQGDZD\WREHLQFOXVLYHDQGVR,NQRZDWWKH\RXWK          $77251(<9(52))2EMHFWLRQ
     OHYHOVWKDWWUDQVJHQGHU\RXWKDUHDEOHWRSDUWLFLSDWH         7+(:,71(66<HV
     ULJKWDQGWKDWWKH\KDYHDOORZHGVRPHUXOHFKDQJHVIRU        %<$77251(<75<21
     ZKDWVZLPVXLWNLGVZHDUDQGWKLQJVOLNHWKDW                  47KHGHILQLWLRQWKDW,KDYHUHDGLVDSHUVRQZKR
     %<$77251(<75<21                                             LGHQWLILHVDVELJHQGHUKDVWZRJHQGHUV,VWKDW\RXU
     4%XWWKRVHWUDQVJHQGHUJLUOVKDYHWRRU            XQGHUVWDQGLQJDVZHOO"
     WUDQVJHQGHUZRPHQKDYHWRPHHWFHUWDLQUHTXLUHPHQWV            $77251(<9(52))2EMHFWLRQ
     EHIRUHWKH\FDQSDUWLFLSDWHRQDIHPDOHWHDP                  7+(:,71(66<HV
     5LJKW"                                                %<$77251(<75<21
     $77251(<9(52))2EMHFWLRQ                    4$QGLQKLJKVFKRROWKHELRORJLFDOPDOH
     7+(:,71(66<HV                               LGHQWLILHVDVELJHQGHUDQGZDQWVWRSDUWLFLSDWHRQD
     %<$77251(<75<21                                             JLUOVVSRUWVWHDPVKRXOGWKDWEHDOORZHG"
     4$UH\RXDZDUHRIWKHVSHFLILFV"                       $77251(<9(52))2EMHFWLRQ
     $1R, YHUHDGVRPHRIWKLVEXW, PQRWVXUH         7+(:,71(66,WKLQNJUHDWHUFRQWH[WLV
     , YHUHWDLQHGLWDQGLW VQRWVRPHWKLQJWKDW,VSHQWD         QHHGHG7KHUH VD\RXNQRZXQGHUVWDQGZKDW VJRLQJ
     ORQJWLPHRQDFURVVVSRUWV                                    RQZLWKWKDWSDUWLFXODUDWKOHWH$QGDJDLQ,MXVWZDQW


                                                   3DJH                                                         3DJH
      42ND\                                                  WRWKLVLVDOLWWOHELWEH\RQGP\H[SHUWLVHDQG, P
      /HWPHDVN\RXWKHQLI\RXKDYHHYHUKHDUGRI          KHUHWRMXVWUHHQIRUFHWKDWWKHUHLVDORWRIEHQHILWV
      WKHWHUPQRQELQDU\"                                             IRUDOODWKOHWHVWREHDEOHWRSDUWLFLSDWH
      $,KDYHKHDUGRIWKDWWHUP                             %<$77251(<75<21
      4,VWKLVDIDLUGHILQLWLRQWKDWLWLVSHRSOHZKR       4:KDWLIDELRORJLFDOPDOHZDQWVWREHRQDJLUOV
      GRQRWGHVFULEHWKHPVHOYHVRUWKHLUJHQGHUVDVILWWLQJ          WHDPHYHQWKRXJKKHGRHVQRWLGHQWLI\DVDJLUOVKRXOG
      LQWKHFDWHJRU\RIPDQRUZRPDQ"'RHVWKDWVRXQGOLNHD        KHEHDOORZHGWRGRVR"
      IDLUGHILQLWLRQ"                                                $77251(<9(52))2EMHFWLRQ
      $77251(<9(52))2EMHFWLRQ                     7+(:,71(661R
     7+(:,71(66<HV                               %<$77251(<75<21
     %<$77251(<75<21                                             4$QGZK\QRW"
     46KRXOGDELRORJLFDOPDOHZKRLGHQWLILHVDV            $%HFDXVHKH VZDQWLQJWRSOD\RQDRQD
     QRQELQDU\ZKRLVDQDWKOHWHSDUWLFLSDWHLQKLJKVFKRRO         IHPDOHWHDPDQGKHGRHVQ WKDVQ WWUDQVLWLRQHGDQG
     RQWKHER\VRUJLUOVWHDP"                                     LVQ WLGHQWLI\LQJDVDIHPDOH
     $77251(<9(52))2EMHFWLRQ                    4,IDELRORJLFDOPDOHZDQWVWRSDUWLFLSDWHRQD
     7+(:,71(66,WKLQNLWGHSHQGVRQZKDW        JLUOVWHDPDQGLGHQWLILHVDVDIHPDOHEXWKDVQRW
     WKHUXOHVDUH$QG,WKLQNWKHJRDORIWKHVSRUW              WUDQVLWLRQHGLQDQ\ZD\VKRXOGKHEHDOORZHGWR
     RUJDQL]DWLRQVVHHPVWREHKRZFDQZHORRNDWWKHVH             SDUWLFLSDWHRQWKHJLUOVWHDP"
     LVVXHVDQGMXVWVWLOOWU\WREHDVLQFOXVLYHDV                $77251(<9(52))2EMHFWLRQ
     SRVVLEOH                                                      7+(:,71(66,QLQJHQHUDO,ZRXOG
     %<$77251(<75<21                                             VD\QREXWZH UHPLVVLQJWKHFRQWH[W:KDWLIWKLVZDV
     4:KDWDUHWKHUXOHVRQWKDWLQKLJKVFKRRO"            \HDK,WKLQNZHZDQWWKDWSHUVRQWRWUDQVLWLRQ
     $77251(<9(52))2EMHFWLRQ                    %<$77251(<75<21
     7+(:,71(665LJKWLWVHHPVWRYDU\           42ND\


                                                                                        3DJHVWR
                Case: 22-5807
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                                                  3DJH                                                         3DJH
      :KDWWUDQVLWLRQLQJZRXOGEHQHFHVVDU\"                7+(:,71(66,IZHXQGHUVWDQGWKDW
      $77251(<9(52))2EMHFWLRQ                    WUDQVDWKOHWHVDUHLGHQWLI\LQJZLWKDSDUWLFXODUJHQGHU
      7+(:,71(66,WKLQNWKDW VRXWIRU            VRLQWKLVFDVHWUDQVIHPDOHVWKHQQRWKDWZRXOGQ WEH
      GHEDWHGLVFXVVLRQDQGWRILJXUHRXWDWWKHVHGLIIHUHQW       DQRSWLRQWRJRSDUWLFLSDWHRQDPDOHWHDP
      OHYHOVRIVSRUWVZKDWWKDWFULWHULDLVJRLQJWREH            %<$77251(<75<21
      %<$77251(<75<21                                             4:HOOZK\LVWKDWQRWDQRSWLRQ"
      46RLQKLJKVFKRROLVLWVLPSO\FKDQJLQJ\RXU          $5LJKWZHOO,MXVWSRLQWWR3%-ULJKWZKRKDV
      QDPHWRDIHPDOHQDPHZRXOGWKDWIRUDPDOHWR            LGHQWLILHGDVDJLUOIRUDORQJWLPHDQGORRNVYHU\PXFK
      FKDQJHWRDIHPDOHQDPHZRXOGWKDWEHDGHTXDWHWRWKHQ        OLNHDJLUODQGLVWKH,EHOLHYHWKHSULQFLSDOVDLG
     EHDOORZHGWRSOD\RQWKHJLUOVWHDP"                         \RXNQRZZH UHMXVWFUHDWLQJSUREOHPV7KLVOLWWOH
     $77251(<9(52))2EMHFWLRQ                   JLUOFDQEHZLWKKHUIULHQGVFDQUXQFURVVFRXQWU\FDQ
     7+(:,71(661R, GVD\LQJHQHUDOWKDW      UHDSDOOWKHVHEHQHILWVULJKWDQGLW VQRWDQRSWLRQ
     ZRXOGQ WEHWKHFDVH                                         WRVHQGKHURYHUWRWKHER\VWHDPEHFDXVHVKHLVDJLUO
     %<$77251(<75<21                                            4'R\RXQHHGWRORRNOLNHDJLUOWREHRQWKH
     42ND\                                                JLUOVWHDP"
     ,IWKDWSHUVRQLQDGGLWLRQWRFKDQJLQJKLV          $77251(<9(52))2EMHFWLRQ
     QDPHWRDIHPDOHQDPHDQGVD\V,ZDQWWREHDGGUHVVHG         7+(:,71(661R, PQRWVXUHZKDWWKDW
     XVLQJIHPDOHSURQRXQVLVWKDWDGHTXDWH"                      PHDQV
     $77251(<9(52))2EMHFWLRQ                   %<$77251(<75<21
     7+(:,71(66,WKLQNWKDWZH YHJRWWKLV      4:HOOWKHUHDUHJLUOVWKDWORRNPDVFXOLQHWKDW
     NLQGRIFRQWLQXXPLWVRXQGVOLNHULJKWWRZKDWGHJUHH       DUHJLUOVDQGWKH\RIFRXUVHZDQWWREHRQWKHJLUOV
     SHRSOHDUHWUDQVLWLRQLQJWRNQRZWUDQVLWLRQLQJ$QGWR       WHDP,ZRXOGSUHVXPH\RXZRXOGDJUHHWKH\VKRXOGEHRQ
     MXVWKDYHDEODQNHWVWDWHPHQWWKDWQRRQHWKDWQR         WKHJLUOVWHDPULJKW"
     WUDQVDWKOHWHFDQHYHUSDUWLFLSDWHLQVSRUWHYHUDFURVV        $77251(<9(52))2EMHFWLRQ


                                                  3DJH                                                         3DJH
      WKHXQLYHUVHLVKDUPIXOIRUPDQ\DWKOHWHVULJKW$QG         7+(:,71(665LJKWWKHUHDUH\RX
      VRWKHVHVSHFLILFVRIZKHUHZHDUHJRLQJWRJRZLWKZKDW       NQRZZHPD\JHWLQWRDGHEDWHDERXWZKDWLVPDVFXOLQH
      WKHFULWHULDLVIRUDWKOHWHVULJKW,WKLQNWKHUH VD         RUIHPLQLQHLIZH UHVD\LQJWKDW\RX UHGHVFULELQJ
      ORWRISHRSOHVWXG\LQJWKHVHLVVXHVDQGZHLJKLQJLQDQG        VRPHERG\DVPRUHDIHPDOHWKDW VPRUHPDVFXOLQHEXW
      , PQRWRQHRIWKRVHLQGLYLGXDOVZKR VUHDOO\VWXG\LQJ         PD\EHRWKHUSHRSOHVHHLWWKDWWKHUH VDIHPLQLQH
      WKLVVWXIILQGHWDLODWWKDWOHYHOEXW,GRNQRZ         TXDOLW\WRZKDWHYHUEHLQJVWURQJ\HDKKDYLQJDVROLG
      %<$77251(<75<21                                             EXLOGWKRVHWKLQJV
      46RUU\*RDKHDG                                     %<$77251(<75<21
      $,GRNQRZWKDWLQFOXVLRQLQVSRUWKDVPDQ\            4:HOO\RX UHWKHRQHWKDWSRLQWHGRXWWKDW%3-
     EHQHILWVDQGWKDWLWZRXOGEHDVKDPHWRQRWKROGD           ORRNVOLNHDOLWWOHJLUODQGVXJJHVWLQJWKDWWKDWZDV
     FDWHJRU\RIDWKOHWHVRXWWRSDUWLFLSDWH                      RQHRIWKHUHDVRQVWKDW%3-VKRXOGEHRQWKHJLUOVWHDP
     46RWKHUHZRXOGEHQRWKLQJWRVWRSDPDOH             'LG,XQGHUVWDQGWKDWLQFRUUHFWO\"
     DWKOHWHDELRORJLFDOPDOHDWKOHWHLGHQWLI\LQJDVD           $:KDW,PHDQWWRHPSKDVL]HLVWKDWVKHVHHV
     IHPDOHIURPSDUWLFLSDWLQJRQDER\VWHDPULJKW"              KHUVHOIDVDJLUODQGVRZHSXWKHULQDUHDOO\
     $77251(<9(52))2EMHFWLRQ                   XQFRPIRUWDEOHVSRWWRVD\\RXFDQ WEHZLWKWKHJLUOV
     7+(:,71(665LJKW,GLGQRWVWDWH          DQG\RXKDYHWRJREHZLWKWKHER\VHYHQWKRXJKLQ\RXU
     WKDW, PQRWVXUHZKDWWKDWFULWHULDVKRXOGEHEXWLW      KHDUWRIKHDUWV\RXNQRZ\RX UHDJLUO
     KHOSVXVEDODQFHEHLQJLQFOXVLYHDQGDOVREHLQJIDLU        4&DQWKDWEHXQFRPIRUWDEOHIRUWKHELRORJLFDO
     %<$77251(<75<21                                            JLUOVRQWKHJLUOVWHDPLIELRORJLFDOER\VZKRLGHQWLI\
     46RLW VQRWH[FOXGLQJWKDWSHUVRQIURP               WKHPVHOYHVDVLQWHUQDOO\DVEHLQJJLUOVDUHDOORZHGWR
     SDUWLFLSDWLQJLQVSRUWVLW VMXVWH[FOXGLQJWKDWSHUVRQ      SDUWLFLSDWHRQWKHJLUOVWHDP"
     IURPSDUWLFLSDWLQJRQWKHWHDPWKDWSHUVRQZDQWVWR           $77251(<9(52))2EMHFWLRQ
     SDUWLFLSDWHRQULJKW"                                        7+(:,71(66&RXOG\RXNQRZFRXOG
     $77251(<9(52))2EMHFWLRQ                   WKHIDFWWKDWDWUDQVJHQGHUJLUOLVSDUWLFLSDWLQJLQD


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                Case: 22-5807
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                                                   3DJH                                                         3DJH
      VSRUWRQDWHDPFRXOGWKDWPDNHVRPHRQHIHHO                  WKLVFKLOGDVRQHRIRXURZQHYHQWKRXJKWKLVFKLOGLVD
      XQFRPIRUWDEOH"'HILQLWHO\LW VSRVVLEOH                       WUDQVJHQGHUIHPDOHWKLVWUDQVJHQGHUIHPDOHZLOOEHRQ
      %<$77251(<75<21                                              WKHER\VWHDPDQG\RXZLOOWUHDWWKLVWUDQVJHQGHUIHPDOH
      41RWRQO\LVLWSRVVLEOHEXWLWKDSSHQVULJKW"        ZLWKUHVSHFWDQGEHDIXOOSDUWRIWKHWHDPULJKWWKDW
      $77251(<9(52))2EMHFWLRQ                     FRDFKFRXOGGRWKDW"
      7+(:,71(66<HV,WKLQNLWSUREDEO\           $77251(<9(52))2EMHFWLRQ
      KDSSHQV,WSUREDEO\KDSSHQVERWKZD\VWKDWWKHUHDUH         7+(:,71(66<HVWKHSUREOHPLVWKDWWKH
      DOVRWHDPPDWHVWKDWDUHYHU\VXSSRUWLYH                        WUDQVJHQGHUDWKOHWHLVDIHPDOHULJKWDQGKDVWKH
      %<$77251(<75<21                                              ULJKWWRSDUWLFLSDWHZLWKWKHIHPDOHWHDP
     4%XWWKHIHHOLQJVRIWKHELRORJLFDOJLUOVZKRDUH      %<$77251(<75<21
     XQFRPIRUWDEOHZLWKDELRORJLFDOPDOHLGHQWLI\LQJDVD          4:KHUHLVWKDWULJKWIRXQG"<RXMXVWVDLGVKH
     IHPDOHRUDWUDQVJHQGHUJLUODV\RXKDYHVDLGWKHLU          KDVWKDWULJKW:KHUHLVWKDWULJKW"
     IHHOLQJVDUHLPSRUWDQWWRRULJKW"                             $77251(<9(52))2EMHFWLRQ
     $77251(<9(52))2EMHFWLRQ                    7+(:,71(66,PHDQDVLWFRPHVZLWKLQ
     7+(:,71(66<RXNQRZSXOOLQJIURPP\         WKHUXOHVULJKW, PVRUU\-XOLH,PHDQDVLW
     H[SHUWLVHLIZH UHWU\LQJWRFUHDWHWKLVFDULQJWDVN          IDOOVZLWKLQWKHUXOHVULJKW
     LQYROYLQJFOLPDWHWKHQ\HVLWZRXOGEHYHU\LPSRUWDQW        %<$77251(<75<21
     IRUDFRDFKWRVLWGRZQZLWKWKRVHDWKOHWHVDQGWDONDQG       4:HOOULJKWQRZWKHUXOHLV+%ZKLFKVD\V
     HQFRXUDJHWKHP,IWKHWUDQVIHPDOHDWKOHWHLVSOD\LQJ         WKDWWKDWWUDQVJHQGHUJLUOPXVWSDUWLFLSDWHRQWKHER\V
     E\WKHUXOHVDQGKDVGRQHHYHU\WKLQJWKDWKDVEHHQDVNHG       WHDP$QGVLQFHWKDWLVWKHUXOHIROORZLQJ\RXU
     DQGWKH\DUHSDUWRIDWHDPWKHQFRDFKHVVKRXOGUHDOO\        \RXUORJLF\RXJRWRWKHER\VWHDPDQGWKHER\VFRDFK
     WDONZLWKWKHDWKOHWHVWKDQKHOSWKHPXQGHUVWDQGKHOS         DQG\RXVD\WKLVFKLOGLVJRLQJWREHSDUWLFLSDWLQJLQ
     WKHPQRWOHWWKLVEHDGLVWUDFWLRQKHOSWKHPHPEUDFH          WKLVWHDP\RXZLOOZHOFRPHKHUZLWKRSHQDUPVRQWRRXU
     DOOWKHLUWHDPPDWHVULJKW7KHUHLVVRPXFKLQWKH           WHDPMXVWDVZHGRRQIRRWEDOOZHRSHQZLWKZHOFRPH


                                                   3DJH                                                         3DJH
      VSRUWWKDWDQ\RIXVRQDWHDPPLJKWOLNHWRFKDQJH            ZLWKRSHQDUPVJLUOVZKRDUHSOD\LQJRQDER\VIRRWEDOO
      ULJKWRUZLVKRXUWHDPPDWHVGLGRWKHUWKLQJVULJKW           WHDPULJKW"
      ZLVKWKH\ZRUNHGKDUGHURUZLVKWKH\XVHGOHVV                  $77251(<9(52))2EMHFWLRQ
      UHFUHDWLRQDOGUXJVRUDQ\WKLQJULJKWEXWZHDUHDWHDP        7+(:,71(660\XQGHUVWDQGLQJLQWKLV
      DQGZHFRPHWRJHWKHUDQGZHMXVWVXSSRUWHDFKRWKHUDQG         FDVHLVWKDWWKHMXGJHLVKDVNLQGRIORRNHGDWWKH
      ZHNHHSWKHIRFXVRQEHLQJWKHEHVWZHFDQEHHYHU\GD\        HYLGHQFHDQGVDLGULJKWQRZ,WKLQNWKHUHLVSRWHQWLDO
      %<$77251(<75<21                                              GLVFULPLQDWLRQDQGVRZH UHJRLQJWROHW%3-FRQWLQXHWR
      46RELRORJLFDOJLUOVMXVWQHHGWRNQXFNOHXQGHU         FRPSHWHDQGDOOWKURXJKWKLVVR
      DQGDFFHSWWKLQJVWKHZD\WKDW\RXZDQWWKHPWREH,V         %<$77251(<75<21
     WKDWZKDW\RXDUHVD\LQJ"                                      47KDW VULJKWWKH-XGJHGLGVD\WKDWIRUQRZ
     $77251(<9(52))2EMHFWLRQ                    EXWKHGLGQRWVD\WKDWIRUHYHU\WKLQJ%XW, PDVNLQJ
     7+(:,71(66, PVD\LQJEHLQJSDUWRID        IRUDPRUHJHQHUDOUXOH3XWWLQJDVLGH%3-DVD
     WHDPLVFKDOOHQJLQJDQGIRUVRPHSHRSOHKDYLQJD              JHQHUDOUXOHZK\ZRXOG\RXVD\FRDFKRIWKHER\VWHDP
     WHDPPDWHWKDWLVWUDQVJHQGHUPD\EHRQHRIWKRVH               \RXZLOODOORZWKHVHWUDQVJHQGHUJLUOVWRFRPHDQGSOD\
     FKDOOHQJHVWKH\KDYHWRGHDOZLWK%XWHYHU\RQHLV            RQ\RXUWHDPDQG\RXZLOOZHOFRPHWKHPZLWKRSHQDUPV
     GHDOLQJZLWKFKDOOHQJHVZLWKWKHWHDPVULJKW$QGLI         MXVWDVZHGRZLWKRXUIRRWEDOOWHDPVWKDWDOORZJLUOV
     WKDWWUDQVJHQGHUDWKOHWHLVWKHUHSOD\LQJE\WKHUXOHV        WRSOD\RQWKHP"
     ULJKWDQGLVDOORZHGWREHWKHUHWKHQ\HDK,JXHVV          $77251(<9(52))2EMHFWLRQ
     WKHRWKHUVKDYHWRGHDOZLWKLW                               %<$77251(<75<21
     %<$77251(<75<21                                             4%HFDXVHDIWHUDOODV\RXVDLGWKHWUDQVJHQGHU
     46RRQWKHRWKHUKDQG\RXFDQWHOOWKDW               JLUOLVDJLUODQGVRVKRXOGEHDOORZHGWRSOD\RQWKH
     WUDQVJHQGHUIHPDOHWRSDUWLFLSDWHRQWKHER\VWHDPDQG         ER\VWHDPLIVKHFKRRVHV"
     WKHFRDFKRQWKHER\VWHDPZRXOGVLWGRZQZLWKWKHER\V        $77251(<9(52))2EMHFWLRQ
     DQGVD\\RXZLOOQRWPDNHIXQRIWKLVFKLOG\RXDFFHSW        7+(:,71(66,WKLQNIRRWEDOOLVDJUHDW


                                                                                        3DJHVWR
                Case: 22-5807
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                                                  3DJH                                                         3DJH
      VSRUWDQG,ZLVKWKH\KDGPDOHDQGIHPDOHWHDPV              4$QGRIFRXUVHQRWDOODWKOHWHVFRPSHWHRQ
      7\SLFDOO\LW VMXVWDPDOHWHDPVRDIHPDOHZKRZDQWV        WHDPV6RPHWLPHVLIWKH\MXVWORYHWRUXQLIWKDWLV
      WRSOD\IRRWEDOOGRHVQ WKDYHDQRWKHURSWLRQ%XWLQ          WKHNH\WKH\MXVWORYHWRUXQWKH\GRQ WKDYHWREHRQ
      WKLVFDVH%3-DQGRWKHUVZKRLGHQWLI\DVDIHPDOHDQG          DWHDPWRUXQULJKW"
      VKRXOGEHDEOHWRFRPSHWHZLWKRWKHUIHPDOHVWKHLU            $5LJKW
      IULHQGJURXSDQGVR,VHHWKDWDVDQLQGLIIHUHQFH         $77251(<75<216RZHKDYHJRQHIRUDQ
      %<$77251(<75<21                                             KRXU$QG,ZRXOGOLNHWRJHWVRPHGRFXPHQWVSULQWHG
      47KHLUIULHQGJURXS"6RJLUOVFDQ WKDYHER\          VLQFHZH UHQRWDEOHWRHDVLO\ORRNDWWKHPRQ\RXU
      IULHQGV"                                                       L3DG6RZK\GRQ WZHJRRIIWKHUHFRUGWRVHHLIZH
     $1R,PHDQWLWVRUU\,PHDQWLQWKLVFDVH      FDQJHWWKDWWDNHQFDUHRI,VWKDWRND\ZLWK\RX
     %3-LVVD\LQJKHUFORVHVWIULHQGVDUHRQWKHJLUOVWHDP      -XOLH"
     6KHLVDJLUODQGVKHDQGVRLWZRXOGEHKDUPIXO         $77251(<9(52))7KDWLVJUHDW7KDQN
     QRWIDLUWRQRWOHWKHUFRPSHWHZLWKWKDWWHDP               \RX
     4+RZGR\RXGHILQHIDLU"<RXWROGPHEHIRUH\RX      9,'(2*5$3+(5*RLQJRIIWKHUHFRUG7KH
     DUHQRWDQH[SHUWRQIDLUQHVV$UH\RXQRZVD\LQJWKDW       FXUUHQWWLPHUHDGVSP(DVWHUQ6WDQGDUG7LPH
     \RXGRNQRZZKDWLVIDLU"                                     2))9,'(27$3(
     $77251(<9(52))2EMHFWLRQ                   
     7+(:,71(66, PMXVWNHHSLQJIRFXVHGRQ       :+(5(8321$6+257%5($.:$67$.(1
     ZKDWWKHUXOHVDUHDQGWKH-XGJHKDVUXOHGULJKWQRZ          
     WKDW%3-VKRXOGEHDEOHWRFRPSHWHZLWKWKHJLUOV             219,'(27$3(
     EHFDXVHVKHLVDJLUODQGVRIURPP\SHUVSHFWLYH            9,'(2*5$3+(5:HDUHEDFNRQWKHUHFRUG
     WKDW VZKHUHLWVWDQGVULJKWQRZ                             7KHFXUUHQWWLPHUHDGVSP(DVWHUQ6WDQGDUG7LPH
     %<$77251(<75<21                                            %<$77251(<75<21
     42ND\                                                43URIHVVRU)U\WKDQN\RXIRUKHOSLQJXVZLWK


                                                  3DJH                                                         3DJH
      7KDW VMXVWEHFDXVHWKDW VZKDWWKH-XGJHVDLG        WKDWWHFKQLFDOLVVXH
      WKHQULJKW"                                                   $1RSUREOHP
      $77251(<9(52))2EMHFWLRQ                    4,ZRXOGOLNH\RXWRILQGWKHH[KLELWWKDWVD\V
      7+(:,71(661R,WKLQNWKHFRUHLVVXH        'HSUHVVLRQLQ$WKOHWHV,WVKRXOGEH([KLELW,
      LV%3-LGHQWLILHVDVDJLUOKDVOLYHGWKHPDMRULW\RI         EHOLHYH
      KHUOLIHDVDJLUODQGZDQWVWREHDEOHWRSDUWLFLSDWH         $, YHJRWLW
      LQKHUVFKRRODFWLYLWLHVDVDJLUOLQFOXGLQJ                  42ND\
      FURVVFRXQWU\                                                 , YHORVW\RX7KHUH\RXDUH2ND\/HWPH
      %<$77251(<75<21                                             ILQGWKHULJKWSDJH, PRXWOLQLQJWR2ND\6R([KLELW
     46RKRZORQJGR\RXWKLQNDWUDQVJHQGHUJLUOKDV      LV'HSUHVVLRQLQ$WKOHWHV3UHYDOHQFHDQG5LVN
     WROLYHDVDJLUOEHIRUHSDUWLFLSDWLQJRQWKHJLUOV           )DFWRUVE\$QGUHZ:RODQLQDQGRWKHUDXWKRUVULJKW"
     WHDP"                                                         $<HV
     $77251(<9(52))2EMHFWLRQ                   46R,ZDQWHGWRDVN\RXDERXWDSDVVDJHRQWKH
     7+(:,71(66$JDLQ,WKLQN, PQRWWKH       VHFRQGSDJHRIWKLVZKLFKLVSDJHXQGHUWKHWLWOH
     EHVWSHUVRQIRUWKDWOLQHRILQTXLU\, PQRWVXUHEXW      6SRUWV,QMXULHVDQG'HSUHVVLRQDWWKHERWWRPRIWKH
     ,NQRZRWKHUVDUHVWXG\LQJWKDWWKRVHNLQGRILVVXHV        ILUVWFROXPQ6R,ZLOOMXVWUHDGWKHSDVVDJHWKDW,
     DQGFDQDGGJUHDWHULQVLJKWWRLW                            KDYHDTXHVWLRQDERXWDQGLI\RXFKRRVHWRUHDGLWWRR
     %<$77251(<75<21                                            LI\RXZDQWWRUHDGLWPRUHLQIDFWGLG\RXDOUHDG\
     42ND\                                                UHDGWKHDEVWUDFWRQWKLVHDUOLHU"
     $, PMXVWVRPHRQHZKRZRXOGKDWHWRVHH%3-QRW       $,MXVWGLG
     EHDOORZHGWRSDUWLFLSDWHLQKHUVFKRRODFWLYLWLHVMXVW      42ND\
     WREHWROGQR, PVRUU\                                     6R\RX YHUHDGWKHDEVWUDFW0\TXHVWLRQLV
     42QWKHJLUOVWHDP"                                   RQDV,VDLGXQGHU6SRUWV,QMXULHVDQG'HSUHVVLRQ
     $5LJKW                                               $QG,ZLOOMXVWUHDGLQWRWKHUHFRUG%UXHUDQG3HWULH


                                                                                       3DJHVWR
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                                                         3DJH                                                    3DJH
     VHYHQLQSDUHQWKHVHVZHUHDPRQJWKHILUVWUHVHDUFKHUV            %<$77251(<75<21
     WRFRPSDUHGHSUHVVLRQV\PSWRPVEHWZHHQDWKOHWHVZKRKDG           4*RDKHDG\RXPD\DQVZHU
     DQGKDGQRWH[SHULHQFHGLQMXULHV,QWKLVUHWURVSHFWLYH          $2ND\
     VWXG\LWZDVIRXQGWKDWDWKOHWHVZKRH[SHULHQFHGDQ               <RXNQRZWKHUHLVSUREDEO\MXVWDORWRI
     LQMXU\GXULQJWKHSUHYLRXV\HDUUHSRUWHGVLJQLILFDQWO\            EDFNJURXQGWRWKLVVR,DJUHH,KDYHQ WUHDGWKLVRQH
     KLJKHUGHSUHVVLRQV\PSWRPVFRUHVWKDQWKRVHUHSRUWHGE\           EXW,ZRXOGMXVVD\$&/LQMXULHVFDQEHH[WHQVLYHDQG
     QRQLQMXUHGDWKOHWHVDVPHDVXUHGE\WKH9DOLGDWHG                ODVWRYHUPRQWKVULJKWDQGWDNHDQDWKOHWHRXWRI
     &HQWHUIRU(SLGHPLRORJLFDO6WXGLHV'HSUHVVLRQ                    VSRUWVIRUPRQWKV:KHUHDVDFRQFXVVLRQ\RXNQRZLW
     SDUHQWKHVHV&(6'VFDOH'R\RXVHHWKDW"                       YDULHVLQVHYHULW\DQGVRPHERG\PLJKWEHEDFNUHODWLYHO\
    $,GR                                                   TXLFNO\LQFRPSDULVRQ%XW\RXNQRZERWKRIERWK
    4$QGP\TXHVWLRQLVGR\RXKDYHDQ\UHDVRQWR            RIWKHVHLQMXULHVDUHQRWIXQIRUDWKOHWHVWRGHDOZLWK
    GLVSXWHWKLVRUFRQWHVWWKLVILQGLQJLQWKLVVWDWHPHQW"          DQG\HDKFDQFDXVHVWUHVVDQGGHSUHVVLRQ
    $1R                                                     42ND\
    4:RXOGLWEHIDLUWRVD\WKDW\RXDJUHHZLWKLW"         6R,WKLQN\RXZRXOGDJUHHWKDWLW VLPSRUWDQW
    $<RXNQRZLW VUHWURVSHFWLYHVRWKH\ UHJRLQJ          IRUDWKOHWHVWRDYRLGLQMXULHVZKHUHSRVVLEOHULJKW"
    EDFNLQWLPHDQGDVNLQJKH\ZKHQ\RXZHUHLQMXUHGZKDW         $5LJKWULJKWDQG\HDK
    ZDVJRLQJRQEXWQR,ZRXOGDFFHSWWKLVLVFRXOG           4$QGZRXOG\RXDJUHHWKDWLWLVLPSRUWDQWWRKDYH
    EHDOHJLWLPDWHILQGLQJ                                         UXOHVLQSODFHWRDYRLGLQMXULHVZKHUHSRVVLEOH"
    42ND\                                                   $<HV,ZRXOGDJUHH
    7KHQLQWKHQH[WFROXPQILUVWIXOOSDUDJUDSK          4$QGZRXOG\RXDJUHHWKDWZHGRQ WQHHGWRZDLW
    WKHUHKDVEHHQDUHFHQWVXUJHRIHYLGHQFHVXJJHVWLQJ             IRUDFWXDOKDUPEHIRUHSXWWLQJUXOHVLQSODFHWRSUHYHQW
    WKDWVSRUWVFRQFXVVLRQVFDQOHDGWRFKDQJHVLQHPRWLRQDO         KDUPLILW VUHDVRQDEO\IRUHVHHDEOH"
    VWDWHSDUHQWKHVHVFORVHGSDUHQSHULRG                    $77251(<9(52))2EMHFWLRQ
    )XUWKHUPRUHWKHUHLVUHFHQWHYLGHQFHWRVXJJHVWWKDW            7+(:,71(66<HDKWKHNH\ZRUGLV


                                                         3DJH                                                    3DJH
      VSRUWVFRQFXVVLRQVFDQKDYHORQJODVWLQJHPRWLRQDO               UHDVRQDEO\
      LPSDFW$QGP\TXHVWLRQLVGR\RXKDYHDQ\UHDVRQWR           %<$77251(<75<21
      FRQWHVWWKLVVWDWHPHQW"$QGIHHOIUHHWRORRNDWLWDQG         45LJKW6R\RXDJUHHZLWKWKDWEXWIRFXVLQJRQ
      PDNHVXUH, PQRWUHDGLQJLWRXWRIFRQWH[W                     WKHZRUGUHDVRQDEO\ULJKW"
      $1R,GRQ WFRQWHVWWKLV                               $77251(<9(52))2EMHFWLRQ
      47KHQLQWKHEHJLQQLQJRIWKHODVWIXOOSDUDJUDSK        7+(:,71(665LJKW
      RQWKHSDJHLWVD\VZKLOHWKHUHODWLRQVKLSEHWZHHQ              %<$77251(<75<21
      FRQFXVVLRQDQGGHSUHVVLRQPD\EHVLJQLILFDQWWKHUHLV            4:RXOG\RXDJUHHWKDWVHJUHJDWLRQRIPDOHDQG
      DOVRHYLGHQFHWRVXJJHVWWKDWDFRQFXVVLRQPD\KDYHWKH          IHPDOHVSRUWVLVDWOHDVWLQSDUWWRSURWHFWJLUOVIURP
     VDPHHIIHFWDVRWKHULQMXULHVRQPHQWDOKHDOWK)RU            LQMXU\DWOHDVWIRUVRPHVSRUWV"
     H[DPSOH0DLQ:HDULQJHWDOLQSDUHQWKHVHV               $77251(<9(52))2EMHFWLRQ
     FRQGXFWHGDVWXG\WRH[DPLQHWKHGLIIHUHQFHVEHWZHHQ            7+(:,71(663RVVLEO\,ZRXOGMXVW
     HPRWLRQDOUHVSRQVHVLQDWKOHWHVZKRKDGDFRQFXVVLRQ            QRWHWKDWWKHUHLVWUHPHQGRXVYDULDELOLW\ZLWKLQHDFK
     FRPSDUHGZLWKDQWHULRUFUXFLDWHOLJDPHQW$&/LQMXU\          JHQGHUDQGLIWKDWZHUHWRWDOO\ZKDWZDVGULYLQJWKLV
     7KH\IRXQGWKDWDWKOHWHVZLWK$&/LQMXULHVKDGPRUH             WKHQZHUHDOO\ZRXOGEHFRQFHUQHGDERXWVRPHIRU
     VHYHUHOHYHOVRIGHSUHVVLRQDQGORQJHUGXUDWLRQRI              H[DPSOHQRWDVVWURQJPDOHVFRPSHWLQJDJDLQVWELJJHU
     GHSUHVVLRQFRPSDUHGWRWKRVHDWKOHWHVZLWKFRQFXVVLRQ          VWURQJHUPDOHVDQGVDPHZLWKIHPDOHV6RWKHLVVXHMXVW
     'R\RXVHHWKDW"                                                WUDQVFHQGJHQGHU\RXNQRZLW VDQLVVXHZLWKLQHDFK
     $,GR                                                  JHQGHU
     4$QGGR\RXKDYHDQ\UHDVRQWRFRQWHVWWKDW             %<$77251(<75<21
     VWDWHPHQW"                                                      4:HOO\RXVDLG\RXKDGVRPHIDPLOLDULW\ZLWK
     $77251(<9(52)), OOMXVWREMHFWWRWKH        7LWOHULJKW"
     H[WHQWWKLVVWDWHPHQWUHOLHVRQDVWXG\WKDWLVDFWXDOO\        $<HV
     QRWEHIRUHWKHZLWQHVV                                         4$QG7LWOHGLYLGHVVSRUWVLQWRER\VPDOH


                                                                                         3DJHVWR
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                                                   3DJH                                                         3DJH
      DQGIHPDOHVSRUWVLQVRPHLQVWDQFHVULJKW"                     RI\RXUPRVWUHFHQWUHSRUW2ND\6RWKHILUVWFODXVH
      $77251(<9(52))2EMHFWLRQ                     RIWKDWILUVWVHQWHQFHVD\VDWKOHWHVKLJKLQHJR
      7+(:,71(66<HV                               RULHQWDWLRQUHSRUWORZHUFRPSDQLRQVKLSDQGJUHDWHU
      %<$77251(<75<21                                              FRQIOLFWVZLWKWHDPPDWHVDQG\RXFLWH%DODJXHUIRUWKDW
      4$QGLQSDUWLFXODUZLWKUHVSHFWWRFRQWDFW             SURSRVLWLRQ,VLPSO\ZDVQRWDEOHWRILQGWKDW
      VSRUWVULJKW"                                                  SURSRVLWLRQLQWKH%DODJXHUUHSRUW%\WKHZD\WKH
      $77251(<9(52))2EMHFWLRQ                     8QLYHUVLW\RI9DOHQFLDZKHUHLVWKDW",VWKDWLQ
      7+(:,71(66<HV                               6SDLQ"
      %<$77251(<75<21                                              $,WLV
     4$QGZRXOGLWEHIDLUWRVD\WKDWWKRVHFRQWDFW        47KHQZK\GRHV(OL]DEHWKKDYHD)UHQFKQDPH", P
     VSRUWV7LWOHGRHVWKDWVSHFLILFDOO\WRIRUVDIHW\        VRUU\,I\RXFRXOGMXVWORRNWKURXJKDQGWHOOPHLI
     SXUSRVHV"                                                      \RXFDQVHHWKHODQJXDJHWKDWVXSSRUWV\RXUODQJXDJHLQ
     $77251(<9(52))2EMHFWLRQ                    SDUDJUDSK
     7+(:,71(66,WKLQNLW VIDLUWRVD\           $<HDK\HDKMXVWRQHPRUHVHFRQG<HDKRND\
     WKDWWKDWLVDLVDFRQFHUQ\HDK                         7KH\JLYH\RXWKLV,WKLQNWKLVZDVQ WWKHEHVW
     %<$77251(<75<21                                             DUWLFOH,WZDVUHIHUULQJWRWKHFRDFKLQVWHDGRIWKH
     4<RXZRXOGQ WVD\WKDW7LWOHWKHUHJXODWLRQV        WHDPPDWHVZLWKWKLVRQH%XWLI\RXZRXOGORRNRQ
     IRU7LWOHWKDWUHJXODWHWKDWGR\RXWKLQNWKRVHDUH         RUPD\EHWKDWSDUDJUDSKLQWKHPLGGOHRIWKH
     XQIDLURUVKRXOGEHGHWHUPLQHGWREHLOOHJDO"                  ILUVWFROXPQ<HDKMXVWDOLWWOHELWORZHU%XWWKH
     $77251(<9(52))2EMHFWLRQ                    ZRUGLQJLQWKLVSDUDJUDSKRQWKHOHIW\HDKLI\RXFDQ
     7+(:,71(665LJKWQR                        ILWWKHZKROHWKLQJLQDJDLQ5LJKW6RSDUWZD\GRZQ
     %<$77251(<75<21                                             LW VMXVWDVNLQJDERXWWRZULWH\RXUFXUUHQWFRDFK
     46ROHW VJREDFNWRWKHVWXG\E\,ZLOOVD\       RUVRPHERG\WKDWVRRQHZRXOGEHMXVWGRHVQ W
     LWZURQJLQ%DODJXHU"                                         FRLQFLGHDWDOOZLWKWKHFRDFK,ZRXOGOLNHWRKDYH


                                                   3DJH                                                         3DJH
      $<HV%DODJXHU                                         YHUVXVP\LGHDOFRDFK6RWKHORZHUUDWLQJRQWKHFRDFK
      4%DODJXHUWKDQN\RX'R\RXVSHDN)UHQFK"            LVMXVWWKDWLVQRWDJRRGWKLQJZKHQ\RX UHJRLQJ
      $1REXWVKHLVRQHRIP\IDYRULWHSHRSOHLQWKH        WKLVLVQRWWKHFRDFKWKDW,ZDQWULJKWRUDOOWKHZD\
      ZRUOG                                                          XSWRWKLVLVP\LGHDOFRDFK6RLWVXSSRUWVWKH
      42KRND\                                              ILQGLQJVWKDWUHODWLRQVKLSVDUHQ WWKDWVWURQJEXWLW
      9,'(2*5$3+(5&RXQVHOKHOSPHRXWKHUH         LVQRWWKHEHVWVWXG\RU\RXNQRZLWVKRXOGQ WKDYH
      ZKLFKH[KLELWQXPEHULVWKDW"                                   EHHQVORWWHGWKHUHEHFDXVHLW VMXVWUHIHUULQJWRWKH
      7+(:,71(660D\EH                           FRDFKLQVWHDGRIWKHDWKOHWHV,I\RXORRNDWWKDW
      $77251(<75<211RWKH%DODJXHU               WDEOHXQGHUQHDWKZKHUHZH UHORRNLQJQRZ7DEOH
     9,'(2*5$3+(5,I\RXFDQWHOOPHWKH           %<$77251(<75<21
     WLWOH,FDQWHOO\RXWKHQXPEHU                               4, PORRNLQJDWLW
     $77251(<75<21, PVRUU\                     $:KRRSVLVWKDWLW8QGHUVDWLVIDFWLRQDQGVR
     9,'(2*5$3+(5,VDLGLI\RXFDQWHOOPH        WKHPLGGOHSDUWRQWKHOHIWDQGWKHERWWRPRQH
     WKHWLWOH,FDQWHOO\RXWKHQXPEHU                           VDWLVIDFWLRQZLWKWKHFRDFK\RXFDQMXVWVHHWKDWWKH
     $77251(<75<21+HUHLWLV,WKLQNLW        PRUH\RXSHUFHLYHDWDVNFOLPDWHWKHPRUH\RXDUH
     LVQXPEHU0RWLYDWLRQDO&OLPDWHDQG*RDO2ULHQWDWLRQ         WKLQNLQJWKLVLVWKHLGHDOFRDFK, GOLNHWRKDYHWKH
     DVSUHGLFWRUVRI3HUFHSWLRQV                                  PRUHUHVSHFW,KDYHIRUWKHFRDFKRUKRZHYHU\RXZDQW
     9,'(2*5$3+(5&RUUHFWWKDWZRXOGEH           WRSXWWKDWLQ\RXUZRUGVDQGWKHPRUH\RXSHUFHLYHDQ
     1XPEHU                                                      HJRFOLPDWHWKHOHVVDQGWKHPRUHRQWKHWDVN
     %<$77251(<75<21                                             RULHQWDWLRQ\RXDUHPRUHOLNHO\WRMXVWVD\WKLVLVD
     4$QGLVWKDWSULQWHGRXWIRU\RX3URIHVVRU)U\"       FRDFK, PJODG,KDYH$QGZLWKWKHHJRRULHQWDWLRQ
     $<HV                                                  LW VMXVWQRWVLJQLILFDQWVRDQ\ZD\LWVXSSRUWV
     4$QGJRLQJEDFNLQWKHUHSRUWOHWPHVHHLI,      WKHUHVXOWVIRUVD\LQJRYHUDOOEXWWKDWZDVQRWWKH
     FDQILQGWKHULJKWSDUDJUDSK+HUHZHJRSDUDJUDSK        EHVWUHIHUHQFHWKHUH,WVKRXOGQ WKDYHEHHQXVHGULJKW


                                                                                        3DJHVWR
                Case: 22-5807
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                                                    3DJH                                                        3DJH
      WKHUH                                                          4<RXEHW6ROHWPHUHGLUHFW\RXUDWWHQWLRQWR
      46RMXVWWRPDNHVXUH,XQGHUVWDQGWKHQWKH            SDUDJUDSK6RLQWKHODVWOHW VVHHWKH
      %DODJXHUUHSRUWGRHVQRWDFWXDOO\VXSSRUWWKHLGHDWKDW         VHQWHQFHWKDWVD\VEHFDXVHWKHVHSRVLWLYHEHQHILWVDUH
      DWKOHWHVKLJKLQHJRRULHQWDWLRQUHSRUWORZHU                   IRVWHUHGLQWDVNLQYROYLQJHQYLURQPHQWDUELWUDU\
      FRPSDQLRQVKLSDQGJUHDWHUFRQIOLFWZLWKWHDPPDWHV              H[FOXVLRQVFDQFDXVHKDUPQRWRQO\WRWKHDWKOHWHVZKR
      ULJKW"                                                          DUHH[FOXGHGEXWDOVRWRWKHRWKHUDWKOHWHVRQWKHWHDP
      $77251(<9(52))2EMHFWLRQ                     &DQ\RXWHOOPHZKDWKDUPVLWFDXVHVWRRWKHUDWKOHWHV
      7+(:,71(665LJKW                             RQWKHWHDP"
      %<$77251(<75<21                                              $,WFRXOGFDXVHKDUPWRDWKOHWHVZKRDUHQ W
     4'R\RXEHOLHYH6PLWKDQG6PDOOGRHV"                  DOORZHGWRKDYHWKHLUWKHLUIULHQGVSDUWLFLSDWH
     $<HDK<RXNQRZDOLWWOHZKLOHDJRZKHQZHZHUH      WKHLUIULHQGVZKRVKRXOGEHRQWKHWHDPULJKWLI
     ORRNLQJDWWKDWSDVVDJHLWMXVWLQFOXGHGOLNHWHQ             %3-ZDVQRWDOORZHGWRSDUWLFLSDWHDQGKHUIULHQGV
     YDULDEOHVWKDWZHUHFRJQLWLYHDQ[LHW\DQGZRUU\DQG            UHDOO\ZHUHORRNLQJIRUZDUGWRWKDWEHLQJDSDUWRIWKH
     FRQFHQWUDWLRQGLVUXSWLRQDQG,GRQ WNQRZILYHRWKHU          VSRUWULJKW7KHVSRUWH[SHULHQFHLVWRVKDUHWKDW
     WKLQJVDORWRIZD\VWRPHDVXUHVWUHVV$QGVRDFURVV        WRJHWKHU7KDWFRXOGEHKDUPIXO,WLVDOVRMXVW\RX
     WKHVHVWXGLHVDORWRIZD\VWKDWWKHVHUHODWLRQVKLSV           NQRZLWFRXOGEHDPLVVHGRSSRUWXQLW\WRIRUNLGV
     ZLWKFRDFKHVDQGDWKOHWHVEXWLW VQRWOLNHHYHU\RQHLV       WROHDUQDQGWRJURZDQGWREHFRPHPRUHIDPLOLDUDQGWR
     XVLQJRQHXQLIRUPPHDVXUH<HDKVRWKHUH VSUREDEO\          EHFRPHPRUHDFFHSWLQJULJKW
     PRUHVWXGLHVVKRZLQJWKDW\RXKDYHEHWWHUUHODWLRQVKLSV        46RLIWKDW VWKHFDVHFRXOGQ WWKHFRDFKMXVW
     ZKHQSHRSOHSHUFHLYHDWDVNLQYROYLQJFOLPDWHRUKDYHD        VD\WRWKHP,NQRZ\RXZRXOGOLNHWRKDYH\RXUIULHQGRQ
     WDVNRULHQWDWLRQDQGWKHQLW VNLQGRIDPL[RQWKHHJR        WKHWHDPEXWWKDW VQRWWKHZD\LWZRUNVDQGKHOSWKHP
     VLGH6RVRPHWLPHVWKDWFRPHVRXWDQGVRPHWLPHVLW            ZRUNWKURXJKWKDWMXVWDV\RXWROGPHWKHFRDFKFDQ
     GRHVQ W                                                       FRXQVHONLGVZKRGLVDJUHHZLWKWKHGHFLVLRQVVRPH
     4'RQ WVWXGLHVVKRZWKDWWKHEHVWPL[LVDKLJK        RWKHUGHFLVLRQV"


                                                    3DJH                                                        3DJH
      HJRRULHQWDWLRQDQGDKLJKWDVNRULHQWDWLRQ"                    $77251(<9(52))2EMHFWLRQ
      $77251(<9(52))2EMHFWLRQ                     7+(:,71(662ND\
      7+(:,71(661R,ZRXOGQ WDJUHHZLWK           'HILQLWHO\DFRDFKFRXOGGRWKDWEXW
      WKDWWKDWPL[HVLW VQRWQHFHVVDULO\WKDWWKDWLV          WKDWGRHVQ WFKDQJHWKHIDFWWKDWWKDWLWFRXOGEH
      KDUPIXOULJKWKDYLQJDKLJKWDVNDQGKLJKHJR%XWWR        KDUPIXOLQWKHVHQVHWKDWNQRZLQJWKDWRWKHUSHRSOH\RX
      VD\LWLVWKHEHVWQR,ZRXOGQ WVD\WKDW                    FDUHDERXWDQGHYDOXDWHDUHEHLQJH[FOXGHGLQDQXQIDLU
      %<$77251(<75<21                                              ZD\
      4,V6PLWKDQG6PDOOFLWHGLQWKHELEOLRJUDSK\"          %<$77251(<75<21
      $2QHRIWKHLUDUWLFOHVE\*URVVEDULVEXWWKDW         4$QGWKDWWHUPWKHXQIDLUZD\LVVRPHWKLQJWKDW
     LVORRNLQJPRUHDWWKHRULHQWDWLRQVLQFOLPDWH7KDW          \RXVDLGWKDW\RXDUHQRWDQH[SHUWRQZKDW VIDLUDQG
     RQH,ORVWWKDWSDJH,ZDVMXVWWU\LQJWRVHHLI            ZKDW VXQIDLUULJKW"
     WKHUHZDVDQRWKHURQH7KHUHLVRQHE\&XPPLQJV        $5LJKW,VDLGLW VQRWDSULPDU\DUHDRIVWXG\
     ,V:LQQLQJ(YHU\WKLQJWKH&RQWULEXWLRQVRI&OLPDWH            ULJKW
     DQG                                                       4<HDK:HOO,ZDQWWRDVN\RXDTXHVWLRQ,
     4$QGWKDWLVJRLQJWRWHOOPHWKDWLVJRLQJ        WKLQN\RX UHUHIHUULQJWRWKH3ODLQWLIIDV3%-ZLWK
     WRVXSSRUWWKHVWDWHPHQWWKDWHJRRULHQWDWLRQFUHDWHV          ILUVWOHWWHUEHLQJ3
     PRUHFRQIOLFW"                                                 $P,KHDULQJ\RXULJKW"
     $1RQR, PQRWVXUH,WKLQN, GKDYHWRVWHS      $,GLGQ WWKLQNVR%XWLWGRHVEXW%3-
     EDFNDQGUHYLHZWRWHOO\RXIRUVXUHZKDWWKRVHDUHEXW       6RUU\
     ,FDQFHUWDLQO\GRWKDW                                       4$OOULJKW,ZDQWWRPDNHVXUHZH UHDOOVD\LQJ
     4$OOULJKW                                            WKHFRUUHFWLQLWLDOV
     :HOOOHW VPRYHRQ,GRQ WZDQWWRNHHS\RX        9,'(2*5$3+(5([FXVHPH&RXQVHO,I,
     KHUHDQ\ORQJHUWKDQZHQHHGWREHKHUH                       FRXOGLQWHUUXSWIRUDVHFRQG,I,FRXOGMXVWDVNWKH
     $7KDQN\RX,DSSUHFLDWHWKDW                        ZLWQHVVWRNLQGRIVLWXS<RX UHVWDUWLQJWRVORXFK


                                                                                        3DJHVWR
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                                                   3DJH                                                         3DJH
      GRZQDQG\RXUKHDGLVJHWWLQJFXWRIILQWKHYLGHR             7+(:,71(665LJKW,WKLQNLWFRPHV
      7KDQN\RX                                                      GRZQWRDPDWWHURIDGPLQLVWUDWRUVLQVSRUWOHDJXHVDQG
      7+(:,71(66$OOULJKW6RUU\DERXW            KDYLQJDGHVLUHWRSURYLGHFRDFKLQJHGXFDWLRQWU\WR
      WKDW                                                           KHOSFRDFKHVXQGHUVWDQGWKLVUHVHDUFKDQGWRKHOSIRVWHU
      %<$77251(<75<21                                              FDULQJDQGWDVNLQYROYLQJFOLPDWH
      4<RX UHQRWVD\LQJWKDWDQ\:HVW9LUJLQLDVSRUWV        %<$77251(<75<21
      RUJDQL]DWLRQRUHGXFDWLRQDOHGXFDWLRQKDVDGRSWHGDQ            4$UH\RXVXJJHVWLQJWKHUHVKRXOGEHDVWDWHZLGH
      HJRSURPRWLQJSKLORVRSK\DUH\RX"                              RUQDWLRQZLGHUXOHRQWKLV"
      $, PQRW                                               $1R
     4$QG\RXGRQ WNQRZRIDQ\FRDFKHVLQ:HVW             $77251(<9(52))2EMHFWLRQ
     9LUJLQLDWKDWKDYHHLWKHUULJKW"                              7+(:,71(661R, PQRWVXJJHVWLQJ
     $77251(<9(52))2EMHFWLRQ                    , PVRUU\-XOLH
     7+(:,71(661R                               $77251(<9(52))7KDWLVTXLWHRND\*R
     %<$77251(<75<21                                             DKHDG
     4$QGDWHDPFDQEXLOGDWDVNRULHQWHGFOLPDWH          7+(:,71(661R, PQRWVXJJHVWLQJ
     ZLWKVSRUWVVHSDUDWHGE\VH[ULJKW"                           WKDWDOWKRXJK,ZRXOGMXVWQRWHWKDW&DQDGDKDVDEDVLF
     $7KDW VULJKW                                         FRDFKLQJHGXFDWLRQIRUDQ\RQHZKRLVJRLQJWRZRUNZLWK
     4'R\RXNQRZLIIHPDOHWHDPVDUHEHWWHUDW             HYHQYHU\\RXQJDWKOHWHVULJKWDQGWKHQWKH\KDYH
     EXLOGLQJWDVNRULHQWHGFOLPDWHVWKDQER\VWHDPVRUYLFH        WKHVHGLIIHUHQWOHYHOVWKDWSHRSOHQHHGWRJRWKURXJK
     YHUVD"                                                         WKLVFRDFKLQJHGXFDWLRQEHFDXVHWKH\UHDOO\YDOXHWU\LQJ
     $<HDK,W VSRVVLEOHWREXLOGDVWURQJWDVN           WRKHOSFUHDWHLQFOXVLYHHQYLURQPHQWVWKDWKHOSNLGV
     LQYROYLQJFDULQJFOLPDWHLQERWKWHDPVZLWKPDOHVDQG          IRFXVRQWKHLUHIIRUWDQGLPSURYHPHQWDQGFDQEHVHWXS
     IHPDOHV7KHUHPD\EHDVOLJKWWHQGHQF\DFURVVVRPH          LQDZD\WREULQJRXWWKHEHVWLQDQ\FKLOG
     VWXGLHVZKHUHWKRVHVFRUHVFRPHRXWDOLWWOHELWKLJKHU        %<$77251(<75<21


                                                   3DJH                                                         3DJH
      IRUIHPDOHVWKDQPDOHVEXWLW VQRWFRQVLVWHQWULJKW         46RZKDW\RXVDLGLQ&DQDGDWKH\KDYHWKLVZKR
      EXWIHPDOHVVRPHWLPHVUHDOO\YDOXHWKDWWKRVHVRFLDO        KDVWKLV"
      DVSHFWVRIWKHVSRUW1RWWKDWPDOHVGRQ WEXWPD\EHD        $,EHOLHYHLWNLQGRIWULFNOHGGRZQIURPWKH
      VOLJKWO\KLJKHULIZH UHORRNLQJDWWKRVHEHOO              JRYHUQPHQWWKDWWKH\MXVWVDLG\RXNQRZLQWKH
      FXUYHVDJDLQWKH\ZRXOGEHUHDOO\FORVHEXWLW V              6WDWHVLQWKH86RXUPRGHOLVLI\RXKDYHD
      SRVVLEOHWKDWIRULIZHDUHORRNLQJDWJX\VWKH\            KHDUWEHDWULJKWDQG\RX UHZLOOLQJOHW VSXW\RXZLWK
      PLJKWFRPHRXWDOLWWOHELWKLJKHURQWKHHJRDVSHFWVRI        DWHDPEHFDXVHZHMXVWZDQWZDQWWRKDYHDVPDQ\
      WKHFOLPDWHDQGIHPDOHVWKHWDVN                               WHDPVDQGQHLJKERUKRRGVZKHUHNLGVFDQSDUWLFLSDWH%XW
      %<$77251(<75<21                                              LQ&DQDGDWKH\MXVWVHWWKHEDUKLJKHUDQGWKH\VDLGLI
     4&DQZHORRNDWSDUDJUDSKRI\RXUUHSRUW           \RX UHJRLQJWRZRUNZLWKNLGVZHZDQW\RXWRKDYHVRPH
     SOHDVH"                                                        EDVLFFRDFKLQJHGXFDWLRQ$QGVRLW VMXVWDUXOH
     $<HV                                                  DFURVVWKHLUVRUWRIVSRUWLQJJRYHUQPHQW
     46R\RXVD\WKHFOLPDWHRI\RXWKVSRUWVPXVWEH        %<$77251(<75<21
     JHDUHGWRLQFOXGHDOOSDUWLFLSDQWVVRWKDWWHDPVDUH          4<RXVD\VSRUWLQJJRYHUQPHQW$UH\RXVD\LQJWKH
     PRUHOLNHO\WRKHOSHYHU\DWKOHWHPD[LPL]HWKHLU               QDWLRQDOJRYHUQPHQWLVGRLQJWKLVRUVRPHVSRUWLQJ
     SRWHQWLDO1RZWKHZRUGPXVWLVDPDQGDWRU\ZRUG            RUJDQL]DWLRQ",GRQ WNQRZPXFKDQ\WKLQJDERXW
     ULJKW"                                                         &DQDGDDVIDUDVWKDWLVFRQFHUQHG
     $<HDK,WKLQNLWPHDQVPXVWLQWKHVHQVHWKDW        $<HDK<RXNQRZ,ZRXOGKDYHWRORRNDWWKDW
     WKDW VRXUDLPWRPD[LPL]HWKHSRWHQWLDORIHYHU\             PRUHFORVHO\'HILQLWHO\WKHLUVSRUWLQJRUJDQL]DWLRQV
     DWKOHWH,IWKDW VRXUDLPWKHQLWLVSUHWW\NH\WR          EXW, PQRWVXUHWKDWGRHVQ WWULFNOHGRZQIURPVRPHRI
     FUHDWLQJWKDWFOLPDWH                                         WKHLUJRYHUQPHQWUXOHVEXW,ZRQ WVD\WKDWIRUWKH
     46RZKRZRXOGEHWKHZKDWHQWLW\ZRXOGEHWKH      UHFRUG)RUWKHUHFRUG, OOMXVWVD\WKDWWKH\GR
     RQHWRHQIRUFHWKDW"                                           UHTXLUHDQ\XVHIRUDFRDFKWRKDYHDEDVLFLQWURGXFWLRQ
     $77251(<9(52))2EMHFWLRQ                    WRFRDFKLQJHGXFDWLRQZKLFKZRXOGLQFOXGHVRPHRIWKHVH


                                                                                        3DJHVWR
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                                                   3DJH                                                         3DJH
      FRQFHSWV                                                       $3UREDEO\VR\HV
      4%XW\RX UHQRWDGYRFDWLQJWKDWIRUWKH8QLWHG          46RJRLQJEDFNWRFXWWLQJNLGVRIIWHDPVWKDW V
      6WDWHVDUH\RX"                                                DWKLQJZKHUHNLGVLIWKH\GRQ WSHUIRUPDWDFHUWDLQ
      $1R                                                    OHYHOWKH\ UHFXWIURPWKHWHDPRUQHYHUDOORZHGRQWR
      42ND\                                                  WKHWHDPULJKW"
      /HW VVHHVRP\QH[WTXHVWLRQLV\RXVD\VR           $5LJKW
      WKDWWHDPVDUHPRUHOLNHO\WRKHOSHYHU\DWKOHWH            4$QGVRLIVRPHERG\GRHVEHWWHUWKDQ\RXRQWKDW
      , PVRUU\VWULNHWKDW                                         WHDPWKHQ\RXDUHDWDGLVDGYDQWDJHULJKW"
      6WLOOWKDWILUVWFODXVH7KHFOLPDWHRI\RXWK        $77251(<9(52))2EMHFWLRQ
     VSRUWPXVWEHJHDUHGWRLQFOXGHDOOSDUWLFLSDQWV6R          %<$77251(<75<21
     ZKRJHWVWRSDUWLFLSDWH":KHQ\RXVD\DOOSDUWLFLSDQWV        4,I\RXDUHFXWIURPWKHWHDP"
     ZKDWGR\RXPHDQE\WKDW"                                      $<HV
     $+RSHIXOO\ZHKDYHDQDYHQXHIRUDOO\RXQJ            41RZ\RXVD\IURPDQHGXFDWLRQDOVWDQGSRLQWLW
     SHRSOHWRJDLQVRPHH[SRVXUHWR\RXWKVSRUWVRDOO            LVRSWLPDOWRHQFRXUDJHDOODWKOHWHVWRGRWKHEHVWWKH\
     DWKOHWHVZKRZDQWWR                                          FDQDQGWRKHOSDOODWKOHWHVHQMR\WKHVSRUWWKH\ORYH
     42ND\                                                 ULJKW"
     6RLQVRPHVSRUWVDQGKLJKVFKRRODWKOHWHVDQG        $8KKXK \HV <HV
     LQFROOHJH\RXKDYHWU\RXWV$QGLI\RXGRQ WPDNHWKH        46RZKHQ\RXVD\IURPDQHGXFDWLRQDOSHUVSHFWLYH
     WU\RXWV\RXGRQ WPDNHWKHWHDP                              OHWPHMXVWDVN\RXGR\RXIHHOOLNH\RXDUHDQ
     5LJKW"                                                H[SHUWRQHGXFDWLRQRUWHDFKLQJPHWKRGRORJ\"
     $7KDW VULJKW                                         $,WGHSHQGV:KHQ,VD\DQHGXFDWLRQDO
     4$QGGR\RXWKLQNWKDW VRND\RUGR\RXWKLQN          SHUVSHFWLYH,PHDQIURPWKHVSRUWVSV\FKRORJ\
     WKDWZHVKRXOGGRDZD\ZLWKWU\RXWVDQGHYHU\ERG\VKRXOG       OLWHUDWXUH$QG\RXNQRZLW VQRWZKDW,VWXG\LQ
     EHRQWKHWHDPLIWKH\ZDQWWREHRQWKHWHDP"                 VRUU\, PMXVWJRLQJWRWKLQNIRUDVHFRQG


                                                   3DJH                                                         3DJH
      $77251(<9(52))2EMHFWLRQ                     47DNH\RXUWLPH,ZDQWWRJHWDQDFFXUDWH
      7+(:,71(66,WKLQNWKHUHLVDORWRI           DQVZHUIURP\RX, PQRWWU\LQJWRIRRO\RXRU
      EHQHILWVWRORRNLQJDWKLJKVFKRROVSRUWVDQGLQFOXGLQJ         DQ\WKLQJ
      DVPDQ\DWKOHWHVDVZHFDQ%XWQR,ZRXOGQ WVD\WKDW        $7KDQN\RX<HDK,WKLQNWKLVLVEXLOGLQJRQ
      , PDJDLQVWDOOHYHU\ZKHUHZHVKRXOGKDYHDQRFXW          DFKLHYHPHQWJRDOSHUVSHFWLYHWKHRU\WKDWMXVWDVZH
      SROLF\%XW,WKLQNLW VYDOXDEOHWRORRNDQGVD\KH\        VKRXOGEHKHOSLQJDOONLGVEHWKHEHVWWKDWWKH\FDQEH
      DUHZHLQFOXGLQJDVPDQ\NLGVDVZHFDQ%HFDXVHWKH           ULJKWDQGLIZH UHQRWGRLQJWKDWWKHQZH UHPRUH
      HYLGHQFHVXSSRUWVWKDWNLGVIHHOPRUHFRQQHFWHGDW              OLNHO\VHWWLQJLWXSWRMXVWIRFXVRQWKRVHNLGVZKRZH
      VFKRRO\RXNQRZWKHLUDWWHQGDQFHLVEHWWHU7KHUH VD        WKLQNDUHJRLQJWREHWKHEHVWDQGWKHKLJKHVW
     ORWSOXVHVZKHQNLGVJHWWKDWRSSRUWXQLW\WR                   DFKLHYHUVEXWWRNHHSWKHIRFXVRQKHOSLQJHYHU\
     SDUWLFLSDWH                                                   DWKOHWHHYHU\VWXGHQWEHWKHEHVWWKDWWKH\FDQEH,
     %<$77251(<75<21                                             WKLQNLVUHDOO\DYDOXDEOHDLP
     4'RQ WVSRUWVVRPHWLPHVWDNHNLGVDZD\IURPWKHLU      4'R\RXNQRZKRZPDQ\VFKRROVLQ:HVW9LUJLQLD
     DFDGHPLFV"                                                     KDYHVSRUWVSURJUDPV"
     $77251(<9(52))2EMHFWLRQ                    $,GRQRW
     7+(:,71(667KH\VRPHWLPHVGRIRUVRPH        4'R\RXKDYHDQ\LGHDRIZKDWSHUFHQWDJHRINLGV
     NLGV                                                          DUHLQDWKOHWLFSURJUDPVLQ:HVW9LUJLQLDVFKRROV"
     %<$77251(<75<21                                             $,GRQ W
     4)RUDORWRINLGVLVQ WLW"                          4'R\RXNQRZDERXWLQDQ\RIWKHXQLYHUVLWLHVLQ
     $, PQRWVXUHZKDWWKHSHUFHQWDJHVDUHEXW\HDK      :HVW9LUJLQLD"
     VRPHNLGVPD\EHOHVVIRFXVHGRQDFDGHPLFV                    $1R,GRQ WNQRZ
     4$QGWKDWLVZK\DORWRIVFKRROVDFWXDOO\KDYH        47DNHDORRNDWSDUDJUDSK5HDGWKDW, P
     UXOHVRQPLQLPXPDFDGHPLFVFRUHVWKDW\RXDUHJHWWLQJLQ       QRWJRLQJWRUHDGLWDOORXWORXGEXW,GRKDYHVRPH
     RUGHUWREHRQDWHDPULJKW"                                  TXHVWLRQVIRU\RXDERXWSDUDJUDSK


                                                                                        3DJHVWR
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                                                   3DJH                                                          3DJH
      $2ND\2ND\                                           ,ORRNDWWKHVSRUWRUJDQL]DWLRQVDFURVVWKLVFRXQWU\
      4$VIDUDV,FDQWHOOWKLVSDUDJUDSKKDVQRWKLQJ       DQGLQWHUQDWLRQDOO\WKDWVSRUWOHDGHUVDUHUHFRJQL]LQJ
      WRGRZLWK+RXVH%LOOGRHVLW"                            WKDWZHZDQWWREDODQFHIDLUQHVVZLWKLQFOXVLRQDQGWKDW
      $77251(<9(52))2EMHFWLRQ                     WKHUHKDVEHHQVXFFHVVLQWKDWDOUHDG\DQGWKDWWKDWLV
      7+(:,71(66,WKLQNLWWDNHVDELJJHU          VRPHWKLQJWKDWZHFDQGRDQGWKDWZHGRQ WKDYHWRMXVW
      SLFWXUHSHUVSHFWLYHRIMXVWWKH\RXWKVSRUWZRUOGDQG          H[FOXGHDOOWUDQVDWKOHWHVIURPSDUWLFLSDWLQJLQVSRUW
      VRZKDW VWUXHIRUSDUHQWVIRUWKLVSDUHQW-LP                %<$77251(<75<21
      7KRPSVRQZKRKDGDFKLOGZKRH[SHULHQFHGVRPXFK               46R\RXKDYHQRWDQVZHUHGP\TXHVWLRQGLUHFWO\
      QHJDWLYH\RXNQRZLQWHUDFWLRQVZKHQKHILUVWVLJQHGXS        ,VWKDWEHFDXVH\RXGRQ WZDQWWRRUEHFDXVH\RXGRQ W
     IRUVSRUWWKDW-LP7KRPSVRQZDVOLNHZRZWKLVLV            IHHOOLNH\RXFDQ"
     FUD]\DQGKHZHQWRQWRVWDUWWKLVRUJDQL]DWLRQWR            $77251(<9(52))2EMHFWLRQ
     SURYLGHFRDFKLQJHGXFDWLRQIRU\RXNQRZIRU               7+(:,71(66,IHHOOLNHLW VPRUH
     FRDFKHV+HKDVPDWHULDOVIRUSDUHQWVIRURIILFLDOV         FRPSOH[WKDQZKDW\RX UHPDSSLQJLWRXW:KHQZHWDON
     EXW\RXNQRZUHDGLQJLWLWPDNHVPHWKLQNLWZRXOGEH        DERXWWUDQVDWKOHWHVDQGWKHLUJHQGHULGHQWLW\DQG
     KHDOWK\IRUDOORIXVWRVWHSEDFNDQGMXVWVD\KH\          ZKHWKHUWKH\PD\EHWUDQVLWLRQLQJDQGDOOWKHVHRWKHU
     OHW VQRWJHWWRRWRRRYHUFUD]\DERXWWKLVULJKW           IDFWRUVLW VMXVWDELJJHUSLFWXUHWKDQVD\LQJDQ\PDOH
     $QGLQWKHFDVHRI%3-ULJKWKRZFRROLIZHFDQOHW          VKRXOGEHDEOHWRGHFLGHDWDQ\PRPHQW,ZDQWWRFRPSHWH
     KHUKDYHWKHH[SHULHQFHRIUXQQLQJFURVVFRXQWU\VFKRRO        DVDIHPDOH1RZHKDYHWRKDYHJXLGHOLQHVLQSODFH
     DQGZRXOGQ WLWEHDVKDPHLIZHMXVWKDGDEODQNHW            WKDWDUHIDLUDQGLQFOXVLYH
     H[FOXVLRQRINLGVEDVHGRQWKHLUJHQGHULGHQWLW\              %<$77251(<75<21
     %<$77251(<75<21                                             46RLIZHMXVWQDUURZHGGRZQWKHVWDWXWHVRPHZKDW
     42ND\                                                 WRLPSO\ZLWK\RXUYLHZVRQWKDWWKHQ\RXWKLQNLW
     %XWZKDWGRHVWKDWKDYHWRGRZLWK+%"           ZRXOGEHRND\WRH[FOXGHVRPHWUDQVJHQGHUV
     $77251(<9(52))2EMHFWLRQ                    WUDQVJHQGHUJLUOVIURPFRPSHWLQJRQJLUOVWHDPVEXWQRW


                                                   3DJH                                                          3DJH
      7+(:,71(66<RXNQRZLW VSUREDEO\            DOO"
      MXVWDPDWWHURIKRZZHLQWHUSUHWWKLVEXWLIZHLI        $77251(<9(52))2EMHFWLRQ
      ZHKDYHOHJLVODWRUVMXVWPDNLQJDEODQNHWGHFLVLRQWKDW         %<$77251(<75<21
      DFURVVRXUVWDWHQRFKLOGLQVHFRQGDU\HGXFDWLRQQR            4,VWKDWULJKW"
      DWKOHWHVLQXQLYHUVLWLHVZKRDUHWUDQVDWKOHWHVFDQ              $5LJKW,WKLQNWKDW VZKDW VKDSSHQLQJULJKW
      SDUWLFLSDWHLWIHHOVOLNHZHDUHUHDOO\GRLQJD                QRZULJKWWKHUHDUHOLNHFULWHULDZLWKLQWKH1&$$IRU
      GLVDGYDQWDJHWRWKRVHDWKOHWHVDQGQRWDOORZLQJWKHPWR         H[DPSOHDQGDWKOHWHVKDYHPHHWWKDWFULWHULDWR
      SDUWLFLSDWHDQGUHDSWKHEHQHILWV$QG,WKLQN-LP             SDUWLFLSDWHDVDWUDQVJHQGHUIHPDOH
      7KRPSVRQKHUHLVMXVWVD\LQJWKHUHLVMXVWVRPDQ\              4$QGVRDVWDWXWHWKDWGLGWKDW\RXZRXOGILQG
     EHQHILWVDQGZKDWLIZHZHUHDOOXQLWHGDQGVD\LQJKRZ         RND\"
     FDQZHFRPHLQDQGMXVWPDNHVSRUWEHDOOLWFDQEH           $77251(<9(52))2EMHFWLRQ
     3DUHQWVSOD\DELJUROHLQWKDWEXWWKH\ UHGHILQLWHO\        7+(:,71(66,EHOLHYHVSRUW
     QRWWKHRQO\SDUW\WKDWGRHV                                  RUJDQL]DWLRQVDQGOHDGHUVDUHJRLQJWREHDEOHWRILQGD
     %<$77251(<75<21                                             ZD\WREDODQFHLQFOXVLRQDQGIDLUQHVVDQGZKDWWKDWPD\
     4,VLW\RXUSRVLWLRQWKHQWKDWDFKLOGRU\RXWK       ORRNOLNHDFURVVVSRUWVRUGLIIHUHQWOHYHOV\HDK, P
     D\RXQJDGXOWVKRXOGEHDOORZHGWRSDUWLFLSDWHRQ              QRWDQH[SHUWRQWKDWDQGFRXOGQ WRXWOLQHDOOWKDWIRU
     ZKDWHYHUWHDPWKDWFKLOGLGHQWLILHVDVEHLQJDJHQGHU          \RXULJKWQRZ,FRXOGMXVWVD\LWPDNHVPHVDGZKHQ
     DVVRFLDWHGZLWKWKDWWHDP"7KDWZDVQ WYHU\DUWIXOO\          DWKOHWHVDUHH[FOXGHGDQGQRWJLYHQDFKDQFHWRUHDSDOO
     VDLGVROHWPHWU\DJDLQ,VLW\RXUSRVLWLRQWKDWDQ\       WKHVHDPD]LQJEHQHILWVIURPEHLQJDSDUWRIVSRUW
     FKLOGWKDWLGHQWLILHVDVDJLUOVKRXOGEHDOORZHGWR           %<$77251(<75<21
     SDUWLFLSDWHRQDJLUOVWHDPRUZRPHQ VWHDPDVWKHFDVH        4,KHDU\RXEXW,VWLOOZDQWWRNQRZLI\RX
     PD\EH"                                                        EHOLHYHWKDWWKHUH VDSODFHIRUWKH6WDWHWRSDVVODZV
     $77251(<9(52))2EMHFWLRQ                    WRUHJXODWHWKDW"
     7+(:,71(66,W VP\SRVLWLRQWKDWZKHQ        $77251(<9(52))2EMHFWLRQ


                                                                                         3DJHVWR
                Case: 22-5807
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                                                   3DJH                                                        3DJH
      7+(:,71(66<HDK,GRQ WWKLQNWKH            \RXVRPHTXHVWLRQVDERXW/LD7KRPDVGLGQ W\RX"
      6WDWHOHJLVODWRUVLQP\YLHZDUHWKHEHVWSRVLWLRQ,          $,GLGQ WNQRZZKDWWRH[SHFWKRQHVWO\
      IHHOOLNHWKHVSRUWRUJDQL]DWLRQVDQGVSRUWOHDGHUVDQG         $77251(<9(52))2EMHFWLRQ
      SHRSOHUHDOO\LQYHVWHGDQGNQRZOHGJHDEOHDQGLQYROYHGLQ        7+(:,71(66,GLGQ WNQRZZKDWWR
      WKHVSRUWVDWGLIIHUHQWOHYHOVVKRXOGEHPDNLQJWKHVH           H[SHFW
      FDOOV                                                          %<$77251(<75<21
      %<$77251(<75<21                                              42IFRXUVHWKHZKROHLVVXHZLWK/LD7KRPDVKDV
      46R\RXGRQ WEHOLHYHWKDWWKH6WDWHVKRXOGSDVV        EHHQLQWKHQHZVDORWDQGVR,ZDQWWRDVN\RXDERXW
      DQ\ODZZKDWVRHYHUUHJXODWLQJSDUWLFLSDWLRQRI                  WKLVLVDQDUWLFOHLQ)R[1HZV,WVD\V3HQQ
     WUDQVJHQGHUJLUOVLQJLUOVVSRUWV"                             6ZLPPHU6ODPV6FKRRO V+DQGOLQJRI/LD7KRPDV6DJD
     $77251(<9(52))2EMHFWLRQ                    7KH\'RQ W$FWXDOO\&DUHDERXW:RPHQDW$OO6RKDYH
     7+(:,71(66<HDK, PQRWVSHDNLQJWR         \RXVHHQWKLVDUWLFOH"
     HYHU\SRVVLEOHODZWKDWFRXOGHYHUEHLQYHQWHGEXWZLWK       $1R
     UHJDUGWRWKLV+RXVH%LOOULJKW,WKLQNLW V                 4%XW\RXDUHDZDUHRIWKH/LD7KRPDVZKDW,ZLOO
     XQIRUWXQDWHWRKDYHMXVWDEODQNHWH[FOXVLRQIRU               FDOOFRQWURYHUV\ULJKW"
     WUDQVDWKOHWHVIRUWUDQVIHPDOHV                               $<HV
     %<$77251(<75<21                                             46RWKHILUVWSDUDJUDSKVD\VDVZLPPHURQ
     4)DLUHQRXJK:KDWDERXWPD\EHDZHOOOHW        8QLYHUVLW\RI3HQQV\OYDQLD:RPHQ VWHDPVD\VVKHIHHOV
     PHMXVWDVNWKLVTXHVWLRQ:KHQNLGVDUHFRPSHWLQJLV        WKHVFKRRO VGHFLVLRQWRDOORZWUDQVJHQGHUVZLPPHU/LD
     LWWKHLULGHQWLW\WKDW VFRPSHWLQJRULVLWWKHLUERG\         7KRPDVWRFRPSHWHKDVFUHDWHGDQXQIDLUEDODQFHZLWKLQD
     WKDW VFRPSHWLQJ"                                              VSRUWWKDWSULRULWL]HV7KRPDV VULJKWVRYHUWKDWRI
     $77251(<9(52))2EMHFWLRQ                    ELRORJLFDOIHPDOHVWXGHQWDWKOHWHV$VWXGHQWZKRVSRNH
     7+(:,71(66, PVRUU\,ZRXOGQ WHYHQ       WR)R[1HZ'LJLWDORQWKHFRQGLWLRQRIDQRQ\PLW\RXWRI
     NQRZZKHUHWREHJLQWRDGGUHVVWKDWTXHVWLRQRUZKDW           IHDURIUHWULEXWLRQVDLGVKHZDVKRSHIXODIWHUOHDUQLQJ


                                                   3DJH                                                        3DJH
      HYHQ                                                       WKH1&$$ VGHFLVLRQODVWZHHNWRXSGDWHLWVSROLFLHVRI
      %<$77251(<75<21                                              DOORZLQJWUDQVJHQGHUJLUOVWRFRPSHWHEDVHGRQKRUPRQH
      4/HWPHVHH\RX UHQRWDQH[SHUWRQSXEHUW\            OHYHOV$QGWKHQVNLSSLQJGRZQLWVD\VVWXIIOLNHWKDW
      EORFNHUVWKHUDS\IRUER\VRU\RXQJPHQZKRZDQWWREHRQ        LW VQRWMXVWWKHGLIIHUHQFHEHWZHHQWZRJLUOVDQGKRZ
      WKHJLUOVWHDPVULJKW"                                         RQHPD\KDYHVOLJKWO\ODUJHUOXQJVWKDWJLYHVWKHPD
      $,DPQRW                                              VOLJKWDGYDQWDJH7KHVHDUHPRQXPHQWDODGYDQWDJHVWKDW
      4$QG\RX UHQRWDQH[SHUWRQWHVWRVWHURQH               ELRORJLFDOPDOHVMXVWGHYHORSWKURXJKSXEHUW\DQGLW V
      VXSSUHVVLRQIRUER\VRU\RXQJPHQZKRZDQWHGWREHRQD         QRWVRPHWKLQJWKDWD\HDURIKRUPRQHWUHDWPHQWVLQ
      JLUOVWHDPULJKW"                                              EUDFNHWVFDQVXSSUHVVEHFDXVHWKH\VWLOOKDYHDOOWKH
     $7KDWLVFRUUHFW                                      PXVFOHPDVVWKDWWKH\KDGIRUWKHODVW\HDUVFORVHG
     4$QG\RXDUHQRWDQH[SHUWRQKRUPRQHWKHUDS\IRU      TXRWH'R\RXEHOLHYHWKDWWKLVVZLPPHULVMXVWLILHGLQ
     ER\VRU\RXQJPHQZKRZDQWWRFRPSHWHRQJLUOVWHDPV          KHUIHHOLQJVDERXWWKLVEHLQJXQIDLU"
     ULJKW"                                                         $77251(<9(52))2EMHFWLRQ
     $7KDW VFRUUHFW                                       7+(:,71(66,EHOLHYHWKLVVZLPPHUKDV
     4/HW VWDNHDORRNDW([KLELW                      WKHULJKWWRKHURSLQLRQIRUVXUH
     $77251(<75<21-DNHLI\RXFRXOGEULQJ       %<$77251(<75<21
     WKDWXS([FXVHPH([KLELW,EHJ\RXUSDUGRQ,         4'R\RXDJUHHWKDWLWZDVXQIDLUIRU/LD7KRPDV
     KDYHWRUHODEHOVRPHRIWKHVH                                 WRFRPSHWHZLWKWKHJLUOVRQWKHWHDP"
                                       $77251(<9(52))2EMHFWLRQ
      :KHUHXSRQ([KLELW$UWLFOHRQ/LD           7+(:,71(667KH1&$$KDVVHWWKHVH
     7KRPDVZDVPDUNHGIRULGHQWLILFDWLRQ         VWDQGDUGVLQSODFHDQG/LD7KRPDVIROORZHGHYHU\WKLQJ
                                      VKHKDVIROORZHGWKHUXOHVDQGVRLW VUHDOO\
     %<$77251(<75<21                                             XQIRUWXQDWHWRVHHKRZPXFKKDWHDQGODFNRIUHVSHFWDQG
     46R, PVXUH\RXH[SHFWHGWKDW,ZDVJRLQJWRDVN      ODFNRINLQGQHVVKDVEHHQWKURZQKHUZD\,W VMXVW


                                                                                        3DJHVWR
                Case: 22-5807
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                                                   3DJH                                                         3DJH
      UHDOO\KDUGVWXII,XQGHUVWDQGWKDWDWKOHWHVWKLV         $77251(<9(52))2EMHFWLRQ
      LVQHZDQG,WKLQNHDFKVSRUWZLOOEHMXVWORRNLQJDW           7+(:,71(66, GVD\,MXVWUHFRJQL]H
      WKHFULWHULDWKH\XVHDQGVR\RXNQRZWKH\PD\WZHDN          WKDW\RX UHUHDOO\IUXVWUDWHGZLWKWKLVDQG\RXGRQ W
      VRPHWKLQJVDORQJWKHZD\%XW,GRQ WWKLQNZHFDQ            DJUHHZLWKLWDQGWKDWZHZHOO,WKLQN\RXNQRZ
      WDNHLWRXWRQ/LD7KRPDVZKRKDVGRQHHYHU\WKLQJWKDW          ZKHQVWXIILVQHZDQGZHGRQ WKDYHDORWRIH[SHULHQFH
      KDVEHHQDVNHGRIKHU                                          RUH[SRVXUHWRLW\RXNQRZWKDWLVUHDOO\KDUG,
      %<$77251(<75<21                                              MXVWUHIOHFWEDFNWRP\ILUVWVHPHVWHUDWFROOHJHDQG,
      4,VWKHUHDQ\WKLQJWKDW\RXDUHDZDUHRIWKLV       ZDVMXVWKDYLQJOXQFKDWDORQJWDEOHZLWKORWVRI
      VZLPPHUGRHVQ WVD\,KDWH/LD7KRPDV<RXMXVWVWDUWHG        ZRPHQDQGP\URRPPDWHWROGPHDIWHUZDUGVWKDWHYHU\
     RXWWDONLQJDERXWKDWH:KHUHGR\RXJHWWKDWIURP"           SHUVRQWKDWZHKDGOXQFKZLWKZKLFKZDVDORWWKDW
     $77251(<9(52))2EMHFWLRQ                    WKH\ZHUHDOOJD\$QG,KDGQRLGHDQHYHU,JUHZ
     7+(:,71(66)URPHYHU\WKLQJFRPLQJIURP       XSLQ7H[DVQHYHUWDONHGWRDQ\ERG\QHYHUNQHZDQ\ERG\
     VRFLDOPHGLD$QGVRVKHIHDUVUHWULEXWLRQDQGZDQWVWR       WKDW,NQHZZDVJD\ZDVSUREDEO\MXVWQDLYH
     VWD\DQRQ\PRXV/LD7KRPDV,IHHOKDVDORWRIFRXUDJH        $QGVRGRZQWKHURDGQRZVRPHSHRSOH
     WRSXWKHUVHOIRXWWKHUHNQRZLQJWKDWWKHUHLVJRLQJWR        WKDW, PFORVHVWWRDQGORYHLQWKHZRUOGDUHJD\DQGLW
     EHDORWRISHRSOHXQKDSS\DQGDORWRISXVKEDFNDQG          LVQRWDQ\WKLQJWKDW,JLYHDQ\WKRXJKWWR,W VOLNH
     \RXNQRZNLQGRIFRXSOHRIWKLQJVWKDWVKHVD\VLVMXVW       \RXNQRZFUD]\WKDWLVZKDWKDSSHQVRYHUWLPH$QG,
     UHIHUULQJWREHZKRVKHLVUHDG\WRFRPSHWH$QGVR          VHHWKHVDPHWKLQJKDSSHQLQJZLWKWUDQVJHQGHUDWKOHWHV
     , PDFNQRZOHGJLQJWKLVLVDUHDOO\GLIILFXOWVLWXDWLRQ        :H UHMXVWJRLQJWRZKRZRXOGZDQWWRKDYHWKH
     ULJKWIRUVZLPPHUVIRUKHUWHDPPDWHVEXW,WKLQNLQ         FRXUDJHWRFRPHRXWDQGMXVWSXW\RXUOLYHVRXWWKHUH
     WKLVFDVHZHKDYHWRZDLWWRVHHZKDWWKH1&$$DQGZKDW        DQG\RXUIDPLO\DQGGRHYHU\WKLQJWKDWWKH\KDYHWRGR
     WKH86$6ZLPJURXSGHFLGHVWRGRDQGZKDWWKH\GHFLGHLV       WRRDQGVR,WKLQNZH OODOOMXVWJURZDQGZH OOOHDUQ
     IDLU$QGWKH\KDYHRQJRLQJVWXGLHVDERXWKRZWREH           PRUHDERXWZKDWWKLVH[SHULHQFHLVDQGZH OOEHDEOHWR
     LQFOXVLYHDQG\HWIDLUDQG, PFRQILGHQWWKDWZHFDQ          VHHULJKWWKDWKHUHLVMXVWDQRWKHUDWKOHWHOLNHPH


                                                   3DJH                                                         3DJH
      NHHSSXUVXLQJWKDWDQGWKHUHPD\EHDOHDUQLQJFXUYHIRU        :HKDYHPRUHLQFRPPRQWKDQZHGRQ W$QG,WKLQNRYHU
      XVULJKWRULWPD\EHWKDWWKLVLVGHWHUPLQHGZLWK            WLPHDORWRIYLHZVZLOOFKDQJHDQGZH OOMXVWNHHS
      GDWDRYHUWLPHWKDWWKLVLVH[DFWO\ZKDWWKHFULWHULD           ZRUNLQJRQWU\LQJWREHDVIDLUDVZHFDQRQZKDWWKH
      QHHGVWREH                                                    FULWHULDVKRXOGEH%XWZLWKWKLVDWKOHWH,ZRXOGVD\
      %<$77251(<75<21                                              QRWKLQJFKDQJHVIRU\RX:KDW\RXDUHWU\LQJWRGRLV
      46ROHW VWXUQWRWKHWKLUGSDJHXQGHUQHDWKWKDW        EHWKHDEVROXWHYHU\EHVWWKDW\RXFDQEHULJKWDQGVR
      SLFWXUHLWVD\VNHHSJRLQJGRZQ, PVRUU\0RUH         OHW VNHHSZRUNLQJKDUGOHW VNHHSVHHLQJZKDW\RXFDQ
      SOHDVHEHORZWKHQH[WSLFWXUH7KHUHZHJR$QGULJKW        GR,QVZLPPLQJWKDW VDQLFHVSRUWWRMXVWEHDEOHWR
      VRWKHSDUDJUDSKLWVD\VWKH\DUHMXVWSURYLQJ            VWD\IRFXVHGRQ\RXUWLPHDQG\RXUSHUIRUPDQFHDQG
     RQFHDJDLQWKDWWKH\GRQ WDFWXDOO\FDUHDERXWZRPHQ          SURYLQJ\RXUWHFKQLTXH
     DWKOHWHVWKHVZLPPHUVDLGRIWKH8QLYHUVLW\RI                %<$77251(<75<21
     3HQQV\OYDQLD7KH\VDLGWKH\FDUHDQGWKDWWKH\ UHKHUH       4$QGVR\RXDUHVD\LQJWKDWWKLVJLUOVKRXOGEHD
     IRURXUHPRWLRQVEXWZK\GRZHKDYHWREHJUDFLRXV            JUDFLRXVORVHUSHULRGULJKW"
     ORVHUV":KRDUH\RX\RXWRWHOOPHWKDW,VKRXOGQ W           $77251(<9(52))2EMHFWLRQ
     ZDQWWRZLQEHFDXVH,GRZDQWWRZLQ, PVZLPPLQJ           7+(:,71(661R, PVD\LQJLIWKDW
     , PGHGLFDWLQJPRUHWKDQKRXUVDZHHNWRWKHVSRUW         VXJJHVWVWKDWHYHU\WUDQVJHQGHUIHPDOHWKDWHYHU
     $QGREYLRXVO\,ZDQWWRZLQ<RXFDQ WMXVWWHOOPH           FRPSHWHVLQVSRUWVLVJRLQJWREHHYHU\IHPDOHULJKW
     WKDW,VKRXOGEHKDSS\ZLWKVHFRQGSODFH, PQRW$QG       DQGWKDW VMXVWFUD]\VRDQG\RXNQRZ, PQRW
     WKHVHSHRSOHLQ3HQQ VDGPLQLVWUDWLYHGHSDUWPHQWZKR           IROORZLQJLWWKDWFORVHO\EXW/LD7KRPDVKDVORVWUDFHV
     MXVWWKLQNWKDWZRPHQVKRXOGMXVWUROORYHULW V              DVZHOO6RMXVWWRVD\WKDWVKHLVKHUH
     GLVWXUELQJDQGLW VUHPLQLVFHQWRIWKHVZKHQWKH          %<$77251(<75<21
     DUHILJKWLQJIRU7LWOHDQGVWXIIOLNHWKDW7KH\            45LJKW
     GRQ WDFWXDOO\FDUHDERXWZRPHQDWDOO:KDWZRXOG\RX        $$QG, PMXVWDELJORVHUIRUQRZEHFDXVH,FDQ
     VD\WRWKLVVZLPPHU"                                           QHYHU\RXNQRZEHDWKHUQR\RXMXVWJRRXWWKHUHDQG


                                                                                        3DJHVWR
                Case: 22-5807
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                                                            3DJH                                                    3DJH
      FRPSHWHEHFDXVHWKDW VZKDWVSRUWVLVDERXW                        LWDELWGLIIHUHQWDQG,FDQ WKHOSEXWEHDQJU\RUVDG
      4$QGWKDWVRUU\JRDKHDG,WKRXJKW\RX               ,WKXUWVPHP\WHDPDQGRWKHUZRPHQLQWKHSRRO2QH
      ZHUHILQLVKHG                                                      VSRWZDVWDNHQDZD\IURPDJLUOWKDWJRWWKLQWKH
      $6RUU\,W VMXVWRXWRI\RXNQRZVRPHRI                IUHHDQGGLGQ WPDNHLWEDFNWRWKH$ILQDOSUHYHQWLQJ
      WKHVHUXOHVDUHWKLQJVWKDWDUHMXVWRXWRIKHUFRQWURO             KHUIURPEHLQJDQDOO$PHULFDQ(YHU\HYHQWWKDW
      VRVKHQHHGVWRVWD\IRFXVHGRQZKDWVKHFDQIRFXVRQ              WUDQVJHQGHUDWKOHWHVFRPSHWHGLQZDVRQHVSRWWDNHQDZD\
      4,VLW\RXUYLHZWKDWWKHVHJLUOVWKDWDUH                  IURPELRORJLFDOIHPDOHVWKURXJKRXWWKHPHHW'R\RX
      REMHFWLQJWR/LD7KRPDVEHLQJRQWKHWHDPDUHGRLQJLW              GLVDJUHHZLWK5HND*\RUJ\"
      EHFDXVHWKH\KDWH/LD7KRPDV"                                       $77251(<9(52))2EMHFWLRQ
     $77251(<9(52))2EMHFWLRQ                        7+(:,71(66,UHFRJQL]HWKDWVKHLV
     7+(:,71(661RQR,GRQ WNQRZDQ\RI           YHU\IUXVWUDWHGDQGIHHOVWKDWWKLVGHFLVLRQZDVQ W
     WKHVHDWKOHWHV                                                    IDLU<RXNQRZLIZH UHORRNLQJDWDELJJHUSLFWXUH,
     %<$77251(<75<21                                                 WKLQNVSRUWRUJDQL]DWLRQVDWWKH2O\PSLFOHYHO
     4/HWPHDVN\RXWRWDNHDORRNDW([KLELW              LQWHUQDWLRQDOOHYHOQDWLRQDOOHYHODUHDOOLQYHVWHGLQ
     /HWPHNQRZZKHQ\RXKDYHLW                                      NHHSLQJWKLVYDOXHRILQFOXVLRQULJKWDQGWU\LQJWR
     $2ND\,KDYHLW                                          EDODQFHWKDWZLWKIDLUQHVVDQGVR,WKLQNLW V
     47KLVLVWKHRSHQLQJSDUDJUDSKDQGWKLVVD\V               VRPHWKLQJWKHVHRUJDQL]DWLRQVDUHUHDOO\JRLQJWRNHHS
     9LUJLQLD7HFKILIWK\HDU5HND*\RUJ\KDVUHOHDVHGD               ZRUNLQJRQDQGWKDW
     OHWWHUWR1&$$DGGUHVVLQJKHURSLQLRQRQWKH                       %<$77251(<75<21
     RUJDQL]DWLRQ VFRQWURYHUVLDOWUDQVJHQGHUSROLF\ZKLFK              46RUU\*RDKHDG
     DOORZHG3HQQILIWK\HDU/LD7KRPDVWRFRPSHWHDWWKH               $$QGWKDWWKH\DUHJRLQJWREHDEOHWRILQGD
     1&$$FKDPSLRQVKLSVODVWZHHN$QGLIZHFDQWXUQWRWKH           JRRGVSRWWKDWLVVRPHZKHUHVRPHZKHUHLQDSODFH
     SDJHZHFDQVHHWKHDFWXDOOHWWHUZULWWHQE\WKLV                  WKDWFDQEHUHVSHFWIXOEHLWWUDQVIHPDOHDWKOHWHVDQG
     VZLPPHU,WLVLQLWDOLFV$QGOHWPHVWDUWZLWKWKH             DOVRWKHIHPDOHDWKOHWHVRQWKHVHWHDPV


                                                            3DJH                                                    3DJH
     VHFRQGSDUDJUDSK0\QDPHLV5HND*\RUJ\RI+XQJDU\,             46R\RXWDONDERXWDJRRGVSRW<RXGRQ WNQRZ
     DPD5LR2O\PSLDQUHSUHVHQWHG9LUJLQLD7HFKIRU                ZKDWWKDWJRRGVSRWLV
     WKHSDVWILYH\HDUVDWZRWLPH$&&FKDPSLRQWZRWLPH               ,VWKDWULJKW"
     DOO$PHULFDQDQGWKUHHWLPHKRQRUDEOHPHQWLRQ                        $77251(<9(52))2EMHFWLRQ
     DOO$PHULFDQ$QGWKHQVNLSSLQJGRZQRQHSDUDJUDSKVKH              7+(:,71(661R,GRQ WVRUU\
     VD\V0LFNDLI, PVD\LQJKHUQDPHULJKWVD\V, P                  -XOLHEXW, PFRQILGHQWWKDWWKHUHDUHPDQ\SHRSOH
     ZULWLQJWKLVOHWWHUULJKWQRZLQKRSHVWKDWWKH1&$$                 ORRNLQJVSHQGLQJDORWRIWLPHDQGWU\LQJWRILJXUH
     ZLOORSHQWKHLUH\HVDQGFKDQJHWKHVHUXOHVLQWKH                   RXWKRZWRDQVZHUVRPHRIWKHVHTXHVWLRQV,QUHVSRQVH
     IXWXUH,WGRHVQ WSURPRWHRXUVSRUWLQDJRRGZD\DQG              WRWKLVDWKOHWHVKH VSUREDEO\NQRFNHGRXWDORWRI
    ,WKLQNLW VGLVUHVSHFWIXODJDLQVWWKHELRORJLFDOO\                 RWKHUIHPDOHDWKOHWHVEHFDXVHPD\EHVKHKDGPRUH
    IHPDOHVZLPPHUVZKRDUHFRPSHWLQJLQWKH1&$$                      DGYDQWDJHVDORQJWKHZD\ULJKW0D\EHKHUSDUHQWVZHUH
    $QGWKHQ,ZDQWWRVNLSGRZQZHOOOHW V               DEOHWRSXWKHULQJRRGSURJUDPVRUJRRGFRDFKLQJDQG
    MXVWFRQWLQXHRQWKHQH[WSDUDJUDSK,GRQ WZDQWWR               WKLQJVOLNHWKDW6R\RXNQRZLW VMXVWQHYHUOLNHD
    VNLSWRRPXFK,VZDPWKHIUHHDW1&$$RQ                      ZHOLNHWRMXVWWKLQNZKDWDVZHHWSHUIHFWZRUOGLW
    0DUFKWKZKHUH,JRWWKZKLFKPHDQV,GLGQ W             LVZKHUHHYHU\RQHKDVWKHVDPHRSSRUWXQLWLHVDQG\RX
    PDNHLWEDFNWRWKHILQDOVDQGILUVWDOWHUQDWH,DPD             NQRZWKHUH VMXVWDORWWKDW VQRWIDLURXWWKHUH
    ILIWK\HDUVHQLRU,KDYHEHHQWRSDQGWRSDQG,              ULJKWDFURVVIRUDWKOHWHVEXW,WKLQNZHGRWKHEHVW
    NQRZKRZPXFKDSULYLOHJHLWLVWRPDNHILQDOVDWDELJ             ZHFDQZKLFKLVZKDWWKH1&$$KDVWULHGWRGRDWWKLV
    DWDPHHWWKLVELJ7KLVLVP\ODVWFROOHJHPHHW               SRLQW$QGOLNH,VDLGWKLQJVPD\EHFKDQJLQJ\HDK
    HYHUDQG,IHHOIUXVWUDWHG,WIHHOVOLNHWKDWILQDO               EXWWKHQEXWMXVWWRJREDFNWRWKHRWKHUVLGHIRU
    VSRWZDVWDNHQDZD\IURPPHEHFDXVHRIWKH1&$$ V                   WKHDQVZHUWREHDEODQNHWH[FOXVLRQRIDOOWUDQVJHQGHU
    GHFLVLRQWROHWVRPHRQHZKRLVQRWDELRORJLFDOIHPDOH              DWKOHWHVDWHYHU\OHYHOLVQRWKHOSLQJXVPRYHIRUZDUG
    FRPSHWH,NQRZ\RXFDQVD\,KDGWKHRSSRUWXQLW\WR               %<$77251(<75<21
    VZLPIDVWHUPDNHWKHWRSEXWWKLVVLWXDWLRQPDNHV              4%XW\RXWKLQNHYHQ/LD7KRPDVVKRXOGKDYHEHHQ


                                                                                            3DJHVWR
                Case: 22-5807
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                                                   3DJH                                                                    3DJH
      DOORZHGWRSDUWLFLSDWHLQWKLVVZLPPHHWULJKW"                WKHVHRWKHUJLUOVELRORJLFDOJLUOVDUHIHHOLQJYHU\
      $77251(<9(52))2EMHFWLRQ                     PDUJLQDOL]HG'RHVWKDWFRXQWIRUDQ\WKLQJ"
      7+(:,71(66<HDK,GRQ WWKLQNLW             $77251(<9(52))2EMHFWLRQ
      PDWWHUVZKDW,WKLQNEHFDXVH, PMXVWQRWWKDWHPHUVHG          7+(:,71(66,WKLQNWKHUHLVDORWWKDW
      LQWKHVSRUWWRNQRZHYHU\WKLQJ6RZKHWKHULW VWHQ           RXUILHOGRIVSRUWVSV\FKRORJ\FDQRIIHUKHUHLQWHUPV
      ZKDWHYHULWLVQDQRPROVSHUOLWHURUZKHWKHU\RXNQRZ         RIKHOSLQJSHRSOHZRUNWKURXJKWKHVHWKLQJV%XW,
      WKDW VJRLQJWRFKDQJH,GRQ WNQRZEXW,WKLQNVKH           ZRXOGMXVWJREDFNWRLIZHWKLQNWKHDQVZHULVWR
      ,UHVSHFWKHUVKHGLGHYHU\WKLQJWKHVSRUWKDV             H[FOXGHDOOWUDQVJHQGHUIHPDOHDWKOHWHVIURPFRPSHWLQJ
      DVNHGKHUWRGR$QGVKHVD\VVKHJHWVLQWKHSRRO             WKHQWKDW VQRWULJKWDQGVRZH UHJRLQJWRKDYHWR
     HYHU\GD\DQGJLYHVLWKHUEHVWHIIRUW$QGWKRVHDUH         PDQHXYHUWKLVZHDUHDOOJRLQJWRKDYHWREHLQYROYHG
     WKHNLQGRIWHDPPDWHV,OLNHWRKDYHULJKWWKDWDUH          LQKHOSLQJILJXUHRXWKRZWRPRYHIRUZDUG
     WKDWZD\6R,WKLQNHYHU\ERG\FDQKHUWHDPPDWHV          %<$77251(<75<21
     FDQORRNDWWKLVDVPD\EHWKH\FDQPDNHHDFKRWKHU             4/HWPHMXVWEHFOHDU+%GRHVQRWH[FOXGH
     EHWWHUDQGJURZDVKXPDQEHLQJVDQGPDNHWKHZRUOG             DQ\DWKOHWHVIURPFRPSHWLQJLQVSRUWVGRHVLW"
     EHWWHU                                                        $77251(<9(52))2EMHFWLRQ
     %<$77251(<75<21                                             7+(:,71(662ND\
     46RDJDLQ\RXWKLQN/LD7KRPDV VWHDPPDWHVVKRXOG      )URPP\SHUFHSWLRQLWGRHVEHFDXVH%3-LV
     MXVWNQXFNOHXQGHUDQGEHKDSS\DERXWLWDQGEH                DIHPDOHDQGZDQWVWRFRPSHWHZLWKKHUIHPDOHSHHUV
     FRPSOHWHLVWKDWULJKW"                                       %<$77251(<75<21
     $77251(<9(52))2EMHFWLRQ                    42ND\
     7+(:,71(66,IHHOV\PSDWK\DQGHPSDWK\       $6R,GRQ WVHHWKDWDVDJRRGRSWLRQIRUKHUWR
     IRUVRPDQ\DWKOHWHVWKDWDUHGHDOLQJZLWKGLIILFXOW           FRPSHWHZLWKWKHPDOHV
     FKDOOHQJHVULJKWLQFOXGLQJWKHVHDWKOHWHVULJKWDQG        4:KDWDERXW/LD7KRPDV",PHDQ/LD7KRPDVORRNV
     ,MXVWDFNQRZOHGJH\HDKLWPXVWEHWRXJKULJKW             OLNHDPDOH"


                                                   3DJH                                                                    3DJH
      \RX YHMXVWEHHQGRLQJ\RXUWKLQJLQ\RXUVSRUWIRUD           $77251(<9(52))2EMHFWLRQ
      ORQJWLPHDQGWKHQ\RXKDSSHQWREHDWWKHFHQWHUVWDJH         %<$77251(<75<21
      RIVRPHRIWKLVWDNLQJSODFHEXW\RXNQRZLW VMXVWD        4$QGFRXOGQ WKHFRPSHWHRQWKHPDOHWHDPDVKH
      ORWRIFKDOOHQJHVWKDWDWKOHWHVDUHGHDOLQJZLWKRQPDQ\        KDGEHHQIRU\HDUVDQGWKHQWKHFRDFKRQWKDWWHDP
      OHYHOVDQGVR,GRQ WWKLQNWKH\DUHXQLTXHLQ\RX             VLPSO\VD\\HDK/LD7KRPDVQRZJRHVE\VKHEXW/LD
      NQRZLW VQRWOLNHWKH\DUHWKHRQO\DWKOHWHVWKDWKDYH        7KRPDVLVJRLQJWRFRPSHWHRQWKHER\VWHDPVDQG\RX
      FKDOOHQJHVWRGHDOZLWK                                        JX\VMXVWQHHGWRUHVSHFWWKDW"
      %<$77251(<75<21                                              $77251(<9(52))2EMHFWLRQ
      4'R\RXWKLQNWKDWDUH\RXHTXDWLQJWKHIDFW        7+(:,71(66$VDFLVJHQGHUIHPDOHLW V
     WKDWWKLVVZLPPHUPLJKWKDYHKDGVRPHDGYDQWDJHVLQKHU        KDUGWRIDWKRPWKDW\RXZDNHXSDQG\RXMXVWIHHOOLNH
     OLIHWRWKHIDFWWKDW/LD7KRPDVKDGEHHQKDGJRQH         \RXDUHLQWKHZURQJERG\ULJKW$QGWKHPRUH, YH
     WKURXJKSXEHUW\DQGZDVPD\EHDVPXFKDVDIRRWWDOOHU         UHDGRYHUWKH\HDUVDQGWKHPRUH, YHKHDUGSHRSOHVKDUH
     WKDQWKHRWKHUVZLPPHUVWKRVHDUHMXVWWKHVDPHWKLQJ"        WKHLUVWRULHVLWPXVWMXVWEHH[FUXFLDWLQJO\SDLQIXOWR
     $1R                                                   JRWKURXJKOLIHDQGIHHOOLNHWKDW V\RXUVLWXDWLRQDQG
     $77251(<9(52))2EMHFWLRQ                    VR
     7+(:,71(66, PVRUU\, PQRW               %<$77251(<75<21
     HTXDWLQJWKRVH, PMXVWVLPSO\VD\LQJZKDW,IHHODV         45LJKW$QGQRERG\LVGLVDJUHHLQJZLWKWKDW
     WKHWUXWKWKDWQRWHYHU\ERG\RXWWKHUHKDVDOOWKHVDPH       QRERG\LVFRQWHVWLQJWKDWMXVWWKHTXHVWLRQWKH
     RSSRUWXQLWLHVULJKWDQGDFFHVVDQGJUHDWFRDFKLQJDQG        ULJKWTXHVWLRQLVZKDW VIDLUWRHYHU\RQHQRWMXVWWR
     IDFLOLWLHVDQGHYHU\WKLQJHOVH6R,WKLQNWKH1&$$LV        WKHWUDQVJHQGHUSHUVRQEXWDOVRWRWKHELRORJLFDO
     WU\LQJWRGRWKHEHVWWKDWWKH\FDQDQGHYHU\ERG\LV           JLUOV
     OHDUQLQJULJKWVR                                       ,VQ WWKDWWKHTXHVWLRQ"
     %<$77251(<75<21                                             $77251(<9(52))2EMHFWLRQ
     42QHRIWKHWKLQJVWKDWZHDUHOHDUQLQJWKDW           7+(:,71(665LJKW,WKLQNWKH


                                                                                            3DJHVWR
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                                                  3DJH                                                         3DJH
      TXHVWLRQLVKRZGRZHEDODQFHWKDWLQFOXVLRQDQG               DWKOHWLFHYHQWVEHIRUHSXEHUW\"
      IDLUQHVV                                                      $77251(<9(52))2EMHFWLRQ
      %<$77251(<75<21                                             7+(:,71(66'LVDJUHH
      4, PDOPRVWILQLVKHG, PJRLQJWRUHDG\RXD         %<$77251(<75<21
      VHULHVRIVWDWHPHQWVDQGSOHDVHWHOOPHLI\RXDJUHHRU        42ND\
      GLVDJUHH(LWKHURQHLVILQH,MXVWZDQWWR                 1XPEHUILYHWKHUHLVQRWVFLHQWLILFHYLGHQFH
      XQGHUVWDQG\RXUSRVLWLRQ2U\RXPD\VD\,GRQ WNQRZ        WKDWDQ\DPRXQWRUGXUDWLRQRIFURVVVH[KRUPRQH
      7KDW VILQHWRR7KHILUVWVWDWHPHQWWKHUHDUH               WKHUDS\SXEHUW\EORFNHUVDQGURJHQLQKLELWRUVRUFURVV
      SK\VLRORJLFDOGLIIHUHQFHVEHWZHHQQDWDOPDOHVDQGQDWDO        VH[KRUPRQHVHOLPLQDWHVDOOSK\VLRORJLFDODGYDQWDJHV
     IHPDOHV                                                      WKDWUHVXOWLQPDOHVSHUIRUPLQJEHWWHUWKDQIHPDOHVLQ
     $77251(<9(52))2EMHFWLRQ$SRORJLHV       QHDUO\DOODWKOHWLFHYHQWV"
     REMHFWLRQ                                                    $77251(<9(52))2EMHFWLRQ
     7+(:,71(667UXH                             7+(:,71(662ND\
     $77251(<9(52))6RUU\WR0U7U\RQ      $QG, PMXVWJRLQJWRVD\WKDWLVEH\RQG
     DUHWKHVH\RXUGRFXPHQWVRUDUHWKHVHVWDWHPHQWVFRPLQJ       P\H[SHUWLVHDQGNQRZOHGJHRIWKDWOLWHUDWXUH
     IURPDGRFXPHQWVRPHZKHUH                                   %<$77251(<75<21
     $77251(<75<211RWKHVHDUHP\              40DOHVZKRKDYHUHFHQWO\H[FXVHPHPDOHVZKR
     VWDWHPHQWV                                                   KDYHUHFHLYHGVXFKWKHUDS\UHWDLQVXIILFLHQWPDOH
     $77251(<9(52))7KDQN\RXIRUWKH            SK\VLRORJLFDOWUDLWVWKDWHQKDQFHDWKOHWLFSHUIRUPDQFH
     FODULILFDWLRQ                                                YLVjYLVVLPLODUO\DJHGIHPDOHVIURPDSK\VLRORJLFDO
     %<$77251(<75<21                                            SHUVSHFWLYHPRUHDFFXUDWHO\FKDUDFWHUL]HGDVPDOH
     46HFRQGWKHUHDUHSK\VLRORJLFDOGLIIHUHQFHLQ        DJUHHRUGLVDJUHH"
     QDWDOPDOHVDQGQDWDOIHPDOHVWKDWUHVXOWLQPDOHV            &28575(3257(5, PVRUU\&RXQVHO&DQ
     KDYLQJDVLJQLILFDQWSHUIRUPDQFHDGYDQWDJHRYHU               \RXUHVWDWHWKDWTXHVWLRQ",PLVVHGLW


                                                  3DJH                                                         3DJH
      VLPLODUO\JLIWHGDJHDQGWUDLQHGIHPDOHVLQQHDUO\DOO         $77251(<75<216XUH
      DWKOHWLFHYHQWVDIWHUSXEHUW\"                                 %<$77251(<75<21
      $77251(<9(52))2EMHFWLRQ                    40DOHVZKRKDYHUHFHLYHGVXFKWKHUDS\WKDW,
      %<$77251(<75<21                                             PHQWLRQHGLQTXHVWLRQQXPEHUILYHUHWDLQVXIILFLHQWPDOH
      4$JUHHRUGLVDJUHH"                                    SK\VLRORJLFDOWUDLWVWKDWHQKDQFHDWKOHWLFSHUIRUPDQFH
      $77251(<9(52))2EMHFWLRQ                    YLVDYLVVLPLODUO\DJHGIHPDOHVDQGDUHWKXVIURPD
      7+(:,71(66,WKLQNWKHUHLVH[FHSWLRQV       SK\VLRORJLFDOSHUVSHFWLYHPRUHDFFXUDWHO\FKDUDFWHUL]HG
      WRWKLVEXWDVDJHQHUDOUXOHWKDWLVWUXH                   DVPDOHDQGQRWIHPDOH"
      %<$77251(<75<21                                             $77251(<9(52))2EMHFWLRQ
     41XPEHUWKUHHWKHUHDUHSK\VLRORJLFDO                7+(:,71(66$JDLQ,ZRXOGVD\WKDW
     GLIIHUHQFHVEHWZHHQPDOHVDQGIHPDOHVWKDWUHVXOWLQ          H[FHHGVP\H[SHUWLVH
     PDOHVKDYLQJDVLJQLILFDQWSHUIRUPDQFHDGYDQWDJHRYHU         $77251(<75<21)DLUHQRXJK/HWPHJR
     VLPLODUO\JLIWHGDJHGDQGWUDLQHGIHPDOHVLQQHDUO\DOO       RIIWKHUHFRUGIRUMXVWDIHZPLQXWHV,WKLQN, YH
     DWKOHWLFHYHQWVGXULQJSXEHUW\DVRSSRVHGWRDIWHU            FRYHUHGHYHU\WKLQJEXW,MXVWZDQWWRPDNHVXUHDQG
     SXEHUW\'R\RXDJUHHRUGLVDJUHH"                           WKHQ,ZLOOWXUQWKHWLPHRYHUWRP\FR'HIHQGDQWVLI
     $77251(<9(52))2EMHFWLRQ                   WKH\KDYHDQ\TXHVWLRQV6RMXVWJLYHPHILYHPLQXWHV
     7+(:,71(66<HDK,WKLQNLW,           WRJRRIIWKHUHFRUG,VWKDWDOOULJKWZLWKHYHU\RQH"
     WKLQNWKDWVWDWHPHQWVRPHZKDWGHSHQGVRQZKDWZHGHILQH       $77251(<9(52))7KDQN\RX
     DVVLJQLILFDQW                                               7+(:,71(66<HV
     %<$77251(<75<21                                            9,'(2*5$3+(5*RLQJRIIWKHUHFRUG7KH
     4)DLUHQRXJK)RXUWKHUHDUHSK\VLRORJLFDO          WLPHUHDGVSP(DVWHUQ6WDQGDUG7LPH
     GLIIHUHQFHVEHWZHHQPDOHVDQGIHPDOHVWKDWUHVXOWLQ          2))9,'(27$3(
     PDOHVKDYLQJDVLJQLILFDQWSHUIRUPDQFHDGYDQWDJHRYHU         
     VLPLODUO\JLIWHGDJHGDQGWUDLQHGIHPDOHVLQDOO               :+(5(8321$6+257%5($.:$67$.(1


                                                                                       3DJHVWR
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                                                   3DJH                                                                       3DJH
                                        $, GVD\EHIRUHWKHQEXW, PQRWVXUH
      219,'(27$3(                                                    42ND\
      9,'(2*5$3+(5:HDUHEDFNRQWKHUHFRUG        'R\RXKDYHDQ\LGHDDWDOOZKDWWLPHIUDPH"
      7KHFXUUHQWWLPHLVSP(DVWHUQ6WDQGDUG7LPH            $77251(<9(52))2EMHFWLRQ$VNHGDQG
      $77251(<9(52))([FHOOHQW7KDQN\RX         DQVZHUHG
      0U7U\RQLQRXUODVWH[FKDQJHZLWK3URIHVVRU)U\\RX          7+(:,71(66, PUHDOO\QRWVXUH<RX
      UHDGDVHULHVRIVWDWHPHQWVDQG,DVNHG\RXLIWKHVH            NQRZWKLQJVMXVWNLQGRIEOXURYHUWLPH
      VWDWHPHQWVZHUHFRPLQJIURPDQ\GRFXPHQWV<RXVDLG           %<$77251(<75<21
      QRWKHVHDUHP\VWDWHPHQWV$QG,MXVWZDQWWRSXWRQ         46XUH
     WKHUHFRUGWKDWLWDSSHDUVWKDWLQVRPHRIWKRVH               $%XW, PDIDQRIWU\LQJWROHWDWKOHWHV
     VWDWHPHQWV\RXZHUHUHDGLQJIURPSRUWLRQVRIWKHUHSRUW        SDUWLFLSDWH6R, PQRWVXUH,GHILQLWHO\OHDUQHG
     RI'RFWRU%URZQRQHRI'HIHQGDQW VH[SHUWZLWQHVVHV          PRUHRYHUWKHODVWIHZ\HDUVDQGPD\FRPHIURPDPRUH
     $77251(<75<21:HOOLQUHVSRQVHWKH\        NQRZOHGJHDEOHSRVLWLRQEXW,WKLQNLW VRQH,IHOWIRU
     ZHUHJHQHUDWHGIURPWKDWEXWWKH\DUHQRWKLV                 VRPHWLPH
     VWDWHPHQWVSUHFLVHO\VRDQG,WKLQNWKDW,                4)RUPRUHWKDQWHQ\HDUV"
     UHSUHVHQWHGWKDWFRUUHFWO\LI\RXDUHVXJJHVWLQJWKDW,        $77251(<9(52))2EMHFWLRQ
     PLVUHSUHVHQWHGLW                                             7+(:,71(66<RXNQRZLW VMXVWKDUGWR
     $77251(<9(52))7KDQN\RX                    VD\,GRQ WUHPHPEHUWKLVEHLQJSDUWRIWKH
     $77251(<75<210RUHRYHU,GRQ WWKLQN        FRQYHUVDWLRQVRPXFKWHQ\HDUVDJRVRLIVRPHRQHKDG
     ,QHHGWRUHIHUHQFHWKHVRXUFHRIP\TXHVWLRQVEXW,          DVNHG\HDK, PUHDOO\QRWVXUHKRZWRSXWDWLPHIUDPH
     DSSUHFLDWH\RXUVWDWHPHQW                                     RQLW
     $77251(<9(52))7KDQN\RX,ZDVMXVW        %<$77251(<75<21
     FODULI\LQJ,WKRXJKWWKDWWKHDQVZHUWKDW\RXJDYH            4'R\RXNQRZZKHQWKHILUVWWLPHLV\RXKHDUGRI
     HDUOLHUZDV\RXUVWDWHPHQWVDQGZDVLQDFFXUDWHDQGVR,       WKHLGHDRIWUDQVJHQGHUZRPHQSDUWLFLSDWLQJRU


                                                   3DJH                                                                       3DJH
      MXVWZDQWHGWRFODULI\WKDWIRUWKHUHFRUG                     WUDQVJHQGHUIHPDOHVSDUWLFLSDWLQJRQJLUOVVSRUWV"
      $77251(<75<21:HOO,EHOLHYHLWWREH        $$JDLQ,GRQ WNQRZ<RXNQRZ, YHEHHQ
      DFFXUDWHEXWZH OODJUHHWRGLVDJUHHSHUKDSV                  DWWHQGLQJVSRUWVSV\FKRORJ\FRQIHUHQFHVIRUWKHODVW
      %<$77251(<75<21                                              \HDUVDQG,GRQ WUHPHPEHUWKHILUVWWLPH,VDWLQ
      46REDFNWRP\TXHVWLRQV3URIHVVRU)U\LWVHHPV       RQDVHVVLRQRU\RXNQRZEHJDQWROHDUQPRUH
      WKDW\RXKDYHDVSHFLILFYLHZDERXWWUDQVJHQGHUJLUOVRU        42ND\
      ZRPHQSDUWLFLSDWLQJRQJLUOVRUZRPHQ VWHDPV                  $,UHDOO\GRQ W
      ,VWKDWDIDLUVWDWHPHQW"                              49HU\JRRG:KDW VWKHWRWDOFRPSHQVDWLRQWKDW
      $77251(<9(52))2EMHFWLRQ                     \RXUHFHLYHGRUWKDW\RX YHFKDUJHGIRULQWKLVFDVHVR
     7+(:,71(66&DQ\RXEHPRUHVSHFLILF"          IDU"
     %<$77251(<75<21                                             $,QWKLVFDVH"
     46R\RXLQGLFDWHGQXPHURXVWLPHVRI\RXUEHOLHI       4<HVLQWKLVFDVH
     JHQHUDOO\WKDWWUDQVWKDWPDOHVZKRLGHQWLI\DV           $<HDK,KDYHQ WWXUQHGLQDELOOVR,KDYHQ W
     IHPDOHVVKRXOGEHDOORZHGWRSDUWLFLSDWHRQJLUOVWHDPV       UHFHLYHGDQ\WKLQJ
     5LJKW"                                                  46RKRZPXFKKDYH\RXLQFXUUHGVRIDUDVIHHVLQ
     $77251(<9(52))2EMHFWLRQ                    WKLVFDVH"
     7+(:,71(66$JDLQ, YHVWDWHGWKDW, P       $<HDK, YH,WKLQNLW VLQWKHEDOOSDUNRI
     RSSRVHGWRKDYLQJDEODQNHWH[FOXVLRQSROLF\IRUDOO           HLJKWWRWHQKRXUVSUREDEO\SULRUWRWRGD\
     WUDQVIHPDOHDWKOHWHV                                          4$QGZKDWLV\RXUKRXUO\UDWH"
     %<$77251(<75<21                                             $
     4:KHQGLG\RXDUULYHDWWKDWSRVLWLRQ"                 4$QGKRZDERXWLQWKHRWKHUWKUHHFDVHVFRPELQHG
     $, PQRWVXUH                                         KRZPXFKKDYH\RXKRZPDQ\KRXUVKDYH\RXH[SHQGHG"
     4:DVLWVRPHWLPHLQWKHSDVWWZR\HDUVRU              $3UREDEO\HLJKWWRWHQKRXUVIRUWKH&RQQHFWLFXW
     VRPHZKHUHEHIRUHWKHQ"                                         DQG,GDKRFDVHVWRJHWKHU



                                                                                               3DJHVWR
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                                                   3DJH                                                         3DJH
      4$QG)ORULGD"                                           ZKDWLV\RXUIDYRULWHEDUEHFXHSODFHLQ0HPSKLV"7KDW V
      $,Q)ORULGDIRXU                                      WKHUHDOTXHVWLRQ
      46RZKHQ\RXILUVW"                                 $,JXHVV, GKDYHWRJRZLWKWKH5HQGH]YRXV0\
      $6RUU\                                                 KXVEDQGDQG,KDGRXUILUVWGDWHWKHUH7KDWZDVNLQG
      46RUU\JRDKHDG                                       RIVSHFLDO
      $)RXUWRVL[DQG,ELOOHGIRUIRXUWKRXJKVR,       4:HOO, PIURPWKHUHRULJLQDOO\VRWKDW VZK\,
      UHFHLYHGDWKRXVDQGIRU)ORULGDLQWKH)ORULGDFDVH        DVNHG
      4'R,XQGHUVWDQGFRUUHFWO\WKHQWKDWWKHILUVW          $:KHUHDUH\RXIURP"
      UHSRUWWKDW\RXGLGZDVIRU&RQQHFWLFXW"                        4, PIURP0HPSKLVWKH0HPSKLVDUHDRULJLQDOO\
     $:HVWDUWHGWKDWRQHDQGWKHQWKHUHZDV            $2ND\
     WKDW VZKHQ&29,'KLWDQGWKHVHDVRQZDVRQKROG,           4, PPRUHSDUWLDOWRFHQWUDOEDUEHFXHSODFHVEXW
     ZRXOGKDYHWRJREDFNDQGORRN%XW,WKLQNWKHILUVW         WKH\ UHDOOJRRG6RDQ\ZD\,ZDQWWRWXUQDOLWWOH
     RQHWKDWZDVILOHGHQGHGXSEHLQJ,GDKRHYHQWKRXJKZH         ELWWRSDUDJUDSKRI\RXUH[SHUWUHSRUW,WLV
     VWDUWHGRQ&RQQHFWLFXWRU,ZDVSDUWRIWKH                ([KLELWWKHUH$QG,ZDQWWRWXUQ\RXPRUHWRZDUGWKH
     &RQQHFWLFXWRQH                                               HQGRIWKDWSDUDJUDSKZKHUHLWVD\VZKHQDWKOHWHVDUH
     4$QG\RXEHOLHYH\RXDUHDEOHWRSXWWKLVZKROH        H[FOXGHGIURPSDUWLFLSDWLQJLQWKHVSRUWRULQDFOLPDWH
     UHSRUWWRJHWKHULQHLJKWWRWHQKRXUVIRU&RQQHFWLFXW"         ZKHUHWKH\GRQRWIHHODFFHSWHGRUUHVSHFWHGWKH\GR
     $77251(<9(52))2EMHFWLRQ                    QRWKDYHWKHRSSRUWXQLW\WRUHDSWKHVHEHQHILWV1RZ
     7+(:,71(66<HV                              ZKDWEHQHILWVDUH\RXWDONLQJDERXWWKHUH"
     %<$77251(<75<21                                             $7KHEHQHILWVRISDUWLFLSDWLQJLQVSRUWDQGWR
     4$QG\RXUELOOLQJUDWHLVWKHVDPHIRUDOORI          \HDKVRUU\OHWPHUHDGWKLVRQHPRUHWLPHWKLV
     WKHP"                                                          SDUDJUDSKSOHDVH
     $7KDW VFRUUHFW                                       4$EVROXWHO\
     $77251(<75<21,GRQ WKDYHDQ\IXUWKHU       $<HDKVR,ZDVUHIHUULQJWRWKHEHQHILWV


                                                   3DJH                                                         3DJH
      TXHVWLRQV$QGVRWKDQN\RXIRU\RXUWLPH,WLV              KLJKOLJKWHGWKURXJKRXWWKLVVWDWHPHQWWKDWFRPHIURP
      DOZD\VVWUHVVIXODQGVR,DSSUHFLDWHLW,UHFRJQL]H           KDYLQJDFKDQFHWRSDUWLFLSDWHLQDUHDOO\SRVLWLYH
      WKDWLWZDVVWUHVVIXODQGWKDW,GRDSSUHFLDWH\RXU             FOLPDWH%XWLQWKLVSDUWLFXODUSDUDJUDSKVD\LQJWKDW
      SDWLHQFHDQG\RXUWLPH7KDQNV"                                WKHUH VVRPHDGYDQWDJHVWRIHPDOHVZKRDUHDEOHWR
      7+(:,71(667KDQN\RX7KDQNVYHU\            SDUWLFLSDWHULJKWDQGPLJKWEHPRUHOLNHO\WRJRRQWR
      PXFK                                                           FROOHJHDQGWKRVHWKLQJV
      $77251(<6&58**6,JXHVV,ZLOOMXPSLQ        4/HW VMXVWWDONJHQHUDOO\UHDOTXLFN&DQ\RX
      VLQFHQRQHRIWKHRWKHU'HIHQGDQWVZDQWWR                     RXWOLQHNLQGRIMXVWDVJHQHUDOEHQHILWEH\RQGWKDW
      $77251(<75<21*RDKHDG                       RQHVSHFLILFRQH\RXPHQWLRQHG"
     $77251(<6&58**62ND\                        $77251(<9(52))2EMHFWLRQ$VNHGDQG
                                      DQVZHUHG
     (;$0,1$7,21                             %<$77251(<6&58**6
                                      4<RXFDQDQVZHUWKHTXHVWLRQ
     %<$77251(<6&58**6                                           $2ND\:HOOWKURXJKRXWWKHVWDWHPHQWWKHVH
     4+HOOR'RFWRU)U\+RZDUH\RXGRLQJ"&DQ\RX       EHQHILWVRIEHLQJDEOHWRSDUWLFLSDWHLQVSRUW\RX
     KHDUPHRND\"                                                  NQRZLQDFDULQJFOLPDWHWKDW\RXNQRZSHRSOHFDQ
     $,FDQ'RLQJZHOO7KDQN\RX                       KDYHIXQFDQKDYHJRRGH[SHULHQFHVDQGJRRG
     46RP\QDPHLV-RKQDWKDQ6FUXJJV, PDQ              UHODWLRQVKLSVZLWKFRDFKHVDQGDWKOHWHV7KH\FDQKDYH
     DWWRUQH\IRUWKHLQWHUYHQLQJ'HIHQGDQW/DLQH\                 MXVWUHDSWKHSK\VLFDOEHQHILWVRIEHLQJLQEHWWHU
     $UPLVWHDGLQWKLVFDVH6R, PMXVWJRLQJWRDVN\RXD       KHDOWKDQGERWKSV\FKRORJLFDOO\DQGSK\VLFDOO\
     IHZTXHVWLRQV7KHJRRGQHZVLV,ZRQ WDVNPDQ\              7KH\FDQH[SUHVVJUHDWHUHPSDWK\IRURWKHUVDQG\RX
     TXHVWLRQVDVWKHSULRUWHVWLPRQ\DQG,FDQ WVLQFHZH         NQRZEHWWHUVSRUWVSHUVRQVKLSULJKWUHDOO\HYDOXDWH
     DUHOLPLWHGLQWLPH6R,ZLOOWU\WRJRTXLFN%XW          EHLQJDUHVSHFWIXOFRPSHWLWRUDQGWKLQJVOLNHWKDW
     WKHPRVWLPSRUWDQWTXHVWLRQDFWXDOO\,KDYHIRU\RXLV         41RZLQ\RXUODVWVHQWHQFHLQSDUDJUDSK\RX


                                                                                        3DJHVWR
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                                                   3DJH                                                                        3DJH
      GRQ WKDYHDWLPHIUDPHPHQWLRQHGLQWHUPVRIZKHQ               %<$77251(<6&58**6

      DWKOHWHVDUHH[FOXGHGIURPSDUWLFLSDWLQJLQVSRUWVWKH\         41RZHDUOLHUZHGLVFXVVHG+%WKHODZWKDW

      GRQ WKDYHWKHRSSRUWXQLW\WRUHDSWKHVHEHQHILWV'R          LVDWLVVXHLQWKHFDVH1RZ,GRQ WZDQWWRUHWUHDGD

      \RXPHDQZKHQWKH\GRQ WKDYHDQRSSRUWXQLW\IRUD              ORWRIROGJURXQGEXW,MXVWZDQWWRSXWLWLQ\RXU

      VXEVWDQWLDOSHULRGRIWLPHRUDQ\W\SHRIORVVRI               ZRUGV6RZKDWLVWKHSUREOHPLQ\RXURSLQLRQZLWK

      SDUWLFLSDWLRQIRUDQ\SHULRGRIWLPH"                           WKLVODZ"

      $6RZKHQDWKOHWHVDUHH[FOXGHGIURPVSRUW, P       $77251(<9(52))2EMHFWLRQDVWRVFRSH

      QRWVXUH, PIROORZLQJ\RXEXWLIWKH\ZHUHH[FOXGHG           7+(:,71(66,WKLQNLW V\RXNQRZ

      IRUDGD\RUWZRDUH\RXVD\LQJZRXOGWKDWEHDELJ            SURYLGHVDEODQNHWRIH[FOXVLRQRIWUDQVJHQGHUIHPDOH

     GHDORUDUHWKH\H[FOXGHGIRUDZKROHVHDVRQRU                DWKOHWHVIURPSDUWLFLSDWLQJLQWKHVHFRQGDU\DQGFROOHJH

     WKH\"                                                      OHYHODQGWKDWLVXQIRUWXQDWHDQGKDUPIXO

     46XUH6XUH, PMXVWZRQGHULQJLI\RXFDQSXW       %<$77251(<6&58**6

     WKDWLQDWLPHIUDPH"                                           40D DP, PVRUU\\RXUDQVZHUEURNHXSWKHUH,
     $1REXW,ZRXOGJUDQWWKDWLIWKH\ UHH[FOXGHG        WKLQNP\LQWHUQHWFRQQHFWLRQZDVDELWIDXOW\&DQ,
     IRUDGD\RUVRPHWKLQJOLNHWKDWZHZRXOGQ WEHKHUH          DVNWKHFRXUWUHSRUWHUWRUHDGEDFNWKDWDQVZHU"
     WDONLQJDERXWLWSUREDEO\EXW\HDKRQDELJJHUVFDOH        
     4%XW\RXZRXOGDJUHHWKDWLIVWXGHQWVZHUH              :+(5(8321&28575(3257(55($'6%$&.35(9,286$16:(5
     H[FOXGHGIURPSDUWLFLSDWLQJLQKLJKVFKRROVSRUWVIRU          
     IRXU\HDUVWKH\ZRXOGPLVVRXWRQWKHRSSRUWXQLWLHVIRU       %<$77251(<6&58**6
     SDUWLFLSDWLQJLQ\RXWKVSRUWV"                                 4$QGKRZKDUPIXOH[DFWO\"
     $<HV                                                  $77251(<9(52))2EMHFWLRQ
     4$QG,DVVXPHWKHVDPHLVIRUD\HDU                  7+(:,71(66,WLVKDUPIXOEHFDXVH,
     &RUUHFW"                                              WKLQNZKDWVFKRROGLVWULFWVDUHWU\LQJWRGRLVKHOS
     $<HV                                                  HYHU\FKLOGUHDFKWKHLURZQSRWHQWLDODQGEULQJRXW



                                                   3DJH                                                                        3DJH
      4/HW VVD\WKHUH VDSROLF\DVIDUDVPDOHVZLWK             WKHLUEHVWDQGEXWZHKDYHWKHVHDFWLYLWLHVDYDLODEOH
      IHPDOHJHQGHULGHQWLWLHVWRXQGHUJRWHVWRVWHURQH                     EXWZHDUHWHOOLQJDSDUWLFXODUJURXSRINLGVWKDW\RX
      VXSSUHVVLRQIRUD\HDUEHIRUHWKH\FDQSDUWLFLSDWHRQ                FDQ WSDUWLFLSDWHLQWKHVHDFWLYLWLHVDQGWKHVHPD\EH
      WKHJLUO VWHDPZRXOGWKDWSROLF\IRUFHDWOHDVWVRPH               YHU\LPSRUWDQWWRWKHPDQGEHH[WUHPHO\YDOXDEOHSDUWRI
      DWKOHWHVWRPLVVRXWRQVRPHRSSRUWXQLWLHVDVVRFLDWHG                WKHLUHGXFDWLRQDOH[SHULHQFHWKURXJKWKHVHFRQGDU\
      ZLWK\RXWKVSRUWV"                                                   VFKRROV
      $77251(<9(52))2EMHFWLRQ                          %<$77251(<6&58**6
      7+(:,71(66,WFRXOG                               4*RWLW*RWLW$QGQRZHDUOLHULQ\RXU
      %<$77251(<6&58**6                                                 WHVWLPRQ\\RXPHQWLRQHG\RXGLGQ WWKLQNLW VDSUREOHP
     4:HOOFRXOG\RXHQYLVLRQZKHUHLWZRXOGQ W"                LIDPDOHWKDWZRXOGEHDPDOHWKDWZDVH[FOXGHG
     $77251(<9(52))2EMHFWLRQ                         IURPIRUH[DPSOHWKHZRPHQ VJLUOWUDFNWHDP
     7+(:,71(66, PMXVWWKLQNLQJWKH\                 'R\RXUHPHPEHUWKDW"
     PLJKWKDYHRWKHURSWLRQVRUFRXOGSOD\RQDFRJHQGHU               $77251(<9(52))2EMHFWLRQ
     WHDPWKDW VPD\EHQRWSDUWRIWKHLUVFKRROZKDWWKH\               7+(:,71(66, PVRUU\GLG\RXVD\D
     UHDOO\ZDQWHGWRGRZDVRQWKHLUVFKRROEXWWKHUHFRXOG            PDOHZKRLGHQWLILHVDVDPDOH"
     EHDQRWKHUSRVVLELOLW\                                             %<$77251(<6&58**6
     %<$77251(<6&58**6                                                4<HV\HV)URPWKHZRPHQ VVSRUWVWHDP"
     4<HDKVREHLQJDVLWXDWLRQZKHUHWKH\RQO\                 $5LJKW7KHWHDPIRUWKHIHPDOHVLVIRUWKH
     ZDQWHGWREHRQWKHLUVFKRRODQGKDGWRXQGHUJR                     IHPDOHVULJKWVR,ZRXOGDJUHH
     WHVWRVWHURQHVXSSUHVVLRQIRUD\HDUWRGRVRWKH\ZRXOG            46R\RXGRQ WWKLQN+%LVQRWSUREOHPDWLFLQ
     ORVHRXWRQWKRVHEHQHILWVIRUWKDW\HDU                           WKDWVLWXDWLRQ"
     &RUUHFW"                                                   $77251(<9(52))2EMHFWLRQ
     $77251(<9(52))2EMHFWLRQ                         7+(:,71(665LJKW
     7+(:,71(668KKXK \HV                            %<$77251(<6&58**6


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                                                    3DJH                                                        3DJH
      4$QGWKDW VWUXHHYHQLIWKDWPDOHORVHVRXWRQ         SDUWLFLSDWHRQWKHIHPDOHWUDFNWHDP"
      DQRSSRUWXQLW\IURPSDUWLFLSDWLQJRQWKHJLUO VWUDFN           $77251(<9(52))2EMHFWLRQ
      WHDP"                                                           7+(:,71(661R6RUU\1R1R,
      $77251(<9(52))2EMHFWLRQ                     GRQ WWKLQNVR
      7+(:,71(665LJKW5LJKW%XWWKH\ UH        %<$77251(<6&58**6
      LGHQWLI\LQJDVDPDOHDQGFDQSHUIRUPRQDFDQ              4:HOOZK\GRHVQ WZK\VKRXOGQ WZHYDOXH
      SDUWLFLSDWHRQWKHPDOH VWHDP                                 WKHLUSDUWLFLSDWLRQRQDQDWKOHWLFWHDP"
      %<$77251(<6&58**6                                            $77251(<9(52))2EMHFWLRQ
      46RWKH\FDQSDUWLFLSDWHRQWKHPDOH VWHDPDQG         7+(:,71(66,GRQ WWKLQNZH UHVD\LQJ
     WKDWLVZK\WKH\WDONDERXWLW"                                ZHZRXOGQ WYDOXHWKDWULJKW7KDWKDSSHQVDOOWKH
     $77251(<9(52))2EMHFWLRQ                    WLPH
     7+(:,71(665LJKW                             %<$77251(<6&58**6
     %<$77251(<6&58**6                                           4<HDK, PVD\LQJZK\GRQ WZHYDOXHZK\
     4:KDWLIWKDWPDOHDWKOHWHLVQRWIDVWHQRXJKWR       GRQ WZHSURPRWHWKHLUSDUWLFLSDWLRQLQDWKOHWLFVDQG
     UXQRQWKHPDOHWHDP"                                          DOORZWKHPWRSDUWLFLSDWHRQWKHIHPDOHWUDFNWHDP"
     $77251(<9(52))2EMHFWLRQ                    $77251(<9(52))2EMHFWLRQ$QGSOHDVH
     7+(:,71(66,QVD\FURVVFRXQWU\              OHWWKHZLWQHVVILQLVKKHUDQVZHU
     RU"                                                        7+(:,71(66,WKLQNWKHUH VDWHDPIRU
     %<$77251(<6&58**6                                           WKLVPDOHDWKOHWHWRDWOHDVWWU\RXWIRUDQGJRIRUDQG
     4<HV2QFURVVFRXQWU\LVQRWIDVWHQRXJKIRU         VR,GRQ WVHHWKHLVVXHWKDWZH UHQRWEHLQJLQFOXVLYH
     WKHPDOHWHDPFDQQRWUXQRQWKHPDOHWHDPVKRXOGWKDW        DQGJLYLQJWKLVDWKOHWHDQRSSRUWXQLW\WRWU\RXWIRU
     PDOHDWOHDVWEHDEOHWRSDUWLFLSDWHRQWKHIHPDOHWUDFN       WKDWWHDP$FURVVWHDPVDQGDFURVVVFKRROVPDQ\
     WHDP"                                                          DWKOHWHVWU\RXWIRUVSRUWVDQGGRQ WPDNHWKHWHDP
     $77251(<9(52))2EMHFWLRQ                    %<$77251(<6&58**6


                                                    3DJH                                                        3DJH
      7+(:,71(665LJKWQRQR1RSHRSOH          4:HOO%3-FDQWU\RXWIRUWKHPDOHWUDFNWHDP
      DWWU\RXWVGRQRWPDNHWHDPV%XWKHLVDPDOH                &RUUHFW"
      LGHQWLI\LQJDVDPDOHWKHQKHVKRXOGVWLFNZLWKWKDW            $77251(<9(52))2EMHFWLRQ
      WHDP                                                           7+(:,71(667KDWGRHVQ WVHHPWREHD
      %<$77251(<6&58**6                                            YLDEOHRSWLRQVLQFH%3-LVDIHPDOH
      46RLQWKDWVLWXDWLRQLWGRHVQ WPDWWHUWKDW          %<$77251(<6&58**6
      PDOHDWKOHWHGRHVQ WKDYHDQRWKHURSWLRQ"                       4*RWFKD2ND\/HWPHWXUQ\RXWRZDUG
      $77251(<9(52))2EMHFWLRQ                     SDUDJUDSKLQ\RXUH[SHUWUHSRUWDJDLQ, PJRLQJWR
      7+(:,71(665LJKW                             DVN\RXDERXWWKHVHFRQGTXHVWLRQWKHVHFRQGRU
     %<$77251(<6&58**6                                           WKHODVWVHQWHQFHH[FXVHPHWKHUHZKHUHLWVD\VLI
     42ND\                                                 WUDQVJHQGHUVWXGHQWVDUHDUELWUDULO\H[FOXGHGIURPWKHVH
     :RXOGQ WLWEHPRUHLQFOXVLYHWRDOORZWKHPDQ        VSRUWVWKH\DUHLQWXUQGHSULYHGRIWKLVSRVLWLYH
     WRSDUWLFLSDWHRQWKHIHPDOHWUDFNWHDP"                       H[SHULHQFHDVDQRXWFRPHDQGWKHLUWHDPPDWHVDUH
     $77251(<9(52))2EMHFWLRQ                    GHSULYHGRIDJHQHUDOO\RSWLPDOVSRUWH[SHULHQFH'LG,
     7+(:,71(66,GRQ WVHHLWOLNHWKDW         UHDGWKDWFRUUHFWO\"
     ULJKW7KHUH VDPDOHWUDFNWHDPDQGDPDOHFDQWU\RXW       $<HV,WKLQNVR
     IRUWKHWKDW$QGWKHJRRGQHZVLVZLWKFURVVFRXQWU\         41RZZRXOG\RXDJUHHWKDWLIZHMXVWVDLGDQ\
     WKH\FDQKDQGOHDORWRIDWKOHWHVVRRIWHQWKHUHLVQRW        VWXGHQWLVH[FOXGHGIURP\RXWKVSRUWVWKH\DUHGHSULYHG
     DFXWSROLF\LQFURVVFRXQWU\                                 RIWKRVHSRVLWLYHH[SHULHQFHVDQGRXWFRPHVDQGWKHLU
     %<$77251(<6&58**6                                           WHDPPDWHVDUHGHSULYHGRIDJHQHUDOO\RSWLPDOVSRUWV
     4:HOO,WKLQN,FDQHDVLO\JLYHDVFHQDULRZKHUH      H[SHULHQFH"
     WKHPDOHFDQ WPDNHWKHPDOHWUDFNWHDPEXWWKHUHLVDQ       $<HDK, PQRWWKLQNLQJRIDVLWXDWLRQZKHUHWKDW
     RSHQVORWRQWKHIHPDOHWUDFNWHDPVRWKDWPDOHVZKR          LVQRWWKHFDVHULJKWQRZ
     LGHQWLI\DVPDOHVVKRXOGWKDWSHUVRQEHDEOHWR               46RZRXOG\RXDJUHHWKDWLILWVDLGLIDQ\


                                                                                        3DJHVWR
                Case: 22-5807
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                                                  3DJH                                                         3DJH
      VWXGHQWQRPDWWHUWKHLUJHQGHULGHQWLW\ZHUH                 $77251(<9(52))2EMHFWLRQ$VNHGDQG
      DUELWUDULO\H[FOXGHGIURP\RXWKVSRUWVWKH\DUH               DQVZHUHG
      GHSULYHGRIWKRVHSRVLWLYHH[SHULHQFHVDQGRXWFRPHV"           7+(:,71(66<HV,WKLQNLWFKDQJHVWKH
      $,ZRXOGMXVWDGGWKDWEDVHGRQWKHLUJHQGHU           PHDQLQJWRVD\LIDQ\DWKOHWHVDQ\DWKOHWHXQGHUDQ\
      LGHQWLW\ULJKW6R\RXFRXOGKDYHDWUDQVIHPDOH             FLUFXPVWDQFHVEXW,MXVWPHDQDWKOHWHVKHUH
      DWKOHWHZKRWULHVRXWIRUDWHDPDQGGRHVQ WPDNHLW          %<$77251(<6&58**6
      ULJKWZH UHQRWLQFOXGLQJWKDWLQWKHVDPHEDOOSDUN           4<HDK, PQRWVD\LQJXQGHUDQ\FLUFXPVWDQFHV,
      KHUHZLWKMXVWKDYLQJDEODQNHWVWDWHPHQWWKDW                 JXHVVZKDW, PWU\LQJWRILJXUHRXWLVZKDWUROHGRHVDQ
      WUDQVIHPDOHDWKOHWHVPD\QRWSDUWLFLSDWH                      DWKOHWH VJHQGHULGHQWLW\SOD\LQWKDWVHQWHQFH,W
     4,JXHVV, PQRWUHDOO\IROORZLQJ\RX%XW           VD\VLIDWKOHWHVZHUHDUELWUDULO\H[FOXGHGVR,DVVXPH
     DJDLQ\RXZRXOGDJUHHWKDWLIDQ\VWXGHQWVDUH               WKHUHFRXOGEHDPDOHDWKOHWHZKRLGHQWLILHVDVPDOH
     DUELWUDULO\H[FOXGHGWKH\UHDSWKHEHQHILWVIURP\RXWK       ,IWKDWDWKOHWHLVDUELWUDULO\H[FOXGHGWKDWFUHDWHVD
     VSRUWV"                                                       SUREOHPWKDW\RXLGHQWLI\LQWKDWSDUDJUDSK"
     $77251(<9(52))2EMHFWLRQ$VNHGDQG        $, PQRWIDPLOLDUZLWKVRUU\-XOLH
     DQVZHUHG                                                     $77251(<9(52))2EMHFWLRQ
     7+(:,71(661R,ZRXOGQ WDJUHHZLWK        7+(:,71(66, PQRWIDPLOLDUZLWKWKDW
     WKDW,ZRXOGQHHGWKHFRQWH[WRIWKDWEHFDXVHWKH           FDVHZKHUHWKHPDOHDWKOHWHLVDUELWUDULO\SUHYHQWHG
     H[DPSOH, PJLYLQJLVWUDQVJHQGHUIHPDOHDWKOHWHWULHV        IURPSDUWLFLSDWLQJ, PQRWVXUHZKDW\RX UHUHIHUULQJ
     RXWIRUDIHPDOHWHDPDQGGRHVQ WPDNHLWULJKWDQGVR      WRWKHUH
     ZRXOGEHH[FOXGHGIRUWKDWUHDVRQWKDWWKH\ UHWKLV      %<$77251(<6&58**6
     WHDPLVOLPLWHGLQKRZPDQ\SRVLWLRQVWKH\KDYHDQGWKH\      4:HOOOHW VWKLQNDERXWDVLWXDWLRQRQWKH
     SDUWLFXODU\RXNQRZVRPHNLGVWU\DQGGRQ WPDNH        VSRUWVWHDPZKHUHDFRDFKFXWVDQDWKOHWHDIHPDOH
     WKHWHDP                                                     DWKOHWHZKRLGHQWLILHVDVIHPDOHDQGLQVWHDGLWIDYRUV
     %<$77251(<6&58**6                                          WKHFRDFK VRZQGDXJKWHUIRUH[DPSOH<RXZRXOG


                                                  3DJH                                                         3DJH
      4/HWPHWXUQ\RXWR\RXU'HFODUDWLRQ\RXU             FRQVLGHUWKDWDQDUELWUDU\H[FOXVLRQULJKW"
      LQLWLDOH[SHUW'HFODUDWLRQ,WKLQNLW V([KLELWDQG        $77251(<9(52))2EMHFWLRQ
      WKHQOHWPHWXUQ\RXWRSDUDJUDSKDQGMXVWUHDGWKH         7+(:,71(661R:H GKDYHWRNQRZD
      VHFRQGVHQWHQFHZKLFKVD\VLIDWKOHWHVDUHDUELWUDULO\       ZKROHORWPRUHDERXWWKDWVLWXDWLRQ
      H[FOXGHGIURP\RXWKVSRUWVWKH\DUHLQWXUQGHSULYHG        %<$77251(<6&58**6
      RIWKRVHSRVLWLYHH[SHULHQFHVDQGRXWFRPHVDQGWKHLU           42ND\
      WHDPPDWHVDUHGHSULYHGRIDJHQHUDOO\WDVNLQYROYLQJDQG       $0D\EHWKHFRDFK VGDXJKWHUGHVHUYHVWREHRQ
      FDULQJVSRUWVFOLPDWH'R\RXVHHWKDW"                       WKHWHDPDQGLIWKHWHDPFDQRQO\KDQGOHVRPDQ\PD\EH
      $,GR                                                 WKDW VKRZLWKDGWREH%XWWRPDNHWKHDVVXPSWLRQ
     4$QGDUH\RXUHIHUULQJWRDOODWKOHWHVWKHUH"         WKDWEHFDXVHLWZDVWKHFRDFK VGDXJKWHUWKDWLWZDVQ W
     $,WKLQNWKHSRLQWLVDUELWUDULO\WKHUH              DIDLUSURFHVV
     48KKXK \HV                                         4, PDVVXPLQJWKDWZDVWKHRQO\UHDVRQWKDWWKH
     $5LJKWWKHQVRLIZH UHMXVWVD\LQJZH           DWKOHWHVKDYHEHHQFKRVHQDQGVRPHRQHHOVHLVH[FOXGHG"
     VKRXOGKDYHDFXWSROLF\EHFDXVHWKDW VQRWIDLUULJKW      $,QRWKHUZRUGVLIDFRDFKMXVWVD\V,GRQ W
     WKDW VQRWZKDW, PLQVLQXDWLQJKHUHULJKWMXVWVD\LQJ      OLNH\RX,GRQ WZDQW\RXRQP\WHDP
     EXWWRKDYHWKLVPDNHWKLVGHFLVLRQWKDWDVD             4([DFWO\
     EODQNHWVWDWHPHQWWKDWFHUWDLQJURXSRIDWKOHWHVFDQ W        $,WVHHPVOLNHWKHUHZRXOGEHJXLGHOLQHVLQSODFH
     SDUWLFLSDWHFDQ WWU\RXWFDQ WSDUWLFLSDWHWKHQ          IRUVRPHRQHWRDSSHDOWKDWWRWKH$WKOHWLF'LUHFWRUDQG
     \HV,WKLQNWKHVWDWHPHQWLVWUXH                           VRRQDQG\HDKWKDWGRHVQ WVRXQGOLNHLW GEHYHU\
     4<HV,WKLQNZHDUHVD\LQJWKHVDPHWKLQJ/HW      IDLUWRQRWJLYHVRPHRQHDFKDQFH
     PHDVNLWDQRWKHUZD\$JDLQIRFXVLQJRQWKH                4([DFWO\$QGWKDWNLQGRISULQFLSOHDSSOLHV
     DUELWUDULO\LIDOODWKOHWHVLIDQ\DWKOHWHLV            UHJDUGOHVVRIVRPHRQH VJHQGHULGHQWLW\"
     DUELWUDULO\H[FOXGHGWKDWFUHDWHVDSUREOHPLQ\RXU          $77251(<9(52))2EMHFWLRQ
     PLQG"                                                         7+(:,71(662ND\<HDK,I, P


                                                                                       3DJHVWR
                Case: 22-5807
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                                                   3DJH                                                         3DJH
      IROORZLQJ\RX\HV,WKLQN                                    7+(:,71(665LJKW,QKHUHQWZLWKLQ
      %<$77251(<6&58**6                                            VSRUWVXQIRUWXQDWHO\SDUWLFXODUO\DWWKHVHFRQGDU\
      4<HDK1RZVZLWFKLQJJHDUVVOLJKWO\\RX              OHYHOLVWKDWQRWDOOVFKRROVDUHLQDSRVLWLRQWROHW
      PHQWLRQHGWRJREDFNOHW VJREDFNDFWXDOO\WR          HYHU\FKLOGSDUWLFLSDQWZKRZDQWVWRULJKWDQGVR
      \RXUH[SHUWUHSRUWSDUDJUDSK$QGDJDLQWKDWODVW         WKHUHLVDFXWSROLF\3HUVRQDOO\EHFDXVHRI
      VHQWHQFHWKDWWUDQVJHQGHUVWXGHQWVDUHDUELWUDULO\              HYHU\WKLQJ, YHRXWOLQHGWRGD\,ZLVKHYHU\VFKRRO
      H[FOXGHGZKDWLVWKHVLWXDWLRQZKHQDWUDQVJHQGHU              GLVWULFWZDVGRLQJHYHU\WKLQJSRVVLEOHWRLQFOXGHDV
      VWXGHQWLVQRWDUELWUDULO\H[FOXGHGIURP\RXWKVSRUWV           PDQ\NLGVDVPDQ\DWKOHWHVDVWKH\FRXOGULJKWEXW
      RUOHWPHVWULNHWKDW/HWPHUHSKUDVH                    WKDW VQRWWKHUHDOLW\%R\VDQGJLUOVWU\RXWIRU
     :KDWLVDVLWXDWLRQWRXVH\RXUWHUP                WHDPVDQGWKH\JHW\RXNQRZWKH\GRQ WPDNHLW,
     WUDQVJHQGHUVWXGHQWGRHVQ WPDNHWKHVSRUWVWHDPDQG           MXVWVDZWKLVFOLSWKLVZHHNHQG%LOO\0LOOV2O\PSLF
     WKDW VQRWDUELWUDU\"'LG\RXKHDUWKDWTXHVWLRQ"             JROGPHGDOLVWULJKWKHZDVFXWIURPKLVWUDFNWHDPDV
     $6RUU\,WKRXJKWWKHFRXUWUHSRUWHUZDVDVNLQJ        DIUHVKPDQULJKW6RWKDWKDSSHQV$QG, P
     IRULWWREHUHSHDWHGRUVRPHWKLQJ                            GLVWLQJXLVKLQJWKDWIURPMXVWDUELWUDULO\VD\LQJWKLV
     41R, PVRUU\                                       ZKROHJURXSRIDWKOHWHV\RXGRQ WKDYHWKHULJKWWR
     $1RWKDW VRND\,ORVWVRPHWKLQJRND\6R         HYHQWU\RXWIRUWKHWHDP
     \RX UHVD\LQJIRUH[DPSOHDWUDQVIHPDOHDWKOHWHWULHV        %<$77251(<6&58**6
     RXWIRUDIHPDOHDWKOHWLFWHDPDQGGRHVQ WPDNHLW"           4%XWLQWHUPVRIWDNLQJDGYDQWDJHRIWKHEHQHILWV
     4, PDVNLQJLVWKDWDQH[DPSOHRIDQRQDUELWUDU\      DVVRFLDWHGZLWKVSRUWVLW VQRWVRPXFKZK\VRPHRQHLV
     H[FOXVLRQ"                                                     H[FOXGHGEXWMXVWWKHIDFWWKDWWKH\DUHH[FOXGHG"
     $<HV,QJHQHUDO,ZRXOGVD\\HVZLWKRXW           $77251(<9(52))2EMHFWLRQDVNHGDQG
     KDYLQJPRUHGHWDLOVDOOULJKWEXWLWGRHVQ W             DQVZHUHG
     WUDQVDWKOHWHVULJKWZRXOGMXVWKDYHWKHULJKWWRWU\         7+(:,71(66,ZRXOGVD\LW VLPSRUWDQW
     RXWWKHULJKWWR\RXNQRZSRWHQWLDOO\SDUWLFLSDWH          WRFRQVLGHUZK\WKH\DUHH[FOXGHG


                                                   3DJH                                                         3DJH
      EXWLWGRHVQ WPHDQWKDWHYHU\RQHZRXOGPDNHWKHWHDP          %<$77251(<6&58**6
      4*RWLW6RWKDWVLWXDWLRQZKHUH\RXKDYHWKH          42ND\
      PDOHDWKOHWHZKRLGHQWLILHVDVIHPDOHULJKWDQGMXVW          $QGZK\LVWKDWLPSRUWDQW"
      GRHVQ WPDNHWKHWHDPGRWKH\ORVHRXWRQWKH                  $%HFDXVH,EHOLHYHLW VKDUPIXOWRMXVWKDYHD
      H[SHULHQFHVDQGRSSRUWXQLWLHVDVVRFLDWHGZLWK                   EODQNHWH[FOXVLRQRIDJURXSRIDWKOHWHVOLNH
      SDUWLFLSDWLQJLQVSRUWV"                                        WUDQVDWKOHWHVWRVD\\RXGRQ WKDYHWKHULJKWWR
      $77251(<9(52))2EMHFWLRQ                     SDUWLFLSDWHLQ\RXUVFKRRODFWLYLWLHVWRWU\RXW
      7+(:,71(66<HDKLWGHSHQGV<RX             ULJKWDQGWREHSDUWRIWKHVHWHDPVDQGDFWLYLWLHV
      NQRZVRPHPLJKWSDUWLFLSDWHLQDQRWKHUVSRUWULJKWRU        4:HOO, PDVNLQJZLWKUHVSHFWWR\RXUH[SHUWLVH
     ILQGDQRWKHUDYHQXHEXWWKHSRWHQWLDOLVWKHUHIRU            DERXWEHQHILWLQJIURPWKHRXWFRPHDQGDGYDQWDJHVRI
     WKDW\HDK                                                    SDUWLFLSDWLQJLQVSRUWV,WVHHPVWRPHWKDWDQ\W\SH
     %<$77251(<6&58**6                                           RIH[FOXVLRQIURPVSRUWVZDVE\GHILQLWLRQPD\EHFDQQRW
     46RLQDVLWXDWLRQZKHUHWKHUHLVQRRWKHU             WDNHDGYDQWDJHRIWKLVRSSRUWXQLW\WREHQHILW,VQ W
     RSSRUWXQLW\RUDYHQXHEXWZHDUHVD\LQJWKDWDWKOHWH          WKDWFRUUHFW"
     MXVWFDQ WPDNHWKDWWHDPEHFDXVHWKH\MXVWGRQ WKDYH         $77251(<9(52))2EMHFWLRQ$VNHGDQG
     WKDWDWKOHWLFVNLOOLQWKDWVLWXDWLRQWKH\ZRXOGORVH         DQVZHUHG
     RXWRQWKHRSSRUWXQLW\RXWFRPHVDVVRFLDWHGZLWK                7+(:,71(661R, PVSHDNLQJ
     SDUWLFLSDWLQJRQWKDWWHDP"                                    VSHFLILFDOO\DERXWVSRUWEHFDXVHWKDW VZKDW VRQWKH
     $77251(<9(52))2EMHFWLRQ                    WDEOHLQWKLVFDVHEXW\RXNQRZVRPHERG\HOVHPLJKW
     %<$77251(<6&58**6                                            UHDOO\H[SHULHQFHDFDULQJWDVNLQYROYLQJFOLPDWHDQG
     46RWKHZRUGDUELWUDU\GRHVQ WUHDOO\GHWHUPLQH        KDYHJUHDWRSSRUWXQLWLHVLQRWKHUDFWLYLWLHVRIVFKRRO
     ZKHWKHUVRPHRQHEHQHILWVIURPWKHH[SHULHQFHDQG               WKDWWKH\ UHSDVVLRQDWHDERXWOLNHVFKRRORUPXVLF
     RXWFRPHVRISDUWLFLSDWLQJLQ\RXWKVSRUWV"                     ULJKW%XWLIOLNH%3-LIKHUSDVVLRQLVVSRUW
     $77251(<9(52))2EMHFWLRQ                    ZDQWLQJWRUXQWUDFNULJKWWKHQDQGWKHUH VMXVWD


                                                                                        3DJHVWR
                Case: 22-5807
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                                                   3DJH                                                        3DJH
      EODQNHWVWDWHPHQWVD\LQJ\RX UHQRW\RXFDQ W\RX         FRQVLGHU\RXWKVSRUWWKURXJKKLJKVFKRRODQGZHZRXOG
      FDQ WWU\RXWIRUWKHZRPHQ VWUDFNWHDPULJKWWKHQ           VHSDUDWHWKDWIURPFROOHJLDWHVSRUW
      WKDWZRXOGSUHYHQWKHUIURPWKHSRWHQWLDOEHQHILWVWKDW         %<$77251(<6&58**6
      VKHFRXOGEHUHDSLQJULJKWDQGMXVWHQKDQFLQJKHU             4'R\RXWKLQNLWZRXOGEHZURQJWRVD\WKDWZH
      VFKRROH[SHULHQFH                                              VKRXOGQRW\RXNQRZVWULNHWKDW
      4*RWLW/LNHWKHPDOHWKDWLGHQWLILHVDVPDOH         'R\RXWKLQNWKDWZHVKRXOGQ WJHDUDWKOHWLFRU
      DQGFDQ WSDUWLFLSDWHRQHLWKHUWKHPDOHVVSRUWVWHDPRU        FROOHJHVSRUWVWRLQFOXGHDOOSDUWLFLSDQWV"
      WKHIHPDOHVSRUWVWHDP"                                         $77251(<9(52))2EMHFWLRQ
      $77251(<9(52))2EMHFWLRQ                     7+(:,71(66<RXNQRZDWDSODFHOLNH
     7+(:,71(665LJKW7KHGLVWLQFWLRQLV        WKH8QLYHUVLW\RI.DQVDVZKHUH,DPZHKDYHGLIIHUHQW
     WKDWKHFDQSDUWLFLSDWHRQWKHPDOHWHDP+HFDQWU\          OHYHOVDQGVR\RXKDYHWKH'VSRUWULJKWDQGWKHQ
     RXWULJKWMXVWOLNHWKHWUDQVJHQGHUIHPDOHFDQWU\RXW       \RXKDYHFOXEVSRUWZKHUHSHRSOHZKRGRQ WKDYHWKH
     IRUWKHZRPHQ VWHDPEXWWKHUH VQRJXDUDQWHHWKDWWKH        VNLOOOHYHORUWKHH[SHULHQFHWRSOD\D'VSRUWFDQ
     DWKOHWHVPDNHWKHWHDP                                        WU\RXWIRUWKHFOXEVSRUWWKRVH,WKLQNWKHUH V
     %<$77251(<6&58**6                                           OLNHWHDPVRUPD\EHPRUHZHKDYHDQGWKHVNLOOOHYHO
     4([DFWO\6R,PHQWLRQHGWR\RXWKDW,UHSUHVHQW      DPRQJWKRVHVSRUWFOXEWHDPVUHDOO\YDULHVULJKW<RX
     /DLQH\$UPLVWHDG$QG,ZLOOUHSUHVHQWWR\RXWKDWVKH        JRWVRPHWKDWDUHQRWKLWDQGJLJJOH\RXNQRZMXVW
     LVDIHPDOHVRFFHUSOD\HURQWKH:HVW9LUJLQLD6WDWH           HYHU\RQH VZHOFRPHDQGWKH\GRQ WKDYH\RXNQRZD
     8QLYHUVLW\VRFFHUWHDP1RZ,WKLQNHDUOLHU\RX              FXWSROLF\2WKHUVDUHSUHWW\FRPSHWLWLYHDQGPD\EH
     PHQWLRQHGWKDW\RXUHYLHZHGVRPHGRFXPHQWVLQWKHFDVH        FRPSHWLQJDWQDWLRQDOOHYHOV
     'LG\RXKDSSHQWRUXQDFURVVDQ\GRFXPHQWVPHQWLRQLQJ          %XW\RXKDYHDQRWKHUOHYHORILQWHUPXUDOV
     0V$UPLVWHDG"                                                 WKDWLVRSHQWRHYHU\VWXGHQWRQFDPSXVFDQVLJQXS
     $<HV,UHDGKHUVWDWHPHQW,W VEHHQDOLWWOH        EHFDXVHWKH\ZDQWWRSOD\ZKDWHYHULWLVEDVNHWEDOORU
     ELWRIWLPHVR,PLJKWQHHGWREHUHIUHVKHGRQLWEXW        LQGRRUVRFFHURUVRPHWKLQJ6R,WKLQNLGHDOO\\RX


                                                   3DJH                                                        3DJH
      ,GLGWDNHDORRNDWWKDW                                      NQRZXQLYHUVLWLHVVKRXOGRIIHUORWVRIRSSRUWXQLWLHV
      42ND\                                                  IRUSHRSOHWRSDUWLFLSDWHLQVSRUW
      :HOOOHWPHJRWR([KLELWSDUDJUDSKRI         ,WLVQRWUHDOLVWLFWKDWHYHU\VWXGHQWRQ
      \RXUH[SHUWUHSRUW                                             FDPSXVFRXOGSDUWLFLSDWHLQ\RXNQRZ'VSRUWRU
      9,'(2*5$3+(5:KDWQXPEHUGLG\RXVD\          ZKDWHYHUWKHOHYHO\RXNQRZDVFKRROPLJKWKDYH
      &RXQVHO"                                                        %<$77251(<6&58**6
      $77251(<6&58**63DUDJUDSK                 46R'RFWRULIZHKDGDPDOHWKDWLGHQWLILHVDV
      9,'(2*5$3+(57KDQN\RX                        IHPDOHLWZRXOGQ WEHSUREOHPDWLFWRH[FOXGHWKDW
      %<$77251(<6&58**6                                            SHUVRQIURPWKHIHPDOHFROOHJLDWHWUDFNWHDP"
     4$QGLWVD\VWKHFOLPDWHRI\RXWKVSRUWPXVWEH        $77251(<9(52))2EMHFWLRQ
     JHDUHGWRLQFOXGHDOOSDUWLFLSDQWVVRWKHWHDPVDUHPRUH       7+(:,71(66,WKLQNLWGHSHQGVRQZKDW
     OLNHO\WRKHOSHYHU\DWKOHWHPD[LPL]HWKHLUSRWHQWLDO         WKHUXOHVDUHLQSODFHEXWLIWKLVWUDQVJHQGHUIHPDOH
     )URPDQHGXFDWLRQDOSHUVSHFWLYHLWLVRSWLPDOWR               PHHWVWKHFULWHULDDQGSDUWLFLSDWHVULJKWWKDWWKDWLV
     HQFRXUDJHDOODWKOHWHVWRGRWKHEHVWWKH\FDQDQGWR          JUHDW
     KHOSDOODWKOHWHVHQMR\WKHVSRUWWKDWWKH\ORYH              %<$77251(<6&58**6
     'LG,UHDGWKDWFRUUHFWO\"                            4:HOODJDLQDVVXPLQJWKHUXOHVDUHWKH
     $<HV                                                  UXOHVRI:HVW9LUJLQLDDUHLQSODFHDQGVD\VZHQRZ
     46R,DVVXPHWKDWZRXOGLQFOXGH0V$UPLVWHDGLQ       UHTXLUHDOOQDWDOPDOHVWRSDUWLFLSDWHRQWKHPDOHWHDP
     \RXURSLQLRQ                                                  UDWKHUWKDQRQWKHIHPDOHWHDPZK\FDQ WZHMXVWWHOO
     &RUUHFW"                                              WKHPDOHFROOHJHDWKOHWHVWRLGHQWLI\DVIHPDOHVWKH\
     $77251(<9(52))2EMHFWLRQ                    FDQJRSOD\RQWKHFOXEVSRUWVFOXEWHDP"
     7+(:,71(66,WKLQNVRPHRIWKHLGHDV         $77251(<9(52))2EMHFWLRQ
     KROGEXW\RXNQRZZHZHUHUHIHUULQJKHUHWRWKH              7+(:,71(66,WKLQNWKHWUDQVJHQGHU
     FOLPDWHRI\RXWKVSRUW7\SLFDOO\LQRXUILHOGZH             IHPDOHDWKOHWHVKRXOGKDYHWKHULJKWWRSDUWLFLSDWHRQ


                                                                                        3DJHVWR
                Case: 22-5807
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                                                   3DJH                                                                   3DJH
      ZKLFKHYHURIWKRVHOHYHOVWKDWWKH\ZDQWWRSDUWLFLSDWH        $77251(<*5((17KLVLV5REHUWD*UHHQRQ
      RQ5LJKW7KHIHPDOH'WHDPWKHVSRUWVWHDPWKH          EHKDOIRI:HVW9LUJLQLD6HFRQGDU\6FKRRO$FWLYLWLHV
      LQWHUPXUDOWHDPWKH\VKRXOGKDYHWKHULJKWWRWU\RXW         &RPPLVVLRQ,KDYHQRTXHVWLRQV
      DVORQJDVWKH\PHHWWKHFULWHULDWKDW VLQSODFH             $77251(<025*$17KLVLV.HOO\0RUJDQRQ
      %<$77251(<6&58**6                                           EHKDOIRIWKH:HVW9LUJLQLD%RDUGRI(GXFDWLRQDQG
      4'R\RXIHHOWKDW0V$UPLVWHDGVKRXOGKDYHWKH        6XSHULQWHQGDQW%XUFK,KDYHQRTXHVWLRQV
      ULJKWWRSDUWLFLSDWHRQWKHIHPDOHZRPHQ VVRFFHUWHDP"        $77251(<75<21$QGWKLVLV'DYH7U\RQ
      $77251(<9(52))2EMHFWLRQ                    ,KDYHQRIXUWKHUTXHVWLRQVXQOHVVWKH'HIHQVH&RXQVHO
      7+(:,71(66<HV                              GRHV([FXVHPH3ODLQWLII V&RXQVHO
     %<$77251(<6&58**6                                          $77251(<9(52))1RZHGRQ WKDYHDQ\
     4'RFWRU)U\\RXZRXOGDJUHHWKDWLI0V              IXUWKHUTXHVWLRQV7KHZLWQHVVZLOOUHDGDQGVLJQ
     $UPLVWHDGORVWKHUVSRWRQWKHVRFFHUWHDPWRDPDOH          ODWHU
     VRFFHUSOD\ZKRLGHQWLILHVDVIHPDOH0V$UPLVWHDG           9,'(2*5$3+(52ND\
     ZRXOGEHGHSULYHGRIWKHSRVLWLYHH[SHULHQFHVDVVRFLDWHG      ,IWKHUH VQRIXUWKHUTXHVWLRQVWKDW
     ZLWKSDUWLFLSDWLQJRQWKDWVRFFHUWHDP"                       FRQFOXGHVWKLVGHSRVLWLRQ7KHFXUUHQWWLPHUHDGV
     $77251(<9(52))2EMHFWLRQ                   SP(DVWHUQ6WDQGDUG7LPH
     7+(:,71(665LJKW,IWKHWUDQVJHQGHU             
     IHPDOHLVPHHWLQJWKHFULWHULDWKDW VLQSODFHE\WKH         9,'(27$3(''(326,7,21&21&/8'('$730
     1&$$ULJKWDQGWKHQDQGPDNHVWKHWHDPDQGVRPHRQH            
     HOVHGRHVQ WPDNHWKHWHDPULJKW,ZRXOGVD\WKDW V      
     WKDW VSDUWRIVSRUWMXVWOLNH0V$UPLVWHDG,        
     WKLQNULJKWLIVKHWULHGRXWDQGVKHGLGQ WPDNHWKH     
     WHDPEHFDXVHWKHUH VRWKHUFLVIHPDOHDWKOHWHVWKDWKDGD   
     EHWWHUSHUIRUPDQFHRUPDGHWKHWHDPEXWHLWKHUZD\VKH    


                                                   3DJH                                                                   3DJH
      ZRXOGEHPLVVLQJRXWRQWKHEHQHILWVLIVKHGLGQ WPDNH         &20021:($/7+2)3(116</9$1,$
      WKHWHDP                                                       &2817<2)3+,/$'(/3+,$
      %<$77251(<6&58**6                                            &(57,),&$7(
      4$QGWKDW VQRWP\SRLQW,XQGHUVWDQG\RXU            ,1LFROH0RQWDJDQRD1RWDU\3XEOLFLQDQG
      DUJXPHQW,XQGHUVWDQGWKDWDVDPDWWHURIIDFWVKH          IRUWKH&RPPRQZHDOWKRI3HQQV\OYDQLDGRKHUHE\FHUWLI\
      ZRXOGORVHRXWRQWKHEHQHILWVDQGRSSRUWXQLWLHVIRU
                                                                       7KDWWKHIRUHJRLQJSURFHHGLQJVGHSRVLWLRQ
      SDUWLFLSDWLQJRQWKHVSRUWVWHDP
                                                                       RI0DU\')U\3K'ZDVUHSRUWHGE\PHRQ0DUFK
      $77251(<9(52)), PJRLQJWRREMHFWWR
                                                                       DQGWKDW,1LFROH0RQWDJDQRUHDGWKLVWUDQVFULSW
      &RXQVHOWHVWLI\LQJ
     %<$77251(<6&58**6                                            DQGWKDW,DWWHVWWKDWWKLVWUDQVFULSWLVDWUXHDQG
     4, PDVNLQJLI\RXDJUHHZLWKWKDW"                    DFFXUDWHUHFRUGRIWKHSURFHHGLQJ
     $77251(<9(52))2EMHFWLRQWRWKH              7KDWWKHZLWQHVVZDVILUVWGXO\VZRUQWR
     TXHVWLRQ                                                      WHVWLI\WRWKHWUXWKWKHZKROHWUXWKDQGQRWKLQJEXW
     7+(:,71(66<HDK, PDJUHHLQJWKDW           WKHWUXWKDQGWKDWWKHIRUHJRLQJGHSRVLWLRQZDVWDNHQDW
     DWKOHWHVWU\RXWIRUWHDPVDQGZKHQWKH\GRQ WPDNHLW       WKHWLPHDQGSODFHVWDWHGKHUHLQ
     LW VKDUGIRUWKHPWRUHDSWKHEHQHILWVRIEHLQJSDUWRI       ,IXUWKHUFHUWLI\WKDW,DPQRWDUHODWLYH
     WKHLUWHDPLIWKH\\RXNQRZGRQ WSDUWLFLSDWHDQG            HPSOR\HHRUDWWRUQH\RIDQ\RIWKHSDUWLHVQRUD
     DUHQ WSDUWRIWKDW
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     $77251(<6&58**6,XQGHUVWDQG,KDYH
                                                                      LQWHUHVWHGGLUHFWO\RULQGLUHFWO\LQWKLVDFWLRQ
     QRIXUWKHUTXHVWLRQV7KDQN\RX'U)U\
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                                                                      'DWHGWKHGD\RI$SULO
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     (GXFDWLRQDQG6XSHULQWHQGDQW'RUD6WXWOHU,KDYHQR     
     TXHVWLRQV                                                 



                                                                                                 3DJHVWR
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     DJUHHG                DQVZHUHG                  
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                                           
     DJUHHPHQW                           DSSOLHV          
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                                   DSSUHFLDWH      DUHQD 
                                       DUJXH 
     DKHDG                                   DUJXPHQW
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                DOORZLQJ                 DSSURDFK         
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                            DQWLFLSDWH     DSSURSULDWH      
                DOWHUQDWH                          
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                                DSSURYHG        DUURZ 
     DLP        $PHULFDQ                            DUWIXOO\
                                 $SULO        
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               DQGRU                       
     DLPV                           DUELWUDULO\      
     DO      $QGUHZ                          
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     DOLJQ                               
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     DOLJQV     DQRQ\PLW\                           
     DOO$PHU               DQ\ZD\              
              DQRQ\PRXV                           
                                   DUELWUDU\       DUWLFOHV
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     DWWHQGLQJ                                 
                                       
     DWWHQWLRQ                            
                                           
     DWWHVW                              
     DWWLWXGH                                   
                                         
     DWWRUQH\                              
                                            
                                      
                                     
                                   
                                    
                                    
                                          
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                                       
                                           
                                  
                                  
                                      
                                           
                                   
                                           
                                       
                                     
                                    
                                    
                                  
                                  
                                    
                                 
                                     
                                 
                                 
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                         DXWKRUL]               EDODQFH
                                         
                       DXWKRUV                   
                                        
                                             
                   DYDLODEOH              
                                         
                    DYHQXH                    
                                       
                                      EDODQFHG
                  DYHUDJH               
                                       
                       DYRLG                
                                     EDODQFLQJ
                      DZDUH                
                                     
                                    
                                     
                                         
                                         EDOO 
                                      EDOOSDUN
                                            
                                           
                                              EDU 
                                         EDUEHFXH
                                       
                                           EDVH 
                                       
                                            EDVHEDOO
                     DZIXO             
                    $=                  EDVHG 
                                        EDFNERDUG         
                          %                    
                       %3-       EDFNJURXQG        
                     EDE\                  
                  %DFKHORU V                 
                               EDFNKDQG         
                    EDFN                   
                          EDFNV        
                            EDG        
                                           
                                       
                                      
                                             EDVLF 
                                     
                                   %DLOH\       EDVLFDOO\
                             %DODJXHU         
            DWWRUQH\V                     
                                      EDVLV 
            DXWKHQWL                           
                                         EDVNHWEDOO
            DXWKRU                         
                                             
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                                        %LOO\ 
     EDW         EHQHILFLDO                      ELQDU\ 
     EHDW                                  
               EHQHILW                              ELRORJLFDO
                                             
                                        
     EHDWLQJ                                 
     EHFRPLQJ                                    
                                             
     EHGURRP                        EH\RQG       
     EHGWLPH     EHQHILWLQJ                         
     EHJ                                   
     EHJDQ      EHQHILWV                         
     EHJLQQLQJ                                     
                                                
                                             
     EHKDOI                         ELEOLRJU      
                                      
                                         
                                            
     EHLQJV                                      
                                           
     EHOLHI                            ELJ         
                                           
     EHOLHYH                                      
                                            
                                              
                                    
                                          ELRORJLF
                                             
                                          ELRORJ\ 
                                   ELJHQGHU         
                                            
                                              ELRPHFKD
                                    ELJJHU      
                          EHW                 
                                               
                          EHWWHU              ELUWK 
                                              
                                      
                                             
                                     
                            ELOO        
                                         
                                              
     EHOLWWOH                                   
                                             
     EHOO                                      
                                           
                                         
                           ELOOHG      
                EHVW                ELOOLQJ         ELW 
     EHQFK                                  
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                                               FDOOV 
            ERRN            EURNH         
                                         
                                EURXJKW            
               ERUQ                          
                                     FDPDUDGHULH
                                 %URZQ        
                ERWKHUHG               %UXHU       &DPEULGJ
                                 EXG            
               ERWWRP            EXLOG        FDPSV 
                                              FDPSXV
                                           
                         EUDFNHWV     EXLOGLQJ        
               %RXOHYDUG                           &DQDGD
                           EUDQFK                
     EODQNHW         ER[        EUHDN    EXLOGV             
               ER\                         &DQG\ODQG
                             EXOO\         
                          EXOO\LQJ          FDSDEOH
                                             
               ER\V            %XUFK         FDSDFLW\
                                      
                                                
                            %XUNGROO          &DSLWRO 
                                       FDSWLRQ 
                                 EXVLQHVV          FDUH 
                                                
                              EXWWHUIOLHV        
     EOLQG                                      
     EORFNHUV                  EULGJH   EX\           
                           %ULGJHSRUW   EX\LQJ             
                                                
     EOXU                 EULQJ                      
     EOXUUHG                              &           
                               &            
     ERDUG                               
                                &$             
                           FDOO          FDUHHU 
                                            
                                            FDUHIXO 
                                             FDUHV 
                                             FDULQJ 
                                                
     ERDUGV                                      
                                              
     ERDW                                      
     ERGLHG          %3-               FDOOHG        
                                             
     ERGLHV                                
                       EULQJLQJ                  
     ERG\                                   
                      EURDG   FDOOLQJ            
                         EURDGHU                    
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                                           
                FDWHJRULFDO     FHUWLILF                
                                         FKLOGUHQ
                                 FKDQJLQJ         
                                          
               FDWHJRUL                       
                           &HUWLILHG      FKDSWHU     FKRRVH 
               FDWHJRULHV                      
     &DUROLQD               FHUWLI\        FKDSWHUV         
                                            FKRRVHV
     FDVH                   FHUWLI\LQJ     FKDUDFWHU        
             FDWHJRUL]H                           FKRVHQ
                       &(6'     FKDUDFWH      
                FDWHJRUL]HG     FHWHUD                 FKXQN 
                         FKDOOHQJHV     FKDUDFWH     &KXWHV
            FDWHJRU\                       
                                         FLUFOHV
                                       
                         FKDOOHQJLQJ          FLUFXLW
                                        
                       FKDPSLRQ                   FLUFXPVW
                                    FKDUDFWH       
            FDXVH      FKDPSLRQ                 
                                   FKDUDFWH      
                         FKDQFH              FLVIHPDOH
               FDXVHV                        
               FDYHDW            FKDUJHG         FLVJHQGHU
            FHOHEUDWLRQ                          
                                 &KDUOHVWRQ        
               FHQWHU                       
                                               FLVPDOH
                                    FKDW        
                                               FLWDWLRQV
                FHQWHUHG        FKDQFHV                    
                                      FLWH 
               FHQWUDO         FKDQJH                  
                              FKHFN       
               FHUWDLQ                          
                                        FLWHG 
                                             
                                           FLWHV 
                                            &LW\ 
                                   FKHHUOHD      
                FHUWDLQO\                          &LYLO 
                                     FKHVW        
                                   FKLOG       FODLPHG
                         FKDQJHG                   
                                           FODULILF
     FDVHV                               
             &HUWLILFDWH                     FODULI\
                       FKDQJHV                    
                                       
                                        FODULI\LQJ
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                       FOXE               
     FODVV                           
                                       
                     &03&                  
                       FRFRXQVHO                
                                          FROOHJHV
     FODVVHV                   FR'HIHQ            
                                                
                           FRJHQGHU                 FROOHJLDWH
                                                
                        FRDFK                
     FODVVLIL                              
                                             
                                     FROXPQ
                                            
     FODVVLIL                        FRDFKLQJ         
                                            
                                         FRP 
     FODVVLILHG                                  FRPELQHG
                                        
                                    FRPH 
                                           
     FODVVLI\                                  
                                                
     FODVVURRP                                      
                                             
     FODXVH                         FRGH       
                            FRJQLWLYH        
                                               
                                      
                                    
                FOLPDWHV              FRLQFLGH         
                                           
     &/$<721                      FROOHDJXHV       
                                                  
     FOHDU                          FROOHFWHG        
             FOLQLFDO                          
                                FROOHJH          
                                                
     FOHDUO\         FOLS      FRDFK V                FRPHV 
               FORVH                        
     FOLFN                              
                          FRDFKHG                 
             FORVHG                      
                       &RDFKHU V                 
                                             
     FOLPDWH         FORVHO\     FRDFKHV                  
                                            
                                          FRPIRUWDEOH
            FORVHVW                             
                                         
                                          FRPLQJ 
                                               
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                FRPSDULVRQ                FRQFHUQHG       FRQIXVLRQ
                          FRPSHWLW               
                FRPSHQVD                      FRQQHFWHG
                                           
               FRPSHWH     FRPSHWLWLYH    FRQFHUQLQJ      &RQQHFWLFXW
                                            
                                     FRQFHUQV         
     FRPPHQW                                 
                                           
     FRPPHQWV               FRPSHWLW    &21&/8'('        
                                            FRQQHFWLRQ
     &RPPLVVLRQ                          FRQFOXGHV        
                      FRPSHWLWRU                
                                    FRQFXVVLRQ      FRQVHFXW
                           FRPSLODWLRQ                
                                       FRQVHQVXV
     FRPPLWWHG                  &RPSODLQW                 
                                           FRQVLGHU
     FRPPLWWHH                 FRPSOHWH       FRQFXVVLRQV       
                                        
                                                
                                   FRQGLWLRQ        
                                              
                                 FRQGXFWHG        
     FRPPRQ               FRPSOH[                FRQVLGHUHG
     &RPPRQZH                              
                                       FRQVLGHULQJ
                             FRQIHUHQFH       
     FRPPXQLFDWH                               
                FRPSHWHG        FRPSOLFDWHG               FRQVLVWHQW
     FRPPXQLF                          FRQIHUHQFHV       
                                              
     FRPPXQLF                                     
                FRPSHWHQFH      FRPSRQHQW                 
     FRPSDQLR                                    FRQVLVWH
                          FRPSXWHU       FRQILGHQFH        
                                          
                                                  
                FRPSHWHQW       FRQFHQWU           FRQVWUXF
     FRPSDUH                                      
                FRPSHWHV                            &RQVXOWDQW
                      FRQFHQWU                
                FRPSHWLQJ                FRQILGHQW       FRQW G 
                                          
                       FRQFHSWV                 FRQWDFW
                                             
                                    FRQIOLFW         
     FRPSDUHG                                    
                      FRQFHUQ                   FRQWDFWHG
                                             
     FRPSDULQJ                                    
                                   FRQIOLFWV       FRQWHQWLRQ
               FRPSHWLWLRQ                          
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     FRQWHVW                   FRUUHODWHV               FUHDWHG
               FRQYROXWHG                           
                              FRXSOH      
     FRQWHVWLQJ      FRRO        FRUUHODWLRQ                 
                                            FUHDWHV
     FRQWH[W         &RROH\                            
                        FRUUHVSRQGV    FRXUDJH          
                                               
                        FRUWLVRO                  
                 FRSH            FRXUVH      FUHDWLQJ
               FRSLHV                            
                                           
               FRSLQJ                               FUHGHQWLDO
                      &RUWLVROH                  
                                               FUHGHQWLDOV
                          FRXQVHO    FRXUVHV          
     FRQWLQXH        FRS\                          
                                     FRXUW        FULVS 
                                     FULWHULD
               FRUGV                   
               FRUH                       
                FRUUHFW                    
                                        
                                          
     FRQWLQXHV                                   
                                          
     FRQWLQXLQJ                                      
                                           FULWLFDO
     FRQWLQXXP                                       
                                           
     FRQWUDVW                                 
                                        &URSS 
                               FRYHU       
                         FRXQVHOHG                  
                              FRYHUHG     FURVV 
     &RQWULEX               FRXQVHOLQJ                 
                                                
     FRQWURO                   FRXQVHORU      FRYHUV      
                                     &29,'     FURVVFR
               FRUUHFWHG       &2816(/6       FUDZOLQJ         
                                                 
            FRUUHFWO\       FRXQW     FUD]\        
                        FRXQWULHV              
                                           
                                               
     FRQWURYH                FRXQWU\        FUHDWH      
                                        
     FRQWURYHUV\                                      
               FRUUHFWV                        FURVVHV
     FRQYHUVD                &RXQW\                 
                FRUUHODWHG                      FUXFLDWH
                                        
     FRQYLQFH                                &65 
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     &VXWRURV                            GHILQLQJ         
            'DQD       GHFLGHV                  GHSRVLWLRQ
     &XPPLQJV                                        
                         GHFLVLRQ       GHILQLWHO\        
     FXUUHQW                                    
                                         
                                            
                'DQD#PLG                            
                                           
              GDWD                             
                                          GHSUHVVLRQ
                       GHFLVLRQV                 
                                           
                                           
            GDWH              GHILQLWLRQ       
                         'HFODUDWLRQ              
                                         
                                            
     FXUUHQWO\       'DWHG                   
            GDXJKWHU                     
     FXUVRU                                'HSULYH
                                        
                'DYH                           GHSULYHG
     FXUVRU\                    GHFUHDVHG                 
             'DYLG                            
                           GHGLFDWLQJ                
     FXUYH                                     
               GD\         'HIHQGDQW      GHJUHH      
                                             
                                           GHSWK 
     FXUYHV                                  GHVFULEH
                        'HIHQGDQW V    GHO       
                                   GHPRQVWUDWH     GHVFULELQJ
     FXW        GHPRWLY     'HIHQGDQWV             
                                              GHVFULSWLYH
             GHDO                  GHSDUWPHQW       
                                               
                      'HIHQGDQWV               GHVHUYHV
                                 GHSHQG      
                      'HIHQGLQJ      GHSHQGV         GHVLJQDWHG
     FXWV                                       
     FXWWLQJ                    'HIHQVH                
                                              GHVLJQDWHV
     F\FOHV     GHDOLQJ         GHILQH                
                                                 
           '                                        GHVLJQHG
     '                                       
             GHEDWH                        GHVLUH 
                                             
                GHFDGH     GHILQHG                    
     '       GHFLGH                          
                      GHILQHV        GHSRVHG         GHVSLWH
                                                
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     GHWDLO                        GLVUXSWLRQ       
                                               
     GHWDLOV                          GLVVHUWD     GRFXPHQW
                           'LUHFWRU                    
                                               
     GHWHUPLQH              GLVDELOL               
                                            
                          GLVDGYDQ               
                                          
                                     GLVWLQFWLRQ      
     GHWHUPLQHG                GLVDJUHH                    
                                              
                             GLVWLQJXLVK     GRFXPHQWV
               GLIIHUHQW                             
                                             
     GHYHORS                                          
                               GLVWLQJX      
                                      
                                  GLVWUDFWHG       
     GHYHORSHG                  GLVDJUHHLQJ                
                                GLVWUDFWLRQ      
     GHYHORSLQJ                GLVDSSRL               
                                   GLVWUDFW     GRLQJ 
     GHYHORSPHQW               GLVFRXUD               
                                              
     GHYHORSP                          GLVWULFW       
                         GLVFULPL             
                                                
     GHYHORSP             GLVFULPL                
                                    GLVWULFWV        
     GHYLDWLRQ                 GLVFXV                
                      GLVFXVVHG      GLVWXUELQJ       
                                                 
     GLDJQRVHG                            GLYLGH       
                          GLVFXVVLQJ     GLYLGHG         GROODUV 
     GLDJQRVLV       'LIIHUHQ                          GRPDLQ
                           GLVFXVVLRQ                 
     'LDQH      GLIILFXOW                 GLYLGHV          
     GLFWLRQDU\                                    GRRU 
                                  GLYLVLRQ        'RUD 
                 GLIILFXO                            
     GLIIHUHQFH                                     
            GLIILFXOW\      GLVFXVVLRQV               GRXEOH 
                               GRFWRU       
                'LJLWDO                             
                      GLVSODFH                  
             GLUHFW                          GRXEW 
                        GLVSXWH                   GRZQORDG
                                            
            GLUHFWLRQ       GLVSXWLQJ      GRFWRUDO        GRZQV 
                                             'U 
               GLUHFWO\        GLVUHVSH              
     GLIIHUHQFHV                         GRFWRUV      
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                               HOLPLQDWHV      HQKDQFLQJ
     GUDJ                                   
                HDV\                 HOLWH      HQMR\ 
     GUDJJHG                                       
               HFRQRPLF                           
     GUDZHU                                  HQMR\HG
     GULYHV          HGLW                (OL]DEHWK        
               HGXFDWLRQ                       
     GULYLQJ                                   (QMR\PHQW
                                   (PEDUFDGHUR      
                                             
     GUXJV                        HPEDUUDV     HQODUJH
     'XGD                                      
     GXH                        HPEUDFH         HQWLUH 
     GXO\                                      
                                HPEUDFLQJ       HQWLUHW\
     GXUDWLRQ                                     
                                HPHUVHG         HQWLW\
                                                
     G\VIXQFWLRQ                 HPRWLRQDO       HQWUDQFH
                                           
     G\VSKRULD                                   HQYLURQPHQW
                                 HPRWLRQV         
                                                 
           (                                     
     (       HGXFDWLRQDO               HPSDWK\           
                   HJRSURP                
                                            
     (                   HLJKW                
     HDUOLHU                      HPSKDVLV         
                                       
                                              
                           HLJKW\H                
                                     HPSKDVL]H        
               (GXFDWRUV       HLWKHU               
     HDUO\                       HPSOR\HG         
                HIIHFW                            HQYLURQP
     HDVLHU                      HPSOR\HH         
               HIILFDF\                          
     HDVLO\                      HQFRPSDVVHG     HQYLVLRQ
               HIIRUW                            
     (DVW                             HQFRXUDJH       (SLGHPLR
                                                 
     (DVWHUQ                                 HSLWRPH
                                             
                                HQGHDYRU        HTXDO 
                                             HTXDWLQJ
                         HOHPHQWDU\     HQGHG      
                                   HQIRUFH         HVSHFLDOO\
            HJR                            
                         HQKDQFH         (648,5( 
                    HOLPLQDWH                 
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            H[DFWO\         H[FOXGH        H[FOXVLYHO\     ([KLELW
                                          
     HVVHQWLDOO\                      H[FUXFLD     H[KLELWV
                                               
     (VVHQWLDOV                       H[FXVH     H[SDQG 
                                            H[SHFW 
     HVWDEOLVK                                       
                       H[FOXGHG                  H[SHFWHG
                                               
     HVWDEOLVKHG     H[DJJHUD                      H[SHQGHG
                                                
               H[DP                          H[SHULHQFH
                                            
     HW                       H[HUFLVH         
                                             
               ([DPLQDWLRQ                       
     HWKQLF                                   
                                               
     HYDOXDWH                                   
                                H[KLELW       
               H[DPLQH                        
     HYDOXDWHG                                   
               H[DPSOH                        
     HYHQW                           
     HYHQWV                                 
                                           
                                        
     HYHU\ERG\                                 
                       H[FOXGHV                 
                                           
                          H[FOXGLQJ                 
                                              
                                               
                                            
     HYHU\RQH V                       ([KLELW        
                                        H[SHULHQFHG
     HYLGHQFH                  H[FOXVLRQ                 
                                ([KLELW       
                                               
                                         H[SHULHQFHV
             H[FHHGV               ([KLELW        
                                        
                ([FHOOHQW                            
                                        
                H[FHSWLRQV                            
                                    ([KLELW        
                                             
     HYLGHQW         H[FKDQJH                          
                                    ([KLELW        
     H[DFHUEDWHG     H[FLWHG                              H[SHULHQ
                             ([KLELW        
     H[DFW       H[FLWHPHQW      H[FOXVLRQV               H[SHUW 
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                            IDFXOW\           IDXOW\
             H[SODQDWLRQ               IDLUQHVV         
                    IDLU             IDYRULWH
                                    
                                     
            H[SRVXUH                          IDYRUV
                                           
                                           IHDU 
                                     IHDUV 
                                            IHDWXUHV
            H[SUHVV                               
                                            
            H[SUHVVHV                        IHHG 
                                        IHHGEDFN
                H[WHQVLYH                            
                                              
            H[WHQW                           IHHO 
                                   IDOO         
                                               
               H[WUHPHO\                IDOOV      
                                   IDPLOLDU          
           H[WULQVLF                          
                                          
               H\HV                        
                                                     
                      )                           
                )                                
                IDFHV                       
     H[SHUWLVH                         IDPLOLDULW\      
                IDFHWV                       
                IDFLOLWLHV            IDPLO\      
                                            
                                   IDQ        
             IDFW                  IDU         
                                        
                                            
                                               
                                       
                                            
                                           
                                           IHHOLQJ
                                  IDVKLRQ          
                                               
                                IDVW       
                                          IHHOLQJV
     H[SHUWV                              IDVWHU           
             IDFWRU                         
                                             
              IDFWRUV                            IHHOV 
                                 IDVWHVW          
                                               
     H[SODLQ                             IDWKRP           
                                         IHHV 
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                                              IOLS 
     IHOW                                   
     IHPDOH                                    IORRU 
                            ILUPV       
                        ILIWK              )ORULGD 
                                    ILUVW       
                        ILIWK\HDU              
                                           
                    ILJKWLQJ                  IORZ 
                                    
                      ILJXUH                IRFXV 
                                       
                IHPDOHV                           
                                              
                                             
                                              
                        ILOHG                 
                                      
                                     
                                             
                                           
                      ILOLQJ              
                          ILOO             
                   ILQDO                
                                               
                                        
                       ILQDOV                    
                                        
                         ILQDQFLDO                 
                                           
                     ILQG               IRFXVHG
                                             
                                        
                                             
                                             
                                   ILW         
                                         
                                            
                                           
                                ILWV        
                   ILQGLQJ    ILWWLQJ          
                                        
                      ILQGLQJV       ILYH        
                                                 
                       ILQGV                
                          ILQH                
                                          IRFXVHV
                       ILQJHU               
                          ILQJHUV                    
                IHPLQLQH                             IRFXVLQJ
                        ILQLVK              
            ILHOG               ILYH\HD      
                        ILQLVKHG                   
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                                   JDPH          
                                       
     IROGHU      IRXU                        
     IROORZ                   JDPHV         
                                            
                                            
     IROORZHG                         JDWKHULQJ          
                                          
                              JD\          
     IROORZLQJ       )R[                       
                )UDQFLVFR              JHDU          
                                  JHDUHG             
               IUHH                            
                                           *HQHUDO V
                          IXOILOOLQJ                
                                 JHDUV        JHQHUDOL
     IROORZV                    IXOO    JHQGHU        
                )UHHGRP                       JHQHUDOL]HG
                                             
     IRRO       )UHQFK                       JHQHUDOO\
     IRRW                                     
     IRRWEDOO        IUHTXHQWO\                            
                          IXOO\              
               IUHVKPDQ        IXQ                
                                         
               IULHQG                         
                                           JHQHUDWH
     IRUFH                                
                IULHQGV                             JHQHUDWHG
     IRUHJRLQJ                                    
                                           JHQHULF
     IRUHVHHDEOH                                    
                                          JHQHWLFV
     IRUP                                  
                                               JHQXLQH
     IRUPDO      IURQW      IXUWKHU                  
     IRUPV                                      
     IRUZDUG         IUXVWUDWHG                         JHQXLQHO\
                              JHQGHUV            
                                       JHWWLQJ
                                          
               )U\                          
                         )XUWKHUPRUH JHQHUDO          
     IRVWHU                                     
     IRVWHUHG                   IXWXUH                
                                              
     IRXQG                      *               JLIWHG 
                       *                      
                           JDLQ               JLJJOH
                                       
                       JDLQHG                 JLUO 
                      JDLQLQJ                    
                                               
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                                                  
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               JLYH                           
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     JLUO V                                  
                                    JRDO         
     JLUOV                                 
                                          
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                                                
                                 JRDOV       
                                           
                                             
                                    JRHV         
                                               
                                                
               JLYHQ                JRLQJ        
                                              
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                                                
            JLYHV                          
                                             
                                                
            JLYLQJ                                 
                                            
                                           
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                                               
             JODG                         
                                            
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               JR                               
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                                       
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                                              
               JRVK                            
                                              
            *RWFKD                         KDSSHQV
                JRYHUQLQJ                            
                                             
                                                
                JRYHUQPHQW               JXHVVLQJ         
                       *UHHQ                  
                                        
                               JXLGH       
                JUDE                        
                JUDFLRXV        *UHHQVERUR                KDSSLQHVV
     JROG                        JXLGHOLQHV       
                       JUHZ                KDSS\ 
                JUDGH                          
                          JULS                 
     JRRG                  *URVVEDU                 KDUG 
             JUDGHUV                               
                        JURXQG     JX\          
                               JX\V         
             JUDGHV                                 
                         JURXQGZRUN                 
            JUDGXDWH                   *\RUJ\       
                       JURXS                 
                                              
                JUDGXDWHG                             
                                                 
               JUDQW                     +         
               JUHDW              +            
                              +2*8(        
                                             
                                     KDOI        
                                       
                                            
                         JURXSHG        KDQG       
                                            
                          JURXSV              KDUGHU 
                                  KDQGOH           
                                                
                                              
                                   +DQGOLQJ         
                                           KDUGHVW
                                KDSSHQ      
                                   
               JUHDWHU                         KDUP 
                           JURZ                 
                                           
                               KDSSHQHG         
                       JXDUDQWHH              
                                           
                          JXHVV     KDSSHQLQJ       KDUPHG 
     JRRIHG                                   KDUPIXO
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                KHDU                          
                                   +RJXH 
                                         
                         KHOSHG            
                          KHOSIXO               KROG 
                                         
               KHDUG                     
                                        
     KDUPV                             
                        KHOSLQJ            
                                        KROOLVWLF
     +DUULVRQ                           
                                       KRPH 
            KHDULQJ                      KRQHVW 
                                       KRQHVWO\
     +DUWQHWW     KHDUW                     
                                      
     KDWH      KHDUWEHDW       KHOSV         KRQH\PRRQ
                                            
             KHDUWV          +HOVWURP         KRQRUDEOH
                                        
     KD]DUGV         +HDWKHU      KHVLWDWLQJ            KRSH 
                                           KRSHIXO
     +%      KHDYLHU         KH\                 
                                   +RSHIXOO\
                KHDYLO\                    
                                           
             +(/'                     KRSHV 
             +HOOR                        KRUPRQH
                                           
               KHOS                 KLJKHU   
                                           
                                         
                                       KRUPRQHV
                                           
                                       KRWHO 
                                            KRXU 
                                             
     KHDG                                  
                        +L               
                                          
                          KLJK      KLJKHVW      KRXUO\
     KHDGHG                             
     KHDGLQJ                                  KRXUV 
                             KLJKOLJKWHG   
     KHDOWK                               
                                   KLJKO\        
                                       
                                KLNH   +RXVH 
                               KLW   
                                           
     KHDOWK\                                    
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     KXJH                                  
     KXPDQ            LPSDLU               LQGLUHFWO\
     KXQGUHG                    LPSOLFDW    LQFOXGHG         
                                               LQGLYLGXDO
     +XQJDU\                    LPSO\               
                          LPSRUWDQFH                
     KXUW        LGHQWLI\                  LQFOXGHV          
     KXUWV                                    
     KXVEDQG                LPSRUWDQW              
                             LQFOXGLQJ        
                                         
     K\SRWKHVHV                                       
                                            LQGLYLGX
                                                    
           ,                                        
     LH                         LQFOXVLRQ       LQGLYLGX
                                           
     ,GDKR                                 LQGLYLGXDOV
                 LGHQWLI\LQJ                          
                                            
                                              
     LGHD                                      LQGRRU
                          LPSRVH     LQFOXVLYH        
                          LPSURYH               LQIHULRULW\
                                           
                                             LQIOXHQFLQJ
                                       
     LGHDO                                      LQIRUP
                                            
     LGHDOO\         LGHQWLWLHV                          LQIRUPDO
                          LPSURYHPHQW               
     LGHDV     LGHQWLW\                            LQIRUPDWLRQ
     LGHQWLIL                                     
                                             
                                          LQIRUPHG
                               LQFRPLQJ         
                          LPSURYLQJ                LQKHUHQW
                               LQFRUUHFWO\       
                                           
                          LQDFFXUDWH     LQFUHDVH          
     LGHQWLILHG                                    LQKLELWRUV
             LJQRUH          LQFDSDEOH      LQFXUUHG         
                                         LQLWLDO 
                LOOHJDO         LQFOXGH        LQGLFDWH          
     LGHQWLILHV                             LQLWLDOO\
               LPDJLQH                   LQGLFDWHG        
                                           LQLWLDOV
                LPSDFW                           
                                   LQGLFDWHV       LQMXUHG
                                            
                                LQGLFDWLRQ      LQMXULHV
                                                
            LPSDFWV                   LQGLIIHU      
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               LQWHUQHW                            MXQN 
                                      MXV 
                LQWHUSUHW                           MXVWLILF
                                        
                                              
            LQWHUUXSW                           MXVWLILHG
     LQMXU\                              MDPSDFNHG        
                         L3DG      
                                   -HIIHU\               .
               LQWHUVSH                       .DQJ 
                                    -HIIUH\      
     ,QQHU       LQWHUYHQLQJ     LVRODWHG                 .DQVDV 
     LQQLQJV                       -HUHP\            
     LQSXW               ,VUDHO               
     LQTXLU\         ,QWHUYHQRU      LVVXH      -LP     .DWHO\Q 
                                          
     LQVLJKW         LQWHUYHQ               -RKQ       .DWKOHHQ 
                                                 
               LQWHUYHQ                         NHHS 
     LQVLQXDWLQJ                          -RKQDWKDQ         
               LQWHUYLHZ                      
     LQVWDQFHV                                       
                LQWURGXFH                 -RKQVRQ      
     LQWHQWLRQDO                                  
                LQWURGXF               MRLQ         
     LQWHUDFW                         -RUGDQ           
                LQYHQWHG                            
     ,QWHUFRO               LVVXHV    MRXUQDO          
                LQYHVWHG                          
     LQWHUHVW                          MR\         
                                            
     LQWHUHVWHG      LQYROYH                  MXGJH       
                                                 
                LQYROYHG                          
                                              
                                            
     LQWHUHVWV                       MXGJLQJ         NHHSLQJ
                         LW G                 
               LQYROYHPHQW     LWDOLFV        -XOLH         
                                       .HOO\ 
                         ,WHP                   
                LQYROYLQJ       ,WHPV             
     LQWHUPXUDO                                         
                                 -                   NHSW 
     LQWHUPXUDOV            -DFNVRQ                
                                             NH\ 
     LQWHUQDOO\                 -DFRE                 
                                            
     LQWHUQDW                                 
                          -DNH    MXPS        
                           MXQLRU     NH\ERDUG
     LQWHUQDW                            
                                                 
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     NH\ZRUG                                   
                                              
     NLG                                   
     NLGV                                 
                                     NQRZLQJ
                                              
                                               
                                        
                                         NQRZOHGJH
                                            
                                         
                                              
                                           
            NLQGHUJD                 NQRZOHGJ
                                      
               NLQGQHVV                       
                                         NQXFNOH
                                               
                                                
             NLQGV                         NXGRV 
                                    
                NQHZ                               /
                                         / 
                                         /2&.
               NQRFNHG                             
                                           /8&.
               NQRZ                             
                                   ODEHOHG
                                      
                                ODFN 
                                        
                                        /DGGHUV
                                       
                                       /DLQH\ 
                                            
                                           
                                       /DPEGD 
                                         
     NLGV                                 ODQJXDJH
     NLQG                                      
                                        ODUJHU 
                                   ODVWLQJ
                                      
                                  ODWH 
                                                
                                           ODWHVW
                                            
                                            
                                           ODZ 
                                              
                                             
                                        
                                           
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     ODZV                                 OLWWOH 
               OHJLVODWXUH                        
     ODZVXLW                           
     OD\                                      
     OD\PDQ V                                     
                 OHJLWLPDWH                        
     OHDG                                    
                OHLVXUH                OLIHVSDQ       
                                           
             OHW V                 OLJDPHQW      
                                         
     OHDGHUV                       OLPLW    
                                    OLPLWHG   
                                        
                                      
     OHDGV                            
     OHDJXH                        
                                            
                                            
     OHDJXHV                   OHYHOV     OLPLWLQJ      
                                         
                                         
                                 OLQH     
                                            
     OHDQHG                                   
     OHDUQ                               
                                         
                                         
                                         OLYH 
                                 OLQHV   
     OHDUQHG                             OLQN      
                                          OLYHG 
     OHDUQLQJ                                  OLYHV 
                                       
                                    OLVW     
                                             OLYLQJ
                             OLVWHG   
     OHDYH                                   //3 
                         /LD        OLVWHQ    
                                   OLWHU   ORFDO 
     OHIW                     OLWHUDWXUH    
                                       ORFDWH 
                                         
     OHIWKDQG                               ORFN 
                                      ORJLF 
     OHJDO                              ORQJ 
             OHWWHU                             
                                            
     OHJLVODWLRQ                             
                             OLWLJDWLRQ    
     OHJLVODWRUV     OHYHO                     
                      OLIH           
                                              
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                                    ORZ           
               ORRNHG      ORW       ORZHU       
                                      
                                          
                                             
     ORQJODV                                   
                                       
     ORQJWHUP                                       
                                               
               ORRNLQJ           /3           
     ORQJHU                       OXFN      
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     ORRN                                      
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                               0D DP      
                                      0DLQ       
                                PDMRULW\         
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                                            
               ORRNV                PDNLQJ           
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                                              
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                                                
                                           
                                   PDODGDSWLYH      
                                          PDOH V 
               ORVH                 PDOH        
                                      PDOHV 
                                           
                           ORWV             
            ORVHU                        
                                             
               ORVHUV          ORXG             
                         ORXQJHV                 
                ORVHV                            
               ORVV      ORYH                  
                                           
               ORVW                        
                                           
                                            
                         ORYHG             
                         ORYHV             
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               PDUNHG                             
                   0F(QURH                   PHHWV 
                                       PHPEHU 
                     PHDQ                
                                          PHPEHUV 
                                                
                                     PHPRU\ 
                                        0HPSKLV
                                       
            PDUNHU                          PHQ 
                                           
               PDUNHW                            
                                  PHDQW       
               PDUNLQJ                           
                0DU\                              
                                          PHQ V 
                                             
                                        PHQVWUXDO
     PDQ                         PHDVXUDEOH       
                                          PHQWDO 
     PDQDJHDEOH      PDVFXOLQH               PHDVXUH          
                                         
     PDQDJHPHQW                                   
                PDVV                            
     PDQGDWRU\                                PHQWLRQ
               PDVVLYH              PHDVXUHG         
     PDQHXYHU        0DVWHU                          
               0DVWHU V                             
     PDQLSXODWH                                     PHQWLRQHG
                              PHDVXUHV          
     PDQWUD      PDWFK                             
     PDSSLQJ                                    
               PDWHULDOV                 PHGDO       
     PDUDWKRQ                             PHGDOLVW         
                                             
            PDWK                        
                 PDWWHU                         
     PDUDWKRQV                           PHGDOV       
                                     PHGLD     PHQWLRQLQJ
     0DUFK                           PHGLFDO          
                                           PHQWRU 
                                             
               PDWWHUV                          PHW 
                                              PHWKRGRORJ\
     PDUJLQDO                          0HGLFLQH         
                PDWXUH                              PHWKRGV
     0DULD                          PHHW       
                 PD[LPL]H        PHDQLQJ                   0LFKDHO
     PDUN                             
                                          0LFND 
             0D[LPL]LQJ                           PLGGOH 
                          PHDQV                   
                0F&XVNH\                PHHWLQJ          
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                                               QDWXUH
                PLVXQGHU               PXVFOH       
                                       1&$$ 
            PL[                  PXVFOHV          
                                          
                PL[HG      PRWLYDWL    PXVLF      
               PL[HV            PXWHG        
               PRGHO                PXWXDO      
     0LOOV     PRGHUDWH                               
     PLQG                            P\RSLF           
                                            
                PRGLI\                               
                          PRWLYDWLRQV                
               PRGXOH                                 
               PRPHQW      PRWLYDWRU            1         1&$$ V 
                                 1          
     PLQGHG                     PRWLYDWRUV               QHDUE\ 
                                          QHDUO\ 
     PLQGVHW                PRXVH     QDLYH      
                                 QDPH        
     PLQH                PRYH               QHFHVVDULO\
     PLQLPL]HV       0RQWDJDQR                         
                                         
     PLQLPXP                                      
               PRQWKV                      
                                             QHFHVVDU\
     PLQRU       PRQXPHQWDO                        
     PLQRULW\                                    
                PRRW                       QHHG 
               PRUELG                              
     PLQXWH                                         
               0RUJDQ                QDPHG        
                                QDPHV        
     PLQXWHV                        QDQRPROV          
                PRUQLQJ                               
                                QDUURZHG         
                                               
            0255,6(<                 QDWDO       
     PLVUHSUH                                   
               PRWKHU                           
     PLVVHG                                    
                        PRYHG    QDWLRQZLGH      
               PRWKHU V        PRYHPHQW                   
                                 QDWLRQDO         
     PLVVLQJ     PRWLRQ                            
                PRWLYDWH        PRYHPHQWV              
                                                 
                PRWLYDWHG       PRYLQJ                    
                                              
                PRWLYDWHV                           
     PLVWDNHV                             QDWXUDOO\        
               PRWLYDWLRQ                          
                   PXOWLSOH                  
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                           QXPHURXV                
               1LFROH                             
                        1<                      
               QLQH                                   
     QHHGHG     QLSSHG           2                  
                QREUDLQHU      2                     
                          2DNV                    
     QHHGV      QRGGLQJ         REMHFW                 
                                             
     QHJDWLYH        QRLVH                        
               QRQDUEL                          
                                              
                QRQLQMXUHG     REMHFWLQJ                  
     QHLJKERU                                      
                 QRQSHMR     REMHFWLRQ                
     QHLJKERU                              
                                            
     QHW       QRQELQDU\                        
     1HWZRUN                               
     QHXWUDO                                  
     QHYHU       QRQVHQVH                           
                                        
               QRUPDO                         
                                         
            1RUWK                       
                                             
               1RWDU\                           
                                           
     QHZ                                      
               QRWFK                         
               QRWH                           
                                          
                                            
                QXPEHU                          
     QHZV                                 
                                        
                                             
     1HZWRQ                                 
     1,$                                   
     QLFH                               
                                       
                                             
                                            
     QLFHO\                             
                                       
     1LFKROOV                                     
                                         
                                            
                                             
                                              
                                             
                QXPEHUV                          
                                            
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                         ROG          
                                             
                              2O\PSLDQ         
                                         RSSRUWXQLW\
                            2O\PSLF           
                                             
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                                           
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                                2O\PSLFV         
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     REMHFWLRQV                               
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                                    RQFH         
     REVHUYH                                        
                                           
     REYLRXV                          RQJRLQJ          
                                              
                                RQOLQH       
                                   RSHQ       
     REYLRXVO\                            
                                             
                                          RSSRVHG
     RFFXUUHG                                      
                                             
     2HUWHU                    RSHQLQJ          
     RIIHU                                 RSWLPDO
                                RSLQLRQ      
                                        
     RIIHULQJ                                      
                                      
     RIIHUV                                        RSWLPL]H
                                              
     RIILFH                                  RSWLRQ 
                                        
     RIILFLDO                                    
                                RSLQLRQV         
                                               
     RIILFLDOV                        RSSRUWXQ      
                                              RSWLRQV
                                    
                                               
                                          RUGHU 
     RK                                     
                                            
                                              
     RND\                                     
                                             
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     2UHWHU                                
     RUJDQL]D                                 
                                        
               RULHQWDW                       
                                            
                          RYHUDOO                   
                                          
     RUJDQL]D     RULHQWHG                           
                                              
     RUJDQL]D                                   
                                           
     RUJDQL]D                RYHUEURDG                  
                                                
                          RYHUFRPLQJ     SDJLQDWLRQ       
                                            
               RULJLQDO        RYHUHVWL    SDLQIXO          
                                           
                                  SDSHU       
               RULJLQDOO\      RYHUHVWL                
                                            
                        RYHUHVWL                 
                RWKHU V                 SDSHUV      
                      RYHUODS              
     RUJDQL]HG       RXJKW       RYHUODSSHG            
                                            SDUDPHWHUV
     RULHQWDWLRQ     RXWFRPH         RYHUV               
                          RYHUVWDWHG           SDUGRQ
                                          
             RXWFRPHV                                 SDUHQ 
                              3                 SDUHQW 
                    3      SDUDJUDSK       SDUHQWKHVHV
                                   
                                       
                                           
                      SP               
                                     
                                    SDUHQWV
                                       
                                          
                                              
                                      SDUW 
                       SDFNHW                
                   SDJH                 
               RXWOLQH                             
                                           
                                         
             RXWOLQHG                              
                                             
               RXWOLQLQJ                         
                                            
             RXWSHUIR                          
                                         
                RXWVLGH                           
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                                 SDVVDJH           
                                           
                                              
                                SDVVHG       
                                     SDVVLRQ           
                                               
                                   SDVVLRQDWH        
                                          
                                           
                                           
                                   SDVVZRUG          
                                               
                                   SDWLHQFH          
                                          
                                  SDWLHQWV          
                                          
     SDUWLDO                                       
                                   3$75,&.       
     SDUWLFLSDQW               SDUWLFLS    SDWWHUQV          
                                     
     SDUWLFLS                          3%-         
                                                 
                                       
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                                          
                                                 
                                          
     SDUWLFLSDWH               SDUWLFXODU     SHHUV       
                                  SHMRUDWLYH        
                                              
                              3HOHW          
                                            
                                3HQQ         
                                               
                                  3HQQ V            
               SDUWLFLS                           
                                 3HQQV\OY       
                                         
                                                 
               SDUWLFLS                         
                         SDUWLFXO    SHRSOH        
               SDUWLFLS                          
                                               
                      SDUWLHV              
                                         
                                              
                                             
                         SDUWV              
                           SDUWZD\                    
                                         
                       SDUW\                
                      SDVV               
                                                
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               SHUIHFW         SHUSHWXDWH                 
                                                 
                          SHUVRQ    3+,/$'(/      
                                            
     SHRSOH V        SHUIHFWL               SKLORVRSK\       
                                           
     SHUFHLYH        SHUIRUP             SKUDVH       
                                          
                                         
                                    SK\VLFDO         
                                             
                                             
                                        
                                               
     SHUFHLYHG                                   
            SHUIRUPDQFH                      
                                          
                                            
                            SK\VLFDOO\      SODFHG
                                          
                                       SODFHV
                                           
                                           
                        SHUVRQDO       SK\VLROR     3ODLQWLII
                                            
     SHUFHLYHV                                
                          SHUVRQDOO\              
                                          
                                           
     SHUFHQW                   SHUVSHFWLYH             3ODLQWLII V
                            SK\VLROR      
                                           
                                SK\VLROR      
                                             
     SHUFHQWDJH                    SK\VLRORJ\      3ODLQWLIIV
                                               
                                SLFN        
                                               SODQQHG
     SHUFHQWDJHV     SHUIRUPHG                 SLFNHG       
                                   SLFWXUH         SOD\ 
               SHUIRUPLQJ                            
     SHUFHSWLRQ                                      
                SHUIRUPV        SHUVSHFW                
                                                
               SHULRG     3HWULH                    
     SHUFHSWLRQV                        SLFWXUHV         
                      3K'                  
                                 SLHFH       
             SHULRGLF                        
                                             
                                 SODFH       
                SHUPLWWHG                            
                                             
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            3//&                            SULPDULO\
               SOXVHV                    SUHIHUHQFH       
                                          
            SRLQW                 SUHSDUDWLRQ      
                                             SULPDU\
                                 SUHSDUH      
                       SRVVLELOLW\                
                                   SUHSDUHG         
                          SRVVLEOH                  
                                         
                                          
                                             
     SOD\HG                               
                                SUHSDULQJ       SULQFLSDO
                                                
                                SUHVHQFH        SULQFLSOH
                                           
                                    SUHVHQW         SULQW 
              SRLQWHG         SRVVLEO\                  SULQWHG
     SOD\HU                          SUHVHUYH         
                SROLFLHV                             
                          SRWHQWLDO      SUHVXPH         SULRU 
               SROLF\                        
     SOD\HUV                                      
                                               
                                SUHWW\     SULRULWL]HV
                                        
     SOD\LQJ                                  SULYLOHJH
                                            
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                                           
                           SRWHQWLDOO\               SUREDEOH
            SRRO                          
                          SRXQGLQJ                 SUREDEO\
                                      3UHYDOHQFH        
               SRUWLRQV        SRZHU                 
                          SRZHUIXO                  
                                  SUHYHQW          
                SRVLWLRQ        SRZHUV                      
     SOD\V                                      
                        3UDFWLFH                   
     SOHDVH                                    
                           SUHFLVH                    
                                    SUHYHQWHG        
                      SUHFLVHO\                
                                               
                          SUHGLFWLRQV    SUHYHQWLQJ       
               SRVLWLRQV                            
                                    SUHYLRXV         
                          SUHGLFWRUV                 
                SRVLWLYH                             
                                   SUHYLRXVO\       
                          SUHIHU            
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                                   SXEOLFLW\       SX]]OHG 
                                    
                                                    4
                           SURYLGHG       SXEOLVKHG       TXDOLILF
               SURJUDP                            
                           SURYLGHV                 TXDOLI\
            SURJUDPV                  SXOO        
                           SURYLGLQJ                 TXDOLW\
     SUREOHP                                 
                      SURYLQJ        SXOOLQJ          
                SURJUHVV                            TXDQWLWD
                                    SXQLVKPHQW       
                SURKLELWHG      SV\FKLDW              TXHVWLRQ
                                     SXUSRVH      
               SURMHFW         SV\FKROR            
     SUREOHPDWLF                                       
               SURPRWH                             
                                                   
     SUREOHPV                   SV\FKROR    SXUSRVHV          
                                         
                       SV\FKROR               
                                     SXUVXDQW      
                         SV\FKRORJ\     SXUVXLQJ         
               SURQRXQFH                         
     3URFHGXUH                         SXVK        
                  SURQRXQV                              
     SURFHHG                                        
                SURQXQFL           SXVKEDFN         
     SURFHHGLQJ                                   
                SURSHU                SXW      
                SURSHUO\                             
                                                
               SURSHUWLHV                       
     SURFHHGLQJV                                  
                                            
     SURFHVV         SURSRUWLRQ      SV\FKROR             
                                                 
                          SV\FKRPH                
     SURFHVVLQJ                                 
               SURSRVHG                             
     SURIHVVL                SV\FKRPH               
            SURSRVLWLRQ                            
     SURIHVVL            SXEHUW\                   
                                           
     3URIHVVRU       SURWHFW                              
                                           
                SURWHFWHG                         
                                             TXHVWLRQ
                SURWHFWLRQ                          
                      SXEOLF                  
            SURYLGH               SXWWLQJ         TXHVWLRQV
                          SXEOLFDW               
                                            
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                                            
               UDWH      UHDGV                UHDVRQDEOH
                                           
                                               UHDVRQDEO\
                UDWLQJ                       
               5DWLQJV                             
                                              UHDVRQV
                UDWLRQDOH                            
                                         
               UHDFK                        
                                        
                                      
                                         UHFDOO 
     TXLFN                                     
                          UHDG\                
               UHDFW       UHDO                  UHFDOOLQJ
               UHDFWLRQ                            
                                             UHFHLYH
     TXLFNO\         UHDG                            
                                              
     TXLWH                                  
                            UHDOLVWLF                 UHFHLYHG
                                            
                                            
     TXRWH                 UHDOLVWL               
                                             
                                               
                               UHDOLW\                   
           5                            UHDS       UHFLSLHQW
     5                                    
                                          UHFRJQL]H
     UDFHV             UHDOL]H                 
                                              
     5DFKHO                                   
                          UHDOO\             
     UDFLQJ                                       
                                           UHFRJQL]HG
     UDFTXHWV                                    
                                            UHFRJQL]LQJ
     UDQ                                    
                                                 
     UDQGRPO\                                  UHFRUG 
                                                
     5DQJH                        UHDSLQJ           
     UDQN                                      
     UDQNHG     UHDGHU                    UHDVRQ       
                                        
                                                
     UDQNLQJ     UHDGLQJ                            
                                      
     UDQNLQJV                                         
                                           
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                                   UHSOLFDWHG      UHSUHVHQW
                UHIOHFWLQJ                           
                                 UHSRUW        
             UHIUHVKHG                        UHSUHVHQWHG
                                          
             UHJDUG     UHODWLYH               
                                             
                         UHODWLYHO\              
            UHJDUGHG                         UHSUHVHQ
                                         
               UHJDUGLQJ       UHOD\V                
                        UHOHDVHG                
                                         UHSURGXF
                                        
     UHFUHDWL              UHOHYDQW               UHSURGXF
                UHJDUGOHVV                        
     UHFUXLWHG                                     UHTXLUH
            UHJXODUO\       UHOLHV                    
                                             
     UHGLUHFW        UHJXODWH        UHO\                UHTXLUHP
                                               
     UHHQIRUFH                                   
                UHJXODWLQJ                         
     UHHQIRUFHG                 UHPHPEHU                   
                UHJXODWLRQV                      
     UHIHU                                    UHTXLUHV
                                          
            5HLQKDUGW                         
                                          
                5HND        UHPLQG                   UHTXLULQJ
     UHIHUHQFH                                     
                        UHPLQGV                UHVHDUFK
                                               
               UHODEHO         UHPLQLVFHQW                 
     UHIHUHQFHV                                     
               UHODWHG     UHPRWH                     
                                   UHSRUWHG          
     UHIHUULQJ                 UHPRWHO\                  
                                                 
                          5HQGH]YRXV               
               UHODWHV                               
                          UHSHDW     UHSRUWHU      
                UHODWLQJ                          
                                            UHVHDUFKHU
               UHODWLRQ     UHSHDWHG                  
                                          UHVHDUFKHUV
                         UHSKUDVH                  
                                UHSRUWLQJ        
               UHODWLRQ                      UHVRXUFHV
     UHIHUV                      UHSRUWV          
                                            
     UHIOHFW                                UHVSHFW
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                UHWLUHG                       
                UHWUHDG                         
                                          
                UHWULEXWLRQ                         
                                      
                                        
               UHWURVSH                     
                                           
                UHWXUQHG                         
                                            
               UHYLHZ                       
                                          
                                       
                                       
     UHVSHFWHG                                
                                         
     UHVSHFWIXO                              
                                         
                                       
               UHYLHZHG                       
     UHVSHFWLYH                                  
                                         
     UHVSRQGLQJ                                
                                          
     UHVSRQVH        UHYLHZLQJ                        
                                          
                                     
               ULJKW                       
     UHVSRQVHV                                 
                                     
                                             
     UHVWDWH                                     
                                     
     UHVWDXUDQW                                      
                                       
     UHVWULFW                                     
                                           
     UHVXOW                                        
                                          
                                          
                                      
     UHVXOWV                            
                                   
                                             
                                         
                                      
     UHWDLQ                                       
                                               
                                        
     UHWDLQHG                                        
                                      
                                     
                                       
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                                        
                          VDGQHVV          
                                            
                         VDIH         
                                        
                            VDIHU       
               ULJKWV               VDIHW\      
                                             
            5LR                       
            5LVN                         
                                         
               URDG                         
                                         
                                              
               UREEHG               6DJD       
               5REHUWD                VDPSOHV          
                                       
                                 6DQ         VD\V 
             UROH               6DUJHQW V         
                                               
              UROO            VDW          
               UROOLQJ              VDWLVIDF       
             URRP                              
                                    
                                 VDWLVI\          
                                        
                             VDYH       
                                VDZ        
                URRPPDWH                 VD\LQJ       
                                         
            5XJE\                           
               UXOH                          
                                           
                       UXQ                
                                      
                                       
                                        
                                        
                                         
                                     
                                      
                                        
                         UXQQHU                 
                                               
            UXOHG     UXQQLQJ               
            UXOHV                          
                                         
                                            
                        6                    
                       6                
                                 
                                         
                 VDG                 
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     VFDOH                                 
                          6FRWWVGDOH     VHF         
                                     VHFRQG      
     VFHQDULR                VFUHHQ             
                                            
                                              
     VFHQDULRV                                     
                                              
                                            
     VFKHGXOH                                    
                          VFUROO                    
     VFKRODU                                        
                                         
     VFKRODUVKLS                                    
                                                
                        6FUXJJV              
                                          
                                     VHFRQGDU\        
                VFKRRO V                        
                                        
     VFKRODUV     VFKRROHUV                            
                                           
             VFKRROV                           
                                             
                                          
                                            
                              VHFWLRQ          
     VFKRRO                                 
                           VHFXUH      
                                VHH         
                                             
                                             
                                            
                                    
                                       
                                            
                                              
             VFLHQFH                   
                                         
              VFLHQWLILF                        
                                           VHHLQJ 
              VFRSH                      
                                         
              VFRUH                         
                                      
                                            
                                           
            VFRUHV     VH               VHHNLQJ
                       VHDOLQJ               
                         VHDVRQ                
                                            VHHQ 
                VFRULQJ                           
                                      
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                             6KXPDQ         VLWXDWLRQ
               VHSDUDWH           VLF           
                               VLGH           
     VHHV                               
                                             
     VHJUHJDWLRQ     VHSDUDWHG                             
                                              
     VHOHFW                    VH[EDVHG                 
               VHSDUDWHO\                          
     VHOI                   VLJKWV        
                VHULHV     VH[HV    VLJQ          
     VHOIHVWHHP                                  
                           VKDPH                
     VHPHVWHU        VHUYH             VLJQHG        
                                VLJQLILFDQW       VL[ 
                VHUYHG                           
     VHPLQDUV                                   
                6HUYLFHV        VKDUH                 
                                          
     VHQG      VHUYLQJ                         VL[WK 
               VHVVLRQ              VLJQLILF       VL]H 
     VHQLRU                                   VNLOO 
                                 VLJQLQJ        
     VHQVH       VHVVLRQV               VLOO\         
                              VLPLODU        
             VHW        VKDUHG                
                         VKLIWV       VLPLODULW\         
                                               VNLOOHG 
                     VKRUW    VLPLODUO\          
                                     
                                          VNLOOV 
                                                
                                               
                                            
     VHQWHQFH                                      
                                          VNLS 
                                               
                VHWV      VKRW   VLPSO\        VNLSSHG
                         VKRZ              
            VHWWLQJ                              VNLSSLQJ
                                             
                                                 
                                VLW          6ODPV 
                VHYHQ                      6OLFHU 
                                             VOLJKW 
                                         
                           VKRZHG               
                VHYHUH          VKRZLQJ      VLWWLQJ            
                                               
               VHYHULW\                VLWXDWHG          VOLJKWO\
                                            
                VH[         VKRZQ             
                       VKRZV                
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     VORW      VROR                        
     VORWWHG         VRPDWLF                              
                                   VRXUFHV         VSRUW 
     VORXFK                                         
               VRPHERG\                 6RXWKHUQ      
     VORZ                                          
     VPDOO                       6SDLQ       
                              VSHDN        
                                               
                                              
                                            
                                VSHDNLQJ          
                                              
                                                
     VPDOOHU                                       
                                     VSHFLDO          
                                            
                                             
                                            
     VPLOH\                                  
     VPLOLQJ     VRPHERG\ V                       
     6PLWK                                      
             VRPHRQH V                6SHFLDOLVW       
                                               
                VRPHZKDW                 VSHFLILF         
     VRFFHU                               
                                           
                 VRQ                            
            6RQRPD                         
                                               
             VRUU\                            
                                         
     VRFLDO             VRUW               
                                         
                                 VSHFLILF      
     6RFLRORJ\                            
                                        
     VRIWEDOO                                       
                                             
                                             
     VRIWHU                VRXQG                 
     VRIWZDUH                             VSHFLILFV        
                                                 
     VROH                                  
                          VRXQGV                 
     VROHO\                           VSHOOHG      
                             VSHQGLQJ         
                                              
                                     VSHQW       
                                          
                                    VSRNH      
     VROLG                       VSRNHQ      
                       VRXUFH         6SRQVRUHG        
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                                  
                                         
                                       
                                        
                               VWDQGDUGV        
                                          
                                 VWDQGSRLQW       
                                       
                                  VWDQGV            
                                         
                               VWDU         
                                            
                                 VWDUW       
                                          
                                         
                                           
                                  VWDUWHG          
                                                 
                                         
                                           
                                             
                      VSRUWVSH            
                           VWDUWHU          
                                           
                         VSRW     VWDUWLQJ         
                                                
     VSRUWLQJ                                  
                                  VWDUWV      
                                          
                      VSULQJ              VWDWHPHQWV
     VSRUWV                         VWDWH      
                                              
                       VTXDUH                     
                                         
                           6UXWL                  
                                          
                    VWDJH                VWDWHV 
                      VWDJHV                    
                                            
                       VWDNH               
                    VWDNHV                     
                                           
                      VWDPS               
                     VWDQGDUG                  
                             VWDWHG      VWDWHZLGH
                                               
                                          VWDWXWH 
                                          
                                         
                                              
                                  VWDWHPHQW       VWD\ 
                                   
                                          
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                                        VXSSRUW
                                    VXFFHVV          
                                             
     VWHOODU                                     
                                              
     VWHS      VWURQJHU                            
                                               
     6WHSWRH               VWXG\               VXSSRUWHG
                                            
     VWLFN                        VXFFHVVIXO      VXSSRUWLYH
                VWXGHQW                            
     VWLFNHU                              VXSSRUWV
     VWLSXODWHG                      VXGGHQ      
                                  VXGGHQO\         
     6WRFN                                      
     VWRS                           VXIILFLHQW      VXSSUHVV
                                               
     VWRULHV                                        
                                VXJJHVW     VXSSUHVVLRQ
     VWRU\                                   
     6WUHHW                                  
                                          6XSUHPH
                                     VXJJHVWLQJ       
     VWUHVV                                 
            VWXGHQWV                             VXUH 
                        VWXG\LQJ                   
                                          
                                                
                                              
                                          
                                              
     VWUHVVHG                  VWXII                
                                    VXJJHVWV         
                                                
     VWUHVVIXO                                         
               VWXGHQWV                             
                                   6XLWH        
     VWULNH     VWXGLHG                                 
                        6WXWOHU    VXPPHU      
                                           
                                    VXSHU        
                VWXGLHV         VXEPLW                
                        VXEPLWWHG      6XSHULQW      
     VWULYH                                   
                                           
     VWULYLQJ                    VXEVFDOHV                  
                                6XSHULQW      
     VWURQJ             VXEVWDQWLDO              
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                                 6XSHULRU         
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                                   VXSHUYLVHG       
                                         
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                                             
               VZLPVXLW                 WDOOHU           
                                              
               VZLWFK              WDS       WHDFKLQJ
               VZLWFKLQJ                            
                                    WDSSLQJ           
                VZLWFKRYHU      WDNHQ                 
                                  WDVN       WHDP 
            VZRUQ                       
                                             
                                            
               V\PSDWK\                         
                                          
               V\PSWRP                            
                                             
               V\PSWRPV                             
                                      
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                                           
                                              
                                                
     VXUJH            7        WDNHV            
     VXUYH\     7                              
     VXUYH\V         75<21       WDOHQW               
                           WDOHQWHG                   
     VXVWDLQ         WDEOH                    
                                               
     VZDP                 WDON               
     6ZDPLQDWKDQ                                
             WDLORUHG                             
                                             
     VZHHW     WDNH                         
     VZLP                                  
                                        
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                                              
     VZLPPHU                                  
                       WDONHG               
                                             
                                        
                           WDONLQJ                    
                                           
                               WDVNLQY      
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     VZLPPHUV                                       
                                               
                                              
                                    WDXJKW      
     VZLPPLQJ                                        
                                   WHDFK        
                                               
                                  WHDFKHUV         
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                            WHQGHQF\         
                       WHDPZRUN                 WHVWLI\LQJ
                                      
             WHDPPDWH        7HFK     WHQQLV     WHVWLPRQ\
                                                
                      WHFKQLFDO              
                WHDPPDWHV                         
                     WHFKQLTXH             WHVWRVWH
                                               
                        WHFKQRORJ\             
                                          7H[DV 
                       WHOO             
                                         
                                             
                                  WH[W 
                                            
                                          WKDQN 
                                         
                                    WHQV         
                            WHQVH       
                                WHUP        
                WHDPV                        
                                          
                                          
                                      
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                                         
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                           WHUPLQRORJ\      
                                            
                                   WHUPV       
                       WHOOLQJ                
                                         
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                                               
                      WHOOV                 
                                          7KDQNV 
                                          
                       WHPSWLQJ                  
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                       WHQ                  
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                                 WHVWLILHG        
                                    
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                   WHQG     WHVWLI\          
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                                        
                                       7KRPDV 
                                          
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                                      
     WKLQJV                                  
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                                           7KRPDV V
                                            
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                                              
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                                          WKRXJKW
                                              
                                          
                                        
                                            
                                        
                                        
                                             
                                         WKRXJKWV
                                           
                                       WKRXVDQG
                                         
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     WKRXVDQGV                                    
                                    WRXUQDPHQW       
     WKUHH                                      
                          WRXUQDPHQWV      
                                            
                                      
                                         
                                WRZQ         
                                WUDFN       WUDQVFHQG
                                             
                      WRGD\              WUDQVFULSW
                                             
                                           
                                       WUDQVIHPDOH
                                           
     WKUHHWLPH                                  
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     WKURZLQJ                                     
                                      
     WKURZQ                                   
                                           
     WKXPEV                                    
     WLJKWHU                    WROG                WUDQVIHP
                                                
     WLJKWO\                                         
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                               WUDLQ       
     WLOO                                    WUDQVJHQGHU
     WLPH               WRPRUURZ                  
                                    WUDLQHG      
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                       WRS                  
                               WUDLQLQJ         
                                                
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                                WUDLWV            
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            WLPHIUDPH                         
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                   WRSLF     WUDQV         
             WLPHV                      
                        7RUR                   
                                              
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                                           
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                                            
                       WRWDOO\                    
                                             
            WLQ\               WUDQVDWK      
               WLWOH      WRXFK                 
                                            
                      WRXJK                
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             WULFN                         
            WULFNOH                           
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               WULFNOHG                          
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               WULHG                       
                                                  
                                             
                                          
                                            
               WULHV                         
                                            
                                         
                WURSKLHV                          
                                           
                WURSK\                           
               WUXFNORDG                        
                          WU\LQJ             
                WUXH                       
                                               
                                            
                                     
                                        
                                        
                                          
     WUDQVJHQ                                   
                                                
     WUDQVLWLRQ                                  
                                                
     WUDQVLWL                                
                                              
                                        
     WUDQVLWL     WUXO\                         
                WUXWK                       
                                          
                                            
               WU\                              
     WUDYHOHG                                 
                                         
     WUHDW                                 
                                              
                                              
                                              
     WUHDWHG                                     
                       7U\RQ                    
     WUHDWPHQW                                  
                                        
     WUHDWPHQWV                                    
                                          
     WUHPHQGRXV                               
                                        
                                             
     WULDO                                  
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                           XQGHUJUD       
                                         
                                   8QGHUPLQHV      XQIDLU 
                                       
                                   XQGHUQHDWK       
                                              
                                          
                                           
                                            
                                XQGHUVLJQHG      
                                              
                                    XQGHUVWDQG       
                     WZRWLPH                
                                       XQIRUWXQDWH
                    W\SH                  
                                           
                                        
                  W\SHV             
                   W\SLFDO               XQIRUWXQ
                                         
                     W\SLFDOO\                XQKDSS\
                                              
                                        
                                       XQLIRUP
                                          
                                        XQLTXH 
                                                XQLWHG 
                            8                    
            WU\RXWV         8                   
                    86                   
                                            
                        8KKXK                
             7XHVGD\                       
                WXLWLRQ                          XQLYHUVH
                                          
           WXUQ                          XQLYHUVL
                                              
                                             
                                            
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                          XOWLPDWHO\                8QLYHUVLW\
                                     
                                  XQGHUVWD      
                    XPSLUHV                
                WXUQHG                           
                       XQFDULQJ               
               WZHDN                         XSGDWH 
            WZR         XQFRPIRU               XSSHU 
                                         XSV 
                                       XSVHW 
                                            
                    XQGHUJR                   86$ 
                            XQGHUVWRRG       
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     XVH                                     
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               YDULDQFH                           
                                        
                YDULHG                        
                YDULHV                    
                                      
                                         
               YDULHW\                      
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                                               
     867$                              
     XVXDOO\         YDULRXV                              
                                             
                     YDUVLW\                            
            9                                  
     Y                               
                YDU\                     
     9DOHQFLD        YHUEDOO\                            
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                                      :DUUHQ
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                                 ZDUPHU      
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                          ZLGH                
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                                            
               ZHLJK      ZLOOLQJ                  
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               ZHLJKLQJ                          
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               ZHOFRPH                       
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                                             
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               ZHOOEHLQJ                         
                                              
               ZHOOQHVV        ZLQGRZ               
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                ZHQW                      
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                ZHUHQ W         ZLQQLQJ             
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                :HVW                          
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     ZH YH                                 
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                         ZLQV                   
     ZHDN                 ZLVK             
     ZHDU                                     
     :HDULQJ         ZKDWVRHYHU                            
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     ZHDWKHUPDQ      ZKLFKHYHU       ZLWKGUDZ                   
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     ZHELQDU         :KLVHQDQW       ZLWQHVV             
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     .DWHO\Q.DQJIURP&RROH\IRUWKH3ODLQWLII                             7UDQVJHQGHU3HRSOHLQ6SRUWV$UWLFOHZDV
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    QRWDU\PD\EHGLVPLVVHGDQGZHFDQEHJLQ                              UHVHDUFK7KLVLVDWZRSDJHSLHFHVLPSO\H[SODLQLQJ
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        LQIURQWRI\RX\RXUH[SHUWUHSRUWDQG\RXUUHEXWWDO                 DUWLFOH"
        UHSRUWVRWKDW\RXKDYHWKRVHLIDWDQ\SRLQW\RXZDQW               $7KHSXUSRVHRIWKLVDUWLFOHLVWRHGXFDWH
        WRUHIHUWRWKHP,WORRNVIRUFRQYHQLHQFHOHW V                HQGRFULQRORJLVWVIUDPHWKHLVVXHVDQGDOVRVHUYHVDELW
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       ZDVPDUNHGIRULGHQWLILFDWLRQ                          DWKOHWLFSHUIRUPDQFHWKDQQDWDOIHPDOHVLQDYDULHW\RI
        :KHUHXSRQ([KLELW5HEXWWDO5HSRUWRI               PHDVXUHV
       'U6DIHUZDVPDUNHGIRULGHQWLILFDWLRQ               &RUUHFW"
                                             $77251(<%/2&.2EMHFWLRQWRIRUP
       $77251(<%522.6$QGDWWKHPRPHQW, P              7+(:,71(666R,JXHVV,QHHGWREH
       KDQGLQJFRSLHVWRWKHZLWQHVV$QG,ZRXOGOLNHWRPDUN            PRUHVSHFLILFRU,FDQFODULI\
       DV6DIHU([KLELWDVKRUWDUWLFOHHQWLWOHG)DLUQHVVIRU            %<$77251(<%522.6
       7UDQVJHQGHU3HRSOHLQ6SRUWE\-RVKXD6DIHU                        4,I\RXZRXOGEHPRUHVSHFLILF


                                                                                                     3DJHVWR
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                                                     3DJH                                                             3DJH
      $6RFLVJHQGHUPHQDWDFHUWDLQDJHKDYHEHWWHU          IHPDOHFDWHJRU\
      VSRUWVRXWFRPHVWKDQFLVJHQGHUZRPHQ                           %<$77251(<%522.6
      4%XW\RXZURWHLQWKLVMXVWSXEOLVKHGDUWLFOH           4$QGRQHUHDVRQLVWRJLYHFLVJHQGHUJLUOVDQG
      WKDWFLVJHQGHUER\VDQGPHQKDYHEHWWHUSHUIRUPDQFH             ZRPHQDQRSSRUWXQLW\WRTXRWHUHOLDEO\ZLQHYHQWV
      RXWFRPHVWKDQWKHFLVJHQGHUJLUOVDQGZRPHQ                    &RUUHFW"
      &RUUHFW"                                               $77251(<%/2&.2EMHFWLRQ
      $7KDWLVFRUUHFW                                       &28575(3257(5, PVRUU\&RXQVHO,
      4$QGZKDWGLG\RXPHDQLQWKDWVWDWHPHQWE\\RXU        FDQ WKHDU\RX
      UHIHUHQFHWRER\VDQGJLUOV"                                    %<$77251(<%522.6
     $%R\VDQGJLUOVZKRDUHEDVLFDOO\LWGHSHQGV      42QHUHDVRQDFFRUGLQJWRZKDW\RX YHZULWWHQLQ
     LW VFRQWH[W,JXHVV6RER\VDQGJLUOVZKRDUH               WKLVDUWLFOHWKDWWKHUHKDYHEHHQDFDUYHRXWLQD
     GHYHORSHGWRWKDWSRLQW                                       VHSDUDWHIHPDOHGLYLVLRQLVWRSURYLGHJLUOVDQGZRPHQ
     46RWKRVHZKDW\RXKDGLQPLQGDUHER\VDQG        ZLWKRSSRUWXQLWLHVWRTXRWHUHOLDEO\ZLQHYHQWV
     JLUOVRQFHWKHSXEHUW\SURFHVVEHJLQVLQPDOHVLQ             FORVHGTXRWH
     SDUWLFXODU"                                                    &RUUHFW"
     $77251(<%/2&.2EMHFWLRQWRIRUP             $6R,JXHVVWKHZD\,ZRXOGVD\LWLVLIZHDUH
     7+(:,71(66<HV,JXHVV,ZRXOGVD\          JRLQJWREHUHDOO\FDUHIXOZLWKWKHODQJXDJHKHUHWKDW
     WKDWZKDWZHNQRZLVZKDWLVWRZDUGVWKHHQGRISXEHUW\        LWZRXOGEHRQDYHUDJHWRUHOLDEO\ZLQHYHQWVWKDWLV
     DQGVXEVHTXHQWGHYHORSPHQWEH\RQGSXEHUW\                     \HDK,ZLOOOHDYHLWDWWKDW
     %<$77251(<%522.6                                            4&HUWDLQO\QRWHYHU\JLUODQGZRPHQLVJRLQJWR
     4<RXVD\LQWKHQH[WVHQWHQFHZHOOOHWPH         ZLQHYHQWVDV,NQRZDVDPDOHZKRQHYHUZRQDQHYHQW"
     MXVWFODULI\\RXDFFHSWDVDVFLHQWLILFIDFWWKH              $([DFWO\
     JHQHUDOREVHUYDWLRQWKDWRQDYHUDJHER\VDQGPHQ            4$QGDQRWKHUUHDVRQDFFRUGLQJWRWKLVVHQWHQFH
     GHILQLQJER\VDV\RXMXVWGLGKDYHVLJQLILFDQWO\              WKDW\RXZURWHIRUKDYLQJDVHSDUDWHFDWHJRU\IRUJLUOV


                                                     3DJH                                                             3DJH
      VWURQJHUDWKOHWLFSHUIRUPDQFHLQDYDULHW\RIPHWULFV           DQGZRPHQLVVRWKDWWKH\FDQTXRWHVDIHO\FRPSHWH
      WKDQJLUOVDQGZRPHQDV\RXMXVWGHILQHGJLUOVFRUUHFW"        &RUUHFW"
      $77251(<%/2&.2EMHFWLRQWRIRUP              $7KHZRUGVDIHO\LQWKDWFRQWH[WLVNLQGRI
      7+(:,71(666R,JXHVVKRZ,ZRXOGVD\         DFFHQWXDWHVUHOLDEO\
      WKDWLV,DFFHSWDVIDFWWKDWPHQDQGER\VZKRDUH              4$QG\RXZURWHLQWKHQH[WVHQWHQFHWKDWTXRWH
      DSSURSULDWHO\GHYHORSHGKDYH\HDKKDYHEDGSHUIRUPDQFH        WKHIHPDOHRQO\GLYLVLRQVDUHDPDMRUIDFWRUWR
      RXWFRPHVLQFHUWDLQVSRUWVWKDQGRFLVJHQGHUZRPHQDQG          HQFRXUDJHJUHDWHUSDUWLFLSDWLRQRIJLUOVDQGZRPHQLQ
      FLVJHQGHUJLUOVDJDLQDSSURSULDWHO\GHYHORSHG                  VSRUWVZLWKDJRDORIHTXDOSDUWLFLSDWLRQUDWHV
      %<$77251(<%522.6                                             'R\RXVHHWKDWODQJXDJH"
     4$QGWKHQH[WVHQWHQFHUHDGVWKHSHUIRUPDQFH           $,GR
     GLIIHUHQFHKDVUHVXOWHGLQWKHHVWDEOLVKPHQWRIIHPDOH         4$QGFDQ\RXH[SODLQWRPHZKDW\RXXQGHUVWDQGRU
     RQO\GLYLVLRQVIRUVSRUWSDUWLFLSDWLRQIRUJLUOVDQG           ZKDW\RXZHUHWU\LQJWRH[SODLQDVWKHUHODWLRQVKLS
     ZRPHQDQGVDIHO\FRPSHWHLQWKHOLYHHYHQWVFORVHG            EHWZHHQKDYLQJDVHSDUDWHIHPDOHFDWHJRU\RQWKHRQH
     TXRWH'R\RXVHHWKDWODQJXDJH"                              KDQGDQGHQFRXUDJLQJJUHDWHUSDUWLFLSDWLRQE\ZRPHQDQG
     $,GR                                                 JLUOVRQWKHRWKHU"
     4$QGWKHUH\RXZHUHDP,FRUUHFWH[SODLQLQJWKH      $6RPHRIWKHJRDOVRIWKHSHRSOHZKRDUHLQVSRUW
     UHODWLRQVKLSRI\RXUREVHUYDWLRQDERXWPDOHSHUIRUPDQFH        ZKRRUJDQL]HVSRUWDUHWRJHWDVKLJKIUDFWLRQVRIWKH
     ZLWKWKHH[LVWHQFHLQRXUVRFLHW\RIVH[VHSDUDWHG             SRSXODWLRQWRSDUWLFLSDWHDVFDQEHHQFRXUDJHGWRGRVR
     VSRUWV                                                        IRUVKHHUKHDOWKRIWKRVHLQGLYLGXDOVDQGWKHQRI
     &RUUHFW"                                           HYHU\ERG\$QGVRWKHSXUSRVHRIWKHFDUYHRXWWKHQLQ
     $77251(<%/2&.2EMHFWLRQWRIRUP             WKHVHFLUFXPVWDQFHVLVWRHQFRXUDJHJLUOVDQGZRPHQWR
     7+(:,71(666R,JXHVV,ZRXOG            SDUWLFLSDWHLQODUJHUQXPEHUVWKDQWKH\PLJKWRWKHUZLVH
     WKLQNWKHZD\,ZRXOGVD\LWP\VHOILVWKLVLVD           4$QGGR\RXKDYHDQRSLQLRQGR\RXKDYHDQ
     WKLVLVWKHUHDVRQZK\ZHKDYHWKHFDUYHRXWIRUWKH           H[SHUWRSLQLRQDVWRZKHWKHUWKHH[LVWHQFHRIVHSDUDWH



                                                                                                3DJHVWR
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                                                     3DJH                                                          3DJH
      FDWHJRULHVIRUIHPDOHVSRUWVKDVLQIDFWEHHQDTXRWH         LQWHUYHQWLRQVDSSURSULDWHWRJHQGHULGHQWLW\+DYH,
      PDMRUIDFWRULQHQFRXUDJLQJJUHDWHUSDUWLFLSDWLRQE\            UHDGWKDWFRUUHFWO\"
      ZRPHQDQGJLUOVLQVSRUW"                                       $<HV
      $,GRQ WKDYHDQH[SHUWRSLQLRQ                        4$QGLVLWFRQVLVWHQWZLWK\RXUH[SHULHQFHWKDW
      4<RXGRQ WNQRZZKHWKHUWKDWLVREMHFWLYHO\WUXH        PRVWQDWDOPDOHVZKRVHHNZKDW\RXUHIHUWRDVJHQGHU
      RUQRW"                                                         FRQILUPLQJWUHDWPHQWGRVRDIWHUH[SHULHQFLQJDWOHDVW
      $77251(<%/2&.2EMHFWLRQWRIRUP              PRVWRIWKHRUGLQDU\PDOHSXEHUW\"
      7+(:,71(66,GRQ WULJKW,FDQ W         $77251(<%/2&.2EMHFWLRQWRIRUP
      VWDWHDVDQH[SHUWRQWKHGHWDLOVRIWKDWVXEMHFW              7+(:,71(66<HV6RMXVWWHUPLQRORJ\
     WKDW VULJKW                                                  MXVWWREHFOHDUVRSHRSOHZKRDUHUHFRUGHGPDOHDW
     %<$77251(<%522.6                                            ELUWKZKRDUHORRNLQJIRUJHQGHUDIILUPLQJLVWKHWHUP
     42QWKHVHFRQGFROXPQLQWKHWKHILUVWIXOO       EXWJHQGHUFRQILUPLQJLVILQH$QGVRUU\WKHTXHVWLRQ
     VHQWHQFHEHJLQVPDQ\KRUPRQHUHODWHG'R\RXVHHWKDW"        WKHUH"
     $<HV,GR                                            %<$77251(<%522.6
     4/HWPHUHDGWKDWVHQWHQFHLQWRWKHUHFRUG            4,ZLOODVNLWDJDLQ,VLWFRQVLVWHQWZLWK\RXU
     4XRWHPDQ\KRUPRQHUHODWHGSK\VLFDOFKDUDFWHULVWLFV           SHUVRQDOH[SHULHQFHWKDWPRVWQDWDOPDOHVZKRVHHN
     DFTXLUHGGXULQJSXEHUW\DUHQRWUHYHUVHGLIKRUPRQH            JHQGHUDIILUPLQJWUHDWPHQWSUHVHQWDIWHUXQGHUJRLQJDW
     OHYHOVDUHFKDQJHGODWHULQOLIH&DQ\RXWHOOXVZKDW        OHDVWPRVWRIDQDWXUDOPDOHSXEHUW\"
     SK\VLFDOFKDUDFWHULVWLFVDVVRFLDWHGZLWKW\SLFDOPDOH          $77251(<%/2&.6DPHREMHFWLRQWR
     GHYHORSPHQWDUHLQ\RXURSLQLRQQRWUHYHUVHGLIKRUPRQH        WHUPLQRORJ\
     OHYHOVDUHFKDQJHGODWHULQOLIH"                              7+(:,71(66<HV6RPRVWWUDQVJHQGHU
     $$JDLQVR,GRQ WNQRZWKDW,ZRXOGRIIWKHWRS       ZRPHQZKRFRPHVHHNLQJPHGLFDOWUHDWPHQWKDYHJRQH
     RIP\KHDGJLYHDQH[KDXVWLYHOLVWEXWDFODVVLFZRXOG         WKURXJKDW\SLFDOPDOHSXEHUW\WKDWLVFRUUHFWULJKW
     EHKHLJKW                                                     QRZ


                                                     3DJH                                                          3DJH
      4:RXOG\RX,XQGHUVWDQG\RXUOLVWPD\QRWEH        %<$77251(<%522.6
      H[KDXVWLYHEXWOHWPHDVN\RXWRWHOOXVDOOWKH               4$QGLQ\RXUFOLQLFPRVWRIWKHPKDYHJRQH
      H[DPSOHVDV\RX UHDEOHWRVLWKHUHWKLQNLQJWRGD\RI           WKURXJKZKDW\RXZRXOGFRQVLGHUWREHDFRPSOHWHPDOH
      SK\VLFDOFKDUDFWHULVWLFVDFTXLUHGGXULQJPDOHSXEHUW\           SXEHUW\SURFHVV"
      WKDWDUHQRWUHYHUVHGLIKRUPRQHOHYHOVDUHFKDQJHG             $,FDQ WDQVZHUWKDWFRPSOHWHO\EHFDXVHZHGHILQH
      ODWHULQOLIH                                                  SXEHUW\LQWKLVQDUURZZD\ZLWKWKH7DQQHUVWDJHVEXW
      $77251(<%/2&.2EMHFWLRQWRIRUP              WKHQSHRSOHFRQWLQXHWRKDYHGHYHORSPHQWHYHQEH\RQG
      7+(:,71(66,GRQ WNQRZWKDW,FRXOG          WKDWWRDVLJQLILFDQWGHJUHH
      ,GRQ WNQRZWKDW,ZRXOGZDQWWRDFFLGHQWDOO\JR           4%XWWKH\KDYHH[SHULHQFHGLQ\RXUSURIHVVLRQDO
     GRZQWKDWSDWKDQGFRQMHFWXUHWRRPXFKEXWLI, P             H[SHULHQFHDWOHDVWWKHEXONRIWKHSXEHUWDOFKDQJHV"
     H[SDQGLQJDELWRQKHLJKWDQGWKLQNLQJDERXWERQH              $<HV,PHDQWKH,JXHVVWKHZD\,ZRXOG
     FKDUDFWHULVWLFVHVSHFLDOO\WKHUHPLJKWEHPRGHVWFKDQJH       VD\LWLVLVWKDWPRVWRIWKHWUDQVJHQGHUZRPHQZKRDUH
     EXWVLJQLILFDQWUHVLGXDOERQHZRXOGEHWKHELJJHVW             FRPLQJRUHYHQJLUOVZKRDUHFRPLQJIRUPHGLFDO
     H[DPSOH$QGVRPHRWKHUHOHPHQWV,FDQ WHYHQVD\,       DWWHQWLRQKDYHJRQHWKURXJKWKHFODVVLF7DQQHUVWDJHVRI
     ZDVDERXWWRVD\DELWSURSRUWLRQDOEXWLW VPRUH             SXEHUW\WKURXJK7DQQHUILYHZKLFKLVWKHODVWRQHE\
     FRPSOLFDWHGWKDQWKDWVRRWKHURWKHUWLVVXHVSDUWO\       WKHWLPHWKH\KDYHGHWHUPLQHGWKDWWKH\ UHLQWHUHVWHGLQ
     LQIOXHQFHGE\WKDWIDFW                                       JHQGHUDIILUPLQJWUHDWPHQW\HV
     %<$77251(<%522.6                                            4$QGOHW VJREDFNWRWKHYHU\ILUVWSDUDJUDSKRI
     4,IZHMXPSGRZQWRWKHQH[WSDUDJUDSKLWEHJLQV      \RXUDUWLFOHLQZKLFK\RXPHQWLRQDERXWILYHOLQHVGRZQ
     TXRWHWKHTXHVWLRQVDULVHPRVWZLWKWUDQVJHQGHUZRPHQ         TXRWHFRQFHUQIRUSRVVLEOHUHVLGXDODWKOHWLFDGYDQWDJHV
     ZKREHJDQKRUPRQHWUHDWPHQWDIWHUSXEHUW\$QGWKHQLW        IURPDKLVWRU\RIW\SLFDOPDOHSXEHUW\FORVHGTXRWH
     FRQWLQXHVTXRWHWKHVLWXDWLRQLQFOXGHVPRVW                  'R\RXVHHWKDWODQJXDJH"
     WUDQVIHPLQLQHSHRSOHEHFDXVHLWLVPRVWFRPPRQWR              $/HWPHILQGLW:KHUHLVLW"
     XQGHUJRHQGRJHQRXVSXEHUW\SULRUWRVHHNLQJPHGLFDO            4,W VDERXWILYHOLQHVGRZQRQWKHYHU\ILUVW


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                                                     3DJH                                                         3DJH
      SDUDJUDSKRIWKHDUWLFOH                                      RWKHUFRQVLGHUDWLRQVRIIDLUQHVVRILQFOXVLRQWKDWLV
      $2KWKHPLGGOHRIWKHVHQWHQFHH[DFWO\              QRW\RXUH[SHUWLVHLVZKDW\RXDUHWHOOLQJPH"
      4$QGVRLQ\RXURSLQLRQLWLVFRQFHUQIRU             $7KDWLVULJKWWKDWLVQRWP\H[SHUWLVH
      SRVVLEOHUHVLGXDODWKOHWLFDGYDQWDJHVIURPDKLVWRU\RI        4,IZHJRWRSDJHWZRLQWKHILUVWFROXPQWKH
      W\SLFDOPDOHSXEHUW\WKDWGULYHVDJUHDWGHDORIFRQFHUQ       VHFRQGIXOOSDUDJUDSKEHJLQVEHFDXVHWHVWRVWHURQH'R
      DERXWKRZWRDGGUHVVLQFOXVLRQRIQDWDOPDOHVZKR              \RXVHHWKDWSDUDJUDSK"
      H[SHULHQFHDIHPDOHJHQGHULGHQWLW\LQIHPDOHDWKOHWLFV       $,GR
      $P,FRUUHFW"                                         4$QG\RXGLVFXVVWKHUH:RUOG$WKOHWLF
      $77251(<%/2&.2EMHFWLRQWRIRUP             UHTXLUHPHQWVWKDWLVWKHIRUPHU,$$),EHOLHYH\RXMXVW
     7+(:,71(666RWKHFRQFHUQDERXWWKH         WHVWLILHG"
     UHVLGXDOLPSDFWRIWHVWRVWHURQHGXULQJSXEHUW\IRU            $<HV
     WUDQVJHQGHUZRPHQZKRZHQWWKURXJKDW\SLFDOPDOH             4$QGWKH:RUOG$WKOHWLFVKDVDGRSWHGD
     SXEHUW\LVWKHVRXUFHRIULJKWLVDVRXUFHRI            UHTXLUHPHQWWRVXSSUHVVWHVWHURQH VLF WRILYH
     WHQVLRQDWDPHGLFDOVHQVLWLYHOHYHO\HV                    QDQRPRODUSHUOLWHUWHVWRVWHURQH
     %<$77251(<%522.6                                           &RUUHFW"
     4$QGWKDW VDQLVVXHWKDWIRULQVWDQFH\RX          $:RUOG$WKOHWLFVWKUHVKROGLVILYHQDQRPRODUSHU
     HQJDJHLQH[WHQVLYHGLVFXVVLRQVDERXWLQFRQQHFWLRQZLWK      OLWHUIRUWKRVHVSRUWVZKHUHWKH\KDYHDWKUHVKROG
     \RXUVHUYLFHRQWKHFRPPLWWHHIRUWKH,$$)                   7KDW VULJKW\HV
     $P,FRUUHFW"                                        4$QGDWOHDVWIRUPDOO\WKH,QWHUQDWLRQDO2O\PSLF
     $6RWKHULJKWWKHFRQYHUVDWLRQDW:RUOG          &RPPLWWHHKDGDWHQQDQRPRODUWKUHVKROGDVSDUWRIZKDW
     $WKOHWLFVQRZEXWIRUPHUO\,$$)KDVGHDOWDQG, PVXUH      \RXZRXOGFDOORXWLQWKLVSDUDJUDSK
     ZLOOFRQWLQXHWRGHDOZLWKWKDWZKLFKLVWKHTXHVWLRQRI      ,VWKDWFRUUHFW"
     WRZKDWGHJUHHDUHVRPHRIWKRVHFKDUDFWHULVWLFVD           $77251(<%/2&.2EMHFWLRQWRIRUP
     FDXVHIRUUHOHYDQWDWKOHWLFDGYDQWDJH                        7+(:,71(66<HV6RLWZDVWKHFDVH


                                                     3DJH                                                         3DJH
      4$QGLQ\RXURSLQLRQFRQFHUQDERXWSRVVLEOH           WKDWWKH,QWHUQDWLRQDO2O\PSLF&RPPLWWHH0HGLFDO*URXS
      UHVLGXDODWKOHWLFDGYDQWDJHVUHVXOWLQJIURPDKLVWRU\RI       ZDVWU\LQJWRIRUPDXQLILHGDSSURDFKMXVWIRUSXUSRVHV
      W\SLFDOPDOHSXEHUW\LVOHJLWLPDWHFRQFHUQ                    RIRUJDQL]DWLRQ$QGDWWKDWWLPHDWHQQDQRPRODUSHU
      5LJKW"                                                OLWHUVXJJHVWLRQZDVSXWRXW$QGWKDWLVDERXWDVIDU
      $77251(<%/2&.2EMHFWLRQWRIRUP             DVLWJRWEHFDXVHLWWKHQZDVVKLIWHGWRDOORIWKH
      7+(:,71(665LJKW,GRQ WNQRZWKDW         LQGLYLGXDOLQWHUQDWLRQDOIHGHUDWLRQV
      , PDVDQH[SHUWFRPPHQWLQJRQLWVOHJLWLPDF\0\UROH        %<$77251(<%522.6
      RQWKHFRPPLWWHHLVWDONLQJDERXWZKDWLV                     4<RXVD\LQWKHILQDOVHQWHQFHRIWKDWSDUDJUDSK
      %<$77251(<%522.6                                            TXRWHVXFKWKUHVKROGVDUHFRQVLGHUHGWREHIDLUWR
     4'R\RXKDYHDQ\H[SHUWRSLQLRQDVWRZKHWKHU         WUDQVJHQGHUZRPHQEHFDXVHWKH\DUHZHOODERYHWKH
     FRQFHUQIRUSRVVLEOHUHVLGXDODWKOHWLFDGYDQWDJHVIURPD      QDQRPRODUSHUOLWHUWDUJHWWHVWRVWHURQHWKUHVKROGLQ
     KLVWRU\RIW\SLFDOPDOHSXEHUW\LVDOHJLWLPDWHFRQFHUQ"      PHGLFDOWUHDWPHQWJXLGHOLQHVFORVHGTXRWH
     $, PVRUU\6D\WKDWDJDLQ                          'R\RXVHHWKDWODQJXDJH"
     4'R\RXKDYHDQ\H[SHUWRSLQLRQDVWRZKHWKHU         $<HV
     FRQFHUQIRUSRVVLEOHUHVLGXDODWKOHWLFDGYDQWDJHIURPD       4$P,FRUUHFWWKDWLQ\RXUSURIHVVLRQDO
     KLVWRU\RIDW\SLFDOPDOHSXEHUW\LVDOHJLWLPDWH             XQGHUVWDQGLQJWKHQDQRPRODUSHUOLWHUWDUJHWLVVHW
     FRQFHUQ"                                                      EHFDXVHWKDW VJHQHUDOO\EHOLHYHGWREHDWWKHXSSHU
     $,GRQ WNQRZWKDW,ZRXOGDJDLQ,GRQ W         UDQJHRIWHVWRVWHURQHOHYHOVLQQRUPDOKHDOWK\IHPDOHV"
     NQRZWKDW, PDQH[SHUWRQZKDWLVOHJLWLPDWHRUQRW,      $77251(<%/2&.2EMHFWLRQWRIRUP
     FRPHLQWRWKHURRPDVWKHVFLHQWLVWWDONLQJDERXWZKDW        7+(:,71(666RWKHQDQRPRODUSHU
     LVWUXHDQGZKDWLVQRWWUXHZKDWGRZHNQRZDQGZKDW        OLWHUWDUJHWLVWKHXSSHUOHYHOIRUDGXOWVFLVJHQGHU
     GRZHQRWNQRZ                                               ZRPHQ
     46RRQWKHTXHVWLRQWKHQDIWHUWKHVFLHQFHKDV        %<$77251(<%522.6
     EHHQSXWRQWKHWDEOHDVWRKRZWREDODQFHWKDWZLWK          4$QGZLWKWKDWFODULILHGFDQ\RXH[SODLQWRPH


                                                                                             3DJHVWR
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                                                     3DJH                                                         3DJH
      ZKDW\RXPHDQWE\WKHVHQWHQFHWKDW,MXVWUHDGZKDW           ZRPHQKDVDQXSSHUOLPLWRIQDQRPRODUSHUOLWHU
      WKHSRLQWLVWKHUH"                                             WKHUHDUHFLVJHQGHUZRPHQZKRIRUDYDULHW\RIUHDVRQV
      $7KHSRLQWRIWKHVHQWHQFHLVWR,JXHVV            KDYHQXPEHUVKLJKHUWKDQWKDWDQGVRWKDWDQGVR
      WKHUHDUHDFRXSOHRIFRQVLGHUDWLRQVLQWHUPVRI                WKDWLVSDUWRIWKHFRQVLGHUDWLRQ
      GHWHUPLQLQJWKHVHQXPEHUVEXWVRSDUWRIWKHSRLQW         %<$77251(<%522.6
      LVWRLGHQWLI\QXPEHUVWKDWDUHIHDVLEOHIRUWUDQVJHQGHU        4/HWPHWDNH\RXWRWKHWZRSDUDJUDSKVEHORZWKDW
      ZRPHQRQWKHLUPHGLFDOWUHDWPHQW                               WRWKHSDUDJUDSKWKDWEHJLQVWKHVRFLHWDOSULRULWLHV
      4,VWKHUHVRPHRWKHUSRLQWWRWKLVVHQWHQFHLQ          'R\RXVHHWKDWSDUDJUDSK"
      \RXUXQGHUVWDQGLQJDVLWLVRIIHUHG"                            $,GR
     $77251(<%/2&.2EMHFWLRQWRIRUP             47KHODVWVHQWHQFHRIWKDWSDUDJUDSKUHDGVLI
     7+(:,71(666RWKHVHQWHQFHUHIHUHQFHV        DGYDQWDJHIURPWHVWRVWHURQHLVGHPRQVWUDWHGGRHV
     WKDWSLHFHEXWWKHUHLVWKHDGGLWLRQDOFRQWH[WRI             VRFLHW\ZDQWWRLPSOHPHQWUXOHVWKDWPD\LQGLUHFWO\
     KDYLQJDQXPEHUWKDWLVIDLUWRWKHJUHDWHUIHPDOH             FRHUFHWUDQVJHQGHUFKLOGUHQWREHJLQPHGLFDOUHJLPHQV
     FRPPLWWHHFLVJHQGHUDQGWUDQVJHQGHUWRR                       SULRUWRWKHLUEHLQJUHDG\DQGWKDWWKH\PLJKWQHYHU
     %<$77251(<%522.6                                            DFWXDOO\FKRRVHRWKHUZLVHFORVHGTXRWH
     46RLW VIDLULQ\RXUMXGJPHQWWRWUDQVJHQGHU          'R\RXVHHWKDWODQJXDJH"
     ZRPHQEHFDXVHWKHWKUHVKROGWKDWLVEHLQJVHWJLYHV           $,GR
     ZKDWVKRXOGZHVD\SOHQW\RIEXIIHUDERYHZKDWLV             4:RXOG\RXH[SODLQWRPHWKHFRQFHUQWKDW\RXDUH
     FRQVLGHUHGWREHWKHXSSHUUDQJHRIQRUPDOIHPDOH              H[SUHVVLQJWKHUH"
     WHVWRVWHURQHOHYHOV"                                           $,IDVRFLHWDOJRDODQGDJDLQKHUHUHFRJQL]H
     $77251(<%/2&.2EMHFWLRQWRIRUP             , PQRWDFWLQJDVDQH[SHUWLQWKLVVSDFHEXW, P
     7+(:,71(665LJKW6R, PQRWWDNLQJD       WU\LQJWRH[SODLQWRP\FROOHDJXHVZKDWSHRSOHDUH
     SRVLWLRQRQZKDWLVIDLUWREHFOHDU                          GLVFXVVLQJ$QGLIRXUFRQFHUQLVLQFUHDVHG
     %<$77251(<%522.6                                            SDUWLFLSDWLRQLQVSRUWE\YDULRXVSHRSOHWKHQ\RXFDQ


                                                     3DJH                                                         3DJH
      47KDQN\RX                                             HQYLVLRQDFLUFXPVWDQFHZKHUHVRPHJLUOVIDUWKHUDORQJ
      $%XWWKHFRQFHSWRIWKRVHLQWKHURRPPDNLQJWKDW       LQSXEHUW\KDYHDWHVWRVWHURQHDGYDQWDJHWKDWFRXOGEH
      GLVWLQFWLRQIHOWWKDWWKLVFXWRIIZRXOGEHIDLUEHFDXVH         GHPRQVWUDWHG$JDLQQRWWKDWZHHYHQKDYHDWWKLV
      WKHUHZRXOGEHLQGHHGFUHDWHVRPHEXIIHUDQG                 SRLQW$QGWKHQZHZRXOGEHIDFHGZLWKWKDWTXHVWLRQ
      WKHUHIRUHSHRSOHZKRZHUHQ WSHUIHFWO\DWJRDOZRXOG           ZKLFKLVWKDWFRPSHWLQJJRDORIPDNLQJWKRVHWUDQVJHQGHU
      VWLOOEHLQFOXGHG                                              JLUOVSDUWLFLSDWHLQVSRUWVDQGDUHFRJQLWLRQLIWKH\
      46REHFDXVHWKLVPD\EHLPSRUWDQWOHWPH               DUHVXIILFLHQWO\IDUDORQJLQWKHLUGHYHORSPHQWWKDW
      FODULI\ZKHQ\RXZURWHVXFKWKUHVKROGVDUHFRQVLGHUHG          WKH\PD\KDYHDQDGYDQWDJHLIZHGHPRQVWUDWHVXFKDQ
      WREHIDLU\RXZHUHQRWRIIHULQJDSHUVRQDORSLQLRQ            DGYDQWDJH
     DERXWIDLUQHVVEXWH[SODLQLQJWKHMXGJPHQWWKDWKDGEHHQ       4/HWPHVHHLI,FDQEUHDNWKDWRXW:HUH\RX
     PDGHE\WKLVFRPPLWWHHDERXWIDLUQHVV"                         WDONLQJKHUHDERXWDFRQFHUQDERXWDK\SRWKHWLFDOUXOH
     $7KDW VFRUUHFW                                       WKDWVD\VWRDQDWDOPDOHZKRLGHQWLILHVDVIHPDOHWKDW
     47KDQN\RX$QGGLGLWFDXVH\RXSHUVRQDOO\DQ\       \RXPD\SOD\LI\RXKDYHVXSSUHVVHGWHVWRVWHURQH\RX
     FRQFHUQWKDWWKHWKUHVKROGWKDWEHFDXVHWKH                PD\SOD\LI\RXKDYHWDNHQSXEHUW\EORFNHUVDWDQHDUO\
     WKUHVKROGWKDWZDVVHWZDVPRUHWKDQWKUHHWLPHVKLJKHU        DJHEXW\RXPD\QRWSOD\LI\RXKDYHQRWWDNHQSXEHUW\
     WKDQWKHXSSHUERXQGVRIWHVWRVWHURQHFRQFHQWUDWLRQVLQ        EORFNHUVIURPDQHDUO\VWDJH",VWKDWWKHK\SRWKHWLFDO
     QRUPDOKHDOWK\ZRPHQWKDWWKDWPLJKWEHXQIDLUWRWKH         VWUXFWXUHWKDW\RXZHUHDGGUHVVLQJLQWKLVVHQWHQFH"
     EURDGHUSRSXODWLRQRIFLVJHQGHUZRPHQ"                         $77251(<%/2&.2EMHFWLRQWRIRUP
     $77251(<%/2&.2EMHFWLRQWRIRUP             7+(:,71(666RWKHLWLVD
     7+(:,71(666RWREHFOHDU, PQRW           K\SRWKHWLFDODQGLWZRXOGEHWKDWLIZHPDNHDVSHFLILF
     UHQGHULQJDQRSLQLRQDVDQH[SHUWRQZKDWLVIDLUEXW,       WHVWRVWHURQHORZHULQJUXOHDWDVFKRODVWLFOHYHOPLJKW
     FDQLQWHUSUHWWKHFRQVLGHUDWLRQVRISHRSOHKDYLQJWKHVH        ZHUXQLQWRDFLUFXPVWDQFHZKHUHZHDUHHQFRXUDJLQJ
     FRQYHUVDWLRQV$QGVRZKLOHLWLVWUXHWKDWWKH               VRPHERG\WRPDNHPHGLFDWLRQZKRPLJKWQRWRWKHUZLVHWDNH
     ODERUDWRU\UDQJHIRUWHVWRVWHURQHIRUKHDOWK\FLVJHQGHU        WKDWPHGLFDWLRQ


                                                                                              3DJHVWR
                Case: 22-5807
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                                                    3DJH                                                         3DJH
      %<$77251(<%522.6                                            /HWPHMXVWDVNWKLVLQJHQHUDO'R\RXKDYH
      4$QGVWD\LQJDZD\IURPTXHVWLRQVRIIDLUQHVVDQG       DQRSLQLRQDVWRKRZPXFKRIDSHUIRUPDQFHDGYDQWDJH
      VSHDNLQJIURPZKDW,WKLQNLVDPHGLFDOHWKLFV                 ZRXOGFRXQWIRUWKRVHIRUQDWDOPDOHVYHUVXVQDWDO
      SHUVSHFWLYHZRXOG\RXWKLQNLWUDLVHVHWKLFDOSUREOHPV        IHPDOHVKRZPXFKRIDSHUIRUPDQFHDGYDQWDJHZRXOGEH
      LIVRFLHW\ZHUHWRDGRSWDUXOHWKDWSHUPLWWHGFHUWDLQ         TXRWHVLJQLILFDQW"
      LQGLYLGXDOVWRFRPSHWHLQIHPDOHDWKOHWLFVLIWKH\KDG         $77251(<%/2&.2EMHFWLRQWRIRUP
      WDNHQSXEHUW\EORFNHUVEXWGLGQRWSHUPLWWKHPWR              7+(:,71(66,GRQRWKDYHDQRSLQLRQ
      FRPSHWHZLWKWKHDWKOHWLFLIWKH\KDGQRWWDNHQSXEHUW\        %<$77251(<%522.6
      EORFNHUV"                                                      4$QGLQ\RXUYLHZLVWKDWHYHQDVFLHQWLILF
     $77251(<%/2&.2EMHFWLRQWRIRUP            TXHVWLRQ"
     7+(:,71(66,WKLQNWKDW VEH\RQGZKHUH      $77251(<%/2&.2EMHFWLRQWRIRUP
     , PFRPPHQWLQJDVDQH[SHUWZLWQHVV6RPHRIWKDW            7+(:,71(66/HWPHWKLQN1RWKDW
     GHFLVLRQLVDVRFLHW\GHFLVLRQRUIRURWKHUH[SHUWV          LVQ WDVFLHQWLILFTXHVWLRQ
     %<$77251(<%522.6                                           %<$77251(<%522.6
     4'R\RXFRQVLGHU\RXUVHOIWRKDYHVRPHH[SHUWLVH      4$QG\RXDQGWKHQH[WVHQWHQFHLVWKHUHD
     RQPHGLFDOHWKLFV"                                            SRLQWZKHUHDQDGYDQWDJHVXFKDQDGYDQWDJHZRXOG
     $1RWDVDQH[SHUW                                    RXWZHLJKDSULRULW\WRPRWLYDWHDOOWRSDUWLFLSDWH$P
     4$QG\RXGRQ WIHHODEOH\RXGRQ WKDYHDQ\       ,FRUUHFWWKDW\RXDOVRGRQ WFRQVLGHUWKDWWREHD
     RSLQLRQDV\RXVLWKHUHWRGD\DVWRZKHWKHUDSROLF\          VFLHQWLILFTXHVWLRQ"
     WKDWFUHDWHGLQFHQWLYHVIRUFKLOGUHQWREHJLQPHGLFDO         $7KDWLVFRUUHFW
     UHJLPHVUHODWLQJWRJHQGHUWUDQVLWLRQFRXOGUDLVH             47KDWLVDYDOXHMXGJPHQW"
     PHGLFDOHWKLFDOFRQFHUQV"                                     $77251(<%/2&.2EMHFWLRQWRIRUP
     $1RWDVDPHGLFDOH[SHUWWKDW VULJKW               7+(:,71(666RLW VQRWDVFLHQWLILF
     4,QWKHQH[WSDUDJUDSKDQG,WKLQNZHVDLG        TXHVWLRQ,FDQJRDOLWWOHPRUHLQ,FDQH[SDQGD


                                                    3DJH                                                         3DJH
      WKLVLVMXVWRXWLQWKHODVWFRXSOHRIZHHNVWKLV             OLWWOHELWWKHUHZKLFKLVWRVD\WKDWZHKDYHYDULRXV
      SXEOLFDWLRQ                                                   DGYDQWDJHVDQGGHJUHHVRIXQIDLUQHVV6RZKDWFRXOGEH
      5LJKW"                                                DVFLHQWLILFTXHVWLRQLIZHNQHZWKHDQVZHUVZRXOG
      $,W VYHU\IUHVK1XPEHUILYHVR\HV                LQFOXGHWKHGHJUHHRIDGYDQWDJHIRUVRPHFLUFXPVWDQFH
      4, PQRWSOD\LQJPHPRU\JDPHV,WVD\VDWWKH         YHUVXVDQRWKHUFLUFXPVWDQFHZKHUHZHDUHDEOHWRPHDVXUH
      WRSDGYDQFHDFFHVVSXEOLFDWLRQ0DUFK"                  WKRVHWKLQJV
      $*RRG                                                 %<$77251(<%522.6
      46RYHU\UHFHQW"                                       4%XWWKHTXHVWLRQRIZKHWKHUDQDGYDQWDJHRQWKH
      $<HV                                                  RQHKDQGRXWZHLJKVDGHVLUHWREHLQFOXVLYHRQWKHRWKHU
     4$QG\RXEHOLHYH\RXDUHUHDVRQDEO\FXUUHQWLQ        KDQGLVDYDOXHTXHVWLRQQRWDVFLHQWLILFTXHVWLRQ"
     WKHVFLHQFHRIWKLVDUHD"                                     $77251(<%/2&.2EMHFWLRQWRIRUP
     $,DPUHDVRQDEO\FXUUHQWLQGHHG                     %<$77251(<%522.6
     4,GLGQ WDVNLI\RXNQRZLWDOOEHFDXVHQRERG\       4,Q\RXURSLQLRQ
     NQRZVLWDOOEXW\RXVD\DWWKHEHJLQQLQJRIWKLV            $77251(<%/2&.2EMHFWLRQWRIRUP
     SDUDJUDSKPXFKUHPDLQVXQNQRZQVFLHQWLILFDOO\$QG\RX       7+(:,71(666R,JXHVV,ZRXOGMXVWJR
     FRQWLQXHTXRWHIRUH[DPSOHDWZKDWSRLQWLQSXEHUW\        EDFNWRVD\LQJKRZ,VDLGLWZKLFKLVWKHVFLHQWLILF
     LVDGYDQWDJHIURPWHVWRVWHURQHVLJQLILFDQW,VWKHUHD       TXHVWLRQLQWKHUHZRXOGEHWRSURYLGHWKDWGHJUHHRI
     SRLQWZKHUHVXFKDGYDQWDJHZRXOGRXWZHLJKDSULRULW\WR       GLIIHUHQFHDQGVKRZIRUH[DPSOHWKDWWKLVZRXOGEH
     RXWZHLJKDOOSDUWLFLSDQWVDOOWRSDUWLFLSDWHLQ           WKLVLVVPDOODGYDQWDJHVYHUVXVVRPHRQHWKDWZHDUH
     VSRUWRIVRPHVRUWFORVHGTXRWH                             DOUHDG\GRLQVRFLHW\DVELJDGYDQWDJHDQGWKDWZRXOGEH
     'R\RXVHHWKDWODQJXDJH"                            KRZWKDWZRXOGEHWKHUROHRIWKHVFLHQWLVW
     $,GR                                                %<$77251(<%522.6
     4$QGDFWXDOO\WKHSRLQWLQZULWLQJWKHVHFRQG         4,XQGHUVWDQGWKDW VZKDW\RXZRXOGOLNHWRVD\
     VHQWHQFHWKHUHVWULNHWKDW                               EXWP\TXHVWLRQIRU\RXLVLQ\RXURSLQLRQLVWKHQH[W


                                                                                           3DJHVWR
                Case: 22-5807
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                                                    3DJH                                                                  3DJH
      VWHSRIGHFLGLQJRIZKHWKHUWKDWDGYDQWDJHZKLFKKDVQRZ       %<$77251(<%522.6
      EHHQVFLHQWLILFDOO\GHWDLOHGRXWZHLJKVDSULRULW\WR           4/HWPHDVN\RXWRILQG\RXULQLWLDOH[SHUW
      PRWLYDWHDOOWRSDUWLFLSDWHLVDYDOXHGHFLVLRQ               UHSRUWZKLFKLV([KLELWDQGWKHUH,ZLOODVN\RXWR
      $77251(<%/2&.2EMHFWLRQWRIRUP             WXUQWRSDUDJUDSK$WWKHEHJLQQLQJRISDUDJUDSK
      7+(:,71(66<HDK,GRQ W,JXHVV,       \RXZURWHLQWKLVUHSRUWH[HFXWHGRQ-DQXDU\
      FDQ WDVDQH[SHUWVD\IRUFHUWDLQWKDWLQDOO                 ZKLFKLVWZRPRQWKVSULRUWRWKHSXEOLFDWLRQGDWHRIWKH
      FLUFXPVWDQFHVWKDWLVDYDOXHWRFRQVLGHU                     DUWLFOHZHMXVWORRNHGDWDQGDFWXDOO\OHWPHSDXVH
      %<$77251(<%522.6                                            DQGDVN\RXZKHQGLG\RXZULWHWKHDUWLFOHWKDWZHMXVW
      4<RXFRQWLQXHDPRQJ\RXUOLVWVRIWKLQJVWKDW          ORRNHGDW"$QGWKHSURFHVVDOZD\VJULQGVRQIRUD
     DUHTXRWHXQNQRZQVFLHQWLILFDOO\TXRWHIRUWKRVHZKR      OLWWOHZKLOH:KHQGR\RXWKLQN\RXVXEVWDQWLDOO\
     KDYHFRPSOHWHGSXEHUW\ZKDWGXUDWLRQRI                      FRPSOHWHGWKHWDVN"
     WHVWRVWHURQHORZHULQJWUHDWPHQWLVVXIILFLHQWWRFUHDWH       $,KRQHVWO\GRQ WUHPHPEHU
     DOHYHOSOD\LQJILHOGLQDJLYHQVSRUWFORVHGTXRWH         46RUU\7KHTXHVWLRQZDVZKHQGR\RXWKLQN\RX
     'R\RXVHHWKDW"                                     VXEVWDQWLDOO\ZURWHWKHWH[WLQWKHDUWLFOHWKDW\RX
     $<HV                                                 MXVWORRNHGDW"
     4$QGLQ\RXUYLHZWKHTXHVWLRQRIZKDWGXUDWLRQ      $,KRQHVWO\GRQ WUHPHPEHUWKHGHWDLOV:HFDQ
     RIWHVWRVWHURQHORZHULQJWUHDWPHQWLIDQ\FDQEH            WDONLQ\HDUVVRLWZRXOGEHDQGEDFNLQWR
     VXIILFLHQWWRFUHDWHDOHYHOSOD\LQJILHOGLQDJLYHQ         42ND\
     VSRUWLVFXUUHQWO\XQNQRZQVFLHQWLILFDOO\"                    6RDERXWWKHVDPHWLPHWKDW\RXZHUHSUHSDULQJ
     $77251(<%/2&.2EMHFWLRQWRIRUP            WKLVH[SHUWUHSRUW"
     7+(:,71(66,W VXQNQRZQVFLHQWLILFDOO\      $7KHUHFHUWDLQO\ZRXOGEHVRPHRYHUODS
     DFURVVYLUWXDOO\DOOVSRUWV:KDWGXUDWLRQRI                4<RXZURWHLQSDUDJUDSKTXRWHHYHQLI
     WHVWRVWHURQHORZHULQJUDLVHVZKDWGHJUHHRIDGYDQWDJH        HYLGHQFHZHUHHYHQWXDOO\WRVKRZWKDWRQDYHUDJH
     ,W VMXVWDWWKDWOHYHO7RJRWRWKHOHYHOSOD\LQJ          WUDQVJHQGHUZRPHQKDYHVRPHOHYHORIDGYDQWDJHFRPSDUHG


                                                    3DJH                                                                  3DJH
      ILHOGLVDZKROHIXUWKHUWLHU                                 WRDYHUDJHQRQWUDQVJHQGHUZRPHQFORVHGTXRWH
      %<$77251(<%522.6                                            'R\RXVHHWKDWODQJXDJH"
      4$QGLQ\RXUILQDOSDUDJUDSK,WKLQN\RXVDLGDW       $,GR
      WKHEHJLQQLQJWKDWLQSDUWWKLVZDVDFDOOWRWKH            41RZLQIDFW\RXDUHDZDUHRIVXEVWDQWLDO
      ILHOGRIHQGRFULQRORJ\IRUQHHGHGUHVHDUFK,QWKH            HYLGHQFHWKDWRQDYHUDJHWUDQVJHQGHUZRPHQGRKDYH
      ILQDOSDUDJUDSK\RXVD\TXRWHZHLQWKHHQGRFULQH            VRPHOHYHORIDGYDQWDJHFRPSDUHGWRDGYDQWDJH
      KHDOWKFDUHFRPPXQLW\KDYHPXFKZRUNWRGRWRFUHDWHDQ         QRQWUDQVJHQGHUZRPHQ
      HYLGHQFHEDVHWRKHOSJXLGHGHFLVLRQPDNHUVVRWKH             &RUUHFW"
      FKRLFHVIRUWUDQVJHQGHUZRPHQLQVSRUWDUHGDWDGULYHQ        $77251(<%/2&.2EMHFWLRQWRIRUP
     FORVHGTXRWH                                                 7+(:,71(661R, PQRW6RWKDWLVQ W
     +DYH,UHDGWKDWODQJXDJHFRUUHFWO\"                 P\VWDWHPHQW
     $<HV                                                 %<$77251(<%522.6
     46RLW V\RXUYLHZDVRIWKDWWKHGDWDWKDW      4$QGLVWKHTXHVWLRQVR\RXVHUYHGRQWKH
     ZHKDYHDYDLODEOHWRGD\DUHLQVXIILFLHQWWRHQDEOHGDWD       ,$$)&RPPLWWHHGLVFXVVLQJTXHVWLRQVRIWHVWRVWHURQH
     GULYHQFKRLFHVDERXWWUDQVJHQGHUSDUWLFLSDWLRQLQIHPDOH      OHYHOV$QGLQWKDWFRQWH[W\RXGLGQRWEHFRPH
     DWKOHWLFV                                                    DFTXDLQWHGZLWKGDWDVKRZLQJWKDWRQDYHUDJHWUDQVJHQGHU
     &RUUHFW"                                             ZRPHQKDYHVRPHOHYHORIDGYDQWDJHFRPSDUHGWRDYHUDJH
     $77251(<%/2&.2EMHFWLRQWRIRUP            QRQWUDQVJHQGHUZRPHQ"
     7+(:,71(66,ZRXOGVD\WKDWLQZH      $1RWLQVRQR,QWKHFRQWH[WRIVSHFLILF
     KDYHLQVXIILFLHQWGDWDWRKRZZRXOG,VD\WKLVZH        VSRUWVQR
     KDYHLQVXIILFLHQWGDWDWRPDNHUXOHVIRUOHW VVD\          4'R\RXFRQVLGHUWKHTXHVWLRQRIKRZPXFK
     WUDQVJHQGHUZRPHQPRVWO\WDONLQJDERXWROGHUPRUH            DGYDQWDJHQDWDOPDOHVKDYHRYHUQDWDOIHPDOHVLQ
     GHYHORSHGSHRSOHWKDWZRXOGDGGUHVVWKHVHFRQFHUQVIRU       SDUWLFXODUVSRUWVWREHZLWKLQ\RXUSURIHVVLRQDO
     SDUWLFLSDWLRQ                                                H[SHUWLVH"



                                                                                               3DJHVWR
                Case: 22-5807
     Case 2:21-cv-00316        Document:
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                                                    3DJH                                                         3DJH
      $77251(<%/2&.2EMHFWLRQWRIRUP             
      7+(:,71(666RVRUU\VRFLVJHQGHU         $77251(<:,/.,16217DE
      PHQYHUVXVFLVJHQGHUZRPHQWKDWGLIIHUHQFHDWDQDGXOW        9,'(2*5$3+(5, PVRUU\ZKDWWDELVLW"
      OHYHOLVDWP\H[SHUWLVHWRNQRZWKDWGHJUHHRI               $77251(<%522.67DE
      GLIIHUHQFH",VWKDWWKHTXHVWLRQ"                             %<$77251(<%522.6
      %<$77251(<%522.6                                            4$QG'RFWRU6DIHUDP,FRUUHFWWKLVLVDQ
      4,WLV                                                DUWLFOHWKDW\RXUHDGZLWKVRPHFDUH"
      $1RWKDWLVQRWP\H[SHUWLVH                         $7KLVLVDQDUWLFOHWKDW,UHDGZLWKVRPHFDUH
      4$QGLVLWZLWKLQ\RXUH[SHUWLVHWRNQRZWKH           4<RXFLWHGLQ\RXUH[SHUWUHSRUW
     OHYHORIDGYDQWDJHHQMR\HGE\QDWDOPDOHVZKRKDYH            &RUUHFW"
     WUDQVLWLRQHGWRIHPDOHJHQGHULGHQWLW\RYHUFLVJHQGHU         $,WKLQNVR
     ZRPHQLQDQ\SDUWLFXODUVSRUW"                                4,WKLQNVRWRR,W VQRWDPHPRU\WHVW,
     $77251(<%/2&.2EMHFWLRQWRIRUP            UHWUDFWWKHTXHVWLRQ:HZLOOFRPHWRLWVKRUWO\
     7+(:,71(666RLQWKHVRLIZHDUH       /HWPHDVN\RXWRWXUQLQDQGOHWPHDVN
     WDONLQJFLVJHQGHUZRPHQYHUVXVWUDQVJHQGHUZRPHQLW          \RXGR\RXNQRZ3URIHVVRU+DQGHOVPDQSHUVRQDOO\"
     ZRXOGEHLQP\H[SHUWLVHWRNQRZZKDWGDWDZHKDYHRQ         $,GRQRW
     WKLVVXEMHFWZKLFKLVGLIIHUHQWIURPNQRZLQJWKHGHJUHH      4+DYH\RXHQFRXQWHUHGKLPLQDQ\RWKHUDFWLRQV"
     RIGLIIHUHQFHEHFDXVHZHGRQ WKDYHWKRVHGDWD               $,KDYH
     %<$77251(<%522.6                                           42QFHPRUHWKDQRQFH"
     4<RXVD\LQSDUDJUDSKOHWPHILQGWKLV           $7KDWLVDOVRDWULFNTXHVWLRQIRUPH)RUVXUH
     TXRWHWKHUHLVQRLQKHUHQWUHDVRQZK\WUDQVJHQGHUZRPHQ      RQFH
     SK\VLRORJLFDOFKDUDFWHULVWLFVUHODWHGWRDWKOHWLF             42ND\
     SHUIRUPDQFHVKRXOGEHWUHDWHGDVDQ\PRUHRIDQXQIDLU        'R\RXFRQVLGHUKLPWRKDYHDKLJKUHSXWDWLRQ
     DGYDQWDJHWKDQWKHDGYDQWDJHVWKDWDOUHDG\H[LVWDPRQJ        LQWKHILHOG"


                                                    3DJH                                                         3DJH
      GLIIHUHQWZRPHQDWKOHWHV'R\RXVHHWKDWODQJXDJH"           $,IWKDWTXHVWLRQLVDVDQH[SHUW,FDQ W,
      $,GR                                                 ZRQ WFRPPHQWEXWKHFHUWDLQO\KDVSXEOLVKHGZLGHO\DQG
      41RZHDUOLHU\RXWROGPHUDWKHUHPSKDWLFDOO\          ZHTXRWHKLP
      WKDWWKHTXHVWLRQRIIDLUQHVVLVRXWVLGH\RXU                  4:KDWGR\RXPHDQE\ZHLQWKDWDQVZHU"
      SURIHVVLRQDOH[SHUWLVH                                        $7KHUHVWRIXVLQWKHILHOGDQG,FHUWDLQO\
      &RUUHFW"                                              TXRWHKLPLQDQH[SHUWRSLQLRQ
      $77251(<%/2&.2EMHFWLRQWRIRUP             4$OOULJKW
      7+(:,71(66,WLVRXWVLGHP\H[SHUWLVH       $QGWKLVDUWLFOHLQSDUWLFXODUZHQRWH\RX
      %<$77251(<%522.6                                            ZLGHO\UHIHUHQFH"
     46RZK\GLG\RXRIIHUKHUHDQRSLQLRQDERXWZKDW      $7KLVDUWLFOHLV\HDK,WKLQNWKDWLV
     LVIDLURUXQIDLU"                                            DFWXDOO\DIDLUWKLQJWRVD\,WLVDVZLGHO\
     $77251(<%/2&.2EMHFWLRQWRIRUP            UHIHUHQFHGDVDQ\WKLQJLQDUHODWLYHO\VPDOOILHOG
     7+(:,71(665LJKW6R, PQRW               4/HWPHDVN\RXWRWXUQWRWKHVHFRQGSDJHRI
     GHWHUPLQLQJWKHIDLUQHVVSHUVHDVDQH[SHUWEXW, P         WKLVDUWLFOHZKHUH3URIHVVRU+DQGHOVPDQLQWKHILUVW
     VLPSO\WDONLQJDERXWWKHLQSXWVZKHUHVRPHERG\ZKRLV         IXOOSDUDJUDSKWKHVHFRQGIXOOSDUDJUDSKEHJLQV
     GHWHUPLQLQJZKDWLVIDLUZKHUHVRPHERG\LV                QHYHUWKHOHVV+HVD\VTXRWHIDLUQHVVLVDQHOXVLYH
     GHWHUPLQLQJZKDWLVIDLUZRXOGFRQVLGHU                      VXEMHFWLYHFRQFHSWZLWKPDOOHDEOHERXQGDULHVWKDWPD\
     $77251(<%522.6/HWPHPDUNDV6DIHU         FKDQJHRYHUWLPHDVVRFLDOFRQFHSWVRIIDLUQHVVHYROYH
     ([KLELWDQDUWLFOHE\3URIHVVRU+DQGHOVPDQHQWLWOHG         'R\RXVHHWKDW"
     &LUFXODWLQJ7HVWRVWHURQHRQD+RUPRQDO%DVLVRI6H[           $,GR
     'LIIHUHQFHVLQ$WKOHWLF3HUIRUPDQFH                          4'R\RXDJUHHZLWKWKDWVWDWHPHQW"
                                     $$VDQH[SHUW,FDQ WFRPPHQW
      :KHUHXSRQ([KLELW3URIHVVRU+DQGHOVPDQ       4<RXGRQ WSXUSRUWWREHDEOHWRJLYHDQ\
     $UWLFOHZDVPDUNHGIRULGHQWLILFDWLRQ           GHILQLWLRQRIIDLUQHVV"


                                                                                           3DJHVWR
                Case: 22-5807
     Case 2:21-cv-00316        Document:
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                                                    3DJH                                                         3DJH
      $77251(<%/2&.2EMHFWLRQWRIRUP             KDYHVXEVWDQWLDOO\PRUHIDYRUDEOHSK\VLTXHVWKDQRWKHUV"
      7+(:,71(66<HVQRWDVDQH[SHUW            $77251(<%/2&.2EMHFWLRQWRIRUP
      %<$77251(<%522.6                                            7+(:,71(665LJKW6RIRUDQ\JLYHQ
      4$QG\RXGRQ WKDYHDQ\RSLQLRQDVWRZKHWKHU          VSRUWVRPHZRPHQKDYHDGYDQWDJHVUHODWLYHO\WRRWKHUV
      VWDQGDUGVRIIDLUQHVVFDQFKDQJHRYHUWLPH"                    \HV
      $77251(<%/2&.2EMHFWLRQWRIRUP             %<$77251(<%522.6
      7+(:,71(66, PDZDUHRIWKH                  4$QGLQEDVNHWEDOOVRPHDUHVLPSO\JHQHWLFDOO\
      FRQYHUVDWLRQRQWKHVXEMHFWRIFRXUVHEXWLI\RXDUH         JRLQJWREHVXEVWDQWLDOO\WDOOHUWKDQRWKHUV"
      DVNLQJPHWRFRPPHQWDVDQH[SHUWWKHQQR                    $,QEDVNHWEDOOVRPHDUHWDOOHUWKDQRWKHUV\HV
     %<$77251(<%522.6                                           4, PQRWVSHDNLQJIRU\RX,DW LQP\
     4,IWKHDFWXDOHYLGHQFHVKRZVWKDWWKHDFWXDO         VKRHVIRULQVWDQFHZDVDPMXVWSK\VLRORJLFDOO\
     VFLHQWLILFGDWDZHUHWRVKRZWKDWTXRWHRQDYHUDJH          GLVDGYDQWDJHGIRUEDVNHWEDOOFRPSDUHGWRDPDQZKRLV
     WUDQVJHQGHUZRPHQKDYHFORVHGTXRWHDYHU\ODUJH             "
     DGYDQWDJHFRPSDUHGWRDYHUDJHQRQWUDQVJHQGHUZRPHQ          $77251(<%/2&.2EMHFWLRQWRIRUP
     ZRXOG\RXWKHQKDYHDQ\YLHZDVWRZKHWKHUSHUPLWWLQJ         7+(:,71(666RDVDQH[SHUW,DFWXDOO\
     QRQWUDQVJHQGHUZRPHQWRFRPSHWHLQIHPDOHFDWHJRULHVLV      ZRXOGQ WJRWKHUHEHFDXVHWKHUHDUHRWKHU
     IDLU"                                                         FKDUDFWHULVWLFVLQEDVNHWEDOOSHUVH
     $77251(<%/2&.2EMHFWLRQWRIRUP, P       %<$77251(<%522.6
     VRUU\ZKDW VWKHTXRWDWLRQ"                                  47KDW VWUXHDOWKRXJK,KDYHQRQHRIWKHP%XW
     %<$77251(<%522.6                                           LVLWLQ\RXUYLHZHTXDOO\WUXHWKDWWKHUHLVQR
     4,IDFWXDOGDWDZHUHWRVKRZWKDWRQDYHUDJH          LQKHUHQWUHDVRQZK\FLVJHQGHUPHQ VSK\VLRORJLFDO
     WUDQVJHQGHUZRPHQKDYHDYHU\ODUJHDGYDQWDJHFRPSDUHG        FKDUDFWHULVWLFVUHODWHGWRDWKOHWLFSHUIRUPDQFHVKRXOG
     WRQRQWUDQVJHQGHUZRPHQWKHQZRXOG\RXKDYHDQ\             EHWUHDWHGDVDQ\PRUHRIDQXQIDLUDGYDQWDJHIRU
     RSLQLRQDVWRZKHWKHULWLVIDLUWRSHUPLWWKH                FRPSHWLQJLQWKHZRPHQ VFDWHJRU\WKDQWKHDGYDQWDJHV


                                                    3DJH                                                         3DJH
      WUDQVJHQGHUZRPHQWRFRPSHWHLQWKHIHPDOHFDWHJRU\"           WKDWDOUHDG\H[LVWDPRQJGLIIHUHQWZRPHQDWKOHWHV"
      $77251(<%/2&.2EMHFWLRQWRIRUP             $6R\HDKOHW VJRWKURXJKWKLVPRUHVORZO\D
      7+(:,71(661RWKDWZRXOGQRWFKDQJH        VHFRQGVR, PFOHDU
      ,ZRXOGVLPSO\DVDQH[SHUW,ZRXOGWDONDERXWWKRVH           4$OO,GLGZDVVXEVWLWXWHFLVJHQGHUPHQIRU
      GHJUHHVRIGLIIHUHQFHDVLQIRUPDWLRQ                          WUDQVJHQGHUZRPHQLQWKDWVHQWHQFH$QGP\TXHVWLRQLV
      %<$77251(<%522.6                                            GRHVQ W\RXUDUJXPHQWDVVWDWHGWKHUHDSSO\H[DFWO\ZLWK
      4%XW\RXZRXOGRIIHUQRRSLQLRQDVWRZKHWKHU          HTXDOIRUFHWRFLVJHQGHUPDOH"
      SHUPLWWLQJWKHSDUWLFLSDWLRQLQWKHIHPDOHFDWHJRU\ZDV        $1R
      RUZDVQRWDSSURSULDWH"                                        4:K\LVWKDW"
     $,ZRXOGQRWRIIHUDQH[SHUWRSLQLRQ7KDW V         $:KHQZHWDONDERXWZKHQZH UHWDONLQJDERXW
     ULJKW                                                        DUDQJHRIFKDUDFWHULVWLFVDPRQJDUDQJHRISHRSOH
     41RZ\RXVD\LQSDUDJUDSKRI\RXUH[SHUW          YHUVXVVRPHWKLQJWKDWPLJKWEHV\VWHPDWLFDOO\WUXHRU
     UHFRUGWKDWWKHUHLVTXRWHQRLQKHUHQWZK\WUDQVJHQGHU      QRWDQGVRLWMXVWVRWKHDQVZHUMXVWHQGVXSEHLQJ
     ZRPHQ VSK\VLRORJLFDOFKDUDFWHULVWLFVUHODWHGWR              PRUHFRPSOH[
     DWKOHWLFSHUIRUPDQFHVKRXOGEHWUHDWHGDVDQ\PRUHRIDQ      4:HOO\RXKDYHWHVWLILHGWKDWPRVWQDWDOZRPHQ
     XQIDLUDGYDQWDJHWKDQWKHDGYDQWDJHVWKDWDOUHDG\H[LVW       SDUGRQPH\RXWHVWLILHGWKDWPRVWQDWDOPDOHVZLWK
     DPRQJGLIIHUHQWZRPHQDWKOHWHVFORVHTXRWH:HKDYH         IHPDOHJHQGHULGHQWLW\KDYHXQGHUJRQHDWOHDVWWKH
     ORRNHGDWWKDWODQJXDJH                                      PDMRULW\RIPDOHSXEHUW\EHIRUHWKH\SUHVHQWIRUJHQGHU
     &RUUHFW"                                             DIILUPLQJWUHDWPHQW
     $<RXDUHUHDGLQJWKDWFRUUHFWO\                      &RUUHFW"
     47KDQN\RX                                           $77251(<%/2&.2EMHFWLRQWRIRUP
     $:KDWHYHUWKHTXHVWLRQLV                            7+(:,71(666RPRVWFLVJHQGHUZRPHQ
     41RTXHVWLRQEH\RQGWKDWVRIDU$QG\RXUSRLQW      ZKHQWKH\FRPHWRPHGLFDODWWHQWLRQKDYHJRQHWKURXJKD
     ,WDNHLWLVWKDWIRUDQ\JLYHQVSRUWVRPHZRPHQMXVW         VLJQLILFDQWSXEHUW\WKHILYH7DQQHUVWDJHV


                                                                                           3DJHVWR
                Case: 22-5807
     Case 2:21-cv-00316        Document:
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                                                     3DJH                                                                        3DJH
      %<$77251(<%522.6                                             DGYDQWDJHLQWKHVSRUWWKH\ZLVKWRSOD\LQDVDUHVXOW
      4$QGMXVWWRFODULI\WRXVH\RXUWHUPVLQ             RIW\SLFDOPDOHGHYHORSPHQWWKDWWKH\KDGJRQHWKURXJK"
      JLYLQJWKDWDQVZHU\RXVDLGFLVJHQGHUZRPHQ7KDWLV           $77251(<%/2&.2EMHFWLRQWRIRUP
      QRWZKDW\RXPHDQW                                             7+(:,71(665LJKW, PQRWRIIHULQJDQ
      &RUUHFW"                                               RSLQLRQ,WZDVDORQJTXHVWLRQ
      $7KDWLVQRWZKDW,PHDQWWKDQN\RX                   %<$77251(<%522.6
      7UDQVJHQGHUZRPHQ                                              4:RXOG\RXOLNHWRKHDUWKHTXHVWLRQEDFN"
      4$QGWKHUHIRUHWKH\V\VWHPDWLFDOO\KDYHJRQH           $6XUHEXW, PQRWRIIHULQJDQRSLQLRQRQVHYHUDO
      WKURXJKV\VWHPDWLFDOO\JRQHWKURXJKSK\VLRORJLF             DVSHFWV
     FKDQJHVDVVRFLDWHGZLWKPDOHSXEHUW\"                          $77251(<%522.6:RXOG\RXUHDGWKDW
     $77251(<%/2&.2EMHFWLRQWRIRUP             TXHVWLRQEDFNSOHDVH"
     7+(:,71(666RWKHVRWKH\WKH\       
     KDYHJRQHWKURXJKPDOHSXEHUW\$QGWKHUHLVVRPHWKLQJ         &28575(3257(55($'6%$&.35(9,28648(67,21
     RQDYHUDJHWKDWPD\EHWUXHWKHUHEXWZKHWKHUWKDW            
     UHODWHVWRDQDGYDQWDJHLQDVSHFLILFVSRUW,FDQ WJR         %<$77251(<%522.6
     WKHUH                                                         4$QG\RXUDQVZHULV"
     %<$77251(<%522.6                                            $6R, PQRWRIIHULQJDQRSLQLRQ,VKRXOGH[SDQG
     4:HOOWKHH[DPSOHWKDW\RXJDYHHDUOLHURID          DELWEHFDXVHKRZWKDWTXHVWLRQZDVSKUDVHGDVDQ
     V\VWHPDWLFGLIIHUHQFHUHVXOWLQJIURPPDOHSXEHUW\WKDW         LQGLYLGXDOE\LQGLYLGXDOSHUVRQDQGPRVWRIWKHVHUXOHV
     WKHVHWUDQVJHQGHUZRPHQHQMR\LVKHLJKWWKDWLV\RX           DUHDFURVVDJURXSRIVSRUWV
     PHQWLRQHGWKDWHDUOLHU                                        4$QGP\TXHVWLRQZDVDERXWDQLQGLYLGXDOSHUVRQ
     &RUUHFW"                                              $<RXUTXHVWLRQZDVDQLQGLYLGXDOSHUVRQEXW
     $8KKXK \HV                                          45LJKW/RRNLQJDW\RXUSDUDJUDSKDJDLQGR
     46RDJDLQOHWPHDVNJLYHQWKDWDFFRUGLQJWR         \RXEHOLHYHWKHUHLVDUH\RXRIIHULQJDQRSLQLRQ


                                                     3DJH                                                                        3DJH
      \RXUWHVWLPRQ\DQGH[SHULHQFHWKHVXEVWDQWLDOPDMRULW\           OHWPHVWDUWWKDWDJDLQ$UH\RXDEOHWRLGHQWLI\IRU
      RIWUDQVJHQGHUZRPHQKDYHXQGHUJRQHPRVWRIPDOH                 PHDQ\LQKHUHQWUHDVRQZK\DUHODWLYHO\ZHDNRUVPDOORU
      SXEHUW\ZK\LVLWQRWHTXDOO\WUXHWKDWWKHUHLVQR             VORZPDOHVWULNHWKDW
      LQKHUHQWUHDVRQZK\FLVJHQGHUPHQ VSK\VLRORJLFDO                <RXUHIHUHQFHGLQ\RXUUHSRUWDQGDOVRWKH
      FKDUDFWHULVWLFVUHODWHGWRDWKOHWLFSHUIRUPDQFHVKRXOG           DUWLFOHZHMXVWORRNHGDWWKH,$$)UHJXODWLRQVWKDW
      EHWUHDWHGDVDQ\PRUHRIDQXQIDLUDGYDQWDJHVWKDQWKH          H[FOXGHGIURPWKHIHPDOHFDWHJRU\DQ\LQGLYLGXDOZKRKDV
      DGYDQWDJHVWKDWDOUHDG\H[LVWDPRQJGLIIHUHQWZRPHQ              FLUFXODWLQJWHVWRVWHURQHKLJKHUWKDQILYHQDQRPRODUSHU
      DWKOHWHV"                                                        OLWHU'R\RXUHFDOOWKDW"
      $6RLI, PIROORZLQJWKLVFRUUHFWO\WKHQLW V        $77251(<%/2&.2EMHFWLRQWRIRUP
     WKHQWKHDQVZHUWRWKHTXHVWLRQZK\DUHFLVJHQGHUPHQ           7+(:,71(666RMXVWWRFODULI\LWLV
     GLIIHUHQWWKDQWUDQVJHQGHUZRPHQ"                               QRWWKDWUXOHIRUILYHQDQRPRODUVLVQRWDFURVVDOO
     4:K\GRHVWKLVORJLFDSSO\GLIIHUHQWO\WRWKH           VSRUWV
     FLVJHQGHUPHQWKDQWRWKHWUDQVJHQGHUZRPHQ"                    %<$77251(<%522.6
     $6ROHW VVHH,WDFWXDOO\GRHVQ W6RLI\RX         4$QGZKLFKVSRUWVLQ\RXUUHFROOHFWLRQGLGWKDW
     KDYHDVSRUWZKHUHWKDWZKHUHWKHDGYDQWDJHRU          DSSO\WR"
     IRUWKHZKHUHDNQRZQDGYDQWDJHIRUFLVJHQGHUPHQ           $<HDKWKDW V,GRQ WUHPHPEHURIIWKHWRSRI
     YHUVXVFLVJHQGHUZRPHQZDVVXIILFLHQWO\PRGHVWDQG             P\KHDG
     DJDLQ,ZRXOGQ WEHWKHMXGJHRIWKDWEXW\RXFRXOG           4$WWKHYHU\OHDVWLWDSSOLHGWRWUDFNHYHQWV
     HQYLVLRQWKDWEHFRPLQJDFRHGVSRUW                            &RUUHFW"
     4$UH\RXRIIHULQJDQRSLQLRQWKDWHLWKHU                $,WGRHV%XWLI\RXVWDUWWRTXL]PHRQWKH
     JRYHUQPHQWRUOHDJXHVKDYHDQREOLJDWLRQWRGRDQ               VSHFLILFGLVWDQFHV,ZRQ WJHWWKDW
     LQGLYLGXDOE\LQGLYLGXDODVVHVVPHQWDVWRZKHWKHUD             4$QGQRUZLOO,VRTXL]\RX$QGWKDW
     SDUWLFXODUQDWDOPDOHZKRH[SHULHQFHVDIHPDOHJHQGHU           UHTXLUHPHQWDVDSSOLHGWRWUDFNFRPSHWLWLRQZDVLQ
     LGHQWLW\GRHVRUGRHVQRWHQMR\DSK\VLRORJLFDO                 IDFWWKHVXEMHFWRIDPDMRULQWHUQDWLRQDODUELWUDWLRQ



                                                                                                          3DJHVWR
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                                                     3DJH                                                         3DJH
      DV\RX UHDZDUH                                                4$QG\RXWKRXJKWWKDWWKDWUXOHZDVUHDVRQDEOH"
      &RUUHFW"                                               $$VZLWKWKHGDWDZHKDYHFXUUHQWO\\HV
      $,IZH UHUHIHUHQFLQJWKH&DVWHU6HPHQ\DFDVH          SHUVRQDOO\
      \HV                                                            4$QGZKDWLQ\RXURSLQLRQLVWKHLQKHUHQW
      4'LG\RX\RXUVHOIKDYHDQ\SDUWLFLSDWLRQLQWKDW        UHDVRQWKDWDGYDQWDJHVFRQIHUUHGE\WHVWRVWHURQHOHYHOV
      DUELWUDWLRQ"                                                    IDURXWVLGHWKHQRUPDOIHPDOHUDQJHVKRXOGEHWUHDWHGDV
      $,GLGQRW                                             DQ\PRUHRIDQXQIDLUDGYDQWDJHWKDQWKHDGYDQWDJHVWKDW
      4'R\RXNQRZZKHWKHU'RFWRU+DQGHOVPDQKDGDQ\          DOUHDG\H[LVWDPRQJGLIIHUHQWZRPHQDWKOHWHV"
      SDUWLFLSDWLRQLQWKDW"                                          $77251(<%/2&.2EMHFWLRQ, PVRUU\
     $77251(<%/2&.2EMHFWLRQ                     &DQ\RXFODULI\DVDQH[SHUWRUDVDQLQGLYLGXDOMXVW
     7+(:,71(66,GRQ WNQRZRIIWKHWRS          EHFDXVH\RXVKLIWHGEDFNDQGIRUWK"
     RIIRIP\KHDG                                                %<$77251(<%522.6
     %<$77251(<%522.6                                            4)LUVWDVDQH[SHUW
     4+DYH\RXHYHUUHDGWKHDUELWUDULDOGHFLVLRQLQ        $6R\HVJLYHPHWKHTXHVWLRQDJDLQ, P
     WKDWFDVH"                                                     VRUU\
     $, PFHUWDLQ,UHDGH[FHUSWVEXWWKDWLVDVPXFK      4:KDWLQ\RXURSLQLRQLVWKHLQKHUHQWUHDVRQ
     DV,FRXOGVD\                                                WKDWDGYDQWDJHVFRQIHUUHGE\WHVWRVWHURQHOHYHOVRXWVLGH
     42ND\                                                 WKHQRUPDOIHPDOHUDQJHVKRXOGEHWUHDWHGDVDQ\PRUHRI
     <RXSDUWLFLSDWHGLQGHYHORSLQJRQWKHD           DQXQIDLUDGYDQWDJHWKDQWKHDGYDQWDJHVWKDWDOUHDG\
     PHPEHURIWKHFRPPLWWHHWKDWGHYHORSHGWKHUHJXODWLRQ          H[LVWDPRQJGLIIHUHQWZRPHQDWKOHWHV"
     WKDW\RX YHUHIHUHQFHGWKHQDQRPRODUWKUHVKROG"           $6RWRFODULI\ZHVRRND\OHWPHJREDFN
     $,ZDVRQWKHFRPPLWWHHWKDWKHOSHGGHWHUPLQH          /HWPHDQVZHULQSLHFHV,JXHVVRUDVN\RXWRVD\LWLQ
     WKDWSDUWLFXODUWKUHVKROGFRQFHSWXDO\HV                     SLHFHV6RZKDWLVGLIIHUHQWEHWZHHQW\SLFDOPDOH
     4$QG\RX UHDZDUHWKDWLQDGGLWLRQWRLQGLYLGXDOV      OHYHOVRIWHVWRVWHURQHLQDQLQGLYLGXDODQGVRPHRWKHU


                                                     3DJH                                                         3DJH
      VXFKDV&DVWHU6HPHQ\DZKRVXIIHUHGRIDGLVRUGHURI           FKDUDFWHULVWLFVWKDWDUHDFURVVWKHUDQJHRI
      VH[XDOGHYHORSPHQWWKDWWKDWUXOHZRXOGH[FOXGHVRPH           FKDUDFWHULVWLFVRIFLVJHQGHUZRPHQ",VWKDWWKH
      WUDQVJHQGHUZRPHQIURPIHPDOHDWKOHWLFVWKDWZHUH               TXHVWLRQ"$P,UHSKUDVLQJWKDWFRUUHFWO\"
      VXEMHFWWRWKDW,$$)UXOH                                      4, PDFWXDOO\UHIHUHQFLQJSDUDJUDSKRI\RXU
      &RUUHFW"                                               H[SHUWUHSRUWEXWP\TXHVWLRQDQGOHW VWDNHIRU
      $77251(<%/2&.2EMHFWLRQWRWKH                LQVWDQFHDQDWDOPDOHZKRKDVSUHVVWHVWRVWHURQHEXW
      WHUPLQRORJ\                                                    RQO\DFKLHYHGVL[QDQRPRODUSHUOLWHUFRQFHQWUDWLRQGR
      7+(:,71(666R,ZDVDZDUHWKDWE\             \RXKDYHWKDWFRQFHQWUDWLRQGR\RXKDYHWKDWLQPLQG"
      VHWWLQJDWKUHVKROGWKDWWKHUHDQGHYHQWKDW                $$WUDQVJHQGHUZRPDQZKRVHWHVWRVWHURQHOHYHOLV
     WKUHVKROGLQSDUWLFXODUWKDWWKHUHZRXOGEHWUDQVJHQGHU       VL[
     ZRPHQZKRZRXOGQRWDFKLHYHWKDWWKUHVKROGIRUZKDWHYHU        45LJKW:KDWLQ\RXURSLQLRQLVWKHLQKHUHQW
     UHDVRQ                                                        UHDVRQWKDWDGYDQWDJHVFRQIHUUHGE\WHVWRVWHURQHOHYHOV
     %<$77251(<%522.6                                            DERYHDWKUHVKROGVXFKDVILYHQDQRPRODUVVKRXOGEH
     4$QGGLG\RXQHYHUWKHOHVVFRQVLGHUWKHUHJXODWLRQ      WUHDWHGDVDQ\PRUHRIDQXQIDLUDGYDQWDJHWKDQWKH
     WREHUHDVRQDEOH"                                              DGYDQWDJHVWKDWDOUHDG\H[LVWDPRQJGLIIHUHQWZRPHQ
     $,I\RXDUHDVNLQJPHDVDQH[SHUWWKHQDJDLQ,       DWKOHWHV"
     FDQ WFRPPHQW                                                 $77251(<%/2&.2EMHFWLRQWRIRUP
     4:HOOOHWPHMXVWDVN\RXDV'RFWRU6DIHU            7+(:,71(666RDFRXSOHRIWKLQJV
     $$P,DOORZHGWR"                                  )LUVWRIDOO,GRQ WNQRZWKDWDWHVWRVWHURQHOHYHORI
     $77251(<%/2&.2EMHFWLRQWRIRUP             VL[LVIURPDVFLHQWLILFSHUVSHFWLYHGHPRQVWUDWLYHO\
     %<$77251(<%522.6                                            GLIIHUHQWWKDQDWHVWRVWHURQHOHYHORIILYH,W VMXVW
     4<RXDUHDOORZHG                                      DPDWWHURIDIIHFWLQJLWRYHUDOO6R,ZDQWWRFODULI\
     $2ND\6RKDYLQJDUXOHGRHVPDNHVHQVHWRPH        WKDW,W VQRWWKDWWKDWWKDWVPDOOGHJUHHLV
     \HV                                                           QHFHVVDULO\UHOHYDQW$QG,FDQ WHYHQVD\WKDWZH


                                                                                            3DJHVWR
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                                                    3DJH                                                             3DJH
      GHPRQVWUDWHGDGYDQWDJH,W VVWLOODWKHRUHWLFDOZLWK         $77251(<%/2&.2EMHFWLRQWRWKHIRUP
      UHJDUGWRVRPHRIWKRVHKLJKHUWHVWRVWHURQHOHYHOV/HW       7+(:,71(66<HDK,GRQ WEXW,JXHVV
      PHWKLQNDERXWWKRVHIRUDVHFRQG<HVVRVRPHRIWKH        LW VDFRPSOLFDWHGDQVZHUVR,QHHGWRNQRZZKDW
      ORJLFSDWWHUQIRUKDYLQJDWKUHVKROGLVLQRUGHUWREH         \RXPHDQE\WKDW
      DEOHWROLPLWWKHHQWLUHFRQYHUVDWLRQWRGHDOLQJZLWK          %<$77251(<%522.6
      WUDQVJHQGHUZRPHQRUZRPHQZLWKRULQWHUVH[ZRPHQRU       4,PHDQLWEURDGO\+DYH\RXZRUNHGZLWKKHURQ
      ZRPHQZKRIRUDQ\UHDVRQKDYHKDYHHOHYDWHGWHVWRVWHURQH       DQ\VRUWVRISURMHFWVRUFRPPLWWHHV"
      OHYHOVDQGQRWWRRSHQWKHGRRUDWWKHHOLWHOHYHOIRUD       $:HOOZHZHUHERWKLQWKHZRUNLQJJURXSIRU
      SDUWLFLSDWLRQE\FLVJHQGHUPHQSRVLQJDVFLVJHQGHUZRPHQ       :RUOG$WKOHWLFVWKDWKHOSHGGHYHORSWKLVWKUHVKROG
     LIWKDWPDNHVVHQVH                                          4$QGGR\RXFRQVLGHU'RFWRU+DUSHUWREH
     %<$77251(<%522.6                                           NQRZOHGJHDEOHLQWKHILHOGRIVSRUWVSK\VLRORJ\"
     4,VWKHUHLQ\RXUMXGJPHQWDQ\LQKHUHQWUHDVRQ      $,GR
     WKDWDGYDQWDJHVFRQIHUUHGE\WHVWRVWHURQHOHYHOVZHOO         4$QGGR\RXFRQVLGHU'RFWRU+DUSHUWREH
     RXWVLGHQRUPDOIHPDOHUDQJHVVKRXOGEHWUHDWHGDVDQ\         NQRZOHGJHDEOHZLWKUHJDUGWRWKHLPSDFWRIWHVWRVWHURQH
     PRUHRIDQXQIDLUDGYDQWDJHWKDQWKHDGYDQWDJHVWKDW          VXSSUHVVLRQRQDWKOHWLFFDSDELOLWLHVLQPDOH"
     DOUHDG\H[LVWDPRQJGLIIHUHQWZRPHQDWKOHWHV"                 $6RGR,FRQVLGHUKHUWREHNQRZOHGJHDEOHLQWKH
     $6R,KDYHWRJREDFNWRWKDWRQH,VLWP\          ILHOG",FHUWDLQO\GR)RUZKDWLW VZRUWKVKHLV
     RSLQLRQWKDWPDOHOHYHOWHVWRVWHURQHOHYHOV"              VWLOO0V+DUSHU6KH VDFWXDOO\LQWKH3K'SURJUDP
     4/HWPHP\TXHVWLRQLVWHVWRVWHURQHOHYHOV        QRZ
     VLJQLILFDQWO\DERYHQRUPDOIHPDOHUDQJHV"                     42KRND\,MXVWJDYHKHUDQKRQRUDU\GHJUHH
     $$UHWKHQQRVRUU\,WWRRNPHDOLWWOH         $6KHRFFXSLHVDSURPLQHQWSODFHLQWKHILHOG
     ZKLOHWRJHWWKHUHEXWQR                                   $77251(<%522.6/HW VWDNHWKDWEUHDN
     4%HFDXVHWKHTXHVWLRQZDVFRPSOLFDWHGDQGWKH         9,'(2*5$3+(5*RLQJRIIWKHUHFRUG7KH
     DQVZHUZDVEURNHQXS,ZLOODVN\RXDJDLQQRWWRLQVXOW      FXUUHQWWLPHLVDP(DVWHUQ6WDQGDUG7LPH


                                                    3DJH                                                             3DJH
      \RXEXWVRZHKDYHDFOHDUUHFRUG,WKLQN,XQGHUVWRRG       2))9,'(27$3(
      \RXUDQVZHUEXWLVWKHUHLQ\RXURSLQLRQDQ\UHDVRQ          
      ZK\DGYDQWDJHVSURYLGHGE\WHVWRVWHURQHOHYHOZHOO              :+(5(8321$6+257%5($.:$67$.(1
      RXWVLGHQRUPDOIHPDOHUDQJHVVKRXOGEHWUHDWHGDVDQ\          
      PRUHRIDQXQIDLUDGYDQWDJHWKDQWKHDGYDQWDJHVWKDW           219,'(27$3(
      DOUHDG\H[LVWDPRQJGLIIHUHQWZRPHQDWKOHWHV"                  9,'(2*5$3+(5:HDUHEDFNRQWKHUHFRUG
      $77251(<%/2&.2EMHFWLRQWRIRUP             &XUUHQWWLPHUHDGVDP(DVWHUQ6WDQGDUG7LPH
      7+(:,71(66$QGDVDQH[SHUW, PQRW          %<$77251(<%522.6
      UHQGHULQJDQRSLQLRQWKHUHWKDW VULJKW                      4'U6DIHUOHWPHDVN\RXWRJREDFNWR([KLELW
     %<$77251(<%522.6                                           3URIHVVRU+DQGHOVPDQ VDUWLFOH$QGLI\RXZRXOGWXUQ
     42ND\                                                LQWKDWDUWLFOHWRSDJHWKHILUVWSDUDJUDSKEHJLQV
     ,QSDUDJUDSKRI\RXU                         WKHVWURQJHVWFODVVLILFDWLRQLQDOHDJXHVSRUWLVWKDW
     $77251(<%/2&.:RXOGQRZEHDJRRGWLPH      DIWHUSXEHUW\PHQWLPHVPRUHWHVWRVWHURQHWKDQZRPHQ
     IRUDEUHDN"                                                  'R\RXVHHWKDWODQJXDJH"
     $77251(<%522.6/HWPHMXVWDVNWKLV         $,GR
     RQHTXHVWLRQDQGWKHQ\HV                                    4$QGKHGLVFXVVHVDQXPEHURIUHVXOWVDQGHQGV
     %<$77251(<%522.6                                           KLVSDUDJUDSKE\VD\LQJLQFRQFHUWTXRWHLQFRQFHUW
     4,QSDUDJUDSK\RXFLWHDDUWLFOHE\           WKHVHUHQGHUZRPHQRQDYHUDJHXQDEOHWRFRPSHWH
     -RDQQD+DUSHU"                                                HIIHFWLYHO\DJDLQVWPHQLQSRZHUEDVHGRUHQGXUDQFH
     $,GR\HV                                           EDVHGVSRUWV
     4+DYH\RXHYHUPHW-RDQQD+DUSHU"                     'R\RXVHHWKDW"
     $,KDYH                                              $,GR
     4$QGKDYH\RXFROODERUDWHGZLWK-RDQQD+DUSHULQ      4$QGGR\RXFRQVLGHU\RXUVHOITXDOLILHGWR
     DQ\ZD\"                                                      HYDOXDWH3URIHVVRU+DQGHOPDQ VDVVHUWLRQWKDWZRPHQDUH



                                                                                             3DJHVWR
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                                                    3DJH                                                         3DJH
      RQDYHUDJHXQDEOHWRFRPSHWHHIIHFWLYHO\DJDLQVWPHQLQ        LGHQWLILFDWLRQ
      SRZHUEDVHGRUHQGXUDQFHEDVHGVSRUWV"                         
      $1R                                                   %<$77251(<%522.6
      41RWTXDOLILHG"                                        4$QG'RFWRU6DIHUQRZWKDW\RXKDYH,DVNHG
      $1RWTXDOLILHGFRUUHFW                               \RXHDUOLHUDERXWZKHWKHU\RXKDGVHHQWKHDUELWUDWLRQ
      4'R\RXEHOLHYH\RXKDYHDQXQGHUVWDQGLQJ          GHFLVLRQDQG,WKLQN\RXVDLG\RXPLJKWKDYHUHDG
      ZHOOOHWPHDVN\RXWKLV'R\RXFRQVLGHU\RXUVHOI           H[FHUSWVRILW/RRNLQJDWLWWRGD\GR\RXEHOLHYH
      TXDOLILHGWRRIIHUDQ\RSLQLRQDVWRZK\VSRUWVKDYH           WKDW\RXKDYHHYHUVHHQDFRS\RIWKHZKROH'HFLVLRQ"
      EHHQVHSDUDWHGE\VH[KLVWRULFDOO\"                            $,GRQRWWKLQN, YHUHDGWKURXJKWKHZKROH
     $,JXHVV,ZRXOGVD\, PDZDUHRIWKHKLVWRU\        'HFLVLRQ
     4$QGLQ\RXUXQGHUVWDQGLQJZKDWLVWKHUHDVRQ         4'R\RXWKLQN\RX YHHYHUKHOGWKLVZKROH
     WKDWVSRUWVKDYHEHHQVHSDUDWHGE\VH[KLVWRULFDOO\"          GRFXPHQWLQ\RXUKDQGEHIRUH"
     $7KHKLVWRU\LVWKDWDWDFHUWDLQSRLQWZKHUH         $7KLVLVWKHILUVWWLPHWKDW,KHOGWKHZKROH
     VXIILFLHQWGHYHORSPHQWKDVWDNHQSODFHWKHUHLVD             GRFXPHQW
     GLIIHUHQWLDOLQDWOHDVWVRPHVSRUWVEHWZHHQPHQDQG          4, PJRLQJWRDVN\RXDERXWDIHZTXRWDWLRQVLQ
     ZRPHQEHWZHHQFLVJHQGHUPHQDQGFLVJHQGHUZRPHQVXFK      LWQRWWRDVN\RXURSLQLRQVDERXWWKHMXGJPHQWEXWWR
     WKDWLQRUGHUIRUZRPHQWRZLQWKRVHHYHQWVUHOLDEO\          HOLFLW\RXURSLQLRQVDERXWWKHVFLHQFH6RLI\RXZRXOG
     WKHUHQHHGVWREHDFDUYHRXW                                WXUQDQGWKHVWUXFWXUHRIWKHGRFXPHQWLVWKDW
     4$QGDV\RXVLWKHUHWRGD\FDQ\RXLGHQWLI\IRU       HYHU\WKLQJLQLWKDVDSDUDJUDSKQXPEHUZKLFKWKDQN
     PHDQ\VSRUWLQZKLFK\RXEHOLHYHWKDWFLVJHQGHUPHQ          JRRGQHVVPDNHVLWHDV\WRILQGWKLQJV6RLI\RXZRXOG
     DIWHUSXEHUW\GRQRWHQMR\DVLJQLILFDQWSHUIRUPDQFH          WXUQWRSDUDJUDSK7KHILUVWVHQWHQFHRI
     DGYDQWDJHRYHUFLVJHQGHUZRPHQ"                               SDUDJUDSKRIWKLV'HFLVLRQUHDGVWKHUHLVQRGLVSXWH
     $<HV                                                 WKDWHQVXULQJIDLUFRPSHWLWLRQLQWKHIHPDOHFDWHJRU\RI
     43OHDVHGR                                           HOLWHFRPSHWLWLYHDWKOHWLFVLVDOHJLWLPDWHREMHFWLYH


                                                    3DJH                                                         3DJH
      $([DPSOHVLQFOXGHZHOO,JXHVV,EHWWHUQRW       IRUWKH,$$)WRSXUVXHFORVHGTXRWH$VDPHPEHURI
      JHWWRRIDUDQGEHWKHH[SHUWKHUHEXW,EHOLHYH              WKH,$$)&RPPLWWHHWKDWHVWDEOLVKHGWKHSROLF\WKDWZDV
      ULIOHU\DQGRWKHUVLQWKHFDWHJRU\RIKDQGH\H                 FKDOOHQJHGLQWKLVDUELWUDWLRQGR\RXDJUHHRUGLVDJUHH
      FRRUGLQDWLRQ,WKLQNVRPHRIWKHHTXHVWULDQVSRUWVDUH       WKDWWKHUHLVQRGLVSXWHWKDWHQVXULQJIDLUFRPSHWLWLRQ
      H[DPSOHV                                                      LQWKHIHPDOHFDWHJRU\LVDOHJLWLPDWHREMHFWLYHIRUWKH
      42ND\                                                 ,$$)WRSXUVXH"
      <RXDUHQRWRIIHULQJDQ\RSLQLRQDUH\RXWKDW       $77251(<%/2&.2EMHFWLRQWRIRUP
      WKHUHDVRQIRUVHSDUDWLRQRIVSRUWVE\VH[LVWRDIILUP        7+(:,71(66$VDQH[SHUW,GRQRWKDYH
      VH[VSHFLILFVRFLDOUROHVRULGHQWLWLHV"                       DQRSLQLRQ
     $, PQRWDZDUHRIWKDW, PQRWDQH[SHUWRQ         %<$77251(<%522.6
     WKRVHSLHFHVEXW, PQRWDZDUHSHUVRQDOO\                   42ND\
     4$QGLWLVQRW\RXURSLQLRQLVLWWKDW              /HWPHDVN\RXWRWXUQWRSDUDJUDSK$QG
     VHSDUDWLRQRIVSRUWE\VH[LVLQJHQHUDOXQIDLU"              WKLVDUELWUDWLRQDV\RXQRWHGGHDOVZLWKWKHFDVHRI
     $77251(<%/2&.2EMHFWLRQWRIRUP            &DVWHU6HPHQ\DDQGWKHUHIRUHZLWKWUDFNHYHQWVQRWZLWK
     7+(:,71(666RDJDLQDVDQH[SHUW, P       ULIOHU\RUZLWKHTXHVWULDQHYHQWV6R,ZLOODVN\RXU
     QRWFRPPHQWLQJRQIDLUQHVV                                   UHDFWLRQWRWKDWFRQWH[W,QWKHPLGGOHRI
     $77251(<%522.6, PJRLQJWRPDUNDV         SDUDJUDSKEHJLQQLQJKDOIZD\WKURXJKWKHVL[WKOLQH
     6DIHU([KLELWD'HFLVLRQLQWKHDUELWUDODZDUG             WKHSDQHOZURWHTXRWHVXIILFHWRVD\WKDWSRVWSXEHUW\
     GHOLYHUHGLQWKH&RXUWRI$UELWUDWLRQIRU6SRUWLQ            JHQHUDOO\VSHDNLQJPDOHVRXWSHUIRUPIHPDOHDWKOHWHV
     FRQQHFWLRQZLWKWKHDUELWUDWLRQEHWZHHQ$WKOHWLF6RXWK        , PVRUU\PDOHDWKOHWHVRXWSHUIRUPIHPDOHDWKOHWHVDW
     $IULFDDQGWKH,$$)DEXON\GRFXPHQWXQIRUWXQDWHO\         DQHOLWHOHYHO7KLVGLIIHUHQFHLVLQVXUPRXQWDEOH
                                     FORVHGTXRWH
      :KHUHXSRQ([KLELW&RXUWRI$UELWUDWLRQ       'R\RXVHHWKDW"
     IRU6SRUW'HFLVLRQZDVPDUNHGIRU                $,GR


                                                                                           3DJHVWR
                Case: 22-5807
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                                                     3DJH                                                          3DJH
      4$QGGR\RXEHOLHYHLWWREHWUXHIDOVHRU             $77251(<%/2&.2EMHFWLRQWRIRUP
      RXWVLGHRI\RXUH[SHUWLVHWKDWPDOHDWKOHWHVRXWSHUIRUP         7+(:,71(666RLWGHSHQGVRQWKHHYHQW
      IHPDOHDWKOHWHVDWWKHHOLWHOHYHODWDGLIIHUHQFHWKDW         %<$77251(<%522.6
      LVLQVXUPRXQWDEOH"                                              4:K\GRHVLWGHSHQGRQWKHHYHQW"
      $77251(<%/2&.2EMHFWLRQWRIRUP              $:HOOWKHUHDUHHYHQWVZKHUHZHVHHDVDQ
      7+(:,71(66$VDEODQNHWVWDWHPHQWQR        HOLWH2O\PSLFHYHQWZKHUHWKHUXQQHUVDUHYLUWXDOO\
      ,ZRXOGVD\WKDWLVQRWP\H[SHUWLVH                           WLHG$QGSHUFHQWWKHQZLOOEHVLJQLILFDQWLQWKH
      %<$77251(<%522.6                                             PRPHQWEHFDXVHWKDWZLOOEHGHVFULEHGLQWKDWILHOG
      4/HWPHDVN\RXWRWXUQWR,VDLG,         $QG\HWWKHUHDUHRWKHUHYHQWVZKHUHSHRSOHDUHIDUPRUH
     PHDQW,DSRORJL]H$WWKHHQGRIWKHSDQHO          VSUHDGRXWDQGWKHUH VJUHDWHULQHYHU\HOHPHQW
     KDVZULWWHQTXRWH                                       WKHQSHUFHQWDGYDQWDJHEHFRPHVORVWLQWKDWQRLVH
     $77251(<%522.6:HMXVWKDGVWDWLF            4$QGZHOOOHW VWDNHFRPSHWLWLYHKLJKVFKRRO
     KHUHVROHWPHDVNZKHWKHUSHRSOHRXWVLGHWKH                 DWKOHWLFVFRPSHWLWLYHKLJKVFKRROWUDFN'R\RXKDYH
     FRQIHUHQFHURRPDUHKHDULQJXV",IVRPHERG\FRXOG             DQRSLQLRQDVWRSHUFHQWDGYDQWDJHLQWKDWFRQWH[W
     XQPXWH                                                        LVVLJQLILFDQWRULQVLJQLILFDQW"
     $77251(<75<21,FDQKHDU\RX                $,GRQRWKDYHDQRSLQLRQ
     $77251(<%522.6:HMXVWKDGVRPHVWDWLF       46RLI,XQGHUVWDQGFRUUHFWO\\RXUSRLQWLQVRPH
     WKDWFDXVHGPHFRQFHUQ                                        FRQWH[W\RXNQRZWKDWSHUFHQWLVVLJQLILFDQWEXW
     %<$77251(<%522.6                                            WKDWLQRWKHUFRQWH[W\RXGRQ WNQRZRQHZD\RUWKH
     4$WWKHHQGRISDUDJUDSKWKHSDQHOZURWH          RWKHU"
     TXRWHPDOHDWKOHWHVGRQRWKDYHWREHHOLWHWRVXUSDVV        $77251(<%/2&.2EMHFWLRQWRWKHIRUP
     HYHQWKHYHU\EHVWIHPDOHDWKOHWHV'U%HUPDQSRLQWHG        7+(:,71(66<HV,JXHVV,ZRXOGVD\
     RXWWKDWLQDUDFHVXFKDVWKHPHWHUDSHUFHQW        WKDWLQVRPHFRQWH[W,FDQVHHWKDWSHUFHQWLV
     DGYDQWDJHDVFDOFXODWHGLQ%*ZDVVXIILFLHQWWR            VLJQLILFDQWDQGWKHQLQRWKHUFRQWH[W,FDQVHHWKDW


                                                     3DJH                                                          3DJH
      GHWHUPLQHILUVWSODFHE\WKHUHJLRQRIQLQHPHWHUV             SHUFHQWGRHVQRWDSSHDUWREHVLJQLILFDQW$QGDFWXDOO\
      FORVHGTXRWH                                                   HYHQLI\RX UHDVNLQJDVDQH[SHUWZKDWHYHQLV
      'R\RXVHHWKDWODQJXDJH"                              VLJQLILFDQWLVRXWVLGHP\SXUYLHZEXWZLWKWKDW
      $<HV                                                   XQGHUVWRRG,FDQVWLOOVHHWKDWVRPHRQHZRXOGVD\LWRQH
      4$QGGR\RXFRQVLGHULWWREHWUXHIDOVHRU            ZD\DQGQRWVD\LWWKHRWKHUZD\
      RXWVLGH\RXUH[SHUWLVHWKDWPDOHDWKOHWHVGRQRWHYHQ           %<$77251(<%522.6
      KDYHWREHHOLWHWRVXUSDVVWKHYHU\EHVWIHPDOH                4/HWPHDVN\RXWRWXUQWRSDUDJUDSK$QG
      DWKOHWHV"                                                       ILUVW,ZLOODVN\RXWRWXUQWRSDJHSDUDJUDSK
      $77251(<%/2&.2EMHFWLRQWRIRUP              MXVWVR\RXFDQVHHZH UHLQDVHFWLRQVXPPDUL]LQJWKH
     7+(:,71(66,QDDVDEODQNHW             WHVWLPRQ\RI3URIHVVRU'DYLG+DQGHOVPDQ7KDWEHJLQVDW
     VWDWHPHQWLWLVRXWVLGHP\H[SHUWLVH                          SDUDJUDSK$QGWKHQ, PJRLQJWRFDOO\RXU
     %<$77251(<%522.6                                            DWWHQWLRQWRSDUDJUDSKDQGLWSXWV\RXWRWKH
     4$QGGR\RXKDYHDQRSLQLRQDVWRZKHWKHUD            VWDWHPHQWWKHUH
     SHUFHQWDGYDQWDJHLVDVLJQLILFDQWDGYDQWDJHRU            LQFOXGHVDQXPEHURIEXOOHWSRLQWV7KH
     LQVLJQLILFDQWDGYDQWDJH"                                       WKLUGEXOOHWSRLQWZKLFKLVRQSDJHUHDGVDQG
     $,WKLQNWKDW VWRRFRPSOLFDWHGDVSKUDVHGIRUPH      DJDLQWKLVLVWKHSDUDJUDSKEHJLQVTXRWH3URIHVVRU
     WRDQVZHU                                                     +DQGHOVPDQZHQWRQWRH[SODLQLQJUHDWHUGHWDLOZK\WKH
     47KDW VDFWXDOO\RQHRIWKHVLPSOHUTXHVWLRQV          VH[GLIIHUHQFHLQFLUFXODWLQJWHVWRVWHURQHLVWKHFDXVH
     WKDW, YHDVNHGWRGD\/HWPHDVNLWDJDLQDQGDVN\RX        RIWKHGLIIHUHQFHLQDWKOHWLFSHUIRUPDQFHEHWZHHQPHQ
     WRWKLQN'R\RXKDYHDQRSLQLRQDQGLI\RXRQH          DQGZRPHQDQGWKHQWKHUHDUHEXOOHWSRLQWV7KHWKLUG
     DQVZHURIFRXUVHLV,GRQ WKDYHDQRSLQLRQRULWLV           EXOOHWSRLQWUHDGVRQDYHUDJHZRPHQKDYHWR
     RXWVLGHRIP\H[SHUWLVHEXWGR\RXKDYHDQRSLQLRQDV         SHUFHQWRIPHQ VXSSHUDUPPXVFOHFURVVVHFWLRQDO
     WRZKHWKHUDSHUFHQWDGYDQWDJHLQDWUDFNHYHQWLVD       DUHDWRSHUFHQWRIPHQ VWKLJKPXVFOH
     VLJQLILFDQWDGYDQWDJH"                                         FURVVVHFWLRQDODUHDWRSHUFHQWRIPHQ VOLPE



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                                                    3DJH                                                                   3DJH
      VWUHQJWKDQGWRRIPHQ VOHJVWUHQJWK'R\RXVHH       LQWHUQDWLRQDOIHGHUDWLRQVZLWKWKHLUUXOHPDNLQJ
      WKDWODQJXDJH"                                                 4$QGGR\RXFRQVLGHU3URIHVVRU&ROHPDQWREH
      $77251(<%/2&.2EMHFWLRQWRIRUP             NQRZOHGJHDEOHDERXWWKHUHODWLYHDWKOHWLFFDSDELOLWLHV
      7+(:,71(66,GR                             DQGUHFRUGVRIPDOHDQGIHPDOHDWKOHWHV"
      %<$77251(<%522.6                                            $7RPHWKDW VWRRYDJXHDTXHVWLRQ6KH VD
      4'R\RXKDYHDQ\NQRZOHGJHDVWRZKHWKHUWKRVH         ODZ\HU
      VWDWLVWLFVDUHRQFRUUHFWDVJLYHQE\'U+DQGHOVPDQ"          4$UH\RXDZDUHDOVRRIKHUDWKOHWLFEDFNJURXQGDV
      $,GRQRW                                             DFRPSHWLWLYHDWKOHWH"
      4$QGGR\RXKDYHDQ\H[SHUWNQRZOHGJHDVWRKRZ        $,DP
     WKRVHVWDWLVWLFVGRRUGRQRWFKDQJHXQGHUWKHLQIOXHQFH      4$QGDUH\RXDZDUHRIKHUUHVHDUFKDQG
     RIWHVWRVWHURQHVXSSUHVVLRQLQQDWDOPDOHVZKR                SXEOLFDWLRQVKDYLQJWRGRZLWKDWKOHWLFUHFRUGVDQG
     H[SHULHQFHDIHPDOHJHQGHULGHQWLW\"                          FDSDELOLWLHVRIPDOHDQGIHPDOHDWKOHWHV"
     $77251(<%/2&.2EMHFWLRQWR                  $77251(<%/2&.2EMHFWLRQWRIRUP
     WHUPLQRORJ\                                                  7+(:,71(66, PDZDUHRIVRPHRIKHU
     7+(:,71(666R,JXHVVWKH,KDYH        SXEOLFDWLRQVZKHUHVKHKDVFRDXWKRUHGEXWVKH VQRW
     QRH[SHUWNQRZOHGJHDERXWWKHVHQXPEHUVSHUVHEXW,        XVXDOO\WKHSK\VLRORJ\H[SHUWLQWKHJURXS
     GRNQRZDVDQH[SHUWWKDWZKHQWHVWRVWHURQHOHYHOVDUH        %<$77251(<%522.6
     VXSSUHVVHGLQWUDQVJHQGHUZRPHQDQGDFWXDOO\LQ               4/HWPHDVN\RXWRWXUQWRSDUDJUDSK$QGLI
     FLVJHQGHUPHQDQ\RQHWKDWWKHVHQXPEHUVDUHGHFUHDVHG      \RXORRNDWWKHSDJH\RXZLOOVHHWKDWWKLVLVZLWKLQ
     $QG,FDQVD\WKDWZLWKFRQILGHQFHDVDQH[SHUW              WKHWULEXQDOVXPPDU\RIWHVWLPRQ\RI3URIHVVRU&ROHPDQ
     %<$77251(<%522.6                                           /HWPHDVN\RXVLQFH\RXGHDOWSHUVRQDOO\ZLWKWKH
     4%XW\RX UHQRWDEOHWRTXDQWLI\WKDWGHFUHDVH       SURIHVVRUEHFDXVH,ZDQWWKHUHFRUGWREHUHVSHFWIXO
     ,VWKDWFRUUHFW"                                     GRHVVKHLQJHQHUDOXVHSUHIHUWREHUHIHUUHGWRDV
     $,FDQQRWTXDQWLI\WKDWGHFUHDVH7KHGDWDJHWV      3URIHVVRU/DPEHOHW&ROHPDQRUVLPSO\3URIHVVRU&ROHPDQ"


                                                    3DJH                                                                   3DJH
      PXUN\ZKHQZHVWDUWWRJHWWKHUH                              $,GRQ WNQRZWKHDQVZHU
      4+DYH\RXHYHUPHW3URIHVVRU&ROHPDQDW'XNH           42ND\
      8QLYHUVLW\"                                                    $,SUHIHUWRKHURQDILUVWQDPHEDVLV
      $'RULDQH&ROHPDQ"                                      4$OOULJKW
      4<HV                                                  ,ZLOOVWLFNZLWKWKHVKRUWHUYHUVLRQ,Q
      $,KDYH                                               SDUDJUDSKWKHSDQHOGHVFULELQJ3URIHVVRU&ROHPDQ V
      4$QGLQZKDWFRQWH[WKDYH\RXLQWHUDFWHGZLWK          VXEPLVVLRQVWDWHVTXRWH3URIHVVRU/DPEHOHW&ROHPDQ V
      3URIHVVRU&ROHPDQ"                                             UHSRUWFRPSDUHGWKHOLIHWLPHEHVWSHUIRUPDQFHRIWKUHH
      $7KHDSURIHVVLRQDOFRQWH[W                       HOLWHIHPDOHDWKOHWHVLQWKHPHWHUHYHQWZLWKWKH
     4&DQ\RXGHVFULEHWKHFRQWH[W"                        SHUIRUPDQFHRIPDOHDWKOHWHVLQWKHVDPHHYHQWGXULQJD
     $:HKDYHVHUYHGRQVRPHRIWKHVHWZRRIWKH       VLQJOH\HDUSHULRG7KLVVKRZHGQRWRQO\WKDW
     VDPHFRPPLWWHHVFRPPLWWHHWDVNIRUFHZKDWHYHU\RX        WKHHOLWHIHPDOHVZRXOGKDYHORVWWRWKHEHVWPHQE\D
     FDOOLWIRU:RUOG$WKOHWLFVWRJHWKHU                        PDUJLQRIDERXWSHUFHQWEXWDOVRWKDWHYHQDWWKHLU
     4:DVVKHLQIDFWRQWKHFRPPLWWHHZKLFK\RX         DEVROXWHEHVWWKHHOLWHIHPDOHVZRXOGKDYHORVWWR
     SDUWLFLSDWHGWKDWVHWWKHILYHQDQRPRODUVWDQGDUGIRU         WKRXVDQGVRIRWKHUER\VDQGPHQE\DPXFKVPDOOHU
     WKH,$$)"                                                     PDUJLQFORVHGTXRWH'R\RXVHHWKDWODQJXDJH"
     $,GRQ WUHFDOOIRUVXUHEXW,WKLQNQRW             $,GR
     47KHQFDQ\RXLGHQWLI\IRUPHWKHWZRFRPPLWWHHV      4$QGGR\RXKDYHDQ\UHDVRQWRGRXEWWKHDFFXUDF\
     WKDW\RXUHFDOOWKDW\RXGLGVLWRQZLWK3URIHVVRU            RIWKDWVXPPDU\RIDWKOHWLFSHUIRUPDQFHVWDWLVWLFV"
     &ROHPDQ"                                                      $,FDQ WUHQGHUDQH[SHUWRSLQLRQWKHUH
     $6XEVHTXHQWWRWKHLQLWLDOJURXSDQG,GRQ W         4'R\RXDV\RXVLWKHUHWRGD\KDYHDQ\UHDVRQWR
     NQRZWKDWLW VWZRFRPPLWWHHVLWPD\EHWKHVDPH             GRXEWWKHDFFXUDF\RIWKRVHVWDWLVWLFV"
     FRPPLWWHHWKH\JHWUHQDPHG7KLQJVOLNHWKDWKDSSHQ        $$JDLQ,FDQQRWFRPPHQWDVDQH[SHUW,JXHVV
     6RLWLV, PWKLQNLQJIRUZDUGWRDVVLVWLQJRWKHU          WKDW VWKHERWWRPOLQH


                                                                                                3DJHVWR
                Case: 22-5807
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                                                    3DJH                                                          3DJH
      4,ILWLVWUXHWKDWWKHPRVWHOLWHIHPDOH              4$QG\RXVWDWHLQSDUDJUDSKWKDWTXRWHDJH
      DWKOHWHVSHUIRUPLQJDWWKHLUDEVROXWHEHVWZRXOGORVHWR       JUDGHFRPSHWLWLYHVSRUWVUHFRUGVVKRZPLQLPDORUQR
      WKRXVDQGVRIRWKHUVER\VDQGPHQ,WLVDOVRWUXH            GLIIHUHQFHLQDWKOHWLFSHUIRUPDQFHEHWZHHQ
      ZRXOG\RXQRWDJUHHWKDWWKHYHU\EHVWIHPDOHFROOHJH         QRQWUDQVJHQGHUER\VDQGQRQWUDQVJHQGHUJLUOVEHIRUH
      DWKOHWHVZRXOGORVHWRHYHQDODUJHUQXPEHURI                 SXEHUW\DQG\RXFLWH+DQGHOVPDQWKHDUWLFOHWKDWZH
      FROOHJLDWHER\VDQGPHQ"                                       KDYHEHHQORRNLQJDW
      $,I, PVSHDNLQJDVDQH[SHUWWKHQ, PQRW            &RUUHFW"
      UHQGHULQJDQRSLQLRQWKHUH                                    $<HV
      4+RZDERXWDVDKLJKO\HGXFDWHGDQGLQWHOOLJHQW        4$QGZKDWUHVHDUFKGLG\RXGRWRDUULYHDWWKH
     SURIHVVRU"                                                    FRQFOXVLRQWKDWDJHJUDGHFRPSHWLWLYHVSRUWVUHFRUGV
     $6LPSO\LQWKDWFRQWH[WLWZRXOGEHWUXHWKDW        VKRZPLQLPDORUQRGLIIHUHQFHLQDWKOHWLFSHUIRUPDQFH
     WKDWLWZRXOGOHDVWEHWUXHDWVRPHOHYHOLQWKH          EHWZHHQQRQWUDQVJHQGHUER\VDQGQRQWUDQVJHQGHUJLUOV"
     HOLWHOHYHOVRIFROOHJH                                      $,VWKHTXHVWLRQRIRULJLQDOUHVHDUFKRQP\SDUW"
     4$QGWKHYHU\EHVWIHPDOHKLJKVFKRRODWKOHWHV        41RZKDWVWHSVGLG\RXWDNHWRDUULYHDWWKDW
     ZRXOGORVHWRDQHYHQODUJHUQXPEHURIKLJKVFKRROER\V      FRQFOXVLRQ"
     &RUUHFW"                                             $5HDGLQJUHOHYDQWOLWHUDWXUH
     $6RQRZ,FDQUHQGHUDOLWWOHELWRIDQH[SHUW        4<RXFLWHGRQO\3URIHVVRU+DQGHOPDQ V
     FRPPHQWZKLFKLVWKDWDV\RXPRYHGRZQWKDWOLQHWKH        DUWLFOH'LG\RXUHDGRWKHUOLWHUDWXUHWKDWJDYH\RX
     GHJUHHRIGLIIHUHQFHIDOOVEHFDXVHWKHGHJUHHRI              FRPIRUWWKDWLVDWUXHVWDWHPHQW"
     WHVWRVWHURQHLPSDFWRQERG\LVHYROYLQJDFURVVWKRVH          $,KDYHUHDGRWKHUOLWHUDWXUHEXW,ZRXOG
     DJHV                                                         VXJJHVWWKDW'RFWRU+DQGHOVPDQJDYH'RFWRU
     4,ILW VWUXHWKDWWKHZRUOGIDVWHVWIHPDOH           +DQGHOVPDQ VSDSHULVWKHEHVWVXPPDU\RIWKHSRLQW
     DWKOHWHVZRXOGORVHWRWKRXVDQGVRIER\VDQGPHQWKHQLW      4$QGDJDLQLQPDNLQJWKLVVWDWHPHQWZKDWGLG
     LVLQHYLWDEO\WUXHLVLWQRW'RFWRU6DIHUWRVD\WKDW      \RXFRQVLGHUWREHDPLQLPDOGLIIHUHQFH"


                                                    3DJH                                                          3DJH
      WKHYHU\EHVWIHPDOHKLJKVFKRRODWKOHWHVZRXOGORVHWR        $:KHQ, PWKLQNLQJDERXWWKLVDVDVFLHQWLVWLW
      HYHQODUJHUQXPEHUVRIKLJKVFKRROER\V"                       LVDGLIIHUHQFHZKHUH, PQRWVXUHLILWLVWUXHRU
      $77251(<%/2&.2EMHFWLRQWRIRUP             ZKHWKHULWLVVLJQLILFDQWZKHQGHILQLQJWKHZRUG
      7+(:,71(666RWKHLWLVWKHFRLOV        PLQLPXP
      KHUH6RLWZRXOGEHODUJHUQXPEHUVRIFLVJHQGHUPHQLQ       4<RXMXVWGHILQHGPLQLPDOE\XVLQJWKHZRUN
      JHQHUDOLQFOXGLQJSHRSOHZKRDUHROGHUWKDQWKH\DUH         VLJQLILFDQW<RXIRUFHPHWRDVN\RXZKDWGR\RXPHDQ
      EXW, PQRWVXUHZKHUHWKDWZRXOGEHJRLQJ                    E\VLJQLILFDQW"
      %<$77251(<%522.6                                            $6RUU\6RDVDVFLHQWLVWZHOOWKHUHDUH
      4/HWPHWDNH\RXEDFNWR\RXUH[SHUWUHSRUW           WZRGHILQLWLRQVRIVLJQLILFDQW6RWKHRQHLVWKDWLW
     ([KLELWDQGWDNH\RXWRSDUDJUDSK$FWXDOO\OHW       LVUHOHYDQWIRUWKRVHIRUGHFLVLRQPDNHUV$QGWKDW
     PHKDYHWKH'HFODUDWLRQZKLFKLV7DE                     DFWXDOO\JHWVRXWVLGHRIP\H[SHUWLVH$QGWKHQZHGR
     $77251(<%522.6/HWPHPDUNDV6DIHU         XVHLWDVDWHUPRIDUWLQVFLHQFHDVZHOO
     ([KLELWD'HFODUDWLRQRI'U6DIHUH[HFXWHGLQ              4<RXPHDQWVWDWLVWLFDOO\VLJQLILFDQW"
     0D\WK                                               $7KHVHFRQGZRXOGEHVWDWLVWLFDOO\VLJQLILFDQW
                                     WKDW VULJKW
      :KHUHXSRQ([KLELW'HFODUDWLRQ        4'U6DIHU\RXGHOHWHGWKDWVHQWHQFHIURP\RXU
     RI'U6DIHUZDVPDUNHGIRU                      H[SHUWUHSRUW
     LGHQWLILFDWLRQ                                   ,VWKDWFRUUHFW"
                                     $,KDYHWRORRN
     %<$77251(<%522.6                                           4,GRQ WPHDQLWWREHDWULFNTXHVWLRQ/HWPH
     4$QG,DSRORJL]HLW VSDUDJUDSK'U6DIHU      DVN\RXWKLV'R\RXUHFDOOUHPRYLQJWKDWVHQWHQFHDV
     GLG\RXLQIDFWSUHSDUHDQGH[HFXWHWKLV'HFODUDWLRQ        \RXUHYLVHG\RXU'HFODUDWLRQWRFUHDWH\RXUH[SHUW
     LQWKHWLPHOHDGLQJXSWR0D\"                       UHSRUW"
     $<HV                                                 $1R


                                                                                            3DJHVWR
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                                                     3DJH                                                          3DJH
      4$OOULJKW                                             %<$77251(<%522.6
      $,GRQ WUHFDOO                                        4&DXVHKDVWRSUHFHGHHIIHFW"
      4:HZLOOMXVWPRYHRQWRWKHVFLHQFHDQGQRWDVN        $&DXVHLQWKLVFDVHKDVWRSUHFHGHHIIHFW
      \RXGHOHWHGWKHTXHVWLRQ/HWPHWDNH\RXWRSDUDJUDSK         H[DFWO\%XW,FDXWLRQWKDWLWLVQRWFOHDUWKDWWKDW V
      RI\RXUH[SHUWUHSRUW([KLELW$QGMXVWWREH            VRPHWKLQJWKDWZHFRXOGSDUVHRXWPHGLFDOO\LQDJLYHQ
      VXUH\RXDUHRQWKHH[SHUWUHSRUWQRZDQGQRWWKH              SHUVRQLQDUHDVRQDEOHZD\7KDWLV,GRQ WNQRZWKDW,
      'HFODUDWLRQ"7KH\DUHVRVLPLODUWKDWLWLVHDV\WRJHW        FRXOGGRDEORRGWHVWDQGFDWFKLWDVLWZHUH
      FRQIXVHG                                                       42ND\
      $<HV                                                   &DQ\RXH[SODLQWRPHZKDW\RXZHUHUHIHUULQJ
     43DUDJUDSK\RXVD\LQWKHVHFRQGVHQWHQFH          WRZKHQ\RXPHQWLRQHGWKHFXPXODWLYHHIIHFWRISXEHUWDO
     LQFUHDVHGWHVWRVWHURQHEHJLQVWRDIIHFWDWKOHWLF               FKDQJHVDWWKHHQGRIWKDWVHQWHQFH"
     SHUIRUPDQFHDWWKHEHJLQQLQJRISXEHUW\EXWWKRVH             $:KHUHDUHZHQRZ"
     HIIHFWVFRQWLQXHWRLQFUHDVHHDFK\HDURISXEHUW\XQWLO        4:HDUHLQWKHVHFRQGVHQWHQFHRISDUDJUDSKRI
     DERXWZLWKWKHIXOOLPSDFWRISXEHUW\UHVXOWLQJIURP       ([KLELW$QG\RXVD\DWWKHHQGZLWKDIXOOLPSDFWRI
     WKHFXPXODWLYHHIIHFWRIHDFK\HDU'R\RXVHHWKDW           SXEHUW\UHVXOWLQJIURPWKHFXPXODWLYHHIIHFWRIHDFK
     ODQJXDJH"                                                      \HDUDQGLI\RXZRXOGH[SODLQIRUWKH&RXUWZKDW\RX
     $,GR                                                 PHDQWE\FXPXODWLYHHIIHFWWKDWZRXOGEHKHOSIXO
     4$QGMXVWWRFODULI\LQPDNLQJWKLVVWDWHPHQW         $77251(<%/2&.2EMHFWLRQWRIRUP
     ZKDWGR\RXUHIHUWRDVTXRWHWKHEHJLQQLQJRI               7+(:,71(666RWKHWHVWRVWHURQHKDV
     SXEHUW\"$QGZH UHWDONLQJDERXWPDOHW\SLFDOSXEHUW\         LPSDFWRQFHUWDLQWLVVXHVDQGWKHQLWFRQWLQXHVWRKDYH
     LQWKLVGLVFXVVLRQVRDVWRFODULI\6RZKDWGR\RX           LPSDFWRQWLVVXHV$QG,GRQ WNQRZWKDW,KDYHDQ\
     KDYHLQPLQGDVWKHEHJLQQLQJRIPDOHSXEHUW\"                 JUHDWHUH[SODQDWLRQIRUWKHULJKWFXPXODWLYHLPSDFW
     $6RWKHDQVZHULVFRPSOH[7KHW\SLFDOPDOH           %<$77251(<%522.6
     SXEHUW\LVGHILQHGDVEHJLQQLQJZLWKZKDWZHODEHODV          46R\RXUSRLQWLVWKDWE\WKHDJHRIZKDWHYHU


                                                     3DJH                                                          3DJH
      7DQQHU$QGLQWHUPVRIZKHQ\RXZRXOGVHHLPSDFWRQ         DGYDQWDJHVLQDWKOHWLFSHUIRUPDQFHDSDUWLFXODUPDOHKDV
      DWKOHWLFSHUIRUPDQFHSHUVHLVQRWZHOOHVWDEOLVKHG          LVGXHWRERG\FKDQJHVWKDWKDYHKDSSHQHGHDFK\HDU
      4$QGQRZVWUHWFKLQJWKDWLQERWKGLUHFWLRQVRQ         VLQFHSXEHUW\EHJDQQRWGXHVLPSO\WRWKHWHVWRVWHURQH
      WKHRQHKDQG7DQQHU6WDJHLI, PFRUUHFWLV                 OHYHORIWKDWLQGLYLGXDODWDJH"
      HVVHQWLDOO\GHILQHGDVFHUWDLQILUVWREVHUYDEOHSK\VLFDO        $77251(<%/2&.2EMHFWLRQWRIRUP
      FKDQJHVLQDER\ VERG\                                        7+(:,71(667KHPHDQLQJLVQ WDV,
      5LJKW"                                                 JXHVV,ZRXOGEHFDUHIXODERXWRYHUVWDWLQJLWVRWKHUH
      $7DQQHULVVSHFLILFDOO\GHILQHGDVVSHFLILF           FDQWKHUHPLJKWEHVRPHLPSDFWHDUOLHUDQGWKHQ
      REVHUYDEOHFKDQJHVLQDSHUVRQ VERG\\HV                     WKHUHPLJKWEHDGGLWLRQDOLPSDFWRYHUWLPHEXWDQG
     4$QGWKHUHIRUHWHVWRVWHURQHOHYHOVKDYHEHJXQWR      VRLQWKHDEVROXWHLWZRXOGEHWUXHWRVD\WKDWDOORI
     LQFUHDVHHYHQEHIRUHWKHILUVWREVHUYDEOHFKDQJHVWKDW         WKHHIIHFWGRHVQ WRFFXUDW7DQQHUZKLFKLVWKH
     UHVXOW                                                        GHILQHGHQG
     &RUUHFW"                                              %<$77251(<%522.6
     $7KHZD\LW VXQGHUVWRRGLQPHGLFLQHLVLWLV          42ND\
     UHIOHFWLYHRIH[LVWLQJUHDOLW\6RLWLVQRW                  7KHFXPXODWLYHSK\VLRORJLFDOFKDQJHVWKDW\RX
     QHFHVVDULO\\RXNQRZRQO\LQWKHDEVROXWH                DUHUHIHUULQJWRKHUHUHVXOWIURPDPXOWL\HDUKLVWRU\
     4:HOODVDPHGLFDOGRFWRU\RXZRXOGDJUHHZLWK       RIPDOHW\SLFDOOHYHOVRIWHVWRVWHURQHE\DJH
     PHRUZRXOG\RXQRWWKDWWHVWRVWHURQHOHYHOVPXVW              &RUUHFW"
     LQFUHDVHLQWKHERG\EHIRUHREVHUYDEOHFKDQJHVLQWKH          $<HV:HOOHYHQWKDWLVWKHUH VFRPSOH[LW\
     ERG\FDXVHGE\WHVWRVWHURQHFDQEHFDQFRPHDERXW"         EXW\HV
     $77251(<%/2&.2EMHFWLRQWRWKHIRUP         4<RXVD\VRUU\ZHDUHMXPSLQJEDFNDQG
     7+(:,71(666RLWPXVWEHWKHFDVHWKDW       IRUWK
     WKHWHVWRVWHURQHOHYHOVZRXOGKDYHWRULVHSULRUWR            $$FWXDOO\MXVWFRQWLQXLQJDOLWWOHELWIXUWKHU
     WKHLUKDYLQJDQRWLFHDEOHHIIHFWWKDWLVWUXH                LW VDOVRDERXWDJHLVQRWDWULYLDOZRUG


                                                                                            3DJHVWR
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                                                    3DJH                                                           3DJH
      48QGHUVWRRG$QG,VLPSO\XVHGWKDWDVD               4,QSDUDJUDSKRI\RXUH[SHUWUHSRUW\RXZULWH
      UHSUHVHQWDWLYHHQGPDUNHUDQGIRUVRPHLQGLYLGXDOVLW           LQWKHWKLUGIXOOVHQWHQFHTXRWH:HVW9LUJLQLD
      ZRXOGEHHDUOLHUDQGIRUVRPHLQGLYLGXDOVLWZRXOGEH           FDWHJRULFDOO\SUHYHQWVJLUOVZKRDUHWUDQVJHQGHUIURP
      ODWHU                                                          SDUWLFLSDWLQJRQJLUOVWHDPVUHJDUGOHVVRIZKHWKHUWKH\
      &RUUHFW"                                               DUHSUHSXEHUWDOUHFHLYLQJSXEHUW\EORFNHUVRU
      $7KDW VULJKWHYHQZLWKWKHFROOHJHDWKOHWHV          UHFHLYLQJJHQGHUDIILUPLQJKRUPRQHWKHUDS\FORVHG
      4<RXVWDWHDWWKHEHJLQQLQJRISDUDJUDSKWKDW       TXRWHG'R\RXVHHWKDW"
      TXRWHWKHFRQFHUQVWKDWDQLPDWHGWKH:RUOG$WKOHWLFV           $,GR
      DQGSULRU,2&SROLFLHVDUHHYHQPRUHDWWHQXDWHGIRU             4:KDWLQ\RXURSLQLRQLVWKHVLJQLILFDQFHRIWKDW
     VWXGHQWVLQWKHPLGGOHRIKLJKVFKRROZKHUHDWKOHWHV           VWDWHPHQW":KDWLV\RXUSRLQW"
     W\SLFDOO\UDQJHIURPWR                                 $77251(<%/2&.2EMHFWLRQ&RXOG\RX
     'R\RXVHHWKDW"                                      MXVWJLYHKLPVRPHWLPHWRUHDGWKHFRQWH[W"
     $,GR:DVWKLVSDUDJUDSK"                         %<$77251(<%522.6
     4,WLV$QGE\DWWHQXDWHG\RXPHDQWKHVDPHLQ        4<HV
     QDWXUHEXWVPDOOHULQVFDOH                                   $6R,JXHVV,PD\EHPDNHWKHKHOSPHZLWK
     &RUUHFW"                                              ZKHUH\RX UHJRLQJZLWKWKDWTXHVWLRQ, PWKHUXOH
     $77251(<%/2&.2EMHFWLRQWRIRUP             DVZULWWHQLQFOXGHVDOOWUDQVJHQGHUJLUOV
     7+(:,71(66<HDK,FDQ WHYHQVD\WKDW       4$UH\RXGLG\RXPHDQWRVXJJHVWWKDWPHGLFDO
     VR\HDK,FDQ W                                      VFLHQFHZRXOGGLFWDWHWKDWWKH:HVW9LUJLQLDODZVKRXOG
     %<$77251(<%522.6                                            PDNHDQH[FHSWLRQIRUQDWDOPDOHVZKRKDYH
     4,VQ WWKDWZKDWDWWHQXDWHGPHDQV"                     VXSSUHVVHGSXEHUW\"
     $77251(<%/2&.2EMHFWLRQWRIRUP             $77251(<%/2&.2EMHFWWRIRUP
     7+(:,71(66$WWHQXDWHGLVERWKLQVFDOH       7+(:,71(667KHFRQWH[WIRUWKHWKH
     DQGW\SHLQWKLVFDVH                                         FRQWH[WRIGLIIHUHQWWUDQVJHQGHUJLUOVZLWKGLIIHUHQW


                                                    3DJH                                                           3DJH
      %<$77251(<%522.6                                             GHJUHHVRIWUHDWPHQWDQGGLIIHUHQWVWDJHVRISXEHUW\DUH
      4$OOULJKW                                             GLIIHUHQW,JXHVVWKDW VDVPXFK,ZRXOGVD\, PQRW
      <RXDUHQRWKHUHRUDQ\ZKHUHGHQ\LQJWKDWWKH          H[SUHVVLQJDQRSLQLRQDERXWZKDWWKH, PVHUYLQJ
      VDPHW\SHRIFRQFHUQWKDWLVSK\VLRORJLFDODGYDQWDJHV         KHUHMXVWDVDVFLHQWLVWLQWHUPVRIZKDWWKHZKDW
      H[LVWDWIRULQVWDQFHDJH"                                   WKHZKDWZHNQRZDERXWDWKOHWLFLVP
      $77251(<%/2&.2EMHFWLRQWRIRUP              %<$77251(<%522.6
      7+(:,71(666RVRUU\VD\WKDWDJDLQ          4<RXDUHQRWRIIHULQJDQRSLQLRQWKDWHLWKHU
      %<$77251(<%522.6                                             VFLHQFHRUUHDVRQDEOHQHVVUHTXLUHVWKDW:HVW9LUJLQLD V
      4<RXDUHQRWLQWKLVSDUDJUDSKRUDQ\ZKHUH              ODZVPDNHDQH[FHSWLRQIRUQDWDOPDOHVZKRKDYH
     RIIHULQJDQRSLQLRQWKDWWKHVDPHW\SHRIFRQFHUQVWKDW       VXSSUHVVHGSXEHUW\"
     LVSK\VLRORJLFRULQSHUIRUPDQFHDGYDQWDJHVH[LVWWR          $77251(<%/2&.2EMHFWLRQWRIRUP
     VRPHGHJUHHDWIRULQVWDQFHDJH"                          7+(:,71(66, PQRWRIIHULQJDQRSLQLRQ
     $77251(<%/2&.2EMHFWLRQWRIRUP             WKDWWKDWZRXOGEHWKDWZRXOGEHDORJLFDOODZIRU
     7+(:,71(66, PQRWRIIHULQJDQRSLQLRQ       WUDQVJHQGHUJLUOVLQWKDWFLUFXPVWDQFH
     WKHUHWKDW VULJKW                                           %<$77251(<%522.6
     %<$77251(<%522.6                                            4$QGLQWKHDUWLFOHWKDWZHEHJDQWRGD\ORRNLQJ
     4$QGWKHVDPHLVWUXHDWDJH"                       DW\RXH[SUHVVHGFRQFHUQDERXWSROLFLHVWKDWZRXOG
     $77251(<%/2&.2EMHFWLRQWRIRUP             FUHDWHLQFHQWLYHVIRUFKLOGUHQWREHJLQSXEHUW\
     7+(:,71(66, PQRWVR,JXHVVDV         EORFNHUVZRXOG\RXQRW"
     ZHDV\RXPRYHDORQJWRWKHFRQWLQXXPWKHQ           $77251(<%/2&.2EMHFWLRQWRIRUP
     %<$77251(<%522.6                                            7+(:,71(666RHDUOLHULQP\,
     4,WJHWVPRUHDWWHQXDWHG"                              UHIHUHQFHWKDWDVDFRQFHUQ,ZDQWWREHFOHDUWKDWDV
     $7KHRSLQLRQULJKWWKHRSLQLRQVKLIWV             DQH[SHUW, PQRWVXJJHVWLQJWKDW, PQRWVXJJHVWLQJ
     EHFDXVHLWGHSHQGVRQFRQWH[W                                 DQH[SHUWRSLQLRQWKDWWKHVHQHHGVWREHFRQFHUQV, P


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                                                     3DJH                                                          3DJH
      UDLVLQJWKHLVVXHVWKDWZHDUHFRQVLGHULQJ                     WHUPLQRORJ\"
      %<$77251(<%522.6                                             7+(:,71(66$QGLI,VDLGWKHZRUGEHVW
      4:HOOZKDW\RXZURWHWRHGXFDWH\RXUFROOHDJXHV        PD\EHWKDW VQRWWKHEHVWZD\RIVD\LQJLWEXWLW VD
      DVDQHQGRFULQRORJLVW\RX3URIHVVRU6DIHUUDLVHWKDW         YHU\FOHDQZHOOZULWWHQVXPPDU\RIWKHFLUFXPVWDQFH
      DVDFRQFHUQ"                                                   %<$77251(<%522.6
      $77251(<%/2&.2EMHFWLRQWRIRUP              4$WDQ\UDWHLW VWKHRQHWKDW\RXFKRVHWR
      7+(:,71(667REHFOHDU,UDLVHGLWDV        FLWH"
      DFRQFHUQRIWKHFRPPXQLW\,GLGQRWWDNHDQRSLQLRQ          $$QGLWLVWKHRQHWKDW,FKRVHWRFLWH
      LQWKDWDUWLFOHWKDWLWZDVDFRQFHUQWKDW,ZDV                4, PJRLQJWRJLYH\RXDWKUHHE\ILYHFDUGWR
     RIIHULQJDVDQH[SHUW                                         KHOSUHDGDFKDUWWKDWGRHVQ WKDYHJULGOLQHVRQLWVR
     %<$77251(<%522.6                                            \RXKDYHDVWUDLJKWHGJH$QG,ZDQWWRWDNH\RXLQ
     4:HOOOHWPHDVN\RXDVDPHGLFDOGRFWRUVLWWLQJ      +DQGHOVPDQ VDUWLFOH([KLELWWRSDJHDQG
     KHUHWRGD\DQHQGRFULQRORJLVWLWZRXOGFDXVH\RX             ILJXUHRQH$QG\RX YHIDPLOLDUZLWKWKLVILJXUHDQG
     FRQFHUQZRXOGLWQRWWKDWSROLFLHVDUHDGRSWHGWKDW          WKHVHFXUYHVDUH\RXQRW"
     FUHDWHGLQFHQWLYHVIRUFKLOGUHQWRVWDUWSXEHUW\               $,DP\HV
     EORFNHUVZKHQWKH\PLJKWRWKHUZLVHQRWFKRRVHWRGRVR"        4:KHQ\RXVWXGLHGWKLVDUWLFOHFDUHIXOO\WKLVLV
     $77251(<%/2&.2EMHFWLRQWRIRUPDQGWR       SDUWRIZKDW\RXVWXGLHG
     VFRSH                                                         5LJKW"
     7+(:,71(66,W VWRREURDGRID               $,WLV
     TXHVWLRQDV\RX UHDVNLQJLWEHFDXVHWKHUHLVFHUWDLQO\        4$QGWKHVHFKDUWVVKRZSHUFHQWDJHSHUIRUPDQFH
     LQPHGLFLQHLWLVFHUWDLQO\WKHFDVHWKDWZHIHDU          DGYDQWDJHRIPDOHVRYHUIHPDOHVDQGMXVWWRVLPSOLI\
     FRHUFLQJSHRSOHWRFHUWDLQWUHDWPHQWVDQGFHUWDLQ              WHUPLQRORJ\,EHOLHYHWKHUH VQRWKLQJLQKHUHDERXW
     FLUFXPVWDQFHVEXWWKH\DUHFHUWDLQO\DOWHUQDWHH[DPSOHV        GHDOLQJZLWKWUDQVJHQGHULQGLYLGXDOVLQWKHVHFKDUWV
     ZKHUHZHYHU\PXFKFRHUFHSHRSOHWRKDYHFHUWDLQPHGLFDO       6RZLWK\RXUSHUPLVVLRQ, OOVLPSO\XVHPDOHDQGIHPDOH


                                                     3DJH                                                          3DJH
      LQWHUYHQWLRQV$QGVRDVDQH[SHUW,KDYHQRRSLQLRQ          WREHWKHGDUH,VD\VLPSOHELRORJLFDOGHVLJQDWLRQVDV
      DVZHVDLGDOUHDG\$QGVLPSO\DVVRPHERG\WU\LQJWREH        ZHKDGSUHYLRXVGLVFXVVLRQV,VWKDWDFFHSWDEOH"
      ORJLFDODQGWKRXJKWIXO,FDQFRPHXSZLWKH[DPSOHVLQ           $,WKLQNVR
      ERWKFHUWDLQFLUFXPVWDQFHV                                     4,ILW VVRPHWKLQJWKDWFRPHVXS
      %<$77251(<%522.6                                             $,ZLOOPHQWLRQLW\HV
      4, PJRLQJWRDVN\RXWRWDNH([KLELWQR         4,GRQ WWKLQNLWZLOOLQWKLVGLVFXVVLRQ)LUVW
      ([KLELWWKH+DQGHOVPDQDUWLFOHLI\RXZRXOG                 RIDOOZRXOG\RXDJUHHZLWKPHWKDWJHQHUDOO\
      $<HV                                                   VSHDNLQJMXQLRUKLJKFRQWHPSODWHVJUDGHVWKURXJK
      $77251(<75<215RJHUZRXOG\RXVSHDN          DQGFRPPRQO\DJHVLQWKHUDQJHRIWR"
     XSDOLWWOHPRUHSOHDVH"$QG-RVKZKHQ\RXVKXIIOH          $77251(<%/2&.2EMHFWLRQWRIRUP
     \RXUSDSHUVLWUHDOO\JDUEOHVWKHWHVWLPRQ\,I\RX G        7+(:,71(66-XQLRUKLJKLVJUDGHV
     EHDOLWWOHPRUHFDUHIXODERXWWKDW, GDSSUHFLDWHLW        WKURXJK,WXVHGWREH1RZWKHUHLV0LGGOH6FKRRO
     $77251(<%/2&.6RUU\                         %<$77251(<%522.6
     $77251(<%522.6,W VDFURZGHGWDEOH          4,NQRZ"
     DQGZHKDYHSDSHUVEXPSLQJXSDJDLQVWWKHPLF6RMXVW        $([DFWO\
     FDOORXWLIZHGRWKDWZURQJ                                  4/HW VMXVWZRUNZLWK\RXDQG,DUHRIJHQHUDO
     %<$77251(<%522.6                                            DJH6R-XQLRU+LJKLVWR"
     46R'U6DIHU\RXSRLQWHGWRWKH+DQGHOVPDQ           $2ND\
     DUWLFOHDVWKHEHVWVRXUFHRQWKHSURSRVLWLRQRQWKH       4$QGLQ\RXUJHQHUDOXQGHUVWDQGLQJWKLVLV
     TXHVWLRQWRZKDWH[WHQWLIDQ\QDWDOPDOHKDV                  OD\PDQ VVWXIIQRWH[SHUWVWXIIWKDWLVDJHVWR
     SK\VLRORJLFDORU,VKRXOGVD\DWKOHWLFSHUIRUPDQFH             LVK"
     DGYDQWDJHVRYHUQDWDOIHPDOHVEHIRUHSXEHUW\                  $/HW VVHHVHYHQOHWPHWKLQNDERXWWKLV
     &RUUHFW"                                              5LJKWDWDERXWWKHPD[ULJKWEHFDXVHWKHUHLV
     $77251(<%/2&.2EMHFWLRQWR                   DERXW


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                                                     3DJH                                                         3DJH
      4$QGKLJKVFKRROLVWKURXJKDJHLVK          7+(:,71(666RWKHSUREOHPKHUHZLWK
      6RPHSHRSOHJUDGXDWHDWDJH"                                 JRLQJULJKWWRWKLVILJXUHLVLW VLQFOXGLQJDUDQJHRI
      $<HV$VDQRQH[SHUW,ZRXOGEHOLHYH\HV            LQSXWVDQGVRWKLVLVVRWKHVHDUHZKDWDUHFDOOHG
      4$OOULJKW                                             FURVVVHFWLRQDOVWXGLHVDQGVRWKHLI\RXUTXHVWLRQ
      $QGWKLVFKDUWFKDUWVWKHSHUFHQWDJHDGYDQWDJH         LVMXVWLQWKHQDUURZSRLQWRIWKLVILYHSHUFHQW
      HQMR\HGRQDYHUDJHHQMR\HGE\PDOHVRYHUIHPDOHVLQ         PLQLPDOZHOOHYHQWKHUH,GRQ WNQRZWKDW,FDQ
      WKUHHGLIIHUHQWHYHQWVDWRYHURQD\HDUE\\HDU            FRPPHQWEHFDXVHLWGHSHQGVRQKRZEURDGWKHYDULDWLRQLV
      EDVLVIURPDJHVXSWR                                    DPRQJWKHJURXS
      $P,GHVFULELQJLWFRUUHFWO\"                          %<$77251(<%522.6
     $77251(<%/2&.2EMHFWLRQWRIRUP-XVW       4$QGZKDWJHQGHUGLIIHUHQFHGLG'U+DQGHOVPDQ
     IRUWKHUHFRUGLW VSHUFHQWDJHGLIIHUHQFHVQRW               UHSRUWLQUXQQLQJDWDJH"
     SHUFHQWDJHDGYDQWDJHV                                         $$WDJHDUDQJHWKDWLVKRYHULQJDERXWWR
     %<$77251(<%522.6                                            SHUFHQW
     4&RUUHFWLWVD\VLWVD\VJHQGHUGLIIHUHQFH        4$QGE\DJHDFFRUGLQJWRKLVVDPSOHWKH
     SHUFHQWDJHWRUHDGWKH<D[LV                                 JHQGHUGLIIHUHQFHLVDSSURDFKHGEHJLQVWROHYHORII
     $&OHDU\HV                                           ,QRWKHUZRUGVLWKDVPRVWRIWKHJHQGHUGLIIHUHQFH
     42ND\                                                 KDVEHHQDFKLHYHGDWDJH
     6ROHW VORRNDWUXQQLQJDQG\RXKDYH\RXU            &RUUHFW"
     VWUDLJKWHGJHLILWLVKHOSIXOWR\RX$WDJHZKDW       $77251(<%/2&.2EMHFWLRQWRIRUP
     DFFRUGLQJWR'U+DQGHOVPDQLVWKHJHQGHUGLIIHUHQFHLQ       7+(:,71(66$PRQJWKLVGDWDLQWKLV
     UXQQLQJSHUIRUPDQFH"                                           VWXG\VHW\HV,ZLOODJUHHZLWK\RXLWGRHVOHYHORII
     $6RLQWKLVSDSHUWKHUHLVDUDQJH%XWMXVWWR       %<$77251(<%522.6
     KHOS\RXJHWWR\RXUSRLQWIDVWHU,JXHVVZHFDQLW        46ROHWPHDVN\RXWKLV'R\RXKDYHDQ
     LVDERXWILYHSHUFHQWRIWDERYHU                             XQGHUVWDQGLQJRIWKHSK\VLRORJLFDOEDVLVRIZKDW\RX


                                                     3DJH                                                         3DJH
      4$QGIRUUHDVRQVEHVWNQRZQWR3URIHVVRU                GHVFULEHGDVDWZRWRWKUHHSHUFHQWPDOHDGYDQWDJHDW
      +DQGHOVPDQKLVDUURZEDUVH[WHQGRQO\XSZDUGVFRUUHFW        DJHWHQLQUXQQLQJ"
      LQWKLVFKDUW"                                                  $77251(<%/2&.2EMHFWLRQWRIRUP
      $5LJKW,ZLOOKDYHWRDWWULEXWHWKDWWR               %<$77251(<%522.6
      FOHDQOLQHVVRIWKHILJXUH                                      4,IDQ\"
      42ULIKHKDVFKRVHQWRILWKLVFXUYHWRWKH            $6RVSHDNLQJDVDQH[SHUWWKHUH VQRWKHUH
      ERWWRPHQGRIWKLVHUURUUDQJHSRVVLEO\"                        LVQRSK\VLRORJLFDOWKHUHLVQRH[SHFWDWLRQRID
      $77251(<%/2&.2EMHFWLRQWRIRUP              SK\VLRORJLFDOH[SODQDWLRQ$QGWKHUHLVDZDUHQHVVRI
      7+(:,71(66<HDK,FDQ WFRPPHQW              RWKHUFRQIRXQGHUVLQWHUPVRIH[SHULHQFHH[SRVXUHWR
     WKHUHEXWWKDWZRXOGQ WEHXVXDO                             VSRUWDQGWKLQJVOLNHWKDW
     %<$77251(<%522.6                                            4/HWPHDVN\RXWRORRNDWMXPSLQJDWDJHWHQ
     47KDWZRXOGQRWEHXVXDO,DJUHH$QGZKDW           $QGWKLVLVDWDJHWHQZKDWSHUIRUPDQFHRIJHQGHU
     DGYDQWDJHZKDWJHQGHUGLIIHUHQFHEHWZHHQPDOHDQG          GLIIHUHQFHDGYDQWDJHGLG'U+DQGHOVPDQUHSRUWIRUER\V
     IHPDOHGRHV3URIHVVRU+DQGHOVPDQUHSRUWDWDJHWHQ             LQMXPSLQJ"
     DSSUR[LPDWHO\"                                                 $6RDWDJHWHQLWZRXOGJRRQVRDWDJHWHQ
     $$WDJHWHQLQWKHSDUWLFXODUILJXUHWKDWZHDUH       WKHQWKHUDQJH
     UHIHUHQFLQJLWLVWKHDYHUDJHLVZHOODFWXDOO\       47KLVE\WKHZD\WHOOVXVWKDWKHFDQQRWEH
     VRKHUHLWUDQJHVIURPDERXWWZRSHUFHQWEHFDXVHWKDWLV       LQFOLQHGLQDUURZEDUDV\PPHWULFDODUURZEDUEHORZ
     SUREDEO\KRZWKHDLUEDUVDUHPHDQWWREHXSWRMXVWD         &RUUHFW"
     OLWWOHQRUWKWRWKUHHSHUFHQW                                 $77251(<%/2&.2EMHFWLRQWRIRUP
     4$QGJRLQJEDFNWRDJHGR\RXFRQVLGHUDILYH      7+(:,71(666RKHFDQ W,QIDFWWKH
     SHUFHQWGLIIHUHQFHEHWZHHQPDOHDQGIHPDOHSHUIRUPDQFH         UDQJHWKDWKH VVKRZLQJWKHUHJRHVIURPDQDGYDQWDJHIRU
     WREHPLQLPDO"                                                 JLUOVWKDWLVLWJRHVEHORZWRDQDGYDQWDJHIRU
     $77251(<%/2&.2EMHFWLRQWRIRUP             ER\V7KHUDQJHLVLQFOXGHGDQGLWMXVWIRUERWK


                                                                                            3DJHVWR
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                                                     3DJH                                                         3DJH
      VH[HV                                                          TXLWHZLGHUDQJHRIKHWHURJHQHLW\LQGHYHORSPHQWERG\
      %<$77251(<%522.6                                             W\SHHWFHWHUD,FHUWDLQO\FRXOGHQYLVLRQDVLWXDWLRQ
      46RZKDWLVWKHDYHUDJHDGYDQWDJHWKDWKHUHSRUWV       \HV
      DWDJHWHQIRUER\V"                                            %<$77251(<%522.6
      $6RLQWKLVGDWDVHWWKHDYHUDJHLVDERXWDVL[          4'U6DIHULQ\RXU'HFODUDWLRQILOHGLQ0D\\RX
      SHUFHQWDYHUDJHIRUER\VEXWLWLVLPSRUWDQWWR                VWDWHGWKDWEHIRUHSXEHUW\DWKOHWLFDGYDQWDJHE\ER\V
      XQGHUVWDQGWKHGDWD$QGWKHGDWDWKDWWKHSRLQW           ZDVPLQLPDO'R\RXUHFDOOWKDWODQJXDJH"
      EHLQJWKDWLIZHZHUHWRUHSHDWWKHVWXG\\RXZRXOG             $7KHZD\,ZRXOGVD\LWLVWKHGLIIHUHQFHEHWZHHQ
      DQWLFLSDWHWKDWWKDWDYHUDJHZRXOGIDOODFURVVWKRVH            ER\VDQGJLUOVEHIRUHSXEHUW\LVPLQLPDORU
     HQWLUHWKHHQWLUHUDQJHVKRZQVRWKDWLQDGLIIHUHQW       QRQH[LVWHQW,GRQ WNQRZLI,FRXOGEHZLVHUWKDQ
     GD\LWPLJKWVKRZDELJJHUDGYDQWDJHIRUER\VEXWD           WKDW
     GLIIHUHQWGD\LWPLJKWDOVRVKRZDQDGYDQWDJHIRUJLUOV        4$OOULJKW%XWQRZ\RXDUHWHOOLQJPHZKHQ,
     DERXWKLJKHU                                                  DVNHG\RXTXHVWLRQVDERXWPLQLPDOWKDW\RXDVDQH[SHUW
     4$UH\RXDZDUHRIDQ\GDWDVHWWKDWVKRZVD             DUHQRWDEOHWRGHILQHPLQLPDO+RZGR\RXUHFRQFLOH
     VPDOOHUDGYDQWDJHLQMXPSLQJIRUJLUOVDWDJHWHQ"             WKRVHWZR"
     $2IIWKHWRSRIP\KHDG,FDQQRWJXLGHOHDG        $77251(<%/2&.2EMHFWLRQWRIRUP
     \RXWRDGDWDVHW                                              7+(:,71(666RWKHGHILQLWLRQRI
     4$WDJHZKDWDGYDQWDJHLQMXPSLQJZHOO         PLQLPDOLVLQFRQWH[W$QGVRDVZHGLVFXVVHGLWZDV
     OHWPHVWDUWRYHU$WDJHZKDWDGYDQWDJHLQMXPSLQJ        QRWDVLJQLILFDQWGLIIHUHQFHXVLQJERWKWKRVH
     GRHV'U+DQGHOVPDQUHSRUWIRUER\V"                           GHILQLWLRQVWKDWZHDOUHDG\XVHGZHUHQRGLIIHUHQWDW
     $6RLQWKLVGDWDVHWDWDJHKHVKRZVWKH             DOO
     DGYDQWDJHWKHDYHUDJHDGYDQWDJHWREHRIWKHOHVV          %<$77251(<%522.6
     WKDQWKHDYHUDJHDGYDQWDJHIRUDJHWHQEXWWKLVH[DFWO\       4<RXUVWDWHPHQWLQ\RXU'HFODUDWLRQVLPSO\
     SRLQWVWRWKHFDXWLRQWKDW,ZDVUHIHUHQFLQJZKLFKLV         DVVHUWHGFDWHJRULFDOO\LQDOPRVWQRFRQWH[WWKDWWKH


                                                     3DJH                                                         3DJH
      WKDWWKHUDQJHRISRVVLELOLWLHVWKDW\RXPLJKW                  GLIIHUHQFHLQDWKOHWLFFDSDELOLW\RIER\VWRJLUOVZHUH
      DQWLFLSDWHEDVHGRQWKLVSDUWLFXODUGDWDVHWDWDJH           ERWKPLQLPDO0\TXHVWLRQIRU\RXLVXVLQJZKDWHYHU
      KDVDUDQJHRIIRXUWRVL[SHUFHQWDGYDQWDJHIRUER\V          GHILQLWLRQ\RXKDGLQPLQGZKHQ\RXZURWHWKDWGR\RX
      47KHDUURZEDUKDVWLJKWHQHGXSDORW"                  FRQVLGHUD,ZLOOORRNDWMXPSLQJDILYHSHUFHQW
      $7KHDUURZEDULQWKDWDJHUDQJHLVWLJKWHU            GLIIHUHQFHLQFDSDELOLW\WREHPLQLPXP"
      4$QGGR\RXFRQVLGHUDVL[SHUFHQWDGYDQWDJHWR         $77251(<%/2&.2EMHFWLRQWRIRUPDQG
      EHPLQLPDO"                                                     FKDUDFWHUL]DWLRQRIWKHUHSRUW
      $77251(<%/2&.2EMHFWLRQWRIRUP              7+(:,71(666RLW VDFRQWH[W6RLQ
      7+(:,71(66$VDQH[SHUW,FDQ WDQVZHU        WKHUHSRUWWKHUHIHUHQFHLVWRSUHSXEHUWDOFKLOGUHQ
     WKDWEHFDXVHLWGHSHQGVRQFRQWH[WRQWKHKHWHURJHQHLW\        $QGWKHUHLWLVHDVLHUWREHPRUHFDWHJRULFDO:KHUH
     RIDOOWKHVHHYHQWV                                           QRZZH UHPRYLQJLQWRDQDUHDZKHUHWKHUHLVZKHUH
     %<$77251(<%522.6                                            WKLQJVDUHPRUHFRPSOH[DQGVRLWLVDKDUGHUFRQWH[WWR
     4$QGDWDJHZKDWDYHUDJHDGYDQWDJHLQMXPSLQJ       PDNHWKDWVWDWHPHQW
     GLG'U+DQGHOVPDQUHSRUWIRUER\V"                            %<$77251(<%522.6
     $)RUDJHKHKDVDUDQJHRUWKHDYHUDJHVLWVDW      47KDWLVDVDPSOHRIWHQ\HDUROGER\VLQFOXGHV
     SHUFHQWDQGWKHUDQJHUXQVIURPDERXWSHUFHQWWR         VRPHZKRDUHQRORQJHUSUHSXEHUWDO
     PD\EHSHUFHQW                                              &RUUHFW"
     4,VWKHUHDQ\FRQWH[WLQ\RXURSLQLRQDQ\             $1R, PVD\LQJLWPRUHWKHRWKHUZD\ZKLFKLV
     DWKOHWLFHQGHDYRUWKDWLQYROYHVMXPSLQJLQZKLFKD          DVDPSOHRIWHQ\HDUROGER\VZRXOGRYHUZKHOPLQJO\EH
     SHUFHQWDGYDQWDJHLVLQ\RXUYLHZPLQLPDO"                     SUHSXEHUWDOEXWDVDPSOHRI\HDUROGER\VZRXOGKDYH
     $77251(<%/2&.2EMHFWLRQWRIRUP             PRUHRIDUDQJHDQGKDYHPRUHKHWHURJHQHLW\$QG
     7+(:,71(66<HV,WKLQNDVDQH[SHUW,       WKHUH VPRUHWRLWHYHQWKDQWKDWZKLFKLVWKH
     FDQ WDQVZHUWKDW,I\RX UHWKLQNLQJDWWKHVFKRODVWLF       GHILQLWLRQRIPLQLPDODOVRLQFOXGHVWKHFRQWH[WRIWKH
     OHYHOZKHUHWKHUHLVDZLGHUDQJHRIZKHUHWKHUH VD       HQWLUHSRSXODWLRQZKRSDUWLFLSDWHGLQWKHVSRUW


                                                                                            3DJHVWR
                Case: 22-5807
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                                                     3DJH                                                        3DJH
      46RIRFXVLQJRQWHQ\HDUROGER\VDQGMXPSLQJ\RX       RULJLQDOUHVHDUFKRUDVPRUHRIDOLWHUDWXUHUHYLHZ
      VDLGDWDJHWHQWKHODUJHPDMRULW\RIER\VDUH                 SDSHU"
      DFFRUGLQJWR\RXUGHILQLWLRQSUHSXEHUWDO5HIHUULQJ           $,GRQ WUHFDOOWKHPUHSRUWLQJRQWKHLURULJLQDO
      EDFNWR'HFODUDWLRQDQGWKHPHDQLQJWKDW\RXDVFULEHGWR        UHVHDUFKEXW,ZRXOGKDYHWRORRN,W VPRVWO\D
      WKHZRUGPLQLPDOWKHUHLQ\RXUYLHZLVDVL[SHUFHQW          UHYLHZSDSHU
      GLIIHUHQFHLQFDSDELOLW\PLQLPDORUQRWPLQLPDO"                47KDWLVDOVRP\LPSUHVVLRQ,MXVWGLGQ WZDQW
      $77251(<%/2&.2EMHFWLRQWRIRUPDQGWR        WRFUHDWHDGLIIHUHQWLPSUHVVLRQ/HWPHDVN\RXWR
      WDONLQJDERXWKLV'HFODUDWLRQZLWKRXWLWEHLQJLQIURQW         WXUQWRSDJHDQGWKHUHLQWKHILUVWFROXPQ
      RIKLP                                                         EHJLQQLQJVL[OLQHVGRZQWKHUHLVDVHQWHQFHWKDWEHJLQV
     $77251(<%522.6+HKDVLWLQIURQWRI         DQH[WHQVLYHUHYLHZ/HWPHDVN\RXWRILQGWKDW
     KLPDQGZHDOUHDG\ORRNHGDWWKHODQJXDJH                     $,KDYHLW
     %<$77251(<%522.6                                            4$QGWKDW, OOUHDGLWLQWRWKHUHFRUG
     4<RXPD\DQVZHU                                       4XRWHDQH[WHQVLYHUHYLHZRIILWQHVVGDWDIURPRYHU
     $6RWKHJUDSKWKDWZHDUHORRNLQJDWLQFOXGHV          $XVWUDOLDQFKLOGUHQDJHWR\HDUVROGVKRZHG
     DUURZEDUVWKDWLQFOXGHWKHSRVVLELOLW\WKDWER\VZRXOG        WKDWFRPSDUHGZLWKQLQH\HDUROGIHPDOHVQLQH\HDUROG
     KDYHWKDWWKHJLUOVZRXOGKDYHDVXSHULRURXWFRPH         PDOHVZHUHIDVWHURYHUVKRUWVSULQWVSHUFHQWDQG
     DQGVRWKHDQVZHUWKHQEHFRPHV\HV:KHUHWKHGDWDDUH       RQHPLOHSHUFHQWFRXOGMXPSSHUFHQWIDUWKHU
     HLWKHUVPDOORUDUHVXVSHFWRUQRWVLJQLILFDQWWKHQDOO       IURPDVWDQGLQJVWDUWZKLFKWHVWHGH[SORVLYHSRZHU
     RIWKDWFROOHFWLYHO\FHUWDLQO\LVZRXOGEHLQFOXGHG        FRXOGFRPSOHWHPRUHSXVKXSVLQVHFRQGVDQGKDYH
     DVPLQLPDOWRQRQH[LVWHQW                                    SHUFHQWVWURQJHUJULS0DOHDGYDQWDJHRIDVLPLODU
     $77251(<%522.6/HWPHPDUNDV([KLELW        PDJQLWXGHZDVGHWHFWHGLQDJURXSVWXG\RIFKLOGUHQ
     6DIHUDSDSHUE\(PPD&ROWRQDQG7RPP\/XQGVEXUJ             ZKHUHFRPSDUHGWRDVL[\HDUROGIHPDOHVVL[\HDUROG
     HQWLWOHG7UDQVJHQGHU:RPHQLQD)HPDOH&DWHJRU\RI             PDOHVFRPSHWHGSHUFHQWPRUHVKXWWOHUXQVLQDJLYHQ
     6SRUWIURPSUHYLRXVO\PDUNHGDV([KLELWDW'U       WLPHDQGFRXOGMXPSSHUFHQWIXUWKHUIURPDVWDQGLQJ


                                                     3DJH                                                        3DJH
      $GNLQV VGHSRVLWLRQ                                            SRVLWLRQ'R\RXVHHWKDWODQJXDJH"
                                        $,GR
       :KHUHXSRQ([KLELW7UDQVJHQGHU:RPHQ,Q         4$QGRQWKH$XVWUDOLDQVWXG\LI\RXIROORZWKH
      D)HPDOH&DWHJRU\RI6SRUWZDVPDUNHGIRU          IRRWQRWH\RXZLOOVHHWKDWLWUHIHUHQFHVDVWXG\E\
      LGHQWLILFDWLRQ                                     .DLWOLQ7KRPSNLQVRQ7KDW VIRRWQRWH$QGP\ILUVW
                                        TXHVWLRQLVKDYH\RXUHDGWKHUHIHUHQFHVWXG\E\.DLWOLQ
      %<$77251(<%522.6                                             7KRPSNLQVRQ"
      4$QGILUVW3URIHVVRU6DIHUOHWPHDVNZKHWKHU         $,GRQ WUHFDOO, PJXHVVLQJ\HV
      \RX UHIDPLOLDUZLWKWKLVSDSHUSXEOLVKHGODVW\HDU"            4$OOULJKW$OOULJKW
     $,DPIDPLOLDU                                        'R\RXKDYHDQ\UHDVRQWRGRXEWWKHDFFXUDF\RI
     4$QGKDYH\RXLQWHUDFWHGSURIHVVLRQDOO\ZLWK           WKLVVXPPDU\RIWKHILQGLQJVRI.DLWOLQ7KRPSNLQVRQ
     HLWKHU'U&ROWRQRUDQG,GRQ WNQRZKLVGHJUHH          EDVHGRQGDWDIURPRYHU$XVWUDOLDQFKLOGUHQ"
     0U/XQGVEXUJLQDQ\FRQWH[W"                                  $77251(<%/2&.2EMHFWLRQWRIRUP
     $+HUH,GRQ WUHPHPEHU                                7+(:,71(66,WKLQNWKHLPSRUWDQWWKLQJ
     42ND\                                                 WRUHFRJQL]HZKHQ\RXORRNDWWKHVHVRUWVRIGDWDDUH
     'R\RXEHOLHYHWKDW\RXEHFDPHDZDUHRIWKLV          UHFRJQL]LQJWKHPXOWLSOHLQSXWV6RWKHODUJHUWKHVH
     SDSHUVRRQDIWHULWZDVSXEOLVKHG"                             JURXSVWKHVHFURVVVHFWLRQDOVWXGLHVJHWWKHPRUH
     $,GRQ WNQRZLI,FDQDQVZHUWKDWFOHDQO\             FRQIRXQGHGWKH\JHWE\DFFHVVDQGRWKHUVRFLDO
     HLWKHUEXW,FHUWDLQO\KDYHEHFDPHDZDUHRILW                H[SODQDWLRQVZK\WKHUHDUHER\VSDUWLFLSDWLQJLQVSRUWV
     VRPHZKHUHEHWZHHQWKHQDQGQRZ                                WRDJUHDWHUGHJUHH
     4$QGKDYH\RXUHDGLWZLWKVRPHFDUH"                  %<$77251(<%522.6
     $,KDYHUHDGLWZLWKVRPHFDUH\HV                   46RSXWWLQJDVLGHFDXVDWLRQZKLFKPLJKWEH
     4/HWPHDVN\RXZHOOOHWPHDVN\RXWKLV          SK\VLRORJLFDODQGPLJKWEHFXOWXUDODV\RXVDLGWKHUH
     ILUVW:RXOG\RXGHVFULEHWKLVSDSHUDVUHSRUWLQJ             FRXOGEHYDULRXVFDXVHVGR\RXKDYHDQ\UHDVRQWRGRXEW


                                                                                          3DJHVWR
                Case: 22-5807
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                                                  3DJH                                                        3DJH
      WKHDFFXUDF\RIWKHILQGLQJVRISHUIRUPDQFHDGYDQWDJH          LPSRUWDQW6RLI\RXQHHGDEUHDNZH OOWDNHDEUHDN
      VXPPDUL]HGKHUHLQWKHSDVVDJHWKDW, YHMXVWUHDG"            $6R, PJRRG
      $77251(<%/2&.2EMHFWLRQWRIRUPDQG          $77251(<%522.6:HOOREYLRXVO\LI
      WHUPLQRORJ\                                                   DQ\ERG\ZDQWVDEUHDNZHFDQWDNHDEUHDN
      7+(:,71(663XWWLQJDVLGHFDXVDWLRQ,        $77251(<%/2&.'R\RXQHHGDEUHDN"
      KDYHQR,FDQ WRIIHUDQH[SHUWRSLQLRQ,JXHVVLI         $77251(<6:$0,1$7+$11R
      WKDW VWKHERWWRPOLQH%XWLI\RX UHDVNLQJPHMXVWDV       $77251(<%/2&.:HDUHJRRG
      DQLQGLYLGXDO, PQRWH[SHFWLQJWKDWWKH\ UH                  7+(:,71(666RP\UHEXWWDO
      IDEULFDWLQJWKDWGDWD,DPQRWH[SHFWLQJWKDW               %<$77251(<%522.6
     %<$77251(<%522.6                                           4<RXUUHEXWWDOZKLFKLV([KLELWVRLW V
     4$QG\RXDJUHHWKDWDGYDQWDJHVRQDVFDOHRI        SUREDEO\DWWKHERWWRP$QGLQWKDW, PJRLQJWRGUDZ
     SHUFHQWSHUFHQWFRXOGSURYLGHDVLJQLILFDQW               \RXUDWWHQWLRQWRSDUDJUDSK$QGWKHUH\RXZURWH
     DGYDQWDJHLQDWKOHWLFFRPSHWLWLRQGR\RXQRW"                WKHUHLVDOVRQREDVLVWRFRQILGHQWO\SUHGLFWWKH
     $77251(<%/2&.2EMHFWLRQWR                  SDWWHUQVDERXWWKHDWKOHWLFSHUIRUPDQFHRISUHSXEHUWDO
     WHUPLQRORJ\                                                  FLVJHQGHUER\VZLOOEHWKHVDPHIRUSUHSXEHUWDO
     7+(:,71(666RVD\WKDWTXHVWLRQDJDLQ      WUDQVJHQGHUJLUOVFORVHGTXRWH'R\RXVHHWKDW"
     %<$77251(<%522.6                                           $,GR
     4<RXDJUHHWKDWDGYDQWDJHVRQWKHVFDOHRI            4$QGOHWPHDWWHPSWWRVHHLI,XQGHUVWDQGWKH
     SHUFHQWRUSHUFHQWZRXOGSURYLGHDODUJH             SRLQWRIWKLVSDUDJUDSK$QGLQGHHGLI\RXZRXOGOLNH
     DGYDQWDJHLQDWKOHWLFFRPSHWLWLRQGR\RXQRW"                WRUHDGWKHZKROHSDUDJUDSK\RXVKRXOG%XWP\
     $77251(<%/2&.6DPHREMHFWLRQWR             XQGHUVWDQGLQJRIWKHSRLQWLVWKDW\RX UHVD\LQJWKDW
     WHUPLQRORJ\                                                  HYHQLISUHSXEHUWDOER\VKDYHVRPHSHUIRUPDQFHVRPH
     7+(:,71(66,QHOLWHDWKOHWLF                VWDWLVWLFDOO\VLJQLILFDQWSHUIRUPDQFHDGYDQWDJHRYHU
     FRPSHWLWLRQ\HV                                             SUHSXEHUWDOJLUOVWKDW\RXDUHQRWFRQILGHQWWKDWWKH


                                                  3DJH                                                        3DJH
      %<$77251(<%522.6                                            DWKOHWLFSHUIRUPDQFHFDSDELOLWLHVRIQDWDOPDOHVZKR
      4'LG\RXSOD\DQ\VSRUWLQKLJKVFKRRO"                LGHQWLI\DVIHPDOHVEHIRUHSXEHUW\ZLOOEHWKHVDPHDV
      $$WDVRSKLVWLFDWHGOHYHO,GLGQRW                   WKRVHRIQDWDOPDOHVZKRLGHQWLILHGDVPDOHEHIRUH
      4<RXUJHQHUDONQRZOHGJHSHUPLWV\RXWRVD\GRHV       SXEHUW\"
      LWQRWWKDWDWWKHKLJKVFKRROOHYHODOVRDSHUFHQW       $77251(<%/2&.2EMHFWLRQWRWKH
      RUDSHUFHQWDGYDQWDJHLVDYHU\ODUJHDGYDQWDJH"         WHUPLQRORJ\
      $77251(<%/2&.2EMHFWLRQWRIRUPDQG          7+(:,71(666RWRWKHH[WHQWVR
      WHUPLQRORJ\"                                                   ZHUHGLIIHUHQFHVWREHGHWHUPLQHGEHWZHHQFLVJHQGHUER\V
      7+(:,71(666RWKHUHLWJHWVPRUH             DQGFLVJHQGHUJLUOVLWLVFRUUHFWWRVD\WKDWWKDW
     GLIIXVHWKHUHIRUHDQG,FDQ WDQVZHUDVDQH[SHUW          ZRQ WFRQFOXVLYHO\GHPRQVWUDWHWKDWWKHVDPHDSSOLHVIRU
     %<$77251(<%522.6                                           WUDQVJHQGHUJLUOV7KDW VULJKW
     4&DQ\RXDQVZHUDVDQLQIRUPHGDGXOWFLWL]HQ"         %<$77251(<%522.6
     $77251(<%/2&.6DPHREMHFWLRQ               41RZHOVHZKHUHLQ\RXUZULWLQJV\RXKDYHVDLG
     7+(:,71(666RDVDQH[SHUWIRUVXUH         WKDWLWLVZHOONQRZQWKDWWKHPDMRULW\RISUHSXEHUWDO
     QRW$VDQLQIRUPHGDGXOWLWIDOOVEDFNWRWKHVDPH         FKLOGUHQZKRH[SHULHQFHJHQGHUG\VSKRULDGRQRWSHUVLVW
     VLWXDWLRQ:KHQWKHUHLVDZLGHUDQJHRIDWKOHWHVLQD       LQWKDWG\VSKRULDLQWRSXEHUWDODGROHVFHQFH
     FHUWDLQFRQWH[WWKHQLWLVJRLQJWRVHHPOHVVUHOHYDQW      &RUUHFW"
     $QGREYLRXVO\ZLWKWKHH[DPSOH,JDYHEHIRUHZLWKDQ          $77251(<%/2&.2EMHFWLRQ
     HOLWHFLUFXPVWDQFHZKHUHWKDWLWGHVFULEHVWKH            7+(:,71(661R
     HQWLUHILHOGLVPRUHVLJQLILFDQW                             %<$77251(<%522.6
     %<$77251(<%522.6                                           41RWFRUUHFW"
     4/HWPHDVN\RXWRILQG\RXUUHEXWWDOUHSRUW         $1RWFRUUHFW
     $$QGDFWXDOO\GRRWKHUVQHHGDEUHDN"             47KHQZHZLOOFRPHEDFNWRWKDW,QWKLV
     4$Q\WLPH\RXUFRQFHQWUDWLRQLVPRVW              SDUDJUDSK\RXVSHFXODWHDOLWWOHIDUWKHUGRZQWKDW


                                                                                       3DJHVWR
                Case: 22-5807
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                                                   3DJH                                                                  3DJH
      TXRWHWKHH[SHULHQFHRIWUDQVJHQGHUJLUOVPLJKWEHPRUH        UHIHUVWRZLGHO\SXEOLFL]HGDQHFGRWHVDERXWLVRODWHG
      VLPLODUWRWKHH[SHULHQFHRIFLVJHQGHUJLUOV"                   FDVHVRIWUDQVJHQGHUJLUOVDQGZRPHQVWDWHFKDPSLRQVKLSV
      $77251(<%/2&.2EMHFWLRQWRWKH                LQKLJKVFKRROVSRUWVRU1&$$FKDPSLRQVKLSVLQFROOHJH
      FKDUDFWHUL]DWLRQDQGVSHFXODWLYH                               'R\RXVHHWKDW"
      %<$77251(<%522.6                                             $,GR
      4:HOOE\XVLQJWKHZRUGPLJKW\RXPHDQWWR             4$QG\RXJRRQWRZULWHEXWWUDQVJHQGHUDWKOHWHV
      LQGLFDWHGLG\RXQRW'U6DIHUWKLVLVDK\SRWKHVLV         RIZRPHQKDYHEHHQFRPSHWLQJLQ1&$$DQGVHFRQGDU\
      WKLVLVQRWDGRFXPHQWHGIDFW"                                  VFKRRODWKOHWLFVIRUPDQ\\HDUVDWWKLVSRLQWFORVHG
      $7KDWLIWKHTXHVWLRQLVGR,NQRZWKDWWKH             TXRWH'R\RXVHHWKDWODQJXDJH"
     H[SHULHQFHRIWUDQVJHQGHUJLUOVLVGHILQLWHO\LQWKLV          $,GR
     FLUFXPVWDQFHWKHVDPHDVFLVJHQGHUJLUOVWKDW VULJKW        4/HWPHDVN\RXWRQDPHDOOLQVWDQFHVRIPDOH
     ,GRQ WNQRZWKDW,WRQO\PLJKWEHWUXH                     PDOHVNQRZQWR\RXZKRKDYHFRPSHWHGLQZRPHQ VGLYLVLRQ
     4$QGWRZDUGVWKHHQGLQWKHODVWOLQH\RXUHIHU      YDUVLW\DWKOHWLFVLQDQ\DWKOHWLFHQGHDYRUIRUDQ\1&$$
     WRSRWHQWLDOELRORJLFDOXQGHUSLQQLQJVRIJHQGHU                PHPEHUVFKRRO"
     LGHQWLW\$JDLQWKHZRUGSRWHQWLDOVLJQDOLQJWKDWQR         $77251(<%/2&.2EMHFWLRQWRIRUPDQG
     VXFKVSHFLILFXQGHUSLQQLQJVKDYH\HWEHHQLGHQWLILHG          VFRSH
     &RUUHFW"                                              7+(:,71(665LJKWVR,FHUWDLQO\FDQ W
     $6D\WKDWTXHVWLRQDJDLQ                              GRWKDWXVHIXOO\RIIWKHWRSRIP\KHDGQDPH
     4,QWKHODVWOLQH\RXUUHIHUHQFHWRTXRWH           WUDQVJHQGHUZRPHQDQGDOOWKHVHFRQWH[WLQVXFKDQ
     SRWHQWLDOELRORJLFDOXQGHUSLQQLQJVRIJHQGHULGHQWLI\         H[KDXVWLYHZD\OLNHWKDW
     E\WKHZRUGSRWHQWLDO\RXDUHLQGLFDWLQJWKDWQR               %<$77251(<%522.6
     VSHFLILFELRORJLFDOXQGHUSLQQLQJKDV\HWEHHQ                  4:HOO,DVNHG\RXDFFXVHG'RFWRU%URZQRIFLWLQJ
     LGHQWLILHG                                                    LVRODWHGFDVHV'R\RXKDYHDQ\EDVLVWRDVVHUWWKDWKH
     &RUUHFW"                                              KDVGRQHDQ\WKLQJRWKHUWKDQFLWHDOOFDVHVLQZKLFK


                                                   3DJH                                                                  3DJH
      $77251(<%/2&.2EMHFWLRQWRIRUP              QDWDOPDOHVKDYHFRPSHWHGLQ1&$$DWKOHWLFVLQWKH
      7+(:,71(666RLW VVRQR                 IHPDOHFDWHJRU\"
      SRWHQWLDOLQWKLVFRQWH[WGRHVUHIHUHQFHWKDWPRVWRI           $6RWKHLIRXUIRFXVLVRQWKHZRUGLVRODWHG
      WKLVELRORJ\LVXQNQRZQVRWKDWSDUWLVWUXHEXWLW           WKHQSHUVHWKH\DUHDOOWKHVHDUHDOOLVRODWHG
      GRHVQ WPHDQWKDWWKHUHLVQRWKLQJNQRZQ                       FDVHV7KHVHDUHQ WV\VWHPDWLFDQDO\VHVRIDQ\FRKRUW
      %<$77251(<%522.6                                             RISHRSOH
      4<RXGRQRWSURSRVHWRRIIHUDQ\RSLQLRQWKDW           4<RXDUHQRWDFFXVLQJ'RFWRU%URZQRISLFNLQJDQG
      QDWDOPDOHVOHWPHVWULNHWKDWDQGVWDUWDJDLQ             FKRRVLQJ"
      <RXGRQRWSURSRVHWRRIIHUDQ\RSLQLRQGR            $77251(<%/2&.2EMHFWLRQWRIRUP
     \RXWKDWSULRUWRSXEHUW\QDWDOPDOHVZKRLGHQWLI\DV         7+(:,71(666ROHWPHWKLQNDERXWWKDW
     IHPDOHDUHOHVVDWKOHWLFFDSDEOHRQDYHUDJHWKDQQDWDO         %\VLPSO\FKRRVLQJLQGLYLGXDOFDVHVWKDWDUHLQWKH
     PDOHVZKRLGHQWLI\DVPDOH"                                    SUHVVWKHQLWLVE\LWVQDWXUHSLFNLQJDQGFKRRVLQJ
     $77251(<%/2&.2EMHFWLRQWRIRUP             %<$77251(<%522.6
     7+(:,71(66, PQRWRIIHULQJDQRSLQLRQ       4:KDWGR\RXPHDQE\WKDW"
     ZLWKUHJDUGWRFLVJHQGHUH[FXVHPHFLVJHQGHU           $:HOOWKHVHDUHVLPSO\LQGLYLGXDOFDVHVWKDW
     ER\VYHUVXVWUDQVJHQGHUJLUOVDQGWKHLUDWKOHWLFLVPZKHQ       KDYHWKDWKDYHFRPHWRSXEOLFDWWHQWLRQDQGVR,
     WKH\DUHSUHSXEHUWDO,IWKDW VZKDW\RXDUHDVNLQJ          VRDQGWKDW VWKHEDVLVRIP\VWDWHPHQWDV
     WKHQ\HV, PQRWRIIHULQJDQRSLQLRQEHWZHHQWKRVHWZR        RSSRVHGWRVRPHH[KDXVWLYHDWWHPSWWRLGHQWLI\
     JURXSV, PVLPSO\UDLVLQJWKHSRVVLELOLW\WKDW               WUDQVJHQGHUSHRSOHLQDV\VWHPDWLFIDVKLRQ
     VRPHWKLQJOLNHELRORJ\DVVRFLDWHGZLWKWUDQVJHQGHUFRXOG       4$V\RXVLWKHUHWRGD\'U6DIHUDUH\RXDZDUH
     KDYHLQIOXHQFHLQWRLW                                        RIDVLQJOHFDVHQRWPHQWLRQHGE\'RFWRU%URZQLQKLV
     %<$77251(<%522.6                                            UHSRUWRIDQDWDOPDOHZKRKDVFRPSHWHGLQ1&$$
     4/HWPHDVN\RXWRWXUQWRSDUDJUDSKRI\RXU        DWKOHWLFVLQWKHZRPHQ VFDWHJRU\"
     UHEXWWDOUHSRUW$QGWKHUH\RXZULWH'RFWRU%URZQDOVR        $77251(<%/2&.2EMHFWLRQWRIRUP


                                                                                            3DJHVWR
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                                                   3DJH                                                        3DJH
      7+(:,71(66&DQ,QDPHVRPHERG\RIIWKH        ZKRDUHWUDQVJHQGHU"
      WRSRIP\KHDG",FDQQRW                                      $77251(<%/2&.2EMHFWLRQWRIRUP
      %<$77251(<%522.6                                             7+(:,71(667KDWLVFRUUHFW,GRQRW
      4'R\RXKDYHDQ\FRQFUHWHOHDYLQJDVLGH             NQRZWKHSHUFHQWDJHWKDWZKDWZHNQRZLVWKH
      ZKHWKHU\RXUHPHPEHUDSUHFLVHQDPHGR\RXKDYHDQ\            SHUFHQWDJHRIWUDQVJHQGHUSHRSOHDQGWKHQZHNQRZWKH
      IDFWXDOEDVLVWRNQRZWKDW'RFWRU%URZQKDVRPLWWHGDQ\         SHUFHQWDJHRILGHQWLILHGDWKOHWHVZLQQLQJFRPSHWLWLRQV
      FDVHRIDQDWDOPDOHZKRKDVFRPSHWHGLQWKHIHPDOH             $QGHYHQWKHQZHGRQ WNQRZWKDWDEVROXWHO\:HRQO\
      GLYLVLRQRI1&$$DWKOHWLFV"                                     NQRZWKHRQHVWKDWDUHSXEOLFL]HG%XWULJKWLQWKH
      $77251(<%/2&.2EMHFWLRQWRIRUP              LQEHWZHHQZHGRQ WKDYHVWDWLVWLFV7KDW VULJKW
     7+(:,71(666R,JXHVVLIWKHTXHVWLRQ        $77251(<%522.6&RXQVHO, PJRLQJWR
     LVZKDWFDQ,GRRIIWKHWRSRIP\KHDGWKHQ,FDQQRW        VXJJHVWLQP\H[SHULHQFHLIZHEUHDNIRUOXQFKDW
     %<$77251(<%522.6                                            QRRQLWPDNHVLWDOLWWOHORQJDIWHUQRRQ6R,ZRXOG
     42IIWKHWRSRI\RXUKHDG\RXUHFDOOWKHFDVHRI      VXJJHVWWKDWZHWDNHDVKRUWEUHDNQRZDQGWKHQNHHS
     -XQH(DVWZRRGGR\RXQRW"                                     JRLQJXQWLOOLNHRUVRPHWKLQJ,W VVHYHQKRXUV
     $<RXKDYHWRUHPLQGPHZKDWWKDWLV                   RQWKHFORFNDQG, PKHUHMXVWWRWHOO\RXWKDWWKH
     4$UXQQHULQ0RQWDQD"                                  DIWHUQRRQJHWVORQJ6RXQOHVV\RXDUHVWDUYLQJ, G
     $,DFWXDOO\ZRXOGQHHGWREHUHPLQGHGRIWKRVH         UHFRPPHQG"
     GHWDLOV                                                       7+(:,71(661R,WKLQNWKDW VDJUHDW
     4$OOULJKW&HUWDLQO\\RXUHFDOO/LD7KRPDV           LGHD
     EHFDXVHQRQHRIXVFDQPLV/LD7KRPDVWKHVHGD\V"              $77251(<%522.67DNHDVKRUWEUHDNQRZ
     $/LD7KRPDVLVVWLOOLQWKHQHZV                      7+(:,71(666R\RXGRQ WNQRZZKRLVRQ
     4'R\RXUHFDOOWKHFDVHRI&H&H7HOIHU"                WKHSKRQHVRJLYHWKHPDEUHDN
     $1DPHVDUHQRWP\VWUHQJWK                            $77251(<%522.6/HW VJRRIIWKH
     4$OOULJKW1RPRUHRQWKDW                          UHFRUG


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      <RXVD\DWWKHHQGRIWKLVSDUDJUDSKTXRWH           9,'(2*5$3+(5*RLQJRIIWKHUHFRUG7KH
      WKHRFFDVLRQDOFKDPSLRQVKLSWKDWKDVEHHQZLGHO\                FXUUHQWWLPHUHDGVSP(DVWHUQ6WDQGDUG7LPH
      SXEOLFL]HGGRQRWFRPHFORVHWRFRQVWLWXWLQJWKHUDWHV          2))9,'(27$3(
      RQHZRXOGH[SHFWLIWKH\WKDWLVWUDQVJHQGHUDWKOHWHV         
      ZDQWHGUDWHVWKDWDUHSURSRUWLRQDOWRWKHLURYHUDOO              :+(5(8321$6+257%5($.:$67$.(1
      SHUFHQWDJHRIWKHSRSXODWLRQZKLFKLVDSSUR[LPDWHO\RQH        
      SHUFHQW'R\RXVHHWKDWODQJXDJH"                             219,'(27$3(
      $,GR                                                  9,'(2*5$3+(5%DFNRQWKHUHFRUG
      4'R\RXKDYHDQ\NQRZOHGJHDVWRZKDWILUVW         &XUUHQWWLPHUHDGVSP(DVWHUQ6WDQGDUG7LPH
     RIDOOOHWPHDVNZKDWLV\RXUEDVLVIRUEHOLHYLQJ           $77251(<%522.6/HWPHPDUNDV6DIHU
     WKDWWKHFXUUHQWVWXGHQWSRSXODWLRQLQFROOHJHDQGKLJK        ([KLELWWKH(QGRFULQH7UHDWPHQWRI*HQGHU
     VFKRROOHYHOLVDSSUR[LPDWHO\RQHSHUFHQWWUDQVJHQGHU"         '\VSKRULF*HQGHU,QFRQJUXHQW3HUVRQVDQ(QGRFULQH
     $7KHVWDWLVWLFIRUWKHSHUFHQWDJHRIWKH               6RFLHW\&OLQLFDO3UDFWLFH*XLGHOLQHVIURP
     SRSXODWLRQZKRDUHWUDQVJHQGHUFRPHVIURPVXUYH\V             SUHYLRXVO\PDUNHGDV$GNLQV([KLELW
     4$QGGR\RXKDYHDQ\NQRZOHGJHDWDOODVWRZKDW       $77251(<:,/.,16217DE
     SHUFHQWDJHRIYDUVLW\DWKOHWHVLQ$PHULFDWRGD\DWWKH         
     1&$$DPRQJ1&$$PHPEHUVFKRROVLQWKHZRPHQ V               :KHUHXSRQ([KLELW(QGRFULQH6RFLHW\
     GLYLVLRQDUHWUDQVJHQGHU"                                      *XLGHOLQHVZDVPDUNHGIRULGHQWLILFDWLRQ
     $,IWKHTXHVWLRQLVWKDWDVXUYH\LQWKDW              
     SRSXODWLRQ, PQRWDZDUHRIDVXUYH\WKDW VEHHQGRQH        %<$77251(<%522.6
     46R\RXGRQ WNQRZZKHWKHUWKHQXPEHURI               4$QG'RFWRU6DIHUDP,FRUUHFW\RXVHUYHGWKH
     YLFWRULHVRIFKDPSLRQVKLSVWKDWKDYHEHHQWDNHQLQWKH         FRPPLWWHHWKDWFUHDWHGWKLVUHYLVHGYHUVLRQRIWKH
     ZRPHQ VGLYLVLRQE\WUDQVJHQGHUFRPSHWLWRUVLVKLJKHURU       (QGRFULQH6RFLHW\ V*XLGHOLQHV"
     ORZHUWKDQWKHSHUFHQWDJHRIDWKOHWHVLQWKRVHGLYLVLRQV       $<HV


                                                                                        3DJHVWR
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                                                   3DJH                                                         3DJH
      4$QGLVLWUHDVRQDEOHIRUPHWRDVVXPHWKHUHIRUH        WUDQVJHQGHUNLGVZLWKWKHVHVRUWVRIODEHOV
      WKDW\RXDUHIDPLOLDUZLWKLWLQVRPHGHWDLO"                   %<$77251(<%522.6
      $,DPIDPLOLDUZLWKLWLQVRPHGHWDLO                  4:HOOUHFRPPHQGDWLRQVD\VZHUHFRPPHQG
      47KH\DOVRSHUWDLQWR\RXUSUDFWLFH"                    DJDLQVWSXEHUW\EORFNLQJDQGDJHQGHUKRUPRQHWUHDWPHQW
      $P,FRUUHFW                                          LQSUHSXEHUWDOFKLOGUHQZLWKJHQGHUG\VSKRULDRUJHQGHU
      $$QGWKH\GRSHUWDLQWRP\SUDFWLFH\HV               LQFRQJUXHQFH'R\RXKDYHDQXQGHUVWDQGLQJRIZK\WKHVH
      4/HWPHDVN\RXWRWXUQLQ([KLELWWR3DJH       (QGRFULQH6RFLHW\JXLGHOLQHVRIZKLFK\RX UHDFRDXWKRU
      ([KLELW$QGWKHUH,ZLOOFDOO\RXU                UHFRPPHQGHGDJDLQVWSXEHUW\EORFNLQJLQSUHSXEHUWDO
      DWWHQWLRQWRWKHVSHFLILFUHFRPPHQGDWLRQWKDW VQXPEHUHG        FKLOGUHQ"
     $QGLWVD\VWKHUHZHUHFRPPHQGDJDLQVWSXEHUW\           $<HV
     EORFNLQJDQGJHQGHUDIILUPLQJKRUPRQHWUHDWPHQWLQ             4:K\"
     SUHSXEHUWDOFKLOGUHQZLWK*'JHQGHULQFRQJUXHQFH              $7KH\KDYHQRLPSDFW
     'R\RXVHHWKDW"                                      4&DQ\RXSRLQWPHWRDQ\ZKHUHLQWKHHYLGHQFH
     $,GR                                                 GLVFXVVLRQWKDWVXJJHVWVWKDWLVWKHUHDVRQIRUWKLV
     4$QGWKHQWKHUHLVDVHFWLRQKHDGHGHYLGHQFH          UHFRPPHQGDWLRQ"
     ULJKW"                                                         $,GRQ WNQRZ/HWPHORRN
     $<HV                                                  47KHHYLGHQFHGLVFXVVLRQLVMXVWWZRSDUDJUDSKV
     4$QGWKHILUVWVWDWHPHQWLQWKHVHQWHQFHWKDWLV       $77251(<%/2&.,MXVWZDQWWRREMHFWWR
     LQWKHVHFWLRQKHDGHGHYLGHQFHLVTXRWHLQPRVW          WKHH[WHQW\RX UHOLPLWLQJKLVUHYLHZWRWKHHYLGHQFH
     FKLOGUHQGLDJQRVHGZLWK*'JHQGHULQFRQJUXHQFHLWGLG          VHFWLRQ
     QRWSHUVLVWLQWRDGROHVFHQFHFORVHGTXRWH                    %<$77251(<%522.6
     'R\RXVHHWKDW"                                      40\TXHVWLRQSHUWDLQVWRWKHHYLGHQFHVHFWLRQ
     $,GR                                                 $6RWKRVHWZRSDUDJUDSKVDUHERWKSULPDULO\
     4'R\RXEHOLHYHWKDWWREHDIDOVHVWDWHPHQW"          UHIHUHQFLQJDQGQRW


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      KHUHWRR6RDVRIZKHQWKLVZDVZULWWHQWKH                  DWWKHWRSRIWKDWILUVWFROXPQRQLWUHDGVZH
      OLWHUDWXUHEHLQJUHIHUHQFHGKDGDEURDGHUGLDJQRVLVIRU         WKHUHIRUHDGYLVHVWDUWLQJVXSSUHVVLRQLQHDUO\SXEHUW\
      JHQGHUG\VSKRULDDQGJHQGHULQFRQJUXHQFHRUUHDOO\              WRSUHYHQWLUUHYHUVLEOHGHYHORSPHQWRIXQGHVLUDEOH
      JHQGHUG\VSKRULDLVWKHODEHOWKDWZDVEHLQJXVHGDQG           VHFRQGDU\VH[FKDUDFWHULVWLFV+RZHYHUFRPPD
      VWLOOLV*HQGHULQFRQJUXHQFHLVZKHUHZHDUHKHDGHG          DGROHVFHQWVZLWKJHQGHUG\VSKRULDVODVKJHQGHU
      $QGVRZLWKWKDWEURDGHUGHILQLWLRQWKDWLQFOXGHG              LQFRQJUXHQFHVKRXOGH[SHULHQFHWKHILUVWFKDQJHVRI
      JHQGHUH[SDQVLYHFKLOGUHQZKRZHUHQRWQHFHVVDULO\              WKHLUHQGRJHQRXVSXEHUW\EHFDXVHWKHLUHPRWLRQDO
      WUDQVJHQGHU                                                    UHDFWLRQWRWKHVHILUVWSK\VLFDOFKDQJHVKDVGLDJQRVWLF
     47KHVWDWHPHQWLV,WKLQNIDLUO\VSHFLILF$QG        YDOXHLQHVWDEOLVKLQJWKHSHUVLVWHQFHRIJHQGHU
     DV\RXDUHDZDUHWKHGLVFXVVLRQFLWHVYDULRXV                 G\VSKRULDJHQGHULQFRQJUXHQFH
     UHIHUHQFHVEXWWKHLQWURGXFWRU\VHQWHQFHVWDWHVLQPRVW       'R\RXVHHWKDWODQJXDJH"
     FKLOGUHQGLDJQRVHGZLWK*'DJHQGHUG\VSKRULDRUJHQGHU        $,GR
     LQFRQJUXHQFHGLGQRWSHUVLVWLQWRDGROHVFHQFH'R\RX         4$QGDVDVFLHQWLVWDQGSUDFWLWLRQHUGR\RXDJUHH
     EHOLHYHWREHDWUXHVWDWHPHQWRUIDOVHVWDWHPHQW"             ZLWKWKDWVWDWHPHQW"
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     7+(:,71(667KHSUREOHPLV,FDQ W            LVLQHYROXWLRQ
     DQVZHUWKDWTXLWHWKDWFOHDQO\7KHVWDWHPHQW                 4,Q\RXUSUDFWLFHRYHUWLPHZHOOOHWPHDVN
     UHIHUHQFHVDFLUFXPVWDQFHWKDW,MXVWUHIHUHQFHGZKHUH         \RXWKLV:KHQWKLVZDVGUDIWHGGLG\RXUDLVHDQ
     FKLOGUHQUHFHLYLQJWKDWODEHOKDYHWRIRUWKHPRVW         REMHFWLRQWRWKHSURSRVLWLRQWKDWWKHFKLOG VHPRWLRQDO
     SDUWZHUHQRWWUDQVJHQGHU7KHRQO\FDXWLRQ,ZDQWWR         UHDFWLRQWRWKHILUVWSK\VLFDOFKDQJHVRISXEHUW\KDG
     PDNHLVWKDWDVZHJURZPRUHUHILQHGLQRXU                    LPSRUWDQWGLDJQRVWLFYDOXH"
     XQGHUVWDQGLQJRIJHQGHULGHQWLW\DQGDOVRLQRXU               $,FDQQRWUHFDOORXUVSHFLILFFRQYHUVDWLRQVEXW
     ODEHOLQJWKDWZHDUHPRUHVSHFLILFLQLGHQWLI\LQJ             LI\RX UHDVNLQJLIP\YLHZKDVVKLIWHGVLQFHOHW VVD\


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                                                   3DJH                                                         3DJH
      QRWKHUHFRJQLWLRQWKDWWKHUHLVDQ          FKDQJHVRISXEHUW\DVSDUWRIWKHLUSURFHVVRI
      HYROXWLRQZDVDOUHDG\SDUWRIP\RSLQLRQ                       GHWHUPLQLQJZKHWKHUWUDQVJHQGHUKRUPRQDOWKHUDSLHVRI
      4:KDWGR\RXPHDQWKHUHFRJQLWLRQWKDWWKHUHLV         DQ\VRUWDUHDSSURSULDWHIRUWKDWFKLOG"
      DQHYROXWLRQDERXW"                                             $<HDK,FDQ WJLYH\RXJLYH\RXDQDQVZHU,
      $6RWKHHYROXWLRQLVWKDWZKHWKHUWKHUHLVDQHHG       ZRXOGDFWXDOO\KDYHWRJRVXUYH\P\SV\FKRORJLVWV
      WRVWDUWSXEHUW\DVDGLDJQRVWLFDVDQHFHVVDU\             4/HWPHGLUHFW\RXWRSDUDJUDSKRI\RXU
      GLDJQRVWLFFLUFXPVWDQFH                                        UHEXWWDOUHSRUW$QGWKHUH\RXVD\LQWKHVHFRQG
      4,Q\RXUSUDFWLFHWRGD\GR\RXSUHVFULEHSXEHUW\        VHQWHQFHXQGHUFXUUHQWVWDQGDUGVRIFDUHWUDQVJHQGHU
      EORFNHUVSULRUWR7DQQHU6WDJH"                               DGROHVFHQWVDUHHOLJLEOHWRUHFHLYHSXEHUW\EORFNHUV
     $,VRWZRWKLQJV0\SUDFWLFHLVZLWK             ZKHQWKH\UHDFK7DQQHUQRW7DQQHUZKLFKLVHDUO\
     DGXOWV$QGDOWKRXJK,ZLOOVHHROGHUNLGVEHFDXVH,          HQRXJKWRSUHYHQWHQGRJHQRXVSXEHUW\IURPWDNLQJSODFH
     GRQ WKDYHDKDUGWKUHVKROGRIDJHEXW,GRQ W             FORVHGTXRWH
     SUHVFULEHSXEHUW\EORFNHUVEHFDXVH,GRQ WP\              'R\RXVHHWKDW"
     SUDFWLFHGRHVQRWLQFOXGHWKRVHDJHFKLOGUHQ%XWWZR        $,GR
     LWLVVWLOOWKHJXLGDQFHDQGVRWKHSHGLDWULFLDQVZKR          41RZMXVWIRUFRQWH[W\RXWHVWLILHGSUHYLRXVO\
     DUHSDUWRIP\SURJUDPGRQRWSUHVFULEHSXEHUW\EORFNHUV       WKDWWKHODUJHPDMRULW\RIPLQRUV, OOVD\ZKRSUHVHQW
     SULRUWR7DQQHUIRUWKHUHDVRQ,VWDWHGLQLWLDOO\           ZLWKJHQGHULQFRQJUXHQFHRUJHQGHUG\VSKRULDDUHLQ
     4$QGDFFRUGLQJWRWKHVHJXLGHOLQHVE\WKHWLPH        IDFWFRQVLGHUDEO\ROGHUDQGKDYHJRQHWKURXJKDWOHDVW
     \RXUHDFK7DQQHU6WDJHWKHUHKDYHEHHQVXIILFLHQW            PRVWRIWKH7DQQHUVWDJHV
     ILUVWSXEHUWDOVWDJHVRISXEHUWDOGHYHORSPHQWWR           &RUUHFW"
     JLYHDFKDQFHWRREVHUYHWKHFKLOG VUHDFWLRQWR               $77251(<%/2&.2EMHFWLRQWR
     SXEHUWDOFKDQJHVIRUGLDJQRVWLFSXUSRVHV                      FKDUDFWHUL]DWLRQ
     &RUUHFW"                                              7+(:,71(660RVWRIWKHSHRSOHZHDUH
     $77251(<%/2&.2EMHFWLRQWRIRUP             VHHLQJLQFOLQLFDOSUDFWLFHDUHFRPLQJWRXVDWODWHU


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      7+(:,71(666RWKHVR,JXHVVWKHUH        VWDJHVRIGHYHORSPHQW\HV
      DUHNLQGRIWZRSLHFHV7KHVHQWHQFHLVWKDW               %<$77251(<%522.6
      VHQWHQFHLVZULWWHQEXWWKDWLVWKHVHQWHQFHWKDW, P          4$QGVRZKHQZHWDONDERXWSUHSXEHUWDOFKLOGUHQ
      VXJJHVWLQJLVDQRSLQLRQWKDWLVLQHYROXWLRQOLNH, P         ZH UHWDONLQJDERXWDVPDOOPLQRULW\RIWKHSDWLHQWV
      VD\LQJWRZKHWKHUWKDWQHHGUHDOO\H[LVWVRUQRW7KH         FRPLQJLQWR"
      UHDVRQZK\ZHVWLOOGRQ WSUHVFULEHSXEHUW\EORFNHUV            $,FDQ WGHILQHVPDOOEXWLWLVWKHPLQRULW\
      EHIRUH7DQQHULVWKDWWKHUHLVQRSRLQWWKHUHLVQR          WKDW VFRUUHFW
      SUHYHQWLYHHOHPHQWWRSXEHUW\EORFNHUVDQGVRWKHUHLV          4$QGGR\RXEHOLHYHWKDWZKDW\RXUFOLQLFLV
      QRSRLQWWRJLYHWKHPEHIRUHSXEHUW\EHJLQVDQGWKHUHLV        VHHLQJLQWKDWUHJDUGLVW\SLFDORIZKDW VEHLQJVHHQ
     QRZD\WRNQRZWKDWXQWLOWKHUHLVDQREVHUYDEOH               DFURVVWKHFRXQWU\WKHVHGD\V"
     REMHFWLYHILQGLQJ                                             $6RLI, PVLWWLQJKHUHDVDQH[SHUW,GRQ W
     4+DV\RXURZQSUDFWLFHHYHULQYROYHGWRD              KDYHDQH[SHUWVXUYH\WRSRLQWWRWRJLYH\RXDQDQVZHU
     VLJQLILFDQWH[WHQWWUHDWLQJSUHSXEHUWDORUHDUO\               WKHUH
     SXEHUWDOVWDJHFKLOGUHQIRUJHQGHUG\VSKRULDRUJHQGHU         4%XW\RXUHDGWKHOLWHUDWXUHDQG\RXWDONWR
     LQFRQJUXHQFHLQFRQJUXHQFH"                                     FROOHDJXHVDWRWKHULQVWLWXWLRQV
     $+DYH,SHUVRQDOO\FDUHGIRUSUHSXEHUWDOFKLOGUHQ      $P,FRUUHFW"
     ZKRDUHWUDQVJHQGHURURWKHUZLVH"$FWXDOO\LQWKH            $,FHUWDLQO\ERWKUHDGWKHOLWHUDWXUHDQGWDONWR
     VXEMHFWVQR                                                  FROOHDJXHV
     4$QGGRSK\VLFLDQVZKRGRWUHDWSUHSXEHUWDO            4$QGLVLW\RXUFXUUHQWEHOLHIWKDWZKDW\RXDUH
     FKLOGUHQUHSRUWWR\RXLQFRQQHFWLRQZLWK\RXUSRVLWLRQ        VHHLQJLQWHUPVRIWKHEUHDNGRZQRISDWLHQWSRSXODWLRQ
     DWWKHFOLQLFRUWKH0RXQW6LQDL0HGLFDO+RVSLWDO"             LVVLPLODUWRRUTXLWHGLIIHUHQWIURPZKDWRWKHUPDMRU
     $<HV                                                  JHQGHUFOLQLFVDUHH[SHULHQFLQJ"
     4$QGGR\RXNQRZZKHWKHU\RXUFOLQLFPDNHVXVHRI      $6RNLQGRIVHSDUDWLQJ, POLYLQJLQP\H[SHUW
     FKLOGUHQ VHPRWLRQDOUHDFWLRQVWRWKHILUVWSK\VLFDO           UROH,UHDOO\ZDQWWRSRLQWWRGDWDZKHUH,KDYHDQ\


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                                                   3DJH                                                         3DJH
      FRQILGHQFHDWDOODQG,KDYHQRQH,I\RXDUHDVNLQJ          6WDJHGRHVQRWFDWHJRULFDOO\SUHYHQWHQGRJHQRXV
      PHLQDPRUHLQIRUPDOZD\DPRQJRXUFRQYHUVDWLRQVWKHQ         SXEHUW\IURPWDNLQJSODFHEXWLQVWHDGSUHYHQWVD
      ,FDQDQVZHUWKDWRXUH[SHULHQFHVHHPVVLPLODUWR               VXEVWDQWLDOSRUWLRQRIHQGRJHQRXVSXEHUW\IURPWDNLQJ
      RWKHUV H[SHULHQFH                                             SODFH
      4$OOULJKW                                             &RUUHFW"
      6RLQWDONLQJDERXWSUHSXEHUWDOFKLOGUHQ           $77251(<%/2&.2EMHFWLRQWRIRUP
      ZHOOVWULNHWKDW:H YHEHHQWKURXJKWKDW                    7+(:,71(666ROHWPH
      ,Q\RXUUHEXWWDOUHSRUWZKHQ\RXVDLGEHJLQQLQJ          %<$77251(<%522.6
      SXEHUW\EORFNHUVDW7DQQHUVWDJHLVHDUO\HQRXJKWR           4,WLVLQSDUDJUDSK
     SUHYHQWHQGRJHQRXVSXEHUW\IURPWDNLQJSODFHOHWPHDVN       $6RWKH,JXHVVWKHZD\WKLVLVXQGHUVWRRGLV
     \RXLQFRQVLGHUDWLRQGR\RXEHOLHYHLWLVDFFXUDWHDV        ,JXHVVLWGHSHQGVRQKRZH[WUHPH\RXZDQWWRWDNH
     VWDWHG"                                                        WKLQJV,WLVEDFNWRRXURULJLQDOFRQYHUVDWLRQRIWKDW
     $6R7DQQHUHDUO\HQRXJKWRSUHYHQWHQGRJHQRXV        FDXVHKDVWRWDNHSODFHEHIRUHHIIHFW6RLW VSDUVLQJ
     SXEHUW\IURPWDNLQJSODFH\HVWKDWLVDFFXUDWH              LWWRWKDWGHJUHH
     4<RXZRXOGDJUHHZLWKPHZRXOG\RXQRWWKDWWKH      ,QDELRORJLFDOFRQWH[WLWUHDOO\LVWKHFDVH
     HQGRFULQHJXLGHOLQHVRIZKLFK\RXDUHDFRDXWKRU              WKDWZHQHHGVRPHREMHFWLYHHYLGHQFHEHIRUHZHEHJLQ
     UHFRPPHQGWRWUHDWEHJLQQLQJSXEHUW\EORFNHUVDW7DQQHU        WKLQJVVRWKDWZHGRQ WPDNHWKHPLVWDNHRIXVLQJD
     6WDJH"                                                       PHGLFDWLRQSULRUWRLWVKDYLQJDQ\LPSDFW$QGWKHQ
     $6RWRFODULI\XQGHUWKHFLWHGJXLGHOLQHVZKDW        LW VDOVRWUXHWKDWVRPHRIWKHKRUPRQHPHGLDWHGFKDQJHV
     WKH\VD\WKHUHFRPPHQGDWLRQLVGRQRWXVHSXEHUW\              WKDWZHVHHGRDFWXDOO\UHJUHVVWRWKDWSUHSXEHUWDO
     EORFNHUVSULRUWRSXEHUW\EHJLQQLQJSULRUWR7DQQHU        VWDWHZKHQZHZKHQ\RXXVHSXEHUW\EORFNHUVDW
     4/HWPHGLUHFW\RXWRUHFRPPHQGDWLRQRQ            7DQQHU6RWKHVWDWHPHQWDVZULWWHQDV,ZURWHLW
     SDJH5HFRPPHQGDWLRQUHDGVZHVXJJHVWWKH            LVDFFXUDWHLQWKHZD\ZHWKLQNRIWKHVHWKLQJVLQ
     FOLQLFLDQVEHJLQSXEHUWDOKRUPRQHVXSSUHVVLRQDIWHU            ELRORJ\


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      JLUOVDQGER\VILUVWH[KLELWSK\VLFDOFKDQJHVRI                4$OWKRXJKWKHJXLGHOLQHVVSHFLILFDOO\VWDWHWKDW
      SXEHUW\                                                        DGROHVFHQWVVKRXOGEHIRUHSXEHUW\EORFNHUVTXRWH
      'R\RXVHHWKDW"                                       VKRXOGH[SHULHQFHWKHILUVWFKDQJHVRIWKHLUHQGRJHQRXV
      $,GR                                                  VSRQWDQHRXVSXEHUW\$QGWKHUHFRPPHQGDWLRQFDOOVIRU
      4$QGWKHQLWVD\VSDUHQ7DQQHUVWDJHV*%           EHJLQQLQJSXEHUW\EORFNHUVTXRWHDIWHUJLUOVDQGER\V
      ZKLFKLVWRVD\WKHJLUOV7DQQHURUER\V7DQQHU            ILUVWH[KLELWSK\VLFDOFKDQJHVDWSXEHUW\SDUHQ7DQQHU
      FRUUHFW"                                                        VWDJHVFORVHGSDUHQ, PQRWPLVUHDGLQJDQ\WKLQJDP
      $7KDWLVZKDWWKDWPHDQV\HV                          ,"
      46RWKHRIILFLDOUHFRPPHQGDWLRQIURPWKH                $77251(<%/2&.2EMHFWLRQWRMXVW
     (QGRFULQH6RFLHW\LVEHJLQDWRUDIWHU7DQQHU6WDJH         UHDGLQJDQH[FHUSW
     ULJKW"                                                         7+(:,71(665LJKW,GRQ WNQRZ,
     $77251(<%/2&.2EMHFWLRQWRIRUP             GRQ WNQRZLIWKRVHZHUHDUHDOOGLUHFWTXRWHVRUQRWVR
     7+(:,71(667KDWLVDFRUUHFW                ,ZRQ WFRPPHQWRQZKHWKHU\RX UHPLVUHDGLQJRUQRWEXW
     %<$77251(<%522.6                                            WKHILUVWVWDWHPHQWWKDW\RXUHIHUHQFHDV, YHVDLGLV
     4$QGLWVD\VWKDW7DQQHU6WDJHLVGHILQHGDV         RQHZKHUHWKHUHLVDQHYROYLQJXQGHUVWDQGLQJRILWV
     JLUOVDQGER\VILUVWH[KLELWLQJSK\VLFDOFKDQJHVRI            YHUDFLW\RULWVDSSOLFDELOLW\
     SXEHUW\                                                       7KHVWDWHPHQWLVVLPSO\XVLQJ
     &RUUHFW"                                                DOWHUQDWHSKUDVLQJIRUVD\LQJ7DQQHUWKDWLVZHQHHG
     $77251(<%/2&.2EMHFWLRQWRIRUP             WRKDYHREMHFWLYHHYLGHQFHWKDWSXEHUW\LVJHQXLQHO\
     7+(:,71(667KHGHILQLWLRQRI7DQQHU       EHJLQQLQJ7KHIRFXVDQGWKHSXUSRVHRIWKHVH
     LVZKHUHWKHUHLVDQ\REMHFWLYHHYLGHQFHZKHQSXEHUW\          VWDWHPHQWVLVWRDYRLGSHRSOHXVLQJSXEHUW\EORFNHUVRQ
     KDVEHJXQ                                                     QRQSXEHUWDONLGV
     %<$77251(<%522.6                                            %<$77251(<%522.6
     46RLQIDFWEHJLQQLQJSXEHUW\EORFNHUVDW7DQQHU      4:HOO\RXZRXOGDJUHHZLWKPHZRXOG\RXQRW


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      WKDWLIRQHDGPLQLVWHUSXEHUW\EORFNHUVLQDFFRUGDQFH           7UDQVJHQGHU3DWLHQW$UWLFOHZDVPDUNHG
      ZLWK(QGRFULQH6RFLHW\JXLGHOLQHVWKHQVRPHVWDJHVRI          IRULGHQWLILFDWLRQ
      HQGRJHQRXVPDOHSXEHUW\ZLOOKDYHRFFXUUHGLQQDWDOPDOH        
      SDWLHQWV"                                                       %<$77251(<%522.6
      $77251(<%/2&.2EMHFWLRQWKHIRUP             4$P,FRUUHFWWKDWWKLVLVZHOO\RXWHOOPH
      7+(:,71(666RZKHQZHDUH                 LVWKLVDQDUWLFOHRUERRNFKDSWHU"+RZZRXOG\RX
      VSHFLILFDOO\ZH UHUHIHUHQFLQJWUDQVJHQGHUJLUOVKHUH          GHVFULEHWKLVGRFXPHQW"
      $QGDOWKRXJKSUHSXEHUWLVJHQGHUER\VZKHQZHVHH              $7KLVLVDUHYLHZDUWLFOHIURPWKH$QQDOVRI
      7DQQHUWKHQVRPHVRPHGHJUHHRIGHYHORSPHQWKDV          ,QWHUQDO0HGLFLQH
     WDNHQSODFH7KDWSDUWLVWUXH6RLQWKHDEVROXWH           4$QGE\UHYLHZ\RXPHDQLW VQRWUHSRUWLQJRQ
     VHQVHWKHQ\HV%XWLQDELRORJLFDOVHQVHOLNH,VDLG       RULJLQDOUHVHDUFKEXWUDWKHUVXPPDUL]LQJWKHVWDWHRI
     DOUHDG\WKHVRPHLQWHUHVWLQJUHDOLW\LVWKDWVRPH         NQRZOHGJHLQDSDUWLFXODUDUHD"
     RIWKDWGRHVUHJUHVV                                          $7KDWLVFRUUHFW
     %<$77251(<%522.6                                            42ND\
     4%\WKHZD\\RX\RXUVHOIGRQRWKDYHDQ\            $QGWKHSDJHVPD\KDYH,7&DQGDQXPEHUEXW
     NQRZOHGJHDVWRZKDWGHYHORSPHQWVRIHQGRJHQRXVPDOH           , OOMXVWUHIHUWRWKHQXPEHULI,PD\2QSDJHWKUHH
     SXEHUW\%3-XQGHUZHQWSULRUWRLQLWLDWLQJSXEHUW\              FROXPQWZRLVDVWDWHPHQWWKDW,WKLQNLVMXVW
     EORFNHUVGR\RX"                                              UHSHDWLQJZKDW\RXWROGPHWKDWLVPRVWTXRWHPRVW
     $,KDYHKDGQRSK\VLFDOFRQWDFWZLWK%3-              WUDQVJHQGHUSHUVRQVSUHVHQWWRFOLQLFLDQVLQODWH
     41RUKDYH\RXVWXGLHG%3- VFKDUWVXIILFLHQWO\WR      DGROHVFHQFHRUDGXOWKRRGFORVHGTXRWH7KDWLV
     EHIHHOWKDW\RXNQRZWKHDQVZHUWRWKDWTXHVWLRQ"             FRQVLVWHQWZLWKZKDW\RXWHVWLILHGHDUOLHU
     $5LJKW, PQRWH[SUHVVLQJDQ\RSLQLRQWRWKH          &RUUHFW"
     VSHFLILFPHGLFDOWHUPVWKDW VULJKW                          $7KDWLV\HV
     4+DYH\RX\RXUVHOIHYHUVXSHUYLVHGDQ\               4$QGLI\RXWXUQWKHQWRSDJHILYHFROXPQWZR


                                                   3DJH                                                         3DJH
      UHVHDUFKFOLQLFDOUHVHDUFKFRQFHUQLQJWUHDWPHQWRI            \RXZULWHLQWKHILUVWIXOOVHQWHQFHLQFROXPQWZR
      SUHSXEHUWDOFKLOGUHQIRUJHQGHUG\VSKRULDRUJHQGHU             SULRUHIIHFWVRIDQGURJHQVRQWKHVNHOHWRQKHLJKWDQG
      LQFRQJUXHQFH"                                                   VL]HDQGVKDSHRIWKHKDQGVIHHWMDZDQGSHOYLVDQG
      $+DYH,VXSHUYLVHGUHVHDUFKRQWUHDWPHQWRI             YRLFHLQFOXGLQJYLVLEO\YLVLEOHODU\QJHDO
      SUHSXEHUWDOWUDQVJHQGHUJLUOV"/HWPHWKLQNDERXWWKDW        SURPLQHQFHZLOOQRWEHDOWHUHGLIWUHDWPHQWLV
      1RWKLQJLVFRPLQJWRPLQGEXWRXUSURJUDPGRHVGR              LQLWLDWHGDIWHUSXEHUW\
      UHVHDUFKDFURVVDQDJHVSDQ                                    'R\RXVHHWKDWODQJXDJH"
      4:HOOVRPHRI\RXUFROOHDJXHVPLJKWKDYHGRQH          $,GR
      VXFKUHVHDUFKEXWP\TXHVWLRQLVZKHWKHU\RXKDYHEHHQ         4$QGLVLWFRQVLVWHQWZLWK\RXUXQGHUVWDQGLQJ
     SHUVRQDOO\VXSHUYLVHGRULQYROYHGLQVXFKUHVHDUFK"            WKDWDWWKLVVWDJHDOVRFKDQJHVWRWKHVL]HRIWKHKHDUW
     $, PSUHWW\LQYROYHGDFWXDOO\HVSHFLDOO\LQRXU       DQGWKHOXQJVZLOOQRWEHDOWHUHGLIWHVWRVWHURQHLV
     UHVHDUFKSURJUDPEXW, PKDYLQJDGLIILFXOWWLPHFRPLQJ       FRPPHQFHGDIWHUWKHLQLWLDWLRQRISXEHUW\"
     XSZLWKDQH[DPSOH                                            $1RWTXLWH
     4$OOULJKW                                            4([SODLQWKDWWRPHSOHDVH
     ,MXVWZDQWWRPDNHVXUH,NQRZDERXWLWLILW        $6RWUDQVJHQGHUZRPHQLIWKH\KDYHJRQHWKURXJK
     H[LVWV                                                        DW\SLFDOPDOHSXEHUW\DUHJRLQJWRUHPDLQODUJHUEXW
     $<HV                                                  WKHWHVWRVWHURQHKDVDFWLRQRQFHUWDLQWLVVXHVVR
     $77251(<%522.6/HWPHPDUNDV6DIHU          VSHFLILFDOO\PXVFOHDQGWKDWZKHQWKRVH
     ([KLELWDQDUWLFOHHQWLWOHGDQDUWLFOHRUD              WHVWRVWHURQHOHYHOVVKULQNWKHQWKDWPXVFOHVKULQNVDQG
     FKDSWHURUVRPHWKLQJHQWLWOHG&DUHRIWKH7UDQVJHQGHU          WKHKHDUWPXVFOHLVZHOOWKHKHDUWLVDPXVFOHVR
     3DWLHQWGDWHGE\'U6DIHUDQGE\'RFWRU9LQ              LWZLOOEHWKHUHZLOOEHDQLPSDFWIURPERG\VL]H
     7DQJSULFKD                                                    EXWWKHUHZLOODOVREHLPSDFWIURPWKHORZHUOHYHORI
                                      WHVWRVWHURQH6RLWZLOOEHNLQGRIDPL[RIWKRVHWZR
      :KHUHXSRQ([KLELW&DUHRIWKH                 47KHKHDUWLVDPXVFOHEXWLWKDVLQLWFDYLWLHV


                                                                                        3DJHVWR
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                                                   3DJH                                                       3DJH
      RIDFHUWDLQVL]HLQZKLFKEORRGIORZVRXWRIZKLFK           JHQGHUDIILUPLQJKRUPRQHWKHUDS\RQDWKOHWLF
      EORRGLVSXPSHGFRUUHFW"'R\RXKDYHDQ\NQRZOHGJH          SHUIRUPDQFHFORVHGTXRWH'R\RXVHHWKDW"
      DUH\RXDZDUHRUDQ\OLWHUDWXUHWKDWGRFXPHQWVWKDW            $<HV
      WHVWRVWHURQHVXSSUHVVLRQUHGXFHVWKHKHDUW VSXPSLQJ           4<RXDUHDZDUHDUH\RXQRWWKDWWKHUHDUHD
      FDSDFLW\"                                                      VXEVWDQWLDOO\ODUJHUQXPEHURIVWXGLHVWKDWH[DPLQHWKH
      $77251(<%/2&.2EMHFWLRQWRIRUP             HIIHFWRIWHVWRVWHURQHVXSSUHVVLRQRQVWUHQJWKRUPXVFOH
      7+(:,71(666RWKHVRWKHUHLVD          PDVVLQQDWDOPDOHV"
      JDSWKHUHRIWUDQVJHQGHUUHVHDUFKVRQRWKDWLV           $77251(<%/2&.2EMHFWLRQWRIRUP
      VRPHWKLQJWKDW VQRWEHHQVWXGLHG                             7+(:,71(667KHUHDUHWKHUHDUHD
     %<$77251(<%522.6                                           KDQGIXORIVWXGLHVRQWKHLPSDFWRIWHVWRVWHURQH
     4$QGWKHOXQJVDUHQRWPXVFOHWLVVXH$UH\RX        ORZHULQJWUHDWPHQWRQWUDQVJHQGHUZRPHQRQVRPHWLVVXHV
     DZDUHRIDQ\VFLHQFHWKDWLQGLFDWHVRUHYHQVXJJHVWVWR       \HV
     \RXDVDQH[SHUWWKDWDQLQGLYLGXDOZKRKDVJRQHWKURXJK      %<$77251(<%522.6
     W\SLFDOPDOHSXEHUW\WKDWLQGLYLGXDO VOXQJVUHGXFHLQ       4:HOODQGQRWWRJHWFDUULHGDZD\ZLWKWKH
     VL]HLIWHVWRVWHURQHLVVXSSUHVVHG"                           WHUPLQRORJ\WKHUHDUHDOVRVWXGLHVWKDWUHODWHWR
     $6RWKHDQVZHUZLWKUHJDUGWROXQJVLVJRLQJWR       DSSOLFDWLRQRIWHVWRVWHURQHVXSSUHVVLRQWRPDOHVZKR
     KDYHVRPHRIWKRVHVDPHLQSXWVDVKHDUWRURWKHUWLVVXHV      GRQ WLGHQWLI\DVWUDQVJHQGHUDUHWKHUHQRW"
     DFWXDOO\ZKHUHRYHUDOOVL]HRIWKHLQGLYLGXDOLVQRW      $7RFLVJHQGHUPHQLQDGGLWLRQWRWUDQVJHQGHU
     ZHOOFHUWDLQO\KHLJKWDWOHDVWLVQRWGHFUHDVLQJDQG        ZRPHQWKHUHDUHVRPHVWXGLHV\HVWKHUHDUHDFWXDOO\
     VRWKLVSHUVRQLVODUJHU$QGVROXQJVL]HPDWFKHVWKDW      VRPHPRGHVWVWXGLHV\HVRQFLVJHQGHUPHQ
     WRVRPHGHJUHH$QGWHVWRVWHURQHKDVVRPHLPSDFWRQ          4$QGKDYH\RXQRZWDNHQVRPHFDUHWRUHYLHZ
     VXUURXQGLQJPXVFOH$QGVRWRWKHGHJUHHWKDWWKDW           \RXUVHOIDOOWKHSHHUUHYLHZHGVWXGLHVRIWKDWW\SHWKDW
     VKULQNVWKHUHPLJKWEHOXQJVKULQNLQJWRR$QGVR\RX        ZHUHFLWHGLQ'RFWRU%URZQ VUHSRUW"
     KHDUWKDWWKDWLVJRLQJWREHDFRPSOH[DQVZHU$QG      $,KDYHORRNHGDWSDSHUVWKDWZHUHFLWHGE\


                                                   3DJH                                                       3DJH
      LQWHUPVRILQWHUSUHWLQJLWHYHQ\RXWKHQZRXOGDOVR          'RFWRU%URZQ7KHPRPHQWZHXVHWKHZRUGDOO,
      KDYHWRLQWHUSUHWLWLQWKHFRQWH[WRIWKHVL]HRIWKH         KHVLWDWHEXWFHUWDLQO\, YHUHDGWKURXJKWKHSDSHUV
      ERG\LI\RXZDQWWRFRQVLGHUIXQFWLRQDQGQRQHRIWKLV        WKDWZHUHFLWHG
      KDVEHHQVWXGLHG                                              $77251(<%522.6:HOOOHW VVWDUWZLWK
      4&HUWDLQO\\RXGRQ WEHOLHYHGR\RXWKDWDQ          RQH\RXUHIHUHQFHGDUWLFOHE\5REHUWVHWDOIURP
      LQGLYLGXDOZKRKDVEHHQOHWPHVWDUWWKDWDJDLQ,W       ZKLFK,ZLOOPDUNDV([KLELW6DIHU([KLELW
      LVQRW\RXURSLQLRQLVLWWKDWWHVWRVWHURQH                  &28575(3257(5
      VXSSUHVVLRQE\DQLQGLYLGXDOZKRKDVEHHQWKURXJKD            $77251(<:,/.,16217DE
      W\SLFDOPDOHSXEHUW\UHGXFHVWKDWLQGLYLGXDOV92PDVV         
     WRW\SLFDOIHPDOHOHYHOV"                                      :KHUHXSRQ([KLELW5REHUWVHWDO
     $6RWKHPRUHZHJHWLQWRVRPHRIWKHVXEWOHU          $UWLFOHVZDVPDUNHGIRU
     SK\VLRORJ\,ZLOOWDNHDVWHSEDFNDQGJLYH\RXDQ           LGHQWLILFDWLRQ
     H[SHUWRSLQLRQEXW,ZLOOLQDGGLWLRQWRWKDWSRLQW      %<$77251(<%522.6
     RXWWKDWZHGRQ WHYHQKDYHVWXGLHVRQWKLV:H UHMXVW      4$QGLQIDFWWKLVLVRQHRIRQO\YHU\IHZ
     DWDVWDJHRIEHJLQQLQJWRORRNDWWKDWVRUWIWKLQJ         DUWLFOHVWKDW\RXFLWHLQ\RXUH[SHUWUHSRUWVWDUWWR
     $77251(<%/2&.5RJHUDUH\RXDEOHWR        ILQLVK
     VSHDNXSDOLWWOH"                                            &RUUHFW"
     $77251(<%522.6,ZLOOWU\                  $77251(<%/2&.2EMHFWLRQWRIRUP
     %<$77251(<%522.6                                           7+(:,71(666RWKLVSDSHULVUHIHUHQFHG
     4<RXVWDWHWKDWLQSDUDJUDSKRI\RXUH[SHUW        WRDQH[SHUWUHSRUW
     UHSRUW([KLELW"                                            %<$77251(<%522.6
     $6RSDUDJUDSK                                     4/HWPHGLUHFW\RXWRWKHODVWSDJHRI\RXU
     4)LIW\ILYH  <RXVWDWHWKDWWKHUHDUH          H[SHUWUHSRUWZKHUHWKHUHLVDELEOLRJUDSK\$QGRWKHU
     TXRWHRQO\WZRVWXGLHVH[DPLQLQJWKHHIIHFWRI               WKDQFLWLQJWR\RXURZQZULWLQJVDVWKHHQWLUHEDVLVRI


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                                                   3DJH                                                          3DJH
      \RXURSLQLRQV\RXFLWHGRQO\VL[DUWLFOHV                      RIWHVWRVWHURQHRQDWKOHWLFSHUIRUPDQFHLVVRPHRIWKH
      &RUUHFW"                                               VWURQJHVWGDWDWKDWZHKDYHDYDLODEOH"
      $77251(<%/2&.2EMHFWLRQWR                    $77251(<%/2&.2EMHFWLRQWRIRUP
      FKDUDFWHUL]DWLRQDERXWLWVHQWLUHFDVHVIRUKLV                 7+(:,71(66,WLVP\RSLQLRQWKDWWKH
      RSLQLRQV                                                       5REHUWVDQG+DUSHUVWXGLHVDUHWKHRQO\WZRVWXGLHVWKDW
      7+(:,71(666RWKHSDSHUVSHFLILFDOO\          ZHKDYHDYDLODEOH
      UHIHUHQFHGWZRUHYLHZVDQGVL[SDSHUVEXWUHFRJQL]HG            %<$77251(<%522.6
      WKDWVRPHRIWKHVHSDSHUVVSHFLILFDOO\DUHVXPPDULHVRI         4,VLW\RXURSLQLRQDVDQH[SHUWLVLWQRWWKDW
      WKHWRSLF                                                      WKHVWUXFWXUHRIWKH5REHUWVVWXG\UHQGHUVLWDQG
     %<$77251(<%522.6                                            WKHVRXUFHRILWVGDWDUHQGHUVLWIDUPRUHUHOLDEOHWKDQ
     4<RXKDYHVWXGLHGWKH5REHUWVDUWLFOHZLWK        WKH+DUSHUVWXG\"
     VRPHFDUH                                                     $77251(<%/2&.2EMHFWLRQWRIRUP
     ,VWKDWFRUUHFW"                                      7+(:,71(66,ZRXOGQRWRYHUVWDWHWKDW
     $,KDYHLQGHHG\HV                                   VRQR,I, PEHLQJLI, PEHLQJSURIHVVRULDODQG
     4$QGVRIDUDV\RXNQRZLWLVWKHRQO\                 VD\LQJWKLVLVKRZWRRUJDQL]HVRPHWKLQJWKHQLQWKDW
     ORQJLWXGLQDOVWXG\RIWKHLPSDFWRIWHVWRVWHURQH               FRQWH[W,PLJKWVD\WKDWEXWLQWHUPVRIVLPSO\
     VXSSUHVVLRQLQQDWDOPDOHVDQGDFWXDODWKOHWLF                 EHOLHYDELOLW\RIGDWD,JRWWZRPRGHVWSDSHUVWKDWDUH
     SHUIRUPDQFHDQGLQWKLVFDVHUXQQLQJ                          WKHVXPRIWKHZRUOGOLWHUDWXUHRQWKHVXEMHFW
     &RUUHFW"                                              %<$77251(<%522.6
     $77251(<%/2&.2EMHFWLRQWRIRUP             4<RXVD\LQSDUDJUDSKRI\RXUUHSRUWWKDW
     7+(:,71(666RWKH5REHUWVVWXG\DQG          5REHUWVIRXQGTXRWHDIWHUWZR\HDUVRI
     WKH+DUSHUVWXG\DUHERWKVWXGLHVRIWUDQVJHQGHUZRPHQ         JHQGHUDIILUPLQJKRUPRQHWKHUDS\WUDQVJHQGHUZRPHQ
     ZLWKDWOHDVWWZRWLPHSRLQWV                                 FRPSOHWHGWKHPLOHUXQSHUFHQWIDVWHURQDYHUDJH
     %<$77251(<%522.6                                            WKDQQRQWUDQVJHQGHUZRPHQFORVHGTXRWH'R\RXVHH


                                                   3DJH                                                          3DJH
      47KH+DUSHUVWXG\LVVWULFWO\UHWURVSHFWLYHLW         WKDW"
      LVQRWDSURVSHFWLYHORQJLWXGLQDOVWXG\"                       $77251(<%/2&.,WKLQNKHQHHGVVRPH
      $7KH+DUSHUVWXG\LVWKDW VDJRRGTXHVWLRQ        WLPHWRJHW
      ,DFWXDOO\GRQ WNQRZLILWLVLW VSUREDEO\PL[HG         7+(:,71(66<HDKWRDFWXDOO\ILQG
      KRQHVWO\                                                       WKH
      4:HOOZHFDQORRNDWLWEXWLWLVQRWPL[HG          %<$77251(<%522.6
      ,WLVDRQHWLPHVXUYH\                                        43DUDJUDSK$QG,ZLOOUHIHU\RXWRWKHWKLUG
      $:HOOWREHFOHDUWKHZD\ZHSKUDVHWKHVH             VHQWHQFH
      WKLQJVVRPHWLPHVDUH, PWU\LQJWREHDUH               $$OOULJKW
     DFFRUGLQJWRFHUWDLQFRQYHQWLRQVDFDGHPLFDOO\VRWKDW         6RUU\VD\WKDWDJDLQ
     VRPHWLPHVLWZLOOEHIUDPHGWKDWZD\EHFDXVHIURPDQ           4, PVLPSO\FDOOLQJ\RXUDWWHQWLRQWRWKHSODFH
     DFDGHPLFSHUVSHFWLYHZH OOXVHWKDWFRQWH[WEXW,WKLQN       ZKHUH\RXZURWHDWWKH5REHUWVUHSRUWWKDWDIWHUWZR
     VRPHRIWKHGDWDZDVDFWXDOO\FROOHFWHGLQERWK                \HDUVRIDJHQGHUDIILUPLQJKRUPRQHWKHUDS\WUDQVJHQGHU
     FROOHFWLRQV                                                   ZRPHQFRPSOHWHGWKHPLOHUXQSHUFHQWIDVWHURQ
     47KH5REHUWVVWXG\\RXXQGHUVWDQGWREHD              DYHUDJHWKDQQRQWUDQVJHQGHUZRPHQ
     SURVSHFWLYHORQJLWXGLQDOVWXG\GR\RXQRW"                   $<HV
     $:HOODFWXDOO\\RXDUHWHVWLQJPHRQWKDW'LG      4$QGWZR\HDUVQRWDWULFNTXHVWLRQKHUHWZLFH
     WKH\VHWRXWDWWKHEHJLQQLQJWRGRLWRUGLGWKH\JR          DVORQJDVWKHRQH\HDUWHVWRVWHURQHVXSSUHVVLRQ
     EDFNDQGORRN", GKDYHWRVHH                               UHTXLUHPHQWWKDWOHGWRWKH1&$$UXOH
     4:HOOEDVHGRQWKHPHWKRG,WKLQNWKHDQVZHULV      &RUUHFW"
     WKH\ZHQWEDFNDQGORRNHGEHFDXVHLWEHJLQVZHUHYLHZHG"       $7ZR\HDUVLVWZLFHRQH\HDU\HV
     $<HV                                                  4$QG\RXZRXOGDJUHHZLWKPHWKDWDSHUFHQW
     4'R\RXLVLW\RXURSLQLRQWKDWDPRQJVWWKH        IDVWHULQZRPHQ VWLPHLVDVXEVWDQWLDODGYDQWDJH"
     DYDLODEOHGDWDWKH5REHUWVVWXG\LVRQWKHLPSDFW         $77251(<%/2&.2EMHFWLRQWRIRUP



                                                                                         3DJHVWR
                Case: 22-5807
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                                                   3DJH                                                         3DJH
      7+(:,71(666RWKLVLVDELWWKLV          $<HV,VHHWKDW
      LVDELWRIWKHVDPHFRQYHUVDWLRQ,JXHVV,FDQ WVD\         4$QG\RXGRQ WKDYHDQ\H[SHUWRSLQLRQVWKDWWKH
      WKDWLQDEODQNHWZD\,WGHSHQGVRQFRQWH[W                  ILQGLQJVRI5REHUWVDUHLQDFFXUDWHRUXQUHOLDEOHGR
      %<$77251(<%522.6                                             \RX"
      47KHFRQWH[WKHUHLVWKDWWKDWWKHVHDUHDOO$LU        $6RWKHWKLVLVDJDLQDTXHVWLRQRIFRQWH[W
      )RUFHPHPEHUVGR\RXUHFDOO"                                   6R,KDYHQRUHDVRQWRVXVSHFWWKDWWKHVHGDWDDUH
      $,EHOLHYHWKH\DUHDOO$LU)RUFHPHPEHUV\HV         VXVSHFW7KHRQO\TXHVWLRQWKHQLVZKDWZHFRQFOXGH
      4$OOVXEMHFWWR$LU)RUFHSK\VLFDOILWQHVV              ZKHQ\RXGRDVWXG\RIIRUWKHWUDQVJHQGHUZRPHQ,
      UHTXLUHPHQWV6RZHDUHQRWWDONLQJDERXWFRXFK                WKLQNZHDUHWDONLQJDERXWSHRSOHZKLFK,FHUWDLQO\
     SRWDWRHV"                                                      OLNHDORWEHWWHUWKDQVLPSO\SRLQWLQJWRDUDQGRP
     $, PQRWUHQGHULQJDQRSLQLRQWKHUHDVDQH[SHUW      LQGLYLGXDOEXW,UHFRJQL]HDVDOVRVLPSO\
     4*HQHUDOO\\RXZRXOGDFFHSWWKDWWKLVLVD             LQGLYLGXDOVLQDFHUWDLQFLUFXPVWDQFHWKDWPLJKWRU
     UHODWLYHO\ILWSRSXODWLRQ"                                     PLJKWQRWEHUHSOLFDWHGDVZHGRWKLVDJDLQDQGLQFUHDVH
     $,FDQ WHYHQUHQGHUDQRSLQLRQWKHUHDVDQ            WKHQXPEHUVRISHRSOHWKDWZHHYDOXDWH
     H[SHUW                                                        4<RXGRQ WSURSRVHWRRIIHUDQ\H[SHUWRSLQLRQ
     4'R\RXKDYHVRPHXQKHDOWK\UHODWLYHZKR VD           WKDWWKHILQGLQJVRI5REHUWVDVUHSRUWHGLQWKLVSDSHU
     PHPEHURIWKHDUPHGIRUFHV"                                    RIDUHLQDFFXUDWH"
     $,ZDVLQWKH1DWLRQDO*XDUGVR,GRKDYHVRPH        $6R,JXHVVWKHZD\,VDLGLWLVKRZ,VDLGLW
     LQVLJKW                                                       DOUHDG\ZKLFKLV, PQRWGRXEWLQJ5REHUWV GDWDEXW,
     42ND\                                                 ZRXOGQ WWKHQRYHUJHQHUDOL]HWRVD\WKDW,NQRZWKDW
     <RXZRXOGDJUHHZRXOG\RXQRWWKDWUXQQLQJ          WKHVHZRXOGEHWKHILQGLQJVZHZRXOGVHHLQHYHU\
     VSHHGDQGHQGXUDQFHSHUVHDUHUHOHYDQWWRTXLWHD           VLPLODUFLUFXPVWDQFH
     QXPEHURIVSRUWV"                                              4$QGDUH\RXDZDUHWKDWRQHFRPPRQWUDFNHYHQWRU
     $5XQQLQJVSHHGDQGHQGXUDQFHDUHUHOHYDQWWRPDQ\      FURVVFRXQWU\HYHQW,FDQQHYHUNHHSWKHPVWUDLJKWLV


                                                   3DJH                                                         3DJH
      VSRUWV, PFHUWDLQWKDWLVWUXH, PQRW                 WKHPHWHUZKLFKLVDERXWDPLOH"
      4:HOO                                              $$FWXDOO\WKDWLVQRWP\H[SHUWLVH,EHOLHYH
      $DQH[SHUWDJDLQ                                   \RX
      4, PQRVSRUWVIDQEXWZH YHDOOVHHQHQRXJK           4$UH\RXDZDUHWKDWWKHPHWHUDPLOH
      VSRUWVWRNQRZWKHUH VDORWRIUXQQLQJLQYROYHGQRW            GLVWDQFHLVDVWDQGDUGHYHQW"
      MXVWLQWUDFNEXWLQEDVNHWEDOOVRFFHUODFURVVHDQG           $,I\RXDUHPHDQLQJWRTXL]PHRQWKHVWDQGDUG
      ILHOGKRFNH\                                                   OHQJWKVWKHVHGD\VDQGPHWHUVDQGDOORIWKDWQR
      &RUUHFW"                                               $77251(<%522.6:HOO,FDQ WFRPSOHWH
      $,KDYHREVHUYHGWKDW\HV%XWDJDLQ, PQRW         P\QH[WGRFXPHQWLQWZRPLQXWHVZHLIZHZDQWWREUHDN
     UHQGHULQJDQH[SHUWRSLQLRQWKHUHEXW\HV                    DWQRZRU,FDQGRRQHPRUHGRFXPHQW
     4$QGRQSDJHVL[RIWKLVSDSHU                    $77251(<%/2&., PILQHFRQWLQXLQJLI
     $7KLVLV5REHUWV                                      \RXDUH
     4<HV5REHUWVDQG([KLELW5REHUWVDQGKLV         7+(:,71(660\ELDVLVWRSXVK
     FRDXWKRUVVXPPDUL]HLQWKHLUFRQFOXVLRQE\VWDWLQJ           $77251(<%522.6)RONVRQOLQHZH UH
     TXRWHLQWKLVVWXG\ZHFRQILUPWKDWWKHXVHRIJHQGHU        JRLQJWRFRQWLQXHDOLWWOHELWIDUWKHU
     DIILUPLQJKRUPRQHVDUHDVVRFLDWHGZLWKFKDQJHVLQ              %<$77251(<%522.6
     DWKOHWLFSHUIRUPDQFHDQGGHPRQVWUDWHGWKDWWKH                 4<RXFLWHGDSDSHUE\+DUSHUIURP$QGWKDW
     SUHWUHDWPHQWGLIIHUHQFHVEHWZHHQDWUDQVJHQGHUDQGD           SDSHUDOVR,WDNHLW\RXVWXGLHGZLWKVRPHGHWDLO"
     FLVJHQGHUZRPDQSHUVLVWEH\RQGWKHPRQWKWLPH               $<HV
     FXUUHQWO\UHTXLUHPHQWFXUUHQWO\EHLQJSURSRVHGIRU         4$QGKRZPDQ\LQGLYLGXDOVGLG+DUSHUKDYHLQWKDW
     DWKOHWLFFRPSHWLWLRQE\WKH:RUOG$WKOHWLFVDQGWKH,2&       VWXG\"
     'R\RXVHHWKDW"                                               $,GRZHKDYHKHU"
     $7KLVLVWKHFRQFOXVLRQVHFWLRQ"                       4(YHU\WKLQJWKDW\RXPHQWLRQ,KDYH
     4,WLV                                                $77251(<%522.6/HWPHPDUNDV6DIHU


                                                                                         3DJHVWR
                Case: 22-5807
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                                                   3DJH                                                         3DJH
      ([KLELW                                                  ORQJWKDWWKH\KDGVXSSUHVVHGWHVWRVWHURQH
      $77251(<:,/.,1621<HV                        &RUUHFW"
      $77251(<%522.6+DUSHU V+DUSHU        $7KHUHZDVQRLQGHSHQGHQWFRQILUPDWLRQEH\RQG0V
      HWDORUMXVW+DUSHUDUWLFOH5DFH7LPHVIRU                   +DUSHUDQGKHUGHDOLQJZLWKRWKHUVXEMHFWVGLUHFWO\
      7UDQVJHQGHU$WKOHWHVIURP                                 4:HOOLQ\RXUYLHZDVDVFLHQWLVWWKDW VQRW
      $77251(<:,/.,16217DE                     LQGHSHQGHQWFRQILUPDWLRQLVLW"
                                        $77251(<%/2&.2EMHFWLRQWRIRUP
       :KHUHXSRQ([KLELW5DFH7LPHVIRU              7+(:,71(666R, PQRWH[SUHVVLQJDQ
      7UDQVJHQGHU$WKOHWHV$UWLFOHZDVPDUNHGIRU        RSLQLRQWKHUHEHFDXVHLQDVFLHQFH\RXNQRZLQD
     LGHQWLILFDWLRQ                                    VFLHQWLILFSDSHUZHZRXOGKDYHZHZRXOGKDYHSHHU
                                      UHYLHZEXWZHGRQ WWKDWMXVWHQGVXSEHLQJD
     7+(:,71(667KDQN\RX                        OLWWOHELWRIDIX]]\UHDOW\
     %<$77251(<%522.6                                            %<$77251(<%522.6
     4<RXVD\\RXKDYHZRUNHGZLWK-RDQQD+DUSHU\RX       47KHUHLVQRLQIRUPDWLRQLQWKLVSDSHUDERXWZKDW
     DUHDZDUHWKDW'U+DUSHULVERWKDQDWKOHWHDQG               WHVWRVWHURQHOHYHOVZHUHDFKLHYHGE\DQ\RIWKHVH
     WUDQVJHQGHU"                                                   LQGLYLGXDOVDVDUHVXOWRIVXSSUHVVLRQLVWKHUH"
     $77251(<%/2&.2EMHFWLRQWRIRUP             $,GRQ WNQRZ/HW V,FDQORRNWKURXJKWKDW
     7+(:,71(66,DPDZDUH,DPDZDUH           DOLWWOHELWEHFDXVHGRHVVKHUHIHUHQFHKRZPDQ\RIWKHP
     WKDWVKHLVDQDWKOHWHDQG, PDZDUHWKDWVKHLV              KDYHKDGVXUJHU\DQGVXFK",WKDVEHHQTXLWHDZKLOH
     WUDQVJHQGHU                                                   \RXNQRZ6RQRWDEO\WKHUHLVVRPHLQGHSHQGHQW
     %<$77251(<%522.6                                            FRQILUPDWLRQRIVRPHRIWKHGDWDEHFDXVHVRPHRIWKLV
     4'LG\RXKDYHDIWHUVWXG\LQJWKHSDSHUHQGXS          ZDVSRVWHG
     ZLWKDQXQGHUVWDQGLQJRIKRZPDQ\SDUWLFLSDQWVWKHUH           4:DLW/HWPHMXVWEHFOHDU6RPHRIWKHWLPHV
     ZHUH"                                                          ZHUHYHULILHGLQGHSHQGHQWO\


                                                   3DJH                                                         3DJH
      $7KHUHZHUHHLJKWSDUWLFLSDQWV, PORRNLQJDW         &RUUHFW"
      7DEOH                                                        $7KDW VFRUUHFW
      4'LG\RXKDYHDQXQGHUVWDQGLQJRIKRZWKRVH             41RWKLQJDERXWWKHKRUPRQDOWUHDWPHQW"
      SDUWLFLSDQWVZHUHUHFUXLWHG"                                    $5LJKW
      $,GRKDYHVRPHXQGHUVWDQGLQJRIWKDW\HV             $77251(<%/2&.'R\RXZDQWWRJLYHKLP
      4+RZLVWKDW"                                           DFKDQFHWRUHYLHZLW"
      $7KHKRZZRXOG,FKDUDFWHUL]HWKLV",W V           %<$77251(<%522.6
      VRPHZKDWDGKRFLQWKHVHQVHWKDW0V+DUSHULVLQWKH          4'RFWRU6DIHUOHWPHMXVWZLWKGUDZWKDWTXHVWLRQ
      FDWHJRU\RIWKHVHRWKHUSDUWLFLSDQWVDQGVRVKHZDV            DQGDVN\RXDQRWKHUTXHVWLRQ
     DEOHWRLGHQWLI\RWKHUVWKDWPHWWKHFULWHULDRIEHLQJ         $<HDKJRDKHDG
     ERWKWUDQVJHQGHUDQGEHLQJVXIILFLHQWO\LQWHQVHLQWKHLU       4'R\RXNQRZZKHWKHU'RFWRU+DUSHUVWDQGVEHKLQG
     PLGGOHGLVWDQFHUXQQLQJWKDWWKH\KDGUDFHWLPHVWKDW          WKHFRQFOXVLRQVRIKHUSDSHUWRGD\"
     WKH\FRXOGLGHQWLI\WKDWZRXOGDOORZIRUWKHIRU           $,I\RXDVNPHGR,NQRZLWWKDW VWRRVWURQJD
     WKHVHGHWHUPLQDWLRQVRIDJHEDVHG,GRQ WNQRZDOO         VWDWHPHQW
     WKHWHUPLQRORJ\KHUHEXWWKHLUDJHEDVHGJUDGH                $77251(<%522.6/HWPHPDUNDV6DIHU
     SURSRUWLRQDOWRRWKHUVLQWKDWVDPHVH[FDWHJRU\              ([KLELWDQDUWLFOHE\-RDQQD+DUSHUDQGRWKHUVIURP
     4$QGLWLVFRQVLVWHQWZLWK\RXUXQGHUVWDQGLQJLV      HQWLWOHG+RZ'RHV+RUPRQH7UDQVLWLRQLQ7UDQVJHQGHU
     LWQRWWKDWDOORIWKHLQIRUPDWLRQLQWKLVVWXG\DERXW        :RPHQ&KDQJH%RG\&RPSRVLWLRQ0XVFOH6WUHQJWKDQG
     ZKDWKRUPRQDOWUHDWPHQWWKHVHLQGLYLGXDOVKDGXQGHUJRQH        +HPRJORELQ
     ZDVVHOIUHSRUWHG"                                             $77251(<:,/.,16217DE
     $7KLVLVWKHHQWLUHVWXG\LVVHOIUHSRUW          
     WKDWLVVKHGLGQ WKDYH0V+DUSHUGLGQRWKDYH             :KHUHXSRQ([KLELW-RDQQD+DUSHU
     DFFHVVWRSHRSOH VLQGLYLGXDOUHFRUGVLQGHSHQGHQWO\           $UWLFOHZDVPDUNHGIRULGHQWLILFDWLRQ
     46RWKHUHZDVQRLQGHSHQGHQWFRQILUPDWLRQRIKRZ       



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                                                   3DJH                                                         3DJH
      %<$77251(<%522.6                                             HQGXUDQFHDQGSHUIRUPDQFH"
      4'U6DIHUKDYHZHSXWWKDWLQIURQWRI\RX"           $7KHVWDWHPHQWKHUHLVWRREURDGVRLW VVLPSO\
      <HVZHKDYH$UH\RXIDPLOLDUZLWKWKLVDUWLFOH"              UDLVLQJTXHVWLRQV
      $,DP                                                  4:HOO-RDQQD+DUSHUVD\VKHUHWKDWWKHILQGLQJV
      4$QGKDYH\RXUHDGLWUHYLHZHGLWUHFHQWO\"            RIKHUFXUUHQWUHYLHZZHUHWKDWPRQWKVRIJHQGHU
      $,KDYHUHYLHZHGLWUHODWLYHO\UHFHQWO\                DIILUPLQJKRUPRQHWKHUDS\PD\EHVXIILFLHQWWRDWWHQXDWH
      4$QGGR\RXXQGHUVWDQGDQG,GLGQ WFRPSOHWHO\         VRPHEXWQRWDOOLQIOXHQFLQJIDFWRUVDVVRFLDWHGZLWK
      UHDGWKHWLWOH7KHVHFRQGVHQWHQFHRIWKHWLWOHVD\V          PXVFXODUHQGXUDQFHDQGSHUIRUPDQFH"
      6\VWHPDWLF5HYLHZZLWKWKH)RFXVRQ,PSOLFDWLRQVIRU            $77251(<%/2&.2EMHFWLRQWROHDYLQJRXW
     6SRUW3DUWLFLSDWLRQ                                           ZRUGVRIZKDW\RXTXRWHG
     'R\RXVHHWKDW"                                      %<$77251(<%522.6
     $,GR                                                 4$QGP\TXHVWLRQIRU\RXLVGR\RXLQWHQGWR
     4&DQ\RXWHOOPHZK\ZKHQ\RXFLWHG+DUSHU V      RIIHUDQH[SHUWRSLQLRQWKDW\RXEHOLHYHLVLQFRQVLVWHQW
     SDSHUWKDW\RXMXVWUHIHUUHGWRDVROGHUVFLHQFH\RX           ZLWKWKDWVWDWHPHQW"
     GLGQ WFLWH+DUSHU VSXEOLFDWLRQ"                         $77251(<%/2&.6DPHREMHFWLRQ,W V
     $6RWREHFOHDU,GLGQ WXVHWKHROGHUVFLHQFH       PLVTXRWLQJWKHGRFXPHQW
     ,VLPSO\UHIHUHQFHG+DUSHU VSDSHUDVRQHRIWKHRQO\          7+(:,71(666RWKHRSHUDWLYHRU
     WZRSDSHUVRQWKHVXEMHFW$QG\RXUTXHVWLRQ"                 LQRSHUDWLYHZRUGKHUHLVPD\EHVXIILFLHQWDQGVRZKHQ
     4:K\GLGQ W\RXFLWH+DUSHU VSDSHURQWKH        ZH UHWKHVHDUHUHVHDUFKTXHVWLRQVDVZHWU\WR
     WRSLF"                                                         XQGHUVWDQGSK\VLRORJ\DQGWKHUHOHYDQFHRIFHUWDLQ
     $6RWKLVSDSHULVPRUHLQWKHFDWHJRU\RIWKH          WHVWRVWHURQHOHYHOVDWFHUWDLQHQGSRLQWVDQGWKHQQRW
     SDSHUVORRNLQJDWLPSDFWRQWLVVXHVRIZKLFKWKHUHDUH         MXVWHQGSRLQWVDVVXUURJDWHVZKLFKLVZKDWPRVWRIWKH
     VHYHUDOSDSHUVDVRSSRVHGWRDFWXDOO\LQYHVWLJDWLQJD          SDSHUVWRGDWHVWLOODUHEXWHQGSRLQWVLQDFWXDO
     VSHFLILFDFWLYLW\DSHUVRQ VDFWLYLW\$QGGRHVWKLV         DWKOHWLFLVPDQGDWKOHWLFFRPSHWLWLRQ$QGVRWKDW VDOO


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      KDYHSULPDU\GDWDLQLW"                                        WKLVLVGRLQJLVSXWWLQJRXWVRPHTXHVWLRQVRUVRPH
      4:HOOOHWPHWDNH\RXWRSDJHHLJKW                   SRWHQWLDOWKRXJKWV
      $<HDK,GRQ WHYHQWKLQNWKLVKDVDILQDOGDWD         %<$77251(<%522.6
      LQLW                                                          4/HWPHDVN\RXWRWXUQWRSDJHRQHDQGFROXPQ
      4'HVFULELQJWKH5REHUWVVWXG\+DUSHUKHUHRQ           RQH
      SDJHHLJKWFROXPQRQHDERXWKDOIZD\GRZQVXPPDUL]HV          $2IWKLVVDPHSDSHU"
      DVIROORZV4XRWHWUDQVZRPHQUDQVLJQLILFDQWO\IDVWHU        42IWKHVDPHSDSHU,QWKHFRQFOXVLRQRIWKH
      GXULQJWKHPLOHILWQHVVWHVWWKDQFLVZRPHQ7KHVH          DEVWUDFWWKHODVWVHQWHQFHUHDGVTXRWHWKHVHILQGLQJV
      REVHUYDWLRQVLQWUDLQHGWUDQVJHQGHULQGLYLGXDOVDUH             VXJJHVWWKHVWUHQJWKPD\EHZHOOEHSUHVHUYHGLQWUDQV
     FRQVLVWHQWZLWKWKHILQGLQJRIWKHFXUUHQWUHYLHZLQ           ZRPHQGXULQJWKHILUVWWKUHH\HDUVRIKRUPRQHWKHUDS\
     XQWUDLQHGLQGLYLGXDOVZKHUHE\PRQWKVRIJHQGHU              FORVHGTXRWH
     DIILUPLQJKRUPRQHWKHUDS\PD\EHVXIILFLHQWWRDWWHQXDWH        'R\RXVHHWKDW"
     VRPHEXWDOOLQIOXHQFLQJIDFWRUVDVVRFLDWHGZLWK               $,GR
     PXVFXODUHQGXUDQFHDQGSHUIRUPDQFHFORVHGTXRWH              4$QGKDYLQJUHYLHZHGZKDWHYHUOLWHUDWXUH\RXKDYH
     'R\RXVHHWKDW"                                      UHYLHZHGWRGDWHGR\RXVKDUH'RFWRU+DUSHU V
     $<HV7KLVLVWKHHQGRIWKHSDUDJUDSKWKHUH"         XQGHUVWDQGLQJWKDWVWUHQJWKPD\ZHOOEHSUHVHUYHGLQ
     4<HV                                                  WUDQVZRPHQGXULQJWKHILUVWWKUHH\HDUVRIKRUPRQH
     $:H UHVWDUWLQJZLWKWKHVHREVHUYDWLRQV\HV,        WKHUDS\"
     VHHWKDW                                                      $77251(<%/2&.2EMHFWLRQWRPLVTXRWLQJ
     4$QGGR\RXSURSRVHWRRIIHUDQ\H[SHUWRSLQLRQ        WKHGRFXPHQW
     LQFRQVLVWHQWZLWK-RDQQD+DUSHU VVXPPDU\RIWKHGDWD          7+(:,71(666R,FDQ WFRPPHQWRQ0V
     KHUHVXJJHVWLQJWKDWPRQWKVRIJHQGHUDIILUPLQJ             +DUSHU VXQGHUVWDQGLQJEXWLI\RX UHDVNLQJLVWKDW
     KRUPRQHWKHUDS\PD\EHVXIILFLHQWWRDWWHQXDWHVRPHEXW        \RXNQRZLVWKHTXHVWLRQDTXHVWLRQVRWKHTXHVWLRQLV
     QRWDOOLQIOXHQFLQJIDFWRUVDVVRFLDWHGZLWKPXVFXODU           DTXHVWLRQ7KHVHILQGLQJVVXJJHVWWKDWVWUHQJWKPD\


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                                                               3DJH                                                    3DJH
     DQGDJDLQDQRSHUDWLYHZRUGLVPD\                                     ZRPHQFDQHQJDJHLQPHDQLQJIXOVSRUWHYHQDIWHUJHQGHU
     %<$77251(<%522.6                                                     DIILUPLQJKRUPRQHWKHUDS\LVRQHRQZKLFKUHDVRQDEOH
     4<HV                                                           VFLHQWLVWVFDQGLIIHUDQGDUHGLIIHULQJWRGD\JLYHQWKH
     $$QGWKHVHDUHDV,DVFLHQWLVWDQGVKHLVD                  SRVVLELOLW\RIGDWD"
     VFLHQWLVWWRRZHDUHWXUQLQJWKHHDUWKDVLWZHUHRI                 $77251(<%/2&.2EMHFWLRQWRIRUPIRU
     ZKDWZHNQRZORRNLQJIRUZKDWTXHVWLRQVZHPLJKWZDQWWR                WKHVDPHUHDVRQV
     VWXG\DQGKRZZHPLJKWZDQWWRIUDPHVWXGLHVJRLQJ                      7+(:,71(666R, PVLWWLQJKHUHDVD
     IRUZDUG                                                                VFLHQWLVWWDONLQJDERXWGLIIHUHQFHVLQDWKOHWLFLVPDQG
     4/HWPHWDNH\RXEDFNWRSDJHHLJKWLI,PD\                  VXFKDQGZKHWKHUDQGVRPRYLQJRQWRPHDQLQJIXOVSRUW
    $QGWKHSHQXOWLPDWHVHQWHQFHRIWKLVSDSHUDWWKHERWWRP               JRHVEH\RQGP\H[SHUWLVH, PRQO\SXWWLQJGDWD
    RIWKHILUVWFROXPQRISDUDJUDSKRISDJHHLJKWUHDGV                  WRJHWKHULQDWKDW VP\ODQHRQWKLVVXEMHFW
    TXRWHZHOOOHWPHUHDG\HDK,ZLOOMXVWUHDG                 $77251(<%522.62ND\
    WKDWTXRWHZKHWKHUWUDQVJHQGHUDQGFLVJHQGHUZRPHQFDQ               /HW VEUHDNIRUOXQFK
    HQJDJHLQPHDQLQJIXOVSRUWHYHQDIWHUJHQGHUDIILUPLQJ                 $77251(<%/2&./HW VJRRIIWKHUHFRUG
    KRUPRQHWKHUDS\LVDKLJKO\GHEDWHGTXHVWLRQFORVHG                   VR
    TXRWH                                                                 $77251(<%522.6"$Q\GLVVHQW"1R
    'R\RXVHHWKDWODQJXDJH"                                     GLVVHQW
    $,GR                                                         9,'(2*5$3+(5*RLQJRIIWKHUHFRUG7KH
    4<RX OODJUHHWKDWXSWRWKHSUHVHQWWKDWLVD                 FXUUHQWWLPHLVSP(DVWHUQ6WDQGDUG7LPH
    KLJKO\GHEDWHGTXHVWLRQ"                                               2))9,'(27$3(
    $77251(<%/2&.2EMHFWLRQWRIRUP                     
    7+(:,71(667KHUH VFRQWH[WWKHUHWRR                 :+(5(8321$6+257%5($.:$67$.(1
    6RWKLVLVUHIHUHQFLQJDOHDJXHVSRUWDQGLW VDV                  
    ZHOOWKHUHDUHDUDQJHRISRWHQWLDOVSRUWVDQGVRWKH                 219,'(27$3(


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      TXHVWLRQDQGWKHGHJUHHWRZKLFKLWLVKLJKO\GHEDWHG                  9,'(2*5$3+(5%DFNRQWKHUHFRUG7KH
      HYHQ, PQRWJRLQJWRUHQGHUDQRIILFLDORSLQLRQWKHUH                FXUUHQWWLPHLVSP(DVWHUQ6WDQGDUG7LPH
      6RWKHZKHWKHUWUDQVJHQGHUDQGFLVJHQGHUZRPHQFDQ                 %<$77251(<%522.6
      HQJDJHLQPHDQLQJIXOVSRUWGHSHQGVRQZKDWVSRUWZH UH                 4*RRGDIWHUQRRQ'U6DIHU7DNH\RXEDFNLQWR
      WDONLQJDERXWZKDWWUHDWPHQWZH UHWDONLQJDERXWDJH                 FRQWH[W, PJRLQJWRDVN\RXWRILQG\RXUH[SHUW
      JURXSZKHWKHUHOLWHYHUVXVPRUHRIDQLQWHUPXUDO                      UHSRUW([KLELWDQGILQGSDUDJUDSKZKLFKZHKDYH
      VHWWLQJ$QGVRLW VMXVWDUHODWLYHO\VLPSOHVWDWHPHQW               ORRNHGDWEHIRUH$QGWKHUHLQWKHWKLUGVHQWHQFHLW
      DQGWRVXPPDUL]HDSDSHU,JXHVV                                      UHDGVEDVHGRQFXUUHQWUHVHDUFKFRPSDULQJ
      %<$77251(<%522.6                                                    QRQWUDQVJHQGHUER\VDQGPHQZLWKQRQWUDQVJHQGHUJLUOV
     4<RXDJUHHWKDWWKLVWKDWLVWKHTXHVWLRQRI              DQGZRPHQEHIRUHGXULQJDQGDIWHUSXEHUW\WKHSULPDU\
     ZKHWKHUWUDQVJHQGHUDQGFLVJHQGHUZRPHQFDQHQJDJHLQ                 NQRZQELRORJLFDOGULYHURIWKHVHDYHUDJHJURXS
     PHDQLQJIXOVSRUWHYHQDIWHUJHQGHUDIILUPLQJKRUPRQH                  GLIIHUHQFHVLVWHVWRVWHURQHVWDUWLQJDWSXEHUW\DQGQRW
     WKHUDS\LVRQHRQZKLFKUHDVRQDEOHVFLHQWLVWVFDQ                     UHSURGXFWLYHELRORJ\RUJHQHWLFVSHULRGFORVHGTXRWH
     GLVDJUHHDQGWRGD\DUHGLVDJUHHLQJ"                                   'R\RXVHHWKDWODQJXDJH"
     $77251(<%/2&.2EMHFWLRQWRIRUP                    $<HV
     7+(:,71(666RJRLQJEDFNVRLV                  4$QG\RXURQHFLWHIRUWKDWLVWKHHQGRFULQHWKDW
     \RXUVRDUH\RXDVNLQJPH,JXHVVKHOSPH                     ZH YHDOUHDG\ORRNHGDWDOUHDG\
     UHIUDPHZKDWWKHTXHVWLRQLVWKHUHEHFDXVHWKHUHDUHD                5LJKW"
     EXQFKRIWKLQJVSDFNHGLQWRWKDWVHQWHQFHDFWXDOO\$QG              $77251(<%/2&.2EMHFWLRQWRWKHIRUP
     \RXKHDUGPHWU\WRXQSDFNWKHPERWK                                 7+(:,71(666RWKHFLWDWLRQLQWKDW
     %<$77251(<%522.6                                                   SDUDJUDSKLVWKH+DQGHOVPDQ\HV
     47KDWPD\EHDFRPSOH[TXHVWLRQDVGHEDWHG                   %<$77251(<%522.6
     TXHVWLRQVRIWHQDUHEXWP\TXHVWLRQLVGR\RXDJUHH                  4$QGGR\RXUHFDOORXUHDUOLHUGLVFXVVLRQDERXW
     WKDWWKHTXHVWLRQRIZKHWKHUWUDQVJHQGHUDQGFLVJHQGHU                KRZWKHHIIHFWVRIWHVWRVWHURQHDUHFXPXODWLYHRYHUWLPH



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      UDWKHUWKDQGHSHQGLQJVROHO\RQWKHWHVWRVWHURQHOHYHO          KLPVHOILQKLVSXEOLFDWLRQH[SUHVVHGDQ\YLHZZKHWKHU
      RIDQLQGLYLGXDODWDSDUWLFXODUWLPHULJKW"'R\RX           WHVWRVWHURQHVXSSUHVVLRQDIWHUPDOHSXEHUW\HOLPLQDWHV
      UHFDOOWKDWGLVFXVVLRQ"                                         VH[EDVHGSK\VLFDODGYDQWDJHVVXIILFLHQWO\WRPDLQWDLQ
      $6RWKHLPSDFWH[FXVHPHWKHLPSDFWRI             IDLUQHVVLQVSRUWVIRUZRPHQ"
      WHVWRVWHURQHLVFXPXODWLYH,WGHSHQGVZKDWLPSDFWV            $77251(<%/2&.2EMHFWLRQWRIRUP
      ZH UHWDONLQJDERXW6RWKHUHDUHLPSDFWVWKDWDUH             7+(:,71(666R,GRQ WNQRZLIKHKDV
      FXPXODWLYHOLNHKHLJKWDQGWKHUHDUHLPSDFWVWKDW             ZULWWHQVRPHWKLQJFRYHULQJDOOWKRVHEDVHVWKDW\RXMXVW
      UHDOO\GRUHIOHFWWKDWSRLQWLQWLPH                           GHVFULEHGKRZ\RXGHVFULEHGLW
      41RZDWWKHPRPHQWOHWPHDVNMXVWEDVHGRQ\RXU       $77251(<%522.6$OOULJKW/HW VORRN
     UHFROOHFWLRQ7KH+DQGHOVPDQDUWLFOHLV([KLELW'R        DWWUHDWPHQWYDULDEOH/HWPHPDUNDV([KLELWD
     \RXKDYHWKDW"$QG,ZLOODVN\RXWRILQGLWLQ\RXU          VKRUWDUWLFOHE\'U5REHUWVZLWKDVXEVHTXHQWFRPPHQW
     SLOH,VKRXOGKDYHQHDWHGXS\RXUSLOHRIH[KLELWV           E\'DYLG+DQGHOVPDQ
     ZKLOH\RXZHUHRXW7KDWORRNVOLNHLW                       $77251(<:,/.,16217DE
     $*RWLW\HV                                          $77251(<%522.6$QGXQIRUWXQDWHO\WKH
     47KH+DQGHOVPDQDUWLFOHDVIDUDV\RXUHFDOO         ZRUGVZHUHDOLWWOHFOLSSHGRQWKLV:HZLOOVHHKRZZH
     GRHVQRWFRQWDLQDQ\GDWDRUFRQFOXVLRQVFRQFHUQLQJWKH        GR
     HIIHFWVRIWHVWRVWHURQHDIWHUWKHEHJLQQLQJRIPDOH            
     SXEHUW\GRHVLW"                                               :KHUHXSRQ([KLELW'U5REHUWV$UWLFOHZDV
     $77251(<%/2&.2EMHFWLRQWRIRUP             PDUNHGIRULGHQWLILFDWLRQ
     7+(:,71(66+RQHVWO\,ZRXOGKDYHWR         
     JRORRNFDUHIXOO\                                             $77251(<%/2&.7KDQNV
     %<$77251(<%522.6                                            %<$77251(<%522.6
     47KHQ,ZRQ WWDNHWLPHWRGRWKDW                    4$QG,WKLQNDIDLUGHVFULSWLRQRIZKDWZHKDYH
     $2ND\                                                 KHUHLVDUHODWLYHO\SRSXODUSUHVVW\SHSLHFHE\'U


                                                   3DJH                                                         3DJH
      4,WGRHVRULWGRHVQ W:HZLOOGHDOZLWKWKDW        5REHUWVILUVW$QGWKLVGRFXPHQWLVGDWHG'HFHPEHU
      $<HV                                                   
      4'R\RXNQRZZKHWKHUDQ\RWKHUZULWLQJ3URIHVVRU        $77251(<%/2&.2EMHFWLRQ'RHVLWVD\
      +DQGHOVPDQKDVH[SUHVVHGDQ\YLHZDVWRZKHWKHU                 ZKHUHLWZDVSXEOLVKHG"
      WHVWRVWHURQHVXSSUHVVLRQDIWHUPDOHSXEHUW\HOLPLQDWHV          $77251(<%522.61RLWGRHVQ WVD\RQ
      VH[EDVHGSK\VLFDODGYDQWDJHVVXIILFLHQWO\WRPDLQWDLQ          LWVIDFHZKHUHLWZDVSXEOLVKHG$QGDVZHVLWKHUH
      IDLUQHVVLQVSRUWVIRUZRPHQ"                                   ULJKWQRZ,GRQ WUHFDOOWKRXJKDFWXDOO\ORRNLQJDWLW
      $77251(<%/2&.2EMHFWLRQWRWKHIRUP          ,GRUHFDOOWKDW.LOLRLVDQRQOLQHSXEOLFDWLRQRIVRPH
      7+(:,71(666RILUVWRIDOOSXWWLQJLW        VRUWDQG, YHVHHQWKHEUDQGFDPHIURPWKH.LOLR
     DOWRJHWKHUWKDWZD\LVQ WQHFHVVDULO\KRZ,ZRXOGVD\LW       ZHEVLWH
     RUKRZ,ZRXOGH[SHFWLWWREHVDLG,WZRXOGEH              %<$77251(<%522.6
     WHVWRVWHURQHVXSSUHVVLRQDQGZKDWHYHUWKHVFLHQWLILF           4$WDQ\UDWH,VHHWKHGDWH,VHHWKHWLWOH
     ILQGLQJDWWKHPRPHQWZRXOGEH6RZHDOUHDG\NQRZWKDW       ,WSXUSRUWVWREHDQDUWLFOHE\3URIHVVRU5REHUWV,
     WKHGDWDWKDWUHODWHWRDWKOHWLFLVPDUHMXVWWKH5REHUWV       MXVWZDQWWREHFOHDULQP\GHVFULSWLRQLWGRHVQRW
     SDSHUDQGWKH+DUSHUSDSHUVR,JXHVVWKDWLVDVPXFK         LWGRHVQRWKDYHWKHDSSHDUDQFHRIDVHSDUDWHSHHU
     DV,FDQVD\LQWKDWSDUWLFXODUFRQWH[W$QGLQWHUPV         UHYLHZDUWLFOHVLQFHWKHVXPPDU\WDNHQRIIRIWKH
     RIVR\HV,WKLQNWKDWLWZRXOGQ WEH,IRUJRW        DUWLFOHWKDWZH YHDOUHDG\ORRNHGDW$QGWKHQDWWKH
     DOUHDG\KRZ\RXSKUDVHGWKDW                                  HQGRILWLVDWZRSDUDJUDSKSURVSHFWLYHRQWKLVRIIHUHG
     %<$77251(<%522.6                                            E\'U+DQGHOVPDQ
     4/HWPHMXVWDVNDJDLQ                                'R\RXVHHWKDW"
     $<HV                                                  $,GR
     46RWKHILUVWTXHVWLRQLVQRWDKDUGRQH              4$QGKHEHJLQVE\PDNLQJFOHDUWKDWKHLV
     $2ND\                                                 FRPPHQWLQJRQWKLVVWXG\WKDWLV5REHUWVVWXG\WKDWLV
     4'R\RXNQRZZKHWKHU3URIHVVRU+DQGHOVPDQKDV          GLVFXVVHGDERYH+HLVQRWLQWURGXFLQJQHZVFLHQFH


                                                                                        3DJHVWR
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                                                  3DJH                                                        3DJH
      FRUUHFWLVWKDWFRQVLVWHQWZLWK\RXUXQGHUVWDQGLQJ"           GLVDJUHHZLWK3URIHVVRU+DQGHOVPDQVXPPDU\RIWKH
      $77251(<%/2&.2EMHFWLRQ*LYHKLPD         ILQGLQJVRI5REHUWV"
      FKDQFHWRUHDGLW                                             $77251(<%/2&.2EMHFWLRQWRIRUP, P
      7+(:,71(666RWKDW\HVP\                  MXVWQRWVXUHLW VDOOEDVHGRQ5REHUWV"
      XQGHUVWDQGLQJWRRLVWKDWWKHUHLVQRWQHZGDWDKHUH        7+(:,71(66,WLVQRWFOHDUWRPHWKDW
      PRVWO\DFRPPHQWDU\ZLWKLQWKHFRQWH[WVRPHRIRXU             LW VWKDWLWLVEDVHGRQ5REHUWVIRUZKDWLW V
      H[LVWLQJNQRZOHGJHRQWKH5REHUWVVWXG\                       ZRUWK,W VDOVRVRPHZKDWVLPSOLVWLFDOO\ZULWWHQ$QG
      %<$77251(<%522.6                                            DQH[DPSOHLVZHGRQ WWKHFRQWHQWLRQZLWKUHJDUGWR
      4$QGLQKLVFRPPHQWWR'U+DQGHOVPDQVWDWHVLQ        DWKOHWLFRXWFRPHVUHODWHVPRUHWRWHVWRVWHURQHDQGVR
     WKHVHFRQGSDUDJUDSKDVRITXRWHDPDMRU              VD\LQJWUDQVJHQGHUZRPHQWUHDWHGZLWKHVWURJHQVZRXOGQ W
     TXHVWLRQUHPDLQVZKHWKHUJHQGHUDIILUPLQJKRUPRQH             EHSUHFLVHO\KRZ,ZRXOGIUDPHWKDWHLWKHU
     WUHDWPHQWRYHUFRPHVVH[EDVHGSK\VLFDODGYDQWDJHV             %<$77251(<%522.6
     VXIILFLHQWO\WRPDLQWDLQIDLUQHVVVRWKDWDQH[FHSWLRQ        4+HFRQFOXGHV3URIHVVRU+DQGHOVPDQFRQFOXGHV
     FDQEHPDGHIRUWUDQVZRPHQSDUHQQDWDOPDOHVFORVHG       E\VWDWLQJVXSSRUWLQJIHGHUDWLRQVVKRXOGLQFRUSRUDWH
     SDUHQWUHDWHGZLWKHVWURJHQ                                 WKHVHILQGLQJVLQWKHVWUDWHJLHVIRULQFOXGLQJWUDQV
     'R\RXVHHWKDWODQJXDJH"                            ZRPHQLQHOLWHIHPDOHFRPSHWLWLRQVZKLOHPDLQWDLQLQJ
     $,GR                                                IDLUQHVVDQGVDIHW\IRURWKHUZRPHQ'U6DIHUGR\RX
     $77251(<%/2&.2EMHFWLRQ,EHOLHYH         DJUHHWKDWPDLQWDLQLQJVDIHW\IRUFLVJHQGHUZRPHQLVD
     WKDWLVZKDWLWVD\VEXW,MXVWZDQWWRQRWHIRUWKH         OHJLWLPDWHDQGLQGHHGLPSRUWDQWFRQFHUQ"
     UHFRUGWKDWWKHUHLVWH[WFXWRIIRQWKHOHIW                $77251(<%/2&.2EMHFWLRQWRIRUP
     $77251(<%522.67KHUHLV$QG, OOJHW      7+(:,71(66$VDQH[SHUW, PQRWJRLQJ
     EHWWHUFRSLHV, PORRNLQJDWDFRS\WKDW VQRWFXWRII      WRJLYHDQRSLQLRQ
     ,ZLOOUHSUHVHQW                                             %<$77251(<%522.6
     %<$77251(<%522.6                                           4$V'RFWRU6DIHUGR\RXDJUHHWKDWHQVXULQJ


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      4$QGGR\RXKDYHDQH[SHUWRSLQLRQDVWR           VDIHW\IRUFLVJHQGHUZRPHQDQGJLUOVLVDOHJLWLPDWH
      ZHOOGR\RXSURSRVHWRRIIHUDQ\RSLQLRQGLVDJUHHLQJ          FRQFHUQ"
      ZLWK3URIHVVRU+DQGHOVPDQWKDWDVRILWUHPDLQHGD        $77251(<%/2&.2EMHFWLRQWRIRUP
      PDMRUTXHVWLRQZKHWKHUJHQGHUDIILUPLQJKRUPRQH                7+(:,71(666RLI, PVLPSO\VSHDNLQJ
      WUHDWPHQWWRRYHUFRPHVH[EDVHGSK\VLFDODGYDQWDJHV            QRWDVDQH[SHUWMXVWDVDQHGXFDWHGSHUVRQLQWKH
      VXIILFLHQWO\WRPDLQWDLQIDLUQHVVVRWKDWDQH[FHSWLRQ         ILHOGWKHQLWLVWUXHWKDWVDIHW\LVLPSRUWDQWEXW, P
      FRXOGEHPDGHIRUWUDQVZRPHQWUHDWHGZLWKHVWURJHQ"           QRWFOHDUWKDW,GRQ WNQRZWKDWLQPRVWRIWKHVH
      $6RWRPHWKDW VWRREURDGDTXHVWLRQLI\RX UH        DWKOHWLFDFWLYLWLHVLW VDFWXDOO\DFRQFHUQ
      DVNLQJPHWRUHQGHUDQH[SHUWRSLQLRQDERXWKLVRSLQLRQ       $77251(<%522.6/HWPHPDUNDV6DIHU
     4, PDVNLQJZKHWKHU\RXSURSRVHWRRIIHUDQ           ([KLELWDGRFXPHQWHQWLWOHG*XLGDQFHZLWK7UDQVJHQGHU
     H[SHUWRSLQLRQLQFRQVLVWHQWZLWKKLVYLHZWKDWUHPDLQVD      ,QFOXVLRQLQ'RPHVWLF6SRUWZLWKV\PEROVRIDQXPEHURI
     PDMRUTXHVWLRQDVRI                                    8.VSRUWJRYHUQLQJERGLHVDFURVVWKHIURQWDQGD
     $,W V,PLJKWZHOO,ZRXOGDWOHDVW          VWDWHPHQWSXEOLVKHG6HSWHPEHU
     SKUDVHWKLQJVGLIIHUHQWO\LQWKHUHZHPLJKWKDYHWR       $77251(<:,/.,16217DE
     JRWKURXJKSLHFHVRILWEHFDXVHFHUWDLQO\ZKHUHZHODFN       
     GDWD,WKLQNZHZRXOGDJUHHEXWLQWHUPVRIWKRVH             :KHUHXSRQ([KLELW*XLGDQFHZLWK
     VWDWHPHQWVWKDWWKHQJRRQWRHGLWRULDOL]H,GRQ WNQRZ      7UDQVJHQGHU,QFOXVLRQLQ'RPHVWLF6SRUW
     WKDWZHQHFHVVDULO\DJUHHLQKRZZHZRXOGIUDPHWKDW         PDUNHGIRULGHQWLILFDWLRQ
     4$OLWWOHIDUWKHUGRZQPD\EHWZRVHQWHQFHVGRZQ      
     LWUHDGVTXRWHE\FRQWUDVWWUDQVZRPHQWUHDWHGZLWK        7+(:,71(667KDQN\RX
     HVWURJHQVDIWHUFRPSOHWLQJPDOHSXEHUW\H[SHULHQFHGRQO\      %<$77251(<%522.6
     PLQLPDOGHFOLQHVLQSK\VLFDOSHUIRUPDQFHRYHUPRQWKV      4$QGP\ILUVWTXHVWLRQIRU\RX'U6DIHULV
     VXEVWDQWLDOO\VXUSDVVLQJDYHUDJHIHPDOHSHUIRUPDQFHIRU       ZKHWKHU\RXKDYHVHHQWKLVGRFXPHQWEHIRUH"
     XSWRHLJKW\HDUVFORVHGTXRWH'R\RXDJUHHRU             $,KDYHVHHQWKLVGRFXPHQWEHIRUH


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                                                             3DJH                                                    3DJH
     4$QGZHUH\RXDZDUHRILWSULRUWRLWVUHIHUHQFH              IHPDOHVSRUWFDQQRWEHEDODQFHGUHJDUGLQJWUDQVJHQGHU
     LQWKLVOLWLJDWLRQ"                                                   LQFOXVLRQIDLUQHVVDQGVDIHW\LQJHQGHUDIIHFWHGVSRUW
     $,GRQ WNQRZWKDW,ZDV                                     ZKHUHWKHUHLVPHDQLQJIXOFRPSHWLWLRQSHULRGFORVHG
     4$QGDUH\RXIDPLOLDUZLWKWKHUROHRIWKH                    TXRWH
     VXSSRUWLQJERG\PHQWLRQHGRQWKHIURQWSDJHLQ                        'R\RXVHHWKDW"
     JRYHUQDQFHRIVSRUWZLWKLQWKH8QLWHG.LQJGRP"                        $,GR
     $%\ORRNLQJDWDOOWKHLUORJRV,FDQQRWVD\WKDW             4$QGGR\RXGLVDJUHHZLWKWKDWFRQFOXVLRQRIWKLV
     ,NQRZWKHPDOOQR                                                  RUJDQL]DWLRQRUWKHVHRUJDQL]DWLRQV"
     4$QGGR\RXKDYHDQ\NQRZOHGJHDVWRZKHWKHU                  $6R,UHDOO\DVZHGLVFXVVHGHDUOLHU, PQRW
    WKHVHDUHRIILFLDOJRYHUQPHQWFKDUWHGFKDUWHUHG                  JRLQJWRH[SUHVVDVDQH[SHUW,GRQ WWKLQN, GEH
    VSRUWLQJJRYHUQLQJERGLHV"                                           DEOHWRH[SUHVVDVDQH[SHUWIDLUQHVVDQGVR,FDQ W
    $,GRQRWKDYHWKDWNQRZOHGJH                               FRPPHQWDQ\IXUWKHU
    4+DYH\RXQRZVWXGLHGWKLVGRFXPHQWZLWKVRPH                4/HWPHDVN\RXWRWXUQWRSDJHQLQHLQ\RXU
    FDUH"                                                                H[SHUWUHSRUWSDUDJUDSK
    $,ZRXOGVD\WKDW,KDYHRQO\ORRNHGDWWKLV                 $2ND\3DUDJUDSK
    GRFXPHQWVXSHUILFLDOO\, PFHUWDLQO\KDSS\WRORRN                 4$WWKHHQGRISDUDJUDSK\RXVWDWHTXRWHD
    WKURXJKLW                                                          SHUVRQ VJHQHWLFPDNHXSDQGLQWHUQDODQGH[WHUQDO
    4,ZLOODVN\RXMXVWDERXWDFRXSOHRISDVVDJHV             UHSURGXFWLYHDQDWRP\DUHQRWXVHIXOLQGLFDWRUVRI
    /HWPHDVN\RXWRWXUQWRSDJHWKUHHRIWKHGRFXPHQW                DWKOHWLFSHUIRUPDQFHDQGKDYHQRWEHHQXVHGLQHOLWH
    $QGWRZDUGVWKHYHU\ERWWRPDQGWKHQH[WWRWKHODVW                 FRPSHWLWLRQIRUGHFDGHV,QPDNLQJWKDWVWDWHPHQWZKHQ
    SDUDJUDSKWKLVILYHRUJDQL]DWLRQVVWDWHVTXRWHRXU             \RXUHIHUWRDSHUVRQ VJHQHWLFPDNHXSZHUH\RX
    ZRUNH[SORULQJWKHODWHVWUHVHDUFKHYLGHQFHDQGVWXGLHV             UHIHUULQJWRWKHTXHVWLRQRIZKHWKHUWKH\KDG;;RU;<
    PDGHFOHDUWKDWWKHUHDUHUHWDLQHGGLIIHUHQFHVLQ                    FKURPRVRPHV"
    VWUHQJWKVWDPLQDDQGSK\VLTXHEHWZHHQWKHDYHUDJHZRPHQ             $6RZKHQ, PPDNLQJWKHVWDWHPHQWJHQHWLFPDNHXS


                                                             3DJH                                                    3DJH
      FRPSDUHGZLWKWKHDYHUDJHWUDQVJHQGHUZRPHQIRU                      , PKHDYLO\UHIHUHQFLQJFKURPRVRPHV6R,JXHVV,ZRXOG
      QRQELQDU\SHUVRQUHJLVWHUHGPDOHDWELUWKZLWKRU                    VD\WKDWLVPRVWO\FRUUHFWZLWKVRPHZLWKSHUKDSV
      ZLWKRXWWHVWRVWHURQHVXSSUHVVLRQ                                    VRPHNQRZQJHQHVEXWPRVWO\FKURPRVRPHV
      'R\RXVHHWKDWODQJXDJH"                                   4<RXZRXOGDJUHHZRXOG\RXQRWWKDWUHVSHFWHG
      $,GR                                                       YRLFHVLQWKHILHOGWDNHWKHYLHZWKDWJHQHWLFVH[LWLV
      4$QGGR\RXGLVDJUHHZLWKWKHFRQFOXVLRQRIWKHVH            DWOHDVWDQLPSRUWDQWGHWHUPLQDQWRIDWKOHWLF
      8.VSRUWLQJERGLHVWKDWWKHODWHVWUHVHDUFKHYLGHQFH                SHUIRUPDQFHGR\RXQRW"
      DQGVWXGLHVQRZPDNHFOHDUWKDWWKHUHDUHUHWDLQHG                   $77251(<%/2&.2EMHFWLRQWRIRUP
      GLIIHUHQFHVLQVWUHQJWKVWDPLQDDQGSK\VLTXHLQ                     7+(:,71(666RWKDW, PVXSSRVHGWR
     QRQELQDU\LQWUDQVJHQGHUZRPHQRUQRQELQDU\SHUVRQV             FRPPHQWWKDWWKHUHDUHSHRSOHLQWKHILHOGZKRVD\WKDW"
     UHJLVWHUHGPDOHDWELUWKZLWKRUZLWKRXWWHVWRVWHURQH"              ,JXHVVZKDW,ZRXOGVD\LVWKHFRQVHQVXVULJKWQRZ
     $77251(<%/2&.2EMHFWLRQWRUHIHUULQJ              DPRQJPHGLFDOSHRSOHDGYLVLQJHOLWHDWKOHWLF
     WRWKLVDVVRPHWKLQJZULWWHQE\WKHJRYHUQLQJERGLHVDV             RUJDQL]DWLRQVZRXOGEHWRPRYHDZD\IURPXVLQJWKDWDVD
     RSSRVHGWRWKHTXDOLW\FRXQFLOWKDWPDNHV                           VXUURJDWH,QWKHSDVWLWZDV7KHUHZHUHFKURPRVRPH
     UHFRPPHQGDWLRQVWRWKHJRYHUQLQJERGLHV                            WHVWVDQGWKHSUREOHPLVWKDWSHRSOHKDYHWKHUHLV
     7+(:,71(667RWKHVWDWHPHQWZULWWHQE\            TXLWHDELWRIYDULHW\LQELRORJ\DQGRIFRXUVHWKH
     ZKRHYHUDFWXDOO\ZURWHLWWKDWHYLGHQFHDQGVWXGLHVRQ              PRPHQW\RXPDNHDUXOH\RXVHHWKHH[FHSWLRQV
     WKHVXEMHFWRIWUDQVJHQGHUSHRSOHPDNHFOHDUDQ\WKLQJ,            %<$77251(<%522.6
     GLVDJUHH                                                           47KHH[FHSWLRQV
     %<$77251(<%522.6                                                 $$QGVR,ZRXOGVD\WKDWDVDQH[SHUW,FDQ W
     4/HWPHDVN\RXWRWXUQWRSDJHVL[XQGHUWKH              FRPPHQWLQWHUPVRI\RXNQRZVRPHVWXG\RIHYHU\ERG\ V
     KHDGLQJTXHVWLRQUHYLHZLVUHFRPPHQGLQJLWVWDWHV                  RSLQLRQRUVRPHVXUYH\%XWDVVRPHERG\ZKRKDVEHHQRQ
     TXRWHDVDUHVXOWRIZKDWWKHUHYLHZIRXQGWKHJXLGDQFH            WKHVHFRPPLWWHHV, YHREVHUYHGWKDWWKDWZDVGLVFDUGHG
     FRQFOXGHVWKDWWKHLQFOXVLRQRIWUDQVJHQGHUSHRSOHLQWR             46RLI\RXSXWDORQJVLGHLQGLYLGXDOVZKRVXIIHU


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                                                   3DJH                                                        3DJH
      IURPDQ\FRQGLWLRQWKDWKDVEHHQLGHQWLILHGDVD                QRWDXVHIXOLQGLFDWRURIDWKOHWLFSHUIRUPDQFH
      GLVRUGHURIVH[XDOGHYHORSPHQWDP,FRUUHFWWKDW\RX           4<RXVD\DWSDUDJUDSKRI\RXUUHSRUW,
      FRQVLGHU\RXUVHOIWRKDYHH[SHUWLVHLQZKDWFRQVWLWXWHV         ZLOOVDYHWKDW,WKLQNWKDWLVDQHZ'HFODUDWLRQDQG
      DGLVRUGHURIVH[XDOGHYHORSPHQW"                               ZHZLOOQRWWDNHWLPHWRGRWKDW
      $,KDYHVRPHH[SHUWLVH$QGWKHWHUPLQRORJ\LV         /HWPHDVN\RXWRORRNDWSDUDJUDSKRI\RXU
      DFWXDOO\GLIIHUHQFHVRIVH[XDOGHYHORSPHQWRUVH[XDO            UHEXWWDOUHSRUW<RXVD\LQSDUDJUDSKWKDWQRQHRI
      GLIIHUHQWLDWLRQRULQWHUVH[DUHWKHWHUPVWKDWDUHPRUH         'RFWRU&DUOVRQ VDUJXPHQWVVXSSRUW+%FDWHJRULFDO
      SRSXODUO\XVHG                                                 EDQRIDOOJLUOVZKRDUHWUDQVJHQGHUIURPDOOJLUOV
      4<RXZRXOGDJUHHZLWKPHZRXOG\RXQRWWKDW           VSRUWVWHDPV
     PDQ\UHVSHFWLYHVRXUFHVXSWRWKHSUHVHQWZRXOGFRQWLQXH       'R\RXVHHWKDW"
     WRUHIHUWRGLVRUGHUVRIVH[XDOGHYHORSPHQW"                   $,GR
     $77251(<%/2&.2EMHFWLRQWRIRUP             4$QG,VKRXOGFRQWLQXH, PVRUU\'RFWRU
     7+(:,71(666RWKHUHZKDW,ZRXOG         &DUOVRQ VVDIHW\DUJXPHQWUHODWHVVROHO\WRFRQWDFWDQG
     VD\WKHUHLVWKDWWKHQHZHUWHUPLQRORJ\KDVQRW        FROOLVLRQVSRUWVDQGWKHSK\VLFDOFKDUDFWHULVWLFV
     KDVQRW\HWSHUPHDWHGEHFDXVHWKHUHKDYHQRWEHHQ              GHYHORSHGGXULQJSXEHUW\SHULRG%\UHIHUULQJWRD
     UHYLVLRQVWRDOOWKHGRFXPHQWVWKDWKDYHEHHQFUHDWHG         FDWHJRULFDOEDQOHWPHDVNWKLV'R\RXDJUHHWKDW
     %<$77251(<%522.6                                            VDIHW\FRQVLGHUDWLRQVFRXOGMXVWLI\RUPD\MXVWLI\
     4+RZDERXWLIZHVD\'6'"                              H[FOXGLQJQDWDOPDOHVZKRH[SHULHQFHGDOORUVLJQLILFDQW
     $'6'LVDUHDVRQDEO\VDIHRU'6'LQWHUVH[LVZKDW      SDUWRIPDOHW\SLFDOSXEHUWDOGHYHORSPHQWIURP
     VRPHSHRSOHGR\HV                                           SDUWLFLSDWLQJLQIHPDOHGLYLVLRQRIFRQWDFWRUFROOLVLRQ
     4:HOOQRWDOO'6'VZRXOGEHFRQVLGHUHGLQWHUVH[       VSRUWVVXFKDVEDVNHWEDOODQGVRFFHU"
     FRQGLWLRQV                                                    $77251(<%/2&.2EMHFWLRQWRIRUP
     &RUUHFW"                                              7+(:,71(666RLIWKHTXHVWLRQLVZRXOG
     $<RXDUHULJKWWKDWVRPHSHRSOHWU\WRSDUVH           ,DQWLFLSDWHDVDQH[SHUWWKDWWKHUHZRXOGEHDVDIHW\


                                                   3DJH                                                        3DJH
      WKRVHWZRWHUPVHYHQ$QGWKHUHLVEXW,WKLQN             H[SODQDWLRQIRUEDQQLQJWUDQVJHQGHUZRPHQIURPWKH
      WKRVHNLQGVRIGLVWLQFWLRQVPLJKWEHRQWKHVFRSHRI            IHPDOHFDWHJRU\WKHQ,ZRXOG,ZRXOGQ W,
      ZKDWZHDUHGLVFXVVLQJ                                         FHUWDLQO\OHWPHWKLQNDERXWZKLFKZD\WRSKUDVHLW
      43UREDEO\VR,IZHSXWRQVLGHLQGLYLGXDOVZKR        ,ZRXOGKDYHDKDUGWLPHFRPLQJXSZLWKDQH[DPSOHZKHUH
      VXIIHUIURPDQ\WKLQJWKDWLVFKDUDFWHUL]HGLQWKHILHOG         ,ZRXOGXVHEHLQJWUDQVJHQGHUDVDVDIHW\FULWHULRQDV
      DVD'6'\RXZRXOGDJUHHZRXOG\RXQRWWKDWJHQHWLF           RSSRVHGWRERG\KDELWXVVL]HRUVRPHRWKHUPRUH
      PDNHXSDQGVSHFLILFDOO\ZKHWKHUWKHLQGLYLGXDOSRVVHVVHV        REMHFWLYHFULWHULRQ
      ;;RU;<FKURPRVRPHVLVDVWDWLVWLFDOO\PHDQLQJIXO              %<$77251(<%522.6
      LQGLFDWRURIDWKOHWLFSHUIRUPDQFH"                              4:HOODQG,GLGQ WVD\DQ\WKLQJDERXWJHQGHU
     $77251(<%/2&.2EMHFWLRQWRIRUP             VWDWXV/HWPHDVNDJDLQ:RXOG\RXDJUHHWKDWVDIHW\
     7+(:,71(666RQRDQGWKHLW V       FRQVLGHUDWLRQVFRXOGMXVWLI\H[FOXGLQJQDWDOPDOHVZKR
     ,JXHVVLWGHSHQGVZKDW\RXPHDQLVZKDWLWFRPHVGRZQ         KDYHH[SHULHQFHGDOORUDVLJQLILFDQWSDUWRIPDOH
     WR6RLI\RXDUHLI\RXDUHVLPSO\VD\LQJZHOOD       W\SLFDOSXEHUWDOGHYHORSPHQWIURPSDUWLFLSDWLQJLQ
     FHUWDLQIUDFWLRQRISHRSOHRIWKHVHFKURPRVRPHVDUH            IHPDOHGLYLVLRQFRQWDFWDQGFROOLVLRQVSRUWVVXFKDV
     JRLQJWREHKDYHWKLVRWKHUFKDUDFWHULVWLFWKHQ           EDVNHWEDOORUVRFFHU"
     PD\EHWKHUHDUHWKRVHNLQGVRIDVVRFLDWLRQV%XWLI\RX       $77251(<%/2&.2EMHFWLRQWRIRUP
     DUHJRLQJWRVD\WKDWLW VFRQQHFWHGWRWKHSRLQWZKHUH        7+(:,71(666R\RX UHVD\LQJWKDWHYHQ
     \RXFRXOGDFWXDOO\XVHRQHRIWKRVHOHW VVD\REVHUYLQJ        LIZHRWKHUZLVHGHFLGHGWKDWLWZRXOGEHRND\IRU
     DFKURPRVRPHDVDQDFWXDOGHWHUPLQDWLRQIRUDJLYHQ            FLVJHQGHUPDOHVWRSOD\ZLWKFLVJHQGHUIHPDOHVZRXOG,
     LQGLYLGXDOWKHQ,ZRXOGVD\QR                               HQYLVLRQWKHUHEHLQJDVDIHW\UHDVRQWREDQWKRVH
     %<$77251(<%522.6                                            FLVJHQGHUPDOHV"
     4,VLW\RXURSLQLRQWKDWDJHQGHULGHQWLW\LWVHOI      %<$77251(<%522.6
     LVDRUXVHIXOLQGLFDWRURIDWKOHWLFSHUIRUPDQFH"          4$OO,DVNHGKDGQRWKLQJWRGRZLWKJHQGHU
     $,WLVP\RSLQLRQWKDWJHQGHULGHQWLW\LWVHOILV       LGHQWLW\'R\RXDJUHHWKDWWKHLQWURGXFWLRQRQWRWKH


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      ILHOGRUWKHFRXUWLQRUKDYHEHHQVSRNHQRILWVFRQWDFW        4,DSRORJL]HLI,DVNHGVRPHWKLQJHDUO\LQWKH
      RUFROOLVLRQVSRUWVLQWKHIHPDOHGLYLVLRQRIQDWDO             PRUQLQJEXWLW VIDVWHUWKDQWU\LQJWRGLJEDFNLQWR
      PDOHVZKRKDYHJRQHWKURXJKDOORUDVLJQLILFDQWSDUWRI        WKHWUDQVFULSW'R\RXKDYHDQ\RSLQLRQDVWRZKHWKHU
      PDOHW\SLFDOSXEHUWDOGHYHORSPHQWFRXOGUDLVHOHJLWLPDWH        LWLVUHDVRQDEOHWRH[FOXGHDQDWDOPDOHZLWKDPDOH
      FRQFHUQVDERXWVDIHW\IRUWKHQDWDOIHPDOHV"                    JHQGHULGHQWLW\IURPDKLJKVFKRROJLUOVEDVNHWEDOO
      $77251(<%/2&.6DPHREMHFWLRQVDVWKH          WHDP"
      SUHYLRXVWZRTXHVWLRQV                                         $77251(<%/2&.2EMHFWLRQWRIRUP
      7+(:,71(666RDQ\SHUVRQZKR VJRQH           7+(:,71(666RDVNWKDWDJDLQDOLWWOH
      WKURXJKDPDOHSXEHUW\ZRXOGWKDWSHUVHPDNHPH              ELWVORZHU
     LQYRNHDVDIHW\FRQFHUQLIWKDW VWKHTXHVWLRQ           %<$77251(<%522.6
     %<$77251(<%522.6                                            4'R\RXKDYHKDYHDQ\RSLQLRQDVWRZKHWKHULWLV
     4&RXOGWKDWLQ\RXUPLQGUDLVHWKHJLYHQVDIHW\        UHDVRQDEOHWRH[FOXGHDQDWDOPDOHZLWKDPDOHJHQGHU
     FRQFHUQV"                                                      LGHQWLW\IURPSDUWLFLSDWLRQLQDJLUOVKLJKVFKRRO
     $6R,ZRXOGQRWWKHZRUGOHJLWLPDWH, PQRW        EDVNHWEDOOWHDP"
     DGGUHVVLQJEXW, PQRWDZDUHRIWKDWLQDQGRILWVHOI         $77251(<%/2&.2EMHFWLRQ
     EHLQJDVDIHW\FRQFHUQ                                        7+(:,71(66,GRQRWKDYHDQH[SHUW
     4<RXVWDWHLQSDUDJUDSKRI\RXUUHEXWWDO            RSLQLRQRQWKDWVXEMHFW
     UHSRUWWKDWTXRWHWUDQVJHQGHUDWKOHWHVDQGZRPHQKDYH        %<$77251(<%522.6
     EHHQFRPSHWLQJLQ1&$$DQGVHFRQGDU\VFKRRODWKOHWLFV          4'R\RXKDYHDSHUVRQDOYLHZ"
     IRUPDQ\\HDUVDWWKLVSRLQW/HWPHDVN\RXLI\RXDUH       $,GRQ WNQRZWKDW,WKHUHLWZRXOGJHWPRUH
     DZDUHRIDQ\LQVWDQFHLQZKLFKQDWDOPDOHVKDYHFRPSHWHG       FRPSOLFDWHGGHSHQGLQJRQFRQWH[W
     LQWKHIHPDOHFDWHJRU\LQDQ\FRQWDFWRUFROOLVLRQVSRUW       4<RXGRQ WKDYHDVLPSOH\HVRUQRSHUVRQDOYLHZ
     LQHLWKHUWKH1&$$RUKLJKVFKRROGLYLVLRQ"                    RQWKDWTXHVWLRQ"
     $77251(<%/2&.2EMHFWLRQWRIRUP             $,GRQ W


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      7+(:,71(666RFDQ,LGHQWLI\                  4$QGGR\RXKDYHDYLHZZKHWKHULWLVUHDVRQDEOH
      WUDQVJHQGHUJLUOVRUZRPHQVSHFLILFDOO\DQGVSHFLILF            WRH[FOXGHDQDWDOPDOHZLWKDIHPDOHJHQGHULGHQWLW\
      LQVWDQFHVRISDUWLFLSDWLRQ",FDQQRW                          IURPSDUWLFLSDWLRQLQDKLJKVFKRROJLUOVEDVNHWEDOO
      %<$77251(<%522.6                                             WHDP"
      4:KDWZDV\RXUEDVLVIRUDVVHUWLQJWKDWVXFK            $77251(<%/2&.2EMHFWLRQWRIRUP
      DWKOHWHVKDYHEHHQFRPSHWLQJLQWKH1&$$DQGVHFRQGDU\          7+(:,71(666RGR,KDYHDYLHZRQ
      VFKRRODWKOHWLFVIRUPDQ\\HDUV"                                SDUWLFLSDWLRQRIDFLVJHQGHUJLUOLQWKHJLUOVFDWHJRU\"
      $77251(<%/2&., PVRUU\,VWKH              6RUU\6D\LWDJDLQ
      TXHVWLRQDERXWFROOLVLRQVSRUWV"%HFDXVH\RXDUH               %<$77251(<%522.6
     TXRWLQJVRPHWKLQJWKDWLVQRWDERXWFROOLVLRQVSRUWV          4,VDLGGR\RXKDYHDYLHZRQZKHWKHULWLV
     $77251(<%522.6/HWPHEUHDNWKDWRXW        UHDVRQDEOHWRH[FOXGHDQDWDOPDOHZLWKDIHPDOHJHQGHU
     7KDQN\RX                                                     LGHQWLW\IURPSDUWLFLSDWLRQLQWKHKLJKVFKRROJLUOV
     %<$77251(<%522.6                                            EDVNHWEDOOWHDP"
     4'R\RXKDYHDYLHZDVWRZKHWKHU,VKRXOGQ W      $77251(<%/2&.2EMHFWLRQWRIRUP
     VD\DYLHZ'R\RXKDYHDQ\LQIRUPDWLRQDVWRZKHWKHU         7+(:,71(666RWKDWLVDWUDQVJHQGHU
     WUDQVJHQGHUDWKOHWHVKDYHEHHQFRPSHWLQJLQWKHZRPHQ V        JLUOJRWLW6RDQGWKHTXHVWLRQLVGR,KDYHD
     GLYLVLRQRI1&$$RUVHFRQGDU\VFKRRODWKOHWLFVLQDQ\          YLHZRQ,DSRORJL]H*REDFN
     FRQWDFWRUFROOLVLRQVSRUWVIRUPDQ\\HDUV"                    %<$77251(<%522.6
     $7KDWLQIRUPDWLRQRQWKHYDOLGLW\LVWKDWWKH\         4,FDQGRLWDJDLQ
     KDYHKDGDFFHVVEHFDXVHWKHUHKDVQRWEHHQDEDQ              $<HVGRLWDJDLQ6RUU\
     4%XWZKHWKHUWKH\KDYHGRQHVR\RXGRQRWKDYH         4'R\RXKDYHDYLHZDVWRZKHWKHULWLV
     DQ\LQIRUPDWLRQ"                                               UHDVRQDEOHWRH[FOXGHDQDWDOPDOHZLWKDWUDQVJHQGHU
     $%XW,FDQQRWSRLQWWRVSHFLILFLQVWDQFHV             LGHQWLW\IURPSDUWLFLSDWLRQLQWKHJLUOVKLJKVFKRRO
     H[DFWO\                                                       EDVNHWEDOOWHDP"


                                                                                        3DJHVWR
                Case: 22-5807
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                                                   3DJH                                                                    3DJH
      $77251(<%/2&.2EMHFWLRQWRIRUP              GHILQLWLRQRUDP,DFWLQJDVDQH[SHUWWRGHILQHWKHVH
      7+(:,71(66$QGLWLVGR,KDYHDYLHZ         ZRUGVDQG,WKLQNZHDUHNLQGRILQWKDWVLWXDWLRQ
      RQH[FOXGLQJDVDQH[SHUWDP,RSLQLQJRQWKDW", P        %<$77251(<%522.6
      QRW, PRSLQLQJDVDVFLHQWLVWRQZKDWWKHGDWDDUH          4%XW, PDVNLQJ\RXDERXW\RXUH[SHUWUHSRUWVLQ
      %<$77251(<%522.6                                             WKHOLWLJDWLRQ<RXPXVWKDYHPHDQWVRPHWKLQJ:KDW
      4'R\RXFRQVLGHUDSROLF\WKDWH[FOXGHVQDWDO           GLG\RXPHDQE\QRQGLVFULPLQDWRU\ZKHQ\RXVXEPLWWHG
      PDOHVZLWKDPDOHJHQGHULGHQWLW\IURPWKHJLUOV                WKLVH[SHUWUHSRUW"
      EDVNHWEDOOWHDPWREHTXRWHGLVFULPLQDWRU\"                   $77251(<%/2&.2EMHFWLRQWRIRUP
      $77251(<%/2&.2EMHFWLRQWRIRUPDQG           7+(:,71(666RZKHQ, PXVLQJWKHZRUG
     VFRSH                                                         QRQGLVFULPLQDWRU\,DPXVLQJLWWRPHDQVRPHWKLQJWKDW
     7+(:,71(666RDVDQH[SHUW, PQRW           LVQ WXVLQJVRPHRWKHULQGLFDWRUZHOO, PUHDOO\
     WDNLQJDSRVLWLRQRQH[FOXGLQJFLVJHQGHUPDOHVIURPWKH        MXVWXVLQJLWLQWKHEURDGHVWVHQVHWRVRPHWKLQJWKDWLV
     IHPDOHFDWHJRU\LI,DQVZHUHGWKDWFRUUHFWO\                 LQFOXGLQJSHRSOH
     %<$77251(<%522.6                                            %<$77251(<%522.6
     40\TXHVWLRQZDVVLPSO\GR\RXFRQVLGHUVXFKD         48VLQJLWLQWKHEURDGHVWVHQVHGLVFULPLQDWLQJ
     SROLF\WREHDGLVFULPLQDWRU\SROLF\"                          EHWZHHQRQHFDWHJRU\DQGDQRWKHULVFRXOGEHDJRRG
     $77251(<%/2&.2EMHFWLRQWRIRUPDQG          WKLQJRUDEDGWKLQJ
     VFRSH                                                         &RUUHFW"
     7+(:,71(666RDUH\RXDVNLQJPHDVDQ        $77251(<%/2&.2EMHFWLRQWRIRUP
     H[SHUWWRGHILQHGLVFULPLQDWLRQ"                               7+(:,71(66$VDQH[SHUW,WKDWLV
     %<$77251(<%522.6                                            ZD\RXWVLGHP\VFRSH%XWVLPSO\DVDQ(QJOLVKVSHDNHU
     4,ZLOOGLUHFW\RXWRSDUDJUDSKRI\RXU             \HVGLVFULPLQDWLRQFRXOGEHJRRGRULWFDQEHEDG\HV
     UHEXWWDOUHSRUW$QGWKHUH\RXZURWH'RFWRU&DUOVRQKDV       %<$77251(<%522.6
     QRWRIIHUHGFRJHQWH[SODQDWLRQIRUZK\DOOHJHGVDIHW\          4$QGIRULQVWDQFHLI\RXDUHZHOO\RXVDLG


                                                   3DJH                                                                    3DJH
      FRQFHUQVEDVHGRQDYHUDJHGLIIHUHQFHVLQVL]HDQG               \RXGRQ WSUHVFULEHWRPLQRUVVREXWLI\RXDUH
      VWUHQJWKVKRXOGEHDGGUHVVHGZLWKLQDQDFURVVWKHERDUG         GHDOLQJZLWKD\HDUROGZKRVD\VDQG\RXFRQFOXGHG,
      H[FOXVLRQRIWUDQVJHQGHUZRPHQDVRSSRVHGWRWDLORUHG           QHHGJHQGHUDIILUPLQJKRUPRQHDQG,ZLOOXVHWKHWHUP
      QRQGLVFULPLQDWRU\SROLFLHV                                     \RXSUHIHULIWKDWLQGLYLGXDO VKRUPRQHVDQGELRORJ\
      'R\RXVHHWKDW"                                       DUHIHPDOHWKHQJHQGHUDIILUPLQJKRUPRQHVDUHJRLQJWR
      $,GR                                                  FRQVLVWDPRQJRWKHUWKLQJVSHUKDSVRIDGPLQLVWHULQJ
      46RXQGHUVWDQGLQJGLVFULPLQDWRU\KRZHYHU\RXGLG       WHVWRVWHURQH
      XQGHUVWDQGLWZKHQ\RXZURWHWKDWGR\RXFRQVLGHUD            &RUUHFW"
      SROLF\WKDWSURKLELWVQDWDOPDOHVZLWKDPDOHJHQGHU            $<HVW\SLFDOO\ZHZRXOGKDYHKDYH
     LGHQWLW\IURPSDUWLFLSDWLQJRQWKHJLUOVEDVNHWEDOOWHDP       4$QGLIWKDWLQGLYLGXDO VELRORJ\DQGKRUPRQHV
     WREHDGLVFULPLQDWRU\SROLF\"                                 HQGRJHQRXVZHUHPDOHWKHQWKHJHQGHUDIILUPLQJKRUPRQHV
     $77251(<%/2&.6DPHREMHFWLRQV               ZRXOGLQFOXGHDPRQJRWKHUWKLQJVHVWURJHQRUHVWURJHQ
     7+(:,71(665LJKW6R, PQRWGHILQLQJ       DQDORJ
     , PQRWGHILQLQJGLVFULPLQDWRU\KHUH, P             &RUUHFW"
     ULJKW6RLI\RXDUHDVNLQJDVDQH[SHUWWRGHILQH            $77251(<%/2&.2EMHFWLRQWRIRUP
     GLVFULPLQDWRU\WKDW,FDQ WGR                               7+(:,71(66,IWKDWSHUVRQKDG
     %<$77251(<%522.6                                            W\SLFDOO\W\SLFDOO\DPDOHKRUPRQHSURILOHULJKW
     4:HOOLI\RXGRQ WNQRZZKDWGLVFULPLQDWRU\           WRPRYHWRZDUGDPRUHIHPLQLQHSURILOHWKDWW\SLFDOO\
     PHDQVZKDWGR\RXPHDQZKHQ\RXUHIHUUHGWRDWDLORUHG        ZRXOGLQFOXGHHVWURJHQVRUVRPHRWKHUDJHQWVWKDWZHUH
     QRQGLVFULPLQDWRU\SROLF\"                                      RWKHUWKDQWHVWRVWHURQH\HV
     $77251(<%/2&.2EMHFWLRQWRIRUP             %<$77251(<%522.6
     7+(:,71(66,JXHVV,KDYHWRFLUFOH          46RVSHDNLQJVFLHQWLILFDOO\DQGQRWLQFLYLO
     EDFNLQLWLDOO\WR,PHDQZHFDQGRWKDWIRUDQ\ZRUG       ULJKWVWHUPVLI,PD\\RXDVDVFLHQWLVWDV\RX
     KHUHULJKWZKHUH,FRXOGKDYHOLNHP\RZQSHUVRQDO           GHFLGHZKLFKUHJLPHQRIKRUPRQHVWRDGPLQLVWHUWRWKLV



                                                                                            3DJHVWR
                Case: 22-5807
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                                                  3DJH                                                         3DJH
      LQGLYLGXDOKDYHWRGLVFULPLQDWHEHWZHHQWKRVHZKRDUH          FDQKDYHWKRVHDFWXDOO\FDQKDYHDVSRUWVFRQWH[W
      HQGRJHQRXVO\PDOHDQGWKRVHZKRDUHHQGRJHQRXVO\IHPDOH        4+DYH\RXGRQHDQ\UHVHDUFKRQWKHLPSDFWRI
      LQGHFLGLQJZKLFKUHJLPHQ\RXSUHVFULEH                       WHVWRVWHURQHVXSSUHVVLRQRQDWKOHWLFSHUIRUPDQFHRUDQ\
      &RUUHFW"                                              PHDVXUHPHQWRIVWUHQJWK"
      $77251(<%/2&.2EMHFWLRQWRWKHIRUP         $6RWKHVHFRQGSLHFHRIWKDWLV,KDYHQRWGRQH
      7+(:,71(66:HKDYHWRPDNHDGHFLVLRQ       DQ\UHVHDUFKWKDWVSHFLILFDOO\XVHGVWUHQJWKDVDQ
      $QGVRLI\RXDUHWU\LQJWRJHWPHWRVD\WKDW                 HQGSRLQWLQP\RZQVWXGLHV7RWKHVHFRQGSLHFHRI
      GLVFULPLQDWLRQFDQEHGHILQHGDVPDNLQJGHFLVLRQV, P         WKRVH,IRUJRWZKDW
      ZLWK\RXDQG\HV                                              4$WKOHWLFSHUIRUPDQFH"
     %<$77251(<%522.6                                           $$WKOHWLFSHUIRUPDQFHWKHUHLWJHWVDPXGGOHG
     42ND\                                                WKLQJ7KHUHVHDUFKWKDW,KDYHGRQHFDQEHDSSOLFDEOH
     /HWPHMXVWUXQGRZQDIHZLWHPVWRPDNHVXUH       LQWKDWFRQWH[W
     <RXKDYHQRWSHUVRQDOO\HQJDJHGLQDQ\UHVHDUFK               4:HOOWKDWLVLI\RXUHQGSRLQWLVKHPDWRFULW
     UHJDUGLQJVSRUWVSK\VLRORJ\KDYH\RX"                        FRXQWWRXVHWKHULJKWWHUP\RX UHVD\LQJWKDWPLJKW
     $, PWU\LQJWRWKLQNLWWKHUH VDQ\WKLQJ,          KDYHLPSOLFDWLRQVIRUDWKOHWLFSHUIRUPDQFH",VWKDW
     GRQ WEHOLHYH,KDYH                                         \RXUSRLQW"
     4<RX\RXUVHOIKDYHQ WSHUVRQDOO\HQJDJHGLQDQ\       $7KDWLVFRUUHFW\HV
     UHVHDUFKRUSXEOLVKHGDQ\SDSHUVWKDW VDFRPSRXQG        4%XW\RXKDYHQRWGRQHDQ\UHVHDUFKLQZKLFKDQ\
     TXHVWLRQ<RX\RXUVHOIKDYHQ WHQJDJHGLQDQ\              PHDVXUHPHQWRIDWKOHWLFSHUIRUPDQFHLVDQHQGSRLQW"
     UHVHDUFKUHODWLQJWRVSRUWVPHGLFLQHRUVSRUWVLQMXULHV      $77251(<%/2&.2EMHFWLRQWRIRUP
     KDYH\RX"                                                     7+(:,71(66$JDLQ,KDYHWRWKLQN
     $,KDYHQRWHQJDJHGLQDQ\UHVHDUFKZLWKUHJDUG       DERXWKRZWRVD\WKDWEHFDXVHVRPHRIWKHSDUWRI
     WRVSRUWVLQMXULHV$QGWKHDQVZHUWRWKHILUVWSDUWRI      WKHSUREOHPLVWKDWSDSHUVWKDWZH UHORRNLQJDWLQFOXGH
     WKDWJHWVDOLWWOHPXGGOHGEHFDXVHVRPHRIWKHSDSHUV         TXLWHDELWRIOLWHUDWXUHRQFRPSRQHQWVWKDWPD\EH


                                                  3DJH                                                         3DJH
      WKDW,KDYHZULWWHQDERXWSK\VLRORJ\DQGWUDQVJHQGHU           DSSOLFDEOHWKDWPD\EHDSSOLFDEOHLQVSRUWV
      SHRSOHFRXOGDSSO\WRVSRUWVPHGLFLQH                         PHGLFLQHZKHWKHULWLVPXVFOHVWUHQJWKDQGPXVFOHVL]H
      4+DYH\RX\RXUVHOIHYHUSDUWLFLSDWHGLQ              RUEORRGFHOOFRXQWVDQGVXFK$QGVRWKDWPRUH
      GHYLVLQJDQ\DWKOHWLFWUDLQLQJUHJLPHVIRULQGLYLGXDOV         H[SDQVLYHO\WKDQP\UHVHDUFKLVLQWKDWFDWHJRU\
      RIHLWKHUVH["                                                 :KHUHDVLI, PWU\LQJWREHIRFXVHGDQGQDUURZWKHQ
      $, YHQRWEHHQLQYROYHGLQGHYLVLQJDQ\WUDLQLQJ       , YHJRWWKRVHWZRVWXGLHVWKHRQHE\5REHUWVDQGWKH
      UHJLPHV                                                       RQHE\+DUSHU$QGP\SDSHUVDUHQRWWKRVH
      4+DYH\RXGRQHDQ\UHVHDUFKZLWKUHODWHGWRPDOH       %<$77251(<%522.6
      SK\VLRORJ\, PVRUU\PDOHSK\VLRORJLFDODGYDQWDJHV        4<RXGRQ WKDYHDQ\LQIRUPDWLRQDERXWQXPEHUVRI
     UHOHYDQWWRDWKOHWLFVEHIRUHGXULQJRUDIWHUSXEHUW\"        FKLOGUHQLQ:HVW9LUJLQLDZKRVXIIHUIURPDQ\'6'GR
     $6RWKHUH,KDYHQRQHRIWKHUHVHDUFKWKDW,      \RX"
     KDYHGRQHWRGDWHKDVEHHQVSHFLILFDOO\ORRSKROHGDV      $1RDV,JXHVV,KDYHWRVD\QRWKHUHLQ
     ZHOO,FDQ WHYHQVD\WKDW6RUHVHDUFKWKDW,KDYH         WHUPVRIDFWXDOVXUYH\VRINLGVLQ:HVW9LUJLQLD,NQRZ
     GRQHZLWKUHJDUGWRREVHUYLQJSK\VLRORJ\DPRQJP\             VRPHEURXJKWVWDWLVWLFV:HVW9LUJLQLDLVELJHQRXJK
     VXEMHFWVFDQEHDSSOLFDEOHWRVSRUWVPHGLFLQHLQVRPH         WKDW\RXZRXOGSUHGLFWWKDWWKHVWDWLVWLFVZRXOG
     FRQWH[W                                                      JHQHUDOO\DSSO\EXWWKDWLVDVVPDUWDV,FRXOGJHWRQ
     42QZKDWSXEOLFDWLRQVLIDQ\RI\RXUVGR\RX        WKHVXEMHFW
     EHOLHYHUHODWHWRPDOHSK\VLRORJLFDODGYDQWDJHVLQ            4$QG\RXDUH,WKLQN\RXHIIHFWLYHO\DQVZHUHG
     DWKOHWLFVEHIRUHGXULQJRUDIWHUSXEHUW\"                    WKLVEXWWREHFOHDUIRUWKHUHFRUG\RXDUHQRWRSLQLQJ
     $:HOOMXVWRIIWKHWRSRIP\KHDGZLWKRXW           WKDW%3-VXIIHUVIURPDQ\'6'"
     ORRNLQJDWLWH[KDXVWLYHO\,KDYHDSDSHURQ                 $77251(<%/2&.2EMHFWLRQWRWKHIRUP
     KHPDWRFULWZKLFKLVWKHR[\JHQFDUU\LQJFHOOVLQ             7+(:,71(666RWKHKHUHWRRZHJHW
     SHRSOH,QWUDQVJHQGHUSHRSOH,KDYHDSDSHURQ              LQWRLQWRDQHYROYLQJDUHDRIGHILQLWLRQVZKHUH\RX
     WHVWRVWHURQHOHYHOVZLWKGLIIHUHQWWUHDWPHQWV6RWKRVH      FRXOGHQYLVLRQLIVRPHRIWKHVSHFLILFJHQHWLFVWKDWDUH


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                                                                  3DJH                                                            3DJH
     DVVRFLDWHGZLWKEHLQJWUDQVJHQGHUEHFDPHLGHQWLILHG                       ZDVPDUNHGIRULGHQWLILFDWLRQ
     ZRXOGZHLQWKHPHGLFDOZRUOGVWDUWWRODEHOWKRVH                         
     LQVWDQFHVDV'6'",W VSRVVLEOH6RWKDWLVMXVW                    %<$77251(<%522.6
     %<$77251(<%522.6                                                        41RZ'U6DIHUWREHIDLU,VHHWKDW\RXDUH
     47KXVIDUQRVXFKLQGLFDWRUVKDYHEHHQ                             WKHODVWOLVWHGDXWKRURQDIDLUO\OHQJWK\OLVWRI
     LGHQWLILHG                                                                DXWKRUV$QGPD\EHWKDWGRHVDQGPD\EHWKDWGRHVQ W
     &RUUHFW"                                                          KDYHVLJQLILFDQFHLQWHUPVRIKRZLQGHSWK\RXU
     $,FDQ WHYHQ,FDQ WHYHQVD\WKDW                            LQYROYHPHQWLQWKLVSDSHUZDV/HWPHDVN:DVWKLVD
     GHILQLWLYHO\,WLVDQDUHDRIDFWLYHFRQYHUVDWLRQLQ                     SDSHURIZKLFK\RXKDGVRPHVLJQLILFDQWLQSXW"
    WHUPVRILQWHUPVRIERDUGHUVHWWLQJLQWKHPHGLFDO                   $,KDGVLJQLILFDQWLQSXW,FDQWHOO\RXWKDWLQ
    FRPPXQLW\ULJKWQRZ                                                      WKHPHGLFDODQGVFLHQWLILFFRPPXQLW\WKHILUVWDXWKRU
    4+RZHYHU,WKLQNP\TXHVWLRQLVHDVLHU<RX UH                  W\SLFDOO\GLGWKHZRUNDQGWKHODVWDXWKRULVWKHVHQLRU
    QRWRIIHULQJDQRSLQLRQDQ\RSLQLRQWKDW%3-VXIIHUV                  DXWKRUDQGVXSHUYLVRU$QGWKHPLGGOHDXWKRUVDUH
    IURPDQ\'6'DUH\RX"                                                    DFWXDOO\WKHRQHVZKHUH\RX
    $6R,GRQ WKDYHVRWREHFOHDUILUVW,GRQ W                 42ND\
    NQRZWKH%3- VVSHFLILFPHGLFDOFRQGLWLRQ,ZDVQ W                  ,ZDVDZDUHRIWKHVLJQLILFDQFHRIWKHILUVW
    EURXJKWLQWRHYDOXDWHWKDWDQG,KDYHQRW6R,FDQ W                   ,ZDVQRWDZDUHRIWKHVLJQLILFDQFHRIWKHODVW2ND\
    DFWXDOO\UHQGHUDQRSLQLRQRQDQ\RIWKHPHGLFDOVWRU\                    7KDWLVKHOSIXO$OORIWKHDXWKRUVKHUHLI, P
    WKHUH                                                                    FRUUHFWDUHFROOHDJXHVZLWKLQWKH0RXQW6LQDL&OLQLFRU
    4$QG\RXGRQ WNQRZZKHWKHUDQ\FKLOGRUW\SLFDO                  GLYLVLRQWKDW\RXVXSHUYLVH
    ;<FKURPRVRPHSDUGRQPH\RXGRQ WNQRZZKHWKHUDQ\                   $P,FRUUHFW"
    FKLOGZLWK;<FKURPRVRPHVZKRVXIIHUVIURPD'6'KDV                      $$OORIWKHDXWKRUVZHUHLQWKRVHSRVLWLRQVDW
    HYHUVRXJKWWRFRPSHWHLQIHPDOHDWKOHWLFVLQ:HVW                        VRPHSRLQWZKLFKLVKRZZHFDPHWRJHWKHUWRZULWHWKH
    9LUJLQLDXSXQWLOWKHSUHVHQW"                                            SDSHU


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      7+(:,71(666RWKHTXHVWLRQLVGR,                      GDWHG$QGOHWPHVHHLI,FRUUHFWO\XQGHUVWRRG
      NQRZRIDQLQVWDQFHRIDVSHFLILFLQGLYLGXDOZLWK;<                      ZKDWWKHSDSHULVDERXW,IZHLQWKLVSDSHU\RX
      FKURPRVRPHVDQGD'6'FRQQHFWHGWRWKDWZKRKDV                           FRPSDUHWKHHOLJLELOLW\RISDWLHQWVZKRDUHVHHNLQJ
      VSHFLILFDOO\SDUWLFLSDWHGLQVSRUWVLQ:HVW9LUJLQLD"                     YDJLQRSODVW\XQGHUWKH:3$7+6WDQGDUGRI&DUHFULWHULD
      %<$77251(<%522.6                                                       YHUVXVWKHFULWHULDDFWXDOO\XVHGE\\RXUFOLQLF
      4:KRKDVVRXJKWWRSDUWLFLSDWHLQIHPDOH                          $P,FRUUHFW"
      DWKOHWLFVLQ:HVW9LUJLQLD"                                               $<HV
      $5LJKWVRZKRKDVVRXJKWWRSDUWLFLSDWHLQ                       4$QGMXVWVRZH UHFOHDUYDJLQRSODVW\LVD
     IHPDOHVSRUWVLQ:HVW9LUJLQLD,FDQQRWJLYH\RXD                     VXUJHU\WKDWLVRQO\GRQHRQELRORJLFDOPDOHQDWDOPDOH
     VSHFLILFLQVWDQFHWKDWLVWUXH,FDQVD\WKRXJK                     LQGLYLGXDOV
     NQRZLQJWKHSHUFHQWDJHRISHRSOHZKRKDYH'6'VDQGWKH                   &RUUHFW"
     VL]HRIWKH6WDWHRI:HVW9LUJLQLDWKDW\RXZRXOG                        $77251(<%/2&.2EMHFWLRQWRIRUP
     SUHGLFWLWZRXOGEHWUXHEXWWKDWZRXOGEHDJDLQDV                     7+(:,71(666RDYDJLQDOSODVW\LVWKH
     VPDUWDV,FRXOGEHRQRQHVXEMHFW                                      JHQLWDOUHFRQVWUXFWLRQVXUJHU\WRFUHDWHDYDJLQDLQD
     $77251(<%522.6/HWPHPDUNDV6DIHU                    SHUVRQ:KHQZHDUHXVLQJLWDVDJHQGHUDIILUPLQJ
     ([KLELWZKDWZDVSUHYLRXVO\GHVLJQDWHGDV7DEDQ                  VXUJHU\WKHQZHDUHXVLQJLWRQSHRSOHZKRKDYHZKDW
     DUWLFOHE\'U6DIHUDQGRWKHUVHQWLWOHGWKH0RXQW6LQDL                 ZRXOGEHFRQVLGHUHGW\SLFDOO\PDOHDQDWRP\LQWKDW
     3DWLHQW&HQWHU3UHRSHUDWLYH&ULWHULD0HDQWWR2SWLPL]H                   FLUFXPVWDQFHEXWWKHVXUJHU\FRXOGDOVREHXVHGRQ
     2XWFRPHVDUH/HVVRID%DUULHUWR&DUHWKDQ:3$7+62&                  VRPHERG\ZLWKW\SLFDOO\IHPDOHDQDWRP\UHTXLULQJ
     &ULWHULD%HIRUH7UDQVJHQGHU6SHFLILF6XUJHU\$QG\HV                  FRQVWUXFWLRQIRUZKDWHYHUWKHLUFLUFXPVWDQFHPD\EH
     WKDWLVDPRXWKIXO                                                      %<$77251(<%522.6
                                                47KDWVDLGWKHVXEMHFWVGLVFXVVHGLQWKLVSDSHU
      :KHUHXSRQ([KLELW'U6DIHU$UWLFOH                   DUHDOOLQGLYLGXDOVZKRDUHVHHNLQJWKHVXUJHU\IRU



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                                                   3DJH                                                         3DJH
      JHQGHUDIILUPLQJSXUSRVHVUDWKHUWKDQIRULQVWDQFH            %<$77251(<%522.6
      EHFDXVHRIDVHYHUH'6'                                        4,WLVQRWWKHFDVHLVLWWKDWHYHU\SDWLHQW
      &RUUHFW"                                               ZKRZDVTXDOLILHGIRUVXUJHU\E\\RXUFOLQLFKDGEHHQ
      $7KHSHRSOHLQWKLVFLUFXPVWDQFHDUHDOOSHRSOH         GHPRQVWUDWHGWRVDWLVI\WKH:3$7+FULWHULDIRU
      VHHNLQJWKHVXUJHU\IRUJHQGHUDIILUPLQJSXUSRVHVDQG           HOLJLELOLW\"
      QRWWKRVHIRU'6'RUIRURWKHUSXUSRVHVUHFRQVWUXFWLRQ         $,WLVVRWKHUHZHUHWKHSDWLHQWVMXVWDV
      RIYDJLQDVIRUDFFLGHQWVDQGFDQFHUV,PHDQWKHUHLV          VWDWHGZKRTXDOLILHGE\RXUFULWHULDEXWQRWE\:3$7+
      TXLWHDUDQJH                                                  FULWHULDWKHUHLVVXFKDJURXSWKDWH[LVWHGH[DFWO\
      4$QGWKHUHVXOWDVVXPPDUL]HGLQWKHDEVWUDFWLV        \HV
     WKDWRISDWLHQWVZKRZHUHLGHQWLILHGDVVXEMHFWVRI        42ND\
     WKLVVWXG\TXDOLILHGIRUVXUJHU\LPPHGLDWHO\EDVHG         $QGVSHFLILFDOO\DFFRUGLQJWR\RXUFULWHULD
     RQWKH0RXQW6LQDLFULWHULD                                   WKUHHWLPHVDVPDQ\SDWLHQWVDUHHOLJLEOHDFFRUGLQJWR
     &RUUHFW"                                              :3$7+FULWHULD"
     $<HV                                                  $77251(<%/2&.2EMHFWLRQWRIRUP
     4:KHUHDVRQO\RIWKRVHZRXOGKDYHTXDOLILHG         7+(:,71(66,W VQRWVRPXFKWKHWKUHH
     EDVHGRQWKHFULWHULDVHWRXWLQWKH:3$7+6WDQGDUGRI         WLPHV,WLVWKHSDFH6RPHRIWKLVUHODWHVWRSDFH
     &DUH9HUVLRQ"                                                DQGHIILFLHQF\
     $<HV                                                  %<$77251(<%522.6
     47KUHHWLPHVDVPDQ\LQGLYLGXDOVTXDOLILHGIRU         4'U6DIHU\RXUFOLQLFDFFRUGLQJWRWKLVSDSHU
     LPPHGLDWHVXUJHU\XQGHUWKHVWDQGDUGXVHGE\\RXUFOLQLF       DSSURYHGIRUVXUJHU\SDWLHQWVZKRZHUHDWWKDWWLPH
     DVRSSRVHGWRWKHVWDQGDUGVVHWRXWLQWKH:3$7+               QRWHOLJLEOHDFFRUGLQJWR:3$7+FULWHULD
     6WDQGDUGRI&DUH"                                              &RUUHFW"
     $7KDW VFRUUHFW                                       $77251(<%/2&.2EMHFWLRQWRIRUP
     4:KHQGLG\RXUFOLQLFEHJLQDSSURYLQJVXUJHU\IRU      7+(:,71(661R6RWKHUHDOLW\LVZH


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      SDWLHQWVZKRDUHQRWHOLJLEOHXQGHUWKH:3$7+6WDQGDUG          VWLOOOLYHLQWKHXQLYHUVHWKDWHYHU\ERG\HOVHOLYHVLQ
      RI&DUH"                                                        VRZHDUHVRWKLVSDSHUSURSRVHVDPRUHDSSURSULDWH
      $77251(<%/2&.2EMHFWLRQWRIRUP              DQGDPRUHSDWLHQWDSSURSULDWHPRGHOEXWLWLVQRWWKH
      7+(:,71(66<HDKVRWREHFOHDUWKH          FDVHWKDWZHDFWXDOO\VHQWSHRSOHWRVXUJHU\ZKRZRXOG
      SDWLHQWVLQRXUSURJUDPTXDOLI\E\ERWKFULWHULD7KH          QRWEHDSSURYHGE\:3$7+
      SDSHULVVLPSO\SRLQWLQJRXWWKDWRXUSURFHVVLVPRUH           %<$77251(<%522.6
      HIILFLHQWDQGSDWLHQWIULHQGO\EXWLW VQRWWRVD\WKDW        4:HOOZHUH\RXSHUVRQDOO\LQYROYHGLQGHYHORSLQJ
      ZHZHUHQRWLQIRUPHGE\:3$7+FULWHULDDOVR$QG,             DQGDSSURYLQJ0RXQW6LQDL VFULWHULD"
      WKLQN,QHHGWRH[SDQGHYHQDOLWWOHELWIXUWKHU3DUW         $/HWPHORRNDWWKHUROHKHUH<HV,GHILQLWHO\
     RIWKHSRLQWRIWKHSDSHULVWKDWLWLQFOXGHVLW           KDGDUROHLQGHYHORSLQJRXUFULWHULD
     LQFOXGHVHIIRUWVWRNQRZEHQHILWWRWKHSDWLHQWWKDWHQG       4/HWPHDVN\RXWRORRNDWSDJHFROXPQRQH
     XSEHLQJWLPHFRQVXPLQJDQGWKHUHIRUHDUHDZDVWHRI           FDOO\RXUDWWHQWLRQTXLWHDELWWRWDEOHRQH$QGLI,
     HQHUJ\LQFRQWUDVWWRRXUDSSURDFKZKLFKLVDFWXDOO\          XQGHUVWDQGFRUUHFWO\WDEOHRQHLVGHVLJQHGWRKHOSXV
     PRUHFRQVHUYDWLYHWKDQ:3$7+ VDSSURDFK:HDFWXDOO\          FRPSDUHDQGFRQWUDVWZKDWLVUHTXLUHGE\WKH:3$7+
     ORRNDWPRUHWKLQJVEXWZHGRVRLQDPRUHHIILFLHQW           FULWHULDIRUVXUJLFDOUHDGLQHVVYHUVXVWKH0RXQW6LQDL
     IDVKLRQDQGWKDWLVDFWXDOO\WKHSRLQWRIWKHSDSHU           FULWHULDIRUVXUJLFDOUHDGLQHVV
     %<$77251(<%522.6                                            &RUUHFW"
     4:HOOOHWPHFODULI\RQHWKLQJ\RXMXVWVDLG         $7KDWLVFRUUHFW\HV
     $FFRUGLQJWRWKLVSDSHULWLVQRWWKHFDVHLVLWWKDW       4$QGWKH:3$7+UHTXLUHVDOHWWHURIVXSSRUWIURP
     HYHU\SDWLHQWIRUZKRP\RXUFOLQLFDSSURYHGVXUJHU\ZDV        WKHSDWLHQW VKRUPRQHSURYLGHUFRQILUPLQJWKHKRUPRQH
     DWWKDWWLPHTXDOLILHGDFFRUGLQJWRWKH:3$7+FULWHULD"        UHJLPHQDQGWKHOHQJWKRIWLPHRIKRUPRQHWKHUDS\
     $77251(<%/2&.2EMHFWLRQWRIRUP             &RUUHFW"
     7+(:,71(66:DLW6D\LWDJDLQ&RXOG       $7KDWLVKRZLWLVZULWWHQ\HV
     \RXUHSHDWWKDW"                                               4$QGIDUWKHUGRZQXQGHUPHQWDOKHDOWKLWVD\V


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                                                   3DJH                                                           3DJH
      WKDWLWUHTXLUHVWZROHWWHUVRIVXSSRUWIURPPHQWDO             EXW,ZLOOTXRWHLWWKHPRVWVLJQLILFDQWRIWKH0RXQW
      KHDOWKSURYLGHUV"                                               6LQDLFULWHULDLVWKHUHPRYDORIWKHUHTXLUHPHQWRIWZR
      $,WGRHV\HV                                          LQGHSHQGHQWSV\FKLDWULFHYDOXDWLRQV$QGWKDWLVLQ
      4$QGLWJLYHVRQSDJHDGHILQLWLRQZKRLVD         FROXPQWZRRISDJHDWWKHHQGRIWKHILUVWIXOO
      TXDOLILHGPHQWDOKHDOWKSURIHVVLRQDOGRZQWRZDUGVWKH           SDUDJUDSK7KHILUVWIXOOSDUDJUDSKFROXPQWZRWKH
      ERWWRPRIWKHVHFRQGFROXPQ, PJRLQJWRDVN\RXWR           ILQDOVHQWHQFH
      ILQGWKDWODQJXDJHLI\RXFRXOG"                                $, PLQZKLFKFROXPQ"6RUU\
      $8KKXK \HV \HV                                     4&ROXPQWZR
      4<RXVD\PDQ\GHILQHOLFHQVHGPHQWDOKHDOWK            $2KFROXPQWZR6RUU\
     SURYLGHUVKDYLQJRQHRUPRUHRIWKHIROORZLQJ                  47KHILUVWIXOOSDUDJUDSKILQDOVHQWHQFH
     FUHGHQWLDOVWKH/&6:/LFHQVHG&OLQLFDO6RFLDO:RUNHU        $7KHPRVWVLJQLILFDQWGHOHWLRQIURPWKH0RXQW
     ,VWKDWULJKW"                                        6LQDLFULWHULDLVWKHUHPRYDORI\HV,VHHWKDW
     $/&6:LV/LFHQVHG&OLQLFDO6RFLDO:RUNHU\HV         4$QG\RXVWDWHGDWWKHWRSRIFROXPQRQHRQWKH
     4$QG0''2WKDWLVDPHGLFDOGRFWRUDGRFWRURI      VDPHSDJHWKDWTXRWHILQGLQJWZRPHQWDOKHDOWK
     ZKDWGRHVWKH2VWDQGIRU"                                 SURYLGHUVWRGRLQGHSHQGHQWHYDOXDWLRQVLV
     $2VWHRSDWK\                                           WLPHFRQVXPLQJH[SHQVLYHDQGGLIILFXOW
     47KHUHZHJR$SV\FKLDWULVWD3K'\HVWKDW      5LJKW"
     ZDVVXUSULVLQJWRPH6XUHO\QRWMXVWDQ\3K'"              $-XVWWU\LQJWRILQGWKDWH[DFWZRUGLQJ<HV
     $5LJKWWKDW VUHIHUULQJWRD3K'FOLQLFDO           46RLQ\RXURZQFOLQLF VSUDFWLFHZKLOH:3$7+
     SV\FKRORJLVW                                                  FDOOVIRUWZROHWWHUVIURPLQGHSHQGHQWPHQWDOKHDOWK
     42ND\                                                 SURYLGHUV\RXFRQFOXGHGWKDWEHFDXVHLWZDVKDUGWRJHW
     2UDQ\0DVWHU VOHYHOIRUDERYHFRXQVHOLQJ            WZRLQGHSHQGHQWHYDOXDWLRQV\RXUFOLQLFZRXOGVLPSO\
     GHJUHHV%XWWKHQ\RXJRRQWRVD\WKDWLQ\RXU               GLVSHQVHZLWKWKHUHTXLUHPHQWRIDQ\LQGHSHQGHQWPHQWDO
     HYDOXDWLRQEDVHGRQ62&FULWHULD7KDW VWKH:3$7+          KHDOWKUHYLHZ


                                                   3DJH                                                           3DJH
      FULWHULD"                                                       &RUUHFW"
      $7KDW VWKH:3$7+FULWHULD\HV                        $77251(<%/2&.2EMHFWLRQWRIRUP
      4:HLQFOXGHGWKHDERYHGHJUHHVZLWKWKHIROORZLQJ       7+(:,71(661RWKDWLVQRWTXLWH
      H[FOXVLRQVPHQWDOKHDOWKSURYLGHUVZLWKORZHUWKDQ             FRUUHFW3DUWRIWKHGLIIHUHQFHIRURXURSHUDWLRQLV
      0DVWHU VOHYHOWUDLQLQJDQGXQOLFHQVHGPHQWDOKHDOWK            WKDWZHKDYHZHKDYHH[SHUWLVHLQKRXVHDQGZHKDYH
      SURYLGHUVRIDQ\W\SH13VDQG3$VZLWKRXWPHQWDOKHDOWK        LI\RXQRWLFHORRNLQJDWWKHWDEOHDORQJHUOLVW
      FUHGHQWLDOVSK\VLFLDQVZKRDUHQRWSV\FKLDWULVWVRU            RIUHTXLUHPHQWVDFWXDOO\WKDQ:3$7+GRHVZKLFKLQFOXGHV
      PHQWDOKHDOWKSURYLGHUVZKRDUHVWLOOLQWUDLQLQJ'R          DVRFLDOZRUNFRPSRQHQW$QGWKDWDFWXDOO\LVWKH
      \RXVHHWKDWODQJXDJH"                                          WKDW VWKHVRXUFHRIDFWXDOO\\HWDVHFRQGSDLURIH\HV
     $,GR                                                 DVLWZHUH$QGVRLWLVQRWWKHFDVHWKDWZHDUH
     46RXQGHUWKHGHILQLWLRQXVHGLQ\RXUFOLQLF\RX      WKDWZH UHSURYLGLQJOHVVRIDVFUHHQZHDUHDFWXDOO\
     \RXUVHOIGRQRWTXDOLI\DVDPHQWDOKHDOWK                    SURYLGLQJPRUHRIDVFUHHQ,W VMXVWWKDWZHDUH
     SURIHVVLRQDO                                                  RSHUDWLQJLQDPRUHHIILFLHQWPDQQHUIRUWKHSDWLHQW
     &RUUHFW"                                              %<$77251(<%522.6
     $7KDWLVFRUUHFW                                      4/HW VIOLSEDFNWRFROXPQRQH$IHZPRUHOLQHV
     46RDWQRSRLQWKDYH\RXUHOLHGRQ\RXURZQ            GRZQLWVD\VIRURXUDQDO\VLVSDWLHQWVZKRRWKHUZLVHPHW
     RSLQLRQIRUDQ\PHQWDOKHDOWKHYDOXDWLRQIRU                   :3$7+62&FULWHULDUHFHLYHGRQHOHWWHURIVXSSRUWIURP
     HOLJLELOLW\"                                                   WKH&706PHQWDOKHDOWKSURYLGHU5LJKW"<RXZRXOG
     $7KDW VFRUUHFW                                       DJUHHZLWKPHZRXOG\RXQRWWKDWWKHRQO\OHWWHURI
     42ND\                                                 VXSSRUWIRUDPHQWDOKHDOWKSURYLGHUUHTXLUHGE\\RXU
     ,MXVWZDQWHGWRXQGHUVWDQGWKDWFOHDUO\6R         SURWRFROVLVIURPDPHQWDOKHDOWKSURYLGHUZLWKLQ\RXU
     EDFNWRPHQWDOKHDOWKGDWD,QVD\VLQWKH:3$7+FROXPQ       HPSOR\PHQW"
     WKDWWZROHWWHUVRIVXSSRUWIURPPHQWDOKHDOWKSURYLGHUV       $77251(<%/2&.2EMHFWLRQWRQRWUHDGLQJ
     DUHUHTXLUHG,QWKLVSDSHU\RXVWDWHRQWKHQH[WSDJH       WKHFRPSOHWHVHQWHQFH



                                                                                         3DJHVWR
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                                                   3DJH                                                         3DJH
      7+(:,71(666R\HV6RPD\EHOHWPH           $,GR
      MXVWVKRZPHWKHZRUGLQJDJDLQ                             4$QG\RXXQGHUVWDQGZHOOGRFXPHQWHGJHQGHU
      %<$77251(<%522.6                                             G\VSKRULDWREHUHIHUULQJWRDJHQHUDOGLDJQRVLVXQGHU
      4<HV)RURXUDQDO\VLVDQG, PEHJLQQLQJDW        WKH'609FULWHULD"
      SHUKDSVHLJKWOLQHVGRZQ                                       $6RIRU:3$7+ VSXUSRVHV,WKLQNWKH\DUH
      $2XUDQDO\VLV\HV                                     VSHFLILFDOO\UHIHUULQJWRWKH'60GLDJQRVLV
      43DWLHQWVZKRRWKHUZLVHPHW:3$7+62&FULWHULD        4,Q\RXUFOLQLF\RXDUHZLOOLQJWRDSSURYHIRU
      UHFHLYHGRQHOHWWHURIVXSSRUWIURPWKH&706PHQWDO             WKLV, PQRWVXUHKRZWRDFWXDOO\VD\WKHZRUG
      KHDOWKSURYLGHUGRLQJWKHDVVHVVPHQWSHULRGFORVHG            YDJLQRSODVW\VXUJHU\LQGLYLGXDOVZKRGRQRWVXIIHUIURP
     TXRWHG                                                        SHUVLVWHQWZHOOGRFXPHQWHGJHQGHUG\VSKRULD
     'R\RXVHHWKDW"                                      &RUUHFW"
     $,GR\HV                                            $77251(<%/2&.2EMHFWLRQWRWKHIRUP
     4$VWKHWHUPLVJHQHUDOO\XQGHUVWRRGLQ\RXU           7+(:,71(666RLI\RXORRNWKHOLVWRI
     ILHOGD&706PHQWDOKHDOWKSURYLGHULVQRWLQGHSHQGHQW        WKHFULWHULDIRU0RXQW6LQDLWKHQWKHSKUDVLQJLVD
     OHWPHXVHWKHFRUUHFWWHUPLQRORJ\LVQRWDQ              FRQILUPDWLRQWKDWWKLVSHUVRQIRUDOOLQWHQWVDQG
     LQGHSHQGHQWPHQWDOKHDOWKSURYLGHU"                            SXUSRVHVWKDWWKLVSHUVRQLVWUDQVJHQGHUDQGZLWKWKH
     $6RLQDFOLQLFVHWWLQJ,GRQ WNQRZWKDWWKH          ODQJXDJHDQGHYROXWLRQZHXVHWKDWZRUGJHQGHUG\VSKRULD
     ZRUGLQGHSHQGHQWDFWXDOO\KDVWKHVDPHPHDQLQJDVLQ           DQGZHDOVRXVHWKHQHZZRUGWKDWZLOOUHSODFHJHQGHU
     VRPHRWKHUFRQWH[W6RHYHQD:3$7+UHTXLUHPHQWLVQ W         G\VSKRULDJHQGHULQFRQJUXHQFHDVWKHWHUPV,
     QHFHVVDULO\WKDWLWZRXOGEHDQXQDIILOLDWHGSHUVRQRU,       UHIHUHQFHGEHIRUHWUDQVJHQGHU
     GRQ WNQRZZKDW\RXZHUHWKLQNLQJLQGHSHQGHQWPLJKWPHDQ       %<$77251(<%522.6
     KHUHVR,GRQ WZDQWWRSXWZRUGVLQ\RXUPRXWKRU            4$QGWKHHIIHFWRIWKDWLV\RXGRQRWUHTXLUHD
     FRQMHFWXUHWRRPXFK%XWZKHQZHVD\LQGHSHQGHQWZH           GLDJQRVLVRIJHQGHUG\VSKRULDXQGHUWKHWHUPVRI'609
     MXVWPHDQWZRGLIIHUHQWSHRSOH                                &RUUHFW"


                                                   3DJH                                                         3DJH
      4%XWLQIDFWWKHOHWWHURIVXSSRUWIURPWKH&706       $77251(<%/2&.2EMHFWLRQWRIRUP
      PHQWDOKHDOWKSURYLGHUWKDW\RXUHIHUWRLQWKLV                7+(:,71(666RWKH\HDKLIZHKDG
      SDUDJUDSKDWWKHWRSRIFROXPQRQHRISDJHDFWXDOO\         RXUGUXWKHUVZKLFKLV,WKLQN\RXDUHDVNLQJDQGZH
      SOD\VQRUROHLQ\RXUGHWHUPLQDWLRQDVWRZKHWKHUWKLV          GLGQRWDQGZHZHUHQ WVLPSO\VDWLVI\LQJDWKLUG
      SDWLHQWLVHOLJLEOHIRUVXUJHU\                                SDUW\SD\RUZRXOGZHLQVLVWRQWKDWIRUPDO'609
      &RUUHFW"                                               FULWHULDIRUDSHUVRQZHRWKHUZLVHNQRZWREH
      $77251(<%/2&.2EMHFWLRQWRIRUP              WUDQVJHQGHU":HZRXOGQRW
      7+(:,71(666R\HV, PFRQIXVHGE\           %<$77251(<%522.6
      WKHTXHVWLRQ                                                   4$QGLQIDFW\RXGRQRW
     %<$77251(<%522.6                                            &RUUHFW"
     4, PFRQIXVHGE\WKHWH[W7KHILQDOSDUDJUDSK        $77251(<%/2&.2EMHFWLRQWRIRUP
     VHQWHQFHLQWKDWSDUDJUDSKUHDGVWKHVHOHWWHUVRI          7+(:,71(66:HOODVDSUDFWLFDO
     VXSSRUWZHUHXVHGWRVDWLVI\WKLUGSD\RUUHTXLUHPHQWVWR       PDWWHUOLNH,VDLGZHOLYHLQDXQLYHUVHZKHUHZHHQG
     FRYHUVXUJHU\DQGZHUHQRWSDUWRIWKH&706DVVHVVPHQW"        XSGRLQJERWKZKDWZHVXJJHVWLVWKHQHFHVVDU\DSSURDFK
     $2K\HDKWKDW VDJRRGSRLQW7KHOLWHUDO           DQGZHHQGXSEHFDXVHZHVWLOOOLYHLQWKHXQLYHUVH
     OHWWHULVEHFDXVHZHDUHDOOLQKRXVHWKHRSLQLRQRIWKH       WKDWZHOLYHLQVDWLVI\LQJWKHRWKHUDSSURDFKHYHQ
     SHUVRQLVRIFRXUVHLPSRUWDQWDQGVRWKHVFUHHQWDNHV        WKRXJKZH UHVXJJHVWLQJWKDWLW VFXPEHUVRPH
     SODFH%XWWKHQHHGWRFUHDWHWKHEXUHDXFUDWLFRI         %<$77251(<%522.6
     FUHDWLQJDVSHFLILFOHWWHULVRQHRIWKHEXUGHQVWKDWZH       4'U6DIHU\RXWHVWLILHGHDUOLHUWKDWLQIDFW
     DUHVXJJHVWLQJFRXOGEHUHPRYHG                               LQSDWLHQWV\RXUFOLQLFGHWHUPLQHGWKH\ZHUHVXUJHU\
     4,QWDEOHRQHOHWPHILQGWKLV8QGHUPHQWDO         HOLJLEOHHYHQWKRXJKWKH\GLGQRWVDWLVI\WKH62&
     KHDOWK:3$7+62&UHTXLUHVTXRWHSHUVLVWHQWZHOO           FULWHULDOLVWHGLQFROXPQRQHRIWDEOHRQH"
     GRFXPHQWHGJHQGHUG\VSKRULD                                   $5LJKW6RWKH\DUHQRWVRWKH\ZRXOGEH
     'R\RXVHHWKDW"                                      WKH\WKHRUHWLFDOO\ZRXOGEHHOLJLEOHZLWKRXWKDYLQJ


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                                                         3DJH                                                              3DJH
      VDWLVILHGWKHVRPHRIWKRVHVSHFLILF:3$7+FULWHULD          $:HOOLWLVWKHFLUFXPVWDQFHWKDWVRPHSHRSOH
      WKDWZHGLVFXVVHG%XWLQSUDFWLFHQRERG\ZHQWWR               PRUHVRRXWVLGHRI1HZ<RUNVRPHWUDQVJHQGHUSHRSOH
      VXUJHU\ZLWKRXWFRYHULQJERWKVHWVRIFULWHULD                  VWLOOGRQRWKDYHDFFHVVWRFDUHIRUWRJHQGHU
      4,VQ WWKHSUHFLVHUHVXOWVUHSRUWHGE\WKLVSDSHU        DIILUPLQJFDUHDQGGRJHWVRPHRIWKHLUWUHDWPHQWE\
      WKDWSDWLHQWVZHUHGHHPHGVXUJHU\DSSURYHGZKRGLG            DOWHUQDWLYHPHDQV$QGLIWKHUHLVDQLQVLVWHQFHRQD
      QRWTXDOLI\XQGHU:3$7+FULWHULD"                                GRFXPHQWHGPRQWKFRQWLQXRXVKRUPRQHWKHUDS\
      $%XW,JXHVVWKHERWWRPOLQHRIWKHSDSHULVWKDW        UHTXLUHPHQWWKHQWKRVHSHRSOHPLJKWQRWEHDEOHWREH
      LIZHIROORZHGRXURXUUXOHVDORQHZHZRXOG                 DSSURYHGIRUVXUJHU\
      DFWXDOO\FRYHUPRUHGHWDLOVDQGEHPRUHFRQVHUYDWLYHLQ          4,QHHGWRDVN\RXWRFODULI\ZKDW\RXPHDQE\
     RXUDSSURDFKLIDORQJHUOLVWRIFULWHULDDQGZHZRXOG          REWDLQLQJE\DOWHUQDWHPHDQV"
     GRVRPRUHTXLFNO\7KDW VDOOWKHSDSHUVD\V,W             $:HKDYHSHRSOHJHWWLQJKRUPRQHVIURPLQWHUQHW
     GRHVQ WVD\WKDWZHKDYHWKDWZHKDYHDFWLYHO\              SURYLGHUV:HKDYHSHRSOHLQDSSURSULDWHZHOO,
     GHILHGWKHH[LVWLQJXQLYHUVHDQGVHQWSHRSOHWRVXUJHU\         DSRORJL]H,GRQ WZDQWWRPDNHDYDOXHMXGJPHQWWKHUH
     ZLWKRXWFRYHULQJWKHFULWHULDWKDWDUHJHQHUDOO\EHLQJ          EXWZHKDYHSHRSOHJHWWLQJKRUPRQHVIURPIULHQGVRU
     XVHGE\GRFWRUV                                                FRQQHFWLRQVRIWKHLUVWKLQJVRXWVLGHWKHV\VWHP
     4$QGE\WKHZD\WKHVXUJHU\ZH UHWDONLQJDERXW       46R\RXKDYHVRPHSHRSOHFRPHWR\RXZKRKDYH
     YDJLQRSODVW\LQWKHFRQWH[WZKHUHLWLVEHLQJXVHGIRU         HIIHFWLYHO\VHOIGLDJQRVHGDQGVHOISUHVFULEHG
     JHQGHUDIILUPLQJSXUSRVHVLQYDULDEO\LQFOXGHV                  $77251(<%/2&.2EMHFWLRQ
     FDVWUDWLQJWKHLQGLYLGXDO                                      %<$77251(<%522.6
     &RUUHFW"                                               4KRUPRQHWKHUDSLHV"
     $77251(<%/2&.2EMHFWLRQWRIRUPDQG           $77251(<%/2&.2EMHFWLRQWRIRUP
     IRXQGDWLRQ                                                     7+(:,71(666RZKHQZHDUHVHHLQJ
     7+(:,71(666RDYDJLQRSODVW\LVD             SHRSOHIRUVXUJHULHVWKHQLWLVQRORQJHUDPDWWHURI
     JHQLWDOUHFRQVWUXFWLRQVXUJHU\ZKLFKLQWKLVFRQWH[WLV        VHOIGLDJQRVLVEHFDXVHZHVHHWKHPRXUVHOYHVZLWKRXU


                                                         3DJH                                                              3DJH
     WDNLQJWKHH[LVWLQJW\SLFDOO\W\SLFDOPDOHJHQLWDOLD          LQWHUQDOWHDP%XWWKHUHDUHSHRSOHZKRKDYH
     DQGUHFRQILJXULQJLWLQWRW\SLFDOO\IHPDOHJHQLWDOLD             VHOISUHVFULEHGWKHLUKRUPRQHVRUREWDLQHGWKHPE\
     $QGLQWKDWLQWKHSURFHGXUHWKHWHVWHVDUHUHPRYHG          QRQFRQYHQWLRQDOPHDQVWKDWSDUW\HV
     %<$77251(<%522.6                                               %<$77251(<%522.6
     47KH\ UHQRWUHFRQILJXUHG"                                4$QGZKHQSHRSOHFRPHLQZKRKDYHREWDLQHG
     $7KH\DUHQRWUHFRQILJXUHG                               KRUPRQHVE\QRQFRQYHQWLRQDOPHDQVDQGWDNHQWKHPZLWKRXW
     4/HWPHDVN\RXFROXPQRQHLWVD\VDERXW            SUHVFULSWLRQQHFHVVDULO\\RXFKRVHWRUHPRYHWKH
     WZRWKLUGVRIWKHZD\GRZQDWWKHHQGRIWKHSDUDJUDSK           UHTXLUHPHQWIRUPRQWKVSURSHUO\SUHVFULEHGFRQWLQXRXV
     WKDWEHJLQVPHGLFDOUHTXLUHPHQWVIRUWKH0RXQW6LQDL              KRUPRQHWKHUDS\UDWKHUWKDQLQVLVWLQJWKDWWKHSDWLHQWV
    &706",ZDQWWRGLUHFW\RXURSLQLRQ\RXUDWWHQWLRQ          XQGHUJRFRQWURORIKRUPRQHWKHUDS\IRUPRQWKVEHIRUH
    WRWKHILQDOVHQWHQFH                                           \RXRSHUDWHRQWKHP"
    $6RZKLFKSDUDJUDSKFROXPQRQH                         $77251(<%/2&.2EMHFWLRQWRIRUP
    4&ROXPQRQHWKHSDUDJUDSKWKDWEHJLQVKDOIZD\           7+(:,71(666RWRFODULI\DJDLQWKHVH
    GRZQPHGLFDOUHTXLUHPHQWV"                                      DUHZHDUHSURSRVLQJWKDWWKLVZRXOGEHWKH
    $<HV                                                    SURWRFRO,QSUDFWLFHZHKDYHQRWEHHQDEOHWRGR
    41RZOHW VMXPSWRWKHHQG7KH0RXQW6LQDL            WKLVWKDWLVZHKDYHKDGWRGRERWK%XWLQRXU
    FULWHULDDOVRUHPRYHGWKHPRQWKFRQWLQXRXVKRUPRQH            H[SHULHQFHDVDSURJUDPZHGRQ WVHHDQ\EHQHILWWRD
    WKHUDS\UHTXLUHPHQWIRUWKHYDJLQRSODVW\ZKLFK                   VXSHUYLVHGDVXSHUYLVHGUHJLPHQWKDWLVZHDUHQRW
    FRPSOLFDWHVPDWWHUVIRUSHRSOHZKRKDYHUHFHLYHGKRUPRQH         , OOMXVWOHDYHLWWKHUH
    WKHUDS\IURPQRQPHGLFDOSURYLGHUV                              %<$77251(<%522.6
    'R\RXVHHWKDWODQJXDJH"                               4:3$7+LQWDEOHRQHUHTXLUHVWKDWDOOSV\FKLDWULF
    $,GR                                                   V\PSWRPVEHTXRWHZHOOFRQWUROOHG
    4([SODLQWRPHWKHUHIHUHQFHIRUSHRSOHZKRKDYH         &RUUHFW"
    UHFHLYHGKRUPRQHWKHUDS\IURPQRQPHGLFDOSURYLGHUV"             $7KH\XVHWKDWODQJXDJH\HV



                                                                                                3DJHVWR
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                                                   3DJH                                                         3DJH
      4$QGWKHODQJXDJHXQGHUWKH&706FROXPQLVUDWKHU       4'U6DIHU\RXWHVWLILHGHDUOLHUDQG,WKLQN
      GLIIHUHQW$PRQJRWKHUWKLQJVLWVD\VQRVXLFLGH               , PXVLQJWKHZRUGWKDW\RXXVHGWKDWLI\RXUFOLQLFKDG
      DWWHPSWLQWKHODVWVL[PRQWKV'R\RXVHHWKDW"               LWVGUXWKHUVWKH\ZRXOGEHIROORZLQJRUPDNLQJGHFLVLRQV
      $/HWPHILQGLW:H UHLQWKHWDEOHULJKW"            VWULFWO\EDVHGRQWKHFULWHULDWKDWDUHODLGRXWLQWKLV
      4:HDUHLQWKHPHQWDOKHDOWKVHFWLRQXQGHU&706         SDSHU([KLELWXQGHUWKHKHDGLQJRI0RXQW6LQDL
      FROXPQ"                                                         &706
      $<HV                                                   &RUUHFW"
      41RVXLFLGHDWWHPSWLQWKHODVWVL[PRQWKV%XW        $<HV
      LIWKHSDWLHQWWULHGWRFRPPLWVXLFLGHVHYHQPRQWKVDJR        4$QGFDQ,LQIHUIURPWKDWWKDW\RX\RXUVHOI
     WKDW VRND\"                                                   GRQ WYLHZWKH:3$7+62&DVVHWWLQJRXWVFLHQWLILFDOO\
     $77251(<%/2&.2EMHFWLRQWRIRUP             HVWDEOLVKHGEHVWSUDFWLFHVEXWUDWKHUUHFRPPHQGDWLRQVRQ
     7+(:,71(666RWKHSRLQWKHUHDQGWKH         ZKLFK\RXXVHGLIIHUHQW"
     GLVWLQFWLRQLVWKDWWKH:3$7+FULWHULDDUHWRRYDJXH          $77251(<%/2&.2EMHFWLRQWRIRUP
     DQGVRZKDW\RXDUHREVHUYLQJZLWKWKH0RXQW6LQDL             7+(:,71(661R,ZRXOGQRWVD\WKDW
     FULWHULDLVWKH\ UHPXFKPRUHJUDQXODU$QGUDWKHUWKDQ       6R62&VHWVRXWWKHJXLGHOLQHVDVWKLQJVZHUH
     OHDYLQJVRPHWKLQJWRVRPHVXEMHFWLYHLQWHUSUHWDWLRQZH         XQGHUVWRRGLQDQGDQGZHKDYHOHDUQHG
     GHILQHVRPHRIWKHVSHFLILFVWRPDNHLWFOHDUHURQZKDW        ZH YHOHDUQHGDQGWKLQJVKDYHHYROYHGVLQFHWKHQLQ
     WKHJXLGHOLQHVVKRXOGEH                                      WHUPVRIWKHFDUHRIWUDQVJHQGHUSHRSOH
     %<$77251(<%522.6                                            %<$77251(<%522.6
     4<RXUHIHUKHUHLQ\RXUJXLGHOLQHWRQRVXLFLGH        4'LG\RXKDYHDQ\SDUWLFLSDWLRQLQWKH
     DWWHPSWLQWKHODVWVL[PRQWKV,IDSDWLHQWKDV              GHYHORSPHQWRIWKH62&JXLGHOLQHV"
     HQWHUWDLQHGVXLFLGDOWKRXJKWVEXWPDGHQRDWWHPSWLQWKH       $,KDGYHU\PLQLPDOSDUWLFLSDWLRQ,KHOSHG
     ODVWVL[PRQWKVGLGWKDWSDWLHQWSRWHQWLDOO\VDWLVI\          UHYLHZVRPHDUWLFOHVWKDWLQIRUPHGWKRVHJXLGHOLQHV
     WKH0RXQW6LQDLFULWHULD"                                      47KRVHJXLGHOLQHVGLG\RXKDYHDQ\


                                                   3DJH                                                         3DJH
      $6RWKDWNLQGRIGHFLVLRQZRXOGEHDWWKH               IDPLOLDULW\ZLWKWKHSURFHVVRIKRZWKH\ZHUHEHLQJ
      GLVFUHWLRQRIWKHUHYLHZLQJPHQWDOKHDOWKSURIHVVLRQDO         GUDIWHG"
      WKHSV\FKLDWULVWRUWKHSV\FKRORJLVWDQGVR\RXFDQ            $, PWU\LQJWRWKLQNLI,FDQVD\WKLQJV
      FHUWDLQO\HQYLVLRQGLIIHUHQWFLUFXPVWDQFHV6RHYHQ            XVHIXOO\,ZDVQRWFORVHHQRXJKWRWKHSURFHVVWKDWZH
      JRLQJEDFNWR\RXUH[DPSOHRIVHYHQPRQWKV\RXFRXOG           ZRXOGZDQWWKDW,ZRXOGZDQWWRVWDUWFRPPHQWLQJRQ
      HQYLVLRQWKDWVRPHWKLQJOLNHWKDWPLJKWEHFRQVLGHUHG          4'R\RXNQRZZKHWKHUWKH\DGGUHVVHGLVVXHVRQ
      GHSHQGLQJXSRQWKHSHUVRQWRRXQVWDEOHHYHQWKRXJKWKH\        ZKLFKRSLQLRQVZLWKLQWKHGUDIWLQJFRPPLWWHHGLIIHUHG"
      WHFKQLFDOO\PHWFULWHULD7KLVLVQ WMXVWDFKHFNER[         $,FDQ WFRPPHQWRQ62&:HDUHOLWHUDOO\
      ,WLVPRUHDJXLGHOLQH$QGVLPLODUO\WR\RXUSRLQW           ZULWLQJ62&QRZ
     DERXWDVXLFLGDOLGHDWLRQWKHUHDUHGLIIHUHQWWLHUVRI        4$QGRQWKDWDUHWKHUHLVVXHVWKDWWKH62&LV
     WKHP$QG,ZRQ WFODLPWREHDQH[SHUWRQWKH                DGGUHVVLQJRQZKLFKRSLQLRQVVLJQLILFDQWO\GLIIHU"
     VSHFLILFVWKHUHEXWP\PHQWDOKHDOWKSURIHVVLRQDOVDUH        $<HV
     PRUHFRQFHUQHGDERXWVRPHRIWKRVHWKDQRWKHUV                46RLW VQRWWKDWHYHU\DVSHFWRIWKHJXLGHOLQHV
     $77251(<%522.67DNHDEUHDN                 DUHXQDQLPRXVO\DJUHHGE\HYHU\PHPEHU"
     9,'(2*5$3+(57KHFXUUHQWWLPHUHDGV           $77251(<%/2&.2EMHFWLRQWRIRUP
     SP(DVWHUQ6WDQGDUG7LPH                               7+(:,71(666RZLWKPHGLFDOJXLGHOLQHV
     2))9,'(27$3(                                                  LQJHQHUDOWKHUHLVQ WWKDWXQDQLPLW\ZRXOGQ WEHD
                                     WKLQJ7KH\ UHUHIHUUHGWRDVFRQVHQVXVGRFXPHQWV
      :+(5(8321$6+257%5($.:$67$.(1                           UDWKHUWKDQXQDQLPRXVGRFXPHQWV
                                     %<$77251(<%522.6
     219,'(27$3(                                                   4$QGZKDWWKDWWHOOVXVLVWKDWWKHUHLVWKDW
     9,'(2*5$3+(5:HDUHEDFNRQWKHUHFRUG       UHDVRQDEOHSHRSOHGLIIHURQDWOHDVWVRPHDVSHFWVRI
     7KHFXUUHQWWLPHLVSP(DVWHUQ6WDQGDUG7LPH           ZKDWLVVHWIRUWKLQWKHGRFXPHQW"
     %<$77251(<%522.6                                            $77251(<%/2&.2EMHFWLRQWRIRUP


                                                                                        3DJHVWR
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      7+(:,71(66,QDOOJXLGHOLQHV                 LQYROYHGDVDUHVXOWRIJHQGHUDIILUPLQJVXUJHULHV
      LQFOXGLQJWKHVHPHPEHUVRIWKHFRPPLWWHHHYHQGLIIHULQ        SHUIRUPHGE\\RXUFOLQLFLQWKHODVW\HDU"
      WHUPVRIKRZWKLQJVDUHIUDPHGDQGZKHQFRQVHQVXVLV            $6RGR,NQRZVRPHRIWKHILQDQFLDOHOHPHQWV"
      REWDLQHGEXWQRWXQDQLPLW\                                    4&RUUHFW
      %<$77251(<%522.6                                             $6R,GRNQRZVRPHRIWKHILQDQFLDOHOHPHQWVEXW
      4+RZPDQ\JHQGHUSHUIRUPLQJVXUJHULHVRUJHQGHU         QRWKLQJWKDWWKHKRVSLWDOZRXOGDOORZPHWRVKDUH
      DIILUPLQJVXUJHULHVZHUHSHUIRUPHGLQ\RXUFOLQLFLQ            4<RXUFRXQVHOFDQGHVLJQDWHLWDVFRQILGHQWLDO
      "                                                           ODWHURQVRLWGRHVQ WEHFRPHSXEOLFEXW\RXDUH
      $,QDOOWKHUHZHUHDFFRUGLQJWRWKH          REOLJHGWRDQVZHUWKHTXHVWLRQ
     1HZ<RUN7LPHVDERXWWRWDOVXUJHULHVSHUIRUPHGDW       $77251(<%/2&., PQRW
     0RXQW6LQDLKRVSLWDOVLQFOXGLQJHYHU\WKLQJZHGR6R         %<$77251(<%522.6
     WKDWZRXOGQ WMXVWEHYDJLQRSODVW\7KDWZRXOGLQFOXGH        4, PHQWLWOHGWRXQGHUVWDQG\RXUILQDQFLDO
     FKHVWUHFRQVWUXFWLRQVXUJHULHVUHYLVLRQVRIROGHU             LQWHUHVWLQWKHDUHDRI\RXUWHVWLPRQ\
     VXUJHULHVHWFHWHUD                                          $77251(<%/2&.:HDUHQRWUHSUHVHQWLQJ
     4:HOO\RXTXRWHWKH1HZ<RUN7LPHV:KHUHGLG        KLPLQWKHFRQWH[WRIDQ\OHJDOGLVSXWHZLWK0RXQW
     WKH\JHWWKHLQIRUPDWLRQ"                                      6LQDL
     $,VXSSRVHWKHVRXUFHVLVXV                          $77251(<%522.6,DPHQWLWOHGWR
     4<RXEHOLHYHWKDWQXPEHUWREHDSSUR[LPDWHO\           XQGHUVWDQGWKHH[SHUW VILQDQFLDOLQWHUHVW$QG,
     DFFXUDWH"                                                      VXJJHVWWR\RX&RXQVHOWKDW\RX GUDWKHUKDYHPH
     $,WKLQNWKDW VULJKW                                 TXHVWLRQVDVNHGKHUHZKHUH\RXFDQGHVLJQDWHLWDV
     4,GRQ WWUXVWWKH1HZ<RUN7LPHVEXW\RXKDYHD      FRQILGHQWLDOWKDQDWWULDOLQDSXEOLFFRXUWURRP
     SDVV$QGQRZPD\RUPD\QRWKDYHEHHQDIIHFWHGE\       $77251(<%/2&.,W VQRWXSWRPH
     &29,'LQWHUPVRISDWLHQWVSUHVHQWLQJDQGZDQWLQJ              $77251(<%522.6<RXFDQFRQIHULI\RX
     VXUJHU\+DVWKHUHEHHQDFOHDUWUHQGLQQXPEHUVRI           ZDQWEHFDXVHWKDWZRXOGEHWKHDOWHUQDWLYH,I\RX


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      VXUJHULHVSHUIRUPHGE\\RXUFOLQLFRYHUWKHODVWILYH           ZDQWWRVWHSRXWDQGFRQIHUZLWK\RXUZLWQHVV\RX
      \HDUV"                                                          VKRXOGGRVR
      $77251(<%/2&.2EMHFWLRQWRIRUP              $77251(<%/2&.,W VQRWXSWRPHWRVD\
      7+(:,71(666RWKHUHLVGHILQLWHO\DQ          ZKDWKHFDQDQGFDQ WVD\LQFRQWUDYHQWLRQZLWKDQ
      LQFUHDVHLQWKHQXPEHURIVXUJHULHVDW0RXQW6LQDLRYHU         DJUHHPHQWZLWKKLVHPSOR\HUDQGVR,WKLQNLI\RXZDQW
      WKHSDVWILYH\HDUV8QIRUWXQDWHO\H[SHFWDWLRQLVWKH         WROLNHREWDLQOLNHD3URWHFWLYH2UGHU\RXNQRZZLWK
      FKDOOHQJH:HRSHQHGWKHSURJUDPLQVRURXJKO\           KLP
      WKRVHILYH\HDUV$QGFHUWDLQO\WKHILUVWIHZ\HDUV            $77251(<%522.6:HKDYHD3URWHFWLYH
      ZHUHTXLHWHUDVWKHUHSXWDWLRQJUHZ,QQXPEHUV          2UGHULQSODFH&RXQVHO
     ZHUHGRZQEHFDXVHZHKDGWRGLYHUWUHVRXUFHVWRWDNLQJ         $77251(<%/2&.,NQRZ, PQRW
     FDUHRISHRSOHZLWK&29,'2XUJURXSLQFOXGLQJP\VHOI       UHSUHVHQWLQJKLPLQWKDWFDSDFLW\WKRXJK6RLI\RX
     OLWHUDOO\GURSSHGZKDWZHZHUHGRLQJIRUDSHULRGRI           ZDQWWRLQWHUIDFHZLWKKLVDWWRUQH\WKURXJK0RXQW6LQDL
     WLPHWRJREHFRPH&29,'KRVSLWDOHPSOR\HHVDQGVRWKHUH       WKHQ\RXFDQEXW,GRQ WKDYHDQDWWRUQH\FOLHQW
     ZDVDGLSWKHUHLQDVDOLWWOHELWRIDUHERXQG           UHODWLRQVKLSZLWKKLPIRUSXUSRVHVRIDQ\HPSOR\PHQW
     HOHPHQWWRLW                                                 GLVSXWHV
     %<$77251(<%522.6                                            $77251(<%522.6$UH\RXLQVWUXFWLQJWKH
     4$UH\RXDEOHWRJLYHPHDQ\DYHUDJHWRWDO             ZLWQHVVQRWWRDQVZHU"
     UHFHLSWVRI\RXUFOLQLFRUWKHKRVSLWDODVDZKROHDQG         $77251(<%/2&.1R, PQRW
     DVVRFLDWHGSK\VLFLDQVIURPJHQGHUDIILUPLQJVXUJHULHV          $77251(<%522.6$UH\RXUHIXVLQJWR
     SHUIRUPHGZLWKLQ"                                         DQVZHU"
     $, PVRUU\VD\WKDWDJDLQ                            7+(:,71(66,ZRXOGQ WEHDEOHWR
     4/HWPHMXVWDVNWKLVDJDLQ'R\RXKDYHDQ\          DQVZHUZLWKRXWLQFOXGLQJWKHKRVSLWDOODZ\HUV
     NQRZOHGJHDVWKHWRWDODVWRWKHWRWDOUHFHLSWVRI         %<$77251(<%522.6
     \RXUFOLQLFRUWKHZLGHUKRVSLWDODQGSK\VLFLDQV               4&DQ\RXWHOOPH"


                                                                                        3DJHVWR
                Case: 22-5807
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                                                   3DJH                                                         3DJH
      $77251(<75<217KLVLV'DYH7U\RQ, P        UHFHLYHVIRUSDWLHQWVZKRDUHVHHNLQJJHQGHUDIILUPLQJ
      VRUU\                                                      VXUJHU\LQWKHFOLQLF"
      $77251(<%522.6*RDKHDG                      $:HGRQ WFKDUDFWHUL]HLWWKDWZD\7KHUH VD
      $77251(<75<210D\,MXVWDOVRVD\WKDW        WKHUH VDZLGHUDQJHRIUHLPEXUVHPHQWVRUODFNRI
      ,WKLQNLIWKHZLWQHVVLVQRWZLOOLQJWRGLVFORVHKLV           UHLPEXUVHPHQWVDFURVVPHGLFLQH$QGJHQGHUDIILUPLQJ
      ILQDQFLDOLQWHUHVWKHUHWKDWWKDWZRXOGEHJURXQGVWR          FDUHLQFOXGHVTXLWHWKDWHQWLUHUDQJHDFWXDOO\IURP
      GLVTXDOLI\KLPDVDZLWQHVVZKLFKRQEHKDOIRIWKH             PHQWDOKHDOWKZKLFKLVXQGHUUHLPEXUVHGWRWKH
      VWDWH,ZRXOGOLNHO\SXUVXH6R,ZRXOGUHVSHFWIXOO\           VXUJHULHVZKLFKDUHZKHUHWKHUH VPRUHPRQH\
      UHTXHVWWKDWKHDQVZHUWKHTXHVWLRQ                            4, YHEHHQZDLWLQJWRKHDUWKHIOLSVLGHRIWKDW
     $77251(<%/2&.'DYHRQZKDWEDVLVLV         $6R\HVVRZHKDYHWKDWVR,GRQ WWKLQN,
     WKDWJURXQGVWRKHKDVGLVFORVHGHYHU\WKLQJUHTXLUHG       FRXOGJLYH,ZRXOGQ WHYHQZHUH,DOORZHGE\WKH
     E\WKHUXOHV<RX UHDVNLQJIRUKHKDVQRILQDQFLDO       KRVSLWDOWRJLYH\RXWKHVSHFLILFV,GRQ WNQRZWKDW,
     LQWHUHVWLQWKLVOLWLJDWLRQ                                   ZRXOGEHDEOHWRGRWKDWRQDSHUSDWLHQWEDVLV
     $77251(<%522.6:HGRQ WQHHGWRDUJXH        4&DQ\RXWHOOPH\RXUWRWDOSHUVRQDOLQFRPHLQ
     WKHPRWLRQULJKWQRZ7KHPRWLRQVHHPVOLNHO\WKH            IURPLQDQ\ZD\UHODWHGWR\RXUZRUNLQ
     PRWLRQZLOOEHEULHIHGEXWZHGRQ WZHJRWQR-XGJH       FRQQHFWLRQZLWK\RXUHPSOR\PHQWDW0RXQW6LQDL"
     KHUHZH UHQRWJRLQJWREHGHFLGLQJ                      $6RLVWKLVVRPHWKLQJWKDW, PDQVZHULQJ"
     $77251(<%/2&.,I\RXZDQWWRILOHD          $77251(<%/2&., PVRUU\FRXOG\RX
     VXESRHQDDVDWKLUGSDUW\VXESRHQDIRUWKDWLQIRUPDWLRQ        UHVWDWHWKHTXHVWLRQ"
     ZLWKD&RXUW2UGHUWKDQ\RX UHIUHHWRGRVR+HLV          7+(:,71(66+H VDVNLQJIRUP\
     DSSHDULQJKHUHDVDQH[SHUWZLWQHVVRQKLVH[SHUW              \RX UHDVNLQJIRUP\VDODU\"
     WHVWLPRQ\6R\RXKDYHSOHQW\RIGLVFRYHU\WRROVWR           %<$77251(<%522.6
     REWDLQWKDWLQIRUPDWLRQ$QGZH UHQRWKLVFRXQVHOIRU        4, PDVNLQJIRU\RXUWRWDOLQFRPHLQDQ\ZD\
     WKDW                                                          LQLQDQ\ZD\DVVRFLDWHGZLWKWKHFOLQLFDW


                                                   3DJH                                                         3DJH
      $77251(<%522.6,GRKDYHGLVFRYHU\            0RXQW6LQDL"
      WRROVLQFOXGLQJDVNLQJKLPTXHVWLRQVDWWKLV                   $6RZH UHUXQQLQJLQWRVR, PVLPSO\RQ
      GHSRVLWLRQ, YHDWWHPSWHGWRGRVR<RXKDYHQRW             VDODU\EXWWKHVSHFLILFVRIWKDWDUHDOVRVRPHWKLQJ
      LQVWUXFWHGKLPQRWWRDQVZHU7KHZLWQHVVKDVUHIXVHG          ZKHUH,ZRXOGQHHGWRLQFOXGHWKH0RXQW6LQDLODZ\HUV
      WRDQVZHU7KHUHFRUGLVFOHDU                                EHFDXVHWKDW VSDUWRIWKHLUSUDFWLFHDQG,ZRXOGKDYH
      %<$77251(<%522.6                                             WRGHIHUWRWKHP
      4/HWPHDVN\RXDERXWSHUVRQDOO\'RHV\RXURZQ        4<RXGHFOLQHWRDQVZHUWKHTXHVWLRQDERXW\RXU
      LQFRPHRUDQ\ERQXV\RXUHFHLYHGHSHQGRQDQ\SDUWRI           RZQSHUVRQDOLQFRPH"
      WKHRYHUDOOUHYHQXHVRI\RXUSODQ"                              $<HV
     $,WGRHVQRW                                          $77251(<%522.6,ZRQ WWDNHWLPHWR
     4$QGGRHV\RXUSHUVRQDOLQFRPHFRQVLVWVWULFWO\        VSHDNXSRQLWEXW,ZLOOREMHFW
     RIDVDODU\RUDOVRDVDODU\SOXVIHHVDVVRFLDWHGZLWK         %<$77251(<%522.6
     VXUJHULHVSHUIRUPHG"                                           4,UHDGLQVRPHGRFXPHQWWKDW\RXUVSRXVHLVDQ
     $([FOXVLYHO\DVDODU\                                 HPSOR\HHRI3DUH[HOLI, PSURQRXQFLQJWKDWFRPSDQ\
     4$QG\RXULQFRPHGHSHQGVLQQRZD\RQKRZPDQ\         FRUUHFWO\
     VXUJHULHV\RX\RXUVHOISHUIRUP"                               ,VWKDWVWLOOWKHFDVH"
     $7KDWZHOO,GRQ WSHUIRUPVXUJHULHV, PQRW      $<HV
     DQHQGRFULQRORJLVW                                            4$QGGRHVWKDWFRPSDQ\GHULYHDQ\UHYHQXHVIURP
     43DUGRQPH                                            WKHVDOHVWHVWLQJFOLQLFDOWULDOVRIDQ\
     $%XWWKDW VULJKWLW VQRWUHYHQXHEDVHG             SKDUPDFHXWLFDOWKDWLVXVHGWRVXSSUHVVSXEHUW\RULV
     4,W VQRWUHYHQXHEDVHGLQDQ\ZD\"                    XVHGDVDFURVVVH[KRUPRQH"
     $,QDQ\ZD\7KDW VULJKW                            $,GRQ WNQRZWKHDQVZHU3DUH[HOLVDYHU\
     47KDWLVKHOSIXO'R\RXKDYHDQ\XQGHUVWDQGLQJ       ODUJHEDFNRIILFHRUJDQL]DWLRQVXSSRUWLQJFOLQLFDO
     DVWRWKHDYHUDJHUHYHQXHVSHUSDWLHQWWKDW\RXUFOLQLF        UHVHDUFKZLWKPDQ\FOLHQWV$QGVR\RXFDQHQYLVLRQ


                                                                                        3DJHVWR
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                                                  3DJH                                                         3DJH
      VRPHFRQQHFWLRQEXULHGLQWKHUHEXW,GRQ WNQRZ              7+(:,71(666RERWKRIWKHSDSHUV
      VSHFLILFV                                                     UHIHUHQFHUHYLHZVZLWKODUJHUELEOLRJUDSKLHVWKDW
      4)DLUHQRXJK                                          UHIHUHQFH\HWRWKHUSDSHUVWKDWVXSSRUWWKHVWDWHPHQW
      $77251(<%522.6/HWPHKDYH               $QGZKHQZH UHWDONLQJDERXWZKDW VLQIRUPLQJWKH
      %<$77251(<%522.6                                            VWDWHPHQWRIFRXUVHLVQRWOLPLWHGWRWKHVSHFLILF
      4/HWPHDVN\RXWRWXUQWRSDUDJUDSKLQ\RXU        SDSHUVUHIHUHQFHGVRWKDW VSDUWRIWKHUHDVRQZK\,
      H[SHUWUHSRUWDQGWKHUHLQWKHILUVWVHQWHQFH\RXZULWH       JDYHWKDWH[DPSOHIRUH[DPSOHWKHHQGRFULQHVRFLHW\ V
      DOWKRXJKWKHGHWDLOHGPHFKDQLVPVDUHXQNQRZQWKHUHLVD       IRUPDOVWDWHPHQWVRQWKHSURMHFWZKLFKLVDFRQVHQVXV
      PHGLFDOFRQVHQVXVWKDWWKHUHLVDVLJQLILFDQWELRORJLF         YLHZRIPRUHSHRSOHWKDQP\VHOIRIFRXUVH
     FRPSRQHQWXQGHUO\LQJJHQGHULGHQWLW\FORVHGTXRWH           $77251(<%522.6/HWPHPDUNDV
     'R\RXVHHWKDW"                                     ([KLELWDQDUWLFOHE\$UXQD6DUDVZDWDQGRWKHUV
     $1R,PLJKWKDYHSXOOHGWKHZURQJWKLQJRXW         HQWLWOHG(YLGHQFH6XSSRUWLQJWKH%LRORJLFDO1DWXUHRI
     :KLFK"                                                    *HQGHU,GHQWLW\IURPRIZKLFK'U6DIHULVRQHRI
     4,W VWKHH[SHUWUHSRUWQRWWKHUHEXWWDO"             WKHFRDXWKRUV
     $([SHUWUHSRUW$QGLW VZKLFKSDUDJUDSK"            $77251(<:,/.,16217DE
     43DUDJUDSK"                                        
     $2KVRUU\                                            :KHUHXSRQ([KLELW$UXQD6DUDVZDW
     47KLVLVZK\ODZ\HUVQXPEHUWKHLUSDUDJUDSKV         $UWLFOHZDVPDUNHGIRULGHQWLILFDWLRQ
     $7KDWLVZLVH$OOULJKW3DUDJUDSK             
     4, PMXVWFDOOLQJ\RXUDWWHQWLRQDQG,KDYH       %<$77251(<%522.6
     UHDGLQWRWKHUHFRUGWKHILUVWVHQWHQFHRIWKDW               4$QG'U6DIHULVWKDWDSDSHUWKDW\RX,
     SDUDJUDSK                                                    JXHVV,VHHE\SODFHPHQWKDGVXSHUYLVRU\
     $,VHHLW                                            UHVSRQVLELOLW\IRU"
     4$QGSLFNLQJXSRQRXUHDUOLHUGLVFXVVLRQDERXW       $<HV


                                                  3DJH                                                         3DJH
      FRQVHQVXV:KHQ\RXVD\WKHUHLVDPHGLFDOFRQVHQVXV         4/HWPH,OHDUQHGVRPHWKLQJLQWKLV
      GR\RXPHDQWKDWDOOH[SHUWVLQWKHILHOGDJUHHRUGR          GHSRVLWLRQVRWKDWLVJRRG
      \RXPHDQWKDWLQ\RXUYLHZWKLVLVDPDMRULW\RSLQLRQ"         /HWPHFDOO\RXUDWWHQWLRQWRSDJHWZRDQG
      $77251(<%/2&.2EMHFWLRQWRIRUP             FROXPQWZRDQGLQWKHYHU\ERWWRPSDUDJUDSK
      7+(:,71(666RZKHQ,JXHVVVLPLODUWR        $77251(<%/2&., PVRUU\GLG\RXPHDQ
      ZKHQZHWDONHGDERXWJXLGHOLQHVLIWKHTXHVWLRQLVLV         "
      WKHUHXQDQLPLW\WKHQWKHUHLVQHYHUXQDQLPLW\VRWKHUH       $77251(<%522.6,GLGPHDQ,
      \RXJR                                                        DSRORJL]H7KDWLVDOVRWKHVHFRQGSDJH
      %<$77251(<%522.6                                            %<$77251(<%522.6
     42ND\                                                4,QWKHERWWRPILUVWFROXPQERWWRPSDUDJUDSK
     $,FDQEHDOLWWOHVWURQJHUWKRXJKEHFDXVHWKH      LWVWDWHVTXRWHKRZHYHULWLVLPSRUWDQWWRQRWHWKDW
     PDLQVWUHDPPHGLFDORUJDQL]DWLRQVKDYHYDULRXVVWDWHPHQWV      PRVWWUDQVJHQGHULQGLYLGXDOVGHYHORSDJHQGHULGHQWLW\
     LQWKLVVSDFH6RIRUH[DPSOHWKHHQGRFULQHVRFLHW\        WKDWFDQQRWEHH[SODLQHGE\DW\SLFDOVH[XDO
     ZKLFKLVWKHODUJHVWLQWHUQDWLRQDORUJDQL]DWLRQRI            GLIIHUHQWLDWLRQFORVHGTXRWH
     HQGRFULQRORJLVWVGRHVDFWXDOO\KDYHDVWDWHPHQWZKHUH         $6RWKLVLVFROXPQWZR
     WKHVXPRIWKHPRGHOLQJIRUJHQGHUDIILUPLQJFDUHLV          4&ROXPQRQH,I,PLVVSRNH,DSRORJL]H
     SUHIDFHGZLWKVWDWHPHQWVWKDWVXSSRUWWKLV                   $,FRXOGKDYHPLVXQGHUVWRRGDWWKLVKRXU
     4,QSURYLGLQJWKHEDVLVIRU\RXURSLQLRQWKDW         4$WWKHERWWRPSDUDJUDSK"
     WKHUHLVVXFKDFRQVHQVXV\RXFLWHRQO\WZRSDSHUVDQG       $+RZHYHULWLVLPSRUWDQWWRQRWH, PWKHUH\HV
     WKRVHRQO\SDSHUVWKDW\RXKDGZULWWHQ\RXUVHOI              4$OOULJKW
     'LG\RXFRQVLGHUWKRVHSDSHUVZULWWHQE\              &DQ\RXH[SODLQWRPHZKDWLVPHDQWE\WKH
     \RXUVHOIWRDGHTXDWHO\GRFXPHQWWKHH[LVWHQFHRIWKH          VWDWHPHQWWKDWPRVWWUDQVJHQGHULQGLYLGXDOVKDYHD
     PHGLFDOFRQVHQVXV"                                            JHQGHULGHQWLW\WKDWFDQQRWEHH[SODLQHGE\DW\SLFDO
     $77251(<%/2&.2EMHFWLRQWRIRUP            WUDQVJHQGHUGLIIHUHQWLDWLRQ"


                                                                                       3DJHVWR
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                                                   3DJH                                                         3DJH
      $6RWKDWLVUHIHUHQFLQJLQWKLVFRQWH[WDWWKH         LQWHUPVRIWKHLUUHSURGXFWLYHDQDWRP\RULQWHUPVRI
      WLPHWKDWWKLVZDVZULWWHQWKHDQDWRP\JHQLWDOV              WKHLUFKURPRVRPHV6RWKDWLVKRZLWZDVGHILQHGDWWKH
      UHSURGXFWLYHVWUXFWXUHV                                        WLPH
      4$QGOHWPHMXVWIRUSXUSRVHVRIWHUPLQRORJ\       4:HOOWRGD\DQGXVLQJLGHQWLILDEOHWRPHDQ\RX
      \RXVDLGDWWKHWLPHWKLVZDVZULWWHQ7KLVLVDERXW           'RFWRUVDIHUDUHDEOHWRLGHQWLI\LWQRZQRW
      VHYHQ\HDUVDJRVL[\HDUVDJR"                                 K\SRWKHWLFDOO\LQWKHIXWXUHLWUHPDLQVWUXHWKDWWKH
      $\HV                                             RYHUZKHOPLQJPDMRULW\RIWUDQVJHQGHULQGLYLGXDOVGRQRW
      4$QGLI\RXORRNDWWKHSDJHRQHFROXPQRQH            VXIIHUIURPDQ\FXUUHQWLGHQWLILDEOHSK\VLFDO
      DEVWUDFW7KLVSDSHULVXVLQJWKHWHUPGLVRUGHUVLQ           FKURPRVRPDORUKRUPRQDOLUUHJXODULW\
     VH[XDOGHYHORSPHQWDQGWKDW'6'                              &RUUHFW"
     'R\RXVHHWKDW"                                      $,ZRXOGVD\WKDWULJKWQRZLQLWZRXOGEH
     $,GR                                                 WUXHWRVD\WKDWDWUDQVJHQGHUSHUVRQGRHVQRWKDYHDQ
     47KDWZDVDWHUPWKDW\RXZHUHFRPIRUWDEOHZLWK        LGHQWLILDEOHJHQLWDOGLIIHUHQFHDOPRVWE\GHILQLWLRQRU
     PRVWUHFHQWO\"                                                 DRUDQLQWHUQDOUHSURGXFWLYHRUJDQGLIIHUHQFH
     $,WZDVDWHUPLQRORJ\WKDW,ZDVXVLQJWKDW            DOPRVWE\GHILQLWLRQ&KURPRVRPDO,FDQ WVD\EHFDXVH
     UHFHQWO\\HV                                                 ZHDFWXDOO\GRQ WFKHFN$QGKRUPRQDOJHWVHYHQJUD\HU
     47KHSRLQWKHUHRQSDJHFROXPQRQHWKDWZH      WKDQWKDWEHFDXVHLWFRXOGEHWKHFDVHWKDWWKHUHDUH
     ZHUHMXVWORRNLQJDWLVLQIDFWPRVWWUDQVJHQGHU             KRUPRQDOH[SRVXUHVIRUH[DPSOHLQXWHURWKDWH[SODLQ
     LQGLYLGXDOVGRQRWVXIIHUIURPDQ\LGHQWLILDEOH'6'           DWOHDVWVRPHSHRSOHDVEHLQJWUDQVJHQGHU
     ,VWKDWZKDWWKLVLVVD\LQJ"                          4$V\RXVLWKHUHWRGD\\RXGRQ WNQRZRIDQ\
     $)URPDSK\VLFDOO\LGHQWLILDEOH'6'WKDWLVZKDW      FKURPRVRPDOWHVWWKDWFDQLGHQWLI\DQLQGLYLGXDODV
     WKLVLVVD\LQJ\HV                                           WUDQVJHQGHUGR\RX"
     43K\VLFDOO\JHQHWLFDOO\KRUPRQDOO\                  $,VWKHUHDWKHUHDV,VLWKHUHWRGD\
     LGHQWLILDEOHE\DQ\SK\VLFDOPHDVXUHPHQW                      WKHUHDUHQRWHVWVWRLGHQWLI\VRPHERG\ZKRLV


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      &RUUHFW"                                               WUDQVJHQGHU
      $77251(<%/2&.2EMHFWLRQWRIRUP              4$QGWKDWLQFOXGHVJHQHWLFWHVWV"
      7+(:,71(666R\RXKDYHWREHFDUHIXO          $7KHUH VQRVFDQDQGWKHUHDUHQREORRGWHVWVDQG
      WREHQRWWRREURDGDQGSDUWRIWKHUHDVRQLVWKHOLQH         WKHUHDUHQRJHQHWLFWHVWV
      WKHUHLVDFWXDOO\EOXUULQJ6RZKHQ, PVLWWLQJKHUH           4$QGQRKRUPRQDOWHVWV"
      DQGWDONLQJLQ,UHFRJQL]HWKDWWKHUHLVD                 $7KDW VULJKW7KHUHDUHQRKRUPRQDOWHVWVULJKW
      SRWHQWLDOIRUVRPHEOXUULQJLQWKDWOLQH%XWLQ          QRZWRLGHQWLI\DWUDQVJHQGHUSHUVRQ
      LWZDVFHUWDLQO\XQGHUVWRRGWREHKRZ\RX UHVD\LQJLW         4$V\RXVLWKHUHWRGD\DQGEDVHGRQ\RXUZKROH
      %<$77251(<%522.6                                             NQRZOHGJHRIWKHILHOGWKHUHLVQRELRORJLFDOWHVWIURP
     4:HOOLWUHPDLQVWUXHWRGD\GRHVLWQRWWKDW        VRPHPHQWDOSURIHVVLRQDOVDVWKH\FDQGREXWWKHUHLV
     WKHRYHUZKHOPLQJPDMRULW\RIWUDQVJHQGHULQGLYLGXDOVGR        QRELRORJLFDOWHVWWKDWZLOOWHOO\RXLQDGYDQFHZKLFK
     QRWVXIIHUIURPDQ\LGHQWLILDEOHDW\SLFDOLW\                   SUHSXEHUWDOFKLOGZKRLVVXIIHULQJIURPJHQGHUG\VSKRULD
     JHQHWLFDOO\SK\VLFDOO\RUKRUPRQDOO\                         ZRXOGSHUVLVWDQGZKLFKZRXOGGHVLVWDVWKH\HQWHU
     &RUUHFW"                                              DGROHVFHQFH"
     $:HOOWKDW VQRWKRZ,ZRXOGVD\LWEHFDXVH          $6R,ZRXOGKDYHWRFKDOOHQJHKRZ\RX UHVWDWLQJ
     JHQGHULGHQWLW\LVDELRORJLFDOSKHQRPHQRQDQGVRRQH          WKDWDOLWWOHELWMXVWVRWKDWZHDUHFOHDQHULQWHUPV
     ZRXOGSUHGLFWWKDWDVZHLGHQWLI\FHUWDLQFRUUHODWHVRU        RIKRZZHWKLQN6RZH UHWKLQNLQJULJKWQRZLQWHUPV
     HYHQH[SODQDWLRQVWKDQZHZLOOKDYHWKLQJVLQWKDW            RILGHQWLI\LQJNLGVZKRDUHWUDQVJHQGHU:HXVHYDULRXV
     VSDFH%XWLIZH UHWDONLQJDERXWKRZWKLQJVZHUH             WHUPLQRORJLHVVRWKDWZH YHKDYHEHHQXVLQJWKH
     GHILQHGLQEHLQJWUDQVJHQGHUZDVGHILQHGDV              WHUPJHQGHUG\VSKRULDZH UHJRLQJWREHVKLIWLQJWRPRUH
     VRPHERG\ZKHUHWKHLUJHQGHULGHQWLW\ZDVQRWDOLJQHG           JHQGHULQFRQJUXHQFHEXWZH UHWU\LQJWRLGHQWLI\SHRSOH
     ZLWKWKHUHVWRIWKHLUELRORJ\DQGWKHUHZDVQR               ZKRDUHWUDQVJHQGHUDQGZKRPD\UHTXLUHLQWHUYHQWLRQ
     DSSDUHQWSK\VLFDOYDULDWLRQHLWKHULQWHUPVRIWKHLU          ODWHU
     DQDWRP\RUWKHLUFKURPRVRPHVLQWHUPVRIWKHLUJHQLWDOV       5HFRJQL]LQJIXUWKHUWKDWRQO\DVXEVHWRI


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                                                   3DJH                                                        3DJH
      WUDQVJHQGHUSHRSOHZRXOGUHTXLUHDPHGLFDORUVXUJLFDO         H[SODQDWLRQIRUVRPHSHRSOH
      LQWHUYHQWLRQ$QGVRLIWKHTXHVWLRQLVFDQLV            4,WFRXOGEHEXWQRVFLHQFHKDVEHHQGRQHWR
      WKHUHDWHVWQRZLQWRGHWHUPLQHLQDQSUHSXEHVFHQW       SURYHWKDWWKDWLVDIDFWKDVLW"
      NLGZKRVD\VWKH\ UHWUDQVJHQGHURUSHRSOHZKRVXVSHFW         $6RLWLVQ WUHDOO\DK\SRWKHWLFDOWKDWLVZHGR
      PD\EHWUDQVJHQGHURQZKDWHYHUWKH\ UHVD\LQJQRWKHUH       KDYHZHGRKDYHGDWDWKDWVXSSRUWLWEXWLWGRHVQ W
      LVQRWHVWWRNQRZWKDWLVWUXHRUQRWDQGWRNQRZLI          OHDGXVWRDWHVW
      WKH\ OOWKLQNWKDWODWHURUQRWDQGWRNQRZLIWKH\ OO        4,ILWLVQRWWHVWDEOHWKHQLWLVDK\SRWKHVLV
      ZDQWWUHDWPHQWRUQRW                                         QRWDIDFWLVQ WLWQRWRIVFLHQFH
      46RLWLV\RXURSLQLRQWKDWWKHUHLVFRQVHQVXV         &RUUHFW"
     WKDWWKHUHLVDELRORJLFDOEDVLVIRUWUDQVJHQGHU              $77251(<%/2&.2EMHFWLRQWRIRUP
     LGHQWLILFDWLRQEXWDVRI\RXGRQ WNQRZZLWKDQ\        7+(:,71(661RWKDWLVXVLQJWHVWLQJ
     FRQILGHQFHZKDWWKDWELRORJLFDOEDVLVLV                     WZRGLIIHUHQWZD\V6RLQDVFLHQWLILFVWXG\WKHQD
     &RUUHFW"                                             K\SRWKHVLVLVVRPHWKLQJWKDW\RXKDYHEDVHGRQDFHUWDLQ
     $77251(<%/2&.2EMHFWLRQWRIRUP            EDVHGRQFHUWDLQGDWDEXWWKHQ\RXWHVWWRVHHKRZ
     7+(:,71(66,ZRXOGVD\WKDWLWLV           WUXHLWPLJKWEH%XWZKHQ,ZDVXVLQJWKHZRUGWHVW
     FRPSOLFDWHGDQGWKHUHPD\HYHQEHPRUHWKHUHPLJKW        , PWDONLQJDERXWOLNHDEORRGWHVWRUVRPHWKLQJWKDWZH
     EHPXOWLSOHH[SODQDWLRQVIRUSHRSOHEHLQJWUDQVJHQGHU        FRXOGDFWXDOO\GRRQDJLYHQLQGLYLGXDOWRNQRZWKHLU
     :HVHHWKDWZLWKRWKHUELRORJLFDOHQWLWLHVOLNH               FLUFXPVWDQFHZLWKUHJDUGWRWKHLUJHQGHULGHQWLW\
     GLDEHWHVIRUH[DPSOH6RWKHLGHDWKDWZHGRQ WNQRZ        %<$77251(<%522.6
     ZKDWLWLVLVDOVRDOLWWOHWRRQDUURZ                      4/HWPHDVN\RXWRORRNDWWKHSDSHUWKDW, YH
     %<$77251(<%522.6                                           PDUNHGDV([KLELW(YLGHQFH6XSSRUWLQJWKH%LRORJLFDO
     4<RXGRQ WNQRZDQ\RQHLGHQWLILDEOHELRORJLFDO       1DWXUH,VWKDWWKDWZKLFK\RXKDYHLQIURQWRI\RX"
     FDXVHZLWKDQ\FRQILGHQFHWKDWVWDWHZLWKLQDVFLHQWLILF      $,GR\HV
     NQRZOHGJH"                                                    4$QGRQWKHILUVWSDJH\RXUHIHUXQGHUWKHUHVXOW


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      $1R7KDW VQRWTXLWHWUXH:HNQRZWKDW         WKDWEHJLQVE\GLVFXVVLRQRIDVHPLQDOVWXG\E\
      DQGLW VQRWHYHQWKHELRORJ\RIEHLQJWUDQVJHQGHUHYHQ        0H\HU%DKOEXUJ'R\RXVHHWKDW"6HFRQGFROXPQ
      WKRXJKWKDWLVKRZ,MXVWIUDPHGLW,WLVHYHQRQH           EHJLQQLQJRIWKHUHVXOWVVHFWLRQ
      VWHSEDFNZKLFKLVWKHELRORJ\RIJHQGHULGHQWLW\:H         $<HV
      DOOKDYHJHQGHULGHQWLW\DQGKRZLVWKDWGHWHUPLQHGDQG       4$QGLVLW\RXUFRQWHQWLRQWKDWWKH
      ZKDWLVWKDWELRORJ\$QGZHNQRZWKHUHDQGZHNQRZ       0H\HU%DKOEXUJVWXG\SURYLGHVHYLGHQFHRIDELRORJLFDO
      WKHQWKDWVRPHWUDQVJHQGHUSHRSOHKDYHWKDWSDUWLFXODU         EDVLVIRUWUDQVJHQGHULGHQWLILFDWLRQ"
      ELRORJ\QRWDOLJQHGZLWKVRPHRIWKHLURWKHUELRORJ\          $:KDWWKH0H\HU%DKOEXUJVWXG\GRHVLVLW
      6RJRLQJEDFNWRZKDW\RXMXVWDVNHGWKDWZH       SURYLGHVHYLGHQFHRIDELRORJLFDOEDVLVIRUJHQGHU
     GRQ WNQRZDQ\PHFKDQLVPVLVQRWTXLWHWUXH7KDWLV         LGHQWLW\
     SHRSOHWKDWORRNVWREHWUXHWKDWH[SRVXUHWRDQGURJHQ       4:HOOVSHFLILFDOO\WKHVWXG\WKH0H\HU%DKOEXUJ
     PDOHKRUPRQHVLQXWHURFDQKDYHVRPHLQIOXHQFHRQVRPH        VWXG\OHWPHKDYHWKDWVRZHDUHQRWVKRRWLQJLQWKH
     SHRSOHDVWRWKHLULGHQWLW\                                  GDUN([KLELWLVDSDSHUIURPIURP3URIHVVRU
     4:HOOLIWKHUHLVQRW\HWDQ\WHVWWKDWLV           +HLQR0H\HU%DKOEXUJHQWLWOHG*HQGHU,GHQWLW\2XWFRPH
     SUHGLFWLYHRIJHQGHULGHQWLW\LQDSUHSXEHVFHQWFKLOG        LQ)HPDOH5DLVHGFRPPD;<SHUVRQVZLWKSHQLOH
     WKHQDVDPDWWHURIVFLHQFHLWIROORZVWKDW\RXGRQ W         DJHQHVLVDQGLWFRQWLQXHV,W VDORQJGRFXPHQW"
     DFWXDOO\NQRZDQ\FDXVDOUHODWLRQVKLSDQ\ELRORJLFDO         $77251(<:,/.,16217DE
     EDVLVLVWKDWQRWWUXH"                                      
     $1RWKDWZRXOGQ WEHTXLWHVXUH:HFDQ WWHVW       :KHUHXSRQ([KLELW3DSHUE\
     IRUVRPHERG\GHHPHGWUDQVJHQGHUDQGZHFDQ WWHVW            3URIHVVRU+HLQR0H\HU%DKOEXUJZDVPDUNHG
     JHQGHULGHQWLW\ZLWKDWHVW%XWOLNH,VDLGWKDWDW        IRULGHQWLILFDWLRQ
     OHDVWLQVRPHFLUFXPVWDQFHVWKHDQGURJHQH[SRVXUHLQ          
     XWHURLQDPRWKHU VZRPEFRXOGEHSDUWRIWKH               %<$77251(<%522.6
     H[SODQDWLRQIRUVRPHSHRSOH0D\EHLVQ WDOOWKH             4,EHOLHYHWKHOHYHORITXHVWLRQVWKDW,ZLOOEH



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                                                    3DJH                                                       3DJH
      DVNLQJKRZHYHUDUHWKHRQHVWKDW\RXZLOONQRZRIIWKH        FDQEHVXPPDUL]HGDVIROORZV2QHWKHPDMRULW\RI
      WRSRI\RXUKHDGJLYHQWKHLPSRUWDQFHRIWKLVVWXG\LQ          ;<LQGLYLGXDOVZLWKSUHVXPDEO\QRUPDOPDOHSUHQDWDO
      WKHILHOG7KHVWXG\FRQFHUQHGH[FOXVLYHO\FKLOGUHQZKR        KRUPRQDOPLOLHXFRPPDQRQKRUPRQDODQDWRPLF
      DUHERUQZLWKZKDW VUHIHUUHGWRDVD;<FRQGLWLRQ          DEQRUPDOLWLHVRIWKHJHQLWDOVFRPPDDQGIHPDOHJHQGHU
      5LJKW"                                                 DVVLJQPHQWDWELUWKRULQHDUO\FKLOGKRRGKDYHQRW
      $<HV                                                   FKDQJHGJHQGHUWRPDOH'R\RXVHHWKDW"
      4$QGWKDWLVORQJUHFRJQL]HGDVD'6'"                  $,GRVHHLW
      $1R;<LVWKHFODVVLFPDOHFKURPRVRPH               4$QGRQHWKLQJDQG,XQGHUVWDQGWKH
      SDWWHUQ                                                        TXDOLILFDWLRQVWKDW\RX YHMXVWGHVFULEHGWKLVLVQRW
     4<HV3DUGRQPH6RWKHVHDUHLQGLYLGXDOVZLWK       UHFRUGLQJDFDUHIXOO\VWUXFWXUHGVWXG\SHUIRUPHGE\
     W\SLFDOPDOHSDWWHUQFKURPRVRPHV"                              'RFWRU0H\HU%DKOEXUJEXWUDWKHUDUHYLHZRIFDVH
     $<HV                                                  KLVWRULHV
     4:KRKRZHYHUIRUVRPHUHDVRQKDYHKDGD              5LJKW"
     GHYHORSPHQWDOGLVRUGHURUGHIHFWDIIHFWLQJWKHLU               $([DFWO\
     JHQLWDOV"                                                      4%XWKLVFRQFOXVLRQIURPKLVUHYLHZRIWKRVHLV
     $:KRKDYHKDGVRPHVRUWRIDOWHUDWLRQRU               WKDWWKHPDMRULW\RIJHQHWLFDOO\SUHVXPDEO\QRUPDOPDOH
     GHYHORSPHQWRIWKHLUJHQLWDOVH[DFWO\                        LQGLYLGXDOVZKRZHUHUDLVHGIHPDOHDQG,EHOLHYHLW V
     4$QGWKHVWXG\FRQFHUQVWKHUHVXOWVRIHIIRUWVWR      IDLUWRVXPPDUL]HLQPRVWFDVHVDIWHUIHPLQL]LQJJHQLWDO
     UDLVHVXFKJHQHWLFDOO\PDOHFKLOGUHQDVIHPDOHLQVRPH         VXUJHU\DGKHUHGWRDIHPDOHJHQGHULGHQWLW\DWOHDVWWR
     FDVHVDIWHUVXUJLFDOSURFHGXUHVWRIHPLQL]HWKHPDQGLQ        WKHGDWDZHKDYH"
     VRPHFDVHVDEVHQWVXUJLFDOSURFHGXUHV                         $<HVVR,GRQ WNQRZZKHWKHUWKH\DFWXDOO\DOO
     &RUUHFW"                                              KDGVXUJHU\RUQRW
     $7KHVWXG\UHDOO\UHODWHVWRWKHJHQGHULGHQWLW\       47KH\GLGQRWDOOKDYHVXUJHU\
     RIWKRVHZKHUHWKHUHLVDQDWWHPSWWRUDLVHWKHPDV            $5LJKWRUHYHQWKHODUJHUQXPEHU,GRQ WNQRZ


                                                    3DJH                                                       3DJH
      IHPDOHV                                                        ,ZRXOGKDYHWRJRWKURXJK
      4$QGWKHUHVXOWVLI,XQGHUVWDQGWKHVWXG\ZHUH       4)DLUHQRXJK
      PL[HGWKDWLVWKDWVRPHRIWKHLQGLYLGXDOVZKRZHUH            $%XWWKHDQGLWZDVKLVRSLQLRQDWWKHWLPH
      UDLVHGDVIHPDOHVQHYHUWKHOHVVFDPHWRLGHQWLI\DVPDOH         KHZDVZULWLQJWKLVWKDWWKHPDMRULW\ZKRZHUHUHDUHG
      DQGVRPHRIWKHLQGLYLGXDOVZKRZHUHUDLVHGDVIHPDOHV          IHPDOHZHUHOLYLQJDVIHPDOHDOWKRXJKZHGRQ WNQRZ
      FDPHSHUVLVWHGLQLGHQWLI\LQJDVIHPDOH                    WKHLUJHQGHUEXWQRZWKLVLVPHVWHSSLQJRXWVD\LQJ
      &RUUHFW"                                               ZHGRQ WNQRZWKHLUJHQGHULGHQWLW\QRERG\DVNHG7KH
      $,WLVQRWDFWXDOO\DVFOHDQDV\RX UHVD\LQJLW       UHDVRQZK\WKLVSDSHULVLQWHUHVWLQJLVHYHQLQWKH
      6RZHVKRXOGORRNDWVRPHRIWKHVSHFLILFVDQGZHPLJKW         FLUFXPVWDQFHZKHUHWKH\ZHUHEHLQJVRSDVVLYHLQKRZ
     QHHGWRSRLQWRXWWRVSHFLILFVHQWHQFHVEXWWKLVWRRLV       WKH\ZHUHFROOHFWLQJWKHGDWDVXFKDODUJHIUDFWLRQRI
     DVXUYH\RIDVXUYH\RIVWXGLHVWREHFOHDULW V         WKHVHLQGLYLGXDOVZHUHVRFOHDULQWKHLUPDOHJHQGHU
     QRWLWVRZQLVRODWHGVWXG\DQGWKHQWKHUHLQQRQH         LGHQWLW\WKDWWKH\DFWXDOO\LGHQWLILHGWKHPVHOYHV
     RIWKHVHVWXGLHVZHUHWKH\V\VWHPDWLFRU\RXNQRZ,          DJDLQVWWKHSURWRFROV
     JXHVV,ZLOOMXVWXVHWKHZRUGV\VWHPDWLFLQ                   4$QGWKDWVHHPHGWREHHYLGHQFHWKDWRID
     DVFHUWDLQLQJWKDWDOORIWKHSHRSOHZKRZHUHEHLQJ             ELRORJLFEDVLVRIJHQGHULGHQWLW\FRQJUXHQWZLWKWKHLU
     UDLVHGIHPDOHDQGDVFHUWDLQLQJDOORIWKHJHQGHU               PDOHJHQHWLFV
     LGHQWLW\RIWKRVHSHRSOH%XWZKDWWKH\DUHUHDOO\            &RUUHFW"
     REVHUYLQJLVWKDWWKHQXPEHUVWKDWWKH\PHQWLRQRIWKH         $7KDWIRUWKHVHSHRSOHWKDW VULJKW7KDW
     SHRSOHZKRWKH\ZHUHWU\LQJWRUDLVHIHPDOHZKRKDGPDOH       LVZLWKRUZLWKWKHLUFKURPRVRPHV
     JHQGHULGHQWLW\ZHUHZKDWHYHUWKHQXPEHUVZHUH,GRQ W       45LJKW
     NQRZLIWKDWPDNHVVHQVHEXW\RX OOIROORZDV                 $:KLFK\RXZRXOGSUHGLFW,IZHWKLQNDERXW
     QHFHVVDU\                                                     LIZHUHFRJQL]HLIZHWKLQNWKDWE\VXUYH\DKDOID
     4,I\RXWXUQWRSDJHLWEHJLQVXQGHUWKH           SHUFHQWRUHYHQDIXOOSHUFHQWRISHRSOHDUHWUDQVJHQGHU
     KHDGLQJGLVFXVVLRQ,WEHJLQVTXRWHWKHPDLQILQGLQJV       WKDWZRXOGPHDQWKDWSHUFHQWRISHRSOHDUHFLVJHQGHU


                                                                                        3DJHVWR
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                                                  3DJH                                                         3DJH
      $QGVRLI\RXWDNHDSRSXODWLRQRISHRSOHZLWKFHUWDLQ         ELRORJLFEDVLVRIWUDQVJHQGHULGHQWLILFDWLRQFDQLW"
      FKURPRVRPHVSHUFHQWRIWKHPDUHJRLQJWREH                $:DLW,WKLQNVD\WKDWDJDLQ
      FLVJHQGHUDQGZLOOKDYHDJHQGHULGHQWLW\LQFRQJUXHQW          47KHVWXG\LQFOXGHVQRLQGLYLGXDOVZKRDGRSWHGD
      ZLWKWKHLUFKURPRVRPHV                                        JHQGHULGHQWLW\DWUDQVJHQGHULGHQWLW\DSDUWIURP
      47KHVWXG\LQFOXGHVQRLQGLYLGXDOVZKRZHUH            VRFLDOWUDQVLWLRQDQGWKHUHIRUHFDQSURYLGHQR
      UDLVHGZLWKDJHQGHULGHQWLW\LQFRQVLVWHQWZLWKWKHLU          LQIRUPDWLRQRQHZD\RUWKHRWKHUDERXWZKHWKHUWKHUHLV
      PDOHFKURPRVRPHVZKRFDPHWRLGHQWLI\RUODWHUSHUFHLYHG       RULVQRWDELRORJLFEDVLVIRUWUDQVJHQGHU
      WKHPVHOYHVDVLGHQWLI\LQJDVIHPDOH                           LGHQWLILFDWLRQ"
      &RUUHFW"                                              $6RQRWTXLWH6RWKHEHFDXVHUHPHPEHUWKH
     $:HOOZHGRQ WNQRZWKDWEHFDXVHWKH\ZHUH       SRLQWLVWKDWJHQGHULGHQWLW\SHULRGXQLYHUVDOO\KDV
     WKH\ UHDOO;<LQGLYLGXDOVZKRZHUHEHLQJUDLVHGIHPDOH      DELRORJLFDOEDVLV,W VQRWWKDWZHDQGWREH
     $QGVRPHERG\ZKRKDGDIHPDOHJHQGHULGHQWLW\ZKRLV          FOHDU,GRQ WHYHQNQRZWKDWZHZRQ WILQGDQGVRPH
     WUDQVJHQGHUDPRQJWKHPZRXOGQHYHUEHLGHQWLILHGDV           SHRSOHHYHQZRQGHULIZHZLOOILQGDJHQHWKDW
     WUDQVJHQGHULQWKLVFDVH                                     DVVRFLDWHVDJHQHZLWKWUDQVJHQGHUSHUVH%XW, PQRW
     46RP\TXHVWLRQZDVDOLWWOHPRUHVSHFLILF7KH      HYHQVD\LQJWKDW,IWKHUH V, PRQO\VD\LQJWKDW
     VWXG\VLPSO\GRHVQ WLQFOXGHDQ\LQGLYLGXDOZKRKDGPDOH      ZHZLOOILQGOHW VVD\JHQHVDVVRFLDWHGZLWKJHQGHU
     FKURPRVRPHVZKRZDVUDLVHGPDOHZKRFDPHWRLGHQWLI\DV       LGHQWLW\DQGQRWHYHU\ERG\ZLOOKDYHWKHPDOLJQHGZLWK
     IHPDOH"                                                       WKHUHVWRIWKHLUELRORJ\6R,MXVWZDQWWRSUHIDFH
     $7KDW VFRUUHFW$OORIWKHVHSHRSOHZKRDUH;<      ZLWKWKDW
     FKURPRVRPHSHRSOHUDLVHGIHPDOH                              $QGLQWKLVSDUWLFXODUUHYLHZWKH\ UHWDNLQJ
     4$QG\RXZRXOGDJUHHZLWKPHZRXOG\RXQRWWKH      SHRSOHZKRKDYH;<FKURPRVRPHVH[FOXVLYHO\6R
     VWXG\SURYLGHVVRPHHYLGHQFHWKDWH[WHUQDOIRUFHVVXFK        WKHUHIRUHLIRQHLIDFHUWDLQIUDFWLRQRIWKHPZHUH
     DVIHPLQL]LQJVXUJHU\RUKRZWKHLUSDUHQWVWUHDWWKH          WRKDYHIHPDOHJHQGHULGHQWLW\GHVSLWHDVVXPLQJ
     FKLOGFDQKDYHVRPHLQIOXHQFHRQWKHIRUPDWLRQRIJHQGHU      GLIIHUHQWGHYHORSPHQWWKH\ZRXOGKDYHKDGPDOHWKH\


                                                  3DJH                                                         3DJH
      LGHQWLW\"                                                      ZRXOGKDYHKDGRWKHUPDOHELRORJ\WKRVHDUHWKHSHRSOH
      $,FDQ WVD\WKDWEHFDXVHWKHVWXG\UHDOO\             ZHZRXOGKDYHFDWHJRUL]HGDVWUDQVJHQGHUXVLQJFXUUHQW
      GRHVQ WJRWKHUH7KHVWXG\LVRQO\SDVVLYHREVHUYDWLRQ       GHILQLWLRQV$QGWKRVHLQGLYLGXDOVZRXOGQRWKDYHEHHQ
      DQGDOOWKHRQO\WKLQJ,ZRXOGVD\ZLWKVRPH               DSSDUHQWLQWKLVVWXG\WKH\ZHUHEHLQJUDLVHGIHPDOH
      FRQILGHQFHLVWKDWVRPHIUDFWLRQRIWKHVHLQGLYLGXDOV          DQ\ZD\
      ZKRDUHVRFOHDULQWKHLUJHQGHULGHQWLW\WKDWGHVSLWH         4$QGP\SRLQWZDVWKDWWKHUHIRUHWKDWWKLV
      QRERG\HYHQORRNLQJIRUWKDWVRUWRIWKLQJEHFDXVHWKDW       VWXG\FDQ WSURYLGHDQ\LQIRUPDWLRQDERXWZKHWKHUWKHUH
      ZDVQ WHYHQDFRQVLGHUDWLRQZKHQWKHVHZKHQWKHVH          LVRULVQ WDELRORJLFDOEDVLVIRUWUDQVJHQGHU
      FDVHVRFFXUUHGWKH\WKHLQGLYLGXDOVVSRQWDQHRXVO\         LGHQWLILFDWLRQ"
     DQQRXQFHGWRWKHDXWKRULWLHVDURXQGWKHPSDUHQWVDQG         $6R\HV,JXHVVKRZ\RXDUHIUDPLQJWKDWLV
     GRFWRUVWKDWWKH\ZHUHZURQJWKDWWKHSDUHQWVDQG           ZKHUH, PSXVKLQJEDFN6RWKHSRLQWRIWKLVVWXG\LV
     GRFWRUVZHUHZURQJ                                           DVHYLGHQFHRIWKHUHEHLQJDELRORJLFDOEDVLVRIJHQGHU
     4$QGWKDWLQ\RXUYLHZSURYLGHVDWOHDVWVRPH       LGHQWLW\SHULRGKDYLQJQRWKLQJQRWQHFHVVDULO\IRU
     HYLGHQFHRIDJHQHWLFEDVLVIRUJHQGHULGHQWLW\               EHLQJWUDQVJHQGHU,QIDFW,GRQ WHYHQNQRZLIWKHUH
     FRQJUXHQWZLWKFKURPRVRPDOVH["                               \HDK,GRQ WHYHQNQRZLIWKDWZRXOGEHWKHPRGHO
     $77251(<%/2&.2EMHFWLRQWRIRUP            7KHPRGHOZRXOGEHVRPHERG\ZKRKDVDFHUWDLQJHQGHU
     7+(:,71(661R,WSURYLGHVVRPH            LGHQWLW\DFHUWDLQRWKHUELRORJ\DQGWKHQWKDW
     HYLGHQFHRIDELRORJLFDOEDVLVIRUJHQGHULGHQWLW\WKDW       FRPELQDWLRQLVZKDWZHDUHFDOOLQJWUDQVJHQGHU
     FDQ WEHPDQLSXODWHGH[WHUQDOO\                              4<RXDOVRUHIHUHQFHGDSDSHUE\'RFWRU5HLQHU
     %<$77251(<%522.6                                           $QGOHWPHKDYHWKDW
     4:HOOFRQVLGHULQJWKDWWKHVWXG\LQFOXGHGQR         $77251(<%522.6$QG,ZLOOPDUNWKDWDV
     H[DPSOHVRIDQ\LQGLYLGXDOZKRDGRSWHGDWUDQVJHQGHU          ([KLELW'LVFRUGDQW6H[XDOLQ6RPH*HQHWLF0DOHV
     LGHQWLW\LQFRQVLVWHQWZLWKKRZWKH\ZHUHUDLVHGWKH          :LWK&ORDFDO([VWURSK\$VVLJQHGWR)HPDOH6H[DW%LUWK
     VWXG\VLPSO\FDQ WSURYLGHDQ\LQIRUPDWLRQDERXW              $77251(<:,/.,16217DE


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                                        $1R
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      5HLQHUZDVPDUNHGIRULGHQWLILFDWLRQ              WXUQLQJWRSDJH
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      %<$77251(<%522.6                                             ZRXOGQ WEHP\IUXVWUDWLRQEHFDXVH,DPQRWORRNLQJIRU
      4$QG'U6DIHU\RXDUHZHOOIDPLOLDUZLWKWKLV         WKRVHSDUWLFXODUHQGSRLQWVWKDWLVIRUP\SXUSRVHVIRU
      SDSHU                                                          GHWHUPLQLQJZKHWKHUJHQGHULGHQWLW\LVDELRORJLFDO
      $P,FRUUHFW"                                          EDVLV5HLQHUDQG*HDUKDUW VSDSHULVDFWXDOO\TXLWH
      $,DP\HV                                             VWURQJ
     4$QGWKLVLVWKHRQO\RWKHUSDSHUWKDW\RXFLWH        4/HW VORRNDWWKHILUVWSDJHLQWKHVXPPDU\XS
     IRUWKHDVVHUWLRQWKDWJHQGHULGHQWLW\KDVDELRORJLFDO        IURQW,WUHIHUVWRWKLVSDSHUGHDOWZLWKXQGHU
     EDVLV                                                         PHWKRGVJHQHWLFPDOHV
     $P,FRUUHFW"                                         &RUUHFW"
     $1RWKHUHDUHDUDQJHRIFDWHJRULHVRISDSHUV        $<HV
     EXWWKHVHDUHWZRRIP\IDYRULWHSDSHUVLQWKHILUVW           4$QGWKHVHZHUHDOOPDOHVZKRVXIIHUHGIURP
     FDWHJRU\ZKLFKLVWKHFDWHJRU\RIDWWHPSWLQJWR               XVHVWKHZRUGLQWKHVHFRQGOLQHRIWKHEDFNJURXQGDV
     PDQLSXODWHJHQGHULGHQWLW\H[WHUQDOO\                         VHYHUHGHYHORSPHQWDOGLVRUGHUVDIIHFWLQJWKHLUJHQLWDOV
     4'U%DKOEXUJLQKLVSDSHURQSDJHRI             &RUUHFW"
     ([KLELWLQFROXPQRQH                                 $7KDW VKRZLWLVSKUDVHGKHUH:KHUHDP,
     $<HV/HWPHJHWWKHUH                               VHHLQJWKDW"
     4<HVFROXPQRQH                                47KHVHFRQGOLQHRIWKHEDFNJURXQGVD\VVHYHUH
     $FROXPQRQH                                      $6HYHUHSKDOOLFLQDGHTXDF\\HV,VHHWKDW
     4+HVD\VDERXWWZRLQFKHVRIIWKHERWWRP              4:KLFKLVWRVD\QRWDEVHQWRUVHYHUHO\
     UHIHUULQJWRWKH5HLQHUDQG*HDUKDUWSDSHURI            GLVIRUPHGSHQLV"


                                                   3DJH                                                        3DJH
      ZKLFK,EHOLHYHLVWKLVSDSHUKHVD\VTXRWHLWKDV           $7KDW VZKDWWKDWPHDQV\HV
      VHULRXVPHWKRGRORJLFDOIODZV'R\RXDJUHHZLWKWKDW           42ND\
      VWDWHPHQW"                                                      %XWWKHVHDUHLQGLYLGXDOVZKRDUHJHQHWLFDOO\
      $/HW VUHDGZKDWKHLVFULWLFL]LQJ$OOWKHVH          PDOHDQGPRUHWKDQWKDWRQSDJHFROXPQWZR
      SDSHUVKDYHWKHLUZHDNQHVVHV$OOULJKW6RWKH               WZRWKLUGVRIWKHZD\GRZQLWVD\VWKHWHVWHVZHUH
      UHPDLQGHURIWKDWVRWKHUHPDLQGHURIWKHSDUDJUDSK         KLVWRORJLFDOO\QRUPDOLQDOOZKHQH[DPLQHG"
      LVGHWDLOVWKHFRPSODLQWVIRU'RFWRU0H\HU%DKOEXUJ        $, PRQFROXPQWZR
      ZKHUHKLVZKLFK,IRFXVDVDVRFLDOVFLHQFH                 4,WLVFROXPQWZR
      UHVHDUFKHUWKDWWKH\GLGQ WGRYDULRXVDVVHVVPHQWVWKDW         $,DSRORJL]H
     ZRXOGPDNHLWWKDWZRXOGPDNHVWDQGDUGSHRSOHGRLQJ        4<RXFDQNLQGRIVHHZKHUHP\ILQJHULVSRLQWLQJ
     VRPHRIWKLVUHVHDUFKDEOHWRUHSOLFDWHVRPHRIWKH            KHUH
     LWHPVLQWKHSDSHU$QG,ZLOOVRZKLOH'RFWRU            $$QGWKLVLVXQGHU
     0H\HU%DKOEXUJPD\EHIUXVWUDWHGDQGEHFRPSODLQLQJ            48QGHUPHWKRGVDQGWKHSDUDJUDSKWKDWEHJLQV
     DERXWWKDWKHLVQRWDFWXDOO\DWWDFNLQJWKHYHUDFLW\RI       SDUHQWVWREHHGXFDWHG"
     WKHLUUHVXOWV                                                 $7HVWHVZHUHKLVWRORJLFDOO\QRUPDOLQDOO
     4:HOOWKHSRLQWZDVVHULRXVPHWKRGRORJLFDOIODZV      , PWKHUH\HV
     LV\RXDUHQRWUHDOO\DEOHWRHYDOXDWHWKHYHUDFLW\RI         46RZHKDGLQGLYLGXDOVZKRZHUHJHQHWLFDOO\PDOH
     WKHUHVXOWV                                                   WKDWKDGQRUPDOWHVWHVDQGKDGVHYHUHGHSULYDWLRQRI
     &RUUHFW"                                              WKHLUSHQLVRULWZDVDEVHQW"
     $1RWQHFHVVDULO\                                      $<HV
     4'R\RXDJUHHZLWK'RFWRU0H\HU%DKOEXUJ V             4$QGZKDWZDVGRQHWRWKHVHVXEMHFWVORRNLQJ
     HYDOXDWLRQWKDWWKHPHWKRGRORJ\RIWKHVWXG\UHSRUWHGE\       MXVWDERYHWKDWLVWKDWWKH\ZHUHDVVLJQHGDIHPDOHVH[
     5HLQHUDQG*HDUKDUWVXIIHUVIURPVHULRXVPHWKRGRORJLFDO        VXUJLFDOO\E\PHDQVRIRUFKLHFWRP\DQGFRQVWUXFWLRQRI
     IODZV"                                                         YXOYD


                                                                                        3DJHVWR
                Case: 22-5807
     Case 2:21-cv-00316        Document:
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                                                    3DJH                                                        3DJH
      5LJKW"                                                 $$VRIZKHQWKH\ZURWHWKHSDSHUWKH\ZHUHVWLOO
      $<HV                                                   LGHQWLI\LQJDVIHPDOHDVIDUDV,UHPHPEHU7KDW V
      4$QGRUFKLHFWRP\LVDQRWKHUPHGLFDOWHUPIRUZKDW       ULJKW
      WKHOD\PDQWKLQNVRIDVFDVWUDWLRQ"                             4$QGLWZRXOGEH\RXUSRVLWLRQWKDWYLVLEO\
      $$VUHPRYLQJWKHWHVWHV                                LGHQWLI\LQJDVIHPDOHGRHVQ WQHFHVVDULO\PHDQWKDWWKH\
      4$QGFRQVWUXFWLRQRIWKHYXOYLLVFUHDWLQJD        ZHUHJHQHUDOO\WUDQVJHQGHU"
      , PQRWVXUHZKDWWKHULJKWWHUPLVDSVHXGRYDJLQD"           $7KDWZHGRQ WNQRZWKDWEHFDXVHWKDWZDVQ W
      $,WZRXOGQ WEHDSVHXGRYDJLQDEXWFUHDWLQJD         DVNHG
      YDJLQD                                                         4,VLW\RXUYLHZWKDWLI\RXKDGWKHVHFKLOGUHQ
     4,WVD\VWKDWMXVWLPPHGLDWHO\IROORZLQJWKH       ZKRZHUHVXUJLFDOO\WUDQVLWLRQHGVRFLDOO\WUDQVLWLRQHG
     GHVFULSWLRQRIWKHVXUJHU\RIWKHVHORRNLQJ          YLVLEO\LGHQWLI\LQJDVIHPDOHWKDWLI\RXKDGVLPSO\
     EDFNDWWKHUHVXOWVSDUDJUDSKDQGWKHDEVWUDFWRI          DVNHGWKHP\RXZRXOGKDYHIRXQGRXWWKHXQGRXEWHGWUXWK
     WKHVHZHUHDVVLJQHGIHPDOHEXWODWHUGHFODUHG               DERXWWKHLUJHQGHULGHQWLW\"
     WKHPVHOYHVPDOHGHVSLWHWKHVXUJHU\GHVSLWHEHLQJ             $77251(<%/2&.2EMHFWLRQWRIRUP
     UDLVHGDVIHPDOH                                              7+(:,71(666RLWLVWUXHWKDWDV
     5LJKW"                                                SHRSOHGHYHORSDQGDVVXPLQJWKDWWKHUHDUHJRRGODQJXDJH
     $5LJKWRIWKHZKRZHUHDVVLJQHGIHPDOH          VNLOOVDQGWKDWWKHUHDUHQ WRWKHUGHYHORSPHQWDOPHQWDO
     4, PVRUU\,PLVUHDGWKDW7KDQN\RX(LJKWRI      GHYHORSPHQWDOUHDVRQVRURWKHUPHQWDOKHDOWKUHDVRQVZK\
     WKHZKRZHUHDVVLJQHGIHPDOHQHYHUWKHOHVVGHFODUHG          SHRSOHZRXOGQRWEHFOHDUWKDWSHRSOHDUHDEOHWR
     WKHPVHOYHVPDOHDWVRPHVWDJH"                                 DUWLFXODWHWKHLUJHQGHULGHQWLW\&HUWDLQO\DGXOWVGR
     $7KDW VFRUUHFW                                       VRDSSDUHQWO\TXLWHUHOLDEO\DQGROGHUWHHQDJHUVWKH
     4$QGWKHWZRZKRKDGEHHQUDLVHGDVPDOHVHYHQ        VDPHVRGHSHQGLQJRQDJH%XW\HVWKHUHZRXOGEHD
     WKRXJKWKH\VXIIHUHGWKHVDPHW\SHRISKDOOLF                  SRLQWLQWLPHZKHQ\RXFRXOGVLPSO\DVFHUWDLQWKDWE\
     GHYHORSPHQWDOGHIHFWUHPDLQHGLGHQWLI\LQJDVPDOHV           DVNLQJ


                                                    3DJH                                                        3DJH
      &RUUHFW"                                               %<$77251(<%522.6
      $<HV                                                   4'U6DIHULVWKDWIXQGDPHQWDOO\DPHGLFDO
      47KHUHZDVDQZKDWHYHUDVVLJQPHQWZDVPDGH         TXHVWLRQRUDSV\FKRORJ\PHQWDOKHDOWKTXHVWLRQ"7KH
      WKLVZDVPDGHWRLQIDQWV,WZDVQ WPDGHRUEDVHGRQ           TXHVWLRQRIWKHUHOLDELOLW\RIDSDWLHQW VVHOIUHSRUW"
      DQ\FKRLFHRUUHSRUWHGVHQVHRQWKHSDUWRIWKHFKLOG"          $,GRQ WNQRZWKDW,VHSDUDWHLWWKDWZD\,VD\
      $7KDW VH[DFWO\ULJKW\HV                             WKDWEDVHGRQWKHGDWDZHVORZO\GHYHORSRYHUWLPHRI
      46RVHYHUDORIWKHVHLQGLYLGXDOVVSHFLILFDOO\          WUDQVJHQGHUSHRSOHZKHUHZHVHHWKDWDQ\DEVHQFHRI
      VL[ZKRZHUHDVVLJQHGIHPDOHDWOHDVWWKURXJKRXWWKH           RWKHUFRQIRXQGLQJLWHPVDORQJWKHOLQHVWKDW,VDLG
      SHULRGLGHQWLILHGE\WKLVVWXG\DGKHUHGWRDIHPDOH         SHRSOHDWDFHUWDLQVWDJHLQPDWXULW\ZKRWHOO\RXD
     OLYLQJRXWWKHIHPDOHJHQGHULGHQWLW\"                         FHUWDLQWKLQJDERXWWKHLUJHQGHULGHQWLW\DUHFRQVLVWHQW
     $$FWXDOO\LWZDVILYHEHFDXVHRQHRIWKHFKLOGUHQ      LQWKDWUHJDUG
     UHIXVHGWRKDYHFRQWDFWZLWKWKHVXUJHRQVZKHQVRPHRI         47KLVVWXG\WKH5HLQHU*HDUKDUWVWXG\
     WKHVHFRQYHUVDWLRQVEHJDQWRWDNHSODFH                       ([KLELWFRQFHUQVORRNVDWWKHHIIHFWRIWU\LQJ
     46RZHNQRZWKDWILYHZHGRQ WNQRZZKDWWKDW      WRUDLVHLQGLYLGXDOVLQDJHQGHULGHQWLW\GLVFRUGDQW
     SHUVRQZDVWKLQNLQJIHHOLQJRULGHQWLI\LQJEXWZH         ZLWKWKHLUFKURPRVRPDOVH[
     NQRZWKDWILYH"                                            &RUUHFW"
     $7KH\ZHUHDQJU\                                      $,WLVGLVFRUGHGZLWKTXLWHDQXPEHURIWKLQJV
     47KH\ZHUHDQJU\:KLFKHYHUWKDWFDPHRXW, G        EXW\HVFKURPRVRPDOLVRQHRI\RXUKDUGGDWDSRLQWV
     EHDQJU\VR                                               47KLVVWXG\GRHVQRWORRNDWWKHTXHVWLRQDERXW
     $<HV                                                  ZKHWKHUDQGZKHQRUKRZDQ\VRUWRILQWHUYHQWLRQPLJKW
     4VRRIWKHVXEMHFWVZKRZHUHDVVLJQHG         HQFRXUDJHGHYHORSPHQWRIDJHQGHULGHQWLW\FRQVLVWHQW
     IHPDOHDQGVXUJLFDOO\WUDQVLWLRQHGDQGVRFLDOO\                ZLWKRQH VJHQHWLFVVH[GRHVLW",WVLPSO\GRHVQRW
     WUDQVLWLRQHGFRQWLQXHGWRDWOHDVWSK\VLFDOO\LGHQWLI\         ORRNDWWKLVLVVXH"
     DVIHPDOH"                                                     $6D\WKDWDJDLQVRUU\


                                                                                        3DJHVWR
                Case: 22-5807
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                                                   3DJH                                                        3DJH
      47KLVVWXG\GRHVQRWDGGUHVVWKHTXHVWLRQRI            WRLGHQWLI\LQJLQDPDQQHUFRQVLVWHQWZLWKWKHLUJHQHWLF
      ZKHWKHURUKRZRUDWZKDWGHYHORSPHQWDOVWDJH                   VH["
      WKHUDSHXWLFLQWHUYHQWLRQVPLJKWHQFRXUDJHWKH                   $77251(<%/2&.2EMHFWLRQWRIRUP
      GHYHORSPHQWRIDJHQGHULGHQWLW\FRQVLVWHQWZLWKRQH V          7+(:,71(666R, PDZDUHRI'U/LWWPDQ
      FKURPRVRPDOVH["                                                KDYLQJZULWWHQDVHFRQGSDSHU%XW, PQRWIDFLOH,
      $7KHVWXG\LVWKHZD\, PLQWHUSUHWLQJWKH          JXHVV
      VWXG\LVLW VORRNLQJDWRXULQDELOLW\WRPDQLSXODWH            %<$77251(<%522.6
      JHQGHULGHQWLW\$QGLW VMXVWWKDW$QG, PDOLWWOH         4<RXKDYHQ WUHDGWKDWSDSHU"
      IX]]\RQWKHUHVWRIZKDW\RX UHDVNLQJPH                     $,KDYHQRWUHDGWKHSDSHU,SUREDEO\GLGUHDG
     4:HOOWKHVWXG\ORRNVDWHIIRUWVWRPDQLSXODWH        LWEXW,ZRXOGQRWEHDEOHWREHTXL]]HGRQLW
     JHQGHULGHQWLW\DZD\IURPFKURPRVRPDOIURPWKHLGHQWLW\        47KHQ,ZRQ WTXL]\RXRQLW,DOZD\VWHOO
     QRUPDOO\DVVRFLDWHGZLWKRQH VFKURPRVRPDOVH[,QWKLV       ZLWQHVVHV,GRQ WNQRZLVWKHHDVLHVWZD\RXWRIDOLQH
     FDVHWKHPDOHVH[                                             RITXHVWLRQLQJ
     5LJKW"                                                $UH\RXOHWPHDVN\RXWKLVGRHV\RXU
     $,WGRHV                                              FOLQLFKDYHDQ\SURFHGXUHLQSODFHWRWUDFNRXWFRPHVRQ
     47KLVVWXG\VLPSO\GRHVQRWORRNDWHIIRUWVWR         SDWLHQWVRQZKRP\RXSHUIRUPJHQGHUFRQIRUPLQJVXUJHU\
     PDQLSXODWHJHQGHULGHQWLW\WRZDUGVDOLJQPHQWZLWKWKH          ORQJWHUP"
     LGHQWLW\QRUPDOO\DVVRFLDWHGZLWKDVXEMHFW V                  $:H UHDFWXDOO\LQWKHZHKDYHDFRXSOHRI
     FKURPRVRPDOVH["                                               SURFHVVHVVR,JXHVVWKHVKRUWDQVZHUVDUH\HVDQG
     $,WKLQN, PIROORZLQJ\RXQRZ6R\RX UH             ZH UHJRLQJWREHPRUHULJRURXVJRLQJIRUZDUG
     VXJJHVWLQJWKDWLIZHWRRNDWUDQVJHQGHUSHUVRQDQG            4'R\RXKDYHDQ\NQRZOHGJHDVWRKRZPDQ\
     WULHGWRPDQLSXODWHWKHLUJHQGHULGHQWLW\WRDOLJQZLWK        SDWLHQWVRQZKRP\RXUFOLQLFKDVSHUIRUPHGVXUJHU\KDYH
     VRPHRIWKHUHVWRIWKHLUELRORJ\"                             DIWHUWKDWVXUJHU\FRPPLWWHGVXLFLGH"
     4, PQRWVXJJHVWLQJWKDW, PVLPSO\VD\LQJWKLV        $,GRQ WRIIWKHWRSRIP\KHDGNQRZWKDW


                                                   3DJH                                                        3DJH
      VWXG\                                                          4'R\RXEHOLHYHWKDW\RXUFOLQLFSRVVHVVHV
      $7KDWSDUWLFXODULQVWDQFH<HV                        UHDVRQDEO\FRPSOHWHLQIRUPDWLRQRQWKDWTXHVWLRQ"
      $77251(<%522.6,WLVRQHRIWKH          $,DFWXDOO\GRQ WWKLQNRXULQIRUPDWLRQLV
      SUHYLRXVPDUNHGRQHVLIWKDWPDWWHUV$OOULJKW              VXIILFLHQWO\FRPSOHWHFXUUHQWO\DQGWKDWDFWXDOO\LVDQ
      ,ZLOOQRWVKRZ\RXWKDWGRFXPHQW/HW          DUHDZKHUHZH UHJRLQJWRGHYHORSPRUHYLJRURXVO\
      PHDVNWKHFRXUWUHSRUWHUKRZPDQ\KRZPXFKWLPHZH         EHFDXVH,ZRXOGDFWXDOO\OLNHWRNQRZWKDW
      KDYHOHIWRQWKHFORFN                                         4'R\RXNQRZZKHWKHUDQ\SDWLHQWVRQZKRP\RXU
      &28575(3257(5,KDYHILYHKRXUV         FOLQLFKDVSHUIRUPHGVXUJHU\KDVVXEVHTXHQWO\VRXJKWWR
      DQGPLQXWHV                                                 GHWUDQVLWLRQDQGWDNHRQRUUHYHUWWRZKLFKHYHUZD\
     $77251(<75<21,GLGQ WKHDUWKDW            \RXZDQWWRVHHLWDJHQGHULGHQWLW\WKDW VDOLJQHG
     &RXOG\RXUHSHDWWKDW"                                         ZLWKWKHLUFKURPRVRPDOVH["
     $77251(<%522.6:H YHJRWDQKRXUDQG         $6RLW VDFRPSOLFDWHGTXHVWLRQ$QGDFWXDOO\,
     HLJKWPLQXWHVDFFRUGLQJWRWKHFORFNRIWKHFRXUW              MXVWZDQWWRJREDFNWRWKHILUVWSDUWZKHUH\RXZHUH
     UHSRUWHUKHUHDQG,EHOLHYHWKDWRXUIULHQGLQWKH            WDONLQJDERXWVXLFLGH
     HWKHULVFDOFXODWLQJVHSDUDWHO\                               7REHFOHDUWKHULJRU, PWDONLQJDERXWLVQRW
     9,'(2*5$3+(5&RUUHFW$QGLWVRXQGV          VXLFLGHIRFXVHGEHFDXVH,DFWXDOO\DPQRWDQWLFLSDWLQJ
     OLNHWKHVDPH,KDYHWRGRWKHPDWK                         WKDWWKDWLVWKDWWKDWLVKDSSHQLQJRULVKDSSHQLQJ
     $77251(<%522.62ND\                         PRUHWKDQZLWKEHLQJVHHQLQDJHQHUDOSRSXODWLRQEXW
     %<$77251(<75<21                                             IRUDOOHQFRPSDVVLQJWKDWZHGRGHILQLWHO\QHHGWKDW
     4$UH\RXIDPLOLDU'U6DIHUZLWKDSDSHUUHFHQWO\      %XWEDFNWR\RXUFXUUHQWTXHVWLRQ
     SXEOLVKHGE\/LVD/LWWPDQRI%URZQ8QLYHUVLW\ORRNLQJDW       4/HWPHMXPSEDFNWRVXLFLGHIRUDPRPHQW$UH
     WKHVXUYH\LQJWHHQVRU\RXQJDGXOWVDFWXDOO\           \RXDZDUHRIVWXGLHVFRPLQJRXWRI'H9U\8QLYHUVLW\DQG
     VXUYH\LQJDKXQGUHGLQGLYLGXDOVZKRUHSRUWKDYLQJ              $PVWHUGDPVXJJHVWLQJWKDWSRVWVXUJLFDOWUDQVJHQGHU
     GHWUDQVLWLRQHGDQGJRQHIURPLGHQWLI\LQJDVWUDQVJHQGHU       SRSXODWLRQVFRQWLQXHVWRH[SHULHQFHHOHYDWHGUDWHVRI


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                                                   3DJH                                                        3DJH
      FRPSOHWHVXLFLGHVFRPSDUHGWRFRQWUROOHGSRSXODWLRQV"           KDYHWRVWRSHYHQWKRXJK,KDYHVRPDQ\PRUH
      $77251(<%/2&.2EMHFWLRQWRIRUP              LQWHUHVWLQJTXHVWLRQV
      7+(:,71(666R, PDZDUHWKDW                  $77251(<%522.66R'DYH,ZLOOVWRS
      WUDQVJHQGHUSHRSOHKDYHPRUHPHQWDOKHDOWKPRUELGLW\            DQG,ZLOOWXUQWKHZLWQHVVRYHUWR\RX
      WKDQRWKHUSRSXODWLRQV2QFHFRUUHFWLRQVDUHPDGHIRU          $77251(<%/2&.&RXOGZHWDNHDEUHDN
      RWKHUFRQIRXQGLQJIDFWRUV,GRQ WNQRZWKDWZHZRXOG            QRZ"
      KDYHWKDWZH UHYHU\FOHDU\HWRQWKRVHGDWD                $77251(<%522.62IFRXUVHLWLVDJRRG
      LQFOXGLQJ                                                  WLPHIRUVXUH
      %<$77251(<%522.6                                             $77251(<%/2&.7KDQNV&DQZHJRRII
     4:KHQ,UHIHUWRDSXEOLVKHGVWXG\FRPLQJRXWRI       WKHUHFRUG"
     'H9U\8QLYHUVLW\RI$PVWHUGDPVKRZLQJKLJKUDWHVRI            9,'(2*5$3+(57KHWLPHLVSP
     VXLFLGDOLW\LQSRVWVXUJLFDOWUDQVJHQGHUSDWLHQWV\RX          (DVWHUQ6WDQGDUG7LPH
     EHOLHYH\RX UHIDPLOLDUZLWKWKDWOLWHUDWXUH"                  2))9,'(27$3(
     $,JXHVVLWZRXOGIDOOLQWKHVDPHFDWHJRU\DV         
     /LWWPDQ VVHFRQGSDSHU                                         :+(5(8321$6+257%5($.:$67$.(1
     42ND\                                                 
     $:KHUH, PIDPLOLDUZLWKWKHIDFWWKDWWKH\ UH         219,'(27$3(
     GRLQJVXUYH\VDQG, PIDPLOLDUZLWKWKHEURDGRXWOLQHV        9,'(2*5$3+(5:HDUHEDFNRQWKHUHFRUG
     EXWFRXOGQRW                                              7KHFXUUHQWWLPHUHDGVSP(DVWHUQVWDQGDUG7LPH
     42ND\                                                 $77251(<%/2&.7KLVLV-RVK%ORFNRQ
     $FRPPHQWRQVSHFLILFVWXGLHVZLWKRXWLWEHLQJ      EHKDOIRIWKH3ODLQWLII:HKDYHFRQIHUUHGRIIWKH
     LQIURQWRIPH                                                UHFRUGLQFOXGLQJZLWKFRXQVHOIURP0RXQW6LQDLDQG
     4$QGKDYHDQ\SDWLHQWVRQZKRP\RXUFOLQLFKDV         'RFWRU6DIHUFDQDQVZHUWKHWZRTXHVWLRQVKHGHFOLQHGWR
     SHUIRUPHGVXUJHU\VXEVHTXHQWO\GHFLGHGWRGHWUDQVLWLRQ        DQVZHUEHIRUHSURYLGHGWKDWZHPDUNWKRVHSRUWLRQVRI


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      DQGDVVXPHDJHQGHULGHQWLW\DOLJQHGZLWKWKHLU                 WKHGHSRVLWLRQWUDQVFULSWFRQILGHQWLDODQGDOOFRXQVHO
      FKURPRVRPDOVH["                                                IRU'HIHQGDQWVKDYHDJUHHGZLWKWKDW
      $,GRQ W,GRQ WNQRZ7KHUHLVDEVROXWHO\         $77251(<%522.6$QGWKLVLV5RJHU
      WKHFDVHWKDWWKHUHDUHSHRSOHZKRVWRSWKHLUWUHDWPHQW         %URRNVDQG\HV,FRQILUPWKDWDOOFRXQVHOIRU
      DWGLIIHUHQWOHYHOVVRLWKDVGHILQLWHO\EHHQP\               'HIHQGDQWVKDYHDJUHHGWRWKDW
      H[SHULHQFHWKDW,KDYHSDWLHQWVZKR, YHSXWRQKRUPRQH         &21),'(17,$/3257,21%(*,16
      WUHDWPHQWVZKRKDYHVWRSSHGWKRVHKRUPRQHWUHDWPHQWV        
      $QGWKHUHDUHDOVRDPRQJRXUSDWLHQWV,GRQ WNQRZ      
      LIDQ\RIWKHSDWLHQWVZKHUHZHSHUIRUPHGWKHRULJLQDO       
     VXUJHU\WKH\DFWXDOO\ZHUHRSWLQJIRUDGLIIHUHQW           
     VXUJHU\EXWZHGHILQLWHO\KDYHSDWLHQWVZKRKDYHFRPH      
     WRXVZKRKDGDVXUJHU\GRQHHOVHZKHUHZKRZHUHORRNLQJ    
     IRUDGHJUHHEDVLFDOO\ZKDW\RX UHFDOOLQJDUHYHUVDO      
     WRWKHGHJUHHWKDWWKDW VSRVVLEOH6RWKDWVXFKD         
     WKLQJGRHVH[LVW6RWKHSRLQWDERXWVD\LQJWKDWWKH\      
     KDYHDGLIIHUHQWJHQGHULGHQWLW\WKDWZRXOGWKDWLV    
     QRWW\SLFDOO\KRZWKHSDWLHQWVFRPHVD\LQJLW7KH\        
     GRQ WVD\RKLWWXUQVRXWP\JHQGHULGHQWLW\LVQRW       
     WKDW,W VPRUHRIWHQVRFLHW\LVQRWWUHDWLQJPHZHOO     
     WKLVLVQ WZRUNLQJRXW7KDW VWKHPRUHWKDW VWKH     
     WKDW VWKHW\SLFDOVFHQDULR,PHDQ\HVZH           
     GHILQLWHO\KDYHVHHQWKDWFLUFXPVWDQFH                     
     4'DYH7U\RQZKRLVZLWKXVUHPRWHO\DV&RXQVHO     
     IRU:HVW9LUJLQLD,KDYHSURPLVHGKLPDQKRXUVR,        


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                                                  6R,DP'DYLG7U\RQ,UHSUHVHQWWKH6WDWHRI9LUJLQLD
                                                  , PDSSRLQWHGE\WKH$WWRUQH\*HQHUDO V2IILFH$QG,
                                                  ZDQWHGWRVWDUWRXWE\ORRNLQJDWDVNLQJ\RXWRWDNH
                                           DORRNDW\RXU5HEXWWDO5HSRUW,GRQ WUHFDOOZKDW
                                                 H[KLELWQXPEHUWKDWLV,I\RXFRXOGWHOOXVZKDWLWLV
                                          PDUNHG"
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                                          4&RXOG\RXWDNHDORRNDWSDUDJUDSKVL[SOHDVH"
                                                 'R\RXKDYHWKDWLQIURQWRI\RX"
                                                 $<HV
                                                 4*UHDW1RZLQKHUHLWVD\VLQWKHVHFRQGRU
                                                 PD\EHWKLUGVHQWHQFHDVUHIOHFWHGLQWKHVDPHVRXUFH
                                                 FLWHGE\'RFWRU%URZQGLPRUSKRXVVH[XDOFKDUDFWHULVWLFV
                                                 LQPHQDQGZRPHQDUHSURGXFHGE\DFRPELQDWLRQRIJHQHV
                                          SUHQDWDODQGURJHQH[SRVXUHWRVH[KRUPRQHV$QG, G



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                                                   3DJH                                                         3DJH
      OLNHWRIRFXVRQWKDWSDUWLFXODUFODXVH&DQ\RX               JHQLWDOLDVRWKDWDOOEDELHVERUQZLWKZKDWZLWKD
      H[SODLQZKDWSUHQDWDODQGURJHQH[SRVXUHWRVH[KRUPRQHV         SHQLVDQGZLWKDXUHWKUDWKDWLVWKHSDUWIRUZKLFK\RX
      LV"                                                             XULQDWHWKDW VXSLQVLGHWKHSHQLVDQGKDYLQJWKH
      $<HV7KDWUHIHUHQFHV,JXHVVWRPHLW V           JRQDGVZKLFKZRXOGW\SLFDOO\EHWHVWHVLQWKHVFURWXP
      PRUHRUOHVVH[DFWO\ZKDWLWVD\VZKLFKLVWKDWWKH            DOORIWKDWKDSSHQVLQUHVSRQVHWRWHVWRVWHURQH
      GHYHORSLQJIHWXVLVH[SRVHGWRYDULRXVKRUPRQHVDQG             %<$77251(<75<21
      RWKHUIDFWRUVDQGDQGURJHQLVVSHFLILFDOO\WKHPDOH         4$QGWKHQWKDWDOVRWULJJHUVDTXHVWLRQ,KDG
      LVW\SLFDOO\ZKDWZHFRQVLGHUWREHWKHPDOHVH[                <RXKDGSUHYLRXVO\VDLGLQ\RXURULJLQDOUHSRUWD
      KRUPRQHDOWKRXJKHYHU\RQHKDVVRPH$QGWKHQSUHQDWDO         SHUVRQ VJHQHWLFPDNHXSDQGLQWHUQDODQGH[WHUQDO
     MXVWPHDQVDQGLQXWHURRULQWKHPRWKHU VZRPE               UHSURGXFWLYHDQDWRP\DUHQRWXVHIXOLQGLFDWRUVRI
     46RDQGURJHQIRUPDOHVLVWHVWRVWHURQH                DWKOHWLFSHUIRUPDQFHDQGKDYHQRWEHHQXVHGLQDOHDJXH
     ,VWKDWULJKW"                                        FRPSHWLWLRQIRUGHFDGHV
     $$QGURJHQLQJHQHUDOLVWKDWFDWHJRU\RIKRUPRQHV      0\TXHVWLRQRQWKDWLVZKHQ\RXVD\DSHUVRQ V
     WKDWZHWKLQNRIDVW\SLFDOO\PDOHHYHQWKRXJKOLNH,        JHQHWLFPDNHXSGRHVQ WWKHLUJHQHWLFPDNHXSWULJJHU
     VDLGZHDOOKDYHWKHP$QGRQHRIWKHDQGURJHQVLV           ZKHWKHURUQRWWKH\DUHJRLQJWRDSHUVRQ VJHQHWLF
     WHVWRVWHURQH$QGZLWKDGXOWVLWLVWKHRQHWKDWZHDUH       PDNHXSZLOOGHWHUPLQHZKHWKHURUQRWWKH\ UHDER\RUD
     WDONLQJDERXWPRVWRIWKHWLPHRIFRXUVH                     JLUODQGWKHUHIRUHLIWKH\ UHDER\WKDWZRXOGWULJJHU
     42ND\                                                 WKHLUJHQHUDWLRQRIPRUHWHVWRVWHURQHWKDQDJLUO
     6RDV,XQGHUVWDQGLW\RXUVXJJHVWLRQLVWKDW        ,VWKDWDIDLUVWDWHPHQW"
     WKDWSUHQDWDOH[SRVXUHWRWHVWRVWHURQHFDQKDYHDQ             $77251(<%/2&.2EMHFWLRQWRIRUP
     LPSDFWHYHQDIWHUELUWK                                       7+(:,71(66<HDKQRWKDW VVR,
     ,VWKDWULJKW"                                        WKLQN,QHHGWRZDONWKDWEDFNDOLWWOHELW:K\GRQ W
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      GRQ WZDQWWRRYHUVWDWHLWEXWIDFWRUVWKDWRFFXUWR           %<$77251(<75<21
      ZKLFKDIHWXVLVH[SRVHGLQWKHZRPEKDYHLPSDFWRQWKH         4,ZLOOUHVWDWHLW6RZKHQ\RXVD\DSHUVRQ V
      GHYHORSPHQWRIWKDWIHWXVRIWKDWSHUVRQZKHQWKH\DUH         JHQHWLFPDNHXSZKDWGRHVWKDWPHDQ"
      ERUQDQGVRDQGURJHQVLQFOXGLQJWHVWRVWHURQHZRXOGEH        $0RVWO\LQWKLVFRQWH[W, PUHIHUHQFLQJWKHLU
      SDUWRIWKDWVR\HV                                           FKURPRVRPHVWKDW VWKHVSHFLILFWKDWLQWKHIXUWKHUSDVW
      %<$77251(<75<21                                              ZDVDFWXDOO\EHLQJXVHGWRLGHQWLI\SHRSOHZKLFKZHQR
      46RDUH\RXDZDUHRIVWXGLHVDGGUHVVLQJWKH             ORQJHUGR,W VQRWVXIILFLHQWO\UHOLDEOH
      LPSDFWRISUHQDWDOH[SRVXUHWRWHVWRVWHURQHDVLW               4'RHVWKH\RXKDYHDQ;<FKURPRVRPHWKDWLV
      LPSDFWVSHRSOHDIWHUWKHLUELUWK"                               W\SLFDOO\FRQVLGHUHGWRPHDQWKDW\RX UHDPDOH
     $77251(<%/2&.2EMHFWLRQWRIRUP             &RUUHFW"
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     VSHFLILFDERXWZKLFKVWXGLHV                                  PHDQWKDW\RX UHDPDOHFRUUHFW
     %<$77251(<75<21                                             4$QGWKDWZRXOGPHDQWKDW\RXZRXOGEHJHQHUDWLQJ
     4$UH\RXDZDUHRIDQ\VWXG\WKDWDGGUHVVHVWKH         PRUHWHVWRVWHURQHWKDQLI\RXKDYHDQ;FKURPRVRPH
     HIIHFWRISUHQDWDOWHVWRVWHURQHXSRQER\VDIWHUWKH\ UH        5LJKW"
     ERUQ"                                                          $77251(<%/2&.2EMHFWLRQWRIRUP
     $77251(<%/2&.2EMHFWLRQWRIRUP             7+(:,71(666RWKHSUHVHQFHDORQHRI
     7+(:,71(666RWKH                       WKDW;<SDWWHUQLVLQVXIILFLHQWWRNQRZZLWKFHUWDLQW\
     %<$77251(<75<21                                             WKDW\RX UHSURGXFLQJPRUHWHVWRVWHURQHDQGWKDWLVSDUW
     42UPHQ"                                               RIWKHSRLQWRI, PVD\LQJLWLVWKDWELRORJLFDOVH[LV
     $6R,FDQ,JXHVV,KDYHWRNLQGRI        PRUHFRPSOH[DQG\RXFRXOGKDYHWKHJHQHIRUWKHWHVWHV
     WZRDQVZHUV([SRVXUHWRSUHQDWDODQGURJHQVNLQGRI          WKDWSURGXFHWHVWRVWHURQHHOVHZKHUHDQGWKHQ\RX
     JHQHUDOO\EHFDXVHLWLVQRWDOZD\VWHVWRVWHURQHH[SODLQ       ZRXOGQ WKDYHWKDWSDWWHUQDQG\RXVWLOOZRXOGEH
     WKHGHYHORSPHQWRIZKDWZHFRQVLGHUWREHW\SLFDOO\PDOH       SURGXFLQJWKHWHVWRVWHURQHRUYLFHYHUVD



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                                                   3DJH                                                         3DJH
      %<$77251(<75<21                                              FRQFOXVLRQRQSDJH"
      42ND\                                                  $6RFDQZHPRYHWKHSLFWXUHVEHFDXVHWKH\ UH
      :HOOOHW VJREDFNWRSUHQDWDOWHVWRVWHURQH          EORFNLQJ
      6R\RX UHQRWLI,XQGHUVWRRGZKDW\RX UHVD\LQJ            4&DQ\RXVHHLW"
      EHIRUH\RX UHQRWDZDUHRIDQ\VWXGLHVWKDWVKRZ               $:H UHJHWWLQJWKHUH$QGWKHQLVWKHUHDZD\WR
      ZKHWKHURUQRWSUHQDWDOWHVWRVWHURQHZRXOGKDYHOHW         PRYHWKDW"2KSHUIHFW<HV
      PHMXVWVWDUWWKDWRYHUDJDLQ                                  42ND\
      $UH\RXDZDUHRIDQ\VWXGLHVWKDWDGGUHVV              7KHFRQFOXVLRQVD\VFXUUHQWSDSHUSURYLGHV
      ZKHWKHUSUHQDWDOWHVWRVWHURQHKDVLPSDFWRQVSRUWLQJRQ        LQLWLDOVXSSRUWIURPDQDVVRFLDWLRQEHWZHHQSUHQDWDO
     DWKOHWLFVLQFKLOGUHQDIWHUELUWK"                             WHVWRVWHURQHOHYHOVDQGPHQWDOWRXJKQHVVRSWLPLVPJRDO
     $&RUUHFW7KDWZRXOGEHULJKWWRVD\WKDWWKHUH       RULHQWDWLRQVFRSLQJVWUDWHJLHVDQGKRVWLOLW\SHULRG
     DUHQRVWXGLHVRIZKLFK, PDZDUHWKDWFDQDVVRFLDWH           )LQGLQJVWHQWDWLYHO\VXJJHVWWKDWWKHPHQWLRQHG
     SUHQDWDOWHVWRVWHURQHZLWKDWKOHWLFLVP$QG,GRQ W           SV\FKRORJLFDOFKDUDFWHULVWLFVPD\EHSDUWLDOO\
     NQRZZKDWOHYHOVZH UHHYHQWDONLQJ/LNHDQDGXOW            ELRORJLFDOO\SUHGHWHUPLQHG
     OHYHO":KDW V\RXUTXHVWLRQWKHUH"                            'R\RXVHHWKDW"
     40\QH[WTXHVWLRQLVKDYH\RXKHDUGRIWKH            $,GRVHHLW\HV
     -RXUQDORI6SRUWV6FLHQFHDQG0HGLFLQH"                        4'R\RXKDYHDQ\UHDVRQWREHOLHYHZKHWKHUWKDW V
     $,JXHVV\RXZRXOGKDYHWRVKRZLWWRPH              WUXHRUQRWWUXH"
     42ND\                                                 $77251(<%/2&.2EMHFWLRQ,MXVW
     +DYH\RXHYHUKHDUGWKHQDPH-LP*ROGE\RU            REMHFWWRDVNLQJKLPDERXWDFRQFOXVLRQZKHQKHMXVWKDV
     -HQQLIHU0D\V"                                                 DOLWWOHVQLSSHWRIWKDWDQGKDVQ WUHYLHZHGWKH
     $1R                                                   DUWLFOH$QG, PQRWHYHQVXUHLILWKDVEHHQFLWHGLQ
     $77251(<75<21-DNHFRXOG\RXEULQJXS       WKHRWKHUH[SHUWUHSRUWV
     WKH([KLELWWKDW,VHQWWR\RXWRGD\ZKLFKLVWKH             7+(:,71(66,FHUWDLQO\FDQ


                                                   3DJH                                                         3DJH
      *HQHUDO6SRUWV6FLHQFHDQG0HGLFLQH"                            %<$77251(<75<21
      $77251(<:,/.,1621'R\RXVHHDQ\WKLQJ"        4*RDKHDG
      7+(:,71(66,GRQ WVHHDQ\WKLQJ2K         $,FHUWDLQO\FDQQRWVD\LIWKDWFRQFOXVLRQKDV
      WKDW 6WRRVPDOO2ND\7KDW VRND\                          DQ\ORJLFWRLWZLWKRXWNQRZLQJWKHVWXG\
      $77251(<75<212ND\                           48QGHUVWRRG,VLWSRVVLEOHVLQFHWKLV
      $QGWKLVZLOOEH([KLELWZKDW([KLELW        SDUWLFXODUVWXG\VXJJHVWVWKHUHLVDQLPSDFWRQDGXOWV
      DUHZHRQ-DNHGR\RXNQRZ"                                    E\SUHQDWDOWHVWRVWHURQH",VLWWKDWSUHQDWDO
      9,'(2*5$3+(57KLVLV                       WHVWRVWHURQHFRXOGDOVRKDYHD'6'H[SODQDWLRQIRUZK\
                                         VKRXOGER\VDW\HDUVROGKDYHPRUHDWKOHWLFDELOLW\
      :KHUHXSRQ([KLELW$UWLFOHZDV            WKDQJLUOV"
     PDUNHGIRULGHQWLILFDWLRQ                     $77251(<%/2&.2EMHFWLRQWRIRUP
                                      7+(:,71(666RVSHDNLQJ\HDK
     $77251(<75<21, PVRUU\"                 VSHDNLQJDVDQH[SHUW,FDQ WJLYH\RXDQH[SHUW
     9,'(2*5$3+(5&RUUHFW                         FRPPHQWWKHUHZLWKRXWVHHLQJWKHLUVWXG\
     %<$77251(<75<21                                             %<$77251(<75<21
     42ND\                                                 42ND\
     ,WDNHLWIURP\RXUHDUOLHUDQVZHUV\RX              6R\RXMXVWFDQ WVD\RQHZD\RUWKHRWKHU
     SUREDEO\QHYHUVHHQLWEHIRUH                                 &RUUHFW"
     ,VWKDWULJKW"                                        $77251(<%/2&.2EMHFWLRQWRIRUP
     $,FHUWDLQO\GRQ WUHFDOO,GRQ WZDQWWRVWDWH      7+(:,71(66,PRVWO\ZRXOGQ WZDQWWR
     GHILQLWLYHO\, YHQHYHUVHHQLWHLWKHUEXWLW V               FRPPHQWRQWKHLUVWXG\,ZLOORQO\PDNHWKH
     FHUWDLQO\QRWDSDSHUWKDW, PJRLQJWRNQRZRIIWKHWRS       REVHUYDWLRQWKDWWKHGDWDRIZKLFK,DPDZDUHGRQRW
     RIP\KHDG                                                    VKRZGLIIHUHQFHVIRUSUHSXEHUWDOFKLOGUHQLIWKDWZDV
     4:HOOOHWPHDVN\RXWRWDNHDORRNDWWKH            SDUWRI\RXUTXHVWLRQ


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                                                  3DJH                                                         3DJH
      %<$77251(<75<21                                             WKHPHGLFDOFRPPXQLW\ULJKWQRZ7KHGHWDLOHG
      4$QGVRWKHSHUIRUPDQFHGDWDWKDW'U+DQGHOVPDQ       H[SODQDWLRQVIRUWKHVSHFLILFELRORJ\DUHQRWNQRZQLI
      SRLQWHGRXWVKRZLQJWKDWWKHUHDUHVRPHGDPDJHVJLYHQ          WKDW VZKHUH\RX UHJRLQJ
      EHIRUHSXEHUW\\RXUHMHFWWKRVH"                              %<$77251(<75<21
      $77251(<%/2&.2EMHFWLRQWRIRUP             4$VVXPLQJWKHUHLVDFWXDOO\DELRORJLFDO
      7+(:,71(666RWKRVHEURDG                    FRPSRQHQWDV\RXVD\WRJHQGHULGHQWLW\WKDWVD\V
      FURVVVHFWLRQDOVWXGLHVGRQ WJHWDWLQSXWZKHWKHUWKH\       QRWKLQJDERXWZKHWKHUDELRORJLFDOPDOHLGHQWLI\LQJDVD
      DUHUHIHUHQFLQJELRORJLFDOH[SODQDWLRQVYHUVXVVRFLHWDO        IHPDOHVKRXOGDVDSXEOLFSROLF\PDWWHUEHDOORZHGWR
      H[SODQDWLRQV                                                  SDUWLFLSDWHRQDJLUOVDWKOHWLFWHDPLQKLJKVFKRRODQG
     %<$77251(<75<21                                            PLGGOHVFKRRO
     42ND\                                                5LJKW"
     :KHWKHULW VVRFLHWDORUELRORJLFH[SODQDWLRQV      $77251(<%/2&.2EMHFWLRQWRIRUP
     +DQGHOVPDQVWLOOGHPRQVWUDWHGWKDWWKHUHLVDQDGYDQWDJH      7+(:,71(666RWKHZD\WKDW,ZRXOGVD\
     IRUSUHSXEHVFHQWPDOHVRYHUIHPDOHVLQDWKOHWLFV            WKDWLVHYHQLIZHUHFRJQL]HWKDWWKHUHLVDELRORJLFDO
     5LJKW"                                                 H[SODQDWLRQIRUJHQGHULGHQWLW\WKDWGRHVQRWZHOO
     $77251(<%/2&.2EMHFWLRQWRIRUP            ,GRQ WNQRZWKDWWKHQ,FDQJRRQWRPDNHDQH[SHUW
     7+(:,71(661RQHLWKHU'U+DQGHOVPDQ       VWDWHPHQWKRQHVWO\EHFDXVHWKDWJHWVRXWVLGHP\
     LQKLVSDSHUKHGRHVQ WDFWXDOO\VD\WKDW$QGLI        SXUYLHZDQGLQWHUPVRIP\ODQHLVMXVWVLPSO\WR
     \RX,WKLQNZHORRNHGSUHYLRXVO\DWRQHRIWKH            VD\WKDW
     ILJXUHVZKHUHVSHFLILFDOO\WKHUDQJHRIRXWFRPHVLI\RX      %<$77251(<75<21
     ZHUHWRUHSHDWWKHVWXG\LQFOXGHGWKHJLUOVGRLQJ            4*RWLW&DQ\RXORRNDW\RXUUHEXWWDOUHSRUW
     EHWWHUWKDQWKHER\V                                         DQGORRNDWSDJHWZR"
     %<$77251(<75<21                                            $,KDYHP\UHEXWWDOLQIURQWRIPHDQG, PRQ
     4:HOOWKDWZDVRQO\RQHRIWKHP7KDWZDVQRW       SDJHWZR


                                                  3DJH                                                         3DJH
      LW7KDWZDVRQHRIWKHFKDUWV7KHRWKHUFKDUWVKRZHG       43DUDJUDSK%"
      WKDWWKHUHZDVDQDGYDQWDJHULJKW"                            $,KDYHWKDWLQIURQWRIPH
      $77251(<%/2&.2EMHFWLRQWRIRUP             4<RXVD\JUHDW<RXVD\FLUFXODWLQJ
      7+(:,71(667KHRWKHU\HDKOHWPH        WHVWRVWHURQHLVWKHSULPDU\NQRZQELRORJLFDOGULYHURI
      WKLQNZLWKWKDWRQH5LJKW:HDUHQRWJHWWLQJLQWR          DYHUDJHGLIIHUHQFHVLQDWKOHWLFSHUIRUPDQFH'R\RXVHH
      ZKDWWKHFDXVDOLW\LVWKHQWKHRWKHUFKDUWVGLGVKRZ          WKDW"
      WKHER\VGRLQJEHWWHU$QGDJDLQWKHFDYHDWUHPDLQV          $,GR
      ZKDWLVQRWZKDWLVQRWGHPRQVWUDWHGWKHUHLVWKDW         4<RXVD\LWLVSULPDU\VRZKDWDUHWKHRWKHU
      WKHUHLVWKDWWKDWLVDELRORJLFDOWKLQJYHUVXV            ELRORJLFDOGULYHUVRIDYHUDJHGLIIHUHQFHVLQDWKOHWLF
     VLPSO\WKHYHU\ORQJVWDQGLQJVRFLHWDODQGFXOWXUDO            SHUIRUPDQFH"
     HQYLURQPHQWV                                                 $77251(<%/2&.2EMHFWLRQWRIRUP
     %<$77251(<75<21                                            7+(:,71(666RZKHQ,VRZH UH
     4$QG\RX YHFRQWHQGHGWKDWWKHUH VDELRORJLFDO       WDONLQJDERXWFLUFXODWLQJWHVWRVWHURQHOHWPHMXVW
     FRPSRQHQWWRJHQGHULGHQWLW\                                 ORRNDWWKLV5LJKW7KHWUXWKLVLVWKDWLWPD\
     &RUUHFW"                                             WKDWWKHRQO\FDQGLGDWHVWKDWZHKDYHVRIDUDUH
     $<HV                                                 WHVWRVWHURQHDWSXEHUW\DQGWHVWRVWHURQHLQWKHPRPHQW
     4:KLFKZHKDYHQRWEHHQDEOHWRLGHQWLI\LQWKLV      %<$77251(<75<21
     GHSRVLWLRQ                                                   46RLW VDFFRUGLQJWR\RXLW VWHVWRVWHURQH
     &RUUHFW"                                             DWSXEHUW\DQGFLUFXODWLQJWHVWRVWHURQHDUHWKHRQO\
     $77251(<%/2&.2EMHFWLRQWRIRUP            ELRORJLFDOGULYHUVRIDYHUDJHGLIIHUHQFHVLQDWKOHWLF
     7+(:,71(666RLWLVQRWTXLWHZHOO      SHUIRUPDQFH
     ,DFWXDOO\GRQ WNQRZZKDW VEHHQLGHQWLILHGLQWKH           ,VWKDWULJKW"
     GHSRVLWLRQ7KHGDWDDUHLQFOXGHGLQP\LQWKH           $6RH[FXVHPH, PDFWXDOO\VRWKLVLVWKH
     SDSHUVWKDW,UHIHUHQFHGWKDWDUHZKDWDUHFRQYLQFLQJWR      SUHVLGHQWRIWKHKRVSLWDO


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                                                   3DJH                                                        3DJH
      $77251(<%/2&., PVRUU\&DQZHJR          FRPSRQHQWVRIWKHHGXFDWLRQDOSURFHVVLQVWLWXWLRQVPD\
      RIIWKHUHFRUGIRUDPLQXWHDQGWDNHDEUHDN7KH             DGRSWSROLFLHVGHVLJQHGWRHPSKDVL]HLQFOXVLRQDQGWR
      SUHVLGHQWRIWKHKRVSLWDOLVUHWXUQLQJKLVSUHYLRXV            SURYLGHWKHPRVWDWKOHWLFRSSRUWXQLWLHVWRWKHJUHDWHVW
      FDOO                                                          QXPEHURISHRSOH<RXVHHWKDW
      9,'(2*5$3+(5*RLQJRIIWKHUHFRUG7KH       5LJKW"
      FXUUHQWWLPHLV(DVWHUQ6WDQGDUG7LPH                    $,GR
      2))9,'(27$3(                                                  46RWKHVHSROLFLHV\RXUHIHUUHGWRDUHGHVLJQHG
                                      WRHPSKDVL]HLQFOXVLRQDQGWRSURYLGHWKHPRVWDWKOHWLF
       :+(5(8321$6+257%5($.:$67$.(1                           RSSRUWXQLWLHVWRWKHJUHDWHVWQXPEHURISHRSOHZKDW V
                                    WKHVRXUFHRIWKDWSROLF\"'LG\RXFRPHXSZLWKWKDWRU
     219,'(27$3(                                                  GLG\RXVHHLWVRPHSODFHHOVH"
     9,'(2*5$3+(5%DFNRQWKHUHFRUG7KH        $77251(<%/2&.2EMHFWLRQWRWKHIRUP
     FXUUHQWWLPHUHDGVSP(DVWHUQ6WDQGDUG7LPH           7+(:,71(666RWKHTXHVWLRQLVKRZDP,
     %<$77251(<75<21                                            DZDUH"<HDK,DSRORJL]H<RXFDQKHDUWKDW, P
     40\ODVWTXHVWLRQZDVDFFRUGLQJDFFRUGLQJWR      FRQIXVHGRQ\RXUTXHVWLRQ
     \RXWHVWRVWHURQHDWSXEHUW\DQGFLUFXODWLQJ                  %<$77251(<75<21
     WHVWRVWHURQHDUHWKHRQO\ELRORJLFDOGULYHUVRIDYHUDJH       4, OOWU\DQGGREHWWHU<RXVDLGLQWXLWLRQVPD\
     GLIIHUHQFHVLQDWKOHWLFSHUIRUPDQFH                          DGRSWSROLFLHVGHVLJQHGWRHPSKDVL]HLQFOXVLRQDQGWR
     ,VWKDWULJKW"                                       SURYLGHWKHPRVWDWKOHWLFRSSRUWXQLWLHVWRHPEUDFHD
     $5LJKWWKH\DUHWKHRQO\RQHVWKDWDUHNQRZQ        QXPEHURISHRSOH$QGWKRVHSROLFLHVWKDW\RX UHVD\LQJ
     4$QGLQSDUDJUDSK&ORRNLQJRQSDJHWKUHH       WKHUHLVWKDWDSROLF\WKDW\RXUHDGDERXWVRPHZKHUHRU
     OHW VPRYHRYHUWRSDJHWKUHHDWWKHWRSRIWKHSDJH        VRPHWKLQJ\RXDUHMXVWVXJJHVWLQJ":KDW VWKHVRXUFHRI
     \RXUVWDWHPHQWLVWKHUHLVQREDVLVWRH[SHFWWKDW            WKDW"
     WUDQVJHQGHUJLUOVZKRUHFHLYHSXEHUW\GHOD\LQJ                $77251(<%/2&.2EMHFWLRQWRIRUP


                                                   3DJH                                                        3DJH
      PHGLFDWLRQIROORZHGE\JHQGHUDIILUPLQJKRUPRQHVZRXOG         7+(:,71(666RDQRSHUDWLYHZRUGLQ
      KDYHDQDWKOHWLFDGYDQWDJH7KHUH VDFRPPD%XWLIZH       WKLVLVPD\DGRSWSROLFLHVVRWKLVLVQ WUHIHUHQFLQJD
      MXVWSXWDSHULRGWKHUHLVWKDW\RXURSLQLRQ"                 VSHFLILFSROLF\WKDW,ZRXOGJLYH\RXULJKWWKLVPRPHQW
      $7KDWLVFRUUHFW<HVWKDWLVP\RSLQLRQ            LIWKDW VZKDW\RXDUHDVNLQJ
      4/HWPHDVN\RXWKHFRQYHUVH<RXVD\WKHUHLV        %<$77251(<75<21
      QREDVLVWRH[SHFWWKDWWUDQVJHQGHUJLUOVZKRUHFHLYH          46RULJKWMXVWDVLGHIURPHGXFDWLRQWKLV
      SXEHUW\GHOD\LQJPHGLFDWLRQIROORZHGE\JHQGHUDIILUPLQJ       ZKROHSDUDJUDSKLVWDONLQJDERXWHGXFDWLRQEXW\RX UH
      KRUPRQHVZRXOGQRWKDYHDQDWKOHWLFDGYDQWDJHSHULRG         QRWDQH[SHUWRQHGXFDWLRQRUWHDFKLQJPHWKRGRORJ\DUH
      :RXOG\RXDJUHHZLWKWKDWVWDWHPHQW"                           \RX"
     $1R                                                  $,FHUWDLQO\DPQRW
     4'R\RXKDYHDQ\H[FXVHPHDQ\SHUIRUPDQFH       4$QG\RXGRQ WKDYHDQ\GHJUHHVLQHGXFDWLRQRU
     GDWDIURPDQDFWXDODWKOHWLFHYHQWWKDWVXSSRUW\RXU          WUDLQLQJLQWHDFKLQJPHWKRGRORJ\GR\RX"
     RSLQLRQ"                                                      $,GRQRW
     $,GRQRWKDYHDQ\GDWDIURPDQDFWXDODWKOHWLF       4$QG\RXKDYHQRGHJUHHVRUWUDLQLQJLQSHGDJRJ\"
     SHUIRUPDQFHVWXG\IRUWKDW1R,GRQRWLQWKDW             $,KDYHQRGHJUHHLQSHGDJRJ\,ZLOOEHFDUHIXO
     FRQWH[WLQWKDWVSHFLILFLQVWDQFH                           KRZDEVROXWHO\,GRQRWEHFDXVHWKDW VQRWP\
     4/HWPHDVN\RXWRORRNDW\RXUUHSRUW7XUQWR      WKDW VQRWZKHUH,DPUHSUHVHQWLQJP\VHOIWREHDQ
     SDUDJUDSK                                                 H[SHUW,DPLQYROYHGLQVRPHHGXFDWLRQEXWDWWKH
     $6RP\UHSRUWSDUDJUDSK$OOULJKW,KDYH      VFKRODVWLFOHYHOQRWVROHW VMXVWVD\QR
     WKDWLQIURQWRIPH                                          4$QG\RXKDYHQRH[SHUWLVHDVWRZKHWKHUVSRUWV
     4*UHDW)LQDOO\XQOLNHHOLWHLQWHUQDWLRQDO          RUKRZVSRUWVDUHXVHGDVSDUWRIHGXFDWLRQDOV\VWHPV
     FRPSHWLWLRQVFKRROVDQGFROOHJHVRIWHQSURYLGHDWKOHWLF      5LJKW
     FRPSHWLWLRQDVSDUWRIDEURDGHUHGXFDWLRQDOPLVVLRQ         $&RUUHFW7KDWLVQRWWKHH[SHUWLVH7KHKRZ
     ,QWKDWFRQWH[WZKHQVFKRODVWLFDWKOHWLFVDUH                DQGP\GHFLVLRQVDPRQJWKLVDUHQRWP\H[SHUWLVH


                                                                                       3DJHVWR
                Case: 22-5807
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                                                   3DJH                                                         3DJH
      4'R\RXKDYHDQ\LGHDKRZPDQ\VFKRROVDFWXDOO\         H[SUHVVLQJDQRSLQLRQLQSDUDJUDSKH[SHUWRU
      KDYHVSRUWVSURJUDPV"                                           RWKHUZLVH, PVLPSO\VWDWLQJWKHEDFNJURXQGVLWXDWLRQ
      $77251(<%/2&.2EMHFWLRQ,FRXOGQ W          %<$77251(<75<21
      KHDUWKHIXOOTXHVWLRQ<RXFXWRXW                           42ND\
      %<$77251(<75<21                                              %XWRND\,ZRXOGDVN\RXWRWXUQWR
      46RUU\'R\RXKDYHDQ\LGHDKRZPDQ\VFKRROV          SDUDJUDSKRI\RXUUHSRUW
      KDYHVSRUWVSURJUDPV"                                           $$OOULJKW
      $,FRXOGQRWJLYH\RXDQXPEHUQR                     ,KDYHWKDWLQIURQWRIPH
      4$UH\RXDZDUHWKDWVRPHFROOHJHVGRQRWKDYH           47KLVLVWDONLQJDERXWWKH,QWHUQDWLRQDO2O\PSLFV
     DWKOHWLFSURJUDPV"                                             &RPPLWWHH5LJKW"/HWPHPRYHEDFNWRSDUDJUDSKV
     $,JXHVV, PYDJXHO\DZDUH,I\RX UHDVNLQJPH       DQG
     DVDQH[SHUWWKDQ,ZRXOGQ WFRPPHQWRQWKDWDVDQ             $<HVWKLVLVWKH,QWHUQDWLRQDO2O\PSLF
     H[SHUWEXWDVDKXPDQLQVRFLHW\,FHUWDLQO\DPDZDUH         &RPPLWWHH7KLVUHODWHVWRWKH,QWHUQDWLRQDO2O\PSLF
     WKDWWKDWLVDWKLQJ                                          &RPPLWWHH
     42ND\                                                 46RWKLVIUDPHZRUNGR\RXEHOLHYHWKDW\RX
     $QGGR\RXKDYHDQ\LGHDZKDWSHUFHQWDJHRI           XQGHUVWDQGWKLVIUDPHZRUN"
     NLGVDUHLQDWKOHWLFSURJUDPVLQVFKRROVYHUVXVWKRVH          $,WKLQN\RX OOKDYHWRDVNPRUHVSHFLILF
     WKDWDUHQRWWKDWDUHVWLOOVWXGHQWV"                          TXHVWLRQVEHFDXVH,PLJKWXQGHUVWDQGSDUWVDQG,PLJKW
     $1R,ZRXOGQRWEH\RXUVRXUFHIRUWKDWGDWD          KDYHTXHVWLRQVDERXWSDUWV
     SRLQW                                                         49HU\JRRG)LUVWRIDOOLWVD\VWKH
     46RZKHQ\RXDUHH[SUHVVLQJWKLVRSLQLRQLQ            IUDPHZRUNIXUWKHUSURYLGHVWKDWTXRWHDQ\UHVWULFWLRQV
     SDUDJUDSKWKDW VQRWDQH[SHUWRSLQLRQWKHUHLVLW"        DULVLQJIURPHOLJLELOLW\FULWHULDVKRXOGEHEDVHGRQ
     $77251(<%/2&.2EMHFWLRQWRIRUP             UREXVWDQGSHHUUHYLHZHGUHVHDUFKWKDW$GHPRQVWUDWHV
     7+(:,71(666RULJKW,JXHVVLW VD          DFRQVLVWHQWXQIDLUGLVSURSRUWLRQDWHFRPSHWLWLYH


                                                   3DJH                                                         3DJH
      ELWFRQIXVLQJKHUHEHFDXVHLW VQRWP\H[SHUWRSLQLRQ          DGYDQWDJHZLWKSHUIRUPDQFHDQGRUDQXQSUHYHQWDEOHULVN
      WKDWZHOO, PFHUWDLQO\DZDUHDVDQLQGLYLGXDOWKDW        WRWKHSK\VLFDOVDIHW\RIRWKHUDWKOHWHV<RXVHHWKDW
      WKLVLVDSULRULW\DQGZKHQ,VLWRQZKHQ,VLWRQ          SDUWULJKW"
      FRPPLWWHHVZKHUHZHGLVFXVVUHODWLYHSULRULWLHVWKHUH          $,GR\HV
      DUHH[SHUWVSUHVHQWZKRGLVFXVVWKHVHSULRULWLHV%XW          4'R\RXXQGHUVWDQGZKDWWKHZRUGGLVSURSRUWLRQDWH
      LI, PVSHDNLQJWR\RXDVDQH[SHUWWKHQ,WKHQ,          PHDQVLQWKLVFRQWH[W"
      FDQ WEHWKHUHSUHVHQWDWLYHH[SHUWLQWKDWVSDFH               $7RDGHJUHH
      %<$77251(<75<21                                              42ND\
      45LJKW:HOO, PMXVWDVNLQJLQSDUDJUDSK        :KDWGR\RXXQGHUVWDQGLWWRPHDQZKHQLWVD\V
     JLYHQ\RXUODFNRIH[SHUWLVHDQGHGXFDWLRQ\RXDUHQRW        DGLVSURSRUWLRQDWHFRPSHWLWLYHDGYDQWDJHLQSHUIRUPDQFH"
     JLYLQJDQH[SHUWRSLQLRQLQSDUDJUDSK                      $7KH,2&LVDZDUHWKDWWKHUH VTXLWHDZLGHUDQJH
     ,VWKDWDFRUUHFWVWDWHPHQW"                          RIDGYDQWDJHVZLWKGLIIHUHQWERG\W\SHVDQGGLIIHUHQW
     $77251(<%/2&.2EMHFWLRQDVNHGDQG           ELRORJ\DQGVRWKH\XVHODQJXDJHOLNHGLVSURSRUWLRQDWH
     DQVZHUHG                                                      ZKHQWKH\ZDQWWRWDONDERXWVRPHWKLQJWKDW VWKDW V
     7+(:,71(666R, PVLPSO\, P             WKDW VV\VWHPDWLFDOO\DVVRFLDWHGZLWKRQH
     UDLVLQJDOORIWKHLVVXHVWKDWZHNQRZH[LVWEXWWKHQ         FLUFXPVWDQFHLQDZD\WKDWWKH\WKLQNZRXOGYLRODWHWKH
     , PQRWSURYLGLQJDQH[SHUWRSLQLRQLQWHUPVRIWKH            UXOHVZKDWHYHUWKH\PLJKWEHIRUDVSHFLILFVSRUW
     UHODWLYHSULRULWLHVDPRQJWKHVHFLUFXPVWDQFHVWKDW             47KDW VSUHWW\DPELJXRXV,KDYHQRLGHDZKDW
     H[LVW                                                         WKDWPHDQV/HWPHVHHLIZHFDQQDUURZLWGRZQ,VD
     %<$77251(<75<21                                             GLVSURSRUWLRQDWHFRPSHWLWLYHDGYDQWDJHLQSHUIRUPDQFH
     4/HWPHMXVWDVN\RXYHU\FOHDUO\LVSDUDJUDSK      ZRXOGSHUFHQWEHDGLVSURSRUWLRQDWHFRPSHWLWLYH
     DQH[SHUWRSLQLRQRI\RXUV"                                    DGYDQWDJH"
     $77251(<%/2&.2EMHFWLRQWRIRUP             $77251(<%/2&.2EMHFWLRQWRIRUP
     7+(:,71(66,GRQ WWKLQN, PHYHQ            7+(:,71(666RWKDW V,FDQ W



                                                                                        3DJHVWR
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                                                   3DJH                                                         3DJH
      DQVZHUWKDWEHFDXVHLWGHSHQGVRQFRQWH[WDQG, PQRW         7+(:,71(66,DVDQH[SHUWFDQQRW
      WKHSHUVRQZKRZURWHWKHVSHFLILFODQJXDJHLQWKDW              JLYH\RXDEODQNHWH[SODQDWLRQRIZKDWZRXOG
      GRFXPHQWVRWKDWLVWKHTXRWHIURPWKHGRFXPHQW%XW          VSHFLILFDOO\FRQVLVWRIZKDWZRXOGVSHFLILFDOO\PHHW
      LQWHUPVRI,GRQ W,WKLQNZHJRVRPHSODFHZH          WKDWGHILQLWLRQ:KHQWKH\ZURWHWKHVWDWHPHQWWKH\
      GRQ WZDQWWRJRLIZHWU\WRRYHUGHILQHWKHVSHFLILF          GLGQ WDFWXDOO\HYHQKDYHVSHFLILFJXLGDQFHWKDWLV
      ZRUGGLVSURSRUWLRQDWH                                          VLPSO\WKHVSLULWRIDJXLGHOLQHWKHVSLULWRIZKDW
      %<$77251(<75<21                                              DVSHFLILFJXLGHOLQHVKRXOGFRQVLGHUZKHQWKDWJXLGHOLQH
      46RLW VMXVWQRWVRPHWKLQJWKDW\RXRU,FRXOG         LVPDGH
      ORRNDWDQGUHDFKDQ\NLQGRIFRQFOXVLRQWRWHOOWKHP           %<$77251(<75<21
     ZKDWWKDWPHDQVVLWWLQJKHUHWRGD\                            4'R\RXNQRZZKDWWKH\PHDQWZKHQWKH\VDLG
     ,VWKDWULJKW"                                        XQIDLU"
     $,WKLQNLIZHORRNDWDVSHFLILFVSRUW,WKLQN       $6RWKHLW VNLQGRIWKHVDPHFLUFXPVWDQFH
     WKDWLILWZDVOLPLWHGWRMXVWWKHWZRRIXVZHPLJKW          7KDWLVWKHSXUSRVHRIWKLVVWDWHPHQWLVWREHJOREDO
     QHHGPRUHH[SHUWLVHWRPDNHDGHFLVLRQ                        JXLGDQFHIRUWKHH[SHUWVLQWKHVSHFLILFVSRUWZKHQWKH\
     4:HOOOHW VVD\LIZHWDONHGDERXWWKHRQHPLOH       PLJKWGHYHORSJXLGHOLQHVUHOHYDQWWRWKHLUVSHFLILF
     UXQQLQJRQHPLOHLVWKDWVRPHWKLQJWKDWZHFRXOG          VSRUW6RIRUH[DPSOHWKHJURXSZLWKH[SHUWLVHLQWKDW
     WKHQGHWHUPLQHZKDWGLVSURSRUWLRQDWHFRPSHWLWLYH               RQHPLOHUXQWKDW\RX UHUHIHUHQFLQJVKRXOGWKLQNLQ
     DGYDQWDJHDQGSHUIRUPDQFHZRXOGPHDQ"                          WKLVFRQWH[W7KDW VDOOWKLVLVGRLQJ
     $77251(<%/2&.2EMHFWLRQWRIRUP             4$QGVRPHRIWKHVSRUWLQJRUJDQL]DWLRQVKDYHFRPH
     7+(:,71(66,WZRXOGGHSHQGRQFRQWH[W       XSZLWKVRPHYHU\VSHFLILFUXOHV
     $QGLIZH UHWDONLQJDERXWDWWKHHOLWHOHYHOZKLFKLV         &RUUHFW"
     ZKDWWKH,2&UHIHUHQFHVDQGZHOLPLWHGHYHQWKHQLI        $6RPHRIWKHVSRUWLQJIHGHUDWLRQVKDYHFRPHXS
     ZHOLPLWLWMXVWWR\RXDQGWRP\VHOIZHZRXOGZDQW           ZLWKVSHFLILFUXOHV\HV
     PRUHH[SHUWLVH                                                4$QGDV,UHFDOOVRPHRIWKHPUHTXLUHDFHUWDLQ


                                                   3DJH                                                         3DJH
      %<$77251(<75<21                                              OHYHORIFLUFXODWLQJWHVWRVWHURQH
      45LJKW2ND\                                          ,VWKDWULJKW"
      6RZHGRQ WNQRZZKDWWKH,2&PHDQWE\WKLVLQ         $6RPHRIWKHVSRUWLQJIHGHUDWLRQVXVHDFHUWDLQ
      DQ\SDUWLFXODUFRQWH[WGRZH"                                   OHYHORIFLUFXODWLQJKRUPRQHDVSDUWRUDOORIWKHLU
      $77251(<%/2&.2EMHFWLRQWRIRUP              UROHV
      $77251(<75<21$FWXDOO\OHWPHUHGUDZ         4$QGVRPHRIWKHPXVHWKHOHYHOWKDW\RX YH
      WKLVTXHVWLRQ                                                  PHQWLRQHGWKDW\RXZHUHLQYROYHGLQVHWWLQJZKLFKZDV
      %<$77251(<75<21                                              1PROVD\LWIRUPH1PROVRPHWKLQJ
      4<RXDVDQH[SHUWZRXOGQRWEHDEOHWRJLYHPHDQ       $1PRO/VSHUOLWHU<HVVRPHRIWKHPXVHWKDW
     H[SHUWRSLQLRQRQZKDWGLVSURSRUWLRQDWHFRPSHWLWLYH            QPRO/SHUOLWHUWKUHVKROG
     DGYDQWDJHLQSHUIRUPDQFHRIWKHRQHPLOHUXQZRXOGEH         4'LGWKH\ZKHUHGLGWKH\JHWWKDWQPRO/
     ULJKW"<RXFRXOGQRWJLYHPHDQH[SHUWRSLQLRQRQWKDW       TXDQWLW\GR\RXNQRZ"
     )DLUVWDWHPHQW"                                       $77251(<%/2&.2EMHFWLRQWRIRUP
     $,I\RXEUHDNWKHZRUGVRXWLQWKDWLQWKDW        7+(:,71(666R,GRNQRZZKHUHWKDW
     IDVKLRQWKHQLWGRHVEHFRPHGLIILFXOW,I\RXDVNPH          QXPEHUFRPHVIURPRULJLQDOO\IRU:RUOG$WKOHWLFVZKLFK
     ZKDWWKHHQWLUHVWDWHPHQWDIWHUWKHOHWWHU$LV                LVWKHILUVWRQHWRSXWWKDWQXPEHURXW$QGWKDW
     UHIHUHQFLQJ,FDQDWOHDVWH[SODLQVRPHRIWKHWKRXJKW        QXPEHUFRPHVIURPVWXGLHVRIVRPH2O\PSLFDWKOHWHVLQ
     SURFHVVIRUWKH,2&WKHUH                                     VRPHUDFHVZKHUHWKHUHZDVIRUDWOHDVWFHUWDLQ
     4:HOOP\TXHVWLRQLVVLPSO\\RXDVDQH[SHUW        GLVWDQFHVDGHPRQVWUDEOHGLIIHUHQFHEHWZHHQSHRSOHZKR
     DUH\RXDEOHWRWHOOPHZKDWDEOHWRGHILQHIRUPH         KDGDQGVSHFLILFDOO\SHRSOHLQWKHIHPDOHFDWHJRU\
     ZKDWZRXOGEHDFRQVLVWHQWXQIDLUGLVSURSRUWLRQDWH            ZKRKDGORZHUQXPEHUVRIWHVWRVWHURQHWKDQWKDWDQG
     FRPSHWLWLYHDGYDQWDJHLQSHUIRUPDQFHLQDRQHPLOHUXQ         KLJKHUQXPEHUVRIWHVWRVWHURQHWKDQWKDW
     IRUWKH,2&"                                                   %<$77251(<75<21
     $77251(<%/2&.2EMHFWLRQWRIRUP             4<RXZHUHRQWKDWFRPPLWWHH


                                                                                        3DJHVWR
                Case: 22-5807
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                                                   3DJH                                                        3DJH
      5LJKW"                                                5LJKW"
      $,ZDVRQWKHJURXSWKDWZURWHWKDW:RUOG              $77251(<%/2&.2EMHFWLRQWRIRUP
      $WKOHWLFVSROLF\\HV1RWRQWKHJURXSWKDWGLGWKDW         7+(:,71(666RWKHGLIIHUHQW
      VWXG\                                                         ,QWHUQDWLRQDO$WKOHWLF)HGHUDWLRQVZHUHWRPDNHXVHRI
      4$QGVRKRZGLG\RXILQDOO\FRPHXSZLWKWKH           GDWDVXFKDVLWH[LVWVWRPDNHWKHLURZQUXOHVIRU
      QXPEHURIILYHDVRSSRVHGWRIRXURUVL[RUWKUHHRU           SDUWLFLSDWLRQLQWKHLUVSRUWV
      VHYHQ"                                                         %<$77251(<75<21
      $7KHQXPEHUILYHGLVFULPLQDWHVLQWHUPVLQ         4$QGGLIIHUHQWRUJDQL]DWLRQVFDPHXSZLWKYHU\
      WHUPVRIWKHUHEHLQJVRPHGHPRQVWUDWHGDGYDQWDJHRU            GLIIHUHQWUXOHV
     LPSURYHGRXWFRPHLVUHDOO\ZKDWLWZDVIRUWKRVHZLWK        5LJKW"
     KLJKHUQXPEHUVYHUVXVWKRVHZLWKORZHUQXPEHUV7KDW         $77251(<%/2&.2EMHFWLRQWRIRUP
     ZDVQRWWUXHQHFHVVDULO\ZLWKDORZHUWHVWRVWHURQH            7+(:,71(666RPRVWRIWKH
     WKUHVKROG7KDWLVDGLIIHUHQFHZDVQRWDVDSSDUHQWDQG      LQWHUQDWLRQDOIHGHUDWLRQVVWLOOGRQRWKDYHUXOHV
     WKDW VUHDOO\WKHHQWLUHORJLFSDWWHUQWKHUH                 DFWXDOO\$QGKRQHVWO\WKDW VPRVWO\DORJLVWLFV
     4:HOOHDUOLHU\RXMXVWVDLGLWFRXOGKDYHEHHQ       VLWXDWLRQZKHUHVRPHRIWKHVHRUJDQL]DWLRQVDUHWRR
     \RXGLGQ WWKLQNWKHUHZDVWKDWPXFKGLIIHUHQFH           VPDOOWRSXWWKHGDWDWRJHWKHURUWKHFRPPLWWHHV
     EHWZHHQILYHDQGVL[7KDWZDV\RXUWHVWLPRQ\HDUOLHU        WRJHWKHUWRPDNHUXOHV
     DV,UHFDOO                                                  %<$77251(<75<21
     5LJKW"                                                47KRVHWKDWGRKDYHUXOHVKDYHGLIIHUHQWUXOHV
     $77251(<%/2&.2EMHFWLRQ                    &RUUHFW"
     7+(:,71(66$VDQHQGRFULQRORJLVW,FDQ      $7KRVHWKDWGRKDYHUXOHVKDYHKDGGLIIHUHQW
     WHOO\RXWKDWWKRVHGLIIHUHQFHWKDWWKDW VULJKW          FRQYHUVDWLRQVLQWKHVSDFH,GRQ WNQRZWKDW,FRXOG
     WKDWWRWKHGLIIHUHQFHEHWZHHQILYHDQGVL[ZRXOGEH      V\VWHPDWLFDOO\JRWKURXJKDOORIWKHPEXWWKHUHLVVRPH
     KDUGWRGHPRQVWUDWH                                          YDULDWLRQ\HV


                                                   3DJH                                                        3DJH
      %<$77251(<75<21                                             46RPHUHTXLUHKDYHD/HYHOQDQRPROHVSHU
      46RKRZGLG\RXVHWWOHRQILYHLQVWHDGRIVL[RU       OLWHUDQGVRPHVWLOOKDYHWHQ
      ILYHRUVL[LQVWHDGRIIRXU"                                   5LJKW"
      $6R,JXHVVWKHLQSXWVDUHWKDWWKHUHQHHGHGWR        $6R, GKDYHWRJREDFNDQGORRN<RXZRXOGKDYH
      EHDOLQHVRWKDWWKHUH VDELOLW\WRHQIRUFHVRPHWKLQJ        WRVKRZPH:RUOG$WKOHWLFVKDVILYHIRUVXUH$QG
      7KHUHQHHGHGWREHDUXOH$QGWKHFKRLFHRIILYH            WKDW VWKHRQHZKHUH, PPRVWIDPLOLDUEHFDXVH,ZDV
      PRVWO\LVZKDW, YHEHHQVD\LQJDOUHDG\ZKLFKLV         DFWXDOO\VLWWLQJLQWKHURRPKHOSLQJGUDIWWKDW7KH
      LW VDFOHDQQXPEHUZKHUHWKHUH VDWOHDVWVRPH                ,2&LQWKHSDVWKDGXVHGWHQDVDOLQHEXWWKDWMXVW
      GLVWDQFHVWKHUH VDGHPRQVWUDEOHGLIIHUHQFHLQRXWFRPHV       VLWVWKHUHULJKWQRZDVDDVDQXPEHUVRPHRQHPLJKW
     DWWKDWOHYHODERYHDQGEHORZWKDWOHYHO                 DGRSW,DFWXDOO\GRQ WNQRZRIIWKHWRSRIP\KHDGLI
     46RDUH\RXVD\LQJWKDWWKHUHLVDYDOXHRI           DQ\ERG\KDVDGRSWHGWKDWIRUWKHLUIRUPDOUXOHV
     KDYLQJDKDUGUXOH"                                           4:KDWZDVWKHVFLHQWLILFEDVLVIRUWKHWHQ
     $77251(<%/2&.2EMHFWLRQWRIRUP            QDQRPROHVSHUOLWHU"
     %<$77251(<75<21                                            $7KHORJLFIRUWHQDWWKHWLPHLVLWLVWKH
     40D\EH,VKRXOGVD\KDYLQJDFOHDQUXOH"              ERWWRPRIWKHPDOHUDQJH7KDW VLWVKLVWRU\
     $6RDVDQH[SHUW, PQRWWKDWZDVQ WP\UROH      42ND\
     RQWKHFRPPLWWHHWRGHWHUPLQHWKDWWKHUHQHHGHGWREHD       6RLWVRXQGVWRPHOLNHWKHUHLVURRPIRU
     UXOHEXWWKDWLVFHUWDLQO\WKHORJLFSDWWHUQRIWKH          UHDVRQDEOHGLVFXVVLRQDERXWZKDWWKHDSSURSULDWHUXOH
     FRPPLWWHHWKDWWKHUHRXJKWWREHDUXOH7KDWLVQRWP\      RXJKWWREH"
     H[SHUWRSLQLRQ                                               $77251(<%/2&.2EMHFWLRQWRIRUP
     42ND\                                                7+(:,71(667KHZD\,ZRXOGVD\LWLV
     %XWGLIIHUHQWRUJDQL]DWLRQVDUHIUHHWRFRPHXS      DVGLIIHUHQWDWKOHWLFRUJDQL]DWLRQVREWDLQGDWDWKH\
     ZLWKGLIIHUHQWFRQFOXVLRQVRIDERXWZKDWWKHLUUXOHV          PLJKWXVHWKRVHGDWDWRGHWHUPLQHGLIIHUHQFHVLQFOXGLQJ
     RXJKWWREH                                                  LIWKHLIRXUEHVWPHDVXUHLVWHVWRVWHURQH


                                                                                       3DJHVWR
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                                                   3DJH                                                          3DJH
      GLIIHUHQWWKUHVKROGVRIWHVWRVWHURQH                           4,QWKRVHWZRVWXGLHVGLGWKH\FKHFNWKH
      %<$77251(<75<21                                              FLUFXODWLQJWHVWRVWHURQHLQWKHLQGLYLGXDOVLQWKHVH
      4:RXOGLWEHDSSURSULDWHWRXVHSHUIRUPDQFHGDWD        VWXGLHV"
      DVZHOOWRPDNHWKRVHGHFLVLRQV"                                $, GKDYHWRORRN,WKLQNZHGLGORRNHDUOLHU
      $7KHEHVWGDWDLQP\RSLQLRQDUHDFWXDORXWFRPHV        WRGD\ZLWKUHJDUGWRWKH+DUSHUVWXG\DQG,GRQ WWKLQN
      ZLWKLQDJLYHQVSRUW                                           VKH VUHIHUHQFLQJWHVWRVWHURQHOHYHOVDWDOO$JDLQ
      4:KDWGR\RXPHDQE\RXWFRPHVSHUIRUPDQFH"$UH        , GKDYHWRJREDFNDQGORRNWREHVXUH:HZHUH
      ZHVD\LQJWKHVDPHWKLQJ"                                       WDONLQJDERXWZKHWKHUWKH\ZHUHVHOIUHSRUWHG$QGWKH
      $,GRQ WNQRZLIZH UHVD\LQJWKHVDPHWKLQJ6R       ZLWKWKH5REHUWVWXG\,ZRXOGKDYHWRJREDFNDQG
     WKHVWXGLHVWKDW,UHIHUHQFHDUHWKH5REHUWVVWXG\DQG         ORRNDWWKDWRQHWRR, PIHHOLQJOLNHWKHDQVZHULV
     WKH+DUSHUVWXG\ZKHUHWKH\DFWXDOO\ORRNDWVSHFLILF         QREXWZHFDQORRNWKHUHLI\RXZDQW
     DWKOHWLFHQGHDYRUVDQGPHDVXUHWKRVHDVRSSRVHGWRWKH         4<HDKZHGRQ WQHHGWR, PSUHWW\VXUHWKDWZH
     VWXGLHVZKHUHWKH\ UHVLPSO\VLWWLQJLQDSK\VLRORJ\ODE       MXVWWDONHGDERXWKRZORQJWKH\KDGEHHQLQWKHWKHUDS\
     PHDVXULQJVRPHERG\PRYHDQDUPEDFNDQGIRUWKDQG              UDWKHUWKDQDFWXDOPHDVXUHPHQWV
     WKLQNLQJWKDWLWPLJKWDVVRFLDWHZLWKVRPHDFWXDO              :HOOOHWPHPRYHRQ,NQRZZHGRQ WKDYHD
     DWKOHWLFSHUIRUPDQFH                                          ORWRIWLPHOHIW
     46RPHERG\PRYLQJWKHLUDUPEDFNDQGIRUWKZLWK         6R\RXVDLG\RX UHIDPLOLDULQ\RXUH[SHUW
     ZHLJKWVWKDW VQRWDWKOHWLF"                                  UHSRUW\RXDUHIDPLOLDUZLWK+%
     $,W VDJDLQLWZRXOGULJKWWKDW V        ,VWKDWULJKW"
     WKDW VRQO\WKDW VZKDWZHZRXOGFDOODVXUURJDWH          $77251(<%/2&.2EMHFWLRQWRIRUP
     HQGSRLQWZKHUH\RXDUHVLPSO\ORRNLQJDWVRPHWKLQJWKDW        7+(:,71(666R\HV, PVRPHZKDW
     PLJKWFRUUHODWHZLWKZKDW\RXZDQWEXWEXW\RX            IDPLOLDU
     GRQ WNQRZLWXQWLO\RXWHVWLW,WHQGVXSEHLQJZKDW        %<$77251(<75<21
     ZHFDOOK\SRWKHVLVJHQHUDWLQJ7KDWLVKRZZHZRXOGVD\       4+DYH\RXUHDGWKHZKROHWKLQJ"


                                                   3DJH                                                          3DJH
      LWLQDVFLHQWLILFZD\                                         $,GRQ WWKLQN, YHUHDGWKHZKROHWKLQJQR
      4$QGWKHVDPHZRXOGKROGWUXHZLWKWKHOHYHORI         4:KHQGLG\RXILUVWKHDURI+%"
      FLUFXODWLQJWHVWRVWHURQH\RXZRXOGZDQWWRDFWXDOO\            $,SUREDEO\ILUVWKHDUGRILWZKHQWKHZKHQ,
      WHVWWKDWLQUHDOOLIHWRVHHKRZSHRSOH VFLUFXODWLQJ          UHFHLYHGFRQWDFWIURPWKH$&/8WRVHUYHDVDQH[SHUW
      WHVWRVWHURQHDFWXDOO\WUDQVODWHVLQWRSHUIRUPDQFHRIDQ         ZLWQHVV
      DFWXDODWKOHWLFFRQWHVW                                        4'R\RXUHFDOOLIWKDWZDVEHIRUHRUDIWHULWZDV
      5LJKW"                                                 SDVVHG"
      $7KDW VULJKW6RWKHGDWDWKDWZHUHXVHGWR           $,GRQ WUHFDOO,ZRXOGKDYHWRVSHFXODWHWKDW
      GHWHUPLQHWKHILYHQDQRPROHSHUOLWHUFXWSRLQWDUH             LWZRXOGEHDIWHUEHFDXVHWKDWZRXOG,PHDQWKDW
     SDVVLYHO\FROOHFWHGGDWD$QGLIVRPHERG\GLGDVWXG\         ZRXOGPDNHVHQVHWKDWWKDWLVWUXHEXW,GRQ WUHFDOO
     ORRNLQJDWWKDWWKUHVKROGDQGIRXQGWKDWWKHUHZDV            VR,ZRXOGQ WEHDEOHWRDQVZHUWKDW
     OHW VVD\QRGLIIHUHQFHWKHQWKDWUXOHPLJKWEH              42ND\
     GLVFDUGHG                                                     6RZHZRXOGUHIHUWRWKLVDV6WDWH:RPHQ V
     4$QGVRIDURWKHUWKDQ5REHUWVDQG+DUSHULI,       6SRUWV/DZDQGWKHUH VRWKHUW\SHVRIODZVOLNHWKLV
     UHFDOOFRUUHFWO\WKRVHDUHWKHRQO\WZRWKDW\RXNQRZ         WKURXJKRXWWKHFRXQWU\
     RI                                                            $UH\RXDZDUHRIWKDW"
     5LJKW"                                                $77251(<%/2&.2EMHFWLRQWRIRUP
     $77251(<%/2&.2EMHFWLRQWRIRUP             7+(:,71(666R, PDZDUHWKDWWKHUHDUH
     7+(:,71(667KRVHDUHWKHRQO\WZR            DWWHPSWVDWOHJLVODWLRQDQGVRPHDFWXDOOHJLVODWLRQ
     VWXGLHVWKDWKDYHJRQHWKDWH[WUDVWHSDQGORRNHGDWDQ        SDVVHGWREORFNWUDQVJHQGHUDWKOHWHVLQYDULRXV
     DFWXDODWKOHWLFDFWLYLW\ZLWKDQRXWFRPHWKDWLVSDUWRI       SHUPHDWLRQVLQFOXGLQJWUDQVJHQGHUZRPHQLQVHYHUDO
     WKDWDWKOHWLFDFWLYLW\DQGQRWZKDW,ZDVMXVW                 VWDWHV, PDZDUHRIWKDW\HV
     UHIHUHQFLQJDVDVXUURJDWHHQGSRLQW                          %<$77251(<75<21
     %<$77251(<75<21                                             4$UH\RXDZDUHWKHQ+RXVH%LOOWKHZRUG


                                                                                        3DJHVWR
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                                                   3DJH                                                                 3DJH
      WUDQVJHQGHUGRHVQRWDSSHDUDWDOO"                              IRUH[DPSOHJHQGHULGHQWLW\$QGWKHSKUDVLQJ
      $+RXVH%LOOWKDW VWKLVRQH"                         FKDUDFWHULVWLFGHILQHGELQDU\IRUPLVQRWQHFHVVDULO\
      47KDWLVWKLVRQH                                       WUXHIRUHDFKFRPSRQHQWRIELRORJLFDOVH[
      $,ZDVQRWDZDUHWKDWWKHZRUGWUDQVJHQGHUGRHV          46R\RXGLVDJUHHZLWKWKHVWDWHPHQWLQWKH
      QRWDSSHDUDWDOO                                               +DQGHOVPDQUHSRUWLVWKDWGLG,VWDWHWKDWIDLUO\"
      4$UH\RXWUDFNLQJWKHRWKHUELOOVRXWWKHUHWKDW         $5LJKW,ZRXOGFKDUDFWHUL]HWKHVWDWHPHQWDV
      DUHVLPLODUWR+RXVH%LOO"                                  QRWH[KDXVWLYH
      $,DPQRWSHUVRQDOO\WUDFNLQJWKHRWKHUELOOV           $77251(<75<21/HWPHDVNWKHFRXUW
      QR                                                              UHSRUWHULI,KDYHDQ\WLPH
     4&DQ\RXWDNHDORRNDWWKH+DQGHOVPDQUHSRUW           &28575(3257(5,KDYHVL[PLQXWHVDQG
     WKDW\RXKDYHLQIURQWRI\RX,GRQ WUHFDOOWKH              VL[KRXUVDQGPLQXWHV
     H[KLELWQXPEHU                                                 $77251(<75<21:HOO,JXHVVZLWKP\
     $77251(<:,/.,1621,WKLQN([KLELW          ODVWWZRPLQXWHV, OOMXVWVD\WKDQN\RXIRU\RXUWLPH
     RKVRUU\LW V([KLELW,WKLQN                         DQG,DSSUHFLDWHLW$QG,GRQ WKDYHDQ\RWKHU
     7+(:,71(66,GRQ WVHH                       TXHVWLRQV,GRQ WNQRZLIDQ\RIWKHRWKHU'HIHQGDQWV
     $77251(<:,/.,1621,FDQJLYH\RXWKDW        GR,GRXEWLW%XWJRDKHDG,IWKH\GRJRDKHDG
     7+(:,71(667KHVWDFNJRWELJ                 .HOO\"
     $77251(<75<21:HFDQMXVWEULQJLW        $77251(<025*$17KLVLV.HOO\0RUJDQ
     LI\RXFDQ WILQGLWZHFDQEULQJLWXSRQWKHVFUHHQ"          ,GRQ WKDYHDQ\TXHVWLRQV7KDQN\RXVRPXFK
     7+(:,71(662ND\                              $77251(<75<215REHUWD"6XVDQ\RX UH
     ,ZDVJLYHQDQRWKHUFRS\VRZH UHJRRG         QH[W
     ,KDYHLWLQIURQWRIPH                                       $77251(<*5((17KLVLV5REHUWD*UHHQRQ
     %<$77251(<75<21                                              WKHEHKDOIRIWKH66$&1RTXHVWLRQV7KDQN\RX
     42ND\                                                  $77251(<'(1,.(5'U6DIHUWKLVLV


                                                   3DJH                                                                 3DJH
      2QWKHVHFRQGSDJH"                                    6XVDQ'HQLNHU,KDYHQRTXHVWLRQV7KDQN\RXIRU\RXU
      $2QWKHVHFRQGSDJH                                    WLPHWRGD\
      42ND\                                                  $77251(<75<21:HDUHILQLVKHG
      8QGHUIDLUQHVVDQGVHJUHJDWLRQLQVSRUWV              9,'(2*5$3+(57KLVFRQFOXGHVWKLV
      'R\RXVHHWKDWVHFWLRQ"                               GHSRVLWLRQ7KHFXUUHQWWLPHUHDGVSP(DVWHUQ
      $,GR                                                  6WDQGDUG7LPH
      4,QWKHWKLUGIXOOSDUDJUDSKXQGHUQHDWKWKHUH             
      RKWKHIRUPDWWLQJWKHUHLVDOLWWOHGLIIHUHQWWKDQWKH          9,'(27$3(''(326,7,21&21&/8'('$730
      FRS\WKDW,KDYH/HW VVHH7KHUH VDSDUDJUDSKWKDW               
     VWDUWVWKHWHUPVVH[DQGJHQGHU7KHUHLWLV7KH         
     WHUPVVH[DQGJHQGHUDUHRIWHQFRQIXVHGDV                  
     LQWHUFKDQJHDEOH1RZ,ZDQW\RXWRIRFXVRQWKLVQH[W     
     VHQWHQFH6H[LVDQREMHFWLYHVSHFLILFELRORJLFDO          
     VWDWHDWHUPZLWKGLVWLQFWIL[HGIDFHWVQRWDEO\            
     JHQHWLFFKURPRVRPDOJRQDGDOKRUPRQDODQGSKHQRW\SLF      
     LQFOXGLQJJHQLWDOVH[HDFKRIZKLFKKDVD                  
     FKDUDFWHULVWLFGHILQHGELQDU\IRUP'LG,UHDGWKDW        
     FRUUHFWO\"                                                  
     $<RXUHDGWKDWFRUUHFWO\\HV                      
     4'R\RXDJUHHZLWKWKDWVWDWHPHQW"                  
     $,GRQ WDJUHHZLWKWKDWVWDWHPHQWFRPSOHWHO\      
     QR                                                         
     4:KDWVSHFLILFDOO\GR\RXILQGREMHFWLRQDEOH       
     $,W VPLVVLQJVRPHFRPSRQHQWVRIVH[LQFOXGLQJ    



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           $         DFDGHPLF        DFWLYH               
     DP                    DFWLYHO\       DGPLQLVW       
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                      DFWLYLWLHV     DGROHVFHQFH       
     DELOLW\         DFFHQWXDWHV                        
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                DFFHSW                          
     DEOH                    DFWLYLW\                  
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                DFFRXQWDQW                           
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               DFFRXQWDQWV     DGGLWLRQ                  
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                       DGGLWLRQDO     DGXOWKRRG        
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               DFFXUDWH        DGGUHVV    DGXOWV      
     DEQRUPDO                                 
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     DEVHQFH                                        
                DFFXVHG         DGGUHVVHG                 
     DEVHQW                                          
               DFFXVLQJ                  DGYDQFH      
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               DFKLHYH                  DGYDQWDJH         
     DEVROXWH                   DGGUHVVLQJ                 
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     DEVROXWHO\                 DGHTXDWHO\              
                DFTXDLQWHG                       
                           DGKHUHG                  
                DFTXLUHG                           
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     DEVWUDFW        DFWLQJ     $GNLQV                 
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                DFWLRQ     $GNLQV V                
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                      DKHDG    DQDO\VHV         
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     DGYLVH            DLU                 
     DGYLVLQJ                         DQDWRPLF         
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     DIIHFW                       DQDWRP\          
     DIILUP                                  
     DIILUPLQJ       DJHEDVHG                         
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                DJHQF\      DOLJQHG                   
               DJHQHVLV                             
                                          DQVZHUHG
                DJHQWV                   DQGRU      
                                  $QGUHZ       
               DJHV                              
                         DOLJQPHQW      DQGURJHQ        DQVZHULQJ
                                            
                DJR        DOOHJHG                  DQVZHUV 
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               DJUHH      $OOLDQFH               
                      DOORZ    DQGURJHQV        
                                           DQWLFLSDWH
                           DOORZHG                    
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                         DOWHUDWLRQ     DQLPDWHG         
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                        DOWHUHG        $QQDOV     DSDUW 
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             DJUHHG      $PVWHUGDP                DSSHDU 
                                          
                                         DSSHDUDQFH
           DJUHHPHQW       DQDORJ                     
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     DSSHDULQJ                                    
               DUELWUDO                          DVVRFLDWH
     DSSOLFDE                                 
               DUELWUDULDO                         
     DSSOLFDEOH                                  DVVRFLDWHG
               DUELWUDWLRQ                      
                                     
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     DSSOLFDWLRQ                                 
                                           
     DSSOLHG                                      
             DUHD                            
     DSSOLHV                                   
                                        
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     DSSRLQWHG       DUJXH                         
                DUJXPHQW        DUWLFOHV                  DVVRFLDWHV
     DSSUHFLDWH                                   
                                               DVVRFLDWLRQ
               DUJXPHQWV                DVSHFW           
     DSSURDFK                   DUWLFXODWH               DVVRFLDW
                 DULVLQJ                  DVSHFWV      
                      $UXQD                DVVXPH 
            DUP              DVVHUW           
                      DVFHUWDLQ                DVVXPLQJ
     DSSURDFKHG      DUPHG              DVVHUWHG         
                $UPLVWHDG       DVFHUWDL                
     DSSURSULDWH                   DVVHUWLQJ        
             DUULYH      DVFULEHG                  DWKOHWH 
                                      DVVHUWLRQ        
              DUURZ       DVLGH               DWKOHWHV
                                             
                                    DVVHVV       
     DSSURSUL                          DVVHVVPHQW        
               DUW        DVNHG                  
     DSSURYH         DUWLFOH                            
                                             
     DSSURYHG                       DVVHVVPHQWV      
                                             
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                                             
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     DSSURYLQJ                                
                                          
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     DSSUR[LP               DVNLQJ                 
                                        
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            DWKOHWLFV                          
                       DWWHQXDWHG              
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                                        
                                             
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               DWWDFNLQJ                         
                                       
             DWWHPSW                         
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                                         
                DWWHPSWHG                          
                                            
           DWWHPSWLQJ                     
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                                  DYHUDJH
                                
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                                    
                                    
                                       
                                    
                                          
                                   
                                     
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                                               
                                       
                                            
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                           DWWRUQH\V       DZDUG 
                                          DZDUH 
                                DWWULEXWH         
                                           
                         DW\SLFDO         
                                          
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                                       
                          $XVWUDOLDQ       
                                    
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                          DXWKRUV          
                                        
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                         EDVHV                
                         EDVLFDOO\               
                                             
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                         EDVLV                
               EDFNJURXQG                         
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     DZDUHQHVV       EDG                              
                                         EHOLHYHG
     D[LV       %DKOEXUJ                         
     $=                                         EHOLHYLQJ
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           %         EDODQFH                             EHQHILW
     %3-                                        
     EDELHV     EDODQFHG                             
     %DEZDK                                 %HUPDQ 
                EDOOSDUN                           EHVW 
                                               
     EDFN       EDQ                       
                                            
                                    
             EDQQLQJ                            
                                              
            EDU               EHJXQ       
                                           
                %DUU                  EHKDOI        
                                       EHWWHU 
               %DUULHU         EDVNHWEDOO                  
                                           
                EDUV                          
                                    EHOLHI           
               EDVH                            
            EDVHG               EHOLHYDE      
                                         
                              EHOLHYH     EH\RQG 
                                              
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                                          
                          EHFRPLQJ                
                                            
                        EHJDQ                %* 
                                        ELDV 
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                        EHJLQQLQJ                  
                                          ELEOLRJU
                                        
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                                          
     ELJJHU                           
     ELJJHVW                                     
                                              
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     ELOOV                                    
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     ELQDU\          ELUWK                        
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     ELRORJLF                                 
                                           
                                             
                                          
               ELW                             
     ELRORJLFDO                             
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                                          
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                                          
               EODFN                           
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             EODQNHW                      
                                             
                                             
                                              
                EORFN                          
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                                       
                                      
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     ELRORJLF                               
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     ELRORJ\                                   
                                           
                                            
                                        EORFNHUV
                                               
                                            
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                                          
                          EUDQG                  
                       %UDQGRQ                 
                                            
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                           EUHDN               
                                         
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                                       
             %RXOHYDUG                      
     EORFNLQJ                                      
               ERXQGDULHV                           
                                               
                ERXQGV                   
     EORRG       ER[                           
              ER\                      
                                          
                ER\ V                         
               ER\V                             
     EOXUULQJ               EUHDNGRZQ                   
                                         
     ERDUG              %ULGJHSRUW                  
                                               
                       EULHIHG                  
                                      
                         EULQJ             
     ERDUGHU                                
                      EURDG                
     ERGLHV                                 
                                             
                                          
                                         
                                            
     ERG\                                   
                      EURDGHU                  
                                        
                                                 
                                           
                      EURDGHVW               
                                         
                           EURDGO\             
                           EURNHQ             
                         %URRNV                
     ERQH                                  
                                                
     ERQXV                                
     ERRN       %3-                        
     ERUQ                             
                                          
                                             
     ERWWRP     %3- V                        
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                                             
                         FDOFXODWLQJ            
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                         FDOO                
                                          
                                             
                                                
                                         &DVWHU 
                                  FDUHG       
                                 FDUHIXO         FDVWUDWLQJ
                                          
                                       FDVWUDWLRQ
                        FDOOHG                
                                               FDWFK 
                       FDOOLQJ        FDUHIXOO\       FDWHJRULFDO
               EURXJKW                              
                                             
                                            FDWHJRUL
                %URZQ              &DUOVRQ           
                          FDOOV                
                              &DUOVRQ V       FDWHJRULHV
                           FDQFHUV                  
                                    FDUULHG          
                         FDQGLGDWHV               FDWHJRUL]HG
                                FDUYHRXW        
                %URZQ V         FDSDELOL               FDWHJRU\
                                            
                EXIIHU                           
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               %XLOGLQJ        FDSDELOLW\     FDVH           
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                EXON                           
               EXON\      FDSDEOH                     
             EXOOHW                          
                       FDSDFLW\               
                                           
               EXPSLQJ                            
                                              
                EXQFK     &DSHKDUW                
               %XUFK                             
                   &DSLWRO               
               EXUGHQV         FDSWLRQ                   
                                            
            EXUHDXFU     FDUG                   
                       FDUH                   
              EXULHG                         
                                                FDXVDO
                   &                             
              &                         FDXVDOLW\
                                           
                                           FDXVDWLRQ
              &$                               
                FDOFXODWHG               FDVHV       
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     FDXVH                                 
                          FKDQJHV                   FKRRVH 
                                FKDUWHG          
                                      FKRRVLQJ
                               FKDUWHUHG        
                                           
     FDXVHG                          FKDUWV     FKRVH 
                                       
     FDXVHV                                      FKRVHQ 
                                    FKHFN      &KULVWLDQD
     FDXWLRQ                                   
                                               FKURPRVRPDO
                                  FKHVW      
     FDYHDW                        FKLOG       
     FDYLWLHV                                
                         FKDSWHU                   
     &H&H                                     
     FHOO                                      
     FHOOV               FKDUDFWH                
     &HQWHU                          FKLOG V          
                                             
              FHUWDLQW\                           FKURPRVRPH
     FHUWDLQ               FKDUDFWH    FKLOGKRRG        
             &(57,),&$7(                        
                                FKLOGUHQ         
            FHUWLILF                           
                                                  
             &HUWLILHG                             
                                      
               FHUWLI\LQJ                   FKURPRVRPHV
                                               
                FHWHUD                           
                                          
                FKDOOHQJH                         
                                              
                      FKDUDFWH              
               FKDOOHQJHG                       
                                            
            FKDPSLRQ                          
                           FKDUDFWH                
               FKDPSLRQ                           
                                           
                                            
               FKDQFH          FKDUDFWH            FLUFOH
                                            
     FHUWDLQO\                  FKDUJH                FLUFXODWLQJ
                           FKDUJHG                    
            FKDQJH                         
                   &KDUOHVWRQ     FKLOGUHQ V       
                                       
                            FKRLFH      
                FKDQJHG         FKDUW                 
                               FKRLFHV      
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                           FODULW\        FOLHQWV          
     FLUFXPVW                                
                        FODVVLF        FOLQLF       
                                            
                                            
                                              
                          FODVVLIL                 
               FLVZRPHQ                           
                           FODXVH                
            FLWDWLRQ        &/$<721              
                                            
                FLWH       FOHDQ                 
                                             
                                              
                          FOHDQHU                   
                                              
                      FOHDQOLQHVV                
                                             
     FLUFXPVW               FOHDQO\                   
                                            
            FLWHG                           
                           FOHDU              
                                           
                                      
     FLVJHQGHU                                    
                                      
                                       
                                             
                                          FRDXWKRU
                                   FOLQLF V         
             FLWHV                      
             FLWLQJ                    FOLQLFDO        FRDXWKRUHG
                                          
                                         FRDXWKRUV
              FLWL]HQ                            
                                        
             FLYLO                           FRHG 
                                      FRHUFH 
                                 FOLQLFLDQV       
            FODLP                        FRHUFLQJ
             FODULILHG                            
                                    FOLQLFV         FRJHQW
            FODULI\                             
                                    FOLSSHG         FRKRUW 
                                        FRLOV 
                             &ORDFDO         &ROHPDQ 
                                        
                                 FORFN      
                       FOHDUHU                &ROHPDQ V
                                  FORVH       
                       FOHDUO\                   &ROH\ 
                                              FROODERU
                                  FORVHG      
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     FROOHDJXH                      FRPPXQLW\        
                                             
     FROOHDJXHV                                  
                                        
                                            
                                 FRPSDQ\          
                                          
     FROOHFWHG                    FRPSDUH          
               FRPELQDWLRQ                           
                                            FRPSHWLWRUV
     FROOHFWLQJ                      FRPSDUHG         
               FRPH                       FRPSODLQLQJ
     FROOHFWLRQV                FRPPHQWDU\                 
                                            FRPSODLQWV
     FROOHFWL                FRPPHQWLQJ             
                                        FRPSOHWH
                                            
     FROOHJH                                    
                                FRPSDULQJ        
                           &RPPLVVLRQ                 
                                FRPSHQVD      
     FROOHJHV                                      
                      FRPPLW    FRPSHWH         FRPSOHWHG
                          FRPPLWWHG              
     FROOHJLDWH                                 
                            FRPPLWWHH              
     FROOLVLRQ                               
            FRPHV                       FRPSOHWHO\
                                   FRPSHWHG          
                                            
                                        FRPSOHWLQJ
               FRPIRUW                         
     &ROWRQ                                 FRPSOH[ 
                FRPIRUWDEOH                       
     FROXPQ                         FRPSHWLQJ        
            FRPLQJ                       
                                                 
                                           
                                         
                                 FRPSHWLWLRQ     FRPSOH[LW\
                                             
                          FRPPLWWHHV            FRPSOLFDWHG
                                       
               FRPPD                        
                                               
                                             
                                         
           FRPPHQFHG       FRPPRQ               
                                          
                FRPPHQW     FRPPRQO\       FRPSHWLW     FRPSOLFDWHV
                                             
                        &RPPRQZH              FRPSRQHQW
                                      FRPSHWLWLYH      
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                         FRQILGHQW                FRQVLVW
               FRQFHUW                             
                        FRQILGHQ                
                FRQFOXGH                           
     FRPSRQHQWV                               FRQVLVWHQW
               FRQFOXGHG                           
                           FRQILGHQWO\                
                                              
     &RPSRVLWLRQ                FRQILUP        FRQVHUYD      
               FRQFOXGHV                           
     FRPSRXQG                                     
                         FRQILUPD    FRQVLGHU         
     FRQFHQWU                                 
               FRQFOXVLRQ                   
                                            
     FRQFHQWU            FRQILUPLQJ                 
                                              FRQVWLWXWHV
     FRQFHSW                                     
                           FRQIRUPLQJ             FRQVWLWX
     FRQFHSWV                                       
                      FRQIRXQGHG            FRQVWUXF
     FRQFHSWXDO                                   
                           FRQIRXQGHUV                
     FRQFHUQ         FRQFOXVLRQV                        
                      FRQIRXQGLQJ           FRQVXPLQJ
                                              
                                        FRQW G 
             FRQFOXVL     FRQIXVHG                    
                                          FRQWDFW
                FRQFUHWH                             
                                            
                FRQGLWLRQ                            
                       FRQIXVLQJ      FRQVLGHU      
                                            
                        FRQJUXHQW      FRQVLGHU      
                FRQGLWLRQV                            
                                            FRQWDLQ
              FRQIHU          FRQMHFWXUH                 
                                FRQVLGHU     FRQWHPSO
     FRQFHUQHG                                    
               FRQIHUHQFH      FRQQHFWHG                 FRQWHQGHG
                                           
     FRQFHUQLQJ      FRQIHUUHG                           FRQWHQWLRQ
                         FRQQHFWLRQ     FRQVLGHUHG       
                                            
     FRQFHUQV                                         FRQWHVW
                                              
            FRQILGHQFH                         FRQWH[W
                                                  
                                              
                    FRQQHFWLRQV    FRQVLGHULQJ      
                                                 
                       FRQVHQVXV                 
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             FRQWLQXLQJ                           FRUUHFWHG
                       FRUUHFW                  
                                         FRUUHFWLRQV
                FRQWLQXRXV                            
                                        FRUUHFWO\
                                           
                                            
             FRQWLQXXP                            
                                         
           FRQWUDVW                            
                                         
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               FRQWUDYH                       
                                            
               FRQWURO                       FRUUHODWH
                                              
                FRQWUROOHG                       FRUUHODWHV
                                          
                                             FRXFK 
              FRQYHQLHQFH                     FRXQFLO
                                               
               FRQYHQWLRQV                    FRXQVHO 
                                           
               FRQYHUVD                      
                                             
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                                           
            FRQYHUVD                          
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                                      FRXQVHOLQJ
                                         
             FRQYHUVH                          &2816(/6
                                               
               FRQYLQFLQJ                       FRXQW 
     FRQWLQXH                                      
            &RROH\                          FRXQWU\
                                     
                                              
               FRRUGLQD                     FRXQWV 
                                               &RXQW\ 
               FRSLHV                        
     FRQWLQXHG                                     
               FRSLQJ                           FRXSOH 
     FRQWLQXHV                                       
                FRS\                          
                                                
                                            FRXUVH 
                                              
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                                    
                                      GHDOLQJ 
                                             
                                             
     FRXUW                                     
                                           GHDOV 
                                             GHDOW 
                                         
                                         
                                    GHEDWHG
                                            
                                             
                                           GHFDGHV
                                             
                                            
                                            'HFHPEHU
                                         
     FRXUWURRP       FULWHULRQ       FXUUHQWO\                GHFLGH
                                       
     FRYHU     FULWLFL]LQJ                  GHFLGHG
                                               
     FRYHULQJ        FURVV     FXUYH               
                FURVVFR     FXUYHV    GDWDVHW     GHFLGLQJ
                       FXW                
     &29,'     FURVVVH                      
                              GDWH       GHFLVLRQ
     FUHDWH                                          
                       FXWRII                 
                                                  
                FURZGHG               '                   
                           '                  
               &706      GDPDJHV        GDWHG      
                                             
     FUHDWHG                 GDUH                   
                          GDUN     'DYH        
                         GDWD               
                                           GHFLVLRQV
               FXOWXUDO                              
     FUHDWLQJ                                       
                                'DYLG        
              FXPEHUVRPH                     
     FUHGHQWLDOV                               'HFODUDWLRQ
               FXPXODWLYH                        
                                 GD\      
     FULWHULD                         GD\V        
                                        
                                             
                                 GHWUDQV      
                                      GHFODUHG
           FXUUHQW                           
                                GHWUDQV     'HFODUWLRQ
                                         
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     GHFOLQH                    GHOLYHUHG                  
                                            GHWHUPLQDQW
     GHFOLQHG                  GHPRQVWU              
                                GHSULYDWLRQ     GHWHUPLQ
     GHFOLQHV                                       
               GHILQLWLRQ      GHPRQVWUDWH    GHSWK       
     GHFUHDVH                              GHULYH          GHWHUPLQ
                                        
     GHFUHDVHG                       GHVFULEH        GHWHUPLQH
                           GHPRQVWU             
     GHFUHDVLQJ                                  
                                                 
     GHHPHG                         GHVFULEHG        
                                            
     GHIHFW                                    
                                                
               GHILQLWLRQV               GHVFULEHV       GHWHUPLQHG
     'HIHQGDQWV             GHPRQVWU               
                                GHVFULELQJ       
                           GHPRQVWU             
               GHILQLWL                           
     'HIHQGLQJ                  'HQLNHU     GHVFULSWLRQ     GHWHUPLQLQJ
                                               
     GHIHU      GHJUHH                          
     GHIHUUHG                                    
                          GHQ\LQJ    GHVLJQDWH        
     GHILHG                 GHSHQG             GHYHORS 
                                    GHVLJQDWHG       
     GHILQH                                     
                           GHSHQGLQJ      GHVLJQDW      
                                               
                                   GHVLJQHG         
                                              GHYHORSHG
                                           
                          GHSHQGV        GHVLUH        
                                GHVLVW           
                                        
                                    GHVSLWH         GHYHORSLQJ
     GHILQHG                                  
                                          
                                            
                GHJUHHV               GHWDLO     GHYHORSPHQW
                                           
                                               
                                GHWDLOHG          
                                         
               GHOD\LQJ                               
                          GHSRVLWLRQ     GHWDLOV      
     GHILQLQJ                                       
            GHOHWHG                           
                                      
     GHILQLWHO\      GHOHWLRQ                              
                                   GHWHFWHG         
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                                           GLVPLVVHG
                       GLIIHUHQ               
                                    GLVFRUGHG       GLVRUGHU
                      GLIIHUHQ                
                                   GLVFRYHU\        
                                       
                       GLIIHUHQWO\               GLVRUGHUV
                                  GLVFUHWLRQ       
     GHYHORSP                                    
               GLIIHUHQFHV     GLIIHULQJ      GLVFULPL      
                                               GLVSHQVH
                          GLIILFXOW      GLVFULPL      
                                           GLVSURSR
                                   GLVFULPL      
     GHYHORSP                                    
                         GLIIXVH        GLVFULPL      
     GHYLVLQJ                                      
                         GLJ                  
     'H9U\                GLPRUSKRXV                 
                                   GLVFULPL     GLVSXWH
     GLDEHWHV                  GLS                
                     GLUHFW             
     GLDJQRVHG                                 GLVSXWHV
                                             
               GLIIHUHQW                GLVFXVV     GLVTXDOLI\
     GLDJQRVLV                                 
                                GLVFXVVHG       GLVVHQW
                    GLUHFWLRQV                 
     GLDJQRVWLF                                 GLVWDQFH
                     GLUHFWO\                   
                                       
     GLFWDWH                 'LUHFWRU                  GLVWDQFHV
                               GLVFXVVHV        
     GLIIHU            GLVDGYDQ                
                                 GLVFXVVLQJ       
                           GLVDJUHH                  GLVWLQFW
     GLIIHUHG                                          
                                              GLVWLQFWLRQ
     GLIIHUHQFH                          GLVFXVVLRQ       
                                             
                                        GLVWLQFW
                                           
                      GLVDJUHHLQJ           'LVWULFW 
                                           
                                             
                    GLVFDUGHG                GLYHUW
                                            
                                      GLYLVLRQ
                       GLVFORVH                  
                              GLVFXVVLRQV      
                    GLVFORVHG              
                                   GLVIRUPHG        
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                                            
                                            
                                             
     GLYLVLRQV                                 HDUO\ 
                                          
                                              
     GRFWRU                                      
                                 '6'V       
                                       
                GRFXPHQWHG               '60         
                                 '609       
                                          HDUWK 
                                         HDVLHU 
                                    GXH        
                GRFXPHQWV             'XNH        HDVLHVW
                                    '8/<        
                                  GXUDWLRQ        (DVW 
                                      
                GRLQJ                           (DVWHUQ
                                G\VSKRULD        
                                         
                                          
                                               
                                             
                                              
                                            
                                            
               'RPHVWLF        GUDIW                
                        GUDIWHG                (DVWZRRG
                                        
               GRRU                            HDV\ 
               'RUD        GUDIWLQJ               
                                  G\VSKRUL     HGJH 
             'RULDQH     GUDZ                
               GRXEW      GULYHQ     '\VSKRULF       HGLWRULD
                                               
                      GULYHU                         HGXFDWH 
     GRFWRUV                                  (          
               GRXEWLQJ                  (       HGXFDWHG
                      GULYHUV                  
               'U                      
                                           HGXFDWLRQ
                        GULYHV     (          
     GRFXPHQW               GURSSHG        HDUOLHU       
                                         
                     GUXWKHUV                
                                             
                                                
                        '6'                HGXFDWLRQDO
                                            
                                               
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                                     HQGRJHQR      
     HIIHFW               HPSOR\PHQW               
            HOLFLW              HQGSRLQW         
           HOLJLELOLW\                       
                                              HQWLWLHV
                           HQDEOH               
                         HQFRPSDV              HQWLWOHG
                                  HQGSRLQWV        
                HOLJLEOH        HQFRXQWHUHG            
                                               
                          HQFRXUDJH                  
                              HQGV        
     HIIHFWLYHO\                                     
                                        
               HOLPLQDWHV      HQFRXUDJHG                
                                               
     HIIHFWV                    HQFRXUDJLQJ               
                HOLWH             HQGXUDQFH       HQYLURQP
                                             
                      HQGHDYRU              HQYLVLRQ
                                            
     HIILFLHQF\                                 
                       HQGHDYRUV      HQHUJ\           
     HIILFLHQW                                    
                       HQGRFULQH      HQIRUFH          
                                            
     HIIRUWV                          HQJDJH     HTXDO 
                                          
                                           HTXDOO\
                                            
     HLJKW                         HQJDJHG         HTXHVWULDQ
                                           
             HOXVLYH                         HUURU 
                                   (QJOLVK         HVSHFLDOO\
                (PEDUFDGHUR                          
                           HQGRFULQ    HQMR\       
               HPEUDFH                            (648,5( 
     HLWKHU                                    
            (PPD                HQMR\HG          
             HPRWLRQDO       HQGRFULQ            
                                              
                                  HQVXULQJ         
                HPSKDVL]H       HQGRFULQ           HVVHQWLDOO\
                                           
               HPSKDWLF     HQGRJHQRXV     HQWHU     HVWDEOLVKHG
     HOHPHQW                               HQWHUWDLQHG       
                HPSOR\HG                             
                                    HQWLUH      HVWDEOLV
               HPSOR\HH                       
     HOHPHQWV                                     HVWDEOLV
                HPSOR\HHV                            
                                         HVWURJHQ
     HOHYDWHG        HPSOR\HU                             
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     HVWURJHQV                                   
                                H[HFXWH          
                                          ([KLELW
                                  H[HFXWHG          
     HW                                      
                                 ([HFXWLYH       ([KLELW
                                         
                                H[KDXVWLYH      ([KLELW
                                          
                                            ([KLELW
     HWKHU                                  
     HWKLFDO                                   ([KLELW
                                    H[KDXVWL      
     HWKLFV             H[DPSOHV                 H[KLELWLQJ
                                 H[KLELW       
     HYDOXDWH        HYROXWLRQ                     H[KLELWV
                                              
                                      H[LVW 
                          H[FHHG                 
                         H[FHSWLRQ                
     HYDOXDWLRQ      HYROYH                   
               HYROYHG                              
                                             
               HYROYLQJ        H[FHSWLRQV             
     HYDOXDWLRQV                              
                       H[FHUSW                 
                                              H[LVWHG
     HYHQW      H[DFW     H[FHUSWV                  
            H[DFWO\                      H[LVWHQFH
                      H[FOXGH               
                                         
                                          
                                               H[LVWLQJ
                         H[FOXGHG               
     HYHQWV                                      
                     H[FOXGHV                
                                               
                           H[FOXGLQJ               H[LVWV 
                                           
                                         
               (;$0,1$7,21                    
                       H[FOXVLRQ             H[SDQG 
     HYHQWXDOO\                                       
                           H[FOXVLRQV             
     HYHU\ERG\       H[DPLQH                             H[SDQGLQJ
                           H[FOXVLYHO\            
                H[DPLQHG                           H[SDQVLYH
                                             
     HYHU\ERG\ V     H[DPLQLQJ                          H[SDQVLYHO\
                         H[FXVH                 
     HYLGHQFH        H[DPSOH                            H[SHFW 
           Case: 22-5807
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                                           H[WHQW 
                                       
                                          
     H[SHFWDWLRQ                    H[SODQDWLRQ      
                                        H[WHUQDO
     H[SHFWLQJ                                     
                                       
     H[SHQVHV                                      
                                    H[WHUQDOO\
     H[SHQVLYH                                   
                                            
     H[SHULHQFH              H[SHUW V                  H[WUD 
                              H[SODQDW     H[WUHPH
                   H[SHUWLVH                 
                                        H\HV 
                                       
                                             )
                                   I 
                               H[SORULQJ         
                                             IDEULFDWLQJ
                             H[SORVLYH         
                                           IDFH 
                                H[SRVHG         IDFHG 
                                             IDFHWV
                                                
     H[SHULHQFHG                      H[SRVXUH        IDFLOH 
                                           IDFW 
                                          
                                               
                                         
     H[SHULHQFHV                                   
                      H[SHUWV        H[SRVXUHV         
     H[SHULHQ                                     
                                      H[SUHVV           
                                         
     H[SHUW                         H[SUHVVHG         
                          H[SODLQ                     
                                          
                                              
                            H[SUHVVLQJ        
                                         
                                                
                                             
                                          IDFWRU 
                                            
                              ([VWURSK\       IDFWRUV
                                         
                                H[WHQG        
                                  H[WHQGLQJ         
                                        
                          H[SODLQHG      H[WHQVLYH         
                                         IDFWXDO
                    H[SODLQLQJ              
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     IDLU                   IHHV              
                                        
                                         
              IDPLOLDULW\     IHHW              )LIW\ILYH
                        IHOW               
                IDQ                           ILJXUH 
                IDU         IHPDOH                 
                                    
                                         
                                        ILJXUHV
                                           
                                       ILOH 
                                      ILOHG 
                                           ILOLQJ 
                                               ILQDO 
                                          
     IDLUO\                          IHPDOHRQO\      
               IDUWKHU                        
                                 IHPDOHV          
                                                
     IDLUQHVV                             ILQDOO\
                                        
                                    
            IDVKLRQ                            ILQDQFLDO
                                      
                                       
                                         
                IDVWHU                     
                                            
                                        ILQG 
                                        
                                    IHPLQLQH         
                                               
             IDVWHVW                   IHPLQL]H         
                                               
     IDOO        IDYRUDEOH                IHPLQL]LQJ       
                                               
     IDOOV      IDYRULWH                             
                                  IHWXV       
     IDOVH       IHDU                        
                 IHDVLEOH               ILHOG       
                                          
               IHGHUDWLRQV                      
     IDPLOLDU                                    
                                         
                                          ILQGLQJ
                                           
                                             
                IHHO                             
                                            
               IHHOLQJ                             ILQGLQJV
                                         
                                             
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                       )RONV             
                         IROORZ             
                                             
                       IROORZHG                 
                                         
               ILW                          
                         IROORZLQJ                   
     ILQH       ILWQHVV                        
                                            
     ILQJHU                                       
                                                 
     ILQLVK          ILYH                          
                                           
     ILQLVKHG                IROORZV                     
                                          
     ILUVW                                      
                                       
                                      
                        IRRWQRWH                    
                                    
                            IRUFH                    
                                            
                                             
                    IRUFHV                      
                                       
                                            
                       IRUJRW                   
                                          
                                                 
                       IRUP                  
                                                 
                                         
            IL[HG                         
                                             
               IODZV                          
                                         
             IOLS                            
                                         
                )ORRU                           
                                               
               IORZV                        
             IRFXV                          
                                              
                                             
                                             
                                              
                                           
                                        
                IRFXVHG                             
                                            
                                                
               IRFXVLQJ                           
                                             
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                                        
                                               
               IUDPLQJ                             
                         IXWXUH                
               )UDQFLVFR       IX]]\                
                                             
                IUHH                              
     IRUPDO                      *                
                )UHHGRP      *                   
               IUHVK       *%                 
     IRUPDOO\        IULHQG       JDPHV                  
                          JDS              
     IRUPDWLRQ       IULHQGO\        JDUEOHV                   
                                             JHQGHUD
     IRUPDWWLQJ      IULHQGV         *'                   
                          *'JHQGHU               
     IRUPHU      IURQW                     
                        *HDUKDUW               
     IRUPHUO\                                       
                                              JHQH 
     IRUWK                                    
                          *HDUKDUW V                
                                              JHQHUDO 
                      JHQGHU               
     IRUZDUG                                 
                                           
                                                 
                                           
     IRXQG                               
                                        
               IUXVWUDWHG                           
                                       
     IRXQGDWLRQ      IUXVWUDWLRQ                          
                                       
     IRXU        IXOO                         *HQHUDO V
                                             
                                           JHQHUDOL]H
     IUDFWLRQ                                
                                  JHQHUDOO\
                                           
                                   
                                          
     IUDFWLRQV                                 
                                           
     IUDPH       IXQFWLRQ                       
                                         
               IXQGDPHQ                      
                                           JHQHUDWLQJ
     IUDPHG          IXUWKHU                         
                                              
                                       JHQHUDWLRQ
                                            
     IUDPHZRUN                                     JHQHV 
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                                           
                                            
     JHQHWLF                                      
                                     
                                           
                                           
                                            
                                              
                                           
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                                              
                           JLYHQ                JRQDGDO
                                            
                                    JRQDGV 
                                         JRRG 
                                                
     JHQHWLFDOO\                              
                                   JRDO         
                                      
                                               
                                             
                                    JRDOV       
                             JRHV        
     JHQHWLFV                                        
                                               
                                   JRLQJ       
                          JLYHV             
                                                
     JHQLWDO                  JLYLQJ                JRRGQHVV
                                               
                       JOREDO                JRYHUQDQFH
                                      
                         JR               JRYHUQLQJ
                                             
     JHQLWDOLD                                  
                                             
                                           JRYHUQPHQW
     JHQLWDOV                                     
                                               
                                           JUDGH 
            JLYH                         
                                                 
                                            JUDGHV 
     JHQXLQHO\                                      
                                           JUDGXDWH
     JHWWLQJ                                       
                                         JUDQXODU
                                            
                                             JUDSK 
     JLUO                                  JUD\HU
                                            
                                       JUHDW 
     JLUOV                                     
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                                KDQGIXO         +DUWQHWW 
                                               
                                    KDQGLQJ          
     JUHDWHU                                    +%
                                  KDQGV       
                                 +        KDSSHQ      
                          KDELWXV        KDSSHQHG         
                                              KHDG 
                          KDOI     KDSSHQLQJ        
                       KDOIZD\                
     JUHDWHVW                            KDSSHQV          
                                              
     *UHHQ                          KDSS\      
                        KDQG       KDUG       
                                        
     JUHZ                                       
     JULG                                  
     JULQGV                KDQGH\H                  
     JULS                                    
     JURVV                +DQGHOPDQ V               
                                              KHDGHG
     JURXQGV                              KDUGHU      
                       +DQGHOVPDQ     +DUSHU       
     JURXS                                KHDGLQJ
                                         
                                              
                                        
               JXHVVLQJ                         KHDOWK 
                                            
               JXLGDQFH                       
                                              
                                      
                                           
                                           
     JURXSV                                        
               JXLGH                         
                                               
     JURZ      JXLGHOLQH                            
     *XDUG                                 
     JXHVV                                   
                                         
              JXLGHOLQHV                          
                                            
                                         
                             +DUSHU V         
                                          
                                       
                                        
                                                
                       +DQGHOVP           KHDOWKFDUH
                                    +DUULVRQ      
                                    KHDOWK\
                                             
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                         KROG      KRUPRQH       
     KHDU        KHPDWRFULW      KRQHVWO\                    
                             KRUPRQHV          
                                              
                +HPRJORELQ                      
                                         LGHD 
               KHVLWDWH                         
                           KRQRUDU\                 
                KHWHURJH                          
     KHDUG            KRUPRQDO                 LGHDWLRQ
                                        
                KLJK                          LGHQWLIL
     KHDULQJ                             KRVSLWDO         
                                             
     KHDUW                            
                                          
                                          
                                           LGHQWLIL
     KHDUW V                                     
                           KRUPRQDOO\                
     +($7+(5                                       
     KHDYLO\                                        
                          KRUPRQH                    
     KHLJKW                    KRVSLWDOV        
                                         
                                KRVWLOLW\        
                                              
                                    KRXU       
                KLJKHU                         
     +HLQR                                   
                             KRXUV      
     KHOG                                      
                                              
     +HOOR                          +RXVH      
                KLJKO\                      
     KHOS                         KRYHULQJ         
                                             
                KLVWRORJ              KXPDQ      
                                 KXQGUHG         LGHQWLILHG
               KLVWRULF                           
                                 K\SRWKHVLV       
     KHOSHG     KLVWRULHV                             
                                           
               KLVWRU\                          
     KHOSIXO                         K\SRWKHW      
                                     
                                             
                                             
                                K\SRWKHW      
     KHOSLQJ         KRF                             
                KRFNH\                             LGHQWLILHV
     +HOVWURP        +ROFRPE                      ,          
                                 ,$$)       LGHQWLI\
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                   LPSDFWV        LQFOXGHG         
                                        
                                             
                         LPSOHPHQW                  
                                          
                         LPSOLFDW               
                                       
                                      
                       LPSRUWDQFH               LQFRQJUXHQW
                               LQFOXGHV         
                    LPSRUWDQW                  
                                        LQFRQVLV
                                         
                                              
                                            
                                       
                                             
                                             LQFRUSRUDWH
     LGHQWLI\LQJ                                
                                       LQFUHDVH
                      LPSRVVLEOH                 
                                                
                        LPSUHVVLRQ     LQFOXGLQJ        
                                          
                         LPSURYHG                  LQFUHDVHG
                                       
                          LQKRXVH                  
                LPPHGLDWH                         LQGHSHQGHQW
                                              
     LGHQWLWLHV      LPPHGLDWHO\     LQDELOLW\                 
                                                 
     LGHQWLW\                  LQDFFXUDWH                 
             LPSDFW                       
                           LQDGHTXDF\                
                                                
                       LQDSSURS               
                                           LQGHSHQG
                       LQFHQWLYHV             
                                   LQFOXVLRQ        
                                        LQGLFDWH
                                                
                    LQFKHV                LQGLFDWHV
                                           
                         LQFOLQHG                  LQGLFDWLQJ
                                           
                         LQFOXGH    LQFOXVLYH       LQGLFDWRU
                                            
                                 LQFRPH      
                                     
                                      LQGLFDWRUV
                                         
                                 LQFRQJUX      
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     LQGLUHFWO\              LQLWLDO                
                                   LQVWUXFWLQJ      
     LQGLYLGXDO                                     LQWHUSUH
                       LQLWLDOO\      LQVXIILF      
                                         LQWHUSUH
                                             
                       LQLWLDWHG                 
                                LQVXOW     LQWHUVH[
                       LQLWLDWLQJ     LQVXUPRX       
                LQHYLWDEO\                       
                       LQLWLDWLRQ     LQWHOOLJHQW     ,QWHUYHQRU
            LQIDQWV                                
                         LQMXULHV       LQWHQG           
               LQIHU                      LQWHUYHQ
               LQIOXHQFH       LQRSHUDWLYH    LQWHQVH          
                                               
                       LQSXW     LQWHQWV          
                                             LQWHUYHQ
                                    LQWHUDFWHG        
               LQIOXHQFHG      LQSXWV            
                                     LQWHUFKD     LQWURGXFLQJ
               LQIOXHQFLQJ                         
                               LQWHUHVW        LQWURGXF
                                            
               LQIRUPDO        LQVLGH            LQWURGXF
                           LQVLJKW        LQWHUHVWHG       
     LQGLYLGX     LQIRUPDWLRQ                         LQWXLWLRQV
                           LQVLJQLI    LQWHUHVWLQJ      
                                           LQYDULDEO\
     LQGLYLGXDOV                                     
                   LQVLVW               LQYHVWLJ
                      LQVLVWHQFH     LQWHUIDFH        
                                           LQYRNH
                          LQVLVWLQJ      LQWHUPXUDO       
                                           LQYROYHG
                         LQVWDQFH       LQWHUQDO         
                                                
                                           
                                          
               LQIRUPHG                            
                                            
                                  LQWHUQDW      
                                        
               LQIRUPLQJ                        LQYROYHPHQW
                                                 
            LQKHUHQW        LQVWDQFHV                LQYROYHV
                                              
                                         ,2& 
                                            
                       LQVWLWXW             
                                  LQWHUQHW         
                                             
                          LQVWUXFWHG     LQWHUSUHW        
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                MXGJH                        
     LUUHJXOD                                   
                MXGJPHQW                              
     LUUHYHUV                                     
                                                
     LVRODWHG                                   
                                             
                                             
                         NLQGV                
     LVVXH      -8/,(                          NQRZLQJ
               MXPS       .LQJGRP                
     LVVXHV                                 
                       NQHZ                   
                       NQRZ                 NQRZOHGJH
               MXPSLQJ                           
     ,7&                                    
     LWHPV                               
                                        
                                           
                                         
                                              
           -         -XQH                          
     -$&.621      MXQLRU                       
     -DFRE                                
     -DNH      MXVWLI\                       
                                         
     -DQXDU\                                NQRZOHGJ
     MDZ                                      
     -HQQLIHU              .                           
               .DLWOLQ                          NQRZQ 
     -LP                           
     -RDQQD      .DQJ                          
                                        
                .DWHO\Q                       
                                                
            .DWKOHHQ                      
                                        
                NHHS                      
     -2+1$7+$1                                      
                  .HOO\                        NQRZV 
     -RKQVRQ                         
     -RVK                                       /
                NLG                            / 
               NLGV                         ODE 
     -RVKXD                                    ODEHO 
                                             
                                               
                                             ODEHOLQJ
                                             
                .LOLR                       ODEHOV 
     MRXUQDO                                    ODERUDWRU\
                NLQG                             
                                              ODFN 
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                                   OHWWHU           
               ODUJHU     OHG                 
     ODFURVVH                 OHIW             
                                                
     ODLG                                   
     /DLQH\                OHJ                   
                           OHJDO                  
     /DPEGD                            OHWWHUV          
                                                 
     /DPEHOHW                                   
                ODUJHVW         OHJLVODWLRQ               
     /DPEHOHW                               /LD 
                 ODU\QJHDO       OHJLWLPDF\     OHYHO       
     ODQH                                       /LEHUWLHV
               ODWH      OHJLWLPDWH                 
     ODQJXDJH        ODWHVW                       OLFHQVHG
                                             
                                         
            /$85(1&(                     OLIH 
                ODZ                           
                                           
                          OHQJWK                  OLIHWLPH
                /DZUHQFH                         
                        OHQJWKV               OLPE 
            ODZV                         OLPLW 
                      OHQJWK\                    
            ODZ\HU                            
            ODZ\HUV         OHW V               OLPLWHG
                                               
                                            
                                           OLPLWLQJ
                OD\PDQ                          
               OD\PDQ V                             OLQH 
                                             
               /&6:                           
                                             
               OHDG                           
                                             
                OHDGLQJ                          
                                             
               OHDJXH                           
                                  OHYHOV      
                                          
                OHDJXHV                              
                                              OLQHV 
               OHDUQHG                           
                                       
     ODUJH                                   
            OHDYH                      
                                              
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                                            OLVW 
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     OLVWV                                 PDLQ 
     OLWHU                                PDLQVWUHDP
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     OLWHUDO                                 
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     OLWHUDOO\       OLYHV                        
                OLYLQJ                    ORRNV     
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     OLWHUDWXUH                               
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               ORJLVWLFV                ORW       
     OLWLJDWLRQ                              PDNHUV 
                ORJRV                    
                ORQJ                        PDNHXS
                      ORRNHG     ORZHU   
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                PDOHV                            
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                                      
                                               PHDVXULQJ
                                            
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                                           
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                                        
                                         PHGLFDO
                                           
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                PDOOHDEOH                PHDQLQJ       
                      PDUNHU             
            PDQ        PDVV                 
               PDQLSXODWH                PHDQLQJIXO       
                          0DVWHU V                  
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                          PHWHUV            
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                   PHWKRG                 
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                      PHWKRGRO               
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                                  PLQLPXP     PRQLWRU
                          PHWKRGRORJ\                 
             PHQ V               PLQRULW\        0RQWDJDQR
                                       
                        PHWKRGV        PLQRUV          0RQWDQD
                                                
                PHQWDO                              PRQWKV 
                          PHWULF         PLQXWH      
     PHGLFDOO\                    PLQXWHV          
                        PHWULFV                
     PHGLFDWLRQ              0H\HU%D             
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                                         
                           PLV        
     PHGLFLQH                           PLVTXRWLQJ      PRUELGLW\
                                         
                          0H\HU%D              0RUJDQ 
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                         PLF                  
                     PLGGOH     PLVUHDGLQJ      PRUQLQJ
                                              
                                  PLVVLQJ           
                                                
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                                           
     PHHW                           PLVVSRNH        PRWKHU 
     PHPEHU               PLOH               PRWKHU V
                 PHQWLRQ                  PLVWDNH          
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                                              
               PHQWLRQHG             PL[        
     PHPEHUV                          PL[HG      PRWLYDWH
                                               
                          PLOLHX               0RXQW 
     PHPRU\                 PLOOLRQ        PRGHO       
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             PHW              PRGHVW      
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                      PLQLPDO               
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                          QDWXUDO                  QRQWUDQ
               QDPHV                QHHGHG       
                         QDWXUH           
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     PRXWKIXO                                QRQELQDU\
                                QHYHU       
     PRYH       QDQRPRODUV                        
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                                            
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               QDWDO                           
     PXGGOHG                                     
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     PXOWL\HDU                                 
                                                QRUPDOO\
     PXOWLSOH                                    
                                           QRUWK 
                      QHFHVVDU\      QHZHU      
     PXUN\                            QHZV      QRWDEO\
     PXVFOH                     1LFROH        
                                 QLQH         
                     QHHG                QRWDU\ 
                               QLQH\HD       
                                          
                            1PRO      
                                    QPRO/          QRWH 
                                            
                                   1PRO/V          
     PXVFXODU                                      QRWHG 
                               QRLVH      QRWLFH 
                                    QRQH[LV     QRWLFHDEOH
                                                     
           1                                   13V 
     1                           QRQH[SHUW      QXPEHU 
                                              
                                QRQKRUP       
     QDPH                                       
                                 QRQPHGLFDO      
                                        
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                                              
                                         REMHFWLYHO\
                                           
                                           REOLJDWLRQ
                                           
                                             REOLJHG
                                           
                                        REVHUYDEOH
                                             
                                          
                                              
                                       REVHUYDWLRQ
                                            
                                          
                                    
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                                              REVHUYDW
                                    
                                          REVHUYH
                                             
                                         REVHUYHG
     QXPEHUHG                                  
                                         
     QXPEHUV                                  REVHUYLQJ
                                          
                                           
                                      
                                          
                                    REWDLQ 
                                             
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                                              
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                                            
                                           
                                        REWDLQLQJ
     1<                                   
                                                 REYLRXVO\
           2                                  
     2                                
                                   REMHFWLR     RFFDVLRQDO
     2DNV                                  
     REMHFW                          REMHFWLRQV      RFFXSLHV
                                               
                                          RFFXU 
                                  REMHFWLYH        
     REMHFWLRQ                                RFFXUUHG
                                        
                                             
                                    RIIHU 
                                        
                                            
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                                       RSSRVHG
                         RQHWLPH              
                                            
                      RQHV                  
                                            
     RIIHUHG                                
                                              
                                              
     RIIHULQJ                  RQOLQH                     
                                          RSWLPLVP
                                         
                   RSHQ                 2SWLPL]H
                       RSHQHG              
                      RSHUDWH               RSWLQJ
                                           
                      RSHUDWLQJ                RUFKLHFWRP\
                                               
     RIILFH                RSHUDWLRQ                 
                                             RUGHU 
                                               
     RIILFLDO                 RSHUDWLYH              
                                           
                                             
                                              RUGLQDU\
                         RSLQLQJ                
     RK                                    RUJDQ 
                                          RUJDQL]D
                           RSLQLRQ                 
               ROG                          
                                         
                                          RUJDQL]D
                                             
                ROGHU                       
                                             
                                            
     RND\                                  
                                     
                                           
                                          
                2O\PSLF                          RUJDQL]H
                                    
                                               
                                        RULHQWDW
                            RSLQLRQV         
            2O\PSLFV                       RULJLQDO
                                             
                RPLWWHG                           
                                           
               RQFH                 RSSRUWXQ      
                                          
                                       
                                 RSSRUWXQLW\      
               RQH V                        RULJLQDOO\
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               RYHUVWDWH                            
     2VWHRSDWK\                                        
                                               
     RWKHUV          RYHUVWDWLQJ                     
                                                    
     RXJKW     RYHUWLPH                            
                                          
               RYHUZKHO                       
     RXWFRPH                                       
                                               
               RYHUZKHO                         
                                                
               R[\JHQF                        
     RXWFRPHV                                    
                                              
                    3                              
                3                           
                       SDJHV    SDSHUV       
                      SDLU                   
                           SDQHO                 
                SP                          
                                              
     RXWOLQHV                   SDSHU                
                                         
     RXWSHUIRUP                                   
                                         
                                          
     RXWVLGH     SDFH                          
                                             
                SDFNHG                             
                                           
              SDJH                         
                                    
                                            
                                        
                             SDUDJUDSK         
                                     
     RXWZHLJK                                  
                                         
                                              
     RXWZHLJKV                                       
                                           
     RYHUDOO                                   
                                         
                                        
                                               
                                           
     RYHUFRPH                                    
                                             
     RYHUFRPHV                                   
                                          
     RYHUODS                                  
                                                 
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     SDUDJUDSKV                                      
                                                  
                                               
                                                
               SDUWLDOO\                              
     SDUGRQ                                      
               SDUWLFLS                           
                          SDUWLHV                  
                                          
     SDUHQ                                    
              SDUWLFLSDWH     SDUWO\             
                    SDUWV             
     SDUHQWV                               
                      SDUW\     3$75,&.       
                     3$V       SDWWHUQ       
                          SDVV               
     3DUH[HO         SDUWLFLS     SDVVDJH                 
                                             
     SDUVH                  SDVVDJHV                   
                                   SDWWHUQV          
     SDUVLQJ                    SDVVHG                
                                   SDXVH         
     SDUW       SDUWLFLS     SDVVLYH        SD\LQJ            
                                               
                                SD\RU       
                          SDVVLYHO\                   
                                   SHGDJRJ\          
                         SDWK               
             SDUWLFLS     SDWLHQW    SHGLDWUL       
                                            
                                 SHHU        
                                            
                                SHHUUHY       
                                           
                                            
                                   SHOYLV       
                                     SHQLOH            
                                               
                               SHQLV       
                                             
                                           
                                    3HQQV\OY       
                SDUWLFXODU                              
                           SDWLHQW V      SHQXOWLPDWH       
                                               
                                 SHRSOH         
                           SDWLHQWV                
                                                 
                                              
                                          
                                             
                                            
                                             
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                                            3K' 
                SHUIRUPDQFH                           
                                        
                                       SKDOOLF
     SHRSOH V                                  
                                              
                                              SKDUPDFH
     SHUFHLYHG                                    
                                                SKHQRPHQRQ
     SHUFHQW                SHUIRUPLQJ                 
                                           SKHQRW\SLF
                    SHULRG                
                                      SKRQH 
                                          SKUDVH 
                                       
                                             
                                    SHUVRQ V        SKUDVHG
                                                 
                                            
                                         
                                         
                                          SKUDVLQJ
                  SHUPHDWHG                  
                                SHUVRQDO         
                            SHUPHDWLRQV            
                                       SK\VLFDO
                      SHUPLVVLRQ                
                                             
                      SHUPLW                
                                            
                       SHUPLWV        SHUVRQDOO\       
                                          
                         SHUPLWWHG              
                                              
                    SHUPLWWLQJ                 
                                           
                      SHUVLVW                   
                                       
     SHUFHQWDJH                                     
                                           
                                             
                                 SHUVRQV          
                       SHUVLVWHG                 
                                          SK\VLFDOO\
                   SHUVLVWHQFH               
                                           
                         SHUVLVWHQW     SHUVSHFWLYH      
     SHUIHFW                                   SK\VLFLDQV
                                           
     SHUIHFWO\             SHUVRQ    SHUWDLQ          
                                             
     SHUIRUP         SHUIRUPHG                  SHUWDLQV        SK\VLRORJLF
                                         
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     SK\VLROR                                   SRVWVXUJ
                SODFHPHQW                SRSXODWLRQ       
                                              SRWDWRHV
            3ODLQWLII                            
                                           SRWHQWLDO
                                   
                                         
                                          
                 3ODLQWLIIV                          
                                                  
             SODQ                           
     SK\VLROR     SODVW\                   SRSXODWLRQV     SRWHQWLDOO\
                                              
     SK\VLRORJ\      SOD\                       SRZHU 
                                 SRUWLRQ          
                                            
                                             SUDFWLFDO
               SOD\LQJ                         
                                SRUWLRQV        SUDFWLFH
                                          
               SOD\V                SRVLQJ       
     SK\VLTXH        SOHDVH     SRLQWHG        SRVLWLRQ         
                                                
                                                 
     SK\VLTXHV                                      
                           SRLQWLQJ                  
     SLFNLQJ         SOHQW\                          
                                             
               3//&                 SRVLWLRQV        
     SLFWXUHV        SOXV      SRLQWV               
                                    SRVVHVVHV       SUDFWLFHV
     SLHFH      SRLQW                             
                                           SUDFWLWL
                                SRVVLELO      
                     SROLFLHV                   SUHSXEH
                          SRVVLELOLW\      
     SLHFHV                                     SUHSXEH
                                                
                                           SUHFHGH 
                                    SRVVLEOH         
                                            SUHFLVH
     SLOH                 SROLF\            
                                       
     SODFH                                  SUHFLVHO\
                                     
                                               SUHGHWHU
                             SRVVLEO\         
                                        SUHGLFW
                                   SRVW        
                                  SRVWVXU      
                      SRSXODU                   
                                   SRVWHG           
                          SRSXODUO\                 
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     SUHGLFWLYH      SUHVFULS                         
                          SULPDULO\      SURGXFH         SURKLELWV
     SUHIDFH         SUHVHQFH                            
                         SULPDU\        SURGXFHG        SURMHFW
     SUHIDFHG        SUHVHQW                              
                                   SURGXFLQJ       SURMHFWV
     SUHIHU                                
                       SULRU     SURIHVVL     SURPLQHQFH
     SUHQDWDO                                
                                       SURPLQHQW
                                          
                                      SURPLVHG
                                         
                                   SURIHVVL     SURQRXQFLQJ
            SUHVHQWLQJ                           
                                   SURIHVVL     SURSHUO\
                SUHVHUYHG                            
                      SULRULWLHV               SURSRUWL
     3UHRSHUD     SUHVLGHQW             SURIHVVRU        
                                          
     SUHSDUH                    SULRULW\                
                SUHVV                            SURSRVH
     SUHSDULQJ                                   
                                             
     SUHSXEHUWDO     SUHVXPDEO\      SUREDEO\                
                                       
             SUHWUHDW                    SURSRVHG
                                              
            SUHWW\                              SURSRVHV
                                            
                                         SURSRVLQJ
                                             
                         SUREOHP           SURSRVLWLRQ
              SUHYHQW                             
                                           
                                             SURVSHFWLYH
                       SUREOHPV                
                                              
               SUHYHQWLYH      SURFHGXUH      SURIHVVR     3URWHFWLYH
                                           
               SUHYHQWV                 SURILOH         SURWRFRO
                      SURFHGXUHV             
     SUHSXEHV     SUHYLRXV              SURJUDP         SURWRFROV
                       352&((',1*                 
                                               
     SUHVFULEH                  SURFHVV                SURYH 
                                         SURYLGH
               SUHYLRXVO\                       
                                                 
                                  SURJUDPV         
                                           
     SUHVFULEHG                                    
                           SURFHVVHV      SURKLELWHG       
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                                  SXUSRUW          
                                      
     SURYLGHG                           SXUSRUWV         
                                            TXDOLI\
                                  SXUSRVH      
     SURYLGHU                                    
               SXEHUW\                              
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                                   SXUSRVHV         
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                                            
                                      TXDQWLW\
     SURYLGHUV                                
                                        TXHVWLRQ
                                     
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                            SXUVXDQW      
                                SXUVXH       
     SURYLGHV                                     
                      SXEOLF      SXUYLHZ      
                                            
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                                    SXVKXSV         
                                            
     SURYLGLQJ                        SXVKLQJ           
                    SXEOLFDWLRQ               
                                SXW           
                                           
     SVHXGR                                      
                                            
     SV\FKLDWULF                                    
                      SXEOLFDW               
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     SV\FKLDW                                  
                      SXEOLFL]HG                
                                                 
     SV\FKLDW                         SXWV        
                                    SXWWLQJ           
     SV\FKROR              SXEOLVKHG                 
                                       
     SV\FKROR                               
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     SV\FKROR                                     
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     SV\FKROR                     TXDOLILF      
                                            
     SXEHUWDO                SXOOHG         TXDOLILHG        
                                        
                      SXPSHG               
                      SXPSLQJ                
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                                    TXRWHG        
                                        
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                                                   
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                                              
               TXLFNO\                UDFH        UDQJHV 
                                            
               TXLHWHU                           
                                           UDWH 
               TXLWH              UDFHV      
                                  UDLVH      UDWHV 
                                               
                                           
                                            
                                           UHDFK 
                                           
                                              
                                   UDLVHG      UHDFWLRQ
                                          
                                           
                                                
                                      UHDFWLRQV
                                          
                                        UHDG 
                                              
                                         
                                UDLVHV        
                                              
                                  UDLVLQJ      
             TXL]                        
                                            
                                              
                                UDQ         
            TXL]]HG                  UDQGRP           
                                               
             TXRWDWLRQ              UDQJH       
     TXHVWLRQLQJ                                     
               TXRWDWLRQV                           
     TXHVWLRQV                                    
                TXRWH                         
                                
                                           
                                            
                                             
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                                            
            UHDOWLPH                  UHFRJQL]HG       
                                                 
               UHDOW\                               
                                   UHFRJQL]LQJ      
            UHDUHG                         
     UHDGHUVKLS      UHDVRQ                          
                            UHFROOHF      
     UHDGLQHVV                  UHFDOO                 
                                    UHFRUGHG
     UHDGLQJ                  UHFRPPHQG        
                                         UHFRUGLQJ
                                             
                                        
                                         UHFRUGV 
     UHDGV                       UHFRPPHQ       
                                             
                                            
                                    UHFUXLWHG
                                              
                                             UHG 
                                            UHGUDZ 
                                    UHFRPPHQ     UHGXFH
                                              
                                             UHGXFHV
                               UHFRPPHQGHG      
                                               
               UHDVRQDEOH      UHFHLSWV       UHFRPPHQ     UHIHU 
                                        
                      UHFHLYH        UHFRQFLOH        
                                               
                                    UHFRQILJ      
                                           
     UHDG\                        UHFRQILJ      
     UHDO                 UHFHLYHG                   
     UHDOLW\                            UHFRQVWU      
                                               
               UHDVRQDE                       
                                                
     UHDOO\     UHDVRQDEO\      UHFHLYHV                 UHIHUHQFH
                                  UHFRUG       
                          UHFHLYLQJ                   
                                                
               UHDVRQV                          
                      UHFRJQLWLRQ            
                                     
                UHERXQG                               
                         UHFRJQL]H                  
                UHEXWWDO                          
                                            
                                            
                                         UHIHUHQFHG
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                       5HLQHU               UHQGHU 
                UHIOHFWHG                           
                              UHOLDELOLW\      
             UHIOHFWLYH                           
                                     UHOLDEOH         
               UHIUDPH                             
                         UHMHFW                
                UHIXVHG         UHODWH         UHOLDEO\        UHQGHULQJ
                                           
                                          
     UHIHUHQFHV      UHIXVLQJ                            
                          UHODWHG        UHOLHG           
                UHJDUG                          UHQGHUV
                                 UHPDLQ           
                                              UHSHDW 
                                UHPDLQGHU        
     UHIHUHQFLQJ                                   
                                 UHPDLQHG         
                          UHODWHV                   UHSHDWLQJ
                                               
                                   UHPDLQV         UHSKUDVLQJ
                                               
                                             UHSODFH
                UHJDUGLQJ                           
                                              UHSOLFDWH
                          UHODWLQJ                   
                UHJDUGOHVV                           UHSOLFDWHG
                                                 
               UHJLPHQ         UHODWLRQ    UHPHPEHU        UHSRUW 
                                            
                                                 
                                               
     UHIHUUHG                                        
                UHJLPHQV        UHODWLYH                    
                                                  
               UHJLPHV                  UHPLQG            
                                             
                         UHODWLYHO\     UHPLQGHG         
                UHJLRQ                       
     UHIHUULQJ       UHJLVWHUHG                 UHPRWHO\         
                                         
            UHJUHVV                               
                                   UHPRYDO          
                                           
               UHJXODWLRQ      UHOHYDQFH      UHPRYH      
                                   UHPRYHG          
                         UHOHYDQW                  
               UHJXODWLRQV                        
     UHIHUV                           UHPRYLQJ         
               UHLPEXUVHG                            
     UHILQHG                                          
               UHLPEXUV              UHQDPHG          
     UHIOHFW                                    
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                                                
               UHSURGXF                         
                                               
                                              
                                               
                                           
                                   UHVXOWHG         
                UHSXWDWLRQ                        
                              UHVXOWLQJ        
                                         
                UHTXHVW                              
                                           
                UHTXLUH                            UHYLHZHG
                                    UHVXOWV          
                                              
                                            
                                               
                          UHVHDUFKHU               UHYLHZLQJ
               UHTXLUHG                              
                          UHVLGHQWV             UHYLHZV
     UHSRUWHG                                      
                         UHVLGXDO       UHWDLQHG         
                                             UHYLVHG
                UHTXLUHPHQW                       
                                UHWLUHPHQW       
                                            UHYLVLRQV
     UHSRUWHU               UHVRXUFHV      UHWUDFW          
                                            
                        UHVSHFWHG      UHWURVSH     ULIOHU\ 
                                                
                     UHVSHFWIXO     UHWXUQLQJ       ULJKW 
                                              
     UHSRUWLQJ                  UHVSHFWI    UHYHQXH          
                UHTXLUHP                       
                       UHVSHFWLYH     UHYHQXHV         
                                               
                                             
     UHSRUWV                 UHVSRQVH                
            UHTXLUHV                               
                            UHVSRQVL               
                                  UHYHUVDO         
     UHSUHVHQW                  UHVW                   
                                   UHYHUVH           
                                               
                UHTXLULQJ              UHYHUVHG          
     UHSUHVHQ               UHVWDWH                 
            UHVHDUFK                              
     UHSUHVHQ                      UHYHUW      
                               UHYLHZ       
                        UHVWULFW              
                                            
                      UHVXOW                
     UHSURGXF                              
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                   UREXVW                 
                                         
                         5RJHU       UXQQHU           
                                             
                                UXQQHUV      
                                  UXQQLQJ          
                                          
                       UROH               
                                                
                                           
                                             
                                             
                                              
                                             
                       UROHV                 
                                  UXQV       VDIHW\
                      URRP                  
                                            
                                     6          
                                    6          
               ULJKWV                            
                          URXJKO\                   
            ULJRU               VDIH       
               ULJRURXV        UXOH      VDIHO\      
                                          
               ULVH             VDIHU        
                ULVN                          
               5REHUW                    VDODU\
               5REHUWD                         
                                            
                                       
               5REHUWV                     
                                     
                                         VDOHV 
                                       VDPSOH 
                                    
                  UXOHV               
                                               6DQ 
                                    6DUDVZDW
                                            
                                         6DUJHQW V
                                            
                                         VDWLVILHG
                                         
                                           VDWLVI\
                                   
                                     
                                        
                                              
                         UXQ               VDWLVI\LQJ
                                              
              5REHUWV                             VDYH 
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     6DZDVZDW                                          
                 VFDOH                            
     VD\LQJ                                      
                                         
                VFDQ                             
               VFHQDULR                             
                                              
               VFKRODVWLF                             
                          VFLHQWLI                 
                                             
                                             
                                            
               VFKRRO                            
                                        
                        VFLHQWLVW                  
                                             
                                VHFRQGDU\         
                                            
                                         
                                               
                                       
                                               
                                           
                                VHFRQGV           
                     VFLHQWLVWV                 
                               VHFWLRQ       
     VD\V                                    
                    VFRSH              
             VFKRROV                              
                                                
                                             
                                         
                VFLHQFH         6FRWWVGDOH     VHH        
                                                
                          VFUHHQ                      
                                          
                                        
                                            
                         VFURWXP                     
                                                 
                       6&58**6              
                          VH                 
                                                 
                                        
                                              
                                          
                                                 
               VFLHQWLILF                        
                      VHDOLQJ                 
                        VHFRQG             
                                      
                                            
                                            
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                         VHSDUDWHO\             
                                                
                       VHSDUDWLQJ                 
             VHQVLWLYH                           
                           VHSDUDWLRQ                 
               VHQW                           
                        6HSWHPEHU                 
     VHHLQJ                                        
               VHQWHQFH        VHULRXV                   
                                         VKRUWHU 
                                          VKRUWO\
                      VHUYH              
                       VHUYHG           VKRZ 
     VHHN                                   
     VHHNLQJ                                     
                           VHUYHV                 
                           VHUYLFH                   
                                            
                           VHUYLFHV                  
                                         
     VHHQ                                   
                        VHUYLQJ               
                           VHW                   
                                  VH[EDVHG        
                                        VKRZHG 
                                               
                                              
                                       VKRZLQJ
     VHJUHJDWLRQ                      VH[VHSD      
                                                
     VHOI                 VHWV      VH[HV        
                                   VH[XDO       
                           VHWWLQJ            
     VHOIGLD                                 VKRZQ 
                                            VKRZV 
     VHOIGLD                                    
                                          VKULQN
     VHOISUH                                    
                         VHWWOH    VKDSH      VKULQNLQJ
                          VHYHQ     VKDUH      
     VHOIUHS                                 VKULQNV
                                    VKHHU       
     6HPHQ\D                         VKLIWHG      
            VHQWHQFHV                            VKXIIOH
     VHPLQDO                                        
                          VHYHUH    VKLIWLQJ        6KXPDQ 
     VHQLRU          VHSDUDWH                        VKXWWOH
                                VKLIWV      
     VHQVH                       VKRHV      VLF 
                          VHYHUHO\       VKRRWLQJ        VLGH 
                                           
                VHSDUDWHG       VH[       VKRUW      VLJQDOLQJ
                                          
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     VLJQLILF            VLQJOH                
                                       VRFLHWDO
                    VLW                    
     VLJQLILFDQW                                      
                                            
                                VNHOHWRQ        VRFLHW\ 
                                             
                                   VNLOOV            
                                            
                           VODVK       
                             6OLFHU       
                               VORZ         
                        VLWV      VORZHU      
                                  VORZO\       
                          VLWWLQJ                    
                                    VPDOO       
                                          
                                               VRFLHW\ V
                                               
                                             
                                               VROHO\ 
                                             
                          VLWXDWLRQ      VPDOOHU         VRPHERG\
                                      
                                            
                                              
     VLJQLILF                         VPDUW      
                                              
                          VL[     VQLSSHW          
                                            
                                  62&        
     VLJQLQJ                                     
     VLPLODU                                
               6LQDL                         
                                   62&      
                                         
                                          VRPHSODFH
                                              
                                              
                                   62&      VRPHZKDW
     VLPLODUO\                                 
                                VRFFHU      
     VLPSOH                                    
                                          VRRQ 
                          VL[SHUFHQW    VRFLDO     VRSKLVWL
     VLPSOHU                                           
                          VL[\HDU                 VRUU\ 
     VLPSOLI\                                
                         VL[WK                 
     VLPSOLVW               VL]H                   
                                         
     VLPSO\     6LQDL V                VRFLDOO\         
                                        
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                                           
                                         
                                           
               VSDQ       VSHFLILF                
               VSHDN                      
                                                
                                            
                VSHDNHU                             
                                          
               VSHDNLQJ                              
                                           
                                        
                                        
                                              
                                           
                                         VSRXVH
                                                
                6SHFLDOLVW                         VSUHDG 
                                              VSULQWV
               VSHFLILF                           
     VRUW                                  6UXWL 
                                            
                          VSHFLILFV                 66$& 
                                    VSRUWLQJ        VWDFN 
                                         VWDJH 
                                                  
                                            
     VRUWV                                    
                                            
                          VSHFXODWH      VSRUWV       
     VRXJKW                                      
                                           
                      VSHFXODWLYH            
                                            
     VRXQGV                    VSHHG             
                                            
                         VSLULW            VWDJHV 
     VRXUFH                                     
                           VSRNHQ             
                           VSRQWDQHRXV           
                                              
                          VSRQWDQH              
                                              
                      VSRUW                
                                             
     VRXUFHV                                     VWDPLQD
                                              
                                             
     6RXWK                                 VWDPSHG 
     6RXWKHUQ                                 VWDQG 
                                       VWDQGDUG
     VSDFH                             
                                         
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                                  VWUDLJKW         
                        VWDWHPHQWV                 
                                            VWXGLHG
                                             
                                 VWUDWHJLHV       
                                               
                       VWDWHV                 
                               6WUHHW        
                                              
                                          
                                   VWUHQJWK        VWXGLHV 
            VWDWHG                          
                                             
                                               
     VWDQGDUGV                 VWDWLF               
                                          
                         VWDWLQJ                   
     VWDQGLQJ        VWDWHPHQW                           
                                        
     VWDQGV                                      
                                              
     VWDUW                  VWDWLVWLF                  
                             VWUHWFKLQJ       
                           VWDWLVWL                 
                                  VWULFWO\         
                                               
                                                 
                          VWDWLVWLFV                
                               VWULNH      
                                   
                                             
                             VWURQJ           
                          VWDWXV                    
                                           VWXG\ 
     VWDUWLQJ                  VWD\LQJ    VWURQJHU         
                          VWHS                    
                                           
                                               
     VWDUWV                              VWURQJHVW        
                                              
     VWDUYLQJ               VWHSSLQJ                   
                                   VWUXFWXUH        
     VWDWH              VWHSV                 
                        6WHSWRH                 
                       VWLFN                  
                       VWLSXODWHG     VWUXFWXUHG       
                                             
                       6WRFN                
                           VWRS      VWUXFWXUHV       
                                             
                       VWRSSHG        VWXGHQW          
                                            
                   VWRU\    VWXGHQWV         
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               VXEMHFWV                            
                      VXIILFH               VXSSRUW
                                            
                     VXIILFLHQW     VXLFLGHV         
                                            
                                 6XLWH        
                                                
                                VXP        
               VXEPLVVLRQ                       
                              VXPPDULHV        
               VXEPLWWHG       VXIILFLH                
                                 VXPPDUL]H        
           VXESRHQD                            
                                           
                VXEVHTXHQW                          VXSSRUWLQJ
                                                 
                                VXPPDUL]HG       
                                               
            VXEVHTXH                           
                                             
                          VXJJHVW        VXPPDUL]HV      VXSSRVH
               VXEVHW                                
                                   VXPPDUL]LQJ     VXSSRVHG
           VXEVWDQWLDO                        
                                          VXSSUHVV
                                 VXPPDU\          
                                              
                VXEVWDQW                         VXSSUHVVHG
                                     
                         VXJJHVWLQJ                
                                           
     VWXG\LQJ                                       
               VXEVWLWXWH                           
     VWXII                                      
             VXEWOHU                  VXSHUILF     VXSSUHVVLRQ
     6WXWOHU                                
             VXIIHU                   683(5,17      
     VXEMHFW                                     
                       VXJJHVWLRQ     6XSHULQW      
                                           
                                            
                          VXJJHVWV                   
                                  VXSHULRU         
                                               
               VXIIHUHG                  VXSHUYLVH        
                           VXLFLGDO                  
                                  VXSHUYLVHG       
                                             
     VXEMHFW V       VXIIHULQJ       VXLFLGDOLW\             
                                         VXUH 
     VXEMHFWLYH      VXIIHUV         VXLFLGH        VXSHUYLVRU        
                                            
                               VXSHUYLVRU\       
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                         6:251                 
                      V\PEROV                
                                               
                          V\PPHWULFDO            
                VXUJLFDO                           
                      V\PSWRPV                   
                                               
                       V\VWHP                 
               VXUJLFDOO\                       
                          V\VWHPDWLF                
                                            
     6XUHO\                                       
               VXUSDVV                               
     VXUJHRQV                                 
               VXUSDVVLQJ      V\VWHPDW               
     VXUJHULHV                                   
               VXUSULVLQJ                             
                                         
            VXUURJDWH                           
                     V\VWHPV                    
                                              
                                                 
               VXUURJDWHV            7                    
                          7                   
               VXUURXQGLQJ     WDE                 
                                         
                VXUYH\                                
     VXUJHU\                                    WDOOHU 
                                   WDNHQ       
                                           7DQJSULFKD
                                          
                                         7DQQHU 
                                       
                                            
            VXUYH\LQJ                            
                                          
             VXUYH\V                             
                                              
                                           
                          WDEOH                 
               6XVDQ                             
                                           
                                        
                                     WDNHV      
               VXVSHFW                  WDON        
                                            
                                       
                                               
               6ZDPLQDWKDQ     WDLORUHG                  
                           WDONHG     WDUJHW 
                       WDNH                  
                                              WDVN 
                VZHDU             WDONLQJ      
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     WHDFKLQJ        WHQVLRQ                          
                                          
     WHDP                                        
               WHQWDWLYHO\                      
                                         
               WHUP       WHVW              
                                        
                                           
                                          
                                          
     WHDPV                              
                                       WHVWRVWH
     WHFKQLFDOO\                                 
                                           WHVWV 
     WHHQDJHUV                                   
               WHUPLQRO                           
     WHHQV               WHVWDEOH                   
     7HOIHU          WHUPLQRORJ\                       WH[W 
                        WHVWHG                  
     WHOO                               
                          WHVWHURQH                 WKDQN 
                                         
                          WHVWHV             
                                          
                                               
                                               
                                            
                                           
                          WHVWLILHG                 
                                             
             WHUPV                            
                                     
                                           
                                            7KDQNV
                                         
                                            
     WHOOLQJ                WHVWLPRQ\                  
                                           WKHLUV
     WHOOV                                   
                                           WKHRUHWLFDO
     WHQ                                      
                                           WKHRUHWL
                                        
                       WHVWLQJ                  WKHUDSHXWLF
                                       
                                     WKHUDSLHV
                                         
                    WHVWRVWH            
                                      WKHUDS\ 
     WHQ\HDU                                  
                                         
     WHQ\HDU                                   
                                    
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                                             
                             WKUHVKROG        
                                      
                                           
                                             
                                        
                                            
                                         
     WKLJK                WKLQNLQJ              
     WKLQJ                                
                                            
                                              
                                          
                                              
                                             
                            WKUHVKROGV       
                                            
                           WKLQNV                
                         WKLUG      WLHG         
                                WLHU         
                               WLHUV      
                                    WLJKWHQHG       WLPHFRQ
                                               
                                   WLJKWHU     WLPHV 
                                   WLPH        
                                                 
     WKLQJV                 WKLUGSDUW\                
                                       
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                       WKRXJKW               WLVVXH
                                           
                           WKRXJKWIXO                WLVVXHV
                                               
                          WKRXJKWV                  
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     WKLQN                              
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                WUDFN                           
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                                          
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               WUDFNLQJ                           
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               WUDLQHG                           
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     WRROV                                    
                WUDQVFULSW                          
     WRS                                   
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                                                
               WUDQVJHQGHU                      
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                                WUDQVLWLRQ      WULDO 
                                               WULDOV
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                                             WULEXQDO
                                    WUDQVLWL      
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                                            
     WRSLF                           WUHDW     WULJJHU
                                          
     WRWDO                                WULJJHUV
                            WUHDWHG          
                                        WULYLDO
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     WRWDOHG                                      
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                                           XQDEOH 
                                    WZRWKLUGV        
                           WXUQLQJ                   XQDIILOL
                                                 
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                       WXUQV               
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                        WZR                 XQDQLPRXV
                                              
                                      XQDQLPRXVO\
                              W\SHV       
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                                W\SLFDO           
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                                         
                                        XQGHUJRQH
                                        
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     WUXVW                                  
     WUXWK                             XQGHUSLQ
                                             
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                                               
                                          XQGHUVLJQHG
                                           
                                             XQGHUVWDQG
                                                  
     WU\LQJ     WXUQ                 W\SLFDOO\         
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     7U\RQ                                     
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                                YDJXHO\          
              XQLILHG                         
     XQGHUVWD     8QLRQ                 YDOLGLW\         
            8QLWHG                           
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                                     YDOXH      YLFH 
                XQLYHUVDOO\                      YLFWRULHV
                                               
               XQLYHUVH                        YLGHR 
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                                   YDULDEOH          
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               XQNQRZQ                   YDULHW\          
     XQGHUVWRRG                                  
                                            
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                                   YDULRXV          
                                            
               XQOLFHQVHG                           
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                XQPXWH     XVHIXOO\                  
                XQSDFN                             9,'(27$3(
                                                
     XQGHUZHQW       XQSUHYHQ     XVHV                
                          XVXDO                 
     XQGHVLUDEOH     XQUHOLDEOH                           
                           XVXDOO\        YDUVLW\          
     XQGRXEWHG       XQVWDEOH                             
                          XWHUR              9,'(27$3('
     XQIDLU     XQWUDLQHG             YHUDFLW\          
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                XSSHU                            YLHZ 
                                 9        YHULILHG         
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                                 YHUVD      
            XSZDUGV     YDJLQDO        YHUVLRQ       
                XUHWKUD                             
                          YDJLQDV                   
               XULQDWH                   YHUVXV      
                          YDJLQRSO             
     XQIDLUQHVV      XVH                         
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     XQIRUWXQ                                  
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                                           
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     YLRODWH                                      
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      $77251(<%522.6$QG,ZRXOGOLNHWR            $77251(<%25(//,2EMHFWLRQIRUP
      DGPLWDV([KLELWWKHUHEXWWDOUHSRUWVXEPLWWHGE\'U         7+(:,71(66,QSHGLDWULFVZH UH
      $GNLQV,ZLOOSURYLGHFRSLHVRIWKDWWRWKHZLWQHVV          WUDLQHGWRPDNHVRPHRIWKHGLDJQRVHVWKDWDUH
      -XVWZULWHWKHQXPEHURQLW                                    DSSURSULDWHIRUDSHGLDWULFVSURYLGHUWRWUHDW
     7+(:,71(667KDQN\RX                        %<$77251(<%522.6
     $77251(<%522.6:H OOKDYHRFFDVLRQWR        46RLVWKDWDGR\RXFRQVLGHU\RXUVHOI
     FRPHEDFNWRWKRVH                                            JHQHUDOO\FRPSHWHQWLQPDNLQJGLDJQRVLVRIFKLOGRU
                                      DGROHVFHQWPHQWDOLOOQHVVDFFRUGLQJWRWKHVWDQGDUGVRI
      :KHUHXSRQ$GNLQV([KLELW5HEXWWDO          '609"
     5HSRUWZDVPDUNHGIRULGHQWLILFDWLRQ         $77251(<%25(//,2EMHFWLRQIRUP
                                      7+(:,71(66)RUWKHWKLQJV,ZDV
     %<$77251(<%522.6                                            WUDLQHGLQDQGKDYHFRQWLQXHGWRJHW&0(LQ,GR
     4'U$GNLQVOHWPHDVN\RXWRILQGDPRQJVWWKH        %<$77251(<%522.6
     WKUHHGRFXPHQWV,KDYHJLYHQ\RX([KLELWZKLFKLV           4$QG\RXGRQRWKDYHDQ\WUDLQLQJLQVSRUWV
     \RXU&XUULFXOXP9LWDH                                         SK\VLRORJ\GR\RX"
     9,'(2*5$3+(5&RXQVHOGR\RXZDQWWKDW        $77251(<%25(//,2EMHFWLRQIRUP
     SXOOHGXSRQWKHVKDUHGVFUHHQ"                                7+(:,71(661RWKLQJVSHFLILF
     $77251(<%522.67KDW VXSWRWKH              %<$77251(<%522.6
     UHPRWH<RXVKRXOGFHUWDLQO\PDNHLWDYDLODEOH               4<RXZRXOGFRQVLGHUWKDWWREHRXWVLGH\RXUILHOG


                                                     3DJH                                                         3DJH
      2EYLRXVO\HYHU\ERG\KHUHLQWKHGHSRVLWLRQURRPKDVLW        RISURIHVVLRQDOH[SHUWLVH$P,ULJKW"
      %<$77251(<%522.6                                             $77251(<%25(//,2EMHFWLRQIRUP
      4'U$GNLQVOHWPHDVN\RXWRWXUQWRSDJHWZR         7+(:,71(667KHUHLVSUREDEO\VRPHRYHU
      RI([KLELW\RXU&XUULFXOXP9LWDH$QG\RXKDYHWKHUH        ODSJLYHQWKDWSK\VLRORJ\DQGHQGRFULQRORJ\DUHYHU\
      DOLVWKHDGHGSURIHVVLRQDOWUDLQLQJDQGDFDGHPLFFDUHHU        LPSRUWDQWDQGWLHGDQGLQWHUOLQNHGEXW,FRXOGQ WWHOO
      'R\RXVHHWKDW"                                                \RXVLQFH,GRQ WNQRZZKHUHWKHRYHUODSPLJKWEH
      $<HV                                                   %<$77251(<%522.6
      4$P,ULJKWWKDW\RXKDYHGRQHHLWKHUUHVLGHQFLHV       4<RX\RXUVHOIKDYHQRWGRQHDQ\UHVHDUFKUHODWHG
      RUIHOORZVKLSVLQWKHILHOGRISHGLDWULFVDQG                   WRVSRUWVSK\VLRORJ\KDYH\RX"
     HQGRFULQRORJ\"                                                 $77251(<%25(//,2EMHFWLRQIRUP
     $77251(<%25(//,2EMHFWLRQIRUP             7+(:,71(661RWP\VHOIQR
     7+(:,71(66, YHGRQHERWK\HV              %<$77251(<%522.6
     UHVLGHQF\DQGIHOORZVKLSLQSHGLDWULFVIROORZHGE\             41RUKDYH\RXGRQHDQ\UHVHDUFKUHODWLQJWRWKH
     HQGRFULQRORJ\\HV                                            LPSDFWRIKRUPRQHVRQDWKOHWLFFDSDELOLW\"
     %<$77251(<%522.6                                            $77251(<%25(//,2EMHFWLRQIRUP
     4$QG\RXKDYHQRWGRQHHLWKHUDUHVLGHQF\QRUD        7+(:,71(661RWSHUVRQDOO\
     IHOORZVKLSLQSV\FKLDWU\+DYH\RX"                           %<$77251(<%522.6
     $77251(<%25(//,2EMHFWLRQWRIRUP           4'R\RXFRQVLGHU\RXUVHOIWREHDQH[SHUWLQDQ\
     7+(:,71(661R                               VHQVHLQWKHTXHVWLRQRIZKDWLVRULVQRWIDLU"
     %<$77251(<%522.6                                            $77251(<%25(//,2EMHFWLRQIRUP
     4$QG\RXGRQ WKDYHDQ\GHJUHHLQFKLOGRU             7+(:,71(66:HOOWKDW VDEURDG
     DGROHVFHQWGHYHORSPHQWDOSV\FKRORJ\GR\RX"                   TXHVWLRQ7KDW V
     $1R                                                   %<$77251(<%522.6
     4'R\RXFRQVLGHU\RXUVHOIWUDLQHGDQG                  4'R\RXFRQVLGHU\RXUVHOIDQH[SHUWLQWKH


                                                                                              3DJHVWR
                Case: 22-5807
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                                                     3DJH                                                         3DJH
      FRQFHSWRIIDLUQHVV"                                            47KDQN\RX
      $77251(<%25(//,2EMHFWLRQ                    $5RXJKO\
      7+(:,71(66,EHOLHYHWKDW,FDQ               45RXJKO\"
      UHFRJQL]HIDLUQHVVDQGKDYHDFRQFHSWWKDWZRXOGEH             ,VHHDQDUWLFOHKHUHQXPEHUWKUHHRQWKH
      DSSURSULDWHIRUVRPHRQHRIP\DJH                              OLVW7HMZDQLIURP7HMZDQLHWDODQG\RXDUHRQHRI
      %<$77251(<%522.6                                             WKHDXWKRUVVKRZQIURP\HDU'R\RXVHHWKDW"
      4'R\RXEHOLHYHWKDW\RXKDYHH[SHUWLVHDQG             $<HV
      IDLUQHVVEH\RQGWKDWIURPRUGLQDU\KXPDQH[SHULHQFH"            4$QGWKDWUHODWHVWRGLVRUGHUVRIVH[XDO
      $77251(<%25(//,2EMHFWLRQIRUP              GHYHORSPHQW
     7+(:,71(66,ZRXOGKDYHWRVHHZKDW          $P,FRUUHFW"
     WKDWZRXOGORRNOLNHWRVD\\HVRUQRWRWKDWTXHVWLRQ        $<HV
     %<$77251(<%522.6                                            4$QGDP,FRUUHFWWKDWWKDWDUWLFOHKDV
     4$OOULJKW                                            GRHVQ WVSHDNDWDOOWRWKHTXHVWLRQVRIJHQGHU
     /HW VORRNDW\RXUOLVWRISXEOLFDWLRQVZKLFK        'RHVLW"
     LVRQSDJHWKUHHRI([KLELW\RXUFXUULFXOXPYLWDH          $77251(<%25(//,2EMHFWLRQWRIRUP
     $QGXQGHUWKHWKHSDJHWKUHHDQGFRQWLQXLQJRQWR           7+(:,71(667KDWQR
     SDJHIRXULVDVHFWLRQWLWOHG5HIHUHHG-RXUQDO                %<$77251(<%522.6
     &RUUHFW"                                              41RWFRUUHFW"
     $<HV                                                  $, PVRUU\QRLWGRHVQ WVSHDN
     4$QGE\5HIHUHHG-RXUQDOZH OOERWKKDYHWR        4-XVWWREHFOHDUIRUWKHUHFRUGWKH7HMZDQLHW
     UHPHPEHUWKDW$QGDOVRWKHFRXUWUHSRUWHUPD\IURP           DODUWLFOHZKLFK\RXDUHDFRDXWKRUGRHVQRWVSHDNDW
     WLPHWRWLPHWHOORQHRIXVWRVORZGRZQ7KHVHDOO           DOOWRTXHVWLRQVRIJHQGHULGHQWLW\
     MXVWRUGLQDU\SDUWVRIWKHSURFHVVMXVWIRUJHWWLQJWR         &RUUHFW"
     VSHDNXSRUWRJRVORZHQRXJKWREHWUDQVFULEHG               $77251(<%25(//,2EMHFWLRQIRUP


                                                     3DJH                                                         3DJH
      &DQ\RXH[SODLQIRUWKHUHFRUGZKDW\RXPHDQE\        7+(:,71(66&RUUHFW
      UHIHUHHGMRXUQDOZKDWWKHVLJQLILFDQFHRIWKDWKHDGLQJ         %<$77251(<%522.6
      LV"                                                             4$QG,VHHKHUHD/DSLQVNLHWDODUWLFOHWKH
      $<HV6RIRUWKRVHMRXUQDOVWKH\DUHUHYLHZHGE\       WKLWHPIURPHQWLWOHG%HVW3UDFWLFHVLQ
      DQHGLWRUDQGWKRVHDUHSHHUUHYLHZHGDVZHOO                 7UDQVJHQGHU+HDOWK$&OLQLFLDQ V*XLGHIRU3ULPDU\
      46RWKHVHWKLVZRXOGEHWKHOLVWRI\RXU            &DUH
      SXEOLFDWLRQVWKDWZRXOG\RXZRXOGFRQVLGHUWREH            'R\RXVHHWKDW"
      SHHUUHYLHZHGSXEOLFDWLRQV"                                     $<HV
      $77251(<%25(//,2EMHFWLRQIRUP              4$P,FRUUHFWWKDWWKDWDUWLFOHGRHVQRWUHSRUW
     7+(:,71(66/RRNLQJDWWKHGDWHRQWKH        RQDQ\UHJLRQDOUHVHDUFKE\WKHDXWKRUV"
     IURQWRIWKLVRQH\HV                                        $77251(<%25(//,2EMHFWLRQWRIRUP
     %<$77251(<%522.6                                            7+(:,71(66,EHOLHYHWKDW VWUXH
     4$QGWKDWGDWHLV-DQXDU\VWRIWKLV\HDU           %<$77251(<%522.6
                                                               4$UH\RXWKHDXWKRURIDQ\SHHUUHYLHZHGSDSHUV
     5LJKW"                                                WKDWUHSRUWRULJLQDOFOLQLFDOUHVHDUFKUHODWLQJWR
     $<HV                                                  JHQGHULGHQWLW\RUIRUWUDQVJHQGHUWKHUDSLHV"
     4$QGKDYH\RXKDGDQ\SHHUUHYLHZHGSXEOLFDWLRQ        $77251(<%25(//,2EMHFWLRQWRIRUP
     DSSHDUVLQFH-DQXDU\VWRIWKLV\HDU"                        $77251(<%522.6,GRQ WNQRZZKRVSRNH
     $,KDYHRQHWKDWLVWKDW VLQSUHVVIRUQH[W       WRWKHZLWQHVV
     PRQWK                                                         7+(:,71(666RJRVK,KDYHDORWRI
     4$QGZKDWLVWKHWLWOHRIWKDW"                        WKLQJVWKDWDUHLQSURFHVV/HWPHJLYHLWDVHFRQG
     $,ZRXOGKDYHWRUHYLHZWKHWLWOHLQP\HPDLO        $77251(<%25(//,7DNHWKHWLPH\RXQHHG
     ,W V&OLQLFDO6LPXODWLRQIRU(GXFDWLRQRI1XUVH                WRUHYLHZWKDWWRDQVZHUWKHTXHVWLRQIXOO\
     $QHVWKHVLDLQ*HQGHU$IILUPLQJ&DUH                           7+(:,71(66&RXOG\RXUHSHDWWKH


                                                                                              3DJHVWR
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                                                    3DJH                                                          3DJH
      TXHVWLRQ"                                                       SDUWLFXODUSDWLHQWSHUVRQ
      %<$77251(<%522.6                                             %<$77251(<%522.6
      4<HV$UH\RXWKHDXWKRURIDQ\SXEOLVKHGSHHU         4/HWPHWDNH\RXDJDLQWR([KLELWDQGSDJHWZR
      UHYLHZHGSDSHUVWKDWUHSRUWRULJLQDOFOLQLFDOUHVHDUFK          "
      UHODWLQJWRJHQGHULGHQWLW\RUWUDQVJHQGHUWKHUDSLHV"           $77251(<025*$10D\,LQWHUUXSWIRUD
      $77251(<%25(//,2EMHFWLRQWRIRUP            PRPHQW
      7+(:,71(667KHLWHPRQQXPEHUVL[             $77251(<%522.6, PVRUU\:KR V
      ZRXOGEHWKHFORVHVW$QGLWLVWDONLQJZLWKSDWLHQWV          VSHDNLQJ"
      DERXWWKHJHQGHULGHQWLW\DQGWKHLUH[SHULHQFHRI               $77251(<025*$16XUH7KLVLV.HOO\
     WUDQVJHQGHUFDUH\HV                                         0RUJDQ, PKDYLQJDWHUULEOHWLPHXQGHUVWDQGLQJWKH
     %<$77251(<%522.6                                            ZLWQHVV6REHIRUHZHJRRQLVWKHUHDQ\ZD\WRVHHLI
     47KHWKDWSDSHULQSDUWLFXODULVHVVHQWLDOO\       ZHFDQLWVRXQGVH[WUHPHO\PXIIOHG, PRQO\
     FDOOLQJIRUUHVHDUFK                                          FDWFKLQJOLNHPD\EHKDOIRIWKHZRUGV
     $P,FRUUHFW"                                         $77251(<%522.60RVWPRVWRIWKH
     $77251(<%25(//,2EMHFWLRQWRIRUP           YRLFHLVFRPLQJWKURXJKYHU\FOHDURQRXUHQG, P
     7+(:,71(66<HV                              JRLQJWRPRYHVSHDNHUVRWKDWSDSHUVKXIIOLQJLVQRWDV
     %<$77251(<%522.6                                            OLNHO\WRVKXIIOHLW%H\RQGWKDW,WKLQNHYHU\ERG\LQ
     4,WLVQRWUHSRUWLQJRQDFFRPSOLVKHGFOLQLFDO          WKLVURRPZLOODJUHHWKDWZH UHVSHDNLQJVORZO\DQG
     UHVHDUFKLVLW"                                               FOHDUO\DQGIUDQNO\ORXGO\6R, PQRWVXUHWKHUH V
     $77251(<%25(//,2EMHFWLRQIRUP             PRUHZHFDQGR
     7+(:,71(666RLQWKDWVWXG\ZH               $77251(<%25(//,$QG.HOO\IRUZKDWLW
     DFWXDOO\GLGLQWHUYLHZLQGLYLGXDOVDVSDUWRIWKHVWXG\       LVZRUWK,WKLQN,FDXJKWPD\EHKDOIRI\RXUZRUGV,
     VRLWKDVLW VGRQHDVDRK/RUGZRUGV, P         ZRQGHULIWKHUHLVDFRQQHFWLRQLVVXHRQ\RXUHQGWKDW
     JRLQJWRILQGWKHZRUGLQDVHFRQG1RWLQOLNH           PLJKWEHZRUWKLQYHVWLJDWLQJ


                                                    3DJH                                                          3DJH
      PRUHRIDSXEOLFKHDOWKEDVHGUHVHDUFKDSSURDFKZKHUH           $77251(<+$571(77,ZLOOMXVWVD\IRU
      \RXGRQRWDFWXDOOLNHFRXQWLQJRIWKLQJVOLNH\RXZRXOG        WKHUHFRUGDQGRWKHUVVKRXOGVSHDNXSWRREHFDXVHZH
      GRVRUWRIVHDUFKEXWPRUHDURXQGLQWHUYLHZLQJDQG         REYLRXVO\ZDQWDOOFRXQVHOWRKHDUWKHGHSRVLWLRQ,
      ORRNLQJDWTXDQWLWDWHYHUVXVTXDOLWDWLYH7KDW VWKH           KDYHEHHQDEOHWRKHDU0U%URRNVWKHZLWQHVVDQGWKH
      ZRUG, PORRNLQJIRU,W VDTXDOLWDWLYHVWXG\ZKLFKLV        REMHFWLRQVKDYHEHHQDELWPRUHIDLQWEXWZHKDYHEHHQ
      W\SLFDOO\GRQHLQSXEOLFKHDOWKSURJUDPVRURWKHUSXEOLF        DEOHWRPDNHWKHPRXWVRIDU
      KHDOWKUHVHDUFK                                                $77251(<75<217KLVLV'DYH7U\RQ,
      4$OOULJKW                                             VKDUH.HOO\ VIUXVWUDWLRQ, PKDYLQJGLIILFXOW\
      $P,FRUUHFW'U$GNLQVWKDW\RX\RXUVHOI          XQGHUVWDQGLQJWKHZLWQHVVVR
     KDYHQRWWUHDWHGQRUSHUVRQDOO\H[DPLQHG3ODLQWLII            $77251(<%522.6$QGVLPLODUO\'DYH
     %3-"                                                        ZKHQZHKHDU\RX\RX UHDOLWWOHELWPRUHPXIIOHGWKDQ
     $77251(<%25(//,2EMHFWLRQIRUP             VRPHRIWKHRWKHUYRLFHV6RWKHLVVXHSHUKDSVWKH
     7+(:,71(667KDW VFRUUHFW                   PLFVDQGVSHDNHUVRQWKHRWKHUHQGEXWWKHUH VQRWKLQJ
     %<$77251(<%522.6                                            PRUHZHFDQGRDWWKLVHQG
     4$QG\RXGRQ WKDYHDQ\GLUHFWNQRZOHGJHDVWRDW      $77251(<*5((17KLVLV5REHUWD*UHHQ
     ZKDW7DQQHUVWDJH%3-EHJDQSXEHUW\EORFNHUV               DQG, PDOVRKDYLQJWURXEOHKHDULQJ$QG, P
     $P,FRUUHFW"                                         FRQVLGHULQJPD\EH\RXNQRZPD\EHPXWLQJP\FRPSXWHU
     $,GRQ WUHFDOOVHHLQJWKDWLQDQ\RIWKH              DQGFDOOLQJLQRQP\SKRQHDQGVHHLI,FDQKHDUEHWWHU
     GRFXPHQWDWLRQ                                                 ,WKLQNZKHQWKHGRFWRUORRNVGRZQWRORRNDWGRFXPHQWV
     4$QG\RXGRQ WKDYHDQ\NQRZOHGJHDVWRKRZ            ZHORVHVRPHRIWKDW6R, OOUHSRUWLQLIFDOOLQJLQ
     %3- VSK\VLRORJ\RUDWKOHWLFFDSDELOLWLHVFRPSDUHWR        RQP\SKRQHLVDEUHDNWKURXJKEXW,DSSUHFLDWH\RXDOO
     DJHQHWLFIHPDOHRIDVLPLODUDJHGR\RX"                     7KDQN\RX
     $77251(<%25(//,2EMHFWLRQIRUP             $77251(<'(1,.(5<HV7KDQN\RX, P
     7+(:,71(66,KDYHQ WDVVHVVHGWKH            DOVRKDYLQJWURXEOH$QG, PFXULRXVLIWKHFRXUW


                                                                                              3DJHVWR
                Case: 22-5807
     Case 2:21-cv-00316        Document:
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                                                    3DJH                                                          3DJH
      UHSRUWHULVKDYLQJWURXEOH$QGLIVKH VQRWWKDW V          WRSURWHFWKHUKHDOWK
      JRRGEXW,MXVWZDQWWRPDNHVXUHWKDWZHWKDW            $77251(<%522.6$QGZHGLGDJUHHWR
      HYHU\ERG\FDQKHDU                                            SURFHHGLQZKDWHYHUZD\WKHZLWQHVVZDQWHGZKHQLWFRPHV
      &28575(3257(56RP\ELJJHVWLVVXHLV         WRWKDWVRZH OODOOMXVWKDYHWROLYHZLWKWKDWDV
      SHRSOHQRWVD\LQJWKHLUQDPHVZKHQWKH\ UHVSHDNLQJ6R       SDUWRIWKHVHGD\V
      ZHMXVWKDGDEXQFKRISHRSOHDQG,UHDOO\KDYHQRLGHD        0D\ZHSURFHHG"
      ZKRLVVD\LQDQ\WKLQJ,GRQ WNQRZZKRLVPDNLQJWKH         $77251(<75<21<HV
      REMHFWLRQV$QGPD DPZLWKWKHPDVNRQLWLVKDUGWR        %<$77251(<%522.6
      XQGHUVWDQG\RXDWWLPHV, PUHDOO\OLNHKDYLQJWR             4,I\RXKDYH([KLELWDQGRQSDJHWZRRIWKDWZH
     UHDOO\IRFXVLQRQ\RX$QGWKHREMHFWLRQVDUHFRPLQJ        KDYHSURIHVVLRQDOWUDLQLQJDQGDFDGHPLFFDUHHUZKLFK
     LQTXLFN$QG,PHDQWKHUHDUHGHILQLWHO\VRPH              WRZDUGVWKHERWWRPLQFOXGHV\RXUFXUUHQWWZR
     FKDOOHQJHVEXW,GRQ WNQRZ                                 DSSRLQWPHQWVDVVRFLDWHGZLWK'XNH8QLYHUVLW\
     $77251(<%25(//,:HOOLQFDVHWKLVLV       $P,FRUUHFW"
     KHOSIXOVRWKLVLV7DUD%RUUHOOLZLWK/DPEGD/HJDORQ        $7KUHH
     EHKDOIRIWKH3ODLQWLII,DPWKHSHUVRQGHIHQGLQJWKH       4,DSRORJL]H,VHHWKDW2QHLV\RX UHDQ
     GHSRVLWLRQVRWKHREMHFWLRQVZLOOEHFRPLQJIURPPHLQ      $VVRFLDWH3URIHVVRURI3HGLDWULFV
     FDVHWKDW VKHOSIXOJRLQJIRUZDUG                            &RUUHFW"
     &28575(3257(5<HV                          $&RUUHFW
     $77251(<+$571(777KLVLV.DWKOHHQ           4$QG\RXDUHWKH'LUHFWRURIWKH'XNH&KLOGDQG
     +DUWQHWWIRUWKH3ODLQWLIIIURP&RROH\,ZDVWKHILUVW      $GROHVFHQW*HQGHU&DUH&OLQLF"
     SHUVRQWKDWVSRNHDIWHUVRPHRQHUDLVHGWKHLVVXH,          $&RUUHFW
     EHOLHYH0LVV0V0RUJDQKDGUDLVHGWKHLVVXHRIWKH       4$QG\RXDUHD&R'LUHFWRURIWKH'XNH6H[XDODQG
     DELOLW\WRKHDU$QG,ZRXOGMXVWVD\IRUWKHUHFRUG         *HQGHU+HDOWKDQG:HOOQHVV3URJUDP
     WKLVLVDQLQSHUVRQGHSRVLWLRQWKDWZDVVFKHGXOHGZKHUH      &RUUHFW"


                                                    3DJH                                                          3DJH
      ZHKDGSURSRVHGLWWREHUHPRWHLISDUWLHVVDZILWWRGR       $&RUUHFW
      WKDW:H UHQRWREMHFWLQJWRLWEHLQJLQSHUVRQ:H UH       4:KDWLVWKHWRWDOFRPSHQVDWLRQ\RXUHFHLYHLQ
      REYLRXVO\WKH\ UHGHIHQGLQJ$QGDOOSDUWLHVKDG          FRQQHFWLRQZLWKWKRVHWKUHHDSSRLQWPHQWVZLWK'XNH
      WKHDELOLW\WRDWWHQGLQSHUVRQLIWKH\FKRVHWR              8QLYHUVLW\"
      $77251(<%522.6$QG,,ZLOO          $77251(<%25(//,2EMHFWLRQIRUP
      WKLVLV5RJHU%URRNVWDNLQJWKHGHSRVLWLRQ,ZLOO            7+(:,71(66:HOO\RXZDQWDQXPEHURU
      VXJJHVWWKDWZHMXVWDJUHHE\YRLFHDFFOLPDWLRQWKDW           "
      ZH UHQRWJRLQJWRF\FOHWKURXJKDOOWKHQDPHVDQGWU\         %<$77251(<%522.6
      WRLGHQWLI\DOOWKHSHRSOHZKRKDYHFKDWWHGZLWKXV            4,GR
     DERXWWKHLUUHFHSWLRQDQGVLPSO\PRYHRQZLWKWKH             $, PJRLQJWRKDYHWRJLYHDQDSSUR[LPDWLRQ
     GHSRVLWLRQXQOHVVDQ\ERG\REMHFWVWRWKDW                    4$QGWKDW VILQH"
     $77251(<025*$1,KDYHQRREMHFWLRQWR       $$SSUR[LPDWHO\SHU\HDU
     WKDW7KLVLV.HOO\0RUJDQ%XWLVWKHUHDQ\                4$QGWKDWLV\RXUWRWDOFRPSHQVDWLRQRQD:
     SRVVLELOLW\WKDWWKHZLWQHVVZRXOGEHDEOHWRUHPRYHKHU      IURP'XNH8QLYHUVLW\"
     PDVNLIHYHU\RQHHOVHLVPDVNHGRWKHUWKDQWKH                $1R'XNH8QLYHUVLW\RQO\SD\VPHSHU
     TXHVWLRQHU"/LNH,, PQRWKDYLQJWURXEOHKHDULQJ        \HDU,ZRUNIRUWKHSULYDWH'LDJQRVWLF&OLQLFZKLFK
     DQ\RQHHOVHRWKHUWKDQWKHZLWQHVVDQGLWMXVWVHHPVWR      LVRXUSULYDWHSUDFWLFHDQGWKH\SD\PHWKHEDODQFH
     JHWPXIIOHG                                                  42ND\
     $77251(<%25(//,, PVRUU\EXW,,      $QGGR\RXUHFHLYHDQ\RWKHUFRPSHQVDWLRQLQ
     GRQ WEHOLHYHWKDW VJRLQJWREHDQRSWLRQ,PHDQ          FRQQHFWLRQZLWK\RXUZRUNZLWKSDWLHQWVLQFRQQHFWLRQ
     WKLVWKLVLVSDUWO\ZK\DUHPRWHGHSRVLWLRQZRXOG         ZLWKWKH'XNH&KLOGDQG$GROHVFHQW*HQGHU&DUH&OLQLF"
     KDYHEHHQRXURXUSUHIHUHQFHEXW'U$GNLQV              $77251(<%25(//,2EMHFWLRQIRUP
     REYLRXVO\KDVWRWDNHSUHFDXWLRQVEHFDXVHVKHLV              7+(:,71(661R
     FRQWLQXLQJWRVHHDQGWUHDWSDWLHQWV$QGVRVKHQHHGV       %<$77251(<%522.6


                                                                                              3DJHVWR
                Case: 22-5807
     Case 2:21-cv-00316        Document:
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                                                     3DJH                                                         3DJH
      4&DQ\RXWHOOPHZKDW\RXHDUQHGLQVSHDNLQJIHHV       &RUUHFW"
      LQDSSUR[LPDWHO\"                                         $77251(<%25(//,2EMHFWLRQIRUP
      $77251(<%25(//,2EMHFWLRQIRUP              7+(:,71(66,KDYHEHHQDZDUHWKDW
      7+(:,71(66,Q",VWKDWZKDW\RX         XOWUDVRQRJUDSKHUVRIWHQWHOOSHRSOHZKDWWKH\WKLQNWKH\
      VDLG"                                                           DUH$QG, PDOVRWKHRQHWKDWKDVWRWHOOWKHSDUHQWV
      %<$77251(<%522.6                                             WKDWLWLVGLIIHUHQWZKHQWKH\ UHERUQDQGLWLVQRW
      4,GLG                                                 H[DFWO\DFFXUDWH
      $/HW VVHH, PORVLQJWUDFNRIGDWHV,WKLQN        %<$77251(<%522.6
      RQO\OLNH                                                 47KDWLVDVDUHVXOWRIWKHTXDOLW\RILPDJLQJRQ
     4$QGZKDWZHUHWKHWRWDOH[SHUWIHHVWKDW\RX          XOWUDVRXQGVRPHWLPHVWKHZURQJFDOOLVPDGHRQWKDW"
     UHFHLYHGLQLQFRQQHFWLRQZLWKVHUYLQJDVDQH[SHUW       $77251(<%25(//,2EMHFWLRQIRUP
     LQOLWLJDWLRQ"                                                 7+(:,71(663RVVLEO\WKHTXDOLW\RI
     $77251(<%25(//,2EMHFWLRQIRUP             LPDJLQJWKHVNLOORIWKHSHUVRQ7KHUHDUHDOVR
     7+(:,71(661RWKLQJ                          VRPHWLPHVYDULDWLRQVWKDWDUHQ WHDVLO\YLVLEOHRQ
     %<$77251(<%522.6                                            XOWUDVRXQG
     4$QGLQGLG\RXUHFHLYHDQ\SD\PHQWVIRUDQ\      %<$77251(<%522.6
     UHDVRQVIURPDQ\SKDUPDFHXWLFDOFRPSDQ\"                       4<RX UHDUHDZDUHDUH\RXQRWWKDWWKHJHQHWLF
     $77251(<%25(//,2EMHFWLRQIRUP             VH[RILQIDQWLVLQIDFWGHWHUPLQDEOHE\JHQHWLF
     7+(:,71(661R                               WHVWLQJDVHDUO\DVWKHILUVWWULPHVWHURISUHJQDQF\"
     %<$77251(<%522.6                                            $77251(<%25(//,2EMHFWLRQWRIRUP
     4/HWPHDVN\RXWRORRNDW([KLELWZKLFKLV         7+(:,71(667KHW\SLFDOWHVWLQJIRU
     \RXUH[SHUWUHSRUW$QGLI\RXZRXOGWXUQLI\RX          WKDWLVFKURPRVRPHVZKLFKDUHEURDGYLHZDQGQRW
     ZRXOGWXUQWRSDUDJUDSKRIWKDWUHSRUWSDUDJUDSK       VSHFLILFIRUWKHKXQGUHGVRIJHQHVWKDWFDQFKDQJHWKH
     $QGWKHUH\RXVD\ZKHQDFKLOGLVERUQDVH[DVVLJQPHQW        VH[RIWKHLQGLYLGXDO


                                                     3DJH                                                         3DJH
      LVXVXDOO\PDGHEDVHGRQWKHLQIDQW VH[WHUQDOO\YLVLEOH        %<$77251(<%522.6
      JHQLWDOV7KLVGHVLJQDWLRQLVWKHQUHFRUGHGDQGXVXDOO\        4:HOOP\TXHVWLRQZDV\RXDUHDZDUHDUH\RX
      EHFRPHVWKHVH[GHVLJQDWLRQOLVWHGRQWKHLQIDQW VELUWK        QRWWKDWWKHFKURPRVRPDOVH[RIWKHLQIDQWLV
      FHUWLILFDWH'R\RXVHHWKDWODQJXDJH"                         GHWHUPLQDEOHDVHDUO\DVWKHILUVWWULPHVWHURI
      $,GR                                                  SUHJQDQF\"
      4$QGDVDWUDLQHGSK\VLFLDQFDQ\RXWHOOXVKRZ        $77251(<%25(//,2EMHFWLRQIRUP
      DVH[DVVLJQPHQWLVXVXDOO\PDGHEDVHGRQWKHLQIDQW V          7+(:,71(66, PVRUU\,GLGQ WKHDU
      H[WHUQDOYLVLEOHJHQLWDOV"                                      \RXVD\FKURPRVRPDO,WKRXJKW\RXVDLGELRORJLFDO,
      $<HV,QPRVWFDVHVWKHH[WHUQDOJHQLWDOVZLOO         DSRORJL]H
     KDYHDIRUPWKDWORRNVW\SLFDOWRDPDOHYHUVXVW\SLFDO        %<$77251(<%522.6
     WRDIHPDOH$QGLIWKHUHLVDTXHVWLRQWKHQ,JHW           4,FDQ WVZHDUZKDW,VDLGWKHILUVWWLPH
     FRQVXOWHGLIWKHUH VVRPHWKLQJGLIIHUHQW                     $77251(<%522.6/HW VDVNWKHUHSRUWHU
     4$QGE\W\SLFDOWRDPDOHIRULQVWDQFH\RXPHDQ      WRUHDGEDFNWKHVHFRQGTXHVWLRQ,DVNHG,VWKHFRXUW
     ZKDW"                                                          UHSRUWHUPXWHGSHUKDSV"
     $6RPDOHH[WHUQDOJHQLWDOLDDWELUWKW\SLFDOO\         &28575(3257(52QHPLQXWH
     KDVDSKDOLFVWUXFWXUHSHQLVWKDWLVRIDFHUWDLQ            $77251(<%522.62ND\
     OHQJWKPRVWRIWKHWLPH$QGWKHQWKHUH VVFURWXPDQG         &28575(3257(5<RXVDLGJHQHWLF
     WKHQWKHUHDUHXVXDOO\WHVWLFOHVDOWKRXJKVRPHWLPHV           WHVWLQJ'R\RXZDQWPHWRUHDGWKHZKROHTXHVWLRQ"
     WKH\FDQEHXSRUGRZQLQWKHVFURWXP                         $77251(<%522.6,GR
     4$QGGR\RX\RXUVHOIKDYHFKLOGUHQ"                  &28575(3257(5<RXDUHDZDUHDUH\RX
     $,GR                                                 QRWWKDWWKHJHQHWLFVH[RIDQLQIDQWLVGHWHUPLQDEOH
     4$QG\RX UHDZDUHWKDWIRUTXLWHDQXPEHURI           E\JHQHWLFWHVWLQJDVHDUO\DVWKHILUVWWULPHVWHURI
     \HDUVQRZLQIDFWSDUHQWVRIWHQOHDUQRIWKHVH[RI          SUHJQDQF\"
     WKHLUFKLOGEHIRUHELUWK                                      $77251(<%25(//,2EMHFWLRQWRIRUP


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                                                     3DJH                                                                 3DJH
      &28575(3257(5$QGDJDLQ,MXVWZDQWWR        $77251(<%255(//,2EMHFWLRQWRIRUP
      VD\WKDWWKHZLWQHVVLVKDUGWRXQGHUVWDQG7KHUHLV           7+(:,71(66, PQRWDEOHWRDQVZHUWKH
      GHILQLWHO\DORWRIPXIIOLQJZRUGVFRPLQJWKURXJK\RX          TXHVWLRQ\HVRUQR
      NQRZMXVWOLNHLQWKHVHQWHQFHWKHUHPLJKWEHWZRZRUGV        %<$77251(<%522.6
      WKDW,MXVWKDYHWROLNHUHDOO\, PMXVWVWUXJJOLQJ         4<RXZRXOGDJUHHWKDWWKHJHQHWLFVH[RIDQ
      RYHUKHUHZLWKWKLVPDVN,FDQ WVHH\RXUOLSVPRYLQJ        LQIDQWLVGHWHUPLQHGDWWKHLQVWDQWRIFRQFHSWLRQ"
      VRLW VUHDOO\KDUGEXW                                    $77251(<%25(//,2EMHFWLRQWRIRUP
      7+(:,71(66, OOVORZGRZQEXW,ZDV          7+(:,71(667KHDFWXDO<FKURPRVRPHV
      VLFNHDUOLHUWKLVZHHNDQG, GUHDOO\UDWKHUQRWVKDUH         DUHDWWKDWWLPH\HV
     WKDWZLWKDQ\RQHLQWKHURRP$QG,GRQ WWKLQNWKDW          %<$77251(<%522.6
     WKH\ZRXOGOLNHWKDWVR                                  47KDW VQRWVRPHWKLQJWKDWDGRFWRUKDVDQ\
     %<$77251(<%522.6                                            FKRLFHRUFRXOGFKDQJHDWWKHWLPHRIELUWK"
     4'RQ WFRQVLGHU\RXUVHOISUHVVXUHGWRWDNHRII         $77251(<%25(//,2EMHFWLRQIRUP
     \RXUPDVN-XVWGRZKDW\RXFDQWRVSHDNFOHDUO\LQWR         7+(:,71(667KHFKURPRVRPHVQR
     WKHPLFURSKRQH                                                %<$77251(<%522.6
     $77251(<%25(//,7KDQN\RX$QGZH           4$QG\RXXQGHUVWDQGZKDW,WKLQNZHDOOOHDUQHG
     MXVWPRYHGWKHPLFFORVHUWRWKHZLWQHVVDVZHOOVRZH        LQSHUKDSVVL[WKJUDGHELRORJ\WKDWDQLQGLYLGXDOZLWK
     ZHKRSHWKDWWKDWZLOOKHOSPDNHDGLIIHUHQFH             WZR;FKURPRVRPHVSURYLGHGWKDWWKHUHLVQRFKURPRVRPDO
     $77251(<+$51(77([FXVHPH7KLVLV          DEQRUPDOLW\LVIHPDOHIHPDOHDQGDQLQGLYLGXDOIUHHRI
     .DWKOHHQ+DUWQHWWIURP&RROH\,ZRXOGOLNHWRDVN            DEQRUPDOLWLHVZKRKDVDQ;DQGD<FKURPRVRPHLVPDOH
     ZKHWKHUWKHYLGHRWDSLQJWKDW VKDSSHQLQJQRZZLOODOORZ        &RUUHFW"
     IXUWKHUWUDQVFULSWLRQDIWHUWKHGHSRVLWLRQ"                    $77251(<%25(//,2EMHFWLRQIRUP
     9,'(2*5$3+(5<HVWKDW VWKH              7+(:,71(66)UHHRIDQ\DEQRUPDOLWLHV
     YLGHRWDSHLVSLFNLQJXSHYHU\WKLQJWKDW, PKDYLQJ         \HV


                                                     3DJH                                                                 3DJH
      QRWURXEOHVRQP\VLGHVRLW VSLFNLQJXSDOORIWKH           %<$77251(<%522.6
      DXGLRDQGHYHU\WKLQJ                                           4$QG\RXDOVRXQGHUVWDQGWKDWLQKXPDQVOLNHDOO
      $77251(<+$571(777KDQN\RXYHU\PXFK         PDPPDOVDJDPHWHIURPDPDOHDQGDJDPHWHIURPDIHPDOH
      9,'(2*5$3+(5<RX UHZHOFRPH                   DUHQHFHVVDU\WRFUHDWHDIHUWLOL]HGHJJLQDQHZ
      $77251(<%522.6$QGUDWKHUWKDQ                LQGLYLGXDO"
      UHUHDGLQJWKHTXHVWLRQ, PMXVWJRLQJWRIRUJHWDOO           $77251(<%25(//,2EMHFWLRQIRUP
      WKDWDQGDVN\RXDQHZTXHVWLRQ                                7+(:,71(66&DQ\RXUHDGWKHYHU\ILUVW
      %<$77251(<%522.6                                             SDUWRIWKHTXHVWLRQDJDLQSOHDVH"
      4<RXDUHDZDUHDUH\RXQRWWKDWWKHFKURPRVRPDO       %<$77251(<%522.6
     VH[RIDQLQIDQWQRZDGD\VFDQEHGHWHUPLQHGDVVRRQDV         4<RXXQGHUVWDQGWKDWLQKXPDQVDVLQDOO
     WKHILUVWWULPHVWHURISUHJQDQF\"                              PDPPDOVDJDPHWHIURPDPDOHDQGDJDPHWHIURPDIHPDOH
     $77251(<%25(//,2EMHFWLRQWRIRUP           DUHQHFHVVDU\WRFUHDWHDIHUWLOL]HGHJJDQGDQHZ
     7+(:,71(66<RXFDQREWDLQWKHEDVHOLQH       LQGLYLGXDO"
     FKURPRVRPHV\HV                                              $77251(<%25(//,6DPHREMHFWLRQ
     %<$77251(<%522.6                                            7+(:,71(66<HV
     4$QGWKDWZLOOWHOO\RXWKHFKURPRVRPDOVH[RI         %<$77251(<%522.6
     WKDWLQIDQW"                                                   41RZLI\RXORRNDWSDUDJUDSKLQ\RXU
     $77251(<%25(//,2EMHFWLRQIRUP             GHFODUDWLRQ
     7+(:,71(667KHQRWUHDOO\DWHUP         $<HV
     WKDWLVUHDOO\SUHFLVHDVWKHUH VKXQGUHGVRIJHQHVWKDW       4LQSDUDJUDSK\RXVWDWHTXRWHELRORJLFDO
     FDQFKDQJHWKDW                                               VH[ELRORJLFDOPDOHRUIHPDOHDUHLPSUHFLVHDQGVKRXOG
     %<$77251(<%522.6                                            EHDYRLGHG'R\RXVHHWKDW"
     46R\RXDUHQRWDEOHWRDQVZHUP\TXHVWLRQ\HVRU      $<HV
     QR"                                                            4$QGLWLV\RXUYLHZWKDWWKHWHUPVELRORJLFDO



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                                                    3DJH                                                                   3DJH
      PDOHELRORJLFDOIHPDOHDQGELRORJLFDOVH[DUHVR              WKDWGDWHUDQJH\HV
      LPSUHFLVHDVWREHQRWXVHIXOIURPDPHGLFDOSRLQWRI          %<$77251(<%522.6
      YLHZ"                                                          4+DYH\RXPHW'U&RKHQ.HWWHQLV"
      $77251(<%25(//,2EMHFWLRQIRUP             $1R
      7+(:,71(66,QP\SUDFWLFHZHKDYHWR         4$QGVKHLVDVVRFLDWHGZLWKDKLJKO\UHVSHFWHG
      EHPRUHFDUHIXOWKDQWKDWEHFDXVH,VHHTXLWHDORWRI         LQVWLWXWHLQ$PVWHUGDP
      LQGLYLGXDOVZKHUHWKDWZRXOGQ WEHDYHU\SUHFLVH              $P,ULJKW"
      DQVZHU                                                        $,DPQRWFHUWDLQ,ZRXOGKDYHWRORRNWKDWXS
      %<$77251(<%522.6                                            4<RXGRQ WNQRZ<RXZHUHQ WLQYLWHGWRVHUYHRQ
     40\TXHVWLRQLVLVLW\RXUH[SHUWRSLQLRQDUH        WKHFRPPLWWHHWKDWGUDIWHGWKHVHJXLGHOLQHVZHUH\RX"
     \RXRIIHULQJH[SHUWRSLQLRQLQWHUPVRIELRORJLFDOVH[       $77251(<%25(//,2EMHFWLRQIRUP
     ELRORJLFDOPDOHDQGELRORJLFDOIHPDOHDUHVRLPSUHFLVH        7+(:,71(667KHUHLVDQLQYLWDWLRQ
     DVWRQRWEHPHGLFDOO\XVHIXO"                                H[WHQGHGWRDOO(QGRFULQH6RFLHW\PHPEHUV,GLGILQGD
     $77251(<%25(//,2EMHFWLRQIRUP            WLPH7KDWZDVHDUO\LQP\ZRUNZLWKWKLVDWWKDWWLPH
     7+(:,71(66<HV                             %<$77251(<%522.6
     $77251(<%522.6/HWPHPDUNDV([KLELW       4,I\RXORRNGRZQRQSDJHRQHDERXWILYHOLQHV
     ZKDWLVWDEDQGWKDWLVWKH(QGRFULQH6RFLHW\            IURPWKHERWWRP
     *XLGHOLQHVGDWHGEXWWKHQXPEHURIDXWKRUV7KH        $6D\LWDJDLQ
     ILUVWQDPHLV:LOH\+HPEUHH                                  43DJHRQHILYHOLQHVIURPWKHERWWRP"
                                     $<HV
      :KHUHXSRQ$GNLQV([KLELW             4$FWXDOO\OHW VJRWZRPRUHXSDQGEHJLQD
     (QGRFULQH6RFLHW\*XLGOLQHVZDVPDUNHG       VHQWHQFH7KHUH VDVHQWHQFHWKDWEHJLQVWKH\UHTXLUHD
     IRULGHQWLILFDWLRQ                           VDIHDQGHIIHFWLYHKRUPRQHUHJLPHQWKDWZLOORQH
                                     VXSSUHVVHQGRJHQRXVVH[KRUPRQHVHFUHWLRQGHWHUPLQHGE\


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      $77251(<%522.6, PKDQGLQJWKDWWRWKH       WKHSHUVRQ VJHQHWLFJRQDGDOVH['R\RXVHHWKDW"
      ZLWQHVVDQGWRRSSRVLQJFRXQVHO                               $,GR
      %<$77251(<%522.6                                            4$QGGR\RXWKLQN\RXXQGHUVWDQGZKDW VUHIHUUHG
      4'U$GNLQVWKLVLVDGRFXPHQWWKDW\RXFLWHLQ       WRE\WKHWHUPJHQHWLFJRQDGDOVH["
      \RXUH[SHUWUHSRUW                                            $77251(<%25(//,2EMHFWLRQIRUP
      &RUUHFW"                                              7+(:,71(66<HV
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      4$QGZLWKZKLFK\RXDUHTXLWHIDPLOLDU"                4$QGZKDWLV\RXUXQGHUVWDQGLQJRIZKDWWKDW
      $&RUUHFW                                              UHIHUVWR"
     4'R\RXNQRZ'U+HPEUHH"                             $6RWKDWZRXOGLQFOXGHERWKWKHFKURPRVRPHVDV
     $,VSRNHZLWKKLPRQWKHSKRQH                       PHQWLRQHGEHIRUHWKHEURDG;<DQGLWVKRXOGLQFOXGH
     4<RXZRXOGDJUHHZRXOG\RXQRWWKDWKH VEHHQ       DOORIWKHRWKHUJHQHWLFPXWDWLRQVDVZHOODVZKDW
     SURPLQHQWLQWKHILHOGRIWUDQVJHQGHUPHGLFLQHIRU            DFWXDOJRQDGVDUHSUHVHQWLQWKHSHUVRQ
     GHFDGHV"                                                      4$QGWKLVFRPPLWWHHWKHVHSURPLQHQWUHVHDUFKHUV
     $77251(<%25(//,2EMHFWLRQIRUP            DWOHDVWFRQVLGHUHGJHQHWLFJRQDGDOVH[WREHD
     7+(:,71(66+LVSXEOLFDWLRQV\HV           PHDQLQJIXODQGUHDGLO\XQGHUVWDQGDEOHELQDU\
     %<$77251(<%522.6                                           FODVVLILFDWLRQ
     4$QGDQRWKHUDXWKRULV3HJJ\&RKHQ.HWWHQLV'R      &RUUHFW"
     \RXVHHWKDW"6KH VWKHVHFRQGDXWKRU                       $77251(<%25(//,2EMHFWLRQIRUP
     $<HV                                                 7+(:,71(667KDW VQRWFOHDUWKHUHDQG
     4$QGOLNHZLVHVKHKDVEHHQSURPLQHQWLQWKH          LWLVGLIIHUHQWIURPZKDW\RXVDLGEHIRUH
     ILHOGIRUDWOHDVW\HDUV"                                  %<$77251(<%522.6
     $77251(<%25(//,2EMHFWLRQ                  4,WU\WRPDNHHDFKTXHVWLRQVRPHZKDWGLIIHUHQW
     7+(:,71(66, YHVHHQSXEOLFDWLRQVLQ        IURPWKHRQHEHIRUHVR\HV/HWPHDVNDQHZTXHVWLRQ


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                                                    3DJH                                                          3DJH
      7KLVFRPPLWWHHFRQVLGHUHGWKHFRPPLWWHHWKDWGUDIWHG        %<$77251(<%522.6
      WKHVHJXLGHOLQHVFRQVLGHUHGJHQHWLFJRQDGDOVH[WREHD         47KHUHODWLRQVKLSEHWZHHQFKURPRVRPDOVH[DQG
      PHDQLQJIXODQGUHDGLO\XQGHUVWDQGDEOHFODVVLILFDWLRQ           JRQDGVDUHQRWVHSDUDWHWKLQJVWKDWFDQYDU\LQKHDOWK\
      &RUUHFW"                                               LQGLYLGXDOVDUHWKH\"
      $77251(<%25(//,2EMHFWLRQIRUP              $77251(<%25(//,2EMHFWLRQWRIRUP
      7+(:,71(66<HV7KH\GLGQ WXVHWKH          7+(:,71(66:HOO,KDYHKHDOWK\
      ZRUGFKURPRVRPDOVH[$QGWKH\LQFOXGHGJRQDGVZKLFK           LQGLYLGXDOVZKRKDYH;<FKURPRVRPHVDQGH[WHUQDO
      DUHDOVRDSDUWRIWKHEURDGGHYHORSPHQWRIKXPDQ               JHQLWDOLDWKDWDUHFRPSOHWHO\IHPDOH
      UHSURGXFWLYHELRORJ\                                           $77251(<%522.6/HWPHPDUNDV([KLELW
     %<$77251(<%522.6                                            WKHSULRUHGLWLRQJXLGHOLQHVSXWRXWE\WKH(QGRFULQH
     4$QGLQIDFW\RX\RXUVHOITXRWHGWKLVODQJXDJH      6RFLHW\LQHLJKW\HDUVHDUOLHU
     LQ\RXUH[SHUWUHSRUWGLG\RXQRW"                            
     $<HV                                                   :KHUHXSRQ$GNLQV([KLELW
     4$QGJHQHWLFVH[LQ\RXUXQGHUVWDQGLQJZKDWLV       (QGRFULQH6RFLHW\*XLGHOLQHVZDVPDUNHG
     WKHPHDQLQJRIJHQHWLFVH["                                    IRULGHQWLILFDWLRQ
     $77251(<%25(//,2EMHFWLRQIRUP             
     7+(:,71(66:HOOLQPRVWSDWLHQWVLQ        %<$77251(<%522.6
     PRVWSHRSOHLWLVZKHWKHU\RXUHFHLYHGDQ;RUD<            4$QGWKHSULPDU\DXWKRULVRQWKHILUVW
     FKURPRVRPHDQGDOORI\RXUERG\SDUWVLQFOXGHDQ;<            DXWKRURQWKHJXLGHOLQHVDUHWKHVDPHLQGLYLGXDOV
     FRQWDLQLQJRUDQ;;FRQWDLQLQJFHOO7KHUHDUHFDVHV          'U+HPEUHHDQG&RKHQ.HWWHQLV"
     ZKHUH\RXFDQKDYHPRVVDLFLVPRUGLIIHUHQWSDUWVRID          &RUUHFW"
     KXPDQDWGLIIHUHQWVH[FKURPRVRPHVZKHUHDSDUWLV;;D       $&RUUHFW
     SDUWLV;<SDUWLV;2$QGWKHQWKHUHLVDOVRVRPH           $77251(<%25(//,2EMHFWLRQIRUP
     PXWDWLRQVWKDWFDQRFFXULQORWVRIRWKHUORFDWLRQVWKDW       %<$77251(<%522.6


                                                    3DJH                                                          3DJH
      FDQGHWHUPLQHZKHWKHURUQRWDSDWLHQW V\RXNQRZ             4,QIDFW\RX\RXUVHOIZHUHIDPLOLDUZLWKDQG
      OLNHO\WRKDYHWKHUHVWRIWKHLUKXPDQGHYHORSPHQW              UHJXODUO\FRQVXOWHGWKHVHJXLGHOLQHV
      DSSHDUDVZKDWZHZRXOGPRUHW\SLFDOO\VHHLQDPDOH            $P,FRUUHFW"
      KXPDQRUDIHPDOHKXPDQ                                        $77251(<%25(//,2EMHFWLRQWRIRUP
      %<$77251(<%522.6                                             7+(:,71(6663ULRUWR"
      4:HOOLQHYHU\KXPDQLQGLYLGXDOZKRLVKHDOWK\         %<$77251(<%522.6
      DQGIUHHRIGLVRUGHURIVH[XDOGHYHORSPHQWJHQHWLFVH[         4&RUUHFW
      DQGJRQDGDOVH[DUHGLUHFWO\FRUUHVSRQG                    $,XVHGWKHVHJXLGHOLQHV
      &RUUHFW"                                               4$QGGLG\RXILQGWKHPWREHLQFRPSUHKHQVLEOH"
     $77251(<%25(//,2EMHFWLRQIRUP             $77251(<%25(//,2EMHFWLRQIRUP
     7+(:,71(667\SLFDOO\\HV                   7+(:,71(661R
     %<$77251(<%522.6                                            %<$77251(<%522.6
     46RLQDKHDOWK\LQGLYLGXDOIUHHRIJHQHWLF            4,I\RXORRNZLWKPHRQSDJHPDUNHGZKLFK
     GHIHFWHYHU\LQGLYLGXDOZKRLVFKURPRVRPDOO\;;LVJRLQJ       LVWKHWKLUGSDJHRIWKHGRFXPHQWVHFRQGFROXPQWKUHH
     WRKDYHIHPDOHJRQDGVDQGIHPDOHJHQLWDOLD                    TXDUWHUVRIWKHZD\GRZQLVWKHGHILQLWLRQRIXQGHU
     &RUUHFW"                                              WKHKHDGLQJRIGHILQLWLRQVLVDGHILQLWLRQRI
     $77251(<%25(//,2EMHFWLRQWRIRUP           WUDQVVH[XDORUWUDQVVH[XDOSHRSOH
     7+(:,71(660\RQO\FRQFHUQLV,ZRXOG        'R\RXVHHWKDW"
     QRWXVHGHIHFWDVDODQJXDJH7KHUH V\RXNQRZZH        $,VHHLW
     VHHYDULDWLRQDFURVVKXPDQVDQGZH\RXNQRZWKHUH         4,WVD\VWKHUHWKDWDWUDQVVH[XDOSHUVRQUHIHUV
     DUHYDULDWLRQVWKDWDUHQRUPDODQGYDULDWLRQVWKDWDUH         WRDELRORJLFDOPDOHZKRLGHQWLILHVDVRUGHVLUHVWREH
     W\SLFDOYHUVXVUDUH6R,ZRXOGQRWFDOOLWQHFHVVDULO\       DIHPDOHDPHPEHURIWKHIHPDOHJHQGHURUYLFH
     DGHIHFWPD\EHDYDULDWLRQZRXOGEHWKHZRUG,ZRXOG          YHUVD
     XVH                                                           'R\RXVHHWKDW"


                                                                                            3DJHVWR
                Case: 22-5807
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                                                    3DJH                                                         3DJH
      $<HV                                                  PXFKDERXWELQDU\
      4$QGVRLQWKHVHSURPLQHQWDXWKRUVLQWKH         %<$77251(<%522.6
      ILHOGFRQVLGHUHGELRORJLFDOPDOHWREHDVFLHQWLILFDOO\        4,VLW\RXUEHOLHIWKDWWKHXQGHUO\LQJELRORJ\
      XVHIXODQGDGHTXDWHO\FOHDUWHUPIRUWKHPWRXVHLQ           KDVFKDQJHGVLQFH"
      WKHVHJXLGHOLQHVLVVXHGE\WKH(QGRFULQH6RFLHW\              $77251(<%25(//,2EMHFWLRQIRUP
      &RUUHFW"                                                7+(:,71(662XUXQGHUVWDQGLQJRIDORW
      $77251(<%25(//,2EMHFWLRQIRUP             RIWKLQJVLQWKLVDUHDLVJURZLQJUDSLGO\,W VDUDSLG
      7+(:,71(66,W VZULWWHQWKDWZD\LQ          DUHDRIUHVHDUFK
      WKLVSDSHU\HV                                               %<$77251(<%522.6
     %<$77251(<%522.6                                           4/HWPHDVN\RXWRWXUQLQWKLVGRFXPHQWWRSDJH
     4$QG\RXLQWKDWWLPHSHULRGWRMXVW        
     XVHGWKHVHJXLGHOLQHVDQGZHUHDEOHWRXQGHUVWDQGWKHP       $6DPHGRFXPHQW"
     &RUUHFW"                                             4<HV
     $77251(<%25(//,2EMHFWLRQIRUP            $7KDQN\RX
     7+(:,71(66<RXNQRZ,ZRXOGKDYHWR        4$QGKHUHZH UHLQDGLVFXVVLRQRIWKHXVHRI
     VSHQGVRPHWLPHORRNLQJWRVHHZKDWHOVHLVLQKHUH,W      *51+DQDORJVZKLFKLVWRVD\SXEHUW\EORFNHUV
     KDVEHHQDORQJWLPHVLQFH, YHXVHGWKHVHSDUWLFXODU         $P,FRUUHFW"
     DQGSXOOHGRXW$QGLWLVDVLQJOHORFDWLRQ,WFDQ         $:KLFKVHFWLRQ"
     VRPHWLPHVEHPLVOHDGLQJLI\RX UHDZDUHLI\RX YH         4:HOOWKHKHDGLQJLVHYLGHQFHDQGLWLV
     UHDGPDQ\PHGLFDODUWLFOHV                                   WDONLQJDERXWLQWKHVHFRQGSDUDJUDSKWUHDWPHQWZLWK
     %<$77251(<%522.6                                           *51+DQDORJV"
     46R\RXGRQ WUHFDOOZKHWKHU\RXIRXQGWKHVH          $77251(<%25(//,&RXQVHOFDQZHJLYH
     JXLGHOLQHVWREHFRPSUHKHQVLEOHDQGXVHIXOIRU\RXU           WKHZLWQHVVRQHPRPHQWWRORRNDWWKLV"
     SXUSRVHVLQWKH\HDUVEHWZHHQDQG"                  $77251(<%522.62IFRXUVH


                                                    3DJH                                                         3DJH
      $77251(<%25(//,2EMHFWLRQIRUP             $77251(<%25(//,7KDQN\RX
      7+(:,71(66*HQHUDOO\WKH\ZHUHXVHIXO       7+(:,71(66<HVWKDWDSSHDUVWREH
      %<$77251(<%522.6                                            ZKDWLVGLVFXVVHGLQWKLVVHFWLRQ
      4,I\RXORRNMXVWDOLWWOHORZHULVWKHQH[W       %<$77251(<%522.6
      GHILQLWLRQLVWUDQVLWLRQ                                      4+HUHWKHDXWKRUVLQWKH(QGRFULQH6RFLHW\
      'R\RXVHHWKDW"                                      JXLGHOLQHVGHVFULEHWKHHIIHFWRIWUHDWPHQWZLWKSXEHUW\
      $<HV                                                  EORFNHUV
      4$QGLWUHIHUVWRDSHULRGRIWLPHGXULQJZKLFK        &RUUHFW"
      WUDQVVH[XDOSHUVRQVFKDQJHWKHLUSK\VLFDOVRFLDODQG          $77251(<%25(//,2EMHFWLRQIRUP
     OHJDOFKDUDFWHULVWLFVWRWKHJHQGHURSSRVLWHWKDWRI          7+(:,71(66<HV
     WKHLUELRORJLFDOVH[                                         %<$77251(<%522.6
     'R\RXVHHWKDW"                                     4$QGWKH\VD\DPRQJRWKHUWKLQJVWKDWTXRWHLQ
     $,GR                                                JLUOVEUHDVWGHYHORSPHQWZLOOEHFRPHDWURSKLFDQGPHQVHV
     4$QGDJDLQWKHVHDXWKRUVXVHGWKHWHUP               ZLOOVWRS$QGWKH\FRQWLQXHTXRWHLQER\V
     ELRORJLFDOVH[GLGWKH\QRW"                                 YHULOL]DWLRQZLOOVWRSDQGWHVWLFXODUYROXPHZLOO
     $7KH\GLG                                            GHFUHDVH
     4$QGWKH\LQGLFDWHGWKHLUXQGHUVWDQGLQJWKDW          'R\RXVHHWKRVHTXRWHV"
     ELRORJLFDOVH[LVELQDU\LQUHIHUULQJWRRSSRVLWHRID        $,GR
     ELRORJLFDOVH[                                               4$JDLQLQWKH(QGRFULQH6RFLHW\GLGQ W
     &RUUHFW"                                             WKLQNWKHUHZDVDPELJXLW\RULPSUHFLVLRQDVWRZKDWLVD
     $77251(<%25(//,2EMHFWLRQIRUP            JLUODQGZKDWLVDER\IRUSXUSRVHVRIGHYHORSPHQWLQ
     7+(:,71(66,QWKLVROGHUYHUVLRQWKH\       SXEHUW\GLGWKH\"
     GRXVHPRUHELQDU\WHUPV$V\RXNQRZODQJXDJHFKDQJHV      $77251(<%25(//,2EMHFWLRQWRIRUP
     RYHUWLPH,QWKHQHZJXLGHOLQHVWKH\GRQ WWDONDV          7+(:,71(66$V,VDLGWKHODQJXDJH


                                                                                           3DJHVWR
                Case: 22-5807
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                                                     3DJH                                                         3DJH
      ZRXOGEHGLIIHUHQWDQGOLNHO\LVGLIIHUHQWLQ                   SUHVFULEHFURVVVH[KRUPRQHVIRUDSDWLHQWLQSDWLHQWV
      FRQYHUVDWLRQVDURXQGWKLVEHFDXVHLWLVQRWDVSUHFLVH          ZKRDUHIUHHRIDQ\GLVRUGHURIVH[XDOGHYHORSPHQW\RX
      DV,ZRXOGXVHRUP\FROOHDJXHVZRXOGXVH                      GRQ WKDYHDQ\WURXEOHGHWHUPLQLQJZKLFKSDWLHQWVQHHG
      %<$77251(<%522.6                                             WHVWRVWHURQHDVDFURVVVH[KRUPRQHYHUVXVZKLFK
      4,QWKH(QGRFULQH6RFLHW\LQSXEOLVKLQJ            SDWLHQWVQHHGHVWURJHQDVDFURVVVH[KRUPRQHGR\RX"
      WKHVHJXLGHOLQHVGLGQ WWKLQNWKHUHZDVDQ\DPELJXLW\RU        $77251(<%25(//,2EMHFWLRQIRUP
      LPSUHFLVLRQDVWRZKDWLVDJLUODQGZKDWLVDER\IRU          7+(:,71(660\PRXWKLVJHWWLQJGU\,
      SXUSRVHVRIWKHHIIHFWRISXEHUW\                              GRQ WKDYHDQ\WURXEOHZLWKWKDW
      &RUUHFW"                                               %<$77251(<%522.6
     $77251(<%25(//,2EMHFWLRQWRIRUP           4$QGWKDW VEHFDXVHDEVHQWUDUHDQGXQXVXDO
     7+(:,71(66,ZRXOGKDYHWRUHDGWKH          GLVRUGHUVRIVH[XDOGHYHORSPHQWLW VUHDOO\HDV\IRUDOO
     DUWLFOHXSWRWKLVSRLQWWRVHHZKDWWKHLU                     RIXVWRWHOOJLUOVIURPER\VLVQ WLW"
     FODULILFDWLRQVDUHZLWKUHJDUGWRWKRVHSKUDVHV               $77251(<%25(//,2EMHFWLRQWRIRUP
     2IWHQWLPHVLQWKHEHJLQQLQJRIDUWLFOHVWKH\ZLOO              7+(:,71(66:LWKUHJDUGWRWKHLUVH[
     FODULI\ZKDWWKH\PHDQE\DSDUWLFXODUSKUDVHDQG             DVVLJQPHQWDWELUWK\HV
     WDNLQJLWRXWRIFRQWH[WLVDOLWWOHELWGLIILFXOWIRU         %<$77251(<%522.6
     PHWRMXVWVD\LWLVWUXHULJKWKHUHRQWKHVSRW              41RZ\RX YHPHQWLRQHGDFRXSOHWLPHVZKHQ,
     $77251(<%25(//,,ZRXOGDOVRMXVW            DVNHG\RXTXHVWLRQVDERXWWKHJXLGHOLQHVWKDW
     REMHFWWRWKHH[WHQWWKDWZH UHDVNLQJDERXWVHOHFW            SHUKDSVDODQJXDJHWKDW VXVHGKDVFKDQJHG
     GHILQLWLRQVZLWKRXWKDYLQJJLYHQWKHZLWQHVVDQ                $P,ULJKW"
     RSSRUWXQLW\WRUHYLHZWKHHQWLUHGHILQLWLRQDQGVHFWLRQ        $<HV
     RIWKHGRFXPHQWDQGDVNLQJKHUWRGUDZFRQFOXVLRQVDERXW       4<RXDUHQRWFRQWHQGLQJWKDWKRZKXPDQELRORJ\
     WKHODUJHUGRFXPHQW                                           ZRUNVKDVFKDQJHG"
     $77251(<%522.6&RXQVHO,WKLQNWKDW         $77251(<%25(//,2EMHFWLRQIRUP


                                                     3DJH                                                         3DJH
      \RXDUHVXSSRVHGWRXQGHUWKH5XOHVWRFRQILQH\RXU             7+(:,71(662XUXQGHUVWDQGLQJRIKXPDQ
      REMHFWLRQVWRVWDWLQJREMHFWLRQ                                ELRORJ\DWWKLVWLPHLVDFFHOHUDWLQJJUHDWO\HVSHFLDOO\
      %<$77251(<%522.6                                             LQWKHDUHDRIJHQHWLFV:HFDQQRZORRNDWVRPHRQH V
      4,Q\RXUSUDFWLFHWRGD\ZLWKUHVSHFWWR                 ZKROHH[RPHZKROHFKURPRVRPHDQGLW V,PHDQLQ
      LQGLYLGXDOVZKRGRQRWVXIIHUIURPDQ\GLVRUGHURI              WKLVWLPHIUDPHWKHUH VDQDPD]LQJDPRXQWRILQIRUPDWLRQ
      VH[XDOGHYHORSPHQW\RXGRQ WKDYHDQ\WURXEOHWHOOLQJ           WKDW VEHFRPHPRUHFOHDU
      JLUOVIURPER\VGR\RX"                                        %<$77251(<%522.6
      $77251(<%25(//,2EMHFWLRQWRIRUP            46RLVLW\RXUDUH\RXDVVHUWLQJWKDWWKH
      7+(:,71(66,GRQRWKDYHWURXEOH              PRUHUHFHQW(QGRFULQH6RFLHW\SROLF\VWDWHPHQWVKRXOGEH
     GHFLGLQJZKRZDVDVVLJQHGIHPDOHDWELUWKYHUVXVWKRVH         DFFHSWHGDVDPRUHSUHFLVH6FLHQWLILFVWDWHPHQW"
     ZKRZHUHDVVLJQHGPDOHDWELUWK                               $77251(<%25(//,2EMHFWLRQIRUP
     %<$77251(<%522.6                                            7+(:,71(667KHJRDOLVIRUWKDWWREH
     4:HKDYHDOUHDG\WDONHGDERXWKRZWKDWDVVLJQPHQW      \HVZKHQ\RXDUHZULWLQJWKRVH$QGLW VDOVREHHQ
     LVGRQHEDVHGRQREVHUYDWLRQRIJHQLWDOLDZKLFKGHSHQG        VRPHWLPHVVLQFHWKLVZDVSXEOLVKHGDVZHOO
     RQXQGHUO\LQJJHQHWLFVH[                                     %<$77251(<%522.6
     5LJKW"                                                46LQFHWKHJXLGHOLQHV"
     $77251(<%25(//,2EMHFWLRQIRUP             $&RUUHFW
     7+(:,71(666RWKHW\SLFDOPDQQHURI          4%XWLQJHQHUDOLVLW\RXUYLHZWKHPRUHUHFHQW
     DVVLJQPHQWZHKDYHGLVFXVVHG6RPHWLPHVWKRVHWKLQJV          VWDWHPHQWVRIWKH(QGRFULQH6RFLHW\WKDWWRXFKRQLVVXHV
     FKDQJHRYHUWLPHZLWKDEVHQWRIFRXUVHDGLIIHUHQFH        RIWKHGHILQLWLRQRIJHQGHUDQGVH[DUHZHVKRXOG
     RIVH[GHYHORSPHQWRULQWHUVH[FRQGLWLRQV7\SLFDOO\          FRQVLGHUPRUHDFFXUDWHRUUHOLDEOHWKDQHDUOLHU
     WKH\ZRXOGPDWFK                                              VWDWHPHQWV"
     %<$77251(<%522.6                                            $77251(<%25(//,2EMHFWLRQIRUP
     4$QGLI\RXDUHIRULQVWDQFHJHWWLQJUHDG\WR        7+(:,71(66,QWKHFRUUHFWFRQWH[W


                                                                                            3DJHVWR
                Case: 22-5807
     Case 2:21-cv-00316        Document:
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                                                        Page 772 ofPage:
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                                                     3DJH                                                         3DJH
      \HV6RPHWLPHVZKHQWKH\ UHWDNHQRXWRIFRQWH[WDQG           'R\RXVHHWKDW"
      DSSOLHGWRQRWWKHH[DFWVDPHSRSXODWLRQWKH\PD\RU           $<HV
      PD\QRWEHDVSUHFLVH                                          4$QGWKHSDUDJUDSKFRQWLQXHVRQWRSDJHDQG
      %<$77251(<%522.6                                             WKHODQJXDJH,ZDQWWRFDOO\RXUDWWHQWLRQWRLVWKHUH
      47KH\PD\RUPD\QRWEH7KDWLV\RXGRQ W             EXWRIFRXUVHIHHOIUHHWRORRNDWWKHSDUDJUDSK"
      PDLQWDLQWKDWJHQHUDOO\PRUHUHFHQWVWDWHPHQWVRIWKH           $77251(<%25(//,&RXQVHOIRUFODULW\
      (QGRFULQH6RFLHW\UHODWLQJWRGHILQLWLRQVRIJHQGHUDQG         RIWKHUHFRUG, PVKRZLQJWKDWWKHKHDGLQJLVRQSDJH
      VH[DUHPRUHUHOLDEOHWKDQHDUOLHUVWDWHPHQWV"                  
      $77251(<%25(//,2EMHFWLRQWRIRUP            $77251(<%522.6&RUUHFW7KDW VZKHUH
     7+(:,71(667KHLUJRDODQGRXUJRDODV        WKHSDUDJUDSKEHJLQVDQGWKHQWKHUH VDWZRSDJHWDEOH
     DFRPPXQLW\LVWREHDVSUHFLVHDVSRVVLEOH6RPHWLPHV        EUHDNVXSWKHSDUDJUDSKDQGQRZZH UHRQ
     WKDWZRUNVDQGVRPHWLPHVLWGRHVQ W                           $77251(<%25(//,7KDQN\RX
     $77251(<%522.6/HWPHPDUNDV([KLELW        7+(:,71(66-XVWWKDWSDUDJUDSK
     ZKDWDUHZHDW([KLELW:KDWLVWDELQWKH       %<$77251(<%522.6
     PDWHULDOVSURYLGHGWRWKHFRXUWUHSRUWHUDQDUWLFOH           4<HV
     /DSLQVNLHWDOZKLFK'U$GNLQVLVDFRDXWKRUIURP          $2ND\
     3DUGRQPH                                        4,QZULWLQJDJXLGHIRUFOLQLFLDQVDVWR
                                      ZKDW\RXFRQVLGHUHGWREHEHVWSUDFWLFHVLQWUDQVJHQGHU
      :KHUHXSRQ$GNLQV([KLELW              KHDOWK\RXDQG\RXUFRDXWKRUVWKRXJKWWKDWLWZDVFOHDU
     /DSLQVNL$UWLFOHZDVPDUNHGIRU               DQGXVHIXOWRUHIHUWRTXRWHWKHRSSRVLWHELRORJLFDO
     LGHQWLILFDWLRQ                                VH[FORVHGTXRWHGLG\RXQRW"
                                      $77251(<%25(//,2EMHFWLRQIRUP
     %<$77251(<%522.6                                            7+(:,71(667KHODQJXDJHZRXOGEH
     4$QGWKLVLV\RXURQO\RUSHUKDSVRQHRIRQO\WZR      UHIOHFWLYHRIWKHRULJLQDOSXEOLFDWLRQV


                                                     3DJH                                                         3DJH
      SHHUUHYLHZHGDUWLFOHVRQZKLFK\RXZHUHDQDXWKRUWKDW         %<$77251(<%522.6
      UHODWHWRWUDQVJHQGHUSDWLHQWV                                 4'U$GNLQVZKDWGR\RXPHDQE\WKDWDQVZHU"
      &RUUHFW"                                               $:KHQ\RX UHSXWWLQJVRPHWKLQJLQWRDMRXUQDO
      $77251(<%25(//,2EMHFWLRQIRUP              DUWLFOHDQG\RX UHUHSRUWLQJWKDWRULJLQDODUWLFOH V
      7+(:,71(66, PJRLQJWRUHIHUEDFNWR         LQIRUPDWLRQLWZRXOGEHLQDSSURSULDWHWRFKDQJHWKH
      P\                                                         ODQJXDJH6RWKHRULJLQDOUHSRUWWKDWVWDWHVWKLV
      %<$77251(<%522.6                                             SDUWLFXODULQIRUPDWLRQXVHGWKRVHZRUGV
      43OHDVHGRDQGWKDW V([KLELW                       4:HOO\RXGLGQ WSXWWKLVLQTXRWDWLRQPDUNVLQ
      $,DSRORJL]H, PVRUU\,ZDVWKLQNLQJRI          \RXUDUWLFOHGLG\RX"
     WKHERRNFKDSWHU<HV,ZDVWKLQNLQJRIWKHERRN             $77251(<%25(//,2EMHFWLRQIRUP
     FKDSWHU, YHZULWWHQWKHUH6RWKRVHDUHDOVRSHHUHG          7+(:,71(66:HGRQ WQHFHVVDULO\KDYH
     UHYLHZHG6RLI\RXMXVWIDOOLQJPDQXVFULSWRIMRLQW          WRSXWWKHPLQTXRWDWLRQPDUNV,QPHGLFDOO\UHIHUUHG
     DUWLFOHVWKDW VWUXHEXW,DOVRKDYHRQHERRNFKDSWHU        MRXUQDOV\RXFDQMXVWSXWWKHUHIHUHQFH
     SXEOLVKHGDQGRQHWKDWLVLQSURFHVV                          %<$77251(<%522.6
     4:HOODWDQ\UDWHWKLVDUWLFOHZDVSXEOLVKHGLQ      4$QGLQIDFWWKHUHLVQRIRRWQRWHWRWKLVLV
     WKHVDPH\HDUDVWKHPRUHUHFHQWJXLGHOLQHVIURP         WKHUHWKHUHLVQRUHIHUHQFH"
     WKH(QGRFULQH6RFLHW\                                         $77251(<%25(//,2EMHFWLRQIRUP
     &RUUHFW"                                              7+(:,71(661RWULJKWDWWKHHQGRI
     $&RUUHFW                                              WKDWVHQWHQFH
     4$QGLQWKLVDUWLFOHOHWPHDVN\RXWRWXUQ        %<$77251(<%522.6
     WRSDJH$QGORRNLQJDWDSDUDJUDSKWKDWDFWXDOO\         4:KDWWKDWVHQWHQFHVD\VWRJHWLWLQWRWKH
     UXQVRYHUIURPEHFDXVHRIDORQJLQWHUYHQLQJWDEOH        UHFRUG, PUHIHUULQJWRVH[XDORULHQWDWLRQLWVD\V
     3DUDJUDSKLVKHDGHGXQGHUVWDQGLQJWKHPHDQLQJRI               TXRWHWKLVIOXFWXDWLRQWHQGVWRRFFXUPRUHFRPPRQO\
     WUDQVLWLRQLQJIRUWUDQVJHQGHUSDWLHQWV                        ZLWKLQGLYLGXDOVZKRDUHDWWUDFWHGWRWKHRSSRVLWH


                                                                                            3DJHVWR
                Case: 22-5807
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                                                             3DJH                                                    3DJH
     ELRORJLFDOVH[EHIRUHWUDQVLWLRQLQJFORVHGTXRWHV                  7+(:,71(666,KDYHVHHQWKDWSROLF\
     +DYH,UHDGWKDWODQJXDJHFRUUHFWO\"                                 DQGDOVRVHHQWKHSROLFLHVWKDWDUHSUHVHQWHGE\WKH1,+
     $&RUUHFW                                                    ZKLFKXVHVVH[DVVLJQHGDWELUWKDVZHOODVJHQGHU
     4$QGSXEOLVKLQJWKLVJXLGHOLQHIRUFOLQLFLDQVLQ             LGHQWLW\DQGLQDGGLWLRQDVYDULDEOHVWKDWVKRXOGEH
     LVLW\RXUWHVWLPRQ\WKDWHYHQLI\RXWKRXJKWWKDW             LQFOXGHGLQWKHLUUHVHDUFK
     ODQJXDJHZDVLQDFFXUDWHDQGFRQIXVLQJ\RXZRXOGQRWKDYH             %<$77251(<%522.6
     FODULILHGLW"                                                        40\TXHVWLRQLVSUHFLVH$UH\RXIDPLOLDUZLWK
     $77251(<%25(//,2EMHFWLRQIRUP                   WKH1,+SROLF\WKDWUHTXLUHVJUDQWVXSSRUWHGUHVHDUFKLQ
     7+(:,71(66,FDQ WFKDQJHZKDWWKH                 VDOHVRUFOLQLFDOZRUNWRTXRWHFRQVLGHUVH[DVD
    SXEOLFDWLRQVWDWHV,WZRXOGEHLQDSSURSULDWHIRUPHWR            ELRORJLFDOYDULDEOH"
    PDNHDVWDWHPHQWWKDWZDVGLIIHUHQWIURPZKDWWKH                   $77251(<%25(//,2EMHFWLRQIRUP
    SXEOLFDWLRQVWDWHV$QGWKHUHDUHSHRSOHWKDWIDOORQ              &RXQVHOLI\RXDUHJRLQJWRFRQWLQXHTXHVWLRQLQJKHU
    WKHELQDU\DQGSHRSOHZKRIDOOLQWKHPLGGOHDQGWKDW              DERXWWKHSROLF\ZH GUHTXHVWDFRS\EHSODFHGLQIURQW
    SDUWLFXODUVWXG\LQYHVWLJDWHGSHRSOHZKRLGHQWLILHGRQ              RIWKHZLWQHVV
    HDFKHQGRIWKHELQDU\VSHFWUXPRILQGLYLGXDOV                      $77251(<%522.6$WWKHPRPHQW, PMXVW
    LGHQWLILFDWLRQRIJHQGHULGHQWLW\                                  DVNLQJWKHZLWQHVVLIVKH VIDPLOLDUZLWKWKDWSROLF\
    %<$77251(<%522.6                                                 $77251(<%25(//,0\REMHFWLRQVWDQGV
    46R\RXEHOLHYHDVDVFLHQWLVWDQGDQDXWKRUWKDW           7+(:,71(66,KDYHQ WUHDGWKHHQWLUH
    ZULWLQJLQHYHQLI\RXWKRXJKWWKHWHUPELRORJLFDO            SROLF\,KDYHVHHQWKDWZLWKLQWKHGRFXPHQWVWKDW\RX
    VH[ZDVPLVOHDGLQJDQGLQDFFXUDWH\RXLWZDV                   KDYHSUHVHQWHGVR,FDQ WDFFXUDWHO\VWDWHLILWLV
    QHYHUWKHOHVVDSSURSULDWHIRU\RXWRXVHWKDWWHUPLQD              WUXH
    EHVWSUDFWLFHVJXLGHWKDW\RXZHUHZULWLQJIRU                      %<$77251(<%522.6
    FOLQLFLDQV"                                                         4+DYH\RX\RXUVHOIHYHUVXEPLWWHGDQ\JUDQW
    $77251(<%25(//,2EMHFWLRQIRUP                  SURSRVDOWKDWZDVVXEMHFWWRWKDW1,+SROLF\"


                                                             3DJH                                                    3DJH
      7+(:,71(666RLI\RXZRXOGUHDGWKH               $77251(<%25(//,2EMHFWLRQIRUP
      HQWLUHW\RIWKHDUWLFOH,ZRXOGKRSHWKDWZHZRXOGEH              7+(:,71(66,KDYHVXEPLWWHG1,+
      FOHDUDQGLWZRXOGEHXQGHUVWRRGLQWKDWLVRODWHG                   JUDQWV
      SDUDJUDSKDJDLQ,KDYHWRXVHZKDWODQJXDJHZDVXVHG              %<$77251(<%522.6
      LQWKHRULJLQDOSXEOLFDWLRQ2WKHUZLVH, P                        4$QGLQWKDWFRQQHFWLRQGLG\RXWDNHVRPHVWHSV
      PLVUHSUHVHQWLQJWKHRULJLQDOSXEOLFDWLRQDQG,ZRXOGQRW            WRDVVXUHWKDW\RXUJUDQWSURSRVDOZRXOGFRPSO\ZLWK
      ZDQWWRGRWKDW                                                    WKDWSROLF\"
      %<$77251(<%522.6                                                 $77251(<%25(//,2EMHFWLRQIRUP
      4:HOOLI\RXWKRXJKWWKHRULJLQDOSXEOLFDWLRQ              7+(:,71(66$OORIP\JUDQWV
     ZDVLQDFFXUDWHDQGPLVOHDGLQJ\RXZRXOGQ WZDQWWRFLWH           DSSOLFDWLRQVKDGVH[DVVLJQHGDWELUWKDVDYDULDEOH
     DQGUHO\RQLWZRXOG\RX"                                         WKDWZHUHSRUW
     $77251(<%25(//,2EMHFWLRQIRUP                 %<$77251(<%522.6
     7+(:,71(66$VLW VVWDWHGLW VQRW              4/HWPHVKRZ\RXDQRWKHUPRUHUHFHQW(QGRFULQH
     LQDFFXUDWH$QGLI\RXLQIHUWKLQJVIURPDVHQWHQFHLW            6RFLHW\SROLF\VWDWHPHQW7KLVLVWDEHLJKW,WZLOO
     FRXOGEHPLVOHDGLQJ,I\RXUHDGLWVWUDLJKWIRUZKDW             EH([KLELW
     LWVD\VLW VDFFXUDWHWRZKDWWKHUHSRUWJDYHLQWKH              
     LQLWLDOSXEOLFDWLRQ                                                :KHUHXSRQ$GNLQV([KLELW
     %<$77251(<%522.6                                                (QGRFULQH6RFLHW\6FLHQWLILF6WDWHPHQW
     4$UH\RXIDPLOLDU'U$GNLQVZLWKD1,+SROLF\           ZDVPDUNHGIRULGHQWLILFDWLRQ
     WKDWUHTXLUHVUHVHDUFKVXSSRUWHGE\1,+JUDQWVWKDW                
     LQYROYHVDQLPDORUKXPDQFOLQLFDOZRUNWRFRQVLGHUZKDW            7+(:,71(66%HIRUHZHVWDUWWKLV
     1,+UHIHUVWRDVTXRWHVH[DVDELRORJLFDOYDULDEOH             TXHVWLRQLQJLVLWSRVVLEOHIRUPHWRWDNHDEUHDN"
     FORVHGTXRWH"                                                      $77251(<%522.6,WFHUWDLQO\LV$W
     $77251(<%25(//,2EMHFWLRQIRUP                 DQ\WLPHWKDW\RXZDQWWR\RXMXVWVD\VR


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                                                     3DJH                                                         3DJH
      9,'(2*5$3+(5*RLQJRIIWKHUHFRUG7KH       \HVWKHUHDUHVRPHIRONVWKHUHZKRGRDQLFHMRE
      FXUUHQWWLPHUHDGVDP                                  4$QGPD\EHIRXUOLQHVIURPWKHERWWRPRIWKDW
      2))9,'(2                                                      EORFN,VHHDUHIHUHQFHWRWKH1DWLRQDO,QVWLWXWHRI
                                       0HQWDO+HDOWK
       :+(5(8321$3$86(,17+(5(&25':$6+(/'                    'R\RXVHHWKDW"
                                       $<HV
      219,'(27$3(                                                   4$QGWKDW VDKLJKO\UHVSHFWHGJRYHUQPHQWDO
      9,'(2*5$3+(5:H UHEDFNRQWKHUHFRUG        UHVHDUFKODERUDWRU\
      &XUUHQWWLPHUHDGVDP(DVWHUQ6WDQGDUG7LPH           &RUUHFW"
     $77251(<%522.6$QGWKLVLV5RJHU            $77251(<%25(//,2EMHFWLRQIRUP
     %URRNVUHVXPLQJWKHTXHVWLRQLQJ,KDYHSXWLQIURQWRI      7+(:,71(66<HV
     WKHZLWQHVVZKDWLVPDUNHG([KLELWZKLFKLVDTXRWH      %<$77251(<%522.6
     VFLHQWLILFVWDWHPHQWIURPWKH(QGRFULQH6RFLHW\WKDWLV       4$QGOHWPHDVN\RXWRWXUQKHUHLQWKLVGRFXPHQW
     HQWLWOHG&RQVLGHULQJ6H[DVD%LRORJLFDO9DULDEOHLQ          WRWKHVHFRQGSDJHZKLFKLVSDJH$QGWKLVLVLQ
     %DVLFDQG&OLQLFDO6WXGLHV$Q(QGRFULQH6RFLHW\              IDFWWKHEHJLQQLQJRIWKHWH[WDIWHUWKHDEVWUDFWRQ
     6FLHQWLILF6WDWHPHQWFORVHGTXRWH'R\RXVHHWKDW"         WKHSUHYLRXVSDJH$QGWKHUHLWEHJLQVTXRWHVH[LV
     $3DUGRQPH<HV                                     DQLPSRUWDQWELRORJLFDOYDULDEOHWKDWPXVWEHFRQVLGHUHG
     46RWKLVLVGRFXPHQWWKLVVWDWHPHQWLVIURP      LQWKHGHVLJQDQGDQDO\VLVRIKXPDQDQGDQLPDOUHVHDUFK
     MXVWODVW\HDU$QGIRXUPRUH\HDUVUHFHQW         7KHWHUPVVH[DQGJHQGHUVKRXOGQRWEHXVHG
     IRXUPRUH\HDUVRIVFLHQFHDYDLODEOHDVFRPSDUHGWRWKH       LQWHUFKDQJHDEO\6H[LVGLFKRWRPRXVZLWKVH[
     JXLGHOLQHVZHORRNHGDWHDUOLHU                         GHWHUPLQDWLRQLQWKHIHUWLOL]HG]\JRWHVVWHPPLQJIURP
     &RUUHFW"                                             XQHTXDOH[SUHVVLRQRIVH[FKURPRVRPDOJHQHVFORVHG
     $,WLVWKDW\HVDVIDUDVWKHGDWHJRHV,       TXRWH
     PHDQRQHZRXOGWKLQNWKH\ZRXOGEHXSWRGDWH               'R\RXVHHWKDWODQJXDJH"


                                                     3DJH                                                         3DJH
      4$QGOHWPHMXVWDVNREYLRXVO\WKH(QGRFULQH          $,GR
      6RFLHW\LVDODUJHRUJDQL]DWLRQEXWGR\RXNQRZHLWKHU       4'R\RXXQGHUVWDQGWKHPHDQLQJRIWKHZRUG
      SHUVRQDOO\RUE\UHSXWDWLRQDQ\RIWKHDXWKRUVOLVWHG         GLFKRWRPRXV"
      RQWKLVGRFXPHQW"                                              $,GR
      $77251(<%25(//,2EMHFWLRQIRUP             4:KDWGRHVLWPHDQ"
      7+(:,71(66([FXVHPH:DOWHU0LOOHU         $7ZRRSWLRQV
      E\UHSXWDWLRQ                                                 47KHUHDUHWZRRSWLRQV$QGGR\RXWKLQN\RX
      %<$77251(<%522.6                                            XQGHUVWDQGWKHVLJQLILFDQFHRIWKHVWDWHPHQWWKDW
      4$QG:DOWHU0LOOHULVDWWKH8QLYHUVLW\RI             TXRWHVH[LVDQLPSRUWDQWELRORJLFDOYDULDEOH"
     &DOLIRUQLD6DQ)UDQFLVFRDFFRUGLQJWRWKHIRRWQRWH          $77251(<%25(//,2EMHFWLRQIRUP
     WKHUH"                                                        7+(:,71(66,XQGHUVWDQGWKDWLW
     $/HW VVHH7KDW VZKDWLWORRNVOLNH               \HV
     4$QGMXVWORRNLQJGRZQWKH8QLYHUVLW\RI             %<$77251(<%522.6
     &DOLIRUQLD6DQ)UDQFLVFRLVDKLJKO\SUHVWLJLRXV            4,QIDFW,EHOLHYH\RXWHVWLILHGHDUOLHUWKDWLQ
     UHVHDUFKLQVWLWXWLRQLVLWQRW"                              WKHKXPDQERG\HYHU\ERG\SDUWHYHU\FHOOHLWKHUKDV;;
     $,WKDVDJRRGUHSXWDWLRQ                            FKURPRVRPHVRU;<FKURPRVRPHVGHSHQGLQJRQWKH
     4$QGIDUWKHUGRZQKDOIZD\GRZQWKHEORFNRI          FKURPRVRPDOVH[RIWKHLQGLYLGXDO
     LQVWLWXWLRQVWKDWWKHVHDXWKRUVDUHDVVRFLDWHGZLWK,        ,VWKDWULJKW"
     VHH8QLYHUVLW\RI&DOLIRUQLD/RV$QJHOHV'R\RXVHH        $77251(<%25(//,2EMHFWLRQIRUP
     WKDW"                                                         7+(:,71(666RPHLQGLYLGXDOVKDYHD
     $<HV                                                 PL[WXUH
     4$QG8&/$WRXVHLWVDEEUHYLDWLRQLVDOVRD         %<$77251(<%522.6
     KLJKO\UHVSHFWHGUHVHDUFKXQLYHUVLW\LVLWQRW"              4$QGWKRVHZRXOGEHJHQHWLFDEQRUPDOLWLHV
     $<RXNQRZWKHUHLVVRPHYDULDELOLW\WKHUH$QG      $P,FRUUHFW"


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                                                     3DJH                                                         3DJH
      $77251(<%25(//,2EMHFWLRQIRUP              GHWHUPLQHGLQIHUWLOL]HG]\JRWH7KDWGRHVQ W
      7+(:,71(66$JDLQ,GRQ WOLNHWKH            QHFHVVDULO\HTXDOVH[WKDW VDVVLJQHGDWELUWK
      ZRUGDEQRUPDOLWLHV,WLVDYDULDWLRQLQSUHVHQWDWLRQ          %<$77251(<%522.6
      RIDKXPDQ                                                     4$EVHQWDQ\GLVRUGHURIVH[XDOGHYHORSPHQWWKH
      %<$77251(<%522.6                                             GHWHUPLQDWLRQWKH]\JRWHWKDW\RXMXVWGHVFULEHGZLOO
      4<RXZRXOGDJUHHZRXOG\RXQRWWKDWDQ\               LQIDFWGLFWDWHSHUFHQWUHOLDELOLW\WKHVH[
      GHYLDWLRQIURPKDYLQJHLWKHU;;RU;<FKURPRVRPHVLV            REVHUYHGDWELUWK
      ZLGHO\FRQVLGHUHGWREHDQDEQRUPDOLW\"                         &RUUHFW"
      $77251(<%25(//,2EMHFWLRQIRUP              $77251(<%25(//,2EMHFWLRQIRUP
     7+(:,71(66$JDLQ,GRQ WSUHIHUWKDW        7+(:,71(66:HOO,FDQ W\RXNQRZ
     ODQJXDJH                                                      LQPHGLFLQHZHGRQ WVD\DQ\WKLQJLVSHUFHQW,I
     %<$77251(<%522.6                                            \RXXVHWKHDEVHQWDQ\DQ\GLIIHUHQFHRIVH[
     4'U$GNLQV,GLGQ WDVN\RXZKDW\RXSUHIHU,      GHYHORSPHQWHYHQDQXQNQRZQRQHWKDWZHPLJKWQRWNQRZ
     XQGHUVWDQG\RXUSUHIHUHQFH0\TXHVWLRQLV\RXZRXOG          DERXWWKDWWKDWLVZKDWZHNQRZWREHWUXH
     DJUHHZRXOG\RXQRWZLWKLQWKHVFLHQWLILFFRPPXQLW\LW       %<$77251(<%522.6
     LVZLGHO\KHOGYLHZWKDWDQ\FKURPRVRPDODUUDQJHPHQW           4<RXPHQWLRQHGHDUOLHUWKDWGLFKRWRPRXVPHDQV
     RWKHUWKDQKDYLQJ;;RU;<LVDEQRUPDO"                        WKHUHDUHWZRDOWHUQDWLYHVDQGRQO\WZRDOWHUQDWLYHV
     $77251(<%25(//,2EMHFWLRQIRUP             5LJKW"
     7+(:,71(661RWLQP\H[SHULHQFHLQP\        $77251(<%25(//,2EMHFWLRQIRUP
     JURXSRISHRSOHWKDW,SUDFWLFHZLWKWKH\ZRXOGQRW           %<$77251(<%522.6
     GHVFULEHLWWKDWZD\                                          47KDW VMXVWZKDWWKHZRUGPHDQV"
     %<$77251(<%522.6                                            $77251(<%25(//,6DPHREMHFWLRQ
     4:RXOG\RXDJUHHWKDWVH[LVGHWHUPLQHGWRXVH         7+(:,71(667KDW VZKDWWKHZRUGPHDQV
     WKHODQJXDJHWKDW,KDYHGLUHFWHG\RXWRTXRWHLQWKH        %<$77251(<%522.6


                                                     3DJH                                                         3DJH
      IHUWLOL]HG]\JRWHFORVHGTXRWH"                                4$QGLQWKLVLPSRUWDQWVWDWHPHQWIURPWKH
      $, PVRUU\&DQ\RXUHUHDGWKHTXHVWLRQRU            (QGRFULQH6RFLHW\SXEOLVKHGMXVWODVW\HDUGUDIWHGE\D
      UHSHDWWKHTXHVWLRQ"                                            ZKROHFRPPLWWHHRISURPLQHQWHQGRFULQRORJLVWVWKH\VD\
      4<HV, PUHIHUULQJWRWKHODQJXDJHWKDW               WKDWVH[LVDQLPSRUWDQWELRORJLFDOYDULDEOHFORVHG
      UHIHUHQFHVVH[GHWHUPLQDWLRQLQWKHIHUWLOL]HG]\JRWH          TXRWH'R\RXGLVDJUHHZLWKWKLVVWDWHPHQWIURPWKH
      $QGP\TXHVWLRQLVGR\RXDJUHHWKDWWKHVH[RIDQ              (QGRFULQH6RFLHW\"
      LQGLYLGXDOLVGHWHUPLQHGTXRWHLQWKHIHUWLOL]HG              $77251(<%25(//,2EMHFWLRQIRUP
      ]\JRWHFORVHGTXRWH"                                           7+(:,71(66,QUHDGLQJWKDWSDUWLFXODU
      $77251(<%25(//,2EMHFWLRQIRUP              VWDWHPHQW,ZRXOGDJUHHLIWKH\KDGXVHGWKHZRUGVH[
     7+(:,71(66$JDLQWKH\ UHQRWEHLQJ          DVVLJQHGDWELUWKRUVRPHWKLQJPRUHSUHFLVHLQWKDW
     YHU\VSHFLILFLQWKDWSDUWLFXODUVHQWHQFHDERXWZKDW           VHQWHQFH
     WKH\PHDQE\VH[                                              %<$77251(<%522.6
     %<$77251(<%522.6                                            4:HOOZKDWWKH\VDLGSUHFLVHO\LVVH[LVD
     4<RX UHQRWDEOHWRVD\ZKHWKHUWKLVRSHQLQJ           ELRORJLFDOYDULDEOH'R\RXVHHWKDWODQJXDJH"
     ODQJXDJHLQWKLVVWDWHPHQWIURPWKH(QGRFULQH             $<HDK
     6RFLHW\LVLQ\RXUYLHZDFFXUDWHRULQDFFXUDWH"               4'R\RXDJUHHZLWKWKDW"
     $77251(<%25(//,2EMHFWLRQWRIRUP           $77251(<%25(//,2EMHFWLRQIRUP
     7+(:,71(667DNLQJRQHVWDWHPHQW,           7+(:,71(666RLQWKHFRQWH[WRI
     FDQ W7KLVLVDYHU\ORQJGRFXPHQW                          PHGLFLQHZKHQZH UHWDONLQJDERXWVH[DQGZH UHWDONLQJ
     %<$77251(<%522.6                                            DERXWWKDW VYHU\LPSUHFLVH,UHDOO\WKLQNWKDWLW
     4, PDVNLQJ\RXQRZGR\RXDJUHHRUGLVDJUHHWKH      LV,ZRXOGLW VKDUGIRUPHWRXVHWKDWZRUG
     VH[LVGHWHUPLQHGLQWKHIHUWLOL]HG]\JRWH"                    EHFDXVHLWLVLPSUHFLVHDV,KDYHPHQWLRQHGEHIRUH
     $77251(<%25(//,2EMHFWLRQIRUP             %<$77251(<%522.6
     7+(:,71(66;;DQG;<FRPSRQHQWVDUH          46R\RXWKLQNWKLVVWDWHPHQWIURPODVW\HDUIURP


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                                                    3DJH                                                         3DJH
      WKH(QGRFULQH6RFLHW\LQLWVRSHQLQJODQJXDJHLVVR            4,QWKHILUVWSDUDJUDSKXQGHUWKHKHDGLQJ
      LPSUHFLVHWKDW\RXFDQ WWHOOPHZKHWKHU\RXWKLQNLWLV       ELRORJLFDOVH[GLUHFWLQJ\RXUDWWHQWLRQWRWKH
      DFFXUDWHRUQRW"                                               VWDWHPHQWGLG\RXGLVFXVVWKHVWDWHPHQWVH[LVD
      $77251(<%25(//,2EMHFWLRQIRUP             ELRORJLFDOFRQFHSW'R\RXVHHWKDWODQJXDJH"
      7+(:,71(66,ZRXOGKDYHWRUHDGWKH          $,GR
      HQWLUHW\RIWKHUHSRUWDQGWDNHLWZLWKLQFRQWH[WDV,         4$QG\RXEHOLHYHWKDWWREHDVFLHQWLILFDOO\
      ZRXOGZLWKDQ\RWKHUODQJXDJHXVHG                            DFFXUDWHVWDWHPHQW"
      %<$77251(<%522.6                                            $77251(<%25(//,2EMHFWLRQWRIRUP
      46LWWLQJKHUHULJKWQRZ\RX UHXQDEOHWRDQVZHU       7+(:,71(66<HV
     P\TXHVWLRQDVWRZKHWKHU\RXWKLQNLWLVDQDFFXUDWH         %<$77251(<%522.6
     VWDWHPHQWWKDWVH[LVDELRORJLFDOFRQFHSW"                   4$QGLQWKHQH[WVHQWHQFHWKLV(QGRFULQH6RFLHW\
     $77251(<%25(//,2EMHFWLRQIRUP            VWDWHPHQWWHOOVXVWKDWTXRWHDOOPDPPDOVKDYHWZR
     7+(:,71(666H[LVDELRORJLFDO              GLVWLQFWVH[HVFORVHGTXRWH'R\RXEHOLHYHWKDWLV
     FRQFHSW\HV                                                 WUXHRUVFLHQWLILFDOO\LQDFFXUDWH"
     %<$77251(<%522.6                                           $77251(<%25(//,2EMHFWLRQIRUP
     4$QGOHWPHWDNH\RXLQIDFWWRSDJHRI         7+(:,71(66([FXVHPH, PVRUU\, P
     WKLVGRFXPHQWILUVWFROXPQ$QGWKHUH\RXZLOOVHHD        WU\LQJWRILQGWKDWODQJXDJH
     KHDGLQJWKDWEHJLQVELRORJLFDOVH[WKHGHILQLWLRQRI         %<$77251(<%522.6
     PDOHDQGIHPDOH                                              47KLUGOLQHRIWKDWSDUDJUDSKDOOPDPPDOVKDYH
     'R\RXVHHWKDW"                                     WZRGLVWLQFWVH[HV0\TXHVWLRQLVGR\RXEHOLHYHWKDW
     $<HV                                                 LVLQDFFXUDWHRUDFFXUDWHVFLHQWLILF"
     4$QGLWEHJLQVVH[LVDELRORJLFDOFRQFHSW$QG      $77251(<%25(//,2EMHFWLRQIRUP
     \RXMXVWVDLGWKDW\RXWKLQNWKDW VDVFLHQWLILFDOO\          7+(:,71(66,VWLOOWKLQNLWLV
     WUXHVWDWHPHQW                                               LPSUHFLVH


                                                    3DJH                                                         3DJH
      5LJKW"                                                %<$77251(<%522.6
      $77251(<%25(//,2EMHFWLRQIRUP             4+DYH\RXILQLVKHG\RXUDQVZHU"
      &RXOGFRXOGVKHKDYHDQRSSRUWXQLW\WRUHDGWKLV           $<HV6RUU\0\DOOHUJLHVDUHPDNLQJPH
      VHFWLRQEHIRUHZHFRQWLQXHTXHVWLRQLQJ"                        4$Q\WLPH\RXQHHGDGULQN
      $77251(<%522.6<HV%XW, OODVN\RX        $<HDK6RUU\DERXWWKDW
      QRWWRFRDFKWKHZLWQHVV,KDYHQRWGHQLHGDQ\               4)HZOLQHVGRZQLWVD\VTXRWHWKHFODVVLFDO
      UHTXHVWVEXWWKHZLWQHVVVKRXOGPDNHWKHPQRWFRXQVHO       ELRORJLFDOGHILQLWLRQRIWKHWZRVH[HVLVWKDWIHPDOHV
      $77251(<%25(//,7KHREMHFWLRQVWDQGV        KDYHRYDULHVDQGPDNHODUJHUIHPDOHJDPHWHVHJJV
      ,WLVDSSURSULDWHWRDVNWKDWDZLWQHVVEHDEOHWRUHDG        ZKHUHDVWKHPDOHVKDYHWHVWHVDQGPDOHVPDOOHUJDPHWHV
     DVHFWLRQRIDGRFXPHQWEHIRUHEHLQJDVNHGWRRSLQH           VSHUP'R\RXVHHWKDWODQJXDJH"
     DERXWWKHODUJHUPHDQLQJRIWKHGRFXPHQW                     $,GR
     $77251(<%522.6,EHOLHYHWKHZLWQHVV        4'R\RXDJUHHWKDWLVDIDLUVWDWHPHQWRIWKH
     WKUHZVRPHPRUHODQJXDJHLQWKLVSDUDJUDSKVRWKDW VD        FODVVLFDOELRORJLFDOGHILQLWLRQRIWKHWZRVH[HV"
     JRRGLGHD                                                    $77251(<%25(//,2EMHFWLRQIRUP
     %<$77251(<%522.6                                           7+(:,71(66:KHQ\RXXVHWKHZRUG
     4,I\RXZLOOWHOOXVZKHQ\RXKDYHUHDGWKDW          FODVVLFDOLWGHVFULEHVZKDW\RXZRXOGVHHW\SLFDOO\VR
     SDUDJUDSK                                                    ,DJUHHZLWKWKDWVWDWHPHQW,WDOORZVIRUWKHUHWREH
     $<HV6RUU\                                         VRPHYDULDWLRQVWKDWPD\QRWEHFODVVLFDO
     4<RXKDYH"                                            %<$77251(<%522.6
     $1R,ZLOOWHOO\RX                                 4$QGLWLVDFFHSWHGDVDFODVVLFDOGHILQLWLRQ
     $77251(<7<521-DNHFRXOG\RXVFUROO        EHFDXVHLWLVDFFXUDWHLQWKHRYHUZKHOPLQJSHUFHQWDJHRI
     GRZQDELWSOHDVH"                                           FDVHV
     7+(:,71(662ND\                            ,VWKDWWUXH"
     %<$77251(<%522.6                                           $77251(<%25(//,2EMHFWLRQIRUP


                                                                                           3DJHVWR
                Case: 22-5807
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                                                    3DJH                                                          3DJH
      7+(:,71(666R\RXNQRZDV,PHQWLRQHG        JHQHWLFJRQDGDOVH[WKHQGR\RX\RXFRQVLGHUWKLV
      EHIRUHLQP\SDSHUVWKDW,VXEPLWWHGLW\RXNQRZ          VWDWHPHQWWREHDFFXUDWH"
      WKHSHUFHQWDJHRISHRSOHZLWKGLIIHUHQFHVRIVH[                $77251(<%25(//,2EMHFWLRQIRUP
      GHYHORSPHQWLVORZDQGWKRVHZRXOGEHWKHLQGLYLGXDOV           7+(:,71(667KDW VQRWZKDWLWVD\VVR
      WKDWZRXOGQRWIROORZW\SLFDOO\ZLWKLQWKLV                    , OODVN\RXWRUHSHDWWKHTXHVWLRQIRUPH
      %<$77251(<%522.6                                             %<$77251(<%522.6
      4$QGWKRVHLQGLYLGXDOVDUHWKHRYHUZKHOPLQJ             4,IZHDVVXPHK\SRWKHWLFDOO\,ZLOODVN\RX
      PDMRULW\                                                       WRDVVXPHWKDWVH[DVXVHGLQWKLV(QGRFULQH6RFLHW\
      &RUUHFW"                                               GRFXPHQWKDVWKHPHDQLQJWKDW\RXLQIDFW
     $77251(<%25(//,2EMHFWLRQIRUP             H[SODLQHGIURPWKHWHUPXVHGLQWKH(QGRFULQH
     7+(:,71(667KH\DUHWKHPDMRULW\            6RFLHW\GRFXPHQWWKDWLVTXRWHJHQHWLFJRQDGDOVH[
     %<$77251(<%522.6                                            FORVHGTXRWHWKHQ\RXEHOLHYHWKLVWREHWKH
     4:HOOPRUHWKDQSHUFHQW                            ODQJXDJHWKDW,KDYHUHDGWR\RXIURPWKHGRFXPHQW
     &RUUHFW"                                              WREHDFFXUDWH"
     $77251(<%25(//,2EMHFWLRQIRUP             $77251(<%25(//,2EMHFWLRQIRUP
     7+(:,71(66,ZRXOGKDYHWRGRWKHPDWK       7+(:,71(666R,EHOLHYHZKHQ,
     EXWWKDWVRXQGVDFFXUDWH                                      DQVZHUHGWKDWTXHVWLRQ,EHOLHYHZKHQ,DQVZHUHG
     %<$77251(<%522.6                                            WKDWTXHVWLRQVH[JRQDGDO\RXNQRZWKRVHDUHWZR
     4/HWPHDVN\RXWRWXUQWRSDJH,QWKH           SDUWVRILW7KH\KDYHQRWLQFOXGHGWKHIXOOUDQJHRI
     VHFRQGFROXPQWKHILQDOSDUDJUDSKEHJLQVRQWKDWSDJH        KRUPRQDORUH[WHUQDOJHQLWDOLDWREHVSHFLILF,QP\
     LWUHDGVTXRWHVH[LVDQHVVHQWLDOSDUWRIYHUWHEUDWH        OLQHRIZRUN,ZRXOGQHHGDOORIWKDWLQIRUPDWLRQWR
     ELRORJ\EXWJHQGHULVDKXPDQSKHQRPHQRQVHPLFRORQ          UHDOO\SLQGRZQWKLQJV
     6H[RIWHQLQIOXHQFHVJHQGHUEXWJHQGHUFDQQRWLQIOXHQFH       %<$77251(<%522.6
     VH['R\RXVHHWKDWODQJXDJH                                46R\RXUWHVWLPRQ\QRZLVWKDWWKHWHUP


                                                    3DJH                                                          3DJH
      $:KDWLVWKHILUVWZRUGLQWKHVHQWHQFHDJDLQVR        JHQHWLFJRQDGDO JXLGHOLQHVLVWRRLPSUHFLVHIRU\RX
      ,FDQILQGLW"                                                  UHDOO\WRXQGHUVWDQG"
      4,W VRQWKHVHFRQGFROXPQWKHILQDOSDUDJUDSK        $77251(<%25(//,2EMHFWLRQIRUP
      $2ND\                                                  7+(:,71(66,WKLQN\RXDVNHGWKDW
      4, PUHDOO\MXVWFDOOLQJ\RXUDWWHQWLRQWRWKH          TXHVWLRQEHIRUH
      ILUVWVHQWHQFH                                                 %<$77251(<%522.6
      $<HSUHDGLW                                          4$QG,WKRXJKW\RXKDGVDLG\RXGLGXQGHUVWDQG
      4,VWKHUHDQ\WKLQJLQWKDWVHQWHQFHWKDW\RX            <RXVHHPWREHFKDQJLQJ\RXUWHVWLPRQ\
      EHOLHYHWREHLQDFFXUDWHVFLHQWLILFDOO\"                        $77251(<%25(//,2EMHFWLRQ
     $77251(<%25(//,2EMHFWLRQIRUP             7+(:,71(66<RXFDQUHDGLWEDFNWRPH
     7+(:,71(66$JDLQ,WKLQNWKH\ UH            LI\RX,WKLQNWKDWWKHUH VPXOWLSOHWKLQJVWKDWDUH
     LPSUHFLVHDVSULPDWHVKDYHJHQGHUUROHVDQGJHQGHUHG           OHIWRXWRIWKDWSDUWLFXODUSKUDVHWRGHVFULEH\RX
     DFWLYLW\VRLW VQRWH[DFWO\SUHFLVH                         NQRZLQGLYLGXDOV,FDQ WVD\VRPHWKLQJWKDWLV\RX
     %<$77251(<%522.6                                            NQRZLQP\H[SHULHQFHDQGLQWKHOLWHUDWXUHDQGLQ
     4$Q\WKLQJHOVHDERXWWKDWVWDWHPHQWWKDW\RXZDQW      SDWLHQWVZLWKLQWHUVH[FRQGLWLRQVWKDWDUHWKDW
     WRVD\LVOHVVWKDQVFLHQWLILFDOO\DFFXUDWH"                   FRXOGEHGLIIHUHQWIURPWKDW7KHUH\HDK
     $77251(<%25(//,2EMHFWLRQIRUP             %<$77251(<%522.6
     7+(:,71(66<RXNQRZDJDLQWKH\XVH          4,IZHIRUDPRPHQWIRFXVRQLQGLYLGXDOVZKRGR
     WKHZRUGVH[ZLWKRXWEHLQJYHU\VSHFLILFDVWRVH[             QRWVXIIHUIURPDQ\GLVRUGHURIVH[XDOGHYHORSPHQWWKHQ
     DVVLJQHGDWELUWK7KDW VP\RQO\RWKHUFDYHDW               GR\RXEHOLHYHWKHIROORZLQJTXRWHIURP(QGRFULQH
     %<$77251(<%522.6                                            6RFLHW\GRFXPHQWLVWUXHDQGWKDWLVTXRWHVH[
     4,IZHUHDGWKDWWRUHIHUWRZKDWWKH(QGRFULQH        LVDQHVVHQWLDOSDUWRIYHUWHEUDWHELRORJ\EXWJHQGHU
     6RFLHW\GHWHUPLQHGXVHGLQWKH(QGRFULQH6RFLHW\          LVDKXPDQSKHQRPHQRQVHPLFRORQVH[RIWHQLQIOXHQFHV
     VWDWHPHQWWKDWZHORRNHGDWWKDWLVTXRWH                   JHQGHUFRPPDEXWJHQGHUFDQQRWLQIOXHQFHVH[FORVHG


                                                                                            3DJHVWR
                Case: 22-5807
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                                                     3DJH                                                         3DJH
      TXRWH"                                                          4'U$GNLQVGR\RXEHOLHYHLWWREHWUXHRU
      $77251(<%25(//,2EMHFWLRQIRUP              IDOVHWKDWZRPHQDQGPHQDVZRPHQDQGPHQGLIIHUIURP
      7+(:,71(667U\LQJWRWKLQNPDNHVXUH         HDFKRWKHULQPDQ\SK\VLRORJLFDODQGSV\FKRORJLFDO
      ,FDQ WWKLQNRIDQLQVWDQFHULJKWQRZWKDWPDNHVPH        YDULDEOHV"
      GLVDJUHHZLWKWKDWVWDWHPHQW                                   $77251(<%25(//,2EMHFWLRQWRWKHIRUP
      %<$77251(<%522.6                                             7+(:,71(666RZRPHQDQGPHQDUHD
      4/HWPHWDNH\RXWRWKHILUVWFROXPQRQSDJH        JHQGHUDVVLJQPHQWQRWWKHELRORJLFDOVH[ZKLFK\RX
      DQGWKHUH VDKHDGLQJWKHUHWKDWVD\VFRQVLGHULQJVH[           PHQWLRQHGEHIRUH$QGJHQGHULVQRWQHFHVVDULO\DZD\
      DQGRUJHQGHUDVYDULDEOHVLQKHDOWKDQGGLVHDVH               WKDW,ZRXOGQHFHVVDULO\WKLQNLVDVFLHQWLILFDOO\
     'R\RXVHHWKDW"                                      SUHFLVHZD\WRSODFHWKDWLI\RX UHWDONLQJDERXWWKLV
     $1R:KDWSDJHDUH\RXRQ"                            SDUWLFXODUVWDWHPHQW
     4                                               %<$77251(<%522.6
     $<HV                                                  4,VLW\RXUEHOLHIWKDWWKH(QGRFULQH6RFLHW\LQ
     4ILUVWFROXPQWKHKHDGLQJWRZDUGVWKHERWWRP      WKLVGRFXPHQWLQWKHWHUPVZRPHQDQGPHQLVUHIHUULQJWR
     RIWKHSDJH                                                   JHQGHULGHQWLW\RWKHUWKDQELRORJLFDOZKDWGRHVWKH
     $2ND\                                                 ZRUGSK\VLRORJLFDOPHDQWR\RXDVDGRFWRU"
     4$QGKHUHWKH\ UHVSHFLILFDOO\PHQWLRQLQJVH[RQ       $7KHPHWKRGRIIXQFWLRQDQGLQWHUDFWLRQRIDOO
     RQHKDQGDQGJHQGHURQWKHRWKHU'R\RXVHHWKDW"            WKHSDUWVRIWKHERG\
     7KLVSDUDJUDSKEHJLQVTXRWHZRPHQDQGPHQGLIIHULQ          4,WUHIHUVWRELRORJ\QRWWRWKHVWDWHPHQWRI
     PDQ\SK\VLRORJLFDODQGSV\FKRORJLFDOYDULDEOHV                PLQGRULGHQWLW\
     'R\RXVHHWKDW"                                      &RUUHFW"
     $<HV                                                  $77251(<%25(//,2EMHFWLRQWRIRUP
     4'R\RXEHOLHYHWKDWWREHDVFLHQWLILFDOO\            7+(:,71(66,ZRXOGMXVWDJUHHZLWK
     DFFXUDWHVWDWHPHQW"                                            WKDWVWDWHPHQW


                                                     3DJH                                                         3DJH
      $77251(<%25(//,2EMHFWLRQIRUP              %<$77251(<%522.6
      7+(:,71(66,WKLQNLI,ZHUHWRDGG           4/HWPHDVN\RXWRWXUQWRSDJH
      W\SLFDOLW VVD\LQJWKHUHLVYDULDELOLW\                      47KHILUVWIXOOSDUDJUDSKEHJLQVTXRWHGHVSLWH
      %<$77251(<%522.6                                             WKHIDFWWKDWELRORJLFDOVH[LVVXFKDIXQGDPHQWDO
      4:HOOLWLVVD\LQJVSHFLILFDOO\WKDWZRPHQDQG         VRXUFHRILQWHUHVWVSHFLILFYDULDWLRQLQDQDWRP\DQG
      PHQGLIIHUIURPHDFKRWKHULQSK\VLRORJLFDODQG                 SK\VLRORJ\PXFKEDVLFDQGFOLQLFDOVFLHQFHKDVWHQGHGR
      SV\FKRORJLFDOZD\V                                             IRFXVVWXGLHVRQRQHVH[W\SLFDOO\PDOHFORVHGTXRWH
      &RUUHFW"                                               'R\RXVHHWKDWODQJXDJH"
      $77251(<%25(//,2EMHFWLRQIRUP              $,GR
     7+(:,71(667KDW VZKDWLWVD\V              4$QGGR\RXXQGHUVWDQGZKDWLVPHDQWE\
     %<$77251(<%522.6                                            LQWUDVSHFLILFYDULDWLRQ"/HWPHRIIHUDVXJJHVWLRQ'R
     4$QGGR\RXEHOLHYHWKDWWREHDVFLHQWLILFDOO\        \RXXQGHUVWDQGLWWRUHIHUWRYDULDWLRQVZLWKLQWKH
     WUXHVWDWHPHQW"                                                KXPDQVSHFLHV"
     $77251(<%25(//,2EMHFWLRQIRUP             $77251(<%25(//,2EMHFWLRQWRIRUP
     7+(:,71(66$JDLQ\RXNQRZ\RXKDYH         7+(:,71(66,WKLQN\RXNQRZDJDLQLQ
     WRLQWHUSUHWWKHVHLQWKHLUFRQWH[WRIZKDWWKH\DUH           FRQWH[W,ZRXOGQHHGWRLQWUDVSHFLILFLQWUDVSHFLILF
     VD\LQJ6WDWHPHQWV                                           FRXOGEHEHWZHHQPHDQG\RX,VRODWHGLQWKLVRQH
     %<$77251(<%522.6                                            VHQWHQFH,ZRXOGQHHGWRWDNHDPRPHQWWRVHHLILW
     4'R\RXEHOLHYHLWWREHWUXHRUIDOVHWKDWZRPHQ      EHWWHUH[SODLQVLWLI,ZHUHWRUHDGIXUWKHU
     DQGPHQGLIIHULQPDQ\SK\VLRORJLFDODQGSV\FKRORJLFDO         %<$77251(<%522.6
     YDULDEOHV"                                                     4'R\RXGLVDJUHHRUDJUHHWKDWELRORJLFDOVH[LV
     $77251(<%25(//,2EMHFWLRQIRUP             DIXQGDPHQWDOVRXUFHRIYDULDWLRQLQDQDWRP\DQG
     7+(:,71(66$OOSHRSOHDUHGLIIHUHQW         SK\VLRORJ\ZLWKLQWKHKXPDQVSHFLHV"
     %<$77251(<%522.6                                            $77251(<%25(//,2EMHFWLRQIRUP


                                                                                            3DJHVWR
                Case: 22-5807
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                                                    3DJH                                                          3DJH
      7+(:,71(66, PVRUU\,JRW                 $2ND\
      VLGHWUDFNHGLQP\EUDLQ&RXOG\RXSOHDVHUHDGWKH            4,QWKHER[DWWKHWRSLWVD\VDQG,TXRWHVH[
      TXHVWLRQ"                                                      LVDELRORJLFDOFODVVLILFDWLRQLQFOXGHGLQRXU'1$
      %<$77251(<%522.6                                            0DOHVKDYH;<FKURPRVRPHVDQGIHPDOHVKDYH;;
      4<HV,FDQ'R\RXDJUHHRUGLVDJUHHWKDW            FKURPRVRPHV6H[PDNHVXVPDOHRUIHPDOH'R\RXVHH
      ELRORJLFDOVH[LVWKHIXQGDPHQWDOVRXUFHRIYDULDWLRQLQ       WKDWODQJXDJH"
      DQDWRP\DQGSK\VLRORJ\ZLWKLQWKHKXPDQFHDVHVSHFLHV"         $,GR
      $77251(<%25(//,2EMHFWLRQIRUP             4$QGLWFRQWLQXHVHYHU\FHOOLQ\RXUERG\KDVD
      7+(:,71(667KHUHLVORWVRIRWKHU            VH[PDNLQJXSWLVVXHVDQGRUJDQVOLNH\RXUVNLQEUDLQ
     SDUWVRISK\VLRORJ\WKDWDUHFRPSOHWHO\XQUHODWHGWR          KHDUWDQGVWRPDFK(DFKFHOOLVHLWKHUPDOHRUIHPDOH
     \RXUUHSURGXFWLYHV\VWHPWKDWLVPRUHIXQGDPHQWDO            GHSHQGLQJRQZKHWKHU\RXDUHDPDQRUDZRPDQFORVHG
     %<$77251(<%522.6                                           TXRWH
     4'U$GNLQVGR\RXDJUHHRUGLVDJUHHWKDW            'R\RXVHHWKDW"
     ELRORJLFDOVH[LVDIXQGDPHQWDOVRXUFHRIYDULDWLRQLQ        $,GR
     DQDWRP\DQGSK\VLRORJ\ZLWKKXPDQVSHFLHV"                    4$QGWKHQLWFRQWLQXHVXQGHUWKDWZLWKD
     $77251(<%25(//,2EMHFWLRQIRUP            GHILQLWLRQRIJHQGHU6RP\TXHVWLRQLVEHJLQV
     7+(:,71(66,WLVRQHRIWKHYDULDEOHV       KHUHWKHRSHQLQJVWDWHPHQWLQWKLV1,+SXEOLFDWLRQVD\V
     ZLWKLQYDULDWLRQV                                            WKDWVH[LVDELRORJLFDOFODVVLILFDWLRQ'R\RXDJUHH
     $77251(<%522.6/HWPHPDUNDV([KLELW       RUGLVDJUHHZLWKWKDW"
     DQLQIRJUDSKLFLI,FDQXVHWKDWWHUP([KLELW"         $77251(<%25(//,2EMHFWLRQIRUP
     9,'(2*5$3+(5([FXVHPH&RXQVHO<RX        7+(:,71(66<RXNQRZWKHUHLVDZKROH
     FXWRXWULJKWDIWHU([KLELW,GLGQ WKHDUZKLFK           OLWHUDWXUHRQRQWKLVWKHGLIIHUHQFHVLQLQ
     GRFXPHQWWKDWZDV                                            VH[,VRELRORJLFDODVRSSRVHGWRDQRWKHUW\SHRI
     $77251(<%522.6,WLVWDEDQGLWLVD      FODVVLILFDWLRQ,DJUHHZLWKWKDWVWDWHPHQW


                                                    3DJH                                                          3DJH
      RQHSDJHLQIRJUDSKLFLI,PD\SXWRXWE\WKH1DWLRQDO        %<$77251(<%522.6
      ,QVWLWXWHRI+HDOWKWLWOHG+RZ6H[DQG*HQGHU,QIOXHQFH        4,WVD\VDOLWWOHIXUWKHUDORQJWKDWTXRWH
      6H[DQG'LVHDVH                                               HYHU\FHOOLQ\RXUERG\KDVDVH[FORVHGTXRWH'R\RX
                                       DJUHHRUGLVDJUHHZLWKWKDW"
       :KHUHXSRQ$GNLQV([KLELW1,+               $77251(<%25(//,2EMHFWLRQWRWKHIRUP
      6H[*HQGHU,QIRJUDSKLFZDVPDUNHGIRU         7+(:,71(66,DJUHH$QGHDFKFHOOFDQ
      LGHQWLILFDWLRQ                                EHGLIIHUHQW
                                       %<$77251(<%522.6
      %<$77251(<%522.6                                            4$UH\RXVD\LQJWKDWZLWKLQDQLQGLYLGXDOD
     4$QGILUVWOHWPHDVN'U$GNLQVDUH\RX            VSHFLILFLQGLYLGXDOHDFKFHOOFDQKDYHDGLIIHUHQWVH["
     IDPLOLDUZLWKWKH1DWLRQDO,QVWLWXWHRI+HDOWKDVDQ          $<HV
     RUJDQL]DWLRQV"                                                47KLV1,+SXEOLFDWLRQWHOOVXVWKDWTXRWHHDFK
     $<HV                                                 FHOOLVHLWKHUPDOHRUIHPDOHFORVHGTXRWH$QG,WDNH
     47KDWLVDJRYHUQPHQWUHVHDUFKLQVWLWXWH"             LW\RXVLPSO\EHOLHYHWKH1,+LVZURQJDERXWWKDW"
     $<HV                                                 $77251(<%25(//,2EMHFWLRQIRUP
     4$QGPDMRUJUDQWPDMRUVRXUFHRIJUDQWV          7+(:,71(66,WKLQNWKDWWKHQXDQFHV
     JUDQWPDNLQJLQWKHKHDOWKVFLHQFHV"                          DUHVRPHWKLQJWKDW\RXFDQ WSXEOLVKLQDRQHSDJH
     $<HV                                                 GRFXPHQWDWLRQZKHQWKH\ UHQRWWDONLQJDERXWDQHQWLUH
     4$QGDUH\RXZHUH\RXDZDUHWKDWLWKDV           SRSXODWLRQ
     ZLWKLQLWDQ2IILFHRI5HVHDUFKRQ:RPHQ V+HDOWK"            %<$77251(<%522.6
     $1R                                                  48QGHUWKLVLQLWLDOER[LVDKHDGLQJWKDWVD\V
     4'R\RXVHHWKDWWKLVLVSXEOLVKHGE\WKH             H[DPSOHVRIVH[DQGJHQGHULQIOXHQFHV'R\RXVHHWKDW"
     1DWLRQDO,QVWLWXWHRI+HDOWK2IILFHRI5HVHDUFKRQ           $,GR
     :RPHQ V+HDOWK"                                               4$QGLWKDVYDULRXVFDWHJRULHVRIWKLQJVWKDWPD\


                                                                                           3DJHVWR
                Case: 22-5807
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                                                     3DJH                                                         3DJH
      EHLQIOXHQFHGRQRQHHQGE\VH[ZKLFKLVGHILQHGLQ            4$QGLIZHXVHWKHWHUPVXEVWLWXWHWKHWHUP
      WKLVGRFXPHQWDVDELRORJLFDOFODVVLILFDWLRQDQG               IHPDOHVIRUZRPHQDQGJLUOVDQGVD\IHPDOHVDUHPRUH
      JHQGHU'R\RXVHHWKDWVWUXFWXUHRIWKLVGRFXPHQW"            OLNHO\WRLQMXUHWKHLUNQHHVZKHQSOD\LQJVSRUWVGR\RX
      $77251(<%25(//,2EMHFWLRQIRUP              EHOLHYHWKDWWREHDVFLHQWLILFDOO\DFFXUDWHVWDWHPHQW"
      7+(:,71(66<HDK                              $77251(<%25(//,2EMHFWLRQWRIRUP
      %<$77251(<%522.6                                             7+(:,71(66<RXKDYHWROHDYHVRPH
      4$QGLWVD\VLIZHJRGRZQWRFDUGLRYDVFXODUULVN       URRP$JDLQLQPHGLFLQHZH UHQRWOLNHSHUFHQW
      RQHRIWKHGLIIHUHQFHVWKDWLVLGHQWLILHGDVEDVHGRQ           %XW,DJUHHWKDWSRUWLRQVRIIHPDOHVWKDWDUHW\SLFDOLQ
      VH[LVWKDWTXRWHEORRGYHVVHOVLQDZRPDQ VKHDUWDUH        UHVHDUFKKDYHEHHQUHSRUWHGWRKDYHPRUHIUHTXHQWNQHH
     VPDOOHULQGLDPHWHUDQGPXFKPRUHLQWULFDWHO\EUDQFKHG         LQMXULHV
     WKDQWKRVHRIDPDQFORVHGTXRWH'R\RXVHHWKDW"           %<$77251(<%522.6
     $8QGHUFDUGLRYDVFXODUULVN\HDK2ND\               42ND\
     4$QGWKH1,+JLYHVWKLVDVDQH[DPSOHRID             /HWPHDVN\RXWRILQG\RXUUHSRUW([KLELW
     SK\VLFDOPHDVXUDEOHELRORJLFDOGLIIHUHQFHWKDWGHSHQGV         DQGOHW VWXUQWRSDUDJUDSK$QGWKHUH\RXZURWH
     RQELRORJLFDOVH[                                             TXRWHDSHUVRQ VJHQGHULGHQWLW\UHIHUVWRDSHUVRQ V
     &RUUHFW"                                              LQQHUVHQVHRIEHORQJLQJWRDSDUWLFXODUJHQGHUVXFKDV
     $77251(<%25(//,2EMHFWLRQIRUP             PDOHRUIHPDOH$QG\RXFRQWLQXHHYHU\RQHKDVDJHQGHU
     7+(:,71(66:HOODFWXDOO\WKHZRUGV          LGHQWLW\FORVHGTXRWH'R\RXVHHWKDWODQJXDJH"
     WKH\ UHXVLQJDUHJHQGHUJHQGHUZRUGVQRWWKHZRUGV       $,GR
     ZHZRXOGXVHIRUVH[\RXNQRZIHPDOHRUPDOHRUD            4/HWPHGLUHFW\RXUDWWHQWLRQWRWKH(QGRFULQH
     YDULDWLRQLQEHWZHHQ6R,ZRXOGLI,ZHUHHGLWLQJ        6RFLHW\JXLGHOLQHVIURPZKLFKLV([KLELW$QG
     WKLVGRFXPHQW,SUREDEO\ZRXOGQ WKDYHXVHGWKHZRUG          ZH UHJRLQJWRFRPHEDFNLI\RXFDQPDNHDVWDFNRI
     ZRPDQ                                                         PRVWRIWKHVHEXWWKHJXLGHOLQHVZHZLOOFRPHEDFN
     %<$77251(<%522.6                                            WRZLWKVRPHIUHTXHQF\%XWZH UH


                                                     3DJH                                                         3DJH
      4<RXZRXOGKDYHVDLGDIHPDOH"                          $.HHSLQJLWRQWRS"
      $7\SLFDOIHPDOH                                        4NHHSLQJLWRQWRS
      4%HFDXVHZKDWKRZWKHEORRGYHVVHOVLQ\RXU         $2ND\
      KHDUWDUHVWUXFWXUHGGHSHQGRQ\RXUVH[QRWRQ\RXU            4$QGWKHUH,ZDQWWRFDOO\RXUDWWHQWLRQWRSDJH
      JHQGHULGHQWLW\$P,FRUUHFW"                                 
      $77251(<%25(//,2EMHFWLRQIRUP              $
      7+(:,71(667KHUHLVPDQ\YDULDEOHV            45LJKW$QGLQWKHVHFRQGFROXPQWKHUH VD
      WKDWFDQDIIHFWWKHVHWKLQJVDQGZKDWWKDWLVRQHRI        VHFWLRQKHDGHGLQWURGXFWLRQ$QGLWEHJLQVZLWKD
      WKHP                                                           KLVWRULFDOUHYLHZRIWKHFRQFHSWRIJHQGHU$QG, P
     %<$77251(<%522.6                                            JRLQJWRDVN\RXDTXHVWLRQEHJLQQLQJZLWKWKHODQJXDJH
     47R\RXUNQRZOHGJHJHQGHULGHQWLW\LVQRWD           WKDWLVWZRLQFKHVIURPWKHERWWRPWZRDQGDKDOI
     YDULDEOHWKDWDIIHFWVKRZWKHEORRGYHVVHOVLQRQH V           LQFKHVIURPWKHERWWRPWKDWEHJLQVWKHVHHDUO\
     KHDUWDUHVWUXFWXUHGGRHVLW"                                 UHVHDUFKHUV6RLI\RXZDQWWRNLQGRIJOLGHWKURXJK
     $77251(<%25(//,2EMHFWLRQIRUP             ZKDWFRPHVEHIRUHWKDWOHWPHNQRZDQG, OOEHJLQP\
     7+(:,71(661RWWKDW, PDZDUHRI            TXHVWLRQLQJ
     %<$77251(<%522.6                                            $<HV, OOORRNRYHULW7KDQN\RX
     48QGHUWKHODVWLWHPKHUHLVNQHHDUWKULWLV'R       ,KDYHUHDGWKDWVHFWLRQ
     \RXVHHWKDWKHDGLQJ"                                          4,ZDQWWRFDOO\RXUDWWHQWLRQWRDVHQWHQFH
     $<HV                                                  ZKLFKP\XQGHUVWDQGLQJLVFRQWUDVWLQJDJDLQVWRUWKH
     4, PVXUHZH OOKDYHWKHVDPHWHUPLQRORJ\              KLVWRU\WKDWEHJLQVTXRWHVRPHH[SHULHQFHWKHPVHOYHV
     GLVFXVVLRQEXWWKHODQJXDJHWKHUHVD\VTXRWHZRPHQ          DVKDYLQJERWKDPDOHDQGIHPDOHJHQGHULGHQWLW\ZKHUHDV
     DQGJLUOVDUHPRUHOLNHO\WRLQMXUHWKHLUNQHHVZKHQ           RWKHUVFRPSOHWHO\UHQRXQFHDQ\JHQGHUFODVVLILFDWLRQ
     SOD\LQJVSRUWVFORVHGTXRWH'R\RXVHHWKDWODQJXDJH"       FORVHGTXRWH'R\RXVHHWKDWODQJXDJH"
     $,GR                                                 $,GR


                                                                                            3DJHVWR
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                                                     3DJH                                                          3DJH
      4$QGLQ\RXUH[SHUWRSLQLRQLVWKDWDQDFFXUDWH        $77251(<%522.6/HWPHPDUNDV([KLELW
      VWDWHPHQW"                                                      ZKDWLVWDEDQGWKDWLVDRQHSDJHVWDWHPHQWIURP
      $77251(<%25(//,2EMHFWLRQIRUP              D:RUOG+HDOWK2UJDQL]DWLRQ VZHEVLWHWLWOHG*HQGHUDQG
      7+(:,71(66,QP\FOLQLFDOH[SHULHQFH,        +HDOWK
      KDYHPHWLQGLYLGXDOVZKRDUHLGHQWLI\DVDJHQGHU            
      ZKLFKZRXOGLQP\PLQGEHVLPLODUWRWKLVGHILQLWLRQ            :KHUHXSRQ$GNLQV([KLELW:RUOG
      EXW,W\SLFDOO\DVNWKHSDWLHQWZKDWWKHLUJHQGHUPHDQV         +HDOWK2UJDQL]DWLRQ:HESDJHZDVPDUNHG
      WRWKHP                                                        IRULGHQWLILFDWLRQ
      %<$77251(<%522.6                                             
     4:HOOGR\RXKDYHDQ\RSLQLRQDVWRZKHWKHUVRPH      7+(:,71(667KDQN\RX
     LQGLYLGXDOVH[SHULHQFHERWKDPDOHDQGIHPDOHJHQGHU           %<$77251(<%522.6
     LGHQWLW\"                                                      4$UH\RXIDPLOLDUZLWKWKH:RUOG+HDOWK
     $77251(<%25(//,2EMHFWLRQIRUP             2UJDQL]DWLRQDVDQRUJDQL]DWLRQ"
     7+(:,71(66,KDYHSDWLHQWVWKDWGR           $,DP
     WKDW\HV                                                     4$QGGR\RXFRQVLGHUWKH:RUOG+HDOWK
     %<$77251(<%522.6                                            2UJDQL]DWLRQWREHJHQHUDOO\DUHVSHFWHGVRXUFHRI
     4$QG,WKLQN\RXVDLGWKDW,GRQ WZDQWWR         LQIRUPDWLRQRQPHGLFDODQGKHDOWKWRSLFV"
     SXWVZRUGVLQ\RXUPRXWK'R\RXKDYHDQRSLQLRQ              $77251(<%25(//,2EMHFWLRQWRIRUP
     ZKHWKHUVRPHLQGLYLGXDOVUHSRUWQRWKDYLQJDQ\JHQGHU         7+(:,71(660\JHQHUDOH[SHULHQFHVR
     QRWILWWLQJDQ\JHQGHUFODVVLILFDWLRQ"                         IDUWRGDWHLVWKH\ UHUHOLDEOH
     $77251(<%25(//,2EMHFWLRQIRUP             %<$77251(<%522.6
     7+(:,71(66,GRKDYHSDWLHQWVWKDW           4:HOO,ZLOOUHSUHVHQWWR\RXWKDWWKLVGRFXPHQW
     PDWFKWKDWGHVFULSWLRQ                                        FDPHRIIRID:RUOG+HDOWK2UJDQL]DWLRQZHEVLWHDQGWKH
     %<$77251(<%522.6                                            ZHEDGGUHVVLVDWWKHERWWRPRIWKHSDJH,VHHRQWKH


                                                     3DJH                                                          3DJH
      4$QGWKLVJRHVRQWKHQH[WVHQWHQFHWRVD\             FRS\LQIURQWRI\RX, OOVWDQGE\P\UHSUHVHQWDWLRQ
      TXRWHWKHUHDUHDOVRUHSRUWVRILQGLYLGXDOV                    RIZK\PLQHKDVLW
      H[SHULHQFLQJDFRQWLQXRXVDQGUDSLGLQYROXQWDU\                 $2ND\
      DOWHUQDWLRQEHWZHHQDPDOHDQGIHPDOHLGHQWLW\FORVHG          47KLVGRFXPHQWWLWOHG*HQGHUDQG+HDOWKEHJLQV
      TXRWH                                                          JHQGHUUHIHUVWRWKHFKDUDFWHULVWLFVRIZRPHQPHQ
      'R\RXVHHWKDW"                                       JLUOVDQGER\VWKDWDUHVRFLDOO\FRQVWUXFWHGFORVHG
      $,GR                                                  TXRWH'R\RXVHHWKDW"
      4$QGGR\RXEHOLHYHWKDWWREHDQDFFXUDWH              $,GR
      VWDWHPHQW"                                                      4$QGLVWKDWDGHILQLWLRQRIJHQGHUSHUVHWKDW V
     $77251(<%25(//,2EMHFWLRQIRUP             FRQVLVWHQWZLWKKRZ\RXDUHXVHGWRVHHLQJWKHWHUP
     7+(:,71(66,KDYHQRWKDGWKDW               XVHG"
     FOLQLFDOH[SHULHQFH,ZRXOGKDYHWRUHO\RQWKH\RX         $77251(<%25(//,2EMHFWLRQIRUP
     NQRZPHGLFDOUHSRUWZLWKWKDWLQSDUWLFXODUDQG,            7+(:,71(666R\RXNQRZVRFLDO
     ZRXOGSUREDEO\ORRNDWWKHHYLGHQFHWKDWZDVDYDLODEOH         FRQVWUXFWVFKDQJHUHJXODUO\VR,ZRXOGVD\WKDW\RX
                                                                 NQRZWKDWZRXOGQ WEHFRPSOHWHO\LQFOXVLYHRIFXUUHQW
     %<$77251(<%522.6                                            VRFLDOO\FRQVWUXFWHGJHQGHUVLQP\H[SHULHQFH
     4:HOO                                              %<$77251(<%522.6
     $SULRUWRPDNLQJDGHFLVLRQ                       4:HOOOHWPHGLUHFWZK\GRQ W\RXUHDGWKDW
     4GR\RXDVDSUDFWLWLRQHUFRQVLGHULW              ZKROHILUVWSDUDJUDSKZKLFKLVMXVWWKUHHVHQWHQFHV
     UHDVRQDEOHWRUHO\RQWKDWDVVHUWLRQLQWKLV              EHFDXVH,WKLQNWKH:RUOG+HDOWK2UJDQL]DWLRQUDLVHV
     (QGRFULQH6RFLHW\VWDWHPHQWJXLGHOLQH"                         H[DFWO\WKDWSRLQW6R, OODVN\RXWRUHDGWKDW"
     $77251(<%25(//,2EMHFWLRQIRUP             $6XUH6XUH
     7+(:,71(66,ZRXOGUHO\RQLWWREH          
     VRPHWKLQJ,VKRXOGDWOHDVWFRQVLGHU                           :+(5(8321:,71(665(9,(:6'2&80(17


                                                                                            3DJHVWR
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                                                   3DJH                                                       3DJH
                                      TXHVWLRQLVDV\RXXQGHUVWDQGLW
      7+(:,71(662ND\                            $,WKLQNWKDW\RXKDYHWRDOVRLQFOXGH
      %<$77251(<%522.6                                           &28575(3257(5([FXVHPH,QHHGWR
      46RH[WHQGLQJLQWRWKDWSDUDJUDSKWKDW               LQWHUUXSW([FXVHPH, PVRUU\WRLQWHUUXSWEXW
      WKUHHVHQWHQFHSDUDJUDSKMXVWWKDWH[SODQDWLRQRIWKH        &RXQVHO\RXUIXOOTXHVWLRQGLGQ WFRPHWKURXJKRQWKLV
      FRQFHSWRIJHQGHUILWZLWKKRZ\RXDUHXVHGWRVHHLQJ         HQG
      WKHWHUPXVHGLQ\RXUSURIHVVLRQDOH[SHULHQFH"                $77251(<%522.6, OOUHDVNLW3DUGRQ
      $77251(<%25(//,2EMHFWLRQIRUP            PH
      7+(:,71(666RLQUHDGLQJWKDWP\           $77251(<%25(//,$FWXDOO\ZK\GRQ WZH
     XQGHUVWDQGLQJRIZKDWWKH\DUHXVLQJWKRVHVSHFLILF          MXVWDGGUHVVRQHKRXVHNHHSLQJPDWWHU:RXOG\RXEHDEOH
     ZRUGVPHQZRPHQJLUOVDQGER\VDUHH[DPSOHV7KH\        WRLGHQWLI\IRUWKHUHFRUGWKH85/WKDWDSSHDUVRQ\RXU
     GRQ WFRPPHQWRQRWKHUVRFLHWLHV-XVWVRLQWKDW       FRS\DQGZKHWKHUWKHUHLVDGDWHRIWKHGRFXPHQWRUGDWH
     DVVHVVPHQW\HV                                             RIDFFHVVMXVWVRZHKDYHLWRQWKHUHFRUG"
     %<$77251(<%522.6                                          $77251(<%522.67KHUHLVQRGDWHRI
     4$OOULJKW                                          DFFHVV7KDWDFFHVVLVZLWKLQWKHODVWWZRPRQWKV7KH
     ,IZHVNLSGRZQWRWKHWKLUGSDUDJUDSKLW           DGGUHVVLV
     EHJLQVJHQGHULQWHUDFWVZLWKEXWLVGLIIHUHQWIURPVH[      ZZZZKRLQWKHDOWKWRSLFVJHQGHUWDEHTXDOVWDEXQGHUOLQH
     ZKLFKUHIHUVWRWKHGLIIHUHQWELRORJLFDODQG                 RQH
     SV\FKRORJLFDOFKDUDFWHULVWLFVRIIHPDOHVPDOHVDQG          $77251(<%25(//,7KDQN\RX
     LQWHUVH[SHUVRQVVXFKDVFKURPRVRPHVKRUPRQHVDQG          $77251(<%522.6, PJODGLWZDVQ WRQH
     UHSURGXFWLYHRUJDQVFORVHGTXRWH'R\RXVHHWKDW          RIWKHVHIRXUOLQHRQHV
     ODQJXDJH"                                                    %<$77251(<%522.6
     $,ZRXOGOLNHWRUHDGLWWRRWKRXJKLI\RX        4$QG,ZLOOUHDVNP\TXHVWLRQ
     GRQ WPLQG                                                  $2ND\


                                                   3DJH                                                       3DJH
      46XUH                                                47KHTXHVWLRQLV'U$GNLQVLVLWFRQVLVWHQW
      $<HDK2ND\,KDYHUHDGLW                        ZLWK\RXUXQGHUVWDQGLQJWKDWJHQGHULGHQWLW\UHIHUVWRD
      46RILUVWEDFNLQJXSWRWKHVWDWHPHQWRSHQLQJ       SHUVRQ VLQGLYLGXDOH[SHULHQFHRIJHQGHUZKLFKLVLQ
      SDUDJUDSKWKDWJHQGHULVVRFLDOO\FRQVWUXFWHGGR\RX        WXUQDVRFLDOFRQVWUXFW"
      EHOLHYHWKDWWREHDQDFFXUDWHVWDWHPHQW"                     $77251(<%25(//,2EMHFWLRQIRUP
      $77251(<%25(//,2EMHFWLRQIRUP            7+(:,71(667KDWGRHVQ WVRXQGWRPHWR
      7+(:,71(66*HQGHULVDVRFLDO               EHDIXOOH[SODQDWLRQ-XVWGRHVQ WVRXQGDFFXUDWHWR
      FRQVWUXFW\HV                                               PH, PKDYLQJDKDUGWLPH
      %<$77251(<%522.6                                           %<$77251(<%522.6
     4$QGWKHQLQWKHWKLUGSDUDJUDSKLWVWDWHVWKDW      47KHQOHWPHQRWWDNHPRUHWLPHRQWKDW
     JHQGHULGHQWLW\UHIHUVWRDSHUVRQ VGHHSO\IHOW             $2ND\
     LQWHUQDODQGLQGLYLGXDOH[SHULHQFHRIJHQGHU'R\RX        4<RXZRXOGDJUHHWKDWJHQGHULVDVRFLDO
     VHHWKDW"                                                    FRQVWUXFWWKDWFDQFKDQJHRYHUWLPH
     $,GR                                               $P,ULJKW"
     46RJHQGHULGHQWLW\UHIHUVWRDQLQGLYLGXDO V        $77251(<%25(//,2EMHFWLRQIRUP
     H[SHULHQFHLQUHODWLRQWRJHQGHUZKLFKLVDVRFLDO          7+(:,71(66*HQGHUVRLW VDVRFLDO
     FRQVWUXFW                                                   FRQVWUXFWLW VWUXH*HQGHULV\RXNQRZKRZ\RX
     5LJKW"                                              ,PHDQLW VFRPSOLFDWHG,WLQYROYHVPRUHWKLQJVWKDQ
     $77251(<%25(//,2EMHFWLRQIRUP           DQGVR\RXNQRZLI\RX UHWDONLQJDERXWJHQGHU
     7+(:,71(66,VHHLWDQG,ZRXOGDVN       H[SUHVVLRQWKDW VGLIIHUHQW6RPHRQH VJHQGHUDVWKH\
     \RXWRUHDGWKHTXHVWLRQRQHPRUHWLPH,MXVWZDQWWR      XQGHUVWDQGLWIRUWKHLUJHQGHULGHQWLW\LVGLIIHUHQW,
     PDNHVXUH, PDQVZHULQJ\RXDFFXUDWHO\                      PHDQ,KDYHSDWLHQWVZKRDUHDVVLJQHGDSDUWLFXODUVH[
     %<$77251(<%522.6                                          DQGWKHIDPLO\DQGWKHSK\VLFLDQVDVVLJQDJHQGHUWKDW
     4$V,WKLQN,VHHLQWKLVGRFXPHQWUHDOO\WKH        LVPRUHW\SLFDOO\FRUUHODWHGZLWKWKDWVH[$QGWKHQ


                                                                                        3DJHVWR
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                                                   3DJH                                                         3DJH
      RYHUWLPHWKRVHLQGLYLGXDOVVRPHWLPHVGRQ WLGHQWLI\            WRIRUP
      ZLWKWKDWJHQGHUDQGWKH\PD\FKDQJHWKHLUJHQGHU              7+(:,71(667KDWLVKRZ,UHFDOOWKDW
      PDUNHUIRUH[DPSOHEHFDXVHWKHLULGHQWLW\UHDOO\MXVW         %<$77251(<%522.6
      GRHVQ WPDWFKZKDWZHDVVLJQHGWKHPDWELUWK, PQRW          43DUDJUDSKULJKW"
      VXUHKRZWRJLYHDFOHDUHUDQVZHU, PWU\LQJ                 $<HDK,ZDQWWRUHVHUYHWKHULJKWWRORRNDWLW
      %<$77251(<%522.6                                             WREHFHUWDLQ7KDWVRXQGVFRUUHFWWRPHDWWKLV
      4:HOOVRLIDQLQGLYLGXDOFRPHVLQWR\RXURIILFH       PRPHQW
      DQGDVVHUWVDJHQGHULGHQWLW\RIOHW VVD\PDQRU             4$QGZKDWGRHVFOLQLFDOO\VLJQLILFDQWGLVWUHVV
      ERWKHLWKHURQHRIWKRVHKRZFDQDFOLQLFLDQYHULI\           WKDWLPSDLUVLPSRUWDQWDUHDVRIIXQFWLRQLQJORRNOLNHLQ
     ZKHWKHUWKDWLQGLYLGXDOLVDFFXUDWHO\XQGHUVWDQGLQJKLV        DFKLOG"
     RZQRUWKHLURZQVXEMHFWLYHIHHOLQJV"                          $77251(<%25(//,2EMHFWLRQIRUP
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     7+(:,71(66$QG\RXNQRZDJHQGHU            GHSHQGVRQZKDWWKH\DUHFRPLQJLQZLWK,PHDQIRU
     DJDLQLVVRPHWKLQJWKDW VDVVLJQHGDWELUWKDQGLWLV          VRPHRIP\SDWLHQWV\RXNQRZZKRDUH\RXNQRZ
     ZKDW\RXZRUNZLWKLQ\RXUOLIHDQGVR\RXNQRZ,            K\SHUWK\URLGIRUH[DPSOHWKHLUEUDLQ VUXQUHDOO\
     ZRXOGDVNWKHPDQGWKH\FRXOGWHOOPHKRZWKH\ZHUH            IDVWWKH\FDQ WIRFXVGXULQJVFKRRODQGWKDWZRXOGEH
     SURFHHGLQJLQOLIHZLWKUHJDUGWRWKHLUJHQGHU                 LPSDLUPHQWLQWKHLUDELOLW\WRGRWKHLUPDLQMREZKLFK
     EHKDYLRUV7KDWZRXOGEHKRZ,ZRXOGSUREDEO\DVVHV           LVWREHLQVFKRRODQGOHDUQ6RWKDW VRQHDUHDZKHUH
     WKHLUJHQGHU                                                  \RXFDQKDYHVRPHLPSDLUPHQWLQWKHLULWYDULHVIURP
     %<$77251(<%522.6                                            SDWLHQWWRSDWLHQWDQGLQHDFKWKLQJZH UHWDONLQJ
     4+RZGR\RXDVFHUWDLQZKHWKHUWKDWLQGLYLGXDOZKR      DERXW
     FODLPVLGHQWLW\RIPDQRUERWKLVWHOOLQJ\RXWKH             %<$77251(<%522.6
     FOLQLFLDQWKHWUXWK"                                          47KHH[DPSOH\RXMXVWJDYHZDVLPSDLUPHQW
     $77251(<%25(//,2EMHFWLRQIRUP             UHVXOWLQJIURPDK\SHUWK\URLGFRQGLWLRQ


                                                   3DJH                                                         3DJH
      7+(:,71(666RLQJHQHUDO\RXNQRZ          $P,FRUUHFW"
      LQSHGLDWULFVZHKDYHDSDUHQWDOUHSRUWDQGLWGHSHQGV         $&RUUHFW
      RQWKHFOLQLFDOVLWXDWLRQ:HPD\RUPD\QRWKDYH              4:KDW,DVNHGZDVLPSDLUPHQWGXHWR
      DQRWKHUKHDOWKSURYLGHU VUHSRUWRUDPHQWDOKHDOWK             DWWULEXWDEOHWRZKDWJHQGHUG\VSKRULDORRNVOLNHLQD
      SURYLGHU VUHSRUW,IZHKDYHTXHVWLRQVZHVWDUWWR           FKLOG
      GLJGHHSHUDQGORRNDWRWKHUDUHDV                             $2K
      %<$77251(<%522.6                                             $77251(<%25(//,,GRQ WZDQWWR
      4/HWPHFDOO\RXUDWWHQWLRQWRSDUDJUDSKLQ          LQWHUUXSW,WKLQNWKHUHPD\KDYHEHHQDPLVUHDGLQJRI
      \RXUH[SHUWUHSRUW([KLELW$QGWKHUH\RXUHIHUWR          WKHODQJXDJHLQWKHSDUDJUDSKDQG,MXVWZDQWWRPDNH
     '609GHILQLWLRQRIJHQGHUG\VSKRULD                          VXUHWKHUHFRUGLVFRUUHFWWKDWWKHILQDOVHQWHQFHRI
     'R\RXVHHWKDW"                                      WKDWSDUDJUDSKVD\VLQRUGHUWREHGLDJQRVHGZLWKJHQGHU
     $:KDWSDUDJUDSK"                                       G\VSKRULDLQFRQJUXHQFHPXVWSHUVLVWIRUDWOHDVWVL[
     43DUDJUDSK"                                         PRQWKVDQGEHDFFRPSDQLHGE\FOLQLFDOO\VLJQLILFDQW
     $<HDK                                                 GLVWUHVVRULPSDLUPHQWLQVRFLDORFFXSDWLRQDORURWKHU
     4$QG\RXPHQWLRQWKDWDPRQJRWKHUWKLQJVWKH           LPSRUWDQWDUHDRIIXQFWLRQLQJ
     GLDJQRVWLFFULWHULDXQGHU'609IRUJHQGHUG\VSKRULD           %<$77251(<%522.6
     LQFOXGHVTXRWHFOLQLFDOO\VLJQLILFDQWGLVWUHVV'R          4,RQWKHRWKHUKDQGZLOODVNDTXHVWLRQWKDWL
     \RXVHHWKDW"                                                  EHOLHYHLVPRUHFORVHO\WUDFNHGWRWKH'609ODQJXDJH
     $,GR                                                 ZKLFKLVZKDWLVFOLQLFDOO\VLJQLILFDQWGLVWUHVVWKDW
     4$QGLQIDFWLWLQFOXGHVFOLQLFDOO\VLJQLILFDQW       LPSDLUVLPSRUWDQWDUHDRIIXQFWLRQLQJORRNOLNHLQD
     GLVWUHVVWKDWTXRWHLPSDLUVLPSRUWDQWDUHDVRI               \RXQJFKLOG"
     IXQFWLRQLQJFORVHGTXRWH                                     $77251(<%25(//,2EMHFWLRQIRUP
     $P,FRUUHFW"'R\RXUHFDOOWKDWLQ'609"           7+(:,71(662ND\,PLVKHDUG\RX, P
     $77251(<%25(//,2EMHFWLRQ2EMHFWLRQ        VRUU\,GLGQ WKHDUWKHJHQGHUG\VSKRULDSDUW,


                                                                                        3DJHVWR
                Case: 22-5807
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                                                  3DJH                                                         3DJH
      DSRORJL]H6RLQSDWLHQWVZLWKJHQGHUG\VSKRULD               SUHVFULELQJSXEHUW\EORFNHUIRUEHOLHYHGJHQGHU
      VRPHWLPHVLWFDQEHDQ[LHW\WKDWNHHSVWKHPIURPJRLQJ         G\VSKRULD"
      WRVFKRRO6RPHWLPHVLWFDQEHDQ[LHW\WKDWNHHSVWKHP        $77251(<%25(//,2EMHFWLRQWRIRUP
      IURPXVLQJSXEOLFUHVWURRPV6RPHWLPHVLWLVGHSUHVVLRQ       7+(:,71(66:HOOLQWKHZD\WKDW\RX
      VRWKDWWKH\FDQ WJHWRXWRIEHGWRIXQFWLRQ                 VWDWHGLW\RX UHVD\LQJWKDWWKHSDWLHQWDOUHDG\KDV
      6RPHWLPHVLW VMXVWIHHOLQJUHDOO\XQFRPIRUWDEOHDQG       JHQGHUG\VSKRULDVR\HV
      ZLWKKRZWKH\DUHEHLQJWUHDWHGDQGZKDWWKH\ UHDOORZHG       %<$77251(<%522.6
      WRGRLQDZD\WKDWPDNHVLWPRUHGLIILFXOWIRUWKHP           4,Q\RXUSUDFWLFHLVWKHIXOOGLDJQRVLVRIJHQGHU
      WKDQDSHUVRQZLWKRXWJHQGHUG\VSKRULD                        G\VSKRULDXQGHUWKH'609FULWHULDDSUHFRQGLWLRQIRU
     %<$77251(<%522.6                                           SUHVFULELQJSXEHUW\EORFNHUVDVDWKHUDS\IRUJHQGHU
     4,Q\RXUSUDFWLFHLVDIXOOGLDJQRVLVRIJHQGHU       G\VSKRULDRUJHQGHULQFRQJUXLW\"
     G\VSKRULDXQGHUWKH'609FULWHULDDSUHFRQGLWLRQIRU         $77251(<%25(//,2EMHFWLRQIRUP
     UHFRPPHQGLQJRUVXSSRUWLQJVRFLDOWUDQVLWLRQLQJ"              7+(:,71(66<HV
     $77251(<%25(//,2EMHFWLRQIRUP            %<$77251(<%522.6
     7+(:,71(666RLQP\SUDFWLFHWKH            4$QGLQ\RXUSUDFWLFHLVDIXOOGLDJQRVLVRI
     PDMRULW\RIP\SDWLHQWVKDYHVRFLDOO\WUDQVLWLRQHG            JHQGHUG\VSKRULDDFFRUGLQJWRWKH'609FULWHULDD
     EHIRUHWKH\FRPHWRVHHPHLQRUGHUWRLPSURYHWKHLU          SUHFRQGLWLRQIRUSUHVFULELQJFURVVVH[KRUPRQHV"
     JHQGHUG\VSKRULD,QJHQHUDOWKDWLVVRPHWKLQJWKDW         $77251(<%25(//,2EMHFWLRQIRUP
     WKHLUIDPLO\DQGWKHLUPHQWDOKHDOWKSURYLGHUGHFLGHV        7+(:,71(667KH\DUHXVHGWRUHOLHYH
     (DFKLQGLYLGXDOSDWLHQWLVGLIIHUHQWDQGZHWDONWKURXJK      G\VSKRULD7\SLFDOO\WKDWZRXOGEHZKDWZHZRXOGXVH
     ZKHWKHUWKDWLVDSSURSULDWHIRUHDFKSDWLHQW                 WKHPWRGRLVWRUHOLHYHWKDWG\VSKRULDVRWKH\ZRXOG
     %<$77251(<%522.6                                           KDYHWKDWGLDJQRVLV2QRFFDVLRQLQP\SUDFWLFHWKH
     4,Q\RXUSUDFWLFHLVDIXOO'609GLDJQRVLVRI        LQFRQJUXHQFHGRHVQRWQHFHVVDULO\FDXVHG\VSKRULDSHU
     JHQGHUG\VSKRULDDSUHFRQGLWLRQIRUUHFRPPHQGLQJVRFLDO       VHDQG\HWWKH\VWLOOKDYHVLJQLILFDQWLVVXHVWKDWDUH


                                                  3DJH                                                         3DJH
      WUDQVLWLRQ"                                                    LPSDLULQJWKHLUDELOLW\WRPRYHIRUZDUGLQWKHLUOLYHV
      $77251(<%25(//,2EMHFWLRQIRUP             LQDKDSS\KHDOWK\ZD\$QG,PLJKWXVHPHGLFDWLRQV
      7+(:,71(661R                               VXFKDVJHQGHUDIILUPLQJKRUPRQHVLQWKRVHFDVHV
      %<$77251(<%522.6                                            %<$77251(<%522.6
      4$QGLQ\RXUSUDFWLFHLVDIXOO'609JHQGHU          46RLI,XQGHUVWDQGFRUUHFWO\\RX UHVD\LQJWKDW
      G\VSKRULDGLDJQRVLVDSUHFRQGLWLRQIRUSUHVFULELQJ             DWOHDVWVRPHFDVHVLQ\RXUSUDFWLFH\RXDUHZLOOLQJWR
      SXEHUW\EORFNHUV"                                              SUHVFULEHFURVVVH[KRUPRQHVIRULQGLYLGXDOVZKRGRQRW
      $77251(<%25(//,2EMHFWLRQIRUP             VXIIHUIURPJHQGHUG\VSKRULDDFFRUGLQJWRWKHFULWHULD
      7+(:,71(66,XVHSXEHUW\EORFNHUVIRU        VSHOOHGRXWLQ'609"
     PRUHWKDQRQHLQGLFDWLRQ                                     $77251(<%25(//,2EMHFWLRQIRUP
     %<$77251(<%522.6                                           7+(:,71(66(YHU\SDWLHQWLVGLIIHUHQW
     4/HWPHDVNDEHWWHUTXHVWLRQ,Q\RXUSUDFWLFH      0RVWRIP\SDWLHQWVKDYHJHQGHUG\VSKRULD$OORIWKHP
     LVDIXOO'609JHQGHUG\VSKRULDGLDJQRVLVD                  KDYHDWUDQVJHQGHULGHQWLW\DQG,ZRXOGWUHDWHLWKHURI
     SUHFRQGLWLRQIRUSUHVFULELQJSXEHUW\EORFNHUVDVD            WKRVH
     WUHDWPHQWIRUJHQGHUG\VSKRULD"                               %<$77251(<%522.6
     $77251(<%25(//,2EMHFWLRQIRUP            4,WKLQNWKLVTXHVWLRQFDQEHDQVZHUHG\HVRUQR
     7+(:,71(666RP\SDWLHQWVDUH               'R\RXSUHVFULEHFURVVVH[KRUPRQHVIRUVRPHSDWLHQWV
     HYDOXDWHGE\PHQWDOKHDOWKSURYLGHUVRXWVLGHWKHFOLQLF       ZKRGRQRWVXIIHUIURPJHQGHUG\VSKRULDDFFRUGLQJWRWKH
     DQGLQVLGHWKHFOLQLF7KHREMHFWLYHRIXVLQJSXEHUW\        '609FULWHULD"
     EORFNHUVFDQEHXVHGWRUHOLHYHG\VSKRULDDQGJLYHWKHP       $77251(<%25(//,2EMHFWLRQIRUP
     WLPHWRFRQVLGHUWKHLUJHQGHULGHQWLW\                       7+(:,71(66,GRQ WWKLQNVR,PHDQ
     %<$77251(<%522.6                                           JHQGHUDIILUPLQJKRUPRQHV,XVHKRUPRQHVIRUDORW
     4,Q\RXUSUDFWLFHLVDIXOOGLDJQRVHRIJHQGHU        RIGLIIHUHQWWKLQJV:KHWKHU\RXFDOOWKHPJHQGHU
     G\VSKRULDXQGHUWKH'609FULWHULDDSUHFRQGLWLRQIRU         DIILUPLQJRUQRWLV\RXNQRZZKDWLVNLQGRID



                                                                                        3DJHVWR
                Case: 22-5807
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                                                              3DJH                                                    3DJH
     WKLQJKHUH,PHDQIRUSHRSOHZLWK.OLQHIHOWHU VZKR                DERXWSD\LQJIRUWKDWVRUWRIWKLQJEHFDXVHWKH\GRQ W
     DUHFOLQLFDOO\VLJQLILFDQWO\GHSUHVVHGEHFDXVHWKH\KDYH               WKLQNLWLVDSSURSULDWHWRGR6R,FDQ WHYDOXDWHWKHP
     ORZWHVWRVWHURQH,SUHVFULEHWHVWRVWHURQHWRLPSURYH                  XQOHVVWKH\KDYHDV\PSWRPRIDQLQWHUVH[FRQGLWLRQ
     WKHLUPRRGWKHLUOLELGRWKHLUPXVFOHVWUHQJWK)RU                  7KRVHFDQSUHVHQWHYHQLQWR\RXUVDQGQRWEHHYLGHQW
     SHRSOHZKRKDYHG\VSKRULDRUZKRKDYHDWUDQVJHQGHU                    XQWLO\RXDUHWU\LQJWRJHWSUHJQDQW6R,WKLQNWREH
     LGHQWLW\,GRSUHVFULEHWKRVHPHGLFDWLRQV,WKLQN                   DFFXUDWHWKDW V
     WKDWWREHSUHFLVHLQP\DQVZHUV,FDQQRWVD\LWDVD                  47R\RXUNQRZOHGJHDOPRVWDOORIWKHFKLOGUHQ
     \HVRUQRDQVZHU                                                      WKDW\RXKDYHWUHDWHGIRUJHQGHUG\VSKRULDGLGQRWVKRZ
     4/HWPHDVN\RXWRWXUQWRSDUDJUDSKWHQRI\RXU               VLJQVRIDQ\LQWHUVH[FRQGLWLRQRUGLVRUGHURIVH[XDO
    UHSRUW7KHUH\RXVD\,KDYHWUHDWHGDSSUR[LPDWHO\               GHYHORSPHQW"
    WUDQVJHQGHUDQGLQWHUVH[\RXQJSHRSOHLQP\FDUHHU                   $77251(<%25(//,2EMHFWLRQIRUP
    'R\RXVHHWKDW"                                             7+(:,71(667REHVWRIP\NQRZOHGJH
    $1RWKDW VQRWKRZLW VZULWWHQ                             %<$77251(<%522.6
    4,DSRORJL]H,ZDVUHDGLQJWR\RXWKHVHFRQG                4/HWPHFDOO\RXUDWWHQWLRQWRSDJHWKUHHRI\RXU
    VHQWHQFHRISDUDJUDSKWHQDQG,EHOLHYH,UHDGWKDW                  UHSRUWZKLFKLVRQSDJHILYH$QG\RXVD\WKHUHLQWKH
                                                                      VHFRQGVHQWHQFHTXRWHDOORIP\SDWLHQWVKDYHVXIIHUHG
    $2ND\                                                        IURPSHUVLVWHQWJHQGHUG\VSKRULD
    , PVRUU\,ZDVVWDUWLQJDWWKHEHJLQQLQJ                 'R\RXVHHWKDW"
    4,XQGHUVWDQG                                                $8KKXK \HV 
    $<HV                                                         41RZ,MXVWGRQ WXQGHUVWDQGWKDWEHFDXVHDIHZ
    4$QGOHW VEUHDNWKDWRXW2IWKRVH                     PLQXWHVDJR\RXH[SODLQHGWRPHWKDWVRPHRI\RXU
    DSSUR[LPDWHO\KRZPDQ\VXIIHUHGIURPVRPHIRUPRI'6'"                SDWLHQWVVXIIHUIURPJHQGHUG\VSKRULDDQGVRPHRIWKHP
    $77251(<%25(//,2EMHFWLRQIRUP                    GRQ W6RFDQ\RXH[SODLQWRPHZKDW\RXPHDQWE\WKDW
    7+(:,71(666RWKHWKDW,NQRZRI               VWDWHPHQW"


                                                              3DJH                                                    3DJH
      EHFDXVHZHGRQ WHYDOXDWHHYHU\SHUVRQQHFHVVDULO\IRU                $77251(<%25(//,2EMHFWLRQIRUP
      DQLQWHUVH[FRQGLWLRQSUREDEO\JRVKLW VKDUGWR                7+(:,71(66<HDK,OHDUQPRUHDQG
      HVWLPDWH6R,WKLQNDWOHDVWLQP\FOLQLFDQGWKHQ               PRUHHYHU\GD\DERXWWKHSDWLHQWVZKRFRPHLQWRP\
      SUREDEO\LQWKHKRVSLWDODWOHDVWD\HDU$W                  FOLQLF,GLGVWDWHWKDWPRVWRIP\SDWLHQWVKDYH
      OHDVWRQHDPRQWKRUVR                                              JHQGHUG\VSKRULD,DPILQGLQJLQGLYLGXDOVFXUUHQWO\LQ
      %<$77251(<%522.6                                                   P\SUDFWLFHZKRDUHQ WQHFHVVDULO\WRWKHSRLQWRI
      42IWKHWUDQVJHQGHULQWHUVH[XDO\RXQJSHRSOH              KDYLQJWKDWFOLQLFDOO\VLJQLILFDQWFULWHULDWKDWLV
      WKDW\RXWUHDWHGLQ\RXUFDUHHUKRZPDQ\ZRXOG\RX                   PHQWLRQHGLQWKHIRUG\VSKRULDWKDWKDYHD
      HVWLPDWHVXIIHUHGIURPVRPHIRUPRIGLVRUGHURIVH[XDO                WUDQVJHQGHULGHQWLILFDWLRQ7KHPDMRULW\,ZRXOGVD\GR
     GHYHORSPHQW"                                                         KDYHG\VSKRULD
     $77251(<%255(//,2EMHFWLRQIRUP                  %<$77251(<%522.6
     7+(:,71(662IIWKHWRSRIP\KHDG,                4<RXZRXOGQRZVD\WKHPDMRULW\UDWKHUWKDQDOO"
     FDQWKLQNRIRQH,KDYHUHYLHZHGDUHIHUUDOIRUD                  $77251(<%25(//,2EMHFWLRQIRUP
     VHFRQGRQH*RVK:LWKWKDWPDQ\SDWLHQWVWKDW VWKH              7+(:,71(66,FDQ WWKLQNRI\HDK
     EHVW,FDQGR6RUU\                                               ,ZRXOGVD\WKHPDMRULW\7KHUHZRXOGEHDYHU\UDUH
     %<$77251(<%522.6                                                  LQVWDQFHDQGWKDW VZK\,PHQWLRQHGLWEHIRUH
     4$QG,WDNHLWWKHQWKDWWKHRYHUZKHOPLQJ                    $77251(<%25(//,&RXQVHOMXVWDTXLFN
     PDMRULW\DOPRVWDOOWKHFKLOGUHQWKDW\RXKDYHVHHQDQG             TXHVWLRQDERXWWLPLQJDQGDSRWHQWLDOEUHDNEHFDXVH
     WUHDWHGIRUJHQGHUG\VSKRULDGLGQRWVXIIHUIURPDQ\                 ZH YHEHHQJRLQJIRUDOLWWOHZKLOH
     GLVRUGHURIVH[XDOGHYHORSPHQW"                                      $77251(<%522.65LJKW, PLQFOLQHGWR
     $6RDWWKHWLPHRIP\HYDOXDWLRQRIWKHPWKH\                JROLNHIURPP\H[SHULHQFHLI\RXVWRSHDUO\IRU
     ZHUHQ WVKRZLQJDQ\VLJQVRIDQLQWHUVH[FRQGLWLRQ,               OXQFKWKHQLW VDQDZIXOORQJDIWHUQRRQ6R, GEH
     GRQ WQHFHVVDULO\WHVWIRULQWHUVH[FRQGLWLRQVRQHYHU\              LQFOLQHGWRJRXQWLORUVRDQGWKHQEUHDNIRU
     SHUVRQWKDWFRPHVLQ,QVXUDQFHLVUHDOO\NLQGRIIXQQ\             OXQFK


                                                                                              3DJHVWR
                Case: 22-5807
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                                                   3DJH                                                         3DJH
      $77251(<%25(//,'RHVWKDWZRUNIRU            LVJLYLQJWKHPSV\FKRORJLFDOV\PSWRPVWKDWZHVHHZKLFK
      \RX":RXOG\RXOLNHDEUHDNQRZEHIRUHZHODWHUEUHDN          LVUHDOO\FRPPRQLQPHGLFLQH:HVHHORWVRIGLIIHUHQW
      IRUOXQFKRUZKDWLVEHVWIRU\RX'U$GNLQV"                  PHGLFDOFRQGLWLRQVFDXVHGSV\FKRORJLFDOV\PSWRPV,
      7+(:,71(66:HOOVLQFH, PQRWD              DOUHDG\PHQWLRQHGRQHZLWKK\SRWK\URLGLVP
      EUHDNIDVWHDWHU,ZRXOGSUHIHUWRJRDOLWWOHELW              4,QWKHRYHUZKHOPLQJQXPEHURIFDVHVWUDQVJHQGHU
      HDUOLHULIZHFDQ                                              LGHQWLILFDWLRQLVQRWDVVRFLDWHGZLWKDQ\SK\VLFDO
      $77251(<%522.6:HFDQGRLW,MXVW          GLVRUGHUWKDW\RXDVDGRFWRUKDYHEHFRPHDZDUHRI"
      ZDUQ\RXLWJHWVWREHDORQJDIWHUQRRQ                        $77251(<%25(//,2EMHFWLRQIRUP
      7+(:,71(66,XQGHUVWDQG                      7+(:,71(66, PVRUU\,JRW
     $77251(<%522.6/HWPHILQLVKXSWKH          GLVWUDFWHG&DQ\RXUHSHDWLW"
     OLQHRITXHVWLRQLQJ:HOOVKRXOGZHWDUJHWQRRQWR           %<$77251(<%522.6
     VWRSIRUOXQFK"                                                4<HV,QWKHRYHUZKHOPLQJPDMRULW\RISDWLHQWV
     7+(:,71(667KDW VILQH7KDQN\RX          WKDW\RXKDYHVHHQWKHWUDQVJHQGHULGHQWLW\LVQRW
     %<$77251(<%522.6                                            DVVRFLDWHGZLWKDQ\SK\VLFDOGLVRUGHUWKDW\RXDUHDZDUH
     4/HWPHWDNH\RXEDFNWRWKH(QGRFULQH6RFLHW\         RI
     VWDWHPHQWRQEDFNWRWKHELRORJLFDOYDULDEOHZKLFK        &RUUHFW"
     LV([KLELW,I\RXZRXOGILQGWKDWSOHDVH$QG, OO       $77251(<%25(//,2EMHFWLRQIRUP
     DVN\RXWRWXUQWRSDJHVHFRQGFROXPQWRZDUGVWKH         7+(:,71(66,PHDQ, PJRLQJWRQHHGD
     ERWWRPZLWKWKHKHDGLQJWKDWUHDGVELRORJLFDOEDVLVRI         PLQXWHWRWKLQNEHFDXVH,KDYHVHHQVRPDQ\SDWLHQWV
     GLYHUVLW\DQGVH[XDOJHQGHUGHYHORSPHQWDQGRULHQWDWLRQ       WKDW,GRQ W,JXHVVLWVRUWRIGHSHQGVRQKRZ\RX
     'R\RXVHHWKDW"                                      GHILQHWKDWULJKW,DPGLVWUHVVLVSK\VLFDODQG
     $,GR                                                 SV\FKRORJLFDO7KHGLIIHUHQFHLVSK\VLFDOLQWKDW
     4$QGLWUHDGVDWWKHEHJLQQLQJJLYHQWKH               WKH\ UHELRORJLFDOO\DVVLJQHGVH[DQGWKRVH
     FRPSOH[LWLHVRIWKHELRORJ\RIVH[XDOGHWHUPLQDWLRQDQG        FKDUDFWHULVWLFVDVVRFLDWHGDUHGLIIHUHQWIURPWKHLU


                                                   3DJH                                                         3DJH
      GLIIHUHQWLDWLRQFRPPDLWLVQRWVXUSULVLQJWKDWWKHUH         JHQGHULGHQWLW\6RLW VDELWRIDPL[WXUH
      DUHGR]HQVRIH[DPSOHVRIYDULDWLRQVRUHUURUVLQWKHVH         %<$77251(<%522.6
      SDWKZD\VDVVRFLDWHGZLWKJHQHWLFPXWDWLRQVWKDWDUHQRZ         40DQ\LQGLYLGXDOVZKRVXIIHUIURPGLVRUGHURI
      ZHOONQRZQWRHQGRFULQRORJLVWVDQGJHQHWLFLVWV,Q             VH[XDOGHYHORSPHQWGRQRWH[SHULHQFHJHQGHULGHQWLW\
      PHGLFLQHWKHVHVLWXDWLRQVDUHJHQHUDOO\WHUPHGGLVRUGHUV        WKDWLVGLVFRUGDQWZLWKWKHLUFKURPRVRPDOVH[
      RIVH[XDOGHYHORSPHQWRUGLIIHUHQFHVLQVH[XDO                  &RUUHFW"
      GHYHORSPHQWFORVHGTXRWH                                      $77251(<%25(//,2EMHFWLRQIRUP
      'R\RXVHHWKDW"                                       7+(:,71(666RPHGR\HV7KDWLVWUXH
      $<HV                                                   IRUVRPH
     41RZLQ\RXURSLQLRQDWUDQVJHQGHULGHQWLW\LV       %<$77251(<%522.6
     QRWDGLVRUGHU                                                40DQ\LQGLYLGXDOVZKRH[SHULHQFHDWUDQVJHQGHU
     $P,ULJKW"                                           LGHQWLW\, PVRUU\0DQ\LQGLYLGXDOVZKRVXIIHU
     $,WLVDQRUPDOYDULDWLRQLQP\RSLQLRQRIKXPD      IURPDGLVRUGHURIVH[XDOGHYHORSPHQWGRQRWH[SHULHQFH
     RIKXPDQVLQJHQHUDO                                      DJHQGHULGHQWLW\WKDWLVGLVFRUGDQWZLWKWKHLU
     4,W VQRWDPHQWDOGLVRUGHU"                           FKURPRVRPDOVH[
     $77251(<%25(//,2EMHFWLRQIRUP             &RUUHFW"
     7+(:,71(666R\RXNQRZWKH\KDYHLQ         $77251(<%25(//,2EMHFWLRQWRIRUP
     WKHSDVWLQFOXGHGLWLQWKH'60ZKLFKLVFDWHJRUL]HGDV       7+(:,71(666RWKHUH V\RXNQRZOLNH
     WKRVHVRUWVRIWKLQJV$VIDUDVOLNHSV\FKRORJLFDO          GLIIHUHQWYDULDWLRQV6RPHDUHPRUHOLNHO\WRKDYH
     WKHUH VVXFKRYHUODSEHWZHHQSV\FKRORJLFDODQGWKH            TXHVWLRQVDERXWWKHLUJHQGHULGHQWLW\WKDQRWKHUV,W
     SK\VLFDO,JXHVVWKHEHVWZRUG,FDQXVHEXWWKDW         YDULHVE\GLDJQRVLV
     LW VKDUGWRLW VKDUGWRVD\<RXNQRZ,WKLQN          %<$77251(<%522.6
     SHRSOHDUHPRYLQJPRUHWRZDUGVWKDWLWLVPRUHRID            42ND\
     PHGLFDOSUREOHPWKDWLVRFFXUULQJZLWKLQWKHSHUVRQWKDW       %XWP\TXHVWLRQLVDKLJKOHYHORQH,WLV


                                                                                        3DJHVWR
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                                                   3DJH                                                         3DJH
      WUXHLVLWQRWWKDWPDQ\LQGLYLGXDOVZKRVXIIHUIURPD        $77251(<%25(//,2EMHFWLRQIRUP
      GLVRUGHURIVH[XDOGHYHORSPHQWGRQRWH[SHULHQFHJHQGHU         7+(:,71(66,GRQ WNQRZ%3-,
      LGHQWLW\WKDWLVGLVFRUGDQWZLWKWKHLUFKURPRVRPDOVH["         KDYHQRWHYDOXDWHG%3-,FDQ WVD\WKDWDERXW
      $77251(<%25(//,2EMHFWLRQIRUP              %3-
      7+(:,71(66,QWKHPHGLFDOOLWHUDWXUH          %<$77251(<%522.6
      WKHUHSRUWVYDU\6RPHRIWKHFRQGLWLRQVDUHRIWKHP        4$QGLQIDFW\RXGRQ WNQRZZKHWKHUDQ\FKLOG
      WKHLULGHQWLW\PDWFKHVZLWKWKHLUFKURPRVRPDOVH[DQGLQ        ZKRLVFKURPRVRPDOO\;<EXWVXIIHUVIURPDGLVRUGHURI
      VRPHFDVHVLW VOLNHWRSHUFHQW                          VH[XDOGHYHORSPHQWKDVHYHUVRXJKWWRFRPSHWHLQIHPDOH
      %<$77251(<%522.6                                             DWKOHWLFVLQ:HVW9LUJLQLDGR\RX"
     4$QGDV\RXKDYHWHVWLILHGPDQ\LQGLYLGXDOVZKR       $77251(<%25(//,2EMHFWLRQWRIRUP
     H[SHULHQFHWUDQVJHQGHULGHQWLW\GRQRWVXIIHUIURPDQ\         7+(:,71(667KHUHDUHVRPDQ\SHRSOH
     LGHQWLILHGGLVRUGHUVRIVH[XDOGHYHORSPHQW"                    ZKRKDYHFRPSHWHGRUWULHGWRFRPSHWHRYHUWKH\HDUV,
     $77251(<%25(//,2EMHFWLRQIRUP             KDYHQRWVHHQDGRFXPHQWDWLRQVSHFLILFDOO\RI:HVW
     7+(:,71(66,DQVZHUHGWKDWTXHVWLRQ          9LUJLQLD,W VFRPPRQLQDWKOHWLFV
     DOUHDG\\HDK                                                 %<$77251(<%522.6
     %<$77251(<%522.6                                            4<RXDUHQRWDZDUHRIDVLQJOHFDVHWKDWKDVHYHU
     47KHDQVZHULV\HV"                                    RFFXUUHGLQ:HVW9LUJLQLDRIDFKURPRVRPDOO\;<FKLOG
     $<HV,DQVZHUHGWKHTXHVWLRQDOUHDG\                 VHHNLQJWRFRPSHWHLQIHPDOHDWKOHWLFVEDVHGRQD
     4)RUFODULW\,ZRXOGOLNH\RXWRDQVZHULWDJDLQ      OHWPHDVNWKDWTXHVWLRQDJDLQ<RX UHQRWDZDUHRIDQ\
     $77251(<%25(//,2EMHFWLRQIRUP             VSHFLILFLQVWDQFHLQZKLFKDQ;FKURPRVRPDOO\;<
     7+(:,71(66&DQ\RXUHSHDWLWWKHQ"           FKLOGZKRVXIIHUVIURPDGLVRUGHURIVH[XDOGHYHORSPHQW
     %<$77251(<%522.6                                            KDVVRXJKWWRFRPSHWHLQIHPDOHDWKOHWLFVLQ:HVW
     4<HV0DQ\LQGLYLGXDOVZKRH[SHULHQFHD               9LUJLQLDXSWRWKHSUHVHQW"
     WUDQVJHQGHULGHQWLW\GRQRWVXIIHUIURPDQ\NQRZQ              $77251(<%25(//,2EMHFWLRQWRIRUP


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      GLVRUGHURIVH[XDOGHYHORSPHQW"                                 7+(:,71(666RVRPHSHRSOHGLHZLWK
      $77251(<%25(//,2EMHFWLRQIRUP              FKURPRVRPHV;<DQGORRNFRPSOHWHO\IHPDOHDQGQHYHU
      7+(:,71(66,QP\H[SHULHQFHWKDWLV           NQHZ6R,FDQ WVD\WKDWDQ\RQHFRXOGGHILQLWHO\VD\
      WUXH                                                           WKDWLQFOXGLQJP\VHOI
      %<$77251(<%522.6                                             %<$77251(<%522.6
      4<RXKDYHQRNQRZOHGJHDVWRWKHQXPEHURI              4:HOOP\TXHVWLRQZDV\RXDUHQRWDZDUHRIDQ\
      FKLOGUHQZKRVXIIHUIURPDGLVRUGHURIVH[XDO                   FDVHRIDQ;<LQGLYLGXDOZKRVXIIHUHGIURPDGLVRUGHURI
      GHYHORSPHQWZKRSUHVHQWO\DWWHQGVFKRROVRUFROOHJHVLQ         VH[XDOGHYHORSPHQWVHHNLQJWRFRPSHWHLQIHPDOH
      :HVW9LUJLQLDGR\RX"                                          DWKOHWLFVLQ:HVW9LUJLQLD
     $77251(<%25(//,2EMHFWLRQIRUP             5LJKW"
     7+(:,71(66,FDQRQO\UHO\RQWKH            $77251(<%25(//,2EMHFWLRQWRIRUP
     SUHYDOHQFHWKDW VUHFRUGHGLQWKHPHGLFDOOLWHUDWXUHDQG       7+(:,71(66&RUUHFW
     WKHQDVVXPHWKDW:HVW9LUJLQLDKDVWKHSRSXODWLRQEDVH         %<$77251(<%522.6
     WKDWLVVLPLODUWRWKRVHPHGLFDOUHSRUWV                      4$QGVROHWPHDVN\RXDVXEVWDQWLDOSRUWLRQ
     %<$77251(<%522.6                                            RI\RXUH[SHUWUHSRUWJRHVLQWRDOOVRUWVRIGHWDLO
     4<RX\RXUVHOIGRQ WKDYHDQ\DFWXDONQRZOHGJH        DERXWGLVRUGHUVRIVH[XDOGHYHORSPHQW
     HLWKHUZD\RQWKDW                                            &RUUHFW"
     &RUUHFW"                                              $&RUUHFW
     $77251(<%25(//,2EMHFWLRQIRUP             4,Q\RXUXQGHUVWDQGLQJZKDWLVWKHSRLQW":KDW
     7+(:,71(66,KDYHQRWEHHQJLYHQD           GRHVWKDWKDYHWRGRZLWKDQ\RSLQLRQ\RXDUHRIIHULQJ
     OLVWRIWKHQXPEHURILQGLYLGXDOVQR                         DERXWLVVXHVLQWKLVFDVH"
     %<$77251(<%522.6                                            $77251(<%25(//,2EMHFWLRQIRUP
     4$QG\RXDUHQRWRSLQLQJWKDW%3-VXIIHUVIURP      7+(:,71(666RWKHIRONVZKRKDYH
     DQ\GLVRUGHURIVH[XDOGHYHORSPHQWDUH\RX"                   GLIIHUHQFHVRIVH[GHYHORSPHQWKDYHUHDOO\EHHQRXUWRRO


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                                                   3DJH                                                        3DJH
      ZLWKLQPHGLFLQHWRXQGHUVWDQGJHQGHULGHQWLW\DQGKRZLW        LVXQUHDVRQDEOHWRWKHH[WHQWWKDWLWSUHYHQWVHYHQD
      GHYHORSHGRYHUWLPHHVSHFLDOO\ZKHQWKHUHPD\EHVRPH          VLQJOHWUDQVJHQGHU\RXWKIURPSOD\LQJLQDGLYLVLRQ
      GLIIHUHQFHLQWKHHIIHFWVRIWKHFKURPRVRPHVWKH               FRQVLVWHQWZLWKWKHLUJHQGHULGHQWLW\"
      KRUPRQDOH[SUHVVLRQDQGWKHELRORJLFDOH[WHUQDO                 $77251(<%25(//,2EMHFWLRQIRUP
      UHSURGXFWLYHJHQLWDOLD$QGLWHOLFLWVNLQGRI             7+(:,71(66, PVRUU\7KDWZDVQ W
      VKRZVXVWKDWWKHUHFDQEHVRPHYDULDWLRQVWKDWLGHQWLW\        FOHDU&DQ\RX"
      WKDW\RXPLJKWKDYH, PVRUU\VH[WKDW\RXPLJKW           %<$77251(<%522.6
      DVVLJQDWELUWKEDVHGRQRQHRIWKHVHFDWHJRULFDOWKLQJV        4$UH\RXRIIHULQJDQRSLQLRQWKDWWKH:HVW
      RUDPL[WXUHRIWKHPPD\QRWEHH[DFWO\ZKDWDSHUVRQ           9LUJLQLDODZLVXQUHDVRQDEOHWRWKHH[WHQWLWSUHYHQWV
     LGHQWLILHVDWELUWK                                           HYHQDVLQJOHWUDQVJHQGHU\RXWKIURPSOD\LQJLQWKH
     )RUH[DPSOHWKHUHDUHLQGLYLGXDOVZKR          GLYLVLRQFRQVLVWHQWZLWKWKHLUJHQGHULGHQWLW\"
     DUHERUQZKRQHYHUKDGDQ\KRUPRQHVWKH\GRQ WKDYH           $77251(<%25(//,2EMHFWLRQIRUP
     H[WHUQDOJHQLWDOLDDWDOOZKHQWKH\ UHERUQDQGVRKRZ        7+(:,71(66<HV
     GR\RXGHFLGHZKDWVH[WRDVVLJQWKDWSHUVRQDQGWKXV          %<$77251(<%522.6
     ZKDWJHQGHUWRDVVLJQWKDWSHUVRQDQGVRLWLW            4$UH\RXRIIHULQJDQRSLQLRQWKDW:HVW9LUJLQLD
     KHOSVXVXQGHUVWDQGWKDWWKHUHDUHORWVRIGLIIHUHQW           GRHVQRWKDYHDVWURQJLQWHUHVWLQHQVXULQJIDLUDQG
     WKLQJVWKDWJRLQWRGHWHUPLQLQJDJHQGHULGHQWLW\DQG          VDIHFRPSHWLWLRQIRUIHPDOHVLQWKHLUVFKRROVDQG
     \RXPD\QRWNQRZLWULJKWDWELUWKFHUWDLQO\QRWDW           XQLYHUVLWLHV"
     FRQFHSWLRQEXW\RXPD\EHJLQWRXQGHUVWDQGLWDVWKH          $77251(<%25(//,2EMHFWLRQIRUP
     SHUVRQJURZVROGHU                                            7+(:,71(66,WKLQNWKDWZRXOGUHTXLUH
     $QGVRLW VLPSRUWDQWWRNQRZWKDW              PHWRKDYHWR\RXNQRZWDONZLWKWKHPDERXWWKDWDQG
     EHFDXVHZKHQWKHUHDUHGLIIHUHQFHVEHWZHHQWKRVHWZR           XQGHUVWDQGDOLWWOHELWEHWWHU,ZRXOGKRSHLWZRXOG
     WKLQJVLWFDQFDXVHVLJQLILFDQWGLVWUHVVDQGKDUPWRWKH       EHHYHU\RQHWKDWWKH\ZHUHWU\LQJWRNHHSVDIH
     LQGLYLGXDODVWKH\JHWROGHULIWKRVHWZRDUHQRW              %<$77251(<%522.6


                                                   3DJH                                                        3DJH
      PDWFKLQJ                                                       4$UH\RXRIIHULQJDQRSLQLRQWKDW:HVW9LUJLQLD
      %<$77251(<%522.6                                             ODZLVQRWDUHDVRQDEOHPHDVXUHWRHQVXUHIDLUDQGVDIH
      4/HWPHWDNH\RXWRSDUDJUDSKRI\RXUH[SHUW         FRPSHWLWLRQIRUIHPDOHVLQVFKRROVDQGFROOHJHV"
      UHSRUW$WWKHHQGRIWKDWSDUDJUDSK\RXVWDWH,NQRZ          $77251(<%25(//,2EMHFWLRQIRUP
      IURPH[SHULHQFHZLWKP\SDWLHQWVWKDWLWFDQEH                 7+(:,71(66$JDLQWKHODQJXDJHLV
      H[WUHPHO\KDUPIXOIRUWUDQVJHQGHU\RXWKWREHH[FOXGHG          LW VQRWUHDOO\FOHDUZLWKWKHIHPDOHZKRXVHVWKHZRUG
      IURPWKHWHDPFRQVLVWHQWZLWKWKHLUWUDQVJHQGHU                 IHPDOH,W VOLNHXVLQJWKHZRUGVH[,W VMXVWQRW
      LGHQWLW\'R\RXVHHWKDW"                                     FOHDU
      $,WDFWXDOO\VD\VZLWKWKHLUJHQGHULGHQWLW\           %<$77251(<%522.6
     4,I,PLVVSRNH,DSRORJL]H)RUWKHUHFRUGOHW      4'U$GNLQV,XVHGWKHZRUGIHPDOHEHFDXVH
     PHMXVWGRLWDJDLQ4XRWH,NQRZIURPH[SHULHQFHZLWK       HDUOLHULQRQHRIWKHVHSDSHUVZKHUHLWVDLGZRPDQ\RX
     P\SDWLHQWVWKDWLWFDQEHH[WUHPHO\KDUPIXOIRU               VDLGLWZRXOGZRUNLIWKH\VDLGIHPDOHDVDVH[
     WUDQVJHQGHU\RXWKWREHH[FOXGHGIURPWKHWHDP                 LQGLFDWRUWREHGLVWLQJXLVKHGIURPJHQGHULGHQWLW\
     FRQVLVWHQWZLWKWKHLUJHQGHULGHQWLW\FORVHGTXRWH           'R\RXUHFDOOWKDWWHVWLPRQ\"
     'R\RXVHHWKDWODQJXDJH"                             $,GR
     $,GR                                                 4/HWPHDVNWKHTXHVWLRQDJDLQXVLQJWKHWHUP
     4/HWPHMXVWDVNZHUH\RXDYDUVLW\KLJKVFKRRO        IHPDOHLQWKHZD\WKDW\RXPHDQWLQWKDWHDUOLHU
     RUFROOHJHDWKOHWH\RXUVHOI"                                   WHVWLPRQ\$UH\RXRIIHULQJDQRSLQLRQWKDWWKH:HVW
     $77251(<%25(//,2EMHFWLRQIRUP             9LUJLQLDODZLVQRWDUHDVRQDEOHPHDVXUHWRHQVXUHIDLU
     7+(:,71(66,ZDV                            DQGVDIHFRPSHWLWLRQIRUIHPDOHVLQVFKRROVDQGFROOHJHV
     %<$77251(<%522.6                                            LQ:HVW9LUJLQLD"
     41RZOHWPHDVNZKDW\RXXQGHUVWDQGWREHWKH         $77251(<%25(//,2EMHFWLRQIRUP
     VLJQLILFDQFHRIWKDWVWDWHPHQWWKDWLVDUH\RXRIIHULQJ       7+(:,71(666<HV
     DQRSLQLRQLQWKLVOLWLJDWLRQWKDWWKH:HVW9LUJLQLDODZ       %<$77251(<%522.6


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                                                  3DJH                                                         3DJH
      4&DQ\RXWHOOPHWKHH[DPSOHVWKDW\RXKDGLQ          REMHFWLRQ
      PLQGZKHQ\RXVDLG,NQRZIURPH[SHULHQFHWKDWLWFDQEH       $1RUWK&DUROLQDLQIRUWKLVSDUWLFXODU
      H[WUHPHO\KDUPIXOIRUWUDQVJHQGHU\RXWKWREHH[FOXGHG         SDWLHQWWKUHH\HDUVDJR,KDYHSDWLHQWVWKDWFRPHLQ
      IURPWKHWHDPFRQVLVWHQWZLWKWKHLUJHQGHULGHQWLW\"           HYHU\GD\ZKRWKLVDSSOLHV
      $,FDQ                                                4'U$GNLQVJLYHQWKDW\RX UHWHVWLI\LQJXQGHU
      43OHDVHGR                                            RDWKDQGWU\LQJWREHDFFXUDWHLVLWWUXHWKDW\RXKDYH
      $,KDYHSDWLHQWVZKRKDYHSDUWLFLSDWHGLQVSRUWV       SDWLHQWVFRPHLQHYHU\GD\WKDWWKLVDSSOLHVWR"
      ZLWKWKHWHDPVWKDWWKH\LGHQWLI\DV7KHLUIHOORZ            $77251(<%25(//,2EMHFWLRQIRUP
      VWXGHQWVRQO\NQRZWKHPDVWKHJHQGHUWKDWWKH\LGHQWLI\       %<$77251(<%522.6
     ZLWKDQGWKDWWKH\H[SUHVV,IWKH\ZHUHDVNHGWR            4$UHQ WZHJHWWLQJDOLWWOHFDUULHGDZD\KHUH"
     SDUWLFLSDWHRQDWHDPWKDWPDWFKHGWKHLUVH[DVVLJQHGDW      $77251(<%25(//,2EMHFWLRQIRUP
     ELUWKWKHQWKHVHLQGLYLGXDOVZRXOGIRURQHZRXOGEH        7+(:,71(66,GROLNHWREHSUHFLVH
     RQWKHER\V WHDPDQGWKHQHYHU\RQHLQVFKRROZRXOGNQRZ      %<$77251(<%522.6
     WKDWWKH\ZHUHWUDQVJHQGHU7KH\GRQ WKDYHWRNQRZ          47KDQN\RX
     WKDW,WLVQRWDQ\RIWKHLUEXVLQHVV                       $,QFOLQLFPRVWGD\VZKHQ, PLQFOLQLF,VHHD
     2QFHWKH\DUHLGHQWLILHGDVWUDQVJHQGHUWKH\        SDWLHQWZKRGRHVQ WSDUWLFLSDWHLQDWKOHWLFVEHFDXVHRI
     DUHDWKLJKULVNIRUEHLQJEXOOLHGKDUDVVHGVH[XDOO\        WKHUHTXLUHPHQWWKDWWKH\JRWRSDUWLFLSDWHLQDQDUHD
     DVVDXOWHGDQGOHDYLQJVFKRROZKLFKOHDGVWRSRRUMREV      WKDWLVIRUWKHLUDVVLJQHGVH[DWELUWK0RVWGD\V, P
     SRRULQVXUDQFHKRPHOHVVQHVV7KHUHDUHDQ\QXPEHURI        LQDJHQGHUFOLQLF
     UHDVRQVWKDW,ZRXOGZDQWP\SDWLHQWWREHDEOHWR            4$QGZKDW\RXVWDWHLQ\RXUGRFXPHQWLQ\RXU
     SDUWLFLSDWHRQWKHWHDPWKDWLGHQWLILHVZLWKWKHLU            UHSRUWKHUHLVWKDW\RXNQRZIURPH[SHULHQFHWKDWEHLQJ
     JHQGHULGHQWLW\WRNHHSWKHPKHDOWK\                         H[FOXGHGIURPWKHWHDPFRQVLVWHQWZLWKWKHLUJHQGHU
     4'U$GNLQV\RXUDQVZHUVDLGLIWKH\ZHUH            LGHQWLW\FDQEHTXRWHH[WUHPHO\KDUPIXOWRWUDQVJHQGHU
     UHTXLUHGWRSOD\RQWKHWHDPFRUUHVSRQGLQJWRWKHLU, OO      \RXWK<RXKDYHGHVFULEHGWRPHVWXGHQWVZKRFKRRVHQRW


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      VD\FKURPRVRPDOVH[WKHLUQDWDOVH[ZKLFKVXJJHVWV\RX       WRSDUWLFLSDWHLQDWKOHWLFV%H\RQGWKDWFDQ\RXJLYH
      KDYHQRWDFWXDOO\VHHQLWKDSSHQ,VWKHUHDVLQJOH           PHH[DPSOHVRIH[WUHPHKDUPWKDWKDVUHVXOWHGIURPVXFK
      FDVH\RXFDQSRLQWPHWRLQZKLFK\RXKDYHREVHUYHGD          SROLFLHV"
      SDWLHQWKDUPHGE\EHLQJH[FOXGHGIURPWKHWHDP                 $77251(<%25(//,2EMHFWLRQIRUP
      FRQVLVWHQWZLWKWKHLUJHQGHULGHQWLW\"                         7+(:,71(66<RXNQRZVRPHRIWKDW
      $<HV                                                  ZRXOGUHTXLUHDELWRIVSHFXODWLRQEHFDXVH,ZRXOGQ W
      4&DQ\RXWHOOPHWKDWDUHD"                            NQRZZKDWZRXOGKDSSHQWRWKRVHLQGLYLGXDOVLIWKH\
      $77251(<%25(//,2EMHFWLRQIRUP             UHPDLQLQWKHVSRUW
      7+(:,71(66:HOORQHRIP\SDWLHQWV          %<$77251(<%522.6
     ZKRKDGEHHQRQPLGGOHVFKRROVSRUWVWHDPVWKDWPDWFKHG       4, PQRWDVNLQJ\RXWRVSHFXODWH
     WKHLUJHQGHULGHQWLW\ZDVWKHQDVNHGWRFKDQJH$QG          $6RFDQ\RXUHDVNWKHTXHVWLRQVR,FDQNLQGRI
     WKH\GLGQ WIHHOFRPIRUWDEOHJRLQJZLWKWKHRWKHU             ILJXUHRXWKRZWRDQVZHULWEHWWHU
     LQGLYLGXDOVEHFDXVHWKHLULGHQWLW\ZRXOGEHGLVFRYHUHG       4, OOUHDVNLWDQGPD\EHWKDW\RX UHQRWDEOHWR
     WKHLULQGLYLGXDOVZRXOGNQRZWKDWWKH\ZHUH               DQVZHULWEXWFDQ\RXLGHQWLI\IRUPHVSHFLILFH[WUHPH
     WUDQVJHQGHU1RRQHDWWKHWLPHNQHZDQGVWLOOWRWKLV       KDUPWKDWLQGLYLGXDOSDWLHQWVKDYHVXIIHUHGDVDUHVXOW
     GD\GRQ WNQRZEHFDXVHWKH\FKRVHQRWWRSDUWLFLSDWH          RIQRWEHLQJDEOHWRSDUWLFLSDWHLQWKHWHDPFRQVLVWHQW
     UDWKHUWKDQEHRQWKHWHDPWKDWGLGQ WPDWFKWKHLU            ZLWKWKHLUJHQGHULGHQWLW\"
     JHQGHULGHQWLW\                                              $77251(<%25(//,2EMHFWLRQIRUP
     %<$77251(<%522.6                                           7+(:,71(666R,KDYHKDGSDWLHQWVZKR
     4$QGZKHQDQGZKDWVWDWHGLGWKHVHHYHQWVRFFXU"      KDYHQRORQJHUSDUWLFLSDWHGLQVSRUWVJDLQHGZHLJKW
     $1RUWK&DUROLQD                                      EHFRPHREHVHDQGGHYHORSHGW\SHWZRGLDEHWHV,KDYH
     $77251(<%25(//,2EMHFWLRQWRIRUP          VHHQWKDWDURXQG,FDQWKLQNRIDWOHDVWWZR
     %<$77251(<%522.6                                           H[DPSOHV$QGWKHQ\RXNQRZWKDW VDFKURQLFOLIH
     47KDW VZKHUHZKHQ"7KDW V\RXU&RXQVHO V           ORQJGLVHDVHWKDWFDQOHDGWRDPSXWDWLRQDQGDOONLQGV


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      RIRWKHUKDUPV$QGOHW VVHHZKDWRWKHUWKLQJV             UHFHQWO\WKH1&$$SROLF\IRUDGHFDGHDWWKHFROOHJLDWH
      ,KDYHVHHQSDWLHQWVZLWKZKRZHUHQR       OHYHOZDVWKDW;;;<LQGLYLGXDOVPDOHVWRXVHWKDW
      ORQJHUKDSS\DWWKHLUVFKRRODQGEHFDXVHWKHWLPHWKDW         WHUPLQRORJ\FRXOGFRPSHWHEDVHGRQJHQGHULGHQWLW\LQ
      WKH\ZHUHLGHQWLILHGDVWUDQVJHQGHUZHUHDVNHGWROHDYH        ZRPHQ VGLYLVLRQVRQO\DIWHUWKH\KDGVXSSUHVVHG
      WKHLUVSRUWWKHLUIULHQGJURXSVFKDQJHG$QG\RXNQRZ       WHVWRVWHURQHIRUDWOHVWD\HDU"
      LW VWRXJKLQVFKRRO7KHUHDUHNLGVZKRKDYHDQG         $77251(<%25(//,2EMHFWLRQIRUP
      WKDWNLQGRIFDQSXVKWKHPGRZQWKHVORSHRIVXLFLGDO          7+(:,71(66,GRQ WNQRZWKHGHWDLOVRI
      LGHDWLRQDQGGHSUHVVLRQDQGWKRVHVRUWVRIWKLQJV,          1&$$,MXVWGRQ W
      PHDQ,KDYHWRWKLQNORQJHUIRURWKHUH[DPSOHV7KRVH        %<$77251(<%522.6
     DUHWZR                                                      4$UH\RXDZDUHJHQHUDOO\WKDWVRPHDWKOHWLF
     %<$77251(<%522.6                                           OHDJXHVKDYHDUHTXLUHPHQWWKDWELRORJLFDOPDOHVPD\
     45DWKHUWKDQVWDUWLQJVRPHWKLQJHOVHVKRXOGZH       FRPSHWHLQZRPHQ VDWKOHWLFVEDVHGRQJHQGHULGHQWLW\
     EUHDNQRZIRUOXQFK"                                          RQO\DIWHUVXSSUHVVLQJWHVWRVWHURQHIRUVRPHSHULRGRI
     $77251(<%25(//,7KDWZRUNV                 WLPH"
     9,'(2*5$3+(5*RLQJRIIWKHUHFRUG7KH      $77251(<%25(//,2EMHFWLRQIRUP
     FXUUHQWWLPHUHDGVDP(DVWHUQ6WDQGDUG7LPH          7+(:,71(66,KDYHKHDUGWKDWWKHUHDUH
     2))9,'(2                                                     LQGLYLGXDOVZKRDUHDOORZHGWRSDUWLFLSDWHEDVHGRQ
                                     WKHLUJHQGHULGHQWLW\DQGWKDWWKHUH VVRPHFRPPHQW
      :+(5(8321$3$86(,17+(5(&25':$6+(/'                   DERXWKRUPRQHVXSSUHVVLRQ
                                     %<$77251(<%522.6
     219,'(2                                                      4$QGGR\RXKDYHFROOHJHDJHWUDQVJHQGHUSDWLHQWV
     9,'(2*5$3+(5:H UHEDFNRQWKHUHFRUG       \RXUVHOI"
     &XUUHQWWLPHUHDGVSP(DVWHUQ6WDQGDUG7LPH          $,GR
     %<$77251(<%522.6                                           4'RHV\RXUVWDWHPHQWWKDWZHORRNHGDWLQ


                                                   3DJH                                                        3DJH
      42ND\                                                 SDUDJUDSKRI\RXUUHSRUWWKDWLWFDQEHH[WUHPHO\
      'U$GNLQVZHOFRPHEDFNIURPOXQFK2QZHJR       KDUPIXOIRUWUDQVJHQGHU\RXWKWREHH[FOXGHGIURPWKH
      :H UHJRLQJWRKDYHDORQJDIWHUQRRQ/HWPHPDUNDV          WHDPFRQVLVWHQWZLWKWKHLUJHQGHULGHQWLW\KROGWUXHLQ
      ([KLELWZKDWZHKDYHSUHYLRXVO\LGHQWLILHGDVWDE       \RXURSLQLRQDWWRFROOHJLDWHOHYHO"$QG,ZDVTXRWLQJ
      ZKLFKLVDQDUWLFOHGDWHG-DQXDU\IURPWKH            IURPSDUDJUDSK
      :DVKLQJWRQ3RVWHQWLWOHG$7UDQVJHQGHU&ROOHJH6ZLPPHU         $77251(<%25(//,7RFODULI\\RXMXVW
      LV6KDWWHULQJ5HFRUGV6SDUNLQJD'HEDWH2YHU)DLUQHVV        VDLGSDUDJUDSK"
                                       $77251(<%522.6,WLVSDUDJUDSK,
       :KHUHXSRQ$GNLQV([KLELW          DSRORJL]H
     :DVKLQJWRQ3RVW$UWLFOHZDVPDUNHGIRU       $77251(<%25(//,7KDQN\RX,FDQ W
     LGHQWLILFDWLRQ                               UHPHPEHULI,ORGJHGDQREMHFWLRQ2EMHFWLRQWRIRUP
                                     7+(:,71(66$QGWKHTXHVWLRQZDV"
     %<$77251(<%522.6                                           %<$77251(<%522.6
     4'U$GNLQVOHWPHMXVWDVNJHQHUDOO\\RX UH        47KHTXHVWLRQZDVGRHV\RXUDVVHUWLRQLQ
     DZDUHRIUHFHQWHYHQWVLQWKHQHZVLQYROYLQJ/HDK             SDUDJUDSKRI\RXUUHSRUWWKDW\RXNQRZIURP
     7KRPDV VFRPSHWLWLRQLQ1&$$VZLPPLQJ                        H[SHULHQFHWKHSDWLHQWVWKDWLWFDQEHH[WUHPHO\
     &RUUHFW"                                             KDUPIXOIRUWUDQVJHQGHU\RXWKWREHH[FOXGHGIURPWKH
     $77251(<%25(//,2EMHFWLRQIRUP            WHDPFRQVLVWHQWZLWKWKHLUJHQGHULGHQWLW\DSSO\WR
     7+(:,71(66,DPDZDUHRIYDULRXV            FROOHJHDJHLQGLYLGXDOVDVZHOODVKLJKVFKRRORU
     SLHFHVRIWKDW                                               \RXQJHULQGLYLGXDOV"
     %<$77251(<%522.6                                           $77251(<%25(//,2EMHFWLRQIRUP
     4$QG, PQRWJRLQJWRWU\WRWXUQ\RXLQWRDQ         7+(:,71(66,QP\H[SHULHQFHWKDW
     H[SHUWRQ/LD7KRPDVEXW\RX UHMXVWDZDUHRIWKDW           \HV
     QDUUDWLYH$UH\RXJHQHUDOO\DZDUHWKDWDWOHDVWXQWLO       %<$77251(<%522.6


                                                                                       3DJHVWR
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                                                  3DJH                                                         3DJH
      4'R\RXKDYHDQ\RSLQLRQDVWRZKHWKHUDSROLF\        7+(:,71(66,WKLQN\RXPLVXQGHUVWRRG
      WKDWUHTXLUHVELRORJLFDOO\PDOHDWKOHWHVWRVXSSUHVV           WKHDQVZHUWKDW,JDYH,WZRXOGUHDOO\GHSHQGRQD
      WHVWRVWHURQHIRUDFHUWDLQSHULRGRIWLPHRUWRD              VSHFLILFFDVH
      FHUWDLQOHYHORIWHVWRVWHURQHSULRUWRFRPSHWLQJLQ            %<$77251(<%522.6
      ZRPHQ VRUJLUOV DWKOHWLFVLVUHDVRQDEOHRU                   4:HOOOHW VORRNDWDVSHFLILFFDVH,KDYHSXW
      XQUHDVRQDEOH"                                                  LQIURQWRI\RX([KLELWWKLV:DVKLQJWRQ3RVWDUWLFOH
      $77251(<%25(//,2EMHFWLRQIRUP             IURP-DQXDU\DERXW/LD7KRPDVZKRDFFRUGLQJ
      7+(:,71(666R\RX UHDVNLQJPHLI           WRWKHKHDGOLQHLVVKDWWHULQJUHFRUGV/HWPHDVN\RX
      WKDW VP\RSLQLRQ", PVRUU\&RXOG\RXMXVWUHSHDW          WRWXUQLQWKDWDUWLFOHWRSDJHWKUHH$QGWKHUHLW
     WKHTXHVWLRQ"                                                 LIZHORRNDWWKHWKLUGSDUDJUDSKWKHRQHWKDWEHJLQV
     %<$77251(<%522.6                                           KHUIDVWHVW\DUGIUHHVW\OHDQGWKHVHFRQGVHQWHQFH
     4'R\RXKDYHDQRSLQLRQGR\RXKDYHDQ            RUWKHWKLUGVHQWHQFHVD\VWKDW VWKHIDVWHVWWLPH
     RSLQLRQDVWRZKHWKHUDSROLF\WKDWUHTXLUHV                  E\DQ\IHPDOHFROOHJHVZLPPHUWKLV\HDUVHFRQGV
     ELRORJLFDOO\PDOHDWKOHWHVWRVXSSUHVVWHVWRVWHURQH           IDVWHUWKDQ2O\PSLDQ7RUUL+XVNH$QGLWFRQWLQXHV
     HLWKHUIRUDFHUWDLQSHULRGRIWLPHRUGRZQWRDFHUWDLQ      TXRWH7KRPDVKDVDOVRSRVWHGWKHQDWLRQ VEHVW\DUG
     OHYHOEHIRUHWKH\FDQEHHOLJLEOHWRFRPSHWHLQZRPHQ V       IUHHVW\OHWLPHGWKLVVHDVRQDWIRXUPLQXWHV
     DWKOHWLFVEDVHGRQJHQGHULGHQWLW\LVUHDVRQDEOHRU           VHFRQGVQHDUO\WKUHHVHFRQGVIDVWHUWKDQ2O\PSLDQ
     XQUHDVRQDEOH"                                                 %URRNH)RUGH
     $77251(<%25(//,2EMHFWLRQIRUP            'R\RXVHHWKDW"
     7+(:,71(66,WJHWVWULFN\,DP        $8KKXK \HV 
     \RXNQRZZKHQ\RXVWDUWWKURZLQJLQVRUWRISHRSOHZLWK      4$QGWKHVHUHFRUGVZHUHVHWDIWHU/LD7KRPDVKDG
     3&26DQGSHRSOHZLWKLQWHUVH[FRQGLWLRQVDQGLWJHWV      TXDOLILHGXQGHUWKH1&$$UHTXLUHPHQWRIWHVWRVWHURQH
     WULFN\6RLW VKDUGHUIRUPHWRDQVZHU                     VXSSUHVVLRQIRURQH\HDU6RP\TXHVWLRQRQWKH
     ,WKLQNWKHTXHVWLRQZDVGR,KDYHDQ          VSHFLILFVSRUWIRU\RXLVLVLW\RXUYLHZWKDWDSROLF\


                                                  3DJH                                                         3DJH
      RSLQLRQLILW VUHDVRQDEOHRUQRWUHDVRQDEOH",VWKDW         WKDWSHUPLWV7KRPDVWRFRPSHWHLQWKHZRPHQ VGLYLVLRQ
      WKHTXHVWLRQ"                                                  DJDLQVWFRPSHWLWRUVZKRDUHELRORJLFDOO\IHPDOHLVIDLU"
      %<$77251(<%522.6                                            $77251(<%25(//,2EMHFWLRQIRUP
      47KDWLV                                              7+(:,71(666R\RXZLOOQRWHLQWKH
      $2ND\                                                 SDUDJUDSKDERYHLWDOVRVD\VWKDWKHUWLPHVORZHGGRZQ
      ,QVRPHFDVHVLWPLJKWEHUHDVRQDEOHDQGVRPH         RQFHVKHKDGWKLVKDSSHQHGDQGVKHZDVVXSSUHVVLQJKHU
      FDVHVLWPLJKWQRWEHUHDVRQDEOH                              WHVWRVWHURQH<RXNQRZ,,GRQ WZDQWWRXVHWKDW
      4,IZHSXWRQRQHVLGHDQGH[FOXGHIURP                ZRUG7KHUHDUHVRPDQ\WKLQJVWKDWJRLQWRDWKOHWLF
      FRQVLGHUDWLRQLQGLYLGXDOVZKRVXIIHUIURPDQ\IRUPRI          SHUIRUPDQFHDQG\RXUWLPHWKDW VQRWWRWDOO\UHODWHGWR
     GLVRUGHURIVH[XDOGHYHORSPHQWGR\RXEHOLHYHWKDWD         \RXUVH[DVVLJQPHQWDWELUWKRU\RXUFXUUHQWKRUPRQDO
     SROLF\WKDWUHTXLUHVELRORJLFDOO\PDOHDWKOHWHVWR            VWDWXVSUDFWLFH\RXNQRZWUDLQLQJZKHWKHU\RXKDGDQ
     VXSSUHVVWHVWRVWHURQHHLWKHUIRUDFHUWDLQSHULRGRI          RSSRUWXQLW\WRJHWVWDUWHGDWD\RXQJDJHDORWRI
     WLPHRUGRZQWRDFHUWDLQOHYHOEHIRUHWKH\FDQEH            YDULDEOHVWKDWDUHQ WUHODWHGWRWKHLUFXUUHQWKRUPRQHV
     HOLJLEOHWRSOD\LQZRPHQ VDWKOHWLFVEDVHGRQJHQGHU         %<$77251(<%522.6
     LGHQWLW\LVUHDVRQDEOHRUXQUHDVRQDEOH"                       4'R\RXKDYHDQRSLQLRQDVWRZKHWKHUDSROLF\
     $77251(<%25(//,2EMHFWLRQIRUP            WKDWSHUPLWV/LD7KRPDVWRFRPSHWHDJDLQVWWKRVHERUQ
     7+(:,71(666R\RXNQRZIRUWKRVHZKR       IHPDOHLQVZLPPLQJLVIDLU"
     DUHDVVLJQHGPDOHDWELUWKLWGHSHQGVRQZKHUHWKH\          $77251(<%25(//,2EMHFWLRQWRIRUP
     DUH\RXNQRZDQGZKDWVSRUWWKH\ UHGRLQJDQGZKDW V        &RXQVHO,WKLQNZH UHVWDUWLQJWRJHWRXWVLGHWKH
     LQYROYHG7KHUHDUHDQXPEHURIFDYHDWVWKDWFRXOGEH        VFRSH7KHZLWQHVVFDQDQVZHUWKLVTXHVWLRQLIVKHFDQ
     WKURZQLQWKHUHDORQJWKRVHOLQHV                            EXWZH UHWUHDGLQJRQWKDWWHUULWRU\
     %<$77251(<%522.6                                           7+(:,71(666RLQWKDWWKHUHDUHYHU\
     4,VLW\RXGRQ WNQRZZKDW\RXWKLQNDERXWWKDW"      IHZWUDQVJHQGHULQGLYLGXDOVZKRDUHLQYROYHGDQGWKHUH
     $77251(<%25(//,2EMHFWLRQWRIRUP          DUHORWVDQGORWVDQGORWVRIRSSRUWXQLWLHVIRUWKRVH


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                                                   3DJH                                                        3DJH
      DVVLJQHGIHPDOHDWELUWKWRFRPSHWH,WKLQNLWLVIDLU       P\REMHFWLRQ:H OOVHHZKHUHWKHOLQHRITXHVWLRQLQJ
      %<$77251(<%522.6                                            JRHVDQGZH OOFRQIHUDJDLQLIZHQHHGWR
      4$QGOHWPHFDOO\RXUDWWHQWLRQWZRSDUDJUDSKV         $77251(<75<217KLVLV'DYH7U\RQ,
      GRZQZKHUHLWEHJLQVHYHU\ERG\ZDQWVDQGTXRWLQJ              ZRXOGDVNWKDWLIWKHUHDUHIXUWKHUVSHDNLQJREMHFWLRQV
      0LFKDHO-R\QHUZKRLGHQWLILHVDVDSK\VLRORJLVWDWWKH        RUGLVFXVVLRQVDERXWVFRSHLWEHGRQHRXWVLGHWKH
      0D\R&OLQLF$UH\RXIDPLOLDUZLWKWKHUHSXWDWLRQRI          SUHVHQFHRIWKHZLWQHVV
      WKH0D\R&OLQLF"                                               %<$77251(<%522.6
      $<HV                                                  4/HWPHDVN\RXWKLVZLWKRXWWDNLQJWKHWLPH
      4,WLVDKLJKUHSXWDWLRQ                              ZLWKRXWUHDGLQJWKHHQWLUHGRFXPHQWGR\RXDJUHHRU
     $P,FRUUHFW"                                        GLVDJUHHZLWK'RFWRU-R\QHUWKDWWKHTXHVWLRQRIZKHWKHU
     $77251(<%25(//,2EMHFWLRQIRUP            DELRORJLFDOO\PDOHLQGLYLGXDOVXFKDV/LD7KRPDVVKRXOG
     7+(:,71(66,QJHQHUDOSHRSOHWKLQNLW      EHSHUPLWWHGWRFRPSOHWHLQWKHZRPHQ VGLYLVLRQDJDLQVW
     KDVDJRRGUHSXWDWLRQ                                        ELRORJLFDOIHPDOHVLVDWRXJKTXHVWLRQWKDWUHDVRQDEOH
     %<$77251(<%522.6                                           SHRSOHFDQGLIIHU"
     4,I\RXUHDGWKLVSDUDJUDSK'U-R\QHUVD\V         $77251(<%25(//,2EMHFWLRQWRIRUP
     TXRWHHYHU\ERG\ZDQWVWRPD[LPL]HHDFKLQGLYLGXDO V          $77251(<%522.67KDW VHQRXJK7KDW V
     RSSRUWXQLW\WRSDUWLFLSDWHDQGEHDVLQFOXVLYHDV             DOO\RXPD\VD\
     SRVVLEOHRQHRIWKHUHVHDUFKHUV0LFKDHO-R\QHUD           $77251(<%25(//,([FXVHPH&RXQVHO
     SK\VLRORJLVWDWWKH0D\R&OLQLFVDLGLQDQLQWHUYLHZ        WKHZLWQHVVKDV
     $QGKLVTXRWHFRQWLQXHVEXWKRZGR\RXEDODQFHWKDW          $77251(<%522.6<RXPD\VD\REMHFWLRQ
     LQFOXVLRQDWWKHLQGLYLGXDOOHYHOZLWKWKHIDLUQHVVWR        WRIRUP
     WKHHQWLUHILHOG"7KDW VUHDOO\WKHVSOLWWKHEDE\           $77251(<%25(//,7KHZLWQHVVKDV
     TXHVWLRQFORVHGTXRWH                                       WKHZLWQHVVDVNHGWRUHDGWKHHQWLUHGRFXPHQW
     'R\RXVHHWKDWODQJXDJH"                            $77251(<%522.6,DPDVNLQJDTXHVWLRQ


                                                   3DJH                                                        3DJH
      $,GR                                                 IUHHDQGDSDUWIURPWKHGRFXPHQW$QG, PHQWLWOHGWR
      4'R\RXDJUHHWKDWWKHTXHVWLRQRIIDLUQHVVWKDW       GRWKDW
      'U-R\QHUDGGUHVVHVWKHUHLVLQIDFWDWRXJKTXHVWLRQ       $77251(<%25(//,, PQRWSHUVXDGHGWKDW
      RQZKLFKUHDVRQDEOHSHRSOHFRXOGGLVDJUHH"                     WKLVLVIUHHDQGDSDUWIURPWKHGRFXPHQW
      $77251(<%25(//,2EMHFWLRQIRUP$QG        $77251(<%522.6,ZLOOPDNHLW
      FRXQVHO,QHHGWRUHQHZP\REMHFWLRQDVWRVFRSH             SHUFHQWDSDUWIURPWKHGRFXPHQW
      $77251(<%522.6<RXFDQKDYHDVWDQGLQJ       $77251(<%25(//,&DQ\RXSOHDVHUHVWDWH
      REMHFWLRQDVWRVFRSHEXW,FDQSXUVXHWKLVOLQHRI           WKHTXHVWLRQWRGRWKDW"7KDQN\RX
      TXHVWLRQLQJ                                                   %<$77251(<%522.6
     7+(:,71(66,ZRXOGOLNHWRWDNHD           4'U$GNLQVGR\RXDJUHHWKDWWKHTXHVWLRQRI
     PRPHQWWRUHDGWKHZKROHDUWLFOHSOHDVH                     ZKHWKHUDELRORJLFDOPDOHVXFKDV/LD7KRPDVVKRXOGEH
     $77251(<%25(//,&RXQVHOFDQ\RXSRLQW      SHUPLWWHGWRFRPSHWHDJDLQVWELRORJLFDOIHPDOHVLQWKH
     PHWRWKHSRUWLRQRIWKHUHSRUWZKHUHVKHRIIHUV              FROOHJLDWHOHYHOLVDWRXJKTXHVWLRQRQZKLFKUHDVRQDEOH
     RSLQLRQVDERXWWKLQJV"                                        SHRSOHFDQGLIIHU"
     $77251(<%522.66KHKDVRIIHUHGWKH          $77251(<%25(//,2EMHFWLRQIRUP
     RSLQLRQLQWKHUHSRUWWKDWGHQ\LQJSDUWLFLSDWLRQLV           &RXQVHO\RXMXVWSXWDQDUWLFOH
     H[WUHPHO\KDUPIXO6KHKDVWHVWLILHGRQWKHUHFRUGWKDW      $77251(<%522.67KDW VHQRXJKRIWKH
     LQKHUYLHZDSROLF\WKDWSHUPLWVHYHQRQHWUDQVJHQGHU       VSHDNLQJREMHFWLRQ,FDQWDNHWKHDUWLFOHEDFNDZD\
     LQGLYLGXDOIURPSOD\LQJDFFRUGLQJWRWKHLUJHQGHU             IURPWKHZLWQHVV0\TXHVWLRQPDNHVQRUHIHUHQFHWRWKH
     LGHQWLW\WKDWVKHKDVDQRSLQLRQEXWVKHLVRIIHULQJ        DUWLFOH
     DQRSLQLRQWKDWWKDWLVDQXQUHDVRQDEOHSROLF\,            $77251(<%25(//,<RXUTXHVWLRQPDNHV
     LQWHQGWRH[DPLQHWKDWWKRURXJKO\6FRSHLVQRWWLJKWO\      UHIHUHQFHWR
     OLPLWHGRQH[SHUWGHSRVLWLRQV,DVVXUH\RX                  $77251(<%522.6&RXQVHOWKDW VHQRXJK
     $77251(<%25(//,, PJRLQJWRVWDQGRQ       VSHDNLQJREMHFWLRQV<RXDUHYLRODWLQJWKH)HGHUDO


                                                                                       3DJHVWR
                Case: 22-5807
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                                                   3DJH                                                        3DJH
      5XOHV                                                          KDUPIXOIRUSDWLHQWVGHHSO\KDUPIXOIRUWUDQVJHQGHU
      $77251(<%25(//,,VWURQJO\GLVDJUHH           \RXWKWREHH[FOXGHGIURPWKHWHDPFRQVLVWHQWZLWKWKHLU
      ZLWKWKDWFKDUDFWHUL]DWLRQ,GRQ WWKLQNWKDW V               JHQGHULGHQWLW\,Q\RXUYLHZLVDSROLF\WKDWUHTXLUHV
      FRUUHFW<RX UHDVNLQJTXHVWLRQVDERXWDVXEMHFWRIWKH        WUDQVJHQGHU\RXWKZKRDUHELRORJLFDOO\PDOHWRVXSSUHVV
      DUWLFOH3K\VLFDOO\UHPRYLQJWKHDUWLFOHIURPWKH              WHVWRVWHURQHEHIRUHWKH\FDQEHHOLJLEOHWRFRPSHWHRQD
      ZLWQHVVGRHVQ WUHPRYHWKDWTXHVWLRQIURPWKHVXEMHFWRI        WHDPFRQVLVWHQWZLWKWKHLUJHQGHULGHQWLW\H[WUHPHO\
      WKHDUWLFOH                                                    KDUPIXOWR\RXWK"
      $77251(<%522.6,GRQ WKDYHWRVKRZ           $77251(<%25(//,2EMHFWLRQIRUP
      WKHZLWQHVVHYHU\DUWLFOHDERXWDWRSLF7KHZLWQHVVLV        7+(:,71(66,ZDVWU\LQJWRFDWFKXS
     DZDUHRI/LD7KRPDV, PDVNLQJDTXHVWLRQDERXW/LD          ZLWK\RXZLWKILQGLQJWKHSDJH
     7KRPDVDQGFRPSHWLWLYHVZLPPLQJ7KHZLWQHVVFDQ              %<$77251(<%522.6
     DQVZHU                                                        47KDWZDVDFRPSOLFDWHGTXHVWLRQ,ZLOODVNLW
     $77251(<%25(//,,VWDQGRQP\                DJDLQ
     REMHFWLRQ                                                     $7KDQN\RX
     $77251(<%522.6<RXFDQGRVR                4,Q\RXUYLHZLVDSROLF\WKDWUHTXLUHVD
     7+(:,71(666RUU\7KDQN\RX                ELRORJLFDOPDOHZKRH[SHULHQFHVDIHPDOHJHQGHULGHQWLW\
     <RXNQRZHYHU\ERG\KDVWKHLURSLQLRQ           WRVXSSUHVVWHVWRVWHURQHSULRUWREHFRPLQJHOLJLEOHWR
     EDVHGRQWKHLUH[SHULHQFHDQGWKHLUNQRZOHGJHDQG              FRPSHWHLQWKHZRPHQ VGLYLVLRQH[WUHPHO\KDUPIXO"
     WKH\ UHDOORZHGWRVWDWHWKDWDQGFRQIHUZLWKRWKHUV           $77251(<%25(//,2EMHFWLRQIRUP
     DERXWLW:KHWKHURUQRWLWLVUHDVRQDEOHLVDZKROH          7+(:,71(666XSSUHVVLRQRIWKH
     RWKHUTXHVWLRQDQGWKDWLQYROYHVSHUVSHFWLYHDQG              WHVWRVWHURQHIRUP\SUDFWLFHLVQ WWKH\RXNQRZWKH
     EDFNJURXQG6RZLWKWKDWFDYHDW,FRXOGVHHSHRSOH           KDUP,WLVWKHH[FOXVLRQWKDWGRHVPRVWRIWKHKDUP
     KDYLQJGLIIHUHQWRSLQLRQVRQWKLVSDUWLFXODUPDWWHU           ,WKLQN,DQVZHUHGWKDW
     %<$77251(<%522.6                                            %<$77251(<%522.6


                                                   3DJH                                                        3DJH
      47KDQN\RX                                             4/HWPHWU\WRLQOLJKWRIZKDW\RXMXVW
      $77251(<%522.6&DQZHPDUNDV([KLELW         VDLGOHWPHDVNDEHWWHUTXHVWLRQ,Q\RXUYLHZLVD
      DGRFXPHQWSUHYLRXVO\LGHQWLILHGDVWDEDUWLFOH          SROLF\WKDWH[FOXGHVDELRORJLFDOPDOHZKRLGHQWLILHVDV
      IURPWKHSXEOLFDWLRQQDPHG2XW6SRUWVWKDWLVGDWHG             DZRPDQIURPFRPSHWLWLRQLQWKHZRPHQ VGLYLVLRQXQOHVV
      -DQXDU\                                                DQGXQWLOWKDWELRORJLFDOPDOHKDVVXSSUHVVHG
                                        WHVWRVWHURQHH[WUHPHO\KDUPIXO"
       :KHUHXSRQ$GNLQV([KLELW            $77251(<%25(//,2EMHFWLRQWRIRUP
      2XW6SRUWV$UWLFOHZDVPDUNHGIRU               7+(:,71(666RWKHVH[DVVLJQHGDW
      LGHQWLILFDWLRQ                                 ELUWKIRUWKLVSHUVRQZRXOGEHPDOHDQGZRXOGQHHGWLPH
                                      WRVXSSUHVVWHVWRVWHURQHZKLFKWDNHVWLPHDQGOHDGVWR
     %<$77251(<%522.6                                            OLPLWDWLRQVLQSDUWLFLSDWLRQRIVSRUWVLQFRPSHWLWLRQ
     4'U$GNLQVKDYH\RXKHDUGWKHQDPH,V]DF+HQLJ"      ,WKLQNWKDWGLVDGYDQWDJHVPRVWDWKOHWHVLIWKH\KDYHWR
     $1R                                                   WDNHWLPHRIIIRUDQ\NLQGRIPHGLFDOWUHDWPHQWIRU
     4'LG\RXKHDUDQ\QHZVLWHPVWKDWDWUDQVJHQGHU        WKHLUSUHSDUDWLRQ,QWKDWIDVKLRQLWZRXOGEHKDUPIXO
     PDOHFRPSHWLQJLQWKHIHPDOHGLYLVLRQWKDWLVJHQHWLF          WRWKHDWKOHWH
     IHPDOHPDOHLGHQWLW\WUDQVJHQGHUPDOHFRPSHWLQJLQWKH       %<$77251(<%522.6
     IHPDOHGLYLVLRQEHDW/LD7KRPDVDWUDQVJHQGHUIHPDOH         4$QG,EHOLHYH\RXWHVWLILHG\RXGRQ WKDYHDQ\
     FRPSHWLQJLQWKHIHPDOHGLYLVLRQLQFHUWDLQUDFHV"            VLPSOHVLQJOHRSLQLRQDVWRZKHWKHULWZRXOG
     +DYH\RXKHDUGWKDW"                                           QHYHUWKHOHVVEHUHDVRQDEOHGHVSLWHEHLQJKDUPIXOWRWKDW
     $1R                                                   DWKOHWH"
     $77251(<%25(//,2EMHFWLRQIRUP             $77251(<%25(//,2EMHFWLRQWRIRUP
     %<$77251(<%522.6                                            7+(:,71(66,GRQ WWKLQNWKDW VZKDW,
     4$OOULJKW                                            VDLG
     <RXVWDWHGLQSDUDJUDSKWKDWLWFDQEH             %<$77251(<%522.6


                                                                                        3DJHVWR
                Case: 22-5807
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                                                  3DJH                                                        3DJH
      4$OOULJKW                                            7+(:,71(66)RUDQDVVLJQHGPDOHDW
      7KHQ, OODVNDGLIIHUHQWWRDYRLG                 ELUWKVXSSUHVVLQJWHVWRVWHURQHVRZH UHFOHDUEHFDXVH
      XQFODULW\'R\RXKDYHDQRSLQLRQDVWRZKHWKHU              \RXXVHGWKHZRUGWKH\LQWKDWSDUWLFXODUTXHVWLRQ,
      GHVSLWHWKHKDUPWKDW\RXKDYHGHVFULEHGDSROLF\WKDW        WKLQNLWLVXQUHDVRQDEOHIRUWKHPWREHWDNHQRXWRI
      UHTXLUHVVXSSUHVVLRQRIWHVWRVWHURQHLQRUGHUIRUVXFK         WKHLUVSRUW,WKLQNLWFDXVHVKDUP:HVHHHYLGHQFH
      DQLQGLYLGXDOWREHHOLJLEOHWRFRPSHWHLQDZRPHQ V           WKDWLWFDXVHVKDUPZLWKUHJDUGWRGHSUHVVLRQDQ[LHW\
      GLYLVLRQLVUHDVRQDEOH"                                        VXLFLGDOLW\,WDOVRFDXVHVPHWDEROLFKDUPFKDQJHVLQ
      $77251(<%25(//,2EMHFWLRQWRIRUP           WKHSHUIRUPDQFH
      7+(:,71(667KDW VFRPSOLFDWHG,            $77251(<%522.6/HWPHPDUNWKLV
     DSRORJL]HIRUQRWDQVZHULQJ\HVRUQR,MXVW            ([KLELWDQDUWLFOHE\'XNH3URIHVVRU'RULDQH
     VRPHWLPHV\RXJHWORVWLQ\RXUTXHVWLRQ6R,GRQ W          /DPEHOHW&ROHPDQ0LFKDHO-R\QHUDQG'RQQD/RSLDQRWKH
     WKLQNLW VUHDVRQDEOHWRDVNWKHPQRWWRSDUWLFLSDWH         'XNH-RXUQDORI*HQGHU/DZDQG3ROLF\
     7KH\QHHGWLPHWRSUDFWLFHDQGSDUWLFLSDWHOLNHDOO           
     WKHLUSHHUVWKDWDUHSUDFWLFLQJDQGFRPSHWLQJDWWKH           :KHUHXSRQ$GNLQV([KLELW'XNH
     WLPH                                                         -RXUQDORI*HQGHU/DZDQG3ROLF\
     %<$77251(<%522.6                                           $UWLFOHZDVPDUNHGIRULGHQWLILFDWLRQ
     46R\RXUWHVWLPRQ\DV\RXVLWKHUHWRGD\LVWKDW      
     HYHQDVDELRORJLFDOO\PDOHDWKOHWHVQDWDOPDOH              9,'(2*5$3+(5&RXQVHO,GLGQ WIXOO\
     DWKOHWHVZKRKDYHQRWVXSSUHVVHGWHVWRVWHURQHDWDOOLW      FDWFKZKLFKGRFXPHQWWKDWZDV"'LG\RXVD\LWZDVWDE
     LVQRWUHDVRQDEOHWRH[FOXGHWKHPIURPSDUWLFLSDWLRQLQ       "
     WKHZRPHQ VGLYLVLRQ"                                         $77251(<%522.6,WLVWDEWKDW V
     $77251(<%25(//,2EMHFWLRQIRUP            FRUUHFW
     7+(:,71(667RWKRVHZKRDUHDVVLJQHG        9,'(2*5$3+(57KDQN\RX
     IHPDOHDWELUWK\RX UHDJDLQJRLQJWRFDXVHWKHPKDUP        %<$77251(<%522.6


                                                  3DJH                                                        3DJH
      E\QRWDOORZLQJWKHPWRSDUWLFLSDWHDQGQRWEHDIILUPHG        4'U$GNLQVOHWPHDVNZKHWKHU\RXKDYHEHIRUH
      LQWKHLUJHQGHU7KDWSDUWRILWLVDELJSDUWRI         QRZEHHQDZDUHRIWKLVDUWLFOHE\'XNH3URIHVVRU&ROHPDQ
      ZKDWLWPHDQVWRLPSURYHWKHLURYHUDOOKHDOWKDQGZKDW         DQGRWKHUV"
      ZHGRWRFDUHIRUWKHVHLQGLYLGXDOV<RX UHDOVR              $,KDYHKHDUGRIDQDUWLFOH\HV
      PDUNLQJWKHPE\VD\LQJWKDWWKH\DUH\RXNQRZ                4'R\RXNQRZ3URIHVVRU&ROHPDQ"
      WUDQVJHQGHUDQGWKDWLVJRLQJWRFDXVHDOONLQGVRI            $,PHW3URIHVVRU&ROHPDQRQFH
      NHUIXIIOHDQGSHRSOHDUHQRWQLFHWRWKHP,WFDQFDXVH       4$QGKDYH\RXHYHUVHHQWKLVDUWLFOHEHIRUH
      H[WUHPHKDUPWRWKHPLQWKDWZD\                              WRGD\"
      %<$77251(<%522.6                                            $,KDYHQ WORRNHGDWLW
     4,QWKHEHJLQQLQJRI\RXUDQVZHU\RXUHIHUUHGWR      43UREDEO\P\TXHVWLRQLQJDERXWLWZLOOEHYHU\
     LQGLYLGXDOVLGHQWLILHGDVIHPDOHDWELUWK                    VKRUW/HWPHDVN\RXWRWXUQWRSDJH$WWKHYHU\
     $$VVLJQHGIHPDOHDWELUWK                            ERWWRPRISDJHLVDVHQWHQFHWKDWUXQVRYHULQWR
     4$QG,WKLQNWKDW\RXUDQVZHUZDVVSHDNLQJWR         WKDWUHDGVDVIROORZV,IHOLWHVSRUWZHUHFRHGRU
     LQGLYLGXDOVZKRDUHDVVLJQHGPDOHDWELUWK                   FRPSHWLWLRQZHUHRSHQHYHQWKHEHVWIHPDOHZRXOGEH
     $$SSOLHVWRERWK                                     UHQGHUHGLQYLVLEOHE\WKHVHDRIPHQDQGER\VZKRZRXOG
     $77251(<%25(//,2EMHFWLRQIRUP            VXUSDVVKHUFORVHGTXRWH'R\RXVHHWKDWODQJXDJH"
     %<$77251(<%522.6                                           $,GR
     47KHQOHWPHUHDVNP\TXHVWLRQEHFDXVH,DVNHG       4'R\RXKDYHWKHH[SHUWLVHWRHYDOXDWHZKHWKHU
     DERXWLQGLYLGXDOVDVVLJQHGPDOHDWELUWK$VWRWKRVH        WKDWLVWUXHRUIDOVH"
     LQGLYLGXDOVLVLW\RXURSLQLRQWKDWDSROLF\WKDW            $77251(<%25(//,2EMHFWWRIRUP
     UHTXLUHVWKHPWRVXSSUHVVWHVWRVWHURQHSULRUWREHFRPLQJ      7+(:,71(667KHZHOODJDLQ\RX
     HOLJLEOHIRUSDUWLFLSDWLRQLQWKHZRPHQ VGLYLVLRQRU         DUHSLFNLQJRQHVHQWHQFHRXWRIDZKROHDUWLFOH$QG,
     KLJKVFKRROOHYHOJLUOVGLYLVLRQLVXQUHDVRQDEOH"             NQRZWKDW'U&ROHPDQKDVDFWXDOO\FDOOHGLQWRTXHVWLRQ
     $77251(<%25(//,2EMHFWLRQIRUP            VRPHRIWKHLQIRUPDWLRQIURPWKLVUHSRUWLQSDUWLFXODU



                                                                                       3DJHVWR
                Case: 22-5807
     Case 2:21-cv-00316        Document:
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                                                                         Armistead App. 0791
                                                   3DJH                                                         3DJH
      $QGZLWKRXWNQRZLQJZKLFKWKLQJV,FDQ WUHDOO\UHO\RQ         LQIRUPDWLRQUHJDUGLQJWKLV,GRQ WWKLQNWKDWWKHUH V
      WKLVGRFXPHQWWRVD\ZKHWKHULW VWUXH$QGWKDW VQRW         DZD\WRDQVZHUWKDWTXHVWLRQZLWKWKHGDWDWKDWZHKDYH
      WKDW VKHUH[SHUWLVH                                       DWWKLVWLPH
      %<$77251(<%522.6                                             %<$77251(<%522.6
      4:HOOWKDW VP\TXHVWLRQ'R\RXEHOLHYHWKDW         4,VLWWUXHLQ\RXUSUDFWLFHWKDWPRVWRI\RXU
      LWLVZLWKLQ\RXUH[SHUWLVHWRHYDOXDWHWKDWVRUWRI            ELRORJLFDOO\PDOHSDWLHQWVSUHVHQWDW\RXUFOLQLFOHW V
      TXHVWLRQDERXWVSRUWLQJSHUIRUPDQFH"                            VD\DIWHUDJH"
      $77251(<%25(//,2EMHFWWRWKHIRUP           $77251(<%25(//,2EMHFWWRIRUP
      7+(:,71(666$JDLQ\RXDUHSLFNLQJRQH        7+(:,71(660RVWRIP\SDWLHQWVZKRDUH
     VHQWHQFH,KDYHVRPHSURIHVVLRQDOH[SHULHQFHZLWK            DVVLJQHGZKLFKDWELUWKGLG\RXVD\"
     DVVLVWLQJSHRSOHLQLPSURYLQJWKHLUSK\VLRORJ\ZLWK            %<$77251(<%522.6
     UHJDUGWR\RXNQRZPXVFOHPDVVIDWPDVV6SRUWZRXOG       40DOH
     EHRXWVLGHZKDW,ZRXOGKDYHWRVD\WKLV                   $$IWHUDJHZKDWDJDLQ"
     VSHFLILFDOO\                                                  4,FKRVH
     %<$77251(<%522.6                                            $77251(<%25(//,6DPHREMHFWLRQ
     4, PQRWVXUHWKDWZDVDFRPSHWHVHQWHQFHOHWPH      7+(:,71(66,ZRXOGDJUHHZLWKWKDW
     DVNDIROORZXSTXHVWLRQ,VLWWKHFDVHWKDWLWLV       %<$77251(<%522.6
     \RXFRQVLGHULWRXWVLGH\RXUSURIHVVLRQDOH[SHUWLVHWR         4$QGLPSOLFDWLRQVRIWKDWDUHWKDWWKRVH
     HYDOXDWHWKHWUXWKRUIDOVLW\RIWKLVVXSSRVHGDVVHUWLRQ       LQGLYLGXDOVKDYHDOUHDG\H[SHULHQFHGZHOOOHWPH
     WKDWTXRWHLIHOLWHVSRUWZHUHFRHGRUFRPSHWLWLRQ           DVNLWGLIIHUHQWO\,Q\RXUH[SHULHQFHRUEDVHGRQ\RXU
     ZHUHRSHQHYHQWKHEHVWIHPDOHZRXOGEHUHQGHUHG              WUDLQLQJHLWKHURQHRQDYHUDJHZKDW7DQQHUVWDJHDUH
     LQYLVLEOHE\WKHVHDRIPHQDQGER\VZKRZRXOGVXUSDVV         ER\VDWE\WKHWLPHWKH\KDYHILQLVKHGWKHLUWK\HDU"
     KHUFORVHGTXRWH"                                             $77251(<%25(//,2EMHFWLRQIRUP
     $77251(<%25(//,2EMHFWWRIRUP              7+(:,71(666RDVVLJQHGPDOHDWELUWK"


                                                   3DJH                                                         3DJH
      7+(:,71(667KDW VQRWEHHQP\                 %<$77251(<%522.6
      H[SHULHQFH7KDW VQRWZKDWZH UHVHHLQJLQVSRUWV,         4&RUUHFW
      FDQ WVD\DQ\WKLQJHOVHDERXWZKHWKHURUQRW,FRXOG            $7KHDYHUDJHDWLV7DQQHU
      DVVHVVLW7KDWZRXOGEHP\RQO\ZD\WRDVVHVVLWEDVHG        4%\WKHHQGRIDJH\RXZRXOGVD\7DQQHU"
      RQP\H[SHULHQFH                                               $,WLVUHDOO\DQGDKDOILVZKDWWKHSXEOLVKHG
      %<$77251(<%522.6                                             OLWHUDWXUHVD\V
      4:KDWLV\RXUSURIHVVLRQDOWUDLQLQJRUUHVHDUFK         46RSUHVXPDEO\E\WKHHQGRIWKHLUWK\HDU
      WKDWTXDOLILHV\RXWRHYDOXDWHWKHLPSDFWWKDWZRXOGEH         ZKHQWKH\ UHROGHUWKDQWKH\ UHHLWKHULQDODWHU
      H[SHULHQFHGLQDWKOHWLFVRQELRORJLFDOZRPHQLIVSRUW           VWDJHRI7DQQHUVWDJHRUPRYLQJLQWR7DQQHUVWDJH"
     ZHUHFRHGRUFRPSHWLWLRQZHUHRSHQ"                            $77251(<%25(//,2EMHFWLRQIRUP
     $77251(<%25(//,2EMHFWLRQWRIRUP           7+(:,71(662QDYHUDJHEXWWKHUHLV
     7+(:,71(66<HDK,GRQ WVWXG\              VXFKDZLGHYDULHW\RIWKH\FDQSUHVHQWZLWKSXEHUW\
     VSRUWV                                                        IURPWR$QGWKH\DOOPRYHGLIIHUHQWO\DW
     %<$77251(<%522.6                                            GLIIHUHQWUDWHVDQGGLIIHUHQWWLPHVVRWKHUH VDORWRI
     4<RXDUHDQHQGRFULQRORJLVWE\WUDLQLQJ               YDULHW\LQWKHDQGDKDOI\HDUROGV,VHHLQP\
     ,VWKDWFRUUHFW"                                      FOLQLFZKRDUHDVVLJQHGPDOHDWELUWK
     $,DP                                                 %<$77251(<%522.6
     4'R\RXKDYHDQH[SHUWRSLQLRQDVWRZKDWODVWLQJ      4$QGP\TXHVWLRQZDVDERXWDYHUDJHV6RRQ
     RUOHJDF\VWUHQJWKDQGDWKOHWLFFDSDELOLW\LIDQ\          DYHUDJHE\WKHHQGRIWKHWK\HDUWKHSDWLHQWV\RX
     ZD\QDWDOPDOHVFRQWLQXHWRHQMR\RYHUQDWDOIHPDOHV           VHHZRXOGEHWRZDUGVWKHHQGRI7DQQHUVWDJHRU
     DIWHUVXSSUHVVLQJWHVWRVWHURQH"                                HQWHULQJLQWR7DQQHUVWDJH"
     $77251(<%25(//,2EMHFWLRQIRUP             $77251(<%25(//,2EMHFWLRQIRUP
     7+(:,71(666RWKHUH VDODFNRI              7+(:,71(662QDYHUDJH\HDK
     UHVHDUFKLQWKLVDUHD,IHHOOLNHZHQHHGPRUH               %<$77251(<%522.6


                                                                                        3DJHVWR
                Case: 22-5807
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                                                   3DJH                                                        3DJH
      4$QGE\WKDWWLPHWKRVHELRORJLFDOO\PDOHZKR          DQ\WKLQJVSHFLILF
      KDYHXQGHUJRQHHIIHFWVRQVNHOHWRQRQKHLJKWRQ             %<$77251(<%522.6
      PXVFXODWXUHW\SLFDORIRUVRPHWLPHVUHIHUUHGWRDV            4:HOODV,WHOOZLWQHVVHV,DPGHIHQGLQJ,GRQ W
      YHULOL]DWLRQ                                                  NQRZLVDOZD\VDJUHDWFRQYHUVDWLRQVWRSSHU,VLW\RXU
      &RUUHFW"                                                WHVWLPRQ\WKDW\RXGRQ WDFWXDOO\NQRZKRZPXFKERQH
      $77251(<%25(//,2EMHFWLRQIRUP             GHQVLILFDWLRQKDVRFFXUUHGE\WKHHQGRIWKHWK\HDU
      7+(:,71(666RDWDQGDKDOIWKH           LQWKRVHLQELRORJLFDOPDOHV"
      DYHUDJHDVVLJQHGPDOHDWELUWKLVGHDGFHQWHUWKHLU            $77251(<%25(//,2EMHFWLRQIRUP
      JURZWKVSXUWVRWKH\ YHRQO\JRQHWKURXJKDERXWKDOIRI       7+(:,71(66,KDYHQ WORRNHGDWLW
     LW7KH\VWLOOKDYHDERXWKDOIRILWOHIW                   ,KDYHQ WORRNHGDWLWUHFHQWO\7KHUHDUHWKDW V
     %<$77251(<%522.6                                           DQLQWHUSUHWDWLRQVWKDWZHXVHDQGLWFRPHVZLWKRXU
     42ND\                                                UHSRUWVDQG,ZRXOGKDYHWRORRNDWWKDWWRUHO\RQLW
     $QGGR\RXKDYHDQ\NQRZOHGJHDVWRZKHWKHU          %<$77251(<%522.6
     WKH\KDYHDOVRXQGHUJRQHFKDQJHVLQKHDUWDQGOXQJVL]H       4+DYH\RXKHDUGWKHQDPH-RDQQD+DUSHU"
     DQGERQHVWUHQJWKWKDWDUHW\SLFDORIPDOHSXEHUW\"           $1R
     $77251(<%25(//,2EMHFWLRQIRUP            4/HWPHVHHWDE
     7+(:,71(666R,FDQ WFRPPHQWDERXW         $77251(<%522.60DUNLQJZKDWZDV
     WKHKHDUWDQGWKHOXQJ7KHOXQJVL]HLVW\SLFDOO\           SUHYLRXVO\GHVLJQDWHGWDEDUWLFOHSXEOLVKHG'HFHPEHU
     SURSRUWLRQHGWRWKHERG\VL]H6RLQWKDWZD\KDOIZD\      E\(PPD+LOWRQDQG7RPP\/XQGEHUJWLWOHG
     %RQHVWUHQJWKKRZHYHUWKHUH VPRUHLQIRUPDWLRQDERXW       7UDQVJHQGHU:RPHQLQWKH)HPDOH&DWHJRU\RI6SRUW
     $QG\RXNQRZSHRSOHGRQ WJHWWKHLUSHDNERQHPDVV           3HUVSHFWLYHVRQ7HVWRVWHURQH6XSSUHVVLRQDQG3HUIRUPDQFH
     XQWLOWKH\ UHVRWKH\KDYHDORQJZD\WRJRVWDUWLQJ      $GYDQWDJH
     IURPDQGDKDOIEHIRUHWKH\UHDFKWKDW                    
     %<$77251(<%522.6                                            :KHUHXSRQ$GNLQV([KLELW


                                                   3DJH                                                        3DJH
      4+DYHRQDYHUDJHPDOHVH[SHULHQFHGVLJQLILFDQW       +LOWRQDQG/XQGEHUJ$UWLFOHZDVPDUNHG
      ERQHGHQVLILFDWLRQE\DJHE\WKHHQGRIWKHLUWK         IRULGHQWLILFDWLRQ
      \HDU"                                                          
      $77251(<%25(//,2EMHFWLRQIRUP             %<$77251(<%522.6
      7+(:,71(66'HSHQGVRQ\RXUGHILQLWLRQ        4$QG'U$GNLQVOHWPHDVNDJDLQZKHWKHU\RX
      RIVLJQLILFDQW&OLQLFDOO\VLJQLILFDQWPHGLFDOO\             NQRZWKHQDPH(PPD+LOWRQRU7RPP\/XQGEHUJ
      VLJQLILFDQW",VLW\RXNQRZVLJQLILFDQWZLWKUHJDUG         $1R
      WRWKHELRORJLFDODVVD\,VLW\RX UHWDONLQJDERXW           4&DQ,WDNHLWWKHQ\RXKDYHQRWVHHQWKLV
      ZKLFKZRXOG'H[XVVFDQV"                                   DUWLFOHEHIRUH"
     %<$77251(<%522.6                                           $,ZRXOGQ WVD\WKDWRQHHTXDOVWKHRWKHU, P
     4,ZLOOWDNHFOLQLFDOO\VLJQLILFDQW                  WHUULEOHZLWKQDPHVWREHTXLWHKRQHVW
     $77251(<%25(//,2EMHFWLRQWRIRUP          4/HWPHDVNWKHUHIRUH,UHWUDFWWKDW
     7+(:,71(66&DQ\RXUHSHDW\RXU              TXHVWLRQ'R\RXUHFDOOVHHLQJWKLVDUWLFOHEHIRUH
     TXHVWLRQZLWKWKDW"                                           WRGD\"
     %<$77251(<%522.6                                           $1R
     4<HV2QDYHUDJHKDYHELRORJLFDOPDOHV              42ND\
     H[SHULHQFHGFOLQLFDOO\VLJQLILFDQWERQHGHQVLILFDWLRQE\      7KHQDJDLQZHZLOOEHVKRUW<RXVHHWKH
     WKHHQGRIWKHLUWK\HDU"                                   WLWOH,XQGHUVWDQG\RXKDYHQRWVHHQLW/HWPHDVN
     $77251(<%25(//,2EMHFWLRQIRUP            \RXWRWXUQWRSDJH$ERXWDQLQFKGRZQLQWKH
     7+(:,71(662YHUWKHLUOLIHVSDQWKH\        ILUVWFROXPQVXPPDUL]LQJRWKHUUHVHDUFKWKHDXWKRUVRI
     GRFRQWLQXHWRLQFUHDVHWKHLUERQHGHQVLW\7KHSHDNRI      WKLVSDSHUZULWHDQH[WHQVLYHUHYLHZRIILWQHVVIURP
     ERQHGHQVLW\LVPXFKODWHUVRHYHU\SHUVRQLVGLIIHUHQW      RYHU$XVWUDOLDQFKLOGUHQDJHWR\HDUVROG
     DVWRZKHUHWKH\DUHLQWKDWGHQVLW\VFDOH$WWKH           VKRZWKDWFRPSDUHGZLWK\HDUROGIHPDOHV\HDUROG
     PLGGOHRISXEHUW\,PHDQ,ZRXOGEHJXHVVLQJLI,VDLG      PDOHVZHUHIDVWHURYHUVKRUWVSULQWVSHUFHQWDQG


                                                                                       3DJHVWR
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                                                   3DJH                                                        3DJH
      RQHPLOHSHUFHQW&RXOGMXPSSHUFHQWIXUWKHU         7+(:,71(66*HQHUDOO\HGXFDWLRQLQ
      IURPDVWDQGLQJVWDUWDWHVWRIH[SORVLYHSRZHU               PHGLFDOVFKRRODQGWKHQORRNLQJDWKRUPRQDOHIIHFWVLQ
      4XRWHFRXOGFRPSOHWHPRUHSXVKXSVLQVHFRQGVDQG        PXVFOHDQGERQHDQGWKRVHWKLQJV%XWQRWLQSDUWLFXODU
      KDGSHUFHQWVWURQJHUJULSFORVHGTXRWH'R\RX           WKHVHVSHFLILFWHVWV
      VHHWKDWODQJXDJH"                                              %<$77251(<%522.6
      $<HDK                                                  4'R\RXKDYHDQ\RSLQLRQDVWRZKHWKHUSULRUWR
      4$QGP\TXHVWLRQIRU\RXLV\RXKDYH\RXUVHOIDQ\       SXEHUW\QDWDOPDOHVKDYHVWUHQJWKVSHHGRURWKHU
      NQRZOHGJHDVWRZKHWKHUWKHIDFWVUHFLWHGWKHUHDUH             DWKOHWLFDGYDQWDJHVRYHUQDWDOIHPDOHVRQDYHUDJH"
      VFLHQWLILFDOO\DFFXUDWHRULQDFFXUDWH"                          $77251(<%25(//,2EMHFWLRQIRUP
     $77251(<%25(//,2EMHFWLRQIRUP             7+(:,71(66*RVKWKHUH VVXFKDZLGH
     7+(:,71(666RZKHQHYHU, PUHYLHZLQJ         YDULHW\RIKXPDQV$QG,NQRZ\RXDUHDVNLQJRQ
     DQDUWLFOHDQGDJDLQ,KDYHQRWVHHQWKHIXOODUWLFOH       DYHUDJH,GRQ WWKLQN,IHHOFRPIRUWDEOHDQVZHULQJWKH
     LW VUHSRUWLQJRQSRSXODWLRQIURP$XVWUDOLDZKLFK,           TXHVWLRQ
     XVXDOO\XVHWKHSRSXODWLRQWKDW, PWDONLQJDERXWZKHQ,       %<$77251(<%522.6
     DPXVLQJWKDWLQIRUPDWLRQWRKHOSJXLGHP\SUDFWLFH6R       4$OOULJKW
     , PQRWFRPSOHWHO\VXUHWKDWZRXOGEHDWKLQJWKDWZRXOG       <RXKDYHRIIHUHGWKHRSLQLRQZHFDQJREDFN
     FRPHLQWRP\PLQGZKHQORRNLQJDWWKLV,VWKLVWKH           WRSDUDJUDSK,NHHSUHIHUULQJWRWKHVDPHWKDW
     VDPHSRSXODWLRQLQ$XVWUDOLD\RXZH UHVHHLQJKHUH"            UHIXVLQJWRSHUPLWDWUDQVJHQGHULQGLYLGXDOWR
     7KDW VRQHRIP\ILUVWTXHVWLRQVDERXWLW                     SDUWLFLSDWHLQDVSRUWFDWHJRU\FRUUHVSRQGLQJWRWKHLU
     %<$77251(<%522.6                                            JHQGHULGHQWLW\FDQEHRULVH[WUHPHO\KDUPIXO)URP
     4$QG,XQGHUVWDQGWKDWHYHU\ERG\LQ$XVWUDOLDLV       \RXUPHGLFDOSRLQWRIYLHZZKDWGR\RXFRQVLGHUWREH
     XSVLGHGRZQEXWP\TXHVWLRQVLPSO\ZDVGR\RXKDYHDQ\        WKHLPSOLFDWLRQVRIWKDWRSLQLRQZKHQLWFRPHVWR
     NQRZOHGJHDVWRZKHWKHUDVDPDWWHURIVFLHQFHWKHVH         LQGLYLGXDOVZKRFODLPERWKDPDOHDQGDIHPDOHJHQGHU
     DVVHUWLRQVDUHWUXHRUIDOVH"                                  LGHQWLW\"


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      7+(:,71(667KH\KDYHSXEOLVKHGLWLQD        %<$77251(<%522.6
      SHHUUHYLHZHGMRXUQDO,WKLQN,ZRXOGKDYHWRORRNLI         40XVWWKH\EHSHUPLWWHGWRSOD\LQHLWKHU
      WKLVLVDSHHUUHYLHZHGMRXUQDOEHFDXVHVRPHDUHQRW           FDWHJRU\DFFRUGLQJWRWKHLUFKRLFH
      ,IWKRVHWKLQJVDUHWUXHWKHDVVXPSWLRQZHPDNHLQ             $77251(<%25(//,2EMHFWLRQIRUP
      PHGLFLQHLVWKDWWKH\DUHWUXH                                 7+(:,71(667KDWLVDJRRGTXHVWLRQ,
      %<$77251(<%522.6                                             ZRXOGKDYHWRWDONWRWKHLQGLYLGXDOSHUVRQWRUHDOO\
      4<RXDUHDYHU\WUXVWLQJSHUVRQWRSHHUUHYLHZHG        NQRZZKDWKDUPWKH\PLJKWWKLQNIHHOWKDWWKH\DUH
      MRXUQDOV                                                       KDYLQJLIWKH\ZHUHNHSWIURPRQHYHUVXVWKHRWKHU,
     $7KH\JHWUHGDFWHGDOOWKHWLPH6RDJDLQP\         WKLQNWKDWZRXOGEHDYHU\LQGLYLGXDOL]HGTXHVWLRQ,
     SUHYLRXVWKLQJLV\RXJRWWRORRNDWDOORIWKHSLHFHV        FDQ WDQVZHULWZLWKP\H[SHULHQFH
     HWFHWHUD                                                     %<$77251(<%522.6
     4,QJHQHUDOLQJHQHUDOGR\RXFRQVLGHUWKDW       4$OOULJKW
     \RXUH[SHUWLVHH[WHQGVWRWKHTXHVWLRQRIKRZPXFK             :RXOG\RXKDYHWKHVDPHDQVZHUZLWKUHJDUGWR
     DWKOHWLFDGYDQWDJHELRORJLFDOPDOHVHQMR\RYHU                 DQLQGLYLGXDOZKRH[SHULHQFHVQHLWKHUJHQGHULGHQWLW\
     ELRORJLFDOIHPDOHVSULRUWRSXEHUW\LIDQ\"                   QHLWKHUPDOHRUIHPDOH"
     $77251(<%25(//,2EMHFWLRQIRUP             $77251(<%25(//,2EMHFWLRQIRUP
     7+(:,71(66,NQRZOLPLWHGDPRXQWRI          7+(:,71(666RSHRSOHZKRLGHQWLI\DVD
     WKDWLQIRUPDWLRQ:HDOOOHDUQDOLWWOHELWEXW,            DJHQGHU\RXNQRZWKHUHLVVXFKDZLGHYDULHW\WKHUHRI
     ZRXOGQ WVD\WKDW,FRXOGVD\\RXNQRZ,NQRZ                WKHLUOLIHH[SHULHQFHWKHLUSXEHUWDOH[SHULHQFHWKHLU
     HYHU\WKLQJWKDWH[LVWV                                        FXUUHQWKRUPRQHVDQGZKDWWKLQJVWKH\PLJKWEHWDNLQJRU
     %<$77251(<%522.6                                            QRWWDNLQJZKHUHWKHLUOHYHOVDUH,WKLQNLWDQG
     4:KDWLV\RXUVRXUFHRILQIRUPDWLRQLQWKDWDUHD"      \RXNQRZDJDLQ,WKLQN\RXZRXOGKDYHWRORRNDW
     $77251(<%25(//,2EMHFWLRQIRUP             WKHLQGLYLGXDOSHUVRQ


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                                                  3DJH                                                         3DJH
      %<$77251(<%522.6                                            OLWWOHELW7KH\VRPHWLPHVDUHIULOO\OLNHPHYHU\
      4,VLW\RXURSLQLRQ'U$GNLQVWKDWWKHRQO\         IHPLQLQHLVKDQGRQGD\VDQGIHHOWKDWDQG
      UHDVRQDEOHSROLF\IRUVFKRROVFROOHJHVRUDWKOHWLF            RWKHUGD\VWKH\PLJKWZHDUDVXLWDQGWLH$QGWKDW
      OHDJXHVZRXOGEHWRFRQVLGHUHOLJLELOLW\IRUWUDQVJHQGHU       JHQGHUH[SUHVVLRQPD\DOLJQZLWKWKHLUJHQGHULGHQWLW\,
      LQGLYLGXDOVRQDFDVHE\FDVHEDVLVWDNLQJLQWRDFFRXQW       JXHVVWRH[SUHVVWKHPVHOYHVDGLIIHUHQWZD\,W VMXVW
      DOORIWKHW\SHVRIFRPSOH[LWLHV\RXMXVWGHVFULEHG"           DPDWWHUWKDW\RXNQRZVRPHGD\V,IHHOOLNHDJLUO
      $77251(<%25(//,2EMHFWLRQIRUP             DQGVRPHGD\V,GRQ W$QG,DFWXDOO\DOVRVRPHWLPHV
      7+(:,71(66,WKLQNWKDWWKDWLV              KDYHWKDWIHHOLQJRI\RXNQRZDPRUHJLUO\RQHGD\
      FRPSOHWHO\SRVVLEOHIRUWKHPWRGRJLYHQWKHVPDOO             WKDQWKHRWKHU,GRQ WNQRZ, PQRWLPSO\LQJWKDW
     SRSXODWLRQWKDWZH UHWDONLQJDERXW$QG,WKLQNLWLV       , PJHQGHUIOXLGEXWWKDWSDUWLFXODUSHUVRQLVDQ
     UHDVRQDEOHIRUWKHPWRWDNHWKHWLPHWRGRWKDWZLWK          H[DPSOHRIZKDWPLJKWKDSSHQIRUVRPHRQHZKR VJHQGHU
     HDFKLQGLYLGXDOKXPDQ                                        IOXLG
     %<$77251(<%522.6                                           4/HWPHDVN\RXWRILQG,WROG\RXZH GGLJIRU
     4'R\RXWKLQNWKDWVXFKDSROLF\LVWKHRQO\          LWDJDLQWKH(QGRFULQH6RFLHW\*XLGHOLQHVZKLFK
     UHDVRQDEOHSROLF\"                                            DUH([KLELW
     $77251(<%25(//,2EMHFWLRQIRUP            $, PQRWVD\LQJP\H[SHULHQFHLVWKHRQHDQG
     7+(:,71(66<HDK, PJRLQJWRYHQWXUH       RQO\RQHDOOEHDOO
     WKDW\HV                                                    4$QG, OOFDOO\RXUDWWHQWLRQWRSDJHILYH
     %<$77251(<%522.6                                           FROXPQWZR"
     4,Q\RXUYLHZDV\RX YHWHVWLILHGHDUOLHUD       $, PVRUU\ZKDWLVWKDWDJDLQ"
     ELWDERXWWKHFDWHJRU\RIJHQGHUIOXLGLQGLYLGXDOV<RX      43DJHILYHFROXPQWZR/DQJXDJHORRNVOLNH
     PHQWLRQHGWKHWHUP$UH\RXIDPLOLDUZLWKWKDW               WKLV7KDW VRQSDJHILYH7KDW VILQH
     FDWHJRU\FRQFHSWRIJHQGHUIOXLGLQGLYLGXDOV"                $77251(<75<217KLVLV'DYH7U\RQ,
     $77251(<%25(//,2EMHFWLRQIRUP            WKLQNERWKRI\RXDUHVWDUWLQJWRWUDLORIIDWWLPHVDQG


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      7+(:,71(66, PDZDUHRIWKHFRQFHSW         VSHDNOHVVORXGO\DQGLW VJHWWLQJDOLWWOHELWKDUGHU
      %<$77251(<%522.6                                            WRKHDU\RX,I\RXFDQERWKUHPHPEHUWRNHHS\RXU
      4&DQ\RXH[SODLQIRUWKHFRXUWZKDWWKHFRQFHSW        YRLFHVXSLWZRXOGEHKHOSIXOWRPH
      RIZKDWDJHQGHUIOXLGLQGLYLGXDOLVRUZKDWWKDW          $77251(<%522.6:HZLOOGRRXUEHVW
      SHUVRQH[SHULHQFHV"                                            :DLWXQWLO
      $77251(<%25(//,2EMHFWLRQWRIRUP           %<$77251(<%522.6
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      HYHU\JHQGHUIOXLGSHUVRQLVGLIIHUHQWDQG,KDYHWR          LVDGLVFXVVLRQRIWKHFRQWLQXXPDQGLQGLYLGXDOVZKR
      DFWXDOO\GLJGHHSZKHQ, PWDONLQJWRVRPHRQHZKRLV           H[SHULHQFHERWKRUQHLWKHUDQGWKHQDUHIHUHQFHWKDWZH
     JHQGHUIOXLGDVWRZKDWWKDWPHDQV,WFRXOGPHDQD          ORRNHGDWEHIRUHDERXWUHSRUWVRILQGLYLGXDOV
     ZLGHYDULHW\RIGLIIHUHQWH[SHULHQFHV                        H[SHULHQFLQJDFRQWLQXRXVDQGUDSLGLQYROXQWDU\
     %<$77251(<%522.6                                           DOWHUQDWLRQEHWZHHQDPDOHDQGIHPDOHJHQGHULGHQWLW\
     4<RX UHQRWDEOHWRGHVFULEHDWDOOZKDWLWPHDQ      'R\RXVHHWKDW",W VDERXWHLJKWOLQHVIURPWKH
     WREHJHQGHUIOXLG"                                           ERWWRP
     $77251(<%25(//,2EMHFWLRQIRUP            $2QWKHULJKW"
     7+(:,71(66,FDQJLYH\RXDQH[DPSOH       4<HV
     ,FDQJLYH\RXPRUHWKDQRQHH[DPSOH                         $<HDK
     %<$77251(<%522.6                                           4$QG, PJRLQJWRIRFXV\RXRQWKHUDSLG
     4, OOWDNHDQH[DPSOH                                LQYROXQWDU\DOWHUQDWLRQEHWZHHQPDOHDQGIHPDOH
     $2ND\                                                LGHQWLW\$QGLVLW\RXUYLHZLVLW\RXURSLQLRQ
     )RUDSDWLHQW, PEULQJLQJWRPLQGIRUWKDW         WKDWXQOHVVVFKRRORUOHDJXHSROLF\DOORZVVXFKJHQGHU
     LQGLYLGXDOWKH\JHQHUDOO\PLJKWEHH[SUHVVLQJWKHLU           IOXLGLQGLYLGXDOVWRSOD\LQWKHOHDJXHDFFRUGLQJWR
     JHQGHULGHQWLW\YDULDEO\RQDSDUWLFXODUGD\7KHLU          WKHLUSUHVHQWJHQGHULGHQWLW\ZKDWHYHUWKDWPLJKWEH
     XQGHUVWDQGLQJRIWKHLULGHQWLW\LVWKDWLWVKLIWVD           WKDWLWZLOOGRH[WUHPHKDUPWRWKRVHLQGLYLGXDOV"


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      7+(:,71(666R,WKLQNWKDWXQOHVV\RX         %<$77251(<%522.6
      DUHZRUNLQJZLWKWKDWLQGLYLGXDOSHUVRQWRGRZKDWZRUNV        4$QGGR\RXKDYHVSHFLILFH[DPSOHVRIVXFK
      IRUWKHPEDVHGRQWKHLUJHQGHULGHQWLW\\RXDUHOLNHO\         SDWLHQWVZKRH[SHULHQFHGLQFUHDVHGVXLFLGDOLGHDWLRQ
      WRGRKDUP                                                     VSHFLILFDOO\DVDUHVXOWRIQRWEHLQJSHUPLWWHGWRSOD\
      %<$77251(<%522.6                                             LQDWKOHWLFVDFFRUGLQJWRWKHLUJHQGHULGHQWLW\"
      4$QGDP,FRUUHFWWKDWLWLV\RXURSLQLRQWKDW          $77251(<%25(//,2EMHFWLRQIRUP
      DYRLGLQJKDUPWRVWXGHQWVZKRH[SHULHQFHDWUDQVJHQGHU          7+(:,71(66,GR
      LGHQWLW\SHUKDSVDJHQGHUIOXLGLGHQWLW\LVDKLJKHU          %<$77251(<%522.6
     SULRULW\WKDQHQVXULQJIDLUQHVVLQFRPSHWLWLRQIRUWKRVH       47HOOXVDERXWWKDW
     ERUQIHPDOH"                                                   $77251(<%25(//,2EMHFWLRQIRUP
     $77251(<%25(//,2EMHFWLRQWRIRUP           7+(:,71(66<HDK6RRQHRIP\
     7+(:,71(666RGRLQJDKDUPWR                SDWLHQWVIRUH[DPSOHKDGSOD\HGIRRWEDOO7KLV
     LQGLYLGXDOVWKDWDUHWUDQVJHQGHUFDQOHDGGLUHFWO\WR          SDWLHQWZDVDVVLJQHGIHPDOHDWELUWKLGHQWLI\LQJDV
     WKHLUGHDWK6RZH UHWDONLQJDERXWDOLIHDQGGHDWK          PDOHLQPLGGOHVFKRRO5HDOO\ZDQWHGWRSOD\LQKLJK
     H[SHULHQFHIRUWKHVHLQGLYLGXDOV:KDW\RXDUH                VFKRRODQGZDVHYHQWXDOO\QRWDOORZHGWRGRVRDQG
     UHIHUULQJWRZLWKUHJDUGWRVSRUWVSDUWLFLSDWLRQLQP\         WKHLUGHSUHVVLRQGHHSHQHG7KH\KDGQRWKDGDQ\
     YLVLRQRIDOORIWKHVSRUWVDWKOHWLFVLVDUDULW\RI           VXLFLGDOLGHDWLRQEHIRUH7KH\KDGEHHQZHOODIILUPHG
     VRPHRQHG\LQJDQGLWLVQRWEHFDXVHRIWKHKDUPSROLF\        7KH\ZHUHOLYLQJLQWKHLUJHQGHULGHQWLW\LQHYHU\RWKHU
     RIWUDQVJHQGHUSHUVRQ                                     DVSHFWRIWKHLUOLIH
     %<$77251(<%522.6                                            $QGWKH\HQGHGXSKDYLQJWRJRRQ
     4:KDW VWKHDQVZHUWRP\TXHVWLRQ"                     PHGLFDWLRQWRPDNHVXUHWKDWWRWUHDWWKDW
     &28575(3257(5([FXVHPH                     GHSUHVVLRQLQDGGLWLRQWRDOORIWKHVXSSRUWLQWKH
     $77251(<%25(//,2EMHFWLRQ                   IDPLO\DQGWHDFKHUVZHUHJLYLQJZLWKWKHLUJHQGHU


                                                    3DJH                                                        3DJH
      &28575(3257(5,MXVWZDQWWRLQWHUUXSW        LGHQWLW\
      EHFDXVHWKHZLWQHVVFXWRXWGXULQJKHUDQVZHU                  %<$77251(<%522.6
      %<$77251(<%522.6                                             4$QGGR\RXKDYHDQ\NQRZOHGJHDVWRZKHWKHUWKDW
      4:HOO, PJRLQJWRUHDVNWKHTXHVWLRQ$QG           LQGLYLGXDOZRXOGKDYHIDFHGVHULRXVVDIHW\LQMXU\ULVNV
      ZH OOERWKWU\WRVSHDNXSDQGSHUKDSVWRVRPHH[WHQW           KDGWKDWLQGLYLGXDOQDWDOIHPDOHEHHQSHUPLWWHGWR
      WKHWUDQVFULSWZLOOKDYHWREH\RXNQRZFOHDQHGXS            SOD\IRRWEDOODWKLJKVFKRROOHYHODV\RXUSDWLHQW V
      IURPWKHUHFRUGLQJ:H OOGRWKHEHVWZHFDQ,VLW           PDOHSHHUVPDWXUHGLQWRIXOOPDOHVWDWXUH"
      \RXURSLQLRQWKDWDYRLGLQJKDUPWRWUDQVJHQGHU                  $77251(<%25(//,2EMHFWLRQWRIRUP
      LQGLYLGXDOVSRWHQWLDOO\LQFOXGLQJJHQGHUIOXLG                 7+(:,71(667KLVSDUWLFXODUSDWLHQWZDV
     LQGLYLGXDOVLVDYDOXHWKDWLVPRUHLPSRUWDQWWKDQ            ZLWKLQWKHQRUPDOUDQJHIRUDPDOHRIWKDWDJHDVIDUDV
     SURWHFWLQJWKHIDLUQHVVDQGVDIHW\IRUJLUOVDQGZRPHQ         KHLJKWZHLJKWDQG%0,VRWKHUHZDVQ WDJUHDW
     IRUWKRVHERUQIHPDOHLQVSRUW"                                GLVSDULW\ZLWKUHJDUGWRWKDW7KDWFDQFRPHXSDW
     $77251(<%25(//,2EMHFWLRQIRUP             WLPHVZLWKUHJDUGVWRVSRUWVSDUWLFLSDWLRQLQ
     7+(:,71(666RZKHQZH UHWDONLQJDERXW       FRQVLGHUDWLRQZLWKLQMXU\6RWKLVSDUWLFXODUSDWLHQW
     OLIHDQGGHDWKWKDWLVWKHXOWLPDWHRXWFRPH$QG,           ,ZRXOGQRWKDYHKDGDQ\FRQFHUQWKHUH/RWVRI
     VWLOOVD\WKDWLI\RX UHWDONLQJDERXWDSROLF\WKDW           DVVLJQHGIHPDOHVDWELUWKZKRDUHQRWWUDQVJHQGHUDOVR
     FRXOGFDXVHWKHGHDWKRIDKXPDQEHLQJWKDWLQP\            SOD\IRRWEDOOLQKLJKVFKRRO
     MXGJPHQWGRHVUDQNKLJKHUWKDQIDLUQHVVDWWKDWWLPH         %<$77251(<%522.6
     %<$77251(<%522.6                                            47DE'U$GNLQVGR\RXUHFDOOSHUPLWWLQJ
     4$QG\RXWDONHGHDUOLHUDERXW\RXUDVVHUWLRQWKDW      WKHUHSRUWLQJRIDQGEHLQJSDUWRID:1<&SRGFDVWEDFN
     \RXKDGSDWLHQWVZKRKDYHH[SHULHQFHGKDUPDVDUHVXOW         LQ"
     RIQRWEHLQJSHUPLWWHGWRSOD\DFFRUGLQJWRWKHLUJHQGHU       $<HV
     LGHQWLW\'R\RXUHFDOOWKDWWHVWLPRQ\"                       4/HWPHPDUNDV([KLELWDWZRSDJHNLQGRI
     $77251(<%25(//,2EMHFWLRQIRUP             LQWURGXFWRU\SDJHRIIWKH:1<&ZHEVLWHGHVFULELQJWKLV


                                                                                        3DJHVWR
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                                                   3DJH                                                         3DJH
      SRGFDVW7KHGRFXPHQWLWVHOIWKHSRVWLQJLVGDWHG             4, PVRUU\,QWKLVILHOGRIWUHDWPHQWRIJHQGHU
      $XJXVW*LYHPHRQHPRPHQWKHUH                       RILQGLYLGXDOVVXIIHULQJJHQGHUG\VSKRULD"
                                        $77251(<%25(//,2EMHFWLRQIRUP
       :KHUHXSRQ$GNLQV([KLELW              7+(:,71(66,VWDUWHGFDULQJIRU
      3RGFDVW6XPPDU\:HESDJHZDVPDUNHGIRU         SDWLHQWVZKRDUHWUDQVJHQGHULQ,WKLQNDURXQG
      LGHQWLILFDWLRQ                                 %<$77251(<%522.6
                                        42ND\
      $77251(<%522.6$QGOHWPHDOVRPDUNDV        6REHWZHHQWZRDQGWKUHH\HDUVEHIRUHWKHWLPH
      ([KLELWWKHWUDQVFULSWRIWKDWSRGFDVWGRZQORDGHGRII        WKLVZDVUHFRUGHG
     RIWKH:1<&ZHEVLWH                                           2ND\
                                      /HWPHDVN\RXWRORRNDW([KLELWZKLFKLV
      :KHUHXSRQ$GNLQV([KLELW             WRVD\WKHWUDQVFULSW$QGILUVWSDJHLWLQGLFDWHVDQG
     3RGFDVW7UDQVFULSWZDVPDUNHGIRU             , OOMXVWLWGHDOVZLWKWZRFOLHQWVZLWKQDPHVDW
     LGHQWLILFDWLRQ                                OHDVWIRUSXUSRVHVRIWKHSRGFDVWRI'UHZ$GDPVDQG
                                      0DUN'R\RXUHFDOOWKDW"
     %<$77251(<%522.6                                            $77251(<%25(//,2EMHFWLRQIRUP
     4$QGWKDWWKHWLWOHDSSDUHQWO\RIWKHSRGFDVW      7+(:,71(66,ZRXOGKDYHWRYHULI\
     LVTXRWH, G5DWKHU+DYHD/LYLQJ6RQWKDQD'HDG            3UREDEO\DFFXUDWHEXW
     'DXJKWHU'R\RXVHHWKDW"                                    %<$77251(<%522.6
     $,GR                                                 40DUWLQVKRZVXSRQSDJH$FRXSOHLQFKHV
     4$QG\RXDOORZHGDUHSRUWHUIURP:1<&WRFRPH          GRZQZHVNLSWRWKHODVWSDWLHQWDWWKHHQGRIDORQJ
     LQWR\RXURIILFHDQGUHFRUGYDULRXVFRQYHUVDWLRQV             GD\DQGWKHQLWVD\VUHFDOOLQJWKLVSDWLHQW0DUWLQ
     $P,FRUUHFW"                                         $,VHHWKDW
     $77251(<%25(//,2EMHFWLRQIRUP             4/HW VJREDFNDQGMXVWORRNDWLVVXHVUHODWLQJ


                                                   3DJH                                                         3DJH
      7+(:,71(66:LWKWKHSHUPLVVLRQRI         WR'UHZ$GDPV'UHZLVLI,XQGHUVWDQGFRUUHFWO\
      WKHHYHU\RQHLQYROYHG                                      QDWDOIHPDOHLGHQWLI\LQJDWWKHWLPHRIWKLVUHFRUGLQJ
      %<$77251(<%522.6                                             DV"
      47RSDUWLFLSDWHDQGWKH\ZDLYHGWKHSULYDF\ZLWK        $'UHZZDVDVVLJQHGIHPDOHDWELUWKDQGLGHQWLILHG
      UHJDUGWRDQ\WKLQJWKDWZDVQ WLQFOXGHGLQWKHSRGFDVW         DVPDOHDWWKLVWLPH
      $P,FRUUHFW"                                          4$QGVRIDUDV\RXXQGHUVWDQGEDVHGRQ\RXU
      $77251(<%25(//,2EMHFWLRQWRIRUP            PHGLFDOHYDOXDWLRQ'UHZLVVRPHERG\ZKRZDV
      7+(:,71(667KDWZRXOGEHVWDQGDUG            FKURPRVRPDOO\IHPDOH
      %<$77251(<%522.6                                             &RUUHFW"
     4$WOHDVWDVIDUDV\RXUVHOIGR\RXUHFDOOGRLQJ      $77251(<%25(//,2EMHFWLRQWRIRUP
     WKDW"                                                          7+(:,71(66,GRQ WJHWWRYHULI\WKHLU
     $77251(<%25(//,2EMHFWLRQWRIRUP           FKURPRVRPHV:HGRQ WGRWKDW
     7+(:,71(66,GRQ WUHFDOO,VXVSHFW        %<$77251(<%522.6
     ,ZRXOGKDYH                                                  4$WWKHWLPHWKLVZDVUHFRUGHG\RXGLGKDYHDQ
     %<$77251(<%522.6                                            XQGHUVWDQGLQJGLG\RXQRWWKDW'UHZKDGIHPDOH
     4$QGGLG\RX\RXUVHOIUHYLHZWKHSRGFDVWEHIRUH        UHSURGXFWLYHELRORJ\"
     LWZDVUHOHDVHGIRUDQ\SULYDF\RUDFFXUDF\FRQFHUQV"          $77251(<%25(//,2EMHFWLRQIRUP
     $77251(<%25(//,2EMHFWLRQIRUP             7+(:,71(662QP\H[DPDWWKDWWLPH
     7+(:,71(66,GRQ WUHPHPEHU7KDW V         'UHZKDGH[WHUQDOJHQLWDOLDWKDWDSSHDUHGIHPDOHDQG
     EHHQVRORQJDJR                                              VHFRQGDU\VH[FKDUDFWHULVWLFVW\SLFDORIVRPHRQH
     %<$77251(<%522.6                                            DVVLJQHGIHPDOHDWELUWK
     4,WKDVEHHQDZKLOH7KLVZDV$QG\RX         %<$77251(<%522.6
     KDGEHHQSUDFWLFLQJLQWKLVDUHDDERXWKRZORQJLQ"       4:HOOLQIDFWVRPHERG\ELRORJLFDOO\IHPDOH
     $,Q1RUWK&DUROLQD"                                    &RUUHFW"


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                                                   3DJH                                                        3DJH
      $77251(<%25(//,2EMHFWLRQ                    ZRUNOLNH,GRZLWKHYHU\SDWLHQWZKLFKLVUHFRPPHQGHG
      7+(:,71(66$VVLJQHGIHPDOHDWELUWK          E\WKH(QGRFULQH6RFLHW\WKDW\RXJHWEDVHOLQHKRUPRQH
      %<$77251(<%522.6                                             OHYHOV,GLGDSK\VLFDOH[DP1RWHYHU\SDWLHQWJHWV
      4:HOOOHWPHDVN\RXWKLV<RXSUHVFULEHG             WRKDYHDQXOWUDVRXQGDNDU\RW\SHRUDIXOOH[RQ
      KRUPRQHVIRU'UHZ                                              DQDO\VLV,W VQRWWKHZD\\RXFDQSUDFWLFHPHGLFLQH
      $P,FRUUHFW"                                          %<$77251(<%522.6
      $<HV                                                   47XUQZLWKPHWRSDJHWKUHHRIWKHWUDQVFULSW
      4$QG\RXGLGQ WGRWKDWZLWKRXWDKLJKOHYHORI         7ZRWZRDQGDKDOILQFKHVGRZQ0+ZKR,EHOLHYHLV
      FRQILGHQFHLQ\RXUPLQGDVWRWKHELRORJ\RI'UHZ V             WKHUHSRUWHUQRWVRPHERG\ZRUNLQJIRU\RXEXWWKH
     ERG\                                                          UHSRUWHUVD\VTXRWHWKLVLV'UHZ VVHFRQGWLPHKHUH
     $P,FRUUHFW"                                         FORVHGTXRWH'R\RXVHHWKDWMXVWWZRLQFKHVGRZQ"
     $77251(<%25(//,2EMHFWLRQWRIRUP           $<HDK
     %<$77251(<%522.6                                            4,W VEHHQTXLWHDIHZ\HDUV'R\RXEHOLHYH
     4<RXZHUHQ WMXVWEDVHGRQZKDWVRPHERG\KDSSHQHG      WKDWWKDWZDVDFFXUDWHWKDWZKDWWKHHYHQWVWKDWZHUH
     WREHDVVLJQHGDWELUWK<RXEHOLHYHGWKDW'UHZZDV           UHFRUGHGKHUHZHUHRQ'UHZ VVHFRQGYLVLWWR\RXU
     ELRORJLFDOO\IHPDOHGLG\RXQRW"                              FOLQLF"
     $77251(<%25(//,2EMHFWLRQIRUP             $77251(<%25(//,2EMHFWLRQIRUP
     7+(:,71(666RDWWKHEHJLQQLQJSULRU        7+(:,71(66,WKDVEHHQVRORQJ7R
     WRWUHDWLQJSDWLHQWVZHGRORRNDWZKHUHWKHLUEDVHOLQH       YHULI\LWLVWUXH,ZRXOGKDYHWRORRNEDFNDWP\FOLQLF
     KRUPRQHVDUH6R,GLGKDYHWKDWLQIRUPDWLRQDVZHOODV       QRWHVDVZHOODVLI,HYHQVWLOOKDGLWUHFRUGHGZKHQ
     DQH[WHUQDOH[DP,GLGQ WKDYHFKURPRVRPHVRUDQ             WKH\ZHUHLQFOLQLFRUQRW
     XOWUDVRXQG                                                    %<$77251(<%522.6
     %<$77251(<%522.6                                            4$QGGR\RXNQRZDV\RXVLWKHUHWRGD\ZKHWKHU
     40\TXHVWLRQLVDWWKHWLPH\RXSUHVFULEHG             SULRUWRWKLVSHUKDSVVHFRQGPHHWLQJZLWK'UHZDQ\


                                                   3DJH                                                        3DJH
      KRUPRQHVIRU'UHZ\RXEHOLHYHGWKDW'UHZZDV                    SV\FKRORJLVWRUSV\FKLDWULVWDVVRFLDWHGZLWK\RXUQHZ
      ELRORJLFDOO\IHPDOHILUPO\GLG\RXQRW"                        FOLQLFKDGSHUVRQDOO\HYDOXDWHG'UHZWRFRQILUPWKH
      $77251(<%25(//,2EMHFWLRQIRUP              GLDJQRVLVRIJHQGHUG\VSKRULD"
      7+(:,71(66,KDGQRUHDVRQDWWKDW            $77251(<%25(//,2EMHFWLRQIRUP
      WLPHZLWKWKHGDWDLQIURQWRIP\WRLGHQWLI\'UHZDV           7+(:,71(66%HIRUHZHVWDUWWUHDWPHQW
      DQ\WKLQJRWKHUWKDQDVVLJQHGIHPDOHDWELUWK                   ZHKDYHRXUPHQWDOKHDOWKWHDPGRDQDVVHVVPHQWRIWKH
      %<$77251(<%522.6                                             SDWLHQWZLWKUHJDUGWRILQGLQJRXWWKHLUDQ\
      4$QG\RXMXVWGLGQ WFDUHZKDW'UHZ VELRORJ\ZDV       SV\FKRORJLFDOFKDOOHQJHVWKDWWKH\PD\EHKDYLQJDQG
      DV\RXFKRVHKRUPRQHVWRSUHVFULEH"                             FRQILUPLIWKH\KDYHJHQGHUG\VSKRULDDQGFRQILUPWKH
     $77251(<%25(//,2EMHFWLRQIRUP             FULWHULDIURPWKH'60*RGP\EUDLQLVMXVWWLUHG
     7+(:,71(66,LQYHVWLJDWHGZKDWLV            )URPWKH'60FULWHULD$QGLQDGGLWLRQWRWKDWZHKDYH
     QHFHVVDU\WRPRYHDKHDGZLWKWKDWSUHVFULSWLRQDQGPDNH        DSHUVRQZKRLVDORFDOPHQWDOKHDOWKSURYLGHUDOVR
     LWVDIHIRUWKHSDWLHQW                                       SHUIRUPDQ\HYDOXDWLRQDQGGHYHORSDUHODWLRQVKLSZLWK
     %<$77251(<%522.6                                            WKHSDWLHQWSULRUWRVWDUWLQJWKHWUHDWPHQW
     4:KDWZDVQHFHVVDU\ZDVWRGHWHUPLQHWKDW              %<$77251(<%522.6
     ELRORJLFDOO\'UHZZDVIHPDOH                                  4:HOOOHWPHEUHDNWKDWRXW'R\RXUHTXLUH
     $P,FRUUHFW"                                         WKDWDSV\FKRORJLVWRUSV\FKLDWULVWDVVRFLDWHGZLWK'XNH
     $77251(<%25(//,2EMHFWLRQIRUP             FRQILUPDGLDJQRVLVRIJHQGHUG\VSKRULDEHIRUH\RX
     %<$77251(<%522.6                                            SURFHHGZLWKKRUPRQDOLQWHUYHQWLRQV"
     4<RXDUHJRLQJWRWHOOWKHFRXUWWKDW\RXGLGQ W       $77251(<%25(//,2EMHFWLRQIRUP
     WU\WRGHWHUPLQHZKHWKHU'UHZZDVELRORJLFDOO\PDOHRU         7+(:,71(66,KDYHDWHDPRIPHQWDO
     IHPDOH"                                                        KHDOWKSURYLGHUVZKRZRUNZLWKPHDQGGRWKDW
     $77251(<%25(//,2EMHFWLRQIRUP             DVVHVVPHQW7KDWLVSDUWRIWKHLUVWDQGDUGMRE$QG
     7+(:,71(66,REWDLQHGEDVHOLQHEORRG         HYHU\SDWLHQWLVHYDOXDWHGE\WKDWWHDP6RPHWLPHVLW


                                                                                        3DJHVWR
                Case: 22-5807
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                                                   3DJH                                                          3DJH
      LVDSV\FKLDWULVWSV\FKRORJLVW6RPHWLPHVLWLVD             $77251(<%25(//,2EMHFWLRQIRUP
      GLIIHUHQWNLQGRIPHQWDOKHDOWKSURYLGHU                       7+(:,71(662XUFOLQLFSROLF\LVWR
      %<$77251(<%522.6                                             KDYHVRPHRQHRXWVLGHRI'XNHDVZHOODVVRPHRQHLQVLGH
      4:HOOLILWLVQRWDSV\FKRORJLVWRU                   RI'XNH
      SV\FKLDWULVWRQZKDWW\SHRIPHQWDOKHDOWKZKDW            %<$77251(<%522.6
      TXDOLILFDWLRQVRIPHQWDOKHDOWKSURYLGHUVGR\RXUHO\WR        46R\RXPD\UHFDOOGR\RXUHFDOOWKDW'UHZ
      PDNHVXFKDGLDJQRVLVEHIRUHSUHVFULELQJKRUPRQDO               DQGKLVPRWKHUKDGGULYHQXSIURP)ORULGDIRUWKLV
      LQWHUYHQWLRQV"                                                  PHHWLQJV"
      $77251(<%25(//,2EMHFWLRQIRUP              $77251(<%25(//,2EMHFWLRQIRUP
     7+(:,71(66<RXNQRZWKHUHDUH               7+(:,71(66,GRUHPHPEHUWKDW
     /LFHQVHG&OLQLFDO6RFLDO:RUNHUVWKDWZHZRUNZLWKWKDW        %<$77251(<%522.6
     DUHXVHGE\'XNHLQDQXPEHURIFDSDFLWLHVZLWKUHJDUG         4$QGGR\RXVRPHWLPHVFRQVLGHUGLDJQRVLVJLYHQE\
     WRPHQWDOKHDOWKFDUH                                          PHQWDOIRUSXUSRVHVRISURFHHGLQJZLWKKRUPRQDO
     %<$77251(<%522.6                                            LQWHUYHQWLRQV"
     4,VLW\RXUWHVWLPRQ\,ZDQWWREHFDUHIXORQ      $77251(<%25(//,2EMHFWLRQIRUP
     WKLV,VLW\RXUWHVWLPRQ\WKDW\RXDUHZLOOLQJWRUHO\       7+(:,71(66,IWKH\DUHOLFHQVHGWR
     RQDGLDJQRVLVE\DVRFLDOZRUNHUZLWKQRPHGLFDO             SUDFWLFHLQWKDWDUHDRUFHUWLILHGLQWKHLUVWDWHWKDW
     SV\FKRORJLFDOGHJUHHEHIRUHSUHVFULELQJDKRUPRQDO             LVZKDWZHUHO\RQ
     LQWHUYHQWLRQ"                                                  %<$77251(<%522.6
     $77251(<%25(//,2EMHFWLRQIRUP             4$WWKHWRSRISDJHWZRDQGDJDLQWKLVLV
     7+(:,71(666RWKHPHQWDOKHDOWK              WKHYRLFHRIWKHUHSRUWHUVR,ZDQWWRFKHFNLWZLWK
     SURYLGHUVWKDW,XVHKDYHPDVWHU VGHJUHHHGXFDWLRQLQ         \RX,WVD\VWKHHQGRIWKHILUVWIXOOSDUDJUDSKWKDW
     FDUHIRUSDWLHQWVLQWKLVDUHDDQGKDYHRQJRLQJ                'UHZDQGKLVPRPDUHGULYLQJHLJKWKRXUVIURP
     FRQWLQXLQJPHGLFDOHGXFDWLRQZLWKUHJDUGWRWKHLU              -DFNVRQYLOOH)ORULGDWRJHWKHUHEHFDXVH1RUWK


                                                   3DJH                                                          3DJH
      DELOLW\WRDVVHVWKHPHQWDOKHDOWKRIDSDWLHQWLQIURQW        &DUROLQDLVDOVRKRPHWRRQHRIWKHRQO\FOLQLFVLQWKH
      RIWKHP                                                        VRXWKWKDWWUHDWVWUDQVJHQGHUNLGV'R\RXVHHWKDW"
      %<$77251(<%522.6                                             $,GR
      47KDWZRXOGEHDD0DVWHU VLQVRFLDOZRUN         4$QGLQ\RXUXQGHUVWDQGLQJZDVWKDWWUXHLQ
      &RUUHFW"                                               WKDW\RXKHUHKDGRQHRIWKHRQO\FOLQLFVLQWKHVRXWK
      $2IWHQLW VD0DVWHU VLQVRFLDOZRUN$OVRKDYH       WKDWWUHDWHGWUDQVJHQGHUNLGV"
      SHRSOHZKRKDYH0DVWHU VLQSXEOLFKHDOWKLQDGGLWLRQ,         $77251(<%25(//,2EMHFWLRQIRUP
      VKRXOGVD\                                                     7+(:,71(66:HZHUHRQHRIDIHZ
      4$QGVRLIVXFKDQ\HYDOXDWLRQVZDVGRQHE\D           %<$77251(<%522.6
     PHQWDOKHDOWKSURIHVVLRQDODVVRFLDWHGZLWK'XNHWKDW          4$QGWKH\KDGGULYHQDOOWKHZD\WR1RUWK
     ZRXOGKDYHEHHQDW'UHZ VILUVWYLVLWQRWDWWKHYLVLW        &DUROLQDIURP)ORULGDSUHFLVHO\EHFDXVHZKDWHYHUPHQWDO
     WKDWZDVWKHVXEMHFWRIWKLVSRGFDVWUHFRUGLQJ"                KHDOWKSURYLGHUVWKH\ZHUHVHHLQJLQ)ORULGDGLGQ WKDYH
     $77251(<%25(//,2EMHFWLRQIRUP             H[SHUWLVHLQWKLVDUHD
     7+(:,71(66$WWKDWWLPHLWFRXOGKDYH        ,VWKDWFRUUHFW"
     EHHQGRQHSK\VLFDOO\DWWKHILUVWYLVLW6RPHWLPHVZH         $77251(<%25(//,2EMHFWLRQIRUP
     KDYHKDGWKHPFRPHRQDGLIIHUHQWGD\WKDQWKHLUYLVLW         7+(:,71(667KH\GLGQ WGULYHKHUHWR
     ZLWKPH6RLWLVSRVVLEOHLWFRXOGKDYHEHHQD               VHHDPHQWDOKHDOWKSURYLGHU7KH\GURYHKHUHWRVHHPH
     GLIIHUHQWGD\,MXVWGRQ WUHPHPEHU                         DVDQHQGRFULQRORJLVW
     %<$77251(<%522.6                                            %<$77251(<%522.6
     42ND\                                                 4,DSRORJL]H:KDWHYHUSURIHVVLRQDOVZHUH
     'R\RXHYHUUHO\RQWKHGLDJQRVLVRIDQ               DGYLVLQJWKHPLQ)ORULGDGLGQ WKDYHH[SHUWLVHLQWKLV
     LQGLYLGXDO VPHQWDOKHDOWKZRUNHUQRWDVVRFLDWHGZLWK          DUHD"
     'XNHDVDQDGHTXDWHEDVLVWRSUHVFULEHKRUPRQDO                $77251(<%25(//,2EMHFWLRQIRUP
     LQWHUYHQWLRQV"                                                 7+(:,71(66:LWKUHJDUGWRKRUPRQDO


                                                                                        3DJHVWR
                Case: 22-5807
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                                                  3DJH                                                         3DJH
      PDQDJHPHQW                                                    %<$77251(<%522.6
      %<$77251(<%522.6                                            4'R\RXKDYHDQ\SURIHVVLRQDORSLQLRQDVWR
      4:KDWVWHSVLIDQ\GLG\RXWDNHWRJLYH              ZKHWKHUDXWLVPLWVHOIFDQFDXVHLQGLYLGXDOVWRIHHO
      \RXUVHOIFRPIRUWWKDWDQ\FRPRUELGLWLHVWKDWPLJKWEH          DOLHQDWHGIURPRUGLVDVVRFLDWHGZLWKWKHLUJHQGHU
      PLJKWFRQIRXQGWKHGLDJQRVLVRIWUDQVJHQGHULVPKDG         LGHQWLW\
      EHHQDSSURSULDWHO\DGGUHVVHGEHIRUH\RXSUHVFULEHG             $77251(<%25(//,2EMHFWLRQIRUP
      KRUPRQHVIRU'UHZ"                                             %<$77251(<%522.6
      $77251(<%25(//,2EMHFWLRQWRIRUP           4RU,VKRXOGVD\WKHJHQGHULGHQWLW\
      7+(:,71(66,PHDQ,ZRXOGKDYHWR           DVVRFLDWHGZLWKWKHLUQDWDOVH["
     ORRNEDFNDWP\QRWHVVSHFLILFDOO\WRVHHH[DFWO\ZKDW        $77251(<%25(//,2EMHFWLRQWRIRUP
     ZHKDGLQWKHUHFRUG2XUSROLF\DJDLQLVWRKDYH            7+(:,71(66:LWKWKHLQIRUPDWLRQWKDW,
     VRPHRQHZKRKDVKDGDUHODWLRQVKLSZLWKWKHSDWLHQW           KDYHZRUNHGZLWKRQRXUDXWLVPWHDPDW'XNHLVWKDW\RX
     RXWVLGHRI'XNH&OLQLFWKDWVWDWHVWKDWWKH\KDYHZHOO        NQRZLWFDQWDNHDOLWWOHORQJHUIRUSHRSOHZLWKDXWLVP
     PDQDJHGLVVXHVZLWKUHJDUGWRWKHLUPHQWDOKHDOWKDQG         WRWUXO\XQGHUVWDQGWKHLUJHQGHULGHQWLW\6RZHGR
     DUHSUHSDUHGDQGVDIHWRPRYHIRUZDUGZLWKJHQGHU             WDNHFDUHWKHUH7KDW VZK\ZHVFUHHQ
     DIILUPLQJKRUPRQHV                                           %<$77251(<%522.6
     %<$77251(<%522.6                                           4,ZRXOGOLNHWRSOD\DFOLSIURPWKLVSRGFDVW
     4$VDPDWWHURISROLF\LQ\RXUFOLQLFGR\RX          WKDWLQFOXGHV\RXUYRLFHWKHUHSRUWHU VYRLFH'UHZ V
     LQVLVWRQDGLDJQRVLVWKDWZLOOWHOO\RXZKHWKHURUQRW       YRLFH,WKLQNLWZLOOFRPHWKURXJKORXGDQGFOHDU
     WKLVSDWLHQWVXIIHUVIURPDXWLVPRIDQ\VRUW"                 , PRSWLPLVWLFIRUWKRVHRI\RX
     $77251(<%25(//,2EMHFWLRQIRUP            $77251(<%25(//,:KLOH\RX UHVHWWOLQJ
     7+(:,71(66:HGRUHTXLUHWKDWWKH\          WKLVZLOOWKHZRUGVIURPWKHUHFRUGLQJGRWKH\DSSHDU
     KDYHDVFUHHQLQJWKDWLVSHUIRUPHGZLWKLQRXUFOLQLFIRU      LQWKHWUDQVFULSWLRQ
     DQ\SRWHQWLDOVLJQVRUV\PSWRPVRIDXWLVP                    $77251(<%522.67KH\GR,ZDVDERXW


                                                  3DJH                                                         3DJH
      %<$77251(<%522.6                                            WRVD\WKDWIRUHYHU\ERG\ VEHQHILW
      4$QGLI\RXLGHQWLI\WKDWDSDWLHQWGRHVKDYH          $77251(<%25(//,7KDQN\RX&RXQVHO
      VRPHVLJQVRUV\PSWRPVRIDXWLVPZKDWVLJQLILFDQFHGRHV        $77251(<%522.61RZ, PWKLQNLQJ
      WKDWKDYHDVWRKRZTXLFNO\RUZKHWKHU\RXDUHZLOOLQJ         7KDWKDVWREHOLYH$OOULJKW6RWKDW VXQPXWHG
      WRSURFHHGZLWKKRUPRQDOLQWHUYHQWLRQV"                        9,'(2*5$3+(5<RXVDLGRQH"
      $77251(<%25(//,2EMHFWLRQWRWKHIRUP       $77251(<%522.6:KDW VWKDW"
      7+(:,71(666RDJDLQHYHU\SDWLHQWLV        9,'(2*5$3+(5<RXVDLGRQH"
      GLIIHUHQW$XWLVPLVDVSHFWUXPDVLW VGHVFULEHG            $77251(<%522.6%XW,QHHGWRVD\RQ
      DXWLVPVSHFWUXPGLVRUGHUDQGVR\RXKDYHWRILJXUHRXW        WKHUHFRUGDQGWHOOSHRSOHFDQWKHFRXUWUHSRUWHU
     HDFKSDWLHQW VXQGHUVWDQGLQJRIWKHLUJHQGHULGHQWLW\        KHUHPH
     ZKDW VJRLQJRQLQWKHLUOLIHDQGLIWKH\ UHUHDG\           &28575(3257(5<HV
     %<$77251(<%522.6                                           $77251(<%522.67KHFOLSWKDW, PDERXW
     4'R\RXKDYHDQ\SURIHVVLRQDORSLQLRQDVWR           WRSOD\DSSHDUVRQSDJHIRXURIWKHWUDQVFULSWWKDWLV
     ZKHWKHUDXWLVPLWVHOIFDQFDXVHDSDWLHQWWRIHHO             PDUNHG([KLELWDQGLWPDNHVXSNLQGRIWKHFHQWHU
     XQFRPIRUWDEOHZLWKWKHLULGHQWLW\"                            WZRWKLUGVRIWKHWUDQVFULSW$OOWKHZRUGVWKDW\RX
     $77251(<%25(//,2EMHFWLRQWRIRUP          ZLOOKHDURUSHUKDSVZRQ WKHDUYHU\ZHOODSSHDURQWKH
     7+(:,71(667KHLUZKROHLGHQWLW\"            WUDQVFULSW:H UHJRLQJWROLVWHQWRFOLSRQHKHUH
     %<$77251(<%522.6                                           
     4<HV                                                  :+(5(832132'&$67$8',2:$63/$<('
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     7+(:,71(66<HDK,GRQ WNQRZLI,          47KHQDUUDWRUVD\VWKDW'UHZ VRQO\TXHVWLRQZDV
     KDYHVHHQDQ\UHSRUWVDERXWWKHLUZKROHLGHQWLW\EHLQJ        TXRWHZKHQFDQ,VWDUWWHVWRVWHURQHDQG\RXUHVSRQGHG
     FDOOHGLQWRTXHVWLRQMXVWEHFDXVHWKH\KDYHDXWLVP           WRGD\VRXQGJRRG\HDKDOOULJKW,VWKDWFRQVLVWHQW


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                                                         3DJH                                                    3DJH
      ZLWK\RXUUHFROOHFWLRQRIZKDWKDSSHQHGWKDWGD\"                RIRXUYLVLW,W VQRWQHFHVVDULO\SDUWWKDW,ZRXOG
      $77251(<%25(//,2EMHFWLRQIRUP               GR$QGZHDOVRKDYHIRUPVWKDWWKH\ILOORXWWKDWGRHV
      7+(:,71(66<HV                                DQDVVHVVPHQWRIGHSUHVVLRQSULRUWRPHZDONLQJLQWKH
      %<$77251(<%522.6                                              URRP
      4:DVWKDW\RXUYRLFH"                                    %<$77251(<%522.6
      $7KDWZDVP\YRLFH                                      4'LG\RXHQVXUHWKDWDQDVVHVVPHQWKDGEHHQGRQH
      42ND\                                                   WKDWHYDOXDWHGWKHVWUHQJWKVDQGZHDNQHVVHVRI'UHZ V
      $QGGLG\RXNQRZEHIRUH\RXFDPHLQWRWKHURRP          UHODWLRQVKLSZLWK'UHZ VIDPLO\"
      WKDW'UHZ VJRDOZDVWRZDONRXWZLWKDWHVWRVWHURQH             $77251(<%25(//,2EMHFWLRQIRUP
     LQMHFWLRQRUDSUHVFULSWLRQIRUDWHVWRVWHURQH                  7+(:,71(667KHPHQWDOKHDOWK
     LQMHFWLRQ"                                                      HYDOXDWLRQGRHVLQFOXGHZDONLQJWKURXJKSDUHQW
     $77251(<%25(//,2EMHFWLRQWRIRUP            UHODWLRQVKLSVVFKRROUHODWLRQVKLSVWHDFKHU
     7+(:,71(66<RXNQRZ,GRQ WUHPHPEHU        UHODWLRQVKLSVDQGILQGLQJRXWZKHUHWKRVHDUH
     ,GRQ WUHPHPEHUZKDW,NQHZEHIRUHLQZDONHGLQWKH            %<$77251(<%522.6
     GRRU6RPHWLPHV,GR6RPHWLPHV,GRQ W                      4'LG\RXIHHOWKDW\RX\RXUVHOIQHHGHGWRKDYH
     %<$77251(<%522.6                                             DQ\XQGHUVWDQGLQJIRULQVWDQFHRI'UHZ VUHODWLRQVKLS
     41RZ,ZDQWWREHIDLU7KLVLVWKHVHDUH         ZLWK'UHZ VIDWKHUEHIRUH\RXSURFHHGHGWRSUHVFULEH
     FOLSVDQGWKH\ UHFDUHIXOO\GRQHVR,FDQ WEHVXUH            FURVVVH[KRUPRQHV"
     ZKHWKHUWKHUHDUHWKLQJVLQEHWZHHQ                            $77251(<%25(//,2EMHFWLRQIRUP
     $&RUUHFW                                               7+(:,71(66,ZRXOGZDQWWRNQRZZKHUH
     4'R\RXKDYHDQ\UHFROOHFWLRQDVWRDQ\                 WKHLUUHODWLRQVKLSVDUH
     GLVFXVVLRQRUDQ\IXUWKHUHYDOXDWLRQWKDWKDSSHQHG              %<$77251(<%522.6
     EHWZHHQKH\KRZDUH\RXDQG\RXUYRLFHDQGDQVZHULQJ        46R'UHZ VPRWKHUDWWHQGHG:KDWVWHSVGLG\RX
     WKHTXHVWLRQZKHQFDQ,VWDUWWRGD\"                           WDNHWRILQGRXWZKDW'UHZ VUHODWLRQVKLSZLWK'UHZ V


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     7+(:,71(666RPRVWW\SLFDOO\EHIRUH,          $77251(<%25(//,2EMHFWLRQIRUP
     ZDONLQWRDURRP,KDYHUHYLHZHGWKHSDWLHQW VPHGLFDO            7+(:,71(66,GRQ WUHPHPEHU,ZRXOG
     UHFRUG,KDYHUHYLHZHGWKHLUOHWWHUIURPWKHLUPHQWDO           KDYHWRORRNEDFN
     KHDOWKSURYLGHU$QG,KDYHUHYLHZHGDQ\ODERUDWRU\              %<$77251(<%522.6
     HYDOXDWLRQWKDW,KDYHUHFHLYHGIURPWKHPSULRUDQG               4$QGGRHV\RXUFOLQLFEHIRUHSUHVFULELQJKRUPRQDO
     JHQHUDOO\UHYLHZWKHLUUHFRUGV6R,ZRXOGFRPHLQWRD           LQWHUYHQWLRQVPDNHVXUHWKDWDQRYHUDOOSV\FKRWKHUDS\
     YLVLWZLWKWKDWVRUWRIIUHVKLQP\PLQG                         WUHDWPHQWSODQKDVEHHQSUHSDUHGWRGLDJQRVHDQGDGGUHVV
     %<$77251(<%522.6                                               DQ\RWKHUSV\FKRORJLFDORUVRFLDOGLIILFXOWLHVVXIIHUHG
    46RLWLVFRQVLVWHQWZLWK\RXUUHFROOHFWLRQWKDW         E\WKHSDWLHQW"
    RQ'UHZ VVHFRQGPHHWLQJZLWK\RX\RXZDONHGLQWRWKH           $77251(<%25(//,2EMHFWLRQWRIRUP
    URRPKDYLQJPDGHXS\RXUPLQGWRJLYH'UHZWHVWRVWHURQH"         7+(:,71(666R\RXNQRZ,IROORZWKH
    $77251(<%25(//,2EMHFWLRQIRUP               JXLGHOLQHVWKDWVD\WKDWZHVKRXOGKDYHDQ\RIWKH
    7+(:,71(66%DVHGRQWKHZRUGVWKDWDUH         PHQWDOKHDOWKLVVXHVZHOOPDQDJHGDQGWKDW VZK\ZHXVH
    KHUHWKDWZRXOGEH,ZRXOGKDYHUHYLHZHGWKH                KDYHRXUSDWLHQWVKDYHDPHQWDOKHDOWKSURYLGHUDQG
    LQIRUPDWLRQWKDW,QHHGHGWRNQRZWKDWWKDWZRXOGEH             WKDW VZK\ZHKDYHWKHPWHOOXVWKDWLQZULWLQJ
    VDIH                                                            %<$77251(<%522.6
    %<$77251(<%522.6                                              46R, PJRLQJWRSOD\DVHFRQGFOLSWKDWSLFNVXS
    4$QGLQEHWZHHQZDONLQJLQWKHURRPDQGWHOOLQJ          H[DFWO\ZKHUHZHOHIWRIIRQWKHWUDQVFULSWWKDWLVDW
    'UHZWRGD\\D\DOOULJKWGLG\RXPDNHDQ\IXUWKHU            WKHYHU\ERWWRPRISDJHILYHDQGFRQWLQXLQJKDOIZD\
    LQTXLU\DERXWZKHWKHU'UHZLQWKHODVWVLQFHKHODVW         , PVRUU\WKHYHU\ERWWRPRISDJHIRXUDQGFRQWLQXLQJ
    VDZ\RXKDGEHHQVXIIHULQJIURPDQ\VRUWRIGHSUHVVLRQ"          KDOIZD\GRZQSDJHILYH,I\RXZRXOG
    $77251(<%25(//,2EMHFWLRQWRIRUP          
    7+(:,71(666RW\SLFDOO\WKDWLVSDUW           



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       :+(5(832132'&$67$8',2:$63/$<('                           WHVWRVWHURQHDWDIXWXUHGDWH
                                         &RUUHFW"
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      QRLVH,WKRXJKWLWZDVFRPLQJWKURXJKKHUH,                7+(:,71(66&RUUHFW
      DSRORJL]H-XVWVWDUWLWDJDLQ0\PLVWDNH                   %<$77251(<%522.6
                                        4$QGWKDWLVVWLOOSDUWRI\RXUGLVFORVXUHWRGD\
       :+(5(832132'&$67$8',2:$63/$<('                           LVWKDWFRUUHFW"
                                         $7KDW VSDUWRILW:HDFWXDOO\KDYHPRUH
      %<$77251(<%522.6                                             VWXGLHVWKDWVKRZDFWXDOO\DQHTXDOIHUWLOLW\UDWHIRU
     4'U$GNLQVGR\RXEHOLHYHWKDWWKHEDVLF             RXUWUDQVJHQGHUPDOHVZKRKDYHEHHQRQWHVWRVWHURQHDQG
     QDUUDWLYHKHUHDFFXUDWHO\GHVFULEHVZKDWKDSSHQHGWKDW        FRPHRIIDQGFKRRVHWRJHWSUHJQDQWDVWKHLUFLVJHQGHU
     \RXFDPHLQ\RXVSRNHZLWK'UHZ\RXZHQWRXWDQG            SHHUVWKHLUDVVLJQHGIHPDOHVDWELUWKZKR YHQHYHUEHHQ
     ZKLOH\RXZHUHRXWRQHRI\RXUDLGHVUHDGULVN                 WKURXJKDQ\WHVWRVWHURQHWUHDWPHQW
     GLVFORVXUHVIRUFRQVHQWWR'UHZDQG'UHZ VPRWKHU"             4%HFDXVHRIWKHSUHVHQWVFLHQFH\RXVWLOOPDNH
     $77251(<%25(//,2EMHFWLRQIRUP             H[DFWO\WKHVDPHFDXWLRQLQ\RXUZDUQLQJVWRSDWLHQWV
     7+(:,71(667KDWLVSDUWRILW               EHIRUHSUHVFULELQJWHVWRVWHURQH
     %<$77251(<%522.6                                            &RUUHFW"
     4$QGWKHQDUUDWRUVDLGDWWKHEHJLQQLQJ                $77251(<%25(//,2EMHFWLRQWRIRUP
     H[SODLQLQJWKLVSURFHVVWKDWWKHUHZHUHVWLOODVRI           7+(:,71(66,GR
     DORWRIXQNQRZQVDERXWZKDWWKHVHKRUPRQHVZLOO         %<$77251(<%522.6
     GRORQJWHUP:DVWKDWDQDFFXUDWHVWDWHPHQWDWWKH           4$QGVRWKHVHTXHQFHLVWKDW\RXVDLGZLWKUHJDUG
     WLPHLQ\RXURSLQLRQ"                                          WRDGPLQLVWHULQJWHVWRVWHURQHZKLFK\RXFDXWLRQHGRU
     $77251(<%25(//,2EMHFWLRQIRUP             FOLQLFFDXWLRQHGFRXOGEHSRWHQWLDOO\VWHULOL]LQJ\RX
     7+(:,71(66:H YHOHDUQHGDORWPRUH         DVWKHGRFWRUVDLGWR'UHZVRXQGJRRG\HDKDOOULJKW


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      :HKDYHJRWKRZHYHUPDQ\PRUH\HDUVZKDWILYHPRUH            $QGWKHQ\RXOHIWWKHURRPZKLOHVRPHERG\HOVHUHDG
      \HDUVDWOHDVWRILQIRUPDWLRQVLQFHWKHQ<RXFDQ W            ZDUQLQJVDQGGLVFORVXUHV
      NQRZZKDWHYHU\VLQJOHWKLQJWKDWHYHU\GUXJLVJRLQJWR        ,VWKDWULJKW"
      GRIRUHYHU                                                     $77251(<%25(//,2EMHFWLRQIRUP
      %<$77251(<%522.6                                             7+(:,71(667KDWGRHVQ WLVWKDW
      42QHRIWKHWKLQJVWKDW\RXLQFOXGHGDWWKDWWLPH       ZKDWWKHVHTXHQFHZDVLQWKLVUHSRUW",WORRNVOLNH
      LQ\RXUFDXWLRQVRUGLVFORVXUHVZDVWKDWWDNLQJWKHVH           WKDW,DOVRPDNHVXUHWKDWWKHSDWLHQWVKDYHDGHTXDWH
      FURVVVH[KRUPRQHVPLJKWSUHYHQWDSDWLHQWZKRKDG          WLPHWRDQVZHUTXHVWLRQV,XVXDOO\JLYHWKHPWKLVIRUP
      ZDVDQDWDOIHPDOHIURPHYHUEHLQJDEOHWRJHWSUHJQDQW        DKHDGRIWKHYLVLWVRWKH\FDQUHYLHZLWDQGLQFDVH
     HYHQLI'UHZVWRSSHGWDNLQJWHVWRVWHURQHLQWKHIXWXUH        WKHLUUHDGLQJLVWKHLUEHWWHUPHWKRGYHUVXVYHUEDO
     &RUUHFW"                                              7KDW VZK\ZHGRLWLQWZRGLIIHUHQWZD\VDVIDUDV
     $77251(<%25(//,2EMHFWLRQIRUP2QH        WKHLUOHDUQLQJVW\OH:HPDNHHYHU\HIIRUWWRKHOSPDNH
     RWKHUMXVWSLHFHRIFODULW\IRUWKHUHFRUG,ZDQWWR          VXUHWKDWRXUSDWLHQWVXQGHUVWDQG
     PDNHVXUHWKDWLWLVFOHDUWKDWWKHWUDQVFULSWDQG             $77251(<%25(//,:HKDYHEHHQJRLQJD
     UHFRUGLQJLVQRWDFRPSOHWHUHFRUGLQJRIWKHHQWLUH            ZKLOH&DQZHWDNHDEUHDNVRRQ",WKLQNZHVKRXOG
     YLVLW                                                         $77251(<%522.6)DLUO\VRRQ:H OO
     $77251(<%522.6,KDYHPDGHWKDWFOHDU        ILQLVKWKLVOLQHRITXHVWLRQLQJDQGWKLVFOLS
     ,WKLQN                                                       %<$77251(<%522.6
     $77251(<%25(//,7KDQN\RX&RXQVHO          4<RX\RXUVHOIGLGQ WHYHUVLWGRZQDQGWDON
     %<$77251(<%522.6                                            WKURXJKNQRZQRUSRWHQWLDOVLGHHIIHFWVZLWKHLWKHUWKH
     40\TXHVWLRQLVRQHRI\RXUGLVFORVXUHVLQ        FKLOGRUWKHPRWKHULQWKLVFDVHGLG\RX"
     ZDVWKDWWKHDGPLQLVWUDWLRQRIWHVWRVWHURQHWRDQDWDO         $77251(<%25(//,2EMHFWLRQIRUP
     IHPDOHPLJKWPHDQWKDWWKDWLQGLYLGXDOZRXOGQRWHYHUEH       7+(:,71(66,GRQ WUHPHPEHULW
     DEOHWRJHWSUHJQDQWHYHQVKRXOGWKHSDWLHQWVWRSWDNLQJ       VSHFLILFDOO\HYHU\YLVLWIURPDQGH[DFWO\ZKDW


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                                                   3DJH                                                        3DJH
      KDSSHQHG                                                       %<$77251(<%522.6
      %<$77251(<%522.6                                             4+DYH\RX\RXUVHOIHYHUSDUWLFLSDWHGDVD
      4$VDPDWWHU                                       SK\VLFLDQLQDVRFDOOHGSKDVHRQHFOLQLFDWULDO"
      $77251(<%25(//,&RXQVHO, PVRUU\,         $77251(<%25(//,2EMHFWLRQWRIRUP
      WKLQN,KHDUGWKHZLWQHVVVD\DPRPHQWDJRWKDWDEUHDN         7+(:,71(666RSKDVHRQHW\SLFDOO\LV
      ZRXOGEHJRRG:K\GRQ WZHEUHDNKHUH"&DQZHFRPH           GRVHUHODWHG,KDYHQRWGRQHWKRVH,KDYHGRQHSKDVH
      EDFNLQVD\WHQPLQXWHV"                                        WZRSKDVHWKUHHDQGWKHQDIWHUPDUNHW
      $77251(<%522.6:HFDQVD\WKDWRU,           %<$77251(<%522.6
      FDQILQLVKWKLVSDUDJUDSK                                      43KDVHRQHLVDPRQJRWKHUWKLQJVUHTXLUHGWR
     $77251(<%25(//,:K\GRQ WZHEUHDN           HVWDEOLVKVDIHW\
     QRZ:H YHEHHQJRLQJDZKLOH7KDQN\RX                    $P,FRUUHFW"
     9,'(2*5$3+(5*RLQJRIIWKHUHFRUG7KH       $77251(<%25(//,2EMHFWLRQIRUP
     FXUUHQWWLPHUHDGVSP(DVWHUQ6WDQGDUG7LPH            7+(:,71(667KDWLVSDUWRIWKH
     2))9,'(2                                                      REMHFWLYHRIDSKDVHRQHVWXG\
                                      %<$77251(<%522.6
      :+(5(8321$3$86(,17+(5(&25':$6+(/'                    4$QGLQGHHGLWLVDUHTXLUHGSDUWRIWKH
                                      REMHFWLYH
     219,'(2                                                       5LJKW"
     9,'(2*5$3+(5:H UHEDFNRQWKHUHFRUG        $77251(<%25(//,2EMHFWLRQIRUP
     &XUUHQWWLPHUHDGVSP(DVWHUQ6WDQGDUG7LPH            7+(:,71(66<HV
     %<$77251(<%522.6                                            %<$77251(<%522.6
     4'U$GNLQVLQGHDOLQJZLWK'UHZ\RXKDYHD          4$QGWR\RXUNQRZOHGJHKDVDQ\VWXG\RIVDIHW\
     VRFLDOZRUNHUUHDGWKHGLVFORVXUHVWKHZDUQLQJV'LG         RIDGPLQLVWHULQJWHVWRVWHURQHIRUWKHSXUSRVHRI
     \RX\RXUVHOIHYHUSUHVHQWWR'UHZRSWLRQVIRU                DSSHDULQJPRUHPDVFXOLQHLQQDWDOIHPDOHVHYHUEHHQGRQH


                                                   3DJH                                                        3DJH
      IHUWLOLW\SUHVHUYDWLRQ"                                         DWDOHYHORIULJRUWKDWFRXOGVDWLVI\)'$UHTXLUHPHQWV"
      $77251(<%25(//,2EMHFWLRQIRUP              $77251(<%25(//,2EMHFWLRQIRUP
      7+(:,71(66<HVWKDWLVDFRQYHUVDWLRQ        7+(:,71(666R,GRQ WKDYHWKH)'$
      ,KDYHZLWKP\SDWLHQWV                                        VWDQGDUGVULJKWLQIURQWRIPH,KDYH\RXNQRZUHDG
      %<$77251(<%522.6                                             DUWLFOHVWKDWUHSRUWRXWFRPHVDQGVLGHHIIHFWVDQG
      4<RX\RXUVHOIKDYHWKDWFRQYHUVDWLRQ"                 VDIHW\SURILOHV7KHUHDUHRWKHUWHVWRVWHURQHWKHUH
      $,GR                                                  DUHWHVWRVWHURQHSURGXFWVRQWKHPDUNHWWKDWDUH)'$
      4/HW VDQGGLG\RXH[SODLQ,VHHWKDWWKH       DSSURYHGIRUXVLQJFLVJHQGHUIHPDOHV
      GLVFORVXUHZHKHDUGWKHGLVFORVXUHWKDWLW V            %<$77251(<%522.6
     XVLQJWHVWRVWHURQHWRDSSHDUPRUHPDVFXOLQHLVRIIODEHO       4'R\RXNQRZZKHWKHUDQ\VDIHW\VWXG\KDVHYHU
     XVH,VWKDWSDUWRI\RXUVWDQGDUGGLVFORVXUHV"               EHHQGRQHIRUDGPLQLVWUDWLRQRIWHVWRVWHURQHWRQDWDO
     $77251(<%25(//,2EMHFWLRQIRUP             IHPDOHVIRUWKHSXUSRVHRIDSSHDULQJPRUHPDVFXOLQHDWD
     %<$77251(<%522.6                                            OHYHORIULJRUWKDWFRXOGVDWLVI\)'$UHTXLUHPHQWV"
     4'R\RXH[SODLQWR\RXUSDWLHQWVWKDWWKHIDFW         $77251(<%25(//,2EMHFWLRQIRUP
     WKDWLWLVRIIODEHOPHDQVWKDWQRVWXGLHVWKDW                7+(:,71(66,FDQ WDQVZHUWKHTXHVWLRQ
     HVWDEOLVKVDIHW\RIXVHRIWHVWRVWHURQHIRUWKDWSXUSRVH       ZLWKRXW\RXNQRZ,ZRXOGKDYHWRUHDOO\ORRNDWWKH
     DWWKHOHYHODVZRXOGEHUHTXLUHGIRU)'$DSSURYDOKDYH        LQGLFDWLRQVWKH)'$UXOHV
     EHHQGRQH"                                                     %<$77251(<%522.6
     $77251(<%25(//,2EMHFWLRQIRUP             42ND\
     7+(:,71(661RWKDWZRXOGQ WEHDQ           /HW VOLVWHQWRDWKLUGDQGILQDOFOLS7KLV
     DFFXUDWHVWDWHPHQW7KRVHVWXGLHVFDQEHGRQH7KH\          RQHEHJLQVZLWKDVHQWHQFHWKHODVWRQHHQGHGZLWKRQ
     MXVWKDYHQ WEHHQSUHVHQWHGE\WKHFRPSDQ\PDQXIDFWXULQJ       SDJHILYHDQGUXQVMXVWRQWRSDJHVL[,EHOLHYH(QG
     WKHPHGLFDWLRQWRWKH)'$WRWU\DQGJHWWKDW                  RISDJHILYH/HW VKHDUWKDW
     FHUWLILFDWLRQIURPWKH)'$                                 



                                                                                        3DJHVWR
                Case: 22-5807
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                                                    3DJH                                                       3DJH
                                        KRUPRQHVDVKDSS\GUXJV"
       :+(5(832132'&$67$8',2:$63/$<('                           $77251(<%25(//,2EMHFWLRQIRUP
                                        7+(:,71(666RLI\RXZLOOUHFDOOZH
      %<$77251(<%522.6                                             XVHWKHPHGLFDWLRQWRGHFUHDVHG\VSKRULDZKLFKLVD
      4$OOULJKW                                             GLVFRPIRUWDQGWRLPSURYHGHSUHVVLRQ6RDQ\
      0\LPSUHVVLRQFRUUHFWPHRUWHOOPHLI\RX            PHGLFDWLRQWKDWZRXOGUHOLHYHWKRVHWKLQJVFRXOGEH
      DJUHHWKDWFOLSLVMXVWDVLQJOHXQEURNHQELWRI               GHVFULEHGDVDKDSS\GUXJ, PRND\ZLWKWKDW
      FRQYHUVDWLRQQRWSLHFHGWRJHWKHUIURPGLIIHUHQWWKLQJV        %<$77251(<%522.6
      ,VWKDWFRQVLVWHQWZLWKZKDW\RXKHDUGDQGZKDW\RX             4$QGDIWHU'UHZVD\VKDSS\GUXJ\RXVDLG\D\
     UHFDOO"                                                        \D\$UH\RXFRPIRUWDEOHWKDW VFRQVLVWHQWZLWK\RXU
     $77251(<%25(//,2EMHFWLRQIRUP             UROHDVDGRFWRULQOLJKWRISRWHQWLDOGRZQVLGHVDQG
     7+(:,71(66<RXNQRZ,GRQ WUHPHPEHU       VLGHHIIHFWVRIWKLVWUHDWPHQWDQGWKLVFKLOG VOLIHWR
     %<$77251(<%522.6                                            VHUYHWKHUROHRIDFKHHUOHDGHUVD\LQJ\D\\D\"
     42ND\                                                 $77251(<%25(//,2EMHFWLRQ&RXQVHO,
     <RXFRPHEDFNLQWKHURRPZLWKDSUHVFULSWLRQ         MXVWZDQWWRQRWHIRUWKHUHFRUGLW VQRWFOHDUIURP
     LQ\RXUKDQGWKHZDUQLQJVKDYHEHHQUHDGZKLOH\RXZHUH       WKDWUHFRUGLQJWKDWERWK\D\VDUHLQWKHVDPHYRLFH
     RXWVLGH<RXDVNJXHVVZKDW,KDYHLQP\KDQG<RX          7KDW VDFWXDOO\QRWZKDW,KHDUG
     KHDUGWKHFOLSDQG,VHHZKDWLWVD\VWKHUH,VWKH           $77251(<%522.6,I\RXKDYHDQ
     YRLFHWKDWVD\VKDSS\GUXJV'UHZ VYRLFHRU\RXUYRLFH"        REMHFWLRQ\RXFDQUDLVHLWODWHU
     $77251(<%25(//,2EMHFWLRQIRUP             $77251(<%25(//,,QHHGWRPDNHP\
     7+(:,71(660LQH0\YRLFH                  UHFRUGQRZ&RXQVHO
     %<$77251(<%522.6                                            $77251(<%522.61R\RXQHHGWRUDLVH
     47KHYRLFHWKDWVD\VKDSS\GUXJVLV\RXUYRLFH        \RXUREMHFWLRQQRZ<RXJHWWRGLVFXVVLWIXUWKHULQ
     $QGWKHYRLFHWKDWVD\V\D\\D\VDOVR\RXUYRLFH",I       IURQWRIWKHFRXUW


                                                    3DJH                                                       3DJH
      \RXZDQWWRKHDULWDJDLQ\RXFDQ                              %<$77251(<%522.6
      $,W VQRWODEHOHGWKDWZD\                             4,ZLOOUHDVNP\TXHVWLRQ'R\RXFRQVLGHULW
      4:HOO\D\\D\LVODEHOHG\RX"                         FRQVLVWHQWZLWK\RXUUROHDVDSK\VLFLDQLQOLJKWRI
      $<D\\D\LVODEHOHGPH"2ND\                         WKHSRWHQWLDOGRZQVLGHVDQGVLGHHIIHFWVIURPFURVVVH[
      4'RFWRU$"                                              KRUPRQHVIRUWKLVFKLOGIRU\RXWRSOD\WKHUROHRI
      $,W VUHDOO\FRQIXVLQJEHFDXVHLW V                FKHHUOHDGHUVD\LQJ\D\"
      4/HW VGRWKLV/HW VOLVWHQWRWKLVRQHPRUH          $77251(<%25(//,2EMHFWLRQIRUP
      WLPH                                                           7+(:,71(666RLQP\MREDVDSK\VLFLDQ
      $7KHUHLVFRQIXVLRQ                                    ,RIWHQDPKHOSLQJPRWLYDWHP\SDWLHQWVLPSURYHWKHLU
     4,ZDQW\RXWROLVWHQGRQ WWUXVWWKHODEHOV      RYHUDOOKHDOWK$QGLQWKDWZD\,RIWHQVRXQGOLNH,DP
     /LVWHQWRWKHYRLFHRQKDSS\GUXJV7KH\PD\EH          DFKHHUOHDGHUDQG,DPWU\LQJWRKHOSWKHPEHOLHYHLQ
                                      WKHPVHOYHVDQGXQGHUVWDQGDQGIHHOJRRGPRYLQJIRUZDUG
      :+(5(832132'&$67$8',2:$63/$<('                          ZLWKPHGLFDWLRQWUHDWPHQWVWRKDYHWKHEHVWOLNHOLKRRG
                                       RIVXFFHVV6R,PD\VD\\D\
     %<$77251(<%522.6                                            9,'(2*5$3+(5([FXVHPH<RXJRWFXW
     4:KRVHYRLFHVD\VKDSS\GUXJV"                         RXWWKHUHLQWKHPLGGOHRIWKDWLQWKHPLGGOHRI
     $7KDWVRXQGHGOLNH'UHZ                               \RXUDQVZHU
     42ND\                                                 7+(:,71(662ND\
     6RWKHODEHOLQJ\RXEHOLHYHLVFRUUHFW,MXVW       'R\RXZDQWPHWRVWDUWRYHU"
     ZDQWHGWRGRXEOHFKHFNWKDW                                   $77251(<%522.6:KRZDVWKDW"
     $UH\RXDVDSK\VLFLDQLQOLJKWRIDOORIWKH       $77251(<:,/.,16217KDWZDVWKHFRXUW
     GLVFORVXUHVWKDWKDYHMXVWEHHQPDGHDERXWSRWHQWLDO           UHSRUWHU,FDQPDNHDUHFRUGLQJLIHYHU\RQHLVKDSS\
     VLGHHIIHFWVSRWHQWLDOKDUPIXOHIIHFWVZHUH\RX              ZLWKP\SKRQHMXVWRQWKHWDEOHVRZHFRXOGUHIHUWR
     FRPIRUWDEOHZLWKWKHFKLOGUHIHUULQJWRFURVVVH[              WKDWODWHULIWKDW VXVHIXOLIZH UHFRQFHUQHGDERXWWKH


                                                                                        3DJHVWR
                Case: 22-5807
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                                                  3DJH                                                        3DJH
      DXGLRFXWWLQJRXW                                             VKHGRHVQ WOLNHWDONLQJDERXWZKDW'UHZ VOLIHZDVOLNH
      $77251(<%522.67KHUHLVQRKDUPLQD         EHIRUHKHVWDUWHGWUDQVLWLRQLQJ%XWZKHQ,DVNHGKHU
      EDFNXSUHFRUGLQJ9RLFHVZLOOEHLGHQWLILDEOH,I\RX        KRZVKHNQHZOLYLQJDVDER\ZDVWKHULJKWFKRLFHIRU
      ZDQWWRVHWLWWKHUHE\WKDWVSHDNHU                          'UHZVKHZDVEOXQW6KHVDLG, GUDWKHUKDYHDOLYLQJ
      $77251(<:,/.,1621,I\RX UH                  VRQWKDQDGHDGGDXJKWHU'R\RXVHHWKDW"
      FRPIRUWDEOH                                                   $,GR
      $77251(<%25(//,,MXVWZDQWWRFKHFN         4'LG\RXHYHUWHOO'UHZ VPRWKHUWKDWWKDWZDV
                                                                  WKHFKRLFHWKDWVKHIDFHGEHWZHHQDOLYLQJVRQDQGD
      &28575(3257(5:KRLVWDONLQJULJKW           GHDGGDXJKWHU"
     QRZ, PVRUU\ZKRLVZKRLVWDONLQJDERXWWKHLU        $77251(<%25(//,2EMHFWLRQWRIRUP
     SKRQH,GRQ WXQGHUVWDQG/LNH,GRQ WNQRZZKR V         7+(:,71(66,ZRXOGQRWKDYHXVHGWKDW
     VSHDNLQJ                                                     SKUDVH,ZRXOGKDYHGLVFXVVHGWKHULVNRIVXLFLGDOLW\
     $77251(<%522.6-XVWQRZP\FROOHDJXH        %<$77251(<%522.6
     /DZUHQFH:LONLQVRQLVSURSRVLQJWRVHWKLVL3KRQHRQ          4'LG\RXHYHUKHDU'UHZ VPRWKHUVD\VKH
     UHFRUGE\WKHVSHDNHUKHUHVRWKHUHZLOOEHDEDFNXS          XQGHUVWRRGWKDWZDVWKHFKRLFHVKHIDFHGEHWZHHQD
     RQVLWHUHFRUGLQJLQFDVHDQ\WKLQJLVGURSSHGRYHUWKH         OLYLQJVRQDQGDGHDGGDXJKWHU"
     LQWHUQHW$QGWKDWZLOOEHPDGHDYDLODEOHERWKWRWKRVH      $77251(<%25(//,2EMHFWLRQIRUP
     ZKRDUHOLVWHQLQJDQGWRWKHFRXUWUHSRUWHUVHUYLFH          7+(:,71(66<RXNQRZ,KDYHKHDUGLW
     $GGUHVVVRPHRIWKHFRQFHUQV6ROHW VILUHWKDWXSDQG      VLQFHWKHQEHFDXVHRIWKHSRGFDVWVR,FDQ WUHPHPEHU
     LWZLOOEHWKHUH                                             LI,KHDUGLWEHIRUHWKHQRUQRW,GRQ WUHFDOO
     %<$77251(<%522.6                                           KHDULQJLWEHIRUHWKHQ
     4,ZLOOFRQWLQXHZLWKP\TXHVWLRQLQJ'LGLW         %<$77251(<%522.6
     FDXVH\RXDQ\FRQFHUQWKDWLQUHIHUULQJE\UHIHUULQJ      4:KHQ\RXVDZWKHWLWOHWRWKHSRGFDVWGLG\RX
     WRDWHVWRVWHURQHLQMHFWLRQDVKDSS\GUXJVWKDWWKDWZDV      FDOO:1<&DQGH[SUHVVDQ\FRQFHUQWKDWWKDWWLWOHFRXOG


                                                  3DJH                                                        3DJH
      DQLQGLFDWLRQWKDW\RXQJ'UHZZDVQRWWDNLQJVHULRXVO\         EHPLVOHDGLQJ"
      WKHPLQXWHV ZRUWKRIFDXWLRQVDQGZDUQLQJVWKDWKDG        $77251(<%25(//,2EMHFWLRQIRUP
      MXVWEHHQUHDG"                                                7+(:,71(66,GLGQRW
      $77251(<%25(//,2EMHFWLRQIRUP             %<$77251(<%522.6
      7+(:,71(666RJLYHQWKDWWKH                 4+DYH\RXHYHUFRQVXOWHGUHVHDUFKRQWKHUDWHRI
      PHGLFDWLRQLVXVHGWRGHFUHDVHG\VSKRULDDQGLPSURYH           VXLFLGHDPRQJSUHDGROHVFHQWVIRUDQ\SXUSRVH"
      GHSUHVVLYHV\PSWRPVLQWKDWZD\LWGRHVPDNHVRPHRQH          $77251(<%25(//,2EMHFWLRQWRIRUP
      KDSSLHU$QG,KDYHQRLVVXHZLWKDSDWLHQWZKRLV            %<$77251(<%522.6
      XVLQJDJHQHUDOUHIHUHQFHDVKDSS\GUXJVLQWKDWWKDWLV       4,QDQ\FDWHJRU\"
     SDUWRIZKDWZLOOKDSSHQZLWKWKHPHGLFDWLRQ,GLGQ W       $5HSHDWWKHTXHVWLRQSOHDVH
     KDYHDQ\FRQFHUQVZLWKUHJDUGWRWKHIDFWWKDW'UHZPD\       4+DYH\RXHYHUFRQVXOWHGUHVHDUFKRUGDWDDERXW
     QRWKDYHJRWWHQHYHU\WKLQJKHQHHGHGWRXQGHUVWDQGZKDW       WKHUDWHRIVXLFLGHDPRQJSUHDGROHVFHQWVSHULRG"
     KHZDVJRLQJLQWRJRLQJIRUZDUGZLWKWKLVPHGLFDWLRQ         $77251(<%25(//,2EMHFWLRQIRUP
     %<$77251(<%522.6                                           7+(:,71(663UHDGROHVFHQWVKDYH,
     4/HW VEDFNXSWRSDJHIRXURIWKHWUDQVFULSW        FRQVXOWHGUHVHDUFKRQVXLFLGDOLW\RQSUHDGROHVFHQWVVR
     $QGZH UHQRWJRLQJWROLVWHQWRDQ\RUHFOLSV               EHIRUHSXEHUW\1RWLQDZKLOH
     (YHU\ERG\ZLOOEHKDSS\WRNQRZSHUKDSV                      %<$77251(<%522.6
     $77251(<%25(//,,W VXQVWDEOH              4<RXDUHDZDUHDUH\RXQRWWKDWLQFLGHQFHVRI
     7+(:,71(667KHUHZHJR                     DFWXDOVXLFLGHDUHH[WUHPHO\UDUHLQLQGLYLGXDOVRIDOO
     %<$77251(<%522.6                                           FDWHJRULHVEHIRUHSXEHUW\"
     42ND\                                                $77251(<%25(//,2EMHFWLRQIRUP
     $QGWRZDUGVWKHWRSRISDJHIRXUWKHVHFRQG         7+(:,71(667KDWVRXQGVFRQVLVWHQWZLWK
     SDUDJUDSKWKHQDUUDWRUDQGWKLVLVQRW\RXVSHDNLQJ      WKHOHDGLQJFDXVHVWKDW,UHFDOOIRUGHDWKEHIRUH
     DQGLWLVQRW'UHZ VPRWKHUVSHDNLQJ7KHQDUUDWRUVD\V      SXEHUW\


                                                                                       3DJHVWR
                Case: 22-5807
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                                                   3DJH                                                         3DJH
      %<$77251(<%522.6                                             7+(:,71(66([FXVHPH1R
      4$QG\RX\RXUVHOIDUHQRWDZDUHRIDVLQJOH           %<$77251(<%522.6
      FDVHRIVXLFLGHE\DSUHDGROHVFHQWJHQGHUG\VSKRULD             4+DYH\RXIROORZHGXSVRWKDW\RXKDYHFXUUHQW
      SDWLHQWWKDWKDVFRPHWR\RXUFOLQLF"                           LQIRUPDWLRQDERXW'UHZ VPHQWDOSK\VLFDODQGVRFLDO
      $77251(<%25(//,2EMHFWLRQIRUP              KHDOWKDVRIWRGD\ZKLFKZRXOGEHDERXWDJH"
      7+(:,71(661R                                $77251(<%25(//,2EMHFWLRQIRUP
      %<$77251(<%522.6                                             7+(:,71(66'UHZ VQRORQJHUP\
      4$QGKDYH\RXFRQVXOWHGDQ\UHVHDUFKRQWKHUDWH        SDWLHQWKDVWUDQVLWLRQHGWRDGXOWFDUH7KDW VQRW
      RIDFWXDOVXLFLGHE\FKLOGUHQVXIIHULQJIURPJHQGHU             ZKDW,GRVR,GRQ WKDYHDFFHVVWRWKDW
     G\VSKRULDXQGHUWKHDJHRI"                                 %<$77251(<%522.6
     $77251(<%25(//,2EMHFWLRQIRUP             4:KDWSURFHGXUHVGR\RXKDYHLQSODFHLIDQ\LQ
     7+(:,71(66+DYH,"<HV                     \RXUFOLQLFWRIROORZXSORQJWHUPZLWKWKRVHZKRP\RX
     %<$77251(<%522.6                                            KDYHSUHVFULEHGSXEHUW\EORFNHUVRUFURVVVH[KRUPRQHV
     4$QGZKDWGLGWKDWZKDWVRXUFHGR\RXKDYHLQ      IRU"
     PLQGZKHQ\RXVD\WKDW"                                        $77251(<%25(//,2EMHFWLRQIRUP
     $77251(<%25(//,2EMHFWLRQIRUP             7+(:,71(666R\RXNQRZKHUHDW'XNH
     7+(:,71(66$JDLQ,KDYHWURXEOHZLWK        ZHKDYHDPXOWLGLVFLSOLQDU\WHDP$V,GRQ WNQRZ
     UHPHPEHULQJDQGWKHUHLVDZLGHYDULHW\RIUHSRUWVVRPH       LI,PHQWLRQHGWKHPEHIRUH,WLQFOXGHVDZLGHYDULHW\
     DVIURPWRSHUFHQWVRPHDVKLJKDV               RILQGLYLGXDOV$QGWKDWJURXSGLVFXVVHVHYHU\PRQWK
     SHUFHQW$QGWKRVHDUHVXLFLGHDWWHPSWVDV,UHFDOO         RXUSDWLHQWVDQ\FRQFHUQVRUTXHVWLRQV,QDGGLWLRQ
     ZKLFKPHDQVWKDWWKHIRONVWKDWGLHGZRXOGQ WKDYHHYHQ        WKDWJURXSKDVSXWWRJHWKHUDUHJLVWU\WKDWVWDUWVZKHQ
     EHHQLGHQWLILHG                                               WKH\FRPHWRP\FOLQLFDQGZHIROORZWKHLUKHDOWKWKHLU
     %<$77251(<%522.6                                            PHQWDOKHDOWKWKURXJKWKHWLPHWKDWWKH\DUHLQRXU
     4:HOO\RXDUHDZDUHWKDWWKHUH VDYHU\ZLGH          FOLQLFDQGWKHQZKHQRRSV6RUU\$QGWKHQZKHQ


                                                   3DJH                                                         3DJH
      VWDWLVWLFDOJDSEHWZHHQVXLFLGHDWWHPSWVDQGVXLFLGHV          WKH\DUHDGXOWVWUDQVLWLRQLQJWRRXUDGXOWFDUHWHDP
      &RUUHFW"                                               $QGLQWKDWZD\, PDEOHWRNHHSXSZLWKWKRVHSDWLHQWV
      $77251(<%25(//,2EMHFWLRQWRIRUP            ZKRUHPDLQDW'XNHIRUDGXOWFDUH
      7+(:,71(667KHUHLVVRPHYDULDWLRQ            %<$77251(<%522.6
      EHWZHHQVXLFLGHDWWHPSWVDQGZKDWZDVWKHZRUGVXLFLGH         46R\RXKDYHEHHQSUDFWLFLQJWKLVILHOG,WKLQN
      LGHDWLRQ\HDK                                                 \RXVDLGVLQFHDERXW$QGWKHSDWLHQWVWKDW\RX
      %<$77251(<%522.6                                             VDZOHW VVD\LQ,WKLQN\RXVDLGPRVW
      41R:KDW,VDLGLVWKHUHLVDYHU\ZLGHJDS           RI\RXUSDWLHQWVSUHVHQWHGROGHUWKDQDJH,GRQ W
      EHWZHHQVXLFLGHDWWHPSWVDQGDFWXDOFRPSOHWHGVXLFLGH"          UHFDOOH[DFWO\<RXUDYHUDJHSUHVHQWDWLRQLVROGHUWKDQ
     $77251(<%25(//,2EMHFWLRQIRUP             "
     7+(:,71(667KHUHLVDJDSEHWZHHQ           $77251(<%25(//,2EMHFWWRWKHIRUP
     1RWHYHU\RQHZKRDWWHPSWV2WKHUZLVHWKHUHZRXOGQ W         7+(:,71(66<HV
     EHDGLIIHUHQFHLQWKHQDPH                                   $77251(<%25(//,<RXJRWWRSDXVHVR,
     %<$77251(<%522.6                                            FDQJHWLQDQREMHFWLRQ
     4,QIDFW\RXNQRZDVDPDWWHURISURIHVVLRQDO         7+(:,71(662K\HDK<HDK
     H[SHUWLVHWKDWLWLVDYHU\ZLGHJDSGR\RXQRW"              %<$77251(<%522.6
     $77251(<%25(//,2EMHFWLRQ                   46R\HDK6RWKRVHSDWLHQWVRQDYHUDJHDUH
     7+(:,71(66,ZRXOGKDYHWRORRNDWWKH       QRZLQWKHLUXSSHUWHHQVRUSHUKDSV"
     OLWHUDWXUHDWZKDWWKHQXPEHUVORRNOLNHDQGGHVFULELQJ       $77251(<%25(//,2EMHFWLRQIRUP
     LWZK\LVDQRSLQLRQ                                          7+(:,71(66/HW VVHH,KDYHSDWLHQWV
     %<$77251(<%522.6                                            ZKRDUHROGHUWKDQWKDW, PQRWVXUHRIDQDYHUDJH,
     4+DVDQ\SDWLHQWRIWKHXQGHU\RXUFDUHHYHU       KDYHQRWFDOFXODWHGDQDYHUDJH
     FRPPLWWHGVXLFLGHDWDQDJH\RXQJHUWKDQ"                   %<$77251(<%522.6
     $77251(<%25(//,2EMHFWLRQIRUP             4'R\RXKDYHDQ\SURFHGXUHVLQSODFHWRDWWHPSW


                                                                                        3DJHVWR
                Case: 22-5807
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                                                   3DJH                                                        3DJH
      WRPRQLWRUWKHPHQWDOKHDOWKRI\RXUSDWLHQWVILYH\HDUV        $$UHJLVWU\LVDOLVWRISDWLHQWVZKRDUH
      DIWHU\RXILUVWSUHVFULEHSXEHUW\EORFNHUVRUFURVVVH[         HQUROOHGLQDVWXG\LILW VGRQHDVDUHVHDUFK
      KRUPRQHV"                                                       SURWRFRO$QGZLWKLQWKDWUHJLVWU\\RXFROOHFW
      $77251(<%25(//,2EMHFWLRQIRUP              LQIRUPDWLRQWKDW\RXFKRRVHWRUHFRUGWKDW VLPSRUWDQW
      7+(:,71(667KHSDWLHQWVWKDWUHPDLQ           DQGWKHQ\RXIROORZWKDWRYHUWLPHLQDV\VWHPDWLFZD\
      ZLWKLQRXUUHJLVWU\GRKDYHUHJXODUPHQWDOKHDOWK               $77251(<%522.6/HWPHJUDEWDE
      IROORZXS:HKDYHDWHDPRQWKHDGXOWVLGHDVZHOOLQ         OHWPHPDUNDV([KLELWDGRFXPHQWSUHYLRXVO\
      ERWKRIWKHWZRFOLQLFVWKDWZHZRUNZLWK                      GHVLJQDWHGDVWDEZKLFKLVDUWLFOHHQWLWOHG,
      %<$77251(<%522.6                                             VKRXOGVD\DQHZVSDSHUDUWLFOHHQWLWOHG7KH0HQWDO
     4:KDWSHUFHQWDJHRI\RXUSDWLHQWVWKDW\RX             +HDOWK(VWDEOLVKPHQWLV)DLOLQJ7UDQV.LGVE\/DXUD
     \RXUVHOIKDYHDXWKRUL]HGFURVVVH[KRUPRQHVGR\RXKDYH        (GZDUGV/HHSHUDQG(ULFD
     DFFHVVWRGDWDDERXWWKHLUPHQWDOKHDOWKILYH\HDUV            
     DIWHULQLWLDWLRQRIKRUPRQHWUHDWPHQW"                          :KHUHXSRQ$GNLQV([KLELW
     $77251(<%25(//,2EMHFWLRQIRUP             :DVKLQJWRQ3RVW$UWLFOHZDVPDUNHGIRU
     7+(:,71(666RPHDUHVWLOOSUHVHQWLQ         LGHQWLILFDWLRQ
     WKHFOLQLF,ZRXOGKDYHDFFHVVWRWKRVH<RXNQRZ          
     , PQRWVXSSRVHGWRDFFHVVUHFRUGVVSHFLILFDOO\LI             %<$77251(<%522.6
     WKH\ UHQRORQJHULQP\FDUH7KHSURYLGHUFDQUHDFK          4$QG'U$GNLQVDP,FRUUHFWWKDWWKLVLQWKH
     RXWWRPHZLWKFRQFHUQVDQGKDYHDYHU\FORVH                  :DVKLQJWRQ3RVWFDPHRXWLQ1RYHPEHURIVWLUUHGXS
     UHODWLRQVKLSZLWKWKHDGXOWSURYLGHUVDQGWKH\GRDVNPH       TXLWHDELWRIGLVFXVVLRQZLWKLQ\RXUSURIHVVLRQ"
     TXHVWLRQVDERXWVRPHRIWKRVH6RLQWKDWZD\,ZRXOG         $77251(<%25(//,2EMHFWLRQIRUP
     KDYHDFFHVVDVZHOODVZKHQZHFDOFXODWHRQDSRSXODWLRQ       7+(:,71(66,XQGHUVWDQGWKDWWKHUHZDV
     EDVHZLWKLQRXUUHJLVWU\DQ\RXWFRPHVWKHUH                   DQDUWLFOHE\/DXUD(GZDUGV/HHSHUWKDWWKHUHZDVDORW
     %<$77251(<%522.6                                            RIFRQYHUVDWLRQDURXQG,GRQ WNQRZLILWZDVWKLV


                                                   3DJH                                                        3DJH
      4$VDPDWWHURIUHVHDUFKKDVKDYH\RXRU           RQH,WLVSRVVLEOH
      DQ\ERG\DVVRFLDWHGZLWK\RXUFOLQLFDWWHPSWHGD                 %<$77251(<%522.6
      IROORZXSVXUYH\RUV\VWHPDWLFVHULHVRILQWHUYLHZVRI          4'LG\RXUHDGWKLV"
      DOOSDWLHQWVZKRZHUHSUHVFULEHGKRUPRQHVZLWKLQIRU           $,KDYHQ WUHDGWKLVDUWLFOH
      LQVWDQFHVRPHSDUWLFXODUWLPHSHULRG"                          47KHUHZDVDORWRIFRQYHUVDWLRQDURXQGDUHFHQW
      $77251(<%25(//,2EMHFWLRQIRUP              DUWLFOHE\'U(GZDUGV/HHSHUDQG'U$QGHUVRQEXW\RX
      7+(:,71(666RZHFXUUHQWO\DUH                GLGQ WERWKHUWRUHDGLW"
      HQUROOLQJSDWLHQWVLQWKDWVWXG\,W VQRWFRPSOHWH           $77251(<%25(//,2EMHFWLRQWRIRUP
      %<$77251(<%522.6                                             7+(:,71(66,KDYHKDGGLVFXVVLRQVZLWK
     4$VZHVLWKHUHWRGD\\RXGRQ WKDYHDQ\              P\FROOHDJXHVDURXQGWKHVXEVWDQFH,KDYHQ WKDGWKH
     V\VWHPDWLFUHDVRQDEO\WKRURXJKLQIRUPDWLRQRQWKHPHQWDO       WLPHWRUHDGLW
     KHDOWKFRQGLWLRQRIOHW VVD\SDWLHQWVIRUZKRP\RX            %<$77251(<%522.6
     ILUVWSUHVFULEHGKRUPRQDOLQWHUYHQWLRQVILYH\HDUVDJR        4+DYH\RXKDGSURIHVVLRQDOLQWHUDFWLRQVLQWKH
     ,VWKDWFRUUHFW"                                      SDVWZLWK'U(GZDUGV/HHSHU"
     $77251(<%25(//,2EMHFWLRQ2EMHFWLRQ        $77251(<%25(//,2EMHFWLRQIRUP
     WRIRUP                                                       7+(:,71(66,W VSRVVLEOHWKDWZH
     7+(:,71(66,ZRXOGFRQVLGHU\RXNQRZ       WDXJKWDWDVDPHFRQIHUHQFHRQFHEXW,GRQ WUHFDOO
     DUHJLVWU\ZLWKUHVHDUFKEDVHGV\VWHPDWLFPHWKRG              HYHUKDYLQJDFRQYHUVDWLRQ
     %<$77251(<%522.6                                            %<$77251(<%522.6
     4$UHJLVWU\ZLWKUHVHDUFKEDVHG"                   4$QGKDYH\RXKDGSURIHVVLRQDOLQWHUDFWLRQVZLWK
     $7KDWLVUHVHDUFKEDVHGLVDV\VWHPDWLFSURJUDP        'U$QGHUVRQ"
     WRGRWKDWDQGILQGRXWIROORZXS                             $77251(<%25(//,2EMHFWLRQIRUP
     4:KDWGR\RXPHDQE\UHJLVWU\WKDWLWLVUHVHDUFK      7+(:,71(66,KDYHQRW
     EDVHG"                                                         %<$77251(<%522.6


                                                                                        3DJHVWR
                Case: 22-5807
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                                                   3DJH                                                        3DJH
      4$UH\RXJHQHUDOO\DZDUHRI'U(GZDUGV/HHSHU V        %<$77251(<%522.6
      UHSXWDWLRQLQWKHILHOG"                                        46RDVDUHSUHVHQWDWLRQWKHUH,NQRZWKDW'U
      $77251(<%25(//,2EMHFWLRQIRUP              $QGHUVRQLVWUDQVJHQGHULVDQDWDOPDOHZKR VEHHQ
      7+(:,71(66<HV                               OLYLQJZLWKDIHPDOHJHQGHULGHQWLW\IRUPDQ\\HDUV
      %<$77251(<%522.6                                             7KDW\RXGRQ WNQRZDERXWRQHZD\RUWKHRWKHU"
      4+RZZRXOG\RXGHVFULEHWKDWUHSXWDWLRQDWOHDVW        $77251(<%25(//,2EMHFWLRQIRUP
      SULRUWRSXEOLFDWLRQRIWKLVDUWLFOH"                           7+(:,71(66,GRQRWNQRZWKDW
      $77251(<%25(//,2EMHFWLRQIRUP              %<$77251(<%522.6
      7+(:,71(66,QJHQHUDO,ZRXOGQRW            42ND\
     QHFHVVDULO\VD\WKDWLWKDVFKDQJHG3HRSOHKDYH              /HWPHWDNH\RXEDFNWR([KLELWVRUU\ZKDW
     UHVSHFWIRU'U(GZDUGV/HHSHUDQGKHUSXEOLFDWLRQVLQ         ZDVWKHILUVWRQHZHPDUNHG":DVLWDQGRUDQG
     JHQHUDO,GRQ WNQRZDERXWVSHFLILF                     "
     %<$77251(<%522.6                                            $77251(<:,/.,16216L[WHHQ  DQG
     43HRSOHJHQHUDOO\KDYHUHVSHFWIRUKHU                 DQG
     SXEOLFDWLRQV"                                                  %<$77251(<%522.6
     $*HQHUDOO\,GRQ WNQRZDERXWHYHU\RQH             4/HWPHWDNH\RXEDFNWR([KLELW$QGWKH
     46XUH:HUH\RXLQYLWHGWRSDUWLFLSDWHDVD           ILUVWSDUDJUDSKFRQWDLQVDQDUUDWLYH,KDYHQRLGHD
     PHPEHURIWKHFRPPLWWHHWRUHYLVHWKH:3$7+VRFDOOHG          ZKHWKHULWLVDVSHFLILFQDUUDWLYHRUNLQGRIFDVHVWXG\
     VWDQGDUGVRIFDUHUHODWLQJWRWUHDWPHQWRIWUDQVJHQGHU         QDUUDWLYHDERXWWKLVJLUO3DWULFLDZKRWROGKHUSDUHQWV
     LQGLYLGXDOV"                                                   VKHZDVWUDQVJHQGHUDWDJH,WJRHVRQWRVD\WKDWD
     $77251(<%25(//,2EMHFWLRQIRUP             \HDUHDUOLHUVKHKDGEHHQVH[XDOO\DVVDXOWHGE\DQROGHU
     7+(:,71(66,ZDV                            JLUO'R\RXNQRZZKDWSHUFHQWDJHRIQDWDOIHPDOHVZKR
     %<$77251(<%522.6                                            FRPHWR\RXUFOLQLFDIWHUWKHEHJLQQLQJRISXEHUW\KDYH
     4$UH\RXGRLQJWKDW"                                   H[SHULHQFHGVH[XDODVVDXOWEHIRUHWKH\SUHVHQWWR\RX"


                                                   3DJH                                                        3DJH
      $1R                                                    $77251(<%25(//,2EMHFWLRQIRUP
      4$QGGLG\RXSDUWLFLSDWHLQWKHWDVNIRUFHIRU          7+(:,71(66,FDQ WJLYH\RXD
      WKH$PHULFDQ3V\FKRORJLFDO$VVRFLDWLRQZKLFKGHYHORSHG         SHUFHQWDJH,WLVVRPHWKLQJWKDWZHGLVFXVVZLWKHYHU\
      JXLGHOLQHVIRUSUDFWLFHJXLGHOLQHVIRUZRUNZLWK                SDWLHQWLQWKHLULQWDNHDVVHVVPHQW
      WUDQVJHQGHULQGLYLGXDOV"                                        %<$77251(<%522.6
      $77251(<%25(//,2EMHFWLRQIRUP              4'R\RXEHOLHYHWKDWQDWDOIHPDOHVZKRKDYH
      7+(:,71(66,KDYHQRWSDUWLFLSDWHGLQ         VXIIHUHGVH[XDODVVDXOWDUHGLVSURSRUWLRQDWHO\
      WKDWQR                                                       UHSUHVHQWHGDPRQJWKHSRSXODWLRQZKRSUHVHQW
      %<$77251(<%522.6                                             H[SHULHQFLQJJHQGHUG\VSKRULDRUJHQGHULQFRQJUXHQFH"
     42ND\                                                 $77251(<%25(//,2EMHFWLRQIRUP
     $QGOHWPHPDUNWKHQH[WRQHZKLFKLVDQ             7+(:,71(666RWKRVHDVVLJQHGIHPDOHDW
     DUWLFOHWKDWFRQVLVWVRIDQLQWHUYLHZZLWK'U$QGHUVRQ       ELUWK,FDQ WVD\WKDWEDVHGRQP\UHYLHZRIP\
     7KLV,ZLOOPDUNDV([KLELW"                                LQIRUPDWLRQWKDWWKH\DUHRYHUUHSUHVHQWHG$QG,ZRXOG
                                      KDYHWRKDYHDFRPSDULVRQJURXS<RXNQRZRQHLQIRXU
      :KHUHXSRQ$GNLQV([KLELW$QGHUVRQ         FLVJHQGHUZRPHQKDYHEHHQDWWDFNHGVH[XDOO\DWVRPH
     ,QWHUYLHZZDVPDUNHGIRU                      SRLQWLQWKHLUOLIH,W VKDUGWRJHWDURXQGWKDW
     LGHQWLILFDWLRQ                                %<$77251(<%522.6
                                      4/HWPHDVN\RXWRWXUQWRSDJHWKUHHRI([KLELW
     %<$77251(<%522.6                                            
     4$QG,EHOLHYH,DVNHGLI\RXNQHZKHURUDUH\RX      $, PVRUU\
     IDPLOLDUZLWKWKHUHSXWDWLRQRI'U$QGHUVRQ'U/DXUD        43DJHWKUHH([KLELW
     $QGHUVRQ"                                                      $2ND\7KDQN\RX,MXVWKDGDGULQNRIZDWHU
     $77251(<%25(//,2EMHFWLRQIRUP             42IFRXUVH
     7+(:,71(66$FWXDOO\QR                     $7KH\ UHQRWODEHOHGRQP\SDSHU


                                                                                        3DJHVWR
                Case: 22-5807
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                                                   3DJH                                                          3DJH
      47KHSDJHVDUHQRW<RXDUHULJKW,ZURWHWKHP       WKLQNLWGRHVLWEHJLQV
      RQPLQH<RXZRXOGKDYHWRFRXQWWKHPWREHVXUHEXW          $2ND\$OOULJKW
      WKHWKLUGSDJH                                                 4:LWKLQWKDW\RX OOILQGWKHVHQWHQFHWKDWEHJLQV
      $,WKLQN,JRWLW                                      LQUHFHQWVWXG\
      47KHVHDXWKRUV'RFWRUV(GZDUGV/HHSHUDQG              $*RWLW
      $QGHUVRQVWDWHDWWKHHQGRIWKHSDUDJUDSKDWWKHWRS          4$QGLWVD\VLQDUHFHQWVWXG\
      RISDJHWKUHHWKDWTXRWHZHPD\EHKDUPLQJVRPHRIWKH        GHWUDQVLWLRQHUVIRULQVWDQFHSHUFHQWUHSRUWHGWKDW
      \RXQJSHRSOHZHVWULYHWRVXSSRUWSHRSOHZKRPD\QRWEH        WKH\EHOLHYHGWKHLURULJLQDOG\VSKRULDKDYHEHHQFDXVHG
      SUHSDUHGIRUWKHJHQGHUWUDQVLWLRQVWKH\DUHEHLQJ              E\VRPHWKLQJVSHFLILFVXFKDVWUDXPDDEXVHRUPHQWDO
     UXVKHGLQWRFORVHGTXRWH                                     KHDOWKFRQGLWLRQFORVHGTXRWH
     'R\RXVHHWKDW"                                      'R\RXVHHWKDW"
     $:KHUHDJDLQ"                                          $,GR
     4,W VWKHYHU\ODVWVHQWHQFHRIWKHSDUWLDO            4$UH\RX\RXUVHOIDZDUHRIDUHFHQWO\SXEOLVKHG
     SDUDJUDSKDWWKHWRS"                                          VXUYH\RIGHWUDQVLWLRQHUVE\'U/LWPDQRI%URZQ
     $5LJKW*RWLW7KDQN\RX<HDK,VHHLW          8QLYHUVLW\"
     4'R\RXVKDUHWKDWFRQFHUQH[SUHVVHGE\'U            $77251(<%25(//,2EMHFWLRQIRUP
     (GZDUGV/HHSHUDQG'U$QGHUVRQWKDWLVWKDWVRPH\RXQJ        7+(:,71(66,KDYHQRWVHHQWKDW
     SHRSOHDUHEHLQJUXVKHGLQWRWUDQVLWLRQVDQGPD\EH            UHSRUW
     KDUPHGUDWKHUWKDQVXSSRUWHGDVDUHVXOW"                      %<$77251(<%522.6
     $77251(<%25(//,2EMHFWLRQIRUP             4$UH\RXDZDUHRIWKDW"
     7+(:,71(666RLI\RX UHIROORZLQJWKH        $77251(<%25(//,2EMHFWLRQWRIRUP
     UHFRPPHQGDWLRQVWKHUH VDWOHDVWVL[PRQWKVRIWLPH,Q       7+(:,71(661RDFWXDOO\$JDLQ,
     P\JHQHUDOH[SHULHQFHLWLV\HDUVEHIRUHWKH\HYHQ             GRQ WUHPHPEHUQDPHVVRZKHQ\RXDVNPHDERXWDQ
     SUHVHQWWRP\FOLQLF6R,GRQ W,ZRXOGQRWVD\          DUWLFOHE\'RFWRU%URZQ,NQRZ'RFWRU%URZQ$QG,


                                                   3DJH                                                          3DJH
      WKDWWKDW VDUXVK                                             KDYHVHHQVRPHDUWLFOHVDERXWGHWUDQVLWLRQ6RZLWKRXW
      %<$77251(<%522.6                                             WKDWLQIURQWRIPHWRUHDOO\VD\\HV, YHVHHQWKDW
      4:HOODQGP\TXHVWLRQZDVQ WDERXW\RXUFOLQLF         DUWLFOHLW VSRVVLEOH,GRP\EHVWWRNHHSXSRQ
      QRZ0\TXHVWLRQZDVGR\RXVKDUHWKHFRQFHUQRIWKHVH         WKHOLWHUDWXUH
      DXWKRUVWKDWORRNLQJDURXQGWKHSUDFWLFHPRUHJHQHUDOO\         %<$77251(<%522.6
      WKDWVRPH\RXQJSHRSOHDUHEHLQJKDUPHGUDWKHUWKDQ             4$OOULJKW, PXVHGWRZHWWLQJP\ILQJHUV
      VXSSRUWHGEHFDXVHWKH\DUHEHLQJUXVKHGLQWRWUDQVLWLRQV        OHWPHWDNH\RXEDFNWRWKHSUHYLRXVSDJHWKHWKLUG
      WKH\PD\QRWEHIXOO\SUHSDUHGIRU"                             SDUDJUDSKDQGWKHSDUDJUDSKEHJLQVFRPSUHKHQVLYH
      $77251(<%25(//,2EMHFWLRQIRUP              DVVHVVPHQW'R\RXVHHWKDWSDUDJUDSK"
     7+(:,71(666RZLWKLQUHVHDUFKDQG            $<HV
     ZLWKLQP\FRQYHUVDWLRQVZLWKP\FROOHDJXHVZKRDUHGRLQJ       4$QGDWWKHHQGRIWKDWWKHODVWVHQWHQFHUHDGV
     VLPLODUZRUNZHSUDFWLFHVLPLODUO\,GRQ WDJUHHWKDW       WKHPHVVDJHVWKDWWHHQVJHWIURP7LN7RNDQGRWKHU
     WKH\DUHUXVKLQJWKHVHNLGV                                   VRXUFHVPD\QRWEHYHU\SURGXFWLYHIRUXQGHUVWDQGLQJ
     %<$77251(<%522.6                                            WKLVFRQVWHOODWLRQRILVVXHVUHIHUULQJWRJHQGHU
     4/HWPHDVN\RXWRWXUQRYHUWRWKHQH[WSDJH         G\VSKRULDUHODWHGLVVXHV'R\RXVHHWKDWVHQWHQFH"
     $QGWKHUHLQWKHVHFRQGSDUDJUDSKIURPWKHERWWRPLVD         $,GR
     VHQWHQFHWKDWEHJLQVLQDUHFHQWVWXG\'R\RXVHHWKDW       4'R\RXVKDUHWKHFRQFHUQRIWKHVHDXWKRUV\RXQJ
     VHQWHQFH"                                                      SHRSOHDUHEHLQJXQGXO\LQIOXHQFHGRQLVVXHVRIJHQGHU
     $,PXVWQRWEHRQWKHULJKWSDJH                      LGHQWLW\E\VRFLDOPHGLDPHVVDJHV"
     4,WLVWKHSHQXOWLPDWHSDJH                           $77251(<%25(//,2EMHFWLRQWRIRUP
     $,QWKH                                           7+(:,71(66$VDSHGLDWULFLDQ,KDYH
     4,QWKHSHQXOWLPDWHSDUDJUDSK                         P\UHVHUYDWLRQVDERXWVRFLDOPHGLDDQGWKHLUHIIHFWVRQ
     $3URYLGHUVWKDWRQH"                                  WHHQV$OZD\VUHPLQGLQJWHHQVLQP\FDUHWKDWWKH\QHHG
     4,QDUHFHQWVWXG\RIGHWUDQVLWLRQHUV,          WRFKHFNWKHLUVRXUFHVDQGWKDW7LN7RNLVQ WIRU


                                                                                        3DJHVWR
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                                                   3DJH                                                         3DJH
      H[DPSOHSHHUUHYLHZHGDQGWKDWWKH\VKRXOGUHO\RQ\RX        RYHUWKHODVWGHFDGH"
      NQRZWKHNQRZOHGJHRIWKHLUSURYLGHU$QGWKH\ UHIUHH        $77251(<%25(//,2EMHFWLRQIRUP
      WRDVNWKRVHTXHVWLRQVDQGOHDUQWKDWLQIRUPDWLRQIURPD        7+(:,71(66,KDYHVHHQDWOHDVWRQH
      UHOLDEOHSHUVRQZLWKLQRXUFOLQLF                              VWXG\ZRXOGVXJJHVWWKDW,WKDVQRWEHHQP\FOLQLFDO
      %<$77251(<%522.6                                             H[SHULHQFH
      4'R\RXVKDUHWKHFRQFHUQWKDWWHHQVDUH                %<$77251(<%522.6
      SDUWLFXODUO\VXEMHFWWRSHHUSUHVVXUHWKURXJKVRFLDO            47KDWKDVQRWEHHQWKHH[SHULHQFHLQ\RXUFOLQLF"
      PHGLD"                                                          $1R
      $77251(<%25(//,2EMHFWLRQIRUP              4/HWPHWDNH\RXWRSDUDJUDSKRI\RXUH[SHUW
     7+(:,71(666R\RXNQRZSHHUSUHVVXUH        UHSRUW$QGWKHUH\RXH[SUHVVWKHRSLQLRQWKDWD
     LVDUHFRJQL]HGSKHQRPHQRQZLWKDGROHVFHQWVWKDWFDQ           SHUVRQ VJHQGHULGHQWLW\FDQQRWEHYROXQWDULO\FKDQJHG
     DIIHFWWHHQV                                                  DQGLVQRWXQGHUPLQHGRUDOWHUHGE\WKHH[LVWHQFHRI
     %<$77251(<%522.6                                            RWKHUVH[XDOO\UHODWHGFKDUDFWHULVWLFVWKDWGRQRWDOLJQ
     4,V\RXUFOLQLFVHHLQJDQLQFUHDVLQJQXPEHURI         ZLWKLW'R\RXVHHWKDW"
     ROGHUWHHQVRU\RXQJDGXOWVZKRDUHFRQVLGHULQJ                $,GR
     GHWUDQVLWLRQLQJ"                                              4$QGOHWPHLQIDFWKDYHWKH'HFODUDWLRQ
     $77251(<%25(//,2EMHFWLRQIRUP             WKHSUHOLPLDU\LQMXQFWLRQGHFODUDWLRQZKLFKLVWDERQH
     7+(:,71(66, PVRUU\5HSHDWWKHYHU\       $77251(<%522.6, PJRLQJWRPDUNWKDW
     ILUVWSDUWRIWKDW                                            DV([KLELWRUGLG,DOUHDG\PDUNLW"
     %<$77251(<%522.6                                            $77251(<:,/.,16211RWPDUNHG
     4,V\RXUFOLQLFVHHLQJDQLQFUHDVLQJQXPEHURI         $77251(<%522.6,GLGQRW6RZKDW
     ROGHUWHHQVRU\RXQJDGXOWVZKRDUHFRQVLGHULQJ                H[KLELWZDVWKDW"
     GHWUDQVLWLRQLQJ"                                              $77251(<:,/.,1621(LJKWHHQ  
     $77251(<%25(//,2EMHFWLRQIRUP             $77251(<%522.6:HZLOOPDUNWKH


                                                   3DJH                                                         3DJH
      7+(:,71(66,QFUHDVLQJRYHUWLPH           'HFODUDWLRQRI'HDQQD$GNLQVGDWHGDV([KLELW
      %<$77251(<%522.6                                             
      4<HV                                                   
      $RULQWKHSDVW",ZRXOGQ WVD\WKHUDWHKDV        :KHUHXSRQ$GNLQV([KLELW
      LQFUHDVHGLQP\FOLQLF                                         'HFODUDWLRQRI'HDQQD$GNLQV0'ZDV
      4:LWKLQWKHODVWZHOOOHW VVD\ZLWKLQ        PDUNHGIRULGHQWLILFDWLRQ
      RUZKDWHYHURIWKHUHKDVEHHQKRZPDQ\SDWLHQWV           
      KDYHUDLVHGZLWK\RXRUWR\RXUNQRZOHGJHDQ\RQHLQ\RXU        %<$77251(<%522.6
      FOLQLFWKHSRVVLELOLW\RIGHWUDQVLWLRQLQJ"                     4$QGLQWKLVGRFXPHQWDOVR,ZDQWWRFDOO\RXU
     $77251(<%25(//,2EMHFWLRQIRUP             DWWHQWLRQWRSDUDJUDSK$QGLQWKHGHFODUDWLRQILOHG
     7+(:,71(66,QWKDWWLPHIUDPH,ZRXOG        LQ0D\RIODVW\HDULQSDUDJUDSK\RXZURWHDSHUVRQ V
     KDYHWRORRNEDFNH[DFWO\2QO\WKUHH                        JHQGHULGHQWLW\LVIL[HG'R\RXVHHWKDWODQJXDJH"
     %<$77251(<%522.6                                            $,GR
     4$UH\RXDZDUHRIPXOWLSOHUHSRUWVWKDWWKH            4$QG\RXHOLPLQDWHGWKHZRUGWKHDVVHUWLRQ
     SURSRUWLRQRI\RXQJSHRSOHSUHVHQWLQJZLWKJHQGHU              WKDWDSHUVRQ VJHQGHULGHQWLW\LVIL[HGIURP\RXU
     G\VSKRULDRUJHQGHULQFRQJUXHQFHDPRQJWHHQVKDVVKLIWHG       H[SHUWGHFODUDWLRQVXEPLWWHGPRUHUHFHQWO\'R\RXVHH
     KHDYLO\WRZDUGVJLUOVRYHUWKHODVWGHFDGH"                    WKDW"
     $77251(<%25(//,2EMHFWLRQIRUP             $,GR
     7+(:,71(66<RXZLOOKDYHWRFODULI\          4:K\GLG\RXPDNHWKDWRPLVVLRQ"
     WKHTXHVWLRQEHFDXVHJLUOV                                $,WKLQNWKDWLW VWRRHDV\WRPLVLQWHUSUHW
     %<$77251(<%522.6                                            4([SODLQ
     4$UH\RXDZDUHWKDWWKHSURSRUWLRQRIWHHQV            $6RZKHQ, PWDONLQJDERXWVRPHRQH VJHQGHU
     SUHVHQWLQJDWFOLQLFVZLWKJHQGHUG\VSKRULDRUJHQGHU          LGHQWLW\LWLVZKDWLWLV$QGQRWKLQJWKDW,GRRU
     LQFRQJUXHQFHZKRDUHQDWDOIHPDOHKDVLQFUHDVHGJUHDWO\        WKH\GRRUWKHLUIDPLO\GRHVFDQFKDQJHWKDWJHQGHU


                                                                                        3DJHVWR
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                                                   3DJH                                                         3DJH
      LGHQWLW\7KHLUXQGHUVWDQGLQJRIWKDWJHQGHULGHQWLW\          $77251(<%25(//,2EMHFWLRQIRUP
      PD\FKDQJHRYHUWLPH$QGWKDWZDVP\ZKDW,ZDV           7+(:,71(66(YHU\RQH VJHQGHULGHQWLW\
      WU\LQJWRVD\ZDVQRWFKDQJHDEOH$QGZKHQ\RXXVHWKH         LVKRZWKH\H[SODLQLW7KH\PD\XQGHUVWDQGLW
      RWKHUZRUGLWVHHPVWKDWLWFRXOGEHPLVLQWHUSUHWHGWR          GLIIHUHQWO\RYHUWLPH-XVWEHFDXVH,VD\,GRQ WOLNH
      PH                                                             VWUDZEHUULHVZKHQ, PHLJKWDQG,GROLNHVWUDZEHUULHV
      46R\RXGRQ WPHDQWRVD\WKDWJHQGHULGHQWLW\          QRZGRHVQ WPHDQW,QHYHUOLNHGVWUDZEHUULHVWREHJLQ
      QHYHUFKDQJHVLQLQGLYLGXDOVGR\RX"                           ZLWK,WPHDQV,ILQDOO\KDGDJRRGVWUDZEHUU\
      $77251(<%25(//,2EMHFWLRQIRUP              $77251(<%522.6/HWPHKDYHWDE
      7+(:,71(667KDW VQRWZKDW,VDLG,         /HWPHPDUNDV([KLELW
     VDLGJHQGHULGHQWLW\LVZKDWLWLV$QG\RXU                  $77251(<:,/.,16211LQHWHHQ  
     XQGHUVWDQGLQJRILWPD\FKDQJHRYHUWLPH                      $77251(<%522.6/HWPHPDUNDV([KLELW
     %<$77251(<%522.6                                            DQDUWLFOHIURP+HUEHUW+HDOWK3XEOLVKLQJE\6DGUD
     4:HORRNHGLQWKH(QGRFULQH6RFLHW\*XLGHOLQHV        .DW]:LVHHQWLWOHG*HQGHU)OXLGLW\:KDWLW0HDQVDQG
     DWWKHODQJXDJHWKDWUHIHUVWRLQGLYLGXDOVZKR                 :K\6XSSRUW0DWWHUV
     H[SHULHQFHDFRQWLQXRXVDQGUDSLGLQYROXQWDU\                  
     DOWHUQDWLRQEHWZHHQPDOHDQGIHPDOH'R\RXUHPHPEHU           :KHUHXSRQ$GNLQV([KLELW
     WKDWODQJXDJH"                                                 +HUEHUW+HDOWK3XEOLVKLQJ$UWLFOHZDV
     $,GR                                                 PDUNHGIRULGHQWLILFDWLRQ
     4+RZGRHVWKDWUHODWHKRZLVWKDWFRQVLVWHQW       
     ZLWK\RXURSLQLRQWKDWJHQGHULGHQWLW\LVIL[HGDQG            %<$77251(<%522.6
     PHDQVZKDWLWLV"                                              4)LUVW, OODVNLI\RXKDYHDQ\SURIHVVLRQDO
     $77251(<%25(//,2EMHFWLRQIRUP             FRQWDFWZLWK'RFWRU6DGUD.DW]:LVH"
     7+(:,71(666RJHQGHULGHQWLW\LVWKDW        $,GRQ WVHHWKHQDPHVSHOOHGRXW,WGRHVQ W
     LWPRYHVVRPHZKDWDORQJWKHVSHFWUXP7KDWGRHVQ W            VRXQGIDPLOLDU


                                                   3DJH                                                         3DJH
      FKDQJH7KDWLVWKHLULGHQWLW\                                4,W VMXVWXQGHUWKHJUDSKLFKHUHDKHDGRIWKH
      %<$77251(<%522.6                                             WH[W<RX OOVHHWKHQDPH
      47KDWGRHVQ WFKDQJHEXW\RXKDYHDSURIHVVLRQDO       $2KLQUHG7KDW VZK\,GLGQ WVHHLW
      RSLQLRQWKDWLQGLYLGXDOVZKRH[SHULHQFHDJHQGHUIOXLG          4<HDKH[DFWO\5LJKW
      LGHQWLW\DWVRPHSHULRGLQWKHLUOLIHLQHYLWDEO\UHPDLQ         $*RWLW.DW]:LVH1R
      JHQGHUIOXLGIRUWKHUHVWRIWKHLUOLYHV"                       4,VHHZKHQ,ORRNKHUXSWKDW'U.DW]:LVHLV
      $77251(<%25(//,2EMHFWLRQIRUP              DVVRFLDWHGZLWK%RVWRQ&KLOGUHQ V+RVSLWDODQG+DUYDUG
      7+(:,71(668QGHUVWDQGLQJWKHLUJHQGHU         0HGLFDO6FKRRO7KDWGRHVQ WUHIUHVK\RXUUHFROOHFWLRQ
      LGHQWLW\PD\FKDQJHZKDWWKHLGHQWLW\LVLVXQGHU             DVWRDQ\SUHYLRXVSURIHVVLRQDOLQWHUDFWLRQVZLWKKHU"
     H[SORUDWLRQWKURXJKRXWWKHLUOLYHV)URPWKHWLPH             $$JDLQ, PWHUULEOHZLWKQDPHV
     WKH\ UH\RXQJWKH\ UHGLVFRYHULQJWKHLUJHQGHULGHQWLW\       4<RX UHDZDUHWKDW%RVWRQ&KLOGUHQ V+RVSLWDOKDV
     %<$77251(<%522.6                                            DKLJKUHSXWDWLRQLQWKHDUHDRIWUDQVJHQGHUWKHUDS\"
     4:HOO\RXFRQVLGHUSDUWRI\RXUSURIHVVLRQDO          $77251(<%25(//,2EMHFWLRQIRUP
     SUDFWLFHWREHOLHYHZKDWSHRSOHWHOO\RXDERXWWKHLU           7+(:,71(66:HOOWKH\KDYHEHHQ
     JHQGHULGHQWLW\GRQ W\RX"                                    LQYROYHGLQWUDQVJHQGHUWKHUDS\IRUDORQJWLPH
     $77251(<%25(//,2EMHFWLRQIRUP             %<$77251(<%522.6
     7+(:,71(667KHJHQGHULGHQWLW\LV            4$QGWKH\KDYHDKLJKUHSXWDWLRQ"
     VRPHWKLQJWKDWFDQRQO\EHH[SODLQHGE\DSHUVRQEHFDXVH       $77251(<%25(//,2EMHFWLRQIRUP
     LWLVWKHLUNQRZOHGJHRIWKHPVHOYHV                           7+(:,71(66,QJHQHUDOSHRSOHIHHOOLNH
     %<$77251(<%522.6                                            WKH\GRDJRRGMRE
     4$QGLIDSHUVRQDWRQHSRLQWLQWLPHIHHOVWKDW       %<$77251(<%522.6
     WKHLUJHQGHULGHQWLW\LVIOXLGDQGDQRWKHUSRLQWLQWLPH       4/HWPHDVN\RXWRWXUQWRWKHVHFRQGSDJH$QG
     IHHOVWKDWLWLVQRWRQZKDWEDVLVGR\RXVD\WKDW            GRZQDWWKHERWWRPLVDKHDGLQJWKDWVD\VZKDW VWKH
     WKHLUWUXHJHQGHULGHQWLW\KDVQ WFKDQJHG"                     GLIIHUHQFHEHWZHHQJHQGHUIOXLGDQGWUDQVJHQGHU'R\RX


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                                                   3DJH                                                        3DJH
      VHHWKDW"                                                       LQFRQJUXHQFHZKLFK\RXMXVWVDLGPHDQVWKDWWKHLUJHQGHU
      $,GR                                                  LGHQWLW\GRHVQ WPDWFKWKHLUJHQGHUDVVLJQHGDWELUWK
      4$QGWKHILUVWVHQWHQFHWKHUHVD\VZKLOHVRPH           $QGWKHQWKH(QGRFULQH6RFLHW\JRHVRQWRVD\WKDWWKDW
      SHRSOHGHYHORSDJHQGHULGHQWLW\HDUO\LQFKLOGKRRG            LGHQWLW\WKDWVHQVHRILQFRQJUXHQFHGRHVQRWSHUVLVW
      RWKHUVPD\LGHQWLI\ZLWKRQHJHQGHUDWRQHWLPHDQGWKHQ        LQWRDGROHVFHQFH
      DQRWKHUJHQGHUODWHURQ                                        'R\RXVHHWKDW"
      'R\RXVHHWKDW"                                       $77251(<%25(//,2EMHFWLRQIRUP
      $,GR                                                  7+(:,71(66,GR
      4$QGGR\RXDJUHHRUGLVDJUHHZLWKWKDWVWDWHPHQW       %<$77251(<%522.6
     E\'U6DEDU.DW]:LVH"                                        4$QGKRZGR\RXUHFRQFLOHWKDWZLWK\RXU
     $77251(<%25(//,2EMHFWLRQIRUP             SUHYLRXVO\H[SUHVVHGRSLQLRQWKDWJHQGHULGHQWLW\LV
     7+(:,71(666RVKHLVQRWVD\LQJWKDW         TXRWHIL[HG"
     WKHLUJHQGHULGHQWLW\FKDQJHV<RXNQRZDWGLIIHUHQW         $77251(<%25(//,2EMHFWLRQIRUP
     WLPHVLQ\RXUOLIH\RXUXQGHUVWDQGLQJPD\EHWKDWWKLV         7+(:,71(666RWKLVLVDUDQGRPSLHFH
     LVWKHJURXSWKDW,EHORQJZLWK$QGDV\RXOHDUQPRUH        RXWRIWKLVZKROHSXEOLFDWLRQ7KH\DUHWDONLQJDV
     DERXW\RXUH[SHULHQFHDQG\RXUJHQGHUWKDWFDQFKDQJH        IDUDV,FDQWHOOULJKWKHUHDQGDJDLQ,ZRXOGEH
     %<$77251(<%522.6                                            VSHFXODWLQJWKDWLWLVDERXWDSDUWLFXODUSLHFHRI
     4'U$GNLQVKRZGR\RXDVDFOLQLFLDQLI\RX      PHGLFDOHYLGHQFH$QGPHGLFDOHYLGHQFHLQWKLVDUHDKDV
     KDYHDSDWLHQWZKRDWRQHWLPHLGHQWLILHVRQHZD\DQG          YDULHG,W VEDVHGRQWKHGLIIHUHQWJURXSVDQGWKHZD\
     DQRWKHUWLPHLGHQWLILHVDQRWKHUZD\KRZGR\RXDVD           WKH\ZHUHUHFUXLWHGHWFHWHUD
     FOLQLFLDQGHWHUPLQHZKLFKRIWKRVHLVWKDWSDWLHQW V           %<$77251(<%522.6
     WUXHJHQGHULGHQWLW\JLYHQWKDW\RX YHVDLGWKDWJHQGHU       4:HOO\RX UHQHYHUPLQGRQDSDUWLFXODU
     LGHQWLW\LVVRPHWKLQJWKDWRQO\WKHSDWLHQWFDQH[SUHVV        SLHFH<RX UHZHOODZDUHDUH\RXQRWWKDWWKHUHDUH
     WR\RX"                                                        PXOWLSOHVWXGLHVWKDWLQGLFDWHWKHVXEVWDQWLDOPDMRULW\


                                                   3DJH                                                        3DJH
      $77251(<%25(//,2EMHFWLRQIRUP              RIFKLOGUHQZKRDUHGLDJQRVHGZLWKJHQGHUG\VSKRULD
      7+(:,71(666R\RXNQRZZH UHQRWVRUW        GHVLVWIURPH[SHULHQFLQJJHQGHUG\VSKRULDE\VRPHVWDJH
      RIGRLQJDQ\WKLQJWRLQIOXHQFHWKDWLQRXUSDWLHQWV             LQDGROHVFHQFH"
      XQWLOWKH\FRPHWRXVODWHUDQGKDYHKDGORWVRIWLPHWR        $77251(<%25(//,2EMHFWLRQIRUP
      UHIOHFWRQWKDW7KH\E\WKHJXLGHOLQHVQHHGWRKDYHDW        %<$77251(<%522.6
      OHDVWVL[PRQWKVRILGHQWLILFDWLRQZLWKDQG                     4<RXGLVFXVVWKDWLQ\RXUUHSRUWGR\RXQRW"
      XQGHUVWDQGLQJWKDWJHQGHULGHQWLW\LVDSDUWLFXODUZD\         $, PVRUU\&DQ\RXUHSHDWWKHTXHVWLRQ"
      $QGW\SLFDOO\JHQGHULGHQWLW\LVVWDUWLQJWRFRQVROLGDWH        4<RXDUHDZDUHWKDWWKHUHDUHPXOWLSOHVWXGLHV
      LQDGROHVFHQFHDQGKDYHDJRRGXQGHUVWDQGLQJRI\RXU            WKDWKDYHIRXQGWKDWFKLOGUHQGLDJQRVHGZLWKJHQGHU
     LGHQWLW\DWWKDWWLPH                                         G\VSKRULDWKHODUJHPDMRULW\RIWKRVHLQGLYLGXDOV
     %<$77251(<%522.6                                            GHVLVWIURPH[SHULHQFLQJJHQGHUG\VSKRULDE\VRPHWLPH
     4:KDWGR\RXXQGHUVWDQGWREHPHDQWE\WKHWHUP        LQDGROHVFHQFH"
     JHQGHULQFRQJUXHQFH"                                           $77251(<%25(//,2EMHFWLRQIRUP
     $,WLVVLPLODUWRWKHJHQGHULGHQWLW\QRW              7+(:,71(66$QG,GRQ WW\SLFDOO\VHH
     PDWFKLQJ\RXUVH[DVVLJQHGDWELUWK                           WKRVHSDWLHQWVLQP\FOLQLF
     4/HWPHDVN\RXWRILQG([KLELW(QGRFULQH      %<$77251(<%522.6
     6RFLHW\JXLGHOLQHV$QGWXUQLI\RXZRXOGWRSDJH       4%XW\RX UHDZDUHRIWKHVFLHQFHWKDWLV
     ILUVWFROXPQXQGHUWKHKHDGLQJHYLGHQFHLWUHDGVLQ           GHVFULEHGWKRXJK
     PRVWFKLOGUHQGLDJQRVHGZLWK*'JHQGHULQFRQJUXHQFHLW         5LJKW"
     GLGQRWSHUVLVWLQWRDGROHVFHQFH                              $77251(<%25(//,2EMHFWLRQIRUP
     'R\RXVHHWKDW"                                      7+(:,71(667KHUHDUHSDWLHQWV
     $,GLG                                                WKHUHDUHVWXGLHVWKDWZHUHGRQHLQWKHSDVWWKDWZHUH
     46RWKHSRLQWKHUHLVWKDWWKHVHFKLOGUHQZHUH        QRWZHOOGRQHDQGKDGDELDVZLWKWKHUHFUXLWPHQWWKDW
     LQIDFWGLDJQRVHGZLWKJHQGHUG\VSKRULDRUJHQGHU             RYHUODSSHGZLWKRWKHULVVXHV, PDZDUHRIWKRVH


                                                                                        3DJHVWR
                Case: 22-5807
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                                                   3DJH                                                        3DJH
      VWXGLHV$QGFKLOGUHQDUHQRWEHLQJWUHDWHGLQP\              PHGLFDOOLWHUDWXUHGRQHZHOOWKRXJK,KDYHQRWUHDG
      FOLQLFIRUJHQGHUG\VSKRULD$GROHVFHQWVDUHZKRZH            HYHU\VWXG\, PQRWJRLQJWRFRPPHQWRQHYHU\WKLQJ
      WUHDWLQRXUFOLQLF                                            WKDWWKH\KDYHGRQH$ORWRIWKHWKLQJV, PDZDUHRI
      %<$77251(<%522.6                                             DUHGRQHZHOO
      4:HOOWKHVWXG\WKDWWKH(QGRFULQH6RFLHW\FKRVH       %<$77251(<%522.6
      WRFLWHIRUWKLVSURSRVLWLRQMXVWDOLWWOHORZHULQWKDW        4,GLGQ WDVN\RXWRFRPPHQWRQDVLQJOHRQHRI
      SDUDJUDSKLWVD\VDVIROORZV$QGWKLVLV                 WKHLUDUWLFOHV,DVNHG\RXLVQ WWKHLUUHSXWDWLRQ
      (QGRFULQH6RFLHW\*XLGHOLQHV7KH\VD\DODUJH                 DPRQJWKHKLJKHVWLQ\RXUILHOG"
      PDMRULW\DERXWSHUFHQWRISUHSXEHUWDOFKLOGUHQZLWK         $77251(<%25(//,2EMHFWLRQIRUP
     DFKLOGKRRGGLDJQRVLVGLGQRWUHPDLQJHQGHU                    7+(:,71(66,IIRUJHQGHUDIILUPLQJ
     G\VSKRULFJHQGHULQFRQJUXHQWLQWRDGROHVFHQFH                 FDUH\HV
     'R\RXVHHWKDWODQJXDJH"                             %<$77251(<%522.6
     $,VHHWKDWODQJXDJH                                  47KDQN\RX+RZGRHVWKHLUILQGLQJLQODUJH
     4$QGWKLV(QGRFULQH6RFLHW\FRQVLGHUHGWKDW            PDMRULW\RIFKLOGUHQGLDJQRVHGZLWKJHQGHUG\VSKRULD
     VFLHQFHZRUWKFLWLQJUDWKHUWKDQGLVPLVVLQJLWDVSRRUO\       GHVLVWIURPH[SHULHQFLQJJHQGHUG\VSKRULDE\VRPHVWDJH
     GRQHDV\RXMXVWDWWHPSWHG                                   LQDGROHVFHQFHVTXDUHZLWK\RXURSLQLRQWKDWJHQGHU
     &RUUHFW"                                              LGHQWLW\LVTXRWHIL[HG"
     $77251(<%25(//,2EMHFWLRQIRUP             $77251(<%25(//,2EMHFWLRQIRUP
     7+(:,71(66,Q\RXUJRDOVLQFUHDWLQJ         7+(:,71(66, PVRUU\:KHUHDUH\RX
     JXLGHOLQHV\RXZDQWWREHSUHVHQWLQJWKHLQIRUPDWLRQ           UHDGLQJIURPDQGZKDWZDVWKDWDJDLQ"
     WKDW VDYDLODEOH7KLVVWXG\LVDYDLODEOH                    %<$77251(<%522.6
     %<$77251(<%522.6                                            4+RZGRHVWKHLUILQGLQJWKDWODUJHPDMRULW\RI
     4$QGWKHVWXG\LQTXHVWLRQLVRQHE\VRPHRIWKH       FKLOGUHQGLDJQRVHGZLWKJHQGHUG\VSKRULDEHIRUHSXEHUW\
     PRVWKLJKO\UHVSHFWHGUHVHDUFKHUVLQWKHILHOG                GHVLVWIURPH[SHULHQFLQJJHQGHUG\VSKRULDE\VRPHVWDJH


                                                   3DJH                                                        3DJH
      $P,FRUUHFW"                                          LQDGROHVFHQFHILWZLWK\RXUH[SUHVVHGRSLQLRQWKDW
      $77251(<%25(//,2EMHFWLRQ                    JHQGHULGHQWLW\LVIL[HG"
      %<$77251(<%522.6                                             $77251(<%25(//,2EMHFWLRQIRUP
      4,VHH\RXORRNLQJDWWKHIRRWQRWH"                     7+(:,71(666RWKH\DUHWDONLQJDERXW
      $5LJKW                                                 SUHSXEHUWDOFKLOGUHQ3UHSXEHUWDOFKLOGUHQKDYHQ WJRQH
      47KRVHDUHDPRQJWKHPRVWKLJKO\UHVSHFWHG              WKURXJKWKHLUUHDOXQGHUGHYHORSPHQWRI
      UHVHDUFKHUVLQWKHILHOG                                       XQGHUVWDQGLQJRIWKHLUJHQGHULGHQWLW\RUWKHLU
      &RUUHFW"                                               FRQVROLGDWLRQRIJHQGHULGHQWLW\DWWKDWWLPH,W V
      $7KH\DUHVRPHRIWKHWKH\ UHVRPHRIWKH           NLQGRIDIDOVHHQGSRLQWWRSXWLWWKDWZD\EHFDXVH
     RULJLQDOUHVHDUFKHUV                                          ZH UHQRWUHDOO\DJDLQWUHDWLQJWKHVH\RXQJFKLOGUHQDQG
     4$QGWRWKLVYHU\GD\WKH\DUHDPRQJWKHPRVW          ZH UHQRWFKDQJLQJDQ\WKLQJDERXWWKHP7KHVHSDWLHQWV
     KLJKO\UHVSHFWHGLQWKHILHOG                                 ZRXOGQ WHYHQFRPHWRP\FOLQLF
     $P,ULJKW"                                           %<$77251(<%522.6
     $77251(<%25(//,2EMHFWLRQIRUP             4<RXGRQ WVHHSUHSXEHUWDOFKLOGUHQDW\RXU
     7+(:,71(66,QJHQHUDOWKH\DUHGRLQJ        FOLQLF"
     JRRGUHVHDUFKDQGSXEOLFDWLRQV,FDQ WVD\HYHU\WKLQJ        $77251(<%25(//,2EMHFWLRQIRUP
     WKH\GRLVEHDXWLIXO                                          7+(:,71(669HU\UDUHO\
     %<$77251(<%522.6                                            %<$77251(<%522.6
     4'U$GNLQVGR\RXUHIXVHWRDFNQRZOHGJHWKDW         4$QG"
     'U6WHHPVPD'H9ULHVDQG&RKHQ.HWWHQLVDUHDPRQJWKH         $*HQGHUFOLQLF"
     PRVWKLJKO\UHVSHFWHGUHVHDUFKHUVLQ\RXUILHOG"               43DWLHQWV\RXWUHDWLQDQ\FDSDFLW\"
     $77251(<%25(//,2EMHFWLRQIRUP             $77251(<%25(//,2EMHFWLRQWRIRUP
     7+(:,71(662IWKHLUZRUNWKDW,KDYH         7+(:,71(66,VHHDOONLQGVRISDWLHQWV
     UHDGDQGVHHQLQJHQHUDOLWLVEDVHGRQVWDQGDUGVRI           IURPELUWKXQWLO, PFUHGHQWLDOHGWR


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                Case: 22-5807
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                                                   3DJH                                                         3DJH
      %<$77251(<%522.6                                             DJR\RXVZRUHXQGHURDWKWKDWLWZDV\RXUSURIHVVLRQDO
      4'R\RXLQ\RXUSURIHVVLRQDOZRUNGHDOZLWK             RSLQLRQWKDWJHQGHULGHQWLW\ZDVIL[HG, PHQWLWOHGWR
      SUHSXEHUWDOFKLOGUHQZKRDUHH[SHULHQFLQJJHQGHU                DVN\RXDERXWWKDW7KHIDFWWKDW\RXZDQWHGWRFKDQJH
      G\VSKRULD"                                                      DODWHUGRFXPHQWLVLQWHUHVWLQJ,WGRHVQ WGHSULYHPH
      $77251(<%25(//,2EMHFWLRQIRUP              RIWKHULJKWWRDVN\RXTXHVWLRQVDERXWWKDWGRFXPHQW
      7+(:,71(666RPH                              0\TXHVWLRQIRU\RXQRZLVGR\RXZDQWWRUHYLVH
      %<$77251(<%522.6                                             WKDWVWDWHPHQWWRH[SUHVVWKHRSLQLRQWKDWJHQGHU
      42ND\                                                  LGHQWLW\LVIL[HGDIWHUSXEHUW\"
      $QGGR\RXZDQWWRUHYLVHWKHVWDWHPHQWLQ\RXU        $77251(<%25(//,2EMHFWLRQIRUP,
     UHSRUWWRVD\LQVWHDGWKDWDIWHUSXEHUW\JHQGHULGHQWLW\       DSRORJL]H&RXQVHO&DQZH, PVRUU\MXVWORVW
     LVIL[HG"                                                      WUDFN+DYH\RXLQWURGXFHGWKH3,GHFODUDWLRQ"
     $77251(<%25(//,2EMHFWLRQIRUP             $77251(<%522.6,KDYH
     7+(:,71(66:LOO\RXSRLQWWKDWRXWWR        $77251(<%25(//,:KDWH[KLELWQXPEHULV
     PH"                                                            LW"
     %<$77251(<%522.6                                            $77251(<%522.6,WLV3DUDJUDSK
     4, PVRUU\SRLQWZKDWRXWWR\RX"                     
     $7KDWSDUWLFXODUVWDWHPHQWLQP\UHSRUW               $77251(<%25(//,3DUDJUDSK7KDQN
     4,PLVVSRNH<RXDVVHUWHGLQ\RXUGHFODUDWLRQ         \RX2EMHFWLRQWRIRUP
     WKDWJHQGHULGHQWLW\ZDVIL[HGDQGP\TXHVWLRQLVRQ           7+(:,71(666R,GRQ WWKLQNWKDWP\
     FRQVLGHUDWLRQZRXOG\RXSUHIHUWRVD\WKDWJHQGHU              GHVFULSWLRQRISHRSOH VXQGHUVWDQGLQJRIJHQGHULGHQWLW\
     LGHQWLW\LVIL[HGDIWHUSXEHUW\KDVRFFXUUHG"                  DQGWKHZD\WKDWZHXQGHUVWDQGLWVGHYHORSPHQWKDV
     $77251(<%25(//,2EMHFWLRQIRUP             FKDQJHG,FDQ WGRDQ\WKLQJWRFKDQJHWKHLULGHQWLW\
     7+(:,71(666R,GLGQ WSXWWKDWLQD         <RXFDQ WGRLW7KHLUSDUHQWVFDQ WGRLW$QGLQ
     ZD\WKDWDJDLQZHHOLPLQDWHGWKHZRUGIL[HGEHFDXVH       WKDWZD\,VWLOODJUHHZLWKWKHIDFWWKDWLQWKHZD\


                                                   3DJH                                                         3DJH
      RIWKHHDV\DELOLW\WRPLVFRQVWUXHWKDW3HRSOHXQGHUJR        WKDWWKDWZDVPHDQWWREHVWDWHGWKDWLWFDQ WEH
      DSHULRGRIWLPHLQOLIHZKHUHWKH\XQGHUVWDQGWKHLU            FKDQJHG)L[HGLVDVLPLODUZRUG,XVHWKDWZRUG
      JHQGHUEHWWHUWKDQRWKHUWLPHV$QGSXEHUW\LVSDUWRI         %<$77251(<%522.6
      SDUWRIWKHPL[                                            46RDQG,GLGQ WDVN\RXDERXWRXUDELOLW\WR
      %<$77251(<%522.6                                             FKDQJHVRPHERG\HOVH/HWPHDVN\RXDGLIIHUHQW
      46RDQGWKLVLVWKHRSSRUWXQLW\\RX UH          TXHVWLRQ$WZKLFKGHYHORSPHQWDOVWDJHLQ\RXU
      KHUHVRZH UHQRWJRLQJWRPLVXQGHUVWDQG\RXUZRUGV           SURIHVVLRQDORSLQLRQGRHVJHQGHULGHQWLW\EHFRPHIL[HG"
      <RXVLJQHGDQGVZRUHWRDQDIILGDYLWODVW\HDULQZKLFK         $77251(<%25(//,2EMHFWLRQIRUP
      \RXVDLGJHQGHULGHQWLW\LVIL[HG, PJLYLQJ\RXDQ           7+(:,71(66$JDLQ,EHOLHYH,VDLG
     RSSRUWXQLW\LI\RXZDQWWRFODULI\RUTXDOLI\WKDW$QG       DOUHDG\WKDWJHQGHULGHQWLW\LVZKDWLWLVIURPWKHWLPH
     P\TXHVWLRQWR\RXLVLVLWQRZ\RXUWHVWLPRQ\WKDW           \RXDUH\RXQJ<RXUXQGHUVWDQGLQJRIWKDWGHYHORSVRYHU
     JHQGHULGHQWLW\LVIL[HGRQFHSXEHUW\KDVRFFXUUHG"            WLPHEDVHGRQ\RXUSDWKWKURXJKOLIH7KDWLQWKDW
     $77251(<%25(//,2EMHFWLRQIRUP             ZD\\RXFDQ WFKDQJHLW
     7+(:,71(66$JDLQ,WKLQNZHKDYH            %<$77251(<%522.6
     DQRWKHUGRFXPHQWKHUHWKDWGRHVQ WXVHWKHZRUGIL[HG         4'RHVWKDWPHDQWKDWLIDFFRUGLQJWR6WHHP]DDQG
     :RXOG\RXOLNHPHWRJREDFNDQGUHDGWKDWSDUW",FDQ        &RKHQ.HWWHQLVSHUFHQWRISUHSXEHUWDOFKLOGUHQZKR
     UHDGWKURXJKLWDQGILQGLWIRU\RX                           DUHGLDJQRVHGZLWKJHQGHUG\VSKRULDXOWLPDWHO\GHVLVW
     %<$77251(<%522.6                                            IURPH[SHULHQFLQJG\VSKRULDWKDWWKHLURULJLQDO
     41R,ZRXOGOLNHWRZRUNZLWK\RXUVZRUQ             GLDJQRVHVZHUHZURQJ"
     GRFXPHQWIURP0D\RIODVW\HDULQZKLFK\RXVDLGLWZDV        $77251(<%25(//,2EMHFWLRQWRIRUP
     IL[HG                                                         7+(:,71(666RWKHUHDUHDORWRI
     $:KHQZHXSGDWHGRFXPHQWVZHWU\WRFODULI\            LQGLYLGXDOVZKRKDYHORRNHGDWWKDWLQIRUPDWLRQDQGIHOW
     DQ\WKLQJWKDWPLJKWEHFRQIXVLQJ                              WKDWWKHRULJLQDOJURXSRILQGLYLGXDOVGLGQ WKDYHD
     4'U$GNLQVLQ0D\RIZKLFKLVQRWVRORQJ      WUDQVJHQGHULGHQWLW\,QD\RXQJJURXSWKDW VKDUGWR


                                                                                        3DJHVWR
                Case: 22-5807
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                                                   3DJH                                                        3DJH
      DVVHVVDWWLPHV$QGVR,ZRXOGVD\LQWKDWZD\\RX          FKLOGKRRGJHQGHUG\VSKRULDWKHQH[WVHQWHQFHUHDGV
      NQRZZHLW VMXVWQRWWKHVDPH$QG\RXFDQUHSHDW       ULJKWDIWHUZKHUHZHVWRSSHGLIFKLOGUHQKDGFRPSOHWHG
      WKHTXHVWLRQIRUPHSOHDVH                                   VRFLDOO\WUDQVLWLRQWKHPD\KDYHJUHDWGLIILFXOW\LQ
      $77251(<%25(//,:HKDYHEHHQJRLQJDQ        UHWXUQLQJWRWKHRULJLQDOJHQGHUUROHXSRQHQWHULQJ
      KRXU, GOLNHWRWDNHDEUHDN                               SXEHUW\$QGLWFRQWLQXHVVRFLDOWUDQVLWLRQLV
      $77251(<%522.6/HWPHUHSHDWWKH             DVVRFLDWHGZLWKWKHSHUVLVWHQFHRI*'JHQGHU
      TXHVWLRQVLQFH,ZDVMXVWLQYLWHGWRGRVR                    LQFRQJUXHQFHDVDFKLOGSURJUHVVHVLQWRDGROHVFHQFH
      %<$77251(<%522.6                                            'R\RXVHHWKDW"
      4,EHOLHYH\RXWHVWLILHGWKDWLWLV\RXUYLHZ          $8KKXK \HV 
     WKDWRQH VJHQGHULGHQWLW\QHYHUFKDQJHVIURPLQIDQF\WR      4$WWKHYHU\HQGRIWKHSDUDJUDSKLWUHDGVVRFLDO
     DGXOWKRRGDOWKRXJKRQH VXQGHUVWDQGLQJRILWPD\FKDQJH       WUDQVLWLRQLQDGGLWLRQWR*'JHQGHULQFRQJUXHQFHKDV
     RYHUWLPH0\TXHVWLRQIRU\RXQRZLVGRHVWKDWPHDQ         EHHQIRXQGWRFRQWULEXWHWRWKHOLNHOLKRRGRI
     WKDWLQHYHU\FDVHLQZKLFKDFKLOGLVGLDJQRVHGDV           SHUVLVWHQFH
     JHQGHUG\VSKRULFDQGWKH\VXEVHTXHQWO\GHVLVWIURP            'R\RXVHHWKDW"
     JHQGHUG\VSKRULDWKDWWKHRULJLQDOGLDJQRVLVZDVZURQJ"       $8KKXK \HV 
     $77251(<%25(//,2EMHFWLRQIRUP            41RZZKDWWKH(QGRFULQH6RFLHW\&RPPLWWHH
     7+(:,71(666R\RXNQRZDWWKHWLPH         FRQVLGHULQJDOOWKHDYDLODEOHUHVHDUFKVD\VLVWKDW
     WKDWWKHLUXQGHUVWDQGLQJRIWKHLULGHQWLW\ZDVGLIIHUHQW      VRFLDOWUDQVLWLRQKDVEHHQIRXQGWRFRQWULEXWHWRWKH
     IURPWKHLUVH[DVVLJQHGDWELUWKZKHQWKH\ZHUHDFKLOG      OLNHOLKRRGRISHUVLVWHQFH,VWKDWKRZ\RXUHDGWKHLU
     LIWKDWZDVWKHFDVHDQGLWLVQRWFOHDULQWKDWVWXG\       ODQJXDJHKHUH"
     WKDWWKDWZDVQHFHVVDULO\WKHFDVHWKDWWKHLQGLYLGXDOV      $77251(<%25(//,2EMHFWLRQIRUP
     IHOWG\VSKRULDDERXWWKDWWKDWLVZKDWKDSSHQHGWR           7+(:,71(667KDW VKRZ,UHDGLW
     WKHP7KHLUXQGHUVWDQGLQJRIWKHLULGHQWLW\LILW           %<$77251(<%522.6
     FKDQJHGRYHUWLPHLWPD\UHOLHYHVRPHRIWKDWJHQGHU         4$QGVRFLDOWUDQVLWLRQKDVWRGRZLWKKRZWKH


                                                   3DJH                                                        3DJH
      G\VSKRULD,JXHVVWKDW VWKHEHVWZD\,FDQVWDWHLW        SHRSOHDURXQGWKHFKLOGWUHDWKLPRUKHUZKDWSURQRXQV
      $77251(<%522.6/HW VWDNHWKDWEUHDN        WKH\XVHZKDWQDPHVWKH\XVHZKDWFORWKLQJWKH\
      7+(:,71(667KDQN\RX                        SURYLGHFRUUHFWLVWKDWFRQVLVWHQWZLWK\RXU
      9,'(2*5$3+(5*RLQJRIIWKHUHFRUG7KH       XQGHUVWDQGLQJRIVRFLDOWUDQVLWLRQ"
      FXUUHQWWLPHUHDGVSP(DVWHUQ6WDQGDUG7LPH            $77251(<%25(//,2EMHFWLRQIRUP
      2))9,'(2                                                      %<$77251(<%522.6
                                       4,WKDVWRGRZLWKKRZVRFLHW\KRZWKHSHRSOH
       :+(5(8321$3$86(,17+(5(&25':$6+(/'                    DURXQG\RXWUHDW\RX
                                       &RUUHFW"
     219,'(2                                                      $77251(<%25(//,2EMHFWLRQIRUP
     9,'(2*5$3+(5                                  7+(:,71(66<HV
     :H UHEDFNRQWKHUHFRUG7KHFXUUHQW         %<$77251(<%522.6
     WLPHLVSP(DVWHUQ6WDQGDUG7LPH                      4$QGWKHUHIRUHZKDWWKLVLVVD\LQJLVKRZ
     $77251(<%522.6, PMXVWVRUU\          SDUHQWVDQGWKRVHDURXQGWKHFKLOGWUHDWWKDWFKLOGFDQ
     , PMXVWPRYLQJWKDWVRPDNHVXUHLW VVWLOO              DIIHFWZKHWKHUWKDWFKLOGHQGVXSLGHQWLI\LQJDV
     UHFRUGLQJDQG,GLGQ WPXFNLWXS,MXVWZDQWHGWRQRW      WUDQVJHQGHURULGHQWLI\LQJZLWKDJHQGHULGHQWLW\
     KLWLWZLWKSDSHUV                                           FRQJUXHQWZLWKKLVRUKHUELRORJ\
     $77251(<:,/.,1621<HVLW VVWLOO           &RUUHFW"
     UHFRUGLQJ                                                    $77251(<%25(//,2EMHFWLRQIRUP
     %<$77251(<%522.6                                           7+(:,71(662QHPRUHWLPH
     4/HW V'U$GNLQVLI,FDQDVN\RXWRILQG       %<$77251(<%522.6
     ([KLELWDJDLQZKLFKLVWKHJXLGHOLQHV:HDUH        4:KDWWKLVLVVD\LQJLVWKDWKRZSDUHQWVZKHQ
     DJDLQRQSDJHZKHUHZHMXVWZHUH$QGWKHUHDIWHU       LWVD\VWKDWVRFLDOWUDQVLWLRQKDVEHHQIRXQGWR
     WKHGLVFXVVLRQWKDWZHORRNHGDWDERXWGHVLVWDQFHRI          FRQWULEXWHWRWKHOLNHOLKRRGRISHUVLVWHQFHZKDWWKDW


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                Case: 22-5807
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                                                    3DJH                                                        3DJH
      WHOOVXVLVKRZSDUHQWVDQGRWKHUVDURXQGWKHFKLOG             WKHLUJHQGHULGHQWLW\FDQGHYHORSRYHUWLPH
      WUHDWWKDWFKLOGFDQDIIHFWZKHWKHUWKHFKLOGHQGVXS           %<$77251(<%522.6
      LGHQWLI\LQJDVWUDQVJHQGHURUFLVJHQGHU"                        4'R\RXDJUHHRUGLVDJUHHZLWKWKLVVWDWHPHQWLQ
      $77251(<%25(//,2EMHFWLRQIRUP              WKH(QGRFULQH6RFLHW\*XLGHOLQHVWKDWVRFLDOWUDQVLWLRQ
      7+(:,71(667KDWLVWKHZD\WKDWUHDGV        KDVEHHQIRXQGWRFRQWULEXWHWRWKHOLNHOLKRRGRI
      ,ZRXOGVD\WKDW\RXNQRZ,GRQ WUHFRPPHQG                   SHUVLVWHQFH"
      QHFHVVDULO\,UHFRPPHQGZHIROORZWKHFKLOGDQG             $77251(<%25(//,2EMHFWLRQIRUP
      ZDWFKWKHLUJHQGHUGHYHORSPHQWV                                7+(:,71(66<RXNQRZWKH\,
      %<$77251(<%522.6                                             DQVZHUHGWKDWTXHVWLRQ
     47KLV&RPPLWWHHVD\VWKDWE\DVVLVWLQJDFKLOGWR      %<$77251(<%522.6
     VRFLDOO\WUDQVLWLRQWKHDYDLODEOHVFLHQFHVXJJHVWVWKDW        4, PVRUU\,SHUKDSVGLGQ WFRUUHFWO\
     DGXOWVDUHFRQWULEXWLQJWRWKHOLNHOLKRRGRISHUVLVWHQFH       XQGHUVWDQG6RLI\RXZRXOGDQVZHULWDJDLQWKDWZRXOG
     UDWKHUWKDQGHVLVWDQFH7KDW VZKDWLWVD\V                  EHKHOSIXO
     5LJKW"                                                $6RNLGVZKRQRZ, YHIRUJRWWHQWKHTXHVWLRQ
     $77251(<%25(//,2EMHFWLRQIRUP             47KLVRQHLVDVLPSOHRQH'R\RXDJUHHRU
     7+(:,71(66, PVRUU\, PJRLQJWR          GLVDJUHHZLWKWKHVWDWHPHQWIURPWKLVFRPPLWWHHWKH
     PDNH\RXVD\LWRQHPRUHWLPHSOHDVH,DSRORJL]H           (QGRFULQH6RFLHW\WKDWVRFLDOWUDQVLWLRQKDVEHHQIRXQG
     , PMXVWJHWWLQJWLUHG                                        WRFRQWULEXWHWRWKHOLNHOLKRRGRISHUVLVWHQFH"
     %<$77251(<%522.6                                            $77251(<%25(//,2EMHFWLRQIRUP
     4,NQRZWKHIHHOLQJ7KLVVD\VWKDWE\DVVLVWLQJ      7+(:,71(66<RXNQRZWKLVLW V
     DFKLOGWRVRFLDOO\WUDQVLWLRQWKHDYDLODEOHVFLHQFH           KDUGIRUPHWRDJUHHZLWKWKDW$VDSHGLDWULFLDQ,
     VXJJHVWVWKDWDGXOWVDUHTXRWHFRQWULEXWLQJWRWKH           NQRZWKDWSHRSOHSUHSXEHUWDOFKLOGUHQ\RXQJ
     OLNHOLKRRGRISHUVLVWHQFHUDWKHUWKDQGHVLVWDQFH              FKLOGUHQH[SORUHWKHLUJHQGHULGHQWLW\LQDORWRI
     $77251(<%25(//,2EMHFWLRQIRUP             GLIIHUHQWZD\VRYHUWLPHDQGVR,GRQ WNQRZWKDW,FDQ


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      7+(:,71(66*RVK6R, PQRWVXUHZKDW        DJUHHQHFHVVDULO\WKDWWKHZD\WKDWLW VZULWWHQ
      \RXVD\VRXQGVULJKWWRPH7KDWLVZKDWLWVD\VRQWKH        WKDW,QHFHVVDULO\DJUHHZLWKWKHVSHFLILFWHUPV
      SDSHU                                                          %<$77251(<%522.6
      %<$77251(<%522.6                                             4,GRQ WPHDQWRVXJJHVWWR\RXE\ZRUGRUWRQH
      4$QG,ZLOOJLYH\RXDFKDQFHWRWHOOXVZKHWKHU        WKDWWKLVGRFXPHQWZDVKDQGHGGRZQRQ0RXQW6LQDL,
      \RXDJUHHRUGLVDJUHHZLWKLWEHFDXVHP\XQGHUVWDQGLQJ         XQGHUVWDQGWKDWWKHUH VURRPIRUVFLHQWLVWVWRGLVDJUHH
      LVWKDW\RXLQFRQWUDVWEHOLHYHWKDWH[WHUQDO                 ,DPMXVWWU\LQJWRJHWFOHDURQ\RXURSLQLRQ, P
      LQIOXHQFHVFDQ WDIIHFWJHQGHULGHQWLW\                        SUHWW\VXUHWKLVGRFXPHQWZDVQRWKDQGHGGRZQRQ0RXQW
      &RUUHFW"                                               6LQDL
     $77251(<%25(//,2EMHFWLRQWRIRUP           /HWPHILQGDFRS\RI\RXUUHEXWWDOUHSRUWZKLFK
     %<$77251(<%522.6                                            ,EHOLHYHZDVPDUNHGDV([KLELW([KLELWWKH
     4&DQQRW"                                               UHEXWWDOUHSRUW/HWPHDVN\RXWRWXUQWRSDJHRI
     $6R\RXNQRZDOORI\RXUOLIHLQIOXHQFHV\RXU         \RXUUHEXWWDOUHSRUW:HFDQKDQG\RXDQRWKHUFRS\LI
     LGHQWLW\GHYHORSPHQW<RXFDQ WFKDQJHZKDWLWLV<RX       QHHGEH:HVKRXOGKDYHRQHPRUH
     FDQLWFDQFKDQJH\RXUH[SHULHQFH,GRQ WWKLQN          $,WKLQNWKLVLVLW
     WKDWWKHVHFKLOGUHQZHUHOLNHO\WRKDYHKDGDGLIIHUHQW        41RZH UHORRNLQJIRU\RXUUHEXWWDOUHSRUW
     RXWFRPH                                                       ,W VJRLQJWREHDW\SHZULWWHQNLQGRIVRPHWKLQJRU
     46R\RXUYLHZLVWKDWJHQGHULGHQWLW\FDQ W            RWKHU
     FKDQJHDQGWKHUHIRUHDQ\FKLOGZKRVHJHQGHULGHQWLW\           $/LNHWKLVULJKW"
     DSSHDUVWRFKDQJHPXVWKDYHEHHQPLVWDNHQDWVRPHVWDWH        4([KLELW
     RIWKHLUXQGHUVWDQGLQJ                                        $, PVRUU\1RWKDW VQRWVXJDU
     &RUUHFW"                                              4, PMXVWJRLQJWRKDQG\RXDQRWKHURQH
     $77251(<%25(//,2EMHFWLRQIRUP             $2ND\7KDQN\RX
     7+(:,71(666RWKHLUXQGHUVWDQGLQJRI         41RKDUGIHHOLQJV



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                                                   3DJH                                                         3DJH
      $,,NQRZLW VKHUHEHFDXVH,WKHUH VVR         EHWZHHQDQG$Q\WKLQJHDUOLHURUODWHUDJDLQPLJKW
      PDQ\SDSHUV<RXZDUQHGPHWKHUHZRXOGEHVRPDQ\              WULJJHUVRPHTXHVWLRQVWKDWVRPHWKLQJLVJRLQJRQ
      SDSHUV                                                         46RDJHHLJKWLVJHQHUDOO\JLUOVWXUQHLJKWLQ
      4,GLG,WULHGWRZDUQ\RX                           VHFRQGRUWKLUGJUDGH"7KLUGJUDGHURXJKO\"
      /HWPHDVN\RXWRWXUQWRSDUDJUDSKRI\RXU         $77251(<%25(//,2EMHFWLRQIRUP
      UHEXWWDOUHSRUW                                                7+(:,71(667KDWZRXOGEH\RXNQRZ
      $2KRND\<HDK                                       LWYDULHVEHFDXVHHDUO\VWDUWHUVODWHVWDUWHUV%XW
      43DJHILYH                                             
      $, PVRUU\WKHQXPEHURQHRIWKHQXPEHUV           %<$77251(<%522.6
     VNLSSHGDQGLWZDVMXVWDODEHOLQJRIDUHIHUHQFHVR          4$QGVRIRUQLQHIRUER\VZRXOGEHIRXUWKJUDGH"
     DJDLQ                                                      $77251(<%25(//,2EMHFWLRQWRIRUP
     4<HV7KHVHFRQGVHQWHQFHWKHUH\RXZURWH         7+(:,71(667KDWZRXOGEHWKHW\SLFDO
     DQGWKLVLVRIFRXUVHDUHFHQWVXEPLVVLRQDGROHVFHQWV         %<$77251(<%522.6
     ZLWKSHUVLVWHQWJHQGHUG\VSKRULDDIWHUUHDFKLQJ7DQQHU         46RZH UHWDONLQJJUDGHVFKRRONLGVKHUHQRW
     VWDJHWZRDOPRVWDOZD\VSHUVLVWLQWKHLUJHQGHULGHQWLW\       HYHQWKHHQGRIJUDGHVFKRRO"
     LQWKHORQJWHUP'R\RXVHHWKDWODQJXDJH"                   $77251(<%25(//,2EMHFWLRQIRUP
     $,GR                                                 %<$77251(<%522.6
     46RDQGWKHEDVLVWKDW\RXFLWHIRUWKDW           4$QGLIWKHW\SHRIFKDQJHVWKDWPDUNWKH
     UDWKHUVSHFLILFIDFWXDOSURSRVLWLRQLVDQDUWLFOHRU           EHJLQQLQJRI7DQQHUVWDJHWZRDUHJHQHUDOO\DWOHDVWWR
     DFWXDOO\DFKDSWHUE\7XUEDQ'H9ULHVDQG=XFNHU              WKHOD\PDQ VH\HQRWYLVLEOHRQDFORWKHGFKLOG
     &RUUHFW", PMXVWORRNLQJDWIRRWQRWHWKUHH         &RUUHFW"
     $<HV                                                  $77251(<%25(//,2EMHFWLRQIRUP
     46R7DQQHUVWDJHWZRDV,XQGHUVWDQGRUZH        %<$77251(<%522.6
     FDQORRNDWWKH(QGRFULQH6RFLHW\QRWHEXWWKLVLV        47KDWPDUNWKHEHJLQQLQJ7DQQHUVWDJHWZR"


                                                   3DJH                                                         3DJH
      7DQQHUVWDJHWZRLVZKHQFKLOGUHQILUVWEHJLQWRH[KLELW        $77251(<%25(//,2EMHFWLRQIRUP
      SK\VLFDOO\UHFRJQL]DEOHFKDQJHVLQSXEHUW\                     7+(:,71(66,ZRXOGVD\WKDWVRPH
      5LJKW"                                                 DVVLJQHGIHPDOHVDWELUWKHVSHFLDOO\LIWKH\ UHOHDQ
      $77251(<%25(//,2EMHFWLRQIRUP              \RXFDQVHHWKHLUEUHDVWGHYHORSPHQW
      7+(:,71(66<HV                               %<$77251(<%522.6
      %<$77251(<%522.6                                             4-XVWDEUHDVWEXG%XWLQJHQHUDOZKHQZH
      46R7DQQHUVWDJHRQHWKHUH VQRWKLQJREVHUYDEOH       VSHDNRIDGROHVFHQFHZHGRQ WLQFRPPRQSDUODQFHZH
      $QGWKHEHJLQQLQJRI7DQQHUVWDJHWZRLVWKHILUVW              GRQRWLQFOXGHWKLUGDQGIRXUWKJUDGHUVGRZH"
      REVHUYDEOHFKDQJHV"                                             $77251(<%25(//,2EMHFWLRQIRUP
     $<HV                                                  7+(:,71(66:HOOWKHGHILQLWLRQRI
     $77251(<%25(//,2EMHFWLRQIRUP             DGROHVFHQFHLVWKHWLPHGXULQJSXEHUW\VRWKH\VKRXOG
     %<$77251(<%522.6                                            EHLQFOXGHG
     4$QG,WKLQN\RXWHVWLILHGEXWLI\RXFRXOGMXVW      %<$77251(<%522.6
     UHPLQGXVNLQGRIWKHWLPHVSDQWKDWWKDWWHQGVWREHJLQ        4,Q\RXUH[SHULHQFHDVWRKRZSHRSOHXVHWKH
     IRUER\VDQGJLUOV                                            WHUPWKLUGDQGIRXUWKJUDGHUVLQFOXGHGLQDGROHVFHQFH"
     $77251(<%25(//,2EMHFWLRQIRUP             $77251(<%25(//,2EMHFWLRQIRUP
     7+(:,71(6667DQQHUWZR7DQQHUWZR         7+(:,71(66,WYDULHVZLWKUHJDUGWR
     IRUWKRVHDVVLJQHGIHPDOHDWELUWKFDQUDQJHLQWKH            WKHFRQWH[W:LWKLQP\PHGLFDOSUDFWLFHWKDW VWKHZD\
     QRUPDOW\SLFDOGHYHORSPHQWEHWZHHQWKHDJHVRIDQG          ZHXVHWKHWHUP
     ,WGRHVIDOORXWVLGHRIWKDWDWWLPHVDQGLV              %<$77251(<%522.6
     FRQVLGHUHGHDUO\DQGFRXOGEHDPDUNHURIDSUREOHPDV         4$WDQ\UDWHZH UHWDONLQJDERXWJUDGHVFKRRO
     ZHOODVGHOD\HGFRXOGEHDPDUNHURIDSUREOHP                DJHVQRWMXQLRUKLJKRUPLGGOHVFKRRODJHV:KDWLV
     4)RUER\V"                                             \RXUEDVLVIRUVD\LQJWKDWWKRVHFKLOGUHQZKRSHUVLVWXS
     $)RUWKRVHDVVLJQHGPDOHDWELUWKVRXVXDOO\          WRWKHEHJLQQLQJRI7DQQHUVWDJHWZRDOPRVWDOZD\V


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                                                   3DJH                                                        3DJH
      SHUVLVWWUDQVJHQGHULGHQWLW\"                                  MXVWODVWZHHN"
      $77251(<%25(//,2EMHFWLRQ2EMHFWLRQ       $,KDYHUHYLHZHGWKLVGRFXPHQW,GRQ WUHPHPEHU
      IRUP                                                          ZKHQWKRXJK
      7+(:,71(66,GRQ WNQRZZKLFK                42ND\
      UHIHUHQFHLWLVEXW,FDQVWDWHWKDWLQP\SUDFWLFH           $QGLQKHUHOHW VORRNDWSDJH$QG
      WKDW VZKDW,KDYHVHHQ                                       WKHUHDWWKHWRSRIQHDUWKHWRSRIWKHILUVWFROXPQ
      %<$77251(<%522.6                                            RQLVDGLVFXVVLRQRIIROORZXSVWXGLHVRI
      4/HWPHVKRZ\RXWKHRQO\UHIHUHQFH\RXGLGFLWH       SHUVLVWHUVDQGGHVLVWHUV'R\RXVHHWKDWGLVFXVVLRQ"
      IRUWKDWZKLFK,ZLOOPDUNDV([KLELWWKHDUWLFOH         $<HV
     E\7XUEDQ'H9ULHVDQG=XFNHUFLWHGLQIRRWQRWHRI         4$QGLWVD\VIRXUOLQHVILYHOLQHVGRZQLW
     \RXUUHEXWWDOUHSRUW, PVRUU\'RQ WNQRZZK\,VDLG      EHJLQVTXRWH5HVWRUD\DQG6NHHPVPDKDYHSURYLGHGWKH
     , PJRLQJWRKDQGWKHZLWQHVVWKDWDUWLFOHQRZ          PRVWUHFHQWVWXG\RIIROORZXSVWXGLHVLQZKLFKWKH
     $7KDQN\RX                                           SHUFHQWDJHRISDUWLFLSDQWVFODVVLILHGDVSHUVLVWHUV
                                     UDQJHGIURPWZRSHUFHQWWRSHUFHQWFROODSVHGDFURVV
      :KHUHXSRQ$GNLQV([KLELW7XUEDQ         QDWDOER\VDQGJLUOVFORVHGTXRWH'R\RXVHHWKDW"
     'H9ULHVDQG=XFNHU$UWLFOHZDVPDUNHG        $<HDK
     IRULGHQWLILFDWLRQ                           4$QGIXUWKHUGRZQXQGHUWKHKHDGLQJSHUVLVWHQFH
                                     RIJHQGHUG\VSKRULDIURPDGROHVFHQFHWRDGXOWKRRGLVD
     &28575(3257(5([FXVHPHEXW\RX UH         YHU\VKRUWSDUDJUDSKWKDWUHDGVLQLWVHQWLUHW\LQ
     PXPEOLQJDQG,FDQ WXQGHUVWDQGHYHU\WKLQJWKDW\RX UH        FRQWUDVWORZUDWHVRISHUVLVWHQFHIURPFKLOGKRRGLQWR
     VD\LQJ                                                       DGROHVFHQFHLWDSSHDUVWKDWWKHYDVWPDMRULW\RI
     $77251(<%522.6$WWKHPRPHQW, PMXVW       WUDQVJHQGHUDGROHVFHQWVSHUVLVWLQWKHLUWUDQVJHQGHU
     VKXIIOLQJSDSHUVDQGKDQGLQJRXWGRFXPHQWV$QG,ZLOO       LGHQWLW\FORVHGTXRWH
     VSHDNXSQRZDQGDVNDTXHVWLRQ6RUU\DERXWWKDW           'R\RXVHHLVWKDW"


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      UHFRUGDQG,QHHGWREHDEOHWRKHDUHYHU\VLQJOHZRUG         4$QGZDVWKDWWKHODQJXDJHWKDW\RXKDGLQPLQG
      WKDW\RXJX\VDUHVD\LQJ                                      ZKHQ\RXFLWHGWKLVUHIHUHQFHLQIRRWQRWHWKUHHRI\RXU
      $77251(<%522.6:H OOGRWKHEHVWZH          UHEXWWDOUHSRUW"
      FDQ                                                           $,ZRXOGKDYHWRORRNDOOWKHZD\WKURXJKWKH
      &28575(3257(5,W VKDUGIRUPHRYHU          DUWLFOH,W VFRQVLVWHQW
      KHUH                                                          4$QGWKHODQJXDJHWKDW,GLUHFWHG\RXWRDWWKH
      %<$77251(<%522.6                                            WRSVXPPDUL]HVVWXGLHVWKDWVKRZVKRZLQJRI
      4,VWKLVLQIDFWWKHDUWLFOHWKDW\RX                SHUVLVWHQFHRIJHQGHUG\VSKRULDDPRQJFKLOGKRRG
     UHIHUHQFHGLQ\RXUUHEXWWDOUHSRUW'U$GNLQVRUWKH        G\VSKRULFVRIRQO\WZRSHUFHQWWRSHUFHQW
     FKDSWHU,VKRXOGVD\"                                         5LJKW"
     $<HDK,PHDQ, GKDYHWRWDNHDPLQXWHWR          $77251(<%25(//,2EMHFWLRQIRUP
     UHYLHZLW                                                    7+(:,71(667KRVHDUHWZRGLIIHUHQW
     9,'(2*5$3+(5&RXQVHOZKLFKWDEQXPEHU       SRSXODWLRQV
     LVWKLV"                                                      %<$77251(<%522.6
     7+(:,71(66, PVRUU\\RXEURNHXS         47KH\DUH$QG, PDVNLQJ\RXQRZDJDLQDERXW
     9,'(2*5$3+(5:KLFKWDEQXPEHULVWKLV        ZKDWLWVD\VDWWKHWRS"
     GRFXPHQW"                                                     $3OHDVHUHSHDW\RXUTXHVWLRQ
     $77251(<%522.67DE,DSRORJL]H        47KHGLVFXVVLRQDWWKHWRSVXPPDUL]HVVWXGLHV
     9,'(2*5$3+(57KDQN\RX                      VKRZLQJSHUVLVWHQWFKLOGKRRGG\VSKRULDRIRQO\EHWZHHQ
     7+(:,71(66,WLVODEHOHGDVWKDW           WZRSHUFHQWDQGSHUFHQWGHSHQGLQJRQWKHVWXG\"
     %<$77251(<%522.6                                           $77251(<%25(//,2EMHFWLRQWRIRUP
     4:HOOGR\RXUHFDOOUHFHQWO\UHDGLQJWKLV            7+(:,71(66,VHHWKDW
     DUWLFOHVLQFHLWZDVFLWHGLQWKLVGRFXPHQWVXEPLWWHG         %<$77251(<%522.6


                                                                                       3DJHVWR
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                                                   3DJH                                                          3DJH
      4$QGWKDWLVWKDWWKHODUJHPDMRULW\FRQVLVWHGDW       JHQGHUG\VSKRULDGRVRQRODWHUWKDQWKHWLPHWKH\ILUVW
      VRPHVWDJHEHIRUHDGXOWKRRG                                    UHDFK7DQQHUVWDJHWZR"
      &RUUHFW"                                               $77251(<%25(//,2EMHFWLRQIRUP
      $77251(<%25(//,2EMHFWLRQIRUP              7+(:,71(66,GRQ WWKLQNWKDW,UHFDOO
      7+(:,71(660RUHWKDQKDOISHUWKLV           DVWXG\WKDW VEHHQPRGHOHGWKDWZD\
      %<$77251(<%522.6                                             %<$77251(<%522.6
      4$QGQRWKLQJKHUHWHOOVXVDERXWH[DFWO\ZKDW           4&DQ\RXWHOOPHLGHQWLI\IRUPHDQ\VWXG\
      VWDJHRIDGROHVFHQFHEHIRUHDGXOWKRRGWKH\GHVLVWHG            WKDWKDVH[DPLQHGZKHWKHUZKDWLVFDOOHGLQWKH
      GRHVLW"                                                        OLWHUDWXUHZDWFKIXOZDLWLQJFRPELQHGZLWKSV\FKRWKHUDS\
     $77251(<%25(//,2EMHFWLRQIRUP             UHVXOWVLQZRUVHRXWFRPHVIRUFKLOGUHQDVFRPSDUHGWR
     7+(:,71(66,QWKLVOLWHUDWXUH                DGPLQLVWUDWLRQRISXEHUW\EORFNHUVDQGVRFLDORXWFRPHV"
     DGROHVFHQFHLVSXEHUW\,WZRXOGKDYHWREHDWOHDVW          $77251(<%25(//,2EMHFWLRQIRUP
     7DQQHUWZR                                                    7+(:,71(666RWKHH[SHULHQFHLVWKDW
     %<$77251(<%522.6                                            VRPHSDWLHQWVKDYHG\VSKRULDWKDWLVVLJQLILFDQWHQRXJK
     4$WOHDVW1RZP\TXHVWLRQZDVQRWKLQJLQWKH        RQFHWKH\DUHLQSXEHUW\WREHGDQJHURXVWRWKHLUOLIH
     GLVFXVVLRQXSWRZDUGVWKHWRSRIWKHFROXPQDERXWWKHVH        ,ZRUU\DERXWWKRVHSDWLHQWV:HDOORZWKHPDSDXVH
     SHUVLVWHQFHDQGGHVLVWDQFHVWXGLHVWHOOVXVDWZKDW            ZLWKSXEHUW\EORFNHUVWRFRQWLQXHWRILJXUHRXWWKHLU
     VWDJHRISXEHUW\WKHGHVLVWHUVGHVLVWHGGRHVLW"              JHQGHULGHQWLW\,JRWORVWLQP\DQVZHU,DSRORJL]H
     $77251(<%25(//,2EMHFWLRQIRUP             %<$77251(<%522.6
     7+(:,71(66,ZRXOGKDYHWRORRNDWWKH       4:HOO'U$GNLQV,GLGQ WDVNZKDW\RXZHUH
     ZKROHVWXG\-XVWLQWKDWOLQHWKDWGHWDLOLVQRW             ZRUULHGDERXW,DVNHGFDQ\RXLGHQWLI\DQ\VWXG\WKDW
     OLVWHG                                                        H[DPLQHVZKHWKHUZDWFKIXOZDLWLQJIRUFKLOGUHQFRPELQHG
     %<$77251(<%522.6                                            ZLWKSV\FKRWKHUDS\UHVXOWVLQEHWWHURUZRUVHRXWFRPHV
     4$QGVLPLODUO\ORRNLQJDWWKHGLVFXVVLRQXQGHU        RQDYHUDJHWKDQDGPLQLVWHULQJSXEHUW\EORFNHUVDQG


                                                   3DJH                                                          3DJH
      WKHKHDGLQJSHUVLVWHQFHRIJHQGHUG\VSKRULDIURP                VRFLDOWUDQVLWLRQ"
      DGROHVFHQFHWRDGXOWKRRGQRWEHLQJLQWKDWVHQWHQFH             $77251(<%25(//,2EMHFWLRQIRUP
      WHOOVXVZKDWVWDJHRIDGROHVFHQFHZKHWKHULWLV7DQQHU        7+(:,71(66<RXNQRZ,FDQ WUHPHPEHU
      VWDJHWZRRUWKUHHRUIRXULVEHLQJUHIHUUHGWRZKHQLW         WKHH[DFWVWXG\:HKDYHVWXGLHVWKDWVKRZWKDWLI\RX
      VD\VWKHPDMRULW\RIDGROHVFHQWVSHUVLVW"                       DUHQRWKHOSLQJWKHSDWLHQWVUHOLHYHWKHLUJHQGHU
      $77251(<%25(//,2EMHFWLRQIRUP              G\VSKRULDDQGSV\FKRWKHUDS\KDVQRWEHHQVKRZQWRGR
      7+(:,71(666,W VQRWZULWWHQULJKW            WKDWWKHQZHZRXOGEH\RXNQRZDWDQXQHWKLFDOSRLQW
      WKHUHQR                                                      WRGRWKDWVWXG\EHFDXVHLWZRXOGLQFUHDVHULVNRIGHDWK
      %<$77251(<%522.6                                             LQWKRVHSDWLHQWVIRUXVWRZDWFKDQGZDLW
     43OHDVHLGHQWLI\IRUPHDOOVWXGLHV\RXDUHDZDUH      %<$77251(<%522.6
     RIWKDWVKRZWKDWWKRVHZKRGHVLVWIURPFKLOGKRRGJHQGHU       46R\RXUDQVZHULVDWQRWLPHVLQFHWKHLQFHSWLRQ
     G\VSKRULDGRVRE\QRODWHUWKDQEHJLQQLQJRI7DQQHU           RIWKLVILHOGWKDWLVWKHUDS\IRUJHQGHUG\VSKRULDDUH
     VWDJHWZR                                                     \RXDZDUHRIDQ\VWXG\FRPSDULQJRXWFRPHVIRUJHQGHU
     $77251(<%25(//,2EMHFWLRQIRUP             G\VSKRULFFKLOGUHQRIRQWKHRQHKDQGZDWFKIXOZDLWLQJ
     7+(:,71(66,DPQRWJRLQJWREHDEOH         DFFRPSDQLHGE\SV\FKRWKHUDS\DQGRQWKHRWKHUKDQG
     WRUHPHPEHUWKRVHRIIWKHWRSRIP\KHDG                      SXEHUW\EORFNHUVDQGVRFLDOWUDQVLWLRQLQJ"
     %<$77251(<%522.6                                            $77251(<%25(//,2EMHFWLRQIRUP
     4&DQ\RXUHPHPEHUDVLQJOHRQH"                        7+(:,71(667KHUH VDORQJKLVWRU\RI
     $77251(<%25(//,2EMHFWLRQIRUP             LQGLYLGXDOVZKRZHUHOHIWXQWUHDWHGRUWUHDWHGZLWK
     7+(:,71(66,ZRXOGKDYHWRKDYH\RX          SV\FKRWKHUDS\ZKRGLHGLQKRVSLWDOVRUQRWLQKRVSLWDOV
     UHSHDWWKHTXHVWLRQEXW,GRXEWLW                           EHFDXVHWKH\ZHUHRQO\JLYHQWKRVHWKHUDSLHVZKLFKZHUH
     %<$77251(<%522.6                                            WKHRQO\RQHVDYDLODEOHDWWKHWLPH
     4,ZLOOUHSHDWLW,GHQWLI\DOOVWXGLHV\RX UH        %<$77251(<%522.6
     DZDUHRIWKDWVKRZWKDWWKRVHZKRGHVLVWIURPFKLOGKRRG        4'U$GNLQV\RXDUHDOVRDZDUHDUH\RXQRW


                                                                                         3DJHVWR
                Case: 22-5807
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                                                  3DJH                                                         3DJH
      WKDWWKHUH VDORQJKLVWRU\RILQGLYLGXDOVZKRKDYH            VSHFLILFUHSRUWV,DPDZDUHWKDWWKDWLVDQLVVXHZLWK
      WUDQVLWLRQHGERWKVRFLDOO\DQGKRUPRQDOO\ZKRKDYH             VRPHSHRSOHZKRKDYHWUDQVLWLRQHGIXOO\
      FRPPLWWHGVXLFLGH"                                             %<$77251(<%522.6
      $77251(<%25(//,2EMHFWLRQWRIRUP           4'R\RXEHOLHYHWKDWVRFLDOWUDQVLWLRQLVDQ
      %<$77251(<%522.6                                            LPSRUWDQWSDUWRIPHGLFDOFDUHIRUWUDQVJHQGHU
      47KDW VZHOOGRFXPHQWHGLQWKHOLWHUDWXUHLVLW       LQGLYLGXDOV"
      QRW"                                                           $77251(<%25(//,2EMHFWLRQIRUP
      $77251(<%25(//,2EMHFWLRQIRUP             7+(:,71(66<HV
      7+(:,71(667KHUHDUHLQGLYLGXDOVZKR         %<$77251(<%522.6
     VWLOOVWUXJJOHZLWKGHSUHVVLRQDQGDQ[LHW\WRWKHSRLQW       4$QGGR\RXDOVRFRQVLGHUSXEHUW\EORFNHUVWREH
     WKDWWKH\DUHGRFRPPLWVXLFLGHDQGWKH\KDYHQRW         SDUWRIWUHDWPHQWIRUFKLOGUHQZLWKJHQGHUG\VSKRULD"
     QHFHVVDULO\WKHUHDVRQEHLQJUHODWHGWRWKHLUJHQGHU          $77251(<%25(//,2EMHFWLRQWRWKHIRUP
     G\VSKRULD&RXOGEH+DUGWRNQRZ                          7+(:,71(66,KDYHVHHQUHVXOWVIURPD
     %<$77251(<%522.6                                           UHFHQWVWXG\WKDWVDLGWKDWWKHUHZDVDGHFUHDVHLQ
     4,QIDFW6NHHPVPDDQGFROOHDJXHVDWWKH              G\VSKRULD,WKLQNLWZDVDQ[LHW\DQGGHSUHVVLRQ,
     UHVSHFWHGLQVWLWXWHLQ$PVWHUGDP'H9U\8QLYHUVLW\KDYH      ZRXOGKDYHWRGRXEOHFKHFNWKHDUWLFOHZLWKSXEHUW\
     GRFXPHQWHGYHU\KLJKUDWHVRIVXFFHVVIXOFRPSOHWHG            EORFNHUV2XUJRDOZLWKSXEHUW\EORFNHUVLVWRSDXVH
     VXLFLGHDPRQJWUDQVJHQGHUDGXOWVKDYHWKH\QRW"              DQGDOORZSHRSOHWRXQGHUVWDQGWKHLULGHQWLW\DQGILJXUH
     $77251(<%25(//,2EMHFWLRQIRUP            RXWZKDWLVJRLQJRQZLWKWKDWXQGHUVWDQGLQJDQGZKDWLV
     7+(:,71(66,ZRXOGKDYHWRVHHWKH          WKHEHVWFDUHIRUWKDWSDWLHQWLV
     VWXG\                                                        %<$77251(<%522.6
     %<$77251(<%522.6                                           4,VWKHSRLQWRIDGPLQLVWHULQJSXEHUW\EORFNHUV
     4<RXDUHQRWDZDUHRIWKDWLQIRUPDWLRQ"               WRFKLOGUHQZKRDUHH[SHULHQFLQJJHQGHUG\VSKRULDWR
     $,KDYHQRWVHHQWKDWVWXG\,KDYHUHDGWKH         SUHYHQWSXEHUW\IURPRFFXUULQJDWWKHWLPHWKDWLW


                                                  3DJH                                                         3DJH
      OLWHUDWXUH,GRQ WUHFDOODVWXG\VD\LQJWKHUHZDVD         QDWXUDOO\ZRXOGRFFXULQWKDWFKLOG"
      KLJKRUZK\,ZRXOGQHHGDQXPEHU                           $77251(<%25(//,2EMHFWLRQIRUP
      %<$77251(<%522.6                                            7+(:,71(66,QSDWLHQWVLQSDWLHQWV
      4<RXUHDG'U/HYLQH VUHSRUW"                         ZKRDUHKDYLQJHDUO\SXEHUW\LWLVDGLIIHUHQW
      $<HDKLWZDV\HV                                 PHFKDQLVP)RUSHRSOHZLWKJHQGHUG\VSKRULDZKHUH\RX
      4$QGGR\RXUHFDOOWKDWKHFLWHVPXOWLSOH              DUHWU\LQJWRSDXVHLWDQGZHNHHSLWZLWKLQWKHUHDOP
      VWXGLHVLQFOXGLQJVWXGLHVIURP'H9U\8QLYHUVLW\WHDP          RIQRUPDOSXEHUWDOGHYHORSPHQW
      GRFXPHQWLQJKLJKUDWHVRIVXFFHVVIXOFRPSOHWHGVXLFLGH        %<$77251(<%522.6
      QRWVWXGLHVKH VGRQHWKDWFOLQLFKDVGRQHGRFXPHQWHG        4)RULQGLYLGXDOVVXIIHULQJFKLOGUHQVXIIHULQJ
     KLJKUDWHVRIVXFFHVVIXOVXLFLGHDPRQJWUDQVJHQGHU            IURPJHQGHUG\VSKRULDWKHSUHFLVHSRLQWRIDGPLQLVWHULQJ
     DGXOWV"                                                       SXEHUW\EORFNHUVLVWRSUHYHQWSXEHUW\IURPRFFXUULQJLQ
     $77251(<%25(//,2EMHFWLRQIRUP            WKDWFKLOGDWWKHWLPHLWZRXOGRWKHUZLVHQDWXUDOO\
     7+(:,71(66,ZRXOGQHHGDQXPEHU, P      RFFXU
     QRWJRLQJWRFODVVLI\VRPHWKLQJDVKLJKMXVWEHFDXVH      &RUUHFW"
     ,ZRXOGQHHGDQXPEHU                                        $77251(<%25(//,2EMHFWLRQIRUP
     %<$77251(<%522.6                                           7+(:,71(66,WZRXOGRXUSDXVLQJ
     4+DYH\RXWKRXJKWWKDWLWZDVLQFXPEHQWXSRQ\RX      WKHSXEHUW\DQGNHHSLQJLWZLWKLQWKHQRUPDOUDQJHRI
     VRPHERG\DVVLVWLQJ\RXQJSHRSOHWRWUDQVLWLRQDQG             SXEHUWDOGHYHORSPHQW
     SUHVFULELQJKRUPRQHVWRWKRURXJKO\LQYHVWLJDWLRQDQG          %<$77251(<%522.6
     TXHVWLRQVXLFLGDOLW\DPRQJWUDQVLWLRQHGWUDQVJHQGHU           4'U$GNLQVWKHSXUSRVHRIDGPLQLVWHULQJ
     LQGLYLGXDOV"                                                  SXEHUWDOEORFNHUVWRDSDUWLFXODUFKLOGLVWRSUHYHQWLW
     $77251(<%25(//,2EMHFWLRQIRUP            IURPKDSSHQLQJZKHQLWZRXOGRWKHUZLVHKDSSHQQDWXUDOO\
     7+(:,71(66$JDLQ\HV,UHDGWKRVH        LQWKDWFKLOG
     ZKHQ,FDQ,DPQRWJRRGZLWKUHFDOOLQJQDPHVLQ            &RUUHFW"



                                                                                       3DJHVWR
                Case: 22-5807
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                                                   3DJH                                                        3DJH
      $77251(<%25(//,2EMHFWLRQIRUP              DQGVLGHHIIHFWVDQGP\JHQHUDOH[SHULHQFHDQGWKH
      %<$77251(<%522.6                                             SXEOLFDWLRQVWKDWDUHDYDLODEOH*RRGQHVVJUDFLRXV
      47KHUHLVQRRWKHUSXUSRVH"                             %R\WKDWOXQFKLVJHWWLQJPH
      $77251(<%25(//,2EMHFWLRQIRUP              ,H[SODLQWRP\SDWLHQWVWKHHIIHFWVDQG
      7+(:,71(66, PVRUU\,KDYHWRDVN          VLGHHIIHFWVDQG,WDONZLWKWKHPDERXWZKHWKHUP\
      \RXXVHGVRPHSURQRXQFHGLQWKHUHWKDWZHUHQRWUHDO        H[SHULHQFHKDVEHHQ,KDYHKDGYHU\IHZSDWLHQWV
      FOHDU,I\RXGRQ WPLQGUHSHDWLQJWKHTXHVWLRQ               H[SHULHQFHDSUREOHPZLWKWKHPHGLFDWLRQ
      %<$77251(<%522.6                                             %<$77251(<%522.6
      47KHSXUSRVHRIDGPLQLVWHULQJSXEHUW\EORFNHUVWR       4$QGLI\RXDUHXQZLOOLQJWRVLWKHUHWRGD\DQG
     DFKLOGVXIIHULQJIURPJHQGHUG\VSKRULDLVWRSUHYHQW          DGPLWWKDW\RXWHOOSDUHQWVWKDWSXEHUW\EORFNHUVDUH
     SXEHUW\IURPKDSSHQLQJLQWKDWFKLOGDWWKHWLPHLW            VDIHWKHQZK\KDYH\RXVWDWHGLQ\RXUH[SHUWUHSRUWWR
     ZRXOGRWKHUZLVHQDWXUDOO\RFFXULQWKDWFKLOGDEVHQWWKH       WKHFRXUWWKDWWUHDWPHQWLQFOXGLQJSXEHUW\EORFNHUV
     EORFNDGH"                                                      DUHVDIH"
     $77251(<%25(//,2EMHFWLRQ                   $77251(<%25(//,2EMHFWLRQIRUP
     7+(:,71(66:HDUHSDXVLQJWKHLU              7+(:,71(666(YHU\SDWLHQWLV
     SXEHUW\RQFHLWVWDUWVSXWWLQJDSDXVH                       LQGLYLGXDO,KDYHWRPDNHDQLQGLYLGXDODVVHVVPHQWIRU
     %<$77251(<%522.6                                            HDFKSDWLHQW,ZLOOVD\LW VVDIHIRUWKHSDWLHQWV
     4,JHWWRDVNWKHTXHVWLRQV7KDWPHDQV\RX           WKDWWKDWDSSOLHVWR
     ZDQWHGWRSUHYHQWSXEHUW\IURPKDSSHQLQJZKHQLWZRXOG         %<$77251(<%522.6
     QDWXUDOO\KDSSHQIRUWKDWFKLOGDSDUWIURPWKH                 4:KLFKSDWLHQWVGRHVWKDWDSSO\WR"
     PHGLFDWLRQ"                                                    $0RVWRIWKHSDWLHQWVGRQ WKDYHD
     $77251(<%25(//,2EMHFWLRQIRUP             FRQWUDLQGLFDWLRQWRXVLQJSXEHUW\EORFNHUV
     7+(:,71(66<HV                              4,VVDIHDWHUPRIDUWWR\RXDVDGRFWRU"
     %<$77251(<%522.6                                            $77251(<%25(//,2EMHFWLRQIRUP


                                                   3DJH                                                        3DJH
      47KDQN\RX                                             7+(:,71(66, PQRWVXUHZKDW\RXPHDQ
      <RXUHJXODUO\WHOOSDUHQWVWKDWWKH                    E\WKHZRUGDUW
      DGPLQLVWUDWLRQRISXEHUW\EORFNHUVIRUWKDWSXUSRVHLV         %<$77251(<%522.6
      TXRWHVDIH"                                                    4'RHVLWKDYHDSUHFLVHPHDQLQJ"7RVD\D
      &RUUHFW"                                               SKDUPDFHXWLFDOLVVDIHGRHVWKDWKDYHDPHDQLQJWR\RX
      $77251(<%25(//,2EMHFWLRQIRUP              DVDGRFWRU"
      7+(:,71(66,JRWKURXJKYHU\VSHFLILF         $,WKDVDPHDQLQJ
      OLVWRIVLGHHIIHFWVDQGHIIHFWVZLWKP\SDWLHQWVZLWK          4:KDWLVWKDW"
      WKDWPHGLFDWLRQ                                                $6RLQJHQHUDOZKHQZH UHWDONLQJDERXWVDIHW\
     %<$77251(<%522.6                                            DQGPHGLFLQHZH UHWDONLQJDERXWOLPLWLQJWKHQXPEHURI
     4<RXUHJXODUO\WHOOSDUHQWVXVLQJWKHZRUGWKDW        QHJDWLYHVLGHHIIHFWVWKDWFDQFDXVHVLJQLILFDQWLVVXHV
     SXEHUW\EORFNHUVDUHTXRWHVDIHGR\RXQRW"                 IRUSDWLHQWV,WKLQNWKDWZRXOG,WKLQNWKDW V
     $77251(<%25(//,2EMHFWLRQIRUP             ZKDW,ZRXOGVD\
     7+(:,71(66,DPWHOOLQJP\SDWLHQWV          4,VQ WLWDWUXLVP\RXZHUHWDXJKWLQPHGLFDO
     WKHULVNVDQGEHQHILWV,DPWHOOLQJWKHP,IHHO              VFKRROWKDWHYHU\SKDUPDFHXWLFDOKDVVLGHHIIHFWV"
     FRPIRUWDEOHXVLQJLW                                          $77251(<%25(//,2EMHFWLRQIRUP
     %<$77251(<%522.6                                            7+(:,71(666RWUXLVPLVDZRUGWKDW
     4/HW VILQG\RXUUHSRUWZKLFKLV([KLELW        VRUU\WKDWLVXQFOHDUWRPH&DQ\RXFODULI\"
     QR\HV([KLELW,I\RXFDQILQG\RXUUHSRUW           %<$77251(<%522.66
     $SRORJL]H7RRPXFKSDSHU7RRORQJDGD\                   4:HUHQ W\RXWDXJKWLQPHGLFDOVFKRROWKDWHYHU\
     'U$GNLQVGR\RXRUGR\RXQRWWHOOSDUHQWV         SKDUPDFHXWLFDOKDVVLGHHIIHFWV"
     WKDWSXEHUW\EORFNHUVDUHVDIH"                                $77251(<%25(//,2EMHFWWRIRUP
     $77251(<%25(//,2EMHFWLRQIRUP             7+(:,71(66<HV
     7+(:,71(66$JDLQ,UHYLHZWKHHIIHFWV       %<$77251(<%522.6


                                                                                        3DJHVWR
                Case: 22-5807
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                                                   3DJH                                                        3DJH
      4$QGGR\RXDJUHHRUGLVDJUHHWKDWDIODW               'R\RXVHHWKDWODQJXDJH"
      DVVHUWLRQWKDWDQ\SKDUPDFHXWLFDOLVVDIHLVQRW                $77251(<%25(//,2EMHFWLRQIRUP
      FRQVLVWHQWZLWKDFFXUDWHPHGLFDOWHUPLQRORJ\"                   7+(:,71(66,GR
      $77251(<%25(//,2EMHFWLRQIRUP              %<$77251(<%522.6
      7+(:,71(66,ZRXOGVD\WKDW,ZRUN            4$QGZKDWLV\RXUXQGHUVWDQGLQJDVWRZK\WKH
      ZLWKZKDWWKHLQIRUPDWLRQLVDYDLODEOHWRPHDERXW              (QGRFULQH6RFLHW\DGYLVHVWKDWLW VLPSRUWDQWWRDGYLVH
      VDIHW\SURILOH,DSSO\WKDWWRHDFKSDWLHQW                   DERXWIHUWLOLW\SUHVHUYDWLRQSULRUWRLQLWLDWLQJSXEHUW\
      LQGLYLGXDOO\6RPHWLPHV,IHHOVDIHUXVLQJLWLQRQH           VXSSUHVVLRQLISXEHUW\VXSSUHVVLRQLVQHDUO\QRWKLQJEXW
      SDWLHQWYHUVXVDQRWKHUSDWLHQW(YHU\GUXJLV                  DSDXVH"
     GLIIHUHQWHYHU\VLGHHIIHFWSURILOHLVGLIIHUHQWHYHU\       $77251(<%25(//,2EMHFWLRQIRUP
     SDWLHQWLVGLIIHUHQW                                          7+(:,71(66:HOOWKH\RXNQRZ
     %<$77251(<%522.6                                            SXEHUW\SDXVLQJLVLQP\H[SHULHQFHDQGLQWKHUHSRUWHG
     4:K\WKHQGLG\RXIODWO\DVVHUWWRWKHFRXUWWKDW      GDWDDOZD\VUHYHUVLEOH,KDYHQRWHYHUKDGDSDWLHQW
     WUHDWPHQWIRUWUDQVJHQGHU\RXWKZKHQ\RXZHUHGLVFXVVLQJ       ZKRGLGQ WUHVXPHWKHLUQRUPDOSXEHUW\ZKHQWKH\FDPH
     SXEHUW\EORFNHUVDQGKRUPRQHWKHUDSLHVLVTXRWHVDIH"        RIIDQGZHUHRQQRRWKHUWUHDWPHQWRIDSXEHUW\
     $77251(<%25(//,2EMHFWLRQWRIRUP           EORFNDGH,ZRXOGWKLQNWKDWWKLVLVEHLQJYHU\FDUHIXO
     7+(:,71(66,QJHQHUDO,KDYHQRW             DERXW\RXQJLQGLYLGXDOVJHWWLQJSXEHUW\EORFNHUV
     H[SHULHQFHGQRUKDYH,VHHQSXEOLVKHGH[SHULHQFHVRI           $JDLQ,KDYHQ WVHHQDQ\UHSRUWV,QIDFWLWLVXVHG
     LVVXHVZLWKXVLQJWKHVHPHGLFDWLRQVWKDWFDXVHVD              WRSUHVHUYHIHUWLOLW\LQFDQFHUSDWLHQWV
     VLJQLILFDQWSUREOHPIRUP\SDWLHQWV                           %<$77251(<%522.6
     %<$77251(<%522.6                                            4'R\RXLQIDFWFRXQVHODOOSDUHQWVDQG
     4<RXUHJXODUO\WHOOSDUHQWVZKDW\RXKDYHVDLG         FKLOGUHQDERXWIHUWLOLW\SUHVHUYDWLRQRSWLRQVEHIRUH
     VHYHUDOWLPHVWRGD\WKDWSXEHUW\EORFNHUVDFWPHUHO\DV       DGPLQLVWHULQJSXEHUW\EORFNHUV"
     DSDXVHDQGDUHIXOO\UHYHUVLEOHGR\RXQRW"                  $77251(<%25(//,2EMHFWLRQIRUP


                                                   3DJH                                                        3DJH
      $77251(<%25(//,2EMHFWLRQIRUP              7+(:,71(66,GR
      7+(:,71(66,GR                              %<$77251(<%522.6
      %<$77251(<%522.6                                             4$QGGR\RXKDYHDYLHZDVWRZKHWKHUIRU
      4$QG\RXDUHDZDUHDUH\RXQRWWKDWWKH               LQVWDQFHD\HDUROGFDQHYHQEHJLQWRXQGHUVWDQG
      (QGRFULQH6RFLHW\JXLGHOLQHVDGYLVHWKDWEHIRUH                 SXEHUW\VH[XDOGHYHORSPHQWDQGWKHSRVVLELOLW\RI
      DSSURYLQJSXEHUW\EORFNHUVDFOLQLFLDQVKRXOGGLVFXVV           EHFRPLQJDSDUHQWVRDVWRSURYLGHPHDQLQJIXOO\LQIRUPHG
      ULVNVWRIHUWLOLW\DQGWKHDYDLODELOLW\WKHSRVVLELOLW\        FRQVHQW"
      RIIHUWLOLW\SUHVHUYDWLRQ                                      $77251(<%25(//,2EMHFWLRQIRUP
      &RUUHFW"                                               7+(:,71(666RWKRVHLQGLYLGXDOVDOVR
     $77251(<%25(//,2EMHFWLRQIRUP             KDYHWKHLUSDUHQWVZKRDUHZLWKWKHPWROHDUQDERXW
     7+(:,71(66, PQRWVXUHWKDWLVLQWKH       WKHVHWKLQJDQGZHLJKWKRVHWKLQJV7KHSDWLHQWLVQRW
     (QGRFULQH6RFLHW\JXLGHOLQHVZLWKSXEHUW\EORFNHUV,W        WKHUHLQLVRODWLRQ7KH\JHWDQRSWLRQDWWKHWLPH
     PD\EH7KDWLWLVQRSDUWRIWKHJHQGHUDIILUPLQJ            ZKHUHZHZRXOGVWRSSXEHUW\EORFNHUVRUDQ\WLPHWKDW
     KRUPRQHUHFRPPHQGDWLRQ                                        WKH\DUHRQWRPDNHDFKDQJHLQWKDW,WLVFRPSOHWHO\
     %<$77251(<%522.6                                            UHYHUVLEOH
     4/HW VORRNDWSDJHLQWKHJXLGHOLQHV            %<$77251(<%522.6
     ([KLELW                                                     4<RXKDYHWHVWLILHGDWWKHEHJLQQLQJRIWKHGD\
     $:KDWH[KLELWDJDLQ"                                \RXKDGFKLOGUHQRI\RXURZQ%RWKDVDSURIHVVLRQDO
     4([KLELW$QG, PJRLQJWRFDOO\RXUDWWHQWLRQ      DQGDVDPRWKHUGR\RXKDYHDYLHZDVWRZKHWKHUD
     WR$QGFROXPQWZRLVJXLGHOLQHZKHUHLWVD\V       \HDUROGFDQVXIILFLHQWO\XQGHUVWDQGSXEHUW\VH[XDO
     TXRWHZHUHFRPPHQGWKHFOLQLFLDQVLQIRUPDQGFRXQVHO          GHYHORSPHQWDQGWKHSRVVLELOLW\RIEHFRPLQJDSDUHQWWR
     DOOLQGLYLGXDOVVHHNLQJJHQGHUDIILUPLQJPHGLFDO               HQDEOHWKHPWRSURYLGHPHDQLQJIXOO\LQIRUPHGFRQVHQW"
     WUHDWPHQWUHJDUGLQJRSWLRQVIRUIHUWLOLW\SUHVHUYDWLRQ         $77251(<%25(//,2EMHFWLRQIRUP
     SULRUWRLQLWLDWLQJSXEHUW\VXSSUHVVLRQLQDGROHVFHQFH        7+(:,71(666RLQ\RXQJNLGVZHXVH



                                                                                        3DJHVWR
                Case: 22-5807
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                                                   3DJH                                                         3DJH
      WKHVHLQILYH\HDUROGV,KDYHWUHDWHGDILYH           WKHGD\, OOEHJODG
      \HDUROGWKLVZHHNZLWKWKLVPHGLFDWLRQIRUHDUO\               %<$77251(<%522.6
      SXEHUW\,WUXVWEDVHGRQWKHGDWDWKDWLVDYDLODEOH          4-XVWWRFODULI\DQG,GRQ WPHDQWRKDUDVV\RX
      WRPHRYHUWKHODVW\HDUVXVLQJWKLVPHGLFDWLRQWR           EXWZH YHEHHQDVNHGWRUHSHDWLW3XEHUW\EORFNHUV
      SDXVHSXEHUW\IRUFHQWUDOSUHFRFLRXVSXEHUW\WKDWLWLV         KDYHEHHQSXWWKURXJKSKDVHRQHSKDVHWZRSKDVHWKUHH
      DVDIHPHGLFDWLRQDQGWKDWWKHSDWLHQWZLOOEHIHUWLOH         FOLQLFDOWULDOVVXEPLWWHGWRWKH)'$IRUWKHSXUSRVHRI
      &DQ WVD\SHUFHQWEHFDXVHZKRNQRZVZKDWHOVHLV            GHOD\LQJSUHFRFLRXVSXEHUW\LQFKLOGUHQXQWLOWKHQRUPDO
      JRLQJRQLQHDFKLQGLYLGXDOSDWLHQWWKDWPD\FDXVHWKHP         WLPHIRUSXEHUW\$QG\RXUDQVZHUZDV"
      WRKDYHDQLQIHUWLOLW\LVVXH                                   $77251(<%25(//,2EMHFWLRQIRUP
     %<$77251(<%522.6                                            7+(:,71(66<HV
     4'U$GNLQVSXEHUW\EORFNLQJGUXJVKDYHJRQH          %<$77251(<%522.6
     WKURXJKSKDVHRQHSKDVHWZRSKDVHWKUHHFOLQLFDO             4$QGWKH\KDYHQRWEHHQWHVWHGIRUVDIHW\IRU
     WULDOVVXEPLWWHGWRWKH)'$UHYLHZHG7KH\ YHEHHQ           HIILFDF\LQSKDVHRQHSKDVHWZRRUSKDVHWKUHHFOLQLFDO
     DSSURYHGIRUWKHLQGLFDWLRQRISUHFRFLRXVSXEHUW\             WULDOVIRUWKHSXUSRVHRIGHOD\LQJSXEHUW\IURPLWV
     &RUUHFW"                                                QDWXUDOO\RFFXUULQJWLPHLQFKLOGUHQZKRGRQRWVXIIHU
     $77251(<%25(//,2EMHFWLRQIRUP             IURPSUHFRFLRXVSXEHUW\
     7+(:,71(66<HV                              &RUUHFW"
     %<$77251(<%522.6                                            $77251(<%25(//,2EMHFWLRQIRUP
     41RQHRIWKDWKDVEHHQGRQHIRUDQLQGLFDWLRQRI       7+(:,71(66:HXVHGDWDWKDWZDVQ W
     JHQGHUG\VSKRULDWR\RXUNQRZOHGJH                            SUHVHQWHGWRWKH)'$WRWRORRNDWWKLVWRVHHLILW
     &RUUHFW"                                              LVVDIH,W VDOVREHHQDSSURYHGE\WKH)'$WREHXVHG
     $77251(<%25(//,2EMHFWLRQIRUP             LQDGXOWV$OVREHHQXVHGDQGDSSURYHGIRUIHUWLOLW\
     7+(:,71(66,XVHORWVRIPHGLFDWLRQV         SUHVHUYDWLRQ+DVORWVRIDSSURYDOVWKDWKDYHYHULILHG
     WKDWDUHQ W)'$DSSURYHGIRUWKHSDUWLFXODULQGLFDWLRQV       LWVVDIHW\RYHUWLPH


                                                   3DJH                                                         3DJH
      0DQ\GUXJVLQSHGLDWULFVDUHQRWHYHUWHVWHGLQ                 %<$77251(<%522.6
      FKLOGUHQ,W VMXVWZLWKLQWKHODVWIHZ\HDUVWKDWWKH\        4:HOODPRPHQWDJRZKHQ,DVNHG\RXLI\RXWHOO
      KDYHPDGHDUHFRPPHQGDWLRQWKDWWKDWKDSSHQIRUD               SHRSOHWKH\ZHUHVDIH\RXZHUHQRWTXLWHZLOOLQJWRVD\
      PHGLFDWLRQ6RWKHUHDUHPDQ\GUXJVWKDWKDYHQ WEHHQ          WKDW'R\RXZDQWWRUHYLVHWKDWWHVWLPRQ\"
      )'$DSSURYHGWKDWDUHXVHGLQSHGLDWULFVEDVHGRQ               $77251(<%25(//,2EMHFWLRQIRUP
      LQIRUPDWLRQIRUSDWLHQWVLQDGLIIHUHQWLQGLFDWLRQRU           7+(:,71(66,EHOLHYHDWWKHHQGRI
      DGXOWKRRG                                                      WKDW,ZDVVD\LQJWR\RXWKDWHYHU\SDWLHQWLV
      43XEHUW\EORFNHUVKDYHEHHQWHVWHGWKURXJKSKDVH        GLIIHUHQW7KHUHDUHVRPHWKDWKDYHULVNV:KHQ,IHHO
      RQHSKDVHWZRSKDVHWKUHHFOLQLFDOWULDOVIRUWKH             FRPIRUWDEOHWKDWP\SDWLHQWLQIURQWRIPHGRHVQ WKDYH
     SXUSRVHRISRVWSRQLQJSUHFRFLRXVSXEHUW\XQWLOWKH             WKRVHULVNVEDVHGRQWKHPHGLFDOOLWHUDWXUH,IHHOWKDW
     QRUPDOWLPHSHULRGIRUSXEHUW\                                WKH\ UHVDIHWRXVH,KDYHP\H[SHULHQFH,KDYHVHHQ
     &RUUHFW"7KDW VZKDWKDVEHHQWHVWHG"                  WKHOLWHUDWXUH,IHHO\HV
     $77251(<%25(//,2EMHFWLRQWRIRUP           %<$77251(<%522.6
     7+(:,71(66<HV                              47KHODZWKDW VEHLQJFKDOOHQJHGLQWKLVODZVXLW
     %<$77251(<%522.6                                            GRHVQ WUHVWULFWWKHXVHRISXEHUW\EORFNHUVVRIDUDV
     4$QGQRVXFKWHVWVKDYHEHHQGRQHRUVXEPLWWHGWR      \RXXQGHUVWDQGGRHVLW"
     WKH)'$"                                                   $77251(<%25(//,2EMHFWLRQIRUP
     &28575(3257(5&DQ\RXUHSHDWZKDW\RX        7+(:,71(66,GRQ WUHFDOOWKDWEHLQJ
     VDLGEHFDXVH, PQRWVXUHWKDWODVWTXHVWLRQIXOO\FDPH        SDUWRIWKHODZ
     WKURXJK                                                       %<$77251(<%522.6
     $77251(<%522.67KHODVWTXHVWLRQZDV         4,WGRHVQ WH[FOXGHDQ\RQHIRUSDUWLFLSDWLRQRQ
     DQG,,DGPLWWKDWP\YRLFHDVWKHZLWQHVV V         DQ\WHDPEDVHGRQXVHRISXEHUW\EORFNHUVGRHVLW"
     LVGURSSLQJ:H UHWU\LQJKHUH$QG,'DYH V             $77251(<%25(//,2EMHFWLRQIRUP
     UHVWLQJKLVYRLFHIRUDIHZTXHVWLRQVWRZDUGVWKHHQGRI       7+(:,71(661RWWKDW,UHFDOO


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      %<$77251(<%522.6                                            $77251(<%25(//,2EMHFWLRQIRUP
      4$QG\RXKDYHSUHYLRXVO\WHVWLILHGWKDWLQ\RXU        7+(:,71(66,ZRXOGQRWWKLQNLWZRXOG
      YLHZWKHODZLVXQUHDVRQDEOHLILWH[FOXGHVSUHYHQWV         EHDSSURSULDWHWRSUHVVXUHDQ\RQH
      DQ\LQGLYLGXDOVZLWKDWUDQVJHQGHULGHQWLW\IURPSOD\LQJ       %<$77251(<%522.6
      LQWKHFDWHJRU\WKDWFRUUHVSRQGVWRWKHLUJHQGHU               46RIRULQVWDQFHDODZWKDWVDLGLI\RXWDNH
      LGHQWLW\                                                      SXEHUW\EORFNHUVWKHQ\RXFDQSOD\RQWKHJLUOVWHDPDQG
      &RUUHFW"                                              LI\RXGRQ W\RXFDQ WWKDWZRXOGFDXVH\RXFRQFHUQDV
      $77251(<%25(//,2EMHFWLRQIRUP             DGRFWRUZRXOGLWQRW"
      7+(:,71(667KDWVRXQGVDFFXUDWH             $77251(<%25(//,2EMHFWLRQIRUP
     %<$77251(<%522.6                                           7+(:,71(66,GHDOO\WKH\ZRXOGEHDEOH
     4,GRQ WZDQWWRPLVFKDUDFWHUL]H\RXURSLQLRQ        WRZKHWKHURUQRWWKH\KDYHWKHSXEHUW\EORFNHUVRUQRW
     2ND\                                                SOD\RQWKHWHDPWKDWPDWFKHVWKHLUJHQGHULGHQWLW\
     6RZKDWLVWKHUHOHYDQFHWR\RXURSLQLRQWKDW        %<$77251(<%522.6
     DOOWKHGLVFXVVLRQVLQ\RXUUHSRUWDERXWSXEHUW\              4$QGLGHDOO\DQGIURP\RXUSHUVSHFWLYHDQGLQ
     EORFNHUV"                                                     IDFWLIWKHODZVHWXSDQLQFHQWLYHWKDWVD\V\RXFDQ
     $77251(<%25(//,2EMHFWLRQIRUP            RQO\SOD\RQWKHJLUOV WHDPLI\RXWDNHSXEHUW\
     7+(:,71(666RUU\,QHHGVRPHZDWHU       EORFNHUVDQGLI\RXGRQ W\RX UHIRUFORVHGIURPIHPDOH
     $QGWKHQLI\RXGRQ WPLQGZKLOH, PGRLQJWKDWFRXOG      DWKOHWLFVWKDWZRXOGFDXVH\RXFRQFHUQDVDGRFWRUDV
     \RXSOHDVHUHUHDGWKHTXHVWLRQ6RUU\                      ELDVLQJWKHSDWLHQW VDQGSDUHQWV GHFLVLRQVZRXOGLW
     %<$77251(<%522.6                                           QRW"
     4<HV, OOHYHQZDLWXQWLO\RX YHKDG\RXU           $77251(<%25(//,2EMHFWLRQIRUP
     GULQN                                                        %<$77251(<%522.6
     $6RUU\                                               47KDW VQRWDODZ\RXZRXOGZDQWWRVHHRQWKH
     4, PKLWWLQJWKHERWWRPP\VHOI                       ERRNV"


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      $,W VSROOHQVHDVRQ,W VEDG                        $77251(<%25(//,2EMHFWLRQIRUP
      4,W VMXVWJHWWLQJJRLQJ                              7+(:,71(66,GRQ WWKLQN,ZRXOGZDQW
      $,NQRZ                                               WRVHHWKDWRQWKHERRNV+DYHQ WWKRXJKWWKURXJKHYHU\
      4*LYHQZKDWZHMXVWZDONHGWKURXJK                GHWDLORIWKDWEXW,GRQ WWKLQNVR
      $<HV                                                  %<$77251(<%522.6
      4ZKDWLVWKHUHOHYDQFHRIDOOWKHGLVFXVVLRQ       4<RXDUHDZDUHDUH\RXQRWWKDWDOOWKH
      DERXWSXEHUW\EORFNHUVLQ\RXUH[SHUWUHSRUWDQG               UHFRPPHQGDWLRQVLQWKHJXLGHOLQHVDOVRLQWKH
      UHEXWWDOUHSRUWWRWKHRSLQLRQV\RX UHRIIHULQJLQWKLV        JXLGHOLQHVIURPWKH(QGRFULQH6RFLHW\DERXWWKH
      FDVH"                                                          DGPLQLVWUDWLRQRISXEHUW\EORFNHUVLVDFFRUGLQJWRWKH
     $77251(<%25(//,2EMHFWLRQIRUP            FRPPLWWHHWKDWSUHSDUHVWKRVHUHFRPPHQGDWLRQEDVHGRQ
     7+(:,71(666RP\SDUWRIWKLVLVWR         HLWKHUORZTXDOLW\RUYHU\ORZTXDOLW\HYLGHQFH
     WDONDERXWZKDWFDUHLVIRUSHRSOHZKRDUHWUDQVJHQGHU        5LJKW"
     DQGZKDWPHGLFDWLRQVWKH\PLJKWEHRQDQGZKDW                $<RXNQRZDOOUHFRPPHQGDWLRQSXWWRJHWKHUDUH
     WUHDWPHQWVPLJKWEHLGHDOIRUWKHP                           JUDGHGZLWKHYLGHQFHDQGLW VLQWKHUHSRUWZHXVH
     %<$77251(<%522.6                                           WKHPQRWLQWKHUHSRUWLQWKHJXLGHOLQHV$QGZH
     4<RX YHWDONHGDERXWKRZHDFK\RXZDQWWR         XVHORWVRIJXLGHOLQHVWKDWKDYHORZTXDOLW\WRKHOS
     WUHDWHDFKSDWLHQWGLIIHUHQWO\<RXZDQWWREHYHU\          JXLGHRXUFDUH
     FDUHIXODERXWWKHLUWUHDWPHQWFKRLFHVWKHLUSDUHQWV          4/RZTXDOLW\HYLGHQFHPHDQVWKDW\RXDVD
     WUHDWPHQWFKRLFHVWKDWWKH\XQGHUVWDQGDOORIWKH            VFLHQWLVW\RXDVDGRFWRUFDQ WEHYHU\FRQILGDQWWKDW
     FRQVLGHUDWLRQV                                               WKHUHFRPPHQGDWLRQZLOOUHVXOWLQEHQHILFLDOUHVXOWV
     :RXOGLWFDXVH\RXFRQFHUQLI:HVW9LUJLQLDSXW      7KDWLVNLQGRIWKHPHDQLQJRIORZTXDOLW\HYLGHQFH
     LQWRSODFHDODZWKDWFUHDWHGLQFHQWLYHVRUSUHVVXUHVRQ      5LJKW"
     SDUHQWVDQGFKLOGUHQWRPDNHGHFLVLRQVDERXWSXEHUW\          $77251(<%25(//,2EMHFWLRQWRIRUP
     EORFNHUVDWDQHDUO\VWDJH"                                   7+(:,71(66,ZRXOGVXJJHVWLWJLYHVXV


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                                                   3DJH                                                        3DJH
      DSODFHWRVWDUWDQGZHQHHGWREHYHU\PLQGIXOZKHQ            &28575(3257(5,ORVW\RXDWFRJQLWLYH
      XVLQJWKDWLQIRUPDWLRQDVWRKRZZHDSSO\LW                   DQGWKHQ,GLGQ WKHDUDQ\WKLQJIRUOLNHVHFRQGV6R
      $77251(<%25(//,                                ,ZDVQ WVXUHLI\RXZHUHVWLOOWDONLQJVLQFH,FDQ W
      :K\GRQ WZHJRDKHDGDQGWDNHDQRWKHU           VHH\RX
      EUHDN"                                                          $77251(<%522.62IFRXUVH$QG,ZDV
      $77251(<%522.6/HWPHMXVWDVNWKH            6RJROO\
      FRXUWUHSRUWHUKRZPDQ\KRZPXFKPRUHWLPHLQWKH           &28575(3257(57KDQN\RX
      VHYHQR FORFNKRXUV                                            %<$77251(<%522.6
      &28575(3257(5:H UHDWVL[KRXUVDQG          46R, PJRLQJWRSLFNXSWKDWTXHVWLRQDJDLQ
     VL[PLQXWHVVRPLQXWHV                                    ,QWKHSDUDJUDSKWKDWZH UHORRNLQJDWLQ
     $77251(<%522.62ND\:H OOWDNHWKDW        FROXPQRQHRISDJHWKHFRPPLWWHHZULWHVWKDWWKLQJV
     EUHDN$EVROXWHO\                                            WKDWQHHGWREHEHWWHUVWXGLHGLQFOXGHTXRWHWKH
                                      HIIHFWVRISURORQJHGGHOD\RISXEHUW\LQDGROHVFHQFHRQ
      :+(5(8321$3$86(,17+(5(&25':$6+(/'                    ERQHKHDOWKJRQDGDOIXQFWLRQDQGWKHEUDLQLQFOXGLQJ
                                      HIIHFWVRQFRJQLWLYHHPRWLRQDOVRFLDODQGVH[XDO
     $77251(<%522.6                                GHYHORSPHQWFORVHGTXRWH
     $OOULJKW:HZLOOUHVXPH                     'U$GNLQVLVLW\RXUXQGHUVWDQGLQJWKDWWKH
     %<$77251(<%522.6                                            FRPPLWWHHKHUHLVVD\LQJWKDWWKHUH VQRW\HWDGHTXDWH
     4'U$GNLQVRQFHDJDLQ,ZLOOGLUHFW\RXWRWKH       VFLHQWLILFHYDOXDWLRQRIWKHLPSDFWRISXEHUW\EORFNHUV
     (QGRFULQH6RFLHW\JXLGHOLQHV([KLELWDQGDVN\RXWR        RQWKHEUDLQ"
     WXUQZLWKPHWRSDJHDQGFROXPQWZRFROXPQRQH       $77251(<%25(//,2EMHFWLRQIRUP
     , PVRUU\                                                7+(:,71(666R\RXNQRZWKH
     $&ROXPQ"                                           UHFRPPHQGDWLRQE\WKHVDPHJURXSLVWKDWLQVRPH
     4&ROXPQRQH$QGWRZDUGVWKHERWWRPSHQXOWLPDWH      SDWLHQWVWKLVLVWKHDSSURDFKWKDWWKDWLVXVHG


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      SDUDJUDSKEHJLQVLQWKHIXWXUHZHQHHG'R\RXVHH             &HUWDLQO\ZHDOOZHOFRPHPRUHUHVHDUFK:HDOOZDQWWR
      WKDW"                                                           NQRZLIDQ\WKLQJLVGLIIHUHQWIURPWKHLQIRUPDWLRQWKDW
      $,GR                                                  ZHKDYHDVPHQWLRQHGEHIRUHIRUXVHRIWKLVPHGLFDWLRQ
      4$QGLWVD\VLQWKHIXWXUHWKLVLVLQWKH           LQRWKHUDUHDVZKHUHZH UHQRWVHHLQJDQ\HIIHFWRQ
      SUHOLPLQDU\VHFWLRQ%HIRUHWKHVSHFLILF                       WKHVHWKLQJV
      UHFRPPHQGDWLRQVLWVD\VTXRWHLQWKHIXWXUHZHQHHG           %<$77251(<%522.6
      PRUHULJRURXVHYDOXDWLRQVRIWKHHIIHFWLYHQHVVDQG              4,VLWFRQVLVWHQWZLWK\RXUXQGHUVWDQGLQJDVD
      VDIHW\RIHQGRFULQHDQGVXUJLFDOSURWRFROV$QGLWJRHV        GRFWRUWKDWWKHGHYHORSPHQWRIWKHEUDLQLQWXUQDIIHFWV
      RQWKHQWRVD\VSHFLILFDOO\HQGRFULQHSURWRFRO              FRJQLWLYHHPRWLRQDOVRFLDODQGVH[XDOGHYHORSPHQW"
     VSHFLILFDOO\HQGRFULQHWUHDWPHQWSURWRFROVIRU*'JHQGHU       $77251(<%25(//,2EMHFWLRQIRUP
     LQFRQJUXHQFHVKRXOGLQFOXGHWKHFDUHIXODVVHVVPHQWRI          7+(:,71(667KHEUDLQKDVHIIHFWVLQ
     WKHIROORZLQJ$QGLWOLVWVDQXPEHURIWKLQJVWKH           DOOWKRVHDUHDV
     HIIHFWLYHSURORQJHGGHOD\RISXEHUW\LQDGROHVFHQFHRQ         %<$77251(<%522.6
     ERQHKHDOWKJRQDGDOIXQFWLRQDQGWKHEUDLQLQFOXGLQJ         47R\RXUNQRZOHGJHLWKDVHIIHFWVWKDWFKDQJH
     HIIHFWVRQFRJQLWLYHHPRWLRQDOHPRWLRQDOVRFLDO          DFURVVWKHFRXUVHRISXEHUW\LQDOOWKRVHDUHDV
     DQGVH[XDOGHYHORSPHQW                                        &RUUHFW"
     +DYH,ZLWKYDULRXVFRUUHFWLRQVUHDGWKDW             $77251(<%25(//,2EMHFWLRQIRUP
     FRUUHFWO\"                                                     7+(:,71(66<HVWKH\ UHDOO
     $<HV                                                  LQWHUUHODWHGDQGWKH\ UHRFFXUULQJDOODWWKHVDPHWLPH
     46RDVRILQWKHRSLQLRQRIWKHFRPPLWWHH        $77251(<%522.6/HWPHPDUNDV([KLELW
     WKDWSXWWRJHWKHUWKHVHJXLGHOLQHV                        DGRFXPHQWWKDWLVWLWOHG7HHQDJH%UDLQ$ZRUNLQ
     &28575(3257(5([FXVHPH,GRQ WNQRZ       3URJUHVVZKLFKLVDPLQIRUPDWLRQVKHHWWKDWLV
     LI\RX UHVSHDNLQJEXW,ORVW\RXDWFRJQLWLYH               DWWULEXWHVLWVHOIWRWKH1DWLRQDO,QVWLWXWHRI0HQWDO
     $77251(<%522.6, PVRUU\"                    +HDOWKZKLFK,EHOLHYHZHGLVFXVVHGHDUOLHU7DE


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      <HVWKDQN\RX, PVRUU\,EHOLHYH,VDLGLW([KLELW        WKLQNLQJSDUWRIWKHEUDLQKDSSHQVVRPHWLPHDELWDIWHU
                                                                   WKHEHJLQQLQJRI7DQQHUVWDJHWZRDFFRUGLQJWRWKLV
                                        GHVFULSWLRQKHUH"
       :KHUHXSRQ$GNLQV([KLELW1,0+              $77251(<%25(//,2EMHFWLRQIRUP
      ,QIRUPDWLRQ6KHHWZDVPDUNHGIRU               7+(:,71(666ROHWPHUHDGLWP\VHOI
      LGHQWLILFDWLRQ                                 %<$77251(<%522.6
                                        46XUH
      %<$77251(<%522.6                                             $:KDW\RXUHDGZDVLWVWDUWVEHIRUHWKDW6R
      46R,ZRXOGOLNHWRWDONIRUDPRPHQWDERXWWKH         ,MXVWZDQWWRUHDGLW
     LPSDFWRISXEHUW\DQGWKHUHIRUHSXEHUW\EORFNDGHRQ            4,GLGPLVVSHDN/HWPHMXVWUHDVNP\TXHVWLRQ
     EUDLQGHYHORSPHQW2QWKHVHFRQGSDJHDWWKHPRUH             
     LQIRUPDWLRQZHVHHFRQWDFWLQIRUPDWLRQDWWKH1DWLRQDO        $2ND\
     ,QVWLWXWHRI0HQWDO+HDOWK$QG,GRQ WZDQWWR               4EHFDXVH,PL[HGXSSHDNVDQGVWDUWVULJKW
     PLVUHSUHVHQWGLG\RXHDUOLHUWHVWLI\WKDWLVDZHOO           WKDWZDVWKHSUREOHP
     NQRZQDQGUHVSHFWHGVRXUFHRILQIRUPDWLRQDERXWPHQWDO         $FFRUGLQJWRWKHGHVFULSWLRQKHUHWKLVVHFRQG
     KHDOWKWKHUDSLHV"                                              ZDYHRIGHYHORSPHQWRIWKHWKLQNLQJSDUWRIWKHEUDLQ
     $77251(<%25(//,2EMHFWLRQIRUP             WKHJUD\PDWWHUSHDNVDWVRPHWLPHDIWHUWKHEHJLQQLQJ
     7+(:,71(66<HV                              RI7DQQHUVWDJHWZR"
     %<$77251(<%522.6                                            $77251(<%25(//,2EMHFWLRQIRUP
     4$QGOHWPHWDNH\RXWRSDJHRQH$QG, PVLPSO\      7+(:,71(663HDNV\HV
     XVLQJWKLVWRSLQGRZQDIHZNLQGRIEDVLFSRLQWV,Q         %<$77251(<%522.6
     WKHVHFRQGFROXPQRXWRIWKUHHWZRWKLUGVRIWKHZD\          4$QGLVLWFRQVLVWHQWZLWK\RXUXQGHUVWDQGLQJ
     GRZQWKUHHTXDUWHUVRIWKHZD\GRZQZHOOWKH             WKDWWKHJUD\PDWWHULQWKHEUDLQLVWKHWKLQNLQJSDUW
     VHQWHQFHEHJLQVKDOIZD\GRZQ,QWKHILUVWVXFK               RIWKHEUDLQRULVWKDWUHDOO\RXWVLGH\RXUH[SHUWLVH


                                                   3DJH                                                         3DJH
      ORQJLWXGLQDOVWXG\RIFKLOGUHQ'R\RXVHHWKDW"           JLYHQWKDW\RX UHQRWDQHXURORJLVW"
      $,VHHWKDW                                            $77251(<%25(//,2EMHFWLRQIRUP
      4$QGLWJRHVRQWRGHVFULEHUHVHDUFKWKDW               7+(:,71(66,WKLQNWKDWWKDWLVEDVLF
      GLVFRYHUHGWKHVHFRQGZDYHRIRYHUSURGXFWLRQRIJUD\            HQRXJKLQPHGLFDOVFKRROWKDW,FDQDJUHHZLWKWKDW
      PDWWHUZKLFKLWUHIHUVWRDVTXRWHWKHWKLQNLQJSDUW         %<$77251(<%522.6
      RIWKHEUDLQMXVWSULRUWRSXEHUW\'R\RXVHHWKDW"          42ND\
      $,GR                                                  $QGLQWKHQH[WFROXPQDERXWWKHVDPHGLVWDQFH
      4$QGLWJRHVRQWRVD\WKDWWKLVVHFRQG                 GRZQLWUHDGVTXRWHWKHJUD\PDWWHUVSXUWJURZWK
      RYHUSURGXFWLRQSHDNVDWDURXQGDJHLQJLUOVDQGLQ        VSXUWMXVWSULRUWRSXEHUW\ZH YHDOUHDG\WDONHG
     ER\V'R\RXVHHWKDW"                                        DERXWWKHWLPLQJSUHGRPLQDWHVLQWKHIURQWDOOREH
     $<HV                                                  ZKLFKLWJRHVRQWRVD\LVWKHVHDWRITXRWHH[HFXWLYH
     4$QGDFFRUGLQJWR\RXUHDUOLHUWHVWLPRQ\WKDWLV      IXQFWLRQVSODQQLQJLPSXOVHFRQWURODQGUHDVRQLQJ
     SUREDEO\DELWLQWRRQDYHUDJHDELWLQWR7DQQHU           FORVHGTXRWH
     VWDJHWZR                                                     'R\RXVHHWKDW"
     &RUUHFW"                                              $,GR
     $77251(<%25(//,2EMHFWLRQIRUP             4$QGLVLWZLWKLQ\RXUNQRZOHGJHRUQRWZLWKLQ
     7+(:,71(66,QJHQHUDO                       \RXUNQRZOHGJHWKDWWKHIURQWDOOREHLVWKHVHDWRI
     %<$77251(<%522.6                                            H[HFXWLYHIXQFWLRQVLQFOXGLQJSODQQLQJLPSXOVHFRQWURO
     46RDOLWWOHODWHUWKDQWKHEHJLQQLQJRI7DQQHU        DQGUHDVRQLQJ"
     VWDJHWZR"                                                     $77251(<%25(//,2EMHFWLRQIRUP
     $77251(<%25(//,2EMHFWLRQIRUP             7+(:,71(667KDWLVZKDWP\HGXFDWLRQ
     7+(:,71(66%DVHGRQDYHUDJHV\HV           KDVLQIRUPHGPH
     %<$77251(<%522.6                                            %<$77251(<%522.6
     46RWKLVVHFRQGZDYHRIGHYHORSPHQWRIWKH             4$QGFHUWDLQO\DOORIXV\RXZKRKDYHUDLVHG


                                                                                        3DJHVWR
                Case: 22-5807
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                                                    3DJH                                                        3DJH
      FKLOGUHQKDYHJUDWHIXOO\VHHQWKDWSODQQLQJLPSXOVH            41RZDOOWKHVDPHEUDLQDQGERGLO\GHYHORSPHQW
      FRQWURODQGUHDVRQLQJLPSURYHDFURVVWKH\HDUVRI               LVDUHDOO\ELJDEVROXWHVWDWHPHQWLVQ WLW"
      SXEHUW\                                                        $77251(<%25(//,2EMHFWLRQIRUP
      5LJKW"                                                 7+(:,71(667KHUHDUH\RXNQRZIRU
      $77251(<%25(//,2EMHFWLRQIRUP              WKHPRVWSDUWSHRSOHJRWKURXJKLWLQWKLVPDQQHU2I
      %<$77251(<%522.6                                             FRXUVHDJDLQZLWKPHGLFLQH\RXFDQ WVD\SHUFHQW
      40D\EHVRPHXSVDQGVRPHGRZQV"                         %<$77251(<%522.6
      $, PDPMXVWKDSS\WKDWLWFRQWLQXRXVO\LPSURYHV        4:HOOVSHFLILFDOO\DVDVFLHQWLVWEDVHGRQWKH
      WKHZKROHWLPH                                                 LQIRUPDWLRQDYDLODEOHWR\RX\RXFDQ WVD\ZLWK
     4,ZRQ WSUHVV,ZRQ WSUHVWKHTXHVWLRQ          FRQILGHQFHWKDWSDWLHQWVZKRDUHWUHDWHGZLWKSXEHUW\
     +DYH\RX\RXUVHOIDWWHPSWHGWRPDNHDQ\VWXG\RIWKH         GHOD\LQJPHGLFDWLRQXQGHUJRDOOWKHVDPHEUDLQDQG
     WLPLQJRIEUDLQJUD\PDWWHUGHYHORSPHQWDQGWKHUROHRI        ERGLO\V\VWHPGHYHORSPHQWFDQ\RX"
     SXEHUW\KRUPRQHVLQSURPRWLQJWKDWGHYHORSPHQW"                $77251(<%25(//,2EMHFWLRQIRUP
     $77251(<%25(//,2EMHFWLRQIRUP             7+(:,71(66,XVHGWKHPHGLFDWLRQIRU
     7+(:,71(66,KDYHQRW                       DOORIP\FDUHHU,KDYHIROORZHGSDWLHQWVWKURXJK
     %<$77251(<%522.6                                            WKHLULQWRWKHLUSXEHUW\LQWKHLUJURZWK:KHQ
     4:KDWVWXG\LIDQ\KDYH\RXPDGHRIWKHHIIHFWV      WKH\DUHGRQHZLWKWKHLUSXEHUWDOGHYHORSPHQWZHKDYH
     RIEORFNLQJSXEHUW\DQGWKHLQFUHDVHGOHYHORIKRUPRQHV        QRWVHHQDQ\GHILQDEOHFRJQLWLYHGHYHORSPHQWDOLVVXHV
     DVVRFLDWHGZLWKSXEHUW\RQWKLVJURZWKVSXUWLQWKH            ZLWKWKHP+DYHQ WEHHQDEOHWRLGHQWLI\WKDWZLWKDQ\
     WKLQNLQJSDUWRIWKHEUDLQWKDWRWKHUZLVHSHDNVDW             RIP\SDWLHQWVLQFOXGLQJSUHFRFLRXVSXEHUW\7KHUH V
     DURXQGLQJLUOVDQGLQER\V"                             QRWEHHQDQ\HYLGHQFHLQWKHOLWHUDWXUHRYHUD\HDU V
     $77251(<%25(//,2EMHFWLRQIRUP             ZRUWKRIXVHRIWKLVPHGLFDWLRQWKDWWKHUH VDQ\WKLQJ
     7+(:,71(66,KDYHQRWGRQHWKDWVWXG\       GLIIHUHQWKDSSHQLQJWRWKHVHLQGLYLGXDOV
     ,GRQ WVHHLWKHUHHLWKHU                                    %<$77251(<%522.6


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      %<$77251(<%522.6                                             4:HOO\RXDOVRKDYHQ WGRQHDQ\V\VWHPDWLFVWXG\
      4<RXVDLGLQ\RXUUHEXWWDOUHSRUWSDUDJUDSK        RIFRJQLWLYHGHYHORSPHQWRIWKRVHIRUZKRP\RXKDYH
      WKDWSDWLHQWVZLWKJHQGHUG\VSKRULDZKRDUHWUHDWHGZLWK        SUHVFULEHGSXEHUW\EORFNHUVDVFRPSDUHGWRLQDFRQWURO
      SXEHUW\GHOD\LQJPHGLFDWLRQXQGHUJRKRUPRQDOSXEHUW\            JURXSKDYH\RX"
      ZLWKDOOWKHVDPHEUDLQDQGRWKHUERGLO\V\VWHP                 $77251(<%25(//,2EMHFWLRQIRUP
      GHYHORSPHQW'R\RXUHFDOOZULWLQJWKDW"                       7+(:,71(661RWSHUVRQDOO\
      $77251(<%25(//,2EMHFWLRQIRUP              %<$77251(<%522.6
      7+(:,71(66, PVRUU\FRXOG\RX"          4$QGWKHWKH(QGRFULQH6RFLHW\OHW
      %<$77251(<%522.6                                             PHDVN\RXWRWXUQLQ([KLELWWRSDJH$QGZH
     45LJKWLQIURQWRI\RX<RXUUHEXWWDOUHSRUWLV       DUHLQWKHVHFWLRQKHUHWKDWGLVFXVVHVDUHFRPPHQGDWLRQ
     ([KLELW"                                                 WRXVH*51+IRUSXUSRVHVRISXEHUW\VXSSUHVVLRQZKHQ
     $,JRWLW                                             SXEHUW\VXSSUHVVLRQLVLQGLFDWHG'R\RXVHHWKDW"
     43DUDJUDSK                                         7KDWKHDGLQJLVRQWKHSUHYLRXVSDJH
     $7KDQN\RXIRU\RXUSDWLHQFH                          $,VHHWKDW
     4+HUHOHWPHMXVWILQGLW/HWPHVHHKHUH          4-XVWZDQWHGWRORFDWH\RXLQWKHGLVFXVVLRQ
     $QGWKHVHFRQGVHQWHQFHVD\VTXRWHSDWLHQWVZLWK             ZH UHWDONLQJDERXWSXEHUW\VXSSUHVVLRQ1RZEDFNWR
     JHQGHUG\VSKRULDWUHDWHGZLWKSXEHUW\GHOD\LQJ                 $QGWKHILUVWWKLQJWKHILUVWVHQWHQFHXQGHU
     PHGLFDWLRQXQGHUJRKRUPRQDOSXEHUW\ZLWKDOOWKHVDPH          WKHKHDGLQJVLGHHIIHFWVVWDWHVWKDWTXRWHWKHSULPDU\
     EUDLQDQGRWKHUERGLO\V\VWHPGHYHORSPHQWFORVHGTXRWH       ULVNVRISXEHUW\VXSSUHVVLRQLQ*'JHQGHULQFRQJUXHQW
     'R\RXVHHWKDW"                                               DGROHVFHQWVPD\LQFOXGHDQGWKHQLWOLVWVDQXPEHURI
     $2KZDLW,PXVWEHORRNLQJDWWKHZURQJSODFH      WKLQJVRQHRIZKLFKLVTXRWHXQNQRZQHIIHFWVRQEUDLQ
     43DUDJUDSKVHFRQGVHQWHQFH,WUXQVRYHUWKH      GHYHORSPHQWFORVHGTXRWH'R\RXVHHWKDW"
     SDJH"                                                          $,GR
     $,VHH,VHH<HDK,VHHWKDW                    46RWKHFRPPLWWHHWKDWSXWWRJHWKHUWKH(QGRFULQH


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     6RFLHW\JXLGHOLQHVWKRXJKWWKDWWKHSRWHQWLDOHIIHFWVRI               GHYHORSPHQWV7KHRQO\VRXUFH\RXFLWHLQVXSSRUWRI
     SXEHUW\VXSSUHVVLRQRQEUDLQGHYHORSPHQWZHUHDWDW               WKDWLVDDUWLFOHE\6WDSKRUVLXV
     OHDVWXQNQRZQ<RXMXVWGLVDJUHHG"                                    &RUUHFW"
     $77251(<%25(//,2EMHFWLRQIRUP                     $,ZRXOGKDYHWRORRNDWLWDQGYHULI\WKDW
     7+(:,71(66,GRQ WKDYHDQ\UHDVRQWR                4)RUW\WKUHH  
     EHOLHYHWKDWWKHUH VDQ\GLIIHUHQWHIIHFWRQLQGLYLGXDOV               $:KLFKH[KLELWZHUH\RX"
     EDVHGRQWKHUHVHDUFKIURPHDUO\SXEHUW\DQGWKHVWXGLHV               4,KDYHQRWJLYHQLWWR\RX\HW,DSRORJL]H
     WKDW,PHDQVRUU\P\H[SHULHQFHZLWKWKRVH                       $1R,PHDQ
     SDWLHQWV,ZRXOGZDQWWREHZDWFKIXORIWKRVH                        42KLWZDVSDUDJUDSKLQ\RXUUHEXWWDOUHSRUW
    LQGLYLGXDOVDV,ZRXOGDOZD\VZKRXVHDQ\PHGLFDWLRQIRU              ZKLFKLV
    SRWHQWLDOLVVXHV                                                     $2ND\
    %<$77251(<%522.6                                                   4$OOULJKW
    4(QGRFULQH6RFLHW\WKLQNVWKHHIIHFWRQEUDLQ                 'LG\RXFDUHIXOO\UHDGWKH6WDSKRUVLXVDUWLFOH
    GHYHORSPHQWLVXQNQRZQDQG\RXWKRXJK\RXKDYHGRQHQR               WKDW\RXFLWHGLQSDUDJUDSKRI\RXUUHEXWWDOUHSRUW"
    V\VWHPDWLFVWXG\DUHRIWKHYLHZWKDW\RXNQRZWKDWLV               $$WVRPHSRLQWLQWLPH,KDYHUHDGWKDW\HV
    QRWKDUPIXOWREUDLQGHYHORSPHQW$P,DFFXUDWHO\                    4$UH\RXDEOHWRGHVFULEHWKHH[SHULPHQWWKDWLV
    VXPPDUL]LQJ\RXUWHVWLPRQ\"                                           WKHVWXG\WKDWZDVGRQHLQWKLV6WDSKRUVLXVUHSRUW
    $77251(<%25(//,2EMHFWLRQ                          RUWKH6WDSKRUVLXVDUWLFOH"
    7+(:,71(661R                                      $77251(<%25(//,2EMHFWLRQ
    %<$77251(<%522.6                                                   7+(:,71(66, PQRWIDPLOLDU
    4/HWPHDVNLWDGLIIHUHQWZD\LIWKDWZDVLQ                 %<$77251(<%522.6
    DFFXUDWH                                                             4<RXVD\DOVRLQSDUDJUDSKRI\RXUUHEXWWDO
    $,DPWU\LQJWRWHOO\RXWKDW\RXDUHDEOHWR                 UHSRUWWKDW'U/HYLQH VFODLPVZLWKUHJDUGWRFRQFHUQ
    ORRNDWWKHXVHRIWKLVPHGLFDWLRQLQHDUO\SXEHUWDO                  DERXWEUDLQGHYHORSPHQWLVTXRWHLQDFFXUDWHIRUWKH


                                                              3DJH                                                    3DJH
      SDWLHQWVDQGVHHZKDWKDSSHQVWRWKRVHLQGLYLGXDOV                   DGGLWLRQDOUHDVRQWKDWVRPHSHRSOHQHYHUJRWKURXJK
      7KRVHRXWFRPHVFDQEHXVHGWRJLYH\RXVRPHLQIHUHQFHDV              KRUPRQDOSXEHUW\VXFKDVSDWLHQWVZLWK7XUQHUV\QGURPH
      WRZKDWPLJKWSRWHQWLDOO\KDSSHQLI\RXXVHLWODWHURQ               DQGVWLOOKDYHQRUPDOEUDLQGHYHORSPHQWZLWKUHVSHFWWR
      IRUWKHVDPHSXUSRVHRIGHOD\LQJSXEHUW\,WGRHVQ W                 FRJQLWLRQDQGH[HFXWLYHIXQFWLRQ'R\RXVHHWKDW
      GRHVQ WZKROO\UXOHRXWVRPHWKLQJGLIIHUHQW                      ODQJXDJH"
      4$QGLQGHHGVLPSO\EDVHGRQREVHUYDWLRQ                     $<HV
      QRQV\VWHPDWLFREVHUYDWLRQVIURPRQHFOLQLFLW VQRW                  4$QG\RXGRQ WFLWHDQ\WKLQJIRUWKDW:KDWLV
      SRVVLEOHWRUXOHRXWKDUPIXOHIIHFWVRQEUDLQ                         WKHEDVLVIRUWKDWDVVHUWLRQ"
      GHYHORSPHQWLVLW"                                                   $6RZKHQ\RXORRNDWWKHLQIRUPDWLRQUHJDUGLQJ
     $77251(<%25(//,2EMHFWLRQIRUP                   7XUQHUV\QGURPHZLWKLQWKHPHGLFDOOLWHUDWXUHDVZHOODV
     7+(:,71(66, PQRWVXUHWKDWWKHUH V               WKHP\ZRUNZLWK0DUVKD*DYHQSRUWDW81&ZKRUXQV
     DQ\VWXG\\RXFRXOGGRWRFRPSOHWHO\UROHRXWDQ\HIIHFW             UDQWKHELJJHVW7XUQHUV\QGURPHUHJLVWU\LQWKDW
     DQ\VSHFLILFHIIHFW/RWVRILQGLYLGXDOVKDYH                   H[SHULHQFHZHGLGQRWVHHDQ\SDWLHQWVWKDWKDGSUREOHPV
     GLIIHUHQWHIIHFWV                                                   ZLWKWKHUHPD\KDYHEHHQVRPHWKDWZHUHKDGVRUW
     %<$77251(<%522.6                                                  RILVVXHVZLWKYLVXDOVSDWLDOVNLOOVEXWQRWFRJQLWLYH
     4$QG\RXLQ\RXUFOLQLFKDYHQ WDWWHPSWHGDQ\                LVVXHV,QIDFW,KDYHSDUWQHUVWKDWDUHZRPHQZLWK
     VWXG\"                                                               7XUQHUV\QGURPHWKDWSUDFWLFHPHGLFLQH
     $77251(<%25(//,2EMHFWLRQIRUP                   4<RXZLOODJUHHZLWKPHDVDVFLHQWLVWZLOO\RX
     7+(:,71(66,KDYHQRWGRQHDVWXG\                QRWWKDWNLQGRIDQHFGRWDOLQIRUPDWLRQDERXWD
     %<$77251(<%522.6                                                  SDUWLFXODUSHUVRQ\RXNQRZLVQRWYHU\ZHLJKW\HYLGHQFH
     4/HWPHKDYHWDE,Q\RXUUHSRUW\RXDVVHUWHG            DVWRZKHWKHUKRUPRQHFKDQJHVDVVRFLDWHGZLWKSXEHUW\
     WKDWWKRVHWUHDWHGZLWKJHQGHUG\VSKRULDXQGHUJR, P             DUHJHQHUDOO\LPSRUWDQWWRFRJQLWLYHGHYHORSPHQWRI
     VRUU\WKRVHWUHDWHGZLWKSXEHUW\GHOD\LQJPHGLFDWLRQ                KXPDQV"
     H[SHULHQFHDOOWKHVDPHEUDLQDQGRWKHUERGLO\V\VWHP                $77251(<%25(//,2EMHFWLRQIRUP



                                                                                              3DJHVWR
                Case: 22-5807
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                                                   3DJH                                                         3DJH
      7+(:,71(66:HFDQGHOYHLQWR7XUQHU           4$QGWKRVHDUHVWDJHVWKDWDVZHORRNHGDWLQ
      V\QGURPHOLWHUDWXUH                                            HDUOLHUGRFXPHQWLQFOXGHFRJQLWLRQVRFLDOVNLOOV
      %<$77251(<%522.6                                             VH[XDOGHYHORSPHQW"
      4:HOO'U$GNLQV,KRSH\RXXQGHUVWDQGWKDW           $77251(<%25(//,2EMHFWLRQIRUP
      \RXUREOLJDWLRQWRSUHSDUHDQH[SHUWUHSRUWZDVWR              7+(:,71(666R\RXNQRZWKDWLVZKDW
      SURYLGH\RXURSLQLRQVDQGWKHEDVLVRI\RXURSLQLRQV           LVZDVZULWWHQWKHUH,DJUHHWKDWWKDWFDQEH
      :KDWOLWHUDWXUHDUH\RXUHO\LQJRQ"                             DIIHFWHGE\WKRVHE\SXEHUW\,DOVRGRQ WVHHLQ
      $77251(<%25(//,2EMHFWLRQIRUP               DQ\RIWKHOLWHUDWXUHDURXQGSHRSOHZKRKDYHQ WJRQH
      7+(:,71(66(YHU\WH[WERRNWKDWWDONV          ZLWKWKURXJKSXEHUW\DQ\PHQWLRQRIDQ\RIWKH
     DERXW7XUQHUV\QGURPHZLWKUHJDUGWRWKHVHSDWLHQWV            FRQFHUQLQJFRJQLWLYHGHOD\VRURWKHULVVXHVDJDLQ
     WDONVDERXWDQ\RIWKHLVVXHVWKDWJRDORQJZLWKWKDW         YLVXDOVSDWLDOKDVEHHQPHQWLRQHG
     ,DQGWKDW VVRPHWKLQJZHVWXG\LQRXUWUDLQLQJDVD       %<$77251(<%522.6
     SHGLDWULFHQGRFULQRORJLVWVEHFDXVHZHVHHWKHVHSDWLHQWV       49LVXDOVSDWLDOFDQ\RXMXVWIRUWKH
     URXWLQHO\6RWKDWKDVEHHQP\H[SHULHQFHDQGWUDLQLQJ       XQLQLWLDWHGWKHOD\PDQFDQ\RXH[SODLQZKDW\RX UH
     %<$77251(<%522.6                                            UHIHUULQJWR"
     4:HOOFDQ\RXLGHQWLI\HYHU\LVQRWYHU\          $)RUWKHXVHRIOLNHGULYLQJDFDUORRNLQJDW
     XVHIXO&DQ\RXLGHQWLI\IRUPHDVLQJOHVRXUFHWKDW          VRPHWKLQJDQGEHLQJDEOHWRHVWLPDWHZKHUHLWLVRU
     UHSRUWVEDVHGRQVWDWLVWLFDOO\VLJQLILFDQWVWXGLHVWKDW        WKRVHVRUWVRIWKLQJVQDYLJDWLQJZLWKDPDSYHUVXVQRW
     LQGLYLGXDOVZKRQHYHUJRWKURXJKSXEHUW\H[SHULHQFHDOO        $77251(<%522.6/HWPHDVNWKHFRXUW
     WKHVDPHEUDLQGHYHORSPHQWDVLQGLYLGXDOVZKRGRJR            UHSRUWHUKRZPDQ\PLQXWHVZHVWLOOKDYHRQWKHFORFN
     WKURXJKSXEHUW\"                                               &28575(3257(5:H UHDWVL[KRXUV
     $77251(<%25(//,2EMHFWLRQIRUP             PLQXWHVVR
     7+(:,71(66,ZRXOGKDYHWRORRNEDFN         $77251(<%522.6:HOO,KDGSURPLVHGWR
     LQWKHOLWHUDWXUHRQWKRVHUHSRUWVEHFDXVHZHWUHDW            KDQGLWRYHUZLWKPLQXWHVWRJRVR,KDYHEURNHQP\


                                                   3DJH                                                         3DJH
      SDWLHQWVQRZZKHQZHUHDOL]HWKH\DUHQRWJRLQJWKURXJK         ZRUG$QG,ZLOOVWRSDQGOHDYHWKHUHPDLQGHURIWKH
      SXEHUW\,FDQ WGRWKDWRIIWKHWRSRIP\KHDG               WLPHWRFRXQVHOIRUWKH6WDWHRI:HVW9LUJLQLD'DYH
      %<$77251(<%522.6                                             7U\RQ
      4$QGDUH\RXQRZFRQWHQGLQJWKDWLWLVQRWZLGHO\       
      DFFHSWHGWKDWKRUPRQDOFKDQJHVDVVRFLDWHGZLWKSXEHUW\          (;$0,1$7,21
      GULYHLPSRUWDQWVWDJHVRIEUDLQJURZWK"                         
      $77251(<%25(//,2EMHFWLRQIRUP               %<$77251(<75<21
      7+(:,71(66, PQRWVD\LQJWKDW:KDW         4+HOOR'U$GNLQV/RQJGD\,DSSUHFLDWH\RXU
      , PVD\LQJLVWKHUHDUHVRPHWKLQJVWKDWDUHVSHFLILF           WLPH0\QDPHLV'DYLG7U\RQDQG,GRUHSUHVHQWWKH
     DQG\RX UHJHQHUDOL]LQJP\WHUPV                              6WDWHRI:HVW9LUJLQLD,ZRXOGOLNHMXVWWR
     %<$77251(<%522.6                                            $<RX UHFXWWLQJRXW
     42ND\                                                 42ND\
     :HOOIOLSSLQJLWDURXQG\RXKDYHDOVREHHQ          $77251(<%522.6<RXDUHJRLQJWRKDYH
     WDXJKWZKHWKHURUQRWLW VLIZH UHVSHDNLQJLQWKH        WRVSHDNXSYHU\FOHDUO\EHFDXVH\RXDUHOLWHUDOO\
     DUHD,UHFRJQL]H\RX UHQRWDQHXURORJLVW                    GLVDSSHDULQJKDOIRIWKHWLPHDQGZHKDYHQRZRUNDURXQG
     &RUUHFW"                                              IRUWKDW
     $&RUUHFW                                              %<$77251(<75<21
     4%XWLW V\RXUXQGHUVWDQGLQJWKDWKRUPRQDO             $2ND\
     FKDQJHVDVVRFLDWHGZLWKSXEHUW\GRGULYHLPSRUWDQW             ,ZLOOVSHDNYHU\ORXGO\&DQ\RXKHDUPHQRZ"
     GHYHORSPHQWDOVWDJHVLQWKHKXPDQEUDLQ                       $<HV
     &RUUHFW"                                              42ND\
     $77251(<%25(//,2EMHFWLRQIRUP             6RWKDQN\RXIRU\RXUWLPHP\1DPHLV'DYLG
     7+(:,71(66<HV                              7U\RQ,DPDQDWWRUQH\IRUWKH6WDWHRI:HVW9LUJLQLD
     %<$77251(<%522.6                                            ,ZRXOGOLNHWRFRQWLQXHZLWKVRPHTXHVWLRQVDERXW\RXU


                                                                                        3DJHVWR
                Case: 22-5807
     Case 2:21-cv-00316        Document:
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                                                    3DJH                                                       3DJH
      UHEXWWDOUHSRUW'R\RXVWLOOKDYHWKDWLQIURQWRI            &RUUHFW"
      \RX"                                                            $<HV
      $<HV                                                   4$UH\RXHTXDOO\IDPLOLDUZLWKWKHSUDFWLFHVRI
      42ND\                                                  WKHRWKHUJHQGHUFDUHFOLQLFVWKURXJKRXWWKHFRXQWU\"
      )LUVWRIDOO\RXKDYHLQGLFDWHGWKDW\RXDUH          $77251(<%25(//,2EMHFWLRQIRUP
      , PVWLOOKHUHJLYHPHDPRPHQW\RXUXQD           7+(:,71(66,NQRZDORWDERXWWKHP,
      FOLQLF                                                         FDQ WVD\,NQRZHYHU\WKLQJ
      &RUUHFW"                                               %<$77251(<75<21
      $77251(<%25(//,2EMHFWLRQIRUP              4'R\RXNQRZLIWKH\KDYHWKHH[DFWVDPH
     7+(:,71(66,KDYHDFOLQLFWKDW, P          VWDQGDUGVRIFDUHDQGSUDFWLFHWKDW\RXUFOLQLFGRHV"
     WKHPHGLFDOGLUHFWRURI\HV                                  $77251(<%25(//,2EMHFWLRQIRUP
     %<$77251(<75<21                                             7+(:,71(66:HDOOKDYHGLVFXVVHGWKDW
     4$QGWKDWLV, PVRUU\ZKDW VWKHQDPHRI         ZHIROORZWKH(QGRFULQH6RFLHW\JXLGHOLQHVDVZHOODV
     WKHFOLQLFDJDLQ"                                              :3$7+JXLGHOLQHV
     $'XNH&KLOGDQG$GROHVFHQW*HQGHU&OLQLF              %<$77251(<75<21
     4:KDWLVDJHQGHUFDUHFOLQLF"                         4<RXKDYHGLVDJUHHGZLWKVRPHRIWKHJXLGHOLQHV
     $)RURXUSXUSRVHVLQP\FOLQLFLWLQFOXGHV             LQWKH:3$7+JXLGHOLQHVWKDW0U%URRNVKDVVKRZQWR
     SDWLHQWVZKRDUHWUDQVJHQGHUSHRSOHZKRDUHDOVR           \RX
     KDYHLQWHUVH[FRQGLWLRQVDVZHOO                              &RUUHFW"
     4$UHWKHUHRWKHUFOLQLFVWKDW\RXFRQVLGHUJHQGHU      $77251(<%25(//,2EMHFWLRQIRUP
     FDUHFOLQLFVHOVHZKHUHLQWKHFRXQWU\"                         7+(:,71(66,GRQ WWKLQN, YHVHHQWKH
     $<HV                                                  :3$7+JXLGHOLQHVWRGD\
     4:RXOG\RXEHDEOHWRHVWLPDWHDSSUR[LPDWHO\KRZ       %<$77251(<75<21
     PDQ\RIWKHPWKHUHDUH"                                        46RUU\WKH(QGRFULQH6RFLHW\JXLGHOLQHV"


                                                    3DJH                                                       3DJH
      $7KDWQXPEHULVFKDQJLQJDORW,WZRXOGEH            $77251(<%25(//,6DPHREMHFWLRQ
      GLIILFXOWIRUPHWRVD\DFFXUDWHO\                             7+(:,71(666RWKH(QGRFULQH6RFLHW\
      4:RXOGLWEHRYHU"                                  JXLGHOLQHVDUHJXLGHOLQHV$OORIXVZKRXVHJXLGHOLQHV
      $, PQRWVXUH, PQRWVXUH                           GRYDU\VRPHIURPWKRVHJXLGHOLQHVZKHQLW VDSSURSULDWH
      4:RXOGLWEHRYHU"                                   IRUWKHSDUWLFXODUSDWLHQW
      $2KLWFRXOGEHGHILQLWHO\RYHU,WFRXOGEH       %<$77251(<75<21
      RYHUEXW, PQRWVXUH                                     4'R\RXNQRZLIWKHRWKHUFOLQLFVKDYHWKHVDPH
      4$QGDUH\RXGR\RXKDYHDQ\PHHWLQJVZLWK          UHVHUYDWLRQVDERXWWKHSROLFLHVRUJXLGHOLQHVLQWKRVH
      WKRVHRWKHUJHQGHUFDUHFOLQLFV"                                LQWKHHQGRFULQH6RFLHW\ VJXLGHOLQHVWKDW\RX YH
     $77251(<%25(//,2EMHFWLRQIRUP             H[SUHVVHGWRGD\"
     7+(:,71(66<HV                              $77251(<%25(//,2EMHFWLRQIRUP
     %<$77251(<75<21                                             7+(:,71(66, YHKDGVRPHGLVFXVVLRQV
     4+RZPDQ\ZKDWIDVKLRQDUHWKRVH               ZLWKSHRSOHZKRKDYHVRPHUHVHUYDWLRQVDORQJWKHVDPH
     LQGLYLGXDOPHHWLQJVRUDUHWKH\JURXSPHHWLQJV"                OLQHVWKDW,GR
     $$ELWRIERWK                                        %<$77251(<75<21
     4$UH\RXDZDUHRIWKHSUDFWLFHVRIDOORIWKRVH        4+RZPDQ\FOLQLFVGRHVWKDWUHSUHVHQW"
     RWKHUJHQGHUFDUHFOLQLFV"                                     $2K\RXZHQWRXW<RXZHQWRXW6RUU\
     $77251(<%25(//,2EMHFWLRQIRUP             4+RZPDQ\FOLQLFVGRHVWKDWUHSUHVHQW"
     7+(:,71(66:HGRWDONDERXWSUDFWLFH         $77251(<%25(//,2EMHFWLRQIRUP
     ZKHQZHPHHWZLWKWKHRQHVWKDW,PHHWZLWK&DQ W            7+(:,71(66,W VGLIILFXOWIRUPHWR
     VSHDNWRDOORIWKHRWKHUV                                    VD\EHFDXVHLWLVDWRXUDQQXDOPHHWLQJDQGIRUVRPHRI
     %<$77251(<75<21                                             WKHPHHWLQJVVRLWFRXOGEHDORW,QJURXSPHHWLQJV
     4<RXDUHRIFRXUVHIDPLOLDUZLWKWKHSUDFWLFHVLQ      WKDWZHKDYH,KDYHVRPHWKDWDUHRQHRQRQHDQG,KDYH
     \RXUFOLQLF                                                   VRPHWKDWDUHDERXWILYHGLIIHUHQWJURXSV


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                                                  3DJH                                                          3DJH
      %<$77251(<75<21                                             $, PVRUU\,ZURWHLW, PVRUU\, P
      46RIDLUWRVD\\RXGRQ WNQRZ"                        JHWWLQJUHDOO\WLUHG,DSRORJL]H,ZURWHLW
      $, PVRUU\\RXEURNHXSDJDLQ                        4,QWKH,EHOLHYHLWLVWKHWKLUGVHQWHQFH
      4,VLWIDLUWRVD\\RXGRQRWNQRZ"                    VD\VQRPHGLFDOWUHDWPHQWLVSURYLGHGWRWUDQVJHQGHU
      $77251(<%25(//,2EMHFWLRQIRUP             \RXWKXQWLOWKH\KDYHUHDFKHG7DQQHUVWDJHWZR'R\RX
      7+(:,71(66,GRQRWNQRZZKDW"               VHHWKDW"
      %<$77251(<75<21                                             $,GR
      4<RXGRQRWNQRZZKLFKRQHVKDYHWKHVDPH              4:KHQ\RXVD\QRPHGLFDOWUHDWPHQWLVWKDW
      UHVHUYDWLRQVWKDW\RXGRDERXWWKHSURYLVLRQV\RX YH           GRHVWKDWLQFOXGHDIILUPDWLRQWKHUDS\"
     H[SUHVVHGUHVHUYDWLRQVDERXWWRGD\"                           $77251(<%25(//,2EMHFWLRQIRUP
     $77251(<%25(//,2EMHFWLRQIRUP            7+(:,71(66,DPQRWDZDUHRIDQ\WKLQJ
     7+(:,71(66,NQRZ,NQRZ,          FDOOHGDIILUPDWLRQWKHUDS\
     NQRZRIIWKHWRSRIP\KHDGWKUHH7KHRWKHUV,PD\RU       %<$77251(<75<21
     PD\QRWNQRZZKHUHDQLQGLYLGXDOLVIURPZKHQWKH\ UH         4$UH\RXDZDUHRIWKHWHUPDIILUPDWLRQIRU
     WDONLQJLQDOORIRXUPHHWLQJV7KH\DUHELJPHHWLQJV       WUDQVJHQGHULQGLYLGXDOV"
     %<$77251(<75<21                                            $77251(<%25(//,2EMHFWLRQIRUP
     4:KDWDUHWKRVHWKUHH"                                7+(:,71(66*HQGHUDIILUPLQJFDUHLVD
     $6R5DG\&KLOGUHQ VLQ/RV$QJHOHVDQGLQ             WHUP,DPDZDUHRI
     6HDWWOH&KLOGUHQ VDQG7H[DV&KLOGUHQ V                    %<$77251(<75<21
     %<$77251(<75<21                                            4'R\RXFRQVLGHUJHQGHUDIILUPLQJFDUHWREH
     4$UHWKHUHDQ\JHQGHUFDUHFOLQLFVLQ:HVW            PHGLFDOWUHDWPHQW"
     9LUJLQLD"                                                     $77251(<%25(//,2EMHFWLRQIRUP
     $77251(<%25(//,2EMHFWLRQWRIRUP          7+(:,71(666RLWLVPHDQWWREH
     7+(:,71(66,GRQ WNQRZSHUVRQDOO\DQ\      ZKROLVWLFVRSDUWRILWLVPHGLFDOSDUWRILWLV


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      HQGRFULQRORJLVWVWKDWGRSHGLDWULFHQGRFULQRORJ\RU            VRFLDOSDUWRILWLVVXUJLFDO
      JHQGHUFDUHLQ:HVW9LUJLQLD, PQRWDZDUH                  %<$77251(<75<21
      %<$77251(<75<21                                             4,VDQ\JHQGHUDIILUPLQJFDUHSURYLGHGWR
      4,QWKHUHEXWWDOUHSRUW\RXUSDUDJUDSK, G        WUDQVJHQGHU\RXWKEHIRUHWKH\UHDFK7DQQHUVWDJHWZR"
      OLNHWRDVN\RXVRPHTXHVWLRQVDERXWWKDW,I\RXZRXOG       $77251(<%25(//,2EMHFWLRQIRUP
      WXUQWKHUH                                                    7+(:,71(666RWKHVRFLDOWUDQVLWLRQLV
      $,JRWLW                                             FRQVLGHUHGSDUWRIJHQGHUDIILUPLQJFDUHDQGVRPH
      4:KHQGLG\RXZHOOGLG\RXZULWHWKLV             LQGLYLGXDOVGRVRFLDOO\WUDQVLWLRQEHIRUH7DQQHUVWDJH
      SDUDJUDSK"                                                  WZR
     $77251(<%25(//,2EMHFWLRQIRUP            %<$77251(<75<21
     7+(:,71(66<HV                             4'R\RXDVVLVWWKHPLQWKDW"
     %<$77251(<75<21                                            $77251(<%25(//,2EMHFWLRQIRUP
     4:KHQGLG\RXZULWHLW"                               7+(:,71(661RWW\SLFDOO\7KH\ UHQRW
     $77251(<%25(//,2EMHFWLRQIRUP            XVXDOO\LQP\FOLQLFXQWLOWKH\DUHLQSXEHUW\
     7+(:,71(66,GRQ WUHPHPEHU                %<$77251(<75<21
     %<$77251(<75<21                                            4,VWKHUHDQ\RWKHUW\SHRIJHQGHUDIILUPLQJFDUH
     4:DVLWDIWHU\RXUHFHLYHGWKHH[SHUWUHSRUWV         ZKLFKLVFRQGXFWHGRUSURYLGHGSULRUWR7DQQHUVWDJH
     IURPWKH3ODLQWLII VH[SHUWVH[FXVHPHIURPWKH          WZR"
     'HIHQGDQW VH[SHUWV"                                          $77251(<%25(//,2EMHFWLRQIRUP
     $77251(<%25(//,2EMHFWLRQIRUP            7+(:,71(66%HIRUH7DQQHUVWDJHWZR
     7+(:,71(666RZHZURWHWKHUHEXWWDO         JHQHUDOO\LW VQRQR1R
     DIWHUZHUHFHLYHGWKHH[SHUWZLWQHVVHVIURP\HV          %<$77251(<75<21
     %<$77251(<75<21                                            4:KDWGR\RXFRQVLGHUWREHPHGLFDOWUHDWPHQW
     4:KRLVZH"                                           ZKLFKLVSURYLGHGRQFHWKH\UHDFK7DQQHUVWDJHWZR"


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      7+(:,71(661RWHYHU\SDWLHQWLV               ZKRDUHWUDQVJHQGHUDFWXDOO\KDYHVXUJHU\,WGHSHQGV
      WUHDWHGZLWKPHGLFDWLRQ6RVRPHGRVRPHGRQ W               RQWKHSDWLHQW0DQ\PDQ\GRQRW2XUUHFRPPHQGDWLRQV
      6RPHWLPHVWKDWLVSXEHUW\EORFNHUV6RPHWLPHVLWLV            DUHWRZDLWXQWLO7KHUHLVDFDYHDWLQWKH
      QRW6RPHWLPHVLWLVJHQGHUDIILUPLQJKRUPRQHV                 (QGRFULQH6RFLHW\JXLGHOLQHVZKHUHVRPHVXUJHU\FRXOG
      GHSHQGLQJRQZKHUHWKH\ UHLQWKHLUGHYHORSPHQW                KDSSHQEHWZHHQDQGEXWJHQHUDOO\DQGXS
      %<$77251(<75<21                                              %<$77251(<75<21
      4:KDWDERXWVXUJHU\LVWKDWFRQVLGHUHGPHGLFDO         4:K\ZDLWXQWLO"
      WUHDWPHQWSURYLGHGWRWUDQVJHQGHU\RXWK"                        $77251(<%25(//,2EMHFWLRQIRUP
     $77251(<%25(//,2EMHFWLRQIRUP             7+(:,71(667KDWLVWKHDV,
     7+(:,71(666RSDWLHQWVZKRDUH               XQGHUVWDQGLWWKHOHJDOWLPHDWZKLFKDSHUVRQKDV
     FKLOGUHQDUHQ WKDYLQJVXUJHULHV                              ZKDWLVWKHZRUGIRULW"<RXDOODUHWKHOHJDOSHRSOH
     %<$77251(<75<21                                             , PSUREDEO\JRLQJWRVD\LWZURQJWKHDELOLW\WR
     4:KDW VWKHGLIIHUHQFHEHWZHHQ\RXWKDQG               OHJDOO\FRQVHQWWRWKLQJV3ULRUWRWKDWZHGRJHW
     FKLOGUHQ"                                                      ZKDW VFDOOHGDQDVVHQWIURPWKHSDWLHQWEXWLW VD
     $77251(<%25(//,2EMHFWLRQIRUP             OLWWOHGLIIHUHQWWKDQDFRQVHQWIURPWKHSDWLHQWLI
     7+(:,71(66<RXWKLQJHQHUDOLQP\PLQG       ZH UHGRLQJDJHQHUDOSURFHGXUH
     DUHVRPHZKDWVLPLODUWRDGROHVFHQWVLQWKDWWKH\KDYH          %<$77251(<75<21
     VWDUWHGSXEHUW\                                               4:K\LVWKDWOHJDOFRQVHQWGLIIHUHQWIRUVXUJHU\
     %<$77251(<75<21                                             WKHQLWLVIRUSXEHUW\EORFNHUV"
     4$WZKDWSRLQWDUHLVH[FXVHPHDWZKDW       $77251(<%25(//,2EMHFWLRQIRUP
     SRLQWRUDJHLVVXUJHU\PHGLFDOWUHDWPHQWSURYLGHGWR        7+(:,71(66$V,PHQWLRQHGEHIRUH
     WKRVHZKRKDYHJHQGHUG\VSKRULDRUFRQVLGHUHGWREH            SXEHUW\EORFNHUVDUHQ WDSHUPDQHQWHIIHFWDQGVXUJHU\
     WUDQVJHQGHU"                                                   LVFRPSOLFDWHGWRUHYHUVH


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      7+(:,71(666R\RXFXWRXWDQGFRXOG           4$WWKHSRLQWLQWLPHWKDW\RXSUHVFULEHSXEHUW\
      \RXUHSHDWWKHTXHVWLRQ"                                        EORFNHUVIRUDQDWDOPDOHWKDWSHUVRQKDVDWWKDWSRLQW
      %<$77251(<75<21                                              FRQFOXGHGWKDWWKH\KDYHDJHQGHULGHQWLW\RIIHPDOH
      4<HV/HWPHEDFNXSDQGPDNHVXUH,XQGHUVWDQG       &RUUHFW"
      6XUJHU\LVFRQVLGHUHGPHGLFDOWUHDWPHQW                        $77251(<%25(//,2EMHFWLRQIRUP
      &RUUHFW"                                               7+(:,71(666RIRUSXEHUW\EORFNHUV
      $77251(<%25(//,2EMHFWLRQIRUP              WKH\PD\QRWWRWDOO\EHFOHDURQWKHLUJHQGHULGHQWLW\
      7+(:,71(666R,KHVLWDWHWRXVHWKRVH         7KH\GRKDYHG\VSKRULDZLWKWKHFKDQJHVWKDWDUH
     ZRUGV0\VXUJLFDOFROOHDJXHVZRXOGWDNHVRPHRIIHQVH         KDSSHQLQJWRWKHLUERG\DWWKHWLPHDQGQHHGWLPHWRJHW
     DWWKDW7KH\FRQVLGHUWKHPVHOYHVVXUJHRQVDQGQRW            DEHWWHUXQGHUVWDQGLQJRIWKHLUJHQGHULGHQWLW\
     PHGLFLQHGRFWRUV6R,WKLQNWKDW VDQRSLQLRQWKHUH         %<$77251(<75<21
     6R, PQRWVXUHWKDWWKDWSKUDVHLVDSSURSULDWH               4$WZKDWSRLQWGRZHNQRZWKDWWKH\KDYHDIXOO
     %<$77251(<75<21                                             XQGHUVWDQGLQJRIWKHLUJHQGHULGHQWLW\"
     46RZKHQ\RXUHIHUWRPHGLFDOWUHDWPHQWLQWKLV        $77251(<%25(//,2EMHFWLRQIRUP
     VWDWHPHQWGRHVWKDWLQFOXGHRUH[FOXGHVXUJHU\"                7+(:,71(66$JDLQZHGRRXUEHVWWR
     $77251(<%25(//,2EMHFWLRQIRUP             WDNHHDFKSDWLHQWDVWKH\JHWROGHUDQGWKH\DUH
     7+(:,71(667KH\GRQRW\HDKWKDW        FRQVLVWHQWIRUDSHULRGRIWLPH$JDLQWKH
     ZRXOGEHLQFOXVLYHRIVXUJHU\LQWKDWSDUWLFXODU               UHFRPPHQGDWLRQDUHDWOHDVWVL[PRQWKV(YHU\RQHLV
     VWDWHPHQW                                                     GLIIHUHQW0RVWRIP\SDWLHQWV LGHQWLW\LVQ WFKDQJLQJ
     %<$77251(<75<21                                             VXEVWDQWLDOO\7KHLUXQGHUVWDQGLQJRIWKHLULGHQWLW\
     4$WZKDWSRLQWLVVXUJHU\SURYLGHGWRWUDQVJHQGHU      LVQ WFKDQJLQJVXEVWDQWLDOO\IRUORQJHUWKDQWKDWEHIRUH
     SHUVRQV"                                                       RQHZRXOGGRDQ\WKLQJGLIIHUHQWRWKHUWKDQSXEHUW\
     $77251(<%25(//,2EMHFWLRQIRUP             EORFNHUV


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                                                  3DJH                                                         3DJH
      %<$77251(<75<21                                             4,IWKDWFKLOGVD\VWKLVLVH[WUHPHO\KDUPIXOWR
      4$WZKDWSRLQWVRPHRQHFRPHVWR\RXDQGVD\V       PHWRVWLOOKDYHP\SHQLVDWWKLVDJH,ZDQWLW
      ,DPDELRORJLFDOPDOHRUDVVLJQHGPDOHDWELUWK              UHPRYHGDQG\RXVDLG\RXUVHOIWKDWLVH[WUHPHO\KDUPIXO
      KRZHYHU\RXZDQWWRWHUPWKDWEXW,LGHQWLI\LWDVD          WRQRWDOORZWKLVFKLOGWRQRWSOD\RQDVSRUWVWHDP
      OHWPHUHSKUDVHWKDWEHFDXVH, PQRWVXUH,VDLG           ZLWKZKLFKWKDWFKLOGLGHQWLILHVLVQ WKDYLQJDSHQLV
      WKDWULJKW                                                    ZKHQWKHFKLOGGRHVQ WZDQWRQHHYHQPRUHKDUPIXO"
      6RPHRQHFRPHVWR\RXDQGVD\V,ZDVERUQDQ           $77251(<%25(//,2EMHFWLRQIRUP
      DVVLJQHGPDOHDWELUWKEXW,LGHQWLI\DVDIHPDOH,         7+(:,71(66,WKLQNWKH\ UHERWK
      KDYHLGHQWLILHGDVDIHPDOHIRUWZR\HDUVQRZDQG,ZDQW       WKRVHVLWXDWLRQVFRXOGFDXVHDULVNIRUVHOIKDUPDQG
     WRPRYHIRUZDUGZLWKDQ\WUHDWPHQWSRVVLEOHVRWKDW,         VXLFLGH:HZRXOGQRWOLNHWRGRVRPHWKLQJWKDWLV
     FDQIHHOFRPIRUWDEOHZLWKP\WUXHLGHQWLW\DVDIHPDOH       SHUPDQHQW3OD\LQJRQDVSRUWVWHDPLVQRWVRPHWKLQJ
     <RXDFFHSWWKDWDVWKHLUWUXHLGHQWLW\"                       WKDWLVXQFKDQJHDEOH
     $77251(<%25(//,2EMHFWLRQIRUP            %<$77251(<75<21
     7+(:,71(66<RXGLGQ WJLYHDQDJHDQG       4%XW\RXWROGPH\RXWROGXVWKDWJHQGHULV
     ,GRZD\WKDWLQWRFRQVLGHUDWLRQ                             XQFKDQJHDEOHDQGWKDWFKLOGDWWKDWSRLQWKDV
     %<$77251(<75<21                                            LGHQWLILHGDVDIHPDOH$QGVLQFHWKDWLVQRWJRLQJWR
     4/HW VVD\DWHQ\HDUROG"                            FKDQJHZKDWLVWKHKDUPLQUHPRYLQJWKDWFKLOG VSHQLV"
     $77251(<%25(//,2EMHFWLRQIRUP            $<RXEURNHXSDIWHUZKDWLVWKHKDUPLQUHPRYLQJ
     7+(:,71(666RZHDV,PHQWLRQHGLQP\       WKDWFKLOG
     HDUOLHUWHVWLPRQ\DOVRXVHDVVHVVPHQWVIURPRWKHU             47KDWFKLOG VSHQLV"
     LQGLYLGXDOVZLWKUHJDUGWRWKHFRQVLVWHQF\RIWKHLU           $77251(<%25(//,2EMHFWLRQIRUP
     JHQGHULGHQWLW\DQGLQFOXGLQJIDPLO\DVZHOODVWKHLU         7+(:,71(66,VWDWHGWKDWWKHLU
     PHQWDOKHDOWKSURYLGHUVDQGZHZRXOGSURYLGH                  XQGHUVWDQGLQJRIWKHLUJHQGHULGHQWLW\RFFXUVRYHUWKH
     LQGLYLGXDOL]HGFDUHEDVHGRQWKDWSDWLHQW                    OLIHVSDQDQGVRZHZDQWWREHYHU\FDUHIXOZLWKUHJDUG


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      %<$77251(<75<21                                             WRWKDWDQ\SHUPDQHQWWUHDWPHQW
      4$WWKDWSRLQWGR\RXDFWXDOO\JLYHDGLDJQRVLV        %<$77251(<75<21
      WKDWWKH\DUHWKHLUWUXHJHQGHULGHQWLW\LVIHPDOHRU          46R\RX UHVD\LQJ\RXGRQ W\RX UHVD\LQJ\RX
      ZKDWKDSSHQV"                                                  GRQ WEHOLHYHWKDWWKDWFKLOG VWUXHLGHQWLW\LVD
      $77251(<%25(//,                               IHPDOHWUXHJHQGHULGHQWLW\LVDIHPDOH\RXGRXEWWKDW
      2EMHFWLRQIRUP                                FKLOG"
      7+(:,71(66$JDLQJHQGHULGHQWLW\LVD       $77251(<%25(//,2EMHFWLRQIRUP
      FRUHSDUWRIWKHLUEHLQJDQGWKHLUXQGHUVWDQGLQJRILW         7+(:,71(66,GRQ WGRXEWZKDWP\
      DWWKHWLPHLVWKHLUXQGHUVWDQGLQJRILWDWWKHWLPHDQG       SDWLHQWVWHOOPHEHFDXVHZKDWWKH\WHOOPHLVWKHLU
     WKDWLVWKHRQO\ZD\WKDWZHFDQGHFLGHZKDWVRPHRQH V        WUXWKDQGWKHLULGHQWLW\,GROLNHWKLQNLWLV
     JHQGHULGHQWLW\LV                                           LPSRUWDQWZKHQ\RXDUHPDNLQJWKHVHGHFLVLRQVWRDJDLQ
     %<$77251(<75<21                                            FRUURERUDWHWKDWZLWKRWKHULQGLYLGXDOVZKRDUHZLWKWKH
     46RDWWKDWSRLQWLQWLPHZKHUHWKHFKLOGLV       IDPLO\, PVRUU\ZLWKWKHSHUVRQ$QGZHZDQWWR
     RURUDWWKDWSRLQWLQWLPHZKHUHWKH\KDYH            PDNHVXUHWKDWWKDWLVDGXUDEOHSODFHZKHUHWKHLU
     FRQFOXGHGP\WUXHJHQGHULGHQWLW\LVQRWP\QDWDOVH[RI      XQGHUVWDQGLQJLV,GHDOO\ZHZRXOGOLNHIRULWWREH
     PDOHEXWUDWKHUP\WUXHJHQGHULGHQWLW\LVDIHPDOHZK\      DVXQGHUVWRRGDVLWPLJKWEHEHIRUHPDNLQJDGHFLVLRQ
     VKRXOGQ WWKDWFKLOGWKHQEHDEOHWRVD\,ZDQWJHQGHU        WKDWLVDSHUPDQHQWGHFLVLRQOLNHVXUJHU\
     ,ZDQWVXUJHU\WRUHPRYHP\SHQLV"                        9,'(2*5$3+(50U7U\RQ,VHQW\RXD
     $77251(<%25(//,2EMHFWLRQIRUP            FKDW,GLGQ WNQRZLI\RXVDZWKDW,MXVWZDQWHGWR
     7+(:,71(666RZHGRQ WZDQWWRGR           JLYHDILYHPLQXWHZDUQLQJ
     DQ\WKLQJWKDW VSHUPDQHQWXQWLODSHUVRQLVROGHUDQG         $77251(<75<212KLW VILYHPLQXWHV
     WKHLUFRJQLWLYHGHYHORSPHQWLVEURDGHU$QGLQVRPH          OHIW"7KDQN\RX,GLGQRWVHHWKDW2QHPRPHQW
     FDVHV\RXNQRZZHOO, OOVWRSWKHUH                    %<$77251(<75<21
     %<$77251(<75<21                                            4<RXDUHJHWWLQJSDLGDVDQH[SHUWZLWQHVVLQ


                                                                                       3DJHVWR
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                                                   3DJH                                                         3DJH
      WKLVFDVHULJKW"                                                GHOD\LQWLPHEHIRUHDWUDQVJHQGHUIHPDOHFDQ
      $77251(<%25(//,2EMHFWLRQIRUP              SDUWLFLSDWHLQWKRVHVSRUWV"
      7+(:,71(66<HV                               $77251(<%25(//,2EMHFWLRQIRUP
      %<$77251(<75<21                                              7+(:,71(66,WKLQNLWZRXOGEHEHWWHU
      4$UH\RXEHLQJSDLGDVDQH[SHUWZLWQHVVLQ             IRUWKHSDWLHQWLIWKH\GLGQRWKDYHWRGHOD\
      FRQQHFWLRQWRDQ\RWKHUOLWLJDWLRQRUWHVWLPRQ\RUDQ\          %<$77251(<75<21
      RWKHUVWDWXWHVVLPLODUVWDWXWHV"                            46R\RXLILWZDVXSWR\RX\RXZRXOG
      $77251(<%25(//,2EMHFWLRQIRUP              HOLPLQDWHWKDWGHOD\WKDWLVUHTXLUHGE\WKHVHRWKHU
      7+(:,71(66,DPKDYHQRWEHHQ             VSRUWVRUJDQL]DWLRQV
     SDLG,DPLQYROYHGLQRWKHUDQRWKHUFDVHWZR            ,VWKDWULJKW"
     FDVHV                                                         $77251(<%25(//,2EMHFWLRQIRUP
     %<$77251(<75<21                                             7+(:,71(666,WKLQNLWZRXOGEHEHWWHU
     4:KDWDUHWKRVHRWKHUWZRFDVHV"                       IRUP\SDWLHQWV<HV
     $, PQRWJRLQJWREHDEOHWRWHOO\RXWKHQDPH         %<$77251(<75<21
     EHFDXVH, PWHUULEOHZLWKQDPHV,WLQYROYHV                  4$QG\RXWKLQNWKRVHRUJDQL]DWLRQVVKRXOGFKDQJH
     WUDQVJHQGHUFDUHLQ$UNDQVDVDVZHOODVLQ                     WKHLUSROLFLHVWRVDWLVI\ZKDW\RXUFRQFHUQLV"
     VSRUWVUHODWHGLVVXHVZLWKWUDQVJHQGHU\RXWKLQ)ORULGD       $77251(<%25(//,2EMHFWLRQIRUP
     4+DYH\RXWHVWLILHGLQWKRVHFDVHV\HW"                7+(:,71(66<RXNQRZWKHUHLVDORWWR
     $,KDYHQRW                                           ZHLJKWKHUH,DPQRWVXUHWKDW,ZRXOGEHDEOHWROLNH
     4<RXWHVWLILHGLQRWKHUFDVHV                         VD\IRUWKHLUSXUSRVHV,GRQ WNQRZDOORIWKHWKLQJV
     5LJKW"                                                WKDWDUHWKHUH)RUP\SDWLHQWVZKDWZRXOGEHEHVWIRU
     $<RXEURNHXSDJDLQ&RXOG\RXUHSHDW"                WKHPLVWRQRWWRKDYHWRKDYHWKDWGHOD\
     4<RXKDYHWHVWLILHGLQRWKHUFDVHV                    %<$77251(<75<21
     5LJKW"                                                4%XWZRXOG\RXDJUHHZLWKPHWKDWWKH6WDWHRI


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      $<HV                                                   :HVW9LUJLQLDKDGDORWWRZHLJKDVZHOOZKHQLWSXWLQ
      4:KLFKFDVHVDUHWKRVH"                                 SODFHLWVOHJLVODWLRQEHIRUHWKH\SDVVHGWKHODZ"
      $7KHWUDQVJHQGHUUHODWHGFDVHVZHUHZLWK$GDPVLQ       $77251(<%25(//,2EMHFWLRQ2EMHFWLRQ
      )ORULGD:K\DP,EODQNLQJ"                                    IRUP
      4&RQQHFWLFXW"                                           7+(:,71(66,ZRXOGKRSHWKDWHYHU\
      $,GLGQRWDFWXDOO\,KDYHQRWEHHQGHSRVHG         SLHFHRIOHJLVODWLRQLVZHLJKHGKHDYLO\
      LQH[FHSWIRU$GDPV                                        %<$77251(<75<21
      42ND\                                                  4$QG\RXZRXOGDJUHHWKDWLQWKLVFDVHWKHUHZDV
      ,Q\RXULQ\RXUH[SHUWUHSRUW\RXVD\WKDW         DORWWRZHLJKRQDQXPEHURIGLIIHUHQWLVVXHVEHIRUH
     ,KDYHWHVWLILHGWZLFHDVDQH[SHUWDWWULDORU                WKH\SDVVHGWKHODZ
     GHSRVLWLRQ                                                    &RUUHFW"
     $<HDK,ZDVLQYROYHGLQDQRWKHUFDVHDVDQ            $77251(<%25(//,2EMHFWLRQIRUP
     H[SHUWZLWQHVVDQGZDVGHSRVHGIRUDFDVHLQYROYLQJDQ         7+(:,71(66,ZRXOGDJUHH$QG,
     LQIDQWZLWKIUDFWXUHVWKDWZHUHWKHUHZDVFRQFHUQ          ZDVQ WWKHUHWRNQRZZKDWZDVVR,DJUHHWKHUHVKRXOG
     IRUDEXVH                                                     EH
     4, PVRUU\\RXIUR]HRQPH&DQ\RXWHOOPH          %<$77251(<75<21
     ZKDWWKDWZDVDJDLQ"                                           4, PVRUU\,GLGQ WFDWFKWKDW<RXIUR]HXS
     $<HDK7KHUHZDVDFDVHWKDW,ZDVLQYROYHGZLWK      &DQ\RXUHSHDWWKDW"
     ZKHUHWKHSDWLHQW VSDUHQWVWKH\KDGFRQFHUQIRU           $6XUH,DJUHHWKHUHVKRXOGKDYHEHHQ,ZDVQ W
     DEXVHIURPWKHSDUHQWVEHFDXVHWKHFKLOGKDGIUDFWXUHV        WKHUHWRKHDUZKDWKDSSHQHGZLWKUHJDUGWRWKHSURFHVV
     4:HOO, PUXQQLQJRXWRIWLPHVROHWPHJODQFH       VR,GRQ WNQRZLIWKH\DFWXDOO\GLGWKDW
     WKURXJKP\QRWHVDQGVHHLIWKHUHLVDQ\WKLQJHOVH'R        $77251(<75<21
     \RXGLVDJUHHZLWKWKHSROLFLHVRIWKHRWKHUDJHQWV         7KDQN\RX'R,KDYHDQ\WLPHOHIW
     H[FXVHPHRIWKHVSRUWLQJRUJDQL]DWLRQVZKLFKUHTXLUHD       -DFRE"


                                                                                        3DJHVWR
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     $77251(<75<212ND\
     'U$GNLQVWKDQN\RXYHU\PXFKIRU\RXU
     WLPH$SSUHFLDWHLW
     $77251(<%25(//,7KLVLV7DUD%RUHOOL
     IRU3ODLQWLII%3-3ODLQWLIIKDVQRTXHVWLRQVIRU
     WKHZLWQHVV:HZLOOUHDGDQGVLJQ
     9,'(2*5$3+(57KDWFRQFOXGHVWKLV
     GHSRVLWLRQ&XUUHQWWLPHUHDGVSP(DVWHUQ
    6WDQGDUG7LPH
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            DEXVH                            
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                           DFW                 DGPLQLVW
                           $FWLRQ             
                           $FWLYLWLHV             
               DFFHVV                             
     DEOH                               
                          DFWLYLW\               
                                        DGPLW 
                       DFWXDO                 
                                     
               DFFOLPDWLRQ                        DGROHVFHQFH
                                               
            DFFRPSDQLHG                           
                                          
                       $GDPV               
                DFFRPSOL                        
                                              
               DFFRXQW         DGG                    
                          DGGLWLRQ                  
               DFFXUDF\                               
                                              
               DFFXUDWH                            
                                         
                                           
                                           
                        DGGLWLRQDO             
                                            DGROHVFHQW
     DEQRUPDO                   DGGUHVV                 
                                                
     DEQRUPDO                             
                                             
                                       
     DEQRUPDOLW\             DGGUHVVHG                DGROHVFHQWV
                                        
     DEVHQW                DGGUHVVHV                 
                                            
                           DGHTXDWH                  
                                             
     DEVROXWH                                       
                                              
     $EVROXWHO\                DGHTXDWHO\               DGXOW 
                                                
                                $GNLQV                 
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     DGXOWKRRG                            DPSXWDWLRQ       
                                              
                                  $PVWHUGDP        
                                               
                                              
                                  DQDORJV          
     DGXOWV                              DQVZHUHG
                      DJUHHG     DQDO\VLV         
                       DKHDG                
                                                
                                   DQDWRP\      
                                           
     DGYDQWDJH                  DLGHV               DQVZHULQJ
               DJHQF\      DO     DQGRU       
               DJHQGHU             $QGHUVRQ         
     DGYDQWDJHV                              
                DJHQWV          DOLHQDWHG                 
     DGYLVH                                DQVZHUV
                DJHV      DOLJQ             
     DGYLVHV                                    DQ[LHW\
                DJR       DOOHUJLHV               
     DGYLVLQJ                              $QGUHZ       
                         $OOLDQFH                 
     DIIHFW                           DQHFGRWDO        
                         DOORZ               DQ\ERG\
                                   $QHVWKHVLD       
                                                
                DJUHH                $QJHOHV         DSDUW 
     DIILGDYLW               DOORZHG                    
                                            
     DIILUPDWLRQ                    DQLPDO     DSRORJL]H
                                            
                                 DQQXDO            
     DIILUPHG                                    
                           DOORZLQJ       DQVZHU      
                                        
     DIILUPLQJ                  DOORZV             
                                          
                         DOWHUHG                    
                                                
                      DOWHUQDWLRQ            
                                             
                                    
                                              
     DIWHUQRRQ                 DOWHUQDW                
                                            
                          DPD]LQJ              DSSDUHQWO\
                           DPELJXLW\              
     DJH                                    DSSHDU 
                           $PHULFDQ            
                                        
                       DPRXQW                 
                                              
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     DSSHDUHG                                 
                                          
     DSSHDULQJ       DSSUR[LP                       
                                             DVVLJQHG
               DUHD                      
     DSSHDUV                       DVSHFW            
                                          
                               DVVDXOW          
                                             
                                               
     DSSOLFDW                        DVVDXOWHG        
                                              
     DSSOLHG                                    
     DSSOLHV                         DVVD\       
                                 DVVHQW           
                                        
                                  DVVHUW           
     DSSO\                                 
                                   DVVHUWHG         
                DUHDV                          
                                            
     DSSRLQWP                         DVVHUWLQJ        
                    DUWLFOH V                   
     DSSUHFLDWH                           DVVHUWLRQ        
                $UNDQVDV        DUWLFOHV                   
                                               
                $50,67($'                        
     DSSURDFK                                     
                 DUUDQJHPHQW                          
                                                
     DSSURSULDWH     DUW                             
                        DVFHUWDLQ      DVVHUWLRQV       
            DUWKULWLV                           
                          DVNHG     DVVHUWV          
                DUWLFOH                           
                            DVVHV      
                                              DVVLJQPHQW
                                  DVVHVV       
     DSSURSUL                                
                                                 
     DSSURYDO                            DVVHVVHG         
                                           DVVLVW
     DSSURYDOV                         DVVHVVPHQW       
                                             DVVLVWLQJ
     DSSURYHG                                  
                                             
                                           
                                               $VVRFLDWH
                   DVNLQJ               
     DSSURYLQJ                                     DVVRFLDWHG
                                 DVVHVVPHQWV       
     DSSUR[LP                                     
                              DVVLJQ           
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                                       
               DWWHPSW                        
                                     
            DWWHPSWHG                      
                                            
                                          
                                          
                                          
               DWWHPSWV                          
                                         
                                     
     $VVRFLDWLRQ                             
            DWWHQG                       
     DVVXPH                                
                 DWWHQGHG                       
                                       
     DVVXPSWLRQ      DWWHQWLRQ                        
                                        
     DVVXUH                               
                                        
     DWKOHWH                                    
                                         
                                           
     DWKOHWHV                                  
                                       
                                          
               DWWRUQH\                     
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     DWKOHWLF                                 
                                        
                                     
                                     
                                       
                                    
                                       
                                    
                                        
     DWKOHWLFV                             
                                     
                                 
                                        
                                   
                                        
                                      
                                   
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                                        
                                       
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     DWURSKLF                                   
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     DWWDFNHG                               
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                                      
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                                   
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                                      
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                                    
                               
                                         
                            DWWUDFWHG        
                                    
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                                         
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                                  DYHUDJH
                            DXGLR        
                                           
                                  
                                    
                                   
                                           
                       $XJXVW      
                               $XVWUDOLD        
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                                   
                        DXWKRU      
                                   DYRLG 
                                       DYRLGHG
                                  
                                  DYRLGLQJ
                           DXWKRUL]      
                                       
                        DXWKRUL]HG      DZDUH 
                                       
                          DXWKRUV      
                                      
                                       
                                     
                                    
                                       
                                    
                                           
                                   
                               DXWLVP           
                                 
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                                             
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                                          
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                          EDVLF                EHOLHYHG
               EDFNJURXQG                            
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                EDFNLQJ               EHKDOI        
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                                        
               EDG                        EHORQJLQJ
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                                    EHKDYLRUV       EHQHILFLDO
                EDODQFH                             
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                         EHDXWLIXO              
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     $=                EHFRPLQJ                   
                     EDVHG                          
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     ELDV                                      
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                                          
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                                          
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                                        
                            %URZQ     FDSDELOLW\
                                    
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                                %XUFK       &DSLWRO 
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                FDVH                  FHUWLILFDWH      
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               FDWHJRULHV                           
                          FHUWDLQ        FKDQJHDEOH       
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     FDUULHG         FDXJKW               FKDQJHV          
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                                   FODVVLILHG       
                                               
                                   FODVVLI\         
                                        
            &KLOGUHQ V      FKURQLF        &/$<721      
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                                              
            FKRLFH               FOHDU       
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               FKRLFHV         FLWH               
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               FKRRVH                              
     FKLOG V                                        
                                              
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                FKRVH                            
     FKLOGKRRG                 FLWHG               
                                              FOLQLFD
                                                
                                               FOLQLFDO
               &+5,67,$1$      FLWHV     FOHDUHU          
                          FLWLQJ                      
            &KULVWLQD                FOHDUO\          
     FKLOGUHQ                    &LYLO                    
                FKURPRVRPDO                         
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                         FODLPV         FOLHQWV          
                                           
                               FOLQLF      
                           FODULILF             
                                         
                      FODULILHG                  
                                             FOLQLFDOO\
                       FODULI\                
           FKURPRVR                          
                                           
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               FKURPRVRPH                           
                       FODULW\               FOLQLFLDQ
                                            
               FKURPRVRPHV                      
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     &OLQLFLDQ V                                   
                                                
     FOLQLFLDQV                FROOHFW                   
            FORVHO\                             FRPPRQ 
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               FORVHU                         
     FOLQLFV         FORVHVW               FRPHV       FRPPRQO\
              FORWKHG                              
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                                          FRPPXQLW\
             &0(        FROOHJHV                  
                FRDXWKRU                           
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     FOLS      FRDFK                            
            FRDXWKRU                             
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               FRDXWKRUV       FROXPQ               
                                               FRPSDUHG
             FRHG                       
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     FORFN     FRJQLWLRQ                FRPLQJ      
     FORVH                                 FRPSDULQJ
     FORVHG                                   
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               &ROHPDQ                   FRPPLWWHG        
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                                 FRPPLWWHH        
               FROODSVHG                           FRPSHWHQW
                                          
                FROOHDJXH                        FRPSHWLQJ
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                                               FRQVLVWV
                                             
               FRQFHUQ         FRQILGDQW                FRQVROLGDWH
                                   FRQVLGHU      
     FRPSHWLWLYH               FRQILGHQFH                FRQVROLG
                                              
     FRPSHWLWRUV                                  FRQVWHOO
                          FRQILQH               
     FRPSOHWH                   FRQILUP        FRQVLGHU     FRQVWUXFW
                                          
                                    FRQVLGHUHG       
                         FRQIRXQG               
                                          FRQVWUXFWHG
     FRPSOHWHG                 FRQIXVLQJ                  
                                     
                                             FRQVWUXFWV
               FRQFHUQHG       FRQIXVLRQ                 
                                               FRQVXOWHG
     FRPSOHWHO\      FRQFHUQLQJ      FRQJUXHQW                
                                           
                FRQFHUQV        &RQQHFWLFXW    FRQVLGHULQJ      
                                                
                          FRQQHFWLRQ            FRQW G 
                                        
                                           FRQWDFW
                               FRQVLVWHG        
               FRQFOXGHG                             
     &RPSOH[                FRQVHQW        FRQVLVWHQF\     FRQWDLQLQJ
     FRPSOH[L                                   
                                FRQVLVWHQW      FRQWDLQV
                FRQFOXGHV                         
     FRPSOLFDWHG                                    FRQWHQGLQJ
               FRQFOXVLRQV     FRQVLGHU                
                                             
                FRQGLWLRQ                         FRQWH[W
                                            
     FRPSO\                                
     FRPSRQHQWV                                     
                                         
     FRPSUHKH                               
                FRQGLWLRQV                           
     FRPSUHKH                                    FRQWLQXH
                                                
     FRPSXWHU                                       
                                                
     FRQFHSW                                    
                                           
                                            
             FRQGXFWHG                             
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     FRQWLQXHG                            FRUUHVSR      
                FRSLHV                       
     FRQWLQXHV                                     
             FRS\                FRUUHVSRQGV     FRXUW 
                                                   
                                  FRUURERUDWH      
                                          
                FRUH                FRXQVHO       
     FRQWLQXLQJ      FRUUHFW                        
                                            
                                          
                                             
                                        
     FRQWLQXRXV                               
                                          
                                        
                                            
     FRQWLQXR                                
                                       
     FRQWLQXXP                                 
                                         
     FRQWUDLQ                                  
                                         
     FRQWUDVW                                   
                                               
                                               
     FRQWUDVWLQJ                              
                                        
     FRQWULEXWH                                 
                                         
                                           
                                       FUHDWH 
     FRQWULEX                                  
                           &RXQVHO V       FUHDWHG
     FRQWURO                                    
                             &2816(/6        FUHDWLQJ
                                              
                                     FRXQW      FUHGHQWL
     FRQYHQLHQFH                     FRXQWLQJ         
                                              FULWHULD
     FRQYHUVD             FRUUHFWLRQV    FRXQWU\          
                                              
                     FRUUHFWO\                  
                                &RXQW\        
                                           
                                            
     FRQYHUVD                         FRXSOH      
                           FRUUHFWV                 FURVV 
                                    FRXUVH      
                          FRUUHODWHG             
     &RROH\                                     
                        FRUUHVSRQG                
                                                 
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                                            
                                     'HIHQGDQW       GHQVLILF
               GDWHG                         
                              'HIHQGDQW V      
     &VXWRURV                                GHQVLW\
                                    'HIHQGDQWV       
     FXULRXV                    GHDWK                  
                GDWHV                GHIHQGLQJ       GHQ\LQJ
     FXUUHQW         GDXJKWHU                       
                                          GHSHQG 
                                         
            'DYH     'HEDWH    GHILQDEOH       GHSHQGLQJ
                       GHFDGH               
                               GHILQH           
                                               
            'DYH V          GHFDGHV        GHILQHG      
                                    GHILQLWHO\      GHSHQGV
             'DYLG       'HFHPEHU               
                                            
     FXUUHQWO\                 GHFLGH                     
                GD\                 GHILQLWLRQ       
                                             
     FXUULFXOXP                GHFLGHV                
                                           
                      GHFLGLQJ              GHSRVHG
                                              
     FXW                  GHFLVLRQ              GHSRVLWLRQ
                                               
                                            
                          GHFLVLRQV                   
     FXWWLQJ                                       
                                   GHILQLWLRQV      
                                               
     &9                    GHFODUDWLRQ            
     F\FOH       GD\V              GHJUHH      
                                             GHSRVLWLRQV
           '                      GHOD\      
     '                                  GHSUHVVHG
              GHWUDQV                      
     GDQJHURXV                                     GHSUHVVLRQ
               GHWUDQV              GHOD\HG          
     GDWD              GHFUHDVH                  
                                     GHOD\LQJ         
               GHDG                          
                                            
                                         
                GHDO       GHHS               
               GHDOLQJ         GHHSHQHG       GHOD\V           
     GDWH                                     
             GHDOV     GHHSHU    GHOYH      GHSUHVVLYH
            'HDQQD      GHHSO\    GHQLHG       
                                    'HQLNHU      GHSULYH
                   GHIHFW             
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     GHVFULEH                                       
                                         
                GHWDLOV                            
                                          GLIIHUHQW
                GHWHUPLQ                          
                                            
                                 GLDJQRVHV        
     GHVFULEHG       GHWHUPLQ                       
                                            
                                    GLDJQRVLV        
                                               
                GHWHUPLQH                        
                                              
                                         
                                          
     GHVFULEHV       GHWHUPLQHG                        
                                       
                                            
     GHVFULELQJ                               
                                        
                                            
     GHVFULSWLRQ     GHWHUPLQLQJ                          
                                                
                                            
             GHWUDQVL              GLDJQRVWLF       
     GHVLJQ                                 
     GHVLJQDWHG                                   
               GHYHORS                  GLDPHWHU         
                          GHYHORSP                
     GHVLJQDWLRQ                          GLFKRWRPRXV      
                                            
     GHVLUHV         GHYHORSHG                            
                                    GLFWDWH      
     GHVLVW               GHYHORSP    GLH         
                                    GLHG       
            GHYHORSPHQW                          
                       GHYHORSV       GLIIHU      
                                            
                    GHYLDWLRQ                   
     GHVLVWDQFH                                     
                        'H9ULHV               
                              GLIIHUHQFH       
                                           
     GHVLVWHG                                 
                       'H9U\                
     GHVLVWHUV                                       
                         'H[XV                
                       GLDEHWHV                   
     GHVSLWH                                 
                     GLDJQRVH                  
                                           GLIIHUHQ
     GHWDLO                            GLIIHUHQFHV      
                         GLDJQRVHG             GLIIHUHQWO\
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                          GLVHDVH                
               GLVFORVXUH                            
                                            
                        GLVPLVVHG                 
     GLIILFXOW       GLVFORVXUHV                          
                          GLVPLVVLQJ                 
                                          
                           GLVRUGHU               
                                GLYLVLRQV        
     GLIILFXO                                  
                                    '1$         GRFXPHQW
     GLIILFXOW\      GLVFRPIRUW             GRFWRU      
                                             
     GLJ        GLVFRUGDQW                        
                                          GRFXPHQWHG
                                            
     GLUHFW     GLVFRYHUHG                           
                                          GRFXPHQWLQJ
                                             
               GLVFRYHULQJ                      GRFXPHQWV
     GLUHFWHG                                      
                GLVFXVV                          
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     GLUHFWLQJ                                 
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     GLUHFWO\                                       GRLQJ 
                 GLVFXVVHG                GRFWRUV          
                      GLVSDULW\                  
     GLUHFWRU                                      
                          GLVSURSR    GRFXPHQW         
                                           
     GLVDGYDQ     GLVFXVVHV       GLVWDQFH                
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     GLVDJUHH                  GLVWLQFW               
            GLVFXVVLQJ                        'RQQD 
                      GLVWLQJX               GRRU 
              GLVFXVVLRQ                          '25$ 
                    GLVWUDFWHG              
                                          'RULDQH
                          GLVWUHVV                   
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                                         GRXEOH
                                       
                                               
                       'LVWULFW               GRXEW 
                                            
     GLVDJUHHG                                     GRZQORDGHG
                GLVFXVVLRQV     GLYHUVLW\               
                                          GRZQV 
     GLVDSSHD                GLYLVLRQ                  GRZQVLGHV
                                              
     GLVDVVRF                                  
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     'U      GUDIWHG                  G\VSKRULD        
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                                        G\VSKRULFV
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                         'XFDU               
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                          GXH                   
                          'XNH                    
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                                           
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                                   HDUO\ 
                                               
                                            
                                             
               GULQN                            
                                         
                                            
               GULYH                          
                                            
                                            
               GULYHQ                        
                                              
               GULYLQJ         '8/<              HDUQHG 
                          GXUDEOH                  HDVLO\ 
                                             (DVW 
                GURSSHG         G\LQJ              
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     (DVWHUQ                   HOLWH             
                                         HTXDOO\
                   (OL]DEHWK              
                                   HTXDOV
                       (PEDUFDGHUR                
                                  HQGRFULQ     (ULFD 
     HDV\                  (PPD               HUURUV 
                                           HVSHFLDOO\
                HIILFDF\        HPRWLRQDO      HQGRFULQ       
     HDWHU                              
     HGLWLQJ         HIIRUW                             (648,5( 
                                                
     HGLWLRQ         HJJ      HPSOR\HG       HQGRFULQ      
                HJJV                           
     HGLWRU      HLJKW      HQDEOH                  
     HGXFDWLRQ                           HQGRJHQRXV       
                      HQGHG                
                               HQGSRLQW         
                        HQGRFULQH                 HVVHQWLDO
                                HQGV       
                (LJKWHHQ                           
                                HQMR\     HVVHQWLDOO\
               HLWKHU                        
     (GZDUGV                       HQUROOHG        HVWDEOLVK
                                     
                                HQUROOLQJ        
                                         (VWDEOLV
                               HQVXUH      
     HIIHFW                                 HVWLPDWH
                                             
                                  HQVXULQJ         
                                           
                                        HVWURJHQ
                               HQWHULQJ         
                                              HW 
     HIIHFWLYH                                       
                                    HQWLUH       
                                               
     HIIHFWLY     HOLFLWV                              
                                              HYDOXDWH
     HIIHFWV         HOLJLELOLW\                        
                                               
                HOLJLEOH                 HQWLUHW\         
                                             
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                                 HQWLWOHG        HYDOXDWHG
                                      
                                              
                HOLPLQDWH                          
                                              
           HOLPLQDWHG                          HYDOXDWLRQ
                                           
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                                       
     HYDOXDWLRQV                                    
                H[DPLQH                             
                                              
     HYHQWV          H[DPLQHG        H[HFXWLYH                
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               H[DPLQHV        H[KLELW                 
     HYHQWXDOO\                       H[KLELWV         
               H[DPSOH                            H[SHULHQFHG
     HYHU\ERG\                        H[LVWHQFH        
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                                        H[SHULHQFHV
     HYHU\ERG\ V                                  
                H[DPSOHV                           
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     HYLGHQFH                                    H[SHULHQ
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     HYLGHQW         H[FOXGHG                             
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                H[SUHVVLQJ                           
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                                            
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             H[WHQGHG                             
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               H[WHQVLYH                          
     H[SHUWV                             IDPLO\           
            H[WHQW                         
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                                           IHHOLQJ
                          )DLOLQJ        )$03721       
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     H[SODLQHG                  IDLQW                  
                H[WHUQDOO\      IDLU                 IHHOLQJV
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               H[WUHPH                             
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     H[SODLQV                                      IHHV 
                H[WUHPHO\                          IHOORZ 
     H[SODQDWLRQ                                  IHOORZVKLS
                    )DLUO\         IDUWKHU          
     H[SORUDWLRQ                                    IHOORZVKLSV
                         IDLUQHVV       IDVKLRQ          
     H[SORUH                                  IHOW 
                                              
     H[SORVLYH                        IDVW       
                                     IDVWHU          IHPDOH 
     H[SUHVV                                    
                                          
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     H[SUHVVHG       IDFHG      IDOVH                 
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               IDFW                        
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                                           IOXFWXDWLRQ
            IHPLQLQH                           
                                             IOXLG 
               IHUWLOH                          
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            IHUWLOLW\                ILW          
                                        
                                   ILWQHVV          
                     ILQGLQJ                   
                                 ILWWLQJ          
                                              
                                ILYH        
               IHUWLOL]HG                          )OXLGLW\
                                         
                      ILQH             IRFXV 
                                            
                                         
            ILHOG       ILQJHUV                    
                                        IRONV 
                     ILQLVK                  
                                           
                                             IROORZ 
                                             
                           ILQLVKHG                 
                                                
                                             
                       ILUH     ILYHPLQXWH      
                         ILUPO\               
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                                               
           ILJXUH                           
                                         
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                                             IROORZHG
                                            
     IHPDOHV     ILOH                     
             ILOHG                       
               ILOLQJ                     IROORZLQJ
                ILOO                       
               ILQDO                      
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                                            IROORZV
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     IRRWEDOO                                   
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     IRRWQRWH                                     
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                                          
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     IRUFORVHG                               
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     IRUJHWWLQJ                               
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     IRUJRWWHQ                                  
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                                         
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                     )UHHGRP                  
                                IXQFWLRQLQJ       
                    IUHHVW\OH                  
                                       
                        IUHTXHQF\               
                                IXQFWLRQV          
                     IUHTXHQW                 
                                    IXQGDPHQWDO       
                     IUHVK                 
            IRUPV      IULHQG               
               )RUW\WKUHH               IXQQ\       
                        IULOO\    IXUWKHU           
             IRUZDUG         IURQW                  
                                              
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                                             
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             )RXQGDWLRQ      IURQWDO                          
                                         *          
                IRXU       IUR]H    *             
                              JDLQHG            
                            IUXVWUDWLRQ                
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                      IXOO              
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                          JDS        
                                          
                                   *DYHQSRUW         
                                          
             IRXUWK                   *'JHQGHU         
                                               
                                        
             IUDFWXUHV                            
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            )UDQFLVFR       IXOO\     JHQGHU        
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               IUDQNO\                            
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               IUHH                             
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                                    
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                                             
                    JHQGHUD            JLUOV 
                                      
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                      JHQGHUHG                  JLYH 
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                  JHQHUDO                 
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                               JHQHWLF      
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                                         
                            JHQHWLFLVWV      
                                                
                             JHQHWLFV         
                                             
                              JHQLWDOLD        
                                        
                                          
                                           JLYHQ 
                                              
                                         
                                       
                                 JHQLWDOV         
                                            
                     *HQHUDO V      JHWWLQJ          
                                           
                      JHQHUDOL               
                                        
                      JHQHUDOO\                 
                                              
                                        
                                         JLYHV 
                                           
                                   JLYLQJ 
                               JLUO        
                                      
                                       JODG 
                                   JLUOV       
                                      JODQFH
                                       
                                   JOLGH 
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     JR                             *51+     
                                             
                                        
                               JURXS    
                                          
                                          
                                          
                          *RRGQHVV            
                                            
                          JRVK               
                                        
                                       
                                JURXSV   
                         JRWWHQ                 
                                          
                           JRYHUQPHQW     JURZLQJ   
                                     JURZV   
                           JRYHUQPH    JURZWK   
                                               
                      JUDE             *XLGOLQHV
                      JUDFLRXV               
                                            JX\V 
     JRDO                 JUDGH     JXHVV 
                                         +
                                        +$/ 
                                         KDOI 
     JRDOV               JUDGHG                  
     *RG                           JXHVVLQJ      
     JRHV                  JUDGHUV                
                                   JXLGH     
                          JUDQW               
                                         
                                        
                          JUDQWV            
                                   JXLGHOLQH    KDOIZD\
              JROO\                     
               JRQDGDO     JUDSKLF                
     JRLQJ                           JXLGHOLQHV    
                          JUDWHIXOO\              
                                        KDQG 
                JRQDGV     JUD\           
                               
                                       
            JRRG                      
                           JUHDW           
                                     
                                     KDQGHG 
                          JUHDWO\             
                                           KDQGLQJ 
                         *UHHQ           
                                      KDSSHQ 
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                         JULS              
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               KDUP      KHDGHG                
                                        
                      KHDGLQJ               
                                          
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                             KHDOWKE     KHOS 
     KDSSHQHG                                        
                                    KHDOWKFDUH       
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                                            
                                           
                                   KHDU       
     KDSSHQLQJ       KDUPHG                   KHOSLQJ
                          KHDGOLQH                 
                                            
            KDUPIXO         KHDOWK               KHOSV 
                                        +(/67520
                                               
     KDSSHQV                                  +HPEUHH
                                         
                                             
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     KDSSLHU                                     +HQLJ 
                                         +HUEHUW 
     KDSS\                                 
                                           KHVLWDWH
                            KHDUG      
                                       KH\ 
                                          KLJK 
                                          
               KDUPLQJ                              
                                              
                KDUPV                      
     KDUDVV     +$51(77                             
     KDUDVVHG                                 
               +DUSHU                   KHDULQJ          
     KDUG                                   
               +DUULVRQ                          
                                        
                                    KHDUW       
                +DUWQHWW                        
                                           
                                    
                                   +($7+(5      KLJKHU 
                             KHDYLO\          
               +DUYDUG                            KLJKHVW
                                            
               KHDG               KHLJKW     KLJKO\ 
     KDUGHU                                        
                                   KHOG         
                                            
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                                            
                                           
     +LOWRQ      KRUPRQHV                             
                                           
                         KXQGUHGV                    
     KLVWRULFDO                                       
                                              
     KLVWRU\                +XVNH                
                          K\SHUWK\                 
                                           
                          K\SRWKHW                 
     KLW                                      
     KLWWLQJ                  K\SRWK\U    LGHQWLILHV        
                                              
     +2/&20%                                           
     +ROFXPE                     ,                    
                            LGHD                    
     KROG                                         
     KRPH                                    
     KRPHOHVV               LGHDO                 
                       LGHDOO\        LGHQWLI\          
     KRQHVW                                     
                                              
     KRSH              LGHDWLRQ                    
                                                 
               KRVSLWDO                           
                                                 
                        LGHQWLIL                 
     KRUPRQDO        KRVSLWDOV                              
                       LGHQWLIL                 
                KRXU                        
               KRXUV                      
                                               
                                            
             KRXVHNHH                          
                                   LGHQWLI\LQJ       
               KXPD                            
               KXPDQ                          
                                        
                                             
                               LGHQWLW\          
                                               
                                             
                                       
     KRUPRQDOO\                                 
                                             
     KRUPRQH                                       
                                          
                                               
                                            
                                             
               KXPDQV                          
                          LGHQWLILHG             
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            LPSOLFDW     LQFHQWLYH                  
                                          
                         LQFHQWLYHV                
           LPSO\LQJ                 LQFRPSUH      
                          LQFHSWLRQ                   
            LPSRUWDQW                LQFRQJUX      
                   LQFK                
                       LQFKHV               
                                               
                                      
                                         
                    LQFLGHQFHV               
                                           
                      LQFOLQHG                  
                                LQFRQJUXHQW      
                          LQFOXGH                   
                                          
                                LQFRQJUXLW\      
                                          
                                  LQFUHDVH         
                LPSUHFLVH                            
                                           
                                   LQFUHDVHG        
                                            
                                        
                                           
           LPSUHFLVLRQ              LQFUHDVLQJ       
                   LQFOXGHG              LQGLYLGX
               LPSUHVVLRQ                         
                             LQFXPEHQW        
               LPSURYH                             
                               LQGLFDWH        LQGLYLGX
                                            
                                LQGLFDWHG        
                      LQFOXGHV                  LQGLYLGX
     LOOQHVV                                     
                                            LQGLYLGXDOV
     LPDJLQJ                         LQGLFDWHV         
                LPSURYHV                            
     LPSDFW                         LQGLFDWLRQ        
                LPSURYLQJ       LQFOXGLQJ                 
                                                
               LPSXOVH                            
     LPSDLULQJ                                     
                                    LQGLFDWLRQV      
     LPSDLUPHQW      LQDFFXUDWH                           
                                         
                                   LQGLFDWRU        
                                         
     LPSDLUV                         LQGLYLGXDO       
                         LQFOXVLRQ                  
                LQDSSURS                       
                      LQFOXVLYH                
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                               LQVWLWXWLRQ     LQWHUYHQLQJ
                                          
                              LQVWLWXW     LQWHUYHQRU
                                                 
             LQIDQW V               LQVXUDQFH         
                    LQIRUPHG                  
                LQIHU                       LQWHUYHQ
               LQIHUHQFH                LQWDNH      
                        LQLWLDO        LQWHQG          LQWHUYHQ
            LQIHUWLOLW\                          
                                    LQWHUDFWLRQ      
               LQIOXHQFH       LQLWLDWLQJ                 
                                   LQWHUDFW      
                                      
                          LQLWLDWLRQ                 
             LQIOXHQFHG               LQWHUDFWV        
                        LQMHFWLRQ                 LQWHUYLHZ
                            LQWHUFKD       
             LQIOXHQFHV                           
                           LQMXQFWLRQ     LQWHUHVW         
                                                LQWHUYLH
                          LQMXUH               
                                  LQWHUHVWLQJ     LQWHUYLHZV
               LQIRJUDSKLF     LQMXULHV                   
                                 LQWHUOLQNHG     LQWUDVSH
                       LQMXU\                 
                LQIRUP                   LQWHUQDO         
                         LQQHU                LQWULFDWHO\
            LQIRUPDWLRQ     LQTXLU\        LQWHUQHW         
                                          LQWURGXFHG
                         LQVLGH         LQWHUSUHW        
                                             LQWURGXF
                                    LQWHUSUH      
                          LQVLVW                   LQWURGXF
                                    LQWHUUHO      
                         LQVWDQFH                 LQYHVWLJ
                                   LQWHUUXSW        
                                     
                                              LQYHVWLJ
                                              
                                           LQYHVWLJ
                                  LQWHUVH[         
                                            LQYLVLEOH
                                               
                                                 
                          LQVWDQW              LQYLWDWLRQ
                          LQVWLWXWH               
                                          LQYLWHG 
     LQHYLWDEO\                               
                                               
     LQIDQF\                                       LQYROXQWDU\
                                   LQWHUVH[XDO      
     LQIDQW                                     
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               -$&.621      .DW]:LVH      NQHH         
     LQYROYHG        -DFNVRQY                         
                                 NQHHV        
               -DFRE                             
                          NHHS     NQHZ         
               -DNH                            
               -DQXDU\                              
                                           
     LQYROYHV                                         
                                     NQRZ          
                                                 
               -RDQQD          NHHSLQJ             
                                             
     LQYROYLQJ       MRE                           
                         NHHSV             
                                                
     L3KRQH                     .HOO\               
                                            
     LVRODWHG        MREV                          
            -2+1$7+$1                          
     LVRODWLRQ                    .HOO\ V             
               -RKQVRQ      NHSW                   
     LVVXH      MRLQW      NHUIXIIOH                
            -RVK                               
             -26+8$       NLGV                   
                MRXUQDO                          
                                              
                                              
     LVVXHG                                   
     LVVXHV                                 
               MRXUQDOV                          
                      NLQG               
                                                
               -R\QHU                       
                                            
                                            
                                               
                                           
               MXGJPHQW                             
                                              
               -8/,(                         
               MXPS                          
            MXQLRU                                
                                          
                                                    
                     .                           
                .$1*                             
     ,V]DF     NDU\RW\SH                        
     LWHP                   NLQGV                 
            .$7(/<1                            
     LWHPV     .DWKOHHQ                          
                            .OLQHIHO                
           -                                       
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                            /HDK       
                                  OHDQ        
                                   OHDUQ       
               ODEHOLQJ        ODS                   
                                               
                         /DSLQVNL                  
               ODEHOV                             
                                           
                ODERUDWRU\      ODUJH                 
                                OHDUQHG          
               /DFH\                              
               ODFN                       
                /$,1(<                OHDUQLQJ         
                        ODUJHU               
                /DPEGD             OHDYH        
                   ODVWLQJ                    
                                             
            /DPEHOHW        ODWH      OHDYLQJ          
                      /DXUD               
               ODQJXDJH                 /HHSHU          OHWWHU 
                                      OHYHO 
                          /$85(1&(             
                       ODZ                   
                                           
     NQRZLQJ                         /HHSHU V         
                                             
     NQRZOHGJH                        OHIW        
                                     
                                         
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                                        
                                        
                                            
                               OHJDF\          OHYHOV
                           /DZUHQFH                  
                               OHJDO         
                       ODZVXLW                   /HYLQH V
                                            
                          OD\PDQ                     
                                           /LD 
                          OD\PDQ V               
                                        
     NQRZQ                OHDG     OHJDOO\          
                                              
                         OHDGLQJ        OHJLVODWLRQ      
                                            
     NQRZV                 OHDGV    OHQJWK     /LEHUWLHV
                                        OHVW        
           /                   OHDJXH         OHW V      OLELGR 
     /                               OLFHQVHG
     ODEHO            OHDJXHV                    
                                              
     ODEHOHG                                        OLIH 
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                                            ORRNLQJ
               OLSV                              
               OLVW                              
                                           
                                    ORQJLWXG      
                                               
                                   ORRN        
                                               
               OLVWHG      OLYH                   
                                                  
                         OLYHV             
                OLVWHQ                             
                         OLYLQJ                 
                                           
                                        
                                          ORRNV 
                                              
     OLIHVSDQ        OLVWHQLQJ                           
                         //3                   
     OLJKW      OLVWV     OREH                 
                                           
               OLWHUDOO\       ORFDO              /RSLDQR
                          ORFDWH                  
     OLNHG      OLWHUDWXUH                         /RUG 
     OLNHOLKRRG                 ORFDWLRQ              /RV 
                                               
                       ORFDWLRQV                ORVH 
                                             ORVLQJ 
                       ORGJHG                    ORVW 
                                           
     OLNHZLVH                   ORQJ              
                                                
     OLPLWDWLRQV                                     
                                             ORW 
     OLPLWHG                                           
                                               
                                           
     OLPLWLQJ                                      
                                          
     OLQH                                 
                                                
               OLWLJDWLRQ                           
                                              
                                   ORRNHG      
                                                
               /LWPDQ                              
                                              
     OLQHV      OLWWOH                        
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                                                  
                         ORQJHU                   ORWV 
                                               
                                          
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                                          PDWFK 
                               PDUNHG      
                                              
                           PDOHV                  
                                        
                                           PDWFKHG
                                               
                                             
     ORXG      PDNLQJ                          PDWFKHV
     ORXGO\                              
                                             
                                              PDWFKLQJ
     ORZ                                     
                PDOH       PDPPDOV               
                                            PDWHULDOV
                                   
                    PDQ                 PDWK 
                                            PDWWHU
     ORZHU                                
                       PDQDJHG                   
     OXQFK                                
                                            
                        PDQDJHPHQW                
                                               
                           PDQQHU               
                                                 
     /XQGEHUJ                   0DQXDO     PDUNHU      
                        PDQXIDFW            
                                PDUNHW      
                     PDQXVFULSW                 
     OXQJ                          PDUNLQJ     0DWWHUV
                      PDS                  
                            0DUFK                PDWXUHG
           0                            PDUNV        
     0'                                   PD[LPL]H
                      PDUN      0DUVKD           
                                          0D\R 
                             0DUWLQ           
                                            0F&XVNH\
                              PDVFXOLQH         
     PD DP                                    PHDQ 
                                                
     PDLQ                                 
     PDLQWDLQ                           PDVN         
                                              
     PDMRU                                   
                                    PDVNHG       
     PDMRULW\                    PDVV       
                                          
                                             
                                 PDVWHU V         
                                        
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                                               PLGGOH 
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                          PHGLFLQH                  
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                                               PLQG 
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     PHDQLQJ                             PHQWLRQ          
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                       PHHW     PHQWLRQHG        
                                           
                         PHHWLQJ                    
     PHDQLQJIXO                                      
                                       
     PHDQLQJI                               PLQGIXO
                   PHHWLQJV                  
     PHDQV                                     PLQH 
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               PHGLFDOO\                        
                          PHPEHU               
                                             PLQXWHV
                        PHPEHUV        PHQWLRQLQJ       
                PHGLFDWLRQ                            
                         PHQ       PHUHO\           
                                            
     PHDQW                      PHVVDJHV         
                                       
                                 PHW          
                                          PLQXWHV
                                  PHWDEROLF        
                           PHQVHV               PLVFKDUD
                          PHQWDO     PHWKRG      
     PHDVXUDEOH                             PLVFRQVWUXH
                                                
     PHDVXUH                             0+         PLVKHDUG
                              PLF         
     PHFKDQLVP                       0LFKDHO         PLVLQWHU
                                          
     PHGLD                               PLVLQWHU
                               PLFURSKRQH       
                                            PLVOHDGLQJ
     PHGLFDO     PHGLFDWLRQV            PLFV        
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                                             QHFHVVDU\
                        PXOWLSOH                  
                                            
     PLVUHDGLQJ      PRRG                QDWDO      QHHG 
                0RUJDQ                          
     PLVUHSUH                                
                                          
     PLVUHSUH                PXPEOLQJ                   
                                              
     PLVVSHDN        PRUQLQJ         PXVFOH                
                                            
     PLVVSRNH                                    
                           PXVFXODWXUH               
               0255,6(<                           
     PLVWDNH                     PXWDWLRQV                  
                PRVVDLFLVP                           
     PLVWDNHQ                                        
               PRWKHU                             
     PLVXQGHU                PXWHG                
                          PXWLQJ    QDWLRQ V         
     PLVXQGHU                                         
                                1        1DWLRQDO         
     PL[                  1                 
     PL[HG                               
     PL[WXUH                                    
                PRWLYDWH        QDPH                 
                                     QDWXUDOO\        
                0RXQW                        QHHGHG
     PRGHOHG                                        
                PRXWK                        
     PRP                                       
     PRPHQW      PRYH                QDYLJDWLQJ      QHHGV 
                                              QHJDWLYH
                                     1&$$       
                                          QHLWKHU
                                              
                                   QHDU        
                         QDPHG     QHDUO\          QHXURORJLVW
                PRYHG      QDPHV                
                PRYHV                        
               PRYLQJ               QHFHVVDULO\     QHYHU 
                                               
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     PRQLWRU         PXFN                        
                PXIIOHG                              
     PRQWK                 QDUUDWLYH                  
                                               
                                             QHYHUWKH
     PRQWKV          PXIIOLQJ                          
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               PXOWLGLV     QDUUDWRU                 QHZ  
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                QXDQFHV                       
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     QHZVSDSHU                            
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     QLFH                              
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     1,0+                                  
                                          
     QLQH                                  
     1LQHWHHQ                                    
                                          
     QRLVH                                    
     QRQV\VWH                                 
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     QRRQ      QXPEHUV                             
     QRUPDO                                  
                                              
               1XUVH                        
               1<                          
                                            
                      2                         
               R                            
                                                
                R FORFN                            
     1RUWK                                    
               2DNV                            
                RDWK                       
                                               
               REHVH                     
               REMHFW                        
     QRWDU\                                 
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                                        
     QRWH                                   
                                             
               REMHFWLQJ                          
     QRWHV                               
               REMHFWLRQ                          
                                        
     1RYHPEHU                               
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                                            RIIHULQJ
                          REMHFWLYH        
                                         
                                     
                             REMHFWV          
                                            
                           REOLJDWLRQ       
                                          
                                REVHUYDEOH      RIIHUV
                                      
                                REVHUYDWLRQ     RIILFH 
                                              
                                         
                               REVHUYDW      
                                         
                              REVHUYHG        RIILFLDO
                                           
                            REWDLQ      
                          REWDLQHG        2IWHQWLPHV
                                         
                                 REYLRXVO\       RK 
                                          
                                    
                                      
                               RFFDVLRQ         
                                      
                                         
                              RFFXSDWL      
                                           
                               RFFXU       
                                         RND\ 
                                        
                                   
                                       
                                 RFFXUUHG          
                                       
                                           
                                           
                                        
                                RFFXUULQJ        
                                      
                                          
                                      
                                          
                                          
                               RFFXUV           
                                          
                            RIIHQVH          
                                         
                        REMHFWLRQV     RIIHU       
                            RIIHUHG          
                                         
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               RQH V               RUJDQL]D        
                                             
             RQHSDJH                             
                                 
               RQHV                RUJDQV             3
                                            3  
                                   RULHQWDWLRQ        
                                                   
               RQJRLQJ                           
                                   RULJLQDO        SP 
                RQVLWH                            
                         RSLQLRQV                
                RRSV                         
                RSHQ                         SDJH 
                                                
                                             
               RSHQLQJ         RSSRUWXQ             
                                            
                      RSSRUWXQLW\                  
               RSLQH            RXWFRPH           
            RSLQLQJ                               
                                              
                RSLQLRQ                RXWFRPHV          
                        RSSRVHG                     
                                             
     ROG              RSSRVLQJ                 
                                             
                       RSSRVLWH                   
                                            
                                 RXWVLGH       
     ROGHU                                         
                  RSWLPLVWLF                  
                                               
                      RSWLRQ                 
                                           
                   RSWLRQV                 
                                                
                                              
     ROGV                                     
                                                
     2O\PSLDQ                  RUGHU    RYDULHV       
                               RYHUDOO           
     RPLVVLRQ                                       
                         RUGLQDU\                    
     RQFH                                     
                          RUH      RYHUODS       
                           RUJDQL]D    RYHUODSSHG        
                                             
                              RYHUSURG       
                                            
                                   RYHUUHSU       
                         2UJDQL]D                
                                    RYHUZKHO       
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                                         
                         SDUODQFH       SDUWLFLS      
                                                SDVVHG 
                         SDUW                 
                                           SDWK 
                                         SDWKZD\V
                                   SDUWLFLS      
                                               SDWLHQFH
                                               
                                             SDWLHQW 
                                            
                                         
                                       
                                              
                             SDUWLFXODU       
     SDJHV                                   
     SDLG                                  
                                       
     SDSHU                                      
                                    
                                               
                                              
                                             
                                          
     SDSHUV                               
                                            
                                            
               SDUDJUDSKV                           
                                              
               3DUGRQ                        
     SDUDJUDSK                                      
                                            
             SDUHQW                             
                                            
                                         
            SDUHQWDO                          
                        SDUWLDO                   
            SDUHQWV                             
                   SDUWLFLS               
                                              
                      SDUWLFLSDWH                
                                    
                                    SDUWLFXO      
                                      
                               SDUWLHV       
                                           
                                           
                               SDUWO\      
                                    SDUWQHUV         
                                           
                              SDUWV       
              SDUHQWV                           
                                            
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     SDWLHQW V              3&26               SHUFHQWDJH
                   SHDN                  
                                             
                       SHDNV                
                                         
                                             
                                          SHUIRUP
     SDWLHQWV              SHGLDWULF                 
                                      SHUIRUPDQFH
                                                
                      SHGLDWUL               
                                              
                                          
                          SHGLDWULFV           SHUIRUPHG
                                         
                                         SHULRG 
                                              
                                             
                                             
                    SHHU                 
                                            
                                       
                                         
                                         
                                        
                       SHHUHG             
                SDWLHQWV        SHHUV               SHUPDQHQW
                                              
            3DWULFLD                            
                          3HJJ\                 
               3$75,&.     SHQLV                 
               SDXVH                           SHUPLVVLRQ
                                          
                                           SHUPLW
                         3HQQV\OY               
                                      SHRSOH V        SHUPLWV
                       SHQXOWLPDWH               
                                SHUFHQW      
                                              SHUPLWWHG
                         SHRSOH             
                                            
                                            
                                             
                                      
                SDXVLQJ                           
                                          SHUPLWWLQJ
                                            
                                     SHUVLVW
           SD\                          
           SD\LQJ                      
                SD\PHQWV                         
                                                 
                SD\V                         
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                                               
     SHUVLVWHQFH                SK\VLFLDQ      3ODLQWLII V      
                                        
               SHUVRQV              3ODLQWLIIV       
                                                
                      SK\VLFLDQV     SODQ        
             SHUVSHFWLYH              SODQQLQJ         
                      SK\VLROR            
                                            
               3HUVSHFW           SOD\       
                                              SRLQW 
     SHUVLVWHQW      SHUVXDGHG       SK\VLROR                
                                            
               SKDOLF     SK\VLRORJ\                
               SKDUPDFH                    
     SHUVLVWHUV                                
                                        
     SHUVRQ                                
                                            
            SKDVH      3,                   
                   SLFN               
                        SLFNLQJ                   
                                         
                                   SOD\HG           
                                         
                      SLFNV               
                    SLHFH              
                                        
                SKHQRPHQRQ                          
                                    SOD\LQJ          
                           SLHFHG            
                       SLHFHV                  
              SKRQH                          
                                               
                        SLQ                 SRLQWV
                                  SOHDVH       
                          SODFH            SROLFLHV
            SKUDVH                             
                                              
                                              
                                              
               SKUDVHV                              SROLF\ 
                                               
     SHUVRQ V        SK\VLFDO                             
                                        
                          SODFHG                
                        3ODLQWLII                 
                                        
                                3//&         
                              SRGFDVW      
     SHUVRQDOO\      SK\VLFDOO\                             
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                                   SUHOLPLDU\       
                                       
             SRVWHG                    SUHOLPLQDU\      
                          SUDFWLWL                
                SRVWLQJ                   SUHSDUDWLRQ      
                          SUHDGROH               
            SRVWSRQLQJ                SUHSDUH          
                       SUHDGROH                
               SRWHQWLDO              SUHSDUHG         
                                          
                         SUHFDXWLRQV                
                                               
                       SUHFLVH                   SUHVHQWD
                            SUHSDUHV          
     SROOHQ                                SUHVHQWHG
     SRRU                      SUHSXEHUWDO      
               SRWHQWLDOO\                       
     SRRUO\                                      
                                               
     SRSXODWLRQ                                     SUHVHQWLQJ
            SRZHU                          
               SUDFWLFH                 SUHV       
                             SUHVFULEH       SUHVHQWO\
                      SUHFLVHO\              
                                          SUHVHUYD
                                            
                        SUHFRFLRXV                 
     SRSXODWLRQV                                 
                                           
     SRUWLRQ                                     SUHVHUYH
                                               
                          SUHFRQGL    SUHVFULEHG      SUHVV 
     SRUWLRQV                                 
                                             SUHVVXUH
     SRVVLELOLW\                                   
                                           
                          SUHGRPLQ               SUHVVXUHG
                                    SUHVFULELQJ      
                       SUHIHU            SUHVVXUHV
     SRVVLEOH                                      
                                            SUHVWLJLRXV
                                            
                         SUHIHUHQFH                SUHVXPDEO\
                                                
                                             SUHWW\ 
                       SUHJQDQF\      SUHVFULS     SUHYDOHQFH
                                           
                SUDFWLFHV                           SUHYHQW
                                           
     3RVVLEO\                   SUHJQDQW       SUHVHQFH         
                                             
     3RVW                       SUHVHQW          
             SUDFWLFLQJ                          SUHYHQWV
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                        SURIHVVL    SURWHFW       
                SUREOHP                    SURWHFWLQJ        
     SUHYLRXV                  SURIHVVL               
                                SURWRFRO         
                          3URIHVVRU                  
                                                
                                   SURWRFROV        
               SUREOHPV                       
     SUHYLRXVO\                SURILOH        SURYLGH      
                SURFHGXUH                         SV\FKROR
                       SURILOHV                
               SURFHGXUHV                            
                          SURJUDP                  SV\FKRORJ\
                                   SURYLGHG         
                SURFHHG                         SV\FKRWK
     SULPDU\                 SURJUDPV                   
                                                 
                          3URJUHVV                  
     SULPDWHV        SURFHHGHG                            
                          SURJUHVVHV             SXEHUWDO
     SULRU      SURFHHGLQJ                           
                       SURKLELWHG              
                                                
                         SURORQJHG      SURYLGHU         
               SURFHVV                               
                                             SXEHUW\
                           SURPLQHQW                 
                                              
                                           
                                                
                SURGXFWLYH      SURPLVHG                  
                                              
                SURGXFWV        SURPRWLQJ                  
                                   SURYLGHU V       
                SURIHVVLRQ      SURQRXQFHG               
                                    SURYLGHUV        
                SURIHVVL     SURQRXQV                  
                                            
                      SURQXQFL             
     SULRULW\                                     
                          SURSRUWLRQ                
     SULYDF\                                    
                       SURSRUWL               
     SULYDWH                             SURYLVLRQV       
                       SURSRVDO                   
     SUREDEO\                     SV\FKLDWULF      
                    SURSRVHG                  
                                     SV\FKLDW      
                          SURSRVLQJ               
                                            
                          SURSRVLWLRQ    SV\FKLDWU\       
                                                
                                  SV\FKROR      
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                                   
             SXEOLF                         
                                     
                                          
                                            
             SXEOLFDWLRQ                       
                          SXUVXDQW            
                    SXUVXH             
                       SXVK                  
                                         
                        SXW                
                                        
                                        
                                             
                                            
             SXEOLFDW                     
                                           
                                        
                                           
                                             
                                          
                                          
                                        
            SXEOLVK                             
                                                
             SXEOLVKHG       SXWV                 
                    SXWWLQJ               
                                        
                                              
                                4                    
                      TXDOLILF               
                                               
                      TXDOLILHG                 
                                             
                SXEOLVKLQJ      TXDOLILHV              
                                         TXHVWLRQHU
                        TXDOLI\                 
                                  TXHVWLRQLQJ
               SXOOHG     TXDOLWDWLYH               
                                         
               SXUSRVH         TXDOLW\                
                                            
                                        
                                          
                                             
                       TXDQWLWDWH                 
                                            
                       TXDUWHUV              
                                          TXHVWLRQV
                      TXHVWLRQ                  
                                            
             SXUSRVHV                             
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                                            
                                   UHDFKLQJ         
                         UDLVHV               
                           UDQ      UHDG        
                      UDQGRP                 
                                              
                          UDQJH              
                                           
                                           
                                          
                                        UHDG\ 
                        UDQJHG                     
                                              UHDO 
                       UDQN             
     TXLFN                UDSLG                 UHDOL]H
                                           
     TXLFNO\                                UHDOO\ 
                                               
     TXLWH                UDSLGO\               
                       UDUH                 
                                           
                                              
                                            
                          UDUHO\                     
     TXRWDWLRQ                                     
                         UDULW\                     
     TXRWH                                 
                        UDWH                  
                                       
                                            
                                         
                                         
                                           
                       UDWHV            
            TXRWHG                         
             TXRWHV                       
                                          
            TXRWLQJ         UHDVN            
                                            
                                             
                                      UHDGLO\          
                    5                          
              5                 UHDGLQJ      
                                           
                          UHUHDG              UHDOP 
            UDFHV                         UHDVRQ 
            5DFKHO       UHUHDGLQJ                
                                                  
             5DG\      UHDFK               
             UDLVH              UHDGV     UHDVRQDEOH
                                             
               UDLVHG                    
                       UHDFKHG                
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                                       
                                     UHIXVH
                                             
               UHFDOOLQJ                          UHIXVLQJ
                                          
                                  UHIHUHHG        UHJDUG 
               UHFHLYH                       
                                           
                                   UHIHUHQFH        
             UHFHLYHG                          
                                                
     UHDVRQDEO\                                  
                                                
     UHDVRQLQJ                                    
            UHFHSWLRQ                           
                                           
     UHDVRQV         UHFLWHG                              
                                 UHIHUHQFHG       
               UHFRJQL]                         
     UHEXWWDO                          UHIHUHQFHV       
              UHFRJQL]H                         
                                  UHIHUUDO         
                                          
                UHFRJQL]HG      UHFRUGHG       UHIHUUHG         
                                            
               UHFROOHF                         
                                              
                                              UHJDUGLQJ
                              UHIHUULQJ        
             UHFRPPHQG       UHFRUGLQJ                  
                                          
                                               UHJDUGV
             UHFRPPHQ                         
     UHFDOO                                  UHJLPHQ
                                            
                                      UHJLRQDO
                                              
                                          UHJLVWU\
                               UHIHUV       
                         UHFRUGV                
               UHFRPPHQ                           
                                         
                                            
                                              
                          UHFUXLWHG              UHJXODU
                UHFRPPHQGHG                          
                          UHFUXLWPHQW              UHJXODUO\
               UHFRPPHQ                           
                      UHG       UHIOHFW          
                UHFRQFLOH       UHGDFWHG                   
                                  UHIOHFWLYH      5HLQKDUGW
               UHFRUG     UHIHU                   
                                 UHIUHVK          
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     UHODWH      UHO\LQJ                              
                                           
     UHODWHG     UHPDLQ                          
                                            
                                              
                                           
                                            
     UHODWHV     UHPDLQGHU                         UHSUHVHQW
     UHODWLQJ                                     
                UHPHPEHU                      
                                            
                                                 
                                                
                                             UHSUHVHQ
     UHODWLRQ                           UHSRUWHG          
                          UHSHDWLQJ             UHSUHVHQWHG
     UHODWLRQ                                 
                            UHSKUDVH       UHSRUWHU     UHSUHVHQ
                                               
                         UHSRUW           UHSURGXF
                                        
                                         UHSURGXF
                                           
     UHODWLRQ                              
                                      
                                         
     UHOHDVHG                                  UHSXWDWLRQ
               UHPHPEHULQJ                       
     UHOHYDQFH                                      
               UHPLQG                             
                                               
     UHOLDELOLW\     UHPLQGLQJ                      
                                                
     UHOLDEOH        UHPRWH                      UHTXHVW
                                         
                UHPRWHO\                          UHTXHVWV
                                                
     UHOLHYH         UHPRYH                       UHTXLUH
                                            
                                      
                UHPRYHG                          
                                    UHSRUWHU V       
                UHPRYLQJ                             
     UHO\                           UHSRUWLQJ        
                                        UHTXLUHG
                UHQGHUHG                          
                                          
                                           
               UHQHZ            UHSRUWV      
             UHQRXQFH                             UHTXLUHPHQW
                                              
               UHSHDW                         
                                             
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     UHTXLUHP                                
                                            
     UHTXLUHV        UHVSHFWHG       UHYLHZ                
                                       5REHUWD 
                                     
                                             
                                      5RJHU 
                                                
                                              
     UHVHDUFK                                      UROH 
              UHVSHFWLYH                          
                                              
           UHVSRQGHG       UHYLHZHG                   
                                            
            UHVW                              
                                        UROHV 
             UHVWDWH                           URRP 
                                               
             UHVWLQJ                            
                                        
             5HVWRUD\                            
                                              
             UHVWULFW                           
                                              
                UHVWURRPV       UHYLHZLQJ                  
                                            
            UHVXOW      5(9,(:6                   URXJKO\ 
                                               
                          UHYLVH                    URXWLQHO\
                                              
                                              UXOH 
                                          UXOHV 
                UHVXOWHG                              
                           ULJKW                 
                UHVXOWLQJ                         UXQ 
     UHVHDUFKHUV                                    
                UHVXOWV                         UXQQLQJ
                                         
                                           UXQV 
                                              
             UHVXPH                               
                                   ULJRU       
     UHVHUYDW                                
               UHVXPLQJ               ULJRURXV        UXVK 
                                         UXVKHG
             UHWUDFW                   ULVN      
     UHVHUYH                                        
                UHWXUQLQJ                          UXVKLQJ
     UHVLGHQFLHV                                   
                 UHYHUVH                   
     UHVLGHQF\                                           6
             UHYHUVLEOH               ULVNV      V  
     UHVSHFW                                     
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                         VFDQV                
                      VFKHGXOHG                  
     6DEDU                                    
     6DGUD               VFKRRO     VFLHQWLVWV       
                                            
     VDIH                        VFRSH        
                                            
                                      VHFRQGDU\
                                           
                                 6FRWW         
               VD\V               6FRWWVGDOH       
                                      VHFRQGV
                               VFUHHQ      
                                         
                            VFUHHQLQJ        
                                        
                           VFUROO     VHFUHWLRQ
                                    VFURWXP          
                                           VHFWLRQ
                              6&58**6       
     VDIHU                      VH            
     VDIHW\                                       
                                   VHD         
                           VFKRROV                   
                                   VHDOLQJ      
                               VHDUFK       
                              VHDVRQ          VHH 
                                                
                       VFLHQFH                     
                         VHDW        
                                              
     VDOHV                           6HDWWOH          
     6DQ                                        
                                 VHFRQG       
     6DUJHQW V                                    
                           VFLHQFHV                    
     VDWLVI\                                          
                       VFLHQWLILF                 
                                           
     VDZ                                       
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     VD\LQ                  VFLHQWLI               
     VD\LQJ                                  
                                         
                                     
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                                         
                          VFLHQWLVW                 
                VFDOH                          
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                                          
                                              
                              VHQWHQFHV         
                                                 
                               VHSDUDWH          
                                            
                                   VHTXHQFH          
                                             
                                                
                                VHULHV       
                                  VHULRXV           
                                               
                                   VHULRXVO\         
                                                 
                                    VHUYH         
                                             
                    VHOHFW    VHUYLFH           
                         VHOI                   
                          VHPLFRORQ      6HUYLFHV           
                                                
                                VHUYLQJ           
                       VHQVH                  
                                   VHW         
                                           
                         VHQW                 
                       VHQWHQFH       VHWWOLQJ          
                                          
                                   VHYHQ        
                                  VH[          
                                             
                                             
                                              
               VHHLQJ                     
                                      
                                               
                                        
                                              
                                           
                                          
                                            
            VHHNLQJ                        
                                         
                                                
                                          
               VHHQ                       
                                          
                                        
                                      
                                               
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                       VLJQLILFDQW                
               VKLIWV                            
                                             VRFLDO 
               VKRUW                       
     6H[*HQGHU                      VLW        
                                            
     VH[HV      VKRZ                           
                                        
                                            
     VH[XDO                         6LWWLQJ      
                                VLWXDWLRQ        
                                             
                                    VLWXDWLRQV       
                                        
                           VLJQLILF                
             VKRZLQJ               VL[          
                          VLJQLQJ               
                       VLJQV               
              VKRZQ                            
                                             
                                          
           VKRZV      VLPLODU                   
                                        
             VKXIIOH                  6L[WHHQ          
                                              
               VKXIIOLQJ                VL[WK       
                                     VL]H       
                                        
               6KXPDQ                6NHHPVPD        VRFLDOO\
                          VLPLODUO\                 
                VLFN                             
                VLGH                 VNHOHWRQ         
     VH[XDOJ                                     
                         VLPSOH         VNLOO       
     VH[XDOO\                            VNLOOV           
                                             
                         VLPSO\               VRFLHWLHV
                                    VNLQ         
                                   VNLS       VRFLHW\ 
     VKDUH                                      
                                    VNLSSHG          
                      6LPXODWLRQ                
                                    6OLFHU       
                         6LQDL                  
                                    VORSH        
     VKDUHG     VLGHWUDFNHG     VLQJOH    VORZ        
     VKDWWHULQJ                                    
                VLJQ              VORZHG      
                VLJQHG               VORZO\      
     VKHHW       VLJQLILF              VPDOO        
                                 VPDOOHU      
                                                 
     VKLIWHG                              VRFDOOHG        
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                                   VSHDNHU          
                          VRUWV               VSHFWUXP
                                           
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                                               
                          VRXJKW    VSHDNLQJ        VSHFXODWH
                                             
                     VRXQG             VSHFXODWLQJ
                                                
                                          VSHFXODWLRQ
                                            
                                            VSHHG 
                                       VSHOOHG
                          VRXQGHG                   
                                              
                         VRXQGV    6SHFLDOLVW      VSHQG 
                                                VSHUP 
                                 VSHFLHV         VSOLW 
                                       VSRNH 
                                              
                                    VSHFLILF         
     6RFLHW\ V                 VRXUFH                 
                                           VSRUW 
     VRPHERG\                                        
                                              
                                        
                                               
                                                
                                              
                                           
     VRPHRQH V                                 
                           VRXUFHV                    
                                           
                          VRXWK                VSRUWLQJ
                                               
     VRPHZKDW                   6RXWKHUQ               
                                               VSRUWV 
                         VSDQ                  
                         6SDUNLQJ                   
     VRQ                                       
                      VSDWLDO                    
     VRRQ                                     
                                       
     VRUU\                 VSHDN                 
                             VSHFLILF      
            VRUW                      
                                             
                                               
                                            
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     VSRUWVU                         VWDWHV       VWUDZEHUU\
               VWDQGLQJ                         
     VSRW                                    6WUHHW 
     VSULQWV                                       
               VWDQGV                          
     VSXUW                                     VWUHQJWK
              6WDSKRUVLXV     VWDWHG    VWDWLQJ      
                                 VWDWLVWLFDO      
     VTXDUH                                  
               VWDUW                 VWDWLVWL      
     6UXWL                                      VWUHQJWKV
                                    VWDWXUH          
     VWDFN                VWDWHPHQW                 VWULYH 
     VWDJH                        VWDWXV          VWURQJ
                                               
                                VWDWXWHV        VWURQJHU
                                       
                                  6WHHPVPD        VWURQJO\
                                       
                                  6WHHP]D         VWUXFWXUH
            VWDUWHG                            
                                VWHPPLQJ        VWUXFWXUHG
                                          
                                 VWHSV       VWUXJJOH
                                           
           VWDUWHUV                         VWUXJJOLQJ
                                6WHSWRH       
               VWDUWLQJ               VWHULOL]LQJ     VWXGHQWV
                                           
                                 VWLSXODWHG       
                                              
                               VWLUUHG         VWXGLHG
                                        
     VWDJHV                      6WRFN      VWXGLHV
                                  VWRPDFK           
                VWDUWV                             
     VWDQG                            VWRS        
                                              
                                           
     VWDQGDUG        VWDWH                         
                                         
                                       
                                                
                                               
                              VWRSSHG          
                                               
                                           
                                    VWRSSHU          
     VWDQGDUGV                                  VWXG\ 
                          VWDWHPHQWV     VWUDLJKW          
                                             
                                  VWUDZEHU      
                                            
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                                              
                                          
                VXEVWDQW     VXLFLGDOLW\               
                                          VXUJHRQV
            VXEVWLWXWH               VXSSUHVVHG       
                                              VXUJHULHV
                VXFFHVV                              
                       VXLFLGH                  VXUJHU\
               VXFFHVVIXO             VXSSUHVVLQJ      
                                              
                                        
               VXIIHU                        
                                          
                              VXSSUHVVLRQ      
                                         
                                      VXUJLFDO
                                        
                        VXLFLGHV                   
                                              
                           VXLW                VXUSDVV
                       6XLWH                
                                         
                VXIIHUHG        VXPPDUL]HV            VXUSULVLQJ
                                            
                       VXPPDUL]LQJ    VXUH     VXUYH\ 
                                           
                                              6XVDQ 
                         6XPPDU\             
     6WXWOHU                                   VXVSHFW
                        683(5,17                
     VW\OH     VXIIHULQJ                            6ZDPLQDWKDQ
     VXEMHFW                    6XSHULQW                
                                             
                                          VZHDU 
                                             
                          VXSSRUW                   VZLPPHU
     VXEMHFWLYH      VXIIHUV                             
                                            
     VXEPLVVLRQ                                 VZLPPLQJ
                                              
     VXEPLWWHG       VXIILFLH     VXSSRUWHG                  
                                       
             VXJDU                         VZRUH 
               VXJJHVW                           
                          VXSSRUWLQJ                VZRUQ 
                                              
                         VXSSRVHG                 V\PSWRP
                VXJJHVWLRQ                             
     VXEVHTXH                                    V\PSWRPV
               VXJJHVWV                            
     VXEVWDQFH                  VXSSUHVV               
                                         
     VXEVWDQWLDO     VXLFLGDO                           
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     V\QGURPH                                      
                                         WHOOV 
                                             
                                         
     V\VWHP                                   
                       WDONV              
                                         WHQ 
                          7DQQHU             
     V\VWHPDWLF                          WHDPV       
                                        WHQGHG 
                              7HHQDJH         WHQGV 
                                              
                              WHHQV     WHUP 
                                      
                                                
           7                                  
     7                                    
     WDE     WDNHQ                        
                               7HMZDQL       
                                           
                WDNHV           WHOO         
            WDON                      
                                             
                                       
                                     
                      7DUD                 
                                               
                                              
                                                
                          WDUJHW                     
            WDONHG                        WHUPHG 
                         WDVN                WHUPLQRORJ\
                         WDXJKW                    
                                               
     WDEOH      WDONLQJ                      
                                               WHUPV 
                       WHDFKHU                    
     WDNH                                      
                       WHDFKHUV                  
                                           
                      WHDP                  
                                         
                                           WHUULEOH
                                           
                                              
                                            
                                          
                                          WHUULWRU\
                                            
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                                              
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     WHVWLILHG                                      
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     WHVWLI\         WH[WERRN                         
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                                              
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     WHVWLQJ                                      
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                                               
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             WKUHZ                      
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                               WLPHIUDPH        
     WKRURXJK        WLPH                             WROG 
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                                              
     WKRXJKW                                   WRQH 
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     WKUHH                         WLPHVSDQ         
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                                      WRSLFV 
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                                   WLVVXHV     WRWDO 
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                                      
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                                              
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                                   WLWOHG     WRXFK 
                                           WRXJK 
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     WKUHHTX                                 WUDFNHG
                                               
     WKUHHVH                                   WUDLO 
                                              WUDLQHG
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     WUDLQLQJ                                        
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     WUDQVFULEHG                                 
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     WUDQVFULSW                              
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     WUDQVFUL                                  WUXLVP
                                 WULDOV           
                                             WUXO\ 
     WUDQVJHQGHU                               WUXVW 
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                                            
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                                 ZDYH        
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                ZDLYHG                      
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     YLVLRQ                                        
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                                          \RXQJ 
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     VLJQLQJVHDOLQJFHUWLILFDWLRQDQGILOLQJDUHQRW                       $77251(<+$571(77*RRGPRUQLQJ7KLV
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     352&((',1*6                                  RQEHKDOIRI3ODLQWLII
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    WKDWRXUFRXUWUHSRUWHUSUHVHQWWKLVPRUQLQJFDQVZHDU                  3ODLQWLII
    LQWKHZLWQHVVVR,ZLOOOHWWKHFRXUWUHSRUWHUWDNH                   $77251(<5(,1+$5'77KLVLV(OL]DEHWK
    FDUHRIWKDW                                                           5HLQKDUGWIURP&RROH\RQEHKDOIRI3ODLQWLII
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    &$//('$6$:,71(66,17+()2//2:,1*352&((',1*6$1'                   
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    , PD&HUWLILHG/HJDO9LGHR6SHFLDOLVWHPSOR\HGE\                      $*RRGPRUQLQJ
    6DUJHQW V&RXUW5HSRUWLQJ6HUYLFHV7KHGDWHWRGD\LV                  4+DYH\RXHYHUKDGDGHSRVLWLRQEHIRUH"
    $SULOWK7KHWLPHRQWKHYLGHRPRQLWRUUHDGV                   $1R
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      DERXWWKLVFDVHDQG\RXULQYROYHPHQWLQLW'R\RXU           3V\FKLDWULF$VVRFLDWLRQ V'LDJQRVWLFDQG6WDWLVWLFDO
      EHVWWRDQVZHUDXGLEO\-XVWQRGGLQJWKHKHDGZKLOHLW       0DQXDO'609WRPDNHFKLOGDQGDGROHVFHQWPHWDO
      FDQEHFDSWXUHGRQYLGHRFDQQRWEHFDSWXUHGE\RXUFRXUW       LOOQHVVRUSV\FKLDWULFGLDJQRVHVJHQHUDOO\EH\RQGMXVW
      UHSRUWHUDQGVRZH OOWU\WRPDNHKHUOLIHDVHDV\DV         JHQGHUG\VSKRULD"
      SRVVLEOH                                                      $<HV
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      DQDQVZHUEHIRUHVWDUWLQJWKHQH[WTXHVWLRQ$QG,ZLOO       SHGLDWULFV"
      DVNWKDW\RXGRWKHVDPH:H OOSUREDEO\YLRODWHWKDW         $1R
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      FDVH                                                          DIWHUSXEHUW\"
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     4'R\RXKDYHDGHJUHHLQDGXOWSV\FKLDWU\"            $1R
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     42ND\                                                UHVHDUFKRUJLYHQDQ\OHFWXUHVUHODWLQJWRWKHHIIHFWRI
     6R\RXUDFDGHPLFWUDLQLQJLQSV\FKLDWU\EHJDQ        WUDQVVH[VXUJHULHVRQDWKOHWLFSHUIRUPDQFH"
     ZLWK\RXUSV\FKLDWU\UHVLGHQF\",VWKDWKRZLWZRUNV"        $1R
     $,GLGDPHGLFDOGHJUHHZKHUHWKHUHLV               $77251(<%/2&.2EMHFWLRQ2EMHFWLRQWR
     SV\FKLDWU\WUDLQLQJDQGWKHQDUHVLGHQF\LQDGXOW             WHUPLQRORJ\
     SV\FKLDWU\DQGDIHOORZVKLSLQFKLOGSV\FKLDWU\              %<$77251(<%$5+$0
     4'R\RXFRQVLGHU\RXUVHOIWUDLQHGDQG                 4+DYH\RXSXEOLVKHGDQ\SDSHUVFRQGXFWHGDQ\


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                                                      3DJH                                                          3DJH
      UHVHDUFKRUJLYHQDQ\OHFWXUHVUHODWLQJWRWKHVDIHW\           RXWVLGHRIWKLVGRFXPHQW
      LVVXHVDQGULVNVWRZRPHQDVVRFLDWHGZLWKWUDQVJHQGHU           4'RHVWKLVUHSRUWLGHQWLI\DOOIDFWVDQGGDWD
      SDUWLFLSDWLRQLQIHPDOHDWKOHWLFVE\PDOHDWKOHWHV"             WKDW\RXFRQVLGHUHGLQIRUPLQJWKHRSLQLRQVWKDW\RXVHW
      $77251(<%/2&.2EMHFWLRQWRIRUP              IRUWKLQ\RXUUHSRUW"
      6RUU\REMHFWLRQWRIRUP                                       $,ZRXOGQ WVD\LWKDVDOOIDFWVEHFDXVH,GRQ W
      7+(:,71(66<HDK,WKLQNWKHUH VDELW        WKLQNLWLVSRVVLEOHWRLQFOXGHDOOIDFWVLQDQH[SHUW
      RIDSUHPLVHLQWKHUHWKDW,GRQ WDJUHHZLWKEXW,            UHSRUWEXWWKHUHOHYDQWIDFWV\HV
      KDYHQRWJLYHQDQ\OHFWXUHVDERXWWUDQVJHQGHU                   47KLVLQFOXGHVWKHIDFWVWKDW\RX OOUHO\RQLQ
      SDUWLFLSDWLRQLQVSRUWV                                        VXSSRUWLQJWKRVHRSLQLRQV
     %<$77251(<%$5+$0                                            &RUUHFW"
     4'R\RXFRQVLGHUGR\RXKDYHDQ\SURIHVVLRQDO      $7KDW VFRUUHFW
     H[SHUWLVHUHODWHGWRWKHFRQFHSWRIIDLUQHVV"                  4'RHV\RXUUHSRUWVHWRXWDOOWKHUHDVRQVIRUWKH
     $,GRQRW                                             RSLQLRQVWKDW\RXSURSRVHWRRIIHU"
     4'R\RXKDYHDQ\SURIHVVLRQDOH[SHUWLVHRQWKH         $<HV
     GHILQLWLRQRIIDLUQHVV"                                        4<RXUIRRWQRWHVFLWHWR,EHOLHYHVFLHQWLILF
     $,GRQRW                                             RUSURIHVVLRQDODUWLFOHVDQG\RXUHIHUHQFHVRPHRWKHUV
     4:RXOG\RXDJUHHWKDWIDLUQHVVLVDQHOXVLYH          LQ\RXU&9$UHWKRVHDOOWKHDUWLFOHVWKDWIRUPWKH
     VXEMHFWLYHFRQFHSWZLWKPDOOHDEOHERXQGDULHV"                  EDVLVRIWKHRSLQLRQV\RXSURSRVHWRRIIHU"
     $77251(<%/2&.2EMHFWLRQWRIRUP             $1R
     7+(:,71(66,GRQRWKDYHDQRSLQLRQRQ       4:KDWRWKHUDUWLFOHVIRUPWKHEDVLVRIWKH
     WKHGHILQLWLRQRIIDLUQHVV                                    RSLQLRQV\RXSURSRVHWRRIIHU"
     %<$77251(<%$5+$0                                            $,JXHVVWKHTXHVWLRQLVZKDWKDVIRUPHGP\
     4+DYH\RXWUHDWHGRUSHUVRQDOO\H[DPLQHG%3-"          SURIHVVLRQDOH[SHUWLVHDURXQGJHQGHUKHDOWKDQG, YH
     $,KDYHQRW                                           UHDGDORWWKDWDUHQ WQHFHVVDULO\JRLQJWREHDSURSRV


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      4<RXKDYHQRGLUHFWNQRZOHGJHDVWRZKDW7DQQHU         WRWKLVVSHFLILFUHSRUW
      VWDJH%3-VWDUWHGSXEHUW\EORFNHUVDWWKHDJH                  4%XWWKRVHDUHWKHDUWLFOHVWKDW\RXFLWHGDQG
      &RUUHFW"                                               UHIHUHQFHGLQWKLVGRFXPHQWDUHWKRVHWKDW\RXUHOLHG
      $&RUUHFW                                               XSRQDVWKHEDVLVRIRSLQLRQVWKDW\RXLQWHQGWRRIIHU
      4<RXGRQRWNQRZKRZ%3- VSK\VLRORJ\RUDWKOHWLF       &RUUHFW"
      FDSDELOLWLHVFRPSDUHZLWKJHQHWLFIHPDOHVDWWKHVDPH           $7KDWLVFRUUHFW
      DJH"                                                            4<RXFXUUHQWO\VHUYHDVWKH&OLQLFDO$VVRFLDWH
      $,GRQRW                                              3URIHVVRURI&KLOGDQG$GROHVFHQW3V\FKLDWU\
      $77251(<%/2&.2EMHFWLRQWR                    &RUUHFW"
     WHUPLQRORJ\                                                   $<HV
     %<$77251(<%$5+$0                                            4$QGZKDWLQVWLWXWLRQLVWKDWZLWK"
     47KLVUHSRUW([KLELWRISDJHVVHWVRXWWKH       $,WLVZLWK1RUWKZHVWHUQ8QLYHUVLW\)HLQEHUJ
     FRPSOHWHVWDWHPHQWRIDOORSLQLRQVWKDW\RXZLOOWHVWLI\       6FKRRORI0HGLFLQHDQG$QQDQG5REHUW+/XULH
     WRDWWULDO                                                   &KLOGUHQ V+RVSLWDORI&KLFDJR
     &RUUHFW"                                              4$QGKRZPXFKRI\RXUWLPHLQWKLVSRVLWLRQLV
     $:KLFKUHSRUWDUH\RXUHIHUULQJWR"                    UHODWHGWRGLVFXVVLQJRUWUHDWLQJJHQGHUG\VSKRULF
     47KHUHSRUWLQIURQWRI\RX([KLELW7DE        FKLOGUHQDQGDGROHVFHQWV"
     $$QGFDQ\RXUHSHDWWKHTXHVWLRQ"6RUU\              $77251(<%/2&.2EMHFWLRQWR
     47KLVUHSRUWVHWVRXWDFRPSOHWHVWDWHPHQWRIDOO      WHUPLQRORJ\
     RSLQLRQVWKDW\RXZLOOWHVWLI\WRDWWULDO                    7+(:,71(66,W VKDUGWRTXDQWLI\
     &RUUHFW"                                              3UREDEO\DERXWSHUFHQWRIP\WLPHLVDOORFDWHGLQ
     $,GRQRWNQRZWKHDQVZHUWRWKDW,PHDQ,          VRPHZD\WRHLWKHUFOLQLFDOFDUHUHVHDUFKRUDFDGHPLFV
     ZRXOGDVVXPHVREXW,GRQ WNQRZ, YHQHYHUEHHQLQD       DURXQGJHQGHUKHDOWK
     WULDOVR,GRQ WNQRZLIWKHUHZLOOEHTXHVWLRQVDVNHG        %<$77251(<%$5+$0


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                                                     3DJH                                                           3DJH
      4$QGZKDWLV\RXUFRPSHQVDWLRQIRUWKLVSRVLWLRQ"       SRVLWLRQ", PUHIHUHQFLQJSDJHRQHRI\RXU&9
      $,WLVURXJKO\D\HDULQVDODU\               $7KDWZDVZKHQ,PRYHGWR&KLFDJRDIHZ\HDUV
      4<RXDOVRVHUYHDVWKH9LFH&KDLURIWKH                DJR
      3ULW]NHU'HSDUWPHQWRI3V\FKRORJ\DQG%HKDYLRUDO+HDOWK         42ND\
      DWWKH$QQDQG5REHUW+/XULH&KLOGUHQ V+RVSLWDORI           6RZKHUHLWVD\VWRSUHVHQW&OLQLFDO
      &KLFDJR                                                        'LUHFWRU1<86H[XDOLW\6HUYLFHWKDWLVMXVWDW\SR"
      &RUUHFW"                                               $7KDWLVDW\SR\HV
      $7KDW VFRUUHFW                                        4<RXFXUUHQWO\VHUYHDVWKH$VVRFLDWH3URIHVVRU
      4$QGKRZPXFKRI\RXUWLPHLQWKLVSRVLWLRQLV          RI&KLOGDQG$GROHVFHQW3V\FKRORJ\DW1RUWKZHVWHUQ
     UHODWHGWRGLVFXVVLQJRUWUHDWLQJJHQGHUG\VSKRULF             8QLYHUVLW\DQGZHKDYHDOUHDG\GLVFXVVHGWKDW,V
     FKLOGUHQDQGDGROHVFHQWV"                                      WKHUHDGLIIHUHQFHEHWZHHQ&OLQLFDO$VVRFLDWH3URIHVVRU
     $77251(<%/2&.2EMHFWLRQWR                   DQG$VVRFLDWH3URIHVVRURI&KLOGDQG$GROHVFHQW
     WHUPLQRORJ\                                                   3V\FKLDWU\"
     7+(:,71(66$JDLQLWLVKDUGWRSDUVH        $1R
     RXWZKDWVSHFLILFDERXWP\OHDGHUVKLSUROHLVDURXQG           4<RXVHUYHDVWKH9LFH&KDLURI&OLQLFDO$IIDLUV
     JHQGHUKHDOWKEXWLWLVDPLQRULW\RIP\GD\WRGD\            DWWKH3ULW]NHU'HSDUWPHQWRI3V\FKLDWU\DQG%HKDYLRUDO
     ZRUNLQWKDWUROH                                             +HDOWKDWWKH/XULH&KLOGUHQ V+RVSLWDO
     %<$77251(<%$5+$0                                            &RUUHFW"
     4'R\RXKDYHDQDSSUR[LPDWHSHUFHQWDJH"                $7KDW VFRUUHFW
     $1R                                                   4$QGKRZPXFKWLPHLQWKLVSRVLWLRQLVUHODWHGWR
     47ZHQW\ILYH  SHUFHQWPRUHRUOHVV"               GLVFXVVLQJRUWUHDWLQJJHQGHUG\VSKRULFFKLOGUHQDQG
     $3UREDEO\WHQSHUFHQW                                 DGROHVFHQWV"
     47HQSHUFHQW2ND\                                   $77251(<%/2&.2EMHFWLRQWR
     $QGZKDWLV\RXUFRPSHQVDWLRQIRUWKDW                WHUPLQRORJ\


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      SRVLWLRQ"                                                       7+(:,71(66,WKLQN,DQVZHUHGWKDWRQH
      $,JHWDVWLSHQGRIDURXQG                     ZLWKWKHJXHVVRIDERXWWHQSHUFHQW
      4<RXFXUUHQWO\VHUYHDVWKH0HGLFDO'LUHFWRURI         %<$77251(<%$5+$0
      2XWSDWLHQW3V\FKLDWULF6HUYLFHVDWWKH/XULH&KLOGUHQ V         42ND\"
      +RVSLWDORI&KLFDJR                                            6RWKDW VWKHVDPHDVWKH9LFH&KDLURIWKH
      ,VWKDWFRUUHFW"                                       'HSDUWPHQWRI3V\FKLDWU\"
      $7KDWVFRUUHFW                                        $&RUUHFW
      4$QGKRZPXFKRI\RXUWLPHLQWKLVSRVLWLRQLV          4<RXFXUUHQWO\VHUYHDVWKH$VVRFLDWH(GLWRUIRU
      UHODWHGWRGLVFXVVLQJRUWUHDWLQJJHQGHUG\VSKRULF              7UDQVJHQGHU+HDOWK
     FKLOGUHQDQGDGROHVFHQWV"                                      &RUUHFW"
     $77251(<%/2&.2EMHFWLRQWR                   $7KDWLVFRUUHFW
     WHUPLQRORJ\                                                   4$QGZKDWLV\RXUFRPSHQVDWLRQIRUWKDWSRVLWLRQ"
     7+(:,71(66$ERXWSHUFHQWRIP\WLPH       $7KHUHLVQRFRPSHQVDWLRQIRUWKDWSRVLWLRQ
     LVSUREDEO\VSHQWGLVFXVVLQJRUUHODWHGWRWKHKHDOWKRI       4:KDWLVWKDWSXEOLFDWLRQ VDQQXDOLQFRPH"
     WUDQVJHQGHU\RXWKRUWUDQVJHQGHUJHQGHUGLYHUVH            $,GRQRWNQRZ
     \RXWK                                                         4<RXVHUYHDVDUHYLHZHUIRU/*%7+HDOWK
     %<$77251(<%$5+$0                                            &RUUHFW"
     4$QGZKDWLV\RXUFRPSHQVDWLRQIRUWKDWSRVLWLRQ"      $<HV
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     4<RXFXUUHQWO\VHUYHDVWKH&OLQLFDO'LUHFWRURI       SRVLWLRQLVUHODWHGWRWUHDWLQJRUGLVFXVVLQJ
     WKH1<8*HQGHUDQG6H[XDOLW\6HUYLFHV                         WUDQVJHQGHUFKLOGUHQDQGDGROHVFHQWV"
     ,VWKDWFRUUHFW"                                      $,ZRXOGVD\SHUFHQWRIP\UHYLHZWLPHZLWK
     $7KDWLVQRWFRUUHFW                                  /*%7KHDOWKLVDURXQGJHQGHU
     4:KHQGLG\RXFRQFOXGH\RXUUROHLQWKDW               4'R\RXUHFHLYHDQ\FRPSHQVDWLRQIRUWKDW


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                                                      3DJH                                                          3DJH
      SRVLWLRQ"                                                       WKDW VWKHRQO\RWKHULQFRPH,UHFHLYH
      $,GRQRW                                              4'R\RXUHFHLYHDQ\VSHDNLQJIHHV"
      4'R\RXUHFHLYHDQ\FRPSHQVDWLRQIRU\RXUUROHDV       $,KDYHUHFHLYHGVSHDNLQJIHHVIRUSDUWLFLSDWLRQ
      DUHYLHZHUZLWKWKH-RXUQDORIWKH$FDGHP\RI&KLOGDQG         DQGJUDQGURXQGVDVDQH[DPSOH
      $GROHVFHQW3V\FKLDWU\"                                          4$QGKRZPXFKZRXOGWKRVHVSHDNLQJIHHVUXQ"
      $,GRQRW                                              $,WLVW\SLFDOO\DERXWDWKRXVDQGGROODUVSHU
      4<RXVHUYHGLQYDULRXVSRVLWLRQVZLWKGLIIHUHQW         HYHQW
      SURIHVVLRQDORUJDQL]DWLRQVDFFRUGLQJWRSDUDJUDSKV           4%HIRUHWKHODVWIRXU\HDUVKDG\RXSURYLGHGDQ\
      DQGRI\RXUUHSRUW'RDQ\RIWKRVHSRVLWLRQV               H[SHUWWHVWLPRQ\RQLVVXHVUHODWHGWRJHQGHUG\VSKRULD"
     SURYLGH\RXILQDQFLDOFRPSHQVDWLRQ"                            $&DQ\RXFODULI\WKHGLIIHUHQFHEHWZHHQ
     $1R                                                   WHVWLPRQLHVDQGUHSRUWV", YHVXEPLWWHGDUHSRUWEXW
     4<RXIRXQGHGDQGGLUHFWHG*HQGHU9DULDQW<RXWK         QRW
     DQG)DPLO\1HWZRUN                                            42ND\
     &RUUHFW"                                              6R\RXKDYHVXEPLWWHGDUHSRUW"
     $&RUUHFW                                              $&RUUHFW
     4:KDW V\RXUFRPSHQVDWLRQIRUWKDWSRVLWLRQ"           4'R\RXUHPHPEHUZKDWFDVHWKDWLQYROYHG"
     $=HUR                                                 $7KDWLQYROYHV0HGLFDLGDQGWRSVXUJHU\LQ
     4:KDWLVWKHHQWLW\ VDQQXDOLQFRPHRUEXGJHW"         $UL]RQD
     $=HUR                                                 42ND\
     4<RXLQGLFDWHLQ\RXUUHSRUWWKDW\RXKDYHVHHQ        +DYH\RXHYHUSURYLGHGDQ\WHVWLPRQ\LQWULDO
     DSSUR[LPDWHO\WUDQVJHQGHUSDWLHQWV                        RUGHSRVLWLRQEHIRUHUHODWHGWRJHQGHUG\VSKRULD"
     ,VWKDWFRUUHFW"                                      $,KDYHQRW
     $7KDWLVFRUUHFW                                      4$QGKRZPXFKFRPSHQVDWLRQKDYH\RXUHFHLYHGVR
     4+RZPDQ\SDWLHQWVGR\RXVHHSHU\HDU"                IDULQWKLVFDVH"


                                                      3DJH                                                          3DJH
      $77251(<%/2&.2EMHFWLRQWRIRUP              $7KLVFDVHVRIDUQRQHWKXVIDU
      7+(:,71(66, GKDYHWRORRNDWP\             4+RZPXFKDUH\RXH[SHFWLQJWRUHFHLYHVRIDULQ
      UHSRUW,GRQ WKDYHWKHLQIRUPDWLRQLQIURQWRIPH            WKLVFDVH"
      ULJKWQRZ                                                      $,KDYHQ WDGGHGXSP\LQYRLFH\HWEXW,LPDJLQH
      %<$77251(<%$5+$0                                             LW VSUREDEO\DURXQG
      4'R\RXKDYHDEDOOSDUNRIKRZPDQ\SDWLHQWV\RX        42ND\
      VHHLQD\HDU"                                                  'R\RXKDYHDQ\SURIHVVLRQDOH[SHUWLVHUHODWHG
      $,GRQ W                                               WRWKHOHJDOGHILQLWLRQRIUHOHYDQFH"
      4'RHVWKLVLQFOXGHDQG, PDVVXPLQJWKDW\RXU       $,GRQRW
     FROOHDJXHVVHHDGGLWLRQDOSDWLHQWVEH\RQGMXVWWKRVH           4'R\RXKDYHDQ\OHJDOWUDLQLQJRUHGXFDWLRQ"
     WKDW\RXVHH                                                  $,GRQRW
     &RUUHFW"                                              4:KHQ\RXZHUHSUHSDULQJ\RXUUHSRUWGLG\RX
     $&RUUHFW                                              FRQVXOWWKH)HGHUDO5XOHVRI(YLGHQFHRUDQ\RWKHUOHJDO
     4+RZIUHTXHQWO\GR\RXVHHHDFKSDWLHQWV"              VRXUFHVDVWRWKHPHDQLQJRIUHOHYDQFH"
     $,VHHWKHIUHTXHQF\ZLWKZKLFK,VHH              $,GLGQRW
     SDWLHQWVLVGHSHQGHQWXSRQWKHLUFOLQLFDOQHHGVR             46HYHUDOSHRSOHLQWKLVFDVHKDYHUHIHUHQFHG
     EHWZHHQRQFHRUWZLFHDZHHNWRRQFHHYHU\WKUHHPRQWKV       GLVRUGHUVRIVH[XDOGHYHORSPHQW:RXOG\RXDJUHHWKDW
     4$QGKRZPXFKDUHSDWLHQWVFKDUJHGSHU                 JHQGHUG\VSKRULDLVQRWDGLVRUGHURIVH[XDO
     DSSRLQWPHQW"                                                   GHYHORSPHQW"
     $(YHU\WKLQJLVELOOHGWRWKHLULQVXUDQFHVR, P       $77251(<%/2&.2EMHFWLRQWRIRUP
     QRWVXUH                                                      7+(:,71(66*HQGHUG\VSKRULDKDVQRW
     4'R\RXUHFHLYHDQ\RWKHULQFRPHUHODWHGWR\RXU       EHHQFODVVLILHGDVDGLVRUGHURIVH[XDOGHYHORSPHQW
     ZRUNRQJHQGHUG\VSKRULD"                                      %<$77251(<%$5+$0
     $, PEHLQJSDLGIRUP\H[SHUWUHSRUWIRUWKLVVR      42IWKHDSSUR[LPDWHO\WUDQVJHQGHUSDWLHQWV


                                                                                                3DJHVWR
                Case: 22-5807
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                                                     3DJH                                                          3DJH
      \RXKDGVHHQKRZPDQ\VXIIHUHGIURPGLVRUGHURIVH[XDO          :KHUHXSRQ([KLELW(QGRFULQH
      GHYHORSPHQW"                                                   6RFLHW\ V*XLGHOLQHVZDVPDUNHGIRU
      $$PLQRULW\RISDWLHQWVOHVVWKDQWHQ                LGHQWLILFDWLRQ
      46R\RXZRXOGDJUHHWKDWWKHYDVWPDMRULW\RI          
      LQGLYLGXDOVZLWKJHQGHUG\VSKRULDRUZKRDVVHUWD              %<$77251(<%$5+$0
      WUDQVJHQGHULGHQWLW\GRQRWVXIIHUIURPDGLVRUGHURI          4,I\RX OOWXUQWRSDJHRIWKLVGRFXPHQW
      VH[XDOGHYHORSPHQW                                            7KLVGRFXPHQWLVWKH(QGRFULQH6RFLHW\ V*XLGHOLQHV
      &RUUHFW"                                              (QGRFULQH7UHDWPHQWRI*HQGHU'\VSKRULFRU*HQGHU
      $77251(<%/2&.2EMHFWLRQWRIRUP             ,QFRQJUXHQW3HUVRQV(QGRFULQH6RFLHW\&OLQLFDO3UDFWLFH
     7+(:,71(667KHGDWDZHKDYHVSHDNVWR       *XLGHOLQHSXEOLVKHGLQ
     WKHPDMRULW\RISHRSOHZLWKJHQGHUG\VSKRULDGRQRWKDYH      &RUUHFW"
     DGLVRUGHURIVH[GHYHORSPHQW                                $7KDWLVFRUUHFW
     %<$77251(<%$5+$0                                           42QSDJHRIWKLVGRFXPHQWWKH(QGRFULQH
     4'R\RXKDYHDQ\UHDVRQWREHOLHYHWKDW%3-           6RFLHW\LQGLFDWHVWKDWWKLVFRQWLQXXPJHQGHULGHQWLW\
     VXIIHUVIURPDGLVRUGHURIVH[XDOGHYHORSPHQW"                UDQJHGIURPDOOPDOHWKURXJKVRPHWKLQJLQEHWZHHQWRDOO
     $,KDYHQRWUHYLHZHG%3- VFDVH                      IHPDOH\HWVXFKDFODVVLILFDWLRQGRHVQRWWDNHLQWR
     4$UH\RXDZDUHRIDQ\LQVWDQFHLQZKLFKDQ            DFFRXQWWKDWSHRSOHPD\KDYHJHQGHULGHQWLWLHVRXWVLGH
     LQGLYLGXDOZLWKDGLVRUGHURIVH[XDOGHYHORSPHQWKDV          WKLVFRQWLQXXP)RULQVWDQFHVRPHH[SHULHQFH
     DWWHPSWHGWRSOD\RQDJLUOV RUZRPHQ VVSRUWVWHDPLQ       WKHPVHOYHVDVKDYLQJERWKDPDOHDQGIHPDOHJHQGHU
     :HVW9LUJLQLD"                                                LGHQWLW\ZKHUHDVRWKHUVFRPSOHWHO\UHQRXQFHDQ\JHQGHU
     $,DPQRWDZDUH                                      FODVVLILFDWLRQ7KHUHDUHDOVRUHSRUWVRILQGLYLGXDOV
     4,VLW\RXURSLQLRQWKDWDSHUVRQ VJHQGHU            H[SHULHQFLQJDFRQWLQXRXVDQGUDSLGLQYROXQWDU\
     LGHQWLW\LVGXUDEOH"                                          DOWHUQDWLRQEHWZHHQDPDOHDQGIHPDOHLGHQWLW\
     $77251(<%/2&.2EMHFWLRQWRIRUP            'R\RXVHHWKDW"


                                                     3DJH                                                          3DJH
      7+(:,71(66&DQ\RXGHILQHGXUDEOH"           $,GRQ WVHHWKDW
      %<$77251(<%$5+$0                                            46HFRQGFROXPQWRZDUGVWKHERWWRPRIWKHSDJH
      48QFKDQJLQJ                                           $<HV,VHHWKDW
      $77251(<%/2&.2EMHFWLRQWRIRUP             4,VWKLVFRQVLVWHQWZLWK\RXUXQGHUVWDQGLQJRI
      7+(:,71(66,WLVP\WHVWLPRQ\WKDW           JHQGHULGHQWLW\"
      WKHUHLVDFRQFHSWRIJHQGHULGHQWLW\WKDWUHPDLQV             $77251(<%/2&.&DQ\RXJLYHKLPWLPHWR
      JHQHUDOO\IL[HGIRUPRVWSHRSOHWKURXJKRXWWKHLUOLYHV        UHDG"
      %<$77251(<%$5+$0                                            $77251(<%$5+$0*ODGO\
      46RLW V\RXURSLQLRQWKDWDSHUVRQ VJHQGHU           7+(:,71(66,WKLQNWKHUHLVD
     LGHQWLW\FDQQRWEHFKDQJHGZLWKPHGLFDORUPHQWDOKHDOWK      GLIIHUHQFHEHWZHHQDJHQGHULGHQWLW\DQGKRZSHRSOH
     LQWHUYHQWLRQ                                                 XQGHUVWDQGDQGH[SUHVVWKDWJHQGHULGHQWLW\$QGLQWKH
     &RUUHFW"                                             FRQWH[WRIWKLVDUWLFOHWKHUDSLGLQYROXQWDU\DOWHUDWLRQ
     &28575(3257(56RUU\&RXQVHOWKDW          EHWZHHQPDOHDQGIHPDOHLGHQWLW\DVDQH[DPSOHLVDFDVH
     TXHVWLRQRQHPRUHWLPH                                       UHSRUWHGRIVLQJOHLQGLYLGXDOVVXEMHFWLYHH[SHULHQFHRI
     %<$77251(<%$5+$0                                           WKHLUJHQGHUDFFRUGLQJWRWKHUHIHUHQFH
     46RLW V\RXURSLQLRQWKDWDSHUVRQ VJHQGHU          %<$77251(<%$5+$0
     LGHQWLW\FDQQRWEHFKDQJHGZLWKPHGLFDORUPHQWDOKHDOWK      4$QGE\WKDW\RX UHUHIHUULQJWRQRWHWHQ"
     LQWHUYHQWLRQ                                                 $&RUUHFW
     &RUUHFW"                                             46RDFFRUGLQJWRWKLVGRFXPHQWVRPHRQHFDQEH
     $<HV                                                 RQHVH[RUWKHRWKHUERWKQHLWKHURULQEHWZHHQ
     $77251(<%$5+$0, PJRLQJWRKDQG\RX        &RUUHFW"
     ZKDWZH UHJRLQJWRPDUNDV([KLELW7KLVZLOOEH          $77251(<%/2&.2EMHFWLRQWRIRUP
     7DE                                                        7+(:,71(66,FDQ WVSHDNIRUWKH
                                     FRQFOXVLRQVGUDZQE\WKHDXWKRURIWKLVDUWLFOH


                                                                                               3DJHVWR
                Case: 22-5807
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                                                     3DJH                                                          3DJH
      %<$77251(<%$5+$0                                            2UJDQL]DWLRQVWDWHPHQWV"
      4$QGDFFRUGLQJWRWKH(QGRFULQH6RFLHW\D              $77251(<%/2&.2EMHFWLRQWRIRUP&DQ
      SHUVRQ VJHQGHULGHQWLW\FDQFKDQJHUDSLGO\                   KHKDYHWLPHWRUHDGWKHGRFXPHQW"
      &RUUHFW"                                              $77251(<%$5+$02IFRXUVH
      $77251(<%/2&.2EMHFWLRQWRIRUP             9,'(2*5$3+(5&RXQVHOLVWKDW7DE"
      7+(:,71(66, PQRWDSDUWRIWKH             /$:&/(5.:,/.,16217DE
      (QGRFULQH6RFLHW\VR, PQRWVXUHKRZWKH\GLVFXVV            $77251(<%$5+$0,WLV
      WKLV                                                          9,'(2*5$3+(52ND\7KDQN\RX
      %<$77251(<%$5+$0                                            7+(:,71(66&DQ\RXUHSHDWWKH
     4$FFRUGLQJWRWKLVGRFXPHQWWKH(QGRFULQH            TXHVWLRQ"
     6RFLHW\LVLQGLFDWLQJWKDWWKHUHDUHUHSRUWVSOXUDORI      %<$77251(<%$5+$0
     LQGLYLGXDOVSOXUDOH[SHULHQFLQJDFRQWLQXRXVDQGUDSLG      4'R\RXDJUHHZLWKWKHVH:RUOG+HDOWK
     LQYROXQWDU\DOWHUQDWLRQEHWZHHQPDOHDQGIHPDOHJHQGHU        2UJDQL]DWLRQVWDWHPHQWV"
     LGHQWLW\                                                     $1RWLQWKHLUHQWLUHW\
     &RUUHFW"                                             4,QZKDWSDUWVGR\RXGLVSXWH"
     $7KDWLVGRFXPHQWHGLQWKHDUWLFOH                   $7KHZRUGJHQGHUDVDFRQFHSWLVPXFKPRUH
     42ND\                                                FRPSOLFDWHGDQG,GRQRWDJUHHZLWKWKHLU
     $, PQRWVXUHRIWKHJRYHUQDQFHRIWKH(QGRFULQH      FKDUDFWHUL]DWLRQLQWKLVSDJH
     6RFLHW\                                                      46RWKH:RUOG+HDOWK2UJDQL]DWLRQVD\VWKDW
     4'R\RXWKLQNWKH(QGRFULQH6RFLHW\*XLGHOLQHV        JHQGHULWVHOILVDVRFLDOFRQVWUXFWDQGFDQFKDQJHRYHU
     DUHZURQJ"                                                    WLPH
     $77251(<%/2&.2EMHFWLRQWRIRUP            &RUUHFW"
     7+(:,71(66,WKLQNDQ\WKLQJUHODWLQJ        $77251(<%/2&.2EMHFWLRQWRIRUP'RHV
     WRJHQGHULGHQWLW\KDVWREHWDNHQLQDEURDGHUFRQWH[W       WKLVGRFXPHQWKDYHD85/WRLW"


                                                     3DJH                                                          3DJH
      ZLWKLQERWKWKHDUWLFOHLQDQGRILWVHOIEXWLQEURDGHU        $77251(<%$5+$0,WGRHVEXW,GRQ W
      SUDFWLFHDQGVSHFLILFDOO\DURXQGFKLOGUHQDQG                  VHHLWSULQWHGRQWKHGRFXPHQW
      DGROHVFHQWV                                                   /$:&/(5.:,/.,1621:HFDQJHWLW
      %<$77251(<%$5+$0                                            $77251(<%$5+$0:HFDQVXSSO\WKDW
      46RZKDWLV\RXUEDVLVIRULQGLFDWLQJWKDWWKLV        7+(:,71(66,DJUHHWKDWLWVD\VRQWKH
      VWDWHPHQWLVSRWHQWLDOO\LQDFFXUDWH"                           GRFXPHQWWKDWJHQGHUYDULHVIURPVRFLHW\WRVRFLHW\DQG
      $77251(<%/2&.2EMHFWLRQWRIRUP             FDQFKDQJHRYHUWLPH
      7+(:,71(66,WKLQNWKHUHLVPRUH             %<$77251(<%$5+$0
      FRQWH[WWKDW VQHHGHGLQRUGHUWRXQGHUVWDQGWKHLQWHQW        4$QGDFFRUGLQJWRWKH:RUOG+HDOWK2UJDQL]DWLRQ
     RIWKHDXWKRUVLQWKLVSDUWLFXODUVHFWLRQ                    JHQGHULGHQWLW\UHIHUVWRDSHUVRQ VH[SHULHQFHRI
     $77251(<%$5+$0, PJRLQJWRKDQG\RX        JHQGHUZKLFKLVDVRFLDOFRQVWUXFW
     ZKDWZHZLOOPDUNDV([KLELW7KLVLVWKHGRFXPHQW         &RUUHFW"
     IURPWKH:RUOG+HDOWK2UJDQL]DWLRQHQWLWOHG*HQGHUDQG        $77251(<%/2&.2EMHFWLRQWRIRUP
     +HDOWK                                                       7+(:,71(66,GRQ WVHHLQWKHGRFXPHQW
                                     ZKHUHLWUHIHUVWRJHQGHULGHQWLW\RUGHILQHVJHQGHU
      :KHUHXSRQ([KLELW:RUOG+HDOWK            LGHQWLW\
     2UJDQL]DWLRQZDVPDUNHGIRU                  %<$77251(<%$5+$0
     LGHQWLILFDWLRQ                               4,WVD\VJHQGHULQWHUDFWVZLWKGLIIHUHQWVH[
                                     ZKLFKUHIHUVWRWKHGLIIHUHQWELRORJLFDODQG
     %<$77251(<%$5+$0                                           SK\VLRORJLFDOFKDUDFWHULVWLFVRIPDOHVIHPDOHV
     4$UH\RXIDPLOLDUZLWKWKH:RUOG+HDOWK               LQWHUVH[SHUVRQVVXFKDVFKURPRVRPHVKRUPRQHVDQG
     2UJDQL]DWLRQ"                                                 UHSURGXFWLYHRUJDQV
     $, YHKHDUGRIWKHP                                  &RUUHFW"
     4'R\RXDJUHHZLWKWKHVH:RUOG+HDOWK                 $7KDWLVFRUUHFWO\UHDG,GRQ WVHHJHQGHU


                                                                                             3DJHVWR
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     Case 2:21-cv-00316        Document:
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                                                      3DJH                                                           3DJH
      LGHQWLW\GHILQHGLQWKLVGRFXPHQW                              UHTXLUHPHQWDOKHDOWKHYDOXDWLRQVLQ\RXURSLQLRQ"
      4*HQGHULGHQWLW\UHIHUVWRDSHUVRQ VGHHSO\KHOG       $77251(<%/2&.2EMHFWLRQWRIRUP
      LQWHUQDODQGLQGLYLGXDOH[SHULHQFHRIJHQGHU                   7+(:,71(66,WGHSHQGVXSRQZKDW
      &RUUHFW"                                               JXLGHOLQHV\RX UHWDONLQJDERXWDQGZKDWUHFRPPHQGDWLRQV
      $7KDW VZKDWLWVD\VKHUH\HV                         WKDWWKHIDPLO\LVORRNLQJIRU
      4,IDQLQGLYLGXDODVVHUWVDQLGHQWLW\RIPDQRU         %<$77251(<%$5+$0
      ERWKKRZFDQDFOLQLFLDQYHULI\ZKHWKHUWKDWLQGLYLGXDO        4:HOOZKDWDUHVRPHRIWKHLQYHQWLRQV"<RXVDLG
      LVWHOOLQJWKHWUXWK"                                           WKHUH VVRPHLQWHUYHQWLRQVWKDWZRXOGUHTXLUHDPHQWDO
      $77251(<%/2&.2EMHFWLRQWRIRUP              KHDOWKHYDOXDWLRQVRWKDWLPSOLHVWKDWWKHUHDUHVRPH
     7+(:,71(66, PQRWVXUHZKDWH[DFWO\         WKDWZRXOGQRW:KDWDUHWKHLQWHUYHQWLRQVWKDWZRXOG
     WKDWPHDQV7KHSURFHVVRIDQDVVHVVPHQWIRUJHQGHU           QRWUHTXLUHDPHQWDOKHDOWKHYDOXDWLRQ"
     FDUHLQYROYHVDFRPSOH[VHULHVRILQWHUYLHZV                  $77251(<%/2&.2EMHFWLRQWRIRUP
     GLDJQRVWLFV                                                   7+(:,71(66<RXNQRZSDUHQWVJLYLQJ
     %<$77251(<%$5+$0                                            KXJVWRWKHLUNLGVLVQRWVRPHWKLQJWKDWDPHQWDOKHDOWK
     46RKRZGRHVWKHFOLQLFLDQDVVHVVZKHWKHUWKH          DVVHVVPHQWZRXOGUHTXLUH3URYLGLQJDZD\RIKHOSLQJ
     SDWLHQWLVDFFXUDWHO\UHODWLQJWKHLUH[SHULHQFHV"              IDPLOLHVWRXQGHUVWDQGWKHLUNLGVRUDVNLQJTXHVWLRQVLV
     $,QWKHW\SLFDOSURFHVVSDUWLFXODUO\DURXQG           QRWVRPHWKLQJWKDWUHTXLUHVDPHQWDOKHDOWKHYDOXDWLRQ
     FKLOGDQGDGROHVFHQWSV\FKLDWU\SDUWRIWKHDVVHVVPHQW        DQGVRPHFKLOGUHQZLOOVRFLDOO\WUDQVLWLRQSULRUWRDQ\
     LQYROYHVLQIRUPDWLRQJDWKHUHGIURPPXOWLSOHFRQWH[WV          DVVHVVPHQWVE\DQ\PHQWDOKHDOWKSURIHVVLRQDO
     46XFKDV"                                              %<$77251(<%$5+$0
     $6XFKDVSDUHQWVVFKRROVFDUHJLYHUVRWKHU           4+RZGR\RXGHWHUPLQHLIDQLQGLYLGXDO
     SURYLGHUVKLVWRU\RYHUWLPHHWFHWHUD                       DVVHUWVDJHQGHULGHQWLW\RIPDOHRUERWKKRZGR\RX
     4$QGLIVRKRZGRHVRQHDVVHVVIURPWKRVH          GHWHUPLQHZKHWKHUWKHLQGLYLGXDOLVPDNLQJDVWDWHPHQW
     YDULRXVFRQWH[WVZKHWKHUVRPHRQHZKR VFODLPLQJWREH          EDVHGRQVRFLHWDOH[SHFWDWLRQVIRUDSDUWLFXODUJHQGHU


                                                      3DJH                                                           3DJH
      PDOHRUERWKLVDFFXUDWHO\UHODWLQJZKDW VJRLQJRQ"            UDWKHUWKDQ"
      $77251(<%/2&.2EMHFWLRQWRIRUP              $77251(<%/2&.2EMHFWLRQ7UDYLV, P
      7+(:,71(66<HDK,JXHVV,GRQ W              VRUU\WKHPDOHRUERWKSKUDVLQJLVWKDWDTXRWHIURP
      XQGHUVWDQGWKHTXHVWLRQH[DFWO\<RXNQRZP\MRELV           VRPHWKLQJ,GRQ WKDYHWKHSDSHULQIURQWRIPHVR
      QRWQHFHVVDULO\WRGHILQHZKDWLVDFFXUDWHLQVRPHRQH V         MXVWZDQWWRFODULI\
      RZQH[SHULHQFH,W VWRXQGHUVWDQGKRZWKDWILWVLQWR          $77251(<%$5+$01RWKDW VQRWD
      W\SLFDOSURFHVVHVDQGGHYHORSPHQWDOH[SHFWDWLRQVIRUWKH        TXHVWLRQIURPVRPHWKLQJ7KDW VMXVWP\TXHVWLRQ
      EURDGUDQJHRIJHQGHUGLYHUVLW\RYHUWLPH                      $77251(<%/2&.2ND\
      %<$77251(<%$5+$0                                             7+(:,71(66&DQ\RXUHSHDWWKH
     4+RZGR\RXGHWHUPLQHZKHWKHUVRPHRQHLQWKDW          TXHVWLRQ"
     VFHQDULRLVDFFXUDWHO\XQGHUVWDQGLQJKLVRZQVXEMHFWLYH        %<$77251(<%$5+$0
     IHHOLQJVKLVRUKHUVXEMHFWLYHIHHOLQJV"                   4,IDQLQGLYLGXDODVVHUWVDJHQGHULGHQWLW\PDOH
     $77251(<%/2&.2EMHFWLRQWRIRUP             RUERWKKRZFDQDFOLQLFLDQYHULI\ZKHWKHUWKH
     7+(:,71(667KHFRQWH[WRIWKH                LQGLYLGXDOLVPDNLQJWKHVWDWHPHQWEDVHGRQVRFLHWDO
     WUHDWPHQWLVUHDOO\LPSRUWDQW,IDQLQGLYLGXDOLV            H[SHFWDWLRQVIRUDSDUWLFXODUJHQGHUUDWKHUWKDQKLVRZQ
     VHHNLQJVSHFLILFLQWHUYHQWLRQVWKDWUHTXLUHDPHQWDO           JHQXLQHJHQGHU"
     KHDOWKDVVHVVPHQWWKHUHDUHVSHFLILFFRPSRQHQWVRIWKDW       $77251(<%/2&.2EMHFWLRQWRIRUP
     PHQWDOKHDOWKDVVHVVPHQWWKDWPXVWEHPHW                     7+(:,71(66,SHUVRQDOO\QHYHUKDG
     %<$77251(<%$5+$0                                            DQ\ERG\DVVHUWDQLGHQWLW\RIPDOHRUERWKEXWSDUWRI
     46RZKDWDUHWKHWUHDWPHQWVWKDWZRXOGUHTXLUHD       WKHDVVHVVPHQWRILIZHDUHGLDJQRVLQJJHQGHU
     PHQWDOKHDOWKDVVHVVPHQW"                                      G\VSKRULDLVXQGHUVWDQGLQJWKHFXOWXUDODQGVRFLDO
     $3XEHUW\EORFNLQJPHGLFDWLRQVKRUPRQHVRU             FRQWH[WVDQGHQVXULQJWKDWIRONVDUHQRWSUHVHQWLQJZLWK
     VXUJHU\                                                       DJHQGHULGHQWLW\WKDWLVLQFRQJUXHQWZLWKWKHLUVH[
     4$QGZKDWDUHWKHLQWHUYHQWLRQVWKDWZRXOGQRW         DVVLJQHGDWELUWKEHFDXVHRIDFWXDORUSHUFHLYHG


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                                                     3DJH                                                            3DJH
      FXOWXUDODGYDQWDJHV                                            LGHQWLILFDWLRQ
      %<$77251(<%$5+$0                                             
      4$QGKRZGRHVRQHJRDERXWDVVHVVLQJWKH                %<$77251(<%$5+$0
      PRWLYDWLRQVEHKLQGWKHFODLPHGJHQGHULGHQWLW\RU               4$UH\RXIDPLOLDUZLWKWKLVVWXG\"7KLVLVD
      WUDQVJHQGHUVH["                                                VWXG\IURPWKH+DUYDUG0HGLFDO6FKRROHQWLWOHG*HQGHU
      $77251(<%/2&.2EMHFWLRQWRIRUP              )OXLGLW\:KDWLW0HDQVDQG:K\6XSSRUW0DWWHUV"
      7+(:,71(66)RUDQ\SV\FKLDWULF                $77251(<%/2&.2EMHFWLRQ
      DVVHVVPHQWWKLVLVWKURXJKDFRPELQDWLRQRILQWHUYLHZV         7+(:,71(667KLVORRNVOLNHDSRSXODU
      JDWKHULQJKLVWRU\IURPUHOHYDQWGDWDVRXUFHVDQG                ZHEVLWHDUWLFOHDQGQRWDVWXG\
     VRPHWLPHVIRUVRPHSHRSOHVWUXFWXUHGLQWHUYLHZVRU             %<$77251(<%$5+$0
     VFDOHV                                                        4$UH\RXIDPLOLDUZLWKWKHDXWKRU'U6DEULQD
     %<$77251(<%$5+$0                                            .DW]6DEUD.DW]:LVH"
     4$QGKRZORQJGRHVLWWDNHWRFRQGXFWVXFKDQ          $'U.DW]:LVHKDVSXEOLVKHGLQWKHZRUOGRI
     DVVHVVPHQW"                                                    WUDQVJHQGHUKHDOWK, PQRWIDPLOLDUZLWKWKHP
     $7KHUHLVQRVSHFLILFWLPHIUDPHLQYROYHGLQWKLV       SHUVRQDOO\,GRQ WNQRZWKHP
     DVVHVVPHQW,WUHDOO\GHSHQGVXSRQFRQWH[WXDOIDFWRUV         4'R\RXNQRZ'U.DW]:LVHDWOHDVWE\
     WKDWDUHKDUGWRQDLOGRZQ                                    UHSXWDWLRQ"
     46RLI\RXZHUHWUHDWLQJDFKLOGRUWHHQDJHUKRZ      $,GRQ W, YHRQO\UHDGVRPHVWXGLHV
     PDQ\UHOHYDQWGDWDVRXUFHVZRXOG\RXQHHGWRJHW               4%XW\RXZRXOGDJUHHWKDWVKHLVKLJKO\UHVSHFWHG
     LQIRUPDWLRQIURPLQRUGHUWRPDNHDFRPSOHWHDVVHVVPHQW        LQWKLVDUHD
     RIWKHFKLOG VPRWLYDWLRQV"                                    &RUUHFW"
     $,GRQ WWKLQNWKHUH VHYHUJRLQJWREHD              $,ZRXOGQRWEHDEOHWRRIIHUDQRSLQLRQ
     FRQFUHWHDQVZHULQWHUPVRIKRZPDQ\7KHUH VQRWD           4%XWVKHLVZLGHO\SXEOLVKHGLQWKLVDUHD
     VSHFLILFDQVZHURIKRZPDQ\VRXUFHVDUHQHFHVVDU\,W V       &RUUHFW"


                                                     3DJH                                                            3DJH
      KRZHYHUPDQ\VRXUFHVDUHQHFHVVDU\WRJDWKHUWKH                $77251(<%/2&.2EMHFWLRQWRIRUP
      UHOHYDQWLQIRUPDWLRQ                                           7+(:,71(66)URPP\UHFROOHFWLRQ\HV
      46RKRZGR\RXGHWHUPLQHZKHWKHU\RXKDYH               %<$77251(<%$5+$0
      JDWKHUHGHQRXJKLQIRUPDWLRQWRPDNHDFRPSHWHQW                 4$WWKHERWWRPRISDJHWZRRIWKLVGRFXPHQW'U
      DVVHVVPHQW"                                                     .DW]:LVHLQGLFDWHVWKDWZKLOHVRPHSHRSOHGHYHORSD
      $,W VKDUGWRVWDWHWKLVLQDQRQSLWK\ZD\EXW        JHQGHULGHQWLW\HDUO\LQFKLOGKRRGRWKHUVPD\LGHQWLI\
      WKDW VNLQGRIZKDWWKHSURFHVVRISV\FKLDWU\DQGFKLOG         ZLWKRQHJHQGHUDWRQHWLPHDQGWKHQDQRWKHUJHQGHU
      SV\FKLDWU\WUDLQLQJKHOSV\RXWROHDUQ                         ODWHURQ
      4&RXOG\RXH[SODLQWRVRPHRQHZKRGRHVQ WKDYH          ,VWKDWFRUUHFW"
     WKHWUDLQLQJKRZ\RXFRPHWRWKHFRQFOXVLRQRND\, YH        $<RX UHUHDGLQJWKDWDFFXUDWHO\\HDK
     JDWKHUHGHQRXJKLQIRUPDWLRQWRPDNHDFRPSHWHQW                46RDFFRUGLQJWRWKLVDUWLFOHRQSDJHWKUHHD
     DVVHVVPHQW"                                                    JHQGHUIOXLGSHUVRQLVRQHZKRVHJHQGHULGHQWLW\FKDQJHV
     $6XUH,FDQWU\+RZDFFXUDWHLVWKHUHSRUWHU       IUHTXHQWO\
     LQWKHLUGHVFULSWLRQRIWKHLUKLVWRU\+RZPXFKGRHVLW       &RUUHFW"
     DOLJQZLWKUHSRUWVIURPRWKHULQIRUPDQWVKRZPXFKGRHV        $77251(<%/2&.2EMHFWLRQWRIRUP
     LWPDWFKZLWKRULVGHYLDQWIURPH[SHFWHGSKHQRW\SLF           7+(:,71(66,GRQRW,KDYHQRW
     SURFHVVHVZLWKWKHGLVRUGHUVLQTXHVWLRQDQGZKDWLVWKH       UHDGLWLQKHUHWKDWLWLVGHILQHGLQWKDWZD\DQG
     LPSUHVVLRQRIWKHHYDOXDWRUDERXWWKHDFFXUDF\RIWKH          WKDW VQRWKRZ,ZRXOGGHILQHJHQGHUIOXLGLW\
     VWDWHPHQWV                                                    %<$77251(<%$5+$0
     $77251(<%$5+$0, PJRLQJWRVKRZ\RX         4$WOHDVW\RXVHHWKHVWDWHPHQWDWWKHILUVWIXOO
     ZKDWZHZLOOPDUNDV([KLELWWKLVZLOOEH7DE           SDUDJUDSKDWWKHWRSRISDJHWKUHHXOWLPDWHO\DQ\RQH
                                      ZKRLGHQWLILHVDVJHQGHUIOXLGLVDJHQGHUIOXLGSHUVRQ
      :KHUHXSRQ([KLELW+DUYDUG0HGLFDO          RIWHQWKHWHUPLVXVHGIRUDSHUVRQ VJHQGHUH[SUHVVLRQ
     6FKRRO6WXG\ZDVPDUNHGIRU                   RUJHQGHULGHQWLW\HVVHQWLDOO\WKHLULQWHUQDOVHQVHRI


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                                                              3DJH                                                      3DJH
      VHOIFKDQJHVIUHTXHQWO\"                                            ZKDWZHZLOOPDUNDV([KLELWDQGWKLVZLOOEH7DE
      $77251(<%/2&.2EMHFWLRQ:H UH                   
      MXPSLQJTXLFNO\IURPSDJHV&DQ\RXJLYHKLPVRPHPRUH              :KHUHXSRQ([KLELW$PHULFDQ
      WLPHWRUHDGEHIRUHDQVZHULQJWKHTXHVWLRQ"                         3V\FKRORJLFDO$VVRFLDWLRQ*XLGHOLQHV
      $77251(<%$5+$0&HUWDLQO\                         ZDVPDUNHGIRULGHQWLILFDWLRQ
      7+(:,71(66<HV, PQRWVHHLQJZKHUH             
      WKDWLVKHUH&DQ\RXSRLQWWKDWRXWIRUPH"                       %<$77251(<%$5+$0
      %<$77251(<%$5+$0                                                 47KLVGRFXPHQWLVWKH$PHULFDQ3V\FKRORJLFDO
      47RSRISDJHWKUHHMXVWDERYHWKDWKRZLV                 $VVRFLDWLRQ*XLGHOLQHVIRU3V\FKRORJLFDO3UDFWLFHZLWK
     JHQGHUIOXLGLW\UHODWHGWRKHDOWKLQFKLOGDQGWHHQV"              7UDQVJHQGHUDQG*HQGHU1RQ&RQIRUPLQJ3HRSOH
     $*HQGHUIOXLGLW\LVDYHU\QRQVSHFLILFWHUPWKDW           &RUUHFW"
     PHDQVYHU\GLIIHUHQWWKLQJVWRGLIIHUHQWSHRSOH,QWKH           $7KDWLVFRUUHFW
     SUDFWLFHRIWKHFOLQLFDOZRUNZLWKWUDQVJHQGHUDQG                 4$QGRQSDJHRIWKLVGRFXPHQWWKH$3$ZULWHV
     JHQGHUGLYHUVH\RXWKNLGVZKRDUHVHOILGHQWLI\LQJDV             MXVWDVVRPHSHRSOHH[SHULHQFHWKHLUVH[XDORULHQWDWLRQ
     JHQGHUIOXLG,ZDQWWRXQGHUVWDQGZKDWLWPHDQVWRWKHP           DVEHLQJIOXLGRUYDULDEOHVRPHSHRSOHDOVRH[SHULHQFH
     DQGZKDWWKDWGHILQLWLRQLVIRUWKDWLQGLYLGXDO,                WKHLUWKHJHQGHULGHQWLW\DVIOXLG
     GRQ WWKLQNWKHUHLVRQHHVWDEOLVKHGGHILQLWLRQRI                 &RUUHFW"
     JHQGHUIOXLGLW\WKDWKDVEHHQDJUHHGXSRQ                         $&DQ\RXVKRZPHRQWKHSDJHZKHUHWKDWLV"
     4%XWDWOHDVWVRPHUHVSHFWHGSURIHVVLRQDOVLQ              47KHERWWRPRIWKHILUVWSDUDJUDSKLQWKHILUVW
     WKLVDUHQDLQGLFDWHWKDWWKHWHUPJHQGHUIOXLGLW\PHDQV            FROXPQRISDJH
     WKDWWKHSHUVRQ VLQWHUQDOVHQVHRIVHOIWKHLUJHQGHU             $<HV
     LGHQWLW\FKDQJHVIUHTXHQWO\                                       46RWKH$3$*XLGHOLQHVVD\WKDWJHQGHULGHQWLW\
     &RUUHFW"                                                  FDQEHIOXLGRUFKDQJLQJ
     $77251(<%/2&.2EMHFWLRQWRIRUP                 &RUUHFW"


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     .DW]:LVHLVXVLQJWRGHILQHLW7KHZD\,ZRXOG                    7+(:,71(66:HOO,WKLQNWKHLPSRUWDQW
     GHVFULEHJHQGHUIOXLGLW\DJDLQRXWVLGHWKHFRQWH[WRI               SLHFHLVVRPHSHRSOHH[SHULHQFHJHQGHULGHQWLW\DVIOXLG
     KRZP\SDWLHQWVDUHDFWXDOO\XVLQJWKHWHUPLVWKDW                 RUYDULDEOH
     XQGHUVWDQGLQJRIWKHH[SUHVVLRQRIJHQGHULGHQWLW\PD\               %<$77251(<%$5+$0
     FKDQJHRYHUWLPH                                                    46RLWFDQEHIOXLGRUFKDQJLQJ"
     %<$77251(<%$5+$0                                                  &RUUHFW"
     46R\RXVDLGWKDWWKHLUXQGHUVWDQGLQJRIJHQGHU              $77251(<%/2&.2EMHFWLRQWRIRUP
     LGHQWLW\FDQFKDQJHRYHUWLPH'U.DW]:LVHVD\VWKDW              %<$77251(<%$5+$0
    WKHLUJHQGHULGHQWLW\FKDQJHVIUHTXHQWO\"                           4)RUDWOHDVWVRPHSHRSOH
    ,VWKDWFRUUHFW"                                           &RUUHFW"
    $7KDW VZKDWLWVWDWHGLQWKLVSRSXODUSUHVV                7+(:,71(66$V,ZRXOGGHVFULEHLWDQG
    DUWLFOH                                                            XQGHUVWDQGLWWKDW VWKHH[SHULHQFHRIH[SUHVVLRQRI
    4$QG'U.DW]:LVHLVDQ$VVLVWDQW3URIHVVRULQ             JHQGHULGHQWLW\FDQEHIOXLGRYHUWLPHZKLFKLV
    $GROHVFHQWDQG<RXQJ$GXOW0HGLFLQHDW%RVWRQ&KLOGUHQ V            GLIIHUHQW
    +RVSLWDO                                                           %<$77251(<%$5+$0
    ,VWKDWFRUUHFW"                                           4+RZLVWKDWGLIIHUHQWWRVD\WKDWRQH VJHQGHU
    $,ZRXOGKDYHWRWDNH\RXUZRUGIRUWKDW                   LGHQWLW\FKDQJHV"
    42ND\                                                      $,W VJHWWLQJDOLWWOHFRPSOLFDWHGLQWHUPVRI
    $UH\RXDZDUHWKDWVKHFRGLUHFWVWKH+DUYDUG              WKHFRQFHSWVWKDWZH UHWDONLQJDERXWEXWWKHLGHQWLW\
    6H[XDO2ULHQWDWLRQDQG*HQGHU,GHQWLW\([SUHVVLRQ(TXLW\            WKDWJHQGHULGHQWLW\LVVRPHWKLQJWKDWLVLQKHUHQWO\
    5HVHDUFK&ROODERUDWLYH"                                             IL[HGWKDWKRZSHRSOHXQGHUVWDQGH[SHULHQFHLWDQG
    $,GRQRWNQRZWKHWHUPQR                                H[SUHVVLWFDQFKDQJHRYHUWLPH7KDW VWKHGLIIHUHQFH
    $77251(<%$5+$0, PJRLQJWRVKRZ\RX              4%XWWKH$PHULFDQ3V\FKRORJLFDO$VVRFLDWLRQDW


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                                                      3DJH                                                           3DJH
      OHDVWGHVFULEHVJHQGHULGHQWLW\DVEHLQJIOXLG                 JHQGHUDGROHVFHQFH
      &RUUHFW"                                               &RUUHFW"
      $77251(<%/2&.2EMHFWLRQWRIRUP              $77251(<%/2&.2EMHFWLRQWRIRUP
      7+(:,71(66,QWKHDUWLFOHWKDW\RX            7+(:,71(66<HDKLQWKHVHVWXGLHVKDYH
      KDYHSXWLQIURQWRIPHLWGHVFULEHVWKDWSHRSOH V              EHHQSXEOLVKHGSULPDULO\E\WKH'XWFKFOLQLFWKHUDWHV
      H[SHULHQFHRIWKHLUJHQGHULGHQWLW\LVIOXLGRYHUWLPH         RIGLVVHQWLHQFHRIWKHGLDJQRVLVRIJHQGHUG\VSKRULDKDV
      %<$77251(<%$5+$0                                             EHHQXSZDUGVRISHUFHQW
      4/HW VJREDFNWR7DEZKLFKLV([KLELW$UH       %<$77251(<%$5+$0
      \RXIDPLOLDUZLWKWKH(QGRFULQH6RFLHW\*XLGHOLQHV"             4$QGDWWKHERWWRPRIWKHILUVWFROXPQRI
     $,DP                                                 SDJHWKHFRPPLWWHHLQGLFDWHVWKDWWKHLUFOLQLFDO
     4,VLW\RXUYLHZWKDWWKHVHJXLGHOLQHVZHUH            H[SHULHQFHVXJJHVWVWKDWWKHSHUVLVWHQFHRIJHQGHU
     GHYHORSHGWKURXJKULJRURXVVFLHQWLILFSURFHVVHV"               G\VSKRULDRUJHQGHULQFRQJUXHQFHFDQRQO\EHUHOLDEO\
     $77251(<%/2&.2EMHFWLRQWRIRUP             DVVHVVHGDIWHUWKHILUVWVLJQVRISXEHUW\
     7+(:,71(66,DJUHH                          ,VWKDWFRUUHFW"
     %<$77251(<%$5+$0                                            $7KDWLVZKDWLVZULWWHQ\HV
     4:RXOG\RXDJUHHWKDWWKHVHJXLGHOLQHVZHUH            4<RXKDYHQRWRIIHUHGDQRSLQLRQLQ\RXUUHSRUW
     GHYHORSHGE\DPRQJWKHPRVWUHVSHFWHGUHVHDUFKHUVLQWKH       DVWRZKHWKHURUZKHWKHURUWRZKDWWUDQVJHQGHU
     ILHOG"                                                         LGHQWLW\KDVDELRORJLFDOEDVLV
     $77251(<%/2&.2EMHFWLRQWRIRUP             ,VWKDWFRUUHFW"
     7+(:,71(66,ZRXOGQ WGLVDJUHHZLWK          $/HWPHMXVWPDNHVXUHWKDW, PUHYLHZLQJLW,
     WKDWQR                                                      KDYHQRWRIIHUHGDQRSLQLRQ
     %<$77251(<%$5+$0                                            4,I\RXZLOOWXUQWRSDJHRI([KLELW7DE
     4'R\RXUHVSHFW'U+HPEUHHRI&ROXPELD                7KHFRPPLWWHHZLWKDOORILWVH[SHULHQFHDQGSUHVHQWLQJ
     8QLYHUVLW\0HGLFDO&HQWHU"                                     DOOWKHHYLGHQFHVDLGWKDWJHQGHUG\VSKRULDLQFKLOGUHQ


                                                      3DJH                                                           3DJH
      $,GR                                                  TXRWHGRHVQRWLQYDULDEO\SHUVLVWLQWRDGROHVFHQFHDQG
      4'R\RXUHVSHFW'U&RKHQ.HWWHQLVRIWKH               DGXOWKRRG
      8QLYHUVLW\RI$PVWHUGDP"                                        ,VWKDWFRUUHFW"
      $,ZRXOGVD\,UHVSHFWDOORIWKHVHFOLQLFLDQV          $7KDWLVFRUUHFW
      DQGUHVHDUFKHUVDOWKRXJK6DELQH+DQQHPD,DPQRW               4,QIDFWWKLVFRPPLWWHHFRQFOXGHGWKDWWKDW
      IDPLOLDUSHUVRQDOO\                                            JHQGHUG\VSKRULDDPLQRULW\RISUHSXEHUWDOFKLOGUHQ
      4,I\RXZLOOWXUQWRSDJHRIWKLVGRFXPHQW        DSSHDUVWRSHUVLVWLQDGROHVFHQFH
      5LJKWXQGHUWKHKHDGLQJHYLGHQFHWKLVDUWLFOHUHSRUWV           ,VWKDWFRUUHFW"
      WKDWWKHODUJHPDMRULW\DERXWSHUFHQWRISUHSXEHUWDO        $7KDWLVFRUUHFW
     FKLOGUHQZLWKDFKLOGKRRGGLDJQRVLVGLGQRWUHPDLQ*'         4, PJRLQJWRWXUQ\RXUDWWHQWLRQWRWKLV
     VODVKJHQGHULQFRQJUXHQWLQDGROHVFHQFH                      ZLOOEH7DE([KLELW
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     4$QGIRRWQRWHRIWKLVGRFXPHQWFLWHVWR'U         6WXG\ZDVPDUNHGIRULGHQWLILFDWLRQ
     6WHHQVPDGH9ULHV&RKHQ.HWWHQLVDUWLFOHLQ"            
     $7KDW VFRUUHFW                                       %<$77251(<%$5+$0
     47KHVHDUHH[WHQVLYHO\SXEOLVKHGRULJLQDOSHHU         47KLVLVDVWXG\E\/LVD/LWWPDQHQWLWOHG
     UHYLHZHGUHVHDUFKSHHUUHYLHZHGUHVHDUFKHUVLQWKH         ,QGLYLGXDOV7UHDWHGIRU*HQGHU'\VSKRULDZLWKD0HGLFDO
     ILHOG                                                         DQGRU6XUJLFDO7UDQVLWLRQZKR6XEVHTXHQWO\
     &RUUHFW"                                              'HWUDQVLWLRQHG
     $&RUUHFW                                              ,VWKDWFRUUHFW"
     46RWKLVFRPPLWWHHUHYHDOVHYLGHQFHWKDWWKH           $7KDWLVFRUUHFW
     ODUJHPDMRULW\RIFKLOGUHQDERXWSHUFHQWZLWKD           4$UH\RXIDPLOLDUZLWKWKLVVWXG\"
     FKLOGKRRGGLDJQRVLVGRQRWUHPDLQJHQGHUG\VSKRULFLQ          $,DP



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                                                                3DJH                                                       3DJH
     47KHVWXG\ZDVEDVHGRQVXUYH\UHVSRQVHVIURPD                $,GR
     KXQGUHGDGXOWLQGLYLGXDOVZKRZHUHDSSURYHGIRUKRUPRQDO               4'R\RXVHHWKHKHDGLQJGHWUDQVLWLRQ"
     DQGRUVXUJLFDOWUDQVLWLRQXQGHUZHQWVXFKWUDQVLWLRQ                 $,GR
     OLYHGLQDWUDQVJHQGHULGHQWLW\IRUDSHULRGRI\HDUV                  4$QGLWVD\VWKHUHWKDWZKHQSDUWLFLSDQWVGHFLGHG
     DQGWKHQGHFLGHGWRGHWUDQVLWLRQRUUHYHUWWRDJHQGHU                WRGHWUDQVLWLRQWKH\ZHUHDPHDQDJHRI\HDUVROG
     LGHQWLW\DVVRFLDWHGZLWKWKHLUELRORJLFDOVH[                         &RUUHFW"
     ,VWKDWFRUUHFW"                                              $7KDWLVFRUUHFW
     $7KDWLVP\XQGHUVWDQGLQJRIWKHVWXG\\HV                   4+DYH\RXUHDGWKLVVWXG\EHIRUHWRGD\"
     4$QGDOORIWKHVXEMHFWVKDGGHWUDQVLWLRQHGE\                 $,KDYH
    GLVFRQWLQXLQJWKHLUPHGLFDWLRQVKDYLQJVXUJHULHVWR                  46RGRHVQ WWKLVVWXG\DWOHDVWVXJJHVWWKDW
    UHYHUVHWKHHIIHFWVRIWUDQVLWLRQRUERWK                            SDWLHQWVPD\WKLQNWKH\KDYHDVHQVHRIEHORQJLQJWRWKH
    &RUUHFW"                                                     RSSRVLWHVH[EXWFDQEHPLVWDNHQ"
    $77251(<%/2&.2EMHFWLRQWRIRUP$UH               $77251(<%/2&.2EMHFWLRQWRIRUP
    \RXUHDGLQJVRPHWKLQJ"                                                7+(:,71(66,WKLQNZKDWWKLVVWXG\
    $77251(<%$5+$0, PUHIHUHQFLQJ                      GRHVLVKHDUH[SHULHQFHVIURPDVHOHFWJURXSRI
    SDJHWZRFROXPQWZRDWWKHERWWRPRIWKHSDJH                      LQGLYLGXDOVZKRDUHPRWLYDWHGWRSDUWLFLSDWHLQWKH
    7+(:,71(660\UHFROOHFWLRQIURPWKH                 VWXG\DERXWGHWUDQVLWLRQDQGKHDUWKHLUH[SHULHQFHVRI
    VWXG\ZDVWKDWWKLVZDVDOOVHOIUHSRUWVRWKHUHZDVQR              WKHLUFDUH
    ZD\WRYHULI\LIWKDWZDVFRUUHFWRUWUXH                            %<$77251(<%$5+$0
    %<$77251(<%$5+$0                                                   4%XWWKHVWXG\VWLOOLQGLFDWHVWKDWWKRVH
    4%XWWKDW VDWOHDVWZKDWWKHSDUWLFLSDQWV                    LQGLYLGXDOVKDGDVHQVHRIEHORQJLQJWRWKHRSSRVLWHVH[
    UHSRUWHG                                                             DQGODWHUFRQFOXGHGWKDWWKH\ZHUHZHUHPLVWDNHQ
    &RUUHFW"                                                     ,VWKDWFRUUHFW"
    $)URPP\UHFROOHFWLRQ, GKDYHWRUHUHDGWKH                $<RXZLOOKDYHWRIRUJLYHP\FOLQLFLDQQDWXUH


                                                                3DJH                                                       3DJH
      HQWLUHVWXG\WRVD\IRUVXUHEXWWKDWLVP\                           KHUHEXWODQJXDJHLVLPSRUWDQWZKHQZRUNLQJZLWK
      UHFROOHFWLRQ\HV                                                    SDWLHQWVZKRDUHWUDQVLWLRQLQJ,GRQ WNQRZLIWKDW V
      4$QGLI\RXWXUQWRSDJHHLJKWRIWKHVHFRQG                  WKHODQJXDJHWKDWWKH\ZRXOGXVHRULIWKDWLVWKH
      FROXPQXQGHUWKHKHDGLQJGHWUDQVLWLRQ"                              ODQJXDJHWKDWZDVXVHGLQWKLVSDUWLFXODUVXUYH\
      $,GRQ WKDYHSDJHQXPEHUVRQPLQH                           4%XWWKHHIIHFWRIGHWUDQVLWLRQLQJLVWKDWWKH\
      $77251(<%/2&.'R\RXUHIHUHQFHWKH                  DWRQHWLPHWKRXJKWWKH\EHORQJHGWRWKHRSSRVLWHVH[
      SDJHQXPEHUDWWKHWRS"                                               DQGWKHQODWHUFRQFOXGHGWKDWWKH\GLGQRW"
      $77251(<%$5+$07KHVRXUFHFRQWDLQVQR               $77251(<%/2&.2EMHFWLRQWRWKHIRUP
      SDJHQXPEHUVPDNLQJLWGLIILFXOW                                    7+(:,71(66$JDLQ,WKLQNZHZRXOG
     %<$77251(<%$5+$0                                                  ZDQWWRNQRZVSHFLILFDOO\ZKDWHDFKLQGLYLGXDOSHUVRQ
     48QGHUWKHKHDGLQJGHWUDQVLWLRQLW VWKHSDJH                KRZWKH\GHVFULEHGWKHLUSURFHVV,GRQ WNQRZZKDW
     ULJKWEHIRUHWDEOHIRXU                                             GHWUDQVLWLRQPHDQVWRWKRVHZKRDUHWDNLQJDUHODWLYHO\
     $77251(<%/2&., PVRUU\&DQ,VHH                DQRQ\PRXVVXUYH\VRLW VKDUGWRGUDZDFRQFOXVLRQ
     WKHKHDGLQJRQWKHGRFXPHQW"-XVWIRUWKHUHFRUGWKLV              DERXWWKHVSHFLILFQDWXUHRILW7KHJHQHUDOO\DFFHSWHG
     GRHVQ WDSSHDUWREHDSDJLQDWHGYHUVLRQRIWKHDUWLFOH              XSRQGHILQLWLRQRIGHWUDQVLWLRQLVJHQHUDOO\DOLJQHG
     ZKHUH\RXNQRZZKHQ,SXOOLWXS,JHWDSXEOLFDWLRQ              ZLWKVRPHERG\ZKRUHYHUWVEDFNWRDJHQGHULGHQWLW\RU
     GDWHDQGSDJHV6R,GRQ WNQRZLIWKLVLVWKHILQDO                JHQGHUH[SUHVVLRQWKDWLVPRUHDOLJQHGZLWKWKHLUVH[
     YHUVLRQRIWKHDUWLFOHRUQRWEXW\RXFDQSURFHHGZLWK              DVVLJQHGDWELUWK
     WKHTXHVWLRQV                                                       %<$77251(<%$5+$0
     $77251(<%$5+$0&RXQVHO, OOUHWXUQWR             47KLVVWXG\GHILQHVGHWUDQVLWLRQDVGLVFRQWLQXLQJ
     \RXUFRQFHUQV0U%ORFN                                            PHGLFDWLRQVKDYLQJVXUJHULHVWRUHYHUVHWKHHIIHFWRI
     %<$77251(<%$5+$0                                                  WUDQVLWLRQRUERWK
     4'R\RXVHHWKHRQHSDJHEHIRUHWKHSDJHWKDW                ,VWKDWFRUUHFW",WLVRQSDJHWZR"
     FRQWDLQV7DEOH"                                                    $6KRZPHZKHUHRQSDJHWZR


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                Case: 22-5807
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                                                     3DJH                                                            3DJH
      47KHVHFRQGFROXPQRISDJHWZRDWWKHERWWRPRI        <RXPHQWLRQHGWKDWWKLVLVDVHOIUHSRUWLQJVWXG\DQGLW
      WKHSDJH"                                                       REYLRXVO\FRQFHUQVDQHPRWLRQDOO\IUDXJKWDUHDRIJHQGHU
      $77251(<%/2&.2EMHFWLRQWRIRUP              LGHQWLW\6RLVLW\RXUSRVLWLRQWKDWWKLVGRHVQRW
      7+(:,71(66<HDK, PQRWVHHLQJWKDW         SURGXFHVFLHQWLILFDOO\PHDQLQJIXOUHVXOWV"
      'U/LWWPDQLVVSHFLILFDOO\GHILQLQJGHWUDQVLWLRQEXW           $,GRQ WNQRZZKDW\RXPHDQE\VFLHQWLILFDOO\
      GHVFULELQJWKHREMHFWLYHRIWKHVWXG\IRUIRONVZKR             PHDQLQJIXO
      GHWUDQVLWLRQHGE\WKRVHDVSHFWVWKDW\RXQRWHG                 4'R\RXEHOLHYHWKDWWKLVWKHUHVXOWVRIWKLV
      %<$77251(<%$5+$0                                             DUWLFOHDUHVFLHQWLILFDOO\UHOLDEOH"
      42ND\                                                  $,WGHSHQGVXSRQZKDWTXHVWLRQLVEHLQJDVNHG
     %XWVKHQRWHVLQWKHODVWSDUDJUDSKRQWKDW           $VDEODQNHWDQ\NLQGRIVHOHFWLRQELDVSDUWLFXODUO\
     SDJHWKHREMHFWLYHRIWKHFXUUHQWVWXG\ZDVWRGHVFULEH        IRUWKLVVWXG\EDVHGXSRQZKHUHWKHSDUWLFLSDQWVZHUH
     WKHSRSXODWLRQRILQGLYLGXDOVVNLSSLQJZKRWKHQ              GUDZQIURPPDNHVXVQRWZDQWWRGUDZFRQFOXVLRQVDERXW
     GHWUDQVLWLRQHGE\GLVFRQWLQXLQJPHGLFDWLRQVKDYLQJ            WKHLUJHQHUDOL]HGDSSOLFDELOLW\RIWKLVVWXG\WRRWKHU
     VXUJHU\WRUHYHUVHWKHHIIHFWVRIWUDQVLWLRQRUERWK"          WUDQVJHQGHUIRONVLQFOXGLQJRWKHUIRONVZKRPD\KDYH
     $7KDW VFRUUHFW                                       GHWUDQVLWLRQHGEXWWKHJRDORIVFLHQFHLVQRW
     46RVKHLVLQGLFDWLQJZKDWVKHXQGHUVWDQGV             QHFHVVDULO\WRGUDZZLGHO\DSSOLFDEOHFRQFOXVLRQVEXW
     GHWUDQVLWLRQLQJWRPHDQLQWKLVDUWLFOH                       WRSXWXVLQDSRVLWLRQZKHUHZHFDQDVNPRUHTXHVWLRQV
     &RUUHFW"                                              DQGLPSURYHRXUFDUHIRURXUSDWLHQWV
     $77251(<%/2&.2EMHFWLRQWRIRUP             41RZZK\GR\RXVD\ZK\GR\RXKLJKOLJKW
     7+(:,71(66$JDLQ, PQRWVXUHKRZVKH        FRQFHUQVDERXWZKHUHWKHSDUWLFLSDQWVZHUHGUDZQIURP"
     VSHFLILFDOO\GHILQHVGHWUDQVLWLRQ,WLVQRW                  $,KLJKOLJKWWKDWEHFDXVHLWFUHDWHVDVHQVHRI
     QHFHVVDULO\PDGHFOHDULQWKDWVWDWHPHQW                      VHOHFWLRQELDVZKLFKSRWHQWLDOO\DV,VDLGFDQUHGXFH
     %<$77251(<%$5+$0                                            WKHZK\DSSOLFDELOLW\RIWKHFRQFOXVLRQVGUDZQ
     4,VLWWUXHWKDWSHRSOHPD\PLVWDNHIHHOLQJV           4$QGZK\GR\RXVD\WKDWWKHUHLVDSRWHQWLDOIRU


                                                     3DJH                                                            3DJH
      UHVXOWLQJIURPWUDXPDPHQWDOLOOQHVVRUKRPRSKRELDIRU         VHOHFWLRQELDVLQWKLVDUWLFOH"
      DJHQXLQHVHQVHRIWUDQVJHQGHULGHQWLW\"                        $%DVHGXSRQWKHZHEVLWHVWKDW'U/LWWPDQKDV
      $77251(<%/2&.2EMHFWLRQWRIRUP              GUDZQKHUSDUWLFLSDQWV
      7+(:,71(66,WKLQNWKHUHDUHDORWRI         4$QGZK\GR\RXKDYHFRQFHUQVDERXWWKRVH
      FRPSOLFDWHGH[SHULHQFHVWKDWSHRSOHPD\KDYHWKDWPDNH          ZHEVLWHV"
      WKHPTXHVWLRQWKHLUJHQGHULGHQWLW\                            $,KDYHFRQFHUQVDERXWWKHZHEVLWHVEHFDXVHRI
      %<$77251(<%$5+$0                                             WKHFRQWHQWVRIWKRVHZHEVLWHV
      46RLW VDWOHDVWSRVVLEOHWKDWSHRSOHFRXOG            4$QGZKDWLVFRQWHQWVRIWKRVHZHEVLWHVWKDW
      PLVWDNHIHHOLQJVUHVXOWLQJIURPWUDXPDPHQWDOLOOQHVV          FDXVHV\RXFRQFHUQ"
     RUKRPRSKRELDIRUJHQXLQHVHQVHRIWUDQVJHQGHULGHQWLW\       $7KHFRQWHQWRIWKHZHEVLWHVLVXQVFLHQWLILF
     &RUUHFW"                                              $QG,JXHVV, PQRWVXUHKRZWRDUWLFXODWHLWLQDPRVW
     $77251(<%/2&.2EMHFWLRQWRIRUP             GHILQHGZD\YHU\VSHFLILFWRDQVZHULQJDVHWRI
     7+(:,71(66,GRQ WGLVDJUHHZLWKWKDW       TXHVWLRQVWKDWUHHQIRUFHVWKHSUHVWXG\K\SRWKHVHV
     QR                                                            46RZKLFKZHEVLWHVWKDWVKHGUHZSDUWLFLSDQWV
     %<$77251(<%$5+$0                                            IURPFDXVH\RXFRQFHUQ"
     4<RXVDLGLW VFRPSOLFDWHGVRLWVRXQGVOLNHLW       $$VDQH[DPSOH)RXUWK:DYH1RZLVDZHEVLWHWKDW
     ZRXOGEHKDUGVRPHWLPHVIRUDFOLQLFLDQWRWHOOZLWK           'U/LWWPDQKDGXVHGIRUVRPHRIKHUVWXG\UHFUXLWPHQW
     FHUWDLQW\ZKDW VJRLQJRQ"                                     4$QGZK\DUH\RXFRQFHUQHGDERXWWKHXVHRI
     $77251(<%/2&.2EMHFWLRQWRIRUP             )RXUWK:DYHQRZLQWKHUHFUXLWPHQWSURFHVV"
     7+(:,71(66:KDW,ZRXOGGHVFULEHLV          $:KDW,ZRXOGVD\LVWKDWZKHQ\RX UHGHVLJQLQJD
     WKDWLQDQ\WKLQJUHODWHGWRPHQWDOKHDOWKWKDWWKHUHDUH       VWXG\WKDWSUHVXSSRVHVWKHFRQFOXVLRQDQGWKHZHEVLWHLV
     FRPSOLFDWLRQVDQGQXDQFHV7KLVLVQRGLIIHUHQW              GHVLJQHGWRDWWUDFWSHRSOHZKRSUHVXSSRVHWKDW
     %<$77251(<%$5+$0                                            FRQFOXVLRQWKDWOLPLWVWKHDSSOLFDELOLW\RIWKH
     41RZ,EHOLHYH\RXDOOXGHGWRWKLVDPRPHQWDJR      UHVXOWV,WMXVWKDYHWREHWDNHQLQWRDFFRXQW,W


                                                                                              3DJHVWR
                Case: 22-5807
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                                                     3DJH                                                                   3DJH
      GRHVQ WPHDQWKDWWKHUHLVQ WGDWDIURPWKLVNLQGRI            <RXZRXOGQHHGWRXQGHUVWDQGWKHEURDGHUFRQWH[WLQ
      VQRZEDOOUHFUXLWPHQWWKDWLVQ WYDOXDEOHDQG,ZRXOGQ W         RUGHUWRGUDZFRQFOXVLRQVDERXWZKDWWKDWVWDWLVWLFDO
      VD\WKDWWKHUHLVQ WYDOXHWRVRPHRI'U/LWWPDQ V             VLJQLILFDQFHPHDQVDQGWKDWPHDQVUHDOO\GLJJLQJLQWR
      ZRUNVSHFLILFDOO\WKLVVWXG\DVFRPSDUHGWRWKHODVW          WKHVSHFLILFPHWKRGRORJ\RIWKLVVWXG\7KHUHLVDYDVW
      WKRXJK\RXKDYHWRWDNHLWLQWKHFRQWH[WZLWKZKLFKLW         OLWHUDWXUHDERXWHIILFDF\RIVXUYH\GDWDDQGLWUHDOO\
      ZDVGHYHORSHG                                                  GHSHQGVRQWKHVSHFLILFV
      46RDUH\RXVXJJHVWLQJWKDW'U/LWWPDQ                 4:H YHSUHYLRXVO\UHIHUHQFHGSDUDJUDSKHLJKWRI
      SUHVXSSRVHGWKHFRQFOXVLRQWKDWVKHZDQWHGWRUHDFKLQ          \RXUUHSRUWZKHUH\RXPHQWLRQ\RX YHVHHQDSSUR[LPDWHO\
      GHVLJQLQJWKLVVXUYH\"                                          WUDQVJHQGHUSDWLHQWV
     $, POHVVIDPLOLDUZLWKWKHGHVLJQRIWKLVVWXG\       $77251(<%/2&.7UDYLVVRUU\QRWWR
     WKDQSUHYLRXVVWXGLHVWKDWVKHKDVGHVLJQHGZKLFK,           DYRLGDSHQGLQJTXHVWLRQEXWZH UHDOPRVWDWRQHKRXU
     ZRXOGVD\WKDWZDVFRUUHFW                                    VRLIWKLVLVDJRRGWLPHLI\RX UHPRYLQJWRD
     4:KDWRWKHUZHEVLWHVGLGVKHXVHLQWKHSURFHVV        GLIIHUHQWVXEMHFWPD\EHWKLVZRXOGEHDJRRGWLPHWR
     WRFDXVH\RXFRQFHUQ"                                          EUHDN
     $, PQRWDVIDPLOLDUZLWKWKLVVWXG\VR,GRQ W       $77251(<%$5+$0/HWPHZUDSXSDIHZ
     NQRZLIVKHVSHFLILFDOO\LGHQWLILHGZKLFKZHEVLWHV$QG       PRUHDQGWKHQZHZLOOGRWKDW
     ,FDQ WUHFDOOULJKWQRZRQWKHRWKHUVZKLFKWKH\ZHUH        $77251(<%/2&.7KDQNV
     4,I\RXORRNDWSDJHWKUHHVKHGLVFXVVHVWKH           %<$77251(<%$5+$0
     PHWKRGDQGWKHSDUWLFLSDQWVDQGSURFHGXUHV:RXOG             4<RXUFOLQLFDOSUDFWLFHIRUFKLOGUHQDQG
     UHYLHZLQJWKDWUHIUHVK\RXUUHFROOHFWLRQDVWRDQ\             DGROHVFHQWVVWDUWHGLQDERXWHLJKW\HDUVDJR
     FRQFHUQVDERXWSDUWLFLSDQWV"                                   ,VWKDWFRUUHFW"
     $,WZRXOGQRWEHFDXVHVKHGRHVQRWGHVFULEHWKH        $1R,ILQLVKHGPHGLFDOVFKRROLQDQGKDYH
     VSHFLILFIRUD6KHGHVFULEHVDFORVHG)DFHERRNJURXS         EHHQZRUNLQJZLWKDGXOWVFKLOGUHQDQGDGROHVFHQWVVLQFH
     7XPEOHU7ZLWWHUDQG5HGGLWEXWWKRVHDUHODUJH               WKHQ


                                                     3DJH                                                                   3DJH
      ZHEVLWHVWKDWKDYHDORWRIGLIIHUHQWNLQGRIFRQWHQW          42ND\
      46RLVLW\RXUSRVLWLRQWKDWLW VQRWSRVVLEOHWR       $$FWXDOO\WKDW VZKHQ,ILQLVKHGWRJREDFN
      NQRZZKHWKHUDQRQ\PRXVRUDQ\UHVXOWVKDYHDQ\UHODWLRQ         WKDW VZKHQ,ILQLVKHGP\UHVLGHQF\DQGIHOORZVKLS,
      WRWUXHIDFWLQDFWXDOFDVHKLVWRULHV"                          ILQLVKHGPHGLFDOVFKRROLQ,FDQ WEHOLHYHLW V
      $7KDWLVQRWP\SRVLWLRQ                               EHHQORQJ
      4'R\RXKDYHDQ\\RXPHQWLRQHGHDUOLHU              4$QGZKHQGLG\RXEHJLQ\RXUZRUNLQFKLOGDQG
      VRPHWKLQJDERXWKRZWKHVHZHUHDQRQ\PRXVUHVXOWV6RLV        DGROHVFHQWSV\FKLDWU\"
      LWSRVVLEOHWRNQRZZKHWKHUWKH\DFWXDOO\FRUUHVSRQGHG          $,KDGFKLOGDQGDGROHVFHQWSV\FKLDWU\
      ZLWKWUXHFDVHV"                                                H[SHULHQFHVZKHQ,ZDVLQPHGLFDOVFKRRO
     $,WKLQNDQRQ\PRXVVXUYH\V\RXKDYHWRUHDOO\         4:KHQGLG\RXEHJLQSUDFWLFLQJFKLOGDQG
     GLJLQWRWKHVSHFLILFVRIWKHVXUYH\GHVLJQLQRUGHUWR        DGROHVFHQWSV\FKLDWU\"
     GUDZFRQFOXVLRQV$QGDJDLQZLWKDQ\VWXG\LQDQ\            $7KDW VQRWDYHU\VSHFLILFWHUP,SUDFWLFHG
     VXUYH\LQSDUWLFXODU\RXMXVWZDQWWRPDNHVXUH\RXKDYH       FKLOGSV\FKLDWU\DVDPHGLFDOVWXGHQWLQP\WUDLQLQJ
     DQXQGHUVWDQGLQJRIWKDWFRQWH[WKRZEURDGO\WRGUDZ           4:KHQZHUH\RXOLFHQVHGZKHQZHUH\RXILUVW
     FRQFOXVLRQV                                                   OLFHQVHGWRSUDFWLFHFKLOGDQGDGROHVFHQWSV\FKLDWU\"
     4:RXOG\RXDJUHHWKDWRQOLQHUHFUXLWPHQWGRHVQRW      $7KHUH VQRVSHFLILFOLFHQVHWRSUDFWLFHFKLOG
     SURYLGHDVWDWLVWLFDOO\PHDQLQJIXOVDPSOH"                     SV\FKLDWU\$Q\ERG\ZKRLVKDVDPHGLFDOOLFHQVH
     $,ZRXOGQRWDJUHHZLWKWKDW                          FDQSUDFWLFHDQ\PHGLFDOVSHFLDOW\,ZDV%RDUG
     4,VLW\RXUSRVLWLRQKRZFDQDQRQOLQH             &HUWLILHGLQ&KLOGDQG$GROHVFHQW3V\FKLDWU\ZKLFKLVD
     UHFUXLWPHQWSURGXFHDVWDWLVWLFDOO\PHDQLQJIXOVDPSOH"         GLIIHUHQWSURFHVVDQG,ZRXOGKDYHWRORRNWKURXJKWR
     $,WKLQN,ZRXOGQHHGWRXQGHUVWDQGWKHFRQWH[W        UHFDOOWKHGDWH, PDVVXPLQJWKDWLW VRU
     RIZKDW\RXPHDQE\VWDWLVWLFDOO\PHDQLQJIXO7KHUHLV        LVZKHQ,ZDV%RDUG&HUWLILHG
     DGLIIHUHQFHEHWZHHQDVXUYH\WKDWFRXOGEHSRWHQWLDOO\        46RZKHQGLG\RXEHJLQDQG\RXILQLVKHG\RXU
     SRRUO\GHVLJQHGDQG\HWUHDFKVWDWLVWLFDOVLJQLILFDQFH        IHOORZVKLSLQFKLOGDQGDGROHVFHQWSV\FKLDWU\ZKHQ"


                                                                                                 3DJHVWR
                Case: 22-5807
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                                                      3DJH                                                          3DJH
      $                                                  $3UREDEO\VRPHZKHUHRQWKHRUGHURIWKDW
      4:KHQGLG\RXEHJLQWUHDWLQJDVDFKLOG          $77251(<%/2&.:RXOGQRZEHDJRRGWLPH
      DQGDGROHVFHQWSV\FKLDWULVWFKLOGUHQZLWKJHQGHU                IRUWKDWEUHDN"
      G\VSKRULD"                                                      $77251(<%$5+$02QHODVWTXHVWLRQ
      $77251(<%/2&.2EMHFWLRQWRIRUP              %<$77251(<%$5+$0
      7+(:,71(66,VDZFKLOGUHQZLWKJHQGHU         4:KDWV\VWHPVGR\RXKDYHLQSODFHWRWUDFNWKHVH
      G\VSKRULDGXULQJP\UHVLGHQF\DQGLQP\IHOORZVKLS             SDWLHQWVILYH\HDUVDIWHUWKH\KDYHEHHQLQ\RXUFDUH"
      %<$77251(<%$5+$0                                             $,KDYHWKHVDPHV\VWHPVDVPRVWSV\FKLDWULVWV
      4$QG\RXUIHOORZVKLS"                                   :HVHHWKHSDWLHQWVZLWKLQRXUFDUH)RONVZLOOUHDFK
     $%HWZHHQDQG                                RXWWRXVDIWHUWLPHKDVSDVVHGDQGLW VRQHRIWKH
     4$QGZKDWSURSRUWLRQRIWKRVHSDWLHQWVVRFLDOO\        JUHDWSOHDVXUHVRIEHLQJDFKLOGSV\FKLDWULVWZHJHWWR
     WUDQVLWLRQHG"                                                  VHHIRONVORQJLWXGLQDOO\6RWKHUHLVQRWDVSHFLILF
     $2IDOORIWKHSDWLHQWVWKDW,VDZLQP\WUDLQLQJ      V\VWHPDSDUWIURPPXWXDOFDUH
     RULQDOORIWKHSDWLHQWVWKDW, YHVHHQRYHUP\WLPHDV       46R\RXUHO\RQWKHPWRUHDFKRXWWR\RX
     DSK\VLFLDQ"                                                   ,VWKDWFRUUHFW"
     4/HW VJRILUVWZLWKWKHWUDLQLQJ                     $77251(<%/2&.2EMHFWLRQWRIRUP
     $,WZDVDPXFKVPDOOHUQXPEHUVRSUREDEO\LI,        7+(:,71(66,WGHSHQGVRQFRQWH[W
     ZHUHWRJXHVVDQG, PJRLQJEDFNSUREDEO\FORVHWR           %<$77251(<%$5+$0
     SHUFHQW                                                    4%XWGR\RXKDYHDQ\V\VWHPDWLFZD\RIWUDFNLQJ
     41LQHW\ILYH  SHUFHQWVRFLDOO\WUDQVLWLRQHG        DOOSDWLHQWVILYH\HDUVDIWHUWKH\OHDYH\RXUFDUH"
     ZKHQ\RXZHUHLQWUDLQLQJ"                                     $7KHUHLVQRV\VWHPDWLFZD\RIWUDFNLQJDOO
     $<HV                                                  SDWLHQWV
     4$QGKRZPDQ\RI\RXUSDWLHQWVRYHUDOOKDYH            $77251(<%$5+$0$OOULJKW/HW VWDNH
     VRFLDOO\WUDQVLWLRQHG"                                         DEUHDN+RZORQJZRXOG\RXDOOOLNH"


                                                      3DJH                                                          3DJH
      $, PQRWVXUHKRZWRDQVZHUWKDWTXHVWLRQ2YHU        $77251(<%/2&.)LYHPLQXWHV
      WKHFRXUVHRIRXUWLPHZRUNLQJWRJHWKHUEHIRUH,               $77251(<%/2&.6KRXOGZHJRRIIWKH
      VWDUWHGVHHLQJWKHPRU, PQRWVXUHKRZWR                  UHFRUG"
      DFFXUDWHO\DQVZHUWKDWTXHVWLRQ                                9,'(2*5$3+(5*RLQJRIIDP
      42YHUWKHMXVWLQJHQHUDOKRZPDQ\RI\RXU          2))9,'(27$3(
      SDWLHQWVVRFLDOO\WUDQVLWLRQHGQRWMXVWZKLOHWKH\ZHUH        
      EHLQJWUHDWHGXQGHU\RXUFDUH"                                   :+(5(8321$6+257%5($.:$67$.(1
      $$QGWKHVHDUHSDWLHQWVZKRDUHVHHLQJPH               
      VSHFLILFDOO\WKURXJKWKHFRQWH[WRIJHQGHURURIWKRVH          219,'(27$3(
     WUDQVJHQGHUSDWLHQWV"                                      9,'(2*5$3+(5%DFNRQWKHUHFRUG7KH
     42IWKHWUDQVJHQGHUSDWLHQWV                      WLPHLVDP
     $3UREDEO\,PHDQLW VDJXHVVEXWSUREDEO\        %<$77251(<%$5+$0
     LQWKHRUGHURISHUFHQW                                    40RPHQWVDJRZHZHUHGLVFXVVLQJ'U/LWWPDQ V
     4$QGZKDWSURSRUWLRQRIWKHSDWLHQWVXVHG          VWXG\WKDWZDV7DE([KLELW$UH\RXDZDUH
     SXEHUW\EORFNHUV"                                              RIDQ\VWXGLHVWKDWFRQWUDGLFW'U/LWWPDQ VGDWD"
     $3UREDEO\DPLQRULW\RIWKRVHSDWLHQWV,I,KDG      $&DQ\RXEHPRUHVSHFLILF"
     WRJXHVVSUREDEO\SHUFHQWRUOHVV                         4$UH\RXDZDUHRIDQ\VWXGLHVWKDWFRQWUDGLFW'U
     4$QGZKDWSHUFHQWRIWKRVHWUDQVJHQGHU             /LWWPDQ VZRUNVXUYH\LQWKLVDUWLFOHLQ([KLELWWKDW
     SDWLHQWVXVHGFURVVVH[KRUPRQHV"                              ILQGIDXOWZLWKKHUGDWD"
     $,GRQ WKDYHP\UHFRUGVLQIURQWRIPHVRLW         $77251(<%/2&.2EMHFWLRQWRWKHIRUP
     ZRXOGUHDOO\MXVWEHDJXHVVEXWSUREDEO\FORVHWRWKH        7+(:,71(66<HDK, PVRUU\,GRQ W
     VDPHSHUFHQWDJHWKDWVRFLDOO\WUDQVLWLRQHGSUREDEO\D         WKLQN,XQGHUVWDQGWKHTXHVWLRQ7KHUHDUHRWKHU
     OLWWOHELWOHVVWKDQWKDW                                     DUWLFOHVWKDWKDYHEHHQZULWWHQDERXWGHWUDQVLWLRQDQG
     4,I,UHFDOOFRUUHFWO\WKDW VDERXWSHUFHQW"        FOLQLFDOH[SHULHQFHVRISDWLHQWVWKDWKDYH


                                                                                              3DJHVWR
                Case: 22-5807
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                                                      3DJH                                                           3DJH
      GHWUDQVLWLRQHGZKRKDYHGHVFULEHGWKRVHH[SHULHQFHV            SDWLHQWVWKDW\RXKDYHWUHDWHGWKHWUDQVJHQGHU
      7KHUHKDVQRWEHHQDVSHFLILFVXUYH\GHVLJQHGRI                SDWLHQWV\RXUHIHUHQFHGLQ\RXUUHSRUWDQG\RX
      GHWUDQVLWLRQHUVRXWVLGHRIWKLVRQHWKDW, PDZDUHRI          PHQWLRQHGWKDWDERXWSHUFHQWRUOHVVRIWKRVHKDG
      %<$77251(<%$5+$0                                             XVHGSXEHUW\EORFNHUV, PZRQGHULQJZK\WKDW
      4+DVDQ\RQHZULWWHQDQDUWLFOHILQGLQJIDXOWZLWK       SHUFHQWDJHLVVRORZ
      WKHZD\'U/LWWPDQLQWHUSUHWHGWKHGDWDWKDW"              $77251(<%/2&.2EMHFWLRQWRIRUP
      $77251(<%/2&.2EMHFWLRQWRIRUP              7+(:,71(66,GRQ WNQRZ/RZFRPSDUHG
      7+(:,71(66)RUWKLVVSHFLILFGDWDVHW         WRZKDW",WKLQNLW VLPSRUWDQWWRXQGHUVWDQGWKH
      RUIRUSUHYLRXV"                                                FRQWH[WWKDWLQZKHQ,ILUVWVWDUWHGP\JHQGHU
     %<$77251(<%$5+$0                                            SURJUDPWKDWSXEHUW\EORFNLQJPHGLFDWLRQVZHUHQRW
     4)RUWKLVVSHFLILFGDWDVHW"                           ZLGHO\DYDLODEOHFRVWXSZDUGVRIDPRQWKDQG
     $)RUWKLVVSHFLILFGDWDVHWIURPP\                   ZHUHQRWFRYHUHGE\PRVWLQVXUDQFH6RSXEHUW\EORFNHUV
     UHFROOHFWLRQWKLVZDVVWXGLHGRUSXEOLVKHGMXVW           ZHUHQRWVRPHWKLQJWKDWZHUHDYDLODEOHLQWKHVDPHZD\
     UHFHQWO\VR, PQRWDZDUHRIDQ\,WGRHVQ WPHDQWKDW        WKH\DUHQRZ$QG,DOVRVDZDIDLUQXPEHURIDGXOWV
     WKHUHDUHQ W                                                  DQGROGHUDGROHVFHQWVIRUZKRPSXEHUW\EORFNHUVDUHQRW
     4$UH\RXDZDUHRIDQ\VWXGLHVWKDWFRQWUDGLFW'U      LQGLFDWHG
     /LWWPDQ VFRQFOXVLRQVLQWKLVDUWLFOH"                    %<$77251(<%$5+$0
     $,I\RXJLYHPHDPRPHQW,ZLOOUHDGWKH               46RRIWKHSDWLHQWVWKDW\RXUHIHUHQFHLQ
     FRQFOXVLRQ                                                    SDUDJUDSKHLJKWRI\RXUUHSRUWZKDWSHUFHQWDJHRIWKRVH
     $77251(<%/2&.2EMHFWLRQWRIRUP             DUHDGXOWV"
     7+(:,71(66,QVRPXFKDV'U/LWWPDQ V         $,ZRXOGUHDOO\KDYHWRJREDFNDQGORRN,
     FRQFOXVLRQLVWKDWWKHUH VQRVLQJOHQDUUDWLYHWR              PHDQLQP\FXUUHQWSUDFWLFH,VHHDGROHVFHQWVDQG
     H[SODLQWKHH[SHULHQFHVRIDOOLQGLYLGXDOVZKR                 \RXQJDGXOWVVRNLQGRISDUVLQJRXWDUWLILFLDOO\ZKRLV
     GHWUDQVLWLRQHGDQGZHVKRXOGWDNHFDUHWRDYRLGSDLQWLQJ       DQGXSLWZRXOGWDNHVRPHWLPHWRGRWKDW3UREDEO\


                                                      3DJH                                                           3DJH
      WKHSRSXODWLRQZLWKDEURDGEUXVK,DJUHHZLWKWKDW            LQWKHRUGHURISHUFHQWDUHFKLOGUHQLQDGROHVFHQFH
      FRQFOXVLRQ                                                     SHUFHQWDGXOWV%XWRIFRXUVHRYHUWRQRZD
      %<$77251(<%$5+$0                                             ORWRIWKRVHIRONVDUHQRZDGXOWV
      4$UH\RXDZDUHRIDQ\VWXGLHVWKDWFRQWUDGLFWKHU       4$QGZKHQ, PDVNLQJDERXWWKHVHSHUFHQWDJHV,
      FRQFOXVLRQVQRWMXVWLQWKHFRQFOXVLRQVHFWLRQEXWKHU          PHDQZKHQ\RXZHUHWUHDWLQJWKHP:KDWSHUFHQWDJHRI
      GHVFULSWLRQRIWKHGHWUDQVLWLRQHUV"                             WKHSDWLHQWV\RXZHUHWUHDWLQJZHUHFKLOGUHQ"
      $77251(<%/2&.2EMHFWLRQWRWKHIRUP          $7KDW VP\EHVWJXHVV
      7+(:,71(66,WKLQNLW VKDUGWR               46HYHQW\ILYH  SHUFHQW"
      SURYLGHDVSHFLILFDQVZHUWRWKDWTXHVWLRQ:HKDYHWR         $<HV
     ORRNDWHDFKVWXG\DQGMXGJHHDFKLQGLYLGXDOVWXG\EDVHG       4$QGDUH\RXGLVWLQJXLVKLQJEHWZHHQSUHSXEHUWDO
     XSRQWKHPHULWV7KHFRQFOXVLRQVVKHGUDZVDUHIURPD         FKLOGUHQDQGDGROHVFHQWVLQWKDWSHUFHQWRUERWK"
     VXEVHWRISDWLHQWVZLWKDYHU\VSHFLILFYLHZSRLQWDQG,       $7KDW VERWK
     DJUHHZLWKKHUDQGKHUFRQFOXVLRQWKDWWKHUHQHHGVWREH       42IWKDWRIDOOWKHSDWLHQWV\RX YHVHHQ
     PRUHUHVHDUFKWREHWWHUXQGHUVWDQGWKHEURDGHU                 DWWKHWLPH\RXVDZWKHPKRZPDQ\ZHUHSUHSXEHUWDO
     LPSOLFDWLRQVRIWKLVFDUH                                     FKLOGUHQ"
     %<$77251(<%$5+$0                                            $3UREDEO\DQGDJDLQ,KDYHWRJLYHWKLVD
     4<RX UHQRWDZDUHRIDQ\DUWLFOHWKDWKDVEHHQ         PDMRUFDYHDW,ZRXOGKDYHWRJREDFNDQGORRNWKURXJK
     SXEOLVKHGVSHFLILFDOO\FULWLTXLQJWKLVVWXG\E\'U       HYHU\WKLQJEXW,ZRXOGVD\SUREDEO\SHUFHQWRIWKDW
     /LWWPDQ                                                       SHUFHQWZHUHSUHSXEHUWDODWWKHWLPHRILQLWLDO
     ,VWKDWFRUUHFW"                                      DVVHVVPHQW
     $1RWWKDW, PDZDUHRI                                4$QGVRWKHQWKHUHPDLQLQJSHUFHQWRIZRXOG
     $77251(<%/2&.2EMHFWLRQWRIRUP             EHDGROHVFHQWV
     %<$77251(<%$5+$0                                            ,VWKDWFRUUHFW"
     4$IHZPRPHQWVDJRZHZHUHDOVRWDONLQJDERXWWKH      $&RUUHFW


                                                                                              3DJHVWR
                Case: 22-5807
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                                                      3DJH                                                          3DJH
      $77251(<%/2&.2EMHFWLRQWRIRUP              $/RVWWRIROORZXSLVDVSHFLILFWHUPXVHGLQ
      %<$77251(<%$5+$0                                             VWXGLHVVRLW VQRWVRPHWKLQJWKDW,ZRXOGXVHWR
      4+RZPDQ\RI\RXUSDWLHQWVRIWKRVHSDWLHQWV        GHVFULEHP\SDWLHQWV
      KDYHGHWUDQVLWLRQHGLQD\HDU"                                  4+RZPDQ\SDWLHQWVGR\RXORVHFRQWDFWZLWKDIWHU
      $,W VNLQGRIDKDUGTXHVWLRQWRDQVZHU7KHRQH       ILYH\HDUV"
      SDWLHQWZKRVHOILGHQWLILHVDVKDYLQJGHWUDQVLWLRQHG            $$JDLQ,GRQ WNQRZKRZWRDQVZHUWKDWTXHVWLRQ
      VWDUWHGVHHLQJPHDIWHUVKHKDGGHWUDQVLWLRQHG                 , YHEHHQDWP\FXUUHQWUROHIRUWKUHHVR,KDYHQ W
      4+DYHDQ\RI\RXUSDWLHQWVGHWUDQVLWLRQHGZKLOH         ORVWWRXFKZLWKDQ\VLJQLILFDQWQXPEHURISDWLHQWV
      XQGHU\RXUFDUH"                                                4:KDWDERXWSDWLHQWVWKDW\RXVDZEHIRUH\RXZHUH
     $1RWWKDW, PDZDUHRI                                LQ\RXUFXUUHQWSRVLWLRQ"
     4$QGLVWKHRQHSDWLHQWZKRGHWUDQVLWLRQHGEHIRUH      $, PQRWLQFRQWDFWZLWKSDWLHQWVIURPP\
     VWDUWLQJWRVHH\RXLVWKDWWKHRQO\SDWLHQW\RX UH           SUHYLRXVUROH
     DZDUHRIRIWKHWKDWKDVGHWUDQVLWLRQHG"                   $77251(<%$5+$0$OOULJKW/HW VJRWR
     $7KDWLVWKHRQO\RQHWKDW, PDZDUHRI\HV          7DE7KLVLV([KLELW,EHOLHYH
     %XWFDQ,FODULI\WKDWRIWKRVHSDWLHQWVWKHUHDUH         
     FHUWDLQO\WKRVHZKRGLGQRWFKRRVHWRWUDQVLWLRQ               :KHUHXSRQ([KLELW6WXG\ZDVPDUNHG
     4$QGKRZPDQ\RIWKHFKRVHQRWWRWUDQVLWLRQ"      IRULGHQWLILFDWLRQ
     $,I,KDGWRJXHVVSUREDEO\DERXWWR           
     SUREDEO\WHQSHUFHQW                                          %<$77251(<%$5+$0
     4$QGGLGWKH\PDNHWKDWGHFLVLRQEHIRUHSXEHUW\        4$UH\RXIDPLOLDUZLWKWKLVVWXG\"
     EHJDQ"                                                         $,DPQRW
     $,WZDVDPL[                                         4+DYH\RXVHHQLWEHIRUHWRGD\"
     42IWKRVHZKRFKRVHQRWWRWUDQVLWLRQKRZPDQ\        $,KDYHQRW
     ZHUHFKLOGUHQZKHQWKH\PDGHWKDWGHFLVLRQ"                    42QSDJHRQHWKLVDJDLQKDVEHHQLW V


                                                      3DJH                                                          3DJH
      $,FRXOGQ WWHOO\RXDWWKDWSRLQWEXW                 SDJLQDWHGLQWKHWRSULJKWFRUQHURUWRSLQVLGHFRUQHU
      VLJQLILFDQWO\PRUHZHUHWKHSUHSXEHUWDO\RXWKWKDQ              2QSDJHRQHWKHILUVWVHQWHQFHRIWKHODVWSDUDJUDSK
      DGROHVFHQWV                                                    VD\VJHQGHUWUDQVLWLRQLVDVVFLHQWLILFDOO\IDVFLQDWLQJ
      47KLVLVDVHQVLWLYHTXHVWLRQ,PHDQQRRIIHQVH       DVLWLVVRFLDOO\FRQWURYHUVLDOIRULWSRVHVVLJQLILFDQW
      E\LWEXWKRZPDQ\RIWKHSDWLHQWVKDYHPDGHWKH           SURIHVVLRQDODQGELRHWKLFDOFKDOOHQJHVIRUWKRVH
      VDGGHFLVLRQWRFRPPLWVXLFLGH"                                 FOLQLFLDQVZRUNLQJLQWKHILHOGRIJHQGHUG\VSKRULD
      $77251(<%/2&., PVRUU\,FRXOGQ W          'R\RXDJUHHWKDWJHQGHUGHWUDQVLWLRQSRVHV
      KHDWWKDW&DQ\RXVSHDNXS"                                   VLJQLILFDQWSURIHVVLRQDODQGELRHWKLFDOFKDOOHQJHVIRU
      %<$77251(<%$5+$0                                             SURIHVVLRQDOVWUHDWLQJJHQGHUG\VSKRULD"
     4+RZPDQ\RIWKHSDWLHQWVKDYHPDGHWKHVDG        $77251(<%/2&.2EMHFWLRQWRIRUP
     GHFLVLRQWRFRPPLWVXLFLGH"                                    7+(:,71(66,GRQ WQHFHVVDULO\DJUHH
     $77251(<%/2&.2EMHFWLRQWRIRUP             ZLWKWKHODQJXDJH$QGFHUWDLQO\GRQ WDJUHHZLWKWKH
     7+(:,71(66,V\RXUTXHVWLRQKRZPDQ\         DXWKRUWRXVHVRPHWKLQJWKDW VVFLHQWLILFDOO\
     KDYHFRPSOHWHGVXLFLGH"                                        IDVFLQDWLQJ:KDW,WKLQNLVWKDWHYHU\GHFLVLRQWKDW
     %<$77251(<%$5+$0                                            ZHPDNHLQFKLOGSV\FKLDWU\LQSDUWLFXODULVIUDXJKW
     4&RUUHFW                                              ZLWKHWKLFDOFKDOOHQJHV7KLVLVQRWDQ\GLIIHUHQWIURP
     $2IWKRVHSDWLHQWV]HUR                          WKHHWKLFDOFKDOOHQJHVWKDWZHIDFHZLWKDORWRIRWKHU
     4+RZPDQ\RIWKRVHSDWLHQWVKDYHEHHQ              LQWHUYHQWLRQV
     KRVSLWDOL]HGIRUDSV\FKLDWULFLOOQHVV"                        %<$77251(<%$5+$0
     $,GRQRWKDYHWKDWLQIRUPDWLRQLQIURQWRIPH        4:KDWFKDOOHQJHVGRHVGHWUDQVLWLRQSRVHWR\RXU
     4'R\RXKDYHDQ\JHQHUDOLGHD"                         SURIHVVLRQLQ\RXUYLHZ"
     $,GRQ W                                              $77251(<%/2&.2EMHFWLRQWRIRUP
     4$IWHUILYHRUPRUH\HDUVZKDWSHUFHQWDJHRI\RXU      7+(:,71(66,GRQ WVHHKRZLWSRVHV
     SDWLHQWVZRXOGEHFKDUDFWHUL]HGDVORVWWRIROORZXS"          DQ\FKDOOHQJHVWRP\ZRUN


                                                                                              3DJHVWR
                Case: 22-5807
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                                                     3DJH                                                           3DJH
      %<$77251(<%$5+$0                                             6WHOOD,WLVWKHVDPHSDUDJUDSK
      43DJHWKUHHRIWKLVDUWLFOHWKHDXWKRUVLGHQWLI\       $*RWLW<HDK,GRQ WNQRZZKDWVROYLQJD
      VHYHUDOWKLQJVWKDWPD\SURPSWDSHUVRQ VGHFLVLRQWR           SV\FKRORJLFDORUHPRWLRQDOSUREOHPPHDQVLQWKLV
      GHWUDQVLWLRQLQFOXGLQJXQGHUVWDQGLQJKRZSDVWWUDXPD           FRQWH[W
      LQWHUQDOL]HGVH[LVPDQGRWKHUSV\FKRORJLFDOGLIILFXOWLHV        4%XWWKHVHDXWKRUVDUHDWOHDVWLQGLFDWLQJWKDW
      LQIOXHQFHWKHH[SHULHQFHRIJHQGHUG\VSKRULD                   VROYLQJWKHVHSUREOHPVKRZHYHUWKH\PHDQWKHWHUPPD\
      &RUUHFW"                                               SURPSWDGHFLVLRQWRGHWUDQVLWLRQ
      $77251(<%/2&.2EMHFWLRQ&DQ\RXJLYH        ,VWKDWFRUUHFW"
      KLPDFKDQFHWRUHDG"                                           $77251(<%/2&.2EMHFWLRQWRIRUP
     $77251(<%$5+$02IFRXUVH                    7+(:,71(66,WKLQN, YHDQVZHUHGKRZ,
     7+(:,71(66$QGFDQ\RXUHSHDWZKDW\RX       FDQDQVZHUWKDW
     VDLG"                                                          %<$77251(<%$5+$0
     %<$77251(<%$5+$0                                            42ND\
     42QSDJHWKUHHWKHDXWKRUVLGHQWLI\VHYHUDO            /HW VJREDFNWR7DEZKLFKLV([KLELW
     WKLQJVWKDWPD\SURPSWDSHUVRQ VGHFLVLRQWR                  7KLVZDVWKH/LWWPDQVWXG\WKDWZHZHUHGLVFXVVLQJD
     GHWUDQVLWLRQLQFOXGLQJTXRWHXQGHUVWDQGLQJKRZSDVW          PRPHQWDJR2QSDJHWKUHHH[FXVHPHDFFRUGLQJWR
     WUDXPDLQWHUQDOL]HGVH[LVPDQGRWKHUSV\FKRORJLFDO            7DEOHRQSDJHQLQHSHUFHQWRIWKHSDUWLFLSDQWVLQ
     GLIILFXOWLHVLQIOXHQFHWKHH[SHULHQFHRIJHQGHU                WKLVVXUYH\UHSRUWHGWKDWWKH\EHFDPHPRUHFRPIRUWDEOH
     G\VSKRULD                                                     LGHQWLI\LQJDVWKHLUQDWDOVH[
     &RUUHFW"                                              ,VWKDWFRUUHFW"
     $6RUU\-XVWJLYHPHDVHFRQGWRORRNDWWKH          $77251(<%/2&.2EMHFWLRQWRIRUP
     FRQWH[WKHUH                                                  7+(:,71(66,VHHSHUFHQWRIWKRVH
     46XUH                                                 DVVLJQHGIHPDOHDWELUWKDQGRIWKRVHDVVLJQHGPDOH
     $,DJUHHWKDW VKRZLWLVZULWWHQDQGWKHUH            DWELUWKUHSRUWHGWKDW


                                                     3DJH                                                           3DJH
      DSSHDUVWREHQREDVLVIURPZKLFKWKHDXWKRUKDVEXLOW          %<$77251(<%$5+$0
      WKDWDVVHUWLRQ7KHUHLVQRPHWKRGVGHVFULEHGLQWKLV          46RDQGLVVRWKDWZRXOGEHSHUFHQW
      ZKDWVRHYHU                                                     RIWKHSDUWLFLSDQWVLQWKHVWXG\
      4,EHOLHYHWKHDXWKRULQWKDWLQVWDQFHLVFLWLQJ        &RUUHFW"
      'RGVZRUWK*RQ]DOH]+HU]RJDQGRQH            $77251(<%/2&.2EMHFWLRQWRIRUP
      WZRWKUHHIRXURWKHUVWXGLHV                                 7+(:,71(66,EHOLHYH
      'R\RXVHHWKDW"                                       %<$77251(<%$5+$0
      $,VHHWKRVHVWXGLHV, GKDYHWRORRNDWWKH          4, PVRUU\,GLGQ WKHDU\RXUDQVZHU
      VSHFLILFVWXGLHVLQRUGHUWRXQGHUVWDQGWKHLPSOLFDWLRQV        $,WUXVW\RXUPDWK\HV
     DQGWKHFRQWH[W                                               42ND\
     4%XWWKHDXWKRUVREYLRXVO\VHHPWRKDYHDEDVLV        $QGRQSDJHXQGHUWKHKHDGLQJGLVFXVVLRQ
     RUDWOHDVWDFLWDWLRQEDVLVIRUZKDWWKH\ UHVD\LQJ          WKLVVXUYH\LQGLFDWHVWKDWRQO\DVPDOOSHUFHQWDJHRI
     ,VWKDWFRUUHFW"                                      GHWUDQVLWLRQHUVSHUFHQWLQIRUPHGWKHFOLQLFLDQVDQG
     $77251(<%/2&.2EMHFWLRQWRIRUP             FOLQLFVWKDWIDFLOLWDWHGWKHLUWUDQVIHUWKDWWKH\
     7+(:,71(66$JDLQZLWKRXWNQRZLQJWKH        WKHLUWUDQVLWLRQWKDWWKH\KDGGHWUDQVLWLRQHG
     VSHFLILFVRIWKRVHVWXGLHVLW VKDUGIRUPHWRVD\            ,VWKDWFRUUHFW"
     %<$77251(<%$5+$0                                            $77251(<%/2&.2EMHFWLRQWRIRUP
     47KHDXWKRUVDOVRLQGLFDWHWKDWVROYLQJSUHYLRXV       7+(:,71(66<HVWKHSDUWLFLSDQWVLQ
     SV\FKRORJLFDORUVODVKHPRWLRQDOSUREOHPVWKDW                 WKHVWXG\WKDWLVFRUUHFW
     FRQWULEXWHGWRJHQGHUG\VSKRULDPD\SURPSWWKHGHFLVLRQ        %<$77251(<%$5+$0
     WRGHWUDQVLWLRQ                                               4$QG\RXWHVWLILHGDPRPHQWDJRLI,UHFDOO
     ,VWKDWFRUUHFW"                                      FRUUHFWO\SOHDVHFRUUHFWPHLI, PZURQJWKDW\RXDUH
     $:KHUHLVWKDW"                                        DZDUHRIRQO\RQHSDWLHQWLQ\RXUFDUHHUWKDWKDV
     47KH\DUHFLWLQJ%XWOHUDQG+XWFKLQVRQ          GHWUDQVLWLRQHG


                                                                                              3DJHVWR
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                                                      3DJH                                                           3DJH
      ,VWKDWFRUUHFW"                                       $77251(<%$5+$0,ZDQWWRVKRZ\RX
      $7KDW, PDZDUHRI\HV                                7DEDQGWKLVZLOOEH([KLELW,WZLOOEHDQ
      4/HW VJRWR7DEZKLFKLV([KLELW               DUWLFOHE\/LO\'XUZRRGHQWLWOHG0HQWDO+HDOWKDQG6HOI
                                        :RUWKLQ6RFLDOO\7UDQVLWLRQHG7UDQVJHQGHU3HRSOH
       :KHUHXSRQ([KLELW$UWLFOHE\                
      9DQGHQEXVVFKHZDVPDUNHGIRU                    :KHUHXSRQ([KLELW$UWLFOHE\/LO\
      LGHQWLILFDWLRQ                                 'XUZRRGZDVPDUNHGIRULGHQWLILFDWLRQ
                                        
      %<$77251(<%$5+$0                                             %<$77251(<%$5+$0
     4$UH\RXIDPLOLDUZLWKWKLVDUWLFOH"                   4$UH\RXIDPLOLDUZLWKWKLVDUWLFOH"
     $,KDYHQRWUHDGWKLVDUWLFOH                         $,DP
     4$QGWKLVLVDDUWLFOHE\,EHOLHYHD             4<RXFLWHGWKLVLQIRRWQRWHQLQHRI\RXUUHSRUW
     JHQWOHPDQQDPHGRUDQLQGLYLGXDOQDPHG                     DVGHPRQVWUDWLQJWKHWUHDWPHQWDVVRFLDWHGZLWKVRFLDO
     9DQGHQEXVVFKH'HWUDQVLWLRQHG5HODWHG1HHGVLQ6SRUWV         WUDQVLWLRQV
     ,VWKDWFRUUHFW"                                      &RUUHFW"
     $7KDWLVFRUUHFW                                      $,KDYHWRORRNDWWKHVSHFLILFIRRWQRWH,NQRZ
     4'LG\RXUHYLHZWKLVDUWLFOHZKHQSUHSDULQJ\RXU       ,FLWHGLWEXW,GRQ WNQRZLILWZDVFLWLQJWRWKDW
     UHSRUW"                                                        VSHFLILFFRQFOXVLRQ
     $,GLGQRW                                            4%\DOOPHDQVWDNHDORRN
     4,I\RXORRNDWSDJHIRXUWKLVDUWLFOHH[DPLQHGD      $&DQ\RXSRLQWPHWRZKHUHP\IRRWQRWHLV"
     VDPSOHVXUYH\RIGHWUDQVLWLRQHUV                          4)RRWQRWHQLQHLVOHWPHILQGLWP\VHOI
     ,VWKDWFRUUHFW"                                      $77251(<6:$0,1$7+$1,W VSDJH
     $77251(<%/2&.2EMHFWLRQ&DQ\RXJLYH       7+(:,71(66<HV
     KLPWLPHWRUHDGWKHGRFXPHQWKHKDVQHYHUVHHQEHIRUH        %<$77251(<%$5+$0


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      $77251(<%$5+$0&HUWDLQO\                     47KH'XUZRRGDUWLFOHLQLVDVXUYH\RI
      7+(:,71(66&DQ\RXUHSHDWWKH                 FKLOGUHQDQGWKHLUSDUHQWVDERXWWKHFKLOGUHQ VPHQWDO
      TXHVWLRQ"                                                       KHDOWK
      %<$77251(<%$5+$0                                             ,VWKDWFRUUHFW"
      47KLVDUWLFOHKLJKOLJKWVWKHUHVXOWVRIDVXUYH\        $&RUUHFW
      RIGHWUDQVLWLRQHUV                                         47KHFKLOGUHQLQWKH'XUZRRGDUWLFOHZHUHQRW
      &RUUHFW"                                               VXUYH\HGRUDVVHVVHGE\FOLQLFLDQV
      $<HVDVWKH\DUHGHILQLQJGHWUDQVLWLRQLQJ\HV        ,VWKDWFRUUHFW"
      4$QGRQSDJHILYHWKHVHDXWKRUVWKHVH               $,GRQ WNQRZWKHDQVZHUWRWKDW, GKDYHWR
     UHVHDUFKHUVUHSRUWWKDWSHUFHQWRISDUWLFLSDQWV             ORRNDWWKHVSHFLILF
     GHWUDQVLWLRQHGEHFDXVHWKH\UHDOL]HGWKDWWKHLUJHQGHU         4:HOOLIWKLVLVDVHOIUHSRUWLWZRXOGEH
     G\VSKRULDZDVUHODWHGWRRWKHULVVXHV                         UHSRUWLQJZKDWWKHFKLOGUHQWKHPVHOYHVVDLG
     &RUUHFW"                                              &RUUHFW"
     $&RUUHFW                                              $77251(<%/2&.2EMHFWLRQ/HWKLPKDYH
     4$QGWKDWZDVWKHPRVWFRPPRQUHSRUWHGUHDVRQIRU      WLPHWRUHDGWKHDUWLFOH
     GHWUDQVLWLRQLQJ                                               7+(:,71(667KHWUDQV\RXWKSURMHFWZDV
     &RUUHFW"                                              GLUHFWHGE\'U8OVRQLQYROYHGFOLQLFLDQVLQWKH
     $$VWKH\VWDWHG\HV                                  DVVHVVPHQWRIWKHFKLOGUHQDQGWKHLUIDPLOLHV6R, P
     4,QSDUDJUDSKRI\RXUUHSRUW\RXFLWH/LVD          QRWVXUHVSHFLILFDOO\,ZRXOGKDYHWRJRWKURXJKWKH
     /LWWPDQ VVWXG\3DUDJUDSK$QG\RXKLJKOLJKW        PHWKRGVRIWKLVRQHSDUWLFXODUO\IRUPHWRUHFDOO
     ZKDW\RXGHVFULEHDVVHULRXVPHWKRGRORJLFDOIODZVWKDW         $V\RXZLOOVHHIURPWKHSURFHGXUHRQ
     UHQGHUWKHVWXG\PHDQLQJOHVV                                  SDJHZKHQHYHUSRVVLEOHSDUHQWVDQGFKLOGUHQ
     ,VWKDWFRUUHFW"                                      FRPSOHWHGWKHPHDVXUHPHQWVLQVHSDUDWHURRPVRUIDU
     $&RUUHFW                                              HQRXJKLQWKHVDPHURRPWREHRXWRIHDUVKRW$QGVR


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                                                    3DJH                                                          3DJH
      WKH\ZHUHUHVHDUFKHUVZKRZHUHERDUGHGZKRZHUH               %<$77251(<%$5+$0
      SDUWLFLSDWLQJLQWKHVHLQWHUYLHZVZLWKWKHNLGVDQG           4+RZGR\RXKDQGOHDVLWXDWLRQZKHUHSDUHQWDO
      WKHLUIDPLOLHV                                               GHVLUHVPD\EHGLIIHUWKDQWKHFKLOG VGHVLUHV"
      %<$77251(<%$5+$0                                           $7KDWLVDOPRVWDXQLYHUVDOSKHQRPHQRQRI
      4%XWWKRVHUHVHDUFKHUVZHUHMXVWUHFRUGLQJZKDW       SDUHQWKRRGVRWKHUH VQRWDQDW\SLFDOSURFHVV:KHQ
      WKHVWXGHQWVVDLGRXWORXG"                                   WKHUHLVGLVDJUHHPHQWDERXWVSHFLILFLVVXHVLQWKH
      $&RUUHFW                                             WUHDWPHQWSODQWKRVHLQWHUYHQWLRQVDUHJRLQJWREH
      46RWKHUH VQRFOLQLFDODVVHVVPHQWRIWKH             WDLORUHGWRWKHLQGLYLGXDOIDPLOLHVEDVHGXSRQWKHLU
      FKLOGUHQDVSDUWRIWKLVVXUYH\                              QHHG
     ,VWKDWFRUUHFW"                                    46RZKHQ\RXXVHJHQGHUDIILUPLQJFDUHZKDWGR
     $77251(<%/2&.2EMHFWWRIRUP              \RXYLHZDVWKHGLIIHUHQWFRPSRQHQWVRUGLIIHUHQW
     7+(:,71(66,ZRXOGQ WEHDEOHWR           DVSHFWVRIJHQGHUDIILUPLQJFDUHLQ\RXUSUDFWLFH"
     DQVZHUWKDWTXHVWLRQ,WGHSHQGVXSRQKRZLW VXVHG        $77251(<%/2&.2EMHFWLRQWRIRUP
     ,QDUHVHDUFKFRQWH[W\RXPLJKWEHXVLQJWKHVDPH            7+(:,71(66,WKLQNWKDWLVDOVRJRLQJ
     LQVWUXPHQWVWKDWZHZRXOGXVHIRUFOLQLFDODVVHVVPHQWV      WREHKLJKO\FRQWH[WGHSHQGHQW, PDSV\FKLDWULVWDQG
     EXWIRUWKHVDNHRIUHVHDUFKSXUSRVHVLW VQRWXVHGLQ       ,VHHDORWRIFKLOGUHQZLWKFRPSOH[SV\FKLDWULFQHHGV
     WKDWZD\                                                    VRP\SURFHVVIRUJHQGHUDIILUPLQJFDUHLVJRLQJWREH
     %<$77251(<%$5+$0                                          GLIIHUHQWWKDQZKDWVRPHERG\HOVHPLJKWGHVFULEHDV
     4%XWWKHSXUSRVHRIWKLVDUWLFOHZDVMXVWWR         JHQGHUDIILUPLQJFDUHEXW,WKLQN,KLJKOLJKWHGZKDW,
     UHFRUGZKDWWKHFKLOGUHQVDLGDVDVHOIUHSRUW              VHHDVWKHFRPSRQHQWVRILWIRUP\VHOI
     ,VWKDWFRUUHFW"                                    %<$77251(<%$5+$0
     $77251(<%/2&.2EMHFWLRQWRIRUP           4, YHPLVVHGLQ\RXUOLVWRIWKHGLIIHUHQW
     7+(:,71(66$VIDUDV,XQGHUVWDQGWKH      FRPSRQHQWVVRFRXOG\RXH[SODLQDJDLQZKDWGR\RXVHH
     SRLQWRIWKLVDUWLFOHWKH\XWLOL]HGFKLOGVHOIUHSRUW       DVWKHFRPSRQHQWVRIJHQGHUDIILUPLQJFDUH"


                                                    3DJH                                                          3DJH
      ZKLFKLVZKDWLVW\SLFDOO\XVHGLQFKLOGUHQPHQWDO            $7KDWLWVKRXOGEHFKLOGDQGIDPLO\OHGWKDW
      KHDOWKVWXGLHV                                               OLVWHQLQJWRDQGXQGHUVWDQGLQJWKHFKLOGLVDQLPSRUWDQW
      %<$77251(<%$5+$0                                           DVSHFWRIWKHSURFHVVDQGWKDWWKHUHLVQRJHQGHU
      4$FFRUGLQJWRSDJHWKHVHFRQGSDJHRIWKLV        LGHQWLW\RXWFRPHWKDWLVSULYLOHJHGRYHUDQRWKHU, P
      DUWLFOHZKLFKLVSDJHWKHSDUWLFLSDQWVZHUH             VXUH,VDLGLWVOLJKWO\GLIIHUHQWO\WKDQWKHODVWWLPH
      UHFUXLWHGWKURXJKZRUGRIPRXWKQDWLRQDODQGORFDO           DURXQGEXWWKHFRQFHSWVDUHWKHVDPH
      VXSSRUWJURXSVVXPPHUFDPSVDQGRQOLQHIRUXPVIRU            4'R\RXFRQVLGHUVRFLDOWUDQVLWLRQWREHD
      IDPLOLHVRIWUDQVJHQGHUDQGJHQGHUQRQFRQIRUPLQJ\RXWK       FRPSRQHQWRIJHQGHUDIILUPLQJFDUH"
      &RUUHFW"                                             $,WKLQNWKDWXQGHUVWDQGLQJWKHULVNVEHQHILWV
     $7KDWLVFRUUHFW                                    DQGDOWHUQDWLYHVRIVRFLDOWUDQVLWLRQLVDSDUWRI
     4)UHTXHQWO\LQ\RXUUHSRUW\RXUHIHUWR              JHQGHUDIILUPLQJFDUH,QWKDWZD\VRPHWLPHV
     JHQGHUDIILUPLQJFDUH:KDWLQ\RXUYLHZDUHWKH            UHFRPPHQGLQJQRWVRFLDOO\WUDQVLWLRQLQJLVDSDUWRI
     FRPSRQHQWVRIJHQGHUDIILUPLQJFDUH"                         JHQGHUDIILUPLQJFDUH
     $77251(<%/2&.2EMHFWLRQWRIRUP           4%XWJHQGHUDIILUPLQJFDUHFDQEHDQDSSURDFK
     7+(:,71(66,WKLQNWKDWWKHUHLVQR        XVHGDVSDUWRIJHQGHUDIILUPLQJFDUH
     RQHDJUHHGXSRQXVHRIWKDWWHUPDQGLWLVXVHGE\           ,VWKDWFRUUHFW"
     GLIIHUHQWSHRSOHLQGLIIHUHQWFRQWH[WWRPHDQZKDWHYHU       $77251(<%/2&.2EMHFWLRQWRWKHIRUP
     WKH\ZDQWLWWRPHDQGHSHQGLQJXSRQZKRLVDVNLQJWKH       7+(:,71(66&DQ\RXUHSHDWWKH
     TXHVWLRQV7KHZD\WKDW,GHILQHLWIRUP\RZQ             TXHVWLRQ"
     SUDFWLFHLVWKDWLW VLPSRUWDQWIRUFKLOGUHQWREH          %<$77251(<%$5+$0
     KHDUGDQGOLVWHQHGWRWKDWDQ\SDUWLFXODUJHQGHU            46RFLDOWUDQVLWLRQLQJFDQEHDPHWKRGXVHGDV
     LGHQWLW\RXWFRPHLVQRWEHWWHUWKDQDQ\RWKHUDQGWKDW       SDUWRIJHQGHUDIILUPLQJFDUH
     WKHFKLOGDQGIDPLOLHVVKRXOGEHGLUHFWLQJWKHSURFHVV       &RUUHFW"
     ZLWKDSSURSULDWHDVVHVVPHQWVDQGLQWHUYHQWLRQV              $,WLVDQRSWLRQ


                                                                                            3DJHVWR
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                                                      3DJH                                                           3DJH
      4$QDYDLODEOHWRRO                                     %<$77251(<%$5+$0
      &RUUHFW"                                               4'R\RXFRQVLGHUWKHXVHRIFURVVVH[KRUPRQHVWR
      $<HV                                                   EHDQDYDLODEOHWRRODVSDUWRIJHQGHUDIILUPLQJFDUH"
      4,VLW\RXUEHOLHIWKDWVRFLDOWUDQVLWLRQLVD          $77251(<%/2&.2EMHFWLRQWRIRUP
      W\SHRIPHGLFDORUPHQWDOKHDOWKWUHDWPHQWIRUJHQGHU           7+(:,71(66*HQGHUDIILUPLQJFDUHFDQ
      G\VSKRULD"                                                      LQFOXGHKRUPRQHV
      $,W VDKDUGTXHVWLRQWRDQVZHU6RFLDO                %<$77251(<%$5+$0
      WUDQVLWLRQLVDSUHWW\GLYHUVHFRQFHSWWKDW VKDUGWR           4$UHWKHUHDQ\RWKHUDYDLODEOHWRROVWKDW\RXXVH
      JHWDVDFDWHJRULFDOYDULDEOHWRVWXG\EXWWKH                 DVSDUWRIJHQGHUDIILUPLQJFDUH"
     LPSOLFDWLRQLVWKDWWKHUH VDORWRIWKLQJVWKDWDUH           $<HVWKHUHLVDORWRIWRROVWKDW,XVHWKDWDUH
     RIWHQKHOSIXOIRUPHQWDOKHDOWKWKDWDUHQ WVSHFLILFDOO\       LQYROYHGLQJHQGHUDIILUPLQJFDUH:RUNZLWKWKHIDPLO\
     PHQWDOKHDOWKWUHDWPHQWVULJKWOLNHH[HUFLVHUHJXODU        LVRQHELJSLHFHRILW:RUNZLWKWKHVFKRROLV
     VOHHS7KHVHDUHQ WVSHFLILFPHQWDOKHDOWK                    DQRWKHU5HIHUUDOVIRUVXUJHU\ZKHQLQGLFDWHG
     LQWHUYHQWLRQVEXWQHYHUWKHOHVVKDYHLPSDFWVRQPHQWDO          UHFRPPHQGDWLRQVIRUDVVHVVPHQWDQGWUHDWPHQWRIDQ\
     KHDOWKRXWFRPHV                                               FRRFFXUULQJPHQWDOKHDOWKGLVRUGHULVDSDUWRILW
     4:HOOLQSDUDJUDSK,PHDQSDUDJUDSKRI      4:KDWLV\RXUUROHLQWKHSUHVFULELQJRISXEHUW\
     \RXUUHSRUW\RXVD\WKDWVRFLDOWUDQVLWLRQLVD                EORFNHUV"
     WUHDWPHQWIRUJHQGHUG\VSKRULD"                                $, PRFFDVLRQDOO\LQWKHUROHRIGRLQJDPHQWDO
     $<HDK,ZRXOGDJUHHZLWKWKDW                         KHDOWKDVVHVVPHQWSULRUWRLQLWLDWLRQRIWKRVH
     46RZKDWNLQGRIWUHDWPHQWLVLW"                      PHGLFDWLRQV
     $,W VDSV\FKRVRFLDOLQWHUYHQWLRQ                     4$QGDUH\RXWKHLQGLYLGXDOZKRZRXOGSUHVFULEH
     43V\FKRVRFLDO:KDWGRHVVRFLDOWUDQVLWLRQLQJ         WKHSXEHUW\EORFNHUV"
     LQFOXGHLQ\RXUYLHZ"                                          $,DPQRW
     $,KDYHWRUHFDOOLI,SURYLGHGDQRSHUDWLRQDO         4:KDWW\SHRISURIHVVLRQDOZRXOGEHUHVSRQVLEOH


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      GHILQLWLRQIRULWLQP\UHSRUW(VVHQWLDOO\ZKDWZH UH         IRUWKHSUHVFULELQJ"
      WDONLQJDERXWLVDQDOLJQPHQWRIJHQGHUUROHDQGJHQGHU         $,QWKHFOLQLFVWKDW,KDYHZRUNHGWKHVHDUH
      LGHQWLW\6RWKDW VWUDQVLWLRQRIQDPHSURQRXQVKDLU        HLWKHUDGROHVFHQWPHGLFLQHVSHFLDOLVWVRUSHGLDWULF
      SDUWLFLSDWLRQLQVH[VHJUHJDWHGDFWLYLWLHVHWFHWHUD          HQGRFULQRORJLVWV
      4$QGVRVRFLDOWUDQVLWLRQLQ\RXUYLHZPHDQVWKH        4$QGLVWKHVDPHWUXHZLWKFURVVVH[KRUPRQHV"
      SDUWLFLSDWLRQLQJLUOVRUER\VDWKOHWLFWHDPVLQ                $<HV
      FRPSHWLWLRQVFRQVLVWHQWZLWKRQHVJHQGHULGHQWLW\              4,Q\RXUUHSRUW\RXGHVFULEHJHQGHUDIILUPLQJ
      ,VWKDWFRUUHFW"                                       FDUHDVWKHSUHYDLOLQJPRGHORIFDUHIRUWUDQVJHQGHU
      $$JDLQLW VJRLQJWREHFRQWH[WGHSHQGHQW,W         \RXWK
     LVQRWD\HVRUQRTXHVWLRQDURXQGVRFLDOWUDQVLWLRQ          ,VWKDWFRUUHFW"$QG, PUHIHUHQFLQJ
     :KDWZH UHJRLQJWREHGRLQJLQWKHFRQWH[WRIDQ              SDUDJUDSKRI\RXUUHSRUW
     DVVHVVPHQWLVXQGHUVWDQGLQJWKHULVNVDQGEHQHILWVRI          $<HV
     DOOWKHYDULRXVRSWLRQVWKDWZHKDYH                          4/DWHURQLQ\RXUUHSRUW\RXUHIHUWRSUHYDLOLQJ
     4,XQGHUVWDQGWKDWLWFDQGLIIHUIURPSHUVRQWR        VWDQGDUGVRIFDUHSDUDJUDSKSDUDJUDSKIRU
     SHUVRQEXWSDUWLFLSDWLRQLQJLUOVRUER\VDWKOHWLF            H[DPSOH%\WKDWDUH\RXUHIHUULQJWRJHQGHUDIILUPLQJ
     WHDPVLQFRPSHWLWLRQFRQVLVWHQWZLWKRQH VJHQGHU              FDUH"
     LGHQWLW\LVDQDVSHFWDSRVVLEOHDVSHFWRIVRFLDO            $:KLFKSDUDJUDSK"
     WUDQVLWLRQLQJ                                                 4(LJKWHHQ  DQG
     &RUUHFW"                                              $,ZRXOGVD\WKDWLWLVDSDUWRIZKDW, P
     $,WPD\EHDQRSWLRQIRUVRPHVWXGHQWV\HV           UHIHUULQJWREXWQRWWKHHQWLUHW\RIZKDW, PUHIHUULQJ
     4'R\RXFRQVLGHUWKHXVHRISXEHUW\EORFNHUVWR        WR
     EHDQDYDLODEOHWRRODVSDUWRIJHQGHUDIILUPLQJFDUH"         4:KDWHOVHDUH\RXUHIHUULQJWRLQSDUDJUDSK
     $,GR                                                 DQGZKHQ\RXVD\SUHYDLOLQJVWDQGDUGVRIFDU"
     $77251(<%/2&.2EMHFWLRQWRIRUP             $7KLVZRXOGLQFOXGHDORWRIFRPSRQHQWV


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                                                                3DJH                                                      3DJH
     LQFOXGLQJERWKWKH(QGRFULQH6RFLHW\*XLGHOLQHVWKH                   $%RWKWKH(QGRFULQH6RFLHW\*XLGHOLQHVDVZHOODV
     :RUOG3URIHVVLRQDO$VVRFLDWLRQIRU7UDQVJHQGHU+HDOWK                  WKH:3$7+VWDQGDUGVRIFDUH
     *XLGHOLQHVDVZHOODVUHFRPPHQGDWLRQVDQGHWKLFDO                      4$Q\RWKHULQWHUQDWLRQDORUSURIHVVLRQDO
     JXLGLQJSULQFLSOHVRIWKHYDULRXVJRYHUQLQJERGLHVWKDW                RUJDQL]DWLRQV"
     ZHDOOZRUNZLWK                                                      $1RWWKDW,FDQUHFDOOQR
     4$QG\RXZRXOGGHVFULEHWKRVHYDULRXVGRFXPHQWV                4$UH\RXDZDUHWKDWLQWHUQDWLRQDODQG
     WKDW\RXMXVWUHIHUHQFHGDVUHIOHFWLQJJHQGHUDIILUPLQJ                SURIHVVLRQDORUJDQL]DWLRQVKDYHEHHQPRYLQJDZD\IURP
     FDUH                                                                  XVLQJSXEHUW\EORFNHUVDQGFURVVVH[KRUPRQHVRQ
     &RUUHFW"                                                      FKLOGUHQDQGDGROHVFHQWVXQGHUWKHDJHRI"
    $,ZRXOGKDYHWRJRWKURXJKIRUH[DPSOHWKH                 $77251(<%/2&.2EMHFWLRQWRIRUP
    (QGRFULQH6RFLHW\*XLGHOLQHVWRNQRZZKHWKHURUQRWWKH\              7+(:,71(66,GRQ WVHHWKDWWKDWLV
    XVHWKDWVSHFLILFWHUP$JDLQ,WKLQN,MXVWZDQWWR                QHFHVVDULO\DFFXUDWH, PJRLQJWRKDYHWRWDNHDEUHDN
    PDNHVXUHWKDW, PHPSKDVL]LQJWKDWJHQGHUDIILUPLQJ                  LQILYHPLQXWHVLIWKDWLVRND\
    FDUHGRHVQRWKDYHDQDJUHHGXSRQGHILQLWLRQVRLW V                  $77251(<%$5+$07KLVZRXOGEHWKH
    FRQWURYHUVLDODQG,ZRXOGQ WNQRZKRZWRDQVZHUWKDW                  SHUIHFWWLPH
    TXHVWLRQ                                                             7+(:,71(66,ZLOOEHTXLFN
    4$V\RXXVHWKHWHUPDQGDV\RXGHILQHWKHWHUP               9,'(2*5$3+(5*RLQJRIIWKHUHFRUG7KH
    LQ\RXUSUDFWLFHZRXOG\RXFRQVLGHUWKH:3$7+VWDQGDUGV              FXUUHQWUHDGV
    WRIDOOXQGHUWKHXPEUHOODRIJHQGHUDIILUPLQJFDUH"                  2))9,'(27$3(
    $,ZRXOG\HV                                                 
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    *XLGHOLQHVWRIDOOXQGHUWKHXPEUHOODRI                              
    JHQGHUDIILUPLQJFDUH"                                                219,'(27$3(
    $,ZRXOG\HV                                                9,'(2*5$3+(5%DFNRQWKHUHFRUG7KH


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      4,QSDUDJUDSKRI\RXUUHSRUW\RXFODLPWKDW                FXUUHQWWLPHLVDP
      JHQGHUDIILUPLQJFDUHLVHQGRUVHGE\DWOHDVWILYH                    $77251(<%$5+$0, PJRLQJWRVKRZ\RX
      SURIHVVLRQDODVVRFLDWLRQV                                            ZKDWZHZLOOPDUNDV([KLELWWKLVZLOOEH7DE
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      %<$77251(<%$5+$0                                                    :KHUHXSRQ([KLELW6WDWHPHQWE\
      4$QG\RXUHIHUHQFHRWKHUV:KDWRWKHU                        5R\DO$XVWUDOLDQDQG1HZ=HDODQG&ROOHJH
      RUJDQL]DWLRQVDUH\RXDOOXGLQJWRLQSDUDJUDSKRI                  RI3V\FKLDWULVWVZDVPDUNHGIRU
      \RXUUHSRUW"                                                          LGHQWLILFDWLRQ
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     LQFRUUHFWEXW1DWLRQDO$VVRFLDWLRQRI6RFLDO:RUNHUV                %<$77251(<%$5+$0
     DQGWKH1DWLRQDO$VVRFLDWLRQRI0DULWDODQG)DPLO\                   47KLVLVDVWDWHPHQWIURPWKH5R\DO$XVWUDOLDQ
     7KHUDSLVWVKDYHUHOHDVHGVWDWHPHQWVDERXWLWEXW,                  DQG1HZ=HDODQG&ROOHJHRI3V\FKLDWULVWV
     GRQ WKDYHVSHFLILFUHFROOHFWLRQRIWKRVHVLWWLQJKHUH               &RUUHFW"
     WRGD\                                                               $77251(<%/2&.2EMHFWLRQ&DQ\RXJLYH
     42ND\                                                       KLPDFKDQFHWRORRNDWWKHGRFXPHQW"
     $UHWKHUHDQ\RWKHURUJDQL]DWLRQVEHVLGHVWKRVH             7+(:,71(66,W VZKDWLWVD\V,GRQ W
     DQGWKRVHOLVWHGLQSDUDJUDSK"                                    NQRZZKDWWKHJRYHUQPHQWVWUXFWXUHRIWKLVRUJDQL]DWLRQ
     $7KHUHOLNHO\DUHEXWQRQHWKDWDUHFRPLQJWR                LVRUKRZWKH\UHOHDVHWKHLUVWDWHPHQWVRUKRZWKH\DUH
     PLQGWRGD\                                                          GHYHORSHG
     4:KHQ\RXZHUHSUHSDULQJ\RXUUHSRUWGLG\RX                 %<$77251(<%$5+$0
     FRQVXOWWKHVWDQGDUGVRIFDUHDUWLFXODWHGE\DQ\                     47KLVLV3RVLWLRQ6WDWHPHQWDFFRUGLQJWRWKH
     LQWHUQDWLRQDOSURIHVVLRQDORUJDQL]DWLRQV"                            GRFXPHQW
     $<HV                                                        &RUUHFW"
     4:KLFKRQHV"                                                 $,ZLOOWDNH\RXUZRUGIRULWLIWKDW VZKDWLW


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      VD\V                                                          7+(:,71(663V\FKLDWULVWVDUHRIWHQD
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      $XJXVWRI                                                UHTXLUHPHQW7KHUHDUHPDQ\RWKHUPHQWDOKHDOWK
      ,VWKDWFRUUHFW"                                      SURIHVVLRQDOVZKRKDYHH[SHUWLVHDQGFDQILOOWKLVUROH
      $,GRQ WNQRZZKHUHLWVD\VWKDW                      %<$77251(<%$5+$0
      45LJKWEHORZWKHWDE                                  4$QGZKDWRWKHUSURIHVVLRQDOVGR\RXWKLQNFRXOG
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      47KH5R\DO$XVWUDOLDQDQG1HZ=HDODQG&ROOHJHRI       $7KLVZRXOGEHOLFHQVHGFOLQLFDOPHQWDOKHDOWK
      3V\FKLDWULVWVLVWKHSURIHVVLRQDOERG\RISV\FKLDWULVWV        SURIHVVLRQDOV
     IRUWKRVHWZRFRXQWULHV                                      4$QGWKRVHZRXOGLQFOXGH"
     ,VWKDWFRUUHFW"                                     $3V\FKRORJLVWVVRFLDOZRUNHUVPDULWDODQG
     $77251(<%/2&.2EMHFWLRQ                    IDPLO\WKHUDSLVWVDQGWKHUHDUHSUREDEO\RWKHUWLWOHV
     7+(:,71(66,GRQRWNQRZWKDW              WKDWDUHJRYHUQHGE\WKHLUUHJXODWRU\ERDUGVWKDW,
     %<$77251(<%$5+$0                                           GRQ WUHFDOOULJKWQRZ
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     $,GRQRWNQRZ                                       4$QGRQZKDWDUH\RXEDVLQJ\RXUGLVDJUHHPHQW
     4$FFRUGLQJWRSDJHWKUHHRIWKLVGRFXPHQWWKH        ZLWKWKH5R\DO&ROOHJH VHPSKDVLVRQWKHLPSRUWDQFHRI
     5R\DO&ROOHJHKDVFRQFOXGHGWKDWWKHUHDUHTXRWH            WKHSV\FKLDWULVW VUROH
     SRODUL]HGYLHZVDQGPL[HGHYLGHQFHUHJDUGLQJWUHDWPHQW        $77251(<%/2&.2EMHFWLRQWRIRUPDQG
     RSWLRQVIRUSHRSOHSUHVHQWLQJZLWKJHQGHULGHQWLW\            FKDUDFWHUL]DWLRQRIWKHGRFXPHQW
     FRQFHUQVHVSHFLDOO\FKLOGUHQDQG\RXQJSHRSOH               7+(:,71(667KH:3$7+VWDQGDUGVRIFDUH
     'R\RXVHHWKDW"                                     DVDQH[DPSOHGRHVQRWGLFWDWHQHFHVVDU\LQYROYHPHQWRI
     $,VHHWKDW                                          DSV\FKLDWULVW$QG,ZRXOGKDYHWRUHYLHZWKH
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      ZLWKHDFKRWKHUDVWRKRZWRWUHDWFKLOGUHQDQG\RXQJ          4,VLWWUXHWKDWSV\FKLDWULVWVKDYHWUDLQLQJDQG
      SHRSOHZLWKJHQGHUG\VSKRULD                                  VNLOOVWKDWSV\FKRORJLVWVDQGPDULWDOWKHUDSLVWVDQG
      ,VWKDWFRUUHFW"                                     VRFLDOZRUNHUVGRQRWKDYH"
      $77251(<%/2&.2EMHFWLRQWRIRUP             $7KDWLVFRUUHFW
      7+(:,71(66<HDK,WKLQNDQ\                $77251(<%$5+$0, PJRLQJWRKDQG\RX
      WUHDWPHQWGHFLVLRQ\RX UHJRLQJWRKDYHSURIHVVLRQDOV         ZKDWZHZLOOPDUNDV([KLELW$QGWKLVZLOOEH
      GLVDJUHHLQJZLWK\RXDERXWWKHEHVWFRXUVHRIDFWLRQ          7DEIRUWKRVHZDWFKLQJRQOLQH
     7KLVLVQ WDQ\GLIIHUHQWWKDQWKDW                           
     %<$77251(<%$5+$0                                            :KHUHXSRQ([KLELW3ROLF\&KDQJH
     4$QGRQSDJHIRXURIWKHGRFXPHQWWKH5R\DO           5HJDUGLQJ+RUPRQDO7UHDWPHQWRI0LQRUV
     &ROOHJHVD\VWKDWSV\FKLDWULFDVVHVVPHQWDQGWUHDWPHQW        ZDVPDUNHGIRULGHQWLILFDWLRQ
     VKRXOGEHERWKVKRXOGEHERWKEDVHGRQDYDLODEOH          
     HYLGHQFHDQGDOORZIRUIXOOH[SORUDWLRQRIDSHUVRQ V         %<$77251(<%$5+$0
     JHQGHULGHQWLW\$QGLWHPSKDVL]HVWKHLPSRUWDQFHRI         47KLVGRFXPHQWLVDQDQQRXQFHPHQWRIDSROLF\
     WKHSV\FKLDWULVW VUROHWRXQGHUWDNHIRUDVVHVVPHQWLQ        FKDQJHUHJDUGLQJKRUPRQDOWUHDWPHQWRIPLQRUVZLWK
     HYLGHQFHEDVHGWUHDWPHQWLGHDOO\DVSDUWRID                 JHQGHUG\VSKRULDDW$VWULG/LGJUHQ&KLOGUHQ V+RVSLWDO
     PXOWLGLVFLSOLQDU\WHDPHVSHFLDOO\KLJKOLJKWLQJ               $UH\RXDZDUHWKDWWKLVLVWKHPDLQJHQGHUFOLQLFLQ
     GLVWLQJXLVKLQJLVVXHVZKLFKPD\QHHGDGGUHVVLQJDQG           6ZHGHQ"
     WUHDWLQJ'R\RXDJUHHZLWKWKH5R\DO&ROOHJH V              $77251(<%/2&.2EMHFWLRQWRIRUP
     HPSKDVLVRQSV\FKLDWULVWV UROHDQGKRZLW VLPSRUWDQW        7+(:,71(66,GRQ WVHHDQ\VSHFLILF
     WRHQVXUHDSSURSULDWHFDUHIRUJHQGHUG\VSKRULD"              LQIRUPDWLRQDERXWWKLVGRFXPHQWWKDWUHSRUWVZKHUHLW V
     $77251(<%/2&.2EMHFWLRQWRIRUP            IURP


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                Case: 22-5807
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                                                                3DJH                                                     3DJH
     %<$77251(<%$5+$0                                                     4$UH\RXDZDUHWKDWWKH8QLWHG.LQJGRP V1DWLRQDO
     4$UH\RXDZDUHRI$VWULG/LQGJUHQ+RVSLWDOE\                   +HDOWK6HUYLFHSXWDQHQGWRLQLWLDWLQJKRUPRQH
     UHSXWDWLRQ"                                                             WUHDWPHQWLQQHZFDVHVRILQGLYLGXDOVXQGHU"
     $,GRQ WNQRZLIWKDW VWKHQDPHRILW1R,                  $77251(<%/2&.2EMHFWLRQWRIRUPDQG
     GRQ WUHFDOOWKHVSHFLILFQDPHRIWKH6ZHGLVK&KLOGUHQ V                IRXQGDWLRQ
     +RVSLWDO                                                               7+(:,71(660\XQGHUVWDQGLQJLVWKDW
     4$UH\RXDZDUHWKDWWKH6ZHGLVK$JHQF\IRU+HDOWK               LW VXQGHUOLWLJDWLRQULJKWQRZDQGDILQDOGHFLVLRQKDV
     7HFKQRORJ\$VVHVVPHQWDQG$VVHVVPHQWRI6RFLDO6HUYLFHV                 QRWEHHQUHDFKHGEXW,FRXOGEHZURQJDERXWWKDW
     SXEOLVKHGDQRYHUYLHZRIWKHNQRZOHGJHEDVHZKLFKVKRZHG                %<$77251(<%$5+$0
    DODFNRIHYLGHQFHRIERWKORQJWHUPFRQVHTXHQFHVRIWKH               4$UH\RXDZDUHWKDWWKDW VDWOHDVWDFXUUHQW
    WUHDWPHQWVRIJHQGHUG\VSKRULD"                                        SUDFWLFHWRSXWDQHQGWRLQLWLDWLQJKRUPRQDOWUHDWPHQW
    $,KDYHKHDUG                                             LQQHZSDWLHQWVLQQHZFDVHVRILQGLYLGXDOVXQGHU
    $77251(<%/2&.2EMHFWLRQWRIRUPDQG                  "
    ZKHUHDUH\RXTXRWLQJIURP"                                            $77251(<%/2&.2EMHFWLRQWRIRUP
    $77251(<%$5+$0+DOIZD\WKURXJKWKH                   7+(:,71(66&DQ\RXUHSHDWWKH
    ILUVWSDUDJUDSKRIWKHEDFNJURXQGVHFWLRQRQSDJHRQH                 TXHVWLRQ"
    $77251(<%/2&., PVRUU\:KHUHZDV                  %<$77251(<%$5+$0
    WKLVGRFXPHQWREWDLQHGIURP"                                           4$UH\RXDZDUHWKDWWKH8QLWHG.LQJGRP V1DWLRQDO
    $77251(<%$5+$0,FDQVXSSO\WKDW                     6HUYLFHV FXUUHQWSUDFWLFHLVWRSXWDQHQGWR
    LQIRUPDWLRQEXWWKLVLVDQDQQRXQFHPHQWRIDSROLF\                   LQLWLDWLQJKRUPRQDOWUHDWPHQWVLQQHZFDVHVRI
    FKDQJHIURPD&KLOGUHQ V+RVSLWDOLQ6ZHGHQ                           LQGLYLGXDOVXQGHU"
    $77251(<%/2&.-XVWIRUWKHUHFRUG                   $77251(<%/2&.2EMHFWLRQWRIRUPDQG
    WKLVGRHVQ WVHHPWRKDYHDZDONOLNHLWMXVW                  IRXQGDWLRQ
    ORRNVOLNHZRUGVRQDSDJHZLWKRXWRWKHUVRXUFLQJRQLW               7+(:,71(66,GRQRWKDYHWKH1+6


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      $77251(<%$5+$0<RXUREMHFWLRQLV                     SROLFLHVLQIURQWRIPHVR,FDQQRWVSHDNWRWKDW
      QRWHG                                                                 $77251(<%$5+$07KHGRFXPHQW([KLELW
      7+(:,71(66,PHDQZLWKRXWVSHDNLQJWR                ZKDWQXPEHUDUHRQ
      WKHSURYLGHQFHRIWKHGRFXPHQW,KDYHKHDUGWKDWWKHUH                /$:&/(5.:,/.,1621\HV
      ZDVDFKDQJHZLWKLQWKH6ZHGLVKHVWDEOLVKPHQWLQUHJDUGV               %<$77251(<%$5+$0
      WRSUHSXEHUWDO\RXWKRUSUHSXEHUWDO\RXWK                             4([KLELWLQGLFDWHVTXRWHWKH8QLWHG
      %<$77251(<%$5+$0                                                    .LQJGRP V1DWLRQDO+HDOWK6HUYLFHSXWDQHQGWR
      4$QGZKDWZDV\RXUXQGHUVWDQGLQJRIWKDWFKDQJH"               LQLWLDWLQJKRUPRQDOWUHDWPHQWLQQHZFDVHVRI
      $,ZRXOGKDYHWRORRNWKURXJKWKHVSHFLILFVWR                 LQGLYLGXDOVXQGHU'R\RXKDYHDQ\UHDVRQWREHOLHYH
     NQRZIRUVXUH                                                        WKDWWKDWVWDWHPHQWLVLQDFFXUDWH"
     4:KDWLV\RXUJHQHUDOXQGHUVWDQGLQJRIWKHQDWXUH             $77251(<%/2&.-XVWREMHFWLRQWKDWWKLV
     RIWKDWFKDQJH"                                                       GRFXPHQWFDPHRXWDWDFHUWDLQWLPHDQGVRLW VMXVWQRW
     $0\JHQHUDOXQGHUVWDQGLQJZDVWKHUHZDVDSDXVH               FOHDUZKDWWLPHIUDPH\RXNQRZWKLVTXHVWLRQLV
     RQVRPHRIWKHWUHDWPHQWVPHGLFDOWUHDWPHQWVDYDLODEOH               UHIHUULQJWR$QGMXVWDQRWKHUREMHFWLRQWRWKLV
     IRUFKLOGUHQZLWKJHQGHUG\VSKRULD                                   GRFXPHQW7KLVDSSHDUVWREHDWUDQVODWLRQ
     4$QGE\SDXVHDWOHDVWDFFRUGLQJWRWKLV                     $77251(<%$5+$0<RXUREMHFWLRQLV
     GRFXPHQWLWPHDQVWKDWWKH\KDGGHFLGHGKRUPRQDO                     QRWHG$QGZH YHDOUHDG\DJUHHGWKDWWKHUHDUHWKH
     WUHDWPHQWVLHSXEHUW\EORFNLQJDQGFURVVVH[                       WKUHHREMHFWLRQVVR,ZLOODVN\RXWRFHDVHWKH
     KRUPRQHVZLOOQRWEHLQLWLDWHGLQJHQGHUG\VSKRULF                   VSHDNLQJREMHFWLRQV
     SDWLHQWVXQGHUWKHDJHRI                                         7+(:,71(66,KDYHUHDVRQWRGRXEWLW
     &RUUHFW")LUVWEXOOHWSRLQWLQH[HFXWLYH                    <HV
     GHFLVLRQV                                                            %<$77251(<%$5+$0
     $$JDLQQRWNQRZLQJWKHSURYLGHQFHRIWKLV                    4:KDWLV\RXUUHDVRQWRGRXEWLW"
     GRFXPHQWWKDW VZKDWWKLVGRFXPHQWVD\V\HV                        $0\XQGHUVWDQGLQJLVWKDWWKHUHZHUHOHJDO


                                                                                                 3DJHVWR
                Case: 22-5807
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                                                   3DJH                                                         3DJH
      SURFHVVHVLQYROYHGWKDWKDYHFKDQJHGWKHODQGVFDSHRI          GRFXPHQWLVWKDW,GRQ W, YHQRWKHDUGRIZKDW
      WKLVFDUHLQWKH8.                                          &RKHUH)LQODQGLVDQGKRZWKHLUUHFRPPHQGDWLRQVLPSDFW
      4$UH\RXDZDUHRIWKH1DWLRQDO+HDOWK6HUYLFH          SROLFLHVRQWKHJURXQGLQ)LQODQG
      UHLQLWLDWLQJKRUPRQDOWUHDWPHQWVLQQHZFDVHVRI               %<$77251(<%$5+$0
      LQGLYLGXDOVXQGHU"                                          46RDUH\RXQRWIDPLOLDUZLWK&RKHUHDVDQ
      $,DPXQVXUH7KDW VZKHUHP\GRXEWLV               HQWLW\"
      4%XW\RX UHDZDUHWKDWDWRQHWLPHWKH\SXWDQ         $&RUUHFW
      HQGWRWKRVHWUHDWPHQWVIRULQGLYLGXDOVXQGHUWKHDJHRI       4$QGWKDWZDVDTXHVWLRQ$UH\RX"
      "                                                            $,DPQRW
     $<HV                                                 4+DYH\RXVHHQWKLVGRFXPHQWEHIRUHWRGD\"
     $77251(<%/2&.2EMHFWLRQWRIRUP            $,KDYHQRW
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     $77251(<%$5+$0, PJRLQJWRVKRZ\RX        ZKDWZH OOPDUNDV([KLELWDQGWKLVZLOOEH7DE
     ZKDWZHZLOOPDUNDV([KLELW7KLVLVDGRFXPHQW      IRUWKRVHZDWFKLQJDWDGLVWDQFH
     DQDUWLFOHE\/LVD1DLQJJRODQ, PSUREDEO\EXWFKHULQJ       
     WKHODVWQDPH                                                 :KHUHXSRQ([KLELW$UWLFOH3XEOLVKHG
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     $77251(<%$5+$07DEHQWLWOHG             LGHQWLILFDWLRQ
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     LQ6ZHGHQ                                                    %<$77251(<%$5+$0
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      :KHUHXSRQ([KLELW$UWLFOHE\/LVD        0HGVFDSHFRPRQ2FWREHUWK
     1DLQJJRODQZDVPDUNHGIRU                    ,VWKDWFRUUHFW"
     LGHQWLILFDWLRQ                               $<HV


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      %<$77251(<%$5+$0                                            ERWWRP0V0F&DOOUHSRUWVWKDW6FDQGLQDYLDQFRXQWULHV
      4,QWKHIRXUWKSDUDJUDSKLWLQGLFDWHVWKDWRWKHU       PRVWQRWDEO\)LQODQGRQFHHDJHUDGYRFDWHVIRUWKH
      FHQWHUVLQ6ZHGHQWKDWWUHDWJHQGHUG\VSKRULD\RXWKLQ         JHQGHUDIILUPDWLYHDSSURDFKKDYHSXOOHGEDFNDQGLVVXHG
      /RRPDQG/LFRSHQHZLOOIROORZWKHOHDGRIWKH$/%$UH        QHZWUHDWPHQWJXLGHOLQHVLQVWDWLQJWKDW
      \RXDZDUHWKDWWKRVHWZRFOLQLFVKDGPDGHWKHVDPH             SV\FKRWKHUDS\UDWKHUWKDQJHQGHUUHDVVLJQPHQWVKRXOGEH
      GHFLVLRQDVWKH$VWULG/LQGJUHQ&KLOGUHQ V+RVSLWDO"           WKHILUVWOLQHRIWUHDWPHQWIRUJHQGHUG\VSKRULF\RXWK
      $,DPQRW                                             'R\RXVHHWKDW"
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     ZKDWZHZLOOPDUNDV([KLELW,PHDQ, PVRUU\          4'R\RXDJUHHZLWKWKDWDSSURDFK"
     7DE([KLELW                                           $77251(<%/2&.2EMHFWLRQWRIRUP
                                     7+(:,71(660HGVFDSHLVDSRSXODUSUHVV
      :KHUHXSRQ([KLELW6WXG\ZDVPDUNHG      IRUXPIRUGLVFXVVLQJLVVXHVDQGWKHODQJXDJHWKDWLV
     IRULGHQWLILFDWLRQ                           XVHGE\WKLVDXWKRULPSOLHVWRPHWKDWWKLVLVQRW
                                     VRPHERG\ZKRKDVDJUHDWGHDORIH[SHUWLVHRU
     %<$77251(<%$5+$0                                           XQGHUVWDQGLQJLQWKLVILHOG
     4$UH\RXDZDUHWKDW)LQODQGKDVVLPLODUO\             %<$77251(<%$5+$0
     UHYHUVHGLWVFRXUVHLVVXLQJQHZJXLGHOLQHVWKDWDOORZ         4'R\RXDJUHHZLWKXVLQJSV\FKRWKHUDS\UDWKHU
     SXEHUW\EORFNHUVRQO\RQDFDVHE\FDVHEDVLVDIWHU           WKDQJHQGHUUHDVVLJQPHQWDVWKHILUVWOLQHRIWUHDWPHQW
     H[WHQVLYHSV\FKLDWULFDVVHVVPHQW"                             IRUJHQGHUG\VSKRULF\RXWK"
     $77251(<%/2&.2EMHFWLRQWRIRUP$QG       $7KHWHUPJHQGHUUHDVVLJQPHQWLQDQGRILWVHOILV
     FDQ\RXJLYHWKHZLWQHVVDQGPHDFKDQFHWRVHHWKLV          QRWDPHDQLQJIXOWHUPLQWKLVFRQWH[WDQGVRLW V
     GRFXPHQW"&DQWKHGRFXPHQWEHVFUROOHGGRZQ"                 XQFOHDUZKDWWKLVSDUWLFXODUDXWKRULVWU\LQJWRJHW
     7+(:,71(66:KDW,FDQVD\DERXWWKLV        DFURVV$QGLW VDIDOVHGLFKRWRP\WKDWLVEHLQJ



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                                                          3DJH                                                     3DJH
      SRVLWLYHWKDWGRHVQ WDFWXDOO\KDSSHQ                           H[FOXGHGZKLFKZRXOGEHUHTXLUHGLQDYDOLGDWHG
      4$UH\RXDZDUHWKDW)LQODQGKDGLVVXHGQHZ               PHWDDQDO\VLVW\SHDSSURDFK6RZLWKRXWDYHU\VSHFLILF
      WUHDWPHQWJXLGHOLQHVLQ"                                    GHVFULSWLRQRIWKHPHWKRGRORJ\LW VJRLQJWREHKDUGIRU
      $,GRQ WUHFDOOWKHVSHFLILFVRIZKHQJXLGHOLQHV         PHWRPDNHDQHGXFDWHGVWDWHPHQW
      ZHUHUHFRPPHQGHG%XWEDVHGXSRQWKHGRFXPHQWWKDW\RX          %<$77251(<%$5+$0
      SODFHGLQIURQWRIPHLWVHHPVWREH\HV%XW,WKLQN           4,I\RXORRNDWSDJHWKUHHRIWKHGRFXPHQWXQGHU
      WKHGHVFULSWLRQRIWKRVHJXLGHOLQHVDQGZKDW\RXSXWLQ          H[HFXWLYHVXPPDU\LWKLJKOLJKWVWKHQLQHREVHUYDWLRQDO
      IURQWRIPHDVWKH&RKHUHJXLGHOLQHVZKLFKDJDLQ, P            VWXGLHVWKDWZHUHLQFOXGHGLQWKHHYLGHQFHUHYLHZ
      QRWVXUHZKDWWKH\DFWXDOO\UHSUHVHQWLQWHUPVRIWKHLU          $<HDKLQDPHWDDQDO\VLVRUHYHQDV\VWHPDWLF
     SROLFLHVWKHUHDUHFRQWUDGLFWLRQVWKHUH                       UHYLHZRQHRIWKHSURFHVVHVWKDWRFFXUVLV\RXGHILQHDV
     $77251(<%/2&., PVRUU\,ZDQWWR           WKHDXWKRUVZKDW\RXDUHVHDUFKLQJIRUZKDWDUHWKH
     SXWRQWKHUHFRUGWKLVGRFXPHQWDERXW)LQODQGDOVR              H[FOXVLRQDU\DQGLQFOXVLRQDU\FULWHULDIRUHDFK
     DSSHDUVWREHDWUDQVODWLRQIURPWKHRULJLQDOE\WKH            LQGLYLGXDOVWXG\DQGDOLVWRIHYHU\VLQJOHVWXG\WKDW
     6RFLHW\IRU(YLGHQFH%DVHG*HQGHU0HGLFLQHZKRVHZHEVLWH        ZDVUHYLHZHGDQGZK\RUZK\QRWLWZDVLQFOXGHG7KDW
     GHVFULEHVLWDVDQXQRIILFLDOWUDQVODWLRQ6R,MXVW           LVPLVVLQJKHUHVRLW V,GRQ WNQRZKRZWKH
     ZDQWWRQRWHWKDWIRUWKHUHFRUG                               DXWKRUVGHFLGHGZKLFKRQHVWRLQFOXGHRUZKLFKRQHVQRW
     $77251(<%$5+$06RQRWHG, PJRLQJWR        WRLQFOXGHZKLFKPDNHVLWKDUGWRGUDZDFRQFOXVLRQ
     VKRZ\RXZKDWZHZLOOPDUNDV([KLELW7DE               IURPWKHUHSRUWDVLWVWDQGV
                                       4+DYH\RXVHHQDQ\RWKHUUHSRUWVWKDWVXJJHVW
      :KHUHXSRQ([KLELW$UWLFOHLQ               WKDWWKHHYLGHQFHEHLQJGLVFXVVHGRQSDJHXQGHUWKH
     1DWLRQDO+HDOWK6HUYLFHZDVPDUNHGIRU         FRQFOXVLRQVKHDGLQJLVQ WDQ\WKLQJKLJKHUWKDQDYHU\
     LGHQWLILFDWLRQ                                 ORZFHUWDLQW\XVLQJPRGLILHGJUDGH"
                                       $, PQRWSHUFHQWIDPLOLDUZLWKPRGLILHGJUDGH
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     7KLVLVDWRLGHQWLI\WKHGRFXPHQWIRUWKHUHFRUG            4$QGWKHQH[WSDUDJUDSKWKHDXWKRUVLQGLFDWHWKDW
     7KLVLVDQ(YLGHQFH5HYLHZHG*RQDGRWURSKLQ5HOHDVLQJ              VWXGLHVIRXQGGLIIHUHQFHVLQRXWFRPHFRXOGUHSUHVHQW
     +RUPRQH$QDORJVIRU&KLOGUHQDQG$GROHVFHQWVZLWK*HQGHU          FKDQJHVWKDWDUHHLWKHUDTXHVWLRQDEOHFOLQLFDOYDOXHRU
     '\VSKRULDIURPWKH1DWLRQDO+HDOWK6HUYLFHLQ           WKHVWXGLHVWKHPVHOYHVDUHQRWUHOLDEOHDQGFKDQJHV
     RULQ2QSDJHULJKWDWWKHEHJLQQLQJRIWKH            FRXOGEHGXHWRFRQIRXQGLQJELDVRUFKDQFH'R\RX
     FRQFOXVLRQVVHFWLRQWKHDXWKRUVLQGLFDWHWKDWWKH                 DJUHHWKDWWKDWLVSRVVLEOH"
     UHVXOWVRIVWXGLHVWKDWUHSRUWHGLPSDFWRQWKHFULWLFDO           $77251(<%/2&.2EMHFWLRQWRIRUP
     RXWFRPHVRIJHQGHUG\VSKRULDDQGPHQWDOKHDOWKDQGWKH            7+(:,71(66:HOO,DJUHHWKDWDOO
    LPSRUWDQWRXWFRPHVRIERG\LPDJHDQGSV\FKRVRFLDOLPSDFW         WKLQJVDUHSRVVLEOHWKDWVFLHQWLILFOLWHUDWXUHLVQRW
    LQFKLOGUHQDQGDGROHVFHQWVZLWKJHQGHUG\VSKRULDDUHD          DOZD\VSHUFHQWGUDZLQJDQ\FRQFOXVLRQV%XWDJDLQ
    YHU\ORZFHUWDLQW\XVLQJPRGLILHGJUDGH7KH\VXJJHVW           ZLWKRXWNQRZLQJVSHFLILFDOO\KRZWKH\LQFOXGHGZKDWWKH\
    OLWWOHFKDQJHZLWK*Q5+DQDORJVIURPEDVHOLQHWR                 LQFOXGHGRUZK\WKH\LQFOXGHGZKDWWKH\LQFOXGHGDQGZK\
    IROORZXS'R\RXVHHWKDW"                                     WKH\RSWWRUHPRYHRWKHUVLW VQRWSRVVLEOHIRUPHWR
    $,GRQRW                                               GUDZDVSHFLILFFRQFOXVLRQIURPWKLV
    4)LUVWSDUDJUDSKXQGHUWKHFRQFOXVLRQ                  %<$77251(<%$5+$0
    $<HV,VHHWKDW                                        4,QSDUDJUDSKRI\RXUUHSRUW\RXGLVWLQJXLVK
    4'R\RXKDYHDQ\VFLHQWLILFEDVLVIRUGLVSXWLQJ          'U/HYLQH VDSSURDFKWRWUHDWLQJJHQGHUG\VSKRULDDV
    WKLVFRQFOXVLRQ"                                                 RU\RXGHVFULEHLWDVJHQGHULGHQWLW\FRQYHUVLRQ
    $77251(<%/2&.2EMHFWLRQ/HWKLPUHDG         PRGHO'R\RXUHFDOOWKDW"
    WKHGRFXPHQW                                                    $<HV
    7+(:,71(66,PHDQZLWKRXWKDYLQJVHHQ         4,Q\RXUYLHZDUHWKHUHWZRDSSURDFKHVWR
    WKLVEHIRUH, PQRWVXUHZKDWWKHVFRSLQJZDVIRUKRZ           WUHDWLQJJHQGHUG\VSKRULDLQFKLOGUHQDQGDGROHVFHQWV
    WKH\GHILQHGZKLFKVWXGLHVWRLQFOXGHZKLFKRQHVZHUH           WKHJHQGHUDIILUPLQJPRGHODQGWKHFRQYHUVLRQWKHUDS\


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                                                    3DJH                                                         3DJH
      PRGHO"                                                          LGHQWLW\LVDQHJDWLYHRXWFRPH
      $77251(<%/2&.2EMHFWLRQWRIRUP              4$QGZK\ZRXOG\RXGUDZWKDWFRQFOXVLRQIURPWKDW
      7+(:,71(66,ZRXOGQRWDJUHHZLWKWKDW        DVVRFLDWLRQ"
      FKDUDFWHUL]DWLRQ                                               $%DVHGXSRQWKHGHVFULSWLRQRIWKHFDUHRQWKH
      %<$77251(<%$5+$0                                             ZHEVLWH%XWWKDWZRXOGEHDQDVVXPSWLRQ,ZRXOG
      4+RZPDQ\RWKHUDSSURDFKHVGR\RXVHH"+RZGR          QHYHUGRWKDWRQDQ\LQGLYLGXDOEDVLVIRUDQ\RIWKHVH
      \RXFDWHJRUL]HWKHGLIIHUHQWDSSURDFKHVIRUWUHDWLQJ            DXWKRUVZLWKRXWNQRZLQJWKHP
      JHQGHUG\VSKRULDLQFKLOGUHQDQGDGROHVFHQWV"                   4%H\RQGWKHDVVRFLDWLRQGR\RXKDYHDQ\UHDVRQ
      $,GRQ WDJUHHZLWKWKHSUHPLVHEXWWKHUH              WRGRXEWWKHVFKRODUO\LQWHJULW\RIWKHDXWKRUVKHUH"
     VSHFLILFGHILQHGWUHDWPHQWSDUDGLJPVWKDWDUHXVHG,         $,WKLQN\RXFDQ WUHDOO\WDONDERXWVFKRODUO\
     WKLQNWKHUHDUHWKHUHDUHHOHPHQWVRIFRQYHUVLRQ           LQWHJULW\ZKHQLW VDOHWWHUWRWKHHGLWRU,W VQRW
     WKHUDS\DV,UHIHUUHGWRLQP\UHSRUW7KHUHDUH              WKHVDPHVDPHOHYHORIHYLGHQFHDVDQRWKHUVWXG\
     HOHPHQWVRIJHQGHUDIILUPLQJFDUHDQGWKHUHLVD               ZRXOGEH
     VSHFWUXPLQEHWZHHQWKDW                                      4,W VDOHWWHUWRWKHHGLWRUWKDWFLWHV
     4:KDWDUHWKHHOHPHQWVZKDWDUHWKHHOHPHQWV       GLIIHUHQWVRXUFHV
     RILGHQWLW\JHQGHULGHQWLW\FRQYHUVLRQPRGHOLQ\RXU       ,VWKDWFRUUHFW", PORRNLQJDWWKHODVWSDJH
     PLQG"                                                          $7KHVRXUFHVDUHQ WQXPEHUHGVR,GRQ WNQRZKRZ
     $,WKLQNWKHSULPDU\HOHPHQWDV,XQGHUVWDQGLW        PDQ\VRXUFHVLWKDVEXW
     LQFRQYHUVLRQWKHUDS\LVDSUHVXSSRVLWLRQWKDWD               $77251(<%/2&./HWKLPORRNDWLW
     WUDQVJHQGHURXWFRPHLVDQLQKHUHQWO\QHJDWLYHRXWFRPH          %<$77251(<%$5+$0
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     SODFHLQRUGHUWRPDNHWKDWRXWFRPHWKHOHDVWOLNHO\DV        PH,DSRORJL]H,ZDVORRNLQJDWWKHZURQJGRFXPHQW
     SRVVLEOH                                                      $7KHUHDUHIRRWQRWHV,ZRXOGDVVXPHWKDW\RX
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      WKDWDIILUPVWKDWFKLOG VJHQGHULGHQWLW\                      4:HDUHWDONLQJDERXWWKLVOHWWHUWRWKHHGLWRU
      &RUUHFW"                                                 OHWPHFODULI\IRUWKHUHFRUGEHFDXVH,ZDVORRNLQJ
      $77251(<%/2&.2EMHFWLRQWRIRUP              DWWKHZURQJGRFXPHQWSULRUWRTXHVWLRQLQJIRUZKLFK,
      7+(:,71(66$V,GHVFULEHGHDUOLHU             DSRORJL]H7KLVOHWWHUWRWKHHGLWRUFRQWDLQV
      WKHUHDUHPXOWLSOHFRPSRQHQWVWRKRZ,ZRXOGGHILQH             DSSUR[LPDWHO\WZRSDJHVRIW\SHGPDWHULDOVOLVWLQJWKH
      JHQGHUDIILUPLQJWKHUDS\                                       UHIHUHQFHVWKDWLWXVHV
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      WKLVZLOOEH7DE                                            $<HVFRUUHFW
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     %<$77251(<%$5+$0                                            47KHDUWLFOHUHYLHZVWKHGRFXPHQWSXEOLVKHGE\
     47KLVLVDQDUWLFOHE\5REHUWR' $QJHORSXEOLVKHG      7XUEDQHWDOLQDVWXG\E\7XUEDQHWDOLQ
     LQHQWLWOHG2QH6FLHQFH'RHV1RW)LW$OO$UH\RX       
     IDPLOLDUZLWKWKHVHDXWKRUV"                                   ,VWKDWFRUUHFW"
     $1RWSHUVRQDOO\QR                                   $,WGRHV
     4$UH\RXIDPLOLDUZLWKWKHPE\UHSXWDWLRQ"             $77251(<%/2&.2EMHFWLRQWRIRUP
     $/RRNLQJDW'U' $QJHOR VIRRWQRWHVJLYHQWKDW       %<$77251(<%$5+$0
     KHZRUNVIRUWKH6RFLHW\IRU(YLGHQFH%DVHG*HQGHU             4,I\RXORRNDWWKHODVWSDJHWKDWDUWLFOHLV
     0HGLFLQHWKHQ,PLJKWGUDZVRPHFRQFOXVLRQVIURPWKDW        WKHVDPHDUWLFOHWKDW\RXFLWHGLQSDUDJUDSKRI\RXU
     4$QGZKDWFRQFOXVLRQVZRXOG\RXGUDZIURPWKDW"        UHSRUW
     $7KDWWKHUHLVDSUHVXSSRVLWLRQWKDWWUDQVJHQGHU       ,VWKDWFRUUHFW"


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      $7KDW VFRUUHFW                                        HQGVXSEHLQJZKHWKHUWKDWLVDFLVJHQGHULGHQWLW\RU
      47KLV' $QJHORHWDOFULWLFL]HG7XUEDQRQ             WUDQVJHQGHULGHQWLW\7KHGLIIHUHQFHEHWZHHQWKDWDQGD
      SDJHRQHIRUKLVVLPSOLVWLFDIILUPDWLRQYHUVXV                  FRQYHUVLRQWKHUDS\LVDJDLQDSUHVXSSRVLWLRQWKDWD
      FRQYHUVLRQELQDU\RU,VKRXOGVWDWHSHUPHDWHVKLV           WUDQVJHQGHULGHQWLW\LVDQLQKHUHQWO\ZRUVHRXWFRPH
      QDUUDWLYHDQGHVWDEOLVKHVDIRXQGDWLRQIRUWKHLU                ZKLFKLVQRWIRFXVHGRQWKHRYHUDOOPHQWDOKHDOWKDQG
      DQDO\VLVDQGFRQFOXVLRQV'R\RXVHHWKDWRQWKHILUVW         ZHOOEHLQJRIWKHFKLOG
      SDJH"                                                           %<$77251(<%$5+$0
      $:KDWSDJH"                                             4,XQGHUVWDQGWKHGLVWLQFWLRQWKDW\RX UHPDNLQJ
      47KHILUVWSDJHVHFRQGFROXPQPLGGOHSDUDJUDSK       , PWU\LQJWRXQGHUVWDQGDUHWKHUHDVZHDVVHVV
     $,VHHWKDW\HV                                      GLIIHUHQWSHRSOH VDSSURDFKHVWRWKLVDUHDFDQZH
     47KHVHDXWKRUVVWDWHWKHQRWLRQWKDWDOOWKHUDS\       FKDUDFWHUL]HWKHPE\WKHJRDOVRIWKHLUDSSURDFKLQWRD
     LQWHUYHQWLRQVIRUJHQGHUG\VSKRULDFDQEHFDWHJRULFDOO\        JHQGHUDIILUPLQJPRGHODQGDFRQYHUVLRQWKHUDS\PRGHO
     FODVVLILHGLQWRWKLVVLPSOLVWLFELQDU\EHWUD\VD               DQGWKRVHDUHEDVLFDOO\WZRGLIIHUHQWFDPSV
     PLVXQGHUVWDQGLQJRIWKHFRPSOH[LW\RISV\FKRWKHUDS\           ,VWKDWFRUUHFW"
     :RXOG\RXDJUHHZLWKWKDWVWDWHPHQW"                           $77251(<%/2&.2EMHFWLRQWRIRUP
     $77251(<%/2&.2EMHFWLRQWRIRUPDQG          7+(:,71(66:HFDQQRW
     DVNLQJKLPTXHVWLRQVDERXWDQDUWLFOHKHKDVQ WUHDG          %<$77251(<%$5+$0
     7+(:,71(667KHSUHPLVHRIWKDW               4$QGLQVD\LQJWKDW, PQRWWU\LQJWRVD\WKDW
     VWDWHPHQWLPSOLHVDFRJQLWLRQRQEHKDOIRIWKHDXWKRUV         WKHUDSHXWLFWHFKQLTXHVEHORQJLQRQHRUWKHRWKHU, P
     RIWKDWVWXG\WKDW,GRQ WWKLQNLVQHFHVVDULO\                MXVWWU\LQJWRVD\FDQZHFDWHJRUL]HWUHDWPHQW
     DFFXUDWH,GRQ WWKLQNWKDWWKHDXWKRUVRIWKH7XUEDQ        DSSURDFKHVE\WKHJRDOV"
     VWXG\ZRXOGVXJJHVWWKDWWKHUHLVDVLPSOHELQDU\RI           $77251(<%/2&.2EMHFWLRQWRIRUP
     WKHUDS\LQWHUYHQWLRQV                                         %<$77251(<%$5+$0
     %<$77251(<%$5+$0                                            4%HFDXVHWKDWVHHPVWREHZKDW\RXDUHGRLQJLQ


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      4$QG\RXZRXOGDOVRVD\WKHUH VQRWDVLPSOLVWLF        SDUDJUDSKRI\RXUUHSRUW
      ELQDU\                                                         $7KHUH VDSURFHVVYHUVXVDQRXWFRPHTXHVWLRQ
      ,VWKDWFRUUHFW"                                       WKDW, PMXVWQRWXQGHUVWDQGLQJWKHGLVWLQFWLRQEHWZHHQ
      $7KDWLVFRUUHFW                                       IRUDV, PGHILQLQJFRQYHUVLRQWKHUDS\KHUHLWLVD
      46RLQSDUDJUDSKRI\RXUUHSRUW\RX UHQRW           VSHFLILFJRDOWKDWDWUDQVJHQGHURXWFRPHLVDQHJDWLYH
      WU\LQJWRGUDZD\RX UHQRWWU\LQJWRGUDZVRPHVRUW        RXWFRPH)RUJHQGHUDIILUPLQJWKHUDS\RULQWHUYHQWLRQV
      RIGLFKRWRP\EHWZHHQ'U/HYLQH VDSSURDFKDQG\RXUV"           WKHUHLVQRSUHVXSSRVHGRXWFRPHWKDWLVEHWWHUWKDQ
      $77251(<%/2&.2EMHFWLRQWRIRUP              DQRWKHURWKHUWKDQEXLOGLQJWKHPHQWDOKHDOWKDQG
      7+(:,71(66,WLVOHVVKHOSIXOIRUPH          ZHOOEHLQJRIWKHFKLOG
     WRGHVFULEHLWDVLGHQWLI\LQJDGLFKRWRP\EXWUHDOO\           42ND\
     PRUHIRFXVHGRQWKHJRDOVRIWUHDWPHQWDSSURDFK$QGLI       $$QGWKHUHLVPDQ\GLIIHUHQWZD\VRIDSSURDFKLQJ
     WKHJRDORIWKHWUHDWPHQWDSSURDFKLVDFRQYHUVLRQW\SH        WKDWTXHVWLRQDQGLQWHUYHQLQJWKDWDUHJRLQJWREH
     JRDOWKHQ,WKLQNWKHUHLVDGUDZEHWZHHQWKDWDQGWKH        RXWVLGHRIWKHVFRSHRIDJRDOEDVHGDSSURDFK
     VWDQGDUGRIFDUHRIWKHDIILUPDWLYHPRGHO                     4,WVWLOOVRXQGVDQGDJDLQ, PMXVWWU\LQJWR
     %<$77251(<%$5+$0                                            H[SORUHDQGXQGHUVWDQGZKDW\RX UHVD\LQJKHUH,W
     46RWKDWLQ\RXUYLHZDUHWKHUHWZRGLIIHUHQW          VWLOOVRXQGVOLNHWKHUHLVRQHDSSURDFKWKDWKDVDJRDO
     WUHDWPHQWJRDOVZKHQWUHDWLQJJHQGHUG\VSKRULD":HFDQ        LQ\RXUYLHZRIKDYLQJWKHFKLOGUHWXUQWRFRPIRUWZLWK
     FDWHJRUL]HWUHDWPHQWDSSURDFKHVE\WKHJRDOVFRQYHUVLRQ       WKHFKLOG VQDWDOVH[DQGWKHQWKHUHLVDQRWKHUDSSURDFK
     WKHUDS\YHUVXVWKHJHQGHUDIILUPLQJPRGHOWKDW\RXKDYH        WKDWKDVDJRDOWKDWVD\V,GRQ WFDUHZKHUH\RXHQGXS
     RXWOLQHG"                                                      ,VWKDWIDLUWRVD\"
     $77251(<%/2&.2EMHFWLRQWRIRUP             $77251(<%/2&.2EMHFWLRQWRIRUP
     7+(:,71(667KHZD\,ZRXOGGHVFULEH          7+(:,71(66$JDLQ,WKLQNLWUHDOO\
     WKHJRDORIWKHJHQGHUDIILUPLQJPRGHOLVWRKDYHD            QDUURZVGRZQZKDW VDKLJKO\FRPSOH[TXHVWLRQVRLW V
     KHDOWK\UHVLOLHQWFKLOGZKDWHYHUWKHJHQGHULGHQWLW\          UHDOO\KDUGWRJLYHDQDQVZHUWRWKDW%XWLIZHGHILQH


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                                                              3DJH                                                     3DJH
     FRQYHUVLRQDVDSSURDFKRQHDQGHYHU\WKLQJHOVHRXWVLGH                $,FDQ WVSHDNWRZKDWWKHDXWKRUV PRWLYDWLRQV
     RIWKDW,FDQZRUNZLWKWKDWLIWKDWLVKHOSIXOIRU                  DUHIRUZULWLQJWKLV,GRQRWNQRZ
     KDYLQJIXUWKHUGLVFXVVLRQRUDVNLQJPRUHTXHVWLRQV                   4%DVHGRQ\RXUNQRZOHGJHRIWKHILHOGGR\RX
     %<$77251(<%$5+$0                                                   EHOLHYHWKDWWKDW VDUHDVRQDEOHFRQFHUQ"
     4,VWKDWWKHZD\\RXZRXOGGHVFULEHWKLV                      $,GRQRW
     VLWXDWLRQLQWKHILHOGDWSUHVHQW"                                    4:K\QRW"
     $,WLVQRWWKHZD\,ZRXOGGHVFULEHWKHVLWXDWLRQ             $%HFDXVHXQGHUVWDQGLQJWKHRYHUODSDQGWKH
     LQWKHILHOG                                                         LQWHUDFWLRQEHWZHHQJHQGHULGHQWLW\DQGVH[XDOLW\DQG
     42QSDJHILYHRIWKLVDUWLFOH                            VH[XDORULHQWDWLRQLVDSDUWRIWKHDVVHVVPHQWSURFHVV
    $77251(<%/2&., PVRUU\ZKLFK                     LQDIILUPLQJFDUH
    DUWLFOH"                                                             4$WWKHERWWRPRISDJHRQHWKHDXWKRUVZULWHLI
    $77251(<%$5+$02Q7DERI                        DQ\WKLQJRWKHUWKDQDIILUPDWLRQLVYLHZHGDV*,&(
    ([KLELW'U' $QJHOR VDUWLFOH                                 $:KDWSDJHLVWKDW"
    %<$77251(<%$5+$0                                                  42QSDJHVL[, PVRUU\6DPHSDJH\RXZHUHRQ
    4,WVRXQGVWRPHOLNH\RXDUHUHMHFWLQJZKDW                 ZLWKWKHJD\DIILUPDWLYHWKHUDS\RUJD\FRQYHUVLRQ
    WKHVHDXWKRUVGHVFULEHDVDFRQIODWLRQRIHWKLFDO                    WKHUDS\7KHODVWSDUDJUDSKLQFROXPQRQHRISDJHVL[
    QRQDIILUPLQJSV\FKRWKHUDS\DQGFRQYHUVLRQWKHUDS\QH[W             ,IDQ\WKLQJRWKHUWKDQDIILUPDWLRQLVYLHZHGDV*,&(LW
    WRWKHODVWSDUDJUDSKRQWKHSDJH                                   IROORZVWKDWWKHSURYLVLRQRISV\FKRWKHUDS\LQWKHVH
    $77251(<%/2&.2EMHFWLRQ3OHDVHJLYH              FOLQLFDOVFHQDULRVFDQEHVHHQDVKDUPIXOFRQYHUVLRQ
    KLPWLPHWRUHDGWKHSDJH                                           HIIRUWV,IWKHVHWKHUDSHXWLFHIIRUWVGRQRWDLPWR
    7+(:,71(66, YHQHYHUVHHQRIRUKHDUG             FRQYHUWRUFRQVROLGDWHDQLGHQWLW\EXWLQVWHDGDLPWR
    DGHILQLWLRQIRUHWKLFDOQRQDIILUPDWLYHSV\FKRWKHUDS\              KHOSLQGLYLGXDOVJDLQDGHHSHUXQGHUVWDQGLQJRIWKHLU
    VR,GRQ WNQRZZKDWWKDWPHDQV                                     GLVFRPIRUWZLWKWKHPVHOYHVWKHIDFWRUVWKDWKDYH
    %<$77251(<%$5+$0                                                  FRQWULEXWHGWRWKHLUGLVWUHVVDQGWKHLUPRWLYDWLRQVIRU


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     4,VLW\RXUSRVLWLRQWKDWWKHUHLVQRVXFKWKLQJ"             VHHNLQJWUDQVLWLRQ,VLW\RXUSRVLWLRQWKDWWKHUHDUH
     $,KDYHQHYHUKHDUGRIVXFKDWKLQJ                          QRWKHUDSHXWLFLQWHUYHQWLRQVWKDWGRQRWDLPWRFRQYHUW
     42QSDJHVL[LQWKHILUVWFROXPQWKHDXWKRUV                RUFRQVROLGDWHDQLGHQWLW\"
     ZULWHLQIDFWVRPHKRPRSKRELFVRFLHWLHVDQGLQGHHG                  $77251(<%/2&.2EMHFWLRQWRIRUP
     IDPLOLHVWKDWUHMHFWKRPRVH[XDOLW\DPRQJWKHLUFKLOGUHQ               7+(:,71(66:KDW,ZRXOGVD\LVWKDW
     KDYHHPEUDFHGWKHDIILUPDWLYHELRPHGLFDOSDWKZD\ZKLFK               KHOSLQJLQGLYLGXDOVJDLQDGHHSHUXQGHUVWDQGLQJRIWKHLU
     SRVHVTXHVWLRQVDVWRZKHWKHUTXRWHDIILUPDWLYHFDUH                GLVFRPIRUWZLWKWKHPVHOYHVWKHIDFWRUVFRQWULEXWLQJWR
     LQVRPHFDVHVLQVRPHLQVWDQFHVVHUYHWKHUROHRIJD\                 WKHLUGLVWUHVVDQGWKHLUPRWLYDWLRQVIRUVHHNLQJ
     FRQYHUVLRQWKHUDS\'R\RXEHOLHYHWKDWWKDW VD                     WUDQVLWLRQLVDYLWDODQGLQKHUHQWSDUWRI
    OHJLWLPDWHFRQFHUQ"                                                  JHQGHUDIILUPLQJFDUH
    $,GRQRW                                                   %<$77251(<%$5+$0
    4:K\QRW"                                                    4%XWDPRPHQWDJR\RXLQGLFDWHGWKDW\RXZHUHQRW
    $$V,PHQWLRQHGEHIRUHDIILUPDWLYHFDUHLVQRW              DZDUHRIDQ\HWKLFDOQRQDIILUPDWLYHSV\FKRWKHUDS\"
    SUHVXSSRVHGDQ\RQHVSHFLILFRXWFRPH                                $7KDWLVQRWDSKUDVHWKDW,KDYHKHDUGRUKDYH
    4'R\RXWKLQNWKDWVRPHRQHFDQKDYHDFRQFHUQ                KHDUGGHVFULEHG:KDWWKHSDVVDJHWKDW\RXDUH
    WKDWDIILUPDWLYHFDUHFRXOGVHUYHWKHUROHUHJDUGOHVVRI             UHIHUULQJWRGHVFULEHVLVDYHU\W\SLFDOSURFHVV
    LWVGROHVHUYHWKHUROHRIJD\FRQYHUVLRQWKHUDS\"                  LQYROYHGLQDQ\NLQGRIVWDQGDUGRIFDUHDURXQGDQ\WKLQJ
    $77251(<%/2&.2EMHFWLRQWRIRUP                   UHDOO\LVXQGHUVWDQGLQJPRWLYDWLRQVDQGXQGHUVWDQGLQJ
    7+(:,71(66:HOOWKHDXWKRUVDSSHDUWR             GLVWUHVV7KHUHLVQRWKLQJWKHUHLVQRWKLQJQRYHO
    KDYHWKDWFRQFHUQ,WLVQRWDFRQFHUQWKDWKDVEHHQ                DERXWWKDWGHVFULSWLRQRIFDUHWKDWLVQRWDOUHDG\XQGHU
    ERUQHRXWE\WKHOLWHUDWXUHLQP\FOLQLFDOH[SHULHQFH               WKHXPEUHOODRIDIILUPLQJFDUH
    %<$77251(<%$5+$0                                                  4$QGDOLWWOHELWODWHULQWKDWSDUDJUDSK,
    4'R\RXEHOLHYHWKDWWKHDXWKRUVDUHUHDVRQDEOH              EHOLHYHDWWKHWRSRIFROXPQWZRRISDJHVL[WKH
    LQKDYLQJWKDWFRQFHUQ"                                              DXWKRUVULJKWERWKFRQYHUVLRQDQGDIILUPDWLYHWKHUDS\


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                                                   3DJH                                                         3DJH
      HIIRUWVFDUU\WKHULVNRIXQGXHLQIOXHQFHSRWHQWLDOO\          %<$77251(<%$5+$0
      FRPSURPLVLQJSDWLHQWDXWRQRP\'R\RXDJUHHWKDWWKDW         47DE7KLVLVWKHDUWLFOHE\/LO\'XUZRRG
      LVDSRVVLELOLW\"                                              HWDOSXEOLVKHGLQ<RXFLWHGWKLVDUWLFOHDOVR
      $$JDLQ, PQRWVXUHZKDWWKHDXWKRUVDUH              LQIRRWQRWHQLQHRI\RXUUHSRUW
      UHIHUULQJWRZKHQWKH\VD\DIILUPDWLRQWKHUDS\HIIRUWV         ,VWKDWFRUUHFW"
      EHFDXVHZKDWWKH\ UHGHVFULELQJDVHWKLFDO                    $7KDWLVFRUUHFW
      QRQDIILUPDWLYHLQWHUYHQWLRQVIDOOVWRPHXQGHUWKH            4$QGZHKDYHSUHYLRXVO\GLVFXVVHGKRZWKLV
      FOHDUUXEULFRIDIILUPLQJFDUHVR,GRQ WNQRZZKDW           DUWLFOHUHSRUWVZKDWFKLOGUHQDQGSDUHQWVVDLGDERXWWKH
      WKH\PHDQE\WKLV                                             FKLOGUHQ VPHQWDOKHDOWK
     42ND\                                                ,VWKDWFRUUHFW"
     ,QSDUDJUDSKRI\RXUUHSRUW\RXLQGLFDWH      $7KDWLVFRUUHFW
     \RXVWDWHGUHVHDUFKLQGLFDWHVWKDWVRFLDOWUDQVLWLRQLQJ       45HDOO\DVHOIUHSRUW
     VLJQLILFDQWO\LPSURYHVWKHPHQWDOKHDOWKRIWUDQVJHQGHU       &RUUHFW"
     \RXQJSHRSOH                                                 $,WKLQNZHZHQWWKURXJKWKDWHDUOLHU,WZDV
     ,VWKDWFRUUHFW"                                     QRWMXVWDVHOIUHSRUW7KHVHZHUHLQWHUYLHZOHG
     $<HV                                                 HYDOXDWLRQV
     $77251(<%$5+$0$QG, PJRLQJWRVKRZ        4%XWDQLQWHUYLHZOHGVHOIUHSRUW
     \RXZKDWZHZLOOPDUNDV([KLELW7KLVLV7DE         &RUUHFW"
     IRUWKRVHIROORZLQJIURPDGLVWDQFH7KLVLVDVWXG\E\      $7KHUHZHUHDOVRSDUHQWUHSRUWVWKDWZHUH
     *LEVRQHWDOSXEOLVKHGLQ                             4$QGVRVHOIUHSRUWVRIFKLOGUHQSDUHQWDO
                                     UHSRUWVDERXWWKHLUFKLOGUHQ
      :KHUHXSRQ([KLELW6WXG\E\*LEVRQ       &RUUHFW"
     HWDOZDVPDUNHGIRULGHQWLILFDWLRQ        $&RUUHFW
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      4<RX YHFLWHGWKLVDUWLFOHLQIRRWQRWHQLQHRI         E\2OVRQHWDOLQIRRWQRWHQLQHRI\RXUUHSRUW
      \RXUUHSRUW                                                   &RUUHFW"
      ,VWKDWFRUUHFW"                                      $7KDWLVFRUUHFW
      $/HWPHMXVWGRXEOHFKHFN,EHOLHYHVR<HV        4$QGLQIRRWQRWHQLQH\RXLQGLFDWHWKDWDOOHJHG
      48QGHUPHWKRGVRQSDJHRQHRI([KLELWLW            VWDWLVWLFDOHUURUVLQWKDWDUWLFOHKDYHDOUHDG\EHHQ
      LQGLFDWHVWKLVDFURVVVHFWLRQDOVWXG\                        FRUUHFWHGLQ
      ,VWKDWFRUUHFW"                                      &RUUHFW"
      $7KDWLVFRUUHFW                                      $&RUUHFW
     4&DQFURVVVHFWLRQDOVWXGLHVEHXVHGWR               4$QGIRUWKDWDVVHUWLRQ\RXFLWHDVWXG\E\
     GHPRQVWUDWHFDXVDWLRQ"                                        2OVRQHWDOLQ
     $1RWRQWKHLURZQQR                                ,VWKDWFRUUHFW"
     46RWKLVVWXG\GRHVQRWVKRZWKDWVRFLDO              $,GRQ WVHHWKDW
     WUDQVLWLRQVFDXVHGDQ\LPSURYHPHQWLQPHQWDOKHDOWK          $77251(<%/2&.2EMHFWLRQ:KHUHDUH
     &RUUHFW"                                             \RXDW"
     $7KLVVWXG\GHPRQVWUDWHGWKDWWKHUHZDVD             7+(:,71(66,GRQ WVHHLW,I\RXFDQ
     FRUUHODWLRQEHWZHHQLPSURYHGPHQWDOKHDOWKDQGVRFLDO         SRLQWWRPHZKHUHWKDWLV
     WUDQVLWLRQ                                                   %<$77251(<%$5+$0
     46RLWGLGQRWVKRZFDXVDWLRQ                        4)RRWQRWHQLQHRQSDJHVPDOOVWDWLVWLFDO
     ,VWKDWFRUUHFW"                                     HUURUVLQ2OVRQKDGDOUHDG\EHHQFRUUHFWHGLQ
     $,WGLGQRWVKRZFDXVDWLRQ                           VHH2OVRQHWDOPHQWDOKHDOWKRIWUDQVJHQGHU
     4, PJRLQJWRVKRZ\RX([KLELW/HW VJREDFN      VWXGHQWZKRDUHVXSSRUWHGLQWKHLULGHQWLW\WKURXJKRXW
     WR([KLELW                                                 $<HV
     /$:&/(5.:,/.,16217DE                 4,VWKDWFRUUHFW"


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      $77251(<%$5+$0, PJRLQJWRVKRZ\RX         LGHQWLILFDWLRQ
      ZKDWZHDUHJRLQJWRPDUNDV([KLELW7KLVZLOOEH         
      WDE                                                       %<$77251(<%$5+$0
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       :KHUHXSRQ([KLELW(UUDWD6KHHWZDV       LQHQWLWOHG0HQWDO+HDOWK2XWFRPHVLQ7UDQVJHQGHU
      PDUNHGIRULGHQWLILFDWLRQ                     DQG1RQ%LQDU\<RXWK5HFHLYLQJ*HQGHU$IILUPLQJ&DUH
                                       7KLVLVRQHRIWKHVWXGLHVWKDW\RXFLWHGLQIRRWQRWH
      %<$77251(<%$5+$0                                            RI\RXUUHSRUW"
     47KLVLVWKHHUUDWDVKHHWWKDW\RXFLWHGLQ           $7KDWLVFRUUHFW
     IRRWQRWHQLQHRI\RXUUHSRUW                                 4$FFRUGLQJWRWDEOHRQHRQSDJHILYHRIWKLV
     ,VWKDWFRUUHFW"                                     UHSRUWSHUFHQWRIWKHSDUWLFLSDQWVZHUHDOVR
     $7KDWLVFRUUHFW                                     UHFHLYLQJPHQWDOKHDOWKWKHUDS\
     47KHRQO\FKDQJHLQWKLVDUWLFOHLVWKH          ,VWKDWFRUUHFW"
     KLJKOLJKWDQGPLVVLQJFRPPRQIURPWKHDUWLFOH           $7KDWLVFRUUHFW
     ,VWKDWFRUUHFW"                                    46RLW VQRWSRVVLEOHWRGHWHUPLQHKRZPXFKRI
     $77251(<%/2&.2EMHFWLRQWRIRUP            WKHLPSURYHPHQWZDVGXHWRSXEHUW\EORFNLQJPHGLFDWLRQ
     7+(:,71(66<HV                             DQGJHQGHUDIILUPLQJKRUPRQHWKHUDS\DQGKRZPXFKZDV
     %<$77251(<%$5+$0                                           GXHWRWKHPHQWDOKHDOWKWKHUDS\
     4,QSDUDJUDSKRI\RXUUHSRUW\RXVD\WKDW          &RUUHFW"
     VWXGLHVKDYHUHSHDWHGO\GRFXPHQWHGSXEHUW\EORFNLQJ           $77251(<%/2&.2EMHFWLRQWRIRUP
     PHGLFDWLRQDQGJHQGHUDIILUPLQJKRUPRQHWKHUDS\DUH           7+(:,71(667KHUHLVDORWRITXHVWLRQV
     DVVRFLDWHGZLWKPHQWDOKHDOWKEHQHILWVLQERWKWKHVKRUW      LQWKDWRQHVLQJXODUTXHVWLRQDERXWVWXG\GHVLJQDQG
     DQGORQJWHUP                                                ZKDWZHNQRZDERXWWKHKLVWRU\RIWUDQVJHQGHUKHDOWK


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      ,VWKDWFRUUHFW"                                      RXWFRPHVSULRUWRWKHH[LVWHQFHRIJHQGHUDIILUPLQJ
      $7KDWLVFRUUHFW                                      FDUH$VWKLVVWXG\LVGHVLJQHGLWLVQRWGHVLJQHGLQ
      4$QGWKHVWXGLHVWKDW\RX UHFLWLQJIRUWKDW           VXFKDZD\WREHDEOHWRVSHFLILFDOO\NHHSWKDWDSDUW
      DVVHUWLRQDUHWKRVHOLVWHGLQIRRWQRWHRI\RXU              $77251(<%$5+$0$OOULJKW
      UHSRUW                                                        , PJRLQJWRVKRZ\RXZKDWZHZLOOPDUN
      &RUUHFW"                                              DV([KLELWDQGWKLVZLOOEH7DE
      $7KDWLVFRUUHFW                                      
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      $7KRVHDUHWKHRQO\WKDW, PUHIHUHQFLQJ              *UHHQHWDOZDVPDUNHGIRU
     4,QSDUDJUDSKRI\RXUUHSRUW\RXFODLPWKDW        LGHQWLILFDWLRQ
     'U&DQWRUIDLOVWRGLVFXVVPDQ\RIWKHVWXGLHV               
     GRFXPHQWLQJWKHEHQHILWVRISXEHUW\EORFNLQJPHGLFDWLRQ      %<$77251(<%$5+$0
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     GLVFXVV"                                                      E\$P\*UHHQHQWLWOHGLWVD\VHWDOHQWLWOHG
     $,ZRXOGQHHGWRUHYLHZ'U&DQWRU VUHSRUWWR        $VVRFLDWLRQRI*HQGHU$IILUPLQJ+RUPRQH7KHUDS\ZLWK
     NQRZVSHFLILFDOO\                                            'HSUHVVLRQ7KRXJKWVRI6XLFLGHDQG$WWHPSWHG6XLFLGH
     4'R\RXUHFDOOQRZZKLFKRQHVKHIDLOHGWR            $PRQJ7UDQVJHQGHUDQG1RQELQDU\<RXWKSXEOLVKHGLQ
     GLVFXVV"                                                      7KLVLVWKHVHFRQGDUWLFOHWKDW\RXFLWHGLQIRRWQRWH
     $,GRQRW                                            RI\RXUUHSRUW
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     WRVKRZ\RXZKDWZHZLOOPDUNDV([KLELWDQGWKLVLV      $7KDWLVFRUUHFW
     7DE                                                       42QSDJHVL[RIWKLVUHSRUWFROXPQWZRWKH
                                     DXWKRUVLQGLFDWHWKDWFDXVDWLRQFDQQRWEHLQIHUUHGGXH
      :KHUHXSRQ([KLELW$UWLFOHE\             WRWKLVVWXG\ VFURVVVHFWLRQDOGHVLJQ



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                                                              3DJH                                                                  3DJH
     &RUUHFW"                                                      LGHQWLILFDWLRQ
     $7KDWLVFRUUHFW                                              
     47KLVVWXG\DOVRGRHVQRWSURYHWKDWSXEHUW\                   %<$77251(<%$5+$0
     EORFNLQJPHGLFDWLRQDQGJHQGHUDIILUPLQJKRUPRQHWKHUDS\               4<RXDOVRFLWHGWKLVDUWLFOHLQIRRWQRWHRI
     FDXVHGDQ\LPSURYHPHQWV                                               \RXUUHSRUW
     &RUUHFW"                                                      ,VWKDWFRUUHFW"
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     WRVKRZDFDXVDORXWFRPHQR                                          WKHILUVWFROXPQWKHDXWKRUVZULWHWKDWPRVW
    $77251(<%$5+$0/HW VJRWR([KLELW              VXEMHFWVTXRWHPRVWVXEMHFWVZHUHIROORZHGE\
    WKLVZLOOEH7DE                                                 PHQWDOKHDOWKSURIHVVLRQDOVFORVHGTXRWHDQGTXRWH
                                            WKRVHWKDWZHUHQRWZHUHHQFRXUDJHGWRVHHDPHQWDO
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    LGHQWLILFDWLRQ                                       $7KDWLVFRUUHFW
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    %<$77251(<%$5+$0                                                   VD\WKDWDIWHUVWDWLVWLFDOO\DGMXVWLQJIRUSV\FKLDWULF
    47KLVLVDQDUWLFOHE\7XUEDQHWDOSXEOLVKHG               PHGLFDWLRQDQGHQJDJHPHQWLQFRXQVHOLQJTXRWHPRVW
    LQHQWLWOHG3XEHUWDO5LVNVIRU7UDQVJHQGHU<RXWK                 SUHGLFWRUVGLGQRWUHDFKVWDWLVWLFDOVLJQLILFDQFH
    DQG5LVNVRI6XLFLGH,GHDWLRQ6XLFLGDO,GHDWLRQ"                  ,VWKDWFRUUHFW"
    $77251(<%/2&.2EMHFWLRQWRPLVUHDGLQJ               $:KHUHDUH\RX"
    WKHQDPHRIWKHVWXG\                                                43DJHWKUHHFROXPQRQHXQGHUUHJUHVVLRQ
    %<$77251(<%$5+$0                                                   DQDO\VLV
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     IRRWQRWHRI\RXUUHSRUW                                           $77251(<%$5+$0, PJRLQJWRVKRZ\RX
     ,VWKDWFRUUHFW"                                             ZKDWZHZLOOPDUNDV([KLELWWKLVLV7DE
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     DOVRLQGLFDWHWKDWOLPLWDWLRQVLQFOXGHWKH                            HWDOZDVPDUNHGIRULGHQWLILFDWLRQ
     FURVVVHFWLRQDOWKHVWXG\ VFURVVVHFWLRQDOGHVLJQ               
     ZKLFKGRHVQRWDOORZIRUGHWHUPLQDWLRQRIFDXVDWLRQ                  %<$77251(<%$5+$0
     ,VWKDWFRUUHFW"                                             47KLVLVDQDUWLFOHE\.XSHUHWDOSXEOLVKHGLQ
     $7KDWLVFRUUHFW                                             HQWLWOHG%RG\'LVVDWLVIDFWLRQDQG0HQWDO+HDOWK
    46RWKLVVWXG\GRHVQRWSURYHWKDWSXEHUW\                   2XWFRPHVRI<RXWKRQ*HQGHU$IILUPLQJ+RUPRQH7KHUDS\
    EORFNLQJPHGLFDWLRQDQGJHQGHUDIILUPLQJKRUPRQHWKHUDS\             2QSDJHVL[OHWPHUHSKUDVHWKDWIRUWKHUHFRUG
    FDXVHGDQ\LPSURYHPHQWV                                             <RXFLWHGWKLVDUWLFOHLQIRRWQRWHRI\RXUUHSRUW
    &RUUHFW"                                                    ,VWKDWFRUUHFW"
    $7KLVVWXG\ZDVQRWGHVLJQHGWRGHPRQVWUDWH                  $7KDWLVFRUUHFW
    FDXVDWLRQ                                                           4$FFRUGLQJWR7DEOHRQSDJHVL[QRQHRIWKH
    $77251(<%$5+$0, PJRLQJWRVKRZ\RX               UHVXOWVIRUWKRVHUHFHLYLQJSXEHUW\VXSSUHVVLRQZHUH
    ZKDWZHZLOOPDUNDV([KLELW7KLVLVDQDUWLFOHE\              VWDWLVWLFDOO\VLJQLILFDQW
    $FKLOOHHWDOHQWLWOHG/RQJLWXGLQDO,PSDFWRI*HQGHU               &RUUHFW"
    $IILUPLQJ(QGRFULQH,QWHUYHQWLRQRQ0HQWDO+HDOWKDQG                $,QHHGDIHZPLQXWHV
    :HOOEHLQJRI7UDQVJHQGHU<RXWKV3UHOLPLQDU\5HVXOWV                47DNH\RXUWLPH
    SXEOLVKHGLQ                                                   $$V,UHDGWKHERWWRPRIWKDWWDEOHWKHUHDUHD
                                           QXPEHURIDQDO\VHVWKDWUHDFKHGVWDWLVWLFDO
     :KHUHXSRQ([KLELW$UWLFOHE\                    VLJQLILFDQFH
    $FKLOOHHWDOZDVPDUNHGIRU                      4%XWLI\RXORRNDWWKHOLQHVIRUHDFKRQHXQGHU



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                                                               3DJH                                                     3DJH
     HDFKRIWKHVFRUHVERG\GLVVDWLVIDFWLRQGHSUHVVLYH                   SDUWLFLSDQWVLQWKHJURXSVEHIRUHDQGDIWHUSXEHUW\
     V\PSWRPVGHSUHVVLYHV\PSWRPV4,'6DQ[LHW\V\PSWRPV                  VXSSUHVVLRQPD\SRWHQWLDOO\OLPLWWKHUHVXOWV"
     SDQLFV\PSWRPVJHQHUDOL]HGDQ[LHW\V\PSWRPVVRFLDO                   $<HV,VHHWKDW
     DQ[LHW\V\PSWRPVVHSDUDWLRQDQ[LHW\V\PSWRPVVFKRRO                  47KHSUHVHQWVWXG\FDQWKHUHIRUHQRWSURYLGH
     DYRLGDQFHV\PSWRPVWKHOLQHVPDUNHGSXEHUW\VXSSUHVVLRQ               HYLGHQFHDERXWWKHGLUHFWEHQHILWVRISXEHUW\
     KDYHQRVXSHUVFULSWRQWKHP                                           VXSSUHVVLRQRYHUWLPHDQGWKHORQJWHUPPHQWDOKHDOWK
     ,VWKDWFRUUHFW"                                              RXWFRPHV
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     7+(:,71(667KDWLVFRUUHFW                          $7KDWLVFRUUHFW
    %<$77251(<%$5+$0                                                   46RWKHDXWKRUVRIWKLVVWXG\LQGLFDWHWKDW
    46RQRQHRIWKRVHQRQHRIWKHVSHFLILF                    FRQFOXVLRQVDERXWWKHORQJWHUPEHQHILWVRISXEHUW\
    ILQGLQJVUHJDUGLQJLQGLYLGXDOVRQSXEHUW\VXSSUHVVLRQ                 VXSSUHVVLRQVKRXOGWKXVEHPDGHZLWKH[WUHPHFDXWLRQ
    RQO\ZHUHVWDWLVWLFDOO\VLJQLILFDQW                                  PHDQLQJSURVSHFWLYHORQJWHUPIROORZXSVWXGLHVZLWK
    ,VWKDWFRUUHFW"                                             UHSHDWHGPHDVXUHGGHVLJQRILQGLYLGXDOVEHLQJIROORZHG
    $1RQHRIWKHPZHUHVWDWLVWLFDOO\VLJQLILFDQWDV               RYHUWLPHWRFRQILUP
    PHDVXUHGE\WKHLUUHSRUWV                                            ,VWKDWFRUUHFW"
    $77251(<%$5+$0, PJRLQJWRVKRZ\RX                $7KDWLVFRUUHFW
    ZKDWZHZLOOPDUNDV([KLELW7KLVZLOOEH7DE               $77251(<%$5+$0, PJRLQJWRVKRZ\RX
                                            ZKDWZHZLOOPDUNDV([KLELW7KLVZLOOEH7DE
     :KHUHXSRQ([KLELW$UWLFOHE\YDQ                 
    GHU0LHVHQHWDOPDUNHGIRU                         :KHUHXSRQ([KLELW$UWLFOHE\GH
    LGHQWLILFDWLRQ                                       9ULHVZDVPDUNHGIRULGHQWLILFDWLRQ
                                            
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      SXEOLVKHGLQHQWLWOHG3V\FKRORJLFDO)XQFWLRQLQJLQ               PHDQ'H9ULHVHWDOH[FXVHPH'H9ULHVHWDO
      7UDQVJHQGHU$GROHVFHQWV%HIRUHDQG$IWHU*HQGHU                       <RXQJ$GXOW3V\FKRVRFLDO2XWFRPH$IWHU3XEHUW\
      $IILUPDWLYH&DUH&RPSDUHGZLWK&LVJHQGHU*HQHUDO                      6XSSUHVVLRQDQG*HQGHU5HDVVLJQPHQW7KLVLVWKHODVW
      3RSXODWLRQRI3HHUV<RXFLWHGWKLVDUWLFOHLQIRRWQRWH              DUWLFOH\RXFLWHLQIRRWQRWHRI\RXUUHSRUW
      RI\RXUUHSRUW                                                    ,VWKDWFRUUHFW"
      ,VWKDWFRUUHFW"                                             $7KDWLVFRUUHFW
      $7KDWLVFRUUHFW                                             4$WWKH'XWFKFOLQLFSDWLHQWVZKRUHFHLYHSXEHUW\
      47KHDXWKRUVRQSDJHILYHLQFROXPQWZRWKH                 EORFNHUVDOVRUHFHLYHSV\FKRWKHUDS\
     DXWKRUVRIWKLVVWXG\                                           ,VWKDWFRUUHFW"
     $:KDWSDJH"                                                  $7KDWLVFRUUHFW
     43DJHILYH                                                  46RDJDLQWKHUHLVQRZD\WRGHWHUPLQHKRZPXFK
     $,KDYHWKDWLQWKHV                                    RIWKHLPSURYHPHQWUHIOHFWHGLQWKLVVWXG\LVGXHWRWKH
     42KVRUU\7KHILIWKSDJHEXWLW V              SXEHUW\EORFNHUVDQGKRZPXFKLVGXHWRWKH
     SDJLQDWHG7KHDXWKRUVRIWKLVVWXG\LQGLFDWHWKDW             SV\FKRWKHUDS\
     TXRWHGXHWRLWVFURVVVHFWLRQDOGHVLJQWKHSUHVHQW                &RUUHFW"
     VWXG\FDQQRWSURYLGHHYLGHQFHDERXWWKHGLUHFWEHQHILWV              $77251(<%/2&.2EMHFWLRQWRWKHIRUP
     RISXEHUW\VXSSUHVVLRQRYHUWLPHDQGORQJWHUPPHQWDO                7+(:,71(66/HWPHUHVWDWHP\UHVSRQVH
     KHDOWKRXWFRPHV"                                                     WRWKHSUHYLRXVTXHVWLRQ7KH'XWFKFOLQLFDOZD\V
     &RUUHFW"                                                    UHFRPPHQGVSDUWLFLSDWLRQLQWKHUDS\, PQRWD
     $,GRQ WVHHZKHUHWKDWLV                                  SHUFHQWFHUWDLQWKDWHYHU\SDUWLFLSDQWSDUWLFLSDWHG
     41H[WWRWKHODVWSDUDJUDSKLQWKHVHFRQGFROXPQ            LQWKHWKHUDS\DVGLUHFWHG
     7KHWKLUGDQGPRVWLPSRUWDQWVNLSSLQJWKH                        %<$77251(<%$5+$0
     FURVVVHFWLRQDOGHVLJQRIWKLVVWXG\GLIIHUHQW                       4)RUWKHPRVWSDUWWKH'XWFKPRGHOFRPELQHG


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                                                    3DJH                                                          3DJH
      SV\FKRWKHUDS\ZLWKSXEHUW\EORFNHUV                            XVLQRWKHUGUDZEDFNVWKDWXQGHUPLQGLWVUHOLDELOLW\
      &RUUHFW"                                               &RUUHFW"
      $77251(<%/2&.2EMHFWLRQ                      $77251(<%/2&.2EMHFWLRQWRIRUP
      7+(:,71(667KDWLVFRUUHFW$QGPD\,        7+(:,71(66,WGHSHQGVXSRQWKHW\SHRI
      VWDWHWKDW,WKLQNWKDWLVSDUWRIWKHUHDVRQWKDWWKH          GDWDWKDWLVEHLQJFDOFXODWHG
      YDQGHU0LHVHQVWXG\LVTXLWHLPSRUWDQWEHFDXVHLWGRHV         %<$77251(<%$5+$0
      VWDUWWRORRNDWWKHLPSDFWRIEHLQJRQWKHZDLWOLVW           4:K\GR\RXPHDQE\WKDW"
      DQGWKHLPSDFWVRIMXVWJHWWLQJSV\FKRWKHUDS\DORQH             $,ILWLVTXDOLWDWLYHLQWHUYLHZGDWD\HVWKHUH
      YHUVXVDFFHVVWRSXEHUW\VXSSUHVVLRQDQGRUKRUPRQHV           LVUHWURVSHFWLYHGDWDWKDWUHYLHZVFRQWHPSRUDU\
     $77251(<%$5+$0, PJRLQJWRVKRZ\RX         GRFXPHQWDWLRQDQGFKDUWVODEUHVXOWVLPDJLQJUHVXOWV
     ZKDWZH UHJRLQJWRPDUNDV([KLELW7DE              HWFHWHUD7KDWLVOHVVFRQIRXQGHGE\WKDWNLQGRI
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     PDUNHGIRULGHQWLILFDWLRQ                     H[SHULHQFHVEHIRUHKRUPRQHWKHUDS\ZDVDYDLODEOHWKDW
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     *HQGHU'\VSKRULDDQG3V\FKRORJLFDO)XQFWLRQLQJLQ        WRWDNHWKDWLQWRDFFRXQW
     $GROHVFHQWV7UHDWHGZLWK*Q5+D$UH\RXIDPLOLDUZLWK         46RWKDWVWLOOGRHVQ WKHOSPHXQGHUVWDQGZK\\RX
     WKLVVWXG\"                                                    GLVDJUHHZLWKWKDWVWDWHPHQWEHFDXVHWKH'XWFKPRGHO
     $77251(<%/2&.2EMHFWLRQ                     FRPELQHVKRUPRQHVZLWKSV\FKRVRFLDOSV\FKRORJLFDO
     PLVFKDUDFWHUL]HVWKHGRFXPHQW                                 VXSSRUWWKHWZRHIIHFWVDUHLQHYLWDEO\FRQIODWHG"
     %<$77251(<%$5+$0                                            $:HKDYHDORQJKLVWRU\RISHRSOHUHFHLYLQJ
     4$UH\RXIDPLOLDUZLWKWKLVOHWWHUWRWKHHGLWRU"      SV\FKRORJLFDOVXSSRUWDORQH$QGZLWKWKHDGGLWLRQRI


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      $,KDYHQRWUHDGWKLVOHWWHUWRWKHHGLWRU             WKHVHLQWHUYHQWLRQVDQGWKLVPRGHORIFDUHRXWFRPHV
      4,I\RXORRNDWERWWRPRISDJHRQHFRQWLQXLQJ           LPSURYHZLWKVSHFLILFPHDVXUHVDURXQGJHQGHUG\VSKRULD
      RQWRSDJHWZRWKHDXWKRUZULWHVDQDGGLWLRQDO                  42YHUWKDWWLPHWKHSV\FKRORJLFDOVXSSRUWZRXOG
      FRPSOLFDWLRQZLWKWKLVWUHDWPHQWLVWKDWWKH'XWFKPRGHO        KDYHHYROYHGDVPRUHXQGHUVWDQGLQJZDVJDLQHG
      FRPELQHV*Q5+DZLWKSV\FKRORJLFDOVXSSRUWVRWKHWZR            &RUUHFW"
      HIIHFWVDUHLQHYLWDEO\FRQIODWHG'RDJUHHZLWKWKDW           $2QHZRXOGKRSH\HV
      VWDWHPHQW"                                                      $77251(<%/2&.2EMHFWLRQWRIRUP
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      4:K\"                                                   4%XWIRUWKHLQGLYLGXDOVZKRUHFHLYHWUHDWPHQW
     $8VHRI*Q5+ORJVIRUWKLVNLQGRILQWHUYHQWLRQ        XQGHUWKH'XWFKPRGHOUHFHLYLQJERWKWKHKRUPRQHVDQG
     ZHUHILUVWXVHGLQ6RHYHU\HYHU\WUDQVJHQGHU       WKHSV\FKRORJLFDOVXSSRUWLW VLPSRVVLEOHWRGHWHUPLQH
     SHUVRQSULRUWRKDGQRDFFHVVWRWKLVNLQGRI             KRZPXFKLPSURYHPHQWZDVGXHWRWKHSV\FKRORJLFDO
     WUHDWPHQW%HWZHHQDQGSUREDEO\DERXWWKHVH         VXSSRUWDQGKRZPXFKZDVGXHWRWKHKRUPRQHV
     PHGLFDWLRQVZHUHQRWZLGHO\DYDLODEOHDQGVRXQDYDLODEOH       &RUUHFW"
     IRUXVHIRUPRVWSHRSOH6RZHKDYHWKHFOLQLFDO              $77251(<%/2&.2EMHFWLRQWRIRUP
     H[SHULHQFHRIDGXOWVWDONLQJUHWURVSHFWLYHO\DERXW           7+(:,71(667KHUHKDVQRWEHHQDVWXG\
     WKHLUH[SHULHQFHVDVZHOODVWKHSDWLHQWVWKDWZHKDYH         WKDWKDVVRXJKWWRLGHQWLI\WKHVSHFLILFSHUFHQWDJHRI
     WUHDWHGWKDWGLGYHUVXVGLGQRWKDYHDFFHVVWRWKHVH           LPSDFWRIWKRVHWZR
     LQWHUYHQWLRQV6RZHKDYHERWKFOLQLFDOH[SHULHQFHDQG        $77251(<%$5+$0$OOULJKW
     VRPHUHWURVSHFWLYHGDWDWKDWORRNVDWWKLVTXHVWLRQ            , PJRLQJWRVKRZ\RXZKDWZHZLOOPDUN
     VSHFLILFDOO\                                                  DV([KLELW
     4&DQUHWURVSHFWLYHGDWDGHPRQVWUDWHFDXVDWLRQ"         
     $,QVRPHFDVHVLWFDQ                                  :KHUHXSRQ([KLELW$UWLFOHZDV
     4%XWUHWURVSHFWLYHGDWDLVVXEMHFWWRUHFDOOE\        PDUNHGIRULGHQWLILFDWLRQ


                                                                                          3DJHVWR
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                                                    3DJH                                                          3DJH
                                        $77251(<%$5+$0/HW VJRWRWDE
      %<$77251(<%$5+$0                                             
      47DE7KLVLVDQDUWLFOHE\&RVWDHWDO           :KHUHXSRQ([KLELW$UWLFOHE\
      ,Q3V\FKRORJLFDO6XSSRUW3XEHUW\([SUHVVLRQDQG           (GZDUGV/HHSHUZDVPDUNHGIRU
      3V\FKRVRFLDO)XQFWLRQLQJLQ$GROHVFHQWVZLWK*HQGHU             LGHQWLILFDWLRQ
      '\VSKRULD                                                      
      ,VWKDWFRUUHFW"                                       7+(:,71(66
      $7KDWLVFRUUHFW                                       $QGWRFODULI\WKH&*$6LVVRPHWKLQJWKDW
      4<RXFLWHWKLVDUWLFOHLQIRRWQRWHRI\RXU           LVFOLQLFLDQUDWHGRIUHPHG\REMHFWLYHFULWHULD
     UHSRUW                                                        %<$77251(<%$5+$0
     ,VWKDWFRUUHFW"                                      4'R\RXZDQWWRWDNHDEUHDN"
     $7KDW VFRUUHFW                                       $,QDIHZPLQXWHVLIWKDW VRND\
     41RZLQWKLVVWXG\WKHUHZHUHWZRJURXSVRI           4$UH\RXDZDUHRI'U(GZDUGV/HHSHU VUHSXWDWLRQ
     DGROHVFHQWVWKRVHZKRUHFHLYHERWKSXEHUW\,PHDQ        LQWKHILHOG"
     ERWKWKHUDS\DQGSXEHUW\EORFNHUVDWWKHRXWVHWDQG            $,DP
     WKRVHZKRUHFHLYHGMXVWWKHUDS\DWWKHRXWVHW                 4$UH\RXSHUVRQDOO\DFTXDLQWHGZLWK'U
     &RUUHFW"                                              (GZDUGV/HHSHU"
     $, OOQHHGDPLQXWHWRUHIUHVKP\VHOI                 $,DP
     46XUH$QG, PUHIHUHQFLQJSDJHVWKHVHFRQG      4+DYHWKHWZRRI\RXZRUNHGWRJHWKHULQWKH
     FROXPQRYHUWRWKHWRSRIWKHILUVWFROXPQ               $PHULFDQ3V\FKLDWULF$FDGHPLFV$VVRFLDWLRQ"
     $7KDW VFRUUHFW                                       $:HKDYHQRWZRUNHGWRJHWKHUWKURXJKWKH$PHULFDQ
     4$QGRQSDJHJRLQJRYHUWRWKH              3V\FKLDWULF$VVRFLDWLRQ'U(GZDUGV/HHSHULVD
     DXWKRU VQRWHWKDWWKHGLIIHUHQFHEHWZHHQWKH                  SV\FKRORJLVW
     LPPHGLDWHO\HOLJLEOHJURXSDQGWKHGHOD\HGHOLJLEOH            46KHVHUYHGDVDPHPEHURIWKHWDVNIRUFHWR


                                                    3DJH                                                          3DJH
      JURXSIDLOHGWRUHDFKVLJQLILFDQFH                             GHYHORSSUDFWLFHJXLGHOLQHVIRUZRUNLQJZLWKWUDQVJHQGHU
      &RUUHFW"                                               LQGLYLGXDOV"+DYH\RXVHUYHGLQDVLPLODUFDSDFLW\ZLWK
      $6RDV,UHDGWKLVLPPHGLDWHO\HOLJLEOHJURXS          WKH$PHULFDQ3V\FKLDWULF$VVRFLDWLRQ"
      ZKRKDGDKLJKHULQSV\FKRVRFLDOIXQFWLRQLQJGLGQRW            $,KDYH$QGZHERWKZRUNHGWRJHWKHURQWKH
      VKRZDQ\VLJQLILFDQWLPSURYHPHQWDIWHUPRQWKVEXW           :3$7+VWDQGDUGVRIFDUHSURYLVLRQ
      DIWHUPRQWKVWKHUHZDVDVWDWLVWLFDOGLIIHUHQFH             4<RXDQWLFLSDWHGP\QH[WTXHVWLRQ6R\RXZRXOG
      47KHQLWVD\VILQDOO\HYHQLIWKHHQGRU               DJUHHWKDW'U(GZDUGV/HHSHULVFRQVLGHUHGDQ
      IROORZXSVWXG\SODQWKUHHLPPHGLDWHO\HOLJLEOHJURXS         LQWHUQDWLRQDOH[SHUWLQWKLVDUHD
      KDGDILYHSRLQWKLJKHU&*$6VFRUHWKDQWKHGHOD\HG             &RUUHFW"
     HOLJLEOHJURXSWKLVGLIIHUHQFHIDLOHGWRUHDFK                $<HV'U(GZDUGV/HHSHULVDFRPSOLFDWHGILJXUH
     VLJQLILFDQFH                                                  ULJKWQRZEXW\HVVKHKDVDORWRIH[SHUWLVH
     &RUUHFW"                                              $77251(<%$5+$0,ZDQWWRVKRZ\RXZKDW
     $7KDW VFRUUHFW:KDW,KDYHWRSRLQWRXWWKHUH      ZHZLOOPDUNDV([KLELW7KLVLV7DE
     LV&*$6LVWKHFKLOGUHQ VJOREDODVVHVVPHQWVFDOHDQG         
     QRWDPHDVXUHRIJHQGHUG\VSKRULDRUTXDOLW\RIOLIHRU         :KHUHXSRQ([KLELW$UWLFOHE\
     GLVWUHVVLQERG\                                              (GZDUGV/HHSHUZDVPDUNHGIRU
     4,VLWDPHDVXUHRIDFKLOG VPHQWDOKHDOWK"           LGHQWLILFDWLRQ
     $77251(<%/2&.2EMHFWLRQ                     
     7+(:,71(66,WLVDURXJKDQGYHU\            $77251(<%/2&.,LPDJLQH\RXKDYHDORW
     SUHFLVHPHDVXUHRIJHQHUDOIXQFWLRQLQJ                        RITXHVWLRQVDERXWWKLVQH[WGRFXPHQWDQG,MXVWZDQW
     %<$77251(<%$5+$0                                            WRPDNHVXUHWKHZLWQHVVKDVDFKDQFHWRKDYHDEDWKURRP
     4%XWLWLVWKHVFDOHWKDWWKLVVWXG\ZDVXVLQJ        EUHDNLILW VJRLQJWRJRRQIRUWHQPLQXWHVRUPRUH
     &RUUHFW"                                              $77251(<%$5+$0,KDYHQRREMHFWLRQWR
     $7KDWLVFRUUHFW                                      WKDW


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                                                   3DJH                                                          3DJH
      7+(:,71(66)LYHPLQXWHV                     4'U$QGHUVRQLVDPHPEHURIWKH$PHULFDQ
      $77251(<%$5+$0:HZLOOWDNHILYH             3V\FKRORJLFDO$VVRFLDWLRQ&RPPLWWHHWDVNHGZLWKZULWLQJ
      PLQXWHV                                                       JXLGHOLQHVDQGZRUNLQJZLWKWUDQVJHQGHULQGLYLGXDOV
      9,'(2*5$3+(5*RLQJRIIWKHUHFRUG7KH       ,VWKDWFRUUHFW"
      WLPHLVSP                                             $,GRQRWNQRZ
      2))9,'(2                                                      4'U$QGHUVRQLVDIRUPHUSUHVLGHQWRIWKH86
                                       3URIHVVLRQDO$VVRFLDWLRQIRU7UDQVJHQGHU+HDOWK
       :+(5(8321$6+257%5($.:$67$.(1                           ,VWKDWFRUUHFW"
                                       $7KDWLVFRUUHFW
     219,'(2                                                      4'U$QGHUVRQLVDIRUPHUERDUGPHPEHUIRUWKH
     9,'(2*5$3+(5:HDUHEDFNRQWKHUHFRUG       :RUOG3URIHVVLRQDO$VVRFLDWLRQIRU7UDQVJHQGHU+HDOWK
     WKHFXUUHQWWLPHUHDGVSP                             &RUUHFW"
     %<$77251(<%$5+$0                                           $, PQRWVXUH
     4$PRPHQWDJRZHZHUHGLVFXVVLQJ'U                  4%H\RQGWKHFRPPLWWHHDVVLJQPHQWVOLVWHGRQ
     (GZDUGV/HHSHUDQG\RXFRPPHQWHGWKDWVKHLVD                SDJHWZRRI\RXU&9KDYH\RXKHOGDQ\FRPPLWWHH
     FRPSOLFDWHGLQGLYLGXDO                                       DVVLJQPHQWVIRUWKH863$7+RU:3$7+2UJDQL]DWLRQV"
     :KDWGLG\RXPHDQE\WKDW"                           $1RWDGGLWLRQDOFRPPLWWHHDVVLJQPHQWVWKDQ:3$7+
     $:KDW,PHDQLVWKDWVKHKDVSXEOLVKHGVRPH           RU863$7+QR
     WKLQJVLQSRSXODUSUHVVWKDWKDYHOHGPHWREHWDONLQJ        4,QWKLVFRS\SXEOLVKHGLQWKH:DVKLQJWRQ3RVW
     DERXWKHUKHUH                                               'U(GZDUGV/HHSHUDQG'U$QGHUVRQVXPPDUL]HVD
     4$QGZRXOGRQHRIWKRVHEHWKHGRFXPHQWEHIRUH        VLWXDWLRQRID\HDUROGQDWDOJLUOZLWKQRSULRU
     \RX([KLELW"                                               KLVWRU\RIJHQGHUG\VSKRULD6RPHLVVXHVRIVH[XDO
     $7KDWLVFRUUHFW                                     DVVDXOWDQGGHSUHVVLRQDQGWKHQDQDEUXSWDQQRXQFHPHQW
     47KLVLVDQDUWLFOHSXEOLVKHGLQWKH:DVKLQJWRQ       RIWKLVFKLOGRIWUDQVJHQGHULGHQWLW\


                                                   3DJH                                                          3DJH
      3RVWE\'U(GZDUGV/HHSHUDQG'U$QGHUVRQ                   'RHVWKDWVXPPDUL]HWKHVFHQDULRWKH\RXWOLQH"
      ,VWKDWFRUUHFW"                                      $7KDWLVWKHVFHQDULRWKH\RXWOLQHG
      $7KDWLVFRUUHFW                                      $77251(<%/2&.2EMHFWLRQWRIRUP
      4:KDWLVLWDUHWKHUHDQ\RWKHUSXEOLFDWLRQV       %<$77251(<%$51+$0
      WKDW'U(GZDUGV/HHSHUKDVZULWWHQUHFHQWO\WKDWFDXVHG       4:KDWSHUFHQWRI\RXUSDWLHQWVILUVWSUHVHQWDVD
      \RXWRGHVFULEHKHUDVDFRPSOLFDWHGILJXUH"                   WHDPZLWKRXWDSULRUJHQGHUG\VSKRULDGLDJQRVLV"
      $1RQR                                               $:HOOILUVW,MXVWZDQWWRDGGUHVVWKHVFHQDULR
      46RMXVWWKLVRQHDUWLFOH                             ZLWK3DWULFLDWKLVLVDSRSXODUSUHVVDUWLFOHVR,
      ,VWKDWFRUUHFW"                                      KDYHQRLGHDLI3DWULFLDLVDUHDOSHUVRQRUDQDPDOJDP
     $<HV                                                 48QGHUVWRRG
     4$UH\RXIDPLOLDUZLWK'U$QGHUVRQ"                  $,KRSHLW VDQDPDOJDPEHFDXVHLWZRXOGEH
     $,DP                                                XQHWKLFDOWRQRWKDYHFRQVHQWWRSXEOLVKWKLVVWRU\
     46KHLVDFOLQLFDOSV\FKLDWULVW"                      :KHWKHURUQRWDFKLOGKDVDGLDJQRVLVRIJHQGHU
     $6KHLVDSV\FKRORJLVW                               G\VSKRULDEHIRUHWKH\FRPHWRVHHPHLVGHSHQGHQWXSRQ
     4$SV\FKRORJLVW$QG'U$QGHUVRQKDVEHHQ           LIWKH\ YHKDGSUHYLRXVHYDOXDWLRQVVRLW VGHSHQGHQW
     ZRUNLQJZLWKWUDQVJHQGHU\RXWKIRUDORQJWLPH               ,GRQ WKDYHDVSHFLILFQXPEHUIRU\RX
     ,VWKDWFRUUHFW"                                     4,QJHQHUDOKRZPDQ\RI\RXUSDWLHQWVILUVW
     $, PQRWDKXQGUHGSHUFHQWIDPLOLDUZLWK'U          SUHVHQWDVDWHDPYHUVXVILUVWSUHVHQWLQJDVDFKLOG"
     $QGHUVRQ VKLVWRU\,GRQ WNQRZ                             $7KDWLVYHU\GLIIHUHQWGHSHQGLQJXSRQZKLFK
     4:DVVKHLQWKHILHOGEHIRUH\RX"                     FLWHWKDW,ZDVSUDFWLFLQJDW6RLQ1HZ<RUN,VDZ
     $,GRQ WNQRZ                                        PRUHSUHSXEHUWDO\RXWKWKDQ,GRLQ&KLFDJR
     4'U$QGHUVRQLVDOVRDWUDQVJHQGHU                  46RLQ1HZ<RUNZKDWSHUFHQWRI\RXUSDWLHQWV
     ,VWKDWFRUUHFW"                                     ILUVWSUHVHQWHGDVDGROHVFHQWVYHUVXVFKLOGUHQ"
     $7KDWLVFRUUHFW                                     $,WKLQN,DQVZHUHGWKDWTXHVWLRQHDUOLHU,I,


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                                                    3DJH                                                          3DJH
      UHPHPEHULWZDVSHUFHQWRIWKHSHUFHQW                   VRUW"
      4$QGLQ&KLFDJRKRZPDQ\ZKDWSHUFHQWDJHRI         $6RLIZH UHWDONLQJDVVLJQHGIHPDOHVDWELUWK
      \RXUSDWLHQWVSUHVHQWDVDGROHVFHQWVYHUVXVDVWHHQ"            LVWKDWZKDW\RXPHDQ"
      $3UREDEO\SHUFHQWGXULQJDGROHVFHQFH                4<HV1DWDOIHPDOHV
      4$QGDUHWKRVHDOODGROHVFHQWVZKRILUVW                $%HWZHHQRQHRXWIRXUDQGRQHRXWRIHLJKW
      SUHVHQWHGDVDGROHVFHQWVRUGLGWKH\ILUVWSUHVHQWZLWK         DVVLJQHGIHPDOHVDWELUWKZKRGRQRWLGHQWLI\DV
      JHQGHUG\VSKRULDDVDFKLOG"                                    WUDQVJHQGHUKDYHH[SRVXUHWRVH[XDODVVDXOWDQGWUDXPDI
      $,W VDFRPELQDWLRQRIERWK                            VRPHNLQG:KDWZHNQRZIURPWKHOLWHUDWXUHLVWKDW
      46RRI\RXUDGROHVFHQWSDWLHQWVKRZPDQ\                UDWHVRIVH[XDODVVDXOWDQGVH[XDODEXVHRIWUDQVJHQGHU
     SUHVHQWHGILUVWDVDQDGROHVFHQWDQGKRZPDQ\SUHVHQWHG       \RXWKLVKLJKHUWKDQWKDWDQGP\SDWLHQWVDUHUHODWLYHO\
     DVDFKLOG"                                                    VLPLODUWRWKDWVRSUREDEO\LQWKHRUGHURIWR
     $,GRQ WKDYHWKDWLQIRUPDWLRQLQIURQWRIPH         SHUFHQW
     4'R\RXKDYHDJHQHUDOEDOOSDUNLGHD"                  4:KDWSROLFLHVGR\RXKDYHLQSODFHWRHQVXUH
     $1R,PHDQWKHTXHVWLRQ,JXHVVZKDW, P         DGHTXDWHFRXQVHOLQJDQGWKHUDS\IRUWKDWWUDXPDEHIRUH
     VWUXJJOLQJZLWKLVWKDWWKHUHDUHDORWRIDGROHVFHQWV         PDNLQJDQ\GHFLVLRQVUHJDUGLQJKRUPRQHV"
     ZKR,VHHZKRSUHVHQWHGWKHILUVWDVDGROHVFHQWEXW           $77251(<%/2&.2EMHFWLRQWRIRUP
     KDYHFOHDUV\PSWRPVRIJHQGHUG\VSKRULDJRLQJEDFNWR          7+(:,71(66$VVHVVLQJFRRFFXUULQJ
     FKLOGKRRG6R, PQRWVXUHKRZWRFKDUDFWHUL]HWKRVH          SV\FKLDWULFGLVRUGHUVRUVWUHVVRUVRUWUDXPDVLVDQ
     FKLOGUHQLQ\RXUTXHVWLRQ                                     LQKHUHQWSDUWRIDQ\DVVHVVPHQW
     4:KDWSHUFHQWRIWKHSDWLHQWVWKDWSUHVHQW             %<$77251(<%$5+$0
     WKHPVHOYHVWR\RXILUVWDVDQDGROHVFHQWDUHQDWDO             4%H\RQGMXVWLWEHLQJDQLQKHUHQWSDUWRIDQ\
     IHPDOH"                                                        DVVHVVPHQWGR\RXKDYHDQ\RWKHUSROLFLHVRUVWDQGDUGV
     $77251(<%/2&.2EMHFWLRQWR                   WKDW\RXXVHWRHQVXUHWKDWWKHWUDXPDLVDGGUHVVHG
     WHUPLQRORJ\                                                   EHIRUHPDNLQJGHFLVLRQVUHJDUGLQJKRUPRQHV"


                                                    3DJH                                                          3DJH
      7+(:,71(66,ZRXOGVD\LQWKHFOLQLF          $77251(<%/2&.2EMHFWLRQWRIRUP
      ZKHUH, PSUDFWLFLQJFXUUHQWO\FHUWDLQO\RYHUKDOIRI          7+(:,71(66,PHDQ,GRQ WKDYHD
      WKHFKLOGUHQSUHVHQWLQJLQDGROHVFHQFHIRUWKHILUVW            ZULWWHQGRZQSROLF\,QFRUSRUDWLQJXQGHUVWDQGLQJRI
      WLPHDUHDVVLJQHGIHPDOHDWELUWK                              WUDXPDLVDOZD\VJRLQJWREHDQLPSRUWDQWSDUWRIDQ\
      %<$77251(<%$5+$0                                             LQIRUPHGDVVHVVPHQWSULRUWRPRYLQJIRUZDUGZLWKDQ
      4$QGLQ1HZ<RUNZKDWSHUFHQWRIWKHSDWLHQWV          LQWHUYHQWLRQ
      WKDWSUHVHQWHGWR\RXILUVWDVDQDGROHVFHQWRUQDWDO           %<$77251(<%$5+$0
      IHPDOH"                                                         4'R\RXDJUHHRUGLVDJUHHWKDWEHIRUHSUHVFULELQJ
      $,Q1HZ<RUNLWZDVPRUHHYHQVSOLWEHWZHHQWKRVH       KRUPRQHVWRDWHHQJLUOZKRKDVVXIIHUHGVH[XDODEXVHRU
     DVVLJQHGIHPDOHDQGWKRVHDVVLJQHGPDOHDWELUWK              GHSUHVVLRQPHGLFDOSURIHVVLRQDOVKDYHDUHVSRQVLELOLW\
     4$QGKHUHZKHQ\RXVD\LW VPRUHWKDQSHUFHQW       WRFRQILUPWKDWWKHSDWLHQWKDVUHFHLYHGDWKRURXJK
     DUHZHWDONLQJSHUFHQWZH UHWDONLQJSHUFHQW           PHQWDOKHDOWKDVVHVVPHQWLQFOXGLQJLQYHVWLJDWLQJKRZ
     SHUFHQW"                                                    RWKHUPHQWDOKHDOWKLVVXHVDQGDQ\RWKHUFKDQJHVLQKHU
     $,GRQ WKDYHWKDWLQIRUPDWLRQLQIURQWRIPHVR      OLIHPLJKWEHFRQWULEXWLQJWRKHUGHVLUHDUHSHUFHLYHG
     ,FRXOGQ WWHOO\RXVSHFLILFDOO\,WZRXOGEHDJXHVV        WUDQVJHQGHULGHQWLILFDWLRQ"
     4'R\RXKDYHDUDQJH"                                  $77251(<%/2&.2EMHFWLRQWRIRUPDQG
     $,GRQ W,GRQ W0RUHWKDQLVWKHFORVHVW       WHUPLQRORJ\
     WKDW,FDQJHWULJKWQRZ                                      7+(:,71(666RIRUDQ\FKLOGUHJDUGOHVV
     40RUHWKDQSHUFHQW"                                 RIJHQGHUZKRZHDUHUHFRPPHQGLQJDPHGLFDORUVXUJLFDO
     $3UREDEO\QRWQR                                     LQWHUYHQWLRQZHDUHDVVHVVLQJIRUWKHSUHVHQFHRI
     46RVRPHZKHUHEHWZHHQDQG"                       JHQGHUG\VSKRULDWKHSUHVHQFHRIFRRFFXUULQJ
     $7KDW VDJRRGJXHVV                                  SV\FKLDWULFGLVRUGHUVDQGWKHLULPSDFWRQWKDWGLDJQRVLV
     4:KDWSURSRUWLRQRIWHHQJLUOVSUHVHQWLQJDW\RXU      RUWKHFDSDFLW\WRFRQVHQWWRWUHDWPHQWDQGDFOHDU
     FOLQLFKDYHVXIIHUHGVH[XDODVVDXOWRUDEXVHRIDQ\            XQGHUVWDQGLQJRIWKHULVNVEHQHILWVDQGDOWHUQDWLYHVRI


                                                                                          3DJHVWR
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                                                    3DJH                                                         3DJH
      ZKDWHYHUWKDWLQWHUYHQWLRQPD\EH                              SV\FKRORJLFDODVVHVVPHQWEHIRUHLQLWLDWLQJSXEHUW\
      %<$77251(<%$5+$0                                             EORFNHUVRUKRUPRQHV0\TXHVWLRQWR\RXLVLVWKDW
      46RWKHQDQGWKDWZRXOGLQFOXGHLQYHVWLJDWLQJ       \RXUSROLF\"
      KRZRWKHUPHQWDOKHDOWKLVVXHVDQGRWKHUFKDQJHVLQKHU         $77251(<%/2&.2EMHFWLRQWRIRUP
      OLIHPLJKWEHFRQWULEXWLQJWRKHUGHVLUHRUSHUFHLYHG           7+(:,71(66$JDLQ,FDQ WVSHDNWRWKH
      WUDQVJHQGHULGHQWLILFDWLRQ"                                     DFFXUDF\RI'U(GZDUGV/HHSHUDQG'U$QGHUVRQ V
      $7KDWLVFRUUHFW                                       GHVFULSWLRQRIDVWXG\WKDW,KDYHQ WVHHQ
      $77251(<%/2&.2EMHFWLRQWRWHUPLQRORJ\        %<$77251(<%$5+$0
      DQGSURQRXQV                                                   4, PQRWDVNLQJ\RXWR, PDVNLQJGR\RXKDYH
     %<$77251(<%$5+$0                                            LVLW\RXUSROLF\DW\RXUFOLQLFWKDW\RXGRQRW
     4'R\RXDJUHHRUGLVDJUHHWKDWWKHVWDQGDUGVRI        UHTXLUHSV\FKRORJLFDODVVHVVPHQWVEHIRUHLQLWLDWLQJ
     FDUHUHFRPPHQGPHQWDOVXSSRUWDQGFRPSUHKHQVLYH                SXEHUW\EORFNHUVIRUKRUPRQHV"
     DVVHVVPHQWIRUDOOG\VSKRULF\RXWKEHIRUHVWDUWLQJ             $:HUHTXLUHSV\FKRORJLFDODVVHVVPHQWVSULRUWR
     PHGLFDOLQWHUYHQWLRQV"                                         LQLWLDWLRQ\HV
     $,ZRXOGDJUHHWKDWWKHFXUUHQWUHFRPPHQGDWLRQV       $77251(<75<217UDYLVLW V'DYH7U\RQ
     ZKLFKDUHLQWKHSURFHVVRIEHLQJXSGDWHGUHFRPPHQGWKDW       <RXUHIHUUHGWRWKLVDV7DE,EHOLHYH\RXPHDQ
     DPHQWDOKHDOWKDVVHVVPHQWEHLQSODFH$QGLW VQRWD        ([KLELW,VWKDWULJKW"
     PDQGDWHWKDWSV\FKRWKHUDS\LVDUHTXLUHPHQWSULRUWR           $77251(<%$5+$0,W VERWK([KLELW
     LQLWLDWLRQRIPHGLFDOFDUHIRUJHQGHUG\VSKRULDDQGLW        DQG7DE
     LVQRWLQGLFDWHGIRUHYHU\SDWLHQW                            %<$77251(<%$5+$0
     4$QGWKDW VSDUWO\EHFDXVHWKHVWDQGDUGVRIFDUH       4:KHQSDWLHQWVFRPHWR\RXUHIHUUHGE\D
     DUHJXLGHOLQHVQRWPDQGDWHV                                   SHGLDWULFLDQRUFRXQVHORUZLWKQRH[SHUWLVHLQJHQGHU
     &RUUHFW"                                              G\VSKRULDDVVHVVPHQWRUGLDJQRVLVZKDWSROLFLHVGR\RX
     $,W VPRVWO\EHFDXVHRIWKHLQGLFDWLRQVIRUWKH        KDYHWRHQVXUHWKDWWKHSDWLHQWVUHFHLYHIXOODQG


                                                    3DJH                                                         3DJH
      SDWLHQW VEHVWLQWHUHVWWKDWSV\FKRWKHUDS\LVQRWD             DGHTXDWHFRXUVHRIPHQWDOKHDOWKFDUHEHIRUHSUHVFULELQJ
      UHTXLUHPHQWIRUIRONVZKRDUHRWKHUZLVHGRLQJZHOO             OLIHDOWHULQJKRUPRQHV"
      4%XWLW VDOVRWUXHWKDWWKHVWDQGDUGVRIFDUH          $77251(<%/2&.2EMHFWLRQWRIRUP
      DUHJXLGHOLQHVQRWPDQGDWHV                                    7+(:,71(66$VDPHQWDOKHDOWK
      &RUUHFW"                                               SURIHVVLRQDO, PQRWWKHSHUVRQZKRLVSUHVFULELQJWKRVH
      $7KDWLVFRUUHFW7KH\DUHJXLGHOLQHV                 WUHDWPHQWV
      42QSDJHWZRRIWKLVDUWLFOHWKHDXWKRULV          %<$77251(<%$5+$0
      DQGE\WKLVDUWLFOH, PUHIHUULQJWRWDE7KHDXWKRU        4%HIRUH\RXUHFRPPHQGVRPHRQHIRUHOLJLELOLW\IRU
      KDVLQGLFDWHGWKDWDVWXG\RIWHQSHGLDWULFJHQGHU              OLIHDOWHULQJKRUPRQHV"
     FOLQLFVLQ&DQDGDIRXQGWKDWKDOIGRQRWUHTXLUH               $77251(<%/2&.2EMHFWLRQWRIRUP
     SV\FKRORJLFDODVVHVVPHQWEHIRUHLQLWLDWLQJSXEHUW\             7+(:,71(663ULRUWRPDNLQJD
     EORFNHUVRUKRUPRQHV                                          UHFRPPHQGDWLRQRIKRUPRQHLQLWLDWLRQ, PGRLQJP\RZQ
     ,VWKDW\RXUSROLF\"                                  DVVHVVPHQWDQGHQVXULQJWKDWWKRVHVWDQGDUGVDUHPHW
     $:KHUHLVWKLVLQWKHDUWLFOH",GRQ WVHHLW        %<$77251(<%$5+$0
     47KHERWWRPRISDJHWZR"                               46REH\RQG\RXURZQDVVHVVPHQWVGR\RXKDYHDQ\
     $:KDW,ZDQWWRHPSKDVL]HLVWKLVLVDQRSWHG         SROLFLHVWKDWJXLGHWKDWSURFHVV"
     DQGDSRSXODUSUHVVRXWOHWDQGQRWDVWXG\6R,KDYH         $2XUFOLQLFKDVLWVRZQSROLFLHVGHSHQGHQWXSRQ
     QRLGHDZKHUHWKH\JDWKHUHGWKHLULQIRUPDWLRQDERXWWKLV       FOLQLFDOSUDFWLFHRUZKHWKHURUQRWSDWLHQWVDUH
     RUWKHDFFXUDF\RIWKHVWDWHPHQWQRUGR,NQRZZKDWWKH       HQUROOHGLQDSDUWLFXODUWULDOEXWLWLVWKHVWDQGDUG
     DXWKRUVPHDQWE\DSV\FKRORJLFDODVVHVVPHQW                   RIFDUHDVODLGRXWE\ERWK(QGRFULQH6RFLHW\DQG:3$7+
     4,XQGHUVWDQG,GLGQRWPHDQWRLPSO\WKDW          WKDWDGROHVFHQWSDWLHQWVKDYHDSV\FKRORJLFDO
     WKLVDUWLFOH([KLELWWDSLVDVWXG\,ZDV             DVVHVVPHQW7KHUH VDORWRIODWLWXGHIRUZKDWWKDW
     PHUHO\TXRWLQJWKHDXWKRUVWKDWDVWXG\RIWHQ                DFWXDOO\PHDQV
     SHGLDWULFJHQGHUFOLQLFVIRXQGWKDWKDOIGRQRWUHTXLUH        4$QGRQSDJHWKUHHRIWKLVGRFXPHQW([KLELW


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                                                    3DJH                                                          3DJH
      WKHERWWRPRIWKHILUVWSDUDJUDSKWKHDXWKRUVZULWHDVD        $,UHDOO\GRQ WPHDQWRSDUVHWKLVEXW,GRQ W
      UHVXOWZHPD\EHKDUPLQJVRPHRIWKH\RXQJSHRSOHZH            NQRZZKDW'U(GZDUGV/HHSHURU'U$QGHUVRQ VFRQFHUQV
      VWULYHWRVXSSRUWSHRSOHZKRPD\QRWEHSUHSDUHGIRU           DUHEXWWKHHYLGHQFHWKDWZHKDYHIURPWKHOLWHUDWXUH
      WKHJHQGHUWUDQVLWLRQVWKH\DUHEHLQJUXVKHGLQWR              DQGIURPRXUFOLQLFDOH[SHULHQFHLVWKDWWKLVLVQRWD
      'R\RXVKDUHWKHFRQFHUQRIWKHVHDXWKRUV"             EURDGH[SHULHQFHRIPRVWFKLOGUHQ
      $,GRQ WKDYHQXPEHUVRQP\HQG:KLFKZKHUH       4$QGZKDWOLWHUDWXUHDUH\RXUHIHUHQFLQJZKHQ
      LVLW"                                                          \RXVD\ZHUHIHUHQFHGWKHOLWHUDWXUH"
      4 ,QGLFDWLQJ                                           $, PUHIHUHQFLQJWKHOLWHUDWXUHWKDW,FLWHGLQ
      $*RWLW&DQ\RXUHSHDWWKHTXHVWLRQ"6RUU\          P\UHSRUW
     47KHDXWKRUVH[SUHVVFRQFHUQWKDWZHPD\EH        4$QGZKLFKVSHFLILFSRUWLRQVRI\RXUUHSRUWDUH
     TXRWHZHPD\EHKDUPLQJVRPHRIWKH\RXQJSHRSOHZH           \RXUHIHUHQFLQJ"
     VWULYHWRVXSSRUWSHRSOHZKRPD\QRWEHSUHSDUHGIRU          $/HWPHMXVWWDNHDPRPHQW:KDW, PUHIHUHQFLQJ
     WKHJHQGHUWUDQVLWLRQVWKH\DUHEHLQJUXVKHGLQWR             LVWKHORQJLWXGLQDOVWXGLHVLQSDUWLFXODUWKDWKDYH
     'R\RXVKDUHWKHDXWKRU VFRQFHUQ"                    IROORZHGWKHVHNLGVRYHUWLPH
     $,GRQRW7KHVHDUHWHVWHGK\SRWKHVHVWKDWFDQ       4$QGZKLFKRQHVZRXOGWKRVHEHLQ\RXUUHSRUW"
     EHUHVHDUFKHGDQGWKLVLVQRWZKDWWKLVLV                   $5HDOO\DQ\WKLQJIURPWKH'XWFKFOLQLFLVJRLQJ
     4<RXVDLG\RXKDYHQRFRQFHUQWKDWSHRSOHDUH          WRKDYHDORQJLWXGLQDOIRFXVWRWKHPEXW,WKLQNZKDW V
     EHLQJUXVKHGLQWRJHQGHUWUDQVLWLRQV"                          PRUHLPSRUWDQWLVWKDWLQDOORIWKHVHVWXGLHVZKLFK
     $7KLVLVDVXSSRVLWLRQE\WKHVHWZRDXWKRUVWKDW       LQFOXGHVRPHRIWKH'XWFKVWXGLHVERWKLQFKLOGKRRGDQG
     SHRSOHDUHEHLQJUXVKHGLQWRJHQGHUWUDQVLWLRQ, PQRW       DGXOWVWKDWKDYHORRNHGDWUHJUHWUDWHVRUGHWUDQVLWLRQ
     VXUHZKDWWKDWPHDQVDQGWKDWKDVQRWEHHQWKHFOLQLFDO       KDYHVKRZQWKDWWKLVLVDYHU\LQIUHTXHQWRFFXUUHQFH
     H[SHULHQFHWKDW, YHKDGQRUZKDWWKHJXLGHOLQHV               DQGWKHUHKDVEHHQQRWKLQJ, YHUHDGZLWKLQWKH
     UHFRPPHQG                                                     VFLHQWLILFOLWHUDWXUHWKDWLQDQ\ZD\WULHVWR
     46R\RXZHUHQRWDZDUHRISHRSOHEHLQJUXVKHG          RSHUDWLRQDOL]HWKLVLGHDRIFKLOGUHQEHLQJIRUFHGLQWR


                                                    3DJH                                                          3DJH
      LQWRWUDQVLWLRQVWKDWWKH\DUHQRWUHDG\IRU"                   RUSUHVVXUHGLQWRWUDQVLWLRQ
      $7KDWKDVQRWEHHQP\H[SHULHQFHQR                   4:KDWVWHSVGR\RXWDNHWRHQVXUHWKDWJHQGHU
      42QSDJHIRXUWRZDUGVWKHERWWRPRIWKHSDJHWKH       G\VSKRULDWKHFKLOG VWKHFKLOG VRUWHHQ VJHQGHU
      DXWKRUVUHIHUHQFHDUHFHQWVWXG\RIGHWUDQVLWLRQHUV        G\VSKRULDZDVQRWFDXVHGE\VRPHWKLQJVSHFLILFVXFKDV
      SHUFHQWRIZKRPUHSRUWHGWKDWWKH\EHOLHYHWKHLU             WUDXPDDEXVHRUPHQWDOKHDOWKFRQGLWLRQEHIRUH
      RULJLQDOG\VSKRULDKDGEHHQFDXVHGE\VRPHWKLQJVSHFLILF        UHFRPPHQGLQJVRPHRQHIRUSXEHUW\EORFNLQJRUFURVVVH[
      VXFKDVWUDXPDDEXVHRUPHQWDOKHDOWKFRQGLWLRQ               KRUPRQHV"
      )LIW\ILYH  SHUFHQWRIZKRPVDLGWKH\GLGQRW               $77251(<%/2&.2EMHFWLRQWRIRUP
      UHFHLYHDGHTXDWHHYDOXDWLRQIURPD'U2UPHQWDOKHDOWK         7+(:,71(66,SHUIRUPDWKRURXJK
     SURIHVVLRQDOEHIRUHVWDUWLQJWUDQVLWLRQ                       HYDOXDWLRQ
     $UH\RXDZDUHRIWKDWVWXG\WKDWDXWKRUV                %<$77251(<%$5+$0
     UHIHUHQFHKHUH"                                                4$Q\WKLQJEH\RQGWKHWKRURXJKHYDOXDWLRQ"
     $77251(<%/2&.2EMHFWWRIRUP                $$YHU\WKRURXJKHYDOXDWLRQ,WLQYROYHV
     7+(:,71(66,DP, PDVVXPLQJ            PXOWLSOHVWHSVDV,GHVFULEHGHDUOLHU
     EHFDXVH,WKLQNWKH\KDYHDIRRWQRWHLQKHUHVRPHZKHUH        46RWKLVFRPSUHKHQVLYHWKHDXWKRUVDFWXDOO\
     EXWLWLVQRWLQWKLVSDUWLFXODUDUWLFOHEXWWKH\DUH         WDONDERXWDFRPSUHKHQVLYHDVVHVVPHQWRQSDJHWKUHHRI
     UHFHLYLQJWRWKHUHFHQW/LWWPDQVWXG\                     WKHLUDUWLFOH$QGWKH\LQGLFDWHWKDWFRPSUHKHQVLYH
     GHWUDQVLWLRQHUV                                               DVVHVVPHQWDQGJHQGHUH[SORUDWRU\WKHUDS\KHOSV
     %<$77251(<%$5+$0                                            TXRWHKHOSVD\RXQJSHUVRQSHHOEDFNWKHOD\HUVRI
     4'R\RXVKDUHWKHFRQFHUQWKDWVRPHKDYHEHHQ          WKHLUGHYHORSLQJDGROHVFHQWLGHQWLW\DQGH[DPLQHV
     PLVGLDJQRVHGDVWUDQVJHQGHUZKHQWKHLUJHQGHUG\VSKRULD        IDFWRUVWKDWFRQWULEXWHWRWKHLUG\VSKRULD$QGWKRVH
     ZDVLQIDFWQRWLQQDWHEXWFDXVHE\VRPHWKLQJ               LQFOXGHVRZKDWVWHSVGLG\RXWDNHWRLGHQWLI\WKH
     VSHFLILFVXFKDVWUDXPDDEXVHRUPHQWDOKHDOWK               IDFWRUVWKDWPD\FRQWULEXWHWRDFKLOG VRUWHHQ VVHQVH
     FRQGLWLRQ"                                                     RIG\VSKRULD"



                                                                                          3DJHVWR
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                                                    3DJH                                                          3DJH
      $77251(<%/2&.2EMHFWLRQWRIRUP              WKHLULGHQWLWLHVWKDWLVDVKDUHGFKDUDFWHULVWLFRIVRPH
      7+(:,71(66,WLVDWKRURXJKDVVHVVPHQW        RIWKHSDWLHQWVWKDW,KDYHVHHQ
      DQGWKHUHDUHPXOWLSOHIDFWRUVZLWKLQWKDWDVVHVVPHQW           %<$77251(<%$5+$0
      WKDWVSHDNWRWKRVHFRQFHUQVVSHFLILFDOO\                      46R\RXKDYHQRWRQO\WZRIDFWRUVWKDWFRXOG
      %<$77251(<%$5+$0                                             FRQWULEXWHWRDFKLOG VWUDQVJHQGHULGHQWLILFDWLRQ
      4$QGZKDWDUHWKRVHPXOWLSOHIDFWRUV"                   RWKHUWKDQ"
      $8QGHUVWDQGLQJGHYHORSPHQWDOKLVWRU\JHWWLQJ           $&DQ,VWRS\RXVLU", PQRWLGHQWLI\LQJWKDW
      PXOWLSOHSHUIRUPDQFHGRLQJWKHGLDJQRVWLFDVVHVVPHQWRI        DVDFDXVHRUDFDXVDOIDFWRULQDFRUHJHQGHULGHQWLW\
      DQ\FRRFFXUULQJPHQWDOKHDOWKFRQGLWLRQVDQGHQVXULQJ          ,WLVWKHXQGHUVWDQGLQJDQGH[SUHVVLRQRIWKDWLGHQWLW\
     WKDWWKRVHDUHDGHTXDWHO\H[SORUHGDQGXQGHUVWRRG             WKDWRIWHQFKDQJHV
     4:KDWIDFWRUVLQDWUDQVJHQGHULGHQWLW\GR\RX         42ND\
     LGHQWLI\DVPRVWRIWHQFRQWULEXWLQJWRJHQGHUG\VSKRULD"       $QGWKDWLVZK\,ZDVWU\LQJWRWDONDERXW
     $77251(<%/2&.2EMHFWLRQWRIRUP             WUDQVJHQGHULGHQWLILFDWLRQPRUHEURDGO\%XW\RX YH
     7+(:,71(66,WKLQNLW VFRPSOLFDWHGWR       LGHQWLILHGWZRIDFWRUVWKDWFRQWULEXWHWRWKDWQRW
     DQVZHUWKDWLQDVKRUWZD\EHFDXVHQRWHYHU\FKLOGZKR        QHFHVVDULO\FDXVDOEXWFRQWULEXWH$UHWKHUHDQ\RWKHUV
     LGHQWLILHVDVWUDQVJHQGHUZRXOGPHHWGLDJQRVWLFFULWHULD       WKDW\RXKDYHLGHQWLILHGDVPRVWRIWHQFRQWULEXWLQJ
     IRUJHQGHUG\VSKRULD$QGVSHFLILFDOO\LIZHDJUHHG          DV"
     ZLWKWKHSUHPLVHWKDWWKHJHQGHUG\VSKRULDLVEHLQJ            $1RWWKDW,KDYHVHHQ
     FDXVHGE\WUDXPDWKDW VVSHFLILFDOO\DUXOHRXWRIWKH         47KHDXWKRUVRQSDJHWKUHHH[SUHVVDFRQFHUQ
     GLDJQRVLVRIJHQGHUG\VSKRULD6RWKDWLVSDUWRIZKDW        DERXWRWKHULQIOXHQFHVWKDWSDWLHQWVFDQEHVXEMHFWHG
     ZH UHGRLQJLQDQDVVHVVPHQWLVWRXQGHUVWDQGWKHUROH         WRVRDVLQWKHVHDVVHVVPHQWVSDWLHQWVUHIOHFWRQWKH
     RIRWKHUSRWHQWLDOIDFWRUVLQKHOSLQJDNLGH[SORUHDQG        GXUDWLRQRIWKHG\VSKRULDWKH\IHHOWKH\FRQWLQXHD
     XQGHUVWDQGWKHLULGHQWLW\                                     JHQGHUWKHLQWHUVHFWLRQRIVH[XDORULHQWDWLRQHW
     %<$77251(<%$5+$0                                            FHWHUDVRFLDOPHGLDLQWHUQHWDQGSHHULQIOXHQFHV


                                                    3DJH                                                          3DJH
      47KHQDOORZPHWRFODULI\WKHTXHVWLRQ:KDW           'R\RXVKDUHFRQFHUQVWKDWWHHQVPD\EHPLVOHGE\
      IDFWRUVRWKHUWKDQDQLQQDWHWUDQVJHQGHULGHQWLW\GR\RX        7LN7RNRURWKHUVRFLDOPHGLDWRVHOIGLDJQRVHDV
      LGHQWLI\DVPRVWRIWHQFRQWULEXWLQJWRDFKLOG V                WUDQVJHQGHUZKHQLQIDFWRWKHUIDFWRUVKDYHGULYHQ
      WUDQVJHQGHULGHQWLILFDWLRQ"                                     WKHLUJHQGHUG\VSKRULDRUWKHLUWUDQVJHQGHU
      $77251(<%/2&.2EMHFWLRQWRIRUP              LGHQWLILFDWLRQ"
      7+(:,71(667KHFKLOGUHQWKDW,KDYH           $77251(<%/2&.2EMHFWLRQWRIRUP
      WUHDWHGRYHUP\\HDUVRIGRLQJWKLVZRUNWKDWGHVFULEHD        7+(:,71(667RFODULI\WUDQVJHQGHU
      JHQGHULGHQWLW\WKDWLVLQFRQVLVWHQWZKRGRQ W                  LVQ WDGLDJQRVLVVR, PQRWFRQFHUQHGDERXWWKDW
      XOWLPDWHO\PHHWWKHFULWHULDIRUJHQGHUG\VSKRULDDUH           VSHFLILFDOO\$QG,WKLQNWKDW VWKHVWXG\RIDOO
     RIWHQFKLOGUHQZKRKDYHEHHQVXEMHFWHGWRPXOWLSOHW\SHV       SKHQRPHQRQZKHWKHURUQRWWKLVLVRFFXUULQJEXWDJDLQ
     RIWUDXPD7KDWZRXOGEHRQHRIWKHIDFWRUV                  DVDSDUWRIDFRPSUHKHQVLYHJHQGHUDVVHVVPHQWZHDUH
     %<$77251(<%$5+$0                                            ORRNLQJDWPXOWLSOHIDFWRUVEH\RQGDFKLOG V
     4:KDWRWKHURQHVZRXOG\RXLGHQWLI\"                   VHOIUHSRUW
     $7KHRWKHUIDFWRUVDUHDURXQGSDUHQWDOFRQIOLFWV      %<$77251(<%$5+$0
     7KDW VSUREDEO\WKHRWKHUODUJHFRKRUWRINLGVZKHQ            46RGR\RXVKDUHFRQFHUQVWKDWWHHQVPD\EH
     H[SORUDWLRQLVWKHIXOOFRPHDURXQGZKLFKSDUHQWV             PLVOHGE\VRFLDOPHGLDWRVHOIGHFODUHDVWUDQVJHQGHU
     SDUWLFXODUO\GLYRUFLQJSDUHQWVDUHDFWLQJLQFRQIOLFW        ZKHQLQIDFWRWKHUIDFWRUVKDYHGULYHQWKHLUJHQGHU
     46RE\WKDW\RXPHDQIRUH[DPSOHRQHSDUHQW           G\VSKRULD"
     VXSSRUWLQJDQDIILUPDWLRQDSSURDFKDQGWKHRWKHUUDLVLQJ       $77251(<%/2&.2EMHFWLRQ
     FRQFHUQVDERXWSURFHHGLQJLQWKDWGLUHFWLRQ"                   7+(:,71(66,ZRXOGQRWFKDUDFWHUL]HLW
     $77251(<%/2&.2EMHFWLRQWRIRUP             LQWKDWZD\
     7+(:,71(667KDW VQRWDQLQIUHTXHQW          %<$77251(<%$5+$0
     RFFXUUHQFHDQGWKLVLVDYHU\UDUHRXWFRPHWRWKDWEXW        4+RZZRXOG\RXFKDUDFWHUL]HLW"
     LQWKDWFRKRUWRISDWLHQWVZKRGHVLVW,ZRXOGVD\LQ          $,ZRXOGFKDUDFWHUL]HLWE\WDNLQJH[SORUDWLRQRI


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                                                    3DJH                                                          3DJH
      DQLGHQWLW\YLD7LN7RNIRUZKDWLWLVDVDQRUPDO              $,WKLQNRQHRIWKHOLPLWDWLRQVRIDQ
      SURFHVVRIDGROHVFHQWGHYHORSPHQWDQGKDYLQJDFKLOGZKR        LQWHUQDWLRQDOGRFXPHQWLVWKDWWKHUHLVQRWJRLQJWREH
      VHOILGHQWLILHVDVWUDQVJHQGHUDVDUHVXOWRIVHHLQJD          WKDWOHYHORIVSHFLILFLW\EHFDXVHFRQVHQWODZVDUHJRLQJ
      YLGHRRQ7LN7RNLVQRWJRLQJWREHWKHFKLOGZKRPHHWV          WREHGLIIHUHQWIURPVWDWHWRVWDWHQRWWRPHQWLRQ
      WKHW\SLFDOSKHQRPHQRORJ\WKDWZHZRXOGVHHZLWKJHQGHU         FRXQWU\WRFRXQWU\
      G\VSKRULD7KDWLVSDUWRIWKHDVVHVVPHQWWKDWZHDUH          42ND\
      HYDOXDWLQJ                                                     2QSDJHWZR, PVRUU\RQSDJHWKUHH
      42ND\                                                  OHWPHFODULI\DJDLQ, PVRUU\,FRQIXVHGP\VHOI2Q
      6RWKHQLQJHQHUDO\RXGRQ WDJUHHZLWKWKH           SDJHWZRWKHDXWKRUVZULWHWKDWDIWHUH[SORULQJZKRVKH
     FRQFHUQVWKDWWKHDXWKRUVUDLVHUHJDUGLQJWKHLQIOXHQFH        ZDVDIWHUD\HDURIH[SORULQJZKRVKHZDV3DWULFLD
     RIVRFLDOPHGLDLQWHUQHWDQGSHHULQIOXHQFHV                 QRORQJHUIHOWVKHZDVDER\VKHGHFLGHGWRVWRS
     &RUUHFW"                                              ELQGLQJKHUEUHDVWVDQGZHDULQJER\VFORWKHV
     $,ZRXOGVD\LW VDPDWWHURIGHJUHH,GRQ W         :KDWSURSRUWLRQRIWKRVHZKRSUHVHQWDW\RXU
     WKLQNVRFLDOPHGLDKDVEHHQDSDUWLFXODUO\KHDOWK\WKLQJ       FOLQLFFKDQJHWKHLUPLQGVDQGGHFLGHGWRUHPDLQZLWKRU
     IRUNLGVLQJHQHUDODQGXQGHUVWDQGLQJKRZLWLPSDFWV          UHWXUQWRWKHJHQGHULGHQWLW\RIWKHLUQDWDOVH[EHIRUH
     NLGVLVVRPHWKLQJWKDWZHDOOQHHGWREHOHDUQLQJPRUH         XQGHUJRLQJDQ\KRUPRQDOWUHDWPHQWV"
     DERXW                                                         $77251(<%/2&.2EMHFWLRQWRIRUP
     4,QWKHODVWSDUDJUDSKRQSDJHWKUHHWKHDXWKRUV      7+(:,71(66, PRQHSUDFWLWLRQHULQP\
     WDONDERXWKRZWKH:3$7+UHFRPPHQGVFROODERUDWLYH              FOLQLFVR,GRQ WKDYHWKHGDWDRQHYHU\ERG\$QG,
     DSSURDFKWKDWLQYROYHVSDUHQWVDQGWDNHLQWRDFFRXQWWKH       WKLQNDORWRIWKDWLVJRLQJWRGHSHQGXSRQWKH
     FRPSOH[LWLHVRIDGROHVFHQWV                                   SRSXODWLRQWKDW\RXDUHVHHLQJ
     'R\RXVHHWKDW"                                      %<$77251(<%$5+$0
     $<HV                                                  4:KDWSURSRUWLRQRI\RXUSDWLHQWVWKHQFKDQJHG
     4'R\RXXQGHUVWDQGWKH:3$7+VWDQGDUGVRIFDUH         WKHLUPLQGDQGGHFLGHWRUHPDLQRUUHWXUQWRWKHJHQGHU


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      IRUDGROHVFHQWVWRFDOOIRUDFROODERUDWLYHDSSURDFK            LGHQWLW\RIWKHLUQDWDOVH[EHIRUHXQGHUJRLQJDQ\
      WKDWLQYROYHVERWKSDUHQWVZKHQHYHUSRVVLEOH"                   KRUPRQDOWUHDWPHQWV"
      $7KHUHLVQRWDVSHFLILFFDOORXWZLWKLQWKH            $77251(<%/2&.2EMHFWLRQWRIRUP
      VWDQGDUGVRIFDUHIRUP\UHFROOHFWLRQWKDWVD\ERWK             7+(:,71(66,ZRXOGVD\DPLQRULW\RI
      SDUHQWVQHHGEHLQYROYHGEXWWKDW VFHUWDLQO\LPSOLHG          SDWLHQWV
      DQGLVWKHJHQHUDOSUDFWLFHWRLQFOXGHDOOSDUHQWVRU           %<$77251(<%$5+$0
      DOOIDPLO\PHPEHUVZKRDUHLQYROYHGLQWKHFKLOG VOLIH         4'R\RXKDYHDUDQJH"
      ZKRPHYHULVJRLQJWRQHHGWREHLQWKHURRPLQRUGHUWR         $,GRQ W,WKLQNZKHQ\RXZHUHDVNLQJWKRVH
      ERWKJHWDFOHDUXQGHUVWDQGLQJRIZKDW VJRLQJRQDV            TXHVWLRQVDWWKHEHJLQQLQJDERXWP\WUDQVJHQGHU
     ZHOODVPDNHVXUHWKHFKLOGJHWVWKHDGHTXDWHVXSSRUWWR       SDWLHQWVLQWKDWFRKRUWDQG,WKLQNSHUFHQWSXUVXHG
     EHDEOHWRWKULYH                                             VRPHWKLQJVEXWEHLQJWKDWSHUFHQWWKDWGLGQ W
     46RLVLW\RXUXQGHUVWDQGLQJWKDWWKH:3$7+            6RPHZKHUHLQWKHUH
     VWDQGDUGVRIFDUHZRXOGDOORZWUHDWPHQWWRSURFHHGEDVHG       42QSDJHILYHRIWKLVGRFXPHQWWKHODVWSDJHWKH
     RQWKHFRQVHQWRIRQHSDUHQW"                                  DXWKRUVUHSRUWDULVLQJDQXPEHURIGHWUDQVLWLRQHUVWKDW
     $$VZHWDONHGDERXWHDUOLHUWKHVHDUHJXLGHOLQHV      FOLQLFLDQVUHSRUWVHHLQJ$UH\RXDZDUHRIWKLVULVLQJ
     DQGQRWPDQGDWHV,QSUDFWLFHZLWKLQWKH8QLWHG6WDWHV        QXPEHURIGHWUDQVLWLRQHUV"
     DOPRVWDOOFRQVHQWSURFHVVHVIRUSXEHUW\VXSSUHVVLRQDQG       $77251(<%/2&.2EMHFWLRQWRIRUP
     KRUPRQHVJRWKURXJKDWZRSDUHQWFRQVHQWSURFHVV               7+(:,71(66, PDZDUHWKDWWKHVHWZR
     ZKHQHYHUSRVVLEOHHYHQWKRXJKWKDWLVQRWDUHTXLUHPHQW       DXWKRUVDUHUDLVLQJWKDWLW VDSRVVLELOLW\,WLVQRW
     RIWKHODZ                                                    VRPHWKLQJWKDW, YHVHHQSXEOLVKHGLQWKHOLWHUDWXUH
     4:KDW, PWU\LQJWRJHWWRLVZKDWLVWKH              %<$77251(<%$5+$0
     UHTXLUHPHQWVRIWKHJXLGHOLQHVUHFRJQL]LQJWKDWWKH           4+DYH\RXVHHQDULVLQJQXPEHURIGHWUDQVLWLRQHUV
     JXLGHOLQHVDUHQRWPDQGDWRU\EXWGRWKHJXLGHOLQHV            DW\RXUFOLQLF"
     DOORZIRUWUHDWPHQWEDVHGRQWKHFRQVHQWRIRQHSDUHQW"        $,WKLQNWKHTXHVWLRQLVZKHWKHURUQRWWKH


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                                                    3DJH                                                          3DJH
      SHUFHQWDJHLVFKDQJLQJDQGWKDW VQRWDQDQVZHUZHNQRZ        PRPHQW,ZDQWWRXQGHUVWDQGKRZWREHVWPHHWWKHLU
      ,WKLQNE\GHILQLWLRQWKHPRUHSHRSOH\RXVHHWKHPRUH          QHHGV6RDQ\WKLQJWKDWLVJRLQJWRLQWHUIHUHZLWKPH
      IRONVWKHGHWUDQVLWLRQ\RX UHJRLQJWRVHH$QGWKH        EHLQJDEOHWRXQGHUVWDQGWKDWLVJRLQJWREHDSUREOHP
      GLIIHUHQFHRIFKLOGUHQZKRKDGDFFHVVWRJHQGHUFDUHQRZ        IRUPH
      FRPSDUHGWRDGHFDGHDJRLVMXVWRUGHUVRIPDJQLWXGH            $77251(<%$5+$0, PJRLQJWRVKRZ\RX
      GLIIHUHQW%XW,GRQ WNQRZRUWKHUHKDVQRWEHHQDQ\          ZKDWZHZLOOPDUNDV([KLELW7KLVLVDOVR7DE
      HYLGHQFHWKDW, YHVHHQWKDWWKHSHUFHQWDJHRINLGVZKR         
      GHWUDQVLWLRQLVDQ\GLIIHUHQWQRZWKDQLWZDVDGHFDGH           :KHUHXSRQ([KLELW,QWHUYLHZE\/LVD
      DJR                                                            6HOLQ'DYLVZDVPDUNHGIRU
     4$IHZSDUDJUDSKVDERYHZKDWZHZHUHMXVWORRNLQJ      LGHQWLILFDWLRQ
     DWLWVD\VRQO\DTXDUWHURIWKHVHLQGLYLGXDOVWROG           
     WKHLUGRFWRUVWKH\KDGUHYHUVHGWKHLUWUDQVLWLRQVPDNLQJ       %<$77251(<%$5+$0
     WKLVSRSXODWLRQHVSHFLDOO\KDUGWRWUDFN:RXOG\RX           47KLVLVDQLQWHUYLHZZULWWHQXSE\/LVD6HOLQ
     DJUHHWKDWWKLVSRSXODWLRQLVGLIILFXOWWRWUDFN"              'DYLVRI4XLOOHWWHHQWLWOHG7UDQV3LRQHHU([SODLQVKHU
     $77251(<%/2&.2EMHFWLRQWRIRUP             5HVLJQDWLRQIURPWKH863URIHVVLRQDO$VVRFLDWLRQIRU
     7+(:,71(66$JDLQWKLVLVQRWDVWXG\       7UDQVJHQGHU+HDOWKSXEOLVKHGDWWKHEHJLQQLQJRI
     DQGVRLW VKDUGWRNLQGRIPDNHDSURQRXQFHPHQWDERXWD       $UH\RXIDPLOLDUZLWKWKLVDUWLFOH"
     SRSXODWLRQZLWKRXWDGHILQHGXQGHUVWDQGLQJRIZKDWWKDW        $,DPQRW
     SRSXODWLRQDFWXDOO\LV2XUIRONVZKRGRQ WWDONWR           4, PJRLQJWRGLUHFW\RXUDWWHQWLRQWR
     WKHLUPHGLFDOSURIHVVLRQDOVDERXWGLVVDWLVIDFWLRQLQ           SDJHWKUHH7KLVLVDQLQWHUYLHZZLWK'U$QGHUVRQWKH
     WKHLUFDUHDGLIILFXOWSRSXODWLRQWRWUHDW,WKLQN          VDPHLQGLYLGXDOZKRLVDFRDXWKRURIWKH:DVKLQJWRQ
     SUREDEO\E\GHILQLWLRQWKDWLVWUXH                           3RVWDUWLFOHZHZHUHMXVWGLVFXVVLQJ
     %<$77251(<%$5+$0                                            &RUUHFW"
     4$QGWREHFOHDU,ZDVQ WDVNLQJLIWKH\ UH           $7KDWLVFRUUHFW


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      GLIILFXOWWRWUHDW,ZDVMXVWDVNLQJZRXOG\RXDJUHH           42QSDJHWKUHH'U$QGHUVRQVWDWHVWKHGDWDDUH
      WKH\ UHGLIILFXOWWRWUDFN"                                     YHU\FOHDUWKDWDGROHVFHQWJLUOVDUHFRPLQJWRJHQGHU
      $,WKLQNE\GHILQLWLRQ\HVLIWKH\DUHQRW            FOLQLFVLQJUHDWHUSURSRUWLRQWKDQDGROHVFHQWER\VDQG
      UHDFKLQJRXWWRWKHLUSURYLGHUVRUGURSSLQJRXWRI              WKLVLVDFKDQJHLQWKHODVWFRXSOHRI\HDUVDQGLW VDQ
      VWXGLHV\HV                                                   RSHQTXHVWLRQZKDWGRZHPDNHRIWKDW:HUHDOO\GRQ W
      47KHQH[WWRODVWSDUDJUDSKRIWKLVDUWLFOH             NQRZZKDW VJRLQJRQDQGZHVKRXOGEHFRQFHUQHGDERXW
      EHJLQVE\VD\LQJWKHSUHVVXUHE\DFWLYLVWVPHGLFDODQG         LW'RHVKHUH[SHULHQFHPDWFK\RXUH[SHULHQFH"
      PHQWDOKHDOWKSURYLGHUVDORQJZLWKDQDWLRQDO/*%7              $77251(<%/2&.2EMHFWLRQWRIRUP
      RUJDQL]DWLRQVWRVLOHQFHWKHYRLFHVRIGHWUDQVLWLRQHUV          7+(:,71(66,WKLQNLW VFRQVLVWHQWLQ
     DQGVDERWDJHWKHGLVFXVVLRQDURXQGZKDWLVRFFXUULQJLQ        WKHOLWHUDWXUHWKDWZH YHVHHQPRUHDVVLJQHGIHPDOHVDW
     WKHILHOGLVXQFRQVFLRQDEOH'R\RXDJUHHWKDWLWLV          ELUWKSUHVHQWLQJIRUFDUHWKDQLQWKHSDVW
     FRQFHUQLQJWKDWFHUWDLQRUJDQL]DWLRQVDUHVHHNLQJWR           %<$77251(<%$5+$0
     VLOHQFHWKHYRLFHRIGHWUDQVLWLRQHUV"                          4$QGKDYH\RXVHHQWKLVFKDQJHLQEDODQFHVLQFH
     $77251(<%/2&.2EMHFWLRQWRIRUP             DSSUR[LPDWHO\"
     7+(:,71(66,WLVQRWP\H[SHULHQFH          $,GRQ WNQRZLI,ZRXOGVD\,FRXOGSRLQWWR
     WKDWRUJDQL]DWLRQVDUHVHHNLQJWRVLOHQFHWKHYRLFHVRI        RQHVSHFLILF\HDUEXWZLWKHDFK\HDULWVHHPVOLNH
     IRONVZKRLGHQWLI\DVGHWUDQVLWLRQHUVQR                     WKDW V,WKLQNSUREDEO\WKDW VZKHQWKHGDWDFDPH
     %<$77251(<%$5+$0                                            RXWWKDWWKDWGHPRQVWUDWHGLW
     4,IWKH\ZHUHZRXOG\RXDJUHHWKDWWKDWLV             4:KHQGR\RXUHFDOOEHJLQQLQJWRVHHWKLVWUHQG
     XQFRQVFLRQDEOH"                                                GHYHORS"
     $77251(<%/2&.2EMHFWLRQWRIRUP             $,WKLQNRQHRIWKHFKDOOHQJHVLVWKDWWKHVFRSH
     7+(:,71(660\MREDVDSV\FKLDWULVW          RIWKHOLWHUDWXUHLVOLPLWHGWRDIHZYHU\VSHFLILF
     DQGDFKLOGSV\FKLDWULVWLQSDUWLFXODULVWRXQGHUVWDQG        VXEVHWVRIZKHUHFOLQLFDOFDUHLVSUDFWLFHGDQGVRZH
     WKHNLGZKRLVVLWWLQJLQIURQWRIPHLQWKDWYHU\             KDYHWRMXVWEHFDUHIXOQRWWRFRPSOHWHO\JHQHUDOL]H


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                                                    3DJH                                                          3DJH
      6RLQWKHVHVSHFLILFFOLQLFVZKDWZHKDYHVHHQLVD             DGROHVFHQWVZKRKDYHSUHH[LVWLQJPHQWDOKHDOWKSUREOHPV
      SUHSRQGHUDQFHDQGDQLQFUHDVHRIDVVLJQHGIHPDOHVDW            DQGDUHORRNLQJIRUDQH[SODQDWLRQDERXWZKRWKH\DUH
      ELUWK,FDQ WVSHDNWRWKLVEHLQJDQDWLRQDO                  $QGWKHUH VDELWRI,ZRXOGVD\IDQWDV\DERXWVHHNLQJ
      SKHQRPHQRQEXWWKHOLWHUDWXUHSUREDEO\FHUWDLQO\DOO           WRIRUPDQLGHQWLW\WKDWPD\WKHQH[SODLQWKHLU
      SRLQWVLQWKDWGLUHFWLRQ,WKLQNSHUVRQDOO\IRUPH,          GLVWUHVV<RXZRXOGDJUHHWKDWWKHDGROHVFHQW\HDUVFDQ
      MXVWVWDUWHGWRVHHPRUHDVVLJQHGIHPDOHVDWELUWK              EHGLVWUHVVLQJIRUPDQ\WHHQVZKHWKHUWKH\DUH
      SUHVHQWLQJLQDGROHVFHQFH,WKLQNLQWKHPLGVLV           WUDQVJHQGHURUQRW
      QRWXQUHDVRQDEOH                                               &RUUHFW"
      4,VWKHUHDQ\WHVWLQVFLHQWLILFXQGHUVWDQGLQJDV       $77251(<%/2&.2EMHFWLRQWRIRUP
     WRZK\WKLVWUHQGLQWKHOLWHUDWXUHLVGHYHORSLQJ"             7+(:,71(66,ZRXOGZKROO\DJUHHZLWK
     $7KHUHLVQRW                                         WKDW\HV
     4'R\RXDJUHHWKDWWKLVLVVRPHWKLQJWKDW              %<$77251(<%$5+$0
     SUDFWLWLRQHUVVKRXOGEHYHU\FRQFHUQHGDERXWEHIRUH            4'R\RXVKDUHWKHFRQFHUQWKDWVRPHWHHQVZKR
     DJUHHLQJWRDGPLQLVWHUVWHULOL]LQJFURVVVH[KRUPRQHVWR       SUHVHQWDWFOLQLFVDUHLQGXOJLQJLQDIDQWDV\DERXWZKDW
     WHHQJLUOV"                                                    DWUDQVJHQGHULGHQWLW\ZLOOGRIRUWKHPDQGWKHLU
     $77251(<%/2&.2EMHFWLRQWRIRUP             GLVWUHVV"
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     LVZKDWDUHWKHVSHFLILFIDFWRUVRIWKHFKLOGLQWKH           4$VSDUWRI\RXUDVVHVVPHQWGR\RXKDYHWRDV
     IDPLO\WKDWLVVLWWLQJLQIURQWRI\RXDQGKRZWRHQVXUH       SDUWRI\RXUWKRURXJKDVVHVVPHQWGR\RXKDYHWRDVVHVV
     WKDWWKDWFKLOGKDVJRWWHQDSSURSULDWHFDUHDQGWKDW           ZKHWKHUWKHWHHQLVLQFRUUHFWO\DVVHVVLQJZKDWD
     ZH UHPDNLQJDUHFRPPHQGDWLRQEDVHGXSRQWKHEHVW              WUDQVJHQGHULGHQWLW\ZRXOGGRIRUWKHPDQGWKHLU
     LQWHUHVWRIWKDWLQGLYLGXDOFKLOGWKDWLVLUUHVSHFWLYH         GLVWUHVV"
     RISRSXODWLRQEDVHGFKDQJHVWKDWDUHKDSSHQLQJ                $$SDUWRIDQ\IRUPHGLQIRUPHGFRQVHQW
     %<$77251(<%$5+$0                                            SURFHVVLVDVVHVVLQJWKHXQGHUVWDQGLQJRIWKHFKLOGDQG


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      4'RQ W\RXQHHGWRDVVHVVWKRXJKZKHWKHUWKH            WKHIDPLO\ VXQGHUVWDQGLQJRIWKHULVNVEHQHILWVDQG
      LQGLYLGXDOLQIURQWRI\RXLVH[HPSODURIWKDWQDWLRQDO         DOWHUQDWLYHVRIWKDWVSHFLILFLQWHUYHQWLRQ7KDWZRXOG
      RIWKDWWUHQGLQWKHOLWHUDWXUH"                            LQFOXGHDQXQUHDOLVWLFEHOLHIDERXWZKDWWKHSRWHQWLDO
      $7KDW VZKHUHWKDW VZKHUHDQDVVHVVPHQW            EHQHILWVPD\EH
      FRPHVLQ                                                       4$OOULJKW
      46R\RXZRXOGDJUHHWKHQWKDWSUDFWLWLRQHUV             ,ZDQWWRJRWRSDJHILYHRIWKLVGRFXPHQW
      VKRXOGEHFRQFHUQHGDERXWWKLVWUHQGEHIRUHGHFLGLQJWR         'U$QGHUVRQLQGLFDWHVHDUOLHUWRGD\,WDONHGWRVRPH
      DGPLQLVWHUKRUPRQHV                                            SDUHQWVZKREURXJKWWKHLUFKLOGWRDKHDOWK
      &RUUHFW"                                               SURIHVVLRQDO7KHFKLOGLVVHHQWKUHHWLPHVE\D
     $77251(<%/2&.2EMHFWLRQWRIRUP             WKHUDSLVWDQGWKHQUHFRPPHQGHGIRUKRUPRQHV7KH
     7+(:,71(66:KDW, PVWDWLQJLVWKDW          WKHUDSLVWQHYHUWDONHGWRWKHSDUHQWV'R\RXVKDUHKHU
     WKHJXLGHOLQHVIRUZKDW VLQYROYHGLQDVVHVVPHQWKDYH          FRQFHUQWKDWWKUHHVHVVLRQVZLWKDPHQWDOKHDOWK
     EHHQUHODWLYHO\FOHDUDQGWKDWZHZDQWWRPDNHWKH             SURYLGHUVLVIDUOHVVWKDQUHTXLUHGEHIRUHDFRPSHWHQW
     GHFLVLRQVEDVHGXSRQZKDW VLQWKHEHVWLQWHUHVWDQG           GLDJQRVLVRIDGXUDEOHWUDQVJHQGHULGHQWLW\FDQEHPDGH"
     XQGHUVWDQGLQJRIWKHSDWLHQWDQGIDPLO\WKDWZHDUH            $77251(<%/2&.2EMHFWLRQWRWKHIRUP
     VHHLQJ:HVKRXOGDOZD\VEHFRQFHUQHG:HVKRXOG             7+(:,71(66,ZRXOGQRW7KHREMHFWLRQ
     DOZD\VEHEXLOGLQJXSRXUXQGHUVWDQGLQJRIWKHILHOGDV       DV,UHDGLWLQWKLVDUWLFOHWKDW\RX YHSXWLQIURQWRI
     ZHOODVVRPHRIWKHHSLGHPLRORJ\RIWKHILHOG%XWWKDW       PHZLWKWKHLQWHUYLHZZLWK'U$QGHUVRQKHUFRQFHUQ
     GRHVQ WFKDQJHWKHLQGLYLGXDOH[SHULHQFHVRIWKHSDWLHQW       VHHPVWREHPRUHDERXWQRWKDYLQJVSRNHQWRWKHSDUHQWV
     DQGWKHIDPLO\WKDWZH UHPHHWLQJZLWK                        SULRUWRWKHUHFRPPHQGDWLRQ$QG,FDQ WWDNHKHUZRUG
     %<$77251(<%$5+$0                                            IRULWWKDWWKLVZDVWUXH:HKHDUDORWRIWKLQJVIURP
     42ND\                                                 SDUHQWVZKRH[SUHVVIUXVWUDWLRQZLWKFDUHWKDWLV
     $WWKHERWWRPRISDJHIRXU'U$QGHUVRQVD\V          XOWLPDWHO\IRXQGQRWWREHDFFXUDWH
     WKDWVKHLVTXRWHZRUULHGWKDWWKHUHLVDQHZJURXSRI       %<$77251(<%$5+$0


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                                                   3DJH                                                                    3DJH
      4:RXOG\RXVKDUHWKHFRQFHUQWKDWSUHVFULELQJ          %<$77251(<%$5+$0
      KRUPRQHVLIRQHSDUHQWLVVWURQJO\RSSRVHGWRLWLV            4, PMXVWDVNLQJLIWKDW VDSRVVLEOHRXWFRPH"
      FUHDWLQJDOLNHOLKRRGRIIDPLO\FRQIOLFWWKDWLVJRLQJ         $<HV
      WROLNHO\EHGHVWDELOL]LQJDQGKDUPIXOWRWKHFKLOG"           4$OOULJKW
      $77251(<%/2&.2EMHFWLRQWRWKHIRUP         ,VLW\RXURSLQLRQWKDWLW VXQUHDVRQDEOHWR
      $UH\RXUHIHUHQFLQJVRPHWKLQJLQWKHDUWLFOHRULVWKLV        H[FOXGHIURPIHPDOHWHDPVELRORJLFDOPDOHVDQGE\WKDW
      \RXURZQTXHVWLRQ"                                             ,PHDQSHRSOHZLWK;<FKURPRVRPHVZKRKDYHJDLQHGD
      $77251(<%$5+$0,DPUHIHUHQFLQJ              SK\VLRORJLFDODGYDQWDJHDVDUHVXOWRIXQGHUJRLQJPDOH
      SDJHVL[ZKHUH'U$QGHUVRQVD\V\RXGRQ WZDQWWRUXVK       SXEHUW\"
     DKHDGZLWKDNLGJLYLQJWKHPHQFRXUDJHPHQWWKDWWKH\ UH      $7KLVLVRXWVLGHRIWKHVFRSHRIZKDW,ZDV
     JRLQJWRJHWKRUPRQHVXQWLOZHEULQJWKHLUSDUHQWV            SURYLGLQJP\WHVWLPRQ\RQ
     DORQJ%DWWOLQJWKHSDUHQWVLVDQRZLQSURSRVLWLRQ         4:HOOLQSDUDJUDSKRI\RXUUHSRUW\RXVD\QR
     %<$77251(<%$5+$0                                           UHDVRQDEOHPHQWDOKHDOWKSURIHVVLRQDOFRXOGWKLQNWKH
     46RMXVWWREHFOHDUDERXWWKHTXHVWLRQGR\RX        DFWLQTXHVWLRQLVDQ\WKLQJEXWKDUPIXOWRWKHPHQWDO
     VKDUHWKHFRQFHUQWKDWSUHVFULELQJKRUPRQHVLIRQH            KHDOWKRIWUDQVJHQGHU\RXWKDQGWKDWSUHYHQWLQJ
     SDUHQWLVVWURQJO\RSSRVHGLVOLNHO\FUHDWLQJWKH             WUDQVJHQGHU\RXWKIURPSDUWLFLSDWLQJLQWKHVDPH
     OLNHOLKRRGRIIDPLO\FRQIOLFWWKDWPD\EHVHSDUDWHO\          DFWLYLWLHVDVWKHLUSHHUVXQGHUPLQHVWKHLUDELOLW\WR
     GHVWDELOL]LQJDQGKDUPIXOWRWKHFKLOG"                       VRFLDOO\WUDQVLWLRQDQGSUHYHQWVWUDQVJHQGHU\RXWKIURP
     $77251(<%/2&.2EMHFWLRQWRWKHIRUP         DFFHVVLQJLPSRUWDQWHGXFDWLRQDODQGVRFLDOEHQHILWV
     DQGIRXQGDWLRQ                                               6R, PDVNLQJ\RXLVLW\RXURSLQLRQWKDWLW V
     7+(:,71(66:KDW,KHDU'U$QGHUVRQ V       XQUHDVRQDEOHWRH[FOXGHIURPIHPDOHWHDPVELRORJLFDO
     FRQFHUQIURPWKLVLVWKDWEDWWOLQJZLWKSDUHQWVLVD          PDOHVZKRKDYHJDLQHGDSK\VLRORJLFDODGYDQWDJHDVD
     QRZLQSURSRVLWLRQ,WKLQNWKDW VGLIIHUHQWIURP            UHVXOWRIXQGHUJRLQJPDOHSXEHUW\"
     UHFRPPHQGLQJDWUHDWPHQWWKDWQRWDOOSDUHQWVDJUHHWR       $77251(<%/2&.2EMHFWLRQWRIRUPDQG


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      ,WKLQNLW VDERXWWKHZRUNRISV\FKRWKHUDS\ZKLFK            VFRSH
      LQYROYHVXQGHUVWDQGLQJDQGKHDULQJSDUHQWV H[SHULHQFHV        7+(:,71(66$JDLQ,FDQWHVWLI\WRWKH
      DQGREMHFWLRQV                                                PHQWDOKHDOWKDVSHFWVRIH[FOXVLRQ,FDQ WWHVWLI\WR
      %<$77251(<%$5+$0                                            WKHHQGRFULQRORJLFFKDQJHVRIWKHSK\VLRORJLFFKDQJHVLQ
      4'R\RXWKLQNWKDWSUHVFULELQJKRUPRQHVLIRQH         VSRUWVVSHFLILFDOO\
      SDUHQWLVVWURQJO\RSSRVHGLVOLNHO\FUHDWLQJIDPLO\           %<$77251(<%$5+$0
      FRQIOLFWWKDWPD\EHVHSDUDWHO\GHVWDELOL]LQJDQG              4, PQRWDVNLQJ\RXWRWHVWLI\WRWKH
      KDUPIXOWRWKHFKLOG"                                          HQGRFULQRORJ\DVSHFWVRIWKLV, PMXVWDVNLQJLVLW
      $,FDQ WDQVZHUWKDWTXHVWLRQZLWKRXWDVSHFLILF       \RXURSLQLRQWKDWLIZHDVVXPHWKDWDQLQGLYLGXDOKDV
     IDPLO\VFHQDULRLQIURQWRIPH,KDYHVHHQWKH              JDLQHGSK\VLRORJLFDODGYDQWDJHDVDUHVXOWRIXQGHUJRLQJ
     RSSRVLWHEHWKHFDVHZKHUHWKHFRQIOLFWLVWKHFUHDWLRQ       PDOHSXEHUW\WKDWLWLVVWLOOXQIDLUWRRU
     RIWKHODFNRIFRQVHQVXVDVRSSRVHGWRWKHRWKHUZD\          XQUHDVRQDEOHWRH[FOXGHWKHPIURPFRPSHWLQJRQDZRPHQ V
     DURXQG$QG, YHVHHQNLGVLQP\H[SHULHQFHWUHDWLQJ         WHDP"
     NLGVZKRKDGSDUHQWVZKRKDYHRSWHGRXWRIDQ\                $77251(<%/2&.2EMHFWLRQWRIRUPDQG
     GHFLVLRQDOFDSDFLW\DQGWKHNLG VPHGLFDOFDUHEXW            VFRSH
     QHYHUWKHOHVVGRPXFKEHWWHUZKHQJLYHQDFFHVVWRWKLV         7+(:,71(667KDWLVQRWDQDVVXPSWLRQ,
     FDUH                                                         IHHOFRPIRUWDEOHPDNLQJ
     4%XWLWLVDOVRSRVVLEOHWKDWSUHVFULELQJ             %<$77251(<%$5+$0
     KRUPRQHVRYHUWKHREMHFWLRQRIRQHSDUHQWFDQFUHDWH          4:HOOLI\RXVD\WKDWLWLVQRUHDVRQDEOHPHQWDO
     FRQIOLFWZLWKLQWKHIDPLO\                                   KHDOWKSURIHVVLRQDOFDQVD\WKDWWKLV$FWLVDQ\WKLQJ
     &RUUHFW"                                             EXWKDUPIXOWRWKHPHQWDOKHDOWKRIWUDQVJHQGHU\RXWK
     $77251(<%/2&.2EMHFWLRQWRWKHIRUP        WKDWGRHVQ WGHSHQGXSRQZKHWKHUWKHFKLOGKDVXQGHUJRQH
     7+(:,71(668QGHUVWDQGLQJWKHLPSDFWRI      PDOHSXEHUW\RUQRW
     DQ\LQWHUYHQWLRQLVDSDUWRIWKDWFRQVHQWSURFHVV           ,VWKDWFRUUHFW"



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      $7KDWLVFRUUHFW                                       4,VQ WLWWUXHWKDWSXEHUW\EORFNHUVMXVWVWRS
      46RHYHQLIWKHFKLOGHYHQLIWKHLQGLYLGXDO        IXUWKHUW\SLFDOPDOHGHYHORSPHQW"
      KDVXQGHUJRQHPDOHSXEHUW\\RX UHVD\LQJWKDWQR                $77251(<%/2&.6DPHREMHFWLRQV
      UHDVRQDEOHPHQWDOKHDOWKSURIHVVLRQDOFRXOGWKLQNWKDW          7+(:,71(66,ZRXOG,ZRXOGJLYH
      WKH$FWLVDQ\WKLQJEXWKDUPIXOEDUULQJWKHPIURP              WZRUHVSRQVHV2QH,ZRXOGZDQWDQHQGRFULQRORJLVWWR
      FRPSHWLQJRQWKHZRPHQ VWHDPLVDQ\WKLQJEXWKDUPIXO          ZHLJKLQRQWKHVSHFLILFVEXWFOHDUO\SXEHUW\EORFNHUV
      ,VWKDWFRUUHFW"                                       DUHDOVRSUHVFULEHGWRIRONVDVVLJQHGIHPDOHVDWELUWK
      $,ZRXOGVD\H[FOXVLRQDQGLVRODWLRQIURPDFFHVV        DVZHOO7KHUH VPRUHWKDQMXVWLPSDFWVRQWHVWRVWHURQH
      WRVDPHDJHGSHHUDFWLYLWLHVLVOLNHO\WREHKDUPIXO            DVDUHVXOWRIWKHVHPHGLFDWLRQV
     IURPDPHQWDOKHDOWKSHUVSHFWLYH                              %<$77251(<%$5+$0
     47RZKDWH[WHQWFDQSXEHUW\EORFNHUVVWDUWHG           4,XQGHUVWDQGEXW\RXPDNHUHFRPPHQGDWLRQVIRU
     ODWHVXFKDVDJHXQULQJWKHEHOOE\UHYHUVLQJ             ZKHWKHUSHRSOHDUHHOLJLEOHWRUHFHLYHSXEHUW\EORFNLQJ
     SK\VLFDOFKDQJHVLQPDOHSXEHUW\"                              KRUPRQHV
     $77251(<%/2&.6RUU\,FDQ WKHDUWKH        ,VWKDWFRUUHFW"
     TXHVWLRQV                                                     $7KDWLVFRUUHFW
     %<$77251(<%$5+$0                                            46R\RXKDYHWRKDYHVRPHXQGHUVWDQGLQJRIWKH
     47RZKDWH[WHQWGRSXEHUW\EORFNHUVVWDUWHGODWH      HIIHFWVRIWKHVHPHGLFDWLRQV
     IRUH[DPSOHDJHXQULQJWKHEHOOE\UHYHUVLQJWKH           ,VWKDWFRUUHFW"
     SK\VLFDOFKDQJHVRIPDOHSXEHUW\"                              $7KDWLVFRUUHFW
     $77251(<%/2&.2EMHFWLRQWRIRUPDQG          46RLVQ WLWWUXHWKDWSXEHUW\EORFNHUV
     VFRSH                                                         DGPLQLVWHUHGWRQDWDOPDOHVVKRXOGVWRSIXUWKHUW\SLFDO
     7+(:,71(66,WLVDFRPSOLFDWHG               PDOHGHYHORSPHQW"
     TXHVWLRQWKDWLVEHVWOHIWWRDQHQGRFULQRORJLVWWR            $77251(<%/2&.2EMHFWLRQWRIRUPDQG
     DQVZHU                                                        VFRSH


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      %<$77251(<%$5+$0                                             7+(:,71(66, GKDYHWKHVDPHDQVZHU
      4&DQSXEHUW\EORFNHUVUHYHUVHWKHSK\VLFDO              DQGWKH\GRPRUHWKDQWKDW
      FKDQJHVRIPDOHSXEHUW\WRWKHJHQLWDOV"                        %<$77251(<%$51+$0
      $77251(<%/2&.2EMHFWLRQWRIRUPDQG           4:KDWHOVHGRWKH\GR"
      VFRSH"                                                          $$JDLQ,ZRXOGGHIHUWRWKHHQGRFULQRORJLVWIRU
      7+(:,71(66,W VWKHVDPHDQVZHU,           WKHVSHFLILFSDWKRSK\VLRORJ\RIKRZ*Q5+DQDORJVDIIHFW
      ZRXOGGHIHUWRDQHQGRFULQRORJLVWRQWKDWUHVSRQVH             DFRPSOLFDWHGSK\VLRORJ\RIWKHERG\
      %<$77251(<%$5+$0                                             4%XWZKDWLV\RXUXQGHUVWDQGLQJRIKRZWKH\
      4&DQSXEHUW\EORFNHUVUHYHUVHWKHSK\VLFDO              DIIHFWEHFDXVH\RXVDLGWKH\DOVRGRRWKHUWKLQJV"
     FKDQJHVWRWKHKDLU"                                           $77251(<%/2&.2EMHFWLRQWRIRUPDQG
     $77251(<%/2&.6DPHREMHFWLRQV               VFRSH
     7+(:,71(66$JDLQ,ZRXOGGHIHUWRDQ        7+(:,71(66,WKLQN,DQVZHUHGLW,Q
     HQGRFULQRORJLVW                                               WKH*Q5+DQDORJVDUHJLYHQDQDQDWRPLFPDQQHUFRPSDUHG
     %<$77251(<%$5+$0                                            WRWKHSXOVDWLOHZD\LQZKLFK*Q5+LVUHOHDVHGGXULQJ
     4&DQWKH\UHYHUVHWKHSK\VLFDOFKDQJHVWRWKH          WKHSXEHUW\ZKLFKLVZKDWFDXVHVWKHVXSSUHVVLRQRI
     YRLFHRUWKHPXVFOHV"                                          RWKHUKRUPRQHVPRUHWKDQMXVWWHVWRVWHURQHDQGHVWURJHQ
     $77251(<%/2&.6DPHREMHFWLRQV               %<$77251(<%$51+$0
     7+(:,71(666DPHDQVZHU                      4,ISXEHUW\EORFNLQJKRUPRQHVDUHDGPLQLVWHUHGWR
     %<$77251(<%$5+$0                                            DQDWDOPDOHGRWKH\FDXVHWKDWLQGLYLGXDOWRXQGHUJR
     4&DQWKH\UHYHUVHWKHHIIHFWWKHSK\VLFDO          W\SLFDOO\IHPDOHSXEHUWDOGHYHORSPHQW"
     FKDQJHVRIPDOHSXEHUW\WRWKHKHDUWRUOXQJVL]H"             $77251(<%/2&.2EMHFWLRQWRIRUPDQG
     $77251(<%/2&.6DPHREMHFWLRQ                VFRSH
     7+(:,71(666DPHDQVZHU                     7+(:,71(667KH\GRQRW
     %<$77251(<%$51+$0                                           %<$77251(<%$5+$0


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      46RWKH\MXVWVWRSIXUWKHUPDOHGHYHORSPHQW            EHDURXQGWKHLVKPDUN%XWWKHUHLVDEURDG
      &RUUHFW"                                               YDULDELOLW\$QGDJDLQWKHUHLVDQDQVZHUWKDWH[LVWV
      $77251(<%/2&.6DPHREMHFWLRQV                IRUWKLVTXHVWLRQWKDW,GRQ WKDYHLQIURQWRIPH
      7+(:,71(66$VNLQGRID*HVWDOWSLWK\         4$UH\RXIDPLOLDUZLWK7DQQHUVWDJHVRISXEHUW\"
      UHVSRQVH\HVWKH\FDXVHSXEHUW\IRUDVVLJQHGIHPDOHV          $,DP
      DWELUWKDQGDVVLJQHGPDOHVDWELUWKZKRDUHJLYHQWKHVH        4:KDWDUHWKHGLIIHUHQW7DQQHUVWDJHVRISXEHUW\"
      PHGLFDWLRQV                                                    $7DQQHUVWDJHVRQHWKURXJKILYHDUHWKHGLIIHUHQW
      %<$77251(<%$51+$0                                            7DQQHUVWDJHV
      4:KHQGRHVSXEHUW\W\SLFDOO\EHJLQLQELRORJLFDO        46RZKDWLV7DQQHUVWDJHRQHLQELRORJLFDOPDOHV"
     PDOHV"                                                         $,WGHSHQGVXSRQLIZH UHWDONLQJDERXWJHQLWDOLD
     $77251(<%/2&.6DPHREMHFWLRQV               RUFKHVWGHYHORSPHQWEXWLW VQRSXEHUWDOFKDQJHV
     7+(:,71(667KRVHDUHYHU\NQRZQGDWD         VR
     WKDWDQHQGRFULQRORJLVWFRXOGWHOO\RX                        4$QGZKDWLVWZR"
     %<$77251(<%$5+$0                                            $7ZRLVDWWKHLQLWLDOVWDJHVRISXEHUWDOFKDQJHV
     4, PVXUHWKRXJKWKDWDVDSV\FKLDWULVW\RX          WKDW\RXVWDUWWRVHH7KHVSHFLILFVRIWKH7DQQHU
     KDYHDJHQHUDOXQGHUVWDQGLQJRIZKDWDJHVSXEHUW\              VWDJLQJLVVRPHWKLQJWKDW\RXQHHGWREHWUDLQHGRQ,
     W\SLFDOO\EHJLQVLQELRORJLFDOPDOHV"                          ZRXOGQRWFODLPP\VHOIDVDQH[SHUWLQEHLQJDEOHWR
     $77251(<%/2&.6DPHREMHFWLRQV               DFFXUDWHO\DFFHVVWKH7DQQHUVWDJHRIDFKLOG
     7+(:,71(66,GRKRZHYHU,DP               4'R\RXNQRZZKHQDWZKDWDJHV7DQQHU6WDJH
     DVVHVVLQJLQGLYLGXDOVZKRFRPHWKURXJKP\RIILFH$QG         W\SLFDOO\LQLWLDWHVLQELRORJLFDOPDOHV"
     UHJDUGOHVVRIZKDWWKHSRSXODWLRQVD\VDERXWZKHQ              $$JDLQLW VJRLQJWREHDQLQGLYLGXDOL]HG
     SXEHUW\LVW\SLFDOLW VJRLQJWRGHSHQGXSRQZKRWKDW         H[SHULHQFHDQGWKDW VZK\ZHGRDVVHVVPHQWV
     LQGLYLGXDOFKLOGLVDQGZKHQWKH\GHYHORSSXEHUW\             4'R\RXKDYHDUDQJHDQDJHUDQJHDVWRZKHQLW
     %<$77251(<%$5+$0                                            W\SLFDOO\EHJLQV"


                                                    3DJH                                                          3DJH
      4,XQGHUVWDQGEXWP\TXHVWLRQLVQ WDERXWDQ           $:KHQZHWDONDERXWWKHRQVHWRISXEHUW\ZH UH
      LQGLYLGXDO0\TXHVWLRQLVZKHQGRHVLWW\SLFDOO\EHJLQ        WDONLQJDERXW7DQQHUVWDJHWZRW\SLFDOO\
      LQELRORJLFDOPDOHV                                            4$QGDWZKDWDJHGRWKRVHW\SLFDOO\DULVH"
      $77251(<%/2&.6DPHREMHFWLRQV                $)RUDVVLJQHGPDOHVDWELUWKRUDVVLJQHGIHPDOHV"
      7+(:,71(66$JDLQWKLVLVDYHU\              4)RUELRORJLFDOPDOHV
      NQRZDEOHIDFWEDVHGDQVZHULQDSRSXODWLRQOHYHO,W V         $77251(<%/2&.2EMHFWLRQWR
      QRWLQIRUPDWLRQ,KDYHLQIURQWRIPH                          WHUPLQRORJ\
      %<$77251(<%$5+$0                                             7+(:,71(666RIRUIRONVDVVLJQHGPDOH
      46R\RXKDYHQRLVLW\RXUWHVWLPRQ\WKDW\RX       DWELUWKDJDLQZH UHJRLQJWRVHHLWLQWKDWLVK
     KDYHQRLQIRUPDWLRQDVWRZKHQSXEHUW\W\SLFDOO\EHJLQV        UDQJH
     LQELRORJLFDOIHPDOHV"                                         %<$77251(<%$5+$0
     $77251(<%/2&.&DQ,MXVWJLYHD              4$QG7DQQHU6WDJHZKDWLVWKDW"
     VWDQGLQJREMHFWLRQWRTXHVWLRQVDVNLQJWKHZLWQHVVDERXW       $)XUWKHUGHYHORSPHQW7KHUH VWDEOHVDQGFKDUWV
     WKHHIIHFWVWKHHQGRFULQRORJ\HIIHFWVRIEORFNHUV          \RXZRXOGKDYHWRORRNDW, PQRWJRLQJWREHDEOHWR
     DQGKRUPRQHVVR,GRQ WKDYHWRPDNHDQREMHFWLRQHDFK        XVHODQJXDJHWRGHVFULEHLWLQDQDFFXUDWHZD\
     WLPH"                                                          4$QGZKHQDSSUR[LPDWHO\ZKHQZKDWDJHUDQJH
     $77251(<%$5+$0<HV                          GRHV7DQQHU6WDJHEHJLQLQELRORJLFDOPDOHV"
     7+(:,71(660\WHVWLPRQ\LV,GRQ W           $7KDW VQRWDQDQVZHUWKDW,FDQJLYH\RX
     ZDQWWRJLYHDQLPSUHFLVHDQVZHUIRUDTXHVWLRQWKDW           4$QGZKDWLV7DQQHU6WDJH"
     WKHUHLVDVSHFLILFDQVZHUWR                                 $7KHVDPHDQVZHULVIXUWKHUSURJUHVVLRQRI
     %<$77251(<%$5+$0                                            SXEHUWDOFKDQJHV
     4:KDWLV\RXUXQGHUVWDQGLQJDV\RXVLWKHUH           4$QGGR\RXNQRZZKDWDJHUDQJHWKDWW\SLFDOO\
     WRGD\DVWRZKHQSXEHUW\W\SLFDOO\EHJLQVLQPDOHV"           EHJLQVLQELRORJLFDOPDOHV"
     $7KHUDQJHIRUW\SLFDOSXEHUW\LQPDOHVWHQGVWR       $6DPHDQVZHUDVEHIRUH7KDW VQRWDQDQVZHU,


                                                                                          3DJHVWR
                Case: 22-5807
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                                                                         Armistead App. 0954
                                                    3DJH                                                                      3DJH
      KDYHKHUH                                                      WKHFDPHUD
      4$QGZRXOGWKHVDPHDQVZHUVKROGWUXHIRU7DQQHU        7+(:,71(66,VWKDWEHWWHU"
      6WDJH",VWKDWD\HV"                                        $77251(<%/2&.<HV
      $7KDW VD\HV,IRUJRWWKDWQRGGLQJ              7+(:,71(66&DQ\RXUHSHDWWKH
      4<HV<RX YHEHHQSUHWW\JRRGWRGD\, YHEHHQ        TXHVWLRQ", PVRUU\
      LPSUHVVHG                                                      %<$77251(<%$5+$0
      'RHVQ WWKHSRVLWLRQWKDWDOORZLQJELRORJLFDO          4$VVRPHRQHIDPLOLDUZLWKWKHHWKLFDOVWDQGDUGV
      PDOHVWRSOD\RQDJLUOVWHDPLIWKH\EORFNHGSXEHUW\           RISV\FKLDWU\GR\RXWKLQNLWZRXOGEHHWKLFDOIRUWKH
      EHIRUHLWEHJLQVFUHDWHSUHVVXUHIRUSDUHQWVDQG                6WDWHRI:HVW9LUJLQLDWRVWUXFWXUHLWVODZLQDZD\
     FKLOGUHQWRPDNHSXEHUW\EORFNLQJGHFLVLRQDWD\RXQJ          WKDWSXWVQRZRUQHYHUSUHVVXUHRQSDUHQWVDQGFKLOGUHQ
     DJH"                                                           ZKRDUHGHDOLQJZLWKJHQGHUG\VSKRULDWRGHFLGHDWDQ
     $77251(<%/2&.2EMHFWLRQWRIRUP             HDUO\DJHZKHWKHUWRVWRSWKHQDWXUDOGHYHORSPHQWRI
     %<$77251(<%$5+$0                                            SXEHUW\"
     46RUWRISXWWKHPLQDQRZRUQHYHUVLWXDWLRQ"         $77251(<%/2&.2EMHFWLRQWRIRUP
     $2IWKRVHSDWLHQWVWKDW,KDYHVHHQWKDWKDV      7+(:,71(66,PHDQWKDW VDTXHVWLRQ
     QHYHUFRPHXSDVDFRQFHUQ                                    WKDWKDVDWHVWDEOHK\SRWKHVLV'RHV;LQWHUYHQWLRQ
     47KHDWKOHWLFLVVXHKDVQHYHUFRPHXSDVD             OHDGWRWKLVNLQGRISUHVVXUH"7KDW VQRWDVWXG\WKDW
     FRQFHUQ"                                                       , YHHYHUVHHQQRUKDVLWEHHQP\FOLQLFDOH[SHULHQFH
     $,WKDVQRW                                           WKDWLW VEHHQWKHFDVH
     4'R\RXWKLQNLWZRXOGDVDSUDFWLWLRQHULQ        %<$77251(<%$5+$0
     WKHILHOGGR\RXWKLQNLWZRXOGHYHQEHHWKLFDOIRUWKH        4:RXOGLWEHHWKLFDOWRSXWWKDWNLQGRISUHVVXUH
     6WDWHRI:HVW9LUJLQLDWRVWUXFWXUHLWVODZLQDZD\           RQVRPHRQHXQGHUWKHHWKLFDOVWDQGDUGVRIWKHILHOGRI
     WKDWSXWVQRZRUQHYHUSUHVVXUHRQSDUHQWVDQGFKLOGUHQ        SV\FKLDWU\"
     ZKRDUHGHDOLQJZLWKJHQGHUG\VSKRULDWRGHFLGHDWDQ          $77251(<%/2&.2EMHFWLRQWRIRUPDQG


                                                    3DJH                                                                      3DJH
      HDUO\DJHZKHWKHUWRVWRSWKHQDWXUDOGHYHORSPHQWRI            IRXQGDWLRQ"
      SXEHUW\"                                                        7+(:,71(66,WLVDYHU\WKHRUHWLFDO
      $77251(<%/2&.2EMHFWLRQWRIRUP              TXHVWLRQWKDWUHDOO\GRHVQ WHQWHULQWRLWZKHQZHDUH
      7+(:,71(66$VDFKLOGSV\FKLDWULVWLQ         RQHRQRQHZLWKWKHVHNLGVDQGWKHLUIDPLOLHV
      WKLVILHOGZH UHGRLQJLQGLYLGXDOEDVHGDVVHVVPHQWVZLWK        %<$77251(<%$5+$0
      WKHFKLOGUHQDQGIDPLOLHVWKDWDUHLQIURQWRIXV$QG         4, PQRWDVNLQJDERXWRQHRQRQHLQWHUDFWLRQV
      ZKDWWKDWPHDQVLQWKHFRQWH[WRIWKLVTXHVWLRQLVWKDW         ZLWKNLGVDQGIDPLOLHV, PDVNLQJLQJHQHUDOLQWKHRU\
      ZHDUHDVVHVVLQJDOORIWKHLUGLIIHUHQWDFWLYLWLHV             LVLWHWKLFDOWRSXWWKDWNLQGRISUHVVXUHRQVRPHRQH"
      LQWHUHVWVDQGZRUNLQJZLWKDOOWKHV\VWHPVWKDWZHFDQ          $77251(<%/2&.2EMHFWLRQWRIRUPDQG
     WRHQVXUHDVDIHDQGDSSURSULDWHVHWRIGHFLVLRQVWKDW         IRXQGDWLRQ
     DUHJRLQJWROHDGWRWKHEHVWRXWFRPHVIRUWKLV                7+(:,71(66, PVRUU\,FDQ WJLYHD
     LQGLYLGXDOFKLOGDQGQRWDPHGLFDOHPSKDVLVWKDWLV            EHWWHUDQVZHUEXWHQVXULQJWKDWDFKLOGLVPDNLQJD
     RXWVLGHRIWKHVFRSHWKDW,FDQDQVZHU                        GHFLVLRQZLWKRXWFRHUFLRQLVDSDUWRIWKHLQIRUPHG
     %<$77251(<%$5+$0                                            FRQVHQWSURFHVV
     4%XW\RX UHIDPLOLDUZLWKWKHHWKLFDOVWDQGDUGV        %<$77251(<%$5+$0
     RI\RXUILHOG                                                 4,VLW\RXURSLQLRQWKDWLWLVXQUHDVRQDEOHWR
     ,VWKDWFRUUHFW"                                      H[FOXGHIURPIHPDOHWHDPVELRORJLFDOPDOHVZKREHJLQ
     $,DP\HV                                            XQGHUJRLQJPDOHSXEHUW\EXWDUHQRZRQSXEHUW\EORFNHUV"
     48QGHUWKRVHHWKLFDOVWDQGDUGVZRXOGLWEH             $77251(<%/2&.2EMHFWLRQWRIRUPDQG
     HWKLFDOIRUWKH6WDWHWRVWUXFWXUHLWVODZLQDZD\WKDW       VFRSH
     SXWVWKLVNLQGRIQRZRUQHYHUSUHVVXUHRQSDUHQWVDQG         7+(:,71(66&DQ\RXUHSHDWWKH
     FKLOGUHQ"                                                      TXHVWLRQ"
     $77251(<%/2&.2EMHFWLRQWRIRUP$OVR       %<$77251(<%$5+$0
     WKHZLWQHVVLVLQVKDGRZ,FDQ WUHDOO\VHHKLPIRU          4,VLW\RXURSLQLRQWKDWLWLVXQUHDVRQDEOHWR



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                Case: 22-5807
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                                                            3DJH                                                    3DJH
     H[FOXGHIURPIHPDOHWHDPVELRORJLFDOPDOHVZKREHJLQ                46RLVLWKDUPIXOWRWKHPHQWDOKHDOWKRID
     XQGHUJRLQJPDOHSXEHUW\EXWDUHQRZRQSXEHUW\EORFNHUV"            ELRORJLFDOPDOHZKRLVH[SHULHQFLQJJHQGHUG\VSKRULDWR
     $,VLWXQHWKLFDOLVWKHTXHVWLRQ"                           EHH[FOXGHGIURPWKHZRPHQ VWHDPHYHQLIKHLVRQ
     48QUHDVRQDEOH                                              SXEHUW\EORFNHUV"
     $8QUHDVRQDEOH,ZRXOGGHIHUWRNLQGRIRXU                $77251(<%/2&.2EMHFWLRQWRIRUPDQG
     SK\VLRORJ\DQGHQGRFULQRORJ\H[SHUWVDQGRXUPHGLFDO                WHUPLQRORJ\
     HWKLFVH[SHUWVLQUHQGHULQJDQRSLQLRQRQWKDW                      7+(:,71(66$Q\SRWHQWLDOH[FOXVLRQV
     VSHFLILFDOO\                                                       IURPDSHHUDSSURSULDWHDFWLYLW\KDVWKHSRWHQWLDOWR
     4,VLW\RXURSLQLRQWKDWLWLVKDUPIXOWR\RXWK V           KDYHQHJDWLYHFRQVHTXHQFHVRQWKHPHQWDOKHDOWKRIWKDW
    PHQWDOKHDOWKWREHH[FOXGHGIURPIHPDOHWHDPV                     JLUO$QGDJDLQWKDW VJRLQJWREHVRPHWKLQJWKDWRQ
    ELRORJLFDOPDOHVZKREHJLQXQGHUJRLQJPDOHSXEHUW\EXW             DQLQGLYLGXDOEDVLVZHDUHDVVHVVLQJ
    DUHQRZRQSXEHUW\EORFNHUV"                                       %<$77251(<%$5+$0
    $:KDW,ZRXOGVD\LVWKDWH[FOXVLRQDVZHOODV             4$QGWKDWZRXOGEHLUUHVSHFWLYHRIZKHWKHUWKH
    VSHFLILFOHJDOH[FOXVLRQIURPDFWLYLWLHVRIVDPHDJHG              LQGLYLGXDOLVRQSXEHUW\EORFNHUVEHJLQVWRXQGHUJR
    SHHUVLVOLNHO\WREHKDUPIXOIRUDNLG VPHQWDOKHDOWK           PDOHSXEHUW\RUQRW
    41RZWKH$FWLQTXHVWLRQGRHVQRWSUHYHQWD               &RUUHFW"
    ELRORJLFDOPDOHZKRKDVJHQGHUG\VSKRULDIURPFRPSHWLQJ            $$QLQGLYLGXDODVVHVVPHQWLVJRLQJWREH
    RQWKHER\VWHDP                                                  LQKHUHQWO\WDLORUHGWRZKHUHYHUDQLQGLYLGXDOLV
    ,VWKDWFRUUHFW"                                          $77251(<%$5+$0:K\GRQ WZHSDXVHIRU
    $77251(<%/2&.2EMHFWLRQWRIRUPDQG              OXQFK"
    VFRSH                                                             $77251(<%/2&./HW VJRRIIWKHUHFRUG
    7+(:,71(66, GQHHGWRNQRZVSHFLILFV           9,'(2*5$3+(5*RLQJRIIWKHUHFRUG7KH
    ,GRQ WNQRZZKDW\RX UHUHIHUULQJWR,WKLQNORWVRI            FXUUHQWWLPHUHDGVSP
    SHRSOHKDYHGLIIHUHQWSROLFLHVDURXQGKRZWKLVDFWXDOO\            2))9,'(27$3(


                                                            3DJH                                                    3DJH
      ZRUNV                                                             
      %<$77251(<%$5+$0                                                 :+(5(8321$6+257%5($.:$67$.(1
      4, PDVNLQJ\RXUXQGHUVWDQGLQJRIWKHVWDWXWH              
      XSRQZKLFK\RX UHRSLQLQJ                                         219,'(27$3(
      $&DQ\RXUHSHDWWKHTXHVWLRQSOHDVH"                      9,'(2*5$3+(5%DFNRQWKHUHFRUG7KH
      47KH$FWLQTXHVWLRQGRHVQRWSUHYHQWD                    FXUUHQWWLPHUHDGVSP
      ELRORJLFDOPDOHZKRLVH[SHULHQFLQJJHQGHUG\VSKRULD               %<$77251(<%522.6
      IURPFRPSHWLQJRQWKHER\VWHDP                                   4:KDWGRHVSXEHUW\VXSSUHVVLRQRUSXEHUW\
      &RUUHFW"                                                  EORFNHUVGR"
     $77251(<%/2&.2EMHFWLRQWRIRUPDQG             $77251(<%/2&.2EMHFWLRQWRIRUPDQG
     VFRSH                                                            VFRSH
     7+(:,71(666RRQH,GRQ WNQRZZKDW            7+(:,71(66,WKLQN,DQVZHUHGWKDW
     ELRORJLFDOPDOHQHFHVVDULO\PHDQV                                TXHVWLRQEHIRUH6RWKH\VXSSUHVVWKHHQGRJHQRXV
     %<$77251(<%$5+$0                                               UHOHDVHRIWHVWRVWHURQHDQGHVWURJHQDVZHOODVVRPH
     4$QLQGLYLGXDOZLWK;<FKURPRVRPHVQDWDOPDOH"           RWKHUKRUPRQHV
     $6RDVVLJQHGPDOHDWELUWKFDQKDYHDQXPEHURI           %<$77251(<%$5+$0
     UHDVRQVZK\WKH\PLJKWQRWEHDEOHWRSOD\RQWKHER\V            4+RZGRHVSXEHUW\VXSSUHVVLRQGLIIHUIURPFURVV
     WHDPLQFOXGLQJLQWHQVLW\RIJHQGHUG\VSKRULD                    VH[KRUPRQHV"
     4%XWWKHODZGRHVQRWSUHYHQWWKHPIURPSOD\LQJ           $77251(<%/2&.6DPHREMHFWLRQ
     RQWKHER\VWHDP                                                 7+(:,71(667RWDOO\GLIIHUHQW
     &RUUHFW"                                                PHGLFDWLRQ2QHVXSSUHVVKRUPRQHVDQGWKHRWKHULVD
     $)URPP\UHDGRIWKHODZLWGRHVQRWSUHYHQWWKHP         GLUHFWKRUPRQHLWVHOI
     IURPSOD\LQJRQWKHER\VWHDP$JDLQIURPDPHQWDO              %<$77251(<%$5+$0
     KHDOWKSHUVSHFWLYHWKHLUJHQGHUG\VSKRULDPD\                   46RFURVVVH[KRUPRQHVDUHJLYHQZLWKWKH


                                                                                            3DJHVWR
                Case: 22-5807
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                                                           3DJH                                                     3DJH
      LQWHQWLRQRIFDXVLQJGHYHORSPHQWW\SLFDOWRWKHRWKHU             $7KDW VQRWDTXHVWLRQ,FDQVSHDNWR7KDW VD
      VH[                                                              TXHVWLRQIRUWKHSK\VLFLDQRUSURYLGHUZKR VSUHVFULELQJ
      &RUUHFW"                                                 WKDWVSHFLILFPHGLFDWLRQ
      $,WGHSHQGVXSRQWKHFRQWH[WLQZKLFKKRUPRQHV            46RDIWHU\RXUHFRPPHQGWKDWDSDWLHQWUHFHLYH
      DUHXVHG$QGDJDLQ,ZRXOGGHIHUIRUP\HQGRFULQRORJ\          SXEHUW\EORFNLQJKRUPRQHVZKDWLV\RXUFRQWLQXLQJ
      FROOHDJXHVRQWKHVSHFLILFV                                      LQYROYHPHQWLQWKHSXEHUW\EORFNLQJSURFHVV"
      46RLIFURVVVH[KRUPRQHVDUHJLYHQWRDQDWDO            $0\FRQWLQXLQJLQYROYHPHQWUHDOO\GHSHQGVXSRQ
      PDOHDVSDUWRIWUHDWPHQWIRUJHQGHUG\VSKRULDZKDWLV           WKHLQGLYLGXDOFKLOGDQGIDPLO\IRUWKHVDNHRIDPHQWDO
      WKHLQWHQWLRQ"                                                    KHDOWKDVVHVVPHQW)RUWKHLQLWLDWLRQRISXEHUW\
     $77251(<%/2&.2EMHFWLRQWRIRUP               VXSSUHVVLRQLW VDQDVVHVVPHQWIRUWKHLQLWLDWLRQRI
     7+(:,71(66$V,XQGHUVWDQGLWLIDQ           SXEHUW\VXSSUHVVLRQ7KHLQYROYHPHQWWKHUHDIWHULV
     DVVLJQHGPDOHDWELUWKLVJLYHQFURVVVH[KRUPRQHVWKDW          UHDOO\GHSHQGHQWXSRQZKDWWKHLQGLYLGXDOQHHGVRIWKDW
     LVHVWURJHQLQRUGHUWRSURYLGHWKHHIIHFWVRIHVWURJHQ          FKLOGDUH
     RQWKHERG\                                                     4'R\RXSOD\DQ\UROHLQFRQWLQXLQJWRDGYLVH
     %<$77251(<%$5+$0                                              ZKHWKHUWKHSDWLHQWFDQFRQWLQXHWRUHFHLYHSXEHUW\
     4$QGWKHHIIHFWVRIHVWURJHQRQWKHERG\DUHZKDW        EORFNLQJKRUPRQHVRUFRPHRIIRIWKHP"
     QDWDOIHPDOHVZRXOGQDWXUDOO\H[SHULHQFHDVDUHVXOWRI          $,WUHDOO\GHSHQGVXSRQWKHFRQWH[W,IWKH
     SXEHUW\                                                         FKLOGLVVHHNLQJWRFRPHRIIRISXEHUW\VXSSUHVVLRQ
     &RUUHFW                                                 EHFDXVHRIDVKLIWLQWKHLUXQGHUVWDQGLQJRIWKHLU
     $,PHDQWKDWLVFRUUHFW\HV                           LGHQWLW\FHUWDLQO\WKDW VDFRQYHUVDWLRQWKDW,ZRXOG
     4$QGVRLIDQDWDOIHPDOHLVJLYHQFURVVVH[             EHLQYROYHGLQ,IWKH\DUHFRPLQJRIIRISXEHUW\
     KRUPRQHVVKH VEHLQJJLYHQWHVWRVWHURQHWRFUHDWHWKH           VXSSUHVVLRQEHFDXVHWKH\KDYHDVXIILFLHQWDPRXQWRI
     HIIHFWVWKDWQDWDOPDOHVZRXOGQDWXUDOO\H[SHULHQFH              WHVWRVWHURQHRUHVWURJHQLQWKHLUV\VWHPWKDWWKH\DUH
     WKURXJKSXEHUW\                                                 QRORQJHUUHTXLULQJWKDWIURPDPHGLFDOSXUSRVHWKDW V


                                                           3DJH                                                     3DJH
     &RUUHFW"                                                  QRWDGLVFXVVLRQWKDW, PSULY\WR
     $7\SLFDOO\VSHDNLQJDQDVVLJQHGIHPDOHDWELUWK           4:KHQ\RXDUHGLVFXVVLQJSXEHUW\EORFNHUVZLWK
     LVJRLQJWREHUHFHLYLQJWHVWRVWHURQHDQGZLOOKDYHWKH            SDWLHQWVDQGWKHLUSDUHQWVGR\RXGHVFULEHWKHPDV
     VXEVHTXHQWHIIHFWVDVDUHVXOWRIKDYLQJWHVWRVWHURQHLQ           SODFLQJDSDXVHRQSXEHUW\"
     WKHEORRGVWUHDP                                                   $7KDW VQRWVSHFLILFODQJXDJHWKDW,XVH
     40D\EH,ZDVFRQIXVHGDQDWDOPDOHZKRLVJLYHQ           4'R\RXGHVFULEHWKHPDVEHLQJUHYHUVLEOH"
     FURVVVH[KRUPRQHV"                                                $$JDLQWKDW VQRWDODQJXDJHWKDW,XVH, P
     $<RXZHUHULJKW                                           PXFKPRUHVSHFLILFLQP\GLVFXVVLRQV
     4,ZDVULJKWRND\$WZKDW7DQQHUVWDJHGR\RX           46RRQWKHLVVXHRIZKHWKHUSXEHUW\EORFNLQJ
    UHFRPPHQGWKDWDSDWLHQWEHJLQSXEHUW\EORFNHUKRUPRQHV"          KRUPRQHVDUHUHYHUVLEOHZKDWGR\RXWHOOSDUHQWVDQG
    $$JDLQWKDW VJRLQJWRGHSHQGXSRQDQ                    SDWLHQWV"
    LQGLYLGXDOL]HGDVVHVVPHQWZLWKWKHIDPLO\EXWQHYHU              $,ZRXOGVD\E\DQGODUJHPRVWRIWKHHIIHFWV
    EHIRUH7DQQHU6WDJHRISXEHUW\                                 RISXEHUW\VXSSUHVVLRQDUHUHYHUVLEOH
    4$QGLQZKDWDJHGRHV7DQQHU6WDJHEHJLQDJDLQ"         4$QGZKHQ\RXVD\E\DQGODUJHZKDWHIIHFWVDUH
    $77251(<%/2&.$VNHGDQGDQVZHUHG               \RXUHIHUHQFLQJ"
    7+(:,71(66,WKLQN,DQVZHUHGWKDW              $:KDW, PUHIHUHQFLQJLVWKDWWKHOLWHUDWXUHLV
    TXHVWLRQ,WUHDOO\GHSHQGVXSRQWKHSHUVRQ                     VWLOODQRSHQERRNDQGZHDUHFRQVWDQWO\VHHNLQJDQG
    %<$77251(<%$5+$0                                               OHDUQLQJQHZLQIRUPDWLRQ:HZDQWWRXQGHUVWDQGZKDW
    4$QGW\SLFDOO\                                       WKRVHSRWHQWLDOQHZGDWDWHOOXVDERXWWKHHIILFDF\
    $$QGIRUDQDVVLJQHGPDOHDWELUWKZH UHWDONLQJ          VDIHW\HWFHWHUDRIWKHVHLQWHUYHQWLRQV
    LVKEXWDJDLQ,ZRXOGUHIHUWRP\HQGRFULQRORJ\               46RZKHQ\RXVD\WKH\DUHE\DQGODUJHWKH
    FROOHDJXHVRQWKHVSHFLILFGDWHV                                 HIIHFWVDUHUHYHUVLEOHZKLFKHIIHFWVDUH\RX
    4$QGWKURXJKZKDW7DQQHUVWDJHGR\RXUHFRPPHQG           UHIHUHQFLQJDUHWKHE\DQGODUJH"
    WKDWDSDWLHQWUHPDLQRQSXEHUW\EORFNHUV"                        $:KHQ,VD\E\DQGODUJHLW VUHDOO\DFDYHDWWR


                                                                                            3DJHVWR
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                                                    3DJH                                                          3DJH
      DOORZIRUWKHWKLQJVWKDWZHGRQ W\HWNQRZ                    \RXUSUDFWLFH"
      46RZKLFKHIIHFWVDUHUHYHUVLEOH"                       $77251(<%/2&.2EMHFWLRQWRIRUP
      $9LUWXDOO\DOORIWKHHIIHFWVWKDWZH UHDZDUHRI       7+(:,71(667KLVLVWKHGRFXPHQW
      DUHUHYHUVLEOH                                                 DV,UHDGLWLVDVHWRIJXLGHOLQHVIRUWKHSUDFWLFHRI
      4:KHQ\RX UHGLVFXVVLQJSXEHUW\EORFNHUVZLWK           FDUHWKDWVKRXOGEHLQGLYLGXDOO\DSSOLHGWRHDFKFKLOG
      SDWLHQWVDQGWKHLUSDUHQWVGR\RXGHVFULEHWKHPDVVDIH"        DQGIDPLO\0\SUDFWLFHWDNHVWKHVHUHFRPPHQGDWLRQVDQG
      $6DIHLVQ WDELQDU\FRQFHSWLQP\ZRUOG7KHUH        LQGLYLGXDOO\DSSOLHVWKHPWRWKHVSHFLILFULVNV
      LVQRVXFKWKLQJDVDQ\WKLQJWKDWLVFRPSOHWHO\VDIHRU         EHQHILWVDQGDOWHUQDWLYHVIRUWKHFKLOGVLWWLQJLQIURQW
      XQVDIH6RZHWDONDERXWJUDGDWLRQVRIULVNZLWKDQ\           RIPH
     LQWHUYHQWLRQ                                                  %<$77251(<%$5+$0
     46RIRUSXEHUW\EORFNHUVZKDWDUHWKHZKDW V       42QWKHSULRUSDJHLQQXPEHUWKH(QGRFULQH
     WKHJUDGDWLRQRIULVN"                                         6RFLHW\UHFRPPHQGVDJDLQVWSXEHUW\EORFNLQJDQGJHQGHU
     $,WLVLQGLYLGXDOL]HGWRWKHVSHFLILFQHHGVRI         DIILUPLQJKRUPRQHWUHDWPHQWLQSUHSXEHUWDOFKLOGUHQ'R
     WKHFKLOGDQGWKHIDPLO\                                      \RXDSSURYHWKHXVHRISXEHUW\EORFNHUVEHIRUHSXEHUW\"
     4,QJHQHUDOZKDWLV\RXUXQGHUVWDQGLQJRIWKH         $,GRQRW
     JUDGDWLRQVRIULVNDFURVVWKHERDUG"                           4<RXGLGQ WUHFRPPHQGRUSUHVFULEHDQ\SXEHUW\
     $77251(<%/2&.2EMHFWLRQWRIRUP             EORFNHUVIRU%3-
     7+(:,71(66,GRQ WKDYHDEHWWHU             ,VWKDWFRUUHFW"
     DQVZHUIRU\RXEHFDXVHWKDW VWKHZKROHSURFHVVRIGRLQJ       $,KDYHQRW
     DQLQIRUPHGFRQVHQWSURFHVVLVXQGHUVWDQGLQJZKDWDUH         4<RXGLGQRWHYDOXDWH%3-EHIRUHKHVWDUWHG
     WKHVSHFLILFULVNVDQGEHQHILWVDQGDOWHUQDWLYHVIRU           WDNLQJSXEHUW\EORFNHUV
     WKDWLQGLYLGXDOFKLOG                                         ,VWKDWFRUUHFW"
     %<$77251(<%$5+$0                                            $,KDYHQRWHYDOXDWHGKHURUVHHQKHUWKHVH
     4$UH\RXDZDUHRIWKHOLWHUDWXUHUHJDUGLQJDQ\         PDWHULDOV


                                                    3DJH                                                          3DJH
      WHVWLQJRISXEHUW\EORFNLQJKRUPRQHVDQGWKHJUDGDWLRQV         4,VLW\RXURSLQLRQWKDWQRUHVSRQVLEOHFOLQLFV
      RIULVNVSUHVHQWHGLQWKRVHWHVWV"                              EHJLQSXEHUW\EORFNLQJEHIRUHSXEHUW\EHJLQV"
      $, PQRWVXUHZKDW\RXPHDQE\WHVWV                   $77251(<%/2&.2EMHFWLRQWRIRUPDQG
      $77251(<%/2&.2EMHFWLRQWRIRUP              VFRSH
      7+(:,71(66, PQRWVXUHZKDW\RXPHDQ         7+(:,71(667KHUH VQRLQGLFDWLRQWR
      E\WHVWLQJ                                                     VWDUWSXEHUW\EORFNLQJDJHQWVXQWLO7DQQHU6WDJH
      %<$77251(<%$5+$0                                             %<$77251(<%$5+$0
      4'RQ WPHGLFDWLRQVXQGHUJRWHVWLQJEHIRUHWKH\          4,VQ WLWWUXHWKDWWKHUHKDYHEHHQQR3KDVH,
      FDQEHXVHG"                                                    FOLQLFDOWULDOVWRWHVWWKHVDIHW\RI*Q5+LQKLELWRUV
     $7KHUH VDZLGHYDULHW\RISURFHVVHVE\ZKLFK          IRUWKLVDJHJURXS"
     PHGLFDWLRQVDUHDSSURYHGRUQRWDSSURYHGIRUFHUWDLQ           $7KDWLVP\XQGHUVWDQGLQJEXW,ZRXOGKDYHWR
     LQGLFDWLRQV                                                   VSHFLILFDOO\UHYLHZWKHOLWHUDWXUHZLWKWKDWTXHVWLRQLQ
     $77251(<%$5+$0/HW VJRWR7DE,         PLQG, PQRWIDPLOLDUFRPSOHWHO\IDPLOLDUZLWKWKH
     EHOLHYHWKDW V([KLELW                                      SKDVHGQRPHQFODWXUHLQWKLVFRQWH[W
     /$:&/(5.:,/.,1621([KLELW                4,VQ WLWWUXHWKDWWKHUHKDYHEHHQQR3KDVH,
     %<$77251(<%$5+$0                                            FOLQLFDOWULDOVWRWHVWWKHVDIHW\RI*Q5+LQKLELWRUV
     4,W VWKH(QGRFULQH6RFLHW\*XLGHOLQHVIURP      IRUWKLVGXUDWLRQ"
     7+(:,71(66<HV                             $$JDLQ,ZRXOGQHHGWRILQGDGHILQLWLRQRIZKDW
     %<$77251(<%$5+$0                                            \RXDUHUHIHUULQJWRE\3KDVH,VSHFLILFDOO\
     42QSDJHWKH(QGRFULQH6RFLHW\VWDWHVZH          4,VQ WLWWUXHWKHUHKDYHEHHQQRFOLQLFDOWULDOV
     VXJJHVWWKDWFOLQLFLDQVEHJLQSXEHUWDOKRUPRQH                 SHU)'$UXOHVIRUWKLVXVHRISXEHUW\EORFNHUV"
     VXSSUHVVLRQWKHUDS\SXEHUWDOKRUPRQHVXSSUHVVLRQ           $,GRQ WNQRZZKDWLVPHDQWE\SHU)'$UXOHV
     DIWHUJLUOVDQGER\VILUVWH[KLELWSK\VLFDOFKDQJHVRI         4)RRGDQG'UXJ$GPLQLVWUDWLRQUXOHV"
     SXEHUW\7DQQHUVWDJHV*%,VWKDWFRQVLVWHQWZLWK       $<HDK, PQRWIDPLOLDUZLWKZKDWWKHLUUXOHV


                                                                                         3DJHVWR
                Case: 22-5807
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                                                               3DJH                                                     3DJH
       DUH7KHUHKDYHEHHQFOLQLFDOWULDOVRIWKHVH                       FXUUHQWWLPHUHDGVSP
       PHGLFDWLRQVIRUWKLVSXUSRVH                                        %<$77251(<%$5+$0
       4:KLFKFOLQLFDOWULDOVDUH\RXUHIHUHQFLQJ"                  4:HZHUHORRNLQJDW7DEZKLFKLV([KLELW
       $7KHUHDUHFOLQLFDOWULDOVWKURXJKWKH'XWFK                 SDJH$ERXWWKUHHTXDUWHUVGRZQWKHILUVWFROXPQ
       FOLQLF7KHUHLVDOVRDQRQJRLQJFOLQLFDOWULDOKHUHLQ             WKH(QGRFULQH6RFLHW\LQGLFDWHVTXRWHLQWKHIXWXUHZH
       WKH86DPXOWLSKDVHVWXG\                                       QHHGPRUHULJRURXVHYDOXDWLRQVRIWKHHIIHFWLYHQHVVDQG
       47KDWVWXG\LVVWLOORQJRLQJ                                VDIHW\RIHQGRFULQHDQGVXUJLFDOSURWRFROVDQG
       &RUUHFW                                                    VSHFLILFDOO\KLJKOLJKWWKHQHHGWRLQFOXGHDFDUHIXO
       $7KDWLVFRUUHFW                                            DVVHVVPHQWRIWKHHIIHFWRISURORQJHGGHOD\RISXEHUW\
      46RWKHUHDUHQRFRPSOHWHGFOLQLFDOWULDOVLQWKH           LQDGROHVFHQFHRQERQHKHDOWKJRQDGDOIXQFWLRQDQGWKH
      8QLWHG6WDWHVXQGHU)'$UXOHV                                      EUDLQ
      &RUUHFW"                                                   'R\RXVHHWKDW"
      $,DPQRW                                              $,VHHWKDW\HV
      $77251(<%/2&.2EMHFWLRQWRWKHIRUP              4'R\RXDJUHHWKDWPRUHULJRURXVHYDOXDWLRQVRI
      7+(:,71(66,FDQ WVD\WKDW, P                   WKHVDIHW\RIHQGRFULQHDQGVXUJLFDOSURWRFROVDUH
      IDPLOLDUZLWKDOOFOLQLFDOWULDOVWKDWKDYHHYHU                    QHHGHG"
      KDSSHQHGVRWKDW VQRWDVWDWHPHQW,FDQDQVZHU                   $,ZRXOGDJUHHWKDWWKDW VDQLPSRUWDQWJRDOIRU
      %<$77251(<%$5+$0                                                 DOOWUHDWPHQWV\HV
      4<RX UHQRWDZDUHRIDQ\WKRXJK"                           4'R\RXDJUHHWKDWEHFDXVHDVWKH(QGRFULQH
      $,GRQ WNQRZZKDWLVPHDQWE\3KDVH,DQGZKDW             6RFLHW\LQGLFDWHGKHUHWKDWWKHVHHYDOXDWLRQVDUH
      VSHFLILFDOO\LVUHJLVWHUHGZLWKWKH)'$IRUWKHLU                   QHHGHGLQWKHIXWXUHWKDWWKLVWKDWWKH\KDYHQRW
      SXUSRVHVYHUVXVWKHFRSLRXVQXPEHUVRIFOLQLFDOWULDOV              EHHQGRQH\HW"
      WKDWKDYHKDSSHQHG                                                 $:HOOWKLVLVSXEOLVKHGLQ7KHUHDUH
      4$UH\RXDZDUHRIDQ\FOLQLFDOWULDOVLQWKH                RQJRLQJWULDOVWKDWDUHKDSSHQLQJQRZDQGVRPHWKDW


                                                               3DJH                                                     3DJH
     8QLWHG6WDWHVWKDWKDYHEHHQFRPSOHWHGUHJDUGLQJWKH                   KDYHKDGDWOHDVWSUHOLPLQDU\GDWDSUHVHQWHGDWYDULRXV
     VDIHW\RIXVLQJSXEHUW\EORFNHUVIRUJHQGHUG\VSKRULD"                 PHHWLQJVWKDWKDYHORRNHGDWVRPHRIWKHVH
     $77251(<%/2&.2EMHFWLRQWRIRUP                     46RWKHLVVXHKHUHLVWKHSURORQJGHOD\RI
     7+(:,71(66<HDK, PQRWVXUHKRZ,                  SXEHUW\<RXZRXOGDJUHHWKDWLW VTXLWHGLIIHUHQWIURP
     FDQDQVZHUWKDWEHFDXVH, PQRWDZDUHRIDOORIWKH                    WUHDWLQJLQGLYLGXDOVZLWKSUHFRFLRXVSXEHUW\
     WULDOVWKDWKDYHRFFXUUHG                                             &RUUHFW"
     $77251(<%/2&.&RXQVHOFDQZHKDYHD                 $77251(<%/2&.2EMHFWLRQWRIRUPDQG
     GLVFXVVLRQDERXWWKHVFRSHRIWKLVGHSRVLWLRQ", P                    VFRSH
     KDSS\WRKDYHLWRIIWKHUHFRUG,GRQ WZDQWLWWR                   7+(:,71(66$VDQRQHQGRFULQRORJLVW,
    LQIOXHQFHWKHZLWQHVVDWDOOEXWWKLVLVDUHEXWWDO                  ZRXOGQ WKD]DUGDQRSLQLRQRQWKDW
    ZLWQHVVDGGUHVVLQJVSHFLILFLVVXHVDQGLWVHHPVWKDW                 %<$77251(<%$5+$0
    \RXNQRZWKHUHDUHDORWRITXHVWLRQVWKDWDUHMXVW                  4'R\RXWUHDWLQGLYLGXDOVIRUSUHFRFLRXVSXEHUW\"
    UHDOO\IDURXWVLGHWKHVFRSH6R, GORYHWRKDYHD                  $,GRQRW
    GLVFXVVLRQ                                                           4'R\RXDJUHHZLWKWKH(QGRFULQH6RFLHW\WKDW
    $77251(<%$5+$0, PKDSS\WRJRRIIWKH              WKHUHKDYHQRW\HWEHHQDVWXG\RIKRZWKHSURORQJHG
    UHFRUG                                                               GHOD\RISXEHUW\DIIHFWVERQHKHDOWK"
    9,'(2*5$3+(5*RLQJRIIWKHUHFRUG7KH              $77251(<%/2&.2EMHFWLRQWRIRUPDQG
    FXUUHQWWLPHUHDGVSP                                          VFRSH
    2))9,'(27$3(                                                         7+(:,71(66,GRQ WNQRZLI,FDQ
                                            DQVZHUWKDWLQWKHPRVWDFFXUDWHZD\,NQRZ, YHVHHQ
     :+(5(8321$12))5(&25'',6&866,21:$6+(/'                        SUHOLPLQDU\GDWDSUHVHQWHGDWYDULRXVPHHWLQJVDERXW
                                            LPSDFWVRQERQHKHDOWKEXW, PQRWDVIDPLOLDUZLWKWKH
    219,'(27$3(                                                          HQGRFULQHOLWHUDWXUHDV,DPZLWKWKHPHQWDOKHDOWK
    9,'(2*5$3+(5%DFNRQWKHUHFRUG7KH                OLWHUDWXUH


                                                                                                3DJHVWR
                Case: 22-5807
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                                                    3DJH                                                                      3DJH
      %<$77251(<%$5+$0                                             $:KDW,ZRXOGVD\WKLVZDVSXEOLVKHGLQDQG
      4'R\RXDJUHHWKDWWKHUHKDVQRW\HWEHHQDVWXG\       VRZHZRXOGZDQWWRXSGDWHVLQFHWKHQDERXWDQ\
      RQWKHSURORQJHGHIIHFWRIWKHSURORQJHGGHOD\RI           OLWHUDWXUHVLQFHWKHQRQWKHVHSRWHQWLDOULVNV:KDW,
      SXEHUW\DIIHFWLQJJRQDGDOIXQFWLRQ"                             ZDQWWRGRLVPDNHVXUHWKDWWKHHQGRFULQRORJLVWRUWKH
      $77251(<%/2&.2EMHFWLRQWRIRUPDQG           DGROHVFHQWPHGLFLQHVSHFLDOLVWZKRHYHULWLVWKDWLV
      VFRSH                                                          SUHVFULELQJWKHVSHFLILFWUHDWPHQWNQRZVKRZWRKDYH
      7+(:,71(666DPHDQVZHUDVWRWKHODVW         WKRVHGLVFXVVLRQVEDVHGRQWKHSV\FKLDWULFQHHGVRIWKH
      RQH                                                            SDWLHQWVWKDW, PVHHLQJ
      %<$77251(<%$51+$0                                            4/HW VWXUQWRLQWKLVGRFXPHQW7KH
     4$QGWKDWLVWKHVDPHDVIHUWLOLW\"                    (QGRFULQH6RFLHW\LQGLFDWHVWKDWWKHWDVNIRUFHIROORZHG
     &RUUHFW"                                              WKHDSSURDFKUHFRPPHQGHGE\WKHJUDGLQJRI
     $7KHUHKDVEHHQPRUHVWXG\IHUWLOLW\LQWKRVH          UHFRPPHQGDWLRQVDQGDVVHVVPHQWVGHYHORSPHQWDQG
     SRSXODWLRQV                                                   HYDOXDWLRQJURXS7KHLQWHUQDWLRQDOJURXSZLWK
     4'R\RXDJUHHWKHUHKDVQRW\HWEHHQDVWXG\RQ        H[SHUWLVHLQWKHGHYHORSPHQWDQGLPSOHPHQWDWLRQRI
     KRZWKHSURORQJHGGHOD\RISXEHUW\DIIHFWVWKHEUDLQ"          HYLGHQFHEDVHGJXLGHOLQHV'R\RXVHHWKDWLQWKH
     $7KHUHDUHRQJRLQJVWXGLHV                            VHFRQGFROXPQ"
     41RQHFRPSOHWH\HW"                                    $<HV
     $1RQHWKDWKDYHSXEOLVKHGWKXVIDUWKDW, PDZDUH      4$QGLQWKLVGRFXPHQWWKH\LQGLFDWHWKDWWKHXVH
     RIDJDLQ                                                      RIWKHSKUDVHZHUHFRPPHQGDQGWKHQXPEHURQHDUHVWURQJ
     4$QGZKHQ\RXVD\WKHUHDUHRQJRLQJVWXGLHVRI         UHFRPPHQGDWLRQVXVHWKHSKUDVHZHUHFRPPHQG
     ERQHKHDOWKQRQHKDYHSXEOLVKHGVRIDUWKDW\RX UH            UHFRPPHQGDWLRQVXVHWKHSKUDVHRIZHVXJJHVWLQQXPEHU
     DZDUHRI                                                      WZR
     &RUUHFW"                                              ,VWKDWFRUUHFW"
     $,NQRZ,KDYHVHHQGDWDSXEOLVKHGDWYDULRXV          $&RUUHFW


                                                    3DJH                                                                      3DJH
      QDWLRQDODQGLQWHUQDWLRQDOPHHWLQJVVR,FRXOGQRW             46RWKHUHFRPPHQGDWLRQVUHJDUGLQJWKHXVHRI
      DQVZHUWKDWTXHVWLRQDFFXUDWHO\,WKLQNWKLQJVKDYH           SXEHUW\EORFNHUVDUHEDVHGRQORZTXDOLW\HYLGHQFH
      EHHQSXEOLVKHGRQERQHKHDOWKEXW, PQRWIDPLOLDUZLWK        &RUUHFW"
      , PQRWDVIDPLOLDUZLWKWKHHQGRFULQRORJLF                 $77251(<%/2&.2EMHFWLRQWRIRUP
      OLWHUDWXUHDV,DPWKHPHQWDOKHDOWKOLWHUDWXUH                7+(:,71(66:KDW,FDQVWDWHLVKRZ
      4$UH\RXDZDUHRIDQ\VWXGLHVWKDWKDYHEHHQ            WKLVSDUWLFXODUZRUNLQJJURXSZLWKLQWKH(QGRFULQH
      FRPSOHWHGUHJDUGLQJWKHSURORQJHGGHOD\RISXEHUW\              6RFLHW\FKDUDFWHUL]HGLWXVLQJWKHDVVHVVPHQWWRRODQG
      DIIHFWLQJWKHFRJQLWLYHHPRWLRQDOVRFLDODQGVH[XDO           XVLQJWKLVDVVHVVPHQWWRROWKDWLVKRZLWZDVJUDGHGIRU
      GHYHORSPHQW"                                                    WKHVDNHRIWKLVVHWRIJXLGHOLQHV
     $&DQ\RXUHSHDWWKHTXHVWLRQ"                          %<$77251(<%$5+$0
     4$UH\RXDZDUHRIDQ\VWXGLHVWKDWKDYHEHHQ           4:HUH\RXDZDUHRIWKLVZKHQ\RXGUDIWHG\RXU
     FRPSOHWHGUHJDUGLQJWKHSURORQJHGGHOD\RIKRZWKH         UHSRUW"
     SURORQJHGGHOD\RISXEHUW\DIIHFWVWKHFRJQLWLYH              $<HV
     HPRWLRQDOVRFLDODQGVH[XDOGHYHORSPHQW"                      4'R\RXDJUHHRUGLVDJUHHZLWKWKLVDVVHVVPHQWRI
     $7KHUHKDYHEHHQDQXPEHURIVWXGLHVLQFOXGLQJ         WKHTXDOLW\RIWKHHYLGHQFH"
     VWXGLHVWKDWZHKDYHUHIHUHQFHGKHUHWKDWKDYHORRNHGDW       $%DVHGXSRQKRZWKH\GLGLW,ZRXOGDJUHH,Q
     ORQJWHUPSV\FKRVRFLDORXWFRPHVIRUWKHVHNLGV6R            WKHZRUOGRIFKLOGSV\FKLDWU\WKLVLVYHU\FRPPRQ
     FHUWDLQO\VRPHRIWKRVHLWHPVKDYHEHHQORRNHGDWTXLWH        7KHUHLVYHU\OLWWOHWKDWZHKDYHLQWHUPVRIYHU\
     H[WHQVLYHO\6RPHKDYHQRW\HWRUKDYHVWXGLHVWKDWDUH       PDLQVWUHDPVWDQGDUGRIFDUHWUHDWPHQWVWKDWKDVDQ\WKLQJ
     RQJRLQJ                                                       RWKHUWKDQSRRUTXDOLW\RIHYLGHQFHEDVHGXSRQXVLQJ
     4,IWKH(QGRFULQH6RFLHW\LVLQGLFDWLQJWKDWDOO       WKHVHVWDQGDUGV
     RIWKLVLVQHHGHGUHVHDUFKZK\DUH\RXZKDWGR\RX        $77251(<%$5+$0, PJRLQJWRKDQG\RX
     WHOOSDUHQWVDERXWWKHUHODWLYHVDIHW\RISXEHUW\              ZKDWZHZLOOPDUNDV([KLELWDQGWKDWZLOOEH
     EORFNLQJKRUPRQHV"                                             7DE"


                                                                                               3DJHVWR
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                                                   3DJH                                                             3DJH
      7+(:,71(667KDQNV                           $,GRQRWVHHZKHUHLWVD\VWKDW
      /$:&/(5.:,/.,1621<RX UHZHOFRPH           4"
                                        $<HV
       :KHUHXSRQ([KLELW/DEHORI/XSURQ        4'R\RXNQRZZK\WKHWHVWZDVZHLJKWHGWRZDUGV
      ZDVPDUNHGIRULGHQWLILFDWLRQ                 JLUOV"
                                        $77251(<%/2&.2EMHFWLRQWRIRUPDQG
      %<$77251(<%$5+$0                                            VFRSHDQGIRXQGDWLRQ
      47KLVLVWKHODEHORI/XSURQSKDUPDFHXWLFDO           7+(:,71(66,WZRXOGEHDPHUH
      ODEHOIRU/XSURQ5LJKWDWWKHWRSRISDJHRQHWKLV          VXSSRVLWLRQRQP\HQG
     ODEHOLQGLFDWHVWKDW/XSURQLVDSSURYHGIRUSXEHUW\           %<$77251(<%$5+$0
     EORFNLQJRUGHOD\IRUSUHFRFLRXVSXEHUW\                     4,VLWEHFDXVHSUHFRFLRXVSXEHUW\LVPRUHFRPPRQ
     &RUUHFW"                                             LQJLUOV"
     $7KDWLVFRUUHFW                                     $,ZRXOGGHIHUWRDQHQGRFULQRORJLVWRQWKLV
     4$QGSUHFRFLRXVSXEHUW\LVDKRUPRQDOLPEDODQFH      HSLGHPLRORJ\RIWKDW
     &RUUHFW"                                             4%XWWKHJRDORIXVLQJ/XSURQLQWKLVFRQWH[WLV
     $,WKLQNWKHUH VDSUHFLVHWHUPLQRORJ\IRU            WRKHOSVWHHUWKHERG\LQWRKHDOWK\DQGQRUPDO
     SUHFRFLRXVSXEHUW\WKDWLQYROYHVPRUHWKDQMXVWD             GHYHORSPHQW
     KRUPRQDOLPEDODQFH                                           &RUUHFW"
     4%XWLW VDPDOIXQFWLRQRIKRUPRQDOFRQWUROVLQ       $77251(<%/2&.2EMHFWLRQWRIRUP
     WKHEUDLQ"                                                    VFRSH
     $77251(<%/2&.2EMHFWLRQWRWKHIRUP        7+(:,71(66*HQHUDOO\VSHDNLQJ,ZRXOG
     7+(:,71(660\XQGHUVWDQGLQJDVD            DJUHHZLWKWKDW
     QRQHQGRFULQRORJLVWLVWKDW VLQLWLDWLRQRISXEHUW\PXFK      %<$77251(<%$5+$0
     HDUOLHUWKDQDQWLFLSDWHGRUH[SHFWHGEDVHGXSRQWKH           43UHVFULELQJ/XSURQRURWKHU*Q5+IRUJHQGHU


                                                   3DJH                                                             3DJH
      KLVWRU\RIWKHIDPLO\                                         G\VSKRULDGLVUXSWVKRUPRQHVDQGGHYHORSPHQWVDWDQHDUO\
      %<$77251(<%$5+$0                                            VWDJH
      46R/XSURQLVLQVSHFWHGDQGDSSURYHGE\WKH)'$        &RUUHFW"
      IRUVDIHW\DQGHIILFDF\IRUSUHFRFLRXVSXEHUW\QRWIRU         $77251(<%/2&.2EMHFWLRQWRWKHIRUP
      DOORWKHUSRVVLEOHXVHV                                       DQGVFRSH
      &RUUHFW"                                              7+(:,71(66$JDLQDVDPHQWDOKHDOWK
      $&RUUHFW                                              SURIHVVLRQDOWKLVZRXOGEHRXWVLGHRIP\DUHDRI
      4$QG/XSURQZDVWHVWHGRQO\IRUGHOD\LQJSXEHUW\       H[SHUWLVHWRFRPPHQWRQWKDW
      XSXQWLOWKHQRUPDODJHRISXEHUW\                            %<$77251(<%$5+$0
     &RUUHFW"                                             4:RXOG\RXDJUHHWKDWQRUPDOSXEHUWDOGHYHORSPHQW
     $77251(<%/2&.2EMHFWLRQWRIRUP            LQFOXGHVERQHJURZWKVXFKDVKHLJKW"
     7+(:,71(66, PQRWIDPLOLDUZLWKWKH        $77251(<%/2&.2EMHFWLRQWRIRUPDQG
     OLWHUDWXUHWKDWZDVXVHGIRUJDLQLQJWKH)'$DSSURYDO         VFRSH
     IRUWKLVLQGLFDWLRQ                                          7+(:,71(66<HV,ZRXOG
     %<$77251(<%$5+$0                                           %<$77251(<%$5+$0
     4,I\RXWXUQWRVHFWLRQ\RX OOVHH         4:RXOG\RXDJUHHWKDWQRUPDOSXEHUWDOGHYHORSPHQW
     WKDWLWVD\VWKDWWKLV/XSURQZDVWHVWHGIRUPRQWKO\      FDQLQFOXGHERQHVWUHQJWKHQLQJ"
     DGPLQLVWUDWLRQRQPDOHVDQGIHPDOHV                     $77251(<%/2&.2EMHFWLRQWRIRUPDQG
     ,VWKDWFRUUHFW"                                     VFRSH
     $7KDWLVFRUUHFW                                     7+(:,71(666SHFLILFVRIWKDWTXHVWLRQ
     4$QGRQWKHQH[WSDJH\RX OOVHHLWZDVWHVWHG        DUHUHDOO\RXWVLGHRIP\VFRSHRIXQGHUVWDQGLQJLQWKH
     IRUWKUHHPRQWKVDGPLQLVWUDWLRQRQPDOHVDQG             SUDFWLFHWKDW,KDYH
     IHPDOHV                                                      %<$77251(<%$5+$0
     ,VWKDWFRUUHFW"                                     4%XWLQJHQHUDO\RXZRXOGDJUHHWKDWERQHVJHW



                                                                                          3DJHVWR
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                                                    3DJH                                                          3DJH
      VWURQJHUGXULQJSXEHUW\HVSHFLDOO\IRUPHQ"                    EHHQGHOD\HG
      $77251(<%/2&.2EMHFWLRQWRIRUPDQG           4%XWWKHLUGHYHORSPHQWLQWKDWUHJDUGLVQRW
      VFRSH                                                          FRQWHPSRUDQHRXVZLWKWKHLUSHHUV
      7+(:,71(660\XQGHUVWDQGLQJLVWKDW           &RUUHFW"
      WKHSURFHVVRIERQHKHDOWKLVDTXLWHG\QDPLFQRW              $77251(<%/2&.2EMHFWLRQWRIRUP
      VWDWLFQRUELQDU\SURFHVVVRLW VPRUHFRPSOLFDWHGWKDQ        7+(:,71(66,QP\VSHFLILFK\SRWKHWLFDO
      ,IHHOWKDW,FDQDQVZHUWKDWTXHVWLRQWR                      VRPHRIWKHLUGHYHORSPHQWLVJRLQJWREHFRQWHPSRUDQHRXV
      %<$77251(<%$5+$0                                             ZLWKWKHLUSHHUV6RPHRILWZLOOQRWEH
      4%XWGRERQHVJHQHUDOO\JHWVWURQJHUDVSXEHUW\         $77251(<%$5+$0, PJRLQJWRVKRZ\RX
     SURJUHVVHV"                                                    ZKDWZHZLOOPDUNDV([KLELW7KLVZLOOEH7DE
     $77251(<%/2&.2EMHFWLRQWRIRUPDQG          
     VFRSH                                                          :KHUHXSRQ([KLELW3XEHUW\%ORFNHUV
     7+(:,71(66$JDLQ,WKLQNLW VDPRUH        'RFXPHQWPDUNHGIRULGHQWLILFDWLRQ
     FRPSOLFDWHGDQVZHUWKDQD\HVRUDQREXW, PQRW         
     %<$77251(<%$5+$0                                            7+(:,71(66&DQ,DVNDFODULI\LQJ
     4:RXOG\RXDJUHHWKDWQRUPDOSXEHUWDOGHYHORSPHQW      TXHVWLRQLWLVHDVWFRDVWWLPHQRWFHQWUDO
     LQFOXGHVEUDLQGHYHORSPHQW"                                    $77251(<6:$0,1$7+$1<HV
     $<HV                                                  /$:&/(5.:,/.,16217DE
     4(DFKRIWKHVHWKLQJVKDYHVWRSSHGRUGHFUHDVHG        %<$77251(<%$5+$0
     E\WKHDGPLQLVWUDWLRQRISXEHUW\EORFNHUV                     47KLVGRFXPHQWLVDKDQGRXWRULW VIURPWKH
     &RUUHFW"                                              , PJRLQJWREXWFKHUWKHQDPH'RHUQEHFKHU
     $,GRQ WWKLQNZHFDQVD\WKDWLW VEHHQVWRSSHG       &KLOGUHQ V+RVSLWDODW2+68IURPWKHLUJHQGHUFOLQLFDQG
     RUGHFUHDVHG7KHUH VQRWDWHUPGHFUHDVLQJEUDLQ             DERXWSXEHUW\EORFNHUVGRFXPHQW$WWKHERWWRPRISDJH
     GHYHORSPHQWWKDWKDVEHHQVWXGLHGRUUHIHUUHGWRLQWKH        WKUHHWKLVGRFXPHQWLQGLFDWHVWKDWUHVHDUFKHUVKDYHQRW


                                                    3DJH                                                          3DJH
      OLWHUDWXUHDV, PDZDUHRILW                                  ILQLVKHGVWXG\LQJKRZVDIHSXEHUW\EORFNHUVDUHLQWKH
      46ORZHUEUDLQGHYHORSPHQW"                              ORQJWHUP
      $77251(<%/2&.2EMHFWLRQWRIRUP              'R\RXDJUHHZLWKWKDW"
      7+(:,71(666ORZHULVQ WDZRUGWKDW           $<HDK,ZRXOGDJUHHZLWKWKDW
      , YHXVHGVHHQLQWKHOLWHUDWXUHHLWKHU                       42QWKHQH[WSDJHWKLVGRFXPHQWVD\VWKDWEHFDXVH
      $77251(<75<217UDYLVFDQ\RXVSHDNXS        SXEHUW\EORFNEHFDXVHEORFNLQJSXEHUW\KRUPRQHVFDQ
      MXVWDOLWWOHELWPRUHSOHDVH"                                 ZHDNHQ\RXUERQHVLWLVEHVWWRMXVWWDNHWKHPIRUMXVW
      $77251(<%$5+$0&HUWDLQO\                     WZRRUWKUHH\HDUV
      %<$77251(<%$5+$0                                             'R\RXDJUHHRUGLVDJUHH"
     4:RXOG\RXDJUHHWKDWQRUPDOSXEHUWDOGHYHORSPHQW      $7KDWLVRXWVLGHRIP\VFRSHRIH[SHUWLVH
     DOVRLQFOXGHVSV\FKRVRFLDOGHYHORSPHQWRIDQDGXOW             $JDLQWKLVLVDSXEOLFIDFLQJWKHPRVWOLNH
     LGHQWLW\DVDVH[XDOEHLQJFRQWHPSRUDQHRXVZLWKRQHV           ZHEVLWH,FDQ WEHTXLWHFHUWDLQZKDWWKHFRQWH[WRI
     SHHUV"                                                         WKLVLVEXWWKHLQGLYLGXDOL]HGGLVFXVVLRQV\RX UH
     $,ZRXOGVD\,ZRXOGDJUHHZLWKWKDWDVDQ             KDYLQJZLWKSDWLHQWVDQGIDPLOLHVLVDOZD\VJRLQJWREH
     DGROHVFHQWGHYHORSPHQWDOSURFHVVQRWQHFHVVDULO\DVD         PRUHFRPSOH[WKDQRQHRUWZRVHQWHQFHV
     SXEHUWDOGHYHORSPHQWDOSURFHVV                                4'R\RXH[SHFWWRRIIHUDQ\RSLQLRQLQWKLVFDVH
     4:KDW VWKHZKDW V\RXUGLVWLQFWLRQEHWZHHQ        WKDWSXEHUW\EORFNHUVDGPLQLVWHUHGDFFRUGLQJWR\RXU
     DQDGROHVFHQWSXEHUWDOGHYHORSPHQWH[FXVHPHDQ           JXLGHOLQHVDUHVDIHDQGUHYHUVLEOH"
     DGROHVFHQWGHYHORSPHQWDOSURFHVVDQGDSXEHUWDO                $,GRQ W,JXHVV,GRQ WXQGHUVWDQGWKH
     GHYHORSPHQWDOSURFHVV"                                         TXHVWLRQ,SURYLGHGP\H[SHUWWHVWLPRQ\DQGP\
     $$VDQH[DPSOHIRONVZKRKDYHGHOD\HGSXEHUW\        WHVWLPRQ\LVIRFXVHGRQWKHPHQWDOKHDOWKHIIHFWVRI
     VR\HDUROGVZKR,KDYHVHHQWKDWKDYH\HWWRXQGHUJR       YDULRXVLQWHUYHQWLRQV
     DOOVWDJHVRISXEHUW\QHYHUWKHOHVVGHYHORSDVHQVHRI          42ND\
     LGHQWLW\LQGHSHQGHQWRIWKHIDFWWKDWWKHLUSXEHUW\KDV        'R\RXDQWLFLSDWHVD\LQJDQ\WKLQJDERXWWKH



                                                                                          3DJHVWR
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                                                    3DJH                                                         3DJH
      UHYHUVLELOLW\RISXEHUW\EORFNHUV"                              $77251(<%/2&.2EMHFWLRQWRIRUP
      $2WKHUWKDQZKDW,KDYHDOUHDG\GLVFXVVHG,            7+(:,71(66$OOULVNVDUHJUDGHGULVN
      GRQ WWKLQNVR                                                 DQEHQHILWVDVZHOODVDOWHUQDWLYHVIRUHDFKLQGLYLGXDO
      4/HW VJRWRWDE,WKLQNWKDW V([KLELW           FKLOG
      $QGRQSDJHDJDLQDERXWWZRWKLUGVGRZQWKHILUVW        %<$77251(<%$5+$0
      FROXPQWKH(QGRFULQH6RFLHW\VD\VZHVWLOOQHHGWR             4%XWLILWKDGDQLUUHYHUVLEOHDIIHFWRQEUDLQ
      VWXG\WKHHIIHFWVRISXEHUW\EORFNLQJKRUPRQHVRQ               GHYHORSPHQWWKDWZRXOGVWLOOEHDVHULRXVFRQFHUQ
      JRQDGDOIXQFWLRQ                                               UHJDUGOHVVRIWKHJUDGDWLRQVWKDWZHZRXOGKDYHWR
      &RUUHFW"                                               FRQVLGHUDQGDGGUHVVLW"
     $<HV                                                  $77251(<%/2&.2EMHFWLRQWRIRUP
     47KDWUHIHUVWRKRUPRQHVHFUHWLRQ                     7+(:,71(667KHUHDUHDQXPEHURI
     &RUUHFW"                                              LQWHUYHQWLRQVWKDWOHDGWRLUUHYHUVLEOHFKDQJHVWKDWDUH
     $+RUPRQHVHFUHWLRQ"                                    EHQHILFLDODQGDUHQRWRIFRQFHUQWRVDIHW\
     48KKXK \HV                                          $77251(<%$5+$0$OOULJKW
     $, PQRWVXUHZKDW\RXPHDQE\WKDW                   'RZHKDYH7DE"
     4*RQDGDOIXQFWLRQUHIHUVWRWKHDFKLHYHPHQWRI         /$:&/(5.:,/.,16217KDWRQH,KDYH
     WKHSURGXFWLRQE\WKHJRQDGVRIIHUWLOHRYDRUVSHUP          $77251(<%$5+$07KLVZLOOEH([KLELW
     &RUUHFW"                                              7DEMXVWWRPDNHLWFRQGXFLYH
     $77251(<%/2&.2EMHFWLRQWRIRUPDQG          
     VFRSH                                                          :KHUHXSRQ([KLELW(QGRFULQH
     7+(:,71(66,FDQ WVSHDNWRWKH              6RFLHW\ V*XLGHOLQHVZDVPDUNHGIRU
     DXWKRU VLQWHQWIRUKRZWKH\XVHGWKDWODQJXDJH,W V         LGHQWLILFDWLRQ
     EURDGHULQVFRSHIURPP\SHUVSHFWLYHWKDQWKDW                
     %<$77251(<%$5+$0                                            %<$77251(<%$5+$0


                                                    3DJH                                                         3DJH
      4'RHVLWLQFOXGHWKHDFKLHYHPHQWRISURGXFWLRQRI       4$QGLI\RXORRNRQDWWKHHQGRIWKH
      IHUWLOHRYDRUVSHUP"                                           GRFXPHQWZKHUHLWVD\VIRUPRUHLQIRUPDWLRQLWVWDWHG
      $7KDWLVDFRPSRQHQW\HV                              WKLVLVDGRFXPHQWIURPWKH1DWLRQDO,QVWLWXWHRI0HQWDO
      4:KDWRWKHUFRPSRQHQWVGR\RXKDYHLQPLQGIRU          +HDOWK
      WKDWWHUP"                                                      &RUUHFW"
      $)RUJRQDGDOGHYHORSPHQWLQFOXGHVVL]HVKDSH          $77251(<%/2&.2EMHFWLRQWRIRUP
      VH[XDOIXQFWLRQLQJ                                             IRXQGDWLRQ
      42QSDJH,ZDQWWRJRWRKDYHZHGRQH           7+(:,71(66,KDYHQRLGHDRIZKDWWKH
      7DE\HW"                                                      FRQWH[WRIWKLVZHEVLWHLVRUZKDWWKLVLVIURP
     $77251(<%$5+$0,ZDQWWRLQWURGXFH           %<$77251(<%$5+$0
     ZKDWZLOOEHPDUNHGDV([KLELWWKLVZLOOEH7DE         4%XWLWJLYHVWKH1DWLRQDO,QVWLWXWHRI0HQWDO
     7KHVHDUH(QGRFULQH6RFLHW\JXLGHOLQHVIURP              +HDOWK VZHEVLWH
     /$:&/(5.:,/.,1621,GRQ WWKLQN,           ,VWKDWFRUUHFW"
     KDYHWKDW                                                     $,WGRHV
     $77251(<%$5+$00D\EHZHGR                  4$QGLWVD\VIRUPRUHLQIRUPDWLRQ\RXFDQHPDLO
     /$:&/(5.:,/.,16216L["                      WKH1DWLRQDO,QVWLWXWHRI0HQWDO+HDOWKHPDLODGGUHVV
     $77251(<%$5+$08KKXK \HV                  &RUUHFW"
     /$:&/(5.:,/.,16218KXK QR                $7KDWLVFRUUHFW
     %<$77251(<%$5+$0                                            4$QGWKDW VDSDUWRIWKH1DWLRQDO,QVWLWXWH
     4:HZLOOJREDFNWR7DEWKHQ([KLELW:RXOG      5LJKW"
     \RXDJUHHWKDWLIWKHDGPLQLVWUDWLRQIRUSXEHUW\               $,WLV
     EORFNHUVIRUJHQGHUG\VSKRULDKDVLUUHYHUVLEOHHIIHFWV         4$QGWKHFLWDWLRQVLW VGUDZLQJIURPDUWLFOHVLQ
     RQEUDLQGHYHORSPHQWWKDWZRXOGEHDVHULRXVVDIHW\           DQG
     SUREOHP"                                                       &RUUHFW"


                                                                                         3DJHVWR
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                                                    3DJH                                                           3DJH
      $7KDWLVFRUUHFW                                      &RUUHFW"
      42QSDJHRQHLQWKHPLGGOHFROXPQWKHDUWLFOH         $,IWKDW VZKDWLWVD\V\HV
      GHVFULEHVJUD\PDWWHUDWWKHWKLQNLQJSDUWRIWKHEUDLQ       4'R\RXNQRZKDYH\RXFRQGXFWHGDQ\VWXGLHV
      'R\RXDJUHHZLWKWKDWGHVFULSWLRQ"                   WRGHWHUPLQHWKHHIIHFWRIDGPLQLVWHULQJSXEHUW\
      $,ZRXOGGHVFULEHLWDVDJURVV                        EORFNHUVGXULQJWKHRUGLQDU\\HDUVRISXEHUW\DQGKRZ
      PLVFKDUDFWHUL]DWLRQRIWKHFRPSOH[LW\RIWKHEUDLQ            WKDWZRXOGLPSDFWWKHRUGLQDU\GHYHORSPHQWRIEUDLQ
      4:KDWLV\RXUXQGHUVWDQGLQJRIWKHIXQFWLRQRI         PDWWHULQWKHEUDLQRIDFKLOG"
      WKHJUD\PDWWHU"                                               $,KDYHQRWEXWLWNLQGRIVRXQGVOLNHWKDWLV
      $7KDWLVRQHHOHPHQWRILW,WKLQNLWLVDORW       FRQIODWLQJWKLVDVDVWXG\ZKLFKLVGHILQLWHO\QRW
     RIQXDQFH,JXHVVLVWKHZRUGWKDW, PORRNLQJIRU          41R, PMXVWDVNLQJLI\RXKDGFRQGXFWHGDQ\
     ,W VQRWFKDUDFWHUL]HGE\WKDWPXFKRIDSLWK\SKUDVH        VXFKVWXGLHV"
     QRWRIDQHXURSDWKRORJLVW                                    $,KDYHQRW
     47KHDUWLFOHWDONVDERXWDVHFRQGZDYHRI             4$UH\RXDZDUHRIDQ\VXFKVWXGLHV"
     SURGXFWLRQLQJUD\PDWWHUWKDWSHDNVDURXQGDJHLQ         $7KHUHDUHVWXGLHVWKDWDUHRQJRLQJQRZ
     JLUOVDQGLQER\V$QGWKHDUWLFOHUHIHUVWRWKDWDV      47KDWDUHRQJRLQJ
     MXVWSULRUWRSXEHUW\,QWHUPVRI7DQQHUVWDJHVWKDW        $77251(<%$5+$02ND\
     ZRXOGEHDURXQG7DQQHUIRUPRVWER\VDQGJLUOVZRXOG       , PJRLQJWRVKRZ\RXZKDWZHPDUNHGDV
     LWQRW"                                                       ([KLELWWKLVZLOOEH7DE
     $7KDWZRXOGEH7DQQHU6WDJH                        
     47KDWZRXOGEH7DQQHU6WDJH%XWE\RU        :KHUHXSRQ([KLELW$UWLFOHE\
     \RXKDYHDOUHDG\E\DJHLVKLQER\VLW VW\SLFDO      %ODNHPRUHHWDOZDVPDUNHGIRU
     IRUSXEHUW\EORFNHUVWRKDYHEHHQDGPLQLVWHUHG               LGHQWLILFDWLRQ
     &RUUHFW"                                             
     $7RXVHWKHODQJXDJHRIWKLVDUWLFOHWKH             %<$77251(<%$5+$0


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      GLIIHUHQFHVLQ7DQQHUVWDJHVLVFDXVHGE\WKHTXRWH          47KLVLVDQDUWLFOHE\%ODNHPRUHHWDO
      VXUJLQJVH[KRUPRQHVQRWWKHRWKHUZD\DURXQG6RLW V        SXEOLVKHGLQ7KH5ROHRI3XEHUW\LQWKH'HYHORSLQJ
      QRWDERXWDJHEXWLW VWKHH[SRVXUHWRKRUPRQHVWKDW          $GROHVFHQW%UDLQ2QSDJHWKHDUWLFOHVWDWHVWKH
      FDXVHVWKH7DQQHUVWDJHVWRGHYHORS                           DJHVDWZKLFKWKHVHSHDNVLQJUD\PDWWHUYROXPHZHUH
      4+DYH\RXPDGHDVWXG\\RXUVHOIDERXWWKHWLPLQJ       REVHUYHGFRUUHVSRQGWRWKHVH[XDOO\GLPRUSKLFDJHV
      RIEUDLQJUD\PDWWHUGHYHORSPHQWDQGWKHSXEHUW\               JRQDGDUFKH, PPLVSURQRXQFLQJWKDWRQVHWZKLFK
      KRUPRQHVLQFDXVLQJWKDWGHYHORSPHQW"                          VXJJHVWVSRVVLEOHLQWHUDFWLRQVEHWZHHQSXEHUW\KRUPRQHV
      $,KDYHQRW                                           DQGJUD\PDWWHUGHYHORSPHQW
      4'R\RXKDYHDQ\UHDVRQWRGRXEWWKHWLPLQJDQG        'R\RXDJUHHRUGLVDJUHHZLWKWKDWVWDWHPHQW"
     QDWXUHRIGHYHORSPHQWDVVHWRXWLQWKLV1DWLRQDO             $, PQRWVHHLQJZKHUH\RX UHUHIHUULQJWRWKLV
     ,QVWLWXWHRI+HDOWKSXEOLFDWLRQ"                              42QSDJHILUVWFROXPQULJKWDERYHWKHUROH
     $77251(<%/2&.2EMHFWLRQWRIRUPDQG         RISXEHUW\LQJUD\PDWWHUGHYHORSPHQW"
     IRXQGDWLRQ                                                   $$VVWDWHGLQWKLVVWXG\WKHFKDQJHVZHUH
     7+(:,71(66,RQO\KDYHWKHFRQWH[WRI       REVHUYHGWRFRUUHVSRQGWRWKHDJHVZKLFKVXJJHVW
     WKLVDUWLFOHWKDW\RX YHSXWLQIURQWRIPHIRUWKH           SRVVLEOHLQWHUDFWLRQV,KDYHQRREMHFWLRQWRWKHLGHD
     ILUVWWLPHDQGLQWKLVDUWLFOHWKH\GHVFULEHWKHEUDLQ        WKDWWKHUHDUHSRVVLEOHLQWHUDFWLRQVEHWZHHQSXEHUW\
     FKDQJHVMXVWKDSSHQLQJSULRUWRSXEHUW\ZKLFKLVSULRU       KRUPRQHVDQGJUD\PDWWHUGHYHORSPHQWEXWDJDLQRXWVLGH
     WRZKHQZHZRXOGEHLQLWLDWLQJDQ\LQWHUYHQWLRQV              WKHILHOGRIP\H[SHUWLVH
     PHGLFDOO\                                                    42ND\
     %<$77251(<%$5+$0                                           ,WDOVRUHIHUVWRRWKHU05,VWXGLHVVKRZLQJD
     4$QGLWVD\VWKRXJKWKDWLWLVSRVVLEO\WKH           JUDGXDOHPHUJHQFHRIVH[XDOGLPRUSKLVPVDFURVVSXEHUW\
     WKLFNHQLQJSHDNVDURXQGRUGHSHQGLQJRQJLUOVDQG      'R\RXNQRZZKDWVH[XDOGLPRUSKLVPRIWKHEUDLQPHDQV"
     ER\VDQGWKDW VSRVVLEO\UHODWHGWRWKHLQIOXHQFHRI          $,GR
     VXUJLQJVH[KRUPRQHV                                         4:KDWGRHVLWPHDQ"



                                                                                          3DJHVWR
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                                                   3DJH                                                          3DJH
      $'LIIHUHQFHVWKDWDUHPHDVXUDEOHEHWZHHQIRONV         $,W\SLFDOO\XVHODQJXDJHWKDWLVPRUHVLPLODUWR
      DVVLJQHGIHPDOHDQGIRONVDVVLJQHGPDOHDWELUWKLV            KRZWKH\DFWXDOO\GHVFULEHGLWLQWKLVDUWLFOHZKLFKLV
      W\SLFDOO\KRZWKDWLVGHVFULEHG                               WRVD\WKDWLWPD\KDYHXQNQRZQHIIHFWVRQEUDLQ
      42QWKHILUVWSDJHRIWKLVGRFXPHQWLWVD\V            GHYHORSPHQW
      WKURXJKRXWDGROHVFHQFHWKHUHDUHFKDQJHVLQWKH                42ND\
      VWUXFWXUHDQGIXQFWLRQRIWKHEUDLQVH[XDOGLPRUSKLVP         $77251(<%$5+$0/HW VJRWR7DE
      LQPDQ\RIWKHVHFKDQJHVVXJJHVWSRVVLEOHUHODWLRQVKLSV        ZKLFKZHKDYHDOUHDG\ORRNHGDWDQGWKDWLV([KLELW
      WRSXEHUW\                                                    /$:&/(5.:,/.,1621([KLELW
      7KLVDUWLFOHLVVD\LQJWKDWWKHDYDLODEOH             %<$77251(<%$5+$0
     HYLGHQFHVXJJHVWVVH[OLQNVSXEHUW\KRUPRQHVWRSOD\D        4([KLELW"
     UROHLQVWLPXODWLQJEUDLQGHYHORSPHQWGR\RXDJUHH"          $77251(<*5((17UDYLVWKLVLV5REHUWD
     $77251(<%/2&.2EMHFWLRQWRIRUP            *UHHQ, PVRUU\WRLQWHUUXSW,ZRQGHUHGLI\RX
     7+(:,71(66&HUWDLQO\,DJUHHWKDW           ZRXOGQ WPLQGNHHSLQJ\RXUYRLFHXS, PMXVWKDYLQJ
     H[SRVXUHWRVH[KRUPRQHLVDSDUWRIEUDLQGHYHORSPHQW        WURXEOHKHDULQJ1RGRXEWLW VPHEXWLW GEHJUHDW
     IRUDOOSHRSOH:HNQRZOHVVDERXWWKHGHYHORSLQJEUDLQ      7KDQN\RX
     IRUWUDQVJHQGHU\RXWK                                        $77251(<%$5+$0,WPD\DOVREHZKHUH
     %<$77251(<%$5+$0                                           , PORFDWHGLQWKHURRPEXW, PJHWWLQJLWIURPHQRXJK
     4'R\RXDJUHHWKLVLQFOXGHVDDVSHFWVRIEUDLQ        SHRSOHVR,DSSUHFLDWHWKHUHPLQGHU
     GHYHORSPHQWWKDWGLIIHUEHWZHHQKHDOWK\PDOHVDQG             9,'(2*5$3+(5&RXQVHOGLG\RXVD\
     KHDOWK\IHPDOHV"                                              ([KLELW
     $77251(<%/2&.2EMHFWLRQDVWRIRUP         $77251(<%$5+$0([KLELW
     7+(:,71(66,GRQ W,KDYHQ WVHHQ        %<$77251(<%$5+$0
     DQ\OLWHUDWXUHWKDWVSHDNVWRWKDWVSHFLILFTXHVWLRQ         43DJHWZRDWWKHWRSUHIHUVWRWKHJUD\PDWWHU
     %<$77251(<%$5+$0                                           RUWKHZKLWHPDWWHUDQGKRZUHVHDUFKSXUSRUWVDZDYH


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      42ND\                                                 RIZKLWHPDWWHUJURZWKWKDWEHJLQVDWWKHIURQWRIWKH
      /HW VJREDFNWR([KLELWSDJH"                EUDLQLQHDUO\FKLOGKRRGPRYHVWRWKHVLGHDIWHU
      $77251(<%/2&.:KDWSDJHZDVWKDW            SXEHUW\VWULNLQJJURZWKVSXUWVFDQEHVHHQIURPDJH
      &RXQVHO"                                                       WRLQDUHDVFRQQHFWLQJEUDLQUHJLRQVVSHFLDOL]HGIRU
      $77251(<%$5+$0                         ODQJXDJHDQGXQGHUVWDQGLQJVSHFLDOUHODWLRQVKLSV$JHV
      %<$77251(<%$5+$0                                            DQGDUHVRUWRIWKHKHDUWDQGFHQWHURI
      48QGHUWKHKHDGLQJVLGHHIIHFWVWKHDUWLFOH           SXEHUW\
      LQGLFDWHVWKDWWKHSULPDU\ULVNRISXEHUWDOVXSSUHVVLRQ        &RUUHFW"
      LQ*'JHQGHULQFRQJUXHQWDGROHVFHQWVPD\LQFOXGH             $77251(<%/2&.2EMHFWLRQWRIRUP
     HOOLSVHVXQNQRZQHIIHFWVRQEUDLQGHYHORSPHQWGR\RX        7+(:,71(66,WGHSHQGVXSRQWKHFKLOG
     VHHWKDW"                                                     %<$77251(<%$5+$0
     $,VHHWKDW                                          4,QJHQHUDO"
     4$QGLQWKHILUVWFROXPQRILQGLFDWHVWKDW       $77251(<%/2&.6DPHREMHFWLRQ
     DQLPDOGDWDVXJJHVWVWKHUHPD\EHHIIHFWVRI*Q5+             7+(:,71(66,GRQ WZDQWLWWREHOLNH
     DQDORJVRQFRJQLWLYHIXQFWLRQ                                , PSDUVLQJWKLVRXWEXWLW VUHDOO\LPSRUWDQW:H
     'R\RXVHHWKDW"                                     FDQ WDSSO\SRSXODWLRQEDVHGGDWDRQWRDQLQGLYLGXDODQG
     $,VHHWKDW                                          PDNHFRQFOXVLRQVDERXWLW
     4&RJQLWLYHIXQFWLRQPHDQVWKHDELOLW\WRWKLQN       %<$77251(<%$5+$0
     &RUUHFW"                                             4%XWZHFDQDVVHVVSRSXODWLRQEDVHGGDWDDVWR
     $7KDWLVRQHDVSHFWRIFRJQLWLYHIXQFWLRQLQJ         ZKHQSXEHUW\LVJHQHUDOO\RFFXUULQJDQGJHQHUDOO\LW V
     4'R\RXWHOOSDUHQWVDQGSDWLHQWVWKDWWKH            RFFXUULQJDURXQGWKHDJHVRIWR"
     (QGRFULQH6RFLHW\KDVLQGLFDWHGWKDWWKHUHDUHXQNQRZQ        $,ZRXOGDJUHHZLWKWKHVWDWHPHQWWKDWSXEHUW\LV
     HIIHFWVRQEUDLQGHYHORSPHQWUHODWHGWRWKHXVHRI            JHQHUDOO\RFFXUULQJZLWKLQWKRVHDJHUDQJHV\HV
     SXEHUW\EORFNLQJKRUPRQHV"                                    4$QGWKDWLVDOVRDSSUR[LPDWHO\ZKHQSXEHUW\


                                                                                         3DJHVWR
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                                                    3DJH                                                                3DJH
      EORFNLQJKRUPRQHVDUHEHLQJSUHVFULEHG                         4+DYH\RXPDGHDQ\V\VWHPDWLFVWXGLHVRIVXLFLGH
      ,VWKDWWUXH"                                          DPRQJWKHWKRXVDQGVWUHDWHGDWWKH/XULH&KLOGUHQ V
      $,WGHSHQGVXSRQWKHLQGLYLGXDO                        +RVSLWDOKHUHLQ&KLFDJR"
      4%XWJHQHUDOO\DURXQGDJHLVZKDW\RX                $,KDYHDVWXG\RQJRLQJ
      LQGLFDWHGHDUOLHU                                              4+DVWKDWVWXG\JHQHUDWHGDQ\SUHOLPLQDU\UHVXOWV
      &RUUHFW"                                               \HW"
      $,WUHDOO\GHSHQGVXSRQWKHLQGLYLGXDO7R             $,WKDVQRW
      FODULI\LW VEDVHGXSRQ7DQQHUVWDJHDVRQHHOHPHQW           4+DYH\RXPDGHDQ\V\VWHPLFVWXGLHVRIVXLFLGH
      DJHKDVRQHHOHPHQWSV\FKRVRFLDOIXQFWLRQLQJKDV               DPRQJWKHWKRXVDQGV\RX YHWUHDWHGDWWKH*HQGHU9DULDQW
     DQRWKHUIDPLO\FKRLFHV,W VDFDOFXOXVRIWKHULVNV        <RXWKDQG)DPLO\1HWZRUN"
     EHQHILWVDQGDOWHUQDWLYHVWKDWJXLGHZKHQZHGHFLGHWR         $7KDWLVQRWDFOLQLFDOVHUYLFH
     LQWHUYHQHLIZHGHFLGHWRLQWHUYHQH                           4$UH\RXDZDUHWKDWVXLFLGHIRUDQ\UHDVRQLV
     46R\RXZRXOGDJUHHWKDWDWHHQDJHEUDLQDQG           H[WUHPHO\UDUHDPRQJFKLOGUHQ\RXQJHUWKDQ"
     FRJQLWLYHGHYHORSPHQWDFURVVSXEHUW\LVDYHU\                 $77251(<%/2&.2EMHFWLRQWRIRUP
     FRPSOLFDWHGDUHDDQGRQHWKDW VQRWHDVLO\XQGHUVWRRG         7+(:,71(66,ZRXOGGLVDJUHHZLWKWKDW
     &RUUHFW"                                              DVDVWDWHPHQW,W VDPRQJRQHRIWKHWRSFDXVHVRI
     $77251(<%/2&.2EMHFWLRQWRIRUP             GHDWKIRUFKLOGUHQRIDJHVWR
     7+(:,71(66<HVDGROHVFHQWEUDLQ             %<$77251(<%$5+$0
     GHYHORSPHQWLVDFRPSOLFDWHGSKHQRPHQRQIRUVXUH,           4$QGZKDW V\RXUEDVLVIRUVD\LQJWKDW"
     KDYHQRREMHFWLRQWRWKDW                                     $7KH&'&GDWD
     %<$77251(<%$5+$0                                            4'LG\RXFLWHWKDWGDWDLQ\RXUUHSRUW"
     4,VWKDWDQDUHDRI\RXUSURIHVVLRQDOUHVHDUFK         $,GLGQRW
     DQGLQYHVWLJDWLRQ"                                             4<RX UHQRWRIIHULQJDQRSLQLRQWKDW%3-IDFHGD
     $6SHFLILFDOO\RQQHXURVFLHQFHZLWKUHJDUGWR           KLJKVXLFLGHULVNXQOHVVSXWRQSXEHUW\EORFNHUV


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      DGROHVFHQWGHYHORSPHQWQRLWLVQRW                          &RUUHFW"
      $77251(<%$5+$0/HW VJRWR7DE             $,DPQRW
      7+(:,71(66,QHHGWRWDNHDQRWKHU             4+DVDQ\UHVSRQVLEOHKHDOWKDXWKRULW\RU
      EDWKURRPEUHDN                                                 RUJDQL]DWLRQPDGHDFODLPWKDWWKHXVHRISXEHUW\
      $77251(<%$5+$0/HW VMXVWWDNHDEUHDN        EORFNHUVUHODWHWRVXLFLGH"
      QRZ/HW VJRRIIWKHUHFRUG                                  $77251(<%/2&.2EMHFWLRQWRIRUP
      9,'(2*5$3+(5*RLQJRIIWKHUHFRUG7KH        7+(:,71(66,PHDQWKDW VDELJOLVW
      FXUUHQWWLPHUHDGVSP                                    ,GRQ WWKLQNDQ\WKDW, PDZDUHRIKDYHPDGHWKHFODLP
      2))9,'(27$3(                                                   HVSHFLDOO\ZKHQLWFRPHVWRFDXVDWLRQ
                                      %<$77251(<%$5+$0
      :+(5(8321$6+257%5($.:$67$.(1                           4,QSDUDJUDSKRI\RXUUHSRUW\RXUHIHUWR
                                      JHQGHUDIILUPLQJKRUPRQHWKHUDS\DQG\RXPDNHVLPLODU
     219,'(27$3(                                                   VWDWHPHQWVLQSDUDJUDSKVDQG:KDWGR\RX
     9,'(2*5$3+(5%DFNRQWKHUHFRUG7KH         PHDQE\JHQGHUDIILUPLQJKRUPRQHWKHUDS\"
     FXUUHQWWLPHUHDGVSP                                   $7\SLFDOO\VSHDNLQJZKHQ, PUHIHUULQJWR
     %<$77251(<%$5+$0                                            JHQGHUDIILUPLQJKRUPRQHWKHUDS\WKHVHDUHKRUPRQHV
     4$UH\RXDQH[SHUWRQVXLFLGHDQGVXLFLGDOLW\"         WKDWDUHDOLJQHGZLWKWKHJHQGHULGHQWLW\
     $,JXHVV,GRQ WNQRZH[DFWO\KRZWRTXDOLI\WKDW      46RWKDWPHDQVWKHDGPLQLVWUDWLRQRIFURVVVH[
     UHVSRQVH,NQRZPRUHWKDQPRVWSHRSOHDERXWVXLFLGH          KRUPRQHV
     DQGVXLFLGDOLW\\HV                                          ,VWKDWFRUUHFW"
     4+DYH\RXPDGHDQ\V\VWHPDWLFVWXG\RIVXLFLGH         $77251(<%/2&.2EMHFWLRQWRIRUP
     DPRQJWKHWKRXVDQGVWUHDWHGDWWKH1<8*HQGHUDQG              7+(:,71(66<HDK,PHDQ,WKLQN,
     6H[XDOLW\6HUYLFH"                                             ZRXOGFDOOWKHPJHQGHUDIILUPLQJKRUPRQHV7KDWLVKRZ
     $,KDYHQRW                                           W\SLFDOO\WKH\DUHUHIHUUHGWRLQWKHOLWHUDWXUH



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                                                    3DJH                                                         3DJH
      %<$77251(<%$5+$0                                             $,W VDKLJKO\FRPSOLFDWHGTXHVWLRQWKDWGHSHQGV
      46RWKLVPHDQVWKDW\RXZRXOGDGPLQLVWHU                XSRQDORWRIIDFWRUVWKDWDUHDERYHWKHVFRSHRIP\
      WHVWRVWHURQHWRQDWDOIHPDOHV                                  WHVWLPRQ\KHUH$VDQH[DPSOHWKHUHDUHPDQ\DGXOW
      &RUUHFW"                                               WUDQVJHQGHUPHQZKREHFRPHSUHJQDQWGHVSLWHEHLQJRQ
      $77251(<%/2&.2EMHFWLRQWRIRUP              WHVWRVWHURQHIRUPDQ\\HDUV
      7+(:,71(66,SHUVRQDOO\ZRXOGQRW           4$QGZKDWVWXGLHVDUH\RXUHIHUHQFLQJWKDW
      EXW                                                        VXSSRUWWKDWVWDWHPHQW"
      %<$77251(<%$5+$0                                             $, PQRWUHIHUHQFLQJDQ\VWXGLHVWRWKLV, P
      4&URVVVH[KRUPRQHVRUJHQGHUDIILUPLQJKRUPRQHV        UHIHUHQFLQJSHUVRQDOH[SHULHQFHV
     UHIHUVWRWKHDGPLQLVWUDWLRQRIWHVWRVWHURQHWRQDWDO          42ND\
     IHPDOHV                                                       &URVVVH[KRUPRQHVFDQQRWFDXVHDQDGROHVFHQW
     &RUUHFW"                                              WRGHYHORSWKHJHQLWDOLDDVVRFLDWHGZLWKKLVRUKHU
     $2UDVVLJQHGIHPDOHVDWELUWK\HVWKDW V             KLVRUKHUGHVLUHGWUDQVJHQGHULGHQWLW\
     FRUUHFW                                                       &RUUHFW"
     4$QGLWPHDQVWKHDGPLQLVWUDWLRQRIWHVWRVWHURQH       $77251(<%/2&.2EMHFWLRQWRIRUP
     VXSSUHVVLRQRIHVWURJHQIRUQDWDOPDOHV                       7+(:,71(667KDW VFRUUHFW
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     7+(:,71(66$VVLJQHGPDOHDWELUWK           KHLJKWLQDQDWDOIHPDOH
     \HV                                                           &RUUHFW"
     %<$77251(<%$5+$0                                            $77251(<%/2&.2EMHFWLRQWRIRUP
     4<RXPHDQDVVLJQHGPDOHVDWELUWK"                     7+(:,71(66,ZRXOGGHIHUWRP\
     $<HV,VWKDWZKDW,QRWVDLG"6RUU\                HQGRFULQHFROOHDJXHVRQWKDWDQVZHU
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      VH[KRUPRQHV"                                                   4&DQFURVVVH[KRUPRQHVFKDQJHWKHKLSDQGOHJ
      $,WGHSHQGVRQWKHFKLOGDQGWKHIDPLO\EXWP\         FRQILJXUDWLRQLQDQDWDOPDOHWRPDWFKWKDWRIDQDWDO
      UROHLVPRVWRIWHQDVDPHQWDOKHDOWKSURIHVVLRQDOZKR          IHPDOH"
      LVHLWKHUGRLQJWKHDVVHVVPHQWRUSURYLGLQJFDUHIRUWKH        $77251(<%/2&.2EMHFWLRQWRIRUP
      FRRFFXUULQJSV\FKLDWULFGLVRUGHUVWKDWDUHSUHVHQWLQ          7+(:,71(66,ZRXOGGHIHUWRP\
      WKDWLQGLYLGXDOFKLOG                                          HQGRFULQHFROOHDJXHVRQWKDWTXHVWLRQ
      4&URVVVH[KRUPRQHVSUHYHQWUDWKHUWKDQHQDEOHDQ       $77251(<%$5+$0/HW VJRWR7DE
      DGROHVFHQWIURPEHFRPLQJFDSDEOHRIUHSURGXFLQJ                 7KLVLVSUREDEO\QHZ
      VH[XDOO\                                                       /$:&/(5.:,/.,1621<HV
     &RUUHFW"                                              $77251(<%$5+$07KLVLVDQDUWLFOHE\
     $77251(<%/2&.2EMHFWLRQWRWKHIRUP         *XVVHWDOLQHQWLWOHG7UDQVJHQGHUDQG*HQGHU
     7+(:,71(667KDW VQRWVRPHWKLQJWKDW,       1RQ&RQIRUPLQJ$GROHVFHQW&DUH7KLVZLOOEH
     FDQDQVZHU7KDW VRXWRIWKHVFRSHRIP\H[SHUWLVH          ([KLELW
     %<$77251(<%$5+$0                                            
     4<RXODFNDQXQGHUVWDQGLQJRIWKHHIIHFWVRI            :KHUHXSRQ([KLELW$UWLFOHE\*XVV
     DGPLQLVWHULQJFURVVVH[KRUPRQHV"                              HWDOZDVPDUNHGIRULGHQWLILFDWLRQ
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     7+(:,71(66,ZRXOGGLVDJUHHZLWKWKDW        %<$77251(<%$5+$0
     VWDWHPHQW                                                     4$UH\RXIDPLOLDUZLWKWKHDXWKRUV"
     %<$77251(<%$5+$0                                            /$:&/(5.:,/.,1621, PVRUU\,JDYH
     46RP\TXHVWLRQLVZKDWLVWKHHIIHFWRI               \RXWKHZURQJRQH+HUHLVWKHULJKWRQH
     DGPLQLVWHULQJFURVVVH[KRUPRQHVRQDQDGROHVFHQW V            7+(:,71(66,NQRZ'U6KXPHU$QGZH
     DELOLW\WRGHYHORSDQGEHFRPHFDSDEOHRIUHSURGXFLQJ           UHDGVRPHWKLQJE\.DW]:LVHHDUOLHU,GRQ WNQRZ&DUO\
     VH[XDOO\"                                                      *XVV


                                                                                         3DJHVWR
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                                                    3DJH                                                          3DJH
      %<$77251(<%$5+$0                                             LGHQWLILFDWLRQ
      43DJHIRXURIWKLVGRFXPHQWLQGLFDWHVWKDWLID         
      SDWLHQWLVRQFURVVVH[KRUPRQHVLW VLPSRUWDQWWR              %<$77251(<%$5+$0
      UHPLQGWKHPWKDWWKHVLGHHIIHFWVPD\EHLQIHUWLOLW\           4$UH\RXIDPLOLDUZLWKWKLVVWXG\"
      ,VWKDWFRUUHFW"                                       $&HUWDLQO\QRWWKHGHWDLOVRILW7KLVLVWKH
      $:KHUHDUH\RXSRLQWLQJWR"                             ILUVWWLPH, PUHFDOOLQJORRNLQJDWLW
      47KHWRSRISDJHIRXU                                  4$UH\RXDZDUHRIDQ\RWKHUVWXGLHVUHJDUGLQJWKH
      $<HV                                                   DELOLW\RILQGLYLGXDOVWDNLQJFURVVVH[KRUPRQHVWR
      4'R\RXDJUHHZLWKWKDWVWDWHPHQW"                      EHFRPHSUHJQDQW"
     $,DJUHH                                              $7KHUHDUHDQXPEHURIRQJRLQJVWXGLHVWKDWDUH
     4'R\RXNQRZRIDQ\ORQJWHUPVWXGLHVWKDWZLOO        ORRNLQJLQWRWKRVHTXHVWLRQV\HV
     FKDQJHWRZKDWH[WHQWLQIHUWLOLW\FDXVHGE\WDNLQJFURVV       4,I\RXORRNDW7DEOHRQSDJHQXPEHUWKLV
     VH[KRUPRQHVFDQEHUHYHUVHGODWHULQOLIH"                    WDEOHLQGLFDWHVWKHUHZHUHSUHJQDQFLHVDPRQJWKH
     $7KHUHDUHRQJRLQJVWXGLHVQRZEXW, PQRWDZDUH      UHVSRQGHQWVZKRKDYHHYHUXVHGWHVWRVWHURQH
     RIDQ\WKDWKDYHSXEOLVKHGDQ\WKLQJ                           'R\RXVHHWKDW"
     4+DYH\RXVWXGLHGWKHOLWHUDWXUHUHJDUGLQJPHQWDO      $<HV
     KHDOWKSUREOHPVLQDGXOWVUHVXOWLQJIURPVWHULOLW\"            4$QGWKHUHZHUHDPRQJWKRVHZKRKDYHQHYHU
     $77251(<%/2&.2EMHFWLRQWRIRUP             XVHGWHVWRVWHURQH
     7+(:,71(66,GRQ WNQRZZKDW\RXPHDQ        'R\RXVHHWKDW"
     E\VWXGLHG,GRQ WWKLQNSUREDEO\PRUHWKDQDQ\              $,VHHWKDW
     FXUVRU\PDQQHU                                                4%XWRQO\RIWKHVHSUHJQDQFLHVRFFXUUHGDIWHU
     %<$77251(<%$5+$0                                            LQLWLDWLQJWHVWRVWHURQH,VWKDWFRUUHFW"$QG, P
     47KHXVHRIFURVVVH[KRUPRQHVWRDIILUPD             UHIHUHQFLQJSDJHZKHQ,VD\WKDWDWWKHERWWRPRI
     WUDQVJHQGHULGHQWLW\LVDQRIIODEHOXVH                      SDJH


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      &RUUHFW"                                               $77251(<%/2&.:KHUHLVWKLVRQSDJH
      $77251(<%/2&.2EMHFWLRQWR                    "
      WHUPLQRORJ\                                                    $77251(<%$5+$07KHYHU\ODVWOLQHRQ
      7+(:,71(66,IE\RIIODEHO\RXPHDQ           SDJHH[WHQGLQJRYHURQWRSDJH
      RIIODEHOIRUWKH)'$"                                          7+(:,71(66,VHHRQ7DEOHWKHQXPEHU
      %<$77251(<%$5+$0                                             RISUHJQDQFLHVDIWHULQLWLDWLQJWHVWRVWHURQHZDV
      4<HV                                                   %<$77251(<%$5+$0
      $<HDKDVIDUDV,NQRZ$JDLQ, PQRW                46RWKHRWKHURIWKHSUHJQDQFLHVWHOOXV
      SUHVFULELQJWKHVHPHGLFDWLRQVDVDSV\FKLDWULVW                QRWKLQJDERXWWKHLPSDFWRIWHVWRVWHURQHRQIHPDOH
     4(DUOLHU\RXPHQWLRQHGWKDWVRPHRI\RXU               IHUWLOLW\DQGWKHSRVVLEOHLPSDFWRIELUWKGHIHFWV
     SDWLHQWVVRPHWUDQVVRPHZRPHQQDWDOIHPDOHV          &RUUHFW"
     ZKRLGHQWLI\DVPDOHKDYHEHHQDEOHWREHFRPHSUHJQDQW        $:HOOWKHTXHVWLRQDERXWIHUWLOLW\FHUWDLQO\
     'R\RXUHFDOOWKDWWHVWLPRQ\"                                  GRHVQ WVSHDNWRXVEHLQJDEOHWRXQGHUVWDQGLWPRUH
     $,GLGQRWVD\DQ\WKLQJDERXWP\SDWLHQWV,VDLG      EDVHGXSRQWKHGDWDSRLQWV$QGZLWKRXWUHDGLQJWKH
     WKRVHZHUHSHUVRQDOH[SHULHQFHV                               DUWLFOH,GRQ WNQRZLIWKHDXWKRUVDLGDQ\WKLQJDERXW
     43HUVRQDOH[SHULHQFHV, PVRUU\,DVVXPHGLW       ELUWKGHIHFWV
     ZDVSDWLHQWVVRWKDQN\RXIRUWKDWFRUUHFWLRQ,ZRXOG       42QSDJHLWLQGLFDWHVWKDWRIWKHRU
     OLNHWRVKRZ\RX7DE7KLVLVJRLQJWREHDQDUWLFOH       RIWKHSUHJQDQFLHVWKDWVWDUWHGZKLOHWDNLQJ
     E\0RVHVRQHWDOLQHQWLWOHG3UHJQDQF\                 WHVWRVWHURQHKDOIRIWKHPHQGHGLQPLVFDUULDJH
     ,QWHQWLRQVDQG2XWFRPHVWDEIRUWKRVHDWKRPHDQG          &RUUHFW"
     ([KLELWIRUWKHUHFRUG                                     $<HV
                                       42QHHQGHGLQDERUWLRQDQGRQHZDVQRWUHSRUWHG
      :KHUHXSRQ([KLELW$UWLFOHE\              &RUUHFW"
     0RVHVRQHWDOZDVPDUNHGIRU                $,GRQ WVHHZKHUHWKDWLV


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                                                   3DJH                                                          3DJH
      4,W VWKHVDPHOLQH7ZRRIWKHVHIRXU                %<$77251(<%$5+$0
      SUHJQDQFLHVHQGHGLQPLVFDUULDJHSDUHQWKHVHVRQHHQGHG       47DE([KLELWLVWKH6WHHQVPDDUWLFOH
      LQDERUWLRQLQWKHRXWFRPHDQGWHVWRVWHURQHGXUDWLRQIRU       WKDW\RXFLWHGLQIRRWQRWHRI\RXUUHSRUW
      WKHRWKHUIRXUZHUHQRWUHSRUWHG"                              ,VWKDWFRUUHFW"
      $<HV                                                  $7KDWLVFRUUHFW
      42ND\                                                 4/HW VORRNDW7DEOHRQSDJH$QGLWJLYHV
      $QGWKHUHLVQRGDWDJLYHQRQWKHRWKHURXWFRPH       LQWKHILUVWIRXUFROXPQVLWJLYHVQXPEHUVRQ
      RIWKHRWKHUSUHJQDQFLHV6RWKLVDUWLFOHGRHVQRW         SHUVLVWHQFHDQGGHVLVWDQFHDPRQJWKHVWXG\VXEMHFWV
      GRFXPHQWDVLQJOHOLYHELUWKWRDQDWDOIHPDOHDWDQ\          $QGDERXWKDOIZD\GRZQLWGHOLQHDWHVKRZPDQ\RIWKH
     WLPHDIWHUWDNLQJWHVWRVWHURQH                               SHUVLVWLQJER\VDQGJLUOVDQGGHVLVWLQJER\VDQGJLUOV
     &RUUHFW"                                             KDGDFKLOGKRRGGLDJQRVLVRIJHQGHULGHQWLW\GLVRUGHU
     $77251(<%/2&.2EMHFWLRQWRIRUP$QG       &RUUHFW"
     JLYHKLPDFKDQFHWRUHDGSOHDVH                            $&RUUHFW
     7+(:,71(66,ZRXOGUHDOO\KDYHWRUHDG      4$QGLWDOVREUHDNVGRZQKRZPDQ\ZHUH
     WKHDUWLFOHTXLWHFORVHO\WRDJUHHZLWKWKDW, PQRW        VXEWKUHVKROG, PSUHVXPLQJWKDWPHDQVIRUJHQGHU
     VHHLQJWKHWH[WLQWKLVDUWLFOHWRVXSSRUWWKDW,QWKH      LGHQWLW\GLVRUGHU
     3UHJQDQF\,QWHQWLRQVDQG2XWFRPHVDV, PUHDGLQJLWLW      &RUUHFW"
     GLVFXVVHVZKDWWKHSRWHQWLDORXWFRPHVDUHEXWLWGLGQ W      $7KDWLVFRUUHFW
     SDUVHWKRVHLQWRZKRKDGWHVWRVWHURQHEHIRUHRUDIWHU        46RDFFRUGLQJWR7DEOHRIWKH
     VR, PQRWVXUH                                              SHUVLVWLQJER\VKDGJHQGHULGHQWLW\GLVRUGHU
     %<$77251(<%$5+$0                                           &RUUHFW"
     42ND\                                                $&RUUHFW
     /HWPHVKLIWJHDUVDQGWXUQWRSDUDJUDSKRI       46RWKDWPHDQVDERXWRIWKHSHUVLVWLQJER\V
     \RXUUHSRUW7KHUH\RXLQGLFDWH\RXVWDWHWKDW           KDGWKDWFRQGLWLRQ


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      WKHUHLVQRHYLGHQFHVXSSRUWLQJ'U/HYLQH VVSHFXODWLRQ       &RUUHFW
      WKDWDOORZLQJSUHSXEHUWDOFKLOGUHQWRVH[XDOO\                 $&RUUHFW
      WUDQVLWLRQSXWVFKLOGUHQRQDFRQYH\RUEHOWWREHFRPLQJ        4$QGDFFRUGLQJWR7DEOHRIWKH
      WUDQVJHQGHUDGROHVFHQWVDQGDGXOWV$QG\RXVD\               SHUVLVWLQJJLUOVKDGWKHVDPHGLDJQRVLVRURIWKH
      HYLGHQFHVKRZVWKDWSUHSXEHUWDOFKLOGUHQZKRDUHOLNHO\        &RUUHFW"
      WRKDYHDVWDEOHWUDQVJHQGHULGHQWLW\LQWRDGROHVFHQFH         $7KDW VFRUUHFW
      DUHWKHFKLOGUHQZKRDUHPRVWOLNHO\WRDUWLFXODWHD           4$QGDFFRUGLQJWRWKHVDPH7DEOHRIWKH
      VWURQJDQGFRQVLVWHQWQHHGWRVRFLDOO\WUDQVLWLRQ             GHVLVWLQJER\VKDGWKDWGLDJQRVLV
      'R\RXVHHWKDW"                                      &RUUHFW"
     $,VHHWKDW                                          $7KDWLVFRUUHFW
     4$QGLQIRRWQRWH\RXFLWHDQDUWLFOHE\            46RWKDW VRIWKH
     6WHHQVPDSXEOLVKHGLQ                                   &RUUHFW"
     ,VWKDWFRUUHFW"                                     $, OOWDNH\RXUZRUGIRUWKHPDWK
     $7KDW VFRUUHFW                                      4:HOO\RXFDQVHHLWRQ([KLELW VLF 2Q
     $77251(<%$5+$0,ZLOOVKRZ\RXZKDW         7DEOHRIWKHGHVLVWLQJJLUOVKDGJHQGHU
     ZH UHJRLQJWRPDUNDV([KLELW7DEDQG,ZLOO        LGHQWLW\GLVRUGHURURIWKH
     DOVRVKRZ\RX7DEZKLFKLV([KLELW                   &RUUHFW"
                                     $&RUUHFW
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     6WHHQVPDZDVPDUNHGIRU                      IRUWKRQ([KLELWRQ7DE([KLELW
     LGHQWLILFDWLRQ                               ([KLELW"
      :KHUHXSRQ([KLELW$QDO\VLVZDV          $1R,KDYHQRUHDVRQWR
     PDUNHGIRULGHQWLILFDWLRQ                    $77251(<6:$0,1$7+$1,WKLQNKHLV
                                     ORRNLQJDWWKHZURQJGRFXPHQW


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                                                    3DJH                                                              3DJH
      %<$77251(<%$5+$0                                             4,QIRRWQRWHRI\RXUUHSRUWSDUDJUDSK\RX
      4, PWDONLQJDERXWWKLV                                FLWHDQDUWLFOHE\5DHVD\LQJIRUWKHSURSRVLWLRQWKDW
      $*RWLW6RWKLVLVDWUDQVSRVLWLRQIURP               VRFLDOO\WUDQVLWLRQLQJEHIRUHSXEHUW\GLGQRWLQFUHDVH
      7DEOH"                                                        FKLOGUHQ VFURVVJHQGHULGHQWLILFDWLRQDQGGHIHUULQJ
      4&RUUHFW                                               WUDQVJHQGHUGLGQRWGHFUHDVHFURVVJHQGHU
      $,PHDQ, PJRLQJWRKDYH                       LGHQWLILFDWLRQ
      $77251(<%/2&.-XVWREMHFWLRQ, P            ,VWKDWFRUUHFW"
      VRUU\FDQZHSXWRQWKHUHFRUGZKDWWKLVGRFXPHQWLV"          $7KDWLVFRUUHFW
      ,VLWDUHSULQWRIZKDW VLQWKH6WHHQVPDRULVLWQHZ          $77251(<%$5+$0$OOULJKW
     DQDO\VLVWKDW"                                             /HW VWXUQWR7DE7KLVZLOOEH
     $77251(<%$5+$0([KLELWLVDQ              ([KLELWDQGLWZLOOEHDQDUWLFOHE\5DHHWDO
     DQDO\VLVRIWKH6WHHQVPDDUWLFOHWKDWLV                  SXEOLVKHGLQ3UHGLFWLQJ(DUO\&KLOGKRRG*HQGHU
     ([KLELW                                                    7UDQVLWLRQV
     $77251(<%/2&.7KDQN\RX$QGLV            $77251(<%/2&.,W VFHQWUDOWLPH
     WKHUHDQDXWKRURIWKHDQDO\VLV"                               6RWKHZLWQHVVKDVWRWDNHDEUHDNDW"
     $77251(<%$5+$0, PVRUU\6D\WKDW          7+(:,71(66,FDQGR
     DJDLQ                                                         
     $77251(<%/2&.,VWKHUHDQDXWKRURI           :KHUHXSRQ([KLELW$UWLFOHE\5DH
     WKLVDQDO\VLV"                                                 HWDOPDUNHGIRULGHQWLILFDWLRQ
     $77251(<%$5+$0<HVLWZDVPH               
     %<$77251(<%$5+$0                                            %<$77251(<%$5+$0
     46RDFFRUGLQJWRWKHILJXUHVWKDWKDYHEHHQ            4([KLELWLVWKHDUWLFOHWKDW\RXFLWHGLQ
     FDOFXODWHGIURPWDEOHRQHRIWKH6WHHQVPDDUWLFOH          IRRWQRWHRI\RXUUHSRUW
     FKLOGUHQRIWKHFKLOGUHQZKRKDGJHQGHULGHQWLW\        ,VWKDWFRUUHFW"


                                                    3DJH                                                              3DJH
      GLVRUGHUSHUVLVWHGDQGGHVLVWHG                         $7KDW VFRUUHFW
      ,VWKDWFRUUHFW"                                       42QSDJHWKHDXWKRULQGLFDWHVWKDW
      $77251(<%/2&.2EMHFWLRQWRJLYHWKH           UHSOLFDWLRQRIWKLVDIIHFWLVPXWHGSUHIHUDEO\IURP
      ZLWQHVVDFKDQFHWRVHHLWRQKLVRZQZKDWWKHILJXUHV          ORQJLWXGLQDOVWXG\FRPSDULQJDVLQJOHJURXSRIFKLOGUHQ
      DUH                                                            EHIRUHDQGDIWHUWUDQVLWLRQ
      7+(:,71(66, PQRWVXUH,XQGHUVWDQG          &RUUHFW"
      ZKDW\RXUTXHVWLRQLV                                          $7KDW VFRUUHFW
      %<$77251(<%$5+$0                                             4$QGWKHDXWKRUVDOVRLQGLFDWHWKDWWKH\WHVWHGD
      42IWKHFKLOGUHQZLWKWKHWKHFKLOGUHQZKR       VDPSOHVNHZHGE\UDFHFODVVSDUHQWDOWKDWHGXFDWLRQ
     KDGDGLDJQRVLVRIJHQGHULGHQWLW\GLVRUGHU                DQGSROLWLFDODIILOLDWLRQWKDWPD\RUPD\QRWDIIHFWWKH
     SHUVLVWHGDQGGHVLVWHG                                     FKLOGUHQWKDWDUHVRFLDOO\WUDQVLWLRQLQJQRZRULQWKH
     ,VWKDWFRUUHFW"                                      IXWXUH
     $,ZRXOGKDYHWRGRWKHPDWKP\VHOIIRUPHWRVD\      &RUUHFW"
     \HVWRWKDWEXWLW VDERXWULJKW                             $7KDWLVFRUUHFW
     46RDFFRUGLQJWR6WHHQVPDILJXUHVRIWKH              4$QGWKH\DOVRLQGLFDWHWKDWIROORZXSRFFXUUHG
     FKLOGUHQZLWKWKHVWURQJHVWWUDQVJHQGHULGHQWLW\DV            RQO\WZR\HDUVDIWHUWHVWLQJDQGVRPHRIWKHFKLOGUHQ
     FKLOGUHQSHUFHQWSHUVLVWHGDQGSHUFHQWGHVLVWHG         ZKRKDGQRWWUDQVLWLRQHGFRXOGWUDQVLWLRQLQWKHIXWXUH
     &RUUHFW"                                              DQGVRPHZKRKDGWUDQVLWLRQHGFRXOGQRWUHYHUWLQWKH
     $77251(<%/2&.2EMHFWLRQWRIRUP             IXWXUH
     7+(:,71(66$JDLQ,ZRXOGKDYHWRUXQ       &RUUHFW"
     WKRVHQXPEHUVP\VHOILQRUGHUWRXQOHVVLW V               $&RUUHFW
     UHIHUUHGWRDOUHDG\LQWKHDUWLFOHEXWWKDWVRXQGV            4$QGWKH\LQGLFDWHGWKDWWKHUHVDPSOHLVOLNHO\
     DERXWULJKW                                                   DQRYHUHVWLPDWHRIKRZPDQ\JHQGHUFRQIRUPLQJFKLOGUHQ
     %<$77251(<%$5+$0                                            LQWKHJHQHUDOSRSXODWLRQZLOOVRFLDOO\WUDQVLWLRQ



                                                                                              3DJHVWR
                Case: 22-5807
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                                                   3DJH                                                          3DJH
      &RUUHFW"                                              SXEHUW\EORFNHUVPD\FRQVROLGDWHJHQGHUG\VSKRULDLQ
      $:KHUHLVWKDWLQWKHDUWLFOH"                         \RXQJSHRSOHSXWWLQJWKHPRQDOLIHORQJSDWKRI
      46HFRQGFROXPQRISDJH                            ELRPHGLFDOLQYHQWLRQ
      $<HV                                                  ,VWKDWFRUUHFW"
      46DPHFROXPQWKH\DOVRLQGLFDWHWKDWWKH\UHOLHG       $77251(<%/2&.2EMHFWLVWRIRUP
      RQDFRQYHQLHQWVDPSOHRILQGLYLGXDOVUHFUXLWHGWKURXJK        7+(:,71(66&DQ\RXVKRZPHZKHUHWKDW
      OLVWVDQGHYHQWVVHUYLQJWUDQVJHQGHUFKLOGUHQDQGJHQGHU       LVRQWKLVSDJH"
      QRQFRQIRUPLQJFKLOGUHQ                                       %<$77251(<%$5+$0
      &RUUHFW"                                              47KHILUVWFROXPQRQWKHVHFRQGSDUDJUDSK7KH
     $7KDWLVFRUUHFW                                     VHFRQGFROXPQ
     4/HW VJREDFNWR7DEZKLFKLV([KLELW          $77251(<75<21-DNHFDQ\RXVFUROO
     3DJHWKH(QGRFULQH6RFLHW\LQGLFDWHVWKDWLI            GRZQDELW"
     FKLOGUHQKDYHFRPSOHWHO\VRFLDOO\WUDQVLWLRQHGWKH\KDYH      7+(:,71(66,ZRXOGQRWDJUHHZLWKKRZ
     P\JUHDWHUGLIILFXOW\UHWXUQLQJWRWKHRULJLQDOJHQGHU        \RXDVNHGWKDWTXHVWLRQ,JXHVV&DQ\RXUHSHDWLWRU
     RQHQWHULQJSXEHUW\                                          FODULI\"
     ,VWKDWFRUUHFW"                                     %<$77251(<%$5+$0
     $7KDW VFRUUHFW,WVD\VLWWKHUHEXWWKDW V        4,MXVWZDVUHDGLQJZKDWLWVDLG7KH\LQGLFDWH
     EDVHGRQVXSSRVLWLRQ                                         LQWKLVVHFWLRQDGGLWLRQDOO\VLQFHDOPRVWDOORIWKH
     4)RRWQRWHUHIHUHQFHQXPEHUVXSSRVLWLRQ      FKLOGUHQWUHDWHGZLWKSXEHUW\EORFNHUVSURFHHGWRFURVV
     UHIHUHQFHQXPEHULVDQDUWLFOHE\6WHHQVPDHW         VH[KRUPRQHVFLWLQJGH9ULHVFRQFHUQVKDYHEHHQ
     DOSXEOLVKHGLQ                                       UDLVHGDWSXEHUW\EORFNHUVPD\FRQVROLGDWHJHQGHU
     $UH\RXVD\LQJWKDWWKDW VDVXSSRVLWLRQ"            G\VSKRULDLQ\RXQJSHRSOHSXWWLQJWKHPRQDOLIHORQJ
     $77251(<%/2&.2EMHFWLRQWRIRUP            SDWKRIELRPHGLFDOLQWHUYHQWLRQV"
     7+(:,71(661R, PVD\LQJWKDWWKH          $,W VELWRIDORJLFDOOHDSDQGDOVRMXVW


                                                   3DJH                                                          3DJH
      SDUWRIWKDWDUWLFOHWKDWUHIHUVWRWKHWKHRUHWLFDOULVN       LQFRUUHFW7KHGH9ULHVVWXG\VSHFLILFDOO\ZDVORRNLQJ
      LVEDVHGQRWRQDQ\GDWDWKDWZDVFROOHFWHGE\WKH             DWWKHFKLOGUHQLQWKH$PVWHUGDPFOLQLFZKLFKLVQRW
      UHVHDUFKHUVLQWKDWVWXG\                                     EURDGO\DSSOLFDEOHWRRWKHUJHQGHUFOLQLFVDFURVVWKH
      %<$77251(<%$5+$0                                            UHVWRIWKHZRUOG
      47KH(QGRFULQH6RFLHW\DOVRLQGLFDWHVWKDWWKH         4%XW\RXUHOLHGXSRQGH9ULHVDUWLFOHLQ
      VRFLDOWUDQVLWLRQKDVEHHQIRXQGWRFRQWULEXWHWRWKH          \RXUUHSRUWDVZHOOGLGQ W\RX"
      OLNHOLKRRGRISHUVLVWHQFH                                     $,DJUHH<HDK
      ,VWKDWFRUUHFW"                                      46RWKHUHDUHSURIHVVLRQDOVZKRKDYHUDLVHGWKHVH
      $7KDWLVDPLVVWDWLQJRI'U6WHHQVPD                 FRQFHUQVDQGKROGWKHFRQFHUQVWKDWVRFLDOWUDQVLWLRQLQJ
     47KDWLVZKDWWKH(QGRFULQH6RFLHW\KDV               FDQQRWFKDQJHWKHRXWFRPHIRUDFKLOG
     FRQFOXGHG                                                    ,VWKDWFRUUHFW"
     &RUUHFW"                                             $77251(<%/2&.2EMHFWLRQWRIRUP
     $77251(<%/2&.2EMHFWLRQWRIRUP            7+(:,71(66,WKLQNWKHUH VWZR
     7+(:,71(667KDWLVZKDWWKH\KDYH           GLIIHUHQWTXHVWLRQV7KHILUVWTXHVWLRQLVGR,DJUHH
     ZULWWHQKHUHLQWKHDUWLFOH\RXSUHVHQWHG\HV               ZLWKWKLVVWDWHPHQWWKDWDOPRVWDOOFKLOGUHQWUHDWHG
     $77251(<%$5+$0/HW VJRWR7DE           ZLWKSXEHUW\EORFNHUVSURFHHGWRFURVVVH[KRUPRQHV"
     QXPEHU                                                   7KDWLVQRWGDWDWKDWZHKDYHQRUGRHVWKLVDUWLFOH
     /$:&/(5.:,/.,1621([KLELW              SRLQWWRGDWDRWKHUWKDQWKH'XWFKFOLQLFWKDWKDVD
     %<$77251(<%$5+$0                                           YHU\VSHFLILFSURWRFRO
     4([KLELW1XPEHUDQGZHDUHJRLQJWREH            7KHTXHVWLRQDERXWZKHWKHUVRFLDO
     ORRNLQJDWWKHVL[WKSDJHRIWKLVGRFXPHQW$QG'U          WUDQVLWLRQFKDQJHVDFKLOG VWUDMHFWRU\LVDGLIIHUHQW
     ' $QJHORHWDODUWLFOHLQGLFDWHVWKDWVLQFHDOPRVWDOO      TXHVWLRQ,WLVDTXHVWLRQWKDWWKH'XWFKKDYHUDLVHG
     WKHFKLOGUHQWUHDWHGZLWKSXEHUW\EORFNHUVSURFHHGHGWR       DVDSRVVLELOLW\EXWKDVQRW,KDYHQRWVHHQDQ\
     FURVVVH[KRUPRQHVFRQFHUQVKDYHEHHQUDLVHGWKDW             OLWHUDWXUHWKDWSURYLGHVHYLGHQFHIRUWKDW


                                                                                         3DJHVWR
                Case: 22-5807
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                                                    3DJH                                                         3DJH
      %<$77251(<%$5+$0                                             $7KDWLVFRUUHFW
      4%XW\RXZLOOUHFRJQL]HWKDWWKHUHDUHVRPH             4:RXOG\RXDJUHHWKDWWKHPDMRULW\RIFKLOGUHQ
      UHVHDUFKHUVLQWKHILHOGZKRKDYHUDLVHGWKHVHFRQFHUQV         ZKRUHFHLYHSXEHUW\EORFNHUVJRRQDQGWDNHFURVVVH[
      DQGGRKROGWKHVHFRQFHUQV                                     KRUPRQHV"
      &RUUHFW"                                               $77251(<%/2&.2EMHFWLRQWRIRUP
      $7KHUHDUHUHVHDUFKHUVLQWKHILHOGZKRDVNWKHVH       7+(:,71(667KDWLVQRWDTXHVWLRQ
      TXHVWLRQV\HV                                                 WKDWZHKDYHDQDQVZHUWREDVHGXSRQWKHOLWHUDWXUH$
      $77251(<%$5+$0/HW VJRWR7DE            PDMRULW\RISDWLHQWVZLWKJHQGHUG\VSKRULDWKDWDUH
      $77251(<75<21+RZODWHDUHZHJRLQJLQ        SUHVFULEHSXEHUW\EORFNHUVDUHQRWLQYROYHGLQFOLQLFDO
     WKLVVHVVLRQXQWLORU"                              FDUHDWHLWKHUWKH7DYLVWRFNFOLQLFRUWKH$PVWHUGDP
     $77251(<%$5+$07KHZLWQHVVKDV               FOLQLF
     LQGLFDWHGKHFDQJRWR                                   %<$77251(<%$5+$0
     $77251(<75<212ND\                          4,VLWLQ\RXUSUDFWLFHGRWKHPDMRULW\RI
     $77251(<%$5+$0([KLELWLVDQ              FKLOGUHQZKRUHFHLYHSXEHUW\EORFNHUVIRUJHQGHU
     DUWLFOHE\&DUPLFKDHOHWDO6KRUWWHUP2XWFRPHV        G\VSKRULDJRRQWRWDNHFURVVVH[KRUPRQHV"
     RI3XEHUWDO6XSSUHVVLRQLQD6HOHFWHG&RKRUWRIWR       $%DVHGXSRQWKHGHPRJUDSKLFRIWKHSDWLHQWVWKDW
     \HDUROG<RXQJ3HRSOH,I\RX OOWXUQWRSDJH             , PVHHLQJSDUWLFXODUO\LQ&KLFDJR\HVEXW, PQRW
                                       VHHLQJWKH\RXQJHUNLGVDVPXFKDV,GLGLQ1HZ<RUN
      :KHUHXSRQ([KLELW$UWLFOHE\              46RDVDSUDFWLFDODQGHWKLFDOPDWWHUWKH
     &DUPLFKDHOHWDOZDVPDUNHGIRU             GHFLVLRQWRSXWDFKLOGRQSXEHUW\EORFNHUVPXVWEH
     LGHQWLILFDWLRQ                                FRQVLGHUHGDVHTXLYDOHQWRIDGHFLVLRQWRSXWWKH
                                      FKLOGUHQRQFURVVVH[KRUPRQHVZLWKDOORIWKH
     %<$77251(<%$5+$0                                            FRQVLGHUDWLRQVDQGIXOOFRQVHQWREOLJDWLRQVOLVWHGLQ
     4$UH\RXIDPLOLDUZLWKWKLVSDSHU"                     WKDWGHFLVLRQ


                                                    3DJH                                                         3DJH
      $,KDYHQRWUHDGWKURXJKWKLVSDSHU\HW               &RUUHFW"
      47KHOHDGDXWKRUVDUHDVVRFLDWHGZLWKWKH               $77251(<%/2&.2EMHFWLRQWRIRUP
      7DYLVWRFN"                                                      7+(:,71(661R
      $7KDWLVFRUUHFW                                       %<$77251(<%$5+$0
      4$QGWKDW VSDUWRIWKH1DWLRQDO+HDOWK6HUYLFHV        4:K\GR\RXVD\ZK\GR\RXGLVDJUHH"
      RIWKH8.                                                      $,QKHUHQWLQWKHLQIRUPHGFRQVHQWSURFHVVLVD
      ,VWKDWFRUUHFW"                                       VSHFLILFGLVFXVVLRQRIWKHULVNEHQHILWVDQG
      $7KDWLVFRUUHFW"                                       DOWHUQDWLYHVRIDVSHFLILFLQWHUYHQWLRQ+RUPRQHVDUH
      4$QGLW VWKHOHDGLQJDQGPRVWUHVSHFWHGFOLQLF         QRWSXEHUW\EORFNHUVLW VDVHSDUDWHGLVFXVVLRQ
     LQWKH8.                                                     4(YHQWKRXJKWKHYDVWPDMRULW\DFFRUGLQJWRWKH
     &RUUHFW"                                              UHVHDUFKDQGDFFRUGLQJWR\RXUWHVWLPRQ\JRRQWRWDNH
     $7KDW,FDQ WDQVZHU                                  FURVVVH[KRUPRQHV"
     4,I\RX OOORRNDWSDJHWKHDXWKRUVLQGLFDWH       $77251(<%/2&.2EMHFWLRQWRIRUPDQG
     WKDWRQH\RXQJSHUVRQGHFLGHGWRVWRS*Q5+DDQGGLGQRW        PLVFKDUDFWHUL]HVWHVWLPRQ\
     VWDUWFURVVVH[KRUPRQHVGXHWRFRQWLQXHGXQFHUWDLQW\          7+(:,71(66$GHVFULSWLRQRIWKH
     DQGFRQFHUQVDERXWWKHVLGHHIIHFWVRIFURVVVH[               SRWHQWLDOWUDMHFWRULHVRIGHYHORSPHQWLVDSDUWRIWKH
     KRUPRQHVWKHUHPDLQLQJRUSHUFHQWHOHFWHGWR            GLVFXVVLRQLQDQLQIRUPHGFRQVHQWSURFHVVIRUWKH
     VWDUWFURVVVH[KRUPRQHV                                      HQJDJHPHQWZLWKSXEHUW\VXSSUHVVLRQDJHQWV,W VQRW
     ,VWKDWFRUUHFW"                                      WKHVDPHDVLQIRUPHGFRQVHQWSURFHVVGLVFXVVLRQDURXQG
     $&RUUHFW                                              WKHXVHRIKRUPRQHVDWWKDWWLPH
     46RWKHYDVWPDMRULW\RIWKHVHFKLOGUHQZKR            %<$77251(<%$5+$0
     UHFHLYHGSXEHUW\EORFNHUVZHQWRQWRWDNHFURVVVH[             46RZKHQ\RX UHKDYLQJDQLQIRUPHGFRQVHQW
     KRUPRQHV                                                      GLVFXVVLRQVXUURXQGLQJWKHGHFLVLRQWRVWDUWSXEHUW\
     &RUUHFW"                                              EORFNHUVGR\RXGLVFXVVZLWKSDUHQWVDQGSDWLHQWVWKH


                                                                                         3DJHVWR
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                                                    3DJH                                                           3DJH
      GDQJHUVDVVRFLDWHGZLWKFURVVVH[KRUPRQHV"                      :+(5(8321$6+257%5($.:$67$.(1
      $7KLVLVJRLQJWREHYHU\LQGLYLGXDOL]HG                
      GLVFXVVLRQVWKDWZHKDYHZLWKIDPLOLHV,W VDYHU\            219,'(27$3(
      PRPHQWRXVGHFLVLRQWRPDNHWKLVNLQGRIWUHDWPHQW               9,'(2*5$3+(5%DFNRQWKHUHFRUGWKH
      FKRLFH7KHSRWHQWLDOWUDMHFWRULHVDUHDOOGLVFXVVHG           FXUUHQWWLPHUHDGVSP
      DQGWKHUH VULVNWRHYHU\WKLQJ,GRQ WWKLQNLWLV            $77251(<%$5+$0$OOULJKW/HW VJRWR
      XVHIXOWRXVHWKHWHUPGDQJHUVLQWKHFRQWH[WRIPHGLFDO        7DEZKLFKZLOOEH([KLELW1XPEHU
      FDUHEXWLW VDERXWZHLJKLQJULVNVRILQWHUYHQWLRQVEXW         
      DOVRZHLJKLQJWKHULVNVRIQRQLQWHUYHQLQJ$QGLW V            :KHUHXSRQ([KLELW:DVKLQJWRQ3RVW
     DSSURSULDWHWRKDYHWKRVHGLVFXVVLRQVDERXWZKDWWKRVH         $UWLFOHZDVPDUNHGIRULGHQWLILFDWLRQ
     SRWHQWLDORXWFRPHVPD\EHZLWKHDFKLQGLYLGXDONLG            
     4+RZGR\RXJHWLQIRUPHGFRQVHQWIURPDFKLOG"         %<$77251(<%$5+$0
     $<RXJHWDVVHQWIURPDFKLOGEXW\RXJHW              47KLVLVZLOOEHD:DVKLQJWRQ3RVWDUWLFOHIURP
     LQIRUPHGFRQVHQWIURPDSDUHQW                                -DQXDU\$UH\RXDZDUHRIWKHVHDVRQ
     4+RZGR\RXJHWKRZFDQDFKLOGHYHQEHJLQWR      VZLPPLQJHYHQWVVXUURXQGLQJWKH8QLYHUVLW\RI
     XQGHUVWDQGWKHLPSOLFDWLRQVRIVWDUWLQJSXEHUW\EORFNHUV       3HQQV\OYDQLD VVZLPPHU/LD7KRPDV"
     DQGWKHQSRWHQWLDOO\JRLQJWRFURVVVH[KRUPRQHVWKH          $77251(<%/2&.2EMHFWLRQWRVFRSH
     HIIHFWVWKDWWKDWPD\KDYHRQWKHIHUWLOLW\ZKHQWKH           7+(:,71(66,KDYHQRWEHHQIROORZLQJ
     FKLOGLVLVK"                                               FORVHO\EXW, YHKHDUGDERXWLW
     $77251(<%/2&.2EMHFWLRQWRIRUP             %<$77251(<%$5+$0
     7+(:,71(66:HOO,KDYHDVNHZHG            42ND\
     SHUVSHFWLYHKHUHEHFDXVHRIWKHZRUNWKDW,GREXW            2QSDJHWKUHHRI([KLELWWKHDUWLFOH
     WKHUHDUH\HDUROGVZKRDUHRIWHQPXFKPRUHFDSDEOH         UHIHUHQFHVWKDW/LD7KRPDVLQKHUILUVW\HDULQWKH
     RIKDYLQJWKDWNLQGRILQIRUPHGGHFLVLRQWKDQPDQ\             :RPHQ V'LYLVLRQDIWHUPRUHWKDQD\HDURIWHVWRVWHURQH


                                                    3DJH                                                           3DJH
      DGXOWVWKDW,KDYHHQFRXQWHUHGZKLFKLVWRVD\LW VDQ         VXSSUHVVLRQVHWWKH:RPHQ V'LYLVLRQUHFRUGLQWZR
      LQGLYLGXDOL]HGDVVHVVPHQWEDVHGXSRQPXOWLSOHWKLQJV           HYHQWV
      LQFOXGLQJWKHFRJQLWLYHVWDWXVRIWKHFKLOGWKHLU              'R\RXVHHWKDW"
      FDSDFLW\WRHQJDJHEDFNDQGIRUWKDQGKDYHDQRSHQ              $,VHHWKDW\HV
      GLVFXVVLRQDQGDUHDOLVWLFGLVFXVVLRQDERXWWKH                 4$QG/LD7KRPDVEHDWWKHEHVWWLPHRIZRPHQ V
      SRWHQWLDOEHQHILWVULVNVDQGDOWHUQDWLYHVLQVSHFLILF          2O\PSLDQ7RUUL+XVNHLQWKHIUHHVW\OH
      LQWHUYHQWLRQ                                                   'R\RXVHHWKDW"
      %<$77251(<%$5+$0                                             $,VHHWKDW
      4,VLW\RXUSRVLWLRQWKDWPRVW\HDUROGVKDYH        $77251(<%/2&.,MXVWZDQWWRQRWHDQ
     DEHWWHUXQGHUVWDQGLQJRUDEHWWHUFDSDELOLW\RIPDNLQJ        REMHFWLRQWRIRXQGDWLRQWKDWWKHUH VQR85/7KLV
     GHFLVLRQVDERXWWKHLUORQJWHUPIHUWLOLW\WKDQDGXOWV"         DSSHDUVWREHFXWDQGSDVWHG6R, PMXVWQRWLQJWKDW
     $,WLVQRWP\SRVLWLRQDQG,ZLOOUHIOHFWWKDW         IRUWKHUHFRUG
     WKDWZDVDVWDWHPHQWPHDQWLQMHVWEXWLWGRHVUHIOHFW        $77251(<%$5+$0$QG,ZRXOGQRWH)RU
     VRPHVHQVHRIUHDOLW\LQWHUPVRIWKHPDWXULW\OHYHORI        WKHUHFRUGWKDWWKHUHLVDQ85/DWWKHERWWRPRISDJH
     \HDUROGVQRWVSHDNLQJWRWKHPDWXULW\OHYHORIPRVW       DWWKHERWWRPRIHDFKSDJH
     VRPHWKLQJVLQWKHZRUOG                                    $77251(<%/2&.7KDQNV,W VQRW
     $77251(<%$5+$0,WKLQNWKLVZRXOGEHD       YLVLEOHIURPZKDW VRQWKHVFUHHQ
     JRRGWLPHWRSDXVHIRU\RXUDSSRLQWPHQWDQGJLYH\RXD         $77251(<%$5+$02ND\
     IHZPRPHQWVEHIRUHWKDWVWDUWVVRZH OOJRRIIWKH            -XVWWU\LQJWREHFOHDU
     UHFRUG                                                        %<$77251(<%$5+$0
     9,'(2*5$3+(5*RLQJRIIWKHUHFRUG7KH       4,VLW\RXUSRVLWLRQWKDWLWLVIDLUIRU/LD
     FXUUHQWWLPHUHDGVSP                                   7KRPDVWRFRPSHWHLQWKH:RPHQ V'LYLVLRQRIVZLPPLQJ"
     2))9,'(27$3(                                                  $77251(<%/2&.2EMHFWLRQWRVFRSH
                                      7+(:,71(66,GRQ WKDYHDQRSLQLRQRQ



                                                                                          3DJHVWR
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                                                                 3DJH                                                     3DJH
      WKHIDLUQHVV                                                           $,KDYHQRWKHDUGRI,V]DF+HQLJXQWLOWRGD\DW
      %<$77251(<%$5+$0                                                     OHDVWE\QDPH
      4'R\RXEHOLHYHWKDWLW VEHQHILFLDOWR/LD                     4'R\RXVHHRQWKHILUVWSDJHRIWKLVDUWLFOHWKH
      7KRPDV PHQWDOKHDOWKWRFRPSHWHLQWKH:RPHQ V                         DUWLFOHUHDGV+HQLJDWUDQVPDQFRPSHWLQJRQWKH
      'LYLVLRQ"                                                               ZRPHQ VVZLPPLQJWHDPDW<DOH"
      $,FRXOGQ WWHOO\RXWKDWXQOHVV,KDGHYDOXDWHG                $,VHHWKDW\HV
      /LD7KRPDVKHUVHOI                                                     46RLQWKLVHYHQWDELRORJLFDOPDOHLGHQWLILHVDV
      4%XWLW V\RXURSLQLRQDVH[SUHVVHGLQ                          IHPDOH/LD7KRPDVFRPSHWHGDJDLQVWDELRORJLFDOIHPDOH
      SDUDJUDSKRI\RXUUHSRUWWKDWQRUHDVRQDEOHPHQWDO                   ZKRLGHQWLILHVDVPDOH,V]DF+HQLJLQWKHZRPHQ V
     KHDOWKSURIHVVLRQDOFRXOGFRQFOXGHWKDWWKH$FWLV                     FRPSHWLWLRQ"
     DQ\WKLQJEXWKDUPIXOWRWKHPHQWDOKHDOWKRIWUDQVJHQGHU               $77251(<%/2&.2EMHFWLRQFDQ\RXJLYH
     \RXWK                                                                 KLPDFKDQFHWRUHDGWKHDUWLFOH+H VQHYHUVHHQRU
     ,VWKDWFRUUHFW"                                              KHDUGRIWKLVEHIRUH"
     $,ZRXOGVD\\RXWKDVDFODVV\HVWKDWLV                    7+(:,71(66,WVHHPVWKDWLVZKDW
     FRUUHFWEXWWKHVSHFLILFGHWDLOVRIWKDWLPSDFWDUHQRW               VWLSXODWHGLQWKHDUWLFOH
     JRLQJWREHNQRZQDQG,ZRXOGQ WFDUHWRVXUPLVHRQLW                 %<$77251(<%$5+$0
     IRUDVSHFLILFLQGLYLGXDOWKDWLVQRWXQGHUP\FDUH                   42ND\
     42ND\                                                         $FFRUGLQJWRWKHWHUPLQRORJ\\RXSUHIHUGR\RX
     %XWLW V\RXUSRVLWLRQWKDWDOORZLQJD                        FRQVLGHU+HQLJWREHDQ\WKLQJRWKHUWKDQDPDQ"
     WUDQVJHQGHURUDOORZLQJQDWDOPDOHVWRFRPSHWHLQ                  $77251(<%/2&.2EMHFWLRQWRIRUP
     WKH:RPHQ V'LYLVLRQLIWKH\DUHJHQGHUG\VSKRULFLV                   7+(:,71(66,ZLOOW\SLFDOO\DVNWKH
     EHQHILFLDOWRWKHLUPHQWDOKHDOWKLQJHQHUDO                         LQGLYLGXDOVWKDW, PZRUNLQJZLWKRUHQJDJLQJZLWKKRZ
     &RUUHFW"                                                      WKH\FKRRVHWRGHILQHWKHLURZQVHQVHRIODEHOV1RW
     $77251(<%/2&.2EMHFWLRQWRWHUPLQRORJ\               NQRZLQJ,V]DF,FDQ WVSHDNIRUKLP


                                                                 3DJH                                                     3DJH
     DQGIRUP                                                                %<$77251(<%$5+$0
     7+(:,71(66,QP\UHSRUWH[FOXGLQJ                      42ND\
     WUDQVJHQGHU\RXWKFDQEHKDUPIXOWRWKHLUPHQWDOKHDOWK                 %XWDFFRUGLQJWRWKHWHUPLQRORJ\WKDW\RX YH
     %<$77251(<%$5+$0                                                      EHHQXVLQJ,V]DFZRXOGEHDQLQGLYLGXDODVVLJQHGIHPDOH
     4$QGZKHQ\RXVD\H[FOXGLQJWKHP\RXPHDQ                        VH[DWELUWKDQGLGHQWLI\LQJDVPDOH
     H[FOXGLQJWKHPIURPFRPSHWLWLRQFRQVLVWHQWZLWKWKHLU                    &RUUHFW"
     JHQGHULGHQWLW\                                                         $$JDLQ,GRQ WVHH
     ,VWKDWFRUUHFW"                                                4+HQLJDWUDQVPDQ"
     $7KDWLVFRUUHFW                                                $DGHVFULSWLRQRIKLVZRUGVWRGHVFULEHKLV
    $77251(<%$5+$0$OOULJKW                             LGHQWLW\VR,FDQ WVD\KRZKHLGHQWLILHVKLPVHOIEXW
    ,ZDQWWRVKRZ\RX7DEQRZ7KLVZLOO                LWDSSHDUVWKURXJKWKDWWKDW VKRZWKDWLVWKH
    EH([KLELW                                                          LPSOLFDWLRQRIWKHDUWLFOHDWOHDVW
                                              4,QWKHDUWLFOHLWXVHVPDVFXOLQHSURQRXQVWR
     :KHUHXSRQ([KLELW2XW6SRUWV                       UHIHUWR+HQLJ
    $UWLFOHZDVPDUNHGIRULGHQWLILFDWLRQ                 &RUUHFW"
                                              $<HV
    %<$77251(<%$5+$0                                                     4'R\RXWKLQNLW GEHQHILFLDOWR+HQLJ VPHQWDO
    4+DYH\RXUHDGDERXW,V]DF+HQLJEHIRUHWRGD\"                  KHDOWKWRFRPSHWHRQWKHZRPHQ VWHDP"
    $,KDYHQRW                                                    $$JDLQ,FDQ WDQVZHUWKDWXQOHVV,KDG
    47KLVLVDQDUWLFOHIURP2XW6SRUWVSXEOLVKHGRQ                HYDOXDWHG+HQLJP\VHOI
    -DQXDU\WKE\.DUOHLJK:HEEHQWLWOHG7UDQV                      4,QJHQHUDOLI\RXKDYHDWUDQVJHQGHULQGLYLGXDO
    VZLPPHUV/LD7KRPDVDQG,V]DF+HQLJZHQWKHDGWRKHDGLQ                ZKRZDQWVWRFRPSHWHRQWKHWHDPFRQVLVWHQWKLVRUKHU
    WKHSRROHDFKJHWWLQJZLQV$UH\RXDZDUHWKDW,V]DF                  ELRORJLFDOVH[GR\RXWKLQNLW VEHQHILFLDOWRKLVRU
    +HQLJLVDELRORJLFDOIHPDOHZKRLGHQWLILHVDVPDOH"                    KHUPHQWDOKHDOWKWREHDOORZHGWRGRVR"


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      7+(:,71(66$JDLQWKLVLVDQ                 $:H UHWDONLQJVSHFLILFDOO\DERXWWKHVWXG\
      LQGLYLGXDOL]HGGLVFXVVLRQWKDW\RXKDYHZLWKSDWLHQWV          SDUWLFLSDQWVRQSHUFHSWLYHSHUFHSWLRQVRIFRQYHUVLRQ
      :LWKWKHSDWLHQWVWKDW, YHKDG,KDYHKDGSDWLHQWVZKR         WKHUDS\
      ZRXOGEHKDUPHGE\KDYLQJWRFRPSHWHZLWKWKHFRKRUWRI         4%XWWKDW VZKDW VPHDQWE\WKRVHFRQYHUVLRQ
      NLGVZKRZHUHDOLJQHGZLWKWKHLUVH[DVVLJQHGDWELUWK         HIIRUWV
      %<$77251(<%$5+$0                                             &RUUHFW"
      4,XQGHUVWDQG\RXUSRVLWLRQDERXWNLGVZKRDUH          $&RUUHFW
      IRUFHGWRGRVRPHWKLQJZKDWDERXWNLGVZKRZDQWWR             4,QIRRWQRWHVL[\RXFLWHDQDUWLFOHE\7XUEDQ
     FRPSHWHZLWKWKDWVDPHFRKRUWGR\RXWKLQNLW V               SXEOLVKHGLQ
     EHQHILFLDOWRDOORZWKHPWRFRPSHWHDVWKH\VHHILW"           ,VWKDWFRUUHFW"
     $$VDPHQWDOKHDOWKSURIHVVLRQDOZRUNLQJZLWK          $7KDWLVFRUUHFW
     NLGVDQGIDPLOLHVLWUHDOO\LVDQLQGLYLGXDOL]HG              $77251(<%$5+$0$OOULJKW
     GLVFXVVLRQ7KHUHLVQRWJRLQJWREHDVSHFLILFDQVZHU        , PJRLQJWRVKRZ\RX7DEZKLFKZLOO
     WKDW VXQLYHUVDOIRUDOONLGV                                 EH([KLELW
     4'R\RXEHOLHYHWKDWLI+HQLJZHUHSUHYHQWHGIURP      
     FRPSHWLQJZLWKWKHZRPHQ VWHDPDVGHVLUHGWKDWLW             :KHUHXSRQ([KLELW$UWLFOHE\
     FRXOGEHKDUPIXOWR+HQLJ VPHQWDOKHDOWK                  7XUEDQHWDOZDVPDUNHGIRU
     $77251(<%/2&.2EMHFWLRQWRIRUP             LGHQWLILFDWLRQ
     %<$77251(<%$5+$0                                            
     4SRVVLEO\"                                         %<$77251(<%$5+$0
     $,FDQ WVSHDNWRWKHVSHFLILFVDERXWDSHUVRQ         47KLVLVDQDUWLFOHSXEOLVKHGE\7XUEDQHWDO
     WKDW, YHQHYHUHYDOXDWHG                                     SXEOLVKHGLQLW VHQWLWOHG$VVRFLDWLRQ%HWZHHQ
     4,ILWLVKDUPIXOWRVRPHRQH VPHQWDOKHDOWKWR        5HFDOOHG([SRVXUHWR*HQGHU,GHQWLW\&RQYHUVLRQ(IIRUWV


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      EHSUHYHQWHGIURPSDUWLFLSDWLQJLQDWKOHWLFVRQDWHDP          DQG3V\FKRORJLFDO'LVWUHVVDQG6XLFLGH$WWHPSWV$PRQJ
      FRQVLVWHQWZLWKWKHLUJHQGHULGHQWLW\FRXOGLWEH              7UDQVJHQGHU$GXOWV7KLVLVWKHDUWLFOHWKDW\RXFLWHG
      KDUPIXOWRWKHLUPHQWDOKHDOWKWREHSUHYHQWHGIURP             LQ\RXUUHSRUW
      FRPSHWLQJRQDWHDPFRQVLVWHQWZLWKWKHLUELRORJLFDOVH[        ,VWKDWFRUUHFW"
      LIWKH\VRZDQWHGWR"                                           $7KDWLVFRUUHFW
      $77251(<%/2&.2EMHFWLRQWRIRUP              4$QGWKLVLVWKHDUWLFOHFLWHGLQIRRWQRWHVL[DV
      7+(:,71(66,WKLQNWKHUH VDZKROH            VXSSRUWIRUWKHSURSRVLWLRQWKDWVWXGLHVWKDWIRXQGWKDW
      KRVWRIK\SRWKHWLFDOVWKDWFRXOGSRWHQWLDOO\EH                 SHRSOHZKRUHSRUWHGFRQYHUVLRQHIIRUWVDUHPRUHOLNHO\
      SRVVLEOH                                                       WRKDYHUHSRUWHGVXLFLGH
     %<$77251(<%$5+$0                                            &RUUHFW"
     4$QGWKDWLVRQHRIWKHP"                              $7KDW VFRUUHFW
     $77251(<%/2&.2EMHFWLRQWRIRUP             42QSDJHWZRRIWKLVDUWLFOHWKHDXWKRUVDQG
     7+(:,71(667KDW VSRVVLEOH                  E\WKLVDUWLFOH, PUHIHUULQJWR([KLELW7KH
     $77251(<%$5+$02ND\                         DXWKRUVQRWHWKDWWKH\UHO\XSRQGDWDIURPWKH1DWLRQDO
     %<$77251(<%$5+$0                                            &HQWHUIRU7UDQVJHQGHU4XDOLW\DQGLWVWUDQVJHQGHU
     4,QSDUDJUDSKRI\RXUUHSRUW\RXZULWHD            VXUYH\
     UHFHQWVWXG\IRXQGSHRSOHZKRUHSRUWHGH[SHULHQFLQJ            &RUUHFW"
     WKRVHFRQYHUVLRQHIIRUWVZHUHPRUHOLNHO\WRUHSRUWDQ         $7KDWLVFRUUHFW
     DWWHPSWHGVXLFLGHHVSHFLDOO\WKRVHZKRUHSRUWHG               42QSDJHHLJKWRIWKLVGRFXPHQWWKHDXWKRUV
     UHFHLYLQJVXFKWKHUDS\LQFKLOGKRRG                           DGPLWWKDWLWLVFURVVVHFWLRQDOVWXG\GHVLJQHG
     'R\RXVHHWKDW"                                      SUHFOXGHVGHWHUPLQDWLRQRIFDXVDWLRQ
     $,VHHWKDW                                           &RUUHFW"
     4$QGWKHUHZHDUHWDONLQJDERXWFRQYHUVLRQ             $,GRQ WKDYHSDJHQXPEHUV:KLFKRQHLVWKDW"
     WKHUDS\                                                       4,W VWKHRQHZLWKVWUHQJWKVDQGOLPLWDWLRQVDW



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      WKHKHDGLQJDWWKHERWWRP                                      DUWLFOHE\5\DQHWDOSXEOLVKHGLQHQWLWOHG
      $&DQ\RXUHSHDWWKHTXHVWLRQ"                           )DPLO\$FFHSWDQFHLQ$GROHVFHQFHDQGWKH+HDOWKRI/*%7
      42QSDJHHLJKWWKHDXWKRUVDGPLWWKDWWKH              <RXQJ$GXOWV
      VWXGLHVFURVVVHFWLRQDOVWXG\GHVLJQSUHFOXGHV                  
      GHWHUPLQDWLRQRIFDXVDWLRQ                                      :KHUHXSRQ([KLELW$UWLFOHE\5\DQ
      &RUUHFW"                                               HWDOZDVPDUNHGIRULGHQWLILFDWLRQ
      $7KDWLVFRUUHFW                                       
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      PHQWDOKHDOWKRULQWHUQDOL]HGWUDQVSKRELDPD\KDYHEHHQ         47KLVLVWKHDUWLFOHWKDW\RXFLWHGLQIRRWQRWH
     PRUHOLNHO\WRVHHNRXWFRQYHUVLRQWKHUDS\UDWKHUWKDQ         VHYHQRI\RXUUHSRUW
     QRQ*,&(WKHUDS\VXJJHVWLQJFRQYHUVLRQHIIRUWVLWVHOI          &RUUHFW"
     ZHUHQRWFDXVDWLYHRIWKHVHSRRUPHQWDOKHDOWKRXWFRPHV       $7KDWLVFRUUHFW
     &RUUHFW"                                              42QSDJHLQWKHVHFRQGFROXPQWKHDXWKRUV
     $7KDWLVZKDWLVZULWWHQFRUUHFW                     QRWHWKDWWKH\UHOLHGRQDVDPSOHRISHRSOH
     42ND\                                                 ,VWKDWFRUUHFW"
     6RWKLVVWXG\GRHVQRWHVWDEOLVKDFDXVDOOLQN        $7KDWLVFRUUHFW
     EHWZHHQFRQYHUVLRQWKHUDS\DQGVXLFLGDOLW\                    42IWKDWVDPSOHRQO\QLQHSHUFHQWLGHQWLILHGDV
     &RUUHFW"                                              WUDQVJHQGHU
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     &RUUHFW"                                              &RUUHFW"WLPHVQLQHSHUFHQWLV
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      DVWRZKDWVSHFLILFPRGDOLWLHVZHUHXVHG                       FODLPWKDWWKLVVDPSOHLVUHSUHVHQWDWLYHRIWKHJHQHUDO
      &RUUHFW"                                               SRSXODWLRQRI/*%7LQGLYLGXDOV
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      SDUWLFLSDQWVZHUHQRWUHFUXLWHGYLDUDQGRPVDPSOLQJDQG         42QSDJHWRWKHDXWKRUVUHFRJQL]HWKDW
      WKXVWKHVDPSOHPD\QRWEHQDWLRQDOO\UHSUHVHQWDWLYH           WKLVLVDUHWURVSHFWLYHVWXG\ZKLFKTXRWHDOORZVIRU
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     DQGSHHUVLVWKHVWURQJHVWSUHGLFWRUIRUDGYHUVHPHQWDO        DOVRFLWHDQDUWLFOHE\.OHLQDQG*ROXESXEOLVKHGLQ
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      47KLVLVDQDUWLFOHE\.OHLQDQG*ROXEHQWLWOHG         HYHQWWKHVHYHULW\RIWKHUHMHFWLRQRUZKHWKHUWKLV
      )DPLO\5HMHFWLRQDVD3UHGLFWRURI6XLFLGH$WWHPSWV            FKDQJHGRYHUWLPH
      7KLVDUWLFOHVLPSO\VD\VWKDWIDPLO\UHMHFWLRQLVD             &RUUHFW"
      SUHGLFWRURIVXLFLGHDWWHPSWVDQGVXEVWDQFHDEXVHDPRQJ         $&RUUHFW
      WUDQVJHQGHUDQGJHQGHUQRQFRQIRUPLQJDGXOWV                   4'R\RXDJUHHZLWKWKHPWKDWWKHVHIDFWRUVPLJKW
      &RUUHFW"                                               KDYHLQIOXHQFHGWKHLUUHVXOWV"
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     SUHGLFWRU\HV                                                DUWLFOHWKDW\RXFLWHGLQIRRWQRWHVHYHQRI\RXUUHSRUW
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     4,QIDFWWKHZRUGVWURQJHVWGRHVQRWHYHQDSSHDU      $7KDWLVFRUUHFW
     LQWKLVDUWLFOH                                               42UIRRWQRWHVL[RI\RXUUHSRUW2ND\
     ,VWKDWFRUUHFW"                                      $QGLQ\RXUUHSRUW\RXDUHXVLQJWKH7XUEDQ
     $77251(<%/2&.2EMHFWLRQ                     DUWLFOHWRFULWLTXHWKHXVHRIZKDW\RXGHVFULEHDV
     7+(:,71(66,ZRXOGKDYHWRUHDGWKH          FRQYHUVLRQWKHUDS\
     ZKROHDUWLFOH                                                 ,VWKDWFRUUHFW"
     $77251(<%/2&./HWKLPUHDGLW               $77251(<%/2&.2EMHFWLRQWRIRUP
     7+(:,71(667KHDXWKRUVQRWHRQ              7+(:,71(66, PMXVWSXOOLQJWKLVXS
     SDJHRQDPXOWLYDULDQWPRGHOPRGHUDWHOHYHOVRI           ZKHUH,KDYHLW$V,VWDWHGLQP\UHSRUWWKH7XUEDQ
     IDPLO\UHMHFWLRQZHUHDVVRFLDWHGZLWKDOPRVWWZLFHWKH         DUWLFOHIRXQGWKDWSHRSOHZKRUHSRUWHGH[SHULHQFLQJ
     RGGVRIDWWHPSWHGVXLFLGHDQGKLJKOHYHOVRIIDPLO\            WKRVHFRQYHUVLRQHIIRUWVZHUHPRUHOLNHO\WRKDYH
     UHMHFWLRQZHUHDVVRFLDWHGZLWKDOPRVWWKUHHDQGDKDOI         UHSRUWHGDWWHPSWLQJVXLFLGH


                                                    3DJH                                                          3DJH
      WLPHVWKHRGGVRIDWWHPSWHGVXLFLGH:KLOHWKHUHLVQRW        %<$77251(<%$5+$0
      DQ\XVHRIWKHZRUGVWURQJHU,GRQ WVHHDQ\DGGLWLRQDO        46R\RX UHXVLQJLWWRFULWLTXHZKDW\RX
      ULVNVWKDWZHUHKLJKOLJKWHGLQWKLVVSHFLILFVWXG\             GHVFULEHGDVFRQYHUVLRQWKHUDS\
      %<$77251(<%$5+$0                                             ,VWKDWIDLU"
      42ND\                                                  $,WKLQNWKDW VIDLU
      2QSDJHVWHPPLQJRYHURQWRWKHDXWKRUV        42QSDJHWZRRI'U' $QJHOR VOHWWHUWRWKH
      DGPLWWKDWWKH\UHOLHGRQGDWD17'6WKDWXVHVDPSOLQJ           HGLWRUKHQRWHVDWWKHWRSRIWKHILUVWWRZDUGVWKH
      WHFKQLTXHVWKDWZHUHQRWUDQGRPDQGLQFOXGHGD                  WRSRIWKHILUVWFROXPQWKDW7XUEDQ VDQDO\VLVXVHGGDWD
      KRPRJHQRXVVWXG\SRSXODWLRQWKDWZDVODUJHO\ZKLWH             IURPWKH8676VXUYH\RIWUDQVJHQGHULGHQWLI\LQJ
     HGXFDWHGDQGHPSOR\HG                                         LQGLYLGXDOVWKLVVXUYH\LVFRQYHQLHQWVDPSOLQJ
     &RUUHFW"                                              PHWKRGRORJ\ZKLFKJHQHUDWHVORZHUTXDOLW\GDWD
     $7KDWLVFRUUHFW                                      :RXOG\RXDJUHHWKDWFRQYHQLHQWVDPSOLQJ
     4'R\RXDJUHHZLWKWKHPWKDWWKLVOLPLWVWKH           JHQHUDWHVORZTXDOLW\GDWD"
     JHQHUDOL]DELOLW\RIWKHDUWLFOH VILQGLQJV"                    $&RQYHQLHQWVDPSOLQJJHQHUDWHVORZHUTXDOLW\
     $,GR                                                 GDWD$QGWKHQVRPHRWKHUVWDWLVWLFDOPHWKRGRIVWXG\
     47KHDXWKRUVDOVRDGPLWWKDWWKHFURVVVHFWLRQDO       GHVLJQ2QHRIWKHZD\VWKDW\RXZDQWWRFRXQWHUDFW
     QDWXUHRIWKHGDWDGLGQRWDOORZXVWRGHWHUPLQHDQ\           WKDWSRWHQWLDOIRUORZTXDOLW\RIGDWDLVWRKDYH
     FDXVDOUHODWLRQVKLSEHWZHHQIDPLO\UHMHFWLRQDQGWKH           LQFUHDVHGQXPEHURISDUWLFLSDQWV7KHGLIIHUHQFHRI
     QHJDWLYHKHDOWKUHODWHGRXWFRPHV                              SDUWLFLSDQWVLQWKLVSDUWLFXODUVXUYH\DQDO\VLV
     &RUUHFW"                                              YHUVXVVD\LQDQRWKHULQDQRWKHUGRHVDGGD
     $&RUUHFW                                              OLWWOHELWPRUHFRQWH[WWRWKHDSSOLFDELOLW\RIWKHVH
     47KHDXWKRUVDOVRLQGLFDWHWKDWWKH\GLGQRWKDYH      ILQGLQJV
     DQ\LQIRUPDWLRQDERXWWKHWLPHIUDPHZLWKLQZKLFKIDPLO\        45LJKWEHORZWKDW'U' $QJHORHWDOQRWHVWKDW
     UHMHFWLRQRFFXUUHGLQFOXGLQJZKDWSUHFLSLWDWHGWKH            WKHSDUWLFLSDQWVZHUHUHFUXLWHGWKURXJKWUDQVJHQGHU


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                                                           3DJH                                                     3DJH
     DGYRFDF\RUJDQL]DWLRQVDQGVXEMHFWVZHUHDVNHGWRSOHGJH           WKH\ZHUHGLVTXDOLILHGIURPFRPSOHWLQJWKHVXUYH\7KH\
     WRSURPRWHVXUYH\DPRQJIULHQGVDQGIDPLO\7KLV                  QRWHWKDWWKLVIDLOXUHLVDVHULRXVRYHUVLJKW
     UHFUXLWLQJPHWKRG\LHOGHGDODUJHEXWKLJKO\VNHZHG                'R\RXDJUHHZLWKWKHPWKDWWKDW VDVHULRXV
     VDPSOH:RXOG\RXDJUHHWKDWWKHVDPSOHIRUWKLVVXUYH\           RYHUVLJKW"
     ZDVKLJKO\VNHZHG"                                                 $77251(<%/2&.2EMHFWLRQWRIRUP
     $77251(<%/2&.2EMHFWLRQWRIRUP                 7+(:,71(66,ZRXOGQHHGWRORRNDWWKH
     7+(:,71(66,WKLQNZH GKDYHWR                  VSHFLILFVXUYH\LQVWUXFWLRQVIRUWKHVXUYH\LQTXHVWLRQ
     XQGHUVWDQGZKDWVSHFLILFDOO\\RXPHDQE\VNHZHGDQG                WRXQGHUVWDQGWKHYDOLGLW\RIWKDW,GRQ WVHHKRZLQ
     VNHZHGLQZKDWZD\,W VKDUGWRNQRZ                            WKHFRQWH[WRIWKLVWKDWIRONVZKRGHWUDQVLWLRQHGZHUH
    %<$77251(<%$5+$0                                               VSHFLILFDOO\H[FOXGHGEXW
    47KHDXWKRUVJRRQLQ7DEOHWRGHPRQVWUDWHZKDW         %<$77251(<%$5+$0
    WKH\PHDQE\VNHZLQJRIWKHGDWD8SRQUHYLHZLQJWKHLU           4'LG\RXUHYLHZ"
    LQIRUPDWLRQZRXOG\RXDJUHHWKDWWKHVDPSOHZDVVNHZHG"          $&DQ\RXSRLQWWRZKHUHWKDWZKHUHLQWKH
    $77251(<%/2&.2EMHFWLRQWRIRUP                RULJLQDODUWLFOHRUWKHVWXG\WKDWWKRVHIRONVDUH
    7+(:,71(66$JDLQ, PQRWVXUHVNHZHG          H[FOXGHGVSHFLILFDOO\,PD\KDYHPLVVHGLW
    LQFRPSDUDWLYHFRPSDULVRQWRZKDW"                            4,GRQ WKDYHWKHRULJLQDOVXUYH\RQKDQGDWWKH
    %<$77251(<%$5+$0                                               PRPHQW,ILWSURYHGWKDWWKH\ZHUHH[FOXGHGZRXOG\RX
    47KHDXWKRUVFRQWLQXHRQSDJHWZRE\VD\LQJWKDW          DJUHHWKDWWKDWZRXOGEHDVHULRXVRYHUVLJKW"
    DQXPEHURIDGGLWLRQDOGDWDLUUHJXODULWLHVLQWKH8676            $77251(<%/2&.2EMHFWLRQWRIRUP
    UDLVHIXUWKHUTXHVWLRQVDERXWWKHTXDOLW\RIWKHGDWD             7+(:,71(66,WZRXOGUHDOO\GHSHQGRQ
    FDSWXUHGE\WKHVXUYH\7KH\WDONDERXWKRZKLJKQXPEHU          KRZWKDWZDVGRQHDQGZKDWWKHODQJXDJHZDVXVHG
    RIVXUYH\SDUWLFLSDQWVKDGQRWWUDQVLWLRQHGPHGLFDOO\RU          :LWKRXWVHHLQJLW,FDQ WPDNHDFRPPHQWRWKHUZLVH
    VRFLDOO\VLJQLILFDQWQXPEHUUHSRUWHGQRLQWHQWLRQWR             %<$77251(<%$5+$0
    WUDQVLWLRQLQWKHIXWXUH7KHLQIRUPDWLRQDERXW                  4:KDWLIWKHUHZDVQRODQJXDJHLQYROYHGLWZDV


                                                           3DJH                                                     3DJH
      WUHDWPHQWVGRHVQRWDSSHDUWREHDFFXUDWHDVDQXPEHURI          MXVWWKRVHZKRLQGLFDWHGWKDWWKH\ZHUHHLWKHUGHVLVWLQJ
      UHVSRQGHQWVUHSRUWHGWKHLQLWLDWLRQRISXEHUW\EORFNHUV           RUGHWUDQVLWLRQLQJRUQRWLQFOXGHGLQWKHGDWDVHW"
      DIWHUWKHDJHZKLFKLVKLJKO\LPSUREDEOH)XUWKHU           $,ZRXOGQHHGWRVHHWKHFRQWH[WRILWLQRUGHU
      WKHVXUYH\KDVGHYHORSHGVSHFLDOZDLWLQJGXHWR                   WRPDNHDMXGJPHQWRQWKHYDOLGLW\RIWKDWVWUXFWXUH
      XQH[SHFWHGKLJKSURSRUWLRQRIUHVSRQGHQWVZKRUHSRUWHG            42QSDJHIRXURIWKLVGRFXPHQW7KHDXWKRUVQRWH
      WKDWWKH\ZHUHH[DFWO\\HDUVROG'R\RXDJUHHWKDW           WKDW7XUEDQ VK\SRWKHVLVLVIXUWKHUZHDNHQHGE\D
      WKHVHLUUHJXODULWLHVUDLVHVHULRXVTXHVWLRQVDERXWWKH            VLJQLILFDQWIODZLQWKHLUGDWDDQDO\VLVIDLOXUHWR
      UHOLDELOLW\RIWKHGDWD"                                          FRQWUROIRULQGLYLGXDOVSUH*,&(H[SRVXUHPHQWDOKHDOWK
      $,WKLQNWKHVHDUHDOOHOHPHQWVWKDW\RXZDQWWR          H[SRVXUHVWDWXVQRWLQJWKDWWKLVLVDSRWHQWLDO
     WDNHLQWRFRQWH[WDV\RX UHHVWDEOLVKLQJYDOLGLW\RIWKH         FRPSRXQGDQGPD\PDVNUHYHUVHFDXVDWLRQ
     GDWDDQGWKHFRQFOXVLRQVWKDWFRXOGEHGUDZQ                    'R\RXKDYHDQ\VFLHQWLILFEDVLVIRUGLVSXWLQJ
     47KHVHFRQGFROXPQRISDJHWZRWKHDXWKRUVQRWH         WKDWFRQFHUQ"
     WKDWWKHHPSKDVLVRQWKHVXUYH\ VJRDOVWRKLJKOLJKWWKH         $/HWPHUHYLHZWKLVSDUWRIWKHSDSHUSOHDVH
     LQMXVWLFHVVXIIHUHGE\WUDQVJHQGHUSHRSOHGXULQJWKH             $77251(<%/2&.-XVWREMHFWLRQ,GRQ W
     UHFUXLWPHQWVWDJHLQWKHLQWURGXFWLRQRIWKHVXUYH\              WKLQNKHUHDGWKHIXOOWKHVHQWHQFH
     LQVWUXPHQWLWVHOIPDGHLWHOLJLEOHIRUUHSRUWLQJDGYHUVH         7+(:,71(66,KDYHQRWVHHQDQ\
     H[SHULHQFHVGXHWRGHPDQGELDV                                  OLWHUDWXUHRQVSHFLILFULVNVRUSUHGLFWRUVIRU
     'R\RXDJUHHWKDWWKLVGHPDQGELDVOLNHO\               LQGLYLGXDOVZKRZRXOGEHH[SRVHGWRJHQGHULGHQWLW\
     VNHZHGWKHUHVSRQVHV"                                            FRQYHUVLRQHIIRUWVDQGVRWKHVXSSRVLWLRQLQKHUHQWLQ
     $,ZRXOGQ WDJUHHWKDWLWOLNHO\EXWWKDW               WKLVSDUDJUDSKWKDWWKHDXWKRUVDUHPDNLQJWKDWDQ
     LPSOLHVWKDWZHKDYHGDWDWKDWZHGRQ WKDYH,W VD            LQGLYLGXDO VXQGHUO\LQJSRRUPHQWDOKHDOWKOHGWRWKHLU
     SRVVLELOLW\WKDWWKHVHDXWKRUVDUHUDLVLQJ                      H[SHULHQFHRIJHQGHULGHQWLW\FRQYHUVLRQHIIRUWVLVQRW
     41RZWKHDXWKRUVDOVRQRWHWKDWWKHH[SHULHQFH          VXSSRUWHGE\P\XQGHUVWDQGLQJRIWKHOLWHUDWXUH
     RIGHWUDQVLWLRQHUVDQGWKHVLVWHUVZHUHQRWLQFOXGHGDV         %<$77251(<%$5+$0


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      4'R\RXKDYHDQ\UHDVRQWRGLVSXWHDSRWHQWLDO         KLJKOLJKWWKHFURVVVHFWLRQDOGHVLJQRIWKH8676DQG
      IRUDFRQIRXQGRUWKHSRWHQWLDOIRUPDVNLQJUHYHUVHG           LQGLFDWHWKDWSUHVHQWLQJDKLJKO\FRQIRXQGHGDVVRFLDWLRQ
      FDXVDWLRQWKDWWKHDXWKRUVLGHQWLI\KHUH"                      RIFDXVDWLRQLVDVHULRXVHUURU
      $$V,GHVFULEHG,KDYHQ WVHHQDQ\OLWHUDWXUH         'R\RXDJUHHWKDWSUHVHQWLQJDFRQIRXQGHG
      WKDWVSHDNVWRWKLVQRUKDVWKDWEHHQP\FOLQLFDO              DVVRFLDWLRQDVFDXVDWLRQLVDVHULRXVHUURU"
      H[SHULHQFH                                                    $77251(<%/2&.2EMHFWLRQWRIRUP
      42QSDJHWZRRIWKLVGRFXPHQWWKHDXWKRUVQRWH         7+(:,71(66,KDYHQRWFODLPHGQRUGR,
      WKDW7XUEDQ VFRQFOXVLRQVUHVWRQWKHDVVXPSWLRQWKDW          XQGHUVWDQGP\UHDGLQJRIWKH7XUEDQHWDODUWLFOHWR
      WKH\KDYHDYDOLGZD\RIGHWHUPLQLQJZKHWKHURUQRWWKH        FODLPFDXVDWLRQZKHQDQDVVRFLDWLRQKDVEHHQIRXQGDQG
     UHVSRQGHQWZDVH[SRVHGWRWKHXQHWKLFDOSUDFWLFHRI           LQIDFWWKH\VSHFLILFDOO\FDOOHGRXWWKDWLWZDVQRW
     FRQYHUVLRQWKHUDS\'R\RXDJUHHWKDWWKLVODFNRI           FDXVDWLYHRUDWOHDVWWKHDQDO\VLVFRXOGQRWSURYHLW
     FRQWH[WLQGHWDLOUHQGHUVWKHTXHVWLRQLQFDSDEOHRI           ZDVFDXVDWLYHZLWKDFURVVVHFWLRQDOGHVLJQ
     GLIIHUHQWLDWLQJEHWZHHQHWKLFDOQRQDIILUPLQJ             %<$77251(<%$5+$0
     QRQDIILUPDWLYHQHXWUDODQGFRXQWHUVXQHWKLFDO                46RZKHQ\RXZURWHSDUDJUDSKRI\RXUUHSRUW
     FRQYHUVLRQWKHUDS\"                                           DQGVDLGWKDWDVWXG\IRXQGWKDWSHRSOHZKRUHSRUWHG
     $,GRQRW                                            H[SHULHQFLQJWKHVHFRQYHUVLRQHIIRUWVZHUHPRUHOLNHO\
     $77251(<%/2&.6RUU\REMHFWLRQWR           WRKDYHUHSRUWHGDWWHPSWLQJVXLFLGHHVSHFLDOO\WKRVH
     IRUP                                                         ZKRUHSRUWHGUHFHLYLQJVXFKWKHUDS\LQFKLOGKRRGZHUH
     %<$77251(<%$5+$0                                           \RXVXJJHVWLQJWKDWWKHFRQYHUVLRQHIIRUWVFDXVHGWKH
     4%DFNRQSDJHIRXUWKHDXWKRUVQRWHWKDWWKH          VXLFLGHDWWHPSWV"
     IDLOXUHWRFRQWUROIRUWKHVXEMHFWV EDVHOLQHPHQWDO          $,EHOLHYHLQP\WHVWLPRQ\,DPVD\LQJWKDWWKHUH
     KHDOWKPDNHVLWLPSRVVLEOHWRGHWHUPLQHZKHWKHUWKH           LVDUHODWLRQVKLSEHWZHHQWKRVHZKRDUHH[SRVHGWR
     PHQWDOKHDOWKRUVXLFLGDOLW\RIDVXEMHFWSHUVRQVWD\HG       FRQYHUVLRQHIIRUWVDQGWKRVHZKRKDYHGHVFULEHG
     WKHVDPHRUSRWHQWLDOO\HYHQLPSURYHGDIWHUWKH               UHSRUWLQJDWWHPSWLQJVXLFLGH


                                                   3DJH                                                          3DJH
      QRQDIILUPLQJHQFRXQWHU'R\RXKDYHDQ\VFLHQWLILF           4$QGKRZZRXOG\RXGHVFULEHWKDWUHODWLRQVKLS"
      EDVLVIRUGLVSXWLQJWKLVREVHUYDWLRQ"                          $$VDQDVVRFLDWLRQ
      $77251(<%/2&.2EMHFWLRQWRIRUP             4,VDVVRFLDWLRQDV\QRQ\PIRUFRUUHODWLRQ"
      7+(:,71(66$JDLQLIZHZDQWHGWRJR         $77251(<%/2&.2EMHFWLRQWRIRUP
      EDFNWRWKH7XUEDQVWXG\LWVHOIDQGORRNPRUH                  7+(:,71(66,WGHSHQGVRQWKHFRQWH[W
      VSHFLILFDOO\DWWKHLUPHWKRGRORJ\DQGWKHLUGHVFULSWLRQ        EXWJHQHUDOO\LQSODLQ(QJOLVKDVVRFLDWLRQDQG
      WKDWZRXOGEHDPRUHDFFXUDWHZD\RIJHWWLQJDSRWHQWLDO       FRUUHODWLRQDUHUHODWLYHV\QRQ\PVIRURQHDQRWKHU
      XSVDQGGRZQVVLGHRIWKLVVWXG\RWKHUWKDQWKLVOHWWHU        %<$77251(<%$5+$0
      WRWKHHGLWRU                                                 4,QWKLVVSHFLILFFRQWH[WRI\RXUUHSRUWZKHQ
     %<$77251(<%$5+$0                                           \RXVD\WKDW\RXDUHUHSRUWLQJDQDVVRFLDWLRQZHUH\RX
     4%XWGR\RXKDYHDQ\EDVLVIRUDQ\VFLHQWLILF      XVLQJDVVRFLDWLRQLQFRUUHODWLRQWRV\QRQ\PV"
     EDVLVIRUGLVSXWLQJWKDWREVHUYDWLRQ"                         $$VIDUDV,NQRZ,ZDV\HDK
     $77251(<%/2&.2EMHFWLRQWRIRUP            4+DYH\RXKDGSDWLHQWVLPSDFWHGE\QRWEHLQJ
     7+(:,71(667KLVTXHVWLRQJHWVWRD          DOORZHGWRSOD\VSRUWVFRQVLVWHQWZLWKWKHLUJHQGHU
     YHU\VSHFLILFW\SHRIVWXG\GHVLJQHGPHWKRGRORJ\7KDW       LGHQWLW\"
     LVVRPHWKLQJWKDWW\SLFDOO\LVGRQHE\DGDWDVFLHQWLVW      $2QRFFDVLRQ\HV
     ZKLFKLVQRWZKHUHP\OHYHORIH[SHUWLVHLV7KHUHDUH       4$SSUR[LPDWHO\KRZPDQ\VXFKSDWLHQWV"
     QXDQFHVLQLW:KDW,ZRXOGVD\LVLQDSRSXODWLRQDV        $2QWKHRUGHURIOHVVWKDQWZRRUWKUHH
     ODUJHRIDVXUYH\WKDWKDYLQJDGHQRPLQDWRUDVKLJKDV        4:KDWVSRUWVZHUHWKRVHSDWLHQWVSDUWLFLSDWLQJ
     WKH\KDGKHOSVWRUHGXFHWKHFKDQFHVRIFRQIRXQGHUVOLNH      LQ"
     WKHDXWKRUVLQWKLVOHWWHUWRWKHHGLWRUDUHGHVFULELQJ       $,GRQRWUHFDOOWKHVSHFLILF7KHVHZHUH
     DVSUREOHPDWLF                                               WKHWZRRUWKUHHWKDW,KDGZHUHDOOLQWKHRUGHURI
     %<$77251(<%$5+$0                                           EHWZHHQILYHVL[DQGVHYHQ\HDUROGV
     4$OLWWOHELWODWHURQSDJHILYHWKHDXWKRUV          4:KDWZDV\RXUIROORZXSZLWKHDFKSDWLHQW"


                                                                                        3DJHVWR
                Case: 22-5807
     Case 2:21-cv-00316       Document:
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                                                        Page 983 of 15511054
                                                                         PageID #: 9610
                                                                         Armistead App. 0979
                                                   3DJH                                                           3DJH
      $:LWKWKRVHSDUWLFXODUNLGV"                            MXVWGLVFXVVLQJ$QG([KLELW,EHOLHYHZDVWKH
      4<HV                                                   GRFXPHQWWKDWDGGUHVVHGWKDW7XUEDQVWXG\
      $:LWKRXWKDYLQJWKHLUFKDUWVLQIURQWRIPHLW V       $,VHH([KLELWDVWKHOHWWHUWRWKHHGLWRU
      KDUGWRH[SRXQG0\W\SLFDOSURFHVVZRXOGEH                   IURP' $QJHORHWDO
      XQGHUVWDQGLQJZK\LW VKDSSHQLQJZKDWWKH\QHHGDQGKRZ        4$QGWKDW VWKHRQHWKDWZHZHUHMXVWORRNLQJDW
      WRFRRUGLQDWHZLWKZKDWHYHUSURJUDPWRKHOSPDNHVXUH           DGGUHVVLQJWKH7XUEDQVWXG\
      WKDWWKHNLGJHWVWKHVXSSRUWWKDWLVJRLQJWREHPRVW          5LJKW"
      EHQHILFLDOWRWKHP                                             $&RUUHFW
      4$UH\RXRIIHULQJDQRSLQLRQWKDWWKH6WDWHRI          46ROHWPHMXVWDVN\RX\RXGLGFLWHWKH7XUEDQ
     :HVW9LUJLQLDGRHVQRWKDYHDVWURQJLQWHUHVWLQ               VWXG\LQ\RXUUHSRUW
     HQVXULQJVDIHFRPSHWLWLRQIRUZRPHQ"                           5LJKW"
     $77251(<%/2&.2EMHFWLRQWRIRUP             $<HV
     7+(:,71(660\WHVWLPRQ\LVDERXWWKH         4<HDKDQGWKDWZDVWRVXSSRUW\RXURSLQLRQ
     PHQWDOKHDOWKLPSDFWV,GRQ WKDYHDQRSLQLRQRQWKH         5LJKW"
     VWDWHLQWHUHVWVRI:HVW9LUJLQLDLQWKLVUHJDUG               $7KDWLVWRVXSSRUWP\RSLQLRQ\HV
     %<$77251(<%$5+$0                                            41RZEHIRUH\RXXVHGLWGLG\RXGRVRPHWKLQJWR
     4$UH\RXRIIHULQJDQRSLQLRQWKDWWKH6WDWHRI         FLWHFKHFNLWWRVHHLIWKHUHZHUHDQ\DUWLFOHVWKDW
     :HVW9LUJLQLDGRHVQRWKDYHDVWURQJLQWHUHVWLQ               HLWKHUFKDOOHQJHGLWRUFULWLTXHGLWRUFULWLFL]HGLW"
     HQVXULQJIDLUFRPSHWLWLRQ"                                     $,ZRXOGVD\WKDWDURXWLQHUHYLHZRIWKH
     $77251(<%/2&.2EMHFWLRQWRIRUP             OLWHUDWXUHLVDSDUWRIP\GD\WRGD\SUDFWLFH7KLV
     7+(:,71(666DPHDQVZHU                      SDUWLFXODUDUWLFOHGLGQRWFRPHXSLQWKDWUHYLHZ
     %<$77251(<%$5+$0                                            42ND\
     4:RXOG\RXDJUHHWKDWHQVXULQJIDLUQHVVDQG            ,VWKHUHDZD\WRVSHFLILFDOO\VHDUFKIRULWWR
     VDIHW\LVDQLPSRUWDQWVWDWHLQWHUHVW                         VHHLIWRORRNDWLWDQGWKHQGRDVHDUFKDQGVHH


                                                   3DJH                                                           3DJH
      $77251(<%/2&.2EMHFWLRQWRIRUPDQG           ZKDWRWKHUDUWLFOHVDUHTXRWHGRUFLWHG"
      VFRSH                                                          $0\JXHVVLVWKHUHSUREDEO\LV, PQRWDZDUHRI
      7+(:,71(666DPHDQVZHU                       LW
      $77251(<%$5+$0$OOULJKW,EHOLHYH          4%XW,WKLQN\RXVDLG\RXZHUHQRWDZDUHRIWKH
      WKRVHDUHDOOP\TXHVWLRQVIRUWRGD\,ZLOOWXUQWKH          OHWWHUZKLFKLV([KLELWSULRUWRLVVXLQJ\RXUH[SHUW
      IORRURYHUWR0U7U\RQ                                        UHSRUW
      $77251(<7<5212ND\                           ,VWKDWULJKW"
      +HUH,DP                                       $7KDWLVFRUUHFW
                                        4:RXOGLWKDYHEHHQKHOSIXOWRKDYHVHHQWKDW
     (;$0,1$7,21                             DKHDGRIWLPH"
                                      $,WKLQNLWZRXOGKDYHEHHQKHOSIXOIRUPHWR
     %<$77251(<75<21                                             IHHOPRUHSUHSDUHGLQWKLVGHSRVLWLRQ,GRQ WWKLQNLW
     40\QDPH V'DYLG7U\RQ,DPZLWKWKH:HVW            ZRXOGKDYHFKDQJHGDQ\RIP\UHSRUW
     9LUJLQLD$WWRUQH\*HQHUDO V2IILFHDQGUHSUHVHQWWKH           4,I\RXKDGWKDWZRXOG\RXKDYHLQYHVWLJDWHG
     6WDWHRI:HVW9LUJLQLD6RZH YHJRWDERXWDQKRXU            WKRVHFULWLFLVPVWRVHHLIWKH\ZHUHIDLOHGFULWLFLVPV"
     OHIW'R\RXZDQWWRMXVWNHHSRQJRLQJDQGILQLVKXS         $7KHDXWKRUVRIWKH7XUEDQVWXG\KDGUDLVHGPRVW
     RUZRXOG\RXOLNHWRWDNHDEUHDNIRUILYHPLQXWHV             RIWKRVHFULWLFLVPVWKHPVHOYHVLQWKHFRQWH[WRIWKHLU
     EHIRUHZHILQLVKXS"                                           UHSRUW
     $,WKLQNOHW VNHHSJRLQJ,I,KDYHWRWDNHD        4$QGGLG\RXLQGHSHQGHQWO\ORRNDWLWDQG
     EUHDN, OOOHW\RXNQRZ,DSSUHFLDWHLW                    GHWHUPLQHLIWKH\ZHUHLIWKDWFDXVHG\RXVRPH
     42ND\                                                 FRQFHUQV"
     <RXEHW+DSS\WRKHOS\RXRXWWKDWZD\DJDLQ       $&RQFHUQVZRXOGQ WEHWKHULJKWZRUG,W VDERXW
     ,MXVWZDQWWRIROORZXSILUVWRIDOORQDFRXSOHRI         ZHLJKLQJWKHHYLGHQFHDQGPDNLQJVXUHWKDWZHXQGHUVWDQG
     TXHVWLRQVDERXWWKH7XUEDQVWXG\LI,PD\WKDWZHZHUH       FRQWH[WDQGDSSOLFDELOLW\7KHUH VQRWKLQJLQWKLV


                                                                                          3DJHVWR
                Case: 22-5807
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                                                    3DJH                                                          3DJH
      OHWWHUWRWKHHGLWRUWKDWFKDQJHVWKRVHGHPDQGVIURPP\         'RHVWKDWVRKHILOHGVRPHWKLQJZLWKWKH
      UHDGLQJRIWKH7XUEDQDUWLFOH                                  &RXUWRULJLQDOO\'LG\RXUHYLHZWKDWRQH"
      46R\RXDUHVD\LQJWKDWWKLVOHWWHULQWKH7XUEDQ       $,WZDVWKHRULJLQDOUHSRUWWKDW,KDGUHYLHZHG
      DUWLFOH, PVRUU\\RX UHVD\LQJWKLVOHWWHUWRWKH         42ND\
      HGLWRUGRHVQRWUDLVHDQ\QHZLVVXHVDWDOOWKDQZKDW           6ROHWPHMXVWEHFOHDU6RKHILOHGDQ
      WKH7XUEDQVWXG\LWVHOIUDLVHG                                 RULJLQDOUHSRUWEDFNLQODVW\HDUDQGWKHQLVVXHGD
      ,VWKDWULJKW"                                         QHZUHSRUWLQ)HEUXDU\RIWKLV\HDUDQGWKHQLVVXHGD
      $,ZRXOGKDYHWRUHDGWKURXJKWKLVLQDPRUH            UHEXWWDOUHSRUW6RDWRWDORIWKUHH'LG\RXVHHDOO
      GHWDLOHGPDQQHUWRVD\IRUFHUWDLQWKDWQRVLQJOHLVVXH         WKUHHRIWKRVH"
     KDVEHHQDGGUHVVHG1RQHRIZKLFKZHGLVFXVVHGWRGD\          $,ZRXOGKDYHWRVHHWKHP
     DUHHOHPHQWVWKDWKDGQ WEHHQDGGUHVVHGHLWKHUE\             $77251(<%/2&.2EMHFWWRIRUP
     P\VHOIUHDGLQJWKH7XUEDQDUWLFOHRUE\WKH7XUEDQHW         7+(:,71(66,ZRXOGKDYHWRVHHWKHPLQ
     DOLQWKHDUWLFOHLWVHOI                                     IURQWRIPHWRNQRZLILWZDVVRPHWKLQJWKDW,KDGUHDG
     4%XW\RXGRQRWUDLVHDQ\RIWKRVHFRQFHUQVLQ         ,GRQ WNQRZWKHWHUPLQRORJ\ZHOOHQRXJKWRNQRZLI,
     \RXUUHSRUWGR\RX"                                           ZDVUHDGLQJWKHRULJLQDOUHSRUWRUUHEXWWDOUHSRUWRU
     $77251(<%/2&.2EMHFWLRQWRIRUP             WKHWKLUGW\SH
     7+(:,71(661R1RQRWVSHFLILFDOO\        %<$77251(<75<21
     %<$77251(<75<21                                             46RRQHRIWKHPZDVH[SHUWUHSRUWZKLFKZDV
     42ND\)DLUHQRXJK                                   LVVXHG,EHOLHYHLQ)HEUXDU\RIWKLV\HDU,EHOLHYH
     ,I\RXFDQIROORZ\RXUUHSRUWQRZZKLFK, P          \RXVDZWKDWRQH
     IRUJHWWLQJZKLFKH[KLELWWKDWLV([KLELW7KDQN\RX       $$JDLQ,ZRXOGKDYHWRVHHWKHUHSRUWLQIURQW
     6RILUVWRIDOO\RXVDLG\RXZHUHUHWDLQHGE\       RIPHWRNQRZLILWZDVWKHRQH,VDZ
     &RXQVHOIRUWKH3ODLQWLIIVDVDQH[SHUW&DQ\RXWHOO         42ND\
     PHZKHQ\RXZHUHUHWDLQHGSOHDVH"                             7KHUHZDVDQRWKHURQHZKLFKZDVODEHOHGDV


                                                    3DJH                                                          3DJH
      $,ZRXOGKDYHWRSXOOXSP\LQYRLFHWRJLYH\RX         UHEXWWDO'R\RXUHPHPEHULI\RXVDZWKDWRQH"
      WKHVSHFLILFGDWHDQG, PJXHVVLQJ0U%ORFNPLJKWKDYH        $,ZRXOGKDYHWRJREDFNWKURXJKP\QRWHV,
      WKDWLQIRUPDWLRQDWWKHUHDG\                                  GRQ WKDYHLWLQIURQWRIPHVR,DSRORJL]HIRUQRW
      48QIRUWXQDWHO\,FDQ WGHSRVHKLP,ZRXOGORYH       UHFDOOLQJ
      WREXW,GRQ WWKLQNKHZRXOGDJUHHWRWKDW6RDV            4:HOOOHWPHDVN\RXWKLVTXHVWLRQ'R\RX
      EHVW\RXFDQUHFDOOILUVWRIDOOZDVLWWKLV\HDU          UHPHPEHUKRZPDQ\UHSRUWV\RXVDZIURP'U6DIHU"
      RUODVW\HDU"                                                   $$OO,FDQVD\LV,UHPHPEHUVHHLQJDWOHDVWWZR
      $,WZDVWKLV\HDUWRWKHEHVWRIP\UHFROOHFWLRQ       49HU\JRRG$QG'U$GNLQVKRZPDQ\RIKHU
      42ND\                                                  UHSRUWVGLG\RXVHH"
     :DVLWDIWHUWKHRWKHUH[SHUWUHSRUWVFDPHRXW        $,FDQ WEHFHUWDLQEXW,WKLQN,DOVRVDZWZR
     RUEHIRUH"                                                     RIKHUV
     $,EHOLHYH,ZDVKLUHGRUUHWDLQHG,GRQ WNQRZ      4$QG, OOUHSUHVHQWWR\RXWKDWHDFKRIWKHP
     ZKDWWKHFRUUHFWWHUPLQRORJ\LVVRIRUJLYHPHDIWHUWKH       LVVXHGDUHEXWWDOUHSRUW$QGGLG\RXUHDGWKHLU
     GHYHORSPHQWRIWKHDGGLWLRQDOH[SHUWUHSRUWV,WZDV          UHEXWWDOUHSRUWVSULRUWRSUHSDULQJ\RXUUHEXWWDO
     WKHUHEXWWDOWRWKRVHUHSRUWVWKDWOHGWRP\EHLQJ             UHSRUW"
     UHWDLQHGWRP\UHFROOHFWLRQ                                   $,GRQ WKDYHWKHGRFXPHQWDWLRQLQIURQWRIPHLQ
     4, PVRUU\"                                            WHUPVRIZKHQ,ZDVVSHQGLQJWLPHRQZKDWSLHFHRIWKLV
     $)URPP\UHFROOHFWLRQ$QG, PWHUULEOHZLWK          SURFHVV7KDW VDSDUWRIP\QRWHVWKDWDUHQRWKHUH
     GDWHVVR,DSRORJL]HIRUWKDW                                WRGD\
     4,QSDUDJUDSKIRXU\RXVD\\RXH[SODLQZKDW       4'R\RXNQRZZK\\RXZHUHDVNHGWRLVVXHD
     \RXYLHZHGDQG\RXPHQWLRQWKHUHSRUWVRI'U6DIHU           UHEXWWDOUHSRUWLI'U6DIHUDQG'U$GNLQVZHUHERWK
     'RHVWKDWUHIHUWR'U6DIHU VRULJLQDOUHSRUWWKDWZDV        LVVXLQJUHEXWWDOUHSRUWV"
     ILOHGZLWKWKH&RXUWDQGKLVUHEXWWDOUHSRUWVWULNH        $77251(<%/2&.2EMHFWLRQ-XVWGRQ W
     WKDW                                                          GLVFXVVDQ\RIWKHFRQWHQWVRI\RXUFRPPXQLFDWLRQVZLWK


                                                                                          3DJHVWR
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                                                    3DJH                                                          3DJH
      WKHDWWRUQH\V                                                  YHU\JHVWDOWWKDWWKHFOLQLFLDQXVHVWRUDWHDFKLOG
      $77251(<75<21&RUUHFW                        ,W VQRWDQLQVWUXPHQWWKDW,ILQGFOLQLFDOO\XVHIXO
      7+(:,71(660\XQGHUVWDQGLQJZDVWR            4,VLWQRWFOLQLFDOO\XVHIXOEHFDXVHLWGRHVQ W
      UHEXWWKHUHSRUWVRI'U/HYLQHDQG'U&DQWRU                 KDYHREMHFWLYHFULWHULD"
      %<$77251(<75<21                                              $,ZRXOGQ WVD\LW VIDLUWRVD\WKDWWKHUHDUH
      4,V\RXUUHEXWWDOGLIIHUHQWWKDQWKHUHEXWWDOVRI       QRREMHFWLYHFULWHULDEXWWKHUHDUHDWWLPHV
      'U$GNLQVDQG'U6DIHU"                                       FRQWUDGLFWRU\REMHFWLYHFULWHULDZLWKLQWKH&*$6$QG
      $77251(<%/2&.2EMHFWLRQWRIRUP              DJDLQ,ZRXOGKHKDYHWRVHHWKH&*$6LQIURQWRIPHWR
      7+(:,71(66<HV                               SRLQWRXWWKRVHVSHFLILFVEXWWKHUHDUHRWKHU
     %<$77251(<75<21                                             IXQFWLRQVRURWKHUZD\VRIPHDVXULQJRXWFRPHVWKDQWKH
     43DUGRQPH"                                            &*$6
     $<HV                                                  4:KDWLVDQREMHFWLYHFULWHULD":KDWGRHVWKDW
     4'RHV\RXUUHEXWWDOUHSRUWKDYHDQ\RSLQLRQV           WHUPPHDQLQRWKHUZRUGV"
     ZKLFKDUHGLIIHUHQWIURP'U6DIHUDQG'U$GNLQV              $77251(<%/2&.2EMHFWLRQWRIRUP
     UHSRUWV"                                                       7+(:,71(66,JXHVVZKDWZRXOGVD\LV
     $77251(<%/2&.2EMHFWLRQWRIRUP             ZHZRXOGZDQWDSV\FKRPHWULFDOO\YDOLGDSSURDFKIRU
     7+(:,71(66,WKLQNLW VKDUGZLWKRXW         DQVZHULQJDTXHVWLRQLGHDOO\WKDWLVRIFOLQLFDO
     WKHVSHFLILFUHSRUWVLQIURQWRIPH,NQRZWKH\ZHUH         UHOHYDQFH
     ORQJGRFXPHQWVDQG,ZDVVSHFLILFDOO\UHEXWWLQJWKH            %<$77251(<75<21
     UHSRUWVRI'U/HYLQHDQG&DQWRU                              4&DQ\RXMXVWUHSHDW\RXUDQVZHUIRUPH",
     %<$77251(<75<21                                             GLGQ WTXLWHXQGHUVWDQGLW
     4'R\RXKDYHDQ\VSHFLILFUHSRUWVWKDWDUHQRW         $3UREDEO\QRWWKHVDPHODQJXDJH$
     UHEXWWLQJ'U/HYLQHDQG'U&DQWRU"                           SV\FKRPHWULFDOO\YDOLGWRROWKDWLQDQLGHDOZRUOG
     $7KHSURFHVVRIGHYHORSLQJWKLVUHEXWWDOUHSRUW        SURYLGHVVRPHNLQGRIFOLQLFDOUHOHYDQFH


                                                    3DJH                                                          3DJH
      ZDVIRUWKDWVSHFLILFLQWHQW                                   42ND\
      46R\RXGRQ WEHOLHYH\RXKDYHDQ\RULJLQDO             <RXVDLGSV\FKRPHWULFDOO\YDOLGWRRO
      RSLQLRQVWRUHSRUWZRXOGWKDWEHDIDLUVWDWHPHQW"             'LG,JHWWKDWULJKW"
      $77251(<%/2&.2EMHFWLRQWRIRUP              $3V\FKRPHWULFDOO\YDOLGDWHGWRRO\HV
      7+(:,71(66, PQRW,JXHVV, PQRW        49DOLGDWHG"
      VXUHZKDW\RXPHDQE\RULJLQDORSLQLRQV                        $<HV
      %<$77251(<75<21                                              4:KDWLVWKDW"
      46ROHW VPRYHRQ'R\RXUHFDOOWKH&RVWD             $(VVHQWLDOO\\RXZDQWWRXQGHUVWDQGWKDWWKH
      VWXG\"                                                          PHDVXUH\RX UHXVLQJLVPHDVXULQJZKDWLWVD\VWR
     $<HVZHKDGUHYLHZHGRQH&RVWDVWXG\HDUOLHU         PHDVXUHDQGLVUHOLDEOHDFURVVPXOWLSOHGRPDLQV7KH
     &DQ\RXUHPLQGPHRIWKHH[KLELWQXPEHU"                       &*$6KDVEHHQZLGHO\XVHGLQUHVHDUFKLW VMXVWQRWP\
     4,EHOLHYHLW V([KLELW"                            IDYRULWHWRROEHFDXVH,GRQ WILQGLWWRKDYHWKDW
     $$OOULJKW2ND\                                     VHFRQGGRPDLQRIKDYLQJWKDWFOLQLFDOXWLOLW\
     4,EHOLHYHWKDWGXULQJWKDWGLVFXVVLRQ\RX             4/HWPHDVN\RXWRWDNHDORRNDWSDUDJUDSKRI
     UHIHUUHGWRWKHVWDQGDUGVLQWKHUHDVEHLQJURXJKRU           \RXURSLQLRQ"
     LPSUHFLVHPHDVXUHDQGOHWPHJHWWKLVULJKWDQGQRW       $, PORRNLQJDWLWQRZ
     REMHFWLYHFULWHULD                                            4<RXVD\DWRQHSRLQWLWVD\VFRQWUDU\WRWKH
     'R\RXUHPHPEHUWKDW"                                 SRUWUD\DO'R\RXVHHWKDWVHQWHQFH"
     $,KDGGHVFULEHGWKH&*$6WKH&KLOGUHQ V*OREDO       $,VHHWKDW\HV
     $VVHVVPHQW6FDOHDVDQLPSUHFLVHPHDVXUHRIFKLOGUHQ V        4&RQWUDU\WRWKHSRUWUD\DOLQ'U/HYLQHDQG'U
     IXQFWLRQLQJ                                                   &DQWRU VUHSRUWVJHQGHUDIILUPLQJWUHDWPHQWDOVR
     4$QG\RXVDLGQRWKDYLQJDQ\REMHFWLYHFULWHULD       UHTXLUHVDFDUHIXODQGWKRURXJKDVVHVVPHQWRID
     FDQ\RXKHOSZLWKWKDW"                                        SDWLHQW VPHQWDOKHDOWKLQFOXGLQJFRRFFXUULQJ
     $<HVLW VDVFDOHIURP]HURWRDKXQGUHGWKDWLV      FRQGLWLRQVKLVWRU\RIWUDXPDDQGVXEVWDQFHDEXVHDPRQJ



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                Case: 22-5807
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                                                   3DJH                                                                  3DJH
      PDQ\RWKHUIDFWRUV0\TXHVWLRQIRU\RXLVZLWKUHVSHFW        FHUWLILFDWLRQLQRUGHUIRU\RXWRKDYHGHPRQVWUDWHGD
      WR\RXUODQJXDJHDFDUHIXODQGWKRURXJKDVVHVVPHQWDQG        FDUHIXODQGWKRURXJKDVVHVVPHQW,QRUGHUWRJHW%RDUG
      , GOLNHWRWKHQNQRZDUHWKHUHSV\FKRPHWULFDOO\                &HUWLILHG,KDGWRGRDFDUHIXODQGWKRURXJKDVVHVVPHQW
      YDOLGDWHGWRROVXVHGWRGRWKDW"                                LQIURQWRIDERDUGRIH[DPLQHUVVRWKLVLVLQKHUHQWWR
      $7KHUHDUHRQRFFDVLRQDQGSDUWLFXODUO\ZKHQ           WKHSUDFWLFHRIPHQWDOKHDOWK
      ZH UHORRNLQJDWUHVHDUFKRXWFRPHVIRUWUDQVJHQGHU\RXWK        4,VWKHUHEXWWKHUHLVQRUHTXLUHPHQWWKDW
      WKHUHDUHDQXPEHURISV\FKRPHWULFDOO\YDOLGDWHG                WKHVHYDULRXVVWDQGDUGL]HGWRROVWKDW\RXPHQWLRQHGWR
      VFUHHQLQJVRURXWFRPHPHDVXUHVWKDWDUHXVHG                   PHWKHVHSV\FKRPHWULFDOO\YDOLGWRROVKDYHWREHXVHG
      4:KDWDUHWKRVH"                                        LVWKHUH"
     $7KHVHLQFOXGHPRVWLPSRUWDQWO\WKH8WUHFKW            $7KHUHLVQ WDQGWKHUHLVQRWDFOLQLFDO
     *HQGHU'\VSKRULD6FDOHWKH%RG\,PDJH6FDOH                  YHULILFDWLRQWKDWWKH\EHXVHGLQHYHU\LQVWDQFH)RU
     KLVWRULFDOO\ZKDW VLQWKH'XWFKGDWDWKH7RURQWRGDWD       WKHVDNHRIWKHVHNLQGRIVWXGLHVLW VLPSRUWDQWWR
     DQGWKH&RVWDGDWDDQG7KH7DYLVWRFN&OLQLFDOORIWKHP       KDYHWKHVHYDOLGDWHGWRROVVRZH UHDOOVSHDNLQJWKH
     ZHUHSDUWLFLSDWRU\LQNLQGRIWKHLQIRUPDOUHVHDUFK            VDPHODQJXDJHDQGWKDWRXWFRPHVFDQEHWUDFNHGRYHU
     JURXSWKDWDJUHHGWRFROOHFWWKHVDPHPHDVXUHVVRWKHVH       WLPHEXWQRWQHFHVVDULO\LQHYHU\FOLQLFDOHYHQWLVLW
     LQFOXGHGWKH$FKHQEDFK&%&/DQGWKH\XVHVHOIUHSRUW        JRLQJWREHZDUUDQWHG
     4, PVRUU\:KDWZDVWKHILUVWRQH\RXVDLG           4,I\RXGRQ WXVHWKHPLQHYHU\FOLQLFDOHYHQW
     EHIRUH%RG\,PDJH6FDOH"                                       WKHQKRZFDQKRZFDQ\RXDGHTXDWHO\WUDFNVRPHWKLQJ
     $8WUHFKW*HQGHU'\VSKRULD6FDOH                       DFURVVSDWLHQWVLI\RXZDQWHGWRGRDVWXG\"
     48WUHFKW*HQGHU'\VSKRULD6FDOH"                       $77251(<%/2&.2EMHFWLRQWRIRUP
     $&RUUHFW                                              7+(:,71(66$VDQH[DPSOHWKHUHDUHD
     4:KDWLVWKDW"                                         QXPEHURISV\FKRPHWULFDOO\YDOLGDWHGWRROVWKDWFDQQRW
     $,W VDPHDVXUHRIWKHGHJUHHDQGLQWHQVLW\RI         EHDGPLQLVWHUHGDWHYHU\FOLQLFDOHQFRXQWHURWKHUZLVH
     JHQGHUG\VSKRULD                                              WKH\ZRXOGEHUHQGHUHGLQYDOLG6RWKHUH VDORWRI


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      4+RZLVLWZKDWGRHVLWORRNOLNH"'RHVLW         QXDQFHLQWKHVHVSHFLILFWRROVDQG,WKLQNWKDWOHYHORI
      KDYHDVHULHVRIVFDOHRQHWRWHQRQGLIIHUHQWLVVXHVRU        QXDQFHLVUHDOO\DFOLQLFDOMXGJPHQWEDVHGXSRQ
      ZKDWLVLW"                                                     SURIHVVLRQDODQGSUHYDLOLQJVWDQGDUGV
      $,W VDVHULHVRITXHVWLRQVWKDW, GKDYHWRKDYH       %<$77251(<75<21
      LQIURQWRIPHWRJLYHDEHWWHUMRERIGHVFULELQJEXW          42ND\
      LWSURYLGHVDUDWLQJRI,FDQ WUHPHPEHUZKDWWKH           6RWKHUH VQRREMHFWLYHPHDVXUHRIVRPHRQH
      UDQJHLVIURP]HURWRVRPHZKHUHLQWKHORZGR]HQVWKDW        RWKHUWKDQZHOOOHWPHEDFNXS6RGLIIHUHQW
      FRUUHODWHVZLWKWKHLQWHQVLW\RIJHQGHUG\VSKRULD              SV\FKLDWULVWVZRXOGFRPHXSZLWKGLIIHUHQWFRQFOXVLRQV
      4,VWKDWVRPHWKLQJWKDW\RXXVHLQ\RXUSUDFWLFH        ,VWKDWULJKW"
     WRGLDJQRVHJHQGHUG\VSKRULD"                                  $77251(<%/2&.2EMHFWLRQWRIRUP
     $,WLVDQHOHPHQWWKDW,KDYHXVHG                    7+(:,71(66,GRQ WWKLQNWKDW V
     4'R\RXXVHWKDWZLWKHYHU\SDWLHQW"                   UHODWHGWRZKDW,ZDVVSHDNLQJDERXW,WKLQNGLIIHUHQW
     $,WLVQRWVRPHWKLQJWKDW,XVHZLWKHYHU\             SV\FKLDWULVWVZRXOGXWLOL]HGLIIHUHQWLQVWUXPHQWVWR
     SDWLHQW7KHFRQWHQWVRIWKH8WUHFKW*HQGHU'\VSKRULD         SURYLGHDQDVVHVVPHQWDQGWKDW VJRLQJWRFKDQJHIURP
     6FDOHDUHJHQHUDOO\SLHFHVWKDW, PJHWWLQJRUJDWKHULQJ       SHUVRQWRSHUVRQ,FDQ WVSHDNWRGLDJQRVWLF
     IURPHYHU\FOLQLFDOHQFRXQWHUZLWKRXWQHFHVVDULO\              UHOLDELOLW\IRUDSV\FKLDWULVWWKDW,KDYHQ WPHWRU
     XWLOL]LQJWKHVSHFLILFWRRO                                   WUDLQHG
     47KLVVWDWHPHQWDFDUHIXODQGWKRURXJK                %<$77251(<75<21
     DVVHVVPHQWGRHVWKDWKDYHDLVWKHUHDVRXUFHIRU         4/HWPHDVN\RXKRZORQJ\RXZRXOGQRUPDOO\VSHQG
     WKDWSDUWLFXODUVWDQGDUG"                                      ZLWKDFKLOGEHIRUHRUDGROHVFHQWEHIRUHSUHVFULELQJ
     $7KHUHDUHDQXPEHURIVRXUFHVIRUWKLV                SXEHUW\EORFNHUV"
     SDUWLFXODUVWDQGDUG7KHJHQHUDOSUDFWLFHRIFKLOGUHQ V       $77251(<%/2&.2EMHFWLRQWRIRUP
     PHQWDOKHDOWKIURPP\JXLOGLQFKLOGDGROHVFHQFH               7+(:,71(667KHUHLVQRWJRLQJWREHD
     SV\FKLDWU\WKHUHDUH\HDUVRIWUDLQLQJDQG                    VLQJOHDQVZHUWRWKDWTXHVWLRQ,WUHDOO\LVGHSHQGHQW



                                                                                            3DJHVWR
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                                                    3DJH                                                          3DJH
      RQWKHUHTXLUHPHQWVRIWKHDVVHVVPHQWDVZHOODVWKH           7KHUHDUHFLUFXPVWDQFHVLQZKLFKSDWLHQWVKDYHEHHQ
      LQGLYLGXDOIDFWRUVRIWKDWFKLOGDQGWKDWIDPLO\               IROORZHGIRUVHYHUDO\HDUVE\WKHUDSLVWVWKDWFDQ
      %<$77251(<75<21                                              SURYLGHDWUHPHQGRXVDPRXQWRIFROODWHUDOLQIRUPDWLRQ
      4&RXOGWHQPLQXWHVEHORQJHQRXJK"                      LQFOXGLQJLQIRUPDWLRQSURYLGHGE\SDUHQWVIDPLO\
      $1RWLQP\RSLQLRQ                                     PHPEHUVFRPPXQLW\SURYLGHUVHWFHWHUDWKDWFDQDOORZ
      4:KDWDERXWPLQXWHV"                                 PRUHDEEUHYLDWHGDVVHVVPHQWIRUVRPHSHRSOH
      $/LNHO\QRW                                            %<$77251(<75<21
      4+RZDERXWDQKRXU"                                     4,VVRPHRQHDVFRQVLVWHQWO\VSHQGLQJRQO\DQKRXU
      $,WZRXOGEHYHU\DW\SLFDOLQP\SUDFWLFHWR            ZLWKRQHSDWLHQWZLWKHDFKSDWLHQWIRUUHFRPPHQGLQJ
     VSHQGWKDWOLWWOHWLPHSULRUWRPDNLQJDUHFRPPHQGDWLRQ        SXEHUW\EORFNHUVWKDWZRXOGORRNNLQGRIOLNHDUXEEHU
     IRUSXEHUW\VXSSUHVVLRQ,GRDPXFKPRUHWKRURXJK            VWDPSUHFRPPHQGDWLRQZRXOGQ WLW"
     DVVHVVPHQWWKDQDQKRXU                                       $77251(<%/2&.2EMHFWLRQ
     46RKRZORQJZRXOGDWKRURXJKDVVHVVPHQWQRUPDOO\      %<$77251(<75<21
     WDNH"                                                          4$VVXPLQJWKDWLW VKDSSHQLQJ"
     $77251(<%/2&.2EMHFWLRQWRIRUP             $77251(<%/2&.2EMHFWLRQWRIRUP
     %<$77251(<75<21                                             7+(:,71(66,ZRXOGKDYHWRVHHWKH
     4<RXVDLGPRUHWKDQDQKRXU,WKLQN"                   VSHFLILFVLQRUGHUWRPDNHDQ\NLQGRIFRPPHQW
     $&RUUHFW,ZRXOGVD\PRUHWKDQDQKRXU,           %<$77251(<75<21
     WKLQNPD\EHWKHUH VDFHLOLQJEXWQRWDURRI:KDW,         4,VQ WLWIDLUIRU'U/HYLQHRU&DQWRUWR
     PHDQE\WKDWWKDWLVWKHUHDUHFHUWDLQFULWHULDUHTXLUHG       H[SUHVVFRQFHUQWKDWLQDFWXDOSUDFWLFHWKDWPD\EH
     LQRUGHUWRPDNHDUHFRPPHQGDWLRQIRUDWUHDWPHQWIRU          KDSSHQLQJ"
     JHQGHUG\VSKRULDWREHRIIHUHG7KRVHLQFOXGHD               $77251(<%/2&.2EMHFWLRQWRIRUP
     GLDJQRVLVRIJHQGHUG\VSKRULDDUHFRJQLWLRQRIDQ\            7+(:,71(66,KDYHQRWVHHQDQ\ZKHUHLQ
     FRRFFXUULQJPHQWDOKHDOWKLVVXHVDQGZKHWKHURUQRW           'U&DQWRURU'U/HYLQH VUHSRUWRUZLWKLQWKH


                                                    3DJH                                                          3DJH
      WKH\DUHDGHTXDWHO\ZHOOFRQWUROOHGHQRXJKWREHDEOHWR        OLWHUDWXUHWKDWWKLVLVDSHUYDVLYHWKLQJWKDWLV
      SURFHHGZLWKFDUH$QGDFOHDUXQGHUVWDQGLQJRIWKH            KDSSHQLQJ
      ULVNVEHQHILWVDQGDOWHUQDWLYHVRIWKDWWUHDWPHQW             %<$77251(<75<21
      7KHUH VQRVSHFLILFWLPHIUDPHRQWKDWDVDQDVVHVVPHQW         4:HOOLW VQRWWUDFNHGDWDOOVRZHZRXOGQ W
      4+RZPDQ\YLVLWVZRXOG\RXH[SHFWWREHDGHTXDWH        NQRZZRXOGZHRQHZD\RUWKHRWKHU"
      IRUDFDUHIXODQGWKRURXJKDVVHVVPHQW"                          $77251(<%/2&.2EMHFWLRQWRIRUP
      $77251(<%/2&.2EMHFWLRQWRIRUP              7+(:,71(66,WLVDTXHVWLRQWKDWFRXOG
      7+(:,71(66$QG,DSRORJL]HLW V          EHDVNHG,GRQ WWKLQNLW VIRUPHWRPDNH
      , PQRWWU\LQJWREHHYDVLYH,WUHDOO\LVJRLQJWR            VXSSRVLWLRQVQRUGR,WKLQNLWLVIRU'U&DQWRUDQG
     GHSHQGXSRQHDFKLQGLYLGXDOFKLOG                             'U/HYLQHWRPDNHVXSSRVLWLRQVDERXWWKHFULWLFDOFDUH
     %<$77251(<75<21                                             RIWUDQVJHQGHU\RXWKLQWKLVFRQWH[W
     4:KDWDERXWLVRQHHQRXJK"+DYH\RXHYHUGRQHLW      %<$77251(<75<21
     JLYHQDUHFRPPHQGDWLRQIRUSXEHUW\EORFNHUDIWHU           4,VWKHUHDQ\LVWKHUHDQ\SODFHZKHUH\RX
     RQO\RQHYLVLWIRUDQKRXU"                                    UHSRUWDQ\FHQWUDOORFDWLRQZKHUH\RXRU\RXUFOLQLF
     $77251(<%/2&.&RPSRXQGTXHVWLRQ             UHSRUWKRZPXFKWLPHDQGHIIRUWDQGZKDW\RXUWKRURXJK
     7+(:,71(66,KDYHQHYHUJLYHQD              H[DPLQDWLRQLVVRWKDWLWFDQEHWUDFNHG"
     UHFRPPHQGDWLRQIRUSXEHUW\VXSSUHVVLRQDIWHUDRQHKRXU        $7KHVLWHZKHUH, PDWQRZLVSDUWRIDIRXUVLWH
     YLVLWSHUVRQDOO\                                              1,+WULDOWKDWKDVSXEOLVKHGRQWKHVSHFLILFDVVHVVPHQW
     %<$77251(<75<21                                             SURFHVVHVWKDWWKHNLGVZKRDUHLQYROYHGLQWKHVWXG\
     4:KDW VWKHPLQLPXPWLPHWKDW\RXWKLQNLV             HQJDJHLQ
     DGHTXDWH"                                                      4+RZPDQ\NLGVDUHLQWKDWWULDO"
     $77251(<%/2&.2EMHFWLRQWRIRUP             $, PQRWDVSHFLILFSDUWLFLSDQWLQWKH
     7+(:,71(66$V,VDLG,GRQ WWKLQN          RUJDQL]DWLRQRIWKDWWULDOVR,GRQ WKDYHWKDW
     LW VEDVHGRQWLPH,W VEDVHGDERXWWKHFRQWHQW             LQIRUPDWLRQLQIURQWRIPH



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                                                   3DJH                                                                 3DJH
      4'RHV\RXUFOLQLFUHSRUWWRWKDWWULDO"                IRULGHQWLILFDWLRQ
      $0\JHQGHUFOLQLFWKHJHQGHUFOLQLFZLWKLQWKH        
      KRVSLWDOWKDW,ZRUNLQWKHUHDUHPDQ\SDWLHQWVZKRDUH       $77251(<75<21,I\RXFRXOGEULQJWKDW
      HQUROOHGLQWKDWWULDO\HV                                   XS-DNH
      4%XWLW VFHUWDLQO\QRWPDQGDWHGULJKW"               9,'(2*5$3+(5<HV*LYHPHRQHVHFRQG
      $1R                                                   , PMXVWPDUNLQJWKDWULJKWQRZ:HPLJKWKDYHWRPDUN
      4:KHQWKHVHFDUHIXODQGWKRURXJKDVVHVVPHQWVDUH       WKLVRQHSK\VLFDOO\7KHSURJUDPZRQ WPDUNLWEHFDXVH
      GRQHZKDWW\SHRIGRFXPHQWDWLRQVKRXOGEHXVHGIRU            LW VDUHGDFWHGGRFXPHQW
      WKDW"                                                          $77251(<75<212ND\7KHQZH OOGR
     $77251(<%/2&.2EMHFWLRQWRIRUP            WKDWWREULQJWKDWXS$QGWKHQLI\RXFRXOG-DNH
     7+(:,71(667KDW VDYHU\FRQWH[WXDO         MXVWVFUROOGRZQLQWKLV,MXVWKDYHDFRXSOH
     TXHVWLRQ:HKDYHSUHYDLOLQJVWDQGDUGVLQWHUPVRIZKDW      TXHVWLRQVDERXWWKLVIRUP
     VKRXOGDQGVKRXOGQ WEHGRFXPHQWHGWKURXJKYDULRXV            7+(:,71(662ND\
     SURIHVVLRQDORUJDQL]DWLRQVEXWWKDW VJRLQJWRFKDQJH        $77251(<75<21*RRQWRWKHQH[WSDJH
     IURPVWDWHWRVWDWHFRXQWU\WRFRXQWU\                      GRZQ
     %<$77251(<75<21                                            %<$77251(<75<21
     4$QGZKDWDERXWLQWKH6WDWHRI:HVW9LUJLQLD"        4+DYH\RXHYHUVHHQDIRUPOLNHWKLV"
     $,KDYHQRNQRZOHGJHRIGRFXPHQWDWLRQ                 $77251(<%/2&.2EMHFWLRQWRIRUP1R
     UHTXLUHPHQWVLQWKH6WDWHRI:HVW9LUJLQLD                   SXQLQWHQGHG
     4+RZDERXWLQWKH8QLWHG6WDWHVLQJHQHUDO"           7+(:,71(66&RXOG\RXEHDOLWWOHPRUH
     $$VIDUDV, PDZDUHWKHUHDUHQRXQLYHUVDO          VSHFLILF",PHDQ, YHVHHQWKLVLVNLQGRIYHU\
     UHFRPPHQGDWLRQVLQWHUPVRIVSHFLILFVRIKRZWKLQJVDUH       W\SLFDOIRUDORWRILQWDNHW\SHGRFXPHQWVLQPHQWDO
     GRFXPHQWHG                                                   KHDOWKFOLQLFVRULQPHGLFDOFOLQLFV
     4$UHWKHUHDQ\RUJDQL]DWLRQVOLNHWKH:3$7+RU        %<$77251(<75<21


                                                   3DJH                                                                 3DJH
      DQ\RWKHURUJDQL]DWLRQVWKDWGRJLYHUHFRPPHQGDWLRQVRQ        46R\RXZRXOGFKDUDFWHUL]HWKLVDVDW\SLFDO
      ZKDWGRFXPHQWDWLRQWRXVHLQ$PHULFD"                          LQWDNHIRUP"
      $:3$7+KDVFHUWDLQO\SURYLGHGVRPHHGXFDWLRQDO         $77251(<%/2&.2EMHFWLRQ
      HYHQWVLQWHUPVRIEHVWSUDFWLFHVLQGRFXPHQWLQJEXW          7+(:,71(66,ZRXOGQ WFKDUDFWHUL]HLW
      WKHVHDUHQ WVSHFLILFJXLGHOLQHVRUUHFRPPHQGDWLRQV,        LQWKDWZD\,KDYHVHHQW\SLFDOLQWDNHIRUPVWKDW
      WKLQNLWLVQRWDEOHWRVD\WKDWWKH'XWFKFOLQLFLQ            UHVHPEOHWKLVLQVRPHZD\V
      SDUWLFXODUKDVEHHQTXLWHYLJRURXVLQWKHLUSURGXFWLRQ         %<$77251(<75<21
      RIUHVHDUFKDQGLVTXLWHZHOOUHVSHFWHGLQWKHZRUOGLQ        4:RXOGWKLVEHVRPHWKLQJWKDW\RXZRXOGFRQVLGHU
      WHUPVRIKRZWKLQJVDUHVWUXFWXUHGDQGWKH\DFWXDOO\          DGHTXDWHWRGRFXPHQWDFDUHIXODQGWKRURXJKDVVHVVPHQW"
     GRQ WHYHQKDYHDOHWWHUWKDWWKHLUFOLQLFLDQVZULWH          $77251(<%/2&.2EMHFWLRQWRIRUP
     DQGRUVHHLQLWLDWLRQRISXEHUW\VXSSUHVVLRQIRU              7+(:,71(66$JDLQZLWKRXWNQRZLQJWKH
     JHQGHUDIILUPLQJKRUPRQHV                                    FRQWH[WRIWKHLQGLYLGXDO VSUDFWLFHLW VLPSRVVLEOH
     $77251(<75<21-DNHLI\RXFRXOGEULQJ      IRUPHWRVD\
     XSWKHH[KLELWHQWLWOHG$GROHVFHQW0HGLFLQH                  %<$77251(<75<21
     &RQILGHQWLDO3DWLHQW4XHVWLRQQDLUHZKLFKKDVEHHQ            4,VWKLVDIRUPWKDW\RXZRXOGXVHIRUFDUHIXO
     UHGDFWHG"                                                     DQGWKRURXJKDVVHVVPHQWRIDSDWLHQW VPHQWDOKHDOWK"
     9,'(2*5$3+(5'R\RXZDQWWKDWPDUNHG"        $77251(<%/2&.2EMHFWLRQWRIRUP
     $77251(<7<521<HVSOHDVHZKHUHYHUZH      7+(:,71(66,GRQ WXVHWKLVIRUP,
     DUHDWLQWKHQH[WQXPEHU                                    FDQ WVD\ZKHWKHURUQRW,ZDVLQWKHFRQWH[WWKLV
     9,'(2*5$3+(5,EHOLHYHZH UHDW          SURYLGHUZDVSUDFWLFLQJWKDW,ZRXOGQ WXVHWKLVIRUPDV
     /$:&/(5.:,/.,1621                      SDUWRIP\DVVHVVPHQW
     $77251(<6:$0,1$7+$1                     %<$77251(<75<21
                                     4)DLUHQRXJK'R\RXXVHLWDVDSDUWRI\RXU
      :KHUHXSRQ([KLELW)RUPZDVPDUNHG       FDUHIXOWKRXJKWWKRURXJKDVVHVVPHQWRIWKHSDWLHQW V



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                                                    3DJH                                                         3DJH
      PHQWDOKHDOWKDUHWKHUHDQ\RWKHUIRUPVWKDW\RXH[SHFW        DVHDUO\DV\HDUVROGRUVRPHWLPHVHYHQHDUOLHU
      WRVHHLQWKHFDUHJLYHU VILOHDERXWWKDWSDWLHQW V             5LJKW"
      PHQWDOKHDOWK"                                                  $,FDQ WVD\WKDW, PIDPLOLDUZLWKKRZHDFK
      $1RWVSHFLILFDOO\                                      VWDWHRUJDQL]HVWKHLUSULPDU\DQGVHFRQGDU\HGXFDWLRQ
      47KLVZRXOGEHDGHTXDWH"                                V\VWHPV, PIDPLOLDUZLWKKRZLWZDVLQ1HZ<RUNDQG
      $77251(<%/2&.2EMHFWLRQWRIRUP              ,OOLQRLVDQGWKDWZDVRFFDVLRQDOO\WKHFDVH
      7+(:,71(66$JDLQ,FDQ WVSHDNWR           46RLIDQ\HDUROGZKRKDVQRWJRQHWKURXJK
      WKHDGHTXDF\RILWZLWKRXWXQGHUVWDQGLQJWKHFRQWH[WRI         SXEHUW\LVLQ0LGGOH6FKRROWKHQWKLVZRXOGGHILQLWHO\
      WKHUHVWRIWKHWUHDWPHQW                                      DSSO\WRVRPHSUHSXEHVFHQWFKLOGUHQ
     %<$77251(<75<21                                             5LJKW"
     4,VWKHUHDQ\FHUWLILFDWLRQWKDW\RXWKLQNLV          $77251(<%/2&.2EMHFWLRQWRIRUP
     QHFHVVDU\RUDSSURSULDWHIRUVRPHRQHWRGLDJQRVHJHQGHU        %<$77251(<75<21
     G\VSKRULD"                                                     4, PVRUU\,GLGQ WPDNHWKDWFOHDU6RLI
     $7KHUHLVQRXQLYHUVDOFHUWLILFDWLRQSURFHVV          WKHUHDUHSUHSXEHVFHQWER\VWKDWDUHLQPLGGOHVFKRRO
     :KDWZHKDYHDUHJXLGHOLQHVDQGUHFRPPHQGDWLRQVIRU            WKHQ+%ZRXOGDIIHFWWKHP
     HQVXULQJWKDWIRONVIRUWKHPHQWDOKHDOWKSURVSHFWLYH         5LJKW"
     DJDLQPHGLFDOSURIHVVLRQDOVDUHDEOHWRGLDJQRVHJHQGHU       $,ZRXOGKDYHWRSXW+%LQIURQWRIPHWR
     G\VSKRULDEXWIURPWKHPHQWDOKHDOWKSURVSHFWLYHLW V        WRNQRZVSHFLILFDOO\, GKDYHWRUHIDPLOLDUL]H
     UHFRPPHQGHGWKDWZHDUHOLFHQVHGFOLQLFDOSURIHVVLRQDOV        P\VHOIZLWKLWWKHVSHFLILFVRILW
     WKDWKDYHVRPHLIQRWDQH[SHUWOHYHORIXQGHUVWDQGLQJ        4, PVRUU\WRLQWHUUXSW\RX
     RIJHQGHULGHQWLW\LVVXHVDQGKDYLQJFRQWLQXLQJ                $<HDK,ZRXOGQ WZDQWWRFRPPHQWRQVRPHWKLQJ,
     HGXFDWLRQLQWKHILHOG7KHVHDUHRQJRLQJ                     GRQ WKDYHLQIURQWRIPHULJKWQRZ
     UHFRPPHQGDWLRQV,ZRXOGQ WVD\LWZDVWKHH[SHUWLVH         42ND\
     EXWNQRZOHGJHDERXWVWDQGDUGRIFDUHWKDW VFRQJUXHQW          6RMXVWVR\RXNQRZ,KDGWRUHORFDWHIURPP\


                                                    3DJH                                                         3DJH
      ZLWKKRZRWKHUGLVRUGHUVDUHDOVRWUHDWHG                      RIILFHWRP\KRPHDQGWKHUH VDSRRGOHLQKHUHWKDW\RX
      4/HWPHDVN\RXDERXWSDUDJUDSKRI\RXU              PD\KHDU6RIRUJLYHLI\RXKHDUWKHLQWHUUXSWLRQ
      UHSRUW                                                         $77251(<%/2&.2EMHFWLRQWRWKH
      'R\RXVHHWKHODVWVHQWHQFHWKHUH"                    SRRGOH
      $<HV                                                   $77251(<75<21/HWPHWDNHRQHVHFRQG
      4,WVD\V+%GRHVQRWDIIHFWHOHPHQWDU\             ,ZLOOEHULJKWEDFN
      VWXGHQWVHOHPHQWDU\VFKRROVWXGHQWVZKRDUH                 7+(:,71(660D\EHQRZLVDJRRGWLPH
      WUDQVJHQGHUER\V"                                               IRUEDWKURRPEUHDN
      $<HV                                                   $77251(<%/2&./HW VJRRIIWKHUHFRUG
     46R\RXSUHYLRXVO\WHVWLILHGWKDWSXEHUW\LV       9,'(2*5$3+(5*RLQJRIIWKHUHFRUGWKH
     VWDUWVRQWKHDYHUDJHDERXWDJHIRUPDOHV                  WLPHUHDGVSP
     5LJKW"                                                  2))9,'(2
     $77251(<%/2&.2EMHFWLRQWRIRUP             
     7+(:,71(66$JDLQ,ZRXOGGHIHUWRRXU        :+(5(8321$6+257%5($.:$67$.(1
     WKDW VDQDQVZHUDEOHTXHVWLRQEDVHGXSRQQDWLRQDO          
     GDWDWKDW,GRQ WKDYHLQIURQWRIPHEXWLVKLV          219,'(2
     \HV                                                           $77251(<7<5212ND\OHW VJREDFNRQ
     %<$77251(<75<21                                             WKHUHFRUG
     4$QGWKHUDQJHZRXOGEHIURPZKDW,UHDGWKH      9,'(2*5$3+(5%DFNRQWKHUHFRUGWKH
     UDQJHLVJHQHUDOO\EHWZHHQDQG\HDUVROG                 FXUUHQWWLPHUHDGVSP
     5LJKW"                                                %<$77251(<75<21
     $$JDLQ,ZRXOGGHIHUWRP\HQGRFULQHFROOHDJXHV      4/HWPHGLUHFW\RXWRSDUDJUDSKRI\RXU
     EXW\HVWKDW VWKDW VSUHWW\W\SLFDO                     UHSRUW"
     4$QG\RX UHDZDUHWKDWER\VJRLQWR0LGGOH6FKRRO      $<HS


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                                                   3DJH                                                         3DJH
      46RWKHUH VWKHOHW VVHHVWDUWLQJZLWKWKH       SULPDULO\WKHJHQGHUUROHEDVHGEHKDYLRUVWKDWZHUH
      ZRUGSUHSXEHUWDOFKLOGUHQZKRKHLQVLVWVDUHFKLOGUHQ          OHDGLQJWRWKLVGLDJQRVLVDVRSSRVHGWRDFKDQJHLQ
      ZLWKQRQFRQIRUPLQJJHQGHUH[SUHVVLRQZKRUHDOL]HDWWKH       LGHQWLW\
      RQVHWRISXEHUW\WKDWWKHLUJHQGHULGHQWLW\LV                 %<$77251(<75<21
      FRQVLVWHQWZLWKWKHLUVH[DVVLJQHGDWELUWK7KHLU            4<RXZHUHIUHH]LQJXSRQPHVROHWPHMXVWVHH
      XQGHUVWDQGLQJRIWKHLUJHQGHULGHQWLW\FKDQJHVDWWKH          LI,FDQXQGHUVWDQGWKLVE\ORRNLQJDWWKH
      RQVHWRISXEHUW\EXWWKHLUJHQGHULGHQWLW\GRHVQRW          WUDQVFULSWLRQ,IDFKLOGH[SODLQVWKHUHDVRQVZK\KH
      6RWKDW VUHDOO\DFLUFXODUDUJXPHQWXQOHVVWKHUH VVRPH       RUVKHKDVDGLIIHUHQWJHQGHULGHQWLW\WKDWKLVRUKHU
      REMHFWLYHH[WHUQDOZD\RISURYLQJZKDWWKDWFKLOG V            QDWDOVH[WKHQDWDOVH[GHVLJQDWLRQWKHQODWHUVD\VWKH
     JHQGHULGHQWLW\DFWXDOO\LVZRXOGQ W\RXDJUHH"              RSSRVLWHWKHUHLVUHDOO\QRZD\RIWHOOLQJZKHWKHURU
     $77251(<%/2&.2EMHFWLRQWRIRUP            QRWLW VMXVWWKHSHUVRQ VJHQGHULGHQWLW\RUWKH
     7+(:,71(66,WKLQNWKDWWKHUHVHDUFK        XQGHUVWDQGLQJRIWKHLGHQWLW\KDVFKDQJHGEDVHGRQWKDW
     WKDWZHKDYHRQLQKHUHQWJHQGHULGHQWLW\LVUHODWLYHO\        FKLOG VRUSHUVRQ VVWDWHPHQWV
     UHFHQWDQGQHHGVDOLWWOHELWPRUHUREXVWIROORZXS          5LJKW"
     :KDWZHKDYHDUHVWXGLHVRIFRJQLWLRQDVZHOODVVRPH         $77251(<%/2&.2EMHFWLRQWRIRUP
     YHU\OLPLWHGEUDLQLPDJLQJVWXGLHVWKDWSRLQWWRVRPH         7+(:,71(66,ZRXOGVD\WRFRPSOLFDWH
     HOHPHQWRIJHQGHULGHQWLW\WKDWKDVDQREMHFWLYH              PDWWHUVHYHQIXUWKHUDQXPEHURIWKHVWXGLHVWKDWDUH
     FULWHULDWRLW7KHVHDUHQRWVWXGLHVWKDWDUH               XVHGWRGHVFULEHWKLVGHVLVWDQFHSKHQRPHQRQZHUHILUVW
     VLJQLILFDQWHQRXJKRUKDYHHQRXJKSDUWLFLSDQWVIRUXVWR      FDUULHGRXWXQGHUWKH'60,92QWKH'60,9WKH
     GUDZDQ\NLQGRIVLJQLILFDQWFRQFOXVLRQVEXWLWGRHV         GLDJQRVLVZDVJHQGHUGLVRUGHULQFKLOGKRRG$QGLQWKDW
     VSHDNZKHQSDLUHGZLWKFOLQLFDOH[SHULHQFHVRINLGVZKR       QRPHQFODWXUHDQLGHQWLW\WKDWLVLQFRQJUXHQWZLWKVH[
     KDYHGHVLVWHGWKDWWKHZD\WKDWWKH\GHVFULEHWKHLU           DVVLJQHGDWELUWKZDVQRWRQHRIWKHUHTXLUHGHOHPHQWV
     LGHQWLW\LVWKDWLWLVQRWDIL[RUDFKDQJHLQWKHLU         $QGVRWKHUHDUHFKLOGUHQZKRDUHGHVFULEHGLQWKH
     VHQVHRIVHOIEXWPRUHDERXWWKHH[SUHVVLRQRIWKHLU          FRPPRQSDUODQFHDVWUDQVJHQGHUEHFDXVHWKH\PHWFULWHULD


                                                   3DJH                                                         3DJH
      EHKDYLRUVDQGWKHLUXQGHUVWDQGLQJRIKRZWKH\ILWLQWR         IRUZKDWZDVWKHQJHQGHULGHQWLW\GLVRUGHUZKR
      WKHZRUOGWKDWKDVFKDQJHG                                    QHYHUWKHOHVVGLVFXVVHGDQ\LGHQWLW\LQFRQJUXHQWZLWK
      46RDV\RXVD\LW VWRRHDUO\WRUHDOO\NQRZIRU       WKHLUVH[DWELUWK6RWKDWPDNHVLWKDUGWRGUDZILUP
      VXUHZKLFKRIWKHVHWKLQJVLWLVULJKW"                       FRQFOXVLRQVDERXWGDWDFDSWXUHGXQGHUWKH'60,9
      $77251(<%/2&.2EMHFWLRQWRIRUP             %<$77251(<75<21
      7+(:,71(66:KDW,ZRXOGVD\LVLW VD        4$QG\RXDUHIDPLOLDUZLWKWKDWGLDJQRVWLFDQG
      SUHSRQGHUDQFHRIFOLQLFDOH[SHULHQFHDQGWKHVWXGLHV           VWDWLVWLFDOPDQXDORIPHQWDOGLVRUGHUV
      WKDWZHGRKDYHSRLQWWRWKLVEHLQJPXFKPRUHOLNHO\          5LJKW"
      %<$77251(<75<21                                             $,DP
     40XFKPRUHOLNHO\LVWKDW\RXUWHVWLPRQ\"            4$QG\RXFLWHGLWLQ\RXUUHSRUWV
     $%DVHGRQP\FOLQLFDOH[SHULHQFHV\HV               5LJKW"
     4%XWWKHUH VQRZD\WKDWDQ\RQHRXWVLGHRI        $&RUUHFW
     WKHUH VQRREMHFWLYHPHDVXUHPHQWWRPDNHWKDW                 47KDWLVDPDQXDOWRDVVLVWLQWKHGLDJQRVLVRI
     GHWHUPLQDWLRQULJKW"                                         PHQWDOGLVRUGHUV
     $77251(<%/2&.2EMHFWLRQWRIRUP            5LJKW"
     7+(:,71(667KHZD\WKDW,ZRXOG             $7KDWLVFRUUHFW
     GHVFULEHLWLVWKDWJHQGHUG\VSKRULDDVDGLDJQRVLV           4,VWKHUHDYDOXHRIWRFODVVLI\LQJDFRQGLWLRQ
     LQFOXGHVERWKLGHQWLW\EDVHGFULWHULDWKDWDUHREMHFWLYH      DVDPHQWDOGLVRUGHUV"
     DQGDUHPHDVXUHGWKURXJKWKHFRXUVHRIWKHVFDOHVWKDW        $77251(<%/2&.2EMHFWLRQWRIRUP
     ZHWDONHGDERXWHDUOLHUDVZHOODVPHDVXUHVRIUROHDQG      7+(:,71(66,GRQ WNQRZLI,FDQRIIHU
     EHKDYLRUDQGFRQJUXHQFHZLWK\RXUERG\7KHVHDUH            DQH[SHUWRSLQLRQRQWKDW,KDYHDELDVHGWDON
     WKLQJVWKDWDUHWUDFNHGRYHUWLPHLQWKHVWXGLHVWKDWZH      DERXWDVHOHFWLRQELDVDVDSV\FKLDWULVWDQGDPHQWDO
     KDYHDQGZKHQDFKLOGGHVLVWVIURPWKDWGLDJQRVLVRI         KHDOWKSURIHVVLRQDO,WKLQNLW VLPSRUWDQWIRUXVWR
     JHQGHUG\VSKRULDLWLVFOHDUDWWKDWSRLQWWKDWLWZDV        GHVWLJPDWL]HPHQWDOLOOQHVVDVPXFKDVSRVVLEOHVR


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                                                           3DJH                                                     3DJH
     ZKDWHYHULVJRLQJWRDOORZIRONVDFFHVVWRFDUH, P               GLVFULPLQDWLRQ+RZHYHUWKHUHKDVEHHQOLWHUDWXUH,
     UHODWLYHO\QHXWUDORQSODFLQJDYDOXHRQZKHWKHURUQRW            FDQ WUHPHPEHUWKHQDPHVRIWKHDXWKRUVRUWKHGDWHRI
     VRPHWKLQJLVDGLDJQRVLVRUQRW                                   WKHVWXG\WKDWORRNDWVSHFLILFODZVWKDWDUHHQDFWHG
     %<$77251(<75<21                                                 WRGLVFULPLQDWHDJDLQVW/*%7SHRSOHDQGLPSDFWRQERWK
     4$PDQXDOGRHVQRWUHFRPPHQGDQ\WUHDWPHQWVRQO\          PHQWDOKHDOWKDQGPHGLFDOKHDOWKDQGVRWKRVHNLQGRI
     WRROVIRUGLDJQRVLV                                               GLVFULPLQDWLRQODZVFHUWDLQO\GRKDYHUHDOIHOWLPSDFW
     ,VWKDWULJKW"                                            IRUWUDQVJHQGHUIRONV
     $77251(<%/2&.2EMHFWLRQWRIRUP                 %<$77251(<75<21
     7+(:,71(667KHPDLQJRDORI'60IRU              46RDUH\RXVD\LQJWKDWWKLVVHQWHQFHLV
    FODVVLI\LQJGLDJQRVHVDQGHQVXULQJVWDELOLW\RU                   UHIHUULQJWRDODZVXFKDV+%RUQRW"
    UHOLDELOLW\RIWKRVHGLDJQRVHVDFURVVSUDFWLFH                    $,WKLQNDV,VWDWHGIRUWKHVDNHRIWKLV
    ORFDWLRQV                                                        H[SHUWUHSRUWWKH<KXWRUHIHUHQFHIURPLVZKDW, P
    %<$77251(<75<21                                                XVLQJWRFUDIWWKDWVWDWHPHQW
    47KDWGRHVQRWUHFRPPHQGRUHYHQSURYLGHDQ\              4, PVRUU\WKHZKDWIURP"
    WUHDWPHQWV                                                       $)RRWQRWHQXPEHU
    5LJKW"                                                   4:KDWDUHWKRVHSURIRXQGLPSDFWVRIPHQWDOKHDOWK
    $7KHWH[WRIWKH'60RIWHQUHFRPPHQGVRU                  WKDW\RXDUHUHIHUULQJWR"
    GHVFULEHVWUHDWPHQWV                                             $:HOODV,PHQWLRQHGHDUOLHULQP\UHSRUWDUH
    4'RHVLWGHVFULEHWUHDWPHQWVIRUJHQGHU                   FRUUHODWLRQEHWZHHQPDQ\H[SRVXUHVWKDWWUDQVJHQGHU
    G\VSKRULD"                                                        LQGLYLGXDOVKDYHDQGLQFUHDVHGUDWHVRIVXLFLGHVHOI
    $7KHWH[WZDVUHFHQWO\UHYLVHGIRUJHQGHU                 KDUPVXEVWDQFHXVHH[SRVXUHWRWUDXPDWKDWKDYH
    G\VSKRULDDQGVR,UHDOO\ZDQWWRVHHWKHWH[WLQIURQW          FHUWDLQO\SURIRXQGQHJDWLYHLPSDFWVIRUWKHIRONVZKR
    RIPHIRUPHWRWDONDERXWLW                                    DUHH[SHULHQFLQJWKHP
    46RLQWKH'609\RXGRQ WNQRZLILWKDVDQ\             4$QGRIWKRVHKDUPVWKDW\RXKDYHMXVWPHQWLRQHG


                                                           3DJH                                                     3DJH
     UHFRPPHQGDWLRQVIRUWUHDWPHQWVLQLWIRUJHQGHU                    DUH\RXDZDUHRIDQ\RIWKHPFDXVHGE\WRDFKLOGRU
     G\VSKRULD"                                                         SHUVRQZKRZDVQRWZKRZDVDWUDQVJHQGHUIHPDOHQRW
     $,GRQ WNQRZLQWKHUHYLVHGWH[WKRZPXFKZDV             DOORZHGWRSDUWLFLSDWHRQDJLUOVRUZRPDQ VDWKOHWLF
     FKDQJHGZLWKRXWIDPLOLDUL]LQJP\VHOIZLWKLW$QG, P             WHDP"
     KDSS\WRORRNDWLW,W VDTXLFNUHDGEXWSULPDULO\             $$V,KDGWHVWLILHGWRHDUOLHU,WKLQN,VDLG
     WKH'609DVLWFRPHVWRJHQGHUG\VSKRULDLVD                     , YHKDGWZRRUWKUHHSDWLHQWVZKRDUHH[FOXGHGIURP
     GHVFULSWLRQRIWKHSKHQRPHQRORJ\QRWDUHFRPPHQGDWLRQ              VSRUWVWHDPVRQHRIZKLFKZDVDFKLOGZKRZDVDVVLJQHG
     IRUWUHDWPHQWV                                                    PDOHDWELUWKZKRDWDJHVL[ZDVQRWDOORZHGWR
     4$QGZKHQZDVLWUHYLVHG"                                  SDUWLFLSDWHLQWKHVSRUW,FDQ WUHPHPEHUZKDWVXSSRUW
    $,WZDVMXVWUHOHDVHGDERXWDZHHNDJRPD\EH             LWZDV7KLVZDVDFKLOGZKRZDVKHFNOHGDQGNLFNHGRXW
    WZR                                                              RIWKHJURXSRIIULHQGVWKDWZHUHSDUWLFLSDWLQJLQWKDW
    4/HWPHDVN\RXWRWDNHDORRNDW\RXUUHSRUW            VSRUWZKLFKOHGWRQHJDWLYHPHQWDOKHDOWKFRQVHTXHQFHV
    SDUDJUDSK<RXVD\WRWKHFRQWUDU\DVQRWHG                  IRUWKDWLQGLYLGXDOFKLOG
    SUHYLRXVO\VWLJPDDQGGLVFULPLQDWLRQKDYHEHHQVKRZQWR          4:KDWVSHFLILF,SUHVXPHWKDW VWKRXJKWVRI
    KDYHDSURIRXQGO\KDUPIXOLPSDFWRQWKHPHQWDOKHDOWKRI          VXLFLGDOLW\
    WUDQVJHQGHUSHRSOHDQGRWKHUPLQRULW\JURXSV1RZZKHQ          5LJKW"
    \RXVD\VWLJPDDQGGLVFULPLQDWLRQ\RX UHQRWUHIHUULQJ           $7KDQNIXOO\DWWKDWDJHWKH\ZHUHQRW
    VSHFLILFDOO\WRQRWDOORZLQJDVXVLQJ\RXUWHUPD               4+RZGLGWKDWFKLOGDGDSWWRWKHVLWXDWLRQ"
    WUDQVJHQGHUJLUOWRSDUWLFLSDWHRQDJLUOVVSRUWVWHDP            $:HOOZHZRUNHGZLWKWKHFKLOGWKHIDPLO\DQG
    WREHWKDWW\SHRIVWLJPDRUGLVFULPLQDWLRQDUH\RX"             WKHVSRUWVWHDPWRXQGHUVWDQGZKDWWKLVFKLOGPD\QHHG
    $77251(<%/2&.2EMHFWLRQWRWKHIRUP            DQGHQGHGXS,WKLQNLWZDV7EDOO,WKLQNHQGHGXS
    7+(:,71(667KHUHIHUHQFHWKDW,                 MRLQLQJWKH7EDOOWHDP
    UHIHUUHGWRLQP\UHSRUW,ZRXOGZDQWWRORRNDW                 46RKRZPXFKKRZPXFKRIDGHOD\ZDVWKHUH
    EHFDXVHWKH\KDGDQRSHUDWLRQDOWHUPIRUVWLJPDDQG               EHWZHHQZDQWLQJWRMRLQWKH7EDOOWHDPDQGEHLQJ



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                                                        3DJH                                                      3DJH
      DOORZHGWRMRLQWKH7EDOOWHDP"                                JHQHUDO,PHDQ\RXPDGHDJHQHUDOL]HGVWDWHPHQWKHUH
      $7KLVZDV\HDUVDJRVR,GRQ WUHFDOOWKH              LQWKHODVWVHQWHQFHRISDUDJUDSK6RP\TXHVWLRQ
      VSHFLILFV                                                      LVDVLWSHUWDLQVWRWKLVJHQHUDOL]HGVWDWHPHQWLV
      4:RXOGLWEH\RXUWHVWLPRQ\WKDWDQ\GHOD\DWDOO       WKHUHDQ\GHOD\WKDWZRXOGQRWFDXVHDSURIRXQGO\
      EHWZHHQWKHWLPHRILGHQWLI\LQJIRUDQDWDOPDOH                KDUPIXOLPSDFWRQWKHPHQWDOKHDOWKRIWUDQVJHQGHU
      LGHQWLI\LQJDVDIHPDOHDQGSDUWLFLSDWLQJRQDIHPDOH           SHRSOHLIWKH\DUHGHQLHGWKHRSSRUWXQLW\WRLPPHGLDWHO\
      WHDPZRXOGEHSURIRXQGO\KDUPIXO"                               SDUWLFLSDWHLQWKHVSRUWVWHDPRIWKHLUJHQGHULGHQWLW\"
      $77251(<%/2&.2EMHFWLRQWRIRUP              $77251(<%/2&.2EMHFWLRQWRIRUPDQG
      7+(:,71(66,KDYHQRWVHHQDQ\VWXGLHV        FKDUDFWHUL]DWLRQ
     WKDWKDYHDVNHGWKDWTXHVWLRQRUFRXOGVSHDNWRWKH            7+(:,71(66,W VDORQJVHQWHQFHZLWKD
     GXUDWLRQRIWLPHEHWZHHQH[FOXVLRQIURPDQDFWLYLW\DQG        ORWRIFODXVHV, PWU\LQJWR, PWU\LQJWRSDUVH
     WKHPHQWDOKHDOWKLPSDFWV                                     WKHPDOORXWWRPDNHVXUHWKDW, PDQVZHULQJWKLV
     %<$77251(<75<21                                             DFFXUDWHO\$V,WHVWLILHGWRLQP\UHSRUWWKHUH V
     4,VLW\RXUSRVLWLRQWKDWDVVRRQDVWKHFKLOGRU      HYLGHQFHRIGLVFULPLQDWLRQVWLJPDDQGELDVOHDGLQJWR
     SHUVRQZKRLVDQDWDOPDOHGHWHUPLQHVRULGHQWLILHVDVD       LQGLYLGXDOKDUPV7KHVSHFLILFPDQLIHVWDWLRQRIWKRVH
     IHPDOHWKDWWKDWSHUVRQVKRXOGEHLPPHGLDWHO\DOORZHG         KDUPVDUHKLJKO\LQGLYLGXDOL]HGDQGUHTXLUHLQGLYLGXDO
     WRSOD\RQIHPDOHWHDPV"                                       DVVHVVPHQWRIHDFKFKLOGDQGIDPLO\LQRUGHUWRNQRZ
     $77251(<%/2&.2EMHFWLRQWRIRUPDQG          :KLFKLVZK\\RXFDQ WVSHDNWRWKHVSHFLILFLPSDFWVIRU
     VFRSH                                                         HDFKLQGLYLGXDOFKLOGEXWZKDWZHNQRZDUH
     7+(:,71(66, PQRWDEOHWRDQVZHUWKDW       SRSXODWLRQEDVHGGDWD
     TXHVWLRQ,WKLQNWKDW VRXWRIWKHVFRSHRIP\               4,VLW\RXUYLHZWKDWLIDIWHUDSV\FKLDWULVWRU
     H[SHUWLVH                                                     SV\FKRORJLVWRUDSSURSULDWHKHDOWKFDUHLQGLYLGXDO
     %<$77251(<75<21                                             GHWHUPLQHVWKDWWKHUHZRXOGEHDSURIRXQGO\KDUPIXO
     4/HWPHDVNLWGLIIHUHQWO\EHFDXVH,GLGQ WDVN        LPSDFWWKDWKHDOWKFDUHSURIHVVLRQDOVKRXOGEHWKHRQHWR


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     LWTXLWHDVDUWIXOO\DV,FRXOGKDYH<RXLQGLFDWHG             GHWHUPLQHZKHWKHURUQRWWKHFKLOGVKRXOGEHDOORZHGWR
     SURIRXQGO\KDUPIXORUKDYHDSURIRXQGO\KDUPIXOLPSDFW          SDUWLFLSDWHRQDJLUO VWHDP"
     6RLIDFKLOGRUDGROHVFHQWRUDGXOWDGXOWPHDQLQJ              $,GRQ WKDYHDVSHFLILFRSLQLRQDERXWKRZVSRUWV
     DQ\RQHWKURXJKFROOHJLDWHDJHZHUHWREHDQDWDOPDOH           DGPLQLVWUDWLRQYDU\IURPVWDWHWRVWDWH,NQRZLW V
     DQGLGHQWLI\DVDIHPDOHDQGLVQRWDOORZHGWR                   YHU\GLIIHUHQWIURPVWDWHWRVWDWH:KDW,ZRXOGVD\LV
     LPPHGLDWHO\SDUWLFLSDWHRQIHPDOHWHDPVZRXOGWKDWEH           IURPDPHQWDOKHDOWKSHUVSHFWLYHP\JRDOLVWRKHOSRXU
     SURIRXQGO\KDUPIXOZRXOGLWKDYHDSURIRXQGO\KDUPIXO           NLGVDFFHVVVSDFHVWKDWDUHJRLQJWREHKHDOWKSURPRWLQJ
     LPSDFWRQWKHLUPHQWDOKHDOWK"                                   DQGEXLOGUHVLOLHQFH,WKLQNLW VLPSRUWDQWIRUKHDOWK
     $7KDWZRXOGUHTXLUHDQLQGLYLGXDOL]HGDVVHVVPHQW         SURIHVVLRQDOVWREHLQYROYHGLQWKHGHFLVLRQVWKDWDUH
    RIWKDWFKLOGRU\RXQJDGXOWLQRUGHUWRXQGHUVWDQGWKH         PDGHEXW,FDQ WVSHDNWRWKHOHJLVODWLYHSURFHVV
    SRWHQWLDOLPSDFWVVSHFLILFWRWKDWLQGLYLGXDO                  ZLWKLQWKHVFRSHRIP\H[SHUWLVH
    4:KDWLIWKH\ZHUHUHTXLUHGWRZDLWDIXOO\HDU        4,VWKHPHQWDOKHDOWKRIWKHFLVJHQGHUIHPDOHV
    ZRXOGWKDWEHSURIRXQGO\KDYHDSURIRXQGO\KDUPIXO          ZKRPLJKWEHDWDGLVDGYDQWDJHRIWKHSDUWLFLSDWLRQRID
    LPSDFWRQWKHPHQWDOKHDOWKRIWKDWSHUVRQ"                     WUDQVJHQGHUIHPDOHRQWKHWHDPLVWKHLUPHQWDOKHDOWK
    $77251(<%/2&.2EMHFWLRQWRIRUP              LPSRUWDQW"
    7+(:,71(666DPHDQVZHU                       $77251(<%/2&.2EMHFWLRQWRIRUP
    %<%<$77251(<75<21                                           7+(:,71(66,ZRXOGVD\ILUVWWKDWWKH
    4:HOODVDJHQHUDOUXOHGR\RXKDYHDQ\RSLQLRQ        PHQWDOKHDOWKRIFLVJHQGHUFKLOGUHQZKRKDYH
    DVDJHQHUDOUXOH"                                              SDUWLFLSDWHGLQVSRUWVLVFHUWDLQO\DWWHVWDEOH
    $77251(<%/2&.2EMHFWLRQWRIRUP              K\SRWKHVLVWRH[SORUHDQGLW VQRWUHVHDUFKWKDW,KDYH
    7+(:,71(66*HQHUDOUXOHRIZKDW", P         VHHQQRUWKDW, PDZDUHWKDWLWH[LVWV%H\RQGWKDW
    QRWXQGHUVWDQGLQJWKHTXHVWLRQ                                 \RXNQRZP\H[SHUWLVHGRHVQRWH[WHQGWRWKLV
    %<$77251(<75<21                                              SRSXODWLRQDV\RXKDYHDVNHGWKLVTXHVWLRQ
    4/HWPHWU\DJDLQ6RLVWKHUHGR\RXKDYHD       %<$77251(<75<21


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                                                    3DJH                                                          3DJH
      46RWKHQOHWPHDVNWKDWVSHFLILFDOO\KDYH\RX         ELRORJLFDOPDOHVPD\QRWFRPSHWHRQJLUOVWHDPV
      WUHDWHGDQ\FLVJHQGHUIHPDOHVWKDWKDYHEHHQXSVHWDERXW        'R\RXXQGHUVWDQGWKDW"
      WUDQVJHQGHUIHPDOHVSDUWLFLSDWLQJRQWKHJLUOVWHDP"            $,GRQ WEHFDXVHELRORJLFDOPDOHDVDWHUPLV
      $,KDYHWUHDWHGFLVJHQGHUJLUOVZKRKDYHKDG            FHUWDLQO\XSIRUGHEDWH
      WUDQVJHQGHUWHDPPDWHV,KDYHQRWWUHDWHGDQ\ERG\ZKR          4:KLFKZRUGZRXOG\RXOLNHWRXVH"
      KDVH[SUHVVHGDQ\FRQFHUQRUKDUPIURPWKDW                    $,GRQ WNQRZLIWKHUH VJRLQJWREHDQDQVZHU
      4'R\RXDFNQRZOHGJHWKDWWKHUHDUHWKRVH                IRUWKDWLQWKHFRQWH[WRIWKLVSDUWLFXODUELOO,
      FLVJHQGHUJLUOVZKRDUHVXIIHULQJIURPSV\FKRORJLFDO            WKLQN
      KDUPIURPWKDW"                                                 4+RZDERXWQDWDOPDOHGRHVWKDWZRUN"
     $77251(<%/2&.2EMHFWLRQWRIRUP             $6XUH:HFDQXVHWKDW,ZRXOGW\SLFDOO\XVH
     7+(:,71(66,ZRXOGQRWDFNQRZOHGJH           DVVLJQHGPDOHDWELUWKEXW\HV
     WKDW7KDWLVQRWGDWDWKDW,KDYHVHHQQRUKDVEHHQP\       42ND\
     SHUVRQDOH[SHULHQFHZLWKSDWLHQWVWKDW,KDYHVHHQRU          6RQDWDOPDOHVXQGHUWKLV%LOODUHQRWDOORZHG
     RWKHUFROOHDJXHVZKRKDYHGHVFULEHGWKLV                      WRSDUWLFLSDWHRQJLUOVVSRUWVWHDPV
     %<$77251(<75<21                                             'R\RXXQGHUVWDQGWKDW"
     4$UH\RXDZDUHWKDWVRPHRI/LD7KRPDV FLVJHQGHU      $77251(<%/2&.2EMHFWLRQWRIRUP
     WHDPPDWHVDUHYHU\XSVHWDERXW/LD7KRPDVSDUWLFLSDWLQJ        7+(:,71(66<HDK$QG,DSRORJL]H,
     RQWKHIHPDOHVZLPPLQJWHDP"                                   UHDOO\GRQ WPHDQWREHSDUVLQJLIWKHWH[WRIWKH%LOO
     $77251(<%/2&.2EMHFWLRQWRIRUP             LVELRORJLFDOPDOHVZKDWWKDWMXVWPHDQVLVWKDWWKDW
     7+(:,71(66,KDYHQ WUHDGPXFKDERXW         LVDFRPSOH[WHUPWKDWGRHVQ WKDYHDXQLYHUVDO
     /LD7KRPDVRUKHUWHDPPDWHVSULRUWRWRGD\VR, PQRW         DFFHSWDQFH%XW,XQGHUVWDQGWKDWWKHJRDORIWKH%LOO
     DZDUHRIDQ\VSHFLILFVWRWKDW                                LVIRUIRONVDVVLJQHGPDOHDWELUWKQRWWRSDUWLFLSDWH
     %<$77251(<75<21                                             LQZRPHQ VVSRUWVWHDPV\HV
     4+DYH\RXUHDGDQ\WKLQJDERXWWKDWLQFLGHQW        %<$77251(<75<21


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      H[FXVHPHWKDWVLWXDWLRQ"                                      4,IDWRXVH\RXUWHUPDSHUVRQDVVLJQHG
      $:HOO, YHUHDGVRPHWKLQJWRGD\                       PDOHDWELUWKLVWROGWKDWWKDWSHUVRQPD\QRW
      43ULRUWRWRGD\"                                        SDUWLFLSDWHRQJLUOVVSRUWVDQGDVLQVRPDQ\RWKHU
      $:KLFKGLGQRWPHQWLRQDERXWWHDPPDWHVEHLQJ            WKLQJVLQOLIH\RXDUHWROGWKDW VWKHUXOHDQG\RX
      XSVHW, YHKHDUGDERXWLWEXW,KDYHQRWUHDGLW            KDYHWROLYHZLWKLWLVWKHUHYDOXHLQOHDUQLQJFRSLQJ
      46R\RX UHDZDUHRILW"                                 VNLOOVWRGHDOZLWKUXOHVWKDW\RXGRQ WDJUHHZLWKDQG
      $, PYDJXHO\DZDUHRILW\HV, YHQRWGRQHDQ\       DELGHE\WKHP"
      SULPDU\UHVHDUFKLQWRLW                                       $77251(<%/2&.2EMHFWLRQWRIRUP
      $77251(<%/2&.&RXOGZHJHWDWLPH             7+(:,71(66,JXHVVWKHZD\,ZRXOG
     FKHFN"                                                         DSSURDFKLWLVWKDWLIZHORRNDWWKHGDWDFOLQLFDO
     9,'(2*5$3+(5,WORRNVOLNH,JRWDERXW        H[SHULHQFHVDQGIURPWKHWHVWLPRQLHVRIWUDQVJHQGHU
     WKUHHPLQXWHVOHIW                                            LQGLYLGXDOVWKDWWKH\IDFHHQRXJKRQDGDLO\EDVLV
     $77251(<75<21,VSHDNUHDOO\IDVW           VWLJPDGLVFULPLQDWLRQH[FOXVLRQWKDWWKH\DOOZRXOG
     %<$77251(<75<21                                             EHQHILWIURPDKHDOWK\GHYHORSPHQWRIFRSLQJVNLOOV
     4:HOOLVWKHUHEHQHILWVLQIRUH[DPSOH\RX       1RZKHUHLQWKHILHOGRISV\FKLDWU\LVLWUHFRPPHQGHG
     VDLGWKDW+%\RX YHUHDG+%DQG\RX UHDZDUH          WKDWZHH[SRVHSHRSOHWRWUDXPDWLFHYHQWVIRUWKHPWR
     WKDWLWGRHVUHTXLUHZHOOILUVWRIDOODUH\RX           GHYHORSFRSLQJVNLOOVWRPDQDJHWKURXJK
     DZDUHWKDW+%GRHVQRWXVHWKHZRUGWUDQVJHQGHUDW        %<$77251(<75<21
     DOORUWUDQVZRPDQRUWUDQVJLUODWDOO"                       4:HOOQRWWRLQWHQWLRQDOO\GRVREXWWKHUH V
     $,ZRXOGZDQWWRORRNDWLWVSHFLILFDOO\WR            ODZVDQGUXOHVWKDW\RXPDGHWKDWVDLG\RXKDYHWROLYH
     GRXEOHFKHFNWKDWWKDW VFRUUHFWEXW,ZRXOGWDNH\RXU        ZLWKWKRVHUXOHVWKHQLW V\RXUSRVLWLRQWKDWWKHUXOHV
     ZRUGIRULW                                                   QHHGWREHFKDQJHGWRFRPSO\ZLWKWKHZLVKHVRIWKDW
     4$QGVRLQ+%LWGRHVUHTXLUHWKDWDOO           SHUVRQ"
     ELRORJLFDOPDOHVPXVWOHWPHUHSKUDVHWKDWWKDW           $77251(<%/2&.2EMHFWLRQWRIRUP


                                                                                         3DJHVWR
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                                                   3DJH
      7+(:,71(66$JDLQP\H[SHUWWHVWLPRQ\
      LVUHEXWWLQJWKHWHVWLPRQ\RI'U/HYLQHDQG&DQWRU,
      FDQ WVSHDNWRWKHVSHFLILFOHJLVODWLYHSURFHVVHVLQ
      WHUPVRIWKHEHVWZD\IRUVWDWHVWRDSSURDFKDFRPSOH[
      LVVXHVXFKDVWKLV
      $77251(<75<21,KDYHQRIXUWKHU
      TXHVWLRQV7KDQN\RXIRU\RXUWLPH,DSSUHFLDWHLW
      7+(:,71(667KDQN\RX:KDWLV\RXU
      SRRGOH VQDPH"&DQ,DVNWKDWRIIWKHUHFRUG"
     $77251(<%/2&.:HGRQ WKDYHDQ\
     5HGLUHFWTXHVWLRQV'U-DQVVHQZLOOUHYLHZWKH
     WUDQVFULSW
     $77251(<*5((17KLVLV5REHUWD*UHHQRQ
     EHKDOIRI:966$&1RTXHVWLRQV
     $77251(<025*$17KLVLV.HOO\0RUJDQRQ
     EHKDOIRIWKH:HVW9LUJLQLD%RDUGRI(GXFDWLRQDQG
     6XSHULQWHQGDQW%XUFK,GRQ WKDYHDQ\TXHVWLRQV
     7KDQN\RX
     $77251(<'(1,.(5'U-DQVVHQWKDQN\RX
     IRU\RXUWLPHWRGD\WKLVLV6XVDQ'HQLNHU,KDYHQR
     TXHVWLRQV
     7+(:,71(667KDQN\RXJX\V
     9,'(2*5$3+(5*RLQJRIIWKHUHFRUG7KH
     FXUUHQWWLPHUHDGVSP


                                                   3DJH
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           $                    DFWLRQ     DGHTXDWHO\        
     DP                                          
                       DFWLYLVWV                  
                                                   
     DEEUHYLDWHG     DFFHVVLQJ       DFWLYLWLHV     DGMXQFW          
                                             
     DELGH      DFFRXQW               DGMXVWLQJ         
     DELOLW\                                        
                                    $GNLQV      
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                DFFXUDF\        DFWLYLW\       $GNLQV           
     DEOH                                       
                                   DGPLQLVWHU       
                           DFWXDO               
               DFFXUDWH                               
                                            
                          DGDSW    DGPLQLVW      
                         DGG                 
                         DGGHG                 
                         DGGLWLRQ                  
                                             
                           DGGLWLRQDO                
                                    DGPLQLVW      
               DFFXUDWHO\                            
     DERUWLRQ                                
                                    DGPLQLVW      
                                          DGROHVFH
     DEUXSW                                     
                          DGGLWLRQ              DGROHVFHQWV
     DEXVH                                   
                $FKHQEDFK       DGGUHVV                   
                                            
             DFKLHYH                              
                                                
                DFKLHYHPHQW     DGGUHVVHG      DGPLW      
                                         
     DFDGHPLF                                        
                $FKLOOH                       
     DFDGHPLFV              DGGUHVVLQJ              
                DFNQRZOHGJH               DGPLWV      
                                DGROHVFHQFH      
     $FDGHP\     $&/8                          
     DFFHSWDQFH      DFTXDLQWHG      DGHTXDF\                  
                                            
               DFW       DGHTXDWH                   
     DFFHSWHG                                       
                                                
     DFFHVV                                     
                                            
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               DFWLQJ                               
                                         DGROHVFHQW       
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     DGXOW                                  
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           DIILUPLQJ                           
     DGXOWKRRG                                    
                           DJUHH                  
     DGXOWV                                     
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               DIILUPV                         
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                                               DOLJQ 
     DGYDQWDJH                                   DOLJQHG
                             DJUHHG       
                                           
     DGYDQWDJHV                                    
                                           DOLJQPHQW
     DGYHUVH                                         
                                             DOOHJHG
                                              
     DGYLVH                              DJUHHLQJ        $OOLDQFH
                                           
     DGYRFDF\                         DKHDG     DOORFDWHG
                                               
     DGYRFDWHV                      DLP       DOORZ 
                                             
     $IIDLUV                                         
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     DIIHFW                           
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                DJHG                      
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               DJHQWV                    
     DIILOLDWLRQ                                DOORZHG
               DJHV                       
     DIILUP                                      
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     DIILUPDWLRQ                                 
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                                           DOORZLQJ
     DIILUPDWLYH                                    
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                                    DQWLFLSDWHG      
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     DOORZV                     DQ[LHW\          
     DOOXGHG                                   
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     DOOXGLQJ                           DQ\ERG\          
                 DQDO\]LQJ                          
     DOWHUDWLRQ                                     
                DQDWRPLF                              
     DOWHULQJ                         $3$      
                DQGRU              DSDUW       
     DOWHUQDWLRQ                                  
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     DOWHUQDW                                  
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     DPDOJDP                                        
                                             
     $PHULFD                                       
                $QGUHZ                          
     $PHULFDQ                          DSSOLFDE      
              DQLPDO                             
                                             DSSURYDO
                $QQ                            
                                           DSSURYH
                DQQRXQFH              DSSOLFDEOH       
                                               DSSURYHG
     DPRXQW                    DQVZHUDEOH                 
                                  DSSOLHG          
                DQQXDO     DQVZHUHG                   
     $PVWHUGDP                        DSSOLHV          
            DQRQ\PRXV                           DSSUR[LPDWH
                               DSSO\       
     $P\                                      DSSUR[LP
             DQVZHU                        
     DQDORJV                 DQVZHULQJ      DSSRLQWPHQW       
                                          
                                         
                                  DSSUHFLDWH       
     DQDO\VHV                DQVZHUV                   
                                           
     DQDO\VLV             DQWLFLSDWH                $SULO 
                                DSSURDFK          
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     DSURSRV                                     
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     DUHD                                     
                                     DVVHVVPHQW
                               DVNLQJ      
                                          
                                         
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     DUHDV                               
     DUHQD                                  
     DUJXPHQW                                     
                                             
     $UL]RQD                               
                                       
     $50,67($'                                     
                                      
     $URQ                                     
                                              
                       DVSHFW       
     DUWIXOO\                                    
                                          
     DUWLFOH                     DVSHFWV      
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                                    
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                            DVVHUW       
                      DUWLFOH V                  
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                      DUWLFOHV                    
                                           
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                                DVVHUWV      
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                                           
                             DVVHVV      
                  DUWLFXODWH                 
                                             
                                           
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                                            
                        DUWLILFL    DVVHVVHG         
                                          
                   DVNHG     DVVHVVLQJ        
                                              
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                                          
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                                             
                                              
     DVVHVVPHQWV                                    
                       DWWHPSWLQJ              
                DVVRFLDWLRQ                         
                                       
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                       DWWHQWLRQ                
                                             
                                        
     DVVLJQHG                                     
                          DWWHVWDEOH                 
                                             
                    $WWRUQH\                 
                                   
               $VVRFLDW                   
                                         
               DVVRFLDW                      
                                            
                DVVXPH                   
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                                     
               DVVXPHG                          
                                         
             DVVXPLQJ                        
                                        
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                                             
                DVVXPSWLRQ                      
                                          
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                                         
                $VWULG                           
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     DVVLJQPHQWV                                 
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     DVVLVW          DWKOHWLF                       
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     $VVRFLDWH                                
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     DVVRFLDWHG                                     
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                                       
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                                    ELRHWKLFDO      
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     EHFRPLQJ                                     
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     EHJLQQLQJ                 %HWV\             
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     EHKDOI                        ELRPHGLFDO       
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                FDWFK      FDXVLQJ                      
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     FODLPLQJ                          FRRFFXU     
                                                
     FODULI\                                   FROOHJLDWH
                                           
                                            &ROXPELD
                                            
                                          FROXPQ 
                FOLQLF                            
                                    FRDVW      
                                  FRHUFLRQ         
                                          
                                   FRJQLWLRQ       
     FODULI\LQJ                FOLQLFDOO\                
                                            
     FODVV             FOLQLFLDQ       FRJQLWLYH       
                                          
     FODVVLIL                                  
                                            
     FODVVLILHG                                   
                                                 
                                 &RKHQ.H     
     FODVVLI\LQJ               FOLQLFLDQV               
                                 &RKHUH     
                                        
     FODXVHV                                          
               FOLQLFDO                  FRKRUW          
     &/$<721                               
                                             
     FOHDU              FOLQLFV                   
                                    FROXPQV
                                      FROODERU     
                                           FRPELQDWLRQ
                                                
                                            FRPELQHG
                                    FROODWHUDO      
                                                FRPELQHV
                                     FROOHDJXHV      
                                           
                         FORVH                FRPH 
                                            
                          FORVHG               
                                              
                         FORVHO\                   
     FOHDUO\                                        
                                    FROOHFW         
     &/(5.                 FORVHVW                   
                               FROOHFWHG       
                          FORWKHV                   FRPHV 
                                &ROOHJH     
                       FRDXWKRU                
                                        FRPIRUW
                          FRGLUHFWV                 
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     FRPIRUWDEOH                                    
                        FRPSOH[LW\             
                                        
     FRPLQJ                                   
                          FRPSOLFDWH                 
                                            
     FRPPHQW         FRPSHWHG        FRPSOLFDWHG            
                                                
               FRPSHWHQW                        
                                            
                                          FRQFOXVLRQV
     FRPPHQWHG                                   
               FRPSHWLQJ                            
     &RPPLVVLRQ                                 
                                          
                                                
     FRPPLW                                   
                                             
     FRPPLWWHH                            FRQFHUQHG       
                           FRPSOLFD                
             FRPSHWLWLRQ                           
                       FRPSOLFD                
                                            
                         FRPSO\                  
     FRPPRQ                      FRQFHUQLQJ      
               FRPSHWLW     FRPSRQHQW                 
                                  FRQFHUQV        
               FRPSOHWH        FRPSRQHQWV             
                                         
     FRPPXQLF                                  
                                           FRQFUHWH
     FRPPXQLW\       FRPSOHWHG                          
                                                FRQGLWLRQ
     FRPSDUDWLYH                                     
                                            
     FRPSDUH                FRPSRXQG                  
     FRPSDUHG                                    
             FRPSOHWHO\                         FRQGLWLRQV
                           FRPSUHKH              
                                             
                                          FRQGXFLYH
     FRPSDULQJ                                  
                                             FRQGXFW
     FRPSDULVRQ      FRPSOHWLQJ      FRPSURPL     FRQFOXGH        
                                               FRQGXFWHG
     FRPSHQVD     FRPSOH[      FRQFHSW                   
                                 FRQFOXGHG       
                                      
                                     
                      FRQFHSWV                 FRQIHUHQFH
                                         
                           FRQFHUQ     FRQFOXVLRQ     &RQILGHQ
     FRPSHWH         FRPSOH[L                           
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     FRQILJXU                               
                       FRQWHPSR     FRQWLQXHG       
     FRQILUP         FRQVHTXH                          
                         FRQWHQW         FRQWLQXLQJ      
                                            
     FRQIODWHG                                 
                FRQVLGHU        FRQWHQWV                  
                                    FRQWLQXRXV      
     FRQIODWLQJ                                  
                                            
     FRQIODWLRQ              FRQWH[W         FRQWLQXXP       
                                             
     FRQIOLFW                         FRQWUDGLFW      
                                         
             FRQVLGHU                   
                              FRQWUDGL     
               FRQVLGHUHG                       
     FRQIOLFWV                     FRQWUDGL     
                                           
     FRQIRUPLQJ      FRQVLVWHQW                 FRQWUDU\        
                                         
     FRQIRXQG                                    
                                      FRQWULEXWH     FRQYHUW
     FRQIRXQGHG                                 
                                             
                                             FRQYH\RU
     FRQIRXQGHUV                                    
                                  FRQWULEXWHG    &RROH\ 
     FRQIRXQGLQJ                                    
                                               
     FRQIXVHG        FRQVLVWH                FRQWULEX    FRRUGLQDWH
                                                
                FRQVROLGDWH                         FRSLQJ 
     FRQJUXHQFH                                     
                                             FRSLRXV
     FRQJUXHQW                                     
               FRQVWDQWO\                          FRS\ 
     FRQQHFWLQJ                          FRQWURO         
                FRQVWUXFW                          FRUH 
     FRQVHQVXV                                  FRUQHU 
                                    FRQWUROOHG      
     FRQVHQW         FRQVXOW                          FRUUHFW 
                                     FRQWUROV         
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                FRQWDFW                FRQYHQLHQW      
                          FRQWH[WXDO                 
               FRQWDLQV                          
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                          FRQWLQXH        FRQYHUVD     
               FRQWHPSR                         
                                 FRQYHUVLRQ      
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                                        
                                      FRUUHFWHG
                                       
                                   FRUUHFWLRQ
                                    
                                   FRUUHFWO\
                                           
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                                        FRUUHODWHV
                                        
                                             FRUUHODWLRQ
                                      
                                     
                                   
                                        FRUUHVSRQG
                                            
                                    FRUUHVSR
                                      
                                    FRVW 
                                         &RVWD 
                                 
                                     
                                    
                                     FRXQVHO 
                                        
                                  
                                   
                                      
                                            
                                    
                                        
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                                             
                FULWHULD                       
                                             GDWH 
                                              
     FRXQVHOLQJ                                  
                                               
                                ' $QJHOR V      
     FRXQVHORU                                  GDWHV 
                         FURVVVH               
     &2816(/6                                    'DYH 
                                     GDLO\    'DYLG 
     FRXQWHUDFW                         GDQJHUV         
                                         
     FRXQWHUV        FULWLFDO                   GDWD       'DYLV 
                                           
     FRXQWULHV                 &VXWRURV              GD\WRGD\
                FULWLFLVPV                    
                                         
     FRXQWU\                   FXOWXUDO             GH 
              FULWLFL]HG                    
                       FXUUHQW                   
     &RXQW\                                  
             FULWLTXH                      
                                           
     FRXSOH                              GHWUDQV
               FULWLTXHG                         
                                            'HWUDQV
     FRXUVH      FULWLTXLQJ                        
                                           GHDO 
            FURVV                           
                                      GHDOLQJ
                                          
                                           
     FRXUW                                       GHDWK 
                                            GHEDWH 
                                    GHFDGH 
                                         
                          FXUUHQWO\                GHFLGH
                                          
                                         
     FRYHUHG                               
                        FXUVRU\                   
     FUDIW                               GHFLGHG 
     FUHDWH                 FXW                 
                          FXWRII             
                        &9                    
                                         
     FUHDWHV                                        
                                               GHFLGLQJ
     FUHDWLQJ                         '                  
                       '                 GHFLVLRQ
                                                 
     FUHDWLRQ               ' $QJHOR                  
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                   GHOD\LQJ                  
                                                GHVFULEHG
                      GHOLQHDWHV                 
                                           
                          GHPDQG                    
                                         
               GHILQHG     GHPDQGV                    
                                             
                          GHPRJUDSKLF                
                                   GHSRVH     
                       GHPRQVWUDWH     GHSRVLWLRQ      
     GHFLVLRQDO                                   
               GHILQHV                              
     GHFLVLRQV                                       
                                              GHVFULEHV
                       GHPRQVWU                
               GHILQLQJ                            
                                            
                                     GHSUHVVLRQ      
                GHILQLWHO\      GHPRQVWU               
     GHFODUH                                         
                          GHQLHG              GHVFULELQJ
     GHFUHDVH        GHILQLWLRQ      'HQLNHU     GHSUHVVLYH       
                                         
     GHFUHDVHG                     GHU         
                       GHQRPLQDWRU               
     GHFUHDVLQJ                                 GHVFULSWLRQ
                          'HSDUWPHQW                  
     GHHSHU                                       
                                   GHVFULEH         
                           GHSHQG                 
     GHHSO\                                     
     GHIHFWV         GHJUHH                          
                                     
     'HIHQGDQW                                      
                                             
     'HIHQGDQWV                                      
            'HO         GHSHQGHQW                 
     'HIHQGLQJ                                  
                 GHOD\                  GHVLJQ 
     GHIHU                                
                                            
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                                             
                          GHSHQGLQJ                  
                                               
                                              
                                                
            GHOD\HG         GHSHQGV               
     GHIHUULQJ                                  GHVLJQDWLRQ
                                            
     GHILQH                                    GHVLJQHG
                                            
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                                            GLIIHUHQFH
                                            
                                            
                                    GHYHORSP     
                                           
                                           
                                          
     GHVLJQLQJ                           GHYHORSP     
                      GHYHORSHG                  
     GHVLUH                             GHYLDQW         
               GHWHUPLQHV                        
                                     GLDJQRVH       GLIIHUHQFHV
     GHVLUHG                   GHYHORSLQJ                 
               GHWHUPLQLQJ                         
                                           
     GHVLUHV     GHWUDQVL                GLDJQRVHV      GLIIHUHQW
                                               
     GHVLVW                                    
                       GHYHORSPHQW     GLDJQRVLQJ      
     GHVLVWDQFH                                
                                  GLDJQRVLV        
                                    
     GHVLVWHG                                 
                                             
                                        
                                             
     GHVLVWLQJ                                     
               GHWUDQVL                          
                                         
                                                
     GHVLVWV                                   
                                           
     GHVSLWH                                   
                                      
     GHVWDELO                               
                                         
                                           
     GHVWLJPD                          GLDJQRVWLF      
               GHWUDQVL                    
     GHWDLO                                   
                                             
     GHWDLOHG                                  
                                   GLDJQRVWLFV     
     GHWDLOV                                 
                                     GLFKRWRP\       
                                         
     GHWHUPLQ                                 
                                 GLFWDWH         
               GHWUDQVL                         
                              GLIIHU      
                                             GLIIHUHQ
     GHWHUPLQH                                   
                GHYHORS                         GLIIHUHQWO\
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                                                 
               GLVDJUHH                          
     GLIILFXOW                           GLVWLQFWLRQ     
                                                
            GLVFRPIRUW                       
                                         
     GLIILFXO                         GLVWLQJXLVK     
              GLVFRQWL                       
     GLIILFXOW\                           GLVWLQJX     
                          GLVFXVVLRQV                
     GLJ                                         
     GLJJLQJ     GLVFULPL                GLVWUHVV        
     GLPRUSKLF                                      
                GLVFULPL                     
     GLPRUSKLVP             GLVRUGHU                  
                                         
                                          
     GLPRUSKLVPV                                  
                                    GLVWUHVVLQJ     
     GLUHFW      GLVFXVV                       
                                 'LVWULFW     
                                          
                                  GLYHUVH         
                                              
               GLVFXVVHG                         
                          GLVRUGHUV       GLYHUVLW\       
     GLUHFWHG                                         
                                      'LYLVLRQ     
                                                 
                                              
     GLUHFWLQJ                                    
                                             
     GLUHFWLRQ                          GLYRUFLQJ       
               GLVFXVVHV                           
                           GLVSXWH         GRFWRUV         
     'LUHFWRU                                       
              GLVFXVVLQJ                GRFXPHQW        
                                              
     GLVDGYDQ            GLVSXWLQJ               
                                            
     GLVDJUHH                                      
                                             GRFXPHQW
                       GLVTXDOL                
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               GLVFXVVLRQ      GLVVHQWL               GRFXPHQWLQJ
                                            
     GLVDJUHHLQJ                GLVWDQFH                   
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     'RGVZRUWK                 GUDZV               
                        GUHZ              
     'RHUQEHFKHU            GULYHQ             
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     GRLQJ            GURSSLQJ                  
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     GROH                                     
     GROODUV                GXH                   
     GRPDLQ                          
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     GRPDLQV                                    (  
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     'RUD                                     
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     GRXEOH                               HPDLO
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     GRXEW            GXUDEOH                  HDJHU 
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     GRZQV                                      
     GR]HQV     GUDIWHG                            
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                        'XWFK                   
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                GUDZEDFNV                         
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               GUDZLQJ                                
                          G\QDPLF                     
                                                
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     HDVW                                        
                      HOHFWHG                   
     HDV\                            HQDEOH     
     HG               HOHPHQW         HQDFWHG         
     HGLWRU                                  
                                 HQFRXQWHU      HQGRFULQ
                                             
                                         HQGRFULQ
                                           
                         HOHPHQWDU\      HQFRXQWHUHG     
                                           
                           HOHPHQWV        HQFRXUDJHG      
                                         
     HGXFDWHG                       HQFRXUDJ     
                                           HQGRJHQRXV
                                    HQGHG     
     HGXFDWLRQ                                    HQGRUVHG
                         HOLJLELOLW\              
                                         HQGV 
                     HOLJLEOH        HQGRFULQH      HQJDJH 
                HIILFDF\                        
                                       HQJDJHPHQW
                                          
                                           
               HIIRUW          (OL]DEHWK              
     HGXFDWLRQDO                           HQJDJLQJ
               HIIRUWV         HOOLSVHV                    
                                          (QJOLVK
     (GZDUGV              HOXVLYH                   
                                            HQUROOHG
                     (PEDUFDGHUR            
                                                
                       HPEUDFHG             HQVXUH 
                                              
                      HPHUJHQFH              
                                         
                         HPRWLRQDO                 
                HLJKW                         
                                           HQVXULQJ
     (GZDUGV                HPRWLRQDOO\               
                                                
     HIIHFW               HPSKDVLV                  
                                              
               (LJKWHHQ                             
                                               
                HLWKHU                       
                       HPSKDVL]H                 
                                    HQGRFULQ    HQWHU 
     HIIHFWLY                HPSKDVL]HV                HQWHULQJ
                                                 
     HIIHFWV                   HPSKDVL]LQJ     HQGRFULQ    HQWLUH 
                                               HQWLUHW\
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                HVWDEOLVKHG                         
     HQWLWOHG                              HYHU\ERG\       
            HVWDEOLVKHV                          
                                 HYLGHQFH        
               HVWDEOLV                       
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                HVWDEOLV                        
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               HVWLPDWH                          
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                HVWURJHQ                             
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                                          
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     HQWLW\             HYDOXDWH                
     HQWLW\ V                                   H[FOXVLRQ
                       HYDOXDWHG                 
     HSLGHPLR                                    
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     (TXLW\                                
     HTXLYDOHQW                 HYDOXDWLQJ               H[FOXVLR
                                  HYLGHQFH     
     HUUDWD                 HYDOXDWLRQ                H[FOXVLRQV
                            HYROYHG         
     HUURU                                   H[FXVH 
                              H[DFWO\         
     HUURUV                             
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     HVSHFLDOO\                HYDOXDWLRQV                
                                       H[DPLQDWLRQ    H[HFXWLYH
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                                              
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                               H[DPLQHV         
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     HVVHQWLDOO\                      H[DPSOH     
                   HYHQWV                
                                            
     HVWDEOLVK                                     
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                                            
               ([KLELW      ([KLELW                
                                          
                ([KLELW      ([KLELW                 
                                           
               ([KLELW      ([KLELW                 
                                   H[SHULHQFHV     
            ([KLELW      ([KLELW                  
                                         
               ([KLELW                        H[SHUWV
                                            
                ([KLELW      ([KLELW                 H[SODLQ 
                                         
                ([KLELW      ([KLELW                 
                                       
            ([KLELW       ([KLELW                  
                                         H[SODLQV
                       H[LVWHQFH              
                                       
                       H[LVWV              H[SODQDWLRQ
               ([KLELW                          
                        H[SHFW                   H[SORUDWLRQ
            ([KLELW                H[SHULHQ     
                                                
            ([KLELW                            
                      H[SHFWDW               H[SORUDWRU\
            ([KLELW                        
                                         H[SORUH
               ([KLELW      H[SHFWHG                  
                                           
            ([KLELW                          
                   H[SHFWLQJ       H[SHUW      H[SORUHG
           ([KLELW                         
                      H[SHULHQFH            H[SORULQJ
            ([KLELW                         
                                           H[SRVH
               ([KLELW                       
                                         H[SRVHG
              ([KLELW                        
                                            
            ([KLELW                    
                                      H[SRVXUH
               ([KLELW                           
     ([KLELW                                     
                ([KLELW                       
                                            
     ([KLELW      ([KLELW                  H[SHUWLVH       
                                          
     ([KLELW                                H[SRVXUHV
             ([KLELW                          
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     H[SRXQG         IDFW                        IHHO 
                       IDOO               
     H[SUHVV                                      
                        IDOOV                
                          IDOVH              IHHOLQJV
                         IDPLOLDU                   
                                           
               IDFWEDVHG                        IHHV 
                                             
     H[SUHVVHG       IDFWRU                         )HLQEHUJ
                IDFWRUV                           
                                                IHOORZVKLS
     H[SUHVVLRQ                                      
                                              
                                              
                                      
                                          IHOW 
                                      
                                           IHPDOH 
                                          
     H[WHQG                                        
                                             
     H[WHQGLQJ                                      
                                  IDPLO\ V        
     H[WHQVLYH                                       
                                    IDQWDV\         
                                            
     H[WHQVLYHO\     IDFWV              IDU        
                                          
               IDLO                           
     H[WHQW          IDLOHG                                
                                          
                                          
     H[WHUQDO                                    
                IDLOV     IDPLOLDU                
     H[WUHPH         IDLOXUH                              
                          IDPLOLHV                  
     H[WUHPHO\                             IDVFLQDWLQJ     
                                         
                     IDLU                IDVW      
           )                          IDXOW      
     I                                        
     IDFH                         IDYRULWH        
                                             
     )DFHERRN                             )'$       
                                               
     IDFHG                IDPLO\           IHPDOHV 
     IDFLOLWDWH                                
                                                
     IDFLOLWDWHG     IDLUQHVV                   )HEUXDU\        
                                          
     IDFLQJ                             )HGHUDO         
                                               
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               ILQDQFLDO                  IRFXVHG         
                                                
               ILQG                             
                                           
                                   IRONV      
                                          
                                         
               ILQGLQJ                      
               ILQGLQJV                             
                                           
     IHUWLOH                                       
                                              
                ILQLVK                           
     IHUWLOLW\                                  
            ILQLVKHG        ILW                
                                     
                                           
                          ILWV                   
     ILHOG      )LQODQG         ILYH             
                                       
                                IROORZ     
                                          
                                             
               ILUP                 IROORZXS      IRRWQRWHV
               ILUVW                     
                                           
                                       
                                            IRUD 
                                            IRUFH 
                                           
                                              IRUFHG
                                  IROORZHG        
                                             
                       IL[                IRUJHWWLQJ
     ILIWK               IL[HG                 
     )LIW\ILYH                                   IRUJLYH
                           IODZ                  
     ILJXUH                  IODZV      IROORZLQJ       
                         IORRU                  
                                          IRUJRW 
     ILJXUHV               IOXLG               IRUP 
                              IROORZV          
                                           
                                      
     ILOH                       )RRG       
     ILOHG                         IRRWQRWH        
                                              
     ILOLQJ                 IOXLGLW\                
     ILOO                                
     ILQDO                                   
                                              
     ILQDOO\                                       
                          IRFXV               
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                                           
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                                         
                                            
                                         
                                       
                                         
                                       
                                IRXUVLWH
                                            
                                      IRXUWK 
                                        
                                          
                                       )UDQFLVFR
                                IRUPHG     
                                          IUDXJKW 
                              IRUPHU     
                                              )UHHGRP 
                               IRUPLQJ    IUHHVW\OH
                                    IRUPV      
                                               IUHH]LQJ
                                     IRUWK       
                                       IUHTXHQF\
                                      
                                  IRUXP    IUHTXHQWO\
                               IRUXPV      
                              IRUZDUG          
                                            
                               IRXQG      
                                           
                                              IULHQG 
                                          IULHQGV
                                              
                                               
                                              IURQW 
                                            
                                     IRXQGDWLRQ       
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                                             
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               JHQHUDWHV                  *Q5+D     
                       JLUOV                JRDOV 
                         JLYH                  
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     JHQGHUG     JHQLWDOLD                     
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            JHQLWDOV                              
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                JHQWOHPDQ                             
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               JHWWLQJ                              
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     JHQHUDOL]HG     JLUO V                          
                JLUOV                         
                           JLYHV                
                                           
     JHQHUDOO\                  JLYLQJ               
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                         JOREDO                 
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                         *Q5+                
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                JRQDGV                             KDSSHQHG
                                    
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                                          
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                      JURXQG                
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                                                 
               JRYHUQHG        JURXSV                 
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                JRYHUQLQJ                           
                                               
                JRYHUQPHQW      JURZWK                    
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               JUDGDWLRQ                          
                         JXHVV      JXLGLQJ     
               JUDGDWLRQV              JXLOG      
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                                     *XVV        
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                JUDGH                     KDUPIXO
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                JUDGLQJ                   +      
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                JUDQG                         
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                  JXHVVLQJ                  
                                                
     JRQDGDO                   JXLGH     KDQG       
               JUHDW                           
                          *XLGHOLQH                  
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                JUHDWHU         JXLGHOLQHV               KDUPLQJ
     JRQDGDUFKH                                     
                                  KDQGOH     KDUPV 
     *RQDGRWU     *UHHQ               +DQQHPD     
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     KD]DUG                           KHDULQJ         
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                                             
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                              KHFNOHG         
                                              
     KHDG                            KHLJKW          
     KHDGWR                                   KLJKOLJKWHG
                                         
     KHDGLQJ                       KHOG        
                                     KLJKOLJK
                                        
                                KHOS     KLJKOLJKWV
                                           
                                              KLJKO\ 
     KHDOWK                                     
                                            
                                       
                                             
                                  KHOSIXO         
                   +HDOWK V                   
                                          
                       KHDOWKU               KLS 
                                      KLUHG 
                    KHDOWKFDUH      KHOSLQJ        KLVWRULF
                                                
                                       KLVWRULHV
                       KHDOWK\                   
                                 KHOSV      KLVWRU\
                                     
                                           
                                 +HPEUHH         
                                              
                           KHDU       +HQLJ     
                                     
                                        
                                       
                                         
                                          KROG 
                       KHDUG                
                                     +HQLJ V         
                                              KRPH 
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     KRPRJHQRXV                             
                                LGHQWLIL     
     KRPRSKRELD                                   
                                         
     KRPRSKRELF                             
                                             
     KRPRVH[X                                 
                                            LGHQWLI\
     KRSH                                       
                       KRVSLWDO               
     KRUPRQDO                                       
                    KRVW                 
                      KRXU                 
                                          
                                      
                                        
                                        
                                            
                        KXJV                  
                      KXQGUHG                
                                              
     KRUPRQH                                      LGHQWLI\LQJ
                           +XUULFDQH                 
                                                 
                          +XVNH                 
                      +XWFKLQVRQ                
                                              
                        K\SRWKHVHV                 
                                               
                                          LGHQWLWLHV
                          K\SRWKHVLV                 
                                          
                                              LGHQWLW\
                                         
                     K\SRWKHW               
                                           
                      K\SRWKHW                
                                             
                                               
     KRUPRQHV                        ,               
                           LH                 
                          LGHD                  
                                               
                                          
                                         
                                             
                                             
                                    LGHQWLILHG       
                       LGHDO               
                      LGHDOO\                 
                                      
                                              
               KRVSLWDO        ,GHDWLRQ        LGHQWLILHV      
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                               LPSURYH         
                       LPSOHPHQ                
            LGHQWLW\                          
                      LPSOLFDWLRQ     LPSURYHG        
             ,OOLQRLV                             
                                            LQFOXGLQJ
                LOOQHVV     LPSOLFDW     LPSURYHPHQW      
                                            
                                              
                      LPSOLHG                   
                LPDJH                          
                       LPSOLHV                
               LPDJLQH               LPSURYHP     
                                           
             LPDJLQJ                             
                          LPSO\     LPSURYHV       LQFOXVLR
                         LPSRUWDQFH                
               LPEDODQFH                  LQDFFXUDWH     LQFRPH 
                                            
            LPPHGLDWHO\     LPSRUWDQW                  
                               LQFDSDEOH      LQFRQJUX
                                         
                                 LQFLGHQW       LQFRQJUXHQW
                                                
                                     LQFOXGH     
             LPSDFW                      
                                            
                                               
                                          LQFRQVLV
                                       
                                              ,QFRUSRU
                                              
                                            LQFRUUHFW
                                               
                                            
                                           LQFRUUHFWO\
                                              
                                          LQFUHDVH
                     LPSRUWDQWO\                
                                           
                       LPSRVVLEOH               LQFUHDVHG
                LPSDFWHG                            
                                   LQFOXGHG        
               LPSDFWV                          LQGHSHQGHQW
                           LPSUHFLVH              
                                       LQGHSHQG
                                           
                          LPSUHVVHG                LQGLFDWH
                                            
                      LPSUHVVLRQ                
                              LQFOXGHV        
                     LPSUREDEOH                  
                                           
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                         LQGLYLGX                
                LQGLFDWLRQ                          
                                              
                                              
               LQGLFDWLRQV               LQIOXHQFHG     LQKLELWRUV
                                               
                                    LQIOXHQFHV     LQLWLDO
               LQGLYLGXDO                     
                                           
                                 LQIRUPDO       LQLWLDWHG
                           LQGLYLGX               
                                LQIRUPDQWV     LQLWLDWHV
                       LQGLYLGXDOV                
                                 LQIRUPDWLRQ    LQLWLDWLQJ
                                             
     LQGLFDWHG                                    
                                       
                                              
                                              
                                               
                                            
                                             
                                             LQLWLDWLRQ
                                         
                                              
                                             
                                              
                                              
     LQGLFDWHV                                    
                                            
                                              
                                          LQMXVWLFHV
                                 LQIRUPHG        
                                          LQQDWH
                                                
                                               
                                             LQVLGH 
                                             LQVLVWV
                                             
                                       ,QVRPXFK
                                          
                                          LQVSHFWHG
                        LQGXOJLQJ       LQIUHTXHQW      
                                             LQVWDQFH
                         LQHYLWDEO\                
                                    LQKHUHQW         
                                            
                      LQIHUUHG              LQVWDQFHV
             LQGLYLGX                          
     LQGLFDWLQJ                LQIHUWLOLW\              ,QVWLWXWH
                                         
            LQGLYLGX     LQIOXHQFH                 
                                    LQKHUHQWO\      
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     LQVWLWXWLRQ                        LQYROYHG        
                LQWHUIHUH                             
     LQVWUXFW                                  
                LQWHUQDO                              
     LQVWUXPHQW                                  
                                            
                LQWHUQDO                         LVVXLQJ
     LQVWUXPHQWV                                  
                                                
               LQWHUQDW                         
     LQVXUDQFH                                   ,V]DF 
                                           
                                               
     LQWDNH                                     
                                    LQYROYHPHQW    LW G 
     LQWDNHW\SH     LQWHUQHW                              
                                            LWHPV 
     LQWHJULW\                             
             LQWHUSUHWHG     LQWHUYLHZ       LQYROYHV             -
     LQWHQG                                        -$&.621 
     LQWHQGHG        LQWHUUXSW                     -DFRE 
                                             -DNH 
     LQWHQVLW\                                   
               LQWHUUXS                          
                                              -DQVVHQ 
                LQWHUVHF     LQWHUYLHZV                 
     LQWHQW                       LUUHJXOD      
               LQWHUVH[                         
                           LQWURGXFH                  
     LQWHQWLRQ       LQWHUYHQH                 LUUHVSHF    -DQXDU\
                     LQWURGXF               
               LQWHUYHQLQJ                         
     LQWHQWLR               LQYDOLG         LUUHYHUV    MHVW 
               LQWHUYHQRU                         MRE 
     ,QWHQWLRQV               LQYDULDEO\              
                                      LVRODWLRQ       
               LQWHUYHQRUV     LQYHQWLRQ                 -RKQVRQ 
     LQWHUDFWLRQ                            LVVXH    MRLQ 
                LQWHUYHQ     LQYHQWLRQV                 
     LQWHUDFW                                   MRLQLQJ
                           LQYHVWLJ                
                                          -RVK 
                         LQYHVWLJ               -26+8$ 
     LQWHUDFWV                         LVVXHG    -RXUQDO 
                                                MXGJH 
     LQWHUHVW                   LQYHVWLJ          MXGJPHQW
                                              
                         LQYRLFH     LVVXHV      
                                          MXPSLQJ 
                       LQYROXQWDU\       
                                                   .
     LQWHUHVWV       LQWHUYHQ                         .DUOHLJK
                                             
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     .DWKOHHQ                      NQRZV     ODUJHO\
                                      .XSHU       
     .DW]                                 ODWH 
     .DW]:LVH                                            
                                      /         
                                /          ODWLWXGH
                                ODE       
                                   ODEHO      ODZ 
     NHHS                             
                                          
     NHHSLQJ                                       
                                     ODEHOHG         
     .HOO\        .LQJGRP V                           
                                  ODEHOV          
                                           
     NLFNHG          .OHLQ              /DFH\        
                             ODFN      
     NLG                                       
               NQRZ                           
                                            
                                         
                                     ODFNHG          
     NLG V                                
                                 ODLG      
     NLGV                      /$,1(<      
                                                 
                              /DPEGD      
                                            
                                 ODQGVFDSH      /DZUHQFH
                                         
                                   ODQJXDJH       /DZUHQFH
                                     
                                         ODZV 
                                            
                                       
                                    OD\HUV
                                            
                          NQRZDEOH                 OHDG 
                                            
                         NQRZLQJ                    
                                            
     NLQG                                     
                                           OHDGHUVKLS
                                             
                                ODUJH      OHDGLQJ
                                               
                      NQRZOHGJH                  
                                        
                                           OHDS 
                                          OHDUQ 
                                             OHDUQLQJ
                         NQRZQ                
                                           
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                                              
     OHDYH                                      
     OHFWXUHV        OHWWHU          /LFRSHQH        OLVWHG    /LWWPDQ 
                                          
                    /LGJUHQ                    
                                           
                            OLIH        OLVWHQHG         
     OHG                                         
                              OLVWHQLQJ       
                                                /LWWPDQ V
                                     OLVWLQJ          
                                            
                                   OLVWV      
     OHIW      OHYHO                OLWHUDWXUH      
                          OLIHDOW                OLYH 
                                               
     OHJ               OLIHORQJ                 OLYHG 
     OHJDO                                   OLYHV 
                       OLNHOLKRRG            //3 
                                    ORFDO 
               OHYHOV                              ORFDWHG
                      /LO\               
     OHJLVODWLYH     /HYLQH                      ORFDWLRQ
                                            
                          OLPLW               ORFDWLRQV
     OHJLWLPDWH                OLPLWDWLRQV               
                                             ORJLFDO
     OHW V                                    
                /HYLQH V                          ORJV 
                          OLPLWHG                   ORQJ 
                                                
                                          
                          OLPLWV               
               /*%7                           
                          /LQGJUHQ                  
                                                
                                                
                        OLQH              
                                               ORQJWHUP
                /LD                            
                                                
                        OLQHV                
                                OLWLJDWLRQ      
                          OLQN                 
                           OLQNV     OLWWOH     
                      /LVD                
                                          
               /LEHUWLHV                           ORQJHU
                                                  
                OLFHQVH                           
                                         ORQJLWXG
               OLFHQVHG        OLVW                 
                                            
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                                          
     ORQJLWXG               /XULH               PDQGDWH
                                          
     ORRN                                       PDQGDWHG
                                              
                                                PDQGDWHV
                                 0                 
                           0                   
                ORRNV       0'              
                                        PDQGDWRU\
                          PDJQLWXGH                 
                                           PDQLIHVW
                /RRP       PDLQ                 
                ORVH                            PDQQHU
                ORVW       PDLQVWUHDP                
                                             
                ORW        PDMRU                 
                       PDMRULW\                  PDQXDO 
                                       
                                              
                                          PDULWDO
                                           
                                               
                          PDNLQJ     PDOHV      
                                    PDUN 
                                               
                                        
                                               
                                             
                                             
                                            
                                          
                                              
                                              
                                           
               ORWV                        
                ORXG        PDOH                  
               ORYH                    
                                            
     ORRNHG          ORZ                         
                                          
                                           
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                0F&XVNH\                          PHGLFLQH
                                      PHGLD     
                PHDQ                         
                       PHDQLQJOHVV             
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                                           
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     PDUNLQJ                                     
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     PDVFXOLQH                                   PHHWV 
                                           PHPEHU
     PDVN                                    
     PDVNLQJ                                        
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     PDWFK                                    
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     PDWHULDOV                                      
                         PHDVXUDEOH               PHQWDO 
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                          PHWDO                
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                               PLVGLDJQ     
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                                PLVUHDGLQJ     PRQWKO\
                          PLG                  
                         PLGGOH     PLVVHG    PRQWKV 
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                                  PLVWDNH         
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                                  PLVXQGHU     
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                          PLQH                   
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                PHQWLRQHG                        
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               PHUH                       PRYLQJ 
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               PHULWV     PLQXWHV     PRGHUDWH       PXOWLSKDVH
                PHW                             
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               PHWDDQDO              PRPHQW     
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     QDPH                                      
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               QDWLRQDOO\      QHHGHG              
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                QDWXUH                          
     QDUURZV                                        QRQLQWH
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     QDWDO                                  QRQSLWK\
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               QHFHVVDULO\                           
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                                                
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     1RUWKZHV                                   
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             QXPEHUHG                            
     QRWHG                                 
                QXPEHUV                       
                                           
                                             
                                              
     QRWHV                                    
                                             
             1<                            
     QRWLQJ          1<8                              
                                          
                                             
     QRWLRQ                                                
                     2                           
     QRYHO     2                                
     17'6       R FORFN                           
     QXDQFH                                        
               2DNV                          
              2EMHFW                           
     QXDQFHV                                      
                                                
                                         
     QXPEHU       REMHFWLRQ                            
                                         
                                       
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                                        
                                               
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                          RIIHUHG                 
                                     RSHQ 
                                        
                         RIIHULQJ                   
                                           RSHUDWLRQDO
                                       
                       RIILFH                
                REOLJDWLRQV                         RSHUDWLR
                                        
                REVHUYDWLRQ                         RSLQLQJ
                       RIILFLDO                  
               REVHUYDW                    RSLQLRQ
                        2K        ROG         
                REVHUYHG                             
                       2+68                 
               REWDLQHG        RND\                  
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               REYLRXVO\                         
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            RFFDVLRQ               ROGV      
                                2OVRQ      
                                         
               RFFDVLRQ                      
                                 2O\PSLDQ        
                                              
               RFFXUUHG                   RQFH       
                                                 
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                                   RQH V      
                                               
                                   RQHV        
             RFFXUUHQFH                           
                                              
                                           
                RFFXUULQJ                           
                                             RSLQLRQV
                                           
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                                    RQJRLQJ         
               RFFXUV                              
                                           
               2FWREHU                          
                                        RSSRUWXQLW\
     REMHFWLRQV      RGGV                       
                                           RSSRVHG
                RIIODEHO                           
                                          
                RIIHQVH                         
             RIIHU                 RQOLQH    RSSRVLWH
                                         
                                        
     REMHFWLYH                            RQVHW      
                                             
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     RSW                                    
               RULJLQDO        RXWOLQHG                 
     RSWHG                                  
     RSWLRQ                                   
                           2XWSDWLHQW              
     RSWLRQV                                           
                       RXWVHW                   
                                        
     RUGHU             RXWVLGH              
                                            
            RULJLQDOO\                           
                                         
             RXWFRPH                                
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                                              
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                                             
                                            
                                                 
                                     
                         RYD                  
                                                
                          RYHUDOO                     
                                             
                                              
     RUGHUV                RYHUODS                  
     RUGLQDU\                                       
                        RYHUVLJKW                  
     RUJDQL]D                              
             RXWFRPHV        RYHUYLHZ                    
                                            
                                              
                              3                     
                           3               
                                          
                                              
     RUJDQL]D                SP                
                                              
                                             
                                              
                                               
                                        
                                            
                                                
                                     
                                             
     RUJDQL]HV                                    
                          SDJH                 
     RUJDQV                                   
     RULHQWDWLRQ                                 
                RXWOHW                             
                                             
                RXWOLQH                          
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                                              
     SDJHV                                   
                                       
                                    SDUWLFLSDQW     
                                           
     SDJLQDWHG                                       
                                 SDUWLFLS     
                                           
     SDLG                                   
     SDLQWLQJ                                       
                          SDUHQWV                 
     SDLUHG                                      
                         SDUODQFH                   
     SDQLF                                 
     SDSHU                  SDUVH                
                                               
                                              SDUWLFXO
                                               
     SDSHUV     SDUDJUDSKV      SDUVLQJ                
                                             
                                         
                                              
     SDUDGLJPV       3DUGRQ     SDUW        SDUWLFLSDWH     
                                               
     SDUDJUDSK       SDUHQW                          SDUWLHV 
                                            
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                                     
                                         SDUWV 
                                     SDVVDJH
                                              
                                  SDUWLFLS    SDVVHG 
             SDUHQWDO                            SDVWHG
                                             
                                 SDUWLFLS    SDWK 
                                           
                                              SDWKRSK\
                SDUHQWKHVHV                          
                                              SDWKZD\
               SDUHQWKRRG                           
                                          SDWLHQW
               SDUHQWV                            
                                     SDUWLFLS     
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                                           
                                             
                                 SDUWLFLS     
                                            
                                SDUWLFXODU      
                                           
                                            
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                                           SHUVLVW 
     SDWLHQW V                                  
                                        SHUVLVWHG
                                        
                                   
                                           SHUVLVWHQFH
     SDWLHQWV                                     
                                       
                                      
                                         SHUVLVWLQJ
                                        
            3DWULFLD                              
                                         
                                         SHUVRQ 
             3$75,&.                      
            SDXVH                   
                                   
                                        
                                          
                                       
                SHDNV                      
                                          
                                            
              SHGLDWULF                        
                                     
                                        
             SHGLDWUL                      
                                 SHUFHQWDJH      
           SHGLDWULFV                            
                                          
               SHHO                      SHUVRQ V
               SHHU                             
                                                 
                                               
                                            
                                               
           SHHUDSS                SHUFHQWDJHV     
                                                 
               SHHUV      SHRSOH V        SHUFHSWLRQV     
                                             
                                SHUFHSWLYH     SHUVRQDO
                         SHUFHLYHG                  
                                 SHUIHFW         
                                              
               3(/(                   SHUIRUP        SHUVRQDOO\
             3HOHW       SHUFHQW                    
                                     SHUIRUPDQFH     
             SHQGLQJ                          
                                                 
                3HQQV\OY                       
                                SHULRG      
               SHRSOH            SHUPHDWHV       
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                         SOHGJH                
     SHUVRQV     SK\VLRORJ\      3//&                 SRVLWLYH
                        SOXUDO     SRSXODWLRQ      
     SHUVSHFWLYH                             SRVVLELOLW\
                          SRLQW                  
               SLHFH                        
                                            
                                          
                SLHFHV                             SRVVLEOH
     SHUWDLQV                                    
                3LRQHHU                               
     SHUYDVLYH                                     
                SLWK\                           
     SKDUPDFH                                    
                SODFH                             
     3KDVH                                    
                                          
                                 SRSXODWL     
     SKDVHG                    SRLQWLQJ                  
               SODFHG                          
     SKHQRPHQ     SODFLQJ         SRLQWV               
                                     SRSXODWLRQV     
                           SRODUL]HG                 
     SKHQRPHQRQ      SODLQ                 SRUWLRQV        
                 3ODLQWLII       SROLFLHV                  
                                 SRUWUD\DO       
                                          
                                 SRVH       
                              SRVHV    SRVVLEO\
     SKHQRW\SLF      3ODLQWLIIV                           
                                            
     SKUDVH          SODQ                  SRVLWLRQ       3RVW 
                          SROLF\             
            SOD\                      
                                             
                                             
     SKUDVLQJ                                   SRWHQWLDO
                                          
     SK\VLFDO                  SROLWLFDO              
                                       
           SOD\LQJ         SRRGOH              
                                            
               SOHDVH     SRRGOH V                   
     SK\VLFDOO\                                       
                          SRRO                 
     SK\VLFLDQ                  SRRU                 
                                             
                                              
     SK\VLRORJLF               SRRUO\               
                          SRSXODU                
     SK\VLROR                                    
            SOHDVXUHV                           
                                  SRVLWLRQV       
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     SRWHQWLDOO\     SUHSXEH                          SUHYHQW
                                             
                SUHFLSLW                        
                                               
                SUHFLVH                   SUHVHQWLQJ      
                         SUHSRQGH               SUHYHQWHG
                                                
               SUHFOXGHV                             
     SUDFWLFDO                 SUHSXEHUWDO              SUHYHQWLQJ
                                          
     SUDFWLFH        SUHFRFLRXV                       SUHYHQWV
                                       
                                    SUHYLRXV
                                    SUHVLGHQW        
                                             
                                   SUHVV      
                3UHGLFWLQJ                           
                          SUHSXEHV               
                SUHGLFWRU                           SUHYLRXVO\
                          SUHVFULEH                  
                             SUHVVXUH        
                SUHGLFWRUV                           
                                           SULPDULO\
                       SUHVFULEHG                 
            SUHH[LVWLQJ                       
                                              SULPDU\
               SUHIHU          SUHVFULELQJ                
                                SUHVVXUHG       
               SUHIHUDEO\                            
                                 SUHVWXG\        
                SUHJQDQFLHV                       SULQFLSOHV
                               SUHVXPH         
                                         SULQWHG 
                                   SUHVXPLQJ      SULRU 
               3UHJQDQF\                           
     SUDFWLFHG                            SUHVXSSRVH      
                                               
               SUHJQDQW        SUHVHQFH        SUHVXSSRVHG     
     SUDFWLFHV                                
                          SUHVHQW                   
     SUDFWLFLQJ                        SUHVXSSRVHV     
                SUHOLPLQDU\                       
                                   SUHVXSSR     
                                             
                                            
     SUDFWLWL     SUHPLVH                      
                                    SUHWW\      
                                              
     SUDFWLWL                                    
               SUHSDUHG        SUHVHQWHG       SUHYDLOLQJ      
                                        
     SUH*,&(                                     
                SUHSDULQJ                        
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     3ULW]NHU                                    SURYHG
            352&((',1*6             SURJUHVVHV      
     SULYLOHJHG                                 SURYLGH
                 SURFHVV                SURJUHVVLRQ     
     SULY\                                 
     SUREDEO\                      SURKLELWHG      
                                            
                                     SURMHFW         
                                              
                              SURORQJ         
                                         
                                  SURORQJHG      SURYLGHG
                                              
                                           
                                      
                                          
                                             
                                   SURPRWH        SURYLGHQFH
                                               
                                   SURPRWLQJ      SURYLGHU
                                               
                                     SURPSW      
                                          SURYLGHUV
                                         
                                SURQRXQF     
                      SURIHVVL               
                                    SURQRXQV        
                          SURIHVVL           SURYLGHV
                                           
                                    SURSRUWLRQ      
                                           
     SUREOHP                                   SURYLGLQJ
                                              
               SURFHVVHV                        
     SUREOHPDWLF                                  
                                           SURYLQJ
     SUREOHPV                              SURSRVH         
                      3URIHVVRU              SURYLVLRQ
                                             
                                 SURSRVLWLRQ     
     SURFHGXUH                                  SV\FKLDWULF
                        SURIRXQG                   
     SURFHGXUHV      SURGXFH                        
                           SURIRXQGO\      SURVSHFWLYH     
     SURFHHG         SURGXFWLRQ                          
                                            
                                 SURWRFRO        
                                           
                                    SURWRFROV       
                SURIHVVLRQ                      
     SURFHHGHG                  SURJUDP         SURYH      
               SURIHVVL                          
     SURFHHGLQJ                                   
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                                                
     SV\FKLDW                                  
                   SXEHUW\               
                                      
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                                         
                SV\FKROR                       
                                            
                                        
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     SV\FKLDW                                 
                                            
               3V\FKRORJ\                       
     SV\FKLDW                                 
             SV\FKRPH                      
                                          
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                                             SXEOLF 
                                      
             SV\FKRVR                        SXEOLFDWLRQ
     SV\FKLDW                           
                                        
     SV\FKLDWU\                                   SXEOLFDW
                                          
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                                         
                                       SXEOLVK
                                         
                                           SXEOLVKHG
            SV\FKRWK                    
                                    
                                       
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                                        
                                           
                                         
                                        
                                           
                                         
     SV\FKROR                               
            SXEHUWDO                     
                                    
                                          
                                      
                                           
                                     
                                            
                                          
                                      
                                       
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                                         TXRWH 
                                            
                                             
                                              
                                               
                             TXHVWLRQ     
                                           
                SXWV                 TXHVWLRQLQJ     
                                                
                                     4XHVWLRQ     
                                              
               SXWWLQJ                    TXHVWLRQV       
                                      
                                                     
                     4                             TXRWHG 
            4,'6                           TXRWLQJ
               TXDOLI\                          
                                               
                TXDOLWDWLYH                 
                                               5
               TXDOLW\                           5  
     SXOO                                     
                                          UDFH 
     SXOOHG                                   5DFKHO 
     SXOOLQJ                                        
                                        5DH 
     SXOVDWLOH                                   
                                            
     SXQ       TXDQWLI\                           UDLVH 
     SXUSRUWV                                          
               TXDUWHU                              
     SXUSRVH                                         
                TXHVWLRQ                         UDLVHG
                                            
                                                 
     SXUSRVHV                                       
                                         
                                             
                                TXLFN       
     SXUVXDQW                              UDLVLQJ
     SXUVXHG                       TXLFNO\          
                                          
     SXW                           4XLOOHWWH        
                                            UDQGRP 
                              TXLWH       
                                          UDQJH 
                                             
                                                 
                                              
                                              
                                              
                                               
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                                           
                                    UHFHLYLQJ
     UDQJHG                               
     UDQJHV                                       
                                          
     UDSLG                                   
                                              
                                   UHEXWWDOV       
     UDSLGO\                                 
     UDUH                      UHEXWWLQJ       
               UHDGLQJ                     UHFRJQLWLRQ
     UDWH                                       
     UDWHG                           UHFDOO    UHFRJQL]H
     UDWHV                                       
                                               
                                             UHFRJQL]LQJ
                                               
     UDWLQJ                              UHFROOHF
     UHDFK                                     
                                             
                UHDGV                            
                                              
                                           
     UHDFKHG                                       
                                               
                         UHDVRQ               
     UHDFKLQJ                                        UHFRPPHQG
                                          
     UHDFWLRQV                                      
                                                 
     UHDG                                        
                               5HFDOOHG        
                                              
                UHDG\             UHFDOOLQJ       
                                            
            UHDO       UHDVRQDEOH                UHFRPPHQ
                                            
             UHDOLVWLF                  UHFHLYH         
                                            
               UHDOLW\                          
                                            
               UHDOL]H                             
                          UHDVRQV                    
                UHDOL]HG                            UHFRPPHQ
                                                
               UHDOO\                            
                          UHDVVLJQ               
                                      
                                         
                                     UHFHLYHG        
                      UHEXW               
                          UHEXWWDO                  
                                          
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                                           
            UHFUXLWLQJ                       
                                            
     UHFRPPHQGHG     UHFUXLWPHQW     5HIHUUDOV                 
                                             
                      UHIHUUHG                   
                                            
                                           
               UHGDFWHG                           UHODWLQJ
     UHFRPPHQ                                    
                                               
               5HGGLW               UHJDUGOHVV       
                5HGLUHFW                            
                         UHIHUULQJ                  
                UHGXFH                         UHODWLRQ
     UHFRPPHQGV                                      
               UHHQIRUFHV              UHJDUGV        UHODWLRQ
                                             
               UHIDPLOL               UHJLRQV         
                                              
     UHFRUG     UHIHU                 UHJLVWHUHG     UHODWLRQ
                                            
                                    UHJUHVVLRQ      
                                             UHODWLYH
                                 UHJUHW          
                                             
            UHIHUHQFH                 UHJXODU        UHODWLYHO\
                                                
                              UHJXODWRU\      
                      UHIHUV               
                             5HLQKDUGW       
                                      
                                           UHOHDVH
                                 UHLQLWLD     
            UHIHUHQFHG                           
                                UHMHFW    UHOHDVHG
                             UHMHFWLQJ       
                                           
                          UHIOHFW         UHMHFWLRQ       
            UHIHUHQFHV                         5HOHDVLQJ
                                       
                        UHIOHFWHG                UHOHYDQFH
                                          
             UHIHUHQFLQJ     UHIOHFWLQJ                 
                               UHODWH    UHOHYDQW
                        UHIUHVK         UHODWHG          
     UHFRUGLQJ                                       
                                               UHOLDELOLW\
     UHFRUGV               UHJDUG            
                                               
     UHFUXLWHG                                     
                   UHJDUGLQJ               
                                       UHOLDEOH
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                                         UHSUHVHQ
                                         
     UHOLDEO\                                       UHSULQW
                                               
     UHOLHG                                    UHSURGXFLQJ
                                               
                                                UHSURGXF
                                          
                UHSHDWHG                        UHSURGXF
     UHORFDWH                                   
               UHSHDWHGO\                      UHSXWDWLRQ
     UHO\                                     
                UHSKUDVH                         
                                             
     UHPDLQ                         UHSRUWHU     
                UHSOLFDWLRQ                      UHTXLUH
                                         
               UHSRUW                          
     UHPDLQLQJ                         UHSRUWLQJ       
                                              
                                             
     UHPDLQV                              
     UHPHG\                                 
     UHPHPEHU                                     
                                   UHSRUWV        UHTXLUHG
                                          
                                         
                                               
                                         
                                             
                                             UHTXLUHPHQW
     UHPLQG                                 
                                         
     UHPLQGHU                                 
                                        
     UHPRWHO\                                  
                                    UHTXLUHP
     UHPRYH                                
                                       
     UHQGHU                                 
     UHQGHUHG                               UHTXLUHV
                                              
     UHQGHULQJ                                  
                                              UHTXLULQJ
     UHQGHUV                           UHSUHVHQW       
                                             UHUHDG 
     UHQRXQFH                                        UHVHDUFK
                                             
     UHSHDW                             
                                          
                             UHSUHVHQ     
                        UHSRUWHG                   
                                               
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                        UHYHUVH                   
                                    UHYLVHG         
               UHVSRQVHV                            
                                          
                               ULJKW      
               UHVSRQVL                     ULJRURXV
                                          
             UHVSRQVLEOH     UHYHUVHG                   
                                               ULVLQJ
                                           
                                           
                UHVW                             ULVN 
     UHVHDUFKHG                 UHYHUVLE               
                                                
     UHVHDUFKHUV     UHVWDWH         UHYHUVLEOH                 
                                        
                UHVXOW                      
                                           
                                             
                         UHYHUVLQJ                 
                                           ULVNV 
                        UHYHUW                 
     UHVHPEOH                                        
                UHVXOWLQJ       UHYHUWV                    
     UHVLGHQF\                                     
                       UHYLHZ                
              UHVXOWV                          
                                        
     5HVLJQDWLRQ                                 
                                        
     UHVLOLHQFH                                 
                                               
     UHVLOLHQW                                       
                                          
     UHVSHFW                                     
                                            
            UHWDLQHG                            5RDG 
     UHVSHFWHG              UHYLHZHG                 5REHUW 
                                             
                UHWURVSH                    5REHUWD 
                                            
                                            
                                                 
     UHVSHFWLYH                                 5REHUWR 
                 UHWURVSH     UHYLHZHU                   
     UHVSRQGHQW                                 UREXVW
               UHWXUQ     UHYLHZLQJ                  
     UHVSRQGHQWV                                    UROH 
                                        
              UHWXUQLQJ                          
     UHVSRQVH                  UHYLHZV                
               UHYHDOV                               
                                              
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                   6         6DUJHQW V              
           6                           
                    VDZ                
               6DELQH                         
               VDERWDJH               VFDOHV     
                                             
             6DEUD             6FDQGLQD     
               6DEULQD                          
                          VD\LQJ     VFHQDULR        
                VDG                           
               VDIH                       
                                            
     URRI                         VFHQDULRV       
     URRP                                       
                6DIHU                VFKRODUO\       
                                          
                                  VFKRRO      
     URRPV      6DIHU V                         
     URXJK                                    
               VDIHW\                           
     URXJKO\                               
     URXQGV                                
     URXWLQH                    VD\V              VFRSLQJ
                                         
     5R\DO                               VFRUH 
                                        VFRUHV 
                               VFKRROV        6FRWW 
                                           6FRWWVGDOH
                                    VFLHQFH         
     UXEEHU          VDNH                           VFUHHQ
                                              
     UXEULF                          VFLHQWLILF     VFUHHQLQJV
     UXOH                                       
                                             VFUROO
            VDODU\                          
               VDPHDJHG                            
                                             VFUROOHG
     UXOHV        VDPSOH                          
                                               VHDOLQJ 
                                         VHDUFK
                               VFLHQWLI     
                                         VHDUFKLQJ
                                           
                              VFLHQWLVW      VHDVRQ
     UXQ                                         
                               VFRSH    VHFRQG 
     UXVK       VDPSOLQJ                              
     UXVKHG                                   
                                          
                                        
     5\DQ                  VFDOH                
               6DQ                             
                                            
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                                            
                                  VHOHFW    VHSDUDWLRQ
                                   6HOHFWHG        
                                            VHULHV 
                              VHOHFWLRQ       
                                           
                                               VHULRXV
     VHFRQGDU\                                       
                       VHHN      VHOI     
                           VHHNLQJ                    
                                            
     VHFUHWLRQ                              
                                     
     VHFWLRQ                                 VHUYH 
                                         
                                         
                       VHHQ                   
                                        
                                              
     VHFWLRQDO                                    
                                  VHOIUHSRUW    VHUYHG 
                                           
                                     VHOIUHS     
     VHH                                    VHUYLFH 
                                6HOLQ        
                                        
                                     VHQVH      
                                            
                                    
                                        
                                                 
                                        6HUYLFHV
                                           
                                            
                                           
                                            
                             VHQVLWLYH      6HUYLFHV
                                             
                                     VHQWHQFH       VHUYLQJ
                                          
                                           VHVVLRQ
                                              
                                             VHVVLRQV
                                               
                                           VHW 
                                   VHQWHQFHV        
                                            
                VHHLQJ                           
                               VHSDUDWH        
                                      
                                                
                                    VHSDUDWHO\      
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                          6KRDOV      VKRZV      
                          VKRUW       6KXPDQ     VLU 
     VHWV                          6KXPHU         VLVWHUV
                                            
     VHYHQ                            VLF      VLW 
                                 VLGH      VLWH 
                                               VLWWLQJ
                                          
                                               
               VH[VHJU                          
     VHYHQ\H                 6KRUWWHUP      VLJQLILF     
               VH[LVP                      VLWXDWLRQ
     6HYHQW\                VKRW                  
                 VH[XDO     VKRZ                 
     VHYHULW\                                   
                                  VLJQLILFDQW     
     VH[                                      
                                              
                                                VL[ 
                                        
                                            
                                          
                                            
                                            
                             VLJQLILF     
                                        
                                              
                                    VLJQLQJ     
                                  VLJQV      
                                     VLOHQFH         
                VH[XDOLW\                        VL[WK 
                                          VL]H 
                                 VLPLODU         
                                         VNHZHG 
               VH[XDOO\                            
                                                
                                          
                                 VLPLODUO\       
               VKDGRZ                               
                                     VLPSOH         VNHZLQJ
           VKDSH                          
               VKDUH                VLPSOLVWLF     VNLOOV 
                                     
                                                
                               VLPSO\    VNLSSLQJ
                                   VLQJOH     
                                               
                                          VODVK 
               VKDUHG     VKRZHG                
               VKHHW        VKRZLQJ                   VOHHS 
                                        6OLFHU 
            VKLIW     VKRZQ              VOLJKWO\
                                 VLQJXODU        
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     6ORZHU                                     
                                              
     VPDOO                                   
                                   VSHDNLQJ        
     VPDOOHU                                      
                                            
     VQRZEDOO                                      
                                           
     VRFLDO                                   
                          VRUW                 
                                               
                                           
                                             
                      VRXJKW          VSHDNV     
                                          
                       VRXQGV                
                               VSHFLDO         
               6RFLHW\ V                            
                                               
                                    VSHFLDOLVW      
                         VRXUFH                 
            VROYLQJ                              
                       VRXUFHV         VSHFLDOLVWV     
                                              
             VRPHERG\                VSHFLDOL]HG     
                                              
                                 VSHFLDOW\       
                                            
                VRPHRQH V                 VSHFLILF        
                         VRXUFLQJ               
     VRFLDOO\                                    
                VRRQ      6RXWKHUQ             
             VRUU\                              
                       VSDFHV                
                   VSHDN             
                                      
                                            
                                        
                                        
                                           
                                            
                                            
     VRFLHWDO                                    
                                                
                                               
     VRFLHWLHV                                      
                                               
     VRFLHW\                                   
                                           
                                           
                                         VSHFLILF
                                             
                                         
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                                            
            VSHFXODWLRQ                          
                                    VWDUWV          
                VSHQG     VWDJLQJ                   
                                              
               VSHQGLQJ        VWDPS     VWDWH     
                         VWDQGDUG               
                                           VWDWHPHQWV
               VSHQW                         
               VSHUP                      
                                            
               VSOLW                        
                VSRNHQ                             
                          VWDQGDUG               
                VSRUW                          VWDWHV 
                      VWDQGDUGV                  
               VSRUWV                         
                                             
                                      
                                        
                                                
                                            
                                 
                                             
                                         VWDWLF 
                                           VWDWLQJ
                                  VWDWHG     
                                         
                                        VWDWLVWLFDO
                                                
               VSXUWV                          
                6UXWL                            
                                               
     VSHFLILFLW\     VWDELOLW\       VWDQGLQJ        VWDWHPHQW       
                                           
     VSHFLILFV       VWDEOH     VWDQGV                 
            VWDJH                            
                        VWDUW                VWDWLVWL
                                               
                                          
                                      
                                              
                       VWDUWHG                
                                    VWDWXV 
                                             
                                              VWDWXWH
                                        
                                             VWD\HG
                                              
               VWDJHV     VWDUWLQJ                 6WHHQVPD 
                                        
                                             
     VSHFWUXP                                       
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                                         
               VWURQJ                           
                                           
                                              VWXG\ V
                                         
     VWHHU     VWURQJHU                      
     6WHOOD                            VWXG\LQJ
     VWHPPLQJ                                    
                VWURQJHVW                     6WXWOHU 
     VWHSV                                
                                         VXEMHFW
     6WHSWRH                                
     VWHULOLW\       VWURQJO\                           
                                        
     VWHULOL]LQJ                               VXEMHFWHG
               VWUXFWXUH                          
     VWLJPD                                       
                                          VXEMHFWLYH
                                     
                                              
                                             
     VWLPXODWLQJ                                   VXEMHFWV
               VWUXFWXUHG                           
     VWLSHQG                VWXG\              
     VWLSXODWHG                                    
              VWUXJJOLQJ                      
                                          VXEMHFWV
     6WRFN      VWXGHQW                            
     VWRS                                   VXEPLWWHG
                                             
             VWXGHQWV                         VXEVHTXHQW
                                         
                                         6XEVHTXH
               VWXGLHG                           
                                           VXEVHW 
     VWRSSHG                                     VXEVHWV
                                      
     6WRSV     VWXGLHV                         VXEVWDQFH
     VWRU\                             
     6WUHHW                                        
                                       
                                        VXEWKUHV
     VWUHQJWK                                
                                     VXIIHU 
     VWUHQJWKV                                  VXIIHUHG
                                           
     VWUHVVRUV                                    
                                          
     VWULNH                                     
                                        VXIIHULQJ
     VWULNLQJ                                    
                                           VXIIHUV
     VWULYH                               
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     VXIILFLHQW      6XSHULQW                        
                             VXUJHU\         
     VXJJHVW         6XSHULQW                       
                                             6ZHGLVK
                                        
                                                
               VXSHUVFULSW               VXUJLFDO       VZLPPHU
                                           
               VXSSO\                         VZLPPHUV
                                            
                VXSSRUW               VXUJLQJ        VZLPPLQJ
     VXJJHVWLQJ                               
                                  VXUPLVH         
                       VXUH                 
                                  VXUURXQGLQJ     
     VXJJHVWV                                       VZRUQ 
                                               
                               VXUYH\     V\PSWRPV
                                             
                                            
     6XLFLGDO                                 
                                        
     VXLFLGDOLW\                             V\QRQ\P
                                         
                                          V\QRQ\PV
               VXSSRUWHG                          
                                            V\VWHP 
     VXLFLGH                                  
                                          V\VWHPDWLF
            VXSSRUWLQJ                      
                                               
                                        
                                           
           VXSSRVLWLRQ                        V\VWHPLF
                                             
                                    VXUYH\ V       V\VWHPV 
                                            
                                   VXUYH\HG        
                                
                VXSSRVLW               VXUYH\V              7
                                           7 
            VXSSUHVV                   6XVDQ        
                                             
               VXSSUHVVLRQ                          
     6XLWH                             6ZDPLQDWKDQ    WDE 
                                            
     VXPPDUL]H                                   
                                                 
     VXPPDUL]HV                                  
                                               
     VXPPDU\                    VXUJHULHV       VZHDU       
                                     6ZHGHQ           
     VXPPHU                                      
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                                       
                                              
                                 WDS       
                              WDVN     WHHQ V 
                                          
                                     WDVNHG    WHHQDJH
                                 7DYLVWRFN       
                      WDNHV                WHHQDJHU
                       WDON                 
                                            WHHQV 
               WDEOHV                    WHDP       
                                               
                WDLORUHG                            WHOO 
                                             
                                               
               WDNH                             
                                             
                                              
                                            
                          WDONHG                 
                                            
                                              
                                          WHOOLQJ 
                           WDONLQJ               
                                          WHQ 
                                             
                                             
                                           
                                            
                                           
                                          
                                          
                                 WHDPPDWHV      WHQGV 
                                        WHUP 
                                             
                                                 
                                   WHDPV        
                                                 
                                        
                      WDONV               
                        7DQQHU              
                                           
                                         
                                           
                                      
                                           
                                     WHFKQLTXHV      
                                            
                                           
                                   7HFKQRORJ\     WHUPLQRORJ\
               WDNHQ                            
                                  WHHQ       
     WDEOH                                  
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                        WKHRU\                
                       WKHUDSHXWLF                 
                                                 
                                   WKLQJV      
                                           
                          WKHUDSLVW                   
                                            
                          WKHUDSLVWV                 
                                                
                                              
               WHVWLQJ                                
                                             
                          WKHUDS\                     
               WHVWRVWH                          
                                             
     WHUPV                                       
                                             
                                             
                                             
                                 WKLQN       
                                            
                                        
                                      
                                           
                                          
     WHUULEOH                                     
                                     
     WHVW                                  
                                         
                                             
     WHVWDEOH        WHVWV                            
                                                
     WHVWHG          WH[W                      
                                        
                                      
                                                
                                            
     WHVWLILHG       WKDQN                            
                                         
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     WHVWLI\                                      
             7KDQNIXOO\                           
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     WHVWLPRQLHV     7KDQNV                       
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     WHVWLPRQ\       7KDWV                           
              WKHRUHWLFDO     WKLQJ               
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                                              
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     WKLQNLQJ                                     
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     WKLUG                                  
                                            WUDFNHG
                                                
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     7KRPDV                                          
                                       WUDFNLQJ
                                             
                                              WUDLQHG
                                               
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     7KRPDV                                 WUDLQLQJ
                                              
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     WKRURXJK                                      
               WKUHHTX               WRRO        
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               7KXUVGD\                      
               7LN7RN                         
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               WLPH                            
                                              
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                                            
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     WKRXJKW                                 
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     WKRXJKWV                                    
                       WLPHIUDPH                WUDQVFULSW
                                            
     WKRXVDQG                                   
                                           WUDQVFUL
     WKRXVDQGV                                        
                      WLPHV              WUDQVIHU
                                  7RUGRII      
     WKUHH                                   WUDQVJHQGHU
                                   7RUR        
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                                           
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                                         
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                          WUDQVODWH                  
                                         
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                                              
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                WUDQVLWLRQ      WUDQVSKRELD               
                                            
                       WUDQVSRV           WUHPHQGRXV
                                           
                      WUDQVVH[                 WUHQG 
                                               
                      WUDXPD                 
                              WUHDWPHQW      WULDO 
                                          
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                                      
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                                          WULDOV 
                                             
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                      WUDXPDV                   
                                       
                         WUDXPDWLF                  
                                           
                         7UDYLV            WULHV 
                                       WURXEOH
               WUDQVLWL                          
                                      WUXH 
                                             
                                           
                     WUHDW              
                                              
                                               
                WUDQVLWL                          
                                        
                           WUHDWHG                    
                                               
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                                  W\SLFDO         
     WUXVW                              XQFHUWDLQW\
     WUXWK                                      
     WU\                                    8QFKDQJLQJ
                                         
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     WU\LQJ                                        
                                               XQFRQVFL
              7XPEOHU                              
                                           XQGHUJR
               7XUEDQ                           
                                              
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                                          
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                                             XQGHUJRQH
                                           
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                                        
                                         XQGHUPLQG
               7XUEDQ V                             
                                W\SR     XQGHUPLQHV
                                    7<521      
                                               XQGHUVLJQHG
               WXUQ                            
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                                        8          
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                                               
                                    8KKXK          
                      WZRWKLUGV                 
            7ZHQW\ILYH                           
                        W\SH        8KXK     
               WZLFH                 8.      
                                    8OVRQ      
               7ZLWWHU                   XOWLPDWHO\      
                                             
             WZR                             
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                                          
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                         8QLYHUVLW\                 
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                                           YDOLGDWHG
                                                
                          XQNQRZQ                
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                                                
                          XQRIILFLDO              YDOLGLW\
                                               
                          XQUHDOLVWLF               
                                             
                        XQUHDVRQ              YDOXDEOH
                                                
                                            YDOXH 
                                          
                                     
               XQGHUVWDQGV                        
     XQGHUVWD                XQULQJ                    
            XQGHUVWRRG                    YDQ 
                      XQVDIH               
                       XQVFLHQW                
                                 XVHIXO     
            XQGHUWDNH       XQVXUH                
                       XSGDWH             9DQGHQEX
             XQGHUZHQW       XSGDWHG         XVHV        
                                                
                XQGXH      XSV                 YDULDELOLW\
               XQHWKLFDO       XSVHW                 
                                   863$7+         YDULDEOH
                                              
                    XSZDUGV     8676       
             XQH[SHFWHG                          9DULDQW
                          85/                   
                XQIDLU                 XWLOLW\         
                       XVH                  YDULHV 
                8QIRUWXQ                XWLOL]H        YDULHW\
                                            
               8QLRQ                   XWLOL]HG       YDULRXV 
             8QLWHG                             
                                 XWLOL]LQJ        
                                                
                              8WUHFKW         
                                         
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                XQLYHUVDO                      9         YDU\ 
                                    YDJXHO\        YDVW 
                                              
                                    9DOHULD     
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                       9ULHV                 
     YHULILFD                          ZDQWHG      
                                               
     YHULI\      9,'(27$3('                          
                                             
                                    ZDQWLQJ         
     YHUVLRQ         YLHZ       YV                     
                                        ZDQWV     
     YHUVXV                       :         ZDUUDQWHG       
                           :                 ZD\V 
                      ZDLW        :DVKLQJWRQ      
                                            
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                                         
                YLHZHG          ZDLYHG      ZDVQ W          
                      ZDON                
                         :DOO        ZDWFKLQJ       ZH UH 
     9LFH        YLHZSRLQW       ZDQW                    
                                            
     YLGHR      YLHZV                 ZDYH        
            YLJRURXV                              
                                         
                YLRODWH                          
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                                         
                                            
                                            
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                                            
             9LUWXDOO\                        ZH YH 
                                              
                YLVLEOH                              
                                          
                YLVLW                         ZHDNHQ 
                                         ZHDNHQHG
               YLVLWV                          
               YLWDO                      ZHDULQJ
     9,'(27$3(       YRLFH                          
                                             :HEE 
                                           ZHEVLWH 
               YRLFHV                          
                                               
            YROXPH                          
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                                             
             :LONLQVRQ                           
     ZHEVLWHV                                
                                       
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                                             
                                           
     ZHHN                                        
                                                
     ZHLJK                                  
     ZHLJKLQJ                                  
                                              
                                           
     ZHLJKWHG                                      
                                           
     ZHOFRPH                                         
                                           
     ZHOOEHLQJ      ZLQ                         
                ZLQV                            
               ZLVKHV                             
     ZHOOEHLQJ                                   
                ZLWQHVV                         
     ZHQW                                   
                                          
                                              
     :HVW                                         
                                            
                                   
                                        
                                        
                                          
                                            
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                                         
                                                
                                        
                                            
                                       
                                         
                                              
     ZKDWVRHYHU                                   
                                            
     ZKLWH                                   
                                           
                                             
                                              
     ZKROO\                                       
                                          
     ZLGH                              
     ZLGHO\                                
                                          
                                          
                                              
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                                           
                                               
                                            
                          ZRUULHG         ZURQJ      
                                               
                   ZRUVH                 
                                             
               ZRUGV     :RUWK                  
                           ZRXOGQ W                  
                                          
                ZRUN              ZURWH     
                                     :9     
                                           
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                                               <KXWR 
                                         ;        \LHOGHG
                                 ;      
                                    ;<        <RUN 
                                            
                                                 
               ZRUNHG                      <         
                                 <DOH       
                      :3$7+      \HDK       \RXQJ 
     ZRPDQ                                  
     ZRPDQ V         ZRUNHUV                            
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                                               
               ZRUNLQJ                      
     ZRPHQ V                                     
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                           ZULWH                 
                                              
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                                           \RXQJHU
              ZRUNV                           
                                   \HDU        
                                          \RXWK 
               ZRUOG        ZULWHV                 
     ZRQGHUHG                                     
                       ZULWLQJ                 
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                                               
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                                          
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                                      
                                     
                                    
     &9                               
                                          
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                                          
     VRPHW                          
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                                           
                                            
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  1                   IN THE UNITED STATES DISTRICT COURT
  2                FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
  3                            CHARLESTON DIVISION
  4
  5      B.P.J. BY HER NEXT FRIEND AND     )
         MOTHER, HEATHER JACKSON,          )
  6                                        )
                     PLAINTIFF,            )
  7                                        ) CIVIL ACTION NO.
                VS.                        ) 2:21-cv-00316
  8                                        )
         WEST VIRGINIA STATE BOARD OF      )
  9      EDUCATION, HARRISON COUNTY BOARD )
         OF EDUCATION, WEST VIRGINIA       )
10       SECONDARY SCHOOL ACTIVITIES       )
         COMMISSION, W. CLAYTON BURCH IN   )
11       HIS OFFICIAL CAPACITY AS STATE    )
         SUPERINTENDENT, DORA STUTLER IN   )
12       HER OFFICIAL CAPACITY AS HARRISON )
         COUNTY SUPERINTENDENT, AND THE    )
13       STATE OF WEST VIRGINIA,,          )
                                           )
14                   DEFENDANTS,           )
                                           )
15              AND                        )
                                           )
16       LAINEY ARMISTEAD,                 )
                                           )
17                  DEFENDANT-INTERVENOR.  )
         _________________________________ )
18
19                VIDEOTAPED REMOTE ZOOM 30(b)(6) DEPOSITION
20           WEST VIRGINIA SECONDARY SCHOOL ACTIVITIES COMMISSION
21                              BERNARD DOLAN
22                        FRIDAY, FEBRUARY 11, 2022
23
24       JOB NO. 5079532
25       REPORTED BY: DAYNA HESTER, C.S.R. 9970

                                                                     Page 1

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      1   VIDEOTAPED REMOTE ZOOM 30(B)(6) DEPOSITION OF WEST                 1 APPEARANCES OF COUNSEL (CONTINUED):
      2   VIRGINIA SECONDARY SCHOOL ACTIVITIES COMMISSION BERNARD            2 FOR DEFENDANT WEST VIRGINIA SECONDARY SCHOOL ACTIVITIES
                                                                               COMMISSION:
      3   DOLAN, TAKEN ON BEHALF OF PLAINTIFF B.P.J., BY HER NEXT
                                                                             3
      4   FRIEND AND MOTHER, HEATHER JACKSON, AT 12:18 P.M., EASTERN             SHUMAN MCCUSKEY SLICER PLLC
      5   STANDARD TIME, FRIDAY, FEBRUARY 11, 2022, WITH THE WITNESS         4   BY: ROBERTA F. GREEN, ESQ.
      6   (PHYSICALLY PRESENT WITH COUNSEL), COURT REPORTER, AND                    (PRESENT VIA ZOOM VIDEOCONFERENCE WITH WITNESS)
      7   VIDEOGRAPHER APPEARING REMOTELY VIA ZOOM VIDEOCONFERENCE,          5   BY: KIMBERLY M. BANDY, ESQ.
                                                                                    (PRESENT VIA ZOOM VIDEOCONFERENCE)
      8   BEFORE DAYNA HESTER, C.S.R. NO. 9970.
                                                                             6   1411 VIRGINIA STREET EAST, SUITE 200
      9                                                                          CHARLESTON, WEST VIRGINIA 25301
     10   APPEARANCES OF COUNSEL:                                            7   (304) 345-1400
     11   FOR PLAINTIFF B.P.J., BY HER NEXT FRIEND AND MOTHER,                   RGREEN@SHUMANLAW.COM
          HEATHER JACKSON:                                                   8   KBANDY@SHUMANLAW.COM
                                                                             9
     12
                                                                               FOR DEFENDANT WEST VIRGINIA STATE BOARD OF EDUCATION,
            COOLEY, LLP                                                     10 W. CLAYTON BURCH IN HIS OFFICIAL CAPACITY AS STATE
     13     BY: KATELYN KANG, ESQ.                                             SUPERINTENDENT:
               (PRESENT VIA ZOOM VIDEOCONFERENCE)                           11
     14     BY: VALERIA M. PELET DEL TORO, ESQ.                                  BAILEY & SLOTNICK P.L.L.C.
               (PRESENT VIA ZOOM VIDEOCONFERENCE)                           12   BY: KELLY C. MORGAN, ESQ.
                                                                                    (PRESENT VIA ZOOM VIDEOCONFERENCE)
     15     55 HUDSON YARDS
                                                                            13   BY: KRISTEN V. HAMMOND, OF COUNSEL
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     16     (212) 479-6849                                                  14   500 VIRGINIA STREET EAST, SUITE 600
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     17     VPELETDELTORO@COOLEY.COM                                        15   (304) 720-0711
                                                                                 KMORGAN@BAILEYWYANT.COM
     18     COOLEY, LLP
                                                                            16   KHAMMOND@BAILEYWYANT.COM
            BY: KATHLEEN R. HARTNETT, ESQ.                                  17
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            BY: JULIE VEROFF, ESQ.                                          18
     20        (PRESENT VIA ZOOM VIDEOCONFERENCE)                                OFFICE OF THE WEST VIRGINIA ATTORNEY GENERAL
                                                                            19   BY: CURTIS CAPEHART, DEPUTY ATTORNEY GENERAL
            BY: ZOË HELSTROM, ESQ.
                                                                                    (PRESENT VIA ZOOM VIDEOCONFERENCE)
     21        (PRESENT VIA ZOOM VIDEOCONFERENCE)                           20   BY: JESSECA RENEE CHURCH, DEPUTY ATTORNEY GENERAL
            3 EMBARCADERO CENTER, 20TH FLOOR                                     1900 KANAWHA BOULEVARD EAST
     22     SAN FRANCISCO, CALIFORNIA 94111-4004                            21   CHARLESTON, WEST VIRIGINIA 25305
            (415) 693-2000                                                       (304) 558-2021
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     23     KHARTNETT@COOLEY.COM
                                                                                 JESSECA.R.CHURCH@WVAGO.GOV
            JVEROFF@COOLEY.COM                                              23
     24     ZHELSTROM@COOLEY.COM                                            24
     25     -- APPEARANCES CONTINUED ON NEXT PAGE --                        25   -- APPEARANCES CONTINUED ON NEXT PAGE --
                                                                   Page 2                                                                Page 4
      1 APPEARANCES OF COUNSEL (CONTINUED):                                  1 APPEARANCES OF COUNSEL (CONTINUED):
      2 PLAINTIFF B.P.J., BY HER NEXT FRIEND AND MOTHER, HEATHER             2 FOR DEFENDANT HARRISON COUNTY BOARD OF EDUCATION, DORA
        JACKSON (CONT'D):                                                      STUTLER IN HER OFFICIAL CAPACITY AS HARRISON COUNTY
      3                                                                      3 SUPERINTENDENT:
          COOLEY, LLP                                                        4   STEPTOE & JOHNSON PLLC
      4   BY: ANDREW BARR, ESQ.                                                  BY: JEFFREY M. CROPP, OF COUNSEL
             (PRESENT VIA ZOOM VIDEOCONFERENCE)                              5      (PRESENT VIA ZOOM VIDEOCONFERENCE)
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      7                                                                      8
      8   AMERICAN CIVIL LIBERTIES UNION FOUNDATION                            FOR DEFENDANT-INTERVENOR LAINEY ARMISTEAD:
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      9      (PRESENT VIA ZOOM VIDEOCONFERENCE)                                  ALLIANCE DEFENDING FREEDOM
          125 BROAD STREET                                                  10   BY: JONATHAN SCRUGGS, SENIOR COUNSEL
     10   NEW YORK, NEW YORK 10004                                                  (PRESENT VIA ZOOM VIDEOCONFERENCE)
          (212) 549-2569                                                    11   BY: HAL FRAMPTON, SENIOR COUNSEL
     11   JBLOCK@ACLU.ORG                                                           (PRESENT VIA ZOOM VIDEOCONFERENCE)
     12   AMERICAN CIVIL LIBERTIES UNION OF WEST VIRGINIA                   12   BY: CATIE BYRD KELLEY, LEGAL COUNSEL
          FOUNDATION                                                                (PRESENT VIA ZOOM VIDEOCONFERENCE)
     13   BY: NICHOLAS WARD, STAFF ATTORNEY                                 13   BY: CHRISTIANA HOLCOMB, LEGAL COUNSEL
             (PRESENT VIA ZOOM VIDEOCONFERENCE)                                     (PRESENT VIA ZOOM VIDEOCONFERENCE)
     14   BY: LOREE STARK, LEGAL DIRECTOR                                   14   15100 NORTH 90TH STREET
             (PRESENT VIA ZOOM VIDEOCONFERENCE)                                  SCOTTSDALE, ARIZONA 85260
     15   P.O. BOX 3952                                                     15   (480) 444-0020
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     16   (914) 393-4614                                                    16   HFRAMPTON@ADFLEGAL.ORG
          NWARD@ACLUWV.ORG                                                       CKELLEY@ADFLEGAL.ORG
     17   LSTARK@ACLUWV.ORG                                                 17   HOLCOMB@ADFLEGAL.ORG
     18                                                                     18
          LAMBDA LEGAL                                                           LAW OFFICES OF TIMOTHY D. DUCAR, P.L.C
     19   BY: SRUTI SWAMINATHAN, STAFF ATTORNEY                             19   BY: TIMOTHY DANIEL DUCAR, ESQ.
             YOUTH NATIONAL HEADQUARTERS                                            (PRESENT VIA ZOOM VIDEOCONFERENCE)
     20      (PRESENT VIA ZOOM VIDEOCONFERENCE)                             20   9280 EAST RAINTREE DRIVE, SUITE 104
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          (212) 809-8585                                                         ORDERS@AZLAWYERS.COM
     22   SWAMINATHAN@LAMBDALEGAL.ORG                                       22
     23                                                                     23
     24                                                                     24
     25   -- APPEARANCES CONTINUED ON NEXT PAGE --                          25   -- APPEARANCES CONTINUED ON NEXT PAGE --
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      1 APPEARANCES (CONTINUED):                                1       E X H I B I T S (CONTINUED)
      2 ALSO PRESENT:                                           2 EXHIBIT NO. PAGE DESCRIPTION
      3   HEATHER HUTCHENS, GENERAL COUNSEL                     3 EXHIBIT 9    140 FILE TITLED
          WEST VIRGINIA DEPARTMENT OF EDUCATION                              "EXHIBIT 0009 - TAB 01.PDF"
      4   (PRESENT VIA ZOOM VIDEOCONFERENCE)                    4
      5   MICHELE BLATT, DEPUTY SUPERINTENDENT                    EXHIBIT 10 142 FILE TITLED
                                                                5            "EXHIBIT 0010 - TAB 06.PDF"
          WEST VIRGINIA DEPARTMENT OF EDUCATION
                                                                6 EXHIBIT 11 146 FILE TITLED
      6   (PRESENT VIA ZOOM VIDEOCONFERENCE)
                                                                             "EXHIBIT 0011 - TAB 03.PDF"
      7   SHAWNA HYNES, VIDEOGRAPHER                            7
          (PRESENT VIA ZOOM VIDEOCONFERENCE)                      EXHIBIT 12 148 FILE TITLED
      8                                                         8            "EXHIBIT 0012 - TAB 04.PDF"
          LINDSAY DUPHILY, VERITEXT CONCIERGE                   9 EXHIBIT 13 151 FILE TITLED
      9   (PRESENT VIA ZOOM VIDEOCONFERENCE)                                 "EXHIBIT 0013 - TAB 17.PDF"
     10                                                        10
     11                                                           EXHIBIT 14 152 FILE TITLED
     12                                                        11            "EXHIBIT 0014 - TAB 08.PDF"
     13                                                        12
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     21                                                        21
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     23                                                        23
     24                                                        24
     25                                                        25
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      1            INDEX                                        1          ZOOM VIDEOCONFERENCE DEPOSITION
      2 DEPONENT        EXAMINATION           PAGE
      3 BERNARD DOLAN                                           2           FRIDAY, FEBRUARY 11, 2022
      4           BY MS. KANG         14                        3         12:18 P.M. EASTERN STANDARD TIME
      5           BY MR. CROPP        158
      6
                                                                4
      7                                                         5          THE VIDEOGRAPHER: Good afternoon.
      8   QUESTIONS INSTRUCTED BY COUNSEL NOT TO ANSWER         6          We are going on the record at 12:18 p.m. 12:18
      9            (NONE.)
     10                                                         7   EST on February 11th, 2022.                      12:18
                  EXHIBITS                                      8          Please note that the microphones may pick 12:18
     11
        EXHIBIT NO. PAGE DESCRIPTION
                                                                9   up background noise, private conversations, and         12:18
     12                                                        10   interference if unmuted.                      12:18
        EXHIBIT 1   18   FILE TITLED                           11          When muted remember to unmute to speak on 12:18
     13            "EXHIBIT 0001 - TAB 14.PDF"
     14 EXHIBIT 2   33   FILE TITLED                           12   the record.                             12:18
                   "EXHIBIT 0002 - TAB 19.PDF"                 13          Audio and video recording will continue to 12:18
     15
        EXHIBIT 3   47   FILE TITLED
                                                               14   take place unless all parties agree to go off the 12:18
     16            "EXHIBIT 0003 - TAB 09.PDF"                 15   record.                                12:18
     17 EXHIBIT 4   91   FILE TITLED                           16          This is Media Unit 1 of the video-recorded 12:18
                   "EXHIBIT 0004 - TAB 11.PDF"
     18                                                        17   deposition of 30(b)(6) witness Bernie Dolan taken by 12:19
        EXHIBIT 5   103 FILE TITLED                            18   counsel for plaintiff in the matter of B.P.J., by 12:19
     19            "EXHIBIT 0005 - TAB 18.PDF"
     20 EXHIBIT 6   121 FILE TITLED
                                                               19   her next friend and mother, Heather Jackson, versus 12:19
                   "EXHIBIT 0006 - TAB 15.PDF"                 20   West Virginia State Board of Education, et al.,       12:19
     21                                                        21   filed in the United States District Court for the 12:19
        EXHIBIT 7   126 FILE TITLED
     22            "EXHIBIT 0007 - TAB .02.PDF"                22   Southern District of West Virginia, Charleston         12:19
     23 EXHIBIT 8   128 FILE TITLED                            23   Division. Case Number 2:21-cv-00316.                  12:19
                   "EXHIBIT 0008 - TAB 07.PDF"
     24
                                                               24          This deposition is being conducted via       12:19
     25     -- EXHIBITS CONTINUED ON NEXT PAGE --              25   Veritext Virtual Zoom technology and all parties are 12:19
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      1   attending remotely.                          12:19             1          MS. GREEN: This is Roberta Green, Shuman                12:21
      2          My name is Shawna Hynes from the firm            12:19 2     McCuskey & Slicer. I'm here on behalf of WVSSAC.                 12:21
      3   Veritext Legal Solutions, and I am the videographer. 12:19 3              And here with me today is our deponent            12:22
      4          The court reporter is Dayna Hester from       12:19     4    30(b)(6) witness Bernie Dolan.                   12:22
      5   the firm Veritext Legal Solutions.                12:20        5          MS. BANDY: Hello.                         12:22
      6          I am not related to any party in this     12:20         6          This is Kimberly Bandy also on behalf of          12:22
      7   action, nor am I financially interested in the      12:20      7    West Virginia SSAC.                           12:22
      8   outcome.                                 12:20                 8          MS. MORGAN: This is Kelly Morgan on                   12:22
      9          Counsel present and everyone attending        12:20     9    behalf of the West Virginia State Board of Education 12:22
     10   remotely will state their appearances and           12:20     10    and Superintendent Burch.                       12:22
     11   affiliations for the record.                 12:20            11          I have with me as well general counsel          12:22
     12          If there are any objections to proceeding, 12:20       12    Heather Hutchens and Deputy Superintendent Michelle              12:22
     13   please state them at the time of your appearance       12:20 13     Blatt as our representative.                  12:22
     14   beginning with the noticing attorney.              12:20      14          MR. CAPEHEART: This is Curtis Capeheart                 12:22
     15          MS. KANG: Hi.                          12:20           15    the West Virginia Attorney General's office on           12:22
     16          My name is Katelyn Kang. I'm an attorney 12:20 16            behalf of the defendant State of West Virginia.         12:22
     17   at the law firm of Cooley LLP, and I'm here on          12:20 17          Also with me in my office is another          12:22
     18   behalf of the plaintiff.                    12:20             18    individual from the office, Jesseca Church.           12:22
     19          And I'll let my co-counsel introduce        12:20      19          MR. CROPP: My name is Jeffrey Cropp. I'm 12:22
     20   themselves.                               12:20               20    with Steptoe & Johnson. We represent defendants              12:22
     21          MS. HARTNETT: Hi.                         12:20        21    Harrison County Board of Education and                  12:22
     22          This is Kathleen Hartnett from Cooley LLP 12:20 22           Superintendent Dora Stutler.                    12:22
     23   for plaintiff.                          12:20                 23          MS. HAMMOND: Hi.                            12:23
     24          MR. BARR: Good afternoon.                   12:20      24          This is Kristen Hammond. I'm also on            12:23
     25          This is Andrew Barr from Cooley LLP on          12:20 25     behalf of the West Virginia State Board of Education 12:23
                                                              Page 10                                                                 Page 12

      1   behalf of plaintiff.                      12:20                 1 and Superintendent Burch.                         12:23
      2          MS. VEROFF: Hello.                      12:20            2         MR. SCRUGGS: All right. I think that             12:23
      3          This is Julie Veroff from Cooley LP on       12:20       3 leaves us as intervenor.                      12:23
      4   behalf of plaintiff.                      12:20                 4         Jonathan Scruggs on behalf of the             12:23
      5          MS. STARK: Hi.                        12:20              5 Intervenor with Alliance Defending Freedom.                   12:23
      6          This is Loree Stark with the American       12:20        6         And also attending today on behalf of the       12:23
      7   Civil Liberties Union of West Virginia on behalf of 12:21       7 intervenor is my -- let me get my list here -- Catie 12:23
      8   plaintiff.                             12:21                    8 Kelly, Christiana Holcomb, Hal Frampton, and                  12:23
      9          MR. WARD: Hi.                         12:21              9 Timothy Ducar.                                12:23
     10          Nicholas Ward, ACLU West Virginia, on           12:21   10         And that is it.                   12:23
     11   behalf of plaintiff.                      12:21                11         THE VIDEOGRAPHER: Thank you.                          12:23
     12          MS. HELSTROM: Hi.                        12:21          12         If that's everybody, will the court       12:23
     13          This is Zoë Helstrom from Cooley LLP on         12:21   13 reporter please swear in the witness.                 12:23
     14   behalf of plaintiff.                      12:21                14         THE REPORTER: Okay. And because it is a                 12:23
     15          MS. PELET DEL TORO: Hi.                      12:21      15 federal case, I do have a read-on. One second.            12:23
     16          This is Valeria Pelet del Toro from Cooley 12:21        16         My name is Dayna Hester. This statement            13:08
     17   LLP on behalf of plaintiff.                   12:21            17 is to acknowledge my obligations pursuant to Federal 13:08
     18          MS. GREEN: Hi.                        12:21             18 Rules of Civil Procedure.                       13:08
     19          Am I too soon?                      12:21               19         Rule 30(b), Subsection 5(a). My business          13:08
     20          MR. BLOCK: Hi.                        12:21             20 address is 707 Wilshire Boulevard, Los Angeles,               13:08
     21          This is Josh Block from ACLU on behalf of 12:21         21 California. The videographer has stated the              13:08
     22   plaintiff.                             12:21                   22 additional required information.
     23          MS. SWAMINATHAN: And hi.                       12:21    23         Rule 30(b), Subsection 5(c). Upon
     24          This is Sruti Swaminathan from Lambda          12:21    24 completion of the deposition, if there is a
     25   Legal on behalf of plaintiff.                 12:21            25 stipulation about the custody of the transcript or
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      1   other pertinent matters, I will recite such                              1        Because the court reporter is taking down       12:26
      2   stipulation(s). Additionally, the videographer will                      2 what we say on the record, I'll do my best to avoid       12:26
      3   read-off when the deposition concludes.                                  3 talking over you and to avoid talking at the same        12:26
      4          So with this being said, I will now swear                         4 time as you.                             12:26
      5   in the witness.                                                          5        And then, finally, I'm going to try to do   12:26
      6          Mr. Dolan, please, raise your right hand.                         6 a break every hour or so -- but if at any point you      12:26
      7          THE WITNESS: [Witness did as requested].                          7 need a break, we'll finish up whatever question we        12:26
      8          THE REPORTER: Do you affirm the testimony                         8 are on, and we can take a break whenever you feel          12:26
      9   you are about to give in the cause now pending will                      9 comfortable.                             12:26
     10   be the truth, the whole truth, and nothing but the                      10        Does that sound fair?                12:26
     11   truth?                                 12:24                            11     A. Yes, ma'am.                         12:26
     12          THE WITNESS: I do.                      12:24                    12     Q. Have you ever had your deposition taken           12:26
     13          THE REPORTER: Thank you.                    12:24                13 before?                                12:26
     14                                                                           14     A. Yes.                            12:26
     15               BERNARD DOLAN                                               15     Q. When was it?                        12:26
     16         having been first duly sworn, was                                 16     A. Two years ago, I believe.                 12:26
     17         examined and testified as follows:                                17     Q. What was it about?                      12:26
     18                                                                           18     A. A herpes case in wrestling.               12:26
     19             EXAMINATION                    12:25        19     Q. So were you testifying on behalf of the    12:26
     20   BY MS. KANG:                            12:25         20 WVSSAC?                                  12:26
     21      Q. Hi. Good afternoon, Mr. Dolan. How are 12:25 21        A. Yes, ma'am.                      12:26
     22   you?                             12:25                22     Q. And going forward if I say the          12:26
     23      A. Good. How are you?                 12:25        23 "Commission" instead of the "WVSSAC," would that be 12:26
     24      Q. Doing well.                    12:25            24 all right with you?                     12:26
     25        Thank you so much for spending your Friday 12:25 25     A. That is fine.                  12:26
                                                                        Page 14                                                                       Page 16

      1 afternoon with us.                          12:25                          1       Q. So you mentioned it's a herpes case. Can 12:26
      2        Before we get started, would you please        12:25                2   you tell me whether you testified on behalf of the 12:27
      3 state and spell your name for the record.             12:25                3   W- -- of the Commission or was it in your personal 12:27
      4     A. Bernard, B-E-R-N-A-R-D; Dolan, D-O-L-A-N.                12:25      4   capacity?                              12:27
      5     Q. Mr. Dolan, before we get started, we have        12:25              5       A. I believe it was on behalf of the        12:27
      6 some housekeeping items. So the oath you just took            12:25        6   Commission, but I'm -- I wouldn't -- I'm not sure. 12:27
      7 is the same oath you would take if you were             12:25              7       Q. Have you ever -- have you ever had your        12:27
      8 testifying in a courtroom. So what that means is        12:25              8   deposition taken other than this time?           12:27
      9 you must testify truthfully and not leave out any       12:25              9       A. Not that I recall.                 12:27
     10 important facts.                          12:25                           10       Q. Have you ever testified at trial?        12:27
     11        Is there any reason you cannot testify        12:25                11       A. Yes.                            12:27
     12 truthfully today?                           12:25                         12       Q. When was this?                       12:27
     13     A. No.                             12:25                              13       A. Couple years -- I would say probably three 12:27
     14     Q. Please give verbal answers to any of my          12:25             14   or four years ago.                        12:27
     15 questions. Nodding or shaking your head cannot,              12:25        15       Q. What was it about?                    12:27
     16 unfortunately, be captured by the court reporter.       12:25             16       A. A golf ruling in a championship.          12:27
     17 So the answer you just gave was perfect.              12:25               17       Q. And so were you also testifying on behalf 12:27
     18        If you don't understand the question,         12:25                18   of the Commission?                           12:27
     19 please let me know, and I'm happy to try to rephrase 12:25                19       A. Yes, ma'am.                        12:27
     20 it or make it clear for you. If you answer, I will     12:25              20       Q. Did you bring anything with you today?        12:27
     21 assume you understood. Is that fair?                 12:25                21       A. Just a bottle of water.              12:27
     22     A. Yes.                            12:25                              22       Q. Good.                            12:27
     23     Q. And just to be clear, when I ask questions 12:25                   23          And do you understand that you are here to 12:27
     24 I am not seeking communications that you had with             12:26       24   respond to a 30(b)(6) deposition notice?           12:28
     25 your attorney.                           12:26                            25       A. Yes.                            12:28
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      1      Q. Do you know what a 30(b)(6) deposition -- 12:28 1                  A. Not necessary for that one.              12:30
      2   deposition notice is?                         12:28              2       Q. And just to clarify, you didn't talk to    12:30
      3      A. Yes.                                12:28                  3   anyone other than your attorney?                  12:30
      4      Q. Have you had a chance to review the              12:28     4       A. No.                             12:30
      5   deposition notice?                            12:28              5       Q. For Topic 3, what did you do to prepare       12:30
      6      A. Yes.                                12:28                  6   for Topic 3?                             12:30
      7      Q. So in that deposition notice, there were a 12:28           7       A. Looked at our handbook, rules and            12:30
      8   number of topics.                             12:28              8   regulations handbook.                         12:30
      9          Are you familiar with each of the topics 12:28            9       Q. Did you review any other document?             12:30
     10   described in that notice?                      12:28            10       A. No.                             12:30
     11      A. Yes.                                12:28                 11       Q. Did you consult with anyone other than         12:30
     12      Q. So if you go into your Marked Exhibits            12:28   12   your attorney?                            12:30
     13   folder, I'm going to introduce to you a document          12:28 13       A. No.                             12:30
     14   that's been marked as Exhibit 1.                   12:28        14       Q. And is there any reason you cannot give        12:30
     15          (Deposition Exhibit 1 was marked for           12:28     15   full and complete answers on behalf of the           12:30
     16          identification and is attached hereto.)      12:28       16   Commission for that topic?                      12:30
     17   BY MS. KANG:                                    12:28           17       A. No.                             12:30
     18      Q. Let me know when you have had a chance to 12:28 18                 Q. For Topic 4, what did you do to prepare       12:31
     19   pull that up.                              12:28                19   for it?                              12:31
     20      A. Okay. Exhibit 1, the deposition notice. 12:28             20       A. Rules and regulations handbook.             12:31
     21      Q. That's correct.                        12:28              21       Q. Did you review anything else?              12:31
     22          And I'm going to ask you to scroll down to 12:28         22       A. No.                             12:31
     23   Page 6 of Exhibit A. I believe it's Page 7 of the 12:28         23       Q. Did you consult with anyone other than         12:31
     24   actual pdf, if that's helpful, or Page 6.          12:29        24   your attorney?                            12:31
     25      A. Yes. Okay.                             12:29              25       A. No.                             12:31
                                                               Page 18                                                              Page 20

      1      Q. Great.                            12:29                   1       Q. And is there any reason you cannot give       12:31
      2         So I'm going to go through each of the       12:29        2    full and complete answers on behalf of the         12:31
      3   topics and just ask you a few questions about them. 12:29       3    Commission for Topic 4?                       12:31
      4         So for Topic 1, what did you do to prepare 12:29          4       A. No.                            12:31
      5   for Topic 1?                             12:29                  5       Q. For Topic 5, what did you do to prepare      12:31
      6      A. Looked at our organization.                12:29          6    for that?                            12:31
      7      Q. Did you review any documents?                 12:29       7       A. Looked at our rules and regulations and      12:31
      8      A. Our rules and regulations.               12:29            8    probably researched my email.                  12:31
      9      Q. And by looked at your organization, did         12:29     9       Q. Can you clarify for me what you mean by        12:31
     10   you mean --                               12:29                10    researched your email?                      12:31
     11      A. Review --                           12:29                11       A. Just search the email to make sure I       12:31
     12      Q. -- look at your -- sorry. Go ahead.         12:29        12    didn't have any communication with the plaintiffs. 12:31
     13      A. Just -- there's a part of our rules and    12:29         13       Q. Did you consult with anyone other than        12:31
     14   regulations that has a history of the organization. 12:29      14    your attorney for Topic 5?                   12:32
     15      Q. Got it.                           12:29                  15       A. No.                            12:32
     16         Is there any reason you can't give full     12:29        16       Q. And is there any reason you cannot give       12:32
     17   and complete testimony on Topic 1?                  12:29      17    full and complete answers on behalf of the         12:32
     18      A. No.                              12:29                   18    Commission?                              12:32
     19      Q. When preparing for Topic 1, did you            12:30     19       A. No.                            12:32
     20   consult with anyone other than your attorney?          12:30   20       Q. Sorry. I know these questions are         12:32
     21      A. No.                              12:30                   21    repetitive, but I do appreciate it.          12:32
     22      Q. Moving on to Topic 2, same question. What 12:30          22           For Topic 6, what did you do to prepare    12:32
     23   did you do to prepare for Topic 2?                12:30        23    for Topic 6?                           12:32
     24      A. Probably just discuss with my attorney.        12:30     24       A. Researched -- or looked through my emails 12:32
     25      Q. And did you review any documents?               12:30    25    as well as text messages.                  12:32
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      1     Q. Did you review any documents?                     12:32                1     Q. Did you consult anyone other than your            12:34
      2     A. Not really. Just -- I'm sorry.             12:32                       2 attorney?                                12:34
      3           Our transgender policy or our Board           12:32                 3     A. No.                               12:34
      4 policy. That was all.                           12:32                         4     Q. Is there any reason you cannot give full        12:34
      5     Q. Did you review any of the emails or text           12:32               5 and complete answers on behalf of the Commission?               12:34
      6 messages that you searched for?                     12:32                     6     A. No.                               12:34
      7     A. I probably would have read them for -- to           12:32              7     Q. All right. We're almost there.              12:34
      8 determine whether there was any substance to them,              12:32         8           For Topic 10, what did you do to prepare      12:34
      9 yes.                                    12:33                                 9 for it?                               12:34
     10     Q. Did you consult with anyone other than              12:33             10     A. Reviewed the rules and regulations              12:34
     11 your attorney for Topic 6?                        12:33                      11 handbook.                                 12:35
     12     A. No.                               12:33                               12     Q. Did you review anything else?                  12:35
     13     Q. And is there any reason you cannot give             12:33             13     A. No.                               12:35
     14 full and complete answers on behalf of the                12:33              14     Q. Did you -- did you consult anyone other          12:35
     15 Commission for Topic 6?                            12:33                     15 than your attorney?                           12:35
     16     A. No.                               12:33                               16     A. No.                               12:35
     17     Q. For Topic 7, what did you do to prepare            12:33              17     Q. Is there any reason you cannot give full        12:35
     18 for it?                                 12:33                                18 and complete answers on behalf of the Commission?               12:35
     19     A. Looked at our rules and regulations              12:33                19     A. No.                               12:35
     20 handbook.                                 12:33                              20     Q. For Topic 11, what did you do to prepare            12:35
     21     Q. Did you review any documents other than              12:33            21 for it?                               12:35
     22 the rules and regulations handbook?                     12:33                22     A. Reviewed the rules and regulations              12:35
     23     A. No.                               12:33                               23 handbook as well as the Board policy on transgender. 12:35
     24     Q. Did you consult with anyone other than              12:33             24     Q. Did you review anything else?                  12:35
     25 your attorney about Topic 7?                       12:33                     25     A. No.                               12:35
                                                                           Page 22                                                                         Page 24

      1       A. No.                          12:33                                   1     Q. Did you consult with anyone other than           12:35
      2       Q. And is there any reason you cannot give     12:33                    2 your attorney?                             12:35
      3   full and complete answers on behalf of the        12:33                     3     A. No.                               12:35
      4   Commission?                              12:33                              4     Q. Is there any reason you cannot give full        12:35
      5       A. No.                          12:33                                   5 and complete answers on behalf of the Commission?               12:35
      6       Q. For Topic 8, what did you do to prepare    12:33                     6     A. No.                               12:35
      7   for Topic 8?                           12:33                                7     Q. For Topic 12, what did you do to prepare            12:35
      8       A. Reviewed text messages and emails          12:33                     8 for it?                               12:35
      9   concerning House Bill 3293.                   12:34                         9     A. Reviewed the rules and regulations              12:36
     10       Q. Did you review anything else?           12:34                       10 handbook.                                 12:36
     11       A. No.                          12:34                                  11     Q. Did you review anything else?                  12:36
     12       Q. Did you consult with anyone other than      12:34                   12     A. No.                               12:36
     13   your attorney?                          12:34                              13     Q. Did you consult with anyone other than           12:36
     14       A. No.                          12:34                                  14 your attorney?                             12:36
     15       Q. And is there any reason you cannot give     12:34                   15     A. No.                               12:36
     16   full and complete answers on behalf of the        12:34                    16     Q. Is there any reason you can't give full        12:36
     17   Commission?                              12:34                             17 and complete answers on behalf of the Commission?               12:36
     18       A. No.                          12:34                                  18     A. No.                               12:36
     19       Q. For Topic 9, what did you do to prepare    12:34                    19     Q. For Topic 13, what did you do to prepare            12:36
     20   for Topic 9?                           12:34                               20 for it?                               12:36
     21       A. Reviewed the rules and regulations        12:34                     21     A. Read the rule -- read the House Bill 3293. 12:36
     22   handbook.                              12:34                               22     Q. Did you review anything else?                  12:36
     23       Q. Did you review anything other than the     12:34                    23     A. Just our rules and regulations.             12:36
     24   rules and regulations handbook?                12:34                       24     Q. Did you consult with anyone other than           12:36
     25       A. No.                          12:34                                  25 your attorney?                             12:36
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      1     A. No.                              12:36                                 1        A. No.                             12:39
      2     Q. And is there any reason you cannot give             12:36              2        Q. Did you discuss today's deposition with      12:39
      3 full and complete answers on behalf of the                12:36               3   anyone other than your attorney?                  12:39
      4 Commission?                                 12:36                             4        A. Just that I had it scheduled so people     12:39
      5     A. I -- I did consult -- I probably -- I had    12:37                     5   would know in the office not to send me calls.        12:39
      6 a communication with Melissa White from House                     12:37       6        Q. So other employees at -- at the          12:39
      7 Education. She had sent me documents -- or a                12:37             7   Commission; is that right?                     12:39
      8 document. So I would say I communicated with                  12:37           8        A. Yes, ma'am.                        12:39
      9 Melissa White about House Bill 3293.                      12:37               9        Q. Do you know who B.P.J. is?                12:39
     10     Q. Was this in preparation for this            12:37                     10        A. By name only, yes.                    12:39
     11 deposition?                               12:37                              11        Q. Do you know anything else about her?          12:39
     12     A. No. I'm sorry.                      12:37                             12           MS. GREEN: I'll just object to the form, 12:39
     13     Q. No need to apologize.                      12:37                      13   to the extent he knows things from me, from counsel. 12:39
     14        All right. Last -- last topic. What did     12:37                     14           THE WITNESS: I have -- only know what -- 12:39
     15 you do to prepare for Topic 14?                     12:37                    15   the documents that have been sent to me. I don't       12:39
     16     A. Primarily reviewed the rules and              12:37                   16   know anything firsthand about her.                 12:40
     17 regulations handbook and the transgender Board               12:37           17   BY MS. KANG:                                  12:40
     18 policy and look at emails and text messages.              12:37              18        Q. Do you agree that B.P.J. is a girl who is 12:40
     19     Q. Anything else?                       12:38                            19   transgender?                              12:40
     20     A. No.                              12:38                                20           MS. GREEN: I'll object to the form. And 12:40
     21     Q. Did you consult with anyone other than              12:38             21   I'll just object outside the scope.            12:40
     22 your attorney?                             12:38                             22           THE WITNESS: It's been presented to me         12:40
     23     A. No.                              12:38                                23   that way.                               12:40
     24     Q. Is there any reason you cannot give full         12:38                24   BY MS. KANG:                                  12:40
     25 and complete answers on behalf of the Commission?                 12:38      25        Q. Are you aware that B.P.J. ran            12:40
                                                                           Page 26                                                             Page 28

      1     A. No.                              12:38                                 1   cross-country on the girls' team at Bridgeport       12:40
      2     Q. So for some of these topics, you mentioned 12:38                       2   Middle School?                              12:40
      3 reviewing emails and documents. Do you know if                12:38           3      A. Yes.                             12:40
      4 those emails and documents have been produced to              12:38           4      Q. How did you become aware of that?              12:40
      5 Plaintiff?                              12:38                                 5      A. Through the court case.                  12:40
      6     A. They all have, yes.                   12:38                            6      Q. Have you ever spoken to B.P.J.?              12:40
      7     Q. All right. Thank you.                    12:38                         7      A. I have not.                        12:40
      8        MS. KANG: You can take down Exhibit 1.                12:38            8      Q. Have you ever spoken to B.P.J.'s parents? 12:40
      9 BY MS. KANG:                                    12:38                         9      A. No.                              12:40
     10     Q. Do you understand that you're testifying           12:38              10          MS. GREEN: And I'll just object to the       12:40
     11 about these topics in the deposition notice on            12:38              11   extent this is outside the scope.              12:40
     12 behalf of the Commission?                          12:38                     12   BY MS. KANG:                                  12:40
     13     A. Yes.                             12:38                                13      Q. Have you ever spoken to B.P.J.'s sibling? 12:40
     14     Q. So just to be clear, when I ask for your       12:38                  14      A. No.                              12:40
     15 position on something, I -- I'm asking for the            12:38              15      Q. Now, I want to just talk a little bit      12:40
     16 position of -- of the Commission unless I say             12:38              16   about your personal background to sort of better       12:41
     17 otherwise.                                12:38                              17   understand your selection as -- as the witness for 12:41
     18        You understand?                       12:38                           18   the 30(b)(6) deposition.                     12:41
     19     A. Yes, ma'am.                          12:38                            19          What is your position at the Commission? 12:41
     20     Q. In general, what did you do to prepare for 12:38                      20      A. I am the executive director.              12:41
     21 today's deposition?                         12:38                            21      Q. What are your responsibilities as           12:41
     22     A. Again, reviewed the rule -- the rules and          12:39              22   executive director?                         12:41
     23 regulations.                              12:39                              23      A. Generally oversee the organization, assign 12:41
     24     Q. Did you meet with anyone other than your             12:39            24   duties and evaluate staff, make decisions when         12:41
     25 attorney?                               12:39                                25   there's disagreement amongst schools.               12:41
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      1       Q. What sort of duties do you assign?            12:41        1   they come up before the Board to either appeal their 12:44
      2       A. Director of all the tournaments. So           12:41        2   discipline or appeal their ineligibility.        12:44
      3   each -- each assistant executive director is         12:41        3   BY MS. KANG:                                   12:44
      4   assigned multiple sports that they will oversee         12:41     4       Q. Do you report to anyone currently as the 12:44
      5   and -- and put on the tournaments.                  12:41         5   executive director?                          12:44
      6          I assign secretarial duties to the        12:41            6       A. I have ten Board members, yes.              12:44
      7   secretarial staff.                         12:41                  7       Q. Is that the same Board of Directors that 12:44
      8       Q. How many assistant executive directors do 12:42            8   you were just talking about?                    12:44
      9   you have?                                  12:42                  9       A. Yes, ma'am.                          12:44
     10       A. Three.                             12:42                  10       Q. Does anyone report to you?                 12:44
     11       Q. So I believe you said you make decisions 12:42            11       A. My eight other staff members report to me, 12:44
     12   when schools have disputes. Is that accurate?           12:42    12   yes.                                   12:44
     13       A. Yes, ma'am.                           12:42               13       Q. What are their titles?                 12:44
     14       Q. Can you tell me a little bit -- a little 12:42            14       A. Three of --                        12:44
     15   bit more about that.                          12:42              15          MS. GREEN: Object. Outside the scope.           12:44
     16          MS. GREEN: I'll just object. Outside the 12:42            16          And can I just have a continuing objection 12:44
     17   scope.                                  12:42                    17   for the outside scope, or you want be to keep         12:44
     18          THE WITNESS: If there is a difference           12:42     18   hopping in?                               12:44
     19   on -- opinion on eligibility of a student in one      12:42      19          MS. KANG: Yes. I'll grant you a             12:44
     20   school, one school may say they are eligible, one        12:42   20   continuing objection for outside the scope, Roberta. 12:44
     21   school may say they are ineligible. So we gather         12:42   21          MS. GREEN: Thank you. Thank you.                12:44
     22   the facts, and we'll make a determination.            12:42      22          THE WITNESS: There are three assistant          12:44
     23   BY MS. KANG:                                    12:42            23   executive directors, one events communication           12:44
     24       Q. And by "we," do you mean you as the              12:42    24   coordinator, one bookkeeper, and three secretaries. 12:44
     25   executive director or the Commission?                 12:42      25   ///
                                                                Page 30                                                                          Page 32

      1      A. The Commission.                         12:42           1       BY MS. KANG:                                    12:45
      2      Q. And who is --                        12:42              2          Q. Have you ever been employed by -- employed 12:45
      3      A. And I -- I'm sorry. Me as the executive 12:42           3       by the Attorney General's Office of the State of         12:45
      4   director for the Commission.                    12:42         4       West Virginia?                            12:45
      5      Q. Understood.                          12:42              5          A. No.                             12:45
      6          How long have you been the executive          12:42    6          Q. Have you ever been employed by the                 12:45
      7   director?                              12:43                  7       West Virginia House of Delegates?                   12:45
      8      A. Seven years.                        12:43               8          A. No.                             12:45
      9      Q. Have you held any other positions at the 12:43          9          Q. Have you ever been employed by the                 12:45
     10   Commission?                                12:43             10       West Virginia Senate?                           12:45
     11      A. No.                             12:43                  11          A. No.                             12:45
     12      Q. Do you --                          12:43               12          Q. Have you ever been employed by the                 12:45
     13      A. Pardon me. Wait a minute.                  12:43       13       Harrison County Board of Education?                     12:45
     14          I was on the Board of Directors at one      12:43     14          A. No.                             12:45
     15   point.                               12:43                   15          Q. Have you ever been employed by the                 12:45
     16      Q. And when was that?                       12:43         16       West Virginia State Board of Education?                  12:45
     17      A. That -- I believe it was 2012 to 2014.       12:43     17          A. No.                             12:45
     18      Q. What was your role when you were on the          12:43 18          Q. So I am going to introduce to you a           12:45
     19   Board of Directors?                         12:43            19       document that is going to be marked as Exhibit 2.          12:45
     20          MS. GREEN: Object to the form.              12:43     20             And I'll let you know when it should          12:45
     21          THE WITNESS: Approve -- approve the             12:43 21       appear in your Marked Exhibit folder.               12:45
     22   workings of the organization to proof financial       12:43 22              (Deposition Exhibit 2 was marked for              12:45
     23   reports, those things.                     12:43             23             identification and is attached hereto.)     12:45
     24          Also to hear appeals of students or       12:43       24       BY MS. KANG:                                    12:45
     25   coaches who have been -- who violated the rule and 12:43 25              Q. So if you go to your Marked Exhibit               12:45
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      1 folder, you should now see a document that's been             12:45            1     Q. What was your role as the athletic                12:48
      2 marked as Exhibit 2.                          12:45                            2 director?                                12:48
      3          Let me know when you see it.               12:46                      3     A. I was the athletic director at Wheeling            12:48
      4       A. Okay.                            12:46                                4 Park High School.                                12:48
      5       Q. So on Page 2 of Exhibit 2, you'll see a      12:46                    5         What was the question?                     12:48
      6 section entitled "Bernie Dolan," and this is -- I'll 12:46                     6     Q. Sure.                             12:48
      7 represent to you that this is a screenshot that I     12:46                    7         Could you tell me what some of your               12:48
      8 took from the Commission website on February 10th,              12:46          8 responsibilities were in that role?                 12:48
      9 2022. And in the bottom left corner you'll see the          12:46              9     A. I would oversee the coaches, do their              12:48
     10 URL stamp where I pulled it from the website.               12:46             10 evaluations, purchase equipment for each team, as                12:48
     11          And I'd just like to ask you a few         12:46                     11 well as coordinate transportation, and also make             12:48
     12 questions about your biography in -- on this page.          12:46             12 sure all eligibility information was submitted to           12:48
     13          Do you agree with what's written in the      12:46                   13 the Commission -- Commission as well as accurate.                 12:48
     14 paragraph on Page 2 of Exhibit 2 under "Bernie               12:46            14     Q. What is the state golf tournament?                12:49
     15 Dolan"?                                  12:46                                15     A. State championship for golf.                 12:49
     16          MS. MORGAN: Counsel, this is Kelly                 12:46             16     Q. And what was your role there?                     12:49
     17 Morgan.                                   12:46                               17     A. The director.                        12:49
     18          I do not see an Exhibit 2 in the Egnyte.     12:46                   18     Q. What is OVAC?                              12:49
     19          MS. KANG: So if you're -- if anyone is        12:46                  19     A. It's the Ohio Valley Athletic Conference.           12:49
     20 having trouble accessing the Marked Exhibits, I             12:46             20 It was the conference that Wheeling Park was a               12:49
     21 recommend clicking on the folder again to refresh            12:46            21 member of, and still is, but it's the athletic       12:49
     22 it.                                   12:46                                   22 conference for the high schools.                    12:49
     23          Let me know if you continue to have          12:47                   23     Q. What was your role there?                    12:49
     24 problems.                                 12:47                               24     A. I served on executive Board a couple of             12:49
     25          THE WITNESS: I do -- I agree with what is 12:47        25 the years while I was the athletic director at                         12:49
                                                                Page 34                                                                                       Page 36

      1   written there.                           12:47                               1   Wheeling Park.                              12:49
      2   BY MS. KANG:                                   12:47                         2       Q. Finally, what is WVADA?                     12:49
      3      Q. Where did you work before your current            12:47                3       A. West Virginia Athletic Directors            12:49
      4   role at the Commission?                         12:47                        4   Association.                             12:49
      5      A. Ohio County Schools.                       12:47                       5       Q. What was your role there?                 12:49
      6      Q. How long did you work there?                  12:47                    6       A. I served on the executive Board -- or the 12:49
      7      A. 30 years.                          12:47                               7   Board of Directors for a couple of years while I was 12:49
      8      Q. Whoa.                               12:47                              8   the athletic director at Wheeling Park High School. 12:49
      9          Did you interact with any transgender         12:47                   9       Q. And do you yourself play sports?             12:50
     10   individuals in that role?                    12:47                          10       A. A little bit still.               12:50
     11      A. I did not.                         12:47                              11       Q. What sports do you play?                  12:50
     12      Q. When did you attend West Virginia               12:47                 12       A. Tennis a little bit. Basketball a little 12:50
     13   University?                               12:47                             13   bit. Pickleball.                         12:50
     14      A. I graduated in '85; so probably '81 to        12:47                   14       Q. Do you currently coach any sports?            12:50
     15   '85.                                  12:47                                 15       A. I do not.                        12:50
     16      Q. And when did you attend Salem                  12:47                  16       Q. Did you used to coach?                   12:50
     17   International University?                      12:47                        17       A. I did.                          12:50
     18      A. I would say '99 to 2000 or 2000 to 2001. 12:47                        18       Q. What did you coach?                     12:50
     19      Q. What is the Super Six?                    12:47                       19       A. 18 years I coached boys' and girls' track 12:50
     20      A. State football championship.                12:48                     20   at Wheeling Park High School;                     12:50
     21      Q. What was your role there?                   12:48                     21          12 as the head coach for both boys and        12:50
     22      A. I had a variety of roles starting out from 12:48                      22   girls;                                12:50
     23   assistant media director over the years to being the 12:48                  23          Assistant coach of football;            12:50
     24   director -- once I was the athletic director of      12:48                  24          And assistant coach of girls' basketball. 12:50
     25   Wheeling Park High School.                        12:48                     25       Q. Thank you.                          12:50
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      1        MS. KANG: You can take down Exhibit 2                   12:50             1     Q. And you said you stopped collecting dues            12:53
      2 now.                                    12:50                                    2 for 20 years; is that correct?                   12:53
      3 BY MS. KANG:                                       12:50                         3     A. Yes.                             12:53
      4     Q. So now I want to move into talking a                12:50                 4     Q. Why did the Commission stop collecting                12:53
      5 little bit more about the Commission and its                 12:50               5 dues?                                   12:53
      6 structure.                                 12:50                                 6     A. At that point, it was more trouble than it 12:53
      7        When was the Commission founded?                      12:50               7 was worth it. There wasn't that much money coming                12:53
      8     A. In 1916.                              12:50                               8 in from dues. It was before my time, though.              12:53
      9     Q. Why was it founded?                           12:51                       9     Q. Understood.                          12:53
     10     A. To primarily handle disputes between                  12:51              10          How many employees does the Commission                  12:53
     11 schools at that point, and they did provide              12:51                  11 have currently?                            12:53
     12 championship opportunities for schools.                    12:51                12     A. Nine.                             12:53
     13     Q. What sort of disputes between schools?                12:51              13     Q. Is there someone who is considered in              12:54
     14     A. As I said earlier, it could be              12:51                        14 charge of the Commission?                          12:54
     15 eligibility; it could have been breaking of             12:51                   15     A. I would assume -- I am the executive              12:54
     16 contracts; could be officials, you know -- who --             12:51             16 director. So I would be in charge. But I still          12:54
     17 what officials get assigned to games.                  12:51                    17 answer to my Board of Directors.                     12:54
     18        So there is quite a bit of conflict           12:51                      18     Q. So does the Commission have a relationship 12:54
     19 possible.                                  12:51                                19 with the State Board of Education in West Virginia?             12:54
     20     Q. How does the Commission define secondary                    12:51        20     A. We do have a relationship, number one. As 12:54
     21 sports?                                    12:51                                21 our rules are promulgated from our members, they                12:54
     22     A. Secondary sports, we are -- we oversee the 12:51                         22 will submit rules to be voted on by the membership            12:54
     23 sports that we currently have, which is -- a number            12:51            23 at our Board of Control.                         12:54
     24 of them.                                   12:52                                24          If at the Board of Control they pass by a      12:54
     25        But the -- what happens is, as the schools 12:52                         25 majority, then those rules get submitted to the           12:54
                                                                              Page 38                                                                         Page 40

      1 offer these sports as clubs, once there is enough            12:52               1 State Board of Education who would then put them out 12:54
      2 schools that offer the sports, then they would               12:52               2 for public comment.                             12:54
      3 petition us to recognize an additional sport. So we 12:52                        3          And they would have final vote on whether         12:54
      4 have, I believe, 19 championships at this point.             12:52               4 or not the rule becomes law. And if it does, they          12:54
      5     Q. What grades count as a secondary grade?                12:52              5 will submit that to the Secretary of State's office. 12:55
      6     A. 6th through 12.                         12:52                             6     Q. So just to clarify, who submits the rules         12:55
      7     Q. Do you know if Bridgeport Middle School                 12:52             7 to the Board of Control again?                     12:55
      8 qualifies as a secondary school?                      12:52                      8     A. Principals. We are a principals               12:55
      9     A. They are a member of our association. So               12:52              9 organization. So each principal has one vote in our 12:55
     10 yes.                                    12:52                                   10 membership.                                12:55
     11     Q. Can you tell me what is a member of                   12:52              11     Q. And are you the principal of your member              12:55
     12 your -- what does a member of your association mean? 12:52                      12 school?                                  12:55
     13     A. First of all, initially there was           12:52                        13     A. Yes, ma'am.                          12:55
     14 a initia- -- an initiation fee. And there were          12:52                   14     Q. Do you personally, as the executive               12:55
     15 dues. But we have not charged dues for 20 years.               12:52            15 director, work with the State Board of Education of           12:55
     16        To be a member, you just have to                12:53                    16 West Virginia?                              12:55
     17 provide -- you have to agree to follow all the rules 12:53                      17     A. Not directly.                       12:55
     18 and regulations as well as provide an opportunity              12:53            18          MS. GREEN: I'm sorry. Could -- I'm              12:55
     19 for a boy sport and a girl sport in each of the            12:53                19 sorry.                                 12:55
     20 seasons.                                   12:53                                20          Ms. Kang, would you repeat the question?          12:55
     21     Q. So each member school has to offer a boys' 12:53                         21          MS. KANG: Sure.                         12:55
     22 team or a girls' team for each support?                 12:53                   22 BY MS. KANG:                                     12:55
     23     A. Yes.                                12:53                                23     Q. Do you personally, as the executive               12:55
     24     Q. Is that right?                        12:53                              24 director, have a role or relationship with the State 12:55
     25     A. Yes. Yes.                             12:53                              25 Board of Education of West Virginia?                     12:55
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      1     A. I don't have a -- I mean, I have a working 12:55                        1 with a final answer.                           12:58
      2 relationship because we deal with same schools. But 12:55                      2       Q. What sort of information would you look              12:58
      3 as far as on a daily basis of any interaction, no -- 12:55                     3 at?                                    12:58
      4 other than they approve the rules.                  12:56                      4       A. Whether they -- when they enrolled at the           12:58
      5     Q. Does the Commission have a relationship               12:56             5 school, who they -- are they still living with their 12:58
      6 with the County Board of Education?                     12:56                  6 parents, same household, did they -- did they make a 12:58
      7     A. Not really. We are a principals               12:56                     7 bona fide move, and whether they have a 2.0 or not.             12:58
      8 organization. We do communicate with county boards. 12:56                      8 Things like that.                           12:58
      9 But our membership are the high schools.                 12:56                 9       Q. Anything else?                        12:58
     10     Q. What sort of communication --                  12:56                   10       A. Could be age. There's a number of rules            12:58
     11     A. And --                           12:56                                 11 for eligibility, but those are the biggest ones.        12:58
     12     Q. Oh, sorry.                           12:56                             12       Q. So if a student is deemed ineligible by        12:59
     13          What sort of communications would you have 12:56                     13 the Commission, is that student -- student               12:59
     14 with the County Board?                          12:56                         14 prohibited from playing?                            12:59
     15     A. Oftentimes we would -- if there is rules         12:56                 15       A. The student would be prohibited from               12:59
     16 or memos that we go out and send out, sometimes we              12:56         16 playing in a varsity or JV game. There's only a              12:59
     17 will send them to the County Boards of Education              12:56           17 limited exception as to when they would be able to             12:59
     18 that -- to keep them up to date on what is going on          12:56            18 even practice with the team. But for the most part, 12:59
     19 with the Commission.                            12:56                         19 if you're ineligible, you're ineligible for all        12:59
     20     Q. By "rules," do you mean the Commission's              12:56            20 activities for that team.                      12:59
     21 rules?                                12:56                                   21       Q. And I believe you mentioned that you have             12:59
     22     A. It could be -- yes, the Commission rules.        12:56                 22 286 member schools. Do you know if that includes                12:59
     23 Yep. Yes.                               12:57                                 23 all the schools -- secondary schools in                12:59
     24     Q. Does the Commission determine who can play 12:57                       24 West Virginia?                               12:59
     25 on a secondary school sports team?                    12:57                   25       A. It does not.                      12:59
                                                                            Page 42                                                                            Page 44

      1          MS. GREEN: Object to the form.                12:57                   1       Q. Do you know how many schools are not a                12:59
      2          THE WITNESS: When you say "Commission,"                    12:57      2 member school in West Virginia?                         12:59
      3 it's not the nine members here at the office.          12:57                   3       A. I do not.                        12:59
      4          The Commission, technically, is made up by 12:57                      4       Q. If the Commission finds a person is            12:59
      5 the 286 members. So they have voted in the rules,            12:57             5 ineligible, is there an appeal process?                12:59
      6 and they are required by law -- by the -- being a           12:57              6       A. Yes, there is.                     12:59
      7 member to follow those rules. So only when there is 12:57                      7       Q. Can you walk me through what that appeal              13:00
      8 a dispute do we intervene.                      12:57                          8 process looks like?                            13:00
      9 BY MS. KANG:                                    12:57                          9       A. They would -- I would send them a letter            13:00
     10     Q. So I'd ask who makes the initial              12:57                    10 telling them initially that they were determined             13:00
     11 determination of a student's eligibility?            12:57                    11 ineligible. If they would like a hearing in front           13:00
     12     A. That would be the school.                    12:57                     12 of our Board of Directors, then along with the               13:00
     13     Q. I believe you mentioned earlier the -- a         12:57                 13 level -- along with a letter of ineligibility, I       13:00
     14 dispute process. So the student -- or a student's       12:57                 14 would send the appeal papers that they would fill             13:00
     15 eligibility is disputed.                     12:57                            15 out and return to me.                          13:00
     16          Can you walk me through what would happen             12:57          16          And then within 30 days, I would bring             13:00
     17 there?                                12:57                                   17 them before our Board of Directors for them to make              13:00
     18     A. It could be a school sending -- if           12:57                     18 a decision to grant a waiver or not. And the Board             13:00
     19 Student A left School Number 1, went to School                12:58           19 can grant a waiver for rule fails to accomplish what 13:00
     20 Number 2, and didn't follow the normal transfer              12:58            20 it was intended for or there's a hardship on the            13:00
     21 procedures, School A might file a complaint to say,           12:58           21 student.                                 13:00
     22 "Hey, can you look at so-and-so because they never             12:58          22       Q. What sort of hardship would count?                 13:00
     23 sat out with School B, or Number 2."                  12:58                   23       A. It -- it's up to the Board of Directors.     13:00
     24          So we would intervene and get the            12:58                   24 So there is -- there's no marker that you have to           13:00
     25 information, work with the two schools, and come up             12:58     25 hit. So there's lots of different things that may           13:01
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      1   have come up.                            13:01                1             Is this the most recent version of the       13:04
      2      Q. Have you taken part in the appeal process 13:01         2       rules and regulations?                        13:04
      3   before?                               13:01                   3          A. Yes. There may be editorial changes               13:04
      4      A. When I was a member of the Board of           13:01     4       between then, but that's the most recent copy we           13:04
      5   Directors, yes.                         13:01                 5       have, yes.                             13:04
      6      Q. So is it the Board of Directors that makes 13:01        6          Q. So is it fair to say --              13:04
      7   the determination on the appeal?                13:01         7          A. For --                          13:04
      8      A. Yes.                            13:01                   8          Q. I'm sorry. Go ahead.                      13:04
      9      Q. Are you familiar with WVEIS, the             13:01      9          A. For the current year.                    13:04
     10   West Virginia Education Information System?            13:01 10          Q. So is it fair to say that this document        13:04
     11      A. Yes.                            13:01                  11       is -- is currently in effect?                13:04
     12      Q. Does the Commission have any control over 13:01 12                 A. Yes.                            13:04
     13   the information that goes into WVEIS?              13:01     13          Q. And just to be clear, is this the rules      13:04
     14      A. No. We have no access to that note.         13:01      14       and regulations handbook that you reviewed when                13:04
     15      Q. In West Virginia, to your knowledge, has a 13:01 15             preparing for this deposition?                   13:04
     16   college team ever competed against a middle school 13:0116               A. Yes.                            13:04
     17   team?                                13:02                   17          Q. Is the Commission required to follow these 13:04
     18      A. Has a college team ever competed against a 13:02 18             rules and regulations?                        13:04
     19   middle school?                           13:02               19          A. The Commission as well as all the member               13:04
     20      Q. That's correct.                    13:02               20       schools, yes.                           13:04
     21      A. It would be against our rule if they did. 13:02        21          Q. So I believe you might have mentioned it            13:04
     22   But no, not to my knowledge.                   13:02         22       earlier, but just to be clear, can you walk me          13:04
     23          MS. KANG: So I'm going to introduce a        13:02 23          through the rule-making process of the rules and           13:05
     24   document to you that's going to be marked as         13:02 24         regulations in this handbook?                     13:05
     25   Exhibit 3, and I'll let you know when folks can     13:02 25             A. Okay. Any principal can submit a rule             13:05
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      1   access it in their Marked Exhibit folder.            13:02        1   proposal. It has to be in by January 15th.             13:05
      2           (Deposition Exhibit 3 was marked for          13:02       2         This rule proposal would then be looked at 13:05
      3           identification and is attached hereto.)    13:02          3   by our constitution and bylaws committee. They                13:05
      4           MS. KANG: So Exhibit 3 should now be in 13:02 4               would make sure that it's legal and written             13:05
      5   everyone's Marked Exhibit folder. If you don't see 13:02 5            appropriate.                            13:05
      6   it, try clicking on the folder again to refresh it. 13:03         6         In the next week here, we'll be sending          13:05
      7   BY MS. KANG:                                    13:03             7   out those proposals, all of our rule proposal           13:05
      8        Q. Mr. Dolan, let me know when you're able to 13:03 8            changes out to our membership.                     13:05
      9   access Exhibit 3.                            13:03                9         We will meet in the -- the first week of        13:05
     10        A. Okay.                             13:03                  10   in April. And we will go over all of the rule           13:05
     11        Q. Do you recognize this document?               13:03      11   proposals, and we'll vote on them individually.           13:05
     12        A. It is our rules and regulations handbook. 13:03          12         If they pass by a majority, they'll move        13:05
     13   Yes.                                    13:03                    13   on to the State Board of Education, who puts them              13:05
     14        Q. Do you know who prepared this document?            13:03 14   out for comment. And then they will vote on them               13:05
     15        A. Over time it's -- you know -- you know,        13:03     15   whether or not they will move forward as part of our 13:06
     16   it's the charge of one of my secretaries to -- once 13:03        16   rule book.                             13:06
     17   rules are changed, to submit the changes. But we         13:03 17        Q. What do you mean by you make sure that the 13:06
     18   take care of that in -- in the office here.        13:03         18   proposed rule is legal?                       13:06
     19        Q. So is this a Commission that's responsible 13:03         19      A. Sometimes the way it's written may not be           13:06
     20   for the information in the rules and regulations       13:03     20   appropriate. You know, there just may be                 13:06
     21   handbook?                                   13:03                21   misspellings, misinterpretation. So any changes we             13:06
     22        A. Yes.                             13:03                   22   make would go back to the person who made it. We                13:06
     23        Q. So you'll notice that on the first page of 13:03         23   would re-read it and say, "Is this what your intent       13:06
     24   Exhibit 3 it says that this was revised and printed 13:04 24          was" to make sure it's written properly.               13:06
     25   August 2021.                                 13:04               25      Q. And just to be clear, who exactly votes on 13:06
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      1   the proposed rule in the Commission?                13:06                 1        Q. So it's Page 99 of the pdf. But I believe 13:10
      2       A. At our Board of Control, all 286 members 13:06                     2   it's Page 85 of the actual document.              13:10
      3   are eligible to vote. So if they come to our annual 13:06                 3        A. Okay.                           13:10
      4   meeting, we will discuss each item. And then the        13:07             4        Q. And just for future reference, when I -- 13:10
      5   next day we vote on every item that we have.          13:07               5   when I say Page 99 or Page 2, I'm referring the page 13:10
      6       Q. So it -- it would be the Board of Control 13:07                    6   of the pdf not the page numbers that may be written 13:10
      7   and any member school who participate in that           13:07             7   in the exhibit.                         13:10
      8   meeting that would vote on that rule?              13:07                  8          MS. GREEN: His assistant is slow. He has 13:10
      9       A. That is correct.                    13:07                          9   got a really slow assistant over here who is paging 13:10
     10       Q. Who amends these rules if they need           13:07               10   through a page at a time. We should be back in         13:10
     11   amendments?                                 13:07                        11   about two weeks.                           13:10
     12       A. Beforehand, it would be the constitution 13:07                    12          THE WITNESS: Is it the organizational          13:10
     13   and bylaws. There is a committee that we have           13:07            13   chart?                                13:10
     14   that -- made up of five principals.             13:07                    14   BY MS. KANG:                                  13:10
     15       Q. Who is responsible for enforcing these        13:07               15        Q. That's correct.                   13:10
     16   rules?                                13:07                              16        A. Okay. Yes. I am there.                 13:10
     17       A. All of the member schools plus the SSAC          13:07            17        Q. Do you recognize this organizational        13:10
     18   office itself.                          13:07                            18   chart?                                13:10
     19       Q. What happens if a member school doesn't         13:07             19        A. I do.                          13:11
     20   follow these rules?                         13:07                        20        Q. Do you believe that accurately reflects     13:11
     21       A. Either the coach, the administration, or 13:07                    21   the organizational structure of the Commission?         13:11
     22   the school itself could face any sort of penalty     13:07               22        A. Except for the State Board of Education, 13:11
     23   from a letter of warning to suspension or fine.      13:08               23   they only have oversight of our -- they have final 13:11
     24       Q. By "suspension," do you mean suspension          13:08            24   say of our rules. So that may be why they are         13:11
     25   from being a member school?                       13:08                  25   placed at the top.                        13:11
                                                                        Page 50                                                                          Page 52

      1     A. I don't know if we have ever suspended          13:08                1        The Board of Directors -- I'm not sure it        13:11
      2 anybody from being a member school, but it would be            13:08        2 accurately reflects our organization. But yeah.           13:11
      3 suspicion of games, maybe not able to participate in 13:08                  3     Q. Would --                           13:11
      4 championships.                            13:08                             4     A. The Board of Directors does not answer to           13:11
      5        But, to my knowledge, we have never            13:08                 5 the Board of Control, I guess.                    13:11
      6 suspended anybody from being a member.                     13:08            6     Q. So, I guess, where would you place the            13:11
      7     Q. Is it possible for the Commission to          13:08                  7 Board of Directors in the organizational chart to         13:11
      8 cancel a school's membership?                      13:08                    8 make it more accurate?                          13:11
      9     A. I'm not sure.                     13:08                              9     A. Well, I would probably and will probably           13:11
     10     Q. To your knowledge, has anyone ever              13:08               10 move State Board of Education, National Federation              13:11
     11 submitted a rule proposal about the participation of 13:08                 11 out of the chart, and Board of Directors would be at 13:11
     12 transgender students?                       13:08                          12 the top. Board of Control would be where the               13:11
     13     A. No.                            13:08                                13 National Federation is.                         13:12
     14     Q. So I'm going to be just walking you            13:09                14     Q. So is it fair to say that the Board of      13:12
     15 through a couple of excerpts in this exhibit. And       13:09              15 Directors is probably the one at the head of the          13:12
     16 it is quite long. So I'm only going to be pointing     13:09               16 organization?                             13:12
     17 to certain sections.                     13:09                             17     A. That is correct.                    13:12
     18        So with that said, as I am going through,      13:09                18     Q. I'm just going to ask you few questions           13:12
     19 if you want me to slow down or pause, or you want to 13:09                 19 about a couple of these -- of these entries on the        13:12
     20 read over something, just -- just let me know.         13:09               20 organizational chart.                       13:12
     21        So I'm going to ask you to turn to Page 99 13:09                    21        Can you tell me a little more about the       13:12
     22 of the pdf. In the bottom right-hand corner, it       13:09                22 State Board of Education's relationship with the           13:12
     23 will be stamped WVSSAC000216. And let me know                      13:09   23 Board of Control specifically.                    13:12
     24 whenever you happen to get there.                   13:09                  24     A. With the Board of Control, the State Board 13:12
     25     A. What page again?                       13:10                        25 of Education has final -- they will review and put         13:12
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      1   the rules out for comments by the general public,          13:12    1 ever promulgate or propose rules?                       13:15
      2   and they'll have the final say on the votes.           13:12        2      A. If they are one of the five principals         13:15
      3          That's probably the only relationship the 13:12              3 they can, yes.                              13:15
      4   State Board of Education has with the Board of             13:12    4      Q. Can you tell me a little bit more about           13:15
      5   Control.                                    13:13                   5 what your assistant executive directors do in              13:16
      6       Q. I know you touched a bit on this earlier, 13:13              6 relation to the rules in this handbook?                13:16
      7   but could you tell me a bit more about what the            13:13    7      A. Basically they -- they can help interpret         13:16
      8   Board of Control's role is in the Commission.             13:13     8 the rules between our member schools, if there is              13:16
      9       A. The Board of Control's charge is to vote 13:13               9 issues.                                  13:16
     10   for rule changes, either vote them up or down.            13:13    10         But they primarily are responsible for the 13:16
     11       Q. What do you mean by "vote them up or                13:13   11 championships in their particular sports. But they             13:16
     12   down"?                                       13:13                 12 can answer questions and interpretations on disputes 13:16
     13       A. When the -- they are put up for a vote,          13:13      13 of the rule book between schools.                      13:16
     14   whether it's to create a new rule or not, it's their 13:13         14      Q. By overseeing the championship, does that              13:16
     15   vote -- it's a majority of the Board of Control that 13:13         15 include issuing rules for the championship?                13:16
     16   is there that day for the vote.                   13:13            16      A. No. All of our playing rules are created          13:16
     17          It either passes or it fails. If it      13:13              17 by the National Federation. There are some times                13:16
     18   passes, it goes on to the State Board of Education. 13:13          18 that they have -- by state adoption that you can           13:16
     19       Q. Does the State Board ever promulgate rules 13:13            19 modify rules, but we follow the NFHS playing rules                13:16
     20   that the Commission has to follow?                    13:13        20 100 percent.                                13:17
     21       A. The State Board has a 2.0 policy that is 13:13              21      Q. So the --                          13:17
     22   in our rule book, but it never passed our Board of 13:14           22      A. Close a 100 percent. As close to a              13:17
     23   Control. It was -- it's a State Board of Education 13:14           23 100 percent as possible.                          13:17
     24   policy.                                    13:14                   24      Q. So does -- so the Commission does not have 13:17
     25       Q. Does the Commission have to follow that             13:14   25 any of its own rules in relation to championship?              13:17
                                                                  Page 54                                                                              Page 56

      1   2.0 rule?                                13:14                  1          A. No. There are rules in there that govern          13:17
      2      A. Yes. And all of our members.                 13:14        2       how many people are at the game; you know, how many                  13:17
      3      Q. Are you aware of any other rules from the 13:14           3       teams are at the game; where the game is going to be 13:17
      4   State Board of Education?                       13:14           4       held. All those things. The time. The place.            13:17
      5      A. Not really.                          13:14                5       Those are all determined by our Board of Directors.           13:17
      6      Q. What is the Board of Control's               13:14        6             And then they are given the charge to           13:17
      7   relationship with the directors, if any?           13:14        7       myself or my -- my assistants to run those              13:17
      8      A. Five of the Board of Directors are            13:14       8       championships on those days.                         13:17
      9   principals; so five of those principals would be       13:14    9          Q. What does the Sports Medicine Committee                 13:17
     10   members of the Board of Control. That's about            13:14 10       do?                                    13:17
     11   the -- the best relationship -- the only         13:14         11          A. They advise us in all of our rules and          13:17
     12   relationship they have.                       13:14            12       regulations that go in for each sport for safety.       13:18
     13      Q. What is the Board of Control's               13:14       13       For instance, concussion, heat illness, sudden           13:18
     14   relationship with the executive director?            13:14     14       cardiac arrest, whether we are making modifications            13:18
     15      A. None, really. I mean, the Board -- the         13:15     15       to practice schedules based on their -- their           13:18
     16   Board -- the five members of the Board of Directors 13:15 16            expertise.                               13:18
     17   that are principals represented an administrative      13:15 17               And so they will make recommendations to               13:18
     18   district. And so the Board -- the Board of           13:15     18       us for modifying sports to make it more safe.            13:18
     19   Directors answers to schools in their district. So 13:15       19          Q. So who makes up the Sports Medicine                 13:18
     20   that's the only indirect connection between myself 13:15 20             Committee?                                 13:18
     21   and the Board of Control.                      13:15           21          A. There's a variety of doctors and athletic         13:18
     22      Q. And there are ten Board of                 13:15         22       trainers. I believe there is -- I mean, there is a    13:18
     23   Directors members; is that right?                 13:15        23       number of them. At least 12. I'm not sure of the          13:18
     24      A. Yes, ma'am.                           13:15              24       exact number because they come off and on. But                13:18
     25      Q. Does any member of the Board of Directors 13:15 25                yeah. So they -- that's who makes it up is a            13:18
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      1 variety of medical personnel.                     13:18                       1   about previous.                            13:35
      2      Q. And do they report to you?                 13:19                      2       Q. All right. So I'm going to have a similar 13:35
      3      A. They would make recommendations to me to                 13:19        3   set of questions next. So just diving a little bit 13:35
      4 give to the Board of Directors if we happen to have         13:19             4   more into the Commission's role at -- role in         13:35
      5 changes about -- sport-specific things, practice,         13:19               5   sports.                                13:35
      6 things like that. Things that are not in the rule        13:19                6          Can you tell me -- I know you mentioned         13:35
      7 book, but they are modifications or rules that they        13:19              7   some earlier -- what factors are currently used to 13:36
      8 would apply.                              13:19                               8   determine a student's eligibility?               13:36
      9         Heat illness is a big example. They are         13:19                 9       A. Number one is do they live with their -- 13:36
     10 providing recommendations on how long a practice is, 13:19                   10   are they enrolled in the school;                13:36
     11 what you are allowed to do at a practice, and things 13:19                   11          Number two, do they live with their         13:36
     12 like that.                             13:19                                 12   parents;                                13:36
     13      Q. Do you happen to know if anyone from the            13:19            13          Number three, do they reside in the         13:36
     14 West Virginia Legislature spoke with anyone from the 13:19                   14   district where their school is;                13:36
     15 Sports Medicine Committee before H.B. 3293 was                   13:19       15          What's -- what's their age as of         13:36
     16 passed?                                 13:19                                16   August 1st of the -- that current year;           13:36
     17      A. Not that I know of.                     13:19                        17          Are they playing on any other teams          13:36
     18         MS. KANG: So I think now might be a good                13:19        18   outside the school team.                       13:36
     19 time for a five- to ten-minute break, just let you        13:19              19          Those are the majority -- and do they have 13:36
     20 stretch your legs a little bit.                 13:20                        20   a 2.0.                                 13:36
     21         THE WITNESS: Okay.                          13:20                    21          Those are the majority of the eligibility 13:36
     22         MS. KANG: Roberta, are you all right with 13:20                      22   reasons that somebody might not be eligible for a       13:36
     23 that?                                 13:20                                  23   period of time.                           13:36
     24         MS. GREEN: Yes. I think it's a good              13:20               24       Q. If I could just put a pin in that.       13:36
     25 time.                                  13:20                                 25          So a student could be ineligible for a     13:36
                                                                           Page 58                                                                              Page 60

      1         MS. KANG: All right. So why don't we --            13:20              1 certain period of time and then gain eligibility?             13:36
      2 why don't we take a break until about 1:30.               13:20               2      A. Yes.                                  13:37
      3         THE WITNESS: Okay.                          13:20                     3      Q. And the factors that are used to determine 13:37
      4         THE VIDEOGRAPHER: This marks the end of                    13:20      4 a student's eligibility -- are those the rules and        13:37
      5 Media Number 1. Going off the record. The time is               13:20         5 regulations in the handbook plus the rules                    13:37
      6 1:20.                                  13:20                                  6 promulgated by the State Board of Education?                    13:37
      7         (Brief recess.)                  13:34                                7      A. It is the -- the rules that are in our         13:37
      8         THE VIDEOGRAPHER: This marks the                         13:34        8 rule book, as well as the 2.0, which is the               13:37
      9 beginning of Media Number 2 in the deposition of                13:34         9 West Virginia Department of ED's rule, State Board                13:37
     10 30(b)(6) Witness Bernie Dolan.                      13:34                    10 of Education.                                  13:37
     11         Back on the record. The time is 1:35.           13:35                11         It's in our rule book, but it's not           13:37
     12 BY MS. KANG:                                     13:35                       12 technically our rule, but it's for all of our           13:37
     13      Q. Mr. Dolan, before I move on to my next             13:35             13 member -- all of our public schools, and our private 13:37
     14 topic, I just want to ask you two more quick              13:35              14 schools follow it too.                           13:37
     15 questions about the Sports Medicine Committee.                  13:35        15      Q. Do the -- do the county boards of                13:37
     16         To your knowledge, has the Sports Medicine 13:35                     16 education in West Virginia have any rules that                 13:37
     17 Committee or anyone from that committee ever made a                13:35     17 determine a student's eligibility?                     13:37
     18 recommendation regarding transgender participation               13:35       18         MS. GREEN: And I'll just object to the                13:37
     19 in athletics?                            13:35                               19 form.                                     13:37
     20      A. I don't believe it's ever been on the       13:35                    20         THE WITNESS: They are not supposed to                    13:37
     21 agenda, no.                              13:35                               21 have any rules additional than ours. They have                  13:38
     22      Q. Do you know if the Sports Medicine                13:35              22 given over the rights of overseeing sports to the              13:38
     23 Committee has ever made a recommendation on girls                 13:35      23 SSAC.                                         13:38
     24 playing on boys' teams?                          13:35                       24 BY MS. KANG:                                          13:38
     25      A. Not in my tenure here, no. I don't know           13:35              25      Q. When a student's eligibility is in              13:38
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      1 dispute, who makes the final determination as to       13:38    1            bottom?                                    13:42
      2 that student's eligibility?                 13:38               2            BY MS. KANG:                                     13:42
      3      A. I would make the initial -- well, the       13:38       3               Q. WVSSAC000133.                                13:42
      4   school makes the initial call. I would then either 13:38      4               A. Yep. Okay. Yes.                           13:42
      5   verify or overturn their decision based upon the      13:38   5               Q. At the top of Exhibit 3, Page 16, you'll 13:42
      6   facts.                                 13:38                  6            note it says, "Title 127 Legislative Rule."           13:42
      7          And then if they're not happy with the      13:38      7                   Do you know what a legislative rule is? 13:42
      8   answer that I get, they want to appeal that, they    13:38    8               A. I assume -- no. All of our rules are 127. 13:42
      9   take that to the Board of Directors. And if they     13:38    9            So I think that's the area that we are in. But I      13:42
     10   are -- if my ruling is sustained at the Board of    13:38    10            would probably be guessing if I did, you know.            13:42
     11   Directors, they have a Board of Review that they       13:38 11                   MS. GREEN: Yeah.                           13:42
     12   could go to to get one final opportunity for a      13:38    12                   THE WITNESS: Yeah.                           13:42
     13   waiver.                                 13:38                13            BY MS. KANG:                                     13:42
     14      Q. And the Board of Review is that different 13:39        14               Q. Do you know who promulgated this specific 13:42
     15   from the Board of Control?                      13:39        15            rule?                                    13:42
     16      A. It is. The Board of Review is the final 13:39          16                   MS. GREEN: I'll just object to the form. 13:42
     17   Board that has seven members and may or may not be 13:39     17                   THE WITNESS: Well, our rules have been in 13:42
     18   connected to the schools. It's more general. But 13:39       18            place since 1916. So over time, all of our rules        13:42
     19   they are appointed by the State Board of Education. 13:39    19            have had some modification every year.                  13:43
     20      Q. Is the Board of Review a part of the         13:39     20                   So as far as when that particular rule,      13:43
     21   Commission?                                 13:39            21            the most current part, I couldn't tell you.          13:43
     22      A. They are appointed by the Board of -- or 13:39         22                   It's probably -- well, it says it was      13:43
     23   the State Board of Education. So I think you've       13:39  23            effective in September 9 of 2019. So that means           13:43
     24   seen them say WVSSAC Board of Review, but we have no 13:39 24              there was a rule change at the Board of Control in 13:43
     25   input as to whether or not -- who the members are. 13:39     25            2019.                                     13:43
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      1      Q. Are any Commission members currently part        13:39           1   BY MS. KANG:                                     13:43
      2   of the Board of Review?                          13:39                 2       Q. Okay. I just want to draw your attention 13:43
      3       A. There may be one member who is a Board             13:39        3   to the section on the same page it says "127-1-2          13:43
      4   office personnel who also serves on the              13:40             4   Name."                                      13:43
      5   Commission -- or on the Board of Review as the            13:40        5          And in this paragraph -- I'll read out a 13:43
      6   athletic director's association, but she is not a    13:40             6   section. But take your time reading it as well.         13:43
      7   member -- she's not an employee of one of the            13:40         7          It says [as read]:                    13:43
      8   schools. She works at the county office.             13:40             8             "Extracurricular activities of the       13:43
      9       Q. Which county office?                      13:40                 9          students in the public secondary             13:43
     10       A. I believe Lewis County office.              13:40              10          schools are controlled pursuant to           13:43
     11       Q. Okay. So I want us to go back to             13:40             11          W. Va. Code 18225, and authority for             13:43
     12   Exhibit 3. And this will be Page 16 of the pdf.        13:40          12          the delegation of such control to the         13:43
     13   And in the bottom right-hand corner it will be Bates 13:40            13          Commission is granted by statute."             13:44
     14   stamped VSV- -- WVSSAC000133. And let me know                   13:40 14       A. Yes.                                13:44
     15   whenever you get a chance to review it.               13:40           15       Q. Now, did I -- did I read this correctly? 13:44
     16          MS. GREEN: And, Ms. Kang, what was the              13:40      16       A. You did.                              13:44
     17   pdf page?                                 13:41                       17       Q. Is this statement accurate?                13:44
     18          MS. KANG: Sure. It's Page 16.                13:41             18       A. I believe it's accurate. But it's not       13:44
     19          MS. GREEN: 15 or 16?                       13:41               19   inclusive if that's the -- because it's -- we have 13:44
     20   BY MS. KANG:                                    13:41                 20   private schools as members also.                     13:44
     21       Q. 16. 1,6.                          13:41                        21          But the legislature apparently, by           13:44
     22       A. Okay. I'm at 14 now.                     13:41                 22   statute, only dealt with the public schools.           13:44
     23          MS. GREEN: Sorry.                         13:41                23       Q. Do you know how many private schools are 13:44
     24          THE WITNESS: Okay.                          13:41              24   part of your membership?                           13:44
     25          MS. GREEN: And what does it read at the 13:41                  25       A. Somewhere around 20. I don't know the              13:44
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      1 exact number.                               13:44                              1   BY MS. KANG:                                 13:47
      2     Q. Are you familiar at all with West Virginia 13:44                        2       Q. What does "supervise and control           13:47
      3 Code 18225?                                 13:44                              3   interscholastic athletics" mean?               13:47
      4     A. Yes.                              13:44                                 4          MS. GREEN: Object to the form.             13:47
      5     Q. What is your understanding of it?                13:44                  5          THE WITNESS: Provide the rules and make 13:47
      6        MS. GREEN: I'll just object to the extent 13:44                         6   sure that everybody is following the rules.        13:47
      7 it would call for a legal conclusion.               13:44                      7   BY MS. KANG:                                 13:47
      8        THE WITNESS: It was when they authorized                  13:45         8       Q. And how do you make sure that everyone is 13:47
      9 the WVSSAC.                                     13:45                          9   following the rules?                       13:47
     10 BY MS. KANG:                                     13:45                        10       A. Well, usually it -- you know, it's brought 13:47
     11     Q. What do you mean "authorized WVSSAC"?                      13:45       11   to our attention either through members of the       13:47
     12     A. We had been an organization since 1916.              13:45             12   public, schools in particular. Sometimes we see       13:47
     13 And in the late '60s, they -- for some reason they         13:45              13   violations in the newspaper, and we follow up on       13:47
     14 put us in the code, I guess.                     13:45                        14   them.                                 13:48
     15     Q. What does "extracurricular activities" in          13:45               15       Q. By "follow up," you mean you reach out to 13:48
     16 this section mean?                              13:45                         16   the individual member school?                   13:48
     17     A. It would be sports and band.                 13:45                     17       A. Yes. And ask them for a written response 13:48
     18     Q. Does it include club sports?                13:45                      18   as to what the allegation might be.             13:48
     19     A. No. Not -- not in terms of the WVSSAC,               13:45             19       Q. And do you have a rough estimate of how        13:48
     20 no.                                     13:45                                 20   many violations happen a year?                  13:48
     21     Q. When does a club sport become a sport that 13:46                       21       A. How many violations? Or how many times           13:48
     22 is controlled by the WVSSAC?                            13:46                 22   are we called about a violation?               13:48
     23     A. When there is more than 30 -- more than 20 13:46                       23       Q. Let's say, how many times you are called 13:48
     24 we can recognize it.                            13:46                         24   for a violation.                        13:48
     25        At 32 teams, when there are 32 individual          13:46               25       A. If I had to guess, it would probably be    13:48
                                                                            Page 66                                                                       Page 68

      1 teams, our Board can authorize a championship for                13:46         1 two or three a month. Not counting the appeals --        13:48
      2 one class.                               13:46                                 2 the student appeals.                        13:48
      3        If there is 50 percent of our             13:46                         3     Q. How does a school stop being a member of              13:48
      4 membership -- of the high school membership, they                13:46         4 the WVSSAC?                                  13:48
      5 could authorize two classes; 75 percent they could              13:46          5     A. To be honest with you, I'm not sure how a         13:49
      6 authorize three.                           13:46                               6 public school does.                          13:49
      7     Q. So I'm going to draw your attention now             13:46               7        The private school simply writes us a          13:49
      8 staying on the same page on Exhibit 3 to the section 13:46                     8 letter and says, "We no longer want to be a member            13:49
      9 that says, "127-1-3 Goals."                       13:46                        9 of your organization." There's no penalty for          13:49
     10        And I'm also going to refer you to the           13:46                 10 withdrawal.                              13:49
     11 section that says "3.1." And I'll read it out loud. 13:46                     11     Q. Is there a reason why it's a different        13:49
     12 And feel free to take your time reading it as well.        13:46              12 rule for a private school versus a public school?       13:49
     13 [As read]:                                13:46                               13     A. I guess a public could withdraw.              13:49
     14          "This Commission, through the                  13:46                 14     Q. To your knowledge, has any public school          13:49
     15        employment of instrumentalities                  13:46                 15 ever withdrawn?                              13:49
     16        hereinafter established, shall             13:47                       16     A. No. Just -- they have consolidated; and,        13:49
     17        supervise and control interscholastic            13:47                 17 therefore, they become a new school, or they've          13:49
     18        athletics and band activities among              13:47                 18 closed and have been absorbed into a new school.             13:49
     19        member schools."                         13:47                         19 But, to my knowledge, no public school has ever not           13:49
     20     A. Okay.                              13:47                               20 been a member.                              13:49
     21     Q. Did I read this correctly?                 13:47                       21     Q. Are all public schools in West Virginia         13:49
     22     A. You did.                            13:47                              22 currently members?                            13:49
     23     Q. Is this statement accurate?                13:47                       23     A. All public secondary schools 6 through 12, 13:49
     24        MS. GREEN: Object to form.                       13:47                 24 yes.                                 13:49
     25        THE WITNESS: Yes.                           13:47                      25     Q. If a school is not a member of the            13:49
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      1   Commission, could it still offer interscholastic       13:49                   1   Commission?                                 13:52
      2   sports?                                  13:49                                 2      A. I'm sure they did at one time, yes.         13:52
      3      A. Yes.                               13:49                                 3      Q. So we're going to stay on the same page, 13:52
      4      Q. Can a school that is not a member compete 13:50                          4   but I'm going to draw your attention to the section 13:52
      5   with member schools?                            13:50                          5   that starts with 4.2.b. Says [as read]:          13:52
      6      A. As long as they are a school, yes.           13:50                       6            "The principal or designee is and       13:52
      7      Q. So now I would like to draw your attention 13:50                         7          shall be responsible for conducting        13:52
      8   to Page 17 of Exhibit 3, it should be just the next 13:50                      8          interscholastic athletic
      9   page down.                                 13:50                               9          and band activities of the school in
     10          And I'll ask you to look at the paragraph 13:50                        10          accordance with the constitution,
     11   that starts "127-1-4. Membership."                  13:50                     11          bylaws, rules and regulations of the
     12      A. Okay.                               13:50                               12          Commission which have been adopted by
     13      Q. And that paragraph says [as read]:             13:50                    13          the Board of Control of the Commission
     14            "The WVSSAC shall be composed of the            13:50                14          for the governing of such
     15          principals or designee, of those public      13:50                     15          activities."                     13:52
     16          or private secondary schools which have         13:50                  16      A. Okay.                              13:52
     17          certified in writing to the State        13:50                         17      Q. Did I read this correctly?               13:52
     18          Superintendent of Schools of               13:50                       18      A. Yes.                              13:52
     19          West Virginia [paren] (State              13:50                        19      Q. Do you believe this statement is accurate? 13:52
     20          Superintendent) that they have elected        13:50                    20          MS. GREEN: Object to the form.               13:52
     21          to delegate the control, supervision,       13:50                      21          THE WITNESS: Yes.                        13:52
     22          and regulation of their interscholastic     13:50                      22   BY MS. KANG:                                  13:52
     23          athletic and band activities."           13:50                         23      Q. What happens if a principal or a designee 13:52
     24          Did I read that correctly?              13:50                          24   breaks one of the Commission's rules?               13:53
     25      A. Yes.                               13:50                                25      A. There's a -- depends upon what the rule is 13:53
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      1     Q. Is this statement accurate?                   13:51                       1 and how often, it could be a letter of discipline,         13:53
      2         MS. GREEN: Object to the form.                  13:51                    2 it could be a verbal warning, or it could go all the 13:53
      3         THE WITNESS: Yes.                            13:51                       3 way up to suspension or fine.                      13:53
      4 BY MS. KANG:                                        13:51                        4     Q. So am I right that, when a member school             13:53
      5     Q. What does it mean to "delegate the               13:51                    5 makes a determination of what students are eligible           13:53
      6 control, supervision, and regulation of their               13:51                6 to play secondary sports, it has to follow the rules 13:53
      7 interscholastic athletic and band activities"?              13:51                7 and regulations of the Commission?                        13:53
      8         MS. GREEN: Object to the form.                  13:51                    8     A. Yes.                               13:53
      9         THE WITNESS: It means that the WVSSAC and 13:51                          9     Q. So now I'm going to ask you to scroll down 13:53
     10 its member schools will write rules and everybody               13:51           10 two more pages to Page 19. It should be stamped               13:53
     11 will follow them.                              13:51                            11 WVSSAC000136 of Exhibit 3. Let me know whenever                       13:53
     12         And so they can't have rules of their own           13:51               12 you're there.                             13:53
     13 that are separate from the rules that we have all            13:51              13     A. Okay. We're there.                     13:53
     14 agreed to.                                  13:51                               14     Q. I'm sorry. Let me actually take you to             13:54
     15 BY MS. KANG:                                        13:51                       15 Page 20. That's Bates stamped -137 of Exhibit 3.             13:54
     16     Q. So just to be a clear, a member school               13:51               16     A. Okay.                              13:54
     17 cannot issue its own rules -- is that -- for           13:51                    17     Q. So in the section that says "127-1-8.          13:54
     18 interscholastic athletics; is that right?            13:51                      18 Board of Directors," it says [as read]:              13:54
     19     A. Not if it's in conflict with our rule.         13:51                     19          "The Board of Directors shall have           13:54
     20     Q. Can it issue rules that are not in            13:51                      20        authority to administer the regulations        13:54
     21 conflict with the SSAC rules?                         13:51                     21        of the WVSSAC."                            13:54
     22     A. Sure.                                13:51                               22        Did I read that correctly?             13:54
     23     Q. Did Bridgeport Middle School delegate its              13:52             23     A. You did.                            13:54
     24 control, supervision, and regulation of                13:52                    24     Q. Do you believe the statement is accurate?           13:54
     25 interscholastic athletic activities to the            13:52                     25     A. Yes.                               13:54
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      1     Q. What does administer the regulations of          13:54                1       A. Well, the Commission cannot. The Board of 13:56
      2 the WVSSAC mean?                                  13:54                      2   Directors can. And then the Board of Review can.          13:56
      3        MS. GREEN: Object to the form.                13:54                   3   But the -- the office itself cannot grant waivers. 13:56
      4        THE WITNESS: Make sure everybody is                  13:54            4          I'll take that back.                 13:56
      5 following the rules as written and interpreted.         13:54                5          I can grant a waiver if it's been ruled     13:56
      6        (Simultaneously speaking.)                 13:54                      6   before in a similar fashion by the Board, but I        13:57
      7 BY MS. KANG:                                    13:54                        7   don't have -- I don't execute that.              13:57
      8     Q. By "interpreted," who --                 13:54                        8       Q. So is it fair to say that if the Board of 13:57
      9     A. The --                           13:55                                9   Review issues a determination of a student's           13:57
     10     Q. -- makes -- oh, sorry.               13:55                           10   eligibility and the current student before you has a 13:57
     11     A. Just --                          13:55                               11   similar set of facts, you can rely on that previous 13:57
     12     Q. Did you --                         13:55                             12   determination?                               13:57
     13     A. As the rules are written.                13:55                       13          MS. GREEN: Object to the form.                13:57
     14     Q. Does it mean anything else?                 13:55                    14          THE WITNESS: The rule says that, but             13:57
     15     A. No.                              13:55                               15   they're never -- I've yet to find two cases that are 13:57
     16     Q. I'm going to ask you to scroll one more          13:55               16   exactly similar. So...                       13:57
     17 page down to the page that's Bates stamped                13:55             17   BY MS. KANG:                                    13:57
     18 WVSSAC -138. It should be Page 21 of the pdf of              13:55          18       Q. But you have the ability to -- to do so? 13:57
     19 Exhibit 3.                              13:55                               19       A. It says that we have the ability to do so, 13:57
     20     A. Okay.                            13:55                               20   yes.                                    13:57
     21     Q. So I'll draw your attention to             13:55                     21       Q. So now I'd like to -- we're staying on the 13:57
     22 Section 8.5, which says [as read]:                 13:55                    22   same page -- draw your attention to Paragraph 8.7         13:57
     23          "The Board of Directors shall have         13:55                   23   and 8.8.                                 13:57
     24        power to decide all cases of             13:55                       24          So I'll read Paragraph 8.7 first. It says 13:57
     25        eligibility of students and          13:55                           25   [as read]:                               13:57
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      1          participants in interscholastic         13:55         1                         "At the request of the Board of          13:58
      2          athletic and band activities. The        13:55        2                       Directors, a Deputy Board Member may              13:58
      3          Board may also exercise discretionary        13:55    3                       investigate matters of eligibility and      13:58
      4          powers it may deem necessary for the          13:55   4                       other violations of the rules and         13:58
      5          furtherance of education and             13:55        5                       regulations of the WVSSAC. The Deputy              13:58
      6          interscholastic athletic and band         13:55       6                       Board Member shall submit to the Board           13:58
      7          activities in the secondary schools of     13:56      7                       of Directors a written report of          13:58
      8          West Virginia."                      13:56            8                       findings and recommendations for              13:58
      9          Did I read that correctly?             13:56          9                       disposition of the case(s)."            13:58
     10       A. You did.                           13:56             10                       Did I read that correctly?              13:58
     11       Q. Do you believe this statement is accurate? 13:56 11                        A. You did.                            13:58
     12          MS. GREEN: Object to the form.               13:56   12                    Q. Do you believe this statement is accurate? 13:58
     13          THE WITNESS: Yes.                         13:56      13                       MS. GREEN: Object to form.                   13:58
     14   BY MS. KANG:                                   13:56        14                       THE WITNESS: Yes.                          13:58
     15       Q. What does it mean "Shall have the power to 13:56 15                     BY MS. KANG:                                  13:58
     16   decide all cases of eligibility of students and     13:56   16                    Q. When would the Board of Directors request 13:58
     17   participants in interscholastic athletic and band     13:56 17                 an investigation into matters of eligibility?       13:58
     18   activities"?                             13:56              18                    A. If something was brought to them by a           13:58
     19          MS. GREEN: Object to form.                  13:56    19                 member school or the public at large.              13:58
     20          THE WITNESS: If I have -- if the school 13:56 20                           Q. Are there any Deputy Board Members                13:58
     21   or I have determined somebody to be ineligible, they 13:56 21                  currently?                              13:58
     22   can grant a waiver to make them eligible.            13:56  22                    A. There are ten.                       13:58
     23   BY MS. KANG:                                   13:56        23                    Q. Who do they report to?                   13:58
     24       Q. Can anyone other than the Commission grant 13:56 24                        A. They have very few -- very few               13:58
     25   a waiver?                                13:56              25                 responsibilities. We have not asked them to           13:59
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      1   investigate. We -- you know, we feel like it has     13:59   1                   A. A formal protest would be somebody's --          14:01
      2   put some them in difficult positions. So most of     13:59   2                has written it and put their name to it.          14:01
      3   the investigations come out of our office.        13:59      3                      Informal would be an anonymous letter or a 14:01
      4      Q. Can you tell me a little bit more about     13:59      4                phone call.                               14:01
      5   putting them in difficult positions; what you mean 13:59 5                       Q. So I'm going to ask you to scroll one page 14:01
      6   by that.                                13:59                6                down in Exhibit 3 to the page that is Bates          14:01
      7      A. If they have to go into somebody else's      13:59     7                Stamped -139. It should be Page 22 of the pdf.         14:01
      8   school and make a determination on eligibility or     13:59 8                    A. Okay.                               14:01
      9   where somebody lives, it could be a rival school and 13:59 9                     Q. So I am looking at Section 127-1-9 titled 14:01
     10   people might not want them there.                13:59      10                "Funds."                                 14:01
     11          So, you know, we have taken it over        13:59     11                   A. Okay.                               14:01
     12   because it's unbiased if we're looking at it.    13:59      12                   Q. How -- how is the Commission funded?              14:01
     13      Q. So are the Deputy Board Members designees 13:5913                          A. All of our revenue comes from championship 14:02
     14   or members of the member school?                   13:59    14                events, ticket sales at championship events;         14:02
     15      A. They are principals of a member school,       13:59 15                        Regional basketball ticket sales;          14:02
     16   yes.                                   14:00                16                      Playoffs for football;                 14:02
     17      Q. So now on Paragraph 8.8 it says [as read]: 14:00 17                           Registering of officials;               14:02
     18            "The Board of Directors shall have      14:00      18                      Coaches Education;                      14:02
     19          the power to investigate through the                 19                      And corporate partnership.                14:02
     20          Deputy Board Member, or in                           20                   Q. Are there any other sources of revenue?         14:02
     21          such other manner as may be found                    21                   A. None of any significance.                  14:02
     22          advisable, matters of eligibility and                22                   Q. By "none of any significance," what do you 14:02
     23          other violations of rules when the                   23                mean?                                    14:02
     24          Board deems it advisable to do so on                 24                   A. There would be maybe some fines in there 14:02
     25          the basis of information furnished,                  25                for people -- coaches not paying -- or not          14:02
                                                                         Page 78                                                                             Page 80

      1        even though a formal protest is not                                  1 evaluating their officials or not putting scores in. 14:02
      2        filed."                                                              2 Things like that.                              14:02
      3        Did I read that correctly?             14:00                         3     Q. How much money are those fines usually?                  14:02
      4     A. You did.                            14:00                            4     A. $25 or $50 or $10, depending upon what it               14:02
      5     Q. Is this statement accurate?             14:00                        5 is for.                                14:03
      6        MS. GREEN: Object to the form.                 14:00                 6     Q. Now, you mentioned the Coaches Education.                 14:03
      7        THE WITNESS: It is.                     14:00                        7 Could you tell me a bit more about what that is.            14:03
      8 BY MS. KANG:                                  14:00                         8     A. The legislature requires that our coaches          14:03
      9     Q. So when would the Board -- when would the              14:00         9 who are non-teachers must have a Coaches Education.               14:03
     10 Board deem it advisable to investigate matters of        14:00             10 And this is a State Board of Education. But they            14:03
     11 eligibility even without formal protest?           14:00                   11 have charged us with providing the education, but               14:03
     12     A. Sometimes they --                      14:00                        12 State Board of Education would do the certification. 14:03
     13        MS. GREEN: Object to the form.                 14:00                13     Q. Do the coaches pay the Commission for this 14:03
     14        I'm sorry.                     14:00                                14 education?                                14:03
     15        THE WITNESS: Oh. I'm sorry.                    14:00                15     A. They do.                            14:03
     16        Sometimes they get anonymous letters that        14:00              16     Q. Is the Commission a for-profit                   14:03
     17 would supply some information; and, you know, they             14:00       17 organization?                              14:03
     18 would -- now they would ask us because I also can          14:00           18     A. We are not.                             14:03
     19 investigate. And so we would do it and then --          14:00              19     Q. Do you receive any funds from the federal            14:03
     20 instead of our Board -- Deputy Board just because we 14:01                 20 government?                                    14:03
     21 don't want to put them in a position where they         14:01              21     A. We received from -- some pandemic funds.                 14:03
     22 would be ruling on a -- sometimes a competitor.          14:01             22           But that was all through the small           14:03
     23 BY MS. KANG:                                  14:01                        23 business authority.                             14:04
     24     Q. And what is the difference between a            14:01               24     Q. Anything else?                           14:04
     25 formal protest versus an informal protest?            14:01                25     A. We have received GEAR funding from --                    14:04
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      1 through the Department of Education for monies to go 14:04                 1 services to the school?                        14:07
      2 back to the school through AEDs, wet globe bulbs          14:04            2      Q. Let's start with cash sent back to them.       14:07
      3 [verbatim], reimbursement for travel, things like       14:04              3         MS. GREEN: Object to the form.                 14:07
      4 that.                               14:04                                  4         THE WITNESS: I would say $300,000 out of                14:07
      5         Because everybody was in short -- low         14:04                5 a probably $1.5 million budget.                      14:07
      6 attendance, and so we were trying to find a way to       14:04             6 BY MS. KANG:                                    14:07
      7 help them with their money.                     14:04                      7      Q. So what about services?                    14:07
      8     Q. By "gear funding," do you mean sports gear 14:04                    8      A. The services -- oh. I'm sorry.              14:07
      9 or...                               14:04                                  9         Services would be higher because -- I          14:07
     10     A. For them they also had limited attendance        14:04             10 would think it's probably closer to $700,000               14:07
     11 and limited games. So --                      14:04                       11 depending upon what you call as "giving back".                14:07
     12         Did I miss the question?              14:04                       12         You know, if it's -- some people would say 14:07
     13         Okay. What was your question again?           14:04               13 that the expenses to put on tournaments is a way to           14:07
     14     Q. Oh. I just asked that by "gear funding,"       14:04               14 give back.                                14:07
     15 did you mean sports gear?                       14:04                     15         Direct expenses would be, you know, the            14:07
     16     A. No. No. It is -- I think it's -- GEAR is 14:05                     16 things that we are purchasing for them right now,            14:07
     17 the program.                            14:05                             17 which would be the AED and the wet globe bulb and                  14:07
     18     Q. Understood.                          14:05                         18 the cooling submersion tubs.                       14:07
     19         And was this all during the pandemic?         14:05               19      Q. So what -- what is encompassed in the term 14:08
     20     A. Yes, ma'am.                          14:05                         20 "services"?                                14:08
     21     Q. Do you receive any funds from your member          14:05           21      A. Services. Each -- each season we travel            14:08
     22 schools?                              14:05                               22 around the state to meet with all principals for a         14:08
     23     A. The only funds we receive at this time         14:05               23 regional principal meeting.                        14:08
     24 would be fines that they would have to pay for not       14:05            24         We also travel around the state to meet        14:08
     25 attending, not putting in scores.               14:05                     25 with each sport during each -- at the beginning of           14:08
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      1          Sometimes our events might be held at         14:05      1            each season to make sure -- we go over all the rules 14:08
      2   their schools; so they would collect the gate and      14:05    2            and regulations that are current.                14:08
      3   then write us a check.                        14:05             3                  Those are some of -- as well as expenses        14:08
      4          But that's pretty much all we get from the 14:05         4            that we incur hosting the tournaments for them.            14:08
      5   schools.                                14:05                   5                  And the coaches -- you know, we have -- we 14:08
      6      Q. And how much are the fines?                  14:05        6            have expenses in materials for Coaches Education.           14:08
      7      A. For not putting in an evaluation, it's       14:05        7               Q. I believe you mentioned you stopped                14:09
      8   $10;                                  14:05                     8            collecting dues from your members.                   14:09
      9          For not doing your eligibility, it's $25; 14:05          9                  Do you currently have any plans to resume           14:09
     10          And if you don't put in a score, it's $50. 14:05        10            collecting dues?                           14:09
     11      Q. Is any of the Commission's revenue shared 14:06 11                        A. No. We have a proposal from one of our               14:09
     12   with the member schools?                         14:06         12            principals for this year to strike out the -- all of 14:09
     13      A. Yes.                              14:06                  13            the dues' language and inserting language in there         14:09
     14      Q. How is it shared?                       14:06            14            that says, "Could resume at any time when                 14:09
     15      A. We -- we give reimbursement back to the           14:06 15             necessary."                              14:09
     16   schools. Each sport has a different formula, but we 14:06 16                    Q. So, now, sticking with Exhibit 3, I'm          14:09
     17   help with travel and meal money at most of the          14:06 17             actually going to ask you to go back up to Page 6 of 14:09
     18   events.                                14:06                   18            the pdf and the Bates stamp is WVSSAC000123. And                   14:09
     19          At football they also get a commission of 14:06         19            let me know whenever you get there.                   14:09
     20   the gate. 20 percent the first week, 15 percent the 14:06 20                    A. Okay.                             14:10
     21   second, 10 the third, and 5 at the championship.       14:06 21                 Q. So I'm going to direct you to the            14:10
     22      Q. If you had to estimate, what percentage of 14:06 22                    paragraph that begins with "Discrimination                14:10
     23   Commission funds go to the member schools?               14:06 23            Prohibited."                             14:10
     24      A. When you say go to the schools, you mean 14:06 24                            Take your time reading it, and let me know 14:10
     25   actually cash sent back to them? Or do you mean          14:07 25            whenever you are finished reading that paragraph.           14:10
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      1     A. [Witness reviews document].                   14:10                    1            Sportsmanship is that everybody's on a      14:12
      2          Okay.                          14:10                                 2   fair playing field. And the -- you should be          14:12
      3     Q. Do you know who wrote this portion of the            14:10             3   gracious in losing and winning.                   14:13
      4 handbook?                                 14:10                               4        Q. What do you mean by "fair playing field"? 14:13
      5     A. I do not.                         14:10                                5            MS. GREEN: Object to the form.              14:13
      6     Q. Do you know how long this portion has been 14:10                       6            THE WITNESS: Same age. Same gender.               14:13
      7 in the handbook?                            14:10                             7   BY MS. KANG:                                   14:13
      8     A. I do not.                         14:10                                8        Q. Anything else?                       14:13
      9     Q. Do you remember ever reviewing this                 14:10              9        A. No.                             14:13
     10 section of the handbook?                         14:10                       10            When I say "same age," it would be same       14:13
     11     A. Yes.                             14:10                                11   programatic level. So middle -- middle school kids 14:13
     12     Q. When did you review it?                     14:11                     12   cannot play against high school but freshmen can          14:13
     13     A. I --                            14:11                                 13   play against seniors.                        14:13
     14     Q. Oh. Go ahead.                         14:11                           14        Q. What are physical -- the physical and        14:13
     15     A. I would say a couple of years ago. We've            14:11             15   social benefits that are referenced in this        14:13
     16 tried to have a book study and go through all of           14:11             16   paragraph?                                14:13
     17 these.                                 14:11                                 17        A. Just good -- for one, just good health. 14:13
     18     Q. When you reviewed it a couple of years             14:11              18   Participation. Also, you know, we believe that          14:13
     19 ago, did you believe the Commission was required to              14:11       19   it's -- the competitive part is good, and the       14:14
     20 comply with Title IX?                           14:11                        20   training part is beneficial to the student athlete. 14:14
     21     A. Yes.                             14:11                                21        Q. Why do you believe it's beneficial?         14:14
     22     Q. Is the Commission currently required to            14:11              22        A. Studies we have read. And as a             14:14
     23 comply with Title IX?                           14:11                        23   participant a long time ago.                    14:14
     24          MS. GREEN: I'll just object to the form.        14:11               24        Q. What does "partisanship and prejudice"         14:14
     25          THE WITNESS: I would believe that the             14:11             25   mean in this paragraph?                        14:14
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      1 schools are required to follow Title IX. But I           14:11                1       A. Partisanship and prejudice would mean that 14:14
      2 believe we believe it also.                     14:11                         2 it's equal. You know, one side -- especially         14:14
      3 BY MS. KANG:                                     14:11                        3 with -- you know, as far as equipment or what -- if        14:14
      4     Q. Now, I want to turn your attention to the         14:11                4 you come to a game, you can't have lush seats for          14:15
      5 section below that titled "Beliefs and Objectives."        14:11              5 you and the other team have foldable chairs and            14:15
      6          Take a moment to read the first paragraph       14:11                6 things like that. So that's part- -- partisan.     14:15
      7 and let me know whenever you are done.                     14:11              7          You know, all the equipment at a game has       14:15
      8     A. [Witness reviews document].                   14:11                    8 to be the same equipment everybody is using. Same            14:15
      9          Okay.                          14:12                                 9 ball. Same rims. Everything is the same.             14:15
     10     Q. What are "proper ideals of sportsmanship," 14:12                      10       Q. What do you mean by "prejudice" in this         14:15
     11 as written in this paragraph?                    14:12                       11 paragraph?                                 14:15
     12          MS. GREEN: Object to the form.                 14:12                12       A. Prejudice would mean, you know -- you            14:15
     13          THE WITNESS: Are you on Paragraph 1 or 3? 14:12                     13 know, is there some advantage to one team over             14:15
     14 BY MS. KANG:                                     14:12                       14 another.                                 14:15
     15     Q. Paragraph 1 [verbatim] of the Beliefs and          14:12              15       Q. What sort of advantage are you referring        14:15
     16 Objectives section.                         14:12                            16 to?                                    14:15
     17     A. What was your question again?                 14:12                   17       A. Could be something as simple as a tarp          14:15
     18     Q. Sure.                            14:12                                18 over your bench as opposed to the other team not           14:15
     19          What are -- what are the proper ideals of      14:12                19 having it;                               14:15
     20 sportsmanship?                              14:12                            20          Could be as simple as a heater. You might 14:16
     21          I'm sorry. I --                 14:12                               21 have a heater on a sideline at a cold game and they        14:16
     22     A. The --                            14:12                               22 don't.                                 14:16
     23     Q. I am referring to Paragraph 3. You had it 14:12                       23          So things that would make the game unfair       14:16
     24 right the first time.                      14:12                             24 that are outside of the game.                    14:16
     25     A. Okay.                             14:12                               25       Q. Is there anything else that you believe    14:16
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      1   would make the game unfair?                       14:16           1 BY MS. KANG:                                     14:19
      2          MS. GREEN: Object to the form.               14:16         2     Q. And, Mr. Dolan, let me know whenever you                 14:19
      3          THE WITNESS: There are probably other            14:16     3 have it up.                              14:19
      4   things, but right off the top of my head not sure. 14:16          4     A. Okay.                             14:19
      5          Could be something as simple as how far        14:16       5         MS. GREEN: Counsel, was there a certain               14:19
      6   you got to walk to your locker room in between          14:16     6 page in the exhibit?                           14:19
      7   games.                                  14:16                     7         MS. KANG: Yeah.                          14:19
      8   BY MS. KANG:                                  14:16               8 BY MS. KANG:                                     14:19
      9      Q. Do you believe that allowing transgender 14:16              9     Q. If you go to Page 6 to start, that would         14:19
     10   students to participate on sports teams consistent 14:16         10 be great. And the Bates stamp is -365.                  14:19
     11   with their gender identity is consistent with the    14:16       11         MS. GREEN: I'm sorry.                        14:19
     12   goals identified in this paragraph?              14:16           12         THE WITNESS: That's fine.                      14:19
     13          MS. GREEN: Object to the form.               14:16        13         Is this the "2016-'17 Participation           14:19
     14          THE WITNESS: I believe our -- our Board 14:16             14 Report"?                                 14:19
     15   policy was that, if it was not safe or unfair      14:16         15 BY MS. KANG:                                     14:19
     16   advantage, then it would be okay for them to          14:17      16     Q. Do you believe it is?                    14:19
     17   participate.                            14:17                    17     A. Okay.                             14:20
     18   BY MS. KANG:                                  14:17              18         [Witness reviews document].                   14:20
     19      Q. Does Bridgeport Middle School                 14:17        19         Okay.                           14:20
     20   cross-country count as an interscholastic athletic? 14:17        20     Q. So I'm going to represent to you that this 14:20
     21      A. It does.                          14:17                    21 is a document that was produced by your counsel in              14:20
     22          MS. KANG: So I'm actually about to move 14:17             22 response to one of plaintiff's discovery requests.           14:20
     23   into the next session. I think we are up on an       14:17       23         If you want to read the text of the           14:20
     24   hour.                                  14:17                     24 request, it's Request Number 15 in this same                 14:20
     25          Roberta, do you have preference as to       14:17         25 document.                                 14:20
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      1   whether you want me to get started or you want to        14:17    1         Do you recognize this document that is           14:20
      2   take a break now?                           14:17                 2 before you right now?                            14:20
      3          THE WITNESS: I'm good.                      14:17          3     A. I do.                            14:20
      4          MS. GREEN: All right. Let's do --           14:17          4     Q. What is it?                           14:20
      5          THE WITNESS: I can't go to the bathroom. 14:17             5     A. This is a participation -- the National          14:20
      6          MS. GREEN: I know. Really no need for a 14:17              6 Federation of High School keeps track of how many                14:20
      7   bathroom break over here.                       14:18             7 participants are in each sport, trying to find          14:20
      8          MS. KANG: All right. Well, if it's okay 14:18              8 trends among the sports, which ones are growing,                14:20
      9   with you, we'll go on a little bit longer.        14:18           9 which ones are falling; and if they are falling, how 14:20
     10          Let me know if you do need a break.          14:18        10 come.                                   14:20
     11          So we can take down Exhibit 3.             14:18          11     Q. What is the National Federation of State           14:21
     12   BY MS. KANG:                                   14:18             12 High School Associations?                             14:21
     13       Q. And I want to talk a little bit about some 14:18          13     A. It is the association of 51 members, the          14:21
     14   of the statistics that the Commission turns over to 14:18        14 50 states plus Washington, D.C., and they primarily             14:21
     15   various organizations.                       14:18               15 provide the sport-specific rules for almost all of        14:21
     16          So I'm going to introduce an exhibit that 14:18           16 our events.                              14:21
     17   will be marked as Exhibit 4.                    14:18            17     Q. How long have you provided these                   14:21
     18          MS. KANG: And I'll let you know when it's 14:18           18 statistics to the Federation?                    14:21
     19   in everyone's folders.                      14:18                19     A. To be honest with you, they've been               14:21
     20          (Deposition Exhibit 4 was marked for          14:19       20 tracking them, but I couldn't tell you how long we            14:21
     21          identification and is attached hereto.)    14:19          21 have.                                  14:21
     22          MS. KANG: Exhibit 4 should now be in            14:19     22     Q. Do you think it's --                    14:21
     23   everyone's Marked Exhibit folder.                  14:19         23     A. I would assume.                          14:21
     24          Let me know if anyone has trouble            14:19        24     Q. Go ahead.                              14:21
     25   accessing it.                            14:19                   25     A. I would assume -- it's a -- it's an           14:21
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      1   ongoing thing; so I would think it's probably been 14:21 1                Q. So it's any grade from 9 to 12?            14:24
      2   done for a number of years.                     14:21           2         A. It's a combination of 9 through 12, yes. 14:24
      3       Q. More than ten?                        14:21              3         Q. If we go over to the third column, the one 14:24
      4       A. Yes.                              14:21                  4     that says "Male," what does that mean?               14:24
      5       Q. More than 20?                         14:21              5         A. That -- it's the same -- when we do our       14:24
      6       A. Probably.                           14:21                6     eligibility sheets by sport, for instance, football, 14:24
      7       Q. Why do you provide these statistics to the 14:21         7     football doesn't differentiate between boys and        14:24
      8   NFHS?                                     14:22                 8     girls. It's -- they're asking for the number of     14:24
      9       A. They -- they gather them for the whole         14:22     9     participants.                               14:25
     10   country to try to monitor which sports are growing 14:22 10                  When you get to girls' track, it can only 14:25
     11   in popularity and which ones might not be. And the 14:22 11           be done by girls; so, therefore, that -- that's why 14:25
     12   ones that aren't, they're trying to look and see     14:22     12     there's not -- there's a zero in girls' track for 14:25
     13   why.                                    14:22                  13     males and boys' track has a number but girls' does 14:25
     14       Q. I'm just going to ask you a few questions 14:22         14     not.                                     14:25
     15   to help me understand how to read this chart.          14:22 15              So football is the number of participants. 14:25
     16          Did you prepare this document?              14:22       16     So in the blue column under "Male," it would be the 14:25
     17       A. I personally did not prepare it. But this 14:22         17     number of male -- or number of people in football. 14:25
     18   is a document prepared by our office, yes.           14:22     18     Could be male or female because our eligibility         14:25
     19       Q. Do you know who prepared this document?            14:2219     doesn't differentiate between the two.              14:25
     20       A. Alice Goodwin in our office.               14:22        20         Q. So just to be clear, even if a girl plays 14:25
     21       Q. What's her position?                    14:22           21     on the football team, she will not show up in the       14:25
     22       A. Secretary.                         14:22                22     column that says "Female" for football?              14:25
     23       Q. Is she your secretary?                  14:22           23         A. That's correct. Because they're asking        14:25
     24       A. No.                              14:22                  24     for the number of participants in football, and it's 14:25
     25       Q. Do you know which secretary she is?            14:22    25     primarily football -- it's primarily a male sport. 14:26
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      1       A. Well, we don't all have specific           14:22           1   So it falls under the male category. That's the       14:26
      2   secretaries. She works primarily with Greg Reed,         14:23    2   best we could do for them.                      14:26
      3   but we all ask different people to do different      14:23        3           Similarly, cheer is primarily a cheer     14:26
      4   things, depending upon what the level of activity      14:23      4   event, but there are boys. But there's no number in 14:26
      5   going on in the office for that particular staff    14:23         5   there. So we just -- it's just the total number in 14:26
      6   member is.                                14:23                   6   that -- for that particular sport.             14:26
      7       Q. What is Greg Reed's role?                 14:23            7       Q. Okay. Scroll all the way over to the         14:26
      8       A. Assistant executive director.             14:23            8   gray-colored columns. They're labeled as              14:26
      9       Q. Do you contribute any information to this 14:23            9   "Mid/Junior."                              14:26
     10   document?                                  14:23                 10           What does "Mid/Junior" mean?                14:26
     11       A. This document is -- I personally do not. 14:23            11       A. It was either middle school or junior high 14:26
     12   It's pulled from our website. And it probably -- it 14:23        12   and -- you know. I don't believe we have any more 14:26
     13   is self-populating, I believe. So she doesn't       14:23        13   junior high. So probably could be fixed to say just 14:26
     14   actually type it in there. They pull it from our     14:23       14   middle school.                              14:26
     15   eligibility sheets.                        14:23                 15       Q. What grades would those be?                 14:26
     16       Q. And who is "they"?                      14:23             16       A. 6th through 8.                       14:26
     17       A. Our -- our web designer created this form, 14:23          17       Q. So now I'm going to ask you to -- to          14:26
     18   and it self-populates from that form, from their      14:24      18   scroll down to Page 11. It will be Bates            14:27
     19   eligibility.                            14:24                    19   stamped -370.                               14:27
     20       Q. So in the second column of this chart, it 14:24           20           Let me know whenever you get there.           14:27
     21   says "Senior."                             14:24                 21       A. Okay.                              14:27
     22          What does that mean?                    14:24             22       Q. So the last year that you produced this       14:27
     23       A. "Senior" means "high school."               14:24         23   document is 2020 to 2021.                        14:27
     24       Q. So senior --                        14:24                 24           Do you know when the 2021 to 2022              14:27
     25       A. 9 through 12.                        14:24                25   statistics will be published?                  14:27
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      1     A. We submitted them over the summer.                14:27              1 2018 to 2019. Is there a reason why we don't have             14:30
      2 Obviously, our spring sports aren't -- aren't in       14:27                2 the 2019 to 2020 statistics?                     14:30
      3 place yet. So we wouldn't have numbers for them.             14:27          3     A. I don't know if that's the most recent         14:30
      4     Q. For the 2021 to 2022 period, do you know           14:27             4 one. Because obviously with COVID and them not                   14:30
      5 if B.P.J. will be listed in the "Female" column or       14:27              5 working from the office for a long period of time, I 14:30
      6 the "Male" column?                             14:27                        6 don't know if they have not submitted the most               14:30
      7          MS. GREEN: Object to form.                14:28                    7 recent years.                            14:30
      8          THE WITNESS: Which team is she on?               14:28             8     Q. So in the column that says "Boys School,"           14:30
      9 BY MS. KANG:                                   14:28                        9 what does this column indicate?                      14:30
     10     Q. She is on the cross-country team for            14:28               10     A. Are we still on Page 7?                   14:30
     11 girls.                                 14:28                               11     Q. Yes. We are -- we are on Page 12.              14:31
     12     A. And then that's where she will be listed.       14:28               12     A. 12. Okay.                          14:31
     13 Because it's just pulling the number off of the         14:28              13     Q. The Bates stamp is -371.                   14:31
     14 eligibility of that particular team.             14:28                     14     A. And which one am I looking for?                 14:31
     15     Q. And the numbers that are submitted, are           14:28             15     Q. Yeah. So if you go over, it's the fourth       14:31
     16 they coming from the member schools themselves?                 14:28      16 column. It says "Boys School."                       14:31
     17     A. They -- the member schools have to submit          14:28            17     A. Boys -- okay.                        14:31
     18 their eligibility on our site. And from there,         14:28               18     Q. Yeah.                             14:31
     19 it takes the total of each school and puts them in       14:28             19     A. These are -- these are the schools that        14:31
     20 their category.                           14:28                            20 are offering basketball. If you are looking at         14:31
     21     Q. So I'm going to ask you to scroll down one 14:28                    21 basketball, there is 124 schools who are offering          14:31
     22 more page to the doc- -- to the document that is         14:28             22 boys' basketball. And there are 124 schools that          14:31
     23 Bates Stamped -371.                            14:28                       23 are offering girls' basketball.               14:31
     24     A. Okay.                             14:28                             24         You'll notice that "Baseball" has 122.        14:31
     25     Q. So this is also a document that was           14:28                 25 There are no girls -- there are no girls' baseball       14:31
                                                                         Page 98                                                                       Page 100

      1   produced by your counsel in response to one of           14:29 1              teams. That's why it is a "0."                  14:31
      2   plaintiff's discovery requests.                 14:29            2                Q. Got it.                           14:31
      3          If you want the read the text of that      14:29          3                   And then the boys participation, does that 14:31
      4   request, you can look at Request 14 on Page -4 of         14:29 4             reflect that 3,052 boys participated of the         14:31
      5   this exhibit.                            14:29                   5            124 schools that offer boys' basketball?            14:32
      6          Do you recognize this document?               14:29       6                A. Yes.                              14:32
      7      A. This is a form from the National              14:29        7                   And I would believe this is just high       14:32
      8   Federation that puts our participation numbers into 14:29 8                   school. It's not middle school also.              14:32
      9   their chart.                             14:29                   9                Q. Do you know if co-ed teams are reflected 14:32
     10          So the numbers that came off of that chart 14:29         10            on the chart?                              14:32
     11   for '18/'19 would match these numbers.                14:29     11                A. Again, co-ed teams would be -- they would 14:32
     12          All those sports that are activities that 14:29          12            be reflected as the -- the majority sport. So, for 14:32
     13   are -- have zeros by them, those are activities or 14:29        13            instance, baseball, it could be co-ed if a girl     14:32
     14   sports that we do not offer. But they are offered 14:29 14                    wanted to play baseball. But she would be listed on 14:32
     15   through the National Federation.                   14:29        15            the -- the school was offering boys' baseball -- or 14:32
     16      Q. So you do not -- you as a Commission do            14:29 16             they are offering baseball, the girl would simply be 14:32
     17   not make this form?                           14:29             17            listed on the eligibility and be counted as a        14:32
     18      A. No. They send this back to us. This is 14:29              18            baseball participant, not as a female.             14:33
     19   basically a verification of the form we sent to       14:30     19                   So in this -- this study that they are    14:33
     20   them.                                   14:30                   20            doing is simply the number of participants in that 14:33
     21      Q. So is it fair to say that the National      14:30         21            sport, not a breakdown of boys and girls if it's      14:33
     22   Federation takes information that you give them and 14:3022                   co-ed.                                  14:33
     23   puts it into this form?                      14:30              23                Q. Who determines whether to make a team             14:33
     24      A. Yes, ma'am.                            14:30              24            co-ed?                                   14:33
     25      Q. So I noticed that the year only goes to        14:30      25                A. Well, if you have enough boys and have           14:33
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      1 enough girls to have a team, then if we are offering 14:33                  1     Q. So I would like to draw your attention to         14:36
      2 boys and girls, then you have to have a separate          14:33             2 Interrogatory Number 13 on Exhibit 5.                    14:37
      3 team.                                  14:33                                3        What does "participation mixed as               14:37
      4         For instance, cross-country, you can have       14:33               4 indicated to respond to demand" mean?                     14:37
      5 one girl and she could make up a team or she could           14:33          5     A. "Identify all WVSSAC sponsored sports in                14:37
      6 be the team. But if you only have one soccer girl,        14:33             6 which students may participate on a team designated             14:37
      7 she couldn't be the team. So she would have to play 14:33                   7 as co-ed or mixed."                            14:37
      8 with the boys. And that would be co-ed at the time. 14:34                   8        Is that the question? And why cheer is           14:37
      9     Q. Is it fair to say that what makes a sport     14:34                  9 considered mixed?                               14:37
     10 co-ed depends on the sport?                       14:34                    10     Q. Yeah. That -- why don't we start there.           14:37
     11         MS. GREEN: Object to the form.               14:34                 11        Why is cheer considered mixed?                  14:37
     12         THE WITNESS: It depends on the sport -- I 14:34                    12     A. It has both boys and girls. So it could          14:37
     13 would say depends upon the participants.                14:34              13 be co-ed or mixed.                             14:37
     14         If there are enough of each gender to       14:34                  14     Q. What is the difference between calling            14:37
     15 participate, we would have separate -- separate           14:34            15 cheer mixed and saying that "participation mixed as             14:38
     16 championships.                              14:34                          16 indicated to respond to demand"?                       14:38
     17 BY MS. KANG:                                    14:34                      17     A. Basically because cheer almost always has           14:38
     18     Q. So is it fair to say that once a certain     14:34                  18 boy members. Wrestling is starting to get a number              14:38
     19 number of participants is reached for boys and            14:34            19 of them. Baseball very seldom has -- it's very            14:38
     20 girls, they have to be separate?                  14:34                    20 seldom a mixed sport. And football is very seldom.              14:38
     21     A. At some point based on the number, we              14:34            21 But golf is transitioning into its own sport.           14:38
     22 would make a recommendation to the Board of                  14:34         22     Q. By "seldom," do you mean girls seldom               14:38
     23 Directors that we now have enough to break them and             14:35      23 participate on those teams?                      14:38
     24 have a stand-alone.                         14:35                          24     A. That is correct.                    14:38
     25     Q. Can you give me an example of when you               14:35       25        Q. Just to be clear, football is a boys'       14:38
                                                                       Page 102                                                                         Page 104

      1   made that recommendation?                         14:35         1             team, but if a girl wants to play football, she        14:39
      2       A. We haven't made it yet. But I will tell 14:35            2             would be permitted to play on that team?                14:39
      3   you that we're -- you know, we have offered more          14:35 3                  A. That's correct.                       14:39
      4   opportunities for girls in golf. And our number of 14:35 4                         Q. If a boy wanted to play on a girls' team, 14:39
      5   girls playing golf has gone up significantly.        14:35      5             would they be permitted to?                        14:39
      6          We'll watch the numbers. And, as time         14:35      6                  A. No.                                14:39
      7   goes on, if we -- if the numbers continue to grow, 14:35 7                         Q. Why not?                              14:39
      8   then they will have the opportunity to have a         14:35     8                  A. Because girls have been -- they've been 14:39
      9   stand-alone program for girls' golf. Right now,        14:35    9             denied opportunity in the past, and by allowing boys 14:39
     10   they play on the boys' team or the co-ed team.         14:35 10               to participate on girls' teams that are strictly     14:39
     11          MS. KANG: So we can take down this              14:35 11               girls, for instance, girls' soccer, girls'        14:39
     12   exhibit, and I'm going to introduce a different       14:35    12             basketball, volleyball and softball, that girls       14:39
     13   document as the next exhibit, which I believe is       14:36 13               would then lose opportunity.                       14:39
     14   Exhibit 5.                              14:36                  14                  Q. Do you have any rules preventing a boy           14:39
     15          (Deposition Exhibit 5 was marked for          14:36     15             from playing on a girls' team?                     14:39
     16          identification and is attached hereto.)    14:36        16                  A. Yes.                               14:39
     17          MS. KANG: Exhibit 5 is now in everyone's 14:36 17                           Q. What rule would that be?                   14:39
     18   Marked Exhibit folder. Please let me know if you         14:36 18                  A. I have to find it in my rule book.          14:40
     19   have trouble accessing it.                     14:36           19                  Q. Why don't we go back to the rule book, and 14:40
     20   BY MS. KANG:                                   14:36           20             I'll ask you a few questions on that.               14:40
     21       Q. Mr. Dolan, let me know once you have it          14:36 21                      So we'll go back to Exhibit 3.            14:40
     22   up.                                   14:36                    22                     (Simultaneously speaking.)                 14:40
     23          And once you have it up, if you could go 14:36          23                     THE WITNESS: I'm trying to --                 14:40
     24   to Page 5 of the pdf, that would be great.          14:36      24             BY MS. KANG:                                     14:40
     25       A. Okay.                             14:36                 25                  Q. And it should be --                     14:40
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      1       A. Try --                         14:40                  1         A. I -- I'm not sure. I don't know if it's 14:43
      2       Q. It should be Exhibit 3. It should be     14:40        2      gone that far. But I would say a significant         14:43
      3   Page 17, and the Bates stamp should end in -148.      14:40 3       number, yes. I don't know if it's made it to 20.      14:43
      4       A. Page 17 talks about our membership.         14:40     4         Q. Fair enough.                          14:43
      5       Q. Yes. I'm looking at Paragraph 3.8 of      14:40       5              So the team is separated by boys' and       14:43
      6   Exhibit 3 on -148.                        14:40              6      girls' teams. Can a student ask to participate on a 14:43
      7       A. Okay.                           14:40                 7      co-ed team?                                14:43
      8       Q. Take a moment to read Paragraph 3.8 and       14:41 8           A. If there is a boys' team and a girls'       14:43
      9   let me know when you've had a chance to finish        14:41 9       team -- are we talking about, like, boys' and girls' 14:43
     10   reading it.                           14:41                 10      basketball and can the girls' basketball player play 14:44
     11       A. What page are you on again? Because I        14:41 11        on the boys' team? Is that what you're asking?         14:44
     12   don't have 3.8.                         14:41               12         Q. Yes.                              14:44
     13       Q. No problem. It's page 17. The Bates        14:41     13         A. They cannot. If there is a team for them, 14:44
     14   stamp should end in -148.                    14:41          14      they must play on the team of their gender.           14:44
     15       A. 17 of the pdf document or 17 of our --     14:41     15         Q. Let's go back to Exhibit 5.               14:44
     16   that's numbered on our rule book?               14:41       16              And then I think once we are done with       14:44
     17       Q. This might be page -- this might be 17     14:41     17      that exhibit, we can take a break.               14:44
     18   that's numbered in your rule book. My apologies.      14:41 18              So let's go back to Page 5 of the pdf. I 14:44
     19   It's Page 31 of the pdf.                  14:41             19      just have a few follow-up questions. Back to           14:44
     20       A. Okay. We're getting there.             14:41         20      Interrogatory Number 13.                        14:44
     21          MS. GREEN: We should have music to play 14:41 21                A. Okay.                              14:44
     22   through the...                         14:41                22         Q. What grades does junior varsity cover?          14:44
     23          THE WITNESS: Okay. Scroll down.              14:41 23           A. It doesn't have a grade. It could be 9 to 14:44
     24          Okay. Yep. Yes. Yes. 3.8.             14:42          24      12. You could be a senior and still on the junior 14:44
     25   ///                                                         25      varsity. If some -- some schools because of numbers 14:44
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      1   BY MS. KANG:                                   14:42            1 will have just the varsity. Some will have varsity         14:45
      2       Q. Is that the rule that you were thinking of 14:42         2 and j- -- junior varsity. And some will have              14:45
      3   that prevented a transgender boy from playing on a 14:42        3 varsity, junior varsity, and a freshman team.             14:45
      4   girls' team?                             14:42                  4         So just different designation of those       14:45
      5       A. Yes.                             14:42                   5 teams.                                   14:45
      6           MS. GREEN: Object to the form, if I           14:42     6      Q. What does junior varsity mean?                   14:45
      7   can --                                 14:42                    7      A. Junior varsity --                    14:45
      8           THE WITNESS: Okay. Back up?                    14:42    8         MS. GREEN: I was just going to object to           14:45
      9           MS. GREEN: Yes.                        14:42            9 the form.                                 14:45
     10   BY MS. KANG:                                   14:42           10         THE WITNESS: Okay.                           14:45
     11       Q. Why was this rule enacted?                  14:42       11         When you have too many kids and you                14:45
     12       A. I would assume to -- it complies with          14:42    12 have -- you want an opportunity for them, you have a 14:45
     13   Title IX, but it's -- you know, we're trying to not 14:42      13 junior varsity as long as you can get a schedule for 14:45
     14   allow boys to participate in girls' events to either 14:42     14 them.                                    14:45
     15   hurt them or dominate them.                       14:42        15 BY MS. KANG:                                      14:45
     16       Q. When was this rule, Section 3.8, enacted? 14:42         16      Q. What does "varsity" mean?                    14:45
     17       A. I would have to find that out. I'd have 14:42           17      A. You are the team that participates for the 14:45
     18   to go back through all of our rules and find when it 14:42     18 state championships.                             14:45
     19   was -- when it was enacted.                      14:42         19      Q. What does "freshman" mean?                       14:45
     20       Q. Do you believe that it was enacted within 14:43         20      A. Some large schools want to give more               14:45
     21   the past five years?                        14:43              21 opportunity to their student athletes. So they have 14:45
     22       A. No.                              14:43                  22 too many kids for a junior varsity, JV; so they have 14:46
     23       Q. Past ten?                         14:43                 23 a separate freshman program.                        14:46
     24       A. No.                              14:43                  24      Q. Just to be clear, if a student wants to      14:46
     25       Q. Past 20?                          14:43                 25 play a sport that is not in this list -- so it's not 14:46
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      1   cheer, wrestling, baseball, football, or golf --      14:46        1        So, obviously, they don't know how many             14:49
      2   they have to join either the boys' or girls' team? 14:46           2 baseball, softball, track, and tennis participants       14:49
      3      A. I think that's everybody that is not         14:46           3 we have coming up because we haven't had our teams                14:49
      4   included, yes.                              14:46                  4 yet.                                  14:49
      5      Q. One last question before we take a break. 14:46              5        MS. KANG: Okay. I think now is a good               14:49
      6          I would like to draw your attention to        14:46         6 time for everybody to take a break, if that is all       14:49
      7   Page 9 of Exhibit 5, and this is the response to        14:46      7 right with you, Mr. Dolan.                       14:49
      8   Interrogatory Number 14.                         14:46             8        THE WITNESS: Sure.                          14:49
      9      A. Okay.                               14:46                    9        Okay. Roberta, is that -- does that work         14:49
     10      Q. So just to be clear, to make sure I am          14:46       10 for you?                                 14:49
     11   reading this chart correctly, in the first row that 14:46         11        MS. GREEN: Sure. Thank you.                      14:49
     12   starts with "Andrew Jackson Middle School," it            14:46   12        MS. KANG: Of course.                        14:49
     13   indicates that one girl participated in wrestling. 14:47          13        THE VIDEOGRAPHER: This marks the end of                     14:49
     14          Is that an accurate -- is that an accurate 14:47           14 Media Number 2.                                14:49
     15   interpretation?                             14:47                 15        Going off the record. The time is 2:49.         14:49
     16      A. It is.                            14:47                     16        (Brief recess.)                     14:59
     17      Q. How do you collect these statistics?            14:47       17        THE VIDEOGRAPHER: This marks the                          15:00
     18      A. This was a survey of the schools because, 14:47             18 beginning of Media Number 3 in the deposition of                15:00
     19   when they do their eligibility, it doesn't          14:47         19 30(b)(6) Witness Bernie Dolan.                       15:00
     20   distinguish between boys and girls.                 14:47         20        Back on the record. The time is 3:01.           15:00
     21          So in order to find out who is playing        14:47        21 BY MS. KANG:                                     15:00
     22   what sports, how many -- how many girls are               14:47   22     Q. Mr. Dolan, would it be harmful to a              15:01
     23   participating in -- in the sports that allow boys      14:47      23 student if they were forbidden from playing school             15:01
     24   and girls, the co-ed or mixed, we -- we have to          14:47    24 sports?                                 15:01
     25   survey them to find out.                        14:47             25        MS. GREEN: Object to the form.                   15:01
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      1      Q. When was this survey done?                    14:47          1        THE WITNESS: There are lots of kids who                 15:01
      2      A. In the last two weeks, I would imagine. I 14:47              2 are, I think, not allowed to participate for           15:01
      3   forget. I mean, it was in the last three -- two to 14:47           3 whatever reason. It could be eligibility things.         15:01
      4   three weeks.                               14:47                   4 So happens to a lot of kids right now.                 15:01
      5      Q. Why did you survey the schools?                14:47         5        We do think there are benefits to           15:01
      6      A. Just to find out how many girls were           14:47         6 participation.                           15:01
      7   participating in our -- since we don't have accurate 14:47         7 BY MS. KANG:                                     15:01
      8   data of how many girls are playing different sports, 14:48         8     Q. What sort of benefits does playing a             15:01
      9   this was our opportunity to go ahead and -- and poll 14:48         9 school sport afford?                           15:01
     10   our membership.                               14:48               10     A. Giving an opportunity for leadership,             15:01
     11          Not every school replied. And we don't         14:48       11 personal health, camaraderie, cooperation.               15:01
     12   have a way to verify it. It was just for us to have 14:48         12     Q. I want to talk a little bit about House         15:01
     13   an idea. We looked --                          14:48              13 Bill 3293, or H.B. 3293, and a little bit more about 15:01
     14      Q. Are there any -- oh. Go ahead, please.         14:48        14 the Commission's policy for H.B. 3293 was enacted.               15:01
     15      A. We would look at this data, for instance, 14:48             15     A. Okay.                             15:02
     16   golf and wrestling, to determine how close we are to 14:48        16     Q. Do you believe that H.B. 3293 forbids             15:02
     17   having its own sport.                         14:48               17 B.P.J. from playing on a girls' team?                  15:02
     18      Q. Is this data the current data? Or is this 14:48             18        MS. GREEN: Object to the perform.                 15:02
     19   data, like, a participation across all years --     14:48         19        THE WITNESS: I would believe it did                 15:02
     20      A. And again --                          14:48                 20 before the court case. Yes.                      15:02
     21      Q. -- of all time?                      14:48                  21 BY MS. KANG:                                     15:02
     22      A. I believe -- you know, it wasn't a           14:48          22     Q. Have you ever talked to any organizations           15:02
     23   certified data. Schools were primarily listing        14:48       23 outside of the State of West Virginia regarding            15:02
     24   second -- second -- or last year's spring sports and 14:48        24 H.B. 3293?                                 15:02
     25   this year's winter and fall.                   14:49              25     A. Not that I know of.                     15:02
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      1      Q. Have you ever talked to any organizations 15:02        1                       MS. GREEN: Objection to form.                15:04
      2   outside of West Virginia concerning transgender       15:02 2                        THE WITNESS: Sorry.                       15:04
      3   athletes generally?                      15:02               3                       Yes.                           15:04
      4      A. We may have talked -- you know, our           15:02    4                BY MS. KANG:                                  15:04
      5   National Federation, it was probably on a -- one of 15:02 5                      Q. And then you may already understand this, 15:04
      6   our either winter meetings or summer meetings there 15:02 6                   but when I use the phrase "H.B. 3293," I am            15:04
      7   was probably a topic.                      15:02             7                referring to House Bill 3293.                   15:04
      8          And I would have to go back and look, but 15:02       8                       Are you familiar with this bill?         15:05
      9   the state may have put up a presentation on whatever 15:02 9                     A. Yes.                              15:05
     10   their -- whatever their rule was.             15:02         10                   Q. To your knowledge, has a cisgender boy           15:05
     11      Q. Do you remember when this meeting              15:03 11                 ever played on a girl's sports team?              15:05
     12   occurred?                              15:03                12                       MS. GREEN: Objection to the form.             15:05
     13      A. I do not.                        15:03                13                       THE WITNESS: Not to my knowledge.                 15:05
     14      Q. Do you know which state proposed a rule? 15:03 14                       BY MS. KANG:                                  15:05
     15          MS. GREEN: Object to the form.             15:03     15                   Q. To your knowledge, has it ever been raised 15:05
     16          THE WITNESS: I believe the presentation 15:03 16                       as an issue?                             15:05
     17   was from Connecticut.                       15:03           17                       MS. GREEN: Object to the form.               15:05
     18   BY MS. KANG:                                15:03           18                       THE WITNESS: No.                         15:05
     19      Q. Do you remember what the rule they            15:03   19                BY MS. KANG:                                  15:05
     20   proposed was?                            15:03              20                   Q. Currently, if a cisgender girl wants to 15:05
     21          MS. GREEN: Object to the form.             15:03     21                play football, is she permitted to do so on the      15:05
     22          THE WITNESS: I don't know. They weren't 15:03 22                       boys' team?                              15:05
     23   proposing a rule; they were explaining their rule. 15:03 23                      A. Yes. Because there's no girls' team at       15:05
     24   BY MS. KANG:                                15:03           24                the moment.                               15:05
     25      Q. Do you remember what their rule was?           15:03 25                    Q. Before H.B. 3293 was enacted, did the           15:05
                                                                        Page 114                                                                      Page 116

      1     A. I believe it was full participation by        15:03                  1 Commission allow transgender students to participate 15:06
      2 gender identity.                           15:03                            2 on sports teams consistent with their gender            15:06
      3     Q. Okay. So I'm going to ask you a few              15:03               3 identity?                               15:06
      4 questions about the Commission's policy. Before I            15:03          4         MS. GREEN: Object to the form.                15:06
      5 do so, just to be totally clear on the record, I'm    15:03                 5         THE WITNESS: Our policy ident- --               15:06
      6 just going to give you some terms that I'll explain      15:04              6 whatever the school identified them in WVEIS was how 15:06
      7 my definitions for. So whenever I ask you               15:04               7 we recognize them.                           15:06
      8 questions, this is what I mean.                  15:04                      8 BY MS. KANG:                                    15:06
      9         When I use the term "cisgender," I am         15:04                 9     Q. Can you tell me a little bit more about        15:06
     10 referring to someone whose gender identity matches            15:04        10 this policy?                             15:06
     11 the sex they were assigned at birth. So, for          15:04                11         MS. GREEN: Object to the form.                15:06
     12 example, if someone was assigned male at birth and            15:04        12         THE WITNESS: Basically, it was to protect 15:06
     13 they identify as a male, that person would be a          15:04             13 athletes from harm or unfairness because of physical 15:06
     14 cisgender boy.                             15:04                           14 abilities. So whatever the school identified them        15:06
     15         When I use the term "transgender," I am         15:04              15 at if -- if everybody was okay with that, they got       15:06
     16 referring to someone whose gender identity does not           15:04        16 to participate.                          15:06
     17 match the sex they were assigned at birth. So, for       15:04             17         If it ever came to a point where somebody       15:07
     18 example, if someone was assigned male at birth but            15:04        18 was too big, too strong, or it wasn't safe for that     15:07
     19 then they identify as female, that person would be a 15:04                 19 person to play, then they could appeal to the Board. 15:07
     20 transgender girl or woman.                       15:04                     20 BY MS. KANG:                                    15:07
     21         And so for purposes of the questions I        15:04                21     Q. Can you tell me a little bit more about        15:07
     22 will be asking next, I'll be using these definitions 15:04                 22 what you mean by "it wasn't safe" for them to play?        15:07
     23 for -- for clarity.                      15:04                             23     A. Could be a volleyball player who could           15:07
     24         Are you all right with that?            15:04                      24 jump much higher than the girls, much stronger. And 15:07
     25     A. Yes.                             15:04                              25 when he hits the ball, could hurt the -- hurt the       15:07
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      1 other participants.                      15:07                             1 looked to WVEIS to determine a student's gender?                   15:10
      2     Q. How did the Commission come up with this           15:07            2      A. We have -- we don't have access to WVEIS.               15:10
      3 policy?                               15:07                                3 We would ask the school to provide what they have                  15:10
      4     A. It was actually created by my predecessor. 15:07                    4 designated the student as in WVEIS.                        15:10
      5 And just came in in the beginnings of my time. And            15:07        5      Q. Has this always been the case?                  15:11
      6 they were just addressing an issue that hadn't come      15:07             6      A. I would assume that it's always been the            15:11
      7 to West Virginia at this point, but they wanted to      15:08              7 case. Even before we had a policy, the school                15:11
      8 have something in there as a temporary stopgap           15:08             8 determined what they put in WVEIS.                          15:11
      9 measure.                               15:08                               9      Q. Have you received any complaints about               15:11
     10        And to this point, no one has written a    15:08                   10 B.P.J.'s participation?                         15:11
     11 rule to be voted on -- our -- by our membership. So 15:08                 11      A. Not that I know of.                      15:11
     12 that has been the -- our guidance since 2016.          15:08              12      Q. And to be clear, you haven't received any           15:11
     13     Q. Who was your predecessor?                  15:08                   13 complaints about transgender students participating             15:11
     14     A. Gary Ray.                         15:08                            14 in West Virginia?                               15:11
     15     Q. And why did he feel the need to enact this 15:08                   15      A. No.                               15:11
     16 policy?                               15:08                               16      Q. Have any transgender students ever asked             15:11
     17        MS. GREEN: Object to the form.                 15:08               17 the Commission if they could participate in sports              15:11
     18        THE WITNESS: As we went to the national            15:08           18 at a secondary school level?                        15:11
     19 meetings more and more, people were saying this was            15:08      19         MS. GREEN: Object to the form.                     15:11
     20 an issue, and so they wanted -- you know, it had not 15:08                20         THE WITNESS: I had one boy who wanted to                   15:11
     21 hit West Virginia yet but wanted to have something        15:08           21 be a -- play volleyball, and we told him he couldn't 15:12
     22 in place to protect the kids.                 15:09                       22 play volleyball because it was a girls' sport. And           15:12
     23 BY MS. KANG:                                  15:09                       23 he said, "Then I'll be a boy -- I'll be a girl."        15:12
     24     Q. Did you ever receive any complaints about         15:09            24         And -- but he wasn't -- he never did            15:12
     25 this policy?                           15:09                              25 anything else with it. And we assumed he just                15:12
                                                                       Page 118                                                                       Page 120

      1      A. No.                              15:09                             1 wanted to play volleyball because it never came back 15:12
      2      Q. Do you know who specifically drafted the 15:09                     2 up.                                     15:12
      3   policy?                                15:09                             3         I did have contact with a school who said          15:12
      4      A. I believe it was probably my predecessor 15:09                     4 they had one student who one day identified as a                15:12
      5   Gary Ray and -- and the legal counsel at the time. 15:09                 5 girl, next day a boy, and back and forth. But we             15:12
      6      Q. Do you know if anyone else participated in 15:09                   6 have not heard anything more from that student.                 15:12
      7   the drafting?                            15:09                           7 So...                                   15:12
      8      A. I don't think so.                    15:09                         8 BY MS. KANG:                                       15:12
      9      Q. Was this policy ever implemented?              15:09               9      Q. When was that?                           15:12
     10      A. We have never used it, if that's what you 15:09                   10      A. That would have been in the last year.             15:12
     11   are asking.                             15:09                           11      Q. Do you remember which school it was from?                  15:12
     12      Q. What do you mean by "never used it"?            15:09             12      A. Yes.                              15:12
     13      A. Nobody ever brought up a case -- I'm not 15:09                    13      Q. Which school was it?                        15:12
     14   even aware of any case of transgender participating. 15:09              14      A. South Charleston High School.                    15:12
     15   Therefore, nobody ever brought it to the Board to       15:10           15      Q. So I'm going to introduce a document                15:13
     16   decide whether or not it was fair or safe.         15:10                16 that's going to be marked as Exhibit 6.                 15:13
     17      Q. When a school determines a student's           15:10              17         I'll let you know when it's available in        15:13
     18   gender, is that always put into WVEIS?               15:10              18 your folder.                               15:13
     19         MS. GREEN: Object to the form.                15:10               19         (Deposition Exhibit 6 was marked for               15:13
     20         THE WITNESS: I am not sure what they put 15:10                    20         identification and is attached hereto.)       15:13
     21   in WVEIS, to be honest with you. I'm not -- you         15:10           21         MS. KANG: Exhibit 6 is now available in              15:13
     22   know, each school, I would assume, has rules and         15:10          22 the shared exhibit folder.                         15:13
     23   regulations they have to do.                   15:10                    23 BY MS. KANG:                                       15:13
     24   BY MS. KANG:                                  15:10                     24      Q. Mr. Dolan, let me know when you have had a 15:13
     25      Q. Is it fair to say that the Commission       15:10                 25 chance to look at it.                        15:13
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      1      A. [Witness reviews document].                 15:13       1     BY MS. KANG:                                  15:16
      2         Okay.                            15:13                  2        Q. Did you or your staff ever consider             15:16
      3      Q. Do you recognize this document?                15:14    3     putting in this policy -- putting in a hormone         15:16
      4      A. Yeah. This was our transgender Board of 15:14           4     requirement?                              15:16
      5   Directors policy.                          15:14              5             MS. GREEN: Object to the form.                15:16
      6      Q. Is this the same policy that we were          15:14     6             THE WITNESS: No. Because we would not                  15:16
      7   discussing earlier?                        15:14              7     change the policy. I think it would -- if it was      15:16
      8      A. Yes.                              15:14                 8     going to change, it was going to be changed by a         15:16
      9      Q. So I want to draw your attention to Bullet 15:14        9     rule by our membership and was never brought forward 15:16
     10   Point 1, which says [as read]:                 15:14         10     as a rule proposal.                       15:16
     11            "The transgender student's school        15:14      11     BY MS. KANG:                                  15:16
     12         shall make the initial determination as      15:14     12        Q. Am I right to say that this policy was not 15:16
     13         to whether a student may participate in       15:14    13     a rule?                               15:16
     14         interscholastic athletics in a gender      15:14       14        A. That's correct.                     15:16
     15         that does not match the gender assigned        15:14   15        Q. What's the difference between this policy         15:16
     16         to him or her at birth."              15:14            16     versus a rule?                           15:16
     17         Did I read that correctly?             15:14           17        A. This never went before the membership to           15:16
     18      A. Yes.                              15:14                18     have a vote; so I don't think it has the power of a     15:16
     19      Q. Why did the Commission give the initial          15:14 19     rule.                                15:16
     20   determination to the transgender student's school? 15:14 20            Q. What sort of power would that be?               15:16
     21         MS. GREEN: Object to the form.                15:14    21        A. Well, this was giving guidance to a Board         15:16
     22         THE WITNESS: First of all, we -- we don't 15:14 22            of Directors.                           15:17
     23   know this student. There would be no way for us to 15:14 23                 But a rule is voted on and -- and approved 15:17
     24   know all the factors.                       15:14            24     by the State Board of Education; so it is the rule      15:17
     25         So the school is the entity that works      15:14      25     of law for high school athletics from the WVSSAC.             15:17
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      1   closely with that student and the parents and the    15:15      1      Q. What do you mean by it provided guidance            15:17
      2   family on a daily basis.                    15:15               2 to the Board of Directors?                       15:17
      3   BY MS. KANG:                                 15:15              3      A. Would allow them to grant waivers if             15:17
      4       Q. Why did the Commission think transgender 15:15           4 somebody -- if it was unsafe or unfair to other          15:17
      5   students should be able to participate on teams      15:15      5 students or to this student.                    15:17
      6   consistent with their identity?               15:15             6      Q. By unfair to the student, do you mean            15:17
      7          MS. GREEN: Object to the form.             15:15         7 unfair to the trans student?                    15:17
      8          THE WITNESS: I assume that the school          15:15     8      A. Either one. Either one. For safety or          15:17
      9   would put them in the proper place, wherever the       15:15    9 given them advantages that made it unfair.               15:17
     10   school decided based on all the factors.          15:15        10      Q. Am I right that this policy does not           15:18
     11   BY MS. KANG:                                 15:15             11 mention anything about WVEIS?                           15:18
     12       Q. Did you ever consider implementing a          15:15     12           MS. GREEN: Object to the form.                15:18
     13   hormone requirement in this policy?               15:15        13           THE WITNESS: I don't believe it -- I          15:18
     14          MS. GREEN: I'm sorry. I didn't hear what 15:15          14 don't believe it mentions WVEIS. It does say that          15:18
     15   you said, Ms. Kang.                         15:15              15 the school will make the initial determination.          15:18
     16          MS. KANG: Sure.                       15:15             16 BY MS. KANG:                                    15:18
     17   BY MS. KANG:                                 15:15             17      Q. Under this policy, what happens if a            15:18
     18       Q. Did you ever consider implementing a          15:15     18 student's gender marker in WVEIS is, let's say --          15:18
     19   hormone requirement in this policy?               15:15        19 let's say, male, but the school treats the student       15:18
     20          MS. GREEN: Thank you.                    15:15          20 as female? What would the SAC do in that situation? 15:18
     21          Object to the form.                 15:15               21           MS. GREEN: I'll object to the form.           15:18
     22          THE WITNESS: Our -- it was my                15:15      22 Speculative.                               15:18
     23   predecessor's. So I'm not sure of their discussion 15:15       23           THE WITNESS: I think we would have to             15:18
     24   as to whether or not they were going to put that in 15:16      24 look at all the factors that were involved in -- you 15:18
     25   or not.                               15:16                    25 know, I'm not even sure what the factors would be,             15:19
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      1   but I think we would have to, you know, have             15:19 1                   A. Right. It had not gone through any court 15:22
      2   everything presented to us to make a determination. 15:19 2                    action. Yes.                             15:22
      3   BY MS. KANG:                                   15:19             3                 Q. Were you concerned that the policy was           15:22
      4       Q. So is it fair to say, in that case you     15:19          4             going to be challenged at some point?                15:22
      5   would not strictly follow WVEIS?                     15:19       5                 A. All of our -- all of our policies get      15:22
      6          MS. GREEN: Object to the form.                15:19       6             challenged at some point. So...                  15:22
      7          THE WITNESS: We would -- it would be in 15:19 7                             Q. Fair enough.                        15:22
      8   the cases where it was unsafe and unfair that we         15:19 8                   A. Yes.                             15:22
      9   would not be following WVEIS. If we felt like it          15:19 9                  Q. So now I'm going to introduce a document 15:22
     10   was unsafe or unfair to the participants, other       15:19     10             as Exhibit 8. One moment.                        15:22
     11   participants or the transgender student, then the      15:19    11                    MS. KANG: Exhibit 8 is now available in 15:22
     12   Board can override it.                        15:19             12             everyone's Marked Exhibit folder.                   15:22
     13   BY MS. KANG:                                   15:19            13                    (Deposition Exhibit 8 was marked for          15:22
     14       Q. Okay. I'm going to ask you to turn your 15:19            14                    identification and is attached hereto.)     15:22
     15   attention to a document that I'm going to be marking 15:19 15                  BY MS. KANG:                                   15:22
     16   as Exhibit 7.                              15:19                16                 Q. Mr. Dolan, let me know whenever you have 15:22
     17          MS. KANG: And I'll let you know when it's 15:19 17                      it open.                               15:22
     18   available in everyone's folder.                  15:19          18                 A. Okay.                             15:23
     19          (Deposition Exhibit 7 was marked for           15:20     19                 Q. So I know this was a while ago, but do you 15:23
     20          identification and is attached hereto.)     15:20        20             remember the meeting that is referenced in             15:23
     21          MS. KANG: Exhibit 7 should now be                15:20 21               Exhibit 8?                               15:23
     22   available in everyone's Marked Exhibit folder.          15:20 22                   A. Not specifically. But yes.               15:23
     23   BY MS. KANG:                                   15:20            23                 Q. Do you remember at all who was present at 15:23
     24       Q. And let me know, Mr. Dolan, whenever you 15:20 24                       this meeting?                             15:23
     25   have a chance to -- to look at it.               15:20          25                 A. It's probably in the minutes.             15:23
                                                                         Page 126                                                            Page 128

      1     A. Okay.                              15:20                              1           THE WITNESS: Can you scroll down to the 15:23
      2     Q. So this is an email that was produced by          15:20               2   next page and see...                          15:23
      3 your counsel in response to one of plaintiff's          15:20                3           MS. GREEN: Okay.                         15:23
      4 document request.                              15:20                         4           THE WITNESS: Keep going. See if                15:23
      5        Do you remember this particular email?            15:20               5   there's...                               15:23
      6     A. After I went back and searched it, yeah.          15:20               6           [Witness reviews document].                15:24
      7 And I don't remember -- I didn't remember it until I 15:21                   7           I do not remember. I would assume it was 15:24
      8 was looking for it.                           15:21                          8   all of my Board of Directors, though.               15:24
      9     Q. Is bernie.dolan@wvssac.org your email              15:21              9   BY MS. KANG:                                    15:24
     10 address?                                 15:21                              10       Q. How often does the Board of Directors            15:24
     11     A. It is.                         15:21                                 11   meet?                                     15:24
     12     Q. Who is Daniel Swartos?                     15:21                     12       A. Mostly once a month. There a couple of           15:24
     13     A. He is the executive director for the           15:21                 13   months that we don't meet. So about ten times a          15:24
     14 South Dakota High School Athletic Association -- or            15:21        14   year.                                    15:24
     15 Activities Association.                        15:21                        15       Q. Is this Board of Directors report given to 15:24
     16     Q. Is that an association in South Dakota?          15:21               16   anyone outside of the Board of Directors?              15:24
     17     A. Yes.                              15:21                              17           MS. GREEN: Object to the form.               15:24
     18     Q. So I'd like to draw your attention to           15:21                18           THE WITNESS: I'm not sure because we              15:24
     19 Page 2 of this pdf that's been Bates Stamped -224.         15:21            19   don't give it out anymore. So I don't know if         15:24
     20 Let me know whenever you get there.                      15:21              20   that's -- if this came from the interscholastic or 15:24
     21     A. Okay.                              15:21                             21   if it was Board of Directors report that somebody        15:24
     22     Q. In this email you say [as read]:           15:21                     22   would have submitted.                           15:24
     23          "It has not been challenged yet."        15:21                     23           I don't do it currently; so I don't know 15:25
     24        To clarify, are you referring to the       15:21                     24   if it was -- who it went to in the past.          15:25
     25 policy that we looked at in Exhibit 6?                 15:21                25   ///
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      1 BY MS. KANG:                                         15:25                        1         THE WITNESS: When we meet with our                     15:27
      2      Q. Did it used to go to someone before?                 15:25                2 principals and -- when we meet with our principals            15:27
      3      A. I don't know. That's what I...                15:25                       3 and also at an administrative workshop for a number            15:28
      4      Q. So I want to draw your attention to Page 2 15:25                          4 of years, we indicated that whatever they determined 15:28
      5 of the pdf. It's been Bates Stamped -283. And it's 15:25                          5 we would accept as long as it was not unsafe or           15:28
      6 Bullet Point 4 "Legal Update."                         15:25                      6 unfair.                                15:28
      7         And in Bullet Point 4, you'll see another        15:25                    7 BY MS. KANG:                                   15:28
      8 Bullet Point iv that says "Transgender."                 15:25                    8     Q. So is it fair to say that your member          15:28
      9         Read that paragraph and let me know when               15:25              9 schools were aware of this policy?                    15:28
     10 you are finished.                              15:25                             10     A. Well, I would think at different times.         15:28
     11      A. [Witness reviews document].                     15:25                    11 Again, the turnover at schools is high. So if --        15:28
     12         Okay.                            15:25                                   12 did somebody -- every person -- did we verify that            15:28
     13      Q. Regarding this specific topic, what was              15:25               13 they heard it? I don't know.                    15:28
     14 discussed?                                    15:26                              14         But the turnover is relatively high at all 15:28
     15         MS. GREEN: Object to the form.                   15:26                   15 of our schools, especially at the principal level.      15:28
     16         THE WITNESS: Based on the information                    15:26           16 So...                                 15:28
     17 there -- obviously, I can't remember in 2016 -- but            15:26             17     Q. Would it be fair to say that at one point       15:28
     18 we were discussing the policy and how it was -- how                  15:26       18 you did inform the member schools about this policy? 15:28
     19 schools would -- how it would work with the schools. 15:26                       19         MS. GREEN: Object to the form.                 15:28
     20 BY MS. KANG:                                         15:26                       20         THE WITNESS: As long as they attended our 15:29
     21      Q. And what do you mean "how it would work                  15:26           21 meetings, yes. They might not --                   15:29
     22 with the schools"?                              15:26                            22 BY MS. KANG:                                   15:29
     23      A. Well, it says, Number 1, the school would              15:26             23     Q. And by --                          15:29
     24 make the first determination; did they meet all               15:26              24     A. -- have attended.                      15:29
     25 other eligibility requirements; was it fair             15:26                    25     Q. And by "meetings," do you mean the Board               15:29
                                                                              Page 130                                                                       Page 132

      1 competition if the school allows; you know, was                 15:26             1   of Directors meetings?                          15:29
      2 there an appeal process; and then make sure that we              15:26            2      A. No. It would be our regional principals 15:29
      3 look at each case on an individual basis and kind              15:26              3   meetings that we did at the beginning of each year. 15:29
      4 of -- where the Board stood.                          15:26                       4      Q. Does the Commission report H.B. 3293?              15:29
      5      Q. What do you mean by "where the Board                    15:26             5          MS. GREEN: Object to form.                   15:29
      6 stood"?                                      15:26                                6          THE WITNESS: I don't think we ever --            15:29
      7      A. I don't know what the discussion was at               15:27               7   there was ever a position on it. I think our         15:29
      8 that point.                                  15:27                                8   position has been we support Title IX and try to        15:29
      9      Q. I notice that in this line it says           15:27                        9   give more opportunities for girls. But bottom line 15:29
     10 [as read]:                               15:27                                   10   is we are not allowed to discriminate by our rule -- 15:29
     11           "Editing our transgender policy and           15:27                    11   by our policies.                            15:29
     12         guidelines...."                       15:27                              12   BY MS. KANG:                                    15:29
     13         As far as you know, was there any editing             15:27              13      Q. By "not allowed to discriminate," do you 15:29
     14 that was done to the policy?                          15:27                      14   mean also not allowed to discriminate against           15:29
     15      A. I don't believe we edited anything because 15:27                         15   transgender students?                          15:30
     16 it's still the exact same policy that -- that they       15:27                   16      A. I would think we are not allowed to -- we 15:30
     17 approved months earlier.                             15:27                       17   are not allowed to discriminate against transgender. 15:30
     18      Q. Do you remember if the Board of                      15:27               18   That's correct.                            15:30
     19 Directors -- the Board of Directors unanimously                 15:27            19       Q. Could you tell me a little bit more about 15:30
     20 approved this policy?                            15:27                           20   what you mean by advance Title IX?                    15:30
     21      A. I don't know.                          15:27                             21      A. Well, we continued to offer more               15:30
     22      Q. Do you remember if anything was ever                   15:27             22   opportunities and protect the opportunities that       15:30
     23 conveyed outside of the Board of Directors regarding 15:27                       23   girls have.                              15:30
     24 this policy?                                 15:27                               24          We have increased the opportunities for 15:30
     25         MS. GREEN: Object to the form.                   15:27                   25   girl golfers to participate just against girls. So 15:30
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      1   our number of girls' golfers has risen tremendously. 15:30 1                 BY MS. KANG:                                  15:33
      2           We also have supported a girls' only        15:30       2               Q. Believe it or not, I am on my last set of 15:33
      3   wrestling invitational that has allowed more girls 15:30        3            questions. So thank you for bearing with me so far. 15:33
      4   to participate in wrestling.                   15:30            4            Hopefully, we can get this done early.             15:33
      5           We have encouraged schools to make sure         15:31 5                    So now I want to talk a little bit more     15:33
      6   that Title IX is followed when they are putting in 15:31        6            about House Bill 3293.                        15:33
      7   fields, putting in locker rooms, money for programs, 15:31 7                       Were you involved at all in the passage of 15:33
      8   and things like that.                        15:31              8            H.B. 3293?                                15:33
      9       Q. Do you believe that Title IX also protects 15:31         9                  MS. GREEN: Object to the form.               15:33
     10   transgender girls?                           15:31             10                  THE WITNESS: I wouldn't say I was               15:33
     11           MS. GREEN: Object to the form.               15:31     11            involved in the passage.                     15:33
     12           THE WITNESS: I -- I am not sure. I think 15:31 12                          Oftentimes I get asked to come down and         15:33
     13   that it -- it has been ruled that way, yes.        15:31       13            speak. And I was asked to speak to the Democratic 15:33
     14   BY MS. KANG:                                    15:31          14            caucus. And I pretty much said what I said earlier. 15:33
     15       Q. Have there ever been any safety concerns 15:31 15                     We support girls' sports and continued to offer more 15:33
     16   with girls playing on the boys' team?               15:31      16            opportunities for them. But we're not allowed to       15:33
     17           MS. GREEN: Object to the form.               15:31     17            discriminate.                            15:34
     18           THE WITNESS: The girls are choosing to           15:31 18            BY MS. KANG:                                  15:34
     19   participate. So I think all kids there's -- there's 15:31      19               Q. Besides the Democratic caucus, did you          15:34
     20   an oppor- -- there's a possibility of injury. And 15:31        20            speak to anyone else?                        15:34
     21   so, you know, it -- it's brought out in their       15:31      21               A. I had communication with Melissa White,           15:34
     22   preparticipation physical that, you know, there is a 15:31 22                who was -- is the counsel for House Ed.             15:34
     23   possibility of injury.                       15:32             23               Q. And did you think --                    15:34
     24   BY MS. KANG:                                    15:32          24               A. And I think that --                   15:34
     25       Q. To your knowledge, have there been any           15:32 25                Q. Go ahead.                           15:34
                                                                       Page 134                                                           Page 136

      1 injuries from a girl playing on a boys' team?          15:32               1       A. I don't think -- I don't think we spoke     15:34
      2          MS. GREEN: Object to the form.               15:32                2   about it. She had sent me an email about it.         15:34
      3          THE WITNESS: Oh, I'm sure. I mean, I           15:32              3       Q. Did you speak to any legislative committee 15:34
      4 don't know specifically. But there's -- people get      15:32              4   about H.B. 3293?                            15:34
      5 hurt every day in every sport. So I'm sure somebody 15:32                  5          MS. GREEN: Object to the form.               15:34
      6 has gotten hurt in football or wrestling.           15:32                  6          THE WITNESS: I spoke to the caucus. I           15:34
      7 BY MS. KANG:                                   15:32                       7   was down there as a witness in front of finance, I 15:34
      8       Q. In the context of school sports, what is     15:32                8   believe, Senate finance -- or House finance. But I 15:34
      9 competitive skill?                          15:32                          9   was never called in to -- to give an opinion or any 15:34
     10          MS. GREEN: Object to the form.               15:32               10   information.                              15:34
     11          THE WITNESS: Skill needed to be               15:32              11   BY MS. KANG:                                  15:34
     12 successful in that sport.                     15:32                       12       Q. So you were called in as a witness but you 15:34
     13 BY MS. KANG:                                   15:32                      13   didn't testify?                          15:34
     14       Q. Does cross-country require competitive        15:32              14       A. They told me to be available.             15:34
     15 skill?                                15:32                               15       Q. Were you told anything about H.B. 3293           15:35
     16          MS. GREEN: Object to the form.               15:32               16   before it was passed?                        15:35
     17          THE WITNESS: I would think so.                15:32              17          MS. GREEN: Object to the form.               15:35
     18 BY MS. KANG:                                   15:32                      18          THE WITNESS: Actually, I was sent an            15:35
     19       Q. Do you know whether any girls who tried         15:32            19   email from Melissa White. But when I looked at it, 15:35
     20 out for cross-country at Bridgeport Middle School           15:32         20   the beginning of it was a home school bill.          15:35
     21 for the fall of 2021 were unable to join the team?      15:32             21          So I assumed she sent the wrong bill.       15:35
     22          MS. GREEN: Object to the form.               15:33               22   And -- but it did say "transgender" at the top. So 15:35
     23          THE WITNESS: We were not involved in the             15:33       23   I sent it to the legal counsel who was helping us     15:35
     24 selection. So I don't know.                    15:33                      24   with legislative activity. Or --              15:35
     25 ///                                                                       25          MS. GREEN: And I'll object to the form. 15:35
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      1         THE WITNESS: Okay.                           15:35                    1 would say we're following it, yes.                 15:38
      2         MS. GREEN: Caution him regarding                  15:35               2     Q. Okay. I'm going to introduce a document             15:38
      3 conversations with counsel.                       15:35                       3 as Exhibit 9, and I'll let you know when it's            15:38
      4         THE WITNESS: Okay.                           15:35                    4 available.                              15:38
      5 BY MS. KANG:                                   15:35                          5        (Deposition Exhibit 9 was marked for              15:38
      6     Q. By "counsel," was it counsel at the            15:35                   6        identification and is attached hereto.)     15:39
      7 Commission?                                  15:35                            7        MS. KANG: Exhibit 9 is now available in             15:39
      8     A. It is counsel --                   15:35                               8 the Marked Exhibits folder.                       15:39
      9         MS. GREEN: I'll just --                15:35                          9 BY MS. KANG:                                     15:39
     10         THE WITNESS: Okay.                           15:35                   10     Q. And let me know when you have a chance to             15:39
     11         MS. GREEN: -- object to the form.             15:36                  11 pull it up, Mr. Dolan.                      15:39
     12         THE WITNESS: Okay.                           15:36                   12     A. Okay.                            15:39
     13         It was counsel we've had at -- that we        15:36                  13     Q. So these are some text messages that your           15:39
     14 used during legislative time.                    15:36                       14 counsel produced in response to Plaintiff's              15:39
     15 BY MS. KANG:                                   15:36                         15 discovery requests. It's been Bates stamped               15:39
     16     Q. Who is this person?                     15:36                         16 WVSSAC000001. And I'm going to represent to you                    15:39
     17         MS. GREEN: I'll just object to the form.         15:36               17 that these are texts between you and                15:39
     18 I think they're in the privilege log. We identified 15:36                    18 Stephen Baldwin.                            15:39
     19 them.                                  15:36                                 19        Do you remember this conversation?                15:39
     20         Do you know the name of the firm?              15:36                 20     A. Yes.                            15:39
     21         THE WITNESS: Dinsmore & Shohl is the law                 15:36       21        MS. GREEN: Object to the form.                15:39
     22 firm.                                 15:36                                  22        THE WITNESS: Yes, I do.                      15:39
     23 BY MS. KANG:                                   15:36                         23 BY MS. KANG:                                     15:39
     24     Q. Did any legislators tell you about the         15:36                  24     Q. Who is Stephen Baldwin?                      15:39
     25 purpose of H.B. 3293?                            15:36                       25     A. Senator from Greenbrier County.               15:39
                                                                          Page 138                                                                        Page 140

      1         MS. GREEN: Object to the form.                 15:36                  1       Q. Is this the same Democratic office that       15:40
      2         THE WITNESS: I don't remember having that 15:36                       2   you were just talking about?                   15:40
      3 conversation with any of them. I had one email from 15:36                     3       A. Yes, ma'am.                         15:40
      4 Senator Unger, who sent me the NCAA guidelines at                 15:36       4       Q. Why did you decide to participate in this 15:40
      5 the time. It was unsolicited and didn't have             15:36                5   meeting?                                15:40
      6 anything, really, with it, just a link to the NCAA        15:36               6          MS. GREEN: Object to the form.               15:40
      7 guidelines.                              15:37                                7          THE WITNESS: Oftentimes I -- I don't feel 15:40
      8 BY MS. KANG:                                   15:37                          8   like I have a choice. When the legislature calls, I 15:40
      9     Q. Did you respond to that email?                15:37                    9   need to go down and be heard.                     15:40
     10     A. I did not.                        15:37                               10   BY MS. KANG:                                  15:40
     11     Q. Has the Commission taken any steps to              15:37              11       Q. Did you bring any documents with you to          15:40
     12 contemplate policies or rules concerning the              15:37              12   this meeting?                             15:40
     13 implementation of H.B. 3293?                         15:37                   13       A. Just the -- just our board policy.        15:40
     14         MS. GREEN: Object to the form.                 15:37                 14       Q. Do you remember if you were shown any             15:40
     15         THE WITNESS: The legislation 3293 charged 15:37                      15   documents at the meeting?                       15:40
     16 the Department of Ed with creating the rule. So            15:37             16       A. I don't remember.                     15:40
     17 we're going to wait for those guidelines to come out 15:37                   17       Q. Did the Democratic Caucus give you any           15:40
     18 and then probably just bring them into our rule book 15:37                   18   documents?                                15:40
     19 like we did the 2.0.                         15:37                           19       A. I don't remember if they gave me the bill 15:40
     20 BY MS. KANG:                                   15:37                         20   at that time or not. So I'm not sure.           15:40
     21     Q. But to be clear, if the State Board           15:37                   21       Q. So if you scroll down to the document          15:41
     22 promulgates a rule, will the Commission have to              15:37           22   that's Bates Stamped -006. And I believe it's         15:41
     23 follow that rule?                          15:38                             23   Page 6 of 7 of the pdf of Exhibit 9.             15:41
     24     A. Our schools would have to follow it,            15:38                 24       A. Okay.                            15:41
     25 which, if all of our schools have to follow it, I        15:38               25       Q. Do you know who Rucker is?                   15:41
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      1      A. Senator Rucker is the Senate education           15:41     1      A. I believe in the Title IX document it says 15:45
      2   chair.                                 15:41                     2   you can't discriminate. And so we support Title IX; 15:45
      3      Q. Do you agree with her statement that it is 15:41           3   so we have to support the whole thing.              15:45
      4   not a real policy?                         15:41                 4      Q. You also say in your response that            15:45
      5      A. I believe it is a policy that -- but it    15:41           5   [as read]:                              15:45
      6   had not -- it didn't go through a rule-writing       15:42       6             "This has increased the quantity and     15:45
      7   process and was never challenged in court and           15:42    7          quality of opportunities for girls in     15:45
      8   upheld.                                 15:42                    8          our schools."                       15:45
      9          So we think it was an internal policy,       15:42        9          What opportunities do you believe has been 15:45
     10   yes, that we give our --                      15:42             10   increased?                                15:45
     11      Q. What do you mean --                       15:42           11      A. Well, when I was in school, which would           15:45
     12      A. We give our board the opportunity to hear 15:42           12   have been the early -- early '70s, may or may not       15:45
     13   cases of appeals.                          15:42                13   have had girls' basketball at all and wouldn't have 15:45
     14      Q. Can you clarify what you mean by "internal 15:42          14   had volleyball or soccer, for sure, swim. So over 15:45
     15   policy"?                                15:42                   15   the last 50 years, we have increased the sports that 15:45
     16      A. Well, it wasn't in our rule book.           15:42         16   girls can participate in a hundred times over.       15:45
     17      Q. So I'm going to introduce an additional         15:42     17      Q. Do you believe that B.P.J. should have the 15:45
     18   document as Exhibit 10.                         15:42           18   right to these opportunities?                  15:46
     19          (Deposition Exhibit 10 was marked for          15:43     19          MS. GREEN: Object to the form.               15:46
     20          identification and is attached hereto.)     15:43        20          THE WITNESS: I believe we'll follow the 15:46
     21          MS. KANG: Exhibit 10 is now available in 15:43           21   rule -- the law.                          15:46
     22   the Marked Exhibits folder.                      15:43          22   BY MS. KANG:                                   15:46
     23   BY MS. KANG:                                   15:43            23      Q. What do you mean by "follow the law"?             15:46
     24      Q. Let me know when you have it up,                15:43     24      A. Whatever -- whatever the Department of Ed 15:46
     25   Mr. Dolan.                                15:43                 25   writes as the rule, then we have to implement that 15:46
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      1      A. [Witness reviews document].                 15:43          1 with all of our schools.                      15:46
      2          Okay.                             15:43                   2       Q. Do you believe that B.P.J.'s participation 15:46
      3      Q. Do you remember this email?                  15:43         3 in cross-country harms any of these opportunities?           15:46
      4      A. After I looked it back up, yes.           15:44            4          MS. GREEN: Object to the form.                15:46
      5      Q. And is that still your email address at      15:44         5          THE WITNESS: Well, "harm" is a -- a               15:46
      6   the top?                                 15:44                   6 unique word because harm might be that it might not            15:46
      7      A. It is.                            15:44                    7 physically harm somebody, but they -- you know, harm 15:46
      8      Q. Who is John Raby?                        15:44             8 might be that you take somebody's position on the             15:46
      9      A. John Raby is an Associated Press reporter. 15:44           9 team.                                   15:46
     10      Q. Had you spoken to him before?                15:44        10          In cross-country, only the top seven kids     15:46
     11      A. Probably in a different capacity. When I 15:44            11 get to compete on the varsity team, whether it's            15:46
     12   was the director of Super Six, he was a reporter      15:44     12 middle school or high school. If you are               15:46
     13   that would come to games. So...                  15:44          13 number seven and you get bumped out, there might be                15:46
     14      Q. So on the first page of Exhibit 10,         15:44         14 harm.                                   15:47
     15   Mr. Raby asks the question [as read]:              15:44        15          But, in general, physical harm, I don't     15:47
     16            "What does the WVSSAC think of the           15:44     16 believe so.                               15:47
     17          bill?"                          15:44                    17 BY MS. KANG:                                    15:47
     18          And then if you go to the next page of      15:44        18       Q. Do you know if B.P.J. has, as you say,            15:47
     19   Exhibit 10, in response you write [as read]:         15:44      19 bumped out another girl?                           15:47
     20            "The WVSSAC has supported Title IX            15:44    20       A. I do not.                        15:47
     21          for the last 50 years...Title IX has     15:44           21          MS. GREEN: Object to the form.                15:47
     22          non discrimination language that we         15:44        22          THE WITNESS: Okay.                         15:47
     23          support."                         15:45                  23          MS. KANG: So I am going to introduce               15:47
     24          What do you mean by "Title IX has            15:45       24 another document as Exhibit 11.                      15:47
     25   non-discrimination language that we support"?           15:45   25 ///
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      1          (Deposition Exhibit 11 was marked for           15:47       1            But we'll take a pause here and come back          15:50
      2          identification and is attached hereto.)      15:48          2 around 3:56.                                 15:50
      3          MS. GREEN: Okay.                          15:48             3            THE WITNESS: Okay.                            15:50
      4          MS. KANG: Exhibit 11 is now available in 15:48              4            THE VIDEOGRAPHER: Going off the record.                    15:50
      5   everyone's Marked Exhibit folder.                    15:48         5 The time is 3:51.                              15:50
      6   BY MS. KANG:                                    15:48              6            (Brief recess.)                   15:57
      7      Q. Let me know when you have it up.                 15:48       7            THE VIDEOGRAPHER: Back on the record.                      15:57
      8          And, Mr. Dolan, we can take a five-minute 15:48             8 The time is 3:57.                              15:57
      9   break, I think, after -- after this email, before we 15:48         9 BY MS. KANG:                                         15:57
     10   wrap up.                                   15:48                  10         Q. Mr. Dolan, I'm going to introduce another           15:57
     11      A. Okay.                                15:48                  11 document as Exhibit 12.                              15:57
     12          Scroll down.                         15:48                 12         A. Okay.                            15:57
     13          Okay.                             15:48                    13         Q. And I'll let you know when it's in there.         15:57
     14      Q. Do you recognize this email?                  15:48         14            (Deposition Exhibit 12 was marked for             15:57
     15      A. I do.                              15:48                    15            identification and is attached hereto.)       15:58
     16      Q. Do you remember this email?                    15:48        16            MS. KANG: Okay. Exhibit 12 is now                  15:58
     17      A. I don't know if I remember it. But I           15:48        17 available in the Marked Exhibits folder.                   15:58
     18   recognize it, yes.                           15:48                18 BY MS. KANG:                                         15:58
     19      Q. Who is Josh Weekley?                         15:48          19         Q. Let me know when you have had a chance to               15:58
     20      A. He runs RunWV which keeps track of all              15:48   20 pull it up.                                15:58
     21   boys' and girls' track and cross-country times and 15:49          21         A. Scroll down.                        15:58
     22   posts them on runwv.com.                           15:49          22            That's it. Okay.                   15:58
     23      Q. Why did you contact him?                      15:49         23            Okay.                           15:58
     24      A. I was looking for data in comparing girls' 15:49            24         Q. Is this the same Melissa White as the one          15:59
     25   times to boys' times.                         15:49               25 you were referencing earlier?                         15:59
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      1       Q. Why did you want that data?                 15:49        1            A. Yes.                            15:59
      2       A. Just curious to see if there were         15:49          2            Q. Do you know what Melissa White's position              15:59
      3   advantages that boy -- if -- what the actual data     15:49     3      is?                                    15:59
      4   showed for comparison of boys' and girls' times.        15:49 4              A. Well, on the paper it says Chief Counsel           15:59
      5       Q. Did you ask in response to any questions 15:49           5      for Committee on Education of West Virginia House of 15:59
      6   from the West Virginia Legislature?                 15:49       6      Delegates.                                15:59
      7       A. I don't remember the time frame of this; 15:49           7            Q. Do you know why Melissa White reached out                 15:59
      8   so I don't know if it was before or after or during 15:49       8      to you regarding H.B. 3293?                          15:59
      9   the legislative time.                       15:49               9            A. There may have been original language in              15:59
     10       Q. Did you ever get the data from Josh           15:49     10      there that may have identified the WVSSAC. I don't                 15:59
     11   Weekley?                                  15:50                11      know. But it involves athletics; so I'm sure, as a          15:59
     12       A. Did not. Did not. They had computer            15:50    12      courtesy, she was sending me something.                     15:59
     13   problems and so...                           15:50             13            Q. Had you spoken to her about athletics             15:59
     14       Q. What did you mean by "a transgender issue" 15:50 14             before this email?                             15:59
     15   on the --                               15:50                  15               MS. GREEN: I'll object to the form.            15:59
     16       A. Again --                           15:50                16               THE WITNESS: This -- that -- last year or 15:59
     17       Q. -- first page?                      15:50               17      in general?                               15:59
     18       A. I was asking -- I was just telling him. I 15:50         18      BY MS. KANG:                                       15:59
     19   was trying to compare boys' times and girls' times 15:50 19                  Q. In general.                       15:59
     20   and what hap- -- you know, what the actual times         15:50 20            A. Yeah. I mean, every time there is              15:59
     21   were of boys and girls competing against each other. 15:50 21          legislation involving athletics, home school,              15:59
     22          MS. GREEN: Okay. I think if folks are          15:50    22      whatever, it's not unusual for them to contact me            15:59
     23   all right, we will take a five-minute break, and      15:50    23      about our position or our input on it.                 16:00
     24   then I should have -- let's see -- I should have a 15:50       24            Q. So you notice in the top-right corner,         16:00
     25   couple more exhibits to go through.                 15:50      25      Thursday, March 11th is underlined.                     16:00
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      1        Was this the first time that Melissa White 16:00                       1   BY MS. KANG:                                   16:03
      2 spoke to you about H.B. 3293?                         16:00                   2       Q. Who is "them"?                        16:03
      3        MS. GREEN: Object to the form.                   16:00                 3       A. House -- House Education.                  16:03
      4        THE WITNESS: I believe it was. I may                16:00              4       Q. Did you provide the policy to her?           16:03
      5 have been underlining that as I was gathering my               16:00          5       A. I'm sure I did.                    16:03
      6 documents to make sure I got them all out of my                16:00          6       Q. Did she say anything to you afterwards         16:03
      7 email. So that might be why that was underlined.               16:00          7   about the transgender policy?                    16:03
      8 BY MS. KANG:                                      16:00                       8       A. Not that I recall.                  16:03
      9     Q. In this email, she asks for your thoughts          16:00               9       Q. Did the two of you discuss H.B. 3293 after 16:03
     10 on H.B. 3293.                                 16:00                          10   this text conversation at any point?              16:04
     11        Did you provide her with any thoughts?             16:00              11          MS. GREEN: Object to the form.               16:04
     12     A. I did not. It was -- it -- I thought        16:00                     12          THE WITNESS: Not that I recall.              16:04
     13 there was an attachment to that, and I sent it off.       16:01              13          MS. KANG: I'm just going to introduce one 16:04
     14        Was there -- oh, yeah. There it is. Down 16:01                        14   last exhibit, Exhibit 14.                   16:04
     15 at the bottom.                             16:01                             15          (Deposition Exhibit 14 was marked for          16:04
     16        And I didn't -- I didn't open it. I sent    16:01                     16          identification and is attached hereto.)    16:04
     17 it off to Dinsmore & Shohl.                        16:01                     17          MS. KANG: Exhibit 14 is now available in 16:04
     18     Q. Did you ever have any verbal                    16:01                 18   the Marked Exhibits folder.                     16:04
     19 communications with Melissa White about this bill?              16:01        19   BY MS. KANG:                                   16:04
     20     A. The only communication I could -- might              16:01            20       Q. And let me know when you have it up.            16:04
     21 have had is that when she asked me to come to the              16:01         21          THE WITNESS: That is 11.                    16:04
     22 finance meeting and wait outside. And then I was               16:01         22          MS. GREEN: Oh. I'm sorry. Uploaded              16:04
     23 told I wasn't needed.                          16:01                         23   error there.                            16:04
     24        MS. KANG: I'm going to introduce a                 16:01              24          THE WITNESS: It was 9. Yeah.                  16:04
     25 document as Exhibit 13.                           16:01                      25          There it is.                     16:04
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      1          (Deposition Exhibit 13 was marked for         16:02      1                      MS. GREEN: I'm sorry.                   16:04
      2          identification and is attached hereto.)    16:02         2                      THE WITNESS: Okay.                        16:05
      3          MS. KANG: Exhibit 13 is now available in 16:02 3                         BY MS. KANG:                                  16:05
      4   everyone's Marked Exhibit folder.                  16:02        4                  Q. So on the first page that is Bates         16:05
      5   BY MS. KANG:                                   16:02            5               Stamped -286, you will see it reads "Regional         16:05
      6       Q. So let me know when you have it up. And 16:02 6                          Principals' Meetings."                       16:05
      7   once you have it up, if you could scroll to the very 16:02      7                      What is the purpose of the Regional         16:05
      8   last page that has been Bates stamped -370. Let me 16:02 8                      Principals' Meetings?                        16:05
      9   know.                                   16:02                   9                  A. It's when we make sure that any new rules, 16:05
     10       A. Okay.                             16:02                 10               we go over them. And then also -- most importantly, 16:05
     11       Q. Do you recognize this text exchange?          16:02     11               they get their C&I cards, which are all the coaches 16:05
     12       A. Yes.                             16:02                  12               get in free to games.                      16:05
     13       Q. Is the Melissa at the top of the thread     16:03       13                      And so that's the only reason why they       16:05
     14   referring to Melissa White?                     16:03          14               come to the meeting, sadly to say, not to hear me      16:05
     15       A. Yes.                             16:03                  15               speak.                                 16:06
     16       Q. Do you know why she asked for the              16:03    16                  Q. And apologies for my ignorance. But            16:06
     17   transgender policy?                         16:03              17               what's a C&I card?                          16:06
     18          MS. GREEN: Object to the form.               16:03      18                  A. Courtesy and identification card. It's      16:06
     19          THE WITNESS: At some point, I don't --          16:03 19                 like a free pass into all high school games.        16:06
     20   I'm not sure of the date. But at some point we        16:03    20                  Q. All right. Scroll down one page in           16:06
     21   were -- you know, we had told them that we had a         16:03 21               Exhibit 14 to the page Bates Stamped -287.            16:06
     22   Board policy for transgender.                    16:03         22                  A. Is it the schedule?                  16:06
     23          So I'm sure she was trying to get a copy 16:03          23                  Q. No. It's just the first --           16:06
     24   of that.                               16:03                   24                  A. Regional Principals' Meeting?               16:06
     25   ///                                                            25                  Q. That's correct.                     16:06
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      1      A. First slide?                     16:06                               1 current position is that gender is identified in          16:09
      2      Q. That's -- that's correct.            16:06                           2 WVEIS," would you have to depend on the school's                  16:09
      3      A. Okay.                           16:06                                3 determination?                              16:09
      4      Q. So are these the slides that were        16:06                       4       A. Yes.                            16:09
      5   presented at this meeting?                   16:06                         5       Q. Can the information in WVEIS for someone's 16:10
      6      A. Yes.                           16:06                                 6 gender be changed?                                16:10
      7      Q. Do you know who prepared these slides?         16:06                 7          MS. GREEN: Object to the form.                   16:10
      8      A. Each of us prepared our -- our portion,     16:06                    8          THE WITNESS: I'm not sure what the rules            16:10
      9   myself and the three assistants. So we all have     16:06                  9 are for WVEIS.                                  16:10
     10   different areas to cover.                  16:07                          10 BY MS. KANG:                                      16:10
     11      Q. By "three assistants," you mean your three 16:07                    11       Q. Do you know who contributes information to 16:10
     12   assistant executive directors?               16:07                        12 WVEIS?                                     16:10
     13      A. Uh-huh.                           16:07                             13          MS. GREEN: Object to the form.                   16:10
     14      Q. So I want to draw your attention to what's 16:07                    14          THE WITNESS: Each school does, but I'm                 16:10
     15   been Bates stamped -346. Apology if I -- will       16:07                 15 not sure, like, who in each school.                  16:10
     16   identify the page number in a moment.              16:07                  16 BY MS. KANG:                                      16:10
     17          So it is Page 61 of the pdf.         16:07                         17       Q. Do you remember if this slide was                16:10
     18      A. Okay.                           16:07                               18 discussed during the regional principals' meeting?           16:10
     19      Q. Do you recognize this slide?             16:07                      19       A. Probably was. I would say yes.                 16:10
     20      A. I'm not there yet.                  16:07                           20       Q. What was discussed?                       16:10
     21          MS. GREEN: I'm sorry.                  16:07                       21          MS. GREEN: Object to the form.                   16:10
     22   BY MS. KANG:                                16:07                         22          THE WITNESS: Just what was on the slide,               16:10
     23      Q. Oh. I'm sorry.                     16:07                            23 that current law is being challenged, and we were            16:10
     24      A. Yes.                           16:08                                24 waiting for final ruling from the Department of Ed.             16:10
     25      Q. Do you know who prepared this slide?          16:08                 25 ///
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      1     A. This would have been Cindy Daniel.                16:08               1 BY MS. KANG:                                      16:10
      2     Q. And she is one of your --                 16:08                       2       Q. Anything else?                         16:10
      3     A. Assistant executive directors.               16:08                    3       A. As it relates to transgender as it relates 16:10
      4     Q. So in the second bullet point here, it         16:08                  4 to this slide, you mean?                          16:10
      5 says [as read]:                             16:08                            5       Q. That's correct.                    16:11
      6           "WVSSAC's current position is that           16:08                 6       A. I don't think there was anything more            16:11
      7         gender is identified in WVEIS for            16:08                   7 discussed, from my knowledge.                           16:11
      8         athletic participation purposes."           16:08                    8          MS. KANG: So I believe that is all my            16:11
      9         What does this mean?                    16:08                        9 questions.                                16:11
     10     A. Well, I think this was before the ruling         16:08               10          I'm going to go off the record for about       16:11
     11 that B.P.J. could participate; so that we were still 16:08                  11 five minutes or so and see if there's anything else         16:11
     12 reiterating it in our policy at the time until we       16:08               12 I need to ask.                             16:11
     13 got the final ruling from the Department of Ed.             16:09           13          But, otherwise, I think we're at the       16:11
     14     Q. Just to be clear, if someone's gender in        16:09                14 finish line, Mr. Dolan.                         16:11
     15 WVEIS is male, does that mean they would have to                16:09       15          THE WITNESS: Good.                          16:11
     16 play on the boys' team?                         16:09                       16          THE VIDEOGRAPHER: Off the record. The                     16:11
     17     A. Yes.                             16:09                               17 time is 4:11.                             16:11
     18     Q. Before H.B. 3293 was enacted and under                16:09          18          (Brief recess.)                   16:17
     19 your trans policy, did you just rely on the school's 16:09                  19          THE VIDEOGRAPHER: Back on the record.                     16:17
     20 determination of gender or would you go into WVEIS               16:09      20 The time is 4:18.                           16:17
     21 and look at WVEIS?                              16:09                       21          MS. KANG: Mr. Dolan, I am finished asking 16:17
     22     A. We don't have access to WVEIS; so we                  16:09          22 my questions. I will reserve the right to ask any          16:17
     23 wouldn't be able to. And, to our knowledge, we               16:09          23 questions depending on other parties' questions.            16:18
     24 didn't have any other cases prior to this.            16:09                 24 I'll also reserve the right to ask questions if         16:18
     25     Q. So in this slide, when it says "the           16:09                  25 there are changes in the errata. But otherwise I           16:18
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      1 think we're -- you're done with me for today.               16:18               1     A. I don't --                         16:20
      2        THE WITNESS: Okay. Thank you.                        16:18               2     Q. Go ahead.                             16:20
      3        THE VIDEOGRAPHER: Is there anybody else                      16:18       3     A. I don't remember if it was on this past             16:20
      4 with questions or should I go ahead and close out?            16:18             4 year -- it was on this year with Cindy's slide, but         16:20
      5        MR. SCRUGGS: This is Jonathan Scruggs for 16:18                          5 normally it was on mine.                           16:20
      6 the intervenor. No questions from us.                  16:18                    6          So I don't -- I would have to go back and         16:20
      7        MS. MORGAN: This is Kelly Morgan.                      16:18             7 check all my -- if we record them. And if you                16:20
      8        No questions for the State Board and            16:18                    8 didn't go to the meeting, then you were able to              16:20
      9 Superintendent Burch.                              16:18                        9 listen to the recording.                       16:20
     10        MR. CROPP: This is Jeffrey Cropp for                 16:18              10     Q. Okay. This policy -- excuse me.                 16:20
     11 Harrison County Board of Education and Dora Stutler. 16:18                     11          The policy was never voted on by the              16:21
     12                                     16:18                                      12 member schools, the transgender policy?                     16:21
     13                EXAMINATION                          16:18                      13     A. That's correct.                       16:21
     14 BY MR. CROPP:                                      16:18                       14          MR. CROPP: I don't have any further                16:21
     15     Q. I just have a couple of follow-up              16:18                    15 questions.                                 16:21
     16 questions, Mr. Dolan.                          16:19                           16          Thank you.                         16:21
     17     A. Okay.                               16:19                               17          MR. CAPEHEART: Curtis Capeheart for the                   16:21
     18     Q. Regarding Exhibit 6, which is the               16:19                   18 State.                                   16:21
     19 transgender policy, was a copy of that policy ever           16:19             19          I have no questions.                  16:21
     20 distributed to the member schools?                    16:19                    20          Thank you, Mr. Dolan.                     16:21
     21     A. I don't believe so.                   16:19                             21          THE WITNESS: Thank you.                           16:21
     22     Q. Okay. Was a copy of the transgender                 16:19               22          THE VIDEOGRAPHER: Okay. That looks like                     16:21
     23 policy ever given to the principals?                 16:19                     23 everybody. So I'll go ahead and close out unless             16:21
     24     A. I don't believe so.                   16:19                             24 there is anything else.                        16:21
     25     Q. Was a copy of that transgender policy ever 16:19        25                          THE REPORTER: And this is the reporter.               16:21
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      1 given to the County Boards of Education?                    16:19               1          I did hear that there will be an errata     16:21
      2     A. I don't believe so.                   16:19                              2 sheet. So is the witness reviewing?                   16:21
      3     Q. Was a copy of the transgender policy ever             16:19              3          MS. GREEN: Yes. We'll read and sign.                16:21
      4 given to the county superintendents?                   16:19                    4 And if I could --                            16:21
      5     A. I don't believe so.                   16:19                              5          This is Roberta Green.                    16:21
      6     Q. You mentioned that -- at a regional             16:19                    6          So if I could please have it sent to me,      16:21
      7 meeting that that policy was reviewed with the               16:19              7 and I'll get with Mr. Dolan.                       16:21
      8 principals who attended the -- that meeting.               16:19                8          THE REPORTER: Thank you.                           16:21
      9        But my question is, is that -- was that        16:19                     9          THE VIDEOGRAPHER: Thank you.                           16:21
     10 just at the first meeting where the policy was             16:19               10          We are off the record at 4:22 p.m. EST,           16:21
     11 introduced, or did you go over that policy every             16:19             11 and this concludes today's testimony given by                16:22
     12 regional meeting after it was introduced?                  16:19               12 30(b)(6) Witness Bernie Dolan. The total number of                 16:22
     13        MS. GREEN: Object to the form.                  16:19                   13 Media Units used was three. And will be retained by 16:22
     14        THE WITNESS: Normally, we would -- you                      16:20       14 Veritext Legal Solutions.                          16:22
     15 mean each year? Or do you mean, like, when we do                   16:20       15          (Whereupon, at 4:22 p.m., the deposition
     16 ten of them, was it brought up at each ten?                16:20               16          of BERNARD DOLAN was adjourned.)
     17 BY MR. CROPP:                                      16:20                       17                --- oOo ---
     18     Q. Each year. So it was introduced in one              16:20               18
     19 year. My question is at the subsequent years -- did 16:20                      19
     20 you go over that policy during the subsequent years           16:20            20
     21 at that -- at all ten regional meetings?             16:20                     21
     22     A. I would say it was -- I don't know when it 16:20                        22
     23 came off, but it was on the agenda for a number of            16:20            23
     24 years, yes.                                16:20                               24
     25     Q. Whether you say --                      16:20                           25
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      1                                                                                 1 ROBERTA F. GREEN, ESQ.
      2                                                                                 2 RGREEN@SHUMANLAW.COM
      3                                                                                 3                             February 28, 2022
      4        I, BERNARD DOLAN, hereby certify under penalty                           4 RE: B.P.J. vs. WEST VIRGINIA STATE BOARD OF EDUCATION
      5 of perjury under the laws of the State of California that                       5 February 11, 2022, BERNARD DOLAN, JOB NO. 5079532
      6 the foregoing is true and correct.                                              6 The above-referenced transcript has been
      7        Executed this _________________ day of
                                                                                        7 completed by Veritext Legal Solutions and
      8 _________________, 2022, at ___________________,
                                                                                        8 review of the transcript is being handled as follows:
      9 California.
                                                                                        9 __ Per CA State Code (CCP 2025.520 (a)-(e)) – Contact Veritext
     10
                                                                                       10   to schedule a time to review the original transcript at
     11
                                                                                       11   a Veritext office.
     12     __________________________________
                                                                                       12 __ Per CA State Code (CCP 2025.520 (a)-(e)) – Locked .PDF
     13     BERNARD DOLAN
                                                                                       13   Transcript - The witness should review the transcript and
            30(b)(6) DEPOSITION
                                                                                       14   make any necessary corrections on the errata pages included
     14     WEST VIRGINIA SECONDARY SCHOOL ACTIVITIES COMMISSION
                                                                                       15   below, notating the page and line number of the corrections.
     15
                                                                                       16   The witness should then sign and date the errata and penalty
     16
                                                                                       17   of perjury pages and return the completed pages to all
     17
                                                                                       18   appearing counsel within the period of time determined at
     18

     19
                                                                                       19   the deposition or provided by the Code of Civil Procedure.

     20                                                                                20 __ Waiving the CA Code of Civil Procedure per Stipulation of

     21                                                                                21   Counsel - Original transcript to be released for signature

     22                                                                                22   as determined at the deposition.

     23                                                                                23 __ Signature Waived – Reading & Signature was waived at the
     24                                                                                24   time of the deposition.
     25                                                                                25
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      1    STATE OF CALIFORNIA                                      )                   1 _x_ Federal R&S Requested (FRCP 30(e)(1)(B)) – Locked .PDF
      2    COUNTY OF LOS ANGELES                                        ) SS.           2    Transcript - The witness should review the transcript and
      3                                                                                 3    make any necessary corrections on the errata pages included
      4           I, Dayna Hester, C.S.R. No. 9970, in                                  4    below, notating the page and line number of the corrections.
      5    and for the State of California, do hereby certify:                          5    The witness should then sign and date the errata and penalty
      6           That, prior to being examined, the witness named                      6    of perjury pages and return the completed pages to all
      7    in the foregoing deposition was by me duly sworn to                          7    appearing counsel within the period of time determined at
      8    testify to the truth, the whole truth, and nothing but the                   8    the deposition or provided by the Federal Rules.
      9    truth;
                                                                                        9 __ Federal R&S Not Requested - Reading & Signature was not
     10           That said deposition was taken down by me in
                                                                                       10    requested before the completion of the deposition.
     11    shorthand at the time and place therein named and
                                                                                       11
     12    thereafter reduced to typewriting under my direction, and
                                                                                       12
     13    the same is a true, correct, and complete transcript of
                                                                                       13
     14    said proceedings;
                                                                                       14
     15           That if the foregoing pertains to the original
                                                                                       15
     16    transcript of a deposition in a Federal Case, before
                                                                                       16
     17    completion of the proceedings, review of the transcript
     18    { XX } was { } was not required;                                            17

     19           I further certify that I am not interested in                        18
     20    the event of the action.                                                    19
     21           Witness my hand this 26th da day of February,                        20
     22    2022.                                                                       21
     23                                                                                22
                         <%18516,Signature%>                                           23
     24                  Certified Shorthand Reporter                                  24
     25                  for the State of California                                   25
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      1                   IN THE UNITED STATES DISTRICT COURT

      2               FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

      3                              CHARLESTON DIVISION

      4                                 * * * * * * * *

      5    B.P.J., by her next friend and              *

      6    Mother, HEATHER JACKSON,                    *

      7         Plaintiff                              *   Case No.

      8         vs.                                    *   2:21-CV-00316

      9    WEST VIRGINIA STATE BOARD OF                *

     10    EDUCATION, HARRISON COUNTY                  *

     11    BOARD OF EDUCATION, WEST                    *

     12    VIRGINIA SECONDARY SCHOOL                   *

     13    ACTIVITIES COMMISSION, W.                   *

     14    CLAYTON BURCH in his official               * CONFIDENTIAL

     15    Capacity as State Superintendent,* VIDEOTAPED

     16    DORA STUTLER in her official                * VIDEOCONFERENCE

     17    Capacity as Harrison County                 * DEPOSITION

     18    Superintendent, PATRICK MORRISEY *                     OF

     19    In his official capacity as                 * KACIE KIDD, M.D.

     20    Attorney General, and THE STATE             * February 21, 2022

     21    OF WEST VIRGINIA,                           *

     22         Defendants                             *

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      1         CONFIDENTIAL VIDEOTAPED VIDEOCONFERENCE DEPOSITION

      2                                         OF

      3    KACIE KIDD, M.D., taken on behalf of the Defendant,

      4    State of West Virginia herein, pursuant to the Rules of

      5    Civil Procedure, taken before me, the undersigned,

      6    Nicole Montagano, a Court Reporter and Notary Public in

      7    and for the State of West Virginia, on Monday, February

      8    21, 2022, beginning at 10:16 a.m.

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      1                      A P P E A R A N C E S (cont'd)

      2

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      1                                    I N D E X

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      3    DISCUSSION AMONG PARTIES                                   10 -    15

      4    WITNESS: KACIE KIDD, M.D.

      5    EXAMINATION

      6        By Attorney Tryon                                      16 - 134

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      8    CERTIFICATE                                                       137

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      1                                  EXHIBIT PAGE

      2

      3                                                              PAGE

      4    NUMBER     DESCRIPTION                                IDENTIFIED

      5    16         Doctor's Note                                     --

      6    33         Standards of Care for the

      7               Health of Transsexual, Transgender,

      8               And Gender Nonconforming People                   --

      9    35         Doctor's Note                                     --

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      1                                 OBJECTION PAGE

      2

      3    ATTORNEY                                               PAGE

      4    Hartnett        19, 30, 44, 44, 46, 54, 54, 54, 63, 64, 77,

      5    77, 77, 86, 86, 87, 87, 88, 92, 94, 95, 95, 96, 97, 99,

      6    103, 103, 104, 114, 117, 117, 118, 118, 119, 119, 120,

      7    120, 120, 121, 122, 122, 123, 123, 123, 124, 124, 124,

      8    128, 128, 128, 130, 130, 130, 131, 131, 132, 132, 133

      9

     10    Linkous                                                              23

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      1                            S T I P U L A T I O N

      2    --------------------------------------------------------

      3    (It is hereby stipulated and agreed by and between

      4    counsel for the respective parties that reading,

      5    signing, sealing, certification and filing are not

      6    waived.)

      7    --------------------------------------------------------

      8                            P R O C E E D I N G S

      9    --------------------------------------------------------

     10                         VIDEOGRAPHER: We are now on the record.

     11    My name is Jacob Stock.          I'm a Certified Legal Video

     12    Specialist employed by Sargent's Court Reporting

     13    Services.      The date today is February 21st, 2022, and

     14    the current time is 10:16 a.m. Eastern Standard Time.

     15    This deposition is being taken remotely by

     16    videoconferencing.         The caption of this case in the

     17    United States District Court for the Southern District

     18    of West Virginia, Charleston Division.                BPJ by her next

     19    friend and mother, Heather Jackson v. West Virginia

     20    State Board of Education, et al.              Case number

     21    2:21-CV-00316.       The name of the witness is Kacie Kidd,

     22    M.D.    Will the attorneys present state their names and

     23    the parties they represent?

     24                         ATTORNEY LINKOUS:        This is Tim Linkous on



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      1    behalf of Kacie Kidd, M.D.

      2                         ATTORNEY TRYON:       This is David Tryon on

      3    behalf of the State of West Virginia.

      4                         ATTORNEY DENIKER:        This is Susan Deniker

      5    on behalf of Defendants Harrison County Board of

      6    Education and Superintendant Dora Stutler.

      7                         ATTORNEY GREEN:       This is Roberta Green on

      8    behalf of West Virginia Secondary School Activities

      9    Commission.

     10                         ATTORNEY MORGAN:        This is Kelly Morgan on

     11    behalf of West Virginia Board of Education and

     12    Superintendant Burch.

     13                         ATTORNEY HOLCOMB:        This is Christiana

     14    Holcomb on behalf of Intervenor, Lainey Armistead.

     15                         ATTORNEY HARTNETT:          And sorry, I think I

     16    was on mute before.         This is Kathleen Hartnett from

     17    Cooley for Plaintiff.          And there are several others on

     18    the line for Plaintiff from Cooley.

     19                         ATTORNEY BARR:       Yes.     Good morning.      This

     20    is Andrew Barr from Cooley on behalf of Plaintiff.

     21                         ATTORNEY KANG:       Good morning.       This is

     22    Katelyn Kang from Cooley on behalf of the Plaintiff.

     23                         ATTORNEY REINHARDT:          Good morning.      This

     24    is Elizabeth Reinhardt on behalf of Plaintiff.



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      1                         ATTORNEY HELSTROM:         Good morning.       This

      2    is Zoe Helstrom from Cooley on behalf of Plaintiff.

      3                         ATTORNEY SWAMINATHAN:          Good morning.

      4    This is Sruti Swaminathan from Lambda Legal on behalf of

      5    Plaintiff.

      6                         ATTORNEY BLOCK:       Good morning.        This is

      7    Josh Block from the ACLU on behalf of Plaintiff.

      8                         VIDEOGRAPHER:       If that's everybody, the

      9    court reporter can swear in the witness, and we can

     10    begin.

     11                         ATTORNEY TRYON:       Two things.       So first of

     12    all, I went to mention that my colleague, Curtis

     13    Capehart, is on this call.           And I wanted to take care of

     14    a housekeeping matter before we get started.                  I wonder

     15    if we could do that, if we could exclude Dr. Kidd for

     16    just a moment.

     17                         VIDEOGRAPHER:

     18                         Yes, give me one second.

     19                         ATTORNEY TRYON:

     20                         Thank you.      So I just wanted to --- we

     21    had previously in other depositions we've talked about

     22    how we're going to handle objections.               And Mr. Linkous,

     23    in some other depositions, we've said that we are going

     24    to handle by stating objection for form of the question



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      1    or directing the witness not to answer for privilege

      2    issues.     And Kathleen, are you going to be handling this

      3    deposition?

      4                         ATTORNEY HARTNETT:          Yes, David.     And

      5    would you like to discuss this off the record first and

      6    then we can put our agreements on the record?

      7                         ATTORNEY TRYON:        Okay.

      8                         ATTORNEY HARTNETT:          Can we go off the

      9    record?

     10                         VIDEOGRAPHER:        Yes.    Going off the

     11    record.     The current time is 10:20 a.m.

     12    OFF VIDEOTAPE

     13                                        ---

     14    (WHEREUPON, AN OFF RECORD DISCUSSION WAS HELD.)

     15                                        ---

     16    ON VIDEOTAPE

     17                         VIDEOGRAPHER:        Back on the record.          The

     18    current time is 10:24 a.m.

     19                         ATTORNEY TRYON:        Thank you.      So while we

     20    were off the record we had a discussion and we've come

     21    to an agreement on how to handle objections, that

     22    primarily we would be handling objections by stating one

     23    of three things, either objection to form, objection as

     24    to technology --- or terminology, excuse me, or



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      1    objection to any privileges or scope.               So I guess that's

      2    four.    And Mr. Linkous has said he will strive for that,

      3    but has not specifically addressed --- agreed to that.

      4    And finally, the counsel for Defendants have indicated

      5    that they will --- if there is an objection by counsel

      6    for Dr. Kidd, then they will be included within that

      7    objection.      So they don't have to object as well.               Is

      8    that a fair summary of our discussion?

      9                         ATTORNEY HARTNETT:         Just on the last

     10    point, it was objections by the witness to Counsel.

     11                         ATTORNEY TRYON:       Thank you for correcting

     12    me.

     13                         ATTORNEY LINKOUS:        Hey, Dave, can I ask a

     14    quick question?

     15                         ATTORNEY TRYON:       Yes.

     16                         ATTORNEY LINKOUS:        Ms. Holcomb, who was

     17    on just a second ago, I heard her say she represents an

     18    intervenor, and I didn't know there was an intervenor,

     19    so who intervened and what's the story there?

     20                         ATTORNEY TRYON:       The intervenor is Lainey

     21    Armistead, I think that's how you say her last name, who

     22    is a colleague student, a female college student who has

     23    intervened.

     24                         ATTORNEY LINKOUS:



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      1                         Okay.    Thank you.      I appreciate that.

      2                         ATTORNEY HARTNETT:         And Tim, that's a

      3    gender college student who is seeking to intervene to

      4    defend the state law.

      5                         ATTORNEY LINKOUS:        I see.     Thank you.

      6                         COURT REPORTER:        Josh, one second.        It's

      7    the court reporter.          Can you go off the record, please,

      8    Josh?

      9                         VIDEOGRAPHER:        Going off the record,

     10    10:26 a.m.

     11    OFF VIDEOTAPE

     12                                        ---

     13    (WHEREUPON, AN OFF RECORD DISCUSSION WAS HELD.)

     14                                        ---

     15    ON VIDEOTAPE

     16                         VIDEOGRAPHER:        Back on the record.        The

     17    current time reads 10:32 a.m.

     18                         ATTORNEY DUCAR:        My name is Tim Ducar.

     19    I'm entering an appearance on behalf of the intervenor,

     20    Lainey Armistead.

     21                         VIDEOGRAPHER:        The court reporter can

     22    swear in the witness and we can begin.

     23                                       - - -

     24                               KACIE KIDD, M.D.,



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      1    CALLED AS A WITNESS IN THE FOLLOWING PROCEEDINGS, HAVING

      2    FIRST BEEN DULY SWORN, TESTIFIED AND SAID AS FOLLOWS:

      3                                      - - -

      4                                   EXAMINATION

      5                                        ---

      6    BY ATTORNEY TRYON:

      7        Q.      Dr. Kidd, my name is David Tryon.              I represent

      8    the State of West Virginia.            Can you, first of all, tell

      9    me how you would prefer that I address you?

     10        A.      Hi, I'm Kacie Kidd.         I use she/her pronouns.

     11    You're welcome to address me as Kacie or Dr. Kidd.

     12        Q.      Very good.      So Kacie --- well, let me call you

     13    Dr. Kidd.      Dr. Kidd, are you represented by counsel

     14    today?

     15        A.      I am.

     16        Q.      And who is that?

     17        A.      Mr. Linkous.

     18        Q.      And how long has he represented you?

     19        A.      Well, I can't recall our exact first email

     20    exchange.      I think it's been over a month.

     21        Q.      Okay.

     22                Have you ever been deposed before?

     23        A.      I have not.

     24        Q.      Have you ever testified at trial before?



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      1        A.      I have not.

      2        Q.      Excuse me.      Sorry about that.        Have you ever

      3    been sued before?

      4        A.      I have not.

      5        Q.      Have you ever been retained as an expert either

      6    as a testifying or consulting expert in any litigation

      7    or otherwise?

      8        A.      I have not.

      9        Q.      We are in Federal Court, so the Federal Rules of

     10    Procedure apply here.          And under the Federal Rules of

     11    Procedures 30(c)(2) it provides for objections by your

     12    counsel or other counsel.           And while we were off the

     13    record or before --- we have agreed to certain ways to

     14    make objections.        And then even if there are objections,

     15    you'll still need to answer questions unless your

     16    counsel directs you to not do so.

     17                Understand?

     18        A.      Yes.

     19        Q.      Do you have any questions about that?

     20        A.      No.

     21        Q.      Okay.

     22                So when you answer, as you're doing now, please

     23    answer verbally rather than a nod or a shake.                  The court

     24    reporter, especially since she is not currently watching



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      1    us, will not be able to detect anything other than your

      2    actual words.

      3                Okay?

      4        A.      Yes.

      5        Q.      Now, if you don't understand my questions,

      6    please say so, and I will try to reframe them or say it

      7    in a different way.

      8                All right?

      9        A.      Okay.

     10        Q.      And if you need a break, let us know and we'll

     11    make --- we'll try and accommodate that.                The only thing

     12    you can't do is take a break after I've asked a

     13    question.      So we need to do it before I ask a question.

     14    And I'll also note that this deposition is being

     15    conducted as upon Cross Examination.

     16                Now, are you familiar with the lawsuit that's

     17    involved here?

     18        A.      I know of the lawsuit loosely.             I don't know

     19    significant details.

     20        Q.      Okay.

     21                Just briefly, the Plaintiff in the case is BPJ.

     22    Are you aware of who BPJ is?

     23        A.      I am.

     24        Q.      And BPJ is suing various Defendants asserting



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      1    that a law known as HB-3293 is invalid at least as it

      2    pertains to BPJ.        Were you aware of that much?

      3        A.      Not the numbers and name of that law, but

      4    loosely, yes.

      5        Q.      Okay.

      6                Have you heard of the law, loosely known ---

      7    well, it is known as HB-3293, sometimes called the

      8    Women's Sports --- Save Women's Sports Act, and maybe

      9    there's other names for it, too.              Have you heard of the

     10    law?

     11                         ATTORNEY HARTNETT:         Objection to the

     12    form.

     13                         THE WITNESS:      In lay media, yes.

     14    BY ATTORNEY TRYON:

     15        Q.      You haven't actually seen the lawsuit.

     16                Is that right?

     17        A.      That's correct.

     18        Q.      Have you read that law?

     19        A.      I can't recall if I read the actual law that

     20    passed.

     21        Q.      Okay.

     22                Have you brought any documents to the

     23    deposition with you today?

     24        A.      I was told to have the two --- I think they're



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      1    called exhibits, the WPATH Guidelines and my clinical

      2    record.

      3        Q.      Okay.

      4                And do you have those in hard copy or just

      5    electronically?

      6        A.      Both.

      7        Q.      Okay.

      8                And have you reviewed any documents in

      9    preparation for this deposition?

     10        A.      Yes.

     11        Q.      Which documents are those?

     12        A.      They were documents provided by my lawyer

     13    telling me about depositions because I add ---.

     14                         ATTORNEY LINKOUS:        Stop right there, Dr.

     15    Kidd.     Communications from me to you and the substance

     16    of those communications are privileged.                You don't have

     17    to talk about the substance of those.

     18    BY ATTORNEY TRYON:

     19        Q.      Yes.    All I need to know and I don't want to

     20    know what you and your lawyer talked about.                 I just want

     21    to know what documents you've looked at in preparation

     22    for your deposition today.

     23        A.      Sure.    So those documents certainly.

     24        Q.      Okay.



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      1                So those are the medical records you mentioned,

      2    as well as the WPATH standards?

      3        A.      Yes.

      4        Q.      Anything else?

      5        A.      I've certainly reviewed the medical literature

      6    in this case but that is an ongoing process that I'm

      7    always engaged in.

      8        Q.      Okay.

      9                Now, on Saturday we received some additional

     10    documents from your office, which appear to be similar

     11    to what's previously been marked as Exhibit 16.                   Do you

     12    have those in front of you as well?

     13        A.      I'm not familiar with what Exhibit 16 includes.

     14                         ATTORNEY LINKOUS:        Mr. Tryon, I will just

     15    interrupt and say that those records didn't really come

     16    from her office, they came from me.               And I sent them to

     17    Plaintiff's Counsel, who then provided them to you.

     18                         ATTORNEY TRYON:       Got it.      And do you know

     19    if Dr. Kidd has those in front of her as well?

     20                         ATTORNEY LINKOUS:        She should, yes.

     21                         ATTORNEY TRYON:       Okay.

     22    BY ATTORNEY TRYON:

     23        Q.      So having gone through those --- excuse me one

     24    moment.     So just some quick background.             Can you give me



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      1    your full name and address, please?

      2        A.      My home address or my work address?

      3        Q.      Both, please.

      4        A.      My full name is Kacie Marie Kidd.              My work

      5    address is --- depends on if you're looking at my office

      6    or clinical practice, but my office is 1 Medical Center

      7    Drive, Morgantown, West Virginia, 26506, I believe.                    And

      8    my home address ---.

      9        Q.      Can you slow down just a little bit, please?

     10        A.      Sure.

     11        Q.      Go ahead.

     12        A.      Do you need me to repeat?           My home address is

     13    106 Canyon Ridge Drive, Morgantown, West Virginia,

     14    26508.

     15        Q.      And can you give me your work phone number,

     16    please?

     17        A.      I would need to check my business card.                Is it

     18    okay if I do that?

     19        Q.      Yes.

     20        A.      My work phone (304) 293-6307.

     21        Q.      And I would also like to ask you for your

     22    personal phone number, which I would use only in the

     23    event that for some reason you were no longer

     24    represented by counsel.          Otherwise, I would contact you



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      1    through counsel.

      2                         ATTORNEY LINKOUS:        I would --- I just

      3    object and instruct her not to answer on that.                  I will

      4    accept subpoenas and you can contact me through her.                     I

      5    will continue representing her.             And if not, there will

      6    be new counsel assigned and you will be informed of

      7    that.

      8                         ATTORNEY TRYON:       Well, I've never had

      9    anyone instruct a witness not to do that before, but

     10    I'll move on.

     11    BY ATTORNEY TRYON:

     12        Q.      Can you tell me where you went to --- about your

     13    education, your undergraduate education first, please?

     14        A.      Sure.    I received my Bachelor's Degree in

     15    biology and women's studies from West Virginia

     16    University.      I then went to medical school at West

     17    Virginia University School of Medicine.                After that I

     18    completed a four-year residency in internal medicine and

     19    pediatrics at West Virginia University School of

     20    Medicine.      I then completed a three-year fellowship in

     21    adolescent medicine at the University of Pittsburgh.

     22        Q.      What was your major in your pre-Bachelor's

     23    Degree?

     24        A.      It was biology and women's studies.



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      1        Q.      And when did you get your Bachelor's Degree?

      2        A.      I graduated with my Bachelor's in 2010.

      3        Q.      And medical school, when did you graduate there?

      4        A.      2014.

      5        Q.      Did you have any particular emphasis at the West

      6    Virginia School of Medicine?

      7        A.      It's not customary for people to have emphasis

      8    in medical school but instead in residency.

      9        Q.      Okay.

     10                And in your residency what was your specialty

     11    or emphasis?

     12        A.      I did a dual residency in internal medicine and

     13    pediatrics.

     14        Q.      And when did you get that?           When did you

     15    complete your residency?

     16        A.      In 2018.

     17        Q.      And then your fellowship, what was that in?

     18        A.      Adolescent medicine.

     19        Q.      And when did you complete that?

     20        A.      In 2021.

     21        Q.      Any particular reason that you chose adolescent

     22    medicine?

     23        A.      Supporting adolescents and young adults is my

     24    favorite part of medicine.



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      1        Q.      Have you had any other specialized training

      2    other than what you just discussed?

      3        A.      Within adolescent medicine there are several

      4    ways to have additional training and I did pursue one of

      5    those ways.

      6        Q.      And what was that?

      7        A.      Gender affirming care.

      8        Q.      And in what way did you pursue that?

      9        A.      I dedicated much of my clinical training to

     10    learning under experts in this space.               I also dedicated

     11    my research training in a similar vein, and I engaged in

     12    organizations and groups and additional educational

     13    opportunities to round out that training.

     14        Q.      What experts are you referring to?

     15        A.      Doctor Gerald Montano, Doctor Selma Witchell

     16    among others.

     17        Q.      I'm sorry.      Montano and who is the other one?

     18        A.      Selma Witchell.

     19        Q.      Can you spell that, please?

     20        A.      W-I-T-C-H-E-L-L.

     21        Q.      And what was the first name?

     22        A.      Selma, S-E-L-M-A.

     23        Q.      And where is Selma Witchell?

     24        A.      The University of Pittsburgh.



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      1        Q.      Do you have a license to practice medicine?

      2        A.      I do.

      3        Q.      Where?

      4        A.      In the State of West Virginia.

      5        Q.      Any others?

      6        A.      I previously held a training license in the

      7    State of Pennsylvania when I was a trainee there.

      8        Q.      But currently you do not?

      9        A.      I do not.

     10        Q.      And do you have any --- you may have answered

     11    this, but do you have any specific specialties?

     12        A.      My specialties are pediatrics, internal

     13    medicine, adolescent medicine and gender affirming care.

     14        Q.      I was wondering if that was my computer dinging

     15    or someone else's.

     16        A.      I think it may be mine.          Give me a second.         I'll

     17    sign out of my email.

     18        Q.      Okay.

     19        A.      Okay.

     20        Q.      Do you have Board Certifications?

     21        A.      I do.

     22        Q.      What are those?

     23        A.      I'm Board Certified in Internal Medicine and

     24    Pediatrics.



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      1        Q.      What was necessary to get Board Certification

      2    for internal medicine?

      3        A.      I was trained in internal medication and many of

      4    my patients are adults by legal definition.

      5        Q.      I'm sorry.      You broke up.       Can you repeat that

      6    please?

      7        A.      Sure.    I was trained in internal medicine and

      8    eligible to sit that Board Examination.                Additionally, a

      9    lot of my patients are over the age of 18.

     10        Q.      So you had to sit for a Board Examination.

     11                Is that right?

     12        A.      I sat for two Board Examinations in Pediatrics

     13    and Internal Medicine as well as numerous Board

     14    Examinations to be allowed to get to that point.

     15        Q.      Okay.

     16                And you passed those boards?

     17        A.      I did.

     18        Q.      Are you a member of any medical societies?

     19        A.      I am.

     20        Q.      What are those?

     21        A.      I am currently a member of the American Academy

     22    of Pediatrics.       I'm a member of the Society for

     23    Adolescent Health and Medicine.             I am also a member of

     24    the World Professional Association for Transgender



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      1    Health.

      2        Q.      Any others?

      3        A.      Not that I can recall.

      4        Q.      When you said the Society for Adolescent

      5    Medicine, did I hear that right?

      6        A.      The Society for Adolescent Health and Medicine,

      7    abbreviated SAHM, S-A-H-M.

      8        Q.      And what do you need to be a member of that,

      9    what do you need to do?

     10        A.      Most of these organizations have membership

     11    tiers for a variety of persons and you need to pay a

     12    fee.     But for the purpose of my membership, it's as a

     13    physician.      And for the American Academy of Pediatrics I

     14    have a special notation in my membership as someone who

     15    has passed the board exam for that field.

     16        Q.      For WPATH, what do you need to do to be a member

     17    there?

     18        A.      You need to sign up and pay a fee and check your

     19    membership category.         Mine, again, is physician and

     20    although I think I may be still listed as a student

     21    member based on my training time at the University of

     22    Pittsburgh for that membership, but I am also part of

     23    their global education initiative, which is an

     24    additional training on top of being a member.



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      1        Q.      I'm sorry, global what initiative?

      2        A.      Education initiative.

      3        Q.      Are you a member of the ---?

      4        A.      I am not.

      5        Q.      Are you a member or on the board of any

      6    educational organizations?

      7        A.      I think it depends on what you mean by

      8    educational organization.

      9        Q.      Any organizations that try and educate on any

     10    issues?

     11        A.      Well, broadly, I'm faculty at West Virginia

     12    School of Medicine and I routinely educate a variety of

     13    learners at a variety of levels.              I'm also part of

     14    something called the Tri-State Gender Collaborative,

     15    which is a community-based organization that does

     16    provide education.

     17        Q.      And do you have privileges at any hospitals?

     18        A.      I do have privileges at Ruby Memorial Hospital

     19    in Morgantown, West Virginia.

     20        Q.      Any others?

     21        A.      No.

     22        Q.      So tell me of your work experience, your

     23    professional work experience.

     24        A.      Can you restate your question?



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      1        Q.      Yes.    So I'm interested to learn your work

      2    experience, where you have worked and what you have done

      3    starting --- I'm not sure exactly --- you've told me

      4    about your internship and then I know that you are doing

      5    some other things.         So after your internship, did you

      6    have any professional --- did you start working right

      7    away or did you just do the fellowship or is fellowship

      8    considered work?        Help me out, understand your work

      9    history.

     10                         ATTORNEY HARTNETT:         Objection to the

     11    form.

     12                         THE WITNESS:      Medicine training is

     13    complicated, and so the internship is part of residency.

     14    That was part of the four years that I spent in internal

     15    medicine and pediatrics training.              During that time I

     16    was working in a variety of settings to obtain training

     17    in both of those fields.

     18                         After that was completed I was also doing

     19    training at the University of Pittsburgh.                 One could

     20    consider all of those work.            And I was a paid employee

     21    during that time when I was a trainee as well.

     22    BY ATTORNEY TRYON:

     23        Q.      What's the first job in which you were actually

     24    treating patients?



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      1        A.      I have been treating patients since I was a

      2    medical student.

      3        Q.      Okay.

      4                And your first paid job where you were treating

      5    patients?

      6        A.      That would have been the beginning of my

      7    residency, which is often called an internship in

      8    internal medicine and pediatrics.

      9        Q.      And then how about your fellowship, were you

     10    treating patients during your fellowship?

     11        A.      Yes.

     12        Q.      What is your current --- I don't know what the

     13    right term would be profession --- excuse me, profession

     14    or your work status?

     15        A.      I am currently an assistant professor in the

     16    Department of Pediatrics at the WVU School of Medicine.

     17    I am also the Medical Director of the WVU Medicine

     18    Children's Gender and Sexual Development Clinic.

     19        Q.      And then do you have a separate practice where

     20    you diagnose and treat patients?

     21        A.      Under those titles, yes.

     22        Q.      Okay.

     23                So it's not separate from those?

     24        A.      No.



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      1        Q.      Do you get paid directly by the patients or just

      2    only get paid by the West Virginia University?

      3        A.      I am dual employed as is the customary practice

      4    for physicians who are working at the WV School of

      5    Medicine, and so my dual employment goes both through

      6    West Virginia University as well as --- I believe it's

      7    called UHA, the University Health Associates, but I may

      8    need to clarify that.

      9        Q.      Okay.

     10                As assistant professor what do you do?

     11        A.      Assistant professor is my title in my tenure

     12    track of employment, and so it's fairly traditional for

     13    assistant professors to be the entry point of tenure

     14    track position, if that makes sense.               And my role in

     15    that is to provide medical care as well as to conduct

     16    research and to provide teaching.

     17        Q.      So I understood conduct research and also

     18    teaching.      What was the first thing you said?

     19        A.      To provide clinical care.

     20        Q.      What do you teach?

     21        A.      I teach a variety of learner types and topics,

     22    but they typically center adolescent medicine and gender

     23    affirming care or both.

     24        Q.      Are there classes specifically on those topics



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      1    or is it part of a more general class?

      2        A.      Most often my teaching is as a guest lecturer

      3    for a medical student class or a residency training

      4    program or something called grand rounds, which is a

      5    teaching opportunity for faculty-level positions.

      6        Q.      What types of research do you do?

      7        A.      I conduct mix methods research, including

      8    qualitative and quantitative analyses, centering gender

      9    adversity in people and their experiences as well as the

     10    experiences of their family.

     11        Q.      How many papers have you published?

     12        A.      I don't know that I could give you a complete

     13    answer to that question.           I suspect --- I know that it

     14    is more than 12.        I suspect less than 20.           It also

     15    depends on what you mean by paper.

     16        Q.      Okay.

     17                When you say provide clinical care --- well,

     18    let me come back to that in a minute.               As Medical

     19    Director of the West Virginia University --- excuse me,

     20    West Virginia University Medicine Children's Gender and

     21    Sexual Development --- do I have that title right?

     22        A.      Almost.     It's the WVU Medicine Children's Gender

     23    and Sexual Development Clinic.

     24        Q.      And what is your role?          What do you do in that



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      1    role?

      2        A.      I direct the clinical care of gender diverse

      3    intersex and questioning youth, ages approximately 3

      4    through 26 in our multi-disciplinary team.

      5        Q.      So how is that different then from where you

      6    provide clinical care as an assistant professor?

      7        A.      Those two jobs descriptions overlap quite a bit.

      8        Q.      Are there any parts that do not overlap?

      9        A.      I would argue that it's outside of my role as an

     10    assistant professor but definitely in my role as the

     11    Medical Director of the clinic to have meetings where we

     12    discuss the care we provide, to meet with our DEI head

     13    more promptly, diversity, equity and inclusion, those

     14    sorts of things.

     15        Q.      Do you supervise anyone in either of your roles?

     16        A.      I often precept trainees, residents and medical

     17    students.

     18        Q.      Could you repeat that?

     19        A.      I often precept trainees, including residents

     20    and medical students.

     21        Q.      You said preset?

     22        A.      Precept, P-R-E-C-E-P-T.          It's a word used in

     23    medical care to discuss supervision of trainees.                   I'm

     24    their preceptor.



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      1        Q.      And do you supervise them as they are giving

      2    medical care?

      3        A.      Yes.

      4        Q.      Would it be fair to say that you are currently a

      5    treating physician?

      6        A.      Yes.

      7        Q.      And just so I have it right rather than me

      8    trying to restate it, in what areas do you treat

      9    patients?

     10        A.      I provide care for adolescents and young adults.

     11        Q.      In what areas?

     12        A.      In adolescent medicine, in gender affirming

     13    care.

     14        Q.      Do you provide general --- are you a

     15    pediatrician as well?

     16        A.      It's complicated.        Adolescent medicine is a

     17    complicated --- and there are many adolescent

     18    specialists who do provide well child care for young

     19    people.     I do that infrequently.           And so for example, if

     20    a young person wishes for me to be their primary care

     21    provider, I can do that on a limited basis, but the

     22    majority of my care is subspecialty care and

     23    consultation.

     24        Q.      When patients need to come to you do they come



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      1    to you directly or through the University?

      2        A.      Can you restate the question?

      3        Q.      So it's my understanding that you do treat

      4    patients.      And so my question is do they come to you

      5    directly or do they go through the University?

      6        A.      I'm not understanding what you mean by coming

      7    through the University.

      8        Q.      How do you --- how do patients come to you?

      9        A.      They can call our scheduling line that is

     10    available on our website or they can be referred from

     11    another physician or provider.

     12        Q.      How much of your time is spent with patients

     13    versus your time in doing research and teaching and

     14    other things?

     15        A.      I am 20 percent clinical and 80 percent

     16    research.

     17        Q.      So when a new patient comes in what is the ---

     18    let me back up for a second.            Have you been --- one

     19    second.     When you have a new patient come in --- I'm

     20    sorry, let me go back to my other question.                 Have you

     21    been asked to be an expert witness in this case?

     22        A.      No.

     23        Q.      Tell me about the intake process for a new

     24    patient.



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      1        A.      Well, depending on how a new patient finds us,

      2    either through direct scheduling or referral, once they

      3    have the visit they usually meet with us for a longer

      4    than perhaps expected visit to compare to other

      5    pediatric practices.         New patients visit with my team

      6    are usually between two and two and a half hours.                   An

      7    hour of that is typically spent with me and we have a

      8    fairly long conversation with the young person, with

      9    family members together and separately and then we work

     10    together to help support that young person together.

     11        Q.      When you say your team, who is on your team?

     12        A.      Our team, from my practice, currently includes

     13    myself, a child and adolescent psychiatrist, whose name

     14    is Dr. Deci, and a clinical therapist, whose name is Ms.

     15    Brianna Hayes.

     16        Q.      Doctor Steven --- what is his last name?

     17        A.      Deci, D-E-C-I.

     18        Q.      And Brianna Hayes, what is ---?

     19        A.      H-A-Y-E-S.

     20        Q.      What's her practice?

     21        A.      She is a clinical therapist.

     22        Q.      And Doctor Deci, what's the practice?

     23        A.      He is a child and adolescent psychiatrist.

     24        Q.      When the patient first is coming in --- let me



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      1    back up just a little bit for some more nuts and bolts

      2    in my question.        Do they first meet with a secretary or

      3    nurse or fill out papers online?              How does that process

      4    --- let's start with someone who is just direct

      5    scheduling.

      6        A.      And so if someone calls our scheduling line,

      7    they are scheduled for a visit.             And they would arrive

      8    at their visit time, they would check in.                 They would

      9    sit in the waiting room.           A nurse would call them back,

     10    take their vital signs and they would be put in an exam

     11    room with their family.          They arrive with family.              And

     12    then our team would see them.

     13        Q.      As far as the initial record, setting up the

     14    initial record of who this person is and what they're

     15    coming in for, who does that?

     16        A.      The family when they call when to make a visit

     17    will ask for a gender visit, and that's the only

     18    questioning that happens at that time.

     19        Q.      And then everything else that is input into the

     20    patient's records would either be from the nurse or from

     21    you or your team?

     22        A.      For those who are directly scheduling.                If

     23    someone has been referred, it may be that they're

     24    referring provider or a scheduler from their referral



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      1    team put additional documentation in.

      2        Q.      Is there any --- okay.

      3                So when you meet with the patients, is it

      4    initially just you or is it with the entire team first?

      5        A.      So it depends.       We like to do a greeting where

      6    we all pile in these exam rooms and say hello and

      7    introduce ourselves so young people and families know

      8    our names and faces.         Sometimes that is not possible for

      9    a variety of reasons.          And also sometimes families don't

     10    need all of us and may or may not be interested in

     11    seeing all of us.        Sometimes families just want to see

     12    me or sometimes they just want to see the mental health

     13    providers, and we try to accommodate that where we can.

     14        Q.      Do you gather their past medical history?

     15        A.      Yes.

     16        Q.      And is their medical history important?

     17        A.      I think that every patient's medical history,

     18    medication list, allergies, things like that can be

     19    important to their care.

     20        Q.      Can you explain to me why?           I mean it may seem

     21    obvious to you, but I would like to just understand it.

     22        A.      Okay.

     23                And so, someone's past medical history could

     24    certainly impact their present health, and so part of my



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      1    routine practice is to ask young people and their

      2    families what kind of diagnoses they have had in the

      3    past, including things like asthma, allergies, if

      4    they've broken their arm before, a whole host of

      5    questions.

      6        Q.      Are those things relevant to gender care?

      7        A.      They could be.

      8        Q.      How would allergies be related to gender care?

      9        A.      If you had an allergy to a medication that was

     10    related or the same as a medication that I could

     11    provide, that would be a concern to me.

     12        Q.      And do you typically take the history just from

     13    the patient or do you reach out to other healthcare

     14    providers?

     15        A.      I take my history from the patient and parent or

     16    guardian in front of me, but I also have access to our

     17    electronic health record and I review that as well for

     18    meeting new patients.

     19        Q.      Tell me about the electronic health record.

     20        A.      Our health system uses an electronic health

     21    record called Epic.

     22        Q.      And what is located in the Epic system?

     23        A.      A variety of things, including vital signs from

     24    previous visits, notes from prior visits and prior



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      1    providers, information about the family address and

      2    phone number, should we need to mail anything or call

      3    them, things like that.

      4        Q.      Does the Epic system --- let me back up.                So the

      5    Epic system is a system used by West Virginia

      6    University.

      7                Is that right?

      8        A.      WV Medicine specifically and UHA uses Epic I

      9    believe in most, if not all, of their hospitals.                   I

     10    think a couple hospitals are going live with Epic soon.

     11    I think it's an incredibly common electronic health

     12    record in this country and others I believe.

     13        Q.      I've heard of it.        I don't know a lot about it.

     14    So tell me, would Epic system that WVU Medicine is

     15    using, does it just have information from within the WVU

     16    Medicine medical system or does it expand out to all

     17    providers in the country, for example?

     18        A.      It would be wonderful if it did that if an

     19    effective way.       There's a bit of capitalism involved

     20    there I suspect, but we do have something called Care

     21    Everywhere, which is a tab that you can select and for

     22    some circumstances it allows you to see notes from other

     23    Epics systems outside of WVU Medicine.

     24        Q.      So what is the WVU medical system?              Where else



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      1    are they tied into?

      2        A.      Can you restate your question?

      3        Q.      First of all, let me make sure I get my

      4    terminology correct.         It's WVU Medical?

      5        A.      WVU Medicine.       I think that's the brand name for

      6    the UHA health family of hospitals and clinics and that

      7    sort of thing.

      8        Q.      So WVU Medicine uses the Epic system and also

      9    you can utilize Care Everywhere.              So my question is,

     10    Care Everywhere ties you into what other systems?

     11        A.      I don't know the comprehensive list.               It's kind

     12    of a bit of luck I think sometimes navigating Care

     13    Everywhere.      It's a little bit of what I would consider

     14    a clunky system, but Care Everywhere is within Epic.                    It

     15    is not itself a separate system.

     16        Q.      Understood.      But can you recall any other

     17    organizations that you can access through Care

     18    Everywhere?

     19        A.      I know that I can access the University of

     20    Pittsburgh in some capacity.            I previously worked in

     21    that system, and so I wasn't seeing exactly what it

     22    looked like if I was in their system, but I can't really

     23    speak to other systems that are connected.

     24        Q.      And if a patient comes in and they've had prior



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      1    medical providers, do they typically bring in any copies

      2    of medical records?

      3        A.      That would be wonderful, but it doesn't happen

      4    very often.

      5        Q.      Is the intake process any different for when

      6    someone comes in as a referral patient?

      7        A.      It depends on how they've been referred.                So for

      8    example, sometimes providers will reach out to me

      9    through secure communication within Epic and say they

     10    have a patient they wish to refer and they might have

     11    questions about how to make that happen.                So there may

     12    be an additional layer of communication there.                  I often

     13    ask questions about urgency of need.               Sometimes patients

     14    are needing to see me sooner for a variety of reasons,

     15    maybe mental health concerns, that may be just stress

     16    about getting a visit, and so I can accommodate those

     17    things.

     18        Q.      So if the referred physician had information,

     19    they can send that to you through the Epic system?

     20        A.      They can send me a communication and that may

     21    include information that they feel is relevant for me to

     22    know about the patient they're sending me.

     23        Q.      When they send that communication, what does

     24    that look like?        Is that email, texting?



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      1        A.      It's --- it's neither.          It's actually a

      2    communication system within Epic.              It's called Inbasket.

      3        Q.      And does Inbasket provide for just

      4    communications or also sending documents?

      5        A.      I believe you can attach documents within those,

      6    but I have very intermittent luck of doing so and most

      7    folks do not use that feature.

      8        Q.      Anything else different about when you receive a

      9    referral as opposed to a direct contact?

     10                         ATTORNEY HARTNETT:         Objection to form.

     11                         THE WITNESS:      Not that I can think of.

     12    BY ATTORNEY TRYON:

     13        Q.      Let me ask you generally what types of

     14    information do you need to diagnose a problem?

     15                         ATTORNEY HARTNETT:         Objection to form.

     16                         THE WITNESS:      Can you restate the

     17    question?

     18    BY ATTORNEY TRYON:

     19        Q.      Yes.    So in your field, are you --- do you

     20    diagnose patients?

     21        A.      If it is within my scope of practice, yes.

     22        Q.      And what type of --- what information do you

     23    need to make a diagnosis of your patients?

     24        A.      It depends on the patient and the diagnoses I'm



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      1    considering.

      2        Q.      Is there something called objective versus

      3    subjective symptoms?

      4        A.      Yes.

      5        Q.      Can you explain what those are and the

      6    difference?

      7        A.      Objective tends to refer to things like vital

      8    signs or labs, things that we measure.                Subjective tends

      9    to refer to things that patients tell us, like that they

     10    have headaches or the severity of their headaches.

     11        Q.      How do you measure subjective symptoms?

     12        A.      You talk with your patient.

     13        Q.      Anything else?

     14        A.      That's the primary way to diagnose most things

     15    is to have a conversation with your patient.

     16        Q.      Is there a --- an objective way to measure the

     17    subjective symptoms?

     18        A.      We have a lot of scales for a lot of things.                  We

     19    have a lot of diagnostic criteria for a lot of things,

     20    but most of medicine would not exist in my opinion if we

     21    didn't talk with our patients.

     22        Q.      I understand that.         So it sounds like there's

     23    not a good way to actually put a measurement on

     24    subjective symptoms.



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      1                Is that a fair statement?

      2                         ATTORNEY HARTNETT:         Object to form.

      3                         THE WITNESS:      They are by nature

      4    subjective.

      5    BY ATTORNEY TRYON:

      6        Q.      So when someone comes to you for gender

      7    dysphoria issues as opposed to other types of medical

      8    issues --- actually, let me start that all over again.

      9    Do you ever treat patients or diagnose patients for

     10    things other than gender dysphoria issues?

     11        A.      Yes.

     12        Q.      What other medical issues do you diagnose or

     13    treat?

     14        A.      It's a very extensive list.

     15        Q.      Okay.

     16                Then I won't make you go through it, but can

     17    you give me some just general ideas?

     18        A.      Dysmenorrhea is an incredibly common thing that

     19    I treat and diagnose.

     20        Q.      Can you repeat that or spell that, please?

     21        A.      Dysmenorrhea, D-Y-S-M-E-N-O-R-R-H-E-A.

     22    Dysmenorrhea.

     23        Q.      What is that?

     24        A.      Dysmenorrhea is difficult periods.              It's a whole



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      1    host of things that lead to heavy bleeding,

      2    uncomfortable bleeding, pain with bleeding, and can

      3    really impact live experience with young people.

      4        Q.      Okay.

      5                Anything else?

      6        A.      As I said, there are many things that I diagnose

      7    and treat.

      8        Q.      Give me a few examples just so I sort of

      9    understand your practice.

     10        A.      Okay.

     11                Sexually transmitted infections.             I'm an

     12    adolescent medicine doctor, so really anything in the

     13    pubertal period or young period is in my practice.                    But

     14    I often screen and treat for sexually-transmitted

     15    infections.      I also manage contraception.             I also talk

     16    about mood, anxiety, depression.              Would you like more?

     17        Q.      I think I'm getting the sense of it.               So let me

     18    ask you about gender dysphoria.             Can you give me your

     19    definition for what gender dysphoria is?

     20        A.      My definition is loosely based on the DSM-V,

     21    which has criteria for the diagnosis of gender

     22    dysphoria, but it is stress, significant distress often

     23    associated with the inconference between one's sex

     24    assigned at birth and gender identity lasting longer



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      1    than six months with accompanying things like seeking to

      2    present one's self gender expression in line with one's

      3    affirmed gender and in opposition to one's sex assigned

      4    at birth as well as some other criteria.

      5        Q.      Is the actual intake process that we have

      6    discussed for someone coming to you for gender dysphoria

      7    different than some of these other issues that you've

      8    mentioned to me?

      9        A.      Can you restate the question?

     10        Q.      Sure.

     11                When someone comes to you, you have given me

     12    sort of the --- explained to me how the intake process

     13    works in general.        And my question is, is it any

     14    different in general than with respect to someone coming

     15    to you with gender dysphoria specifically?

     16        A.      In some ways.       I ask a whole lot more questions

     17    about gender when we are talking about gender dysphoria,

     18    although I ask all of my patients about gender identity.

     19        Q.      Why do you ask all of your patients about gender

     20    identity?

     21        A.      It's important that I'm respectful of them and

     22    their name and pronouns, and also we know that gender

     23    diverse young people, and by my definition that is

     24    anyone who's sex assigned at birth and gender identity



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      1    do not fully align, we know that those young people face

      2    health disparities and inequities associated with mental

      3    health, and I want to make sure I can address those if

      4    they are present.

      5                         ATTORNEY TRYON:       Let me just ask the

      6    court reporter if you're able to keep up with this?

      7                         COURT REPORTER:       Attorney Tryon, if the

      8    doctor could speak a little bit slower because I'm ---

      9    yeah, a little bit slower, Doctor, please.

     10                         THE WITNESS:      Absolutely.

     11                         ATTORNEY HARTNETT:         She is doing a great

     12    time on the real time, though, but appreciate the point.

     13    BY ATTORNEY TRYON:

     14        Q.      What is --- what percentage of your practice

     15    involves gender dysphoria or gender identity issues?

     16        A.      I couldn't give you an exact number, but my

     17    guess would be 80 percent.

     18        Q.      Now, you mention there's --- this may not be

     19    your word, but there's a process for diagnosing gender

     20    dysphoria.

     21                Is that right?

     22        A.      There are diagnostic criteria, yes.

     23        Q.      And can you list those for me again?               You

     24    started to go through that a little bit, but if you



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      1    could go through that I would appreciate it.

      2        A.      These are located in the DSM-V, and I cannot

      3    recite them by memory.

      4        Q.      Well, as best as you can, can you tell me what

      5    they are?

      6        A.      Loosely, the definition of gender dysphoria by

      7    my interpretation is that there is distress, often

      8    significant distress, associated with an incongruent

      9    between one's sex assigned at birth and one's gender

     10    identity lasting for at least six months and also

     11    inclusive of some other criteria, which include things

     12    like desiring to align one's gender expression with

     13    one's affirmed gender and in opposition to one's

     14    assigned sex.

     15        Q.      About how many people have come to you to get an

     16    initial diagnosis of gender dysphoria?

     17        A.      I want to clarify that most folks, at least a

     18    substantial portion of folks don't come to me asking for

     19    that diagnosis specifically, but more broadly to have

     20    conversations about means of support, although I am able

     21    to provide that diagnosis.

     22        Q.      Okay.

     23                And about how many people have you given that

     24    diagnosis to?



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      1        A.      I couldn't give you an exact number.               I can

      2    approximate and say that I have seen well over a hundred

      3    patients in my clinic.

      4        Q.      And in which or for which you've given a

      5    diagnosis or gone through that --- let me start that

      6    over.    Of those hundreds, those are the --- those you've

      7    actually gone through the process to make a diagnosis of

      8    gender dysphoria?

      9        A.      I've certainly asked all of the relevant

     10    questions.      Sometimes young people and their families

     11    don't desire to have that diagnosis listed in their

     12    chart due to fear of discrimination.

     13        Q.      But you would say you've given that diagnosis

     14    for over a hundred patients?

     15        A.      I've certainly asked the questions associated

     16    with that diagnosis, yes.

     17        Q.      Okay.

     18                But I'm asking where you've done the actual

     19    initial diagnose --- given actual diagnosis of that

     20    gender dysphoria, would you say over a hundred or not?

     21        A.      It's really hard to say because there is no ---

     22    there is no way that one gives a formal diagnosis kind

     23    of as a here it is.         It's more of a you meet these

     24    criteria.      Let's explore what that means.             Does that



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      1    feel in line with your life experience.                Sometimes I

      2    have to write it in the chart for the purpose of

      3    insurance coverage, for medication for example.                   But

      4    it's a bit more complicated than just saying you checked

      5    the boxes, here is your diagnosis.

      6        Q.      Okay.

      7                Have you ever had a patient that came to you

      8    and you discussed gender dysphoria with that patient and

      9    ultimately you concluded that the patient did not have

     10    gender dysphoria?

     11        A.      I have.

     12        Q.      Are those patients who initially thought they

     13    had gender dysphoria and you concluded they did not?

     14        A.      Not usually, no.        Those are more often patients

     15    who are questioning this part of themselves and

     16    exploring their identities as a normal part of

     17    adolescent development.

     18        Q.      For any of the patients that have come to you

     19    and said they thought they had gender dysphoria, have

     20    you arrived at a different diagnosis of what was causing

     21    their concerns?

     22        A.      I can't recall an occasion like that.

     23        Q.      Are you familiar with the concept of watchful

     24    waiting?



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      1        A.      I am.

      2        Q.      Have you ever recommended that to a patient?

      3        A.      I have not because it is not recommended by the

      4    American Academy of Pediatrics.

      5        Q.      Tell me how you are familiar with that.

      6        A.      I'm familiar with it through the policy

      7    statement on the care of this population of young people

      8    from the American Academy of Pediatrics by Rafferty, et

      9    al., 2018.

     10        Q.      Have you --- tell me that citation again.

     11        A.      Sure.    Rafferty, et al., 2018, the American

     12    Academy of Pediatrics.

     13                         ATTORNEY LINKOUS:        Mr. Tryon, I know

     14    we've been going about an hour-and-a-half.                 When you get

     15    to a logical breaking point, I could use three minutes.

     16                         ATTORNEY TRYON:       Okay.

     17                         Give me just another couple of minutes

     18    and then we will break.

     19    BY ATTORNEY TRYON:

     20        Q.      Have you read any literature other than that

     21    about watchful waiting?

     22        A.      That is the literature that most specifically

     23    sticks out in my mind.          I'm sure I've read countless

     24    articles that discuss this in one form or another.



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      1        Q.      Are you aware that there are other articles that

      2    do recommend watchful waiting?

      3                         ATTORNEY HARTNETT:         Objection to form.

      4                         THE WITNESS:      I am not familiar with

      5    articles like that from highly-respected medical

      6    organizations.

      7    BY ATTORNEY TRYON:

      8        Q.      Are you aware of any, whether or not they are

      9    from highly-respected medical organizations?

     10        A.      Not off the top of my head, no.

     11        Q.      Have you read their studies?            I mean, this is a

     12    Dutch concept.

     13                Right?

     14                         ATTORNEY HARTNETT:         Objection to form.

     15                         THE WITNESS:      I'm not familiar with what

     16    you're talking about.

     17    BY ATTORNEY TRYON:

     18        Q.      It's called the Dutch Approach, and you're not

     19    --- you haven't heard that?

     20                         ATTORNEY HARTNETT:         Objection to form.

     21                         THE WITNESS:      I certainly am familiar

     22    about the Netherlands and the Dutch and the work they've

     23    been doing in this space for more than a decade.

     24    BY ATTORNEY TRYON:



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      1        Q.      And over there watchful waiting is considered an

      2    appropriate recommendation.

      3                Right?

      4        A.      I can't speak to that.          I know from their

      5    literature they've demonstrated that the approach we

      6    take here in this country when done in their country was

      7    very helpful and reduced mental health concerns in their

      8    young people.        I believe that's a DeVry study from more

      9    than ten years ago.

     10        Q.      What is the difference between gender dysphoria

     11    and gender nonconformity?

     12                         ATTORNEY TRYON:        You know what, I will

     13    withdraw that question.          We can take a break right now.

     14    When we come back we can talk about that.                 Okay?

     15                         ATTORNEY LINKOUS:        We can go off the

     16    record.

     17                         VIDEOGRAPHER:        Going off the record.         The

     18    current time reads 11:26 a.m.

     19    OFF VIDEOTAPE

     20                                        ---

     21    (WHEREUPON, A SHORT BREAK WAS TAKEN.)

     22                                        ---

     23    ON VIDEOTAPE

     24                         VIDEOGRAPHER:        We are back on the record.



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      1    The current time reads 11:37 a.m.

      2    BY ATTORNEY TRYON:

      3        Q.      Dr. Kidd, when we concluded, when we took our

      4    break we were just finishing up talking about watchful

      5    waiting.     Let me ask you just one or two more questions

      6    about that.      Is watchful waiting something that --- is

      7    the only reason that you don't ever recommend that is

      8    because of the Rafferty study?

      9        A.      So Rafferty is not a study.            It's a policy

     10    statement from the American Academy of Pediatrics that

     11    summarizes best practice guidelines for gender diverse

     12    young people.        And so in that it does not recommend

     13    watchful waiting.

     14             Additionally, based on my own literature view

     15    conducted over the course of my career thus far I have

     16    never seen medical literature that supports the use of

     17    that practice and is associated with positive mental

     18    health outcomes for youth.

     19        Q.      Okay.

     20                Let me ask you about gender dysphoria versus

     21    gender non-conformity.          You're familiar with both those

     22    terms.

     23                Right?

     24        A.      I am.



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      1        Q.      What's the difference between those two things?

      2        A.      Gender conformity is simply someone rejecting

      3    some tenet of what society presumes they should look

      4    like, act like, think like as it pertains to gender.

      5    And so that could be someone who, like myself, was

      6    assigned female but who is very interested in building

      7    and construction, right.           Typically, that is considered

      8    a more masculine pursuit.           And so that could be gender

      9    non-conformity, and that could extend through my

     10    expression.      Perhaps I would want to present myself in a

     11    way that is more masculine or more androgenous.                   That

     12    would also be reflective of gender nonconformity.

     13                  Where this enters into the territory of gender

     14    dysphoria is when you have that significant distress

     15    associated with that encumbrance between my sex

     16    assignment and my gender identity.              That is the

     17    difference.

     18        Q.      Could you repeat that last part again?

     19        A.      From where?

     20                         ATTORNEY TRYON:       Can I ask the court

     21    reporter to read back that answer?

     22                         COURT REPORTER:       It is simply someone

     23    rejecting of what society presumed they should look

     24    like, act like, think like as it pertains to gender.



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      1    And so that could be someone, who like myself, was

      2    assigned female but who is very interested in building

      3    and construction, right.           Typically that is considered a

      4    more masculine pursuit, and so that could be gender

      5    non-conformity and that could express through my

      6    expression perhaps.         I would want to perhaps myself in

      7    --- want to present myself in a way that is perhaps more

      8    masculine or androgenous, where this enters into the

      9    area of territory of gender dysphoria where you have

     10    that significant distress encumbrance in between my

     11    gender society.        That is the difference.          That's the

     12    part I messed up.

     13    BY ATTORNEY TRYON:

     14          Q.    Isn't there always some level of anxiety or

     15    distress when someone has a gender non-conformity?

     16          A.    No, not always.

     17          Q.    So then in every event where there is some level

     18    of stress or anxiety does it then turn into gender

     19    dysphoria?

     20          A.    No.   The word that I use is significant or

     21    severe, and I believe that language is also echoed in

     22    diagnostic criteria.

     23          Q.    So when I use the name BPJ, do you know who that

     24    is?



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      1        A.        I do.

      2        Q.        Who is that?

      3        A.        That is B       , my patient.

      4        Q.        Last name J          ?

      5        A.        I believe it's a hyphenated last name,

      6    P        -J           , but yes.

      7        Q.        Very good.     Thank you for correcting me on that.

      8    Any --- prior to --- strike that.

      9                  Do you have any personal relationship with

     10    either BPJ or BPJ's family?

     11        A.        I am a physician caring for this young person.

     12    That is the extent of my relationship with this family

     13    and this young person.

     14        Q.        When did you first hear of BPJ, with that ---

     15    those initials or any other name?

     16        A.        I believe the first time I heard about B                  was

     17    when Dr. Someshwar, an adolescent medicine specialist

     18    who i work with, recommended that she see me.

     19        Q.        Remind me how to spell that doctor's name?

     20        A.        S-O-M-E-S-C-H-W-A-R (sic), Someshwar.

     21        Q.        And how did that come about?

     22        A.        So Dr. Someshwar is the division head of

     23    Division of Adolescent Medicine and WVU Medicine

     24    Children's and my direct supervisor in my current



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      1    position, but also Dr. Someshwar provides care for

      2    gender diverse people, as I do, but she does not provide

      3    care for those who are interested in or have received

      4    pubertal blockers.

      5        Q.      Why not?

      6        A.      That is outside of her scope but well within my

      7    own, and that is why she wished for me to see B                     .

      8        Q.      And how did --- and I'm also going to use BPJ

      9    because that's the name on the Complaint, number one,

     10    and number two, since BPJ is a minor, that's my practice

     11    is to refer to people in court proceedings by their

     12    initials, all minors.

     13                         ATTORNEY HARTNETT:         And if I could just

     14    --- for the record, this is Kathleen Hartnett for

     15    Plaintiff.      It's acceptable to us for you to refer to

     16    her as B         or BPJ in this deposition.            We marked the

     17    Complaint BPJ per rules of Court, and we'll mark the

     18    parts of this deposition about her medical records, if

     19    any, confidential, but Plaintiff has no objection to

     20    referring to her in either way.             Thank you.

     21                         ATTORNEY TRYON:       Well, to be clear, I'm

     22    going to continue doing that because if I make the

     23    mistake elsewhere, I can be sanctioned by a court, so

     24    I'm going to stay with that.



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      1    BY ATTORNEY TRYON:

      2        Q.      So how did BPJ come to the attention to Dr.

      3    Someshwar?

      4        A.      It is my understanding that Dr. Someshwar had

      5    provided care to B           .

      6        Q.      Do you know what care?

      7        A.      I had seen a note from Dr. Someshwar.

      8        Q.      And what did that note say?

      9        A.      I can't recall the contents of that note, simply

     10    that I do remember seeing one.

     11        Q.      Is that in the records that you mentioned before

     12    or the Epic records?

     13        A.      It would be in the Epic record, yes.

     14        Q.      Do you remember when you had your first contact

     15    with BPJ and BPJ's family?

     16        A.      I know from my records the exact date.                But

     17    without I could easily tell you it was in the fall.                     I

     18    can look at my records to get you the exact date if that

     19    would be helpful.

     20        Q.      Before we go there, let me ask you if you have a

     21    specific recollection of meeting with BPJ and Heather

     22    Jackson.

     23        A.      I do.

     24        Q.      What do you remember right now about that



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      1    encounter?

      2        A.      I have a mental picture of where B                  and her

      3    mom were sitting in the exam room.              That's most of the

      4    extent of what I recall just from my own memory and not

      5    reviewing the note.

      6        Q.      Do you have a mental memory of the discussions

      7    you had with BPJ and BPJ's mother?

      8        A.      That would certainly refresh from my review of

      9    my own note but also my practice is to have fairly

     10    similar structured conversations with families, and so I

     11    have a rough template in my brain of what we would have

     12    talked about.

     13        Q.      Tell me about that template.

     14        A.      It involves asking lots of questions about young

     15    people, their interests, their journey with gender

     16    identity, their family.          Sometimes I ask about pets.

     17    It's a whole host of things to get to know the young

     18    person and their family.

     19        Q.      What does that term mean journey with gender

     20    identity?

     21        A.      We are all forever growing and evolving and

     22    changing as humans.         It's part of the human experience,

     23    but particularly as it relates to gender for my patients

     24    that's often a bit of a long journey, and so that may be



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      1    starting from when they are young children.                   It may be

      2    starting from when they are adolescents.                But

      3    regardless, there is always much to talk about with

      4    regard to a young person's experience of their own

      5    gender identity over time.

      6        Q.      And is that gender identity sometimes fluid?

      7        A.      It absolutely can be.

      8        Q.      Somebody may be for one period of time have a

      9    gender identity as one gender and then that can change?

     10        A.      Yes.

     11                         ATTORNEY HARTNETT:         Object to form.

     12    BY ATTORNEY TRYON:

     13        Q.      How many genders are there?

     14        A.      There are more genders than we understand, can

     15    conceptualize or can count.

     16        Q.      So over a hundred?

     17        A.      Gender is a spectrum.          There is no solid number.

     18    It's someone's lived experience.              It's much more

     19    complicated than we try to make it by binarizing people.

     20        Q.      So setting aside binder --- how do you say that,

     21    binderizing?

     22        A.      Binarizing people.         Forcing folks into a binary.

     23        Q.      I've read some place there's 27 genders.                Would

     24    you agree with that or not?



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      1                         ATTORNEY HARTNETT:         Object to the form.

      2                         THE WITNESS:      I'm certainly not familiar

      3    with that particular study, but I would dispute it as I

      4    could probably list more than 27 myself.

      5    BY ATTORNEY TRYON:

      6        Q.      And when someone is gender fluid what does that

      7    mean?

      8        A.      It depends on the individual, and so these terms

      9    tend to be applied to folks but what matters to me is

     10    the individual's definition of themselves.

     11        Q.      Have you had any --- well, let me move on to

     12    Exhibit 16.

     13                         ATTORNEY TRYON:       And let me try to bring

     14    this up.     This is going to be a first for me on doing

     15    this on the system.

     16                         VIDEOGRAPHER:       And I'm here if you need

     17    some help or I can pull it up as well.

     18                         ATTORNEY TRYON:       So Jacob, when I pull up

     19    exhibits file sharing, it wants me to enter a password.

     20                         VIDEOGRAPHER:       Did you join with a new

     21    link when you rejoined after we got everything fixed?

     22                         ATTORNEY TRYON:       I attempted to join with

     23    the same link.

     24                         VIDEOGRAPHER:       I can set that new one or



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      1    I can just pull it up for you, either/or.

      2                         ATTORNEY TRYON:       Why don't you do that.

      3    Can you pull up Exhibit 16, please?

      4                         VIDEOGRAPHER:       Yes, just give me one

      5    second.

      6                         ATTORNEY TRYON:       No, I had uploaded.

      7    Maybe you can't access them.            I had uploaded three

      8    documents.      One was Exhibit 16 just so we would only

      9    have to look at that one.

     10                         VIDEOGRAPHER:       Got you.     If you have them

     11    uploaded, then I would not have access to them unless

     12    you share them as host and share them with me.

     13                         ATTORNEY TRYON:       Let me see if I can do

     14    this.

     15                         VIDEOGRAPHER:       Also, when you upload if

     16    you check mark any of the boxes --- like if you check

     17    mark like Defendant's Counsel, they would also all have

     18    access to that as well.

     19                         ATTORNEY TRYON:       Well, it's now rejecting

     20    my password.

     21                         VIDEOGRAPHER:       It might be since it's a

     22    probably a different link that you joined the meeting

     23    with you might have to hit the forget password and set

     24    up a new one.       That one --- the        old one that you made



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      1    might be tied to the old link.

      2                          ATTORNEY TRYON:      Let's go off the record

      3    for a second so I can get this straightened out.

      4                          VIDEOGRAPHER:      Going off the record.          The

      5    current time reads 11:52.

      6    OFF VIDEOTAPE

      7                                       - - -

      8    (WHEREUPON, A SHORT BREAK WAS TAKEN.)

      9                                       - - -

     10    ON VIDEOTAPE

     11                          VIDEOGRAPHER:      We are back on the record.

     12    The current time reads 11:59 a.m.

     13    BY ATTORNEY TRYON:

     14          Q.      Dr. Kidd, this is what we've marked as Exhibit

     15    16.        Do you recognize this?

     16          A.      I'm not able to read any of it due to size.

     17          Q.      Okay.

     18                   I'm trying to blow it up.        Does that help?

     19          A.      I have not seen it change.         I may be able to do

     20    --- I can do it on my end specifically.                Let me do that.

     21    I can only see the first page so far, but this does look

     22    familiar, yes.

     23          Q.      I believe you can click the different pages, 1

     24    through 9.



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      1        A.      I see that now.        Yes.    This looks like my note.

      2        Q.      Do you have a hard copy of that in front of you

      3    as well?

      4        A.      I do.

      5        Q.      Feel free to use either one, just to go through

      6    this.

      7        A.      Yes.

      8        Q.      So my first question is simply what is this

      9    document?

     10        A.      So certainly there are pages associated with

     11    this packet that I'm not familiar with.                I think they

     12    are part from the pull from the health system.                  But

     13    specifically as it relates to the section that begins

     14    B        is a 11-year-old patient, that is the beginning of

     15    my clinical note from our patient visit.

     16        Q.      How is the information in here populated into

     17    this document?

     18        A.      The note itself?

     19        Q.      Well, everything in here.           I'm just trying to

     20    understand how this document is created.

     21        A.      I can't speak to the ancillary information

     22    outside of my patient note.            I can tell you how my note

     23    was created.

     24        Q.      Well, let's start with that then.



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      1        A.      Okay.

      2                I use a note template that has spaces for me to

      3    fill in information, as well as some information that is

      4    already populated that I can adjust accordingly.

      5        Q.      Is that note template in Epic?

      6        A.      It is.

      7        Q.      And then Epic takes that information and would

      8    populate it into a document that looks like what we have

      9    before us?

     10        A.      Specifically the section that begins B                    is an

     11    11-year-old patient, yes.

     12        Q.      The other information in here, for example, the

     13    visit date, the name, those sorts of things, do you know

     14    how those are populated into this document?

     15        A.      So let me --- I don't know that you can see

     16    where I am in the document, but this portion here that

     17    has the WVU Medicine Children's logo, I think it copied

     18    poorly.     But from this section down, this is my note

     19    template.      Above that ---.

     20        Q.      I cannot see where you're at.

     21                         ATTORNEY TRYON:       Jacob, can you enable

     22    her to show that?

     23                         ATTORNEY LINKOUS:        Jacob, you're on mute.

     24                         VIDEOGRAPHER:       I have you enabled to mark



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      1    up the document.        You should be able to put in

      2    highlights or drag us around.             Whatever you do we should

      3    see.

      4                         THE WITNESS:      Okay.

      5                         VIDEOGRAPHER:       If you highlighted that

      6    right there, that's --- I see the highlight.                  Does

      7    everyone else see that highlight?

      8                         ATTORNEY TRYON:       No, I can't see it.

      9                         VIDEOGRAPHER:       On page three, around the

     10    it looks like the logo.

     11                         ATTORNEY LINKOUS:         I see it.

     12                         ATTORNEY HARTNETT:         This is Kathleen

     13    Hartnett.      Just to make sure I'm clear, is the witness

     14    able to move the exhibit in the window but the others

     15    who see it cannot?

     16                         VIDEOGRAPHER:       Right now I have the

     17    witness set to move it.          I can give anybody permission

     18    to alter it and move it around and stuff.                 And it does

     19    that for everybody.         So right now I just have the

     20    witness with the permission for that.               Does that make

     21    sense?

     22                         ATTORNEY TYRON:       Yes.

     23                         ATTORNEY HARTNETT:         Yes.

     24                         ATTORNEY TYRON:       Yes.



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      1    BY ATTORNEY TRYON:

      2        Q.      Is it highlighted in color?

      3        A.      It is yellow.

      4                         ATTORNEY LINKOUS:        Mr. Tryon, she is also

      5    on BPJ099.      I don't know if you're on that same page or

      6    not.     I think she moved us down to that page.

      7                         VIDEOGRAPHER:       Let me try something to

      8    synch it back up for you, Mr. Tryon.

      9                         ATTORNEY TRYON:       Okay.

     10                         VIDEOGRAPHER:       Do you see it now?

     11                         ATTORNEY TRYON:       I see the document.          I

     12    don't see any yellow highlighting.

     13    BY ATTORNEY TRYON:

     14        Q.      Well, go ahead and describe where you're at.

     15        A.      Sure.    There's a logo on one of these pages that

     16    has some cookie-cutter people holding hands and it says

     17    WV Medicine Children's, although I think the photocopy

     18    did not do that logo any justice.              But that is the logo

     19    located on the top of my note.             And that logo and

     20    everything beneath it is part of my note template.                    I am

     21    not familiar with how Epic aggregates the additional

     22    information in this packet.

     23        Q.      Okay.

     24                Do you know who enters in the information, for



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      1    example, the date of birth and the visit date?

      2        A.      That information is likely entered at the time

      3    of the visit being scheduled, although that is not part

      4    of my role and so I cannot be certain.

      5        Q.      At the very top of that page, I think it's the

      6    same page, do you see it's got a number --- MRN number.

      7    Is that the patient's number that's assigned?

      8        A.      I have an E number on my screen that's below the

      9    date of the visit encounter.            That is in my note

     10    template.      That is the patient's medical record number,

     11    that E number.

     12        Q.      So I'm seeing MRN: E2003446?

     13        A.      Yes.    And I know that you're having trouble

     14    seeing my highlighting, and I don't know if you can see

     15    that piece.        I pulled that number into my notes.             I'm

     16    not sure where you're referring to it, but that is the

     17    number.

     18        Q.      Right at the top, I'm looking at the very top of

     19    this page, page --- it's labeled BPJ099, and it's page

     20    one.

     21        A.      I can see it here.

     22        Q.      Yes.    Now I see you're highlighting, although

     23    it's not yellow.        Okay.    So then if you move over to the

     24    right and it says sex M.           Does that stand for male?



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      1        A.      It does.

      2        Q.      And who would input that that BPJ's sex is male?

      3        A.      I cannot speak with certainty, but my guess

      4    would be the person who collected the insurance

      5    information.

      6        Q.      And why would --- if BPJ identifies as a female,

      7    as I think you say later on, why would that be put there

      8    as male?

      9        A.      The sex marker has to line up with the insurance

     10    for the purposes of billing in the medical system.

     11        Q.      Is that the only reason?

     12        A.      That's the reason that I'm familiar with.

     13        Q.      So you did not put that information in there?

     14        A.      I did not.

     15        Q.      If you can scroll down where it says desired to

     16    be treated as other gender.

     17        A.      Sure.

     18        Q.      It shows the name pronouns of she and her.

     19                Right?

     20        A.      Yes.

     21        Q.      And if I scroll down further I look at and I see

     22    under gender dysphoria patient describes this experience

     23    for themselves as --- why do you use a different pronoun

     24    down there?



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      1        A.      That's part of my standard note template.                  The

      2    things before the colons in these sections are part of a

      3    note template.

      4        Q.      Okay.

      5                Then back up to desire to be rid of secondary

      6    sex characteristics.         It says expectations for today's

      7    visit.     That's part of the template?

      8        A.      It is before the colon.

      9        Q.      Right.    And so that template is something that's

     10    created by Epic or by someone else?

     11        A.      That's a note template that I created within

     12    Epic.

     13        Q.      I see.    And so it says want to establish care.

     14    That seems obvious to me, but can you explain that?

     15        A.      This was my first time seeing B                .     And as

     16    part of my first visit with all of my patients I ask,

     17    you know, what are their expectations or goals for

     18    today's visit.       And when I asked that question, B

     19    and her mom responded that they wanted to establish care

     20    today.     I'm not sure exactly who said that.                 I suspect

     21    it was mom.

     22        Q.      And next it says has                               since

     23    June 2020 placed by Dr. Montano at UPMC.                And you put

     24    that in there?



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      1        A.      I did.

      2        Q.      And how did you know about that                               ?

      3        A.      I suspect that mom told me.            That information

      4    was provided to me during this visit.               But also it was

      5    in the medical record that I would have briefly reviewed

      6    prior to this visit.

      7        Q.      What medical record is that?

      8        A.      The notes that are available for me in Epic.

      9        Q.      So you're telling me that in Epic there would be

     10    some notes that stated that there was an                        , a

     11                        ?

     12        A.      I believe Dr. Someshwar's note referred to it,

     13    yes.

     14        Q.      Did you ever ask Dr. Montano if he had placed

     15    that            ?

     16        A.      I don't recall specifically asking Dr. Montano

     17    if he placed the                , no.

     18        Q.      Did you do anything to confirm that the

     19    was in place?

     20        A.      I examined B         's arm.     I palpated the                   .

     21    I noted the small scar at the insertion site.                  I also

     22    confirmed it based on lab testing.

     23        Q.      Next, under desire to gain secondary sex

     24    characteristics of other gender, slash --- other gender,



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      1    colon, that was part of the form?

      2        A.      That was part of my note template, yes.

      3        Q.      And you created that?

      4        A.      I did.    I should note it's based off of a

      5    template from those that taught me.

      6        Q.      Which would be whom?

      7        A.      Dr. Montano.

      8        Q.      Under there it has --- under severity, wanting

      9    to be other gender, other gender is based on the

     10    following, hair style and clothing and desire for

     11    hormone therapy, which you created that template.

     12                Right.

     13        A.      Yes, everything before the colon.

     14        Q.      And you inputted feminine, feminine in the

     15    future.

     16                Right?

     17        A.      I did, based on our conversation during this

     18    visit.

     19        Q.      Are those the things upon which you made a

     20    determination --- strike that.

     21                Did you make a determination that B                   was

     22    gender dysphoric?

     23        A.      If you review the criteria for diagnosis for

     24    gender dysphoria it's that essentially insistent,



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      1    persistent, consistent, incongruence associated with

      2    significant distress, as I discussed earlier, plus two

      3    or more of a list of criteria.             This note outlines those

      4    criteria.        And so based on the responses to questions

      5    that I asked in relation to my documentation here, yes,

      6    B          does meet the diagnostic criteria for gender

      7    dysphoria.

      8          Q.     Did you actually make a diagnosis?

      9          A.     B      already had that diagnosis prior to seeing

     10    me.

     11          Q.     And that was --- who made that diagnosis?

     12          A.     I suspect the first person was Dr. Montano,

     13    although I don't know that for sure.

     14          Q.     And who told you that she already --- that BPJ

     15    already had such a diagnosis?

     16          A.     The medical record.

     17          Q.     And that medical record which was from Dr.

     18    Someshwar?

     19          A.     And Doctor Someshwar would have had one of those

     20    notes, yes.

     21          Q.     Any other notes that would have said that?

     22          A.     Likely notes from B           's therapist.

     23          Q.     And you have access to B            's therapist's ---

     24    excuse me, BPJ's therapist --- let me start that over.



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      1    You had information from BPJ's therapist?

      2        A.      I had documentation.

      3                         ATTORNEY HARTNETT:         Object to form.

      4                         THE WITNESS:      Of her record.

      5    BY ATTORNEY TRYON:

      6        Q.      Is that also on Epic?

      7        A.      Yes.

      8        Q.      So I want to go back to this part where it says

      9    desire to gain secondary sex characteristics.                  So are

     10    hairstyle and clothing the only bases to determine if

     11    someone is gender dysphoric?

     12                         ATTORNEY HARTNETT:         Object to form.

     13                         THE WITNESS:      No.

     14    BY ATTORNEY TRYON:

     15        Q.      What other?

     16        A.      Potential criteria, potential things that we

     17    look for.      There's no one single criterion.

     18        Q.      But those are the only things that are listed in

     19    this form.

     20                Right?

     21                         ATTORNEY HARTNETT:         Object to form.

     22                         THE WITNESS:      In that particular section.

     23    BY ATTORNEY TRYON:

     24        Q.      And desire for hormone therapy in the future.



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      1    What additional hormone therapy was desired?

      2        A.      Estrogen.

      3        Q.      And were you told why?

      4        A.      I can't recall our exact conversation, but it is

      5    my typical practice to have pretty detailed

      6    conversations about where a young person is in their

      7    chem thought process and understanding of what estrogen

      8    could mean for them.

      9        Q.      And what could it mean for them?

     10        A.      It could meaning gaining secondary sex

     11    characteristics of the other gender.

     12        Q.      Such as?

     13        A.      Breast growth.

     14        Q.      Any others?

     15        A.      Several others.

     16        Q.      What are those?

     17        A.      Thinning of hair follicles, softening of skin.

     18    Those are the primary.

     19        Q.      I'm sorry.      What did you say about hair

     20    follicles?

     21        A.      Thinning, making the hair follicles less

     22    apparent on the body especially.

     23        Q.      And do you recall discussing those with BPJ and

     24    BPJ's mother?



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      1        A.      I can't recall the specifics of that encounter,

      2    but is my standard practice to have those discussions.

      3        Q.      Up at the top of that page, do you see at the

      4    very top where it says P               -J         , comma, and it's

      5    blocked out?

      6        A.      Yes.

      7        Q.      So --- let me back up.          This document was

      8    produced to Plaintiff's Counsel then gave it to us.

      9    Were you involved in that production to Plaintiff's

     10    Counsel?

     11        A.      I was not.

     12        Q.      Okay.

     13                Let me move on to the next page.              And let me

     14    ask you, during this conversation was BPJ joined by

     15    Heather the entire time?

     16        A.      It is my standard practice to talk to young

     17    people alone for at least a portion of their visit, and

     18    so I suspect I did that during this visit.

     19        Q.      Do you recall during this visit anyone other

     20    than you were involved as far as healthcare providers?

     21        A.      It is often that I have trainees with me, most

     22    often in the role of shadows to witness how I talk to

     23    patients, how I gather this information, that sort of

     24    thing, how I provide care.           I do not recall having a



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      1    trainee with me that day, but my memory could be

      2    mistaken there.

      3        Q.      And in your memory was anyone else from WVU in

      4    that meeting?

      5        A.      From WV Medicine?

      6        Q.      Yes.

      7        A.      I don't think so because I know that the other

      8    members of my multidisciplinary team were not a part of

      9    this conversation as B              was already established with

     10    a mental health therapist.

     11        Q.      Under past medical history --- and I'm now on

     12    page two of this document, it shows mental health HX.

     13    What is that?       What does HX stand for?

     14        A.      It's a common medical abbreviation for the word

     15    history.

     16        Q.      In this past medical history that you have put

     17    here, the source is --- what was the source?

     18        A.      This source was very likely B               's mother.

     19        Q.      Under social history do you see that?

     20        A.      I do.

     21        Q.      Is there anything in there that affects or would

     22    affect a determination or a diagnosis of BPJ having

     23    gender dysphoria?

     24        A.      These items in the social history are really



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      1    about getting to know B              and her family dynamic and

      2    more about her generally.           These are not directly

      3    related to her gender identity.

      4        Q.      And let me just confirm up at the top of the

      5    page it says --- it shows the date being 9/16/2021.                    Was

      6    that the date of the visit?

      7        A.      To the best of my recollection, yes.

      8        Q.      On the next page it shows patient active problem

      9    list.    Do you see that?

     10        A.      I do.

     11        Q.      And what --- it says WCC well check.               Is that

     12    something that you inputted?

     13        A.      It is not.      So this is a problem list that is

     14    maintained in Epic usually by the patient's primary care

     15    provider.

     16        Q.      Who is this patient's primary care provider?

     17        A.      I do not recall.

     18        Q.      Is there anything on this form that would tell

     19    you?

     20        A.      On this particular form, no, although in the

     21    Epic record that would likely be noted, at least to the

     22    extent of my note.         It is not written in my notes.             It

     23    may have been in some of these ancillary pages that I'm

     24    not as familiar with.



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      1        Q.      During the visit did you discuss any of these

      2    items under the diagnosis --- well, excuse me, under the

      3    patient active problem list?

      4        A.      Not to my recollection, no.

      5        Q.      I'm sorry.      Let me finish my question.            The six

      6    bullet points that are listed there, you did not input

      7    any of those?

      8        A.      That is correct.

      9        Q.      And you didn't discuss any of those with BPJ or

     10    BPJ's mother?

     11        A.      Not to my recollection, no.

     12        Q.      Now, the next paragraph of notes, was that

     13    something that you inputted?

     14        A.      It is.

     15        Q.      And you ordered labs to confirm that the                       was

     16    likely to release medication.             Do I understand that

     17    correctly?

     18        A.      I ordered labs to confirm that the                  was

     19    continuing to release the medication, as I suspected it

     20    would be, yes.

     21        Q.      Why do you do that?

     22        A.      It's routine and to make sure that the                    is

     23    functioning as we expect it to.             And for my practice I

     24    usually check those labs every 6 to 12 months.



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      1        Q.      How is the          supposed to function?

      2        A.      So the        has a medication called                      .

      3                 is a gonadotropin-releasing hormone agonist,

      4    or abbreviated a GRNHA.          A GRNHA works at the level of a

      5    hypervolemic pituitary gonadal access to suppress that

      6    access and subsequent release of sex hormones, either

      7    testosterone or estrogen, depending on the sex assigned

      8    at birth.

      9        Q.      Is it the same medication for both to stop

     10    either testosterone or estrogen or is it different?

     11        A.      It is the same medication.           It works in the same

     12    way.

     13        Q.      And did you also discuss that a                  scan be

     14    done?

     15        A.      I had a discussion with B               and her mother

     16    about why I thought a               scan could be helpful and

     17    they opted to get one.

     18        Q.      It says I shared resources with mom to connect

     19    her to local parents support programs.                Who were those

     20    resources?

     21        A.      I am connected to community organizations run by

     22    parents wherein parents can talk with other parents of

     23    gender diverse people.          My abbreviation for the program

     24    I referred B         's mom to is, in fact, next to B                 's



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      1    mom's email.        It's abbreviated POT for the Parent

      2    Outreach Program.

      3        Q.      At the bottom it says on the day of the

      4    encounter a total of 60 minutes was spent on this

      5    patient encounter, including review of historical

      6    information, examination, documentation of post

      7    activities.      And my question is what was the historical

      8    information?

      9        A.      That would have been the conversation with B

     10    and her mom talking about the medical history as well as

     11    my pre-review of the chart prior to this visit.

     12        Q.      And then the examination, what would that

     13    entail?

     14        A.      For B       , to my memory, that included making

     15    sure that B          's heart and lungs sounded normal and

     16    generally evaluating how she was able to communicate,

     17    how she moved about the room, those sorts of things are

     18    the aspects of my physical exam.

     19        Q.      And when it refers to documentation, what is

     20    that referring to?

     21        A.      The actual writing of this note.

     22        Q.      Anything that is not in this note?

     23        A.      It would have also involved me ordering the labs

     24    and the          scan, writing why I was ordering the



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      1    scan, things of that nature.

      2          Q.    And what would the post visit activities refer

      3    to?

      4          A.    That could be things like reviewing the labs if

      5    they came back the same day.            This is a billing

      6    statement and only includes the time spent during that

      7    same day.

      8                         ATTORNEY LINKOUS:        I'm sorry.      Can you

      9    repeat that?

     10                         THE WITNESS:      It is a billing statement

     11    and so it is referring to activities that were

     12    undertaken on that day.

     13    BY ATTORNEY TRYON:

     14          Q.    In your discussion with BPJ and BPJ's mother was

     15    there any indication that BPJ had ever had any suicidal

     16    ideations, suicide plans, threats or attempts?

     17          A.    Not to my recollection.

     18          Q.    Did you ask?

     19          A.    I likely did.       That is part of my standard

     20    practice.

     21          Q.    Why do you ask that?

     22          A.    Because gender diverse young people like B

     23    base health inequities particularly as it relates to

     24    mental health, although that's at population level and



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      1    does not necessarily apply to B                .

      2        Q.      Why wouldn't it apply to B              ?

      3        A.      That's a population statistic, and so B                    is

      4    her own person and may or may not be in line population

      5    statistics more promptly.

      6        Q.      And now I understand.          Do you know if BPJ has

      7    ever been hospitalized for anything?

      8        A.      I reviewed the chart and don't recall a specific

      9    example of hospitalization.            I think there may have been

     10    notes from emergency sorts of visits, but I don't

     11    remember an inpatient hospitalization.

     12        Q.      Before this visit had BPJ ever been diagnosed

     13    with any mental or emotional illnesses?

     14                         ATTORNEY HARTNETT:         Object to form.

     15                         THE WITNESS:      Mom specifically mentioned

     16    gender dysphoria, which is a diagnosis within the DSM-V,

     17    which is a diagnostic and statistical manual and so I

     18    suppose that could count.

     19    BY ATTORNEY TRYON:

     20        Q.      Well, is that a mental or emotional illness?

     21                         ATTORNEY HARTNETT:         Object to form.

     22                         THE WITNESS:      It depends on your

     23    interpretation.        It is a diagnosis in the DSM-V.

     24    BY ATTORNEY TRYON:



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      1        Q.      Okay.

      2                It is a diagnosis.         Is it a diagnosis of mental

      3    illness?

      4                         ATTORNEY HARTNETT:         Objection to form.

      5                         THE WITNESS:      That is a very challenging

      6    question, and so the short answer is gender dysphoria is

      7    significant distress, and it is that distress that can

      8    be considered a mental health concern.                Being gender

      9    diverse or transgender is not a pathology.

     10    BY ATTORNEY TRYON:

     11        Q.      Can you define then for our purposes what you

     12    consider --- or based on DSM-V, what is a mental

     13    illness?

     14                         ATTORNEY HARTNETT:         Object to form.

     15                         THE WITNESS:      Can you rephrase the

     16    question?

     17    BY ATTORNEY TRYON:

     18        Q.      Yes.    So you referred to the DSM-V.

     19                Right?

     20        A.      I mentioned it, yes.

     21        Q.      Does that define what a mental illness is?

     22        A.      The DSM-V is the diagnostic and statistical

     23    manual of essentially all of the things that the

     24    American Psychiatric Association considers in their



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      1    wheelhouse for diagnoses.           And so things like depression

      2    and anxiety are certainly in there but also things like

      3    gender dysphoria.

      4        Q.      Does it define the term mental illness?

      5        A.      I can't recall.        It's a very broad term.

      6        Q.      Other than gender dysphoria, were there any

      7    other mental or emotional issues or problems that you

      8    were aware that BPJ had been diagnosed with?

      9        A.      Not that I can ---.

     10                         ATTORNEY HARTNETT:         Object to the form.

     11                         ATTORNEY TRYON:       Jacob, can you pull up

     12    Exhibit 33, please?         Actually, I take that back.            Let's

     13    stick with this exhibit a little bit longer.

     14                         VIDEOGRAPHER:       You got it.

     15                         ATTORNEY TRYON:       I apologize for that.

     16    BY ATTORNEY TRYON:

     17        Q.      So turning to page six of this exhibit?

     18        A.      I'm unable to do that on my end.

     19        Q.      I can.

     20        A.      I can now, yeah.

     21        Q.      Okay.

     22                If you can go down to where it shows --- sorry,

     23    it would be on actually page eight, eight of nine, I

     24    believe.     And this was part of the testing that you



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      1    would have requested.

      2                Is that right?

      3        A.      This is one of those forms that Epic has

      4    compiled for you, but it does look like it is of the

      5    labs that I ordered, yes.

      6        Q.      When this came back did you review it?

      7        A.      I did.

      8        Q.      And it shows under components testosterone total

      9    serum.     Do you see that?

     10        A.      Let me highlight and make sure we're looking at

     11    the same thing.        Here?

     12        Q.      Yes.

     13        A.      Yes.

     14        Q.      And if you go lower it shows the total serum and

     15    it shows value of less than 7.0.

     16                Right?

     17        A.      Yes.

     18        Q.      And down below it shows the Tanner reference

     19    stages and for prepubertal, 7-20 for Stage 1.

     20                Right?

     21        A.      I can see that.

     22        Q.      So does that testosterone level indicate that

     23    BPJ was at Tanner Stage 1?

     24        A.      No, that is not a correct interpretation.



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      1          Q.    Could you please interpret it for me?

      2          A.    Sure.    So the testosterone level demonstrates

      3    that it is suppressed, actually below a detectable

      4    threshold of 7.0 for the purposes of this lab.                  It is

      5    important to note that all bodies, unless they are too

      6    young or being blocked, make testosterone and that

      7    includes people who are assigned female.                And so I

      8    myself right now very likely, in fact I'm extremely

      9    confident, have a level much higher than seven of

     10    testosterone because that is normal for an adult female.

     11    And so B        's testosterone based on this level is fully

     12    suppressed.      The reason that the Tanner stage reference

     13    guidelines are in this record is that other folks use

     14    this lab to monitor pubertal progression.                 B       was

     15    Tanner stage prior to the rod and was at Tanner 2 at

     16    that time.      And so this table is not relevant to B                  ,

     17    just a refresh in the lab that her testosterone is fully

     18    suppressed.

     19                         ATTORNEY TRYON:       Okay.

     20                         Now let's turn to Exhibit 33.

     21                         VIDEOGRAPHER:       Before I show it, you said

     22    33.

     23                         ATTORNEY TRYON:       I didn't hear you.

     24                         VIDEOGRAPHER:       Before I show it, you said



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      1    33.

      2                         Correct?

      3                         ATTORNEY TRYON:       Right.     I sent you two

      4    other forms.

      5                         VIDEOGRAPHER:       I just wanted to make sure

      6    before I showed it.

      7                         ATTORNEY TRYON:       Yes.

      8                         VIDEOGRAPHER:       And does everybody see

      9    that.

     10                         THE WITNESS:      Yes.

     11                         ATTORNEY TRYON:       I do.

     12    BY ATTORNEY TRYON:

     13          Q.    Great.    So if we could go forward into page 11.

     14    Sorry, it's going to be page 11 of the document itself,

     15    so it looks like that will be page --- I'm not sure.

     16               And Dr. Kidd, if you have the hard copy it might

     17    be easier to read.         It depends on which one you want to

     18    look at.     So the first two sentences of this read

     19    through --- actually maybe the first three sentences.

     20    Why don't you go ahead and read them to yourself.                   We

     21    don't need to read them out loud.

     22                         VIDEOGRAPHER:       While she's reading that,

     23    Mr. Tryon, I also gave you permission to mark the

     24    document as well if you need to highlight something or



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      1    guide the witness.

      2                         ATTORNEY TRYON:       Thank you.

      3                         VIDEOGRAPHER:       You're welcome.

      4    BY ATTORNEY TRYON:

      5        Q.      Have you finished?

      6        A.      I have.

      7        Q.      Great.     So this indicates that gender dysphoria

      8    during childhood is not evidently continued to childhood

      9    rather than the dysphoria persists and resulted for only

     10    6 to 23 percent of the children.

     11                Right?

     12                         ATTORNEY HARTNETT:         Object to form.

     13                         THE WITNESS:      I believe, which are a bit

     14    dated, but yes, that is what it says.

     15    BY ATTORNEY TRYON:

     16        Q.      Do you think that percentage has changed?

     17        A.      I think our understanding of diagnostic

     18    criteria, for example many of those studies were from

     19    when we used GID, a different diagnostic criteria, that

     20    has evolved additional these guidelines from WV are from

     21    2012, I believe.        There is a new version that is set to

     22    come out in the I think late winter of this coming year

     23    that I was involved in giving feedback for.

     24        Q.      Yes.     That version has not yet been accepted or



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      1    issued, has it?

      2        A.      Not yet.     It's expected like within the winter.

      3        Q.      Assuming that's accepted, since it's still out

      4    for comment, but assuming it's accepted, how does it

      5    change in the eighth version, how does it change this

      6    language?

      7        A.      To be clear, it's still not out for comment.

      8    The comment period has ended and it's now back with its

      9    writing committee.         But there is more space given, to my

     10    recollection, for exploring those differences by

     11    diagnostic criteria that we did inform this prior

     12    studies.     I think it's important, though, to center

     13    B        in this conversation.         B       is an adolescent,

     14    meaning that the second paragraph discussing the

     15    likelihood of her gender identity is more relevant.

     16        Q.      And under these guidelines what is the

     17    percentage of persistence for adolescents?

     18        A.      I couldn't cite a specific number because again

     19    it's complicated, but it is the majority is my

     20    understanding.

     21        Q.      So when BPJ originally identified as being a

     22    girl, BPJ was a child.

     23                Right?

     24        A.      I believe social transition was in third grade,



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      1    so into adolescence but perhaps not quite there yet

      2    depending on your definition of adolescence.

      3        Q.      How do you define adolescence?

      4        A.      It depends.      The World Health Organization puts

      5    numbers on young people, and so I believe they say age

      6    10 to 19.      But that's not necessarily reflective of

      7    pubertal changes, which is how I would define

      8    adolescence.       And it's normal for pubertal changes to

      9    begin at age nine.

     10        Q.      And for --- well, let me just ask you, so since

     11    this is the current and existing guideline and --- or

     12    excuse me, standard of care, which you said you

     13    subscribe to.

     14                Right?

     15                         ATTORNEY HARTNETT:         Object to form.

     16                         THE WITNESS:      Well, I think it is

     17    important to note if I may in this document.

     18    BY ATTORNEY TRYON:

     19        Q.      I apologize.       I didn't hear that.

     20        A.      It's possible, I would like to point out on

     21    page two, page number two on that part of it where it

     22    lists the standards of care are flexible clinical

     23    guidelines, that's a critical piece of all of this.                    And

     24    so they are not a kind of rule book but instead a



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      1    guideline and there are many circumstances to deviate

      2    based on an individual patient circumstance.

      3        Q.      So you pick and choose what you agree with?

      4                         ATTORNEY HARTNETT:         Object to form.

      5                         THE WITNESS:      Not at all.       I follow

      6    numerous guidelines, including those from the American

      7    Academy of Pediatrics, but I also shape them to fit the

      8    needs of the patient.

      9    BY ATTORNEY TRYON:

     10        Q.      Do you share with BPJ and BPJ's mother the

     11    statistics that 6 to 23 percent of children due to

     12    dysphoria --- excuse me, that the dysphoria persists

     13    into adulthood for only 6 to 23 percent of children?

     14    Did you share that with BPJ or BPJ's mother?

     15                         ATTORNEY HARTNETT:         Object to form.

     16                         THE WITNESS:      I believe the comment was

     17    not relevant to the patient in front of me.

     18    BY ATTORNEY TRYON:

     19        Q.      Did you share with BPJ or BPJ's mother the fact

     20    that not all adolescents persist into adulthood?

     21        A.      I create space for people to explore their

     22    gender identities.         I do not assume that any of us will

     23    wake up tomorrow feeling the way we feel today about our

     24    gender identity.



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      1        Q.      So the answer is no, you did not share that with

      2    them?

      3        A.      I create space to have that conversation.

      4        Q.      Did you have a discussion in which you told BPJ

      5    or BPJ's mother that BPJ's gender dysphoria may not

      6    persist into adulthood?

      7        A.      I specifically in my practice make space to have

      8    conversations about fluidity and gender identity.

      9        Q.      That doesn't mean anything to me.              What do you

     10    mean create space?

     11                         ATTORNEY HARTNETT:         Object to form.

     12                         THE WITNESS:      We have a conversation

     13    where I explain to young people that I don't expect them

     14    to be the same person every day for the rest of their

     15    lives.     And if they feel that circumstances have changed

     16    or if their family feels that circumstances have changed

     17    the rod that B           has is fully reversible and it's

     18    always an option to remove that rod if it was in B                      's

     19    best interest, which I did not feel it was at the time

     20    of our encounter.

     21    BY ATTORNEY TRYON:

     22        Q.      Did you tell BPJ or BPJ's mother that gender

     23    dysphoria does not always persist for adolescents into

     24    adulthood?



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      1        A.      I don't think I said that exact thing, no.

      2        Q.      As I understand it --- well, let me back up.

      3    Did BPJ or BPJ's mother tell you how it came about that

      4    BPJ identified as being a girl instead of a boy?

      5        A.      I can't remember our exact conversation, but it

      6    is my standard practice to ask questions relative to

      7    that point and so I suspect, yes, we had that

      8    conversation.

      9        Q.      You don't remember anything about that

     10    conversation relative what I just asked you?

     11        A.      Not beyond what is documented in my note.

     12        Q.      In your notes it says that patient has

     13    identified gender diverse since, and then you inserted

     14    around age two.        Does that refresh your recollection at

     15    all as far as what happened at around age two?

     16        A.      I document what is talked about during the

     17    visit, and so yes, that would have been the

     18    conversation.

     19        Q.      Do you remember anything else about BPJ

     20    identifying as a girl around age two?

     21                         ATTORNEY HARTNETT:         Object to reading

     22    from the document that is not before the witness.

     23                         ATTORNEY TRYON:       She has a hard copy.

     24                         ATTORNEY HARTNETT:         I don't know where



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      1    you're reading from.         Can you tell us where you are

      2    reading from?

      3                         ATTORNEY TRYON:       Sure.     It's on page one

      4    of the --- well, it's on page three of the actual

      5    exhibit and page one of Dr. Kidd's office notes.

      6                         ATTORNEY LINKOUS:        It's okay.      I think

      7    Dr. Kidd has her office notes in front of her.                  Go

      8    ahead, Doctor.

      9    BY ATTORNEY TRYON:

     10        Q.      So I'm just asking when it says patient has

     11    identified as gender diverse since and then you inputted

     12    around age two, comma, she said she was a girl around

     13    age three, does that refresh your recollection about

     14    your conversation about how that came about?

     15        A.      Somewhat, yes.

     16        Q.      Okay.

     17                And what do you remember now?

     18        A.      Specifically that B             and her mom more likely

     19    in this conversation would have told me that for me to

     20    write it down and so likely B               's mom said that she

     21    identified as gender diverse in some capacity, be that a

     22    girl or otherwise, but first said she was a girl at age

     23    three.     And that's a common differentiation.               It's often

     24    children exhibit behaviors and interests that are



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      1    gendered in a direction parents may not expect.                   And

      2    that aligns with that question you had earlier about

      3    non-conformity.

      4        Q.      Do you remember anything else about that

      5    conversation relating to that?

      6        A.      Well, my next line is that third grade was when

      7    she started to wear girl clothes comfortably.                  I think I

      8    had a typo there.        I meant to write comfortably instead

      9    of comfortable.        And that social transition was the

     10    summer before third grade.

     11        Q.      And you have no other recollection about the

     12    conversation?

     13        A.      I do not.

     14        Q.      Very good.

     15                         ATTORNEY HARTNETT:         I object to form on

     16    the last question.         Sorry.

     17    BY ATTORNEY TRYON:

     18        Q.      Was the father, Wesley Pepper, in this meeting?

     19        A.      No.   My appointment with B              was with B

     20    and her mom.

     21        Q.      Did you ever talk to Wesley Pepper?

     22        A.      I have not yet, though I expect to in the

     23    future.

     24                         ATTORNEY TRYON:       Let's take a quick ---



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      1    off the record for just one moment.

      2                         VIDEOGRAPHER:       We are going off the

      3    record.     The current time reads 12:48 p.m.

      4    OFF VIDEOTAPE

      5                                       - - -

      6    (WHEREUPON, A SHORT BREAK WAS TAKEN.)

      7                                       - - -

      8    ON VIDEOTAPE

      9                         VIDEOGRAPHER:       We are back on the record.

     10    The current time reads 12:48 p.m.

     11    BY ATTORNEY TRYON:

     12        Q.      So back in Exhibit 33, if we go to what's at the

     13    bottom of the page, page 15 of the document itself.                    And

     14    I have a question for you on paragraph two.                 If you can

     15    take some time and review that and then I will ask you a

     16    question.

     17        A.      Beginning with assessment of gender dysphoria?

     18        Q.      Correct.

     19        A.      Okay.

     20        Q.      Are you ready?

     21        A.      Yes.

     22        Q.      Great.     So the second sentence says a

     23    psychodiagnostic and psychiatric assessment covering the

     24    areas of emotional functioning, peer and other social



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      1    relationships and intellectual functioning, slash,

      2    school achievement should be performed.

      3                Did I read that correctly?

      4        A.      I believe so.

      5        Q.      Do you know if a psychodiagnostic and

      6    psychiatric assessment was performed?

      7        A.      And so during my visit, portions of that were

      8    absolutely performed.          But B        had those kinds of

      9    discussions previously based on my review of the notes

     10    and my experience working with Dr. Montano.

     11        Q.      So and --- okay.

     12                I understand you have had experience with Dr.

     13    Montano, but how do you know that those were performed

     14    for BPJ specifically?

     15        A.      I know Dr. Montano's routine practice because he

     16    is one of my teachers and I'm very confident in his

     17    skills.

     18        Q.      I understand that.         But for BPJ specifically,

     19    are you aware if it was done?

     20        A.      Based on my review of the chart, I had every

     21    indication that --- and I want to quote this, a

     22    psychodiagnostic assessment covering areas of emotional

     23    functioning, peer and other social relationships and

     24    intellectual functioning and school achievement was



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      1    performed.

      2        Q.      By whom?

      3        A.      By Dr. Montano.

      4        Q.      Okay.

      5                And there was something in the records that

      6    shows that?

      7        A.      I was able to see portions of Dr. Montano's

      8    note.    It's that Care Everywhere thing we were talking

      9    about before, that they're not complete notes.                  But

     10    based on my understanding of what I was reading, Dr.

     11    Montano had the same conversation with B                    that he had

     12    with all of the patients that I have witnessed him

     13    talking to.

     14        Q.      What were in his notes that said that since we

     15    don't have those?

     16        A.      And so I can't recall exactly what was in his

     17    notes, but his notes are templated very similarly to my

     18    notes in that they explore things like mental health

     19    concerns, like school functioning, like peer support and

     20    family support, things of that nature.

     21        Q.      And what does --- what's his title or his

     22    specialty?

     23        A.      So Dr. Montano is the Clinical Director of the

     24    Gender and Sexual Development Clinic at the Children's



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      1    Hospital of Pittsburgh.          He is Board Certified in

      2    Pediatrics and he is an expert in pediatric gender

      3    affirming care.

      4        Q.      Is he a psychologist or a psychiatrist?

      5                         ATTORNEY HARTNETT:         Object to form.

      6                         THE WITNESS:      He is an adolescent

      7    medicine specialist.         And adolescent medicine

      8    specialists have extensive training and experience in

      9    mental health support for young people.

     10    BY ATTORNEY TRYON:

     11        Q.      Is that a qualification --- does he have

     12    qualifications that you don't?

     13                         ATTORNEY HARTNETT:         Object to form.

     14                         THE WITNESS:      I am not aware.        He may

     15    well.    But he certainly had tons of training in the

     16    space as have I.

     17    BY ATTORNEY TRYON:

     18        Q.      Okay.

     19                But you are not a psychiatrist or a

     20    psychologist.

     21                Right?

     22        A.      I am neither of those two things.              That is

     23    correct.

     24        Q.      So when it says psychiatric assessments, what



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      1    qualifications do you believe is necessary to do a

      2    psychiatric assessment?

      3        A.      Someone who has extensive training and

      4    background in psychiatric diagnoses like anxiety,

      5    depression, and for these purposes gender dysphoria.

      6        Q.      And you're asserting you have that

      7    qualification?

      8        A.      I do have that qualification, yes.

      9        Q.      Now, if we wanted these notes out of Epic that

     10    you referenced, how would we get those?

     11        A.      I honestly am not sure how that system works or

     12    the process of you getting those notes works.

     13        Q.      Who has control over those?

     14                         ATTORNEY HARTNETT:         Objection to form.

     15                         THE WITNESS:      I don't know.

     16                         ATTORNEY LINKOUS:        Mr. Tryon, I can be of

     17    benefit if you would like.

     18                         ATTORNEY TRYON:       Sure.

     19                         ATTORNEY LINKOUS:        Health Information

     20    Management at West Virginia University Hospitals, Inc.

     21    is the owner of the Epic medical records.                 I can also

     22    send you an address for that.

     23                         ATTORNEY TRYON:       That would be wonderful

     24    if you would do that.



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      1                         ATTORNEY LINKOUS:        I would be happy to.

      2                         ATTORNEY TRYON:       Can you email that to

      3    me?

      4                         ATTORNEY LINKOUS:        Yes, absolutely.

      5                         ATTORNEY TRYON:       You have either mine

      6    or ---?

      7                         ATTORNEY LINKOUS:        Yes.

      8                         ATTORNEY TRYON:       If not, you have

      9    Curtis'.

     10                         Right?

     11                         ATTORNEY LINKOUS:        I do, yes.

     12                         ATTORNEY TRYON:       That would be wonderful.

     13    Thanks.

     14                         ATTORNEY HARTNETT:         This is Kathleen

     15    Hartnett.      Are you asking for the full Epic records for

     16    Dr. Kidd or --- I just was unclear of what records

     17    you're asking for.

     18                         ATTORNEY TRYON:       Well, I'm a little

     19    unclear what exactly there is in Epic, so it's hard for

     20    me to ask.      So I guess I would be probably asking for

     21    all of the records in Epic for BPJ.

     22                         ATTORNEY HARTNETT:         Okay.

     23                         Just for the record, as you know, the

     24    Plaintiff has requested BPJ's records from WV Medical,



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      1    produced what we have and this Saturday --- and maybe

      2    Mr. Linkous can speak to it further, we produced

      3    additional records that were apparently the printout

      4    that Dr. Kidd was able to see, even though that's not

      5    what the records department produced.               Just for the

      6    record, we produced all records that we received from

      7    WVU Medical, which was in our requests were all records

      8    that exist.

      9                         ATTORNEY LINKOUS:        Sure.     And to expedite

     10    things, I can certainly --- if counsel agree, I can

     11    certainly produce to Kathleen the records I have

     12    obtained from WVU, because I represent WVU, obviously,

     13    and then Kathleen can redact and send them on.

     14                         ATTORNEY HARTNETT:         We have done that.

     15    Is that the records that you sent this weekend.

     16                         ATTORNEY LINKOUS:        That is Dr. Kidd's

     17    office visit.       I have access to BPJ's records from the

     18    health system that go beyond Dr. Kidd's visit.

     19                         ATTORNEY HARTNETT:         Okay.

     20                         I mean, obviously whatever you would like

     21    to do would be helpful, but I guess for the record to be

     22    clear we've asked for and to our knowledge received all

     23    documents related to BPJ's treatment by WVU Medical.

     24    And that's what we produced to the other parties.                   And



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      1    then we understood this weekend that you were able to

      2    --- Dr. Kidd is able to see something different in her

      3    interphase, and so --- which appeared to be largely

      4    additional administrative information, and we produced

      5    that document as soon as we received it from you on

      6    Saturday.

      7                         ATTORNEY LINKOUS:        That's correct.        I can

      8    do it however you would like.

      9                         ATTORNEY TRYON:       So Mr. Linkous, we would

     10    like to get the rest of the documents that are in the

     11    Epic system that we don't already have.                And we will go

     12    over the other documents that I got over the weekend

     13    next.    But if there are additional documents in the Epic

     14    system, we'd like to obtain those.

     15                         ATTORNEY LINKOUS:        Okay.

     16                         ATTORNEY HARTNETT:         Just to be clear, are

     17    you asking for the --- sorry, the documents from the

     18    Epic system from WVU Medical?

     19                         ATTORNEY TRYON:       Are you asking me?

     20                         ATTORNEY HARTNETT:         Yes, just because I

     21    think what the witness has stated is that the Epic

     22    system is used by different institutions, and so I think

     23    --- I'm just trying to be clear if you are asking Mr.

     24    Linkous for the documents from WVU Medical's Epic system



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      1    or you are trying to seek more broadly all of the

      2    documents about BPJ that may be out there in the, you

      3    know, in the Epic systems of other institutions, which

      4    it doesn't sound like he is the person that would be

      5    able to get that for you.

      6                         ATTORNEY TRYON:       Right.     That's my

      7    understanding.       So whatever Mr. Linkous has access to,

      8    including Epic and the Care System, which is part of

      9    Epic.

     10                         ATTORNEY LINKOUS:        I only have access to

     11    West Virginia University records, and that would include

     12    these --- what was the tab called again, Care Everywhere

     13    tab.    And I can certainly produce that.              I would prefer

     14    to produce that in a link to Kathleen and then let

     15    Kathleen look at it.         It may be duplicative of what she

     16    already has and then she can produce.

     17                         ATTORNEY TRYON:       I will agree to that.

     18                         ATTORNEY HARTNETT:         And I will just make

     19    a representation for the record that we'll produce it

     20    even if it's duplicative just to make clear to the

     21    Defendants that we are producing everything we have.

     22    And I would expect that those --- any records that were

     23    referred to in a different institution have been sought

     24    and received from that institution, such as Dr. Montano.



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      1                         ATTORNEY LINKOUS:        And just, Mr. Tryon, I

      2    want to be completely transparent with you so when you

      3    get the records you can understand any distinction or

      4    differences that might be in them.              When I get records

      5    from West Virginia University I have my nursing staff

      6    organize them, Bates stamp them and bookmark them in a

      7    PDF document so they're in a format that I typically use

      8    for case by case by case.           So for instance, the exhibit

      9    you are about to use will have my unique Bates stamp

     10    number on it at the bottom center.              I can produce them

     11    certainly in that Bates stamped organized, bookmarked

     12    fashion to Kathleen or I can produce the native

     13    documents as they came to me, however you would like.

     14    Does that make sense?

     15                         ATTORNEY TRYON:       Native, you mean without

     16    the Bates stamp?

     17                         ATTORNEY LINKOUS:        Yes.    So for instance,

     18    West Virginia University may end me --- I'm making it up

     19    --- a thousand pages of medical records for a patient.

     20    I give that to my nursing staff who organizes it by

     21    provider, by date, and they bookmark it so you can go to

     22    this date, this date, this date, this lab result, this

     23    admission, this ER, this pediatrician and you can

     24    navigate the records quickly.             So I have my nursing



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      1    staff do that for me.

      2                         ATTORNEY TRYON:       That's great.

      3                         ATTORNEY LINKOUS:        I can produce that if

      4    you'd like.      That way there's a Bates stamp and it shows

      5    you every one through how many ever there are.

      6                         ATTORNEY TRYON:       That's fantastic.         I

      7    appreciate it.

      8                         ATTORNEY LINKOUS:        Sure.

      9                         ATTORNEY TRYON:       So I would like to now

     10    turn to Exhibit 35.         If you could pull that up, Jacob.

     11                         VIDEOGRAPHER:       Can you see that?

     12                         ATTORNEY TRYON:       Yes.

     13                         ATTORNEY TYRON:       Yes.

     14                         VIDEOGRAPHER:       And again, the witness and

     15    Mr. Tryon, you have permission to move to pages,

     16    highlight that, et cetera.

     17                         ATTORNEY TRYON:       Thank you.

     18    BY ATTORNEY TRYON:

     19        Q.      So Dr. Kidd, my first question simply, do you

     20    recognize this document?

     21        A.      I recognize that it is a face sheet, and I think

     22    this may have been part of the packet that I was sent.

     23                         ATTORNEY HARTNETT:         Could I ask for the

     24    record what --- we can only see one page at a time and I



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      1    don't have this exhibit.           So I'd be happy to pull the

      2    document that Mr. Linkous gave us and that we produced

      3    to you, but what Bates numbers are on this document?

      4                         ATTORNEY TRYON:       Sure.     They got cut off

      5    because the Bates number is so close to the bottom that

      6    when I printed it out ---.

      7                         VIDEOGRAPHER:       And Attorney Hartnett, I

      8    did submit this document, which basically means it is

      9    now shared with everybody.           If you go to the top and

     10    click on files, then that --- exhibit file sharing, you

     11    should be able to see it off to the right.

     12                         ATTORNEY HARTNETT:         I do.

     13                         VIDEOGRAPHER:       And you should be able to

     14    download that yourself.

     15                         ATTORNEY HARTNETT:         Appreciate it.       Thank

     16    you.

     17                         VIDEOGRAPHER:       You're welcome.

     18                         ATTORNEY TRYON:       And Mr. Linkous' Bates

     19    numbers are 101103 through 101137.

     20                         ATTORNEY HARTNETT:         And these were, just

     21    for the record, the documents that we produced on

     22    Saturday from Mr. Linkous with Bates BPJ 02510 to BPJ

     23    02545.

     24    BY ATTORNEY TRYON:



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      1        Q.      Okay.

      2                Dr. Kidd, I'm not sure I understood your

      3    answer.     What do you understand this document to be?

      4        A.      I just scrolled through it and it looks like

      5    some supportive documentation around my note.

      6        Q.      Would there be any information in this document

      7    that's not in Exhibit 16?

      8        A.      Is Exhibit 16 the document we reviewed

      9    previously.

     10        Q.      Yes, it is the --- it's your notes and the lab

     11    information.

     12        A.      I can't speak to the nuance in this ancillary

     13    documentation.       I'm sure that there is information on

     14    the face sheet if it was not present in the prior

     15    packet, Exhibit 16, but my notes should be the same in

     16    both packets.

     17        Q.      Now, there are places where there have been

     18    redactions of names.

     19                Do you see that?

     20        A.      Are you referring to --- let me use my

     21    highlighter again.

     22        Q.      On the very first page that you look at there

     23    are three places where information is blocked out, which

     24    yeah, you've highlighted it.



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      1          A.    Yes, I can see that.

      2          Q.    Did you have any involvement in that --- in

      3    blocking that out or redacting it?

      4          A.    No, no, I did not.

      5                         ATTORNEY HARTNETT:         For the record,

      6    Plaintiff produced these to you with that information

      7    redacted at the request of Mr. Linkous.

      8    BY ATTORNEY TRYON:

      9          Q.    On the second page of this exhibit, if you can

     10    go there, under the organs inventory, none of that is

     11    filled out.      Is there a reason for that?

     12          A.    So this is a form that is optional to complete

     13    in Epic and is not part of my standard practice for

     14    adolescents.

     15          Q.    So underneath admission diagnosis, slash, and

     16    reasons for visits, do you see that?

     17          A.    I do not --- oh, down here at the bottom, yes, I

     18    see that now.

     19          Q.    What is ICD-10-CM?

     20          A.    That is the system that we use for billing codes

     21    ICD-10 specifically, I'm not sure what the -CM refers

     22    to.

     23          Q.    And under it, it says long-term, parentheses,

     24    current, closed paren, use of other agents affecting



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      1    estrogen receptors and estrogen levels.                And that's

      2    under the admission diagnosis and reason for visit.                    So

      3    tell me what that means.

      4        A.      I have to assume because I myself did not enter

      5    in that code I believe that that is an umbrella code

      6    that the code I actually entered falls under.                  But

      7    again, I can't be positive about that.                The code I would

      8    have ---.

      9        Q.      Go ahead.

     10        A.      The code I would have entered was likely

     11    something along the lines of long-term use of a

     12    gonadotropin-releasing hormone agonist or GRNHA.

     13        Q.      And is that a diagnosis or reason for visit?

     14        A.      So that is a reason to get the labs and the

     15    scan that I subsequently ordered.              And so when you order

     16    labs or imaging you have to tell insurance why it is

     17    medically relevant.         And so that is the purpose of that

     18    code.

     19        Q.      During your visit with BPJ and BPJ's mother, did

     20    you actually make any diagnoses?

     21                         ATTORNEY HARTNETT:         Objection to form.

     22                         THE WITNESS:      To my recollection, no new

     23    diagnoses that had not already been made.

     24    BY ATTORNEY TRYON:



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      1        Q.      On the fourth page, which at the bottom center

      2    is 101 to 106, do you see --- let's see.                I'm blowing it

      3    up on my screen.        Does it get any larger on yours?

      4        A.      No, but I have it zoomed in on mine.

      5                         VIDEOGRAPHER:       Mr. Tryon, if you

      6    highlight or write with the pencil tool, that will share

      7    it with everybody.         But the zoom feature --- or the

      8    zooming is specific to each person.               So each person can

      9    zoom in on the page that whatever their preference is.

     10    BY ATTORNEY TRYON:

     11        Q.      Okay.

     12                So I tried to highlight this one part that says

     13    it says gender dysphoria.           Did it highlight on your

     14    screen?

     15        A.      Where patient describes this experience for

     16    themselves as?

     17        Q.      Yes.

     18        A.      Yes.

     19        Q.      So before the colon that's part of the form.

     20                Is that right?

     21        A.      That's correct.

     22        Q.      And then the rest of that language you added?

     23        A.      That language came from B               and I typed it in

     24    to this note.



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      1        Q.      Do you remember any more about the conversation

      2    with BPJ about those words?

      3        A.      I can't speak more to what other words were

      4    said, but I try to write these as directly as the young

      5    person provides them to me, and I didn't make any

      6    additional notation.         I make additional notation if the

      7    young person's experience is unexpected or different

      8    from my experience in working with gender diverse young

      9    people.     And so in my practice this would suggest that

     10    this was what B            said and that her experience she

     11    described was very similar to other young people that I

     12    have cared for.

     13        Q.      What does it mean angel, slash, devil on

     14    shoulder kind of feeling?

     15        A.      To my recollection, B              kind of described that

     16    what you often see depicted in media, that there were

     17    kind of parts of who she was that were in conflict.                    And

     18    my interpretation based on my memory was that those

     19    parts of her were her gender identity and what society

     20    kind of expects of her because of her sex assignment.

     21    That's that distress that is associated with the gender

     22    dysphoria diagnostic code.

     23        Q.      What did society expect from BPJ?

     24        A.      Typically when babies are assigned male at birth



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      1    we expect them to identify as boys and eventually men

      2    and to live their lives as such.

      3        Q.      Do you remember anything specifically about BPJ,

      4    though, about what BPJ thought society expected of BPJ?

      5        A.      I can't recall specifically if B                 spoke to

      6    that.

      7        Q.      What does society expect of boys and men?

      8                         ATTORNEY HARTNETT:         Object to form.

      9                         THE WITNESS:      Can you restate that

     10    question?

     11    BY ATTORNEY TRYON:

     12        Q.      Well, I'm just going back to what you said, you

     13    said society expects certain things of boys and I think

     14    you used the terminology of those that are assigned male

     15    at birth and they expect certain things of boys and

     16    certain things when they grow up to be men.

     17        A.      Society.

     18                         ATTORNEY HARTNETT:         Object to form.

     19                         THE WITNESS:      To be very clear on this,

     20    society expects --- in my experience if someone is

     21    assigned male that they identify as male, simply put.

     22    BY ATTORNEY TRYON:

     23        Q.      Okay.

     24                Well, what specifically does society expect of



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      1    men?

      2                         ATTORNEY HARTNETT:         Object to form.

      3                         THE WITNESS:      Can you rephrase that?

      4    BY ATTORNEY TRYON:

      5        Q.      Well, you're telling me that society expects

      6    certain things of boys and men.             I want to know what you

      7    are saying that society expects from them.

      8                         ATTORNEY HARTNETT:         Object to form.

      9                         THE WITNESS:      I'm simply stating is that

     10    folks who are assigned male are expected to identify as

     11    male.     That is what society expects.

     12    BY ATTORNEY TRYON:

     13        Q.      And what does that mean to identify as male?

     14        A.      To have one's sense of gender for one's self be

     15    on the masculine spectrum.

     16        Q.      What's on the masculine spectrum?

     17        A.      There is a very helpful tool for this that I

     18    often use in talking about gender identity.                 It's called

     19    the gender unicorn, and it diagrams this out really

     20    nicely.     But essentially there are masculine and

     21    feminine and nonbinary and other gender components in

     22    all of us to some varying degree.              And when I say

     23    masculine I mean that the masculine component is

     24    dominant.



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      1        Q.      What are masculine components?

      2        A.      It's a bit of a cultural and time, so temporally

      3    associated sort of thing, and I talk about this with

      4    patients and families, but it's often how we

      5    communicate, how we carry ourselves, what our place and

      6    role in society is, lots of expectations.                 But when

      7    we're talking about gender identity, it's this inherent

      8    sense of self as it relates to gender.

      9                         ATTORNEY TRYON:       I would ask the court

     10    reporter to read back my question, please.

     11                         COURT REPORTER:       What are the masculine

     12    components?

     13    BY ATTORNEY TRYON:

     14        Q.      Please answer that question.

     15                         ATTORNEY HARTNETT:         Object to form.

     16                         THE WITNESS:      They are not specific

     17    components but instead a sense of self.

     18    BY ATTORNEY TRYON:

     19        Q.      So there are no masculine components?

     20                         ATTORNEY HARTNETT:         Object to form.

     21                         THE WITNESS:      There is not a checkbox for

     22    masculinity, although society does impose ideas on us.

     23    BY ATTORNEY TRYON:

     24        Q.      Well, you used term masculine components.                 I



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      1    didn't.     What were you referring to?

      2        A.      Those thoughts that society has about what is

      3    masculine.

      4        Q.      Which are what?

      5        A.      I think it depends on the society in question.

      6        Q.      Okay.

      7                Our society here in West Virginia?

      8                         ATTORNEY HARTNETT:         Object to form.

      9                         THE WITNESS:      Here in West Virginia one

     10    may masculine things are --- things like I gave the

     11    example earlier of interest in construction, right, and

     12    what we were discussing earlier, interest in hunting.

     13    While there are many folks who consider those things

     14    feminine as well, they stereotypically masculine in our

     15    society by my interpretation.

     16    BY ATTORNEY TRYON:

     17        Q.      So that would be your stereotype?

     18                         ATTORNEY HARTNETT:         Object to form.

     19                         THE WITNESS:      The stereotype that I

     20    observe in our society as part of my job.

     21    BY ATTORNEY TRYON:

     22        Q.      So how have you reported your observations as to

     23    what constitutes a masculine component?

     24                         ATTORNEY HARTNETT:         Object to form.



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      1                         ATTORNEY TRYON:       Do you have a list?

      2                         THE WITNESS:      Could you repeat the

      3    question?

      4    BY ATTORNEY TRYON:

      5        Q.      Do you have a list of what you've observed to be

      6    masculine components in our society here in West

      7    Virginia?

      8                         ATTORNEY HARTNETT:         Object to form.

      9                         THE WITNESS:      I do not have a list, no.

     10    BY ATTORNEY TRYON:

     11        Q.      So just when you're talking to a young person

     12    how do you know what constitutes a masculine component?

     13        A.      I think that's irrelevant for the purposes of

     14    discussing someone's gender identity as they see it

     15    themselves and instead more relevant to conversations

     16    about society's expectations of them.

     17        Q.      You say it's relevant or irrelevant?

     18        A.      It is relevant in some ways as to how they see

     19    themselves certainly.          The primary thing we focus on is

     20    how the young person experiences their gender identity.

     21        Q.      How did BPJ experience BPJ's identity?

     22        A.      She identified as a girl.

     23        Q.      And what does that mean then?

     24        A.      It means that in her own mind and her own sense



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      1    of self she is a girl.          She sees herself as a girl.            Her

      2    relationships with people are based on her own internal

      3    sense of self as a girl.

      4        Q.      Did BPJ tell her what components constitute

      5    being a girl?

      6                         ATTORNEY HARTNETT:         Object to form.

      7                         THE WITNESS:      Not to my recollection.

      8    BY ATTORNEY TRYON:

      9        Q.      So just the fact that BPJ said I identify as a

     10    girl, that was enough?

     11                         ATTORNEY HARTNETT:         Object to form.

     12                         THE WITNESS:      No one knows their own

     13    lived experience better than the individual themselves.

     14    And so when young people tell me how they identify, I

     15    explore what that mean for them.              But B        identifies

     16    as a girl and so she is a girl.

     17    BY ATTORNEY TRYON:

     18        Q.      So you explored that with BPJ.             Can you tell me

     19    about that exploration, what it meant for BPJ to be a

     20    girl?

     21        A.      Only to the extent that I documented it and

     22    based on my standard practice.             I don't recall the

     23    specifics of our conversation beyond that.

     24        Q.      So if someone comes to you and says --- who is a



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      1    girl who was, as you say, assigned the sex of female at

      2    birth, that says I identify as a male, but all outward

      3    appearances --- let me rephrase that.               Let me just start

      4    over.    If a young woman of any age comes to you and says

      5    I identify as a male, is that in and of itself enough to

      6    establish gender --- now I'm forgetting the terminology,

      7    sorry, gender dysphoria?

      8                         ATTORNEY HARTNETT:         Object to form.

      9                         THE WITNESS:      It is not because, as we

     10    discussed, there are specific diagnostic criteria for

     11    that diagnosis.

     12    BY ATTORNEY TRYON:

     13        Q.      And that is they have to identify as such for

     14    six months?

     15                         ATTORNEY HARTNETT:         Object to form.

     16                         THE WITNESS:      I'm happy to review based

     17    on my memory, but I would refer to the DSM-V and that

     18    specific diagnostic criteria.

     19    BY ATTORNEY TRYON:

     20        Q.      What if that persons says I don't care about

     21    DSM-V, you know, I was assigned girl at birth, but I

     22    identify as a girl, that's not good enough?

     23                         ATTORNEY HARTNETT:         Object to form.

     24                         THE WITNESS:      I think you are confusing



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      1    the difference between gender dysphoria, the diagnosis,

      2    and gender identity, the experience.

      3    BY ATTORNEY TRYON:

      4          Q.      Thank you for clarifying.         So for someone to

      5    have a gender identity different than what they are

      6    quote assigned at birth, they just simply need to say

      7    that they have a different gender identity.

      8                   Is that right?

      9                         ATTORNEY HARTNETT:         Object to form.

     10                         THE WITNESS:      They also don't have to say

     11    it.        It's something they know in their own minds for

     12    themselves and for them to share or not.

     13    BY ATTORNEY TRYON:

     14          Q.      But if they share that, is it your view that

     15    that person needs to accept that, that other folks need

     16    to accept that?

     17                         ATTORNEY HARTNETT:         Object to form.

     18                         THE WITNESS:      It's my view that no one

     19    can know inside someone's else's mind better than that

     20    person themselves.

     21    BY ATTORNEY TRYON:

     22          Q.      Do others --- should others be required to

     23    accept that or not?

     24                         ATTORNEY HARTNETT:         Object to form.



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      1                         THE WITNESS:      I can't speak to that more

      2    broadly.     All I can talk about is B                and what she

      3    told me.

      4    BY ATTORNEY TRYON:

      5        Q.      Okay.

      6                If we could turn now to page --- okay.                I'm

      7    looking at what is page 18 of 36.              Do you see that?

      8        A.      I do.

      9        Q.      Okay.    So ---.

     10                         ATTORNEY HARTNETT:         Could I just say for

     11    the record it's the document with the 101120 at the

     12    bottom?

     13                         ATTORNEY TRYON:       Correct.

     14                         ATTORNEY HARTNETT:         Thank you.

     15    BY ATTORNEY TRYON:

     16        Q.      And it says --- under messages sent it shows

     17    delivery and it shows on 10/25/2021 it looks like a

     18    message was sent to Matthew Bunner.               Is that a correct

     19    interpretation of that?

     20        A.      That would be my guess, although I'm not

     21    familiar with that exact message nor is this kind of

     22    usually how I see this report.             So outside of this

     23    setting, I wouldn't necessarily have access to this

     24    view.



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      1        Q.      Do you remember talking to or sending a message

      2    to Mr. Bunner on 10/25/2021?

      3        A.      No, I don't have recollection of that and I

      4    suspect it was not me who sent the message.

      5        Q.      Okay.

      6                Then down below further it says call

      7    information and it references Steven Deci and you and

      8    --- that's all.        It references a call apparently on

      9    9/16/2021.      Do you know what that is about?

     10        A.      I don't.     I don't recall receiving a phone call.

     11    I do know that is the date of the visit and the time of

     12    the visit, and so this may be what it is referring to.

     13        Q.      Okay.

     14                Now, I'm on page 21, which is at the bottom of

     15    the page.      The bottom is 101123.          And under here it

     16    shows today's visit.         There's a box there.          Do you see

     17    that?

     18        A.      I do.

     19        Q.      And who inputted this information?

     20        A.      It depends on what information you're referring

     21    to, and I only know partial answers to that question.

     22        Q.      Okay.

     23                The blood pressure?

     24        A.      It is our standard practice that the nurse takes



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      1    the blood pressure and then enters it into the chart.

      2        Q.      The same thing with the BMI and the weight?

      3        A.      So the nurse would take a weight and measure

      4    height and then the computer would automatically

      5    calculate a BMI.

      6        Q.      Okay.

      7                And the temperature, the nurse does that as

      8    well?

      9        A.      Yes.

     10        Q.      And the pulse?

     11        A.      Yes.

     12        Q.      And it says under that percentiles calculated

     13    using cc, paren, boys 2, dash, 20 years, closed paren.

     14    Do you see that there?

     15        A.      I do.

     16        Q.      And so why is that percentage using the boys

     17    chart as opposed to a girls chart?

     18        A.      Because in Epic the sex designation carries over

     19    to the gender marker, and so that is what chart is used.

     20        Q.      Is there a reason to determine percentiles for

     21    the child?

     22        A.      The BMI percentiles are important for youth as

     23    BMI itself is a poor measure and so BMI percentile is

     24    the standard based on my training that is used.



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      1        Q.      And why is that important?

      2        A.      It's important to look at growth and development

      3    throughout childhood.          Children are not fixed as adults

      4    often are in their height, for example.

      5        Q.      So if BPJ identifies as a female, why not use

      6    the female chart?

      7                         ATTORNEY HARTNETT:         Object to the form.

      8                         THE WITNESS:      It's a question and it's a

      9    limitation of our health system and our health record.

     10    BY ATTORNEY TRYON:

     11        Q.      So you don't think it matters which chart is

     12    used, whether it's a male or female?

     13                         ATTORNEY HARTNETT:         Object to form.

     14                         THE WITNESS:      I certainly think it

     15    matters.

     16    BY ATTORNEY TRYON:

     17        Q.      And why does it matter?

     18        A.      It matters because these charts are slightly

     19    different and based on a child's growth trajectory it

     20    may be better to use one chart over the other or even

     21    both to make sure that a child growth trajectory is on

     22    target.

     23        Q.      Did you prescribe any treatment for BPJ?

     24                         ATTORNEY HARTNETT:         Object to form.



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      1                         THE WITNESS:      No new treatment.         I did

      2    continue with          .   For example, we did not discontinue

      3    the        during my visit.

      4    BY ATTORNEY TRYON:

      5          Q.    Is --- let me see if I can pronounce this right.

      6                    hormone, what is that?

      7          A.                    hormone or LH is a hormone that is

      8    downregulated by the presence of the                  .   It is a

      9    hormone that goes on to stimulate a secretion of sex

     10    hormone in the body throughout.

     11          Q.    Do you anticipate any of --- prescribing any

     12    further treatment?

     13          A.    So I think I have a visit with B                 coming up

     14    next month and at that point we will be discussing B

     15    and her family's goals and discussing options like

     16               .   We began that conversation at our first

     17    visit.

     18          Q.    And what about options such as surgery?

     19          A.    I'm not a surgeon, and in my experience, B

     20    is very young to be making kind of long-term plans in

     21    that direction, although if she has questions I will

     22    answer them to the best of my ability.

     23          Q.    So if that's something that BPJ wanted, is there

     24    something that you would --- is that something you would



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      1    refer BPJ to someone else?

      2                         ATTORNEY HARTNETT:         Object to form.

      3                         THE WITNESS:      When appropriate.

      4    BY ATTORNEY TRYON:

      5        Q.      Do you have someone in particular --- well, have

      6    you ever referred anybody to another specialist for

      7    surgery?

      8        A.      Yes.

      9        Q.      Who have you referred them to?

     10        A.      Well, there are usually surgical centers as well

     11    as individual surgeons, but it depends on what the young

     12    person is seeking and what their insurance coverage is,

     13    where their family is located, and a host of other

     14    factors.

     15        Q.      How many referrals have you made for surgery?

     16                         ATTORNEY HARTNETT:         Object to form,

     17    scope.     Go ahead.

     18                         THE WITNESS:      I couldn't speak to that

     19    specifically.       I don't know off the top of my head.

     20    BY ATTORNEY TRYON:

     21        Q.      More than one?

     22        A.      Yes.

     23                         ATTORNEY HARTNETT:         Same objection.

     24    BY ATTORNEY TRYON:



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      1        Q.      Can you just give me the names of a couple of

      2    folks who do this type of --- do surgery for gender

      3    transition?

      4                         ATTORNEY HARTNETT:         Objection, form,

      5    scope.

      6                         THE WITNESS:      What type of surgery are we

      7    talking about?

      8    BY ATTORNEY TRYON:

      9        Q.      Sex reassignment surgery.

     10                         ATTORNEY HARTNETT:         Objection.      This

     11    deposition concerns the diagnosis and treatment of

     12    Plaintiff, BPJ aka B             P       -J         .   I would like

     13    to understand how this line of questioning is at all

     14    relevant to that.

     15                         ATTORNEY TRYON:       To understand the future

     16    of possible treatments.

     17                         ATTORNEY HARTNETT:         She has not testified

     18    to any such future possible treatment with BPJ or --- I

     19    just don't understand why having her list the names of

     20    providers to conduct surgeries has anything at all to do

     21    with BPJ's diagnosis or treatment.

     22    BY ATTORNEY TRYON:

     23        Q.      You can answer the question.

     24        A.      Can you restate the question?



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      1        Q.      Can you give me a list of providers for a sex

      2    reassignment surgery that you've referred people to?

      3                         ATTORNEY HARTNETT:         Object to the form

      4    and scope.

      5                         THE WITNESS:      Sex reassignment surgery is

      6    very broad, and so I'm not able to give you a specific

      7    list of surgeons without further clarity.

      8    BY ATTORNEY TRYON:

      9        Q.      Then I guess I need to ask you what is included

     10    within sex reassignment surgery.

     11        A.      It's a rather long list, but none of this

     12    pertains to B           right now and may not in the future.

     13        Q.      But you have referred folks out for some form of

     14    sex reassignment surgery or not?

     15                         ATTORNEY HARTNETT:         Object to form.

     16                         THE WITNESS:      I have referred patients

     17    for a variety of needs outside of my scope of practice,

     18    yes.

     19    BY ATTORNEY TRYON:

     20        Q.      Can you recall the name of even one of the

     21    surgeons you've referred people to?

     22                         ATTORNEY HARTNETT:         Same objection and

     23    asked and answered.

     24                         THE WITNESS:      John Pang.



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      1    BY ATTORNEY TRYON:

      2        Q.      How do you spell the last name?

      3        A.      P-A-N-G.

      4        Q.      Give me two more and we will be done.

      5                         ATTORNEY HARTNETT:         Objection to scope

      6    and form and harassing the witness.

      7                         ATTORNEY LINKOUS:        If you can recall, you

      8    can tell him.

      9                         THE WITNESS:      And there are usually teams

     10    and not individual surgeons, but Toby Meltzer is someone

     11    whose name I had mentioned previously.                And I'm thinking

     12    of centers, and so there's lots of folks in centers.

     13    BY ATTORNEY TRYON:

     14        Q.      Give me a center name?

     15        A.      The Hopkins Clinic.

     16        Q.      Is that in West Virginia?

     17        A.      It is not.      In fact, none of these providers

     18    are.

     19        Q.      I see.     Okay.

     20                         ATTORNEY TRYON:       Let's go off the record.

     21    Let me take just a very short break and see if there are

     22    any other questions that I have.

     23                         VIDEOGRAPHER:       Going off the record.          The

     24    current time reads 1:32 p.m.



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      1    OFF VIDEOTAPE

      2                                       - - -

      3    (WHEREUPON, A SHORT BREAK WAS TAKEN.)

      4                                       - - -

      5    ON VIDEOTAPE

      6                         VIDEOGRAPHER:       We are back on the record.

      7    The current time reads 1:41 p.m.

      8                         ATTORNEY TRYON:       Dr. Kidd, I want to

      9    thank you very much for your time.              I have no further

     10    questions for you at this time.             In the rare event that,

     11    unlikely I will say, event that the Epic records somehow

     12    show something that we need to reconvene this for, then

     13    I would want to reconvene this.             Otherwise, I have no

     14    further questions.         And you have the option to --- well,

     15    your counsel will advise you you have the option to read

     16    this or waive reading.          So that's all I have.          Thanks

     17    again.

     18                         ATTORNEY HARTNETT:         And this is Kathleen

     19    Hartnett for Plaintiff.          I just would like to

     20    provisionally mark the transcript as confidential in

     21    light of the discussion of medical records.                 And we'll

     22    do a more specific designation when we review.

     23                         And I also just wanted to state from the

     24    Plaintiff's perspective, the deposition is closed



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      1    because we made the production requested of us, but we

      2    will, as I noted, review with what Mr. Linkous sent and

      3    we will send to Defendants anything responsive to RFP-1

      4    per the way we have responded to date in this

      5    litigation.

      6                         ATTORNEY LINKOUS:        If there are no more

      7    questions, we will read and sign.              And you may send her

      8    deposition transcript to me and I will facilitate the

      9    errata process to the doctor.

     10                         ATTORNEY TRYON:       Any other Defendants

     11    have any other questions?

     12                         ATTORNEY CROPP:       This is Jeff Cropp for

     13    Defendant Harrison County Board of Education and Doris

     14    Stutler.     I came on for Susan Deniker who had to leave

     15    early.     We have no questions today.

     16                         ATTORNEY GREEN:       This is Roberta Green

     17    here on behalf of West Virginia Secondary School

     18    Activities Commission.          No questions.

     19                         ATTORNEY TAYLOR:        This is Michael Taylor

     20    on behalf of the West Virginia State Board of Education.

     21    Kelly Morgan had to step off, so I jumped on, and we

     22    have no questions.

     23                         ATTORNEY TRYON:       Mr. Ducar, you are

     24    muted.



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      1                         ATTORNEY DUCAR:       Thank you.       Timothy

      2    Ducar on behalf of the Intervenor Lainey Armistead.                    We

      3    have no questions.

      4                         ATTORNEY TRYON:       Thank you, everyone.

      5                         VIDEOGRAPHER:       That concludes this

      6    deposition.      The current time reads 1:43 p.m.              Thank

      7    you, Counsel.

      8                                 * * * * * * *

      9                 VIDEOTAPED VIDEOCONFERENCE DEPOSITION

     10                           CONCLUDED AT 1:43 P.M.

     11                                 * * * * * * *

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       1    STATE OF WEST VIRGINIA         )

       2                              CERTIFICATE

       3                 I, Nicole Montagano, a Notary Public in

       4    and for the State of West Virginia, do hereby

       5    certify:

       6                 That the witness whose testimony appears

       7    in the foregoing deposition, was duly sworn by me

       8    on said date, and that the transcribed deposition

       9    of said witness is a true record of the testimony

      10    given by said witness;

      11                 That the proceeding is herein recorded

      12    fully and accurately;

      13                 That I am neither attorney nor counsel

      14    for, nor related to any of the parties to the

      15    action in which these depositions were taken, and

      16    further that I am not a relative of any attorney

      17    or counsel employed by the parties hereto, or

      18    financially interested in this action.

      19                 I certify that the attached transcript

      20    meets the requirements set forth within article

      21    twenty-seven, chapter forty-seven of the West

      22    Virginia.

      23

      24                                          Nicole Montagano,

      25                                            Court Reporter
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      1                   IN THE UNITED STATES DISTRICT COURT

      2               FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

      3                              CHARLESTON DIVISION

      4                                 * * * * * * * *

      5    B.P.J., by her next friend and              *

      6    Mother, HEATHER JACKSON,                    *

      7         Plaintiff                              *   Case No.

      8         vs.                                    *   2:21-CV-00316

      9    WEST VIRGINIA STATE BOARD OF                *

     10    EDUCATION, HARRISON COUNTY                  *

     11    BOARD OF EDUCATION, WEST                    *

     12    VIRGINIA SECONDARY SCHOOL                   *

     13    ACTIVITIES COMMISSION, W.                   *

     14    CLAYTON BURCH in his official               *

     15    Capacity as State Superintendent,* VIDEOTAPED

     16    DORA STUTLER in her official                * VIDEOCONFERENCE

     17    Capacity as Harrison County                 * DEPOSITION

     18    Superintendent, PATRICK MORRISEY *                     OF

     19    In his official capacity as                 * BPJ

     20    Attorney General, and THE STATE             * January 21, 2022

     21    OF WEST VIRGINIA,                           *

     22         Defendants                             *

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      1                 VIDEOTAPED VIDEOCONFERENCE DEPOSITION

      2                                         OF

      3    BPJ, taken on behalf of the Defendant, State of West

      4    Virginia herein, pursuant to the Rules of Civil

      5    Procedure, taken before me, the undersigned, Nicole

      6    Montagano, a Court Reporter and Notary Public in and for

      7    the State of West Virginia, on Friday, January 21, 2022,

      8    beginning at 10:09 a.m.

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      1                            A P P E A R A N C E S

      2

      3    JOSHUA BLOCK, ESQUIRE

      4    American Civil Liberties Union Foundation

      5    125 Broad Street

      6    New York, NY       10004

      7    COUNSEL FOR PLAINTIFF

      8

      9    LOREE STARK, ESQUIRE

     10    ACLU of West Virginia

     11    P.O. Box 3952

     12    Charleston, WV       25339

     13         COUNSEL FOR PLAINTIFF

     14

     15    KATHLEEN R. HARTNETT, ESQUIRE

     16    ANDREW BARR, ESQUIRE

     17    JULIE VEROFF, ESQUIRE

     18    ZOE HELSTROM, ESQUIRE

     19    Cooley, LLP

     20    3 Embarcadero Center

     21    20th Floor

     22    San Francisco, CA          94111-4004

     23         COUNSELS FOR PLAINTIFF

     24



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      1                     A P P E A R A N C E S (cont'd)

      2

      3    SRUTI SWAMINATHAN, ESQUIRE

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      2

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      4    NUMBER     DESCRIPTION                                IDENTIFIED

      5    Exhibit 1       Davis Medical Records                     --*

      6    Exhibit 1R      Davis Medical Records                     --*

      7    Exhibit 2       Davis Medical Records                     --*

      8    Exhibit 3       WVU Medical Records                       --*

      9    Exhibit 4       UPMC Children's Medical

     10                    Records                                   --*

     11    Exhibit 5       UPMC Children's Medical

     12                    Records                                   --*

     13    Exhibit 6       UPMC Children's Medical

     14                    Records                                   --*

     15    Exhibit 7       UPMC Children's Medical

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     17    Exhibit 8       UPMC Children's Medical

     18                    Records                                   --*

     19    Exhibit 9       UPMC Children's Medical

     20                    Records                                   --*

     21    Exhibit 11A Progress Notes                                --*

     22    Exhibit 11B Progress Notes                                --*

     23    Exhibit 11C Progress Notes                                --*

     24    Exhibit 11D Progress Notes                                --*



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      6                    Records                                    --*

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      8                    Records                                    --*

      9    Exhibit 14      WVU Medical Records                        --*

     10    Exhibit 15      WVU Medical Records                        --*

     11    Exhibit 16      WVU Medical Records                        --*

     12    Exhibit 17      Gender Support Plan                        --*

     13    Exhibit 18      Preferred Name Request Form                --*

     14    Exhibit 19      Gender Support Plan                        --*

     15    Exhibit 20      Student Information                        --*

     16    Exhibit 20R Student Information                            --*

     17    Exhibit 21      Screening Results                          --*

     18    Exhibit 21R Screening Results                              --*

     19    Exhibit 22      Birth Certificate                          --*

     20    Exhibit 22R Birth Certificate                              --*

     21    Exhibit 23      Heart Walk Article                         --

     22    Exhibit 23R Heart Walk Article                             --

     23    Exhibit 24      Photo                                      --

     24    Exhibit 24R Photo                                          --



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      5    Exhibit 25      WV Record                                 --

      6    Exhibit 26      Photo of Mom and BPJ                      --

      7    Exhibit 27      Article                                   --

      8    Exhibit 28      Article                                   --

      9    Exhibit 29      Lambda Legal Article                      --

     10    Exhibit 30      Declaration of Heather

     11                    Jackson                                   --

     12    Exhibit 31      Declaration of BJP                        --

     13    Exhibit 32      First Amended Complaint                   --

     14    Exhibit 33      Standards of Care                         --

     15    Exhibit 34      House Bill 3293                           --

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     23    * CONFIDENTIAL EXHIBITS

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      1                            S T I P U L A T I O N

      2    --------------------------------------------------------

      3    (It is hereby stipulated and agreed by and between

      4    counsel for the respective parties that reading,

      5    signing, sealing, certification and filing are not

      6    waived.)

      7    --------------------------------------------------------

      8                         VIDEOGRAPHER:       We're now on the record.

      9    My name is Jacob Stock.          I'm a Certified Legal Video

     10    Specialist employed by Sargent's Court Reporting

     11    Services, which is located at 210 Main Street,

     12    Johnstown, PA 15901.         The date today is January 21st,

     13    2022.    The current time reads 10:09 a.m., Eastern

     14    Standard Time.       This deposition is being taken remotely

     15    by Zoom conference.         The caption of the case is in the

     16    United States District Court for the Southern District

     17    of West Virginia, Charleston Division, BPJ, by her Next

     18    Friend and Mother, Heather Jackson versus West Virginia

     19    State Board of Education, et al.              Civil Action Number

     20    2:21-CV-00316.       The name of the witness is BPJ.

     21                         Will the attorneys present state their

     22    names and the parties they represent?

     23                         ATTORNEY CAPEHART:         This is Curtis

     24    Capehart for the State of West Virginia.                And with me is



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      1    my colleague, David Tryon.

      2                         ATTORNEY HARTNETT:         Good morning.       This

      3    is Kathleen Hartnett from Cooley, LLP, for Plaintiff

      4    BPJ, who is the witness today.             And the other

      5    Plaintiff's Counsel could introduce themselves, first

      6    with the others from Cooley and then we could go to

      7    ACLU, ACLU of West Virginia and Lambda.

      8                         ATTORNEY BARR:       Good morning.       This is

      9    Andrew Barr from Cooley, LLP, on behalf of the

     10    Plaintiff.

     11                         ATTORNEY VEROFF:        Good morning.       This is

     12    Julie Veroff from Cooley, LLP, on behalf of the

     13    Plaintiff.

     14                         ATTORNEY HELSTROM:         Good morning.       This

     15    is Zoe Helstrom from Cooley, LLP, on behalf of the

     16    Plaintiff.

     17                         ATTORNEY BLOCK:       Good morning.        This is

     18    Josh Block from ACLU on behalf of Plaintiff.

     19                         ATTORNEY STARK:       Good morning.        This is

     20    Loree Stark with the ACLU of West Virginia on behalf of

     21    the Plaintiff.

     22                         ATTORNEY SWAMINATHAN:          Good morning.

     23    This is Sruti Swaminathan from Lambda Legal on behalf of

     24    Plaintiff.



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      1                         ATTORNEY DENIKER:        Good morning.       I'm

      2    Susan Deniker with Steptoe and Johnson, counsel for

      3    Defendants Harrison County Board of Education and

      4    Harrison County Superintendant Dora Stutler.

      5                         ATTORNEY GREEN:       Good morning.        This is

      6    Roberta Green on behalf of West Virginia Secondary

      7    School Activities Commission, and I will let me

      8    colleagues introduce.

      9                         ATTORNEY BANDY:       Hello.     This is Kimberly

     10    Bandy also on behalf of West Virginia Secondary School

     11    Activities Commission.

     12                         ATTORNEY HAMMOND:        Good morning.       This is

     13    Kristen Hammond.        And Kelly Morgan is also on here with

     14    Bailey and Wyant and we represent the West Virginia

     15    State Board of Education and Superintendant Burch.

     16                         ATTORNEY DUCAR:       Good morning.        Timothy

     17    Ducar here on behalf of the Intervenor, Lainey

     18    Armistead.

     19                         ATTORNEY HOLCOMB:        Good morning.

     20    Christiana Holcomb with Alliance Defending Freedom on

     21    behalf of the Intervenor.

     22                         ATTORNEY CSUTOROS:         Good morning.       This

     23    Rachel Csutoros on behalf of Alliance Defending Freedom

     24    on behalf of the Intervenor.



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      1                         ATTORNEY BROWN:        And good morning.        Josh

      2    Brown on behalf of the Intervenor.

      3                         VIDEOGRAPHER:        And if that's everybody,

      4    the court reporter can swear in the witness so we can

      5    begin the deposition.

      6                         COURT REPORTER:        Can you please raise

      7    your hand, BPJ?

      8                                        ---

      9                                       BPJ,

     10    CALLED AS A WITNESS IN THE FOLLOWING PROCEEDING, AND

     11    HAVING FIRST BEEN DULY SWORN, TESTIFIED AND SAID AS

     12    FOLLOWS:

     13                                        ---

     14                         COURT REPORTER:        Thank you.

     15                         ATTORNEY HARTNETT:         Before we begin this

     16    morning, if it's okay with Mr. Capehart, the parties

     17    were going to put on the record a couple of stipulations

     18    about objections that they had reached for today's

     19    proceedings.       I would just direct the record in this

     20    case to the record of the deposition yesterday of

     21    Heather Jackson held on January 20th, and the same

     22    stipulations with respect to objections for

     23    legal/medical and expert testimony with respect to

     24    terminology and with respect to potentially



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      1    mischaracterization of the evidence.               Those same

      2    stipulations would hold today.             And so for the record,

      3    the Plaintiff agrees to that.             And it would be helpful I

      4    think if the other Defendants could just assent to those

      5    stipulations for today on the record.

      6                         ATTORNEY DENIKER:        This is Susan Deniker.

      7    I stipulate to that.

      8                         ATTORNEY GREEN:       This is Roberta Green on

      9    behalf of WVSSAC.        We stipulate to that.

     10                         ATTORNEY HAMMOND:        This is Kristen

     11    Hammond, and we also stipulate to that.

     12                         ATTORNEY DUCAR:       This is Tim Ducar.         We

     13    also stipulate to that.

     14                         ATTORNEY CAPEHART:         And the State does as

     15    well.

     16                         ATTORNEY CAPEHART:         Anything else,

     17    Kathleen, or should I go ahead?

     18                         ATTORNEY HARTNETT:         Nothing here.

     19                         ATTORNEY CAPEHART:         All right.      Thanks

     20    very much.

     21                                        ---

     22                                   EXAMINATION

     23                                        ---

     24    BY ATTORNEY CAPEHART:



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      1        Q.      Well, good morning.         Nice to finally get to meet

      2    you.     My name is Curtis Capehart, as I said just a

      3    minute ago.        I represent the State of West Virginia in

      4    this.     Now up to this point we've been referring to you

      5    by the initials as BPJ because that is the way you have

      6    been identified in the Complaint that started this

      7    lawsuit.     Now, is that okay or would you prefer that I

      8    call you something else while we're talking here today?

      9    Because initials can be a little awkward.                 So if you

     10    feel more comfortable with me calling you something

     11    else, that's perfectly fine.            You just let me know what

     12    that could be.

     13        A.      You can call me B

     14        Q.      Okay.

     15                         ATTORNEY HARTNETT:         If I could just say

     16    for the record, not to interrupt, that we filed with the

     17    BPJ initials in light of the Rules of Court, but the

     18    Plaintiff Counsel has no objection to you referring to

     19    her as B           in this deposition.

     20                         ATTORNEY CAPEHART:         Okay.

     21    BY ATTORNEY CAPEHART:

     22        Q.      You are represented by counsel here today and is

     23    that Kathleen, Ms. Hartnett, that was speaking just now?

     24        A.      Yes.



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      1        Q.      Have you ever been involved in a lawsuit before?

      2        A.      No.

      3        Q.      So you've probably never been deposed before,

      4    have you?

      5        A.      Can you repeat the question?

      6        Q.      Sure.    You haven't been deposed before then,

      7    have you?

      8        A.      No.

      9        Q.      Okay.

     10                Also if there is a time where you have trouble

     11    understanding me or hearing me, just do what you just

     12    did there, let me know and I'll try and speak up a

     13    little bit.       We don't have the best microphone

     14    placements in here, so that might be a thing as we go

     15    through today.

     16                So as I go through and answer --- I'm sorry, if

     17    I go through and ask you questions today, I just need

     18    you to try to remember to answer verbally, not just nod

     19    your head or shake your head because there is a video,

     20    but we need to have those verbal responses so we can

     21    truly understand what your answer is.               And if you do not

     22    understand a question, that's fine.               You just need to

     23    say so so that I can try and put together a better

     24    question or try to explain more of what I'm trying to



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      1    learn.        Okay?

      2                   Now, if you answer one of questions that I ask

      3    you today, we are going to assume that you understand

      4    it.        So if there is any kind of confusion, we don't want

      5    to deal with any of that.           It's better you just ask me

      6    and I'll try and improve my question for you.

      7                   Does that all make sense?

      8          A.      Yes.

      9          Q.      Okay.

     10                   Also, I want to kind of touch on a couple of

     11    other things here before I get started with some

     12    questioning.          Just understand that we are not here to

     13    judge you.        We're just trying to learn some of the facts

     14    here, things we don't know.            This lawsuit was filed

     15    trying to have a West Virginia State Law declared

     16    invalid under the U.S. Constitution and another Federal

     17    Law referred to as Title 9.            And that's --- that's

     18    pretty serious.          So we, as the lawyers for the State,

     19    have an obligation to defend that law.                That means I

     20    have to ask you some questions that might make all of us

     21    uncomfortable a little bit, but I have an obligation to

     22    try and get through these.           That's not my goal.          I'm

     23    just trying to find out information.               Okay?

     24                   Now, also if I ask you a question that makes



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      1    you very uncomfortable, tell me, and I can try, if I

      2    can, to rephrase it in a way to make you not

      3    uncomfortable.       I can't say that I won't ask those kinds

      4    of questions because there's some things that we have to

      5    ask questions about, some things that we need to get

      6    your testimony on, but I'm not trying to make you feel

      7    bad or upset you in any way.

      8                Okay?

      9        A.      Okay.

     10                         ATTORNEY HARTNETT:         I would just object

     11    to the extent you're seeking the witness to agree with

     12    your description of your role.             But on the other hand, I

     13    appreciate you letting her know that she can let you

     14    know if she has an upsetting question.

     15    BY ATTORNEY CAPEHART:

     16        Q.      Also, I'm just going to --- a word about

     17    objections.      Sometimes when we go through these, your

     18    lawyer might make an objection.             I may ask a question,

     19    Kathleen may same objection, something else.                  Now, if

     20    that happens, the lawyers may have to have a

     21    conversation.       It's unlikely, but the lawyers may have

     22    to talk about something, at which point you wouldn't be

     23    able to hear us or see us.           We don't think that's going

     24    to happen, but we at least want to let you know.



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      1                Also, generally, if your lawyer says objection,

      2    you can go ahead and answer the question unless your

      3    lawyer directs you not to.

      4        A.      Okay.

      5        Q.      Oh, and one last thing.          If you need to take a

      6    break for any reason, go to the bathroom, get more

      7    water, something of that nature, just let me know and we

      8    will take a break as soon as we can.               We just can't take

      9    a break if I've asked a question and we are waiting for

     10    you to finish your answer.

     11                Does that make sense?

     12        A.      Yes.

     13        Q.      Okay.        Great.

     14                We will try and get through this as quickly as

     15    we can.     I'm sure you have a lot of other things that

     16    you would rather do on a Friday.              So with that, let me

     17    ask you, if you can, to please state your name for the

     18    record.

     19        A.      First and last?

     20        Q.      Yes, please.

     21        A.      B        P            J    .

     22        Q.      Great.        What is your address?

     23        A.      Could you repeat the question?

     24        Q.      Sure.        What is your home address?



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      1          A.    I'm not sure.

      2          Q.    Okay.

      3                And where do you go to school?

      4          A.    Bridgeport Middle School.

      5          Q.    Do you remember signing a document called a

      6    Declaration back when this lawsuit was first getting

      7    started?

      8          A.    I can't remember.

      9          Q.    Okay.

     10                If you could look at --- it's marked Exhibit

     11    31.

     12                         ATTORNEY CAPEHART:         Court Reporter, if

     13    you could pull up that exhibit also.

     14    BY ATTORNEY CAPEHART:

     15          Q.    So do you have Exhibit 31 in front of you?

     16          A.    Yes.

     17          Q.    It's also up on the screen, just to make sure

     18    that we're all looking at this document here?

     19                         MS. JACKSON:      This is this.

     20    BY ATTORNEY CAPEHART:

     21          Q.    There's on the screen electronic version of it,

     22    too.

     23                         ATTORNEY HARTNETT:         For the record, we

     24    have copies of the exhibits face down in the room with



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      1    the witness, and the witness may feel free to pick up

      2    the exhibit once it's referred to by the questioning

      3    counsel and look at the hard copy.

      4    BY ATTORNEY CAPEHART:

      5        Q.      Okay.

      6                Looking at this, now if you look at the last

      7    page, I believe it is number page four, it has the

      8    initials BPJ there and then some handwritten

      9    signature-like initials of BPJ.             Looking at those, do

     10    you recognize those?

     11        A.      Yes.

     12        Q.      And that's your handwriting, I guess?

     13        A.      Yes.

     14        Q.      Okay.    Thanks very much.

     15                Looking at this, does it jog your memory a

     16    little bit that this is something you had to deal with

     17    back when the lawsuit was started?

     18        A.      Not really.

     19        Q.      Okay.

     20                And do you remember signing it?

     21        A.      A little bit.

     22        Q.      I know it's been a while, so I thought you might

     23    want to go and look at a couple of these things to

     24    remember what was in here.



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      1                         MS. JACKSON:      Do you want to read through

      2    it?

      3                         THE WITNESS:      No.

      4    BY ATTORNEY CAPEHART:

      5          Q.    If you want to take a minute, you can kind of

      6    read all through it.         You just go ahead and let us know

      7    when you've had a chance to do that.

      8                         MS. JACKSON:      You need to tell them when

      9    you're done.

     10                         THE WITNESS:      Oh, I'm done.

     11    BY ATTORNEY CAPEHART:

     12          Q.    Thank you.

     13                Now, since you signed this back in May of last

     14    year, obviously it's been quite a while since May.                    And

     15    is anything --- well, let me rephrase.                Back at that

     16    time, if you look on page two, this was --- in

     17    paragraph 11 you were talking about trying out for

     18    cross-country and track.           And obviously, with the

     19    passage of time, you tried out for the track team,

     20    right, cross-country track team.

     21                         ATTORNEY HARTNETT:         Objection, form.

     22                         THE WITNESS:      I tried out cross-country.

     23    Track is not a sport that was available at that time.

     24    BY ATTORNEY CAPEHART:



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      1        Q.      Is track a spring sport?

      2        A.      Yes.

      3        Q.      Okay.

      4                So you tried out for cross-country.               Did you

      5    make the cross-country team?

      6        A.      Yes.

      7        Q.      Back on the bottom of the first page, under the

      8    paragraph number four, it describes that you when you

      9    were younger would play with your mom's clothes, liked

     10    paint and girly items.          Whenever you said girly items

     11    there with the quotations around it, what kind of items

     12    are those?

     13        A.      Items that had maybe unicorns on it, sparkles,

     14    anything that would stick out in general that was maybe

     15    a mystical creature that was like a unicorn maybe.                     I

     16    had some stuff that was pandas because I really like

     17    pandas, and they were always multi-colored.                 And that's

     18    about it.

     19        Q.      Okay.

     20                I'm going to set that off to the side for a

     21    minute and just ask you a few other questions.                  Your

     22    mother told us that you are comfortable explaining your

     23    gender identity.        Are you?

     24                         ATTORNEY HARTNETT:         Objection to form.



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      1                         THE WITNESS:      Yes.

      2    BY ATTORNEY CAPEHART:

      3        Q.      Can you explain to me what is your gender

      4    identity?

      5        A.      I am female and I go by the pronoun she or her.

      6        Q.      Do you also refer to yourself as a transgender

      7    girl?

      8        A.      No.     I refer myself as a girl because I am a

      9    girl, and that's it.

     10        Q.      Okay.

     11                Does it bother you if someone does refer to you

     12    as a transgender girl?

     13        A.      No, because that's still calling me a girl, but

     14    I prefer to be called as just a girl.

     15        Q.      Okay.

     16                Did you have a problem with --- looking back at

     17    your Declaration, at Exhibit 31, in paragraph 12 it

     18    says, the second line, I am a transgender girl.                   Is that

     19    okay with you that that's written that way?

     20        A.      Yes, that is fine because that is --- that's

     21    still showing that I am a girl and that is on a ---

     22    that's on my Declaration.

     23        Q.      And transgender female or transgender girl, are

     24    both of those terms accurate?



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      1                         ATTORNEY HARTNETT:         Objection to form.

      2                         THE WITNESS:      Yes, because I am a

      3    transgender female and a transgender girl.

      4    BY ATTORNEY CAPEHART:

      5        Q.      Okay.

      6                I just want to make sure I got the terminology

      7    down.    Do you remember the first time you heard the term

      8    transgender?

      9        A.      I can't remember.

     10        Q.      Okay.

     11                As long as you remember, you just --- have you

     12    always had an understanding of what transgender means?

     13        A.      I don't know, I don't think so.

     14        Q.      So --- and I'm not trying to put words in your

     15    mouth.     I'm just trying to understand.             So do you think

     16    there was a time that you didn't, but at some point you

     17    learned it, you just don't remember when that was?

     18        A.      Yes.

     19        Q.      All right.

     20                Do you have any recollection of a time when you

     21    were not a transgender girl?

     22                         ATTORNEY HARTNETT:         Objection to form.

     23                         THE WITNESS:      A little bit of a memory,

     24    but not much.



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      1    BY ATTORNEY CAPEHART:

      2        Q.      What kind of a memory do you have --- let me

      3    back up.     How old is that memory?

      4        A.      Four or five years.

      5        Q.      Okay.

      6                Was that memory --- what were you doing that

      7    you can remember, I guess, maybe not being a transgender

      8    girl at that time?

      9                         ATTORNEY HARTNETT:         Objection to form.

     10                         THE WITNESS:      I think I was learning

     11    something in school and I found it really interesting.

     12    BY ATTORNEY CAPEHART:

     13        Q.      Okay.

     14                You don't remember what that was that you were

     15    learning, do you?

     16        A.      No.

     17        Q.      Your mother also told us that at some point when

     18    you were younger you told her that you were a girl.                    Do

     19    you remember the first time you told your mother that?

     20        A.      I can't remember.

     21        Q.      Okay.

     22                Do you remember the first time you told someone

     23    other than your mother that you were a transgender girl?

     24                         ATTORNEY HARTNETT:         Objection to form.



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      1                         THE WITNESS:      I --- can you say it again?

      2    BY ATTORNEY CAPEHART:

      3        Q.      Sure.    I will try to make it a little bit

      4    better, too.        Do you remember the time that you first

      5    told someone other than your mother that you were a

      6    girl?

      7        A.      Yes.

      8        Q.      Okay.

      9                Can you tell me about that?

     10        A.      It was in school.        It was new, whenever I just

     11    came out, and it was the year of 4th grade.

     12        Q.      Okay.

     13                Do you remember who you were talking to?

     14        A.      I don't remember.

     15        Q.      Now, you said that was 4th grade, that that was

     16    the year that you came out.            Do you use terminology like

     17    socially transition when you talk about that time?

     18        A.      Could you repeat the question?

     19        Q.      Sure.    Let me ask a different one.            Are you

     20    familiar with the term social transition or to socially

     21    transition?

     22        A.      No.

     23        Q.      Okay.

     24                When you --- and I'm going to use your term,



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      1    okay.      When you said you came out in 4th grade and that

      2    was the time when you maybe started talking to other

      3    people about being a girl, you don't really remember who

      4    that was, but generally how was that time for you?

      5                         ATTORNEY HARTNETT:         Objection to form.

      6                         THE WITNESS:      It was good because I made

      7    a lot of new friends.          A lot of people were really nice

      8    to me.

      9    BY ATTORNEY CAPEHART:

     10          Q.    Were your old friends nice to you, too?

     11          A.    Yes.

     12          Q.    How was everybody at your school, teachers and

     13    other folks that worked there?

     14                         ATTORNEY HARTNETT:         Objection to form.

     15                         THE WITNESS:      They were very good about

     16    it.

     17    BY ATTORNEY CAPEHART:

     18          Q.    Did you have any bad experiences that year?

     19          A.    No.

     20          Q.    Okay.

     21                 B      , for you what does it mean to be female

     22    or to be a girl?

     23          A.    Could you repeat the question?

     24          Q.    Sure.     I'm trying to understand your perspective



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      1    on things, and so that's why I'm just asking, to you,

      2    what does it mean to be a girl or to be female?

      3                         ATTORNEY HARTNETT:         Objection to form.

      4                         THE WITNESS:      It means --- it means

      5    everything.      I've always wanted to be a girl.

      6    BY ATTORNEY CAPEHART:

      7        Q.      Okay.

      8                And what is it about a girl or female that

      9    makes them different from boys or males?

     10                         ATTORNEY HARTNETT:         Objection to form.

     11                         THE WITNESS:      How they act and how they

     12    dress their selves.

     13    BY ATTORNEY CAPEHART:

     14        Q.      Okay.

     15                Anything else other than how they act or how

     16    they dress?

     17        A.      Not that I can think of right now.

     18        Q.      Okay.

     19                How do girls or females dress differently than

     20    boys or males?

     21                         ATTORNEY HARTNETT:         Objection to form.

     22                         THE WITNESS:      Females would wear ---

     23    normally wear dresses and males would normally wear

     24    tuxedos and suits.         And their casual clothes are most of



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      1    the time different but sometimes can be the same.

      2    BY ATTORNEY CAPEHART:

      3        Q.      Okay.

      4                So do I look like I'm dressed like a male

      5    because I'm wearing a suit jacket and tie?

      6                         ATTORNEY HARTNETT:         Objection to form.

      7                         THE WITNESS:      Yes.

      8    BY ATTORNEY CAPEHART:

      9        Q.      Okay.

     10        A.      Because that is also how you present yourself.

     11        Q.      Okay.

     12                Is presenting one's self, when you say that, is

     13    that different than how one dresses and how one acts or

     14    is it both of those together?

     15                         ATTORNEY HARTNETT:         Objection to form.

     16    Sorry.

     17                         THE WITNESS:      It's kind of a mix of all

     18    of it.

     19    BY ATTORNEY CAPEHART:

     20        Q.      Now, when you say that how someone acts is

     21    different regarding girls to boys, what do you mean by

     22    that?

     23        A.      Normally ---.

     24                         ATTORNEY HARTNETT:         Objection to form.



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      1                         THE WITNESS:      Most of the time males will

      2    look very big and buff and females most of the time do

      3    not like that look, but some can.

      4    BY ATTORNEY CAPEHART:

      5        Q.      Okay.

      6                What else about how a person acts puts them in

      7    a more of a female category than a male category?

      8                         ATTORNEY HARTNETT:         Objection to form.

      9                         THE WITNESS:      They would maybe --- they

     10    wouldn't want to look like a guy.              A guy wouldn't want

     11    to look like a girl and a girl wouldn't want to look

     12    like a guy unless --- unless you do, which sometimes

     13    people do do that.

     14    BY ATTORNEY CAPEHART:

     15        Q.      Okay.

     16                So if someone is trying to look like a guy,

     17    then they are going to wear more what I'll call

     18    traditional attire, like you said, maybe like a tuxedo

     19    or a suit with a coat and a tie and they may want to

     20    look bigger and buff and in an overall way present

     21    themselves as male.

     22                Is that right?

     23                         ATTORNEY HARTNETT:         Objection to form.

     24                         THE WITNESS:      Most of the time but not



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      1    all the time.

      2    BY ATTORNEY CAPEHART:

      3        Q.      Okay.

      4                Are there actions or things that people do that

      5    make you think this person is acting more like a male or

      6    someone is acting more like a female?

      7                         ATTORNEY HARTNETT:         Objection to form.

      8                         THE WITNESS:      Sometimes.

      9    BY ATTORNEY CAPEHART:

     10        Q.      Okay.

     11                When you say sometimes what are you thinking

     12    about?

     13        A.      Maybe people are walking around because

     14    sometimes it's how they walk that you can tell and their

     15    hair sometimes.

     16        Q.      What kind of hair is more male as compared with

     17    hair that is more female to you?

     18                         ATTORNEY HARTNETT:         Objection to form.

     19                         THE WITNESS:      I think longer hair is more

     20    ladylike and short hair is more manly, but sometimes

     21    people do like an option of that where people --- where

     22    guys will like long hair and girls will like short hair.

     23    BY ATTORNEY CAPEHART:

     24        Q.      I think my father would agree with you on what



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      1    you said there.        Are there other kind of behaviors that

      2    people exhibit that are more male or more female besides

      3    walking and maybe kind of their physical posture?

      4                         ATTORNEY HARTNETT:         Objection to form.

      5                         THE WITNESS:      Not really, no.

      6    BY ATTORNEY CAPEHART:

      7        Q.      Okay.

      8                Besides, as you said, males would be more big

      9    and buff and females not really liking that look as

     10    much, although some of them do, are there other physical

     11    attributes that makes you think someone is more male or

     12    more female?

     13                         ATTORNEY HARTNETT:         Objection to form.

     14                         THE WITNESS:      Not really.

     15    BY ATTORNEY CAPEHART:

     16        Q.      Does height have anything to do with it?

     17                         ATTORNEY HARTNETT:         Objection to form.

     18                         THE WITNESS:      No, because that can go

     19    either way.        That's genetics if you're tall or not.

     20    BY ATTORNEY CAPEHART:

     21        Q.      As you have been growing up, from what I

     22    understand, you talk with your mom a lot.

     23                Right?

     24        A.      Yes.



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      1        Q.      Have you ever talked with your mother about what

      2    it means to be female?

      3        A.      Yes.

      4        Q.      Okay.

      5                What did your mother --- strike that.

      6                Did your mother try to help you as you were

      7    going through this process to kind of understand this a

      8    little bit more what is male and female?

      9                         ATTORNEY HARTNETT:         Objection to form.

     10                         THE WITNESS:      Could you repeat the

     11    question?

     12    BY ATTORNEY CAPEHART:

     13        Q.      Sure.    As you've been growing up and as you've

     14    been talking with your mother over the years as you

     15    realized, as you said, you're a girl and as we were just

     16    talking about, that there are certain things in your

     17    mind that go more with being female rather than being

     18    male, did you and your mom have conversations about that

     19    same kind of thing we were just discussing?

     20                         ATTORNEY HARTNETT:         Objection to form.

     21                         THE WITNESS:      Yes.

     22    BY ATTORNEY CAPEHART:

     23        Q.      Okay.

     24                What did you all talk about?



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      1        A.      We talked about looks and --- mainly looks and

      2    that was about it.

      3        Q.      Okay.

      4                Did you talk about makeup?

      5        A.      Yes.

      6        Q.      Okay.

      7                Is that something to you that is more female or

      8    more male?

      9        A.      More female, but some males do wear them ---

     10    wear it.

     11        Q.      Did you and your mom talk about jewelry?

     12        A.      Ish, not really because jewelry can be worn by

     13    males and females.

     14        Q.      That's fair.       I'm wearing some myself right now.

     15    Did you all talk about anything else other than those

     16    few things that you just provided to me and also the

     17    makeup?

     18                         ATTORNEY HARTNETT:         Objection to form.

     19                         THE WITNESS:      Not really.

     20    BY ATTORNEY CAPEHART:

     21        Q.      Okay.

     22                Have you ever had any of those kinds of

     23    conversations with your father?

     24                         ATTORNEY HARTNETT:         Objection to form.



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      1                         THE WITNESS:      Not really because I don't

      2    think he would understand it because he is a guy that is

      3    --- he really --- he likes doing manly stuff and I don't

      4    think he'd understand makeup.

      5    BY ATTORNEY CAPEHART:

      6        Q.      So with all that in mind, I'm just trying to

      7    understand how you think about some of these things.

      8    How do you define girls and boys?

      9                         ATTORNEY HARTNETT:         Objection to form.

     10                         THE WITNESS:      Males try to look muscular

     11    and they do --- they lift weights and have short hair,

     12    but girls can also do that, but it's most commonly found

     13    with guys.      With girls, they usually have long hair, but

     14    guys can have that, too.           They wear makeup and have

     15    different clothing than males.

     16    BY ATTORNEY CAPEHART:

     17        Q.      Okay.

     18                Are there activities that girls or females like

     19    to do that men don't like to do or that males don't like

     20    to do?

     21                         ATTORNEY HARTNETT:         Objection to form.

     22                         THE WITNESS:      Not really because sports

     23    are for everyone and they should --- and every --- and

     24    any person should be able to play.



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      1    BY ATTORNEY CAPEHART:

      2        Q.      I thank you for that.          I was making it a little

      3    bit more broad than that even though.               Are there other

      4    things outside of sports that may be girls and females

      5    like to do that typically, from your experience, boys

      6    and males don't like to do?

      7                         ATTORNEY HARTNETT:         Objection to form.

      8                         THE WITNESS:      Not really because anything

      9    that a female could do a male could do, and anything a

     10    male could do a female could do.

     11    BY ATTORNEY CAPEHART:

     12        Q.      And among all of your friends, are they mostly

     13    girls, mostly boys or all across both boys and girls?

     14        A.      They are mostly girls, but I do have some guy

     15    friends.

     16        Q.      What do you like to do with your friends that

     17    are girls?

     18        A.      We hang out, sometimes we play video games.

     19        Q.      Do you go --- do you like going to the mall or

     20    shopping?      I know that has been harder recently since

     21    COVID?

     22                         ATTORNEY HARTNETT:         Objection to form.

     23                         THE WITNESS:      Sometimes, but not really

     24    because of COVID.



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      1    BY ATTORNEY CAPEHART:

      2        Q.      Do you do the same kind of things with your

      3    friends that are boys?

      4        A.      We also hang out.        We talk about video games, we

      5    play video games, so, yes, about the same.

      6        Q.      Okay.

      7                At some point you decided to change your name.

      8    Do you remember when you decided to do that?

      9        A.      When I came out.

     10        Q.      So in 4th grade, as you mentioned earlier?

     11        A.      I came out in the third --- the summer of third

     12    grade.     But when I was like actually talking to people

     13    and stuff about it, it was 4th grade.               So yes, when I

     14    came out.

     15        Q.      Okay.

     16                And so when did you start going by B                  ?

     17        A.      The summer of third grade.

     18        Q.      Did you go by B            at school at that time, too,

     19    or did you wait until fourth grade for that?

     20                         ATTORNEY HARTNETT:         Objection to form.

     21                         THE WITNESS:      It was the summer of third

     22    grade and I was kind of presenting through third grade,

     23    but I didn't go by B            , just --- at that point I

     24    waited until fourth grade.



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      1    BY ATTORNEY CAPEHART:

      2        Q.      Okay.

      3                How did you select your new name?

      4        A.      I've always liked the name, so that's what I

      5    liked.

      6        Q.      Okay.

      7                And why did you decide at that time that you

      8    needed a new name?

      9        A.      Because I didn't think my name fit for me.

     10        Q.      Okay.

     11                And you're familiar with the term dead name.

     12                Right?

     13        A.      Yes.

     14        Q.      Okay.

     15                Do you remember the first time that you

     16    encountered that word --- or I'm sorry, that term?

     17        A.      That term?      When I came out, I was told that I

     18    could be dead named and they told me what that was.                    And

     19    then later I looked it up and figured out what it was

     20    more in depth.

     21        Q.      Okay.

     22                Do you remember who it was that had told you

     23    that you could be dead named?

     24        A.      I can't remember.



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      1        Q.      Was it your mom?

      2        A.      It may have been, but I can't remember.

      3        Q.      From what your mother and your father told us,

      4    it sounds like your mother has been the parent that has

      5    taken you to all but maybe one of your appointments to

      6    talk to people about being a transgender girl.                  Is that

      7    about right from your recollection?

      8                         ATTORNEY HARTNETT:         Objection to form.

      9                         THE WITNESS:      Yes, that is about right.

     10    BY ATTORNEY CAPEHART:

     11        Q.      Have you had a lot of appointments to talk with

     12    doctors or other healthcare providers about being a

     13    transgender girl?

     14                         ATTORNEY HARTNETT:         Objection to form.

     15                         THE WITNESS:      I wouldn't say it was a

     16    lot, but I also wouldn't say it was like a little.                    It

     17    was a good amount of appointments.

     18    BY ATTORNEY CAPEHART:

     19        Q.      Okay.

     20                After one of those appointments you received a

     21    diagnosis of gender dysphoria.             Have you been told that

     22    before?

     23        A.      Yes.

     24        Q.      Okay.



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      1                When was the first time you remember

      2    encountering that term gender dysphoria?

      3        A.      I don't know the date, but I think my mom told

      4    me that I had it.

      5        Q.      Okay.

      6                Do you remember generally when that was?

      7        A.      I can't remember.        It may have been 2021 or

      8    2022.

      9        Q.      Also, when you're remembering something, if you

     10    remember it by year, I know that is how I remember a lot

     11    of things growing up, if something happened at a

     12    particular year of school rather than a calendar year.

     13    You know, if that's a frame of remembering for you, too,

     14    that is fine also.         Calendar years aren't as important.

     15                Do you know what gender dysphoria is?

     16        A.      A little bit about it, but I don't know the

     17    actual definition.

     18        Q.      Okay.

     19                Did you look it up and research it like you did

     20    dead name after you heard it?

     21                         ATTORNEY HARTNETT:         Objection to form.

     22                         THE WITNESS:      I don't think so because if

     23    I did I'd probably know more about it.

     24    BY ATTORNEY CAPEHART:



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      1        Q.      And you said --- do you remember the doctor

      2    visit where you first heard one of your doctors use that

      3    term?

      4        A.      I can't remember.

      5        Q.      Do you remember an appointment with Dr. Montano?

      6        A.      Yes, I remember some of the appointments with

      7    him.

      8        Q.      Okay.

      9                There is some medical records that show that

     10    you had an appointment with Dr. Montano where he did a

     11    full assessment of you in the summer of 2019.                  Do you

     12    remember that by any chance?

     13                         ATTORNEY HARTNETT:         Objection to form.

     14                         THE WITNESS:      Not really because that was

     15    a long time ago.

     16    BY ATTORNEY CAPEHART:

     17        Q.      Do you remember any appointment with Dr. Montano

     18    that was a longer appointment where you talked about a

     19    lot of things?

     20                         ATTORNEY HARTNETT:         Objection to form.

     21                         THE WITNESS:      Not really because they all

     22    felt like they went by so fast because during the things

     23    I usually had to miss a day of school, and I was always

     24    thinking about what I missed.



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      1    BY ATTORNEY CAPEHART:

      2        Q.      I did the same thing at your age.

      3                Whenever you had those appointments with Dr.

      4    Montano or at Dr. Montano's office, I know oftentimes at

      5    those appointments it's not just the doctor, that there

      6    are sometimes other people that work there that will

      7    come in and see a patient during the appointment time.

      8    What do you recall about those appointments and who you

      9    met with?

     10                         ATTORNEY HARTNETT:         Objection to form.

     11                         THE WITNESS:      I can't remember, but I ---

     12    I don't remember their name, but I remember a time where

     13    someone else went in there.

     14    BY ATTORNEY CAPEHART:

     15        Q.      Do you remember the kinds of things that you

     16    would talk about with Dr. Montano or any of the other

     17    people at those appointments?

     18        A.      Maybe --- I don't know.          I can't remember.

     19        Q.      When you were at appointments at Dr. Montano's

     20    office, do you recall him or any of his staff running

     21    tests on you?

     22                         ATTORNEY HARTNETT:         Objection to form.

     23                         THE WITNESS:      I can't recall.

     24    BY ATTORNEY CAPEHART:



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      1        Q.      Okay.

      2                At those appointments do you remember hearing

      3    people talking about how to treat gender dysphoria?

      4        A.      I can't remember.

      5        Q.      Has your mother discussed with you how your

      6    gender dysphoria is being treated now?

      7        A.      Maybe back whenever I --- whenever I was

      8    diagnosed with it, but I can't remember.

      9        Q.      Whenever there's any decisions that have to get

     10    made about your treatment for your gender dysphoria,

     11    does your mother talk with you about that and explain

     12    everything that's happening?

     13        A.      Yes.

     14        Q.      Okay.

     15                When you all are having those conversations and

     16    a decision has to be made, does your mother let you make

     17    those decisions?

     18                         ATTORNEY HARTNETT:         Objection to form.

     19                         THE WITNESS:      Yes, I am part of the

     20    making of the decisions what happens to me.

     21    BY ATTORNEY CAPEHART:

     22        Q.      Okay.

     23                Do you and your mother ever disagree about what

     24    should be done?



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      1                         ATTORNEY HARTNETT:         Objection to form.

      2                         THE WITNESS:      Not --- not --- I don't

      3    think we have, but there is a possibility that could

      4    happen or could have happened and I don't recall.

      5    BY ATTORNEY CAPEHART:

      6        Q.      Okay.

      7                Give me just a second.

      8                         ATTORNEY HARTNETT:         Also, I think it

      9    might be a good time to take a quick break just given

     10    the youth and amount of water consumption.                 So maybe we

     11    can take a five to ten-minute bathroom break when it's

     12    good for you, Curtis.

     13                         ATTORNEY CAPEHART:         Oh, yeah, that's

     14    actually perfectly fine.

     15                         ATTORNEY HARTNETT:         Can we take a

     16    ten-minute break?        Yeah, let's just take a ten-minute

     17    break so we're are not all back too early.

     18                         ATTORNEY CAPEHART:         Sounds great.

     19                         VIDEOGRAPHER:        Going off the record.         The

     20    current time reads 11:01 a.m.

     21    OFF VIDEOTAPE

     22                                        ---

     23    (WHEREUPON, A SHORT BREAK WAS TAKEN.)

     24                                        ---



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      1    ON VIDEOTAPE

      2                         VIDEOGRAPHER:       We are back on the record.

      3    The current time reads 11:13 a.m.

      4    BY ATTORNEY CAPEHART:

      5        Q.      Okay.

      6                Well, during the break I was going back over

      7    some notes and just have a couple of questions that kind

      8    of relate to some things we already talked about and

      9    then I'm going to move on.

     10                Okay?

     11        A.      That Declaration that we had looked at earlier,

     12    I recall that you had mentioned when you first looked at

     13    it you didn't recall seeing it, you didn't recall

     14    signing it, you then looked at your initial signatures

     15    and then you had read the rest of the document.                   After

     16    we went through all of that, did that jog your memory

     17    any.     Do you remember signing it?

     18        A.      I do remember signing it, but I kind of have a

     19    little bit of memory seeing it, but I do have a memory

     20    signing it.

     21        Q.      Okay.

     22                Also, when you recalled learning and hearing

     23    the term about dead name and that someone might do that

     24    to you at school, did anyone actually do that to you at



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      1    school?

      2          A.    Not that I can remember.

      3          Q.    Okay.

      4                I think you had also said you kind of did some

      5    research.      What kind of research did you do looking into

      6    that term?

      7          A.    Just looking what it meant, looking up what it

      8    meant.

      9          Q.    Did you look it up in a book or on the internet?

     10          A.    The internet.

     11          Q.    Okay.

     12                Do you recall where on the internet you found

     13    it?

     14          A.    I think I looked it up on Google and I did

     15    another one, but I can't remember what it was.                  It was

     16    one of the unpopular ones.

     17          Q.    Okay.

     18                Also, when you were --- or when we were talking

     19    about the characteristics or things that make a person

     20    more female or more male you had said that height really

     21    didn't make a difference, that that was really more

     22    genetic.     Do genetics have something more to do with

     23    being a girl or a boy?

     24                         ATTORNEY HARTNETT:         Objection to form.



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      1                         THE WITNESS:      I wouldn't know.

      2    BY ATTORNEY CAPEHART:

      3        Q.      Also, is there anything that definitively makes

      4    a person a girl or a female versus a boy or a male?

      5                         ATTORNEY HARTNETT:         Objection to form.

      6                         THE WITNESS:      Could you repeat the

      7    question?

      8    BY ATTORNEY CAPEHART:

      9        Q.      Sure.    And I will preface it with kind of what

     10    we were kind of talking about before.               You were

     11    describing how there were a lot of things that are

     12    typically --- and I don't think you used that word but

     13    I'm going to use it, more typically associated with

     14    males like tuxedos or suits, short hair, being buff,

     15    working out, that sort of thing, and other things that

     16    were more typically associated with being female,

     17    wearing dresses, longer hair, not preferring to have

     18    that maybe over muscled physique, wearing makeup, that

     19    sort of thing, and that there were even some other

     20    things you said are maybe more associated with males,

     21    but that doesn't mean that females don't do it or vice

     22    versa.     I think that's what you said.

     23                So I'm wondering is there anything in your mind

     24    that if you see a person doing that or wearing that or



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      1    whatever that thing might be, is there something that

      2    you, if you see it associated with a person, you think

      3    only boys do that or only girls do that?

      4                         ATTORNEY HARTNETT:         Objection to form.

      5                         THE WITNESS:      No, because if I see

      6    someone like that and I don't --- I don't immediately

      7    go, oh, that's a guy, oh, that's a girl.                I ask them,

      8    oh, what are your pronouns, what is your gender

      9    identity.      And that's --- that's the better way to

     10    figure out what they --- what they are and if they're

     11    male or female or what --- if they're nonbinary or

     12    whatever they are.

     13    BY ATTORNEY CAPEHART:

     14        Q.      You mentioned a term nonbinary.             Can you explain

     15    what nonbinary means?

     16        A.      It is a person that doesn't identify as a male

     17    or female and they go by they/them pronouns.

     18        Q.      Do you know anyone that is nonbinary?

     19        A.      One of my lawyers is.

     20        Q.      Do you know anybody at your school or your

     21    hometown that is nonbinary?

     22        A.      I don't think so.

     23        Q.      Okay.

     24                         ATTORNEY HARTNETT:         Heather, do you want



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      1    a minute for a break?

      2                         MS. JACKSON:      Just to get a sip of water.

      3                         ATTORNEY HARTNETT:         Can you give her a

      4    mute to, the court reporter, just to let her work

      5    through that?       It's happened to all of us.            No worries.

      6                         MS. JACKSON:      It went down the wrong

      7    pipe.

      8                         ATTORNEY CAPEHART:         And again, if you

      9    need to take another break, that's fine, too.                  All okay

     10    on your end?

     11                         MS. JACKSON:      We're good.

     12                         ATTORNEY CAPEHART:         Okay.

     13    BY ATTORNEY CAPEHART:

     14        Q.      I don't want to upset you, but I need to ask a

     15    couple of questions about some comments that, according

     16    to what we learned, your father had made in the past.

     17                         ATTORNEY HARTNETT:         Objection to form.

     18                         ATTORNEY CAPEHART:         That wasn't a

     19    question, but okay.

     20    BY ATTORNEY CAPEHART:

     21        Q.      We understand that ---.

     22                         ATTORNEY HARTNETT:         Sorry.    Just to make

     23    clear my objection was that you were stating that

     24    certain statements had been made, and I'm objecting to



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      1    the foundation.

      2                         ATTORNEY CAPEHART:         Okay.

      3                         ATTORNEY HARTNETT:         Go ahead.

      4    BY ATTORNEY CAPEHART:

      5        Q.      I've looked at some records and there are some

      6    notations and

      7                                        When we were talking with

      8    your mother she had said she did not know what had

      9    happened there.        Can you tell me what had happened when

     10    that occurred?

     11                         ATTORNEY HARTNETT:         Objection to form.

     12                         THE WITNESS:      Could you repeat the

     13    question?

     14    BY ATTORNEY CAPEHART:

     15        Q.      Sure.    We've seen in some records a notation

     16

     17                                                Your mother did not

     18    know what had happened on that occasion.                She recalled

     19    that when this happened, but she didn't know what had

     20    actually occurred

     21                Do you remember that?

     22                         ATTORNEY HARTNETT:         Objection to form.

     23    Go ahead.

     24                         THE WITNESS:      I can't remember, but I'm



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      1    pretty sure it was --- I was scared of something that

      2    was --- honestly I shouldn't have been scared of.                   It

      3    was nowhere near me.         It was probably a spider or

      4    something.      But just the phrase

      5                                                   it is like don't be

      6    scared of that, there's no reason to.               It's just another

      7    use of don't be scared of that.

      8    BY ATTORNEY CAPEHART:

      9        Q.      Okay.

     10                We were --- we were just wondering what had

     11    happened there because, as I recall, when this was being

     12    discussed yesterday, that your mother indicated you were

     13    very upset when you had

     14

     15                                            Does that help you

     16    remember anything more?

     17                         ATTORNEY HARTNETT:         Objection, form.

     18                         THE WITNESS:      Not really.

     19    BY ATTORNEY CAPEHART:

     20        Q.      Also, we seen a note in one of the medical

     21    records that was, again, discussed yesterday and your

     22    mother said we would need to ask you about it.

     23

     24



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      1

      2                         ATTORNEY HARTNETT:         Objection to form.

      3                         THE WITNESS:      Could you restate the

      4    question?

      5    BY ATTORNEY CAPEHART:

      6        Q.      Sure.    We were looking at some records and there

      7    was some notation

      8                                Your mother wasn't familiar with

      9    that and said we should ask you about it.                 So I'm asking

     10    you if you recall ever discussing that with one of your

     11    treaters?

     12                         ATTORNEY HARTNETT:         Objection to form.

     13                         THE WITNESS:      I don't remember discussing

     14    that with anyone besides my mom really.                But it was a

     15    long time ago, so I --- I can't remember if I did or

     16    not.

     17    BY ATTORNEY CAPEHART:

     18        Q.      Okay.

     19                Do you know what that would relate to, that

     20    reference

     21        A.      He probably got mad at me, like really mad in

     22    the situation, and he was probably threatening

     23

     24        Q.      Has that happened sometimes?



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      1        A.      A long time ago.        It doesn't happen anymore now.

      2        Q.      Did it happen on multiple occasions or just

      3    once?

      4        A.      It was --- well, it was a couple of times maybe

      5    in like the same three days or something like that, but

      6    after those three days it stopped.

      7        Q.      Did you talk with your mom about it when that

      8    happened?

      9        A.      Yes.

     10        Q.      Okay.

     11                Did she tell you that she was going to talk to

     12    your father for you?

     13                         ATTORNEY HARTNETT:         Objection.      Go ahead.

     14                         THE WITNESS:      She --- I think she did.

     15    She talked to him, and that's why he stopped doing it.

     16    BY ATTORNEY CAPEHART:

     17        Q.                                          ?

     18        A.      Could you restate it?

     19        Q.      Sure.    Do you have appointments from time to

     20    time to

     21                                                              ?

     22

     23

     24



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      1                         ATTORNEY CAPEHART:         We've got a fire

      2    drill going on.        Hold on, everybody.

      3                         THE WITNESS:      What happened?

      4                         MS. JACKSON:      They have a fire alarm

      5    going off.

      6                         THE WITNESS:      Oh.

      7                         VIDEOGRAPHER:         Do you want to go off the

      8    record?

      9                         ATTORNEY HARTNETT:         We're fine with that.

     10                         VIDEOGRAPHER:        Going off the record.         The

     11    current time reads 11:25 a.m.

     12    OFF VIDEOTAPE

     13                                        ---

     14    (WHEREUPON, A SHORT BREAK WAS TAKEN.)

     15                                        ---

     16    ON VIDEOTAPE

     17                         VIDEOGRAPHER:         Back back on the record.

     18    The current time reads 11:41 a.m.

     19                         ATTORNEY GREEN:         All right.     Thank you

     20    and I will just hop in for a minute.               This is Roberta

     21    Green on behalf of WVSSAC.           And I just wanted to note

     22    for the record the appearance of my co-counsel, Shannon

     23    Rogers, who's with me on behalf of WVSSAC.                 I just

     24    wanted to note that for the record and I'll hop off.



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      1    Thanks.

      2                         ATTORNEY CAPEHART:         Okay.

      3                         Now that we are through our building

      4    emergency, if I could ask the court reporter to go back

      5    to the last line of actual testimony.               I don't recall

      6    what point during that event we broke off the record,

      7    but if you could go back and tell us where we were

      8    whenever loud noises started happening.

      9                         COURT REPORTER:       The question, sure.          Do

     10    you have any appointments from time to

     11

     12                             Answer, yes.       Question, okay.        Who do

     13    you meet with?        And then that's when the fire drill

     14    happened.

     15                         ATTORNEY CAPEHART:         Thank you.

     16    BY ATTORNEY CAPEHART:

     17        Q.      B       , let's just pick up there.          Who do you

     18    meet with?

     19        A.      I meet with                  His name is

     20        Q.      Okay.

     21                Do you know what office or group                       is

     22    with?

     23                         ATTORNEY HARTNETT:         Objection to form.

     24                         THE WITNESS:      Could you repeat the



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      1    question?

      2    BY ATTORNEY CAPEHART:

      3        Q.      Sure.    Is                                        or is

      4               part of a                      ?

      5        A.      I don't know.

      6        Q.      Do you know the name --- I'm sorry.               I cut you

      7    off.     Go ahead.

      8        A.      I just go to him for                     .   That's ---.

      9        Q.      Okay.

     10                How often do you meet with                    ?

     11        A.      It just depends because sometimes maybe it's

     12    once a month, but it can be anytime.               If we call him and

     13    we need to go, he usually has a spot open.

     14        Q.      Okay.

     15                And just generally speaking, what kind of

     16    things do you discuss with                    ?

     17        A.

     18

     19        Q.      Okay.

     20                Whenever you meet with                  , do you go in

     21    alone or does your mother go in with you?

     22        A.      It depends.      It usually starts with me and my

     23    mom in there, then she waits out in the lobby and we

     24    talk.     And sometimes I go out and my mother talks to him



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      1    and then we get back --- we both go in the room at the

      2    end and then we say bye and then we leave.

      3         Q.       Okay.

      4                  And how do you like that process, going to talk

      5    to             ?

      6         A.       I love it because I can talk about

      7              .

      8         Q.       Does that help you to feel better?

      9         A.       Uh-huh (yes).

     10         Q.       Do you know --- excuse me, do you know whether

     11    you have had any                                           ?

     12                           ATTORNEY HARTNETT:       Objection to form.

     13                           THE WITNESS:     Could you rephrase that?

     14    BY ATTORNEY CAPEHART:

     15         Q.       Yes.    And let me back up and ask another

     16    question I had forgotten to ask earlier.                Do you know

     17    what                   profession is?

     18         A.       I don't know.

     19         Q.       Okay.

     20         A.       All I know is that he is a                    .   That's

     21    what I know.

     22         Q.       Okay.

     23                  And do you know whether                  is a            of

     24    some sort or just a



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      1                         ATTORNEY HARTNETT:         Objection to form.

      2                         THE WITNESS:      I do not know.

      3    BY ATTORNEY CAPEHART:

      4        Q.      Okay.    Okay.

      5                Now, if you could look at Exhibit 34.               Do you

      6    have the document marked as Exhibit 34 in front of you?

      7    It says West Virginia Legislature at the top and then in

      8    the middle of the page there's a line that says House

      9    Bill 3293.

     10        A.      Yes, we have that.

     11        Q.      Okay.    Great.

     12                Have you ever seen this before?

     13        A.      I don't think so.

     14        Q.      Okay.

     15                So if you --- this is just of kind of a cover

     16    page for what was House Bill 3293 that passed the

     17    legislature and was signed the Governor last year.                    This

     18    is the --- this is the bill, the law that your lawsuit

     19    is challenging.

     20                Now, if you look --- start looking at page two

     21    you'll see there is a lot of text here.                Have you seen

     22    any of this before?          You don't have to read it all, just

     23    kind of glance over it.          And if you think you may have

     24    seen parts before, you can say so, but ---.



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      1        A.      I don't think I've seen this before.

      2        Q.      Okay.    Okay.     All right.

      3                Well, I'm not going to ask you to read the

      4    whole thing right now.          I'm just going to ask you about

      5    a couple of parts of it.

      6                Okay?

      7        A.      Uh-huh (yes).

      8        Q.      Because there's a lot to read here.

      9                         ATTORNEY HARTNETT:         I'll just refer to

     10    our standing objection.          Thank you.

     11                         ATTORNEY CAPEHART:         Sure.    Sure.

     12    BY ATTORNEY CAPEHART:

     13        Q.      On what's marked at the bottom of the page as

     14    page two you'll see that there are kind of a column of

     15    numbers that run down the left-hand side of the page

     16    there.     The top number on page two should be a ten?

     17        A.      Uh-huh (yes).

     18        Q.      Okay.

     19                And I'll just refer to those lines to direct

     20    you to a couple of spots.           Okay.     And just so you know,

     21    that's a standard part of what a bill looks like so that

     22    whenever they're looking at legislation people can refer

     23    to a procedure or line.          That way they can follow it

     24    more easy.



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      1                So the lines I'm going to direct you to are 25

      2    and 26.     This is a definition that is set forth in this

      3    bill and it is down in West Virginia Code.                 So just read

      4    that and let me know when you've read that definition in

      5    this bill.

      6        A.      I've read it.

      7        Q.      Okay.

      8                Do you think that's a proper definition of

      9    biological sex?

     10                         ATTORNEY HARTNETT:         Objection to

     11    terminology.        Make that a standing objection.

     12                         THE WITNESS:      I would not know that if I

     13    --- if that would be ---.

     14    BY ATTORNEY CAPEHART:

     15        Q.      Okay.

     16                Have you ever heard people use language like

     17    biological sex or biological female?

     18                         ATTORNEY HARTNETT:         Objection to form.

     19                         THE WITNESS:      Yes, I've heard people use

     20    that.

     21    BY ATTORNEY CAPEHART:

     22        Q.      Okay.

     23                Has anyone ever explained what they mean when

     24    they have used that terminology around you?



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      1          A.    I don't think so or I just can't remember.

      2          Q.    Okay.

      3                This definition, at lines 25 and 26, does this,

      4    based on the way that you have heard people use the term

      5    in the past, is this about what you think they meant?

      6                         ATTORNEY HARTNETT:         Objection to form.

      7                         THE WITNESS:      Yes.

      8    BY ATTORNEY CAPEHART:

      9          Q.    Okay.

     10                So now that you've read that in this bill

     11    that's what that term means, look up at lines 21 and 22

     12    and let me know when you've read those two lines.

     13          A.    Okay.

     14          Q.    Do you agree with that statement at lines 21 and

     15    22?

     16                         ATTORNEY HARTNETT:         Objection to form.

     17                         THE WITNESS:      I don't because I think if

     18    someone wants to play on the girls team, like me, they

     19    should be able to even though they are --- they're not

     20    following that requirement.

     21    BY ATTORNEY CAPEHART:

     22          Q.    Okay.

     23                Before I move on to ask some questions about

     24    cheerleading and track, I just want to talk about a



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      1    couple of other words that we were just touching on.

      2    But I just want to make sure that we understand each

      3    other or at least you understand me.               You have heard

      4    people use the term biological female or the term

      5    biological male before.

      6                Is that correct?

      7        A.      Yes.

      8        Q.      Okay.

      9                And just so we're clear, if I use the term

     10    biological female or biological girl, I'm describing

     11    people who were determined to be female at the time of

     12    birth.     Okay?    I'm not looking at the statute.             I'm just

     13    saying like if I use that term, that's what I'm talking

     14    about.     Just so that if I use a word and you're not sure

     15    what I mean, I'm trying to explain in advance so there's

     16    no confusion.       Does that make sense?

     17        A.      Yes.

     18        Q.      Okay.

     19                And also, if I say biological male or

     20    biological boy I mean someone who was determined to be

     21    male at the time of birth.

     22        A.      Yes.

     23        Q.      So if I use that --- if I use that kind of

     24    terminology that is what I'm talking about, people who



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      1    were determined to be that at the time of birth.                   Okay?

      2                When did you first get interested in sports?

      3        A.      I've always liked running.           And I think

      4    running's a sport, so since I could walk and run.

      5        Q.      What kind of sports, in addition to running,

      6    have you been interested in?

      7        A.      Cheering was one.        I was a little bit interested

      8    in volleyball, but not anymore.

      9        Q.      Why not?

     10        A.      I just never --- I just didn't --- I just lost

     11    liking of it.

     12        Q.      Whenever I say interested in --- let me

     13    rephrase.      Whenever you say that you are interested in

     14    running, you were interested in cheer and been part of a

     15    team and for a short time you are interested in

     16    volleyball but aren't really interested anymore, do you

     17    mean interested in participating and playing those

     18    sports?

     19        A.      Yes.

     20        Q.      Okay.

     21                Are there other sports that you have been

     22    interested in from the perspective of being a viewer but

     23    maybe not a participant?

     24        A.      Could you repeat the question?



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      1        Q.      Sure.    Besides the three that you just talked

      2    about, running, cheer, volleyball, are there other

      3    sports that you have an interest in as a viewer, as a

      4    person that's in the stand watching it, or watching it

      5    on television, but you don't have an interest in playing

      6    or taking part?

      7        A.      I like watching football.

      8        Q.      Okay.

      9                Anything else?

     10        A.      That's about it.

     11        Q.      Does your mom watch football?

     12        A.      Yeah.    We like the same team.

     13        Q.      What team?

     14        A.      The Cleveland Browns.

     15        Q.      Do you like any other football teams?

     16        A.      Not really, no.

     17        Q.      Do you just watch professional football or do

     18    you watch college, too?

     19        A.      Just professional.

     20        Q.      Now, have your parents encouraged you to be

     21    involved in sports?

     22                         ATTORNEY HARTNETT:         Objection to form.

     23                         THE WITNESS:      I'd say so that they

     24    encouraged me.



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      1    BY ATTORNEY CAPEHART:

      2        Q.      Okay.

      3                Now that you've been on a couple of different

      4    kind of teams, girls cross-country and also cheer when

      5    you were younger, do you enjoy getting to compete as

      6    part of a team?

      7        A.      Yes, I do.

      8        Q.      If you were in a sport where you weren't on a

      9    team, that you were just an individual on a team, would

     10    you enjoy that also?

     11        A.      No, because that's not --- that's not on ---

     12    you're not on a team, you're not doing teamwork, that's

     13    just by yourself.

     14        Q.      So is the bigger appeal to you in sports being

     15    part of a team, being part of a group, working towards a

     16    common goal?

     17                         ATTORNEY HARTNETT:         Objection to form.

     18                         THE WITNESS:      Could you repeat the

     19    question?

     20    BY ATTORNEY CAPEHART:

     21        Q.      Sure.    You said you wouldn't really like being

     22    in an individual sport, maybe something like, I don't

     23    know, figure skating maybe, because you wouldn't be part

     24    of a team, you would be --- that you like being part of



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      1    a team?

      2        A.      Yes.

      3        Q.      So is that what draws you to some of the sports

      4    that you are interested in, the team aspect?

      5        A.      Yeah, the team aspect and I can make new

      6    friends.

      7        Q.      Do you consider yourself competitive whenever

      8    you're playing sports or when you're playing games with

      9    your friends?

     10                         ATTORNEY HARTNETT:         Objection to form.

     11                         THE WITNESS:      I want to call myself

     12    competitive.        I'm just a person that likes playing

     13    games.     I'm not like, oh, I got to win.             I just like

     14    playing them, doing sports.

     15    BY ATTORNEY CAPEHART:

     16        Q.      Okay.

     17                Do you have some friends that are like that?

     18        A.      Yeah, I have a couple of friends.

     19        Q.      I think we all have a couple of friends that are

     20    like that.

     21                So in those sports that you're interested in,

     22    including football, do you think rules are really

     23    important in sports?

     24                         ATTORNEY HARTNETT:         Objection to form.



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      1                         THE WITNESS:      Yes, I think rules are

      2    important because you wouldn't want someone having an

      3    unfair advantage, like cheating.

      4    BY ATTORNEY CAPEHART:

      5        Q.      Right.

      6        A.      And like ---.

      7        Q.      Sorry.    Go ahead.

      8        A.      Like in baseball, I don't know what it's called,

      9    but getting a better grip on the ball, that's cheating.

     10    That's not fair.

     11        Q.      So do you think rules are a big part of or an

     12    important part of making sure that sports are fair?

     13        A.      Yes.

     14                         ATTORNEY HARTNETT:         Objection to form.

     15    Sorry, B        .    Just make sure you give me a chance to

     16    object, but you should then give your answer.                  So let's

     17    try that one again.

     18                         ATTORNEY CAPEHART:         Court Reporter, can

     19    you repeat the last question?

     20                         THE WITNESS:      Could you repeat the last

     21    question?

     22                         COURT REPORTER:       Question, so do you

     23    think rules are a big part of or an important part of

     24    making sure that sports are fair?



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      1                         ATTORNEY HARTNETT:         Objection to form.

      2                         THE WITNESS:      I think they are a big part

      3    of making sports fair.

      4    BY ATTORNEY CAPEHART:

      5        Q.      What does it mean for sports, for competition to

      6    be fair?

      7                         ATTORNEY HARTNETT:         Objection to form.

      8                         THE WITNESS:      Well, sometimes it can mean

      9    losing --- maybe winning unfair and winning things

     10    because if people are cheating then they could get --- I

     11    don't know if there's a cash prize.               So if they cheat,

     12    they're going to get that.           That's not fair because they

     13    get something out of cheating.

     14    BY ATTORNEY CAPEHART:

     15        Q.      So it sounds like that you're saying that if

     16    somebody breaks a rule like the one that you were

     17    talking about in baseball, and by breaking that rule

     18    that helps them to win or beat someone else, that that

     19    wouldn't be fair.        Is that what you're ---?

     20                         ATTORNEY HARTNETT:         Objection.

     21                         THE WITNESS: Yes.

     22    BY ATTORNEY CAPEHART:

     23        Q.      I'm sorry.      I think I lost part of your answer

     24    there.



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      1        A.      Yes, that's what I'm saying.

      2        Q.      Who do you think should make up the rules for

      3    sports?

      4                         ATTORNEY HARTNETT:         Objection to form.

      5                         THE WITNESS:      I don't know.

      6    BY ATTORNEY CAPEHART:

      7        Q.      I'm going to ask you a couple of questions about

      8    your time on cheerleading.           How many years were you on

      9    the cheer team?

     10        A.      I was on the cheer team for two years.

     11        Q.      Okay.

     12                And if I recall from what your mother had told

     13    us, it was part of the Bridgeport Youth --- is it

     14    Bridgeport Youth Football League?              Is that what it was?

     15                         MS. JACKSON:      Yes.

     16                         COURT REPORTER:       I'm sorry.       Ms. Jackson,

     17    did you say yes or was it the witness.                I'm sorry.

     18                         MS. JACKSON:      I said yes.

     19    BY ATTORNEY CAPEHART:

     20        Q.      My understanding is that that's not affiliated

     21    with the schools in any way, that's an independent, what

     22    a lot of people would maybe call midget football league

     23    and that that league has cheerleading teams also.

     24                Is that right?



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      1                         ATTORNEY HARTNETT:         Objection to form.

      2                         THE WITNESS:      Yes.     Sorry.

      3    BY ATTORNEY CAPEHART:

      4        Q.      Okay.

      5                I just want to make sure I understood that.

      6    That's how things were when my daughter did midget cheer

      7    --- midget league cheer, also.

      8              What team were you on like B, C D?              Do you

      9    recall?

     10                         ATTORNEY HARTNETT:         Objection to form.

     11                         THE WITNESS:      I was on Bridgeport Pee Wee

     12    Red.

     13    BY ATTORNEY CAPEHART:

     14        Q.      Okay.

     15                And were the members of that team all within

     16    --- all the same age or within a year of each other?

     17        A.      They were within a year of each other.

     18        Q.      So was that third and fourth or fourth and

     19    fifth?

     20        A.      I think it was fourth and fifth.

     21        Q.      Did you enjoy being on the cheerleading team?

     22        A.      Yeah, it was really fun.

     23        Q.      Did you like cheering at sidelines at games more

     24    than competition cheer?



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      1                         ATTORNEY HARTNETT:         Objection to form.

      2                         THE WITNESS:      I did like cheering on

      3    sidelines better because I had stage fright and I feel

      4    whenever I was cheering on the sidelines most of the

      5    people were paying attention to the game, so I didn't

      6    have as much stage fright.           But at competition, that was

      7    the main thing that everyone was focusing on.

      8    BY ATTORNEY CAPEHART:

      9        Q.      When you would be part of the team and working

     10    on your competition cheer, you all did stunts.

     11                Is that correct?

     12        A.      Yes, that is correct.

     13        Q.      Did you get to be a flyer or were you a base?

     14        A.      I was a base.

     15        Q.      Did you enjoy that more than going up in the

     16    air?

     17        A.      Definitely, because I have a fear of heights.

     18        Q.      Understandable.        So now that you're in Middle

     19    School you were on the cross-country track team this

     20    fall and you're also interested in running track.

     21                Is that correct?

     22        A.      Yes.

     23        Q.      Okay.

     24                I know I've seen in some reports and maybe in



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      1    your Declaration, too, you mentioned that there were

      2    other people in your family that had run.                 Is that the

      3    basis for your interest in being on cross-country and

      4    also doing track this spring?

      5          A.    Yes.

      6          Q.    Bridgeport Middle doesn't have coed teams, does

      7    it?

      8                         ATTORNEY HARTNETT:         Objection to form.

      9                         THE WITNESS:      Could you repeat the

     10    question?

     11    BY ATTORNEY CAPEHART:

     12          Q.    Sure.    Do you know what a coed team is?              Have

     13    you heard that term before?

     14          A.    No.

     15          Q.    Okay.

     16                I realize I'm probably dating myself a little

     17    bit there.        That term is not really used all that

     18    frequently maybe nowadays, but that just essentially

     19    means that coed would be, you know, boys and girls all

     20    on the same team together.           And I guess you don't.           You

     21    just have a boys team and a girl teams.

     22                Right?

     23          A.    Yes.

     24                         ATTORNEY HARTNETT:         Objection to form.



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      1                         THE WITNESS:      Sorry.

      2    BY ATTORNEY CAPEHART:

      3        Q.      Now, in this --- for spring track you're going

      4    to try out for the girls team.

      5                Correct?

      6        A.      Yes.

      7        Q.      Now, that tryout and also the one for

      8    cross-country track, are those competitive tryouts where

      9    everybody has to run and be timed?

     10                         ATTORNEY HARTNETT:         Objection to form.

     11                         THE WITNESS:      Kind of because when we did

     12    cross-country, all of us made it.              But I was told that

     13    the year before, when I was in 5th grade, that they had

     14    to cut people because there was too many.                 So I think

     15    that they only cut people if there's not --- if there is

     16    too many.

     17    BY ATTORNEY CAPEHART:

     18        Q.      Do you know how many there were on cross-country

     19    this fall?

     20        A.      I don't know.

     21        Q.      Okay.

     22                If there is some upper limit, though, your team

     23    didn't reach that limit in terms of participants?

     24        A.      I think it may have been exactly the limit or



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      1    less, but I don't know.

      2        Q.      You don't remember anyone that tried out not

      3    making the team, though?

      4        A.      Nope.    Everyone made it if they didn't quit.

      5        Q.      Okay.

      6                Do you remember how many meets or events you

      7    went to this past fall?

      8        A.      I don't know for a fact, but it was around seven

      9    to eight.

     10        Q.      And were all of those competitive team events

     11    where they were tracking everyone's times with a team

     12    placing at the end?

     13                         ATTORNEY HARTNETT:         Objection to form.

     14                         THE WITNESS:      Yes, there was.

     15    BY ATTORNEY CAPEHART:

     16        Q.      Okay.

     17                How did you all do this fall?

     18        A.      We did very good.

     19        Q.      Great.    Did you place at most of the events that

     20    the team went to?

     21                         ATTORNEY HARTNETT:         Objection to form.

     22    BY ATTORNEY CAPEHART:

     23        Q.      And by team I mean did the team place at the

     24    event that your team participated in?



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      1        A.      Most of the time, yes.          Some of them weren't,

      2    but we always got close.

      3        Q.      Did your team get first place at any of the

      4    events?

      5        A.      Yes.

      6        Q.      How did that feel to be part of a team that got

      7    first place at one of these events?

      8        A.      It felt awesome.        It felt great.

      9        Q.      Okay.

     10                So just because I don't know a tremendous

     11    amount about cross-country or track and field, for

     12    cross-country do you understand how the scoring works or

     13    how the timing ends up with a team being first place or

     14    second place or last place?

     15        A.      I do not know.

     16        Q.      But you would like to win, right?              You would

     17    like your team to win.

     18                Right?

     19        A.      Yes.

     20        Q.      What track sports do you want to run in this

     21    spring, track events I should say?

     22        A.      I'm thinking about doing long distance.

     23        Q.      And by long distance what does that mean in

     24    terms of the actual distance?



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      1        A.      There is a mile, two miles, and I think there

      2    may be a three-mile one.

      3        Q.      So are you training to build up your stamina to

      4    those right now?

      5        A.      Not currently just because it is really cold

      6    out.

      7        Q.      That's fair.       Just like I was asking you to help

      8    me understand a little bit about how cross-country does

      9    its scoring and placing, I think I know a little bit

     10    more about track and field.            In events like the distance

     11    runs, the one, two or even --- one mile, two mile or

     12    even longer distances, there are individual places in

     13    each of those events.

     14                Correct?

     15        A.      Uh-huh (yes).

     16        Q.      So do the first, second, third place finishers

     17    get metals in those?

     18                         ATTORNEY HARTNETT:         Objection to form.

     19                         THE WITNESS:      I'm not sure because this

     20    would be my first year doing track.

     21    BY ATTORNEY CAPEHART:

     22        Q.      And do you know whether the outcome of those

     23    individual races are then factored into some overall

     24    team standing?



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      1        A.      I do not know.

      2        Q.      Okay.

      3                Now, at all of these events that you have

      4    participated in this past fall with the girls track team

      5    and then the ones that you would like to be part of this

      6    spring for track and field, those are just girls teams

      7    against girls teams.

      8                Is that correct?

      9                         ATTORNEY HARTNETT:         Objection to form.

     10                         THE WITNESS:      I do not know because,

     11    again, this is my first year.

     12    BY ATTORNEY CAPEHART:

     13        Q.      Okay.

     14                Now, at the cross-country events you went to

     15    this past fall, when your team got first place, that was

     16    just competing against a girls team.

     17                Correct?

     18        A.      Yes.

     19        Q.      Okay.

     20                At those same events or meets are there also

     21    boys teams present?

     22        A.      Yes.

     23        Q.      Okay.

     24                But your team only competed against the girls



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      1    teams.

      2                Correct?

      3        A.      Yes.

      4        Q.      Would you have liked for your teams to have

      5    competed against boys teams and girls teams?

      6        A.      At a couple of meets they did.             But when they

      7    do, they only tallied the girls points and the guys

      8    teams differently and then they did the teams' totals.

      9        Q.      Okay.

     10                Did anyone explain to you why they did that

     11    that way?

     12        A.      I don't know.

     13        Q.      Okay.

     14                Do you think that they may have done those

     15    tallies differently because someone thought that boys

     16    could run faster than girls?

     17                         ATTORNEY HARTNETT:         Objection to form.

     18                         THE WITNESS:      I don't know.        I don't know

     19    that.

     20    BY ATTORNEY CAPEHART:

     21        Q.      Okay.

     22        A.      But whenever we started the --- a different ---

     23    like the guys would go five minutes before and then five

     24    minutes later the girls would go, so it was easier to



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      1    tally up all the points.

      2        Q.      Okay.

      3                Do you think that the boys can run faster than

      4    the girls?

      5                         ATTORNEY HARTNETT:         Objection to form.

      6                         THE WITNESS:      I do not believe so because

      7    I also think that is a genetic thing, if you are fast or

      8    not.

      9    BY ATTORNEY CAPEHART:

     10        Q.      Okay.

     11                From what I remember reading somewhere you're

     12    pretty good with math.

     13                Is that fair to say?

     14        A.      Yes.

     15                         ATTORNEY HARTNETT:         Objection to form.

     16                         THE WITNESS:      Sorry.

     17                         ATTORNEY HARTNETT:         That is okay.

     18    BY ATTORNEY CAPEHART:

     19        Q.      Do you know what statistics are?

     20        A.      I am familiar with the word, but I don't know

     21    what it means.

     22        Q.      Okay.

     23                Would you and your teammates sometimes compare

     24    times after meets?



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      1        A.      Sometimes.

      2        Q.      Okay.

      3                And at the cross-country events, was the course

      4    that you would run a different length every time?

      5        A.      It was always around 2 miles to 2.3, so --- so

      6    not really.

      7        Q.      Okay.

      8                I was just curious because I have a number of

      9    friends that are athletes and they really seem to enjoy

     10    talking about statistics, you know, how fast they run or

     11    in baseball a batting average or in football a

     12    quarterback's completion percentage or something, that

     13    those are, it seems for folks in and around sports, ways

     14    that you can try to evaluate or to get a sense of

     15    something about a person or group of people.                  Have you

     16    heard and seen statistics talked about when you watch

     17    those football broadcasts with your mom?

     18                         ATTORNEY HARTNETT:         Objection to the

     19    narrative and to the question form.

     20                         THE WITNESS:      Could you repeat the

     21    question?

     22                         ATTORNEY CAPEHART:         Sure.

     23    BY ATTORNEY CAPEHART:

     24        Q.      Have you seen or heard statistics talked about



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      1    on those football broadcasts that you watch with your

      2    mom?

      3        A.      Sometimes, but I don't really pay attention to

      4    those because I mainly like watching the game.

      5        Q.      That's fair.

      6                         MS. JACKSON:      Excuse me.       She needs to

      7    use the restroom.

      8                         ATTORNEY CAPEHART:         Absolutely.      Take a

      9    break.

     10                         MS. JACKSON:      Can you get through?

     11                         VIDEOGRAPHER:         Going off the record.

     12    The current time reads 12:18 p.m.

     13    OFF VIDEOTAPE

     14                                        ---

     15    (WHEREUPON, A SHORT BREAK WAS TAKEN.)

     16                                        ---

     17    ON VIDEOTAPE

     18                         VIDEOGRAPHER:        We are back on the record.

     19    The current time reads 12:25 p.m.

     20    BY ATTORNEY CAPEHART:

     21        Q.      All right.

     22                Well, let's see.        When we left off I was just

     23    asking you about things about statistics.                 Have you ever

     24    looked up any statistical data about cross-country for



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      1    people your age?

      2        A.      No, I have not looked up the statistics for

      3    people my age.

      4        Q.      And I think I framed that question as for

      5    cross-country.       Have you ever done that with track and

      6    field, for example, the one mile or the two mile?

      7        A.      No, I have not.

      8        Q.      If you were to see statistics that show that, on

      9    average, 11-year-old biological boys were 20 percent

     10    faster than 11-year-old biological females in the mile

     11    run, would that surprise you?

     12                         ATTORNEY HARTNETT:         Objection to form.

     13                         THE WITNESS:      Yes, because I think

     14    biological --- it's all about genetics, if you're fast

     15    or not.

     16    BY ATTORNEY CAPEHART:

     17        Q.      So if you're fast or not is about genetics?

     18        A.      I think it is, but it could be not.

     19        Q.      Okay.

     20                If that were true, that there is a statistic

     21    somewhere that shows that 11-year-old biological boys

     22    are 20 percent faster than biological girls of the same

     23    age, would it be fair to have the biological boys

     24    running in the mile race with biological girls?



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      1                         ATTORNEY HARTNETT:         Objection to form.

      2                         THE WITNESS:      Can you say the question

      3    again?

      4    BY ATTORNEY CAPEHART:

      5        Q.      Sure.    If there were statistics that did show

      6    that difference of 20 percent between biological boys at

      7    a certain age and biological girls at that same age,

      8    would it be fair to allow biological boys to run that

      9    same race as the biological girls?

     10                         ATTORNEY HARTNETT:         Objection to form.

     11                         THE WITNESS:      If they identify as a

     12    female, then I think, yes.           But if not, then I don't

     13    think that it should.

     14    BY ATTORNEY CAPEHART:

     15        Q.      Okay.

     16                So you said if they identify as a female, then

     17    they should be able to run with the biological girls?

     18        A.      Yes.

     19        Q.      Did I hear you right?

     20        A.      Yes.

     21        Q.      Okay.

     22                So then could any biological boy be on the

     23    girls team so long as they identify as female?

     24                         ATTORNEY HARTNETT:         Objection to form.



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      1                         THE WITNESS:      I think so.       Sorry.

      2                         ATTORNEY HARTNETT:         Sorry.

      3    BY ATTORNEY CAPEHART:

      4        Q.      And when you say they identify as female, just

      5    explain that to me so I make sure I understand it.

      6        A.      When people are transgender from male to female,

      7    like me, that's what I think is identifying as a female.

      8        Q.      Okay.

      9                Is it enough for someone in your mind to

     10    identify as female for them to just say that they

     11    believe they're female or do they need to do something

     12    more than that?

     13                         ATTORNEY HARTNETT:         Objection to form.

     14                         THE WITNESS:      I think they need to have

     15    an appearance and there has to be a reason.                 Like ---

     16    well, not a reason, but they have to --- they have to

     17    not just say, oh, I identify as female, I should run.

     18    They should have already been transitioned.                 It can't

     19    just be out of nowhere.          Like, oh, all of the sudden,

     20    now that I started, I just realize that I can do this,

     21    oh, I'm transgender.         That's --- I don't think that ---

     22    I think maybe --- I don't know, a year into the

     23    transition that you should be able to.

     24    BY ATTORNEY CAPEHART:



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      1        Q.      Okay.

      2                So when you say a year into their transition

      3    do, you mean like just their social transition, the way

      4    they are presenting themselves?

      5        A.      Yes.

      6        Q.      Okay.

      7                For that kind of hypothetical person that you

      8    were describing there, if they had gone a year into

      9    their transition, as I think you've described it, then

     10    in your mind that's what they need to do so that they

     11    could be on the girls team?

     12                         ATTORNEY HARTNETT:         Objection to form.

     13                         THE WITNESS:      Yes.

     14    BY ATTORNEY CAPEHART:

     15        Q.      Okay.

     16                Do they --- do they need to be doing something

     17    else like taking puberty blockers or something of that

     18    nature?

     19                         ATTORNEY HARTNETT:         Objection to form.

     20                         THE WITNESS:      I think they should be on

     21    puberty blockers to do it because if they have hit

     22    puberty, then that's a different story because they hit

     23    puberty and that's not changeable.

     24    BY ATTORNEY CAPEHART:



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      1        Q.      Okay.

      2                When they hit puberty and that's not

      3    changeable, explain that to me a little if you can.

      4                         ATTORNEY HARTNETT:         Objection to form.

      5    Go ahead.

      6                         THE WITNESS:      If they've hit puberty,

      7    then they are maturing and they are going to get a

      8    deeper voice.       A girl would get a bigger Adam's apple

      9    and then that's really it.           And I think that gives them

     10    more of an unfair advantage.            I could be wrong, but I

     11    think after they hit puberty, I don't know, I think

     12    something happens, but I'm not sure.

     13    BY ATTORNEY CAPEHART:

     14        Q.      Do you think there is something else that

     15    happens besides the depth of voice and the Adam's apple?

     16        A.      I think they may get faster because their

     17    testosterone levels will rise.

     18        Q.      Okay.

     19                And do you think that's not an issue for

     20    someone that hasn't gone through puberty yet?

     21                         ATTORNEY HARTNETT:         Objection to form.

     22                         THE WITNESS:      Sorry.     Yes, because their

     23    testosterone levels, if they are on puberty blockers,

     24    won't be as high and they won't be --- it won't be high



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      1    and it won't give them any advantage.

      2    BY ATTORNEY CAPEHART:

      3        Q.      If there was someone in that situation that

      4    wasn't on puberty blockers, do you think that would be

      5    unfair for that person to be on a girls team?

      6                         ATTORNEY HARTNETT:         Objection to form.

      7                         THE WITNESS:      As long as they haven't hit

      8    puberty, then I think it's fine.              But if they have hit

      9    puberty, then I think they should maybe go on hormone

     10    blockers and then maybe then, because I --- I could be

     11    wrong, but I think their testosterone levels will drop

     12    if they go on hormone blockers after puberty.

     13    BY ATTORNEY CAPEHART:

     14        Q.      Okay.

     15                Do you think that they also need to be getting

     16    treated for gender dysphoria?

     17                         ATTORNEY HARTNETT:         Objection to form.

     18                         THE WITNESS:      I don't think that matters

     19    because if they don't have gender dysphoria, why should

     20    they be getting treated for it.

     21    BY ATTORNEY CAPEHART:

     22        Q.      So if there was a person that went through that,

     23    a biological boy who had done all the things that you

     24    say needed to be done and they could be on the girls



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      1    team, but at some point in the future that person

      2    decided they wanted to, I don't know, revert back to

      3    being on the boys team for sports, should that be

      4    allowed?

      5                         ATTORNEY HARTNETT:         Objection to form.

      6                         THE WITNESS:      If they want to, then yes,

      7    go ahead, because they will --- if they are --- if they

      8    still have the requirements to be on the girls team,

      9    then they will be on puberty blockers and then the

     10    testosterone levels will still be low.                So --- but if

     11    they get off, then they'll just raise back, and they

     12    could still run on the boys team, but they can't run on

     13    the girls.

     14    BY ATTORNEY CAPEHART:

     15        Q.      Okay.

     16                You've been talking about puberty blockers like

     17    a person that knows about them, which I think you do.

     18    What do you know about puberty blockers?

     19                         ATTORNEY HARTNETT:         Objection to the

     20    preamble and to the form.

     21                         THE WITNESS:      Okay.

     22                         Could you repeat the question?

     23    BY ATTORNEY CAPEHART:

     24        Q.      Sure.    What do you know about puberty blockers?



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       1       A.      They stop hormone levels from rising and they

       2   have --- they have a chance for --- they have side

       3   effects, but if you are transgender they can help ---

       4   they can help with the process of a transition because

       5   it will stop you from hitting puberty and you won't grow

       6   an Adam's apple, you won't grow facial hair and your

       7   voice won't get deeper.

       8       Q.      Okay.

       9                You're receiving puberty blocking medications

      10   now.

      11                Is that correct?

      12       A.      Yes, that's correct.

      13       Q.      Okay.

      14                Did you want to start that medication to delay

      15   or prevent puberty?

      16       A.      Yes, that is correct.

      17       Q.      Okay.

      18                We had talked some about your doctors'

      19   appointments before.          You had some appointments before

      20   receiving the puberty blockers.

      21                Correct?

      22       A.      Yes, that is correct.

      23       Q.      Okay.

      24                Do you remember an appointment where you talked



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       1   with a doctor about getting puberty blocking meds?

       2       A.      Yes.

       3

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      18                        ATTORNEY CAPEHART:         I think this is a

      19   good spot to take a break.            The next part that I'm going

      20   to get into I think is going to take a little more time

      21   than we have.        I see it's 12:41, so if it's all right

      22   with everyone, I suggest we go off the record and talk

      23   about when we come back.

      24                        ATTORNEY HARTNETT:         That's fine with us.



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       1                        VIDEOGRAPHER:         Going off the record.         The

       2   current time reads 12:41 p.m.

       3   OFF VIDEOTAPE

       4                                        ---

       5   (WHEREUPON, A SHORT BREAK WAS TAKEN.)

       6                                        ---

       7   ON VIDEOTAPE

       8                        VIDEOGRAPHER:         We are back on the record.

       9   The current time reads 1:19 p.m.

      10   BY ATTORNEY CAPEHART:

      11       Q.      Okay.

      12                Well, before I move onto something else, I just

      13   wanted to follow up on something that you had mentioned

      14   before the break, B             .   And I hope you had a good

      15   break.     You had mentioned testosterone before.                Where

      16   had you learned about what testosterone is?

      17       A.      The doctors.

      18       Q.      Okay.

      19                Like Dr. Montano, those people?

      20       A.      Yes.

      21

      22

      23

      24



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      10   BY ATTORNEY CAPEHART:

      11       Q.      Okay.

      12                You had mentioned before in relation to a

      13   biological boy running on a girls team and that they

      14   would need to, I think you had said --- I'm not trying

      15   to put words in your mouth, but I think you had said

      16   something along the lines that they would need to be

      17   taking some kind of medication relative to the

      18   testosterone if they were either going through puberty

      19   or had gone through puberty.

      20                          ATTORNEY HARTNETT:       Objection to form.

      21   BY ATTORNEY CAPEHART:

      22       Q.      Do you remember that when we were talking

      23   earlier?

      24       A.      Yes.



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       1       Q.      Okay.

       2                Why did you mention testosterone relative to

       3   how a biological boy might be performing in running?

       4       A.      Because I think that --- that after --- whenever

       5   you half an increase of testosterone, that --- I think

       6   that increases your athletic ability, but I could be

       7   wrong there.

       8       Q.      Okay.     Fair enough.

       9                Do you know that because of what the doctors

      10   had talked to you about?

      11                        ATTORNEY HARTNETT:         Objection to form.

      12                        THE WITNESS:       I am pretty sure, yeah.

      13   BY ATTORNEY CAPEHART:

      14       Q.      Okay.

      15                Have you had done any independent research

      16   yourself to learn more about testosterone?

      17       A.      I don't recall.        I may have, but I don't

      18   remember.

      19       Q.      Okay.

      20                Do you recall reading the Complaint in this

      21   lawsuit?

      22       A.      I do not.

      23       Q.      Okay.

      24                If you could look at Exhibit 32 for just a



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       1   minute.      Okay.    It says Exhibit WV-32 at the bottom

       2   right corner and has a lot of other words, but in

       3   boldface in the upper right center are the words First

       4   Amended Complaint.         Okay.     This is as it says is the

       5   First Amended Complaint, means there was an original

       6   Complaint that had been amended once in its first

       7   Amended Complaint.         Do you recall ever having seen this

       8   before now that you are getting a chance to look at it?

       9       A.      Yes, I think so.

      10       Q.      Okay.

      11                Do you remember reading over it yourself?

      12       A.      I don't think so.

      13       Q.      Okay.

      14                Do you remember anyone discussing with you what

      15   was in the Complaint?

      16       A.      I think I discussed it with my mom.

      17       Q.      But you don't know everything that's in here

      18   because you haven't read it yourself.

      19                Is that correct?

      20       A.      I don't.

      21                        ATTORNEY HARTNETT:         Objection.

      22                        THE WITNESS:       I don't remember if I have

      23   or haven't.

      24   BY ATTORNEY CAPEHART:



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       1       Q.      Okay.

       2                You don't remember if you have or have not.

       3   Okay.

       4                Now, I think we had talked before about the

       5   fact that your lawsuit is challenging the HB 3293.                      You

       6   may have remembered we had looked at that very briefly

       7   and I had directed you to a couple of parts of it and

       8   you had said you hadn't read the whole thing.                   And I

       9   will also represent to you that it also had some other

      10   definitions in there for biological male and female.                      Do

      11   you believe there is a difference between biological

      12   males and biological females?

      13                        ATTORNEY HARTNETT:         Objection to form and

      14   the preamble.

      15                        THE WITNESS:       I don't know.

      16   BY ATTORNEY CAPEHART:

      17       Q.      Okay.

      18                You don't know if there is any difference

      19   between a biological boy and a biological girl?

      20                        ATTORNEY HARTNETT:         Objection to form.

      21                        THE WITNESS:       I don't know.        I don't know

      22   if there is a difference.

      23   BY ATTORNEY CAPEHART:

      24       Q.      Okay.



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       1                Do you think there are physical differences

       2   between a biological boy and a biological girl?

       3                        ATTORNEY HARTNETT:         Objection.

       4                        THE WITNESS:       Could you repeat the

       5   question?

       6   BY ATTORNEY CAPEHART:

       7       Q.      Sure.     Do you think there are physical

       8   differences between a biological boy and a biological

       9   girl?

      10       A.      Yes.

      11       Q.      Okay.

      12                        ATTORNEY HARTNETT:         And I just have a

      13   standing objection in terminology, but I will not

      14   continue to make that objection.

      15                        ATTORNEY CAPEHART:         Noted.     Thank you.

      16   BY ATTORNEY CAPEHART:

      17       Q.      What do you understand the physical differences

      18   are between a biological boy and a biological girl?

      19       A.      A biological boy has a penis and a biological

      20   girl has a vagina.

      21       Q.      Okay.

      22                Do you believe there are any other physical

      23   differences between a biological boy and a biological

      24   girl?



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       1       A.      There --- yes, but that part could be with

       2   either one, because long hair could also be with a guy

       3   or like that's --- like if a girl, a biological girl,

       4   would probably have long hair, but a guy could also have

       5   long hair.       And then a guy could have --- a guy could

       6   have short hair and a girl could also have that.                    And a

       7   biological guy would probably want to look muscular, but

       8   a biological girl would probably --- could probably want

       9   to look like that.

      10       Q.      So apart from a superficial difference like hair

      11   length or how much someone works out and also the

      12   difference in genitalia, are you aware of any other

      13   differences?

      14                        ATTORNEY HARTNETT:         Objection to form.

      15                        THE WITNESS:       Not that I can think of

      16   right now.

      17   BY ATTORNEY CAPEHART:

      18       Q.      Okay.     Okay.

      19                Can you all look at Exhibit 26?             Do you have

      20   Exhibit 26?

      21       A.      Yes.

      22       Q.      This looks like it is an article from the

      23   Gazette Mail.        If you flip to the second page of the

      24   exhibit, the fourth block of text up from the bottom it



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       1   reads, quote, I just want to run, I come from a family

       2   of runners, close quoted, P                             said in a news

       3   release.      Quote, I know how hurtful a law like this is

       4   to all kids like me who just want to play sports with

       5   their classmates, and I'm doing this for them.                   Trans

       6   kids deserve better, closed quote.               B      , do you

       7   remember talking to a reporter before this article got

       8   written?

       9       A.      Yes.

      10       Q.      Okay.

      11                And the quoted language that I was just reading

      12   there that's also in the exhibit, do you remember saying

      13   that?

      14       A.      Yes.

      15       Q.      Okay.

      16                So those are your words, no one was

      17   paraphrasing something you were trying to tell them

      18   then?

      19       A.      No.

      20       Q.      Okay.

      21                Is a trans kid an appropriate term to use?

      22                        ATTORNEY HARTNETT:         Objection, form.

      23                        THE WITNESS:       Could you repeat the

      24   question?



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       1   BY ATTORNEY CAPEHART:

       2       Q.      Sure.     In the quote it says trans kids deserve

       3   better.      I'm just curious, is trans kids a normal term

       4   that is used and is acceptable to use?

       5                        ATTORNEY HARTNETT:         Objection, form.

       6                        THE WITNESS:       Could you repeat the

       7   question one more time?

       8   BY ATTORNEY CAPEHART:

       9       Q.      Sure.     And I'm not trying to trick you.              I'm

      10   just trying to understand because you used the term

      11   trans kids, and I think I've seen it in maybe another

      12   article, too, and I just thought I encountered it

      13   another experience.          So I'm asking the question is that

      14   an acceptable term to use to refer to transgender boys

      15   or transgender girls?

      16                        ATTORNEY HARTNETT:         Same objection.

      17                        THE WITNESS:       Yes.

      18   BY ATTORNEY CAPEHART:

      19       Q.      Is it okay to call you a trans kid?

      20       A.      If you don't know that I don't know my name and

      21   you know I'm trans, then yes, that's acceptable.                    But if

      22   you know my name and you're purposely calling me that,

      23   then not really, but it's still fine.

      24       Q.      Yeah.     And I don't intend to.          I was just



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       1   curious ---

       2       A.      Yes.

       3       Q.      --- from the nuances and the acceptable use of

       4   the term.      So thank you.         Excuse me.      If you can look

       5   at Exhibit 27.

       6                        ATTORNEY HARTNETT:         And just for the

       7   record and the witness's knowledge, B                   , you should

       8   feel free to review the full exhibit before you answer

       9   questions if you want to.

      10                        THE WITNESS:       Okay.

      11                        MS. JACKSON:       So that's the first page.

      12                        ATTORNEY CAPEHART:         You all just let me

      13   know whenever you're ready to proceed.

      14                        Okay?

      15                        ATTORNEY HARTNETT:         I'm sorry.       I think

      16   B        is ready.

      17                        THE WITNESS:       Yeah.

      18                        ATTORNEY CAPEHART:         Okay.     Thank you.

      19   BY ATTORNEY CAPEHART:

      20       Q.      I'm going to try to make sure I direct you to

      21   the proper page.         It looks like it's the last page of

      22   the text, which looks like it's about the fourth to the

      23   last page of the exhibit.            At the top of the page the

      24   test begins with the word when Justice.                 Right there.



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       1   Have you all found that on your hard copy?

       2       A.      Yes.

       3       Q.      Okay.     All right.

       4                So let's see, this first block here that reads

       5   when Justice signed the Bill banning transgender girls

       6   from sports teams, B              was devastated she said.           Then

       7   another quote, I felt horrible because I knew then I

       8   couldn't run with the other girls.               Do you remember

       9   talking to the author of this piece before it came out?

      10       A.      Yes.

      11       Q.      Okay.

      12                And does that quote seem right?             Do you

      13   remember saying that?

      14       A.      Yes.

      15       Q.      Okay.

      16                Now, I recall earlier you mentioned that you

      17   hadn't read the bill, the new law yourself, but here you

      18   said you couldn't run with the other girls after the

      19   Governor signed it.          How did you know that since you

      20   hadn't read through the bill?

      21       A.      I was told by my mom.

      22       Q.      Okay.

      23                Do you remember when you and your mother had

      24   that discussion?



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       1       A.      I don't remember.

       2       Q.      All right.

       3                Were you aware of this bill before your mom

       4   told you that it was now a law?

       5       A.      I was aware of it, but I didn't know that it was

       6   going to get signed.

       7       Q.      Okay.

       8                What did you know about it before your mom told

       9   you it was signed and was now a law?

      10       A.      That I wouldn't be able to run with the girls

      11   once it got signed.

      12       Q.      Okay.     All right.

      13                If you move down to and look at the fourth

      14   block of text there on the page it says as hard as it is

      15   to be a trans kid and a mother of a trans kid, suddenly

      16   thrust into the public eye in a conservative state,

      17   B        and Jackson agree that the potential payoff makes

      18   it all worth it.         You don't have a problem with the

      19   author using trans kid there, do you?

      20       A.      No.

      21       Q.      Okay.

      22                How hard has it been in Bridgeport and Lost

      23   Creek to be a trans kid, as the author says?

      24                        ATTORNEY HARTNETT:         Objection to form.



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       1                        THE WITNESS:       Could you --- could you

       2   repeat the question?

       3   BY ATTORNEY CAPEHART:

       4       Q.      Sure.     This little bit of language here is

       5   talking about it being hard to be a trans kid and the

       6   mother of a trans kid, so my question is how hard has

       7   that been on you in Bridgeport and Lost Creek?

       8                        ATTORNEY HARTNETT:         Objection to form.

       9                        THE WITNESS:       Well, a lot of the people

      10   don't support it and don't agree with it, so that's what

      11   makes it hard.

      12   BY ATTORNEY CAPEHART:

      13       Q.      Okay.

      14                You had said that school had gone really well

      15   with your transition.

      16                Correct?

      17       A.      Uh-huh (yes).

      18       Q.      Okay.

      19                So are these people you're describing now, are

      20   these all people outside of school?

      21                        ATTORNEY HARTNETT:         Objection to form.

      22                        THE WITNESS:       Yes.

      23   BY ATTORNEY CAPEHART:

      24       Q.      Okay.



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       1                What kind of people are these?

       2                        ATTORNEY HARTNETT:         Objection to form.

       3                        THE WITNESS:       Usually adults.

       4   BY ATTORNEY CAPEHART:

       5       Q.      Okay.

       6                Are these people you know or strangers?

       7       A.      Strangers.

       8       Q.      Well, what have they done?

       9       A.      Just not --- just be mean in general.

      10       Q.      Well, how are they being mean?

      11       A.      They don't support it.           Sometimes people call me

      12   names, just be mean.

      13       Q.      Okay.

      14                Does this happen often?

      15       A.      Not as much now, but it used to happen a lot.

      16       Q.      When you say used to happen a lot, do you mean

      17   back at the time that you transitioned or before that or

      18   after that?

      19       A.      Well ---.

      20                        ATTORNEY HARTNETT:         Objection to form.

      21                        THE WITNESS:       Well, at the time and a

      22   little bit after because I was so --- I was new to it

      23   and I didn't know how to handle people like being

      24   meaning about it.



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       1   BY ATTORNEY CAPEHART:

       2       Q.      Okay.

       3                Would people be mean to you when your parents

       4   were around?

       5       A.      They wouldn't do it like directly to my face

       6   usually.      They would say it to my mom or my dad and then

       7   my parents would tell me.            So it wasn't usually directly

       8   to me.

       9       Q.      So when they would say these things, you weren't

      10   in the presence of these people when they were saying

      11   them?

      12       A.      Most of the time, yes.

      13       Q.      Oh, okay.

      14                But then your mom and your dad would have

      15   people say things to them and then your mom and dad

      16   would tell you about what other people had said?

      17                        ATTORNEY HARTNETT:         Objection to form.

      18   BY ATTORNEY CAPEHART:

      19       Q.      Is that correct?

      20       A.      Yes, but sometimes they wouldn't tell me just

      21   I'm assuming to try not to make me sad.

      22       Q.      Have any other kids ever said the kind of things

      23   to you that your parents said adults had told them?

      24                        ATTORNEY HARTNETT:         Objection to form.



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                                                                                      111


       1                        THE WITNESS:       No.

       2   BY ATTORNEY CAPEHART:

       3       Q.      No?     Do you and your family attend a church?

       4       A.      Not anymore.

       5       Q.      Okay.

       6                Did you before?

       7       A.      For a short period of time, yes.

       8       Q.      Okay.

       9                Did you ever have any issues or problems there?

      10       A.      No.

      11       Q.      So there weren't any adults at that church that

      12   were mean to you or that said mean things to your

      13   parents that you know of?

      14       A.      At that time I was not transitioned yet, so

      15   there was no comments like that.

      16       Q.      Okay.

      17                Do you remember when you had said your mom had

      18   explained to you because the bill was now signed you

      19   wouldn't be able to run, did she explain what part of

      20   the new law would stop you from running?

      21                        ATTORNEY HARTNETT:         Objection to form.

      22                        THE WITNESS:       No, she just told me that

      23   because of this I couldn't run.

      24   BY ATTORNEY CAPEHART:



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       1       Q.      Okay.

       2                And because you haven't read the bill yourself,

       3   you don't have any knowledge of what part of the bill

       4   prevents you from running.

       5                Is that correct?

       6       A.      Yes.

       7                        ATTORNEY HARTNETT:         Objection to form.

       8   BY ATTORNEY CAPEHART:

       9       Q.      Thank you.         All right.     Let's see Exhibit 28.

      10   I just was going to interject that you are free to read

      11   the entirety if you would like to, the 20 pages.                    It's a

      12   lot, but I have no problem telling you the only thing

      13   I'm going to ask you about is the portion on the last

      14   page, the part under the subtitle B                  's trials.

      15                        MS. JACKSON:       Thank you.

      16                        ATTORNEY CAPEHART:         You're welcome.

      17                        THE WITNESS:       I'm ready.

      18   BY ATTORNEY CAPEHART:

      19       Q.      Okay.     Great.

      20                Do you remember talking to this author from

      21   ESPN?

      22       A.      I can't remember.

      23       Q.      It sounds like your tryouts were pretty

      24   challenging.



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       1                Is that true?

       2       A.      Yes.

       3       Q.      Okay.

       4                Do you recall expressing anything to this

       5   reporter that's quoted here or otherwise described?

       6                        ATTORNEY HARTNETT:         Objection to the

       7   form.

       8                        THE WITNESS:       Could you repeat the

       9   question?

      10   BY ATTORNEY CAPEHART:

      11       Q.      Sure.     Do you recall saying this part that's

      12   quoted here about your friends or discussing any of the

      13   rest of it with the reporter?

      14       A.      I don't remember, but I think I remember saying

      15   maybe some of this, but I can't remember.                  I can't

      16   remember.

      17       Q.      Okay.     Okay.

      18                And it seems like you were understandably

      19   excited to have made the team.

      20                Is that right?

      21       A.      Yes.

      22       Q.      Okay.

      23                How many girls were on the team this past fall?

      24                        ATTORNEY HARTNETT:         Objection.       I'm



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       1   sorry.

       2                        THE WITNESS:       I don't know.

       3   BY ATTORNEY CAPEHART:

       4       Q.      Okay.

       5                And you were the only transgender girl on the

       6   team.

       7                Is that correct?

       8                        ATTORNEY HARTNETT:         Objection to form.

       9                        THE WITNESS:       As I knew of, there may

      10   have been people that haven't come yet, but of what I

      11   knew I was the only one.

      12   BY ATTORNEY CAPEHART:

      13       Q.      So far as you know, you're the only transgender

      14   girl on the team.

      15                Is that correct?

      16       A.      Yes.

      17       Q.      Okay.     Okay.

      18                Exhibit 29, which is much shorter.              Okay.     Take

      19   a look at that, however much you would like to, and then

      20   let me know whenever you'd like to proceed.

      21       A.      I'm done reading.

      22       Q.      Okay.

      23                Let's see.       Just below kind of the mid point of

      24   the page, about the third block of real text it starts



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       1   off with a quote there and it says, quote, I just want

       2   to run and the State wants to stop me from running as

       3   part of a team at my school, end quote, said B                      , an

       4   11-year0old Middle School student.               Quote, I love

       5   running and being part of the team and the State of West

       6   Virginia should explain in court why they won't let me,

       7   end quote.       Do you remember saying or writing that?

       8       A.      I remember saying that.

       9       Q.      Okay.

      10                Who did you say that to?

      11       A.      I can't remember.

      12       Q.      Okay.

      13                But those are all your words.

      14                Correct?

      15       A.      Uh-huh (yes).

      16       Q.      Okay.

      17       A.      Yes.

      18       Q.      In what ways --- strike that.

      19                When you say that the State of West Virginia

      20   should explain in court why they won't let you be part

      21   of the team, are you referring to HB-3293?

      22       A.      Yes.

      23       Q.      But as you said earlier, you're not sure what

      24   part of that prevents you from running, you just know



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       1   that it does because you have been told that.

       2                Correct?

       3                        ATTORNEY HARTNETT:         Objection to form.

       4                        THE WITNESS:       Yes.

       5   BY ATTORNEY CAPEHART:

       6       Q.      Okay.

       7                Sorry for that.        B     , are you aware of or

       8   have you read anything that the State has filed with the

       9   Court in this case?

      10       A.      I think I've skimmed through a couple of things,

      11   but not really read them.

      12       Q.      Okay.

      13                Those couple of things that you think you have

      14   skimmed through, do you recall what those were?

      15       A.      One of them was the one thing we just read ---

      16   the thing that we went through just a little bit, I

      17   skimmed through that.           And there was another one, but I

      18   don't remember which one it was.

      19       Q.      Okay.

      20                The thing that we went just went through, I

      21   apologize, we have gone through a few things.

      22       A.      Just now, the one just now I skimmed through,

      23   couple of paragraphs.           I'm pretty sure at least.

      24       Q.      Do you mean Exhibit 29?



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       1                        MS. JACKSON:       This?

       2                        THE WITNESS:       Yes.

       3   BY ATTORNEY CAPEHART:

       4       Q.      Exhibit 29 is not anything that the State has

       5   written.      I'm just explaining what this is.              And my

       6   understanding is that this is a news release from Lambda

       7   Legal.     So you think there may have been something else,

       8   though, that you looked at, you're just not really sure?

       9       A.      Yeah.

      10       Q.      Okay.     Okay.

      11                Give me just a second to check a couple of

      12   things.      Okay.    There's a couple of things to just run

      13   through real quick and then I think I might be done.

      14   One, just following back up on the thought of why the

      15   State won't let you run, why do you think, to use your

      16   words from this press release, that the State won't let

      17   you run?

      18       A.      Could you repeat the question?

      19       Q.      Sure.     In the release here there is, as you

      20   said, your language saying that you want the State to

      21   explain in court why they won't let you, referring back

      22   to being part of a team and running.                Why do you --- why

      23   do you think that is?

      24                        ATTORNEY HARTNETT:         Objection.       Form.



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       1                        THE WITNESS:       Because I don't think there

       2   is a good enough reason for me to not be able to run.

       3   BY ATTORNEY CAPEHART:

       4       Q.      Okay.

       5                When you say there's not a good enough reason,

       6   has someone spoken to you or explained some reason why

       7   they think that the State wouldn't let you run?

       8                        ATTORNEY HARTNETT:         Objection to form.

       9                        THE WITNESS:       Could you repeat the

      10   question?

      11                        ATTORNEY CAPEHART:         Court Reporter, can

      12   read that question back for us?

      13                        COURT REPORTER:        When you say there is

      14   not a good enough reason, has someone --- has someone

      15   --- I'm sorry.        When you say there's not a good enough

      16   reason, has someone spoken to you or explained some

      17   reason why they think that the State wouldn't let you

      18   run?

      19                        ATTORNEY HARTNETT:         Objection.

      20                        THE WITNESS:       No one has explained the

      21   reason, but that's why I think there's not a good enough

      22   reason for me to not run.

      23   BY ATTORNEY CAPEHART:

      24       Q.      So you have not had any conversations with



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       1   anyone who could explain what reasons the State may have

       2   presented as to why they passed this bill?

       3                        ATTORNEY HARTNETT:         I would just object

       4   to the extent this would entail any conversations with

       5   your lawyers, B           , and you should not testify about

       6   those conversations.          If there are conversations other

       7   than ones with your lawyer, you can testify about that.

       8                        THE WITNESS:       What was --- can you repeat

       9   the question?

      10   BY ATTORNEY CAPEHART:

      11       Q.      Sure.     And to pick up on Kathleen's comment, I'm

      12   not trying to get you to divulge any confidential

      13   communications that you had with your lawyers, but I'm

      14   just trying to understand your comment where you said

      15   that there is not a good enough reason and that no one

      16   has explained a reason why the State passed this bill.

      17   So I'm asking you what kind of conversations have you

      18   had, if any, with anyone other than your lawyers about

      19   the reason why this bill may have been passed?

      20       A.      I haven't had any conversations with any of my

      21   lawyers.

      22       Q.      Okay.

      23                Have you talked with your mom about why this

      24   law may have been passed?



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       1       A.      I don't think I have, no.

       2       Q.      And you already said you have not looked at any

       3   of the State's filings or documents that it has put in

       4   before the Court in this case?

       5                        ATTORNEY HARTNETT:         Objection, MT.

       6                        THE WITNESS:       I don't think so.

       7   BY ATTORNEY CAPEHART:

       8       Q.      Okay.

       9                You don't recall whether you have seen those,

      10   but you don't believe so, is that what you said

      11   previously?

      12                        ATTORNEY HARTNETT:         Objection, MT.

      13                        THE WITNESS:       Yes.

      14   BY ATTORNEY CAPEHART:

      15       Q.      Okay.

      16                Real briefly, look back at Exhibit 31, which is

      17   the Declaration that you looked at when we started.

      18   Just let me know when you have it.

      19       A.      We have the Declaration.

      20       Q.      Okay.

      21                Look at page three, if you would.              Got it?

      22       A.      Uh-huh (yes), yes.

      23       Q.      Okay.

      24                There at paragraph number 13 it says, I do not



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       1   want to run with the boys and I should not have to run

       2   with the boys.        What's wrong with running with the boys?

       3       A.      I'm not a boy.        I'm a girl.       I should be able to

       4   run with the girls.

       5       Q.      Okay.

       6                Are there any competitive concerns if you did

       7   run with the boys?

       8                         ATTORNEY HARTNETT:        Objection.       Form.

       9                         THE WITNESS:      No.    I just think I'm a

      10   girl and I shouldn't have to run with the boys.                    I

      11   should be able to run with the girls because I am a

      12   girl.

      13   BY ATTORNEY CAPEHART:

      14       Q.      Okay.

      15                One other --- one other quick question for you.

      16   Do you know that under the law you could run with the

      17   boys if you wanted to.

      18                Right?

      19                         ATTORNEY HARTNETT:        Objection to form.

      20                         THE WITNESS:      That I could if I wanted

      21   to, but that's not --- I'm not running with the boys

      22   because I am a girl.

      23   BY ATTORNEY CAPEHART:

      24       Q.      Okay.



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       1                I just wanted to make sure that someone had

       2   apprised you that the law does not prevent that, that

       3   new law.      Fair enough.       And I believe that's everything

       4   I have for you right now.            Thank you very much for your

       5   patience.

       6                        ATTORNEY CAPEHART:         And whoever the next

       7   person in line wants to take over the questioning, go

       8   right ahead.

       9                        ATTORNEY HARNETT:         And I know we haven't

      10   gone for an hour yet, but I just wanted to check to see,

      11   B      , do you need a bathroom break before we do more

      12   questions?

      13                        THE WITNESS:       I'm good.

      14                        ATTORNEY ROGERS:         I think I'm next if I'm

      15   understanding the order that was established earlier

      16   this week.

      17                        Is that right?

      18                        ATTORNEY HARTNETT:         I believe Roberta

      19   went next.

      20                        ATTORNEY ROGERS:         All right.

      21                                        ---

      22                                   EXAMINATION

      23                                        ---

      24   BY ATTORNEY ROGERS:



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       1       Q.      Hi, B        .   My name is Shannon Rogers.           I am one

       2   of the attorneys that represents the West Virginia

       3   Secondary School Activities Commission, which is

       4   sometimes referred to as the WVSSAC.                And so when I'm

       5   saying WVSSAC that's what I'm referring to.

       6                Does that make sense?

       7       A.      Yes.

       8       Q.      Okay.

       9                Had you ever had heard of the WVSSAC before?

      10       A.      I don't think so.

      11       Q.      Okay.

      12                Do you know if you have ever spoken to anybody

      13   who is with the WVSSAC?

      14       A.      I don't know.

      15       Q.      You don't know?        Okay.

      16                Do you know if anybody --- well, strike that.

      17                So you don't think you've ever communicated or

      18   you just don't remember?

      19       A.      I don't think I've ever communicated.

      20                         ATTORNEY ROGERS:        Okay.

      21                         I don't have any other questions.              Thank

      22   you, B        .

      23                                        ---

      24                                   EXAMINATION



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       1                                        ---

       2   BY ATTORNEY DENIKER:

       3       Q.      Hi, B        .   My name is Susan Deniker.           I'm an

       4   attorney who works at a law firm called Steptoe and

       5   Johnson, and I represent the Harrison Board of Education

       6   and the Superintendant Dora Stutler.                Thank you for your

       7   time today.        I know it has been a long day and I know

       8   it's hard to sit in front of a computer screen, so thank

       9   you.     You've done a really great job.

      10                I'm going to ask you a few questions about your

      11   experience in school and in cross-country.                  If I ask you

      12   anything that doesn't make sense or that you don't

      13   understand, please let me know.              You've done a really

      14   great job with that today, but will you let me know if I

      15   ask you something that you don't understand?

      16       A.      Yes.

      17       Q.      Very good.

      18                And then also, if you need to take a break at

      19   any time, just let me know and we'll be glad to take a

      20   break.

      21                Okay?

      22       A.      Okay.

      23       Q.      So yesterday I got to ask some questions of your

      24   mom and she told me that you went to elementary school



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       1   at Norwood Elementary.

       2                Is that correct?

       3       A.      Yes.

       4       Q.      And did you go to Norwood Elementary School from

       5   kindergarten through the fifth grade?

       6       A.      Yes.

       7       Q.      How did you like Norwood?

       8       A.      It was a nice school.          I really enjoyed it.

       9       Q.      Did you have a good experience there?

      10       A.      Yeah.

      11       Q.      Was Mrs. Stutler your principal for a period of

      12   the time that you were at Norwood Elementary School?

      13       A.      Yes.

      14       Q.      Did you know her then?

      15       A.      Like know her --- could you repeat the question?

      16       Q.      Sure.     No.    It probably wasn't a very good

      17   question.      Did you sometimes have interactions with Mrs.

      18   Stutler when she was your principal?

      19       A.      Yes.

      20       Q.      And how was that?         Was she nice with you when

      21   you dealt with her?

      22       A.      Yes.

      23       Q.      Did you think she was a good principal?

      24       A.      Yes.



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       1       Q.      Who was the principal after Mrs. Stutler?

       2       A.      Mrs. Shields.

       3       Q.      And did you like Mrs. Shields?

       4       A.      Yeah.

       5       Q.      Was she nice to you when you were at school?

       6       A.      Yes.

       7       Q.      Now, I know you said earlier that you came out

       8   in the fourth grade.

       9                Is that right?

      10       A.      I came out in the summer of third grade, but in

      11   school it was in the fourth grade.

      12       Q.      Okay.

      13                And something else I should have said to you at

      14   the beginning is that I want to use terms that you're

      15   comfortable with.         And so if I don't use the right

      16   terms, you correct me.

      17                Okay?

      18       A.      Okay.

      19       Q.      So when you started school in the fourth grade

      20   it is my understanding then you came to school

      21   presenting as a girl, as a female.

      22                Is that correct?

      23       A.      Yes.

      24       Q.      And did you have any discussions with your



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       1   teachers or the principal or anyone else at Norwood

       2   about making that change?

       3       A.      Yes.

       4       Q.      Tell me about those communications that you

       5   would have had.

       6       A.      I think it was the day before school started we

       7   went to the school to establish where --- everything

       8   about what the teacher should be calling me, where my

       9   bathroom would be and everything like that.

      10       Q.      Were you part of that meeting, B                 ?

      11       A.      Yes.

      12       Q.      Do you recall who else was in that meeting?

      13       A.      There was Mrs. Louder, it was the principal.                   I

      14   don't know if it at the time it was Mrs. Stutler or Mrs.

      15   Shields and someone else.            I can't remember their name.

      16       Q.      Was the school counselor maybe part of that

      17   meeting?

      18       A.      I think so.

      19       Q.      Was Mrs. Louder your teacher that year?

      20       A.      Yes.

      21       Q.      And was your mom also in that meeting?

      22       A.      Yes.

      23       Q.      Anyone else that you remember?

      24       A.      Not really, no.



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       1       Q.      Were you happy with what came out of that

       2   meeting?

       3       A.      Yes.

       4       Q.      You were comfortable with the agreements that

       5   was reached with regard to the name that would be used

       6   and the bathroom facilities and any other accommodations

       7   that would be made for you?

       8                        ATTORNEY HARTNETT:         Objection.

       9                        THE WITNESS:       Yes.

      10   BY ATTORNEY DENIKER:

      11       Q.      And then how did fourth grade go?               Was it a good

      12   --- was it a good year for you?

      13       A.      Yeah.

      14       Q.      Did you feel that the teachers and the principal

      15   and the other employees of the school were supportive of

      16   you?

      17       A.      Yes, very.

      18       Q.      Good.     And did you feel that they treated you

      19   kindly and fairly?

      20       A.      Yes.

      21       Q.      And it sounds like from your earlier testimony

      22   that you also had a good experience with the students in

      23   the school.

      24                Is that correct?



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       1       A.      Yes.

       2       Q.      Tell me about your fifth grade year at Norwood

       3   Elementary School.         Did you have a good experience that

       4   year?

       5       A.      Yes.    There was brand new teachers and my

       6   teacher was Ms. Watson.           She was a very nice teacher.

       7       Q.      And do you feel that everyone at the school was

       8   supportive of you?

       9       A.      Yes.

      10       Q.      Did you feel that everybody treated you in a

      11   fair and kind manner?

      12       A.      Yes.

      13       Q.      And so you had a good school year in fifth grade

      14   as well?

      15       A.      Yes.

      16       Q.      Do you recall having any other meetings in

      17   fourth or fifth grade to discuss your transitioning to

      18   being --- to presenting as a girl at school?

      19       A.      Not that I can remember.            Beginning of fourth

      20   grade was the only one I think.

      21       Q.      And then it's my understanding that this year

      22   you started at Bridgeport Middle School.

      23                Is that right?

      24       A.      Yes.



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       1       Q.      And are you in the sixth grade this year, B                     ?

       2       A.      Yes.

       3       Q.      Do you remember when you were in Norwood

       4   Elementary School having a meeting and filling out a

       5   document that was called a Gender Support Plan?

       6       A.      Yes, I remember that.

       7       Q.      And did you participate in the meeting where

       8   that plan was discussed?

       9       A.      Yes.

      10       Q.      And did you think that that was a good meeting?

      11       A.      Yes.

      12       Q.      Were you happy with the outcome of what was

      13   agreed upon at that meeting?

      14       A.      Yes.

      15       Q.      And then you had another one of those meetings

      16   with school officials before you started at the Middle

      17   School.

      18                Is that right?

      19       A.      Yes.

      20       Q.      And I think that that meeting happened in May of

      21   2021, which would have been the end of your fifth grade

      22   year.

      23                Is that --- does that sound right?

      24       A.      Yes.



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       1       Q.      And were you a part of that meeting?

       2       A.      Yes.

       3       Q.      Do you remember who else was a part of that

       4   meeting?

       5       A.      We had my new principal, Mr. Mazza, the

       6   counselor there, Mrs. Shields and my mom.

       7       Q.      And were you comfortable with what was discussed

       8   and agreed upon at that meeting?

       9       A.      Yes.

      10       Q.      And how has sixth grade been so far?

      11       A.      It's been good.

      12       Q.      Do you like Mr. Mazza?

      13       A.      Yes.

      14       Q.      He is your principal this year.

      15                Is that right?

      16       A.      Yes.

      17       Q.      Do you feel like Mr. Mazza is supportive of you?

      18       A.      Yes, very.

      19       Q.      Good.     And do you think that he treats you in a

      20   kind and fair manner?

      21       A.      Yes.

      22       Q.      How are your classes this year?              Do you like

      23   them?

      24       A.      Yeah, I like my classes.            I have really nice



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       1   teachers.

       2       Q.      I think I saw that you are a straight A student.

       3   Maybe I saw that in something that your mom wrote.

       4                Is that right?

       5       A.      Yes.

       6       Q.      Congratulations.         Good for you.       Do you feel

       7   that your teachers are fair and supportive of you?

       8       A.      Yes.

       9       Q.      And are you comfortable with the arrangements

      10   that the school has made for you this year in terms of

      11   addressing how you want to present at school as being a

      12   girl?

      13       A.      Yes.

      14       Q.      I know that we have discussed today sports and

      15   your participation in sports, and I heard you say that

      16   you love running.

      17                Is that right?

      18       A.      Yes.

      19       Q.      And I understand that you tried out for the

      20   girls cross-country team.

      21                Is that correct?

      22       A.      Yes.

      23       Q.      So I want to talk to you a little bit about that

      24   process.      The cross-country team, did they do some



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       1   training and conditioning over the summer before the

       2   year started?

       3       A.      Yes.     There was a week of conditioning before

       4   the season started.

       5       Q.      And did that happen over the summer?

       6       A.      Yes.

       7       Q.      Did you participate in that conditioning?

       8       A.      Yes.

       9       Q.      And how was that experience?             Was that a

      10   positive experience for you?

      11       A.      Yes.

      12       Q.      And then tryouts I think were in August for

      13   cross-country.

      14                Is that right?

      15       A.      Yes.

      16       Q.      And were you permitted to try out for the girls

      17   cross-country team?

      18       A.      Could you ---?

      19       Q.      Let me rephrase that.          Were you allowed to try

      20   out for the girls cross-country team?

      21                        ATTORNEY HARTNETT:         Objection to form.

      22                        THE WITNESS:       Yes.

      23   BY ATTORNEY DENIKER:

      24       Q.      And was that the team you wanted to try out for?



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       1       A.      Yes.

       2       Q.      And did you make the team?

       3       A.      Yes.

       4       Q.      And I think you said this year they didn't have

       5   any cuts.

       6                Is that right?

       7       A.      Yes.

       8       Q.      Who were your coaches for cross-country this

       9   year?

      10       A.      I had Ms. Schoonmaker, Ms. --- Coach Flesher and

      11   Coach McBrayer.

      12       Q.      And did they coach both the girls and the boys

      13   cross-country teams?

      14       A.      Yes.

      15       Q.      How was your season?

      16       A.      It was good.

      17       Q.      Did you like cross-country?

      18       A.      Yes.

      19       Q.      Did you believe that your coaches treated your

      20   fairly and kindly this season?

      21       A.      Yes.

      22       Q.      Did you feel that they were supportive of you?

      23       A.      Yes.

      24       Q.      So you think it's fun to run up hills and



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       1   through water and mud, B              ?

       2       A.      Yes.

       3       Q.      Because that's what cross-country is about,

       4   isn't it?

       5       A.      Yes.

       6       Q.      It's a hard sport I think.            Do you think it's

       7   hard?

       8       A.      It depends if you've done it before and how much

       9   you run normally.

      10       Q.      Do you think you would like to do it again?

      11       A.      Yes.

      12       Q.      And I heard you talk a little bit about track.

      13   Are there other --- is track something that you're

      14   interested in doing?

      15       A.      Yes.

      16       Q.      And I heard you said you might want to be --- do

      17   the distance running in track.

      18                Is that right?

      19       A.      Yes.

      20       Q.      You're a tough girl.           Cross-country and distance

      21   running and track, those are the hard once, aren't they?

      22                        ATTORNEY HARTNETT:         Objection to form.

      23                        THE WITNESS:         It just depends if you've

      24   ran before or whatever you've done.



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       1   BY ATTORNEY DENIKER:

       2       Q.      I think that you're right.            I think it depends

       3   how good of shape you're in.             Are you planning to

       4   condition in the off season?

       5       A.      If it's not freezing, then yes.

       6       Q.      I understand.        We were talking about what a cold

       7   day it is here in West Virginia, isn't it?

       8       A.      Yes.

       9       Q.      B      , has anybody in the school system ever

      10   told you that Harrison County Schools wouldn't let you

      11   participate on a girls sports team for any reason?

      12                        ATTORNEY HARTNETT:         Objection to form.

      13                        THE WITNESS:       After a bill was passed,

      14   not --- I don't think there was because when the bill

      15   was passed, I already went trying out and then we ---

      16   then the whatever it was called where I could do ---

      17   where I could play in the sports team from the Judge

      18   came out.

      19   BY ATTORNEY DENIKER:

      20       Q.      And I just want to make clear, did any of your

      21   coaches ever tell you that you couldn't run on the girls

      22   team?

      23       A.      No.

      24       Q.      Did Mr. Mazza ever tell you that you couldn't



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       1   run on the girls team?

       2       A.       No.

       3       Q.       Did any of your teachers tell you that you

       4   couldn't run on the girls team?

       5       A.       No.

       6       Q.       And did Mrs. Stutler ever tell you that you

       7   couldn't run on the girls team?

       8       A.       There was not a cross-country back then, so I

       9   couldn't run whenever she was my principal, so ---.

      10       Q.       And that was when you were in elementary school.

      11                 Is that right?

      12       A.       Yes.

      13       Q.       And that's a good point that you brought up,

      14   B        .   There aren't any school sports in elementary

      15   school in Harrison County, are there?

      16                        ATTORNEY HARTNETT:         Objection to form.

      17                        THE WITNESS:       No, you're very limited to

      18   them and most of them aren't even in the school.                    You

      19   have to do them outside of school.

      20   BY ATTORNEY DENIKER:

      21       Q.       Did you have any school-sponsored sports at

      22   Norwood Elementary School?

      23       A.       I don't know.       I don't --- yeah, I don't know.

      24       Q.       Okay.



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       1                Did you try out or participate in any sports

       2   that were run by the school while you were at Norwood?

       3       A.      I --- no.

       4       Q.      And so let me go back and ask you about Mrs.

       5   Stutler.         So it's kind of funny.       You had Mrs. Stutler

       6   as your principal at Norwood for a little bit.

       7                Is that right?

       8       A.      Yes.

       9       Q.      And do you know where she went after she left

      10   Norwood?

      11       A.      The Board of Education.

      12       Q.      She did.      She went to the Central Board Office.

      13   And did you know that she's now the Superintendant of

      14   Schools?

      15       A.      I did not know that.          I just knew she went to

      16   the Board of Education.

      17       Q.      Well, she's actually your school superintendant

      18   now.     And have you had any communications with her since

      19   she became superintendant?

      20       A.      No.

      21       Q.      Well, now you know who your superintendant is.

      22   So if you see her at school you can call her

      23   Superintendant Stutler now.

      24                B       , let me check my notes and see if I have



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       1   any other questions.          I think I'm just about done.

       2                B      , did you have any conversations with

       3   anybody that works for the Harrison County Board of

       4   Education, teachers, principals, anybody like that,

       5   coaches, regarding this House Bill 3293?

       6                        ATTORNEY HARTNETT:         Objection to form.

       7                        THE WITNESS:       Could you repeat the

       8   question?

       9   BY ATTORNEY DENIKER:

      10       Q.      Sure.     Did you talk with anybody who works for

      11   the Harrison County Board of Education or is somehow

      12   connected with the Board of Education about House Bill

      13   3293?

      14       A.      I think I did.        I think I may have.         I'm not

      15   sure.     I can't remember her name.            It started with an S,

      16   I know that.

      17       Q.      Do you know what that --- what the woman you're

      18   referring to, do you know what her job was?

      19       A.      I do not know.

      20       Q.      Was it a teacher or a principal?

      21       A.      I don't know that.         I just --- she was at one of

      22   our meetings, and I think we may have talked a little

      23   bit about that.

      24       Q.      And was that one of your Gender Support Plan



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       1   meetings?

       2         A.      Yes.

       3         Q.      Okay.

       4                  And was that the one before you were going into

       5   Middle School?

       6         A.      I think.    I can't remember.         I just --- I can't

       7   remember, but I think she either talked about that or

       8   the Gender Support Plan.

       9         Q.      Okay.

      10                  Do you remember what she said about House Bill

      11   3293?

      12         A.      I do not.    Because she may have not talked about

      13   it.        She --- because she was there at one of our

      14   meetings, so she could have not, but I think she did.

      15         Q.      But you don't remember what was said?

      16         A.      I don't.

      17         Q.      Okay.

      18                  Do you remember any conversations with anybody

      19   at school or anybody affiliated with the school about

      20   House Bill 3293?

      21                         ATTORNEY HARTNETT:        Objection, form.

      22                         THE WITNESS:      Not that I can think of off

      23   the top of my head.

      24   BY ATTORNEY DENIKER:



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       1       Q.      And B        , I should have clarified.           Do you know

       2   what I'm talking about when I say House Bill 3293?

       3       A.      Yeah, HB-3293.        Yes.

       4       Q.      Okay.

       5                I just wanted to make sure that you knew what I

       6   was talking about.         I thought that you did.

       7                B      , if you had any concerns about how you

       8   were being treated at school, would you feel comfortable

       9   going to talk to Mr. Mazza about that?

      10       A.      Yes.    If I was being treated bad, then I would

      11   talk to Mr. Mazza.

      12       Q.      Would you also feel comfortable going to some of

      13   your teachers about that?

      14       A.      Yes.

      15       Q.      But do you feel that overall all of the teachers

      16   and administrators, including your principals at

      17   Bridgeport Middle School, have been supportive of your

      18   status as a transgender student?

      19       A.      Could you repeat the question?

      20       Q.      Sure.     And I apologize, it was a long one.               Do

      21   you believe that the teachers and administrators, and

      22   that would include the principals and the other

      23   employees at Bridgeport Middle School, have been

      24   supportive of your transgender status?



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       1       A.      Yes, I think they have been supportive.

       2       Q.      When you were on the cross-country team did you

       3   believe your teammates were supportive of you?

       4       A.      Yes.

       5       Q.      And how about in school, have you had any issues

       6   with other students or problems with students related to

       7   your transgender status?

       8                        ATTORNEY HARTNETT:            Objection to form.

       9                        THE WITNESS:       No.    No.

      10                        ATTORNEY DENIKER:         B       , those are all

      11   the questions I have for you now.               Thanks so much for

      12   your time today.

      13                        ATTORNEY HARTNETT:            We can take a break.

      14   I think this might be a good time to take a break and

      15   then we can come back for questions.

      16                        VIDEOGRAPHER:         Okay.     Going off the

      17   record.      The current time reads 2:28 p.m.

      18   OFF VIDEOTAPE

      19                                        ---

      20   (WHEREUPON, A SHORT BREAK WAS TAKEN.)

      21                                        ---

      22   ON VIDEOTAPE

      23                        VIDEOGRAPHER:         We are back on the record.

      24   The current time reads 2:42 p.m.



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       1                                         --

       2                                   EXAMINATION

       3                                        ---

       4   BY ATTORNEY HAMMOND:

       5       Q.      Hi, B        .   My name is Kristen Hammond.            And I'm

       6   an attorney with the law firm of Bailey and Wyant.                     And

       7   I represent the West Virginia State Board of Education

       8   and the State Superintendant Clayton Burch.                  And I just

       9   have I think a few questions for you today.                  Do you know

      10   what the State Board of Education is?

      11       A.      I don't know.

      12       Q.      Okay.

      13                And do you know or have you ever heard of the

      14   West Virginia State Superintendant Clayton Burch?

      15       A.      No.

      16       Q.      Okay.

      17                So I guess since you do not know them, do you

      18   have any memory or any recall of maybe talking to

      19   anybody at the State level or at the Board of Education

      20   level regarding this lawsuit or regarding the House Bill

      21   or your sports?        How about we limit it to that?

      22       A.      I don't remember if I have or not.

      23       Q.      Okay.

      24                So you just don't recall.           Could you possibly



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       1   have talked to somebody?

       2                        ATTORNEY HARTNETT:          Objection to form.

       3                        THE WITNESS:         Could you repeat the

       4   question?

       5   BY ATTORNEY HAMMOND:

       6         Q.    Yes.    I just want to see --- you say you don't

       7   recall talking to anybody.            Do you think that it's a

       8   possibility that you did talk to somebody or you don't

       9   believe that you've talked to anybody?

      10         A.    I don't believe I've talked to anybody.

      11                        ATTORNEY HAMMOND:          Okay.    Thank you for

      12   your time.       I just had a couple of questions, and that's

      13   all I have for you today.            Thank you.

      14                                        ---

      15                                   EXAMINATION

      16                                       ---

      17   BY ATTORNEY DUCAR:

      18         Q.    Good afternoon, B             .   I'm Timothy Ducar.        I

      19   represent the Intervenor in this case.                  I wanted to ask

      20   you a question about Exhibit 29.               Do you have that

      21   available?

      22                        MS. JACKSON:         Give me a second to find

      23   it.

      24                        ATTORNEY DUCAR:          Yes, that's it.      Can you



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       1   scroll down just four paragraphs?               Thank you.

       2   BY ATTORNEY DUCAR:

       3       Q.      B      , you had testified earlier that paragraph

       4   that starts with I just want to run, that you had ---

       5   that's a quote from you.

       6                Correct?

       7       A.      Yes.

       8       Q.      I just wanted to know, is that a quote that you

       9   wrote on paper and provided to somebody or wrote on a

      10   computer and provided to somebody or did you actually

      11   say that with your --- verbally?

      12       A.      I said that.

      13       Q.      Verbally?

      14       A.      Yeah, I said that verbally.

      15       Q.      Thank you.       When did you decide you liked

      16   running?

      17       A.      I've always liked running.            It's from when I

      18   could walk, I liked running.

      19                        ATTORNEY DUCAR:        We're done with this

      20   exhibit, Mr. Court Reporter.             Thank you.

      21   BY ATTORNEY DUCAR:

      22       Q.      When did you decide you wanted to try out for

      23   the girls cross-country team?

      24       A.      I've always wanted to do cross-country, so when



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       1   I had the chance I decided I wanted to.

       2         Q.    And did you know about it because your brothers

       3   ran?

       4         A.    Yes.

       5         Q.    Did your mom encourage you to try out for the

       6   girls team?

       7                        ATTORNEY HARTNETT:         Objection to form.

       8                        THE WITNESS:       Yes.    Yes, she encouraged

       9   me.

      10   BY ATTORNEY DUCAR:

      11         Q.    And these try-outs were last summer.

      12                Correct?

      13         A.    Yes.

      14         Q.    Going into sixth grade?

      15         A.    Yes.

      16         Q.    Did your dad encourage you to try out for the

      17   girls team?

      18         A.    Yes.

      19         Q.    Earlier you testified that you did well in

      20   cross-country.        Did you have any rankings?

      21                        ATTORNEY HARTNETT:         Object to the form.

      22                        THE WITNESS:       I --- could you rephrase

      23   the question?

      24   BY ATTORNEY DUCAR:



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       1       Q.      Do you have any idea how well you did on your

       2   team as an individual?

       3       A.      I don't know.

       4       Q.      Do they keep track of individual times and ---?

       5       A.      I think they put it on a website.

       6       Q.      Is that something you have ever seen?

       7       A.      My mom looks at it, but I don't.

       8       Q.      Do you have any indication whether or not you

       9   were one of the better runners or not one of the better

      10   runners on the team?

      11                        ATTORNEY HARTNETT:         Objection to form.

      12                        THE WITNESS:       I don't know.        I think I

      13   was good.

      14   BY ATTORNEY DUCAR:

      15       Q.      Do you want to run cross-country again next

      16   year?

      17       A.      Yes.

      18       Q.      Track tryouts are coming up in the spring.

      19                Correct?

      20       A.      Yes.

      21       Q.      And you intend to try out for track?

      22       A.      Yes.

      23       Q.      Do you want to compete in any other sports

      24   besides track and cross-country?



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       1       A.      Not really.

       2       Q.      Why not?

       3       A.      I don't find any other sport really interesting

       4   besides running.

       5       Q.      You said trusting?

       6       A.      Interesting.

       7       Q.      What does that mean?

       8       A.      What is interesting?

       9       Q.      Oh, interesting.         I misheard you.        Thank you.

      10   And I think I misheard you on something else, so I'm

      11   going to re-ask the question.             Do you like to compete?

      12                        ATTORNEY HARTNETT:         Objection to the

      13   form.

      14                        THE WITNESS:       I'm not a really

      15   competitive person.          I just play a sport because I think

      16   it's fun.

      17   BY ATTORNEY DUCAR:

      18       Q.      Do you consider yourself a good athlete?

      19       A.      Yes.

      20       Q.      What makes you a good athlete?

      21       A.      I'm good at running, good at the sports I do.

      22       Q.      Do you try hard to win?

      23       A.      Yes.     Well --- yes.

      24       Q.      Have you talked to anybody else about playing



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       1   other sports other than cross-country and track?

       2       A.      I've talked to my mom about playing other

       3   sports.

       4       Q.      What sports have you talked to her about?

       5       A.      Volleyball and maybe basketball.

       6       Q.      And describe for me what you guys talked about

       7   as far as volleyball and basketball?

       8       A.      We talked about trying new sports.

       9       Q.      When did you two talk about those subjects?

      10       A.      I can't remember.

      11       Q.      Was it in the last six months or ---?

      12       A.      I don't --- I can't remember.

      13       Q.      Did you bring up the idea of playing volleyball

      14   to her?

      15       A.      Yes.

      16       Q.      And what did she say?

      17       A.      That's a good idea.

      18       Q.      Did she say that about basketball as well?

      19       A.      I think she may have brought up basketball, but

      20   I can't remember.         It may have been me or her.

      21       Q.      Did you feel like she was encouraging you to

      22   play volleyball?

      23       A.      She liked the idea.          So I wouldn't say

      24   encouraged, but she thought it was a good idea.



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       1       Q.      Did she think playing basketball was a good

       2   idea?

       3                        ATTORNEY HARTNETT:         Objection to form.

       4                        THE WITNESS:       I think so, yes.

       5   BY ATTORNEY DUCAR:

       6       Q.      And as you sit here right now, you don't have

       7   any plans to go out for a volleyball or a basketball

       8   team.

       9                Correct?

      10       A.      No, not right now.         No.

      11       Q.      Do you foresee yourself running on the

      12   cross-country team or on the track team later in high

      13   school?

      14                        ATTORNEY HARTNETT:         Objection to form.

      15                        THE WITNESS:       Yes, yes.

      16   BY ATTORNEY DUCAR:

      17       Q.      Do you see yourself running on the cross-country

      18   team or track team if you ever go to college on a

      19   college team?

      20                        ATTORNEY HARTNETT:         Same objection.

      21   Objection to form.

      22                        THE WITNESS:       Maybe, but I haven't

      23   thought that far ahead.

      24   BY ATTORNEY DUCAR:



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       1       Q.      Sure.     When was the first time you remember

       2   thinking that you wanted to be a girl?

       3                        ATTORNEY HARTNETT:         Objection to form.

       4                        THE WITNESS:       I can't remember.

       5   BY ATTORNEY DUCAR:

       6       Q.      Do you remember the first time you talked to

       7   somebody about the fact that you wanted to become a

       8   girl?

       9                        ATTORNEY HARTNETT:         Objection.

      10                        THE WITNESS:       I also can't --- I don't

      11   remember.

      12   BY ATTORNEY DUCAR:

      13       Q.      There's a statement in the record that indicates

      14   you feel like a girl.           What does feeling like a girl

      15   mean?

      16                        ATTORNEY HARTNETT:         Objection to form.

      17                        THE WITNESS:       I just know that I want to

      18   be a girl and I feel like a girl inside.

      19   BY ATTORNEY DUCAR:

      20       Q.      You picked out the name B                for yourself.

      21                Correct?

      22       A.      Yes.

      23       Q.      When did you do that?

      24       A.      Whenever I transitioned.



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       1       Q.      Going into fourth grade?

       2       A.      Yes.

       3       Q.      How did you pick that name?

       4       A.      I've always liked it.

       5       Q.      Me, too.      I have a daughter named B              .

       6                Did anyone else help you pick that name?

       7       A.      I think my friends liked that name, too.

       8       Q.      When did you start wearing girl's clothing at

       9   home?

      10       A.      I mean, I've always wanted my mom's clothes, so

      11   I really started dressing like that maybe at home, third

      12   grade, the year of third grade.

      13       Q.      Did you ask your parents if you could do it or

      14   did you just do it?

      15       A.      I just did it.

      16       Q.      What was their reaction?

      17       A.      Positive.

      18       Q.      When did you first ask your parents to refer to

      19   you as she or her?

      20       A.      When I transitioned.

      21       Q.      Going into fourth grade?

      22       A.      Yes.

      23       Q.      When did you start presenting as a girl in other

      24   ways at home?        I guess that would be makeup, other ways



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       1   besides clothing.

       2                        ATTORNEY HARTNETT:         Objection to form.

       3                        THE WITNESS:       Could you restate the

       4   question, please?

       5   BY ATTORNEY DUCAR:

       6       Q.      Yeah.     I'll withdraw that question.

       7                When did you start presenting as a girl at

       8   home?

       9       A.      It started when I was really young.

      10                        ATTORNEY HARTNETT:         Objection.

      11                        THE WITNESS:       But I fully started wearing

      12   clothes on my own, not wearing my mother's, around the

      13   third-grade year.

      14   BY ATTORNEY DUCAR:

      15       Q.      Do you wear jewelry?

      16       A.      Not a lot.       I used to wear earrings but not

      17   anymore.

      18       Q.      Do you wear makeup?

      19       A.      No.

      20       Q.      Are there other ways you presented at home as a

      21   girl besides dressing as a girl?

      22       A.      Well, I always wanted girly --- a girly room and

      23   girly items.

      24       Q.      And you started wearing girls clothing in fourth



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       1   grade.

       2                Correct?

       3       A.      Yes.

       4       Q.      Do you recall the first time you saw a doctor or

       5   a therapist about your desire to be a girl?

       6       A.      I can't remember.

       7       Q.      How did you first learn about puberty blocking

       8   treatment?

       9       A.      Could you repeat the question, please?

      10       Q.      How did you first learn about puberty blocking

      11   treatment?

      12       A.      My mom.      My mom told me about it whenever I

      13   transitioned.

      14       Q.      And is that something that you wanted to do?

      15       A.      Yes.

      16       Q.      At some point you wanted to start hormone

      17   therapy?

      18       A.      Yes.

      19       Q.      Do you know what that means?

      20       A.      Getting female hormones.

      21       Q.      B      , do you ever feel anxious?

      22                        ATTORNEY HARTNETT:         Objection to form.

      23                        ATTORNEY DUCAR:        Let me restate that.

      24   That's fair.



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       1   BY ATTORNEY DUCAR:

       2       Q.      Does the fact that you are transitioning make

       3   you feel anxious?

       4       A.      No.

       5       Q.      Does the fact that you're part of this lawsuit

       6   make you feel anxious?

       7                        ATTORNEY HARTNETT:          Objection to form.

       8                        THE WITNESS:       No.

       9   BY ATTORNEY DUCAR:

      10       Q.      Do you know what the word anxious means?

      11       A.      Nervous.

      12       Q.      Do you know what gender dysphoria is?

      13       A.      Yes.

      14

      15

      16

      17

      18

      19                        ATTORNEY DUCAR:          Thank you, B        .   I

      20   have no further questions for you today.

      21                        ATTORNEY CAPEHART:          We have no further

      22   questions at this time.           We're just going to note as we

      23   have in the last two depositions the possibility of

      24   having to revisit something.             If for some reason some



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       1   medical records would could to light, although I

       2   understand that's unlikely, we're still noting that, but

       3   you would object to that?

       4                        ATTORNEY HARTNETT:         Yes, we object, but

       5   we appreciate you making the record you want to make.

       6                        ATTORNEY CAPEHART:         Thank you.

       7                        ATTORNEY HARTNETT:         I'm sorry.       Just on

       8   that point, though, I mean, is there any specific item

       9   that you lack today that you need to make a record?

      10                        ATTORNEY CAPEHART:         I think our concern

      11   has been the possibility of new records that might be

      12   produced following the depositions.

      13                        ATTORNEY HARTNETT:         Okay.     Thank you.

      14                        ATTORNEY CAPEHART:         Thank you.

      15                        ATTORNEY HARTNETT:         I mean, is anyone

      16   else going to have any further questioning?                  Sorry.

      17   Just for the witness's awareness, we're confirming

      18   whether or not there will be additional questioning from

      19   any Defendant.

      20                        ATTORNEY ROGERS:         I don't have any

      21   further questions.

      22                        ATTORNEY DENIKER:         I have no further

      23   questions.       Thank you again for your time today, B                  .

      24                        ATTORNEY HAMMOND:         I have no further



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       1   questions.       Thank you.

       2                        ATTORNEY DUCAR:        I have nothing further.

       3   Thank you.

       4                        ATTORNEY HARTNETT:           And we also have no

       5   questions for the witness today.

       6                        VIDEOGRAPHER:        Okay.     If there are no

       7   further questions, that concludes today's deposition.

       8   And the current time reads 3:01 p.m.

       9                        COURT REPORTER:        Is it reading and

      10   signing for your client?

      11                        ATTORNEY HARTNETT:           Yes.   I'm sorry.      I

      12   meant to say that on the record.

      13                                 * * * * * * *

      14                VIDEOTAPED VIDEOCONFERENCE DEPOSITION

      15                           CONCLUDED AT 3:01 P.M.

      16                                 * * * * * * *

      17

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       1     STATE OF WEST VIRGINIA         )

       2                              CERTIFICATE

       3                 I, Nicole Montagano, a Notary Public in

       4     and for the State of West Virginia, do hereby

       5     certify:

       6                 That the witness whose testimony appears

       7     in the foregoing deposition, was duly sworn by me

       8     on said date, and that the transcribed deposition

       9     of said witness is a true record of the testimony

      10     given by said witness;

      11                 That the proceeding is herein recorded

      12     fully and accurately;

      13                 That I am neither attorney nor counsel

      14     for, nor related to any of the parties to the

      15     action in which these depositions were taken, and

      16     further that I am not a relative of any attorney

      17     or counsel employed by the parties hereto, or

      18     financially interested in this action.

      19                 I certify that the attached transcript
      20     meets the requirements set forth within article
      21     twenty-seven, chapter forty-seven of the West
      22     Virginia.
      23

      24                                          Nicole Montagano,
      25                                             Court Reporter
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                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                 CHARLESTON DIVISION

   B.P.J. by her next friend and mother, HEATHER
   JACKSON,

                               Plaintiff,

                         v.                                  Civil Action No. 2:21-cv-00316

   WEST VIRGINIA STATE BOARD OF                              Hon. Joseph R. Goodwin
   EDUCATION, HARRISON COUNTY BOARD
                                                             PLAINTIFF’S RESPONSES AND
   OF EDUCATION, WEST VIRGINIA
                                                             OBJECTIONS TO DEFENDANT-
   SECONDARY SCHOOL ACTIVITIES
                                                             INTERVENOR LAINEY
   COMMISSION, W. CLAYTON BURCH in his
                                                             ARMISTEAD’S FIRST SET OF
   official capacity as State Superintendent, DORA
                                                             REQUESTS FOR ADMISSION
   STUTLER in her official capacity as Harrison
   County Superintendent, and THE STATE OF
   WEST VIRGINIA,

                               Defendants,

                         and

   LAINEY ARMISTEAD,

                               Defendant-Intervenor.


         Pursuant to Federal Rules of Civil Procedure 33 and 36 and the applicable Local Rules of

  the Southern District of West Virginia and this Court, Plaintiff B.P.J. by her next friend and

  mother, Heather Jackson, responds as follows to Defendant-Intervenor Lainey Armistead’s

  (“Defendant-Intervenor”) First Set of Requests for Admission (“Requests”):

                                     GENERAL RESPONSES

     1. B.P.J.’s response to the Requests is made to the best of B.P.J.’s present knowledge,

         information, and belief. This response is at all times subject to such additional or different

         information that discovery or further investigation may disclose and, while based on the

         present state of B.P.J.’s recollection, is subject to such refreshing of recollection, and such

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         additional knowledge of facts, as may result from B.P.J.’s further discovery or

         investigation.

     2. B.P.J. reserves the right to make any use of, or to introduce at any hearing and at trial,

         information and/or documents responsive to the Requests but discovered subsequent to the

         date of this response, including, but not limited to, any information or documents obtained

         in discovery herein.

     3. B.P.J. reserves all objections or other questions as to the competency, relevance,

         materiality, privilege, or admissibility as evidence in any subsequent proceeding in or trial

         of this or any other action for any purpose whatsoever of this response and any document

         or thing identified or provided in response to the Requests.

     4. B.P.J. reserves the right to object on any ground at any time to such other or supplemental

         Requests as Defendant-Intervenor may at any time propound involving or relating to the

         subject matter of these Requests.

     5. B.P.J. is willing to meet and confer with Defendant-Intervenor regarding any response or

         objection to the Requests.

                                      GENERAL OBJECTIONS

         B.P.J. makes the following general objections, whether or not separately set forth in

  response to each Request, to each and every Definition, Instruction, and Request made in

  Defendant-Intervenor’s First Set of Requests for Admission:

     1. B.P.J. objects generally to all Definitions, Instructions, and Requests inclusive, insofar as

         each such Request seeks information protected by the attorney-client privilege, the work

         product doctrine, or any other applicable privilege. Such information shall not be produced

         in response to the Requests, and any inadvertent production thereof shall not be deemed a



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        waiver of any privilege or right with respect to such information or of any work product

        doctrine that may attach thereto.

     2. B.P.J. objects to all Definitions, Instructions, and Requests inclusive, to the extent they

        purport to enlarge, expand, or alter in any way the plain meaning and scope of any specific

        request on the ground that such enlargement, expansion, or alteration renders said Request

        vague, ambiguous, unintelligible, unduly broad, and uncertain.

     3. B.P.J. objects to all Definitions, Instructions, and Requests inclusive, to the extent they

        seek information or materials not currently in B.P.J.’s possession, custody, or control, or

        refer to persons, entities, or events not known to B.P.J., on the grounds that such

        Instructions, Definitions, or Requests seek to require more of B.P.J. than any obligation

        imposed by law, would subject B.P.J. to unreasonable and undue burden and expense, and

        would seek to impose upon B.P.J. an obligation to investigate or discover information or

        materials from third parties or services who are equally accessible to Defendant-Intervenor.

     4. B.P.J.’s failure to object to the Requests on a particular ground shall not be construed as a

        waiver of her right to object on that ground or any additional ground at any time.

     5. B.P.J. objects to the number of Requests as burdensome, cumulative, and not proportional

        to the needs of the case.

     6. B.P.J. objects to Requests Nos. 13 through 61 because they do not seek “admissions for

        the record of facts already known,” Wigler v. Elec. Data Sys. Corp., 108 F.R.D. 204, 206

        (D. Md. 1985), but instead seek admissions to hypothetical questions regarding the

        treatment of various endocrine conditions not at issue in this case and/or that have not yet

        been the subject of expert testimony. B.P.J. has attempted to respond to the Requests to




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         the best of her ability, but reserves the right to supplement, amend, or withdraw responses

         in light of additional facts learned during expert discovery.

         SPECIFIC OBJECTIONS AND RESPONSES TO DOCUMENT REQUESTS

         Without waiving or limiting in any manner any of the foregoing General Objections, but

  rather incorporating them into each of the following responses to the extent applicable, B.P.J.

  responds to the specific requests of Defendant-Intervenor’s First Set of Requests for Admission as

  follows:

  Request for Admission No. 1:

     1. Admit that B.P.J. has chromosomes characteristic of the male sex (i.e. XY chromosomes).

  B.P.J.’s Response to Request for Admission No. 1:

         B.P.J. objects to the phrase “chromosomes characteristic of the male sex” as vague, and

  interprets the phrase to mean “has XY chromosomes.”

         Subject to these general and specific objections, and without waiver thereof, B.P.J. admits

  that B.P.J. has XY chromosomes.

  Request for Admission No. 2:

     2. Admit that, but for the            -pharmaceutical intervention B.P.J. has received, B.P.J.

         would have hormones—including testosterone levels—characteristic of the male sex.

  B.P.J.’s Response to Request for Admission No. 2:

         B.P.J. objects to the phrase “characteristic of” as vague and construes the phrase to mean

  “typical of.”

         Subject to these general and specific objections, and without waiver thereof, B.P.J. cannot

  admit or deny this request for admission because B.P.J. has not gone through puberty and cannot




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  determine what her hormones level would have been if she had not received puberty blocking

  medication.

  Request for Admission No. 3:

     3. Admit that B.P.J.’s internal and external reproductive organs are characteristic of the male

         sex.

  B.P.J.’s Response to Request for Admission No. 3:

         B.P.J. objects to the phrase “characteristic of” as vague and construes the phrase to mean

  “typical of.”

         Subject to these general and specific objections, and without waiver thereof, B.P.J. admits

  that B.P.J.’s internal and external reproductive organs are typical of the male sex.

  Request for Admission No. 4:

     4. Admit that B.P.J. is a biological male.

  B.P.J.’s Response to Request for Admission No. 4:

         B.P.J. objects to the phrase “is a biological male” as vague and scientifically inaccurate,

  and construes the phrase to mean “had a male sex assigned at birth.”

         Subject to these general and specific objections, and without waiver thereof, B.P.J. admits

  that B.P.J. had a male sex assigned at birth.

  Request for Admission No. 5:

     5. Admit there are “benefits associated with sex-separated school athletics.” (First Am.

         Compl. ¶ 39).

  B.P.J.’s Response to Request for Admission No. 5:

         B.P.J. admits there are benefits associated with school athletics, including when such

  athletics are provided in a sex-separated manner.



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  Request for Admission No. 6:

     6. Admit that one of the “benefits associated with sex-separated school athletics” (First Am.

         Compl. ¶ 39) is separation based on sex-related “physiological characteristics associated

         with athletic performance” (Id. ¶ 40).

  B.P.J.’s Response to Request for Admission No. 6:

         Deny.

  Request for Admission No. 7:

     7. Admit there are post-pubescent, high-school-aged male-identifying biological males who

         cannot run a 5,000 meter track race as quickly as some post-pubescent, high-school aged

         female-identifying biological females.

  B.P.J.’s Response to Request for Admission No. 7:

         B.P.J. objects to the phrase “male-identifying biological males” as vague and scientifically

  inaccurate and interprets the phrase to mean “cisgender boys.” B.P.J. objects to the phrase

  “female-identifying biological females” as vague and scientifically inaccurate and interprets the

  phrase to mean “cisgender girls.”

         Subject to these general and specific objections, and without waiver thereof, B.P.J. admits

  that there are post-pubescent, high-school-aged cisgender boys who cannot run a 5,000 meter track

  race as quickly as some post-pubescent, high-school aged cisgender girls.

  Request for Admission No. 8:

     8. You have alleged that “[g]irls who are transgender and who do go through some or all of

         their endogenous puberty can receive gender-affirming hormone therapy that reduces their

         circulating testosterone levels and mitigates and often eliminates any athletic benefit from

         having gone through endogenous puberty.” First Am. Compl. ¶ 42. Admit that such



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         “gender affirming hormone therapy that reduces circulating testosterone levels” to the

         levels typical of cisgender females does not necessarily completely “eliminate[] any

         athletic benefit from having gone through endogenous [male] puberty.”

  B.P.J.’s Response to Request for Admission No. 8:

         Deny.

  Request for Admission No. 9:

     9. You have alleged that “[g]irls who are transgender and who do go through some or all of

         their endogenous puberty can receive gender-affirming hormone therapy that reduces their

         circulating testosterone levels and mitigates and often eliminates any athletic benefit from

         having gone through endogenous puberty.” First Am. Compl. ¶ 42. Admit that female

         identifying biological males who go through endogenous puberty and do not receive

         pharmaceutical or surgical intervention have, at the “population level” (as this term is used

         in First Am. Compl. ¶ 40), athletic performance advantages over female-identifying

         biological females of the same age who have received no pharmaceutical or surgical

         intervention.

  B.P.J.’s Response to Request for Admission No. 9:

         B.P.J. objects to the phrase “female-identifying biological males” as vague and

  scientifically inaccurate and interprets the phrase to mean “girls who are transgender.” B.P.J.

  objects to the phrase “female-identifying biological females” as vague and scientifically inaccurate

  and interprets the phrase to mean “cisgender girls.”

         Subject to these general and specific objections, and without waiver thereof, B.P.J. cannot

  admit or deny this request for admission because there have not been sufficient studies to determine

  whether there are average differences in performance between girls who are transgender and have



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  gone through endogenous puberty and not received pharmaceutical or surgical intervention as a

  group compared to cisgender girls as a group including in light of other possible factors.

  Request for Admission No. 10:

     10. You have alleged that “[g]irls who are transgender and who do go through some or all of

         their endogenous puberty can receive gender-affirming hormone therapy that reduces their

         circulating testosterone levels and mitigates and often eliminates any athletic benefit from

         having gone through endogenous puberty.” First Am. Compl. ¶ 42. Admit that female

         identifying biological males who go through endogenous puberty and do not receive

         pharmaceutical or surgical intervention have, at the “population level” (as this term is used

         in First Am. Compl. ¶ 40), athletic advantages relevant to performance in track and cross-

         country events over female-identifying biological females of the same age who have

         received no pharmaceutical or surgical intervention.

  B.P.J.’s Response to Request for Admission No. 10:

         B.P.J. objects to the phrase “female-identifying biological males” as vague and

  scientifically inaccurate and interprets the phrase to mean “girls who are transgender.” B.P.J.

  objects to the phrase “female-identifying biological females” as vague and scientifically inaccurate

  and interprets the phrase to mean “cisgender girls.”

         Subject to these general and specific objections, and without waiver thereof, B.P.J. cannot

  admit or deny this request for admission because there have not been sufficient studies to determine

  whether there are average differences in performance between girls who are transgender and have

  gone through endogenous puberty and not received pharmaceutical or surgical intervention as a

  group compared to cisgender girls as a group including in light of other possible factors.

  Request for Admission No. 11:



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     11. You have alleged that “[g]irls who are transgender and who do go through some or all of

         their endogenous puberty can receive gender-affirming hormone therapy that reduces their

         circulating testosterone levels and mitigates and often eliminates any athletic benefit from

         having gone through endogenous puberty.” First Am. Compl. ¶ 42. Admit that female

         identifying biological males who go through endogenous puberty and do not receive

         pharmaceutical or surgical intervention more often than not have athletic performance

         advantages over female-identifying biological females of the same age who have received

         no pharmaceutical or surgical intervention.

  B.P.J.’s Response to Request for Admission No. 11:

         B.P.J. objects to the phrase “female-identifying biological males” as vague and

  scientifically inaccurate and interprets the phrase to mean “girls who are transgender.” B.P.J.

  objects to the phrase “female-identifying biological females” as vague and scientifically inaccurate

  and interprets the phrase to mean “cisgender girls.”

         Subject to these general and specific objections, and without waiver thereof, B.P.J. cannot

  admit or deny this request for admission because there have not been sufficient studies to determine

  whether there are average differences in performance between girls who are transgender and have

  gone through endogenous puberty and not received pharmaceutical or surgical intervention as a

  group compared to cisgender girls as a group including in light of other possible factors.

  Request for Admission No. 12:

     12. You have alleged that “[g]irls who are transgender and who do go through some or all of

         their endogenous puberty can receive gender-affirming hormone therapy that reduces their

         circulating testosterone levels and mitigates and often eliminates any athletic benefit from

         having gone through endogenous puberty.” First Am. Compl. ¶ 42. Admit that female



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         identifying biological males who go through endogenous puberty and do not receive

         pharmaceutical or surgical intervention more often than not have athletic advantages

         relevant to performance in track and cross-country events over female-identifying

         biological females of the same age who have received no pharmaceutical or surgical

         intervention.

  B.P.J.’s Response to Request for Admission No. 12:

         B.P.J. objects to the phrase “female-identifying biological males” as vague and

  scientifically inaccurate and interprets the phrase to mean “girls who are transgender.” B.P.J.

  objects to the phrase “female-identifying biological females” as vague and scientifically inaccurate

  and interprets the phrase to mean “cisgender girls.”

         Subject to these general and specific objections, and without waiver thereof, B.P.J. cannot

  admit or deny this request for admission because there have not been sufficient studies to determine

  whether there are average differences in performance between girls who are transgender and have

  gone through endogenous puberty and not received pharmaceutical or surgical intervention as a

  group compared to cisgender girls as a group including in light of other possible factors.

  Request for Admission No. 13:

     13. Admit there are biological males who experience central precocious puberty.

  B.P.J.’s Response to Request for Admission No. 13:

         B.P.J. objects to the phrase “biological males” as vague and scientifically inaccurate, and

  interprets the phrase to mean “people with a male sex assigned at birth.”

         Subject to these general and specific objections, and without waiver thereof, B.P.J. admits

  there are people with a male sex assigned at birth who experience central precocious puberty.

  Request for Admission No. 14:



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     14. Admit that Histrelin is a medically accepted treatment for central precocious puberty.

  B.P.J.’s Response to Request for Admission No. 14:

         Admit.

  Request for Admission No. 15:

     15. Admit that Histrelin is used to treat biological males with idiopathic short stature.

  B.P.J.’s Response to Request for Admission No. 15:

         B.P.J. objects to the phrase “biological males” as vague and scientifically inaccurate, and

  interprets the phrase to mean “people with a male sex assigned at birth.” B.P.J. objects to the

  phrase “is used to treat” and interprets the phrase to mean “is a medically accepted treatment for.”

         Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

  that Histrelin is a medically accepted treatment for people with a male sex assigned at birth with

  idiopathic short stature.

  Request for Admission No. 16:

     16. Admit that Histrelin is used to treat biological males with growth hormone deficiency.

  B.P.J.’s Response to Request for Admission No. 16:

         B.P.J. objects to the phrase “biological males” as vague and scientifically inaccurate, and

  interprets the phrase to mean “people with a male sex assigned at birth.” B.P.J. objects to the

  phrase “is used to treat” and interprets the phrase to mean “is a medically accepted treatment for.”

         Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

  that Histrelin is a medically accepted treatment for people with a male sex assigned at birth with

  growth hormone deficiency.

  Request for Admission No. 17:

     17. Admit there are biological males who experience delayed puberty.



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  B.P.J.’s Response to Request for Admission No. 17:

         B.P.J. objects to the phrase “biological males” as vague and scientifically inaccurate, and

  interprets the phrase to mean “people with a male sex assigned at birth.”

         Subject to these general and specific objections, and without waiver thereof, B.P.J. admits

  there are people with a male sex assigned at birth who experience delayed puberty.

  Request for Admission No. 18:

     18. Admit there are biological males who experience hypogonadism.

  B.P.J.’s Response to Request for Admission No. 18:

         B.P.J. objects to the phrase “biological males” as vague and scientifically inaccurate, and

  interprets the phrase to mean “people with a male sex assigned at birth.”

         Subject to these general and specific objections, and without waiver thereof, B.P.J. admits

  there are people with a male sex assigned at birth who experience hypogonadism.

  Request for Admission No. 19:

     19. Admit there are biological males with medical conditions that inhibit testosterone

         production.

  B.P.J.’s Response to Request for Admission No. 19:

         B.P.J. objects to the phrase “biological males” as vague and scientifically inaccurate, and

  interprets the phrase to mean “people with a male sex assigned at birth.”

         Subject to these general and specific objections, and without waiver thereof, B.P.J. admits

  there are people with a male sex assigned at birth with medical conditions that inhibit testosterone

  production.

  Request for Admission No. 20:




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     20. Admit there are middle-school-aged biological males who, because of delayed puberty,

         have circulating testosterone comparable to that of biological females of their same age.

  B.P.J.’s Response to Request for Admission No. 20:

         B.P.J. objects to the phrase “biological males” as vague and scientifically inaccurate, and

  interprets the phrase to mean “people with a male sex assigned at birth.” B.P.J. objects to the

  phrase “biological females” as vague and scientifically inaccurate, and interprets the phrase to

  mean “people with a female sex assigned at birth.” B.P.J. objects to the term “comparable” as

  vague. B.P.J. objects to this request as vague with respect to whether the phrase “comparable to

  that of biological females of their same age” refers to typical circulating testosterone levels for

  people who had a female sex assigned at birth as a group or to the circulating testosterone levels

  of at least one person with a female sex assigned at birth. B.P.J. also objects to this request as

  vague because it does not specify whether the people with a female sex assigned at birth at issue

  have gone through puberty even though cisgender girls on average typically begin puberty at a

  younger age than cisgender boys on average.

         Subject to these general and specific objections, and without waiver thereof, B.P.J. admits

  that it is possible at least one middle-school-aged person who was assigned a male sex at birth and

  who had delayed puberty likely has the same levels of circulating testosterone as at least one person

  of the same age who was assigned a female sex at birth.

  Request for Admission No. 21:

     21. Admit there are high-school-aged biological males who, because of delayed puberty, have

         circulating testosterone comparable to that of biological females of their same age.

  B.P.J.’s Response to Request for Admission No. 21:




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         B.P.J. objects to the phrase “biological males” as vague and scientifically inaccurate, and

  interprets the phrase to mean “people with a male sex assigned at birth.” B.P.J. objects to the

  phrase “biological females” as vague and scientifically inaccurate, and interprets the phrase to

  mean “people with a female sex assigned at birth.” B.P.J. objects to the term “comparable” as

  vague. B.P.J. also objects to this request as vague with respect to whether the phrase “comparable

  to that of biological females of their same age” refers to typical circulating testosterone levels for

  people with a female sex assigned at birth as a group or to the circulating testosterone levels of at

  least one person who was assigned a female sex at birth.

         Subject to these general and specific objections, and without waiver thereof, B.P.J. admits

  that it is possible at least one high-school-aged person who was assigned a male sex at birth and

  who had delayed puberty likely has the same levels of circulating testosterone as at least one person

  of the same age who was assigned a female sex at birth.

  Request for Admission No. 22:

     22. Admit there are middle-school-aged biological males who, because of hypogonadism, have

         circulating testosterone comparable to that of biological females of their same age.

  B.P.J.’s Response to Request for Admission No. 22:

         B.P.J. objects to the phrase “biological males” as vague and scientifically inaccurate, and

  interprets the phrase to mean “people with a male sex assigned at birth.” B.P.J. objects to the

  phrase “biological females” as vague and scientifically inaccurate, and interprets the phrase to

  mean “people with a female sex assigned at birth.” B.P.J. objects to the term “comparable” as

  vague. B.P.J. also objects to this request as vague with respect to whether the phrase “comparable

  to that of biological females of their same age” refers to typical circulating testosterone levels for

  people who are assigned a female sex at birth as a group or to the circulating testosterone levels of



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  at least one person who was assigned a female sex at birth. B.P.J. also objects to this request as

  vague because it does not specify whether the people assigned a female sex at births at issue have

  gone through puberty even though girls on average typically begin puberty at a younger age than

  boys on average.

         Subject to these general and specific objections, and without waiver thereof, B.P.J. admits

  that it is possible at least one middle-school-aged person who was assigned a male sex at birth and

  who has hypogonadism likely has the same levels of circulating testosterone as at least one person

  of the same age who was assigned a female sex at birth.

  Request for Admission No. 23:

     23. Admit there are high-school-aged biological males who, because of hypogonadism, have

         circulating testosterone comparable to that of biological females of their same age.

  B.P.J.’s Response to Request for Admission No. 23:

         B.P.J. objects to the phrase “biological males” as vague and scientifically inaccurate, and

  interprets the phrase to mean “people with a male sex assigned at birth.” B.P.J. objects to the

  phrase “biological females” as vague and scientifically inaccurate, and interprets the phrase to

  mean “people with a female sex assigned at birth.” B.P.J. objects to the term “comparable” as

  vague. B.P.J. also objects to this request as vague with respect to whether the phrase “comparable

  to that of biological females of their same age” refers to typical circulating testosterone levels for

  cisgender girls as a group or to the circulating testosterone levels of at least one person with a

  female sex assigned at birth.

         Subject to these general and specific objections, and without waiver thereof, B.P.J. admits

  that it is possible at least one high-school-aged person who was assigned a male sex at birth and




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  who had delayed puberty likely has the same levels of circulating testosterone as at least one person

  of the same age who was assigned a female sex at birth.

  Request for Admission No. 24:

     24. You have alleged that “[g]irls who are transgender are similarly situated to cisgender girls

         (as opposed to cisgender boys) for purposes of participating on sex-separated school

         athletic teams.” First Am. Compl. ¶ 39. Admit that for purposes of participating on sex

         separated school athletic teams, B.P.J. is similarly situated to male-identifying biological

         males of the same age who have received the same puberty blocking treatment as B.P.J

  B.P.J.’s Response to Request for Admission No. 24:

         B.P.J. objects to the phrase “male-identifying biological males” as vague and scientifically

  inaccurate, and interprets the phrase to mean “cisgender boys.” B.P.J. objects to the phrase

  “similarly situated” as vague. B.P.J. objects to this request to the extent it requires B.P.J. to make

  the counterfactual assumption that there are cisgender boys of the same age as B.P.J. who have

  received the same puberty blocking treatment as B.P.J.

         Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

  this request for admission.

  Request for Admission No. 25:

     25. You have alleged that “[g]irls who are transgender are . . . not similarly situated to

         cisgender boys with respect to physiological characteristics associated with athletic

         performance.” First Am. Compl. ¶ 40. Admit that with respect to any sex-related

         “physiological characteristics associated with athletic performance” relevant to running

         track or cross-country, B.P.J. is similarly situated to male-identifying biological males of

         the same age who have received the same puberty blocking treatment as B.P.J.



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  B.P.J.’s Response to Request for Admission No. 25:

         B.P.J. objects to the phrase “male-identifying biological males” as vague and scientifically

  inaccurate, and interprets the phrase to mean “cisgender boys.” B.P.J. objects to the phrase

  “similarly situated” as vague. B.P.J. objects to this request to the extent it requires B.P.J. to make

  the counterfactual assumption that there are cisgender boys of the same age as B.P.J. who have

  received the same puberty blocking treatment as B.P.J.

         Subject to these general and specific objections, and without waiver thereof, B.P.J. admits

  that B.P.J. likely has the same level of circulating testosterone as cisgender boys who have not yet

  begun puberty but denies that they are similarly situated for purposes of Title IX or the Equal

  Protection Clause.

  Request for Admission No. 26:

     26. You have alleged that “[g]irls who are transgender are similarly situated to cisgender girls

         (as opposed to cisgender boys) for purposes of participating on sex-separated school

         athletic teams.” First Am. Compl. ¶ 39. Admit that for purposes of participating on sex

         separated school athletic teams, B.P.J. is similarly situated to biological male students of

         the same age who have received the same puberty blocking treatment as B.P.J., regardless

         of the students’ gender identity.

  B.P.J.’s Response to Request for Admission No. 26:

         B.P.J. objects to the phrase “biological male students” as vague and scientifically

  inaccurate, and interprets the phrase to mean “students with a male sex assigned at birth.” B.P.J.

  objects to the phrase “similarly situated” as vague. B.P.J. objects to this request to the extent it

  requires B.P.J. to make the counterfactual assumption that there are cisgender boys of the same

  age as B.P.J. who have received the same puberty blocking treatment as B.P.J.



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         Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

  this request for admission.

  Request for Admission No. 27:

     27. You have alleged that “[g]irls who are transgender are . . . not similarly situated to

         cisgender boys with respect to physiological characteristics associated with athletic

         performance.” First Am. Compl. ¶ 40. Admit that with respect to any sex-related

         “physiological characteristics associated with athletic performance” relevant to running

         track or cross-country, B.P.J. is similarly situated to biological male students of the same

         age who have received the same puberty blocking treatment as B.P.J., regardless of the

         students’ gender identity.

  B.P.J.’s Response to Request for Admission No. 27:

         B.P.J. objects to the phrase “biological males” as vague and scientifically inaccurate, and

  interprets the phrase to mean “people who were assigned a male sex at birth.” B.P.J. objects to the

  phrase “similarly situated” as vague. B.P.J. objects to this request to the extent it requires B.P.J.

  to make the counterfactual assumption that there are cisgender boys of the same age as B.P.J. who

  have received the same puberty blocking treatment as B.P.J.

         Subject to these general and specific objections, and without waiver thereof, B.P.J. admits

  that B.P.J. likely has the same level of circulating testosterone as other people who were assigned

  a male sex at birth who have not begun puberty but denies that they are similarly situated regardless

  of gender identity for purposes of Title IX or the Equal Protection Clause.

  Request for Admission No. 28:

     28. You have alleged that “[g]irls who are transgender are similarly situated to cisgender girls

         (as opposed to cisgender boys) for purposes of participating on sex-separated school



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         athletic teams.” First Am. Compl. ¶ 39. Admit that for purposes of participating on sex

         separated school athletic teams, middle school male-identifying biological male students

         who received puberty blocking treatment that effectively delayed male puberty are

         similarly situated to middle school female-identifying biological females of the same age

         who received no puberty blocking treatment.

  B.P.J.’s Response to Request for Admission No. 28:

         B.P.J. objects to the phrase “male-identifying biological male students” as vague and

  scientifically inaccurate, and interprets the phrase to mean “cisgender boys.” B.P.J. objects to the

  phrase “female-identifying biological females” as vague and scientifically inaccurate, and

  interprets the phrase to mean “cisgender girls.” B.P.J. objects to the phrase “similarly situated” as

  vague. B.P.J. also objects to this request as vague because it does not specify whether the cisgender

  girls at issue have gone through puberty even though girls on average typically begin puberty at a

  younger age than boys on average.

         Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

  this request for admission.

  Request for Admission No. 29:

     29. You have alleged that “[g]irls who are transgender are . . . not similarly situated to

         cisgender boys with respect to physiological characteristics associated with athletic

         performance.” First Am. Compl. ¶ 40. Admit that with respect to any sex-related

         “physiological characteristics associated with athletic performance” relevant to running

         track or cross-country, middle school male-identifying male students who received puberty

         blocking treatment that effectively delayed male puberty are similarly situated to middle




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         school female-identifying females of the same age who received no puberty blocking

         treatment.

  B.P.J.’s Response to Request for Admission No. 29:

         B.P.J. objects to the phrase “male-identifying biological male students” as vague and

  scientifically inaccurate, and interprets the phrase to mean “cisgender boys.” B.P.J. objects to the

  phrase “female-identifying biological females” as vague and scientifically inaccurate, and

  interprets the phrase to mean “cisgender girls.” B.P.J. objects to the phrase “similarly situated” as

  vague. B.P.J. also objects to this request as vague because it does not specify whether the cisgender

  girls at issue have gone through puberty even though girls on average typically begin puberty at a

  younger age than boys on average.

         Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

  this request for admission.

  Request for Admission No. 30:

     30. You have alleged that “[g]irls who are transgender are similarly situated to cisgender girls

         (as opposed to cisgender boys) for purposes of participating on sex-separated school

         athletic teams.” First Am. Compl. ¶ 39. Admit that for purposes of participating on sex

         separated school athletic teams, biological male middle school students, regardless of

         gender identity, who received puberty blocking treatment that effectively delayed male

         puberty are similarly situated to middle school female-identifying females of the same age

         who received no puberty blocking treatment.

  B.P.J.’s Response to Request for Admission No. 30:

         B.P.J. objects to the phrase “biological male middle school students” as vague and

  scientifically inaccurate, and interprets the phrase to mean “students with a male sex assigned at



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  birth.”    B.P.J. objects to the phrase “female-identifying biological females” as vague and

  scientifically inaccurate, and interprets the phrase to mean “cisgender girls.” B.P.J. objects to the

  phrase “similarly situated” as vague.

            Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

  this request for admission.

  Request for Admission No. 31:

      31. You have alleged that “[g]irls who are transgender are . . . not similarly situated to

            cisgender boys with respect to physiological characteristics associated with athletic

            performance.” First Am. Compl. ¶ 40. Admit that with respect to any sex-related

            “physiological characteristics associated with athletic performance” relevant to running

            track or cross-country, biological male middle school students, regardless of gender

            identity, who received puberty blocking treatment that effectively delayed male puberty

            are similarly situated to female-identifying females of the same age who received no

            puberty blocking treatment.

  B.P.J.’s Response to Request for Admission No. 31:

            B.P.J. objects to the phrase “biological male middle school students” as vague and

  scientifically inaccurate, and interprets the phrase to mean “students with a male sex assigned at

  birth.”    B.P.J. objects to the phrase “female-identifying biological females” as vague and

  scientifically inaccurate, and interprets the phrase to mean “cisgender girls.” B.P.J. objects to the

  phrase “similarly situated” as vague. B.P.J. also objects to this request as vague because it does

  not specify whether the cisgender girls at issue have gone through puberty even though girls on

  average typically begin puberty at a younger age than boys on average.




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         Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

  this request for admission.

  Request for Admission No. 32:

     32. You have alleged that “[g]irls who are transgender are similarly situated to cisgender girls

         (as opposed to cisgender boys) for purposes of participating on sex-separated school

         athletic teams.” First Am. Compl. ¶ 39. Admit that for purposes of participating on sex-

         separated school athletic teams, high school male-identifying male students who received

         puberty blocking treatment that effectively delayed male puberty are similarly situated to

         high school female-identifying females of the same age who received no puberty blocking

         or other hormone therapy.

  B.P.J.’s Response to Request for Admission No. 32:

         B.P.J. objects to the phrase “male-identifying male students” as vague and scientifically

  inaccurate, and interprets the phrase to mean “cisgender boys.” B.P.J. objects to the phrase

  “female-identifying biological females” as vague and scientifically inaccurate, and interprets the

  phrase to mean “cisgender girls.” B.P.J. objects to the phrase “similarly situated” as vague. B.P.J.

  objects to this request to the extent it requires B.P.J. to make the counterfactual assumption that

  there are cisgender boys in high school who receive puberty blocking treatment.

         Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

  this request for admission.

  Request for Admission No. 33:

     33. You have alleged that “[g]irls who are transgender are . . . not similarly situated to

         cisgender boys with respect to physiological characteristics associated with athletic

         performance.” First Am. Compl. ¶ 40. Admit that with respect to any sex-related



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         “physiological characteristics associated with athletic performance” relevant to running

         track or cross-country, high school male-identifying male students who received puberty

         blocking treatment that effectively delayed male puberty are similarly situated to high

         school female-identifying females of the same age who received no puberty blocking or

         other hormone therapy.

  B.P.J.’s Response to Request for Admission No. 33:

         B.P.J. objects to the phrase “male-identifying male students” as vague and scientifically

  inaccurate, and interprets the phrase to mean “cisgender boys.” B.P.J. objects to the phrase

  “female-identifying biological females” as vague and scientifically inaccurate, and interprets the

  phrase to mean “cisgender girls.” B.P.J. objects to the phrase “similarly situated” as vague. B.P.J.

  objects to this request to the extent it requires B.P.J. to make the counterfactual assumption that

  there are cisgender boys in high school who receive puberty blocking treatment.

         Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

  this request for admission.

  Request for Admission No. 34:

     34. You have alleged that “[g]irls who are transgender are similarly situated to cisgender girls

         (as opposed to cisgender boys) for purposes of participating on sex-separated school

         athletic teams.” First Am. Compl. ¶ 39. Admit that for purposes of participating on sex

         separated school athletic teams, biological male high school students, regardless of gender

         identity, who received puberty blocking treatment that effectively delayed male puberty

         are similarly situated to high school female-identifying females of the same age who

         received no puberty blocking or other hormone therapy.

  B.P.J.’s Response to Request for Admission No. 34:



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         B.P.J. objects to the phrase “biological male high school students” as vague and

  scientifically inaccurate, and interprets the phrase to mean “high school students who had a male

  sex assigned at birth.” B.P.J. objects to the phrase “female-identifying biological females” as

  vague and scientifically inaccurate, and interprets the phrase to mean “cisgender girls.” B.P.J.

  objects to the phrase “similarly situated” as vague. B.P.J. objects to this request to the extent it

  requires B.P.J. to make the counterfactual assumption that there are cisgender boys in high school

  who receive puberty blocking treatment.

         Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

  this request for admission.

  Request for Admission No. 35:

     35. You have alleged that “[g]irls who are transgender are . . . not similarly situated to

         cisgender boys with respect to physiological characteristics associated with athletic

         performance.” First Am. Compl. ¶ 40. Admit that with respect to any sex-related

         “physiological characteristics associated with athletic performance” relevant to running

         track or cross-country, biological male high school students, regardless of gender identity,

         who received puberty blocking treatment that effectively delayed male puberty are

         similarly situated to high school female-identifying females of the same age who received

         no puberty blocking or other hormone therapy.

  B.P.J.’s Response to Request for Admission No. 35:

         B.P.J. objects to the phrase “biological male high school students” as vague and

  scientifically inaccurate, and interprets the phrase to mean “high school students who had a male

  sex assigned at birth.” B.P.J. objects to the phrase “female-identifying biological females” as

  vague and scientifically inaccurate, and interprets the phrase to mean “cisgender girls.” B.P.J.



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  objects to the phrase “similarly situated” as vague. B.P.J. objects to this request to the extent it

  requires B.P.J. to make the counterfactual assumption that there are cisgender boys in high school

  who receive puberty blocking treatment.

         Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

  this request for admission.

  Request for Admission No. 36:

     36. You have alleged that “[g]irls who are transgender are similarly situated to cisgender girls

         (as opposed to cisgender boys) for purposes of participating on sex-separated school

         athletic teams.” First Am. Compl. ¶ 39. Admit that for purposes of participating on sex-

         separated school athletic teams, B.P.J. is not similarly situated to female-identifying

         biological male students of the same age who have not received any form of puberty

         blocking or other hormone therapy

  B.P.J.’s Response to Request for Admission No. 36:

         B.P.J. objects to the phrase “female-identifying biological male students” as vague and

  scientifically inaccurate, and interprets the phrase to mean “girls who are transgender.” B.P.J.

  objects to the phrase “similarly situated” as vague.

         Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

  this request for admission.

  Request for Admission No. 37:

     37. You have alleged that “[g]irls who are transgender are . . . not similarly situated to

         cisgender boys with respect to physiological characteristics associated with athletic

         performance.” First Am. Compl. ¶ 40. Admit that with respect to any sex-related

         “physiological characteristics associated with athletic performance” relevant to running



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         track or cross-country, B.P.J. is not similarly situated to female-identifying biological

         males of the same age who have not received any form of puberty blocking or other

         hormone therapy.

  B.P.J.’s Response to Request for Admission No. 37:

         B.P.J. objects to the phrase “female-identifying biological male students” as vague and

  scientifically inaccurate, and interprets the phrase to mean “girls who are transgender.” B.P.J.

  objects to the phrase “similarly situated” as vague. B.P.J. also objects to this request as vague

  because it does not specify whether the hypothetical 11-year-old girls who are transgender have

  begun endogenous puberty.

         Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

  this request for admission.

  Request for Admission No. 38:

     38. You have alleged that “[g]irls who are transgender are similarly situated to cisgender girls

         (as opposed to cisgender boys) for purposes of participating on sex-separated school

         athletic teams.” First Am. Compl. ¶ 39. Admit that for purposes of participating on sex-

         separated school athletic teams, B.P.J. is not similarly situated to biological male students

         of the same age who have not received any form of puberty blocking or other hormone

         therapy, regardless of the students’ gender identity.

  B.P.J.’s Response to Request for Admission No. 38:

         B.P.J. objects to the phrase “biological male students” as vague and scientifically

  inaccurate, and interprets the phrase to mean “students who were assigned a male sex at birth.”

  B.P.J. objects to the phrase “similarly situated” as vague.




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         Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

  the request for admission.

  Request for Admission No. 39:

     39. You have alleged that “[g]irls who are transgender are . . . not similarly situated to

         cisgender boys with respect to physiological characteristics associated with athletic

         performance.” First Am. Compl. ¶ 40. Admit that with respect to any “physiological

         characteristics associated with athletic performance” relevant to running track or cross-

         country, B.P.J. is not similarly situated to biological male students of the same age who

         have not received any form of puberty blocking or other hormone therapy, regardless of

         the students’ gender identity.

  B.P.J.’s Response to Request for Admission No. 39:

         B.P.J. objects to the phrase “biological male students” as vague and scientifically

  inaccurate, and interprets the phrase to mean “students who were assigned a male sex at birth.”

  B.P.J. objects to the phrase “similarly situated” as vague. B.P.J. objects to the phrase “similarly

  situated” as vague. B.P.J. also objects to this request as vague because it does not specify whether

  the hypothetical 11-year-olds with a male sex assigned at birth have begun endogenous puberty.

         Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

  this request for admission.

  Request for Admission No. 40:

     40. You have alleged that “[g]irls who are transgender are similarly situated to cisgender girls

         (as opposed to cisgender boys) for purposes of participating on sex-separated school

         athletic teams.” First Am. Compl. ¶ 39. Admit that for purposes of participating on sex

         separated school athletic teams, high school male-identifying biological males who



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         experienced endogenous male puberty but have since received hormone therapy sufficient

         to bring their circulating testosterone down into the range typical for biological females of

         their same age are similarly situated to female-identifying biological females of the same

         age who have received no puberty blocking or other hormone therapy.

  B.P.J.’s Response to Request for Admission No. 40:

         B.P.J. objects to the phrase “male-identifying biological males” as vague and scientifically

  inaccurate, and interprets the phrase to mean “cisgender boys.” B.P.J. objects to the phrase

  “biological females” as vague and scientifically inaccurate, and interprets the phrase to mean

  “people who had a female sex assigned at birth.” B.P.J. objects to the phrase “similarly situated”

  as vague. B.P.J. objects to this request to the extent it requires B.P.J. to make the counterfactual

  assumption that there are cisgender boys in high school who receive hormone therapy sufficient

  to bring their circulating testosterone down into the range typical for cisgender girls of the same

  age.

         Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

  this request for admission.

  Request for Admission No. 41:

     41. You have alleged that “[g]irls who are transgender are . . . not similarly situated to

         cisgender boys with respect to physiological characteristics associated with athletic

         performance.” First Am. Compl. ¶ 40. Admit that with respect to sex-related “physiological

         characteristics associated with athletic performance” relevant to running track or cross-

         country, high school male-identifying biological males who experienced endogenous male

         puberty but have since received hormone therapy sufficient to bring their circulating

         testosterone down into the range typical for biological females of their same age are



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         similarly situated to female-identifying biological females of the same age who have

         received no puberty blocking or other hormone therapy.

  B.P.J.’s Response to Request for Admission No. 41:

         B.P.J. objects to the phrase “male-identifying biological males” as vague and scientifically

  inaccurate, and interprets the phrase to mean “cisgender boys.” B.P.J. objects to the phrase

  “biological females” as vague and scientifically inaccurate, and interprets the phrase to mean

  “people who had a female sex assigned at birth.” B.P.J. objects to the phrase “female identifying

  biological females” as vague and scientifically inaccurate, and interprets the phrase to mean

  “cisgender girls.” B.P.J. objects to the phrase “similarly situated” as vague. B.P.J. objects to this

  request to the extent it requires B.P.J. to make the counterfactual assumption that there are

  cisgender boys in high school who receive hormone therapy sufficient to bring their circulating

  testosterone down into the range typical for cisgender girls of the same age.

         Subject to these general and specific objections, and without waiver thereof, B.P.J. admits

  that cisgender high school boys who lower their levels of circulating testosterone to the same levels

  that are typical for cisgender girls of the same age would, on average, have the same levels of

  circulating testosterone as cisgender girls, on average, but denies that the two groups are similarly

  situated for purposes of Title IX or the Equal Protection Clause.

  Request for Admission No. 42:

     42. You have alleged that “[g]irls who are transgender are similarly situated to cisgender girls

         (as opposed to cisgender boys) for purposes of participating on sex-separated school

         athletic teams.” First Am. Compl. ¶ 39. Admit that for purposes of participating on sex-

         separated school athletic teams, biological male middle school students, regardless of

         gender identity, who experienced endogenous male puberty but have since received



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         hormone therapy sufficient to bring their circulating testosterone down into the range

         typical for biological females of their age are similarly situated to female-identifying

         biological females of the same age who have received no puberty blocking or other

         hormone therapy.

  B.P.J.’s Response to Request for Admission No. 42:

         B.P.J. objects to the phrase “biological male middle school students” as vague and

  scientifically inaccurate, and interprets the phrase to mean “middle school students who were

  assigned a male sex at birth.” B.P.J. objects to the phrase “biological females” as vague and

  scientifically inaccurate, and interprets the phrase to mean “people who had a female sex assigned

  at birth.” B.P.J. objects to the phrase “female identifying biological females” as vague and

  scientifically inaccurate, and interprets the phrase to mean “cisgender girls.” B.P.J. objects to the

  phrase “similarly situated” as vague. B.P.J. objects to this request to the extent it requires B.P.J.

  to make the counterfactual assumption that there are cisgender boys in middle school who receive

  hormone therapy sufficient to bring their circulating testosterone down into the range typical for

  cisgender girls of the same age.

         Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

  this request for admission.

  Request for Admission No. 43:

     43. You have alleged that “[g]irls who are transgender are . . . not similarly situated to

         cisgender boys with respect to physiological characteristics associated with athletic

         performance.” First Am. Compl. ¶ 40. Admit that with respect to sex-related “physiological

         characteristics associated with athletic performance” relevant to running track and cross-

         country, biological male middle school students, regardless of gender identity, who



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         experienced endogenous male puberty but have since received hormone therapy sufficient

         to bring their circulating testosterone down into the range typical for biological females of

         their same age are similarly situated to female-identifying biological females of the same

         age who have received no puberty blocking or other hormone therapy.

  B.P.J.’s Response to Request for Admission No. 43:

         B.P.J. objects to the phrase “biological male middle school students” as vague and

  scientifically inaccurate, and interprets the phrase to mean “middle school students who were

  assigned a male sex at birth.” B.P.J. objects to the phrase “biological females” as vague and

  scientifically inaccurate, and interprets the phrase to mean “people who had a female sex assigned

  at birth.” B.P.J. objects to the phrase “female identifying biological females” as vague and

  scientifically inaccurate, and interprets the phrase to mean “cisgender girls.” B.P.J. objects to the

  phrase “similarly situated” as vague. B.P.J. objects to this request to the extent it requires B.P.J.

  to make the counterfactual assumption that there are cisgender boys in middle school who receive

  hormone therapy sufficient to bring their circulating testosterone down into the range typical for

  cisgender girls of the same age.

         Subject to these general and specific objections, and without waiver thereof, B.P.J. admits

  that the two hypothetical groups of people would have on average the same levels of circulating

  testosterone but denies that they would be similarly situated for purposes of Title IX and the Equal

  Protection Clause.

  Request for Admission No. 44:

     44. You have alleged that “[g]irls who are transgender are similarly situated to cisgender girls

         (as opposed to cisgender boys) for purposes of participating on sex-separated school

         athletic teams.” First Am. Compl. ¶ 39. Admit that for purposes of participating on sex



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          separated school athletic teams, biological male high school students, regardless of gender

          identity, who experienced endogenous male puberty but have since received hormone

          therapy sufficient to bring their circulating testosterone down into the range typical for

          biological females of their same age, are similarly situated to female-identifying biological

          females of the same age who have received no puberty blocking or other hormone therapy.

  B.P.J.’s Response to Request for Admission No. 44:

          B.P.J. objects to the phrase “biological male high school students” as vague and

  scientifically inaccurate, and interprets the phrase to mean “high school students who were

  assigned a male sex at birth.” B.P.J. objects to the phrase “biological females” as vague and

  scientifically inaccurate, and interprets the phrase to mean “people who had a female sex assigned

  at birth.” B.P.J. objects to the phrase “female identifying biological females” as vague and

  scientifically inaccurate, and interprets the phrase to mean “cisgender girls.” B.P.J. objects to the

  phrase “similarly situated” as vague. B.P.J. objects to this request to the extent it requires B.P.J.

  to make the counterfactual assumption that there are high school cisgender boys who experienced

  endogenous male puberty but have since received hormone therapy sufficient to bring their

  circulating testosterone down into the range typical for people who had a female sex assigned at

  birth of their age.

          Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

  this request for admission.

  Request for Admission No. 45:

      45. You have alleged that “[g]irls who are transgender are . . . not similarly situated to

          cisgender boys with respect to physiological characteristics associated with athletic

          performance.” First Am. Compl. ¶ 40. Admit that with respect to sex-related “physiological



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          characteristics associated with athletic performance” relevant to running track and cross-

          country, biological male high school students, regardless of gender identity, who

          experienced endogenous male puberty but have since received hormone therapy sufficient

          to bring their circulating testosterone down into the range typical for biological females of

          their same age are similarly situated to female-identifying biological females of the same

          age who have received no puberty blocking or other hormone therapy.

  B.P.J.’s Response to Request for Admission No. 45:

          B.P.J. objects to the phrase “biological male high school students” as vague and

  scientifically inaccurate, and interprets the phrase to mean “high school students who were

  assigned a male sex at birth.” B.P.J. objects to the phrase “biological females” as vague and

  scientifically inaccurate, and interprets the phrase to mean “people who had a female sex assigned

  at birth.” B.P.J. objects to the phrase “female identifying biological females” as vague and

  scientifically inaccurate, and interprets the phrase to mean “cisgender girls.” B.P.J. objects to the

  phrase “similarly situated” as vague. B.P.J. objects to this request to the extent it requires B.P.J.

  to make the counterfactual assumption that there are high school cisgender boys who experienced

  endogenous male puberty but have since received hormone therapy sufficient to bring their

  circulating testosterone down into the range typical for people who had a female sex assigned at

  birth of their age.

          Subject to these general and specific objections, and without waiver thereof, B.P.J. admits

  that the two hypothetical groups of people would have on average the same levels of circulating

  testosterone but denies that they would be similarly situated for purposes of Title IX and the Equal

  Protection Clause.

  Request for Admission No. 46:



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     46. You have alleged that “[g]irls who are transgender are similarly situated to cisgender girls

         (as opposed to cisgender boys) for purposes of participating on sex-separated school

         athletic teams.” First Am. Compl. ¶ 39. Admit that for purposes of participating on sex

         separated school athletic teams, B.P.J. is not similarly situated to female-identifying

         biological females of the same age who have received hormone therapy to delay female

         puberty or produce masculinizing effects.

  B.P.J.’s Response to Request for Admission No. 46:

         B.P.J. objects to the phrase “female identifying biological females” as vague and

  scientifically inaccurate, and interprets the phrase to mean “cisgender girls.” B.P.J. objects to the

  phrase “similarly situated” as vague. B.P.J. objects to the request to the extent that it requires

  B.P.J. to make the counterfactual assumption that “puberty blocking treatment” can “produce

  masculinizing effects.” B.P.J. objects to this request to the extent it requires B.P.J. to make the

  counterfactual assumption that there are 11-year-old cisgender girls who receive hormone therapy

  to delay female puberty or produce masculinizing effects.

         Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

  this request for admission.

  Request for Admission No. 47:

     47. You have alleged that “[g]irls who are transgender are . . . not similarly situated to

         cisgender boys with respect to physiological characteristics associated with athletic

         performance.” First Am. Compl. ¶ 40. Admit that with respect to sex-related “physiological

         characteristics associated with athletic performance” relevant to running track or cross-

         country, B.P.J. is not similarly situated to female-identifying biological females of the same




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             age who have received puberty blocking treatment to delay female puberty or produce

             masculinizing effects.

  B.P.J.’s Response to Request for Admission No. 47:

             B.P.J. objects to the phrase “female identifying biological females” as vague and

  scientifically inaccurate, and interprets the phrase to mean “cisgender girls.” B.P.J. objects to the

  phrase “similarly situated” as vague and requires B.P.J. to make the counterfactual assumption that

  “puberty blocking treatment” can “produce masculinizing effects.” B.P.J. objects to this request

  to the extent it requires B.P.J. to make the counterfactual assumption that there are 11-year-old

  cisgender girls who receive hormone therapy to delay female puberty or produce masculinizing

  effects.

             Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

  this request for admission.

  Request for Admission No. 48:

      48. You have alleged that “[g]irls who are transgender are similarly situated to cisgender girls

             (as opposed to cisgender boys) for purposes of participating on sex-separated school

             athletic teams.” First Am. Compl. ¶ 39. Admit that for purposes of participating on sex-

             separated school athletic teams, B.P.J. is not similarly situated to biological female students

             of the same age who have received puberty blocking treatment to delay female puberty or

             produce masculinizing effects, regardless of the students’ gender identity.

  B.P.J.’s Response to Request for Admission No. 48:

             B.P.J. objects to the phrase “biological female students” as vague and scientifically

  inaccurate, and interprets the phrase to mean “students who were assigned a female sex at birth.”




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         B.P.J. objects to the phrase “similarly situated” as vague. B.P.J. objects to the request to

  the extent that it requires B.P.J. to make the counterfactual assumption that “puberty blocking

  treatment” can “produce masculinizing effects.” B.P.J. objects to this request to the extent it

  requires B.P.J. to make the counterfactual assumption that there are 11-year-old cisgender girls

  who receive hormone therapy to delay female puberty or produce masculinizing effects.

         Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

  this request for admission.

  Request for Admission No. 49:

     49. You have alleged that “[g]irls who are transgender are . . . not similarly situated to

         cisgender boys with respect to physiological characteristics associated with athletic

         performance.” First Am. Compl. ¶ 40. Admit that with respect to sex-related “physiological

         characteristics associated with athletic performance” relevant to running track or cross-

         country, B.P.J. is not similarly situated to biological female students of the same age who

         have received puberty blocking treatment to delay female puberty or produce

         masculinizing effects, regardless of the students’ gender identity.

  B.P.J.’s Response to Request for Admission No. 49:

         B.P.J. objects to the phrase “female identifying biological females” as vague and

  scientifically inaccurate, and interprets the phrase to mean “cisgender girls.” B.P.J. objects to the

  phrase “similarly situated” as vague. B.P.J. objects to the request to the extent that it requires

  B.P.J. to make the counterfactual assumption that “puberty blocking treatment” can “produce

  masculinizing effects.” B.P.J. objects to this request to the extent it requires B.P.J. to make the

  counterfactual assumption that there are 11-year-old cisgender girls who receive puberty blocking

  treatment.



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         Subject to these general and specific objections, and without waiver thereof, B.P.J. admits

  B.P.J. likely has the same circulating levels of testosterone as people of the same age who have a

  female sex assigned at birth and who receive puberty blocking treatment but denies that B.P.J. is

  similarly situated to those individuals regardless of the students’ gender identity for purposes of

  Title IX and the Equal Protection Clause.

  Request for Admission No. 50:

     50. You have alleged that “[g]irls who are transgender are similarly situated to cisgender girls

         (as opposed to cisgender boys) for purposes of participating on sex-separated school

         athletic teams.” First Am. Compl. ¶ 39. Admit that for purposes of participating on sex-

         separated school athletic teams, B.P.J. is similarly situated to male-identifying biological

         females of the same age who have not received any form of puberty blocking or other

         hormone therapy.

  B.P.J.’s Response to Request for Admission No. 50:

         B.P.J. objects to the phrase “male identifying biological females” as vague and

  scientifically inaccurate, and interprets the phrase to mean “boys who are transgender.” B.P.J.

  objects to the phrase “similarly situated” as vague.

         Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

  this request for admission.

  Request for Admission No. 51:

     51. You have alleged that “[g]irls who are transgender are . . . not similarly situated to

         cisgender boys with respect to physiological characteristics associated with athletic

         performance.” First Am. Compl. ¶ 40. Admit that with respect to any sex-related

         “physiological characteristics associated with athletic performance” relevant to running



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         track or cross country, B.P.J. is similarly situated to male-identifying biological females of

         the same age who have not received any form of puberty blocking or other hormone

         therapy.

  B.P.J.’s Response to Request for Admission No. 51:

         B.P.J. objects to the phrase “male identifying biological females” as vague and

  scientifically inaccurate, and interprets the phrase to mean “boys who are transgender.” B.P.J.

  objects to the phrase “similarly situated” as vague. B.P.J. also objects to the request as vague

  because it does not specify whether the 11-year-old people who were assigned a female sex at birth

  at issue have gone through puberty even though girls on average typically begin puberty at a

  younger age than boys on average.

         Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

  this request for admission.

  Request for Admission No. 52:

     52. You have alleged that “[g]irls who are transgender are similarly situated to cisgender girls

         (as opposed to cisgender boys) for purposes of participating on sex-separated school

         athletic teams.” Am. Compl. ¶ 39. Admit that for purposes of participating on sex-separated

         school athletic teams, B.P.J. is similarly situated to biological female students of the same

         age who have not received any form of puberty blocking or other hormone therapy,

         regardless of the students’ gender identity.

  B.P.J.’s Response to Request for Admission No. 52:

         B.P.J. objects to the phrase “biological female students” as vague and scientifically

  inaccurate, and interprets the phrase to mean “students who had a female-sex assigned at birth.”

  B.P.J. objects to the phrase “similarly situated” as vague.



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         Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

  this request for admission.

  Request for Admission No. 53:

     53. You have alleged that “[g]irls who are transgender are . . . not similarly situated to

         cisgender boys with respect to physiological characteristics associated with athletic

         performance.” First Am. Compl. ¶ 40. Admit that with respect to any sex-related

         “physiological characteristics associated with athletic performance” relevant to running

         track or cross-country, B.P.J. is similarly situated to biological female students of the same

         age who have not received any form of puberty blocking or other hormone therapy,

         regardless of the students’ gender identity.

  B.P.J.’s Response to Request for Admission No. 53:

         B.P.J. objects to the phrase “biological female students” as vague and scientifically

  inaccurate, and interprets the phrase to mean “people who were assigned a female sex at birth.”

  B.P.J. objects to the phrase “similarly situated” as vague. B.P.J. also objects to the request as

  vague because it does not specify whether the 11-year-old people who were assigned a female sex

  at birth at issue have gone through puberty even though girls on average typically begin puberty

  at a younger age than boys on average.

         Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

  this request for admission.

  Request for Admission No. 54:

     54. You have alleged that “[g]irls who are transgender are similarly situated to cisgender girls

         (as opposed to cisgender boys) for purposes of participating on sex-separated school

         athletic teams.” First Am. Compl. ¶ 39. Admit that for purposes of participating on sex-



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         separated school athletic teams, female-identifying biological male middle school students

         who have not received any form of puberty blocking or other hormone therapy are not

         similarly situated to female-identifying biological females of the same age who have

         received no puberty blocking or other hormone therapy.

  B.P.J.’s Response to Request for Admission No. 54:

         B.P.J. objects to the phrase “female-identifying biological male” as vague and scientifically

  inaccurate, and interprets the phrase to mean “girls who are transgender.” B.P.J. objects to the

  phrase “similarly situated” as vague.

         Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

  this request for admission.

  Request for Admission No. 55:

     55. You have alleged that “[g]irls who are transgender are . . . not similarly situated to

         cisgender boys with respect to physiological characteristics associated with athletic

         performance.” First Am. Compl. ¶ 40. Admit that with respect to any sex-related

         “physiological characteristics associated with athletic performance” relevant to running

         track or cross-country, female-identifying biological male middle school students who

         have not received any form of puberty blocking or other hormone therapy are not similarly

         situated to female-identifying biological females of the same age who have received no

         puberty blocking or other hormone therapy.

  B.P.J.’s Response to Request for Admission No. 55:

         B.P.J. objects to the phrase “female-identifying biological male” as vague and scientifically

  inaccurate, and interprets the phrase to mean “girls who are transgender.” B.P.J. objects to the

  phrase “female-identifying biological female” as vague and scientifically inaccurate, and interprets



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  the phrase to mean “cisgender girls.” B.P.J. objects to the phrase “similarly situated” as vague.

  B.P.J. objects to the request as vague because it does not specify whether the cisgender girls at

  issue have gone through puberty even though girls on average typically begin puberty at a younger

  age than boys on average.

         Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

  this request for admission.

  Request for Admission No. 56:

     56. You have alleged that “[g]irls who are transgender are similarly situated to cisgender girls

         (as opposed to cisgender boys) for purposes of participating on sex-separated school

         athletic teams.” First Am. Compl. ¶ 39. Admit that for purposes of participating on sex-

         separated school athletic teams, female-identifying biological male high school students

         who have not received any form of puberty blocking or other hormone therapy are not

         similarly situated to female-identifying biological females of the same age who have

         received no puberty blocking or other hormone therapy.

  B.P.J.’s Response to Request for Admission No. 56:

         B.P.J. objects to the phrase “female-identifying biological male high school students” as

  vague and scientifically inaccurate, and interprets the phrase to mean “girls who are transgender

  who are high school students.” B.P.J. objects to the phrase “female-identifying biological females”

  as vague and scientifically inaccurate, and interprets the phrase to mean “cisgender girls.” B.P.J.

  objects to the phrase “similarly situated” as vague.

         Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

  this request for admission.

  Request for Admission No. 57:



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     57. You have alleged that “[g]irls who are transgender are . . . not similarly situated to

         cisgender boys with respect to physiological characteristics associated with athletic

         performance.” First Am. Compl. ¶ 40. Admit that with respect to any sex-related

         “physiological characteristics associated with athletic performance” relevant to running

         track or cross-country, female-identifying biological male high school students who have

         not received any form of puberty blocking or other hormone therapy are not similarly

         situated to female-identifying biological females of the same age who have received no

         puberty blocking or other hormone therapy.

  B.P.J.’s Response to Request for Admission No. 57:

         B.P.J. objects to the phrase “female-identifying biological male high school students” as

  vague and scientifically inaccurate, and interprets the phrase to mean “girls who are transgender

  who are high school students.” B.P.J. objects to the phrase “female-identifying biological females”

  as vague and scientifically inaccurate, and interprets the phrase to mean “cisgender girls.” B.P.J.

  objects to the phrase “similarly situated” as vague.

         Subject to these general and specific objections, and without waiver thereof, B.P.J. admits

  that girls who are transgender who are high school students and who have not received any form

  of puberty blocking or other hormone therapy will, on average, have higher levels of circulating

  testosterone than cisgender girls who have received no puberty blocking or other hormone therapy,

  on average, but deny that the two groups are not similarly situated for purposes of Title IX and the

  Equal Protection Clause.

  Request for Admission No. 58:

     58. You have alleged that “[g]irls who are transgender are similarly situated to cisgender girls

         (as opposed to cisgender boys) for purposes of participating on sex-separated school



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         athletic teams.” First Am. Compl. ¶ 39. Admit that for purposes of participating on sex

         separated school athletic teams, biological male middle school students, regardless of

         gender identity, who have not received any form of puberty blocking or other hormone

         therapy are not similarly situated to female-identifying biological females of the same age

         who have received no puberty blocking or other hormone therapy.

  B.P.J.’s Response to Request for Admission No. 58:

         B.P.J. objects to the phrase “biological male middle school students” as vague and

  scientifically inaccurate, and interprets the phrase to mean “middle school students who had a male

  sex assigned at birth.” B.P.J. objects to the phrase “female-identifying biological females” as

  vague and scientifically inaccurate, and interprets the phrase to mean “cisgender girls.” B.P.J.

  objects to the phrase “similarly situated” as vague.

         Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

  this request for admission.

  Request for Admission No. 59:

     59. You have alleged that “[g]irls who are transgender are . . . not similarly situated to

         cisgender boys with respect to physiological characteristics associated with athletic

         performance.” First Am. Compl. ¶ 40. Admit that with respect to any sex-related

         “physiological characteristics associated with athletic performance” relevant to running

         track or cross-country, biological male middle school students, regardless of gender

         identity, who have not received any form of puberty blocking or other hormone therapy

         are not similarly situated to female identifying biological females of the same age who

         have received no puberty blocking or other hormone therapy.




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  B.P.J.’s Response to Request for Admission No. 59:

         B.P.J. objects to the phrase “biological male middle school students” as vague and

  scientifically inaccurate, and interprets the phrase to mean “middle school students who had a male

  sex assigned at birth.” B.P.J. objects to the phrase “female-identifying biological females” as

  vague and scientifically inaccurate, and interprets the phrase to mean “cisgender girls.” B.P.J.

  objects to the phrase “similarly situated” as vague. B.P.J. also objects to this request as vague

  because it does not specify whether the cisgender girls at issue have gone through puberty even

  though girls on average typically begin puberty at a younger age than boys on average.

         Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

  this request for admission.

  Request for Admission No. 60:

     60. You have alleged that “[g]irls who are transgender are similarly situated to cisgender girls

         (as opposed to cisgender boys) for purposes of participating on sex-separated school

         athletic teams.” First Am. Compl. ¶ 39. Admit that for purposes of participating on sex

         separated school athletic teams, biological male high school students, regardless of gender

         identity, who have not received any form of puberty blocking or other hormone therapy

         are not similarly situated to female-identifying biological females of the same age who

         have received no puberty blocking or other hormone therapy.

  B.P.J.’s Response to Request for Admission No. 60:

         B.P.J. objects to the phrase “biological male high school students” as vague and

  scientifically inaccurate, and interprets the phrase to mean “high school students who had a male

  sex assigned at birth.” B.P.J. objects to the phrase “female-identifying biological females” as




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  vague and scientifically inaccurate, and interprets the phrase to mean “cisgender girls.” B.P.J.

  objects to the phrase “similarly situated” as vague.

         Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

  this request for admission.

  Request for Admission No. 61:

     61. You have alleged that “[g]irls who are transgender are . . . not similarly situated to

         cisgender boys with respect to physiological characteristics associated with athletic

         performance.” First Am. Compl. ¶ 40. Admit that with respect to any sex-related

         “physiological characteristics associated with athletic performance,” Am. Compl. ¶ 40,

         relevant to running track or cross-country, biological male high school students, regardless

         of gender identity, who have not received any form of puberty blocking or other hormone

         therapy are not similarly situated to female-identifying biological females of the same age

         who have received no puberty blocking or other hormone therapy.

  B.P.J.’s Response to Request for Admission No. 61:

         B.P.J. objects to the phrase “biological male high school students” as vague and

  scientifically inaccurate, and interprets the phrase to mean “high school students who had a male

  sex assigned at birth.” B.P.J. objects to the phrase “female-identifying biological females” as

  vague and scientifically inaccurate, and interprets the phrase to mean “cisgender girls.” B.P.J.

  objects to the phrase “similarly situated” as vague.

         Subject to these general and specific objections, and without waiver thereof, B.P.J. admits

  that high school students who had a male sex assigned at birth who have not received any form of

  puberty blocking or other hormone therapy will, on average, have higher levels of circulating

  testosterone than cisgender girls of the same age who have received no puberty blocking or other



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  hormone therapy, on average, but denies that they are not similarly situated regardless of gender

  identity for purposes of Title IX and the Equal Protection Clause.

  Request for Admission No. 62:

      62. Admit that a person’s gender identity may be neither male nor female.

  B.P.J.’s Response to Request for Admission No. 62:

          Admit.

  Request for Admission No. 63:

      63. Admit that a person’s gender identity may change over time.

  B.P.J.’s Response to Request for Admission No. 63:

          Deny.

  Request for Admission No. 64:

      64. Admit that under H.B. 3293, a male-identifying biological male athlete is precluded from

          participating on sex-separated female sports teams regardless of the quantity of circulating

          testosterone in this individual’s body.

  B.P.J.’s Response to Request for Admission No. 64:

          B.P.J. objects to the phrase “male-identifying biological male” as vague and scientifically

  inaccurate, and interprets the phrase to mean “cisgender boy.” B.P.J. further objects to the phrase

  “under H.B. 3293” as vague and interprets the phrase to mean the period of time after H.B. 3293

  was enacted.

          Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

  this request for admission because cisgender boys were already precluded from participating on

  sex-separated female sports before H.B. 3293 was enacted, but admits that H.B. 3293 continues

  this existing policy.



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  Request for Admission No. 65:

      65. Admit that under H.B. 3293, a male-identifying biological male athlete is precluded from

          participating on sex-separated female sports teams regardless of the extent to which he has

          (or has not) experienced endogenous male puberty.

  B.P.J.’s Response to Request for Admission No. 65:

          B.P.J. objects to the phrase “male-identifying biological male” as vague and scientifically

  inaccurate, and interprets the phrase to mean “cisgender boy.” B.P.J. further objects to the phrase

  “under H.B. 3293” as vague and interprets the phrase to mean the period of time after H.B. 3293

  was enacted.

          Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

  this request for admission because cisgender boys were already precluded from participating on

  sex-separated female sports before H.B. 3293 was enacted, but admits that H.B. 3293 continues

  this existing policy.

  Request for Admission No. 66:

      66. Admit that under H.B. 3293, a male-identifying biological male athlete is precluded from

          participating on sex-separated female sports teams regardless of athletic ability.

  B.P.J.’s Response to Request for Admission No. 66:

          B.P.J. objects to the phrase “male-identifying biological male” as vague and scientifically

  inaccurate, and interprets the phrase to mean “cisgender boy.” B.P.J. further objects to the phrase

  “under H.B. 3293” as vague and interprets the phrase to mean the period of time after H.B. 3293

  was enacted.

          Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

  this request for admission because cisgender boys were already precluded from participating on



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  sex-separated female sports before H.B. 3293 was enacted, but admits that H.B. 3293 continues

  this existing policy.

  Request for Admission No. 67:

      67. Admit that in the absence of medical intervention, endogenous male puberty provides, at

          the “population level” (as this term is used in First Am. Compl. ¶ 40), benefits in athletic

          performance not obtained by people who do not experience male puberty.

  B.P.J.’s Response to Request for Admission No. 67:

          B.P.J. objects to the phrase “benefits in athletic performance” as vague because it does not

  specify the stage of puberty or the athletic competition at issue. B.P.J. also objects to the phrase

  “medical intervention” as vague.

          Subject to these general and specific objections, and without waiver thereof, B.P.J. cannot

  admit or deny this request for admission because there have not been sufficient studies across all

  athletes of all ages in all sports at all levels to determine whether there are average differences in

  performance between individuals who have gone through endogenous male puberty and not

  received medical intervention compared to people who have not experienced male puberty

  including in light of other possible factors.

  Request for Admission No. 68:

      68. Admit that the State of West Virginia has a significant governmental interest in promoting

          equal athletic opportunities for people born with the physiological characteristics

          associated with the female sex.

  B.P.J.’s Response to Request for Admission No. 68:

          B.P.J. objects to the phrase “significant governmental interest” as vague. B.P.J. objects to

  the phrase “promoting equal athletic opportunities for people born with the physiological



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  characteristics associated with the female sex” as vague because it does not specify the comparator

  group.

           Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

  this request for admission.

  Request for Admission No. 69:

     69. Admit that gender identity, divorced from all forms of hormone therapy or other

           pharmacological treatment, has no independent effect on athletic ability.

  B.P.J.’s Response to Request for Admission No. 69:

           B.P.J. objects to the phrases “independent effect” and “athletic ability” as vague.

           Subject to these general and specific objections, and without waiver thereof, B.P.J. denies

  this request for admission.


   Dated: February 7, 2022                            Respectfully submitted,
                                                      /s/ Loree Stark
   Joshua Block*
   Taylor Brown*                                      Loree Stark (Bar No. 12936)
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                WKHUHDVRQVVXSSRUWLQJ\RXUFRQWHQWLRQLQFOXGLQJDOOPDWHULDOIDFWVVXSSRUWLQJWKHP

  %3-¶V5HVSRQVH7R,QWHUURJDWRU\1R

             %3-LQFRUSRUDWHVWKHJHQHUDO DQGVSHFLILFREMHFWLRQVFRQWDLQHGLQ%3-¶VUHVSRQVHWR

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             6XEMHFWWRDQGZLWKRXWZDLYLQJWKHVHJHQHUDODQGVSHFLILFREMHFWLRQV%3-VWDWHVWKDWVKH

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  %3-¶V5HVSRQVH7R,QWHUURJDWRU\1R

             %3-LQFRUSRUDWHVWKHJHQHUDO DQGVSHFLILFREMHFWLRQVFRQWDLQHGLQ%3-¶VUHVSRQVHWR

  ,QWHUYHQRU¶V5HTXHVWIRU$GPLVVLRQ1R

             6XEMHFWWRDQGZLWKRXWZDLYLQJWKHVHJHQHUDODQGVSHFLILFREMHFWLRQV%3-VWDWHVWKDWVKH

  GHQLHV 5HTXHVW IRU $GPLVVLRQ 1R  EHFDXVH IRU SXUSRVHV RI SDUWLFLSDWLQJ RQ VH[VHSDUDWHG

  VFKRRODWKOHWLFWHDPVFLVJHQGHUJLUOVDUHVLPLODUO\VLWXDWHGWRJLUOVZKRDUHWUDQVJHQGHUDQGQRW

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             %3-LQFRUSRUDWHVWKHJHQHUDO DQGVSHFLILFREMHFWLRQVFRQWDLQHGLQ%3-¶VUHVSRQVHWR

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             6XEMHFWWRDQGZLWKRXWZDLYLQJWKHVHJHQHUDODQGVSHFLILFREMHFWLRQV%3-VWDWHVWKDWVKH

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  VFKRRODWKOHWLFWHDPVJLUOVZKRDUHWUDQVJHQGHUDUHVLPLODUO\VLWXDWHGWRFLVJHQGHUJLUOV

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             %3-LQFRUSRUDWHVWKHJHQHUDO DQGVSHFLILFREMHFWLRQVFRQWDLQHGLQ%3-¶VUHVSRQVHWR

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             6XEMHFWWRDQGZLWKRXWZDLYLQJWKHVHJHQHUDODQGVSHFLILFREMHFWLRQV%3-VWDWHVWKDWVKH

  GHQLHV 5HTXHVWIRU$GPLVVLRQ1REHFDXVH %3- DQG WKH K\SRWKHWLFDOFLVJHQGHU JLUOLQ WKH

  5HTXHVWDUHERWKJLUOV

  ,QWHUURJDWRU\1R

            :KHWKHU\RXDGPLWRUGHQ\,QWHUYHQRU¶V5HTXHVWVIRU$GPLVVLRQ1RSOHDVHH[SODLQ

                WKHUHDVRQVVXSSRUWLQJ\RXUFRQWHQWLRQLQFOXGLQJDOOPDWHULDOIDFWVVXSSRUWLQJWKHP

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             %3-LQFRUSRUDWHVWKHJHQHUDO DQGVSHFLILFREMHFWLRQVFRQWDLQHGLQ%3-¶VUHVSRQVHWR

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             6XEMHFWWRDQGZLWKRXWZDLYLQJWKHVHJHQHUDODQGVSHFLILFREMHFWLRQV%3-IXUWKHUREMHFWV

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  VXSSRUWLQJ´DQRSSRVLQJSDUW\¶VFRQWHQWLRQWKDW%3-KDVDOUHDG\DGPLWWHG

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                WKHUHDVRQVVXSSRUWLQJ\RXUFRQWHQWLRQLQFOXGLQJDOOPDWHULDOIDFWVVXSSRUWLQJWKHP

  %3-¶V5HVSRQVH7R,QWHUURJDWRU\1R

             %3-LQFRUSRUDWHVWKHJHQHUDO DQGVSHFLILFREMHFWLRQVFRQWDLQHGLQ%3-¶VUHVSRQVHWR

  ,QWHUYHQRU¶V5HTXHVWIRU$GPLVVLRQ1R

             6XEMHFWWRDQGZLWKRXWZDLYLQJWKHVHJHQHUDODQGVSHFLILFREMHFWLRQV%3-VWDWHVWKDWVKH

  GHQLHV5HTXHVWIRU$GPLVVLRQ1REHFDXVHJHQGHULGHQWLW\LVGLVWLQFWIURPJHQGHUH[SUHVVLRQ

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  %3-¶V5HVSRQVH7R,QWHUURJDWRU\1R

             %3-LQFRUSRUDWHVWKHJHQHUDO DQG VSHFLILF REMHFWLRQV FRQWDLQHGLQ%3-¶VUHVSRQVHWR

  ,QWHUYHQRU¶V5HTXHVWIRU$GPLVVLRQ1R

             $VVWDWHGLQ%3-¶VUHVSRQVH%3-FDQQRWDGPLWRUGHQ\WKLV5HTXHVWEHFDXVHWKHUHKDYH

  QRW EHHQ VXIILFLHQW VWXGLHV DFURVV DOO DWKOHWHV RI DOO DJHV LQ DOO VSRUWV DW DOO OHYHOV WR GHWHUPLQH

  ZKHWKHUWKHUHDUHDYHUDJHGLIIHUHQFHVLQSHUIRUPDQFHEHWZHHQLQGLYLGXDOVZKRKDYHJRQHWKURXJK

  HQGRJHQRXVPDOHSXEHUW\DQGQRWUHFHLYHGPHGLFDOLQWHUYHQWLRQDVFRPSDUHGWRSHRSOHZKRKDYH

  QRWH[SHULHQFHGPDOHSXEHUW\LQFOXGLQJLQOLJKWRIRWKHUSRVVLEOHIDFWRUV

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                WKHUHDVRQVVXSSRUWLQJ\RXUFRQWHQWLRQLQFOXGLQJDOOPDWHULDOIDFWVVXSSRUWLQJWKHP

  %3-¶V5HVSRQVH7R,QWHUURJDWRU\1R

             %3-LQFRUSRUDWHVWKHJHQHUDO DQGVSHFLILFREMHFWLRQVFRQWDLQHGLQ%3-¶VUHVSRQVHWR

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             6XEMHFWWRDQGZLWKRXWZDLYLQJWKHVHJHQHUDODQGVSHFLILFREMHFWLRQV%3-VWDWHVWKDWVKH

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  JRYHUQPHQWDO LQWHUHVW LV LQ SURPRWLQJ HTXDO DWKOHWLF RSSRUWXQLWLHV IRU DOO SHUVRQV ZLWKRXW

  GLVFULPLQDWLRQRQWKHEDVLVRIVH[

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                WKHUHDVRQVVXSSRUWLQJ\RXUFRQWHQWLRQLQFOXGLQJDOOPDWHULDOIDFWVVXSSRUWLQJWKHP




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  %3-¶V5HVSRQVH7R,QWHUURJDWRU\1R

             %3-LQFRUSRUDWHVWKHJHQHUDO DQGVSHFLILFREMHFWLRQVFRQWDLQHGLQ%3-¶VUHVSRQVHWR

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             6XEMHFWWRDQGZLWKRXWZDLYLQJWKHVHJHQHUDODQGVSHFLILFREMHFWLRQV%3-VWDWHVWKDWVKH

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  IURPSDUWLFLSDWLQJLQVSRUWVGHVLJQDWHGIRUZRPHQRUJLUOVEHIRUH+%ZDVHQDFWHG

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                DIIHFW WKH DELOLW\ RI FLVJHQGHU ER\V DQG PHQ WR SOD\ RQ VSRUWV WHDPV GHVLJQDWHG IRU

                IHPDOHVZRPHQRUJLUOVEHFDXVHFLVJHQGHUER\VDQGPHQZHUHDOUHDG\SURKLELWHGIURP

                GRLQJVREHIRUH+%ZDVHQDFWHG´,GHQWLI\DOOPDWHULDO:HVW9LUJLQLDODZVRU

                SROLFLHVLQHIIHFWEHIRUH+%ZDVHQDFWHGWKDW\RXFRQWHQGSURKLELWHGFLVJHQGHU

                ER\VDQGPHQIURPFRPSHWLQJRQVSRUWVWHDPVGHVLJQDWHGIRUIHPDOHVZRPHQRUJLUOV

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   E   GHSRVLWLRQ RI WKH :HVW 9LUJLQLD 6HFRQGDU\ 6FKRRO $FWLYLWLHV &RPPLVVLRQ DQG WKH

  WHVWLPRQ\JLYHQWKHUHLQ%3-DOVRUHIHUV,QWHUYHQRUWR6HFWLRQRIWKH1DWLRQDO&ROOHJLDWH

  $WKOHWLF$VVRFLDWLRQ+DQGERRNVIRU'LYLVLRQV,WKURXJK,,,

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                H[FOXGHDELRORJLFDOPDOHZKRLGHQWLILHVDVDPDOHIURP:HVW9LUJLQLDVSRUWVWHDPV

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          %3- REMHFWV WR WKH SKUDVH ³D ELRORJLFDO PDOH ZKR LGHQWLILHV DV PDOH´ DV YDJXH DQG

  VFLHQWLILFDOO\ LQDFFXUDWH DQG LQWHUSUHWV WKH SKUDVH WR PHDQ ³D FLVJHQGHU ER\ DQG PDQ´  %3-

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          6XEMHFWWRDQGZLWKRXWZDLYLQJWKHVHJHQHUDODQGVSHFLILFREMHFWLRQV%3-VWDWHVWKDW+%

  GRHVQRWDGYDQFHDQ\JRYHUQPHQWLQWHUHVWVZKHQDSSOLHGWRH[FOXGHDFLVJHQGHUER\RUPDQ

  IURPVSRUWVWHDPVGHVLJQDWHGIRUZRPHQRUJLUOVEHFDXVHFLVJHQGHUER\VDQGPHQZHUHDOUHDG\

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  UHVSRQGVWRWKHVSHFLILF5HTXHVWVRI,QWHUYHQRU¶V6HFRQGDQG7KLUG6HWVRI5HTXHVWVIRU$GPLVVLRQ

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              ZKRLGHQWLI\DVPDOHIURP:HVW9LUJLQLDVSRUWVGHVLJQDWHGIRUZRPHQRUJLUOV

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         %3- REMHFWV WR WKH SKUDVH ³PDOHV ZKR LGHQWLI\ DV PDOH´ DV YDJXH DQG VFLHQWLILFDOO\

  LQDFFXUDWH DQG LQWHUSUHWV WKH SKUDVH WR PHDQ ³FLVJHQGHU ER\V´  %3- REMHFWV WR WKH SKUDVH

  ³LPSRUWDQWJRYHUQPHQWDOLQWHUHVW´DVYDJXH6XEMHFWWRWKHVHJHQHUDODQGVSHFLILFREMHFWLRQVDQG

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         <RXKDYHDOOHJHGWKDW³>J@LUOV ZKR DUH WUDQVJHQGHU DUH    QRW VLPLODUO\ VLWXDWHG WR

              FLVJHQGHU ER\V ZLWK UHVSHFW WR SK\VLRORJLFDO FKDUDFWHULVWLFV DVVRFLDWHG ZLWK DWKOHWLF

              SHUIRUPDQFH´ )LUVW $P &RPSO   $GPLW WKDW ZLWK UHVSHFW WR DQ\ VH[UHODWHG

              ³SK\VLRORJLFDOFKDUDFWHULVWLFVDVVRFLDWHGZLWKDWKOHWLFSHUIRUPDQFH´UHOHYDQWWRUXQQLQJ

              WUDFNRUFURVVFRXQWU\%3-LVQRWVLPLODUO\VLWXDWHGWRIHPDOHLGHQWLI\LQJELRORJLFDO

              PDOHVRIWKHVDPHDJHZKRKDYHQRWUHFHLYHGDQ\IRUPRISXEHUW\EORFNLQJRURWKHU

              KRUPRQHWKHUDS\DQGKDYHQRWEHJXQHQGRJHQRXVPDOHSXEHUW\

  %3-¶V5HVSRQVH7R5HTXHVWIRU$GPLVVLRQ1R

          %3- REMHFWV WR WKH SKUDVH ³IHPDOHLGHQWLI\LQJ ELRORJLFDO PDOH VWXGHQWV´ DV YDJXH DQG

  VFLHQWLILFDOO\LQDFFXUDWHDQGLQWHUSUHWVWKHSKUDVHWRPHDQ³VWXGHQWVZKRDUHWUDQVJHQGHUJLUOV´

  %3-REMHFWVWRWKHSKUDVH³VLPLODUO\VLWXDWHG´DVYDJXH

          6XEMHFWWRWKHVHJHQHUDODQGVSHFLILFREMHFWLRQVDQGZLWKRXWZDLYHUWKHUHRI%3-GHQLHV

  WKLV5HTXHVW

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         <RXKDYHDOOHJHGWKDW³>J@LUOV ZKR DUH WUDQVJHQGHU DUH    QRW VLPLODUO\ VLWXDWHG WR

              FLVJHQGHU ER\V ZLWK UHVSHFW WR SK\VLRORJLFDO FKDUDFWHULVWLFV DVVRFLDWHG ZLWK DWKOHWLF

              SHUIRUPDQFH´ )LUVW $P &RPSO   $GPLW WKDW ZLWK UHVSHFW WR DQ\ VH[UHODWHG

              ³SK\VLRORJLFDOFKDUDFWHULVWLFVDVVRFLDWHGZLWKDWKOHWLFSHUIRUPDQFH´UHOHYDQWWRUXQQLQJ

              WUDFNRUFURVVFRXQWU\%3-LVQRWVLPLODUO\VLWXDWHGWRIHPDOHLGHQWLI\LQJELRORJLFDO

              PDOHVRIWKHVDPHDJHZKRKDYHQRWUHFHLYHGDQ\IRUPRISXEHUW\EORFNLQJRURWKHU

              KRUPRQHWKHUDS\DQGKDYHEHJXQHQGRJHQRXVPDOHSXEHUW\




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  %3-¶V5HVSRQVH7R5HTXHVWIRU$GPLVVLRQ1R

          %3- REMHFWV WR WKH SKUDVH ³IHPDOHLGHQWLI\LQJ ELRORJLFDO PDOH VWXGHQWV´ DV YDJXH DQG

  VFLHQWLILFDOO\LQDFFXUDWHDQGLQWHUSUHWVWKHSKUDVHWRPHDQ³VWXGHQWVZKRDUHWUDQVJHQGHUJLUOV´

  %3- REMHFWVWRWKHSKUDVH³VLPLODUO\VLWXDWHG´ DVYDJXH%3-REMHFWVWRWKLV5HTXHVWWR WKH

  H[WHQWLWUHTXLUHV%3-WRPDNHDVVXPSWLRQVDERXWWKHVH[UHODWHGSK\VLRORJLFDOFKDUDFWHULVWLFV

  DVVRFLDWHGZLWKDWKOHWLFSHUIRUPDQFHRIDK\SRWKHWLFDOJLUOZKRLVWUDQVJHQGHU

          6XEMHFWWRWKHVHJHQHUDODQGVSHFLILFREMHFWLRQVDQGZLWKRXWZDLYHUWKHUHRI%3-DGPLWV

  WKDWJLUOVZKRDUHWUDQVJHQGHURIWKHVDPHDJHZKRKDYHQRWUHFHLYHGDQ\IRUPRISXEHUW\EORFNLQJ

  RURWKHUKRUPRQHWKHUDS\DQGKDYHEHJXQHQGRJHQRXVPDOHSXEHUW\PD\QRWKDYHWKHVDPHVH[

  UHODWHGSK\VLRORJLFDOFKDUDFWHULVWLFVDVVRFLDWHGZLWKDWKOHWLFSHUIRUPDQFHUHOHYDQWWRUXQQLQJWUDFN

  RUFURVVFRXQWU\DV%3-%3-GHQLHVWKDWWKHWZRJURXSVDUHQRWVLPLODUO\VLWXDWHGIRUSXUSRVHV

  RI7LWOH,;RUWKH(TXDO3URWHFWLRQ&ODXVH

  5HTXHVWIRU$GPLVVLRQ1R

         <RXKDYHDOOHJHGWKDW³>J@LUOV ZKR DUH WUDQVJHQGHU DUH    QRW VLPLODUO\ VLWXDWHG WR

              FLVJHQGHU ER\V ZLWK UHVSHFW WR SK\VLRORJLFDO FKDUDFWHULVWLFV DVVRFLDWHG ZLWK DWKOHWLF

              SHUIRUPDQFH´ )LUVW $P &RPSO   $GPLW WKDW ZLWK UHVSHFW WR DQ\ VH[UHODWHG

              ³SK\VLRORJLFDOFKDUDFWHULVWLFVDVVRFLDWHGZLWKDWKOHWLFSHUIRUPDQFH´UHOHYDQWWRUXQQLQJ

              WUDFN RU FURVVFRXQWU\ PLGGOH VFKRRO PDOHLGHQWLI\LQJ PDOH VWXGHQWV ZKR UHFHLYHG

              SXEHUW\EORFNLQJWUHDWPHQWWKDWHIIHFWLYHO\GHOD\HGPDOHSXEHUW\DUHVLPLODUO\VLWXDWHG

              WR PLGGOH VFKRRO IHPDOHLGHQWLI\LQJ IHPDOHV RI WKH VDPH DJH ZKR KDYH UHFHLYHG QR

              SXEHUW\EORFNLQJWUHDWPHQWDQGKDYHQRWEHJXQHQGRJHQRXVIHPDOHSXEHUW\




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  %3-¶V5HVSRQVH7R5HTXHVWIRU$GPLVVLRQ1R

          %3-REMHFWVWRWKHSKUDVH³PDOHLGHQWLI\LQJPDOHVWXGHQWV´DVYDJXHDQGVFLHQWLILFDOO\

  LQDFFXUDWHDQGLQWHUSUHWVWKHSKUDVHWRPHDQ³VWXGHQWVZKRDUHFLVJHQGHUER\V´%3-REMHFWVWR

  WKH SKUDVH ³IHPDOHLGHQWLI\LQJ IHPDOH VWXGHQWV´ DV YDJXH DQG VFLHQWLILFDOO\ LQDFFXUDWH DQG

  LQWHUSUHWV WKH SKUDVH WR PHDQ ³VWXGHQWV ZKR DUH FLVJHQGHU JLUOV´  %3- REMHFWV WR WKH SKUDVH

  ³VLPLODUO\VLWXDWHG´DVYDJXH%3-REMHFWVWRWKLV5HTXHVWWRWKHH[WHQWWKDWLWUHTXLUHV%3-WR

  PDNHWKHFRXQWHUIDFWXDODVVXPSWLRQWKDWWKHUHDUHFLVJHQGHUER\VLQPLGGOHVFKRROZKRUHFHLYH

  SXEHUW\EORFNLQJWUHDWPHQWWKDWHIIHFWLYHO\GHOD\PDOHSXEHUW\

          6XEMHFWWRWKHVHJHQHUDODQGVSHFLILFREMHFWLRQVDQGZLWKRXWZDLYHUWKHUHRI%3-DGPLWV

  WKDW FLVJHQGHUER\VZKRKDYHQRW \HWEHJXQSXEHUW\ ZRXOGRQDYHUDJH KDYHVLPLODUOHYHOV RI

  FLUFXODWLQJWHVWRVWHURQHDVFLVJHQGHUJLUOVRIWKHVDPHDJHZKRKDYHQRWEHJXQSXEHUW\EXWGHQLHV

  WKDWWKHWZRJURXSVDUHVLPLODUO\VLWXDWHGIRUSXUSRVHVRI7LWOH,;RUWKH(TXDO3URWHFWLRQ&ODXVH

  5HTXHVWIRU$GPLVVLRQ1R

         <RXKDYHDOOHJHGWKDW³>J@LUOV ZKR DUH WUDQVJHQGHU DUH    QRW VLPLODUO\ VLWXDWHG WR

              FLVJHQGHU ER\V ZLWK UHVSHFW WR SK\VLRORJLFDO FKDUDFWHULVWLFV DVVRFLDWHG ZLWK DWKOHWLF

              SHUIRUPDQFH´ )LUVW $P &RPSO   $GPLW WKDW ZLWK UHVSHFW WR DQ\ VH[UHODWHG

              ³SK\VLRORJLFDOFKDUDFWHULVWLFVDVVRFLDWHGZLWKDWKOHWLFSHUIRUPDQFH´UHOHYDQWWRUXQQLQJ

              WUDFN RU FURVVFRXQWU\ PLGGOH VFKRRO PDOHLGHQWLI\LQJ PDOH VWXGHQWV ZKR UHFHLYHG

              SXEHUW\EORFNLQJWUHDWPHQWWKDWHIIHFWLYHO\GHOD\HGPDOHSXEHUW\DUHVLPLODUO\VLWXDWHG

              WR PLGGOH VFKRRO IHPDOHLGHQWLI\LQJ IHPDOHV RI WKH VDPH DJH ZKR KDYH UHFHLYHG QR

              SXEHUW\EORFNLQJWUHDWPHQWDQGKDYHEHJXQHQGRJHQRXVIHPDOHSXEHUW\




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  %3-¶V5HVSRQVH7R5HTXHVWIRU$GPLVVLRQ1R

             %3-REMHFWVWRWKHSKUDVH³PDOHLGHQWLI\LQJPDOHVWXGHQWV´DVYDJXHDQGVFLHQWLILFDOO\

  LQDFFXUDWHDQGLQWHUSUHWVWKHSKUDVHWRPHDQ³VWXGHQWVZKRDUHFLVJHQGHUER\V´%3-REMHFWVWR

  WKH SKUDVH ³IHPDOHLGHQWLI\LQJ IHPDOH VWXGHQWV´ DV YDJXH DQG VFLHQWLILFDOO\ LQDFFXUDWH DQG

  LQWHUSUHWV WKH SKUDVH WR PHDQ ³VWXGHQWV ZKR DUH FLVJHQGHU JLUOV´  %3- REMHFWV WR WKH SKUDVH

  ³VLPLODUO\VLWXDWHG´DVYDJXH%3-REMHFWVWRWKLV5HTXHVWWRWKHH[WHQWWKDWLWUHTXLUHV%3-WR

  PDNHWKHFRXQWHUIDFWXDODVVXPSWLRQWKDWWKHUHDUHFLVJHQGHUER\VLQPLGGOHVFKRROZKRUHFHLYH

  SXEHUW\EORFNLQJWUHDWPHQWWKDWHIIHFWLYHO\GHOD\PDOHSXEHUW\

             6XEMHFWWRWKHVHJHQHUDODQGVSHFLILFREMHFWLRQVDQGZLWKRXWZDLYHUWKHUHRI%3-GHQLHV

  WKLV5HTXHVW

  5HTXHVWIRU$GPLVVLRQ1R

            <RXKDYHDOOHJHGWKDW³>J@LUOVZKRDUHWUDQVJHQGHUDUHQRWVLPLODUO\VLWXDWHGWR

                FLVJHQGHU ER\V ZLWK UHVSHFW WR SK\VLRORJLFDO FKDUDFWHULVWLFV DVVRFLDWHG ZLWK DWKOHWLF

                SHUIRUPDQFH´ )LUVW $P &RPSO   $GPLW WKDW ZLWK UHVSHFW WR DQ\ VH[UHODWHG

                ³SK\VLRORJLFDOFKDUDFWHULVWLFVDVVRFLDWHGZLWKDWKOHWLFSHUIRUPDQFH´UHOHYDQWWRUXQQLQJ

                WUDFN RU FURVVFRXQWU\ ELRORJLFDOPDOHPLGGOHVFKRROVWXGHQWV UHJDUGOHVV RI JHQGHU

                LGHQWLW\ ZKR UHFHLYHG SXEHUW\ EORFNLQJ WUHDWPHQW WKDW HIIHFWLYHO\ GHOD\HG PDOH

                SXEHUW\ DUH VLPLODUO\ VLWXDWHG WR IHPDOHLGHQWLI\LQJ IHPDOHV RI WKH VDPH DJH ZKR

                UHFHLYHG QR SXEHUW\ EORFNLQJ WUHDWPHQW DQG KDYH QRW EHJXQ HQGRJHQRXV IHPDOH

                SXEHUW\

  %3-¶V5HVSRQVH7R5HTXHVWIRU$GPLVVLRQ1R

             %3- REMHFWV WR WKH SKUDVH ³ELRORJLFDO PDOH PLGGOH VFKRRO VWXGHQWV´ DV YDJXH DQG

  VFLHQWLILFDOO\LQDFFXUDWHDQGLQWHUSUHWVWKHSKUDVHWRPHDQ³PLGGOHVFKRROVWXGHQWVZLWKDPDOHVH[




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  DVVLJQHG DW ELUWK´  %3- REMHFWV WR WKH SKUDVH ³IHPDOHLGHQWLI\LQJ IHPDOH´ DV YDJXH DQG

  VFLHQWLILFDOO\LQDFFXUDWHDQGLQWHUSUHWVWKHSKUDVHWRPHDQ³FLVJHQGHUJLUOV´%3-REMHFWVWRWKH

  SKUDVH³VLPLODUO\VLWXDWHG´DVYDJXH%3-REMHFWVWRWKLV5HTXHVWWRWKHH[WHQWWKDWLWUHTXLUHV

  %3-WRPDNHWKHFRXQWHUIDFWXDODVVXPSWLRQWKDWWKHUHDUHFLVJHQGHUER\VLQPLGGOHVFKRROZKR

  UHFHLYHSXEHUW\EORFNLQJWUHDWPHQWWKDWHIIHFWLYHO\GHOD\PDOHSXEHUW\

          6XEMHFWWRWKHVHJHQHUDODQGVSHFLILFREMHFWLRQVDQGZLWKRXWZDLYHUWKHUHRI%3-DGPLWV

  WKDWPLGGOHVFKRROVWXGHQWVZLWKDPDOHVH[DVVLJQHGDWELUWKZKRKDYH QRW \HWEHJXQSXEHUW\

  ZRXOGRQDYHUDJHKDYHVLPLODUOHYHOVRIFLUFXODWLQJWHVWRVWHURQHDVFLVJHQGHUJLUOVRIWKHVDPH

  DJHZKRKDYHQRWEHJXQSXEHUW\EXWGHQLHVWKDWWKHWZRJURXSVDUHVLPLODUO\VLWXDWHGIRUSXUSRVHV

  RI7LWOH,;RUWKH(TXDO3URWHFWLRQ&ODXVHUHJDUGOHVVRIJHQGHULGHQWLW\

  5HTXHVWIRU$GPLVVLRQ1R

         <RXKDYHDOOHJHGWKDW³>J@LUOV ZKR DUH WUDQVJHQGHU DUH    QRW VLPLODUO\ VLWXDWHG WR

              FLVJHQGHU ER\V ZLWK UHVSHFW WR SK\VLRORJLFDO FKDUDFWHULVWLFV DVVRFLDWHG ZLWK DWKOHWLF

              SHUIRUPDQFH´ )LUVW $P &RPSO   $GPLW WKDW ZLWK UHVSHFW WR DQ\ VH[UHODWHG

              ³SK\VLRORJLFDOFKDUDFWHULVWLFVDVVRFLDWHGZLWKDWKOHWLFSHUIRUPDQFH´UHOHYDQWWRUXQQLQJ

              WUDFN RU FURVVFRXQWU\ ELRORJLFDOPDOHPLGGOHVFKRROVWXGHQWV UHJDUGOHVV RI JHQGHU

              LGHQWLW\ ZKR UHFHLYHG SXEHUW\ EORFNLQJ WUHDWPHQW WKDW HIIHFWLYHO\ GHOD\HG PDOH

              SXEHUW\ DUH VLPLODUO\ VLWXDWHG WR IHPDOHLGHQWLI\LQJ IHPDOHV RI WKH VDPH DJH ZKR

              UHFHLYHGQRSXEHUW\EORFNLQJWUHDWPHQWDQGKDYHEHJXQHQGRJHQRXVIHPDOHSXEHUW\

  %3-¶V5HVSRQVH7R5HTXHVWIRU$GPLVVLRQ1R

          %3- REMHFWV WR WKH SKUDVH ³ELRORJLFDO PDOH PLGGOH VFKRRO VWXGHQWV´ DV YDJXH DQG

  VFLHQWLILFDOO\LQDFFXUDWHDQGLQWHUSUHWVWKHSKUDVHWRPHDQ³PLGGOHVFKRROVWXGHQWVZLWKDPDOHVH[

  DVVLJQHG DW ELUWK´  %3- REMHFWV WR WKH SKUDVH ³IHPDOHLGHQWLI\LQJ IHPDOH´ DV YDJXH DQG




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  VFLHQWLILFDOO\LQDFFXUDWHDQGLQWHUSUHWVWKHSKUDVHWRPHDQ³FLVJHQGHUJLUOV´%3-REMHFWVWRWKH

  SKUDVH³VLPLODUO\VLWXDWHG´DVYDJXH%3-REMHFWVWRWKLV5HTXHVWWRWKHH[WHQWWKDWLWUHTXLUHV

  %3-WRPDNHWKHFRXQWHUIDFWXDODVVXPSWLRQWKDWWKHUHDUHFLVJHQGHUER\VLQPLGGOHVFKRROZKR

  UHFHLYHSXEHUW\EORFNLQJWUHDWPHQWWKDWHIIHFWLYHO\GHOD\PDOHSXEHUW\

          6XEMHFWWRWKHVHJHQHUDODQGVSHFLILFREMHFWLRQVDQGZLWKRXWZDLYHUWKHUHRI%3-GHQLHV

  WKLV5HTXHVW

  5HTXHVWIRU$GPLVVLRQ1R

         <RXKDYHDOOHJHGWKDW³>J@LUOV ZKR DUH WUDQVJHQGHU DUH    QRW VLPLODUO\ VLWXDWHG WR

              FLVJHQGHU ER\V ZLWK UHVSHFW WR SK\VLRORJLFDO FKDUDFWHULVWLFV DVVRFLDWHG ZLWK DWKOHWLF

              SHUIRUPDQFH´)LUVW$P&RPSO$GPLWWKDWZLWKUHVSHFWWRDQ\³SK\VLRORJLFDO

              FKDUDFWHULVWLFVDVVRFLDWHGZLWKDWKOHWLFSHUIRUPDQFH´UHOHYDQWWRUXQQLQJWUDFNRUFURVV

              FRXQWU\%3-LVQRWVLPLODUO\VLWXDWHGWRELRORJLFDOPDOHVWXGHQWVRIWKHVDPHDJHZKR

              KDYHQRWUHFHLYHGDQ\IRUPRISXEHUW\EORFNLQJRURWKHUKRUPRQHWKHUDS\UHJDUGOHVV

              RIWKHVWXGHQWV¶JHQGHULGHQWLW\DQGKDYHQRWEHJXQHQGRJHQRXVPDOHSXEHUW\

  %3-¶V5HVSRQVH7R5HTXHVWIRU$GPLVVLRQ1R

          %3- REMHFWV WR WKH SKUDVH ³ELRORJLFDO PDOH VWXGHQWV´ DV YDJXH DQG VFLHQWLILFDOO\

  LQDFFXUDWHDQGLQWHUSUHWVWKHSKUDVHWRPHDQ³VWXGHQWVZLWKDPDOHVH[DVVLJQHGDWELUWK´%3-

  REMHFWVWRWKHSKUDVH³VLPLODUO\VLWXDWHG´DVYDJXH

          6XEMHFWWRWKHVHJHQHUDODQGVSHFLILFREMHFWLRQVDQGZLWKRXWZDLYHUWKHUHRI%3-GHQLHV

  WKLV5HTXHVW

  5HTXHVWIRU$GPLVVLRQ1R

         <RXKDYHDOOHJHGWKDW³>J@LUOV ZKR DUH WUDQVJHQGHU DUH    QRW VLPLODUO\ VLWXDWHG WR

              FLVJHQGHU ER\V ZLWK UHVSHFW WR SK\VLRORJLFDO FKDUDFWHULVWLFV DVVRFLDWHG ZLWK DWKOHWLF




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               SHUIRUPDQFH´)LUVW$P&RPSO$GPLWWKDWZLWKUHVSHFWWRDQ\³SK\VLRORJLFDO

               FKDUDFWHULVWLFVDVVRFLDWHGZLWKDWKOHWLFSHUIRUPDQFH´UHOHYDQWWRUXQQLQJWUDFNRUFURVV

               FRXQWU\%3-LVQRWVLPLODUO\VLWXDWHGWRELRORJLFDOPDOHVWXGHQWVRIWKHVDPHDJHZKR

               KDYHQRWUHFHLYHGDQ\IRUPRISXEHUW\EORFNLQJRURWKHUKRUPRQHWKHUDS\UHJDUGOHVV

               RIWKHVWXGHQWV¶JHQGHULGHQWLW\DQGKDYHEHJXQHQGRJHQRXVPDOHSXEHUW\

  %3-¶V5HVSRQVH7R5HTXHVWIRU$GPLVVLRQ1R

          %3- REMHFWV WR WKH SKUDVH ³ELRORJLFDO PDOH VWXGHQWV´ DV YDJXH DQG VFLHQWLILFDOO\

  LQDFFXUDWHDQGLQWHUSUHWVWKHSKUDVHWRPHDQ³VWXGHQWVZLWKDPDOHVH[DVVLJQHGDWELUWK´%3-

  REMHFWVWRWKHSKUDVH³VLPLODUO\VLWXDWHG´DVYDJXH

          6XEMHFWWRWKHVHJHQHUDODQGVSHFLILFREMHFWLRQVDQGZLWKRXWZDLYHUWKHUHRI%3-DGPLWV

  WKDWVWXGHQWVZLWKDPDOHVH[DVVLJQHGDWELUWKZKRKDYHEHJXQHQGRJHQRXVPDOHSXEHUW\ZRXOG

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                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                 CHARLESTON DIVISION

  B.P.J., by her next friend and mother,
  HEATHER JACKSON,

                                       Plaintiff,

  v.                                                        Civil Action No. 2:21-cv-00316
                                                     Hon. Joseph R. Goodwin, District Judge

  WEST VIRGINIA STATE BOARD OF
  EDUCATION, HARRISON COUNTY BOARD
  OF EDUCATION, WEST VIRGINIA
  SECONDARY SCHOOL ACTIVITIES
  COMMISSION, W. CLAYTON BURCH in his
  official capacity as State Superintendent,
  DORA STUTLER in her official capacity as
  Harrison County Superintendent, PATRICK
  MORRISEY in his official capacity as Attorney
  General, and THE STATE OF WEST VIRGINIA,

                                       Defendants,

  and

  LAINEY ARMISTEAD,

                                       Defendant-Intervenor.

   DEFENDANT HARRISON COUNTY BOARD OF EDUCATION’S RESPONSES AND
    OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR ADMISSION

                 Pursuant to Rule 36 of the Federal Rules of Civil Procedure, Defendant Harrison

  County Board of Education (“County Board”) hereby responds and objects to “Plaintiff’s Second

  Set of Requests for Admission to Defendant Harrison County Board of Education” as follows:

                 GENERAL OBJECTION: The County Board objects to the definitions of

  “County Board” and “County Superintendent” as set forth in Plaintiff’s requests for admission.

  Those definitions are overly broad and outside the permissible scope of discovery under the



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  Federal Rules of Civil Procedure as the definitions improperly broaden the identity of parties in

  this case. For instance, the definitions of the “County Board” and the “County Superintendent”

  also include their “officers, directors, employees, partners, corporate parent, subsidiaries, affiliates,

  attorneys, accountants, consultants, representatives and agents.” The County Board objects to

  providing responses pursuant to the broadened definitions of “County Board” and “County

  Superintendent.” The County Board further objects to the Definitions and Instructions set forth in

  Plaintiff’s requests to the extent they are inconsistent with the Federal Rules of Civil Procedure or

  applicable law.


                  REQUEST NO. 5:          Admit that Plaintiff B.P.J. has been diagnosed with gender

  dysphoria.

                  RESPONSE:               The County Board admits that medical records produced in

  this case state that Plaintiff B.P.J. has been diagnosed with gender dysphoria.


                  REQUEST NO. 6:          Admit that in 2021 Plaintiff B.P.J. was a member of

  Bridgeport Middle School’s girls’ cross-country team.

                  RESPONSE:               Admitted.


                  REQUEST NO. 7:          Admit that Plaintiff B.P.J. placed 51 out of 66 competitors

  in the girls’ middle school cross country Mountain Hollar MS Invitational meet in 2021.

                  RESPONSE:               Upon information and belief, and based on information

  provided on RunWV.com regarding the results of the race, the County Board admits this request.




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                 REQUEST NO. 8:          Admit that Plaintiff B.P.J. placed 123 out of 150 competitors

  in the girls’ middle school cross country Doddridge Invitational meet in 2021.

                 RESPONSE:               Upon information and belief, and based on information

  provided on RunWV.com regarding the results of the race, the County Board admits this request.


                 REQUEST NO. 9:          Admit that you have not received any complaints associated

  with Plaintiff B.P.J.’s membership on Bridgeport Middle School’s girls’ cross country team.

                 RESPONSE:               Admitted.


                 REQUEST NO. 10: Admit that no middle school girl was harmed as a result of

  B.P.J.’s participation on Bridgeport Middle School’s girls’ cross country team in 2021.

                 RESPONSE:               OBJECTION. The County Board objects to this request

  because it is vague. The County Board does not know what Plaintiff means by the term “harmed.”

  Subject to and without waiving the objection, the County Board admits that no student was cut

  from the Bridgeport Middle School’s girls’ cross country team in 2021. The County Board

  otherwise denies this request because it is unclear what Plaintiff is asking.


                 REQUEST NO. 11: Admit that no middle school girl was injured as a result of

  Plaintiff B.P.J.’s participation on Bridgeport Middle School’s girls’ cross country team in 2021.

                 RESPONSE:               OBJECTION. The County Board objects to this request

  because it is vague. The County Board does not know what Plaintiff means by the term “injured.”

  Subject to and without waiving the objection, the County Board admits that no student was cut

  from the Bridgeport Middle School’s girls’ cross country team in 2021. The County Board

  otherwise denies this request because it is unclear what Plaintiff is asking.




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                 REQUEST NO. 12: Admit that no Bridgeport Middle School girl student was

  prohibited from joining Bridgeport Middle School’s girls’ cross-country team in 2021.

                 RESPONSE:              Admitted.


                 REQUEST NO. 13: Admit that Bridgeport Middle School’s girls’ cross-country

  team did not turn anyone away from participating due to lack of space on the roster in 2021.

                 RESPONSE:              Admitted.


                 REQUEST NO. 14: Admit that Plaintiff B.P.J. does not have an unfair athletic

  advantage over other girls participating on the Bridgeport Middle School girls’ cross-country team.

                 RESPONSE:              Even with a reasonable inquiry, the County Board cannot

  admit or deny this request because the information it knows or can readily obtain is insufficient to

  enable the County Board to admit or deny the request.


                 REQUEST NO. 15: Admit that Plaintiff B.P.J. does not have an unfair athletic

  advantage over girls competing against the Bridgeport Middle School girls’ cross-country team.

                 RESPONSE:              Even with a reasonable inquiry, the County Board cannot

  admit or deny this request because the information it knows or can readily obtain is insufficient to

  enable the County Board to admit or deny the request.


                 REQUEST NO. 16: Admit that cross country is a sport that requires “competitive

  skill” as that phrase is used in H.B. 3293 (codified at Code of West Virginia §18-2-25d(c)(2)).

                 RESPONSE:              OBJECTION. The County Board objects to the extent this

  request is seeking a legal conclusion. Subject to and without waiving the objection, the County

  Board cannot admit or deny this request because “competitive skill” is not defined in H.B. 3293.



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                 REQUEST NO. 17: Admit that cross country is a sport that requires “competitive

  skill” as that phrase is used in 34 C.F.R.§106.41(b).

                 RESPONSE:              OBJECTION. The County Board objects to the extent this

  request is seeking a legal conclusion. Subject to and without waiving the objection, the County

  Board cannot admit or deny this request because “competitive skill” is not defined in 34

  C.F.R.§106.41(b).


                 REQUEST NO. 18: Admit that cross country is not a “contact sport” as that

  phrase is used in H.B. 3293 (codified at Code of West Virginia §18-2-25d(c)(2)).

                 RESPONSE:              OBJECTION. The County Board objects to the extent this

  request is seeking a legal conclusion. Subject to and without waiving the objection, the County

  Board cannot admit or deny this request because “contact sport” is not defined in H.B. 3293.


                 REQUEST NO. 19: Admit that cross country is not a “contact sport” as that

  phrase is used in 34 C.F.R.§106.41(b).

                 RESPONSE:              OBJECTION. The County Board objects to the extent this

  request is seeking a legal conclusion. Subject to and without waiving the objection, the County

  Board admits that “cross country” is not specifically identified as a “contact sport” in 34

  C.F.R.§106.41(b).


                 REQUEST NO. 20: Admit that, but for the injunction issued in this case

  (Dkt. 67), Plaintiff B.P.J. would not have been permitted to be a member of Bridgeport Middle




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  School’s girls’ cross-country team in 2021 because of H.B. 3293 (codified at Code of West

  Virginia §18-2-25d(c)(2)).

                 RESPONSE:              OBJECTION. The County Board objects to the extent this

  request is seeking a legal conclusion. Subject to and without waiving the objection, the County

  Board states as follows: Because, as it is currently drafted, H.B. Bill 3293 (codified at West

  Virginia Code § 18- 2-25d) applies to public secondary schools and states that “[a]thletic teams or

  sports designated for females, women, or girls shall not be open to students of the male sex where

  selection for such teams is based upon competitive skill or the activity involved is a contact

  sport[,]” because of the definitions set forth in H.B. 3293, and absent the injunction issues in this

  case, the County Board admits this request.


                 REQUEST NO. 21: Admit that, but for the injunction issued in this case

  (Dkt. 67), Plaintiff B.P.J. would not be permitted to be a member of any girls’ athletic team offered

  at Bridgeport Middle School because of H.B. 3293 (codified at Code of West Virginia §18-2-

  25d(c)(2)).

                 RESPONSE:              OBJECTION. The County Board objects to the extent this

  request is seeking a legal conclusion. Subject to and without waiving the objection, the County

  Board states as follows: Because, as it is currently drafted, H.B. Bill 3293 (codified at West

  Virginia Code § 18- 2-25d) applies to public secondary schools and states that “[a]thletic teams or

  sports designated for females, women, or girls shall not be open to students of the male sex where

  selection for such teams is based upon competitive skill or the activity involved is a contact

  sport[,]” because of the definitions set forth in H.B. 3293, and absent the injunction issued in this

  case, the County Board admits this request.




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                 REQUEST NO. 22: Admit that H.B. 3293 prohibits Plaintiff B.P.J. from

  participating on girls’ athletic teams at all public secondary schools located in West Virginia.

                 RESPONSE:              OBJECTION. The County Board objects to the extent this

  request is seeking a legal conclusion. Subject to and without waiving the objection, the County

  Board states as follows: Because, as it is currently drafted, H.B. Bill 3293 (codified at West

  Virginia Code § 18- 2-25d) applies to public secondary schools and states that “[a]thletic teams or

  sports designated for females, women, or girls shall not be open to students of the male sex where

  selection for such teams is based upon competitive skill or the activity involved is a contact

  sport[,]” because of the definitions set forth in H.B. 3293, and absent the injunction issued in this

  case, the County Board admits this request.


                 REQUEST NO. 23: Admit that the State Board of Education and the State

  Superintendent must comply with H.B. 3293 unless enjoined from doing so by a court.

                 RESPONSE:              OBJECTION. The County Board objects to the extent this

  request is seeking a legal conclusion. Subject to and without waiving the objection, the County

  Board is not in a position to admit or deny this request because it concerns the State Board of

  Education and State Superintendent’s obligations under H.B. 3293.


                 REQUEST NO. 24: Admit that H.B. 3293 prohibits the State Board of Education

  and the State Superintendent from adopting or enforcing a policy that would allow B.P.J. to

  participate on girls’ athletic teams at Bridgeport Middle School.

                 RESPONSE:              OBJECTION. The County Board objects to the extent this

  request is seeking a legal conclusion. Subject to and without waiving the objection, the County

  Board is not in a position to admit or deny this request because it concerns the State Board of

  Education and State Superintendent’s obligations under H.B. 3293.

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                   REQUEST NO. 25: Admit that the Harrison County Board of Education and the

  Harrison County School Superintendent must comply with H.B. 3293 unless enjoined from doing

  so by a court.

                   RESPONSE:           OBJECTION. The County Board objects to the extent this

  request is seeking a legal conclusion. Subject to and without waiving the objection, the County

  Board states as follows: Because H.B. 3293 is a West Virginia State law that applies to County

  Boards of Education, including the County Board and its County Superintendent, because H.B.

  3293 provides for private causes of action, and thus imposes liability against County Boards of

  Education, like the County Board, and while the County Board and its County Superintendent did

  not devise and have not adopted H.B. Bill 3293 as their own policy, the County Board admits this

  request because, absent an injunction by a court, the County Board would be compelled and

  required to enforce H.B. Bill 3293 because it is a mandatory State law that affords the County

  Board no discretion.


                   REQUEST NO. 26: Admit that H.B. 3293 prohibits the Harrison County Board

  of Education and the Harrison County Superintendent from adopting or enforcing a policy that

  would allow B.P.J. to participate on girls’ athletic teams at Bridgeport Middle School.

                   RESPONSE:           OBJECTION. The County Board objects to the extent this

  request is seeking a legal conclusion. Subject to and without waiving the objection, the County

  Board states as follows: Because H.B. 3293 is a West Virginia State law that applies to County

  Boards of Education, including the County Board and its County Superintendent, because H.B.

  3293 provides for private causes of action, and thus imposes liability against County Boards of

  Education, like the County Board, and while the County Board and its County Superintendent did

  not devise and have not adopted H.B. Bill 3293 as their own policy, the County Board admits this



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  request because, absent an injunction by a court, the County Board would be compelled and

  required to enforce H.B. Bill 3293 because it is a mandatory State law that affords the County

  Board no discretion.


                 REQUEST NO. 27: Admit that the West Virginia Secondary School Athletic

  Commission must comply with H.B. 3293 unless enjoined from doing so by a court.

                 RESPONSE:             OBJECTION. The County Board objects to the extent this

  request is seeking a legal conclusion. Subject to and without waiving the objection, the County

  Board is not in a position to admit or deny this request because it concerns the West Virginia

  Secondary School Athletic Commission’s obligations under H.B. 3293.


                 REQUEST NO. 28: Admit that H.B. 3293 prohibits the West Virginia Secondary

  School Athletic Commission from adopting or enforcing a policy that would allow B.P.J. to

  participate on girls’ athletic teams at Bridgeport Middle School

                 RESPONSE:             OBJECTION. The County Board objects to the extent this

  request is seeking a legal conclusion. Subject to and without waiving the objection, the County

  Board is not in a position to admit or deny this request because it concerns the West Virginia

  Secondary School Athletic Commission’s obligations under H.B. 3293.


                 REQUEST NO. 29: Admit that there are no athletic teams designated as “coed or

  mixed,” as that phrase is used in H.B. 3293 (codified at Code of West Virginia §18-2-

  25d(c)(1)(C)), offered at Bridgeport Middle School.

                 RESPONSE:             Denied.


                 REQUEST NO. 30: Admit that there are no athletic teams designated as “coed or

  mixed,” as that phrase is used in H.B. 3293 (codified at Code of West Virginia §18-2-

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  25d(c)(1)(C)), that compete interscholastically offered at any public secondary school located in

  West Virginia.

                   RESPONSE:           Denied.


                   REQUEST NO. 31: Admit that there are no cross-country teams designated as

  “coed or mixed,” as that phrase is used in H.B. 3293 (codified at Code of West Virginia §18-2-

  25d(c)(1)(C)), that compete interscholastically offered by any member school of the West Virginia

  Secondary School Activities Commission.

                   RESPONSE:           OBJECTION. The County Board objects to the scope of

  this request. Subject to and without waiving the objection, the County Board can only answer on

  behalf of schools in Harrison County, and admits that there are no “co-ed or mixed” cross country

  teams in Harrison County.


                   REQUEST NO. 32: Admit that there are no athletic leagues designated as “coed

  or mixed,” as that phrase is used in H.B. 3293 (codified at Code of West Virginia §18-2-

  25d(c)(1)(C)), that comprise teams from more than one school supervised by the West Virginia

  Secondary School Activities Commission.

                   RESPONSE:           OBJECTION. The County Board objects to the extent this

  request is seeking a legal conclusion. Subject to and without waiving the objection, and even with

  a reasonable inquiry, the County Board cannot admit or deny this request because the information

  it knows or can readily obtain is insufficient to enable the County Board to admit or deny the

  request.


                   REQUEST NO. 33: Admit that there are no athletic teams designated as “coed or

  mixed,” as that phrase is used in H.B. 3293 (codified at Code of West Virginia §18-2-


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  25d(c)(1)(C)),” that compete interscholastically offered by any public secondary school under the

  supervision of the West Virginia State Board of Education.

                 RESPONSE:              OBJECTION. The County Board objects to this request

  because it is vague. Subject to and without waiving the objection, the County Board denies the

  request because there are “co-ed” teams in Harrison County, but the County Board cannot admit

  or deny the rest of the request based on how it is phrased.


                 REQUEST NO. 34: Admit that H.B. 3293 does not prohibit a cisgender girl

  student at Bridgeport Middle School from joining a girls’ athletic team offered at Bridgeport

  Middle School.

                 RESPONSE:              OBJECTION. The County Board objects to the extent this

  request is seeking a legal conclusion. Subject to and without waiving the objection, and based on

  the language used in H.B. 3293, the County Board admits this request.


                 REQUEST NO. 35: Admit that H.B. 3293 does not prohibit a cisgender girl

  student at any public secondary school in West Virginia from joining a girls’ athletic team offered

  by her public secondary school.

                 RESPONSE:              OBJECTION. The County Board objects to the extent this

  request is seeking a legal conclusion. Subject to and without waiving the objection, and based on

  the language used in H.B. 3293, the County Board admits this request.


                 REQUEST NO. 36: Admit that H.B. 3293 prohibits a Bridgeport Middle School

  transgender girl student from joining a girls’ athletic team offered at Bridgeport Middle School.

                 RESPONSE:              OBJECTION. The County Board objects to the extent this

  request is seeking a legal conclusion. Subject to and without waiving the objection, the County


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  Board states as follows: Because, as it is currently drafted, H.B. Bill 3293 (codified at West

  Virginia Code § 18- 2-25d) applies to public secondary schools and states that “[a]thletic teams or

  sports designated for females, women, or girls shall not be open to students of the male sex where

  selection for such teams is based upon competitive skill or the activity involved is a contact

  sport[,]” because of the definitions set forth in H.B. 3293, and absent the injunction issued in this

  case, the County Board admits this request.


                 REQUEST NO. 37: Admit that H.B. 3293 prohibits any transgender girl

  secondary school student located in West Virginia from joining a girls’ athletic team offered by

  her public secondary school.

                 RESPONSE:               OBJECTION. The County Board objects to the extent this

  request is seeking a legal conclusion. Subject to and without waiving the objection, the County

  Board states as follows: Because, as it is currently drafted, H.B. Bill 3293 (codified at West

  Virginia Code § 18- 2-25d) applies to public secondary schools and states that “[a]thletic teams or

  sports designated for females, women, or girls shall not be open to students of the male sex where

  selection for such teams is based upon competitive skill or the activity involved is a contact

  sport[,]” because of the definitions set forth in H.B. 3293, and absent the injunction issued in this

  case, the County Board admits this request.


                 REQUEST NO. 38: Admit that prior to the enactment of H.B. 3293, cisgender

  boy students at Bridgeport Middle School were prohibited from joining girls’ athletic teams

  offered at Bridgeport Middle School.

                 RESPONSE:               OBJECTION. The County Board objects to the extent this

  request is seeking a legal conclusion. Subject to and without waiving the objection, the County




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  Board admits that there is a West Virginia Secondary School Activities Commission rule that may

  apply to this situation.


                  REQUEST NO. 39: Admit that prior to the enactment of H.B. 3293, a cisgender

  boy student at any public secondary school in West Virginia was prohibited from joining girls’

  athletic teams offered at his public secondary school.

                  RESPONSE:             OBJECTION. The County Board objects to the extent this

  request is seeking a legal conclusion. Subject to and without waiving the objection, the County

  Board admits that there is a West Virginia Secondary School Activities Commission rule that may

  apply to this situation.

                  REQUEST NO. 40: Admit that prior to the enactment of H.B. 3293, you are not

  aware of any transgender student athlete participating on an athletic team offered by Bridgeport

  Middle School.

                  RESPONSE:             Admitted.


                  REQUEST NO. 41: Admit that prior to the enactment of H.B. 3293, you are not

  aware of any transgender student athlete participating on an athletic team offered by a public

  secondary school in West Virginia.

                  RESPONSE:             Admitted.


                  REQUEST NO. 42: Admit that other than Plaintiff B.P.J., you are not aware of a

  transgender student athlete participating on an athletic team offered by Bridgeport Middle School.

                  RESPONSE:             Admitted.




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                 REQUEST NO. 43: Admit that other than Plaintiff B.P.J., you are not aware of a

  transgender student athlete participating on an athletic team offered by a public secondary school

  in West Virginia.

                 RESPONSE:              Admitted.


                 REQUEST NO. 44: Admit that students derive social benefits from participation

  on athletic teams offered by public secondary schools in West Virginia.

                 RESPONSE:              Admitted.


                 REQUEST NO. 45: Admit that students derive psychological benefits from

  participation on athletic teams offered by public secondary schools in West Virginia.

                 RESPONSE:              Admitted.


                 REQUEST NO. 46: Admit that interscholastic athletic competition benefits

  middle school students.

                 RESPONSE:              Admitted.


                 REQUEST NO. 47: Admit that middle school students who participate in

  interscholastic athletics receive benefits regardless whether they win or lose.

                 RESPONSE:              Admitted.


                 REQUEST NO. 48: Admit that but for the injunction issued in this case, the

  Harrison County School Board and schools within the Harrison County School District would

  comply with H.B. 3293.

                 RESPONSE:              OBJECTION. The County Board objects to the extent this

  request is seeking a legal conclusion. Subject to and without waiving the objection, the County


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  Board states as follows: Because H.B. 3293 is a West Virginia State law that applies to County

  Boards of Education, including the County Board and its County Superintendent, because H.B.

  3293 provides for private causes of action, and thus imposes liability against County Boards of

  Education, like the County Board, and while the County Board and its County Superintendent did

  not devise and have not adopted H.B. Bill 3293 as their own policy, the County Board admits this

  request because, absent an injunction by a court, the County Board would be compelled and

  required to enforce H.B. Bill 3293 because it is a mandatory State law that affords the County

  Board no discretion.


                 REQUEST NO. 49: Admit that but for the injunction in this case (Dkt. 67) the

  Harrison County School Board and schools within the Harrison County School District would not

  take any actions that violated H.B. 3293.

                 RESPONSE:             OBJECTION. The County Board objects to the extent this

  request is seeking a legal conclusion. Subject to and without waiving the objection, the County

  Board states as follows: Because H.B. 3293 is a West Virginia State law that applies to County

  Boards of Education, including the County Board and its County Superintendent, because H.B.

  3293 provides for private causes of action, and thus imposes liability against County Boards of

  Education, like the County Board, and while the County Board and its County Superintendent did

  not devise and have not adopted H.B. Bill 3293 as their own policy, the County Board admits this

  request because, absent an injunction by a court, the County Board would be compelled and

  required to enforce H.B. Bill 3293 because it is a mandatory State law that affords the County

  Board no discretion.


                 REQUEST NO. 50: Admit that, but for the injunction in this case (Dkt. 67), the

  Harrison County School Board and Bridgeport Middle School would not have permitted Plaintiff

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  B.P.J. to try out for the Bridgeport Middle School’s girls’ cross-country team in 2021 because of

  H.B. 3293 (codified at Code of West Virginia §18-2-25d(c)(2)).

                RESPONSE:              OBJECTION. The County Board objects to the extent this

  request is seeking a legal conclusion. Subject to and without waiving the objection, the County

  Board states as follows: Because H.B. 3293 is a West Virginia State law that applies to County

  Boards of Education, including the County Board and its County Superintendent, because H.B.

  3293 provides for private causes of action, and thus imposes liability against County Boards of

  Education, like the County Board, and while the County Board and its County Superintendent did

  not devise and have not adopted H.B. Bill 3293 as their own policy, the County Board admits this

  request because, absent an injunction by a court, the County Board would be compelled and

  required to enforce H.B. Bill 3293 because it is a mandatory State law that affords the County

  Board no discretion.


                REQUEST NO. 51: Admit that, but for the injunction in this case (Dkt. 67), the

  Harrison County School Board and Bridgeport Middle School would not have allowed Plaintiff

  B.P.J. to participate on the Bridgeport Middle School’s girls’ cross-country team in 2021 because

  of H.B. 3293 (codified at Code of West Virginia §18-2-25d(c)(2)).

                RESPONSE:              OBJECTION. The County Board objects to the extent this

  request is seeking a legal conclusion. Subject to and without waiving the objection, the County

  Board states as follows: Because H.B. 3293 is a West Virginia State law that applies to County

  Boards of Education, including the County Board and its County Superintendent, because H.B.

  3293 provides for private causes of action, and thus imposes liability against County Boards of

  Education, like the County Board, and while the County Board and its County Superintendent did

  not devise and have not adopted H.B. Bill 3293 as their own policy, the County Board admits this



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  request because, absent an injunction by a court, the County Board would be compelled and

  required to enforce H.B. Bill 3293 because it is a mandatory State law that affords the County

  Board no discretion.


                REQUEST NO. 52: Admit that, but for the injunction in this case (Dkt. 67), the

  Harrison County School Board and Bridgeport Middle School would not permit Plaintiff B.P.J. to

  try out for any girls’ athletic team offered at Bridgeport Middle School because of H.B. 3293

  (codified at Code of West Virginia §18-2-25d(c)(2)).

                RESPONSE:             OBJECTION. The County Board objects to the extent this

  request is seeking a legal conclusion. Subject to and without waiving the objection, the County

  Board states as follows: Because H.B. 3293 is a West Virginia State law that applies to County

  Boards of Education, including the County Board and its County Superintendent, because H.B.

  3293 provides for private causes of action, and thus imposes liability against County Boards of

  Education, like the County Board, and while the County Board and its County Superintendent did

  not devise and have not adopted H.B. Bill 3293 as their own policy, the County Board admits this

  request because, absent an injunction by a court, the County Board would be compelled and

  required to enforce H.B. Bill 3293 because it is a mandatory State law that affords the County

  Board no discretion.


                REQUEST NO. 53: Admit that, but for the injunction issued in this case

  (Dkt. 67), the Harrison County School Board and Bridgeport Middle School would not permit

  Plaintiff B.P.J. to be a member of any girls’ athletic team offered at Bridgeport Middle School

  because of H.B. 3293 (codified at Code of West Virginia §18-2-25d(c)(2)).

                RESPONSE:             OBJECTION. The County Board objects to the extent this

  request is seeking a legal conclusion. Subject to and without waiving the objection, the County

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  Board states as follows: Because H.B. 3293 is a West Virginia State law that applies to County

  Boards of Education, including the County Board and its County Superintendent, because H.B.

  3293 provides for private causes of action, and thus imposes liability against County Boards of

  Education, like the County Board, and while the County Board and its County Superintendent did

  not devise and have not adopted H.B. Bill 3293 as their own policy, the County Board admits this

  request because, absent an injunction by a court, the County Board would be compelled and

  required to enforce H.B. Bill 3293 because it is a mandatory State law that affords the County

  Board no discretion.


                 REQUEST NO. 54: Admit that Plaintiff B.P.J.’s gender is identified as “male” in

  the West Virginia Education Information System (“WVEIS”).

                 RESPONSE:             Admitted.


                 REQUEST NO. 55: Admit that you have the ability to change Plaintiff B.P.J.’s

  gender in WVEIS to “female.”

                 RESPONSE:             OBJECTION. The County Board objects to the request

  because it seeks information that is not relevant to any party’s claim or defense and is not

  proportional to the needs of the case. Subject to and without waiving the objection, the County

  Board admits that it has the ability to change data in WVEIS.


                 REQUEST NO. 56: Admit that H.B. 3293 allows a student to bring an action

  against you for alleged violations of H.B. 3293.

                 RESPONSE:             OBJECTION. The County Board objects to the extent this

  request is seeking a legal conclusion. Subject to and without waiving the objection, the County

  Board admits this request.


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                REQUEST NO. 57: Admit that you are required to regulate athletic activities

  offered by public secondary schools in Harrison County. See Code of West Virginia §18-2-25.

                RESPONSE:              OBJECTION. The County Board objects to the extent this

  request is seeking a legal conclusion. Subject to and without waiving the objection, the County

  Board admits that the provisions of West Virginia Code §18-2-25 require it to regulate athletic

  activities of public secondary schools in Harrison County.


                REQUEST NO. 58: Admit that you are required to control interscholastic athletic

  events in which Bridgeport Middle School participates. See Code of West Virginia §18-2-25.

                RESPONSE:              OBJECTION. The County Board objects to the extent this

  request is seeking a legal conclusion. Subject to and without waiving the objection, the County

  Board admits that the provisions of West Virginia Code §18-2-25 require it to control athletic

  activities of public secondary schools in Harrison County.


                REQUEST NO. 59: Admit that you are required supervise interscholastic athletic

  events in which Bridgeport Middle School participates. See Code of West Virginia §18-2-25.

                RESPONSE:              OBJECTION. The County Board objects to the extent this

  request is seeking a legal conclusion. Subject to and without waiving the objection, the County

  Board admits that the provisions of West Virginia Code §18-2-25 require it to supervise athletic

  activities of public secondary schools in Harrison County.


                REQUEST NO. 60: Admit that you are required regulate interscholastic athletic

  events in which Bridgeport Middle School participates. See Code of West Virginia §18-2-25.

                RESPONSE:              OBJECTION. The County Board objects to the extent this

  request is seeking a legal conclusion. Subject to and without waiving the objection, the County


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  Board admits that the provisions of West Virginia Code §18-2-25 require it to regulate athletic

  events in which Bridgeport Middle School participates.


                 REQUEST NO. 61: Admit that Bridgeport Middle School is a member school of

  the West Virginia Secondary School Activities Commission.

                 RESPONSE:               Admitted.


                 REQUEST NO. 62: Admit that you have delegated control over interscholastic

  athletic events in Harrison County to the West Virginia Secondary School Activities Commission.

                 RESPONSE:               OBJECTION. The County Board objects to the extent this

  request is seeking a legal conclusion. Subject to and without waiving the objection, the County

  Board admits that it has delegated some, but not all, control over interscholastic athletic events in

  Harrison County to the West Virginia Secondary School Activities Commission.


                 REQUEST NO. 63: Admit            that    you   have   delegated    supervision    over

  interscholastic athletic events to the West Virginia Secondary School Activities Commission.

                 RESPONSE:               OBJECTION. The County Board objects to the extent this

  request is seeking a legal conclusion. Subject to and without waiving the objection, the County

  Board admits that it has delegated some, but not all, supervision over interscholastic athletic events

  to the West Virginia Secondary School Activities Commission.


                 REQUEST NO. 64: Admit that you have delegated regulation of interscholastic

  athletic events to the West Virginia Secondary School Activities Commission.

                 RESPONSE:               OBJECTION. The County Board objects to the extent this

  request is seeking a legal conclusion. Subject to and without waiving the objection, the County



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  Board admits that it has delegated some, but not all, regulation of interscholastic athletic events to

  the West Virginia Secondary School Activities Commission.


                 REQUEST NO. 65: Admit that the State Board of Education controls you. See

  Code of West Virginia §18-2-5.

                 RESPONSE:               OBJECTION. The County Board objects to the extent this

  request is seeking a legal conclusion. Subject to and without waiving the objection, the County

  Board denies this request because West Virginia Code §18-2-5 states that “the State Board of

  Education shall exercise general supervision of the public schools of the state, and shall promulgate

  rules[.]”


                 REQUEST NO. 66: Admit that you receive federal financial assistance.

                 RESPONSE:               Admitted.


                 REQUEST NO. 67: Admit that you must comply with Title IX of the Education

  Amendments of 1972, 20 U.S.C. §1681 et seq.

                 RESPONSE:               OBJECTION. The County Board objects to the extent this

  request is seeking a legal conclusion. Subject to and without waiving the objection, the County

  Board admits this request.

                 Dated this the 10th day of March, 2022.


                                                     /s/ Susan L. Deniker
                                                     Susan L. Deniker         (WV ID #7992)
                                                     Jeffrey M. Cropp         (WV ID #8030)
  STEPTOE & JOHNSON PLLC                             400 White Oaks Boulevard
     OF COUNSEL                                      Bridgeport, WV 26330-4500
                                                     (304) 933-8000

                                                     Counsel for Defendants Harrison County Board of
                                                     Education and Dora Stutler


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                                     Ritchie County                                                           Ritchie County
    BMS XC-Boys                    Saturday, October 1                      BMS XC-Girls                    Saturday, October 1
  First Name   Last Name   Distance Actual Time Pace Per Mile         First Name       Last Name   Distance Actual Time Pace Per Mile
                                1.9      11:00.7       05:47.7                                           1.9      13:16.7       06:59.3
                                1.9      12:53.6       06:47.2                                           1.9      13:19.4       07:00.7
                                1.9      13:18.6       07:00.3                                           1.9      14:46.6       07:46.6
                                1.9      13:23.9       07:03.1                                           1.9      15:00.6       07:54.0
                                1.9      13:25.0       07:03.7                                           1.9      15:02.0       07:54.7
                                1.9      14:05.5       07:25.0                                           1.9      15:31.2       08:10.1
                                                                                                                                          Case 2:21-cv-00316




                                1.9      14:20.3       07:32.8                                           1.9      15:40.2       08:14.8
                                1.9      14:25.3       07:35.4                                           1.9      16:03.7       08:27.2
                                                                                                                                                      Case: 22-5807




                                1.9      14:34.8       07:40.4                                           1.9      17:17.2       09:05.9
                                1.9      14:53.4       07:50.2                                           1.9      17:30.1       09:12.7
                                                                                                                                                              Document




                                1.9      15:21.5       08:05.0                                           1.9      18:11.7       09:34.6
                                1.9      16:40.2       08:46.4       B             P      -J             1.9      19:02.6       10:01.4
                                1.9      17:27.6       09:11.4                                           1.9      19:12.5       10:06.6
                                1.9      19:22.6       10:11.9                                           1.9      21:13.7       11:10.4
                                                                                                                                                                    Document:




                           N/A      N/A          N/A                                                     1.9      24:06.1       12:41.1
                                                                                                                                                                       286-1 Filed




                           N/A      N/A          N/A                                               N/A       N/A          N/A
                           N/A      N/A          N/A                                               N/A       N/A          N/A
                                                                                                   N/A       N/A          N/A
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                                                           Varsity Sheets
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                                                                                                                                                                                                                  Armistead App. 1545




                                                                           WI Last Call                       Harrison County Champs-Mountaineer Middle                 XC Time Trial-Bridgeport City Park Course                                 Ritchie County
                                                                      Saturday, October 16                               Wednesday, October 13                                    Thursday, October 7                                           Saturday, October
Boy/Girl   Grade:          First Name       Last Name       Distance       Actual Time     Pace Per Mile        Distance       Actual Time     Pace Per Mile TT Place       Course Length TT Time              TT Pace/Mile          Distance       Actual Time
Boy        8th Grade                                                 2.1         13:08.6          06:15.5                2.1          12:54.1         06:08.6             1             1.55           09:34.6         0:06:11                1.9          11:00.7
Boy        8th Grade                                                 2.1         15:00.7          07:08.9                2.1          14:20.9         06:49.9             0 N/A               N/A              N/A               N/A              N/A
Boy        6th Grade                                                 2.1         15:19.4          07:17.8                2.1          14:43.8         07:00.9             5             1.55           11:24.7         0:07:22                1.9          14:34.8
                                                                                                                                                                                                                                                                 Case 2:21-cv-00316




Boy        7th Grade                                                 2.1         15:57.5          07:35.9                2.1          14:51.7         07:04.6             3             1.55           10:54.9         0:07:03                1.9          12:53.6
Boy        7th Grade                                                 2.1         16:04.4          07:39.2                2.1          15:17.6         07:17.0             0 N/A               N/A              N/A                            1.9          13:25.0
Boy        8th Grade                                                 2.1         16:51.4          08:01.6                2.1          16:38.1         07:55.3             8             1.55           11:42.4         0:07:33                1.9          14:53.4
Boy        6th Grade                                                 2.1         17:20.6          08:15.5                2.1          16:49.6         08:00.8             9             1.55           11:47.7         0:07:37                1.9          14:20.3
Boy        8th Grade                                                 2.1         17:51.5          08:30.3                2.1          16:47.5         07:59.8            10             1.55           12:04.6         0:07:47                1.9          14:05.5
                                                                                                                                                                                                                                                                             Case: 22-5807




Boy        7th Grade                                                 2.1         18:05.0          08:36.7                2.1          16:53.4         08:02.6            11             1.55           12:08.3         0:07:50                1.9          14:25.3
Boy        8th Grade                                                 2.1         18:34.3          08:50.6                2.1          18:55.8         09:00.9             0 N/A               N/A              N/A                            1.9          15:21.5
Boy        7th Grade                                                 2.1         20:39.9          09:50.4                2.1          19:23.7         09:14.1            15             1.55           13:26.9         0:08:41                1.9          17:27.6
                                                                                                                                                                                                                                                                                     Document




Boy        7th Grade                                                 2.1         22:05.1          10:31.0                2.1          19:27.0         09:15.7            18             1.55           13:52.5         0:08:57                1.9          16:40.2
Boy        7th Grade                                    N/A              N/A              N/A                            2.1          22:04.6         10:30.8            27             1.55           19:38.5         0:12:40                1.9          19:22.6
Boy        7th Grade                                    N/A              N/A              N/A                            2.1          22:32.3         10:44.0             0 N/A               N/A              N/A               N/A              N/A
Boy        7th Grade                                    N/A              N/A              N/A               N/A              N/A              N/A                         0 N/A               N/A              N/A               N/A              N/A
Boy        7th Grade                                    N/A              N/A              N/A               N/A              N/A              N/A                         2             1.55           10:52.2         0:07:01                1.9          13:18.6
Boy        6th Grade                                    N/A              N/A              N/A               N/A              N/A              N/A                         4             1.55           10:58.8         0:07:05                1.9          13:23.9
                                                                                                                                                                                                                                                                                           Document:




Girl       8th Grade                                                 2.1         15:48.7          07:31.8                2.1          15:32.7         07:24.1             6             1.55           11:25.3         0:07:22                1.9          13:16.7
Girl       6th Grade                                                 2.1         16:12.7          07:43.2                2.1          16:53.4         08:02.6             7             1.55           11:25.8         0:07:22                1.9          13:19.4
                                                                                                                                                                                                                                                                                              286-1 Filed




Girl       6th Grade                                                 2.1         17:27.3          08:18.7                2.1          18:14.6         08:41.2            13             1.55           12:31.9         0:08:05                1.9          14:46.6
Girl       7th Grade                                                 2.1         18:08.5          08:38.4                2.1          17:55.2         08:32.0             0 N/A               N/A              N/A                            1.9          15:31.2
Girl       6th Grade                                                 2.1         19:11.0          09:08.1                2.1          18:20.5         08:44.1            23              1.55          15:23.9         0:09:56                1.9          15:02.0
Girl       8th Grade                                                 2.1         19:24.8          09:14.7                2.1          17:56.8         08:32.8            12              1.55          12:29.5         0:08:04                1.9          16:03.7
Girl       6th Grade                                                 2.1         19:57.8          09:30.4                2.1          19:07.4         09:06.4            17              1.55          13:49.7         0:08:55                1.9          15:40.2
Girl       7th Grade                                                 2.1         20:57.9          09:59.0                2.1          19:02.2         09:03.9            16              1.55          13:44.4         0:08:52                1.9          17:30.1
                                                                                                                                                                                                                                                                                                      40 04/21/22




Girl       7th Grade                                                 2.1         21:05.5          10:02.6                2.1          19:27.7         09:16.0            19              1.55          13:56.8         0:09:00   N/A              N/A
Girl       8th Grade                                                 2.1         21:11.3          10:05.4                2.1          18:36.9         08:51.9            20              1.55          14:52.2         0:09:36                1.9          17:17.2
Girl       6th Grade   B                P     -J                     2.1         21:50.8          10:24.2                2.1          22:38.1         10:46.7            24              1.55          16:10.1         0:10:26                1.9          19:02.6
Girl       6th Grade                                                 2.1         22:03.8          10:30.4                2.1          21:37.2         10:17.7            22              1.55          15:17.6         0:09:52                1.9          19:12.5
Girl       8th Grade                                                 2.1          22:39.5         10:47.4                2.1          22:14.4         10:35.4            21              1.55          14:53.3         0:09:36                1.9          18:11.7
Girl       7th Grade                                                 2.1          26:11.1         12:28.1                2.1          27:59.0         13:19.5            26              1.55          17:51.7         0:11:31                1.9          21:13.7
Girl       8th Grade                                                 2.1          27:40.9         13:10.9                2.1          26:38.8         12:41.3            25              1.55          17:42.1         0:11:25   N/A              N/A
                                                                                                                                                                                                                                                                                                           Filed: 01/24/2023




Girl       6th Grade                                                 2.1          29:14.2         13:55.4                2.1          32:50.9         15:38.5            28              1.55          22:15.5         0:14:22                1.9          24:06.1
Girl       8th Grade                                    N/A              N/A              N/A               N/A              N/A              N/A                         0 N/A               N/A              N/A               N/A              N/A
Girl       8th Grade                                    N/A              N/A              N/A               N/A              N/A              N/A                        14              1.55          12:53.7         0:08:19                1.9          15:00.6
                                                                                                                                                                                                                                                                                                                    Page 1549 of
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                                                                                                                     2021 Team

    CONFIDENTIAL
                                                                                                                                                                                                                       HCBOE 01266
                                                                                                                                                                                                                                    Armistead App. 1546




                                 Braxton Invitational                                Doddridge Invitational                            Taylor County Invitational                   Mountain Holler Invitational-University HS     XC Time Trial-Bridgeport City Park Course
1                              Saturday, September 25                               Thursday, September 16                             Wednesday, September 8                                Thursday, September 2                        Tuesday, August 24, 2021
 Pace Per Mile        Distance       Actual Time      Pace Per Mile        Distance       Actual Time     Pace Per Mile        Distance       Actual Time      Pace Per Mile        Distance      Actual Time      Pace Per Mile Place Course Length TT Time TT Pace/Mile
        05:47.7                  2          13:03.5          06:31.8                1.9          11:01.2         05:48.0                1.9          11:26.0          06:01.1                 2           12:10.1          06:05.0   1            1.55 10:28.9         0:06:46
N/A                              2          14:18.5          07:09.2   N/A              N/A              N/A                            1.9          13:00.0          06:50.5                 2           13:36.1          06:48.1   4            1.55 11:24.8         0:07:22
        07:40.4                  2          14:40.6          07:20.3                1.9          13:21.8         07:02.0                1.9          13:33.0          07:07.9                 2           14:20.7          07:10.3   3            1.55 11:23.5         0:07:21
                                                                                                                                                                                                                                                                                 Case 2:21-cv-00316




        06:47.2                  2          14:44.8          07:22.4                1.9          13:39.2         07:11.2                1.9          13:49.0          07:16.3                 2           14:41.8          07:20.9  11            1.55 12:13.5         0:07:53
        07:03.7                  2          15:11.3          07:35.6   N/A              N/A              N/A                            1.9          13:52.0          07:17.9                 2           15:07.6          07:33.8   8            1.55 12:07.3         0:07:49
        07:50.2                  2          16:21.4          08:10.7                1.9          14:36.2         07:41.2                1.9          14:32.0          07:38.9                 2           16:17.5          08:08.8   9            1.55 12:12.6         0:07:53
        07:32.8                  2          16:13.9          08:07.0                1.9          15:50.6         08:20.3                1.9          16:05.0          08:27.9                 2           18:13.1          09:06.6  12            1.55 12:33.4         0:08:06
        07:25.0                  2          16:26.4          08:13.2   N/A              N/A              N/A                            1.9          14:34.0          07:40.0                 2           16:52.3          08:26.1   0 N/A             N/A       N/A
                                                                                                                                                                                                                                                                                             Case: 22-5807




        07:35.4                  2          16:37.1          08:18.6                1.9          16:37.4         08:44.9                1.9          16:49.0          08:51.1                 2           18:20.5          09:10.3  16            1.55 13:06.2         0:08:27
        08:05.0                  2          18:13.6          09:06.8                1.9          16:51.0         08:52.1                1.9          16:49.1          08:51.1                 2           20:03.9          10:02.0  20            1.55 14:31.7         0:09:22
        09:11.4                  2          18:39.3          09:19.6                1.9          18:32.6         09:45.6                1.9          17:28.0          09:11.6                 2           20:05.1          10:02.5  28            1.55 18:37.2         0:12:01
                                                                                                                                                                                                                                                                                                     Document




        08:46.4                  2          20:26.5          10:13.3                1.9          18:57.9         09:58.9                1.9          18:50.0          09:54.7                 2           21:20.4          10:40.2  26            1.55 16:21.2         0:10:33
        10:11.9                  2          22:33.3          11:16.7                1.9          21:07.7         11:07.2                1.9          20:40.0          10:52.6                 2           21:54.7          10:57.4  33            1.55 19:37.6         0:12:40
N/A               N/A              N/A              N/A                N/A              N/A              N/A                            1.9          20:58.0          11:02.1   N/A             N/A               N/A               29            1.55 18:41.0         0:12:03
N/A               N/A              N/A              N/A                             1.9          15:02.7         07:55.1   N/A              N/A              N/A                N/A             N/A               N/A               10            1.55 12:13.0         0:07:53
        07:00.3                  2          15:02.3          07:31.2                1.9          14:29.7         07:37.7                1.9          14:10.0          07:27.4                 2           15:32.1          07:46.1  17            1.55 13:50.2         0:08:56
        07:03.1                  2          14:49.9          07:25.0                1.9          14:06.3         07:25.4                1.9          14:08.0          07:26.3                 2           15:28.4          07:44.2   5            1.55 11:33.5         0:07:27
                                                                                                                                                                                                                                                                                                           Document:




        06:59.3                  2          15:49.2          07:54.6                1.9          14:25.4         07:35.5                1.9          13:46.7          07:15.1                 2           16:17.8          08:08.9   7            1.55 11:38.7         0:07:31
        07:00.7                  2          16:17.8          08:08.9                1.9          14:13.0         07:28.9                1.9          15:25.0          08:06.8                 2           14:24.5          07:12.3  13            1.55 12:53.0         0:08:19
                                                                                                                                                                                                                                                                                                              286-1 Filed




        07:46.6                  2          17:09.2          08:34.6                1.9          16:40.9         08:46.8                1.9          16:28.0          08:40.0                 2           16:24.8          08:12.4  24            1.55 15:28.1         0:09:59
        08:10.1                  2          18:20.2          09:10.1                1.9          16:40.5         08:46.6   N/A              N/A              N/A                N/A             N/A               N/A               19            1.55 14:18.2         0:09:14
        07:54.7                  2          17:50.3          08:55.2                1.9          16:50.8         08:52.0                1.9          17:41.0          09:18.4                 2           18:08.4          09:04.2  27            1.55 16:56.1         0:10:56
        08:27.2                  2          19:29.9          09:45.0                1.9          15:59.3         08:24.9                1.9          16:52.0          08:52.6                 2           17:20.1          08:40.0  15            1.55 12:59.8         0:08:23
        08:14.8   N/A              N/A              N/A                             1.9          17:25.7         09:10.4                1.9          16:43.0          08:47.9                 2           17:09.8          08:34.9  22            1.55 14:47.2         0:09:32
        09:12.7                  2          17:41.7          08:50.8                1.9          17:39.3         09:17.5                1.9          17:58.0          09:27.4                 2           18:35.8          09:17.9  23            1.55 15:25.5         0:09:57
                                                                                                                                                                                                                                                                                                                      40 04/21/22




N/A                              2          20:30.8          10:15.4                1.9          18:01.3         09:29.1                1.9          17:06.0          09:00.0                 2           17:34.4          08:47.2  21            1.55 14:32.2         0:09:23
        09:05.9                  2          21:06.2          10:33.1                1.9          18:05.5         09:31.3                1.9          18:09.0          09:33.2                 2           19:17.1          09:38.6  18            1.55 14:17.7         0:09:13
        10:01.4                  2          24:08.4          12:04.2                1.9          21:50.5         11:29.7                1.9          20:31.0          10:47.9                 2           21:46.1          10:53.0  30            1.55 19:04.5         0:12:18
        10:06.6                  2          22:44.2          11:22.1                1.9          19:49.2         10:25.9                1.9          20:53.0          10:59.5                 2           22:33.9          11:17.0  35            1.55 20:52.5         0:13:28
        09:34.6                  2          21:45.0          10:52.5                1.9          19:36.0         10:18.9                1.9          19:30.0          10:15.8                 2           20:43.7          10:21.8  25            1.55 15:42.3         0:10:08
        11:10.4                  2          27:04.2          13:32.1                1.9          22:25.5         11:48.2                1.9          23:30.0          12:22.1                 2           24:55.9          12:28.0  34            1.55 20:34.8         0:13:17
N/A               N/A              N/A              N/A                             1.9          22:06.9         11:38.4                1.9          21:47.0          11:27.9                 2           22:55.7          11:27.9  32            1.55 19:16.2         0:12:26
                                                                                                                                                                                                                                                                                                                           Filed: 01/24/2023




        12:41.1   N/A              N/A              N/A                             1.9          28:48.5         15:09.8                1.9          25:58.0          13:40.0   N/A             N/A               N/A               36            1.55 23:44.9         0:15:19
N/A               N/A              N/A              N/A                N/A              N/A              N/A               N/A              N/A              N/A                N/A             N/A               N/A               31            1.55 19:08.6         0:12:21
        07:54.0                  2          20:25.0          10:12.5   N/A              N/A              N/A               N/A              N/A              N/A                N/A             N/A               N/A               14            1.55 12:56.1         0:08:21
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                                                                                                                                   2021 Team

CONFIDENTIAL
                                                                                                                                                                                                                                         HCBOE 01267
                                                                                                                                             Armistead App. 1547
                                                              XC Time Trial-Bridgeport City Park Course    XC Time Trial-Bridgeport City Park Course     Difference (BOLD is
                              Time Trial Comparison                  Thursday, October 7, 2021                    Tuesday, August 24, 2021                    improved)
   Boy/Girl      Grade:       First Name       Last Name   TT Place Course Length TT Time TT Pace/Mile Place Course Length TT Time TT Pace/Mile            Time Pace/Mile
Boy           7th Grade                                           0 N/A            N/A       N/A            10            1.55 12:13.0         0:07:53   N/A      N/A
Girl          8th Grade                                           0 N/A            N/A       N/A            31            1.55 19:08.6         0:12:21   N/A      N/A
Boy           8th Grade                                           0 N/A            N/A       N/A            20            1.55 14:31.7         0:09:22   N/A      N/A
Boy           7th Grade                                           0 N/A            N/A       N/A             8            1.55 12:07.3         0:07:49   N/A      N/A
Boy           8th Grade                                           0 N/A            N/A       N/A             4            1.55 11:24.8         0:07:22   N/A      N/A
Girl          7th Grade                                           0 N/A            N/A       N/A            19            1.55 14:18.2         0:09:14   N/A      N/A
Boy           7th Grade                                           0 N/A            N/A       N/A            29            1.55 18:41.0         0:12:03   N/A      N/A
                                                                                                                                                                               Case 2:21-cv-00316




Boy           8th Grade                                           1            1.55 09:34.6        0:06:11   1            1.55 10:28.9         0:06:46    00:54.3 0:00:35
Boy           7th Grade                                           2            1.55 10:52.2        0:07:01  17            1.55 13:50.2         0:08:56    02:58.0 0:01:55
Boy           7th Grade                                           3            1.55 10:54.9        0:07:03  11            1.55 12:13.5         0:07:53    01:18.5 0:00:51
                                                                                                                                                                                           Case: 22-5807




Boy           6th Grade                                           4            1.55 10:58.8        0:07:05   5            1.55 11:33.5         0:07:27    00:34.7 0:00:22
Boy           6th Grade                                           5            1.55 11:24.7        0:07:22   3            1.55 11:23.5         0:07:21   00:01.2 0:00:01
                                                                                                                                                                                                   Document




Girl          8th Grade                                           6            1.55 11:25.3        0:07:22   7            1.55 11:38.7         0:07:31    00:13.4 0:00:09
Girl          6th Grade                                           7            1.55 11:25.8        0:07:22  13            1.55 12:53.0         0:08:19    01:27.2 0:00:56
Boy           8th Grade                                           8            1.55 11:42.4        0:07:33   9            1.55 12:12.6         0:07:53    00:30.2 0:00:19
Boy           6th Grade                                           9            1.55 11:47.7        0:07:37  12            1.55 12:33.4         0:08:06    00:45.7 0:00:29
                                                                                                                                                                                                         Document:




Boy           8th Grade                                          10            1.55 12:04.6        0:07:47   0 N/A             N/A       N/A             N/A      N/A
Boy           7th Grade                                          11            1.55 12:08.3        0:07:50  16            1.55 13:06.2         0:08:27    00:57.8 0:00:37
                                                                                                                                                                                                            286-1 Filed




Girl          8th Grade                                          12            1.55 12:29.5        0:08:04  15            1.55 12:59.8         0:08:23    00:30.3 0:00:20
Girl          6th Grade                                          13            1.55 12:31.9        0:08:05  24            1.55 15:28.1         0:09:59    02:56.2 0:01:54
Girl          8th Grade                                          14            1.55 12:53.7        0:08:19  14            1.55 12:56.1         0:08:21    00:02.4 0:00:02
Boy           7th Grade                                          15            1.55 13:26.9        0:08:41  28            1.55 18:37.2         0:12:01    05:10.3 0:03:20
                                                                                                                                                                                                                    40 04/21/22




Girl          7th Grade                                          16            1.55 13:44.4        0:08:52  23            1.55 15:25.5         0:09:57    01:41.1 0:01:05
Girl          6th Grade                                          17            1.55 13:49.7        0:08:55  22            1.55 14:47.2         0:09:32    00:57.5 0:00:37
Boy           7th Grade                                          18            1.55 13:52.5        0:08:57  26            1.55 16:21.2         0:10:33    02:28.7 0:01:36
Girl          7th Grade                                          19            1.55 13:56.8        0:09:00  21            1.55 14:32.2         0:09:23    00:35.4 0:00:23
Girl          8th Grade                                          20            1.55 14:52.2        0:09:36  18            1.55 14:17.7         0:09:13   00:34.5 0:00:22
                                                                                                                                                                                                                         Filed: 01/24/2023




Girl          8th Grade                                          21            1.55 14:53.3        0:09:36  25            1.55 15:42.3         0:10:08    00:49.0 0:00:32
Girl          6th Grade                                          22            1.55 15:17.6        0:09:52  35            1.55 20:52.5         0:13:28    05:34.9 0:03:36
                                                                                                                                                                                                                                  Page 1551 of




Girl          6th Grade                                          23            1.55 15:23.9        0:09:56  27            1.55 16:56.1         0:10:56    01:32.2 0:01:00
Girl          6th Grade   B                P     -J              24            1.55 16:10.1        0:10:26  30            1.55 19:04.5         0:12:18    02:54.4 0:01:53
                                                                                                                                                                                                                                            Page:




Girl          8th Grade                                          25            1.55 17:42.1        0:11:25  32            1.55 19:16.2         0:12:26    01:34.1 0:01:01
Girl          7th Grade                                          26            1.55 17:51.7        0:11:31  34            1.55 20:34.8         0:13:17    02:43.1 0:01:45
                                                                                                                                                                                                                                               15511622




Boy           7th Grade                                          27            1.55 19:38.5        0:12:40  33            1.55 19:37.6         0:12:40   00:00.9 0:00:01
Girl          6th Grade                                          28            1.55 22:15.5        0:14:22  36            1.55 23:44.9         0:15:19    01:29.4 0:00:58
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                                                                       Time Trial Comp
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